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        EXHIBIT F
(REDACTED IN ITS ENTIRETY)
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       EXHIBIT G
(REDACTED IN ITS ENTIRETY)
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                         EXHIBIT H
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07:49:15    1                  IN THE UNITED STATES DISTRICT COURT

            2                   FOR THE DISTRICT OF DELAWARE

            3
                QORVO, INC.,                ) VOLUME 2
            4                               )
                           Plaintiff,       )
            5                               ) C.A. No. 21-1417(JPM)
                v.                          )
            6                               )
                AKOUSTIS TECHNOLOGIES, INC.,)
            7   and AKOUSTIS, INC.,         )
                                            )
            8               Defendants.     )

            9
                                Tuesday, May 7, 2024
           10                   8:30 a.m.
                                Jury Trial
           11

           12                   844 King Street
                                Wilmington, Delaware
           13

           14   BEFORE:   THE HONORABLE JON P. McCALLA
                          United States District Court Judge
           15

           16

           17   APPEARANCES:

           18
                            MORRIS NICHOLS ARSHT & TUNNELL LLP
           19               BY: JEREMY A. TIGAN, ESQ.

           20
                            -and-
           21
                            SHEPPARD MULLIN RICHTER & HAMPTON LLP
           22               BY: ROBERT M. MASTERS, ESQ.
                            BY: JONATHAN R. DeFOSSE, ESQ.
           23               BY: KAZIM A. NAQVI, ESQ.
                            BY: JENNIFER AYERS, ESQ.
           24

           25                           Counsel for the Plaintiff
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         1    APPEARANCES CONTINUED:

         2
                           BAYARD, P.A.
         3                 BY: STEPHEN B. BRAUERMAN, ESQ.
                           BY: RONALD P. GOLDEN, III, ESQ.
         4
                           -and-
         5
                           SQUIRE PATTON BOGGS (US)LLP
         6                 BY: RONALD S. LEMIEUX, ESQ.
                           BY: DAVID S. ELKINS, ESQ.
         7                 BY: VICTORIA Q. SMITH, ESQ.
                           BY: XIAOMEI CAI, ESQ.
         8                 BY: RACHAEL A. HARRIS, ESQ.
                           BY: MATTHEW A. STANFORD, ESQ.
         9

        10                            Counsel for the Defendants

        11

        12

        13                   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

08:26:59 14


08:27:00 15                THE COURT:   You may be seated.      I understand

08:27:01 16   there maybe one thing that we have to go over, hopefully it

08:27:05 17   won't be long.   So we're still checking on the status of the

08:27:08 18   cockatoo, but it is apparently here.

08:27:11 19                MR. DeFOSSE:    Good morning, Your Honor.

08:27:12 20   Actually two issues, I think.

08:27:15 21                THE COURT:   Sure.

08:27:16 22                MR. DeFOSSE:    The first is the Houlden

08:27:19 23   deposition video, we want to let the Court know there is a

08:27:22 24   possibility we would need to start that video this

08:27:25 25   afternoon.
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08:27:28   1                THE COURT:   That's fine, we've already done it

08:27:30   2   all.   We asked for some additional information on the one

08:27:33   3   question that was unresolved and we did not receive any

08:27:37   4   additional case law or anything else to support the position

08:27:40   5   of defendant on the objection and therefore we have all

08:27:45   6   matters resolved.

08:27:46   7                MR. DeFOSSE:   Thank you, Your Honor.       The other

08:27:48   8   issue relates to some exhibits with the witness et cetera

08:27:51   9   coming up this morning.

08:27:52 10                 THE COURT:   Sure.

08:27:52 11                 MR. DeFOSSE:   Our second and fourth witness.

08:27:55 12    First would be Robert Aigner and the fourth witness will be

08:27:59 13    Gernot Fattinger.   We received last night at about

08:28:03 14    10:45 p.m. twenty-five objections, or objections to

08:28:05 15    twenty-five exhibits.

08:28:07 16                 THE COURT:   They should have been submitted

08:28:08 17    earlier?

08:28:09 18                 MR. DeFOSSE:   They should have been submitted at

08:28:11 19    9 o'clock, Your Honor.

08:28:12 20                 THE COURT:   Did you get them?

08:28:13 21                 MR. DeFOSSE:   We got them at 10:45.

08:28:16 22                 THE COURT:   Oh, they were late?

08:28:17 23                 MR. DeFOSSE:   They were late and also past the

08:28:19 24    meet and confer deadline that was 10:00 p.m.        We've asked

08:28:22 25    that the objections be withdrawn.     I don't think our friends
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08:28:25   1   on other side are willing to do that.

08:28:26   2               THE COURT:    Why did you submit them late?

08:28:30   3               MR. ELKINS:    Good morning, Your Honor.

08:28:31   4               THE COURT:    Late is not good.

08:28:32   5               MR. ELKINS:    Well, first, we had to go see a

08:28:36   6   physical demonstrative which was part of the list, and so we

08:28:40   7   had to go to the hotel where plaintiff's counsel were

08:28:45   8   staying to visit the demonstrative.

08:28:46   9               THE COURT:    Sure.

08:28:47 10                MR. ELKINS:    We didn't get that invitation until

08:28:51 11    almost 9 o'clock, so we got our stuff over and got there and

08:28:55 12    we should have in retrospect sent over the objections to the

08:29:00 13    non-demonstrative before that, but we didn't get it done.

08:29:04 14                I will say, Your Honor, that the objections that

08:29:08 15    we made are the same ones that we made in the list that we

08:29:16 16    exchanged before the pretrial conference and they're really

08:29:20 17    just the normal ones that if they lay a foundation to get

08:29:24 18    them in for authenticity and a hearsay exception, then those

08:29:29 19    are the only issues.   So we would expect them to lay the

08:29:33 20    proper foundation, we just reiterated those, and so that's

08:29:36 21    the story, Your Honor.

08:29:37 22                THE COURT:    Sure.   Basically if they lay a

08:29:39 23    proper foundation, we don't have a problem.       And if there is

08:29:42 24    a hearsay objection, it may be that it's received only for

08:29:45 25    notice, I'm sure or it may not be hearsay, is that our
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08:29:49   1   situation?

08:29:49   2                MR. ELKINS:    That is it, Your Honor.

08:29:50   3                THE COURT:    That's pretty straightforward.        Now

08:29:55   4   that won't come up for a little bit, right?

08:29:57   5                MR. DeFOSSE:    That will be the second witness,

08:29:59   6   so it depends how long the cross-examination is for the

08:30:02   7   first witness, Your Honor.     I would say when we -- the

08:30:04   8   reason we do these exchanges, as the Court knows, is there

08:30:08   9   are a very large volume of objections that are lodged to the

08:30:12 10    exhibits, I think something like in the range of

08:30:14 11    eighty percent of our exhibits have objections to them, and

08:30:17 12    they're just every objection under the federal rules, so

08:30:20 13    that's why we have this process in place to let us know

08:30:23 14    which ones they're maintaining and see which ones are

08:30:29 15    resolved.

08:30:30 16                 We don't want a situation like last night,

08:30:32 17    because we got no objections, we finalized our examination

08:30:35 18    outlines, we put the witnesses to bed, and then we get

08:30:37 19    objections and we're like where do we go with this if the

08:30:41 20    Court sustains --

08:30:42 21                 THE COURT:    I understand the mechanical

08:30:44 22    problems, I think everybody is working hard, I really don't

08:30:47 23    have a criticism, it just should have gotten done quicker,

08:30:51 24    but everybody is working hard, but we got to keep working

08:30:54 25    harder or we won't get through the case, that's really the
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08:30:58   1   main thing, we really have a tight schedule here.         I don't

08:31:01   2   think we have to rule on those at this point in time,

08:31:03   3   because we're going to be able to see if we have any

08:31:05   4   problems, I think that's what I was hearing from counsel as

08:31:08   5   I understand it.

08:31:09   6               Mr. Elkins, I think we'll be able to look and

08:31:14   7   see if there was problem with foundation.

08:31:16   8               MR. ELKINS:    Correct, with Mr. Creviston

08:31:17   9   yesterday, I think counsel was laying a foundation and --

08:31:21 10                THE COURT:    Most of the time, just make sure

08:31:24 11    that you do lay a proper predicate for a particular exhibit.

08:31:28 12                MR. DeFOSSE:    We can, Your Honor, but I'm sorry,

08:31:30 13    I would like some clarity of how we're going to do this

08:31:34 14    going forward because what we would like to do coming in is

08:31:38 15    to know where there is going to be an objection.         For

08:31:40 16    example, we have authenticity objections to --

08:31:44 17                THE COURT:    I didn't really understand there was

08:31:46 18    genuine issues to authenticity, the documents are basically

08:31:49 19    ones that no one is asserting are not accurate depictions of

08:31:53 20    particular information.

08:31:54 21                MR. ELKINS:    The issue is that with respect to

08:31:57 22    documents that have been produced by Akoustis that Qorvo

08:32:03 23    claims are its documents, yes, it appears to be, it has a

08:32:08 24    Qorvo logo on it and things like that, but we would expect

08:32:12 25    them to have a witness who says yeah, it's a Qorvo document.
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08:32:15   1                THE COURT:    Well, if it's an Akoustis document

08:32:17   2   that has Qorvo on it, it's going to come in because

08:32:20   3   obviously one of the assertions is that Akoustis

08:32:23   4   misappropriated particular materials and we're simply

08:32:28   5   showing I received that material through an Akoustis

08:32:31   6   witness.

08:32:31   7                MR. ELKINS:   We're not, and we're not objecting

08:32:34   8   on the grounds of authenticity or hearsay as to Akoustis,

08:32:39   9   but we would just like they would put in a normal Qorvo

08:32:44 10    document, we would expect one of their witnesses to say

08:32:47 11    yeah, in fact that's a Qorvo document and if it's

08:32:50 12    confidential, it's confidential, it says that on the

08:32:54 13    document, but how do we know that it's really confidential

08:32:57 14    because they could have just marked all of their documents

08:33:01 15    confidential as we think the evidence will show.

08:33:04 16                 THE COURT:    We're not going through that

08:33:05 17    exercise of challenging every document that comes in, or

08:33:09 18    saying well -- yes it's got confidential on it, but we don't

08:33:13 19    know if it's confidential, perhaps we have somebody on the

08:33:16 20    stand that says it is confidential, if the document says it

08:33:20 21    got confidential on it, you can cross-examine, you can check

08:33:23 22    on it, you can come in and challenge the document, but I

08:33:26 23    think from an efficiency point of view it doesn't seem to be

08:33:30 24    a real issue that many of the documents that Akoustis had

08:33:32 25    did have confidential indications on them, and you and I can
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08:33:38   1   both acknowledge that some of that information might be more

08:33:41   2   important than others.

08:33:42   3                 MR. ELKINS:   Yeah, and they -- for example, they

08:33:45   4   took depositions of our witnesses.

08:33:47   5                 THE COURT:    Sure.

08:33:47   6                 MR. ELKINS:   Who had them in custody, you know

08:33:50   7   the custody chain show that a particular Akoustis witness

08:33:53   8   had it appear it was produced in somebody's files, does this

08:33:57   9   appear to be a Qorvo document?      Yes, it does.     We're not

08:34:01 10    going to say oh, now you have to put on a Qorvo person to

08:34:05 11    also get it in.

08:34:06 12                  THE COURT:    I think we're going to be okay.       I'm

08:34:08 13    trying to listen carefully here.      I think we're going to be

08:34:12 14    all right on this.    It seems like we'll be able to move

08:34:15 15    through it, and I just, I agree that Mr. DeFosse,

08:34:19 16    Mr. Masters, so forth, have an obligation to set a little

08:34:22 17    more of a background on the documents, and you're right

08:34:25 18    about that.

08:34:25 19                  MR. ELKINS:   That's the only point I was making.

08:34:28 20                  THE COURT:    I think they do ask maybe one or two

08:34:32 21    more questions in that regard if they can, but they don't

08:34:35 22    have to have the author, a Qorvo author of the document be

08:34:38 23    on the stand first and say oh, yeah, that's a Qorvo

08:34:41 24    document.    That would be just, it would be terribly time

08:34:44 25    consuming, and on an issue as to which there doesn't seem to
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08:34:49   1   be any real debate.

08:34:51   2                MR. ELKINS:    A good example, Your Honor, is

08:34:52   3   yesterday Mr. Creviston testified about two documents.

08:34:55   4                THE COURT:    Yes.

08:34:55   5                MR. ELKINS:    And we did not object -- I mean, I

08:34:58   6   don't think he was the author of it.

08:34:59   7                THE COURT:    No.

08:35:01   8                MR. ELKINS:    We did not object on that ground.

08:35:02   9                THE COURT:    Correct.   Correct.   He was not.

08:35:04 10                 MR. DeFOSSE:   Your Honor, I think we're fine, I

08:35:08 11    understand Your Honor would like to address this as we go.

08:35:11 12    I guess the situation I'm trying to avoid is showing up in

08:35:14 13    court not just today but every day going forward not knowing

08:35:18 14    what objections they're maintaining because the status quo

08:35:21 15    as I understand it from them --

08:35:23 16                 THE COURT:    Today we're going to go forward this

08:35:25 17    way, I think our point, my point, your point, everybody's

08:35:30 18    point is to the degree those can be as to which notice can

08:35:34 19    be given in advance, it's going to save us a lot of time,

08:35:38 20    and I think -- I think -- I think Akoustis's counsel is

08:35:42 21    trying to do that.

08:35:43 22                 MR. ELKINS:    Yes, Your Honor.

08:35:43 23                 THE COURT:    We just had a busy day yesterday.

08:35:46 24                 MR. ELKINS:    First, let me apologize to counsel,

08:35:49 25    it was our fault we didn't get those in, it won't happen
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08:35:54   1   again.   We have a system in place now.      If there is a

08:35:57   2   problem with getting objections on time, we will let them

08:36:00   3   know in advance, and if they have a problem, we're not going

08:36:03   4   to squawk and we'll show them the same courtesy.

08:36:06   5                THE COURT:    What we're going to try to do and

08:36:08   6   I'll tell the jury, I'll tell them two things, one thing is

08:36:13   7   objections will often be an objection such as 401, not

08:36:17   8   relevant, very short, but reference to a number, that would

08:36:21   9   be useful.   You know, 602, 611, whatever it's going to be,

08:36:26 10    just help us all move quickly through it because I know

08:36:30 11    everybody is time concerned.     Okay.   I think we're good.

08:36:33 12                 The other point is that we will have the

08:36:36 13    requirement that all the examination of the witness take

08:36:39 14    place at the same time, we're not going to have the witness

08:36:42 15    recalled, that simply takes up unnecessary time when the

08:36:46 16    witness has to be repositioned in terms of context and so

08:36:51 17    forth.   We'll just tell them that.

08:36:53 18                 So Akoustis won't be penalized in any way in

08:36:56 19    that regard, just say that Akoustis will also be presenting,

08:36:59 20    assuming that the witness is answering more than three

08:37:02 21    questions from Qorvo, then Akoustis will just go ahead and

08:37:08 22    present all the testimony.    And some plaintiffs really don't

08:37:11 23    like that, but that's so much more efficient.        Does that

08:37:15 24    make sense to everybody?    I think I have said -- I know I

08:37:18 25    tell everybody this in every case.
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08:37:21   1                  MR. ELKINS:    Certainly I think that's the way we

08:37:23   2   understood we were going to proceed, Your Honor.

08:37:24   3                  THE COURT:    And we probably talked about it.

08:37:27   4                  MR. ELKINS:    There are only three witnesses I

08:37:29   5   believe who are affected by that.

08:37:30   6                  THE COURT:    I think so.

08:37:31   7                  MR. ELKINS:    And Mr. Aichele, Mr. Shealy, and

08:37:34   8   then Mr. Testa, who will testify later today, we called them

08:37:38   9   in our case, it will probably be just a cross-examination.

08:37:42 10    I doubt it will go outside the scope, but if it needs to,

08:37:45 11    then we've --

08:37:47 12                   THE COURT:    Sure.

08:37:47 13                   MR. ELKINS:    We disclosed the documents.

08:37:49 14                   THE COURT:    I'll just remind the jury that

08:37:52 15    that's how we're handling it.        It all sounds good.     I think

08:37:56 16    we're ready.    All the jurors got here.

08:38:14 17                   The cockatoo made it to the third floor.        You

08:38:42 18    will be alerted to the fact that objection orders will be

08:38:45 19    entered shortly, so some of this staff may want to be

08:38:50 20    alerted to that, because it is important to the

08:38:56 21    videographer.     And we're going to have our witness come back

08:38:59 22    to the witness stand.       I know we're anxious to do that, so

08:39:04 23    you'll be here for the jury.         Remember that the non-staff

08:39:09 24    personnel, that is any folks don't stand, of course all of

08:39:14 25    you do stand when the panel gets here.
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08:39:17   1                COURT CLERK:   Ready for them, Judge?

08:39:19   2                THE COURT:    We're all set.

08:39:20   3                COURT CLERK:   All rise.

08:39:21   4                (Jury entering the courtroom at 8:39 a.m.)

08:39:38   5                THE COURT:    You can be seated as you come in,

08:39:40   6   but I know you're sorting people out.        And we're going to

08:39:50   7   get Mr. McVay in front of that line on the second row.

08:39:55   8   Everybody can be seated because we are ready to proceed.

08:40:02   9                Counsel may proceed.    This is cross-examination

08:40:03 10    of the witness.

08:40:04 11                 I will tell you one thing, it doesn't really so

08:40:07 12    much apply to this witness, but it will to all witnesses

08:40:10 13    really is that all of their testimony is presented at one

08:40:13 14    time, so if, Qorvo will call somebody that Akoustis will

08:40:18 15    also call, this is not necessarily the case with this

08:40:21 16    witness, then all the testimony is presented at the same

08:40:24 17    time.   That's to be more efficient, otherwise the witness

08:40:28 18    would be recalled and what we might call the defense case

08:40:32 19    that will mean they would have to be reoriented, you have to

08:40:36 20    be reoriented, it takes about fifteen, twenty minutes, we

08:40:39 21    certainly want to be more efficient than that.         So it

08:40:42 22    doesn't matter who calls the witness, all their testimony

08:40:45 23    will be presented at that time.

08:40:47 24                 Counsel, I think we're ready as soon as you are.

08:40:50 25                 MR. ELKINS:    Thank you, Your Honor.      I just
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08:40:53   1   wanted to get my documents ready and I have done that.

08:40:57   2                      CROSS-EXAMINATION

08:40:58   3   BY MR. ELKINS:

08:40:59   4   Q.     Good morning, Mr. Creviston.

08:41:00   5   A.     Good morning.

08:41:01   6   Q.     You probably heard me introduce myself during jury

08:41:08   7   voir dire yesterday, I'm David Elkins, one of the lawyers

08:41:11   8   for the Akoustis defendants and good to meet you, although

08:41:14   9   at a distance this morning.

08:41:15 10                 I am going to do cross-examination, so go back

08:41:22 11    over some of the things to which you testified yesterday.           I

08:41:25 12    will refer to some documents that Mr. Masters asked you to

08:41:30 13    look at.   I saw yesterday you had a binder.     I take it you

08:41:34 14    do not have that binder with you?

08:41:35 15    A.     No, not today.

08:41:36 16    Q.     Then I will, with the Court's permission at the

08:41:39 17    proper time, I will pass those documents up.

08:41:42 18                 THE COURT:    Not a problem at all.

08:41:43 19                 MR. ELKINS:   And I presume for anything that was

08:41:46 20    marked yesterday, the Court already has those documents.

08:41:49 21                 THE COURT:    Right.

08:41:49 22                 MR. ELKINS:   Okay.

08:41:50 23    BY MR. ELKINS:

08:41:51 24    Q.     Let me ask you, you testified yesterday a little bit

08:41:54 25    about Qorvo's interactions with customers, potential
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08:42:00   1   customers.    And would you agree with me that the purchasers

08:42:05   2   and potential purchasers of BAW filters are rather

08:42:10   3   sophisticated?

08:42:11   4   A.     In general they are, yes.

08:42:15   5   Q.     And would you also agree that the functional

08:42:17   6   specifications that -- for a particular BAW filter are

08:42:23   7   provided to Qorvo in one of two ways, either custom

08:42:28   8   specifications from a customer, or a functional

08:42:32   9   specification for a particular industry standard like Wi-Fi

08:42:37 10    6?

08:42:37 11    A.     Not actually for the -- the majority of the filters

08:42:40 12    that we use we put them inside modules so the entire

08:42:44 13    function of the module is specified by the customer.         We

08:42:47 14    internally determine what that filter itself should do.

08:42:50 15    Q.     And the modules, those are mostly, I think they are

08:42:55 16    called front end modules or FEM's?

08:42:59 17    A.     Yes.

08:43:00 18    Q.     And the other way is that Qorvo supplies, I won't say

08:43:06 19    off-the-shelf because certainly they're not off the shelf,

08:43:09 20    but essentially you offer BAW filters that are intended to

08:43:14 21    help customers build products that comply with a certain

08:43:19 22    industry standard, as I said Wi-Fi 6, for example, that

08:43:23 23    would implicate the 5-gigahertz BAW filters like the QPQ1903

08:43:31 24    or 1904?

08:43:32 25    A.     Yeah, very, very few, but there are some cases of
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                                          Creviston - cross

08:43:35   1   what we would call a discrete filter that you're describing.

08:43:38   2   Q.       Would you also agree with me that customers generally

08:43:42   3   make decisions about whether to buy a BAW filter based on

08:43:45   4   whether or not the filter first meets the functional

08:43:48   5   specification?

08:43:49   6   A.       That's one of many requirements.

08:43:51   7   Q.       Correct.     Also they're going to look at the vendor,

08:43:54   8   right?

08:43:54   9   A.       Yeah, quality, right, pricing, of course, reputation,

08:43:59 10    reliability.

08:44:00 11    Q.       The ability to meet the customer's needs?

08:44:02 12    A.       Uh-huh.

08:44:03 13    Q.       Okay.    So I had mentioned the QPQ1903 and 1904.

08:44:10 14    Those are Qorvo BAW filters that are intended to help

08:44:15 15    customers build products that comply with the Wi-Fi 6

08:44:19 16    specification, right?

08:44:20 17    A.       I'm actually not familiar with the parts that were

08:44:25 18    not in my portfolio, but they may be.

08:44:29 19    Q.       I think you actually were in mobile products up until

08:44:33 20    2022?

08:44:33 21    A.       Uh-huh.     That's right.

08:44:37 22    Q.       And I'll remind you, you just need to speak up.

08:44:42 23    A.       Pardon?

08:44:43 24    Q.       I thought you said uh-huh.

08:44:44 25    A.       Yeah.    Yeah.   That's true.
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08:44:46   1   Q.     Okay.    And the Wi-Fi 6 standard fell into areas

08:44:53   2   covered about a couple of other groups within Qorvo's other

08:44:57   3   mobile products right?

08:44:58   4   A.     That's correct.

08:44:59   5   Q.     And one of them was wireless connectivity?

08:45:03   6   A.     Yeah, the wireless connectivity, it was a Wi-Fi based

08:45:08   7   product.

08:45:09   8   Q.     And also, I think it's infrastructure and defense

08:45:12   9   products or IDP is the other one?

08:45:14 10    A.     Yeah, exactly.

08:45:15 11    Q.     Okay.    And you testified that in 2017 through say

08:45:26 12    2019, Qorvo was engaging with Akoustis about possibly

08:45:31 13    acquiring 5-gigahertz filters to meet certain needs that

08:45:38 14    Qorvo might have, correct?

08:45:39 15    A.     That's correct.

08:45:40 16    Q.     And those were actually BAW filters in the

08:45:42 17    5-gigahertz range?

08:45:44 18    A.     Yes, that's right, specifically for Wi-Fi

08:45:47 19    applications that we hadn't prior tested, we had a much

08:45:51 20    bigger market in mobile phones and that's what I was

08:45:54 21    responsible for, we had the vast majority of the budget, we

08:45:57 22    were directing our internal efforts toward mobile and

08:46:01 23    looking to build portfolio if we could with Wi-Fi.

08:46:05 24    Q.     In fact, Qorvo wasn't able to, or at least decided

08:46:09 25    not to allocate resources to develop 5-gigahertz BAW filters
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08:46:15   1   because the mobile products division of which you were

08:46:19   2   president, and I think you still lead, right, as part of

08:46:23   3   your portfolio?

08:46:24   4   A.     No, I'm in a different role now.

08:46:26   5   Q.     It was because the mobile products group had a very,

08:46:29   6   very large order to meet with a very important customer in

08:46:35   7   Cupertino?

08:46:35   8   A.     Well, many, many customers, that's one, but many.

08:46:39   9   And mobile handset trails the infrastructure, so the

08:46:43 10    infrastructure part of the business would be 5-gigahertz

08:46:46 11    first, although it's a very small business compared to the

08:46:50 12    mobile group, as mobile phones don't have a filter so that's

08:46:53 13    already in the structure, so it trailed.

08:46:56 14    Q.     So, and you understand that Qorvo did not begin even

08:47:06 15    developing the -- what became the QPQ1903 and 1904

08:47:14 16    5-gigahertz BAW filters until 2018?

08:47:17 17    A.     So process development would be continuing along with

08:47:21 18    the whole family of technologies.     The product itself,

08:47:24 19    though, came out, we were developing in that time frame.

08:47:28 20    Q.     And you know that Akoustis actually had product in

08:47:33 21    the market in 2018?

08:47:36 22    A.     They did not have any product that met our

08:47:38 23    specifications.   Nothing we could have used or we would have

08:47:41 24    used it.

08:47:42 25    Q.     And isn't it true that the Qorvo 1903 and 1904, drop
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08:47:52   1   the QPQ for now, they weren't even in the market until the

08:47:56   2   end of 2020?

08:47:57   3   A.     I don't know exactly when they hit the market, but

08:48:01   4   nineteen or twenty, in that time frame.

08:48:03   5   Q.     Okay.    I would like to show you a document.        It is --

08:48:13   6   it was originally marked as DTX-272.       It's now trial

08:48:17   7   Exhibit 5.

08:48:18   8                  MR. ELKINS:   And if I can approach the witness?

08:48:20   9                  THE COURT:    You may.

08:48:21 10                   MR. ELKINS:   Thank you.

08:48:38 11    Q.     Mr. Creviston, do you recognize what was marked as

08:48:43 12    Trial Exhibit 5 from yesterday?

08:48:44 13    A.     Yes, I do.

08:48:46 14    Q.     And this is an e-mail thread among you, Ted

08:48:54 15    Gillenwater and Craig Callahan whom you briefly identified

08:49:00 16    yesterday?

08:49:00 17    A.     Yes.

08:49:01 18    Q.     And just for context, can you remind us who

08:49:06 19    Mr. Callahan is?

08:49:07 20    A.     He was the person in charge of my quality in mobile

08:49:11 21    products at the time.

08:49:12 22    Q.     Okay.    And I think you testified that Mr. Gillenwater

08:49:18 23    is essentially the chief technology officer for mobile

08:49:24 24    products?

08:49:24 25    A.     That's correct.
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08:49:26   1   Q.     And at the bottom of this first page, Mr. Callahan is

08:49:33   2   asking you at your staff meeting, and this is on August 26,

08:49:41   3   2020, at your staff meeting, "Sorry, Jesse.      At your staff

08:49:47   4   meeting, will you be able to share any outcome from your

08:49:51   5   discussion Monday night on strategies to deal with

08:49:55   6   Akoustis?"

08:49:55   7                What did you understand Mr. Callahan to be

08:49:59   8   referring to regarding your strategies to deal with

08:50:02   9   Akoustis?

08:50:02 10    A.     Essentially they were just becoming more and more

08:50:05 11    noise in the market as Akoustis was making claims about

08:50:08 12    their products.   As we talked about yesterday, they had

08:50:12 13    targeted a lot of our employees that had gone over there.

08:50:15 14    The primary issue was the fact that they were making claims

08:50:18 15    about products, making claims about competitiveness against

08:50:22 16    us which we didn't agree with.

08:50:24 17    Q.     If you go to the top, or the next one up, this is

08:50:28 18    your response here in the middle of the page to

08:50:32 19    Mr. Gillenwater, or excuse me, to Mr. Callahan, but you're

08:50:36 20    adding Mr. Gillenwater to the conversation, correct?

08:50:38 21    A.     Uh-huh.    Yes.

08:50:40 22    Q.     And here you say you didn't recall any particular

08:50:46 23    strategies coming out of it.    More an understanding of why

08:50:49 24    we are not able to compete with them today in the places

08:50:53 25    (tiny niches, really) where they were winning, or are
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08:50:58   1   winning, excuse me.

08:50:59   2                    What were you referring to with respect to the

08:51:02   3   places or tiny niches where Akoustis was winning?

08:51:07   4   A.        Yeah, my recollection is again, that was sort of the

08:51:10   5   infrastructure piece of Wi-Fi, which would have been in our

08:51:14   6   other operating group but a much, much smaller business than

08:51:18   7   what we were focusing on in the mobile phone part of the

08:51:21   8   business.

08:51:21   9   Q.        And in winning, you meant that they were winning

08:51:25 10    customer orders, correct?

08:51:27 11    A.        Yeah, that would be the implication.       I don't know at

08:51:30 12    the time if they really had anything substantial.           We called

08:51:33 13    them tiny niches because they were picking up little pieces

08:51:37 14    of business here and there and talking a lot about those

08:51:40 15    particular wins.

08:51:43 16    Q.        I want to -- I'm going to switch gears now.

08:51:47 17                     You're familiar, I expect, with a product

08:51:54 18    management system called the phase gate process?

08:51:59 19    A.        Uh-huh.

08:52:00 20    Q.        And I apologize --

08:52:02 21    A.        Yes.

08:52:03 22    Q.        Yes.   I'm sorry.    We always have to have a clear

08:52:06 23    record.

08:52:06 24    A.        Understood.

08:52:07 25    Q.        And it's not a natural way to speak between two
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08:52:10   1   people.

08:52:10   2                     But it's a project management technique, right?

08:52:14   3   A.        Yes, it is.

08:52:15   4   Q.        And it guides a project from conception to launch?

08:52:18   5   A.        Correct.

08:52:20   6   Q.        And it involves breaking down a project into distinct

08:52:24   7   phases, they're sometimes called stages?

08:52:27   8   A.        Correct.

08:52:27   9   Q.        And it's separated by decision points, correct?

08:52:31 10    A.        Correct.

08:52:31 11    Q.        And each stage generally has its own scope, its own

08:52:36 12    objectives, and activities?

08:52:38 13    A.        That's correct.

08:52:39 14    Q.        And at the end of each phase, the work is reviewed at

08:52:44 15    a gate to see if the project is ready to move forward?

08:52:49 16    A.        That's correct.

08:52:50 17    Q.        Okay.    Then the project manager decides whether to

08:52:53 18    move forward, make modifications, or just end the project?

08:52:58 19    A.        Correct.

08:52:59 20    Q.        Who is Patricia Groots?

08:53:03 21    A.        So Pat Groots currently is one of our operations

08:53:10 22    people within Qorvo.

08:53:13 23    Q.        Did you supervise her in the 2005, 2006 period?

08:53:18 24    A.        I don't believe she was ever in my organization.

08:53:22 25    Q.        Okay.    I am going to show you another document that
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08:53:28   1   we saw yesterday.    This one is Trial Exhibit 6.      It had been

08:53:33   2   marked as PTX 785.

08:53:37   3                 MR. ELKINS:    May I approach?

08:53:38   4                 THE COURT:    You may.

08:53:49   5                 MR. MASTERS:   Your Honor?

08:53:50   6                 THE COURT:    Yes, sir.

08:53:51   7                 MR. MASTERS:   This is a document that we had

08:53:53   8   requested the Court be sealed.

08:53:55   9                 THE COURT:    It is to be sealed.   It's marked as

08:53:58 10    confidential.    I don't know if we have anybody in the

08:54:00 11    courtroom.

08:54:02 12                  MR. MASTERS:   I don't believe so, just so the

08:54:04 13    record is reflecting.

08:54:07 14                  THE COURT:    Absolutely.   It's a really good

08:54:09 15    reason for that, because if they don't announce and tell us

08:54:12 16    that it is a confidential or a sealed document, then it

08:54:16 17    becomes public, and so each time that happens, they should

08:54:21 18    announce that.    It doesn't affect you, you can look at

08:54:25 19    everything you want to.

08:54:27 20    BY MR. ELKINS:

08:54:30 21    Q.     Mr. Creviston, will you please turn to page 10 of

08:54:36 22    Trial Exhibit 6.

08:54:40 23    A.     Yes.

08:54:40 24    Q.     And you'll see the revision history; correct?

08:54:45 25    A.     Yes.
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08:54:45   1   Q.       And would you agree with me that Patty Groots appears

08:54:51   2   to be -- excuse me, Groots, I mispronounced her name, Groots

08:54:56   3   appears to have prepared this document in March 2005?

08:54:59   4   A.       Correct.

08:55:00   5   Q.       And it also appears that she made some modest

08:55:04   6   revisions in August of 2005?

08:55:07   7   A.       Yes.

08:55:08   8   Q.       And if you flip to the front page, you'll see that

08:55:16   9   she made some modest revisions in January of 2006; correct?

08:55:21 10    A.       Correct.

08:55:23 11    Q.       You don't have any personal knowledge of how many

08:55:25 12    hours Ms. Groots spent creating this document, do you?

08:55:30 13    A.       No, I would not.     But it's not Ms. Groots that

08:55:34 14    contributes the content, of course, it comes from the people

08:55:36 15    that do our program management and design, engineering and

08:55:41 16    marketing people.

08:55:42 17    Q.       Let me rephrase that.      You don't have any personal

08:55:45 18    knowledge regarding how many hours were spent creating this

08:55:48 19    document at all, do you?

08:55:50 20    A.       Creating the document, of course I don't know how

08:55:55 21    long it took to make the document.        The work that goes into

08:55:57 22    the material, that's substantial.        The process itself is

08:56:01 23    many people continuously working to develop this process for

08:56:09 24    years.

08:56:17 25    Q.       Yesterday you testified this is a very, very valuable
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08:56:21   1   document.

08:56:22   2   A.      The process itself is very valuable to us, yes.

08:56:25   3   Q.      So the document is not very valuable, is that what

08:56:27   4   you're saying?

08:56:28   5   A.      The document documents the process, so it reflects of

08:56:31   6   course all the work that went into the process.

08:56:35   7   Q.      Let's go to page 3 of the document.     And let's go to

08:56:53   8   Section 9, procedure.    And the first step in this procedure

08:57:05   9   that you said is very, very valuable is concept initiation,

08:57:13 10    coming up with an idea.    Do you characterize that as not

08:57:18 11    generally known outside Qorvo, coming up with an idea?

08:57:22 12    A.      Coming up with an idea itself is not the value in the

08:57:27 13    process for sure.   The documentation of what constitutes the

08:57:32 14    concept and then how you formalize it, bring it into

08:57:35 15    reality.

08:57:36 16    Q.      Well, what about the next step, beginning a

08:57:40 17    feasibility study to determine whether or not the idea might

08:57:44 18    work.   Is that an idea that is not generally known outside

08:57:47 19    of Qorvo?

08:57:48 20    A.      People phrase it in different ways, developing a

08:57:53 21    common methodology, but the whole organization understands

08:57:56 22    where you are in the process, what we call it and how that's

08:58:00 23    defined is unique to us.

08:58:01 24    Q.      Is that something that other companies don't do?

08:58:04 25    A.      They may do it in other ways.     The longer the company
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08:58:08   1   has been in business, the more they have matured the

08:58:11   2   process, the more they would be likely to do that.

08:58:14   3   Q.     Let's go to the top of the next page and let's focus

08:58:18   4   on the pre alpha activities.     And you understand that this

08:58:27   5   document describes certain stages, the pre alpha, alpha,

08:58:33   6   then there is a beta stage, and then there is a pre-release

08:58:36   7   and release stage, correct?

08:58:38   8   A.     Uh-huh.

08:58:39   9   Q.     So this is the pre-alpha activities.       And the process

08:58:45 10    here is described as

08:58:51 11             .

08:58:52 12    A.     Yes.

08:58:53 13    Q.     Defining

08:58:59 14


08:59:06 15

08:59:12 16           Correct?

08:59:13 17    A.     That's correct.

08:59:16 18    Q.     Would you agree with me that those are not trade

08:59:23 19    secrets that are known only to Qorvo?

08:59:25 20    A.     The individual items, I mean, the trade secret is

08:59:31 21    it's actually when we perform these functions.        I know as a

08:59:34 22    small company we did not have the maturity to do this level

08:59:38 23    of work up front, so that's really the key is making sure

08:59:42 24    the organization is aligned and doing the work upfront and

08:59:46 25    at every stage you're prepared to go on, so generally people
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08:59:49   1   have a certain flow, what works in our industry with our

08:59:53   2   customers is what we developed here.

08:59:56   3   Q.     Let's go to the alpha phase at the top of page 5.

09:00:11   4   Again, none of these individual steps in the alpha phase are

09:00:17   5   unknown in the industry, are they?

09:00:20   6   A.     Not necessarily.    But there is a lot of others as

09:00:23   7   well that are not unknown.    So the specific actions we do at

09:00:28   8   specific times is what we've learned over time and what

09:00:32   9   works in our industry with our customers.

09:00:35 10    Q.     Where is that in this document?

09:00:36 11    A.     It's what the document covers, the flow of

09:00:40 12    activities, when we do which activity.

09:00:42 13    Q.     But this flow of activities is not unknown in the

09:00:46 14    industry, is it?

09:00:47 15    A.     At the high level, of course you start with an idea

09:00:50 16    and end up with a product.    How you get from beginning to

09:00:53 17    the end, where you determine -- so each of these gates

09:00:58 18    determined a certain amount of maturity of the product,

09:01:01 19    level of investment we're committing and the communication

09:01:04 20    of the entire organization, where we are at that time,

09:01:08 21    that's a mature process that takes a company a long time to

09:01:11 22    develop.

09:01:11 23    Q.     It's how you implement these processes, correct,

09:01:14 24    that's where the -- that's where the customization comes for

09:01:18 25    an organization like Qorvo, correct?
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09:01:19   1   A.     It's determining a standard work process and defining

09:01:24   2   it in standard terms that we all communicate with.

09:01:29   3   Q.     Yesterday you testified that this document has been

09:01:36   4   improved over a couple of decades as you learn more things

09:01:41   5   in your technology development process.        And you integrate

09:01:45   6   the document, update it and continually improve on it.          That

09:01:50   7   is not -- where is that reflected in this document?

09:01:54   8   A.     So, I don't know how many other revisions of the

09:01:58   9   document itself, but within each of these things, the terms

09:02:01 10    and what we do in each of the stage gates, we continue to

09:02:05 11    refine it while we learn.

09:02:07 12    Q.     You presented this document, this is the exact same

09:02:10 13    revision about which you testified yesterday?

09:02:14 14    A.     Uh-huh.

09:02:14 15    Q.     None of that, none of what you just described is

09:02:17 16    anywhere in this document, is it?

09:02:19 17    A.     I don't know how it could be in the document.          It's

09:02:22 18    behind each of these actions, like what an alpha PDK means,

09:02:27 19    what does that mean, it's determined internally, and we

09:02:30 20    continue to improve our process for developing a alpha PDK.

09:02:40 21    Q.     Okay.    So that definition is not in this document, is

09:02:44 22    it?

09:02:45 23    A.     No, I don't believe it is.

09:02:57 24    Q.     You talked briefly about an evaluation board test

09:03:01 25    plan yesterday, and just so the jury understands, an
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09:03:04   1   evaluation board is a printed circuit board that's set up

09:03:08   2   for evaluating a component for a particular application;

09:03:12   3   correct?

09:03:12   4   A.      That's correct.

09:03:13   5   Q.      Qorvo sells evaluation boards?

09:03:17   6   A.      We do sell evaluation boards, yes.

09:03:20   7   Q.      In fact, Qorvo sells a bunch of them on its Qorvo

09:03:24   8   store site?

09:03:25   9   A.      That's correct, yes.

09:03:26 10    Q.      Let me give you the document about which you

09:03:32 11    testified before I ask any questions on it.       This was marked

09:03:36 12    yesterday as Trial Exhibit 7 and before that it was PTX

09:03:40 13    1089?

09:03:42 14                  MR. ELKINS:   May I approach?

09:03:43 15                  THE COURT:    You may.

09:03:53 16    BY MR. ELKINS:

09:04:02 17    Q.      So this is Trial Exhibit 7 from yesterday about which

09:04:06 18    you testified.     So this is a plan for testing an evaluation

09:04:12 19    board; correct?

09:04:14 20    A.      Correct.

09:04:14 21    Q.      And not just any evaluation board, but this is a

09:04:17 22    particular Qorvo evaluation board, right?

09:04:20 23    A.      Correct.

09:04:21 24    Q.      And are you personally familiar with that particular

09:04:24 25    Qorvo evaluation board?
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09:04:27   1   A.     No, I am not.

09:04:27   2   Q.     Did Qorvo ever sell it?

09:04:30   3   A.     I don't know.

09:04:31   4   Q.     Do you know who Kris Cheramie is, the author of this

09:04:37   5   document?

09:04:37   6   A.     No, I do not.

09:04:38   7   Q.     Do you know if that's a man or a woman?

09:04:40   8   A.     No, I do not.

09:04:44   9   Q.     Do you have any personal knowledge whether this

09:04:47 10    evaluation board is still in use?

09:04:49 11    A.     No, I do not.

09:04:50 12    Q.     Do you have any knowledge about whether this

09:04:52 13    evaluation board was ever in use?

09:04:53 14    A.     No, I do not.     This was not in my business unit.

09:05:02 15    Q.     How, if at all, does this document have any value

09:05:05 16    from not being generally known?

09:05:07 17    A.     From not being generally known.        So in the comments

09:05:11 18    and in the test parameters, the exact limits we set, the way

09:05:15 19    we characterize the device, and all the specific parameters

09:05:18 20    in which we characterize it.

09:05:21 21    Q.     Okay.    This is for a particular Qorvo evaluation

09:05:24 22    board; right?

09:05:24 23    A.     That's correct.

09:05:25 24    Q.     And again, you don't know whether or not it was ever

09:05:30 25    used outside Qorvo, right?
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09:05:31   1   A.     I do not know.

09:05:34   2   Q.     Okay.

09:05:34   3                  MR. ELKINS:   Those are all the questions I have.

09:05:36   4   Thank you, Mr. Creviston.

09:05:38   5                  THE COURT:    All right.   Redirect.

09:05:45   6                        REDIRECT EXAMINATION

09:05:46   7   BY MR. MASTERS:

09:05:48   8   Q.     Good morning, Mr. Creviston.

09:05:50   9   A.     Good morning.

09:05:50 10    Q.     Just a couple of questions on redirect with respect

09:05:54 11    to TX 6, Trial Exhibit 6.

09:06:00 12                   Do you have the document?     And it was marked

09:06:13 13    PTX-785.

09:06:15 14    A.     Yes.

09:06:20 15    Q.     So counsel asked you questions about individual

09:06:24 16    activities that are set forth in TX 6.        Do you recall that?

09:06:27 17    A.     Yes.

09:06:28 18    Q.     Is the value of TX 6, this new technology development

09:06:35 19    document with respect to the individual activities or the

09:06:38 20    collection as a whole?

09:06:39 21    A.     The collection as a whole.

09:06:40 22    Q.     And would competitors find this process that's set

09:06:45 23    out in TX 6 to be valuable?

09:06:48 24    A.     Absolutely.

09:06:49 25    Q.     And based on your experience, would a company
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09:06:52   1   starting out find the document like TX 6 valuable as well?

09:06:56   2   A.        In particular, a company that's starting out because

09:07:01   3   it gives a big jump start on the maturity of the process

09:07:04   4   that we developed over a long period of time.

09:07:07   5                  MR. MASTERS:    Thank you.   No further questions.

09:07:09   6                  THE COURT:    Thanks very much.    And we're going

09:07:12   7   to let you step down.

09:07:14   8                  Who will our next witness be.

09:07:16   9                  MR. MASTERS:    Your Honor, Qorvo will next call

09:07:19 10    Dr. Robert Aigner.     Mr. DeFosse will do the examination.

09:07:24 11                   THE COURT:    All right.   The witness will come

09:07:35 12    forward and be sworn.       Please come forward and raise your

09:07:50 13    right hand.

09:07:51 14                   COURT CLERK:    Step right over here.    Please

09:07:56 15    remain standing and raise your right hand.        Please state and

09:08:00 16    spell your name for the record.

09:08:01 17                   THE WITNESS:    My name is Robert Aigner.

09:08:04 18                   COURT CLERK:    Spell your name for the record,

09:08:04 19    please.

09:08:07 20                   THE WITNESS:    R-O-B-E-R-T, A-I-G-N-E-R.

09:08:14 21                   ROBERT AIGNER, having been duly sworn was

09:08:18 22    examined and testified as follows:

09:08:26 23                   THE COURT:    You may be seated.

09:08:28 24                   MR. DeFOSSE:    Your Honor, I have binders of

09:08:30 25    exhibits for Dr. Aigner, which I would like to provide to
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09:08:36   1   your staff and yourself.

09:08:37   2                    THE COURT:   All right.

09:08:43   3                        DIRECT EXAMINATION

09:08:43   4   BY MR. DeFOSSE:

09:08:45   5   Q.       Good morning, Dr. Aigner.

09:08:47   6   A.       Good morning.

09:08:48   7   Q.       Could you please introduce yourself to the jury?

09:08:50   8   A.       My name is Robert Aigner.

09:08:55   9   Q.       And where do you work, Dr. Aigner?

09:08:57 10    A.       I work at Qorvo in the Florida facility.

09:09:01 11    Q.       What's your position at Qorvo?

09:09:03 12    A.       I am a senior director of Research and Development.

09:09:09 13    Q.       How long have you worked at Qorvo?

09:09:12 14    A.       I have been there for eighteen years.

09:09:14 15    Q.       Where do you currently live?

09:09:17 16    A.       I live in Apopka, Florida, just west of Orlando.

09:09:23 17    Q.       Do you have family?

09:09:24 18    A.       I do.    I am married and have three daughters.

09:09:29 19    Q.       May I ask when you first joined Qorvo?

09:09:32 20    A.       I joined TriQuint, which became Qorvo, and I joined

09:09:37 21    in 2006.

09:09:38 22    Q.       What was your position at TriQuint in 2006?

09:09:42 23    A.       Initially I was the manager of a newly founded BAW

09:09:48 24    group.

09:09:49 25    Q.       And what were your responsibilities as the manager of
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09:09:51   1   that group?

09:09:53   2   A.     It was my responsibility to make BAW commercially

09:09:58   3   viable technology for the company, recruit raw talent, and

09:10:05   4   start researching processes to make it a commercial

09:10:09   5   technology.

09:10:10   6   Q.     How long did you serve as the manager of the BAW

09:10:13   7   research group?

09:10:15   8   A.     I served until 2019 in different functions.

09:10:22   9   Q.     Would you tell the jury how you first got involved in

09:10:24 10    working with BAW filter technology?

09:10:27 11    A.     I made my Ph.D. in micromechanical technologies in

09:10:34 12    Munich, Germany, and got hired by Infineon, a German

09:10:41 13    company.   The company was soon after becoming very

09:10:43 14    interested in creating RF filters, and I was the chosen

09:10:49 15    person to explore and lead this effort because I was the

09:10:54 16    only one with micro machining background and knowledge about

09:10:58 17    the radio frequency systems.

09:11:02 18    Q.     In what year did you earn your Ph.D.?

09:11:05 19    A.     It was in 1996.

09:11:08 20    Q.     When you first started working on BAW filter

09:11:12 21    technology, were there any BAW filters that were available

09:11:15 22    in the market?

09:11:16 23    A.     There were none in the broad market nor consumer

09:11:22 24    applications, there was one company that had deployed BAW

09:11:26 25    technology for military applications.
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09:11:28   1   Q.        Where was that company located?

09:11:30   2   A.        In Oregon.

09:11:32   3   Q.        What was the name of that company?

09:11:33   4   A.        The name was TFR Technology.

09:11:37   5   Q.        Overall, how many years have you worked with BAW

09:11:41   6   filter technology?

09:11:42   7   A.        It's been a total of twenty-five years for me.

09:11:46   8   Q.        Have you received any patents related to BAW filter

09:11:50   9   technology?

09:11:50 10    A.        I have almost a hundred U.S. patents in this field.

09:11:56 11    Q.        Before we go any further, Dr. Aigner, I would like to

09:12:00 12    ask you to explain Qorvo's BAW filter technology for the

09:12:03 13    jury.   Could we start by explaining what a BAW filter is at

09:12:07 14    a high level?

09:12:08 15    A.        A BAW filter is a component that all of you have in

09:12:13 16    your smart phone that sorts out waves coming from the

09:12:17 17    antenna.    It let's the waves cross to represent your signal,

09:12:23 18    and it blocks all the waves that come from other cell phones

09:12:26 19    or microwave ovens, or any other nature of radio.

09:12:31 20    Q.        Are BAW filters found in any devices other than cell

09:12:35 21    phones?

09:12:35 22    A.        BAW filters can also be found in Wi-Fi routers, in

09:12:41 23    automotive applications, and in a number of other wireless

09:12:45 24    applications on the market.

09:12:47 25    Q.        How are BAW filters made?
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09:12:53   1   A.     BAW filters are made in a semiconductor factory.           We

09:12:58   2   build on silicone wafers, layer by layer, microstructure

09:13:03   3   layers, and build on top of each other, until we have a

09:13:07   4   completed device.

09:13:10   5                MR. DeFOSSE:   Your Honor, may I approach the

09:13:12   6   witness?

09:13:13   7                THE COURT:   You may.

09:13:26   8   BY MR. DeFOSSE:

09:13:28   9   Q.     Dr. Aigner, I just handed you a demonstrative

09:13:31 10    exhibit.   Could you identify for the jury what I've handed

09:13:35 11    you?

09:13:36 12    A.     So what I have to show to you here is a silicone

09:13:42 13    wafer, eight inch, from our Texas factory, it's a BAW wafer.

09:13:49 14    And if you look very closely you're going to see a structure

09:13:53 15    and lines and columns.    Those are the BAW filters.        There is

09:13:57 16    a total of approximately 50,000 on one wafer this size.

09:14:04 17                 MR. DeFOSSE:   Your Honor, the demonstrative

09:14:07 18    Dr. Aigner is holding is little small, would it be okay if

09:14:10 19    he walks in front of the jury box?

09:14:12 20                 THE COURT:   That's okay.       Do we have -- we don't

09:14:14 21    have any other type of -- that's fine.        Are we going to mark

09:14:20 22    this as an exhibit?

09:14:21 23                 MR. DeFOSSE:   This is a demonstrative.

09:14:22 24                 THE COURT:   That's what I understood.

09:14:24 25                 It's a demonstrative, so you probably won't see
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09:14:26   1   it again and you wouldn't see it in the jury room unless

09:14:29   2   it's marked as an exhibit.      Take a look.     Yes, sir, you may.

09:14:33   3                  MR. DeFOSSE:   We would pass this around, Your

09:14:36   4   Honor, we're afraid it will break and cut someone.

09:14:40   5                  THE COURT:   Don't do that.     We'll do it the way

09:14:43   6   you suggest.

09:14:45   7   BY MR. DeFOSSE:

09:14:45   8   Q.     Dr. Aigner, can you explain to the jury what it is

09:14:47   9   you're showing them on this wafer?

09:14:50 10    A.     If you look carefully, you see --

09:14:53 11                   THE COURT:   Let's put a lapel mic there because

09:14:56 12    I'm watching to see who can hear.       Have you got one there?

09:15:02 13                   MR. DeFOSSE:   Dr. Aigner, if you could step back

09:15:04 14    for just a second.     We're going to get you mic'd up.

09:15:16 15                   THE COURT:   The courtroom is a little

09:15:18 16    complicated folks.     I think we can go ahead and try, if

09:15:21 17    somebody cannot hear, they just need to raise their hand.

09:15:25 18                   THE WITNESS:   You can see small structures on

09:15:27 19    here, the typical small instruction represent one BAW,

09:15:31 20    they're about the size of a grain of sand, like a millimeter

09:15:35 21    by a millimeter, therefore a wafer like this, you are going

09:15:39 22    to find 50,000.

09:15:49 23    Q.     Dr. Aigner, once you return that to its case?

09:15:53 24                   MR. DeFOSSE:   Your Honor, may I approach?        I

09:15:55 25    have another demonstrative.
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09:15:56   1                  THE COURT:   You may.   Sure.

09:16:09   2   A.       So once we have completed the wafer, it gets sent

09:16:14   3   down and then we have by a precision laser machine that cuts

09:16:19   4   it into small pieces, those small pieces are assembled on a

09:16:24   5   laminate strip.     A laminate strip is kind of the carrier on

09:16:28   6   which we deliver the product to the customer.          That's what

09:16:31   7   you're going to find when cut in small pieces, again, in

09:16:35   8   your phones.

09:16:35   9                  If you look here, you see those silver really

09:16:40 10    small things on there.      This is individual BAW dies, chips,

09:16:46 11    they're about the size of a square millimeter.          As we can

09:16:53 12    see.    So that's our filter.    You can hand it around if you

09:17:09 13    want.

09:17:12 14    Q.       Thank you, Dr. Aigner.

09:17:16 15                   THE COURT:   We'll wait until everybody has

09:17:18 16    looked and then we'll collect it.       This is another

09:17:21 17    demonstrative, though?

09:17:22 18                   MR. DeFOSSE:   This is another demonstrative,

09:17:23 19    Your Honor.    And Your Honor, while they're doing that,

09:17:35 20    perhaps, we have not numbered these, but maybe we should

09:17:38 21    assign a letter for identification.

09:17:39 22                   THE COURT:   I think we should.     We'll give

09:17:42 23    demonstrative A and demonstrative B, that means you won't

09:17:47 24    see them again unless they're used as demonstratives, unless

09:17:50 25    they're received and given a number, demonstratives A and B.
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09:17:56   1   Thank you.

09:17:56   2                 MR. DeFOSSE:   Thank you, Your Honor.

09:17:57   3   BY MR. DeFOSSE:

09:17:58   4   Q.      Thank you, Dr. Aigner.     So you have now shown the

09:18:01   5   jury an example of what a BAW filter looks like in a wafer

09:18:05   6   and on a laminate strip.     Could you explain to the jury what

09:18:10   7   the difference is between a BAW filter and a BAW resonator?

09:18:16   8   A.      So a BAW filter requires several BAW resonators to

09:18:22   9   work.   A resonator is the basic building block.        And you can

09:18:26 10    think of a resonator as a string of a guitar.         You pick it

09:18:32 11    and it will vibrate at a certain frequency.        That's also

09:18:36 12    what BAW resonators do, but at a much, much higher

09:18:40 13    frequency.    But it's important to understand that it's very

09:18:45 14    frequency selective.     And you put several of the resonators

09:18:49 15    together in the right configuration, ten, maybe twenty,

09:18:53 16    depending on the filter type, and you can create a filter

09:18:57 17    that let's certain waves pass and others will be rejected

09:19:02 18    all based on frequency.

09:19:04 19    Q.      And each of the BAW filters that you were showing a

09:19:09 20    moment ago, how many resonators are there?

09:19:11 21    A.      There could be between ten and twenty depending on

09:19:16 22    the case.

09:19:17 23                  MR. DeFOSSE:   Could I ask Mr. Buchbinder to pull

09:19:20 24    up PDX 2.3.

09:19:24 25    BY MR. DeFOSSE:
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09:19:25   1   Q.       Dr. Aigner, can you explain what is shown on this

09:19:30   2   slide?

09:19:32   3   A.       Yes.   So what you saw on this laminate strip, the

09:19:38   4   little gray things that's shown on the left image here

09:19:42   5   turned around.      So this is the side where the actual

09:19:45   6   resonators are located, we have this grayish polygons here

09:19:51   7   and there are about ten of them.        Each of the resonators is

09:19:55   8   built up of a piezo layer, with a top and a bottom

09:20:03   9   electrode.

09:20:03 10    Q.       Can you point where the piezo layer is on the top and

09:20:08 11    bottom of the demonstrative?

09:20:09 12    A.       It is the greenish material is the piezo layer, the

09:20:19 13    top, the gray layer is the layer on the bottom, this is

09:20:23 14    basically the engine of the resonator, this is what drives

09:20:27 15    the resonator, this is what picks the string.           And piezo

09:20:31 16    materials have the property that they can transform

09:20:37 17    electrical signal into deformation and vice versa, that's

09:20:42 18    how we create the vibrations and how we pick them up again

09:20:47 19    to create a signal that goes on in your phone.

09:20:52 20    Q.       As part of your responsibilities at Qorvo, have you

09:20:55 21    analyzed SMR resonators?

09:20:59 22    A.       Yes, I have.

09:21:00 23    Q.       What is an SMR resonator?

09:21:03 24    A.       SMR stands for solidly mounted resonator.          It's a

09:21:08 25    solidly mounted resonator, what I just showed, the engine of
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09:21:13   1   the resonator, the resonating film, it sits on solid layers.

09:21:20   2   So one of the criteria is that we want it to resonate

09:21:27   3   freely, not getting damped and the layers are constructed

09:21:31   4   such that there is no damping occurring, virtually no

09:21:36   5   damping.

09:21:36   6   Q.      Mr. Buchbinder, can we pull PDX 2.3 up again.

09:21:40   7                  And Dr. Aigner, could you point out in PDX 2.3

09:21:44   8   what are the layers that you are saying sit on top of a

09:21:48   9   solid layer?

09:21:48 10    A.      The bottom electrode, the gray layer in the middle

09:21:52 11    picture, below that bottom electrode, you have layers that

09:21:57 12    will allow the structure to freely vibrate.

09:22:01 13    Q.      Have you also analyzed FBAR resonators as part of

09:22:06 14    your work at Qorvo?

09:22:08 15    A.      Yes, I have.

09:22:09 16    Q.      In what context?

09:22:10 17    A.      Well our main competitors are using FBAR, Broadcom is

09:22:15 18    our biggest competitor, Skyworks is another competitor also

09:22:20 19    using FBAR.    So we look around for what other companies do

09:22:24 20    all the time to understand the differences in our

09:22:27 21    performance and in their performance.          But there is really

09:22:31 22    none.

09:22:31 23                   We compete for the same slots of the major BAW

09:22:35 24    manufacturers, the ones in California, typically, and we do

09:22:41 25    the same, we apply the same principals, we do the same -- we
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09:22:46   1   apply to the same markets.

09:22:49   2   Q.     Dr. Aigner, when did Broadcom first introduce FBAR

09:22:54   3   type resonators into the market?

09:22:55   4   A.     Broadcom did that in 2001, 2002 time frame.

09:23:02   5   Q.     FBAR resonators are not a technology that Akoustis

09:23:05   6   invented, right?

09:23:06   7   A.     No, not at all.

09:23:08   8   Q.     Are SMR resonators and FBAR resonators different

09:23:14   9   types of technology?

09:23:15 10    A.     No, they're not, they're using the same principle to

09:23:19 11    drive the resonates to create the engine of your resonator

09:23:23 12    that just a different implementation of how you keep the

09:23:28 13    wave of the resonators from being passed into the substrate.

09:23:32 14    Q.     I would like to return now to when you joined

09:23:37 15    TriQuint in 2006.

09:23:39 16                 What was the status of BAW filter technology at

09:23:42 17    TriQuint at that time?

09:23:43 18    A.     TriQuint had just acquired the startup TFR

09:23:50 19    Technologies in Bend, Oregon.     They had a more than ten-year

09:23:55 20    history of doing BAW filter for military applications, so

09:23:58 21    when we started, we had some foundation and we made it a

09:24:02 22    commercially viable process in the following years.

09:24:06 23    Q.     And when were you able to achieve the

09:24:09 24    commercialization of a BAW filter at TriQuint?

09:24:13 25    A.     Yes, we did.
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09:24:14   1   Q.     And what year?

09:24:15   2   A.     In 2010 we had our major launch in one of the

09:24:25   3   iPhones, the first two or three generations.

09:24:29   4   Q.     And what frequency range did that product work in?

09:24:33   5   A.     At that time, the most important frequency was

09:24:38   6   1.9-gigahertz.

09:24:40   7   Q.     At the time you had arrived at TriQuint in 2006, had

09:24:45   8   the company acquired any BAW filter technology before your

09:24:51   9   arrival?

09:24:52 10    A.     TriQuint had acquired TFR Technologies back in 2004.

09:25:00 11    Q.     That was the company that was in Oregon that you

09:25:03 12    mentioned earlier?

09:25:04 13    A.     That's right, yes.

09:25:05 14    Q.     From the time that TriQuint and its predecessor

09:25:09 15    started to research BAW filter technology until the time

09:25:11 16    that the company launched its first BAW filter product, how

09:25:15 17    long did it take?

09:25:15 18    A.     There was close to twenty years.

09:25:19 19    Q.     Why did it take twenty years?

09:25:21 20    A.     It's complicated technology.      There was no tool

09:25:29 21    available to do the depositions for the layers required and

09:25:33 22    there are many, many elements that you need to get just

09:25:36 23    right to make it work.

09:25:38 24    Q.     Did TriQuint continue to develop BAW filter products

09:25:42 25    after that first iPhone product was introduced in 2010?
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09:25:46   1   A.       Yes, we did.

09:25:48   2   Q.       And can you remind the jury when TriQuint merged with

09:25:53   3   RFMD to form Qorvo?

09:25:55   4   A.       We merged with RFMD at the end of 2015.

09:25:59   5   Q.       So between 2010 and 2015, how many BAW filter

09:26:03   6   products did TriQuint develop?

09:26:06   7   A.       We developed approximately a hundred products in that

09:26:11   8   time frame before the merger.

09:26:13   9   Q.       As of 2015, how many BAW filters had TriQuint sold?

09:26:20 10    A.       At that time, I estimate we had sold about 10 billion

09:26:26 11    BAW filters to the markets in approximately 2 or 3 billion

09:26:33 12    individual products because there can be more than one

09:26:36 13    filter in one product.

09:26:40 14    Q.       After TriQuint and RFMD merged to form Qorvo, did you

09:26:45 15    retain responsibility for the BAW filter research program?

09:26:48 16    A.       Yes, I did.

09:26:49 17    Q.       Until when?

09:26:50 18    A.       Until spring 2019.

09:26:54 19    Q.       Between 2015 and 2019, how many BAW filter products

09:26:58 20    did Qorvo launch?

09:27:01 21    A.       Well, the activity ramped up significantly.        We

09:27:06 22    estimate we launched another 200 products in this time

09:27:10 23    frame.

09:27:10 24    Q.       As of 2016, the company had more than twenty years

09:27:14 25    experience in developing BAW filters?
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09:27:16   1   A.       That's correct, yes.

09:27:17   2   Q.       And at that time with twenty years of experience in

09:27:20   3   developing BAW filters, how long did Qorvo estimate it would

09:27:24   4   take to develop a new BAW filter product?

09:27:27   5   A.       Well, developing a new generation of process,

09:27:31   6   deploying it to product development and ramping is typically

09:27:35   7   a four to five-year time frame for us.

09:27:38   8   Q.       And that was for Qorvo, even with twenty years of

09:27:42   9   experience?

09:27:42 10    A.       That's right, yes.

09:27:44 11    Q.       How much money did TriQuint and Qorvo invest in the

09:27:48 12    research and development of BAW filters?

09:27:52 13    A.       A rough estimate would be in excess of $1 billion

09:27:56 14    total.

09:27:59 15    Q.       Did Qorvo develop any trade secrets related to BAW

09:28:03 16    filters during your time as the head of the BAW research

09:28:07 17    group?

09:28:07 18    A.       Yes, we certainly did.

09:28:08 19    Q.       Generally speaking, what role did trade secrets play

09:28:12 20    at Qorvo?

09:28:13 21    A.       Trade secrets play a big role because not everything

09:28:17 22    that we do can be reverse engineered or can be patented.

09:28:23 23    Some things are just not visible on the final product, but

09:28:27 24    they are very important to success.       So we keep those as a

09:28:31 25    trade secret.
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09:28:32   1   Q.     Did you receive any training on how to handle trade

09:28:35   2   secrets at Qorvo?

09:28:36   3   A.     Yes, we did.

09:28:38   4   Q.     And do the employees who work for you receive

09:28:41   5   training on how to handle trade secrets?

09:28:43   6   A.     Yes.    Everybody -- everybody signs for a

09:28:47   7   confidentiality at the time they join the company and we

09:28:50   8   also mark documents confidential.       We do not share within

09:28:56   9   the company, you're only going to see documents you need to

09:29:01 10    know about, not everybody can see everything.          We do use

09:29:04 11    passwords, we are very careful not to spill out our secrets

09:29:10 12    to anyone.

09:29:13 13    Q.     At what point did Qorvo implement those steps to

09:29:17 14    protect its trade secrets?

09:29:18 15    A.     They were in place even before Qorvo existed, so they

09:29:22 16    were in place back down to 2006.

09:29:27 17                   MR. DeFOSSE:   Your Honor, I am now going to move

09:29:29 18    on to the trade secret portion of my examination of

09:29:32 19    Dr. Aigner, so I would ask, I think the courtroom does not

09:29:35 20    have anyone.

09:29:36 21                   THE COURT:   Yes, if anyone is not affiliated

09:29:39 22    with the firms they need to be excused.         That includes

09:29:47 23    executives, there might be some executives who need to be

09:29:51 24    excused.   Seeing as no one falls into that category, this is

09:29:55 25    all of course confidential.      And I don't think you'll be
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09:30:00   1   able to use it anywhere else, but don't ever try it.

09:30:05   2   BY MR. DeFOSSE:

09:30:06   3   Q.     Dr. Aigner, now I would like to discuss some of the

09:30:10   4   Qorvo trade secrets at issue in this case.        Have you been

09:30:12   5   involved in identifying the trade secrets that Qorvo alleges

09:30:15   6   that Akoustis to have misappropriated?

09:30:18   7   A.     Yes.

09:30:19   8   Q.     Could I ask that PDX 2.4 be brought up,

09:30:25   9   Mr. Buchbinder.

09:30:26 10                  Dr. Aigner, can you tell the jury what's

09:30:30 11    reflected in exhibit, demonstrative Exhibit 2.4?

09:30:35 12    A.     This lists the groups of trade secrets that we have

09:30:39 13    identified.

09:30:40 14    Q.     And how many groupings of trade secrets has Qorvo

09:30:44 15    identified in this case?

09:30:45 16    A.     There are eight groups, each of them having multiple

09:30:49 17    trade secrets in them.

09:30:51 18    Q.     Dr. Aigner, I would like to ask you questions today

09:30:54 19    about groups 2, 3, 4, and 6.      And I am going to start with

09:31:01 20    group 2.

09:31:02 21                  What involvement have you had with the design of

09:31:06 22    BAW filters and resonators at Qorvo?

09:31:10 23    A.     That was my responsibility.       My group did that work.

09:31:14 24    Q.     Mr. Buchbinder, can I ask you to pull up

09:31:18 25    demonstrative Exhibit 2.6.
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09:31:20   1                 Dr. Aigner, could you explain to the jury what's

09:31:27   2   reflected in demonstrative 2.6?

09:31:31   3   A.     For group two, which covers BAW filter and resonator

09:31:36   4   designs, we list all the trade secrets that we identified.

09:31:41   5   Q.     Can you tell the jury at a high level what is the

09:31:45   6   nature of the information in the trade secret group 2?

09:31:49   7   A.     As I explained earlier, the BAW resonator is the

09:31:53   8   fundamental building block, the engine of our devices.           And

09:31:58   9   the research into how this engine can be optimized is of

09:32:02 10    crucial importance to us, along with when you have the

09:32:06 11    engine, how you use it to create filters.        And that's

09:32:10 12    described in most of the documents here.

09:32:12 13                  Furthermore, there is measurement data in there.

09:32:18 14    There is also what we call roadmap data in there.          Roadmap

09:32:23 15    for us is how we plan our future technologies which is

09:32:27 16    crucial information and very secret for us.

09:32:31 17                  MR. DeFOSSE:   Your Honor, may I approach the

09:32:33 18    witness?

09:32:33 19                  THE COURT:   You may.

09:32:50 20    BY MR. DeFOSSE:

09:32:51 21    Q.     Dr. Aigner, I have handed you what's been marked for

09:32:54 22    identification as PTX 0078.     Do you recognize this document?

09:33:00 23    A.     Yes.

09:33:01 24    Q.     What is it?

09:33:03 25    A.     This is research and engineering document relating to
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09:33:10   1   resonator designs for 5-gigahertz resonators.

09:33:14   2                MR. DeFOSSE:   Your Honor, we would offer

09:33:17   3   PTX-0078 into evidence.

09:33:18   4                THE COURT:   Marked and received as 8 in the

09:33:21   5   case.

09:33:21   6                (Trial Exhibit No. 8 was admitted into

09:33:22   7   evidence.)

09:33:22   8   BY MR. DeFOSSE:

09:33:24   9   Q.      Thank you Mr. Buchbinder.

09:33:26 10                 Does --

09:33:30 11                 MR. DeFOSSE:   Sorry, Your Honor, what exhibit

09:33:31 12    number was this?

09:33:33 13                 THE COURT:   This should be 8.     I think all of

09:33:43 14    you know you may see both numbers, but these are sequential

09:33:47 15    so.

09:33:51 16    BY MR. DeFOSSE:

09:33:52 17    Q.      Dr. Aigner, does Exhibit 8, 5G polygons versus

09:33:56 18    rectangles, contain any of the trade secrets that Qorvo

09:34:03 19    contends were taken?

09:34:03 20    A.      Yes, it does.

09:34:04 21    Q.      Mr. Buchbinder, can I ask you to pull up along side

09:34:04 22    Exhibit 8, PDX 2.8.

09:34:10 23                 Dr. Aigner, if you could look at PDX 2.8.         Could

09:34:13 24    you tell the jury what's reflected on that slide?

09:34:16 25    A.      This reflects the research we have done into
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09:34:21   1   resonator shapes to optimize performance of our resonators.

09:34:25   2   Q.     Does Qorvo consider its research into the

09:34:29   3   relationship between resonator shape and performance to be a

09:34:32   4   trade secret?

09:34:32   5   A.     Yes, we do.

09:34:33   6   Q.     And is that trade secret contained in Exhibit 8?

09:34:36   7   A.     Yes, it is.

09:34:38   8   Q.     Could you identify for the jury where Qorvo's

09:34:41   9   research into the resonator shape and performance is

09:34:44 10    reflected in Exhibit 8?

09:34:46 11    A.     If we look at page 4, this is engineering and

09:34:55 12    research documentation and

09:35:01 13


09:35:06 14


09:35:11 15

09:35:19 16


09:35:23 17

09:35:26 18

09:35:29 19                         That's not obvious.     That's what we

09:35:34 20    consider a trade secret.

09:35:35 21    Q.     What is the value of this research shown on slide 4

09:35:40 22    of Exhibit 8 to competitors in this industry?

09:35:44 23    A.     So you see this slide

09:35:50 24


09:35:54 25
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09:35:59   1

09:36:03   2

09:36:07   3

09:36:13   4                                       and the method we have

09:36:19   5   derived to do that we have considered a trade secret.

09:36:22   6   Q.     Does the research into resonator shape reflected in

09:36:26   7   Exhibit 8 apply to FBAR resonators?

09:36:30   8   A.     Yes, it applies the same way, the same methods, the

09:36:33   9   same physical principles apply and the same methods.

09:36:37 10    Q.     Is Qorvo's research into resonator shape generally

09:36:40 11    known in the industry?

09:36:42 12    A.     No, it's not.      The methods we have derived to analyze

09:36:48 13    are proprietary to Qorvo.

09:36:51 14    Q.     Are the methods that Qorvo uses to assess resonator

09:36:55 15    shape maintained as confidential at the company?

09:36:58 16    A.     They are.

09:36:59 17    Q.     And is there anyway that a person would know that by

09:37:03 18    looking at Exhibit 8?

09:37:05 19    A.     Yeah.    On the bottom of the slide you see the

09:37:08 20    marking, confidential and proprietary information, that

09:37:12 21    you're going to see on many of our engineering presentations

09:37:18 22    so that we consider trade secrets.

09:37:20 23    Q.     Did you learn as part of this lawsuit that Akoustis

09:37:23 24    obtained a copy of Exhibit 8?

09:37:26 25    A.     Yes, we learned that.
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09:37:27   1   Q.      Did Akoustis have authorization to have Exhibit 8?

09:37:31   2   A.      No.

09:37:34   3                 MR. DeFOSSE:   Your Honor, may I approach the

09:37:36   4   witness?

09:37:36   5                 THE COURT:   You may.

09:37:52   6   BY MR. DeFOSSE:

09:37:57   7   Q.      Dr. Aigner, I have handed you what's been marked for

09:38:01   8   identification as PTX 0149.     Do you recognize this document?

09:38:05   9   A.      Yes, I do.

09:38:06 10    Q.      What is it?

09:38:08 11    A.      This is an engineering presentation detailing the

09:38:13 12    steps that need to be taken for the design of the

09:38:16 13    5-gigahertz filter.

09:38:19 14                  MR. DeFOSSE:   Your Honor, we would offer PTX

09:38:23 15    0149 into evidence.

09:38:24 16                  THE COURT:   Marked and received as 9.

09:38:25 17                  (Trial Exhibit No. 9 was admitted into

09:38:29 18    evidence.)

09:38:29 19                  THE COURT:   A lot of these are marked for

09:38:31 20    attorneys' eyes only, so we're still in the confidential

09:38:34 21    area.

09:38:34 22                  MR. DeFOSSE:   Yes.   And I would say, Your Honor,

09:38:37 23    the rest of my examination of Dr. Aigner will be the same.

09:38:40 24                  THE COURT:   That's what I understand.

09:38:42 25                  MR. DeFOSSE:   Thank you.
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09:38:42   1                  THE COURT:   I don't have anybody in the

09:38:44   2   courtroom, though, who is inappropriate as I understand it.

09:38:48   3                  MR. DeFOSSE:   Yes, I believe that's the case,

09:38:50   4   Your Honor.

09:38:51   5   BY MR. DeFOSSE:

09:38:51   6   Q.     Dr. Aigner, could you explain to the jury at a high

09:38:55   7   level what is the significance of Exhibit 9 that's just been

09:38:59   8   handed to you?

09:39:00   9   A.     Exhibit 9 describes in very significant detail how

09:39:05 10    you go from a resonator to a filter, what steps you need to

09:39:09 11    take, what methods you need to apply, what simulations we do

09:39:13 12    and how we put that on an experimental wafer that I showed

09:39:20 13    you before.    Think of it as a cookbook that shows you all

09:39:24 14    the steps you need to take until you have a completed dish.

09:39:28 15    Q.     And does Qorvo share this cookbook with its

09:39:33 16    competitors?

09:39:33 17    A.     No, we do not.

09:39:34 18    Q.     Does this cookbook contain any of the trade secrets

09:39:38 19    in group two?

09:39:39 20    A.     Yes, it does.

09:39:40 21    Q.     Mr. Buchbinder, if I could ask you to pull up PTX 2.9

09:39:46 22    alongside Exhibit 9.

09:39:47 23                   Dr. Aigner, can you explain for the jury what's

09:39:50 24    shown on PDX 2.9, the left-hand side there?

09:39:55 25    A.     This exhibit we identified trade secrets related to
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                                         Aigner - direct

09:40:00   1   designing of 5-gigahertz filter.

09:40:04   2   Q.     The first trade secret listed on PDX 2.9 is expected

09:40:09   3   product specifications.     Do you see that?

09:40:11   4   A.     Yes.

09:40:11   5   Q.     Can you show me where in Exhibit 9 that trade secret

09:40:16   6   is found?

09:40:17   7   A.     If you go to page 3.

09:40:23   8   Q.     And what is the nature of the information shown here

09:40:27   9   on page 3?

09:40:28 10    A.     Page 3 describes in detail what the filter we design

09:40:35 11    is supposed to do, how it's going to work, what performance

09:40:39 12    it's going to have.    And there is information in there that

09:40:42 13    requires significant system know-how.         For example, the

09:40:49 14    attenuation, the frequency ranges, so it really shows what

09:40:52 15    we were aiming for, what kind of product we make, and how

09:40:56 16    it's important to the customer.      None of this information

09:41:00 17    would be public at the time this -- at the stage where this

09:41:05 18    development was.

09:41:06 19    Q.     What would be the value of this information to

09:41:09 20    Qorvo's competitors?

09:41:11 21    A.     It would significantly reduce the time a competitor

09:41:15 22    needs to evaluate and start researching a competing part.

09:41:19 23    Q.     And why is that?

09:41:22 24    A.     Because they would exactly know what to aim for.

09:41:27 25    They would have more information than we had when we started
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09:41:31   1   this activity.

09:41:32   2   Q.     Is the information reflected on slide 3 relevant to

09:41:37   3   SMR resonators?

09:41:38   4   A.     Yes, it is.

09:41:39   5   Q.     Is it relevant to FBAR resonators?

09:41:42   6   A.     Absolutely.    We work on the same customer specs,

09:41:48   7   there is no difference if it's an FBAR or SMR, we work for

09:41:53   8   the same performance specs for the customer, they're

09:41:56   9   interchangeable.

09:41:57 10    Q.     Mr. Buchbinder, can I ask you to return to PDX 2.9?

09:42:03 11                  The next item on the trade secret list, 2.3 is

09:42:08 12    respected circuit layout, schematic, and simulations.           Could

09:42:13 13    you explain at a high level what circuit layout, schematics,

09:42:18 14    and simulations are to the jury?

09:42:20 15    A.     So when you have your resonator, you need to group it

09:42:23 16    and connect it to create the filter.          Ten, twenty

09:42:28 17    resonators, typically.     How you do that is very specific to

09:42:31 18    the filter.   There are many tricks of the trade.           And all of

09:42:36 19    that is described in here.     So circuit layout will look at

09:42:42 20    one in a minute, but that tells you how the different

09:42:45 21    elements in your filters are connected to each other.

09:42:48 22                  The layout is kind of the top down view showing

09:42:53 23    how its, the resonators are placed, how they're physically

09:42:58 24    locates in order of the filter chip.          And the simulations

09:43:01 25    show you how we make a prediction of the performance of the
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09:43:05   1   filter and optimize it before we even manufacture it.

09:43:09   2   Q.      Dr. Aigner, could you actually show the jury or

09:43:12   3   identify for the jury where the circuit layout, schematics,

09:43:17   4   or simulations are found in Exhibit 9?

09:43:22   5   A.      On page 14.

09:43:27   6   Q.      And what is shown on page 14?

09:43:29   7   A.      On page 14, that's what we call a layout.           So that's

09:43:32   8   one filter chip, size approximately one millimeter by a

09:43:38   9   millimeter, what I demonstrated with the laminate strip.

09:43:44 10    This is the drawing basically that we need to manufacture

09:43:46 11    it.   It shows in detail where the resonators are located, it

09:43:50 12    shows how large the resonators are, and a few other things

09:43:56 13    that are related to the resonator performance.

09:43:59 14    Q.      What is the frequency band of the filter that's shown

09:44:03 15    here on slide 14?

09:44:04 16    A.      That's a 5-gigahertz filter.

09:44:06 17    Q.      What was the year in which Qorvo created this

09:44:10 18    research presentation?

09:44:11 19    A.      That was in late 2015.

09:44:15 20    Q.      2015.

09:44:17 21                    Could you show us where there is a schematic in

09:44:20 22    Exhibit 9?

09:44:21 23    A.      On the following page 15.       So this is a circuit

09:44:32 24    schematic, now the resonators, you don't know their location

09:44:36 25    but you know how they're electrically connected to each
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09:44:38   1   other.   There are a total of ten resonators in this filter,

09:44:43   2   along with some other components, and then

09:44:47   3

09:44:54   4                        .

09:44:55   5   Q.       Can you identify for the jury where the simulations

09:44:59   6   are found in Exhibit 9?

09:45:01   7   A.       There is one in -- on page 16.        So simulation is

09:45:13   8   prediction of how this filter will perform before we have

09:45:17   9   measured the data.       So we can see what needs to be

09:45:22 10    optimized, where we would fall short or where we can

09:45:26 11    improve.

09:45:26 12                   And

09:45:33 13


09:45:40 14


09:45:43 15

09:45:46 16                                                   , those are included

09:45:49 17    here, that's what we do with electromagnet specific

09:45:54 18    simulation.

09:45:55 19    Q.       Are the circuit layouts, schematics, and simulations

09:46:00 20    that we just looked at on page 14, 15 and 16 of Exhibit 9

09:46:04 21    something a competitor could obtain from publicly available

09:46:08 22    information?

09:46:08 23    A.       No, they could not.

09:46:09 24    Q.       Was the filter that reflected in those exhibits

09:46:12 25    available for purchase in 2015?
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09:46:14   1   A.     No, it was not.

09:46:15   2   Q.     What would be the value to a competitor of obtaining

09:46:19   3   the information that we just looked at on pages 14, 15, and

09:46:22   4   16?

09:46:23   5   A.     They would immediately understand what Qorvo filters

09:46:29   6   is capable of, and they would get the cookbook of how to do

09:46:33   7   the same thing, it would be of tremendous importance to them

09:46:38   8   to speed up, catching up with us in the same application.

09:46:42   9   Q.     Are the schematics, simulations, and layouts that we

09:46:48 10    just looked at on those slides relevant to both SMR and FBAR

09:46:53 11    filters?

09:46:53 12    A.     Yes, they absolutely are, there is no difference

09:46:56 13    whatsoever, circuit, schematics, the layouts, the same rules

09:47:01 14    apply to those technologies.

09:47:03 15    Q.     Are Mr. Buchbinder, if we could go back to PDX 2.9?

09:47:09 16    2.9 is filter trimming, parameters analysis.

09:47:13 17                 Could you identify for the jury where that

09:47:14 18    information is found on Exhibit 9?

09:47:16 19    A.     It's found on page 17.

09:47:19 20    Q.     And at a high level, what is the significance of this

09:47:22 21    information on page 17?

09:47:24 22    A.     So when we talk about trimming, this is a method we

09:47:29 23    have to use to fine adjust the frequency of our filter.          You

09:47:34 24    can think of it like tuning your guitar before you play with

09:47:38 25    a group.   They need to be in tune.    And we do the trimming
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09:47:44   1   by shaving off tiny amounts of material from the top

09:47:48   2   surface, we change the mass, we change the frequency at

09:47:51   3   which it vibrates.

09:47:52   4   Q.      When you say tiny amounts of material, what do you

09:47:56   5   mean?

09:47:56   6   A.      That can be just a few layers of atoms.

09:48:00   7   Q.      A few layers of atoms?

09:48:02   8   A.      Yes.

09:48:02   9   Q.      Is that a change that's visible to the naked eye?

09:48:06 10    A.      No, it's not.     But it's remarkably important for the

09:48:10 11    frequency of our devices, in particular 5-gigahertz.

09:48:14 12    Q.      Is the information that is shown on page 17 of

09:48:19 13    Exhibit 9 something that's publicly available?

09:48:22 14    A.      No, it's not.

09:48:22 15    Q.      Does Qorvo maintain this information as confidential?

09:48:25 16    A.      Yes, we do.

09:48:26 17    Q.      Why?

09:48:27 18    A.      Because there is no way a competitor could tell from

09:48:30 19    looking at our product how we exactly did this.          And it's

09:48:35 20    important to our performance to do that, moreover, it's

09:48:40 21    important to what we call manufacturing yield.          If you don't

09:48:45 22    do trimming, we throw away most of our filters because they

09:48:49 23    don't meet the specifications.       If we do trimming, we can

09:48:53 24    correct for slight manufacturing variations and get nearly

09:48:57 25    all the filters that are on a wafer to work for us, and to
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                                          Aigner - direct

09:49:02   1   be a product we can sell.

09:49:04   2   Q.     Is the information reflected on page 17 of Exhibit 9

09:49:07   3   relevant to both SMR and FBAR resonators?

09:49:11   4   A.     Yes, it is.     Trimming is something that works on the

09:49:14   5   very top of the resonator, where there is no difference

09:49:17   6   between FBAR and SMR resonators in how they react to

09:49:22   7   removing a few atoms of material, they're exactly the same

09:49:27   8   method applied.

09:49:28   9   Q.     Mr. Buchbinder, if could go back to exhibit PDX 2.9.

09:49:33 10                   Dr. Aigner, 2.5 on this list is tile

09:49:39 11    information.    Can you show the jury where Qorvo's trade

09:49:43 12    secret related to tile information is found in Exhibit 9?

09:49:46 13    A.     It's found on page 19.

09:49:51 14    Q.     And at a high level, what is tile information?

09:49:54 15    A.     So if you remember, I showed you the wafer.           On the

09:50:00 16    wafer, you saw rows and columns.       And about the size of a

09:50:06 17    thumbnail, that's one tile.      In one tile, we place the

09:50:11 18    individual filters.     So it's basically like in your bathroom

09:50:15 19    where the tiles repeat itself, we do the same during

09:50:19 20    manufacturing of our wafers, the structure and the printing

09:50:23 21    is basically we print in tiles, there are approximately

09:50:27 22    hundred tiles printed on a wafer.       And within one tile, you

09:50:32 23    have filters, those would be that on the left row and in the

09:50:36 24    middle row there are filters.       Then there is a number of

09:50:39 25    other structures that we use for research to optimize
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09:50:45   1   performance to make sure that we understand the process

09:50:48   2   fully and that we can repeat the process if needed.            Those

09:50:54   3   would never be shipped even if the part is in production,

09:50:57   4   only the filters would be shipped, not the other structures

09:51:01   5   that are included in the tile.

09:51:02   6   Q.      Does Qorvo consider its tile information to be a

09:51:06   7   trade secret?

09:51:06   8   A.      Yes, we do.

09:51:07   9   Q.      Why?

09:51:08 10    A.      Because the other structures that are placed on a

09:51:12 11    tile, they are a result of ten years of learning how to do

09:51:17 12    this.   There is some know how involved in understanding what

09:51:23 13    structures you will need and what structures you benefit

09:51:27 14    from to improve your performance and to get more information

09:51:31 15    than you get with just measuring filters.

09:51:34 16    Q.      What is the value of this tile information to Qorvo's

09:51:37 17    competitors?

09:51:38 18    A.      It would apply to our competitors in the same way,

09:51:41 19    understanding what structures are useful in the research

09:51:44 20    phase, what structures are useful to control your process

09:51:48 21    more tightly, those things are important to everybody.

09:51:52 22    Q.      Mr. Buchbinder, if we could return to PDX 2.9?

09:51:56 23                   Dr. Aigner, next on the list, 2.6 is

09:52:00 24    electromagnetic modeling assumptions.          Can you show the jury

09:52:06 25    with those are found in Exhibit 9?
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09:52:09   1   A.     Pages 24 and 25, but let's go to 24.

09:52:16   2   Q.     And what is shown on page 24 of Exhibit 9?

09:52:20   3   A.     So I touched on that before.

09:52:26   4

09:52:31   5

09:52:34   6                                                                That's

09:52:39   7   done with electromagnetic simulations.        The principle of

09:52:44   8   electromagnetic simulations are known, but the methods we

09:52:49   9   apply to the filters and our values is not known and there

09:52:52 10    is significant know how that is put into that to understand

09:52:55 11    and to get good predictions.

09:52:57 12    Q.     Are Qorvo's electromagnetic modeling assumptions

09:53:02 13    publicly available?

09:53:03 14    A.     No, they are not.

09:53:04 15    Q.     Do you hold those as trade secrets?

09:53:05 16    A.     Yes, we do.

09:53:07 17    Q.     Would they be valuable to your competitors?

09:53:11 18    A.     Yes.

09:53:11 19    Q.     Are Qorvo electromagnetic modeling assumptions

09:53:17 20    applicable to both FBAR and SMR?

09:53:21 21    A.     Yes, with we talk about both of our packages, it's

09:53:24 22    nothing to do with how the resonator is made.

09:53:27 23    Q.     I forgot to ask you on the one tile information, is

09:53:30 24    Qorvo trade secrets related to tile information equally

09:53:34 25    applicable to SMR and FBAR resonators?
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09:53:38   1   A.     Yes, it is, you face the same challenges FBAR and

09:53:44   2   SMR, it's all about accurately getting the frequency into

09:53:47   3   the target that you need and predicting all the secondary

09:53:51   4   effects that you will find.

09:53:53   5   Q.     Mr. Buchbinder, if we could go back to PDX 2.9?

09:53:58   6   Dr. Aigner, last on this list is simulation results,

09:54:01   7   including                                           .   Can you

09:54:05   8   identify for the jury where that trade secret is found in

09:54:08   9   Exhibit 9?

09:54:13 10    A.     Page 11 is a good example.

09:54:20 11    Q.     And at a high level, what's being shown here on

09:54:23 12    page 11?

09:54:23 13    A.     So page 11 is a simulation that includes a model

09:54:31 14                                                       .    This is not

09:54:34 15    obvious.    It's something very important.

09:54:40 16


09:54:44 17

09:54:48 18

09:54:50 19


09:54:54 20                                       That's included here.

09:54:58 21    Q.     Is this information that was publicly available?

09:55:00 22    A.     No, it's not.

09:55:01 23    Q.     Would this information have been valuable to Qorvo's

09:55:05 24    competitors?

09:55:05 25    A.     Yes.    Everybody faces similar challenges in this
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09:55:10   1   business.

09:55:11   2   Q.      Is the information on page 11 of Exhibit 9 applicable

09:55:14   3   to both SMR and FBAR filters?

09:55:17   4   A.      Yes,

09:55:20   5

09:55:23   6

09:55:26   7   Q.      Did you learn as part of this litigation that

09:55:28   8   Akoustis had obtained a copy of Exhibit 9?

09:55:31   9   A.      Yes, we learned that.

09:55:32 10    Q.      Did Akoustis have authorization to have this

09:55:36 11    cookbook?

09:55:36 12    A.      No.

09:55:39 13                   MR. DeFOSSE:   Your Honor, may I approach.

09:55:41 14                   THE COURT:   You may.

09:56:02 15    Q.      Dr. Aigner, I have handed you what's been marked for

09:56:04 16    identification as exhibit PTX 0720.        Do you recognize this

09:56:09 17    document?

09:56:10 18    A.      Yes, I do.

09:56:11 19    Q.      What is it?

09:56:12 20    A.      It's a presentation I prepared for business leaders

09:56:18 21    and the groups developing our products.

09:56:21 22                   MR. DeFOSSE:   Your Honor, we would offer into

09:56:23 23    evidence what's been marked as Exhibit 720.

09:56:26 24                   THE COURT:   Marked and received as 10 in the

09:56:28 25    case.
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09:56:29   1                  (Trial Exhibit No. 10 was admitted into

09:56:29   2   evidence.)

09:56:29   3   BY MR. DeFOSSE:

09:56:33   4   Q.     Dr. Aigner, could you explain to the jury why this

09:56:36   5   document is significant?

09:56:37   6   A.     This document is Qorvo's outlook at the technologies

09:56:43   7   we want to work on in the following years.         So this is

09:56:47   8   information that nobody is supposed to have.          It shows in

09:56:51   9   detail what technologies we have available today or are

09:56:56 10    about to be released and what we want to do in the following

09:56:59 11    years, to improve in very much detail certain filter

09:57:06 12    parameters, it also shows what frequencies we want to work

09:57:09 13    on.

09:57:09 14    Q.     And if we could pull up, Mr. Buchbinder, PDX 2.106

09:57:14 15    alongside Exhibit 10.

09:57:17 16                   Dr. Aigner, what's shown on PDX 2.10?

09:57:22 17    A.     This lists four identified trade secrets related to

09:57:27 18    our roadmap.    And related to 5-gigahertz filters, and an

09:57:34 19    improvement to our piezo material.

09:57:36 20    Q.     Are these technologies that were under development at

09:57:39 21    Qorvo to introduce in the market at a future time?

09:57:42 22    A.     Yes, they were.

09:57:43 23    Q.     And maybe more quickly than we did in the last

09:57:47 24    exhibit, could you walk through Exhibit 720, and identify

09:57:50 25    for the jury where these trade secrets are found?
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09:57:53   1   A.     The first one is on page 4, innovation vectors.           This

09:58:01   2   shows in detail what the items are that we want to work on.

09:58:07   3   We want to reduce size, size is one of the most important

09:58:11   4   factors, guaranteeing your success in this business.          Phones

09:58:15   5   get smaller all the time.     The inside is more packed and you

09:58:21   6   want a bigger battery so size is super important for us.

09:58:25   7   The other ones are performance parameters, every year our

09:58:29   8   customers ask us to be a little better than the year before.

09:58:32   9                 And then operating frequency, they're going up,

09:58:36 10    we are now up to 8-gigahertz, the 5-gigahertz was on the

09:58:41 11    roadmap back then.

09:58:41 12                  It shows years, calendar years and it shows

09:58:46 13    which technologies we're going to use to deploy to improve

09:58:51 14    those innovation vectors.

09:58:54 15    Q.     Dr. Aigner, could you next point the jury to where S

09:59:02 16    perimeter measurements and simulations for Qorvo's 5 gig?

09:59:02 17    A.     Yes.   Page 8.    Page 8 shows simulation measurement

09:59:10 18    for a 5-gigahertz demonstrated that we made, it shows

09:59:15 19    frequency axis and it shows the insertion loss, how much

09:59:22 20    your signals are interrelated and how much the unwanted

09:59:26 21    signals are rejected.     That tells you everything you need to

09:59:30 22    know about the performance of our filter.

09:59:33 23    Q.     And Mr. Buchbinder, if we could go back to PDX 2.10.

09:59:40 24                  We just looked at trade secret 2.9, is that

09:59:43 25    right, Dr. Aigner?
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09:59:43   1   A.     That's correct, yes.

09:59:45   2   Q.     Could you show the jury what trade secret 2.10

09:59:49   3   product design details including two and three dimensional

09:59:52   4   layouts is shown in Exhibit 10?

09:59:53   5   A.     Page 10.     So for a 5-gigahertz filter here we show

09:59:59   6   again the filter layout.    On the left image you see all the

10:00:03   7   resonators that are involved, quite a large number of them.

10:00:08   8   You also see a 3D drawing of the filter in its package.          And

10:00:15   9   on the bottom you see the performance parameters that we

10:00:21 10    have achieved for this product as well.

10:00:25 11    Q.     Was this information publicly available?

10:00:27 12    A.     No, it was not.

10:00:29 13    Q.     If we could go back to exhibit PDX 2.10.        Next on the

10:00:35 14    list is trade secret 2.11, measured data for coupling and

10:00:41 15    quality factor versus percentage of scandium nitride and

10:00:47 16    observations of performance tradeoffs?

10:00:49 17    A.     That would be page 15.

10:00:51 18    Q.     15.   And maybe before you explain what's here, just

10:00:56 19    at a high level, what is scandium doping?

10:01:01 20    A.     Scandium doping is a method to enhance the action of

10:01:06 21    our engine to make it more wide.     So we get a wider

10:01:12 22    bandwidth filter which in turn allows higher data rates in

10:01:17 23    all the new bands that your latest phones have.

10:01:20 24    Q.     Now scandium doping is known in the industry

10:01:24 25    generally, right?
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10:01:25   1   A.        That's correct.

10:01:26   2   Q.        Does Qorvo have any trade secrets related to scandium

10:01:32   3   doping?

10:01:32   4   A.        So, there is more than to just know there is scandium

10:01:36   5   in the piezo layer, you need to have methods to study it and

10:01:40   6   to extract the data that you need for your devices and

10:01:43   7   that's shown here.     So what we see here is different

10:01:48   8   ingredients, different percentages of scandium added, that

10:01:53   9   the purple curve is no scandium added,

10:01:58 10


10:02:02 11

10:02:05 12


10:02:09 13


10:02:10 14                   But there is more you can see here and that's

10:02:12 15    not public.

10:02:16 16


10:02:20 17                   so that's something you need to know to be able

10:02:23 18    to deploy a scandium dope material in your filters.

10:02:27 19    Q.        Mr. Buchbinder, if I could ask you to pull up PDX

10:02:32 20    2.11.

10:02:32 21                   Dr. Aigner, we've got several additional trade

10:02:36 22    secrets identified on this slide.       I would like to start

10:02:38 23    with 2.12, 2.13 and 2.14 and see if we can't do those

10:02:45 24    together.    Could you identify for the jury where those trade

10:02:48 25    secrets are found in Exhibit 720?
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                                          Aigner - direct

10:02:51   1   A.       Starting with page 23.

10:02:58   2   Q.       And I see on here it says CRF, what is CRF?

10:03:02   3   A.       CRF is an acronym to remember coupled resonator

10:03:07   4   filters.     So if you think of the resonator again with its

10:03:10   5   engine, we put the second resonator on top of it so we have

10:03:13   6   basically two engines working and they also talk to each

10:03:16   7   other.   That allows it to make a much tighter, smaller

10:03:20   8   filter with similar performance.       We call it a coupled

10:03:24   9   resonator filter.

10:03:25 10    Q.       Are the images shown on page 23 of Qorvo devices?

10:03:30 11    A.       They are.

10:03:31 12    Q.       Are these images publicly available?

10:03:33 13    A.       No, they are not.

10:03:35 14    Q.       And can you move on to CRF simulation data for

10:03:41 15             ?

10:03:44 16    A.       That would be the next page, 24.       So this is based on

10:03:49 17    what we just saw.

10:03:57 18

10:04:01 19


10:04:06 20


10:04:09 21


10:04:13 22

10:04:17 23


10:04:21 24                                           And it will be a very big

10:04:27 25    advantage for size reduction.
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                                         #: 40043                                400
                                           Aigner - direct

10:04:28   1   Q.      Are the simulations shown on slide 24 something that

10:04:32   2   was publicly available?

10:04:33   3   A.      No.

10:04:33   4   Q.      What about the images on slide 24?

10:04:35   5   A.      No, those were not public, either.

10:04:38   6   Q.      And then the next trade secret related to U-BAW

10:04:43   7   applications, is that right?

10:04:45   8   A.      Yeah.    U-BAW, we call it micro BAW because it targets

10:04:51   9   size predominantly and it's a package technology that allows

10:04:55 10    us to take out unused area on the filter dye.           What is shown

10:05:02 11    on the left, page 29 is an image top down and you now can

10:05:07 12    see the resonators that look probably familiar to you

10:05:10 13    already.   But you see the

10:05:14 14


10:05:18 15

10:05:24 16                       but that makes filters much smaller.

10:05:27 17                    The image shows details about the size, it also

10:05:30 18    shows how they're packaged and it shows in simulations and

10:05:34 19    measurements that the filters perform really well, we have

10:05:37 20    not lost anything reducing the size of BAW filters by that

10:05:42 21    much.

10:05:42 22    Q.      Were these simulations publicly available?

10:05:45 23    A.      No, they were not.

10:05:46 24    Q.      If we could return to PDX 2.11.         The last two trade

10:05:52 25    secrets here relate to temperature control technologies.
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                                         Aigner - direct

10:05:55   1   Could you please describe those trade secrets for the jury?

10:05:58   2   A.     Yes.     So when you use your filter to transmit, your

10:06:03   3   phone also transmits, they get hot because there is some

10:06:07   4   small losses.    And you don't want the filters to overheat,

10:06:10   5   you don't want your phone to overheat, either.         So it's

10:06:14   6   important for filters with high transmit powers to have a

10:06:18   7   good way to get the heat out of the filters.         And we have

10:06:21   8   come up with some innovative methods to do that which are

10:06:25   9   described in these trade secrets.

10:06:27 10    Q.     Can you show us wherein Exhibit 10 those trade

10:06:30 11    secrets are reflected?

10:06:31 12    A.     Page 36 is the first one.      So on the left, this is a

10:06:38 13    cross-section of the device

10:06:41 14


10:06:46 15

10:06:50 16


10:06:53 17

10:06:58 18

10:07:03 19


10:07:07 20


10:07:10 21


10:07:14 22

10:07:17 23                  Page 37, this shows the experimental results,

10:07:25 24    measured results of the method I just described.         Different

10:07:31 25    variance of filters for each of those, it shows how much
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                                          Aigner - direct

10:07:34   1   improvement we obtained by using this method.           Significant

10:07:37   2   reduction in the temperature increases the filters constant

10:07:43   3   power that we transmit, so that's very important for us to

10:07:46   4   keep the filters and to prevent them from overheating.

10:07:51   5   Q.     Were Qorvo's strategies for controlling temperature

10:07:54   6   publicly available?

10:07:55   7   A.     No, they were not.

10:07:57   8   Q.     We have just walked through -- well, sorry, let me

10:08:02   9   take a step back.     Just to avoid confusion, I want to go

10:08:05 10    back to the first page of Exhibit 10.          I think this is

10:08:10 11    probably clear.     But on the first page it says acoustic

10:08:13 12    technology update, 2019, do you see that?

10:08:15 13    A.     Yes.

10:08:16 14    Q.     Does acoustic here refer to Akoustis?

10:08:19 15    A.     No, acoustic is because its bulk acoustic wave,

10:08:25 16    acoustic is the method our filters are based on, it has

10:08:29 17    nothing to do with the company that is in this lawsuit.

10:08:32 18    Q.     Was this document confidential to Qorvo?

10:08:35 19    A.     Yes.

10:08:35 20    Q.     Is there a way you could tell that by looking at the

10:08:38 21    document?

10:08:38 22    A.     Yes.    It's marked.

10:08:40 23    Q.     And where is it marked?

10:08:42 24    A.     On the bottom again.

10:08:44 25    Q.     Okay.    Did you learn as part of this lawsuit that
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                                          Aigner - direct

10:08:49   1   Akoustis had obtained a copy of Exhibit 10?

10:08:52   2   A.       Yes, we learned that.

10:08:53   3   Q.       Was Akoustis authorized to have this document?

10:08:55   4   A.       No.

10:08:57   5   Q.       Now, we have just gone through 21 trade secrets in

10:09:01   6   group 2.   And I wonder if you could wrap that up by just

10:09:05   7   telling the jury what the overall significance of a

10:09:07   8   competitor having those trade secrets is to Qorvo?

10:09:11   9   A.       This is something that we have worked on for fifteen

10:09:17 10    or twenty years.     It's hard work.    It's a lot of things that

10:09:22 11    can go wrong and there are a lot of elements involved to be

10:09:26 12    successful in this kind of field.       It's just unfair for

10:09:30 13    somebody to take the information and to use it to develop

10:09:36 14    competing technology.

10:09:38 15    Q.       How many years did Qorvo work to develop the trade

10:09:42 16    secrets that are reflected in group two?

10:09:44 17    A.       Twenty years, at least.

10:09:47 18    Q.       I would like to move to trade secret group 3 now, and

10:09:50 19    if we could pull up PDX 2.12.       This trade secret group

10:09:57 20    relates to trimming and procedures, and I'm hoping that you

10:10:00 21    can remind the jury, I think you told them a little about

10:10:04 22    trimming, at a high level, what is trimming?

10:10:06 23    A.       Trimming a defined correction of frequency in a

10:10:11 24    process, it sets the frequency right where it exactly needs

10:10:14 25    to be.
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                                          Aigner - direct

10:10:15   1   Q.     And this was, I believe I remember your testimony,

10:10:18   2   this is where you remove a few atoms from a filter, for

10:10:22   3   example?

10:10:22   4   A.     That's correct, yes.

10:10:23   5   Q.     How are the atoms removed from the filter as part of

10:10:27   6   the trimming?

10:10:28   7   A.     There is a tool that uses an ion beam and it scans

10:10:32   8   across the wafer to remove the amount of material you want

10:10:35   9   to be removed in each location on the wafer.

10:10:41 10    Q.     In general, are trimming techniques known in the

10:10:46 11    industry?

10:10:46 12    A.     Trimming is known.

10:10:48 13    Q.     But does Qorvo have any trade secrets related to

10:10:51 14    trimming?

10:10:51 15    A.     Yes, we do.

10:10:52 16    Q.     If we could pull up PDX 2.13.

10:10:56 17                   Dr. Aigner, what's reflected in this exhibit --

10:11:03 18    in this demonstrative?

10:11:04 19    A.     So there are three trade secrets we identified that

10:11:09 20    relate to the methods and algorithms that Qorvo uses to trim

10:11:15 21    BAW filters.

10:11:16 22                   MR. DeFOSSE:   Your Honor, may I approach?

10:11:18 23                   THE COURT:   You may.

10:11:27 24    BY MR. DeFOSSE:

10:11:35 25    Q.     Dr. Aigner, I have handed you what's been marked for
   Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24   Page 77 of 2283 PageID
                                       #: 40048                                405
                                         Aigner - direct

10:11:38   1   identification as PTX 1141.       Do you recognize this document?

10:11:43   2   A.       Yes, I do.

10:11:44   3   Q.       What is it?

10:11:45   4   A.       It's a document to train people how Qorvo's trimming

10:11:52   5   process works.

10:11:53   6                 MR. DeFOSSE:   Your Honor, we would offer into

10:11:55   7   evidence PTX 1141.

10:11:57   8                 THE COURT:   Marked and received as 11.

10:12:00   9                 (Trial Exhibit No. 11 was admitted into

10:12:01 10    evidence.)

10:12:01 11                  MR. DeFOSSE:   And is that Exhibit 11, Your

10:12:04 12    Honor?

10:12:04 13                  THE COURT:   Yes.    11.

10:12:05 14                  MR. DeFOSSE:   Sorry.

10:12:07 15    BY MR. DeFOSSE:

10:12:08 16    Q.       Dr. Aigner, can you explain to the jury what the

10:12:11 17    purpose of Exhibit 11 is?

10:12:13 18    A.       When new people join our company or our group, we

10:12:18 19    teach them what has been learned before, and this is one

10:12:23 20    example of a document that is used for training of new

10:12:27 21    employees.

10:12:28 22    Q.       Mr. Buchbinder, can I ask you to pull up PDX 2.13

10:12:35 23    beside Exhibit 11.

10:12:37 24                  Dr. Aigner, I would like you to first explain at

10:12:41 25    a high level to the jury the significance of trade secret
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                                          Aigner - direct

10:12:44   1   3.1?

10:12:45   2   A.        Trimming is the key to being successful in this

10:12:51   3   business.    Even so the trimming equipment has been around

10:12:55   4   for a while and it had a big role in using it for the

10:13:00   5   industry, but then the recipes that you use for your device,

10:13:03   6   that's something everybody keeps secret because it gives you

10:13:07   7   an advantage if you do it well.       So trimming is a very

10:13:11   8   important part of what we do.

10:13:14   9   Q.        Is trade secret 3.1 related to the amount of material

10:13:18 10    that you remove when you're shaving off those atoms?

10:13:22 11    A.        That's right, yes.

10:13:23 12    Q.        Could you show the jury where that trade secret is

10:13:26 13    reflected in Exhibit 1141?

10:13:29 14    A.        One example is on page 16.

10:13:40 15

10:13:45 16


10:13:50 17

10:13:53 18                                             So it shows -- this

10:13:56 19    shows an algorithm, it shows exactly what input parameters,

10:14:00 20    what data you need to feed into the algorithm to get a good

10:14:04 21    result.

10:14:04 22                   And if you look, there is multiple levels of

10:14:08 23    data and equations, how they are -- how you calculate what

10:14:14 24    trimming amount you're going to item for.

10:14:18 25    Q.        Was Qorvo's trimming sensitivity calculation publicly
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                                            Aigner - direct

10:14:22   1   known?

10:14:22   2   A.        No, it was not.

10:14:24   3   Q.        Does this calculation have value to your competitors?

10:14:27   4   A.        It certainly would.

10:14:30   5   Q.        Is the trimming method that's reflected on page 16 of

10:14:35   6   Exhibit 11 applicable to both SMR and FBAR resonator?

10:14:43   7   A.        Yes it is, the trimming happens on the very surface

10:14:45   8   of the device, there is no difference between how it behaves

10:14:49   9   between an SMR and a FBAR.

10:14:52 10    Q.        If we could go back to PDX 2.13.

10:14:55 11                     Dr. Aigner, the second trade secret relates to

10:14:58 12    Qorvo's                                   .      Could you identify for

10:15:03 13    the jury where trade secret 3.2 is found in Exhibit 11?

10:15:08 14    A.        Page 17.

10:15:11 15    Q.        And at a high level, what's shown here on page 17?

10:15:14 16    A.        Page 17 shows the strategy we apply when we have a

10:15:21 17    filter that's likely deviating from its goal, its target to

10:15:27 18    get it to exactly line up with where we want it to be in

10:15:32 19    frequency.       And it uses what was shown before,

10:15:35 20


10:15:40 21                         .

10:15:41 22    Q.        Was this trade secret publicly known?

10:15:44 23    A.        No, it was not.

10:15:45 24    Q.        Would it have had value to your competitors?

10:15:48 25    A.        Yes.
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                                         Aigner - direct

10:15:49   1   Q.     Is the trade secret reflected on page 17 applicable

10:15:52   2   to both SMR and FBAR resonator?

10:15:55   3   A.     Yes, it is.

10:15:56   4   Q.     PDX, if we could return to PDX 2.13.         Last trade

10:16:03   5   secret on this list is the goal for Qorvo's

10:16:08   6                        Could you show the jury where that trade

10:16:12   7   secret is reflected on Exhibit 11?

10:16:14   8   A.     Page 18.

10:16:15   9   Q.     Again, at a high level, what's shown here on page 18?

10:16:18 10    A.     So very often a filter

10:16:22 11

10:16:27 12


10:16:32 13          And that's shown on the algorithm on this page.            So

10:16:37 14    you trim                               with an algorithm

10:16:43 15

10:16:48 16    Q.     Is this algorithm a trade secret at Qorvo?

10:16:51 17    A.     Yes, it is.

10:16:52 18    Q.     Was it publicly known?

10:16:54 19    A.     No.

10:16:54 20    Q.     Would it have been valuable to your competitors?

10:16:57 21    A.     Yes.   Everybody faces the same challenges to get

10:17:00 22    filters into the target.     Nobody is able to manufacture them

10:17:05 23    accurately enough to get away without trimming.

10:17:08 24    Q.     And is this trade secret applicable to both FBAR and

10:17:12 25    SMR resonators?
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                                          Aigner - direct

10:17:14   1   A.      Yes, it is, same challenges in both.

10:17:24   2                  MR. DeFOSSE:   Your Honor, may I approach?

10:17:25   3                  THE COURT:   You may.

10:17:36   4   BY MR. DeFOSSE:

10:17:49   5   Q.      Dr. Aigner, did you learn as part of this litigation

10:17:51   6   that Akoustis had obtained Qorvo's trimming procedures?

10:17:55   7   A.      Yes, I became aware of that.

10:17:58   8   Q.      I have just handed you what's been marked for

10:18:01   9   identification as Exhibit 453.       Do you recognize the

10:18:05 10    contents of this document?

10:18:07 11    A.      Yes, I do.

10:18:10 12                   MR. DeFOSSE:   Your Honor, may we offer into

10:18:12 13    evidence Exhibit 453?

10:18:13 14                   THE COURT:   Yes, marked and received as trial

10:18:16 15    Exhibit 12.

10:18:17 16                   (Trial Exhibit No. 12 was admitted into

10:18:18 17    evidence.)

10:18:18 18    BY MR. DeFOSSE:

10:18:19 19    Q.      Dr. Aigner, what are the contents of Exhibit 453?

10:18:23 20    A.      This document shows the algorithms that Qorvo

10:18:29 21    developed in a presentation from Akoustis.

10:18:32 22    Q.      And just so the jury was clear, do you understand

10:18:35 23    that this document, which is now Exhibit 12, is an Akoustis

10:18:39 24    file?

10:18:40 25    A.      Yes.
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                                         Aigner - direct

10:18:42   1   Q.     Now, Dr. Aigner, I would like to do, if we could, a

10:18:46   2   comparison between the document that was found in Akoustis's

10:18:48   3   files and Qorvo's trimming procedures.        Could you identify

10:18:55   4   for the jury if there is anything in Exhibit 12 that

10:18:59   5   corresponds to the trade secrets we just looked at in

10:19:02   6   Exhibit 11?

10:19:04   7   A.     Exhibit 11, page 16 is strikingly similar to, the

10:19:13   8   same as what you see on page 2 of Exhibit 12.         They haven't

10:19:20   9   even changed the colors of the boxes.

10:19:25 10                  Then --

10:19:27 11    Q.     Is that the only instance where the Akoustis document

10:19:31 12    has directly copied the Qorvo trimming procedures?

10:19:33 13    A.     No.    It goes on, page 17 on Exhibit 11, compare it to

10:19:40 14    page 3 on Exhibit 12.     Strikingly similar, the same.       And

10:19:50 15    again, page 18 on Exhibit 11 compared to page 4 on

10:19:58 16    Exhibit 12.

10:20:00 17    Q.     What was your reaction when you learned that Akoustis

10:20:03 18    had obtained Qorvo's trimming procedures?

10:20:06 19    A.     I was upset.

10:20:08 20    Q.     Why is that?

10:20:10 21    A.     Trimming is an essential part of our process.          I have

10:20:16 22    personally spent twenty years developing this.         It felt like

10:20:22 23    a betrayal to see the fruits of our work in somebody else 's

10:20:29 24    hands without permission.

10:20:30 25    Q.     I would like to move on to trade secret group 4 now.
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                                           Aigner - direct

10:20:34   1   Mr. Buchbinder, could you pull up PDX 2.15.

10:20:39   2                   Trade secret 4 relates to Qorvo's evaluation

10:20:45   3   board design rules and schematics.        Could you explain to the

10:20:48   4   jury what an evaluation board is?

10:20:49   5   A.       Yes.   I have shown you a laminate strip earlier so

10:20:58   6   the products on this are about two by three-millimeter in

10:21:03   7   size, they're too small to measure directly.           So what we do

10:21:07   8   is we put them on another kind of board, this board has

10:21:11   9   connectors on it so that cables can be attached and they can

10:21:15 10    be more conveniently measured by us and by our customers for

10:21:21 11    examination purposes, that's why they call it an evaluation

10:21:25 12    board.

10:21:25 13    Q.       How important is an evaluation board technology?

10:21:27 14    A.       You need them all the time, you need them multiple

10:21:31 15    times in every project you work on.

10:21:33 16    Q.       Have you heard the term RF connector?

10:21:36 17    A.       Yes.

10:21:37 18    Q.       What is a RF connector?

10:21:39 19    A.       That's the connector where the RF cable is screwed

10:21:46 20    to.   Think of it like a plug, a socket on your wall.           That's

10:21:52 21    what RF.

10:21:54 22    Q.       Mr. Buchbinder, could I ask you to pull up PDX 2.16.

10:21:59 23                    Dr. Aigner, what's reflected on PTX 2.16?

10:22:03 24    A.       So the RF connectors, they are quite important for

10:22:08 25    measuring correctly.       And we have our own designs to make
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                                       #: 40055                                412
                                         Aigner - direct

10:22:13   1   this possible.    And it's reflected in the trade secret 4.4.

10:22:18   2                 MR. DeFOSSE:   Your Honor, may I approach?

10:22:19   3                 THE COURT:   You may.

10:22:35   4   BY MR. DeFOSSE:

10:22:37   5   Q.     Dr. Aigner, I have handed you what's been marked for

10:22:40   6   identification as PTX 1142.     Do you recognize this document?

10:22:45   7   A.     Yes.

10:22:46   8   Q.     What is it?

10:22:47   9   A.     It's a drawing of the connector we use in many of our

10:22:55 10    evaluation boards.

10:22:56 11                  MR. DeFOSSE:   Your Honor, we offer into evidence

10:22:58 12    PTX 1142.

10:23:00 13                  THE COURT:   Marked and received as 13.

10:23:05 14                  (Trial Exhibit No. 13 was admitted into

10:23:05 15    evidence.)

10:23:05 16    BY MR. DeFOSSE:

10:23:06 17    Q.     Dr. Aigner, can you explain to the jury at a high

10:23:10 18    level what is shown in Exhibit 13?

10:23:12 19    A.     Well, this is a technical drawing that allows to

10:23:18 20    construct this connector.     It shows all the dimensions, it

10:23:21 21    shows the materials to be used.       And it also shows the

10:23:25 22    tolerances for each of the dimensions here, which are

10:23:28 23    important.    And it shows the exact physical structure of the

10:23:32 24    connector.

10:23:33 25    Q.     Does Qorvo consider the design of this particular RF
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                                          Aigner - direct

10:23:38   1   connector to be a trade secret?

10:23:39   2   A.     Yes, we do.

10:23:40   3   Q.     You would agree with me that RF connectors generally

10:23:44   4   are available on the market, right?

10:23:46   5   A.     They are.

10:23:46   6   Q.     Why does Qorvo consider this particular design to be

10:23:49   7   a trade secret?

10:23:50   8   A.     Because we found that this one works significantly

10:23:54   9   better for our purposes, and it allows us measurements with

10:23:59 10    more accuracy, that's why do use it and why wanted to keep

10:24:03 11    it a secret.

10:24:04 12    Q.     Is the design of the RF connector here in

10:24:10 13    Exhibit 1142 relevant to both filters that have SMR

10:24:15 14    resonators and FBAR resonators?

10:24:17 15    A.     Yes, it is, there is no difference whatsoever.            Once

10:24:20 16    you have a packaged part, this is really the outside world

10:24:23 17    we talk about.

10:24:25 18    Q.     Did Akoustis have authorization to use the customized

10:24:29 19    design of Qorvo's RF connector?

10:24:32 20    A.     No.

10:24:34 21    Q.     I would like to move to trade secret group 6 now.

10:24:39 22    Mr. Buchbinder, could you pull up PTX 2.18.

10:24:44 23                   So, Dr. Aigner, trade secret group 6 is related

10:24:48 24    to Qorvo's systems, processes, and procedures for testing

10:24:51 25    reliability and mean-time-to-failure of parts.          Could you
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                                         Aigner - direct

10:24:58   1   explain to the jury at a high level what reliability testing

10:25:01   2   is?

10:25:02   3   A.     So when we ship parts to a customer, the customer

10:25:07   4   wants proof from us that the parts will live for a long,

10:25:12   5   long time.    You don't want your phone to fail for our

10:25:16   6   components.   So we have methods in place to test our parts

10:25:20   7   to prove that they are reliable, that happens multiple time

10:25:25   8   during research and also during product development and

10:25:28   9   continues on when we ship the parts.          Those methods have

10:25:32 10    evolved over the years, they're not industry standard and

10:25:36 11    there is a lot of know-how involved in putting together the

10:25:40 12    systems to test these parts.

10:25:42 13    Q.     To be clear, are there generally known reliability

10:25:46 14    testing information on the market?

10:25:48 15    A.     Yes, there is.

10:25:49 16    Q.     But does Qorvo have trade secrets to the way it

10:25:54 17    performs reliability testing?

10:25:55 18    A.     Yes, we do.

10:25:56 19    Q.     Mr. Buchbinder, could I ask you to pull up PDX 2.19.

10:26:01 20                  And Dr. Aigner, what's reflected on PDX 2.19?

10:26:05 21    A.     So this shows six trade secrets identified, they all

10:26:10 22    relate to reliability and reliability testing.           And methods

10:26:15 23    associated with that.

10:26:16 24                  MR. DeFOSSE:   Your Honor, may I approach?

10:26:18 25                  THE COURT:   You may.   We will probably take a
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                                        Aigner - direct

10:26:28   1   break at 10:30.

10:26:36   2   BY MR. DeFOSSE:

10:26:38   3   Q.     Dr. Aigner, I have handed you what's been marked for

10:26:41   4   identification as PTX 0099.    Do you recognize this document?

10:26:46   5   A.     Yes, I do.

10:26:47   6   Q.     What is it?

10:26:48   7   A.     It's a document summarizing the reliability and life

10:26:53   8   testing methods used at Qorvo.

10:26:56   9                MR. DeFOSSE:   Your Honor, we would offer into

10:26:58 10    evidence PTX 0099.

10:27:01 11                 THE COURT:   Marked and received as 14.

10:27:04 12                 (Trial Exhibit No. 14 was admitted into

10:27:04 13    evidence.)

10:27:04 14    BY MR. DeFOSSE:

10:27:05 15    Q.     Dr. Aigner, can you explain to the jury at a high

10:27:08 16    level the significance of Exhibit 14?

10:27:11 17    A.     This exhibit shows in quite some detail how we put

10:27:17 18    testing systems together, what the models we apply and what

10:27:23 19    considerations we make in evaluating the performance and

10:27:28 20    power lifetime durability of our parts, a lot of data is

10:27:33 21    included, a lot of examples are included.

10:27:36 22    Q.     Is this document confidential to Qorvo?

10:27:39 23    A.     Yes, it is.

10:27:40 24    Q.     Is there a way you would know that by looking at the

10:27:43 25    document?
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                                          Aigner - direct

10:27:43   1   A.      Once again, it's labeled on the bottom of the -- of

10:27:48   2   every slide.

10:27:50   3   Q.      Now, Mr. Buchbinder, if we could pull up PDX 2.20.

10:27:57   4                  Dr. Aigner, how many trade secrets does Qorvo

10:28:20   5   assert in this case are disclosed in Exhibit 14?

10:28:24   6   A.      There are six.

10:28:26   7   Q.      I would like to start with the first one, testing

10:28:29   8   systems and processes to ensure efficiency.         Is that 6.1, do

10:28:34   9   you see that?

10:28:36 10    A.      Yes.

10:28:36 11    Q.      At a high level, what is trade secret 6.1?

10:28:40 12    A.      So our testing, this is quite equipment intensive.

10:28:44 13    You want to test many parts simultaneously because you need

10:28:48 14    statistical data, and how you put this together, what

10:28:51 15    equipment you use and how you connect it up is quite some

10:28:54 16    work we have done in the past, and learning steps we have

10:28:59 17    made.   Page 6 shows an example of a system diagram that we

10:29:06 18    use in power testing.

10:29:10 19    Q.      Was this information generally known in the industry?

10:29:13 20    A.      No, it was not.

10:29:15 21    Q.      What's the value of this information to Qorvo's

10:29:18 22    competitors?

10:29:19 23    A.      Well, everybody in this field needs to do power

10:29:22 24    testing, so everybody needs to put a system together to do

10:29:26 25    this efficiently and this would be a great starting point
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                                             Aigner - direct

10:29:29   1   for anybody in this field to get a head start.

10:29:32   2   Q.        How long did Qorvo work on developing the system

10:29:36   3   that's reflected on page 6 of Exhibit 14?

10:29:40   4   A.        The systems we used have evolved over time, but work

10:29:47   5   is based on this, started twenty-five years ago, even before

10:29:51   6   SAW was in existence at Qorvo, TriQuint had soft field

10:29:57   7   testing which is very similar.

10:29:59   8   Q.        If we could go back, Mr. Buchbinder to PDX 2.20?

10:30:06   9                     The next trade secret on this list is the

10:30:10 10    configuration of the testing systems.             Could you identify

10:30:12 11    for the jury where that trade secret is reflected in

10:30:17 12    Exhibit 14?

10:30:19 13    A.        Pages 7, page 7 is an example.

10:30:26 14    Q.        Okay.    I notice there a picture of a gentleman on

10:30:30 15    page 7.    Who is that?

10:30:31 16    A.        That's Shawn Bawl, that's the expert in Florida doing

10:30:35 17    this kind of testing for the past 25 years.

10:30:37 18    Q.        And what is page 7 of Exhibit 14 showing?

10:30:42 19    A.        It shows how the system is put together and what

10:30:47 20    criteria we use to select the cables and connectors and

10:30:51 21    stuff like that.

10:30:54 22    Q.        Mr. Buchbinder, if we could go back to PDX 2.20.

10:30:59 23                      Dr. Aigner, exhibit -- trade secret 6.3, 6.4 and

10:31:09 24    6.5 all relate to temperature testing, is that right?

10:31:12 25    A.        That's correct, yes.
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                                        Aigner - direct

10:31:13   1   Q.     Could you take the jury to where those three trade

10:31:16   2   secrets are shown in Exhibit 99 and explain to the jury the

10:31:20   3   significance of those trade secrets?

10:31:23   4   A.     So when you operate a filter at the high power level,

10:31:28   5   I mentioned before it starts to heat up a little bit, and it

10:31:31   6   changes some of its characteristics.         And that when you test

10:31:36   7   for power is important.    So you need to account for it, you

10:31:40   8   need to understand it very accurately.        What's shown on

10:31:44   9   page 15 is a description of the method we use to account for

10:31:49 10    the self heating effect in our filters.         And some details,

10:31:55 11    the block diagram in the bottom tells you which equipment

10:31:59 12    you're going to need and how you put it together.

10:32:02 13                 Then on the following pages we give examples of

10:32:06 14    how it's applied.   Page 16 shows self heating data for an

10:32:15 15    example of a BAW filter, so you increase the power you put

10:32:19 16    through the filter and you see the temperature starts

10:32:22 17    increasing and

10:32:27 18

10:32:33 19


10:32:33 20                 Page 17 shows again the self heating for a

10:32:41 21    specific device measured and modeled and again, you can see

10:32:45 22

10:32:51 23                                                          .

10:32:54 24    Understanding that is important for us because when we do

10:32:58 25    our testing, we want the lifetime of the filter has to be
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                                        Aigner - direct

10:33:03   1   10,000 hours say in a phone, you don't want it to fail after

10:33:07   2   half a year when you use it, so 10,000 hours, we can't test

10:33:12   3   our parts for 10,000 hours, so there are methods in place to

10:33:15   4   accelerate this testing.

10:33:17   5                What we do is we start at a higher temperature,

10:33:20   6   the lifetime is shorter there and we need to understand how

10:33:23   7   much shorter we call it acceleration factor.        So we test at

10:33:28   8   a higher temperature and at a higher power and we can

10:33:31   9   predict how the part will survive at the lower temperature

10:33:35 10    and lower power.   But there is a lot of method and a lot of

10:33:40 11    know-how behind how to do this in a good way.

10:33:43 12    Q.     How many hours does it take Qorvo to do this

10:33:46 13    temperature testing?

10:33:48 14    A.     This is case dependent, again there is

10:33:55 15

10:33:58 16                                                                    , we

10:34:03 17    know that the part is good to live for 10,000 hours under

10:34:07 18    normal conditions.

10:34:07 19    Q.     Qorvo is able because of its trade secrets to test

10:34:11 20    the parts                                in order to get what

10:34:14 21    10,000 hours of testing would show?

10:34:16 22    A.     Yes, that's what we do.

10:34:17 23    Q.     How long did it take Qorvo to develop its temperature

10:34:20 24    testing trade secrets?

10:34:22 25    A.     Well, they have evolved over the past 25 years, and
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                                        Aigner - direct

10:34:26   1   they -- they are quite sophisticated by now.        If you look at

10:34:32   2   page 23, this is our results.     Here we show

10:34:42   3

10:34:50   4

10:34:53   5                We know from the data we have extracted that

10:34:57   6

10:35:05   7

10:35:09   8

10:35:11   9                THE COURT:     Counsel, we do need a break.     Is

10:35:14 10    this good right now?

10:35:15 11                 MR. DeFOSSE:    If I could just finish up this

10:35:17 12    document, Your Honor, I only have a couple more questions on

10:35:20 13    it.   Two more questions.

10:35:22 14    BY MR. DeFOSSE:

10:35:22 15    Q.      Dr. Aigner, you were just pointing the jury to

10:35:25 16    page 23, does this reflect any of the trade secrets that we

10:35:28 17    see on PDX 2.20?

10:35:30 18    A.      Yes, that's correct.

10:35:31 19    Q.      Could we pull up PDX 2.20, Mr. Buchbinder.

10:35:35 20                 Which trade secret is associated with the

10:35:39 21    information on page 23 of Exhibit 14 that you were just

10:35:42 22    showing the jury?

10:35:43 23    A.      That would be 6.5, 6.6.

10:35:52 24    Q.      Thank you, Dr. Aigner.    So last questions on this

10:35:55 25    document.
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10:35:55   1                  This was a confidential Qorvo document?

10:35:58   2   A.     Yes.

10:35:58   3   Q.     Did you learn that Akoustis had obtained this

10:36:01   4   document as part of this litigation?

10:36:03   5   A.     Yes, we learned that.

10:36:05   6   Q.     Okay.    Did Akoustis have authorization to have this

10:36:07   7   document?

10:36:08   8   A.     No.

10:36:10   9                  MR. DeFOSSE:    This would be a good time.

10:36:11 10                   THE COURT:   We're going to take our

10:36:13 11    fifteen-minute break at this time.        Don't discuss the case

10:36:15 12    amongst yourself, don't let anybody talk with you about the

10:36:19 13    case and we'll see you in fifteen minutes.         Of course

10:36:23 14    continue to keep an open mind we talked about at the start.

10:36:27 15    After you're excused, we'll stay here for just a moment.             So

10:36:31 16    we'll let you be excused to the jury room.

10:36:34 17                   (Jury exiting the courtroom at 10:36 a.m.)

10:36:59 18                   THE COURT:   All right.    We'll let everybody be

10:37:03 19    seated just for a moment.      The witness may or may not know

10:37:06 20    that during the break you should not talk with someone about

10:37:09 21    the testimony you have given.       That's the key here.      Talk

10:37:13 22    about other things that might come up, but nothing about the

10:37:17 23    testimony that's given.       Of course that eliminates

10:37:20 24    essentially coaching.

10:37:21 25                   We have a fourteen-minute break.       We'll see you
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10:37:24   1   all in about twelve minutes.     Anything else before we do

10:37:27   2   that?

10:37:36   3                (Discussion off the record.)

10:37:37   4                THE COURT:    They have a potential plan for our

10:37:39   5   one juror who has the cockatoo, so we're going on to see

10:37:43   6   what we can do about that.    Everybody else, maybe a couple

10:37:46   7   of counsel may want to stay and check, everybody else can be

10:37:49   8   excused, you can sort of step down.       I better ask, what's

10:37:53   9   the cockatoo plan?   I'm trying to let everybody else take

10:37:59 10    that break because you may want a restroom break.         The

10:38:02 11    witness may want a restroom break and we'll get a couple of

10:38:06 12    counsel on that.

10:50:06 13                 (Side-bar discussion:)

10:50:06 14                 THE COURT:    Yes, sir.

10:50:06 15                 COURT CLERK:    So really quick, we have a hotel

10:50:06 16    lined up and everything.    Would the parties be amenable to

10:50:06 17    splitting the cost of pet fee, $75 pet fee?

10:50:06 18                 MR. ELKINS:    Absolutely.

10:50:06 19                 COURT CLERK:    That's truly the only option we

10:50:06 20    have as far as anything to accommodate this juror.

10:50:06 21                 MR. ELKINS:    I assume that fact will not be made

10:50:06 22    known.

10:50:06 23                 THE COURT:    No, they won't know.

10:50:06 24                 MR. ELKINS:    The jury?

10:50:06 25                 THE COURT:    It will look like it's come from the
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10:50:06   1   Court.   But we're not funded to do that, therefore, we have

10:50:06   2   to -- if you want to, and if you don't want to, you don't

10:50:06   3   have to, it's not a big deal.

10:50:06   4                 MR. MASTERS:   No, we're fine.      We're happy to

10:50:06   5   share that cost.    We'll add it into the meal fee.         We have a

10:50:06   6   pet fee, that's fine.

10:50:06   7                 MR. ELKINS:    Pet fee.

10:50:06   8                 THE COURT:    Pet fee.    I think that's a good

10:50:06   9   resolution.   I hate to lose an eleventh juror right now,

10:50:06 10    because I may lose a couple of jurors along the way.           That

10:50:06 11    takes care of that.    Let's go through the exhibit and make

10:50:06 12    sure.

10:50:06 13                  MR. LEMIEUX:   Your Honor, there is an exhibit

10:50:06 14    that is a declaration that was filed by the witness in

10:50:06 15    another matter.    And maybe you want to have John up here for

10:50:06 16    this.

10:50:06 17                  MR. MASTERS:   I need to get Mr. DeFosse.

10:50:06 18                  THE COURT:    Right.

10:50:06 19                  Tell you what, can you tell me what it's about

10:50:06 20    and we'll let Mr. DeFosse address it.         Tell me what it's

10:50:06 21    about.

10:50:06 22                  MR. LEMIEUX:   There is a declaration in another

10:50:06 23    case that was filed in another case that is publicly

10:50:06 24    available that contains all of this alleged trade secret

10:50:06 25    information that we have been talking about.          And that I
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10:50:06   1   would like to establish the fact that he did, it's in a

10:50:06   2   court file, it's available to the public now, I checked

10:50:06   3   again yesterday, this goes to trade secrets.

10:50:06   4                  THE COURT:   Sure, I understand.      Where was it

10:50:06   5   filed?

10:50:06   6                  MR. LEMIEUX:   It's in District of Arizona in

10:50:07   7   another action I'm sure.      I'm not going to go into the

10:50:07   8   claims of that case, I'm not going to do an analysis, but

10:50:07   9   this is clearly relevant to the public availability of this

10:50:07 10    information.

10:50:07 11                   THE COURT:   Sure.    I'm sure that that does come

10:50:07 12    up.   It's come up before in other cases so it's not new.           I

10:50:07 13    don't know if Mr. DeFosse has anything to the contrary.

10:50:07 14    It's usually used as an impeachment document, this is it

10:50:07 15    true it was filed in another case.        This was 2011.

10:50:07 16                   MR. LEMIEUX:   Yes.

10:50:07 17                   THE COURT:   I can see that some of the material

10:50:07 18    is about the same or similar, but I can't tell how much of

10:50:07 19    it is because I've only had it about fifteen seconds.

10:50:07 20    Anything about that?      Anything that's filed publicly in

10:50:07 21    another case -- now, it requires a little examination as to

10:50:07 22    see whether it remained in the public record, you said it

10:50:07 23    did, so I'm not going to doubt you.

10:50:07 24                   MR. LEMIEUX:   I could ask the Court to take

10:50:07 25    judicial notice of the fact if you go on page 3, there will
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10:50:07   1   be a report write-up.

10:50:07   2                THE COURT:   Arizona case, United States District

10:50:07   3   Court 09-01531.    And I think everybody can check that.         We

10:50:07   4   can all do that.

10:50:07   5                MR. MASTERS:   The condition under which it was

10:50:07   6   filed.   Not that they -- the company intentionally published

10:50:07   7   the document, but it was submitted in a court case.

10:50:07   8                THE COURT:   Right.   But if it is submitted and

10:50:07   9   not placed under seal, then it becomes part of the public

10:50:07 10    document, of the documents to the public.        I can't do a

10:50:07 11    comparison, but I can see that there is -- these don't look

10:50:07 12    identical at all, some of the materials that we're looking

10:50:07 13    at are different, I understand that.

10:50:07 14                 MR. MASTERS:   They are.

10:50:07 15                 THE COURT:   But this is normal

10:50:07 16    cross-examination.   So anything else.       I don't know

10:50:07 17    Mr. Masters, this puts you in a bad spot, you can check with

10:50:07 18    Mr. DeFosse, he probably knows all about it.

10:50:07 19                 MR. MASTERS:   He's much more prepared than I am.

10:50:07 20                 THE COURT:   On this particular issue?

10:50:07 21                 MR. MASTERS:   On this particular issue.

10:50:07 22                 MR. LEMIEUX:   I'm going to be honest with you,

10:50:07 23    Your Honor, just simply to establish the fact that anything

10:50:07 24    that is in there is a matter of public record availability.

10:50:07 25                 THE COURT:   That would be correct.
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10:50:07   1                  MR. LEMIEUX:   So other witnesses later who say I

10:50:07   2   am able to get this information publicly and this is the

10:50:07   3   source.

10:50:07   4                  MR. MASTERS:   Here comes Mr. DeFosse.

10:50:07   5                  THE COURT:   You're absolutely right.       That's not

10:50:08   6   going to change what anybody else has to say.          So check with

10:50:08   7   him briefly.    The witness did file a declaration in an

10:50:08   8   Arizona proceeding, U.S. District Court of Arizona

10:50:08   9   09-101531, it's declaration by him in support of TriQuint's

10:50:08 10    motion to seal, which is sort of an interesting question by

10:50:08 11    itself.   But it was filed on September the 29th of 2011.

10:50:08 12    You're aware of that?

10:50:08 13                   MR. DeFOSSE:   I am aware of that.

10:50:08 14                   THE COURT:   It's something that -- it's just

10:50:08 15    clearing that they can use this in cross.         I don't think it

10:50:08 16    was being used as an exhibit.       I don't think you're supposed

10:50:08 17    to do that.

10:50:08 18                   MR. LEMIEUX:   It would have to be part of the

10:50:08 19    record, Your Honor, I mean, so that --

10:50:08 20                   THE COURT:   I have to look and make sure it's

10:50:08 21    not a 403 problem and we may have to be very specific about

10:50:08 22    what is being utilized in it.       So you both see the problem

10:50:08 23    there which we don't want to give them 500 pages and say

10:50:08 24    well, it's in there somewhere and you already have it

10:50:08 25    tagged.   I can see you're all set.       I think you might --
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10:50:08   1                MR. LEMIEUX:   The tags actually are just showing

10:50:08   2   -- pursuant to the court order there were certain items that

10:50:08   3   were ordered redacted and where I have a tag is actually

10:50:08   4   where there were redactions.

10:50:08   5                THE COURT:   Sure.   I see what you're saying.

10:50:08   6                MR. LEMIEUX:   So if you go to this page here,

10:50:08   7   I'm sorry, this has been redacted.

10:50:08   8                THE COURT:   Did you also indicate how many pages

10:50:08   9   of this document are identical to or very close to the

10:50:08 10    materials that this witness has been testing?

10:50:08 11                 MR. LEMIEUX:   All I want to be able to introduce

10:50:08 12    this for, Your Honor, this was filed, this was publicly

10:50:08 13    available, other witnesses will rely on the information in

10:50:08 14    there.   I'm not otherwise going to cross-examine him, this

10:50:08 15    is simply is his declaration, he signed it.

10:50:09 16                 THE COURT:   The issue is not that you can't use

10:50:09 17    it, you can use it, the question is because it's a large

10:50:09 18    document, many pages, 195, it may be that only eight pages

10:50:09 19    are really proper cross-examination.         I don't know that.

10:50:09 20    And so -- have you discussed this.

10:50:09 21                 MR. DeFOSSE:   We've not discussed this

10:50:09 22    specifically.   The additional concern I have, Your Honor, is

10:50:09 23    the one that we had in our motion in limine about references

10:50:09 24    to other proceedings that are out there.         And so I'm

10:50:09 25    concerned that if the document is introduced and filing it a
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10:50:09   1   court proceeding and TriQuint is involved and things like

10:50:09   2   that, that creates prejudice because then the jury is

10:50:09   3   thinking about what's going on in this other proceeding.          So

10:50:09   4   I think --

10:50:09   5                 THE COURT:   That's not -- I mean, I understand

10:50:09   6   the argument, and I've heard it, and the fact that it is

10:50:09   7   appropriate to use the document.      The question is, which

10:50:09   8   portions of the document are properly admitted for purposes

10:50:09   9   of cross-examination, I don't know.      And the fact is that if

10:50:09 10    it's eight pages, we may need to consider whether only those

10:50:09 11    eight pages are the ones that are proper to receive.

10:50:09 12    Because we don't want to give them -- we've had this come up

10:50:09 13    in other matters, we don't want to give jurors that has as

10:50:09 14    much material that does not go to the point that counsel was

10:50:09 15    making, that counsel is making because it gets lost and I

10:50:09 16    think you want it to be specific.      Maybe you don't.

10:50:09 17                  MR. LEMIEUX:   I am not going to get into

10:50:09 18    specifics with this witness.     But I do need to be able to

10:50:09 19    use it.   There will be subsequent witnesses who will rely on

10:50:09 20    portions of this.    And so if I don't have this into

10:50:09 21    evidence, then their foundation for their testimony is not

10:50:09 22    there.    I just simply want to establish that a declaration

10:50:09 23    was filed, it is publicly available and another witness will

10:50:09 24    put into context specific parts of this.       I'm not going to

10:50:09 25    question him on those parts.
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10:50:09   1                  MR. DeFOSSE:   We're happy to work with them,

10:50:09   2   Your Honor, about --

10:50:09   3                  THE COURT:   I think there needs to be some

10:50:09   4   exchange between both sides on this because it has to be

10:50:09   5   something that is appropriate cross-examination, and it --

10:50:10   6   it's like handing somebody an encyclopedia, saying there is

10:50:10   7   something in there and did you file this, and the answer is

10:50:10   8   well, let's find a page which is an issue.        I think that's

10:50:10   9   probably necessary to avoid the problem under the rules.

10:50:10 10    Certainly, I'm not trying to help either side, I just don't

10:50:10 11    want to create juror confusion.      I don't want the

10:50:10 12    distraction.

10:50:10 13                   MR. LEMIEUX:   My intention is not to show them

10:50:10 14    the pages to create a confusion, it will only be brought up

10:50:10 15    later by other witnesses as they're shown information that

10:50:10 16    they believe is not trade secret but is actually publicly

10:50:10 17    available.

10:50:10 18                   THE COURT:   I think we have gone over where we

10:50:10 19    are on this, I have advised the parties to confer and that's

10:50:10 20    all I can do.    I understand there could be problems in the

10:50:10 21    receipt of the entire document and I've already heard

10:50:10 22    everybody so that's all I can do.      I'm going to let

10:50:10 23    everybody take a short break.     I mean, I understand we have

10:50:10 24    left four or five minutes.

10:50:10 25                   COURT CLERK:   About three.
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10:50:10   1                  (A brief recess was taken.)

10:55:49   2                  THE COURT:    All right.    You may be seated.

10:55:52   3                  MR. GOLDEN:    Can I have a moment?    I'm waiting

10:55:55   4   on my folks.

10:55:56   5                  THE COURT:    It will go faster without lead

10:56:00   6   counsel.

10:56:00   7                  MR. GOLDEN:    I never considered this.

10:56:01   8                  THE COURT:    That's fine.

10:56:02   9                  MR. GOLDEN:    Thank you.

10:56:03 10                   THE COURT:    No problem.    Ready to bring the

10:56:05 11    panel in.   We'll get a time count at the lunch break.

10:56:25 12                   MR. DeFOSSE:   Thank you, Your Honor.

10:56:33 13                   (Jury entering the courtroom at 10:56 a.m.)

10:56:42 14                   THE COURT:    Everyone can be seated.     You need to

10:57:09 15    know that when we end up with side-bars during the break,

10:57:12 16    that is timed, also, so the time is moving the case along,

10:57:20 17    we're not wasting time.

10:57:21 18                   Counsel, you may proceed.

10:57:22 19                   MR. DeFOSSE:   Thank you, Your Honor.

10:57:23 20    BY MR. DeFOSSE:

10:57:24 21    Q.     Dr. Aigner, before we went on break we were talking

10:57:27 22    about Qorvo's reliability testing.         Do you recall that?

10:57:29 23    A.     Yes, I do.

10:57:30 24    Q.     Is the reliability testing that was reflected in the

10:57:34 25    Exhibit 14 applicable to both SMR and FBAR filters?
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10:57:39   1   A.     Yes, it is.

10:57:39   2   Q.     And I would like to return to that issue generally.

10:57:44   3   Mr. Buchbinder, if I could ask you to pull up PDX 2.22.

10:58:45   4                 MR. DeFOSSE:   There seems to be some difficulty

10:58:47   5   with the equipment, Your Honor.

10:58:50   6                 THE COURT:   Okay.

10:59:17   7                 MR. DeFOSSE:   Are we going to be able to get

10:59:20   8   this to work?    2.22.

10:59:34   9   BY MR. DeFOSSE:

10:59:34 10    Q.     We'll try this without the exhibit, Dr. Aigner.

10:59:37 11    We've talked a lot today about SMR resonators and FBAR

10:59:43 12    resonators.    Can you tell the jury what is the structural

10:59:47 13    difference between an SMR resonator and a FBAR resonator?

10:59:52 14    A.     So while there are mostly similarities, there is one

10:59:59 15    difference and that is how the engine is supported from the

11:00:05 16    carrier substrate.     If you look at the left image here, that

11:00:10 17    represents an SMR resonator, you see that top electrode, the

11:00:18 18    bottom electrode, and then you have a series of layers

11:00:23 19    below, those are the layers that we implement to bounce back

11:00:28 20    the waves to allow free vibration.       In the FBAR, you have

11:00:34 21    the very same on the top, then you have an air cavity below

11:00:40 22    the structure, air does the same thing, it allows the wave

11:00:47 23    to bounce back and allows free vibration.

11:00:51 24    Q.     And so the difference between the two filters is

11:00:54 25    essentially the existence of an air cavity in an FBAR
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11:00:58   1   filter?

11:00:58   2   A.        Well, air cavities exist also in SMR, but it's on the

11:01:03   3   top of the structure.         So air is on top of the top

11:01:07   4   electrode, in an SMR, but the bottom air is replaced by what

11:01:13   5   we call an acoustic reflector, which is a solid material.

11:01:18   6   Q.        Does the presence of an air cavity in an FBAR filter

11:01:22   7   have any impact on the utility of Qorvo's trade secrets in

11:01:27   8   groups 2, 3, 4, or 6 that you addressed today?

11:01:31   9   A.        In this group, it does not make a difference, they

11:01:34 10    all are based on the same physics and the same principles

11:01:38 11    will apply, many of them even have nothing to do with how

11:01:42 12    the resonator exactly looks like.

11:01:45 13                     MR. DeFOSSE:    Thank you, Dr. Aigner.      Pass the

11:01:47 14    witness.

11:01:49 15                     THE COURT:    Cross-examination.

11:01:55 16                           CROSS-EXAMINATION

11:02:12 17    BY MR. LEMIEUX:

11:02:18 18    Q.        Good morning, Dr. Aigner.

11:02:19 19    A.        Good morning.

11:02:20 20    Q.        Earlier in your testimony you mentioned that during

11:02:24 21    the time you were at -- let me step back for a second.

11:02:29 22                     You're familiar with the concept of a phase gate

11:02:33 23    development strategy, is that correct?

11:02:34 24    A.        Yes.

11:02:35 25    Q.        And in your prior employment by Infineon, before you
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11:02:41   1   ever joined TriQuint, did Infineon employ a phase gate

11:02:46   2   development strategy?

11:02:47   3   A.     Yes.

11:02:47   4   Q.     So is it fair to say that phase gate development

11:02:50   5   strategies are a relatively common tool used by many

11:02:54   6   companies to develop new technology to ultimately

11:02:58   7   commercially available products?

11:03:00   8   A.     I would agree.

11:03:02   9   Q.     And so the use of a phase gate development strategy

11:03:06 10    is not a trade secret of Qorvo, right?

11:03:10 11    A.     No.

11:03:13 12    Q.     Now, you also in your earlier testimony, you were

11:03:17 13    speaking about resonators and how those are the building

11:03:20 14    blocks of the filters that we have been discussing here.

11:03:24 15    It's the basic building block I believe is what you said.

11:03:27 16    Now the shape of the resonator that is used by Qorvo, is

11:03:32 17    that a rectangular or a polygon shaped resonator; correct?

11:03:37 18    A.     Amongst others, yes.

11:03:40 19    Q.     And does Qorvo use any oval or elliptical shaped

11:03:44 20    resonators?

11:03:45 21    A.     None of our shapes have sharp corners, so there is

11:03:50 22    always a segment of the circle involved.        You can call that

11:03:56 23    -- you could call that a curved surface.

11:03:58 24    Q.     I believe if we pull your document up, I believe it's

11:04:02 25    PDX 2.3.    If we could pull that exhibit back up, please?         If
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11:04:24   1   we get 2.3.    The drawing here is showing Qorvo BAW filter

11:04:31   2   and the resonators that are being used there, all of those

11:04:35   3   are polygon shape, correct?

11:04:37   4   A.     Polygons is rounded corners.

11:04:40   5   Q.     Rounded corners.      Okay.    But they're not elliptical,

11:04:45   6   you know what an elliptical or an oval is correct?

11:04:48   7   A.     I know what an elliptical is.          Oval is not so well

11:04:51   8   defined in my opinion.

11:04:53   9   Q.     An oval, circular track that is slightly elongated

11:04:58 10    you're not --

11:04:59 11                  THE COURT:   They have very different dimensions,

11:05:02 12    so maybe you can be more specific in your question.

11:05:06 13                  MR. LEMIEUX:    Sure.

11:05:07 14    BY MR. LEMIEUX:

11:05:07 15    Q.     Dr. Aigner, you're very experienced with the shapes

11:05:09 16    of resonators, correct?

11:05:11 17    A.     Correct.

11:05:12 18    Q.     And you can look at the shapes that are being

11:05:15 19    employed here in Exhibit 2.3 and agree with me that they're

11:05:18 20    polygons even if they have rounded corners, right?

11:05:21 21    A.     That's correct.

11:05:21 22    Q.     They're not circular, are they?

11:05:24 23    A.     They're not circular.

11:05:26 24    Q.     And are you familiar with the shape of the resonators

11:05:29 25    used in Akoustis's devices?
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11:05:32   1   A.     I have seen examples.

11:05:34   2   Q.     Okay.    And they're not the same shape as the ones

11:05:37   3   used in the Qorvo devices, are they?

11:05:40   4   A.     Some of them approach something in between a polygon

11:05:45   5   and an ellipse.

11:05:47   6   Q.     But they're not polygons, are they?

11:05:49   7   A.     Everything is a polygon.

11:05:51   8   Q.     Everything is a polygon, even an ellipse is a

11:05:55   9   polygon, sir?

11:05:56 10    A.     In reality, the way you draw it, everything is a

11:05:59 11    polygon.    Polygon just means there are multiple corners,

11:06:02 12    that's a definition of a polygon.

11:06:05 13    Q.     So in your definition, then, an ellipse is the same

11:06:09 14    as a polygon?

11:06:10 15    A.     It's not the same, but an ellipse is a polygon.

11:06:15 16    Q.     I'm sorry, I'm not sure I understood.        You said

11:06:18 17    they're not the same but an ellipse is a polygon?

11:06:21 18    A.     Polygon is a much bigger category than an ellipse.

11:06:24 19    Q.     So you believe ellipses fall within the category of

11:06:29 20    polygons?

11:06:29 21    A.     The way they're drawn they would be polygons.

11:06:32 22    Q.     Does Qorvo use any ellipses in its resonator shapes?

11:06:36 23    A.     Not in products today.

11:06:41 24    Q.     And, in fact, the summary that you were looking at

11:06:48 25    earlier, and I'm sorry that I didn't actually mark down what
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11:06:53   1   exhibit that was, that was a discussion of polygons versus

11:06:58   2   rectangles in terms of resonator shapes?

11:07:00   3   A.       The examples given were rectangles because they're

11:07:06   4   rounded corners and polygons with rounded corners but the

11:07:09   5   methodology applies to any shape.

11:07:20   6   Q.       Now, you mentioned earlier that everyone at Qorvo,

11:07:23   7   including yourself, receives training on how to handle

11:07:26   8   confidential information.        Is that right?

11:07:28   9   A.       That's correct.

11:07:29 10    Q.       And that there is a tremendous focus placed on how to

11:07:34 11    handle such information at Qorvo; correct?

11:07:38 12    A.       Yes.

11:07:40 13    Q.       And so if a document was filed in a public proceeding

11:07:46 14    by Qorvo, it would have been carefully reviewed to determine

11:07:51 15    whether or not it contained confidential Qorvo information;

11:07:55 16    right?

11:07:56 17    A.       I would assume so, yes.

11:08:01 18    Q.       And that I believe your testimony was that those

11:08:07 19    measures have been in place at least since 2006, is that

11:08:10 20    right?

11:08:10 21    A.       That's right.

11:08:15 22    Q.       If we could pull up Exhibit 8, please, TX, Court's

11:08:24 23    Exhibit 8.      While they're trying to find Exhibit 8.         Here we

11:09:01 24    go.

11:09:01 25                    This is what we were referring to a minute ago,
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11:09:04   1   wasn't it, Dr. Aigner, that this is the presentation that

11:09:06   2   you claim contained the Qorvo trade secrets is this

11:09:10   3   presentation on polygons versus rectangle, is that correct?

11:09:15   4   A.        That's correct.

11:09:15   5   Q.        And in that discussion, there is no discussion there

11:09:19   6   of ellipses or ellipticals or ovals, correct?

11:09:23   7   A.        There is a discussion about the methodology used to

11:09:28   8   shapes.

11:09:28   9   Q.        And it's a discussion in the concept of polygons

11:09:31 10    versus rectangles, right?

11:09:33 11    A.        Those are the examples presented.

11:09:42 12    Q.        If we could look at slide 4, I believe it is, or

11:09:46 13    page 4.

11:09:50 14                   You testified earlier, Dr. Aigner, that the

11:09:54 15    trade secret that's being represented here is

11:09:59 16


11:10:03 17                          is that right?

11:10:06 18    A.        My testimony was that this is

11:10:09 19                                                         .

11:10:12 20    Q.        And I believe you also said that what you're trying

11:10:15 21    to establish here in this

11:10:18 22                                              , is that right?

11:10:21 23    A.        That's what the goal is of optimizing the shape.

11:10:26 24    Q.        So if the objective is to                      , how would

11:10:31 25    you know how to do that from just looking at this graph?
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11:10:34   1   A.      You would experiment

11:10:38   2                                      what methods to apply.

11:10:41   3   Q.      So is the trade secret, then, that you would have to

11:10:44   4   do experimentation in order to figure out how to solve this

11:10:48   5   problem?

11:10:50   6   A.      For a limited amount, yes.

11:10:53   7   Q.      You would agree with me that this graph here doesn't

11:10:56   8   actually show the trade secret or the experimentation, does

11:11:00   9   it?

11:11:00 10    A.      It shows the trade secret.

11:11:02 11    Q.      I'm sorry?

11:11:03 12    A.      It does show the trade secret.

11:11:05 13    Q.      And is the trade secret the experimentation and how

11:11:08 14    to eliminate that, how does this graph show the

11:11:12 15    experimentation, how does it show any of the steps involved,

11:11:16 16    how would you know how to conduct the experiments?

11:11:18 17    A.      The trade secret is not the experimentation, the

11:11:21 18    trade secret is to know what to look at in your results.

11:11:38 19    Q.      And again, in trying to determine the difference in

11:11:42 20    the value of different resonator shapes, that's to determine

11:11:46 21    which performed better for purposes of the filters they're

11:11:50 22    placed in?

11:11:51 23    A.      Generally, yes.   But there are other criteria as

11:11:55 24    well.

11:11:56 25    Q.      What other criteria would there be?
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11:11:59   1   A.        Some resonator shapes are more favorable in terms of

11:12:06   2   layout.

11:12:07   3   Q.        And when you say more favorable in terms of layout,

11:12:10   4   what do you mean by that?

11:12:13   5   A.        You would be able to fit more resonators on the same

11:12:17   6   space.

11:12:17   7   Q.        And is a rectangle or a polygon is one shape more

11:12:24   8   conducive to laying out more resonators than the other?

11:12:29   9   A.        That very much depends on the case of the filter.

11:12:33 10    Q.        Well the filter is the collection of the resonators,

11:12:36 11    correct?

11:12:36 12    A.        That's correct.

11:12:37 13    Q.        Okay.    So again, is there a particular shape of

11:12:41 14    resonator that lends itself to being more conducive to

11:12:45 15    having more resonators in a particular filter?

11:12:47 16    A.        It only applies if the resonators limit your die size

11:12:53 17    or your chip size, which is not the case in many

11:12:57 18    applications.

11:13:04 19    Q.        If we could pull up PDX 2.9.       And looking at

11:13:12 20    category, or trade secret page 2.2 on page 3.          I believe

11:13:27 21    it's Exhibit 9, page 3.          Do we not have that exhibit?    If we

11:14:07 22    could pull up Exhibit 9, Trial Exhibit 9.          Do we not have

11:14:24 23    Trial Exhibit 9?

11:14:26 24                      If we could go to page 3.

11:14:29 25                      MR. DeFOSSE:    Your Honor, we understand that
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11:14:30   1   there is a third party in the courtroom who is not subject

11:14:33   2   to the protective order.

11:14:35   3                 THE COURT:   Okay.   I didn't know that.      That

11:14:37   4   person should be excused.      Sorry about that, we're going to

11:14:46   5   have to let that individual be excused.

11:14:58   6                 MR. DeFOSSE:    Thank you.

11:14:59   7                 THE COURT:   Thank you.

11:15:01   8                 MR. LEMIEUX:    Thank you, Mr. DeFosse.

11:15:05   9   BY MR. LEMIEUX:

11:15:05 10    Q.     Now, Dr. Aigner, you stated that this information was

11:15:11 11    extremely valuable and is critical because it contains the

11:15:16 12    specs for the performance of the device that you were

11:15:18 13    developing?

11:15:20 14    A.     It's called a design goals, yes.

11:15:23 15    Q.     And aren't those design goals a function of the

11:15:27 16    industry spec that the customers are striving to achieve?

11:15:35 17    A.     Only part of those would be.

11:15:38 18    Q.     Part of what's up here is actually an industry spec,

11:15:42 19    correct?

11:15:42 20    A.     A small fraction, yes.

11:15:44 21    Q.     And the other specification that you're driving to

11:15:47 22    actually comes from your customers, right, it's not your

11:15:50 23    spec, what you're trying to achieve is what your customers

11:15:53 24    want you to produce, correct?

11:15:55 25    A.     No, that's not true.
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11:15:56   1   Q.        So you pay no attention to what your customers are

11:16:00   2   asking for in their specifications?

11:16:01   3   A.        Of course we do, but they want a lot of things and we

11:16:06   4   can't meet all of them.

11:16:07   5   Q.        So this is kind of a desired wish list of what you're

11:16:12   6   trying to achieve at your next level of product, right?

11:16:14   7   A.        No.

11:16:15   8   Q.        This is not?

11:16:16   9   A.        It's not a wish list, it's what we have confirmed we

11:16:20 10    can do.

11:16:20 11    Q.        Okay.   And so this may or may not be everything that

11:16:24 12    your customers want, but it at least, you believe, satisfies

11:16:28 13    some of their requests, is that right?

11:16:30 14    A.        We state here critical specs, those are the things

11:16:33 15    that we know the customer cares most about.           The rest we try

11:16:38 16    to meet as good as possible.

11:16:41 17    Q.        If the customer doesn't want it, you don't spend time

11:16:45 18    trying to design and build it, correct?

11:16:47 19    A.        I don't understand your question.

11:16:48 20    Q.        Well, sure.    I mean, the reason that you're doing

11:16:51 21    this and undergoing this exercise is because your customers

11:16:54 22    have asked you for a device that can meet certain

11:16:57 23    performance criteria, isn't that right?

11:17:00 24    A.        It can be an open market part where there is no

11:17:04 25    customer at the time we design it and there would not be any
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11:17:07   1   input from the customer.

11:17:08   2   Q.      So in that case, it's probably an industry

11:17:10   3   specification that you were setting benchmarks for, isn't

11:17:13   4   that right?

11:17:14   5   A.      No, it would be our understanding of the system and

11:17:16   6   what's needed in this market that will allow us to derive

11:17:21   7   this goal, this design goal.

11:17:23   8   Q.      So in setting those goals, what role, then, does the

11:17:26   9   industry specification play in that process?

11:17:29 10    A.      The industry defines the frequency at which the part

11:17:33 11    operates and then the system design that we come up with

11:17:38 12    defines how much attenuation we need for other applications.

11:17:47 13    Q.      Now, you're familiar with the use of simulations to

11:17:50 14    try to simulate performance of a particular devices,

11:17:54 15    correct?

11:17:54 16    A.      Yes.

11:17:54 17    Q.      And would you agree with me that simulations are only

11:17:59 18    as good as the variables selected to run the simulation

11:18:05 19    with?

11:18:05 20    A.      Yes.

11:18:06 21    Q.      So in parlance, kind of garbage in, garbage out, is

11:18:14 22    that right?

11:18:14 23    A.      I have heard that expression, yes.

11:18:19 24    Q.      Now, you mentioned during your testimony that

11:18:24 25    trimming was extremely important, and do you believe that
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11:18:29   1   that's true for any type of device, whether it's FBAR, SMR,

11:18:33   2   in your opinion, trimming is critical, is that right?

11:18:37   3   A.     That's right.

11:18:38   4   Q.     And the purpose of the trimming is to fine tune the

11:18:42   5   frequency at which the resonator is operating at?

11:18:45   6   A.     That's correct.

11:18:47   7   Q.     And is trimming also determined by the manufacturers

11:18:52   8   of the trimming tools that are available?

11:18:55   9   A.     No.

11:18:56 10    Q.     So in your opinion, how many manufacturers are there

11:19:01 11    for trimming tools in your industry?

11:19:04 12    A.     There is at least one big one and one smaller one.

11:19:10 13    Q.     And do those companies provide any instructions or

11:19:14 14    guidance as to how you use their devices to effect trimming?

11:19:20 15    A.     Not to the degree that you need to succeed.

11:19:23 16    Q.     That's not the answer -- that's not the question I

11:19:25 17    asked you, sir.    Do those companies actually provide

11:19:29 18    information and guidance as to how their trimming tools are

11:19:33 19    to be used?

11:19:33 20    A.     They provide you with instructions how to run the

11:19:37 21    trimming tools.    They will not tell you what the input data

11:19:40 22    is for the application, how to do that.

11:20:02 23    Q.     If we could pull up, please, Exhibit 13.          PTX 1142.

11:20:20 24    Now, this is one of the items that I believe you testified

11:20:23 25    is a Qorvo trade secret; is that right?
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11:20:26   1   A.     I did.

11:20:26   2   Q.     And doesn't it indicate in the lower right-hand

11:20:31   3   corner above the PTX box that this is actually a document

11:20:36   4   that originates from            ?

11:20:42   5   A.               is the contractor that manufactures the

11:20:46   6   parts for us.

11:20:47   7   Q.     This is their drawing, right, not yours, not Qorvo's?

11:20:50   8   A.     This was put together as a collaboration between the

11:20:54   9   manufacturer and us as the designer.

11:20:57 10    Q.     If we could go back to the full drawing again.           And

11:21:00 11    if we look in the lower left-hand corner this says these

11:21:08 12    drawings specifications and other data are and remain the

11:21:12 13    product property of            .    Do you still believe this is

11:21:16 14    a Qorvo document even though it seems to state to the

11:21:19 15    contrary on the document itself?

11:21:20 16    A.     I believe there was an NDA in place between

11:21:24 17    and Qorvo to use this connector only for our orders.

11:21:30 18    Q.     Do you see anywhere on this document that the

11:21:34 19    indication or the limitations that you were trying to place

11:21:38 20    upon this document?

11:21:41 21    A.     Let me take a closer look at it.        It's too small on

11:21:45 22    my screen.

11:21:46 23    Q.     No, please, go ahead.

11:22:04 24    A.     (Witness reviewing document.)         I do not see it on the

11:22:43 25    CAD drawing.
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11:22:44   1   Q.     So everything that's actually on the face of this

11:22:47   2   document indicates that it is the property of

11:22:49   3   Company; is that right?

11:22:57   4   A.     I cannot confirm that.

11:23:03   5   Q.     If we could go to I believe this was part of

11:23:10   6   demonstrative Exhibit 2.20.    If we go to page 6 of this

11:24:13   7   document, please.    And then page 23, I'm sorry.

11:24:22   8               If they can find it we'll show it up there.         Do

11:24:42   9   you recall, Dr. Aigner, there was a picture shown during the

11:24:44 10    questioning by Mr. DeFosse of a testing configuration

11:24:48 11    testing system, and I believe you made reference to a

11:24:50 12    particular colleague of yours that runs that particular

11:24:53 13    piece of equipment?

11:24:54 14    A.     Yes, I recall.

11:24:56 15    Q.     On that page, was there actually any criteria

11:25:00 16    identified for selecting the cables and connectors that go

11:25:06 17    into that testing system?

11:25:09 18    A.     There were no part numbers mentioned, but you could

11:25:13 19    see what you would need to do to put it together.

11:25:16 20    Q.     The pictures shown there would show you the specific

11:25:20 21    parts, items that would be necessary in your opinion to

11:25:23 22    build that system?

11:25:24 23    A.     It would certainly be helpful.

11:25:27 24    Q.     Here we go.    And so you believe that just these

11:25:30 25    pictures alone would be enough to be able to rebuild this
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11:25:33   1   system?

11:25:34   2   A.        There is not these pictures alone, you have all the

11:25:39   3   other pictures, this is a pretty long document here.

11:25:42   4   Q.        Right.   But is there anywhere in that document that

11:25:46   5   actually lists out the criteria for selecting the cables and

11:25:49   6   connectors that are otherwise depicted in these pictures?

11:25:53   7   A.        No, there is not that detail.

11:25:55   8   Q.        And yet that's what you identified as the valuable

11:25:58   9   trade secret was the criteria for selecting the cables and

11:26:01 10    connectors, isn't that correct?

11:26:03 11    A.        It's the impression how it's put together, that's how

11:26:06 12    I testified.

11:26:06 13    Q.        And you would agree that those criteria are not

11:26:10 14    listed or appear on this page, do they?

11:26:12 15    A.        But one of skill in the art would understand what is

11:26:16 16    shown here and would be able to reproduce it.

11:26:21 17    Q.        Now, when you were discussing the differences between

11:26:25 18    an SMR and an FBAR device, I believe you testified that

11:26:32 19    they're the same except that in an SMR it's a solid material

11:26:37 20    that has gray reflectors used in order to contact the way it

11:26:43 21    works versus an air cavity in an FBAR, right?

11:26:47 22    A.        I don't think I used the expression gray reflector.

11:26:51 23    Q.        That's what is actually contained in the SMR in the

11:26:55 24    substrate material are actually gray reflectors, that's

11:26:59 25    what's showed up on the image?
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11:27:01   1   A.       That's one expression we used.

11:27:05   2   Q.       Do those reflectors play a critical role in the

11:27:09   3   operation of the resonator?

11:27:11   4   A.       That depends very much on the case, I cannot

11:27:14   5   generalize.

11:27:14   6   Q.       If you took the reflectors out, would it operate in

11:27:18   7   the same way an SMR resonator, would it operate in the same

11:27:21   8   way if you didn't include the reflectors?

11:27:23   9   A.       It operates on the same principles.

11:27:26 10    Q.       Would it still be able to achieve its purpose if you

11:27:29 11    took out the reflectors of an SMR, would it still work?

11:27:33 12    A.       You would have to do a lot of other things as well.

11:27:36 13    Q.       And so an FBAR filter doesn't have those reflectors,

11:27:43 14    does it?

11:27:44 15    A.       No, it does not use the reflectors it uses.

11:27:48 16    Q.       You have to do other things to make sure that

11:27:50 17    resonator works in the desired way that you want it to,

11:27:53 18    right?

11:27:53 19    A.       The same physical principles apply, they are the same

11:27:59 20    markets.

11:27:59 21    Q.       But you have to do different things to it, because

11:28:02 22    you would agree, wouldn't you, that an FBAR, which has an

11:28:05 23    air cavity below it doesn't have the same physical

11:28:08 24    structures as a SMR, which includes these reflector levels

11:28:14 25    and layers?
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11:28:14   1   A.      But they're merely different implementation of the

11:28:18   2   same thing.

11:28:20   3   Q.      So they're different types of devices to achieve the

11:28:24   4   same end result; right?

11:28:26   5   A.      There are slight differences in the devices, but

11:28:30   6   their similarities between them by far are bigger than the

11:28:34   7   differences.

11:28:35   8   Q.      Well, you would agree that an FBAR structure you

11:28:39   9   would never have the reflector levels that you have in an

11:28:42 10    SMR, isn't that true?

11:28:43 11    A.      You would not use the reflectors in an FBAR.

11:28:47 12    Q.      And would you also agree that the position, size, and

11:28:53 13    dimensions of the reflectors in an SMR are very important?

11:28:59 14    A.      Yes, they are important, there is no easy way to make

11:29:06 15    those reflectors, that's not disputed here.

11:29:09 16    Q.      Without those reflectors, an SMR resonator would not

11:29:13 17    achieve the functionality it's designed for, isn't that

11:29:17 18    true?

11:29:18 19    A.      So I don't understand what you mean take away, I

11:29:23 20    mean, there is no support, the resonator would float in the

11:29:26 21    air, it would have to do something to support it.

11:29:29 22    Q.      So the SMR resonator wouldn't work if those

11:29:32 23    reflectors were removed, the SMR wouldn't work, would it?

11:29:35 24    A.      The principle would work, the implementation would

11:29:38 25    have to be changed.
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11:29:39   1   Q.     And it would work in what sense, that the top

11:29:43   2   portion, the electrode, and the piezo layer would still

11:29:48   3   potentially work, but -- perhaps you can walk me through why

11:29:53   4   an SMR resonator or filter, excuse me, would still work if

11:29:57   5   you removed the actual reflector levels?

11:30:01   6   A.     It would work in a sense that the device physics is

11:30:05   7   the same.

11:30:06   8   Q.     But would it actually --

11:30:09   9   A.     The engine is still there, just the engine mount is

11:30:12 10    not there, there are still engine mounts, you still need to

11:30:15 11    support it in some way.

11:30:17 12    Q.     So if you build an SMR reflector and didn't include

11:30:21 13    the reflectors, you believe those are simply engine mounts

11:30:25 14    and don't actually perform any other useful purpose within

11:30:28 15    that device as a filter?

11:30:30 16    A.     They do have some advantages for sure, some

11:30:36 17    disadvantages as well.

11:30:37 18    Q.     And what are the advantages in using an SMR variation

11:30:43 19    of a BAW filter?

11:30:44 20    A.     Well, we believe that for our factory infrastructure

11:30:49 21    it's the better choice, we don't need to make an air cavity,

11:30:53 22    which is an advantage for us, we instead make solid layers.

11:30:59 23    Q.     And you believe that your design is superior to the

11:31:02 24    FBAR design used by, as you testified, Broadcom, Akoustis,

11:31:06 25    and other manufacturers, is that right?
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11:31:09   1   A.      I would say it's a wash, we compete for the same

11:31:12   2   slots, sometimes we win, sometimes we lose.          We perform in

11:31:17   3   the very same markets with the very same performance.

11:31:20   4   Q.      I agree with you, they perform in the same markets,

11:31:23   5   sure, I'm just wondering do you believe there is an

11:31:27   6   advantage to your SMR versus an FBAR design?

11:31:29   7   A.      The factory infrastructures that we have established,

11:31:32   8   for sure, for somebody else, not sure, probably not.             Most

11:31:36   9   companies that are big in the market use FBAR today.             We

11:31:40 10    chose to use SMR way back.

11:31:50 11    Q.      Dr. Aigner, did you ever have any conversations with

11:31:57 12    engineers at Akoustis regarding the development of their

11:32:01 13    FBAR products?

11:32:02 14    A.      Yes.

11:32:04 15    Q.      And when did you start having those discussions with

11:32:07 16    them?

11:32:11 17    A.      Probably very early in Akoustis's life.          2015,

11:32:25 18    probably, 2014, maybe.

11:32:27 19    Q.      And what was the purpose of you reaching out and

11:32:30 20    discussing BAW technology with Akoustis?

11:32:36 21    A.      Well, they had made some claims in publications and

11:32:42 22    the web page that were not credible and they started

11:32:47 23    publishing some papers that were full of glaring errors, and

11:32:53 24    as a member of this field, I'm a very senior person, and I'm

11:33:00 25    part of an industry group and conference organizer in this
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11:33:06   1   field, I just didn't want them to publish papers full of

11:33:10   2   glaring errors, so I reached out to them to tell them, you

11:33:14   3   know, I think you have a few mistakes in your papers.

11:33:20   4   Q.      In fact, you offered to help Akoustis with evaluation

11:33:24   5   of its product, didn't you?

11:33:26   6   A.      That was at a later time.

11:33:28   7   Q.      At the time, but you did agree to, you offered to

11:33:32   8   help them evaluate their product and test their product for

11:33:35   9   them?

11:33:35 10    A.      Yeah, not just me, there was a group of people

11:33:39 11    involved in that.

11:33:39 12    Q.      And you say you started that in 2015.      Was this a

11:33:43 13    common practice of yours to speak to people at other BAW

11:33:46 14    companies and offer your assistance in helping to evaluate

11:33:50 15    their products?

11:33:51 16    A.      I don't see it as assistance, it was just a

11:33:54 17    conversation between scientists to make sure everybody

11:33:57 18    publishes rigorous scientific papers.

11:34:03 19    Q.      If I could show you --

11:34:09 20                 MR. LEMIEUX:   Your Honor, if I can have

11:34:12 21    permission to approach the witness?

11:34:14 22                 THE COURT:   You may.

11:34:24 23    BY MR. LEMIEUX:

11:34:24 24    Q.      And what I have handed the witness for identification

11:34:26 25    purposes is DTX 0005.
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11:34:44   1                  Do you recognize this document, Dr. Aigner?

11:34:49   2   A.     Yes.

11:34:50   3   Q.     I'm sorry, you have to answer.

11:34:51   4   A.     Okay.    Yes.

11:34:53   5   Q.     And does this reflect e-mail exchanges between you

11:34:58   6   and Dave Aichele at Akoustis in 2015?

11:35:02   7   A.     Yes, it does.

11:35:06   8   Q.     And if we could turn --

11:35:11   9                  MR. LEMIEUX:   If I could actually move this into

11:35:14 10    evidence, Your Honor.

11:35:14 11                   THE COURT:   Marked and received as 15.

11:35:17 12                   (Trial Exhibit No. 15 was admitted into

11:35:18 13    evidence.)

11:35:18 14    BY MR. LEMIEUX:

11:35:22 15    Q.     If you could turn to page 2 of this exhibit.           Is this

11:35:32 16    information that you had sent to Mr. Aichele at Akoustis?

11:35:45 17    A.     Yes.

11:35:47 18    Q.     And, in fact, if I could ask you to turn to page 3 of

11:35:50 19    this exhibit, down at the bottom, it appears to be an e-mail

11:35:54 20    from you to Mr. Aichele referring to a meeting that you had

11:35:59 21    had in Greensboro, North Carolina, is that right?

11:36:02 22    A.     That's correct, yes.

11:36:03 23    Q.     Do you recall that meeting?

11:36:05 24    A.     I remember it, yes.

11:36:06 25    Q.     Was that a meeting that you had offered to have with
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11:36:09   1   him or did he invite you?

11:36:12   2   A.      I think it was an invite that went out to multiple

11:36:15   3   people at Qorvo.

11:36:19   4   Q.      Have you seen actually that invite go out to anyone

11:36:24   5   else besides yourself?

11:36:26   6   A.      I don't recall the invite from nine years ago.

11:36:31   7   Q.      And then when you met with Mr. Aichele, did you meet

11:36:34   8   with anybody else from Qorvo at that meeting?

11:36:40   9   A.      I'm sure there were others.

11:36:42 10    Q.      Who do you believe accompanied you?

11:36:48 11    A.      I believe Todd Gillenwater, most likely Bob Sowell.

11:37:01 12    Q.      Is there any reason why in these e-mail

11:37:03 13    communications between yourself and Mr. Aichele then, they

11:37:07 14    are not copied on any of those communications?

11:37:10 15    A.      I think it was just a discussion on a certain point

11:37:17 16    here.

11:37:20 17    Q.      And as a result of this meeting, did you offer to

11:37:24 18    share certain information with Mr. Aichele regarding BAW

11:37:29 19    filter design?

11:37:31 20    A.      "Share information" is a big word.      What are you

11:37:35 21    referring to?

11:37:36 22    Q.      Well, did you offer to help evaluate their products

11:37:39 23    or to provide them with information you were aware of from

11:37:43 24    other conferences, et cetera?

11:37:44 25    A.      Yes, scientific papers, we share freely in this
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11:37:50   1   industry.

11:37:50   2   Q.     At this time in 2015, these were friendly

11:37:53   3   interactions between you and Mr. Aichele?

11:37:57   4   A.     I would say so, yes.

11:38:03   5   Q.     And did these interactions continue all the way up

11:38:08   6   through 2017?

11:38:11   7   A.     On and off, yes.

11:38:13   8   Q.     And at some point in time, did Qorvo consider

11:38:19   9   evaluating Akoustis's products for purposes of filling in

11:38:23 10    holes in its own product lineup?

11:38:26 11    A.     No.

11:38:28 12    Q.     And just so that we're clear, are you saying that

11:38:32 13    Qorvo never considered Akoustis or that they ultimately just

11:38:36 14    decided not to use Akoustis for their own reasons?

11:38:39 15    A.     I am not leading a business unit so I can't testify

11:38:44 16    to what was considered, but I saw no point doing that.

11:38:53 17    Q.     In addition to Mr. Aichele, did you also share

11:38:56 18    communications and information with Mr. Rohan Houlden?

11:39:00 19    A.     Yes, I did.

11:39:01 20    Q.     And Mr. Houlden was a former colleague at Qorvo,

11:39:06 21    correct?

11:39:08 22    A.     He was at Qorvo.

11:39:11 23    Q.     And he was at Qorvo at the same time you were, isn't

11:39:15 24    that right?

11:39:16 25    A.     We had an overlap, yes.
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11:39:18   1   Q.     And why did you -- why did you start to share

11:39:23   2   information or correspondence with Mr. Houlden even after he

11:39:27   3   left Qorvo and was no longer there?

11:39:30   4   A.     It was a friendly relationship.       I wanted to point

11:39:34   5   out to him and the other colleagues at Akoustis that there

11:39:39   6   are glaring errors in the papers, that was the only purpose.

11:39:42   7   Q.     And, in fact, you offered to help evaluate their

11:39:45   8   product for purposes of helping, or educate them as to the

11:39:50   9   problems they were having?

11:39:52 10    A.     At the time, the early discussions with Houlden were

11:39:57 11    not about products, they were not nearly at the stage where

11:40:01 12    they could have any product or product development.          They

11:40:03 13    had some early results and they published papers about them

11:40:08 14    that had glaring errors in them.

11:40:11 15    Q.     So at the time when you're discussing matters with

11:40:13 16    Mr. Houlden in 2018, that was about resonator design, wasn't

11:40:17 17    it?

11:40:18 18    A.     No.

11:40:18 19    Q.     It was not.

11:40:22 20                 MR. LEMIEUX:    Your Honor, if I can have

11:40:23 21    permission to please approach the witness?

11:40:26 22                 THE COURT:   You may.

11:40:40 23    BY MR. LEMIEUX:

11:40:45 24    Q.     I have handed the witness what is marked for

11:40:46 25    identification purposes as DTX 0011.
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11:40:53   1                  Dr. Aigner, do you recognize the contents of

11:40:56   2   this exhibit?

11:41:00   3   A.     I do.

11:41:02   4   Q.     And what do you believe is contained in this exhibit?

11:41:15   5   A.     It's a conversation related to the status of

11:41:21   6   Akoustis' development at the time.

11:41:26   7                  MR. LEMIEUX:   Your Honor, if I could move

11:41:27   8   exhibit DTX 0011 into evidence.

11:41:32   9                  THE COURT:   Marked and received as 16.

11:41:35 10                   (Trial Exhibit No. 16 was admitted into

11:41:36 11    evidence.)

11:41:36 12    BY MR. LEMIEUX:

11:41:40 13    Q.     This is now in December of 2016.       And it's an e-mail

11:41:46 14    in the middle here from you to Mr. Houlden.        And it says

11:41:52 15    subject regarding follow-up.     What type of information are

11:41:57 16    you providing to Mr. Houlden in this e-mail?

11:42:00 17    A.     I am providing him the general available knowledge in

11:42:04 18    the industry and in our field that apparently Akoustis

11:42:08 19    didn't have at the time.

11:42:10 20    Q.     And what kind of information is that more

11:42:13 21    specifically?

11:42:14 22    A.     The requirements of what a duplexer needs to be able

11:42:19 23    to do today.

11:42:20 24    Q.     And are you also explaining to him how testing a

11:42:25 25    single resonator for power handling can be tricky?
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11:42:28   1   A.     Yes.

11:42:30   2   Q.     And are you sharing with him techniques then for

11:42:33   3   attempting to test resonators?

11:42:36   4   A.     No, I don't.

11:42:39   5   Q.     And so the reasons that you're providing him with why

11:42:44   6   it's difficult, that is not something that you think would

11:42:47   7   be useful to someone?

11:42:47   8   A.     No, not necessarily.

11:42:50   9   Q.     And so even though you're listing them in your

11:42:54 10    document, you don't actually consider any of the information

11:42:57 11    contained in this exhibit to be useful?

11:42:59 12    A.     People of skill in the art would already know these

11:43:03 13    things but apparently Akoustis people didn't know it.

11:43:06 14    Q.     Had you been given Akoustis' resonator for testing or

11:43:10 15    evaluation purposes at this point?

11:43:12 16    A.     At this point, I don't believe so.

11:43:34 17                  MR. LEMIEUX:    Your Honor, if I could approach

11:43:35 18    the witness, please?

11:43:37 19                  THE COURT:   You may.

11:43:44 20    BY MR. LEMIEUX:

11:43:45 21    Q.     I would like to hand you, Dr. Aigner, something

11:43:47 22    that's been marked for identification purposes as DTX 0012.

11:44:11 23                  Dr. Aigner, do you recognize what's been put in

11:44:14 24    front of you as exhibit DTX 0012?

11:44:18 25    A.     Yes, I do.
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11:44:20   1   Q.     And is this an e-mail discussion between yourself and

11:44:29   2   Rama Vetury at Akoustis?

11:44:33   3   A.     Yes.

11:44:34   4                 MR. LEMIEUX:    Your Honor, if I could move

11:44:36   5   exhibit DTX 0012 into evidence.

11:44:38   6                 THE COURT:   Marked and received as 17.

11:44:40   7                 (Trial Exhibit No. 17 was admitted into

11:44:41   8   evidence.)

11:44:41   9   BY MR. LEMIEUX:

11:44:48 10    Q.     If I could direct your attention, Dr. Aigner, down to

11:44:51 11    the bottom of the first page.      Mr. Vetury seems to be asking

11:44:58 12    "Would you have time today to chat briefly for a few minutes

11:45:01 13    regarding resonator measurements?"

11:45:03 14    A.     I see that.

11:45:04 15    Q.     And did you subsequently have discussions with

11:45:09 16    Mr. Vetury regarding resonator measurements?

11:45:13 17    A.     I believe we had a call.

11:45:16 18    Q.     And that was to discuss resonator measurements?

11:45:21 19    A.     It was to discuss what they had published and what I

11:45:25 20    thought was wrong about it.

11:45:29 21    Q.     And, in fact, you shared with him some material that

11:45:32 22    you had gotten from another third-party source as well, is

11:45:36 23    that correct?

11:45:36 24    A.     That's all public information that comes from other

11:45:39 25    conferences I had attended.
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11:45:40   1   Q.     And so the point being is that he had questions for

11:45:44   2   you regarding resonator measurements, and you were willing

11:45:48   3   to talk to him about it, is that right?

11:45:50   4   A.     I was willing to talk to him about it, the paper they

11:45:54   5   had published had glaring errors, that I just couldn't

11:45:57   6   accept as reasonable scientific rigorous publication.

11:47:20   7   Q.     Dr. Aigner, would you agree with me that information

11:47:25   8   that is publicly available cannot constitute a trade secret?

11:47:34   9   A.     Agree.

11:47:37 10    Q.     So that information of Qorvo's that is publicly

11:47:41 11    available would not constitute a Qorvo trade secret.           Would

11:47:45 12    you agree with that?

11:47:47 13    A.     With the disclaimer that time when it becomes

11:47:51 14    publicly available matters.

11:47:53 15    Q.     But you would agree that once it becomes publicly

11:47:56 16    available, that information is no longer a trade secret; is

11:48:00 17    that right?

11:48:00 18    A.     That's correct.

11:48:00 19    Q.     Do you recall submitting a declaration in another

11:48:08 20    matter that contained Qorvo information regarding Qorvo's

11:48:17 21    BAW technology?

11:48:21 22    A.     I believe there were several declarations.          I'm not

11:48:25 23    sure which one you're referring to.

11:48:28 24                  MR. LEMIEUX:    If I could approach the witness,

11:48:29 25    then, Your Honor?
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11:48:30   1                 THE COURT:    You may.

11:48:31   2                 MR. DeFOSSE:    Your Honor, I believe this is the

11:48:32   3   document that we had the side-bar on.

11:48:34   4                 THE COURT:    That is correct.

11:48:36   5                 MR. DeFOSSE:    Would it be possible to approach,

11:48:38   6   Your Honor?

11:48:38   7                 THE COURT:    You may.

11:54:09   8                 (Side-bar discussion:)

11:54:09   9                 MR. DeFOSSE:    I thought we had a resolution on

11:54:09 10    this, Your Honor, that they would submit excerpts that were

11:54:09 11    pulled out, that's why I raised this, because it appeared

11:54:09 12    they were going to hand the entire document over.

11:54:09 13                  THE COURT:    That would be my understanding.

11:54:09 14                  MR. ELKINS:    So my suggestion is, Your Honor, I

11:54:09 15    believe that because this was filed in the District of

11:54:09 16    Arizona, it is available in the public record.

11:54:09 17                  THE COURT:    Sure.

11:54:09 18                  MR. ELKINS:    That we could ask and the Court

11:54:09 19    should provide judicial notice of a fact that these

11:54:09 20    documents were publicly filed --

11:54:09 21                  THE COURT:    That's not a problem.

11:54:09 22                  MR. ELKINS:    -- in court and then we could short

11:54:09 23    circuit it and we could just -- the thing is we want our

11:54:09 24    expert to be able to use it.

11:54:09 25                  THE COURT:    He can't use things that are not
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11:54:09   1   relevant to the case.

11:54:09   2                MR. ELKINS:    Correct.

11:54:09   3                THE COURT:    That's not going to help anybody.

11:54:09   4                MR. ELKINS:    No.   So we have chosen the things

11:54:09   5   on which our expert would rely.

11:54:09   6                THE COURT:    You clipped too much stuff.

11:54:09   7                MR. DeFOSSE:    I also haven't seen the clips.

11:54:09   8                MR. ELKINS:    It looks like a lot.

11:54:09   9                THE COURT:    It looks like almost the entire

11:54:09 10    document.   I don't think -- explain to me our situation.

11:54:09 11                 MR. ELKINS:    So, for example, Dr. Aigner

11:54:09 12    testified that trimming information is top secret.

11:54:09 13                 THE COURT:    And that doesn't mean the concept of

11:54:09 14    trimming is top secret?

11:54:09 15                 MR. ELKINS:    Correct.

11:54:09 16                 THE COURT:    You understand that?

11:54:09 17                 MR. ELKINS:    Correct.

11:54:09 18                 THE COURT:    It's specific data as to trimming

11:54:09 19    can be top secret, or very important.

11:54:09 20                 MR. ELKINS:    Correct.   But that data here was

11:54:09 21    supplied in this public --

11:54:09 22                 THE COURT:    Is that identical to something

11:54:09 23    that's been produced earlier?

11:54:09 24                 MR. ELKINS:    I don't know if the document is

11:54:09 25    identical, but the information in it is of the same caliber.
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11:54:09   1               THE COURT:    That's not the same thing.      That's

11:54:09   2   not the same thing because one, it's 401 and 403, it can be

11:54:09   3   very confusing because if it's something that looks kind of

11:54:09   4   like it, for example, if I said that the process and

11:54:09   5   temperature, if the process and temperature had to be

11:54:10   6   127 degrees celsius ten years ago and now we've determined

11:54:10   7   that that doesn't work, I'm only going to use 113 degrees,

11:54:10   8   that's different.   That's just different.      That's not the

11:54:10   9   same.

11:54:10 10                MR. ELKINS:    But if it contains the same process

11:54:10 11    steps, that were part of the material --

11:54:10 12                THE COURT:    I don't think -- I think we run the

11:54:10 13    risk here, the same process.    It's the precise data that is

11:54:10 14    critical.

11:54:10 15                MR. ELKINS:    That's not what he testified.

11:54:10 16                MR. LEMIEUX:    That's not what is claimed as

11:54:10 17    trade secret, Your Honor, they claimed the process.

11:54:10 18                MR. DeFOSSE:    I mean, I would disagree

11:54:10 19    obviously, we put up the algorithms that are on the slide.

11:54:10 20                MR. ELKINS:    But the algorithms were only a part

11:54:10 21    of what he said.    He didn't limit it to the algorithms, it

11:54:10 22    was a very broad statement.    And if it fits --

11:54:10 23                THE COURT:    I'll put it like this, if there are

11:54:10 24    material differences in these documents from the documents

11:54:10 25    being considered as trade secrets, then that poses a 403
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11:54:10   1   issue with using it.

11:54:10   2               MR. ELKINS:    Correct.

11:54:10   3               THE COURT:    And our job is not to confuse people

11:54:10   4   but to help them understand.    So I can't tell, I haven't had

11:54:10   5   a chance to look at it.

11:54:10   6               Let me ask counsel, where are we?

11:54:10   7               MR. DeFOSSE:     I had shared some concerns with

11:54:10   8   the Court about the volume that was there.       We had reached

11:54:10   9   agreement during the break that they would submit it with

11:54:10 10    just the pages that were going to be relevant.        I haven't

11:54:10 11    seen the pages and I don't know what's there.

11:54:10 12                THE COURT:    What we'll do is we'll allow you --

11:54:10 13    obviously I can't allow you to hand the document up.         We can

11:54:10 14    mark it as an ID document.    I will tell the jury that it's

11:54:10 15    evidence received for identification.       We'll receive the

11:54:10 16    information about it, and then portions of that document may

11:54:10 17    ultimately be received in evidence.     I don't know which

11:54:10 18    portions, I can't tell right now.

11:54:11 19                And also you made clear to me you weren't trying

11:54:11 20    to introduce that material through this witness at this time

11:54:11 21    anyway, you were going to introduce it with other witnesses.

11:54:11 22                MR. DeFOSSE:     That's perfectly acceptable.

11:54:11 23                MR. LEMIEUX:     Have him identify that he did sign

11:54:11 24    this.

11:54:11 25                THE COURT:    Absolutely.   Absolutely not a
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                                         Aigner - cross

11:54:11   1   problem at all.

11:54:11   2                (End of side-bar.)

11:54:16   3                THE COURT:    We're going to receive the document

11:54:18   4   for identification only.    I think it's going to be

11:54:20   5   identified by the witness, we'll see it and they're going to

11:54:23   6   ask questions about it.     But since we're receiving a larger

11:54:28   7   document, we can't tell at this time as to whether the

11:54:32   8   entire document is receivable by me or you as exhibits in

11:54:36   9   the case.   There are some issues there under the rules.        And

11:54:39 10    they're going to work on those issues.

11:54:41 11                 So sometimes we identify a document, we ask a

11:54:44 12    few questions about it to identify the document, and then we

11:54:50 13    will resolve the issue as to which portions of that document

11:54:53 14    are appropriately received into evidence at a later time.

11:54:57 15                 Counsel may proceed.

11:54:59 16                 MR. LEMIEUX:    If I may approach the witness,

11:55:01 17    then, Your Honor?

11:55:02 18                 THE COURT:    Certainly.   Absolutely.

11:55:11 19                 MR. LEMIEUX:    And what I have handed the witness

11:55:12 20    is marked for identification purposes as DTX 0034.

11:55:20 21                 THE COURT:    Yes.   That's marked and received for

11:55:22 22    identification only.   So it will have 18 for identification.

11:55:26 23    If it's never received, then you won't receive the full

11:55:31 24    document, but portions of it received, then we will see

11:55:34 25    those portions are that are received.
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                                           Aigner - cross

11:55:37   1                 (Trial Exhibit No. 18 was admitted into

11:55:41   2   evidence.)

11:55:41   3   BY MR. LEMIEUX:

11:55:42   4   Q.     Dr. Aigner, have you seen this document before?

11:55:45   5   A.     It appears so, yes.

11:55:48   6   Q.     What is it?

11:55:50   7   A.     It's a document related to a patent lawsuit in

11:55:55   8   Arizona back in 2011.

11:56:00   9   Q.     This document is a declaration that you signed under

11:56:04 10    penalty of perjury; is that correct?

11:56:06 11    A.     I did.

11:56:07 12    Q.     And that is your signature on page 2 of this

11:56:11 13    document?

11:56:11 14    A.     Yes.

11:56:13 15    Q.     And to the best of your knowledge, the information

11:56:19 16    that's contained in the declaration, it was true and

11:56:22 17    accurate at the time it was submitted?

11:56:26 18    A.     Yes.

11:56:39 19                  MR. LEMIEUX:    Assuming, Your Honor, that you

11:56:41 20    would not like to be getting further into the substance of

11:56:44 21    this declaration then, I would have no further questions.

11:56:47 22                  THE COURT:   I understood that it was really

11:56:49 23    something to be identified by the witness and there may be

11:56:51 24    questions later on from other witnesses, I think that's

11:56:54 25    correct.
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                                         Aigner - redirect

11:56:54   1   BY MR. LEMIEUX:

11:56:55   2   Q.       If I understand, then, Dr. Aigner, this document, the

11:56:58   3   information that's contained in it was true and accurate at

11:57:02   4   the time it was submitted in that other proceeding; is that

11:57:09   5   right?

11:57:09   6   A.       That's right.

11:57:14   7   Q.       And this document relates to BAW information?

11:57:20   8   A.       It does.

11:57:23   9                  MR. LEMIEUX:    No further questions, then, for

11:57:25 10    this witness, Your Honor.

11:57:26 11                   THE COURT:    All right.   Thanks very much.

11:57:28 12                   Redirect.

11:57:31 13                         REDIRECT EXAMINATION

11:57:32 14    BY MR. DeFOSSE:

11:57:36 15    Q.       Dr. Aigner, I'm going to be very brief.       When

11:57:39 16    Mr. Lemieux began his examination of you, he asked you a

11:57:43 17    question about the Infineon product development process, do

11:57:46 18    you recall that?

11:57:46 19    A.       I recall that.

11:57:47 20    Q.       Did Infineon make its product development process

11:57:50 21    publicly available?

11:57:51 22    A.       No.

11:57:52 23    Q.       Did Infineon create that process by taking a process

11:57:56 24    from its competitors and stripping off their labels?

11:57:59 25    A.       No, they did not.
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                                        Aigner - redirect

11:58:00   1   Q.     Does Qorvo provide its product development process to

11:58:04   2   its competitors?

11:58:05   3   A.     No.

11:58:08   4   Q.     Mr. Lemieux also asked you a few questions concerning

11:58:14   5   Exhibit 13.    And could I ask Mr. Buchbinder to pull that up,

11:58:19   6   which has been marked for identification as 1142.

11:58:25   7                 Dr. Aigner, do you recall the exhibit we are

11:58:35   8   looking at here?

11:58:36   9   A.     Yes.

11:58:36 10    Q.     If you look in the bottom right-hand corner, there is

11:58:40 11    a heading there that says Customer Outline Drawing.         Do you

11:58:44 12    see that?

11:58:45 13    A.     Yes, I see that.

11:58:46 14    Q.     What is the significance of a customer outline

11:58:49 15    drawing?

11:58:50 16    A.     It means that it's a customer specific, the drawing

11:58:55 17    came from a customer.

11:59:00 18                  MR. DeFOSSE:    Your Honor, may I approach?

11:59:01 19                  THE COURT:   You may.

11:59:11 20    BY MR. DeFOSSE:

11:59:19 21    Q.     Dr. Aigner, I have handed you what's been marked for

11:59:22 22    identification as PTX 1557.      Do you recognize this document?

11:59:34 23    A.     This is a nondisclosure agreement.

11:59:39 24    Q.     And who are the parties to this nondisclosure

11:59:42 25    agreement?
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                                        Aigner - redirect

11:59:44   1   A.     That would be Qorvo on one side and it is                  on

11:59:59   2   the other side.

12:00:00   3                 MR. DeFOSSE:    Your Honor, we would move into

12:00:02   4   evidence PTX 1557.

12:00:09   5                 THE COURT:   Marked and received as 19.

12:00:12   6                 (Trial Exhibit No. 19 was admitted into

12:00:14   7   evidence.)

12:00:14   8   BY MR. DeFOSSE:

12:00:14   9   Q.     Can you remind the jury, is                the company that

12:00:17 10    created or manufactured the custom parts?

12:00:21 11    A.     That's correct.

12:00:21 12    Q.     This is a nondisclosure agreement between Qorvo and

12:00:26 13           ?

12:00:26 14    A.     Yes.

12:00:27 15    Q.     If you could look at the second paragraph, the first

12:00:29 16    whereas clause.    Can you tell the jury what the purpose of

12:00:37 17    the nondisclosure agreement was with               ?

12:00:41 18    A.     We entered into a nondisclosure agreement generally

12:00:45 19    to be able to discuss things that are not to be disclosed

12:00:49 20    outside of this discussion on other companies or uninvolved

12:00:53 21    parties.    That's the case here.

12:00:59 22    Q.     I apologize, doctor?

12:01:00 23    A.     This particular case, it was about manufacture design

12:01:04 24    tests performance of RF interconnect systems, which is

12:01:08 25    connected with BAW.
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                                         Aigner - redirect

12:01:12   1   Q.      Dr. Aigner, Mr. Lemieux also asked you about the

12:01:18   2   differences between FBAR and SMR resonators, do you recall

12:01:24   3   that?

12:01:24   4   A.      Yes.

12:01:24   5   Q.      I believe that you testified previously the

12:01:27   6   difference is the presence of an air cavity in an FBAR

12:01:31   7   resonator as opposed to reflectors in an SMR resonator; is

12:01:35   8   that right?

12:01:35   9   A.      That's correct.

12:01:35 10    Q.      Do any of the trade secrets that Qorvo has accused

12:01:40 11    Akoustis of misappropriating in this case relate to the

12:01:43 12    reflector, the reflector portion of an SMR resonator?

12:01:47 13    A.      None apply to reflectors.

12:01:52 14    Q.      Mr. Lemieux also provided you with some

12:01:55 15    correspondence between yourself and employees at Akoustis,

12:01:57 16    do you recall that?

12:01:58 17    A.      Yes, I do.

12:01:59 18    Q.      And I believe you testified that you were attempting

12:02:01 19    to alert Akoustis of some errors in papers that it had

12:02:05 20    published, is that right?

12:02:06 21    A.      That's right.

12:02:07 22    Q.      Did you ever offer to provide Akoustis any trade

12:02:11 23    secrets?

12:02:11 24    A.      No, I did not.

12:02:12 25    Q.      At the time you were providing Akoustis with
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                                           Aigner - recross

12:02:16   1   assistance with their published papers, did you know that

12:02:19   2   Akoustis had taken any of Qorvo's trade secrets?

12:02:22   3   A.       I did not know that.

12:02:25   4                   MR. DeFOSSE:    That's all, Your Honor.     Thank

12:02:28   5   you.

12:02:28   6                   THE COURT:   All right.

12:02:29   7                   MR. LEMIEUX:    Your Honor, if I can have several

12:02:32   8   questions on recross?

12:02:34   9                   THE COURT:   There is under Rule 611 no such

12:02:36 10    thing.   I will allow you one question.        We'll see how one

12:02:45 11    question works.

12:02:46 12                        RECROSS-EXAMINATION

12:02:46 13    BY MR. LEMIEUX:

12:02:46 14    Q.       Dr. Aigner, Mr. DeFosse was just showing you again

12:02:52 15    the              drawing.

12:02:53 16    A.       Yes.

12:02:53 17    Q.       Is there anything in the nondisclosure agreement he

12:02:57 18    just had you look at that changes the fact that this is

12:02:59 19    still an              drawing and not a Qorvo drawing?

12:03:04 20    A.       It was probably placed on an                template for

12:03:10 21    manufacturing purposes.        It doesn't mean that it's not Qorvo

12:03:14 22    information.

12:03:18 23    Q.       So the question simply is this an                 drawing or

12:03:21 24    is this a Qorvo drawing?

12:03:22 25    A.       The label on it says              .
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                                         Aigner - recross

12:03:26   1   Q.        Thank you very much.

12:03:27   2   A.        It says Customer Outline Drawing.

12:03:30   3                  MR. LEMIEUX:   Thank you.

12:03:31   4                  THE COURT:   Thank you very much.    And we are

12:03:33   5   going to let you step down at this time.

12:03:39   6                  Who is our next witness going to be.

12:03:43   7                  MR. DeFOSSE:   Your Honor, our next witness will

12:03:50   8   be Anthony Testa.

12:03:50   9                  Your Honor, may I approach and take the

12:03:53 10    demonstrative, physical demonstratives?

12:03:54 11                   THE COURT:   You may.

12:03:55 12                   MR. DeFOSSE:   Thank you.

12:04:18 13                   THE COURT:   The witness should come forward.

12:04:21 14                   MS. AYERS:   Your Honor, Qorvo calls Anthony

12:04:25 15    Testa as its next witness.

12:04:26 16                   THE COURT:   If you'll come forward, raise your

12:04:28 17    right hand, the clerk will swear you in.

12:04:32 18                   COURT CLERK:   Please remain standing and raise

12:04:34 19    your right hand.    Please state and spell your name for the

12:04:38 20    record.

12:04:38 21                   THE WITNESS:   Anthony Testa.    A-N-T-H-O-N-Y,

12:04:42 22    T-E-S-T-A.

12:04:44 23                   ANTHONY TESTA, having been duly sworn, was

12:04:49 24    examined and testified as follows:

12:04:51 25                        DIRECT EXAMINATION
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                                         Testa - direct

12:04:51   1   BY MS. AYERS:

12:04:56   2   Q.     Good morning, Mr. Testa.     Can you please introduce

12:05:00   3   yourself to the jury.

12:05:00   4   A.     Good morning, my name is Anthony Testa.

12:05:02   5   Q.     Mr. Testa, sometimes it can be very difficult to hear

12:05:06   6   people in the courtroom.    If you could please speak into the

12:05:08   7   microphone so everybody can hear you, I would appreciate it.

12:05:12   8   A.     Absolutely.

12:05:13   9   Q.     Can you tell the jury where you currently work?

12:05:15 10    A.     Sure.    I work at Qorvo.

12:05:17 11    Q.     Can you provide the jury with a brief overview of

12:05:20 12    your educational background?

12:05:21 13    A.     After high school, I attended the United States

12:05:25 14    Military Academy at West Point.     I studied aerospace

12:05:27 15    engineering there.   Upon graduation I was commissioned as a

12:05:30 16    U.S. Army officer, spent five years in active duty.         After

12:05:35 17    that, I went to RF Micro Devices, which I continued my

12:05:41 18    education and had an MBA in global management in 2006.

12:05:44 19    Q.     And when did you first begin working at Qorvo?

12:05:47 20    A.     It was back in 1999.

12:05:49 21    Q.     Was Qorvo called Qorvo in 1999?

12:05:52 22    A.     It was not.   It was RF Micro Devices.

12:05:55 23    Q.     Did RF Micro Devices have a nickname?

12:05:58 24    A.     It did, it eventually became known as RFMD.

12:06:01 25    Q.     Can you remind the jury for a moment what the
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                                         Testa - direct

12:06:04   1   relationship is between RFMD and Qorvo?

12:06:06   2   A.     Sure.    In 2015, RFMD and TriQuint Semiconductor

12:06:13   3   merged together to create Qorvo.

12:06:14   4   Q.     What was your title when you first joined RFMD?

12:06:17   5   A.     I first joined as a sales engineer.

12:06:20   6   Q.     And are you still a sales engineer today?

12:06:22   7   A.     I am not.

12:06:23   8   Q.     Can you provide the jury with a brief overview of how

12:06:28   9   your role has changed since 1999?

12:06:30 10    A.     Sure.    As a sales engineer, I started focusing in

12:06:35 11    parts of Europe.   I eventually grew through the management

12:06:39 12    chain in sales and eventually led our entire sales force.

12:06:43 13    From there I moved to different business development roles

12:06:47 14    within Qorvo.   Eventually moving into business unit, which

12:06:50 15    was our connectivity business unit doing marketing and

12:06:53 16    product line management, from there I've recently been

12:06:56 17    leading our connectivity components unit as the general

12:07:00 18    manager.

12:07:00 19    Q.     And can you explain to the jury what the connectivity

12:07:05 20    components group does?

12:07:06 21    A.     Sure.    So connectivity components essentially is

12:07:09 22    focused on our Wi-Fi portion of the business, as well as

12:07:12 23    some of our general products in our internet type solutions,

12:07:17 24    so we have BAW filters and other front end solutions that we

12:07:21 25    provide into the space.
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                                             Testa - direct

12:07:22   1   Q.       And what type of products that consumers would use

12:07:26   2   that these BAW filters and products go into?

12:07:29   3   A.       Predominately in the Wi-Fi side, they go into your

12:07:34   4   WiFi routers that you have at home, either those you buy at

12:07:36   5   the store or those that get issued to you from the cable or

12:07:39   6   internet providers.       Also the Wi-Fi routers you would

12:07:43   7   connect into, whether in an airport or hotel or any public

12:07:47   8   space.

12:07:49   9   Q.       Do you know what type of BAW filters Akoustis sells?

12:07:52 10    A.       I do.

12:07:53 11    Q.       Okay.    And what type of filters does Akoustis sell?

12:07:57 12    A.       Those are FBAR.

12:07:59 13    Q.       Are you generally familiar, as the general manager in

12:08:03 14    charge of marketing and selling for Qorvo Wi-Fi filters,

12:08:08 15    what the SMR and BAW filter do?

12:08:14 16    A.       Yes.

12:08:14 17    Q.       From a marketing perspective, do customers you sell

12:08:20 18    BAW filters to care whether you are selling them a FBAR or

12:08:24 19    SMR?

12:08:24 20    A.       They do not, they focus on price, performance, size,

12:08:28 21    availability.

12:08:31 22    Q.       Can you explain to the jury how Qorvo determines what

12:08:34 23    customers it wants to sell to and which products it wants to

12:08:37 24    research, create, and sell?

12:08:39 25    A.       Sure.    There is a yearly process that we used to go
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                                         Testa - direct

12:08:43   1   through the business strategy from the entire group.

12:08:47   2   Through that it's pulling from experiences we have from all

12:08:51   3   the different product groups we have within Qorvo and it

12:08:55   4   simulates basically an answer of what products we want to

12:08:58   5   target and what customers we want to sell to, essentially

12:09:00   6   what business we want to be in.

12:09:02   7   Q.     And after Qorvo determines what business it wants to

12:09:05   8   be in, what does it do next in order to ultimately develop

12:09:11   9   and sell the products?

12:09:12 10    A.     Yeah, we would go through and make a funding

12:09:15 11    decision, so we would decide to actually invest into these

12:09:19 12    products, we would focus which targets we want to sell them

12:09:23 13    to, what the performance of those specific products and that

12:09:26 14    would give us back how much it's going to cost essentially

12:09:29 15    and how much we'll make back in business.

12:09:32 16    Q.     And generally speaking, can you explain to the jury

12:09:35 17    what role trade secrets play at Qorvo with respect to its

12:09:39 18    business plans, product road maps, and prototypes?

12:09:43 19    A.     Yeah, essentially all of that is trade secret, it is

12:09:46 20    our essentially go to market filing of our business plan.

12:09:51 21    So we are using all the different methodologies internal,

12:09:55 22    all the analysis we have done from the experience we have,

12:09:57 23    the on sight visits that we do through the customer regions,

12:10:02 24    and concrete this plan so it's absolutely secret in terms of

12:10:06 25    how we go to business.
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                                             Testa - direct

12:10:07   1   Q.       Do the employees that report to you receive training

12:10:10   2   on how to handle trade secrets?

12:10:12   3   A.       They do.    So as they join Qorvo, they sign an

12:10:16   4   agreement which shows that they will keep our information

12:10:20   5   proprietary, confidential, as they go through that, they'll

12:10:24   6   get a yearly update where they have to resign and review

12:10:27   7   that material.      And we also train them on ways to mark the

12:10:32   8   materials to show that they are confidential and

12:10:33   9   proprietary.

12:10:34 10    Q.       And Mr. Testa, I would like to talk to you today

12:10:39 11    about Qorvo's trade secrets in this case.           Did you assist in

12:10:42 12    the preparation of slides today, so that the jury can better

12:10:45 13    understand your testimony?

12:10:46 14    A.       I did.

12:10:46 15    Q.       Mr. Buchbinder, can you please display PDX 3.1.

12:10:52 16                    Mr. Testa, can you tell the jury what is shown

12:10:58 17    on this slide?

12:10:59 18    A.       Yes.    These are the eight trade secret groups that

12:11:03 19    Qorvo is claiming Akoustis took from Qorvo without

12:11:06 20    permission.

12:11:06 21    Q.       Do any of the trade secret groups shown in PDX 3.1

12:11:12 22    relate to the work that you are responsible for managing at

12:11:16 23    Qorvo?

12:11:16 24    A.       Yes, I'm responsible for groups one and group eight.

12:11:20 25    Q.       Mr. Testa, I would like to start by talking with you
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                                         Testa - direct

12:11:23   1   today about group 1.    Mr. Buchbinder, can you please display

12:11:29   2   PDX 3.2?

12:11:30   3                  Mr. Testa, we're going to go through each one of

12:11:34   4   these trade secrets in group 1.         But can you describe at a

12:11:38   5   high level what these trade secrets are?

12:11:40   6   A.     Yeah.    This is essentially deciding what base

12:11:44   7   businesses we will participate in, what customers we will

12:11:48   8   sell to, what those products need to perform to or achieve.

12:11:52   9   How much it will cost us to develop those solutions, and

12:11:55 10    then how much money we'll make back as a company.

12:12:00 11                   MS. AYERS:    Your Honor, may I approach the

12:12:01 12    witness to hand him the first three exhibits that relate to

12:12:04 13    this trade secret group?

12:12:06 14                   THE COURT:    You may.

12:12:38 15                   You may step forward.

12:12:42 16                   MR. CREMEN:   I have binders, Your Honor.

12:12:44 17                   THE COURT:    That's fine.

12:12:46 18                   You may say why don't I get the binders, you're

12:12:51 19    not going to look in the binders until they're called into

12:12:54 20    evidence, and it is second place, everybody needs to focus

12:12:57 21    on the testimony as it's given, and I hate to say it, the

12:13:00 22    binders seem to extract the focus, you'll have the exhibits

12:13:04 23    at the end of the case, absolutely, not a problem.

12:13:08 24    BY MS. AYERS:

12:13:12 25    Q.     Mr. Testa, do you recognize the document that has a
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                                           Testa - direct

12:13:15   1   label PTX 127?

12:13:17   2   A.     I do.

12:13:17   3   Q.     How do you recognize this document?

12:13:19   4   A.     I was responsible for parts of the analysis that's

12:13:23   5   included in this document.

12:13:24   6   Q.     Does this document reflect regularly conducted

12:13:28   7   analysis that Qorvo employees perform?

12:13:29   8   A.     It does.

12:13:30   9   Q.     And does Qorvo routinely keep and record the research

12:13:34 10    analysis that it performs as a part of its routine business

12:13:37 11    practices?

12:13:37 12    A.     It does.

12:13:38 13                   MS. AYERS:   Your Honor, I offer this document in

12:13:40 14    evidence.

12:13:40 15                   THE COURT:   Marked and received as the next

12:13:43 16    numbered document which should be 20.

12:13:46 17                   (Trial Exhibit No. 20 was admitted into

12:13:47 18    evidence.)

12:13:47 19    BY MS. AYERS:

12:13:50 20    Q.     Mr. Testa, could you please look at the document that

12:13:53 21    has the label PTX 0128.

12:13:57 22    A.     Yes.

12:13:58 23    Q.     Do you recognize this document?

12:14:00 24    A.     I do.

12:14:00 25    Q.     How do you recognize this document?
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12:14:03   1   A.     Myself and the team were responsible for pulling this

12:14:06   2   together.

12:14:06   3   Q.     And do you regularly record information that is

12:14:10   4   reflected in this document?

12:14:12   5   A.     I do.

12:14:13   6   Q.     Do you routinely keep and record internal product

12:14:17   7   strategies as a part of Qorvo's routine business practices?

12:14:21   8   A.     I do.

12:14:21   9                  MS. AYERS:   Your Honor, I offer this document

12:14:23 10    into evidence.

12:14:24 11                   THE COURT:   Marked and received as 21.

12:14:28 12                   (Trial Exhibit No. 21 was admitted into

12:14:29 13    evidence.)

12:14:29 14    BY MS. AYERS:

12:14:29 15    Q.     And last one, Mr. Testa.       Can you look at the

12:14:32 16    document that is labeled PTX 718?

12:14:35 17    A.     Yes.

12:14:35 18    Q.     Do you recognize this document?

12:14:36 19    A.     I do.

12:14:36 20    Q.     How do you recognize this document?

12:14:38 21    A.     My team created this document.

12:14:40 22    Q.     Okay.     And does Qorvo and its employees regularly

12:14:44 23    record the information that is contained in this document?

12:14:46 24    A.     Yes.

12:14:46 25    Q.     And does it routinely keep and record this
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12:14:49   1   information as a part of its routine business practices?

12:14:51   2   A.     Yes.

12:14:52   3                  MS. AYERS:   Your Honor, I offer this document

12:14:54   4   into evidence.

12:14:55   5                  THE COURT:   Marked and received as 22.

12:14:57   6                  (Trial Exhibit No. 22 was admitted into

12:14:59   7   evidence.)

12:14:59   8   BY MS. AYERS:

12:15:00   9   Q.     Mr. Testa, I would like -- first of all,

12:15:03 10    Mr. Buchbinder, could you please display PDX 3.3.

12:15:08 11                   Mr. Testa, could you explain to the jury what

12:15:12 12    information is shown on PDX 3.3?

12:15:15 13    A.     Yes.     These are the three documents just received.

12:15:18 14    And identified as containing trade secrets.

12:15:22 15    Q.     And I'm going to ask you some questions about each

12:15:25 16    one of these.    Mr. Buchbinder, if you could please display

12:15:29 17    PDX 3.4.

12:15:31 18                   I would like to start with the first document

12:15:36 19    which is Exhibit 20.     Mr. Testa, IDP market segment analysis

12:15:42 20    feels pretty complicated to me.       Can you explain to the jury

12:15:46 21    at a high level what this document is and why Qorvo performs

12:15:51 22    an IDP market analysis?

12:15:54 23    A.     Sure.     IDP stands for infrastructure and defense

12:15:59 24    product group, so it is the smaller of the two divisions

12:16:02 25    that were in Qorvo at this time.       It essentially is all the
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12:16:06   1   businesses outside of your cellular phone business.           So

12:16:09   2   within here we've got defense, wi-fi businesses, Bluetooth

12:16:15   3   type businesses, other connectivity type businesses that we

12:16:18   4   participate in.    This analysis goes through a review of all

12:16:21   5   the businesses that Qorvo participates in, looks at the

12:16:24   6   health of those businesses, are they growing, are they

12:16:28   7   declining, as well as the ability for Qorvo to create

12:16:32   8   products in those businesses.

12:16:33   9   Q.     Can you explain to the jury what the trade secret

12:16:36 10    information is that's contained in this document?

12:16:38 11    A.     Yeah, the entire analysis that's in here is

12:16:41 12    confidential to Qorvo.     It's our view of the business that

12:16:44 13    exists in the market, how we're going to invest and

12:16:48 14    participate in that business with customers and the types of

12:16:51 15    products and money we will make back from those businesses.

12:16:55 16    Q.     Is there anything on this report that indicates it

12:16:59 17    contains Qorvo's confidential and trade secret information?

12:17:01 18    A.     Yes.    On the footer of the document we state clearly

12:17:07 19    that it is confidential and proprietary information.

12:17:13 20    Q.     Mr. Testa, can you please identify for the jury where

12:17:16 21    in Exhibit 20 Qorvo analyzed its customers to determine how

12:17:21 22    to best spend its money on research and development?

12:17:29 23    A.     If we go to Akoustis page 197076.

12:17:36 24    Q.     Mr. Buchbinder, if you could please display

12:17:39 25    Exhibit 20, which is PTX 127, page 6.
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12:17:43   1                    Mr. Testa, there is a lot happening on this page

12:17:52   2   and I want to go ahead and breakdown the information for the

12:17:55   3   jury.    Can you please first explain to the jury what

12:17:59   4   information is shown in the first column entitled market

12:18:03   5   segment?

12:18:04   6   A.       Yeah, the market segment is basically just to capture

12:18:08   7   the different businesses that Qorvo is participating in and

12:18:12   8   these would be separate product lines within the overall

12:18:15   9   group.

12:18:16 10    Q.       And is there a particular market segment that you are

12:18:20 11    responsible for?

12:18:20 12    A.       Yeah.    The connectivity segments in this case were

12:18:24 13    covering the Wi-Fi, consumer premise equipment, and this is

12:18:28 14    again the Wi-Fi routers both at your home and in public

12:18:32 15    places, as well as some of these other connectivity markets

12:18:36 16    we talked about.

12:18:38 17    Q.       Is that the second line?

12:18:39 18    A.       That is correct.

12:18:40 19    Q.       In this market segment.

12:18:43 20                     Can you explain to the jury what SAM means?

12:18:47 21    A.       SAM is the Serviceable Available Market.       This is a

12:18:51 22    capture of how much money is available to buy the types of

12:18:55 23    products that we can develop for this space, so it's a

12:18:58 24    capture of the business we are going after.        And this would

12:19:01 25    show progressively in Qorvo's view do we think that market
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12:19:05   1   is growing or not, is it a healthy market.

12:19:08   2   Q.     Can you explain to the jury what type of information

12:19:11   3   is contained in the columns entitled market attractiveness?

12:19:16   4   A.     Yes.    So this is specific to that business that we've

12:19:19   5   identified in the market segment column.        And it's

12:19:22   6   highlighting again different size categories, the growth

12:19:26   7   rate, whether or not we believe this is an attractive area

12:19:30   8   for us to invest money and spend the products towards.

12:19:34   9   Q.     And what information is contained within the business

12:19:37 10    strength column?

12:19:38 11    A.     The business strength then is Qorvo's analysis on our

12:19:43 12    ability to actually create the right products for that

12:19:46 13    market that we can capture that business that's available

12:19:49 14    that we identified.

12:19:51 15    Q.     Why is some of the information on this page red, some

12:19:56 16    of it green, and some of it yellow?

12:19:58 17    A.     This is a sort of quick key map we would call it, or

12:20:02 18    a score card, which shows green is good, those are areas

12:20:07 19    where there is strength and ability for Qorvo to participate

12:20:10 20    in and strong, the yellow is intermediate, so there is

12:20:14 21    probably some risk there that we have identified, but it's

12:20:17 22    overcome-able.    The red would be clear areas of weakness

12:20:20 23    that we want to identify as we make these decisions.

12:20:24 24    Q.     How did Qorvo create this document?

12:20:26 25    A.     This is based on the years of participating in these
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12:20:29   1   market segments, communicating with customers, the business

12:20:33   2   we already have ongoing and understanding that growth rate,

12:20:36   3   as well as our analysis across all these different business

12:20:40   4   and product groups from the technologies that we had

12:20:43   5   internally.

12:20:43   6   Q.     Is the information that is shown on this page

12:20:46   7   publicly available or generally known to others in the

12:20:49   8   industry?

12:20:50   9   A.     Absolutely not.

12:20:51 10    Q.     Is the information that is displayed on this page

12:20:55 11    Qorvo's trade secret information?

12:20:56 12    A.     Yes.

12:20:57 13    Q.     Why does Qorvo keep secret its internal market

12:21:01 14    analysis and assessments?

12:21:03 15    A.     We certainly do not want to identify where we think

12:21:07 16    our strengths and weaknesses are in, as we compete in the

12:21:10 17    open market, and this is an actual conglomerate portfolio of

12:21:15 18    where we want to do business, so we do not want competitors

12:21:18 19    to know specifically what we think are strong areas that we

12:21:22 20    want to go after and grow and what are weak areas that we

12:21:25 21    want to get away from.

12:21:26 22    Q.     Is this sort of like a report card?

12:21:28 23    A.     It is, yes.

12:21:29 24    Q.     And in this report card, how does Qorvo assess itself

12:21:35 25    internally with respect to the Wi-Fi CPE market?
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12:21:38   1   A.     Yeah, in this case we see                               that

12:21:42   2   we predicted over a few years, we think

12:21:46   3                                                    We assess where

12:21:49   4   we were in relation with competitors from a Qorvo

12:21:52   5   perspective with our products and technology across all the

12:21:56   6   solutions that we deliver into this market, so it's beyond

12:21:59   7   Wi-Fi, it covers other portions of Qorvo.        And then we

12:22:03   8   scored ourself as a business strength as mostly green with a

12:22:07   9   few intermediate areas where we think are overcome able but

12:22:12 10    are weaker than our strengths.

12:22:14 11    Q.     And does this information include BAW filters?

12:22:17 12    A.     It does, as part of the products, yes.

12:22:21 13    Q.     Based on your experience, would the information in

12:22:24 14    this document be helpful to a company that is selling FBAR

12:22:28 15    filters?

12:22:28 16    A.     Yes, absolutely.

12:22:29 17    Q.     Can you explain to the jury why?

12:22:31 18    A.     Sure.   Again, these customers and these businesses

12:22:34 19    are looking for filter solutions.      They're currently buying

12:22:39 20    different technologies even outside of BAW, so this was

12:22:43 21    opportunities for any type of BAW to move in which brings a

12:22:47 22    benefit of size and size reduction into these different

12:22:51 23    customers.

12:22:51 24    Q.     Do you understand that a copy of Exhibit 20 was found

12:22:55 25    in Akoustis's files?
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12:22:56   1   A.     I do.

12:22:57   2   Q.     When did Qorvo first learn that Akoustis obtained a

12:23:00   3   copy of this Exhibit 20?

12:23:02   4   A.     After the lawsuit was filed.

12:23:04   5   Q.     Did Qorvo give permission to Akoustis to have

12:23:08   6   Exhibit 20?

12:23:09   7   A.     We did not.

12:23:10   8   Q.     Mr. Buchbinder, if you could please display PDX 3.5.

12:23:15   9                  Mr. Testa, can you please explain to the jury

12:23:22 10    what a CPE Wi-Fi E strategy review is, which has been

12:23:26 11    admitted into evidence as Exhibit 21?

12:23:28 12    A.     Yeah.    So CPE stands for consumer premise equipment.

12:23:33 13    Again, this is the consumer premise would be the Wi-Fi

12:23:37 14    routers in your home, whether you purchased it or were given

12:23:40 15    it from an internet provider.      The E stands for enterprise,

12:23:44 16    so this would be again the public space Wi-Fi routers that

12:23:47 17    you would connect to.     The E after Wi-Fi is short for

12:23:52 18    executive in this case, so this is an in depth review of

12:23:56 19    that second line in that report card that we just shared, so

12:24:00 20    this is a much more in depth view of this specific Wi-Fi

12:24:04 21    category.

12:24:04 22    Q.     And Mr. Testa, I think you testified earlier that you

12:24:07 23    are a general manager of Qorvo.       How many people directly or

12:24:11 24    indirectly report to you?

12:24:12 25    A.     I have 137 employees right now.
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12:24:14   1   Q.        And how many of your employees in your department

12:24:18   2   receive a copy of a report like the one that's been admitted

12:24:22   3   into evidence as Exhibit 21?

12:24:23   4   A.        This would be a handful of roughly five employees in

12:24:27   5   our business and marketing team.

12:24:29   6   Q.        Who at Qorvo receives this type of internal strategy

12:24:34   7   review?

12:24:34   8   A.        So we would present this to my boss, Eric Creviston,

12:24:39   9   as well as the executive staff, the CEO and his team in

12:24:43 10    making the decisions of where want to invest money going

12:24:47 11    forward.

12:24:47 12    Q.        Would Qorvo ever give the information in this CPE

12:24:50 13    Wi-Fi strategy review to a competitor?

12:24:53 14    A.        We would never give it this it a competitor.

12:24:55 15    Q.        Can you explain to the jury why you would not do

12:24:57 16    that?

12:24:58 17    A.        This has a very detailed plan in the specific market

12:25:01 18    of the types of products we have, where we're doing

12:25:04 19    business, where we see opportunity to create new products,

12:25:06 20    and the types of performances we need to deliver to be

12:25:11 21    successful in doing that on top of the financial strength,

12:25:14 22    what it will cost to do that and how much money we can earn

12:25:17 23    back after.

12:25:19 24    Q.        What are the trade secrets that are included in this

12:25:21 25    document?
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12:25:22   1   A.     So this would include again the trade secrets one

12:25:26   2   through, this goes in depth of the types of products, the

12:25:31   3   customers we're going to service, what performance is

12:25:34   4   required, and then the financial support it would cost and

12:25:38   5   how much money we could earn back.

12:25:40   6   Q.     Is there anything on this document that indicates

12:25:41   7   that it contains Qorvo's trade secret information?

12:25:44   8   A.     Yes.    The document is labeled with confidential and

12:25:48   9   proprietary.

12:25:50 10    Q.     And Mr. Testa, I think you testified that this

12:25:54 11    document shows where -- it identifies the customers that

12:25:59 12    Qorvo wants to sell to and how to successfully do that.           Can

12:26:03 13    you please tell the jury where inside of this document that

12:26:06 14    information is located?

12:26:16 15    A.     If you can go to Akoustis page 203696 and 697.

12:26:24 16    Q.     Mr. Buchbinder, if you could please display pages 7

12:26:28 17    and 8 of Exhibit 21.

12:26:30 18                   Mr. Testa, I would like for you to explain to

12:26:42 19    the jury what information is shown on these two pages,

12:26:45 20    starting with what a market target is?

12:26:48 21    A.     The market target breaks up the different groupings

12:26:51 22    for those Wi-Fi routers that we talked about, so the retail

12:26:55 23    grouping is where you would go to Best Buy or Wal-Mart and

12:26:59 24    buy a router for yourself.      The gateway is one that would be

12:27:02 25    delivered to you from an internet provider, whether it's
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12:27:06   1   fiber or cable or the others, and the enterprises are again

12:27:09   2   are ones that service these public areas or workplaces or

12:27:13   3   schools.    The ODM or strategic channels that are shown in

12:27:17   4   here are partners of those main customers that actually

12:27:20   5   build the equipment for them, so the manufacturing is not

12:27:24   6   always done by those customers.

12:27:26   7   Q.      And why does Qorvo track and analyze all of the

12:27:31   8   companies that are within the supply chain for the end

12:27:35   9   products that ultimately go to consumers and companies?

12:27:38 10    A.      Yeah, the second page is the channel analysis and

12:27:42 11    this is where we spend years developing and we upgrade every

12:27:46 12    year.   This really shows the flow of the main customers in

12:27:49 13    each of these areas that are buying the majority of those

12:27:52 14    products, our key targets, those are fairly publicly known

12:27:56 15    as you see brand names in the stores and see names on Wi-Fi

12:28:00 16    routers in public places.     But then we go into again how

12:28:04 17    much money they have available to spend on the types of

12:28:07 18    products that we can design, what the share split is between

12:28:11 19    us and some other competitors, who their key partners are

12:28:15 20    that would influence the type of products we need to design

12:28:18 21    and then who actually manufacturers those because sometimes

12:28:21 22    they'll give the decision capability to those secondary

12:28:24 23    manufacturers so we have to sell our product there as well.

12:28:27 24                  This is basically a roadmap of how to be

12:28:31 25    successful in selling these products into these markets.
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12:28:34   1   Q.     How much work did it take Qorvo to analyze and

12:28:40   2   synthesize all of this information?

12:28:41   3   A.     This specific, especially the channel analysis, this

12:28:44   4   is years of work of visiting customers and partners around

12:28:48   5   the globe and traveling and building this original model and

12:28:51   6   then again every year going through an analysis of updating

12:28:56   7   all the percentages that we see here.

12:28:58   8   Q.     Beyond how much time it took Qorvo to actually create

12:29:02   9   this report, is there any reason why Qorvo would not want

12:29:05 10    its competitor to have it?

12:29:06 11    A.     Yeah, this is basically handing over a clear path of

12:29:09 12    where the competitors should go focus after we identified

12:29:14 13    all the areas and partners that these customers use to go be

12:29:17 14    successful and compete against us.

12:29:19 15    Q.     Is the information on these two pages, publicly

12:29:23 16    available or generally known to others in the industry?

12:29:25 17    A.     Absolutely not.

12:29:26 18    Q.     Can you explain to the jury why this information is

12:29:29 19    not publicly known?

12:29:31 20    A.     Outside of the main customers that we identified that

12:29:33 21    do show up in public records or just in common as you see

12:29:37 22    them in stores or from procedures, the analysis, the

12:29:40 23    dollars, the percentages and how they're partnered and who

12:29:45 24    they use, that's all proprietary, that's not a market or

12:29:50 25    annual type of reports.
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12:29:50   1   Q.     Why does Qorvo keep this information secret?

12:29:53   2   A.     This was our go to market plan, a successful plan to

12:29:57   3   go build this business and create a business for Qorvo, so

12:30:00   4   we would keep this trade secret.

12:30:04   5   Q.     Mr. Testa, does this exhibit also include

12:30:07   6   confidential or trade secret information about the type of

12:30:11   7   products Qorvo was developing or planning to develop?

12:30:14   8   A.     Yes.

12:30:15   9   Q.     Can you please tell the jury where they can find that

12:30:18 10    in Exhibit 21?

12:30:23 11    A.     If we go to page Akoustis-203703.

12:30:34 12    Q.     Can you tell the jury what kind of information is

12:30:37 13    included on this page?

12:30:39 14    A.     This is a snapshot report card of the types of

12:30:43 15    products that Qorvo is currently developing and shipping to

12:30:48 16    these customers in these different segmentations that they

12:30:51 17    have themselves or the products that they offer.          It goes

12:30:54 18    through the types of products, the level of denigration that

12:30:58 19    we have, and then certainly you can see a split between the

12:31:01 20    2.5-gigahertz and 5-gigahertz, those are the two main

12:31:05 21    frequency bands that Wi-Fi operates on.

12:31:07 22    Q.     And are BAW filter information included on this page?

12:31:10 23    A.     Yes, the bottom row is our filter view, so we looked

12:31:14 24    at the available market that we can potentially earn in that

12:31:19 25    space and then different type of filters and whether or not
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12:31:22   1   Qorvo participating there.

12:31:23   2   Q.      If a product is green on this page, what does that

12:31:26   3   mean?

12:31:26   4   A.      That means it's in preproduction or production state,

12:31:29   5   so at that point we're engaged heavily with customers and

12:31:33   6   it's either already public or very close to release to the

12:31:36   7   open market.

12:31:37   8   Q.      If a problem is yellow on this page, what does that

12:31:42   9   mean?

12:31:42 10    A.      That means we have made the decision to spend money

12:31:45 11    and invest and create this product, that can be early

12:31:48 12    stages, early on doing the paper evaluations and choosing

12:31:52 13    the product we want to do to choosing prototypes of this

12:31:56 14    material.

12:31:56 15    Q.      Does Qorvo publicly disclose when its products are in

12:32:00 16    development?

12:32:00 17    A.      We do not.

12:32:00 18    Q.      Can you explain to the jury why you do not disclose

12:32:03 19    that information publicly?

12:32:04 20    A.      It would be projecting again what our next solution

12:32:07 21    are, and give competitors an opportunity to plan how they

12:32:11 22    would compete against those in the next phase, so we keep

12:32:14 23    that to customers that we sample and partner with and that

12:32:17 24    is under secrecy that we work with.

12:32:21 25    Q.      What is the information in red mean?
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12:32:24   1   A.     Red is identifying the basic portfolio, the full

12:32:28   2   types of solutions we want to have but that we haven't

12:32:31   3   funded yet, we haven't made a decision to spend money to

12:32:35   4   create these or we don't have the money yet available to

12:32:38   5   create these so they would be staged out in time.

12:32:41   6   Q.     Does Qorvo publicly disclose when it has gaps in its

12:32:45   7   product development life, like for the products it's

12:32:48   8   selling?

12:32:48   9   A.     No.

12:32:48 10    Q.     Why not?

12:32:49 11    A.     That would be a clear indication to competitors

12:32:51 12    that's an area for them to invest and compete against us.

12:32:55 13    Q.     Can a competitor go to Qorvo.com and determine what

12:33:01 14    types of gaps Qorvo has in its product offerings looking at

12:33:05 15    the publicly available information on your website?

12:33:08 16    A.     They can only see the publicly released products, the

12:33:12 17    products that are in the market.      They would have no

12:33:15 18    visibility from that website of what we're developing or

12:33:18 19    what we want to develop into these spaces.

12:33:21 20    Q.     Is the information on Exhibit 21 that is presently

12:33:28 21    shown on the screen specific to a single product?

12:33:31 22    A.     It is not.

12:33:33 23    Q.     Based on your experience, would the information in

12:33:37 24    this document be helpful to the company that is selling FBAR

12:33:40 25    filters?
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12:33:40   1   A.     Yes, that bottom row would be definitely interesting.

12:33:43   2   Q.     Do you understand that a copy of this executive level

12:33:47   3   strategy review was found in Akoustis's files?

12:33:50   4   A.     I do.

12:33:50   5   Q.     When did you become aware that Akoustis obtained a

12:33:53   6   copy of Exhibit 21?

12:33:55   7   A.     After the lawsuit was initiated.

12:33:57   8   Q.     Did Qorvo give its permission for Akoustis to have

12:34:00   9   Exhibit 21?

12:34:01 10    A.     We did not.

12:34:02 11    Q.     Mr. Buchbinder, could you please display PDX 3.5.

12:34:12 12                   Mr. Testa, can you please explain to the jury

12:34:15 13    what a statement of work is?

12:34:17 14    A.     Yes.    So this is after we have made a decision in the

12:34:21 15    types of products we want to develop, this would be the

12:34:24 16    first document that we would create from the marketing and

12:34:27 17    business teams guiding the organization on what the

12:34:31 18    requirements are and giving the engineers an idea of what's

12:34:34 19    required to create this as well as the financial's and

12:34:38 20    spending it would take to build it, and the money we can

12:34:42 21    potentially make back if we're successful with it.

12:34:45 22    Q.     Is the information in Qorvo's presentation trade

12:34:50 23    secrets to Qorvo?

12:34:50 24    A.     Yes.

12:34:51 25    Q.     Can you explain to the jury why?
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12:34:52   1   A.        This is that early development that hasn't even

12:34:55   2   started from an engineering spending at this time, this is

12:34:58   3   concept work that we are considering, so it is secret

12:35:02   4   concept work for Qorvo.

12:35:03   5   Q.        Mr. Testa, can you explain to the jury what the

12:35:06   6   little X's mean in the black box that is shown on this

12:35:09   7   screen?

12:35:10   8   A.        Yes.    So this is identifying the part number would be

12:35:14   9   carried there and if there is X's, it's still preliminary,

12:35:18 10    we haven't even identified a formal part number for this.

12:35:21 11    Q.        Does Qorvo publicly disclose information about the

12:35:24 12    performance of its products before it is publicly sold?

12:35:27 13    A.        We do not.

12:35:28 14    Q.        Why not?

12:35:30 15    A.        Again, it would just give indication publicly to our

12:35:33 16    competitors of what we're working towards and where we're

12:35:37 17    trying to differentiate as a company.

12:35:39 18    Q.        Is there anything on this document that indicates

12:35:41 19    that it contains Qorvo's confidential proprietary and trade

12:35:45 20    secret information?

12:35:46 21    A.        Yes, the same footer that shows it as proprietary and

12:35:50 22    confidential.

12:35:52 23    Q.        Mr. Testa, can you please tell the jury where

12:35:57 24    information relating to Qorvo's product specifications of

12:36:03 25    performance is found in this document?
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                                           Testa - direct

12:36:10   1   A.     If you turn to Akoustis page 115979.

12:36:17   2   Q.     Mr. Testa, can you explain to the jury what

12:36:19   3   information is found in the left-hand column of this page

12:36:24   4   under electrical specifications?

12:36:27   5   A.     These are the core features that the customers are

12:36:29   6   looking at specific to this filter product.         So you can

12:36:32   7   consider if you were buying a computer the size of the hard

12:36:35   8   drive, the speed of the processor, the graphics that are

12:36:39   9   capable.

12:36:40 10    Q.     And can you tell the jury what information is shown

12:36:43 11    under specifications?

12:36:44 12    A.     Yeah.    These are specifications from a currently

12:36:48 13    public filter that's selling into this market, this is not a

12:36:52 14    BAW filter, it's a different type of filter that was

12:36:54 15    actively being used at this time, and how they performed to

12:36:58 16    those key features.

12:36:59 17    Q.     And can you explain to the jury what information is

12:37:01 18    shown in the third column?

12:37:03 19    A.     Yep.    The third column is just a preliminary target

12:37:07 20    that we're essentially assessing our technology with a BAW

12:37:10 21    filter against this existing technology in the market and do

12:37:13 22    we think we can compete, are we in the family with the

12:37:17 23    specifications, and the difference in why BAW would be

12:37:21 24    important here beyond some of the very slight differences in

12:37:26 25    performance, is the fact that this could be ten times
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12:37:30   1   smaller than what the current solutions are selling, and as

12:37:34   2   Wi-Fi is moving into a mesh network, you have multiple Wi-Fi

12:37:39   3   routers in the home at times, the customers want them as

12:37:43   4   small as possible so they're just not big eyesores.

12:37:46   5   Q.       How does Qorvo determine what product features and

12:37:49   6   performance specifications to target in its WiFi BAW

12:37:53   7   filters?

12:37:53   8   A.       So this is an analysis that goes through our

12:37:56   9   engagement across the market, so multiple customers, as well

12:38:00 10    as looking internally to Qorvo's technology and our

12:38:04 11    processes, what do we think we're able to do, why can we

12:38:07 12    compete and then more importantly where do want to

12:38:10 13    differentiate to stand out to customers to be successful.

12:38:13 14    Q.       Is there anything else in this document, Mr. Testa,

12:38:18 15    that is highly confidential, proprietary and trade secret

12:38:23 16    information to Qorvo?

12:38:30 17    A.       Specifically on page Akoustis-115983.

12:38:39 18    Q.       Mr. Testa, can you explain to the jury what

12:38:43 19    information on this page is proprietary and trade secret to

12:38:48 20    Qorvo?

12:38:48 21    A.       Yeah, there is, of course, some of the big customer

12:38:51 22    names that we talked about that are more public and

12:38:54 23    understood.    But this starts going into the specifics of the

12:38:57 24    financials, what Qorvo's cost would be to manufacture these

12:39:01 25    filters, how much we would sell them for, that ASP, average
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12:39:05   1   selling price, so that would be the sale price that we will

12:39:09   2   sell to our customers and how much money we think we can

12:39:12   3   make over a certain period.    This cost basis and what we

12:39:17   4   show here is based on the fact that at this time Qorvo is

12:39:20   5   selling about a billion BAW filters a year into the market.

12:39:25   6   We were an industry leader in BAW filters.       In these

12:39:28   7   markets, which are much smaller than the core markets in the

12:39:32   8   cell phones, we're able to leverage that as an organization

12:39:35   9   to bring that value and creation here.

12:39:38 10    Q.     Why doesn't Qorvo want its competitors to know how

12:39:41 11    much it costs Qorvo internally to make its products?

12:39:45 12    A.     That could absolutely impact how competitors would

12:39:48 13    price the product if they were trying to under cut us, if

12:39:51 14    they were trying to compare their capability to even

12:39:54 15    participate in this market, so it would be extremely

12:39:58 16    confidential information for the organization.

12:39:59 17    Q.     Based on your experience, would the information in

12:40:02 18    this document be helpful to a company that sells FBAR

12:40:06 19    filters?

12:40:06 20    A.     Absolutely.

12:40:10 21    Q.     Do you understand that a copy of this statement of

12:40:14 22    work at Exhibit 22 was found in Akoustis's files?

12:40:18 23    A.     I do.

12:40:18 24    Q.     When did Qorvo first learn that Akoustis obtained a

12:40:22 25    copy of Exhibit 22?
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12:40:24   1   A.     After the lawsuit was initiated.

12:40:27   2   Q.     Did Qorvo give its permission for Akoustis to have

12:40:30   3   Exhibit 22?

12:40:30   4   A.     We did not.

12:40:32   5                  MS. AYERS:   Your Honor, I'm about to move on to

12:40:34   6   the next trade secret group, I'm happy to do that, or if

12:40:38   7   this is a good point and time to break for lunch, I'm happy

12:40:41   8   to stop now.

12:40:43   9                  THE COURT:   We'll stop right at quarter to 1:00.

12:40:51 10    BY MS. AYERS:

12:40:52 11    Q.     Mr. Buchbinder, can you please display PDX 3.7.

12:40:56 12                   Mr. Testa, can you describe at a high level the

12:41:02 13    nature of the trade secrets that are contained in group 8?

12:41:05 14    A.     Yes.     At a high level this will go through the next

12:41:08 15    step after all the deep analysis on the markets and the

12:41:12 16    businesses that we want to participate in.         This will show

12:41:15 17    the kind of products we want to develop so it will be a

12:41:18 18    roadmap of the different instances and products we would

12:41:21 19    spend money on as well as moving into the phase of

12:41:24 20    development where we actually have prototypes or early

12:41:27 21    samples that we would deliver to our partners and customers.

12:41:32 22                   MS. AYERS:   Your Honor, may I approach to hand

12:41:33 23    the witness the next four exhibits that are in this trade

12:41:37 24    secret group?

12:41:37 25                   THE COURT:   You may.
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                                      #: 40143                               500
                                         Testa - direct

12:42:01   1   BY MS. AYERS:

12:42:14   2   Q.     Mr. Testa, I would like for to you look at the four

12:42:17   3   documents that I just handed you which have reference labels

12:42:20   4   of PTX 528, PTX 529, PTX 566 and PTX 638.        Do you recognize

12:42:28   5   these four documents?

12:42:29   6   A.     I do.

12:42:30   7   Q.     Can you explain what they are?

12:42:33   8   A.     Sure.    These are product data sheets that my team

12:42:36   9   would put together.    So this is basically explaining what

12:42:39 10    the product is, all the features, performance

12:42:42 11    characteristics that we then go to sale.

12:42:46 12    Q.     Does Qorvo routinely keep and report information

12:42:50 13    about its products in data sheets?

12:42:51 14    A.     We do.

12:42:52 15    Q.     As a part of its routine base practices?

12:42:55 16    A.     Yes, absolutely.

12:42:56 17                   MS. AYERS:   Your Honor, I offer into evidence

12:42:57 18    the documents that have reference numbers PTX 528, PTX 529,

12:43:04 19    PTX 566 and PTX 638.

12:43:08 20                   THE COURT:   Separately marked?

12:43:11 21                   MS. AYERS:   We should separately mark.

12:43:12 22                   THE COURT:   23, 24, 25, and 26, separately

12:43:16 23    marked and received as exhibits.

12:43:17 24                   (Trial Exhibit Nos. 23, 24, 25, and 26 were

12:43:18 25    admitted into evidence.)
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                                             Testa - direct

12:43:18   1                   MS. AYERS:    Your Honor, may I approach the

12:43:42   2   witness to hand the witness the next two exhibits in this

12:43:45   3   group?

12:43:46   4                    THE COURT:   You may.

12:44:04   5   BY MS. AYERS:

12:44:07   6   Q.       Mr. Testa, can you please look at the document that

12:44:09   7   is labeled PTX 569?

12:44:12   8   A.       Yes.

12:44:13   9   Q.       And can you tell me if you recognize this document?

12:44:17 10    A.       I do.

12:44:18 11    Q.       How do you recognize this document?

12:44:20 12    A.       My marketing people put this document together.

12:44:23 13    Q.       Does this document reflect regularly conducted

12:44:26 14    marketing analysis decisions that Qorvo employees performed?

12:44:29 15    A.       Yes.

12:44:29 16    Q.       Does Qorvo routinely keep and record its marketing

12:44:33 17    analysis as a part of its routine business practice?

12:44:36 18    A.       Yes.

12:44:38 19                     MS. AYERS:   Your Honor, I offer PTX 569 into

12:44:41 20    evidence.

12:44:41 21                     THE COURT:   Marked and received as 27.

12:44:45 22                     (Trial Exhibit No. 27 was admitted into

12:44:46 23    evidence.)

12:44:46 24    BY MS. AYERS:

12:44:48 25    Q.       Mr. Testa, I would like for you to look at the
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                                             Testa - direct

12:44:50   1   document that is labeled PTX 509.

12:44:57   2   A.       Yes.

12:44:57   3   Q.       Do you recognize this document?

12:44:58   4   A.       I do.

12:44:59   5   Q.       How do you recognize this document?

12:45:01   6   A.       This is an automotive analysis simulation for a BAW

12:45:06   7   filter to be developed.

12:45:08   8   Q.       Does this document reflect regular conducted analysis

12:45:13   9   of automotive filters Qorvo performs as a part of its

12:45:16 10    routine business practices?

12:45:17 11    A.       It does.

12:45:18 12                     MS. AYERS:   Your Honor, I offer the document

12:45:20 13    that is labeled PTX 509 into evidence.

12:45:23 14                     THE COURT:   Marked and received as 28.

12:45:25 15                     (Trial Exhibit No. 28 was admitted into

12:45:25 16    evidence.)

12:45:25 17    BY MS. AYERS:

12:45:28 18    Q.       Mr. Testa, I would like to go back to the very first

12:45:31 19    document that I handed you.        Which is PTX -- which is now

12:45:40 20    labeled Exhibit 20 and it has a reference number of PTX 528.

12:45:44 21                     First, Mr. Buchbinder --

12:45:46 22                     THE COURT:   Exhibit 23, is that right?      We'll

12:45:53 23    check.

12:45:54 24                     MS. AYERS:   You are correct, Your Honor.

12:45:55 25                     THE COURT:   Thank you.
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                                        #: 40146                               503
                                           Testa - direct

12:45:57   1                  MS. AYERS:   My apologies.

12:46:00   2   BY MS. AYERS:

12:46:00   3   Q.     Mr. Buchbinder, could you please display PDX 3.9.

12:46:05   4                  Mr. Testa, can you please explain to the jury

12:46:23   5   what information is shown on PDX 3.9?

12:46:27   6   A.     These are four data sheets for four separate products

12:46:31   7   that are preliminary in nature where we are creating the

12:46:35   8   target specifications that we will deliver to our customers

12:46:38   9   in the market.

12:46:38 10    Q.     Is information contained in preliminary data sheets

12:46:42 11    trade secret to Qorvo?

12:46:43 12    A.     Yes.

12:46:44 13    Q.     Can you explain to the jury why?

12:46:45 14    A.     Yes, this is again the preliminary targets that we

12:46:49 15    are going to develop towards to compete in this space and

12:46:53 16    within so we would keep this internal.

12:46:55 17    Q.     Mr. Testa, I would like to discuss the document that

12:46:57 18    is labeled PTX 23 with you.

12:47:01 19    A.     Okay.

12:47:01 20    Q.     Could you please identify for the jury where Qorvo

12:47:06 21    confidential data sheets contained information about the

12:47:09 22    features that Qorvo is anticipating releasing the product?

12:47:13 23    A.     Yes.     Specifically in this data sheet it would be

12:47:17 24    Akoustis-146976.

12:47:20 25    Q.     Mr. Buchbinder, could you please display PTX 0528,
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                                              Testa - direct

12:47:26   1   page 2.

12:47:27   2                    Can you please explain to the jury what they are

12:47:30   3   seeing?

12:47:30   4   A.        Yes.    This is a much more detailed feature list again

12:47:34   5   of what the product will do, a broader detail that would

12:47:40   6   certainly not be public at this time for a preliminary

12:47:44   7   product.    So we use this document early in preliminary stage

12:47:48   8   to engage our partners and our customers to get feedback

12:47:53   9   before times we even spend money to start building and

12:47:57 10    engineering prototype and product, this is a tool that helps

12:48:00 11    us get reassurance, if you will, on targeting the right

12:48:04 12    performance.

12:48:05 13    Q.        If Qorvo uses this document in connection with its

12:48:08 14    partners and customers, how is this document and the

12:48:11 15    information contained within it a trade secret to Qorvo?

12:48:14 16    A.        Yeah, so before we would give a preliminary data

12:48:18 17    sheet or a prototype sample to a customer, we had a

12:48:22 18    nondisclosure agreement that would be signed.            So the

12:48:24 19    customer has to agree with us to treat that confidential, to

12:48:28 20    not share that information with any third parties so they

12:48:31 21    understand this is just our tool with them to get feedback

12:48:34 22    and try to get them the best product we can.

12:48:37 23    Q.        Why doesn't Qorvo wants its competitors to know what

12:48:41 24    it is targeting with respect to its products before those

12:48:44 25    products are publicly released?
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12:48:46   1   A.        This would create an unfair competitive advantage

12:48:50   2   where they would know what we're specifically doing, not so

12:48:53   3   much that we are creating a filter for this market, but what

12:48:56   4   are the specific performance features that we are leveraging

12:48:59   5   on, just like anything, it's very hard to have the best car,

12:49:03   6   the fastest car, the cheapest car all be in one product, we

12:49:07   7   have to choose where we want to differentiate design for our

12:49:11   8   customers and so this is the tool that we use.

12:49:14   9                  THE COURT:   If we want to take our lunch break,

12:49:18 10    this is a forty-five-minute lunch break.        I know you all

12:49:21 11    understand that we really need to stay on a strict schedule

12:49:24 12    if we want to complete the project, so of course everybody

12:49:29 13    understands.

12:49:30 14                   Don't discuss the case among yourself.       Don't

12:49:32 15    let anybody talk to you.      Do keep an open mind.      We have a

12:49:36 16    long way to go.    We're making good progress.       We'll excuse

12:49:40 17    you at this time for lunch.      I'm going to stay here for just

12:49:44 18    a couple minutes, but you are excused at this time.

12:49:47 19                   MS. AYERS:   Thank you, Your Honor.

12:49:53 20                   (Jury exiting the courtroom at 12:49 p.m.)

12:50:08 21                   THE COURT:   Everybody can be seated for just a

12:50:11 22    moment.    The witness, the testimony you have given, they

12:50:14 23    can't go back and go over that.       Things are coming up, of

12:50:19 24    course, the lawyers would -- but we will preclude you from

12:50:34 25    being able to go back, don't ask them.
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12:50:39   1                THE WITNESS:    Understand.

12:50:40   2                THE COURT:   We are going to let you be excused

12:50:42   3   at this time.   I'm going to check with lawyers at this

12:50:45   4   moment here, and we have preliminary time lines here.         You

12:50:57   5   will be excused.

12:50:58   6                THE WITNESS:    Thank you.

12:50:59   7                THE COURT:   Anybody want to know the time?

12:51:01   8                MS. AYERS:   I do.

12:51:02   9                COURT CLERK:    I can have a discussion.

12:51:04 10                 THE COURT:   I need to know the time first.       I

12:51:08 11    may not agree with you.     I'm probably going to agree with

12:51:13 12    you.

12:51:23 13                 I know there is some work to be done on the

12:51:25 14    documents that were initially presented and of course we'll

12:51:28 15    try to do that as soon as possible.       I think we're making

12:51:33 16    progress.   With this witness, how much time do we have,

12:51:35 17    another thirty minutes?

12:51:37 18                 MS. AYERS:   Hopefully less than that, Your

12:51:38 19    Honor.

12:51:38 20                 THE COURT:   Okay.   That just helps counsel

12:51:41 21    opposite to know when to be ready to go.

12:51:44 22                 MS. AYERS:   Of course.

12:51:44 23                 THE COURT:   I want to confirm exactly who will

12:51:46 24    be the next witnesses in the case, from the plaintiff's

12:51:49 25    point of view, I know you have given us a list already, I
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                                          Testa - direct

12:51:52   1   want to make sure I know exactly where we are at for the

12:51:55   2   rest of the day and at the end of the day we'll check for

12:51:58   3   tomorrow.

12:51:58   4                  MS. AYERS:   Your Honor, Qorvo's next witness is

12:52:03   5   Gernot Fattinger.

12:52:03   6                  THE COURT:   Exactly.   After that?

12:52:04   7                  MS. AYERS:   After that we will be calling an

12:52:08   8   Akoustis witness by videotape deposition.

12:52:11   9                  THE COURT:   Who will that be?

12:52:12 10                   MS. AYERS:   It's Hodge.   You have already

12:52:15 11    looked -- it's Mr. Hodge, Your Honor.

12:52:17 12                   THE COURT:   Okay.   And then after that?

12:52:19 13                   MS. AYERS:   After that is Mr. Houlden, Your

12:52:22 14    Honor.

12:52:22 15                   THE COURT:   Okay.   Now you should have all of

12:52:24 16    the rulings in connection with those.        We filed them this

12:52:30 17    morning, is that correct?

12:52:31 18                   MS. AYERS:   That's correct, Your Honor, and we

12:52:33 19    are working hard to cut the videotape deposition of

12:52:36 20    Mr. Houlden.

12:52:36 21                   THE COURT:   Okay.   So that should take care of

12:52:38 22    that.    After Houlden, Houlden will take quite a bit of time.

12:52:43 23    How long is that going to take now?

12:52:44 24                   MS. AYERS:   I think the current run time for

12:52:47 25    both parties is three hours for Mr. Houlden.         It was three
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12:52:50   1   hours before we received Your Honor's rulings, and it will

12:52:54   2   be slightly less than three hours based on Your Honor's

12:52:56   3   rulings.

12:52:57   4                  THE COURT:    Who is after Houlden?

12:52:59   5                  MS. AYERS:    After Mr Houlden is one of Qorvo's

12:53:03   6   expert witnesses, Mr. Faulkner.

12:53:04   7                  THE COURT:    I think we got a good plan for the

12:53:06   8   rest of the day.     It should get us there and look at the

12:53:09   9   time for tomorrow at the end of today's testimony.          I think

12:53:16 10    that's it.    Anything else that we need to discuss?        I'm not

12:53:20 11    soliciting anything.

12:53:21 12                   MR. ELKINS:   Just if I could ask, and I'll ask

12:53:24 13    counsel, but do you anticipate, my guess would be that I

12:53:28 14    don't know how long you have for Fattinger, but --

12:53:31 15                   MS. AYERS:    We're not going to get to

12:53:33 16    Mr. Faulkner today.

12:53:34 17                   MR. ELKINS:   I doubt you would finish

12:53:37 18    Mr. Houlden.

12:53:38 19                   THE COURT:    We'll probably be staying until 5:15

12:53:42 20    and maybe a little longer.      We'll see how that goes.

12:53:47 21    Everybody needs a short break at this time.         Thank you all

12:53:51 22    very much.

12:53:52 23                   (A luncheon recess was taken.)

13:34:23 24                   THE COURT:    Everybody can be seated.     We're back

13:34:23 25    in session.    Bring the jury in unless there is something
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13:34:23   1   else, bring the jury in.

13:34:32   2                  MS. AYERS:   Your Honor, would you like the

13:34:33   3   witness to be seated or do you want to wait for the jury?

13:34:36   4                  THE COURT:   Yes, the witness can come back up

13:34:42   5   here.

13:34:43   6                  (Jury entering the courtroom at 1:34 p.m.)

13:35:23   7                  THE COURT:   Everyone can be seated.       Counsel may

13:35:38   8   proceed.

13:35:39   9                  MS. AYERS:   Thank you, Your Honor.

13:35:41 10    BY MS. AYERS:

13:35:41 11    Q.      Mr. Testa, before the lunch break we were talking

13:35:43 12    about Exhibit 23 and page 2 of Exhibit 23.

13:35:50 13    A.      Yes.

13:35:50 14    Q.      Mr. Buchbinder, I think this is the page 2 of

13:36:01 15    Exhibit 25.     Thank you, sir.

13:36:07 16                   Mr. Testa, does Qorvo ever publicly disclose its

13:36:14 17    product data sheets?

13:36:16 18    A.      After the product is released to production and

13:36:19 19    becomes public, yes.

13:36:20 20    Q.      And Mr. Testa, again, it's very hard to hear

13:36:24 21    sometimes if you don't speak into the microphone, and I want

13:36:27 22    to make sure that everybody in the courtroom can hear your

13:36:29 23    testimony.

13:36:30 24                   If Qorvo posts its product data sheet online

13:36:34 25    after a product goes to market, why does it go to such great
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13:36:38   1   lengths to protect the secrecy of the data sheet before

13:36:41   2   then?

13:36:41   3   A.      Prior to the product being in the market, it again is

13:36:45   4   confidential in how we are designing the products, what we

13:36:48   5   were differentiating in that product, and how we are

13:36:51   6   engaging the customers in that space, so it is confidential

13:36:56   7   and once it becomes public and those products become into

13:36:58   8   the market, there is often teardown reports and other things

13:37:02   9   that disclose the method at that point.       We'll put it on the

13:37:06 10    website, we'll allow the customers to have visibility of it

13:37:10 11    after it's formally released.

13:37:12 12    Q.      Does Qorvo ever share its preliminary and

13:37:15 13    confidential data sheets for products not yet released out

13:37:20 14    in the market with its customers without a nondisclosure

13:37:23 15    agreement?

13:37:23 16    A.      We would not without a nondisclosure agreement.

13:37:27 17    Q.      Mr. Buchbinder, could you please display the first

13:37:31 18    page of Exhibit Number 24 and Exhibit Number 25, which is

13:37:35 19    PTX 529 and PTX 566.

13:37:39 20                   Mr. Testa, do these two data sheets contain

13:37:50 21    Qorvo's trade secret information?

13:37:52 22    A.      They do.

13:37:53 23    Q.      How can you tell if they contain Qorvo's trade secret

13:37:57 24    information?

13:37:57 25    A.      There is confidential NDA required water marks across
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13:38:01   1   the documents and also on top of the 904 it says proposed.

13:38:07   2   Q.     Mr. Buchbinder, if you could please display the

13:38:10   3   second page of these two exhibits for the jury.

13:38:13   4               Mr. Testa, does Exhibit 25 and Exhibit 24

13:38:22   5   contain the same type of information that we just discussed

13:38:26   6   with respect to Exhibit Number 23?

13:38:29   7   A.     They do.

13:38:34   8   Q.     Mr. Buchbinder, if you could please display PTX 26.

13:38:46   9   I'm sorry, Mr. Buchbinder, it is Exhibit Number 26, PTX 638.

13:38:53 10                Mr. Testa, can you please explain to the jury

13:38:57 11    whether or not this Exhibit 26, which has a reference mark

13:39:00 12    of PTX 638, contains Qorvo's trade secret information?

13:39:05 13    A.     Yes, it does.

13:39:06 14    Q.     How can you tell?

13:39:07 15    A.     This one is identified as private on top and

13:39:12 16    confidential, so this would be an early preliminary data

13:39:15 17    sheet for this device.

13:39:17 18    Q.     Mr. Buchbinder, can you please display for the jury

13:39:21 19    page 2 of PTX 26, which is 638?

13:39:24 20                Mr. Testa, is this the same type of information

13:39:29 21    that Qorvo holds as a trade secret before a product is

13:39:32 22    publicly released?

13:39:33 23    A.     Yes, this is going through the features and

13:39:35 24    performance that we were specifying for this product.

13:39:37 25    Q.     Mr. Testa, we just walked through four preliminary
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13:39:41   1   and confidential data sheets that relate to Qorvo's BAW

13:39:45   2   filters.    Do any of those data sheets anywhere in the

13:39:49   3   document discuss whether or not Qorvo BAW filter products

13:39:53   4   use SMR resonators?

13:39:55   5   A.     They do not, and that is not information we would

13:39:59   6   include on the data sheet.

13:40:00   7   Q.     Why isn't that information that Qorvo includes on the

13:40:03   8   data sheet?

13:40:03   9   A.     Because the customer need is for a filter, so they

13:40:07 10    are not questioning us on the type of technology we bring,

13:40:11 11    they want to make sure it's reliable, that we can ship in

13:40:15 12    volume, that it meets the performance we say it will, and we

13:40:20 13    will sell it at a price that's attractive to them for their

13:40:24 14    business.

13:40:24 15    Q.     Do you understand that a copy of each of these

13:40:26 16    exhibits containing Qorvo's preliminary and confidential

13:40:30 17    data sheets were found in Akoustis's files?

13:40:33 18    A.     I do.

13:40:33 19    Q.     When did Qorvo first learn that Akoustis obtained a

13:40:37 20    copy of these exhibits?

13:40:38 21    A.     After the lawsuit was filed.

13:40:39 22    Q.     Did Qorvo give its permission for Akoustis to have

13:40:43 23    these exhibits?

13:40:43 24    A.     We did not.

13:40:44 25    Q.     Mr. Buchbinder, could you please display PDX 310?
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13:40:48   1                    Mr. Testa, can you please explain to the jury

13:40:53   2   what products are shown on this slide?

13:40:56   3   A.        Yes.    This is the QPQ1903, this is the 5.2-gigahertz

13:41:04   4   BAW filter, and the QPQ1904, which is 5.6-gigahertz BAW

13:41:10   5   filter.

13:41:10   6   Q.        Do the objects shown on this slide contain any trade

13:41:13   7   secrets from group 8?

13:41:14   8   A.        Yes, these are prototype samples, these again are the

13:41:19   9   early samples that we would engage our customers and

13:41:21 10    partners with, which is now a physical representation of the

13:41:24 11    part, it's their first look at the actual performance and

13:41:28 12    they would use these boards to test the parts and provide

13:41:31 13    its feedback again, even if the parties meet their

13:41:35 14    requirements or if there are areas they would prefer

13:41:38 15    different types of specifications.

13:41:39 16    Q.        How does an evaluation board differ from the

13:41:42 17    information that is contained on a data sheet?

13:41:43 18    A.        The data sheet could start as early as just a

13:41:47 19    preliminary target of what we would like to go do in concept

13:41:52 20    and that would go to the engineering team.            This is now a

13:41:55 21    physical sample, so we had budgeted and spent money to build

13:41:59 22    prototypes of this device which we'll send out to the

13:42:02 23    customers and our partners to evaluate.

13:42:04 24    Q.        Why does Qorvo maintain the secrecy of its evaluation

13:42:08 25    boards before its products are sold on the open market?
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13:42:11   1   A.        Yeah, for the same reason as the data sheets,

13:42:14   2   although this can take it even another step because now you

13:42:17   3   can really test a device over all kinds of different

13:42:20   4   conditions to see how it performs, where a data sheet just

13:42:24   5   because of its size and text is limited, so this is a true

13:42:27   6   physical representation of the product.

13:42:31   7                    MS. AYERS:   Your Honor, may I approach the

13:42:32   8   witness to hand him two physical demonstratives?

13:42:36   9                    THE COURT:   You may.

13:42:46 10    BY MS. AYERS:

13:42:49 11    Q.        Mr. Testa, can you explain what the two physical

13:42:53 12    objects I just handed you are?

13:42:55 13    A.        Yes, these are two evaluation boards for the 1903 and

13:42:58 14    1904 filters.

13:42:59 15    Q.        Are the two evaluation boards that you have in your

13:43:03 16    hand the exact same type of evaluation boards that Qorvo

13:43:06 17    used in August of 2020?

13:43:07 18    A.        They are.

13:43:10 19    Q.        Can you explain to the jury what the gold prongs on

13:43:14 20    those two boards are?

13:43:16 21    A.        Yes.    These would be an input and an output of the

13:43:20 22    device as you're testing it.         Very similar to if you were

13:43:23 23    connecting your TV through a cable box, this would take that

13:43:27 24    type of cable and allow the customer to evaluate the actual

13:43:30 25    filter.
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13:43:30   1   Q.       And where is the actual filter on this evaluation

13:43:34   2   board?

13:43:34   3   A.       So the filter itself is inside of the black dot in

13:43:38   4   the center of this.    That black dot is an over molded die

13:43:44   5   where the filter actually sits inside of that package, this

13:43:47   6   is packaging the filter so that can be placed on electronics

13:43:52   7   boards in the customer's hands.

13:43:54   8   Q.       Do you understand that Akoustis obtained an

13:43:57   9   evaluation board for both the QPQ1903 and QPQ1904 before

13:44:02 10    those products were commercially sold?

13:44:03 11    A.       I do.

13:44:04 12    Q.       When did Qorvo first learn that Akoustis obtained

13:44:07 13    these boards?

13:44:08 14    A.       After the lawsuit was filed.

13:44:10 15    Q.       Did Qorvo give its permission to Akoustis to have

13:44:13 16    these boards?

13:44:13 17    A.       We did not.

13:44:15 18    Q.       Does Qorvo sell its boards on its website at

13:44:19 19    Qorvo.com?

13:44:20 20    A.       Once the public -- the product is released to the

13:44:23 21    public, we do sell it on the website.

13:44:27 22    Q.       Is the information that the boards allow someone to

13:44:32 23    output trade secret information to Qorvo prior to the sale

13:44:37 24    of the evaluation board publicly on its website?

13:44:40 25    A.       Absolutely, yes.
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13:44:44   1   Q.      Mr. Buchbinder, I would like to display PDX 3.11.

13:44:51   2                  Mr. Testa, can you explain to the jury what

13:44:57   3   Exhibit Number 27 is, which has a reference number of PTX

13:45:02   4   0569?

13:45:03   5   A.      Yep.    This is a product roadmap and description.         So

13:45:06   6   this is a tool we would use when we go visit customers to

13:45:10   7   share with them what products we have already available in

13:45:13   8   this market and then also open up to our customers under NDA

13:45:17   9   what we're developing and get ideas for new products as we

13:45:23 10    go and investigate with the customers.

13:45:25 11    Q.      Does Qorvo ever share its product roadmaps with

13:45:28 12    customers without executing a nondisclosure agreement with

13:45:31 13    those customers?

13:45:32 14    A.      We do not.

13:45:32 15    Q.      Why not?

13:45:33 16    A.      Because the information here again is confidential,

13:45:36 17    it's leading into concepts and new targets that we want to

13:45:41 18    keep isolated from competition.

13:45:42 19    Q.      Mr. Testa, can you identify for the jury where

13:45:46 20    specifically within this document Qorvo has information that

13:45:49 21    it wants to keep isolated from the competition?

13:46:00 22    A.      Specific to BAW filters it would be Akoustis

13:46:08 23    page 232183 and 184.

13:46:11 24    Q.      Mr. Buchbinder, those have reference number of PTX

13:46:15 25    569, page 38 and 39.      And can you please display those
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13:46:21   1   side-by-side?

13:46:21   2                  Mr. Testa, can you explain to the jury what

13:46:26   3   information is shown on these two pages of Exhibit 27?

13:46:31   4   A.     Yes.     So these are two concept designs that we wanted

13:46:35   5   to engage customers to get feedback on.        They are simulated

13:46:40   6   results, so again, this would be we have now funded the

13:46:45   7   projects so we're committed to do them, and we've engaged

13:46:48   8   our engineers to do computer level designs to show us what

13:46:52   9   we believe we can get in terms of performance.          We would

13:46:55 10    take this again to our customers and share where we are

13:46:58 11    targeting the performance and get their feedback.

13:47:01 12    Q.     Is this information a Qorvo trade secret in February

13:47:04 13    of 2021?

13:47:05 14    A.     Yes.

13:47:05 15    Q.     What information can a competitor learn if it has

13:47:09 16    access to the results of simulations that Qorvo runs on its

13:47:14 17    preliminary products?

13:47:15 18    A.     Yeah.    They certainly can understand what the

13:47:19 19    specific products themselves are able to do and the type of

13:47:23 20    performance we're trying to go to the market with.          They can

13:47:26 21    also start gathering what capabilities our technology itself

13:47:31 22    has as we're trying to design the filters in these high

13:47:35 23    frequencies.

13:47:35 24    Q.     Is there anything on these pages that indicate they

13:47:37 25    contain Qorvo trade secret information?
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13:47:39   1   A.     Yes, both the footer, which shows it is confidential

13:47:42   2   and proprietary, but these also have a development preview

13:47:47   3   only confidential stamp on them.

13:47:49   4   Q.     Mr. Testa, does anything on these two pages relate in

13:47:53   5   any way to whether or not is the filters that are shown here

13:47:57   6   are SMR or FBAR filters?

13:48:00   7   A.     They do not.

13:48:00   8   Q.     Do you understand that a copy of this exhibit was

13:48:05   9   found in Akoustis's file?

13:48:07 10    A.     I do.

13:48:08 11    Q.     When did Qorvo first learn that Akoustis obtained a

13:48:12 12    copy of Exhibit 27?

13:48:13 13    A.     After the lawsuit was filed.

13:48:14 14    Q.     Did Qorvo give its permission to Akoustis to have

13:48:17 15    Exhibit 27?

13:48:18 16    A.     We did not.

13:48:19 17    Q.     Mr. Buchbinder, could you please display PDX 312.

13:48:23 18                   Mr. Testa, could you please explain to the jury

13:48:32 19    what is shown in PDX 312, which relates to Exhibit 28?

13:48:37 20    A.     Yes.    This is early work on an automotive BAW filter

13:48:41 21    that's used for next generation safety communications

13:48:47 22    between vehicles so they know where they're located without

13:48:50 23    having to use radar or line of sight, as well as vehicles

13:48:54 24    communicating with street lamps and other infrastructure,

13:48:58 25    which would basically lead to autonomous vehicles and safety
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13:49:02   1   factors where cars will absolutely know where they are

13:49:06   2   located for safety braking purposes.

13:49:08   3   Q.        Why do cars have BAW filters?

13:49:10   4   A.        There are several BAW filters in vehicles, so the

13:49:14   5   cellular connection that's in there has a lot of BAW

13:49:18   6   filters, which allows communication to the cell phone

13:49:21   7   towers.    There is other filters with communications of

13:49:24   8   vehicles now for Bluetooth and this vehicular standards.

13:49:28   9   There is also new standards that allows presence detection

13:49:32 10    in vehicles, so it's just part of the communications blanks

13:49:36 11    and BAW filters are used prevalent in the vehicle.

13:49:39 12    Q.        Is the QPQ2200 a cellular BAW filter that's found in

13:49:44 13    cars, a Bluetooth filter that's found in cars, or a

13:49:47 14    different type of BAW filter found in cars?

13:49:50 15    A.        Specifically this is a Band 47, or a vehicle to

13:49:53 16    vehicle type device, so this would be a cellular band but

13:49:57 17    it's used separately where it doesn't have to speak to

13:50:00 18    cellular towers, again this enables the vehicles to

13:50:03 19    communicate just in proximity to themselves.

13:50:06 20    Q.        Mr. Testa, does this Exhibit 28 contain any trade

13:50:16 21    secret information to Qorvo?

13:50:17 22    A.        It does.

13:50:17 23    Q.        Can you please tell the jury where that trade secret

13:50:20 24    information can be found within this exhibit?

13:50:23 25    A.        Yes.    Page Akoustis-53291.
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13:50:30   1   Q.     Can you explain to the jury what information is shown

13:50:36   2   on this slide?

13:50:37   3   A.     Yes.    So this is an analysis and an output of the

13:50:42   4   simulation based on our automotive team's engagement with

13:50:46   5   several of the major automotive manufacturers.          As we create

13:50:51   6   these products, these BAW devices for the different

13:50:54   7   customers and different markets, you have to do it at a

13:50:57   8   level where you can make the product fit multiple customers.

13:51:02   9   If you try to do a custom device for every deal you're

13:51:06 10    packing, it's just not profitable, you can't afford to do

13:51:09 11    that, so you have to get inputs from all these different

13:51:12 12    vendors and then consolidate that into what we are going to

13:51:16 13    go to market with, and that's really where that information

13:51:21 14    comes into play with how are we actually going to attack

13:51:24 15    this opportunity.

13:51:24 16    Q.     How long did it take Qorvo to gather information from

13:51:29 17    multiple customers and then analyze and determine

13:51:31 18    specifically how it wanted to build this BAW filter?

13:51:33 19    A.     This team specifically had been engaged in the lead

13:51:37 20    automotive vendors for at least a couple of years in

13:51:40 21    preparing to this point getting simulations out.

13:51:43 22    Q.     Is the information that is shown on this slide trade

13:51:46 23    secret to Qorvo?

13:51:47 24    A.     Yes.

13:51:47 25    Q.     Is there anything in this document that indicates
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13:51:50   1   Qorvo believes the document contains trade secret

13:51:53   2   information?

13:51:53   3   A.       Yes, it has again for internal use only, confidential

13:51:56   4   and proprietary information.

13:51:59   5   Q.       Does any information on this page indicate whether or

13:52:02   6   not the QPQ2200 has an SMR resonator or a FBAR resonator?

13:52:09   7   A.       It does not.

13:52:10   8   Q.       Why is the information shown on this page valuable to

13:52:14   9   Qorvo?

13:52:14 10    A.       This is again simulated performance that we want to

13:52:18 11    take to the customers to solve their business problem and

13:52:22 12    insure that this communication safety can work.         This was a

13:52:25 13    fairly new application for uses in vehicles, and this

13:52:31 14    automotive market also runs a very long time, so when you

13:52:35 15    get a design win with a customer, you win a deal, it will

13:52:40 16    run in that automobile for sometimes seven to ten years, so

13:52:44 17    it's very important, it has a lot of volume ties to it, so

13:52:49 18    it's very strategic in terms of earning new business.

13:52:51 19                   MS. AYERS:   Thank you, Mr. Testa.

13:52:52 20                   Your Honor, I have no further questions at this

13:52:54 21    time.    And I pass the witness.

13:52:55 22                   THE COURT:   Cross-examination.

13:53:16 23                        CROSS-EXAMINATION

13:53:21 24    BY MR. ELKINS:

13:53:26 25    Q.       Good afternoon, Mr. Testa.     I'm David Elkins, I'm one
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13:53:30   1   of the lawyers representing Akoustis.        It's good to meet

13:53:32   2   you.

13:53:33   3   A.       Good afternoon, sir.

13:53:37   4   Q.       So I wanted to start with some preliminary questions.

13:53:51   5   The answers to which I think you know, but I wanted to

13:53:55   6   confirm that the lion share of R & D work for new BAW

13:54:01   7   filters takes place in the Apopka, Florida design center,

13:54:06   8   does it not?

13:54:06   9   A.       That's correct.

13:54:07 10    Q.       And that's where Mr. Aigner, who testified already,

13:54:12 11    and Gernot Fattinger, who is after you today, they both work

13:54:18 12    there and are high ranking employees of the R & D group,

13:54:22 13    right?

13:54:22 14    A.       That is correct.

13:54:22 15    Q.       And Qorvo manufacturers the die for its BAW filters

13:54:30 16    at a manufacturing and test facility, I think it's in

13:54:35 17    Richardson, Texas?

13:54:36 18    A.       That is correct.

13:54:37 19    Q.       And then Qorvo has the wafers shipped down, I think

13:54:41 20    you have a facility in Costa Rica, and that's where they're

13:54:46 21    sliced and diced and packaged?

13:54:48 22    A.       That's correct, for the discrete devices, we may send

13:54:51 23    them elsewhere if it's an integrated device that includes

13:54:56 24    BAW filters with other solutions.

13:54:57 25    Q.       Like in a front-end module or FEM?
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                                       #: 40166                                523
                                          Testa - cross

13:55:01   1   A.     Exactly, yes.

13:55:02   2   Q.     I'm going to start off by showing you a document and

13:55:05   3   I'm going to apologize if it looks like I'm fumbling around

13:55:10   4   for documents because I am.      And I would like to show you

13:55:21   5   what's been marked as exhibit DTX 201.

13:55:28   6                  MR. ELKINS:   Permission to approach, Your Honor?

13:55:31   7                  THE COURT:    You may.

13:55:48   8   BY MR. ELKINS:

13:55:48   9   Q.     Would you mind taking a gander at Exhibit 201, and

13:55:54 10    let me know when you have had a chance to do that.

13:55:58 11    A.     (Witness reviewing document.)         Yes, I am ready.

13:56:06 12    Q.     Do you recognize the document?

13:56:07 13    A.     I do.

13:56:08 14    Q.     Can you tell us what it is?

13:56:09 15    A.     Sure.     It is an e-mail thread that started with a

13:56:14 16    public release that Akoustis sent to the market.          And from

13:56:18 17    there, I forwarded that on to several different employees,

13:56:23 18    including my boss at the office.

13:56:26 19                   MR. ELKINS:   Your Honor, we would like to move

13:56:27 20    what was marked as DTX 201 into evidence.

13:56:31 21                   THE COURT:    Without objection, marked and

13:56:35 22    received as 29.

13:56:36 23                   (Trial Exhibit No. 29 was admitted into

13:56:37 24    evidence.)

13:56:37 25    BY MR. ELKINS:
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                                             Testa - cross

13:56:40   1   Q.       Okay.    So the thread participants, I think you

13:56:45   2   identified them that they include Cees Links?

13:56:48   3   A.       Correct, Cees Links.

13:56:50   4   Q.       Did I pronounce that correctly?

13:56:51   5   A.       It's Cees Links.

13:56:53   6   Q.       Cees, thank you.      And at the time he was your boss,

13:56:57   7   right?

13:56:57   8   A.       He was my general manager, correct.

13:56:59   9   Q.       And he was the general manager of the Wireless

13:57:02 10    Connectivity Group?

13:57:04 11    A.       That is correct.

13:57:05 12    Q.       And what was -- and at the time what was your role?

13:57:08 13    A.       So I was the marketing director.

13:57:10 14    Q.       And then Bob Baeten, I don't think -- I don't know if

13:57:15 15    I pronounced that correctly?

13:57:16 16    A.       That's right.

13:57:17 17    Q.       And he was a design engineering director at Apopka

13:57:21 18    Florida at that R & D center?

13:57:23 19    A.       He was located in Greensboro, he was our chief

13:57:26 20    engineer.

13:57:27 21    Q.       Okay.    And Wilco Vanhoogstraeten?

13:57:30 22    A.       Yes.

13:57:31 23    Q.       Hopefully I got that close.

13:57:32 24    A.       Good job on that.

13:57:34 25    Q.       All right.     And at the time, he was a tech director
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24   Page 197 of 2283 PageID
                                          #: 40168                               525
                                             Testa - cross

13:57:38   1   in Dallas?

13:57:38   2   A.       That's correct, Texas.

13:57:40   3   Q.       Both he and Mr. Links joined Qorvo from Green Peek

13:57:46   4   Technologies?

13:57:46   5   A.       That is correct.

13:57:46   6   Q.       And that was an acquisition in 2015?

13:57:50   7   A.       Yes.

13:57:50   8   Q.       Okay.    The bottom e-mail just, I'm on the very bottom

13:58:06   9   of the exhibit --

13:58:11 10                     MR. ELKINS:   Your Honor, I neglected to remember

13:58:14 11    which exhibit this is, so I apologize.

13:58:16 12                     THE COURT:    29.

13:58:17 13                     MR. ELKINS:   29, thank you.

13:58:19 14    BY MR. ELKINS:

13:58:19 15    Q.       At the bottom of Exhibit 29, there is a reference to

13:58:24 16    tri-band routers?

13:58:24 17    A.       Yes.

13:58:25 18    Q.       5-gigahertz BAW focused on tri-band routers, what are

13:58:30 19    those?

13:58:31 20    A.       So tri-band routers came to market originally in

13:58:36 21    2016, the first system was the Eero Mesh Wi-Fi system.             This

13:58:40 22    was where you had multiple Wi-Fi routers in your home, and

13:58:44 23    it allowed just a greater capacity given all the new Wi-Fi

13:58:49 24    devices that are coming into the house.          So it split some of

13:58:52 25    the frequency, which the Wi-Fi travels on, and that made
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24   Page 198 of 2283 PageID
                                          #: 40169                               526
                                             Testa - cross

13:58:56   1   these filters important for that application.

13:58:59   2   Q.       And was that -- that was created pursuant to

13:59:05   3   standard, was it not?

13:59:07   4   A.       It was tied to the Wi-Fi 6 standard as part of Wi-Fi

13:59:12   5   Alliance, correct.

13:59:12   6   Q.       Was that also IEEE 80211 AX?

13:59:16   7   A.       That is correct.

13:59:19   8   Q.       And they have, basically they use three bands or

13:59:22   9   three frequencies of filters, right?

13:59:24 10    A.       Yes.

13:59:25 11    Q.       So 2.5, 5.2 and 5.7?

13:59:29 12    A.       Correct.

13:59:35 13    Q.       And as you said, those are for both the consumer and

13:59:39 14    the enterprise markets?

13:59:41 15    A.       That is correct.

13:59:45 16    Q.       So above the e-mail from you at the bottom, is an

13:59:49 17    e-mail from Alex -- I'm going to let you pronounce his last

13:59:53 18    name because I will butcher it.

13:59:55 19    A.       Sure, that is Zajac.

13:59:57 20    Q.       Who is Alex Zajac?

13:59:59 21    A.       He's an engineering director in Apopka, Florida.

14:00:04 22    Q.       And his comment is, "And we are two years away from

14:00:08 23    releasing our new 5.2 and 5.7-gigahertz devices.            We are

14:00:14 24    slow."

14:00:18 25                    And that's on March 3rd of 2017.       Yeah, 2017.
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                                        #: 40170                               527
                                           Testa - cross

14:00:28   1   If you can see the date on the e-mail?

14:00:30   2   A.     Yes.

14:00:30   3   Q.     Okay.    And you agree that Qorvo was kind of slow in

14:00:37   4   deciding whether to invest in the development of high

14:00:40   5   frequency BAW filters?

14:00:41   6   A.     Qorvo was investing in the mobile side of the

14:00:44   7   business which was three quarters of the corporation

14:00:47   8   business.   My team was certainly invested to bringing

14:00:52   9   5-gigahertz products to market, so I was a definitely a big

14:00:56 10    proponent of finding opportunities to get filters as quickly

14:01:00 11    as we could.

14:01:01 12    Q.     And that would require the investment and the work to

14:01:04 13    be done at the R & D officer in Apopka in order to create --

14:01:09 14    A.     For the general creation, correct.

14:01:12 15    Q.     At the top, in the top, it looks like Mr. Zajac also

14:01:17 16    is, he's replying to Mr. Vanhoogstraeten's e-mail, and he

14:01:25 17    says among other things, I think they're talking -- well,

14:01:31 18    let me go back down.

14:01:33 19                   At the very bottom of the e-mail, you were

14:01:39 20    sending, you said, this is the March 3rd at 9:19 a.m., FYI.

14:01:51 21    Akoustis public endorsement of 5-gigahertz BAW focused on

14:01:55 22    tri-band routers.     There is an extremely long hyperlink at

14:01:59 23    the bottom.

14:01:59 24                   So you were talking about Akoustis, Mr. Zajac

14:02:05 25    said and we're two years away from releasing our new lines
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 200 of 2283 PageID
                                           #: 40171                               528
                                              Testa - cross

14:02:09   1   and then Mr. Vanhoogstraeten ask does their technology allow

14:02:16   2   it to create filter in different bands faster and easier

14:02:20   3   with lower upfront or are we in a similar horse race with

14:02:25   4   similar tools?       Your e-mail at the top for Mr. Zajac's

14:02:30   5   e-mail at the top is a response to Mr. Vanhoogstraeten?

14:02:34   6   A.        Yes.

14:02:34   7   Q.        And Mr. Zajac says he's not sure whether they use a

14:02:39   8   SMR or FBAR style resonator, he says "The FBAR is simpler to

14:02:43   9   create new frequencies because they do not have a reflective

14:02:47 10    stack."

14:02:47 11                     Is that a reference to the reflector that is

14:02:53 12    within the substrate of an SMR device?

14:02:58 13    A.        That is correct.

14:02:59 14    Q.        And Mr. Zajac says, other than that, it should be a

14:03:06 15    similar effort, but keep in mind that technology and product

14:03:09 16    development at Qorvo is slow, a new company without having

14:03:13 17    to produce millions of parts per day can be quite agile

14:03:18 18    compared to us.

14:03:19 19                     You don't have any reason to disagree with that

14:03:22 20    sentiment, do you?

14:03:23 21    A.        The investment again was very heavy into the biggest

14:03:27 22    part of our business, so without knowing what Alex is

14:03:30 23    specifically engaging here, we had made decisions not to

14:03:33 24    invest in that 5-gigahertz until we were able to move funds

14:03:39 25    to that, yeah.
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 201 of 2283 PageID
                                        #: 40172                               529
                                           Testa - cross

14:03:49   1   Q.     Let me ask you a few questions about a new document.

14:03:55   2   A.     Sure.

14:03:56   3                  MR. ELKINS:    May I approach?

14:03:57   4                  THE COURT:     You may.

14:04:02   5   BY MR. ELKINS:

14:04:16   6   Q.     Mr. Testa, what I handed you is what was previously

14:04:20   7   marked for identification as exhibit DTX 0217.          My first

14:04:26   8   question is going to be if you recognize this?

14:04:31   9   A.     I do.

14:04:32 10    Q.     Can you tell us what it is, please?

14:04:34 11    A.     Sure.     This is an e-mail thread from Leah Giovan to

14:04:41 12    Cees Links, my manager who is a sourcing director at

14:04:50 13    Outsource Supply.

14:04:50 14    Q.     And I think later on in the thread is someone named

14:04:58 15    Brian Belut?

14:04:59 16    A.     Correct.     Brian Belut was the VP of engineering for

14:05:03 17    the Infrastructure and Defense Product Group.         This was

14:05:06 18    everything that was not cell phone focused again.

14:05:09 19    Q.     And at the time, the IDP, Infrastructure and Defense

14:05:13 20    Product Groups sat next to your group, which was Wireless

14:05:17 21    Connectivity?

14:05:18 22    A.     We were part of that group.

14:05:20 23    Q.     Okay.     Thank you.

14:05:21 24    A.     Yes.

14:05:26 25    Q.     I want to focus on the bottom e-mail, which is at the
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24    Page 202 of 2283 PageID
                                       #: 40173                                530
                                          Testa - cross

14:05:34   1   end of the thread.      Actually so we can put it up, I'll move

14:05:38   2   it into evidence.

14:05:40   3                    MR. ELKINS:   Your Honor, this is DTX 0217.

14:05:46   4                    THE COURT:    I believe you're asking to have it

14:05:51   5   as the next marked exhibit, which will be 30.

14:05:54   6                    (Trial Exhibit No. 30 was admitted into

14:05:55   7   evidence.)

14:05:55   8   BY MR. ELKINS:

14:05:57   9   Q.       Okay.    Now we can show the last e-mail, which is on

14:06:02 10    page 3 of the document.        And this is from Mr. Links to Leah

14:06:07 11    Giovan, copied to you, "Hi Leah, I do not trust the progress

14:06:12 12    of our internal development of 5-gigahertz BAW filter.           How

14:06:17 13    are we progressing on Akoustis?        Can I do something to help?

14:06:24 14    Cees."   This is November 4th, 2018.       The mention of Akoustis

14:06:28 15    relates to an effort by Ms. Giovan to determine whether

14:06:31 16    Akoustis can supply BAW filters for the wireless

14:06:35 17    connectivity and IDP units, correct?

14:06:40 18    A.       That is correct.

14:06:42 19    Q.       And Ms. Giovan responds and slightly, we've got kind

14:06:51 20    of a split page, but she responds on the same day, everybody

14:06:56 21    is e-mailing on Sunday, November 4th, 2018.         And she replies

14:07:06 22    that she is moving forward to get samples of a 5.2-gigahertz

14:07:10 23    Wi-Fi filter from Akoustis, ETA mid November.         Todd G, who I

14:07:16 24    assume is Todd Gillenwater?

14:07:18 25    A.       Correct.
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                                        #: 40174                               531
                                           Testa - cross

14:07:19   1   Q.     "Is putting together a test plan for the sample test.

14:07:22   2   Please see e-mail thread attached.       This is political both

14:07:26   3   within Qorvo as well as with Akoustis, so I am treading

14:07:30   4   lightly to achieve the goal.      I will keep you posted."

14:07:34   5                  Did you have an understanding of what Ms. Giovan

14:07:38   6   meant regarding the political remark?

14:07:40   7   A.     So specifically any time we are looking at either

14:07:43   8   partnering with a competitor or evaluating a potential

14:07:46   9   purchase or an acquisition, it is sensitive when the

14:07:51 10    corporation already has in-house capabilities.          So there was

14:07:54 11    a lot of focus and trust in the volume and quality

14:07:58 12    capability that Qorvo already was able to deliver.

14:08:03 13                   So again, I was working very closely with Leah

14:08:07 14    to evaluate not only Akoustis, but several other startups

14:08:10 15    that were either filters or filter-like technologies.           This

14:08:14 16    was highly important for my business to grow.

14:08:18 17    Q.     Okay.    I next want to skip up to the top of page 2 of

14:08:22 18    the exhibit.    This is Ms. Giovan's reply on Monday the 5th,

14:08:31 19    so it's the next day at 11:55.       Again, it's to you,

14:08:37 20    Mr. Links, and Mr. Belut.      And pardon me, Ms. Giovan says,

14:08:50 21    "Step 1 is we need to be certain that Akoustis can actually

14:08:52 22    produce a filter that has performance matching their own

14:08:55 23    data sheet.    There are certain factions within Qorvo that

14:08:58 24    are very vocal that they cannot.       Once we have verified that

14:09:03 25    they can, in fact, make a filter with the samples comings to
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24    Page 204 of 2283 PageID
                                        #: 40175                                532
                                           Testa - cross

14:09:06   1   us within the next few weeks, then we will provide them with

14:09:09   2   WCON specs requirements to obtain pricing and timeline to

14:09:14   3   support.    I've already engaged with Tony T. on this."

14:09:20   4                  Did you understand her comments about the

14:09:22   5   certain factions within Qorvo that are very vocal that

14:09:26   6   Akoustis cannot produce a filter that matches its own data

14:09:30   7   sheet?

14:09:30   8   A.        Yeah, the information to date was definitely

14:09:33   9   concerning when we looked at performance and for our

14:09:37 10    specific business again, the wireless connectivity business

14:09:40 11    for the routers, we had very different requirements as she's

14:09:44 12    identified here.     One of them being power handling, that was

14:09:48 13    a significant quality concern that we had for this new

14:09:51 14    technology.

14:09:53 15    Q.        The power handling concern for this new technology

14:09:57 16    was because of the increase in gigahertz?

14:10:01 17    A.        Not -- well, it has the implication because of the

14:10:04 18    higher frequency, but the wireless routers have a higher

14:10:09 19    output power that they use.      And again, since Qorvo is

14:10:14 20    selling a lot more than just the BAW filter and we use these

14:10:18 21    filters to integrate within our products, the value of the

14:10:22 22    filter as we showed in that other page was selling for

14:10:24 23    roughly                                       worth of content on

14:10:31 24    the other parts of the Wi-Fi that we sell into there.            So

14:10:34 25    the quality for our products is a huge concern and if we
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24   Page 205 of 2283 PageID
                                       #: 40176                               533
                                          Testa - cross

14:10:38   1   were to bring something in-house that didn't meet that or

14:10:40   2   couldn't ship in high supply, we would impact that demand

14:10:44   3   and that business to Qorvo.     So we were definitely giving it

14:10:48   4   a close look and my team was highly involved with the

14:10:52   5   evaluations.

14:10:53   6   Q.     Thank you.

14:10:56   7   A.     Yes, sir.

14:10:57   8   Q.     I would like to skip up to the very top of the

14:11:00   9   document.    And this e-mail at 12:05 on November 5th is from

14:11:15 10    Ms. Giovan and again this is the same group, Mr. Links,

14:11:19 11    Mr. Belut, and you.    And she states in the second paragraph,

14:11:30 12    "All the words and intentions are right, it is just that as

14:11:34 13    long as the 5-gigahertz development is behind a major Newton

14:11:38 14    ramp, and (19 plus BAW filters all being tweaked to

14:11:46 15    optimize/fix performance), this development is going to take

14:11:50 16    a backseat."

14:11:51 17                   The Newton ramp was BAW filter development for

14:11:57 18    Qorvo's Mobile Products Group?

14:11:58 19    A.     That is correct.

14:12:01 20    Q.     And that was a very large mobile phone manufacturer,

14:12:05 21    Cupertino?

14:12:05 22    A.     Yes, sir.

14:12:06 23    Q.     And at the time it was absorbing all of the available

14:12:11 24    resources at the Apopka design center?

14:12:14 25    A.     At the 2018 time we were starting to develop our high
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                                        #: 40177                               534
                                           Testa - cross

14:12:19   1   frequency process, but we certainly did not have our filters

14:12:22   2   out to sample to the market yet.

14:12:25   3   Q.     Okay.     And in the meantime, competitors including

14:12:29   4   Akoustis were getting their 5-gigahertz products out into

14:12:32   5   the market, right?

14:12:32   6   A.     That's correct, there were other competitors

14:12:34   7   engaging.

14:12:36   8   Q.     Yes.

14:12:37   9                  One more document.    You can put that one down,

14:12:52 10    Mr. Testa.

14:12:53 11    A.     Yes, sir.

14:12:57 12                   MR. ELKINS:   May I approach, Your Honor?

14:12:59 13                   THE COURT:    You may.

14:13:07 14    BY MR. ELKINS:

14:13:19 15    Q.     So what I have handed you, Mr. Testa, is another

14:13:22 16    e-mail thread with Ms. Giovan and others, including you, it

14:13:28 17    has been marked for identification as DTX 0203.          Once again,

14:13:34 18    I'm going to ask you to take a look and see if you recognize

14:13:38 19    it?

14:13:39 20    A.     I do, yes, sir.

14:13:39 21    Q.     Can you describe this document?

14:13:41 22    A.     This is a document where a CEO was asking for a

14:13:44 23    status update of the evaluation, and included Todd

14:13:49 24    Gillenwater, who was leading the R & D group within our

14:13:53 25    mobile team.    Bob Riverworth, and Leah Giovan as a sourcing
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                                        #: 40178                               535
                                           Testa - cross

14:13:59   1   agent, further add ons got put on after that as it went

14:14:04   2   higher in the thread.

14:14:05   3   Q.        And Mr. Riverworth is the CEO of Qorvo?

14:14:10   4   A.        That's correct.

14:14:11   5                  MR. ELKINS:   Your Honor, we offer what's been

14:14:13   6   marked as DTX 0203 into evidence.

14:14:17   7                  THE COURT:    Marked and received as 31.

14:14:19   8                  (Trial Exhibit No. 31 was admitted into

14:14:20   9   evidence.)

14:14:20 10    BY MR. ELKINS:

14:14:21 11    Q.        And we already discussed Mr. Gillenwater, he was the,

14:14:25 12    or he is perhaps the CTO and the VP of Mobile Engineering?

14:14:30 13    A.        That's correct.

14:14:32 14    Q.        So in the bottom e-mail on this first page, the one

14:14:37 15    from Mr. Gillenwater, he is writing to Mr. Bruggeworth and

14:14:42 16    Ms. Giovan that, "We have taken all the data and provided it

14:14:47 17    back to Akoustis.     Overall, I thought their data looked fine

14:14:50 18    and is probably the best part available for these frequency

14:14:54 19    bands."

14:14:54 20                   And then it goes on, and talks about other

14:14:57 21    things.

14:14:57 22                   The data that Mr. Gillenwater was talking about

14:15:04 23    had been -- that came from his group's testing a BAW filter

14:15:10 24    from Akoustis, the AKF-1252?

14:15:13 25    A.        Yes, sir.
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                                        #: 40179                               536
                                           Testa - cross

14:15:15   1   Q.     In the middle of that page, Ms. Giovan is writing to

14:15:25   2   James Klein, he was the president of -- the IDP president?

14:15:32   3   A.     Yes.

14:15:33   4   Q.     And Roger Hall, who was he?

14:15:37   5   A.     He was the general manager of the defense and

14:15:40   6   Aerospace group.

14:15:42   7   Q.     And Doug Bostrom?

14:15:44   8   A.     At that time Doug Bostrom was the VP of Engineering

14:15:49   9   for James Klein.

14:15:50 10    Q.     For the IDP group?

14:15:53 11    A.     Yes.

14:15:54 12    Q.     After -- so Ms. Giovan writes to that group plus

14:16:00 13    Brian Belut that, "FYI, the Akoustis 5.6-gigahertz filter

14:16:11 14    inquiry for mobile.     My impression was that the sample parts

14:16:15 15    5.2-gigahertz that we looked at from Akoustis last month

14:16:19 16    performed poorly.     I guess my impression was incorrect

14:16:22 17    according Todd's note below."

14:16:24 18                  And then she writes to James she's not pushing

14:16:27 19    Akoustis as a supplier, but she wants to be sure that IDP is

14:16:31 20    aware of the option to get 5-gigahertz filters in hand from

14:16:34 21    what is now approximately two years late?

14:16:37 22                  Would you agree with me, Mr. Testa, that the

14:16:40 23    market first began needing the 5-gigahertz BAW filters back

14:16:44 24    in 2016 when you mentioned that Qorvo launched its first

14:16:49 25    measuring network product?
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                                         Testa - cross

14:16:50   1   A.     Yes, it was the first time that BAW or that standard

14:16:53   2   filters for the 5-gigahertz for Wi-Fi were necessary.

14:16:57   3   Q.     So by March 2019, when these e-mails were written,

14:17:00   4   Qorvo's own 5-gigahertz BAW filters for purposes of your

14:17:05   5   business unit and IDP were about three years late, right?

14:17:09   6   A.     From the time that we originally would like to have

14:17:11   7   them, absolutely, yes.

14:17:13   8   Q.     And isn't it true that Qorvo did not actually get its

14:17:18   9   5-gigahertz BAW filters, the QPQ1903 and 1904 into

14:17:25 10    production into the market in the end of 2020?

14:17:29 11    A.     2020, we were sampling soon after this time in 2019,

14:17:34 12    but took them to production in 2020.

14:17:36 13    Q.     We can take that document down.

14:17:38 14                   You talked a little -- in fact, you talked

14:17:47 15    several times during Qorvo's counsel's examination regarding

14:17:55 16    what customers are looking for in BAW filters in particular.

14:18:00 17    And would you agree with me that in marketing BAW filters to

14:18:07 18    customers on, or potential customers, what's most important

14:18:11 19    to the customers is the filter's performance?

14:18:14 20    A.     The filter's performance is one aspect.        The whole

14:18:19 21    product you definitely have to look at quality, you have to

14:18:21 22    look at supply viability, high volume creation and of course

14:18:25 23    the pricing for the market.

14:18:28 24    Q.     Okay.    And you said several times that customers

14:18:35 25    really don't care whether a BAW is a SMR or a FBAR, correct?
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                                           Testa - cross

14:18:43   1   A.     Agree.

14:18:44   2   Q.     Would you also agree that customers generally don't

14:18:47   3   care about the composition of the piezoelectric layer?

14:18:52   4   A.     Agreed.

14:18:52   5   Q.     You're familiar with Akoustis's former use of

14:18:55   6   marketing statements about single crystal technology?

14:18:58   7   A.     Yes.

14:19:00   8   Q.     And you're unaware of any instances where a customer

14:19:03   9   did not purchase a Qorvo product because of Akoustis's

14:19:06 10    single crystal marketing statements, correct?

14:19:09 11    A.     That's correct.

14:19:09 12    Q.     And you're unaware of any instances where customers

14:19:12 13    or potential customers expressing confusion regarding

14:19:16 14    Akoustis's single crystal technology, correct?

14:19:18 15    A.     That's correct.

14:19:32 16    Q.     Mr. Testa, I know that you don't have x-ray vision

14:19:36 17    and can't see all of the documents that Akoustis produced in

14:19:40 18    this case, but you're not -- you have no personal knowledge

14:19:46 19    regarding Akoustis's use of any confidential Qorvo

14:19:51 20    materials, correct?

14:19:52 21    A.     I was not privy to know when they received it or how

14:19:57 22    they received it.

14:19:58 23    Q.     On direct examination, you looked at several

14:20:01 24    preliminary data sheets, I think we have the 1903, the 1904,

14:20:08 25    I'm talking about the Qorvo part numbers and then a couple
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                                           Testa - cross

14:20:11   1   of front end modules, and I'll refer to those in a second.

14:20:18   2   Once a preliminary -- well, let me just ask you specifics so

14:20:23   3   that we aren't talking in generalities.        If I can hand you,

14:20:29   4   turn back to what was marked for identification as PTX 0528.

14:20:43   5                  MS. AYERS:    That's Exhibit 23.

14:20:45   6                  MR. ELKINS:   Thank you, Jennifer.     And it's now

14:20:50   7   Trial Exhibit 28.

14:20:51   8                  MS. AYERS:    23.

14:20:52   9                  MR. ELKINS:   23.

14:20:55 10    BY MR. ELKINS:

14:20:56 11    Q.     Do you see the -- at the very bottom above the mark

14:21:00 12    put on by lawyers to produce this document, so the

14:21:04 13    attorneys' eyes only subject to protective order is just a

14:21:08 14    mark done in the context of the litigation, but I'm talking

14:21:11 15    about the very small print that says QPQ1903 data sheet and

14:21:16 16    then there is a code after it?

14:21:18 17    A.     Yes.

14:21:20 18    Q.     Is that a date?

14:21:21 19    A.     It is.

14:21:22 20    Q.     Okay.     So this is -- this preliminary data sheet is

14:21:26 21    as of March 2nd, 2020?

14:21:29 22    A.     That's correct.

14:21:31 23    Q.     How long between this date of March 2nd, 2020, and

14:21:39 24    when the actual data sheet came out?

14:21:44 25    A.     The product was released I believe as we said near
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                                         #: 40183                               540
                                            Testa - cross

14:21:48   1   the end or end of 2020, so another five, six months.

14:21:54   2   Q.      And isn't it true that at least in the past, Qorvo

14:21:58   3   would post its preliminary data sheets on its website?

14:22:02   4   A.      That is not true, we would post a landing page, which

14:22:06   5   indicates that we have a new development coming.           There

14:22:10   6   would be links on that landing page to data sheets and to

14:22:13   7   other collateral, which lead to a landing page which

14:22:18   8   basically says thanks for your interest in this device, it's

14:22:22   9   preliminary, please contact our sales manager or sales rep

14:22:26 10    in your region for more information.

14:22:29 11    Q.      We looked at several PowerPoint, or you looked at

14:22:39 12    several PowerPoint with Qorvo counsel as she was examining

14:22:43 13    you.   And the PowerPoints all have the legend, they had a

14:22:48 14    copyright notice at the very bottom, and so if we could pull

14:22:54 15    up, if you'd like, what was marked as PTX 569.           And I have

14:23:04 16    forgotten what trial exhibit it is, but if we go to the

14:23:08 17    second page.

14:23:11 18                   THE COURT:    27.

14:23:12 19                   MR. ELKINS:    27.   Thank you very much.

14:23:13 20    Q.      Can we blow up the little footer there?          There we go.

14:23:18 21                   So the copyright notice Qorvo U.S., Inc., and

14:23:24 22    then Qorvo Confidential and Proprietary Information.            And

14:23:27 23    you testified about how that signifies that the document is

14:23:31 24    confidential, is that correct?

14:23:33 25    A.      Yes.
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                                           Testa - cross

14:23:33   1   Q.     Isn't that put on every PowerPoint presentation

14:23:36   2   created at Qorvo?

14:23:39   3   A.     It is a standard template so that there is

14:23:43   4   confidentiality identified if it goes public, we would

14:23:47   5   remove it if we do public presentations and other public

14:23:51   6   releases.

14:23:51   7   Q.     So it's a default that every presentation using the

14:23:56   8   Qorvo template has this already embedded in the background?

14:24:00   9   A.     Yeah, essentially all information created within

14:24:03 10    Qorvo is confidential.     So it is the standard default.

14:24:08 11    Q.     You mentioned teardowns briefly.        Can you tell us

14:24:14 12    what a teardown is?

14:24:15 13    A.     Yes.    Once a product is released into the market,

14:24:20 14    there are third-party organizations which will do an

14:24:23 15    examination of the product.      So cell phones are very good

14:24:28 16    example, it will go through and actually take apart the cell

14:24:31 17    phone as a teardown and it will identify the types of

14:24:35 18    components and technologies that are in there for market

14:24:39 19    knowledge.    Again, that occurs after the product has been

14:24:42 20    released and something is out in the public where people can

14:24:46 21    actually physically buy one and do the same thing

14:24:50 22    themselves.

14:24:51 23    Q.     You have seen teardowns performed by third parties of

14:24:54 24    Qorvo products?

14:24:55 25    A.     I have, yes.
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                                        #: 40185                             542
                                         Testa - redirect

14:24:55   1   Q.     And they're also available regarding competitor

14:24:59   2   products, too, right?

14:25:00   3   A.     The teardowns themself would be at the box level, at

14:25:05   4   the product level.     I have not seen competitive teardowns

14:25:10   5   that strip the molding off our device to show silicone

14:25:17   6   technology.

14:25:17   7   Q.     I'm not going to ask you about that.

14:25:20   8   A.     Okay.

14:25:21   9                  MR. ELKINS:    Those are all the questions I have.

14:25:23 10    Thank you very much, Mr. Testa.

14:25:25 11                   THE WITNESS:   Thank you.

14:25:25 12                   THE COURT:    Redirect.

14:25:28 13                   MS. AYERS:    Thank you, Your Honor.

14:25:28 14                        REDIRECT EXAMINATION

14:25:33 15    BY MS. AYERS:

14:25:36 16    Q.     Mr. Testa, I have just a few questions for you.

14:25:38 17                   Mr. Buchbinder, could you please pull up

14:25:43 18    reference number DTX 0201, which was entered into evidence

14:25:47 19    as Exhibit 29.

14:25:51 20                   Mr. Testa -- thank you very much,

14:26:10 21    Mr. Buchbinder.

14:26:11 22                   Mr. Testa, do you recall Mr. Elkins asking you

14:26:13 23    questions about this document?

14:26:14 24    A.     I do.

14:26:14 25    Q.     In March of 2017, were you aware that Akoustis had
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                                         Testa - redirect

14:26:20   1   taken Qorvo's trade secrets?

14:26:22   2   A.     I was not.

14:26:22   3   Q.     During your testimony with Mr. Elkins, he asked you

14:26:25   4   if Akoustis, or if Qorvo sampled Akoustis's products in

14:26:30   5   2017, 2018, 2019, do you recall that?

14:26:33   6   A.     I do not recall it.      Can you say again, that he --

14:26:36   7   Q.     Mr. Elkins asked you whether or not Qorvo received

14:26:40   8   samples of Akoustis's products, do you recall that?

14:26:42   9   A.     Yes.

14:26:42 10    Q.     Were the samples provided to Qorvo by Akoustis under

14:26:46 11    a nondisclosure agreement between the two parties?

14:26:49 12    A.     Yes.

14:26:49 13    Q.     And did that nondisclosure agreement allow Qorvo to

14:26:53 14    tear down the sample?

14:26:55 15    A.     No.

14:26:59 16    Q.     Mr. Buchbinder, you can take that exhibit down.

14:27:04 17                   Mr. Testa, do you know if Akoustis advertised

14:27:16 18    single crystal technology as better performance and better

14:27:20 19    power handling?

14:27:21 20    A.     I do.

14:27:23 21    Q.     And can you tell the jury ultimately why Qorvo

14:27:28 22    decided not to purchase Akoustis's BAW filters for purposes

14:27:33 23    of integrating it into its other products?

14:27:35 24    A.     Sure.    So I think I mentioned earlier, so I was

14:27:40 25    certainly eager to get 5-gigahertz filters and solutions to
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                                        Testa - redirect

14:27:44   1   the market, so Akoustis, as well as other startup companies

14:27:47   2   were under evaluation.    The earlier evaluations we actually

14:27:51   3   performed on those samples that we received showed us

14:27:55   4   concern both in thermal performance which in these access

14:27:59   5   points and Wi-Fi routers, because of this new tri-band mesh,

14:28:05   6   there are twelve different radio links in this device and

14:28:10   7   that creates a lot of heat.     That heat when it impacts a

14:28:14   8   filter actually changes the filter from where it's trying to

14:28:18   9   filter the response.

14:28:20 10                 So that filter temperature drift, that was a

14:28:27 11    concern that was identified by our CTOS as well.        And if

14:28:30 12    that over large volume productions was not stable,

14:28:33 13    essentially the device would not meet the requirements for

14:28:35 14    the customer.

14:28:36 15                 On the other side was the power handling I

14:28:38 16    mentioned.   So because of this device and the access points,

14:28:42 17    they have points in time when they're turned on where

14:28:45 18    they're actually is a very big power spike, you think of it

14:28:49 19    almost as a voltage spike when you plug in an electronic

14:28:53 20    device.   That spike can cause damage and we saw damage on

14:28:56 21    some of these early samples that again really concerned us

14:29:00 22    because our intent was to go to integrated solutions where

14:29:03 23    we put that BW filter in with our other products.        If that

14:29:07 24    was going to break or cause quality issues, again the

14:29:10 25    financial impact as I mentioned was ten fold of the other
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                                         Testa - redirect

14:29:14   1   parts we were selling just to have this additional BAW

14:29:17   2   filter part.    So it was a very big concern in quality.

14:29:23   3                  At the time we got through more and more of

14:29:25   4   these evaluations where the performance started looking

14:29:28   5   better as our team was stating, we then had already started

14:29:32   6   ours, as well, and our team was very adamant with sticking

14:29:36   7   with an internal make versus spending money at that time on

14:29:40   8   either a partnership or acquisition.

14:29:41   9   Q.     Mr. Buchbinder, can you please display the first page

14:29:45 10    of Acoustics - of TX 203, which is Exhibit 31.

14:29:56 11                   And Mr. Testa, this is one of the exhibits that

14:29:58 12    Mr. Elkins examined you regarding, and I would like to

14:30:01 13    direct your attention to the March 20th, 2019 e-mail from

14:30:05 14    Todd -- no, Mr. Buchbinder, one down.

14:30:09 15                   Can you explain to the jury what the reference

14:30:17 16    to thermal performance is in Mr. Gillenwater's e-mail to

14:30:24 17    Ms. Giovan?

14:30:24 18    A.     Yeah.    So this again goes back to as we started

14:30:29 19    testing this device over temperature and we would do that

14:30:31 20    from making the device very cold, which may exist in an

14:30:35 21    outdoor access point, to very hot, if it's in let's say your

14:30:40 22    cable box at the house, you always hear the fans and stuff

14:30:43 23    going, it's getting very hot.      The performance of the filter

14:30:46 24    again is how does it drift, does it stay on frequency where

14:30:50 25    it needs to filter or will it move as it gets increasingly
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14:30:55   1   hotter and hotter.    That was something that we saw as a

14:30:58   2   concern, specifically on this 5.2 part, as well as again as

14:31:02   3   the power handling as I mentioned was a quality concern,

14:31:06   4   which is even a bigger concern for our team at that time.

14:31:09   5               MS. AYERS:    Thank you Mr. Testa.     I have no

14:31:11   6   further questions.

14:31:12   7               THE COURT:    Thank you very much.     You may step

14:31:14   8   down.

14:31:15   9               THE WITNESS:     Thanks.

14:31:17 10                THE COURT:    Who is your next witness, please?

14:31:21 11                MR. TIGAN:    Good afternoon, Your Honor.       Qorvo

14:31:24 12    calls Gernot Fattinger as its next witness.

14:31:38 13                THE COURT:    Please come forward and raise your

14:31:41 14    right hand to be sworn in.

14:31:43 15                COURT CLERK:     Please remain standing and raise

14:31:45 16    your right hand.    Please state and spell your name for the

14:31:48 17    record.

14:31:48 18                THE WITNESS:     Gernot, G-E-R-N-O-T, last name

14:31:53 19    F-A-T-T-I-N-G-E-R.

14:31:57 20                GERNOT FATTINGER, having been duly sworn, was

14:32:02 21    examined and testified as follows:

14:32:07 22                MR. TIGAN:    Your Honor, before we begin, may I

14:32:12 23    approach with two binders for the witness and the Court?

14:32:17 24                THE COURT:    You may.

14:32:23 25                       DIRECT EXAMINATION
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                                          Fattinger - direct

14:32:23   1   BY MR. TIGAN:

14:32:28   2   Q.        Good afternoon, Dr. Fattinger.       Just a reminder as I

14:32:32   3   get situated here that it's a big room and we both want to

14:32:36   4   speak into our respective microphones and at a moderate pace

14:32:39   5   for the court reporter.

14:32:40   6   A.        Absolutely.

14:32:41   7   Q.        To start, could you introduce yourself to the jury,

14:32:43   8   please?

14:32:43   9   A.        Yes.    My name is Gernot Fattinger.      I am the

14:32:48 10    Vice-president of Technology for Qorvo.

14:32:51 11    Q.        And as Vice-president of Technology, just in general,

14:32:54 12    what do you do for the company?

14:32:56 13    A.        I oversee technology development, as well as

14:33:01 14    developing of the roadmaps of technologies for the future.

14:33:05 15    Q.        And where do you live?

14:33:06 16    A.        I live near Orlando, Florida.

14:33:09 17    Q.        About how long have you worked for Qorvo or one of

14:33:12 18    its predecessors?

14:33:13 19    A.        Since 2006.

14:33:15 20    Q.        And could you tell us just a little bit about your

14:33:18 21    educational background, please?

14:33:20 22    A.        Yes.    I have a Ph.D. in semiconductor physics from

14:33:25 23    the University of Kent in Austria.

14:33:30 24    Q.        And just in general, in between obtaining your Ph.D.

14:33:34 25    and working for Qorvo, what kind of work experience did you
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14:33:37   1   have?

14:33:37   2   A.      I worked on acoustic wave technology for a German

14:33:43   3   semiconductor company until I was hired in 2006 from a

14:33:47   4   predecessor of Qorvo.

14:33:48   5   Q.      What was that predecessor?

14:33:50   6   A.      It ways Sawtech first and then became TriQuint

14:33:55   7   Semiconductor, and after that became after the merger with

14:33:58   8   RFMD was Qorvo.

14:33:59   9   Q.      Prior to the merger, what kinds of technology in

14:34:02 10    general were you working on?

14:34:03 11    A.      So I started out working in 2006 as a BAW engineer, I

14:34:08 12    was the first BAW engineer at Qorvo.     Worked for many, many

14:34:13 13    years as a BAW engineer, later as a BAW engineering manager.

14:34:18 14    And then as the years went by, got responsibility for more

14:34:23 15    and more technologies within Qorvo.

14:34:26 16    Q.      And speaking of years going by, about how many years

14:34:30 17    have you worked with BAW technology?

14:34:32 18    A.      Total of twenty-five years pretty much exactly.

14:34:36 19    Q.      And do you have any patents where you're listed as an

14:34:39 20    inventor that concern BAW filter technology?

14:34:42 21    A.      Yes, numerous patents.

14:34:43 22    Q.      About how many?

14:34:45 23    A.      I didn't count them.   Many, many.

14:34:47 24    Q.      Okay.   Have you been involved in identifying the

14:34:52 25    trade secrets that Qorvo contends Akoustis misappropriated
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14:34:55   1   in this case?

14:34:56   2   A.       Yes.

14:34:57   3   Q.       And did you assist in the preparation of some slides

14:34:59   4   to help us go through your testimony today?

14:35:01   5   A.       Yes, I did.

14:35:02   6   Q.       Mr. Buchbinder, if we could pull up PDX 4.1.

14:35:07   7                   Doctor, just in general, what are we seeing on

14:35:10   8   the screen right now?

14:35:11   9   A.       That's a list of the different trade secret groups.

14:35:14 10    Q.       And can we turn to 4.2, please.

14:35:18 11                    Which two groups are you here to talk about

14:35:21 12    today?

14:35:21 13    A.       I'm going to talk first about group 5, Qorvo's

14:35:26 14    product development process and associated testing

14:35:29 15    procedures.      And later on, I'm going to talk about group 7,

14:35:33 16    which is about the manufacturing and assembly procedures.

14:35:36 17    Q.       Since we have group 5 up on the screen, can you just

14:35:39 18    in short tell us what Qorvo's product development process

14:35:43 19    and testing procedures, what are those and what's involved?

14:35:46 20    A.       So that's fundamentally for all the technologies that

14:35:51 21    we have in Qorvo, describes how we develop real technology,

14:35:56 22    what steps do we go through, what deliveries to do at

14:36:00 23    different stages in the development process, it basically

14:36:02 24    gives us a master plan on how we develop technologies.

14:36:05 25    Q.       What's been your personal involvement in this area at
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14:36:09   1   Qorvo?

14:36:10   2   A.       As part of the engineer team at Qorvo over the last,

14:36:15   3   well, since 2006, I have contributed over time to improve

14:36:21   4   the development process, to find new features of the

14:36:25   5   development process and to generally oversee the further

14:36:28   6   development of the process, the refinement of the process.

14:36:31   7   Q.       Could we pull up slide 4.3, please.

14:36:35   8                    And, Doctor, just in general, we'll go through

14:36:38   9   this in more detail, but what's reflected on this slide?

14:36:41 10    A.       So that's the trade secrets pertaining to Qorvo's

14:36:46 11    product development process and testing procedures.

14:36:50 12                     MR. TIGAN:   Your Honor, may I approach with the

14:36:52 13    first exhibit?

14:36:53 14                     THE COURT:   You may.

14:37:04 15    BY MR. TIGAN:

14:37:08 16    Q.       So Doctor, I have handed you what the parties

14:37:11 17    previously marked as PTX 739.       Do you recognize this

14:37:15 18    document.   And take a minute if you need it.

14:37:18 19    A.       Yeah, I recognize this document.     That's the document

14:37:22 20    that describes Qorvo's technology and product development

14:37:26 21    process.

14:37:27 22    Q.       Okay.

14:37:27 23                     MR. TIGAN:   Your Honor, I move for the admission

14:37:29 24    of this document as I believe exhibit, will it be 32?

14:37:32 25                     THE COURT:   32, marked and received.
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14:37:34   1                    (Trial Exhibit No. 32 was admitted into

14:37:35   2   evidence.)

14:37:35   3   BY MR. TIGAN:

14:37:36   4   Q.       What kind of information is in this document, Doctor?

14:37:39   5   A.       So that's probably best explained by-- I don't know

14:37:42   6   by picking a page.      Let's pick page number, let me see,

14:37:48   7   let's go to Page Number 6.

14:37:50   8   Q.       Okay.    Please pull up page 6, please.

14:37:54   9   A.       So let's pick as an example the middle section here,

14:37:58 10    the technology development process.      So as you can see, this

14:38:05 11    document describes the development process going from the

14:38:08 12    left to the right in several stages, in this case in seven

14:38:14 13    stages labeled TD-1 through TD-7, they all have different

14:38:18 14    names.   What's important is at the bottom of that popup that

14:38:23 15    we see here, there is a list of deliveries for each of the

14:38:27 16    technology development stages that describe what tasks have

14:38:33 17    to be performed in every stage and what the developments are

14:38:38 18    for those stages.

14:38:39 19    Q.       Why is that information important to Qorvo?

14:38:43 20    A.       Knowing upfront what development and what has to be

14:38:49 21    performed at each stage of the development process prevents

14:38:52 22    surprises, they know they have to

14:38:56 23                 I don't -- I'm not in danger to later on

14:39:02 24    represent the volume.

14:39:06 25    Q.       Can we pull slide 4.4 up on screen, please, where we
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14:39:11   1   have this same excerpt.

14:39:12   2                 What are seeing here, Dr. Fattinger?

14:39:14   3   A.      This is the same popup that we looked at, for

14:39:17   4   example, the product development process as a part of the

14:39:20   5   same page that we saw before.     And this kind of information

14:39:24   6   pertains to the 5.1 and 5.2 that lists on the top in terms

14:39:34   7   of trade secrets for the technology and product development

14:39:36   8   process.

14:39:37   9   Q.      Is the information we're talking about right now

14:39:39 10    confidential to Qorvo?

14:39:40 11    A.      Absolutely, every one of those documents is marked as

14:39:43 12    proprietary, confidential.

14:39:45 13    Q.      And could a competitor benefit if it had information

14:39:49 14    like this?

14:39:49 15    A.      Absolutely.   As pointed out before, knowing the

14:39:52 16    sequence of items, the deliverables, what do I need to look

14:39:58 17    at is of course the recipe to shorten technology development

14:40:03 18    time and prevent unforeseen surprises.

14:40:06 19                  MR. TIGAN:   Your Honor, may I approach again?

14:40:08 20                  THE COURT:   You may.

14:40:29 21    BY MR. TIGAN:

14:40:35 22    Q.      Doctor, I've handed you two exhibits that kind of go

14:40:39 23    together that the parties previously marked as PTX 111 and

14:40:43 24    PTX 114.    And just for a clean record, let's start with PTX

14:40:49 25    111.   Do you recognize this document?
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14:40:51   1   A.      Yes, that is a -- I recognize the format, that's a

14:40:56   2   product requirements document, referred to as a PRD.

14:40:59   3   Q.      And likewise would PTX 114, pick that up, please, do

14:41:04   4   you recognize this document?

14:41:05   5   A.      That's the same kind of document, the product

14:41:08   6   requirement.

14:41:10   7                  MR. TIGAN:   Your Honor, I move to admit these

14:41:12   8   documents as Exhibit 33 and 34 respectively.

14:41:16   9                  THE COURT:   33 and 34, marked and received.

14:41:20 10                   (Trial Exhibit Nos. 33 and 34 were admitted into

14:41:20 11    evidence.)

14:41:20 12    BY MR. TIGAN:

14:41:22 13    Q.      Dr. Fattinger, what kind of information is in the two

14:41:24 14    documents that you have in front of you now?

14:41:25 15    A.      There is a lot of information in there, for example,

14:41:30 16    it contains, if you go with the cover page of the document

14:41:32 17    of 111, it contains a general overview of the product that

14:41:40 18    is described in this product requirement document, amongst

14:41:46 19    other things, a part number, the revision of the part, the

14:41:50 20    requirements, some key features, and almost three quarters

14:41:57 21    down a cost target.     So how much the part was supposed to

14:42:02 22    cost.

14:42:03 23    Q.      And we have the Excel, what we call the native

14:42:08 24    version up on the screen right now.       Do you see the tabs at

14:42:12 25    the bottom?
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14:42:12   1   A.     Yes, I do.

14:42:13   2   Q.     Okay.    Mr. Buchbinder, can we hit the specifications

14:42:17   3   tab, please.    Thank you.

14:42:18   4                  Doctor, what are we seeing on the specifications

14:42:21   5   tab?

14:42:22   6   A.     So on the specifications tab, that's part of a pretty

14:42:28   7   long distance, we can scroll up and down, the specification

14:42:33   8   table describes how the part has performed, all the

14:42:37   9   different performance parameters, including in some cases

14:42:41 10    the two big values, the minimum and the maximum values, the

14:42:46 11    window that we have to hit with that part.       And that's for

14:42:51 12    every aspect of the performance of that part.

14:42:54 13                   MR. TIGAN:    And, Your Honor, I was remiss.   I

14:42:56 14    just want to pause and note for the record that while we're

14:42:59 15    going through 5 and group 7 of the trade secrets, we want to

14:43:03 16    make sure that the courtroom is sealed, we have the right

14:43:06 17    people in here.

14:43:07 18                   THE COURT:    That is correct.   I don't know that

14:43:09 19    anyone else has entered as far as I can tell.       Make sure you

14:43:14 20    look around.

14:43:15 21                   MR. TIGAN:    Thank you.

14:43:15 22    BY MR. TIGAN:

14:43:16 23    Q.     Doctor, let's go to PTX 114 and kind of go through

14:43:19 24    the same steps.    Can we look at the overview tab on PTX 114

14:43:24 25    which is now in the record as Exhibit 34?
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14:43:26   1   A.     Sure.

14:43:26   2   Q.     What are we seeing on this one?

14:43:28   3   A.     Similar format as before, on the very top part

14:43:33   4   number, in this case, QPF4551, some numbers for document

14:43:40   5   instance, iterations, revisions, a general description, a

14:43:45   6   description of the part, and then a list of key features,

14:43:49   7   features in that case not being filled in at the very bottom

14:43:53   8   a cost target for the part.

14:43:55   9   Q.     And Mr. Buchbinder, let's again hit the

14:43:58 10    specifications tab on this one down at the bottom.

14:44:04 11                   And, Doctor, what are we seeing here?    Is this a

14:44:08 12    similar type of information?

14:44:09 13    A.     Yes, similar to the part before, that's exhaustive

14:44:15 14    list of all the specifications, required to design and

14:44:20 15    manufacture the part.

14:44:20 16    Q.     Since this is only a two-week trial, I won't go

14:44:24 17    through all the other tabs, but is there other types of

14:44:27 18    confidential trade secret information in these documents?

14:44:29 19    A.     Yeah, in some cases there is also tests data in some

14:44:35 20    of those documents, test conditions, and test conditions,

14:44:38 21    for example, here to the production test tab, if you want to

14:44:44 22    go over there.

14:44:44 23    Q.     No, let's move on so we don't get too detailed here.

14:44:48 24    But let's go to demonstrative slide 4.5, if we can.

14:44:52 25                   Doctor, now that we have talked about these two
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                                       #: 40199                             556
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14:44:55   1   documents, which trade secrets have you identified as?

14:44:59   2   A.       Those documents, those PRD documents contain

14:45:03   3   procedures for tracking and documenting the product

14:45:05   4   development process, 5.3, they also contain 5.4, the

14:45:11   5   technical differentiators, cost targets as we saw on the

14:45:15   6   cover page before, and that one tab referenced again that

14:45:19   7   contains 5.5, testing procedures and specific parameters and

14:45:24   8   conditions for testing.

14:45:24   9   Q.       These types of documents, what's their value to

14:45:27 10    Qorvo?

14:45:28 11    A.       The value of the spec definitions is rather obvious,

14:45:36 12    it defines how the part has to perform, what the part has to

14:45:39 13    do, any competitor having that spec definition in hand knows

14:45:44 14    exactly what kind of part Qorvo was developing and what

14:45:49 15    parameters are important and to what degree.

14:45:51 16                  For the tests specifications, I would go a step

14:45:59 17    further, test specifications typically take into account the

14:46:01 18    process, variability, if you're going to manufacture

14:46:05 19    something, how similar is one part to the next one.        It also

14:46:09 20    takes into account the capability of my testing equipment,

14:46:13 21    how accurately can I test what I want to test.       And that

14:46:17 22    knowledge tells anybody who has those documents in hand not

14:46:24 23    only what is the part you're manufacturing, but it also

14:46:29 24    tells the competitor how capable is our technology, what is

14:46:32 25    your process variation, what is your testing capability, it
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14:46:36   1   goes beyond just the part.

14:46:37   2   Q.       Are these types of documents kept as confidential at

14:46:40   3   Qorvo?

14:46:40   4   A.       Absolutely.

14:46:41   5   Q.       How do you know?

14:46:42   6   A.       Well, they're marked -- the cover page is marked as

14:46:46   7   confidential.   I can always recognize that document as

14:46:52   8   something that we will typically, that we always keep in

14:46:55   9   Qorvo's document control system, the document control system

14:46:59 10    is access restricted, you have to have a password and access

14:47:04 11    is given on a need-to-know basis.

14:47:06 12    Q.       How could a competitor benefit from obtaining these

14:47:10 13    documents or documents like them?

14:47:11 14    A.       Yeah, some already out before, knowing specifications

14:47:16 15    allows to design exactly for the same part without the part

14:47:20 16    being on the market already, time, knowing test conditions,

14:47:25 17    knowing process variability helps with not running into the

14:47:31 18    same pitfalls that we run into along the way.       All those

14:47:38 19    things materialize at the end of the day as faster

14:47:42 20    development cycle time, less resources, less money invested

14:47:46 21    into the development of the part.

14:47:48 22                  MR. TIGAN:    Your Honor, may I approach with the

14:47:49 23    next exhibit?

14:47:51 24                  THE COURT:    You may.

14:47:57 25    BY MR. TIGAN:
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14:48:05   1   Q.     Dr. Fattinger, I have given you what the parties have

14:48:08   2   previously marked as PTX 88.     Do you recognize this

14:48:12   3   document?

14:48:12   4   A.     Yes, I recognize that.     That's a device form

14:48:18   5   indication test plan.

14:48:19   6                MR. TIGAN:    Your Honor, I move for the admission

14:48:20   7   of this document into evidence.

14:48:21   8                THE COURT:    Marked and received as 35.

14:48:24   9                (Trial Exhibit No. 35 was admitted into

14:48:25 10    evidence.)

14:48:25 11    BY MR. TIGAN:

14:48:25 12    Q.     In general what type of information is in this

14:48:28 13    particular document?

14:48:32 14    A.     A device qualification test plan contains information

14:48:37 15    as the part is qualified, by qualification, I mean exposing

14:48:41 16    the part to several defined very harsh conditions, high

14:48:45 17    temperature, high humidity, and after that exposure happens,

14:48:49 18    the part needs to be tested again, we need to verify that

14:48:52 19    the part still works.     And this document defines how all the

14:48:57 20    verifications are to happen.

14:48:59 21    Q.     This is another native document, we'll just take a

14:49:02 22    look at a couple of things if that's okay.       Let's hit the

14:49:06 23    red tab, test specification and conditions.       Can you tell us

14:49:08 24    what we're looking at here?

14:49:10 25    A.     Here we're looking at the different specifications
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14:49:12   1   for testing the part and the dark band, as well as the test

14:49:18   2   limits, the upper and lower limits, those limits, a certain

14:49:24   3   parameter for a part is where it needs to be to pass the

14:49:28   4   qualification test.

14:49:29   5   Q.      And what about the test specification and conditions

14:49:32   6   tab, can we get that one up.    The green tab.    There we go.

14:49:42   7   And I don't see much here, but I do see some icons.       What

14:49:47   8   are we looking at?

14:49:48   9   A.      Those icons are embedded Excel documents.      So if we

14:49:53 10    were in the native Excel file document, we would see in the

14:49:57 11    case of the lower most item, for example.

14:49:59 12    Q.      Mr. Buchbinder could you help by opening that lower

14:50:05 13    icon?

14:50:05 14    A.      So that is the data, is the names of what's called a

14:50:10 15    gauge R & R study, a Gage R & R study is a study of the test

14:50:17 16    equipment that tells us something about how much potential

14:50:20 17    error, how much variation do I get from a test equipment.

14:50:24 18    And I need to take that into account when I look at the

14:50:28 19    parameter of my product, the parameter of my product varies

14:50:31 20    a certain amount but I know my test system already

14:50:36 21    contributes a certain percent of the variables I need to

14:50:39 22    take into account.    And that provides additional knowledge

14:50:42 23    to anybody having that document about what kind of test

14:50:45 24    systems we are using, how much variability they need to take

14:50:50 25    into account and that of course again helps with the testing
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14:50:53   1   of the product.

14:50:55   2   Q.        Is that information important to have for someone in

14:50:59   3   the field?

14:50:59   4   A.        Absolutely, that's why this study is done.

14:51:01   5   Q.        Let's pull up slide 4.6, please, where we have some

14:51:05   6   excerpts of this document.      And close that out.

14:51:10   7                  Dr. Fattinger, what are we seeing here in

14:51:15   8   relation to this document?

14:51:16   9   A.        Those are screen shots of tabs from the document, and

14:51:23 10    it applies, the content of the document applies to trade

14:51:29 11    secret 5.5, the testing procedures, parameters and

14:51:32 12    conditions.

14:51:32 13    Q.        And is this information confidential to Qorvo?

14:51:35 14    A.        Absolutely.

14:51:36 15    Q.        And I think we touched on this, but how could this

14:51:40 16    help a competitor like Akoustis or one of the others in the

14:51:43 17    market?

14:51:43 18    A.        Knowledge about test specifications, delivers

14:51:48 19    knowledge about the process variability, delivers knowledge

14:51:51 20    about what parameters are important to test, how tightly

14:51:55 21    they need to be tested, and having like to gauge R & R study

14:52:01 22    tells the competitor how good the temperature is and how

14:52:05 23    much variability is expected in the test system.

14:52:08 24    Q.        And just finished looking at the four documents in

14:52:11 25    group 5 so just a couple of kind of summary questions if I
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                                         #: 40204                             561
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14:52:14   1   may.   These documents, do they pertain to BAW filters?

14:52:19   2   A.      Yes.

14:52:19   3   Q.      And the jury has heard some of this already, but do

14:52:23   4   they pertain to SMR filters?

14:52:25   5   A.      Yes.    Part of the effective apply to every

14:52:29   6   technology.

14:52:29   7   Q.      Would that include FBAR filters?

14:52:34   8   A.      It's actually technology agnostic.

14:52:37   9   Q.      Why is that the case?

14:52:38 10    A.      The procedures, for example having specs, is

14:52:40 11    something that is not limited to a BAW filter.         Building

14:52:45 12    another part and another technology let's say an amplifier

14:52:49 13    also requires a list of specs, so does building a switch, so

14:52:54 14    does building a micro controller, for example.

14:52:57 15    Q.      Let's move on to group 7 and we'll pull up slide 4.7

14:53:02 16    and just so the jury can orient itself.        What does group 7

14:53:06 17    pertain to?

14:53:07 18    A.      Those are the trade secrets pertaining to the Qorvo

14:53:10 19    manufacturing and assembly procedures.

14:53:11 20    Q.      What does that mean at Qorvo?

14:53:13 21    A.      So manufacturing and embodiment assembly procedures

14:53:17 22    describe how we manufacture our parts and how we assemble

14:53:21 23    our components into the product that we eventually sell.

14:53:25 24    Q.      What's your personal involvement in these types of

14:53:28 25    activities at the company?
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14:53:29   1   A.     I have been involved over the years in the definition

14:53:31   2   and the continued development of those processes.

14:53:35   3   Q.     Let's pull up the next slide, which is 4.8.        What is

14:53:39   4   reflected here?    And, again, we can go into the detail in

14:53:42   5   just a moment.

14:53:43   6   A.     Again, these are screen shots of four of the

14:53:47   7   documents here.    Six of the documents, six actually,

14:53:50   8   pertaining to group 7, specifically to the trade secret

14:53:54   9   group 7.1 through 7.4.

14:53:58 10                   MR. TIGAN:   Your Honor, may I approach again?

14:54:01 11                   THE COURT:   You may.

14:54:07 12    BY MR. TIGAN:

14:54:15 13    Q.     Doctor, I have just handed you a document the parties

14:54:18 14    previously marked as PTX 253.     Do you recognize what this

14:54:24 15    document is?

14:54:24 16    A.     Yes, I do.    It's a package fortification data

14:54:28 17    document.

14:54:29 18                   MR. TIGAN:   Your Honor, I move for the admission

14:54:31 19    of this document.

14:54:32 20                   THE COURT:   Marked and received as 36.

14:54:35 21                   (Trial Exhibit No. 36 was admitted into

14:54:36 22    evidence.)

14:54:36 23    BY MR. TIGAN:

14:54:38 24    Q.     Let's go into more detail.      What types of information

14:54:42 25    would we see in this document?
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14:54:44   1   A.     As we see, data collection templates for the

14:54:50   2   qualification of packages, subdivided in different sections

14:54:56   3   here, the purple is instructions, references, qualification

14:55:00   4   data, and so on.

14:55:01   5   Q.     You just said the word package.      What does that mean

14:55:05   6   in respect to what we're talking about?

14:55:07   7   A.     Yeah.    So Qorvo is a semiconductor company, which

14:55:13   8   means our smallest components, the semiconductor chips, they

14:55:20   9   are manufactured on a big silicone disks.       I believe one of

14:55:23 10    them has been shown previously here.      That silicone disk can

14:55:31 11    contain, depending on the size of the silicone disk and

14:55:35 12    depending on the size of the individual component, it can

14:55:38 13    contain tens of thousands or hundreds of thousands of little

14:55:42 14    circuits.   And in order to sell those little circuits, one

14:55:47 15    needs to cut that silicone disk in pieces, so we saw it, we

14:55:53 16    literally take a saw and saw it into pieces, and then we

14:55:57 17    need to put those pieces into something that can be handled

14:56:02 18    and that can be soldered on a circuit board in a phone, for

14:56:08 19    example.    In order to do that, we put those little pieces,

14:56:12 20    sometimes one, sometimes many, many pieces together in one

14:56:15 21    little plastic box or package as we call it, and that

14:56:20 22    plastic package on the bottom, it's just a rectangle box

14:56:25 23    like plastic, and on the bottom there are patches of metal

14:56:30 24    that allow us to make electrical connections to the inside

14:56:34 25    of the package, allow us to use little pieces of silicone.
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14:56:38   1   Q.     Mr. Buchbinder, can you take us to page 9 of this

14:56:41   2   document, please.

14:56:42   3               So, I think two questions ago you referred to

14:56:45   4   this document as a template?

14:56:47   5   A.     That's right.

14:56:47   6   Q.     What does template mean in this context?

14:56:50   7   A.     So template in this context means a collection, a

14:56:55   8   list, a table of all the parameters that need to be

14:57:00   9   collected and recorded and looked at during the process of

14:57:04 10    package qualification.

14:57:05 11    Q.     And just ballpark, how many parameters?

14:57:08 12    A.     Oh, hundreds.     Twenty-five, thirty pages.    Every page

14:57:15 13    contains, I don't know, twenty parameters, so we're looking

14:57:19 14    at many, many parameters.

14:57:20 15    Q.     Thank you.

14:57:21 16                Can we go to slide PDX 4.9.

14:57:25 17                So having looked at this document, Doctor, have

14:57:27 18    you identified a trade secret it's pertinent to?

14:57:30 19    A.     It pertains to 7.1 processes and procedures for

14:57:36 20    package qualification.

14:57:37 21    Q.     And this document, and likewise documents, what is

14:57:40 22    the value of them to Qorvo?

14:57:42 23    A.     So knowing which parameters need to be looked at when

14:57:47 24    qualifying a package is, of course, valuable in the sense

14:57:50 25    that -- if I wouldn't have that table, I don't know what I
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                                        #: 40208                             565
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14:57:55   1   don't know.    If something goes wrong and I didn't record the

14:57:58   2   data beforehand, they'll never be able to figure out what

14:58:03   3   went wrong in the development of the product and volume and

14:58:07   4   they'll have quality issues.      Knowing which parameters to

14:58:10   5   look at, what data to record, what pitfalls to avoid, that's

14:58:14   6   what a template does, it helps tremendously in the

14:58:18   7   development process.

14:58:18   8   Q.      Is that how a competitor would benefit if it had this

14:58:22   9   information?

14:58:22 10    A.      Absolutely.

14:58:23 11    Q.      Does Qorvo maintain this document as confidential?

14:58:26 12    A.      That's a confidential document, yes.

14:58:30 13                   MR. TIGAN:   Your Honor, may I approach?

14:58:32 14                   THE COURT:   You may.

14:58:40 15    BY MR. TIGAN:

14:58:48 16    Q.      Doctor, I've just handed you what we've marked as PTX

14:58:52 17    751.   Take a moment.    Do you recognize this document?

14:58:55 18    A.      I recognize it, it's self director specification.

14:59:00 19                   MR. TIGAN:   Your Honor, I move for admission of

14:59:01 20    this document into evidence.

14:59:02 21                   THE COURT:   Marked and received as 37.

14:59:05 22                   (Trial Exhibit No. 37 was admitted into

14:59:05 23    evidence.)

14:59:05 24    BY MR. TIGAN:

14:59:06 25    Q.      Doctor, what kind of information is in Exhibit 37?
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14:59:12   1   A.     It's laid out in the table of contents, it specifies

14:59:17   2   amongst administrative information like definitions and

14:59:20   3   acronyms, it specifies the roles and responsibilities of the

14:59:24   4   subcontractor assembly, specification for subcontractor

14:59:28   5   assembly, quality records that need to be kept during

14:59:32   6   assembly, and so on and so forth.

14:59:34   7   Q.     So are these assembly instructions?

14:59:37   8   A.     Yes, specifications.

14:59:38   9   Q.     Let's flip over to page 7, Mr. Buchbinder, if we can.

14:59:44 10                   This is a good page, Doctor.   Can you tell us

14:59:47 11    what we're seeing here?

14:59:48 12    A.     If you don't mind, I pull up one example here.

14:59:51 13    Q.     Sure.

14:59:52 14    A.     In general, the page talks about wire bond

14:59:57 15    specification, I talk about the package, I talk how to

15:00:01 16    connect the metal heads on the outside to the silicone

15:00:05 17    pieces, the silicone chips on the inside.      And often times

15:00:09 18    the way that the connection is being made by means of a

15:00:13 19    tiny, tiny gold, copper, or aluminum wire, and that process

15:00:18 20    of connecting two chips on or a chip in the package with the

15:00:25 21    wires is called wire bonding, that's why the page talks

15:00:28 22    about wire bond.

15:00:30 23                   And the way they execute the wire bonding, what

15:00:34 24    shape the wire has, how thick it is, what force used to

15:00:38 25    attach it, that is specified in the wire bond specifications
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15:00:42   1   in that subcontractor assembly document.

15:00:46   2   Q.       Can we look at your supplied 4.10, please?      Does the

15:00:50   3   information we have been talking about and other information

15:00:52   4   in this document pertain to any trade secrets identified in

15:00:55   5   this case?

15:00:56   6   A.       Absolutely.   Yes.

15:00:57   7   Q.       Which one?

15:00:58   8   A.       That case specifically 7.2, the format and the

15:01:03   9   details of the assembly instructions.

15:01:05 10    Q.       And is this document maintained as confidential at

15:01:07 11    Qorvo?

15:01:07 12    A.       Yes, it is.

15:01:08 13    Q.       And why is it valuable to Qorvo?

15:01:12 14    A.       Knowing how to assemble a part, for example, knowing

15:01:17 15    how to make a wire bond, how high, how close can I get to

15:01:22 16    the die page, how hard do I have to push it down and attach

15:01:26 17    it to the pads on the bottom, that is of course information

15:01:29 18    that has been developed painstakingly, many, many trial and

15:01:34 19    error episodes over the last many, many years of the

15:01:38 20    existence of Qorvo.    Not telling to do that and just being

15:01:42 21    able to come in and use the parameters as they are described

15:01:45 22    in the document is a massive time resource and cost saver.

15:01:50 23    Q.       Is that why a competitor could benefit from this?

15:01:53 24    A.       That could be certainly a reason.

15:01:56 25    Q.       Okay.
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15:01:59   1                     MR. TIGAN:   Your Honor, may I approach with the

15:02:01   2   next two exhibits?

15:02:03   3                     THE COURT:   You may.

15:02:12   4   BY MR. TIGAN:

15:02:26   5   Q.        So, Doctor, I have handed you what we've previously

15:02:29   6   labeled as PTX 249, as well as PTX 251.          Let's go through

15:02:35   7   them one by one again.         Do you recognize PTX 249?

15:02:39   8   A.        Yeah.    PTX 249 talks about the implementation

15:02:44   9   requirements for a procedure called reflow preconditioning.

15:02:49 10    Q.        Do you recognize PTX 251?

15:02:53 11    A.        Yes, PTX 251 is similar set of requirements for 143

15:03:01 12    reflow plus temperature, five times temperature.

15:03:05 13                      MR. TIGAN:   Your Honor, I move the admission of

15:03:06 14    these two documents.

15:03:07 15                      THE COURT:   Marked and received as 38 and 39.

15:03:10 16                      (Trial Exhibit Nos. 38 and 39 were admitted into

15:03:10 17    evidence.)

15:03:10 18    BY MR. TIGAN:

15:03:13 19    Q.        Mr. Buchbinder, can we put 249 up on the screen

15:03:13 20    please.

15:03:17 21                      I would like to talk just a little bit about the

15:03:21 22    previous documents we looked at.          Did you see Qorvo logos on

15:03:25 23    them?

15:03:27 24    A.        Yes.

15:03:32 25    Q.        What about there document, how do you know it's a
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15:03:35   1   Qorvo document?

15:03:35   2   A.      Well, the performance tells it's a Qorvo document,

15:03:39   3   but not only that, I see the template, the Qorvo document

15:03:44   4   number in the lower right corner, the FOR something

15:03:50   5   something is typically a format that we use in Qorvo or

15:03:55   6   control documents.

15:03:56   7                  I also just noticed that on page 2, it says for

15:04:01   8   the implementation of Qorvo STC pre-conditioning.

15:04:10   9   Q.      Is that what you are referring to?

15:04:11 10    A.      Yes.

15:04:12 11    Q.      Let's do the same exercise with what is now

15:04:15 12    Exhibit 39, also marked as PTX 251.        I don't see a Qorvo

15:04:20 13    logo up at the top, but how are you recognizing this as a

15:04:24 14    Qorvo document?

15:04:25 15    A.      You are correct.     That's correct.     The same comment

15:04:28 16    as before about the document numbers, POL on the very top

15:04:32 17    and the FOR document number on the very bottom right.          Also

15:04:38 18    flipping through the document.

15:04:45 19    Q.      Let's flip to page 6 if we can.

15:04:47 20    A.      I see on page 5 and on page 4, names of the business

15:04:53 21    units in Qorvo, or business units as they used to be back

15:04:58 22    then.

15:04:58 23    Q.      Where is that, just so the jury can see that?

15:05:01 24    A.      That would be Section 6.2 where mobile products and

15:05:07 25    6.2.1 and key products in 6.2.2.       So mobile products and
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15:05:16   1   IDP, standing for infrastructure and defense products, those

15:05:20   2   used to be business units in Qorvo up until recently.

15:05:24   3   Q.        Let's turn to that next page, page 6, because we

15:05:29   4   glossed over that quickly.      What did you mention here?

15:05:32   5   A.        That's a revision history of the document from 2012

15:05:39   6   to 2017.

15:05:44   7   Q.        So taking the two documents together, what are they?

15:05:48   8   And I see the words "reflow."      Can you explain that for us?

15:05:52   9   A.        So I talked before about package, and how does a

15:05:56 10    package have metal pads on the bottom and those metal pads,

15:06:01 11    the purpose of those metal pads is to allow electric

15:06:06 12    connections from the outside world to the inside of the

15:06:08 13    package.

15:06:09 14                   When we sell these parts to our customers, they

15:06:13 15    would like to take those parts and put them on the circuit

15:06:17 16    boards, they're computer boards, phone boards, whatever.

15:06:20 17    And the way to do that is they you use solder, which is

15:06:26 18    basically a tin metal alloy, and when the tin metal alloy is

15:06:33 19    heated up to a certain minimum temperature it becomes

15:06:38 20    liquid.    And that liquid metal at an elevated temperature

15:06:44 21    will be used to connect metal pads on the bottom of our

15:06:47 22    parts to equivalent metal pads on the circuit boards, and

15:06:51 23    once it cools down again, that metal becomes solid again and

15:06:56 24    the connection is established.

15:06:58 25                   And knowing how exactly to execute on that what
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15:07:02   1   we call reflow process because it becomes liquid, it becomes

15:07:06   2   flowing and then it becomes solid again, knowing how to

15:07:09   3   exactly execute that is important to get a good connection.

15:07:13   4   Q.       Let's see if you can tell us just a little bit more.

15:07:17   5   Let's turn to what's now Exhibit 38, PTX 249, and go to

15:07:23   6   Section 6, please.    So Section 6 is short, but how does it

15:07:31   7   relate to what you were just telling us about?

15:07:33   8   A.       So executing that process is one thing to the best of

15:07:38   9   our knowledge.    The other thing is the keeping records of

15:07:41 10    that process.    So any variability in any of the parameters

15:07:46 11    of the process could have a detrimental affect on the

15:07:49 12    quality of those connections.     So 66 outlines which

15:07:55 13    parameters need to be recorded throughout that process and

15:07:58 14    before and after the process, wait times and so on and so

15:08:01 15    forth.

15:08:02 16    Q.       And likewise, let's go to what's PTX 251, or

15:08:07 17    Exhibit 39 in evidence and likewise go to sections 6 and 7

15:08:11 18    of that document, please.     And what else are we seeing about

15:08:17 19    reflow here, Doctor?

15:08:18 20    A.       So, Section 6.1 specifies for which packages that

15:08:25 21    reflow procedure has to be implemented.      And which package

15:08:31 22    types are examined.    And Section 6.2 on the bottom similarly

15:08:39 23    specifies which customers require us to implement that

15:08:46 24    reflow procedure and which customers have a result and

15:08:52 25    business units.
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15:08:53   1   Q.       Let's pull up PDX 411, Mr. Buchbinder.

15:08:57   2                 So having talked about these two documents, a

15:09:00   3   little bit, Doctor, did you identify as a misappropriated

15:09:05   4   trade secret they're relevant to?

15:09:06   5   A.       Absolutely, both documents are relevant here

15:09:09   6   specifically to trade secrets from 7.3, processes,

15:09:15   7   procedures, and requirements for reflow conditioning.

15:09:19   8   Q.       And why is the information in these documents

15:09:22   9   valuable to Qorvo?

15:09:23 10    A.       Well, not knowing which parameters, for example, in

15:09:26 11    this case here on the screen, which parameters have to be

15:09:31 12    recorded again exposes a competitor to missing out on the

15:09:34 13    information that is obviously needed since to put in there

15:09:40 14    to successfully concrete a part.

15:09:42 15                  Similarly the lower right corner, knowing which

15:09:46 16    customers require that up front, of course is a time saver.

15:09:50 17    Q.       And just so we're clear, are both documents

15:09:53 18    maintained as confidential by Qorvo?

15:09:55 19    A.       Yes, both are.

15:09:57 20    Q.       How do you know that?

15:09:58 21    A.       We talked already about the document number before,

15:10:00 22    that document number indicates that it's -- that the

15:10:04 23    document is stored in a controlled, in our controlled

15:10:07 24    document control system, access restricted, need to know

15:10:13 25    basis.
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15:10:13   1   Q.     Okay.    And finally, how could a competitor like

15:10:16   2   Akoustis benefit from having documents like this in their

15:10:20   3   position?

15:10:20   4   A.     We already touched that before.      Knowing, for

15:10:23   5   example, which customer requires which specific conditions

15:10:27   6   allows a competitor to address specific customers based on

15:10:31   7   their capabilities, it allows them to develop procedures

15:10:34   8   like that before they're being asked for it, and that saves

15:10:39   9   time, saves resources.

15:10:44 10                   MR. TIGAN:   Your Honor, may I approach?

15:10:45 11                   THE COURT:   You may.

15:11:11 12    BY MR. TIGAN:

15:11:12 13    Q.     All right.    Doctor, I have handed you two documents

15:11:14 14    again previously marked as PTX 223 and 225.       We'll again try

15:11:21 15    to keep a clean record and go one by one.

15:11:23 16                   Do you recognize 223?

15:11:25 17    A.     Yes, I do recognize it as the general product

15:11:27 18    inspection procedures.

15:11:29 19    Q.     And PTX 225?

15:11:31 20    A.     Similarly, I recognize it as the final visual quality

15:11:36 21    control inspection procedures.

15:11:38 22                   MR. TIGAN:   Your Honor, I move both documents

15:11:40 23    into evidence, please.

15:11:42 24                   THE COURT:   Yes.   They're marked and received as

15:11:48 25    40 and 41.
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15:11:50   1                 MR. TIGAN:      That's what I have as well.

15:11:52   2                 (Trial Exhibit Nos. 40 and 41 were admitted into

15:11:53   3   evidence.)

15:11:53   4   BY MR. TIGAN:

15:11:53   5   Q.     What kind of information -- let's take them together

15:11:56   6   to start.    What kind of information is in these two

15:11:59   7   documents?

15:11:59   8   A.     Those documents talk about generally about the vision

15:12:04   9   or visual inspection which is as the name suggests, a

15:12:07 10    machine operating using a camera looking at our parts and

15:12:10 11    making decisions based on those images that our part is

15:12:15 12    passing or failing.

15:12:17 13    Q.     Why don't we put up 223 on the screen because I think

15:12:21 14    there are some things we should look at, kind of like we did

15:12:24 15    with the prior documents, how do you recognize this as being

15:12:28 16    a Qorvo document?

15:12:29 17    A.     It is again unfortunately the Qorvo logo, but the

15:12:32 18    format is clearly a Qorvo format.       I also have seen this

15:12:36 19    document before at Qorvo so I know it's a Qorvo document.

15:12:42 20    And I believe in one of those documents looking through it

15:12:46 21    before, the last page, for example, of the document, 2223.

15:12:53 22    Q.     What page are you on, Doctor?

15:12:56 23    A.     The last page.

15:12:57 24    Q.     Last page.     Okay.

15:12:58 25    A.     So I recognize the names of the engineers who
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15:13:03   1   contributed to the different revisions here, those are Qorvo

15:13:07   2   engineers specifically in our Dallas factory.

15:13:11   3                 THE COURT:   I'm going to ask the person who is

15:13:13   4   highlighting it, don't do it in blue, do it in yellow.

15:13:19   5                 MR. TIGAN:   Helpful, Your Honor.     Thank you.

15:13:21   6   BY MR. TIGAN:

15:13:21   7   Q.      Can we flip briefly to page 5 of the document?

15:13:26   8   Anything on here that indicates it's a Qorvo document?

15:13:31   9   A.      Let's see.

15:13:33 10    Q.      Actually --

15:13:36 11    A.      Other than me recognizing the graph as something that

15:13:41 12    I have seen before.     And the knowing the text below as well

15:13:46 13    as -- well, there is also a reference to another Qorvo

15:13:50 14    document, I'm very familiar with SP 14902 at the bottom

15:13:57 15    here.

15:13:58 16    Q.      Let's put up PTX 225, which I believe is Exhibit 41

15:14:03 17    quickly and go through the same exercise.        How do you

15:14:06 18    recognize this as being a Qorvo?

15:14:08 19    A.      Again, I know the format, it's a slightly different

15:14:12 20    format that we use before, tri-band.

15:14:18 21    Q.      Why don't we flip to page 28, there is something I

15:14:21 22    would like to ask you about there.       Anything on here that

15:14:24 23    stands out?

15:14:25 24    A.      Oh, yeah, I recognize that one, yes.       So if we focus

15:14:29 25    our attention to the lower most image, Figure 25, there is a
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15:14:35   1   piece of text in there, EG-186 and below that TQS, so I

15:14:42   2   recognize both EG-186 is our Richardson, Texas based

15:14:51   3   nomenclature for chips, so that's how we identify our

15:14:56   4   products in our factory, EG and a number, and the label

15:15:01   5   below means -- TQS means TriQuint Semiconductor, and I can

15:15:08   6   see a little bit of the copyright logo on there, half the

15:15:11   7   copyright logo on there.

15:15:13   8   Q.      Let's zoom back out, please.       And I think I saw at

15:15:16   9   the top of both documents a reference to visual quality

15:15:21 10    inspection or visual quality control inspection?

15:15:24 11    A.      Right.

15:15:24 12    Q.      Can you tell us about that?

15:15:26 13    A.      Yes.    So many of the characteristics of our parts can

15:15:31 14    be measured electrically, but other features, specifically

15:15:39 15    features that are on our chips due to processing issues that

15:15:46 16    could lead down to road to quality problems, right, we could

15:15:50 17    sell that part, we could put it in a customer's phone, for

15:15:54 18    example, on your phone, the phone doesn't work anymore, we

15:15:58 19    had something on our silicone chips that shouldn't have been

15:16:03 20    here.   And that's why we do the optical inspection step.

15:16:07 21                   And this document here outlines all the

15:16:10 22    different failures that can happen, all the different

15:16:15 23    problems that we can have that one can identify operating,

15:16:19 24    so it's a collection of the experience we made over the last

15:16:24 25    many, many years in terms of what can happen that's
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15:16:28   1   detrimental to our device and how can we identify that

15:16:35   2   optically using this optic inspection process.

15:16:38   3                  So a big portion of the document is a collection

15:16:41   4   of example pictures that tell us this is what a defect looks

15:16:46   5   like, if you have something like that, don't sell the part.

15:16:51   6   Q.     I think it would be helpful to show the jury.        Can we

15:16:53   7   pull up PTX 223 and I think flip to page 7, if we can.

15:17:00   8                  Is this the type of thing you were just

15:17:04   9   referring to?

15:17:04 10    A.     Yeah, I think that the bottom is a pretty visual

15:17:08 11    example.    So the way this structures look like it should be

15:17:12 12


15:17:16 13


15:17:19 14


15:17:25 15

15:17:29 16                and the part doesn't work anymore.

15:17:32 17    Q.     Let's flip to page 10, maybe we can find one more for

15:17:36 18    you to talk about.    Any of these you would like to explain?

15:17:39 19    A.     Sure.    Pick the top most one here, so what you're

15:17:44 20    looking at here, as I talked before about those silicone

15:17:49 21    discs that you need to cut into the chips,

15:17:53 22

15:17:58 23


15:18:02 24


15:18:05 25
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15:18:08   1

15:18:17   2

15:18:21   3

15:18:25   4

15:18:32   5

15:18:35   6                                                     , it's also

15:18:39   7   something that can again lead to failure of that part, say

15:18:44   8   two years after we put it in a phone.

15:18:47   9   Q.     Okay.    Let's pull up your slide 4.12 to summarize

15:18:52 10    these two.   And which trade secret have you identified as

15:18:55 11    these documents relating to?

15:18:57 12    A.     Trade secret relevant here is the optimal equipment

15:19:00 13    processing procedures and badge lines for inspecting

15:19:04 14    products for defects.

15:19:05 15    Q.     And just briefly because I think we touched on this,

15:19:08 16    how is all this useful to Qorvo?

15:19:10 17    A.     As I already pointed out before, specifically those

15:19:16 18    different pictures and the knowledge about what kind of

15:19:18 19    defects can occur, that's a combination of many, many years

15:19:24 20    of running into those issues, and figuring out that hey,

15:19:28 21    this is something we don't want.

15:19:30 22                   If a new company gets their hands on that, they

15:19:37 23    know from the get go what we had to learn painfully over the

15:19:42 24    last twenty years.

15:19:43 25    Q.     Are both of these documents maintained as
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15:19:47   1   confidential at Qorvo?

15:19:48   2   A.     Yes, they are.

15:19:49   3   Q.     We've run through group 7, but I want to ask you

15:19:52   4   similar questions as we wrap that up.      We've talked about

15:19:55   5   these group 7 documents, do these relate to BAW filters?

15:20:00   6   A.     Yes, they do.

15:20:01   7   Q.     What about SMR filters?

15:20:02   8   A.     Yes, they do as well.

15:20:04   9   Q.     And FBAR filters?

15:20:07 10    A.     Yes, they did.

15:20:08 11    Q.     Why do they pertain to both?

15:20:10 12    A.     Again, they are again generic across many, many

15:20:14 13    technologies, going through the document here you'll find

15:20:16 14    pictures for BAW filters, one will find pictures for FBAR,

15:20:21 15    it doesn't matter, it's technology agnostic.

15:20:25 16    Q.     We talked about group 5 and group 7 and individual

15:20:28 17    documents in both groups.     Just to confirm, were all the

15:20:31 18    documents kept as confidential and secret at Qorvo, were

15:20:34 19    there any exceptions?

15:20:35 20    A.     No.

15:20:35 21    Q.     How do you know that?

15:20:36 22    A.     I saw indications confidential proprietary on all of

15:20:40 23    them, I saw the document control numbers on all of them and

15:20:43 24    I know from my personal experience at Qorvo, those documents

15:20:46 25    were in the Qorvo document control system.
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15:20:48   1   Q.     And that document control system, how is access

15:20:52   2   restricted?

15:20:52   3   A.     Password restricted, one needs a network log in, and

15:20:57   4   then to access specifically to the system is provided on a

15:21:00   5   need to know business basis.

15:21:01   6   Q.     To your knowledge, has Qorvo made any of the

15:21:05   7   documents we talked about so far public?

15:21:07   8   A.     Not that I know of.

15:21:09   9   Q.     And can the information we talked about be obtained

15:21:12 10    by simply looking at Qorvo's commercial products?

15:21:15 11    A.     No.

15:21:16 12    Q.     Why not?

15:21:20 13    A.     Let's take as an example the optical inspection here,

15:21:24 14    the purpose of the optical inspection is to weed out the

15:21:28 15    cases that we see in these different images.        So just to do

15:21:34 16    that, any parts that actually make it to our customers, that

15:21:37 17    anybody could look at would not have any of these defects.

15:21:41 18    Q.     And did you become aware at some point that Akoustis

15:21:44 19    had copies of all of these documents?

15:21:46 20    A.     Yes.

15:21:47 21    Q.     And did Qorvo ever give Akoustis permission to have

15:21:51 22    these documents?

15:21:51 23    A.     Not to my knowledge.

15:21:53 24    Q.     Okay.    We've finished the trade secret portion, so I

15:21:56 25    would like to change topics to a final topic.
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15:21:59   1                     MR. TIGAN:   And if I may approach one more time,

15:22:01   2   Your Honor?

15:22:01   3                     THE COURT:   You may.

15:22:01   4   BY MR. TIGAN:

15:22:19   5   Q.        I have just handed you what the parties have

15:22:23   6   previously marked as PTX 1716.         Could you please identify it

15:22:29   7   for us?

15:22:29   8   A.        Yes.    That's a patent on which I am the co-inventor.

15:22:35   9   Q.        Okay.    Can we pull up your demonstrative 4.13,

15:22:41 10    please, Mr. Buchbinder.

15:22:42 11                      And can we just call it the '755 patent today so

15:22:47 12    I don't jumble up all the numbers over and over again?

15:22:50 13    A.        Yes.

15:22:51 14    Q.        This may be the biggest softball, but how are you

15:22:54 15    familiar with this document?

15:22:55 16    A.        Well, I was a co-inventor on the document and

15:23:01 17    collaborated with my co-inventor here to the preparation of

15:23:04 18    the document.

15:23:05 19                      MR. TIGAN:   Your Honor, I move this into

15:23:06 20    evidence, please.

15:23:07 21                      THE COURT:   Marked and received as 42.

15:23:09 22                      (Trial Exhibit No. 42 was admitted into

15:23:10 23    evidence.)

15:23:10 24    BY MR. TIGAN:

15:23:10 25    Q.        So were you involved in drafting this document?
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15:23:14   1   A.       Yes, I was.

15:23:15   2   Q.       And let's turn to slide -- your next slide 4.14.      And

15:23:24   3   just in general, could you explain to the jury what the

15:23:27   4   invention is in this patent?

15:23:29   5   A.       Sure.    So BAW resonators, in general, consist -- of

15:23:41   6   piezoelectric layer, piezoelectric like the piezo light that

15:23:48   7   you have at home, you push it, it sparks.       Two electrodes,

15:23:52   8   one at the top and one at the bottom to try to get to the

15:23:56   9   electricity to the piezo layer.

15:23:59 10                     If one applies electricity to the piezo layer,

15:24:03 11    things start moving, mechanically moving up and down.        And

15:24:07 12    that mechanical movement of course if no proper measures are

15:24:12 13    taken to contain that movement in the resonator, it can leak

15:24:16 14    out to the left, to the right, anywhere.

15:24:18 15    Q.       And where are we seeing this on the screen?

15:24:21 16    A.       In this case, the green layers are the electrodes or

15:24:25 17    pieces of metal, and the blue layer is the piezoelectric

15:24:30 18    layer.   And the big red arrows left and right, if we focus

15:24:35 19    on the left figure here, that's the loss.       So this is a case

15:24:39 20    where no proper measures have been taken to prevent the

15:24:44 21    loss.

15:24:44 22    Q.       Why are the loss arrows of a different size on the

15:24:49 23    right?

15:24:49 24    A.       On the right-hand side, the subject of the invention

15:24:52 25    has been implemented, specifically and I want to point your
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15:24:58   1   attention to the orange and purple layers here, so the key

15:25:05   2   of the invention that the purple layer outside the electrode

15:25:12   3   of the device, to the left and the right has a different

15:25:17   4   thickness than the layer in orange on top of the device,

15:25:22   5   both layers here.

15:25:26   6               Getting the difference between the thickness of

15:25:28   7   the orange and the thickness of the purple part just right

15:25:32   8   gets us to a condition that we call acoustic matching, we'll

15:25:37   9   talk about on the next page.    And that minimizes that

15:25:40 10    acoustic vibration, the vibration is generated, it minimizes

15:25:46 11    that vibration leaking to the left and the right.

15:25:49 12    Q.     Have you heard the term lateral loss?

15:25:52 13    A.     Lateral in that case refers to left and right.

15:25:56 14    Q.     You promised you would show us on the next page, so

15:25:59 15    can we flip over.   And this is titled acoustic matching,

15:26:04 16    what is that?

15:26:05 17    A.     So, we talked before about the evaporation that

15:26:10 18    generate in a BAW device like this one.     The evaporation

15:26:16 19    here symbolized by that squiggly pattern here and similarly

15:26:24 20    to what I explained to the previous page, we can minimize

15:26:28 21    that squiggly pattern, the wave, the mechanical energy, we

15:26:34 22    can prevent it from exiting left and right from the device

15:26:37 23    by applying the invention, and if we get to this point that

15:26:43 24    that leakage is minimized, ideally, you don't have it there

15:26:48 25    anymore, that's the condition we call acoustic matching.
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15:26:52   1   Q.     How do you measure that, how do you measure whether a

15:26:55   2   structure is acoustically matched?

15:26:58   3   A.     So the easiest way to do that is to look at the

15:27:02   4   structure in terms of simulation, refer to simulations, we

15:27:09   5   are talking about computer programs that basically calculate

15:27:11   6   how the device behaves.

15:27:14   7               And one easy way once we have the computer

15:27:20   8   program that tells us hey, this device is moving like this

15:27:23   9   or like that, then we can go in and we can analyze that data

15:27:28 10    by looking at how much mechanical energy is actually flowing

15:27:32 11    from the center portion of that device to the outside

15:27:36 12    portion of that device, that's called lateral energy flux.

15:27:40 13    So how much energy goes from the middle to the outside.

15:27:46 14    Q.     Are there other ways to visualize acoustic matching?

15:27:49 15    A.     There is other ways, we previously used --

15:27:53 16    Q.     Let's flip to the next slide, I apologize, can we go

15:27:57 17    to the next slide, please?

15:27:59 18    A.     Look, for example, here at the parameter called

15:28:01 19    mechanical energy density.    Mechanical energy density means

15:28:07 20    if I have a wave in an area, if I have an acoustic

15:28:11 21    vibration, a mechanical vibration in an area, I can

15:28:14 22    symbolize that by different shades of gray here.       And again

15:28:18 23    the left portion here is basically half of the device view

15:28:23 24    that we had on the previous page, without the invention, and

15:28:26 25    on the right-hand side here a similar device portion but
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15:28:31   1   with the invention applied.    And it's a little hard to see

15:28:36   2   here because there is no color block, originally it was a

15:28:40   3   color block, but the right-hand side in that orange, red

15:28:46   4   ellipsoid region there is less mechanical energy on the

15:28:50   5   outside which means that we have less energy flux from the

15:28:53   6   inside of the device where the energy is generated to the

15:28:57   7   outside.

15:28:58   8   Q.      We can take that down just for a moment.     You

15:29:00   9   referred to these computer simulations.     How accurate are

15:29:04 10    they?

15:29:05 11    A.      So if we come over the years with a lot of investment

15:29:09 12    and research, extremely accurate, now to the point that we

15:29:14 13    are most of the time refraining from even running hardware

15:29:19 14    until we really get -- so actually creating the part,

15:29:22 15    measuring them, until we get to the last iteration of what

15:29:26 16    we're trying to achieve.

15:29:28 17    Q.      That was my question, why wouldn't you make a

15:29:30 18    hardware prototype and test it?

15:29:32 19    A.      One could, but it's always way cheaper and way faster

15:29:36 20    to just run the computer program than to actually physically

15:29:39 21    make something.

15:29:40 22    Q.      Does the invention in your patent apply to both SMR

15:29:43 23    and FBAR filters?

15:29:44 24    A.      Yes, it does.

15:29:45 25    Q.      Why is that?
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15:29:46   1   A.      So fundamentally the resonator structure is the same,

15:29:50   2   you have a top electrode and a bottom electrode.

15:29:54   3   Q.      You might want to slow down for the court reporter.

15:29:56   4   A.      You have a top electrode, you have a bottom

15:29:59   5   electrode, you have a piezo layer and the invention

15:30:02   6   addresses lateral energy loss.     And looking at an FBAR

15:30:08   7   structure, the lateral energy loss on an FBAR structure is

15:30:13   8   there in the very same way as an SMR structure.      In an FBAR

15:30:17   9   structure there is actually deformative loss factor, so

15:30:22 10    therefore it's even more important for an FBAR than for an

15:30:27 11    SMR.

15:30:28 12    Q.      I did want to ask you, are you proud that you're an

15:30:30 13    inventor on this patent?

15:30:32 14    A.      Sure.    Anything an engineer can do to improve the

15:30:35 15    products of the company makes me happy.

15:30:38 16    Q.      The last few questions and then I'll take a seat and

15:30:41 17    let my colleague ask you some questions.

15:30:44 18                    Can we turn to the last demonstrative in

15:30:46 19    Dr. Fattinger's slide deck, please.     It should be the last

15:30:51 20    page.   There we go.

15:30:59 21                    Is this a demonstrative that you located to show

15:31:01 22    the jury today?

15:31:03 23    A.      Yes, I did.

15:31:03 24    Q.      And what are we seeing here?

15:31:05 25    A.      On the left-hand side, we are seeing very simplified
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15:31:09   1   cross-section sketch of an SMR resonator, we talked before

15:31:16   2   about the piezoelectric layer in bright green, the top

15:31:20   3   electrode and the bottom electrode in teal, and then the

15:31:25   4   substrate on the very bottom.      And on the right-hand side a

15:31:30   5   similar device, an FBAR, top electrodes and in teal, a

15:31:35   6   bottom electrode in teal, piezoelectric layer sandwiched in

15:31:40   7   between and the substrate on the very bottom.

15:31:42   8   Q.     And on the bottom I am seeing the red and the green.

15:31:47   9   What are those?

15:31:48 10    A.     I can speculate here, they're obviously an incomplete

15:31:55 11    list of the features that we see on the top.        I can see a

15:31:58 12    piezo layer in red left and right, I can see a top side air

15:32:03 13    cavity basically on top of the top electrodes, there is

15:32:07 14    nothing, air, and I can only guess what is meant here by

15:32:15 15    backside activity.     The backside activity refers to the

15:32:20 16    activity.

15:32:21 17    Q.     Well, the red and green just to simplify is that part

15:32:25 18    of the structure the filter structure?

15:32:27 19    A.     No, it's not a part of the structure.        It's a list of

15:32:30 20    features or bullet points.

15:32:32 21    Q.     I know you haven't been able to be in the courtroom

15:32:34 22    but the jury has heard about air cavity.       Is it the FBAR

15:32:38 23    that has the air cavity?

15:32:39 24    A.     Yes.

15:32:40 25    Q.     Can you explain whether there is any significance to
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15:32:43   1   that?

15:32:43   2   A.      So the air cavity is one way to keep acoustic energy

15:32:48   3   in the BAW resonator.       The acoustic reflector in an SMR

15:32:55   4   serves the exact same purpose, namely keeping the energy in

15:32:59   5   the resonator.

15:33:01   6   Q.      And do you understand that these images were from an

15:33:05   7   Akoustis document?

15:33:05   8   A.      Yes.

15:33:06   9   Q.      And just to finish up, are the top portions of these

15:33:12 10    filters identical?

15:33:12 11    A.      Yes.

15:33:13 12    Q.      And do they both have a top electrode?

15:33:15 13    A.      Yes, they do.

15:33:16 14    Q.      And a poly crystal piezo layer?

15:33:19 15    A.      Yes, they do.

15:33:20 16    Q.      And bottom electrode?

15:33:21 17    A.      Absolutely.

15:33:22 18    Q.      Substrate?

15:33:23 19    A.      Yes.

15:33:23 20    Q.      And a top side air cavity?

15:33:25 21    A.      Uh-huh.

15:33:26 22                   MR. TIGAN:    Thank you, Doctor.    That's all I

15:33:28 23    have for the moment.

15:33:28 24                   I'll pass the witness.

15:33:30 25                   THE COURT:    We're going to take our
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15:33:32   1   fifteen-minute break.       It's 3:30.    We'll be back at 3:45 and

15:33:39   2   we'll start the cross-examination of the witness.        You may

15:33:43   3   step down.   You may not talk to anybody about your

15:33:46   4   testimony.   We'll let you be excused right now and give you

15:33:51   5   fifteen minutes.    I'll stay here for just a while.

15:33:55   6                  (Jury exiting the courtroom at 3:33 p.m.)

15:34:11   7                  THE COURT:    All right.    Everybody can be seated.

15:34:16   8   Of course you may step down.      Everybody will have a restroom

15:34:20   9   break.   I don't think we have anything else we need to go

15:34:23 10    over.    We'll be staying I'm sure until 5:30 today.

15:34:26 11                   Nothing else?    Thank you very much.

15:34:31 12                   COURT CLERK:    All rise.

15:35:06 13                   (A brief recess was taken.)

15:47:19 14                   THE COURT:    You may be seated.    You may bring

15:47:24 15    the jury in.

15:47:57 16                   (Jury entering the courtroom at 3:47 p.m.)

15:48:11 17                   THE COURT:    All right.    Counsel may proceed.

15:48:26 18    Everyone can be seated.

15:48:29 19                        CROSS-EXAMINATION

15:48:29 20    BY MR. LEMIEUX:

15:48:30 21    Q.       Good afternoon, Mr. Fattinger.

15:48:32 22    A.       Good afternoon.

15:48:33 23    Q.       Excuse me if I mispronounce your name.

15:48:36 24    A.       Perfectly fine.

15:48:37 25    Q.       Earlier in your testimony, Mr. Fattinger, you
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15:48:41   1   indicated that you were familiar with the phase gate product

15:48:45   2   development process, is that correct?

15:48:47   3   A.     That's correct.

15:48:48   4   Q.     And you also maintain that that is something that is

15:48:51   5   a trade secret of Qorvo?

15:48:53   6   A.     Yes.

15:48:53   7   Q.     And you're familiar that other businesses also use

15:48:58   8   Phase Gate Development processes?

15:48:59   9   A.     Not firsthand.

15:49:00 10    Q.     Did you use one at all at your prior -- did you work

15:49:04 11    at Infineon before you came to work for TriQuint?

15:49:07 12    A.     Yes.

15:49:07 13    Q.     And did Infineon have a Phase Gate Development

15:49:11 14    process?

15:49:11 15    A.     Not that I know of.

15:49:13 16    Q.     If I could ask to bring up, I believe it's

15:49:23 17    Exhibit 34, Trial Exhibit 34, page 2.

15:49:34 18                  Mr. Fattinger, could you tell me what type of

15:49:37 19    product this particular document relates to?

15:49:41 20    A.     Yes.    It is a Wi-Fi high power front-end module.

15:49:48 21    Q.     I'm sorry, a front-end module?

15:49:50 22    A.     Yes.

15:49:51 23    Q.     So this is not a BAW filter, it's for a more

15:49:55 24    complicated device, correct?

15:49:57 25    A.     Yes, it could contain a BAW filter, but the device
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15:50:00   1   itself is not just a filter.

15:50:03   2   Q.     If the company didn't make front-end modules, this

15:50:07   3   document would be not as much relevance to them, would it?

15:50:11   4   A.     No.   So the Wi-Fi front-end module, a Wi-Fi power

15:50:17   5   amplifier, the specifications of such a device, since it is

15:50:22   6   always used in the radio, like in a cell phone, for example,

15:50:29   7   the specifications of such device are relevant to use the

15:50:36   8   best possible filter device in case one wants to sell a

15:50:40   9   filter device in a similar system.

15:50:42 10    Q.     Well, in terms of the cost, cost information that's

15:50:46 11    mentioned here that you said was important, this costing

15:50:50 12    information, though, is for a front-end module, not for a

15:50:55 13    BAW filter, correct?

15:50:56 14    A.     Correct.

15:50:57 15    Q.     If you could turn back to I think it's Exhibit 33,

15:51:02 16    which was PTX 0088, what type of device is this particular

15:51:25 17    document for, which you also say was very important?

15:51:28 18    A.     See from the purple section here, that it's a single

15:51:34 19    pole double throw switch.

15:51:35 20    Q.     A switch is not a BAW filter, is it?

15:51:38 21    A.     It is not.

15:51:39 22    Q.     So if you don't make switches, then this document has

15:51:42 23    less importance to you than if you did, correct?

15:51:44 24    A.     Similarly to the question before about the amplifier,

15:51:51 25    knowing the characteristics of a switch is important in
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15:51:54   1   designing the best possible filter performance.

15:52:00   2   Q.     But the particular layout of the switch, that's not

15:52:07   3   going to tell you how to build your BAW filter, is it?

15:52:10   4   A.     The layout of the switch is not defined in the

15:52:13   5   document.

15:52:14   6   Q.     And the specifications for the switch are not the

15:52:17   7   same as the specifications for the filter itself, are they?

15:52:20   8   A.     That's correct, but they have a bearing on how the

15:52:24   9   filter is specified.

15:52:29 10    Q.     If I could ask you then to please turn to Exhibit 41,

15:52:46 11    which is I think PTX 0225 in your binder.        Trial Exhibit 41.

15:52:56 12    This is a visual quality inspection document?

15:52:59 13    A.     That's correct, yes.

15:53:01 14    Q.     Are you aware of tools now that perform a visual

15:53:07 15    inspection rather than relying on a manual inspection?

15:53:11 16    A.     Yes.

15:53:12 17    Q.     And are those tools in wide use in your industry?

15:53:16 18    A.     Yes.

15:53:27 19    Q.     If I could ask you now to then to turn to Trial

15:53:34 20    Exhibit 38.    And if you could please look at page 4 of that

15:53:51 21    document.

15:53:58 22    A.     Uh-huh.

15:53:59 23    Q.     Is the implementation requirements for reflow

15:54:03 24    precondition, does that come from a JEDEC standard?

15:54:06 25    A.     Yes.
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15:54:06   1   Q.       As the JEDEC standard, that's reflected on page 4 of

15:54:12   2   the document?

15:54:12   3   A.       That's correct.

15:54:12   4   Q.       And JEDEC is a public standard?

15:54:15   5   A.       Yes.

15:54:15   6   Q.       And the purpose of a JEDEC is to encourage uniformity

15:54:19   7   in terms of implementation, correct?

15:54:22   8   A.       Yes, which JEDEC standard I think is relevant, it's a

15:54:26   9   different product otherwise, it requires different regional

15:54:30 10    profiles.

15:54:30 11    Q.       Because different products will have different

15:54:33 12    characteristics and so therefore there may be a different

15:54:36 13    JEDEC standard for different products, correct?

15:54:38 14    A.       That's not only dependent on the product, but also on

15:54:43 15    the assembly requirements of the customer.

15:54:47 16    Q.       Mr. Fattinger, do you have any personal knowledge as

15:54:50 17    to whether or not Akoustis even performs a reflow or

15:54:56 18    reconditioning process?

15:54:57 19    A.       No.

15:54:59 20    Q.       And do you have any personal knowledge as to whether

15:55:06 21    or not Akoustis has ever used what was marked as Exhibit 88

15:55:13 22    -- excuse me, Exhibit 37, is that right?         Exhibit 35, I'm

15:55:21 23    sorry.

15:55:22 24    A.       Can you point me?

15:55:23 25    Q.       It's 088.
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15:55:26   1   A.     What was the question regarding that?

15:55:28   2   Q.     Do you have any personal knowledge that Akoustis has

15:55:31   3   actually used the information that's reflected in this

15:55:34   4   document?

15:55:34   5   A.     No personal knowledge.

15:55:37   6   Q.     Do you have any personal knowledge that Akoustis has

15:55:40   7   used any of the information that's reflected in Exhibit 33?

15:55:45   8   A.     Which is PTX number?

15:55:48   9   Q.     0111.

15:56:01 10    A.     No, no personal knowledge.

15:56:03 11    Q.     In fact, do you have any personal knowledge that

15:56:05 12    Akoustis has ever used any of the trade secrets that you

15:56:08 13    testified to today?

15:56:09 14    A.     No, no personal knowledge.

15:56:11 15    Q.     Now, you've talked about simulations, and simulations

15:56:17 16    are dependent upon the variables that are used to create

15:56:20 17    them, is that right?

15:56:21 18    A.     That is one parameter, yes, also the physical

15:56:26 19    understanding that what I am simulating actually makes sense

15:56:30 20    from a physics point of view, among other parameters.

15:56:34 21    Q.     Are simulations generally-- are they complicated in

15:56:38 22    terms of determining which variables to use and not use?

15:56:41 23    A.     Yeah, they can be pretty complicated, pretty complex.

15:56:44 24    Q.     Are the results of a simulation then useful if a

15:56:48 25    wrong variable or if the simulation is missing an important
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15:56:52   1   variable?

15:56:55   2   A.     Well, that obviously depends on the application, if

15:56:58   3   that variable is relevant in that particular application.

15:57:02   4   If it is, and they're useless, it's not, then they might

15:57:06   5   still be useful.

15:57:11   6   Q.     And just one final question.       Regarding your patent,

15:57:26   7   congratulations on that.     I'm always very impressed with

15:57:30   8   engineers who are able to get their own patents.

15:57:32   9   A.     Thank you.

15:57:33 10    Q.     If we looked at page 4 of your patent --

15:57:38 11    A.     Yes.

15:57:39 12    Q.     -- and the figures that are depicted there, those are

15:57:43 13    both SMR filters, correct?

15:57:47 14    A.     SMR resonators.

15:57:49 15    Q.     SMR resonators, I'm sorry.

15:57:53 16                  And, in fact, on page 6, the resonators depicted

15:57:57 17    there, that's also an SMR resonator?

15:58:00 18    A.     That is correct.

15:58:02 19    Q.     And if you removed the reflective layers, the

15:58:08 20    tungsten, looks like silicone oxide layers of an SMR filter,

15:58:13 21    would it work?

15:58:13 22    A.     Yes.

15:58:14 23    Q.     And would it work as well as one that has those

15:58:17 24    materials embedded in it?

15:58:18 25    A.     So if you replace it with a cavity, yes.
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15:58:22   1   Q.     No, I'm not asking if you replace the cavity, if you

15:58:25   2   took an SMR filter and simply removed the reflective

15:58:29   3   material from the base, would it work in the way that it's

15:58:32   4   intended?

15:58:32   5   A.     If I remove the reflective material and left just

15:58:36   6   nothing there, which is by definition a cavity.

15:58:39   7   Q.     What if it is simply replaced by other substrate

15:58:44   8   material?

15:58:44   9   A.     Like what?

15:58:44 10    Q.     The rest of what you depict here as substrate,

15:58:48 11    silicone oxide without the tungsten?

15:58:50 12    A.     Just one layer of silicone oxide?

15:58:53 13    Q.     It could be multiple layers, just a solid block of

15:58:57 14    substrate?

15:58:57 15    A.     You have to distinguish between multiple layers of

15:59:00 16    silicone oxide.

15:59:02 17    Q.     Your figure here, Mr. Fattinger, shows a layer of

15:59:06 18    silicone oxide and a layer of tungsten and another layer of

15:59:09 19    silicone oxide and another layer of tungsten.       If I removed

15:59:14 20    those tungsten layers, would this SMR filter operate in the

15:59:17 21    way that it's designed and intended?

15:59:19 22    A.     Again with a cavity there when you remove the

15:59:22 23    tungsten.

15:59:22 24    Q.     I'm not leaving a cavity, I'm removing those

15:59:26 25    reflective materials.
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15:59:27   1   A.     How would the structure look like?

15:59:29   2   Q.     I just described it for you, no tungsten, just

15:59:32   3   silicone oxide there, it's still solid material?

15:59:35   4   A.     One block of silicone oxide?

15:59:38   5   Q.     Yes.

15:59:38   6   A.     It would not work.

15:59:40   7   Q.     It would not work?

15:59:42   8   A.     Right.

15:59:43   9                 MR. LEMIEUX:    That's all the questions I have,

15:59:44 10    Your Honor.

15:59:45 11                  THE COURT:   All right.    Redirect.

15:59:46 12                      REDIRECT EXAMINATION

15:59:48 13    BY MR. TIGAN:

15:59:50 14    Q.     I'll be very brief, Dr. Fattinger.        On your

15:59:54 15    cross-examination, you were asked about the reflow process

15:59:58 16    and the JEDEC standard, if I'm pronouncing that correctly?

16:00:02 17    A.     Correct.

16:00:02 18    Q.     Does that standard provide all the information Qorvo

16:00:05 19    needs to know to perform its reflow process?

16:00:08 20    A.     No, it just provides the particulars of the

16:00:11 21    temperature profile.

16:00:13 22    Q.     You were also asked a series of questions about your

16:00:16 23    personal knowledge about what Akoustis is doing.         Have you

16:00:18 24    ever worked at Akoustis?

16:00:19 25    A.     No.
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16:00:19   1   Q.        And would there be any way for you to have personal

16:00:23   2   knowledge about how Akoustis makes its filters?

16:00:25   3   A.        No.

16:00:26   4   Q.        Okay.    One last thing about your patent.       It's PTX

16:00:34   5   1716.   If we could put page 15 up on the screen, please.

16:00:38   6                     I believe you were asked about some of the

16:00:42   7   figures and whether they were SMR or FBAR.           Do you recall

16:00:46   8   that?

16:00:46   9   A.        Correct.    Yes, I recall that.

16:00:47 10    Q.        And Mr. Buchbinder, can we, in column 7, go down to

16:00:54 11    line 55 to I think 57.          And what does it say, Doctor?

16:00:59 12    A.        It says in examples of Figures 2B and 4, the BAW

16:01:05 13    resonator labeled 66 here is an SMR type BAW resonator.

16:01:09 14    However, the concepts disclosed here in are equally

16:01:12 15    applicable to film bulk acoustic resonator or FBAR type BAW

16:01:18 16    resonators.

16:01:20 17                      MR. TIGAN:    Thank you, Doctor.   That's all I

16:01:22 18    have today.

16:01:22 19                      THE COURT:    Thanks very much.    You may step

16:01:25 20    down.   And who is your next witness going to be?

16:01:34 21                      MR. CREMEN:    Your Honor, Qorvo will call Michael

16:01:39 22    Hodge whose video deposition clips will be played on the

16:01:42 23    screen.

16:01:43 24                      THE COURT:    All right.   Ladies and gentlemen,

16:01:45 25    they will play a video deposition and although the witness
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16:01:53   1   is not here in court, it's the same as any other live

16:01:56   2   testimony.     Listen carefully.    You do not get a chance to

16:01:59   3   rehear this, just like a witness who is in the courtroom,

16:02:02   4   you hear them one time, so pay the same attention you would

16:02:06   5   as if the witness was sitting on the witness stand.

16:02:09   6                   We're ready to proceed.

16:02:09   7                   (Videotape deposition of Michael Hodge:)

16:02:15   8   Q.      Good morning, Mr. Hodge.       Mr. Hodge, the court

16:02:18   9   reporter's handed you what has been marked as Hodge

16:02:20 10    deposition Exhibit 3.      Do you recognize this document?

16:02:22 11    A.      Yes.    This looks to be the letter that I sent to try

16:02:25 12    to describe to you my efforts to find these documents, and I

16:02:29 13    also created a manifest of a physical document that I mailed

16:02:36 14    you.   Yes.

16:02:37 15    Q.      And during what period were you employed by Akoustis

16:02:42 16    Technologies?

16:02:42 17    A.      It would have been -- it was summer of 2015.           I think

16:02:46 18    it was July 2015, June or July 2015 to January of '22.

16:02:54 19    Q.      And could you tell me what positions you held while

16:02:57 20    you were at Akoustis?

16:02:59 21    A.      Yes.    I started as a device engineer, because we were

16:03:04 22    trying to build a technology at the time, so I was try --

16:03:07 23    working on that and then transitioned over to a design --

16:03:11 24    filter design engineer.

16:03:12 25    Q.      Okay.    And during what time period did you hold the
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16:03:15   1   position of filter design engineer?

16:03:17   2   A.     Let's see.     That should have been probably -- late

16:03:22   3   2016 is when I moved over to design filters.          And, I was

16:03:28   4   still design filter when I left.

16:03:31   5   Q.     So you continued the responsibility of design filters

16:03:35   6   even after you took on the role of the manager?

16:03:38   7   A.     Right.    Yes.

16:03:39   8   Q.     And you were a device engineer, then, from around

16:03:43   9   June of 2015 until late 2016?

16:03:47 10    A.     That's right.     Yes.   That sounds about right.

16:03:50 11    Q.     What were your responsibilities as a device engineer?

16:03:52 12    A.     Yes.    So we were -- at that time I was working on

16:03:56 13    designing resonators.     So Akoustis resonators are used as a

16:04:01 14    building block to design Akoustis filters.          So at the time

16:04:08 15    the company was working on our technology developing it, and

16:04:12 16    so I was helping with that design.       But what I was doing was

16:04:16 17    multi-physics simulations of different structures to try to

16:04:21 18    figure out, you know, to optimize what the structure should

16:04:26 19    look like and then work with the process and engineers in

16:04:29 20    order to implement that.

16:04:31 21    Q.     What were your responsibilities as a filter design

16:04:36 22    engineer?

16:04:36 23    A.     It was to design RF filters that utilized acoustic

16:04:41 24    resonators.    So I work on several products ranging from

16:04:45 25    military to wireless infrastructure.          Mostly it was, you
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16:04:52   1   know, bandpass filters.

16:04:59   2   Q.     What products did you work on as a design engineer?

16:05:03   3   A.     I assume you mean the released products that are on

16:05:07   4   the website?

16:05:09   5   Q.     Yes.     Let's start with the released products?

16:05:12   6   A.     Yes, that would be AKF-1252, AKF-1938, and then

16:05:20   7   there's A10252, A10149.      I'm not sure of any other ones that

16:05:28   8   maybe were released off the top of my head.         There's maybe

16:05:36   9   one I'm missing, but yes.

16:05:38 10    Q.     Prior to your work at Akoustis, where were you

16:05:43 11    working?

16:05:44 12    A.     I worked at Qorvo, RF Micro Devices.         It was really

16:05:51 13    RF Micro Devices.     They merged with TriQuint.      I think that

16:05:55 14    was announced in 2014.      And then the merger, if I remember

16:06:00 15    correctly, went through in January of 2015, and then I left

16:06:03 16    in summer of 2015.     So it's Qorvo for about six months at

16:06:08 17    the one company.     Yes.

16:06:10 18    Q.     As a design engineer at RFMD, what type of products

16:06:14 19    did you work on?

16:06:15 20    A.     Primarily I was working on -- well, the technology I

16:06:18 21    worked with was gallium nitride, high electron mobility

16:06:23 22    transmitters.    People call it HEMT, HEMT, that was the -- so

16:06:29 23    I was doing the design of RF filters primarily with those.

16:06:33 24    Some light amplifier design work, but mostly, sorry, not

16:06:37 25    filters, did I say filters?      I did not mean filters.       I
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16:06:41   1   didn't do filters at all.      RF switches.

16:06:43   2   Q.     Did you ever work on BAW filters for Qorvo?

16:06:46   3   A.     No, I never worked on BAW filters for Qorvo.

16:06:49   4   Q.     Would you describe Akoustis as an early-stage or

16:06:53   5   start up company?

16:06:53   6   A.     Yeah.     It was early stage.    I think I was like

16:06:57   7   employee number ten.     And yeah, it was -- we were -- they

16:07:01   8   were running wafers at the time with an external foundry

16:07:05   9   when I joined.    So yeah, that was the stage at that point.

16:07:09 10    Q.     When Akoustis decided to design a new filter, what

16:07:13 11    would be the first step in the process?

16:07:15 12    A.     Yes, it's -- the first step is when you go to design

16:07:20 13    a filter, you first want to make sure that it's worth

16:07:24 14    pursuing, right.     So you would have a meeting with someone

16:07:27 15    from marketing or -- to understand what the market needs.

16:07:31 16    So you would see like a rough general skeleton of like a

16:07:36 17    spec sheet.    You would look at parameters such as, you know,

16:07:40 18    the frequency, the band of the operation, the loss required

16:07:44 19    in the band or the loss required -- or the rejection needed,

16:07:48 20    if it was a stock filter.

16:07:51 21                   But anyway, the loss -- what the rejection was

16:07:55 22    outside of the band, and that was -- that's usually how you

16:07:59 23    would start.    And then other things like nonlinear

16:08:02 24    parameters such as like, you know, heart monitors, stuff

16:08:06 25    like that, IMD, all this stuff may come in later on.           But
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16:08:10   1   yes, it's mostly just loss and rejection and frequency.

16:08:14   2   Q.        And you said that -- it was in a meeting with the

16:08:18   3   marketing function?

16:08:18   4   A.        That's it.

16:08:20   5   Q.        Who would be in the marketing function at arc?

16:08:23   6   A.        Most of the time it was there, it was David Aichele

16:08:26   7   who we would have meetings with.

16:08:27   8   Q.        And how did Mr. Aichele know what was needed in the

16:08:31   9   market?

16:08:32 10    A.        Yeah, I mean, I knew he engaged with the market, like

16:08:37 11    he would go on road trips to visit various potential

16:08:40 12    customers that we would -- and just really find out what

16:08:43 13    their needs were.      Find out what they're lacking, what they

16:08:47 14    don't see in the market, you know, what could fill a gap in

16:08:50 15    their product line, what would enable them to develop new

16:08:53 16    products.    That sort of thing.     You know, I had meetings

16:08:55 17    with him, you know, every so often.       And he would tell me

16:08:59 18    about his -- you know, he's talked about this customer, they

16:09:02 19    need this to they would like this thing.        Sometimes it would

16:09:05 20    be -- maybe, you know, something further out.         He, you know,

16:09:08 21    he doesn't necessarily have a rough, a spec now.          But I'm

16:09:12 22    trying the give you a heads up.       But I understood that he

16:09:15 23    developed these guidelines from talking to customers is the

16:09:17 24    way I understood it.

16:09:18 25    Q.        I'm sorry.   You may have said this, but I missed it.
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16:09:20   1   Who -- what function in Akoustis is responsible for the

16:09:25   2   circuit engineering tools?

16:09:26   3   A.      The circuit engineer -- all the circuit engineering

16:09:30   4   -- well the design engineers are responsible for running the

16:09:33   5   tools to design the filter and then there usually are

16:09:37   6   software tools that plug into this design tool such as --

16:09:42   7   like the industry standard it's called a PDK or a product

16:09:46   8   development kit, so that's mostly what people were referring

16:09:49   9   to.   So we had like a -- a design I would call it more like

16:09:53 10    a proceeding PDK, it was a little bit like a home brewed

16:09:58 11    custom solution.   And that was used to assist the designers

16:10:01 12    in using their circuit tools in order to design filters.

16:10:05 13    But so yes, so there was -- now these circuit tools to

16:10:09 14    design these filters, they incorporated models that were --

16:10:13 15    that you could use -- that you could modify to produce what

16:10:19 16    you think would be the performance of the part once we

16:10:22 17    manufactured it, and then it was up to the device

16:10:26 18    engineering team to tell you can we actually manufacture a

16:10:28 19    part that would replicate that -- the thing that the model

16:10:32 20    is saying it can do.

16:10:34 21    Q.      Okay.   Was there a name for the models that Akoustis

16:10:37 22    used?

16:10:37 23    A.      There were just standard models that you can read

16:10:41 24    about in literature on an acoustic wave devices.        So we had

16:10:46 25    two different models.   There is a mason model -- is -- it's
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16:10:50   1   like a two-and-a-half D model where you can provide, you

16:10:54   2   know, material -- you basically provide physical parameters

16:10:58   3   of the stack, like what goes in the stack of the resonator

16:11:02   4   and then the Mason model should you be able to produce an

16:11:05   5   output of a resonator, and then you can use it to build it

16:11:10   6   with that.

16:11:10   7   Q.       Is the Mason model implemented in a software program?

16:11:14   8   A.       Yes.    So the mason model is just the -- it's a series

16:11:18   9   of equations that have been published, very well-known, I

16:11:22 10    mean there's books written about it.            And I took these

16:11:26 11    equations.      This was right when we started filter

16:11:28 12    development.

16:11:29 13                    So this would have been late -- the very end of

16:11:33 14    2016, I think.      That's when I implemented our first Mason

16:11:37 15    models, so I built all the equations into a project in AWR

16:11:44 16    Microsoft Office.       That was the software we were using at

16:11:46 17    the time.

16:11:47 18    Q.       And was the Mason model implemented in the software

16:11:52 19    and this way used up until the time you left Akoustis?

16:11:55 20    A.       Yes.    So that model was eventually -- we eventually

16:11:59 21    did some -- what was called PDK development.            So I told you

16:12:03 22    that -- that's was really -- that's really the -- so when I

16:12:07 23    created this model, as I described early on, it was a page

16:12:11 24    of equations in the software that we would get referenced,

16:12:15 25    right?
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16:12:16   1   Q.     Whether a new product was designed at Akoustis, how

16:12:19   2   were the layer, dimensions, and materials determined?

16:12:22   3   A.     That was determined by -- so when I told you about

16:12:24   4   the designer would go and do a feasibility study on what the

16:12:28   5   resonator performs would need to be in order to meet the

16:12:31   6   specifications of the fill.      So then you have a meeting.

16:12:35   7   There's an engineering meeting with the device engineering

16:12:39   8   team and then they hear what the designer says they need,

16:12:43   9   and then they make an estimation on what they can provide.

16:12:47 10    And the device engineer team is the one that designs the

16:12:51 11    stack, and I guess they do that in conjunction with the Fab,

16:12:55 12    yes, process engineers.

16:13:00 13    Q.     Are you aware of anyone at Akoustis using Qorvo's

16:13:04 14    design data to concrete designs?

16:13:06 15    A.     I don't know of any -- anything like that going on.

16:13:10 16    Q.     Does Akoustis perform any physical testing on its

16:13:16 17    products?

16:13:17 18    A.     Yes.    Of course.    It does -- you characterize the

16:13:21 19    part electrically; small signal, large signal.          So it is

16:13:26 20    also the small -- you know lower power, understand the power

16:13:31 21    points and then the large power, understanding the power

16:13:35 22    happening, linear, that sort of thing, it's standard in

16:13:39 23    acoustic engineering.

16:13:40 24    Q.     When you joined Akoustis in 2015, what challenges was

16:13:45 25    the company facing to become profitable?
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16:13:48   1   A.       When I joined, it was earlier in the development, so

16:13:52   2   we -- they -- we were still trying to just produce a

16:13:56   3   resonator.     So a BAW resonator, when it's not resonating, is

16:14:02   4   just a capacitor.      So that's what we were essentially

16:14:06   5   producing when I started and then we had to develop a

16:14:09   6   process in order to make it resonate.          Then we got to point

16:14:14   7   where we could make it resonate and then there is a point

16:14:17   8   once you resonate, then you got to make it where it's

16:14:20   9   competitive.     And then once you make it competitive, you got

16:14:23 10    to make it great, so it's actually -- you can produce good

16:14:26 11    parts in the market that are actually competitive in the

16:14:29 12    market place.

16:14:29 13    Q.       On that last step, producing parts that are

16:14:32 14    competitive in the marketplace, how is that different from

16:14:34 15    just producing a product that is competitive?          Because I

16:14:37 16    think you said producing competitive and then --

16:14:40 17    A.       Oh.   Oh sorry, yes.    Well, I mean, you want to -- you

16:14:43 18    can produce something that's maybe like a -- ASR -- I guess

16:14:48 19    maybe I wasn't being very clear.        You just need to produce

16:14:54 20    -- you know, you can produce a filter, but you know, if it's

16:14:57 21    not a good filter nobody is going to buy it, so what's the

16:15:01 22    point.   Then you got to produce something that someone would

16:15:04 23    be willing to buy.      Then you need to produce something at

16:15:06 24    some point when it's a competitive market, something that

16:15:09 25    will beat your competitor.
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16:15:10   1   Q.     What is the significance of testing in the context of

16:15:12   2   a BAW filter product?

16:15:14   3   A.     Yeah, I had discussed earlier about, you know,

16:15:18   4   testing the part for compliance with the specification that

16:15:21   5   the customer may have, now I'm talking about performance

16:15:24   6   specifications.   There is also testing -- now since we are

16:15:29   7   on the subject of qualifications, there is also

16:15:31   8   qualification testing, that a different set of tests, right?

16:15:35   9   So that's testing, like I said the part under environmental

16:15:38 10    conditions or stress, operating conditions, and then what

16:15:41 11    you normally do is you evaluate these parts at different

16:15:44 12    pole points, so like, you know, say X amounts of hours, some

16:15:48 13    interval you defined.   Usually these are defined in --

16:15:52 14    there's national standards, they're called JEDEC standards.

16:15:58 15                So it usually says these are the pole points you

16:16:00 16    need to do and you need to evaluate it, and you're trying to

16:16:03 17    look for shifts in performance to do that, induced stress.

16:16:08 18    And at some point you define that shift in performance as a

16:16:10 19    failure when it comes out of compliance with what the

16:16:14 20    customers are willing to separate the product.

16:16:17 21    Q.     Did you ever come across confidential Qorvo documents

16:16:20 22    while you were working at Akoustis?

16:16:22 23    A.     So I saw -- so I had the one that I -- there was one

16:16:26 24    document that I submitted as part of my subpoena -- I'm

16:16:30 25    sorry, it was actually -- it was a packet of three different
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16:16:34   1   documents that were stapled together.           That was given to me

16:16:37   2   one time to review.       At the same time, I saw a similar

16:16:41   3   document, but I never took possession of it.           I just saw it.

16:16:46   4   It was given to another individual in the company.            And

16:16:48   5   then, other than that, I can't think of any other documents

16:16:51   6   that I saw that were marked "Qorvo confidential" or

16:16:55   7   "proprietary."

16:16:57   8   Q.       Okay.    For the -- for the packet of documents, those

16:17:05   9   are the documents that you referenced in Exhibit Number 3?

16:17:10 10    A.       Yes.

16:17:11 11    Q.       Okay.    For the -- and how did you come into

16:17:14 12    possession of those three documents?

16:17:16 13    A.       Well, then -- you know, it's -- it was shortly after

16:17:22 14    Rohan Houlden joined the company.         So this would have been

16:17:25 15    the fall of 2016.       He -- he and I were sharing an office at

16:17:30 16    the time, and then he handed me these documents one day and

16:17:33 17    asked me to review them.        At the time, he and I were having

16:17:39 18    weekly lunch meetings Friday, and he asked me to review them

16:17:43 19    and then he wanted to talk about them at one of our lunch

16:17:47 20    meetings, and you know, what I knew about them.

16:17:49 21    Q.       Okay.    And you mentioned that there was another

16:17:53 22    occasion where you saw --

16:17:55 23    A.       Yes.

16:17:57 24    Q.       -- a Qorvo document, but you didn't take possession

16:18:00 25    of it.   Can you tell me what that was?
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16:18:02   1   A.     The same time period, it was Rohan gave a packet of

16:18:06   2   documents to a technician.    That document had details about

16:18:09   3   the PCB boards and the connectors used for building

16:18:17   4   prototype filters.   So it defined, like, the lines, you

16:18:21   5   know, that drew the traces, the launch, the dimensions of

16:18:26   6   the connector, that sort of thing.

16:18:28   7   Q.     And who was the technician who Mr. Houlden provided

16:18:31   8   that document to?

16:18:32   9   A.     David Dyer.

16:18:34 10    Q.     Could you spell that?

16:18:35 11    A.     David, D-A-V-I-D and Dyer, is D-Y-E-R.

16:18:40 12    Q.     And what was Mr. Dyer's role at Akoustis?

16:18:44 13    A.     He was the guy I was referencing earlier, mentioned

16:18:48 14    earlier when I said early on, you asked me how many CAD

16:18:52 15    engineers, we had, he was hired to be a technician to work

16:18:55 16    in the test lab at Akoustis, and then he was also, whenever

16:18:59 17    things were slow in the lab, he was doing CAD work and

16:19:02 18    getting trained to do CAD work.     So he would be the guy who

16:19:05 19    drew PCB boards, boards and then he also would draw filters

16:19:11 20    for designers sometimes.

16:19:12 21    Q.     How do you know that Mr. Houlden provided this Qorvo

16:19:17 22    confidential document to Mr. Dyer?

16:19:19 23    A.     Because he reported -- David Dyer reported to me at

16:19:22 24    the time and he showed that to me and said that Rohan asked

16:19:27 25    him to you know, replicate these traces in this connector.
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16:19:31   1   Q.     Was there Dyer -- did Mr. Dyer express any surprise

16:19:35   2   that Mr. Houlden had the document and then provided it to

16:19:38   3   him?

16:19:38   4   A.     I don't recall anything like that.

16:19:40   5   Q.     Were you surprised when you saw that Mr. Houlden had

16:19:45   6   given a Qorvo confidential document to Mr. Dyer?

16:19:47   7   A.     Yeah.   I mean, it's -- I was uncomfortable, yes, I

16:19:52   8   guess would be the way to describe it.

16:19:54   9   Q.     Okay.   And why uncomfortable?

16:19:56 10    A.     I -- it didn't seem like it's appropriate to be

16:20:01 11    circulating documents marked confidential from another

16:20:06 12    company.

16:20:07 13    Q.     Do you know what Mr. Dyer did with that document?

16:20:11 14    A.     I know we -- we ordered some evaluation boards that

16:20:16 15    we modified the traces on, and the -- the RF connector on

16:20:21 16    these boards is not something -- it's something you have to

16:20:25 17    buy from a supplier.   If I remember correctly, that

16:20:29 18    connector -- these suppliers will sometimes do custom

16:20:33 19    designs for you.   So they have an off-the-shelf design and

16:20:37 20    they have a custom design.    That connector was a custom

16:20:40 21    design, so they didn't sell it to you.      But if you produced

16:20:43 22    a drawing of that and then gave that to them, then they

16:20:48 23    would sell it to you, so I think that's what he was

16:20:51 24    requested to do.   I believe, I never saw the order go

16:20:55 25    through and I didn't see the file drawing or anything, but
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16:20:58   1   that was my understanding of what he was tasked to do.

16:21:01   2   Q.       And so you think the drawing would have been used to

16:21:04   3   specify an RF connector --

16:21:07   4   A.       (Nodding yes.)

16:21:10   5   Q.       -- that would be supplied to Akoustis from a third

16:21:13   6   party?

16:21:13   7   A.       Correct.

16:21:13   8   Q.       And what would that RF connector be used for then?

16:21:17   9   A.       It's what you used to interface with the test

16:21:20 10    equipment.   So you have a cable that goes from the board to

16:21:23 11    the test equipment, such as an VNA, vehicular network

16:21:27 12    analyzer.    That's an example.

16:21:31 13    Q.       Why -- why do you -- why would it have been helpful

16:21:35 14    to Akoustis to use this RF connector that's described in the

16:21:40 15    drawing?

16:21:40 16    A.       It will -- the -- you know, the connector has an

16:21:45 17    influence on the performance measured on the part.         I mean,

16:21:48 18    in theory, it should all wash out anyway because you should

16:21:54 19    de-embed, that's the term in the industry for removing the

16:21:58 20    losses leading up to the part.      In theory, you should end up

16:22:02 21    with the same performance anyway, but the more you can

16:22:05 22    reduce the losses, the less you have to take out or you have

16:22:08 23    to -- less air you have to remove from the measurement.          You

16:22:13 24    know the more accurate, the better your measurement will be.

16:22:17 25    So you want to still make the best possible performing board
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16:22:20   1   and connections as possible to get the best data.

16:22:23   2   Q.       Do you know whether the RF connector that was modeled

16:22:26   3   after the Qorvo one was used in the development of any

16:22:29   4   particular products at Akoustis?

16:22:34   5   A.       Yes.    I'll be honest with you, I don't know the exact

16:22:39   6   part -- I know there was a spec -- a custom connector that

16:22:43   7   we did use that we got for a while that we would order in

16:22:47   8   bulk, but whether that was a different -- whether it was

16:22:50   9   made from that document or not, I don't know that for sure.

16:22:53 10    Q.       What's the company that supplied the RF connector?

16:22:57 11    A.       It's been a while.      I want to say it's                but

16:23:11 12    I could be wrong about that.        I remember we bought

16:23:16 13    connectors from them for a while, but I don't remember if

16:23:18 14    that's the exact company or not.

16:23:21 15    Q.       So we -- you mentioned Rohan Houlden a few times

16:23:26 16    today?

16:23:26 17    A.       Yes.

16:23:26 18    Q.       What was his position at Akoustis while you were at

16:23:28 19    the company?

16:23:29 20    A.       Chief Product Officer was his title, but

16:23:33 21    functionally, he kind of operated like you would expect like

16:23:37 22    a CTO would operate at a tech company.          He's mainly involved

16:23:41 23    in the day-to-day of the technical team.

16:23:47 24    Q.       And we discussed previously Mr. Houlden, shortly

16:23:51 25    after he arrived, gave you three confidential documents from
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16:23:54   1   Qorvo?

16:23:55   2   A.       Yes.

16:23:56   3   Q.       What was your reaction when Mr. Houlden handed you

16:24:02   4   the package of Qorvo information?

16:24:05   5   A.       I mean, repulsion, right, I didn't want to have

16:24:09   6   possession of these.       I didn't want to take them.       But it

16:24:12   7   was -- the reason I took them, the reason I reviewed them,

16:24:15   8   the reason I discussed them with him is because he was

16:24:18   9   recently the new hire, it was made clear he was now the big

16:24:21 10    man in charge.      You know I -- so I just was like one of

16:24:25 11    these, eyelets just get through this and then move on a sort

16:24:30 12    of mindset that I had.       And so that was really the reaction.

16:24:34 13    Yes.

16:24:35 14    Q.       Yes.    I mean, he was your boss; he told you to look

16:24:39 15    at them?

16:24:40 16    A.       Exactly, yes.     And he was sitting right there beside

16:24:44 17    me, so yes.

16:24:44 18    Q.       Did Mr. Houlden tell you why he wanted you to review

16:24:47 19    the Qorvo materials?

16:24:49 20    A.       He asked if there was anything that would be useful

16:24:52 21    in developing products that I could -- I could learn from

16:24:55 22    this was really the gift of it.

16:25:00 23    Q.       Did he tell you how he had obtained the

16:25:03 24    presentations?

16:25:03 25    A.       I didn't ask him questions about that, no.
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16:25:06   1   Q.      When handed them to you, did he like pull them out of

16:25:09   2   I -- like his bag or some particular area?

16:25:12   3   A.      Yeah.    He had like a laptop bag that he carried in

16:25:16   4   and out of work and they were like in the front pocket of

16:25:19   5   that.

16:25:19   6   Q.      Okay.    Are you aware of whether Mr. Houlden had a,

16:25:23   7   like a repository of Qorvo materials that he could extract

16:25:26   8   things, like the package he gave you from?

16:25:28   9   A.      I never saw anything like that.

16:25:30 10    Q.      When he handed them to you, did he handed them to

16:25:33 11    you, did you believe the package of material was

16:25:34 12    confidential to Qorvo?

16:25:36 13    A.      I assumed it was, as soon as I got it, because I

16:25:42 14    mean, it's Qorvo has got this like really distinct black

16:25:48 15    logo, which really kills the print, but anyway, it was

16:25:51 16    printed out, it's like, and I remember seeing that right

16:25:55 17    before I left, right, so I knew it was Qorvo document when

16:25:58 18    it was handed to me just based on the color and the logo

16:26:01 19    when it was handed to me.       And then as I viewed it --the

16:26:05 20    document was marked confidential.

16:26:08 21    Q.      Mr. Hodge, the court reporter handed you what's been

16:26:11 22    marked as Exhibit Number 5.       If you'd take just a minute and

16:26:15 23    look at it and tell me if you recognize this document?

16:26:18 24    A.      Yes.    So this is the first of three documents that I

16:26:21 25    sent you as part of the subpoena why.          It's a -- it's Qorvo
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16:26:27   1   filter design document.

16:26:31   2   Q.     Mr. Hodge, the court reporter has handed you what's

16:26:34   3   marked as Exhibit 6.     I would like you to take a minute and

16:26:37   4   look at that and tell me if you recognize this document?

16:26:40   5   A.     (Witness complying.)

16:26:43   6                  This looks like the second of the three

16:26:46   7   documents that I sent you.

16:26:50   8   Q.     Meaning the second of the three documents that

16:26:52   9   Mr. Rohan provided to you?

16:26:54 10    A.     That's correct, yes.

16:26:55 11    Q.     Okay.     Mr. Hodge, the court reporter has handed you

16:26:58 12    what's been marked as Exhibit 7.

16:27:00 13    A.     Right.

16:27:01 14    Q.     If you could take a minute and look at that document

16:27:03 15    and tell me if you recognize that document?

16:27:04 16    A.     Yes.    This is the third document that I sent you

16:27:10 17    that, again, was provided by Rohan.

16:27:11 18    Q.     Okay.     And what do you understand was shown in

16:27:15 19    Exhibit 7?

16:27:16 20    A.     Yes.    This is -- this looks like an engineering

16:27:20 21    experiment to understand the performance trade office due to

16:27:23 22    the shape of the acoustic resonator.

16:27:26 23    Q.     Okay.     At Akoustis, was there a standard shape for

16:27:31 24    the resonator?

16:27:32 25    A.     I mean, we had standard shapes that we were to design
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16:27:36   1   with.   And we had shapes that went in certain areas of the

16:27:41   2   circuit.    Yes.    That's correct.

16:27:42   3   Q.      Okay.      What was the standard shape that you were to

16:27:45   4   design with?

16:27:46   5   A.      It's neither of these shapes.

16:27:48   6   Q.      So what would the standard shape that you designed

16:27:51   7   with?

16:27:52   8   A.      It's -- I don't know how you'd describe -- I mean,

16:27:56   9   here's -- internally we called it an egg.

16:27:59 10    Q.      An egg?

16:28:00 11    A.      Yes.

16:28:00 12    Q.      So it's oval?

16:28:02 13    A.      Oval-ish, yes.

16:28:04 14    Q.      Mr. Hodge, the court reporter has handed you what's

16:28:07 15    been marked as Exhibit Number 11.

16:28:10 16    A.      Yes.

16:28:12 17    Q.      Do you recognize this document at all?

16:28:14 18    A.      So this is -- do I -- so this is from the same time

16:28:20 19    period, March 17, 2020, it's Qorvo -- it looks like the

16:28:25 20    Qorvo version of the 1252, the 5.2-gigahertz filter, so yes.

16:28:34 21                    Yes.

16:28:36 22    Q.      And at what point was A10252 developed?

16:28:41 23    A.      Yeah, I don't remember the exact date, but it was

16:28:44 24    probably in this time frame, around 2020 sounds about right.

16:28:48 25    That would seem about right, but it was -- yes.
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16:28:50   1   Q.        Were you involved in the development of A10252?

16:28:57   2   A.        Yes, I was.     Yes.

16:28:58   3   Q.        Okay.    And that was to, I think you said, improve the

16:29:02   4   functionality of the --

16:29:03   5   A.        Yes.

16:29:05   6   Q.        -- AKF-1252?

16:29:07   7   A.        Yes.    So it was to improve the -- all aspects:         Loss,

16:29:12   8   out of band rejection were the two main drivers of it.

16:29:15   9   There was -- like I said, there was an advancement in our

16:29:20 10    processing capabilities and materials.           We had gotten better

16:29:24 11    performance at low 5-gigahertz than we did back in 2017.              I

16:29:29 12    mean, you would expect it to improve over time.             So I knew

16:29:32 13    we were capable of doing better jobs, so -- and I think

16:29:36 14    David kind of agreed for us to do, like an updated part, a

16:29:43 15    refreshed part, yes.

16:29:44 16    Q.        Okay.    And you understand that the Qorvo QPQ1903

16:29:48 17    ultimately became a competitor for AKF-1252 and the A10252?

16:29:56 18    A.        Yeah, I don't remember all the Qorvo part numbers,

16:29:58 19    but based on this, the context, I would assume a 1903 is a

16:30:03 20    5.2-gigahertz filter.        Those are similar, targeting the same

16:30:07 21    market.    Yes.

16:30:07 22    Q.        Okay.    If we look at the body -- well, first of all,

16:30:11 23    exhibit 11 is an e-mail from Mr. Aichele to Mr. Houlden and

16:30:16 24    yourself, right?

16:30:17 25    A.        Yes.
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16:30:17   1   Q.       And the date is March 17, 2020?

16:30:19   2   A.       Uh-huh.

16:30:21   3   Q.       The subject is Qorvo 5.2-gigahertz BAW filter?

16:30:24   4   A.       Yes.

16:30:24   5   Q.       You see there is an attachment to this e-mail, right?

16:30:28   6   A.       Yes.

16:30:29   7   Q.       And that's -- the attachment has got the title

16:30:32   8   QPQ1903.PDF?

16:30:35   9   A.       Yes.

16:30:35 10    Q.       And then Mr. Aichele has a very short message in the

16:30:38 11    body that says, "note the rejection in harmonics."            Do you

16:30:43 12    see that?

16:30:43 13    A.       I see that, yes.

16:30:44 14    Q.       What's he referring to there?

16:30:45 15    A.       He's saying the -- so that's what I was saying that's

16:30:49 16    the -- in the 1252, what you want is you need -- this is --

16:30:53 17    so the Wi-Fi 6, there is a load, so the bottom half of the

16:30:58 18    -- so between 5 to 6-gigahertz range, the lower parts of

16:31:02 19    that range, 1252 should be passing those frequencies and

16:31:05 20    should be rejecting the frequencies at the high end of the

16:31:08 21    range.   So what he's saying here is he's saying how well

16:31:12 22    does that frequency -- that filter do at it, rejecting the

16:31:16 23    high, you know, so like 56 to like 59 that range.

16:31:20 24    Q.       Okay.    Mr. Hodge, the court reporter has handed you

16:31:23 25    what's been marked as Exhibit 12.
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16:31:25   1   A.     Yes.

16:31:26   2   Q.     It's a multipage document.

16:31:28   3   A.     Yes.

16:31:29   4   Q.     The top of the first page it says product overview?

16:31:32   5   A.     Yes.

16:31:33   6   Q.     Do you recognize this document?

16:31:35   7   A.     This looks like a data sheet for Qorvo QPQ1903.

16:31:41   8   Q.     Okay.     Than do you see that the status sheet has

16:31:46   9   actually got a watermark on it?

16:31:48 10    A.     Yes.    It says confidential NDA required, yes.

16:31:51 11    Q.     And then if you go to the third page of the document

16:31:57 12    --

16:31:57 13    A.     (Witness complying.)

16:31:59 14    Q.     It's identified as a draft?

16:32:01 15    A.     Yes.

16:32:03 16    Q.     Did Mr. Aichele -- first of all, do you recall having

16:32:08 17    a meeting with Mr. Aichele to discuss the Exhibit 12?

16:32:13 18    A.     (Witness examining document.)          This sounds like

16:32:17 19    something that probably happened.       We did have meetings

16:32:20 20    every now and then to talk about, you know, what can we do

16:32:23 21    to make parts better, what can we -- is there something we

16:32:26 22    can do to make the yield better or something like that, so

16:32:29 23    these meetings kind of happened.       Yes.

16:32:31 24    Q.     But do you recall a specific meeting about this

16:32:34 25    product sheet?
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16:32:35   1   A.     Yes, I don't remember this specific meeting.           Again,

16:32:39   2   this is happening in March of 2020, so I was working very

16:32:42   3   heavily on that government proposal.         Also, this is about

16:32:45   4   time when the lockdown stuff was going on with Covid, so

16:32:49   5   those things stick out in my mind.      This does not.      But this

16:32:53   6   -- this I would have probably looked at a little more

16:32:55   7   closely.    This would have been more interesting, I think,

16:32:58   8   because I was designing the filter, right.

16:33:00   9   Q.     Would it be an advantage to Akoustis to get advanced

16:33:04 10    information on what the characteristics of a Qorvo

16:33:08 11    competitive product was going to be?

16:33:10 12    A.     The reason you -- it would be would be if it says --

16:33:16 13    if it's something better is about to hit the market, you

16:33:20 14    could potentially reduce the lag between when you have time

16:33:24 15    to respond with you with a better product, that's true.

16:33:27 16    Q.     So you could get to the market sooner?

16:33:29 17    A.     Yes, to get to the market sooner.

16:33:30 18    Q.     You don't recall asking Mr. Aichele where he would

16:33:33 19    have gotten the confidential data sheet?

16:33:36 20    A.     I did not ask.     I don't remember asking that.

16:33:38 21    Q.     Was that common at Akoustis to see competitor's

16:33:41 22    confidential data sheets?

16:33:44 23                  Just --

16:33:46 24    A.     I mean, I just can't remember.         I mean, maybe you

16:33:49 25    guys have more e-mails.     I don't -- I can't remember.
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16:33:52   1   Q.     Okay.     Well, and I just want to clarify because I

16:33:55   2   know there are publicly available data sheets.

16:33:58   3   A.     Yes, that's true.      So the -- you know.

16:34:00   4   Q.     And you do get -- as you said, could go on a website

16:34:04   5   and get a publicly available data sheet, so that would be

16:34:07   6   common, I assume?

16:34:07   7   A.     Yes.    And I get there is a water mark here drawing my

16:34:11   8   attention to it.     But probably downloading this and looking

16:34:14   9   at my computer, I probably, I'm looking at the text, I don't

16:34:18 10    really notice the watermark, I'm more drawn like to the big

16:34:22 11    bold bottom of the document, confidential, this, I probably

16:34:25 12    would have overlooked it.

16:34:27 13    Q.     If you focused on it?

16:34:29 14    A.     I think I would have seen it, but I don't think I

16:34:31 15    focused on it.

16:34:32 16    Q.     Mr. Hodge, if you had focused on the watermark

16:34:35 17    confidential NDA required, with what would you have done

16:34:38 18    with this document?

16:34:46 19    A.     You know, to be honest with you, it really -- it's

16:34:49 20    something -- it's kind of like a -- good to know when you're

16:34:53 21    designing something, but at the end of the day, I'm going to

16:34:56 22    make the best filter I'm going to make, right?

16:34:59 23                   So, I guess what it tells you is it benchmarks

16:35:03 24    where you stand with your current design.         But I wouldn't --

16:35:06 25    this doesn't -- it's not like it's going to actually make my
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16:35:09   1   filter perform better by me reading this.

16:35:12   2   Q.     If you had received information that a competitor was

16:35:15   3   planning to introduce a filter --

16:35:17   4   A.     Yes.

16:35:18   5   Q.     -- with better performance than the one that you were

16:35:21   6   currently designing --

16:35:23   7   A.     Yes.

16:35:24   8   Q.     -- would that cause you to make any different choices

16:35:26   9   on what you were doing?

16:35:27 10    A.     It's outside of my control, honestly.         I'm trying to

16:35:31 11    make -- design the best possible filter with the technology

16:35:34 12    I have available and it's really up to Dave Aichele and the

16:35:37 13    marketing guys to decide if they can.

16:35:40 14    Q.     Okay.

16:35:41 15    A.     So this, you know, like I say, it was -- you know,

16:35:44 16    this was -- he -- you know, I don't know, again, why bring

16:35:47 17    me into this, right?     This discussion, because I'm going to

16:35:50 18    do, it's just making me aware, I think of what if

16:35:53 19    competitors are doing, but it didn't influence anything over

16:35:57 20    -- I didn't do anything different.

16:35:58 21    Q.     Were you ever involved in recruiting Qorvo employees?

16:36:01 22    A.     I was involved with -- let me see here.          Let me just

16:36:07 23    define what I mean by that.      So I would do phone screens for

16:36:11 24    technical folks and I would also interview them whenever

16:36:15 25    they came on site.     But as far as like reaching out and like
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16:36:21   1   -- by the time I'm phone screening them, you know, either a

16:36:27   2   recruiter or Rohan has already put in -- give me the contact

16:36:31   3   notice and told me this is the date and time that you call

16:36:34   4   this person or meet this person.       So yes, that was for

16:36:37   5   everybody, not just Qorvo, but everybody.

16:36:39   6   Q.     Was there a focus at Akoustis on hiring Qorvo

16:36:43   7   employees?

16:36:44   8   A.     Honestly, I don't think that there was a -- there was

16:36:47   9   a target.    To be honest with you, we interviewed people from

16:36:52 10    Skyworks, Broadcom, Samsung, Qorvo, so it wasn't that --

16:36:56 11    Qualcomm, so it wasn't that Qorvo was special.          I think the

16:37:01 12    thing there is obvious that there agencies have some

16:37:04 13    familiarity with the Qorvo culture and the people because of

16:37:08 14    the people we started with at the base level.

16:37:11 15                  And also their Qorvo offices are located on the

16:37:15 16    East Coast, that made it a lower barrier to recruiting,

16:37:19 17    because my experience was any time you contacted someone at

16:37:21 18    Broadcom or that was like in the bay area, it was impossible

16:37:25 19    to get people to move from California down here, so yes, so

16:37:28 20    I would -- so like my recollection was it was a lower

16:37:31 21    barrier to recruit people from the East Coast.

16:37:33 22    Q.     Mr. Hodge, the court reporter has handed you what has

16:37:37 23    been marked as Exhibit 13.

16:37:38 24    A.     Yes.

16:37:38 25    Q.     Take a minutes and look through Exhibit 13 and tell
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16:37:41   1   me if you recognize this document?

16:37:42   2   A.        It just looks like a teams conversation with Mike

16:37:50   3   McCain, who is the software guy.

16:37:53   4   Q.        Okay.    All right.    If we go to the second page of the

16:37:57   5   document, which is Akoustis -- or at the bottom it says

16:38:07   6   AKTS_00221812.

16:38:10   7   A.        I'm sorry, which page?

16:38:12   8   Q.        It's the very second page.

16:38:14   9   A.        Second page.     Okay.    Got it.

16:38:15 10    Q.        And it ends in the numbers 12 at the bottom

16:38:20 11    right-hand corner?

16:38:21 12    A.        Oh, yes.    812.   Yes.

16:38:24 13    Q.        Okay.    So I'd like to direct your attention to your

16:38:28 14    message at 12:40 p.m. and have you --

16:38:33 15    A.        12:40?

16:38:35 16    Q.        Yes, 12:40 p.m.

16:38:38 17    A.        About Mandek coming here for another interview.

16:38:41 18    Q.        Yes.    Just read the next few or as much as you need

16:38:45 19    for context?

16:38:46 20    A.        Okay.    Yes, got context.

16:38:48 21    Q.        Okay.    So first, who is -- Mandek, is Mandek a

16:38:55 22    person?

16:38:55 23    A.        Mandek, his name is Mandek, his last name is

16:39:00 24    Richardson, he was a filter design engineer for Qorvo at

16:39:05 25    this time that this conversation happened and he was
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16:39:07   1   applying for a design engineering position at Akoustis.

16:39:10   2   Q.     Okay.    Did Akoustis end up hiring Mandek?

16:39:13   3   A.     We did not.

16:39:14   4   Q.     So at 12:40 p.m., you wrote to Mr. McCain, "Mandek

16:39:20   5   coming in for another interview."

16:39:22   6   A.     Yes.

16:39:22   7   Q.     And Mr. McCain responded, "Co-opt."

16:39:26   8   A.     Yes.

16:39:27   9   Q.     And then you said, "Must be time to bend Qorvo over

16:39:31 10    the barrel again, LOL."

16:39:33 11    A.     Yes.

16:39:33 12    Q.     What did you mean by that?

16:39:35 13    A.     I don't remember the context of this document.           My

16:39:39 14    guess is it seemed like Rohan when he came on board was only

16:39:44 15    recruiting Qorvo folks is what it seemed like to me.           So it

16:39:48 16    just seemed like, you know, and any time you lose an

16:39:51 17    engineer at a company, it hurts the company, right.           So I

16:39:54 18    felt like, you know -- yes.      It obviously doesn't look good

16:39:59 19    for Q if he's constantly taking employees.

16:40:02 20    Q.     And by the processes, he wanted to do the

16:40:06 21    familiarities because they were working on the same

16:40:09 22    processes?

16:40:10 23    A.     Oh, I meant processes as in like how you design a

16:40:13 24    product, you know, what's expected in a data sheet, what's

16:40:16 25    respected -- you know, what the level -- you know, sometimes
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16:40:19   1   work cultures can vary from company to company, so he -- I

16:40:23   2   think it was more of a work culture type thing is the way I

16:40:26   3   saw it.

16:40:26   4                  You know, to be honest with you, you know, I

16:40:29   5   don't know if I stated this yet in this deposition, but you

16:40:33   6   know, as far as technically when it came to Qorvo, you know,

16:40:36   7   I didn't really find -- especially when it's talking about

16:40:40   8   the resonator technology, it's so different.         It's a solidly

16:40:44   9   mounted resonator compared to a suspended resonator like

16:40:48 10    Akoustis was doing, I just want to make sure that's on the

16:40:51 11    record.

16:40:51 12                   So anyway, just to clarify like earlier when you

16:40:54 13    were asking me about the documents that he had handed me

16:40:56 14    about that filter, it sounds like now -- it sounds like it

16:41:00 15    may have been an automotive filter, you know that filter,

16:41:04 16    you know, I didn't really find any of that information

16:41:06 17    useful for designing filters again because it's just a

16:41:10 18    different technology.

16:41:10 19    Q.        So is that to say when he landed you the Qorvo

16:41:15 20    confidential information back in 2016, you took the time to

16:41:18 21    really go through and investigate all that information and

16:41:20 22    reach the conclusion that it wasn't useful to you?

16:41:23 23    A.        Oh, I didn't have to reach -- I just looked at it.            I

16:41:27 24    mean, I looked at it, for instance there's a schematic, a

16:41:30 25    resonator, to tell you the size of the resonator and all
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16:41:33   1   this stuff, if I was to take that and put it on a map.

16:41:37   2   Hypothetical, if you were to take those and put it on a map

16:41:40   3   and fabricate, it would not work, it would not look like a

16:41:44   4   filter, it's just that different.       Everything about a

16:41:46   5   schematic and the design of a resonator is dependent on the

16:41:50   6   process and the stack that it comes from.

16:41:54   7                 So anyway, I just want to make sure that's

16:41:57   8   clarified, right.     So it's really, it would be very

16:42:01   9   difficult to take what was said in those documents and just

16:42:05 10    directly apply it.     I mean, as a technologist, it's

16:42:09 11    interesting to see what other people are doing, but that's

16:42:12 12    just it.    It's curiosity, it's an interesting, but as far as

16:42:16 13    like is it actionable that I can do on my job and make like

16:42:20 14    a better part, I couldn't, I would never make that claim.

16:42:23 15    Q.     Mr. Hodge, the court reporter has handed you what's

16:42:26 16    been marked as Exhibit 16.      Could you please take a minute

16:42:30 17    and look at this document and let me know whether you

16:42:32 18    recognize this document?

16:42:35 19    A.     Yes.    So another conversation with myself and Mike.

16:42:39 20    Team 's message than -- but, yes.       That's what it is.

16:42:51 21    Q.     You had said in your testimony earlier that at RF

16:42:57 22    Micro Devices you were working on switches?

16:42:58 23    A.     Yes.

16:43:01 24    Q.     Did RF Micro Devices side make any filters?

16:43:05 25    A.     Not that I'm aware of.
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16:43:13   1   Q.     I'll hand you a document marked as Exhibit 22.           Do

16:43:16   2   you recognize this?

16:43:19   3   A.     Yes.    I don't remember this exact document, but it

16:43:22   4   looks like a study of some earlier resonator developments

16:43:25   5   that were done at Akoustis.

16:43:27   6   Q.     So on the first page, Bates 427862, you'll see where

16:43:35   7   it says wafer AKS103?

16:43:41   8   A.     Yes.

16:43:43   9   Q.     So did Akoustis have a system in place for all of the

16:43:47 10    different wafers it had processed to be able to know which

16:43:51 11    ones was in which ways?

16:43:55 12    A.     Yes.    There was a wafer number in the system, but it

16:43:59 13    "involved overtime."     I don't remember their system, but

16:44:02 14    yes, like I said, this looks very early.

16:44:04 15    Q.     Okay.    So if you look at the -- third page, Bates

16:44:09 16    427864, you'll see it says design 124-516, wide and narrow.

16:44:21 17    A.     Does -- 120516, yes, got it.       Yes.

16:44:26 18    Q.     And those are plots of the characteristics of that

16:44:30 19    particular resonator for that particular design; correct?

16:44:39 20    A.     Yes.    These are S parameters plots, yes, for that

16:44:43 21    resonator, yes.

16:44:44 22    Q.     And in the center, you'll see in black, there is an

16:44:47 23    overview.   Is that a plan view of that product?

16:44:51 24    A.     Yes.    It's a -- it's a resonator that's under

16:44:55 25    development -- yes, it's the die.       Yes, it's the CAD drawing
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16:44:59   1   of the resonator, yep.

16:45:00   2   Q.     The top view?

16:45:01   3   A.     Yes, top down.

16:45:02   4   Q.     And the resonator that's there is shown as having the

16:45:06   5   five sides?

16:45:06   6   A.     Yes.    As you can see there is two on here, there is

16:45:12   7   something that goes back to back, yes.

16:45:14   8   Q.     And so I guess my question is, competitors review

16:45:17   9   other competitor's products all the time, don't they?

16:45:20 10    A.     Yes.    That's been my experience in the industry.

16:45:23 11    Q.     And that's not a bad thing, is it?

16:45:25 12    A.     It depends on who you ask, I guess, but yes, it seems

16:45:29 13    pretty common.

16:45:30 14    Q.     And in your testimony earlier, I think you talked

16:45:33 15    about the difference between an FBAR and I believe you were

16:45:37 16    thinking of an SMR?

16:45:40 17    A.     Yeah, as I mentioned earlier at the beginning that I

16:45:44 18    reviewed the patents this weekend, I saw one of the patents

16:45:47 19    that Qorvo claims is referred the to a SMR, but yes, SMR is

16:45:53 20    the way to call it, yes.

16:45:54 21    Q.     And what's the difference between those two?

16:45:56 22    A.     So the primary difference is the FBAR, the piezo film

16:46:02 23    was suspended in air with electrodes on either side of it.

16:46:07 24    So the acoustic interface on either boundary is air.           On the

16:46:14 25    SMR, SBAR, however you want to call it, the technology that
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16:46:18   1   Qorvo utilizes, the air interface is on the top, but on the

16:46:23   2   bottom there is no air interface, it's mounted on another

16:46:27   3   wafer, so they have to manager that interface.

16:46:32   4   Q.     An interface used a blank reflector, correct?

16:46:37   5   A.     That's correct.

16:46:37   6   Q.     So that there is no air gap, it's just a solidly

16:46:41   7   mounted resonator?

16:46:43   8   A.     Yes, the technology, the key thing you need to keep

16:46:46   9   the waves confined in the resonator or keep the qualities to

16:46:49 10    the point of the brag reflect is to make sure wafer does

16:46:53 11    not.

16:46:54 12    Q.     Now, all of the resonators that Akoustis makes are

16:46:58 13    all FBARs, correct?

16:47:00 14    A.     Correct, we've never done SMR.

16:47:03 15    Q.     Are you aware of Qorvo doing any FBARs?

16:47:06 16    A.     I'm not aware of that.

16:47:09 17    Q.     Now, Exhibit 1 of the attachments is one page with

16:47:18 18    Bates 201054, which I believe is one of the wall print

16:47:23 19    PowerPoint's that are attached.       Do you recognize that?

16:47:26 20    A.     Yes.    This was an early mask.        We were developing

16:47:31 21    resonators early in the company.       Yes.    So it looks like

16:47:35 22    this was to generate, as you said, all of the wall artwork

16:47:40 23    for the office.

16:47:41 24    Q.     Now, are these early masks, actual masks that had

16:47:46 25    been made?
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16:47:47   1   A.     Yes.

16:47:48   2   Q.     And these masks are showing different shapes of

16:47:51   3   resonators at that time for masks that had been made?

16:47:55   4   A.     This masks looks like it was a study on resonators,

16:47:59   5   the shapes to understand the differences in trade office

16:48:02   6   between them, is what I'm taking from them.

16:48:04   7   Q.     And that was being done in December of 2015?

16:48:07   8   A.     Yes.

16:48:09   9   Q.     Great.    I'm going to hand you a document with a Bates

16:48:14 10    range of 36779 through 36789.      Do you recognize this?

16:48:22 11    A.     So if first -- the cover is an e-mail from David

16:48:28 12    Aichele asking me to send him S parameter files of a

16:48:33 13    representative 1252 part and he's asking me to be in bed

16:48:37 14    just, you know, because he wants the best possible

16:48:39 15    performance.

16:48:40 16    Q.     So by that time you actually had measured data rather

16:48:44 17    than simulated data for what was going to be the 1252?

16:48:48 18    A.     Yes.

16:48:50 19    Q.     I'll mark as Exhibit 48 a document having the Bates

16:48:54 20    range of 155055 through 155066.

16:49:01 21                   Do you recognize that?

16:49:02 22    A.     Yeah, it looks like a comparison of -- so I mentioned

16:49:07 23    earlier, the 10252, was an evolution of 1252.         This was --

16:49:13 24    it looks like an e-mail to Frank, who is a device engineer

16:49:18 25    and copied to Rohan, and this is comparing the two versions
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16:49:22   1   of 1252 to the Qorvo QPQ1903 case, so that they could see

16:49:29   2   clearly the performance differences.

16:49:42   3   Q.     So turning to Bates page 155058, according to what

16:49:53   4   was measured here, you showed the original 1252 in green,

16:49:57   5   the 10252 in blue, and the QPQ1903 in red?

16:50:03   6   A.     Right.

16:50:06   7   Q.     Correct?

16:50:07   8   A.     Yes.

16:50:07   9   Q.     And so you have the three curves to show the S 21;

16:50:13 10    that's a small signal, 21 pass band?

16:50:20 11    A.     Yes.

16:50:21 12    Q.     It then shows the results overlaid are these three

16:50:25 13    different filters; correct?

16:50:27 14    A.     Correct.    Yep.

16:50:28 15    Q.     And this is the kind of thing that -- well, as a

16:50:32 16    company, you're looking to see how you compared to --

16:50:36 17    A.     Yeah.

16:50:38 18    Q.     Yeah.    Having a chart that shows this pass band,

16:50:42 19    doesn't tell you how to do anything to make yours better,

16:50:45 20    does it?

16:50:46 21    A.     Absolutely not.     No, it's just data.

16:50:48 22    Q.     What do you mean by it's just data?

16:50:51 23    A.     You go and read it off the data sheet, you know, the

16:50:55 24    customers don't see its performance, I mean, this doesn't

16:50:58 25    give you the insight on how to make this thing.
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16:51:01   1   Q.     Nor does it give you insight into how you make your

16:51:05   2   thing better?

16:51:05   3   A.     No, maybe just a benchmark showing where you can

16:51:08   4   improve your design, if a customer like, gives you an

16:51:12   5   example we're talking about the same page you brought up,

16:51:14   6   the lower side, you know the high side, the customer comes

16:51:17   7   back and says I need that loss to be more evened out it

16:51:21   8   would be good to know.

16:51:22   9   Q.     And that would be the kind of thing a customer would

16:51:24 10    tell you?

16:51:25 11    A.     Yeah, they would tell you that either way, yeah.

16:51:32 12                (End of video deposition.)

16:51:44 13                THE COURT:    There will be a series of exhibits

16:51:46 14    that were submitted and you saw the numbers, they'll get a

16:51:51 15    number also here.   Just like the other ones, we'll just add

16:51:57 16    eventually so as you look at the witnesses on the witness

16:51:59 17    list, and you'll see the numbers, you'll know those were

16:52:03 18    introduced during that witness to the testimony.        I think

16:52:06 19    that there were twelve of those exhibits; is that right?

16:52:08 20                MR. CREMEN:    Yes, Your Honor.     Before we call

16:52:10 21    our next witness, if it's okay with the Court, we would like

16:52:13 22    to move into evidence in the order that they came in certain

16:52:17 23    exhibits that Qorvo introduced at the deposition and I

16:52:20 24    believe Akoustis would like to do the same for their

16:52:22 25    exhibits.
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16:52:22   1               THE COURT:    Well, we can receive them all

16:52:24   2   because everybody understands they should be marked.         So

16:52:27   3   what we'll do is they'll be marked exhibits, let me check,

16:52:33   4   up to Exhibit 44 -- 54, is that correct?      54, if you add 12

16:52:42   5   to 42, I think it still adds up to 54, hopefully.        So we're

16:52:48   6   going to mark those, and they will be marked to save time,

16:52:51   7   they'll be marked, you don't see me mark them, do you?         No.

16:52:57   8   They'll be marked during the evening.       So that puts us all

16:53:02   9   the way up to 54.

16:53:03 10                And now, I know that this is really -- I think

16:53:08 11    this may be more efficient.    Do you mind doing it that way?

16:53:11 12                MR. CREMEN:    I agree, Your Honor.     Thank you.

16:53:13 13                THE COURT:    We will handle it that way.       So that

16:53:16 14    takes up to 54.

16:53:17 15                Now, who will our next witness be?

16:53:21 16                MR. CREMEN:    We will call Mr. Rohan Houlden, who

16:53:24 17    will also be played via video deposition testimony.

16:53:27 18                THE COURT:    Go ahead and start that because we

16:53:29 19    all have a premium on time.    We're going to stay until about

16:53:33 20    5:30 if that's okay.

16:53:36 21                A JUROR:   I have a three-hour drive, Your Honor.

16:53:38 22                THE COURT:    You're not going home, are you?

16:53:41 23                A JUROR:   I have to.    I have to retrieve my

16:53:44 24    bird.

16:53:49 25                THE COURT:    Okay.   Let's talk about that at
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16:53:54   1   side-bar.   Come around, please.

17:14:16   2                 (Side-bar discussion:)

17:14:16   3                 THE COURT:    Obviously we don't understand what's

17:14:16   4   going on.   Is the bird on the third floor?

17:14:16   5                 A JUROR:    Remember this morning, I didn't bring

17:14:16   6   it with me.    It's entirely too cold to bring it with me.         I

17:14:16   7   asked if the temperature was the same in his office and you

17:14:16   8   told me he could not adjust the temperature.

17:14:16   9                 THE COURT:    Wait a minute, that's not what

17:14:16 10    anybody said.    I know you talked about the bird being

17:14:16 11    wrapped up.    Okay.

17:14:16 12                  A JUROR:    This morning when I walked in, you

17:14:16 13    asked if the bird made it and I said no, sir.

17:14:16 14                  COURT CLERK:    I was under the impression it was

17:14:16 15    on the third floor.

17:14:16 16                  A JUROR:    No, I told you this morning that I

17:14:16 17    didn't bring him for two reasons.

17:14:16 18                  THE COURT:    Let me talk to counsel for a minute.

17:14:16 19                  A JUROR:    Okay.

17:14:16 20                  MR. MASTERS:    We see this all the time.

17:14:16 21                  THE COURT:    Well, I do see things happen all the

17:14:16 22    time, that is true.      Never with a cockatoo.     I think we've

17:14:16 23    had different dogs, but that's about it.        Thoughts here?

17:14:16 24    I'm a little concerned about this now.

17:14:16 25                  MR. MASTERS:    Yeah, I agree.
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17:14:16   1               MR. ELKINS:    I'm just concerned that we are at a

17:14:16   2   point that if we're going to lose anybody else, we might get

17:14:16   3   a little low and we've got everything, all she has to do is

17:14:17   4   come back tomorrow.

17:14:17   5               MR. MASTERS:    I agree.   We can convince her.

17:14:17   6               (Discussion off the record.)

17:14:17   7               THE COURT:    We're sort of kidding you guys, we

17:14:17   8   got the white sound on, you can talk pretty formally.

17:14:17   9               MR. MASTERS:    I'm just saying maybe we can try

17:14:17 10    to set the plan for today, because we do have a place for

17:14:17 11    her.

17:14:17 12                THE COURT:    If the bird is not going to come up,

17:14:17 13    we are going to have a problem here, so that's what I need

17:14:17 14    to know, if the cockatoo -- this is a little strange anyway,

17:14:17 15    but if the cockatoo is not going to show up tomorrow, it's

17:14:17 16    going to be cold on the third floor.        I think we're done.

17:14:17 17    Does that make sense?

17:14:17 18                MR. MASTERS:    I think we would like to give it

17:14:17 19    another day is what you're saying?

17:14:17 20                THE COURT:    No, I'm not saying that, because I

17:14:17 21    don't think the temperature on the third floor is going to

17:14:17 22    change.

17:14:17 23                MR. ELKINS:    If we have the hotel for tonight

17:14:17 24    and it can be paid for, she can take the bird to her hotel

17:14:17 25    room and adjust the temperature and leave the bird there,
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17:14:17   1   come here, and go back.

17:14:17   2                  THE COURT:    Let's check on that.   Make sure

17:14:17   3   that's going to work.       We need to know one other thing, a

17:14:17   4   couple more things.

17:14:17   5                  A JUROR:   Sure.

17:14:17   6                  THE COURT:    So the plan is you'll get the bird

17:14:17   7   today.

17:14:17   8                  A JUROR:   And I can't drive back this evening.

17:14:17   9   I drove six hours yesterday, Your Honor.

17:14:17 10                   THE COURT:    Bless your heart.

17:14:17 11                   A JUROR:   I'm doing you guys a favor.     If it's

17:14:17 12    too much, I can clearly step away from this trial.

17:14:17 13    Obviously my animal is more important than someone doing

17:14:17 14    wrong.   I did not bring him for two reasons, and I told you

17:14:18 15    that this morning.    A, it was foggy on the shore and I can't

17:14:18 16    see a mile in front of me.        I'm not going to travel and get

17:14:18 17    in an accident.    You guys were unsure if you would find a

17:14:18 18    location that would accept my bird.

17:14:18 19                   THE COURT:    Right.   We did have a place on the

17:14:18 20    third floor.

17:14:18 21                   A JUROR:   No, I mean as in staying here, so I

17:14:18 22    was told to proactively bring him.       I wasn't okay with that

17:14:18 23    at 6 o'clock this morning when I left.

17:14:18 24                   THE COURT:    Let me check with counsel one more

17:14:18 25    time.
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17:14:18   1                 A JUROR:   Sure.

17:14:18   2                 THE COURT:   Thank you.   We have got a very

17:14:18   3   active person.   I am very concerned that as she said she's

17:14:18   4   more concerned about the bird than she is about this case.

17:14:18   5   That's not a good indicator, gentlemen.

17:14:18   6                 MR. MASTERS:    Did you ask if she would bring it

17:14:18   7   in tomorrow to the hotel?

17:14:18   8                 THE COURT:   We're not pet managers here,

17:14:18   9   fellows.    Our objective is to have jurors sit here and

17:14:18 10    decide the case fairly and impartially and focus on the

17:14:18 11    evidence in this case, and frankly not be concerned about

17:14:18 12    something else distracting them from paying attention.          We

17:14:18 13    don't have -- is there an objection from the plaintiff to

17:14:19 14    allowing this juror to be excused?

17:14:19 15                  MR. MASTERS:    We would object that, unless she's

17:14:19 16    unwilling to bring it tomorrow morning.       We now have --

17:14:19 17                  THE COURT:   We're not going on this schedule

17:14:19 18    anymore.    This is unacceptable to get this case concluded.

17:14:19 19    And you both know that.      We will not get this case concluded

17:14:19 20    if we don't do this time frame, if we continue with this.

17:14:19 21    And we're not going to take a break at 5 o'clock each day to

17:14:19 22    go take care of a cockatoo.      And we're not going to delay

17:14:19 23    the proceedings to care for a cockatoo.       This is bordering

17:14:19 24    on rather odd to say the least.      I'm more concerned,

17:14:19 25    however, about the state of mind of our juror.         We need to
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17:14:19   1   focus on the task.     It's concerning.       Do you not think it is

17:14:19   2   concerning?

17:14:19   3                 MR. MASTERS:    If the drive is concerning her

17:14:19   4   more --

17:14:19   5                 THE COURT:    That's not good, she has to make a

17:14:19   6   three-hour drive home, a three-hour drive back, we don't do

17:14:19   7   that in the District of Delaware, we get people hotels.

17:14:19   8   This is a problem.

17:14:19   9                 MR. ELKINS:    The only thing I'll say, Your

17:14:19 10    Honor, we have expended an enormous amount of time to try to

17:14:20 11    accommodate here.     And apart from her last minute decision

17:14:20 12    about the fog, suffering plans, we've got everything set up.

17:14:20 13    And so we could ask her if there is going to be any further

17:14:20 14    issues.   There shouldn't be.     I think the hotel is in

17:14:20 15    Newark, which is --

17:14:20 16                  COURT CLERK:    Fifteen-minute drive.

17:14:20 17                  MR. ELKINS:    And I don't think it should be an

17:14:20 18    issue.    But we can ask her.

17:14:20 19                  THE COURT:    I think we can ask her if this is

17:14:20 20    just too much, because, do you understand what I'm saying,

17:14:20 21    we just need to know about that.       If it's just too much for

17:14:20 22    the juror, then we don't ask people to make extraordinary

17:14:20 23    sacrifices in terms of safety.       And that's what I'm

17:14:20 24    concerned about.     I don't want to wake up tomorrow morning

17:14:20 25    and find out that somebody has a terrible accident on the
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17:14:20   1   interstate because we didn't use our common sense.         Let's

17:14:20   2   check and see.   I need to ask her.

17:14:20   3                We need to ask a question, because what I am

17:14:20   4   worried about is your safety.

17:14:20   5                A JUROR:   Yes, sir.

17:14:20   6                THE COURT:   And do you see what I'm saying

17:14:20   7   because this -- our job is to actually never make -- to make

17:14:20   8   sure that all of you are okay.

17:14:20   9                A JUROR:   Absolutely.

17:14:20 10                 THE COURT:   And to make sure that we're not

17:14:20 11    exposing you to an unnecessary risk.        And I'm -- do you see

17:14:20 12    what I'm saying?   And it's a long drive.

17:14:20 13                 A JUROR:   Sir, if I didn't think I could handle

17:14:20 14    it, I wouldn't offer to do it, but if you feel more

17:14:20 15    comfortable with someone taking my place, that's perfectly

17:14:20 16    fine, I have other things that I can be doing currently.

17:14:21 17                 THE COURT:   Right.    You need to tell me, I'm

17:14:21 18    sure, we're glad to have you, you know that, we want to try

17:14:21 19    to help take care of everything.      But I don't want you to

17:14:21 20    have an accident driving up here or driving home and it's a

17:14:21 21    long trip and you've got a lot on your mind.        So just let us

17:14:21 22    know, is this something that's pretty unreasonable for us to

17:14:21 23    be doing?   If it is, you just tell us.

17:14:21 24                 A JUROR:   If it was unreasonable, I wouldn't

17:14:21 25    offer to do it, but I feel like it's too much for you guys,
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17:14:21   1   so I'm going to go ahead and excuse myself and find someone

17:14:21   2   else to step in for me.

17:14:21   3                 THE COURT:    There is no one else to find.

17:14:21   4                 A JUROR:    That's why I tried to accommodate you

17:14:21   5   guys with my bird, but I feel like it's just not working.

17:14:21   6                 THE COURT:    Right.   And you see why I'm worried,

17:14:21   7   bad weather, fog, difficulty in getting up here.

17:14:21   8                 A JUROR:    And that was completely out of my

17:14:21   9   control.

17:14:21 10                  THE COURT:    There is nothing you can do about

17:14:21 11    it, nothing at all.      I don't want you to feel like we are

17:14:21 12    pressuring you to stay.

17:14:21 13                  A JUROR:    Not by any means, by any means I

17:14:21 14    don't, I just have to handle my business a certain way

17:14:21 15    because my bird is all I have.

17:14:21 16                  THE COURT:    I fully understand.     I fully

17:14:21 17    understand.    Would you feel more comfortable if we let you

17:14:21 18    be excused, would that be better?

17:14:21 19                  A JUROR:    I don't mind partaking, but if you

17:14:21 20    guys feel like it's too much, then please excuse me now

17:14:21 21    before I get any further invested in this, if that makes any

17:14:22 22    sense to you.

17:14:22 23                  THE COURT:    We would like to hear, would you

17:14:22 24    prefer to do that?

17:14:22 25                  A JUROR:    To excuse me, sure.     I'm fine with
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17:14:22   1   that.

17:14:22   2                 THE COURT:    That would be better.

17:14:22   3                 A JUROR:    That's fine.   It's neither here nor

17:14:22   4   there for me.   It's only a three-hour drive, it's two hours

17:14:22   5   in regular traffic.      The reason it takes me three hours is

17:14:22   6   yesterday there was a major accident and this morning I

17:14:22   7   couldn't see beyond my headlights, that's how foggy it was.

17:14:22   8   And I have a video that I took this morning if you would

17:14:22   9   like to see it, I took it -- just all this going back and

17:14:22 10    forth is holding the trial up, so go ahead and excuse me so

17:14:22 11    they can get on with their business, because I don't want to

17:14:22 12    hold them up.   And I apologize in advance.

17:14:22 13                  THE COURT:    No.   No.   Let me check, we've got

17:14:22 14    two options, one is to -- you can bring the cockatoo here

17:14:22 15    and get you situated tomorrow, and then see how that works.

17:14:22 16                  A JUROR:    Or I could come up first thing in the

17:14:22 17    morning and leave like I did the past two days.         If I leave

17:14:22 18    by 5 o'clock, I'll have time to stop and drop him off and

17:14:22 19    come here by 8:15.    He said it's only fifteen minutes up the

17:14:23 20    beltway.    That's completely up to you, I don't mind

17:14:23 21    partaking, but I'm not going to constantly be an issue with

17:14:23 22    you guys.   It's kind of like when I went to boot camp years

17:14:23 23    ago, and they said don't make your last name known because

17:14:23 24    you're going to be in trouble the -- I will really -- they

17:14:23 25    lost my uniform.
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17:14:23   1                THE COURT:   You were in boot camp?

17:14:23   2                A JUROR:   Yes, Fort Jackson.     It was July, it

17:14:23   3   was a little warm, wool socks and long sleeves, but again I

17:14:23   4   made myself known with my own issues, so I don't want to

17:14:23   5   keep holding these guys up, because they have more important

17:14:23   6   things to do and I can go back to my cardiologist and he'll

17:14:23   7   be happy to have me back, so it's your call.

17:14:23   8                THE COURT:   Okay.   Let me check one more time,

17:14:23   9   what we want to do, we may make a different decision and we

17:14:23 10    wanted to try tomorrow would be the idea, and you honestly

17:14:23 11    have to tell me if it's a problem, and if you feel like it

17:14:23 12    doesn't work, then I need you to tell me.

17:14:23 13                 A JUROR:   Absolutely.

17:14:23 14                 THE COURT:   You promise?

17:14:23 15                 A JUROR:   I'm a bluntly honest woman, sir.

17:14:23 16                 THE COURT:   I know.   I think that's what we're

17:14:23 17    probably going to do, because we want -- you know we don't

17:14:24 18    give up our jurors readily, we want to try and help make it

17:14:24 19    work out.   And I want you to help me.

17:14:24 20                 A JUROR:   Absolutely.

17:14:24 21                 THE COURT:   But, you know, if it's not working

17:14:24 22    for you, I want -- and then if it's a distraction for you,

17:14:24 23    which is the real concern.

17:14:24 24                 A JUROR:   He's not a distraction.     I feed him, I

17:14:24 25    water him, and he's good to go.     He's not a distraction,
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17:14:24   1   which I'm kind of floored that the hotel next door won't

17:14:24   2   allow him.   He wouldn't come out of his cage.

17:14:24   3                THE COURT:    Do you have a picture of him?

17:14:24   4                A JUROR:    I absolutely do.

17:14:24   5                THE COURT:    We all want to see.     We all want to

17:14:24   6   see.

17:14:24   7                A JUROR:    This is him this morning.      He's three.

17:14:24   8                THE COURT:    He's very pretty.

17:14:24   9                A JUROR:    He's a Latino with red eyes.

17:14:24 10                 THE COURT:    Yeah.    Really nice looking bird.

17:14:24 11                 A JUROR:    His name is Nigel.

17:14:24 12                 THE COURT:    Nigel, he loves you very much.

17:14:24 13                 A JUROR:    He does.   He sits on my shoulder when

17:14:24 14    I clean, when I cook, if I eat.      If I take a shower, he's on

17:14:24 15    the shower curtain.     My son joined the navy and I am left

17:14:24 16    with the bird.

17:14:24 17                 THE COURT:    As I said, we're going to give it a

17:14:24 18    try, and as I said, you have to promise me that if it's

17:14:24 19    really a problem that you will tell me because we don't want

17:14:24 20    you to be worrying about Nigel.

17:14:24 21                 A JUROR:    I won't be worried about him.       He

17:14:24 22    doesn't go very far.

17:14:24 23                 THE COURT:    But you see what I'm saying?

17:14:24 24                 A JUROR:    Absolutely I do.

17:14:24 25                 THE COURT:    Because if that was the problem.
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17:14:24   1   Now what's your schedule for today, are you going --

17:14:25   2                A JUROR:   I'm going to go home and get the bird.

17:14:25   3   Would you rather I come up first thing in morning?          I don't

17:14:25   4   know if you paid for this afternoon.

17:14:25   5                THE COURT:   You're fine.       The Court is not

17:14:25   6   worried about that.

17:14:25   7                THE JUROR:   I know, but I am.       I'm a single

17:14:25   8   parent.

17:14:25   9                THE COURT:   We're looking -- either or, you can

17:14:25 10    come back this evening or come back --

17:14:25 11                 A JUROR:   If you want me to wait until

17:14:25 12    5 o'clock.

17:14:25 13                 THE COURT:   Is that better for you?

17:14:25 14                 A JUROR:   Yes, probably.

17:14:25 15                 THE COURT:   Let's do that.      And I think we've

17:14:25 16    got a good understanding, and you will not hesitate to speak

17:14:25 17    to me --

17:14:25 18                 A JUROR:   Yes, sir.

17:14:25 19                 THE COURT:   -- if there is an issue.

17:14:25 20                 A JUROR:   Uh-huh.

17:14:25 21                 THE COURT:   I want you to be careful driving.

17:14:25 22                 A JUROR:   I will, I drove a two-and-a-half ton

17:14:25 23    for the Army, I think I got this.      I would speak up if I

17:14:25 24    didn't.

17:14:25 25                 THE COURT:   Why don't you have a seat and we'll
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17:14:25   1   check with counsel.      Thanks very much.

17:14:25   2                 A JUROR:    Yes, sir.

17:14:25   3                 THE COURT:    All right.   I agreed to go along

17:14:25   4   with everybody.    I think we'll probably be okay.        That's all

17:14:25   5   we can do.    Now we'll adjust our schedule a little bit.

17:14:25   6   What we'll do is we'll come in tomorrow at, like we always

17:14:25   7   do, we're here early, you're here early, I remember this

17:14:25   8   young man, be sure you're here early.

17:14:25   9                 MR. GOLDEN:    I was one of the first people here

17:14:25 10    this morning.

17:14:25 11                  THE COURT:    We'll start right at 8:30, and we'll

17:14:25 12    move as fast as we can.

17:14:25 13                  MR. MASTERS:    Are you adjourning for the day?

17:14:25 14                  THE COURT:    We're going to have to because she

17:14:25 15    has to go home.    That was the whole point.

17:14:26 16                  MR. MASTERS:    Our next witness is a video

17:14:26 17    deposition.

17:14:26 18                  THE COURT:    She asked to go home.     So I was

17:14:26 19    trying to get it a little further along.        I'm going to check

17:14:26 20    and see how many hours we have for the last day.

17:14:26 21                  (Discussion off the record.)

17:14:26 22                  THE COURT:    We have to average over seven a day.

17:14:26 23    And we actually -- we needed to average seven-and-a-half.

17:14:26 24                  MR. MASTERS:    That's impressive.

17:14:26 25                  THE COURT:    Well, you know.
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17:14:26   1                MR. MASTERS:   More for the jury.

17:14:26   2                THE COURT:   So what we're going to do --

17:14:26   3                MR. MASTERS:   We did the calculations, too, like

17:14:26   4   seven-and-a-half hours a day.

17:14:26   5                THE COURT:   Well, if we can't get to closing

17:14:26   6   arguments on schedule, we've got to get to it on, we're

17:14:26   7   planning on get to it which day, now, closing arguments

17:14:26   8   Thursday?

17:14:26   9                MR. MASTERS:   Maybe, hoping.

17:14:26 10                 THE COURT:   He's agreeable.

17:14:26 11                 MR. MASTERS:   Hoping maybe Wednesday, Thursday

17:14:26 12    for sure.

17:14:26 13                 THE COURT:   Right, exactly, because all of us

17:14:26 14    recognize -- good, we're in good shape.      All right.     Thank

17:14:27 15    you all very much.

17:14:27 16                 (End of side-bar.)

17:14:27 17                 THE COURT:   We're actually going to have to

17:14:27 18    leave today because -- and that's okay.      That's all right.

17:14:27 19    Our concern is always to make sure that each one of you is

17:14:27 20    okay.   And so today that's what we need to do.       And if one

17:14:27 21    of you has an issue that comes up, you can tell me about it.

17:14:27 22    I can give a little leeway here because we have got a tight

17:14:27 23    schedule.   And then that means that we will stay on the

17:14:27 24    schedule we had today, but tomorrow we'll be able to stay

17:14:27 25    somewhat later.   And also on Thursday.     On Friday I realize
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17:14:27   1   there is a little bit of commuting that goes on at that time

17:14:27   2   and we'll work on that a little bit if we can.          All right.

17:14:27   3   Well, we've had a pretty good time and our time was working

17:14:27   4   okay.   And so don't be concerned about that at all.

17:14:27   5                All of you have a very pleasant evening but

17:14:27   6   there are seven things to remember.      First thing, don't let

17:14:27   7   anybody talk with you about the case if they try to, don't

17:14:27   8   -- at home don't tell anybody about the case either, you

17:14:27   9   know, limit the discussion there, still, limit the case to

17:14:28 10    what you hear in the court.

17:14:28 11                 The fourth thing, don't speak to -- now you have

17:14:28 12    seen all these people, don't speak to any of the witnesses,

17:14:28 13    lawyers or parties or people who are associated with the

17:14:28 14    case in any way.

17:14:28 15                 And the fifth thing is what?        Don't do any

17:14:28 16    research of any kind of material, absolute prohibition on

17:14:28 17    that.   That means the simplest kind of research or anything

17:14:28 18    about the case.

17:14:28 19                 The sixth thing is that you have to avoid the

17:14:28 20    media that might be about this case or cases like it, and it

17:14:28 21    would be more likely that it would be something like a case

17:14:28 22    like this.

17:14:28 23                 And the seventh thing is to continue to keep an

17:14:28 24    open mind.

17:14:28 25                 So that's our situation.        We will be starting
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17:14:28   1   up, we've had that discussion at side-bar, everybody

17:14:28   2   understands, everybody is good on this, we're going to start

17:14:28   3   in here at 8:30 tomorrow.    And we'll have a pretty strict

17:14:28   4   schedule.   And we'll go a little longer because it just

17:14:28   5   helps us so much to pick up a half hour here or there and

17:14:28   6   we're getting to go home on that at the end of two weeks as

17:14:28   7   opposed to a longer period of time.     I'm not saying that's

17:14:28   8   exactly what's going to happen, but that's our goal and we

17:14:28   9   told you we were going to try to do it, and we're making

17:14:28 10    every effort to do it.

17:14:28 11                 I appreciate everybody's patience today.

17:14:28 12    Hopefully you had a reasonably decent lunch, and we will see

17:14:28 13    all of you, because we start in here at 8:30, what time will

17:14:29 14    I see you tomorrow?

17:14:29 15                 A JUROR:    8:15.

17:14:29 16                 THE COURT:   About 8:15, did I hear that part,

17:14:29 17    8:15.   And some of you I saw a little earlier than that, so

17:14:29 18    don't worry about that, I'll be here quite a bit before

17:14:29 19    then.   So thank you all very much and we'll see you

17:14:29 20    tomorrow.

17:14:29 21                 (Jury exiting the courtroom at 5:14 p.m.)

17:14:38 22                 THE COURT:   All of you be seated, please.       You

17:14:41 23    all thought you were going to get to leave early, but we

17:14:44 24    have to get the exhibits marked, that shouldn't be a

17:14:47 25    problem, you don't need me to do that.      But I have got some
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17:14:51   1   -- if you will work with staff, you're going to get those

17:14:54   2   numbers in there.     So that will take care of that.

17:14:58   3                  Your final day tally, your tally on this, on the

17:15:02   4   timeline on the deposition, most, we're going to have to do

17:15:07   5   a little calculation there, unless you have already done the

17:15:11   6   calculation, and we will recheck it.

17:15:14   7                  So looking out there to -- I'll look to the

17:15:17   8   plaintiff first, you already -- I think we had a

17:15:20   9   calculation, we had a calculation, did you have a

17:15:21 10    calculation?

17:15:22 11                   MR. MASTERS:   Well, I don't have after today, so

17:15:25 12    we have been keeping it.

17:15:26 13                   THE COURT:   I meant on the deposition time.

17:15:29 14                   MR. MASTERS:   Oh, that's pretty easy to do.

17:15:35 15                   THE COURT:   So do we have an undisputed

17:15:38 16    deposition time, because we had it pretty close there for a

17:15:41 17    minute.

17:15:44 18                   MR. MASTERS:   Pretty close meaning equal or

17:15:46 19    total time?

17:15:46 20                   THE COURT:   No, not equal.

17:15:48 21                   MR. MASTERS:   I meant you had it between the

17:15:50 22    parties or the time --

17:15:52 23                   THE COURT:   I just need to know how much time

17:15:53 24    you ran on plaintiff's questions and how much time you ran

17:15:56 25    on defense questions.
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17:15:58   1                MR. MASTERS:    We are pulling that.

17:16:00   2                THE COURT:    I think we can run it.      If I can

17:16:02   3   finish that right now, that would be a great help to the

17:16:07   4   staff.

17:16:11   5                MR. ELKINS:    So Your Honor, I think we can give

17:16:13   6   it to you.   The plaintiff's designations came in at 25:40.

17:16:21   7   And defendant designations came in at 22:36.

17:16:28   8                THE COURT:    I think we can -- by your agreement

17:16:32   9   and that's my observation because we have been overall the

17:16:36 10    material earlier, that looks entirely correct, 25:40 for the

17:16:41 11    plaintiff and 22:36.    Actually, I'm going to wait just a

17:16:47 12    minute to see if we have a preliminary tally, do you want to

17:16:50 13    know where you are today?     You're pretty close.      We have a

17:16:53 14    goal for today, and obviously we're going to miss it a

17:16:56 15    little bit, but that's okay.

17:17:03 16                 And I told you at the end of each day, I would

17:17:06 17    ask you who the next series of witnesses were going to be.

17:17:10 18    So I know we had a preliminary list earlier, but I need to

17:17:15 19    make sure that I have plaintiff's witnesses in order with

17:17:20 20    which they're going to appear.      Of course, we know part of

17:17:22 21    that all right.   But yes, sir.

17:17:24 22                 MR. MASTERS:    So the next witness to be called

17:17:27 23    is Rohan Houlden by video.

17:17:30 24                 THE COURT:    Yes, sir.

17:17:31 25                 MR. MASTERS:    That's a fairly long video.
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17:17:33   1                 THE COURT:   It is.    And of course if you will

17:17:35   2   just redo the calculations on that in light -- I did take

17:17:39   3   out some material there, if you'll redo that, I would

17:17:42   4   appreciate.    You may already have it.

17:17:45   5                 MR. MASTERS:    Next will be Kevin Faulkner, he

17:17:47   6   will be live.

17:17:48   7                 THE COURT:   Yes, sir.

17:17:49   8                 MR. MASTERS:    After Mr. Faulkner, it is Rama

17:17:54   9   Vetury, by video.     And then after Mr. Vetury, plaintiffs

17:18:03 10    plan to call Mr. Aichele, live.

17:18:08 11                  THE COURT:   What do you project on that time,

17:18:11 12    what do you project on that time?

17:18:13 13                  MR. MASTERS:    Mr. Aichele, in particular?

17:18:17 14                  THE COURT:   Any idea about how long that will

17:18:21 15    be?

17:18:21 16                  MR. MASTERS:    I think our direct examination of

17:18:23 17    him will be forty-five to sixty minutes.

17:18:27 18                  THE COURT:   Yes, sir.

17:18:28 19                  MR. MASTERS:    We have it written down on a white

17:18:31 20    board back at the war room, but I can't remember.

17:18:34 21                  THE COURT:   Not a problem.     So we have -- and

17:18:36 22    we've already looked at the third individuals, and we have

17:18:46 23    -- we already filed that.      There were no sustained

17:18:51 24    objections.    So everything is overruled.      So that was all

17:18:54 25    in.
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17:18:54   1                  MR. MASTERS:   Thank you.

17:18:55   2                  THE COURT:    So that takes care of that.     And

17:18:57   3   then I'm going to ask you, I think we have got our next

17:19:01   4   deposition almost prepped on the who is your one after

17:19:07   5   Mr. Aichele.

17:19:08   6                  MR. MASTERS:   It was the one after.

17:19:11   7                  THE COURT:    You just finished --

17:19:13   8                  MR. MASTERS:   We finished Dr. Hodge.

17:19:16   9                  THE COURT:    We got those four.

17:19:17 10                   MR. MASTERS:   That's ready, Vetury, and then

17:19:20 11    after that is Hunt.

17:19:24 12                   THE COURT:    Okay.   The fifth one is Hunt, right?

17:19:27 13                   MR. MASTERS:   Yes.

17:19:28 14                   THE COURT:    Okay.   And the sixth one, are we

17:19:32 15    going to get all the way through everybody tomorrow?

17:19:35 16                   MR. MASTERS:   That would be Robert Dry, it's

17:19:38 17    possible.

17:19:39 18                   THE COURT:    Sure.   Okay.

17:19:42 19                   MR. ELKINS:    Your Honor, just so you know, so

17:19:44 20    Mr. Aichele is also one of our witnesses, mine will take

17:19:57 21    about an hour, maybe a little bit more, and then I suspect

17:20:00 22    that there will be cross after that.

17:20:03 23                   THE COURT:    Okay.   And there will be some

17:20:07 24    redirect?

17:20:10 25                   MR. ELKINS:    Yes.
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17:20:11   1                THE COURT:    It will be cross.     I mean, it's a

17:20:13   2   mix.

17:20:13   3                MR. ELKINS:    We'll have, I'll combine cross and

17:20:16   4   then direct examination, and then I was saying that I would

17:20:20   5   expect Mr. Masters or whomever is handling him to probably

17:20:23   6   do a cross on my direct.

17:20:25   7                THE COURT:    I understand that.

17:20:27   8                MR. ELKINS:    Of course, they don't have to.

17:20:30   9                THE COURT:    They might.   They might.     Okay.   Not

17:20:32 10    a problem.

17:20:36 11                 COURT CLERK:    So for plaintiffs I have you guys

17:20:39 12    at 5 hours, 32 minutes and 44 seconds, with the remaining

17:20:44 13    time of 19 hours, 27 minutes and 16 seconds.

17:20:48 14                 For defendants, I have you at 2 hours,

17:20:53 15    56 minutes and 33 seconds.     The remaining time of 22 hours

17:20:58 16    3 minutes and 27 seconds.

17:21:02 17                 THE COURT:    Okay.   And that's how we have to

17:21:05 18    stay on schedule.    I'll tell you our goal was to get a

17:21:11 19    little closer to get into another almost thirty minutes

17:21:17 20    which would have put us a little closer.

17:21:21 21                 Okay.   Well, I appreciate everybody's efforts

17:21:25 22    today, and we're going to have a busy day tomorrow.

17:21:28 23                 Anything else?

17:21:28 24                 MR. MASTERS:    Nothing from the plaintiffs, Your

17:21:30 25    Honor.
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17:21:30    1               MR. ELKINS:    Nothing from defendants, Your

17:21:32    2   Honor.

17:21:32    3               THE COURT:    Thank you all very much.

17:21:34    4               COURT CLERK:   All rise.

17:21:37    5               (Court adjourned at 5:21 p.m.)

            6

            7                I hereby certify the foregoing is a true and
                accurate transcript from my stenographic notes in the proceeding.
            8

            9                                      /s/ Dale C. Hawkins
                                                 Official Court Reporter
           10                                        U.S. District Court

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                         EXHIBIT I
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07:48:17    1                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE
            2

            3   QORVO, INC.,                ) VOLUME 3
                                            )
            4              Plaintiff,       )
                                            ) C.A. No. 21-1417(JPM)
            5   v.                          )
                                            )
            6   AKOUSTIS TECHNOLOGIES, INC.,)
                and AKOUSTIS, INC.,         )
            7                               )
                            Defendants.     )
            8

            9                   Wednesday, May 8, 2024
                                8:30 a.m.
           10                   Jury Trial

           11
                                844 King Street
           12                   Wilmington, Delaware

           13
                BEFORE:   THE HONORABLE JON P. McCALLA
           14             United States District Court Judge

           15

           16   APPEARANCES:

           17
                            MORRIS NICHOLS ARSHT & TUNNELL LLP
           18               BY: JACK B. BLUMENFELD, ESQ.
                            BY: JEREMY A. TIGAN, ESQ.
           19               BY: ANTHONY D. RAUCCI, ESQ.

           20               -and-

           21               SHEPPARD MULLIN RICHTER & HAMPTON LLP
                            BY: ROBERT M. MASTERS, ESQ.
           22               BY: JONATHAN R. DeFOSSE, ESQ.
                            BY: TIMOTHY P CREMEN, ESQ.
           23               BY: ROY D. JUNG, ESQ.
                            BY: ZACHARY ALPER, ESQ.
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           25
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         1
              APPEARANCES CONTINUED:
         2

         3                 BAYARD, P.A.
                           BY: STEPHEN B. BRAUERMAN, ESQ.
         4                 BY: RONALD P. GOLDEN, III, ESQ.

         5                 -and-

         6                 SQUIRE PATTON BOGGS (US)LLP
                           BY: RONALD S. LEMIEUX, ESQ.
         7                 BY: DAVID S. ELKINS, ESQ.
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                           BY: RACHAEL A. HARRIS, ESQ.
         9                 BY: MATTHEW A. STANFORD, ESQ.

        10
                                      Counsel for the Defendants
        11

        12

        13                   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

        14

        15

07:48:44 16                THE COURT:   You may be seated.      We got to get

08:27:47 17   our jurors straightened out.     We're still missing two.       So

08:27:51 18   see how it goes on that.     One of them is                .

08:27:57 19   In connection with the verdict form, looks like this is

08:28:08 20   something that approaches what we submitted but without any

08:28:13 21   group descriptions, so we'll say group 1, 2, 3, 4, et

08:28:18 22   cetera.   Descriptions are a problem, defense properly

08:28:22 23   pointed that out.    What we would do is we add two on the

08:28:33 24   verdict instruction at the end, something to the effect, you

08:28:36 25   will note that the form of verdict utilizes the eight
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08:28:42   1   alleged trade secret groups that the plaintiff owes in the

08:28:47   2   present days.    The Court is not making any factual

08:28:53   3   determinations as to the alleged trade secrets or the

08:28:56   4   organization or whether or not each is a trade secret and

08:29:01   5   we'll add more language there.

08:29:03   6                 The verdict form for objection is only for your

08:29:06   7   convenience.    All questions of fact are for you, the jury,

08:29:09   8   to resolve.    My concern, I think the defense is not

08:29:13   9   incorrect, and we need to be careful there.         And I want to

08:29:17 10    be -- I'm looking for more guidance from defense.          But I

08:29:22 11    think we have to have some organizational structure so the

08:29:27 12    jury can go through it logically, so that seems to be a way

08:29:30 13    to do that.

08:29:31 14                  So since I got a few minutes because I don't

08:29:34 15    have my jurors here yet, we're not going to debate it, but

08:29:39 16    we are conscious of that, our goal is to get an almost

08:29:48 17    usable -- they're subject to a little change -- verdict form

08:29:50 18    by noon, we can look at it again, and all of you need to

08:29:54 19    know that.

08:29:55 20                   MR. ELKINS:   Your Honor, I think, I'm not

08:29:58 21    concerned about having them in the order that they are done.

08:30:01 22    What I do have a concern is that they match up exactly how

08:30:07 23    -- I mean, they can be in the same numerical order, but I

08:30:11 24    think it's leaning too far in that direction just in terms

08:30:17 25    of tipping the Court's hat toward the plaintiff and its
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08:30:21   1   vision of how these things should be organized.          They are

08:30:25   2   free, Mr. Masters, or whom does closing is free to use

08:30:30   3   demonstratives, use the special verdict form, I would expect

08:30:33   4   that they do that anyway, and they can put whatever thoughts

08:30:38   5   they want.

08:30:38   6                 My concern is just not having the special

08:30:41   7   verdict form, you know, include the Court's imprimatur on

08:30:45   8   how they are organizing them and correlating them so they

08:30:50   9   can be easily understandable to the jury.         Let's face it,

08:30:53 10    they need to be understandable to the jury, that's our point

08:30:56 11    about specificity, but we don't agree that they're capable

08:31:00 12    of being organized in the manner that they have.          They've

08:31:03 13    done, you know, they've done an effective job already in

08:31:07 14    their examinations in terms of lining them up with evidence,

08:31:14 15    so I don't think they need anymore help from the Court in

08:31:17 16    terms of the special verdict form's organization.          That's my

08:31:20 17    point, Your Honor.

08:31:20 18                  THE COURT:    Do you have any other thoughts about

08:31:22 19    how we might do it, because it seems like with the note that

08:31:25 20    we would add making it very clear, and then they won't have

08:31:29 21    the group names above it, because if you have a concern

08:31:34 22    about that.

08:31:34 23                  MR. ELKINS:    Correct.   My concern is the

08:31:37 24    numbering system and the group names, if they want to list

08:31:39 25    them 1 through 46 in the same order that they're presenting
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08:31:43   1   them, I don't have a problem with that.       I think that that's

08:31:46   2   not -- I think that that's a reasonable middle ground.          But

08:31:51   3   I do have -- you know, a problem with, you know, 1.1, 1.2,

08:31:56   4   1.3.

08:31:57   5                THE COURT:    Right.   We're almost certainly going

08:32:00   6   to have to have an attachment so that they will understand

08:32:03   7   what one is or 1.1 is, generally, what it is alleged to be,

08:32:10   8   and so that's, your concern is with that?

08:32:15   9                MR. ELKINS:    No, my concern, I think a list --

08:32:17 10    we've always taken the case that having a list is very

08:32:21 11    important.   Our -- what we wrote in our last submission by

08:32:28 12    e-mail.

08:32:28 13                 THE COURT:    Right.

08:32:29 14                 MR. ELKINS:    Is that I think that given the way

08:32:31 15    that they're phrased now, they're very lose and while they

08:32:36 16    have again from what I saw yesterday, you know, they have

08:32:41 17    finally got -- I mean, what we have been asking for for

08:32:46 18    two-and-a-half years in this case is that kind of

08:32:48 19    specificity, now that we have it, they can put that

08:32:52 20    specificity in there so that the jury understands what

08:32:56 21    they're supposed to be analyzing.

08:33:00 22                 THE COURT:    Let's put it together and see how it

08:33:03 23    looks, have a final listing here and you do agree that we

08:33:09 24    need to put something on the form of the verdict so it's

08:33:12 25    clean, not the endorsement of the Court.
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08:33:15   1                  MR. ELKINS:    Yes.

08:33:17   2                  THE COURT:    Let's see what we can do.   I'm

08:33:20   3   sorry, anything else from Mr. Masters, since, do we have

08:33:23   4   everybody now?

08:33:38   5                  Okay.   We just got word from                that

08:33:42   6   she's not coming today.       She's certainly a person of strong

08:33:49   7   opinions.   We can't stop the trial because of that.        And can

08:33:55   8   we put the voicemail on the record?      We can -- I haven't

08:34:01   9   heard the voicemail.

08:34:03 10                   MR. ELKINS:    Well, all I have to say is you were

08:34:07 11    right yesterday.

08:34:08 12                   THE COURT:    I don't know about that.

08:34:09 13                   MR. ELKINS:    Well, you have been proven.

08:34:11 14                   THE COURT:    We were just -- well, everybody

08:34:15 15    understands that when a juror absences themselves that the

08:34:23 16    Court doesn't stop trial.      And therefore, what I would --

08:34:28 17    rather than putting her in a position where she would be in

08:34:31 18    contempt, because I don't want to do that, that's not the

08:34:35 19    thing to do.    Her life is complicated enough as it is it

08:34:40 20    sounded like, we would simply excuse her and tell the jury

08:34:44 21    that she had been excused.      Because they need to know,

08:34:47 22    they're going to know she's not here.

08:34:49 23                   Anything else, anything else from Mr. Masters?

08:34:52 24    I'm trying to give him a chance to say something, too.

08:34:55 25                   MR. MASTERS:    Well, I was just thinking about
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08:34:57   1   Nigel.   I'm going to miss talking about Nigel.

08:35:02   2                 THE COURT:    Nigel, we're going to miss Nigel.

08:35:06   3                 MR. ELKINS:    We never got the meet him.

08:35:07   4                 MR. MASTERS:   We knew a lot about him.

08:35:09   5                 To the verdict form.

08:35:10   6                 THE COURT:    So both of you agree that we need to

08:35:14   7   excuse her and this is essentially a request by the juror to

08:35:17   8   be excused because of personal conflicts in terms of her

08:35:22   9   ability to be available.

08:35:23 10                  MR. MASTERS:   At this point, Your Honor, we'll

08:35:25 11    follow your guidance on this.     And I think we've tried

08:35:29 12    enough over the past couple of days and enough is enough, we

08:35:32 13    need to move on.

08:35:33 14                  THE COURT:    So we're going to let her be

08:35:36 15    excused.    We'll put that on the record.     Yes, sir.

08:35:38 16                  MR. MASTERS:   Back to the verdict form, the

08:35:42 17    critical component is that the jury is able to understand

08:35:46 18    what they're deliberating.

08:35:48 19                  THE COURT:    We understand.

08:35:49 20                  MR. MASTERS:   With respect to the trade secrets,

08:35:51 21    and our entire presentation for clarity is the groupings

08:35:56 22    that gets them into -- and the groupings don't add anything

08:36:01 23    more than how they should look at these trade secrets and

08:36:07 24    how they were presented, especially by the witnesses

08:36:09 25    yesterday, they went through all eight, each one had their
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08:36:12   1   own categories.   And we believe those groupings will assist

08:36:16   2   the jury in understanding the trade secrets when they're

08:36:18   3   deliberating.   And just the raw numbers of 1 through 46 may

08:36:22   4   not quite do.

08:36:23   5                THE COURT:    We're going to attach the brief

08:36:28   6   descriptive language in an attachment, which is going to

08:36:31   7   show 1.1, 1.2, 1.3, I'm just not going -- let's try that,

08:36:38   8   take a look at it, and we're going to do that, we'll get it

08:36:41   9   to you a little after noon.

08:36:43 10                 MR. MASTERS:   Thank you.

08:36:43 11                 THE COURT:    And you may find this is going to be

08:36:45 12    okay.   You may say it's not okay, but let's wait.       Now that

08:36:49 13    we know that, we have our other juror, right?

08:36:52 14                 COURT CLERK:   Right.

08:36:53 15                 THE COURT:    Now that we know we've got as many

08:36:55 16    people as we're going to get, we will bring the jury in and

08:36:58 17    we will let Mr. --

08:37:06 18                 MR. ELKINS:    Your Honor, I believe, I understand

08:37:08 19    that we have -- I know we have one issue regarding evidence.

08:37:12 20                 MS. AYERS:    If I want to raise it.

08:37:15 21                 THE COURT:    Let Ms. Ayers come up.

08:37:17 22                 MR. ELKINS:    It's with respect to an expert,

08:37:21 23    Kevin Faulkner, who I will not testify until this afternoon

08:37:25 24    after lunch -- well, maybe he'll testify before lunch.

08:37:28 25                 MS. AYERS:    He's testifying after --
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08:37:30   1                THE COURT:    Okay.   Come up, Rule 1, come up and

08:37:35   2   talk to the mic.   Number two, talk to me, that makes sense,

08:37:39   3   make sure we have a very appropriate exchange.

08:37:41   4                MR. ELKINS:    He will, because I think we'll take

08:37:44   5   our lunch break at 12:30 or 12:45, I think he will start his

08:37:48   6   testimony before lunch.    And the issue pertains to the

08:37:52   7   demonstrative slide deck that plaintiff has prepared for

08:37:56   8   him.   And we have unresolved objections to it.

08:38:01   9                THE COURT:    And I don't think I have seen those

08:38:03 10    yet, so that may be that they have been submitted and they

08:38:08 11    weren't brought to my attention.

08:38:09 12                 MR. ELKINS:    No, Your Honor.

08:38:11 13                 THE COURT:    Just pass them up real quick, and I

08:38:13 14    need to look at it.   These are not exhibits, of course, and

08:38:19 15    I know -- and what's the basic problem here.

08:38:25 16                 MR. ELKINS:    The nature of the issue, Your

08:38:26 17    Honor, is that Mr. Faulkner is a forensic expert regarding

08:38:31 18    the source and location of documents.       As you know, you

08:38:36 19    ordered pursuant to stipulation the forensic examination of

08:38:42 20    various Akoustis materials that are stored electronically.

08:38:46 21    He prepared a report and an analysis, a very detailed one

08:38:51 22    with voluminous exhibits.    But the nature of it is that he

08:38:56 23    did not analyze the documents, he's not a lawyer, he's not

08:39:00 24    an expert in what constitutes confidential information.         Yet

08:39:05 25    his entire demonstrative deck is sprinkled with
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08:39:08   1   characterizations of the documents as confidential.          Yet he

08:39:12   2   never performed that analysis himself.

08:39:14   3               As he states in his expert report, counsel for

08:39:21   4   Qorvo provided him a list of confidential -- what they

08:39:25   5   called Qorvo confidential information and he is parroting

08:39:30   6   the words that they provided to him.        So he is, even though

08:39:34   7   he has not opined that these materials of confidential and

08:39:38   8   he has no idea or ability to so testify, because he's

08:39:42   9   parroting the characterization that counsel gave him

08:39:45 10    throughout this document it reflects that these are

08:39:48 11    confidential Qorvo materials.

08:39:49 12                That is an issue of fact on which the plaintiff

08:39:53 13    bears the burden of proof.    Mr. Faulkner is incapable of

08:39:57 14    opining on that.   It is not within the scope of his report.

08:40:01 15    And those references should be removed.       And that is the

08:40:04 16    crux of our dispute.

08:40:07 17                THE COURT:   Quickly a response, but we are going

08:40:09 18    to get started very soon.

08:40:11 19                MS. AYERS:   Thank you, Your Honor.

08:40:13 20                As Mr. Elkins noted --

08:40:17 21                THE COURT:   We will start in about nine minutes.

08:40:22 22                MS. AYERS:   As Mr. Elkins noted Mr. Faulkner

08:40:25 23    identified the defined term Qorvo confidential materials in

08:40:29 24    paragraph 15 of his report.    While he notes that he received

08:40:32 25    that list from counsel, in Dr. Shanfield's report at
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08:40:36   1   paragraph 77 and at paragraphs 506 through 509,

08:40:42   2   Dr. Shanfield identifies and indicates that he created the

08:40:45   3   list of materials that Mr. Faulkner analyzed, Dr. Shanfield

08:40:50   4   indicates at paragraph 77 of his report that he has included

08:40:54   5   an appendix four of a non-exhaustive listing of the Qorvo

08:40:59   6   confidential information that he has reviewed and he

08:41:02   7   understands from his discussion with Mr. Faulkner that

08:41:05   8   Mr. Faulkner's forensic analysis identified more than 9,000

08:41:09   9   instances of these files on the electronic devices that he

08:41:13 10    examined for the fifteen Akoustis employees.

08:41:15 11                Mr. Faulkner's presentation indicates that he

08:41:18 12    relied upon Dr. Shanfield for the list of materials in order

08:41:23 13    to determine the amount of Qorvo confidential material that

08:41:27 14    is included in his report and discussed in his report.         All

08:41:32 15    of the facts that are listed in Mr. -- in the opinions that

08:41:37 16    are list entered the demonstratives tie back to

08:41:42 17    Mr. Faulkner's expert report and paragraphs within his

08:41:45 18    expert report with respect to each one of the custodians

08:41:48 19    that is discussed within the demonstratives and we think

08:41:50 20    it's appropriate for Mr. Faulkner to opine as to the

08:41:54 21    information that he discovered based upon his reliance of

08:41:58 22    Dr. Shanfield's identification of those materials within his

08:42:02 23    expert report.

08:42:02 24                THE COURT:   What I'm going to need is a brief

08:42:05 25    limiting instruction, a clarifying instruction to the panel,
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08:42:11   1   because the defense is not incorrect that we need to caution

08:42:17   2   them about how this might be received, so can you either

08:42:26   3   submit that or -- I know that people are anxious to do this,

08:42:31   4   but we do have a case to try and we do have jurors waiting.

08:42:35   5               MS. AYERS:   Of course, Your Honor, we can submit

08:42:37   6   that, but I thought one of the limiting instructions that

08:42:39   7   the parties previously worked on addressed this issue as

08:42:42   8   well with respect to the ruling on your motion in limine.

08:42:45   9   So I don't know if --

08:42:46 10                THE COURT:   Well, we can consider using that.            I

08:42:49 11    think we might need something a little more.

08:42:51 12                MS. AYERS:   Okay.   Would you like --

08:42:53 13                THE COURT:   That would be -- very soon, I'm

08:42:57 14    assuming you have got thousands of people out there.

08:43:00 15                MS. AYERS:   Would you like for us, Your Honor,

08:43:02 16    to modify the instruction that was previously submitted?

08:43:06 17                THE COURT:   You can attempt to do that or you

08:43:09 18    can also write something slightly, I think the defense is

08:43:16 19    not wrong, we have to make it clear, for example, you have

08:43:19 20    to make it clear that someone is relying on someone's

08:43:24 21    information, he determined that that information is not

08:43:26 22    worthy of being credible or it's not factually accurate,

08:43:32 23    then of course you cannot consider the other person's term

08:43:35 24    because it would be based on something on which the jury has

08:43:39 25    to determine, they would not find that information to be
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08:43:43   1   reliable.    We have to make sure that that's the case.        We

08:43:49   2   can get that at the very beginning.

08:43:51   3                 MS. AYERS:    Of course, Your Honor, we would not

08:43:52   4   object to a limiting instruction being read to the jury

08:43:54   5   before Mr. Faulkner even testifies and we're happy to work

08:43:58   6   with the defense counsel on the language of that.

08:44:00   7                 THE COURT:    Well, you all work very well

08:44:02   8   together, so give that a shot.      And otherwise, tell me what

08:44:07   9   you want to say and what defense wants to say, but I think

08:44:10 10    that some instruction probably is appropriate.

08:44:13 11                  MS. AYERS:    Of course, Your Honor.

08:44:14 12                  THE COURT:    Absolutely.   I know that we need to

08:44:16 13    -- the jury is now waiting, and --

08:44:20 14                  MR. ELKINS:   If Your Honor would permit me, I

08:44:22 15    just need thirty seconds to make my record, Your Honor.

08:44:25 16                  THE COURT:    Sure.

08:44:25 17                  MR. ELKINS:   I believe this is not only

08:44:27 18    inappropriate because it's not in Mr. Faulkner's report,

08:44:30 19    Mr. Faulkner's report does not -- he never saw

08:44:35 20    Mr. Shanfield's report before he turned in his own report.

08:44:37 21    He does not rely on that.     I think there is a reference to

08:44:40 22    forty documents that he discussed with Mr. Shanfield, but

08:44:44 23    not 9,000.

08:44:46 24                  THE COURT:    Well that's --

08:44:47 25                  MR. ELKINS:   And I believe this is a
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08:44:49   1   Section 403, or Rule 403 issue, and just with respect, Your

08:44:54   2   Honor, I just wanted to make our objection to any reference

08:44:57   3   to confidential documents.    They can say Qorvo documents,

08:45:01   4   Qorvo materials, that's not going to prejudice their case.

08:45:05   5   Mr. Shanfield can testify later and testify to whatever he's

08:45:08   6   going to testify in terms of characterizing them if it's

08:45:12   7   within the scope of his opinion.     But having a different

08:45:16   8   expert do something that he did not do in his expert report

08:45:19   9   we believe is both improper and prejudicial.

08:45:23 10                THE COURT:    I understand the issue there, and I

08:45:26 11    think everybody understands what is allowed, so I think we

08:45:28 12    need to bring the panel in.    We're going to look for that

08:45:33 13    draft at 1 o'clock.   Okay.

08:46:09 14                (Jury entering the courtroom at 8:46 a.m.)

08:46:22 15                THE COURT:    Everyone can be seated.

08:46:35 16    has had some matters that -- issues that she needs to take

08:46:40 17    care of, and we talked about that yesterday to some degree.

08:46:44 18    And since they were not capable of being resolved in a

08:46:48 19    different way, we allowed her to be excused.        I don't want

08:46:52 20    the rest of you think that you're going anywhere, right?

08:46:56 21    We're good on that.   But we did give every opportunity to

08:47:00 22    try to work that out.    We always do.      But we also are very

08:47:04 23    respectful of the fact that sometimes things can't be worked

08:47:07 24    out and it didn't work out.    That's the thing that it is.            I

08:47:11 25    see Mr. McVay already moved over to that seat.         So we are
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08:47:15   1   ready to go.    We are ready to resume today and counsel, you

08:47:20   2   may proceed.

08:47:21   3                  MR. MASTERS:   Good morning, Your Honor.       Thank

08:47:23   4   you.

08:47:23   5                  THE COURT:   Good morning.

08:47:24   6                  MR. MASTERS:   The next witness that plaintiff

08:47:26   7   calls is Qorvo's former employee and Akoustis's Chief

08:47:32   8   Product Officer, Rohan Houlden.       It will be by video.

08:47:35   9                  THE COURT:   Once again, it's a video deposition.

08:47:37 10    You will not see it again.      So this is that opportunity to

08:47:43 11    agree that exhibits are marked during the deposition, they

08:47:46 12    will be sequentially marked so that when you see that

08:47:49 13    person's name on the witness list, you will then also see

08:47:55 14    numbers below that and you will see also the reference

08:47:57 15    number that was used during the deposition.         That's to make

08:48:01 16    sure it's very simple for you to follow and I think for

08:48:03 17    everybody else to keep up.

08:48:05 18                   Ready to proceed.

08:48:06 19                   (Videotape deposition of Rohan Houlden:)

08:48:08 20    Q.     Good morning, Mr. Houlden.       As you heard, my name is

08:48:11 21    Jonathan DeFosse.     I'm one of the attorneys representing

08:48:14 22    Qorvo in the matter.     You understand that you're testifying

08:48:18 23    under oath today?

08:48:18 24    A.     Yes.

08:48:19 25    Q.     What is your current job?
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08:48:21   1   A.      I am at Gallium Semiconductor.

08:48:25   2   Q.      What's your position at Gallium Semiconductor?

08:48:30   3   A.      CEO.

08:48:31   4   Q.      What's the nature of Gallium Semiconductor's

08:48:34   5   business?

08:48:34   6   A.      Working on gallium nitride products for 5G

08:48:41   7   infrastructure and defense and Aerospace.

08:48:45   8   Q.      And prior to July of 2022, where were you employed?

08:48:49   9   A.      I was employed at Akoustis.

08:48:50 10    Q.      And that's the defendant in the matter, Akoustis

08:48:55 11    Inc.?

08:48:55 12    A.      Yes.

08:48:56 13    Q.      When did you start working at Akoustis, Inc.?

08:49:00 14    A.      Late September, 2016.

08:49:03 15    Q.      When you accepted your position at Akoustis in late

08:49:13 16    September 2016, what was your role at the company?

08:49:17 17    A.      VP of product engineering.

08:49:19 18    Q.      Did your position at Akoustis change between

08:49:26 19    September 2016 and July of 2022?

08:49:28 20    A.      Yes.

08:49:31 21    Q.      And how is that?

08:49:32 22    A.      Late 2017, I become the Chief Product Officer.

08:49:41 23    Q.      What were your responsibilities as VP of product

08:49:44 24    engineering?

08:49:44 25    A.      Trying to -- on the back-end trying to do testing of
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08:49:50   1   the filters and production authorization of the filters.

08:49:56   2   Q.        You said "product authorization" of the --

08:50:04   3   A.        Product -- product authorization.        Testing the

08:50:07   4   filters.    Really after the filter is designed, after it's

08:50:11   5   designed, I was getting -- getting the filters out to

08:50:15   6   market, you know, the part of taking data, characterizing

08:50:18   7   parts, you know, data sheets, just getting them ready for

08:50:22   8   market.

08:50:25   9   Q.        Okay.    As the VP of product engineering, did you have

08:50:29 10    responsibility for the design of filters?

08:50:30 11    A.        For the first year, we really did not have a process,

08:50:33 12    so we really weren't doing any design of filters.             We were

08:50:37 13    really looking at just individual resonators, trying to get

08:50:41 14    a resonator to work.

08:50:43 15    Q.        After the first year, was Akoustis able to get a

08:50:49 16    resonator to work?

08:50:51 17    A.        Not in the first year, but probably within

08:50:57 18    fifteen months.

08:50:59 19    Q.        And to put some dates on this, at what point in time

08:51:03 20    was Akoustis able to get a resonator that worked?

08:51:06 21    A.        Say October of 2017.

08:51:09 22    Q.        And once Akoustis had gotten a resonator to work, the

08:51:17 23    company then moved on to designing a filter; is that fair?

08:51:22 24    A.        Yes.    You have -- you -- once you get a resonator,

08:51:26 25    you characterize the resonator to get some models, and then
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08:51:30   1   from those models or that resonator, then you design

08:51:34   2   filters.

08:51:35   3   Q.     Okay.   And what do you mean by "models."

08:51:39   4   A.     Simulations.    You have to characterize an individual

08:51:42   5   resonator, the performance of a resonator, and then a filter

08:51:46   6   consists of seven to fifteen different resonators.         So you

08:51:51   7   characterize the resonator just like if you would do

08:51:54   8   anything else, characterizing a transistor, if you were

08:51:59   9   doing an amplifier or base amp, so you characterize the

08:52:03 10    resonator.   You have characteristics of that resonator.         And

08:52:06 11    then when you run your simulation tool, design engineers use

08:52:10 12    those different resonators to form a filter.

08:52:13 13    Q.     Okay.   What simulation tool was Akoustis using in

08:52:17 14    October of 2017?

08:52:19 15    A.     It's called AWR.     I forget the -- the full name.

08:52:25 16    Q.     Okay.   Is there another name associated with it, for

08:52:28 17    example, the software company that creates the simulator?

08:52:33 18    A.     Yeah, but I forget the name of the company.

08:52:36 19    Q.     Okay.   So starting in October 2017, once there's a

08:52:40 20    working resonator, did you become responsible for the

08:52:43 21    development of the BAW filters as VP of product engineering?

08:52:49 22    A.     Yes, I had design engineers working for me that were

08:52:52 23    working on the designs of those filters.

08:52:54 24    Q.     Okay.   And prior to October 2017, during the

08:52:58 25    development of the resonators, were you responsible for that
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08:53:01   1   activity as well?

08:53:03   2   A.       I was not involved, but people that worked for me

08:53:06   3   were involved in that creation.

08:53:08   4   Q.       So you supervised the folks at Akoustis who were

08:53:12   5   responsible for developing a working resonator?

08:53:15   6   A.       Yes.

08:53:16   7   Q.       And who were the people at Akoustis that were working

08:53:18   8   on developing a functioning resonator?

08:53:21   9   A.       Daeho.    I forget Daeho's last name, and then there

08:53:28 10    was another gentleman, Frank B.         And then there was a lady,

08:53:34 11    Pinal Patel.      And then there's also all the people up in the

08:53:42 12    fab in Chester, that was led by that team was Mary Winters.

08:53:45 13    Q.       Was David Hodge involved in the development of

08:53:51 14    resonators?

08:53:51 15    A.       Very little.     Very little.

08:53:53 16    Q.       When did Mr. Hodge become involved in the product

08:53:57 17    development process?

08:53:59 18    A.       He was at the company when I started.         So he was

08:54:03 19    involved in some testing of some resonators.           From that time

08:54:07 20    period up until probably September of 2017, I guess.

08:54:17 21    Q.       What was Mr. Hodge's job at Akoustis, at the time you

08:54:23 22    started?

08:54:24 23    A.       Do not recall.     Probably design engineer, I would

08:54:31 24    guess.

08:54:32 25    Q.       Was Mr. Hodge responsible for the development of BAW
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08:54:39   1   filters?

08:54:40   2   A.       Yes.

08:54:42   3   Q.       Which is the stage after developing the resonators?

08:54:46   4   A.       Yes.

08:54:46   5   Q.       Okay.    So Mr. Hodge would have taken resonators

08:54:50   6   developed by Mr. Kim, Mr. B, and Ms. Patel and then use

08:54:56   7   those resonator designs to design a filter?

08:54:59   8   A.       Resonator models, yes.      So Pinal would make the

08:55:03   9   models -- there was a lot of other people more involved in

08:55:07 10    Rochester, but they were the three key people in Akoustis in

08:55:10 11    Charlotte.

08:55:11 12    Q.       Okay.    Who were the key people in Rochester?

08:55:16 13    A.       I can't remember.      They all worked for Mary.

08:55:21 14    Q.       Okay.

08:55:22 15    A.       I think one gentleman was Ken.         There was a lot of

08:55:25 16    people up there.       I never -- I only went up there once or

08:55:30 17    twice.   I didn't know them very well.

08:55:31 18    Q.       Did any of the folks in Rochester report to you as

08:55:35 19    vice-president of product engineer?

08:55:37 20    A.       No.

08:55:38 21    Q.       As Chief Product Officer, did any of the folks in

08:55:40 22    Rochester report to you?

08:55:42 23    A.       No.

08:55:43 24    Q.       So who would have then supervised the activities of

08:55:47 25    Akoustis in Rochester?
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08:55:49   1   A.       Mary.

08:55:49   2   Q.       Mary.    Okay.

08:55:51   3                    Mary Winters?

08:55:52   4   A.       Mary Winters, yes.

08:55:54   5   Q.       Okay.    When you became the Chief Product Officer in

08:55:58   6   late 2017.      Did your responsibilities for the development of

08:56:01   7   BAW filters follow you into that role?

08:56:06   8   A.       Yes.

08:56:07   9   Q.       Okay.    So basically when you moved to being Chief

08:56:12 10    Product Officer, you kept the responsibilities you had as

08:56:14 11    vice-president of product engineering, and then on top of

08:56:17 12    those responsibilities, you became responsible for

08:56:19 13    operations?

08:56:21 14    A.       Yes.

08:56:22 15    Q.       What position did you hold when you left Akoustis in

08:56:26 16    July of 2022?

08:56:27 17    A.       That same position.

08:56:30 18    Q.       Meaning Chief Product Officer?

08:56:32 19    A.       Yes.

08:56:33 20    Q.       Okay.    So I'm trying to put ourselves back in the

08:56:39 21    October 2017 time frame.         You now have a working resonator

08:56:42 22    model.   Were there priorities that were set at the company

08:56:45 23    as to what to do next?

08:56:47 24    A.       We were looking at a Band-41 filter -- I can't

08:56:51 25    remember the exact order what we were working on back in
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08:56:54   1   October.    But we were working -- I know we were working on

08:56:58   2   some Band-41 filters, maybe some -- a 1938 filter for              ,

08:57:05   3   military for       .   And then possibly started working on the

08:57:12   4   1252 for Wi-Fi.

08:57:15   5   Q.     How did Akoustis determine which products it was

08:57:19   6   interested in developing?

08:57:21   7   A.     Mr. Aichele, VP of Marketing.

08:57:26   8   Q.     And would Mr. Aichele come to you and say,

08:57:32   9   Mr. Houlden, I'd like you to please develop a -- a filter

08:57:37 10    product for       , is that the way it would work?

08:57:40 11    A.     Yeah, he would -- he would provide a spec,              , the

08:57:44 12    customer, the specs come from customers, so he would -- he

08:57:48 13    would be dealing and negotiating with customers and get --

08:57:51 14    eventually reach an agreement on a spec.        And then he would

08:57:54 15    refine a specification that the design engineers would have

08:57:58 16    to try to design to and meet.

08:58:00 17    Q.     So can you walk me through, once you have a working

08:58:05 18    resonator model, what were the milestones that Akoustis

08:58:08 19    needed to achieve in order to bring a product to market?

08:58:12 20    A.     Well, the design engineer would have to run

08:58:15 21    simulations and try -- and when you run those simulations,

08:58:20 22    try to meet the customer's spec.

08:58:25 23    Q.     Okay.

08:58:28 24    A.     And then once you -- once the engineer showed his

08:58:32 25    simulations could meet the customer spec, then you -- the
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08:58:36   1   design engineer would give the design to a layout person, a

08:58:40   2   CAD person and that CAD person would then layout the filter.

08:58:45   3   And then people in Rochester would then fabricate that

08:58:50   4   filter.

08:58:51   5   Q.        When you say fabricate the filter, do you mean

08:59:03   6   fabricate prototypes of the filter?

08:59:06   7   A.        Yes.    Yes.   Thank you.   Yes.

08:59:07   8   Q.        Okay.    And what would Akoustis then do with the

08:59:10   9   prototypes of the filter?

08:59:12 10    A.        So after the wafers come out of the Fab, you then

08:59:16 11    bring them back to Charlotte, they would dice them.              We'd go

08:59:23 12    get them diced somewhere, and then we would go off and try

08:59:27 13    to package them in the lab or at least assemble them in a

08:59:32 14    lab and then try to test them.

08:59:34 15    Q.        And when you say package in the lab, was the lab in

08:59:38 16    Charlotte as well?

08:59:39 17    A.        Yeah, it was a little prototype lab, yeah.

08:59:42 18    Q.        And what do you mean by package?

08:59:44 19    A.        You could either put the die on a -- on a laminate

08:59:50 20    and wire bond it, or you could put the die in a ceramic

08:59:55 21    package and then wire bond, so basically your die --

08:59:58 22    attaching the die down on to a substance or a material and

09:00:03 23    then wire bonding it out.

09:00:04 24    Q.        Now, taking a step back, you said that after the --

09:00:08 25    after the device engineers had the simulations they would be
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09:00:12   1   provided to -- or have a CAD layout; right?

09:00:20   2   A.        Can you ask that question again?

09:00:23   3   Q.        Sure.

09:00:24   4                     Once the device engineers had working

09:00:26   5   simulations that would meet the customer specifications, the

09:00:30   6   next step was to provide the simulations for CAD layout?

09:00:35   7   A.        No, you -- you used the word "device engineer" twice.

09:00:40   8   Q.        Okay?

09:00:40   9   A.        It would be a design engineer.

09:00:42 10    Q.        Okay.    What's the difference between a design

09:00:46 11    engineer and a device engineer?

09:00:48 12    A.        A design engineer designs the filters, the device

09:00:53 13    engineer designs the resonator.

09:00:54 14    Q.        Okay.    So once the design engineer has working

09:00:58 15    simulations that would meet a customer specification, the

09:01:02 16    next step was CAD layout; is that right?

09:01:05 17    A.        Yes.

09:01:06 18    Q.        What -- what is CAD layout?

09:01:09 19    A.        Computer-aided design.

09:01:11 20    Q.        Okay.

09:01:12 21    A.        So you would -- you would layout all the different

09:01:15 22    layers required for the Fab to process the filter.

09:01:19 23    Q.        And then the next step in the process was fabrication

09:01:28 24    of the filter.       What's involved in the fabrication of the

09:01:31 25    filter?
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09:01:32   1   A.        I -- I couldn't answer that because I'm not a Fab

09:01:35   2   person.

09:01:36   3   Q.        Okay.    At a high level, what's the output of a

09:01:39   4   fabrication?

09:01:39   5   A.        A wafer.

09:01:40   6   Q.        A wafer.

09:01:41   7                     And a wafer would have multiple filters on a

09:01:44   8   single wafer?

09:01:44   9   A.        Yes.

09:01:45 10    Q.        And then that wafer would go to Charlotte and it

09:01:49 11    would be cut or diced, is that right?

09:01:53 12    A.        We didn't -- we did not have dicing capability in

09:01:57 13    Charlotte, and I do not recall.          We may have sent it

09:02:00 14    elsewhere, to California, somewhere else to get it diced and

09:02:04 15    then shipped it to Charlotte.

09:02:07 16    Q.        Okay.    And once you had the die in Charlotte, they

09:02:12 17    would be packaged in the lab we talked about?

09:02:14 18    A.        Yes.

09:02:14 19    Q.        And then you said they would be tested?

09:02:17 20    A.        Yes.

09:02:17 21    Q.        How would the packaged dies be tested?

09:02:23 22    A.        You would place it on an evaluation board and then

09:02:27 23    connect it up to a VNA, a Vector Network Analyzer.

09:02:32 24    Q.        And if the further testing indicates that the filter,

09:02:35 25    it would meet the customer requirements, what would happen
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09:02:38   1   next?

09:02:39   2   A.      Then -- then the VP of marketing would probably say,

09:02:42   3   hey, let's sample 2 or 3 on an evaluation board to

09:02:48   4   customers.     And then the next step would be to show

09:02:51   5   customers our performance.

09:02:53   6   Q.      Okay.    During your time at Akoustis, did any BAW

09:02:57   7   filter products make it all the way through the process we

09:03:06   8   talked about to be sent to customers on evaluation boards?

09:03:14   9   A.      Yes.

09:03:15 10    Q.      Okay.    How many products?

09:03:17 11    A.      A lot.

09:03:21 12    Q.      A lot.    Okay.    What are you -- what would you say is

09:03:25 13    a lot here?

09:03:25 14    A.      You mean over my entire period?

09:03:28 15    Q.      Yes.

09:03:28 16    A.      More than twenty.      Less than 100.    Probably between

09:03:32 17    twenty and fifty.

09:03:33 18    Q.      Do you recall what the first product is that Akoustis

09:03:36 19    was able to get through the development process to the point

09:03:38 20    where it could be sent to customers on evaluation boards?

09:03:42 21    A.      1938.

09:03:45 22    Q.      And what was 1938?

09:03:49 23    A.      Oh, 1938 is for a military project, for

09:03:56 24    company called         .

09:03:58 25    Q.      Okay.    And after -- oh, about what time frame was the
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09:04:12   1   1938 product shipped on evaluation boards?

09:04:19   2   A.       I don't recall.

09:04:23   3   Q.       Okay.

09:04:23   4   A.       It would be -- I would think early 2018 would be my

09:04:28   5   guess.

09:04:28   6   Q.       You mentioned earlier a product with a number 1252?

09:04:31   7   A.       Yes.

09:04:32   8   Q.       Do you recall that?

09:04:32   9   A.       Yes.

09:04:33 10    Q.       And that's a Wi-Fi product?

09:04:35 11    A.       Yes.

09:04:35 12    Q.       Did the 1252 product make it to the stage of having

09:04:40 13    evaluation boards that could be sent to customers?

09:04:43 14    A.       Yes.

09:04:43 15    Q.       Okay.    And when was that?

09:04:46 16    A.       I would think 2018 as well.

09:04:50 17    Q.       Back to the 1938, did           ultimately order that

09:05:00 18    product from Akoustis?

09:05:01 19    A.       Yes.

09:05:04 20    Q.       And do you recall when the finished product was

09:05:08 21    shipped to         ?

09:05:13 22    A.       I do not.

09:05:14 23    Q.       Or when the orders were made?

09:05:15 24    A.       I think in            case, they -- they gave us NRE to

09:05:21 25    develop it.      So -- nonrecurring engineering, NRE.        So --
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09:05:28   1   which is like the down payment or money for -- to develop

09:05:35   2   the part, for research and developing the part.

09:05:46   3                    So as a part of that NRE contract, which I'm not

09:05:49   4   familiar with, Mr. Aichele, would who was the VP of

09:05:55   5   Marketing, a part of that contract would probably -- they

09:05:58   6   would give money over certain stages and a part of those

09:06:01   7   payments you would have to provide samples, at certain gates

09:06:07   8   of the contract.

09:06:08   9   Q.       Prior to joining Akoustis in late September 2016, you

09:06:13 10    were working at Qorvo?

09:06:14 11    A.       Yes.

09:06:14 12    Q.       Okay.    And how long were you working at Qorvo?

09:06:19 13    A.       I worked -- Qorvo was a formation of a merger of RFMD

09:06:25 14    and TriQuint, so probably worked for seventeen years at

09:06:31 15    RFMD/Qorvo, officially probably only eighteen months at

09:06:40 16    Qorvo.

09:06:45 17    Q.       When did you start at RFMD?

09:06:52 18    A.       I think it was June 1st of '99, I believe.

09:06:59 19    Q.       And when was the merger of RFMD and TriQuint, what

09:07:06 20    year?

09:07:08 21    A.       It was announced in January 2014, but it took a long

09:07:13 22    time to get an approval with different things.            I think it

09:07:18 23    officially became Qorvo in January 2015.

09:07:22 24    Q.       Okay.    What was your position in September 2016 when

09:07:25 25    you left Qorvo?
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09:07:27   1   A.     General manager of -- well, I'm not sure what my

09:07:31   2   title was, to tell you the truth, in September 2016.           I was

09:07:37   3   the general manager in July 2016.       And my boss, James Klein,

09:07:44   4   wanted to reduce the number of his direct reports, so that

09:07:50   5   position was eliminated and he asked me to go find a

09:07:55   6   different job within the company.

09:07:58   7   Q.     What were your responsibilities as the general

09:08:01   8   manager of the Wireless Connectivity Business Unit?

09:08:06   9   A.     To grow -- to grow and manage the business.

09:08:12 10    Q.     And what's involved in growing -- well, first of all,

09:08:17 11    what is the business of the Wireless Connectivity Business

09:08:20 12    Unit at Qorvo or what was the business in July 2016?

09:08:23 13    A.     In July 2016, I was responsible for a lot of Wi-Fi --

09:08:29 14    our core business was Wi-Fi PA's, that was our core

09:08:35 15    business.   We also did smart energy, and I also did

09:08:41 16    automotive.

09:08:42 17    Q.     You said Wi-Fi PA's.

09:08:45 18    A.     Yes.

09:08:46 19    Q.     What are Wi-Fi PA's?

09:08:48 20    A.     Power amplifiers.

09:08:50 21    Q.     After the general manager position that you held was

09:08:53 22    eliminated in July 2016, were you offered another position

09:08:56 23    at Qorvo?

09:08:57 24    A.     Yes.    They had proposed some -- I don't think I was

09:09:02 25    ever officially offered, but I was asked to look around the
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09:09:06   1   company, talk to other people to find a potential job that I

09:09:11   2   would be interested in.

09:09:13   3   Q.     When did you start considering moving to Akoustis?

09:09:18   4   A.     After I learned mid July that my job as general

09:09:25   5   manager would become redundant.

09:09:27   6   Q.     And how did the opportunity at Akoustis arise?

09:09:31   7   A.     After I learned my job was becoming redundant, I

09:09:37   8   called the CEO, Jeff Shealy.

09:09:40   9   Q.     Okay.    And did you know Mr. Shealy from working

09:09:44 10    together previously?

09:09:44 11    A.     Yes.

09:09:45 12    Q.     And did you provide Qorvo notice that you were going

09:09:47 13    to leave the company?

09:09:48 14    A.     Yeah, they put me on garden leave, where I was

09:09:54 15    looking -- you know, I was struggling to find a job that I

09:09:57 16    was interested in.     And I asked for a severance package.

09:10:02 17    But I was still, you know, very -- I had been working at

09:10:07 18    Qorvo and RFMD for seven years, a lot of close friends, so I

09:10:12 19    really was very reluctant to leave, but I couldn't --

09:10:16 20    unfortunately couldn't find a job that I really was

09:10:19 21    interested in and -- and someone that I would be interested

09:10:22 22    in working for.

09:10:23 23    Q.     Mr. Houlden, I've handed you a copy of what's been

09:10:27 24    marked as Exhibit 77.     I will identify this for the record

09:10:31 25    as a five-page document.      The first page of which has the
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09:10:35   1   Bates number Qorvo_00012287.      And at the top of the document

09:10:44   2   it says, "Severance agreement and release of all claims."

09:10:49   3   Do you see that?

09:10:49   4   A.     Yes.

09:10:51   5   Q.     Do you recognize what's been marked as Exhibit 77?

09:10:54   6   A.     Yes.

09:10:56   7   Q.     And what is Exhibit 77?

09:10:58   8   A.     It's a severance agreement.

09:11:01   9   Q.     And it's a severance agreement between Qorvo and --

09:11:07 10    and yourself?

09:11:08 11    A.     Yes.

09:11:09 12    Q.     And this was the agreement that you executed upon the

09:11:13 13    termination of your employment at Qorvo?

09:11:15 14    A.     Yes.

09:11:16 15    Q.     If we look at the first page of Exhibit 77 in --

09:11:20 16    under the paragraph that says:       "Number one, termination of

09:11:25 17    employment and severance pay."

09:11:28 18                  Do you see that?

09:11:29 19    A.     Yes.     Yes.

09:11:30 20    Q.     It indicates that your last date of employment at

09:11:33 21    Qorvo was September 16, 2016; is that right?

09:11:36 22    A.     Yes.

09:11:36 23    Q.     And is that correct, was that your last day of

09:11:39 24    employment at Qorvo?

09:11:40 25    A.     I do believe.
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09:11:41   1   Q.     Okay.    And if we look at -- on page 1 of Exhibit 77,

09:11:46   2   paragraph 1(B), it indicates there that you were provided a

09:11:52   3   severance package; is that right?

09:11:54   4   A.     Yes.

09:11:54   5   Q.     And you received               in severance from Qorvo?

09:12:02   6   A.     Yes.

09:12:03   7   Q.     Now, in consideration for the severance package, you

09:12:07   8   agreed to a few conditions for the termination of your

09:12:11   9   employment; is that right?

09:12:12 10    A.     Yes.

09:12:14 11    Q.     I'd like you to turn to page 3 of Exhibit 77.

09:12:21 12                   And take a look at paragraph 5.

09:12:25 13    A.     Yes.

09:12:31 14    Q.     Under paragraph 5, you agreed that you would return

09:12:35 15    to Qorvo any -- any property of Qorvo that was in your

09:12:40 16    possession; right?

09:12:43 17    A.     Yes.

09:12:44 18    Q.     And that included any files or documents that you had

09:12:47 19    in your possession; right?

09:12:49 20    A.     Yes.

09:12:49 21    Q.     You did not do that when you left your employment at

09:12:53 22    Qorvo; correct?

09:12:54 23    A.     No, I did.

09:12:57 24    Q.     You returned all files and documents that you had

09:13:00 25    from Qorvo when you left your employment?
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09:13:02   1   A.       I believe I did at that time.

09:13:05   2   Q.       I think you mentioned already, when you joined

09:13:08   3   Akoustis, the company was working on developing resonators?

09:13:12   4   A.       Yes.

09:13:13   5   Q.       When you left Qorvo, you retained Qorvo confidential

09:13:18   6   documents concerning resonator design; is that right?

09:13:23   7   A.       No.    I don't believe so.

09:13:25   8   Q.       Mr. Houlden, I handed you what's been marked as

09:13:30   9   Exhibit 78.

09:13:31 10    A.       Okay.

09:13:32 11    Q.       I'll identify this for the record as a six-page

09:13:36 12    document, the first page has the production number

09:13:41 13    AKTS_00204965.      And on the first page, there's a slide that

09:13:49 14    says, "Qorvo all around you 5G nine polygons versus

09:13:57 15    rectangle."

09:13:59 16                     Do you see that?

09:14:00 17    A.       Yes.

09:14:01 18    Q.       Okay.    Now, the number at the bottom, it starts with

09:14:04 19    AKTS.

09:14:08 20                     Do you see that?

09:14:09 21    A.       Yes.

09:14:10 22    Q.       That means that this was produced from Akoustis's

09:14:13 23    files.   Okay?

09:14:14 24    A.       Okay.

09:14:15 25    Q.       And, in particular, the metadata that was provided
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09:14:20   1   with this document indicates that this was found in your

09:14:23   2   files at Akoustis?

09:14:24   3   A.        Okay.

09:14:25   4   Q.        Do you recognize this document?

09:14:26   5   A.        No.

09:14:28   6   Q.        You would agree with me that this is a Qorvo

09:14:34   7   document; correct?

09:14:35   8   A.        Yes.

09:14:36   9   Q.        You would agree that this is a confidential Qorvo

09:14:40 10    document?

09:14:40 11    A.        Is confidential written there?         Yes, I see

09:14:45 12    confidential, yes.

09:14:47 13    Q.        And this is a document that concerns aspects of

09:14:50 14    resonator design?

09:14:51 15    A.        Layout of resonators, not a design.

09:14:56 16    Q.        Okay.    So the -- the layout of resonators --

09:15:01 17    A.        Right.

09:15:02 18    Q.        -- for example, to be used in a filter?

09:15:05 19    A.        Not in an Akoustis's filter, but possibly in a Qorvo

09:15:10 20    filter.

09:15:14 21    Q.        When you left Qorvo, you retained a copy of this

09:15:17 22    confidential document?

09:15:18 23    A.        I do not recall.

09:15:20 24    Q.        You took this document, Exhibit 78, with you to

09:15:24 25    Akoustis; right?
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09:15:28   1   A.        I -- I do not recall.      I don't believe so.      I do not

09:15:32   2   recall.

09:15:33   3   Q.        You provided excerpts of this document to Dave Hodge

09:15:36   4   in October 2016; is that right?

09:15:40   5   A.        I do not recall.

09:15:41   6   Q.        Do you recall providing excerpts of any Qorvo

09:15:45   7   confidential documents to Mr. Hodge in 2016?

09:15:47   8   A.        No.

09:15:50   9   Q.        You did not have authorization to share Exhibit 78

09:15:56 10    with anyone at Akoustis; is that correct?

09:16:00 11    A.        That is correct.

09:16:00 12    Q.        Mr. Houlden, I've handed you what's been previously

09:16:08 13    marked as Exhibit 7?

09:16:09 14    A.        Yes.

09:16:09 15    Q.        I'll identify Exhibit 7 for the record as a four-page

09:16:13 16    document.       The first page of which has the production number

09:16:18 17    Hodge_000206, and at the top it says, "rectangle versus

09:16:26 18    polygon resonator."

09:16:29 19                     Do you see that?

09:16:30 20    A.        Yes.

09:16:31 21    Q.        Do you recognize what's been marked as Exhibit 7?

09:16:36 22    A.        No.

09:16:36 23    Q.        If you compare Exhibit 7 to Exhibit 78, would you

09:16:41 24    agree with me that Exhibit 7 is excerpts of Exhibit 78?

09:16:46 25    A.        Yes.
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09:16:50   1   Q.     Mr. Hodge testified that in October 2016 you handed

09:16:56   2   him what's been marked as Exhibit 7.

09:17:02   3   A.     Okay.

09:17:02   4   Q.     Do you recall doing that?

09:17:04   5   A.     No.

09:17:05   6   Q.     Mr. Hodge testified that you asked him to review

09:17:08   7   Exhibit 7 and have a meeting with him to discuss its

09:17:11   8   contents.

09:17:12   9                  Do you recall that?

09:17:13 10    A.     Okay.    No.

09:17:14 11    Q.     Okay.    Do you have any reason to dispute what

09:17:17 12    Mr. Hodge testified about --

09:17:19 13    A.     No.

09:17:21 14    Q.     And again, you agree that you did not have

09:17:24 15    authorization from Qorvo to share what's been marked as

09:17:27 16    Exhibit 7 with Mr. Hodge?

09:17:29 17    A.     Correct.

09:17:30 18    Q.     Mr. Houlden, I've handed you what's been marked as

09:17:34 19    Exhibit 79.

09:17:35 20    A.     Yes.

09:17:35 21    Q.     This is a two-page document that has the production

09:17:39 22    number AKTS_00075127 on the first page.

09:17:46 23    A.     Yes.

09:17:47 24    Q.     I'd like to take a minute and give you a chance to

09:17:50 25    review this document.     And my first question will be, do you
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09:17:53   1   recognize this?

09:17:54   2   A.     I do not recognize it.

09:17:55   3   Q.     So if we start on the second page of the Exhibit 79,

09:18:01   4   there's an e-mail from an e-mail account with the address

09:18:06   5                          .

09:18:10   6                  Do you see that?

09:18:13   7   A.     Yes.

09:18:14   8   Q.     Does that e-mail account belong to you?

09:18:16   9   A.     Yes.

09:18:17 10    Q.     So this is a personal e-mail account of yours?

09:18:21 11    A.     Yes.

09:18:21 12    Q.     On November 23rd, 2016, when this e-mail was sent,

09:18:25 13    you were no longer working at Qorvo; right?

09:18:29 14    A.     Correct.

09:18:29 15    Q.     You -- at this time, you were working at Akoustis?

09:18:32 16    A.     Yes.

09:18:32 17    Q.     And you wrote this e-mail to someone named Mike.

09:18:37 18                   Do you see that?

09:18:38 19    A.     Yes.

09:18:39 20    Q.     Is that Mike Coolen?

09:18:43 21    A.     Yes.

09:18:43 22    Q.     Who is Mike Coolen?

09:18:45 23    A.     Mike Coolen is a head technician in Boston.

09:18:51 24    Q.     Okay.    And in November 2016, Mr. Coolen was working

09:18:55 25    at Qorvo?
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09:18:55   1   A.     I do -- I do not know.      He -- he left Qorvo and I do

09:19:01   2   not recall when he left.

09:19:05   3   Q.     At the time you e-mailed Mr. Coolen on November 23rd,

09:19:11   4   2016, did you believe he was working at Qorvo?

09:19:14   5   A.     I do not recall.      He could have been.     I do not

09:19:18   6   recall when he left.

09:19:20   7   Q.     Okay.    So when you e-mailed Mr. Coolen, you asked

09:19:24   8   Mr. Coolen about the design of evaluation test boards, is

09:19:41   9   that right?

09:19:41 10    A.     Yes.

09:19:41 11    Q.     And you were particularly interested in the design of

09:19:44 12    test boards that were used at Qorvo?

09:19:47 13    A.     Wasn't at Qorvo, would have been at my -- what he --

09:19:51 14    what he did for me and my group in the Wireless Connectivity

09:19:57 15    Business Unit, yes.

09:19:57 16    Q.     Okay.    When you were at Qorvo?

09:19:59 17    A.     Yes.

09:19:59 18    Q.     You were interested in obtaining information from

09:20:02 19    Mr. Coolen concerning the evaluation test boards that

09:20:06 20    Mr. Coolen made for you for the Wireless Connectivity

09:20:10 21    Business Unit at Qorvo?

09:20:12 22    A.     Yeah, I think -- I'm looking at this.         We're asking

09:20:16 23    questions about a                     .   So I was asking

09:20:19 24    questions about                      for an evaluation board that

09:20:24 25    we never used -- we never ended up using at Akoustis, but I
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09:20:28   1   was asking questions about                    .

09:20:31   2   Q.        Okay.    And specifically the                  that were

09:20:34   3   used at Qorvo?

09:20:38   4   A.        Yeah, I'm a little confused there, because I'm asking

09:20:43   5   him about                   , but we didn't end up using

09:20:48   6         at -- in my group either, because                           was

09:20:52   7   very expensive.       It's like a Mercedes.   And so we did not

09:20:57   8   use Mercedes material because if you send it to China or any

09:21:02   9   customers, they think you need Mercedes material to get your

09:21:06 10    parts working.       So I'm -- I'm trying to -- so if you read in

09:21:11 11    my e-mail, I said, most of our GSO Wi-Fi

09:21:18 12    boards.    So we're talking about different things.        He -- we

09:21:22 13    were using                 at Qorvo, and I'm asking him about

09:21:26 14         .

09:21:27 15                      So it's a little bit different.   So it's a --

09:21:31 16    I'm asking him for general knowledge on the layout of

09:21:35 17    boards, not specifically to do with Qorvo, because Qorvo --

09:21:39 18    at Qorvo we used                .

09:21:43 19                      If you see my original e-mail there, I said we

09:21:47 20    -- I believe most of our GSO Wi-Fi                   uses that, and

09:21:52 21    I'm asking about               So it's not really specifically to

09:21:56 22    do with a Qorvo board.

09:21:58 23    Q.        Why were you e-mailing Mr. Coolen from your personal

09:22:02 24    account as opposed to your Akoustis e-mail account?

09:22:06 25    A.        I don't know.    It looks like it was on Thanksgiving
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09:22:09   1   day.   If I look at -- Thursday, November 24th.             So I was

09:22:13   2   just probably home.         Thanksgiving morning.      My kids are

09:22:16   3   still in bed.        I can't believe I'm actually e-mailing

09:22:20   4   Thanksgiving day, but looks like I am.

09:22:23   5   Q.         You forwarded Mr. Coolen's e-mail to Pinal Patel?

09:22:28   6   A.         Yes.

09:22:28   7   Q.         Ms. Patel was a senior design engineer at Akoustis at

09:22:33   8   this time?

09:22:33   9   A.         I'm not sure what her title was at that time.           But

09:22:38 10    she was a design engineer, she wore many hats.              So whether

09:22:42 11    her title was design, I'm not sure.

09:22:44 12    Q.         You told Ms. Patel that you would discuss the design

09:22:49 13    information from Mr. Coolen with her; right?

09:22:54 14    A.         Right.

09:22:54 15    Q.         If we look at the -- the top e-mail, you say "we can

09:22:58 16    discuss on Friday but wanted to forward in case I forgot.

09:23:01 17    Qorvo uses                                                         .   Do

09:23:08 18    you see that?

09:23:08 19    A.         Yeah, I did see that, but -- yeah, but I'm -- I'm a

09:23:14 20    bit confused why I sent it to her because in -- in Mike's

09:23:23 21    e-mail it says they use            .   So I don't know why I said

09:23:26 22           .    That may have been a typo.        Because Mike clearly

09:23:30 23    says he's using           , they're not -- they weren't using

09:23:35 24           stuff, so I'm not sure why I put it there.

09:23:38 25    Q.         If you look at the bottom of the first page?
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09:23:39   1   A.        Yep.

09:23:40   2   Q.        There is an e-mail from Mr. Coolen on November 24,

09:23:45   3   2016, and it says, "In Boston" -- at the bottom of the page.

09:23:51   4   "In Boston we moved to                                      for the top

09:23:55   5   layer."    Do you see that?

09:23:56   6   A.        No, I do not see that.

09:23:58   7   Q.        It's the very bottom line on Exhibit 79, first page.

09:24:01   8   A.        Oh, okay.     Below the thing.    I didn't see that,

09:24:04   9   right.

09:24:05 10                      So yeah, he did switch it.     Okay.   Hang on.    "We

09:24:16 11    use                                        elsewhere."     Okay.

09:24:21 12                      Yeah, I was -- all right.      Yeah.   I was unaware

09:24:27 13    of that because typically

09:24:30 14                                          so I'm a bit surprised by

09:24:35 15    that.

09:24:36 16    Q.        Okay.    But does this refresh your recollection now

09:24:38 17    that you were discussing Qorvo's evaluation boards?

09:24:42 18    A.        Yeah.    It's really -- it's really a material, so

09:24:45 19    really, we're talking car tires, we're talking -- are we

09:24:49 20    using Michelin tires, or are we using Firestone tires.              So I

09:24:54 21    was finding out that Qorvo was using Michelin tires.

09:24:56 22    Q.        I'll identify this for the record as a two-page

09:25:00 23    document, the first page of which has the production number

09:25:03 24    AKTS_0021074.       Give you a chance just to take a look at

09:25:17 25    this.    And my first question will be whether you recognize
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09:25:19   1   this document?

09:25:20   2   A.     I do not recognize it.

09:25:21   3   Q.     If we look, it appears that the second page and half

09:25:26   4   of the first page is the same e-mail conversation that we

09:25:31   5   marked as Exhibit 79; is that right?

09:25:33   6   A.     Right.

09:25:35   7   Q.     Okay.     And then it appears that in the top half of

09:25:39   8   the first page of Exhibit 80, there are some further

09:25:42   9   discussions between you and Mr. Coolen seeking information

09:25:45 10    about Qorvo's evaluation test boards; is that right?

09:25:50 11    A.     Right.

09:25:53 12                   So I think it was more discussion, because if

09:26:07 13    you look at Mr. Coolen's e-mail, he says "any reputable

09:26:14 14    board manufacturer you use will verify your line width and

09:26:17 15    stack up to 50 on."

09:26:19 16                   So again, if you look at this information, this

09:26:21 17    is just public information you get off the web.        And then

09:26:24 18    when you go off and do the design, and then he said, "Any

09:26:28 19    reputable board manufacturer will verify everything."

09:26:33 20    Q.     Is there a reason that you were e-mailing Mr. Coolen

09:26:36 21    at his personal gmail account rather than his Qorvo e-mail

09:26:41 22    address?

09:26:41 23    A.     I do not recall.    I'm not even sure if he -- where he

09:26:46 24    was at that stage.    I guess it was Thanksgiving weekend, so

09:26:50 25    I assume he was at home as well.
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09:27:04   1                  Yes.   All this dialogue on these e-mails was

09:27:09   2   over Thanksgiving weekend.      So I assume I'm e-mailing to him

09:27:14   3   to his home because he's probably more likely to be checking

09:27:18   4   his home e-mail address than his work e-mail address.

09:27:22   5   Q.     Okay.     And what you wanted was to see what Qorvo was

09:27:25   6   sending to the board shops?

09:27:27   7   A.     Right.    Right.    As an example.     Yeah.   I don't know

09:27:31   8   -- I don't know what those files are.         Obviously he's trying

09:27:34   9   to help me.    He probably sent more information than I

09:27:37 10    requested.    And I can't -- from -- from that it's hard to --

09:27:40 11    hard to see what they are.

09:27:44 12                   We would not use them anyway because you would

09:27:47 13    calculate the line within your board, so usually AWR.           So if

09:27:51 14    he sent something generic off the internet like the -- so

09:27:58 15    some of these other things here, transmission line, these

09:28:01 16    files, transmission line EXED, transmission line, CPW,

09:28:07 17    they're probably all generic software tools off the internet

09:28:11 18    that he's trying to help us, but we would not use them.

09:28:14 19                   We would use AWR, which is a higher standard,

09:28:18 20    much more expensive, much more accurate tool.

09:28:23 21    Q.     All right.     Mr. Houlden, I've handed you what's been

09:28:26 22    marked as Exhibit 84.     I'll identify this for the record as

09:28:30 23    a one-page document.      The production number is

09:28:34 24    AKTS_00210811.

09:28:38 25                   Mr. Houlden, do you recognize this document?
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09:28:42   1   A.     No.

09:28:43   2   Q.     This appears to be a series of e-mails, the first was

09:28:47   3   on December 14, 2016, from Steve.Oglesby@Qorvo.com.           Do you

09:28:59   4   see that?

09:28:59   5   A.     Yes.

09:28:59   6   Q.     Do you recall ever asking Mr. Oglesby after you left

09:29:04   7   Qorvo for confidential information about Qorvo?

09:29:06   8   A.     I may have had discussions as friends and ---and

09:29:10   9   talking things.    I would not have specifically requested

09:29:13 10    confidential information.

09:29:14 11    Q.     Okay.    Do you recall Mr. Oglesby ever sending you

09:29:20 12    Qorvo confidential information?

09:29:21 13    A.     No, I do not.

09:29:22 14    Q.     Mr. Houlden I've handed you what's been marked as

09:29:26 15    Exhibit 85.    It's a one-page document with a production

09:29:29 16    number AKTS-00210812.     This is the attachment to

09:29:37 17    Mr. Oglesby's e-mail to you which we marked as Exhibit 84.

09:29:43 18    Do you recognize this exhibit --

09:29:45 19    A.     You mean 85?

09:29:47 20    Q.     The e-mail is 84.      The attachment is 85.

09:29:50 21    A.     Okay.    Yes, sorry.

09:29:51 22    Q.     Do you recognize Exhibit 85?

09:29:52 23    A.     No, I do not.

09:29:54 24    Q.     Do you recognize what Exhibit 85 is?

09:29:56 25    A.     It's a connector.
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09:29:57   1   Q.      Okay.    An RF connector for an evaluation board?

09:30:01   2   A.      Yes.

09:30:02   3   Q.      Okay.    Did you ask Mr. Oglesby to send you

09:30:06   4   information on the RF connectors that Qorvo was using with

09:30:09   5   its evaluation boards?

09:30:11   6   A.      I do not recall, but we did not use this connector.

09:30:15   7   Q.      Okay.    Is that the type of thing Mr. Oglesby would

09:30:18   8   just do out of the blue, send you unsolicited information?

09:30:24   9   A.      I may have had discussions with him about connectors,

09:30:28 10    generic connectors, and he may have -- I may have not

09:30:33 11    specifically requested it.       I mean friends -- friends are

09:30:36 12    always trying to help you.       I mean, you'll see in my e-mails

09:30:39 13    that I had discussions with Robert Aigner, the CTO of Qorvo

09:30:44 14    in Florida, and he's sending e-mails to me.          That's what

09:30:48 15    friends and colleagues do, they -- they offer people to help

09:30:52 16    out.   I don't specifically know why he sent this document.

09:30:55 17    We did not use this connector.        Maybe he -- he sent I want

09:30:59 18    as an example.     But we chose-we -- we did not use this

09:31:02 19    connector.

09:31:03 20    Q.      Let me start with a different question, then.           Do you

09:31:05 21    know who Mr. David Dyer is?

09:31:07 22    A.      Yes.    He's a -- he was a, a CAD technician at -- at

09:31:13 23    Akoustis.

09:31:13 24    Q.      Okay.    Did you ever provide Mr. Dyer with schematics

09:31:17 25    of the RF connector that Qorvo was using for its evaluation
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09:31:21   1   boards?

09:31:21   2   A.        I do not recall.

09:31:22   3   Q.        David Hodge testified that he was in the room with

09:31:26   4   you when you handed Mr. Dyer schematics of Qorvo's RF

09:31:30   5   connectors.       Do you have any reason to doubt Mr. Hodge's

09:31:34   6   testimony?

09:31:34   7   A.        I'm not -- I wasn't -- I do not recall handing Qorvo

09:31:39   8   connectors or information to David Dyer.           I may have.     I --

09:31:45   9   I do not recall.        And do not -- and Hodge would not know if

09:31:52 10    we actually ended up using them ever because he was involved

09:31:57 11    -- was not involved in the eval board.

09:31:59 12    Q.        After you left Qorvo in September of 2016, you

09:32:03 13    obtained a number of confidential Qorvo documents concerning

09:32:06 14    the testing of products.

09:32:09 15                     Do you recall that?

09:32:11 16    A.        Testing of products.      No, I do not recall that.

09:32:15 17    Q.        Do you know a person named Alan Nicol?

09:32:21 18    A.        Yes.

09:32:22 19    Q.        Who is Mr. Nicol?

09:32:24 20    A.        Mr. Nicol is a retired Scottish gentleman located in

09:32:28 21    San Diego.

09:32:30 22    Q.        Retired from Qorvo?

09:32:32 23    A.        He worked at many companies, but, yes, I'm not sure

09:32:36 24    what the last company, who he worked for, who he retired

09:32:38 25    from.
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09:32:39   1   Q.       Mr. Nicol's was a product engineer at Qorvo until

09:32:42   2   2018; is that right?

09:32:43   3   A.       I do not recall when he left.

09:32:45   4   Q.       Okay.    In 2017, you contacted Mr. Nicol and asked him

09:32:49   5   to send you confidential Qorvo test plans?

09:32:53   6   A.       I do not recall that.

09:32:55   7   Q.       Okay.    You wanted to use Qorvo test plans to develop

09:32:59   8   test plans for Akoustis; is that right?

09:33:01   9   A.       Mr. Nicol would not have a test plan that I could

09:33:07 10    really readily use at Akoustis.         Maybe as a boil plate or a

09:33:11 11    template or something, but there's nothing in the test plan

09:33:16 12    that Alan Nicol would send us we would use at Akoustis.

09:33:22 13    Because Mr. Nicol's -- did not work on filters.

09:33:25 14    Q.       Mr. Houlden, I've handed you what's been marked as

09:33:29 15    Exhibit 86.      I'll identify this for the record as a single

09:33:32 16    page document.      At the bottom there's the product deduction

09:33:35 17    number AKTS_00211968.

09:33:41 18                     Do you recognize this document?

09:33:43 19    A.       No.

09:33:47 20    Q.       So this is an e-mail dated February 23rd, 2017;

09:33:53 21    right?

09:33:54 22    A.       Yes.

09:33:57 23    Q.       At this time you were already working at Akoustis;

09:34:01 24    correct?

09:34:02 25    A.       Yes.
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09:34:02   1   Q.     The e-mail is from Mr. Nicol's; right?

09:34:08   2   A.     Yes.

09:34:10   3   Q.     To your personal gmail account?

09:34:13   4   A.     Yes.

09:34:15   5   Q.     Mr. -- you and Mr. Nicol spoke prior to him sending

09:34:21   6   this e-mail; is that correct?

09:34:23   7   A.     I do not recall.

09:34:24   8   Q.     Well, it says in the first line of the e-mail, "Good

09:34:29   9   to catch up with you the other day."

09:34:32 10                   Do you see that?

09:34:32 11    A.     Must have, yes.

09:34:33 12    Q.     Okay.    When you spoke with Mr. Nicol, you asked him

09:34:37 13    to send you Qorvo test plans?

09:34:40 14    A.     Must have, yes.

09:34:42 15    Q.     And Mr. Nicol followed up with this e-mail attaching

09:34:46 16    three of those plans?

09:34:47 17    A.     Yes.

09:34:48 18    Q.     You understood that Mr. Nicol was not authorized to

09:34:53 19    share these Qorvo test plans with Akoustis; correct?

09:34:56 20    A.     Correct.

09:34:57 21    Q.     And Mr. Nicol sent these test plans to your personal

09:35:01 22    account as opposed to your account at Akoustis?

09:35:04 23    A.     Yes.

09:35:05 24    Q.     Do you know why?

09:35:06 25    A.     I do not.
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09:35:08   1   Q.        Mr. Houlden, I've handed you what's been marked as

09:35:13   2   plaintiff's Exhibit 87.         I'll identify this for the record

09:35:16   3   as a multi page document, the first page of which has the

09:35:24   4   production number AKTS_00211969.

09:35:31   5                    Do you see that?

09:35:35   6   A.        Yes.

09:35:36   7   Q.        This is an evaluation board test plan for a Qorvo

09:35:40   8   product?

09:35:41   9   A.        Yes.

09:35:43 10    Q.        You understood that this evaluation board test plan

09:35:46 11    from Qorvo was a confidential document?

09:35:48 12    A.        I did not realize it was confidential, but it

09:35:52 13    specifies as confidential, yes.

09:35:53 14    Q.        And what you mean is, at the bottom of every page are

09:35:57 15    the words "Qorvo confidential"?

09:36:00 16    A.        Right.

09:36:01 17    Q.        And this was one of the documents that Mr. Nicol

09:36:04 18    forwarded to you in February of 2017?

09:36:08 19    A.        Yes.

09:36:09 20    Q.        And this was for use by Akoustis in drafting its own

09:36:15 21    test plans?

09:36:15 22    A.        This was a switch, so we would not have used this as

09:36:22 23    -- as a draft to make a test plan for a filter.             This is a

09:36:28 24    switch.    Akoustis did not make switches.

09:36:30 25    Q.        So, Mr. Houlden, I'm handing you a computer.
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09:36:34   1   A.     Yes.

09:36:35   2   Q.     And I've also handed you what's been marked as

09:36:39   3   Exhibit 88.

09:36:39   4   A.     Okay.

09:36:40   5   Q.     Exhibit 88 is a document produced in native format.

09:36:44   6   It's an Excel spreadsheet that was attached to Exhibit 86,

09:36:49   7   Mr. Nicol's e-mail to you.      I think it will be easier if you

09:36:55   8   use the computer version, which is the native Excel

09:36:59   9   spreadsheet that I have in front of you.

09:37:02 10    A.     Okay.

09:37:02 11    Q.     Now, you recognize Exhibit 88 as a Qorvo device

09:37:06 12    qualification test plan?

09:37:09 13    A.     For a switch, yes.

09:37:13 14    Q.     Okay.    And you understood that this test plan was

09:37:17 15    confidential; right?

09:37:18 16    A.     Yes, it says -- specifies confidential, yes.

09:37:21 17    Q.     Okay.    And if you turn to the first tab in the device

09:37:26 18    --

09:37:26 19    A.     You mean header?

09:37:28 20    Q.     That says header.

09:37:30 21    A.     Yes.

09:37:30 22    Q.     And you look at Row 5.      Are you there?

09:37:32 23    A.     Yes.    The confidential document, yes.

09:37:35 24    Q.     Yeah.    There's a confidentiality warning, right?

09:37:38 25    A.     Yes, yes.
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09:37:39   1   Q.     It states in bolded italics, "This is a

09:37:42   2   confidentiality document."

09:37:43   3                  Do you see that?

09:37:43   4   A.     Yes.

09:37:43   5   Q.     And then it says, "This document and the information

09:37:46   6   herein is the property of Qorvo and is issued in strict

09:37:51   7   confidence.    Do not reproduce it, copy it, or give it to a

09:37:55   8   third party without express permission from Qorvo."

09:37:57   9                  Do you see that?

09:37:58 10    A.     Yes.

09:37:58 11    Q.     Did you understand Mr. Nicol to have express

09:38:01 12    permission from Qorvo to share this document with you?

09:38:04 13    A.     He -- he did not.

09:38:07 14    Q.     All right.     I've handed you what's been marked for

09:38:11 15    the record as Exhibit 89.      I will identify this as a

09:38:15 16    document that was produced in native format, an Excel

09:38:19 17    spreadsheet.    The natively produced document had the

09:38:23 18    production number AKTS_00211973 on it.

09:38:30 19                   Mr. Houlden, I'd ask you to look at the native

09:38:38 20    version, which is on the computer in front of you.

09:38:42 21    A.     Yes.    Yes.

09:38:43 22    Q.     Do you recognize this as a characterization test plan

09:38:46 23    for an Qorvo product?

09:38:47 24    A.     Yes.

09:38:50 25    Q.     And this characterization test plan was a
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 381 of 2283 PageID
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09:38:58   1   confidential Qorvo document, correct?

09:39:00   2   A.     Yes.

09:39:00   3   Q.     At the time Mr. Nicol sent the characterization test

09:39:03   4   plan, was Akoustis trying to develop its own test plans for

09:39:07   5   products?

09:39:07   6   A.     What time frame?

09:39:24   7   Q.     February 2017.

09:39:26   8   A.     Could have been.      We -- we should have had test plans

09:39:30   9   prior to that.    But could have been more document then --

09:39:33 10    because, again, we started -- I know when I joined in

09:39:37 11    September 2016, we were already testing parts, we were

09:39:39 12    testing resonators maybe.      So hard to know.

09:39:42 13    Q.     Was part of your responsibility upon arriving at

09:39:46 14    Akoustis to develop a set of test plans that the company

09:39:49 15    could use?

09:39:50 16    A.     Probably the -- for the test engineer, if we had --

09:39:56 17    probably Dave Hodge was involved, but he was kind of doing

09:40:00 18    design and test, so it was probably Dave Hodge at the time.

09:40:05 19    Q.     If -- if I could ask you to turn back to Exhibit 86.

09:40:09 20    A.     Yes.

09:40:11 21    Q.     You'll see that Mr. Nicol sent these confidential

09:40:18 22    Qorvo test plans to you on February 23rd, 2017; right?

09:40:23 23    A.     Yes.

09:40:24 24    Q.     Do you recall what you did upon receiving the test

09:40:27 25    plans from Mr. Nicol?
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09:40:29   1   A.       No.

09:40:30   2   Q.       Mr. Houlden, I've handed you what's been marked as

09:40:34   3   Exhibit 90.

09:40:34   4   A.       Right.

09:40:35   5   Q.       For the record, this is a one-page document with the

09:40:38   6   production number AKTS_00117498.

09:40:45   7   A.       Right.

09:40:45   8   Q.       You see that this is an e-mail from yourself to --

09:40:50   9   sorry.   This is an e-mail from yourself to Mr. Lewis and

09:40:54 10    Dave Aichele.      Do you see that?

09:40:58 11    A.       Yes.

09:40:58 12    Q.       And it's dated February 23rd, 2017?

09:41:02 13    A.       Yes.

09:41:02 14    Q.       And this is an e-mail you sent after receiving the

09:41:06 15    confidential Qorvo test plans from Mr. Nicol on the same

09:41:11 16    day; correct?

09:41:12 17    A.       Yes.

09:41:13 18    Q.       The subject of your e-mail is AKF-1938 test plans --

09:41:20 19    A.       Yes.

09:41:21 20    Q.       -- right?

09:41:21 21                    AKF-1938 is referring to an Akoustis product?

09:41:26 22    A.       Yes.    We talked about that earlier, that was one of

09:41:29 23    the first filters we did for the company,               military

09:41:34 24    customer in            .

09:41:35 25    Q.       And in February of 2017, Akoustis was developing test
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 383 of 2283 PageID
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09:41:40   1   plans for that 1938 product --

09:41:42   2   A.        Yes.

09:41:43   3   Q.        -- right?

09:41:45   4                    And you forwarded the Qorvo test plans to

09:41:49   5   Mr. Lewis and Mr. Aichele to use in the creation of the

09:41:53   6   Akoustis test plans; correct?

09:41:56   7   A.        I think it was just for letting them know as an

09:42:00   8   example of what a -- a test plan looks like.            Because I

09:42:03   9   think those other documents above there, the 300, 400, 500,

09:42:08 10    600 is possibly the document -- test plans that I generated.

09:42:13 11                     So the 8009 is a switch test plan.

09:42:17 12                     And so -- and then the 1938 is a filter, so

09:42:22 13    they're very different.         There's little value in the switch

09:42:25 14    test plan, other than the titles, the template.

09:42:30 15                     You may -- rather than me spending an hour

09:42:34 16    writing purpose, scope, responsibility, reference,

09:42:37 17    definitions, procedure, all the contents of that has no

09:42:41 18    value.    The test and conditions has no value.          It's a

09:42:45 19    switch.    It's a very different -- all those things has no

09:42:52 20    value.

09:42:52 21                     The only thing that is of value is the template

09:42:55 22    and the headings, so when you write the test plan, you don't

09:42:59 23    have to think, oh, what do I need to do next and do next.

09:43:03 24    So that's -- if you look, that's possibly the only value I

09:43:07 25    got out.
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09:43:08   1   Q.       You forwarded the Qorvo confidential test plans to

09:43:11   2   Mr. Lewis and Mr. Aichele, along with the test plans that

09:43:15   3   you had drafted?

09:43:16   4   A.       Yes.

09:43:17   5   Q.       The test plans you drafted were based on the Qorvo

09:43:21   6   confidential test plans?

09:43:22   7   A.       Only the template.      There was no -- no contents.       The

09:43:25   8   contents would have no value because it's a switch.             So it's

09:43:30   9   only the headings.

09:43:32 10    Q.       So the question for Exhibit 92 and 93 is the same as

09:43:36 11    the last exhibit, which is -- are Exhibits 92 and 93 the

09:43:41 12    same documents that were attached to Mr. Nicol's e-mail to

09:43:44 13    you earlier on February 23rd, 2017?

09:43:52 14    A.       The exhibits you just handed me, 92 and 93, appear to

09:43:56 15    be different; right?       One has two pages and one has three

09:44:00 16    pages.   So are you implying they're the same document?

09:44:05 17    Q.       Let me take these one at a time.        So if you look at

09:44:11 18    Exhibit 92 --

09:44:15 19    A.       Yes.

09:44:17 20    Q.       -- on the second page of Exhibit 92, on the top

09:44:22 21    left-hand corner it says "characterization test plan";

09:44:27 22    correct?

09:44:28 23    A.       Yes.

09:44:28 24    Q.       Now, if you go back to Exhibit 88.

09:44:32 25    A.       Yes.
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09:44:34   1   Q.      Is that also the characterization test plan?

09:44:57   2   A.      No.    Looks like it calls it the qualification test

09:45:01   3   plan.   It doesn't say it's the characterization test plan.

09:45:09   4   Q.      So maybe, in essence, you received three Qorvo test

09:45:14   5   plans from Mr. Nicol on February 23rd, 2017; right?

09:45:21   6   A.      Yes.

09:45:22   7   Q.      And you forwarded those three test plans to

09:45:26   8   Mr. Aichele and Mr. Lewis later that same day?

09:45:29   9   A.      Yes.

09:45:29 10    Q.      And when you forwarded those test plans you knew that

09:45:37 11    Mr. Nicol did not have prior authorization to share those

09:45:41 12    confidential Qorvo documents with you?

09:45:42 13    A.      Yes.

09:45:43 14    Q.      Mr. Houlden, I've handed you what's been marked as

09:45:46 15    Exhibit 96.     It's a multi page document, the first page has

09:45:50 16    the production number AKTS_00117507.           In the top right-hand

09:45:57 17    corner it says AKF-400 evaluation board test plan.            Do you

09:46:03 18    see that?

09:46:03 19    A.      Yes.

09:46:03 20    Q.      This is another of the attempts to your

09:46:08 21    February 23rd, 2017, e-mail to Mr. Lewis and Mr. Aichele; is

09:46:12 22    that right?

09:46:12 23    A.      Yes.

09:46:12 24    Q.      And specifically, this is an evaluation board test

09:46:16 25    plan for AKF 1938?
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09:46:21   1   A.        Yes.

09:46:21   2   Q.        Okay.    And did you draft this document?

09:46:24   3   A.        Possibly.     Mr. Hodge's may have or may have been in a

09:46:32   4   combination of the both, because if you look at -- on page

09:46:36   5   -- top of page 2, and a lot of the things on page 1, a lot

09:46:44   6   of these things come from the customer                .   And so a lot

09:46:48   7   of the specs probably come from             .    So whether I did it

09:46:52   8   or Mr. Hodge or a combination, hard to determine, because on

09:46:57   9   page 5 no one -- we didn't really specify the author so --

09:47:02 10    but a lot of -- all the information, all the tables are most

09:47:08 11    likely coming from            spec.

09:47:11 12                      So the      has a spec.       So most of the contents

09:47:16 13    would be coming from            .   So whether I copied and pasted

09:47:20 14    all the           requirements or someone else in Hodge's team or

09:47:26 15    Pat's team, TBD.

09:47:28 16    Q.        Mr. Houlden, I've handed you a copy of Exhibit 97 --

09:47:33 17    A.        Yes.

09:47:34 18    Q.        -- which is a multi page e-mail.         The production

09:47:37 19    number on the first page is AKTS_00155718.

09:47:46 20    A.        Yes.

09:47:46 21    Q.        Just take one second and let you take a look at this.

09:47:52 22    And tell me if you recognize this document?

09:47:55 23    A.        No, I do not.

09:48:04 24    Q.        I want you to go to the second page of the document

09:48:06 25    and you'll see on the bottom of that page there's a
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09:48:09   1   January 12, 2001, e-mail from Bradford Bersin.           Do you see

09:48:15   2   that?

09:48:15   3   A.      Yes.

09:48:15   4   Q.      Who is Bradford Bersin?

09:48:17   5   A.      Bradford Bersin was a product manager.         He was hired

09:48:23   6   as a JMO that we hired to manage all of our projects.

09:48:30   7   Q.      The subject of his e-mail is EVB Doc brainstorming.

09:48:35   8   Do you see that?

09:48:35   9   A.      Okay.

09:48:36 10    Q.      Do you recall in January of 21 having a brainstorming

09:48:40 11    session with Mr. Bersin concerning evaluation board

09:48:43 12    documents?

09:48:47 13    A.      No.

09:48:49 14    Q.      If you look at the third page of Exhibit 97 at the

09:48:53 15    bottom of Mr. Bersin's e-mail, you'll see there's a line

09:48:57 16    there that says -- starts with "any old company."

09:49:02 17                    Do you see that?

09:49:02 18    A.      Yes.

09:49:02 19    Q.      Mr. Bersin said, "any old company -400 or -480

09:49:11 20    documents."     Do you see that?

09:49:12 21    A.      Yes.

09:49:12 22    Q.      Do you understand that Mr. Bersin was asking about

09:49:16 23    Qorvo test plans which had the -- which were designated as

09:49:21 24    -400 or -480 documents?

09:49:26 25    A.      No, no, no -- he's going to proposing board docs.
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09:49:36   1   He's got -400 written there and he's got -480 written there.

09:49:41   2   Any of -400 -- I don't know what -- that's a pretty vague

09:49:45   3   statement what he's referring to there.         "Any old company

09:49:49   4   400-480 documents."      So he's -- he's written this in 2021.

09:49:55   5   So we've been around writing test plans and evaluation board

09:49:58   6   documents for three or four years -- or two or three years,

09:50:02   7   so I'm not really understanding what he's asking there.

09:50:08   8   Q.      Okay.    So you didn't understand him to be asking for

09:50:11   9   Qorvo test plans?

09:50:12 10    A.      I don't think he's interpreting that as Qorvo test

09:50:15 11    plans there, yes, I don't believe so.

09:50:17 12    Q.      Okay.    Mr. Houlden, just to be clear.       If we go to

09:50:21 13    the first page of 97, Exhibit 97.

09:50:23 14    A.      Yes.

09:50:24 15    Q.      And we look at the top e-mail chain?

09:50:26 16    A.      Yes.

09:50:28 17    Q.      You are on this e-mail chain.

09:50:31 18    A.      I'm on the last one.      I'm not on -- I guess the --

09:50:35 19    I'm not on the original ones, though, right?          Bradford's

09:50:40 20    communicating with a Dave Breton.        Dave Breton and them are

09:50:44 21    communicating on page -- what is it, the second and third

09:50:47 22    page, 19 and 20.      And then somehow Bradford includes -- hang

09:50:52 23    on.   Dave Breton and Bradford are communicating.

09:51:00 24                    And then on another e-mail Bradford forwards it

09:51:04 25    to Jerry and I.     And then the next e-mail -- then -- then
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09:51:09   1   the last e-mail was me.         Yes.

09:51:16   2   Q.        Okay.    Just --

09:51:17   3   A.        All right.     So now I understand, yes, yes.

09:51:21   4   Q.        Okay.    So you would agree with me that each of the

09:51:23   5   e-mails in Exhibit 97 you ultimately received?

09:51:27   6   A.        Yes.    Down the bottom.     Yes, so I can -- I can see --

09:51:32   7   I'm starting to understand the flow of the e-mails.

09:51:35   8   Q.        Okay.    And you were a recipient of the first e-mail

09:51:38   9   on January 12, 2021, at 3:04 p.m. when Mr. Bersin asked

09:51:43 10    whether anyone had any old company -400 or -480 documents;

09:51:49 11    right?

09:51:49 12    A.        I'm still a little bit confused because that -400 and

09:52:04 13    -480 documents we're using -- his e-mail, Bradford Bersin's

09:52:10 14    e-mail that he sent on Tuesday, January the 12thth, he's

09:52:16 15    writing -- he's proposing E board documents.            So they're

09:52:20 16    probably coming up with an ISO 9000 plate.            So he's

09:52:25 17    referring -400 and -480.         So when he says any old company

09:52:32 18    -400, -480 documents, I believe he's referring that

09:52:35 19    statement to Akoustis and not Qorvo, that's my belief.

09:52:37 20    Q.        And then January 12th, 2021, 3:23 p.m.

09:52:42 21    A.        Yes.    Three -- three --

09:52:44 22    Q.        3:23 p.m.     Mr. Breton follows up with Mr. Bersin and

09:52:50 23    says --

09:52:50 24    A.        Yes, yes.

09:52:52 25    Q.        -- "did we get anywhere on the -400, -480 documents."
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09:52:59   1   Right?

09:52:59   2   A.       Yes.    Again, I think David Breton is referring to

09:53:04   3   Akoustis 400, 480 documents there.

09:53:07   4   Q.       If we move one e-mail up in the chain, four minutes

09:53:10   5   later, January 12, 2021, at 3:27 p.m. Mr. Bersin responds,

09:53:15   6   "I have not -- that was really for Jerry and Rohan as they

09:53:20   7   are former Qorvo/RFMD employees.         I was not and do not have

09:53:25   8   any contacts at Qorvo."

09:53:28   9                    Do you see that?

09:53:29 10    A.       Yes.

09:53:29 11    Q.       Do you understand now that the -400 and -480

09:53:33 12    documents that they were looking for were Qorvo documents?

09:53:35 13    A.       Yes.    That's -- looks like it's inferring that, yes.

09:53:40 14    Q.       Okay.    And then Mr. Breton where is back at 3:31 p.m.

09:53:44 15    on January 12, 2021, so four minutes later, "Hmmm.             Okay.

09:53:53 16    Can you ping that again to see if they have a document."

09:53:58 17                     Do you see that?

09:53:58 18    A.       Yes.

09:53:59 19    Q.       What he's referring to is can he ping Jerry or Rohan,

09:54:03 20    who were the former Qorvo employees to see whether they have

09:54:06 21    copies of these Qorvo test documents; right?

09:54:09 22    A.       Right.    Yes.

09:54:11 23    Q.       Okay.    And then the last, that's when the e-mail then

09:54:14 24    goes to you from Mr. Bersin and says, "FYI, I do not have

09:54:20 25    any Qorvo contacts to reach out to."            Right?
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09:54:23   1   A.      Yes.

09:54:24   2   Q.      Okay.    And then you responded, "Sorry, I was meant to

09:54:28   3   get last weekend."

09:54:31   4   A.      Yes.

09:54:34   5   Q.      Do you see that?

09:54:34   6   A.      Yes.

09:54:35   7   Q.      And by that you meant, you meant to get the Qorvo

09:54:39   8   test documents last weekend.

09:54:42   9   A.      Yes.    But that doesn't make sense if I had the --

09:54:45 10    yeah.   I -- yes.     That's what it says.     Because I already

09:54:50 11    had documents from Alan Nicol from three years prior, so I'm

09:54:57 12    not really understanding the gist of the conversation, but

09:55:03 13    yes, it clearly says that.

09:55:05 14    Q.      Okay.    And then the next e-mail shall -- the next

09:55:08 15    thing you say in your e-mail was, "Jerry, did you by chance

09:55:12 16    connect with Ahmad."

09:55:14 17    A.      Yes.

09:55:14 18    Q.      Who is Ahmad?

09:55:16 19    A.      Ahmad is someone that also used to work at Qorvo.

09:55:20 20    And is at a start up and would also be developing his own

09:55:25 21    ISO 9,000 documents.

09:55:27 22    Q.      And you thought that Ahmad may have some old Qorvo

09:55:31 23    test plans that he could share?

09:55:32 24    A.      No.    You get with Ahmad because ISO documents are

09:55:37 25    very generic.     Every company has them.      So Ahmad, because
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09:55:42   1   he's at a new company, he's been having to write his own

09:55:46   2   documents.      I was probably communicating with Jerry that we

09:55:50   3   don't need to get Qorvo's documents if Ahmad has ISO

09:55:56   4   documents that we could use.

09:55:56   5   Q.       What company was Ahmad working at in 2021?

09:55:59   6   A.       Danger Devices, I think it's called.

09:56:03   7   Q.       Did Akoustis have an agreement with Danger Devices,

09:56:07   8   that Danger Device test plans could be shared with Akoustis?

09:56:11   9   A.       No, but Ahmad's a friend and we help one another.

09:56:15 10    Q.       What is Ahmad's last name again?

09:56:18 11    A.       Abdelmajid.

09:56:25 12    Q.       Could you spell that?

09:56:26 13    A.       A-B-D-E-L-M-A-J-I-D.      I'm not 100 percent sure, but

09:56:33 14    close.

09:56:39 15    Q.       All right.     Mr. Houlden, I've handed you what has

09:56:42 16    been marked as Exhibits 98 and 99.

09:56:46 17    A.       Yes.

09:56:47 18    Q.       Mr. Houlden, do you recognize what's been marked as

09:56:51 19    Exhibits 98 and 99?

09:56:52 20    A.       No.

09:56:52 21    Q.       Exhibit 98 is an e-mail from John Myrick to you on

09:56:57 22    August 18th -- August 15, 2018; right?

09:57:05 23    A.       Yes.

09:57:06 24    Q.       Who is John Myrick?

09:57:08 25    A.       John Myrick got terminated from Qorvo and we hired
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09:57:13   1   him as a contract employee, maybe even a part-time employee

09:57:17   2   at Akoustis.

09:57:21   3   Q.     Okay.    So Mr. Myrick was a thermal engineer?

09:57:27   4   A.     Yes.

09:57:28   5   Q.     And he worked at Qorvo prior to contracting for

09:57:32   6   Akoustis?

09:57:33   7   A.     Yes.

09:57:34   8   Q.     And he sent you at 2:34 p.m. on August 15, 2018, a

09:57:40   9   Qorvo presentation on RF power life and reliability testing?

09:57:48 10    A.     Yes.

09:57:50 11    Q.     What -- at what time was Mr. Myrick hired at

09:57:54 12    Akoustis?

09:57:55 13    A.     I do not know.

09:57:56 14    Q.     Did you recruit him?

09:57:59 15    A.     I believe I was informed that he got fired or let go

09:58:05 16    at an RIF, I forget when it was, and then I -- we hired him

09:58:13 17    maybe thirty -- may have been full time thirty hours a week.

09:58:17 18    I forget.   He wasn't forty hours a week.       But he worked

09:58:21 19    thirty hours a week.

09:58:22 20    Q.     If you turn to Exhibit 99, which is the attachment to

09:58:27 21    98.

09:58:27 22    A.     Yes.    Sorry, John.

09:58:31 23    Q.     Yeah.    You understood that Exhibit 99 was a

09:58:34 24    confidential Qorvo document?

09:58:35 25    A.     Yes.
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09:58:38   1   Q.       And you understood that Mr. Myrick didn't have

09:58:41   2   authorization to share this document with Akoustis; correct?

09:58:44   3   A.       Correct.

09:58:45   4   Q.       Were you surprised when Mr. Myrick sent this

09:58:48   5   presentation to you?

09:58:49   6   A.       Yeah.    Yes.   Because if you look at the subject, you

09:58:53   7   may find this interesting.        So I was not aware of this

09:58:57   8   document.      So I did not request this document from him.         But

09:59:00   9   he -- he sent it.

09:59:04 10    Q.       And when Mr. Myrick sent this document in August of

09:59:09 11    2018, Akoustis was working on reliability testing; is that

09:59:14 12    right?

09:59:14 13    A.       Yes.    Well, we would have been doing some testing.

09:59:18 14    Joel Morgan, the VP of quality, was responsible for the

09:59:26 15    reliability testing.

09:59:28 16    Q.       You forwarded the confidential Qorvo presentation

09:59:31 17    that Mr. Myrick sent to you to other people at Akoustis?

09:59:34 18    A.       I do not recall.

09:59:36 19    Q.       Mr. Houlden, I've handed you what's been marked as

09:59:40 20    Exhibits 100 and 101.       Do you recognize Exhibits 100 and

09:59:45 21    101?

09:59:46 22    A.       No.

09:59:47 23    Q.       Exhibit 100 is an e-mail from yourself to Mr. Morgan?

09:59:52 24    A.       Yes.

09:59:53 25    Q.       Joel Morgan?
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09:59:54   1   A.     Yes.

09:59:55   2   Q.     And Joel Morgan is the person at Akoustis who was,

09:59:59   3   you mentioned was working on reliability testing in August

10:00:02   4   of 2018?

10:00:03   5   A.     That's his responsibility, yes.

10:00:04   6   Q.     And you forwarded Mr. Myrick's -- the confidential

10:00:10   7   Qorvo presentation that Mr. Myrick sent to you to Mr. Morgan

10:00:15   8   on August 15, 2018?

10:00:17   9   A.     Yes.

10:00:18 10    Q.     About twenty-six minutes after Mr. Myrick sent you

10:00:21 11    the presentation?

10:00:31 12                   Why did you think that the presentation from

10:00:33 13    Mr. Myrick would be relevant to Mr. Morgan?

10:00:36 14    A.     Well, looking at it, it would not be.         I clearly did

10:00:43 15    not open it.    So if you look at the document, clearly I did

10:00:46 16    not open it because again, twenty-four minutes I had no

10:00:58 17    time, we got a lot of e-mails.       I didn't forward it.      So the

10:01:02 18    test set up and how they're doing everything is very

10:01:05 19    different than what -- how we did it at Akoustis.

10:01:08 20                   If you look at it on pages -- but even all the

10:01:11 21    pages from page -- just the whole procedure, the block

10:01:17 22    diagrams or switches, it's a very manual, hand-built

10:01:22 23    solution, and Mr. Morgan did not want to do anything like

10:01:32 24    this, so he went off and bought a Mercedes test solution

10:01:37 25    from Becker in Germany.
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10:01:38   1   Q.     Okay.    So your recollection is you didn't review

10:01:43   2   what's been marked as Exhibit 101, the confidential

10:01:49   3   presentation from Mr. Myrick?

10:01:57   4   A.     If I reviewed, I must've reviewed very briefly,

10:02:01   5   because Mr. Morgan had already gone down the path of buying

10:02:05   6   a Becker box and not -- not using this type of test set up.

10:02:10   7   Q.     Okay.    Were you in the habit of forwarding irrelevant

10:02:15   8   information to Mr. Morgan?

10:02:17   9   A.     Yes.    Because if -- if I haven't looked at it, I'm

10:02:21 10    not responsible for it.      I'm working a lot of hours.       If I

10:02:25 11    didn't -- you know, sometimes if I'm not responsible, my

10:02:29 12    value in his eyes would be different.         But in this case, in

10:02:36 13    twenty-four minutes, there's a very good chance I did not

10:02:39 14    open it -- clearly I did not look at it closely because

10:02:42 15    their test set up is -- is completely different than our

10:02:46 16    test set up.

10:02:46 17    Q.     Mr. Houlden, I've handed you what's been marked as

10:02:52 18    Exhibits 102 and 103.     Exhibit 102 is an e-mail from

10:02:56 19    yourself to Mr. Lewis, Pat Lewis, is that right?

10:02:58 20    A.     Yes.

10:02:58 21    Q.     Who is Pat Lewis?

10:02:59 22    A.     Pat Lewis was director of IT and -- at -- at

10:03:05 23    Akoustis.

10:03:05 24    Q.     Okay.    And this is another e-mail from August 15,

10:03:10 25    2018; right?
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10:03:11   1   A.     Yes.

10:03:12   2   Q.     And again, you forwarded the confidential Qorvo

10:03:16   3   presentation to Mr. Myrick sent to you earlier that day?

10:03:21   4   A.     Yes.

10:03:21   5   Q.     This is an e-mail that you sent at 3:10 p.m.?

10:03:25   6   A.     Yes.

10:03:26   7   Q.     Right.    So that's ten minutes after you sent the same

10:03:29   8   presentation to Mr. Lewis?

10:03:31   9   A.     Yes.

10:03:32 10    Q.     And in the subject that you have here from Mr. Lewis

10:03:36 11    is, "some light reading."

10:03:39 12    A.     Right.

10:03:40 13    Q.     Is that right?

10:03:41 14    A.     Yep.

10:03:41 15    Q.     And what you were referring to is -- as some light

10:03:45 16    reading was the confidential Qorvo presentation attached

10:03:48 17    which has been marked as Exhibit 103?

10:03:50 18    A.     Yes.

10:03:51 19    Q.     And then in the body of your e-mail to Mr. Lewis, you

10:03:55 20    say, "pages 4 to 5 should look very familiar."

10:04:00 21    A.     Yes.

10:04:01 22    Q.     So at least as of 3:10 p.m. on August 15, 2018, you

10:04:06 23    had reviewed the contents of the confidential Qorvo

10:04:09 24    presentation that Mr. Myrick sent to you?

10:04:16 25    A.     Yes.
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10:04:17   1   Q.     And can you look at pages 4 to 5 --

10:04:20   2   A.     Yes.

10:04:20   3   Q.     -- of Exhibit 103?

10:04:22   4   A.     Yes.

10:04:23   5   Q.     What is it on pages 4 to 5 that you thought would

10:04:26   6   look familiar to Mr. Lewis?

10:04:29   7   A.     Right.    I should have had a smiley face after that.

10:04:34   8   Because it was something that -- we had proposed something

10:04:37   9   similar to Mr. Morgan and he declined to do it.          He wanted

10:04:41 10    to go the Mercedes route than building something by hand.

10:04:46 11    So it was more of a smiley face in gist because that -- that

10:04:51 12    was what Pat and I suggested Mr. Morgan to do but he

10:04:54 13    declined and went off and did his own system.

10:04:57 14    Q.     So your recollection, sitting here today, is that

10:04:59 15    Mr. Morgan was not using the RF power life and reliability

10:05:04 16    testing that Mr. Lewis -- from Qorvo's presentation that

10:05:07 17    Mr. Myrick sent to you?

10:05:09 18    A.     Right.    Nor -- nor the set up or nor how they

10:05:14 19    calculate the activation energy.       Mr. Morgan used a "Satoh".

10:05:24 20    A gentleman called Satoh, S-A-T-O-H, paper, to calculate his

10:05:31 21    activation energy and REL testing.

10:05:34 22    Q.     Mr. Houlden, I've handed you what's been marked as

10:05:38 23    Exhibits 104 and 105.     For the report, Exhibit 104 is an

10:05:43 24    e-mail with the production number AKTS_00126569.          And

10:05:51 25    Exhibit 105 is the attachment to Exhibit 104.         Exhibit 105
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10:05:56   1   has the production number AKTS_00126570.

10:06:04   2                  Mr. Houlden, Exhibit 104 is an e-mail from

10:06:08   3   yourself to Dave Aichele; is that right?

10:06:11   4   A.     Yes.

10:06:11   5   Q.     And again, you've forwarded Mr. Aichele the

10:06:16   6   confidential Qorvo presentation that Mr. Myrick sent to you

10:06:20   7   on August 15, 2018?

10:06:21   8   A.     Yes.

10:06:23   9   Q.     And your e-mail to Mr. Aichele was on August 16,

10:06:29 10    2018; right?

10:06:29 11    A.     Okay.

10:06:35 12    Q.     So that's the day after Mr. Myrick forwarded you this

10:06:40 13    confidential Qorvo presentation?

10:06:41 14    A.     Yes.

10:06:41 15    Q.     So that's now one, two, three folks at -- at -- at

10:06:46 16    Akoustis who you forwarded this presentation to; right?

10:06:50 17    A.     Yes.

10:06:50 18    Q.     Clearly you thought this presentation had some

10:06:55 19    relevance?

10:06:56 20    A.     I don't believe so.      But he may -- he may gather

10:07:01 21    something out of it, but I don't think there was anything

10:07:04 22    particularly relevant to Akoustis because our filter setup

10:07:08 23    was different.    Our calculation of active energy that

10:07:14 24    Mr. Morgan was doing was different.       And everything else on

10:07:19 25    there, all the different things, racking and -- yeah, I
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24    Page 400 of 2283 PageID
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10:07:23   1   don't see there would be much value.            But everyone has an --

10:07:29   2   if you look on one of the page -- I forget what page number

10:07:34   3   it is.   They have an SMR, we have an FBAR, so -- their

10:07:38   4   filter is a diesel engine, ours is an electric engine.              So I

10:07:44   5   -- I'm thinking little value, but you forward it, some

10:07:47   6   people may get something out of it.

10:07:50   7   Q.       Okay.    Mr. Houlden, I've handed you what's been

10:07:54   8   marked as Exhibits 106 and 107?

10:07:57   9   A.       Yes.

10:07:57 10    Q.       Mr. Houlden, do you recognize Exhibits 106 and 107?

10:08:01 11    A.       Yes.    No, I do not recognize them, but I have them in

10:08:04 12    front of me.

10:08:05 13    Q.       Okay.    If we look at Exhibit 106, the e-mail, at the

10:08:09 14    bottom of the e-mail chain there's an e-mail from you to

10:08:13 15    Mr. Aichele, and Mr. Morgan on April 18, 2019, with the

10:08:18 16    subject, "Light reading."

10:08:22 17    A.       Right.

10:08:22 18    Q.       And then if we move up the next chain, we have an

10:08:27 19    e-mail from Mr. Morgan to yourself and Mr. Aichele on

10:08:31 20    April 18, 2019.      Do you see that?

10:08:36 21    A.       Yes.

10:08:36 22    Q.       And you see that Mr. Morgan attaches the confidential

10:08:40 23    Qorvo presentation that Mr. Myrick sent to Akoustis in 2018.

10:08:47 24    A.       Okay.

10:08:48 25    Q.       Do you see that?
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10:08:51   1   A.       Yes.

10:08:51   2   Q.       And Mr. Morgan states that in fact, he was using this

10:08:58   3   confidential Qorvo presentation, right?

10:08:59   4   A.       Mr. Morgan says this is a -- I've been referencing

10:09:06   5   this document regarding the methodology to three temp

10:09:09   6   testing MTTF determination.        But at some time, Mr. Morgan

10:09:18   7   switched to the Satoh paper.        So that must have been at a

10:09:24   8   later date when Mr. Morgan changed his plans from 2019, from

10:09:29   9   2022, that he no longer followed this and he -- and he --

10:09:32 10    and he switched to the Satoh paper.

10:09:35 11    Q.       What is MTTF?

10:09:38 12    A.       Meantime to failure.

10:09:40 13    Q.       Meantime to failure testing?

10:09:42 14    A.       Yes.

10:09:42 15    Q.       As of April 18, 2019, the primary document that

10:09:46 16    Mr. Morgan had been referencing for meantime to failure

10:09:53 17    testing was the confidential Qorvo reliability testing

10:09:57 18    document that you forwarded to him in 2018?

10:10:01 19    A.       Yeah, he found it unreliable and he switched to the

10:10:04 20    Satoh paper.

10:10:07 21    Q.       Do you recall when Mr. Morgan switched to the Satoh

10:10:10 22    paper?

10:10:10 23    A.       No, I do not.     Clearly probably after April of 2019.

10:10:15 24    Q.       Mr. Houlden, I've handed you what's been marked as

10:10:19 25    Exhibits 108 and 109.       Exhibit 108 is an e-mail with the
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10:10:24   1   Bates production number AKTS_00137343.         And Exhibit 109 is

10:10:32   2   the -- the attachment to Exhibit 108, which has the

10:10:36   3   production number AKTS_00137350.

10:10:44   4   A.       Okay.

10:10:47   5   Q.       So Exhibit 108, do you recognize this document?

10:10:52   6   A.       No.

10:10:54   7   Q.       Okay.    This Attachment 109 reflects the HTOL testing

10:11:01   8   performed at Qorvo?

10:11:02   9   A.       This would be a document that I believe I made that I

10:11:06 10    was probably going by memory of what we tested, because if

10:11:11 11    you look at the bottom half, the test duration, and on the

10:11:17 12    back, I think reliability as tasked, I think I've captured

10:11:25 13    that from Google or the internet.

10:11:27 14                     So I've made this document.    I think I generated

10:11:31 15    -- this is probably a word file.        I'm not sure where you got

10:11:34 16    it from, the other file.       This is just a man-made document

10:11:37 17    by me.

10:11:38 18    Q.       What is HTOL?

10:11:40 19    A.       High -- high temp operating life.

10:11:42 20    Q.       And Exhibit 109 reflects your recollection of how

10:11:49 21    Qorvo performed high temperature operating life testing?

10:11:54 22    A.       Right.    Which Mr. Morgan, again, did not agree with

10:12:02 23    and he did his own testing a different way.          He thought this

10:12:05 24    was inadequate, because

10:12:10 25                                                                             .
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10:12:13   1

10:12:17   2                    .    So I think -- I believe -- you can follow-up

10:12:21   3   with Mr. Morgan, he did not follow this.

10:12:24   4   Q.        Mr. Houlden, I'm going to hand you what has been

10:12:27   5   marked as Exhibit 110.         For the record, Exhibit 110 is a

10:12:32   6   one-page document with the production number AKTS_00145340.

10:12:41   7                     Mr. Houlden, this appears to be an Outlook

10:12:47   8   calendar invite from yourself to Mr. Lewis, Mr. Gray, and

10:12:52   9   Mr. Hodge; is that right?

10:12:54 10    A.        Yes.

10:12:55 11    Q.        For a meeting in conference room two?

10:12:57 12    A.        Yes.

10:12:58 13    Q.        Is that a conference room that was at Akoustis?

10:13:00 14    A.        Yes.

10:13:01 15    Q.        And the subject of the meeting was "Review Qorvo

10:13:06 16    RVTM."    Do you see that?

10:13:08 17    A.        Yes.

10:13:08 18    Q.        What does RVTM stand for?

10:13:11 19    A.        It would be a test matrix.       I forget what the RV

10:13:16 20    stands for.       Maybe -- yeah, I would be speculating.         Maybe

10:13:20 21    VT -- V stands for voltage test matrix maybe.

10:13:24 22    Q.        How about requirements traceability and verification

10:13:29 23    matrix?

10:13:30 24    A.        Okay.      Yeah.   You obviously -- yes, I would say yes.

10:13:34 25    Q.        Yes.       Okay.
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10:13:35   1                   Now, so you invited Mr. Lewis.      Can you remind

10:13:40   2   us who Mr. Lewis was?

10:13:41   3   A.      He -- he was director of IT but he also had like

10:13:46   4   software people working for him.

10:13:48   5   Q.      Okay.    And you also invited Mr. Gray.       Who is Jerry

10:13:52   6   Gray?

10:13:52   7   A.      Jerry Gray is the portfolio manager or -- no, he's

10:13:56   8   the product manager.      So he manages the NPI products.

10:14:04   9   Q.      And finally --

10:14:05 10    A.      New Product Introductions.

10:14:07 11    Q.      Sorry.    Finally you invited Dave Hodge.        What was

10:14:10 12    Mr. Hodge's position?

10:14:11 13    A.      Dave Hodge, he was a design engineer, but he also was

10:14:15 14    acting as a lab manager as well early on in the company.

10:14:23 15    Q.      What was the purpose of this meeting that -- that you

10:14:26 16    scheduled for March of 2020?

10:14:28 17    A.      Probably to highlight to them and show them what a --

10:14:36 18    when you characterize parts, what type -- what -- a format

10:14:40 19    of what it would look like or what it should look like,

10:14:45 20    giving them an example of an idea or an example of what a

10:14:48 21    test matrix looks like and the types of tests when you test

10:14:52 22    the product.

10:14:53 23    Q.      You attached two documents to your calendar

10:14:57 24    invitation, do you see that?

10:14:59 25    A.      Yes.
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10:14:59   1   Q.     Both appear to be spreadsheets, is that right?

10:15:02   2   A.     They're Excel files, yes.

10:15:05   3   Q.     Okay.    And they're both Qorvo files, is that right?

10:15:08   4   A.     Yes.

10:15:09   5   Q.     Okay.    I'm going to hand you a printed out copy of

10:15:12   6   the spreadsheets, but I'm also going to give you the

10:15:16   7   computer, it has the native version.

10:15:19   8   A.     Okay.

10:15:20   9   Q.     Okay.    So first I'll hand you the printed copy.

10:15:23 10                   Mr. Houlden, I've handed you what's been marked

10:15:27 11    as Exhibits 111 and 112.      I'd like you to start with

10:15:32 12    Exhibit 111, which was produced in native format with

10:15:37 13    production number AKTS_00145341.

10:15:46 14                   Do you understand that Exhibit 111 is a product

10:15:50 15    requirements document?

10:15:50 16    A.     It's a product requirements document for a front-end

10:15:55 17    module that Akoustis does not do.

10:15:57 18    Q.     Okay.    And you understand that products requirement

10:16:00 19    document -- product requirement documents at Qorvo were

10:16:05 20    confidential files?

10:16:07 21    A.     Yes.

10:16:08 22    Q.     Now, this is a products requirement document,

10:16:13 23    Exhibit 111 is -- for QPF7250; is that right?

10:16:20 24    A.     Yes.

10:16:20 25    Q.     And you can see that if you go to the overview tab on
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24   Page 406 of 2283 PageID
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10:16:24   1   Exhibit 111 native version.

10:16:27   2   A.       Yes, I'm at the overview tab.

10:16:31   3   Q.       And if you look at the bottom of -- well, so at the

10:16:35   4   top of the overview tab you can see the -- the product

10:16:39   5   number that this product requirements document is for;

10:16:42   6   right?

10:16:43   7   A.       Yes.

10:16:43   8   Q.       And that's QPF7250?

10:16:46   9   A.       Yes.

10:16:46 10    Q.       And then if you scroll to the bottom of the overview

10:16:50 11    tab, there's a confidentiality legend there, right?

10:16:54 12    A.       Yes.

10:16:54 13    Q.       And this product requirement document marked as

10:16:57 14    Exhibit 111 is identified as Qorvo confidential and

10:17:00 15    proprietary information?

10:17:03 16    A.       Yes.

10:17:03 17    Q.       Did you have authorization from Qorvo to share this

10:17:06 18    Exhibit 111 with Mr. Lewis, Mr. Gray, or Mr. Hodge?

10:17:12 19    A.       No.

10:17:12 20    Q.       And can you verify for me that the version of the

10:17:15 21    spreadsheet on the computer appears to be the same as the

10:17:18 22    printed out version of the spreadsheet that I handed you as

10:17:24 23    Exhibit 112?

10:17:24 24    A.       Yes.

10:17:25 25    Q.       Now if -- working on the native version of
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 407 of 2283 PageID
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10:17:28   1   Exhibit 112, could I ask you to turn to the overview tab?

10:17:31   2   A.     Yes, I think I'm on it.

10:17:33   3   Q.     And you'll see that this is another products

10:17:35   4   requirement document from Qorvo; right?

10:17:37   5   A.     Yes.

10:17:38   6   Q.     And this one is for a product with the number

10:17:44   7   QPF4551.

10:17:44   8   A.     Correct.    It's another front-end module that has a PA

10:17:49   9   switch NLNA, which Akoustis did not do those products, nor

10:17:54 10    do we do front-end modules.

10:17:56 11    Q.     The document that has been marked as Exhibit 112 is a

10:18:02 12    confidential Qorvo document?

10:18:03 13    A.     I can't see it, but in the printout it shows it, so

10:18:08 14    yes.

10:18:09 15    Q.     Okay.    And if you scroll to the bottom of the

10:18:12 16    overview tab, you'll see that, again, there's a

10:18:17 17    confidentiality legend on that?

10:18:19 18    A.     Yes.

10:18:19 19    Q.     And more generally, you understood that product

10:18:22 20    requirement documents at Qorvo were confidential?

10:18:23 21    A.     Yes.

10:18:26 22    Q.     And you did not have authorization to share this

10:18:28 23    document with Mr. Lewis, Mr. Gray, or Mr. Hodge; correct?

10:18:32 24    A.     Correct.

10:18:32 25    Q.     Where did you get the products requirement documents
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 408 of 2283 PageID
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10:18:35   1   that have been marked as Exhibits 111 and 112?

10:18:38   2   A.     The 4551 is probably a twelve-year old document.           So

10:18:44   3   I do not know.    The other document I did not recognize, but

10:18:49   4   the 4551 is a very, very old document.        So I do not know

10:18:54   5   where I -- where I located that from.

10:18:57   6   Q.     Mr. Houlden, I've handed you what's been marked as

10:19:01   7   Exhibit 113.    This is a one-page document with the

10:19:04   8   production number AKTS_0348448.

10:19:10   9                  Do you have Exhibit 113 in front of you?

10:19:14 10    A.     Yes.

10:19:14 11    Q.     Do you recognize this document?

10:19:15 12    A.     No.

10:19:18 13    Q.     This is a -- an e-mail from Ahmad 0912 to Houlden

10:19:27 14    house, which is listed as R-H-O-U-L-D-E-N at

10:19:37 15    T-R-I-A-D@RR.com.     Do you see that?

10:19:38 16    A.     Yes.

10:19:38 17    Q.     Okay.     Starting with the Ahmad 0912 e-mail address,

10:19:44 18    do you know who that is?

10:19:44 19    A.     That would be Ahmad.

10:19:46 20    Q.     Ahmad.    And what's Ahmad's last name?

10:19:48 21    A.     Abdelmajid.

10:19:51 22    Q.     Okay.     And Mr. Abdelmajid was e-mailing a Houlden

10:19:56 23    house e-mail account.     Does that belong to you?

10:19:59 24    A.     Yes.

10:19:59 25    Q.     Is that a personal e-mail account?
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 409 of 2283 PageID
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10:20:01   1   A.     Yes.

10:20:02   2   Q.     The subject of the e-mail is PRD?

10:20:06   3   A.     Yes.

10:20:06   4   Q.     And you understand that refers to product requirement

10:20:09   5   document?

10:20:09   6   A.     Yes.

10:20:10   7   Q.     And it looks like Mr. Abdelmajid attached a

10:20:15   8   spreadsheet to his e-mail to you; correct?

10:20:17   9   A.     Yes.

10:20:20 10    Q.     Now, do you understand why Mr. Abdelmajid was sending

10:20:25 11    this spreadsheet to your personal e-mail account?

10:20:29 12    A.     No.

10:20:29 13    Q.     Did Mr. Abdelmajid have your e-mail account at

10:20:37 14    Akoustis?

10:20:37 15    A.     Yes.    And he would have had my gmail account, too.

10:20:43 16    Q.     Mr. Houlden, I've handed you what's been marked as

10:20:46 17    Exhibit 114.    This is a file that was produced -- or a

10:20:52 18    printout of a file that was produced in native format.           The

10:20:55 19    production number for the file was AKTS_00348449.          This is

10:21:02 20    the attachment or was produced as the attachment to

10:21:06 21    Exhibit 113.    Do you recognize Exhibit 114?

10:21:09 22    A.     No.

10:21:13 23    Q.     If you turn to page 1 of Exhibit 114, this appears to

10:21:18 24    be a printout of the product requirement document for

10:21:29 25    QPF4551, right?
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 410 of 2283 PageID
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10:21:30   1   A.     Yes.

10:21:32   2   Q.     And if you could pull up the printout for

10:21:36   3   Exhibit 112.

10:21:36   4   A.     Yes.

10:21:44   5   Q.     Would you agree with me that Exhibit 114 and

10:21:48   6   Exhibit 112 appear to be the same document?

10:21:50   7   A.     Yes.

10:21:51   8   Q.     Did -- so Mr. Abdelmajid has forwarded you, on

10:21:57   9   September 14, 2021, a confidential Qorvo document; correct?

10:22:02 10    A.     Yes.

10:22:03 11    Q.     To your personal e-mail account?

10:22:05 12    A.     Yes.

10:22:06 13    Q.     Did you ask Mr. Abdelmajid to send you this document?

10:22:10 14    A.     I do not recall.      Because this is -- does not have a

10:22:14 15    filter in it, so I'm trying to understand why he sent it to

10:22:18 16    me.

10:22:19 17    Q.     Was Mr. Abdelmajid in the habit of sending you random

10:22:24 18    documents, random confidential Qorvo documents?

10:22:27 19    A.     Not random, but people, ex-employees, friends, even

10:22:31 20    including Robert Aigner in Florida would send you e-mails

10:22:40 21    thinking friends try to help.      So I do not recall.      I may

10:22:43 22    have requested this from him, I do not recall.

10:22:45 23    Q.     Do you recall Mr. Aigner ever sending you as an

10:22:49 24    attachment a confidential Qorvo document?

10:22:52 25    A.     I do not recall, but we did share a lot of
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 411 of 2283 PageID
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10:22:55   1   information in e-mails.

10:22:57   2   Q.        Okay.    But you don't recall any instance on -- on

10:22:59   3   which Mr. Aigner sent you confidential Qorvo information?

10:23:06   4   A.        Confidential is vague.      At RFMD/Qorvo, every

10:23:11   5   document, every PowerPoint, word file had confidential in

10:23:14   6   the bottom whether it was confidential or not.             So did

10:23:20   7   Mr. Aigner ever send me a confidential document?             No, but if

10:23:24   8   you look at -- you must have all my e-mails, and so some of

10:23:28   9   the material he has sent one may consider confidential.

10:23:33 10    Q.        Okay.    Just backing up.     Explore that answer a

10:23:37 11    minute.    You said every document at Qorvo has the legend

10:23:41 12    confidential on it?

10:23:43 13    A.        Nearly all documents, especially power points.

10:23:46 14    Clearly all the PDP documents.          Most documents at Qorvo and

10:23:52 15    RFMD always had confidential on the bottom of it.

10:23:59 16    Q.        You understood that what's been marked as Exhibit 112

10:24:03 17    was in fact a confidential Qorvo document?

10:24:07 18    A.        112.

10:24:09 19    Q.        Sorry, I meant 114.      The spreadsheet that

10:24:14 20    Mr. Abdelmajid sent you.

10:24:19 21    A.        Right.    The -- the front end module, which has a PA

10:24:24 22    switch LNA with no filter is -- at Qorvo it shows that it's

10:24:29 23    listed as confidential proprietary, yes.

10:24:31 24    Q.        Did you ever work with product requirement documents

10:24:33 25    during your time at Qorvo?
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24   Page 412 of 2283 PageID
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10:24:36   1   A.      Probably early on in my career.

10:24:41   2   Q.      And you understand that Qorvo did not share product

10:24:44   3   requirement documents outside the company; right?

10:24:47   4   A.      Well, a product requirements document becomes a data

10:24:51   5   sheet, so 4551, this document is the same as the data sheet

10:24:56   6   of 4551, which is on the internet, which is public

10:25:01   7   information.

10:25:01   8                   So one would question whether this is

10:25:05   9   proprietary or confidential or not because the data sheet of

10:25:09 10    the 4551 is publicly available on the internet.

10:25:13 11    Q.      I just want to make sure I understand your testimony

10:25:16 12    here.

10:25:16 13    A.      Yeah.

10:25:17 14    Q.      I thought you had told me you understood that whether

10:25:20 15    Mr. Abdelmajid sent you this product requirement document on

10:25:25 16    September 14, 2021, that this document was a confidential

10:25:29 17    Qorvo document.     Are you changing that testimony?

10:25:32 18    A.      No, no, it specifies it there.

10:25:35 19    Q.      Mr. Houlden, I've handed you what's been marked as

10:25:38 20    Exhibits 115 and 116.      Mr. Houlden, do you recognize

10:25:43 21    Exhibits 115 and 116?

10:25:44 22    A.      No.

10:25:46 23    Q.      Okay.    So if we look at Exhibit 115, there's two

10:25:50 24    e-mails in this exhibit; is that right?

10:25:56 25    A.      Yes.
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10:25:57   1   Q.       The bottom e-mail in the chain was sent on

10:26:00   2   September 14, 2021?

10:26:02   3   A.       Yes.

10:26:05   4   Q.       At 11:16 a.m.?

10:26:07   5   A.       Yes.

10:26:07   6   Q.       And it was sent to an address that says Houlden

10:26:11   7   house.

10:26:11   8   A.       Yes.

10:26:11   9   Q.       The subject of the e-mail is PRD; right?

10:26:15 10    A.       Yes.

10:26:15 11    Q.       You understand that the e-mail reflected on the

10:26:19 12    bottom part of Exhibit 115 is the e-mail that Mr. Abdelmajid

10:26:25 13    sent you which has been marked as Exhibit 113?

10:26:28 14    A.       Yes.

10:26:31 15    Q.       Now, at 11:36 a.m. on September 14, 2021, you

10:26:37 16    forwarded Mr. Abdelmajid's e-mail from your home address to

10:26:43 17    your work address; is that right?

10:26:47 18    A.       Someone did.     I'm not sure.    It may have been a

10:26:51 19    family member, because I don't use that address.            So

10:26:54 20    Mr. Ahmad may have sent it by mistake.          I would say someone

10:26:58 21    from my house sent it to my work e-mail.

10:27:01 22    Q.       Who else in your house has access to the Houlden

10:27:05 23    house e-mail?

10:27:06 24    A.       My wife and three kids.

10:27:08 25    Q.       Okay.    Do you use the Houlden house e-mail?
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10:27:11   1   A.       No.    Very rarely.    Maybe taxes, I think at the end of

10:27:15   2   the year taxes, I kind of bounce between, but taxes

10:27:19   3   primarily.

10:27:19   4   Q.       Now, if you look at Exhibit 116 --

10:27:22   5   A.       Yes.

10:27:23   6   Q.       -- that is the same attachment that Mr. Abdelmajid

10:27:27   7   sent to you at 11:16 a.m. on September 14, 2021?

10:27:33   8   A.       Yes.

10:27:35   9   Q.       Which is the confidential Qorvo product requirement

10:27:38 10    document; right?

10:27:39 11    A.       Yes.

10:27:40 12    Q.       Now, when you or someone at your house forwarded

10:27:45 13    Mr. Abdelmajid's e-mail from the Houlden house account to

10:27:50 14    the Akoustis account --

10:27:55 15    A.       Right.

10:27:56 16    Q.       -- the "from" in Mr. Abdelmajid's e-mail was deleted;

10:28:03 17    right?

10:28:03 18    A.       Yeah.    I can't -- I don't understand that.

10:28:07 19    Q.       Do you know why Mr. Abdelmajid's -- why

10:28:11 20    identification of Mr. Abdelmajid as the sender of the

10:28:16 21    original e-mail would have been obscured?

10:28:20 22    A.       Yeah.    I'm looking.    Tuesday -- this is -- this is

10:28:25 23    11:00 a.m.; right?       So I would -- I would be in -- I would

10:28:29 24    typically be in Charlotte.        I don't know.     I -- I can -- I

10:28:34 25    do not recall why that would be missing.
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10:28:37   1   Q.     Is it your hypothesis that your wife or one of your

10:28:42   2   three kids would have, for some reason, deleted

10:28:47   3   Mr. Abdelmajid --

10:28:49   4   A.     No, I don't think so.

10:28:50   5   Q.     Is that something you would have done in order to

10:28:52   6   avoid having Mr. Abdelmajid's e-mail reflected in your

10:28:57   7   Akoustis account?

10:28:58   8   A.     Doubt -- doubtful because I haven't done that in is

10:29:01   9   the past.

10:29:01 10    Q.     But you knew Mr. Abdelmajid was not authorized to

10:29:04 11    send you this document?

10:29:05 12    A.     That is correct.

10:29:06 13    Q.     And so it seems to me that you might have wanted to

10:29:11 14    ensure his and anonymity when you forwarded it to your work

10:29:17 15    account?

10:29:17 16    A.     Doubtful, but -- and I'm not sure I even sent it, but

10:29:21 17    there's a chance.    I'm not sure what else was missing, but

10:29:25 18    yes.

10:29:25 19    Q.     Okay.     Mr. Houlden, I've handed you what's been

10:29:29 20    marked as Exhibit 117.    This was a document that was

10:29:32 21    produced in native format with the production number

10:29:38 22    AKTS_00348540.    Do you recognize what's been marked as

10:29:49 23    Exhibit 117?

10:29:49 24    A.     No.

10:29:50 25    Q.     Okay.     You would agree with me that this is another
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10:29:53   1   version of a products requirement document?

10:29:56   2   A.       Yeah, but it doesn't have a part number on there.

10:29:59   3   Did you notice that?       Part number is blank up there.

10:30:02   4   Q.       I did notice that.

10:30:04   5                    Do you have any idea of what may have happened

10:30:08   6   there?

10:30:08   7   A.       No.    Is it -- wait.    But is it -- but the FEM

10:30:13   8   description explains it, though.         This FEM is a high power

10:30:25   9   26 DBM front-end module footprint, previous wave 11AC.              11AC

10:30:33 10    is very old.      So 11AC is like WiFi5.        So it's probably quite

10:30:38 11    an old -- well, it says 2017, 2019, so I don't know, maybe

10:30:44 12    four or five years old, front end module, which again, I

10:30:47 13    don't do front end modules.        We don't switches, PA, LANs.

10:30:53 14    Q.       You would agree with me that Exhibit 117 appears to

10:30:56 15    be a Qorvo document?

10:30:57 16    A.       Yes, Qorvo confidential on page 1, yes.

10:31:10 17    Q.       Okay.    So if you could put side-by-side Exhibit 117

10:31:14 18    and then pull out Exhibit 116?         So Exhibit 116 is the Qorvo

10:31:20 19    product requirement document that was forwarded from the

10:31:28 20    Houlden house e-mail to your work e-mail on September 14,

10:31:35 21    2021, at 11:36; right?

10:31:39 22    A.       Okay.    Yes.

10:31:41 23    Q.       Okay.    And then Exhibit 117 appears to be a modified

10:31:44 24    version of that document; right?

10:31:47 25    A.       Yes.
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10:31:48   1   Q.     And, in particular, someone has deleted the Qorvo

10:31:51   2   logo from the top left-hand corner; right?

10:31:56   3   A.     Yes.

10:31:57   4   Q.     And has deleted the Qorvo product number; right?

10:32:00   5   A.     Yes.

10:32:01   6   Q.     And then if you look at the bottom of page 1 of

10:32:05   7   Exhibit 117, someone's also deleted the Qorvo

10:32:09   8   confidentiality legend?

10:32:10   9   A.     No, it still has -- it has Qorvo confidential on both

10:32:14 10    of them.

10:32:15 11    Q.     Okay.    If you look at Exhibit 116, at the bottom --

10:32:19 12    A.     Yeah.    Oh, I see.    Yeah, yeah, they eliminated the

10:32:24 13    statement but they've left the template and the Qorvo

10:32:27 14    confidential in the -- the footer.

10:32:30 15    Q.     The footer.

10:32:31 16    A.     Yes.

10:32:32 17    Q.     Right.    So just so that our record is clear, in the

10:32:36 18    version of the Qorvo product requirement document that's

10:32:38 19    been marked as Exhibit 116, there's a legend at the bottom

10:32:42 20    that says, "Printed copy of this document is considered an

10:32:46 21    uncontrolled copy unless control copy designator is

10:32:49 22    identified, Qorvo, Inc., confidential proprietary

10:32:53 23    information."    Right?

10:32:54 24    A.     Yes.

10:32:55 25    Q.     You see that on Exhibit 116?
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10:32:58   1   A.     Yes.

10:32:59   2   Q.     Okay.    And then on Exhibit 117, that legend has been

10:33:02   3   deleted?

10:33:03   4   A.     Yes.

10:33:03   5   Q.     So do you recall whether you made these modifications

10:33:07   6   to the Qorvo product requirement document after it was

10:33:10   7   forwarded to your Akoustis e-mail account?

10:33:13   8   A.     I do not recall.

10:33:15   9                  THE COURT:   We're going to take a break, I know

10:33:18 10    you need a morning break.      You're going to get a

10:33:21 11    twenty-minute break, probably a good idea, and then I'll

10:33:24 12    give them a chance to go over something.         We're going to try

10:33:28 13    to stay on schedule, but you'll have a little longer break

10:33:31 14    this morning.    Do not discuss the case among yourselves.          Do

10:33:35 15    not let anyone talk to you about it.          We're going let you be

10:33:39 16    excused to the jury room.      I'm going to stay here with

10:33:43 17    counsel for just a second.

10:33:45 18                   (Jury exiting the courtroom at 10:33 a.m.)

10:34:09 19                   THE COURT:   You may be seated.      Okay.   The

10:34:21 20    question, the only question that has been raised, and I

10:34:25 21    might note that motions in limine, this is not a motion in

10:34:28 22    limine situation, but the Faulkner testimony and the court

10:34:32 23    would have been a motion in limine situation, we're not

10:34:35 24    going to go to that, that's not what we're talking about.

10:34:37 25    The question is whether or not the demonstratives which have
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10:34:41   1   been tendered to the Court at this time are demonstratives

10:34:44   2   that can be used in their current form.

10:34:46   3               Now I understand that the objection is that they

10:34:49   4   cannot be, and that's pretty straightforward.       And the

10:34:52   5   reason maybe, when was the demonstrative turned over, I

10:34:57   6   think it was just recently.

10:34:58   7               MR. ELKINS:    Last night at 7 o'clock.

10:35:00   8               THE COURT:    That's what I understood, I wanted

10:35:02   9   to be sure that was right.    There are problems here.       There

10:35:06 10    are problems in connection with the use of the word used

10:35:11 11    because that is a conclusion, and the jury would -- those

10:35:19 12    can be eliminated, most of the headers have a problem in

10:35:23 13    them, so we just need to be aware of that.

10:35:26 14                There is a problem with the use of the word

10:35:28 15    "confidential", because some of these documents, many of the

10:35:31 16    documents while it's understood may or may not be

10:35:35 17    confidential, so the reference to confidential is confusing

10:35:39 18    under 403 and it's a problem.    That doesn't mean -- I

10:35:45 19    understand that would be included in the testimony, his

10:35:48 20    report to a limited -- the negative determination whether it

10:35:54 21    they were confidential, he was making a determination

10:35:57 22    whether or not there was a confidential indication on the

10:35:59 23    document which is totally different as we've heard from

10:36:02 24    numerous people, so the use of the world confidential here

10:36:06 25    is confusing under 403 and not appropriate.
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10:36:12   1                There is also the word "took", that's not going

10:36:16   2   to be in there.   That's got to go away if you want to use it

10:36:20   3   at all.   So those are all problems.

10:36:23   4                Now, I could just eliminate everything in the

10:36:27   5   materials that have been submitted, because they do create

10:36:32   6   problems and they attempt to take things away from the jury

10:36:35   7   and suggest things that they would not make a determination

10:36:38   8   on as I understand it.   But I am going to give the plaintiff

10:36:42   9   an opportunity to try to fix this, if they want to.         But, of

10:36:47 10    course, I think that defense counsel is a hundred percent

10:36:50 11    right that if they don't get it right, they don't get to use

10:36:53 12    it.   That's pretty well the way it is.

10:36:55 13                 So I wanted to let you know where we are right

10:36:58 14    now, I am going to continue to look at it some more, we

10:37:02 15    always do, I'm going to pull up some more things to look at

10:37:05 16    those, but since we're just dealing with these

10:37:09 17    demonstratives, I think that they do have an issue which has

10:37:15 18    been properly raised by the defense and the Court is ruling

10:37:17 19    in favor of the defense's position on this.

10:37:21 20                 But I'm also, as we would always, give either

10:37:24 21    side a chance to modify the materials.      So I think everybody

10:37:32 22    understand what you generally need to do if you want to try

10:37:37 23    to use them, then we will see what you can do in that

10:37:45 24    regard.   And I think we'll have a review of it again.

10:37:50 25                 Anything else on this?    I think everybody knows
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10:37:52   1   where we are.

10:37:53   2                 MS. AYERS:    May I approach, Your Honor?

10:37:55   3                 THE COURT:    Sure.    You can certainly go to

10:37:57   4   podium.

10:37:58   5                 MS. AYERS:    I just wanted to note for the record

10:38:00   6   that we do think that Mr. Faulkner's expert report

10:38:03   7   adequately discloses --

10:38:05   8                 THE COURT:    It doesn't disclose that he's making

10:38:08   9   determinations as to whether something is confidential.

10:38:10 10    He's just making a determination of whether that appears in

10:38:13 11    the materials as listed.     And one of the questions as raised

10:38:18 12    by the defense is well, some of the things say confidential,

10:38:21 13    but they're not.    Did I get that right, defense counsel?

10:38:25 14                  MR. ELKINS:   Yes, Your Honor.

10:38:25 15                  MS. AYERS:    We understand the Court's ruling, I

10:38:27 16    just wanted to note for purposes of preservation that we do

10:38:31 17    think that Mr. Faulkner's report adequately discloses --

10:38:35 18                  THE COURT:    Tell me where, because I have looked

10:38:36 19    at it.    Tell me where, exactly where.

10:38:42 20                  MS. AYERS:    Of course, Your Honor.     So

10:38:44 21    Mr. Faulkner identifies in paragraph 15 that he received a

10:38:50 22    list of documents that has been identified as confidential

10:38:55 23    material.   And he references that list as appendix C to his

10:38:59 24    expert report, Your Honor, in paragraph 15.

10:39:03 25                  THE COURT:    Right.   Qorvo's counsel, unit 42
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10:39:09   1   received from Qorvo's counsel, a list of documents they have

10:39:12   2   identified as Qorvo's confidential materials.       This list is

10:39:18   3   included with this report as Appendix C, unit 42 also

10:39:26   4   received a list of certain documents that Qorvo's technical

10:39:31   5   expert, Dr. Shanfield, analyzed in his report, so that any

10:39:39   6   forensic analysis could be included in this report.         He

10:39:43   7   didn't make any determinations whether anything was

10:39:46   8   confidential.   Right?

10:39:47   9                MS. AYERS:   That is correct.

10:39:48 10                 THE COURT:   Okay.   You have answered the

10:39:49 11    question.   He didn't do that.    And we don't want to confuse

10:39:53 12    the jury.   And this would have an impact on the jury.        I

10:39:59 13    looked through it, maybe once or twice, it's not going to be

10:40:02 14    a big deal, but I think the repeated use of some of the

10:40:05 15    terms is simply going to embed in their minds something that

10:40:08 16    he's not really reporting on.     And we don't want to do that.

10:40:13 17                 MS. AYERS:   We understand, Your Honor, and we

10:40:14 18    will remove the word confidential from the demonstratives

10:40:17 19    with respect to the files.    Additionally, I do have a

10:40:20 20    question with regard to your ruling on the word "use", would

10:40:23 21    it be acceptable to use the word access because that is what

10:40:27 22    Mr. Faulkner determined as a part of his report.

10:40:30 23                 THE COURT:   He did say that.     He did say that.

10:40:32 24    And of course he can't determine used because he didn't make

10:40:36 25    that determination, either.    It's always tough to ask this
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10:40:40   1   on the fly and particularly defense counsel wasn't able to

10:40:44   2   see what it looks like yet.        Closer, though.

10:40:49   3                 MS. AYERS:    We will revise the demonstratives to

10:40:51   4   remove the word confidential and to also change any use of

10:40:54   5   the word "use" to "access".

10:40:58   6                 THE COURT:    Do you remember the other one,

10:40:59   7   "took"?

10:41:00   8                 MS. AYERS:    Yes.

10:41:00   9                 THE COURT:    "Took" is like really sounding bad.

10:41:04 10                  MS. AYERS:    We will change that to possessed.

10:41:08 11    Because ultimately --

10:41:10 12                  THE COURT:    That's probably okay.    That's

10:41:11 13    consistent with his report and that's probably okay.          I'm

10:41:14 14    sorry we had to go through this so quickly but I'm really

10:41:18 15    mindful of our time constraints and a good objection by the

10:41:22 16    defense.    Let's take a look at what they bring back, but

10:41:25 17    it's going to be vastly improved over what we got.

10:41:28 18                  MS. AYERS:    We appreciate the Court's guidance

10:41:31 19    in advance of our ability to put this witness on the stand,

10:41:34 20    so thank you very much.

10:41:35 21                  THE COURT:    I wanted to get to it as quickly as

10:41:38 22    I could.    If anybody else has anything like that, we can get

10:41:41 23    to it, the quicker the better.

10:41:43 24                  MR. ELKINS:   Thank you, Your Honor.

10:41:44 25                  THE COURT:    Thank you very much.     I know we need
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10:41:47   1   the break, I don't know how many minutes, twelve, something

10:41:50   2   like that, and we'll put -- this time all goes really to the

10:41:55   3   plaintiff.

10:41:57   4                  COURT CLERK:   All rise.

10:41:58   5                  (A brief recess was taken.)

10:52:34   6                  THE COURT:   All right.    You may be seated.     We

10:52:54   7   can bring the jury in.

10:53:19   8                  (Jury entering the courtroom at 10:53 a.m.)

10:53:46   9                  THE COURT:   Everyone can be seated.      And we'll

10:54:01 10    resume the deposition testimony.

10:54:03 11                   (Videotape deposition of Rolan Houlden

10:54:08 12    continued:)

10:54:14 13    Q.     Okay.    Are you familiar with metadata?

10:54:17 14    A.     Metadata, no.     I don't believe so.

10:54:19 15    Q.     I've handed you what's been mashed as Exhibit 118?

10:54:24 16    A.     Yes.

10:54:25 17    Q.     This is the printout of the metadata that was

10:54:28 18    produced to us along with Exhibit 117.

10:54:31 19    A.     Right.

10:54:33 20    Q.     And the metadata identifies who is the custodian or

10:54:38 21    the -- whose files the document was found in.         Okay?

10:54:45 22    A.     Okay.

10:54:46 23    Q.     This metadata reflected in Exhibit 118 reflects that

10:54:52 24    Exhibit 117 was found in the files of -- in your files.

10:54:55 25                   Do you see that, on the first page?
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10:54:57   1   A.     Yeah, the D4, D4 all custodians.        Yes.

10:55:03   2   Q.     And also if you look at the date of the creation of

10:55:05   3   this document it says September 14, 2021, do you see that?

10:55:08   4   A.     Okay.    Yes.

10:55:09   5   Q.     That's the same date on which the Qorvo product

10:55:12   6   requirement document was forwarded from your personal home

10:55:15   7   address to your Akoustis work address; right?

10:55:18   8   A.     Okay.    Yes.

10:55:20   9   Q.     And if you also look at the Exhibit 118, the metadata

10:55:25 10    --

10:55:25 11    A.     Yes.

10:55:26 12    Q.     -- the file name for Exhibit 117 is provided; right?

10:55:30 13    A.     Yes.    11AC, FEM stat.

10:55:34 14    Q.     Does that mean anything to you?

10:55:36 15    A.     Just mean, 11AC means it's old.        And a FEM means that

10:55:41 16    it's not applicable to anything we do at Akoustis.

10:55:44 17    Q.     At the time in September 2021 when this Qorvo

10:55:48 18    document was sent to you, were you working on creating

10:55:52 19    product requirement documents for Akoustis?

10:55:53 20    A.     I -- I -- 2021?     Possibly.    I do not recall.

10:56:15 21    Q.     Okay.    I've handed you what's been marked as

10:56:20 22    Exhibit 119.    This is an e-mail that was produced with the

10:56:22 23    production number AKTS_00162120.

10:56:29 24                   Do you recognize this document?

10:56:31 25    A.     No.
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10:56:32   1   Q.        Okay.    On September 14, 2021, at 5:25 a.m., Jeff

10:56:39   2   Shealy sent an e-mail to yourself and Dave Aichele.              Do you

10:56:45   3   see that?

10:56:46   4   A.        Yes.

10:56:47   5   Q.        And the subject of the e-mail was "Wi-Fi 6 EPA

10:56:52   6   specs."

10:56:53   7                     Do you see that?

10:56:53   8   A.        Yes.

10:56:54   9   Q.        Okay.    And do you understand that that's referring to

10:56:56 10    Wi-Fi 6E power amplifier specs?

10:57:00 11    A.        Yes.

10:57:01 12    Q.        Okay.    And Mr. Shealy asked, "Gents, can you send me

10:57:06 13    a spec on Wi-Fi 6 EPA either in stand-alone or FEM

10:57:12 14    configuration?"

10:57:14 15                      Do you see that?

10:57:15 16    A.        Yes.

10:57:15 17    Q.        And FEM refers to front-end module?

10:57:19 18    A.        Yes.    Which we do not do at Akoustis.

10:57:21 19    Q.        But Mr. Shealy was asking you to send him a

10:57:23 20    specification?

10:57:24 21    A.        Yes, I'm not sure why, but he did.

10:57:26 22    Q.        And then -- so that -- he sent that message at

10:57:30 23    5:25 a.m. on September 14, 2021, --

10:57:34 24    A.        Right.

10:57:34 25    Q.        -- right.
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10:57:35   1                     And then if I understand the timeline right, Mr.

10:57:41   2   Abdelmajid sent you the Qorvo confidential PR -- PRD

10:57:46   3   document at 11:16 a.m. on the same day.

10:57:51   4   A.        Yes.

10:57:52   5   Q.        Okay.    And then that document was forwarded from your

10:57:56   6   home address to your work address about twenty minutes later

10:58:00   7   on September 14th; right?

10:58:06   8   A.        Right.

10:58:07   9   Q.        Okay.    And then if we look back at Exhibit 119, it

10:58:11 10    looks like at 6:22 p.m. you forwarded Mr. Shealy a document

10:58:18 11    that's referred to as 11AC FEM spec .XLSX; right?

10:58:27 12    A.        Yes.

10:58:28 13    Q.        And you recall that's the title of the modified PRD

10:58:32 14    document that was found in your files?

10:58:35 15    A.        Yes.

10:58:35 16    Q.        Okay.    So it appears that Mr. Shealy asked for a

10:58:39 17    specification for a Wi-Fi 6E power amplifier or a front-end

10:58:46 18    module, you asked Mr. Abdelmajid if he had something to send

10:58:51 19    you, he sent you a confidential Qorvo document, you modified

10:58:54 20    the document to remove references to Qorvo and you sent it

10:58:57 21    to Mr. Shealy?

10:58:59 22    A.        But when I asked Mr. Ahmad, I wouldn't necessarily be

10:59:03 23    asking for a Qorvo document, I'd be asking for any front-end

10:59:08 24    module.    And clearly Wi-Fi 6E, we did not -- Mr. Shealy

10:59:13 25    asked for a Wi-Fi 6 EPA.         That is not what Mr. Ahmad sent.
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10:59:19   1   He sent a Wi-Fi 5, very old Wi-Fi 5 front-end module.           So

10:59:26   2   what he sent is not what I would have probably requested.

10:59:34   3   Q.     You used the document Mr. Abdelmajid sent you to send

10:59:39   4   to Mr. Shealy?

10:59:41   5   A.     I did send it to Mr. Shealy.       Whether Mr. Shealy used

10:59:46   6   it or not, I don't know, because it wasn't what he wanted.

10:59:49   7   Q.     Okay.     I've handed you what's been marked as

10:59:53   8   Exhibit 120.    I'll identify this for the record as a

10:59:56   9   document that was produced in native format with the

10:59:58 10    production number AKTS_001628.

11:00:06 11                   Mr. Houlden, this was the attachment to

11:00:11 12    Exhibit 119.    Okay?

11:00:13 13    A.     Okay.

11:00:15 14    Q.     Meaning this is the document that you sent to

11:00:20 15    Mr. Shealy --

11:00:22 16    A.     Yes.

11:00:23 17    Q.     -- on September 14, 2021; right?

11:00:26 18    A.     Yes.

11:00:27 19    Q.     And this appears to be the modified version of the

11:00:30 20    Qorvo product requirement document that we discussed earlier

11:00:33 21    and marked as Exhibit 117; correct?

11:00:38 22    A.     Yes, yes, yes, yes.

11:00:41 23    Q.     Now, Mr. Abdelmajid has sent you numerous

11:00:47 24    confidential Qorvo documents over the years; is that fair to

11:00:51 25    say?
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 429 of 2283 PageID
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11:00:51   1   A.      Yes, he has sent -- you've shown me, I don't know,

11:00:56   2   four or five different documents, I forget -- I'm losing

11:00:59   3   track of the documents, but yes, I think Mr. Abdelmajid sent

11:01:02   4   me.

11:01:02   5   Q.      You said Mr. Abdelmajid would send you documents to

11:01:06   6   help.   You mean help Akoustis?

11:01:08   7   A.      Just help.    Thinking he would help me.      Clearly, none

11:01:11   8   of the documents that he sent had any IP or trade secrets.

11:01:15   9   Sometimes there were little value.       We were really looking

11:01:20 10    for like templates.     The con -- it's really not the content.

11:01:24 11    There's nothing in there, the content of -- is of value,

11:01:28 12    it's more the templates to show the software engineers, this

11:01:32 13    is what I want you to go design.

11:01:34 14    Q.      On the last occasion we looked at, exhibit --

11:01:37 15    Exhibit 116 and 117 -- or 115 and 116, you actually asked

11:01:47 16    Mr. Abdelmajid to send you those documents; right?

11:01:54 17    A.      Can you --

11:01:56 18    Q.      Sorry.   In response to -- sorry.      Exhibits 115 and

11:02:01 19    116, Mr. Abdelmajid sent to you a confidential Qorvo product

11:02:07 20    requirement document; right?

11:02:09 21    A.      He sent a Qorvo document, but I wasn't -- I wasn't

11:02:14 22    asked -- asking or looking for a Qorvo document, I was

11:02:19 23    looking -- Mr. Jeff was looking for a spec for a Wi-Fi 6

11:02:25 24    EPA, right.    And that's not what Mr. Ahmad sent.        So when he

11:02:31 25    was not able to probably find a Wi-Fi 6 EPA spec, he -- he
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24   Page 430 of 2283 PageID
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11:02:38   1   must have sent this Qorvo spec.

11:02:43   2   Q.      Okay.    Mr. Houlden, I've handed you what's been

11:02:49   3   marked as Exhibits 121, 122, 123, 124 and 125.           Mr. Houlden,

11:02:56   4   do you recognize what's been marked as Exhibits 121

11:02:59   5   through 125?

11:03:00   6   A.      No.

11:03:00   7   Q.      You would agree with me that this is an e-mail from

11:03:04   8   Mr. Abdelmajid to yourself on February 18, 2021?

11:03:09   9   A.      Yes.

11:03:11 10    Q.      And again, Mr. Abdelmajid has sent you a number of

11:03:15 11    confidential Qorvo documents; right?

11:03:18 12    A.      Yes.

11:03:20 13    Q.      Okay.    In particular, he sent you four different

11:03:24 14    confidential Qorvo documents?

11:03:25 15    A.      Yes.

11:03:28 16    Q.      Did you ask Mr. Abdelmajid to send you these

11:03:31 17    confidential Qorvo documents?

11:03:33 18    A.      I do not recall.      I'm looking at the date to see --

11:03:39 19    2021.   So this is prior -- I do not recall.

11:03:43 20    Q.      Did Mr. Abdelmajid have authority from Qorvo to send

11:03:47 21    you these materials?

11:03:49 22    A.      No.    They're all -- they're very old PAs and switches

11:03:55 23    and LNAs, there -- there are no switches, actually.            It may

11:04:00 24    be an old front end module, an old PA, an old switch that we

11:04:06 25    don't do at Akoustis.
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11:04:07   1                  So, again, I'm -- I'm trying to recollect why,

11:04:11   2   if I did ask him and why he would send them, because we

11:04:14   3   don't do any of these products at Akoustis and never did do

11:04:18   4   any of these products at Akoustis or these types of products

11:04:21   5   at Akoustis.

11:04:23   6   Q.     We discussed earlier packaging.        Do you recall that?

11:04:26   7   A.     Yes.

11:04:27   8   Q.     Packaging in short, would be putting a casing around

11:04:31   9   a semiconductor device; is that right?

11:04:35 10    A.     Types of packaging, but these -- these packages are

11:04:40 11    very different.    These packages are probably QFNs, they're

11:04:45 12    plastic packages, so you can't put filters in these types of

11:04:49 13    packages.   So I'm still trying to understand why -- the

11:04:53 14    relevance of these documents because not only do we not make

11:04:56 15    these parts, we don't even use these types of packages.

11:05:00 16    Q.     We discussed earlier packaging, do you recall that?

11:05:02 17    A.     Yes.

11:05:03 18    Q.     Packaging, in short, would be putting a casing around

11:05:06 19    a semiconductor device, is that right?

11:05:12 20    A.     Types of packaging, but these -- these packages are

11:05:16 21    very different.    These packages are probably QFNs.        They're

11:05:20 22    plastic packages, so you can't put filters in these types of

11:05:24 23    packages.   So I'm still trying to understand why -- the

11:05:29 24    relevance of these documents, but not only do we not make

11:05:32 25    these parts, we don't even use these types of packages.
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24   Page 432 of 2283 PageID
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11:05:35   1   Q.     Your position on Mr. Abdelmajid's e-mail of Qorvo

11:05:39   2   confidential documents to you is you don't understand what

11:05:41   3   the relevance of those documents is?

11:05:42   4   A.     Right, to Akoustis, as of today.       Maybe back in

11:05:46   5   February 2021 it had something different, but we -- we never

11:05:50   6   did develop PAs, had no intentions of doing PAs, never did

11:05:54   7   switches, never did FEM, so -- and none of these things had

11:06:00   8   filters.    Never did PAs.   Never did switches, never did

11:06:04   9   low-noise amplifiers.    I'm acronymizing that LNA as low

11:06:11 10    noise amplifier, so I apologize.

11:06:13 11    Q.     And you never did FEMs?

11:06:16 12    A.     And we never did front-end modules.

11:06:19 13    Q.     Front-end modules?

11:06:21 14    A.     Is an FEM.

11:06:22 15    Q.     I'm handing you what has been marked as Exhibit 126.

11:06:26 16    I'll identify this for the record as a multipage PowerPoint

11:06:30 17    presentation.    The first page of which has the Bates number

11:06:33 18    AKS -- AKTS_00196501.

11:06:41 19                   Mr. Houlden, I'd ask you to take a quick look at

11:06:47 20    this document and tell me if you recognize it?

11:06:49 21    A.     I do not recognize it.

11:06:51 22    Q.     This is a document that was produced to us by

11:06:56 23    Akoustis from your files.

11:06:58 24    A.     Okay.

11:06:59 25    Q.     Would you agree with me that this is a confidential
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 433 of 2283 PageID
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11:07:02   1   Qorvo document?

11:07:03   2   A.     Yes.    It has confidential written here, yes.

11:07:06   3   Q.     You would agree with me that Exhibit 126 is a

11:07:12   4   confidential Qorvo document?

11:07:14   5   A.     Yes.

11:07:16   6   Q.     And you did not have authorization to share this

11:07:18   7   document with Akoustis?

11:07:19   8   A.     Did I?     I don't even know if I shared it with

11:07:24   9   Akoustis.   I don't recall sharing it with Akoustis.

11:07:28 10    Q.     Yes.    And particularly out of your files at Akoustis?

11:07:32 11    A.     Right.     So if it was in my -- if it was -- so if it

11:07:37 12    was in my files, if it was in my files, but did I share it?

11:07:43 13    Because it's a PA, and we don't do PAs at Akoustis, so I

11:07:47 14    would be a little surprised if I shared it with other people

11:07:51 15    at Akoustis, but I may have, if you said that -- I know I

11:07:57 16    may have had a record of it somewhere.

11:08:02 17                   But we don't do power amplifiers at Akoustis so

11:08:05 18    this wouldn't really bring any value to anyone at Akoustis.

11:08:08 19    Q.     So in your view, we should add Exhibit 126 to the

11:08:13 20    growing pile of irrelevant documents from Qorvo?

11:08:17 21    A.     Probably little value, yes.

11:08:18 22    Q.     And you don't have any idea why you would have taken

11:08:21 23    this document with you to Akoustis?

11:08:23 24    A.     Right.     Because Akoustis doesn't do power amplifiers.

11:08:26 25    Q.     Okay.    Mr. Houlden, I've marked as Exhibit 127 a
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24   Page 434 of 2283 PageID
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11:08:32   1   multi page document.       The first page of this is -- got the

11:08:36   2   production number AKTS-00197071.         I ask you, do you

11:08:50   3   recognize what's been marked as Exhibit 127?

11:08:52   4   A.       No, I do not.

11:08:53   5   Q.       On the first page of this Exhibit 127, you can see

11:08:56   6   that this is a Qorvo presentation?

11:08:58   7   A.       Yes.

11:08:59   8   Q.       And it concerns the IDP market segment analysis.           Do

11:09:04   9   you see that?

11:09:04 10    A.       Yes.

11:09:04 11    Q.       What does IDP mean?

11:09:07 12    A.       Infrastructure and defense.

11:09:11 13    Q.       Okay.    And the date on this is June 2015?

11:09:15 14    A.       Yes.

11:09:15 15    Q.       So this would have been during the time frame when

11:09:18 16    you were still a general manager of wireless connectivity at

11:09:22 17    Qorvo?

11:09:23 18    A.       Yes.

11:09:25 19    Q.       Did Akoustis develop products for the IDP market?

11:09:30 20    A.       Well, it definitely -- well, we had one defense

11:09:34 21    customer, but infrastructure and defense was really GAN.

11:09:41 22    They were really working -- they were really focused in

11:09:45 23    Texas and really GAN focused.        So yes, we had one defense

11:09:50 24    customer, Akoustis, and tried to get in the infrastructure

11:09:55 25    market, but really not -- no really key infrastructure
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24   Page 435 of 2283 PageID
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11:10:03   1   customers.      So it wasn't really a market that we focused on.

11:10:07   2   Q.       Exhibit 127 is a confidential Qorvo document?

11:10:10   3   A.       Yes.

11:10:10   4   Q.       You did not have authorization to share this document

11:10:14   5   with Akoustis?

11:10:14   6   A.       Right.    And I'm not sure I shared it.       But I did not

11:10:20   7   have the -- can you rephrase the question again?

11:10:23   8   Q.       You did not have --

11:10:25   9   A.       I did not have the right to have it.

11:10:28 10    Q.       This is a document that under your obligations,

11:10:31 11    pursuant to Exhibit 77, you were required to return to

11:10:34 12    Qorvo?

11:10:35 13    A.       Right.    I'm not sure how I obtained this document, so

11:10:44 14    I'm not saying that I did not return all my documents.             I'm

11:10:48 15    not sure how -- I do not recall -- I have never seen -- I

11:10:53 16    cannot recall this document.        So I don't know when -- how I

11:10:56 17    got this document, and if I failed to return it when I

11:10:58 18    terminated or left in September 2016.

11:11:01 19    Q.       And you also don't know why you would have brought

11:11:04 20    this document to Akoustis?

11:11:05 21    A.       I do not know why this document was on my laptop, if

11:11:10 22    that's where you said you found it, because it has no value

11:11:13 23    to Akoustis.

11:11:14 24    Q.       Mr. Houlden, I've handed you what has been marked as

11:11:18 25    Exhibit 128.      I'll identify this for the record as a multi
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 436 of 2283 PageID
                                        #: 40407                               763


11:11:21   1   page document with a production number on the first page as

11:11:24   2   AKTS 00203690.

11:11:28   3                  The first page of this document says CPE Wi-Fi E

11:11:34   4   strategy review, and has the date February 2016.

11:11:37   5                  Do you see that?

11:11:38   6   A.     Yes.

11:11:38   7   Q.     Do you recognize this document?

11:11:40   8   A.     No.

11:11:41   9   Q.     And in February of 2016 you were still working as a

11:11:45 10    general manager at Qorvo?

11:11:47 11    A.     Yes.

11:11:47 12    Q.     What does CPE mean?

11:11:48 13    A.     Consumer premise equipment.

11:11:51 14    Q.     What is a CPE Wi-Fi E strategy review?

11:11:55 15    A.     I don't know what the E stands for.

11:11:57 16    Q.     This is another confidential Qorvo document?

11:12:10 17    A.     Yes.

11:12:15 18    Q.     You did not have authorization to share this document

11:12:19 19    with Akoustis?

11:12:20 20    A.     Correct.

11:12:20 21    Q.     And do you know why this document would have been

11:12:24 22    found in your files at Akoustis?

11:12:26 23    A.     No, I do not.

11:12:27 24    Q.     Mr. Houlden, I've handed you what has been marked as

11:12:32 25    Exhibit 129.    I will identify it for the record as a
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 437 of 2283 PageID
                                        #: 40408                               764


11:12:35   1   multipage document with the production number on the first

11:12:40   2   page of AKTS-00205076.

11:12:47   3                  On the first page of this document it says

11:12:52   4   "Qorvo" and then "grow IDP, CPE Wi-Fi revenue and fiscal

11:12:59   5   year 2017" and identifies the author as James Klein.           Do you

11:13:05   6   see that?

11:13:05   7   A.     Yes.

11:13:05   8   Q.     And the date of this document says last update

11:13:08   9   May 19th, 2016?

11:13:09 10    A.     Yes.

11:13:10 11    Q.     And again, this was during the time when you were the

11:13:13 12    general manager of the Wireless Connectivity Business Unit

11:13:17 13    at Qorvo?

11:13:18 14    A.     Yes.

11:13:18 15    Q.     So again you would agree with me that this is a

11:13:21 16    confidential Qorvo presentation?

11:13:25 17    A.     Yes.     It's a corporate Qorvo presentation, maybe

11:13:31 18    James Klein to me.

11:13:33 19    Q.     The question was, is this a confidential Qorvo

11:13:38 20    presentation?

11:13:39 21    A.     Yes.     It is a confidential presentation, yes.

11:13:43 22    Q.     Okay.    And again, you did not have authorization to

11:13:46 23    share Exhibit 129 with anyone at Akoustis?

11:13:49 24    A.     No.

11:13:52 25    Q.     And do you have any idea how this file would have
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24    Page 438 of 2283 PageID
                                        #: 40409                                765


11:13:55   1   ended up in your files -- how this document would have ended

11:13:59   2   up in your files at Akoustis?

11:14:00   3   A.     No.

11:14:01   4   Q.     Mr. Houlden, I've handed you what has been marked as

11:14:06   5   Exhibit 130.    This is a multipage document, the first page

11:14:09   6   of which has the production number AKTS-00206497.

11:14:17   7                  Do you recognize this document?

11:14:20   8   A.     No.

11:14:20   9   Q.     On the first page of this document there's the title,

11:14:26 10    "grow IDP, CPE Wi-Fi revenue in fiscal year 2017."           Do you

11:14:34 11    see that?

11:14:35 12    A.     Yes.

11:14:35 13    Q.     And the author of this document is listed as Rohan

11:14:39 14    Houlden?

11:14:39 15    A.     Yes.

11:14:39 16    Q.     Do you know why you brought this document with you to

11:14:42 17    Akoustis?

11:14:42 18    A.     No, I do not.     It does look to be in response of my

11:14:50 19    compensation package of Exhibit 129.          So it is probably a

11:14:54 20    file to James Klein as a result of his feedback of -- of my

11:15:00 21    yearly goals.    A review of the status of my yearly goals.

11:15:13 22    Q.     You would agree with me that this is a confidential

11:15:16 23    Qorvo document that's been marked as Exhibit 134?

11:15:20 24    A.     Well it's confidential, but the data all comes from

11:15:22 25    customers.    Customer sets the spec, so I'm not really sure.
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 439 of 2283 PageID
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11:15:26   1   It comes from customers, so could go to Cisco, Netgear,

11:15:30   2   Broadcom, Qualcomm and get this.       So this may be -- yeah,

11:15:33   3   you get it from customers.

11:15:35   4   Q.     Did Akoustis go to Cisco, Netgear, Qualcomm, and

11:15:40   5   other companies to collect this data?

11:15:42   6   A.     Yes.

11:15:42   7   Q.     Mr. Houlden, I've handed you what's been marked as

11:15:48   8   Exhibit 135.    I'll identify this for the record as a

11:15:51   9   multipage document that has the production number

11:15:53 10    AKTS-00202599 on it.

11:15:59 11                   The first page says, "Qorvo statement of work

11:16:05 12    5-gigahertz UNII2C-3, Wi-Fi BAW filter."        Do you see that?

11:16:14 13    A.     Yes.

11:16:15 14    Q.     What is a 5-gigahertz UNII2C-3 Wi-Fi BAW filter?

11:16:20 15    A.     It is a 5.6-gigahertz filter.

11:16:24 16    Q.     Did Akoustis have a 5.6-gigahertz filter in

11:16:29 17    development?

11:16:30 18    A.     At what time frame?

11:16:33 19    Q.     After 2015.

11:16:35 20    A.     Yes, much -- much after.       Three years later, four

11:16:39 21    years later, maybe 2018, 2019.

11:16:43 22    Q.     Okay.    You would agree with me that Exhibit 135 is a

11:16:47 23    confidential Qorvo document?

11:16:48 24    A.     Yes, it is labeled "confidential."

11:16:52 25    Q.     You didn't have authorization to share Exhibit 135
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 440 of 2283 PageID
                                        #: 40411                               767


11:16:57   1   with Akoustis?

11:16:57   2   A.     No, I did not.

11:16:59   3   Q.     And you didn't have authorization to bring

11:17:01   4   Exhibit 135 with you to Akoustis?

11:17:03   5   A.     No.

11:17:03   6   Q.     Mr. Houlden, I've handed you what has been marked as

11:17:07   7   Exhibit 136.    On the first page of this document there's the

11:17:11   8   production number AKTS-00203493.

11:17:16   9                  Do you recognize what has been marked as

11:17:22 10    Exhibit 136?

11:17:22 11    A.     No.

11:17:23 12    Q.     Again, this is a Qorvo presentation.         The front page

11:17:28 13    -- first page of which says, "statement of work, 5-gigahertz

11:17:32 14    UNII2C-3 Wi-Fi BAW diplexer, is that right?

11:17:41 15    A.     Yes.

11:17:41 16    Q.     What is a Wi-Fi BAW diplexer?

11:17:44 17    A.     A diplexer -- a diplexer is where you have two

11:18:00 18    filters that are connected together and work simultaneously.

11:18:04 19                   I know Akoustis never did one.      I'm not sure

11:18:07 20    even if Qorvo ever made one, maybe not in my time there.

11:18:12 21    Q.     Would having a 5.2-gigahertz BAW filter and a

11:18:17 22    5.6-gigahertz BAW filter working in tangent be a diplexer?

11:18:23 23    A.     No.     That is not what the spec is here.       The spec is

11:18:27 24    trying to get a 1256 to work with a V2X filter.

11:18:37 25    5.6-gigahertz filter to work with a V2X filter.
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24   Page 441 of 2283 PageID
                                          #: 40412                               768


11:18:42   1   Q.       And by V2X, you mean automotive filter?

11:18:46   2   A.       Yes.    And Akoustis did not do automotive, so this

11:18:52   3   would be of no value to Akoustis.

11:18:54   4   Q.       You would agree with me that Exhibit 136 is a

11:18:57   5   confidential Qorvo presentation?

11:18:58   6   A.       Yes.

11:18:58   7   Q.       You had no authorization to take this presentation

11:19:02   8   with you to Akoustis?

11:19:03   9   A.       Correct.

11:19:05 10    Q.       And you didn't have any authorization to share this

11:19:09 11    presentation with anyone at Akoustis?

11:19:11 12    A.       I do not recall sharing this document with anyone at

11:19:13 13    Akoustis.

11:19:13 14    Q.       Okay.    And you didn't have authorization to do so?

11:19:18 15    A.       Right.

11:19:19 16    Q.       Mr. Houlden, I've handed you what has been marked as

11:19:23 17    Exhibits 137, 138, and 139.        If we look at Exhibit 137 for a

11:19:27 18    moment, this is an e-mail to you from Mr. Aichele; is that

11:19:33 19    right?

11:19:33 20    A.       Yes.

11:19:34 21    Q.       The e-mail is dated January 7, 2020?

11:19:39 22    A.       Okay.

11:19:40 23    Q.       Is that right?

11:19:40 24    A.       Yes.

11:19:41 25    Q.       And the subject is Qorvo 5.2-gigahertz.          Do you see
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11:19:45   1   that?

11:19:45   2   A.       Yes.

11:19:46   3   Q.       And Mr. Aichele says, "Attached is a 5.2-gigahertz

11:19:50   4   data and data sheet."

11:19:54   5   A.       Yes.

11:19:54   6   Q.       "Word on the street is that they will be sampling the

11:19:59   7   5.6-gigahertz after CNY.        Thanks, Dave."

11:20:06   8   A.       Okay.

11:20:07   9   Q.       How is this information relevant to you?

11:20:08 10    A.       He's probably -- you know, it is very common in the

11:20:12 11    industry to get competitor's parts, salespeople get

11:20:16 12    competitors parts, it's very common in the practice.             We did

11:20:21 13    it at RFMD/Qorvo, clearly Mr. Aichele has done the same

11:20:26 14    thing.   So he's obviously went and got some samples of Qorvo

11:20:29 15    parts that Qorvo sampled to their customers.           Mr. Aichele

11:20:33 16    has probably got them back and probably taken some data.

11:20:37 17    And our parts are already in production, so he is probably

11:20:41 18    wanting to just show me for information of what the

11:20:45 19    performance of Qorvo's soon to be parts are compared to our

11:20:50 20    parts that are already into production.

11:20:54 21    Q.       Okay.    At this time in January of 2020, was Akoustis

11:20:58 22    working on a second generation of Wi-Fi 5-gigahertz

11:21:03 23    products?

11:21:06 24    A.       I do not know.     We were already -- 5.2 and 5.6 are

11:21:11 25    Wi-Fi 5 parts.      Once we developed 1252 and 1256, we went on
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24   Page 443 of 2283 PageID
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11:21:17   1   to Wi-Fi 6 and 6 E.    I think at some time we went back, but

11:21:22   2   our focus at this time in January 2020, I would say we were

11:21:27   3   not working on -- I am not 100 percent sure -- but I believe

11:21:32   4   we were not working on second generation 52 and 56.          We were

11:21:37   5   working on future generation of products that no one else

11:21:41   6   had had.

11:21:42   7   Q.     And do you know whether Akoustis had an NDA with

11:21:46   8   Qorvo that would have entitled Akoustis to have this

11:21:49   9   confidential data sheet?

11:21:50 10    A.     No, they did not.     Well, Akoustis and Qorvo did have

11:21:55 11    some NDAs in place, because they looked at purchasing us, so

11:22:00 12    I'm not sure what the NDA, as I was not involved in that due

11:22:05 13    diligence.   But I would think not, but I cannot answer that.

11:22:09 14    Q.     Was there someone at Qorvo who was sending you

11:22:13 15    intelligence reports?

11:22:15 16    A.     No.   You could -- typically, when you visit

11:22:19 17    customers, customers -- if you visit customers anywhere in

11:22:23 18    Silicon Valley, Taiwan, China, you can -- any -- any

11:22:30 19    presentation made to a customer, you know shortly thereafter

11:22:34 20    that customer will share that information.

11:22:36 21    Q.     Mr. Houlden, I've handed you a copy of Exhibit 144.

11:22:41 22    I'll identify this for the record as a multi page document.

11:22:45 23    The first page is production number AKTS_00197279.         On the

11:22:54 24    front of the first page it says "Qorvo automotive product

11:22:58 25    line strategy connectivity."
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11:23:00   1                  Do you see that?

11:23:01   2   A.     Yes.

11:23:01   3   Q.     Do you recognize this document?

11:23:02   4   A.     No.

11:23:03   5   Q.     While you were the general manager of the Wireless

11:23:09   6   Connectivity Business Unit at Qorvo, I think you mentioned

11:23:11   7   you had responsibility for the automotive product line?

11:23:14   8   A.     Yes, I incubated automotive within RFMD and then once

11:23:20   9   Qorvo came about, I kept that business unit or product line.

11:23:23 10    Q.     Okay.    And this Exhibit 144 is a confidential Qorvo

11:23:27 11    business plan for the automotive product line?

11:23:30 12    A.     Yeah.    That's an old strategy, it looks like from

11:23:35 13    2015, maybe.

11:23:36 14    Q.     How did you obtain a copy of this document?

11:23:38 15    A.     I do not recall.      We did not do automotive at

11:23:42 16    Akoustis.    So I mandated that we did not do that because

11:23:48 17    small companies, it takes a long time to get the business.

11:23:52 18    And I continually told Mr. Aichele we're not doing

11:23:56 19    automotive.    So I'm not sure if it was on my laptop, why, it

11:24:00 20    would have little value.

11:24:02 21    Q.     So you left Akoustis in July 2022.         Akoustis was not

11:24:06 22    developing an automotive product line?

11:24:08 23    A.     Definitely not a product line.         I know Mr. Aichele

11:24:11 24    was always interested in doing an automotive product, but I

11:24:14 25    kept telling him no.     So we did not have an automotive
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11:24:19   1   product when I was there.      I think maybe we had started

11:24:26   2   looking at one, or he went around my back and talked to an

11:24:29   3   engineer a little bit to get one going, but it was not a

11:24:32   4   focus at Akoustis.

11:24:34   5   Q.     Mr. Houlden, I've handed you what has been marked as

11:24:37   6   Exhibit 146.    It's a multipage document, the first page of

11:24:42   7   which has the production number AKTS_00198854.          On the front

11:24:50   8   page it says, "Qorvo automotive product line strategy

11:24:55   9   connectivity."

11:24:57 10                   Do you see that?

11:24:57 11    A.     Yes.

11:24:58 12    Q.     Again, this appears to be a confidential Qorvo

11:25:02 13    business plan concerning the automotive product line; is

11:25:06 14    that right?

11:25:06 15    A.     Yes.

11:25:07 16    Q.     You did not have authorization to have this document

11:25:11 17    at Akoustis; correct?

11:25:13 18    A.     Correct.

11:25:14 19    Q.     Mr. Houlden, I've handed you what has been marked as

11:25:19 20    Exhibit 148.    This is a multipage document with the

11:25:22 21    production number on the first page as AKTS_00205066.           Do

11:25:30 22    you recognize this document?

11:25:34 23    A.     No.

11:25:36 24    Q.     It looks like it is a financial analysis of an

11:25:42 25    automotive product line; is that fair?
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24   Page 446 of 2283 PageID
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11:25:46   1   A.       I think that what it is is auto LTE.      Previously --

11:25:52   2   when is this date dated -- 2015.      So previously, in 2013,

11:25:58   3   14, 2012, we were probably doing Wi-Fi in automotive.          We

11:26:02   4   went off and did some LNAs in automotive for Sirius/XM.          But

11:26:09   5   I think what they're looking at here is going off and doing

11:26:12   6   LTE which is 4G.    So they are looking at possibly taking

11:26:16   7   some existing RFMD, Qorvo, and possibly TriQuint, 4GPAs, and

11:26:23   8   getting them, doing advance qualification work, AEC-Q100

11:26:29   9   quals on those devices and justifying the return on the --

11:26:33 10    return on the investment and the heads required to go off

11:26:36 11    and get involved in LTE automotive market segment.

11:26:41 12    Q.       Would that operation have been something that you

11:26:48 13    were supervising as the GM of wireless connectivity at

11:26:54 14    Qorvo?

11:26:58 15    A.       It may have reporting my function -- my -- my -- at

11:27:04 16    wireless connectivity, we didn't do any LTE.        And we don't

11:27:08 17    do any LTE at Akoustis either, that's 4G.        So really what we

11:27:13 18    were probably looking at there is, for the first time ever,

11:27:15 19    taking some products from the cellular side of the company

11:27:19 20    and trying to bring them over to the IDP side and doing some

11:27:23 21    qualification testing.

11:27:24 22                  So you would be taking products from other

11:27:27 23    business units, so I would have almost zero knowledge on LTE

11:27:33 24    and this.   And whether it fell in my group or not, it was

11:27:37 25    probably TBD at this stage.     But probably because I owned
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11:27:41   1   automotive, maybe I would, but my team had no -- LTE -- when

11:27:46   2   you do LTE and your -- your designs and power amplifier

11:27:51   3   designs are very, very complicated and you're working with

11:27:55   4   Qualcomm chip sets.

11:27:56   5                  So my team and I did not have the skill set to

11:27:59   6   probably do LTE.    I think they did -- after I left -- after

11:28:04   7   I left, they took automotive out of my business unit and

11:28:07   8   opened up a new business unit and maybe they're doing LTE

11:28:11   9   today.   But as you can see, FY17, that's really calendar

11:28:17 10    year '16, calendar year '17.      There was very little revenues

11:28:22 11    in LTE so my business unit wasn't really involved.

11:28:25 12    Q.       Do you know how this document ended up in your files?

11:28:28 13    A.       No idea.

11:28:29 14    Q.       You would agree with me that this is a confidential

11:28:33 15    Qorvo document?

11:28:33 16    A.       Yes, it is a confidential document, yes.

11:28:40 17    Q.       And not one that you were authorized to have at

11:28:43 18    Akoustis?

11:28:43 19    A.       Correct.

11:28:44 20    Q.       Mr. Houlden, I've handed you what has been marked as

11:28:49 21    Exhibit 149.    It's a multipage document.      The first page has

11:28:53 22    the production number AKTS-00204845.         The first page says

11:29:00 23    "Qorvo EG 5877, QPQ1901Q, 802.11P, V2X, final circuit layout

11:29:16 24    and tile."

11:29:17 25                   Do you see that?
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24   Page 448 of 2283 PageID
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11:29:17   1   A.      Yes.

11:29:17   2   Q.      Do you recognize this presentation?

11:29:19   3   A.      No.

11:29:19   4   Q.      So would you agree with me that this presentation

11:29:23   5   that's been marked as Exhibit 149 shows the final circuit

11:29:27   6   layout and tile for the QPQ1901Q product at Qorvo?

11:29:32   7   A.      Yes.

11:29:32   8   Q.      You would agree with me that this is a confidential

11:29:35   9   Qorvo presentation?

11:29:37 10    A.      Yes.

11:29:38 11    Q.      And you did not have authorization to share this

11:29:40 12    document with Akoustis, right?

11:29:42 13    A.      Yeah, and I don't believe -- I don't believe I did.

11:29:46 14    Q.      So Mr. Houlden, I've handed you what's been marked as

11:29:51 15    Exhibit 150.

11:29:53 16    A.      Okay.

11:29:53 17    Q.      This is a printout of the metadata that was produced

11:30:01 18    to us along with Exhibit 149?

11:30:03 19    A.      Okay.

11:30:03 20    Q.      As you can see, this indicates that the custodian of

11:30:07 21    this document was Rohan Houlden?

11:30:09 22    A.      Yes.

11:30:10 23    Q.      And the creation date of Exhibit 149 was May 13,

11:30:17 24    2016?

11:30:17 25    A.      Yes.
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11:30:19   1   Q.     In May of 2016, would you have been working on

11:30:30   2   802.11P V2X products at Qorvo?

11:30:32   3   A.     I would not have worked on the products, but this

11:30:35   4   particular product may have been in my business unit.

11:30:38   5   Q.     Okay.    So it's possible that someone would have sent

11:30:41   6   you this presentation as -- as part of supervising the

11:30:44   7   automotive product line?

11:30:45   8   A.     Yes, a marketing guy or someone may have sent this to

11:30:48   9   me.

11:30:49 10    Q.     Okay.    I think I asked this already, but just to make

11:30:51 11    sure, you didn't have authorization to have this

11:30:54 12    confidential Qorvo presentation marked as Exhibit 149 in

11:30:58 13    your files at Akoustis?

11:30:59 14    A.     No, I did not.

11:31:02 15    Q.     If we look at Exhibit 150, on the second page, it

11:31:07 16    gives the document author of Exhibit 149 as Jeff Galipeau.

11:31:17 17    A.     What page are you on?

11:31:19 18    Q.     The second page of Exhibit 150.

11:31:22 19    A.     Oh, yeah.

11:31:23 20    Q.     It says doc authored, Jeff Galipeau, do you see that?

11:31:27 21    A.     Yes.

11:31:27 22    Q.     Do you know who Mr. Galipeau is?

11:31:30 23    A.     He -- I believe he is a designer in Florida.

11:31:34 24    Q.     Okay.    Meaning a design engineer at Qorvo?

11:31:39 25    A.     I believe so.     In Florida.    Yes.
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11:31:44   1   Q.        Okay.    What relevance -- turning back to Exhibit 149,

11:31:51   2   what relevance would this document have had at Akoustis?

11:31:59   3   A.        Very, very little.      Because I kept telling

11:32:03   4   Mr. Aichele, we won't be doing automotive.            So we -- in the

11:32:08   5   first three or four years I was there, we did not work on

11:32:12   6   automotive.

11:32:15   7   Q.        Okay.    You provided Exhibit 149 to David Hodge; is

11:32:21   8   that right?

11:32:21   9   A.        I do not recall that.      I may have, if you go back.

11:32:25 10    Q.        I've handed you what has been marked previously as

11:32:42 11    Exhibit Number 5.

11:32:44 12    A.        Okay.    So I have not seen this.

11:32:46 13    Q.        Do you agree with me that Exhibit 149 and Exhibit 5

11:32:50 14    are the same document?

11:32:51 15    A.        Yes.

11:32:52 16    Q.        Okay.    And for the record, Exhibit 5, which was

11:32:56 17    previously identified during Mr. Hodge's deposition, has the

11:33:00 18    production number Hodge 000212 on it.            Having seen

11:33:07 19    Exhibit 5, does that refresh your recollection as to whether

11:33:13 20    you provided Exhibit 149 to Mr. Hodge?

11:33:16 21    A.        I must have.     I do not recall, but I trust you that I

11:33:22 22    must have.

11:33:22 23    Q.        Well, Dr. Hodge testified that you handed him a hard

11:33:26 24    copy --

11:33:27 25    A.        Okay.
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11:33:28   1   Q.     -- of Exhibit 5 --

11:33:29   2   A.     Okay.

11:33:30   3   Q.     -- in his office.      Does that sound right?

11:33:33   4   A.     If he testified, yes.

11:33:34   5   Q.     Okay.    But you agree with me that you did not have

11:33:37   6   authorization to give Exhibit 5 to Dr. Hodge?

11:33:39   7   A.     Yes.    That is correct.       I did not.

11:33:42   8   Q.     In other words, it looks like Exhibit 6 was possibly

11:33:46   9   printed out and then scanned?

11:33:47 10    A.     Yeah, one page couldn't come through.         That's why I

11:33:51 11    kind of struggled there.      Yeah.    All right.   After -- after

11:33:55 12    you get through that one.      Yeah, they look -- yes.      I agree.

11:33:59 13    Most of the pages are the same, yes.

11:34:01 14    Q.     Okay.    And again, Dr. Hodge testified that you handed

11:34:05 15    him Exhibit 6 in a hard copy in his office --

11:34:09 16    A.     Okay.

11:34:10 17    Q.     -- in October 2016?

11:34:12 18    A.     Okay.

11:34:12 19    Q.     Do you have any recollection of doing that?

11:34:15 20    A.     No.

11:34:15 21    Q.     Do you have any reason to dispute Mr. Hodge's

11:34:18 22    testimony on that?

11:34:19 23    A.     No reason to dispute it.

11:34:21 24    Q.     Okay.    Do you know how you selected the excerpts of

11:34:25 25    Exhibit 149 that are reflected in Exhibit 6?         How you
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 452 of 2283 PageID
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11:34:29   1   compiled these particular slides?

11:34:33   2   A.     Maybe I just deleted those two title pages, maybe.

11:34:39   3   Q.     Again, you didn't have authorization from Qorvo to

11:34:47   4   share Exhibit 6 with Dr. Hodge?

11:34:49   5   A.     No, I did not.

11:34:51   6   Q.     And do you have any recollection as to why you were

11:34:54   7   providing Exhibit 6 to Dr. Hodge in October 2016?

11:34:57   8   A.     No, because we had no filter process.         And we had --

11:35:01   9   and we weren't doing automotive.       We couldn't even make --

11:35:05 10    successfully make a resonator, so we were at no stage ready

11:35:09 11    to design filters.

11:35:10 12    Q.     Mr. Houlden, I've handed you what has been marked

11:35:15 13    Exhibit 156.    For the record, this is a multipage document.

11:35:20 14    It's got on the first page production number AKTS-00202000.

11:35:27 15    On the top right-hand side, it says "wireless

11:35:34 16    infrastructure, infrastructure and defense products, Nokia

11:35:38 17    5G radio architecture request for information response."           On

11:35:43 18    the left-hand side it has Qorvo.

11:35:46 19                   Mr. Houlden, do you recognize Exhibit 156?

11:35:48 20    A.     No.

11:35:49 21    Q.     Does Exhibit 156 appear to be a Qorvo response to a

11:35:54 22    request for information from Nokia?

11:35:56 23    A.     Yes.

11:35:57 24    Q.     And in particular, Nokia requested information

11:36:01 25    related to 5G?
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11:36:02   1   A.     Yes, yes, yes.

11:36:04   2   Q.     What is 5G?

11:36:06   3   A.     That's a cell phone standard, 3G, 4G, 5G.

11:36:12   4   Q.     Did Akoustis develop any 5G products?

11:36:23   5   A.     No.    We developed -- we tried to develop a 4G for

11:36:30   6               We did not do anything for Nokia.                 come in

11:36:38   7   and gave us some NRE money.      So it may have been 5G.       I take

11:36:44   8   that back.    I think           wanted us to go off and develop

11:36:47   9   a 3.4 to 3.5, a very narrow band, 100 megahertz PA for a

11:36:55 10    filter for           .   It's very narrow band, so you wouldn't

11:37:01 11    think it's 5G, but it may have been.

11:37:04 12    Q.     You would understand this submission from Qorvo to be

11:37:07 13    a confidential document?

11:37:08 14    A.     Yes.

11:37:09 15    Q.     Do you have any idea how this Qorvo submission ended

11:37:13 16    up in your files at Akoustis?

11:37:15 17    A.     No.    But, again, this is primarily gallium nitride

11:37:20 18    PAs, and we did not do gallium nitride PAs at Akoustis, so

11:37:27 19    this would fall into that bucket of very little value at

11:37:30 20    Akoustis.

11:37:31 21    Q.     If you turn to page 2 of Exhibit 160, with the

11:37:37 22    production number AKTS_00141633 on it.

11:37:44 23    A.     Yes.

11:37:45 24    Q.     How was the -- this product or this presentation,

11:37:48 25    this Qorvo presentation that Mr. Aichele forwarded relevant
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 454 of 2283 PageID
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11:37:51   1   to the work you were doing at Akoustis?

11:37:53   2   A.        Zero.

11:37:54   3   Q.        This is another irrelevant Qorvo confidential

11:37:59   4   document that was circulated at Akoustis?

11:38:04   5   A.        Well Mr. Aichele may not have thought it was

11:38:07   6   irrelevant, but I did, because we couldn't do those building

11:38:10   7   blocks.    We couldn't even do these modules in ten years if

11:38:14   8   we wanted to.       Look at all the complexity of those diplexers

11:38:19   9   and the switches and the LNAs and the control, the LNA

11:38:23 10    control, the PA switch control.          We just didn't have that

11:38:26 11    technology.       I mean, you've got to be a very large

11:38:31 12    multi-billion dollar company to have all those different

11:38:33 13    design blocks.       We were just doing simple filters.        So you

11:38:36 14    just -- you know, you just have to ignore marketing people

11:38:40 15    sometimes.

11:38:41 16    Q.        Did you write back to Mr. Aichele and tell him,

11:38:45 17    "Dave, this is all irrelevant.          Stop sending me these

11:38:48 18    confidential Qorvo presentations."?

11:38:52 19    A.        No, I didn't, but he knew.

11:38:54 20    Q.        Mr. Houlden, I've handed you what has been marked as

11:38:58 21    Exhibit 161.       This is a multipage document.       The first page

11:39:02 22    has the production number AKTS_00198736.           And it says on the

11:39:12 23    first page, "Qorvo D and A strategy 22 September 2015."

11:39:19 24                      Do you see that?

11:39:21 25    A.        Yes.
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 455 of 2283 PageID
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11:39:22   1   Q.     Okay.     D and A strategy refers to defense and

11:39:26   2   Aerospace products; is that right?

11:39:28   3   A.     Correct.

11:39:30   4   Q.     And in September 2015, you were still working at

11:39:33   5   Qorvo as the general manager of the wireless connectivity

11:39:39   6   development --

11:39:41   7   A.     Yes.

11:39:42   8   Q.     Business unit?

11:39:42   9   A.     Yes.

11:39:43 10    Q.     Did defense and Aerospace fall within your area of

11:39:46 11    responsibility at Qorvo?

11:39:48 12    A.     No.

11:39:49 13    Q.     Any idea why you would have had a copy of this

11:39:52 14    defense and Aerospace strategy presentation?

11:39:56 15    A.     No idea.

11:39:57 16    Q.     Any idea how this document would have ended up in

11:40:01 17    your files at Akoustis?

11:40:02 18    A.     No idea.    This is all gallium nitride PAs and we were

11:40:06 19    not in that business.     So little to no value at Akoustis.

11:40:11 20    Q.     Mr. Houlden, I've handed you a copy of Exhibits 163

11:40:16 21    and 164.    For the record, Exhibit 163 is an e-mail with the

11:40:21 22    production number AKTS_00076365.

11:40:28 23                   Exhibit 164 is the attachment to Exhibit 163.

11:40:33 24    Exhibit 164 was produced in native format.         The production

11:40:39 25    number for that file was AKTS_00076366.        It is a multipage
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11:40:48   1   spreadsheet.

11:40:50   2                     Mr. Houlden, now that I've handed you

11:40:55   3   Exhibits 163 and 164, do you recall receiving Qorvo's

11:40:59   4   worldwide compensation structure?

11:41:01   5   A.        No, I do not recall receiving it.

11:41:03   6   Q.        Okay.    Exhibit 163 is an e-mail; is that right?

11:41:08   7   A.        Yes.

11:41:09   8   Q.        And the sender of the e-mail was Rohan Houlden, is

11:41:13   9   that right?

11:41:13 10    A.        That is me, yes.

11:41:14 11    Q.        That's you, okay.      And this is an e-mail that you

11:41:18 12    sent on May 29th, 2017?

11:41:20 13    A.        Yes.

11:41:21 14    Q.        And you sent it to someone whose e-mail address is

11:41:26 15    LauraShealy@bellsouth.net.

11:41:30 16    A.        Correct.

11:41:30 17    Q.        Who is -- whose the other than of that e-mail

11:41:33 18    address?

11:41:33 19    A.        Laura Shealy was -- is the wife of the CEO, Jeff

11:41:38 20    Shealy.    And she was the HR manager, I guess, would be her

11:41:42 21    title in 2017.

11:41:43 22    Q.        Okay.    And then if you look at the Exhibit 164, it is

11:41:49 23    a massive spreadsheet.        The first page says "2015

11:42:00 24    compensation tool box main."

11:42:04 25                      Do you see that?
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11:42:04   1   A.     Sorry.    Repeat that?

11:42:06   2   Q.     The first page of Exhibit 164 says, "2015

11:42:11   3   compensation tool box-main" at the top?

11:42:15   4   A.     Yes.    Okay.   Yes.

11:42:16   5   Q.     And then if you look underneath it says "Qorvo

11:42:19   6   compensation - global.     Qorvo compensation - U.S."       Do you

11:42:25   7   see that?

11:42:25   8   A.     Yes.

11:42:26   9   Q.     And then there is also TriQuint legacy compensation

11:42:29 10    structure?

11:42:30 11    A.     Yes.

11:42:31 12    Q.     This is confidential Qorvo information that is

11:42:33 13    reflected in Exhibit 164; right?

11:42:36 14    A.     Yes.

11:42:36 15    Q.     It says right on the first page, "Confidential, For

11:42:40 16    Internal Use Only."

11:42:42 17    A.     Yes.

11:42:42 18    Q.     And in any case, you would expect a company's

11:42:46 19    worldwide compensation structure to be confidential; right?

11:42:49 20    A.     Yes.

11:42:50 21    Q.     You don't recall sending Ms. Shealy Qorvo's worldwide

11:42:54 22    compensation structure in May of 2017?

11:42:57 23    A.     No.

11:42:58 24    Q.     How would this world wide compensation structure have

11:43:02 25    been relevant to Ms. Shealy's work at Akoustis?
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11:43:05   1   A.     She was -- she was probably trying to put a

11:43:08   2   compensation plan together.      So instead of -- probably would

11:43:12   3   have saved her some time and money versus trying to go off

11:43:17   4   to Monster.com and Indeed.com, and try to come up with

11:43:22   5   salary ranges and titles for North Carolina, she could

11:43:27   6   extrapolate out of this.      But I don't think she -- I believe

11:43:31   7   she never used it.     And I can -- now looking at it, it's

11:43:36   8   very complicated.     She didn't use it because the

11:43:39   9   compensation scheme at Akoustis was very different than the

11:43:43 10    compensation scheme at Qorvo.

11:43:46 11    Q.     Just so I'm clear, you don't recall sending Qorvo's

11:43:51 12    global compensation structure to Ms. Shealy, but you do

11:43:55 13    recall that Ms. Shealy never used Qorvo's global

11:43:59 14    compensation structure?

11:44:00 15    A.     I don't know if I remember Laura Shealy not using it,

11:44:05 16    but I think I had further on discussions with the new HR

11:44:10 17    lady, Holly, Holly Steward, or something.         So I'm not sure

11:44:16 18    what Laura did with this document.

11:44:21 19    Q.     And you recall discussing Qorvo's confidential

11:44:24 20    compensation structure with Ms. Shealy's replacement at

11:44:28 21    Akoustis?

11:44:29 22    A.     I don't know if I recall discussing the Qorvo scheme

11:44:33 23    with Holly.    But we never -- she never implemented it

11:44:38 24    because the scheme was very different than Qorvo.

11:44:40 25    Q.     Mr. Houlden, I've handed you what has been marked as
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11:44:44   1   Exhibits 165 and 166.     Exhibit 165 is an e-mail that has the

11:44:50   2   production number AKTS-100139271.       And Exhibit 166 is an

11:44:58   3   attachment to Exhibit 165.      It was produced in native format

11:45:02   4   with the production number AKTS-00139272.         Starting with

11:45:10   5   Exhibit 166, the attachment, you recognize this has the same

11:45:13   6   compensation structure that you sent to Ms. Shealy in 2017?

11:45:17   7   A.     It looks to be -- seems to be less or thin or

11:45:25   8   something.    But, yes, I think it's similar, yes.

11:45:27   9   Q.     And if we go to Exhibit 165, this is your e-mail

11:45:32 10    attaching Qorvo's confidential compensation structure in

11:45:38 11    July of 2019; right, Mr. Houlden?

11:45:38 12    A.     Yes.

11:45:41 13    Q.     Did you have authorization from Qorvo to share the

11:45:44 14    compensation toolbox with Ms. Shealy in 2017?

11:45:48 15    A.     No.

11:45:49 16    Q.     Mr. Houlden, I'd like you to please return to

11:45:54 17    Exhibit 77, which is your severance agreement, which we

11:45:58 18    pulled out twice already today.       We're looking at

11:46:01 19    Exhibit 77?

11:46:02 20    A.     Right.

11:46:02 21    Q.     I would like you to look at page 3 of Exhibit 77,

11:46:06 22    paragraph 6.    There is a provision for the non-solicitation

11:46:09 23    of employees, right?

11:46:11 24    A.     Yes.

11:46:11 25    Q.     And you had agreed that as of September 16, 2016, you
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11:46:17   1   would not attempt to directly or indirectly solicit, divert

11:46:22   2   or hire away, or attempt to solicit, divert or hire away, to

11:46:27   3   or for employees's self or any such company or business

11:46:31   4   organization any employee of Qorvo; is that right?

11:46:33   5   A.       Correct.

11:46:33   6   Q.       So you understood that you were barred for one year

11:46:37   7   from soliciting directly or indirectly Qorvo employees,

11:46:41   8   right?

11:46:41   9   A.       Right.

11:46:42 10    Q.       To come work at Akoustis?

11:46:44 11    A.       Right.

11:46:45 12    Q.       If we could look now at Exhibit 174 which I've handed

11:46:49 13    you.

11:46:49 14    A.       Okay.

11:46:50 15    Q.       Do you recognize this e-mail?

11:46:51 16    A.       No.   This is a long time ago, no.

11:46:53 17    Q.       Okay.    I think you told me earlier today that you did

11:46:57 18    not attempt to recruit Qorvo employees within one year of

11:47:01 19    September 16, 2016; is that right?

11:47:02 20    A.       Correct.

11:47:03 21    Q.       Okay.    If we look at Exhibit 174, I'd like to start

11:47:07 22    at the bottom with the e-mail from Mr. Shealy to yourself.

11:47:10 23    A.       Okay.

11:47:11 24    Q.       On October 7th.    At this point, you had already

11:47:16 25    accepted a position at Akoustis, right?
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11:47:18   1   A.     Yes.

11:47:18   2   Q.     And, in fact, Mr. Shealy was e-mailing your Akoustis

11:47:21   3   account on October 7, 2016?

11:47:24   4   A.     Yes.

11:47:25   5   Q.     And this is approximately three weeks after you

11:47:27   6   signed your severance agreement with Qorvo?

11:47:30   7   A.     Yes.

11:47:31   8   Q.     And as I understand this, Mr. Shealy was asking you

11:47:34   9   for comments on a press release that he intended to issue

11:47:39 10    the following week announcing your hire at Akoustis, right?

11:47:42 11    A.     Yes.

11:47:42 12    Q.     And you wrote back to Mr. Shealy, now moving up to

11:47:46 13    the October 9, 2016, e-mail, do you see that?

11:47:50 14    A.     Yes.

11:47:50 15    Q.     And you noted to Mr. Shealy that there were a number

11:47:53 16    of cons to issuing a press release --

11:47:56 17    A.     Yes.

11:47:57 18    Q.     -- at this time; right?       And then you listed out the

11:48:00 19    disadvantages of Akoustis issuing a press release announcing

11:48:05 20    your hire, right?

11:48:06 21    A.     Right.

11:48:07 22    Q.     The first you said, kind of midway through under the

11:48:10 23    label, "cons" says, "Laura and I have Mike hitting Qorvo

11:48:16 24    very hard right now, calling nearly every BAW DE, looking

11:48:21 25    for the two -- for the best two people willing to move to
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11:48:25   1   CLT."   Do you see that?

11:48:27   2   A.      Yes.

11:48:27   3   Q.      First of all, Laura is Laura Shealy?

11:48:30   4   A.      Yes.

11:48:30   5   Q.      And Mike is Mike Ortiz?

11:48:33   6   A.      Yes.

11:48:33   7   Q.      Mike Ortiz is a recruiter, right?

11:48:37   8   A.      Yes.

11:48:37   9   Q.      "Hitting Qorvo very hard right now, calling nearly

11:48:41 10    every BAW DE."     Does DE stand for device engineer?

11:48:46 11    A.      Probably design engineer.

11:48:48 12    Q.      Design engineer.      Okay.   So you and Ms. Shealy had

11:48:52 13    asked Mr. Ortiz to call Akoustis's design engineers, trying

11:49:00 14    to hirer the two best people who were willing to move to

11:49:05 15    CLT; right?

11:49:05 16    A.      Yeah.    Yes.   Laura already had met with some.        Laura

11:49:11 17    had been already doing that prior to me starting, but yes.

11:49:14 18    Q.      CLT means Charlotte?

11:49:16 19    A.      Yes.

11:49:17 20    Q.      "We will be making a number of offers the next few

11:49:20 21    weeks," is the next sentence, do you see that?

11:49:22 22    A.      Yes.

11:49:23 23    Q.      And by number of offers, you mean offers of

11:49:26 24    employment to Qorvo employees to come work at Akoustis?

11:49:29 25    A.      Yes.
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11:49:29   1   Q.     And then you say, "Rather not rock the apple cart

11:49:33   2   right now."    Do you see that?

11:49:34   3   A.     Yes.

11:49:34   4   Q.     And that was referring to issuing the press release,

11:49:39   5   you were concerned that that would rock the apple cart?

11:49:41   6   A.     Yes.

11:49:41   7   Q.     And then you say, "Plus, prefer not to make it easy

11:49:46   8   for Qorvo of how Mike found the names of all these people."

11:49:50   9                  Do you see that?

11:49:51 10    A.     Yes.

11:49:52 11    Q.     Did the names for the Qorvo employees who Mike Ortiz

11:49:57 12    was calling come from you?

11:49:58 13    A.     I believe I gave him a few names, but he had most of

11:50:01 14    his own names.    But I did give a few names.       You referenced,

11:50:05 15    there was a couple of things today, like Jeff Galipeau,

11:50:10 16    there was two or three people that I knew there that I gave

11:50:14 17    him names to.

11:50:17 18    Q.     Okay.     So that he could recruit them to come to

11:50:20 19    Akoustis?

11:50:20 20    A.     Right.

11:50:21 21    Q.     Okay.     And what did you mean by, "Prefer not to make

11:50:25 22    it easy for Qorvo to find of how Mike found the names."?

11:50:30 23    A.     Yeah, I'm not sure.

11:50:43 24    Q.     Your concern was that Qorvo would read the press

11:50:47 25    release and then look at what you were doing and see that
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11:50:50   1   you had provided names to Mike Ortiz?

11:50:52   2   A.     Yeah, if we hired him.      Possibly, yes.

11:50:57   3   Q.     And then you said, "though, I think I am clean, I

11:51:01   4   want to delay as long as I can, any reason for Qorvo IT to

11:51:05   5   look at my computer and what I looked at on the internet,

11:51:10   6   I.E. contacts in Outlook."

11:51:13   7                 Do you see that?

11:51:14   8   A.     Yes.

11:51:14   9   Q.     So you were concerned that Qorvo IT would look at

11:51:17 10    what you had been doing on your computer and find something

11:51:20 11    that would be problematic for you?

11:51:23 12    A.     Right, because when I'm conversing with Florida, I'm

11:51:26 13    looking up -- I'm conversing with those people on day-to-day

11:51:31 14    activities while I'm at Qorvo.       So obviously with Jeff

11:51:35 15    Galipeau, I was working with those, I had access and

11:51:38 16    different things.     So, you know, I thought I was clean, but

11:51:41 17    you know, there is no reason to have anyone look and try to

11:51:44 18    connect dots if there was no dots to connect.

11:51:49 19    Q.     When you said you thought you were clean, you meant

11:51:52 20    you thought there was no evidence that you had done --

11:51:54 21    A.     Right.

11:51:55 22    Q.     That you had provided names, for example to

11:51:57 23    Mr. Ortiz?

11:51:59 24    A.     I just thought I was clean.       Following the rules of

11:52:01 25    my solicitor agreement, I thought I was clean.
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11:52:04   1   Q.     And this was an e-mail you wrote to Mr. Shealy, the

11:52:07   2   CEO of Akoustis?

11:52:08   3   A.     Yes.

11:52:09   4   Q.     And he said, got it, let's discuss Monday, right?

11:52:12   5   A.     Yes.

11:52:12   6   Q.     And ultimately, do you recall whether the press

11:52:18   7   release was issued?

11:52:19   8   A.     Yes, it was.

11:52:20   9   Q.     And it was delayed by how long?

11:52:22 10    A.     Maybe a couple of weeks.

11:52:24 11    Q.     Would you agree with me that Exhibit 174 reflects a

11:52:28 12    violation of your severance agreement with Qorvo?

11:52:30 13    A.     I guess it's possibly a fine line because I was not

11:52:42 14    talking to the employees and we never hired -- we never

11:52:45 15    hired any of those employees that I knew.

11:52:48 16    Q.     Okay.     So in your view, providing lists of names and

11:52:51 17    instructions to a recruiter on who to call at Qorvo so that

11:52:57 18    those folks could be hired at Akoustis was not directly or

11:53:00 19    indirectly attempting to hire a Qorvo employee?

11:53:04 20    A.     I guess I was not directly, but indirectly, I guess I

11:53:08 21    was in default of that by giving Mike a couple of names.

11:53:16 22    Q.     Exhibit 175, which has the production number

11:53:22 23    AKTS-00209275.

11:53:23 24                   Do you recognize Exhibits 175 and 176?

11:53:27 25    A.     No.
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11:53:28   1   Q.        It appears that Exhibit 175 is an e-mail from David

11:53:32   2   Dyer to your personal e-mail account on October 18, 2016;

11:53:37   3   right?

11:53:37   4   A.        Yes.

11:53:40   5   Q.        And Mr. Dyer at this time he sent the e-mail was an

11:53:46   6   engineering technician at Qorvo; right?

11:53:48   7   A.        He was not an employee.       He was part-time or

11:53:53   8   contract.    Qorvo would not hire him.           Part of the reason why

11:53:57   9   I left -- part of the reason I left Qorvo is James Klein, my

11:54:03 10    boss, was not a fan of growing people and building a team.

11:54:07 11    He liked to hire experienced, expensive engineers, and

11:54:11 12    didn't have the patience to grow young kids.             And David Dyer

11:54:17 13    was a young kid that James Klein didn't want to hire.               He

11:54:21 14    didn't -- he did not like hiring temps. I think David was a

11:54:30 15    temp.    I think James says, I don't like temps.            I don't like

11:54:35 16    to hire temps.

11:54:37 17    Q.        If you look at Exhibit 176, you'll see Mr. Dyer's

11:54:42 18    resume?

11:54:42 19    A.        Yes.

11:54:43 20    Q.        All right.     And you see he's got a section on

11:54:46 21    experience?

11:54:46 22    A.        Yes.

11:54:47 23    Q.        And he reports that from November of 2015 to present,

11:54:52 24    so that would have been October of 2016, he was an

11:54:55 25    electronic technician at Qorvo?
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11:54:57   1   A.     Yes, but my understanding, to my belief, he was not

11:55:01   2   an employee.    He was a temp wanting to get hired.        And Qorvo

11:55:05   3   did not hire him.     He was looking for full-time employment

11:55:12   4   somewhere.

11:55:14   5   Q.     Not to recruit these folks to Akoustis?

11:55:17   6   A.     No.     Because what we found out is all these filtered

11:55:21   7   people down here, they all do diesel engines.         So when I

11:55:27   8   found out that we actually make electric engine, these are

11:55:32   9   all diesel mechanics, so they had no value at Akoustis.           We

11:55:36 10    hired one person in the unit and did not work out, so as you

11:55:40 11    will find that we hired very few Qorvo people because they

11:55:45 12    were diesel mechanics.

11:55:47 13    Q.     Did you try to hire Robert Aigner away from Qorvo?

11:55:56 14    A.     No.

11:55:57 15    Q.     Would you agree with me that the effort to higher

11:56:00 16    Qorvo employees to come work at Akoustis was a near

11:56:02 17    continuous endeavor at Akoustis from the time you arrived in

11:56:07 18    October 2016 until the time you left in July of 2022?

11:56:11 19    A.     No.

11:56:11 20    Q.     Mr. Houlden, I've handed you what's been marked as

11:56:15 21    Exhibit 179.    This is a text exchange that has the

11:56:21 22    production number AKTS_00422451.       It appears to be a

11:56:29 23    conversation between yourself and Mike Ortiz; is that right?

11:56:35 24    A.     Yes.

11:56:35 25    Q.     Mike Ortiz is the recruiter who Akoustis used to
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11:56:39   1   recruit folks to come work at Akoustis; right?

11:56:43   2   A.        Okay.

11:56:43   3   Q.        So it looks like you're working with Mr. Ortiz to

11:56:47   4   fill a role of project manager.

11:56:50   5   A.        Yes.

11:56:51   6   Q.        He says, "Okay.     I will dig into Qorvo and see what I

11:56:55   7   can come up with."

11:56:57   8                     Do you see that?

11:56:57   9   A.        Yes.    This is in '22.    Yes.

11:57:01 10    Q.        Mr. Ortiz wrote to you, "I have a list of 60 Qorvo

11:57:07 11    project managers I'm going after.           Please send me a job

11:57:10 12    description as soon as you can.          Thank you."

11:57:12 13    A.        Right.

11:57:12 14    Q.        Did you write back to Mr. Ortiz and say, "No need to

11:57:15 15    target the 60 Qorvo target managers, hire from somewhere

11:57:20 16    else."?

11:57:20 17    A.        No.

11:57:22 18    Q.        Mr. Houlden, I'm going to hand you Exhibit 182, it's

11:57:26 19    just a cover sheet for us to keep track of.            This is a

11:57:29 20    document that was produced in native format with the

11:57:32 21    production number AKTS-00370379.          I'm handing you a computer

11:57:41 22    that has that document open on it.          I provided the same to

11:57:46 23    your counsel.       I'd like you to take a look at Exhibit 182 in

11:57:50 24    the native format and tell me if you recognize this

11:57:53 25    spreadsheet.
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11:57:55   1   A.     No.

11:57:58   2   Q.     Okay.     You mentioned to me earlier today -- and feel

11:58:02   3   free to please scroll through Exhibit 182.         You mentioned

11:58:06   4   the me earlier today that you were keeping a spreadsheet

11:58:08   5   that had green, yellow, and red highlighting on it.

11:58:12   6   A.     Yes.

11:58:12   7   Q.     And 182, Exhibit 182 appears to have all of that type

11:58:16   8   of highlighting on it?

11:58:18   9   A.     Yes.

11:58:18 10    Q.     Is this the spreadsheet that you were referring to?

11:58:21 11    A.     Yes, the one that -- yeah, I think you referenced a

11:58:24 12    document, the red file or something that I sent to Cameron,

11:58:27 13    is that what you're referring to.

11:58:28 14    Q.     The red list?

11:58:29 15    A.     The red list.     So down at the bottom of this excel

11:58:34 16    file, there are about ten or twelve people that is in that

11:58:37 17    red list, yes.

11:58:38 18    Q.     And this Excel file is a list of Qorvo employees that

11:58:41 19    Akoustis was considering recruiting?

11:58:43 20    A.     This is a list of employees, all different types of

11:58:47 21    employees, with a pH -- people from everywhere.          You have

11:58:54 22    Northrup in here, Ph.D. of Virginia Tech, Ph.D. of Perdue, a

11:59:00 23    Broadcom person, someone in Montreal, Munich, Skyworks,

11:59:06 24    there were some Qorvo people, particularly in the red list.

11:59:09 25    There was a lot that Guillermo said do not recommend not to
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11:59:15   1   hire.   So we were not calling them or anything because he

11:59:17   2   said do not hire.

11:59:18   3   Q.      You mentioned Guillermo, who do you mean Guillermo?

11:59:26   4   A.      Well, just a name here.       Guillermo was one of our

11:59:29   5   employees and he said not to hire all these Qorvo people

11:59:32   6   because they weren't very good.        They weren't team players.

11:59:35   7   They weren't very collaborative.

11:59:37   8   Q.      And Guillermo is Guillermo Moreno?

11:59:41   9   A.      Yes.

11:59:41 10    Q.      All right.     So Exhibit 182 that you're looking at in

11:59:45 11    native version is a list of folks from all different

11:59:48 12    companies that Akoustis was considering hiring?

11:59:52 13    A.      Yes.

11:59:53 14    Q.      Exhibit 183, this is an e-mail exchange with the

11:59:59 15    production number on the first page AKTS-00014900.

12:00:06 16                   Does this document look familiar with you --

12:00:12 17    familiar to you?

12:00:13 18    A.      No.

12:00:13 19    Q.      If you look back on the first e-mail at the back of

12:00:17 20    Exhibit 183, you will see it starts with an e-mail from

12:00:21 21    yourself to Mr. Morgan in January of 2018.

12:00:25 22    A.      Yes.

12:00:26 23    Q.      And the subject of the e-mail was director packaging

12:00:30 24    and tests.     Do you see that?

12:00:31 25    A.      Yes.
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12:00:31   1   Q.     And you asked Mr. Morgan, "Do you know any good

12:00:35   2   candidates?"

12:00:37   3   A.     Right.

12:00:37   4   Q.     And Mr. Morgan wrote back and said, "Not that isn't

12:00:42   5   associated with Qorvo, but if I think of anyone, I'll let

12:00:45   6   you know."

12:00:46   7   A.     Okay.

12:00:47   8   Q.     Right?

12:00:47   9   A.     Yeah.

12:00:48 10    Q.     And then you said, "Who from Qorvo do you think would

12:00:51 11    be good?"

12:00:52 12    A.     Right.

12:00:52 13    Q.     And then Mr. Morgan provided you a list of a number

12:00:56 14    of names of people at Qorvo who he thought might be good for

12:00:59 15    director of packaging and test; right?

12:01:02 16    A.     Yes.

12:01:02 17    Q.     And you also asked what does he think about someone

12:01:05 18    named Pat Pare?

12:01:07 19    A.     Right.

12:01:08 20    Q.     Was Pat Pare an Qorvo employee?

12:01:10 21    A.     I believe so.

12:01:11 22    Q.     Ultimately, Akoustis did hire director of packaging

12:01:15 23    and test from Qorvo, right?

12:01:17 24    A.     This is -- this is 2018; right?        So this was probably

12:01:27 25    right after Mr. Boomgarten left; right?        So we didn't hire
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12:01:34   1   -- did we hire a director of packaging and test?

12:01:38   2   Q.        Maybe I can make it easier.

12:01:40   3   A.        I don't recall in 2018 or anything like that we hired

12:01:45   4   anyone.    Because these people on this list, I didn't think

12:01:48   5   were a good fit, didn't have the experience, what I was

12:01:51   6   looking for.      So I don't recall hiring a director of

12:01:55   7   packaging and test.

12:01:56   8   Q.        Ultimately, Akoustis hired Robert Dry as its director

12:02:00   9   of packaging and test; right?

12:02:02 10    A.        Was he director?   He ended up reporting to Jeff

12:02:06 11    Shealy.    Was he director or VP?

12:02:09 12    Q.        Ultimately Akoustis hired Robert Dry as the

12:02:14 13    vice-president of packaging and testing?

12:02:16 14    A.        Yeah, like eighteen months, two years after this

12:02:18 15    e-mail trail, yes.

12:02:19 16    Q.        And Mr. Dry was an Qorvo employee at the time he was

12:02:23 17    hired by Akoustis?

12:02:25 18    A.        He was -- he had had a job offer from Cree or

12:02:31 19    Wolfspeed and he was in the process of looking for a house

12:02:33 20    in Arkansas that he was looking at accepting the job at Cree

12:02:38 21    or Wolfspeed.     I think it was Wolfspeed he was looking to

12:02:42 22    move to.

12:02:43 23    Q.        Okay.   But my question was at the time Mr. Dry was

12:02:46 24    hired at Akoustis, he was working at Qorvo; is that right?

12:02:49 25    A.        I don't think he started at Wolfspeed.      You need to
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12:02:53   1   check with Mr. Dry on that.

12:02:58   2   Q.     Okay.

12:02:59   3                  (End of videotape deposition.)

12:03:13   4                  THE COURT:   All right.    That concludes that

12:03:15   5   deposition.    And we're ready for the next witness.        I do

12:03:19   6   need to get one thing from counsel at side-bar.          And we'll

12:03:23   7   be ready.

12:03:24   8                  (Side-bar discussion:)

12:09:19   9                  THE COURT:   Okay.   One, I need to know how many

12:09:19 10    exhibits were there total.

12:09:19 11                   MR. MASTERS:   So I was going to ask Your Honor,

12:09:19 12    there were quite a few.

12:09:19 13                   THE COURT:   I know.

12:09:19 14                   MR. MASTERS:   And I wanted to just double-check

12:09:19 15    the list and confer with defense.        Can we do it at the end

12:09:19 16    of the court day.

12:09:19 17                   THE COURT:   We will we need to do it now because

12:09:20 18    we're going to be marking exhibits.

12:09:20 19                   MR. MASTERS:   Can we just start where we were

12:09:20 20    with this next witness?

12:09:20 21                   THE COURT:   I just need to know now how many

12:09:20 22    approximately.

12:09:20 23                   MR. MASTERS:   There is fifty-five.

12:09:20 24                   THE COURT:   Fifty-five.    What we'll do is add

12:09:20 25    fifty-five to the number.      If it turns out that it's not
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12:09:20   1   consistent, then we understand.

12:09:20   2                  MR. MASTERS:    We might have to add one or two.

12:09:20   3                  THE COURT:    We'll just add fifty-six.     We're

12:09:20   4   able to add.    That's not a problem.     The next thing was, is

12:09:20   5   that okay, we'll just add fifty-six?

12:09:20   6                  MR. MASTERS:    Do we have the numbers so I can

12:09:20   7   just write down the numbers where we're going, our last

12:09:20   8   number?

12:09:20   9                  COURT CLERK:    The last number was --

12:09:20 10                   THE COURT:    Because we added to a previous list

12:09:20 11    we added --

12:09:20 12                   COURT CLERK:    The last number we have is 54.

12:09:20 13                   MR. MASTERS:    54.

12:09:20 14                   THE COURT:    54.   And we're going to add

12:09:20 15    fifty-six.    And that makes 110.      So that's pretty easy.      So

12:09:20 16    our next will be 111.       And if we have an issue, we can fix

12:09:20 17    that.   That's not a problem.

12:09:20 18                   Okay.   In connection with the revised, did you

12:09:20 19    take a look at the revisions?

12:09:20 20                   MR. ELKINS:    I did.

12:09:20 21                   THE COURT:    I did request Exhibit B and I did

12:09:20 22    not specify where Faulkner had reviewed the testimony of

12:09:20 23    Houlden, unless there is -- you got a bunch of numbers here,

12:09:20 24    that's worthless pretty much to me, if you cannot show me

12:09:20 25    where he reviewed the Houlden testimony, then those are out.
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12:09:20   1                  MS. AYERS:    Okay.

12:09:20   2                  THE COURT:    Those are out.   I take it he didn't,

12:09:20   3   did he?

12:09:21   4                  MS. AYERS:    For the record, he actually sat and

12:09:21   5   listened to him before his testimony here today.

12:09:21   6                  THE COURT:    Right.   But he didn't include that

12:09:21   7   in his report.

12:09:21   8                  MS. AYERS:    He did not.

12:09:21   9                  THE COURT:    He could have looked at them earlier

12:09:21 10    and he didn't.

12:09:21 11                   MS. AYERS:    Of course, Your Honor.

12:09:21 12                   THE COURT:    So that's out.

12:09:21 13                   MS. AYERS:    That's no problem.

12:09:21 14                   THE COURT:    The next thing is over on page, we

12:09:21 15    just got to be efficient here.        On page -- it's the page

12:09:21 16    under possessed Qorvo materials, at the bottom it has, these

12:09:21 17    two individuals.    As you know that their devices were

12:09:21 18    destroyed in the process, we have a special instruction in

12:09:21 19    that regard.

12:09:21 20                   And so I hate to give a -- I need to give a

12:09:21 21    limited instruction at that time, I know there were some

12:09:21 22    files that were recovered.      But I think the devices that are

12:09:21 23    referenced are the computers, laptop computers.

12:09:21 24                   MR. ELKINS:   I believe that that matches the

12:09:21 25    limine instruction.
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12:09:21   1                  THE COURT:    I think it does, too.

12:09:21   2                  MS. AYERS:    We met and conferred last night

12:09:21   3   regarding that and we adjusted that language for the

12:09:21   4   purposes of satisfying counsel's objection.

12:09:21   5                  THE COURT:    It says all the data deleted, is

12:09:21   6   there a problem there?

12:09:21   7                  MS. AYERS:    We initially had computers and they

12:09:21   8   requested that we change it to data.

12:09:21   9                  THE COURT:    The problem is there is a limiting

12:09:21 10    instruction.    So why should we leave that in?

12:09:21 11                   MS. AYERS:    We can take it out, Your Honor, if

12:09:21 12    you give me --

12:09:21 13                   THE COURT:    That will take care of it.

12:09:21 14                   MS. AYERS:    If you give me fifteen minutes.

12:09:21 15                   THE COURT:    We'll start the witness, or we can

12:09:21 16    just -- either that or give a limiting instruction which

12:09:21 17    probably is better given at the end of the case, because I

12:09:21 18    don't know exactly where we're going to end up with that

12:09:21 19    information, so sure, somebody can take that out.

12:09:21 20                   MS. AYERS:    What I might be able to do, if you

12:09:21 21    let me look at my trial tech, I might have him redact.

12:09:21 22                   THE COURT:    I think that takes care of it now,

12:09:21 23    it's a lot better.

12:09:21 24                   MR. ELKINS:   All the other issues were taken

12:09:21 25    care of.    I raised a testimony, a testimony issue and
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12:09:21   1   Ms. Ayers and I have agreed, she's told me her approach, I

12:09:21   2   have no issues with that.    The only other thing is I just

12:09:21   3   got, I didn't --

12:09:21   4                THE COURT:    I think I just saw that, too.

12:09:22   5                MR. ELKINS:    The only issue, this is related to

12:09:22   6   the same objection we raised about the slides, is that if

12:09:22   7   the jury gets this and it says contains confidential

12:09:22   8   information subject to protective order, on every page --

12:09:22   9                MS. AYERS:    Mr. Elkins, we are only submitting

12:09:22 10    this exhibit for his CV.    I'm okay with removing the back

12:09:22 11    half of that document, the only purpose it is submitted for

12:09:22 12    is the purpose of his CV.

12:09:22 13                 THE COURT:    I think that takes care of it.

12:09:22 14                 MR. ELKINS:    Absolutely.

12:09:22 15                 THE COURT:    We got it all taken care of and get

12:09:22 16    the witness sworn and good luck with your IT person.

12:09:22 17                 Thank you.

12:09:22 18                 MS. AYERS:    Will you give me one moment so I can

12:09:22 19    have my trial director redact that line?

12:09:22 20                 THE COURT:    I'll wait for one moment.

12:09:22 21                 MR. MASTERS:   Thank you, Your Honor.

12:09:22 22                 MR. ELKINS:    Thank you.

12:09:27 23                 (End of side-bar discussion.)

12:09:37 24                 THE COURT:    We're making one adjustment on one

12:09:43 25    slide.   We'll find out how quick they are.
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12:11:37   1               Ms. Ayers, are we all set?

12:11:39   2               MS. AYERS:   We are close to all set, Your Honor.

12:11:41   3   We have issues with electronic transmission by e-mail, but

12:11:46   4   Mr. Buchbinder will have the document soon.

12:11:49   5               THE COURT:   Okay.   Thank you.     We have added

12:11:55   6   numbers so we'll come out with the correct text number.         And

12:11:59   7   then of course you saw all the exhibits that were

12:12:02   8   introduced, they will be re-numbered so that they will have

12:12:05   9   both numbers on them, and it will be through 110.        It may be

12:12:09 10    that there is one less than that, but we're going to start

12:12:12 11    with, as they're introduced, 111.     We'll start at 111.       You

12:14:18 12    may see on one document a deletion or a redaction, it may

12:14:24 13    just show a black line, I'm not sure which.       Don't make any

12:14:28 14    inference from that, it's simply that we had to exclude

12:14:32 15    based on what has been submitted.

12:17:11 16                You may call your next witness.

12:17:13 17                MS. AYERS:   Thank you, Your Honor.       We call

12:17:15 18    Kevin Faulkner.

12:17:16 19                THE COURT:   The witness will come forward and

12:17:21 20    approach the clerk and be sworn.

12:17:26 21                COURT CLERK:    Please raise your right hand.

12:17:29 22    Please state and spell your full name for the record.

12:17:33 23                THE WITNESS:    Kevin Thomas Faulkner, K-E-V-I-N,

12:17:39 24    T-H-O-M-A-S, F-A-U-L-K-N-E-R.

12:17:44 25                KEVIN THOMAS FAULKNER, having been duly sworn,
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12:17:49   1   was examined and testified as follows:

12:17:52   2                        DIRECT EXAMINATION

12:18:00   3   BY MS. AYERS:

12:18:02   4   Q.      Good afternoon, Mr. Faulkner.

12:18:03   5   A.      Good afternoon.

12:18:04   6   Q.      Can you please introduce yourself to the jury.

12:18:07   7   A.      Certainly.   I'm Kevin Faulkner.     I live in New York

12:18:11   8   City with my wife, my four-year old daughter, and my

12:18:14   9   one-and-a-half year old son, and I'm a forensic examiner, I

12:18:18 10    have been doing that for the past twenty years.

12:18:21 11    Q.      And can you explain to the jury what work you were

12:18:24 12    asked to do in this case?

12:18:26 13    A.      Certainly.   In this case, I was asked to examine

12:18:31 14    certain computer systems and other devices from Akoustis

12:18:36 15    employees and look for any Qorvo information present on

12:18:40 16    those systems.    I was also asked to look at what, if

12:18:44 17    anything, I could figure out about what people did with any

12:18:47 18    Qorvo information that was present.       Such as did they open

12:18:51 19    it, did they copy it, did they make changes to it, that sort

12:18:56 20    of thing.

12:18:57 21    Q.      And have you rendered any overall opinions in this

12:19:00 22    case?

12:19:00 23    A.      I have.

12:19:01 24    Q.      And what are your opinions?

12:19:03 25    A.      I found in my examination that there was a good deal
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12:19:08   1   of Qorvo information present on the Akoustis computers that

12:19:13   2   I examined, and that many of the files were opened to

12:19:17   3   different points in time, that changes were made to some of

12:19:21   4   those files, and things like that.

12:19:22   5   Q.      And before we get into the details of your analysis

12:19:25   6   in this case, I would like to talk a little bit about your

12:19:28   7   background.

12:19:30   8   A.      Okay.

12:19:31   9                   MS. AYERS:   Your Honor, may I approach the bench

12:19:33 10    to hand Mr. Faulkner PTX 1720, which is Appendix A?

12:19:39 11                    THE COURT:   You may.

12:19:54 12    BY MS. AYERS:

12:20:02 13    Q.      Mr. Faulkner, do you recognize exhibit -- rather, PTX

12:20:08 14    1720?

12:20:08 15    A.      Yes.    This is my CV.

12:20:10 16    Q.      And is PTX 1720 a true and correct copy of your CV?

12:20:17 17    A.      Yes, I think there is a couple more testimony matters

12:20:20 18    that I have performed since this CV was submitted, but

12:20:26 19    otherwise it's correct.

12:20:27 20                    MS. AYERS:   Your Honor, I offer into evidence

12:20:29 21    the document with the reference number PTX 1720.

12:20:32 22                    THE COURT:   Marked and received as 111.

12:20:38 23                    (Trial Exhibit No. 111 was admitted into

12:20:40 24    evidence.)

12:20:40 25    BY MS. AYERS:
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12:20:42   1   Q.     Mr. Buchbinder, could you please show the jury

12:20:45   2   Exhibit 111.

12:20:48   3                  While Mr. Buchbinder is pulling up your CV --

12:21:03   4   Mr. Buchbinder, I apologize, it is PTX 1721, which was

12:21:09   5   admitted into evidence just now as Exhibit 111.

12:21:13   6                  Mr. Faulkner, can you please tell the jury where

12:21:17   7   you currently work?

12:21:18   8   A.     Yes.    I work at a company called Palo Alto Networks

12:21:23   9   in a Call Unit 42.

12:21:25 10    Q.     What is Palo Alto Networks?

12:21:27 11    A.     Palo Alto Networks is one of the largest cyber

12:21:32 12    security companies, they make products and software that

12:21:35 13    help protect computers from hackers and things like that.

12:21:38 14    Q.     And what is Unit 42?

12:21:40 15    A.     Unit 42 is a consulting group within Palo Alto

12:21:45 16    Networks, so this group helps to investigate hacking and

12:21:50 17    intrusion types of things.      They consult with companies on

12:21:53 18    how to better protect their information.       And they also

12:21:56 19    provide digital forensics investigation and testimony like I

12:22:00 20    am doing here today.

12:22:01 21    Q.     And what is digital forensics?

12:22:04 22    A.     Digital forensics is, it's the analysis of digital

12:22:11 23    information, so computers, computer storage devices, mobile

12:22:16 24    phones, things like that, to analyze and try to figure out

12:22:20 25    something about what happened on that device and report upon
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12:22:23   1   it, like in court.

12:22:26   2   Q.     In terms of trade secrets related matters, what type

12:22:30   3   of knowledge or experience do you have?

12:22:32   4   A.     I have worked on many dozens, if not hundreds of

12:22:37   5   trade secrets matters in my career.       Some of those have gone

12:22:41   6   to trial, and I have testified in other trials in trade

12:22:46   7   secrets matters.    But many others stop before that point.

12:22:50   8   Q.     Have you done any work with respect to digital

12:22:54   9   forensics outside of the litigation context?

12:22:58 10    A.     Yes.    I also do quite a bit of work on internal

12:23:02 11    investigations, when companies investigate some issue.         I

12:23:09 12    worked on things like recovering data from iPhones, even.

12:23:12 13    Q.     Do you currently have any certifications related to

12:23:16 14    your field of expertise?

12:23:18 15    A.     Yes.    I have one certification called the CCE or

12:23:23 16    Certified Computer Examiner, that's put out by a group

12:23:27 17    called the International Society of Computer Forensic

12:23:31 18    Examiners.    And another certification I hold is the GCFE,

12:23:35 19    that's put out by a group called GIAC, and it's GIAC

12:23:45 20    Computer Forensic Examiner.

12:23:46 21                  MS. AYERS:   Your Honor, at this time based on

12:23:48 22    his education, training, and professional experience, Qorvo

12:23:52 23    tenders Mr. Kevin Faulkner as an expert in the field of

12:23:56 24    digital forensics.

12:23:59 25                  MS. CAI:   No objection, Your Honor.
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12:24:00   1                 THE COURT:   He's recognized as an expert in the

12:24:02   2   field of digital forensics.

12:24:07   3                 Proceed.

12:24:08   4                 MS. AYERS:   Thank you, Your Honor.

12:24:09   5   BY MS. AYERS:

12:24:10   6   Q.     Mr. Faulkner, I would like to talk a little bit more

12:24:12   7   about the specific work that you performed in this case.

12:24:14   8   First, before we start, did you assist in the preparation of

12:24:18   9   slides as a part of preparing for your testimony today?

12:24:21 10    A.     Yes, I did.

12:24:22 11    Q.     Mr. Buchbinder, can you please pull up PDX 5.2.

12:24:28 12                  Mr. Faulkner, are these the slides that you

12:24:33 13    prepared for your testimony today?

12:24:36 14    A.     Yes.

12:24:37 15    Q.     Mr. Faulkner, can you tell the jury what you did as

12:24:41 16    an expert in this case?

12:24:43 17    A.     Certainly.     I examined computer devices, so computers

12:24:50 18    and other storage devices from Akoustis employees.         I

12:24:54 19    searched for Qorvo materials, Qorvo information on those

12:24:58 20    devices.    Any information that I identified, I provided to

12:25:04 21    counsel for Akoustis who reviewed it for any sort of

12:25:07 22    privilege issues and then produced it to counsel for Qorvo

12:25:11 23    so that the other experts involved in the case could look

12:25:14 24    through that information and understand what it means.

12:25:17 25                  I also investigated whether or not any of the
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12:25:22   1   documents found were opened or modified or things like that.

12:25:26   2   Q.     Did your forensic investigation involve the use of

12:25:32   3   metadata?

12:25:34   4   A.     Yes, it did.

12:25:36   5   Q.     And can you explain to the jury what metadata is?

12:25:39   6   A.     Certainly.     Metadata just means data about data.

12:25:44   7   It's information about something else.      So, for example, a

12:25:48   8   file can have information in it, metadata about that file

12:25:52   9   could be the file's name or a date when the file was created

12:25:56 10    and things like that.

12:25:57 11    Q.     And did your investigation require or use what's

12:26:02 12    called MD5 Hash?

12:26:06 13    A.     Yes, it did.     MD5 Hash is a -- it's a mathematical

12:26:13 14    calculation on a set of data, it comes up with a little

12:26:17 15    number that represents that data and if another file is the

12:26:23 16    same, it will have the name MD5 Hash, but if there is any

12:26:27 17    differences between the file, then it will not have the same

12:26:30 18    MD5 Hash, so it's kind of like a fingerprint or DNA for

12:26:36 19    being able to match two files as being the same or

12:26:39 20    different.   If you change one little thing, you change a

12:26:42 21    coma to a period in a file, then it will have a totally

12:26:45 22    different MD5 Hash.

12:26:47 23    Q.     Were you able to determine if Akoustis possessed any

12:26:50 24    Qorvo information as a part of your forensic investigation?

12:26:53 25    A.     Yes, I was able to determine that.
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                                      #: 40456                             812
                                      Faulkner - direct

12:26:55   1   Q.     Mr. Buchbinder, could you please pull up PDX 5.3.

12:27:00   2               Mr. Faulkner, can you explain to the jury how

12:27:05   3   many Qorvo files you found on the computers and other

12:27:09   4   electronic devices of Akoustis's employees?

12:27:12   5   A.     Certainly.

12:27:14   6               The first point here, the over 9,000 files, that

12:27:19   7   refers to a list of Qorvo files that I received from another

12:27:25   8   expert in this case, Dr. Shanfield.     He reviewed

12:27:30   9   information, he compiled a list and provided that to me of

12:27:34 10    certain Qorvo files, Qorvo materials.

12:27:37 11                I then searched across all of the Akoustis

12:27:41 12    devices that I had access to looking for those files either

12:27:44 13    by file name or by the MD5 Hash that we just talked about.

12:27:49 14    And I identified over 9,000 instances of those Qorvo files

12:27:54 15    from Dr. Shanfield present on the Akoustis systems.

12:27:57 16                In addition to that, I also found over 500,000

12:28:03 17    unique Qorvo e-mail messages that were brought over to

12:28:08 18    Akoustis by two of the -- two of the Akoustis employees that

12:28:14 19    I looked into.

12:28:17 20                There are more e-mails than that, but that was

12:28:20 21    the unique set of e-mails between the two people.

12:28:23 22                And then in addition, I also found 279 gigabytes

12:28:29 23    of data from a Qorvo computer that was present on computer

12:28:35 24    devices for one of the Akoustis employees.      So these were

12:28:39 25    backups of the computer, like a copy of their Qorvo computer
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                                        Faulkner - direct

12:28:44   1   present on their Akoustis devices, taken at several

12:28:50   2   different points in time from that Qorvo computer.

12:28:53   3   Q.     And Mr. Buchbinder, can you please display reference

12:28:59   4   number PTX 1725N, which is Appendix F, the file named

12:29:08   5   Appendix F.

12:29:09   6                 THE COURT:   Just so everybody understands, these

12:29:12   7   are demonstratives.     You will not have them.     It's the

12:29:17   8   testimony that is important that counts.       If you have a

12:29:20   9   discrepancy between the demonstrative and testimony,

12:29:22 10    obviously you will accept the testimony and disregard

12:29:25 11    anything on the demonstrative that you deem inconsistent.

12:29:30 12                  Counsel may proceed.

12:29:31 13                  MS. AYERS:   Thank you, Your Honor.

12:29:33 14    BY MS. AYERS:

12:29:33 15    Q.     Mr. Faulkner, do you recognize this native file which

12:29:36 16    has a reference number of PTX 1725?

12:29:39 17    A.     Yes.

12:29:40 18    Q.     Can you tell the jury what this file is?

12:29:44 19    A.     This file is a list of those Qorvo materials that I

12:29:51 20    found present on various different Akoustis devices.         The

12:29:55 21    over 5,000.

12:29:59 22    Q.     Mr. Faulkner, can you please explain what information

12:30:04 23    is found in column A of this file?

12:30:06 24    A.     A lists the custodian, meaning the Akoustis employee

12:30:12 25    that this device and this finding relates to.
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                                      #: 40458                             814
                                      Faulkner - direct

12:30:15   1   Q.     And what does column B --

12:30:17   2               THE COURT:    Let me suggest that our TX cut that

12:30:23   3   out and blow that up, if it's possible.     It's pretty

12:30:26   4   routinely done, but I'm sure it is.

12:30:29   5               MS. AYERS:    It's a native file, Your Honor.

12:30:31   6               THE COURT:    That's not a problem -- well, that's

12:30:33   7   not -- that actually --

12:30:36   8               MS. AYERS:    I too have eyes that make it

12:30:38   9   difficult to see small print, Your Honor.

12:30:44 10    BY MS. AYERS:

12:30:45 11    Q.     Mr. Faulkner, can you please explain the contents of

12:30:49 12    column B?

12:30:50 13    A.     So the second column there is the device, that's an

12:30:54 14    identifier for which computer or which removable drive it

12:30:59 15    was on which I found this Qorvo item.

12:31:05 16    Q.     And can you explain what is in column D?

12:31:08 17    A.     D is the key word, and in this instance meaning a

12:31:16 18    file name I was searching for.    Again I searched by file

12:31:19 19    name and also MD5 Hash, so that was the file name that I was

12:31:23 20    searching for and found it to match here.

12:31:25 21    Q.     And can you explain what column E means?

12:31:29 22    A.     So E says at the very top hash hit, I mean MD5 Hash,

12:31:35 23    this is saying whether or not this particular file match on

12:31:41 24    MD5 Hash with the list that I was provided from

12:31:43 25    Dr. Shanfield, so if it says true, then it matched on that
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                                       #: 40459                             815
                                       Faulkner - direct

12:31:47   1   hash, but if it says fails, then it did not match.

12:31:50   2   Q.     Can you explain why there are faults in the MD5

12:31:53   3   hashes in your list of files?

12:31:57   4   A.     Absolutely, again, I was searching by both name and

12:32:00   5   hash, if it matched on name or if it matched on hash, I

12:32:05   6   included that as a match.     So the ones that say false on MD5

12:32:09   7   Hash hit means that that file is not exactly the same as the

12:32:14   8   version that was provided in a list to me by Dr. Shanfield,

12:32:20   9   but the names still matched.     Same name but something has

12:32:24 10    changed in the content.

12:32:25 11                 MS. AYERS:   Your Honor, I offer this native

12:32:27 12    document which has a reference number of PTX 1725 into

12:32:31 13    evidence.

12:32:32 14                 THE COURT:   Marked and received as 112.

12:32:35 15                 (Trial Exhibit No. 112 was admitted into

12:32:42 16    evidence.)

12:32:42 17    BY MS. AYERS:

12:32:42 18    Q.     When you were performing your forensic inspection,

12:32:45 19    Mr. Faulkner, were you able to identify the specific files

12:32:48 20    that each individual employee possessed?

12:32:52 21    A.     Yes, I was.

12:32:53 22    Q.     Mr. Buchbinder, could you please display PDX 5.4 for

12:32:59 23    the jury?

12:33:00 24                 Mr. Faulkner, can you please explain to the jury

12:33:06 25    what is shown on PDX 75.4 using Mr. Vetury as an example?
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                                      #: 40460                             816
                                      Faulkner - direct

12:33:12   1   A.      Certainly.   So Mr. Vetury is the bottom row in this

12:33:17   2   list.   And you can see on the left most column it has the

12:33:21   3   person's name, the Akoustis's employees' name, so for that

12:33:26   4   example, Rama Vetury, the next column over has their title

12:33:32   5   at Akoustis, in this case, principal engineer.      The next

12:33:35   6   column lists what Qorvo data that I found for that

12:33:38   7   particular Akoustis employee.

12:33:42   8                So for Mr. Vetury out of those 9,000 plus files

12:33:46   9   I found in total, 2,273 of those files were found

12:33:51 10    particularly on Mr. Vetury's devices.     For him, I also found

12:33:59 11    175,075 unique Qorvo e-mails.    He was one of the two

12:34:03 12    employees I mentioned before that had a large set of Qorvo

12:34:07 13    e-mails present on his Akoustis devices.     And he is also the

12:34:11 14    individual for which I found the 279 gigabytes of backup

12:34:17 15    data from a Qorvo computer present on one of his devices.

12:34:26 16    Q.      Mr. Faulkner, can you explain to the jury what backup

12:34:30 17    data is?

12:34:30 18    A.      Yes, this backup data is a copy of all the

12:34:34 19    information from the source computer, in this case his Qorvo

12:34:39 20    computer, taken at different points in time.      So there is

12:34:42 21    one backup on a given date and then there is additional

12:34:46 22    backups at other dates.   And all of that in total across all

12:34:50 23    the dates that were backed up sums out to 279 gigabytes of

12:34:55 24    data.

12:34:56 25    Q.      Will a forensic examination like the one that you
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                                      #: 40461                             817
                                      Faulkner - direct

12:34:59   1   performed identify every single document that a person

12:35:02   2   possessed that belonged to another company?

12:35:05   3   A.     No, it won't.

12:35:06   4   Q.     Can you explain to the jury why not?

12:35:09   5   A.     Well, for a couple of reasons.     Number one, it's not

12:35:15   6   going to find documents that have been changed so much that

12:35:20   7   I can't tell that they are a Qorvo document anymore.       For

12:35:24   8   example, I was saying before I matched on file names and

12:35:28   9   hash values, if the name is totally different and the

12:35:31 10    contents is different, but it really was a Qorvo document

12:35:34 11    that has been changed so much, I'm not going to match it on

12:35:38 12    name or hash value and I wouldn't even find it in some key

12:35:42 13    word searching that I performed initially to find that total

12:35:45 14    set of possible Qorvo documents.    Again, for example, the

12:35:49 15    name Qorvo or one of its other names like RFMD has been

12:35:53 16    removed from that file.

12:35:55 17                Second, I'm not looking at everything that ever

12:36:01 18    existed, I'm looking at what was available and what was

12:36:04 19    provided to me to investigate.    So you see all the way on

12:36:07 20    the right-hand column, I have noted that for several of

12:36:13 21    these Akoustis employees, I didn't necessarily get every

12:36:17 22    computer they ever used.

12:36:20 23                Mr. Vetury, again, as an example, the bottom

12:36:23 24    row, he started at Akoustis in August of 2015, but the

12:36:29 25    computer that I received from him started in January of
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                                       #: 40462                             818
                                       Faulkner - direct

12:36:32   1   2016.    I didn't get that first computer or computers he was

12:36:36   2   using.   I got from January 2016 and forward.

12:36:40   3                 And last, the removal of the devices, like USB

12:36:46   4   thumb drives, or external hard drives, or things like that.

12:36:50   5   I didn't get all of those that had been used, connected, or

12:36:55   6   plugged in by the Akoustis employees that I examined.         I got

12:36:59   7   some of them, but when I looked at their computer systems, I

12:37:03   8   found connection information about other drives that I

12:37:07   9   didn't receive.   And I listed here that, you know, again for

12:37:13 10    Mr. Vetury, there were sixty-nine of these removable devices

12:37:17 11    that I did not receive that he had connected to his computer

12:37:21 12    systems.

12:37:22 13    Q.       Did you review any of the e-mail accounts of the

12:37:27 14    Akoustis employees included in your investigations to

12:37:31 15    determine what information was included in their e-mails?

12:37:34 16    A.       Not for my work identifying the Qorvo files that went

12:37:41 17    toward that 9,000 number that I mentioned before, over

12:37:46 18    9,000.   That did not include the e-mails, that was only

12:37:49 19    files on the computer, e-mails were separate.       I later

12:37:52 20    looked at some e-mails when focusing on some specific

12:37:56 21    documents that I'll talk about later, but I didn't include

12:37:59 22    that when searching across the computers for Qorvo

12:38:02 23    information, Qorvo files.

12:38:04 24    Q.       Mr. Faulkner, I would like to walk through this

12:38:06 25    particular analysis that you performed with respect to what
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                                        #: 40463                             819
                                        Faulkner - direct

12:38:12   1   Qorvo information Akoustis possessed using Mr. Houlden as an

12:38:16   2   example.

12:38:17   3   A.     Okay.

12:38:22   4   Q.     Did you find any Qorvo files on Mr. Houlden's

12:38:26   5   computer?

12:38:27   6   A.     Yes.    I found 6,303 instances or copies of Qorvo

12:38:36   7   files on Mr. Houlden's computer systems.

12:38:38   8   Q.     Mr. Buchbinder, can you please pull up PDX 5.5?

12:38:44   9                  Can you explain to the jury how you found 6,303

12:38:51 10    Qorvo files, but only 852 of those files had any file names,

12:38:58 11    and 859 only had unique MD5 Hash values?

12:39:03 12    A.     Yes.    While those 850 and change numbers were the

12:39:08 13    unique by name or hash, there were so many copies of those

12:39:13 14    files that it actually added up to 6,303 across multiple

12:39:18 15    different computer systems and in different folders on those

12:39:21 16    computers.

12:39:23 17    Q.     And was Akoustis -- strike that.

12:39:27 18                   Was the production of information that you

12:39:30 19    looked at with respect to Mr. Houlden's materials incomplete

12:39:36 20    in any regard?

12:39:37 21    A.     It was.    I did not receive a Microsoft one drive or

12:39:41 22    share point data, had some server data for Mr. Houlden, I

12:39:46 23    did receive that for other Akoustis employees.        And I did

12:39:49 24    not receive thirty-seven unique removable drives from Mr.

12:39:55 25    Houlden that I saw connected to his different Akoustis
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                                        #: 40464                             820
                                        Faulkner - direct

12:39:57   1   computers.    Notably six of those removable drives that I

12:40:02   2   didn't receive were also connected to the computers of other

12:40:06   3   Akoustis employees that I investigated.

12:40:09   4                  One of them even had a folder on it named Qorvo

12:40:14   5   laptop.    A removable drive that I did not receive, I could

12:40:21   6   not examine, but I found indications on some of the

12:40:25   7   computers of Mr. Houlden that recorded some forensic

12:40:30   8   artifacts, little bits of information that I could pull

12:40:33   9   together and see that there was a Qorvo laptop folder on

12:40:37 10    this removable drive even though I didn't have that

12:40:40 11    removable drive.

12:40:41 12    Q.        Did you find any evidence that Mr. Houlden possessed

12:40:45 13    many of the documents submitted into evidence at this trial?

12:40:49 14    A.        Yes, I did.

12:40:51 15    Q.        Mr. Buchbinder, could you please pull up PDX 5.6.

12:40:56 16                   Mr. Faulkner, can you please explain to the jury

12:41:04 17    what information is included in the chart on this slide?

12:41:07 18    A.        Certainly.    So this is a portion of the list that I

12:41:14 19    talked about before, matching on file names and MD5 Hash

12:41:18 20    value.    This is specifically for Mr. Houlden's devices, and

12:41:22 21    there was a new column added all the way to the left where

12:41:26 22    it lists the trial exhibit number, or Mr. Houlden's

12:41:29 23    deposition exhibit number for the ones that match.

12:41:31 24    Q.        And just so that your testimony is clear, Mr.

12:41:34 25    Faulkner, the information that relates to custodian device
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                                        #: 40465                             821
                                        Faulkner - direct

12:41:41   1   keyword hash hit and name is found in Exhibit 112, which was

12:41:47   2   Appendix F; is that correct?

12:41:48   3   A.     Yes, that's right.

12:41:51   4   Q.     Mr. Faulkner, if a person wanted to search

12:41:55   5   Exhibit 112, which is your Appendix F, for the file names

12:41:59   6   that you see displayed here on PDX 5.6, would they find all

12:42:04   7   the file names that are listed here?

12:42:06   8   A.     Yes.

12:42:14   9   Q.     Did you analyze whether or not Mr. Houlden returned

12:42:19 10    everything -- every file that was a Qorvo file to Qorvo when

12:42:22 11    he left his company?

12:42:24 12    A.     I did analyze that, yes.

12:42:28 13    Q.     And did your forensic inspection show how Mr. Houlden

12:42:33 14    came to possess those Qorvo files?

12:42:36 15    A.     Some of them, yes.

12:42:38 16    Q.     I would like to walk the jury through that.

12:42:42 17    Mr. Buchbinder, can you please display PDX 5.8?

12:42:47 18                  Mr. Faulkner, can you please explain to the jury

12:42:58 19    the results of your forensic inspection of Mr. Houlden's

12:43:02 20    devices?

12:43:03 21    A.     Certainly.

12:43:04 22                  So I mentioned before a removable drive, a USB

12:43:10 23    thumb drive that had a Qorvo laptop folder on it.         I'm

12:43:15 24    listing up top here a few of the folder names that I saw

12:43:18 25    related to that Qorvo laptop folder on that removable drive
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                                       Faulkner - direct

12:43:22   1   and they included folders like 5G and 5-gigahertz Wi-Fi

12:43:28   2   filter inside of Qorvo laptop.

12:43:30   3                  My analysis showed that files were copied into

12:43:35   4   those folders, and other folders, on specifically

12:43:40   5   September 14th of 2016.

12:43:42   6                  A few days later, September 16th is when

12:43:46   7   Mr. Houlden executes a severance agreement and departs from

12:43:51   8   Qorvo, that's his last day at Qorvo.      And then below the red

12:43:55   9   line, that's when he starts working at Akoustis on

12:43:58 10    September 19th, 2016.

12:44:01 11                   And on September 21st, I found that that

12:44:05 12    removable drive, that again, I didn't get, but just looking

12:44:09 13    at the computers for Mr. Houlden, I can see that drive was

12:44:13 14    plugged into his Akoustis computer and that twelve folders

12:44:17 15    that included Qorvo information were copied over on to his

12:44:21 16    Akoustis computer.

12:44:22 17    Q.     Mr. Faulkner, did you also analyze whether or not

12:44:25 18    Mr. Houlden accessed the Qorvo files that you discovered on

12:44:30 19    his devices?

12:44:31 20    A.     Yes, I analyzed that as well.

12:44:34 21    Q.     Mr. Buchbinder, could you please pull up PTX 1733,

12:44:41 22    which is it entitled Appendix N, axiom jump list.        And could

12:44:50 23    you please blow up the first few columns, Mr. Buchbinder.

12:44:57 24    Thank you.

12:44:59 25                   Mr. Faulkner, do you recognize PTX 1733?
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                                       #: 40467                             823
                                       Faulkner - direct

12:45:03   1   A.      Yes, this is one of the appendixes to my report.

12:45:07   2   Q.      Can you explain what information is found in PTX

12:45:15   3   1733?

12:45:16   4   A.      Certainly.   This is information specifically for the

12:45:22   5   Qorvo materials that I found information on on the Akoustis

12:45:29   6   devices, again, listing which employee or custodian in the

12:45:34   7   first column, which device and then the rest of this is all

12:45:38   8   information from one of the types of forensic artifacts that

12:45:44   9   I look at when I'm investigating what types of files

12:45:47 10    somebody opened or accessed.     This one is specifically an

12:45:50 11    artifact called jump lists.

12:45:55 12                 MS. AYERS:   Your Honor, I move to admit PTX 1733

12:45:58 13    into evidence.

12:45:59 14                 THE COURT:   Marked and received as 113.

12:46:04 15                 (Trial Exhibit No. 113 was admitted into

12:46:05 16    evidence.)

12:46:05 17    BY MS. AYERS:

12:46:05 18    Q.      Mr. Faulkner, in your response just now, you

12:46:09 19    indicated that this was one of the reports that you

12:46:12 20    generated that show where Akoustis's employees accessed the

12:46:18 21    files contained in Exhibit 112.     Were there other reports

12:46:27 22    that you created that show when an Akoustis employee

12:46:32 23    accessed a file that was contained in Exhibit 112?

12:46:37 24    A.      Yes, there were others as well.

12:46:39 25    Q.      Mr. Buchbinder, can you please display PTX 1726,
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                                       #: 40468                             824
                                       Faulkner - direct

12:46:44   1   which is entitled Appendix G, X ways forensic file listing

12:46:51   2   utility access artifacts.

12:46:55   3                   Mr. Faulkner, do you recognize PTX 1726?

12:47:01   4   A.      I do.    This is another appendix from my report.

12:47:06   5   Q.      What are entitled access artifacts very briefly?

12:47:11   6   A.      This is just a different forensic artifact that also

12:47:15   7   shows what files have been opened, specifically for

12:47:18   8   Microsoft Office documents.

12:47:21   9                   MS. AYERS:   Your Honor, I move to admit PTX 1726

12:47:26 10    into evidence.

12:47:27 11                    THE COURT:   Marked and received as 114.

12:47:31 12                    (Trial Exhibit No. 114 was admitted into

12:47:31 13    evidence.)

12:47:32 14                    THE COURT:   And we are going to take our lunch

12:47:34 15    break at this time.     Ladies and gentlemen, we'll come back

12:47:37 16    in forty-five minutes.       I appreciate your patience today.

12:47:41 17    Don't discuss the case amongst yourselves, nor let anybody

12:47:45 18    to talk to you about the case.      Continue to keep that in

12:47:48 19    mind.   We still have a ways to go, although we are making

12:47:53 20    good progress.     I'm going to let you be excused to the jury

12:47:57 21    room for lunch.     I'll sit here just for a moment.     Thanks

12:48:01 22    very much.

12:48:01 23                    (Jury exiting the courtroom at 12:48 p.m.)

12:48:24 24                    THE COURT:   We'll let everyone be seated.

12:48:29 25                    THE WITNESS:   Would you like me to step down?
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12:48:31   1                 THE COURT:   You're good right now, because I

12:48:33   2   have to tell you as the testimony you have given, counsel

12:48:36   3   cannot discuss that with you.      Of course you haven't

12:48:40   4   completed your testimony, there is something else they can

12:48:46   5   discuss, but anything that you have testified to is part of

12:48:48   6   the record.

12:48:51   7                 THE WITNESS:    Yes, Your Honor.

12:48:52   8                 THE COURT:   That's how we're going to handle

12:48:53   9   that.    You will get -- we will come back at 1:30.       That

12:48:58 10    means that you're to be here five minutes in advance so we

12:49:02 11    can start right on time.     Thank you very much.     You may step

12:49:06 12    down.

12:49:06 13                  THE WITNESS:    Understood.   Thank you, Your

12:49:08 14    Honor.

12:49:08 15                  THE COURT:   I do need to check and make sure as

12:49:12 16    to exactly where we are with everything else.        We have -- we

12:49:22 17    have four more witnesses for this afternoon.        Will we get to

12:49:29 18    Mr. Dryer?    Do you think we will or not?

12:49:41 19                  MR. MASTERS:    Well, Your Honor, maybe part of

12:49:44 20    the wild card is Mr. Aichele, since he is their witness and

12:49:51 21    they will be doing a direct of him after we do our cross.

12:49:54 22                  THE COURT:   I agree.

12:49:55 23                  MR. MASTERS:    Your question is if we get to

12:49:56 24    Mr. Dyer, I'm optimistic we will.

12:50:00 25                  THE COURT:   That will be good.
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12:50:01   1                MR. MASTERS:    And even if we had more time, we

12:50:04   2   would then plan to play the video deposition of Mr. Kwon,

12:50:07   3   since it's not too long.

12:50:08   4                THE COURT:    I believe you have all that

12:50:11   5   material.   We did not get a response to Kwon.      We will make

12:50:16   6   sure they got it.

12:50:17   7                MR. MASTERS:    It's short.

12:50:20   8                THE COURT:    It is short, we looked at it.     I

12:50:22   9   don't think there are any objections.      I don't think there

12:50:25 10    were any -- there is one that was sustained.       I have got it.

12:50:29 11    I have got it.    We'll look at it again.

12:50:31 12                 MR. MASTERS:    Thank you.

12:50:32 13                 THE COURT:    We'll take one more look and try to

12:50:34 14    get that out for you.     Okay.   I think that's it.   We will be

12:50:38 15    staying until 5:30 today.    We're not going through that

12:50:41 16    situation again.

12:50:49 17                 COURT CLERK:    Currently plaintiffs are at

12:50:52 18    7 hours 49 minutes and 34 seconds.      Defendants are at

12:50:58 19    4 hours 25 minutes and 1 second.

12:51:02 20                 MR. MASTERS:    Thank you.

12:51:05 21                 THE COURT:    I think we will have a day in which

12:51:10 22    we add pretty well to that.       That's useful.   We know what we

12:51:14 23    plan to check on.   Are there going to be anymore

12:51:17 24    demonstratives?    I think everybody understands what we

12:51:20 25    cannot do with demonstratives now, and I want to make sure
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12:51:23   1   that I check with defense counsel on that, because I'm not

12:51:26   2   sure who is in charge now.      I have two folks over there who

12:51:29   3   look like they're in charge.

12:51:31   4                  Yes, sir, the one standing up.

12:51:32   5                  MR. ELKINS:   We understand the drill with

12:51:35   6   demonstratives, Your Honor, and it's goose and gander.

12:51:42   7                  THE COURT:    If there is a problem right now on a

12:51:46   8   demonstrative, of course, we have taken out the types of

12:51:53   9   language, we're taking things away from the jury, are we

12:51:56 10    okay with the rest of the demonstratives for the day?

12:51:58 11                   MR. ELKINS:   I believe this is the only one,

12:52:00 12    correct?

12:52:01 13                   MS. AYERS:    Yes, I think that's correct.

12:52:03 14                   THE COURT:    Okay.   You can speak to me, because

12:52:05 15    you know, he's not really going to --

12:52:08 16                   MS. AYERS:    I know, Your Honor, what I'm trying

12:52:10 17    to determine is if we have any demonstratives for

12:52:13 18    Mr. Aichele.    We do not have any demonstratives.

12:52:15 19                   THE COURT:    That's what I was checking, I want

12:52:17 20    to make sure how we are doing.       It really helps us if we

12:52:22 21    know as much in advance as you can, and of course you know

12:52:26 22    we'll review it and take the steps necessary to make it

12:52:30 23    conform with the rules, is that it.

12:52:32 24                   MR. ELKINS:   I'm just going to offer an idea I

12:52:35 25    had, Your Honor, is something that you did in the last trial
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12:52:37   1   which is, it's up to you whether it would be helpful, but in

12:52:41   2   the event that we have any unresolved disputes at the end of

12:52:46   3   the evening, would you like us to e-mail Ms. Curry and just

12:52:52   4   let her know and not argue, in a non-argumentative way that

12:52:58   5   we do have an issue and here it is.

12:53:00   6                THE COURT:   That's helpful because we actually

12:53:02   7   start work pretty early and that's helpful.      Hopefully we're

12:53:06   8   getting e-mails, you know what I'm saying?      Hopefully we

12:53:10   9   don't get any e-mails, but earlier is better.      We'll

12:53:14 10    probably get through it particularly if it's like it was

12:53:19 11    today.   We're going to let everybody be excused for lunch

12:53:22 12    and we will see you all -- be back five minutes in advance.

12:53:26 13    Thank you very much.

12:53:27 14                 COURT CLERK:   All rise.

12:53:28 15                 (A luncheon recess was taken.)

13:32:26 16                 THE COURT:   You may be seated.    And on the

13:32:33 17    deposition, I do want to get a piece of information, and

13:32:40 18    that will be that the document that is referenced on

13:32:45 19    page 120, 155, column 24, it's going to be referenced, so

13:32:59 20    will you get that, somebody bring that up, promptly, that

13:33:04 21    will be helpful.   We'll be completed on that.

13:33:07 22                 All set?

13:33:12 23                 MR. MASTERS:   Your Honor, can I get that number

13:33:15 24    again, please?

13:33:16 25                 THE COURT:   Sure.   Page 120, and it's 155:24 for
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                                        #: 40473                             829
                                        Faulkner - direct

13:33:28   1   starts.

13:33:36   2                  MR. MASTERS:   Is that the Kwon transcript?

13:33:40   3                  THE COURT:   Yes, it is.    They're talking about

13:33:43   4   trimming.    And I'm going to look at the document.

13:33:50   5                  MR. MASTERS:   You just want a copy of the

13:33:51   6   document?

13:33:51   7                  THE COURT:   You got it already?    That's pretty

13:33:54   8   quick.

13:33:54   9                  MR. MASTERS:   I hope.    No promises.

13:33:58 10                   THE COURT:   When it's ready just hand it up,

13:34:00 11    we'll take a look.

13:34:02 12                   MR. MASTERS:   Okay.

13:34:02 13                   THE COURT:   We're all set.     Counsel in place.

13:34:04 14    We need to get the witness back on the witness stand.         We'll

13:34:10 15    start in about thirty seconds.        You should have a draft of

13:34:25 16    the final jury instructions.      All right.    I think we're

13:34:29 17    ready.    We're closing in on the verdict form.

13:34:45 18                   (Jury entering the courtroom at 1:34 p.m.)

13:35:05 19                   THE COURT:   All right, everyone can be seated.

13:35:16 20    And counsel may proceed.

13:35:17 21                   MS. AYERS:   Thank you, Your Honor.

13:35:20 22    BY MS. AYERS:

13:35:20 23    Q.        Mr. Faulkner, before the lunch break, we were

13:35:22 24    discussing reports that you created which show where

13:35:26 25    Akoustis employees accessed certain Qorvo files, do you
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                                        #: 40474                             830
                                        Faulkner - direct

13:35:33   1   recall that testimony?

13:35:34   2   A.     Yes.

13:35:34   3   Q.     And I think that there are a few more reports that I

13:35:38   4   would like to discuss with you.      Mr. Buchbinder, can you

13:35:41   5   please display PTX 1730 which is entitled Appendix K,

13:35:47   6   materials on network shares?

13:35:49   7                  Mr. Faulkner, do you recognize this PTX 1730?

13:36:00   8   A.     I do.

13:36:00   9   Q.     And what is it?

13:36:04 10    A.     This is a list specifically of things opened from

13:36:07 11    network server locations.      A little over further to the

13:36:10 12    right, past column D, there are file names and then a list

13:36:16 13    of folders on a server where these files are stored.

13:36:23 14                   MS. AYERS:   Your Honor, I move PTX 1730 into

13:36:28 15    evidence.

13:36:28 16                   THE COURT:   Marked and received as 115.

13:36:31 17                   (Trial Exhibit No. 115 was admitted into

13:36:33 18    evidence.)

13:36:33 19    BY MS. AYERS:

13:36:34 20    Q.     Mr. Buchbinder, could you please pull up and display

13:36:37 21    PTX 1731, which is Appendix L, which is entitled Active

13:36:42 22    Recycle Bin Artifacts.

13:36:46 23                   Mr. Faulkner, do you recognize this exhibit?

13:36:49 24    A.     I do.

13:36:49 25    Q.     And can you explain what the contents of this exhibit
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                                        #: 40475                             831
                                        Faulkner - direct

13:36:53   1   is?

13:36:54   2   A.     Yes.     This is a list of Qorvo files found in recycle

13:37:02   3   bins on different Akoustis computers.       When you delete

13:37:05   4   something to a recycle bin, it keeps track of where it came

13:37:10   5   from and when it was deleted, things like that, that's all

13:37:14   6   contained here.

13:37:14   7                 MS. AYERS:   Your Honor, I move to admit PTX 1731

13:37:17   8   into evidence.

13:37:18   9                 THE COURT:   Marked and received as 116.

13:37:20 10                  (Trial Exhibit No. 116 was admitted into

13:37:23 11    evidence.)

13:37:23 12    BY MS. AYERS:

13:37:24 13    Q.     Mr. Buchbinder, could you please display 1732, which

13:37:28 14    is a file entitled Appendix M, Axiom LNK files.

13:37:37 15                  Mr. Faulkner, do you recognize this document?

13:37:39 16    A.     Yes, I do.

13:37:40 17    Q.     Mr. Buchbinder, could you blow it up just a little

13:37:44 18    bit?

13:37:44 19                  Thank you very much, sir.     What is the document

13:37:50 20    with the reference number PTX 1732, which has a title of

13:37:58 21    Axiom LNK files?

13:38:02 22    A.     This is a list of files that had a forensic artifact

13:38:07 23    called link files, or LNK files, and relate to files that

13:38:11 24    are opened or accessed by users on the Akoustis computers.

13:38:18 25    Q.     Mr. Buchbinder, could you please display PTX 1735,
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                                        #: 40476                             832
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13:38:27   1   which is a file entitled Appendix M, Axiom jump list.

13:38:40   2                  Actually, I apologize, Your Honor, that has

13:38:43   3   already been entered into evidence as Exhibit 113.

13:38:47   4                  Mr. Buchbinder, let's pull that down and pull up

13:38:49   5   PTX 1735, which is Appendix P, Axiom locally accessed files

13:38:57   6   and folders.

13:39:06   7                  Mr. Faulker, do you recognize 1735, which is the

13:39:43   8   axiom locally accessed files and folders?

13:39:45   9   A.     Yes, this is another list of files that were accessed

13:39:49 10    on the Akoustis computers based on another set of forensic

13:39:54 11    artifacts.

13:39:55 12                   MS. AYERS:   Your Honor, I move PTX 1735 into

13:39:58 13    evidence.

13:39:58 14                   THE COURT:   Marked and received as 117.

13:40:01 15                   (Trial Exhibit No. 117 was admitted into

13:40:01 16    evidence.)

13:40:03 17                   MS. AYERS:   And I apologize, Mr. Faulkner and

13:40:05 18    Your Honor, I failed to move into evidence PTX 1732, which

13:40:09 19    is the Axiom LNK files.     I move that into evidence as well,

13:40:14 20    Your Honor.

13:40:14 21                   THE COURT:   18.

13:40:15 22                   MS. AYERS:   Thank you, Your Honor.

13:40:17 23                   (Trial Exhibit No. 118 was admitted into

13:40:18 24    evidence.)

13:40:18 25                   THE COURT:   118.
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                                          #: 40477                             833
                                          Faulkner - direct

13:40:20   1                   MS. AYERS:   Yes, correct.    Thank you, Your

13:40:22   2   Honor.

13:40:22   3   BY MS. AYERS:

13:40:23   4   Q.       Can you explain what PTX 117, axiom locally accessed

13:40:28   5   files and folders contains, Mr. Faulkner?

13:40:30   6   A.       Yes.    Again, it's a list of the Qorvo materials that

13:40:36   7   I was searching for, and any forensic artifacts relating to

13:40:41   8   opening or accessing those files locally stored on

13:40:46   9   Akoustis's computers.

13:40:50 10    Q.       Mr. Buchbinder, could you please pull up PTX 1736,

13:40:56 11    which is Appendix Q, Axiom Windows Timeline Activity.

13:41:05 12    Mr. Faulkner, can you please -- well, first of all, do you

13:41:09 13    recognize PTX 1736?

13:41:10 14    A.       Yes, I do.

13:41:11 15    Q.       Can you please tell the jury what this is?

13:41:14 16    A.       This is another list of some files that were

13:41:18 17    accessed, Qorvo files that were accessed on Akoustis

13:41:23 18    computers, this one coming from a forensic artifact called

13:41:27 19    the Windows Timeline.

13:41:28 20    Q.       What is Windows Timeline?

13:41:30 21    A.       It's function of the Windows operating system that

13:41:33 22    keeps track of some of the different files that were opened.

13:41:36 23    All of these reports come from different forensic artifacts

13:41:41 24    and together they can kind of show me the best picture

13:41:45 25    possible of what I know and what was accessed.          Each one has
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                                       #: 40478                             834
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13:41:48   1   a little bit different piece of the puzzle to tell.

13:41:51   2                  MS. AYERS:   Your Honor, I move PTX 1736 into

13:41:55   3   evidence.

13:41:55   4                  THE COURT:   Marked and received as 119.

13:41:58   5                  (Trial Exhibit No. 119 was admitted into

13:41:59   6   evidence.)

13:41:59   7   BY MS. AYERS:

13:42:00   8   Q.     And this is the last one, Mr. Faulkner.

13:42:03   9   Mr. Buchbinder, can you please pull up 1737, which is

13:42:08 10    Appendix R, Axiom Edge Chromium Web History.

13:42:13 11                   Mr. Faulkner, can you please explain to the jury

13:42:17 12    what -- first of all, do you recognize this exhibit, sir?

13:42:19 13    A.     I do.

13:42:20 14    Q.     Can you explain to the jury what this exhibit is?

13:42:22 15    A.     This is another set of files, Qorvo files, that were

13:42:28 16    opened on Akoustis devices, this one coming from the web

13:42:34 17    browser, Microsoft Edge, you might think of web browsers as

13:42:39 18    only accessing websites, they do often track some for local

13:42:44 19    documents that were opened as well.

13:42:46 20                   MS. AYERS:   Your Honor, I move to admit PTX 1737

13:42:52 21    into evidence.

13:42:53 22                   THE COURT:   Marked and received as 120.

13:42:55 23                   (Trial Exhibit No. 120 was admitted into

13:42:56 24    evidence.)

13:42:56 25                   MS. AYERS:   Thank you, Your Honor.
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                                       #: 40479                             835
                                       Faulkner - direct

13:42:57   1   BY MS. AYERS:

13:43:01   2   Q.       Mr. Faulkner, before we started walking through each

13:43:05   3   of the exhibits that identify when an Akoustis employee

13:43:09   4   accessed files, I asked you if you reviewed any of

13:43:15   5   Mr. Houlden's data to determine whether or not Mr. Houlden

13:43:18   6   accessed any Qorvo files.     Do you recall that?

13:43:21   7   A.       Yes, I recall.

13:43:23   8   Q.       And did you do that, sir?

13:43:25   9   A.       Yes, I did.

13:43:25 10    Q.       Mr. Buchbinder, can you please pull up PDX 5.9.

13:43:33 11                  Mr. Faulkner, can you please summarize the types

13:43:36 12    of Qorvo information that you found that Mr. Houlden's

13:43:40 13    devices possessed and which Mr. Houlden accessed?

13:43:44 14    A.       Certainly.    Again, I found that Mr. Houlden had a

13:43:50 15    number of the Qorvo files that I was searching for present

13:43:52 16    on his Akoustis devices.     The top half of this slide is

13:43:57 17    showing some of the example folders that included those

13:44:00 18    files.   And you can see that in kind of bold there, some of

13:44:05 19    the bolder names are things like must have, engineering, and

13:44:10 20    Qorvo PDP docs.   Down below, I'm listing out an example of a

13:44:17 21    file that was accessed on Mr. Houlden's computer.        This one

13:44:22 22    is entitled BAW SAW filter reliability testing, FL2015.PPTX,

13:44:31 23    which is Trial Exhibit 14 that we've seen earlier.

13:44:34 24    Q.       And if a person wanted to search the exhibits that we

13:44:39 25    just admitted into evidence to find the BAW, SAW filter
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                                         #: 40480                             836
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13:44:45   1   reliability testing document, and the access date that

13:44:49   2   relates to that document, how would they go about doing

13:44:54   3   that?

13:44:54   4   A.      Well if they have the native files, the spreadsheets,

13:44:57   5   you can then either filter or search with an Excel to search

13:45:01   6   for that name or even just a part of that name, like BAW SAW

13:45:05   7   filter and you would find it.       If you were working on paper

13:45:08   8   it might be a little more tedious scrolling through to try

13:45:12   9   to look for that name.

13:45:13 10    Q.      I would like to move on to Mr. Rama Vetury,

13:45:18 11    Mr. Faulkner, was Mr. Vetury one of the Akoustis employees

13:45:22 12    included in your forensic inspection?

13:45:24 13    A.      Yes.

13:45:25 14    Q.      And did you find any of Qorvo's files on Mr. Vetury's

13:45:30 15    devices?

13:45:30 16    A.      I did.

13:45:30 17    Q.      Mr. Buchbinder, can you please pull up PDX 5.10.

13:45:37 18                   Mr. Faulkner, can you explain to the jury what

13:45:42 19    you found on Mr. Vetury's devices?

13:45:45 20    A.      Certainly.     I found a total of 2,273 copies of these

13:45:54 21    Qorvo materials on Mr. Vetury's Akoustis devices.          I noted

13:46:00 22    here also that I was not able to look at his first computer

13:46:04 23    or computers that he used at Akoustis, but rather just from

13:46:10 24    January of 2016 and forward.       That's what I focused on and

13:46:17 25    that's where I found these files.        I also found he had
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13:46:21   1   sixteen removable drives connected that were not provided

13:46:24   2   for analysis.     And eight of those were connected to other

13:46:28   3   Akoustis employees computers and their names are highlighted

13:46:31   4   here.

13:46:38   5   Q.      Mr. Buchbinder, I would like to pull up PDX 5.11.

13:46:42   6                  Mr. Faulkner, can you explain to the jury the

13:46:45   7   information that they see on this slide of your

13:46:49   8   demonstratives?

13:46:50   9   A.      Certainly.     This again is an excerpt of the

13:46:55 10    information from my list of over 9,000 files focusing on

13:47:00 11    specifically on Mr. Vetury and some of his devices.          And

13:47:03 12    there is a column that I added on the left side noting Trial

13:47:07 13    Exhibit number, or Mr. Vetury's deposition exhibit number

13:47:11 14    for some of those files that matched.

13:47:15 15    Q.      Did you conduct any analysis as to whether Mr. Vetury

13:47:19 16    accessed any of the Qorvo files?

13:47:21 17    A.      Yes.

13:47:22 18    Q.      Mr. Buchbinder, can you please pull up PDX 5.12.

13:47:27 19                   Can you explain to the jury the information that

13:47:31 20    is shown on this slide?

13:47:33 21    A.      Certainly.     The top half again is a list of folders

13:47:39 22    where I found Mr. Vetury had stored some of the Qorvo

13:47:44 23    materials that I searched for.       These are just some

13:47:47 24    examples, but I have highlighted a few names that stuck out

13:47:50 25    to me, like RFMD technical, recent process info, controlled
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13:47:58   1   FAB documents and such.

13:48:00   2                 The bottom half is an example of one file that

13:48:03   3   Mr. Vetury accessed, this one he accessed in October 26th of

13:48:10   4   2017, its name is Trim CALC-SIN, which wraps around to the

13:48:20   5   next line which I failed to highlight, trims.PPTX, there,

13:48:25   6   and that's a document that we have seen here at trial, it's

13:48:28   7   Exhibit 12.

13:48:29   8   Q.     And Mr. Faulkner, if a person wanted to search and

13:48:32   9   find Trial Exhibit Number 12 within the exhibits that we

13:48:36 10    just submitted, how would they go about doing that?         Would

13:48:39 11    they use the same process you just described?

13:48:42 12    A.     Yes, it would be the same process, searching in the

13:48:44 13    native files or looking through paper.

13:48:47 14    Q.     Mr. Faulkner, did you also conduct a deeper analysis

13:48:50 15    to determine whether or not Akoustis employees accessed

13:48:54 16    certain documents that have been entered into evidence in

13:48:58 17    this case?

13:48:58 18    A.     Yes, I did.

13:49:08 19    Q.     Did your forensic investigation determine how

13:49:11 20    Mr. Houlden obtained the IDP market segment analysis?

13:49:16 21    A.     Yes, it did.

13:49:24 22    Q.     Did your forensic analysis also determine how

13:49:29 23    Mr. Houlden obtained the CPE Wi-Fi E strategy review?

13:49:33 24    A.     Yes.

13:49:33 25    Q.     Finally, did your investigation determine how
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13:49:36   1   Mr. Houlden obtained the statement of work for 5-gigahertz

13:49:41   2   Wi-Fi BAW filters?

13:49:42   3   A.     Yes, for that one as well.

13:49:44   4   Q.     Mr. Buchbinder, can you please pull up PDX 5.17.

13:49:49   5                 Mr. Faulkner, can you explain to the jury what

13:49:58   6   your forensic investigation found with respect to Trial

13:50:02   7   Exhibit 20, Trial Exhibit 21, and Trial Exhibit 22?

13:50:06   8   A.     Certainly.     For those three trial exhibit files, I

13:50:10   9   found that they were all saved into the Qorvo laptop folder

13:50:15 10    on that removable drive that I didn't examine but I was able

13:50:19 11    to see artifacts through the computers it was plugged into

13:50:23 12    on September 14th, shortly before Mr. Houlden left Qorvo.

13:50:31 13    His last day was the 16th, and then on the 21st he connected

13:50:36 14    that removable drive to one of his Akoustis computers and

13:50:39 15    copied the files over.

13:50:40 16    Q.     Did you find any other evidence that Mr. Houlden

13:50:43 17    accessed Trial Exhibit 20, Trial Exhibit 21, and Trial

13:50:48 18    Exhibit 22?

13:50:48 19    A.     Yes.

13:50:49 20    Q.     Mr. Buchbinder, can you please pull up PDX 5.18.

13:50:54 21                  Mr. Faulkner, can you please explain to the jury

13:51:04 22    what the information on this slide is showing?

13:51:07 23    A.     Yes.    I found that the two dates that I have listed

13:51:12 24    on the screen here in 2018 and 2021, these files were copied

13:51:17 25    to other devices, other locations on Mr. Houlden's Akoustis
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13:51:23   1   computer systems.

13:51:26   2   Q.     Mr. Faulkner, would the exhibits that we admitted

13:51:30   3   into evidence earlier, which begins with Exhibit 114 and

13:51:34   4   runs through Exhibit 120, show you when Mr. Houlden printed

13:51:40   5   a document?

13:51:42   6   A.     No, those do not include information about whether

13:51:46   7   things were printed.

13:51:47   8   Q.     Can you explain to the jury why information relating

13:51:51   9   to when Mr. Houlden accessed documents does not show when a

13:51:56 10    document is printed?

13:51:58 11    A.     The little bits of information that get left behind

13:52:04 12    on a computer when you do different things vary quite a bit

13:52:07 13    based on what that thing is.      And specifically for printing,

13:52:11 14    there is just not a lot left behind on computers these days.

13:52:15 15    It's quite rare to find very many artifacts about printing.

13:52:21 16    Opening files, accessing them, there is a lot more

13:52:25 17    artifacts.

13:52:25 18    Q.     Mr. Faulkner, did your forensic analysis determine

13:52:29 19    how Mr. Houlden obtained the 5G polygon sources rectangle

13:52:34 20    document that is Trial Exhibit A?

13:52:35 21    A.     Yes.

13:52:36 22    Q.     Mr. Buchbinder, can you please pull up PDX 5.21?

13:52:43 23    Yes, you can pull up PDX 5.21.

13:52:46 24                  Mr. Faulkner, can you please explain to the jury

13:52:53 25    what information you found with respect to Mr. Houlden's
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13:52:56   1   access of PDX -- of Trial Exhibit 8?

13:53:01   2   A.     Certainly.   This file, Trial Exhibit 8 was among the

13:53:07   3   files copied into that Qorvo laptop folder on a removable

13:53:12   4   drive on September 14th.   Then Mr. Houlden left Qorvo,

13:53:16   5   joined Akoustis, and on the 21st of September, 2016, it was

13:53:20   6   copied specifically into a folder under his documents

13:53:25   7   folder, and the subfolder names are Rohan/11P filter, that's

13:53:30   8   where the file was copied to.

13:53:33   9               There were then additional copies made in 2018

13:53:36 10    and 2021, as I listed there.

13:53:40 11    Q.     Mr. Faulkner, did your forensic analysis also look at

13:53:44 12    what Mr. Houlden did with the QPQ1901Q, final circuit layout

13:53:50 13    and tile document, which is Trial Exhibit 9?

13:53:52 14    A.     Yes, it did.

13:53:55 15    Q.     Mr. Buchbinder can you please pull up PDX 5.22?

13:54:06 16                Mr. Faulkner, can you please explain to the jury

13:54:08 17    what information that you found with respect to

13:54:12 18    Mr. Houlden's access to Trial Exhibit Number 9?

13:54:19 19    A.     Certainly Trial Exhibit 9 was copied into that Qorvo

13:54:23 20    laptop folder, the removable drive, connected to his

13:54:26 21    Akoustis computer on September 21st of 2016.      It was copied

13:54:31 22    into that same 11P filter folder.     And then the file was

13:54:37 23    opened or copied on several other dates in 2016, 2017, 2018,

13:54:43 24    as well as 2021.

13:54:46 25    Q.     Do you recall an instance where Dr. Shealy,
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13:54:49   1   Akoustis's CEO, accessed an RFMD new technology development

13:54:55   2   document?

13:54:55   3   A.     Yes, I recall that.

13:54:56   4   Q.     Mr. Buchbinder, can you please pull up PDX 5.24.

13:55:01   5                  Can you tell the jury what your forensic

13:55:04   6   analysis determined with respect to Dr. Shealy's access to

13:55:08   7   Trial Exhibit 6?

13:55:09   8   A.     Yes.    I found that Trial Exhibit 6, he had several

13:55:16   9   different versions of this document, initially renamed it

13:55:20 10    removing the RF name that was originally on it and changing

13:55:24 11    it to a name beginning with AKTS, which I understand is an

13:55:30 12    abbreviation for Akoustis.      He then made modifications to

13:55:33 13    the document and saved it a couple of times.

13:55:36 14    Q.     Mr. Faulkner, do you recall what modifications

13:55:40 15    Dr. Shealy made to Trial Exhibit 6?

13:55:45 16    A.     Yes.    Yes, I do.

13:55:47 17    Q.     Mr. Buchbinder, can you please pull up PDX 5.25.

13:55:54 18                   Mr. Faulkner, can you please explain to the jury

13:55:57 19    what is shown on this slide?

13:55:59 20    A.     This is a side-by-side comparison of two of the

13:56:04 21    versions of the -- this set of documents.        The original RFMD

13:56:12 22    version versus the Akoustis version ending in revone.doc.

13:56:19 23    And I have highlighted here some similarities and some

13:56:22 24    differences.    You can see the logo has been changed from

13:56:26 25    RFMD to Akoustis.     It still says new technology development
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13:56:30   1   but the name of the company is changed.       The document

13:56:33   2   numbers different, the author has been changed, but the

13:56:37   3   owner is listed the same, and in that confidentiality

13:56:41   4   language, beneath the little rectangle, much of the wording

13:56:48   5   is the same, but things like RFMD have been replaced by

13:56:52   6   Akoustis and a couple of words have been removed, including

13:56:55   7   the last sentence that says e-mail address for more

13:57:00   8   information, that got removed, but the table of contents

13:57:03   9   below that is the same.

13:57:08 10    Q.     Mr. Faulkner, did you determine if Dr. Shealy shared

13:57:13 11    any version of the Akoustis tech development document that

13:57:16 12    was re-branded with any other person at Akoustis?

13:57:20 13    A.     Yes.

13:57:21 14    Q.     What version of the Akoustis tech development

13:57:25 15    document did Dr. Shealy share with others at Akoustis?

13:57:29 16    A.     That was the rev 1.1 version of the document, the

13:57:34 17    most recent one.

13:57:38 18    Q.     Who did Dr. Shealy share version 1.1 of the Akoustis

13:57:43 19    branded version of Trial Exhibit 6 with?

13:57:47 20    A.     I believe it was a couple of people.        I believe it

13:57:51 21    included Ms. Winters, and I believe Mr. Houlden.

13:57:58 22    Q.     And is Ms. Winters in the courtroom today?

13:58:01 23    A.     She is.

13:58:03 24    Q.     Who is she?

13:58:04 25    A.     I know she is an Akoustis employee.        I'm afraid I
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13:58:10   1   don't know her exact title.      I understand she's a corporate

13:58:14   2   representative.

13:58:15   3   Q.     Did you analyze what Mr. Houlden did after he

13:58:19   4   received the Akoustis branded version of Trial Exhibit 6?

13:58:23   5   A.     Yes.

13:58:24   6   Q.     Mr. Buchbinder, can you please pull up PDX 5.27.

13:58:30   7                 Can you tell the jury what you discovered about

13:58:33   8   Mr. Houlden's activity after Dr. Shealy sent him the

13:58:43   9   Akoustis branded version of Trial Exhibit 6?

13:58:46 10    A.     Yes.    Mr. Houlden saved the document and then

13:58:49 11    accessed it on several different dates, including in 2018,

13:58:56 12    2019, and into 2021.

13:59:00 13    Q.     Did anyone else have a copy of Trial Exhibit 6 on

13:59:04 14    their devices?

13:59:06 15    A.     Yes.    I also found twelve copies of Trial Exhibit 6

13:59:11 16    on Mr. Vetury's computer systems at Akoustis.

13:59:15 17    Q.     Did your forensic analysis identify any access of the

13:59:21 18    SAW and BAW filter power life reliability testing document

13:59:25 19    by an Akoustis employee?

13:59:27 20    A.     Yes.

13:59:28 21    Q.     Mr. Buchbinder, can you please pull up PDX 5.29?

13:59:33 22                  Can you explain to the jury what you found with

13:59:38 23    regard to an Akoustis employee's access of Trial Exhibit 14?

13:59:43 24    A.     Yes, I found this particular file, Trial Exhibit 14

13:59:49 25    was attached to a series of e-mails between different
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13:59:53   1   Akoustis employees.     And I have listed on the right a little

13:59:57   2   table of the sender and recipients, and the dates when the

14:00:02   3   messages were sent, each of them attaching this document to

14:00:06   4   the e-mail.

14:00:09   5   Q.     Did you review any of the e-mails that you discovered

14:00:14   6   attached Trial Exhibit 14, which is the BAW SAW filter

14:00:20   7   reliability testing document?

14:00:22   8   A.     Yes.

14:00:23   9   Q.     Mr. Buchbinder, can you please pull up PDX 5.30.

14:00:29 10                  Mr. Faulkner, can you explain to the jury what

14:00:34 11    you discovered with respect to access of Trial Exhibit 14?

14:00:39 12    A.     Certainly.     This is one of those e-mail messages, I

14:00:44 13    have blown up on the right side.      It was sent on

14:00:48 14    August 15th, of 2018 from Pat Lewis to Rohan Houlden.         It

14:00:53 15    includes the file, Trial Exhibit 14 as an attachment, and it

14:00:57 16    has a little message in the body that says "PG 4-5 should

14:01:05 17    look very familiar."

14:01:06 18    Q.     Did you find any other evidence that Akoustis

14:01:09 19    accessed the BAW SAW reliability testing PowerPoint that is

14:01:14 20    Trial Exhibit 14?

14:01:15 21    A.     Yes.

14:01:15 22    Q.     Mr. Buchbinder, could you please pull up PDX 5.31?

14:01:20 23                  Can you explain to the jury what you discovered

14:01:24 24    when you analyzed whether or not Akoustis employees accessed

14:01:28 25    Trial Exhibit 14?
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14:01:29   1   A.       Certainly.    This is another one of those e-mail

14:01:33   2   messages that I have blown up on the right.        This one is a

14:01:36   3   little later in time.      It looks like April 18th of 2019.

14:01:41   4   And this is where Mr. Morgan accessed the file and attached

14:01:46   5   it to an e-mail sending it to Mr. Houlden and Mr. Aichele,

14:01:52   6   and again, wrote a little message in the e-mail as well, and

14:01:56   7   I have highlighted a portion of it here.       It says, "This is

14:01:59   8   the primary document I have been referencing regarding

14:02:02   9   methodology for three temp testing/MTTF determination."

14:02:12 10                  MS. AYERS:    I have no further questions, Your

14:02:14 11    Honor.

14:02:14 12                  THE COURT:    Cross-examination.

14:02:16 13                  MS. CAI:    Thank you, Your Honor

14:02:17 14                          CROSS-EXAMINATION

14:02:18 15    BY MS. CAI:

14:02:23 16    Q.       Good afternoon, Mr. Faulkner, I am Xiaomai Cai.       I am

14:02:28 17    one of the defense attorneys for Akoustis.        It's very nice

14:02:31 18    to meet you again, this time in person.

14:02:33 19    A.       Nice to meet you again as well, in person.

14:02:36 20    Q.       So Mr. Faulkner, you testified that for your forensic

14:02:42 21    analysis you found about 9,000 files across Akoustis's

14:02:48 22    devices; right?

14:02:49 23    A.       In total, across all of them, yes, over 9,000 files.

14:02:53 24    Q.       So the 9,000 files was based on your search for a

14:02:58 25    list of Qorvo files that you received from another expert in
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14:03:03   1   this case, Dr. Shanfield; right?

14:03:06   2   A.        I received through counsel, yes, it was a list from

14:03:11   3   Dr. Shanfield provided to counsel who provided it to me and

14:03:14   4   that was the list of file names, MD5 Hash values that I was

14:03:21   5   searching for.

14:03:22   6   Q.        So do you understand those files were from

14:03:26   7   Dr. Shanfield when you provided that -- when you provided

14:03:32   8   your report?

14:03:36   9   A.        I don't recall what I understood at the time.      I knew

14:03:42 10    I got them from counsel.     And I know sitting here today that

14:03:47 11    that came from Dr. Shanfield, that he relied on them in his

14:03:52 12    report.

14:03:52 13    Q.        So you did not review those documents individually to

14:04:02 14    see their contents, correct?

14:04:05 15    A.        That's correct, I didn't go through the contents of

14:04:08 16    each of those documents, no.

14:04:19 17    Q.        You are -- just wanted to be sure.     Do you have any

14:04:26 18    experience in the research, design, or development of any

14:04:29 19    Akoustis filters?

14:04:31 20    A.        No, I don't.

14:04:33 21    Q.        And do you have any educational background in this

14:04:37 22    field?

14:04:37 23    A.        No, not in filters.

14:04:39 24    Q.        So you don't consider yourself to be qualified to

14:04:42 25    testify about any confidentiality in this field, correct?
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14:04:51   1   A.     I would say that I don't think that I would

14:04:56   2   understand the nature of designing filters and what

14:05:01   3   information about their design might be confidential versus

14:05:06   4   not confidential, if that's what you mean.

14:05:09   5   Q.     So you don't actually offer any opinion as to whether

14:05:14   6   a document you found is confidential or not; correct?

14:05:19   7   A.     I would say that I don't offer any independent

14:05:22   8   opinion on that, no.

14:05:31   9   Q.     So among the 9,000 files you found, would you agree

14:05:39 10    that about over 99 percent of them were just from Akoustis

14:05:47 11    custodians?

14:05:49 12    A.     I haven't run the math, but I do recall that two of

14:05:53 13    the Akoustis custodians had over a thousand files each,

14:05:57 14    Mr. Houlden and Mr. Vetury, so I know they had the lion's

14:06:02 15    share, but I'm afraid I didn't do the math to see what

14:06:05 16    percentage that was.

14:06:06 17    Q.     So you testified about 6,300 files were actually

14:06:13 18    found from Dr. Houlden, is that correct?

14:06:17 19    A.     Yes, over 6,300.

14:06:19 20    Q.     And another 2,300 files from Dr. Rama Vetury, is that

14:06:28 21    correct?

14:06:28 22    A.     Off the top of my head it was either 22 or 2,300,

14:06:33 23    somewhere in that range.

14:06:34 24    Q.     So those two kind of add up to about 8600?         Sorry to

14:06:41 25    impose the math on you.
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14:06:42   1   A.     So, 8,600 out of, I think the total was like 93,

14:06:48   2   9,400, again, it's the lion share, I don't know if that's 93

14:06:53   3   versus 94 versus 90 percent, but it's certainly the

14:06:57   4   majority.

14:06:58   5   Q.     And do you recall you found about 460 files from

14:07:03   6   Dr. David Dyer's data?

14:07:09   7   A.     I don't recall the exact number for David Dyer.         I

14:07:14   8   believe it was on my slides, but I don't recall the number

14:07:19   9   off the top of my head.

14:07:21 10    Q.     Do you recall you found about 310 files from

14:07:26 11    Dr. Robert Dry's data?

14:07:28 12    A.     Somebody has pulled up my chart and this is very

14:07:32 13    helpful.    I see 306 for Mr. Dry.

14:07:37 14    Q.     So if I tell you the files you found from these four

14:07:43 15    individuals add up to about 9,400 documents, does that sound

14:07:52 16    about right?

14:07:54 17    A.     Let me see.

14:08:06 18                   It is certainly over 9,000.    It very well may be

14:08:11 19    9,400, I didn't do the full math, but it's from the -- from

14:08:17 20    the limited devices that I was able to examine, that's what

14:08:21 21    I found and those individuals have the lion share.

14:08:26 22    Q.     So for your forensic analysis, you also examined the

14:08:30 23    data from Ms. Mary Winters, correct?

14:08:34 24    A.     Yes.    For whatever was provided, yes.

14:08:39 25    Q.     Do you recall how many files were found from her
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14:08:42   1   data?

14:08:47   2   A.        I don't recall the number of her files off the top of

14:08:52   3   my head.    I believe it was a fairly low number from the

14:08:57   4   limited devices I was able to examine from her, though.

14:09:00   5   Q.        If I told you you only found one file from her data

14:09:04   6   set, do you have any reason to disagree?

14:09:07   7   A.        No, that sounds possible.

14:09:10   8   Q.        And you also found no forensic artifacts indicating

14:09:16   9   she ever accessed that one file; right?

14:09:21 10    A.        I believe from the -- again, limited data that I had

14:09:24 11    from Ms. Winters, that very well is possible.

14:09:29 12    Q.        You also searched for the data, data sets from

14:09:39 13    Dr. Daeho Kim?

14:09:39 14    A.        I recall that name being one of the ones I examined,

14:09:43 15    yes.

14:09:43 16    Q.        You also found no forensic artifacts showing access

14:09:49 17    by Dr. Daeho Kim, that is correct?

14:09:51 18    A.        Again, from the limited computer systems that I was

14:09:54 19    provided to examine, I don't believe I found any for Daeho

14:09:59 20    Kim.

14:10:00 21    Q.        You also examined the data files of Mr. David

14:10:06 22    Aichele, is that correct?

14:10:09 23    A.        Yes, I think he was on the list on my chart, if I

14:10:14 24    recall.

14:10:16 25    Q.        And you didn't find any forensic artifacts showing he
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14:10:21   1   ever accessed any Qorvo files you searched; is that right?

14:10:36   2   A.        I don't -- I don't recall if we had any for

14:10:40   3   Mr. Aichele or not.          If I did, they would be in the

14:10:44   4   spreadsheets that were entered as trial exhibits from my

14:10:48   5   report.    But I don't recall if there were any in there or

14:10:53   6   not.

14:10:54   7   Q.        Will reviewing your report help to refresh your

14:10:59   8   memory?

14:10:59   9   A.        I think I would have to review -- well, perhaps, yes,

14:11:03 10    because my report would have noted what I found, or

14:11:06 11    summarized what I found.

14:11:09 12                      MS. CAI:    Your Honor, may I approach the witness

14:11:11 13    to hand over a document?

14:11:13 14                      THE COURT:    You may.

14:11:45 15                      THE WITNESS:    Thank you.   My recollection is

14:11:47 16    indeed refreshed.

14:11:49 17    BY MS. CAI:

14:11:50 18    Q.        You may close that binder.

14:11:52 19    A.        Okay.    It is closed.

14:11:53 20    Q.        So now testifying from your present memory, do you

14:11:58 21    recall that you found no forensic artifacts indicating

14:12:01 22    access by Mr. David Aichele?

14:12:05 23    A.        Yes, for the limited computer systems I examined for

14:12:09 24    Mr. Aichele, I did not find any forensic artifacts of

14:12:14 25    access.
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14:12:14   1   Q.       And you also testified earlier that you found about

14:12:18   2   500,000 Qorvo e-mails in Akoustis's forensic data, is that

14:12:24   3   right?

14:12:24   4   A.       Yes.

14:12:25   5   Q.       And you testified that you did not look at the

14:12:30   6   individuals of those e-mails; is that right?

14:12:34   7   A.       Yes.    That's right, I didn't dig through that set of

14:12:37   8   e-mails.

14:12:38   9   Q.       So to be clear, those 5,000 -- or 500,000 e-mails are

14:12:45 10    not freestanding e-mails you found, right?

14:12:48 11    A.       I think I understand your question.        They weren't

14:12:51 12    freestanding, as in stored as separate individual messages

14:12:56 13    on the computers, they were stored within these PST

14:13:00 14    container files.      It's a type of file that stores like a

14:13:04 15    whole mailbox of e-mail, and there were several of these PST

14:13:08 16    files for each of the two employees that had Qorvo e-mail.

14:13:15 17    Q.       Are the PST and -- are the PST files common e-mail

14:13:22 18    container files?

14:13:23 19    A.       Yes, they are.

14:13:25 20    Q.       You have forensic tools to analyze the contents of

14:13:30 21    them if you request it, correct?

14:13:33 22    A.       I have tools that can analyze what's in the PST file,

14:13:38 23    yes.

14:13:38 24    Q.       So you mean you have forensic tools to extract the

14:13:43 25    individual e-mails from the PST files and then do further
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14:13:49   1   inspections?

14:13:49   2   A.       Yes, I have such tools.

14:13:53   3   Q.       You just did not do such an analysis in this case;

14:13:57   4   correct?

14:13:58   5   A.       It wasn't something that I was needed for since those

14:14:02   6   e-mails were Qorvo materials that were then returned to

14:14:06   7   Qorvo's counsel, others were able to look through those

14:14:11   8   e-mails and didn't need my expertise.

14:14:14   9   Q.       So you do not provide any opinion as to what's

14:14:18 10    contained in these e-mails?

14:14:20 11    A.       Only that it's Qorvo mailbox, Qorvo e-mails, nothing

14:14:27 12    beyond that.

14:14:29 13    Q.       The majority of the e-mails came from the user

14:14:33 14    profile, Mr. Todd Bender, correct?

14:14:41 15    A.       The two users were Mr. Bender and Mr. Vetury.      I

14:14:47 16    don't recall which of them had more than the other, frankly.

14:15:04 17    Q.       So if I tell you you found about 320,000 Qorvo

14:15:15 18    e-mails in Mr. Todd Bender's files, do you have any reason

14:15:19 19    to disagree?

14:15:22 20    A.       No sounds right, I think it was over 320,000, 327,000

14:15:28 21    total.

14:15:29 22    Q.       So do you understand that Todd Bender's work relates

14:15:34 23    to tax at Akoustis?

14:15:37 24    A.       Relates -- I'm sorry, to tax?

14:15:40 25    Q.       Do you understand that Mr. Todd Bender's work relates
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14:15:44   1   to tax and treasury at Akoustis?

14:15:49   2   A.     I think I remember seeing his title at Akoustis, but

14:15:57   3   I don't know beyond his title what his work entails.       I

14:16:00   4   think his title was something about tax or finance or

14:16:03   5   something like that.

14:16:05   6   Q.     And the rest of the e-mails came from the user

14:16:08   7   profile of Dr. Rama Vetury, correct?

14:16:11   8   A.     Yes, that's correct.

14:16:16   9   Q.     You did not find any evidence that Dr. Vetury's

14:16:21 10    e-mail contained files were ever accessed by anyone, do you?

14:16:30 11    A.     I think from the -- again, limited computer devices

14:16:34 12    that I looked at, I don't recall seeing specifically access

14:16:38 13    to those files.

14:16:42 14    Q.     You also testified earlier that you found about 279

14:16:50 15    gigabytes of backup files, also from Dr. Vetury's data,

14:16:55 16    correct?

14:16:57 17    A.     Yes, that's right.

14:17:00 18    Q.     And you did not analyze what's contained in those

14:17:05 19    backup files, right?

14:17:06 20    A.     That's right.

14:17:07 21    Q.     So you don't know the contents of those backup files?

14:17:10 22    A.     Well, I know that the contents are information from

14:17:14 23    his Qorvo computer, but I didn't then go digging through the

14:17:18 24    documents or anything like that, I examined them enough to

14:17:22 25    figure out this wasn't a back up of his Akoustis computer or
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14:17:26   1   something like that, but I did not review all the documents.

14:17:29   2   Q.     And you did not search for the list of documents you

14:17:34   3   received -- the list of Qorvo files you received from

14:17:39   4   counsel for Qorvo in those backup files; right?

14:17:43   5   A.     That's correct.   Again, like the e-mails, those were

14:17:47   6   provided over to Qorvo's counsel, so my skills, my work

14:17:53   7   wasn't needed to go through them and figure out what was in

14:17:56   8   there, unlike the Akoustis computers that can't go to

14:18:02   9   Qorvo's counsel, my work is needed to dig through them.

14:18:06 10    Q.     Again, you have forensic tools allowing to you

14:18:11 11    inspect the contents if requested, right?

14:18:13 12    A.     Yes, I have the tools to do it.

14:18:19 13    Q.     So what's contained in those Qorvo -- sorry, in those

14:18:24 14    backup files and e-mail files can be any Qorvo information;

14:18:29 15    is that right?

14:18:29 16    A.     Yes, it could be.    Again, I haven't reviewed them so

14:18:35 17    I don't know what individual documents may be in there.

14:18:37 18    Q.     And they may not even be Qorvo information, right, it

14:18:42 19    could be personal information?

14:18:43 20    A.     If that's what was on Dr. Vetury's Qorvo laptop, it

14:18:49 21    certainly could be.

14:18:50 22    Q.     Do you have any evidence that Dr. Vetury ever opened

14:18:54 23    these backup files?

14:18:56 24    A.     From the limited computers that I examined for

14:19:01 25    Dr. Vetury, I don't recall seeing any evidence of him
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14:19:03   1   opening those.

14:19:07   2   Q.     Do you have any evidence that these backup files were

14:19:13   3   ever accessed by anyone at Akoustis?

14:19:21   4   A.     I don't believe from the systems that I looked at

14:19:24   5   that I saw any evidence of them being accessed.

14:19:36   6   Q.     And you testified that you inspected forensic access

14:19:40   7   relating to accessing of files, is that right?

14:19:45   8   A.     Yes, that's one of the things I testified about.

14:19:47   9   Q.     And you pointed to several forensic artifacts, such

14:19:53 10    as junk list link files and the utility files to indicate

14:19:58 11    the access; right?

14:20:00 12    A.     Those were some of the artifacts I looked at, yes.

14:20:09 13    Q.     By accessing a file, you mean opening a file, right?

14:20:13 14    A.     Yes.    Generally that -- yes, that's what I mean by

14:20:18 15    accessing.

14:20:20 16    Q.     Would you agree that merely having possession of a

14:20:25 17    file does not necessarily mean accessing a file?

14:20:30 18    A.     Absolutely, yeah, you can have a file and not open

14:20:33 19    it, then you may possess it and not access it.

14:20:37 20    Q.     If it is accessed, you would have for those forensic

14:20:43 21    analysis you did for this case, you would see a forensic

14:20:48 22    artifacts showing up in one of those spreadsheets you

14:20:52 23    prepared; is that right?

14:20:54 24    A.     You can.    Not necessarily will.     The artifacts

14:20:58 25    capture what they capture.      There isn't always a forensic
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14:21:03   1   artifact for everything that's happened on a computer, and

14:21:06   2   moreover, I don't have all the computers that were used at

14:21:10   3   all the relevant times.    So I have the computers that I

14:21:14   4   have, and examined those, and found the accessed artifacts

14:21:18   5   that I found.    But you can't then flip that around and say

14:21:21   6   well, if I didn't find an accessed artifact, then it

14:21:25   7   certainly wasn't accessed, that's the case, it may have been

14:21:29   8   accessed on an earlier computer that I didn't examine.

14:21:33   9   Q.       So for your forensic inspection in this case, if

14:21:38 10    there is no forensic artifacts found in one of the reports

14:21:46 11    you provide, you have no evidence that it was accessed,

14:21:49 12    right?

14:21:50 13    A.       That's right, yeah, from the computers that I did

14:21:53 14    examine with whatever the limitations were on each of them,

14:21:58 15    I reported what I found.

14:22:09 16    Q.       And does copying a file mean accessing, without a

14:22:18 17    forensic artifact showing access, means access a file to

14:22:23 18    you?

14:22:24 19    A.       I think it depends on what you mean by access.

14:22:27 20    Copying a file certainly isn't the same thing as opening a

14:22:32 21    file.    When you copy a file, it doesn't automatically open

14:22:35 22    or anything like that, you can't see the contents of it just

14:22:38 23    by copying it.   But you did go click on a file, drill down

14:22:42 24    into a folder, find the fire, click on that and then copy it

14:22:48 25    over to another location, so in that sense you accessed it
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14:22:52   1   but you didn't open it, so they're not the same thing.

14:22:55   2   Q.     Okay.    You're saying that just by copying, that can

14:23:03   3   be -- accessing a file?

14:23:08   4   A.     I'm saying that depending on how you define access,

14:23:13   5   then copying certainly could be.    Again, if you were

14:23:17   6   choosing which files to take off of an old computer and

14:23:21   7   bring them to a new computer even without opening them,

14:23:24   8   you're still accessing the folders, accessing the files, and

14:23:28   9   pick out what you want to copy to bring over to your new

14:23:31 10    computer if it gets replaced, for example.      So it's not the

14:23:34 11    same as opening them, it doesn't leave the same artifacts,

14:23:37 12    like these link files and jump list and other artifacts that

14:23:42 13    were in the appendixes to my report that have become

14:23:46 14    exhibits, those are actually related to opening files, not

14:23:49 15    just copying.   Depending what you mean by access, copying a

14:23:54 16    file could be a form of access, opening a file could be a

14:23:59 17    form of access.

14:24:00 18    Q.     So you testified earlier that Dr. Houlden copies --

14:24:06 19    copied TX 20, TX 21, and TX 22, these three files to other

14:24:14 20    devices; right?

14:24:16 21    A.     Yes, I remember Trial Exhibit, 21, and 22, yes.

14:24:22 22    Q.     And you concluded that Dr. Houlden then accessed

14:24:27 23    those files by copying those three documents; is that right?

14:24:35 24    A.     I think where I had evidence of him copying them, I

14:24:39 25    just said that he copied them and copied them to another
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14:24:43   1   folder, things like that.    Where I had evidence of actually

14:24:46   2   opening something, I said that.

14:24:49   3   Q.     So for those three trial exhibits, what I meant is TX

14:24:54   4   20, 21 and 22, do you have any forensic artifacts showing

14:24:59   5   that they are -- they were in fact accessed?

14:25:03   6   A.     You mean like opened accessed?

14:25:06   7   Q.     Correct.

14:25:08   8   A.     I have to refer back to something to refresh my

14:25:11   9   recollection.   I don't recall.   I think there were so many

14:25:15 10    files that I looked at and some of them I found access -- or

14:25:18 11    evidence of copying, others I found evidence of opening.        I

14:25:25 12    don't recall if I had opening artifacts on those ones or

14:25:29 13    not, but if I did, then they will be in the trial exhibits

14:25:32 14    from my report.

14:25:33 15    Q.     So do you recall one of the demonstrative -- one

14:25:39 16    slide of the demonstrative you prepared indicate that those

14:25:42 17    three files were copied, right?

14:25:46 18    A.     I remember the demonstratives talking about copying

14:25:50 19    them, on September 14th, 2016, and then copying them again

14:25:55 20    on September 21st, if that's the one you're referring to.

14:25:59 21    Q.     And that's all you found with those three trial

14:26:03 22    exhibits?

14:26:03 23    A.     I don't know if that's all I found, I also said I

14:26:07 24    don't recall if there were also artifacts at opening, but if

14:26:10 25    there were, they would be in those trial exhibits that came
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14:26:15   1   from my report.

14:26:29   2   Q.     Mr. Faulkner, you testified that one of the reasons

14:26:34   3   you may not detect all of the artifacts is because sometimes

14:26:42   4   when a document is drastically changed, you may not show up

14:26:48   5   in the search result.      Is that correct?

14:26:51   6   A.     The files, not the artifacts, but yes, when searching

14:26:56   7   for things like keywords, if those keywords no longer exist

14:27:02   8   in that Qorvo document because they have been removed, then

14:27:05   9   I'm not going to find that document using that set of

14:27:08 10    keywords.

14:27:09 11    Q.     Do you have any evidence in this case that you can

14:27:12 12    provide showing such a significant change has happened to

14:27:17 13    any Qorvo files?

14:27:19 14    A.     Yes.

14:27:20 15    Q.     Can you show me that?

14:27:26 16    A.     Your Honor, I might need a side-bar.        The question

14:27:29 17    calls for -- may I?

14:27:34 18                  THE COURT:    Yes.   That's fine.   Come around.

14:29:03 19                  (Side-bar discussion:)

14:29:03 20                  THE COURT:    Yes.   Excuse me.   Go ahead, only one

14:29:03 21    person at a time.     This is counsel, you have asked the

14:29:03 22    question, and therefore, he may answer the question.

14:29:03 23                  MS. AYERS:    Go ahead.

14:29:03 24                  THE WITNESS:    May I answer the question?     The

14:29:03 25    question calls for information that is protected by the
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14:29:03   1   court ordered forensic protocol in which I am not allowed to

14:29:03   2   discuss the contents of the document unless it has been

14:29:03   3   produced.

14:29:03   4               THE COURT:   I understand that, but she asked it.

14:29:03   5               THE WITNESS:    Okay.

14:29:03   6               THE COURT:   No, that's a hundred percent right,

14:29:03   7   and you should not do it unless counsel opposite asks you,

14:29:03   8   but if your counsel asks you the first time, you couldn't do

14:29:03   9   it, hundred percent correct.

14:29:03 10                THE WITNESS:    Understood.   Then I will answer.

14:29:08 11                (End of side-bar.)

14:29:10 12                THE COURT:   Counsel.    The witness may proceed.

14:29:11 13    The question has been posed.

14:29:13 14                THE WITNESS:    Yes, I did find such an example.

14:29:17 15    We looked earlier today in my direct testimony at copies of

14:29:21 16    a RFMD document where the court, the RFMD logo had been

14:29:28 17    removed and instead the Akoustis logo was put on.       And I

14:29:32 18    mentioned that there were multiple copies, multiple versions

14:29:36 19    of that document.   The most recent version, version Rev 1.1

14:29:41 20    is the file name, was the version that was sent out to other

14:29:45 21    Akoustis employees.   That version had been modified so

14:29:48 22    heavily that it did not hit on my keywords when I searched

14:29:52 23    for it, so I didn't find that file.     I found the first three

14:29:55 24    versions, I didn't find the fourth.

14:29:57 25                I then sent the files I found, the three
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14:30:01   1   versions out for review by counsel and those three versions

14:30:05   2   were produced to RSI to use, but the fourth one was not,

14:30:10   3   because it didn't have the keywords, I didn't know about it

14:30:13   4   until much later when digging through the information.

14:30:16   5                 What I found is in that most recent version, Rev

14:30:22   6   1.1, throughout the body of the document, all the references

14:30:25   7   to RFMD had been removed and Akoustis had been placed in it

14:30:29   8   instead.    References to document numbers and things like

14:30:33   9   that had been replaced with placeholders beginning with

14:30:38 10    AKTS.   The list of revisions to the document had been

14:30:42 11    removed and replaced with just something like Shealy,

14:30:49 12    initial version.

14:30:50 13                  And also there was a reference to some sort of

14:30:54 14    like document control system or something that I guess

14:30:58 15    applied to RFMD, which was just removed since it didn't

14:31:02 16    apply to Akoustis.     So that would be an example of a

14:31:05 17    document that had been so heavily modified that it just

14:31:09 18    didn't even turn up in my search process.

14:31:29 19    BY MS. CAI:

14:31:30 20    Q.      So Dr. Faulkner, you list all the forensic images

14:31:34 21    that Akoustis provided to you for inspection in an

14:31:39 22    appendixes, is that right?

14:31:39 23    A.      I believe I did list them, I'm not Dr. Faulkner,

14:31:43 24    though, just Mr. Faulkner.

14:31:58 25    Q.      So, and you provided the data size of those forensic
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14:32:03   1   images there, correct?

14:32:05   2   A.     I would expect so, I don't specifically recall, but

14:32:10   3   that seems very possible, seems like something I would list.

14:32:14   4   Q.     Would you agree that the total size of such data is

14:32:17   5   about 32,000 gigabytes?

14:32:21   6   A.     I don't know the number but I wouldn't be surprised

14:32:25   7   if that's right, I know it was a good bit of data.

14:32:29   8               MS. CAI:     I have no more questions, Your Honor.

14:32:33   9               Thank you, Mr. Faulkner.

14:32:34 10                THE COURT:    All right.   Redirect.

14:32:38 11                MS. AYERS:    Your Honor, I just have a few

14:32:44 12    additional questions for Mr. Faulkner.

14:32:47 13                    REDIRECT EXAMINATION

14:32:47 14    BY MS. AYERS:

14:32:48 15    Q.     Mr. Buchbinder, could you please pull up PDX 5.4.

14:32:54 16                Mr. Faulkner, could you please explain to the

14:32:59 17    jury what devices of Dr. Shealy's you did not have access to

14:33:05 18    for purposes of your forensic inspection?

14:33:08 19    A.     Certainly.

14:33:09 20                As I have noted on the far right, this is the

14:33:13 21    second to bottom row for Dr. Jeffrey Shealy.       I did not have

14:33:18 22    his devices from 2014 all the way up to February of 2021.           I

14:33:24 23    only got his February 2021 and forward computer, so for all

14:33:29 24    those previous years, I didn't have his computer to see what

14:33:32 25    he was accessing or possessing.
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14:33:35   1   Q.     Could you also identify for the jury what devices of

14:33:39   2   Mr. Vetury that you did not have access to?

14:33:43   3   A.     For Mr. Vetury -- or maybe Dr. Vetury, I did not have

14:33:50   4   the first computer, computers that he used at Akoustis

14:33:54   5   between August of 2015 and January of 2016.        And I also did

14:34:00   6   not have the sixty-nine different removable drives that were

14:34:04   7   all connected to his Akoustis computers, but were not

14:34:08   8   provided to me for analysis.

14:34:10   9   Q.     Do you recall whether or not you offered opinions

14:34:13 10    regarding which computer systems used by Ms. Winters that

14:34:20 11    you had access to?

14:34:21 12    A.     I'm sorry, are you asking if I recall --

14:34:25 13    Q.     Offering opinions regarding which computer systems of

14:34:28 14    Ms. Winters you had access to?

14:34:31 15    A.     Yes.

14:34:32 16    Q.     Do you remember the dates upon which the computers

14:34:38 17    possessed by Ms. Winters related to?

14:34:41 18    A.     I do.    It was June 23rd of 2020 and forward.

14:34:47 19    Q.     So you did not have access to any of Ms. Winters's

14:34:51 20    computer systems prior to June of 2020; is that correct?

14:34:54 21    A.     That's right.

14:34:55 22    Q.     Finally, with respect to Mr. Aichele, can you explain

14:34:58 23    to the jury what devices of Mr. Aichele you did not have

14:35:02 24    access to?

14:35:03 25    A.     For Mr. Aichele I didn't have his devices between May
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14:35:06   1   of 2015 and May of 2021, so just after that.

14:35:12   2                 MS. AYERS:   I have no further questions, Your

14:35:14   3   Honor.

14:35:14   4                 THE COURT:   All right.     Thank you very much.

14:35:16   5   We'll let you step down.     Thank you.

14:35:18   6                 THE WITNESS:   Thank you, Your Honor.      Shall I

14:35:23   7   leave these here?

14:35:25   8                 THE COURT:   I think we'll gather them up.

14:35:27   9   That's not a problem.

14:35:28 10                  Who will our next witness be?

14:35:32 11                  MR. MASTERS:   Your Honor, plaintiff calls next

14:35:40 12    Rama Vetury, who is an Akoustis principal engineer, and that

14:35:44 13    will be by video.

14:35:45 14                  THE COURT:   That will be by deposition.       Ladies

14:35:48 15    and gentlemen, like all the other depositions, this is the

14:35:50 16    only time we will see that, it is as though that individual

14:35:54 17    were here in person in court, the individual has obviously

14:35:58 18    been sworn, this is your opportunity to hear and see that

14:36:01 19    testimony.

14:36:02 20                  Counsel may proceed.

14:36:04 21                  MR. MASTERS:   Your Honor, may I approach with a

14:36:07 22    document that you requested?

14:36:08 23                  THE COURT:   Sure.

14:36:08 24                  (Videotape deposition of Rama Vetury:)

14:36:15 25    Q.       Good morning.   Could you state your name for the
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14:36:16   1   record, please?

14:36:17   2   A.      Yeah, my name is Rama Vetury.         I go by Rama.

14:36:21   3   Q.      What was your next job?

14:36:23   4   A.      I was hired by Jeff Shealy to work at RF Micro

14:36:34   5   Devices.

14:36:34   6   Q.      That was in 2002?

14:36:39   7   A.      Best as I recall, yes.

14:36:43   8   Q.      Did you know Jeff Shealy before then?

14:36:45   9   A.      No.

14:36:45 10    Q.      And how long were you at RFMD?

14:36:47 11    A.      So whenever I joined sometime, I think, in 2002 until

14:36:53 12    I left to join Akoustis, I was with RFMD in a variety of

14:36:58 13    different roles.     So I believe I left RFMD to join Akoustis

14:37:02 14    in -- I'm thinking the end of August or early September in

14:37:11 15    2015.

14:37:16 16    Q.      So starting at the beginning, what positions did you

14:37:20 17    have at RFMD?

14:37:22 18    A.      Oh, wow.

14:37:27 19    Q.      Generally?

14:37:30 20    A.      So I was hired to work on the gallium nitride

14:37:33 21    process, because that was my background in my Ph.D.            So I

14:37:36 22    did that from 2002 until about 2008.          In 2008, the process

14:37:42 23    was transferred from the Charlotte lab to the main factory

14:37:52 24    in Greensboro.     So I worked on that transition, and I

14:37:56 25    actually worked in the Greensboro site for -- from 2008
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14:38:02   1   until 2009 or '10.    I can't remember exactly.     I worked in

14:38:08   2   Greensboro on -- on that -- on the same technology, but in a

14:38:14   3   different location.

14:38:15   4                  And then in 2010 -- I was actually commuting

14:38:21   5   back and forth between Charlotte and Greensboro.        It was a

14:38:26   6   bit much.   And so I came back to Charlotte.      Work in the --

14:38:30   7   in the business unit.    I started working on government

14:38:33   8   programs, programs we had with the Navy and the Air Force, I

14:38:38   9   think, or mainly the Air Force, from 2009-10, that time

14:38:42 10    frame, to 2013.    So I did that for a few years.      And in that

14:38:47 11    same time, I also worked on a RF switch.      So I developed

14:38:56 12    that, in addition to working on the programs.

14:39:01 13                   And in 2013 -- around about 2013, somewhere in

14:39:06 14    that time frame, Jeff asked me to run the business unit for

14:39:09 15    the foundry.    So we had a -- we had a foundry business unit.

14:39:16 16    I worked in that, and then I took over that business unit

14:39:20 17    somewhere in the 2013 time frame.     I did that for a couple

14:39:30 18    of years until, say, 2015.

14:39:32 19                   And then RFMD shut down after the merger with

14:39:38 20    Qorvo --

14:39:41 21    Q.      The merger with who?

14:39:44 22    A.      Qorvo -- with TriQuint.    Sorry, sorry.    When RFMD

14:39:50 23    merged with TriQuint and became Qorvo, we -- we could not

14:39:54 24    have two separate foundry businesses.       So there was only

14:39:58 25    one.   So then I -- the one in Dallas -- based out of Dallas
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14:40:03   1   was -- was the main one.

14:40:04   2                 So then I did something else in Greensboro.

14:40:08   3   Worked for a brief period with another business unit.           I

14:40:12   4   cannot recall -- it was -- it was brief.        I cannot recall

14:40:15   5   who -- I should recall that, but I can't recall the name of

14:40:19   6   the business unit or my boss, really.         That's -- that's

14:40:23   7   embarrassing.    I wish ---I can't recall it.       But that was

14:40:27   8   just for a brief -- brief few months, I think.          Less than a

14:40:31   9   year.

14:40:31 10    Q.      And what kind of work did you do in that last

14:40:35 11    position?

14:40:35 12    A.      That one was really not that interesting or

14:40:42 13    remarkable.    I'm sorry.    I hope whoever was my boss then is

14:40:49 14    not hearing this.     But it was more like a marketing business

14:40:53 15    development -- technical marketing.       It wasn't very -- I

14:40:57 16    don't know.    It wasn't very deep technically.       It was about

14:41:01 17    creating data sheets and selling parts, essentially.           It was

14:41:07 18    more supporting the business.

14:41:11 19    Q.      Going back to your first positions at Qorvo relating

14:41:15 20    to the gallium nitride, did you -- was it development and

14:41:18 21    then production?     Were those the two positions?

14:41:25 22    A.      In -- in Qorvo --

14:41:28 23    Q.      I'm sorry?

14:41:30 24    A.      Or in RFMD?

14:41:31 25    Q.      At RFMD.    My apologies.
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14:41:36   1   A.     In -- when I joined RFMD, I was -- I ran the team.

14:41:40   2   Actually let me take it back.    When I joined RFMD, I was a

14:41:43   3   process engineer.    I soon was given the responsibility of

14:41:46   4   running the whole team.    I did that from 2004 until 2008.

14:41:52   5   And by 2008, we had -- it was fully production-ready.         We

14:42:00   6   actually ran some pile lot production out of the Fab in

14:42:04   7   Charlotte, and it was good enough to be handed off to the

14:42:07   8   Fab in Greensboro.

14:42:12   9                  So that happened in 2008.    So I -- I was a

14:42:18 10    process engineer and then ran the entire technology.

14:42:20 11    Q.     Okay.    And then why did you leave RFMD?

14:42:23 12    A.     After the merger with TriQuint, I didn't really find

14:42:30 13    a good home.    I think I told you the last thing I did was

14:42:36 14    supporting business.    And my technical interest, I guess,

14:42:43 15    did not align with what I was doing then.       So, yeah.

14:42:56 16    Q.     At that point, did you begin looking for another

14:43:06 17    position, or were you recruited?

14:43:08 18    A.     I was -- not clear exactly how to answer that,

14:43:15 19    because obviously I had been working with Jeff from 2002.             I

14:43:23 20    knew he started this company, and I knew -- I knew him.         I

14:43:28 21    knew he started this company, and I got to the point where I

14:43:32 22    was not really interested in the work that I was doing.

14:43:43 23                   And I guess you could say it was a mix of both.

14:43:47 24    I reached out to him.    He reached out to me.     I can't recall

14:43:50 25    exactly who reached out when, what, all of that, but I had
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14:43:56   1   been in touch with him.

14:43:58   2   Q.     Okay.    Did -- you start at Akoustis in August or

14:44:02   3   September of 2015, is that right?

14:44:04   4   A.     Yeah, I think that's -- that's what I said, right.

14:44:11   5   Q.     Okay.    And you're still at Akoustis today?

14:44:24   6   A.     Yes.

14:44:25   7   Q.     So why don't we walk through each of your positions

14:44:28   8   that you've had at Akoustis since you began.         It might be

14:44:32   9   easiest to start at a high level, and then I'll ask you

14:44:36 10    about each position.     So what was your first position?

14:44:41 11    A.     So I was hired at Akoustis to run the device

14:44:44 12    technology.    We developed a resonator technology.        I did

14:44:48 13    that for some length of time, a couple of years or -- I did

14:44:56 14    that from the day I joined until about 2000 -- I can't

14:45:04 15    recall if it was the beginning of 2018 or the end of 2017 or

14:45:13 16    the middle of 2018, somewhere in that time frame.          So I did

14:45:18 17    that for -- for that duration.       And then I did filter design

14:45:23 18    from -- RF filter design from that point until, say, January

14:45:29 19    of 2022.

14:45:33 20                   And then I've been working on DARPA programs

14:45:39 21    since either December of 2021 and -- somewhere in that --

14:45:44 22    that transition between 2021 and 2022 -- let's say

14:45:49 23    January 2022 until now, to date.

14:45:54 24    Q.     So when you -- when you started at Akoustis, did

14:45:58 25    Akoustis have a functional resonator design?
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14:46:02   1   A.      When I started, I -- they had something.        I would not

14:46:08   2   call it a functional resonator design.       I mean, it didn't --

14:46:13   3   maybe it resonated, I guess, when I first came -- the way in

14:46:21   4   which we were measuring the resonator also wasn't so

14:46:25   5   accurate.    It was -- if it did resonate, it did not resonate

14:46:31   6   very well.

14:46:32   7                   So I guess it depends on your definition of

14:46:38   8   "functional."     It depends on what metrics you associate with

14:46:41   9   that.

14:46:41 10    Q.      Were the -- when you had to fab the prototypes, or

14:46:46 11    make the prototypes, were they done internally at Akoustis

14:46:50 12    or by one of your other vendors?

14:46:52 13    A.      Okay.    So before we had our New York fab, everything

14:46:56 14    we built was in our foundry, not -- when I say "our

14:47:02 15    foundry," not the one we owned, but the one we contracted

14:47:05 16    the work to.     So whatever comes back on the wafer, the wafer

14:47:09 17    is manufactured by the foundry; right?       So I'm not sure how

14:47:13 18    else to answer your question.

14:47:14 19    Q.      You answered it.

14:47:15 20    A.      Okay.

14:47:16 21    Q.      So I think you said, before you were hired by

14:47:19 22    Akoustis, you had -- you had not worked on the RF filters

14:47:23 23    before; is that right?

14:47:26 24    A.      Correct.

14:47:27 25    Q.      And had you worked on --
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14:47:29   1   A.        Correct.

14:47:30   2   Q.        And -- nor on resonators, correct?

14:47:33   3   A.        No, no, no RF filters or resonators.

14:47:37   4   Q.        The -- you mentioned a few people that you -- that

14:47:40   5   worked on the resonator -- resonator design in this -- when

14:47:44   6   you had this initial position.       Did any of them have

14:47:47   7   previous experience working on resonators?

14:47:49   8   A.        As far as I know, no.    Yeah, as far as I know, no.

14:47:58   9   Q.        From the time you were hired up until the time of the

14:48:02 10    New York Fab acquisition, do you recall Akoustis hiring

14:48:07 11    anyone that had background in resonator design?

14:48:14 12    A.        Yeah.    The most -- the most important person we hired

14:48:17 13    was Daeho, Daeho Kim.       And he was the -- we were looking for

14:48:23 14    someone who -- who knew resonators inside out from, like --

14:48:28 15    like someone who has done a Ph.D. in resonators and so on.

14:48:34 16    And -- and he was that guy.

14:48:38 17                      He -- so he knew -- he knew two things that were

14:48:42 18    very helpful, obviously.       He -- he knew resonators from his

14:48:47 19    academic work, and I think he was briefly a professor, and

14:48:51 20    his -- his industry experience.       So he was an expert in the

14:48:55 21    domain.    And, also, he had knowledge of MEMS processes.         So

14:49:01 22    he was a critical hire for the technology piece of it.

14:49:06 23    Q.        When was he hired?

14:49:08 24    A.        I don't recall the exact date, but I think it was in

14:49:15 25    2017, maybe early 2017.       I can't -- I can't remember
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14:49:20   1   exactly.

14:49:21   2   Q.     Have you ever worked on a resonator that used single

14:49:25   3   crystal aluminum nitride?

14:49:29   4   A.     Yeah.   I think some of the early work was all single

14:49:34   5   crystal aluminum nitride.

14:49:37   6   Q.     Do you know if Akoustis's current products used

14:49:44   7   single crystal aluminum nitride?

14:49:47   8   A.     I think some of them do.

14:49:49   9   Q.     Is the -- is the -- does the X BAW process use single

14:49:53 10    crystal aluminum nitride?

14:49:56 11    A.     The X BAW process can use single -- any kind of

14:49:59 12    material, it's a flexible process.

14:50:01 13    Q.     Earlier we talked about selecting resonators that

14:50:04 14    have been previously designed.     Do you know who designed

14:50:08 15    those resonators?

14:50:17 16    A.     That is the device team.

14:50:24 17    Q.     As part of your roles at Akoustis, have you ever

14:50:29 18    become aware of Qorvo confidential information?

14:50:33 19    A.     I can't recall specifically, but there may be some.

14:50:41 20    Q.     Do you recall anything in -- anything specifically?

14:50:46 21    A.     No, I don't recall specifics like that.

14:50:49 22    Q.     Have you ever seen a document bearing an Qorvo

14:50:53 23    confidential label?

14:50:56 24    A.     I can't recall.

14:50:58 25    Q.     Have you ever had -- have you ever heard from anyone
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14:51:04   1   that they have Qorvo confidential information?

14:51:18   2   A.     No, I have not heard from anyone.

14:51:21   3   Q.     Were you ever aware that anyone at Akoustis possessed

14:51:26   4   Qorvo confidential information?

14:51:27   5   A.     I handed over some documents as part of the

14:51:32   6   discovery, like, a few weeks ago, whatever.         I had a hard

14:51:36   7   drive with some information on it.       So I -- I don't know if

14:51:40   8   other people, but I can tell you what I did.

14:51:45   9   Q.     Do you know what trimming is?

14:51:48 10    A.     Yes.

14:51:48 11    Q.     What is it?

14:51:50 12    A.     So trimming is the -- the process in which you adjust

14:51:55 13    the thickness of the final layer that's accessible at the

14:52:00 14    end of the device construction to fine-tune the frequency.

14:52:08 15    Q.     Do you know who is responsible for trimming?

14:52:12 16    A.     Right now?     Actually, I don't.      I don't know who in

14:52:18 17    -- in Mary's organization actually does the trimming.

14:52:20 18    Q.     Do you recall Akoustis ever hiring anyone to do

14:52:23 19    trimming?

14:52:24 20    A.     I recall that we -- towards the end, when I was

14:52:44 21    handing off device to Daeho, I think we hired one person to

14:52:49 22    do trimming --

14:52:52 23    Q.     Who was that?

14:52:58 24    A.     -- to work for Daeho, I think, or maybe worked for

14:53:04 25    Mary, anyway.
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14:53:05   1   Q.     Who was that?

14:53:06   2   A.     I think it was J.B.      I don't recall his full name.           I

14:53:10   3   think he went by J.B., or we called him J.B.

14:53:14   4   Q.     Yeah.    Was it J.B. Kwon?

14:53:17   5   A.     Possibly.     I don't recall the last name for sure.

14:53:20   6   Q.     Do you recall if he had any particular experience

14:53:23   7   that was useful to Akoustis?

14:53:25   8   A.     No.

14:53:27   9   Q.     Okay.    This is 415.    This is 452.    Too many.     This is

14:53:34 10    453.

14:53:36 11                   Do you know what Exhibits 415, 452 and 453 are?

14:53:41 12    A.     You're asking me if I know what these are?          These are

14:53:45 13    e-mails.    And this looks like a document of some kind.

14:53:49 14    Q.     And you are a recipient on these e-mails; correct?

14:53:55 15    A.     Yes.

14:53:58 16    Q.     Okay.    If we look at 452 to start with, there is an

14:54:03 17    e-mail from you that bridges the first and second pages from

14:54:18 18    July 25th, 2017.     Do you see that e-mail?

14:54:26 19    A.     Right.    July 25th, 2017.     Yes.

14:54:32 20    Q.     Do -- in this time frame, were you developing a

14:54:36 21    trimming plan for your products?

14:54:41 22    A.     We would have been -- I think we would have been --

14:54:48 23    this is all about the trimming.       This is also the time frame

14:54:52 24    that I was handing things off to Daeho, and Daeho was the

14:54:56 25    expert on -- I had no -- I had nothing in my background or
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14:55:01   1   knowledge about trimming.     So Daeho was the expert.       And I

14:55:09   2   can't recall if Daeho -- if J.B. worked for Daeho or J.B.

14:55:14   3   worked -- I think J.B. worked for Mary.       And I think Daeho

14:55:19   4   at that point worked for me, or maybe he didn't.         I don't

14:55:22   5   know when he transitioned.     Maybe he still did, because

14:55:26   6   obviously he still -- it looks like that.        So he was the --

14:55:29   7   he was the guy who knew.     I was just his manager.

14:55:33   8   Q.     Okay.    Do you -- have you ever -- do you have any

14:55:38   9   experience with trimming at all?

14:55:44 10    A.     No.   I mean, when you're a designer, you're a

14:55:49 11    consumer of trimming.     You ask for something.     You say, "I

14:55:55 12    want to get 2,500 angstroms."     It gets done in the Fab.       How

14:56:02 13    they do it is --

14:56:04 14    Q.     Okay.    Let's look at -- I'm sorry.      What are we on?

14:56:10 15    452?

14:56:10 16                   Okay.   Let's look at 453, which is the

14:56:14 17    attachment to Mr. Kwon's e-mail in 452.       Do you recall

14:56:20 18    asking Mr. Kwon for the information that's in 453?

14:56:29 19    A.     I don't recall that.

14:56:33 20    Q.     Okay.    Do you know what V2X means in the context of

14:56:38 21    filters?

14:56:38 22    A.     Yeah.    V2X means vehicle to everything, right, so

14:56:43 23    it's the communications, vehicle to everything.         V2X, X

14:56:49 24    meaning everything.     At least that's how I interpret X.       So

14:56:53 25    it's a communication standard for communications from a
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14:56:56   1   vehicle.

14:56:57   2   Q.       Has Akoustis ever tried to develop a V2X filter?

14:57:02   3   A.       I think so, yeah.

14:57:03   4   Q.       Were you involved with it?

14:57:06   5   A.       I think so.     I think I was involved with the C-V2X

14:57:10   6   filter or the V2X filter.        The part numbers are not the same

14:57:14   7   maybe.   That's a name in marketing.        So I have no idea what

14:57:17   8   they are.    Meaning, I don't recall what they are.           But,

14:57:20   9   yeah, I think I did some design for that.

14:57:22 10    Q.       Yes.    Let's do that over again.       154 is AKTS_138271.

14:57:32 11    155 is AKTS_138272 through 274.         Do you recognize these

14:57:40 12    documents?

14:57:40 13    A.       No, I don't recognize them.       But I -- but I read -- I

14:57:47 14    read what -- what the e-mail says.

14:57:49 15    Q.       So the e-mail in Exhibit 154 is from David Aichele, I

14:58:00 16    think -- is that how you say it?

14:58:02 17    A.       Aichele.

14:58:03 18    Q.       From Mr. Aichele to you, correct?

14:58:06 19    A.       Correct.

14:58:07 20    Q.       Okay.    Do you have any recollection as to why

14:58:10 21    Mr. Aichele sent this e-mail to you?

14:58:12 22    A.       I don't have a recollection, but I can -- he's

14:58:16 23    communicating a spec to me.

14:58:20 24    Q.       Okay.    Let's look at 155 now.        Do you recall seeing

14:58:30 25    Exhibit 155 before?
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14:58:36   1   A.      I -- I can't recall this specific one.

14:58:46   2   Q.      You'll see at the bottom of the slides in the black

14:58:52   3   boarder there is a "Qorvo Confidential and Proprietary

14:58:58   4   Information" label.      Do you see that?

14:58:59   5   A.      Yes.

14:58:59   6   Q.      Earlier today, we talked about resonator development.

14:59:03   7   Remember?

14:59:04   8   A.      Right.

14:59:08   9   Q.      Do you recall any particular difficulties that

14:59:11 10    Akoustis had with its resonator development while you were

14:59:13 11    there -- while you were -- while that was in your job

14:59:18 12    responsibility?

14:59:18 13    A.      I mean, that's a little broad.         What I can say is

14:59:23 14    that we had to work on improving the form, right?

14:59:31 15    Essentially you're working on improving the form.

14:59:34 16                   So there were a variety of challenges all during

14:59:38 17    the process.     I can't -- I would be hard-pressed to recall

14:59:42 18    any specific one.      But I'm sure there were a whole bunch as

14:59:45 19    we went from, like, pretty low form to a pretty good form.

14:59:50 20    Yeah.

14:59:50 21    Q.      What was the time frame from going to the low form to

14:59:55 22    the pretty good form?

14:59:57 23    A.      I would say from whenever I joined until the late

15:00:01 24    2017 time frame maybe or the early 2018 time frame.

15:00:06 25    Somewhere 2017.     I guess -- I guess maybe I should say it a
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15:00:13   1   little differently.    Form improved -- I don't know if it

15:00:22   2   improved, you know, non-linear, nothing improves linear,

15:00:27   3   right, so it went up, maybe pressed, and then went up again,

15:00:31   4   some, that kind of thing.     And we were working on different

15:00:34   5   frequencies maybe.    So it's also form active frequency.        So

15:00:38   6   you would have to go back and check to figure out exactly

15:00:40   7   where we were with respect to different frequencies and

15:00:43   8   different forms, I think.     But overall, we worked on form

15:00:47   9   improvement in that time frame.

15:00:50 10    Q.     Has Akoustis ever made an SMR resonator?

15:00:55 11    A.     No.   Not that -- I mean, not to the best of my

15:01:00 12    knowledge, no.

15:01:02 13    Q.     Do you know why?

15:01:03 14    A.     No.   We -- we were in a -- our whole vector was the

15:01:11 15    other direction, right?     It was -- the X BAW process is like

15:01:16 16    -- the whole thing with the X BAW process is that you want

15:01:20 17    to have two air interfaces because the appearance miss match

15:01:27 18    between, a -- between air and any other material is -- is

15:01:40 19    going to be the most broadband.      So the best technology to

15:01:44 20    build is something that has -- looks like the cartoon of the

15:01:49 21    resonator, right.    The cartoon of a resonator has a

15:01:53 22    piezoelectric with metals on both sides and some dial

15:01:57 23    electric and air.    So if you have air on both sides, air,

15:02:01 24    air on both sides, then you get the best broadband

15:02:03 25    reflection, so that's what we want to build, we don't want
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15:02:07   1   to build something that looks like an SMR.

15:02:10   2                  (End of videotape.)

15:02:21   3                  THE COURT:   Who will your next witness be?

15:02:24   4                  MR. MASTERS:   Your Honor, plaintiff's next call

15:02:30   5   Mr. Aichele.    And Mr. DeFosse will do the examination.

15:02:35   6                  THE COURT:   All right.

15:02:46   7                  MR. DeFOSSE:   Your Honor, we have some fairly

15:02:49   8   voluminous binders.

15:02:52   9                  THE COURT:   Ladies and gentlemen, we're going to

15:02:53 10    take our afternoon break for you guys at this time.         I get

15:02:56 11    to stay here and keep working.       Don't discuss the case

15:03:00 12    amongst yourselves.    Do not let anyone talk to you about it.

15:03:04 13    We'll see you in a theoretical fifteen minutes.

15:03:10 14                   COURT CLERK:   All rise.

15:03:11 15                   (Jury exiting the courtroom at 3:03 p.m.)

15:03:31 16                   THE COURT:   So everybody can be seated.

15:03:33 17                   Yes, sir, go ahead.

15:03:35 18                   MR. DeFOSSE:   Yes, Your Honor.    So I was just

15:03:37 19    asking if the Court would like to have the binders that we

15:03:39 20    prepared because they are, this is one set here, and I

15:03:42 21    didn't want to crowd Your Honor with a lot of materials.

15:03:46 22                   THE COURT:   One set or two binders?

15:03:49 23                   MR. DeFOSSE:   It's two binders.

15:03:50 24                   THE COURT:   That's fine.

15:03:54 25                   MR. DeFOSSE:   As long as they are out, one other
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15:03:57   1   issue I want to raise with Your Honor, we're going to be

15:04:01   2   covering some of the trade secrets materials with

15:04:03   3   Mr. Aichele.    I'm not planning to dive into details as I did

15:04:06   4   with the other witnesses, I think out of an abundance of

15:04:10   5   caution, we could seal the courtroom at the appropriate

15:04:12   6   time.

15:04:12   7                  THE COURT:   I agree with you, we'll have to let

15:04:15   8   a couple of people be excused.      Absolutely, that's not a

15:04:18   9   problem.    Have we gotten some initial comments -- we have

15:04:22 10    comments again on the verdict form, we're still working on

15:04:26 11    that, I think we're very close to what we will actually need

15:04:29 12    to use.    Would you like a short break before we start?

15:04:32 13                   MR. DeFOSSE:   I would, Your Honor, yes.

15:04:34 14                   THE COURT:   Yes, sir, Mr. Masters, I see you're

15:04:36 15    standing up so must be something here.

15:04:39 16                   MR. MASTERS:   I have the exhibits and the time

15:04:41 17    for Mr. Vetury's deposition.

15:04:43 18                   THE COURT:   Yes, that would be helpful.

15:04:46 19                   MR. MASTERS:   And there is three exhibits, so,

15:04:50 20    that have to be marked.

15:04:51 21                   THE COURT:   That will add three to our number.

15:04:54 22    And that should put us about, what's your number there,

15:04:59 23    one--

15:05:01 24                   COURT CLERK:   It will be 123.

15:05:03 25                   THE COURT:   We will be through 123.     We're
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15:05:06   1   starting at 124.

15:05:09   2                 MR. DeFOSSE:    Your Honor, may I raise very

15:05:11   3   quickly.    One of the issues that I had with Mr. Aichele's

15:05:14   4   exhibits is I believe some of them came through or will have

15:05:17   5   been introduced through Mr. Houlden's deposition today, so I

15:05:21   6   was --

15:05:21   7                 THE COURT:   You can use that number, that's

15:05:24   8   fine, because we don't introduce repeat exhibits and you're

15:05:29   9   a hundred percent right about that.

15:05:30 10                  MR. DeFOSSE:    Thank you.

15:05:31 11                  THE COURT:   What else do we need to go over?

15:05:34 12    Okay.    I think we're set.   We'll take that short -- well,

15:05:39 13    somewhat short break, we'll see you all in about, it looks

15:05:43 14    like no later than thirteen minutes, probably that means

15:05:49 15    about eleven.

15:05:49 16                  Thanks very much.

15:05:50 17                  COURT CLERK:    All rise.

15:05:51 18                  (A brief recess was taken.)

15:19:24 19                  THE COURT:   All right.     Everybody can be seated.

15:19:28 20    Can we bring the panel in?     The witness should be in the

15:19:31 21    room ready to go.

15:19:41 22                  (Jury entering the courtroom at 3:19 p.m.)

15:20:21 23                  THE COURT:   All right.     Everyone can be seated.

15:20:30 24    Counsel may proceed.    Who will your next witness be?

15:20:34 25                  MR. DeFOSSE:    Thank you, Your Honor.    Plaintiff
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15:20:37   1   calls David Aichele.

15:20:38   2                  THE COURT:    Step here to the podium towards the

15:20:41   3   deputy clerk and raise your right hand and he will swear you

15:20:44   4   in.

15:20:44   5                  COURT CLERK:    Please remained standing and raise

15:20:47   6   your right hand.       Please state and spell your name for the

15:20:50   7   record.

15:20:50   8                  THE WITNESS:    David Aichele, D-A-V-I-D,

15:20:56   9   A-I-C-H-E-L-E.

15:20:57 10                   DAVID AICHELE, having been duly sworn, was

15:21:01 11    examined and testified as follows:

15:21:08 12                   THE COURT:    Counsel may proceed.

15:21:09 13                   MR. DeFOSSE:    Thank you, Your Honor.

15:21:10 14                         DIRECT EXAMINATION

15:21:10 15    BY MR. DeFOSSE:

15:21:11 16    Q.        Good afternoon, Mr. Aichele.

15:21:12 17    A.        Good afternoon.

15:21:13 18    Q.        You currently work for Akoustis, is that right?

15:21:15 19    A.        Correct.

15:21:16 20    Q.        You are the executive Vice President of Business

15:21:19 21    Development?

15:21:19 22    A.        Correct.

15:21:20 23    Q.        And you first started work at Akoustis in 2015?

15:21:25 24    A.        Correct.

15:21:26 25    Q.        You were, in fact, one of the first employees at the
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                                         Aichele - direct

15:21:30   1   company; is that right?

15:21:30   2   A.     I believe I was number five.

15:21:33   3   Q.     And prior to working at Akoustis, you worked at a

15:21:36   4   company that was called T 1 Visions, is that right?

15:21:39   5   A.     Now called T1V.

15:21:42   6   Q.     And that was from 2012 to 2015?

15:21:46   7   A.     Correct.    About two-and-a-half years.

15:21:49   8   Q.     And prior to working at T1V, you worked at RFMD; is

15:21:54   9   that right?

15:21:54 10    A.     Correct.

15:21:54 11    Q.     For approximately eight years, from 2004 to 2012?

15:22:00 12    A.     Correct.

15:22:01 13    Q.     In your position as executive Vice President of

15:22:05 14    Business Development at Akoustis, you basically manage the

15:22:09 15    front end of the company's operations, is that fair?

15:22:12 16    A.     Correct.

15:22:13 17    Q.     And that includes responsibility for the sales and

15:22:16 18    marketing teams?

15:22:17 19    A.     Correct.

15:22:19 20    Q.     You're also responsible for business development at

15:22:22 21    Akoustis?

15:22:23 22    A.     Correct.

15:22:24 23    Q.     And business development includes developing products

15:22:27 24    strategies and marketing strategies?

15:22:30 25    A.     Correct.
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15:22:31   1   Q.     And, for example, as part of your responsibility, you

15:22:35   2   are responsible for developing product roadmaps?

15:22:39   3   A.     Correct.

15:22:40   4   Q.     At the time you joined Akoustis in 2015, you

15:22:46   5   considered the mobile phone market segment to be crucial to

15:22:52   6   Akoustis's success; is that right?

15:22:53   7   A.     Correct.

15:22:56   8   Q.     But over time, the market opportunity for Akoustis

15:23:00   9   changed; is that right?

15:23:00 10    A.     Correct.

15:23:01 11    Q.     And you realized that getting into the mobile phone

15:23:06 12    segment was going to be difficult for a company like

15:23:09 13    Akoustis?

15:23:09 14    A.     We're a small company, yes.

15:23:14 15    Q.     And also prior to 2015, there were already companies

15:23:17 16    that had BAW filters on the market; is that right?

15:23:21 17    A.     Correct.

15:23:21 18    Q.     Including TriQuint?

15:23:23 19    A.     Correct.

15:23:25 20    Q.     So part of what you were doing at the company is you

15:23:29 21    were trying to figure out what market there would be that

15:23:34 22    would be more forgiving for Akoustis?

15:23:36 23    A.     Correct.

15:23:45 24                MR. DeFOSSE:     Now, Your Honor, I'm going to

15:23:47 25    proceed now into discuss some of the trade secrets in this
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                                         Aichele - direct

15:23:50   1   case.

15:23:51   2                  THE COURT:    All right.    If there is anyone in

15:23:53   3   the courtroom who is not allowed to be here for those, and I

15:23:57   4   think everybody has excused themselves, and they should be

15:24:00   5   excused at this time.       It looks like we're okay.    And you

15:24:03   6   can proceed.

15:24:04   7                  MR. DeFOSSE:    Thank you, Your Honor.

15:24:10   8                  May I approach the witness?

15:24:12   9                  THE COURT:    You may.

15:24:20 10    BY MR. DeFOSSE:

15:24:33 11    Q.        Mr. Aichele, I've handed you what's previously been

15:24:37 12    marked in this case as Exhibit 22.        It was previously marked

15:24:40 13    as PTX 0718 for identification, but it's now Exhibit 22.

15:24:47 14    Just take a moment to look at it.         And you recognize this as

15:24:53 15    an e-mail to yourself; is that right?

15:24:58 16    A.        That is correct.

15:24:59 17    Q.        And it was sent by Mr. Rohan Houlden, is that right?

15:25:04 18    A.        Yes, correct.

15:25:05 19    Q.        And the date of the e-mail was September 8th, 2016?

15:25:10 20    A.        Correct.

15:25:12 21    Q.        And Mr. Houlden included an attachment to his e-mail,

15:25:18 22    is that right?

15:25:18 23    A.        Yes, he did.

15:25:19 24    Q.        So I would like to first look at the body of the

15:25:22 25    e-mail.    And Mr. Buchbinder, if we could pull up PTX 718,
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                                         Aichele - direct

15:25:30   1   Exhibit 22.    Thank you.

15:25:31   2                 So, Mr. Aichele, the message here is a little

15:25:35   3   cryptic and I was hoping you could help us decipher this.

15:25:38   4   Mr. Houlden said to you, "Latest SOW, FL working on."         Do

15:25:45   5   you see that?

15:25:45   6   A.       Yes I do.

15:25:46   7   Q.       What does SOW mean?

15:25:49   8   A.       I believe it means statement of work.

15:25:50   9   Q.       And FL here is a reference to Florida, is that right?

15:25:54 10    A.       I believe so.

15:25:56 11    Q.       And you understood that the reference to Florida here

15:25:59 12    was because that's where Qorvo develops its BAW filter

15:26:04 13    designs; is that right?

15:26:04 14    A.       I believe so.

15:26:06 15    Q.       At the time Mr. Houlden sent you this e-mail in

15:26:10 16    September of 2016, on September 8th, he was not yet an

15:26:16 17    employee at Akoustis, correct?

15:26:17 18    A.       I'm not exactly sure on the time when he started, but

15:26:21 19    it's possible, because I believe he started the latter part

15:26:24 20    of 2016.

15:26:25 21    Q.       At this time you understood that Mr. Houlden was

15:26:28 22    still working at Qorvo?

15:26:29 23    A.       I'm not aware of the exact time that he departed

15:26:34 24    Qorvo.

15:26:34 25    Q.       Can you look at the attachment to Mr. Houlden's
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                                        Aichele - direct

15:26:37   1   e-mail to yourself?    Would you agree with me that he has

15:26:43   2   sent you a Qorvo statement of work?

15:26:46   3   A.       Yes, I agree with you.

15:26:48   4   Q.       And this is a statement of work for a 5-gigahertz BAW

15:26:54   5   filter; is that right?

15:26:56   6   A.       Yes, it is.

15:26:57   7   Q.       And you would also agree with me that this statement

15:27:01   8   of work is labeled as confidential, right?

15:27:03   9   A.       Yes, I do.

15:27:04 10    Q.       If I could ask you to go to page 5 of Exhibit 22.

15:27:11 11    A.       I'm there.

15:27:12 12    Q.       And it's page 6 of the document, Mr. Buchbinder, if

15:27:17 13    you wouldn't mind.     Thank you.

15:27:19 14                  On page 5 of the statement of work, Qorvo has

15:27:24 15    included a target technical outline; is that right?

15:27:27 16    A.       Correct.

15:27:27 17    Q.       And this indicates the technical specifications that

15:27:31 18    Qorvo was targeting for its 5.6-gigahertz product, is that

15:27:36 19    right?

15:27:36 20    A.       Correct.

15:27:37 21    Q.       And at this time, the 5.6-gigahertz product is

15:27:41 22    identified as QPQ19XX, do you see that?

15:27:45 23    A.       Yes, I do.

15:27:47 24    Q.       And that's in the far, third column; is that right?

15:27:52 25    A.       Correct.
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                                       Aichele - direct

15:27:53   1   Q.     And that's because at this time, Qorvo did not have a

15:27:57   2   5.6-gigahertz product on the market?

15:28:00   3   A.     I do not believe they did at this time.

15:28:03   4   Q.     Now, when Mr. Houlden sent you this confidential

15:28:08   5   Qorvo statement of work, you didn't object?

15:28:11   6   A.     To his e-mail?    Correct.

15:28:14   7   Q.     And you didn't admonish him for sending you

15:28:18   8   confidential Qorvo materials, correct?

15:28:20   9   A.     Right.

15:28:20 10    Q.     And, in fact, you retained this document once he sent

15:28:24 11    it to you, is that right?

15:28:25 12    A.     Potentially, I'm not sure of retaining it.       It was

15:28:29 13    obviously discovered in my files, then I did.

15:28:32 14    Q.     And you used this document in order to prepare the

15:28:36 15    Akoustis 5-gigahertz market summary, is that right?

15:28:40 16    A.     I referenced I think Qorvo's competitor, I didn't use

15:28:44 17    this document specifically.

15:28:59 18                MR. DeFOSSE:    Your Honor, may I approach the

15:29:01 19    witness?

15:29:01 20                THE COURT:    You may.

15:29:18 21    BY MR. DeFOSSE:

15:29:21 22    Q.     Mr. Aichele, I've handed you what's been marked for

15:29:24 23    identification as PTX 0779.    This is an e-mail to yourself;

15:29:30 24    is that correct?

15:29:33 25    A.     This --
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                                        Aichele - direct

15:29:33   1   Q.     I'm sorry an e-mail from yourself to other managers

15:29:37   2   at Akoustis, is that right?

15:29:37   3   A.     Yes, correct.

15:29:39   4                MR. DeFOSSE:    Your Honor, we would offer PTX

15:29:42   5   0779 into evidence.

15:29:44   6                THE COURT:   Marked and received as 124.

15:29:49   7                (Trial Exhibit No. 124 was admitted into

15:29:50   8   evidence.)

15:29:50   9   BY MR. DeFOSSE:

15:29:51 10    Q.     Mr. Aichele, you circulated the Akoustis 5-gigahertz

15:29:56 11    market summary on October 13th, 2016; is that right?

15:30:00 12    A.     Correct.

15:30:01 13    Q.     This is roughly one month after Mr. Houlden sent you

15:30:05 14    the confidential Qorvo statement of work?

15:30:09 15    A.     Correct.

15:30:09 16    Q.     I would like to turn to slide 2 of the presentation

15:30:14 17    that was attached to exhibit --

15:30:18 18                 MR. DeFOSSE:    I'm sorry, Your Honor, what was

15:30:19 19    the exhibit number?

15:30:21 20                 THE COURT:   124.

15:30:22 21                 MR. DeFOSSE:    124.   Thank you.

15:30:24 22    Q.     To 124, please.

15:30:26 23                 And page 3, Mr. Buchbinder, please.      Thank you.

15:30:31 24                 Mr. Aichele, you list on slide two of your

15:30:36 25    Akoustis summary "market priorities", is that right?
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                                        #: 40535                             891
                                         Aichele - direct

15:30:39   1   A.        Correct.

15:30:40   2   Q.        And you include the letters IMHO.     What does that

15:30:46   3   stand for?

15:30:46   4   A.        In my honest opinion.

15:30:48   5   Q.        And you have listed 5-gigahertz Wi-Fi as the number

15:30:53   6   one market priority, is that right?

15:30:55   7   A.        Correct.

15:30:55   8   Q.        And that's above mobile?

15:30:59   9   A.        Correct.

15:31:00 10    Q.        Now, I would like you to turn to page 8 of the

15:31:02 11    presentation.    Actually page 8 this time, Mr. Buchbinder.

15:31:13 12    Sorry.    I'm switching it up on you.     There we go.

15:31:16 13                   On page 8, you've identified specifications of

15:31:20 14    potential competitors for Akoustis in this market; is that

15:31:25 15    right?

15:31:25 16    A.        Correct.

15:31:26 17    Q.        Including Qorvo?

15:31:28 18    A.        Correct.

15:31:28 19    Q.        And if Mr. Buchbinder, we can zoom in on the second

15:31:33 20    column.    Thank you.

15:31:34 21                   You have copied this information in the second

15:31:40 22    column of your 5-gigahertz market plan from the Qorvo

15:31:44 23    statement of work; is that right?

15:31:45 24    A.        It's possible.   I don't remember.    It's been years

15:31:48 25    ago.   I was aware of Qorvo working on these 5-gigahertz
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                                        #: 40536                             892
                                         Aichele - direct

15:31:54   1   filters and there was other information that might have come

15:31:57   2   in, too, as well, but it's possible you had used it from the

15:32:00   3   statement of work.

15:32:01   4   Q.        And, in fact, if we look at the second box up top,

15:32:05   5   you have copied it down to the Qorvo QPQ19xx, right?

15:32:11   6   A.        Correct.

15:32:12   7   Q.        Now, if we could go to the last page of the

15:32:16   8   presentation.    Thank you, Mr. Buchbinder.

15:32:21   9                  The presentation concludes with a call to

15:32:24 10    action.    Is that right?

15:32:25 11    A.        Correct.

15:32:27 12    Q.        And it says, "make decision to kick off or hold on

15:32:31 13    low and high band 5-gigahertz designs."       Right?

15:32:35 14    A.        Correct.

15:32:36 15    Q.        And Akoustis, in fact, made the decision to move

15:32:40 16    forward with the 5-gigahertz designs; is that right?

15:32:43 17    A.        Correct.

15:32:46 18    Q.        Now, we can take that down, Mr. Buchbinder.      Thank

15:32:51 19    you.

15:32:51 20                   The 5-gigahertz statement of work that

15:32:53 21    Mr. Houlden sent you was not the only confidential document

15:32:57 22    that he shared with you, was it?

15:33:01 23    A.        Correct.

15:33:08 24                   MR. DeFOSSE:   Your Honor, may I approach the

15:33:09 25    witness?
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                                          Aichele - direct

15:33:10   1                  THE COURT:   You may.

15:33:35   2                  MR. DeFOSSE:    Your Honor, I believe these two

15:33:37   3   exhibits were marked for identification as PTX 104 and 105,

15:33:41   4   and will be admitted as part of the deposition testimony of

15:33:45   5   Mr. Houlden.

15:33:47   6                  THE COURT:   All right.    Do you want to ask one

15:33:50   7   or two questions first?

15:33:51   8                  MR. DeFOSSE:    Sure, I can.

15:33:51   9   BY MR. DeFOSSE:

15:33:54 10    Q.      Mr. Aichele, you recognize what's been marked as PTX

15:33:59 11    0104 as an e-mail to yourself from Mr. Houlden, is that

15:34:04 12    fair?

15:34:04 13    A.      Yes.

15:34:04 14    Q.      And exhibit that's been marked for identification as

15:34:07 15    PTX 0105 is an attachment to that e-mail, correct?

15:34:11 16    A.      It appears so, yes.

15:34:13 17    Q.      Thank you.

15:34:14 18                   THE COURT:   So that's marked and received as 125

15:34:18 19    and 126.

15:34:19 20                   (Trial Exhibit Nos. 125 and 126 were admitted

15:34:21 21    into evidence.)

15:34:21 22    BY MR. DeFOSSE:

15:34:27 23    Q.      Mr. Buchbinder, could you please pull up what's been

15:34:30 24    marked as PTX 0104, now Exhibit 125.

15:34:37 25                   Now, Mr. Aichele, in this e-mail, Mr. Houlden
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                                      #: 40538                             894
                                       Aichele - direct

15:34:43   1   has sent you an attachment.    Do you see that?

15:34:46   2   A.     Yes, I do.

15:34:47   3   Q.     And the attachment is called the BAW SAW filter

15:34:52   4   reliability testing FL 2015; is that right?

15:34:56   5   A.     Yes, it is.

15:34:58   6   Q.     And the subject of the e-mail says "some light

15:35:02   7   reading", right?

15:35:04   8   A.     Correct.

15:35:05   9   Q.     And if you look at the attachment to the e-mail,

15:35:08 10    which is now Exhibit 126, you'll see that this is a

15:35:12 11    confidential Qorvo presentation; is that right?

15:35:15 12    A.     Correct.

15:35:16 13    Q.     When Mr. Houlden sent you this confidential Qorvo

15:35:20 14    presentation, you did not admonish him, did you?

15:35:23 15    A.     No, I did not.

15:35:25 16    Q.     Or object to receiving the presentation?

15:35:27 17    A.     No, I did not.

15:35:30 18    Q.     Now, Mr. Aichele, Mr. Houlden is not the only

15:35:34 19    Akoustis employee who circulated Qorvo confidential

15:35:37 20    information, is he?

15:35:38 21    A.     Correct.

15:35:39 22    Q.     And, in fact, you yourself have been involved in

15:35:42 23    soliciting and circulating Qorvo confidential information?

15:35:46 24    A.     I would not say soliciting, but I have been in I

15:35:50 25    guess distributing confidential information.
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                                        #: 40539                             895
                                         Aichele - direct

15:36:15   1                 MR. DeFOSSE:    Your Honor, may I approach the

15:36:16   2   witness?

15:36:17   3                 THE COURT:   You may.

15:36:18   4                 MR. DeFOSSE:    Thank you.

15:36:51   5   BY MR. DeFOSSE:

15:36:52   6   Q.     Mr. Aichele, I have handed you what's been marked for

15:36:55   7   identification as PTX-0521, PTX-0522, and PTX-0523.         Do you

15:37:07   8   recognize PTX-0521 as an e-mail from Steven Li to yourself

15:37:13   9   in January of 2020?

15:37:14 10    A.     Correct.

15:37:15 11    Q.     And PTX-0522 and 0523 are attachments to that e-mail?

15:37:24 12    A.     It appears so, yes.

15:37:26 13                  MR. DeFOSSE:    Your Honor, plaintiff would offer

15:37:28 14    PTX-0521, 0522, and 0523 into evidence.

15:37:34 15                  THE COURT:   Marked and received as 127, 128, and

15:37:38 16    129.

15:37:38 17                  (Trial Exhibit Nos. 127, 128, and 129 were

15:37:39 18    admitted into evidence.)

15:37:39 19    BY MR. DeFOSSE:

15:37:43 20    Q.     Starting with Exhibit 127, Mr. Aichele, this was an

15:37:47 21    e-mail from Steven Li to yourself in January of 2020, is

15:37:52 22    that right?

15:37:52 23    A.     Correct.

15:37:53 24    Q.     And can you say who Steven Li is?

15:37:57 25    A.     Steven Li was the country director for Akoustis
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                                           Aichele - direct

15:38:02   1   covering greater China and he was a contractor.

15:38:04   2   Q.       And he reported to you, is that right?

15:38:07   3   A.       Correct.

15:38:08   4   Q.       And in this e-mail, Mr. Li is providing you with a

15:38:12   5   recap of the meeting he had with China's company named

15:38:16   6   Tenda, is that right?

15:38:18   7   A.       Correct.

15:38:19   8   Q.       And Tenda is a Chinese Wi-Fi company, is that right?

15:38:22   9   A.       I believe so.

15:38:23 10    Q.       I would like to look on the -- at the fifth bullet

15:38:29 11    under key takeaways on the first page of Exhibit 127 if you

15:38:38 12    could.

15:38:41 13    A.       Yes.

15:38:43 14    Q.       Thank you.

15:38:44 15                    In this bullet, Mr. Li reports that Qorvo had

15:38:49 16    started to promote their 5.2 and 5.6-gigahertz filters, do

15:38:55 17    you see that?

15:38:55 18    A.       Yes, I do.

15:38:56 19    Q.       And Mr. Li states that he's attaching to this e-mail

15:38:59 20    evaluation data and spec; is that right?

15:39:04 21    A.       Yes.    Correct.

15:39:06 22    Q.       And if we look at the top of Mr. Li's e-mail, you can

15:39:09 23    see that there are two attachments there?

15:39:12 24    A.       Yes, I do.

15:39:14 25    Q.       The first is a JPEG file, is that right?
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                                       Aichele - direct

15:39:18   1   A.     Correct.

15:39:18   2   Q.     You understand a JPEG file is a photo file?

15:39:22   3   A.     Correct.

15:39:22   4   Q.     And the other attachment is a PDF, is that right?

15:39:26   5   A.     Correct.

15:39:27   6   Q.     And both attachments make reference to a Qorvo part

15:39:31   7   number, correct?

15:39:33   8   A.     Correct.

15:39:36   9   Q.     Now, if we could go, please, to PTX 0523.       This is

15:39:46 10    one of the attachments that Mr. Li sent you in January of

15:39:50 11    2020, is that right?

15:39:52 12    A.     Correct.

15:39:52 13    Q.     And you would agree with me that this document was

15:39:55 14    water marked?

15:39:56 15    A.     Correct.

15:39:56 16    Q.     And the watermark specifically says confidential NDA

15:40:02 17    required?

15:40:02 18    A.     Correct.

15:40:05 19    Q.     And if we could turn, Mr. Buchbinder, to the page 3

15:40:08 20    of Exhibit 126.

15:40:13 21                Mr. Aichele, would you agree with me that on

15:40:16 22    this page there is an additional watermark that says draft?

15:40:20 23    A.     Correct.

15:40:22 24    Q.     When Mr. Li sent you this information, there was no

15:40:26 25    admonishment from you that he was sending confidential Qorvo
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                                        #: 40542                             898
                                         Aichele - direct

15:40:31   1   files the you?

15:40:32   2   A.        Correct.

15:40:32   3   Q.        Sorry?

15:40:33   4   A.        Correct, there was no admonishment.

15:40:36   5   Q.        Thank you.

15:40:37   6                  Instead, what you did was you circulated the

15:40:41   7   information that Mr. Li had sent to you to other people at

15:40:44   8   Akoustis, right?

15:40:45   9   A.        Possible, yes.

15:40:58 10                   MR. DeFOSSE:     Your Honor, may I approach the

15:40:59 11    witness?

15:41:01 12                   THE COURT:   You may.

15:41:26 13    BY MR. DeFOSSE:

15:41:30 14    Q.        Mr. Aichele, I've handed you what's been marked for

15:41:33 15    identification as exhibits PTX 137, 138, and 139.         Would you

15:41:40 16    agree with me that PTX 137 is an e-mail from yourself to

15:41:44 17    Mr. Houlden and to Jeffrey Shealy, the CEO of Akoustis?

15:41:49 18    A.        Correct.

15:41:50 19    Q.        And Exhibits 138 and 139 are attachments to that

15:41:53 20    e-mail?

15:41:55 21    A.        Yes, it appears so.

15:41:58 22                   MR. DeFOSSE:     Your Honor, we would offer into

15:42:00 23    evidence exhibits PTX 137, 138, and 139.

15:42:05 24                   THE COURT:   Marked and received as 130, 131, and

15:42:08 25    132.
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                                          #: 40543                             899
                                           Aichele - direct

15:42:09   1                   (Trial Exhibit Nos. 130, 131, and 132 were

15:42:10   2   admitted into evidence.)

15:42:10   3   BY MR. DeFOSSE:

15:42:13   4   Q.       Starting with the e-mail, which is Exhibit 130,

15:42:17   5   Mr. Aichele, this was sent on January 7th, 2020; is that

15:42:24   6   right?

15:42:24   7   A.       Yes, it was.

15:42:25   8   Q.       And this was the same day that Mr. Li sent to you the

15:42:29   9   confidential Qorvo data sheet; is that right?

15:42:31 10    A.       Yes, it appears so.

15:42:33 11    Q.       And you passed that on to Mr. Houlden, who was the

15:42:36 12    Vice President of Product Development; is that right?

15:42:39 13    A.       At this time he may have been the CPO, but either VP

15:42:45 14    of Engineering or CPO.

15:42:48 15    Q.       By CPO, you mean Chief Product Officer?

15:42:52 16    A.       Yes.

15:42:52 17    Q.       I think I mentioned earlier, Dr. Shealy is the CEO of

15:42:57 18    Akoustis?

15:42:58 19    A.       Right.

15:42:58 20    Q.       You attached two files to your e-mails to them,

15:43:02 21    right?

15:43:02 22    A.       Correct.

15:43:03 23    Q.       Those are the two files that Mr. Li sent to you,

15:43:06 24    right?

15:43:06 25    A.       It appears so, yes.
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                                      #: 40544                             900
                                       Aichele - direct

15:43:07   1   Q.     Including the confidential data sheet?

15:43:10   2   A.     It appears so, yes.

15:43:11   3   Q.     And you -- it was the standard practice of yours, in

15:43:16   4   fact, to forward such documents, right?

15:43:19   5   A.     I would say it's the standard practice to forward

15:43:23   6   business intelligence and business technical marketing

15:43:26   7   information, this is one example.

15:43:28   8   Q.     And you would forward such documents regardless of

15:43:31   9   whether they were confidential as long as you thought they

15:43:34 10    would help the strategic decisions that Akoustis was making?

15:43:37 11    A.     No, I wouldn't say that it -- you know, if it was

15:43:41 12    marked confidential, I wouldn't forward it for that purpose,

15:43:45 13    it was mainly forwarded documents that I felt were relevant

15:43:49 14    to sharing and informing at the time I was supporting this,

15:43:52 15    we were already engaged with the 5.2 and 5.6 filter in the

15:43:57 16    market and the main competitors we were competing with was

15:44:01 17    not Qorvo, and this was just me sharing information that,

15:44:05 18    you know, that Qorvo was eventually coming out to the market

15:44:08 19    with product, you know, they were probably a couple years

15:44:12 20    late, so it was raising awareness, which actually would help

15:44:16 21    us in obvious having more competitors that have BAW

15:44:20 22    technology out in the market, that was my main goal for

15:44:23 23    sharing at the time.

15:44:24 24    Q.     You were forwarding this information to assist

15:44:26 25    Akoustis in making strategic decisions, correct?
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                                        #: 40545                             901
                                         Aichele - direct

15:44:29   1   A.     No, I think it was more just informing and raising

15:44:32   2   awareness.    We had already made our strategic decisions to

15:44:37   3   invest and engage in this market segment.

15:44:39   4                  MR. DeFOSSE:   Your Honor, may I approach the

15:44:41   5   witness?

15:44:41   6                  THE COURT:   You may.

15:44:55   7   BY MR. DeFOSSE:

15:44:57   8   Q.     Mr. Aichele, do you recall that I deposed you in this

15:45:00   9   case on September 15th of 2023?

15:45:02 10    A.     Yes.

15:45:02 11    Q.     And when you provided your testimony at that

15:45:06 12    deposition, you were under oath; is that right?

15:45:08 13    A.     Yes.

15:45:08 14    Q.     And I think the answer you just gave me is maybe not

15:45:12 15    quite the same as the answer I got before, so I would like

15:45:15 16    to ask you to take a look at it quickly for me.

15:45:18 17    A.     Sure.

15:45:18 18    Q.     So I'm going to direct you to page 190 of the

15:45:22 19    deposition transcript.      And I would like to ask you to look

15:45:36 20    at line 10.    There is a question, do you see it there?

15:45:39 21    A.     Line 10, yes.

15:45:41 22    Q.     And then your answer begins at line 13?

15:45:46 23    A.     Yes, I do see that.

15:45:48 24    Q.     In September of 2023, I asked you:

15:45:52 25                   "QUESTION:   Would it have been a standard
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                                       #: 40546                             902
                                        Aichele - direct

15:45:54   1   practice of yours" --

15:45:56   2                 MR. ELKINS:    Objection, Your Honor.   Is this --

15:45:58   3                 THE COURT:    Objection is overruled.

15:46:00   4   Q.       "QUESTION:   Would it have been a standard practice of

15:46:02   5   yours to forward documents received that have watermarks on

15:46:05   6   them?"

15:46:06   7                 Do you see that?

15:46:07   8   A.       Yes, I do see that.

15:46:08   9   Q.       And your answer was:

15:46:09 10                  "ANSWER:   It's not specific to confidential

15:46:11 11    information that I would draw attention to.       It's mainly

15:46:15 12    just sharing information that I thought would help, you

15:46:19 13    know, as a com corporation, you know?      You know, make

15:46:24 14    strategic decisions.     So if it had a confidential or not

15:46:28 15    confidential, I would forward the documents if I thought it

15:46:32 16    was a relevant or raised awareness."

15:46:38 17                  Do you see that?

15:46:38 18    A.       Yes, I do.

15:46:46 19    Q.       Now, you circulated Qorvo's confidential 5-gigahertz

15:46:51 20    data sheet because you thought it would be helpful to

15:46:55 21    Akoustis, is that right?

15:46:55 22    A.       Again, I'll reiterate that I think my main purpose

15:46:59 23    for sharing it was to raise awareness as I stated here in

15:47:03 24    the deposition that you took back in September.

15:47:40 25                  MR. DeFOSSE:     Your Honor, may I approach?
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                                        #: 40547                             903
                                         Aichele - direct

15:47:42   1                 THE COURT:   You may.

15:47:54   2   BY MR. DeFOSSE:

15:47:55   3   Q.     Mr. Aichele, I have handed you what's previously been

15:47:59   4   marked in this case as Exhibits 47 and 48.        Would you agree

15:48:04   5   with me that Exhibit 47, which on your copy is identified as

15:48:08   6   PTX 0011, is an e-mail from yourself to Mr. Houlden and

15:48:13   7   Dr. Dave Hodge?

15:48:15   8   A.     Correct.

15:48:16   9   Q.     And what's been marked on your copy as PTX 0012 is

15:48:21 10    the attachment to that e-mail?

15:48:24 11    A.     It appears so, yes.

15:48:27 12    Q.     Mr. Buchbinder, could we bring up PTX 0011.

15:48:32 13                  So, Mr. Aichele, this is Exhibit 47.       This is an

15:48:44 14    e-mail from yourself to Mr. Houlden and Mr. Hodge; right?

15:48:48 15    A.     Correct.

15:48:48 16    Q.     And this was sent in March of 2020?

15:48:53 17    A.     Correct.

15:48:53 18    Q.     This is roughly two months after Mr. Li first sent up

15:48:59 19    Qorvo's confidential data sheet, is that right?

15:49:01 20    A.     Yes.

15:49:01 21    Q.     And would you agree with me that at this time, two

15:49:05 22    months later, you were still circulating the same

15:49:09 23    confidential data sheet to folks at Akoustis?

15:49:12 24    A.     Yes.

15:49:12 25    Q.     Including to Dr. Hodge, who was working on developing
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                                       #: 40548                             904
                                        Aichele - direct

15:49:16   1   Akoustis's 5.2-gigahertz filter, right?

15:49:19   2   A.     The next generation, yes.

15:49:27   3   Q.     Now you noted to Dr. Hodge in your e-mail, note the

15:49:30   4   rejection and harmonics.    Do you see that?

15:49:33   5   A.     Yes, I do.

15:49:34   6   Q.     And that was a reference to the confidential Qorvo

15:49:37   7   data sheet that you sent?

15:49:39   8   A.     Yes, it was.

15:49:43   9   Q.     Now, the confidential Qorvo data sheet that we have

15:49:47 10    been discussing is not the only confidential Qorvo document

15:49:50 11    that Steven Li sent to you, is it?

15:49:53 12    A.     Off the top of my head, I don't know.       I don't

15:50:27 13    remember.

15:50:27 14    Q.     Mr. Aichele, I've handed you what's been marked for

15:50:31 15    identification as PTX 567.     Would you agree with me that

15:50:35 16    that is an e-mail from Mr. Li to yourself and Colin Hunt in

15:50:40 17    February of 2021?

15:50:43 18    A.     Correct.

15:50:45 19                 MR. DeFOSSE:    Your Honor, we would move or offer

15:50:47 20    for admission PTX 567.

15:50:49 21                 THE COURT:    Marked and received as Exhibit 133.

15:50:54 22                 (Trial Exhibit No. 133 was admitted into

15:50:55 23    evidence.)

15:50:55 24    BY MR. DeFOSSE:

15:50:56 25    Q.     Mr. Aichele, can I first ask you who Colin Hunt is?
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                                        #: 40549                             905
                                         Aichele - direct

15:50:59   1   A.        Colin Hunt is the VP of sales at Akoustis.

15:51:03   2   Q.        And does he report to you?

15:51:05   3   A.        Yes, he does.

15:51:07   4   Q.        Now, on February 2nd, or sorry, February 22nd of

15:51:15   5   2021, Mr. Li is writing to provide you and Mr. Hunt with a

15:51:19   6   Wi-Fi 6 E update for mobile.       Do you see that?

15:51:24   7   A.        Yes, I do.

15:51:25   8   Q.        And I would like to look, Mr. Buchbinder, if we

15:51:28   9   could, there is a little letter D on the first page at the

15:51:33 10    bottom.    Thank you.

15:51:34 11                   Mr. Aichele, Mr. Li said in his e-mail to you,

15:51:40 12    "Please also find the detailed BAW diplexer on page 22

15:51:43 13    inside the Qorvo Wi-Fi presentation."       Do you see that?

15:51:48 14    A.        Yes, I do.

15:51:53 15                   MR. DeFOSSE:     Your Honor, may I approach?

15:51:54 16                   THE COURT:   You may.

15:52:09 17    BY MR. DeFOSSE:

15:52:11 18    Q.        Mr. Aichele, I have handed you what's been marked

15:52:14 19    previously as Exhibit 27 in this case.       It was marked for

15:52:19 20    identification as PTX 569.       Do you recognize this as the

15:52:24 21    attachment to Mr. Li's e-mail to you that was just marked as

15:52:29 22    Exhibit 133?

15:52:30 23    A.        It appears so, yes.

15:52:32 24    Q.        And you would agree with me that this is a Qorvo

15:52:35 25    presentation?
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                                      #: 40550                             906
                                       Aichele - direct

15:52:36   1   A.     Yes, I would agree.

15:52:39   2   Q.     Mr. Buchbinder, would you mind?     Thank you.

15:52:42   3               Could I ask you, Mr. Aichele, to turn to page 31

15:52:47   4   of this presentation.   And you see -- give you a few minutes

15:52:57   5   to get there.

15:53:10   6               On page 31 of Exhibit 27, there are reports on

15:53:16   7   products that Qorvo is prototyping, is that right?

15:53:21   8   A.     Yes, it appears so.

15:53:22   9   Q.     And then if you could look at pages 32 through 39,

15:53:26 10    just flip through them quickly.    And Mr. Buchbinder, if you

15:53:29 11    could do the same, please?

15:53:38 12                You would agree with me that every page that we

15:53:56 13    just looked at had a box on it that was labeled

15:53:59 14    developmental preview only, confidential?

15:54:02 15    A.     Correct.

15:54:03 16    Q.     And when Mr. Li sent this to you, you were aware that

15:54:07 17    this was a confidential Qorvo document?

15:54:09 18    A.     Yes, that it was posted Qorvo confidential and

15:54:12 19    proprietary information, I do recognize that.

15:54:15 20    Q.     You didn't admonish Mr. Li for sending this to you?

15:54:19 21    A.     I don't remember if I admonished him on this case

15:54:22 22    specifically, but I did have discussions with him in the

15:54:25 23    past on sharing confidential information that would rise to

15:54:28 24    the level that was something that was proprietary or

15:54:32 25    nonpublic information, I don't know if I admonished him on
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                                      #: 40551                             907
                                       Aichele - direct

15:54:35   1   this specific document.

15:54:36   2   Q.     What did you admonish him on?

15:54:39   3   A.     Mainly -- you have to look at the China market, the

15:54:43   4   Asian market, there is prolific sharing of information, so

15:54:47   5   my caution to him and my other employee in the Asian market

15:54:50   6   is be careful on collecting information, they were very good

15:54:54   7   at doing market intelligence and my concern was if they're

15:54:58   8   collecting confidential information, they may also be

15:55:01   9   sharing confidential information outside.

15:55:03 10                So it was mainly on, please, collect your market

15:55:06 11    information, but make sure that you're not collecting things

15:55:09 12    that are considered to be proprietary and confidential.       So

15:55:13 13    that was basically my admonishment, I did that probably one

15:55:17 14    or two times with Steven.

15:55:20 15    Q.     In this instance, with this Wi-Fi product roadmap,

15:55:24 16    you had actually asked Mr. Li to get this presentation for

15:55:27 17    you, didn't you?

15:55:28 18    A.     I don't remember.    I don't know.

15:55:57 19    Q.     Mr. Aichele, I've handed you what's been marked for

15:56:02 20    identification as PTX-0623.    You would agree with me that

15:56:07 21    this is an e-mail from yourself to Mr. Li from July of 2020?

15:56:12 22    A.     Correct.

15:56:13 23                MR. DeFOSSE:    Your Honor, we would offer

15:56:17 24    PTX-0623 into evidence.

15:56:18 25                THE COURT:     Marked and received as 134.
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                                           #: 40552                             908
                                            Aichele - direct

15:56:20   1                    (Trial Exhibit No. 134 was admitted into

15:56:22   2   evidence.)

15:56:22   3   BY MR. DeFOSSE:

15:56:24   4   Q.        Mr. Buchbinder, could we pull it up, please.

15:56:26   5                    So, I would like to start, Mr. Aichele, with the

15:56:30   6   context of the top e-mail in this chain from yourself to

15:56:34   7   Mr. Li.    You state to him that you're going to provide some

15:56:37   8   input in orange.       Do you see that?

15:56:38   9   A.        Yes, I do.

15:56:39 10    Q.        And that meant that you were going to go through the

15:56:41 11    e-mail that he had sent you and put your comments in orange?

15:56:47 12    A.        Correct.

15:56:50 13    Q.        I would like to turn to page 2, and you can see at

15:56:53 14    the top of page 2, Mr. Li is providing you with some notes

15:56:57 15    on a meeting with Netgear in Taiwan.          Is that right?

15:57:01 16    A.        Yes.

15:57:02 17    Q.        And then what I want to focus on is at the bottom

15:57:05 18    there is a bullet that starts in the meeting.           If we could

15:57:09 19    pull that up, Mr. Buchbinder?

15:57:10 20                     Your orange font makes it a little hard to read,

15:57:16 21    but I hope the jury can see it here.          So Mr. Li told you

15:57:20 22    that in this meeting, he had obtained some information about

15:57:24 23    Qorvo's Wi-Fi 6 E roadmap, is that right?

15:57:28 24    A.        Correct.

15:57:29 25    Q.        And he said to you "I'll try to find the roadmap from
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                                        #: 40553                             909
                                         Aichele - direct

15:57:33   1   Qorvo."    Right?

15:57:36   2   A.        Correct.

15:57:36   3   Q.        And this is apparently not the occasion on which you

15:57:41   4   admonish Mr. Li not to get that information, correct?

15:57:45   5   A.        Correct.

15:57:45   6   Q.        What you said to Mr. Li is, "Thank you.     It will be

15:57:48   7   very helpful if you can get Qorvo Wi-Fi 6 E information and

15:57:53   8   samples of the QPQ1903 and 1904."

15:57:57   9                  Right?

15:57:57 10    A.        Correct.

15:57:57 11    Q.        You knew at the time that you sent this e-mail that

15:58:01 12    not only was this roadmap confidential, but the QPQ1903 and

15:58:06 13    1904 were not on the market, right?

15:58:08 14    A.        At the time that this e-mail went out, I believe

15:58:14 15    Qorvo did have products that were in the market and that

15:58:17 16    they were sampling and I wasn't specifically asking him to

15:58:20 17    go get confidential information.      Again, it's trying to be

15:58:24 18    smart with analysis and looking at competitors that are

15:58:26 19    coming into the market.

15:58:27 20                   So roadmaps, you know, they are shared, you

15:58:31 21    know, with sales organizations and they sometimes may be

15:58:34 22    confidential, they may not be confidential.        Really what I

15:58:37 23    was asking for is you know, any information they could

15:58:40 24    share, even if it's customers, it would be helpful so that

15:58:44 25    we can keep our finger on the pulse, know what our
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                                       Aichele - direct

15:58:47   1   competition is doing, and really deliver the best solution

15:58:50   2   for Akoustis.

15:58:58   3               MR. DeFOSSE:     Your Honor, may I approach?

15:58:59   4               THE COURT:    You may.

15:59:18   5   BY MR. DeFOSSE:

15:59:28   6   Q.     Mr. Aichele, I have just handed you what's been

15:59:33   7   marked for identification as PTX-0151 and 0152.      The

15:59:41   8   PTX-0151 is an e-mail from yourself to the CEO of Akoustis,

15:59:44   9   Mr. Shealy and Mr. Houlden, is that right?

15:59:46 10    A.     Correct.

15:59:48 11    Q.     And PTX 0152 is the attachment to that e-mail?

15:59:55 12    A.     It appears so, yes.

15:59:57 13                MR. DeFOSSE:     Your Honor, plaintiff would offer

15:59:58 14    into evidence PTX 0151 and 0152.

16:00:03 15                THE COURT:    Marked and received as 135 and 136.

16:00:06 16                (Trial Exhibit Nos. 135 and 136 were admitted

16:00:07 17    into evidence.)

16:00:07 18    BY MR. DeFOSSE:

16:00:13 19    Q.     Now, Mr. Aichele, the first e-mail in this chain is

16:00:17 20    from a gentleman named S.J. Kim, do you see that?

16:00:20 21    A.     Yes, I do.

16:00:21 22    Q.     Who is S.J. Kim?

16:00:23 23    A.     S.J. Kim was the country director for South Korea,

16:00:28 24    and he was an employee of Akoustis.

16:00:30 25    Q.     And Mr. Kim reported to you, right?
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                                        #: 40555                             911
                                         Aichele - direct

16:00:32   1   A.        Correct.

16:00:33   2   Q.        And if we look at Mr. Kim's e-mail, he writes to you

16:00:37   3   in May of 2019, "As we guessed, Qorvo is developing Wi-Fi

16:00:44   4   coexistence filters for 5.2 and 5.6-gigahertz."

16:00:49   5                  Do you see that?

16:00:49   6   A.        Yes I do.

16:00:49   7   Q.        And he says, "In addition, they are also developing

16:00:53   8   V2X filter for automotive market as well."

16:00:57   9                  Do you see that?

16:00:57 10    A.        Yes, I do.

16:00:57 11    Q.        He says, "Please refer to captured presentation

16:01:01 12    material of Qorvo."

16:01:03 13                   Do you see that?

16:01:03 14    A.        Yes, I do.

16:01:04 15    Q.        Just for context, V2X is a type of automotive BAW

16:01:08 16    filter product, is that right?

16:01:10 17    A.        V2X is a standard that a BAW filter would be used

16:01:16 18    for.

16:01:16 19    Q.        If we can turn to the attachment to your e-mail,

16:01:20 20    Exhibit 136.    We see here that there is what appears to be a

16:01:28 21    photograph that was taken of a computer screen; right?

16:01:31 22    A.        It appears so, yes.

16:01:33 23    Q.        And this is what Mr. Kim had sent to you in this

16:01:36 24    e-mail?

16:01:37 25    A.        It appears so, yes.
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                                        #: 40556                             912
                                         Aichele - direct

16:01:38   1   Q.     And you would agree with me that this is a

16:01:41   2   confidential Qorvo presentation, right?

16:01:43   3   A.     Yes, it does have a mark in there.

16:01:45   4   Q.     This again was not one of the occasions in which you

16:01:50   5   admonished your employees not to send you confidential

16:01:53   6   information?

16:01:53   7   A.     I do not believe I admonished him in regard to this

16:01:57   8   specific e-mail.

16:01:58   9   Q.     In fact, what you did is you wrote back to him and

16:02:01 10    asked him to give you more information from this

16:02:04 11    presentation, isn't that right?

16:02:05 12    A.     It's possible, yes.

16:02:08 13                   MR. DeFOSSE:   Your Honor, may I approach?

16:02:10 14                   THE COURT:   You may.

16:02:19 15    BY MR. DeFOSSE:

16:02:37 16    Q.     Mr. Aichele, I've handed you what's been marked for

16:02:41 17    identification as PTX-502.      Would you agree with me that

16:02:44 18    this is an e-mail exchange between yourself, Mr. Houlden,

16:02:48 19    and Mr. Shealy?

16:02:50 20    A.     Yes.    It appears so.

16:02:53 21                   MR. DeFOSSE:   Your Honor, plaintiff would offer

16:02:54 22    into evidence PTX 502.

16:02:57 23                   THE COURT:   Marked and received as 137.

16:03:00 24                   (Trial Exhibit No. 137 was admitted into

16:03:00 25    evidence.)
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 586 of 2283 PageID
                                       #: 40557                             913
                                        Aichele - direct

16:03:00   1   BY MR. DeFOSSE:

16:03:03   2   Q.       Mr. Aichele, this is a continuation of the e-mail

16:03:06   3   chain that we just looked at with Mr. Kim; is that right?

16:03:10   4   A.       Yes, it appears so.

16:03:12   5   Q.       After Mr. Kim sent you the confidential Qorvo

16:03:15   6   presentation picture, you forwarded that on to the middle

16:03:21   7   e-mail, to the CEO of Akoustis and to Mr. Houlden, right?

16:03:27   8   A.       Yes, it appears so.

16:03:28   9   Q.       And neither of those gentlemen objected to you

16:03:33 10    sending them that presentation, right?

16:03:35 11    A.       I do not believe they did.

16:03:37 12    Q.       If we could move up one more e-mail in the chain.

16:03:40 13    Then you e-mailed them again in succession and you said,

16:03:44 14    "The picture right below V2X simulation (or measured)

16:03:49 15    plot."

16:03:49 16                  Do you see that?

16:03:50 17    A.       Yes, I do.

16:03:50 18    Q.       And then you say, "Asked S.J. if he got a screen shot

16:03:55 19    of that one as well."

16:03:57 20                  Do you see that?

16:03:57 21    A.       Yes, I do.

16:03:58 22    Q.       And what you meant was did S.J. Kim get a screen shot

16:04:02 23    of the next page of that confidential Qorvo presentation,

16:04:04 24    right?

16:04:05 25    A.       I believe that's what that means, yes.
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                                       #: 40558                             914
                                        Aichele - direct

16:04:07   1   Q.     If we go to the top e-mail in the chain, that's from

16:04:10   2   the CEO of Akoustis, right?

16:04:12   3   A.     Correct.

16:04:13   4   Q.     And he doesn't say please stop circulating this

16:04:17   5   confidential Qorvo information, does he?

16:04:19   6   A.     No, he does not.

16:04:20   7   Q.     Instead what he's noting is what he finds interesting

16:04:23   8   in the materials you sent?

16:04:26   9   A.     Yes, it appears so.

16:04:38 10                 MR. DeFOSSE:    Your Honor, may I approach?

16:04:40 11                 THE COURT:   You may.

16:04:52 12    BY MR. DeFOSSE:

16:04:57 13    Q.     Mr. Aichele, I've handed you what's been marked for

16:05:00 14    identification as PTX 1062.     This is an e-mail from yourself

16:05:06 15    to Mr. Kim in May of 2019; is that right?

16:05:11 16    A.     Correct.

16:05:12 17                 MR. DeFOSSE:    Your Honor, plaintiff would offer

16:05:14 18    into evidence PTX 1062.

16:05:17 19                 THE COURT:   Marked and received as 138.

16:05:19 20                 (Trial Exhibit No. 138 was admitted into

16:05:19 21    evidence.)

16:05:19 22    BY MR. DeFOSSE:

16:05:22 23    Q.     If we could go to the last page of this e-mail chain.

16:05:31 24    Sorry, one page up, Mr. Buchbinder.      Thank you.

16:05:34 25                 You would agree with me that this e-mail is
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 588 of 2283 PageID
                                       #: 40559                             915
                                        Aichele - direct

16:05:37   1   starting with the same e-mail that we have seen twice

16:05:40   2   already now where Mr. Kim was telling you that he had

16:05:44   3   captured presentation material of Qorvo; is that right?

16:05:47   4   A.       Yes, it appears so.

16:05:49   5   Q.       And then the e-mail above that is one we haven't

16:05:53   6   seen, that's a new response from you to Mr. Kim, is that

16:05:57   7   right?

16:05:57   8   A.       Yes, it is.

16:05:57   9   Q.       And this is what you were telling the CEO and

16:06:00 10    Mr. Houlden that you had asked Mr. Kim to get some more

16:06:05 11    information, right?

16:06:06 12    A.       Correct.

16:06:07 13    Q.       And you say, "Hi, S.J.     Yes, my latest update is that

16:06:15 14    they will have received V2X filters out of the Fab this week

16:06:19 15    and start evaluation."

16:06:21 16                     Do you see that?

16:06:22 17    A.       Yes, I do see that.

16:06:24 18    Q.       Okay.    And if we zoom back out.   Thank you,

16:06:27 19    Mr. Buchbinder.

16:06:28 20                     The next e-mail up, you say, "Did you get a

16:06:33 21    screen shot of QPQ2200Q right below the shot you took?

16:06:38 22    Interested in seeing the profile."

16:06:42 23                     Right?

16:06:42 24    A.       Yes, correct.

16:06:43 25    Q.       And, in fact, Mr. Kim was responsive to your request,
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                                          #: 40560                             916
                                           Aichele - direct

16:06:47   1   right?

16:06:48   2   A.       His response in the preceding -- or the next e-mail,

16:06:55   3   yes.

16:06:58   4   Q.       Yes.

16:07:01   5                   MR. DeFOSSE:    Your Honor, may I approach?

16:07:03   6                   THE COURT:   You may.

16:07:14   7   BY MR. DeFOSSE:

16:07:17   8   Q.       Mr. Aichele, I have handed you what's been marked for

16:07:23   9   identification as PTX 1100.        Would you agree with me that

16:07:30 10    this is the e-mail exchange between yourself and Mr. Kim?

16:07:34 11    A.       Correct.

16:07:35 12                    MR. DeFOSSE:    Your Honor, plaintiff would offer

16:07:36 13    into evidence PTX 1100.

16:07:39 14                    THE COURT:   Marked and received as 139.

16:07:42 15                    (Trial Exhibit No. 139 was admitted into

16:07:44 16    evidence.)

16:07:44 17    BY MR. DeFOSSE:

16:07:47 18    Q.       And Mr. Aichele, would you agree that this is Mr. Kim

16:07:51 19    responding to your request by providing you the scan data of

16:07:55 20    the QPQ2200Q, the Qorvo, right?

16:08:00 21    A.       It would appear so, yes.

16:08:02 22    Q.       This is the day after you had asked him if he could

16:08:05 23    get you more information about this confidential Qorvo

16:08:09 24    presentation?

16:08:09 25    A.       Yes, it appears so.
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                                      #: 40561                             917
                                       Aichele - direct

16:08:11   1   Q.     And Mr. Buchbinder, if we could look at the

16:08:16   2   attachment to Exhibit 139.    And if we could go down.     This

16:08:24   3   is the screen shot shown on the screen now, which is page 4

16:08:29   4   of the document in slide 20 of the presentation that Mr. Kim

16:08:33   5   had already sent you, right?

16:08:34   6   A.     It appears so, yes.

16:08:36   7   Q.     If we go to the next page.     This is the screen shot

16:08:39   8   that you were asking Mr. Kim if he could additionally get

16:08:43   9   for you, right?

16:08:44 10    A.     It appears so, yes.

16:08:47 11    Q.     Now, Mr. Aichele -- we can take this one down,

16:08:51 12    Mr. Buchbinder.

16:08:51 13                Mr. Aichele, you were aware that there was at

16:08:54 14    least one employee in your sales organization at Akoustis

16:08:58 15    who was bribing people to get confidential Qorvo

16:09:01 16    information, right?

16:09:02 17    A.     No, I am not aware of an employee bribing.

16:09:26 18    Q.     Mr. Aichele, I've handed you what's been marked as

16:09:35 19    PTX 50 -- sorry, 530, PTX 530 for identification.       You would

16:09:43 20    agree with me that this is an e-mail exchange between

16:09:45 21    yourself and Mr. Kim, right?

16:09:47 22    A.     Correct.

16:09:47 23                MR. DeFOSSE:     Your Honor, plaintiff would offer

16:09:49 24    into evidence PTX 530.

16:09:51 25                THE COURT:   Marked and received as 140.
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                                        #: 40562                             918
                                         Aichele - direct

16:09:54   1                 (Trial Exhibit No. 140 was admitted into

16:09:54   2   evidence.)

16:09:54   3   BY MR. DeFOSSE:

16:09:57   4   Q.     Mr. Aichele, the Mr. Kim who is sending you this

16:10:00   5   e-mail in Exhibit 530 is the same Mr. Kim who had sent you

16:10:04   6   the confidential Qorvo presentation we just looked at, is

16:10:08   7   that right?

16:10:08   8   A.     Correct.

16:10:09   9   Q.     And, in fact, this e-mail was sent in August of 2019,

16:10:12 10    just a few months after he sent you that confidential

16:10:15 11    presentation, correct?

16:10:16 12    A.     Correct.

16:10:17 13    Q.     Now, what I am interested in is the postscript to

16:10:23 14    Mr. Kim's e-mail.     And Mr. Buchbinder, if we could pull that

16:10:28 15    up so the jury could see that, please?

16:10:31 16                  Mr. Aichele, in this postscript to his e-mail to

16:10:46 17    you, Mr. Kim says, "Do me a favor, that you can accept my

16:10:51 18    expense claim of entertainment with Qualcomm/Qorvo/Samsung

16:10:58 19    without the name of the persons?"

16:11:01 20                  Do you see that?

16:11:01 21    A.     Yes, I do.

16:11:02 22    Q.     Then he goes on to explain why it is he didn't want

16:11:05 23    to put those names in his expense report right?

16:11:08 24    A.     Correct.

16:11:08 25    Q.     Mr. Kim writes in the next sentence, "Just put the
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                                          #: 40563                             919
                                           Aichele - direct

16:11:14   1   name of company.      The reason is that the guys share those

16:11:17   2   key confidential information with me based on personal

16:11:20   3   relationship, but they are so sensitive with knowing their

16:11:23   4   name with anyone in Akoustis."

16:11:25   5                   Do you see that?

16:11:26   6   A.       Yes, I do.

16:11:26   7   Q.       And then Mr. Kim goes on to suggest a couple of ways

16:11:30   8   that he could avoid identifying who was providing him with

16:11:33   9   the key confidential information, right?

16:11:35 10    A.       Correct.

16:11:35 11    Q.       He says he could just make up a fake name.         Right?

16:11:43 12    He says, "I may put in any name in the report instead of

16:11:47 13    them."

16:11:47 14    A.       Yep, I got it.

16:11:48 15    Q.       But that doesn't make sense.       So his solution was let

16:11:52 16    me just put in their initial in the report so no one will

16:11:56 17    know who is providing the key confidential information about

16:12:00 18    Qorvo or Samsung, right?

16:12:03 19    A.       Yes.

16:12:03 20    Q.       And then he asked for your guidance to on this,

16:12:06 21    right?

16:12:06 22    A.       Yes.

16:12:06 23    Q.       This is one of the occasions where you went back to

16:12:09 24    Mr. Kim and said please do not use your expense report to

16:12:13 25    obtain key confidential information about Qorvo or Samsung?
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                                      #: 40564                             920
                                       Aichele - direct

16:12:20   1   A.     Excuse me?

16:12:20   2   Q.     You didn't admonish Mr. Kim for using his expense

16:12:24   3   account for obtaining key confidential information about

16:12:28   4   Qualcomm, Qorvo, or Samsung, did you?

16:12:31   5   A.     I do believe I had a conversation with S.J., in that

16:12:34   6   conversation it goes to a point I made earlier, I think I

16:12:37   7   provided guidance to him, so it's not bribing in the

16:12:42   8   industry, they usually take competitors out to lunch and to

16:12:48   9   do competitive analysis, so my guidance to him is be careful

16:12:52 10    when you're having these meetings because obviously if

16:12:57 11    you're soliciting information from them that may be

16:12:58 12    confidential, I believe he may be doing the same thing back

16:13:01 13    to them, so my guidance to you is, you know, obviously have

16:13:05 14    these competitive market analysis, but don't try to take any

16:13:10 15    confidential information.

16:13:12 16                And then also indicated to him file your expense

16:13:17 17    reports, that's what we provide for guidance.      I don't

16:13:20 18    remember saying he could use fake names or that he could put

16:13:23 19    initials, that I remember.

16:13:30 20                MR. DeFOSSE:     Your Honor, may I approach?

16:13:32 21                THE COURT:   You may.

16:13:46 22    BY MR. DeFOSSE:

16:13:52 23    Q.     Mr. Aichele, I've handed you what's been marked as

16:13:56 24    PTX 0564 for identification.    You would agree with me that

16:14:01 25    is an e-mail exchange between yourself and the CEO of
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 594 of 2283 PageID
                                       #: 40565                             921
                                        Aichele - direct

16:14:07   1   Akoustis, Jeffrey Shealy?

16:14:09   2   A.       Correct.

16:14:09   3                  MR. DeFOSSE:   Your Honor, plaintiff would offer

16:14:11   4   into evidence PTX 0564.

16:14:15   5                  THE COURT:   Marked and received as 141.

16:14:15   6                  (Trial Exhibit No. 141 was admitted into

16:14:16   7   evidence.)

16:14:16   8   BY MR. DeFOSSE:

16:14:16   9   Q.       So on this first page, if we look at it, it looks

16:14:21 10    like you're forwarding an e-mail to Mr. Shealy as CEO,

16:14:25 11    right?

16:14:25 12    A.       Correct.

16:14:26 13    Q.       And if we pull that out, we can see that this is the

16:14:30 14    same e-mail that Mr. Kim previously sent you with

16:14:34 15    information about Qualcomm, right?

16:14:36 16    A.       Correct.   It appears so.

16:14:37 17    Q.       So now what I'm interesting in in this e-mail, I

16:14:40 18    would like to go to the signature block for Mr. Kim's

16:14:43 19    e-mail, and it seems like there is something that's missing

16:14:46 20    here.    Is that right?

16:14:47 21    A.       Correct.

16:14:47 22    Q.       You edited out his postscript where he said that he

16:14:52 23    was using his expense account to obtain key confidential

16:14:55 24    information?

16:14:56 25    A.       Correct.
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                                      #: 40566                             922
                                       Aichele - direct

16:14:59   1   Q.     Now, this e-mail from Mr. Kim in 2019 was not the

16:15:03   2   only time that he told you he was using his expense account

16:15:06   3   to get confidential information from Qorvo, right?

16:15:10   4   A.     I believe there were probably some other ones, I know

16:15:15   5   I had conversations with him on that as well.

16:15:48   6   Q.     Mr. Aichele, I have handed you what's been marked for

16:16:22   7   identification as PTX 531 through PTX 536.      Would you agree

16:16:30   8   with me that is an e-mail to yourself from Mr. Kim and the

16:16:36   9   attachments to that e-mail?

16:16:38 10    A.     Correct.

16:16:38 11                MR. DeFOSSE:    Your Honor, plaintiff would offer

16:16:40 12    into evidence PTX 531 through 536.

16:16:45 13                THE COURT:   Marked and received as 142, 143,

16:16:52 14    144, 145, 146, I believe that will be it.      And maybe 147.

16:17:06 15                (Trial Exhibit Nos. 142, 143, 144, 145, 146, and

16:17:08 16    147 were admitted into evidence.)

16:17:08 17                MR. DeFOSSE:    Yes, 147.

16:17:10 18                THE COURT:   147.   Yes.

16:17:12 19                MR. DeFOSSE:    Thank you.

16:17:12 20    BY MR. DeFOSSE:

16:17:16 21    Q.     Thank you, Mr. Buchbinder.      If we could look at the

16:17:18 22    cover e-mail that Mr. Kim sent you.      You would agree with me

16:17:24 23    that this is in August of 2020; is that right?

16:17:28 24    A.     Correct.

16:17:28 25    Q.     So this is about a year after Mr. Kim had told you
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                                      #: 40567                             923
                                       Aichele - direct

16:17:31   1   that he was using his expense account to obtain key

16:17:36   2   confidential information, right?

16:17:38   3   A.     Correct.

16:17:38   4   Q.     And just looking at the first portion of the e-mail

16:17:41   5   with the to and from, you see there is a zip file that's

16:17:46   6   attached to this?

16:17:46   7   A.     Yes, I do.

16:17:47   8   Q.     It says "Qorvo SC2020" and then one in parenthesis

16:17:56   9   Zip?

16:17:56 10    A.     Correct.

16:17:56 11    Q.     And then we have Mr. Kim's message to you.       "Please

16:18:00 12    don't ask me where did I get from...because of size of

16:18:07 13    attachment, I will send total three e-mails."

16:18:10 14                Do you see that?

16:18:11 15    A.     Yes, I do.

16:18:11 16    Q.     And then he says, "Frankly, I always use my expense

16:18:17 17    for the right purpose!"

16:18:19 18                Exclamation point, right?

16:18:21 19    A.     Yes, I see that.

16:18:22 20    Q.     And you see that included in Mr. Kim's e-mail, this

16:18:27 21    one that I gave you, Exhibit 142, he included five Qorvo

16:18:34 22    presentations; is that right?

16:18:39 23    A.     Correct.

16:18:41 24    Q.     And four of those presentations are marked as

16:18:43 25    confidential; right?
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                                        #: 40568                             924
                                         Aichele - direct

16:19:02   1   A.     Correct.

16:19:12   2                 MR. DeFOSSE:    Your Honor, may I approach?

16:19:15   3                 THE COURT:   You may.

16:19:33   4   BY MR. DeFOSSE:

16:19:35   5   Q.     Mr. Aichele, I have handed you what's been marked for

16:19:55   6   identification as PTX 537, 542, 550, and 551.        Would you

16:20:05   7   agree with me that PTX 537 is an e-mail to yourself and

16:20:12   8   Mr. Hunt from S.J. Kim?

16:20:15   9   A.     Correct.

16:20:16 10    Q.     Exhibit 542 is an e-mail to yourself and Mr. Hunt

16:20:21 11    from S.J. Kim?

16:20:25 12    A.     Correct.

16:20:26 13    Q.     Exhibit 550 is an e-mail to yourself and Mr. Hunt

16:20:31 14    from S.J. Kim?

16:20:33 15    A.     Correct.

16:20:33 16    Q.     And Exhibit 551 is the attachment to Exhibit 550; is

16:20:40 17    that right?

16:20:40 18    A.     Correct.

16:20:41 19                  MR. DeFOSSE:    Your Honor, plaintiff would offer

16:20:43 20    into evidence PTX 537, 542, 550, and 551.

16:20:50 21                  THE COURT:   Marked and received as 148, 149,

16:20:54 22    150, and 151.

16:20:56 23                  (Trial Exhibit Nos. 148, 149, 150, and 151 were

16:20:57 24    admitted into evidence.)

16:20:57 25    BY MR. DeFOSSE:
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                                       #: 40569                             925
                                        Aichele - direct

16:21:01   1   Q.     Thank you, Mr. Buchbinder.

16:21:02   2                 So if -- actually could we start down at the

16:21:06   3   e-mail in the middle.    Just to remind us why we're looking

16:21:10   4   at this, Mr. Aichele.    Mr. Kim said in his first e-mail to

16:21:14   5   you with Zip file attachment number one, that he was going

16:21:17   6   to send you a total of three e-mails; is that right?

16:21:21   7   A.     Correct.

16:21:21   8   Q.     If we can zoom out of this, Mr. Buchbinder.        And go

16:21:25   9   to the top of this e-mail.

16:21:30 10                  Exhibit 537 is the second of the zip files that

16:21:34 11    Mr. Kim sent to you; is that right?

16:21:38 12    A.     It appears so, yes.

16:21:40 13    Q.     If we could go to Exhibit 149, which was previously

16:21:46 14    PTX 542.    And look at the top of that e-mail.     This is the

16:21:53 15    third zip file of materials that he sent to you on the same

16:21:57 16    day?

16:21:57 17    A.     It appears so, yes.

16:21:59 18    Q.     If we could go to PTX 550.

16:22:03 19                  In addition to sending you three zip files full

16:22:07 20    of Qorvo confidential information on August -- in August of

16:22:11 21    2020, Mr. Kim also sent you Qorvo's entire IDP quarterly

16:22:17 22    price book; is that right?

16:22:18 23    A.     It appears so, yes.

16:22:24 24    Q.     Mr. Buchbinder, if we could pull up PTX 551, and it

16:22:29 25    would be great if we have the native version of that.
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                                        Aichele - direct

16:22:37   1                Mr. Aichele, you would agree with me that this

16:22:45   2   reflects financial information of Qorvo concerning the

16:22:50   3   products that it sells; is that right?

16:22:52   4   A.     Yes, it appears so.

16:22:53   5   Q.     Including information on things such as volume

16:22:57   6   discounts?

16:23:01   7   A.     Where do you see that?

16:23:05   8   Q.     If we can keep scrolling, Mr. Buchbinder.        Stop.

16:23:11   9                Do you agree --

16:23:12 10    A.     Yes, I see that now.

16:23:15 11    Q.     You would agree with me that Exhibit 551 is

16:23:19 12    confidential information?

16:23:20 13    A.     Yes, I would.

16:23:21 14    Q.     And you never admonished Mr. Kim for sending you this

16:23:25 15    document, did you?

16:23:26 16    A.     I believe that at this time Colin was managing S.J.

16:23:31 17    Kim, and Colin was also, because I eventually when I hired

16:23:36 18    on Colin, he then took over responsibilities to manage S.J.

16:23:40 19    and Steven Li, who is the other country director in China,

16:23:44 20    and I believe Colin had a conversation with S.J. upon

16:23:48 21    receipt of these materials.

16:23:49 22    Q.     You deferred to Mr. Hunt to have a conversation with

16:23:53 23    S.J. at that point?

16:23:54 24    A.     He was the direct manager and had that

16:23:58 25    responsibility.
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                                         Aichele - cross

16:23:59   1   Q.     Thank you, Mr. Aichele.

16:24:02   2                MR. DeFOSSE:   I'll pass the witness.

16:24:16   3                      CROSS-EXAMINATION

16:24:17   4   BY MR. ELKINS:

16:24:34   5   Q.     Good afternoon, Mr. Aichele.

16:24:35   6   A.     Good afternoon.

16:24:37   7   Q.     I am first going to examine you regarding the

16:24:41   8   contents of Mr. DeFosse's examination.        And then with the

16:24:46   9   Court's permission, then we'll conduct your direct

16:24:50 10    examination now, so you don't have to come back next week.

16:24:53 11                 THE COURT:    We discussed this earlier, it's much

16:24:56 12    more efficient, and so rather than having the witness come

16:25:00 13    back in "the defense case", we're presenting it all at one

16:25:05 14    time, it's much more efficient, everybody appreciates that,

16:25:09 15    it's good for all of us in terms of efficiency.

16:25:14 16                 Sir, you may proceed.

16:25:15 17                 MR. ELKINS:    Thank you, Your Honor.

16:25:16 18    BY MR. ELKINS:

16:25:17 19    Q.     First, I want to ask you about some of the documents

16:25:21 20    that Mr. DeFosse examined you about.         And the first one is

16:25:28 21    -- was marked for identification as PTX 779, it's the first

16:25:33 22    one you looked at.    And it is -- it was admitted into

16:25:40 23    evidence as Trial Exhibit 124, which won't be marked on

16:25:45 24    yours yet.

16:25:47 25    A.     I see it.
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                                        Aichele - cross

16:26:06   1   Q.     So just to refresh our recollection, this -- before

16:26:17   2   this, we looked at a document from Qorvo that had the -- had

16:26:31   3   some information regarding a 5-gigahertz product that was

16:26:39   4   marked with the number 19XX.    Do you remember that?

16:26:43   5   A.     Yes, I do.

16:26:45   6   Q.     And what was your understanding about that?        Was that

16:26:52   7   an existing product?

16:26:53   8   A.     No, it was not an existing product.       My understanding

16:26:56   9   is it was a development, so more than likely it was in the

16:27:01 10    design phase, simulation phase.

16:27:03 11    Q.     It was a proposed product?

16:27:05 12    A.     Proposed product.

16:27:06 13    Q.     And did having the specifications, or at least the

16:27:13 14    proposed specifications for a proposed Qorvo product at that

16:27:18 15    stage influence any decision making at Akoustis regarding

16:27:23 16    whether or not to kick off or hold on a 5-gigahertz product

16:27:33 17    from Akoustis?

16:27:34 18    A.     Absolutely not.   If I can expand on that at the time.

16:27:39 19    The market that we're going after was a Wi-Fi access point

16:27:44 20    and we had done our market assessment, market analysis, and

16:27:48 21    we were looking at tri band architectures, so access points

16:27:53 22    going to enterprise buildings or in your home, and one of

16:27:56 23    the key customers we had was a company called Eero and we

16:28:00 24    were engaged with them, and that was really a phase that we

16:28:04 25    were making a decision to start development for the Wi-Fi
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                                        Aichele - cross

16:28:08   1   and move away from the 5G mobile and the competitors at the

16:28:12   2   time were dielectric resonators, so they were the ones that

16:28:16   3   were influencing us.   So our analysis, I was really looking

16:28:20   4   at those as a competitor and offering a value proposition.

16:28:24   5               We were the first BAW players to really enter

16:28:26   6   that market and provide a solution.     You know, having a

16:28:30   7   finger on the pulse of what Qorvo was doing, you know, was

16:28:33   8   interesting, it helped to provide some of the market, you

16:28:38   9   know, competitive analysis, but it did not influence and it

16:28:40 10    did not sway us or, you know, ask us, in fact, if you look

16:28:45 11    at the package outlines, the package outline is completely

16:28:49 12    different from ours, Their organization, so that's really

16:28:51 13    what we focused our efforts on.

16:28:55 14    Q.     I also want to ask you about another document,

16:29:01 15    actually before we go there, did you use the proposed

16:29:11 16    specifications for that proposed Qorvo product in

16:29:15 17    determining what specifications you needed for Akoustis's

16:29:20 18    5-gigahertz BAW filters?

16:29:23 19    A.     No, we did not.     I mean, it's mainly you do a

16:29:26 20    compliance table, where you compare the competition.         And

16:29:31 21    again, if you look in my business plan, it highlighted the

16:29:36 22    dielectric resonators, and there is one page where I'm

16:29:40 23    specifically comparing against the dielectric resonators, so

16:29:45 24    our solution was really competing against them, and they

16:29:47 25    offered the best performance, but they were large factors,
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                                         Aichele - cross

16:29:51   1   so our advantage that we trim the size down, a little

16:29:56   2   trimmed off in the performance, the electrical specs we were

16:29:59   3   trying to was to compete against the dielectrics, so that's

16:30:03   4   what's influenced our design.

16:30:05   5                  MR. ELKINS:    I'm having a little -- maybe my

16:30:08   6   hearing is going, but if there is a microphone, maybe you

16:30:12   7   can put it more directly close to your mouth.

16:30:15   8                  THE COURT:    There should be a mic there.

16:30:19   9                  THE WITNESS:   It's red now, is it on?

16:30:22 10                   THE COURT:    It's on.

16:30:23 11    A.     Can you hear me?

16:30:25 12    Q.     I can hear you, just try to boost your voice.

16:30:28 13    A.     Project.

16:30:42 14    Q.     If you give me a second, I have to adjust binders,

16:30:46 15    switch them, in any event.

16:30:52 16                   If you'll look at the exhibit that was marked as

16:30:56 17    PTX 569.    And it was entered into evidence as Trial

16:31:02 18    Exhibit 27 before you testified.        So it's entitled Wi-Fi

16:31:07 19    product roadmap update, and it's dated November 2020?

16:31:16 20    A.     Yes, I see it.

16:31:17 21    Q.     Do you remember reviewing this with Mr. DeFosse?

16:31:22 22    A.     I believe so, yes.

16:31:26 23    Q.     Okay.    And do you remember seeing this document at

16:31:30 24    the time that you received it?

16:31:33 25    A.     I looked through depositions and obviously recently,
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                                        Aichele - cross

16:31:40   1   I have a little bit of a recollection of this material in

16:31:43   2   this document.

16:31:45   3   Q.     At the time did you find it useful?

16:31:47   4   A.     Not particularly.   Again, I think it's just a market

16:31:52   5   intelligence, market analysis, you know, our strategy, and

16:31:56   6   our development plans, you know, were really based on our

16:32:00   7   assessment, and usually we would be about twelve to

16:32:04   8   fifteen months ahead of the competition.      When a customer is

16:32:09   9   needed, I received this kind of information, I didn't really

16:32:12 10    pay attention at the time if it was confidential or not, I

16:32:15 11    would look at it and put it aside because it didn't really

16:32:19 12    add significant value other than I saw the competition

16:32:21 13    coming you know in the BAW technology, which actually gave

16:32:24 14    credibility on the plan and the strategy that we had of

16:32:28 15    being first to market.

16:32:30 16    Q.     By the way, when you were discussing the last

16:32:34 17    document, I got so distracted with going to the next

16:32:37 18    exhibit, I forgot to ask the follow-up question.        You talked

16:32:41 19    about dielectric resonators, what are those?

16:32:43 20    A.     Dielectric resonators are a, you know, a form of you

16:32:48 21    know, filters that are basically using ceramic materials to

16:32:53 22    create ceramic resonators, they're very large in size and

16:32:57 23    they're fairly cheap to manufacture, they're manufactured

16:33:01 24    primarily in China and Taiwan, and I believe Korea, so

16:33:05 25    they're about ten times larger in size, but they're very
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                                          Aichele - cross

16:33:09   1   effective from a performance standpoint.

16:33:11   2                 So the advantage on a BAW filter being small in

16:33:14   3   size is that you can fit more into, if you look at the home

16:33:20   4   mesh networks, you have smaller devices that are plugged in

16:33:24   5   throughout the home, you do a four-by-four line, that means

16:33:28   6   four antennas and the four filters, a small filter is more

16:33:34   7   attractive compared to dielectric resonators.

16:33:36   8   Q.     When you were making a kickoff for the BAW decision

16:33:40   9   that we examined in Exhibit 779, which is Trial Exhibit 124,

16:33:45 10    you had just opposed specifications for a proposed

16:33:51 11    5-gigahertz filter against specifications for several

16:33:58 12    dielectric resonators it looked like from Chinese companies,

16:34:03 13    do you remember that?

16:34:04 14    A.     Yes.    Correct.

16:34:04 15    Q.     Why were you comparing a proposed BAW filter to the

16:34:08 16    dielectric resonators?

16:34:10 17    A.     It really, it was two things, one is customer specs,

16:34:13 18    so we had, you know, multiple key customers that we were

16:34:16 19    engaged with, if you know the brands, Netgear, Google, Eero,

16:34:22 20    which is Amazon now, all of them were using dielectric

16:34:26 21    resonators they weren't using BAW, so we were actually trail

16:34:30 22    blazing and being the first solution into the market.            So we

16:34:32 23    had to do a competitive analysis against their filters or we

16:34:38 24    would not get meaningful engagement.          And then we had to

16:34:41 25    show how we differentiate, so really hit the electrical
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                                         Aichele - cross

16:34:45   1   specs, being competitive in price, and also having a much

16:34:50   2   smaller form factor is very attractive, and that's how we

16:34:54   3   secured our first high volume customer.

16:34:57   4   Q.     You reviewed several exhibits with Mr. DeFosse, or

16:35:04   5   actually he reviewed them with you.      And these are the

16:35:07   6   numbers, they were PTX-151, 152, 502, 1062, and 1100, which

16:35:18   7   translate to trial Exhibits 135 through 139.        But these were

16:35:23   8   e-mails with S.J. Kim and they related to the V2X, the

16:35:29   9   proposed V2X filter from Qorvo.     Do you recall that?

16:35:33 10    A.     Yes, I do.

16:35:34 11    Q.     What benefit, if any, did Akoustis derive from the

16:35:37 12    information that you received from Mr. Kim?

16:35:40 13    A.     I mean, again, it's competitive market intelligence

16:35:44 14    that is helpful you know in really providing some feedback,

16:35:49 15    we were not focused on the automotive market, so it was

16:35:53 16    really a 5.9-gigahertz was probably the most interesting,

16:35:57 17    because it's up in the higher frequency, but since we

16:36:00 18    weren't really focused on it, we did some R & D efforts on

16:36:04 19    it but never really produced a product in that time frame.

16:36:08 20    Q.     Did having those materials, those Qorvo materials

16:36:15 21    from Mr. Kim enable Akoustis to get any kind of head start

16:36:21 22    in its business, vis-a-vis is the competition?

16:36:25 23    A.     No.   None.   As I mentioned, we weren't really focused

16:36:29 24    on the automotive market back then, of course we are a lager

16:36:34 25    in that respect, so it did not give us any advantage and
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                                        Aichele - cross

16:36:39   1   really was not useful or beneficial.

16:36:40   2   Q.      You also reviewed a lot of, well, at least some

16:36:46   3   e-mails, and then he admitted into evidence a bunch of

16:36:51   4   attachments that came from Mr. Kim.     These or all, I think

16:36:55   5   there were ten or eleven of them at the end of Mr. DeFosse's

16:36:59   6   examination of you.   PTX 531, 532, 533, 534, all the way to

16:37:09   7   537 and then 542, 550, 551, he didn't ask you anything about

16:37:17   8   the actual presentations.   Were any of those presentations

16:37:25   9   remotely related to Akoustis's business?

16:37:28 10    A.      I think there was one that was remotely related and

16:37:32 11    that was the wireless connectivity one that had, in the last

16:37:38 12    four slides, some of their filter strategy.       But just

16:37:42 13    expanding on that as I talked about, you know, Colin was

16:37:46 14    managing S.J. when he received those documents.

16:37:51 15    99.9 percent sure he had a conversation with him regarding

16:37:55 16    accepting this information.    When I received this

16:37:58 17    information, I regret that I didn't pay much attention to

16:38:02 18    it, that it had been marked confidential, I regret that I

16:38:05 19    saved it.

16:38:05 20                 But I can tell you that it held no meaning to

16:38:08 21    me.   There really was nothing of value.     It was information,

16:38:12 22    you know, that I had seen before when I was at R & D

16:38:17 23    training sessions and strategies, but none of this was

16:38:20 24    relevant to Akoustis.

16:38:20 25                       DIRECT EXAMINATION
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                                      #: 40579                             935
                                       Aichele - direct

16:38:25   1   BY MR. ELKINS:

16:38:25   2   Q.     Okay.     I'm going to shift gears now.   And we'll

16:38:35   3   conduct your direct examination by Akoustis.      And just

16:38:40   4   because we didn't give you an opportunity at the start, the

16:38:46   5   jury already knows your name.    Can you tell the jury a

16:38:48   6   little bit more about yourself?

16:38:50   7   A.     Sure.     My name is Dave Aichele.   I live in

16:38:56   8   Huntersville, North Carolina.    I have lived there for

16:38:58   9   twenty-four years.    I am executive vice-president of

16:39:01 10    business development at Akoustis, I have been there for nine

16:39:03 11    years, pretty much from the start, I was one of the first

16:39:06 12    five employees before we became public.     It's been a very

16:39:10 13    enjoyable ride for the last nine years.     I have been married

16:39:14 14    for thirty years coming this year, I have two fantastic

16:39:17 15    kids, one is a boy and one is a girl, I actually shouldn't

16:39:21 16    say they are kids, they're adults now, so that's a short

16:39:24 17    introduction.

16:39:26 18    Q.     Congratulations on the thirty years and adulting

16:39:31 19    children.   So in your own words, can you describe Akoustis's

16:39:35 20    business for the jury?

16:39:35 21    A.     Yeah, Akoustis is a RF, you know, majority of our

16:39:40 22    effort is as an RF BAW filter company.      Focusing on where a

16:39:46 23    lot of our investment and activity is in RF BAW technology,

16:39:51 24    delivering high frequency ultra wideband width, that's where

16:39:57 25    we try to differentiate.    Targeting right now, the main
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                                        Aichele - direct

16:40:00   1   markets we focus on are Wi-Fi access points, 5G

16:40:05   2   infrastructure, which are base stations, also really

16:40:09   3   investing a lot of time and effort into the defense market

16:40:11   4   and more recently the automotive market and then 5G mobile,

16:40:16   5   so those are our main focuses.

16:40:18   6   Q.     Can you just elaborate a little bit, I think

16:40:21   7   Mr. DeFosse asked you a little bit about it, so I don't want

16:40:25   8   you to repeat anything that you said, but give a little more

16:40:29   9   closer regarding what your role is as executive Vice

16:40:32 10    President of Business Development?

16:40:32 11    A.     Yeah, I tried to, besides being the title of

16:40:37 12    executive vice-president of business development, I try to

16:40:41 13    be included within the organization as well, really staying

16:40:44 14    connected to all the different work centers within the

16:40:47 15    company.    I just enjoy working from a technical aspect and

16:40:51 16    an operational aspect.    But I head up the front end of the

16:40:55 17    company as well, so sales, marketing, business development,

16:40:58 18    and also product management, and then also I am an

16:41:03 19    application engineer, as well.

16:41:04 20    Q.     For those who are not in business development itself,

16:41:07 21    can you describe what is the distinguishing characteristics

16:41:13 22    are of business development versus marketing?

16:41:15 23    A.     So, so sales, you know, obviously focused on selling

16:41:21 24    products that you have today.     Business development is more

16:41:24 25    in driving product strategies, market strategies and being
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                                       Aichele - direct

16:41:28   1   one of the first, you know, roles that engages with tier one

16:41:34   2   customers that you want to really develop a product

16:41:36   3   portfolio, so they work closely, internally, to drive the

16:41:41   4   product strategies, but they work externally as well with

16:41:45   5   the sales organization to keep customers.

16:41:47   6   Q.     You mentioned product management, can you explain

16:41:50   7   that briefly?

16:41:51   8   A.     Yes, product management is a role within Akoustis, it

16:41:55   9   varies between different companies, but it's a role within

16:41:58 10    Akoustis that's responsible for what we call NPI, new

16:42:03 11    product introduction, the role is to manage, they don't

16:42:06 12    manage people directly, they really manage the process and

16:42:09 13    the product development, but take the concept, which is what

16:42:11 14    we call cradle, and bring it to production release, and then

16:42:15 15    ultimately to end of life, which is the grave.      So it's that

16:42:19 16    development process that they manage which is a gate phase

16:42:23 17    program to go from concept through to production and

16:42:26 18    release.

16:42:26 19    Q.     You also mentioned applications engineering briefly,

16:42:30 20    what is that?

16:42:30 21    A.     Application engineering is a resource within the

16:42:33 22    company that is really addressing technical inquiries and

16:42:38 23    standards bodies, helping customers ultimately trying to get

16:42:42 24    our products designed into their end application.

16:42:46 25    Q.     So you already testified with Mr. DeFosse that you
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                                         Aichele - direct

16:42:52   1   joined Akoustis in 2015.     Have you been the executive Vice

16:42:58   2   President of Business Development since you joined?

16:42:59   3   A.      No.    I actually started in May of 2015, so it's going

16:43:04   4   on nine years this month, and I started as a VP of business

16:43:08   5   development.    Had that role for about five years, and then

16:43:11   6   was promoted to executive Vice President of Business

16:43:14   7   Development and had that role for about four years.

16:43:16   8   Q.      Did your role change at all when you were promoted?

16:43:19   9   A.      No, not really.

16:43:20 10    Q.      Can you tell us a little bit about -- actually tell

16:43:23 11    us what you can about your higher education background?

16:43:27 12    A.      I have a bachelors of science in electrical

16:43:31 13    engineering that I received from Ohio University.

16:43:34 14    Q.      Do you have any other degrees?

16:43:35 15    A.      Yes, I also have a masters in business administration

16:43:39 16    from University of Colorado in Boulder, which has an

16:43:42 17    emphasis on technical marketing.

16:43:45 18    Q.      You testified earlier that you came to Akoustis from

16:43:49 19    T1V.   Can you tell us what T1V's business is?

16:43:54 20    A.      T1V, which used to be called T1 Vision, so I was

16:43:59 21    executive vice-president of sales and marketing there.         It

16:44:01 22    is an interactive software company focusing on mainly the

16:44:08 23    enterprise market.

16:44:08 24    Q.      How long were you at T1V?

16:44:11 25    A.      About two-and-a-half years.
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                                         Aichele - direct

16:44:12   1   Q.     I think you testified that you were there from 2012

16:44:18   2   through --

16:44:18   3   A.     2012 to basically the beginning of 2015.

16:44:23   4   Q.     Okay.    And before that you were at RFMD, correct?

16:44:25   5   A.     Yes, correct, I was at RFMD.

16:44:27   6   Q.     And you testified that you were there from 2004 all

16:44:31   7   the way through to 2012?

16:44:33   8   A.     2012, I think it was to the end of 2012, so almost

16:44:38   9   nine years.

16:44:39 10    Q.     Did you ever work at Qorvo?

16:44:40 11    A.     No, I did not.

16:44:42 12    Q.     What was your role or what was your position at RFMD?

16:44:47 13    A.     My position at RFMD mainly was director of business

16:44:51 14    development, where I was responsible for doing what I

16:44:53 15    defined as business development role for really three

16:44:56 16    categories, one was what we called high power amplifiers

16:44:59 17    which was a technology called gallium nitride, also

16:45:02 18    responsible for you know, high rail devices, which are used

16:45:07 19    in space applications in NASA, and then also high frequency

16:45:12 20    what they call gas mimic, which is targeting applications

16:45:16 21    like point to point radio, that was my main responsibility.

16:45:20 22    I also had other roles while I was there, I managed a

16:45:22 23    portion of the sales department for about a year-and-a-half.

16:45:26 24    I also managed the gallium nitride high power amplifier

16:45:31 25    engineering group for about a year-and-a-half, as well.
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                                       Aichele - direct

16:45:33   1   Q.     Did you do any work regarding BAW filters at RFMD?

16:45:36   2   A.     No, I did not.

16:45:38   3   Q.     Did RFMD design or manufacture BAW filters when you

16:45:41   4   worked there?

16:45:41   5   A.     No, they did not.    You know, the formation of Qorvo

16:45:46   6   is when they got access to the BAW technology, and that

16:45:49   7   happened between the merger of RFMD and TriQuint, in the

16:45:54   8   beginning of 2015.    TriQuint had BAW technology, RFMD did

16:45:58   9   not, so once the two companies merged, then that's where the

16:46:03 10    Qorvo BAW technology came from.

16:46:05 11    Q.     Before we -- I would like to take you through, and

16:46:09 12    very briefly, but through Akoustis's history, but I think it

16:46:13 13    would help the jury to understand just a very basics, the

16:46:18 14    ABC's of the semiconductor design and manufacturing flow.

16:46:25 15    So most people have heard the term semiconductor.       You have

16:46:29 16    been in the industry for quite a while.     What does it mean?

16:46:32 17    A.     Yeah.    It's not an easy concept to truly grasp unless

16:46:37 18    you actually lived it.    But semiconductor crosses -- I think

16:46:40 19    everybody knows an integrated like an Intel Pentium chip

16:46:45 20    that is used in computer or a Qualcomm chip that is used in

16:46:48 21    mobile phones so those are integrated circuits that are

16:46:52 22    either digital or you can have analog.

16:46:54 23                   So the semiconductor process is actually the

16:46:56 24    process where you will fab these integrated circuits on a

16:47:00 25    substrate or a whichever was in a foundry or fab, and this
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16:47:04   1   is a parallel manufacturing process that you can create,

16:47:07   2   thousands, tens of thousands of dies on a single substrate,

16:47:10   3   so the economy of scales are very good to produce high

16:47:14   4   volume, and obviously drive the cost down, but it's a very

16:47:18   5   high-tech process.

16:47:19   6   Q.     So say I have an idea to make a new semiconductor

16:47:24   7   device, let's say I want to make a new BAW filter, what's

16:47:28   8   the first step toward taking that idea to, that concept to?

16:47:34   9   A.     I think the first step is really defining the

16:47:37 10    specification, and that specification is going to be used as

16:47:42 11    you bring the concept of the design all the way from design

16:47:46 12    phase to production.

16:47:48 13    Q.     Okay.    How are the specifications determined?

16:47:50 14    A.     Mainly in two ways, I think, one is really soliciting

16:47:56 15    customer feedback and really looking at it, you can do it

16:47:59 16    from two ways, one you actually focus on one customer where

16:48:04 17    they give you the specifications or you're collecting all

16:48:07 18    the different customers and trying to find a solution that

16:48:10 19    would address the majority of those customers basis.

16:48:13 20                   So an example is if you're looking at buying

16:48:17 21    access points, I mentioned the mobile, or I should say the

16:48:22 22    home market segment, Netgear, Google, you would collect

16:48:26 23    information from those guys because you don't want to do a

16:48:30 24    specific product, you want to try to cover all of them, you

16:48:33 25    would collect that information and try to define the spec to
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16:48:36   1   give to the team to start going after.

16:48:39   2   Q.     What I would like to do is kind of explore that idea

16:48:42   3   just a little bit with a document.

16:48:44   4                 MR. ELKINS:   Your Honor, may I approach the

16:48:45   5   witness?

16:48:46   6                 THE COURT:    You may.

16:48:55   7   BY MR. ELKINS:

16:49:03   8   Q.     Mr. Aichele, I have handed you what was marked for

16:49:06   9   identification as exhibit DTX 0560.       Do you recognize it?

16:49:15 10    A.     Yes, I do.

16:49:16 11    Q.     What is it?

16:49:17 12    A.     This is actually a letter that I sent to Malcolm

16:49:21 13    Asher, who is part of Peloton Systems, which is a company

16:49:26 14    that is located in Israel.

16:49:28 15    Q.     Why were you sending him a letter?

16:49:30 16    A.     This is actually, there were two ways that we really

16:49:34 17    went to market, one is to develop custom products or

16:49:37 18    products that customers would pay NRE, which is called

16:49:41 19    nonrecurring engineering charge, the other way is we develop

16:49:44 20    what I call a catalog part, this is an example of us

16:49:48 21    providing him a statement of work, you know, and really

16:49:52 22    making sure that the specifications that were defined in

16:49:56 23    this statement were, he understands what we're committed to

16:50:00 24    delivering.

16:50:01 25                  MR. ELKINS:   Your Honor, we'll move what's been
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16:50:03   1   marked as DTX 0560 into evidence.

16:50:07   2                THE COURT:    Without objection, marked and

16:50:09   3   received as 152.

16:50:11   4                (Trial Exhibit No. 152 was admitted into

16:50:13   5   evidence.)

16:50:13   6                MR. ELKINS:    I'm sorry, Your Honor, 152?

16:50:15   7                THE COURT:    152.

16:50:16   8                MR. ELKINS:    Thank you.

16:50:20   9   BY MR. ELKINS:

16:50:22 10    Q.     Mr. Aichele, in what's now been marked as Trial

16:50:25 11    Exhibit 152, is a section entitled description, and there

16:50:30 12    are two charts below that.     And there are some drawings also

16:50:39 13    that says proposed package.       Let's first focus on the first

16:50:45 14    chart, which says specifications, electrical

16:50:48 15    characteristics.   What's described there?

16:50:50 16    A.     These are small signals, install signals means low

16:50:55 17    power, and defining critical functions or critical

16:50:59 18    parameters for a filter.    And the customer specs are the

16:51:04 19    ones that are in the white column, and then you can see on

16:51:08 20    the right with the Akoustis, we say okay, and that means

16:51:11 21    that we can meet the specifications.

16:51:14 22    Q.     So was the source of the electrical and mechanical

16:51:20 23    specifications here ELTA?

16:51:22 24    A.     Correct.

16:51:23 25    Q.     What is the proposed package drawing below?
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16:51:27   1   A.        The proposed package is their request or

16:51:30   2   recommendation on the, you know the package outline that

16:51:35   3   they would like to see.

16:51:38   4   Q.        How often do customers provide specifications like

16:51:41   5   this?

16:51:41   6   A.        You know for NRE projects, all the time, because it

16:51:45   7   is a contract between us and the customer that we want to

16:51:48   8   make sure that we all agree, you know what we're going to

16:51:51   9   target.    And in general, you will always receive

16:51:55 10    specifications for mark up and feedback, specifications will

16:52:00 11    define, I look at every customer that we engage with, I

16:52:04 12    really need to know what they're asking for so that we can

16:52:07 13    be successful.

16:52:08 14    Q.        Now, do you -- are all of Akoustis BAW filter

16:52:14 15    products, do they all come from unique customer

16:52:19 16    specifications?

16:52:19 17    A.        Not always.   As I mentioned earlier, when we do

16:52:23 18    custom products it's going to be a unique specification.

16:52:27 19    And sometimes we'll try to make it a dual use part where

16:52:30 20    we're actually designing it for this one customer, and the

16:52:34 21    agreement is we can sell this out in the open market as

16:52:37 22    well.   The other one is we receive multiple inputs from many

16:52:41 23    different customers and then we try to create what we call a

16:52:45 24    catalog part, or a marketing part, but a lot of that is

16:52:49 25    getting feedback and questioning their specifications.
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16:52:51   1   Q.     With how many customers will you discuss a set of

16:52:55   2   proposed specifications before you make a go or no go

16:53:00   3   decision regarding one of these more general parts?

16:53:03   4   A.     Yes, a standard product.    Yeah, I would say we want

16:53:07   5   to at least have two to three tier one customers input, and

16:53:13   6   tier one are defined as the markets leaders in that

16:53:17   7   particular market segment.    And then we'll probably get a

16:53:20   8   couple of tier two as well, so I would say up to about five.

16:53:24   9   Q.     Can you give us an example of who might be a tier one

16:53:28 10    type customer and who might be a Type 2?

16:53:30 11    A.     Yeah.   So if I look at the enterprise market, which

16:53:33 12    are the routers that you see outside in the hallway in the

16:53:36 13    courtroom, you know, tier one is going to be Cisco company,

16:53:39 14    I think everybody may recognize Cisco brand, the other one

16:53:42 15    is HPE Aruba, those are two that I call tier ones and then I

16:53:48 16    would put Extreme or there is a couple of other smaller

16:53:52 17    players as tier two, so Cisco owns forty-five, fifty percent

16:53:57 18    of the market, so I definitely want to get their feedback

16:54:00 19    and then I would continue to go down that list.

16:54:03 20    Q.     So we were talking, I was asking you about taking

16:54:07 21    concept, taking the semiconductor product concept to

16:54:14 22    execution, and we talked about the specifications, what

16:54:19 23    happens after you have a set of specifications?

16:54:22 24    A.     With respect to BAW filters, the next step is once we

16:54:26 25    have the specification defined then you get into the design
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16:54:29   1   phase.    And so the main thing is that our device and

16:54:32   2   modeling team will create resonator models, and resonator

16:54:36   3   models are really the building block of a filter, of a BAW

16:54:40   4   filter.    Those resonator models are provided to the

16:54:44   5   software, or to I should say two design engineers and they

16:54:47   6   utilize an EDA, which is a software to start doing the

16:54:51   7   design, start doing the simulations.

16:54:54   8                  So that is really the next phase where they go

16:54:56   9   from having the models to actually doing the simulations to

16:55:00 10    locking down the design and then we do what we call a cross

16:55:04 11    functional design review, so you have all different aspects

16:55:07 12    of the company looking at the design.       And then basically

16:55:10 13    freeze, that design, there may be some design variance.

16:55:14 14    Q.        Did you mention EDA?

16:55:16 15    A.        So Electronic Data Achievement software, it's a tool

16:55:22 16    that the designers use to do design simulations.

16:55:26 17    Q.        Once you have your design locked, what happens next?

16:55:31 18    A.        Then it moves into the manufacturing phase.      So the

16:55:35 19    next step is as I mentioned, semiconductor process, is you

16:55:40 20    know, creating what they call mask, and mask is used to

16:55:45 21    print integrated circuits on to a substrate, whichever, the

16:55:50 22    layout is done on the mask and you cure the mask and then

16:55:53 23    you run it through the fab or the foundry depending on if

16:55:56 24    your Fab less, and then once the wafers are completed

16:56:00 25    they're tested and then they move to the next phase.
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16:56:03   1   Q.       You mentioned something, fabless.      What does that

16:56:06   2   mean?

16:56:06   3   A.       So some companies are, the history of Akoustis we

16:56:11   4   were fabless for about four years.       And that is we used an

16:56:16   5   outside foundry, so an outside foundry is a third party that

16:56:20   6   will actually take our designs and use their processes to

16:56:24   7   manufacture your own products, you own the product, you

16:56:27   8   don't own the process.     A fab company actually owns the

16:56:30   9   manufacturing semiconductor fab.

16:56:32 10    Q.       So is the word fab and the term foundry, are they

16:56:39 11    synonymous?

16:56:41 12    A.       Not really.   If you use fab, if you own your own fab,

16:56:45 13    but you can also, sort of, so an example is Akoustis now

16:56:49 14    offers foundry services for our BAW filter, we offer foundry

16:56:55 15    services even though we own the fab, so they're not

16:56:59 16    typically synonymous.

16:57:01 17    Q.       Once the part is in the fab, or foundry, what happens

16:57:06 18    next?

16:57:07 19    A.       So going through the fab is really what we call the

16:57:11 20    front end of the process, you actually have the devices, you

16:57:15 21    know that are manufactured on a carrier substrate which a

16:57:18 22    wafer.   Once you're done with the front end, which you

16:57:22 23    actually test, you create a pick map, you then send it off

16:57:27 24    to the back end of the process, which is grinding the wafer

16:57:31 25    down and then you dice it, which really means you cut it up,
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                                        Aichele - direct

16:57:35   1   if I got one wafer and I dice it, I now create 10,000 or

16:57:40   2   20,000 or 40,000 dies, and those dies with the pick map are

16:57:44   3   sent to the assembly house that will actually pick the die,

16:57:48   4   place it in a package, which is really the packages, and

16:57:51   5   making an electrical, so it's mechanical cover, and then

16:57:56   6   also electrical connection, and then they test it and then

16:57:59   7   it ships off to the end customer.

16:58:01   8   Q.     So now I would like to cover a little bit of

16:58:06   9   Akoustis's chronology.    I want to start with what Akoustis

16:58:09 10    was doing when you joined in April or May of 2015?

16:58:14 11    A.     Yeah.    So this is very small, there was only five of

16:58:18 12    us at the time, and it really was the R & D phase of the

16:58:21 13    company.    You know, it was focusing on single crystal

16:58:26 14    technology and developing bulk acoustic wave resonators,

16:58:31 15    which is the building block of the filter, and eventually

16:58:34 16    filters.    Really focusing on a very attractive market

16:58:38 17    segment at the time.    You know that market segment at the

16:58:42 18    time that I joined was really dominated by two players, one

16:58:47 19    involving Broadcom, which was a big player, owned a majority

16:58:52 20    of the market, and the other was Qorvo through the

16:58:55 21    acquisition through R & D and trade market, which was the

16:58:58 22    other player, this was an opportunity to bring a new

16:59:01 23    innovative technology to the market and potentially be a

16:59:05 24    third player in the market.

16:59:07 25    Q.     Why did Akoustis focus on BAW filters as opposed to
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16:59:12   1   perhaps a multifaceted approach?

16:59:15   2   A.     One is, you know, too much distractions, you don't

16:59:20   3   execute.    So it really was a hyper focus on making single

16:59:24   4   crystal technology and developing the best bulk acoustic

16:59:31   5   wave technology is the main focus and the market segment was

16:59:33   6   very attractive, so we actually went public, and that was

16:59:36   7   the catalyst that allowed us to continue to fund the company

16:59:40   8   through the stages, we really had to address three things,

16:59:44   9   funding the company, bringing the technology to the market

16:59:46 10    and finding a way to penetrate the markets as well.

16:59:49 11    Q.     You mentioned that the market segment was very

16:59:52 12    attractive.    Why was it attractive in your view?

16:59:56 13    A.     The point I think I raised earlier was it was a very

17:00:00 14    large market, multiple billions of dollars, mainly used in

17:00:04 15    the mobile phone, one good example is Apple, it is

17:00:09 16    absolutely a major player, a tier one player, and they use a

17:00:13 17    lot of BAW filters in their architectures, and it was really

17:00:17 18    accommodated by two key players, Broadcom and Qorvo, and

17:00:21 19    there was innovation that we believe that could be brought

17:00:24 20    to the market that could differentiate and we could grab a

17:00:28 21    piece of that market segment.

17:00:29 22    Q.     Now, you also mentioned the phrase single crystal, we

17:00:34 23    have heard some other testimony about it before you arrived.

17:00:37 24    But what does it mean to you?

17:00:39 25    A.     Single crystal is a, you know crystalline deposition
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                                        Aichele - direct

17:00:44   1   of materials, what they call, you know, three five materials

17:00:50   2   that are on the compound chart, and it's a deposition of

17:00:55   3   this crystal material that aligns with the orientation of a

17:00:59   4   substrate, so it creates very high performance materials,

17:01:05   5   you know and it can be different compositions of different

17:01:09   6   materials.

17:01:09   7   Q.     Why did single crystal become a focus for the

17:01:14   8   company?

17:01:14   9   A.     Single crystal was in the industry for many years,

17:01:18 10    you know, prior to the formation of Akoustis and it's used

17:01:21 11    in active place, so a good example of it is gallium nitride

17:01:25 12    is a high powered, it is used in high power RF amplifiers

17:01:31 13    that are used in defense applications for radar or base

17:01:35 14    station, and it's also used in high voltage applications

17:01:39 15    like you know, devices that would go into -- so the concept,

17:01:45 16    Jeff Shealy as the founder really had the idea, and he's

17:01:48 17    been a material scientist for many years, he had the idea of

17:01:51 18    let's take single crystal and let's apply it to bulk

17:01:56 19    acoustic wave, passive devices.

17:02:05 20    Q.     What role, if any, did industry standards have to

17:02:10 21    play in your view regarding the attractiveness of the BAW

17:02:15 22    filter market going forward?

17:02:17 23    A.     The main thing when we started was the 4G LTE, so

17:02:24 24    everybody at the time in early 2010 to 2015, 4G LT was on

17:02:32 25    everybody's phone.    That's when we came in and looked at
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17:02:36   1   diving into that market segment, I found it to be very

17:02:39   2   difficult to penetrate that market segment, so I started

17:02:43   3   looking at the standards, looking at 5G, which is on

17:02:48   4   horizon, the 4G/5G standards that usually evolve every ten

17:02:52   5   years, so 5G was on the standard, and it was moving up

17:02:56   6   higher in frequency.    And also I started looking at other

17:02:59   7   standards, the Wi-Fi is what we call IEEE, that's a standard

17:03:03   8   which was also developing and utilizing higher frequencies

17:03:06   9   as well.    So I started looking at our technology and trying

17:03:10 10    to find a way to push the company and our development phase

17:03:14 11    into higher frequencies.

17:03:19 12    Q.     Mr. Aichele, I would like to use another document to

17:03:25 13    punctuate your testimony.

17:03:34 14                  MR. ELKINS:   Your Honor, may I approach the

17:03:35 15    witness?

17:03:36 16                  THE COURT:    You may.

17:03:49 17    BY MR. ELKINS:

17:03:51 18    Q.     Mr. Aichele, what I have handed you and what you have

17:03:54 19    in front of you now has been marked for identification as

17:03:58 20    PTX 694.    Do you recognize it?

17:04:02 21    A.     Yes, I do.

17:04:03 22    Q.     What is it?

17:04:05 23    A.     Even without my glasses, August 2018 investor

17:04:10 24    presentation.

17:04:11 25    Q.     What is an investor presentation?
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17:04:15   1   A.     An investor presentation is used, you know, by the

17:04:20   2   company to educate, you know, the investor market primarily,

17:04:26   3   the main continuing thing that we were doing at the time was

17:04:29   4   continuing to raise money to fund the company.        So the

17:04:32   5   investor we want to highlight key things about the company,

17:04:36   6   executive management, also key milestones that you're able

17:04:39   7   to achieve and where you differentiate.       And obviously the

17:04:44   8   big one is the attractiveness of the market you're

17:04:47   9   targeting.

17:04:47 10    Q.     Does Akoustis create investor presentations on a

17:04:52 11    regular basis?

17:04:53 12    A.     Yes.    We periodically update the investor decks just

17:04:57 13    to make sure that it's fresh and it's got the latest

17:04:59 14    information.

17:05:00 15    Q.     And deck, is that another word for presentation?

17:05:04 16    A.     Investor presentation.

17:05:05 17    Q.     What involvement, if any, do you have in preparing

17:05:09 18    investor presentations?

17:05:10 19    A.     Mainly inputs, you know, so I don't manage the IR

17:05:17 20    side of the company, which is really the responsibility of

17:05:19 21    creating these investor presentations.       Obviously I have

17:05:23 22    very good visibility to the markets and I provide inputs to

17:05:27 23    help them script the message.

17:05:29 24    Q.     When you use jargon like IR, I'm going to ask you

17:05:33 25    what it means?
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17:05:34   1   A.     Investor relations.

17:05:37   2                  MR. ELKINS:   Your Honor, we move what's been

17:05:38   3   marked for identification as PTX 0694 into evidence.

17:05:44   4                  THE COURT:    Marked and received as 153, I

17:05:46   5   believe.

17:05:46   6                  (Trial Exhibit No. 153 was admitted into

17:05:47   7   evidence.)

17:05:47   8   BY MR. ELKINS:

17:05:49   9   Q.     Mr. Aichele, could you please turn to page 5 of Trial

17:05:53 10    Exhibit 153.    And it should have milestones achieved?

17:05:59 11    A.     Yes, I'm there.

17:06:00 12    Q.     What is depicted on this presentation slide?

17:06:03 13    A.     It's a linear chronology of major milestones or you

17:06:08 14    know, I guess notable milestones from the beginning of the

17:06:11 15    company in May 2014 all the way to August of 2018.

17:06:16 16    Q.     I would like to walk through just a handful of

17:06:19 17    milestones just so we can get a better picture regarding

17:06:22 18    Akoustis's history.    So the first one I would like to ask

17:06:26 19    you about is below the blue timeline.      And I believe it says

17:06:34 20    July 16th, produced World's first single crystal BAW RF

17:06:39 21    filters.    What does that mean?

17:06:41 22    A.     You know, as I mentioned when I joined, you know, we

17:06:45 23    were in that R & D phase and we were working with an outside

17:06:49 24    foundry, which is a partnership we created.       And it was an

17:06:54 25    agreement that we made that we owned the process but they
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17:06:56   1   were the foundry to actually produce it.      And working with

17:07:00   2   them, we had actually created what we believe is the world's

17:07:05   3   first single crystal BAW filter.

17:07:08   4   Q.     Above the blue line, if you go above and to the right

17:07:12   5   to November 16th, you'll see November 16 first 2.5-gigahertz

17:07:20   6   3.7-gigahertz single crystal filters.      Why is that a

17:07:25   7   milestone?

17:07:25   8   A.     So that first milestone we just discussed probably

17:07:29   9   really didn't you know, have a lot of definition on the

17:07:32 10    specifications we had demonstrated a resonator performance

17:07:36 11    and actually produced a BAW filter response.       This one up

17:07:41 12    here, you know, it's more focused on two reasons, one is

17:07:45 13    that we've actually got center frequencies that we're

17:07:49 14    focusing on, 2.5 and 3.7 and the other aspect is what I

17:07:53 15    highlighted moving up higher frequency, traditional BAW

17:07:57 16    filters in the mobile market operating in 1.8 to

17:08:01 17    2.7-gigahertz.    So we're pushing it up into the higher

17:08:06 18    frequencies, 3.7 is a good example.

17:08:09 19    Q.     Okay.     I would like to jump about six months later in

17:08:12 20    the timeline, still, now we're on the bottom, and it's

17:08:18 21    May 17th, it says first 5.8-gigahertz BAW demo wafer from

17:08:26 22    NYSTC fab, can you explain that to us?

17:08:28 23    A.     There is two main things to note.       One is we have now

17:08:32 24    pushed it up to 5.8-gigahertz.     So this was a major

17:08:36 25    milestone, and the other one is we actually demoed this out
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17:08:40   1   of a new partnership collaboration we had with New York STC

17:08:46   2   MEMS, so we were working in an outside foundry, we were

17:08:49   3   having a lot of problems with that outside foundry, the

17:08:52   4   equipment set wasn't optimal, the yields were very poor,

17:08:56   5   they were delivering very minimal amount of usable die, so

17:09:02   6   we started searching the market for another partner and we

17:09:06   7   identified STC MEMS as that partner, and this was the first

17:09:10   8   deliverable out of the collaboration with STC MEMS.

17:09:14   9   Q.      So following a month later we're now on top of the

17:09:18 10    blue timeline, and it's noted as a key event, June 17th

17:09:24 11    closed the acquisition of 150-millimeter STCNC Fab, what's

17:09:31 12    that?

17:09:32 13                 THE COURT:    Be sure to state the year.

17:09:35 14                 MR. ELKINS:   I'm sorry?

17:09:36 15                 THE COURT:    Be sure you state the year each

17:09:38 16    time.

17:09:39 17                 MR. ELKINS:   I'm sorry, June 2017, closed

17:09:42 18    acquisition of 150 STC New York Fab.

17:09:48 19                 Thank you.

17:09:48 20    A.      Yeah, so this, if you read that May 17th, 2017, date,

17:09:53 21    that was a trial run with STC MEMS, where we took the

17:09:58 22    process that we owned at the outside foundry, transferred it

17:10:01 23    into the STC MEMS facilities, produced the results which

17:10:05 24    gave confidence to Akoustis and the Board of Directors, and

17:10:10 25    then at the time SSTC MEMS was owned by the State of New
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17:10:14   1   York, it was a facility run by SUNY, the State University of

17:10:20   2   New York and the state negotiated with us to acquire the

17:10:24   3   full facility.     So we acquired a 130,000 square foot

17:10:30   4   facility from the State of New York and brought all the

17:10:33   5   employees in to Akoustis.

17:10:34   6   Q.        What did the New York Fab do before Akoustis acquired

17:10:37   7   it in June 2017?

17:10:38   8   A.        So STC MEMS, so MEMS is a micro electrical,

17:10:44   9   electrical mechanical solutions, and they were a center of

17:10:48 10    excellence for MEMS, so they were really the foundry for

17:10:51 11    customers that were fabless that needed access to MEMS

17:10:55 12    processes to develop devices that go into their end

17:10:59 13    products.

17:11:00 14    Q.        Okay.   Let's speed this along.   We're going to go to

17:11:04 15    the right of that, in September 2017, industry's first

17:11:07 16    single crystal 5-gigahertz Wi-Fi BAW RF filter protos to

17:11:14 17    multiple clients.     You're going to have to decode that one

17:11:19 18    for us.

17:11:19 19    A.        There is two major things here.    You know, as I

17:11:22 20    mentioned in the outside foundry that we had, we were really

17:11:25 21    concerned about the manufacture-ability.       Once we moved it

17:11:29 22    into the STC MEMS Fab, we would stabilize it, we probably

17:11:34 23    hadn't probably, we had not gotten to acceptable yields.

17:11:38 24    And that didn't stop us from saying that we want to start

17:11:43 25    sampling devices to customers, so we had to select a few
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17:11:47   1   customers that we sampled to really get technical feedback

17:11:51   2   so that we can continue to make improvements in the design.

17:11:58   3   Q.     Let me move to the right.     And down below the line to

17:12:05   4   March of 2018.   XB1 process frozen, begin qualification.

17:12:12   5   What is XB1 process mean?

17:12:15   6   A.     So that's a very key milestone.     When we were in the

17:12:19   7   outside foundry, we had a process that we called cavity

17:12:25   8   back, so it's what they call a FBAR, like which is a

17:12:29   9   freestanding bulk acoustic resonator structure if you look

17:12:32 10    at the cross-section of it, and cavity back is you have the

17:12:39 11    cavity on the back of the filter to create that air cavity

17:12:42 12    on the top and bottom.

17:12:44 13                It was a hard process, when we transferred it

17:12:46 14    into the STC MEMS, it really was analyzed by the operations

17:12:51 15    and the process engineers, this is not a process, this

17:12:53 16    cavity back process is not something we can go to market, so

17:12:57 17    it was a combination of our device engineers at Akoustis

17:13:01 18    that worked very closely with the process engineers, who had

17:13:05 19    a lot of MEMS experience to take the bulk acoustic wave

17:13:10 20    experience, take the MEMS experience and they created what

17:13:13 21    we call XBAW, which is the trademark we use, XB1 is actually

17:13:19 22    the first process that came out of that.

17:13:22 23                We had spent a significant amounts of time

17:13:25 24    developing this new XBAW process, and what's key here, is we

17:13:30 25    got to the point where we froze it, once you froze it, you
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17:13:33   1   start qualification, in the industry if you do not lock down

17:13:36   2   and qualify a process, you cannot go to production, that is

17:13:40   3   something that every fab company wants to make sure you got

17:13:43   4   a process that you feel confident that any product you

17:13:46   5   deliver is going to be robust.      So this was a very key

17:13:50   6   milestone for us.

17:13:51   7   Q.     Last milestone I'm going to ask you with is right

17:13:55   8   before March 2018, AKF 1252, BAW RF filter product

17:14:03   9   announcement, why was that a milestone?

17:14:07 10    A.     If you go back to that September 17th, 2017,

17:14:11 11    statement you can see I didn't really specify that that was

17:14:13 12    a 5.2-gigahertz filter, it was just our first filter, now

17:14:18 13    that we have got a process that we have locked down and we

17:14:21 14    started qualification, we are starting to accelerate really

17:14:25 15    creating a product that we can get out to the market so that

17:14:28 16    was the first AKF 1252, it was one of the first products

17:14:32 17    that we made a product announcement and started sampling to

17:14:37 18    multiple customers.

17:14:41 19    Q.     We can take that one down.       I am going to show you

17:14:45 20    another document.

17:14:47 21    A.     Okay.

17:15:00 22                   MR. ELKINS:   May I approach, Your Honor?

17:15:02 23                   THE COURT:    You may.

17:15:08 24    BY MR. ELKINS:

17:15:20 25    Q.     I've handed you, Mr. Aichele, what has been premarked
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17:15:23   1   for identification as PTX 0403.      Do you recognize it?

17:15:30   2   A.     Yes, I do.

17:15:31   3   Q.     Can you tell us what it is?

17:15:33   4   A.     It's a product catalog.

17:15:36   5   Q.     From?

17:15:38   6   A.     From Akoustis.

17:15:39   7   Q.     Okay.     And is there a date on it?

17:15:44   8   A.     It's a 2023 product catalog from Akoustis.

17:15:47   9   Q.     What's the purpose of a product catalog?

17:15:50 10    A.     A product catalog is really a marketing tool or

17:15:53 11    literature, you know, that the sales organization can share

17:15:57 12    with customers, distributors, and for customers to really

17:16:01 13    look through to identify products that may be of interest

17:16:04 14    and meet their requirements.

17:16:07 15    Q.     What was your involvement with the creation of this

17:16:12 16    2023 product catalog marked PTX 0403, if any?

17:16:17 17    A.     Mainly supervision and then final approval,

17:16:21 18    authorization.

17:16:23 19                   MR. ELKINS:   Your Honor, we move what was marked

17:16:25 20    as PTX 0403 into evidence.

17:16:27 21                   THE COURT:    Marked and received as 154.

17:16:31 22                   (Trial Exhibit No. 154 was admitted into

17:16:32 23    evidence.)

17:16:32 24                   MR. ELKINS:   Thank you.

17:16:33 25    BY MR. ELKINS:
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17:16:33   1   Q.     Mr. Aichele, I'm going to ask you to turn to page 3

17:16:40   2   of -- and this is presentation page 3.     This has at the very

17:16:55   3   top the term XBAW, which you talked a little bit in

17:17:00   4   connection with the milestone timeline.     So this is a -- I

17:17:08   5   think it's two pages worth of explanation regarding XBAW.

17:17:13   6   Why is it being highlighted in the product catalog?

17:17:16   7   A.     Yeah, a lot of the investment that we're making on

17:17:20   8   the company is with respect to the market opportunities and

17:17:23   9   the technology of our XBAW technology.     So it is the main

17:17:28 10    focus on the technology side that we want to make sure that

17:17:31 11    we're educating the customers.

17:17:39 12    Q.     Have you heard -- and actually I made a mistake, I

17:17:46 13    think on the milestone schedule, or excuse me, on the

17:17:51 14    milestone timeline, it's actually, there is something called

17:17:58 15    XB1 process frozen?

17:18:00 16    A.     Right.

17:18:01 17    Q.     And what I should have asked you, is there a

17:18:05 18    relationship between the XBAW and XB1?

17:18:08 19    A.     I think I mentioned that but just to reiterate, the

17:18:12 20    XBAW is a trademark, which is the overriding definition of

17:18:15 21    our process.    If you look at XBAW, there is really five

17:18:19 22    pillars that we emphasize of where we believe this

17:18:22 23    technology is differentiable and again it's this combination

17:18:29 24    of a MEMS process, our original process that we introduced,

17:18:32 25    and you know the XBAW is an overriding.     XB1 is considered
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17:18:37   1   to be the first process, so it has a certain, you know, flow

17:18:41   2   that it follows, certain, what they call traveler within the

17:18:46   3   fab.

17:18:48   4   Q.        Okay.    Can we turn to presentation page 5, please,

17:18:54   5   Mr. Brown.    And it should be solutions at the top.

17:18:59   6                     So at the very top of this page is a description

17:19:06   7   of XBAW RF BAW filters, I think we've heard what those are.

17:19:12   8   Underneath it, though, it talks about something called an

17:19:16   9   SAW.   What is that a reference to?

17:19:18 10    A.        SAW was a -- so BAW is a microcrystal technology,

17:19:24 11    which is different from SAW, SAW is also considered an

17:19:28 12    acoustic technology, it is called surface acoustic wave,

17:19:32 13    whereas BAW is call bulk acoustic wave, the difference is a

17:19:37 14    SAW filter is basically a different technology but basically

17:19:41 15    does the same thing.

17:19:41 16    Q.        Is there a difference between an RFR BAW filter and a

17:19:47 17    RF SAW filter?

17:19:48 18    A.        Yes, there is, there is three ways you can define the

17:19:52 19    filter.    SAW typically operates at a lower frequency so from

17:19:56 20    three gigs, it's typically lower power and also the

17:20:00 21    performance is not as good, so it's more of a commodity

17:20:04 22    based product.       Whereas BAW is really in the 1.8 and pushing

17:20:09 23    up to 8-gigahertz, so it goes up much higher in frequency

17:20:13 24    and it also offers some more power and it's much more

17:20:19 25    technology.       It's -- there is three clear additional
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17:20:22   1   particulars.    So the SAW technology, if you can satisfy a

17:20:41   2   customer's requirement with SAW, then he'll use SAW, but if

17:20:45   3   you need the performance, you'll typically use BAW.

17:20:48   4   Q.     In the description here under SAW the first sentence,

17:20:53   5   under the title, there is a reference to a long heritage

17:20:58   6   from RFMi, the pioneer in SAW and low power RF technologies.

17:21:06   7   What is RFMi?

17:21:08   8   A.     So RFMi, there is a history there, but RFMi was a

17:21:15   9   company many years ago, one of the dominant players in SAW

17:21:21 10    technology.    They actually were bought by Marauda in 2012

17:21:26 11    and Marauda is a big Japanese company.       And then Marauda

17:21:32 12    spun them out in I think it was around 2019 and it created a

17:21:36 13    company called RFMi, we actually acquired RFMi in 2021, 2022

17:21:45 14    time frame.

17:21:46 15    Q.     Did you have any involvement in that acquisition

17:21:49 16    process?

17:21:50 17    A.     Yes, I did.     I actually brought RFMi to Akoustis for

17:21:56 18    evaluation.    And then once we signed a nonbinding LOI, which

17:22:03 19    is called a letter of intent, I was involved in the due

17:22:06 20    diligence, you know, the due diligence involves technical

17:22:11 21    assessment, market assessment, financial assessment.         And

17:22:18 22    did within the company, and then we did go through with the

17:22:21 23    acquisition, RFMi reports to me as well.

17:22:27 24    Q.     What technology, if any, has RFMi acquired from

17:22:32 25    Akoustis?
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17:22:32   1   A.       No technology.

17:22:32   2   Q.       Who manufactures -- well, I'll ask you first, does

17:22:36   3   RFMi fabricate its own SAW filters?

17:22:39   4   A.       No, they actually are fabless company, so whereas

17:22:43   5   Akoustis, we own our own fab supporting the BAW technology,

17:22:48   6   RFMi was fabless when we acquired them.

17:22:51   7   Q.       And where does RFMi have its SAW filters fabricated?

17:23:00   8   A.       Primarily in a company called Tai-Saw, which is a

17:23:05   9   foundry that they use located in Taiwan.

17:23:10 10    Q.       I would like to turn to presentation page 8, if you

17:23:17 11    would.   And we're still in Trial Exhibit 154.       Are you

17:23:23 12    there?

17:23:23 13    A.       Yes, I am.

17:23:24 14    Q.       So the title says BAW filters for 5 and 6-gigahertz

17:23:29 15    bands.   What's described on this page?

17:23:31 16    A.       These are products that we're releasing into

17:23:35 17    production that we put into the catalog mainly focused on

17:23:39 18    BAW filters on this page for you know the 5 and the

17:23:41 19    6-gigahertz bands.

17:23:44 20    Q.       How many BAW filters has Akoustis released for

17:23:48 21    production?

17:23:49 22    A.       Currently I believe it's around seventeen that have

17:23:53 23    been fully released to production.

17:23:55 24    Q.       Okay.   Let's go to the next page, page 9.      And at the

17:24:02 25    top, there is a reference to BAW filters for 2.4-gigahertz
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17:24:07   1   Wi-Fi band.    What are those?

17:24:10   2   A.      These actually are parts that came through with the

17:24:14   3   RFMi acquisition, so these are lower frequency BAW filters,

17:24:18   4   2.4-gigahertz, so they actually had released that into

17:24:22   5   production prior to us acquiring them.

17:24:25   6   Q.      And what Akoustis technology, if any, is included in

17:24:31   7   the RFMi BAW filters at the 2.4-gigahertz band?

17:24:34   8   A.      With these current products, none.

17:24:37   9   Q.      You can put that exhibit away.

17:24:49 10                  What was Akoustis first RF BAW filter released

17:24:53 11    for production?

17:24:54 12    A.      There is two products that were the leading two

17:24:57 13    products that we released to production, the AKF-1252 and

17:25:02 14    the AKF-1938.

17:25:04 15    Q.      When were they released for production?

17:25:07 16    A.      I don't know exactly when they were released to

17:25:09 17    production, but I would say somewhere in the beginning of

17:25:09 18    2020.

17:25:14 19    Q.      Now, I started off the direct examination, or at

17:25:18 20    least a little bit into it after your introduction by asking

17:25:22 21    you to describe Akoustis when you joined it in spring of

17:25:29 22    2015.   How would you describe Akoustis now?

17:25:32 23    A.      I would describe it as a, you know, commercial

17:25:36 24    company now, and you know, we have addressed a lot of the

17:25:40 25    technical milestones, and the market milestones and the
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17:25:43   1   financial milestones continue to fund the company, and we

17:25:48   2   have launched seventeen products into production.       We've got

17:25:50   3   a very strong customer base.    We've made some

17:25:54   4   diversification, offset some of the challenges that we see

17:25:58   5   in the market by acquisition of RFMi, so we're in a very

17:26:03   6   good position from a commercial standpoint.

17:26:06   7   Q.     So you discussed Akoustis's acquisition of the STC

17:26:12   8   MEMS Fab, that's in Upstate New York?

17:26:14   9   A.     That's in Upstate New York, below Rochester.

17:26:18 10    Q.     And you discussed the acquisition of RFMi, when did

17:26:21 11    that take place?

17:26:22 12    A.     We took a majority ownership of 51 percent around

17:26:26 13    October of '20 or '21 and had some -- or had certain

17:26:31 14    milestones that they had to achieve and then we took 100

17:26:35 15    percent ownership of it around July of 2022.

17:26:38 16    Q.     Any other acquisitions that Akoustis has made?

17:26:41 17    A.     Yes, we made an acquisition in the beginning of 2023

17:26:45 18    of a company called Grinding and Dicing Services

17:26:49 19    Incorporated, or GDSi.

17:26:53 20    Q.     What does GDSi do?

17:26:56 21    A.     They offer premium back end services, mainly dicing,

17:27:00 22    I mentioned that in the process, grinding and dicing.

17:27:03 23    Q.     Why did Akoustis acquire GDSI?

17:27:06 24    A.     Really I think for, not I think, but I know for two

17:27:10 25    reasons, one is that GDSi actually a supplier to Akoustis
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17:27:15   1   and we used them a lot in what we call an NPI process, new

17:27:20   2   product introduction, we looked at this in a way that they

17:27:24   3   brought new revenue stream along, which was good, but we

17:27:27   4   have looked at this as being a very important capability

17:27:30   5   that would help us streamline and reduce our cycling for

17:27:35   6   NPI.

17:27:35   7                The other reason was a little more strategic.

17:27:38   8   If you know the Chip Act, the U.S. government is trying to

17:27:42   9   bring onshore into the U.S. semiconductor processes, and

17:27:47 10    this acquisition bolted on very well to the fab, which is

17:27:53 11    the front end process, that would allow us to position

17:27:55 12    ourselves for, you know, government funding to continue to

17:27:59 13    expand Akoustis.

17:28:00 14    Q.      Did this -- so is Akoustis's supply chain all in the

17:28:06 15    United States at this point?

17:28:06 16    A.      No, we -- the GDSi acquisition is mainly for NPI,

17:28:14 17    it's mainly the small volume, quick cycle time.      If you look

17:28:18 18    at our fab for the BAW technology is in the U.S.       We do have

17:28:23 19    the back end services side or back end where I explained

17:28:26 20    where you take the wafer, you grind it, you dice it, you

17:28:29 21    package it and then you test, those are what we call the

17:28:32 22    assembly houses, so those are third-party houses that we

17:28:37 23    contract with.   We have one in the US.    And several over in

17:28:42 24    Asia.

17:28:42 25    Q.      Has Akoustis provided any technology to GDSi?
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17:28:47   1   A.     No.   GDSi has their own technology.

17:28:50   2   Q.     Has Akoustis provided any Qorvo technology to GDSi.

17:28:56   3   A.     No.

17:28:56   4   Q.     I ask the same question regarding RFMi, has Akoustis

17:29:03   5   supplied any Qorvo technology to RFMi?

17:29:05   6   A.     No.

17:29:06   7   Q.     Given your role as executive vice-president of

17:29:09   8   Akoustis, do you have an understanding of how much revenue

17:29:14   9   RFMi and DDSI contribute to Akoustis's overall revenue?

17:29:20 10    A.     Yes, I do.

17:29:20 11    Q.     How is it that you know that?

17:29:23 12    A.     I managed the front end of the company.       So the

17:29:26 13    revenue is in my purview, so I watch it very closely.

17:29:31 14    Q.     What is Akoustis's fiscal year?

17:29:34 15    A.     Fiscal year is typically July, not typically, always

17:29:39 16    July, beginning of July to end of June, and so right now

17:29:43 17    we're actually in what we call fiscal year FY24, so that

17:29:49 18    started in July 1st of 2023, and then it will end this June

17:29:53 19    of 2024.

17:29:55 20    Q.     So you're in the four quarter of fiscal year 2024?

17:30:00 21    A.     Yeah, we're currently in the fourth quarter.

17:30:03 22    Q.     Is Akoustis a public company?

17:30:04 23    A.     Yes, we are.

17:30:05 24    Q.     What financial disclosures, if any, does Akoustis

17:30:08 25    need to make as a public company?
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                                       Aichele - direct

17:30:10   1   A.     We follow, we're listed on the NASDAQ, so obviously

17:30:14   2   we're required to disclose the proper documentation, driven

17:30:20   3   by what the SEC requirements are, and that includes things

17:30:23   4   like a 10Q, which is a quarterly, update, which include

17:30:28   5   financial's and information about the company and 10Ks which

17:30:32   6   are annual reports, there is also ongoing documents that may

17:30:37   7   be disclosed like 8Ks, as well.

17:30:40   8   Q.     What was the last fiscal quarter for which Akoustis

17:30:44   9   provided its publicly available financial report?

17:30:48 10    A.     The last quarter that we actually published was Q2 of

17:30:53 11    FY24, which ended last December.

17:30:56 12    Q.     December 31st, 2023?

17:30:59 13    A.     2023, correct.

17:31:01 14    Q.     On the basis of the public financial reports for

17:31:04 15    quarter 1 and quarter 2 of fiscal year 2024, do you have

17:31:10 16    revenue expectations for fiscal year for the total fiscal

17:31:15 17    year of 2024 by source?

17:31:18 18    A.     Yes, I do.   So I have to sort of do an extrapolation,

17:31:25 19    do a run rate, this is not public or published information,

17:31:29 20    but if I were to extrapolate out, I believe the FY24 numbers

17:31:34 21    will end a little bit above 28 million in total revenue, and

17:31:39 22    then if you look at the three main sources, Akoustis XBAW

17:31:45 23    revenue will be about 15 million, and then the GDSi revenue,

17:31:50 24    I believe will probably come in around 7.4, 7.5 million, and

17:31:55 25    then the RFMi revenue will come in around 6.4, 6.5 million.
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17:32:03   1   Q.     Okay.

17:32:03   2                  MR. ELKINS:    Your Honor, I'm going to go to a

17:32:05   3   different topic.

17:32:06   4                  THE COURT:    We're at a point where we would

17:32:08   5   normally stop today.     Thank you.    We're going to see you

17:32:12   6   tomorrow.   I'll check and see exactly how we're doing and

17:32:16   7   I'm going to project when we will wrap things up.          So we

17:32:23   8   will know then.    Well, we have had a lot to listen to today.

17:32:27   9   So have a good night.       Let's rest.    Don't discuss the case

17:32:32 10    amongst yourselves.     Don't let anybody talk to you about it.

17:32:35 11    Keep an open mind.     We have a long way to go.      The witness

17:32:39 12    will be back tomorrow.       I'm going to let all of you be

17:32:42 13    excused and I'm going to stay here for a moment.          Have a

17:32:47 14    good night.

17:32:48 15                   COURT CLERK:    All rise.

17:32:49 16                   (Jury exiting the courtroom at 5:32 p.m.)

17:33:06 17                   THE COURT:    Everyone can be seated.

17:33:09 18                   Of course the witness, we'll ask you just to be

17:33:12 19    here a little early.     We will start here at 8:30.       So we may

17:33:19 20    want to recheck that with me.      They know to come in right on

17:33:24 21    the start time.    I think everybody did on that.        You'll have

17:33:28 22    to be here at least five minutes in advance.         I know you'll

17:33:31 23    be here well in advance of that.

17:33:33 24                   The nice thing is you cannot talk about the

17:33:35 25    testimony you have given, with your counsel or with anybody
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17:33:39   1   else.   All I can say is if there is something coming up, you

17:33:44   2   can discuss about that.     So be careful in that regard and we

17:33:48   3   will see you tomorrow at least five minutes before 8:30,

17:33:51   4   maybe 8:25, and we're going to start at 8:25 to get back to

17:33:57   5   a little better schedule.     We'll let you step down at this

17:34:00   6   time.   Thank you very much.

17:34:01   7                Counsel, I think we're doing pretty well.          I

17:34:04   8   think you must be about within thirty minutes of striking,

17:34:08   9   is that about right?

17:34:09 10                 MR. ELKINS:    You have nailed it.      I hope to be

17:34:11 11    faster than that, Your Honor.

17:34:12 12                 THE COURT:    Okay.   That's good.     We have that

17:34:14 13    and then of course we'll have a re -- we'll have sort of

17:34:18 14    redirect and we'll really have cross when we start back.

17:34:22 15    And we're looking at that being in the range of what,

17:34:26 16    forty minutes or so?

17:34:27 17                 MR. DeFOSSE:    It depends on what's left of

17:34:30 18    Mr. Elkins, but I would say less than that at the time,

17:34:33 19    currently.

17:34:33 20                 THE COURT:    That's fine.      Now at the end of each

17:34:35 21    day, we go over exactly who is going to be here.          We already

17:34:40 22    have Colin Hunt.    I believe we have finished it.        I know we

17:34:46 23    have finished it, but I don't know that we've submitted.

17:34:49 24                 On Dry, I think we basically have pretty much

17:34:53 25    wrapped that up.    We had one question on at least one on
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17:34:58   1   one.   Kwon.    Kwon, you're right.     On Kwon we needed one more

17:35:04   2   piece of information to make a final determinations there,

17:35:07   3   and I did ask about it earlier.        I assume that that's been

17:35:10   4   submitted.     Somebody was listening when I asked for it.

17:35:13   5   Sounds like they weren't.

17:35:15   6                  MR. MASTERS:    I can pass the exhibit up.

17:35:20   7                  THE COURT:   You guys need to learn to give it to

17:35:23   8   me.

17:35:23   9                  MR. MASTERS:    It's my fault.

17:35:24 10                   THE COURT:   That's okay.       But I do need that.

17:35:27 11                   MR. MASTERS:    That's what Your Honor requested

17:35:29 12    regarding Kwon deposition.

17:35:31 13                   THE COURT:   So this is a little confusing if we

17:35:33 14    don't get at least -- because we've got a lot of things

17:35:37 15    going, the courtroom deputy has got a whole lot of things to

17:35:42 16    hold on to.     We have got separate tasks up here.

17:35:45 17                   MR. MASTERS:    May I approach?

17:35:46 18                   THE COURT:   Absolutely.    Come help us out.          We

17:35:51 19    didn't know it was here.       It's not anybody's fault.        And

17:36:03 20    again, if we ask for something it needs to come to my staff

17:36:06 21    and not the courtroom deputy, it's not fair to them, not

17:36:10 22    fair to us, so we would have finished it if we had it

17:36:14 23    earlier.    I will need a list of everybody else who is going

17:36:22 24    to appear.     So we have got a deposition to finish.         We need

17:36:28 25    to get the rest of the day completely nailed down.
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17:36:37   1                  MR. DeFOSSE:   So obviously we'll start with

17:36:41   2   Mr. Aichele.

17:36:42   3                  THE COURT:   Let's run through everybody because

17:36:45   4   if you changed the order I will need to know that.

17:36:48   5                  MR. MASTERS:   We'll follow Mr. Aichele with the

17:36:49   6   video deposition of Colin Hunt and then the video deposition

17:36:53   7   of Robert Dry.

17:36:54   8                  THE COURT:   Okay.   Just making sure.   Let's take

17:36:56   9   a look, okay.    And then we have it looks like the correct

17:37:04 10    document with the trim work center data, we will look

17:37:08 11    through this, we just couldn't do it without that, I don't

17:37:11 12    think it would take long to wrap it up now that we have got

17:37:15 13    that.   We have got Hunt, Dry, and let's go through the rest.

17:37:21 14                   MR. DeFOSSE:   And then Dr. Shealy will be called

17:37:24 15    next.   And then we have a video of Dr. Kwon, J.B. Kwon and

17:37:29 16    then if there is time remaining tomorrow, we will begin with

17:37:33 17    Dr. Shanfield.

17:37:35 18                   THE COURT:   Okay.   And I'm just going to ask you

17:37:38 19    who is going to be after Shanfield?

17:37:40 20                   MR. DeFOSSE:   After Shanfield in some order Your

17:37:42 21    Honor, but not entirely decided yet.

17:37:44 22                   THE COURT:   I understand that, that's why we go

17:37:46 23    over it again, don't we are.

17:37:48 24                   MR. DeFOSSE:   So we have Michael Boyd, who is

17:37:50 25    the chief security officer, chief information security
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17:37:54   1   officer of our client, Mr. Robinson who is our only measures

17:37:58   2   expert.

17:37:58   3                THE COURT:    Sure.

17:37:59   4                MR. DeFOSSE:     And then we have Helge Heinrich

17:38:03   5   who is one, who performed some analysis of the allegedly

17:38:07   6   infringing devices, and John Bravman, who is the expert for

17:38:12   7   the plaintiffs on infringement.     And finally Melissa Bennis,

17:38:18   8   who is the damages expert.

17:38:20   9                THE COURT:    Okay.   Well, that's helpful.      And

17:38:24 10    we'll repeat that every time because I know it might shift

17:38:27 11    just a little bit.   Well, I'm hoping it won't, but you never

17:38:30 12    know.   So we will do that.

17:38:33 13                 Now, when do you now project -- and a lot of

17:38:36 14    that is going to include witnesses, I believe, let me check

17:38:40 15    that, that will not have to be recalled.      So that's going to

17:38:53 16    include a lot of material.     That will leave about how many

17:38:56 17    for the defense case.

17:38:58 18                 MR. ELKINS:    I can tell you exactly, Your Honor.

17:38:59 19                 THE COURT:    Well, and that's okay.     I hope -- I

17:39:03 20    can't tell for sure, but that's your call, but we could be

17:39:09 21    down to -- it could be down to four or five, but I'm not

17:39:21 22    sure.   I can't tell.   I'm just being optimistic.      I'm

17:39:29 23    counting the ones you're almost certain to call.

17:39:32 24                 MR. ELKINS:    Yes.   By my count that's seven.

17:39:34 25    There are -- Mr. Nixon will just be candid, Mr. Nixon would
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17:39:42   1   come into testify for ten minutes depending on whether or

17:39:46   2   not we need him to talk about why two laptops were erased,

17:39:55   3   but I don't think we need to do that unless you're planning

17:39:58   4   to raise that issue again.

17:40:00   5                 THE COURT:   So we might -- our goal is to find

17:40:04   6   out exactly where we end up, it's not just we can and then

17:40:08   7   exactly when we're going to end.       I obviously need to, I'm

17:40:14   8   not sure we are going to make it but get close to finish --

17:40:19   9   when are we going to finish the plaintiff's case, which day?

17:40:23 10                  MR. MASTERS:    We expect Monday, Your Honor.

17:40:25 11                  THE COURT:   That's what it's looking like, too.

17:40:30 12    What time Monday?

17:40:33 13                  MR. DeFOSSE:    We hope it will be in the morning.

17:40:35 14                  THE COURT:   And that will be the goal.

17:40:37 15                  MR. DeFOSSE:    That's the goal.

17:40:37 16                  THE COURT:   That will be the goal and the reason

17:40:39 17    we had a discussion, the two of you talked about it, is the

17:40:43 18    defense has to know exactly when they're going to go.

17:40:47 19                  MR. DeFOSSE:    I understand.    It depends on how

17:40:49 20    long the defense goes with Mr. Aichele tomorrow and with

17:40:53 21    Dr. Shealy.

17:40:53 22                  THE COURT:   Absolutely.    So that would give us a

17:40:56 23    chance to get Monday and then the defense case, because

17:41:01 24    you've used -- you put in a fair amount of it already, is

17:41:07 25    that going to leave you somewhere, that's going to cut you
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17:41:11   1   down to two-and-a-half days.

17:41:15   2                 MR. ELKINS:    I imagine, I would say three days

17:41:17   3   to be conservative, if we can start on the afternoon of

17:41:21   4   Monday, I would -- that would be ideal because then we could

17:41:25   5   do, you know, closing and instructions, or at least closing

17:41:29   6   on Thursday, and instructions in the morning.

17:41:32   7                 THE COURT:    Right.

17:41:33   8                 MR. ELKINS:    And let them deliberate.

17:41:35   9                 THE COURT:    That's the goal for everybody.

17:41:37 10                  MR. ELKINS:    Yeah.

17:41:37 11                  THE COURT:    Well, we're going to work really

17:41:40 12    hard to get there.     Let's see what else we got to get.

17:41:43 13                  Oh, I think that we had talked about this

17:41:45 14    earlier internally is Todd Bender is no longer being called.

17:41:53 15                  MR. DeFOSSE:    Currently we don't expect to call

17:41:55 16    Mr. Bender.

17:41:56 17                  THE COURT:    That's what we ascertained but we

17:41:59 18    weren't sure.    Everybody is okay with that.

17:42:02 19                  MR. DeFOSSE:    Yes.

17:42:03 20                  THE COURT:    Okay.    That's useful.   So we have

17:42:06 21    got designations but we don't have to do them.

17:42:09 22                  MR. DeFOSSE:    That's correct, Your Honor.

17:42:11 23                  THE COURT:    I want to make sure we got that

17:42:13 24    covered.

17:42:13 25                  MR. DeFOSSE:    Sorry.
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17:42:14   1                 THE COURT:    That's fine, we all got lengthy to

17:42:16   2   do.

17:42:17   3                 MR. ELKINS:    And I also think Your Honor,

17:42:18   4   without Mr. Bender, we will not need to call Mr. Bowler, who

17:42:22   5   is on our amended witness list.

17:42:26   6                 THE COURT:    Right.   So I've got to make a note

17:42:28   7   there.    Okay.   So that's helpful, too.

17:42:37   8                 Now, hopefully we don't have any more things

17:42:41   9   come up like came up with yesterday.         So we will start -- we

17:42:47 10    should be able to start, then, at 8:30.        And we'll push all

17:42:54 11    the way through.    That's where we are.

17:42:57 12                  MR. ELKINS:    What?

17:43:02 13                  THE COURT:    I think we can take care of that.           I

17:43:05 14    think that's really where we were going and appreciate

17:43:08 15    everybody, we made a super effort, but the staff made a

17:43:11 16    great effort, I feel like they have gone way above and

17:43:16 17    beyond.   So this was a lot of work, wasn't it?

17:43:23 18                  COURT CLERK:   For sure.

17:43:24 19                  THE COURT:    It was a lot of work.     And you're

17:43:26 20    right.    Okay.   We'll be here early, we are area always here

17:43:33 21    early.    I plan oncoming out -- by the way, if there are

17:43:38 22    demonstratives as to which there is a problem and you find

17:43:40 23    that out tonight, go ahead and send us something.          I don't

17:43:44 24    think there likely to be, but I don't know.         But if there

17:43:49 25    are, I rather know it's coming so we have a chance to take a
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17:43:54    1   look at it.

17:43:55    2                 And I think that you have gotten some guidance

17:43:57    3   on what will not be permitted in the demonstratives anyway.

17:44:02    4   All right, Mr. DeFosse, so we're probably just not going to

17:44:06    5   go in that direction and that would be helpful to everybody.

17:44:09    6   Your clients will understand that you made every effort but

17:44:13    7   it didn't work out.

17:44:15    8                 All right.   I think we covered everything.

17:44:17    9                 Thank you all very much and I will see you

17:44:20 10     promptly at 8:15 and then we'll have the jury in at 830.

17:44:25 11     Thanks very much.

17:44:26 12                   I'm going to have to come back in here and clean

17:44:29 13     up, you folks shall leave at least, I'm going to check on

17:44:32 14     some other things first.

17:44:34 15                   (Court adjourned at 5:44 p.m.)

           16

           17                I hereby certify the foregoing is a true and
                accurate transcript from my stenographic notes in the proceeding.
           18

           19                                         /s/ Dale C. Hawkins
                                                    Official Court Reporter
           20                                           U.S. District Court

           21

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           23

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                         EXHIBIT J
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1                    IN THE UNITED STATES DISTRICT COURT

2                        FOR THE DISTRICT OF DELAWARE

3    QORVO, INC.,                       )
                                        )
4               Plaintiff,              )
                                        )   C.A. No. 21-1417-JPM
5      v.                               )   Volume 4
                                        )
6    AKOUSTIS TECHNOLOGIES, INC.        )
     AND AKOUSTIS, INC.,                )
7                                       )
                Defendants.             )
8                                       )

9

10

11                           Thursday, May 9, 2024
                                   8:14 a.m.
12                                Jury Trial

13

14                              844 King Street
                              Wilmington, Delaware
15

16     BEFORE: THE HONORABLE JON PHIPPS MCCALLA
       United States District Court Judge
17

18

19     APPEARANCES:

20
                     MORRIS NICHOLS ARSHT & TUNNELL
21                   BY: JEREMY A. TIGAN, ESQ.

22                   -and-

23

24

25
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        1
               APPEARANCES CONTINUED:
        2

        3                    SHEPPARD, MULLIN, RICHTER & HAMPTON
                             BY: ROBERT M. MASTERS, ESQ.
        4                    BY: JONATHAN R. DEFOSSE, ESQ.
                             BY: ZACHARY ALPER, ESQ.
        5

        6                                 Counsel for the Plaintiff

        7

        8

        9

        10                   BAYARD, P.A.
                             BY: STEPHEN B. BRAUERMAN, ESQ.
        11
                             -and-
        12
                             SQUIRE PATTON BOGGS
        13                   BY: DAVID S. ELKINS, ESQ.
                             BY: RONALD S. LEMIEUX, ESQ.
        14                   BY: VICTORIA Q. SMITH, ESQ.
                                       Counsel for the Defendants
        15

        16                             _ _ _ _ _ _ _ _ _ _

        17

        18                            P R O C E E D I N G S

        19

08:11   20           (Proceedings commenced in the courtroom beginning at

08:11   21     8:14 a.m.)

08:12   22

08:14   23                  THE COURT:     You may be seated.

08:14   24                  As to the question was, was this referenced in

08:14   25     the report.       First question.   So the answer?
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08:14   1                   MR. DeFOSSE:    Yes, Your Honor.

08:14   2                   THE COURT:    Well, if that's the case, then, any

08:14   3      further information on this if it's referenced in court,

08:14   4      the expert can rely on information that will be received

08:14   5      in the future.     Not maybe the best way to do it, but it's

08:14   6      okay and, of course, it can also rely on things that end

08:14   7      up being hearsay.     Other things like that depending on

08:14   8      certain factors.     This case appears that all this material

08:14   9      will be ultimately received; is that correct?

08:14   10                  MR. DeFOSSE:    Well, Your Honor, I just want to

08:14   11     make clear there will not be a sponsoring fact witness for

08:14   12     the materials.     So the witnesses, obviously, we have a

08:14   13     limited amount of time here, and they are witnesses who

08:14   14     are outside the control of the Court.        So we won't have

08:15   15     the individual fact witnesses, but this was material that

08:15   16     was in the record produced by the other side, and I

08:15   17     believe is admissible.      And as we said, I think that the

08:15   18     expert has the foundation to talk about it since it was

08:15   19     part of his analysis as an expert.

08:15   20                  THE COURT:    It was disclosed during the

08:15   21     discovery, and he was able to rely on it.

08:15   22                  MR. DeFOSSE:    Yes.

08:15   23                  THE COURT:    There's no issue about its

08:15   24     authenticity?

08:15   25                  MR. DeFOSSE:    I do not believe there is, Your
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08:15   1      Honor.

08:15   2                   THE COURT:    What about the other side?

08:15   3                   MR. STANFORD:    Your Honor, hi.     My name is

08:15   4      Matthew Stanford.     I don't think you've heard from me yet.

08:15   5      I think I saw you on the Zoom conferences.

08:15   6                   THE COURT:    Okay.    Absolutely.

08:15   7                   MR. STANFORD:    So our issue here is that -- so

08:15   8      this evidence is not otherwise admissible, and we are

08:15   9      going to be showing it to the jury on the demonstrative

08:15   10     slides.   That's just going to cause them to be confused.

08:15   11     They have been seeing admissible evidence --

08:15   12                  THE COURT:    There's no question about

08:15   13     authenticity?

08:15   14                  MR. STANFORD:    No.

08:15   15                  THE COURT:    The issue only is whether or not it

08:15   16     will be received through another witness.

08:15   17                  MR. STANFORD:    Right.   Which I believe it will

08:16   18     not be received through another witness.

08:16   19                  THE COURT:    I'm not sure it has to be received

08:16   20     through another witness.      What's the authority on that?

08:16   21                  MR. STANFORD:    Well, it's our understanding

08:16   22     that from 703, you can ask an expert to rely on

08:16   23     inadmissible evidence, but it's the fact that they are

08:16   24     showing it to the jury.

08:16   25                  If Dr. Shanfield wants to stand up there and
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08:16   1      discuss these e-mails, that's perfectly fine.          We have no

08:16   2      objection to that.     It's the fact that we are showing it

08:16   3      to them on the demonstrative.        And --

08:16   4                   THE COURT:    We are going to give the

08:16   5      instruction on demonstratives, as you know.

08:16   6                   MR. STANFORD:    Yes.

08:16   7                   THE COURT:    Which is if there was something in

08:16   8      the demonstrative that is not received into evidence, you

08:16   9      should ultimately disregard that.

08:16   10                  MR. STANFORD:    But my concern is just that if

08:16   11     we show it to them and they've only been seeing admissible

08:16   12     evidence so far up on the screen, they will be confused

08:16   13     about, well, now when I'm seeing evidence, I'm not exactly

08:16   14     sure when it's admissible and when it's not, what I can

08:16   15     consider as far as turning in my verdict and when I

08:16   16     cannot.

08:16   17                  THE COURT:    I think it's probably a part of the

08:16   18     report, so let's talk about that.

08:16   19                  MR. DeFOSSE:    Yes.    Your Honor, I think the

08:16   20     issue with this is, I would dispute that it's

08:16   21     inadmissible.     It's authentic.     It's not hearsay.     You

08:17   22     have a foundation question, but it's in his report as part

08:17   23     of his analysis, so he has foundation.        I believe it is

08:17   24     admissible, so there's not this distinction between

08:17   25     inadmissible and admissible.
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08:17   1                   As backup, even if it were inadmissible, I

08:17   2      think we could show it they just wouldn't get it into

08:17   3      evidence, you know, in the jury room.

08:17   4                   THE COURT:    I'm sorry.    I am not getting the

08:17   5      real time.

08:17   6                   I'm okay.    Go ahead.

08:17   7                   MR. DeFOSSE:    Okay.    So just to close, Your

08:17   8      Honor.    I think the document is admissible.        There's not

08:17   9      an authentication problem; there's not a hearsay issue.

08:17   10     The expert has foundation because he considered it in his

08:18   11     report.

08:18   12                  THE COURT:    You're correct in that regard.

08:18   13     Having had a chance to review the material, it's clear

08:18   14     that it is material what an expert could look and rely

08:18   15     upon.    I don't think it's confusing to the panel.         We will

08:18   16     give an instruction at the end, of course, that if

08:18   17     something is shown as demonstrative, they are not evidence

08:18   18     if it was not received in an appropriate way.          I think

08:18   19     that covers that.

08:18   20                  Frankly, we've seen a lot of these e-mails, in

08:18   21     this context.     It's completely consistent with everything

08:18   22     else that we received in the past, and, of course there's

08:18   23     no question of its authenticity.        I think that covers it.

08:18   24     I think an expert, of course, has some leeway.

08:18   25                  MR. DeFOSSE:    Could I just -- I just want to be
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08:18   1      clear with the Court.      We do plan, when Dr. Shanfield

08:18   2      talks about that exhibit to ask for its admission into

08:18   3      evidence as well because we believe that it's authentic,

08:18   4      it's not hearsay, and there's foundation.

08:19   5                   THE COURT:    That's what I would say.

08:19   6                   MR. DeFOSSE:    Okay.   Thank you.

08:19   7                   MR. STANFORD:    I'm sorry, Your Honor.       Do you

08:19   8      mind if I --

08:19   9                   THE COURT:    We'd love to hear from you, but not

08:19   10     for very long.

08:19   11                  MR. STANFORD:    I'll make it very brief.       I

08:19   12     promise.

08:19   13                  Well, these e-mails, I believe, would be

08:19   14     considered hearsay.     They are not business records.         They

08:19   15     don't fall into the business record exception.          They are

08:19   16     from employees that have not entered these into evidence

08:19   17     through testimony, and so I think they would not --

08:19   18                  THE COURT:    Let's go quickly.      Let's go a

08:19   19     little bit quickly.     The first one is from Mr. Houlden,

08:19   20     right?

08:19   21                  MR. STANFORD:    Correct.

08:19   22                  THE COURT:    Clearly, an official with Akoustis?

08:19   23                  MR. STANFORD:    Yes.

08:19   24                  THE COURT:    He is copying other individuals who

08:19   25     are with Akoustis.     He is sending information to
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08:19   1      Mr. Dunham and Dry who is for Qorvo.        This is entirely

08:19   2      consistent with everything else that we've received in so

08:19   3      many respects in this case.        It seems both authentic and

08:19   4      useful in this matter.      So no question about who it came

08:19   5      from, right?

08:20   6                   MR. STANFORD:    Understood.

08:20   7                   THE COURT:    No question about that.      And, of

08:20   8      course, it looks it's something that it could be received

08:20   9      under the 800 series of rulings, it looks like to the

08:20   10     Court.

08:20   11                  Now, the next one, let's see, is from

08:20   12     Mr. Abdelajid.      And I'm going to spell it for the court

08:20   13     reporter.    It's    Abdelmadjid   A-B-D-E-L-M-A-J-I-D.      He's a

08:20   14     former Qorvo employee.      He was -- there was no previous

08:20   15     testimony.    He was a source for Houlden -- that's

08:20   16     H-O-U-L-D-E-N -- in this matter.       The only thing that's

08:20   17     different about this one, it's a little -- a little

08:20   18     different, I'm a little concerned about this -- was

08:20   19     Jerry Gray, he was the manager at Akoustis who hadn't

08:20   20     really appeared and is not going to, as I understand it.

08:20   21                  MR. STANFORD:    That's correct.

08:20   22                  THE COURT:    But he is from -- this particular

08:20   23     individual, who was Houlden's source, has been established

08:20   24     by the evidence already.      So it has the indicia of

08:20   25     reliability and, generally, can be received in this type
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08:21   1      of case.   It might well be cases where it wouldn't be

08:21   2      appropriate.       Of course, we understand the nature of the

08:21   3      allegations in the case.

08:21   4                   Then, of course, we have the e-mail from

08:21   5      Mr. Vetury.       And I'll spell that for the court reporter.

08:21   6      It's V-E-T-U-R-Y.       He is a chief device scientist at the

08:21   7      defendant, and it is sent to Arbin Ibro, I-B-R-O.            And

08:21   8      it's subject is "2" -- excuse me, is "S2P for Qorvo to

08:21   9      compare," and it says, "Please send me the S2P of Qorvo

08:21   10     part."   So it's consistent with everything else that we've

08:21   11     seen in the case.       And, of course, it's from the

08:21   12     defendant.

08:22   13                  The defendants' the person who can make a

08:22   14     statement in that regard.       So it looks to me like that,

08:22   15     these would typically be admissible under the 800 series

08:22   16     of rules, I believe.

08:22   17                  Now, you want to get this one right.         If that's

08:22   18     wrong, you need to tell us.

08:22   19                  MR. DeFOSSE:     Yes, Your Honor.     So they're

08:22   20     party admissions, I think, under nine --

08:22   21                  THE COURT:     Party admissions?

08:22   22                  MR. DeFOSSE:     Yes.   And to the extent there are

08:22   23     e-mails from third parties in there, I believe they're

08:22   24     adoptive admissions as well.         So I don't think we're going

08:22   25     to have a hearsay problem with these.
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08:22   1                   THE COURT:    It appears to be, correct.       And,

08:22   2      again, it's entirely consistent with everything I've seen.

08:22   3      There's been a lot of information received already in the

08:22   4      case to indicate that this is something for an expert to

08:22   5      consider in forming his opinion.       And, again, we know that

08:22   6      experts can also rely on information that might actually

08:22   7      not be received in this case; however, this does appear to

08:22   8      be receivable information.

08:22   9                   We did look at this.     Initially, of course, our

08:22   10     concern was pretty much what the defense had.          And I think

08:23   11     that's now been answered.      So we're going to go ahead on

08:23   12     that.   Let's watch our time.      I know we've got to do that.

08:23   13                  Okay.   We've got seven minutes to start.        I do

08:23   14     want to go over, I've got it here.        Let me check that.

08:23   15     This time is split, basically, half and half.          I think

08:23   16     that's pretty well the way we were dealing with that.

08:23   17     Most everybody had a chance to participate.          So this time

08:23   18     will be split between the plaintiff and defendant.

08:23   19                  We have -- I am mindful of the fact that the

08:23   20     plaintiff is on, it seems to me, a schedule that is so

08:23   21     tight that you run some risk.       And I've tried bringing it

08:23   22     up at this point anytime proceeding, that you could run

08:24   23     out of time.      And I have -- has the plaintiff thought

08:24   24     through that?      Because you have a ways to go.

08:24   25                  And, Mr. Masters, I'm not -- I don't have to
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08:24   1      worry about you running out of time.        I have to worry

08:24   2      about somebody asking me for more time when we have had a

08:24   3      cautionary discussion about that.        And I'm not saying -- I

08:24   4      don't exactly know where you are, I know you planned it

08:24   5      out minute by minute, but I think we had one or two things

08:24   6      that went longer than you anticipated.

08:24   7                   Did I get that right?

08:24   8                   MR. MASTERS:    Absolutely.    A couple things did

08:24   9      go longer than anticipated; however, schedule-wise, part

08:24   10     of the unknown for this week is how long defense has with

08:24   11     Mr. Aichele today, and then Dr. Shealy, who's called later

08:24   12     today.

08:24   13                  But if they were fairly short, we were going to

08:24   14     get Bennis in on maybe late Friday, if not, first thing

08:25   15     Monday morning.     And then --

08:25   16                  THE COURT:    That's what we really have to short

08:25   17     for, because otherwise you're --

08:25   18                  MR. MASTERS:    Our preference --

08:25   19                  THE COURT:    -- in a bit of ditch because then

08:25   20     you have a cross-examination, closing statements and so

08:25   21     forth.   And -- is that how you're thinking?

08:25   22                  MR. MASTERS:    That's how we're thinking.       And

08:25   23     we had some information yesterday that I think Mr. Boller

08:25   24     and Mr. Nixon will not be appearing on the defense --

08:25   25                  THE COURT:    Right.
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08:25   1                   MR. MASTERS:    -- which also helps us.        Plus, we

08:25   2      overcounted the cross for Aichele -- Mr. Aichele and so I

08:25   3      think it's tight, but we understand Your Honor's

08:25   4      limitations.      I was thinking --

08:25   5                   THE COURT:    It's just something we try to do

08:25   6      routinely so that we don't end up in a situation with a

08:25   7      tiny amount of time left -- not tiny, actually -- for

08:25   8      their closing arguments.      They had enough left, but not

08:25   9      quite.    And I'm not in a position to extend time because

08:26   10     that's not fair to counsel since everybody is planning on

08:26   11     that.    So everybody's good on that.

08:26   12                  MR. ELKINS:    Okay.   Thank you.

08:26   13                  THE COURT:    Everybody understands what we're

08:26   14     doing, so I think we're perfectly fine.           You've got your

08:26   15     sheets in front of you which give you final update.            Good.

08:26   16     I think we're all good.

08:26   17                  I think you'll notice that Vivian is with us

08:26   18     today.    And this is Alex's birthday today.        He's very

08:27   19     young.    You might want to know because he's been with us

08:27   20     and he will be back on Monday.        Vivian has it fully under

08:27   21     control, right Vivian?

08:27   22                  THE CLERK:    Yeah.    I do, Judge.

08:27   23                  THE COURT:    We are checking one thing up here.

08:27   24     This is not on the time.

08:27   25                  Special verdict form.     Since we have a few
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08:27   1      minutes, we need to discuss that.        I think they have not

08:27   2      seen it.

08:27   3                   Basically, we did adopt the defendants'

08:27   4      question on Page 2.     That's good argument for that, and we

08:28   5      think that's the meritorious argument on that.

08:28   6                   I'm going to read that so there's not a

08:28   7      question about what I'm talking about.        That's -- when you

08:28   8      get the columns, the three columns, under the alleged

08:28   9      trade secret you have a set of numbers.           We are going to

08:28   10     leave the numbers where they were.        That's what they've

08:28   11     seen.

08:28   12                  We are not making the statements -- you know we

08:28   13     have the disclaimer and the Court's statement at the

08:28   14     beginning that we're not making a statement about that.

08:28   15     We're not making a determination that -- says, "The Court

08:28   16     is not making any factual determinations as to the alleged

08:28   17     trade secrets, their organization, or whether they are

08:28   18     properly grouped together, or whether or not each is a

08:28   19     trade secret.     The verdict form's organization is only for

08:28   20     your convenience.     All questions of fact are for you, the

08:28   21     jury, to decide."

08:28   22                  So I think that takes care of it.         Everybody's

08:28   23     going to understand.      We just had to write it down in some

08:28   24     way, and that's the way we have written it down.

08:29   25                  Now, on Page 2, which is under "trade secret
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08:29   1      misappropriation" under the Trade Secrets Act, the

08:29   2      North Carolina Trade Secrets Act, under that column, what

08:29   3      that now says, and I think we concluded on this, is "has

08:29   4      Qorvo established, by the greater weight or a

08:29   5      preponderance of the evidence that, A, the alleged trade

08:29   6      secret qualifies as a trade secret, and B, Akoustis is

08:29   7      liable for misappropriation for this trade secret?"

08:29   8                   Then, of course, you've got 1.1, 1.2, so forth.

08:29   9      I really -- I think this is the right resolution on that.

08:29   10     And that's the language that was proposed by the defense.

08:29   11     The groupings -- we're going to say Group 1, Group 2, just

08:29   12     because you have to have a way to get through the

08:29   13     material.

08:29   14                  And, again, we're saying we're not agreeing or

08:30   15     disagreeing with that.      Jury can do it any way they want

08:30   16     to.   But they have to have a mechanism to get through the

08:30   17     material.

08:30   18                  So I think that's -- I think -- Mr. Elkins, I

08:30   19     think you prevailed on that argument; is that right?

08:30   20                  MR. ELKINS:    Well, Your Honor, I think we have

08:30   21     prevailed since we wanted the extra column, but we thank

08:30   22     Your Honor for understanding our point regarding the --

08:30   23     that one column.     We appreciate what you've done.

08:30   24                  THE COURT:    I think really -- I think it does

08:30   25     help.   I think it was a good clarification.         I'm going to
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08:30   1      check with Mr. DeFosse -- well, you concede on that point

08:30   2      or you just wish it was different?

08:30   3                   He's thinking about it.

08:30   4                   MR. DeFOSSE:    I'm checking my audience here.

08:30   5                   THE COURT:    Mr. Masters is saying --

08:30   6                   MR. DeFOSSE:    We're okay, Your Honor.       Thank

08:30   7      you.

08:30   8                   THE COURT:    Okay.   So I think now -- I'm trying

08:30   9      to check.    I think now -- and then, also, we'll run some

08:30   10     of the materials together because they were separated in

08:30   11     some of the copies, and you should be able to see them

08:31   12     all.

08:31   13                  I think that covers the verdict form.         I think

08:31   14     it's finalized.     Mr. Masters, you're standing, so I want

08:31   15     to see what you say.

08:31   16                  MR. MASTERS:    It's not on the verdict form.         I

08:31   17     wanted to just update on the exhibits that were used in

08:31   18     Mr. Houlden's deposition yesterday with the sheet.

08:31   19                  THE COURT:    Yes, sir.   That's fine.

08:31   20                  MR. MASTERS:    Just a little housekeeping

08:31   21     matter.

08:31   22                  THE COURT:    We're going to probably docket this

08:31   23     as the anticipated verdict form in the case, having been

08:31   24     the subject of a discussion with counsel.         This was our

08:31   25     conference on that point.
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08:31   1                   Yes, sir.

08:31   2                   MR. MASTERS:    There are also seven more

08:31   3      exhibits that have to be moved into evidence from the

08:31   4      Houlden deposition, which we believe would be starting at

08:31   5      155.

08:31   6                   THE COURT:    Okay.   Yes, sir.      We are keeping

08:32   7      the jury out there.      We told them to stay on schedule.         So

08:32   8      we're now a minute and a half past where we should be.

08:32   9                   MR. MASTERS:    May I pass these up?

08:32   10                  THE COURT:    Sure.

08:33   11                  Are we all set?     We are ready to bring our

08:33   12     panel in, and we will resume this matter.

08:33   13                  We have our witness ready?

08:33   14                  MR. ELKINS:    Yes, we do, Your Honor.

08:33   15                  THE COURT:    You can come up.       It's easier if

08:34   16     you are already up here.

08:34   17            (The jury enters the courtroom at 8:34 a.m.)

08:34   18                  THE COURT:    You can be seated.

08:34   19                  Sorry we started so late, but we started

08:34   20     earlier.    We actually finalized some things that are for

08:34   21     the end of the case.      That's quite good, actually.

08:34   22                  Our witness may be seated and counsel may

08:34   23     proceed.

08:34   24                  MR. ELKINS:    Thank you, Your Honor.

08:34   25                  Ms. Archer, David Elkins for defendants.          Good
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08:35   1      morning.

08:35   2                   DAVID AICHELE, after having been previously

08:35   3      duly sworn or affirmed, was questioned and testified as

08:35   4      follows:

08:35   5                               CROSS EXAMINATION

08:35   6      BY MR. ELKINS:

08:35   7      Q.    Good morning, Mr. Shealy -- excuse me, Mr. Aichele.

08:35   8      A.    Good morning, Mr. Elkins.

08:35   9      Q.    I don't know why I said that.        I apologize.

08:35   10                  THE COURT:     He was trying to promote you.

08:35   11                  THE WITNESS:     Yes.   I was going to make a

08:35   12     different answer.

08:35   13     BY MR. ELKINS:

08:35   14     Q.    So we're going to resume your direct examination, and

08:35   15     we had just finished discussing yesterday about the three

08:35   16     sources of revenue for Akoustis.

08:35   17           Now I'd like to shift gears.        And, actually, I'd like

08:35   18     to revisit an exhibit on which you were examined by

08:35   19     Mr. DeFosse yesterday.       And that exhibit is -- was marked

08:35   20     as PTX-779.       It was admitted into evidence as Trial

08:35   21     Exhibit 124.

08:35   22                  MR. ELKINS:     And, Mr. Brown, if you could just

08:35   23     go to the second page so that we can see the attachment.

08:36   24     BY MR. ELKINS:

08:36   25     Q.    Do you generally -- generally -- I can't speak this
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                                        Aichele    - Cross

08:36   1      morning either -- recall this exhibit?

08:36   2      A.    Yes, I do.

08:36   3      Q.    Okay.   If we go back -- I want to ask you first, in

08:36   4      terms of when you created it.       This presentation is dated

08:36   5      September 2016, as you can see on this page.

08:36   6                    MR. ELKINS:   If we go back to Page 1,

08:36   7      Mr. Brown.

08:36   8      BY MR. ELKINS:

08:36   9      Q.    You'll see that it appears that this e-mail that you

08:36   10     sent attaching it was sent on October 13th, 2016.

08:36   11           When did you actually create that presentation that

08:36   12     is the attachment?

08:36   13     A.    Well, the date that I have in there is

08:36   14     September 2016, but I was working on it prior to that.

08:36   15           A little background on that is, you know, when I

08:36   16     started the company in May 2015, it was mainly focusing on

08:36   17     the 4G LTE market, which was a large market.

08:37   18           And I spent probably about a year traveling to Asia,

08:37   19     visiting with customers, and really recognized that it was

08:37   20     going to be a very difficult market segment for us to

08:37   21     penetrate based on -- you know, we were still in the R&D

08:37   22     phase, and obviously had some large competitors we were

08:37   23     competing against.

08:37   24           So it was probably about that time frame in 2016,

08:37   25     early, that I started looking at the Wi-Fi market.           I
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08:37   1      started meeting with customers and chipset vendors that

08:37   2      make the chipset that work for Wi-Fi, customers like

08:37   3      Cisco.    Chipset vendors like Quantenna, Marvell, Qualcomm,

08:37   4      and then started, you know, deriving the market strategy

08:37   5      and really pulling it together around the middle of 2016

08:37   6      and then sharing with the organization toward the latter

08:37   7      part of 2016.

08:37   8                   MR. ELKINS:    Mr. Brown, if we can go to Page 2

08:37   9      of the presentation, which is Page 3 of the exhibit,

08:37   10     please.

08:37   11     BY MR. ELKINS:

08:37   12     Q.    So this slide is obviously entitled "Market

08:38   13     Priorities."

08:38   14           "IMHO," I assume, means "in my humble opinion"?

08:38   15     A.    Yes.

08:38   16     Q.    And so here you've listed four things.         Can you --

08:38   17     are these in order of priority?

08:38   18     A.    Yes, they are.    That's, you know, part of what I just

08:38   19     explained is that, you know, mobile was our initial

08:38   20     strategy, but, really, because of the competitive nature,

08:38   21     I thought that the 5 gigahertz, you know, was a better

08:38   22     market for us to start targeting.        And we started pushing

08:38   23     the technology up in higher frequency.        And mobile became

08:38   24     Number 2.

08:38   25           But it was still important, and it was a lot of the
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08:38   1      emphasis where the company, you know, was going to drive

08:38   2      towards longer term.

08:38   3            Then I started looking at the other market segments

08:38   4      listed below, wireless infrastructure and also military.

08:38   5      And, actually, military was one of our first customers,

08:38   6      you saw the letter yesterday, from            , which was, I

08:38   7      think dated November 2016.        We started engaging with them

08:38   8      early in 2016 to drive up higher frequency as well.

08:39   9                   MR. ELKINS:     I'd like to go to the next page,

08:39   10     Mr. Brown, and can we focus on the boxed portion

08:39   11     underneath?       There we go.

08:39   12     BY MR. ELKINS:

08:39   13     Q.    Here, it appears that you were telling yourself, or

08:39   14     perhaps telling your audience, that the total market

08:39   15     expected to grow from $14.8 billion in 2015 to $33 billion

08:39   16     in 2020.   To what does this refer?

08:39   17     A.    This is -- you know, looking at the Wi-Fi by

08:39   18     application.      It's kind of hard to read everything, but,

08:39   19     you know, Wi-Fi is used in many, many different

08:39   20     applications.

08:39   21           So I'm looking at the total market potential and

08:39   22     highlighting that here is very attractive as well, you

08:39   23     know, compared to the mobile side.         Some of this may

08:39   24     include the mobile use of Wi-Fi, as well as fixed wireless

08:39   25     access, which is the routers you see in your home, plus
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08:39   1      PCs and other devices as well.

08:39   2      Q.    I have two follow-up questions.        One, you used the

08:40   3      jargon TAM.

08:40   4      A.    Total available market.

08:40   5      Q.    Okay.    And, second, the total market was expected to

08:40   6      more than double from 2015 to 2020.

08:40   7            Was that an epiphany just in September 2015?

08:40   8      A.    I mean, it was based on market research and market

08:40   9      data and, obviously, looking at where the growth potential

08:40   10     would be longer term.

08:40   11                   MR. ELKINS:    Can we go to the next slide,

08:40   12     please.

08:40   13     BY MR. ELKINS:

08:40   14     Q.    Can you -- can you walk us through what you were

08:40   15     intending to convey here through your opportunity slide?

08:40   16     A.    Yes.    The standards we talked about yesterday -- 4G,

08:40   17     5G bands -- the unlicensed standards are what you see up

08:40   18     there as IEEE 802.11, and then you see, you know, a suffix

08:40   19     at the end.       These are different standards.

08:41   20           The new standard that we are starting to disclose is

08:41   21     standard 802.11AC, which was basically moving into

08:41   22     5 gigahertz, and it was expanding the ability of the Wi-Fi

08:41   23     systems to increase their data rates.         So I started

08:41   24     looking at that, looking at, really, the premises

08:41   25     equipment, which is the fixed hardware.            And then, you
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08:41   1      know, I was talking to the chipset vendors and customers,

08:41   2      understanding our competitive landscape there.          As you can

08:41   3      see, at the time, it was these dielectric resonator

08:41   4      suppliers and really we were the first company that was

08:41   5      coming into the market with the BAW technology.

08:41   6            Basically, I highlighted Qorvo because there was

08:41   7      communications from the customers I was talking to.           Qorvo

08:41   8      was looking at this market segment as well, but they had

08:41   9      limited offering.     Their focus was mainly lower frequency.

08:42   10                  MR. ELKINS:    Can we go to Page 8 of the

08:42   11     document, which is Slide 7, which, I think -- there we go.

08:42   12     That's it.

08:42   13     BY MR. ELKINS:

08:42   14     Q.    This -- this slide refers to another acronym

08:42   15     UNII2E+3, high-band competitors.       What does that refer to?

08:42   16     A.    So I don't know exactly what that acronym stands for,

08:42   17     but we call it UNII, and so UNII is -- are definitions of

08:42   18     the unlicensed spectrum of these higher frequencies.

08:42   19           So when you see UNII2E+3, what that typically means

08:42   20     is the higher end of the 5 gigahertz.        So it's from 5.49

08:42   21     to 5.835 gigahertz.     There's also an acronym UNII 1+2A,

08:43   22     which is the lower band of the 5 gigahertz band.           And

08:43   23     mainly what I'm highlighting here is the competitive

08:43   24     landscape that we were exposed to.        And you see the

08:43   25     different competitors that we highlight, and this was
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08:43   1      shared yesterday as well.

08:43   2      Q.    Now, at the time, was Qorvo actually a competitor in

08:43   3      the 5 gigahertz frequency range for BAW filters?

08:43   4      A.    Not that I saw from an active selling and promoting

08:43   5      of solutions and sampling of customers.           It was all

08:43   6      competing against the DR competitors.

08:43   7      Q.    Okay.    But -- and Mr. DeFosse examined you, and I

        8      think that you had seen a document that referred to

        9      QPQ19XX, and I think you testified yesterday that you

        10     understood that was a proposed product; is that right?

08:43   11     A.    Correct.

08:43   12     Q.    And the dielectric resonator vendors that you have

08:44   13     listed here, Cirocomm, Patron, Shang Shin and Sorshin,

08:44   14     were they already existing in the 5 gigahertz frequency

08:44   15     range?

08:44   16     A.    Correct.    They were already in couple bands.         I call

08:44   17     them current suppliers to the customers we were engaged

08:44   18     with.

08:44   19                   MR. ELKINS:   Let's go to the next slide,

08:44   20     please.

08:44   21                   If we could just frame around so everybody can

08:44   22     see it more easily.     Thank you.

08:44   23     BY MR. ELKINS:

08:44   24     Q.    Akoustis target UNII specs -- again, UNII is the

08:44   25     unlicensed frequency range?
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08:44   1      A.    Correct.

08:44   2      Q.    What are you showing in this slide?

08:44   3      A.    Mainly, you know, our comparison against the DR

08:44   4      competitors.      So, in our strategy, I need to present -- we

08:44   5      have an opportunity to really penetrate and replace,

08:44   6      potentially, these DR providers.       It was a significant

08:45   7      market opportunity.

08:45   8            So I really, you know, analyzed who the incumbents

08:45   9      were and that's the DR compares -- the slide is really

08:45   10     that comparison showing the low 5.2 gigahertz compared to

08:45   11     DR and where the advantages are.

08:45   12           And then also on the 5.6 gigahertz or 7 gigahertz,

08:45   13     what are the advantages and disadvantages because our main

08:45   14     advantages was size, but you also have to look at the

08:45   15     electrical performance as well.

08:45   16     Q.    Were you focusing on moving Akoustis into the

08:45   17     5 gigahertz frequency range for all filters before you saw

08:45   18     that Qorvo document with a proposed is QPQ19XX product

08:45   19     discussed?

08:45   20     A.    You mean the e-mail from Rohan?

08:45   21     Q.    Yes?

08:45   22     A.    Absolutely.     As I mentioned, I started traveling in

08:46   23     early 2016, middle of 2016, visiting with customers,

08:46   24     visiting with chipset vendors to really understand the

08:46   25     landscape better and propose a strategy that I could stand
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08:46   1      behind because we have limited resources, we have to

08:46   2      conserve cash, got to make bets in the right area.

08:46   3      Q.    Okay.   Thank you.

08:46   4      A.    You're welcome.

08:46   5                    MR. ELKINS:    We can put that exhibit to the

08:46   6      side.

08:46   7      BY MR. ELKINS:

08:46   8      Q.    I'd like to switch gears again.        I'd like to discuss

08:46   9      with you some facts relating to Qorvo's claim of false

08:46   10     advertising regarding Akoustis' single crystal BAW filter

08:46   11     technology.

08:46   12           And what I would like to do is go back to what was

08:46   13     marked as PTX-694, which was entered into evidence as

08:46   14     Trial Exhibit 153.       And what I'd like to focus on is the,

08:47   15     all caps phrase that is immediately under the investor

08:47   16     presentation box that says "innovation in single crystal

08:47   17     BAW wave technology."

08:47   18           To what does that refer?

08:47   19     A.    So, you know, it's a tag line that we used in our --

08:47   20     you know, as you can see in this investor presentation,

08:47   21     really what it represents is that when we started the

08:47   22     company, it was based on the innovation in single crystal

08:47   23     technology.       I explained yesterday that single crystal has

08:47   24     been around for many years.        It is done in active devices.

08:47   25     The premise of the company was really introducing single
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08:47   1      crystal technology to a passive device.           And this is the

08:47   2      differentiator, and it's excited, you know, the market

08:47   3      opportunities, and the investors, you know, to show we

08:47   4      have a focused approach here.

08:47   5      Q.    Now, you used -- in explaining this, you used the

08:48   6      past tense in saying "used."       Does that mean you don't use

08:48   7      that phrase any longer?

08:48   8      A.    Correct.    We do not use that tag line anymore.

08:48   9      Q.    Okay.    But when Akoustis did use it, did you use it

08:48   10     in context other than presentations?

08:48   11     A.    Yes.    We used it in press releases.       We used it in,

08:48   12     you know, marketing literature, you know.          I'm sure it was

08:48   13     in, obviously the investor presentation, and customer

08:48   14     presentations as well.

08:48   15                   MR. ELKINS:   Let me go to Slide 12, please.

08:48   16     BY MR. ELKINS:

08:48   17     Q.    Obviously titled, "Why single crystal for BAW?"

08:48   18     What's the purpose of putting this slide in the investor

08:48   19     presentation for -- I think it was September.           I can't

08:48   20     even read it on the document -- excuse me -- August of

08:48   21     2018?   What's the purpose of this slide?

08:48   22     A.    You know, the concept here, again, was novel.           And,

08:49   23     you know, when you're taking a novel concept to market,

08:49   24     you need to really try to help educate and clarify what

08:49   25     the advantages are that you are going to bring to the
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08:49   1      market with this technology.

08:49   2            And so this is a hopefully straightforward slide that

08:49   3      you could talk to -- when you're meeting with investors

08:49   4      and what it really highlights is three advantages, high

08:49   5      thermal conductivity is one of them.        The other one is

08:49   6      high mechanical coupling.

08:49   7            At the time, that was a true statement.         The

08:49   8      technology has continued to evolve.        We had to improve on

08:49   9      that.    And then, also, the premise of high sound velocity

08:49   10     as well.

08:49   11     Q.    Why are those benefits?

08:49   12     A.    It really, you know, highlights below, you know, why

08:49   13     those benefits -- I'll focus on two of them, the high

08:49   14     thermal conductivity is really allowing you to do a higher

08:50   15     power.    So the thermal conductivity single crystal is

08:50   16     better than other materials and so you can push a -- you

08:50   17     know, more power into the BAW filter without damaging or

08:50   18     having catastrophic failure.

08:50   19           The other one is high sound velocity.        You can see in

08:50   20     the graph here there's a Y axis, which is looking at sound

08:50   21     velocity.    It's the parameter that you're trying to

08:50   22     measure there.     With higher sound velocity, you can go to

08:50   23     a thicker piezo material, which means you can go up higher

08:50   24     in frequency.     And that's part of our premise, was

08:50   25     pushing, you know, the technology into higher frequency.
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08:50   1      Q.    This presentation is from August of 2018.         Obviously

08:50   2      we're several years past there.       Is it Akoustis' position

08:50   3      that the benefits that are mentioned here regarding the

08:50   4      use of single crystal remain true today?

08:51   5      A.    Correct.

08:51   6      Q.    I'd like to move to another document.

08:51   7                   MR. ELKINS:    And, Mr. Brown, if you could pull

08:51   8      up what was marked as PTX-0695.       Don't pull it up yet.

08:51   9      Let's talk to Mr. Aichele about it first.

08:51   10                  May I approach, Your Honor?

08:51   11                  THE COURT:    You may.

08:51   12     BY MR. ELKINS:

08:51   13     Q.    Mr. Aichele, do you recognize the document that you

08:51   14     have in front of you that was marked for identification as

08:51   15     PTX-695?

08:52   16     A.    Yes, I do.

08:52   17     Q.    What is it?

08:52   18     A.    This is a letter from -- or e-mail, I should say,

08:52   19     from Joel Morgan, who is our VP of quality at the time, to

08:52   20     Jeff Shealy, myself, and others within the organization.

08:52   21     Q.    It appears to be -- have an attachment that -- to it.

08:52   22     Can you -- do you recognize that attachment?

08:52   23     A.    Yes, I do.

08:52   24     Q.    And, generally, what does that attachment show?

08:52   25     A.    It's a presentation basically comparing the power
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08:52   1      handling capability.       What is said here is EPI.     So

08:52   2      silicon, EPI is another terminology for single crystal

08:52   3      versus poly on a silicon substrate.

08:52   4                    MR. ELKINS:    Your Honor, Akoustis moves into

08:52   5      evidence the document that was marked PTX-0695.

08:53   6                    THE COURT:    Marked and received as 155.(Trial

08:53   7      Exhibit No. 155 was admitted into evidence.)

08:53   8      BY MR. ELKINS:

08:53   9      Q.    So this is the -- this is the e-mail from Mr. Morgan

08:53   10     to you, Mr. Shealy, Mary Winters, and Shawn Gibb?

08:53   11     A.    Correct.

08:53   12     Q.    Who is Shawn Gibb?

08:53   13     A.    Shawn Gibb at the time was director of materials at

08:53   14     Akoustis.

08:53   15     Q.    Where does he work now?

08:53   16     A.    I think he used to work at Qorvo.       I think he just

08:53   17     recently left Qorvo and is now somewhere else.

08:53   18     Q.    Okay.   So let's look at the presentation that's

08:53   19     attached.     And just -- so this is measuring the max power

08:53   20     capability of epi.     What does sic mean?

08:53   21     A.    That is it silicon carbide, and that is the substrate

08:54   22     that we would deposit the epi material onto.

08:54   23     Q.    Versus poly and then it says Si.       What does that

08:54   24     mean?

08:54   25     A.    Poly is the poly crystalline material.         And Si is the
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08:54   1      silicon substrate we would deposit on.

08:54   2                   MR. ELKINS:    Let's go to the next slide.

08:54   3      BY MR. ELKINS:

08:54   4      Q.    What does -- what does this slide show you?

08:54   5      A.    It shows you basically a test setup and that there

08:54   6      are certain MSETs -- M-S-E-T is a MSET.           And that MSET was

08:54   7      used to fabricate, you know, a -- I guess, a BAW filter

08:54   8      using the poly.     And then a BAW filter using the epi

08:54   9      material.    And then what we have is the data that was

08:54   10     taken, which you can see on the table to the right, which

08:54   11     indicates, basically, DBN, which is a measurement, and W,

08:55   12     a W, which is translating DBM to watts is that translation

08:55   13     there, at what temperature, what modulation, which is a

08:55   14     signal that we use at what frequency we tested it, and

08:55   15     then you can see the XB1 process.

08:55   16           And then it shows you the delta.       And the one box

08:55   17     above where you see 36.87.       That is DBN output power.        And

08:55   18     then it shows you 33.11 for the other device.           So the 36

08:55   19     was related to the -- to the single crystal, and then the

08:55   20     33 was related to the poly crystal.

08:55   21           And it shows that you get about 3DB more power

08:55   22     handling with the poly crystal material, which is about

08:55   23     double the power handling.       So 30DBM is 1 watt, 33 DBM

08:55   24     would be 2 watts, 36 DBM, would be 4 watts.

08:56   25     Q.    So these -- the two die that were being tested here,
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08:56   1      were they -- were they the same other than the difference

08:56   2      between the polycrystalline material on one and the single

08:56   3      crystal material on the other?

08:56   4      A.    Yes.   That's a very important point to state, in that

08:56   5      we really wanted to do apples to apples comparison.            We

08:56   6      didn't want to have a different design on one material and

08:56   7      another design on a different material.           We wanted it to

08:56   8      have the same design utilizing two different materials so

08:56   9      that we could do an apples to apples comparison.

08:56   10           So in the manufacturing flow, the design, the testing

08:56   11     were all the same.     The only thing that was different was

08:56   12     the material selection.

08:56   13     Q.    So what was your takeaway from the testing that

08:56   14     Mr. Morgan shared with you?

08:56   15     A.    We did further testing beyond this one, but my

08:56   16     takeaway was that the theory that single crystal offers

08:56   17     higher power handling was validated by this test and other

08:57   18     tests, and the theory really comes around that in view of

08:57   19     the single crystal, you know, it's Tom Figaro type of

08:57   20     layers.   There's no defects, there's no grading

08:57   21     boundaries, which means it improves thermal -- the --

08:57   22     lowers the thermal resistance.       So you get better heat

08:57   23     spreading out of material versus poly.        It's more of a

08:57   24     stressor that has grain boundaries and has a higher

08:57   25     thermal resistance and, therefore, is not as good as
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08:57   1      conducting, and letting the power or heat escape.

08:57   2      Q.    Thank you.

08:57   3                   MR. ELKINS:     We can take the slide down.

08:57   4      BY MR. ELKINS:

08:57   5      Q.    So earlier you -- you confirmed that Akoustis no

08:57   6      longer uses the innovation through single crystal

08:57   7      technology.       Tag line, I think you called it.      Why not?

08:57   8      A.    Again, this is -- you know, a lot of my

08:57   9      responsibilities in, you know, marketing the company.             And

08:57   10     so, you know, as we evolve as a company, and as we grow,

08:58   11     you know, we need to, you know, adjust accordingly.

08:58   12           When we brought to the XB1 process, you know, to a

08:58   13     point where we had frozen it and we wanted to move forward

08:58   14     with it, single crystal offers the advantages that I

08:58   15     highlighted, but it also has some disadvantages.            Those

08:58   16     disadvantages are that the silicon carbide substrate that

08:58   17     I highlighted is ten times more expensive than a silicon

08:58   18     wafer.   A silicon wafer can cost you $200.         A silicon

08:58   19     carbide wafer can cost you $2,000.

08:58   20           In addition to operations really highlighted that the

08:58   21     single crystal on single -- silicon carbide is not high

08:58   22     yielding.

08:58   23           So, you know, we had, you know, really a difficult,

08:58   24     you know, hurdle that we had to overcome if we really

08:58   25     wanted to get to those high-volume, low-cost applications.
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08:58   1            Then we found that New York actually had a PVD, which

08:58   2      is a physical vapor deposition where they could do poly

08:59   3      deposition.

08:59   4            So, in addition to these power tests, we started

08:59   5      doing DOEs, design of experiments, and running short

08:59   6      loops, which is being able to do quick analysis to see

08:59   7      that we could get the response, you know, that we were

08:59   8      looking for electrically, you know, with the

08:59   9      polycrystalline material.

08:59   10           And it also offers advantages that the single crystal

08:59   11     could be enough to go higher fractional bandwidth.           It's a

08:59   12     thing called doping.      We had some limitations in the

08:59   13     single crystal material.

08:59   14           So we really analyzed that.      Once we felt that we had

08:59   15     a -- you know, a good path forward, we started introducing

08:59   16     poly into -- into the selection materials.         And that's one

08:59   17     of the things that I highlighted yesterday, sort of

08:59   18     external process, essentially, five pillars, and one of

08:59   19     them is material selection.

08:59   20           We are the only, you know, company that offers BAW

08:59   21     selections in the market today that has single crystal and

08:59   22     polycrystalline.     They are tools within our operations and

09:00   23     also designers need to access.

09:00   24     Q.    Have you replaced the innovation through single

09:00   25     crystal tag line --
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09:00   1      A.    Yes, we have.

09:00   2      Q.    -- with a new one?

09:00   3      A.    Yes, we have.

09:00   4      Q.    What is the new tag line?

09:00   5      A.    It's -- I mean, we don't use it in our -- you know,

09:00   6      on the tag line in the presentation, but we do call it

09:00   7      out, we say high purity, not piezo.

09:00   8      Q.    What does that refer to?

09:00   9      A.    It's just the selection of material we believe based

09:00   10     on the equipment set that we've procured and installed,

09:00   11     you know, for our poly, which we have bought new equipment

09:00   12     and upgraded, and also with our single crystal that these

09:00   13     are high purity piezo materials we can choose from.

09:00   14     Q.    Has Akoustis abandoned its single crystal technology?

09:00   15     A.    Absolutely not.

09:00   16     Q.    But how is it offered today, if at all?

09:00   17     A.    It's still offered.     You know, and we actually had to

09:00   18     pull single crystal back, you know, to bring it back into

09:00   19     the R&D phase because of what I mentioned before, it

09:00   20     wasn't high yielding.      It didn't allow you to support the

09:01   21     wider fractional bandwidths, and it was deposited on the

09:01   22     silicon carbide, a very expensive substrate.          We spent

09:01   23     probably another two years really advancing the single

09:01   24     crystal technology.     You know, we added a dope in switch

09:01   25     to allow you to extend the fractional bandwidth to our
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09:01   1      reactor.   We also developed the process that we could

09:01   2      deposit on silicon, and, you know, very important is we've

09:01   3      been funded by DARPA, which is a defense agency of the

09:01   4      United States government, and millions of dollars of

09:01   5      contracts to advance our single crystal material.           They

09:01   6      see it as being a very important investment by the US

09:01   7      government, and part of that is where single crystals

09:01   8      really being critical is advancing up to higher

09:01   9      frequencies up to 20 gigahertz.       And this is an initiative

09:01   10     that Akoustis is one of the only companies that was

09:01   11     awarded that was a, you know, an acoustic company.           And

09:01   12     it's really for defense, you know, phase radars and other

09:01   13     similar applications.

09:01   14     Q.    Thank you.

09:02   15           Yesterday, we -- you know, you can't sit through

09:02   16     other people's testimony before you testify so you don't

09:02   17     necessarily know who has testified or when.          But

09:02   18     yesterday, we saw a video testimony from Rohan Houlden.

09:02   19           Do you know him?

09:02   20     A.    Yes, I do.

09:02   21     Q.    Who is he?

09:02   22     A.    Well, who he was, was a -- he worked at Akoustis,

09:02   23     and, I believe, he started late part of 2016, and he

09:02   24     initially was the VP of engineering when he started, and

09:02   25     then he was moved into chief product officer later.
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                                        Aichele    - Cross

09:02   1      Q.    Where was Mr. Houlden before he joined Akoustis?

09:02   2      A.    I don't know if he was anywhere when he joined

09:02   3      Akoustis, but prior to that, he was working at Qorvo.

09:03   4      Q.    Did you give any depositions in this case?

09:03   5      A.    Yes, I gave two depositions.

09:03   6      Q.    Okay.    Do you recall being shown documents in your

09:03   7      depositions by counsel for Qorvo?

09:03   8      A.    Yes.    I -- you know, through, obviously, yesterday

09:03   9      and discussions today, some of those documents and others

09:03   10     were shared with me during the depositions.

09:03   11     Q.    Do you recall any of those documents being sent to

09:03   12     you by Mr. Houlden?

09:03   13     A.    Not -- it's been six to nine months since we did

09:03   14     that.   Obviously, yesterday, you know, gave me a little

09:03   15     bit more of a refresh, but I don't recall specifics, but I

09:03   16     do remember receiving documents, you know, from -- and

09:03   17     e-mails, I should say from Rohan Houlden.

09:03   18     Q.    What policies, if any, does Akoustis have regarding

09:04   19     third party information?

09:04   20     A.    You know, we've got, I think, three policies; we've

09:04   21     got a confidentiality and intellectual proprietary

09:04   22     agreement that everybody signs when they onboard with the

09:04   23     company.     We've also got a code of ethics and conduct, and

09:04   24     then we also have a business conduct, you know, document

09:04   25     as well.     And all of those are documents that everybody
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                                        Aichele    - Cross

09:04   1      has to recognize and sign and acknowledge, and they all

09:04   2      state pretty much the same thing in different words,

09:04   3      basically, that any individual that joins Akoustis will

09:04   4      not bring in any third party intellectual property or

09:04   5      inventions.

09:04   6      Q.    What happens to an employee who violates those

09:04   7      policies?

09:04   8      A.    You know, obviously, it has to be raised, you know,

09:04   9      as a violation, you know.      And I believe if it's raised as

09:04   10     a violation, it should go to our HR director and then also

09:05   11     to general counsel.

09:05   12     Q.    Who decides the consequences, if any, if an employee

09:05   13     is found to have violated the policies you mentioned?

09:05   14     A.    My understanding is that, you know, that the HR

09:05   15     director and also general counsel would bring that before

09:05   16     our CEO, which is Dr. Shealy, and determinations would be

09:05   17     made at that point.

09:05   18     Q.    I think you testified yesterday about discussions

09:05   19     that you had with a couple of people who were based in

09:05   20     Asia.   Have you had occasions to discuss company policies

09:05   21     regarding third-party information with anybody else at

09:05   22     Akoustis?

09:05   23     A.    Yes.   I think I had discussions with Rohan at the

09:05   24     time, and then, obviously, my main interactions and focus

09:06   25     has been more with the sales team.        And, again, it's
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09:06   1      really, you know -- and I've done this for many years,

09:06   2      collecting competitive information.        And, you know, with

09:06   3      the sales organization is that and/or others, you know, in

09:06   4      the, I guess, the outside that share information.           There

09:06   5      is competitive information, then there's truly

09:06   6      confidential information.      You've just got to be careful.

09:06   7            But competitive information is something everybody

09:06   8      does in the industry.      It's not exclusive to Akoustis.

09:06   9      You've just got to make sure that, you know, if it is

09:06   10     truly confidential, we don't need it, we don't want it.

09:06   11     It's not anything that we want to bring in.

09:06   12     Q.    Is it -- can it be hard to make that distinction?

09:06   13     A.    Yeah.    You know, documents can be marked confidential

09:06   14     that are basically in the public domain, you know, and a

09:06   15     lot of people have been tainted, or, I guess, numb to it,

09:06   16     they may ignore it.     I think it's clear certain documents,

09:06   17     you know, that were shared yesterday, they are truly

09:07   18     confidential, and we should not have had them.          The price

09:07   19     book -- I'll give an example too.        And that is something,

09:07   20     though, that was not used.       And but it is hard to make

09:07   21     distinctions, you know, with, you know, certain documents.

09:07   22     Q.    Did you ever speak with Mr. Houlden about sharing

09:07   23     documents that appeared to come from Qorvo?

09:07   24     A.    Yes.    I remember having conversations with him

09:07   25     regarding those documents, but not specifics that I can
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                                        Aichele    - Cross

09:07   1      recall.

09:07   2      Q.    Did you take any action in connection with

09:07   3      Mr. Houlden sharing documents that appeared to come from

09:07   4      Qorvo apart from your discussions with him?

09:07   5      A.    No, I did not.

09:07   6      Q.    Well, given the company's policies that you discussed

09:07   7      a few minutes ago, why didn't you?

09:07   8      A.    I would highlight several reasons.          You know, first

09:07   9      is that we did have an NDA with Qorvo.        And Rohan was

09:07   10     having -- Mr. Houlden was having multiple discussions with

09:08   11     multiple people within Qorvo.       And so anything that he

09:08   12     would send me, I don't know exactly where he got it, you

09:08   13     know, if it was through, obviously, you know, right

09:08   14     channels or incorrect channels.       So I just didn't raise,

09:08   15     you know, any visibility to me on that as being a concern.

09:08   16           The second thing is, our technology is completely

09:08   17     different than Qorvo.      We have this cap back freestanding

09:08   18     type area on top and bottom.       And the XBAW process is

09:08   19     completely different to Qorvo's SMR.        And nothing I saw in

09:08   20     any of those documents tainted us with any kind of trade

09:08   21     secret, you know, that I thought would raise the level of

09:08   22     concern.

09:08   23           Third thing is -- I just touched on that earlier, but

09:08   24     just to reiterate.     You know, for many years I've been in

09:08   25     the industry, you know, I've made mistakes and, you know,
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                                        Aichele    - Cross

09:08   1      put in "Confidential" when I didn't need to put

09:08   2      "Confidential" in the tag.       I've used presentations that

09:08   3      were confidential in a public domain.        I am positive that,

09:09   4      you know, I did this at R&D, I'm positive Qorvo still does

09:09   5      that today.

09:09   6            And so when I see documents, you know, it maybe

09:09   7      didn't raise a level.      I didn't know exactly where it came

09:09   8      from.

09:09   9            The last part is just on the business intelligence.

09:09   10     We were leading the market.       We were ahead of it.      You

09:09   11     know, we showed the 1903.      I shared data sheets now today

09:09   12     that I'm sure that are, you know, marked "Confidential"

09:09   13     that get out into the public domain.        I don't look at the

09:09   14     trade data sheet as a trade secret.        I look at the data

09:09   15     sheet as a contract to the market to the customers.           It

09:09   16     doesn't tell you how to design.       It doesn't tell you how

09:09   17     to -- you know, how to fabricate the device.          It basically

09:09   18     shows you the kind of response.

09:09   19           So it's -- again, I don't really hold a lot

09:09   20     personally, you know, to data sheets.        I know they're

09:09   21     going to get leaked.      And this business is intelligent.

09:09   22     We were ahead on the market, so I didn't pay attention too

09:09   23     much.

09:09   24           Nevertheless, you know, Rohan was an officer of the

09:10   25     company.   He shared, you know, the documents, I believe,
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09:10   1      based on the discovery here that, you know, were

09:10   2      confidential.     And, you know, I should have raised that.

09:10   3      You know, it's a lesson learn.       It's something that I am

09:10   4      applying now more diligently than I did prior to, you

09:10   5      know, this lawsuit.     And it's something that I do regret.

09:10   6      Q.    We heard the context of Mr. Houlden's deposition,

09:10   7      indicated that he was no longer at Akoustis at that time.

09:10   8            Do you know the circumstances of Mr. Houlden's

09:10   9      departure from Akoustis?

09:10   10     A.    Yes, I do.

09:10   11     Q.    How is it that you know that?

09:10   12     A.    When -- of my two depositions.       One was an individual

09:10   13     deposition, and the other one I was a representative of

09:10   14     Akoustis, you know, for certain topics.           So I talked with

09:10   15     Dr. Shealy prior to my Akoustis deposition.

09:10   16     Q.    What did you learn about Mr. Houlden's separation

09:11   17     from the company?

09:11   18     A.    What I learned is that Mr. Houlden was terminated due

09:11   19     to, basically, not meeting personal goals and/or job

09:11   20     responsibilities.     And so it's a performance-based

09:11   21     termination.

09:11   22     Q.    When did that termination take place?

09:11   23     A.    I believe it was around the middle of 2022.

09:11   24     Q.    What role, if any, did this case play in

09:11   25     Mr. Houlden's termination?
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09:11   1      A.    Absolutely nothing.

09:11   2      Q.    Why is that?

09:11   3      A.    You know, it -- I don't know exactly the time of, you

09:11   4      know, when a lot of this confidential information and the

09:11   5      discovery phase was made evident.        You know, originally,

09:11   6      when the lawsuit came in, it was more, I believe, on IP

09:11   7      infringement and so forth.

09:11   8            So that's just my viewpoint, is that -- the true

09:11   9      decision.     And, you know, we set out metrics and our

09:11   10     goals, you know, in the beginning of the 20 -- let's see,

09:11   11     if it was 2022, would have been middle of 2021.          So those

09:12   12     metrics are measured at the middle of 2022.          That's when

09:12   13     we do a review.     And I believe Jeff, maybe with guidance

09:12   14     from the board, they decided to do the termination based

09:12   15     on performance issues.

09:12   16     Q.    Thank you.

09:12   17           Okay.   We're going to switch gears.        I'm just going

09:12   18     to show you a series of four documents pretty quickly.

09:12   19     A.    Okay.

09:12   20     Q.    And just to be transparent, they're just to get them

09:12   21     into the record.     Other people will testify about them.

09:12   22           So the first one I'd like to show you is DTX-0558.

09:12   23                   MR. ELKINS:    May I approach?

09:12   24                   THE COURT:    You may.   I have a screen over

09:13   25     here.   Most of the time, I can see everything, so I'm
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09:13   1      going to let the courtroom deputy keep the exhibits.

09:13   2      BY MR. ELKINS:

09:13   3      Q.    Mr. Aichele, do you recognize what you have in your

09:13   4      hands that has been marked as DTX-0558?

09:13   5      A.    Yes, I do, in general.

09:13   6      Q.    What is it?

09:13   7      A.    It is an e-mail to me from Rohan, and it has in it an

09:13   8      e-mail communication between himself and Robert Aigner

09:13   9      from Qorvo.

09:13   10     Q.    Do you recognize the e-mail thread subject matter?

09:13   11     A.    Yes, I do.

09:13   12     Q.    What -- what is it, generally?

09:13   13     A.    You know, Rohan -- and, again, Rohan and

09:13   14     Robert Aigner were periodically meeting face to face and

09:13   15     through e-mail exchanges.      And Robert Aigner was also

09:13   16     engaged with other technical people within the company,

09:13   17     myself included.

09:13   18           And in this e-mail it looks like Rohan had posted

09:14   19     several questions to Robert Aigner, and Robert Aigner

09:14   20     responded back in this e-mail addressing the third

09:14   21     question, which was about power handling and really

09:14   22     providing some technical insight on power handling.

09:14   23           He also shared information as to FBAR, which is a

09:14   24     acoustic technology.      And their electrode structure, and

09:14   25     Qorvo's SMR structure, which is the SMR and using
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                                        Aichele    - Cross

09:14   1      aluminum-copper as electrode, and explaining the

09:14   2      advantages and disadvantages of the material.

09:14   3      Q.    Okay.    Thank you.

09:14   4                    MR. ELKINS:    Your Honor, we have move PTX-0558

09:14   5      into evidence.

09:14   6                    THE COURT:    Received as 156.

09:14   7                    (Trial Exhibit No. 156 was admitted into

09:14   8      evidence.)

09:14   9      BY MR. ELKINS:

09:14   10     Q.    Mr. Aichele, I'm going to show you another document.

09:15   11                   MR. ELKINS:    Permission to approach,

09:15   12     Your Honor?

09:15   13                   THE COURT:    You may.

09:15   14     BY MR. ELKINS:

09:15   15     Q.    Mr. Aichele, do you recognize what has been marked

09:15   16     for identification as DTX-0580?

09:15   17     A.    Yes, I do.

09:15   18     Q.    What is it?

09:15   19     A.    This is an internal Akoustis document that defines

09:15   20     procedures for design development and maintenance of our

09:15   21     process and our products.

09:15   22                   MR. ELKINS:    Your Honor, move DTX-0580 into

09:15   23     evidence.

09:15   24                   THE COURT:    Marked and received as 157.

09:15   25                   (Trial Exhibit No. 157 was admitted into
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                                         Aichele    - Cross

09:15   1      evidence.)

09:15   2      BY MR. ELKINS:

09:15   3      Q.    What is this document used for?

09:16   4      A.    This is really an administrative document that really

09:16   5      helps to provide some framework and guidance, you know, as

09:16   6      to, you know, how you bring a product concept, you know,

09:16   7      into development, and then, you know, what the different

09:16   8      steps that you go through.        And it gives you some flow

09:16   9      charts.

09:16   10           And that, first, under Instructions, you know, gives

09:16   11     you what we call the "gating phase" approach on bringing a

09:16   12     product process into production.

09:16   13     Q.    So is this a -- what is sometimes called a "phase

09:16   14     gate"?

09:16   15     A.    Correct.

09:16   16     Q.    Product development document?

09:16   17     A.    Correct.

09:16   18     Q.    Had you seen a document like this before joining

09:16   19     Akoustis?

09:16   20     A.    Yes.   I've had -- through many roles in different

09:16   21     companies, I've had responsibilities to do product

09:16   22     management.       So I worked with techno-electronics.       I've

09:16   23     worked with start-up companies called Digital Optics.             I

09:16   24     worked at RFD for nine years.        I worked with, you know, T1

09:17   25     Visions, and now at Akoustis.
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09:17   1            And I've also seen documents like this in textbook.

09:17   2      So every company has, you know, similar, you know,

09:17   3      administrative documents like this that, you know, discuss

09:17   4      this phase-gate approach.      The specifics, you know, are

09:17   5      usually unique to a customer -- or to a company.

09:17   6      Q.    Is the information in this document proprietary?

09:17   7      A.    I would say it's -- you know, it's company centric.

09:17   8      And so in that respect, you know, it's unique.          But

09:17   9      there's nothing here, in my opinion, you know, that raises

09:17   10     to trade secrets or anything that's unique.          Everybody

09:17   11     typically follows the same process.

09:17   12     Q.    Thank you.

09:17   13           Two more documents to go.

09:18   14                  MR. ELKINS:    May I approach?

09:18   15                  THE COURT:    You may.

09:18   16                  MR. ELKINS:    Thank you.

09:18   17     BY MR. ELKINS:

09:18   18     Q.    What I've handed to you is -- been marked as joint --

09:18   19     or JTX-0014.

09:18   20           Do you recognize it?

09:18   21     A.    Yes, I do.

09:18   22     Q.    What is it?

09:18   23     A.    This is a report that's generated by the company

09:18   24     called System Plus Consulting.        And it's a technical, and

09:19   25     I guess what they title in here "Reverse Costing
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                                        Aichele    - Cross

09:19   1      Structural Process and Cost Report."        And it's three

09:19   2      products.    These three products are Akoustis' products.

09:19   3      It's AKF-1256 and A10155 and A10165.        So the report is

09:19   4      around those specifics Akoustis' products.

09:19   5                   MR. ELKINS:    Your Honor, we move what's been

09:19   6      marked as JTX-0014 into evidence.

09:19   7                   THE COURT:    Marked and received as 158.

09:19   8                   (Trial Exhibit No. 158 was admitted into

09:19   9      evidence.)

09:19   10     BY MR. ELKINS:

09:19   11     Q.    Do you know the source of this document?

09:19   12     A.    Yes.   It's coming from this company, System Plus

09:19   13     Consulting.

09:19   14     Q.    Who is System Plus Consulting?

09:19   15     A.    They are a well-known company in the -- they're -- I

09:19   16     think they're based -- I believe they're French, and, you

09:20   17     know, I believe, they have some test labs that are located

09:20   18     in North America as well.

09:20   19           But they do this type of analysis all the time.          And,

09:20   20     basically, it's -- this type of analysis is reverse

09:20   21     engineering, you know, where they will take publicly

09:20   22     available components and do the reverse engineering of

09:20   23     that to generate these reports.

09:20   24     Q.    Have you heard the term "teardown"?

09:20   25     A.    Yes, I have.
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09:20   1      Q.     What does that mean?

09:20   2      A.     So you can -- actually, if you ever hear about Apple

09:20   3      iPhone teardowns, that's an example where someone will

09:20   4      take an Apple iPhone and actually deconstruct it and

09:20   5      really highlight all the different components that are on

09:20   6      that.    So that's done in the industry at a system level

09:20   7      all the time.       It's really to understand, you know, what's

09:20   8      the new chip sets and, you know, the new technology that's

09:20   9      going in.     And these iPhone teardowns are done once

09:21   10     they're publicly available.

09:21   11            Same thing with, you know, integrated passive devices

09:21   12     or active devices.       There's an interest in the industry,

09:21   13     you know, to do these type of teardowns where they can

09:21   14     actually, you know, really do analytical analysis of the

09:21   15     die.

09:21   16            These reports are very exhaustive as to looking at

09:21   17     cross-sections, you know, and material selection, material

09:21   18     analysis, et cetera.       And they also pull together what is

09:21   19     estimated manufacturing cost models as well.

09:21   20     Q.     Do you have an understanding about -- well, first of

09:21   21     all, did you obtain this report from System Plus

09:21   22     Consulting?       Did they just give it to you?

09:21   23     A.     No.   You have to buy these reports from System Plus.

09:21   24     Q.     Do you have an understanding about who can purchase

09:21   25     reports from System Plus?
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                                        Aichele    - Cross

09:21   1      A.    Yeah.   You know, I think these reports -- you know,

09:21   2      so it's interesting to see a report on Akoustis, you know,

09:22   3      because at the time we were a small player.          So I believe

09:22   4      that System Plus, you know, unless there's a reason,

09:22   5      they're not going to go and generate a report.          I think

09:22   6      this one was generated because a competitor wanted a third

09:22   7      party to do the analysis on our technology.

09:22   8            So I think this report was generated through that,

09:22   9      you know, that engagement, and then it was made publicly

09:22   10     available to purchase.

09:22   11     Q.    Understanding you're not a lawyer or trained in law,

09:22   12     Mr. Aichele, do you have a layperson's understanding about

09:22   13     the legality of reverse engineering somebody else's

09:22   14     product?

09:22   15     A.    Yeah.   I think it goes to, you know, my statement on

09:22   16     the iPhone, and it applies here as well.          These are

09:22   17     components that are in the public domain.         You can pick

09:22   18     them up anywhere.     So it's, in my opinion, layman-wise, is

09:22   19     that, you know, there is no IP infringement, you know,

09:22   20     when they're doing this type of analysis.

09:22   21     Q.    So just to help us get an understanding of the work

09:23   22     that a teardown report, or at least System Plus Consulting

09:23   23     teardown report can do, can I have you turn to -- it looks

09:23   24     like it's Slide 46.     It's also Page 46 of the exhibit.

09:23   25     And Mr. Brown has it.
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                                         Aichele    - Cross

09:23   1            Can you tell us what we're looking at there?

09:23   2      A.    So this is our A10155.       So this is a new part that

09:23   3      was really covering the full 5 gigahertz bandwidth.            And

09:23   4      what you're looking at is a top-down view of the die.             And

09:23   5      so when you see the S1, S2, S3, S4, S5, and S6, those are

09:23   6      series resonators.

09:23   7            And then the P1, P2, P3, P4, those are shunt

09:23   8      resonators.       So that is, you know, those resonators, as I

09:23   9      mentioned before.       So this is really the first time you

09:23   10     guys can see a filter design.        Those resonators are the

09:23   11     building block to allow you to you connect to, basically,

09:24   12     create this filter response.

09:24   13     Q.    How large are those individual resonators?

09:24   14     A.    Can't tell exactly on these, but the die size is

09:24   15     probably .9 by .8 milliliters.        And the resonators are

09:24   16     probably what they call 100 microns, 120 microns.            Very

09:24   17     small.

09:24   18     Q.    So this is -- is it your understanding that System

09:24   19     Plus Consulting was using some kind of microscope to take

09:24   20     this photo?

09:24   21     A.    Yes, absolutely.

09:24   22     Q.    Okay.   I'd like you to now just get another look, and

        23     go to Page 72 of this document.

09:24   24                   MR. ELKINS:    And if we could blow that up.

09:24   25     Thank you.
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                                            #: 40673
                                        Aichele    - Cross

09:24   1      BY MR. ELKINS:

09:24   2      Q.    What are we looking at here?

09:24   3      A.    This is -- actually, I think I mentioned this.          This

09:24   4      is a cross-section.     So they've taken our die and they've

09:24   5      done a cross-section, which means they basically cut it in

09:25   6      half.   So now you can see the actual cross-section of the

09:25   7      BAW die.    And what they're highlighting, this is our

09:25   8      AKF-1256, which is 5.6 gigahertz part.

09:25   9            You can actually see the structures.        You can see the

09:25   10     silicon layer, which is a silicon wafer.          And then as you

09:25   11     go up, you can see the different material compositions

09:25   12     and, you know, basically, different thicknesses.           And you

09:25   13     can see, obviously, you know, how small, you know, these

09:25   14     different thicknesses are.

09:25   15     Q.    Okay.    Thank you.

09:25   16                   MR. ELKINS:    We can take that down.     One more

09:25   17     document.

09:25   18                   If may I approach, Your Honor?

09:25   19                   THE COURT:    You may.

09:26   20     BY MR. ELKINS:

09:26   21     Q.    What I've handed you, Mr. Aichele, is marked for

09:26   22     identification as DTX-0623.       And, again, do you recognize

09:26   23     it?

09:26   24     A.    Yes, I do.

09:26   25     Q.    What is it?
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                                        Aichele    - Cross

09:26   1      A.     It's a report that System Plus Consulting generated

09:26   2      on a Qorvo high-band BAW filter, which I believe is

09:26   3      probably lower frequencies.        And Part Number TQF-6405.

09:26   4      Q.     Why did Akoustis -- well, let me ask you this:         Is

09:26   5      this a report that Akoustis acquired from System Plus

09:26   6      Consulting?

09:26   7      A.     I believe so, yes.

09:26   8      Q.     Why did Akoustis acquire this report from System Plus

09:26   9      Consulting?

09:26   10     A.     It's -- you know, we bought a similar report for

09:26   11     Broadcom's FBAR technology as well.         It is really

09:26   12     technical analysis that, you know, we can do, really, to,

09:27   13     you know, obviously understand, you know, what the

09:27   14     construction is of our competitors, you know, and really

09:27   15     understand, obviously, the market opportunities.

09:27   16     Q.     Okay.   Those are all my questions, Mr. Aichele, thank

09:27   17     you.

09:27   18                    MR. ELKINS:    Pass the witness.

09:27   19                    THE COURT:    This is both redirect and

09:27   20     cross-examination.

09:27   21                    MR. DeFOSSE:    Thank you, Your Honor.

09:27   22                    MR. ELKINS:    I'm sorry.    If I could, I

09:27   23     neglected to move the last one into evidence.

09:27   24                    THE COURT:    Yes, sir.   That's correct.

09:27   25                    MR. ELKINS:    That was --
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                                      Aichele    - Redirect

09:27   1                   THE COURT:    -- 159.   Thank you.

09:27   2                   MR. ELKINS:    Apologies.    Thank you.

09:27   3                   THE COURT:    Marked and received as 159.

09:27   4                   (Trial Exhibit No. 159 was admitted into

09:27   5      evidence.)

09:27   6                             REDIRECT EXAMINATION

09:27   7      BY MR. DeFOSSE:

09:27   8      Q.    Good morning, Mr. Aichele.

09:27   9      A.    Good morning.

09:27   10     Q.    I'd like to start with Exhibit 159, which is the last

09:27   11     one that Mr. Elkins showed you.

09:28   12           And I'd like you, if you could, to turn to Page 88 of

09:28   13     Exhibit 159, which is DTX-623.

09:28   14           And you see at the top of Page 88, there's a

09:28   15     statement there, it begins "Reverse costing analysis."

09:28   16           Do you see that?

09:28   17     A.    Yes, I do.

09:28   18     Q.    And the reverse costing analysis is what the System

09:28   19     Consulting Plus calls the report that they're putting

09:28   20     together here, right?

09:28   21     A.    Yes.   Appears so, yes.

09:28   22     Q.    And in the -- this highlighted phrase we have here,

09:28   23     Systems Consulting Plus has noted that this report is

09:28   24     based on publicly available data; is that right?

09:28   25     A.    Yes.
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                                       Aichele    - Redirect

09:28   1      Q.    Okay.   Thank you.

09:28   2            You can put that one down.       Moving kind of in reverse

09:28   3      order here.       If I could ask you to take out DTX-580.

09:29   4            Thank you.

09:29   5            This is the procedure designed development

09:29   6      maintenance document that Mr. Elkins showed you?

09:29   7      A.    Yes.

09:29   8                    THE COURT:    Also, Exhibit 157.

09:29   9                    MR. DeFOSSE:    157.   Thank you, Your Honor.

09:29   10     BY MR. DeFOSSE:

09:29   11     Q.    On the last page of this document, Page 6 of 6,

09:29   12     there's a section that says "Revision History."

09:29   13           Do you see that?

09:29   14     A.    Yes, I do.

09:29   15     Q.    And revision history tracks how the document has gone

09:29   16     through the creation process; is that right?

09:29   17     A.    Correct.

09:29   18     Q.    What changes have been made over time?

09:29   19           I'd like you to look at Revision C --

09:29   20     A.    Uh-huh.

09:29   21     Q.    -- which was in 2016.

09:29   22           Do you see that?

09:29   23     A.    Yes, I do.

09:29   24     Q.    And you see that Revision C of this exhibit is

09:29   25     converted to Akoustis document.
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                                                                 Page 706 of 2283
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                                      Aichele    - Redirect

09:29   1            Do you see that?

09:29   2      A.    Yes, I do.

09:29   3      Q.    Thank you.    Put that one down.

09:30   4            Okay.   If we could pull up PTX-718.

09:30   5            We are going to work on figuring out what the trial

09:30   6      exhibit number is.     I apologize on this one.

09:30   7            Mr. Aichele, I believe you testified in response to

09:30   8      Mr. Elkins, you mentioned that there was NDA between Qorvo

09:30   9      and Akoustis; is that correct?

09:30   10     A.    Correct.

09:30   11     Q.    And that's because at a point in time Qorvo was

09:30   12     considering purchasing a product from Akoustis, right?

09:30   13     A.    Considering -- we engaged with Akoustis to develop

09:30   14     products.

09:30   15     Q.    Okay.   And that would have required, if Qorvo were to

09:30   16     purchase a 5 gigahertz filter from Akoustis, the exchange

09:31   17     of information between the two parties, right?

09:31   18     A.    Correct.

09:31   19     Q.    So when Qorvo wanted to obtain information from

09:31   20     Akoustis, and share information with Akoustis, Qorvo

09:31   21     executed an NDA with you, correct?

09:31   22     A.    Correct.

09:31   23     Q.    It didn't go to third parties in the market to ask

09:31   24     for your confidential information, right?

09:31   25     A.    Correct.
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                                      Aichele    - Redirect

09:31   1      Q.    And I don't think you meant to suggest that when

09:31   2      Mr. Houlden sent you Qorvo's confidential statement of

09:31   3      work from his personal e-mail address, that you thought he

09:31   4      was sharing that under an NDA, did you?

09:31   5      A.    No.    I don't imply that, no.

09:31   6      Q.    Okay.    Now, I'm going to backtrack to yesterday, if

09:31   7      we can remember there.       Mr. Elkins asked you a number of

09:31   8      questions about some of the documents that I showed you

09:31   9      during my examination.

09:31   10           Do you recall that?

09:31   11     A.    Yes.

09:31   12     Q.    And he ran through them and he asked you, Was any of

09:31   13     this information useful to Akoustis?

09:31   14           Do you remember that?

09:31   15     A.    Yes.

09:31   16     Q.    And I think your testimony yesterday was,

09:32   17     essentially, none of this information was useful to

09:32   18     Akoustis; is that right?

09:32   19     A.    Generally, yes.

09:32   20     Q.    Okay.    Could you pull up -- or I will hand to you

09:32   21     Exhibit 27, which is PTX-569.

09:32   22                   MR. DeFOSSE:   May I approach, Your Honor?

09:32   23                   THE COURT:   You may.

09:32   24     BY MR. DeFOSSE:

09:32   25     Q.    Okay.    You recall this was one of the documents we
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1034PageID
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                                      Aichele    - Redirect

09:32   1      looked at yesterday, right?

09:32   2      A.    Correct.

09:32   3      Q.    And this is a November 2020 Wi-Fi roadmap for Qorvo,

09:32   4      right?

09:32   5      A.    Correct.

09:32   6      Q.    And I believe Mr. Elkins asked you about this

09:32   7      yesterday, and you said this document, quote, Was not

09:32   8      particularly useful; is that right?

09:32   9      A.    I think I grouped it in, you know, all the documents

09:32   10     that we walked through.

09:33   11     Q.    Now, I'd like to look at what you actually said back

09:33   12     in 2020.

09:33   13                   MR. DeFOSSE:   May I approach, Your Honor?

09:33   14                   THE COURT:   You may.

09:33   15     BY MR. DeFOSSE:

09:33   16     Q.    Okay.   Mr. Aichele, I've handed you what's been

09:33   17     marked previously as Exhibit 134.        This is PTX-623.     And I

09:34   18     think you'll remember, this is one of the emails that we

09:34   19     looked at yesterday, right?

09:34   20     A.    Correct.

09:34   21     Q.    And this is the one where you had the orange

09:34   22     commentary in it, right?

09:34   23     A.    Correct.

09:34   24     Q.    Okay.   And contrary to your testimony yesterday, if

09:34   25     we look on Page 2, and we zoom in on the orange -- the
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                                      Aichele    - Redirect

09:34   1      last orange entry below the "in meeting."

09:34   2            Back in 2020, when you were discussing the usefulness

09:34   3      of Qorvo's Wi-Fi roadmap, you actually said, "Thank you.

09:34   4      It will be very helpful if I can get Qorvo's Wi-Fi

09:34   5      information"; is that right?

09:34   6      A.    Yes.

09:34   7      Q.    Okay.   Now I'd like you to pull out what's been

09:34   8      marked for identification as PTX-0565.        This is an e-mail

09:35   9      from Steven Li to yourself and Colin Hunt; is that right?

09:35   10     A.    Correct.

09:35   11     Q.    Okay.   And the date of this -- we have not moved this

09:35   12     in yet.

09:35   13                   MR. DeFOSSE:   Your Honor, we would offer --

09:35   14     plaintiffs would offer Exhibit 0565 into evidence.

09:35   15                   THE COURT:   Marked and received as 160.

09:35   16           (Trial Exhibit No. 160 was admitted into evidence.)

09:35   17     BY MR. DeFOSSE:

09:35   18     Q.    Now, Mr. Aichele, Exhibit 160 is an e-mail from

09:35   19     Mr. Li to yourself and Mr. Hunt from 2021; is that right?

09:35   20     A.    Correct.

09:35   21     Q.    Okay.   And you see that there's an attachment to this

09:35   22     e-mail?

09:35   23     A.    Correct.

09:35   24     Q.    Okay.   And I've handed you that, which has been

09:35   25     marked for identification as PTX-0566, and that's
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1036PageID
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                                            #: 40681
                                      Aichele    - Redirect

09:35   1      previously been entered into evidence as Exhibit 25 in

09:35   2      this case.

09:35   3            You would agree with me that this is a Qorvo data

09:35   4      sheet that's been watermarked as "Confidential, NDA

09:35   5      Required"?

09:35   6      A.    Yes, correct.

09:36   7      Q.    Now, I'd like you to return to Exhibit 160, which is

09:36   8      the cover e-mail.     And I'd like you to turn to Page 4.

09:36   9      And you see there's a Line D -- Letter D, thank you.           And

09:36   10     here -- this is in Mr. Li's e-mail to yourself -- he's

09:36   11     saying, "Please also find detailed BAW diplexer on Page 2

09:36   12     inside the Qorvo Wi-Fi presentation."

09:36   13           Do you see that?

09:36   14     A.    Yes, I do.

09:36   15     Q.    And then if you look at the next page, Page 3.

09:36   16     There's your response to Mr. Li's original e-mail to

09:36   17     yourself.

09:36   18           Do you see that?

09:37   19     A.    That's from Steven.

09:37   20     Q.    Yep.   We may have to go up to the e-mail above that.

09:37   21     Thank you.    And your response to him was, "Thank you for

09:37   22     the updated information.      Very helpful"; is that right?

09:37   23     A.    Yes.

09:37   24     Q.    Now, you remember Mr. Elkins also asked you whether

09:37   25     Qorvo's -- the confidential information you obtained about
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                                      Aichele    - Redirect

09:37   1      Qorvo's automotive products was helpful to you.

09:37   2            Do you remember that?

09:37   3      A.    Yes.

09:37   4      Q.    And your response was that it was not helpful, right?

09:37   5      A.    I think my response was that we were not focused on

09:37   6      the automotive market.

09:37   7      Q.    And so that information wasn't useful to you?

09:37   8      A.    Yes, at the time.

09:38   9                    MR. DeFOSSE:   Your Honor, may I approach?

09:38   10                   THE COURT:   You may.

09:38   11     BY MR. DeFOSSE:

09:38   12     Q.    Mr. Aichele, I'd, again, like to look back at your

09:38   13     statements as to the usefulness of information at the time

09:38   14     it was sent.      We're going to start with what's been marked

09:38   15     previously as Exhibit 139, and that's on your copy,

09:38   16     PTX-1100.     This is the e-mail from Mr. Kim that was

09:39   17     sending you the confidential Qorvo presentation.

09:39   18           Do you recognize that?

09:39   19     A.    Yes, I do.

09:39   20     Q.    Okay.   Next we're going to go to PTX-1062.        This is

09:39   21     previously been marked as Exhibit 138.        And at the top you

09:39   22     see your response to Mr. Kim at the time:         "Thanks, SJ.

09:39   23     We are working on the CV2X filter, and this simulation

09:39   24     will be very helpful," right?

09:39   25     A.    Yes.
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                                      Aichele    - Redirect

09:39   1      Q.    And then if we can go to what's been marked as

09:39   2      Exhibit 154.      Sorry.   That's for identification 154,

09:39   3      exhibit in this case 121.       It's PTX-154.     Thank you.

09:39   4            You see at the top if we can zoom in.        This is an

09:40   5      e-mail to yourself from yourself to Rama Vetury and Rohan

09:40   6      Houlden.

09:40   7            Do you see that?

09:40   8      A.    Yes, I do.

09:40   9      Q.    You see that you're attaching the confidential data

09:40   10     sheet Mr. Kim sent you, right?

09:40   11     A.    Yes, I do.

09:40   12     Q.    And you note in the first paragraph that attached is

09:40   13     an Qorvo competitive simulation for their CV2X design,

09:40   14     right?

09:40   15     A.    Correct.

09:40   16     Q.    And based on that, you updated the target spec table.

09:40   17           Do you see that?     It's the words we just highlighted.

09:40   18     A.    I updated the spec table, as I state there that

09:40   19     information from Audi, and then also comparing from Qorvo.

09:40   20     Q.    And the target spec table that you are talking about

09:40   21     was the target spec table for the Akoustis product that

09:40   22     was under development?

09:40   23     A.    It was a spec table to give to engineering.          To give

09:40   24     to them to -- it wasn't, as I mentioned, the product that

09:40   25     we were developing was more in the R&D phase.
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                                      Aichele    - Redirect

09:40   1      Q.    Okay.   And this is why you told -- why you first

09:41   2      asked Mr. Kim to get the additional confidential

09:41   3      information for you, right?

09:41   4      A.    I didn't ask him to get confidential information.           I

09:41   5      asked him to share with me what he could on the part that

09:41   6      he could obtain.

09:41   7      Q.    Okay.   But I'm talking about the one where he sent

09:41   8      you, if you recall, the confidential Qorvo presentation,

09:41   9      and you said could you please get me additional pages of

09:41   10     that?   Do you remember that?

09:41   11     A.    Yes.

09:41   12     Q.    And so when you said to Mr. Kim when he followed your

09:41   13     instruction, "Thank you; this is very helpful," it was

09:41   14     very helpful because you were using it to update your

09:41   15     target spec table for the product that you had under

09:41   16     development?

09:41   17     A.    It was very helpful.     You know, obviously, comparing

09:41   18     a competitor that was, you know, leading in the market at

09:41   19     the time against, obviously, a technical exchange we had

09:41   20     with AUDI as you can see here, but, again, it was only

09:41   21     being used as an R&D phase.       We were not investing in the

09:41   22     automotive market.

09:42   23     Q.    Now, Mr. Aichele, when Mr. Elkins was examining you

09:42   24     earlier today, you had an explanation of all the work you

09:42   25     were out doing in the market in order to figure out what
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                                      Aichele    - Redirect

09:42   1      products to develop for Akoustis.

09:42   2            Do you recall that?

09:42   3      A.    Yes.

09:42   4      Q.    Visiting customers and things like that.

09:42   5            Do you recall that you were also out in the market at

09:42   6      that time in 2016, seeking confidential information about

09:42   7      Qorvo?

09:42   8      A.    I was not seeking confidential information about

09:42   9      Qorvo.

09:42   10     Q.    Mr. Aichele, are you familiar with a company called

09:42   11     RFMW?

09:42   12     A.    Yes, I am.

09:42   13     Q.    And RFMW is a distributer; is that right?

09:42   14     A.    Correct.

09:42   15     Q.    And is a distributer, in particular, who works with,

09:42   16     among other companies, Qorvo?

09:42   17     A.    Correct.

09:42   18     Q.    And, therefore, has access to confidential Qorvo

09:42   19     information?

09:42   20     A.    I would assume so; you'd have to ask them.

09:43   21     Q.    Okay.

09:43   22                   MR. DeFOSSE:   Sorry about the delay there.

09:43   23                   Your Honor, may I approach?

09:43   24                   THE COURT:   You may.

        25
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                                            #: 40686
                                      Aichele    - Redirect

09:44   1      BY MR. DeFOSSE:

09:44   2      Q.    Mr. Aichele, I've handed you what's been marked for

09:44   3      identification as PTX-0470 and 0471.        0470 is an e-mail

09:44   4      from a Steve Takaki to yourself; is that right?

09:44   5      A.    Correct.

09:44   6      Q.    And 0471 is the attachment to that e-mail?

09:44   7      A.    It appears so, yes.

09:44   8                   MR. DeFOSSE:    Your Honor, plaintiffs would

09:44   9      offer into evidence PTX-0470 and 0471.

09:44   10                  THE COURT:    Marked and received as 161 and 162.

09:44   11                  (Trial Exhibit Nos. 161 and 162 were admitted

09:44   12     into evidence.)

09:44   13     BY MR. DeFOSSE:

09:44   14     Q.    All right.    First, I'd like to start with the date.

09:44   15     Mr. Aichele, do you see the top e-mail is from

09:44   16     September 2016; is that right?

09:45   17     A.    Correct.

09:45   18     Q.    And if we can actually, then, move, I'd like to look

09:45   19     at the e-mail that starts at bottom of the first page.

09:45   20     All the way at the bottom.       It's July 14, 2016, from

09:45   21     yourself to Mr. Takaki.

09:45   22           Do you see that?

09:45   23     A.    Yes, I do.

09:45   24     Q.    It carries over to the next page where you said two

09:45   25     items.   And Item Number 2 is, "You still planning to send
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1042PageID
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                                      Aichele    - Redirect

09:45   1      me the Qorvo BAW data spreadsheet that we reviewed?"

09:45   2            Do you see that?

09:45   3      A.    Correct.

09:45   4      Q.    And now if we zoom back out and go to the first page

09:45   5      of this document.     You see that he's attached an Excel

09:45   6      spreadsheet that's BAW.XLSX, right?

09:45   7      A.    Yes.

09:45   8      Q.    If you could look at Exhibit 471, this is a

09:45   9      spreadsheet that's listing Qorvo sales; is that right?

09:46   10     A.    Yes, it is.

09:46   11     Q.    And this is confidential information, right?

09:46   12     A.    I believe so, yes.

09:46   13     Q.    And you were requesting this information from

09:46   14     Mr. Takaki because you were trying to determine whether

09:46   15     there was a niche in the market that Akoustis could move

09:46   16     into, right?

09:46   17     A.    Yeah.   It was not this specific document that I was

09:46   18     pursuing.     It was in the discussions review that we had

09:46   19     with RFMW that they have a design registration process

09:46   20     that they follow, which I believe are RFMW documents that

09:46   21     basically highlighted opportunities that Qorvo was

09:46   22     struggling to service the existing customers that RFMW was

09:46   23     servicing, and so RFMW was bringing to us what I believed

09:46   24     were design opportunities that we could propose Akoustis

09:46   25     solutions for.
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09:46   1                   MR. DeFOSSE:    Okay.    If we could go back real

09:46   2      quick to Exhibit 4770.      And look at the top of Page 2.

09:46   3      BY MR. DeFOSSE:

09:47   4      Q.    So when you said, "You still planning on sending me

09:47   5      the Qorvo BAW spreadsheet that we reviewed?", you're not

09:47   6      suggesting that that was a different Qorvo BAW spreadsheet

09:47   7      than the one he actually sent you, are you?

09:47   8      A.    My recollection, yes, I am.

09:47   9            This spreadsheet he said adds no value to us, and it

09:47   10     gives nothing detail-wise as far as from a customer

09:47   11     standpoint.

09:48   12                  MR. DeFOSSE:    Your Honor, may I approach?

09:48   13                  THE COURT:    You may.

09:48   14     BY MR. DeFOSSE:

09:48   15     Q.    Mr. Aichele, I've handed you what's been marked for

09:48   16     identification as PTX-0 -- sorry, 1012.           Would you agree

09:48   17     with me that this is an e-mail from Mr. Li to yourself in

09:48   18     March of 2020?

09:48   19     A.    Correct.

09:48   20                  MR. DeFOSSE:    Your Honor, plaintiffs would

09:48   21     offer into evidence PTX-1012.

09:48   22                  THE COURT:    Marked and received as 163.

09:48   23                  (Trial Exhibit No. 163 was admitted into

09:48   24     evidence.)

        25
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09:48   1      BY MR. DeFOSSE:

09:48   2      Q.    Okay.   If we look at the top of Exhibit 163,

09:49   3      Mr. Aichele, you have a message from Mr. Li to yourself,

09:49   4      and he's attaching a Qorvo 1903 PDF.

09:49   5            Do you see that?

09:49   6      A.    Yes, I do.

09:49   7      Q.    And if you look at the attachment to Exhibit 163 --

09:49   8      this is Page 3 -- that's the confidential Qorvo NDA

09:49   9      required data sheet we talked about yesterday, right?

09:49   10     A.    Correct.

09:49   11     Q.    Now, if we go back to the first page of Exhibit 163,

09:49   12     Mr. Li says to you in the last or the third line of his

09:49   13     top e-mail, "I'm searching the spec of 1904 in my

09:49   14     resource."

09:49   15           Do you see that?

09:49   16     A.    Correct.

09:49   17     Q.    And you understood that to mean that Mr. Li was also

09:49   18     attempting to obtain for you the confidential data sheet

09:49   19     for Qorvo's QPQ1904 product, right?

09:50   20     A.    Not -- you know, again, I will reiterate that, not

09:50   21     asking him to get the confidential, but that he is

09:50   22     searching his resources to see if we can get a QPQ1904

09:50   23     part, yes.

09:50   24     Q.    You knew at this time that the data sheets for the

09:50   25     QPQ1903 and QPQ1904 were confidential, right?
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09:50   1      A.    They were marked confidential, yes.

09:50   2      Q.    And you affirmatively asked him to go out in the

09:50   3      market and see if he could find someone willing to share

09:50   4      confidential information with Akoustis?

09:50   5      A.    Again, when it's marked confidential doesn't mean

09:50   6      that it's, you know, not public, in the public domain.

09:50   7      So, you know, there are ways that they do find information

09:50   8      in Asia and China what is in the public domain.          So I

09:50   9      didn't ask him to go find confidential information.           I was

09:50   10     trying to get more information on certain competitive

09:50   11     parts.

09:50   12     Q.    Okay.   Now, you also asked SJ Kim to obtain that

09:50   13     confidential information for you too; is that right?

09:50   14     A.    Are you referring to something specific?

09:50   15     Q.    Well, you remember SJ Kim is the gentleman we

09:51   16     discussed yesterday who was using his expense account to

09:51   17     get things; do you recall him?

09:51   18     A.    He was using expense accounts to meet with, you know,

09:51   19     industry partners, yes.

09:51   20     Q.    Okay.   And you also asked him to obtain for you the

09:51   21     confidential data sheets for Qorvo's 5 gigahertz products,

09:51   22     right?

09:51   23     A.    I can't remember the specific e-mail you are

09:51   24     referencing or discussing, but, yes, I'm sure there was an

09:51   25     inquiry there.
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09:51   1      Q.    Okay.    If you could look at what's been marked for

09:51   2      identification as PTX-0527.

09:51   3            This is an e-mail from Mr. Kim to yourself in April

09:51   4      of 2020; is that right?

09:51   5      A.    Yes, it is.

09:51   6      Q.    And then it has two attachments to that.         Do you see

09:51   7      that?

09:51   8      A.    Yes, I do.

09:51   9                    MR. DeFOSSE:   Which have been marked for

09:51   10     identification as PTX-0528 and 0529.

09:51   11                   THE COURT:   Marked and received as 164 and 165.

09:51   12                   (Trial Exhibit Nos. 164 and 165 were admitted

09:51   13     into evidence.)

09:52   14                   MR. DeFOSSE:   And, Your Honor, we would also

09:52   15     move for the admission of PTX-0527.

09:52   16                   THE COURT:   166 marked and received.

09:52   17                   (Trial Exhibit No. 166 was admitted into

09:52   18     evidence.)

09:52   19                   MR. DeFOSSE:   Thank you, Your Honor.

09:52   20     BY MR. DeFOSSE:

09:52   21     Q.    And, Mr. Aichele, if we look at the bottom of the

09:52   22     first page of this e-mail, you can see there's a message

09:52   23     from yourself to Mr. Kim; is that right?

09:52   24     A.    Yes, I do see that.

09:52   25     Q.    And you say, "Any information and samples would be
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09:52   1      appreciated."

09:52   2            Do you see that?

09:52   3      A.    Correct.

09:52   4      Q.    And you reference the two Qorvo 5 gigahertz BAW

09:52   5      filters?

09:52   6      A.    Yes, I do.

09:52   7      Q.    And by "samples," that meant you were also attempting

09:52   8      to obtain physical samples of those prototypes, right?

09:52   9      A.    Yes.    It appears so, yes.

09:52   10     Q.    And if we zoom back out and go to the top of this

09:52   11     e-mail, Mr. Kim has attached for you the two confidential

09:52   12     data sheets that were you asking for.        And he says, "I'm

09:53   13     still trying to have those samples"; is that right?

09:53   14     A.    Yes.    It appears so, yes.

09:53   15     Q.    Now, do you recall whether Akoustis was able to

09:53   16     obtain the samples of Qorvo's prototypes?

09:53   17     A.    I believe at some point we were able to receive the

09:53   18     samples, but I'm not sure with respect to this on timing.

09:53   19     Q.    Okay.    And you received those samples by borrowing

09:53   20     them from a customer?

09:53   21     A.    That could have been one means.       But it could have

09:53   22     been also through a, you know, through a distributer that

09:53   23     was managing Qorvo or that Qorvo was utilizing.

09:53   24                   MR. DeFOSSE:   Your Honor, may I approach?

09:54   25                   THE COURT:   You may.
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                                      Aichele    - Redirect

09:54   1      BY MR. DeFOSSE:

09:54   2      Q.    Mr. Aichele, I've handed you what's been marked as

09:54   3      PTX-1042 for identification, as well as PTX- -- okay, as

09:54   4      well as two additional documents.        One at the top says,

09:54   5      "Qorvo QPF 7552," and the other one says, "QPF7551"; is

09:55   6      that right?

09:55   7                    THE WITNESS:   Yes, it appears so.

09:55   8

09:55   9      BY MR. DeFOSSE:

09:55   10     Q.    PTX-1042 is an e-mail from yourself to the CEO Jeff

09:55   11     Shealy; is that right?

09:55   12     A.    Um --

09:55   13     Q.    Or, sorry, from Mr. Shealy to yourself.

09:55   14     A.    Appears so, yes.

09:55   15                   MR. DeFOSSE:   Your Honor, we would offer into

09:55   16     evidence PTX-1042.

09:55   17                   THE COURT:   Marked and received as 167.

09:55   18                   (Trial Exhibit No. 167 was admitted into

09:55   19     evidence.)

09:55   20     BY MR. DeFOSSE:

09:55   21     Q.    And you see Mr. Shealy's message to you is, "Got it,"

09:56   22     but we need to look at the e-mail below that to see what

09:56   23     he's got, I think.     But you see that you've attached to

09:56   24     him two Qorvo data sheets?

09:56   25     A.    Yes, it appears so.
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09:56   1      Q.    And then if you look at the two additional exhibits I

09:56   2      gave you, the QPF7552, and QPF7551, do those appear to the

09:56   3      data sheets that you sent to him?

09:56   4      A.    It appears so, yes.

09:56   5                    MR. DeFOSSE:   Your Honor, plaintiffs would move

09:56   6      into evidence QPF7552 and QPF7551.

09:56   7                    THE COURT:   Marked as received add 168 and 169.

09:56   8                    (Trial Exhibit Nos. 168 and 169 were admitted

09:56   9      into evidence.)

09:56   10     BY MR. DeFOSSE:

09:56   11     Q.    Mr. Aichele, you would agree with me that the two

09:56   12     data sheets that were just entered into evidence as

09:56   13     Exhibit 168 and 169 are both marked as preliminary data

09:56   14     sheets in the top right-hand corner?

09:56   15     A.    Yes, it appears so.

09:56   16     Q.    Okay.    And both of these are also marked as private,

09:57   17     correct?

09:57   18     A.    Yes, it appears so.

09:57   19     Q.    Now, I just want to clear up -- I'm going to switch

09:57   20     gears now and talk about single crystal for a minute.

09:57   21           You testified earlier that Akoustis had invested and

09:57   22     was engaged in research and development with single

09:57   23     crystal products; is that right?

09:57   24     A.    Correct.

09:57   25     Q.    As of September of 2023, Akoustis had never reached
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09:57   1      commercial production with any single crystal product,

09:57   2      right?

09:57   3      A.    Correct.

09:57   4      Q.    You also testified that Akoustis believed that its

09:57   5      single crystal products were beneficial because they could

09:57   6      achieve higher power handling; is that right?

09:57   7      A.    Correct.

09:57   8      Q.    Now, you are aware that test results showed that that

09:57   9      was not accurate, right?

09:57   10     A.    No.

09:58   11                  MR. DeFOSSE:    Your Honor, may I approach?

09:58   12                  THE COURT:    You may.

09:58   13     BY MR. DeFOSSE:

09:58   14     Q.    Mr. Aichele, I've handed you what's been marked for

09:58   15     identification as PTX-0605 and PTX-0606.          PTX-0605 is an

09:58   16     e-mail to yourself from a person named Takeshi Nakao; is

09:59   17     that right?

09:59   18     A.    Correct.

09:59   19     Q.    And PTX-0606 is an attachment to Mr. Nakao's e-mail

09:59   20     to yourself, right?

09:59   21     A.    Correct.

09:59   22                  MR. DeFOSSE:    Your Honor, plaintiffs would

09:59   23     offer into evidence PTX-0605 and 0606.

09:59   24                  THE COURT:    Marked and received as 170 and 171.

09:59   25                  (Trial Exhibit Nos. 170 and 171 were admitted
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                                      Aichele    - Redirect

09:59   1      into evidence.)

09:59   2      BY MR. DeFOSSE:

09:59   3      Q.    Mr. Aichele, Mr. Takeshi is an employee of a company

09:59   4      called Murata; is that right?

09:59   5      A.    Correct.

09:59   6      Q.    And Murata is a company that Akoustis was seeking to

09:59   7      engage in a business relationship with, right?

09:59   8      A.    Correct.

09:59   9      Q.    And as part of the efforts to engage Murata, Akoustis

09:59   10     sent that company samples of both its polycrystalline

09:59   11     filters and its single crystal filters, right?

09:59   12     A.    Correct.

09:59   13     Q.    And you understood that the purpose of sending those

10:00   14     to Murata was so that Murata could run a test comparing

10:00   15     the two, right?

10:00   16     A.    Correct.

10:00   17     Q.    If we look at the top email from Mr. Takeshi to

10:00   18     yourself, in the third paragraph, he's reporting on the

10:00   19     results of Murata's testing of the power handling of

10:00   20     Akoustis' filters, right?

10:00   21     A.    Correct.

10:00   22     Q.    And he says, "About the power handling, we could not

10:00   23     confirm the obviously difference between the previous

10:00   24     sample, (nonEpi), and this sample (Epi)."

10:00   25           Do you see that?
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10:00   1      A.     Yes, that is his statement.

10:00   2      Q.     And when it says, "nonEpi" and "Epi," Epi is the

        3      single crystal version of the product; is that right?

10:00   4      A.     Correct.

10:00   5      Q.     And nonEpi is the poly crystal version of the

10:00   6      product, right?

10:00   7      A.     Correct.

10:00   8      Q.     Now, if we look at the attachment, which has been

10:00   9      marked as Exhibit 171.

10:00   10            This is the evaluation report that Mr. Takeshi sent

10:00   11     to you?

10:00   12     A.     Correct.

10:00   13     Q.     And if we could turn to the power handling section of

10:01   14     that report, which starts on Page 10.

10:01   15            See, this is where Murata is giving you the results

10:01   16     of the power handling tests.       And if we go to Page 11,

10:01   17     Mr. Takeshi, again, says, "The Epi sample result is worse

10:01   18     than the nonEpi one," right?

10:01   19     A.     That is his statement, yes.

10:01   20     Q.     That's all I have.    Thank you, Mr. Aichele.

10:01   21                  MR. ELKINS:    I have follow-up questions if I

10:01   22     may.

10:01   23                  THE COURT:    Under Rule 611, the examination

10:02   24     should be concluded.      I will allow you a couple of

10:02   25     minutes, which is extra, but there may be a chance for
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10:02   1      additional cross by Mr. DeFosse.       And only a couple of

10:02   2      minutes.   This is under Rule 611, we should be concluded.

10:02   3                   MR. ELKINS:    I appreciate it.

10:02   4                   THE COURT:    Sure.

10:02   5      BY MR. ELKINS:

10:02   6      Q.    Mr. Aichele --

10:02   7                   MR. ELKINS:    And if we could have Exhibit 157

10:02   8      up, which was PTX-580.      I want to go back to -- or, excuse

10:02   9      me, DTX-580.      Go to the last page, please, Mr. Brown.

10:02   10     BY MR. ELKINS:

10:02   11     Q.    Mr. Aichele, who is Pat Lewis?

10:02   12     A.    Pat Lewis was one of the first employees at Akoustis,

10:02   13     and he had many responsibilities because we were smaller

10:02   14     at the time, but he was responsible for quality test

10:02   15     setups; QMS, which is document control; and so forth.

10:03   16     Q.    Was he former Qorvo employee?

10:03   17     A.    No, he was not.

10:03   18     Q.    Was he a former RFMW employee?

10:03   19     A.    No, he was not.

10:03   20     Q.    Is it your understanding in Row C that "converted to

10:03   21     Akoustis document" means it was converted from a Qorvo

10:03   22     document to an Akoustis document?

10:03   23     A.    No, that's not my understanding at all.

10:03   24     Q.    Mr. DeFosse was cross-examining you about your

10:03   25     comments to Mr. Li and Mr. Kim about things that are
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10:03   1      helpful.

10:03   2             Is there a difference in a document being helpful for

10:03   3      business intelligence gathering versus designing a

10:03   4      product?

10:03   5      A.     Yes, absolutely.     And I think that was -- my

10:03   6      statement there is that it was helpful in collecting

10:03   7      competitive analysis, but it did not, then, in any way

10:03   8      influence or change our strategies and our investments.

10:03   9      You know, it's really the summary I was trying arrive at

10:04   10     yesterday, I provided yesterday.

10:04   11                  MR. ELKINS:     Okay.   No more questions.      Thank

10:04   12     you.

10:04   13                  MR. DeFOSSE:     We don't have anything else.

10:04   14                  THE COURT:     Thank you very much.      We will let

10:04   15     you step.

10:04   16                  Do you know who will our next witness be?

10:04   17                  I understand this will be by deposition.          Okay.

10:04   18                  MR. MASTERS:     Good morning, Your Honor.       The

10:04   19     plaintiff will call next Colin Hunt, who is a president of

10:04   20     global sales for Akoustis.        This will be by video

10:04   21     deposition.

10:04   22                  THE COURT:     Ladies and gentlemen, this is a

10:04   23     deposition.       It will be the only chance that you will have

10:04   24     to see this testimony.       It's just like the witness is here

10:04   25     with us in person.
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                                 Hunt - Deposition

10:04   1                   Please proceed.

10:04   2                    (Deposition designation of Colin Hunt plays as

10:04   3                    follows:

10:04   4      BY MR. GILL:

10:04   5      Q.    Can you please state your full name for the record?

10:04   6      A.    Yes.   It's Colin Leslie Hunt.

10:04   7      Q.    Who is your current employer?

10:04   8      A.    Akoustis.

10:04   9      Q.    When did you begin working with Akoustis.

10:04   10     A.    Three years ago, approximately.

10:04   11     Q.    What's your job title?

10:04   12     A.    I'm VP of global sales.

10:05   13     Q.    Has that been your title since you joined the

10:05   14     company?

10:05   15     A.    Correct.

10:05   16     Q.    And what is your goal in that title?

10:05   17     A.    I support customers.     I'm promoting products into

10:05   18     customers to gain as many sales as we can.

10:05   19     Q.    At some point did you work for RFMD?

10:05   20     A.    Yes, I did.

10:05   21     Q.    Do you remember what years that was?

10:05   22     A.    I don't remember the exact years.       I thought it was

10:05   23     for around about five or six years, I think.

10:05   24     Q.    Were you in sales at RFMD?

10:05   25     A.    Yes, I was looking out for European team.
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                                 Hunt - Deposition

10:05   1      Q.    How would you go about getting competitors' data

10:05   2      sheets?

10:05   3      A.    So they're either available on the web, or some

10:05   4      customers would provide that to you to support activities

10:05   5      such as application engineering.

10:05   6      Q.    Can you explain what you mean by that.

10:05   7      A.    Yes.    So in particular, relating to Qorvo and

10:05   8      Akoustis, so what happens is that the customer does a

10:06   9      build, and then they fine-tune that build.        To fine tune

10:06   10     that build, the product -- the PCB is then sent to either

10:06   11     Akoustis or to Qorvo or to both parties, and the data

10:06   12     sheets are used to make them all work together in

10:06   13     conjunction most efficiently.

10:06   14     Q.    To make what all work together?

10:06   15     A.    The RF, transmit receive chain.

10:06   16     Q.    So a customer's PCB might include parts from Akoustis

10:06   17     and parts from --

10:06   18     A.    Correct.

10:06   19     Q.    -- Qorvo to make those are parts work together the

10:06   20     PCB and data sheets are provided to each company?

10:06   21     A.    Correct.

10:06   22     Q.    Okay.    If a -- if the PCB includes only Qorvo parts

10:06   23     and not Akoustis parts, would the customer send the PCB to

10:06   24     Akoustis?

10:06   25     A.    No.    There's no need for it.    We don't offer a
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                                            #: 40702 Designation
                                 Hunt - Deposition

10:07   1      service.

10:07   2      Q.    Would the customer send the data sheet to Akoustis in

10:07   3      that case?

10:07   4      A.    For tuning purposes, no, if it was all Qorvo parts.

10:07   5      Q.    Is there some other purpose why the customer would

10:07   6      send the data sheet to Akoustis, if you know?

10:07   7      A.    Yes, when they want a second source.

10:07   8      Q.    Meaning they want Akoustis to provide a part --

10:07   9      A.    Alternative product.

10:07   10     Q.    Okay.   Mr. Hunt, you've been handed three documents

10:07   11     marked Exhibits 613, 614, and 615.       Going to Exhibit 613,

10:07   12     this is an e-mail involving you and Dave Aichele, and then

10:07   13     further down the thread Steven Li, correct?

10:07   14     A.    Yes.

10:07   15     Q.    Who is Steven Li?

10:08   16     A.    Steven Li used to be the China sales manager.

10:08   17     Q.    And did he report to you --

10:08   18     A.    Yes.

10:08   19     Q.    And can you tell us who Dave Aichele?

10:08   20     A.    Dave Aichele is my boss who I report into.

10:08   21     Q.    Were the three of you working together in -- in sales

10:08   22     among other things?

10:08   23     A.    Sales and marketing, yes.

10:08   24     Q.    Do you recognize this e-mail thread?

10:08   25     A.    Having seen it, yes.
        Case 1:21-cv-01417-JPM                                              1058PageID
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10:08   1      Q.    -- Steven Li e-mailed you with some comments about

10:08   2      Akoustis' filters, correct?

10:08   3      A.    Yes, correct.

10:08   4      Q.    And one of things he said kind of halfway down his

10:08   5      e-mail is "When I promote our 1252 and 1256 to our

10:08   6      potential Wi-Fi customers, I often met the complaint from

10:08   7      our customer our rejection is marginal," correct?

10:08   8      A.    Correct.

10:08   9      Q.    What are 1252 and 1256?

10:08   10     A.    They are our first 5 low, 5 high Wi-Fi 6 filters.

10:09   11     Q.    I thought he was saying the rejection of the filter

10:09   12     was not very good?

10:09   13     A.    That's incorrect.     It was good enough for that time,

10:09   14     but the improvement is always there, and that's what we're

10:09   15     trying to do with the 10252 and 10256.

10:09   16     Q.    So then why was the customer complaining that the

        17     rejection was very marginal?

10:09   18     A.    Rejection was marginal, so it's marginal.        So it's 40

10:09   19     to 50 plus 20 to 25 for the antenna, which is marginal.

10:09   20     Ideally, they want 75.      Ideally, they want infinity.      But

10:09   21     75 is the budget.

10:09   22     Q.    Okay.   And is he saying the customers didn't think

10:09   23     Akoustis' rejection was good enough?        Is that what he's

10:09   24     saying?

10:09   25     A.    Well, the incumbent is a dielectric resonator, which
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10:09   1      is very high rejection, 55 to 60dB often is the case.          So

10:09   2      that's why he's probably saying it's marginal compared to

10:10   3      that.

10:10   4      Q.    And then down at the bottom of his e-mail, Mr. Li

10:10   5      says, "I also attached the data sheet of Qorvo part, and

10:10   6      you can see their rejection is more impressive."

10:10   7            Do you see that?

10:10   8      A.    Yes, I do.

10:10   9      Q.    Then going up, you forwarded this e-mail to

10:10   10     Mr. Aichele on June 10, 2020 --

10:10   11     A.    Yeah.

10:10   12     Q.    -- and attach two files, correct?

10:10   13     A.    The two files, yeah.

10:10   14     Q.    Were those two filters that Akoustis was competing

10:10   15     with for sales?

10:10   16     A.    I would say the other way around because we already

10:10   17     had 1252 and 1256.     So Qorvo were starting their

10:10   18     development of these two filters to compete with our

10:10   19     parts.

10:10   20     Q.    Okay.   Let's look at the attachments to your e-mail.

10:10   21     So Exhibit 614 is one of the attachments to your e-mail,

10:11   22     and it's a data sheet for the QPQ1903, correct?

10:11   23     A.    Yes.

10:11   24     Q.    How did you get this data sheet before you forwarded

10:11   25     it to Mr. Aichele?
        Case 1:21-cv-01417-JPM                                              1060PageID
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                                            #: 40705 Designation
                                 Hunt - Deposition

10:11   1      A.    The bottom of the 613 it says I also attached the

10:11   2      data sheets.

10:11   3      Q.    So you got from it from Mr. Li?

10:11   4      A.    Correct.

10:11   5      Q.    Do you know how he got it?

10:11   6      A.    I do not.

10:11   7      Q.    The data sheet up at the top right-hand corner is

10:11   8      marked preliminary, correct?

10:11   9      A.    Yes.

10:11   10     Q.    What's your understanding of what "preliminary" means

10:11   11     in this context?

10:11   12     A.    First offering.

10:11   13     Q.    First offering?    What do you mean by that?

10:11   14     A.    First idea of a specification to a customer.

10:11   15     Q.    So is it a product that's still under development in

10:11   16     your understanding?

10:11   17     A.    Reading this, yes, that's what I'm saying because it

10:12   18     also says, "subject to change" at the bottom.

10:12   19           There's no confidential markings on this and

10:12   20     customers send this sort of material to us.

10:12   21     Q.    But other than that, you didn't have any

10:12   22     authorization to share the document, correct?

10:12   23     A.    Correct.    From Qorvo.

10:12   24     Q.    Let's look at the next data sheet, Exhibit 615.

10:12   25           This is the data sheet for Qorvo's QPQ1904 Wi-Fi BAW
        Case 1:21-cv-01417-JPM                                              1061PageID
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                                            #: 40706 Designation
                                 Hunt - Deposition

10:12   1      filter, correct?

10:12   2      A.    Correct.

10:12   3      Q.    And it's another preliminary data sheet?

10:12   4      A.    Yes.

10:12   5      Q.    On Page 2, production number ending 648, the data

10:12   6      sheet includes be electrical specifications, correct?

10:13   7      A.    Correct.

10:13   8      Q.    And the rejection at 5170 to 5330 megahertz is listed

10:13   9      as, typically, 63dB, correct?

10:13   10     A.    Correct.

10:13   11     Q.    Did Qorvo give you authorization to possess this

10:13   12     document?

10:13   13     A.    Same as before, no.

10:13   14     Q.    To share with others at Akoustis?

10:13   15     A.    I didn't get authorization from Qorvo, no.

10:13   16     Q.    Did you know how Mr. Li got this data sheet?

10:13   17     A.    I do not.

10:13   18     Q.    Why did you send these two data sheets to

10:13   19     Mr. Aichele?

10:13   20     A.    So that I could represent what my statement in my

10:13   21     e-mail, points Number 1 and Number 2 of Exhibit 613.

10:13   22     Q.    And that's where you were discussing the rejection of

10:14   23     the filters at certain frequencies?

10:14   24     A.    Correct.

10:14   25     Q.    And comparing them to the rejection of Akoustis' 1252
        Case 1:21-cv-01417-JPM                                              1062PageID
                                 Document 714-2 Filed 10/29/24 Page 736 of 2283
                                            #: 40707 Designation
                                 Hunt - Deposition

10:14   1      and 1256 filters, correct?

10:14   2      A.    That's correct.

10:14   3      Q.    Mr. Hunt, you've been handed three documents marked

10:14   4      616, 617, and 618, correct?

10:14   5      A.    Correct.

10:14   6      Q.    Looking at Exhibit 616, this is an e-mail thread

10:14   7      involving you and Mr. Aichele, and then further down,

10:14   8      Mr. Li, correct?

10:14   9      A.    Yes.

10:14   10     Q.    Do you recognize this e-mail thread?

10:14   11     A.    I do.

10:14   12     Q.    And then you forwarded his e-mail to Mr. Aichele,

10:14   13     correct?

10:14   14     A.    Correct.

10:14   15     Q.    And you attached two documents, correct?

10:14   16     A.    Correct.

10:14   17     Q.    You told Mr. Aichele, "Here is Steven's customers'

10:14   18     feedback on improvement, correct?

10:14   19     A.    Yes.

10:14   20     Q.    Why did you send this information to Mr. Aichele?

10:15   21     A.    For market intelligence.

10:15   22     Q.    And what did you expect Mr. Aichele would do with the

10:15   23     information?

10:15   24     A.    To help drive improvement in our parts.

10:15   25     Q.    Yeah, I -- I can -- the two files you sent to
        Case 1:21-cv-01417-JPM                                              1063PageID
                                 Document 714-2 Filed 10/29/24 Page 737 of 2283
                                            #: 40708 Designation
                                 Hunt - Deposition

10:15   1      Mr. Aichele, they relate to Qorvo's QPQ1903 and 1904

10:15   2      filters, correct?

10:15   3      A.    They do.    And they're the same files as previously

10:15   4      discussed.

10:15   5      Q.    Mr. Hunt, you've been handed what's marked as

10:15   6      Exhibit 619, and this is an e-mail thread starting with

10:15   7      Bate -- production Number AKTS_00151889.

10:15   8            Do you see that?

10:16   9      A.    Yes.

10:16   10     Q.    And if you look back at Exhibit 616, your if you look

10:16   11     back at Exhibit 616 your e-mail to Mr. Aichele was dated

10:16   12     July 22, 2020, at the last e-mail in that thread, correct?

10:16   13     A.    Yes.

10:16   14     Q.    Okay.   In Exhibit 619, the date of the last e-mail in

10:16   15     that thread is July 24, 2020, correct?

10:16   16     A.    Correct.

10:16   17     Q.    And if you look at both of those documents, this is a

10:16   18     continuation of the same thread, correct?

10:16   19     A.    Yes.

10:16   20     Q.    Do you recognize Exhibit 619?

10:16   21     A.    Yes.

10:16   22     Q.    And so on July 22nd, 2020 at 7:04 p.m., three e-mails

10:16   23     down, that's the e-mail we were just talking about with

10:17   24     Exhibit 616 where you forwarded Mr. Li's e-mail to

10:17   25     Mr. Aichele, correct?
        Case 1:21-cv-01417-JPM                                              1064PageID
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                                 Hunt - Deposition

10:17   1      A.    Yes.

10:17   2      Q.    And in response to that, Mr. Aichele responded that,

10:17   3      "It would help to have samples to test and overlay with

10:17   4      measured and new sims," correct?

10:17   5      A.    Yes.

10:17   6      Q.    What did he mean by that?

10:17   7      A.    So taking the performance of the Qorvo parts, and

10:17   8      overlaying them with the new simulations for our third

10:17   9      version of the 1252, 1256.

10:17   10     Q.    Did the third version have a different number, or was

10:17   11     it still referred to as 1252 and 1256?

10:17   12     A.    Subsequently, it has changed, the part number, but I

10:17   13     don't know whether -- at this time, whether it referred to

10:17   14     as that new part number.      The new part number are 10252,

10:17   15     10256.

10:17   16     Q.    And down at the bottom of same e-mail from

10:17   17     Mr. Aichele, he asks you to work with Steven, Mr. Li, to

10:18   18     get QPQ1903 and QPQ1904 EVB samples, correct?

10:18   19     A.    Correct.

10:18   20     Q.    EVB refers to evaluation board?

10:18   21     A.    Yes.

10:18   22     Q.    What's an evaluation board?

10:18   23     A.    It's where a product is inserted onto a PCB and

10:18   24     connectorized.

10:18   25     Q.    Okay.   So he wanted you obtain to Qorvo evaluation
        Case 1:21-cv-01417-JPM                                              1065PageID
                                 Document 714-2 Filed 10/29/24 Page 739 of 2283
                                            #: 40710 Designation
                                 Hunt - Deposition

10:18   1      boards for the two Qorvo filters, correct?

10:18   2      A.    Yes.

10:18   3      Q.    And that's so that you could generate measurement

10:18   4      data for those two filters?

10:18   5      A.    Correct.

10:18   6      Q.    How would you work with -- with Mr. Li to obtain

10:18   7      these evaluation boards?

10:18   8      A.    I would ask him if he could obtain them.

10:18   9      Q.    And how would you expect for him to obtain them?

10:18   10     A.    He would then look at his sales channels to see if he

10:19   11     could procure them.

10:19   12     Q.    What do you mean by sales channels?

10:19   13     A.    Distribution partners.

10:19   14     Q.    Are those partners that were distributing Akoustis

10:19   15     products?

10:19   16     A.    No.    They -- they would, because it's Qorvo product,

10:19   17     it would be Qorvo distribution partners.

10:19   18     Q.    You then forwarded Mr. Aichele's e-mail to Mr. Li and

10:19   19     asked him if he would able to obtain the evaluation

10:19   20     boards, correct?

10:19   21     A.    Yes.

10:19   22     Q.    You tell him, you have tried your usual channel

10:19   23     without success, correct?

10:19   24     A.    Yes.

10:19   25     Q.    What was your usual channel?
        Case 1:21-cv-01417-JPM                                              1066PageID
                                 Document 714-2 Filed 10/29/24 Page 740 of 2283
                                            #: 40711 Designation
                                 Hunt - Deposition

10:19   1      A.    So it's catalog distributors -- it's catalog houses,

10:19   2      DigiKey or Mouser.

10:19   3      Q.    Why aren't you successful in getting these EVBs from

10:19   4      your -- from the distribution partners?

10:19   5      A.    They didn't exist on those sites.

10:19   6      Q.    The evaluation boards didn't exist on the partners'

10:20   7      websites?

10:20   8      A.    Correct.

10:20   9      Q.    How did you think Mr. Li would be successful getting

10:20   10     the evaluation boards when you weren't?

10:20   11     A.    Because there's different sales distributors out

10:20   12     there.

10:20   13     Q.    You've been handed three documents marked

10:20   14     Exhibit 620, 621, 622.

10:20   15           Exhibit 620 is an e-mail thread taking place on

10:20   16     July 29, 2020, correct?

10:20   17     A.    Yes.

10:20   18     Q.    So just a few days after the e-mail we were just

10:20   19     looking at in Exhibit 619, correct?

10:20   20     A.    Yes.

10:20   21     Q.    Exhibit 620 is a thread.      It involves you, Rohan

10:20   22     Houlden, that's R-O-H-A-N, H-O-U-L-D-E-N, Jeffrey Shealy,

10:20   23     S-H-E-A-L-Y, and Dave Aichele, and Robert Dry, correct?

10:21   24     A.    Yes.

10:21   25     Q.    Do you recognize this e-mail thread?
        Case 1:21-cv-01417-JPM                                              1067PageID
                                 Document 714-2 Filed 10/29/24 Page 741 of 2283
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                                 Hunt - Deposition

10:21   1      A.    I do.

10:21   2      Q.    And under the third bullet point, Number 3,

10:21   3      Mr. Aichele provides a summary of the discussion between

10:21   4      someone Ty, T-Y, and Jay Kruse, K-R-U-S-E, correct?

10:21   5      A.    Correct.

10:21   6      Q.    Was Mr. Kruse with Eero?

10:21   7      A.    Yes.

10:21   8      Q.    Do you know what his role was with Eero?

10:21   9      A.    Yeah, I think he's chief -- I don't know his exact

10:21   10     title, but he's chief engineer for the Wi-Fi.

10:21   11     Q.    In that same bullet, little Number iii, Mr. Aichele

10:21   12     says, "Jay says Qorvo still claims 60dB of rejection on

10:21   13     both parts."

10:21   14           Correct?

10:21   15     A.    Yes.

10:21   16     Q.    He's referring to the rejection of QPQ1903 and

        17     QPQ1904?

10:22   18     A.    I assume so.

10:22   19     Q.    And then if you go up, Mr. Aichele respond -- I'm

10:22   20     sorry -- Mr. Shealy responds to Mr. Aichele's e-mail,

10:22   21     correct?

10:22   22     A.    Yes.

10:22   23     Q.    And he says, "Looks like we better get to 60dB."

10:22   24           Do you see that?

10:22   25     A.    Yes.
        Case 1:21-cv-01417-JPM                                              1068PageID
                                 Document 714-2 Filed 10/29/24 Page 742 of 2283
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                                 Hunt - Deposition

10:22   1      Q.    In other words, he was saying that Akoustis needed to

10:22   2      improve the rejection of the 1252 and 1256 to compete with

10:22   3      Qorvo, correct?

10:22   4      A.    Yes.

10:22   5      Q.    And if you go back to the first page of Exhibit 620,

10:22   6      Mr. Houlden responds to Mr. Shealy's e-mail, correct?

10:22   7      A.    Yes.

10:22   8      Q.    And what he's saying is that Akoustis needs to

10:22   9      understand if the market prefers Akoustis' filters with

10:22   10     supposedly better insertion loss and worse rejection or

10:23   11     what he believes is the performance of Qorvo's filters

10:23   12     with worse insertion loss, but better rejection, correct?

10:23   13                  MR. STANTON:    Objection.    Call for speculation.

10:23   14     Document speaks for itself?

10:23   15                  THE WITNESS:    No, I don't think that's

10:23   16     accurate.    I think what Rohan is saying here is either do

10:23   17     we focus on insertion loss at 2dB, which gives us a

10:23   18     rejection of 55, which is Akoustis' focus on 2 and a half

10:23   19     and 3dB given rejection of 40DB.

10:23   20     Q.    So he wasn't referring to Qorvo's filters having 2.5

10:23   21     to 3dB of insertion loss and 60dB of rejection?

10:23   22     A.    I think it's focused on the -- from the customer

10:23   23     intelligence, finding out what the customer needs rather

10:23   24     than what the RF -- the Qorvo part is.

10:24   25     Q.    You respond to Mr. Houlden's e-mail, correct?
        Case 1:21-cv-01417-JPM                                              1069PageID
                                 Document 714-2 Filed 10/29/24 Page 743 of 2283
                                            #: 40714 Designation
                                 Hunt - Deposition

10:24   1      A.    Yes.

10:24   2      Q.    And you have a number of bullet points in your

10:24   3      e-mail, correct?

10:24   4      A.    Yes.

10:24   5      Q.    They're -- they're difficult to see, but there are

10:24   6      some bullets that are little squares with no fill.

10:24   7            Can you see those?

10:24   8      A.    Yes.

10:24   9      Q.    In the second -- in the second one of those bullets,

10:24   10     you say, "Qorvo is promoting 1903/1904 C specs."         Correct?

10:24   11     A.    Correct.

10:24   12     Q.    You're referring to the QPQ 1903 and QPQ 1904 filters

10:24   13     that we've been discussing, correct?

10:24   14     A.    Yes.

10:24   15     Q.    And you attached to two files to your e-mail,

10:24   16     correct?

10:24   17     A.    Yes.

10:24   18     Q.    And looking at those same sub-bullets toward the top

10:24   19     of your e-mail when you're talking about Qorvo promoting

10:25   20     1903 and 1904 --

10:25   21     A.    Yeah.

10:25   22     Q.    -- you say, "I have my arms out -- out in China to

10:25   23     see if we can get a couple of samples for evaluation."

10:25   24     Correct?

10:25   25     A.    Correct.
        Case 1:21-cv-01417-JPM                                              1070PageID
                                 Document 714-2 Filed 10/29/24 Page 744 of 2283
                                            #: 40715 Designation
                                 Hunt - Deposition

10:25   1      Q.    You're referring to samples of QPQ 1903 and QPQ 1904?

10:25   2      A.    Evaluation boards, yes.

10:25   3      Q.    Why were you reviewing out to China for those

10:25   4      samples?

10:25   5      A.    Because as per previous exhibit, I could not obtain

10:25   6      them from the sales channels here.

10:25   7      Q.    So you thought you might be able to get then in China

10:25   8      even though you couldn't get them in your sales channels?

10:25   9      A.    In the U.S. sales channels, correct.

10:25   10     Q.    And when you say you were reaching out in China, were

10:25   11     you referring to Mr. Li?

10:25   12     A.    Correct.

10:25   13     Q.    Exhibits 621 and 622, these are the same preliminary

10:25   14     data sheets that we looked at before, correct?

10:25   15     A.    Exactly the same, yeah.

10:25   16     Q.    You've been handed what's marked as Exhibit 623.

10:25   17     That's an e-mail exchange with production AKTS_00291717.

10:26   18     This is an e-mail exchange involving you, Dave Aichele,

10:26   19     and Steven Li, correct?

10:26   20     A.    Yes.

10:26   21     Q.    The e-mails in the exchange range from July 30th,

10:26   22     2020, to July 31, 2020, correct?

10:26   23     A.    Yes.

10:26   24     Q.    And the e-mails concern a meeting that Akoustis had

10:26   25     with a customer or potential customer               , correct?
        Case 1:21-cv-01417-JPM                                              1071PageID
                                 Document 714-2 Filed 10/29/24 Page 745 of 2283
                                            #: 40716 Designation
                                 Hunt - Deposition

10:26   1      A.    Yes.

10:26   2      Q.    Do you recognize this e-mail exchange?

10:26   3      A.    Yes.

10:26   4      Q.    Starting down at the first -- on the first page of

10:26   5      the thread of the document, Mr. Li sends you and

10:27   6      Mr. Aichele an e-mail summarizing his meeting with

10:27   7              , correct?

10:27   8      A.    Yes.

10:27   9      Q.    And           was an Akoustis customer?

10:27   10     A.    Potential customer.

10:27   11     Q.    Potential.

10:27   12           Do you know if            was also a Qorvo customer?

10:27   13     A.    I believe so.

10:27   14     Q.    And both Akoustis and Qorvo were -- were trying to

10:27   15     sell -- or were selling BAW filters to               ?

10:27   16     A.    Attempting, yeah.

10:27   17     Q.    Near the bottom of the second page of the document

10:27   18     with production number ending in 18, there are two

10:27   19     bullets.     One starts with "in the meeting."

10:27   20     A.    Right at the bottom here?

10:28   21     Q.    On the page ending 18.

10:28   22     A.    Yes.

10:28   23     Q.    He says "in the meeting, he" -- and you can review

10:28   24     this, but I think he's referring to Eric Li from

10:28   25              -- "he also told Qorvo's roadmap for Wi-Fi 6E."
        Case 1:21-cv-01417-JPM                                               1072PageID
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                                             #: 40717 Designation
                                  Hunt - Deposition

10:28   1            Do you see that?

10:28   2      A.    Yes.

10:28   3      Q.    And is he referring to Mr. Li, Eric Li from

10:28   4      there?

10:28   5      A.    I think so, but it's difficult to say precisely.          I

10:28   6      would -- yes, because he's referenced Eric all the way

10:28   7      through.

10:28   8      Q.    Right.      Wi-Fi 6E was a technology space where Qorvo

10:28   9      and Akoustis were competing IN the BAW filter market,

10:28   10     correct?

10:28   11     A.    Yes.

10:28   12     Q.    To your knowledge, was Steven Li authorized to obtain

10:28   13     information regarding Qorvo's roadmap and filter

10:28   14     performance from             ?

10:29   15     A.    Customers often give us roadmap information for

10:29   16     market intelligence.       So if your question is, is he

10:29   17     authorized?       He's getting that market intelligence, yes.

10:29   18     Q.    Does Akoustis authorize its customers to provide that

10:29   19     type of information to competitors?

10:29   20     A.    Akoustis wouldn't authorize it to -- our roadmap to

10:29   21     competitors, no.

10:29   22     Q.    And do you know if Qorvo authorized                to share

10:29   23     Qorvo's roadmap with Mr. Li?

10:29   24     A.    I have no knowledge.

10:29   25     Q.    Why would -- why would Akoustis want Qorvo's roadmap?
        Case 1:21-cv-01417-JPM                                               1073PageID
                                  Document 714-2 Filed 10/29/24 Page 747 of 2283
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                                  Hunt - Deposition

10:29   1      A.    For market intelligence reasons.

10:29   2      Q.    Mr. Aichele responds to Mr. Li's bullet, and he says,

10:29   3      "Thank you.       It will be very helpful if you can get

10:29   4      Qorvo's Wi-Fi 6E information and samples of the QPQ1903

10:30   5      and QPQ1904."       Correct?

10:30   6      A.    Correct.

10:30   7      Q.    Why would Qorvo's roadmap -- strike that.

10:30   8            Why would Qorvo's Wi-Fi 6E information and samples of

10:30   9      those filters be very helpful to Akoustis?

10:30   10     A.    To understand the performance.

10:30   11     Q.    Mr. Hunt, you've been handed a document marked as

10:30   12     Exhibit 624.       It's an e-mail exchange bearing production

10:30   13     number AKTS_00152143, correct?

10:30   14     A.    Yes.

10:30   15     Q.    And this is another e-mail thread involving you, Dave

10:30   16     Aichele, and Steven Li, correct?

10:30   17     A.    Correct.

10:30   18     Q.    Do you recognize this e-mail?

10:30   19     A.    Yes.

10:30   20     Q.    This e-mail concerns evaluation boards for the

10:30   21     QPQ1903 and 1904 filters, correct?

10:31   22     A.    Yes.

10:31   23     Q.    The date of the last e-mail on the thread is

10:31   24     August 3rd, 2020?

10:31   25     A.    Yes.
        Case 1:21-cv-01417-JPM                                              1074PageID
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10:31   1      Q.    And that's just a few days after the e-mails in

10:31   2      Exhibit 623 that we were just discussing, correct?

10:31   3      A.    Yes.

10:31   4      Q.    And that's where Mr. Aichele had said it would be

10:31   5      very helpful to get samples of those filters?

10:31   6      A.    Yes.

10:31   7      Q.    And looking back at 624, Mr. Li tells you that he

10:31   8      will get EVBs, or evaluation boards, of 1903 and 1904 from

10:31   9      his channels, correct?

10:31   10     A.    Correct.

10:31   11     Q.    In the second paragraph of Mr. Li's e-mail, he says,

10:31   12     "I will lend the EVBs from the customers side so I will

10:32   13     return them to the customer in two or three weeks,"

10:32   14     correct?

10:32   15     A.    Yes.

10:32   16     Q.    Is he saying that he will borrow an EVB from a

10:32   17     customer of Qorvo's?

10:32   18     A.    It looks that way, yes.

10:32   19     Q.    And then you responded to his e-mail the next day,

10:32   20     correct.

10:32   21     A.    Yes.

10:32   22     Q.    And then a bit later, at the top of the document, you

10:32   23     followed up, and you said, "Make sure your channels are

10:32   24     not breaking any NDA or agreement they have with Qorvo.          I

10:32   25     do not want us to undertake anything unethical," correct?
        Case 1:21-cv-01417-JPM                                              1075PageID
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10:32   1      A.    Yes.

10:32   2      Q.    Why did you say that?

10:32   3      A.    I had joined in June 2020, so this was one of the

10:33   4      first instances, so I wanted to make sure the ground;

10:33   5      rules are set correctly.

10:33   6      Q.    Did you or Mr. Li ever obtain evaluation boards or

10:33   7      parts from a Qorvo customer without first confirming that

10:33   8      there was no NDA or confidentiality agreement in place

10:33   9      between Qorvo and the customer?

10:33   10                  MR. STANTON:     Objection.   Calls for

10:33   11     speculation.      Compound.

10:33   12                  THE WITNESS:     Not knowingly, as I sit here

10:33   13     today.   I don't recall it.

10:33   14     Q.    As part of your obtaining evaluation boards from your

10:33   15     channel or Mr. Li from his channel, was it typical for you

10:33   16     to ask the -- the distribution partner if they had a NDA

10:33   17     in place with Qorvo?

10:33   18     A.    They would have an NDA in place as part of the

10:33   19     contract.    That's typical.

10:33   20     Q.    Is -- is that something you would ask them about

10:34   21     before --

10:34   22     A.    No.

10:34   23           (Videotape paused.)

10:34   24                  THE COURT:    We're going to stop there.     We will

10:34   25     come back and complete the deposition when we come back.
        Case 1:21-cv-01417-JPM                                               1076PageID
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10:34   1      And same things apply, don't discuss the case among

10:34   2      yourselves.       Don't let anyone talk about the case.      If

10:34   3      anybody tries to talk to you, of course let me know about

10:34   4      that.    Don't speak to witnesses, lawyers, or parties in

10:34   5      the case.    No research, inquiry, at all times to avoid

10:34   6      media.    Continue to keep an open mind.

10:34   7                   You will be excused.      It is 10:34.    I will make

10:34   8      that a 16-minutes break.       I will see you in 16 minutes.      I

10:34   9      will have to stay here.       Thanks very much.

10:34   10            (The jury exits the courtroom at 10:34 a.m.)        .

10:35   11                  THE COURT:     You may be seated.    I think we have

10:35   12     at least, or approximately 10 or 11 -- 11 new exhibits, I

10:35   13     believe.    I'll leave it to the staff or anybody else to

10:35   14     confirm that.       If there's overlap -- I have 11 down

10:35   15     myself.

10:35   16                  Is that the case?      I'm just checking.

10:35   17                  MR. ALPER:     Good morning, Your Honor.     Zachary

10:35   18     Alper for plaintiff.

10:35   19                  Your Honor, we have 16 exhibits that we would

10:35   20     like to move to enter.

10:35   21                  THE COURT:     We've gotten 11?

10:35   22                  MR. ALPER:     You've gotten 11.    You have 11 so

10:35   23     far.

10:35   24                  THE COURT:     You have five more?

10:35   25                  MR. ALPER:     Yes.
        Case 1:21-cv-01417-JPM                                               1077PageID
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10:35   1                    THE COURT:    Not a problem.    We will make the

10:35   2      count right.       That will give us a count.    So far we will

10:35   3      have a total of 16.       Not a problem.    I think we have 11 so

10:35   4      far.    That's helpful.

10:35   5                    All right.    I think that's all that we have to

10:35   6      cover right now.       I know everybody would like a break at

10:36   7      this time.     Of course the jury has 16 minutes.        We will

10:36   8      end up with about 13 minutes.         See everybody in

10:36   9      13 minutes.       Thanks very much.

10:47   10            (Whereupon, a recess is taken.)

10:48   11                   THE COURT:    All right.   We can bring the jury

10:48   12     in.

10:49   13            (The jury enters the courtroom at 10:49 a.m.)

10:49   14                   THE COURT:    Everyone can be seated.      Of course

10:49   15     counsel may proceed with playing the deposition.

10:50   16                   I think we can play the deposition.

10:50   17                   (Playing of videotaped deposition of Colin

10:50   18     Leslie Hunt resumed as follows:)

10:50   19     Q.     So if there was an NDA in place between Qorvo and its

10:50   20     customer, your e-mail suggests that it would be unethical

10:50   21     to get that evaluation board, correct?

10:50   22     A.     Yes.

10:50   23     Q.     Mr. Hunt, you've been handed what's marked as

10:50   24     Exhibit 625.       It's an e-mail exchange bearing production

10:50   25     number AKTS_00152442, correct?
        Case 1:21-cv-01417-JPM                                              1078PageID
                                 Document 714-2 Filed 10/29/24 Page 752 of 2283
                                            #: 40723 Designation
                                 Hunt - Deposition

10:51   1      A.    Yes.

10:51   2      Q.    And this is an e-mail between you and Mr. Aichele,

10:51   3      correct?

10:51   4      A.    Yes.

10:51   5      Q.    The subject of the e-mail is "Comparison data QPQ1903

10:51   6      QPQ1904, AKF1252, AKF1256," correct?

10:51   7      A.    Yes.

10:51   8      Q.    Those are the same Qorvo and Akoustis BAW filters

10:51   9      we've been discussing today, correct?

10:51   10     A.    Correct.

10:51   11     Q.    And if you look at the second page of this document

10:51   12     ending in production Number 43, there's an e-mail from

10:51   13     Marvin Ibro, correct?

10:51   14     A.    Yes.

10:51   15     Q.    Who is Marvin Ibro?

10:51   16     A.    He's applications engineering.

10:51   17     Q.    With Akoustis?

10:51   18     A.    Correct.

10:52   19     Q.    And Mr. Ibro sends --

10:52   20     A.    He is an applications engineering.

10:52   21     Q.    With Akoustis?

10:52   22     A.    Correct.

10:52   23     Q.    And Mr. Ibro sends Dave Aichele, Rohan Houlden and

10:52   24     some other folks at Akoustis what he calls comparison data

10:52   25     for QPQ1903 with AKF1252 and QPQ1904 with AKF1256,
        Case 1:21-cv-01417-JPM                                              1079PageID
                                 Document 714-2 Filed 10/29/24 Page 753 of 2283
                                            #: 40724 Designation
                                 Hunt - Deposition

10:52   1      correct?

10:52   2      A.    Correct.

10:52   3      Q.    And the date of Mr. Ibro's e-mail as August 10 of

10:52   4      2020, correct?

10:52   5      A.    Yes.

10:52   6      Q.    So this is just a week or two after you asked Mr. Li

10:52   7      to get evaluation boards for the QPQ1903 and 1904,

10:52   8      correct.

10:52   9      A.    Yes.

10:52   10           When you -- when you say I'm asking for EVBs, I

10:52   11     didn't ask for the EVBs.

10:53   12     Q.    Mr. Aichele asked?

10:53   13     A.    Yes.

10:53   14     Q.    Somebody instructed --

10:53   15     A.    Yes.

10:53   16     Q.    -- Mr. Li to go get evaluation boards --

10:53   17     A.    Correct.

10:53   18     Q.    And Mr. Ibro's e-mail with the comparison data

10:53   19     suggests that Mr. Li was able to get those evaluation

10:53   20     boards, correct?

10:53   21     A.    I can't recall where those EVBs came from, if he had

10:53   22     EVBs.

10:53   23     Q.    So you don't know -- you don't recall whether

10:53   24     Mr. Ibro used Qorvo evaluation boards to generate this

10:53   25     comparison data?
        Case 1:21-cv-01417-JPM                                              1080PageID
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10:53   1      A.    I'm -- I'm not sure whether it was from the actual

10:53   2      graph or from the data sheet or whether it was from the

10:53   3      EVB comparison.

10:53   4      Q.    And after Mr. Ibro's e-mail, going back to the first

10:53   5      page, Mr. Aichele forwarded you the comparison data,

10:53   6      correct?

10:53   7      A.    Yes.

10:53   8      Q.    He says, "See comparison...," correct?

10:54   9      A.    Yes.

10:54   10     Q.    And you responded, above that, "Interesting.        The

10:54   11     Qorvo EVB looks much cleaner and neater.        Maybe plagiarism

10:54   12     on these EVBs may be a good solution," correct?

10:54   13     A.    Correct.

10:54   14     Q.    You were suggesting copying Qorvo's design, correct?

10:54   15     A.    Correct.    Copying the EVB design.     So, basically,

10:54   16     looking at a clean content to our existing EVBs.

10:54   17     Q.    And then Mr. Aichele, in response, says, "Yes, I

10:54   18     asked Marvin to highlight those and have closed with

10:54   19     Rohan."

10:54   20           You see that?

10:54   21     A.    Yes.

10:54   22     Q.    What did Mr. Aichele mean when he asked -- he says he

10:54   23     asked Marvin to highlight those?

10:54   24     A.    I believe he meant looking at the cleaner, neater

10:55   25     layout of the board.
        Case 1:21-cv-01417-JPM                                               1081PageID
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10:55   1      Q.    Of Qorvo's board?

10:55   2      A.    Of Qorvo's board.

10:55   3      Q.    And do you know what he meant when he said "have

10:55   4      closed with Rohan"?

10:55   5      A.    He's discussed it with Rohan.

10:55   6      Q.    Mr. Aichele had discussed the evaluation boards with

10:55   7      Rohan, Mr. Houlden, correct?

10:55   8      A.    Yes.

10:55   9      Q.    Okay.   And then up at the top, you responded,

10:55   10     "Excellent.       Thanks, Dave.   And their part" -- there's a

10:55   11     typo there?

10:55   12     A.    Yeah.

10:55   13     Q.    But "parts look like they have a smoother response

10:55   14     than ours passband ripple."       Correct?

10:55   15     A.    Yes.

10:55   16     Q.    So you were telling Mr. Aichele that, based on the

10:55   17     comparison data, Qorvo's QPQ1903 and 1904 outperformed

10:55   18     Akoustis' 1252 and 1256 in terms of passband ripple,

10:56   19     correct?

10:56   20     A.    Yes.

10:56   21     Q.    What is passband ripple of a BAW filter?

10:56   22     A.    So if you're in the passband, you have a performance

10:56   23     and sometimes you have oscillations in that passband.

10:56   24     That's called the ripple.

10:56   25     Q.    So pretty much you want the passband to be flat,
        Case 1:21-cv-01417-JPM                                              1082PageID
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10:56   1      correct?

10:56   2      A.    Correct.

10:56   3      Q.    You've been handed what's marked as Exhibit 626.

10:56   4      It's an e-mail bearing production number AKTS0_0518851,

10:56   5      correct?

10:56   6      A.    Correct.

10:56   7      Q.    This is an e-mail from Dave Aichele to you dated

10:56   8      October 20, 2021, correct?

10:56   9      A.    Yes.

10:56   10     Q.    And you received this e-mail at 14:29 or 2:49 p.m.,

10:56   11     correct?

10:56   12     A.    Yes.

10:56   13     Q.    Do you recognize this e-mail?

10:56   14     A.    It looks accurate.     I -- I don't recognize it off the

10:57   15     top of my head, no.

10:57   16     Q.    Okay.   Mr. Aichele asks you if you can lay your hands

10:57   17     on Qorvo C-V2X QPQ2200Q BAW filter data sheet, correct?

10:57   18     A.    Correct.

10:57   19     Q.    Was Akoustis developing a product to compete with the

10:57   20     2200Q?

10:57   21     A.    I believe so, yes.

10:57   22     Q.    Which product was that?

10:57   23     A.    The A10159.

10:57   24     Q.    That was also a BAW filter?

10:57   25     A.    Yes.
        Case 1:21-cv-01417-JPM                                              1083PageID
                                 Document 714-2 Filed 10/29/24 Page 757 of 2283
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                                 Hunt - Deposition

10:57   1      Q.    For the V2X market?

10:57   2      A.    Yes.

10:57   3      Q.    You've been handed what's mark as Exhibit 627.         It's

10:57   4      an e-mail bearing production number AKTS_00518852.

10:58   5            Do you see that?

10:58   6      A.    Yes.

10:58   7      Q.    This is an e-mail from you to Steve Takaki, correct?

10:58   8      A.    Yes.

10:58   9      Q.    E-mail was sent on October 20, 2021, correct?

10:58   10     A.    Correct.

10:58   11     Q.    At 4:56 p.m. correct?

10:58   12     A.    Correct.

10:58   13     Q.    And that's just a few hours after the e-mail in

10:58   14     Exhibit 626 was sent, correct?

10:58   15     A.    Yes.

10:58   16     Q.    Do you recognize this e-mail?

10:58   17     A.    Yes.

10:58   18     Q.    Who is Mr. Takaki?

10:58   19     A.    Steve Takaki is a person in RFMW, a distributer of

10:58   20     ours.

10:58   21     Q.    One of Akoustis' distribution partners?

10:58   22     A.    Correct.

10:58   23     Q.    Did RFMW also distribute Qorvo parts?

10:58   24     A.    Yes.

10:58   25     Q.    And you asked Mr. Takaki if there's a way you can get
        Case 1:21-cv-01417-JPM                                              1084PageID
                                 Document 714-2 Filed 10/29/24 Page 758 of 2283
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                                 Hunt - Deposition

10:59   1      the data sheet for Qorvo part QPQ2200Q, correct?

10:59   2      A.    Yes.

10:59   3      Q.    Did you send this e-mail in response to Mr. Aichele's

10:59   4      e-mail, the one we were just looking at?

10:59   5      A.    Yes.

10:59   6      Q.    As Qorvo's distributer, RFMW and Mr. Takaki had

10:59   7      access to Qorvo data sheets, correct?

10:59   8      A.    Yes.

10:59   9      Q.    So you thought that because RFMW was distributing

10:59   10     Qorvo products, Mr. Takaki might have this data sheet,

10:59   11     correct?

10:59   12     A.    Correct.

10:59   13     Q.    Why would you ask RFMW for this data sheet rather

10:59   14     than asking somebody at Qorvo?

10:59   15     A.    There's two paths you could look at.

10:59   16           It was the easier path to ask RFMW.

10:59   17     Q.    Why was it easier?

11:00   18     A.    Because if I was in Qorvo's position, I wouldn't give

11:00   19     it to Akoustis.

11:00   20     Q.    Why not?

11:00   21     A.    Because it's information that I wouldn't want to get

11:00   22     to Akoustis.

11:00   23     Q.    Why's that?

11:00   24     A.    Because it gives the performance of the parts.

11:00   25     Q.    Did Mr. Takaki ultimately provide you with the
        Case 1:21-cv-01417-JPM                                              1085PageID
                                 Document 714-2 Filed 10/29/24 Page 759 of 2283
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11:00   1      QFQ2200Q data sheet?

11:00   2      A.    I honestly don't know.     I can't recall.

11:00   3      Q.    You've been handed what's marked as Exhibit -- two

11:00   4      documents marked as Exhibit 630 and 631.        Exhibit 630

11:00   5      appears to be an e-mail bearing production number

11:00   6      AKTS_00362735, correct?

11:00   7      A.    Correct.

11:00   8      Q.    And Exhibit 631, I'll represent to you, is the

11:00   9      metadata that was produced to us with Exhibit 630.l.

11:00   10     Okay?

11:00   11     A.    Yeah.

11:00   12     Q.    And looking at Exhibit 631, about three-quarters of

11:01   13     the way down, it says the e-mail is from

11:01   14     chunt@Akoustis.com to daichele@akoustis.com.         That's your

11:01   15     e-mail and Mr. Aichele's e-mail, correct?

11:01   16     A.    Yes.

11:01   17     Q.    And do you recognize the e-mail in Exhibit 630?

11:01   18     A.    I recognize it, yes.

11:01   19     Q.    This e-mail from you to Mr. Aichele was received on

11:01   20     October 20, 2021 at 6:06 p.m., correct?

11:01   21     A.    Yes.

11:01   22     Q.    That's about an hour after Mr. Takaki's e-mail to

11:01   23     you, correct?

11:01   24     A.    Yes.

11:01   25     Q.    So was this a follow-up to the earlier e-mail that
        Case 1:21-cv-01417-JPM                                              1086PageID
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11:01   1      Mr. Aichele sent to you asking for you to get the 2200Q

11:02   2      data sheet?

11:02   3      A.    Yes.

11:02   4      Q.    And you said, "I am getting somebody to ask Qorvo D/S

11:02   5      without leaving too much of a trail," correct?

11:02   6      A.    Correct.

11:02   7      Q.    What did you mean by that?

11:02   8      A.    Trying to get the Qorvo data sheet.

11:02   9      Q.    What did you mean by "without leaving too much of a

11:02   10     trail"?

11:02   11     A.    So that we could get as much information as we could

11:02   12     with minimum fuss.

11:02   13     Q.    Does that mean you didn't want Qorvo to find out?

11:02   14     A.    I think Qorvo will always find out.

11:02   15     Q.    So what do you mean by "too much fuss"?

11:02   16     A.    To try and get it from our sales partner.

11:02   17     Q.    Why was it important not to leave a trail?

11:02   18     A.    Because we'd like to get the information on new parts

11:02   19     as quickly as possible.

11:03   20     Q.    You go on to say, "Our sales partners don't have it

11:03   21     as no customer has asked for it," correct?

11:03   22     A.    Correct.

11:03   23     Q.    You are referring to Mr. Takaki, correct?

11:03   24     A.    Correct.

11:03   25     Q.    Mr. Hunt, you've been handed two documents marked
        Case 1:21-cv-01417-JPM                                              1087PageID
                                 Document 714-2 Filed 10/29/24 Page 761 of 2283
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                                 Hunt - Deposition

11:03   1      Exhibit 633 and Exhibit 634.       Exhibit 633 is a multipage

11:03   2      document with production number AKTS_00493746.

11:03   3            Do you see that?

11:03   4      A.    Yes.

11:03   5      Q.    Going back to Exhibit 633, do you recognize this

11:03   6      document?

11:03   7      A.    Yes.

11:03   8      Q.    Okay.   Exhibit 633, that's the -- that's a data sheet

11:03   9      for Qorvo's QPQ2200Q BAW filter, correct?

11:03   10     A.    Correct.

11:03   11     Q.    This is the data sheet that you and Mr. Aichele were

11:03   12     trying to get?

11:03   13     A.    Correct.

11:03   14     Q.    This is the one you tried to get from Mr. Takaki and

11:03   15     Mr. Bachem?

11:03   16     A.    Yes.

11:04   17     Q.    And up at the top, the data sheet is mark preliminary

11:04   18     is red.     Do you see that?

11:04   19     A.    Yes.

11:04   20     Q.    Were you authorized to possess this data sheet by

11:04   21     Qorvo?

11:04   22     A.    I don't know.    I wouldn't have got -- seeked

11:04   23     permission.

11:04   24     Q.    Do you recall how you got this data sheet?

11:04   25     A.    No.
        Case 1:21-cv-01417-JPM                                              1088PageID
                                 Document 714-2 Filed 10/29/24 Page 762 of 2283
                                            #: 40733 Designation
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11:04   1      Q.    You don't recall if it was from Mr. Takaki or

11:04   2      Mr. Bachem?

11:04   3      A.    I don't recall.

11:04   4      Q.    Mr. Hunt, you've been handed three documents marked

11:04   5      Exhibits 636, 637, and 638.      Exhibit 636 is an e-mail

11:04   6      bearing production number AKTS_00167236.        Exhibit 637 was

11:04   7      produced as an attachment to this e-mail.

11:04   8            Exhibit 636 is a multipage document that starts with

11:04   9      production number AKTS_00167237.       Exhibit 638 was also

11:05   10     produced as an attachment to Exhibit 636.        It's a

11:05   11     multipage document bearing production AKTS_00167245.

11:05   12           Do you see that?

11:05   13     A.    Yes.

11:05   14     Q.    Exhibit 636 is an e-mail from Steven Li to you,

11:05   15     copying Dave Aichele, correct?

11:05   16     A.    Yes.

11:05   17     Q.    And the e-mail is dated November 22, 2021, correct?

11:05   18     A.    Yes.

11:05   19     Q.    The subject is "Qorvo parts," correct?

11:05   20     A.    Yes.

11:05   21     Q.    And all Mr. Li says is, "Hi, Colin.       Please see --

11:05   22     please find the attached files.       Thanks a lot," correct?

11:05   23     A.    Yes.

11:05   24     Q.    And he attaches two files relating to Qorvo products,

11:05   25     correct?
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11:05   1      A.    Correct.

11:05   2      Q.    Do you know why he was sending you these files?

11:05   3      A.    I would assume as these are front-end modules for

11:05   4      tuning of the customer board.

11:05   5      Q.    Exhibit 637 was one of the attachments to Mr. Li's

11:05   6      e-mail.     Do you recognize this document?

11:06   7      A.    I recognize it, yeah.

11:06   8            It's a specification for Qorvo's front-end module

11:06   9      supporting Wi-Fi6E.

11:06   10     Q.    That's QPF4656?

11:06   11     A.    Yes.

11:06   12     Q.    And up in the top right-hand corner, the data sheet's

11:06   13     classified as private, and it's also mark preliminary,

11:06   14     correct?

11:06   15     A.    Private.    Yes, it is.

11:06   16     Q.    To your knowledge, did Mr. Li have authorization from

11:06   17     Qorvo to have this private data sheet?

11:06   18     A.    Not to my knowledge.

11:06   19     Q.    Do you know how Mr. Li got the data sheet?

11:06   20     A.    No.

11:06   21     Q.    Why did Mr. Li want you to have this data sheet?

11:06   22     A.    As I said previously, I think it's to tune a customer

11:06   23     board.

11:06   24     Q.    Let's look at Exhibit 638.      This is the second

11:06   25     attachment to Mr. Li's e-mail.       This is the Qorvo data
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                                 Hunt - Deposition

11:06   1      sheet for QPF7552, correct?

11:07   2      A.    Correct.

11:07   3      Q.    That's a Wi-Fi 6 front-end module?

11:07   4      A.    Yes.

11:07   5      Q.    And this data sheet's also classified as private,

11:07   6      correct?

11:07   7      A.    Yes.

11:07   8      Q.    You weren't authorized by Qorvo to have this data

11:07   9      sheet, were you?

11:07   10     A.    Not knowingly, no.

11:07   11     Q.    Will you please state your full name for the record?

11:07   12           (Playing of video deposition concluded.)

11:07   13                  THE COURT:    All right.   That concludes the

11:07   14     deposition of Mr. Hunt.

11:07   15                  There will be 16 numbers added to our exhibit

11:07   16     list.   They will be 172 through 187.       And at the end, you

11:07   17     get a list, which will at least show a way to link

11:07   18     everything together as you look at the materials, and then

11:07   19     the exhibits that you have will have -- I'm sure both

11:08   20     numbers on them, but it will have our sequential numbers

11:08   21     in the case.

11:08   22                  Counsel, who will our next witness be?

11:08   23                  (Trial Exhibit Nos. 172, 173, 174, 175, 176,

11:08   24     177, 178, 179, 180, 181, 182, 183, 184, 185, 186 and 187

11:08   25     were admitted into evidence.)
        Case 1:21-cv-01417-JPM                                               1091PageID
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                                  Dry - Deposition

11:08   1                   MR. ALPER:     Your Honor, permission to approach

11:08   2      with the binders for the exhibits?

11:08   3                   THE COURT:     Sure.   No problem.   Understand I

11:08   4      believe it's Mr. Dry; is that right?

11:08   5                   MR. ALPER:     Plaintiffs next witness is Akoustis

11:08   6      VP of assembly and test operations Mr. Robert Dry by

11:08   7      video.

11:08   8                    (Deposition designation of Robert Dry plays as

11:08   9                    follows:

11:08   10     Q.    Could you state your full name for the record.

11:08   11     A.    Yes, Robert Charles Dry.

11:08   12     Q.    Could you tell me what your current position is?

11:08   13     A.    I'm the VP of final operations at Akoustis

11:09   14     Technologies.

11:09   15     Q.    And for how long have you been working at Akoustis?

11:09   16     A.    Since October 2019.      I don't know the exact date the

11:09   17     date.    It was around about mid-October.

11:09   18     Q.    Where did you work prior to Akoustis?

11:09   19     A.    I worked at Qorvo in Texas, Richardson.         And RFMD in

11:09   20     Greensboro.       And prior to that, I had -- I worked in the

11:09   21     UK for a company called Filtronic.        And prior to that, a

11:09   22     company called Electronica.         And prior to that, a company

11:09   23     called Plessey.       There's a couple other companies as well

11:09   24     if you wish those.

11:09   25     Q.    What were your responsibilities as the vice president
        Case 1:21-cv-01417-JPM                                              1092PageID
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11:09   1      of final operations at Akoustis?

11:09   2      A.    I was responsible for supporting what we call the

11:10   3      back end, so post fab.      So activities after wafers came

11:10   4      out of the fab became my responsibility.

11:10   5      Q.    So, Mr. Dry, I've actually handed you what's been

11:10   6      mark as Exhibits 200, 201, and 202.

11:10   7            Mr. Dry, do you recognize Exhibits 200 through 202?

11:10   8      A.    I do.

11:10   9      Q.    And what are they?

11:10   10     A.    200 is an e-mail.     I don't actually recall sending

11:10   11     the e-mail, but it's definitely come from myself, from my

11:10   12     AOL account, to Rohan Houlden.       And it shares two

11:10   13     documents.     Looking at the documents, one is some

11:10   14     information on pricing for a ceramic package.         And the

11:10   15     other one is images of -- cartoon images of different

11:11   16     package types.

11:11   17     Q.    Why did you send this to Mr. Houlden's personal

11:11   18     e-mail account?

11:11   19     A.    I have no recollection of why that would have been

11:11   20     the case.     He sent -- I was responding to the same e-mail

11:11   21     that he sent to me.

11:11   22     Q.    Okay.   In December of 2016, when you sent this e-mail

11:11   23     to Mr. Houlden, you were working at Qorvo?

11:11   24     A.    That's correct.

11:11   25     Q.    And you had a Qorvo e-mail account, right?
        Case 1:21-cv-01417-JPM                                              1093PageID
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11:11   1      A.    I did.

11:11   2      Q.    Why did you use your personal e-mail account to send

11:11   3      this information to Mr. Houlden?

11:11   4      A.    I do not recall.

11:11   5      Q.    Was there a concern that you didn't want Qorvo to see

11:11   6      that you were sending this information to Mr. Houlden?

11:11   7      A.    As I said, I don't recall.

11:11   8      Q.    Can you think of any other reason you would have used

11:11   9      your personal e-mail account to send the attachments to

11:11   10     Mr. Houlden?

11:12   11     A.    Only other than convenience.

11:12   12     Q.    Okay.    If we go to Exhibit 201.

11:12   13     A.    Okay.

11:12   14     Q.    This appears to be a spreadsheet listing prices for

11:12   15     packages; is that right?

11:12   16     A.    That's correct.

11:12   17     Q.    Is this information from Qorvo SAP system?

11:12   18     A.    I don't recall.

11:12   19     Q.    But this is -- the information in Exhibit 201 is

11:12   20     Qorvo's information, right?

11:12   21     A.    Looking through this, yes.

11:12   22     Q.    Is there a reason it would have been more convenient

11:12   23     for you to obtain Qorvo's information using -- and send

11:12   24     Qorvo's information using your personal e-mail account

11:12   25     rather than your Qorvo e-mail account?
        Case 1:21-cv-01417-JPM                                               1094PageID
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11:12   1      A.     No.

11:12   2      Q.     And I mean, I would have thought that to the extent

11:12   3      you had Qorvo accounting information about packaging, that

11:12   4      would have been located on your Qorvo computer, right?

11:13   5      A.     I would assume so.

11:13   6      Q.     Okay.   The information that's reflected in

11:13   7      Exhibit 201 would have been confidential at Qorvo, right?

11:13   8      A.     Reflecting back, I would assume so, yes.

11:13   9      Q.     Meaning Qorvo would not typically send its

11:13   10     competitors cost information about its parts?

11:13   11     A.     It would not.

11:13   12     Q.     Do you recognize Exhibit 210?

11:13   13     A.     I do not.

11:13   14     Q.     All right.    Mr. Dry, I've handed you Exhibits 216 to

11:13   15     220.

11:13   16     A.     Yeah.

11:13   17     Q.     Let's move to Exhibit 220.

11:13   18            Do you recognize what this is?

11:13   19     A.     So again, reading through, it states it's an RFMD

11:13   20     package outline drawing.

11:13   21     Q.     What is a package outline drawing?

11:13   22     A.     Again, this is a drawing that would show anybody who

11:14   23     wants to use the part the -- the outline dimensions and

11:14   24     the pad dimensions of a product.

11:14   25     Q.     Who would a package outline drawing be provided to,
        Case 1:21-cv-01417-JPM                                              1095PageID
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11:14   1      generally?

11:14   2      A.    It would be on data sheet, so -- which would be

11:14   3      available to for anybody looking to purchase the part or

11:14   4      who has purchased the part.

11:14   5      Q.    Okay.   So if you had downloaded the data sheet for --

11:14   6      A.    Yes.

11:14   7      Q.    -- RFFM4252, you would believe that you would have

11:14   8      seen a package drawing?

11:14   9      A.    I would have seen this information, yes.

11:14   10     Q.    Is there a reason that you sent Mr. Hosse this

11:14   11     package drawing instead of a data sheet for RFM --

11:14   12     RFFM4252?

11:14   13     A.    There's no reason I would know of.

11:15   14     Q.    This document, Exhibit 220, is a confidential

11:15   15     document?

11:15   16     A.    It states that, yes.

11:15   17     Q.    Okay.   And did you have authorization from Qorvo to

11:15   18     share Exhibit 220 with anyone at Akoustis?

11:15   19     A.    I did not, no.

11:15   20           I mean, looking at the documents now and reflecting

11:15   21     back, you know, clearly, I was in the wrong to share this

11:15   22     information, and I recognize that.       That was certainly an

11:15   23     error on my part.

11:15   24     Q.    Okay.   If you could take a moment and look at

11:15   25     Exhibits 221 through 223 and let me know whether you
        Case 1:21-cv-01417-JPM                                              1096PageID
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11:15   1      recognize these documents.

11:15   2      A.    I do recognize them, yes.

11:15   3      Q.    Okay.   And what do you recognize these documents to

11:15   4      be?

11:15   5      A.    So one is the Qorvo General Branding Requirements and

11:15   6      Guidelines document, which is -- explains the branding

11:15   7      requirements applied to Qorvo parts.

11:15   8      Q.    And what exhibit are you referring to?

11:15   9      A.    That's Exhibit Number 222.

11:16   10           And Exhibit Number 223 is General Product Inspection

11:16   11     Procedure, which talks about inspection of parts,

11:16   12     specifically, I think, semiconductor active devices.

11:16   13     Q.    Do you recall sending this e-mail to Mr. Morgan?

11:16   14     A.    I don't recall sending the e-mail.

11:16   15     Q.    Okay.   Who was Mr. Morgan?

11:16   16     A.    Joel Morgan was the head of quality.

11:16   17     Q.    Okay.   And the subject of your e-mail is "Fab

11:16   18     Inspection"?

11:16   19     A.    Yes.

11:16   20     Q.    And you forwarded Mr. Morgan two attachments, right?

11:16   21     A.    Correct.

11:16   22     Q.    And the body of your e-mail was:

11:16   23           (Reading)

11:16   24           Joel, look what I have.

11:16   25     A.    Yeah.
        Case 1:21-cv-01417-JPM                                              1097PageID
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                                 Dry - Deposition

11:16   1      Q.    Two question marks?

11:16   2      A.    Yes.

11:16   3      Q.    Why did you send Mr. Morgan Exhibits 222 and 223?

11:16   4      A.    I was looking for examples of the way that parts were

11:16   5      inspected and the way that parts were branded to

11:16   6      demonstrate the level of detail that needed to be applied,

11:16   7      I felt, to our products internally.

11:17   8      Q.    What -- one of these documents relates to inspection

11:17   9      procedure?

11:17   10     A.    Yes.

11:17   11     Q.    Exhibit 223?

11:17   12     A.    223, yeah.

11:17   13     Q.    What is -- what is the role of inspection procedures

11:17   14     in the production of parts?

11:17   15     A.    So when you manufacture anything, it has to be

11:17   16     manufactured to a standard.      The way you determine if

11:17   17     you've met the standard is you inspect it.        So it can be

11:17   18     done either visually or automatically, but you have to

11:17   19     recognize what is good and what is bad.        So by having a

11:17   20     document that provides details of what is an acceptable

11:17   21     standard for anything that you find and what is not

11:17   22     acceptable is what the document is there to provide.

11:17   23     Q.    Where did you get Exhibits 223 and 222?

11:17   24     A.    I have no recollection of where these came from.

11:17   25     Q.    You recognize Exhibit 222 and 223 are Qorvo
        Case 1:21-cv-01417-JPM                                               1098PageID
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                                  Dry - Deposition

11:18   1      documents?

11:18   2      A.    I do, yes.

11:18   3      Q.    Did you have authorization to share these Qorvo

11:18   4      documents with Akoustis?

11:18   5      A.    I did not.

11:18   6      Q.    And you would agree with me that Exhibit 222 and 223

11:18   7      are confidential documents?

11:18   8      A.    It states that on them, yes.

11:18   9      Q.    How were Exhibits 222 and 223 used by Akoustis?

11:18   10     A.    They were used as examples of a standard.         We didn't

11:18   11     actually use either document.        We created our own

11:18   12     documents completely.       The inspection document, our own

11:18   13     inspection document, is a very, very diluted, looks

11:18   14     nothing like this particular document at all.          I think

11:18   15     it's got two pages and eight pictures in it.          So my intent

11:18   16     was to get some level of detail applied to a document that

11:18   17     we would be using, and this was the example that I used to

11:19   18     drive that.       But in the end, we didn't do anything like

11:19   19     this.

11:19   20     Q.    If we look at the first page of Exhibit 222, at the

11:19   21     top, it's kind of near the top, there's a bolded, all

11:19   22     caps, it says "CONFIDENTIAL."

11:19   23           Do you see that?

11:19   24     A.    I do.

11:19   25     Q.    It says:     (Reading)
        Case 1:21-cv-01417-JPM                                              1099PageID
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11:19   1            Property of Qorvo, Inc.      Do not reproduce, copy of

11:19   2      transfer to any third party without express permission

11:19   3      from Qorvo.

11:19   4            Do you see that?

11:19   5      A.    I do.

11:19   6      Q.    You didn't have express permission from Qorvo to

11:19   7      transfer this document to Mr. Hosse?

11:19   8      A.    I did not.

11:19   9      Q.    In retrospect, would you agree with me that it was

11:19   10     not proper to send this document to Mr. Hosse?

11:19   11     A.    I absolutely agree that in retrospect, I shouldn't

11:19   12     have sent these documents or certainly should have sought

11:19   13     permission before I did.      So yeah, it was an error on my

11:19   14     part.

11:19   15     Q.    If we can turn to Exhibit 223.

11:19   16     A.    Yeah.

11:19   17     Q.    It says at the top "General Products Inspection

11:20   18     Procedure."

11:20   19     A.    Yeah.

11:20   20     Q.    And it appears to me that this document may have been

11:20   21     modified in some way.      Would you agree with that?

11:20   22     A.    Yes.    It doesn't have the Qorvo emblems on it or

11:20   23     nomenclature, by the looks of it.

11:20   24     Q.    Do you recall having gone through and removed the

11:20   25     Qorvo nomenclature from this document before sending it to
        Case 1:21-cv-01417-JPM                                              1100PageID
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                                 Dry - Deposition

11:20   1      Mr. Hosse?

11:20   2      A.    I believe I did.

11:20   3      Q.    And why did you do that?

11:20   4      A.    Because I wanted it to be used as an example rather

11:20   5      than specific, and it didn't make sense to me to have an

11:20   6      example with Qorvo written all over it.

11:20   7      Q.    Did you have a concern in January 2020 about sending

11:20   8      documents to other folks at Akoustis that had Qorvo's

11:20   9      confidentiality legends on them?

11:20   10     A.    I really didn't think about it.       I mean, reflecting

11:20   11     back, it was -- I should have thought more carefully about

11:20   12     it.   There was a huge amount going on at the time,

11:21   13     personally, as well as at work, I was trying to support

11:21   14     the business in ways that I've -- that I've seen done by

11:21   15     other people in the industry over many years.         But

11:21   16     certainly, when I sit here today and reflect on this, it

11:21   17     was some errors of judgment here on may part.

11:21   18     Q.    Mr. Dry, could I ask you to turn in Exhibit 223 --

11:21   19     A.    Yeah.

11:21   20     Q.    -- to what's on the top right-hand corner, it says

11:21   21     Page 7 of 19?

11:21   22     A.    Yeah.

11:21   23     Q.    And I'll identify for the record, the production

11:21   24     number on the bottom of that page is AKTS_00144097.

11:21   25           Are you there?
        Case 1:21-cv-01417-JPM                                              1101PageID
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11:21   1      A.    I am, yes.

11:21   2      Q.    On this Page 7 of 19 and then continuing towards the

11:21   3      back of Exhibit 223 --

11:21   4      A.    Right.

11:21   5      Q.    -- there's a series of pictures --

11:21   6      A.    Correct, yeah.

11:21   7      Q.    -- that have been annotated.      Do you see that?

11:21   8      A.    Yes.

11:21   9      Q.    Is Akoustis -- or has Akoustis used any of these

11:22   10     pictures for the -- for its inspection guidelines?

11:22   11     A.    Absolutely not.

11:22   12     Q.    Okay.

11:22   13     A.    Just --

11:22   14     Q.    Are these pictures applicable or inapplicable to

11:22   15     products that Akoustis?

11:22   16     A.    Inapplicable.

11:22   17     Q.    Okay.    And is that because these are different kinds

11:22   18     of devices?

11:22   19     A.    Yes, these are -- appear to be all active devices.

11:22   20     And as I explained earlier, "active" means electrically

11:22   21     biased.   These don't -- these are not managed devices,

11:22   22     which is the focus of Akoustis' product portfolio.

11:22   23     Q.    Okay.    Mr. Dry, I've handed you what's been marked as

11:22   24     Exhibit 224, 225, and 226.

11:22   25           All right.    So I'd like to start with Exhibit 224.
        Case 1:21-cv-01417-JPM                                              1102PageID
                                 Document 714-2 Filed 10/29/24 Page 776 of 2283
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11:22   1      A.    Yeah.

11:22   2      Q.    This is an e-mail from yourself to Ms. Wendy Wright;

11:22   3      is that right?

11:22   4      A.    At the top it was originally an e-mail to Mary

11:22   5      Winters.     It looks like Ken Fallon, Joel Morgan, and then

11:22   6      forwarded to Wendy.

11:22   7      Q.    Okay.   So yeah, you're referring to the bottom e-mail

11:23   8      in the chain --

11:23   9      A.    Yeah.

11:23   10     Q.    -- on Exhibit 224 was an e-mail from yourself to Mary

11:23   11     Winters and some other folks, right?

11:23   12     A.    Yes.

11:23   13     Q.    If we could turn to Exhibit 225.

11:23   14     A.    Okay.

11:23   15     Q.    I believe you identified this as a Qorvo document,

11:23   16     right?

11:23   17     A.    Yes.

11:23   18     Q.    And you understand that this is a confidential Qorvo

11:23   19     document?

11:23   20     A.    I do.

11:23   21     Q.    And did you not have authorization to share this

11:23   22     document Akoustis?

11:23   23     A.    I did not.

11:23   24     Q.    If you could compare Exhibit 225 with Exhibit 223.

11:23   25     Would you agree with me that these are different
        Case 1:21-cv-01417-JPM                                              1103PageID
                                 Document 714-2 Filed 10/29/24 Page 777 of 2283
                                            #: 40748 Designation
                                 Dry - Deposition

11:23   1      documents?

11:23   2      A.    Yes.

11:23   3      Q.    So just so we have it clear on the record,

11:23   4      Exhibit 223 was a Qorvo document that you had sent to

11:23   5      Mr. Morgan on January 20th -- sorry, January 16th, 2020.

11:24   6      A.    Yeah.

11:24   7      Q.    And that Exhibit 223 was the General Products

11:24   8      Inspection Procedure, right?

11:24   9      A.    Correct.

11:24   10     Q.    And then Exhibit 225 is a Qorvo document that you

11:24   11     forwarded to Ms. Wright on January 1st, 2020.

11:24   12     A.    Yeah.

11:24   13     Q.    Which is First -- "Final Visual Quality Control

11:24   14     Inspection Document" from Qorvo, right?

11:24   15     A.    Right.

11:24   16     Q.    Do you know where you got the Final Visual Quality

11:24   17     Control Inspection document?

11:24   18     A.    No, I do not.

11:24   19     Q.    If we can turn to Exhibit 226.

11:24   20     A.    Yeah.

11:24   21     Q.    You identified this as the branding guidelines for

11:24   22     Akoustis?

11:24   23     A.    Yes.

11:24   24     Q.    Could I ask you to pull out Exhibit 222?

11:24   25     A.    Yes.
        Case 1:21-cv-01417-JPM                                              1104PageID
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                                 Dry - Deposition

11:24   1      Q.    And Exhibit 222 was the Qorvo branding requirements

11:25   2      document that you sent to Mr. Morgan on July -- sorry,

11:25   3      January 16th, 2020, right?

11:25   4      A.    According to the e-mail, yes.

11:25   5      Q.    Okay.   And would you agree with me that the Akoustis

11:25   6      branding guidelines that have been marked as Exhibit 226

11:25   7      were derived from the Qorvo branding guidelines that have

11:25   8      been marked as 222?

11:25   9      A.    There are some similarities across the documents.

11:25   10     Q.    My question, I hope, is pretty straightforward.         So

11:25   11     on Exhibit 222 --

11:25   12     A.    Yeah.

11:25   13     Q.    -- there's a Qorvo label on the front left corner of

11:25   14     the document, right?

11:25   15     A.    Correct.

11:25   16     Q.    If you look at Exhibit 226, that Qorvo label has been

11:25   17     deleted?

11:25   18     A.    That's correct, yes.

11:26   19     Q.    On Exhibit 222 near the top of the page, there's a

11:26   20     Qorvo confidentiality legend, right?

11:26   21     A.    Yes.

11:26   22     Q.    If you look at Exhibit 226, that Qorvo

11:26   23     confidentiality legend has been deleted?

11:26   24     A.    It has, yes.

11:26   25     Q.    And you were the person that deleted those logo and
        Case 1:21-cv-01417-JPM                                              1105PageID
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                                 Dry - Deposition

11:26   1      confidentiality legends before circulating Exhibit 226,

11:26   2      right?

11:26   3      A.    I do not recall doing that, but let me go back to the

11:26   4      e-mail which I don't remember.

11:26   5            I can't confirm that I actually did that work.

11:26   6      Q.    You mean you can't confirm that you were the person

11:26   7      who deleted the information?

11:26   8      A.    No.   Correct.

11:27   9      Q.    Mr. Dry, I've handed you what's been marked as

11:27   10     Exhibit 227 and 228.

11:27   11     A.    Yeah.

11:27   12     Q.    Exhibit 227 is an Outlook calendar invite, it looks

11:27   13     to be.

11:27   14     A.    Yeah.

11:27   15     Q.    Is that right?

11:27   16     A.    Teams meeting, yeah.

11:27   17     Q.    And Exhibit 228 was produced to us as an attachment

11:27   18     to the calendar invite --

11:27   19     A.    Yeah.

11:27   20     Q.    Okay.   Do you recognize Exhibits 227 and 228?

11:27   21     A.    228 is the same document as you shared as 225, it

11:27   22     would appear.     And 227, I recognize it as an invite, but I

11:27   23     don't personally recall setting up the meeting.

11:27   24     Q.    Okay.   So let's start with 227.

11:27   25     A.    Okay.
        Case 1:21-cv-01417-JPM                                              1106PageID
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                                 Dry - Deposition

11:27   1      Q.    You would agree that this calendar invite was issued

11:27   2      by you?

11:27   3      A.    Yes.

11:27   4      Q.    And you invited Mary Winters, Ken Fallon,

11:27   5      Joel Morgan, and Brook Hosse to a meeting?

11:27   6      A.    Correct.

11:28   7      Q.    Who is Ms. Winters?

11:28   8      A.    Mary Winters heads up the fab.       So she is the head of

11:28   9      front-end operations.

11:28   10     Q.    Okay.   And what are Ms. Winters' responsibilities as

11:28   11     head -- as the person who heads up the fab?

11:28   12     A.    She is totally responsible for all wafers that come

11:28   13     out of Akoustis.

11:28   14     Q.    And would that include the inspection of wafers?

11:28   15     A.    Yes.

11:28   16     Q.    The subject on the meeting was "Wafer Inspection

11:28   17     Document Review"?

11:28   18     A.    Correct.

11:28   19     Q.    And what was the purpose of this meeting?

11:28   20     A.    So I do remember the meeting.      I don't remember

11:28   21     sending the invite or this particular e-mail.

11:28   22           The purpose of the meeting was to show an example of

11:28   23     the level of inspection detailed in a document that I was

11:28   24     pushing to see if we could get applied to wafers coming

11:28   25     out of the fab.     So it's an opportunity to discuss
        Case 1:21-cv-01417-JPM                                              1107PageID
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                                 Dry - Deposition

11:28   1      inspection of wafers coming out.

11:29   2      Q.    Prior to the meeting, how was Akoustis inspecting

11:29   3      wafers out of the fab?

11:29   4      A.    So they were doing visual inspections.        They had

11:29   5      operators who would inspect wafers at each stage.         So

11:29   6      wafers were going through a recognized criteria for pass

11:29   7      and fail of different parts.       My concern was that there

11:29   8      wasn't enough detail, and I was pushing very hard as the

11:29   9      customer of the fab, is how it operates, to get a high

11:29   10     level of inspection applied.

11:29   11     Q.    Was there is any discussion at the meeting as to how

11:29   12     you had obtained the Qorvo inspection guidelines?

11:29   13     A.    I don't recall any discussion on that.

11:29   14     Q.    No one expressed any surprise that you had had this

11:29   15     document?

11:29   16     A.    I certainly don't recall that.

11:29   17     Q.    Mr. Dry, I've handed you what's been marked as

11:29   18     Exhibit 229 and Exhibit 230.

11:30   19           If we look at Exhibit 229, it's an e-mail from

11:30   20     yourself to Mary Winters, Ken Fallon, Joel Morgan,

11:30   21     Brook Hosse, and Thomas Mooney.

11:30   22           Do you see that?

11:30   23     A.    I do.

11:30   24     Q.    And you sent the e-mail on January 20th, 2020?

11:30   25     A.    Yeah.
        Case 1:21-cv-01417-JPM                                              1108PageID
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                                 Dry - Deposition

11:30   1      Q.    And you attached to your e-mail the Qorvo Final

11:30   2      Visual Quality Inspection document?

11:30   3      A.    Correct.

11:30   4      Q.    In your message to the group that e-mailed, you said:

11:30   5      (Reading)

11:30   6            Attached is a doc that I have, and for good reasons

11:30   7      have edited out former references.

11:30   8      A.    Yeah.

11:30   9      Q.    What did you mean by "edited out former references"?

11:30   10     A.    I've edited out references to Qorvo because I didn't

11:30   11     want to be showing a document around that we would be

11:30   12     discussing as an example that had Qorvo written on it.

11:31   13     Q.    Mr. Dry, I've handed you what's been marked as

11:31   14     Exhibits 231 and 232.      As a result, you would agree that

11:31   15     Exhibit 232 is a Qorvo document?

11:31   16     A.    Yes.

11:31   17     Q.    And as with Exhibit 230 and 228, you didn't have

11:31   18     authorization to share this Qorvo document on

11:31   19     February 11th, 2020 with the folks who you had e-mailed it

11:31   20     to?

11:31   21     A.    Correct, I did not.

11:31   22     Q.    Okay.   I'd like to start with your e-mail, which has

11:31   23     been marked as Exhibit 231.

11:31   24           You e-mailed Jerry Gray, Brook Hosse, Joel Morgan,

11:31   25     Mary Winters, and Ken Fallon.
        Case 1:21-cv-01417-JPM                                              1109PageID
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                                 Dry - Deposition

11:31   1            Do you see that?

11:31   2      A.    I do.

11:31   3      Q.    If you look at the third paragraph -- well, first of

11:31   4      all, if you move down one line --

11:31   5      A.    Yeah.

11:31   6      Q.    -- in your e-mail, it says:      (Reading)

11:31   7            Ahead of the call, I would like to share something

11:32   8      for discussion.

11:32   9            Do you see that?

11:32   10     A.    Yeah.

11:32   11     Q.    And then, I think, in the next to paragraphs you

11:32   12     outline some things you would like to discuss; is that

11:32   13     right?

11:32   14           You say:    (Reading)

11:32   15           My suggestion is, therefore, to use something like

11:32   16     the attached process, slash, form to highlight issues on a

11:32   17     wafer at a very macro inspection level prior to shipment

11:32   18     from the fab?

11:32   19     A.    Correct.

11:32   20     Q.    Okay.   And the attached process, slash, form that

11:32   21     you're referring to is the Qorvo Final Visual Quality

11:32   22     Control Inspection that's been marked as Exhibit 232?

11:32   23     A.    Correct.

11:32   24     Q.    And you were pressing the fab to adopt a procedure

11:32   25     like this so that they could use it to inspect wafers
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                                 Dry - Deposition

11:32   1      before they would be shipped to the assembly houses?

11:32   2      A.    Correct.    I would also, I mean, going back to

11:32   3      Document 229, which is the...yeah, which precede this,

11:32   4      which had previously been shared with the same group, I

11:33   5      had clearly stated:     (Reading)

11:33   6            There is far too much in this document than we will

11:33   7      need, but it does help provide a format and provide detail

11:33   8      of industry specs applied.      So although that's not

11:33   9      reiterated in this document, I think it's important to

11:33   10     recognize that this was an example of a very onerous

11:33   11     document covering a different portfolio of product, but it

11:33   12     was an example of an industry standard.

11:33   13     Q.    Mr. Dry, I've handed you what's been marked as

11:33   14     Exhibits 248 and 249.

11:33   15           Do you recognize these documents?

11:33   16     A.    No.

11:33   17     Q.    Okay.   If we can start with Exhibit 248, you would

11:33   18     agree with me that this is an e-mail exchange between

11:33   19     yourself and Jerry Gray?

11:33   20     A.    That's what it states here.

11:33   21     Q.    Who is Jerry Gray again?

11:33   22     A.    Head of project management team.

11:33   23     Q.    And if we look at the first e-mail chronologically in

11:34   24     the chain from Mr. Gray, at the bottom it says:         (Reading)

11:34   25           Rob, do you have a copy of the, quote, Q, end quote,
        Case 1:21-cv-01417-JPM                                              1111PageID
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                                 Dry - Deposition

11:34   1      reflow policy, question mark.

11:34   2            Do you see that?

11:34   3      A.    I do.

11:34   4      Q.    When Mr. Gray referred to the "Q reflow policy," you

11:34   5      understood that that was referring to Qorvo's reflow

11:34   6      policy?

11:34   7      A.    I can't confirm that.

11:34   8      Q.    Okay.   Well, you responded to Mr. Gray the next day,

11:34   9      and you said, "Found it."

11:34   10     A.    Yes.

11:34   11     Q.    And you attached a document to your e-mail, right?

11:34   12     A.    Yes.

11:34   13     Q.    And if you look at Exhibit 249, this is a Qorvo --

11:34   14     A.    Okay.

11:34   15     Q.    -- reflow policy, right?

11:34   16     A.    Correct, it is.

11:34   17     Q.    So at least when Mr. Gray referred to a Q document,

11:34   18     you understood that that meant a Qorvo document?

11:34   19     A.    He was asking for a reflow document.       I found a

11:34   20     reflow document.

11:35   21     Q.    So a Q reflow document would refer to a Qorvo reflow

11:35   22     document, but a Q test plan would refer to a Qorvo test

11:35   23     plan?

11:35   24     A.    I don't know how you can assume that.       I don't -- I

11:35   25     mean, it's a reference to a Q.       It could mean anything.
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                                 Dry - Deposition

11:35   1      Q.    Okay.

11:35   2      A.    The specifics of the e-mail was looking for a reflow

11:35   3      document.     It happened that what I found, and I have no

11:35   4      recollection of actually finding this or sending it to

11:35   5      him, but it is a Qorvo reflow document.

11:35   6      Q.    You said "found it" in your e-mail to him?

11:35   7      A.    Yes.

11:35   8      Q.    Where did you find it?

11:35   9      A.    I don't recall.

11:35   10     Q.    Did you have this on a home computer?

11:35   11     A.    I don't recall where I found it.

11:35   12     Q.    This is not the first time where you were able to

11:35   13     find confidential Qorvo policy somewhere and attach it to

11:35   14     an e-mail.     You don't have any recollection where you were

11:35   15     obtaining those policies?

11:35   16     A.    I do not.

11:35   17     Q.    Okay.   Mr. Dry, I've handed you what's been marked as

11:35   18     Exhibits 250 and 251.

11:36   19           Do you recognize Exhibits 250 and 251?

11:36   20     A.    I don't remember these.

11:36   21     Q.    Okay.   Exhibit 250 appears to be a follow-on to the

11:36   22     e-mail correspondence that we were just looking at in

11:36   23     Exhibits 248 and 249, correct?

11:36   24     A.    Correct.

11:36   25     Q.    So in other words, you had sent the Qorvo reflow
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                                            #: 40758 Designation
                                 Dry - Deposition

11:36   1      policy to Mr. Gray, and then he wrote back to you and

11:36   2      said -- he said:     (Reading)

11:36   3            Thank you for the document.

11:36   4            Right?

11:36   5      A.    Yes.

11:36   6      Q.    And he says:    (Reading)

11:36   7            By chance, do you have POL-000021 customer

11:36   8      requirements for one-time reflow or 5TC preconditioning.

11:36   9            Do you see that?

11:36   10     A.    I do.

11:36   11     Q.    So Mr. Gray was asking you for another Qorvo document

11:36   12     that had been referenced in the Qorvo reflow policy?

11:36   13     A.    Right.

11:36   14     Q.    Okay.    And you responded to Mr. Gray later that same

11:36   15     day and said, "Here you go."

11:37   16     A.    According to this, yes.

11:37   17     Q.    And you attached, again, another Qorvo document?

11:37   18     A.    Correct.

11:37   19     Q.    And that's Exhibit 251?

11:37   20     A.    Yes.

11:37   21     Q.    Okay.    Do you know where you got Exhibit 251 from?

11:37   22     A.    No, I do not recall.

11:37   23     Q.    Did you have authorization from Qorvo to share

11:37   24     Exhibit 251 with Akoustis?

11:37   25     A.    I did not.
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                                 Dry - Deposition

11:37   1      Q.    And I should have asked this before, but going back

11:37   2      to examine 249 --

11:37   3      A.    Yes.

11:37   4      Q.    -- which is the reflow -- Qorvo reflow policy --

11:37   5      A.    Right.

11:37   6      Q.    -- that you sent to Mr. Gray on May 20 of 2020.

11:37   7            Do you have that?

11:37   8      A.    Yes, I do.

11:37   9      Q.    Did you have authorization from Qorvo to share

11:37   10     Exhibit 249 with anyone at Akoustis?

11:37   11     A.    I did not.

11:37   12     Q.    I will hand you what's now been marked as

11:37   13     Exhibit 253.

11:37   14           Mr. Dry, do you recognize Exhibit 253?

11:38   15     A.    I recognize it from my time at Qorvo.

11:38   16     Q.    Do you understand that Exhibit 253 is a confidential

11:38   17     Qorvo document?

11:38   18     A.    I do.

11:38   19     Q.    Do you know how it came to be in your files at

11:38   20     Akoustis?

11:38   21     A.    I do not.

11:38   22     Q.    Did you have authorization to bring Exhibit 253 with

11:38   23     you to Akoustis?

11:38   24     A.    I did not.

11:38   25           (Playing of video deposition concluded.)
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                                  Dry - Deposition

11:38   1                   THE COURT:     Okay.   That concludes that

11:38   2      deposition.       And I believe we have another 18 exhibits.

11:38   3      There be some overlap.       So what's the exact number?

11:38   4                   MR. ALPER:     We have 12 new exhibits,

11:38   5      Your Honor.

11:38   6                   THE COURT:     Twelve new ones.    Okay.   So we'll

11:38   7      add 12 to the existing numbers.        We were at 187, so we'll

11:39   8      be at 199.    Then we'll start 200 with the next set of

11:39   9      exhibits.

11:39   10                  And, again, you'll receive that list, and,

11:39   11     hopefully, it will be helpful.        It won't have much

11:39   12     descriptive information.

11:39   13                  Yes, Counselor?

11:39   14                  (Trial Exhibit Nos. 188, 189, 190, 191, 192,

11:39   15     193, 194, 195, 196, 197, 198, 199 were admitted into

11:39   16     evidence.)

11:39   17                  MR. ALPER:     Permission to approach and hand up

11:39   18     the binders with the exhibits?

11:39   19                  THE COURT:     That's fine.

11:39   20                  And who's our next witness?

11:39   21                  MR. MASTERS:     Plaintiffs call Dr. Jeff Shealy.

11:39   22                  THE COURT:     Certainly.

11:39   23                  Dr. Shealy, come forward.

11:40   24                  Come forward.     The clerk will swear you in.

11:40   25                  THE CLERK:     Please state and spell your name
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                                        Shealy    - Direct

11:40   1      for the record.

11:40   2                   THE WITNESS:    Jeffrey B. Shealy.      So

11:40   3      J-E-F-F-R-E-Y, middle initial B., Shealy S-H-E-A-L-Y.

11:40   4                   THE CLERK:    Please remain standing and raise

11:40   5      your right hand.

11:40   6            JEFFREY B. SHEALY, having been called as a witness,

11:40   7      being first duly sworn under oath or affirmed, testified

11:40   8      as follows:

11:40   9                   THE COURT:    Thank you.    Please be seated.

11:40   10                  You may proceed -- counsel may proceed.

11:40   11                  MR. MASTERS:    Thank you, Your Honor.

11:40   12                            DIRECT EXAMINATION

11:40   13     BY MR. MASTERS:

11:40   14     Q.    Good morning, Dr. Shealy.

11:41   15     A.    Good morning.

11:41   16     Q.    My name is Robert Masters.      I represent the

11:41   17     plaintiff, and I'm going to ask you a few questions.

11:41   18           Dr. Shealy, you are the founder of Akoustis, correct?

11:41   19     A.    Yes, correct.

11:41   20     Q.    And you are the CEO of Akoustis?

11:41   21     A.    Yes, I am.

11:41   22     Q.    You've been the CEO of Akoustis since you found the

11:41   23     company?

11:41   24     A.    That is correct.

11:41   25     Q.    And what year was that?
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                                        Shealy    - Direct

11:41   1      A.    That would be 2014.

11:41   2      Q.    Okay.    And prior to 2014, you were employed by RFMD?

11:41   3      A.    That's correct.     RF Micro Devices, RFMD, yes.

11:41   4      Q.    And how long were you with RFMD?

11:41   5      A.    Approximately 13 years.

11:41   6      Q.    And at RFMD, did you ever work on BAW filters?

11:41   7      A.    No, I did not.

11:42   8      Q.    Now, BAW filters, you would agree with me, are fairly

11:42   9      complex devices?

11:42   10     A.    Yes.

11:42   11     Q.    Require high precision in the design of those

11:42   12     products?

11:42   13     A.    A lot of detail.     Yes, I would agree with that.

11:42   14     Q.    And that high precision of both the design and the

11:42   15     manufacturing of those products?

11:42   16     A.    Yes.    And those two things are coupled, so yes.

11:42   17     Q.    And require sophisticated technologies, like

11:42   18     trimming, for example?

11:42   19     A.    That would -- yes, that is correct.

11:42   20     Q.    And trimming is a technology that's been developed

11:42   21     over the years, right?

11:42   22     A.    The trade has been refined over the years, yes.

11:42   23     Q.    Has a lot of technology know-how and how to trim a

11:42   24     BAW filter, correct?

11:42   25     A.    There is a learning curve once you -- once you have
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                                         Shealy    - Direct

11:42   1      the tool to be able to trim the -- to be able to trim the

11:42   2      layer.

11:42   3      Q.    And when we talk about your products for the market,

11:43   4      would you agree with me that there are three phases?

11:43   5      There's the sampling phase, a preproduction phase, and

11:43   6      then a mass production phase?

11:43   7      A.    So if I look at a sales funnel, you could organize in

11:43   8      those.    That would be a reasonable organization of those

11:43   9      phases.

11:43   10     Q.    And sampling is -- well, why don't you explain to the

11:43   11     jury what sampling is.

11:43   12     A.    Sampling of a BAW device, or any semiconductor

11:43   13     device, would include an embodiment of the end product.

11:43   14     You would engineer that product against, presumably, a

11:43   15     data sheet.       And then once you're ready to present that to

11:43   16     a customer, you would call it "a sample," and you would

11:43   17     offer it to the customer for evaluation.

11:44   18     Q.    Okay.   And so in 2014, your first day at Akoustis

11:44   19     your idea is to develop a BAW filter with single crystal

11:44   20     technology?

11:44   21     A.    That is correct.

11:44   22                   MR. MASTERS:    Your Honor, may I approach?

11:44   23                   THE COURT:    You may.

11:44   24                   THE WITNESS:    Thank you.

        25
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                                        Shealy    - Direct

11:44   1      BY MR. MASTERS:

11:44   2      Q.    Dr. Shealy, do you recognize what's been marked as

11:44   3      Plaintiff's Exhibit 767?

11:44   4      A.    Yes, I do.

11:44   5      Q.    And it's --

11:44   6      A.    There are multiple -- sir, there's multiple --

11:44   7      there's multiple documents here, but I do recognize the

11:44   8      document.     But I do see more than one document here, just

11:44   9      for clarification.

11:44   10     Q.    Okay.   Well, let's refer to the first two pages, if

11:44   11     you will.

11:45   12     A.    Okay.

11:45   13     Q.    This document's date is September 2014, correct?

11:45   14     A.    That is correct.

11:45   15     Q.    And it's titled "Akoustis, Inc. Single Crystal

11:45   16     Acoustic Resonator Filters," correct?

11:45   17     A.    That is correct.

11:45   18     Q.    And it has your name there, correct?

11:45   19     A.    Yes, sir, that's my name.

11:45   20                   MR. MASTERS:   Your Honor, I would move the

11:45   21     admission of Plaintiff's Exhibit 767.

11:45   22                   MR. LEMIEUX:   Your Honor, objection in the

11:45   23     sense that the witness has admitted that it's a multiple

11:45   24     document.

11:45   25                   THE COURT:   I understand.    The objection is
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1120PageID
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                                        Shealy    - Direct

11:45   1      overruled.

11:45   2                    If it turns out that it's an inappropriately

11:45   3      submitted document, we will take those out.

11:45   4                    MR. MASTERS:   Your Honor, it's been admitted as

11:45   5      what number?

11:45   6                    THE COURT:   It should be 200.

11:45   7                    (Trial Exhibit No. 200 was admitted into

11:45   8      evidence.)

11:45   9                    MR. MASTERS:   Thank you.

11:45   10                   Can we project Plaintiff's 767.

11:45   11     BY MR. MASTERS:

11:45   12     Q.    So this is your document that you created, correct?

11:45   13     A.    Yes, sir.    I recognize the document.

11:45   14     Q.    What was the first day of Akoustis?

11:46   15     A.    May -- I'd have to look at the incorporation date,

11:46   16     but approximately mid-May of 2014.

11:46   17     Q.    Okay.

11:46   18                   MR. MASTERS:   And can we go do Page 2, please.

11:46   19     BY MR. MASTERS:

11:46   20     Q.    This is an executive summary that you prepared,

11:46   21     correct?

11:46   22     A.    That is correct.

11:46   23     Q.    And in the middle, there's the "Value proposition,

11:46   24     single crystal devices offer better acoustic quality

11:46   25     versus today's BAW."
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                                        Shealy    - Direct

11:46   1             Do you see that?

11:46   2      A.     That's correct.

11:46   3      Q.     Okay.    And that was your understanding, the single

11:46   4      crystal technology would be better than conventional BAW

11:46   5      filters?

11:46   6      A.     That was our thesis going in.      Obviously, these are

11:46   7      the early stages of a company, which -- which, also, if

11:46   8      you're bringing a new nano material, you certainly look at

11:46   9      the physical properties, and then you can project those

11:47   10     physical properties to translate into better devices.

11:47   11     That would be the representation that you're highlighting,

11:47   12     sir.

11:47   13     Q.     And when we talk single crystal, we're talking about

11:47   14     the piezoelectric layer, correct?

11:47   15     A.     Yes, we are.

11:47   16     Q.     And that is the layer that sits between the two

11:47   17     electrodes, correct?

11:47   18     A.     Yes.    If you think of a capacitor, the piezoelectric

11:47   19     material would be the sandwich material in between the two

11:47   20     metals.

11:47   21     Q.     So you have the sandwich of a top electrode, the

11:47   22     bottom electrode, and a piezoelectric layer in between the

11:47   23     two, correct?

11:47   24     A.     That's a reasonable simple explanation of what it is,

11:47   25     yes.
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11:47   1      Q.    Thank you.

11:47   2            And it was that middle layer that you were seeking to

11:47   3      make single crystal, correct?       That was the thesis of the

11:47   4      company?

11:47   5      A.    That was -- as we founded the company, yes.

11:47   6      Q.    And the conventional piezoelectric layer was what's

11:47   7      known as "polycrystalline"?

11:48   8      A.    Yes.    Or polycrystalline or thin film, which is, in

11:48   9      my view, equivalent.

11:48   10     Q.    Now, is what's been marked there in your hands as TX

11:48   11     Trial Exhibit 200, it was the starting point for a

11:48   12     marketing document for Akoustis?

11:48   13     A.    I'm sorry, sir.      Just guide me where we're going.

11:48   14     I'm sorry.

11:48   15     Q.    The same document --

11:48   16     A.    The same document.

11:48   17     Q.    This was the beginnings of a marketing document,

11:48   18     wasn't it?

11:48   19     A.    I think that would be reasonable, yes.         That would be

11:48   20     a reasonable conclusion.

11:48   21     Q.    Okay.

11:48   22                   MR. MASTERS:   Your Honor, may I approach?

11:48   23                   THE COURT:   You may.

11:48   24     BY MR. MASTERS:

11:49   25     Q.    Dr. Shealy, can you identify what's been marked as
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1123PageID
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                                        Shealy    - Direct

11:49   1      Plaintiff's Exhibit 769?

11:49   2      A.    769 would represent a -- effectively, an update to a

11:49   3      marketing document, or a business plan document.

11:49   4      Q.    Okay.    And you recognize this document, correct?

11:49   5      A.    I'll probably flip through it and make sure it's not

11:49   6      mingled with anything else.       But, yes, I -- sir, I do

11:49   7      recognize the document, and --

11:49   8                    MR. MASTERS:   Your Honor, I would move for

11:49   9      admission Plaintiff's Exhibit 769.

11:49   10                   THE COURT:   Marked and received as 201.

11:49   11                   (Trial Exhibit No. 201 was admitted into

11:49   12     evidence.)

11:49   13                   MR. MASTERS:   Can we project the cover?

11:49   14                   THE COURT:   You may.

11:49   15     BY MR. MASTERS:

11:49   16     Q.    So Dr. Shealy, now we're in May of 2015, so about a

11:49   17     year after the company has been formed, correct?

11:49   18     A.    Approximately, yes.

11:49   19     Q.    And the title here is "Disruptive Single Crystal

11:50   20     Filter Solutions for 4G/LTE Smartphones and Beyond,"

11:50   21     correct?

11:50   22     A.    That is correct.

11:50   23     Q.    So, again, you were -- you were still working on the

11:50   24     technology of single crystal for the piezoelectric layer,

11:50   25     correct?
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1124PageID
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11:50   1      A.    That is correct.

11:50   2      Q.    And Trial Exhibit 201, at least, was identifying the

11:50   3      4G/LTE smartphone as the market for the BAW filters,

11:50   4      correct?

11:50   5      A.    4G/LTE is -- the smartphone market is the largest

11:50   6      market that's available.      So this type of document would

11:50   7      be used for marketing to investors.        And investors would

11:50   8      want to include a very broad -- they want to see a large

11:50   9      market opportunity.     So that's certainly consistent with

11:50   10     the marketing of the document.

11:50   11                   MR. MASTERS:   Could we turn to Page 4, please.

11:50   12     BY MR. MASTERS:

11:50   13     Q.    Doctor, can you turn to Page 4?

11:50   14     A.    Yes, sir.

11:50   15     Q.    So this document illustrates a BAW filter up at the

11:51   16     top, correct?

11:51   17     A.    Yes.

11:51   18     Q.    And you have switches on one side, correct?

11:51   19     A.    That would represent our front end, so it would

11:51   20     include switches, yes, sir.

11:51   21     Q.    And on the left side, you have amps.        That would be

11:51   22     like a power amplifier, PA?

11:51   23     A.    That is correct.

11:51   24     Q.    Okay.   And this is somewhat of a typical layout for

11:51   25     the use of BAW filters in the wireless devices; is that
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11:51   1      correct?

11:51   2      A.    This is very generic.      I would call it a generic

11:51   3      layout.    They could -- it could -- you could have

11:51   4      amplifiers and filters, amplifier switches.          But it's very

11:51   5      generic, as what's shown here.

11:51   6      Q.    Fair enough.

11:51   7            But generally speaking, or maybe even specifically,

11:51   8      BAW filters are designed to interface with switches, power

11:51   9      amplifiers; isn't that correct?

11:52   10     A.    They are designed to interface with other --

11:52   11     typically, in an RF chain, which is where you're

11:52   12     transmitting or receiving, it would be somewhere in the

11:52   13     line of -- it could be in the -- a head of an amplifier,

11:52   14     after the amplifier.      So the order wasn't really intended

11:52   15     to be specific here, other than if you took open a front

11:52   16     end, then -- or a fully integrated front end, you would

11:52   17     see a filter.     So...

11:52   18     Q.    But my question is:     Filters are designed to be

11:52   19     working with a power amplifier, for example?

11:52   20     A.    They are designed to work with a power amplifier or

11:52   21     other solid state devices in the transmit lineup or

11:52   22     receive lineup.

11:52   23     Q.    Other devices could be like a switch, RF switch,

11:52   24     correct?

11:52   25     A.    It would include switches, yes, sir.
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                                        Shealy    - Direct

11:52   1      Q.    Or LNAs, low noise amplifiers, correct?

11:52   2      A.    Yes, sir.    Anything in the transmit and receive

11:52   3      lineup.

11:52   4      Q.    Now, later in 2015, was Akoustis still working on

11:53   5      single crystal technology?

11:53   6      A.    Later in 2015?

11:53   7      Q.    Yes.

11:53   8      A.    The company, since its founding, has been working on

11:53   9      single crystal nano materials for BAW devices.          And so

11:53   10     that would include May of 2014 through current day.

11:53   11     Q.    Well, my question was in latter part of 2015, you

11:53   12     were still working on single crystal technology, correct?

11:53   13     A.    Yes, sir.

11:53   14     Q.    And were you still a technology company, or had you

11:53   15     transitioned to a product company yet?

11:53   16     A.    We had -- that transition would -- in order to

11:53   17     transition from an R&D company to a product company, you

11:53   18     would need a manufacturing capability.        And so we were, at

11:53   19     that time, working with an outside manufacturing

11:53   20     capability in the attempt to transition the materials we

11:54   21     were building into -- into samples and into products for

11:54   22     the market.

11:54   23     Q.    But it was true that in September 2015 and early

11:54   24     2016, the company needed to start generating revenue;

11:54   25     isn't that correct?
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11:54   1      A.    My recollection is that the company started

11:54   2      generating revenue in early 2015.        The first revenue

11:54   3      generation would have been with -- in most high-tech

11:54   4      companies, the first customer in a new technology would be

11:54   5      the U.S. government.      So it would be, typically, the

11:54   6      defense market.

11:54   7            And we had won our first defense contract with

11:54   8      National Science Foundation.       I believe we got the letter

11:54   9      of that in December of 2014.

11:54   10     Q.    But in terms of selling single crystal BAW filters,

11:54   11     you never went into production of those in 2015, correct?

11:54   12     A.    I would have to -- I would have to check the records.

11:54   13     But what I would say is, we targeted the defense market,

11:55   14     and we -- if we had samples, we were sampling the market.

11:55   15     Q.    But did you ever go into production of BAW filters in

11:55   16     2015 that had single crystal technology?

11:55   17     A.    That would seem on the early end of sampling.          I

11:55   18     mean, we were just building samples at that time.

11:55   19     Q.    So sampling is first, production is the last stage;

11:55   20     isn't that correct?

11:55   21     A.    For a defense customer, that's building in small

11:55   22     quantities, samples would -- if they were putting them in

11:55   23     a system for ground -- if it's a ground-based radar, then

11:55   24     the samples could be used in the body of a defense system.

11:55   25     For example, if they only need ten to make a prototype
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11:55   1      system, then ten devices would be enough.

11:55   2            And as I recall, the customer that we were using at

11:55   3      that time -- or we were engaging with at that time, was

11:55   4      actually inserting our devices for what I would consider

11:55   5      either mini systems or one-off systems.

11:55   6      Q.    So your testimony is that from within a year, year

11:55   7      and a half, you were already making BAW filters for the

11:56   8      government's use --

11:56   9      A.    Sir, my test- --

11:56   10     Q.    -- is that your testimony?

11:56   11     A.    Excuse me.     I'm sorry.

11:56   12     Q.    Is that your testimony?

11:56   13     A.    My testimony is that I would need to check the

11:56   14     records of when we sampled our first customer.          But our

11:56   15     first customer was National Science Foundation, which we

11:56   16     were sampling, and a defense radar customer, which would

11:56   17     require very low volumes.

11:56   18           So if we were building -- if the embodiments were

11:56   19     available, then we certainly could check the logs when we

11:56   20     ship things.      But that's what we were -- if we announced

11:56   21     something, then we had shipped it, that's for sure.

11:56   22     Q.    Now, we talked earlier about sampling, and

11:56   23     preproduction, and then production.

11:56   24           Do you recall that?

11:56   25     A.    Yes, sir.
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11:56   1      Q.    Have you -- has Akoustis ever made single crystal BAW

11:56   2      filters in the production at the production levels, mass

11:56   3      production levels?

11:56   4      A.    Yes, we have.

11:56   5      Q.    And which product was that?

11:57   6      A.    A product which is a 10161 product.          Yes, sir.

11:57   7      Q.    And who was the client on that?

11:57   8      A.    It is in an HP Aruba Wi-Fi 7 router, which is in the

11:57   9      early stages of production as we currently speak.

11:57   10     Q.    Is that today?

11:57   11     A.    Yes, sir.      Wi-Fi 7s are the latest embodiment.       So

11:57   12     that would be Enterprise router by HP Aruba.

11:57   13     Q.    So in 2015, were you in mass production of single

11:57   14     crystal BAW filters?

11:57   15     A.    We were in -- in 2015, we were not in mass

11:57   16     production.       We were working on --

11:57   17     Q.    That's my question.

11:57   18     A.    Okay.

11:57   19     Q.    How about 2016, were you in mass production of single

11:57   20     crystal BAW filters?

11:57   21     A.    I think we -- so in 2016, we were still sampling in

11:57   22     small quantities, but those quantities were going to

11:58   23     defense customer.       And we could certainly provide the

11:58   24     details of what system that those samples were being

11:58   25     inserted or evaluated.
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11:58   1      Q.    Now, did there come a time when you transitioned to

11:58   2      making BAW filters using polycrystalline?

11:58   3      A.    Yes.    So --

11:58   4      Q.    When was that?      When was the first time you did that?

11:58   5      A.    The -- we acquired a -- our New York fab in 2017.

11:58   6      And so we were -- when we acquired the fab, it was in the

11:58   7      middle of 2017.       So up until that point, the expertise

11:58   8      within the company was all single crystal-based materials.

11:59   9      That's what we were building.       Prior to owning our own

11:59   10     fab, we were building this at a U.S. foundry out in

11:59   11     Torrance, California, called GCS.

11:59   12           And so all of the work that we were doing at the GCS

11:59   13     was with the single crystal materials, because that's what

11:59   14     we were procuring when -- just to finish the point.           In

11:59   15     2017, when we acquired the fab, the fab itself had an

11:59   16     internal capability of polycrystalline.

11:59   17     Q.    Okay.   And at that period of time in 2017, 2018 you

11:59   18     were really focused on making products using single --

11:59   19     using polycrystalline for production purposes, not

11:59   20     sampling, production; isn't that correct?

11:59   21     A.    When you acquire a new fab, the process -- you have

11:59   22     to transfer a technology into the fab so we were

11:59   23     transferring single crystal technology into the fab.           The

11:59   24     fab itself had an internal capability of polycrystalline,

12:00   25     and I believe in that time frame we had -- we originally
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                                        Shealy    - Direct

12:00   1      marked the technology as bulk 1, which was a single

12:00   2      crystal technology.     And when we finished the development

12:00   3      of the technology in the fab, given that it could use

12:00   4      either single crystal or polycrystalline, we rebranded the

12:00   5      technology XBAW, the X standing for transfer because it

12:00   6      was a transfer flow.

12:00   7                    MR. MASTERS:   Your Honor, may I approach?

12:00   8                    THE COURT:   You may.

12:00   9      BY MR. MASTERS:

12:00   10     Q.    Dr. Shealy, I've handed you what's been marked as

12:00   11     Plaintiff's Exhibit 791.      Do you recognize this document?

12:01   12     A.    Let me flip through since it's a pile of paper.

12:01   13           Yes, I do recognize the document, sir.

12:01   14     Q.    Okay.    And this is the transcript of a speech you

12:01   15     gave at the 21st annual Needham Growth Conference; is that

12:01   16     correct?

12:01   17     A.    Yes, sir, that is correct.

12:01   18     Q.    And that was January 2019, correct?

12:01   19     A.    Yes, sir, January 15.

12:01   20                   MR. MASTERS:   Your Honor, I move the admission

12:01   21     of PTX-791.

12:01   22                   THE COURT:   Marked and received as 202.

12:01   23                   (Trial Exhibit No. 202 was admitted into

12:01   24     evidence.)

        25
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12:01   1                    MR. MASTERS:   Can we project that?      Fourth

12:01   2      paragraph.

12:01   3      BY MR. MASTERS:

12:01   4      Q.    Dr. Shealy, there you said --

12:01   5                    MR. MASTERS:   Can we highlight "the company

12:01   6      today."

12:01   7      BY MR. MASTERS:

12:01   8      Q.    Here, during this speech, you represented that the

12:01   9      company today is a commercial stage company, correct?

12:02   10     A.    That is correct.

12:02   11     Q.    That Akoustis designs and manufactures patented

12:02   12     single crystal based BAW filters.

12:02   13     A.    Yes, sir.    Reading along with you, yes, sir.

12:02   14     Q.    But at the time, you were not in mass production of

12:02   15     any single crystal BAW filters, correct?

12:02   16     A.    We had -- if you look at the history of the company

12:02   17     in --

12:02   18     Q.    I'm sorry.    My question was, at that time, you were

12:02   19     not in mass production of single crystal technology; isn't

12:02   20     that correct?

12:02   21     A.    We were in a production platform in a defense market,

12:02   22     which is a small volume market.       So in the -- for mass

12:02   23     production, I would call mass production in the mobile

12:02   24     market or in the Wi-Fi market.

12:02   25     Q.    Okay.   And at the bottom, you were promoting -- at
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12:02   1      the bottom, you were saying that the single crystal BAW

12:02   2      filters allows you to achieve product advantages including

12:03   3      power handling.

12:03   4            Do you see that?

12:03   5      A.    Yes, I do.

12:03   6      Q.    It allows higher bandwidth, smaller size, as well as

12:03   7      high speed operations, correct?

12:03   8      A.    That is correct.     Those would be the three -- those

12:03   9      three things are the trade-offs that we would design

12:03   10     around.    If you needed more one of one, these would be the

12:03   11     design trade-offs in the technology.

12:03   12     Q.    Now, you were not in the courtroom because you are

12:03   13     not allowed to hear when others are testifying, but

12:03   14     Mr. Aichele was testifying earlier today.

12:03   15           Do you know that?

12:03   16     A.    I was aware of that, yes, sir.

12:03   17     Q.    And Mr. Aichele's testimony was that Akoustis has

12:03   18     never gone to production with single crystal technology;

12:03   19     isn't that correct?

12:03   20     A.    I can't speak to what Mr. Aichele; I wasn't in the

12:03   21     courtroom.

12:03   22     Q.    Okay.   Fair enough.

12:03   23                   MR. MASTERS:   Can we go to Page 2 of the same

12:03   24     exhibit.    And can we highlight the third paragraph

12:04   25     beginning with "Dave Aichele."
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                                        Shealy    - Direct

12:04   1      BY MR. MASTERS:

12:04   2      Q.    This is in January of 2019 you're giving this

12:04   3      presentation, correct?

12:04   4      A.    Yes.

12:04   5      Q.    And you refer there to Mr. Aichele, first as the

12:04   6      executive and business development of the company.

12:04   7      A.    That is correct, sir.

12:04   8      Q.    And that he's responsible for customer acquisition,

12:04   9      as well as alignment with the market internally to the

12:04   10     company, right?

12:04   11     A.    I think that's a reasonable description of

12:04   12     Mr. Aichele's role.

12:04   13     Q.    Okay.   These are your words, right?

12:04   14     A.    Yes, sir.

12:04   15     Q.    Thank you.

12:04   16           We really -- "we recently promoted Roman Houlden to

12:04   17     chief product officer"; is that true?

12:04   18     A.    Yes, we did.

12:04   19     Q.    "He's a former Qorvo general manager, and he is --

12:04   20     where he ran $150 million Wi-Fi business," right?

12:05   21     A.    That is correct.

12:05   22     Q.    And that was --

12:05   23     A.    That was --

12:05   24     Q.    Cornered the mark for you -- right -- at that time?

12:05   25     A.    We went into production in 2019 into Wi-Fi, so we
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                                        Shealy    - Direct

12:05   1      were in development prior to that point.

12:05   2      Q.     Okay.

12:05   3                     MR. MASTERS:   Your Honor, may I approach?

12:05   4                     THE COURT:   You may.

12:05   5      BY MR. MASTERS:

12:05   6      Q.     Dr. Shealy, I'm giving you what's been marked as

12:05   7      Plaintiff's Exhibit 790.

12:05   8             Do you recognize the top e-mail from you to Mary

12:05   9      Winters?

12:05   10     A.     Yes, I do.

12:06   11     Q.     And the bottom e-mail was also from you to

12:06   12     Mr. Houlden copying Dave Aichele?

12:06   13     A.     Yes.    I'm reading along with you, yes.

12:06   14                    MR. MASTERS:   Your Honor, I move the admission

12:06   15     of Plaintiff's Exhibit 790.

12:06   16                    THE COURT:   Marked and received as 203.

12:06   17                    (Trial Exhibit No. 203 was admitted into

12:06   18     evidence.)

12:06   19                    MR. MASTERS:   I'm sorry, Your Honor.     Was that

12:06   20     204?

12:06   21                    THE COURT:   203.

12:06   22                    MR. MASTERS:   Can we project?     Thank you.   Can

12:06   23     we highlight the -- top email, highlight the second

12:06   24     paragraph?

        25
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                                        Shealy    - Direct

12:07   1      BY MR. MASTERS:

12:07   2      Q.    You write to Mary Winters in August of 2018.          And

12:07   3      your comment is, "I would like to migrate quickly to a

12:07   4      dedicated lot, start meeting, which I sit to listen to

12:07   5      logic.   Poly" -- meaning polycrystalline, right?

12:07   6      A.    Yes, that is correct.

12:07   7      Q.    "Poly should be default until customer says no."

12:07   8            Do you see that?

12:07   9      A.    I do see that, yes, sir.

12:07   10     Q.    So you were telling Ms. Winters that you were going

12:07   11     to make polycrystalline the default products, BAW filters

12:07   12     that you were making, until customer would tell you no,

12:07   13     correct?

12:07   14     A.    Yes.

12:07   15     Q.    Thank you.

12:07   16           And whipsaw the fab is that you didn't want to try to

12:07   17     make single crystal or polycrystalline, you wanted to set

12:07   18     up lab manufacturing facility one way, correct?

12:07   19     A.    No, sir.    We wanted to focus the lots on poly.

12:07   20     There's a -- there's a engineering assumption that better

12:08   21     is the enemy of good enough; and if poly is good enough

12:08   22     for the product that we need, then don't use a more

12:08   23     complex material.     But, again, our process in the wafer

12:08   24     fab used either material.

12:08   25           There was a -- there was certainly sense between some
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12:08   1      in management, we had an available material in the fab

12:08   2      that was polycrystalline that was more mature, and we were

12:08   3      still developing and engineering single crystal materials

12:08   4      and really had focused on the high power market.           This

12:08   5      happened to be for the Wi-Fi market, so it really is, what

12:08   6      is the best material for the job, that's what we were

12:08   7      emphasizing here.

12:08   8      Q.    But here, according to this e-mail in August of 2018,

12:08   9      polycrystalline was the default, correct?

12:08   10     A.    Better is the enemy of good enough would be my

12:08   11     testimony, sir.

12:08   12     Q.    At 2019 at the Needham conference, you're telling the

12:08   13     investors and customers that you are still single crystal,

12:09   14     selling single crystal as a commercial company, correct?

12:09   15     A.    We --

12:09   16     Q.    Yes or no.

12:09   17     A.    -- were doing development at                         , which

12:09   18     is high power single crystal-based devices.          This is

12:09   19     referring to the Wi-Fi market.

12:09   20     Q.    But you were sampling with             , correct?

12:09   21     A.    I would need -- I would defer to our marketing the

12:09   22     dates of that.     But, yes, we had development -- an ongoing

12:09   23     lengthy development contract with them, which was all

12:09   24     single crystal.

12:09   25     Q.    And you never went to full production with                  ,
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12:09   1      correct?

12:09   2      A.                had moved the spec, the bandwidth spec, and

12:09   3      so we had to reset.

12:09   4      Q.    The answer is no?

12:09   5      A.    The answer is no.

12:09   6      Q.    Thank you.

12:09   7                   MR. MASTERS:     Your Honor, may I approach?

12:09   8                   THE COURT:     You may.

12:09   9      BY MR. MASTERS:

12:09   10     Q.    Dr. Shealy, I've handed you what's been marked

12:09   11     Plaintiff's Exhibit 760.       Do you see that?

12:09   12     A.    Yes, sir, I do.

12:09   13     Q.    Have -- and you recognize this document as Invention

12:10   14     Confidentiality and Nonsolicitation Agreement you signed?

12:10   15     A.    I'm just flipping through it, but it looks familiar.

12:10   16     Yes, sir.

12:10   17                  MR. MASTERS:     Your Honor, I move for admission

12:10   18     of PTX-760?

12:10   19                  THE COURT:     Marked and received as 204.

12:10   20                  (Trial Exhibit No. 204 was admitted into

12:10   21     evidence.)

12:10   22                  MR. MASTERS:     Could you project that.       Would

12:10   23     you start at the top, please.

12:10   24     BY MR. MASTERS:

12:10   25     Q.    Dr. Shealy, when you were with RF Micro Devices or
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12:10   1      RFMD, you signed an inventions confidentiality and

12:10   2      nonsolicitation agreement; is that correct?

12:10   3      A.    Yes, sir, I did.

12:10   4      Q.    And it required you not to disclose any confidential

12:10   5      information of RFMD; is that correct?

12:10   6      A.    Yes, sir, it did.

12:10   7      Q.    Okay.

12:10   8            And you understood that your obligations to maintain

12:10   9      RFMD's information -- confidential information extended

12:11   10     beyond your employment with that company, correct?

12:11   11     A.    Yes, I did.

12:11   12     Q.    Okay.

12:11   13                   MR. MASTERS:   Could we go to Page 7, please.

12:11   14     BY MR. MASTERS:

12:11   15     Q.    That's your signature, correct?

12:11   16     A.    Yes, sir, it is.

12:12   17                   MR. MASTERS:   Your Honor, may I approach?

12:12   18                   THE COURT:   You may.

12:12   19     BY MR. MASTERS:

12:12   20     Q.    Dr. Shealy, I've handed you what's marked been as

12:12   21     Plaintiff's Exhibit 785 and has already been entered into

12:12   22     evidence as Trial Exhibit 6.

12:12   23           Do you have that?

12:12   24     A.    Yes, sir.    I'm holding it.

12:12   25                   MR. MASTERS:   Can we project the first page.
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12:12   1      BY MR. MASTERS:

12:12   2      Q.    Do you recognize it as an RFMD document?

12:12   3      A.    Yes, I do.

12:12   4      Q.    And it says "New Technology Development," correct?

12:12   5      A.    That's what the title states, yes, sir.

12:12   6      Q.    It was a document that was considered confidential to

12:12   7      RFMD, correct?

12:12   8      A.    Yes, sir, it is.

12:12   9      Q.    And it states there "this is a confidential

12:13   10     document," right?

12:13   11     A.    Yes, sir.

12:13   12     Q.    You understand that you had a copy of this document

12:13   13     with you at Akoustis, correct?

12:13   14     A.    Yes, sir.

12:13   15     Q.    Did you have permission from RFMD to have this

12:13   16     confidential document?

12:13   17     A.    I did not.

12:13   18     Q.    You used this document at Akoustis; isn't that,

12:13   19     correct?

12:13   20     A.    My testimony is we did not use this document in the

12:13   21     operations at Akoustis, no.

12:13   22                  MR. MASTERS:    Your Honor, may I approach?

12:13   23                  THE COURT:    You may.

12:13   24     BY MR. MASTERS:

12:13   25     Q.    Dr. Shealy, do you recognize Plaintiff's Exhibit 787?
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12:13   1      A.    Yes, I do, sir.

12:13   2      Q.    Okay.    And this is a document that you prepared; is

12:13   3      that correct?

12:14   4      A.    From the material I've observed on what was on my

12:14   5      computer, this is a document that was opened for about 20

12:14   6      minutes on my computer, yes, sir.

12:14   7                    MR. MASTERS:   Your Honor, I move the admission

12:14   8      of Plaintiff's Exhibit 787?

12:14   9                    THE COURT:   Marked and received as 205.

12:14   10                   (Trial Exhibit No. 205 was admitted into

12:14   11     evidence.)

12:14   12     BY MR. MASTERS:

12:14   13     Q.    So this is an Akoustis new technology development,

12:14   14     correct?

12:14   15     A.    This is not the Akoustis new technology development

12:14   16     document; this is a document that is -- was opened and a

12:14   17     label changed, but this is not a document that is used in

12:14   18     our company.

12:14   19     Q.    Okay.

12:14   20           Dr. Shealy, the title of this document is "Akoustis

12:14   21     new technology development," correct?

12:15   22     A.    I read what is on the paper.       That's what it says.

12:15   23     But --

12:15   24     Q.    That's all my question is, Doctor?

12:15   25     A.    My apologies.
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12:15   1      Q.    This document is "Akoustis new technology

12:15   2      development," correct?      That's what it says?

12:15   3      A.    My testimony is this is not our new technology

12:15   4      development process, but I concur the title has been

12:15   5      changed in this document.

12:15   6      Q.    I didn't ask you if the title was changed.

12:15   7      A.    I just tried to clarify.

12:15   8      Q.    Okay.   Let's see if we can get this down.        The title

12:15   9      of this document in front of you, which is Trial

12:15   10     Exhibit 205, Plaintiff's Exhibit 787, is "Akoustis new

12:15   11     technology development," correct?

12:15   12     A.    I read what's highlighted in yellow, and that's what

12:15   13     it reads, yes, sir.

12:15   14     Q.    That's a yes.

12:15   15           Okay.   You are here identified as the author,

12:15   16     correct?

12:15   17     A.    My name is listed as the author.

12:15   18     Q.    Okay.   That's the Akoustis logo on the left-hand

12:15   19     side, correct?

12:15   20     A.    That is the Akoustis logo, sir.

12:16   21     Q.    And below that is -- and that -- you still use that

12:16   22     logo today, don't you?

12:16   23     A.    That is a corporate logo, yes, sir.

12:16   24     Q.    And that's your corporate headquarters there in

12:16   25     Huntersville, North Carolina?
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12:16   1      A.    That is an accurate address, yes, sir.

12:16   2                   MR. MASTERS:     Okay.   And, Mr. Faison, could you

12:16   3      please put Trial Exhibit 6 and 205 side by side.

12:16   4      BY MR. MASTERS:

12:16   5      Q.    Dr. Shealy, while he's putting those side by side,

12:16   6      you would admit that the document on the left looks quite

12:16   7      familiar to the document on the right, correct?

12:16   8      A.    The title of the document on the left was changed to

12:16   9      the highlighted regions that are highlighted, yes, sir.

12:16   10     Q.    Right.      So you replaced "RFMD" with "Akoustis,"

12:16   11     correct?

12:16   12     A.    That's what was done.       As I recall this document

12:16   13     was --

12:16   14     Q.    You added in the Akoustis logo in place of RFMD logo,

12:17   15     correct?

12:17   16     A.    That, as shown in the -- we are looking at the same

12:17   17     board, so, yes, sir.

12:17   18     Q.    And you created DTX-205 -- Trial Exhibit 205?

12:17   19     A.    I'm sorry?

12:17   20     Q.    That is the one with the Akoustis.           It's Plaintiff's

12:17   21     Exhibit 787 that we just marked as 205.

12:17   22     A.    I'm trying to follow, sir.

12:17   23                  THE COURT:     I'm still not sure you got an

12:17   24     answer on that last one.

12:17   25                  THE WITNESS:     If your question is the document
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12:17   1      on the left, of that was saved on my machine at about 2:00

12:17   2      in the morning, yes.

12:17   3      BY MR. MASTERS:

12:17   4      Q.     And I would imagine you were pretty busy trying to

12:17   5      start a new company, correct?

12:17   6      A.     I would say mornings were early, and if I'm writing

12:18   7      something at 2:00 in the morning, evenings are late, yes,

12:18   8      sir.

12:18   9      Q.     So you had a lot of work to do trying to get the

12:18   10     business off the ground, right?

12:18   11     A.     We had -- at that time, we had just bought the fab,

12:18   12     and this type of document is -- is useful in an

12:18   13     administrative project management role, which was

12:18   14     potentially useful to the company.

12:18   15     Q.     Right.     Extremely useful because you're developing

12:18   16     new technology, right?

12:18   17     A.     In an early stage startup, you would not use a

12:18   18     formalized role like this.        This is more useful for a

12:18   19     quality audit, not to develop technology.          We were

12:18   20     iterating too fast to follow a phase gate document like

12:18   21     this as it turns out.

12:18   22     Q.     But then you took this document, which is Plaintiff's

12:18   23     Exhibit 787, and you sent it to Mr. Houlden and

12:18   24     Ms. Winters; isn't that correct?

12:18   25     A.     It was sent -- I don't have the time stamps, but I
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12:19   1      will acknowledge that there was an e-mail sent to those

12:19   2      two parties.

12:19   3      Q.    And you sent it to them so they would never use it

12:19   4      within the company?

12:19   5      A.    We would need -- we were buying a fab, so we would

12:19   6      need to have appropriate quality documents, and whether

12:19   7      this one or had we already had one.        Because we just

12:19   8      bought a fab.     We hadn't closed on it.     So we wanted to

12:19   9      make sure we had appropriate -- if you call this

12:19   10     technology development process -- for program management,

12:19   11     we wanted to make sure that we had one, yes.

12:19   12     Q.    Okay.   And Trial Exhibit 205, sir, does that -- new

12:19   13     technology process document; isn't that correct?

12:19   14     A.    Sir, I -- could you please repeat the question, sir?

12:19   15     Q.    Trial Exhibit 205, the Akoustis new technology

12:19   16     document, that served as a process document for new

12:19   17     technology, right?

12:20   18     A.    No, sir.    It did not in our company.

12:20   19     Q.    But you did revise the document, you prepared it, you

12:20   20     put it in form ready for Akoustis, and you sent it to

12:20   21     Ms. Winters who is in charge of your fab in New York and

12:20   22     Mr. Houlden who is your chief product officer, correct?

12:20   23     A.    The document -- the title was modified, and the

12:20   24     document was e-mailed, yes.

12:20   25                   MR. MASTERS:   Your Honor, may I approach?
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12:20   1                    THE COURT:    You may.

12:20   2      BY MR. MASTERS:

12:20   3      Q.    Dr. Shealy, you have in front of you what's been

12:20   4      previously entered into evidence as Trial Exhibit 82, also

12:20   5      marked as Plaintiff's Exhibit 119.

12:20   6            Do you see it.

12:20   7      A.    Yes, sir, I'm holding the e-mail.

12:21   8                    MR. MASTERS:    Could we project that, please?

12:21   9      BY MR. MASTERS:

12:21   10     Q.    At the bottom, the bottom e-mail, that's from you to

12:21   11     Mr. Houlden and Mr. Aichele, correct?

12:21   12     A.    I acknowledged the e-mail, yes, sir.

12:21   13     Q.    Again, early morning, 5:25 a.m.        You are busy, right?

12:21   14     A.    In this particular case, this wasn't related to the

12:21   15     company; this was related to a university professor that

12:21   16     was doing some research on a new power amplifier

12:21   17     technology asking for specs so --

12:21   18     Q.    Okay.    So you asked --

12:21   19     A.    I just want to be clear.

12:21   20     Q.    Sorry.      I will ask the questions.

12:21   21           You asked Mr. Houlden and Mr. Aichele if they could

12:21   22     send you a spec on Wi-Fi6E PA, right?

12:21   23     A.    Yeah, I --

12:21   24     Q.    Either in standalone or FEM configuration, right?

12:21   25     A.    Any data sheet would do for the university, yes, sir.
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12:21   1      Q.    "PA" is "power amplifier"?

12:21   2      A.    Yes, sir.

12:21   3      Q.    And Mr. Houlden, then, responded in the top e-mail,

12:21   4      right?

12:21   5      A.    Yes, sir.

12:21   6      Q.    And he sent you what was attached as a spreadsheet

12:22   7      with that title, 11ACFEMSPEC, correct?

12:22   8      A.    Yes, sir, that was the attachment.

12:22   9                   MR. MASTERS:    Your Honor, may I approach?

12:22   10                  THE COURT:    You may.

12:22   11     BY MR. MASTERS:

12:22   12     Q.    Dr. Shealy, what you have now is Plaintiff's

12:22   13     Exhibit 120.      That was previously marked as 83.

12:23   14           Do you have that?

12:23   15     A.    Yes, sir, I'm holding it.

12:23   16                  MR. MASTERS:    Could we project the next

12:23   17     attachment.

12:23   18     BY MR. MASTERS:

12:23   19     Q.    And Trial Exhibit 83 is what Mr. Houlden sent to you,

12:23   20     correct?

12:23   21     A.    Yes, sir.

12:23   22     Q.    And it is a spec for a Wi-Fi6E power amplifier,

12:23   23     correct?

12:23   24     A.    Yes, sir, that is correct.

12:23   25     Q.    For a front end module, actually, correct?
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12:23   1      A.    Yes, sir.    I'm reading along with the description

12:23   2      with you.

12:23   3      Q.    And it's rather detailed specification, isn't it?            It

12:23   4      has --

12:23   5                    MR. MASTERS:   Let's leaf through the pages up

12:23   6      through Page 8.

12:23   7      BY MR. MASTERS:

12:23   8      Q.    Okay.   Then next -- Page 8, you have some maximum

12:24   9      ratings, correct?

12:24   10     A.    Yes, sir.

12:24   11     Q.    And then a circuit diagram on Page 9?

12:24   12     A.    These would be elements of the data sheet, yes, sir.

12:24   13     Q.    Page 10, correct, you have now a layout, correct?

12:24   14     A.    I'm following along with you, yes, sir.

12:24   15     Q.    And it's a Qorvo specification, isn't it?

12:24   16     A.    As I learned later.     Yes, sir.

12:24   17     Q.    But you used it, nonetheless.       You send it onto the

12:24   18     professor for use?

12:24   19     A.    As I recall, I had cell phone.       I thought what was

12:24   20     going to be sent to me was a simple data sheet.           I popped

12:24   21     open the application.      I saw a table that looked like P in

12:24   22     P, which would be one of these tables, and I said that

12:24   23     would be good enough for the professor.           And it was sent

12:24   24     out -- on our company doesn't make PAs, so it would really

12:25   25     have no benefit or use to us.
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12:25   1                    MR. MASTERS:   Okay.    Can you take that down.

12:25   2                    Your Honor, may I approach?

12:25   3                    THE COURT:   You may.

12:25   4      BY MR. MASTERS:

12:25   5      Q.    Dr. Shealy, you have in front of you Plaintiff's

12:25   6      Exhibit 502 that's been entered into evidence as Trial

12:25   7      Exhibit 137.      Do you see that?

12:25   8      A.    Yes, sir.

12:25   9                    MR. MASTERS:   Can we project that, please.

12:25   10     BY MR. MASTERS:

12:25   11     Q.    And you recognize this e-mail?

12:25   12     A.    Yes.    We've reviewed this e-mail previously.

12:25   13     Q.    Okay.    At the bottom, do you see the e-mail from

12:26   14     Mr. Kim who worked for Akoustis, right?

12:26   15     A.    Yes, he was a contractor at Akoustis.

12:26   16     Q.    And he said an e-mail to Mr. Aichele talking about

12:26   17     information they received concerning Qorvo's V2X filter,

12:26   18     correct?

12:26   19     A.    Yes, sir.

12:26   20     Q.    And then that e-mail, Mr. Aichele sent it on to you;

12:26   21     isn't that correct?

12:26   22     A.    As I follow up the chain, he did forward it to me,

12:26   23     yes, sir.

12:26   24     Q.    And your response was "interesting to note."

12:26   25                   MR. MASTERS:   And can we highlight?
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12:26   1      BY MR. MASTERS:

12:26   2      Q.    Yes.   "Interesting to note their slide says filter

12:26   3      and Wi-Fi module."     So their plan is to integrate in FEM,

12:26   4      front end module, right?

12:26   5      A.    Yes, sir, that's what it says.

12:27   6                   MR. MASTERS:    And, Your Honor, may I approach?

12:27   7                   THE COURT:    You may.

12:27   8      BY MR. MASTERS:

12:27   9      Q.    Dr. Shealy, Exhibit PTX-152 has been entered into

12:27   10     evidence already as Trial Exhibit 136, is what was

12:27   11     captured and sent to Mr. Aichele by Mr. Kim and then sent

12:27   12     to you; isn't that, correct?

12:27   13     A.    Yes, I believe so.

12:27   14     Q.    And it was a photograph of Qorvo's confidential

12:27   15     information concerning some BAW technology, correct?

12:27   16     A.    It was a picture of a slide, yes, sir, a PowerPoint

12:27   17     slide.

12:27   18     Q.    And it was for use in the automotive industry,

12:27   19     correct?

12:27   20     A.    Yes.   So it would be consistent with the e-mail, sir.

12:28   21     Q.    And Akoustis is working in the automotive industry

12:28   22     today, right?     That's an industry that you are going

12:28   23     after?

12:28   24     A.    That's an industry that we entered when we acquired a

12:28   25     division called RFMI, but we have development ongoing.
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12:28   1      I'd have to look.      We also had filed a very early patent

12:28   2      that's issued.      I'd have to line up the timelines of that,

12:28   3      sir.

12:28   4      Q.     So Qorvo's information in the automotive industry

12:28   5      would be helpful to you here, correct?         Having

12:28   6      understanding of some competitors and what they're doing?

12:28   7      A.     I think my testimony would be, by 2019, this is a

12:28   8      Wi-Fi band architecture, and we had already entered mass

12:28   9      production in the Wi-Fi market at this time.           This was

12:28   10     2019.

12:28   11     Q.     Okay.

12:28   12     A.     So it was the year we penetrated the Wi-Fi market.

12:28   13     So the information, the band information, I believe you

12:29   14     could find on Google because those channels are -- those

12:29   15     aren't defined by Qorvo or Akoustis, they are defined by

12:29   16     the industry standard.

12:29   17     Q.     Okay.   Dr. Shealy, let's shift gears a little bit.

12:29   18     A.     Okay.

12:29   19     Q.     You are a board member, correct?

12:29   20     A.     Uhmm.   A director of the company yes, sir.

12:29   21     Q.     And you sit on the board of directors, right?

12:29   22     A.     Yes, sir, I do.

12:29   23     Q.     And Jerry Neal does as well?

12:29   24     A.     Yes, sir.

12:29   25     Q.     And he was formerly with RFMD, correct?
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12:29   1      A.     Jerry Neal had retired prior to my departure from

12:29   2      RFMD, yes, sir, but he was --

12:29   3      Q.     Susan --

12:29   4      A.     -- one of the founders of RFMD, yes.

12:29   5      Q.     Suzanne Rudy is on the Akoustis board of directors,

12:29   6      correct?

12:29   7      A.     She is.

12:29   8      Q.     And Arthur Geiss, also on the board of directors?

12:29   9      A.     That is what these are, all current members of the

12:29   10     board.

12:29   11     Q.     Mr. Geiss came from RFMD, correct?

12:30   12     A.     Mr. Geiss retired from RFMD 20 years ago.        I don't

12:30   13     know the time frame, but he retired several years ago.

12:30   14     Q.     Suzanne Rudy came from Qorvo, correct?

12:30   15     A.     Suzanne Rudy was treasurer of Qorvo once Qorvo was

12:30   16     formed, and she was treasurer of the company, the

12:30   17     financial expert.

12:30   18                  MR. MASTERS:    Your Honor, may I approach?

12:30   19                  THE COURT:    You may.

12:30   20     BY MR. MASTERS:

12:30   21     Q.     Dr. Shealy, I've handed you what's been marked as

12:30   22     793.    Do you recognize it?

12:30   23     A.     Yes, sir, I do recognize it.

12:30   24     Q.     It is a unanimous written consent from the board of

12:30   25     directors of the Akoustis technologies?
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12:31   1      A.    Yes, it is, sir.

12:31   2                    MR. MASTERS:   I move for admission PTX-793.

12:31   3                    THE COURT:   Marked and received as 206.

12:31   4                    (Trial Exhibit No. 206 was admitted into

12:31   5      evidence.)

12:31   6                    MR. MASTERS:   Mr. Faison, could you please

12:31   7      project.

12:31   8      BY MR. MASTERS:

12:31   9      Q.    So this is a written directive of the Akoustis board

12:31   10     of directors, correct?

12:31   11     A.    Yes, it is, sir.

12:31   12     Q.    It's called a "Unanimous Written Consent," right?

12:31   13     A.    It is the equivalent of an order by the board, yes.

12:31   14     Q.    All right.    And this order was issued on May 1 of

12:31   15     2023, correct?

12:31   16     A.    So verify the date, but May 1, 2023, yes, sir.

12:31   17                   MR. MASTERS:   And if we can highlight the

12:31   18     first, whereas clause.

12:31   19     BY MR. MASTERS:

12:31   20     Q.    Okay.    See that, Dr. Shealy?     It says, "Whereas the

12:31   21     corporation."     Do you see that?

12:32   22     A.    Yes, sir.

12:32   23     Q.    The last clause.     So "the corporation is vigorously

12:32   24     defending itself in pending litigation with Qorvo, but

12:32   25     also recognizes that it will be some time before there is
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12:32   1      a final determination regarding Qorvo's claims."

12:32   2            Did I read that right?

12:32   3      A.    Yes, sir, I'm following along.

12:32   4      Q.    "Including whether any of the documents that Qorvo

12:32   5      has identified in its allegations are, in fact,

12:32   6      confidential to Qorvo," right?

12:32   7      A.    Yes, sir, I'm following along.

12:32   8      Q.    They're referring to documents that Akoustis had,

12:32   9      correct?

12:32   10     A.    I believe they are referring to what this was, as I

12:32   11     understood it, was an order to go find documents and

12:32   12     remove them.

12:32   13     Q.    But the question here is that -- whether any of the

12:32   14     documents that Qorvo has identified in its allegations

12:32   15     are, in fact, confidential to Qorvo, right?          That was the

12:32   16     question as stated?

12:33   17     A.    I concur with the language in the UQC, sir.          Yes.

12:33   18                  MR. MASTERS:    And can we highlight the "now

12:33   19     therefore" two paragraphs down.

12:33   20     BY MR. MASTERS:

12:33   21     Q.    "The board then authorized and directed the company

12:33   22     management to purge and permanently erase from the

12:33   23     company's record the disputed document, including

12:33   24     approximately 450 documents identify by Qorvo."

12:33   25           Do you see that?
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12:33   1      A.    Yes, sir, I'm following along with you.

12:33   2      Q.    They're referring to 450 of Qorvo's document that

12:33   3      were found in Akoustis' files, correct?

12:33   4      A.    I -- there's a protective order on this case, so I

12:33   5      don't know the number, but I followed along.          If counsel

12:33   6      is telling us there's 450 documents, I had no reason to

12:33   7      challenge them.

12:33   8      Q.    Is your testimony today you don't know?

12:33   9      A.    My testimony is, I don't know -- I don't know the

12:34   10     number of documents in dispute.       There's a protective

12:34   11     order on this case, and I've not been advised.

12:34   12     Q.    But, Dr. Shealy, you did sign this unanimous written

12:34   13     consent; isn't that correct?       As a member of the board of

12:34   14     directors, you signed this?

12:34   15     A.    I did, and the board was advised by Pillsbury, which

12:34   16     is also, you know, our formal counsel here had advised the

12:34   17     board given the knowledge they had about the case.

12:34   18     Q.    450 documents were identified as of May 1, 2023,

12:34   19     correct?

12:34   20     A.    I -- there's a protective order; I've not seen the

12:34   21     timeline of what documents are.       If Pillsbury tells us

12:34   22     there were 450 documents, I have no reason to dispute it.

12:34   23     They made this recommendation to our board.

12:34   24     Q.    And you signed this directive?

12:34   25     A.    Sir, my signature is on the final page there.          Yes,
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12:34   1      sir.

12:34   2      Q.     You have no reason -- I'll withdraw the question.

12:34   3                   MR. MASTERS:    Can we go down and highlight the

12:35   4      second from the last "further resolved."

12:35   5      BY MR. MASTERS:

12:35   6      Q.     Another paragraph:    "The board authorizes and directs

12:35   7      the corporation's management to develop and implement

12:35   8      without reference to or use of the disputed documents,

12:35   9      replacement versions of any disputed documents for which

12:35   10     the corporation has an ongoing business need."

12:35   11            Do you see that?

12:35   12     A.     I'm following along.    Yes, I see it, sir.

12:35   13                  MR. MASTERS:    And could we go to the next

12:35   14     "further resolved."     It spans the page.

12:35   15     BY MR. MASTERS:

12:35   16     Q.     Further resolved that the board authorizes and

12:35   17     directs the corporation's management to engage in a review

12:35   18     of the corporation's current compliance policies and

12:35   19     procedures related to the protection of intellectual

12:35   20     property rights and the handling of confidential

12:35   21     information."

12:35   22                  MR. MASTERS:    Move on to the next page.

12:35   23     BY MR. MASTERS:

12:35   24     Q.     -- "and ensuring that all Akoustis employee

12:36   25     understand and comply with these mandatory obligations."
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12:36   1            Do you see that?

12:36   2      A.    Yes, sir, I see it.

12:36   3      Q.    Has the board taken any action against any employee

12:36   4      of Akoustis?

12:36   5      A.    As of this date, we still have protective order.           The

12:36   6      board does not --

12:36   7      Q.    The answer is "no"?

12:36   8      A.    The answer is "no," given we don't have the

12:36   9      information.

12:36   10     Q.    Has Akoustis -- has Akoustis taken any action against

12:36   11     any employees as of this date?

12:36   12     A.    Any employee?    I mean, we've had --

12:36   13     Q.    With respect to this case and the taking of Qorvo's

12:36   14     confidential information.

12:36   15     A.    No.   There's not -- the information is not available.

12:36   16     We don't make decisions without information in front of

12:36   17     us, and the extent of documents that are at issue in this

12:36   18     case have not been presented neither to the board nor to

12:36   19     me.   So I certainly couldn't vote on it in good faith,

12:36   20     because I don't know -- I would need information -- I need

12:37   21     more information, which I'm precluded from given the

12:37   22     protective order in the case.

12:37   23     Q.    Okay.   Are you precluded from looking at confidential

12:37   24     information in the files or looking at any files within

12:37   25     Akoustis' possession?
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12:37   1      A.    Sir, could you please repeat the question?

12:37   2      Q.    Yes.    Are you precluded from looking at any files

12:37   3      within the possession at Akoustis?

12:37   4      A.    There's a protective order, and counsel has not made

12:37   5      available any -- and has pretty much told me I'm not

12:37   6      authorized to look at anything --

12:37   7      Q.    Okay.

12:37   8      A.    -- given I'm a material fact witness in the case.

12:37   9      Q.    You are a material fact witness in the case because

12:38   10     you have Qorvo's confidential information; is that your

12:38   11     understanding?

12:38   12     A.    I am a material fact witness because counsel has

12:38   13     designated me one, as a material fact witness.

12:38   14     Q.    Okay.

12:38   15                   MR. MASTERS:   Your Honor, may I approach?

12:38   16                   THE COURT:   You may.

12:38   17     BY MR. MASTERS:

12:38   18     Q.    Dr. Shealy, I'm handing you what's been marked as

12:38   19     PTX-0147, previously entered into evidence as Trial

12:38   20     Exhibit 104.      Do you see it?

12:38   21     A.    Yes, sir.    I'm just reviewing it.     But, yes, I do see

12:38   22     it.

12:38   23                   MR. MASTERS:   And could we project that,

12:38   24     please?

        25
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12:38   1      BY MR. MASTERS:

12:38   2      Q.    Do you recall this e-mail back in October 9, 2016,

12:39   3      right?

12:39   4      A.    It's been several years.      But we reviewed it during

12:39   5      deposition, sir.

12:39   6      Q.    Okay.   It was right after Akoustis hired Mr. Houlden,

12:39   7      correct?

12:39   8      A.    That is correct.

12:39   9      Q.    And Mr. Houlden -- you wanted to send out a press

12:39   10     release about hiring Mr. Houlden; isn't that correct?

12:39   11     A.    It would be consistent with the company's policy if

12:39   12     we hired an executive to issue a release to our investors.

12:39   13     Q.    And the response from Mr. Houlden to you, right in

12:39   14     the middle --

12:39   15     A.    Another late evening.

12:39   16     Q.    --   and he's talking about the cons of issuing a

12:39   17     press release, correct?

12:39   18     A.    I'm following along.     Yes, sir.

12:39   19     Q.    And he said, "Lori and I" -- Lori is Lori Shealy?

12:39   20     A.    Lori Shealy it is my ex-wife.

12:39   21     Q.    Okay.   She was in charge of HR at the time?

12:39   22     A.    At the time.

12:39   23     Q.    Okay.   "So Lori and I," so Mr. Houlden -- "have Mike

12:40   24     hitting Qorvo very hard right now."

12:40   25           Do you see that?
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12:40   1      A.    I'm following along, yes, sir.

12:40   2      Q.    Mike was a recruiter, technical recruiter, correct?

12:40   3      A.    Technical.    Yeah.   Yes, he's a technical recruiter

12:40   4      that was hired by the company.

12:40   5      Q.    Okay.    "And calling nearly every BAW DE -- design

12:40   6      engineer"?

12:40   7      A.    Design engineer would be DE.

12:40   8      Q.    Okay.    "Looking for the best two people willing to

12:40   9      move to CLT" -- Charlotte, correct?

12:40   10     A.    Yes, sir.    I'm following along.

12:40   11     Q.    "We're making a number of offers the next few weeks,"

12:40   12     right?

12:40   13     A.    Yes.    I'm following along.    Yes, sir.

12:40   14     Q.    Okay.    "Rather not rock the applecart right now.

12:40   15     Plus, prefer not to make it easy for Qorvo of how Mike

12:40   16     found the names of all these people," right?

12:40   17     A.    I'm following along yes, sir.

12:41   18     Q.    "Though I think I am clean, I want to delay as long

12:41   19     as I can any reason for Qorvo IT to look at my computer

12:41   20     and what I looked at on the Intranet," right?          Intranet is

12:41   21     within Qorvo?     Qorvo's Intranet?    Is that how you

12:41   22     understood that?

12:41   23     A.    I -- certainly that would be a reasonable conclusion

12:41   24     from my perspective.

12:41   25     Q.    Okay.    And then next paragraph, "Right now I have
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12:41   1      access to two of Qorvo's four BAW MTS" -- members of

12:41   2      technical staff -- "to help us resolve QP."          See that?

12:41   3      A.    Yes, sir, I do.

12:41   4      Q.    "I have not leveraged this yet, but will begin once

12:41   5      we have Lot 19 results."      He goes on.

12:41   6            So did you, then, ever instruct Mr. Houlden not to

12:41   7      solicit design engineers from Qorvo or did you instruct

12:42   8      him to do it?

12:42   9      A.    So I -- my role in the company is not in the

12:42   10     recruiting phase.     If I'm asked to participate in

12:42   11     recruiting for an interview or such, I do make myself

12:42   12     available.    I did not ask Rohan to be focused on any one

12:42   13     company.    When we hire a recruiter, we don't specify a

12:42   14     company.    There are other companies outside Qorvo.         Qorvo

12:42   15     is certainly in the region.       And if we're looking for

12:42   16     people to move -- but recruiters call into companies all

12:42   17     the time with open positions.       They call into our company.

12:42   18     So...

12:42   19     Q.    Okay.   But you knew Mr. Houlden was hitting Qorvo

12:42   20     hard, right?

12:42   21     A.    At the top of the page here, it says, let's discuss

12:42   22     Monday.    Because this was very late in the evening.         I

12:42   23     don't recall the specific conversation with Mr. Houlden.

12:42   24     But I told him, "You're playing with fire."          As -- because

12:43   25     your former employee likely under a nonsolicitation and
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12:43   1      that he better calm it down.       That's my recollection of

12:43   2      the conversation with him on Monday.

12:43   3      Q.    So you understood that Mr. Houlden had a

12:43   4      nonsolicitation agreement with Qorvo, right?

12:43   5      A.    I understood -- I had not received his

12:43   6      nonsolicitation, but I had -- I told him he better -- he

12:43   7      better be very careful and review his agreement and act

12:43   8      accordingly, because he's going to get himself in a lot of

12:43   9      trouble.   And I think that's personal trouble on his end.

12:43   10     I certainly wasn't under a nonsolicitation at that time,

12:43   11     but I believe with the recent -- his recent departure, he

12:43   12     was -- you know he was putting himself in jeopardy.

12:43   13     Q.    So instead of Mr. Houlden, then, soliciting employees

12:43   14     from Qorvo, you stepped in to assist him; isn't that

12:43   15     correct?

12:43   16     A.    HR -- HR manages --

12:44   17     Q.    My question is, you stepped in to get around

12:44   18     Mr. Houlden's nonsolicitation agreement; isn't that,

12:44   19     correct?

12:44   20                  MR. LEMIEUX:    Objection, Your Honor, misstates

12:44   21     the witness's testimony.

12:44   22                  THE COURT:    Objection is overruled.

12:44   23                  THE WITNESS:    I interviewed -- my testimony is

12:44   24     I interviewed candidates when asked to interview, but I

12:44   25     was not the hiring manager, and I had further -- far other
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12:44   1      activities in the company to tend to.        I never met Mike --

12:44   2      I believe this gentleman's name is Mike Ortiz.          I never

12:44   3      met, nor corresponded with Mike Ortiz on any recruiting,

12:44   4      is my testimony.

12:44   5      BY MR. MASTERS:

12:44   6      Q.    I'm talking about -- let's talk about Annia Shen.           Do

12:44   7      you recall her?

12:44   8      A.    I know Ms. Shen.

12:44   9                   THE COURT:    Hold on.   One more minute, then we

12:44   10     will take our break.

12:44   11     BY MR. MASTERS:

12:44   12     Q.    You've -- you were involved with hiring Ms. Shen

12:44   13     because Mr. Houlden had a nonsolicitation agreement with

12:45   14     Qorvo; isn't that correct?

12:45   15     A.    I was called upon to meet with Ms. Shen because she

12:45   16     had questions over the direction of the company and wanted

12:45   17     to speak to the founder of the company.

12:45   18           So I was asked to get involved in the recruiting

12:45   19     process as a internal recruiter.       And as my testimony was

12:45   20     earlier, I participated in that activity, but I was not a

12:45   21     technical recruiter and not an inside recruiter for the

12:45   22     company.

12:45   23     Q.    But your --

12:45   24                  THE COURT:    We should take our lunch break.        We

12:45   25     will come back and resume.
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12:45   1                   Ladies and gentlemen, it is 12:45.        We have

12:45   2      45 minutes for lunch.      I will stay here a little bit, but

12:45   3      we will stay on schedule.      We are working on the time very

12:45   4      hard.    Thank you for your patience.      Do not discuss the

12:45   5      case among yourselves.      Don't let anybody talk with you

12:45   6      about it.    We will see you -- I will actually see you at

12:46   7      1:30.    Thanks very much.

12:46   8            (The jury exits the courtroom at 12:46 p.m.)

12:46   9                   THE COURT:    We will let you step down.       Nice

12:46   10     thing is, you can't talk about the testimony you've given.

12:46   11     But they can't critique if you don't ask them.          People

12:46   12     always want to say, How am I doing?        The answer is, don't

12:46   13     even ask that.     Just have a pleasant lunch, as anybody can

12:46   14     in a short time.

12:46   15                  So we will see you about five minutes in

12:47   16     advance, so that will be about 1:25.        Thanks very much.

12:47   17                  Everybody be seated just for a moment.         I need

12:47   18     to chat and see exactly where we are.

12:47   19                  You can go out.     I'm not sure they set up

12:47   20     lunch.    They have it taken care of.      Hope they do.     I want

12:47   21     to check.    I think we are fine.     We will have a number of

12:47   22     exhibits that we are continuing to mark through this

12:47   23     process.    And I'm going to ask Mr. Master's -- sounds like

12:47   24     we're making progress and getting through your exam.           We

12:47   25     have a general projection.       We don't have to be right on
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12:47   1      it, about how long to finish.

12:47   2                   MR. MASTERS:    Five more minutes.

12:47   3                   THE COURT:    Oh, wow.   Okay.   I'm going to write

12:47   4      that down.

12:47   5                   MR. MASTERS:    Just don't hold me to it.       But I

12:47   6      only really have a few more questions.

12:47   7                   THE COURT:    It will be relatively soon.       And

12:47   8      that's important for defense counsel to know.          They will

12:48   9      be cross-examining, and then they will be putting on

12:48   10     direct proof.     So I think we will probably be in a pretty

12:48   11     good situation.     And I need to be sure as to the rest of

12:48   12     the schedule for the day.      And I think that we're on time,

12:48   13     as far as I can tell.

12:48   14                  MR. MASTERS:    Right.   So after Dr. Shealy, we

12:48   15     have a video deposition, our last one, of J.B. Kwon.           And

12:48   16     then Dr. Shanfield will be testifying next, and that will

12:48   17     be a long examination, Your Honor.        So I fully expect that

12:48   18     to go through today.      Not necessarily all on direct, it

12:48   19     could be --

12:48   20                  THE COURT:    I understand.

12:48   21                  MR. MASTERS:    -- that cross starts.

12:48   22                  THE COURT:    Who will be after Dr. Shanfield?

12:48   23                  MR. MASTERS:    Current plan is Michael Boyd, who

12:49   24     is a Qorvo employee, then Cuyler Robinson.         I can give you

12:49   25     the last three, Dr. Heinrich, Dr. Bravman, and Melissa
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12:49   1      Bennis.   That will --

12:49   2                   THE COURT:    That will wrap the case up?

12:49   3                   MR. MASTERS:    That should wrap the case up.

12:49   4                   THE COURT:    Okay.    I think we're okay then.      So

12:49   5      we're going to finish your case tomorrow; is that right?

12:49   6                   MR. MASTERS:    I think it depends on the length

12:49   7      of the cross, but that would be great.

12:49   8                   THE COURT:    Well, the reason to have that

12:49   9      discussion is so that defense can be entirely ready on

12:49   10     anything that they need to do at the close of your case.

12:49   11     So I think we're in good shape.

12:49   12                  MR. MASTERS:    So their first witness will be

12:49   13     right after our last witness.

12:49   14                  THE COURT:    Right.   Exactly.

12:49   15                  Okay.   We need to let everybody have a break.

12:49   16     I'm sure everybody will appreciate that.          So we will see

12:49   17     you all at 1:25.

12:55   18           (Whereupon, a recess was taken.)

12:55   19                  THE COURT:    Take a seat.

13:27   20                  MR. MASTERS:    The video deposition.

13:27   21                  THE COURT:    I'm talking about the expert

13:27   22     report.

13:27   23                  MR. MASTERS:    Yes.   You want a copy of the

13:27   24     expert report?

13:27   25                  THE COURT:    If I could have one up here -- it
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13:27   1      would be much easier for you to provide one.

13:27   2                   MR. MASTERS:    We will get you one.

13:28   3                   MR. ELKINS:    Your Honor, should we -- I would

13:28   4      expect, and I think we talked about doing this before

13:28   5      trial, and we --

13:28   6                   THE COURT:    Sure.

13:28   7                   MR. ELKINS:    -- forgot to do it.       But at least

13:28   8      in my experience, it's -- generally we should be handing

13:28   9      you a copy of the expert report whenever we are examining

13:28   10     and witness.

13:28   11                  THE COURT:    Hundred percent.       Absolutely right

13:28   12     about that.

13:28   13                  MR. ELKINS:    Okay.

13:28   14                  MR. MASTERS:    We will get you one.

13:28   15                  THE COURT:    We may have a juror with an issue.

13:28   16     That's what we're checking on.

13:28   17                  I'm sorry.    Go ahead.

13:28   18                  MR. MASTERS:    I was going to say, we will get

13:28   19     Dr. Shanfield's today and we'll bring the other three

13:28   20     expert reports to you tomorrow morning.

13:28   21                  THE COURT:    That's fine.    That's not a problem.

13:28   22                  If we do have a juror that needs to talk to

13:28   23     us -- I think there's somebody who might have a health

13:28   24     issue.    If we do, we will have them come to sidebar.          It's

13:30   25     1:30.    We are ready to bring the panel in.
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13:30   1                    MR. MASTERS:   This is the expert report.

13:30   2                    THE COURT:   That's fine.    We're going to bring

13:30   3      the jury in.      The health issue is being taken care of.        I

13:30   4      think the medication is going to take care of it.

13:31   5            (The jury enters the courtroom at 1:31 p.m.)

13:31   6                    THE COURT:   Everyone be seated.     Counsel, you

13:31   7      may proceed.

13:32   8      BY MR. MASTERS:

13:32   9      Q.    Good afternoon, Dr. Shealy.      Just a few more

13:32   10     questions.    Before lunch break, we were talking about

13:32   11     hiring and recruiters.       Do you recall?

13:32   12     A.    Yes.

13:32   13     Q.    And isn't it true that at Akoustis, Dr. Shealy that

13:32   14     as you were building the company and scaling up, you were

13:32   15     doing targeting searches?

13:32   16     A.    When you say "targeting searches," could you

13:32   17     elaborate on that?      I mean, we were hiring key positions

13:32   18     in the company from day one.       You start with no employees.

13:32   19     So we're adding employees yes, sir.

13:32   20     Q.    So as you scaled up, there were new openings, new

13:32   21     roles, and you had to fill those with experienced

13:32   22     individuals, correct?

13:33   23     A.    Yes.

13:33   24     Q.    Okay.   And is it true that you targeted employment

13:33   25     candidates that had trade secrets so that they could bring
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13:33   1      them to Akoustis?

13:33   2      A.    No.

13:33   3      Q.    Okay.

13:33   4                    MR. MASTERS:    Your Honor, may I approach?

13:33   5                    THE COURT:    You may.

13:33   6      BY MR. MASTERS:

13:33   7      Q.    Dr. Shealy, do you recall a deposition in November of

13:33   8      2022?

13:33   9      A.    I recall the deposition, but that case had settled,

13:33   10     and I never received a copy of the transcript so I'm kind

13:33   11     of looking at this for the first time.

13:33   12     Q.    Can you turn to Page 40.

13:34   13     A.    Pages -- okay.      I'll find it.    I'm on Page 40.

13:34   14     Q.    Do you have it?

13:34   15     A.    Yes, sir.      I'm on page 49.

13:34   16     Q.    Okay.

13:34   17     A.    Sorry.      I'm looking at the bottom.       It says 40,

13:34   18     Pages 157 to 160.       Is that the correct page, sir?

13:34   19     Q.    No.    It should have Pages 40, 41 --

13:34   20     A.    Within the boxes?

13:34   21     Q.    Yes.

13:34   22     A.    Okay.    My apologies.

13:34   23     Q.    It has four pages on one page.

13:34   24     A.    I am on 40, sir.

13:34   25     Q.    Okay.    40, Line 6.
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13:34   1      A.    Yes.

13:34   2      Q.    You were talking about patents, correct?         And the

13:34   3      question to you was, "So, then, let's circle back to this

13:34   4      notion about patents, where you have a design engineer who

13:34   5      has a track record of, you know, being part of developing

13:34   6      patented technology, especially in this space, BAW

13:34   7      filters.     Are you really telling me that's not an

13:34   8      important consideration?"

13:34   9            Answer -- your answer.      "I'm telling you, it's not an

13:35   10     important consideration, and I'll tell you why."

13:35   11           And the examiner said:      "Okay."   And you went on.

13:35   12           Your answer was:     "Because I'm hiring a design

13:35   13     engineer.     So intellectual property can be viewed.        You've

13:35   14     touched on one piece of it, which is patents.

13:35   15     Intellectual property can also be trade secrets.           And so

13:35   16     there's a decision to make whether it's trade secret or

13:35   17     patent.    So your original question to me was how important

13:35   18     are patents?      I would far prefer an engineering candidate

13:35   19     coming to work for our company to have the trade secrets

13:35   20     to be able to come in and execute on design of circuits

13:35   21     using trade secrets that they developed at the company or

13:35   22     techniques that they've used previously and come in and

13:35   23     implement it and us achieve the -- achieve the end

13:35   24     product."

13:35   25           Did I read that correctly?
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13:36   1      A.     I believe you read it correctly.      I have not read

13:36   2      this.

13:36   3      Q.     Did I read that correctly, Dr. Shealy?

13:36   4      A.     I believe you read it correctly.

13:36   5      Q.     That was your testimony under oath in November of

13:36   6      2022?

13:36   7      A.     This transcript has not been reviewed by me for

13:36   8      accuracy, and I think the context that you are asking me

13:36   9      about is skewed.     The -- if I could finish --

13:36   10     Q.     Did I read -- did I read the answer correctly?

13:36   11     A.     You may not --

13:36   12     Q.     Did I read the answer correctly, Dr. Shealy?

13:36   13     A.     You read what's in the transcript, sir.

13:36   14     Q.     Thank you.

13:36   15                  MR. MASTERS:    No further questions, Your Honor.

13:36   16                  THE COURT:    All right.    Cross-examination, and,

13:36   17     of course, there will be some direct.        Remember, you're

13:36   18     only going to have individuals up on one occasion, so your

13:36   19     cross exam and then direct examination will be much more

13:36   20     efficient.

13:36   21                  Mr. Lemieux, ready to go?

13:36   22                  MR. LEMIEUX:    Yes, I am, Your Honor.      Thank

13:36   23     you.

13:36   24                             CROSS EXAMINATION

13:36   25     BY MR. LEMIEUX:
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13:36   1      Q.    Dr. Shealy, Mr. Masters was asking you a moment ago

13:36   2      about a question that was asked of you in a different

13:37   3      lawsuit with different issues; is that true?

13:37   4      A.    Yes.

13:37   5      Q.    And had you had an opportunity to review this

13:37   6      transcript for accuracy to be able to sign that it was

13:37   7      your truthful testimony?

13:37   8      A.    No, I did not.    And the reason being this case

13:37   9      ultimately settled.     This was a gender discrimination

13:37   10     case.   It was a deposition taken for gender

13:37   11     discrimination, and the case settled with the insurance

13:37   12     company; and, therefore, I had never seen this to be able

13:37   13     to review for accuracy or context.

13:37   14     Q.    Have you ever hired anyone for the purpose of them to

13:37   15     bring trade secrets from their prior employer to your

13:37   16     company?

13:37   17     A.    No, I have not.

13:37   18     Q.    Is there a policy at Akoustis regarding that issue?

13:37   19     A.    We have, on the onboarding, process the

13:37   20     confidentiality agreements which are signed and are --

13:38   21     contingent on them starting employment, they are -- they

13:38   22     sign a confidentiality agreement, which requests them not

13:38   23     to bring any former employer information.         What we're

13:38   24     interested in is experiences and their expertise.           If

13:38   25     you're hiring an electrical engineer, you -- if you have
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13:38   1      an engineering job, you want an electrical engineer.           If

13:38   2      it's -- so you want to hire the skill set that -- and the

13:38   3      experience and the expertise.       That's it.

13:38   4      Q.    Dr. Shealy, Mr. Masters asked you some questions

13:38   5      regarding Trial Exhibit 205?

13:38   6                   MR. LEMIEUX:    Can we pull that up, please.

13:38   7      BY MR. LEMIEUX:

13:38   8      Q.    And Mr. Masters asked whether or not you had authored

13:39   9      any changes to this document, and I believe you said that

13:39   10     you were the author of any changes; is that right?

13:39   11     A.    Yes.

13:39   12     Q.    And this is a multipage document, isn't it?

13:39   13     A.    Yes, it is.

13:39   14     Q.    Dr. Shealy, did you make any changes to this document

13:39   15     beyond what is currently on the screen on Page 1?

13:39   16     A.    No, I did not.

13:39   17                  MR. LEMIEUX:    If we could turn to Page 2 of

13:39   18     this document.

13:39   19     BY MR. LEMIEUX:

13:39   20     Q.    Does it indicate up at the top that it was RFMD

13:39   21     document?

13:39   22     A.    Yes, it does.

13:39   23     Q.    So beyond changing the logo on the first page and

13:39   24     putting your name to it, had you made any other changes to

13:39   25     this document whatsoever?
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13:39   1      A.    No, I did not.

13:39   2      Q.    Was in document ever used at Akoustis?

13:39   3      A.    This document was never used at Akoustis.         We

13:39   4      acquired a wafer fab, this was -- the time stamp of this

13:40   5      e-mail was in the January of 2017, which is as we were

13:40   6      acquiring the chip fab, and the chip fab had its own

13:40   7      documents that came with it for this purpose.

13:40   8      Q.    So I just want to make sure I understand your

13:40   9      testimony, then, Dr. Shealy.       Are you saying that the fab

13:40   10     already had such a document of its own?

13:40   11     A.    Yes.   The expertise that we acquired with the fab

13:40   12     had -- at least the leadership had more than 20 years of

13:40   13     MEMs expertise in that facility.       So we bought an ongoing

13:40   14     running chip fab.     And that was a big accelerant to the

13:40   15     development of our technology because they were already --

13:40   16     they already knew how to run wafers processes and had

13:40   17     these sorts of documents in place.

13:41   18                  MR. LEMIEUX:    If we could pull up Exhibit 82,

13:41   19     please.

13:41   20     BY MR. LEMIEUX:

13:41   21     Q.    I believe, Dr. Shealy, you testified that this was a

13:41   22     request that you sent out to Mr. Houlden and Mr. Aichele

13:41   23     looking for an example of a Wi-Fi spec; is that correct?

13:41   24     A.    That is correct.

13:41   25     Q.    And why were you asking them for a copy of a spec?
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13:41   1      A.     A professor at my former university, at University of

13:41   2      California Santa Barbara, was developing some power

13:41   3      amplifiers and was looking for data that they could go

13:41   4      benchmark again.       He said, do you have any data sheets on

13:41   5      a power amplifier in the Wi-Fi bands?         The intent when it

13:41   6      was asked was to solicit a public data sheet to give to a

13:42   7      university.       We do not make power amplifiers or FEMs or

13:42   8      front end modules, and so this was a university request to

13:42   9      me.

13:42   10            And as I said, when I forwarded this document, I was

13:42   11     on my phone, and I opened it enough to see two columns

13:42   12     that looked like P in, P out.        To my fault, I did not

13:42   13     review the entire document before sending it.           I was on

13:42   14     the road as I recall, and I sent it to the university

13:42   15     Professor.

13:42   16                  MR. LEMIEUX:     For purposes of the redirect, I

13:42   17     guess, of Mr. Masters' examination, Your Honor, I don't

13:43   18     have any other questions.       And so I'd like to switch over

13:43   19     to the direct examination if that is permissible to the

13:43   20     Court?

13:43   21                  THE COURT:     Absolutely, that's fine.      Thank

13:43   22     you.

13:43   23     BY MR. LEMIEUX:

13:43   24     Q.     Dr. Shealy, could you give us your educational

13:43   25     background, please.
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13:43   1      A.    I started my education.       I was born in Western

13:43   2      North Carolina.       I did my undergrad at North Carolina

13:43   3      State University, achieved a bachelor's of science in

13:43   4      electrical engineering, magna cum laude.           I left NC State

13:43   5      and moved to California, where I studied at University of

13:43   6      California Santa Barbara, where I earned a master's degree

13:43   7      in electrical engineering, and then a PhD degree in

13:43   8      electrical engineering focusing on solid state physics.

13:43   9            Later on in my career, I earned an MBA from Wake

13:44   10     Forest University to kind of round out my business

13:44   11     education with my engineering.

13:44   12     Q.    Could you briefly describe for the Court and the jury

13:44   13     your work history from college moving forward?

13:44   14     A.    When I left undergrad at NC State, I moved to

13:44   15     California.       I went straight through and obtained my

13:44   16     doctorate.    I then left UCSB, which is Santa Barbara, and

13:44   17     I had earned a Howard Hughes Doctoral Fellowship while

13:44   18     studying at UCSB.       I had moved to Hughes Research Labs,

13:44   19     which is down in Malibu, California, where I studied power

13:44   20     amplifiers, processing, that sort of thing.

13:45   21           I stayed within the Hughes family and moved to Hughes

13:45   22     Networks Systems, which is Germantown, Maryland.            And I

13:45   23     was working in systems and satellite communications on top

13:45   24     of gas stations that allow transmitting your credit card

13:45   25     back and forth for credit checks.
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13:45   1            And then I left after designing hardware there, and

13:45   2      started a company called RF Nitro Communications.             It was

13:45   3      one of the first companies in gallium nitride.           We

13:45   4      licensed technology out of Cornell University, and we

13:45   5      built some high voltage prototypes that beat conventional

13:45   6      technology.       And that company was sold to RF Micro Devices

13:45   7      In 2001.

13:45   8            I stayed at RF Micro Devices for 13 years until I

13:45   9      left in February of 2014.       And then I founded Akoustis

13:46   10     Technologies in May, along with two other founders, one

13:46   11     Professor from University of California Santa Barbara who

13:46   12     is an expert in single crystal technology, as well as a

13:46   13     patent attorney, which, collectively, we launched the

13:46   14     company.

13:46   15     Q.    Dr. Shealy, why did you become an engineer?

13:46   16     A.    I -- you know, growing up, my father was in the

13:46   17     electrical trade, so he was wiring houses and owned a

13:46   18     electrical showroom, so selling light fixtures, wiring

13:46   19     houses.    And so it was -- I would frame it that I worked

13:46   20     on repairing lamps and moving appliances and hanging light

13:46   21     fixtures and working with, you know, skilled tradesmen.

13:46   22     So I got interested in electrical engineering there.

13:46   23           My brother was also a significantly older than I, he

13:47   24     was a professor of electrical engineering at Cornell

13:47   25     University.       And so I took inspiration from my father and
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13:47   1      my brother.

13:47   2      Q.    And in your work experience, in your time at either

13:47   3      at RF nitro or at Hughes, did you gain experience working

13:47   4      with DARPA?

13:47   5      A.    So at Hughes Electronics, the first part of my career

13:47   6      there was at the research labs.       And that's predominantly,

13:47   7      they were doing government contracting.           So very early on,

13:47   8      very early concept phase of technology, we would take

13:47   9      concepts to the U.S. government through various agencies.

13:47   10     DARPA is one agency; Office of Naval Research is another

13:47   11     agency; the Air Force Research Labs is another agency.

13:47   12     And we would take and pitch new technology ideas, and

13:47   13     experts within the government would vet them, and then

13:48   14     ultimately fund them.

13:48   15           And beyond DARPA, also worked in another area before

13:48   16     my departure of Hughes called ARPAE, which is -- it's sort

13:48   17     of like DARPA, another government agency that was focused

13:48   18     on energy, clean energy.

13:48   19           So contracting with the government.         I also worked in

13:48   20     small business innovative research called SBIRs.            These

13:48   21     are government programs that, you know, will give you

13:48   22     $150,000 to help you launch a company.        In Akoustis, the

13:48   23     first contract I mentioned earlier was a contract with

13:48   24     National Science Foundation, so we wrote a proposal, had

13:48   25     the government vet it, and they awarded us the early
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13:48   1      contract.

13:48   2            So throughout businesses, certainly, at Hughes and

13:49   3      then later on at RFMD, I ran our defense business.           We

13:49   4      moved up from there to doing things like congressional

13:49   5      appropriations for technology.       But a lot of that was

13:49   6      through Naval Research Labs and other government agencies.

13:49   7      But it's been something that I'm quite familiar with

13:49   8      throughout my career being in those environments.

13:49   9      Q.    When you were -- Dr. Shealy, when you were at the

13:49   10     University of California Santa Barbara, did you gain any

13:49   11     experience or have any experience working with single

13:49   12     crystal nano materials?

13:49   13     A.    Yes.   One of the reasons I went to that university, I

13:49   14     followed a professor at NC State who had set some of the

13:49   15     world records for these transistor speeds, so I was

13:49   16     inspired by him.     So the education that I got in grad

13:49   17     school at UCSB was what I would characterize as hands-on.

13:50   18     I was actually working in a chip fab.        We were -- the

13:50   19     wafers we were making, we were using innovative materials,

13:50   20     and then staying up very late hours converting those into

13:50   21     electronic devices.

13:50   22           I worked in various single crystal materials,

13:50   23     including indium phosphite, which is ultimately what I got

13:50   24     my doctorate in.     But gallium oxide at Hughes Electronics.

13:50   25     And then my first startup was in gallium nitride.           So
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13:50   1      these are all single crystal electronic trade materials

13:50   2      that I've had a passion for throughout my career.

13:50   3      Q.    During your time at UCSB, were you also exposed at

13:50   4      that time to what we've heard previously testified to as

13:50   5      MEMS devices?

13:50   6      A.    Various MEMS technology, the answer to that is

13:51   7      actually no.      So the experience in MEMS technology I would

13:51   8      characterize the exposure I had at UCSB as more plainer

13:51   9      silicon-type processing.      MEMS technology implies --

13:51   10     oftentimes implies suspended structures or -- which the

13:51   11     way you make a suspended structure is you do a layer

13:51   12     transfer.

13:51   13           So you start on one substrate and you flip mount it,

13:51   14     and it's a -- those skilled in the art are geniuses in my

13:51   15     opinion, but I did not have experience in MEMS technology.

13:51   16     That's why we acquired the New York facility, because the

13:51   17     30 people that came -- that were running that facility

13:51   18     when we acquired it were experts, and had 20 years of

13:51   19     expertise in development of that -- or in producing

13:51   20     MEMS-based devices.

13:51   21     Q.    Now, I believe you testified earlier, Dr. Shealy,

13:51   22     that during the time were you at RFMD, one on the

13:51   23     precursor companies to Qorvo, that they did not make BAW

13:52   24     filters.

13:52   25           Had you done any filter work during the time that you
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13:52   1      were at RFMD?

13:52   2      A.    I did not.    At the time I left RFMD, I was running

13:52   3      approximately five businesses.       But these would be a

13:52   4      defense business, a high frequence millimeter wave

13:52   5      amplifier business.     I was running a cable TV business,

13:52   6      and also a foundry business.       And I'm slipping on what the

13:52   7      other was.    But none of these were related to RF filters.

13:52   8      So the answer is, no.

13:52   9      Q.    Why did you form Akoustis?

13:52   10     A.    When I left RFMD, I reached out to my network.          And

13:52   11     that largely consists of professionals through kind of the

13:52   12     education channels.     So one of the first calls I made

13:53   13     after taking a short break was to Professor Steve Dunbar,

13:53   14     who is an expert in single crystal materials at UCSB.            He

13:53   15     is still currently on our board advising the company.

13:53   16           And we had talked through a lot of intellectual

13:53   17     property ideas that were really unchartered in the types

13:53   18     of nitride materials, which is what we use.          They had done

13:53   19     a lot of patenting of technologies with LEDs, with lasers,

13:53   20     with RF power devices, with RF power switches for

13:53   21     automotive, batteries, that sort of thing.

13:53   22           And we had a very broad discussion about technology,

13:53   23     and we came to the conclusion through a couple

13:54   24     conversations that they had never explored the acoustic

13:54   25     properties of some of these nitride materials.          Acoustic
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13:54   1      properties would be -- these are acoustic wave filters.

13:54   2      BAW is an acoustic wave filter.

13:54   3            So we discussed some of the physics behind that.           We

13:54   4      discussed the lack of patents in that area that the

13:54   5      university had not explored.       And so I think from a novel

13:54   6      materials standpoint, single crystal aluminum nitride was

13:54   7      not very mature.     Aluminum scandium nitride from a single

13:54   8      crystal standpoint, had rarely been even demonstrated in a

13:54   9      single crystal form.

13:54   10           And then combine that with my history, I wanted to

13:54   11     move into an area where I had not worked before.           I'm an

13:54   12     entrepreneur; I am a builder.       And I wanted a challenge

13:55   13     that would -- that had potential payoff, which I thought

13:55   14     using advanced materials with better physical or better

13:55   15     physics, better physical properties, would allow us to

13:55   16     differentiate in the end product that we were selling to

13:55   17     the market.

13:55   18           That was the thesis behind the company, and it seemed

13:55   19     to stay clean from RFMD because, you know, I had not had

13:55   20     any involvement with any technology related to filters, so

13:55   21     it seemed clean there.      And innovation in nano science

13:55   22     seemed -- has been my experience to have a lot of

13:55   23     opportunities to make advanced technology and

13:55   24     better-functioning products.

13:55   25     Q.    Now, Dr. Shealy, why, when you formed and started
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13:55   1      Akoustis, why you did you choose to focus on FBAR filter

13:55   2      instead of SMR filters?

13:55   3      A.    If you look at some of the earlier materials that we

13:55   4      were talking about -- RGLTE -- 4G was launched.          You

13:56   5      probably remember a lot of Verizon commercials, AT&T

13:56   6      commercials.      5G had been spun up as kind of the next big

13:56   7      thing.   5G was going to use a much higher frequency

13:56   8      spectrum.    And the government goes through a licensing

13:56   9      process to define that spectrum.       And so there was a lot

13:56   10     of buzz in the future about 5G.

13:56   11           Also, in Wi-Fi, a lot of emphasis, you know, early

13:56   12     routers that you had in your home would only have a single

13:56   13     band, very low frequency at 2.4.       All the new bands that

13:56   14     were opening up were all high frequency.

13:56   15           So the answer to your question is, an FBAR device has

13:56   16     lower parasitics, number one, than other conventional

13:56   17     technology such as SMR.      But it -- so it has lower

13:57   18     parasitics, and then the loading of the mirrors in the SMR

13:57   19     tends to have ripples in frequency, and so as you're

13:57   20     stacking these filters together, you can get ripple across

13:57   21     the bands.    So FBAR is a cleaner -- it's a cleaner filter

13:57   22     spectrum, Number 1; and, Number 2, we felt the market

13:57   23     leader is and was Avago.      They have really a position in

13:57   24     FBAR, and it is the choice of high frequency today.            And a

13:57   25     lot of the 4GLTE bands, they had really monopolized those
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13:57   1      bands as well.

13:57   2            So it felt -- we wanted to start, our starting point

13:57   3      to go after with advanced nano science was going to be the

13:57   4      best configuration, which is, in our view, was an FBAR

13:57   5      like process.

13:58   6      Q.    Now, Dr. Shealy, you've described a little bit about

13:58   7      your experience during the early years of Akoustis.            Could

13:58   8      you briefly describe for the jury what your

13:58   9      responsibilities were during that time period?

13:58   10     A.    I can tell you the -- it evolves in a company like

13:58   11     ours.   I always seem to draw the short straw of having to

13:58   12     do all the fund-raising in the company.           As I said, I'm an

13:58   13     entrepreneur in technology and nano science.           But I think

13:58   14     I always ended up having to work fund-raising aspect of

13:58   15     it.   So early days when you have nobody there, you are

13:58   16     the -- you do everything that you -- you have to do

13:58   17     everything.

13:58   18           You know, some of the technical results that were in

13:58   19     the documents this morning, were -- I had a heavy hand in

13:58   20     producing those.      And then the goal once we went down a

13:59   21     path of what's called public venture financing, which is

13:59   22     what we did.      We are a public company.    We were able to

13:59   23     raise capital to finance the company through the public

13:59   24     markets.

13:59   25           Very quickly, the job went from me doing it myself to
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13:59   1      hiring, you know, the best individuals.           And we use a

13:59   2      methodology, which I credit to a gentleman named Vinode

13:59   3      Vinod Khosla, Khosla Ventures.       We used an approach called

13:59   4      gene pool engineering when recruiting.        That is, you hire

13:59   5      expertise across a broad spectrum of industry, bring that

13:59   6      expertise, which has different backgrounds and

13:59   7      experiences, you bring them together and give them a very

13:59   8      difficult problem to solve, and that's how we did the

13:59   9      recruiting.

13:59   10           So we were recruiting, broadly speaking, and I

14:00   11     certainly was trying to fill key roles in the company to

14:00   12     delegate those aspects of the business.

14:00   13           So my role, to your question, going from early on

14:00   14     was, doing everything, to then, you know, getting the

14:00   15     company on a sustainable funding path where we could hire

14:00   16     and bring on new people.      We were bringing in government

14:00   17     contracts to fund those efforts.       And then as it moves on,

14:00   18     we get -- we're a public company, so I've taken more of a

14:00   19     front office job with investors with, you know, running

14:00   20     the public company.

14:00   21     Q.    Do you have a particular management style, Dr.

14:00   22     Shealy?

14:00   23     A.    I would summarize my management style is hire good

14:00   24     leaders, let them lead, get out of their way.           That is,

14:00   25     if -- what have I found in companies, small and big, is,
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14:00   1      if you micromanage, you're going to lose your best people.

14:00   2      You can -- you want to inspire them, get them -- let them

14:01   3      lead, get out of their way, and go solve another difficult

14:01   4      problem, because there's always problems to go solve in

14:01   5      these companies.

14:01   6      Q.    Now, Dr. Shealy, we've heard testimony in this case

14:01   7      that suggests that there are copies of a number of Qorvo

14:01   8      documents and presentations and templates, many of which

14:01   9      were labeled confidential and proprietary that were found

14:01   10     on various computers belonging to Akoustis employees.

14:01   11           Is that something that's allowed under the company's

14:01   12     policy?

14:01   13     A.    I will reiterate what I said earlier.        I don't have

14:01   14     the specifics of those numbers, given the protective

14:01   15     orders, but bringing documents into the company is not --

14:01   16     it is strictly prohibited in the confidentiality agreement

14:01   17     an employee signs on day one as a contingent of them

14:01   18     coming to work.

14:01   19           In addition, we have added additional measures,

14:01   20     business conduct guidelines, which the board has -- we

14:01   21     built those from the ground up, and the board has enacted

14:02   22     those.    So those would be policies the company has taken

14:02   23     steps to put into place.      The confidentiality has been

14:02   24     since day one.     BCG, or business conduct guidelines, is a

14:02   25     program we've enacted through our general counsel and
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14:02   1      outside counsel to make sure we insist upon the highest

14:02   2      standards.

14:02   3      Q.    Now, were you personally ever aware of Qorvo

14:02   4      materials being discussed at Akoustis by former Qorvo

14:02   5      employees?

14:02   6      A.    Repeat the question.      I'm sorry.

14:02   7      Q.    Yes.   Were you personally aware that the Qorvo

14:02   8      materials were being discussed at Akoustis by former Qorvo

14:02   9      employees?

14:02   10     A.    Materials would have been discussed.         We were under

14:02   11     nondisclosure with Qorvo.       And, actually, had development

14:02   12     activity.    So there certainly would be discussion of

14:02   13     materials related to specs that we had received, and those

14:02   14     sorts of materials, I certainly was aware of.           I was in

14:03   15     receipt of those sorts of materials from their

14:03   16     procurement, and also their chief technology officer who,

14:03   17     you know, was evaluating and testing our technology.

14:03   18     Q.    Were you ever aware, Dr. Shealy, of any Qorvo

14:03   19     confidential proprietary information being used in the

14:03   20     development of Akoustis technology?

14:03   21     A.    No.    No.   We didn't need it.     We were building a

14:03   22     different type of technology, and I would also state that

14:03   23     our transfer flow MEMS process, which is a flip -- is a

14:03   24     removal process, I don't think you could take process

14:03   25     recipes from another company, run it in our process, and
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14:03   1      it wouldn't work.     And I don't think you could take ours

14:03   2      and run it in their tool sets and it wouldn't work.           So

14:03   3      there's highly customized and engineered processes to

14:03   4      build our technology.      And that started from the MEMS

14:03   5      folks we acquired.

14:03   6      Q.    But, Dr. Shealy, we were shown through various

14:04   7      witnesses here that several former Qorvo employees did

14:04   8      copy their e-mail folders, and sometimes other materials

14:04   9      and presentations they had received at Qorvo, and

14:04   10     apparently transferred some of those, at least, to their

14:04   11     Akoustis laptops.

14:04   12           Was this conduct encouraged or approved by company

14:04   13     management?

14:04   14     A.    No.   Again, confidentiality documents were in place,

14:04   15     and still are in place today, business conduct guidelines

14:04   16     that prohibit that type of behavior.        The challenge for

14:04   17     the company as we were a small startup is we did not

14:04   18     have -- we didn't have the trust-but-verify IT systems to

14:04   19     see what was being plugged in.       In the early stages of a

14:04   20     startup, you're handing out computers, putting people to

14:04   21     work, trying to innovate on the technology.          If people are

14:04   22     plugging things into a laptop, don't have a direct way of

14:04   23     policing that.

14:05   24           Part of the BCG that I mentioned, part of what we've

14:05   25     been forced to do with the DARPA contracts that we are
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14:05   1      currently working on, they insisted on, and they've been

14:05   2      helping us pay for IT upgrades to our system in order to

14:05   3      be able to prevent outside intruders, be able to police

14:05   4      kind of inside documents.      That's a capability we did not

14:05   5      have, you know, prior to, you know -- these contracts have

14:05   6      been with us, you know, three or four years.

14:05   7                   MR. LEMIEUX:    Your Honor, may I have permission

14:05   8      to approach the witness with an exhibit?

14:05   9                   THE COURT:    You may.

14:05   10                  MR. LEMIEUX:    I've handed the witness what's

14:06   11     been marked for identification purposes as Exhibit

14:06   12     DTX-0634.

        13     BY MR. LEMIEUX:

14:06   14     Q.    Ask you to take a look at that, Dr. Shealy, and tell

14:06   15     us whether or not you've seen this document before.

14:06   16     A.    Yes, I've seen the document before.         I'm a coauthor

14:06   17     of this paper.

14:06   18     Q.    What is this exhibit?

14:06   19     A.    This exhibit is a IEEE, which IEEE is the Institute

14:06   20     of Electrical Electronics Engineers.        It is the gold

14:06   21     standard in electrical engineering.        This was a paper

14:06   22     submitted to a conference called the International

14:06   23     Ultrasonic Symposium, IUS.       And this paper, as I recall --

14:06   24     I don't see the date on it.       As I recall, this paper was

14:06   25     published in 2018 if my memory serves me correct.
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14:06   1      BY MR. LEMIEUX:

14:06   2      Q.    And what is this paper based on?

14:06   3      A.    This paper was -- so the IUS is the, really the

14:07   4      premier ultrasonics acoustic wave conference.          This

14:07   5      particular year, it was held in Kobe, Japan.          It was -- so

14:07   6      we solicited -- we began taking the -- with our new XBAW

14:07   7      process, we wanted to demonstrate to the industry the

14:07   8      potential of the single crystal XBAW technology we were

14:07   9      producing.

14:07   10           So this paper outlines various things about the

14:07   11     technology, figures of merit, power handling, that we

14:07   12     measured.    It had reliability of the single crystal

14:07   13     material, much higher powers, and we demonstrated, in my

14:07   14     view for the first time, approximately a 2X enhancement in

14:07   15     the power handling of a single crystal BAW in our process

14:07   16     compared to a polycrystalline BAW in our process.

14:08   17           So it really demonstrated the superior thermal

14:08   18     conductivity of single crystal material, which can be

14:08   19     leveraged for power applications.        And that's what the

14:08   20     paper demonstrates.     Really, it's not a theory paper; this

14:08   21     is all measured data, and it's data out of our lab, and --

14:08   22     Q.    If I could ask you, what is this paper based on?

14:08   23     A.    Oh, this is based upon our XBAW technology, which the

14:08   24     experiment and the control in here are single crystal

14:08   25     material and polycrystalline material, all built in our
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14:08   1      fab in New York State.

14:08   2      Q.    Is this based on the research and development work

14:08   3      that is done at Akoustis?

14:08   4      A.    One hundred percent; and it is 100 percent internal

14:08   5      data.   We didn't outsource of any this.          This was our

14:08   6      data.   In addition, I'd have to look and see what

14:08   7      contracts we had running, but we were also sharing this

14:08   8      with the government agencies that we were talking to at

14:09   9      the time as -- if we had contracts at that time, these

14:09   10     would be some of the deliverables we would share with

14:09   11     them.

14:09   12                  MR. LEMIEUX:    Your Honor, I'd like to move to

14:09   13     admit DTX-634 into evidence.

14:09   14                  THE COURT:    Marked and received as 207.

14:09   15                  (Trial Exhibit No. 207 was admitted into

14:09   16     evidence.)

14:09   17     BY MR. LEMIEUX:

14:09   18     Q.    Dr. Shealy, I believe Mr. Masters asked you this

14:09   19     question, but I just wanted to make sure I understand

14:09   20     properly.

14:09   21           Does Akoustis currently offer any BAW filters that

14:09   22     use a single crystal technology for the creation of the

14:09   23     resonator?

14:09   24     A.    Yes.   So we had an early -- the earliest project that

14:09   25     we had was a 1938 project.       That was for defense.       What we
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14:09   1      currently offer is a product, I believe, I called it

14:10   2      10161, or the 161 product.       The 161 product is a -- for

14:10   3      HPE Aruba.    In an enterprise router, they have multiple

14:10   4      bands within that router.      I think we have approximately

14:10   5      32 filters in their router box.       And, again, it's an

14:10   6      enterprise router that would be in a building like this

14:10   7      servicing all users.

14:10   8            So the 161 device is 6.1 gigahertz single crystal

14:10   9      piezoelectric that we were able to tune to get maximum Q,

14:10   10     and it had better power handling than the polycrystalline

14:10   11     material.    So, again, back to the philosophy of better is

14:10   12     the enemy of good enough.      Use polycrystalline when --

14:10   13     because it works in our process, we use that, but when we

14:10   14     need bump in performance, in this particular case of the

14:10   15     161, we used that, and were able to win the entire

14:11   16     platform of the HPE Aruba with all of our filters, both

14:11   17     narrow band, which are custom, as well as wide band.

14:11   18     Q.    Dr. Shealy, was there ever a time when Akoustis only

14:11   19     offered polycrystalline products?

14:11   20     A.    We were in development of single crystal from the

14:11   21     founding of the company until present time.          We were

14:11   22     engaged, we had different customers in defense in 5G

14:11   23     network infrastructure, in -- such as

14:11   24     that we had at least a two-year agreement that we were

14:11   25     working on.
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14:11   1            We have had -- the first three years of the company,

14:11   2      we outsourced single crystal materials.           We brought that

14:11   3      capability, and if you toured our fab in New York, you

14:11   4      would see, you know, the tool set that is producing the

14:11   5      single crystal material.      It is -- we also have currently

14:11   6      won two phases of a new DARPA program where we're using a

14:12   7      blend of single crystal and polycrystalline materials to

14:12   8      actually do something called "overmoding the resonator,"

14:12   9      which allows you to multiply frequency of operations.

14:12   10           So, you know, this is sub-6 gigahertz technology.

14:12   11     We're now -- we've already delivered 18 gigahertz filter

14:12   12     samples using our P3F technology to the government.            And

14:12   13     we've got -- that's led us to multiple defense customers

14:12   14     working -- doing design work in our foundry.

14:12   15                  MR. LEMIEUX:    No, further questions for this

14:12   16     witness, Your Honor.      I will pass.

14:12   17                  THE COURT:    Cross-examination, and redirect.

14:12   18                  MR. MASTERS:    Thank you, Your Honor.

14:12   19                            REDIRECT EXAMINATION

14:12   20     BY MR. MASTERS:

14:12   21     Q.    Dr. Shealy, you referred to Avago today as having a

14:13   22     monopoly position.

14:13   23           They're the big company in the field, right?           In the

14:13   24     market?

14:13   25     A.    They have the highest market share with their FBAR
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14:13   1      technology, yes.     That would be Broadcom.

14:13   2      Q.    And the market is extremely lucrative for the BAW

14:13   3      filters, correct?

14:13   4      A.    I would characterize it, if you're okay, yes, it's

14:13   5      lucrative, and I would call it the premium market in the

14:13   6      industry.

14:13   7      Q.    Multibillion dollars annually?

14:13   8      A.    I believe the -- if you look at the -- I would steer

14:13   9      you to our website.     We put numbers that are published.

14:13   10     The mobile market alone is close to 10 billion.

14:13   11     Q.    $10 billion, around this time?

14:13   12     A.    Ten to 13 billion, something like that, sir.

14:13   13     Q.    And you would agree with me that to stay competitive

14:13   14     in this field, and to compete with people like Broadcom,

14:13   15     your intellectual property is one of your core assets of

14:13   16     your company, isn't it?

14:14   17     A.    I certainly would say our intellectual property is a

14:14   18     core asset to our company, yes, sir.

14:14   19     Q.    It's extremely important to stay competitive in this

14:14   20     market, right?

14:14   21     A.    Our IP is -- our IP is core to our success, yes.

14:14   22     Q.    And Qorvo's IP is important to Qorvo, right?

14:14   23     A.    And Qorvo's IP would be important to Qorvo.

14:14   24     Q.    And you would not share your IP and give it away to

14:14   25     any other competitor in this field, would you?
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14:14   1      A.    Unless there was some agreement --

14:14   2      Q.    No agreement.    You would not give your IP --

14:14   3      A.    Oh, independent -- oh, I'm sorry, sir.

14:14   4      Q.    You would not give your IP to another company, or let

14:14   5      somebody take your IP out of the company to compete in

14:14   6      this market; isn't that correct?

14:14   7      A.    Unless we had an agreement with a -- nondisclosures

14:14   8      and we were working very closely together.

14:14   9      Q.    No agreements, you're not working closely --

14:14   10     A.    Okay.

14:14   11     Q.    -- another company, third party, they're coming into

14:14   12     the market, you're not going to give them your IP so they

14:14   13     can compete in this $13 billion market.

14:15   14           Isn't that a true statement?

14:15   15     A.    I believe that's a true statement, yeah.

14:15   16     Q.    Thank you.

14:15   17     A.    Thank you, sir.

14:15   18                   MR. MASTERS:   Can we project, please, DTX-634

14:15   19     that I think counsel marked as Trial Exhibit 207.

14:15   20     BY MR. MASTERS:

14:15   21     Q.    Your article.    Your an author on this article?

14:15   22     A.    Yes, sir.    I'm the third author on this article.

14:15   23     Q.    Okay.   And 2018, you published, you believe?

14:15   24     A.    Mr. Vetury, or Dr. Vetury was the lead author and he

14:15   25     presented at the conference in Kobe, Japan.
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14:15   1      Q.    Based on products in your lab?

14:15   2      A.    I don't -- I believe if you look at the paper, the

14:16   3      paper is a technology paper as well as the filters that we

14:16   4      show here, as well as the resonator data, the data and the

14:16   5      devices were built in our lab in Upstate New York.

14:16   6      Q.    Okay.   BAW filters are passive devices?

14:16   7      A.    It's a capacitor.      It is a highly sophisticated

14:16   8      capacitor, but it is a passive device.        Yes, sir.

14:16   9      Q.    Thank you.

14:16   10           And that means that you cannot get more energy out of

14:16   11     the filter than the amount of energy going in, correct?

14:16   12     A.    I would say, overall, in the physical world we live

14:16   13     in, you can't violate Mother Nature, physics of Mother

14:16   14     Nature.

14:16   15     Q.    So with a passive device, the energy coming out

14:16   16     cannot be greater than the energy going into this passive

14:16   17     device, right?

14:17   18     A.    I would point you to conservation of energy.

14:17   19     Q.    Would you say yes to my question?

14:17   20     A.    In any system, including a BAW device.

14:17   21                   MR. MASTERS:   Can we go to Page 2, please.        Top

14:17   22     right.    Can we zoom in on the purple.      Can you zoom in on

14:17   23     the top.

14:17   24     BY MR. MASTERS:

14:17   25     Q.    So this is what's known as a Smith chart, right?
        Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24                1197PageID
                                                                  Page 871 of 2283
                                             #: 40842
                                        Shealy    - Redirect

14:17   1      A.    The -- yes.     So it's a Bode plot on the left, and

14:17   2      that would be a Smith chart on the right.

14:17   3      Q.    Prepared for a conference?

14:17   4      A.    It was taken from our -- it was taken from our

14:17   5      engineering data at the company and formatted for the

14:17   6      conference.       Yes, sir.

14:17   7      Q.    Not peer-reviewed, correct?

14:17   8      A.    The paper had gone in and we were selected by the

14:17   9      committee.    In fairness to your question, if it was a IEEE

14:18   10     journal, those can be more what I would refer to as

14:18   11     peer-reviewed.      But a committee reviewed our paper and the

14:18   12     data and they accepted it for publication.

14:18   13     Q.    But not peer-reviewed, as in the classic sense of a

14:18   14     peer-reviewed technical article, correct?

14:18   15     A.    I would argue it's an IEEE conference.          The people

14:18   16     there are very -- and this is the premium in -- involved.

14:18   17     So for the committee to accept it, they wanted to see it

14:18   18     presented in the conference.

14:18   19     Q.    Okay.   And if we look at on the circle around --

14:18   20     from, say, 3:00 to 5:00, if you will, you have dots that

14:18   21     are plotted on the outside of that circle, correct?

14:18   22     A.    It would be useful to blow up that segment if you

14:18   23     wanted to evaluate that.

14:19   24     Q.    Well, with our technology --

14:19   25     A.    It looks like it's on the edge of the Smith chart,
        Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24                1198PageID
                                                                  Page 872 of 2283
                                             #: 40843
                                        Shealy    - Redirect

14:19   1      sir.

14:19   2      Q.     And it's actually physically impossible, because

14:19   3      these are passive devices, to get more energy out of the

14:19   4      BAW filter.       And by having the dots on the outside of the

14:19   5      circle, is physically impossible.

14:19   6             Would you agree with me?

14:19   7      A.     What I -- my experience with these measurements is

14:19   8      that any error you would have in the calibration could

14:19   9      give you that.       But I don't see -- I see the red block

14:19   10     here, but that -- the line thickness that's chosen to show

14:19   11     the data is right on the edge of the Smith chart.

14:19   12     Q.     So it's either a calibration error or you subtracted

14:19   13     more losses than you should have for how this BAW filter

14:19   14     was being analyzed?

14:20   15     A.     I'm looking at the data, and I see it on the edge of

14:20   16     the Smith chart, which is -- that's a good calibration,

14:20   17     from what I see.

14:20   18     Q.     But on the outside, that's physically impossible

14:20   19     and --

14:20   20     A.     I would want to see a blowup of that chart.          Take the

14:20   21     data and blow it up, if we're going to have that

14:20   22     conversation.       It looks like it's on the edge of the Smith

14:20   23     chart, which isn't defying any physics whatsoever.

14:20   24     Q.     Okay.

14:20   25     A.     It's a very high --
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1199PageID
                                                                 Page 873 of 2283
                                            #: 40844
                                       Shealy    - Redirect

14:20   1                    MR. MASTERS:   Take that chart down.

14:20   2      BY MR. MASTERS:

14:20   3      Q.    Dr. Shealy, you talked about computer systems having

14:20   4      trust and verify software, correct?

14:20   5      A.    Not computer system.     Our IT system.

14:20   6      Q.    Fair enough.    Trust and verify IT systems, which

14:20   7      provides a way of policing what comes on to computers

14:20   8      within your organization, correct?

14:20   9      A.    That is correct.

14:20   10     Q.    Came later in time at Akoustis, correct?

14:20   11     A.    It did.

14:20   12     Q.    And in this instance, it took the board of directors

14:20   13     20 months after the complaint was filed to issue a

14:20   14     directive that you remove 450 documents from the computer

14:21   15     systems; isn't that correct?

14:21   16     A.    The -- my answer to that is, we were advised by our

14:21   17     counsel to do that.     We were in a -- we were in a hold --

14:21   18     we could not touch our servers --

14:21   19     Q.    Excuse me, Doctor.     I am not asking what counsel

14:21   20     advised you.

14:21   21     A.    Okay.

14:21   22     Q.    Your board of directors gave you an instruction to

14:21   23     remove the 450 Qorvo documents 20 months after this

14:21   24     complaint was filed; isn't that, correct.

14:21   25     A.    I'll stand with the dates that -- there.         I don't
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                 1200PageID
                                                                  Page 874 of 2283
                                            #: 40845
                                       Shealy    - Redirect

14:21   1      have the time lines.

14:21   2      Q.    And that was May 1, 2023, the board of directors said

14:21   3      remove 450 documents.      And then the forensic inspection in

14:21   4      September 2023.     So, three, four, months later, showed

14:21   5      hundreds of thousands of documents, Qorvo documents, on

14:21   6      your computer systems; isn't that, correct?

14:21   7      A.    Sir, there's a protective order in this case, which I

14:21   8      have not seen the data you're mentioning.          And the only

14:22   9      other clarification I would give is we had a document

14:22   10     hold.   We could not destroy any documents once the

14:22   11     discovery process of this case started.           So there was no

14:22   12     removing documents off our servers.

14:22   13     Q.    So as a member of the board and CEO of this company,

14:22   14     you're going to hide behind a protective order; is that

14:22   15     your testimony?

14:22   16     A.    We have had a -- we had a Court issue us an order to

14:22   17     freeze and protect the integrity of the data, which means

14:22   18     you cannot go and delete computers, you cannot go delete

14:22   19     servers.    You can't touch it.     And the forensic people

14:22   20     that came, it was -- everything was in lockdown and

14:22   21     freeze.    It was only until our counsel in this case

14:22   22     basically advised the board, for reasons I don't know at

14:22   23     this point -- but they advised us to issue that and begin

14:22   24     a process.    And then that got frozen, so we con do that.

14:22   25     Q.    One more question.     The forensic inspector was only
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1201PageID
                                                                 Page 875 of 2283
                                            #: 40846
                                       Shealy    - Recross

14:22   1      able to inspect the computers that existed in September,

14:23   2      but not the computers and computer devices that were no

14:23   3      longer in place at Akoustis; isn't that true?

14:23   4      A.    Sir, I can't -- I can't comment on that.

14:23   5      Q.    No, further questions, Your Honor.

14:23   6      A.    I have no working knowledge on what was inspected or

14:23   7      not inspected.

14:23   8                   THE COURT:    All right.    Thank you very much.

14:23   9                   MR. LEMIEUX:    Your Honor, because he was my

14:23   10     direct, I think I can redirect.

14:23   11                  THE COURT:    Sure.

14:23   12                  MR. LEMIEUX:    It's only a single question, Your

14:23   13     Honor.

14:23   14                            RECROSS EXAMINATION

14:23   15     BY MR. LEMIEUX:

14:23   16     Q.    Dr. Shealy, Mr. Masters there tried to make it appear

14:23   17     that there was a long period of time between the filing of

14:23   18     the lawsuit and the action that was taken by the board.

14:23   19           Are you aware of the fact that the trade secret

14:23   20     claims that were added to this case were only added in

14:23   21     February of 2023?

14:23   22     A.    Yes, I am aware of that.

14:23   23     Q.    And was the action taken by the board -- that was in

14:24   24     May of 2023, correct?

14:24   25     A.    That is correct.
        Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1202PageID
                                                                 Page 876 of 2283
                                            #: 40847
                                       Shealy    - Recross

14:24   1      Q.    So just three months, not 40 months later, or

14:24   2      20 months later?

14:24   3      A.    That is correct.

14:24   4                   MR. LEMIEUX:    No, further questions, Your

14:24   5      Honor.

14:24   6                   THE COURT:    Thank you very much.      You may step

14:24   7      down.

14:24   8                   THE WITNESS:    Thank you, Your Honor.

14:24   9                   THE COURT:    Certainly.

14:24   10                  And who will our next witness be?

14:24   11                  MR. MASTERS:    Your Honor, the plaintiff calls

14:24   12     J.B. Kwon, who is a senior process engineer at Akoustis.

14:24   13     It will be by video deposition.

14:24   14                  THE COURT:    And, once again, it's a deposition,

14:24   15     it is just as though the witness is before you here in

14:24   16     court, and this is your only opportunity to see the

14:24   17     deposition testimony.

14:24   18                  You may proceed.

14:25   19                  MR. LEMIEUX:    Is this video being played

14:25   20     without sound?

14:25   21                  THE COURT:    No, it's not.    It's being played by

14:25   22     the IT person --

14:25   23                  MR. LEMIEUX:    That's what I suspected, but I

14:25   24     just wanted to make sure.

14:25   25                  (Deposition designation of J.B. KWON plays as
        Case 1:21-cv-01417-JPM                                              1203PageID
                                 Document 714-2 Filed 10/29/24 Page 877 of 2283
                                            #: 40848 Designation
                                 Kwon - Deposition

14:25   1      follows:

14:26   2      Q.    Could you state your name for the record?

14:26   3      A.    My name is Joonbum Kwon.

14:26   4      Q.    Have you ever been deposed before?

14:26   5      A.    No.    This is first time.

14:26   6      Q.    Who is your current employer?

14:26   7      A.    Northrop Grumman.

14:26   8      Q.    What does your current employer do?

14:26   9      A.    My position is process integration engineer.

14:26   10     Q.    Who was your first employer?

14:26   11     A.    TriQuint Semiconductor after I graduate my Ph.D.

14:26   12     Q.    Could you please tell me what positions you held

14:26   13     while you were at Qorvo?

14:26   14     A.    I work in the plasma process engineering team.         So

14:26   15     major role was to sustain or develop the plasma process

14:26   16     such as dry etch process and trim process.

14:27   17     Q.    And you mentioned the trimming.       What is trimming?

14:27   18     A.    Trim process is also -- it's kind of dry etch

14:27   19     process, but a little bit different.        But trim process is

14:27   20     using focused ion beams to etch the materials.         It could

14:27   21     be metal or nonmetal materials.

14:27   22     Q.    Is trimming used on both FBAR and SMR?

14:27   23     A.    Yes.

14:27   24     Q.    Is the process similar?

14:27   25     A.    Similar.    I'm not sure what your point is, process
        Case 1:21-cv-01417-JPM                                              1204PageID
                                 Document 714-2 Filed 10/29/24 Page 878 of 2283
                                            #: 40849 Designation
                                 Kwon - Deposition

14:27   1      similar means.

14:27   2      Q.    We can go one at a time.      So can you use the same

14:28   3      trimming equipment for FBAR or SMR?

14:28   4      A.    It could be.

14:28   5      Q.    Do you remove material layer in an FBAR?

14:28   6      A.    Yeah.

14:28   7      Q.    Do you also remove a material on an SMR?

14:28   8      A.    Yes.

14:28   9      Q.    Do you remove a dielectric material on an FBAR?

14:28   10     A.    Yes.

14:28   11     Q.    Do you remove a dielectric material from an SMR?

14:28   12     A.    Yes.

14:28   13     Q.    Is -- is trimming necessary for BAW filter?

14:28   14     A.    Yes.

14:28   15     Q.    Why did you leave Qorvo?

14:28   16     A.    I work in Qorvo five years.      So I want to refresh my

14:28   17     life to experience new company.       That's the reason.

14:29   18     Q.    When did you leave Qorvo?

14:29   19     A.    2017.   I don't remember exact the month, date.        2017,

14:29   20     I left Qorvo, yeah.

14:29   21     Q.    Dr. Kwon, do you recognize the exhibit marked 647?

14:29   22     A.    No.    I don't remember.

14:29   23     Q.    What is the title of the document?

14:29   24     A.    Employee Confidentiality and Invention Assignment

14:29   25     Agreement.
        Case 1:21-cv-01417-JPM                                              1205PageID
                                 Document 714-2 Filed 10/29/24 Page 879 of 2283
                                            #: 40850 Designation
                                 Kwon - Deposition

14:29   1      Q.    TriQuint is your former employer?

14:30   2      A.    Yes, this is my first employer.

14:30   3      Q.    And TriQuint is now Qorvo?

14:30   4      A.    Now, Qorvo, yeah.

14:30   5      Q.    Could you please look at page Qorvo_00842121 just at

14:30   6      the bottom.

14:30   7            This is your signature?

14:30   8      A.    Yes.

14:30   9      Q.    Where did you work after Qorvo?

14:30   10     A.    After Qorvo left, I joined Akoustis Technology.

14:30   11     Q.    During what period were you employed by Akoustis

14:30   12     Technology?

14:30   13     A.    I work in Akoustis 2017, around June to 2022, around

14:31   14     October.

14:31   15     Q.    How did you come to be employed by Akoustis?

14:31   16     A.    When I was in Qorvo, I'm trying to move to new

14:31   17     company.     So I apply some -- for some job link in the job

14:31   18     site, and then later one of the recruiters contact me and

14:31   19     introduce this, the Akoustis Technology company.

14:31   20     Q.    Who was this recruiter?

14:32   21     A.    Aaron, I don't remember last name.       First name is

14:32   22     Aaron.

14:32   23     Q.    Why did you decide to join Akoustis?

14:32   24     A.    Akoustis Technology company was a startup company,

14:32   25     and the company team introduced their company and their
        Case 1:21-cv-01417-JPM                                              1206PageID
                                 Document 714-2 Filed 10/29/24 Page 880 of 2283
                                            #: 40851 Designation
                                 Kwon - Deposition

14:32   1      business.    So after listen to them, I thought this company

14:32   2      has potential to be growing up in this market.         So that's

14:32   3      why I joined up.

14:32   4      Q.    Did -- did you get a raise by moving to Akoustis?

14:32   5      A.    Yes.

14:33   6      Q.    Did Akoustis offer better benefits?

14:33   7      A.    Yes.

14:33   8      Q.    Did Akoustis offer stock options?

14:33   9      A.    Yes.

14:33   10     Q.    Please tell me the positions you held while at

14:33   11     Akoustis.

14:33   12     A.    My position was senior process engineer, and they --

14:33   13     my position was to develop trim process.

14:33   14     Q.    Did any other process engineer have experience with

14:33   15     trim process?

14:33   16     A.    I don't remember.

14:33   17     Q.    What was state of Akoustis's trim process when you

14:33   18     were hired?

14:34   19     A.    I don't remember.

14:34   20     Q.    Did Akoustis have an established trim process when

14:34   21     you joined Akoustis?

14:34   22     A.    I don't remember.

14:34   23     Q.    When you joined Akoustis, who was working on the

14:34   24     design?

14:34   25     A.    I don't remember.
        Case 1:21-cv-01417-JPM                                              1207PageID
                                 Document 714-2 Filed 10/29/24 Page 881 of 2283
                                            #: 40852 Designation
                                 Kwon - Deposition

14:34   1      Q.    Manufacturing?

14:34   2      A.    I don't remember.

14:34   3      Q.    Testing?

14:34   4      A.    I don't remember.

14:34   5      Q.    Trimming?

14:34   6      A.    I don't remember.

14:34   7      Q.    Do you remember anything about Akoustis's business

14:34   8      when you were hired?

14:34   9      A.    No, I don't remember.

14:34   10     Q.    During your time at Akoustis, did Akoustis have a

14:34   11     single crystal design?

14:34   12     A.    I don't remember.

14:34   13     Q.    How does Akoustis trim its BAW filters?

14:34   14     A.    I don't remember.

14:34   15     Q.    Was there a process for trimming when you joined

14:34   16     Akoustis?

14:35   17     A.    I don't remember.

14:35   18     Q.    When you left Akoustis, did Akoustis have an

14:35   19     established trim process?

14:35   20     A.    I don't remember.

14:35   21     Q.    When you joined Akoustis, were you in charge of

14:35   22     trimming?

14:35   23     A.    Yes.

14:35   24     Q.    How many people did you supervise?

14:35   25     A.    I don't remember.
        Case 1:21-cv-01417-JPM                                              1208PageID
                                 Document 714-2 Filed 10/29/24 Page 882 of 2283
                                            #: 40853 Designation
                                 Kwon - Deposition

14:35   1      Q.    Did anyone else at Akoustis work on trimming?

14:35   2      A.    I don't remember.

14:35   3      Q.    What were these parameters?

14:35   4      A.    I don't remember detail now.

14:35   5      Q.    How did you maintain trim process?

14:35   6      A.    As I said, we need to keep monitoring the process

14:35   7      parameters to see the parameters within the -- are in the

14:36   8      range, the healthy range.      So...

14:36   9      Q.    What is your understanding of why Akoustis hired you?

14:36   10     A.    I think they need the people with trim process

14:36   11     background.

14:36   12     Q.    Why did Akoustis need -- why do you think Akoustis

14:36   13     needed people with a trim process background?

14:36   14     A.    I think BAW filters need the trim process, yes.

14:37   15     Q.    Why did you leave Akoustis?

14:37   16     A.    Because my wife, she moved to new locations.

14:37   17     Q.    Dr. Kwon, I've just handed you two documents marked

14:37   18     as Exhibit Number, previously marked as Exhibit Number 452

14:37   19     and 453.

14:37   20           Please look at Exhibit Number 452.       Do you recognize

14:37   21     this document?

14:37   22     A.    No.   I don't remember that.

14:37   23     Q.    If you could flip to page 1 of Exhibit 452, it bears

14:37   24     the Bates stamp number AKTS_00118852.        If you look at the

14:38   25     top, is this an e-mail from you to Dr. Vetury, Dr. Kim,
        Case 1:21-cv-01417-JPM                                              1209PageID
                                 Document 714-2 Filed 10/29/24 Page 883 of 2283
                                            #: 40854 Designation
                                 Kwon - Deposition

14:38   1      and Mr. Lewis and Ms. Winters?       Is that correct?

14:38   2      A.    Yes.

14:38   3      Q.    It reads, "The enclosed is what I understand about

14:38   4      how Qorvo get trim sensitivity data."

14:38   5            That entire paragraph, do you see it?

14:38   6      A.    Yeah.

14:38   7      Q.    "Qorvo" means "Qorvo, Inc."?

14:38   8      A.    Yeah.

14:38   9      Q.    What is "trim sensitivity data"?

14:38   10     A.    Basically, this is how much frequence could be

14:38   11     shifted per material amount.

14:38   12     Q.    Below you said, "Hope this will be helpful for trim

14:38   13     plan."

14:39   14           Is this trim plan we have previously discussed about?

14:39   15     A.    Trim plan...as I say, I don't recall what is the trim

14:39   16     plan is.

14:39   17     Q.    Why did you say this will be helpful for trim plans?

14:39   18     A.    I don't remember that.     It's 2017.    So...

14:39   19     Q.    Okay.   If you could put the e-mail aside and move on

14:39   20     to the fourth exhibit number marked as 453.

14:39   21           Let's go he to Page 2 entitled "Trim Calculations

14:39   22     SiN - Trim Sensitivity Parameter."

14:39   23           Below there are colored boxes.       What are they?

14:39   24     A.    It looks like it is trim sensitivity calculations

14:39   25     method.
        Case 1:21-cv-01417-JPM                                              1210PageID
                                 Document 714-2 Filed 10/29/24 Page 884 of 2283
                                            #: 40855 Designation
                                 Kwon - Deposition

14:40   1      Q.    Did you create these boxes?

14:40   2      A.    I don't remember.

14:40   3      Q.    Did you reference any documents bearing a Qorvo

14:40   4      confidential label to create these boxes?

14:40   5      A.    I don't remember.

14:40   6      Q.    Did you possess any Qorvo document when you left

14:40   7      Qorvo?

14:40   8      A.    No.

14:40   9      Q.    Did you access any document to create this -- these

14:40   10     boxes?

14:40   11     A.    No.

14:40   12     Q.    Did you access this presentation after you have

14:40   13     shared in the e-mail?

14:40   14     A.    No.

14:40   15     Q.    Did you have authorization from Qorvo to share this

14:40   16     information with any Akoustis employees?

14:41   17     A.    I don't remember that.

14:41   18     Q.    Did anyone say this should not be shared?

14:41   19     A.    I don't remember.

14:41   20     Q.    Did anyone say this should be deleted?

14:41   21     A.    I don't remember.

14:41   22     Q.    If you could look at the bottom of a Page 2 bearing

14:41   23     Bates number AKTS_00118856, there is a green box at the

14:41   24     bottom.     It then says,

        25
        Case 1:21-cv-01417-JPM                                              1211PageID
                                 Document 714-2 Filed 10/29/24 Page 885 of 2283
                                            #: 40856 Designation
                                 Kwon - Deposition

14:41   1             Do you see that?

14:41   2      A.     Yes.

14:41   3      Q.     Is this formula Qorvo confidential information?

14:41   4      A.     I don't know.   I don't remember.

14:41   5      Q.     Did Akoustis incorporate this formula in the trimming

14:41   6      operations?

14:41   7      A.     I don't remember.

14:41   8      Q.     Did you access any document to create this

14:41   9      presentation -- the boxes?

14:41   10     A.     I don't remember.

14:42   11     Q.     Dr. Kwon, I've just handed you a document marked as

14:42   12     652.

14:42   13            Do you recognize Exhibit Number 652?

14:42   14     A.     Yeah.

14:42   15     Q.     Is this an e-mail from Dr. Vetury to JB Kwon?        Is

14:42   16     that correct?

14:42   17     A.     Yeah.

14:42   18     Q.     And dated 2017, July 28th, Bates stamped -- time

14:42   19     stamped 2:00 and three minutes; is that correct?

14:42   20     A.     Yeah.

14:42   21     Q.     And this is Dr. Vetury's response to your prior

14:42   22     e-mail previously mark as Exhibit Number 452 attaching the

14:42   23     Exhibit Number 453?

14:42   24     A.     Okay.

14:42   25     Q.     On the e-mail it says, "Thanks, JB.      This is
        Case 1:21-cv-01417-JPM                                              1212PageID
                                 Document 714-2 Filed 10/29/24 Page 886 of 2283
                                            #: 40857 Designation
                                 Kwon - Deposition

14:42   1      helpful"; is that correct?

14:42   2      A.    Yeah.

14:43   3      Q.    Dr. Kwon, I've just handed you exhibits previously

14:43   4      marked as 420 and 421.

14:43   5            If you could flip to 420, Exhibit Number 420, please.

14:43   6      You can put that aside.

14:43   7            If you can refer to the e-mail at the top.        This is

14:43   8      an e-mail from you to Ms. Winters; is that correct?

14:43   9      A.    Yes.

14:43   10     Q.    And it is dated August 16, 2017, time stamped

14:43   11     4:56 p.m.; is that correct?

14:43   12     A.    Yeah.

14:43   13     Q.    Below in the content you say, "The enclosed shows";

14:43   14     is that correct?

14:43   15     A.    Yeah.

14:43   16     Q.    "Qorvo" means "Qorvo, Inc."?

14:43   17     A.    Yeah.

14:43   18     Q.    What does "SiN trimming" mean?

14:43   19     A.    Silicon nitride trim.     I -- I don't remember that.       I

14:43   20     already answered that.      I don't remember.

14:43   21     Q.    Did you have authorization from Qorvo to share

14:43   22     silicon -- Qorvo silicon nitride trimming methods?

14:43   23     A.    I don't remember.

14:43   24     Q.    Does Ms. Winters say this should not be shared?

14:44   25     A.    I don't remember.
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                                 Kwon - Deposition

14:44   1      Q.    Does Ms. Winters say this should be deleted?

14:44   2      A.    I don't remember that.

14:44   3      Q.    This was within less than a month you were hired at

14:44   4      Akoustis; is that correct?

14:44   5      A.    One month?    Around one month, yeah, one month.

14:44   6      Q.    Did you learn how Qorvo used sensitivity data when

14:44   7      you worked at Qorvo?

14:44   8      A.    I don't remember that.

14:44   9      Q.    Did Akoustis incorporate Qorvo

14:44   10                                     ?

14:44   11     A.    I don't remember that.

14:44   12     Q.    How does Qorvo perform trimming on a BAW filter?

14:44   13     A.    I don't remember that.

14:44   14     Q.    Have you ever performed trimming on a Qorvo BAW

14:44   15     filter product when you worked at Qorvo?

14:44   16     A.    Yes.

14:45   17     Q.    Could you please explain, from the beginning to the

14:45   18     end, how you performed trimming on a Qorvo BAW filter

14:45   19     product?

14:45   20     A.    As I just said, I don't remember in detail.

14:45   21     Q.    Do you recall any Qorvo BAW filter product you

14:45   22     performed trimming on?

14:45   23     A.    No.

14:45   24     Q.    Dr. Kwon I've just handed you two documents premarked

14:45   25     as Exhibit Number 435 and 436.
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                                 Document 714-2 Filed 10/29/24 Page 888 of 2283
                                            #: 40859 Designation
                                 Kwon - Deposition

14:45   1            If you could please turn to Exhibit Number 435.         Is

14:45   2      this an e-mail from you to Ms. Winters and Mr. Fallon?

14:45   3      A.    Yes.

14:45   4      Q.    The title of the e-mail is New Trim Tool Evaluation

14:45   5      Plan?

14:45   6      A.    Yes.

14:45   7      Q.    And it was sent on 2017, October 25th?

14:45   8      A.    Yes.

14:45   9      Q.    And below in the content of the document, it says,

14:45   10     "Hi, Mary, Ken.     The enclosed is new trim tool evaluation

14:46   11     PPT"?

14:46   12     A.    Yeah.

14:46   13     Q.    If you could flip to the first page of the document

14:46   14     of the exhibit number bearing Bates Numbers AKTS_00037312.

14:46   15     What is the title of the document?

14:46   16     A.    Trim System Evaluation Plan.

14:46   17     Q.    Could you please read what is below?

14:46   18     A.    "J.B. Kwon."

14:46   19     Q.    How many years of experience in trimming do you have?

14:46   20     A.    Around ten years.

14:46   21     Q.    In your current position at Northrop, do you work in

14:46   22     trimming?

14:46   23     A.    I cannot say anything about Northrop Grumman.

14:46   24     Q.    Understood.

14:46   25     A.    This is confidential.
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14:46   1      Q.    Could you please look at Exhibit Number 4 -- 437.         Is

14:46   2      this an e-mail to you to Ms. Winters and Mr. Fallon?

14:47   3      A.    Yes.

14:47   4      Q.    On Exhibit Number 438, if you could please flip to

14:47   5      Page 3 of the document.      Page 3 of the document, it bears

14:47   6      the Bates Number AKTS_00037341.

14:47   7            Could you please read the title of this presentation

14:47   8      for me?

14:47   9      A.    Qorvo Trim Process Flow.

14:47   10     Q.    Did you reference any document bearing a Qorvo label

14:47   11     to create this flow?

14:47   12     A.    I do not recall that.     I do not remember that.

14:47   13     Q.    Did you have an authorization from Qorvo to share

14:47   14     this information with Akoustis employees?

14:47   15     A.    I do not recall that.

14:47   16     Q.    Dr. Kwon, I've just handed you two documents

14:47   17     premarked as 661 and 662.      I'll identify -- could you

14:47   18     please look at Exhibit Number 661?

14:48   19           Is this an e-mail from Dr. Vetury to you?

14:48   20     A.    Yes.

14:48   21     Q.    Dated October 27, 2017?

14:48   22     A.    Yes.

14:48   23     Q.    Subject line says "Slides"; is that correct?

14:48   24     A.    Yes.

14:48   25     Q.    Below he says, "Hi JB, can you send the slides from
        Case 1:21-cv-01417-JPM                                              1216PageID
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                                 Kwon - Deposition

14:48   1      yesterday meeting"; is that correct?

14:48   2      A.    Yeah.

14:48   3      Q.    E-mail above, is this an e-mail from you to

14:48   4      Dr. Vetury?

14:48   5      A.    Yes.

14:48   6      Q.    Dated the same date 2017, October 27, sent five hours

14:48   7      thereafter, approximately?

14:48   8      A.    Yes.

14:48   9      Q.    This is a response to Dr. Vetury's e-mail?

14:48   10     A.    Yes.

14:48   11     Q.    And you write, "Hello, Rama, here we go."

14:48   12           Is that correct?

14:48   13     A.    Yes.

14:48   14     Q.    And you provide an attachment that was produced to us

14:48   15     as Exhibit Number 662.

14:48   16     A.    Okay.

14:49   17     Q.    Could you please return to the Exhibit Number 438,

14:49   18     slide Number 3, Page AKTS_00037341.

14:49   19     A.    Okay.

14:49   20     Q.    This slide reflects Qorvo's trim process flow?

14:49   21     A.    Qorvo trim process flow.      Yes.

14:49   22     Q.    Could you please turn to Exhibit Number 662.

14:49   23           Exhibit 662 is the trim work center attachment to

14:49   24     your e-mail to Dr. Vetury?

14:49   25     A.    Yes.
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                                            #: 40862 Designation
                                 Kwon - Deposition

14:49   1      Q.    Could you put Exhibit 662 side by side with the

14:50   2      Exhibit 438?

14:50   3      A.    Yeah.

14:50   4      Q.    Please turn to Page 3 of Exhibit 438, Bates numbered

14:50   5      AKTS_00037341.

14:50   6            For the Exhibit 662, please turn to Page 3, with the

14:50   7      Bates stamp AKTS_00476749.

14:50   8            Exhibit 438, the top of the presentation reads "Qorvo

14:50   9      Trim Process Flow."     Is that correct?

14:50   10     A.    Yes.

14:50   11     Q.    On the Exhibit 662, it says, "Standard industrial

14:50   12     trim process flow."     Is that correct?

14:50   13     A.    Yes.

14:51   14     Q.    Why did you delete the reference to Qorvo?

14:51   15     A.    I don't remember that.

14:51   16     Q.    Why did you add the black boxes?

14:51   17     A.    I do not recall that.

14:51   18     Q.    Exhibit 438, the top of the presentation reads "Freq

14:51   19     Trim Comparison Qorvo v. Akoustis."        Is that correct?

14:51   20     A.    What is the exhibit number?

14:51   21     Q.    Exhibit Number 4 --

14:51   22     A.    438?

14:51   23     Q.    Yes.

14:51   24     A.    438.    Yes, right.

14:51   25     Q.    Okay.   Exhibit Number 662, on the top of it, it says
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14:51   1      "Freq Trim Comparison Q vs. Akoustis"?

14:51   2      A.    Yes.

14:51   3      Q.    And you changed the wording from Qorvo to Q?

14:51   4      A.    I don't remember that.

14:51   5      Q.    Why did you replace Qorvo with Q?

14:51   6      A.    I have no idea.     I don't remember that.

14:51   7      Q.    Did you change Qorvo to Q to make it less obvious

14:51   8      that you were disclosing confidential Qorvo information?

14:52   9      A.    I do not remember that.

14:52   10           (Playing of video deposition concludes.)

14:52   11                  THE COURT:    That concludes that deposition.

14:52   12     And who will the next witness be?       There are a couple of

14:52   13     exhibits that may have been added at that time.         Let me

14:52   14     get the number for sure.

14:52   15                  MR. MASTERS:    I have ten exhibits, Your Honor,

14:52   16     to be marked.

14:52   17                  THE COURT:    Right.   So that would give us

14:52   18     exhibits through 217.

14:52   19                  (Trial Exhibit Nos. 207, 208, 209, 210, 211,

14:52   20     212, 213, 214, 215, 216 and 217 were admitted into

14:52   21     evidence.)

14:52   22                  MR. MASTERS:    May I approach?

14:52   23                  THE COURT:    Yes, you may.

14:53   24                  MR. MASTERS:    Plaintiffs call Dr. Shanfield.

14:53   25                  THE COURT:    Yes, sir.
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14:53   1                    THE CLERK:   Please state and spell your name

14:53   2      for the record.

14:53   3                    THE WITNESS:   My name is Stanley Shanfield,

14:53   4      S-T-A-N-L-E-Y S-H-A-N-F-I-E-L-D.

14:53   5            STANLEY SHANFIELD, having been called as a witness,

14:53   6      being first duly sworn under oath or affirmed, testified

14:53   7      as follows:

14:53   8                    THE CLERK:   Thank you.    Please be seated.

14:53   9

14:53   10                             DIRECT EXAMINATION

14:53   11     BY MR. DeFOSSE:

14:54   12     Q.    Dr. Shanfield, could you please introduce yourself to

14:54   13     the jury?

14:54   14     A.    Yes.    I'm Stan Shanfield, as you heard.

14:54   15     Q.    At high level, why are you here?

14:54   16     A.    I've been asked to provide some objective opinions on

14:54   17     the technical trade secrets that are being discussed in

14:54   18     this case.

14:54   19     Q.    Dr. Shanfield, before we discuss your opinions, I'd

14:54   20     like to talk about your background.

14:54   21     A.    Sure.

14:54   22                   MR. DeFOSSE:   If we could pull up PDX-6.2,

14:54   23     please.

14:54   24     BY MR. DeFOSSE:

14:54   25     Q.    Is that's your picture?      Is that right?
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14:54   1      A.    Yeah.

14:54   2      Q.    Looks like the picture of me on my website, actually.

14:54   3            Can you tell the jury where you went to school?

14:54   4      A.    Yeah.    I got my bachelor's degree at the University

14:54   5      of California Irvine in Physics.       And then I decided to go

14:55   6      to the East Coast and went to MIT, again in physics.           And

14:55   7      did my thesis there and got a PhD.

14:55   8      Q.    What was the focus of your thesis?

14:55   9      A.    It was solid state physics.      It was a high magnetic

14:55   10     field, a super conductor.

14:55   11     Q.    Does the subject matter you studied to receive your

14:55   12     PhD relate to the semiconductor industry?

14:55   13     A.    Yes, pretty directly.

14:55   14     Q.    Have you heard of the term "radio frequency" or RF?

14:55   15     A.    Yes.

14:55   16     Q.    What is RF technology?

14:55   17     A.    RF or radio frequency means the waves that are

14:55   18     carried in the air that you use when you are receiving

14:55   19     somebody's voice on your phone, for instance, or when you

14:55   20     are listening to a radio.

14:55   21     Q.    Do BAW filters use RF technology?

14:56   22     A.    Yes.

14:56   23     Q.    Have you taught any classes on RF technology,

14:56   24     including in RF filters?

14:56   25     A.    Yes.    Actually, probably made some money in grad
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14:56   1      school.    I taught a course.     And then afterwards, I taught

14:56   2      courses in RF circuit design, and RF devices.

14:56   3      Q.    Have you written any papers related to RF technology?

14:56   4      A.    Yes.

14:56   5      Q.    Have you received any patents related to RF filter or

14:56   6      resonator technology?

14:56   7      A.    Yes, I have.

14:56   8      Q.    In addition to your educational and academic

14:56   9      background, do you have any industry experience related to

14:56   10     RF technology?

14:56   11     A.    Yes, quite a bit.

14:56   12     Q.    Could you tell us little bit about that?

14:56   13     A.    Yeah.   Well, when I left MIT, I started at Raytheon

14:56   14     Research Division in Massachusetts, and there I was able

14:56   15     to get some hands-on experience with building

14:56   16     semiconductor devices.      And I was interested in bulk

14:57   17     acoustic wave resonators, among other things.

14:57   18           I actually, over a period of several years, was able

14:57   19     to build bulk acoustic wave resonators, as the kind that

14:57   20     are being discussed here.      And Raytheon was interested in

14:57   21     using them for radar applications.

14:57   22           And then I eventually, at Raytheon, ended up going up

14:57   23     the management chain to the point where I was laboratory

14:57   24     manager.     Nevertheless, kept my hands in technical work

14:57   25     and characterizing the radio frequency devices that we
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14:57   1      made in the laboratory.

14:57   2             And then I wanted to join the manufacturing group

14:57   3      that was just getting started -- Raytheon was starting a

14:57   4      commercial electronics facility in Andover, Massachusetts.

14:57   5      So I switched over to manufacturing.         It was not really a

14:58   6      useful experience because the manufacturing plant was a

14:58   7      semiconductor plant.       It made all kinds of devices and --

14:58   8      like BAW filters.       But, in particular, it ran 24/7 it was

14:58   9      about 300 people who were employed there just running the

14:58   10     fab.

14:58   11            Eventually I worked my way up to director of that

14:58   12     facility.    I got a very good taste of what it was like to

14:58   13     sell components of the -- like BAW filters all over the

14:58   14     world and how demanding it was to generate millions --

14:58   15     tens of millions of parts per month and do that in a way

14:58   16     that is consistent, that you got the price for

14:58   17     manufacturing them long enough.        So that was really an

14:58   18     eye-opener.       But it was a tiring eye-opener.

14:58   19            So eventually I decided I wanted to start a company.

14:59   20     I did it with some colleagues at -- from MIT.           We started

14:59   21     a company called Axsun.       And we raised money.      The company

14:59   22     built -- was an optical components company.           What that

14:59   23     means, this thing was a little box that attached a

14:59   24     fiber-optic cable, the kind that you use when you get

14:59   25     cable TV.    And this thing analyzed what was on the cable,
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14:59   1      but it was small and cheap, and it used MEMS technology to

14:59   2      do the analysis.       So the thing you heard a little bit

14:59   3      about, micro electrical mechanical systems.           And I was the

14:59   4      inventor of the MEMS structure, along with a couple other

14:59   5      colleagues.       And I set up the fab for producing these,

14:59   6      that required a lot of the kinds of things you need to

15:00   7      produce BAW filters as well.

15:00   8            And we eventually sold the company.          I had concluded,

15:00   9      at that point, that I was more interested in technology

15:00   10     and science than business and running a business.            There's

15:00   11     a lot to that.       And I, through a colleague, joined Draper

15:00   12     Laboratories in Cambridge, Massachusetts.          It used to be

15:00   13     part of MIT.       And, of course, I knew some people there.

15:00   14     And at Draper, I was able to get back into putting my

15:00   15     hands on semiconductor devices, including BAW filters and

15:00   16     building systems out of BAW filters, and lots of little

15:00   17     micro miniature devices that go into spacecraft was a big

15:00   18     area for us, where you build these micro satellites, that

15:00   19     are kind of tiny little satellites that you launch them by

15:01   20     the hundreds from a rocket, and each one of them has to

15:01   21     have a transmit and receive capability and lots of filters

15:01   22     in them, among other things.

15:01   23           And all of that was fascinating and is fascinating to

15:01   24     me.   But it kept me with a hands-on approach to the

15:01   25     electronics that go into that, which is quite
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15:01   1      sophisticated.

15:01   2             So I probably over-answered your question, but...

15:01   3      Q.     I let you go there.     So just backfilling a little

15:01   4      bit.    How many years were you at Raytheon?

15:01   5      A.     Eighteen years.

15:01   6      Q.     How long were you at Axsun until the company was

15:01   7      sold?

15:01   8      A.     That was about four years, I think.

15:01   9      Q.     And how long have you been at Draper Labs?

15:01   10     A.     Twenty-one years.

15:01   11     Q.     Okay.   And just -- I can't remember if you mentioned

15:01   12     your position at Draper Labs.

15:01   13     A.     Yeah.   I was division -- at one point I was a

15:01   14     division manager.     I have been a technical director.        In

15:01   15     fact, I am a technical director.       I'm a distinguished

15:01   16     member of technical staff, so I have some privileges of

15:02   17     being kind of a scientist at large.        So that's my role

15:02   18     right now.

15:02   19                    MR. DeFOSSE:   Your Honor, we would like to

15:02   20     offer Dr. Shanfield as an expert in the semiconductor

15:02   21     industry and RF technology, including BAW filters.

15:02   22                    THE COURT:   Any voir dire?

15:02   23                    MR. LEMIEUX:   No objection, Your Honor.

15:02   24                    THE COURT:   He is accepted as an expert in the

15:02   25     areas designated, including expert in semiconductor
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15:02   1      industry and RF technology including filters.

15:02   2                    MR. DeFOSSE:   Thank you, Your Honor.

15:02   3      BY MR. DeFOSSE:

15:02   4      Q.    Dr. Shanfield, can you explain for the jury how your

15:02   5      background and experience is relevant to the analysis that

15:02   6      you performed in this case?

15:02   7      A.    Sure.   Well, I found it was relevant in a couple of

15:02   8      ways.    The obvious one was that I was familiar with the

15:02   9      technology and it wasn't mysterious at all to me.           I've

15:02   10     built these devices before.       I knew what was involved.        I

15:02   11     know how fabs work and how RF measurements are made and so

15:02   12     on.

15:03   13           The other piece of it is because I helped start a

15:03   14     start-up company, I had a good picture of what it was like

15:03   15     to raise money and the pressures of a small group of

15:03   16     people trying to deliver a product.        So the story of

15:03   17     Akoustis was also familiar to me.

15:03   18     Q.    Dr. Shanfield, I'd just like to run through a few

15:03   19     areas of -- and find out if you have experience with

15:03   20     those.

15:03   21           I think you said you performed research and

15:03   22     development on BAW filters; is that right?

15:03   23     A.    Yes.

15:03   24     Q.    Do you have experience in market analysis?

15:03   25     A.    I do.   When I ran the semiconductor fab, we did that
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15:03   1      all the time.     We are were always analyzing and changing

15:03   2      our analysis and adjusting it following a process for

15:03   3      doing that.

15:03   4      Q.    Do you have experience in developing business plans

15:03   5      in the semiconductor industry?

15:03   6      A.    Oh, yeah.    The business plan that we developed for

15:03   7      the start-up company, that was a real -- another slog to

15:04   8      get it right and to get it to -- get me a -- really point

15:04   9      the company in the right direction took a lot of work.

15:04   10     Q.    So we've heard a lot throughout this case about

15:04   11     trimming.    Do you have any experience with trimming?

15:04   12     A.    Yes, I do.    Both, ion beam trimming at the time.

15:04   13           (Court reporter clarification.)

15:04   14                  THE WITNESS:    Ion beam trimming and plasma

15:04   15     trimming like Dr. Kwon was talking about.         So I've done

15:04   16     that and -- over several years.

15:04   17     Q.    What about testing, product testing?

15:04   18     A.    Yes.   That is another involved area which I've gotten

15:04   19     my hands into, maybe some electrical engineers didn't want

15:04   20     me to, but I wanted to make sure I knew how that worked as

15:04   21     well.   So I've done RF testing over many years and gotten

15:04   22     pretty good at it.

15:04   23     Q.    And what about customer engagement?

15:04   24     A.    Well, in running the semiconductor facility and

15:05   25     running a start-up company, that was a constant.           It's
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15:05   1      something I didn't necessarily love that much, but I had

15:05   2      to do a lot of, and listen carefully and take in the

15:05   3      information that was given to me and us, and try and

15:05   4      convert that into a technology.

15:05   5      Q.    Now, you are being compensated for your time here

15:05   6      today, right?

15:05   7      A.    Yes.

15:05   8      Q.    And you've been compensated for the time you've spent

15:05   9      working on this case?

15:05   10     A.    Yeah, that's right.

15:05   11     Q.    What is your rate -- the rate at which you are being

15:05   12     compensated?

15:05   13     A.    About $385 an hour.

15:05   14     Q.    And has your rate remained constant during the time

15:05   15     of this case?

15:05   16     A.    Yes.

15:05   17     Q.    Are you being compensated in any way based on the

15:05   18     outcome of this case?

15:05   19     A.    No, not at all.

15:05   20     Q.    Now, I'd like to turn to PDX-6.3, please.

15:05   21           At a high level, what issues have you been asked to

15:06   22     address in this case, Dr. Shanfield?

15:06   23     A.    That's pretty easy to explain.       I was asked to

15:06   24     analyze trade secrets and look at them from a few

15:06   25     perspectives.
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15:06   1             And, second, I was asked to look at the performance

15:06   2      aspects of a couple of patents and do computer simulations

15:06   3      on those.

15:06   4      Q.     So we're going to discuss the patent aspects of your

15:06   5      opinion kind of at the end of your testimony.          I want to

15:06   6      start with the trade secret aspects of your opinions.

15:06   7             If we could go to -- well, let me first ask you this,

15:06   8      how long have you been working on your trade secret

15:06   9      analysis in this case?

15:06   10     A.     It's a lot of work.     It's been more than a year, I'd

15:06   11     say.

15:06   12                    MR. DeFOSSE:   Could we pull up PDX-6.5, please.

15:06   13     BY MR. DeFOSSE:

15:06   14     Q.     Can you provide an overview of the analysis that you

15:06   15     performed here with respect to the trade secrets?

15:06   16     A.     Sure.   Looks like this slide isn't quite correct.         It

15:06   17     really -- it turned out that there was more than 500,000

15:07   18     documents that were being discussed as being analyzed that

15:07   19     had been part of the discovery of Qorvo counsel had done

15:07   20     out of Akoustis.     That was an amount of documents that

15:07   21     would have overwhelmed me.       I have a full-time job.

15:07   22     Couldn't spend my time looking at those for the next three

15:07   23     years.

15:07   24            So we -- we cut down the number to -- it was around

15:07   25     10,000, I think, that we just picked out that were kind of
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15:07   1      samples of the amount of documents that Akoustis had in

15:07   2      their possession.

15:07   3            And then there was also a lot of data, which I had to

15:07   4      look at.   I didn't mention that.       So the subset of about

15:07   5      1400 were the ones that I identified as confidential.             And

15:07   6      that took a lot of work.       And what I had done more

15:08   7      recently is narrow this analysis to the point of making

15:08   8      eight groups, eight trade secret groups so that I can

15:08   9      explain things to other people in a way that's

15:08   10     comprehensible.       So there was a lot of data, and I had to

15:08   11     kind of squeeze it into -- not categories, but groups to

15:08   12     try and talk about it easily.

15:08   13                   MR. DeFOSSE:    Could we go to PDX-6.6, please.

15:08   14     BY MR. DeFOSSE:

15:08   15     Q.    Are these the eight trade secret groups that you

15:08   16     analyzed in this case?

15:08   17     A.    Yes, these are them.

15:08   18                   MR. DeFOSSE:    And if we could go to PDX-6.7,

15:08   19     please.

15:08   20     BY MR. DeFOSSE:

15:08   21     Q.    How many trade secrets are there in the eight groups?

15:08   22     A.    There's a total of 46.       And you can see how they are

15:08   23     divided up.       So this is what it boiled down to.

15:09   24     Q.    Okay.   I would like to go through the trade secret

15:09   25     groups with you today, but, first, I'd kind of like to get
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15:09   1      a summary of your opinions.

15:09   2                   MR. DeFOSSE:    So if we could go to PDX-6.8,

15:09   3      please.

15:09   4      BY MR. DeFOSSE:

15:09   5      Q.    Could you please provide the jury with a high-level

15:09   6      summary of the trade secret opinions you've formed in this

15:09   7      case?

15:09   8      A.    Yes.   And then I will later explain why I made these

15:09   9      conclusions.      But first of all, it was pretty obvious that

15:09   10     Akoustis had obtained this large amount of documents, but

15:09   11     confidential Qorvo documents.       They included specific

15:09   12     trade secrets that I could identify, and they were not

15:09   13     generally known.      And they were not readily ascertainable.

15:09   14     In other words, you couldn't publicly find out the

15:09   15     information that was in them.       They had significant

15:09   16     economic value.      I will give you some examples of that.

15:09   17     And they used the trade secrets in respect to both the

15:10   18     marketing analysis and the technical information and so

15:10   19     on.

15:10   20           And, finally, it became clear as I looked through the

15:10   21     documents, that they were aware that these were trade

15:10   22     secrets, and they should have been kept confidential.

15:10   23     Q.    Dr. Shanfield, now I would like to explore those

15:10   24     opinions in the context of each of the groups we've

15:10   25     identified.
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15:10   1                    MR. DeFOSSE:   Could we go to PDX-6.10, please.

15:10   2      BY MR. DeFOSSE:

15:10   3      Q.    Okay.   This is Trade Secret Group 1; is that right?

15:10   4      A.    Yes, that's right.

15:10   5      Q.    Just at a very high level, could you explain what

15:10   6      Trade Secret Group 1 is?

15:10   7      A.    This group, I think you've heard this before, this is

15:10   8      a group that relates to Qorvo's business plans for Wi-Fi

15:10   9      products.

15:10   10     Q.    And what role do business plans play in this

15:11   11     industry?

15:11   12     A.    They are really important.      I think, because of

15:11   13     technology and the market changes so fast, that you've

15:11   14     essentially got to be thinking ahead and marking out all

15:11   15     the parts of your business that you are looking to run,

15:11   16     and not just the technical, the, you know, how are you

15:11   17     going to convince customers, what your target customers

15:11   18     are going to be.     There's a huge amount of information in

15:11   19     a business plan.     It's really important.

15:11   20     Q.    Is there a particular business planning cycle that

15:11   21     applies to this industry?

15:11   22     A.    Yes.

15:11   23     Q.    And how would you characterize the duration of that

15:11   24     cycle?

15:11   25     A.    It's pretty fast.      I'd say that Qorvo was typical,
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15:11   1      that you're turning it over like every quarter, changing

15:11   2      your plans as things around you change.

15:11   3      Q.    And does that require a lot of planning ahead?

15:11   4      A.    Oh, yeah.    You're always gathering data, rewriting

15:12   5      plans, and you'll see plans sometimes dramatically change.

15:12   6      Q.    Okay.

15:12   7                    MR. DeFOSSE:   If we could look at PDX-6.11,

15:12   8      please.

15:12   9      BY MR. DeFOSSE:

15:12   10     Q.    How many Qorvo business plans did you analyze as part

15:12   11     of Trade Secret Group 1?

15:12   12     A.    So I picked out three, just to make it

15:12   13     comprehendible, and that -- these are the three.

15:12   14     Q.    And I'd like to go through each of those documents

15:12   15     and ask you to identify the specific trade secrets that

15:12   16     you found in those documents.       If we could start with

15:12   17     PDX-6.12.

15:12   18           Okay.   This is the IDP Market Segment Analysis Plan;

15:12   19     is that right?

15:12   20     A.    Yes, that's correct.

15:12   21     Q.    Okay.   What specific trade secrets did you identify

15:12   22     in this document?

15:12   23     A.    So IDP market, I learned, was the -- its

15:12   24     infrastructure and defense products, the market for Qorvo.

15:13   25     And the two items that I've highlighted -- or two trade
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15:13   1      secrets that I put in red here are Qorvo's internal

15:13   2      assessment of the attractiveness of the Wi-Fi market, and

15:13   3      Qorvo's R&D priorities and investments.

15:13   4            And these were really elaborate plans, very

15:13   5      impressively done.      The market -- internal assessment of

15:13   6      the attractiveness of the market meant there were

15:13   7      salespeople that went out and evaluated what customers

15:13   8      wanted, whether the product that Qorvo offered or could

15:13   9      offer might fit their product; you know, if it's a Wi-Fi

15:13   10     router or it's a cell phone.

15:13   11           And that -- result of that was this kind of algorithm

15:13   12     that Qorvo had done -- developed over, you know, a couple

15:13   13     of decades of effort.      And that resulted in this chart you

15:13   14     see with the colors, where they rate red, yellow, green as

15:14   15     a -- you might think green is good.        Red is, there's a

15:14   16     problem there that might -- might need either correcting

15:14   17     or improvement.

15:14   18           The other slide is -- shows what they did in a

15:14   19     similar way with their research investment.          They didn't

15:14   20     just take money and say, you know, Guys, pick out what you

15:14   21     want to do your search on.       They figured out what pays off

15:14   22     the best.    And that was a lot of work as well because it

15:14   23     was a combination of deciding, Is this research really

15:14   24     going to fly to begin with?       And how much money should we

15:14   25     put into it?      What's the return on investment?
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15:14   1            So it was very sophisticated and extensive analysis

15:14   2      in this particular business plan.

15:14   3      Q.    And I'll just note for the record that the business

15:14   4      plan shown here is Trial Exhibit 20; is that right?

15:14   5      A.    Yes, that's correct.

15:15   6                   MR. DeFOSSE:      And, Your Honor, I should have

15:15   7      done this a few minutes ago.        But we are going to be, for

15:15   8      the rest of this examination until the patent part,

15:15   9      discussing the trade secrets.          So there's no one in the

15:15   10     gallery, right?

15:15   11                  THE COURT:     If there's anyone present in the

15:15   12     courtroom who is not able to stay for this process, so not

15:15   13     involved in the actual litigation of the case, they need

15:15   14     to be excused at this time, as they have in the past.

15:15   15                  MR. DeFOSSE:      Thank you, Your Honor.     If we

15:15   16     could go to PDX-6.3.

15:15   17                  THE COURT:     This is, basically, under seal.

15:15   18     That's what's happened on each of these occasions.

15:15   19                  MR. DeFOSSE:      Sure.   Yeah.   Yes, please,

15:15   20     Your Honor.       Thank you.

15:15   21                  6.13, please.      There we go.

15:15   22     BY MR. DeFOSSE:

15:15   23     Q.    The next business plan that you analyzed was the CPE

15:15   24     Wi-Fi E Strategy Review; is that right?

15:15   25     A.    Yes, that's right.
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15:15   1      Q.    And that's Trial Exhibit 21?

15:15   2      A.    Correct.

15:15   3      Q.    Okay.   What specific trade secrets did you identify

15:15   4      in this document?

15:15   5      A.    I'm showing these in red here.       1.3 is the target

15:15   6      customers and the projected serviceable market size.

15:16   7      Second, is the product roadmaps, and then, also, the gaps

15:16   8      in Qorvo's product offerings.

15:16   9                    MR. DeFOSSE:   And if we could go to 6.14,

15:16   10     please.

15:16   11     BY MR. DeFOSSE:

15:16   12     Q.    This is the 5 gigahertz statement of work, that was

15:16   13     Trial Exhibit 22.

15:16   14           Is this the third business plan that you analyzed in

15:16   15     this trade secret group?

15:16   16     A.    Yes, it is.

15:16   17     Q.    And could you tell us what specific trade secrets you

15:16   18     identified in this plan?

15:16   19     A.    Yeah.   I wrote them here.     The projected cost and

15:16   20     revenue for the Qorvo's Wi-Fi BAW filters.         This is the

15:16   21     product area.     And, also, Qorvo's target product features,

15:16   22     like what kind of performance are they going to get, the

15:16   23     specifications they expect to get.

15:16   24     Q.    Now, the trade secrets that you identified in these,

15:16   25     has any fact witness addressed those at this trial?
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15:16   1      A.    They have, yes.

15:16   2      Q.    And was that Mr. Testa?

15:16   3      A.    Yeah.   Mr. Testa had described these -- how this

15:17   4      analysis worked, and he given, I thought, a pretty good

15:17   5      description of how much work goes into these.          So I wanted

15:17   6      to remind you of that.

15:17   7            And it, then, also explained how the depth of these

15:17   8      investigations at Qorvo would do, maybe a quarterly rate,

15:17   9      or sometimes even monthly.       It was a lot of work and a lot

15:17   10     of investment in order to generate these documents.

15:17   11     Q.    Now, did you form any opinions as to whether the

15:17   12     trade secrets that you identified in Trade Secret Group 1

15:17   13     were generally known in the industry?

15:17   14     A.    Yes, I did.

15:17   15     Q.    Okay.   And what opinion did you form in that respect?

15:17   16     A.    It was clear to me that this was not known in the

15:17   17     industry, from my experience, in what's out there in the

15:17   18     journals and magazines versus what Qorvo had done.           There

15:17   19     was a clear difference.      So this was not something that

15:18   20     was known.

15:18   21     Q.    Was there anything on the face of the documents that

15:18   22     reinforced your opinion that these -- the information was

15:18   23     not generally --

15:18   24     A.    Absolutely.    There's -- you know, you've seen this

15:18   25     many times -- this logo that says "Confidential.           Qorvo
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15:18   1      Internal Use Only," et cetera.       So they were clearly

15:18   2      marked.

15:18   3      Q.    Okay.   Did you also form an opinion as to the

15:18   4      economic value of the trade secrets in Group 1?

15:18   5      A.    Yes, I did.

15:18   6      Q.    And what value, in your opinion, do the trade secrets

15:18   7      in this group have?

15:18   8      A.    Well, it saves -- whoever gets ahold of this business

15:18   9      plan outside Qorvo, they save themselves a ton of work.

15:18   10     Because all the work that Qorvo did to produce this is now

15:18   11     being handed to them, and they didn't have to invest the

15:18   12     money or go traveling or all the other things you have to

15:18   13     do produce a plan like this.       So I'd say it's highly

15:19   14     useful and valuable.

15:19   15                   MR. DeFOSSE:   Could we pull up PDX-6.15,

15:19   16     please.

15:19   17     BY MR. DeFOSSE:

15:19   18     Q.    Dr. Shanfield, could you explain to the jury what

15:19   19     this -- how this supports or what information you've

15:19   20     attempted to reflect here?

15:19   21     A.    Yeah.   I was summarizing the economic value of these

15:19   22     business plans.     You know -- if you know Qorvo's

15:19   23     confidential game plan, you know how to cut them off at

15:19   24     the pass.     If they're planning to go to a certain product,

15:19   25     or they think they have a gap in a certain product, that's
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15:19   1      the place to look.     If they think there's an opportunity

15:19   2      that hasn't been addressed, they've done the work of

15:19   3      figuring out where that opportunity is.           You can go

15:19   4      address that before they do.

15:19   5            It also -- and so that's -- you're learning what

15:19   6      Qorvo, your competitor, is doing; and, second, you're

15:19   7      getting the benefit of their market analysis to figure out

15:20   8      where the payoff might be.       And both of those items are

15:20   9      high value.

15:20   10     Q.    Did you also form opinions in this case as to whether

15:20   11     Akoustis obtained and used the trade secrets in Group 1?

15:20   12     A.    Yes, I did.

15:20   13     Q.    Okay.   And what opinion did you reach?

15:20   14     A.    I had a way of approaching that question in each of

15:20   15     these groups you'll hear about, but in my -- my conclusion

15:20   16     was simple, that they had made use of it.          And there were

15:20   17     lots of evidence of that.

15:20   18     Q.    Okay.   And at a high level, how was it that Akoustis

15:20   19     used the trade secrets in Group 1?

15:20   20     A.    In that area, what I realized in looking through

15:20   21     their documents, was that Akoustis was going after, for

15:20   22     example, the 5 gigahertz market and Wi-Fi routers.             And

15:21   23     the -- I'm sorry, Qorvo was holding back on going after

15:21   24     the Wi-Fi market and 5 gigahertz.

15:21   25           And at the point where this information was received
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15:21   1      by Akoustis, Qorvo was reconsidering that position and

15:21   2      deciding whether they wanted to take their resources and

15:21   3      point them at the 5 gigahertz Wi-Fi market.          They had lots

15:21   4      of other places they needed to invest as well.          And it's

15:21   5      the -- they had made the decision, Qorvo, that they were

15:21   6      going to start looking at 1five gigahertz again.           And they

15:21   7      had the capability of doing that fairly quickly once the

15:21   8      decision was made.

15:21   9            Well, Akoustis, in my opinion, took that information

15:21   10     and realized there was a real opportunity because Qorvo

15:21   11     had identified this gap.      And this is the perfect place

15:21   12     for Akoustis to go in there first.        And that's, indeed,

15:21   13     what they did.

15:22   14           So it was -- my view of it, in looking over the

15:22   15     timeline, I hope to make that point -- or show evidence of

15:22   16     that -- it was clear they had used that information, the

15:22   17     valuable business plan information in order to decide what

15:22   18     their business needed to do.

15:22   19     Q.    You mentioned the timeline, Dr. Shanfield.         Maybe we

15:22   20     can pull up 6.16.

15:22   21           Is this what you meant?

15:22   22     A.    Yes, exactly.

15:22   23     Q.    And at a high level, can you tell the jury what you

15:22   24     have done here?

15:22   25     A.    This is my methodology because I wanted to make sure
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15:22   1      I could really prove there was, not only misappropriation,

15:22   2      but use.      And the best way, I think, of showing that, was

15:22   3      showing what happened with documents.        So this is a

15:22   4      timeline.      This is kind of the basis for my explanation.

15:22   5      Q.     Okay.   I'd like to walk through, at least quickly,

15:22   6      some of the dates on this.

15:22   7             And, first, I want to ask you:      Why does your

15:23   8      timeline start in August of 2016?

15:23   9      A.     Well, that that was the date that Rohan Houlden was

15:23   10     offered the position of VP of product engineering at

15:23   11     Akoustis.      He was a general manager at Qorvo.

15:23   12     Q.     Okay.

15:23   13                    MR. DeFOSSE:   If we could go to PDX-6.17,

15:23   14     please.

15:23   15     BY MR. DeFOSSE:

15:23   16     Q.     Okay.    The next date on your timeline was

15:23   17     September 8th, 2016?

15:23   18     A.     Yes.

15:23   19     Q.     What's the relevance of that date, to your opinions?

15:23   20     A.     So this is before Houlden joined Akoustis.        So he's a

15:23   21     Qorvo employee.      And he sends Dave Aichele, who's the VP

15:23   22     of business development at Akoustis, this statement of

15:23   23     work, which was one of the business plans I just showed

15:23   24     you.

15:23   25            And he says, "This is the latest statement of work FL
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15:23   1      is working on."     Florida.   And Florida is where the

15:23   2      development takes place.

15:23   3            So it came from Houlden's personal e-mail account,

15:23   4      not his business account.      And it went straight to the

15:24   5      Akoustis executive, Dave Aichele.

15:24   6      Q.    So this is Trial Exhibit 22, right?

15:24   7      A.    Yes, correct.

15:24   8      Q.    And to you, what's the significance?        Why does it

15:24   9      support your analysis that this plan came from

15:24   10     Mr. Houlden's personal account?

15:24   11     A.    Well, I know that colleagues of mine in the industry,

15:24   12     if you're working out in the open and transparent, you'd

15:24   13     use your company account to communicate.          If -- and the

15:24   14     fact that he wasn't using it meant there was something he

15:24   15     apparently didn't want to have exposed in using company

15:24   16     e-mail.   So he used his personal e-mail account.

15:24   17                   MR. DeFOSSE:   If we could go to 6.18, please.

15:24   18     BY MR. DeFOSSE:

15:24   19     Q.    This was the next date on your timeline,

15:24   20     September 14th.     What happened on that day that was

15:24   21     relevant to you?

15:24   22     A.    Yeah.   I thought this was quite relevant.

15:25   23     Mr. Houlden, he was still an employee at Qorvo.          He gets a

15:25   24     thumb drive and fills it up with documents.          This is just

15:25   25     three of many more that he put on this thumb drive.
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15:25   1      Q.    And are the three documents that you've listed on

15:25   2      PDX-6.18, the confidential business plans that you

15:25   3      included in Group 1?

15:25   4      A.    That's correct, yes.

15:25   5      Q.    Okay.    And in your experience in this industry, is it

15:25   6      routine practice for an employee to put such materials

15:25   7      onto a USB thumb drive?

15:25   8      A.    God, no.    You'd flag immediately if somebody saw you

15:25   9      do it.

15:25   10                   MR. DeFOSSE:   If we go to 6.19, please.

15:25   11     BY MR. DeFOSSE:

15:25   12     Q.    The next date on your timeline is two days later, on

15:25   13     September 16.     Why is that date relevant to your analysis?

15:25   14     A.    Yeah.    This date was bothersome to me to see.

15:25   15     Mr. Houlden, this is his last day at Qorvo, signs a

15:26   16     severance agreement.      He makes            in severance pay.

15:26   17     And his severance agreement is saying he's returning all

15:26   18     Qorvo's property to Qorvo.       Well, he just -- and two days

15:26   19     before, he had put the stuff on a thumb drive and was

15:26   20     intending to take it somewhere.       Well, you'll find out

15:26   21     where.

15:26   22     Q.    Is it common in this industry for employers to ask

15:26   23     employees to sign confidentiality obligations as they're

15:26   24     leaving the company?

15:26   25     A.    Yes.    Everybody in this business knows that everybody
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15:26   1      involved is subject to one of these confidentiality

15:26   2      agreements, and that you can't take documents out of one

15:26   3      technology company and bring them to another.          That's --

15:26   4      without any signature at all, you would know you can't do

15:26   5      that.   This just highlights it.

15:26   6      Q.    And in your opinion, based on your more than 30 years

15:26   7      of experience in this industry, would the folks at

15:27   8      Akoustis have known that Mr. Houlden was not permitted to

15:27   9      bring Qorvo confidential information with him to the

15:27   10     company?

15:27   11     A.    They definitely would.      There was a number of former

15:27   12     Qorvo employees at Akoustis and they had signed such

15:27   13     agreements as well.

15:27   14     Q.    Okay.

15:27   15                   MR. DeFOSSE:   If we could move to PDX-6.20.

15:27   16     BY MR. DeFOSSE:

15:27   17     Q.    This is September 21st, so a few days after

15:27   18     Mr. Houlden's last day of Qorvo; is that right?

15:27   19     A.    Yes.

15:27   20     Q.    What happened on this day that was relevant to your

15:27   21     analysis?

15:27   22     A.    So here is where Mr. Houlden now takes this thumb

15:27   23     drive full of data and documents, and transfers it into

15:27   24     Akoustis' system, computer system, and he puts it in a

15:27   25     folder that's called "Strategy."       So clearly, the business
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15:27   1      plans, in his mind, were part of the strategy that he was

15:28   2      bringing to Akoustis.

15:28   3                    MR. DeFOSSE:   If we could go to 6.21, please.

15:28   4      BY MR. DeFOSSE:

15:28   5      Q.    Okay.   You've included an October 9th, 2016 e-mail on

15:28   6      this slide, which was marked as Trial Exhibit 104.

15:28   7            What's the relevance of this e-mail to you?

15:28   8      A.    Yeah.   Well, here, now, Mr. Houlden is writing an

15:28   9      e-mail on Sunday that says he's realized there's going to

15:28   10     be a press release announcing that he's been hired.           And

15:28   11     he says, Well, hold on a minute, the press release looks

15:28   12     good, but I'm not sure of all the pros, but I've listed

15:28   13     some of the cons.

15:28   14           Well, the con is, he writes, "I think I'm clean, but

15:28   15     I want to delay as long as I can, any reason for Qorvo IT

15:28   16     to look at my computer and what I looked at on the

15:29   17     intranet."

15:29   18           "Intranet," meaning "Qorvo's intranet."

15:29   19     Q.    And Mr. Houlden references contracts in Outlook.

15:29   20           Do you see that?

15:29   21     A.    Yes.

15:29   22     Q.    Yeah.   And he sent this to Jeffrey Shealy, the CEO,

15:29   23     who we just saw testify a few moments ago, right?

15:29   24     A.    Yes.

15:29   25     Q.    What, based on your experience in this industry,
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15:29   1      would this -- well, let me ask this:        Would it have been a

15:29   2      red flag to Jeff Shealy if this was sent to him?

15:29   3      A.    Absolutely.    That would be the point where the CEO,

15:29   4      Mr. Shealy, would be -- or Dr. Shealy, would be saying,

15:29   5      Wait a minute.     What are you talking about?       You can't do

15:29   6      that.

15:29   7      Q.    Okay.

15:29   8                    MR. DeFOSSE:   If we could go to PDX-2.22.

15:29   9      BY MR. DeFOSSE:

15:29   10     Q.    What's relevant here?

15:29   11     A.    Well, this is the response from Dr. Shealy.          He says,

15:29   12     and he writes back to Rohan, "Got it."        In other words, he

15:30   13     gets what he's talking about.       "Let's discuss Monday."

15:30   14     And wants to discuss it in person.        Basically, he's fine

15:30   15     with it.

15:30   16     Q.    Okay.

15:30   17                   MR. DeFOSSE:   PDX-6.23, please.

15:30   18     BY MR. DeFOSSE:

15:30   19     Q.    October 13th, 2016.     What's the relevance of that

15:30   20     date to your analysis?

15:30   21     A.    Yeah.   As I alluded to earlier, once this Qorvo

15:30   22     5 gigahertz statement of work was sent over to

15:30   23     David Aichele, the VP of business development at Akoustis,

15:30   24     he creates these slides and asks for a call to action with

15:30   25     a market priority of the 5 gigahertz Wi-Fi.          The very
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15:30   1      thing that Qorvo had focused on in their business plan was

15:30   2      now appearing in Akoustis' business plan.

15:30   3                   THE COURT:     We're going to take our 15-minute

15:31   4      break at this time.       Don't discuss the case among

15:31   5      yourselves.       Don't let anyone talk to you about it.       We'll

15:31   6      see you in 15 minutes.       Stay here just for a moment.

15:31   7                   We will see you in 15 minutes.        Thanks very

15:31   8      much.

15:31   9            (The jury exits the courtroom at 3:31 p.m.).

15:31   10                  THE COURT:     Let the witness step down.       Of

15:31   11     course, you can't talk about the testimony you've given.

15:31   12     What's coming up is a different thing, but best just to

15:31   13     avoid everybody.       It's always a good idea.     And we'll see

15:31   14     you in 13 minutes.

15:31   15                  THE WITNESS:     Okay.   Thank you, Your Honor.

15:31   16                  THE COURT:     Thank you.

15:31   17                  The rest of you, be seated for just a moment.

15:32   18     I am just going to check on timing.         I really want defense

15:32   19     to be ready to go forward promptly.         So how much time do

15:32   20     we have?

15:32   21                  MR. DeFOSSE:     I expect Dr. Shanfield will

15:32   22     likely take -- well, let's see.        We have two hours left in

15:32   23     our day today.       Are we going to 5:30 today, Your Honor?

15:32   24                  THE COURT:     Right.    We'll go to 5:30.

15:32   25                  So you think you will be wrapping up your
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15:32   1      position of direct about what time?

15:32   2                   MR. DeFOSSE:    It will be close, Your Honor, and

15:32   3      we have the patent issues that we have to do -- deal with

15:32   4      at the end.

15:32   5                   And I also wanted to note, sorry, which is

15:32   6      while I have you -- we handed you up his trade secret

15:32   7      report.    He has a separate report for patent infringement

15:32   8      that I'll hand you up.

15:32   9                   THE COURT:    Why don't you go ahead and do that.

15:32   10                  We're fine.    I just wanted to know.      I was

15:32   11     really was trying to make sure that defense knows because

15:32   12     they need to know our schedule also so that everybody can

15:32   13     be very efficient.     That's the whole idea.

15:32   14                  All right.    Let's give everybody a break, and

15:32   15     we'll see everybody in about 12 minutes now.          Thanks very

15:32   16     much.

15:43   17            (Whereupon, a recess was taken.)

15:45   18                  THE COURT:    You may be seated.     Ready to bring

15:45   19     the panel in?

15:45   20                  MR. DeFOSSE:    May I approach?

15:45   21                  THE COURT:    Yes.

15:45   22            (The jury enters the courtroom at 3:45 p.m.)

15:46   23                  THE COURT:    Counsel may proceed.      We're all

15:46   24     set.

        25
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15:46   1      BY MR. DeFOSSE:

15:46   2      Q.    Dr. Shanfield, before our break we were looking at

15:46   3      Trial Exhibit 124, which was the Akoustis 5 gigahertz

15:46   4      presentation that Mr. Aichele had drafted; is that right?

15:46   5      A.    Yes, that's right.

15:46   6                    MR. DeFOSSE:   And if we could go to PDX-6.24,

15:46   7      please.

15:46   8      BY MR. DeFOSSE:

15:46   9      Q.    Dr. Shanfield, this is Trial Exhibit 22 and Trial

15:46   10     Exhibit 124.      Was there any way that you knew that

15:47   11     Mr. Aichele had used the information he received from

15:47   12     Mr. Houlden?

15:47   13     A.    Yes, there was.

15:47   14     Q.    And what was that?

15:47   15     A.    Yeah.   Well, when I looked closely at the Akoustis

15:47   16     5 gigahertz plan, I noticed that there was some familiar

15:47   17     comparisons and numbers in that plan that had come from

15:47   18     Qorvo's business plan about the statement of work.

15:47   19           What I'm showing in the slide -- first of all.          If

15:47   20     you look at the square in the center there, it's showing

15:47   21     Qorvo was comparing their performance to a dielectric

15:47   22     resonator.    And they had these set of numbers that they

15:47   23     expected to achieve.      This is all part of what they were

15:47   24     planning.

15:48   25           In Akoustis' plan, they also decided to make the
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15:48   1      comparison to a dielectric resonator, sure enough.           And

15:48   2      the same one --

15:48   3                   COURT REPORTER:     Excuse me.   Can we just take a

15:48   4      quick break.

15:48   5                   THE COURT:    Sure.

15:48   6            (Whereupon, a recess was taken.)

15:48   7

15:51   8                   MR. DeFOSSE:    If we could move to PDX-6.25.

15:51   9      BY MR. DeFOSSE:

15:51   10     Q.    I believe you said that one of the issues you

15:51   11     analyzed in this case and formed opinions on is whether

15:51   12     Akoustis new or should have known that the Qorvo

15:51   13     confidential documents in Group 1 were -- they had no

15:51   14     right to have those documents; is that right?

15:51   15     A.    Yes, that's right.

15:51   16     Q.    And does the information shown here on PDX-6.25 have

15:51   17     any relationship to that opinion?

15:51   18     A.    It does.    I mean, first of all, again, anybody in

15:51   19     this industry knows they're subject to confidentiality

15:51   20     agreement.    But here it is, and it makes the statement of

15:51   21     not supplying any information about Qorvo outside of

15:51   22     Qorvo, and Mr. Houlden signed that.

15:51   23                  MR. DeFOSSE:    If we could go to 6.26, please.

15:52   24     BY MR. DeFOSSE:

15:52   25     Q.    In your opinion, did Dr. Shealy and Mr. Aichele know
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15:52   1      that Mr. Houlden had confidentiality obligations that

15:52   2      prohibited him from sharing Qorvo confidential

15:52   3      information?

15:52   4      A.    Yes.   Again, even if I wasn't showing this, it would

15:52   5      be understood by somebody seasoned in the business, like

15:52   6      Dr. Shealy or Dave Aichele -- they would know this is not

15:52   7      allowed.     And, of course, these confidentiality agreements

15:52   8      have formalized that understanding.

15:52   9      Q.    And in this case, did Dr. Shealy and Mr. Aichele also

15:52   10     sign the same confidentiality obligations with RFMD that

15:52   11     Mr. Houlden did?

15:52   12     A.    Yes.   Exactly.   RFMD that became Qorvo.

15:52   13     Q.    I'm going to move to the next trade secret group in a

15:52   14     minute, but first I wanted to pause.        The jury has heard a

15:52   15     lot about FBAR versus SMR resonators?

15:53   16     A.    Yes.

15:53   17     Q.    Are the trade secrets in Trade Secret Group 1

15:53   18     relevant to all BAW filters?

15:53   19     A.    Yes, of course.     I mean, the marketing information

15:53   20     that was -- that Qorvo had produced and the analysis all

15:53   21     applied whether they were FBAR or a surface mount -- a

15:53   22     solidly mounted resonator SMR.       So it was -- it had the

15:53   23     same benefit.

15:53   24     Q.    I think we heard from Dr. Shealy that one of the main

15:53   25     players in this market is Avago Broadcom, right?
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15:53   1      A.    Yes, right.

15:53   2      Q.    Who has FBAR filters?

15:53   3      A.    Yes, they do.

15:53   4      Q.    Does Qorvo compete with Broadcom and Avago in the

15:53   5      market?

15:53   6      A.    Yes, they do.

15:53   7                   MR. DeFOSSE:    If we could go to Slide PDX-6.28,

15:53   8      please.

15:53   9      BY MR. DeFOSSE:

15:53   10     Q.    I'd like to talk about Trade Secret Group 2 now.

15:54   11           Can you remind the group how many trade secrets are

15:54   12     in this group?

15:54   13     A.    There's a total of 16 here.

15:54   14     Q.    And just at a high level, what is the nature of the

15:54   15     trade secrets in Group 2.

15:54   16     A.    Group 2 was what I would consider the treasure chest

15:54   17     of BAW filter and resonator designs by Qorvo.

15:54   18     Q.    What do you mean by "treasure chest"?

15:54   19     A.    In other words, it would -- it would give you a

15:54   20     blueprint for how to make a BAW resonator that's as good

15:54   21     as ones Qorvo makes.

15:54   22     Q.    Now, I'd like to discuss the trade secrets in this

15:54   23     group.    If we could turn to PDX-6.29.

15:54   24           How many documents did you include in your analysis

15:54   25     of the trade secrets in Group 2?
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15:54   1      A.    I picked out three.     I didn't want to overwhelm

15:54   2      everybody with all the documents.

15:54   3      Q.    And are the three documents that you picked out

15:55   4      reflected on PDX-6.29?

15:55   5      A.    Yes, they are.

15:55   6      Q.    And those were marked as Trial Exhibits 8, 9, and 10?

15:55   7      A.    Correct.

15:55   8      Q.    And was there any witness in this trial who addressed

15:55   9      these three documents?

15:55   10     A.    Yes, there was.

15:55   11           This was addressed by Dr. Aigner.

15:55   12                   MR. DeFOSSE:   If we could go to PDX-6.30.

15:55   13     BY MR. DeFOSSE:

15:55   14     Q.    What specific trade secrets did you identify in this

15:55   15     document?

15:55   16     A.    So this took a little bit of study.         As I said, this

15:55   17     is confidential information, and I had to understand it

15:55   18     myself.   And what this is, is subtle effect that actually

15:55   19     has a big impact on the filter performs.          That thing

15:55   20     that's

15:55   21

15:56   22                                                                 , but

15:56   23     you'd never guess or know where to look if you didn't have

15:56   24     this kind of information in front of you.

15:56   25     Q.    Okay.   Just so the record is clear, the slide we're
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15:56   1      looking at has a reproduction of Trial Exhibit 8 on it?

15:56   2      A.    That's correct.

15:56   3      Q.    Which is the polygons versus resonators presentation?

15:56   4      A.    Yes.

15:56   5      Q.    Does the trade secret information contained in

15:56   6      Qorvo's research into resonator shape apply only to a

15:56   7      specific shape of resonator?

15:56   8      A.    No, it does not.

15:56   9      Q.    Why is that?

15:56   10     A.    That's because the physics in the resonator stays the

15:56   11     same.   No matter how you shape the top electrode,

15:56   12

15:56   13                                                        and it

15:56   14     wouldn't be obvious.      It wasn't obvious to me until I read

15:56   15     this where to look, and what --

15:56   16     Q.    What do you mean by "where to look"?

15:56   17     A.

15:56   18           -- well, I won't even make you try and look at that.

15:56   19

15:57   20

15:57   21

15:57   22     Q.    Okay.   All right.

15:57   23                   MR. DeFOSSE:   And if we could go to PDX-6.31.

15:57   24     BY MR. DeFOSSE:

15:57   25     Q.    This is the second document in Trade Secret Group 2;
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15:57   1      is that right?

15:57   2      A.    That's correct, yep.

15:57   3      Q.    And that's Trial Exhibit 9.

15:57   4            Could you identify the specific trade secrets that

15:57   5      you believed were disclosed in this document?

15:57   6      A.    Yes.   I've listed them.     They are product

15:57   7      specifications, and that includes specs that Qorvo is

15:57   8      attempting to reach with a new product.

15:57   9            Expected circuit layouts.      They are telling you how

15:57   10     to build this thing on a wafer.       The schematics,

15:57   11     simulations that -- what Qorvo is shooting for.          Filter

15:58   12     trimming parameters and analysis, which is an absolute

15:58   13     essential if you're going to produce these parts in a way

15:58   14     that's economic.     So knowing how to do that and what

15:58   15     parameters to pick, that's really the gating item in

15:58   16     producing these things economically.

15:58   17           Tile information.     They are -- in this tile, there's

15:58   18     not only the filters which you're learning about from

15:58   19     this, you can see the bottom right -- bottom left, I mean.

15:58   20     But there's test structure that go in there.          And the

15:58   21     details of those are revealed in this document.

15:58   22           Electromagnetic modeling assumptions, and that's

15:58   23     nontrivial as to how you do the electromagnetic modeling,

15:58   24     how you get it correct.      And then, finally, the simulation

15:58   25     results                             , as they call them.      It's
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15:58   1      just the details of the circuits.        There's a lot of stuff

15:58   2      you have to learn, that Qorvo learned over the years, and

15:58   3      it was all, essentially, being revealed in these

15:59   4      documents.

15:59   5      Q.    Do the trade secrets that you've identified in the

15:59   6      EG5877 technical presentation apply to both FBAR style

15:59   7      filters and SMR style filters?

15:59   8      A.    Absolutely.

15:59   9      Q.    Why is that?

15:59   10     A.    That's because everything in here, all the

15:59   11     information in here is kind of work -- whether it's an SMR

15:59   12     or FBAR filter, for example.       The trimming, it's done the

15:59   13     same way, whether it's FBAR or SMR.

15:59   14           The electromagnetic modeling, you do it the same way

15:59   15     in either case, you know, a slight geometry difference.

15:59   16     The information about the tile that controls the process

15:59   17     that you used to make these, it's the same thing in both

15:59   18     devices.   So all of this applies.

15:59   19     Q.    And I think the jury has heard this already, but is

15:59   20     it fair to say that the basic difference between an SMR

16:00   21     and FBAR filter is FBAR has an air cavity and SMR has a

16:00   22     Bragg reflector?

16:00   23     A.    That's correct.

16:00   24     Q.    Do the air cavity in an FBAR filter and a Bragg

16:00   25     reflector in an SMR filter serve the same practical
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16:00   1      function?

16:00   2      A.    Yes.    Exact same function, which is they isolate the

16:00   3      thing where all the action is, the resonator from the rest

16:00   4      of the system.       And whether it's an air cavity or a Bragg

16:00   5      reflector, it does the same thing.

16:00   6      Q.    And I should have asked you this about the last

16:00   7      exhibit.     If we could go back to PDX-6.30.

16:00   8            This is where we have the Qorvo's research into

16:00   9      resonator shape?

16:00   10     A.    Yes.

16:00   11     Q.    Is the value of this research dependent on whether

16:00   12     you're developing and FBAR or SMR resonator?

16:00   13     A.    No.    That's the point.     You have the same problem and

16:00   14     the same subtly in where you look, and what you look for,

16:01   15     whether it's SMR or FBAR.

16:01   16                   MR. DeFOSSE:    So I'd now like to go to

16:01   17     PDX-6.32.

16:01   18     BY MR. DeFOSSE:

16:01   19     Q.    Okay.    You're showing here Trial Exhibit 10, the

16:01   20     Acoustic Technology Update presentation that Dr. Aigner

16:01   21     addressed.

16:01   22           Did you identify specific trade secrets in this

16:01   23     document?

16:01   24     A.    I did.      I identified nine of them.

16:01   25     Q.    Maybe we can look at those directly.
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16:01   1                    MR. DeFOSSE:   If we could go to PDX-6.33.

16:01   2      BY MR. DeFOSSE:

16:01   3      Q.    Can you tell the jury what trade secret you're

16:01   4      identifying here?

16:01   5      A.    So this one, it's what Qorvo called their innovation

16:01   6      vectors.    It's all the things that Qorvo is planning to do

16:01   7      to make their filters better for the next few years.

16:01   8      Every vector points to the thing they are going to do, and

16:01   9      they list it here.     They give details on it.       They give a

16:02   10     schedule.     That's, of course, going to be a valuable thing

16:02   11     for a competitor to have.

16:02   12                   MR. DeFOSSE:   If we could look at 6.34.

16:02   13     BY MR. DeFOSSE:

16:02   14     Q.    You've listed two additional trade secrets.          Can you

16:02   15     explain those?

16:02   16     A.    Sure.   This is -- the S parameter measurements are

16:02   17     basically the measurements on filters.        And the details of

16:02   18     these measurements and simulations is really important to

16:02   19     understanding what it is Qorvo was going after on this

16:02   20     5 gigahertz product.

16:02   21           The second item, the product design details, how it's

16:02   22     laid out.     You can see -- I'm looking at the right-hand

16:02   23     bottom slide.     That shows how it's laid out and kind of a

16:02   24     snake-like pattern.     And then, also, how -- they've been

16:02   25     doing a three-dimensional simulation of this device and
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16:02   1      all the parameters that they're shooting for are on it.

16:02   2      So it's giving instructions on, hey, this is the

16:03   3      technology we're going for in 5 gigahertz, and here's how

16:03   4      we do it.    Obviously useful.

16:03   5      Q.    And the acoustic technology presentation that we are

16:03   6      looking at is Trial Exhibit 10; is that right?

16:03   7      A.    That's correct.

16:03   8                   MR. DeFOSSE:     If we go to PDX-6.35.

16:03   9      BY MR. DeFOSSE:

16:03   10     Q.    You're talking here about scandium doping strategies.

16:03   11     Did you identify any trade secrets in this document

16:03   12     related to those strategies?

16:03   13     A.    I did.      I had read about scandium out in the open

16:03   14     literature, but what Qorvo discovered is

16:03   15                                                   -- that's a metal

16:03   16     that you add to the resonator.        And you can get some

16:03   17     better characteristics of the resonator.

16:03   18

16:03   19

16:03   20

16:03   21           So Qorvo's discoveries here are reflected in what

16:04   22     they've learned.

16:04   23     Q.    Can you remind the jury why scandium doping is

16:04   24     relevant in this industry?

16:04   25     A.    Yes.   It's going to work for FBAR or SMR, first of
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16:04   1      all, and it's relevant because that's going to give you a

16:04   2      better performing filter.      So the relevancy and value.

16:04   3      It's -- you'd like to use that, and you want to know how.

16:04   4      Q.    Okay.

16:04   5                    MR. DeFOSSE:   If we can go to 6.36, please.

16:04   6      BY MR. DeFOSSE:

16:04   7      Q.    You've identified here some trade secrets under Size

16:04   8      and Cost Reduction Strategies.       Could you please explain

16:04   9      those to the jury?

16:04   10     A.    Sure.   One thing that I think, if you're not in the

16:04   11     industry is hard to appreciate, the cost it takes to

16:04   12     process a single wafer stays the same no matter what you

16:04   13     put on that wafer.

16:04   14           So if you can get 10,000 die on a wafer rather than

16:05   15     5,000 die, then the cost to make those die is half.

16:05   16     Because the cost of the wafer stays the same.          And

16:05   17     everybody in the semiconductor industry knows this.           And

16:05   18     what's being talked about here is size reduction means

16:05   19     cost reduction in a dramatic way.        You can't avoid the

16:05   20     reduced cost.

16:05   21           And so this is Qorvo's approach to getting size

16:05   22     reduced.    They're showing this thing called a micro BAW on

16:05   23     the left.     And they are also talking about a co-resonant

16:05   24     filter design which allows you to stack the resonators.

16:05   25     There's a thing called a micro BAW that Qorvo had
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16:05   1      developed as well.

16:05   2            All of these are focused on making it smaller.           Not

16:05   3      only to make it cheaper, but a company like Apple that is

16:05   4      using filters, they want it small.         They want it

16:05   5      disappearing, really, but tiny as possible.           So it's a

16:06   6      double win.

16:06   7                    MR. DeFOSSE:    If we could go to 6.36, please.

16:06   8                    Maybe it's 6.37.

16:06   9      BY MR. DeFOSSE:

16:06   10     Q.    Have you also identified trade secrets related to

16:06   11     temperature control strategies?

16:06   12     A.    Yes.    Two of them here.

16:06   13     Q.    Okay.   And can you just briefly identify those trade

16:06   14     secrets?

16:06   15     A.    Yeah.   This is something Qorvo discovered.         I didn't

16:06   16     know until I read about this, the kind of detail they

16:06   17     offer here.       But the self-heating effect of -- these

16:06   18     little teeny things get hot in your phone.          And if they

16:06   19     get hot, they might drift or they won't be as reliable.

16:06   20     All of that is something Qorvo not only realized, but

16:06   21     modeled and figured out what to do about it.           So this

16:06   22     shows some of the things they've done about it.

16:06   23     Q.    And what did they figure out to do about it?

16:06   24     A.    One of the things they did was they ended up

        25                        on the left, this
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16:07   1                          I don't know, you can try and explain it

16:07   2      mean.

16:07   3

16:07   4      Q.    Now, we've gone through the trade secrets and Trade

16:07   5      Secret Group 2 out of the three documents.

16:07   6            And I'd like to ask you, now, about whether the

16:07   7      information that you went through is generally known in

16:07   8      the industry?

16:07   9      A.    Yeah.    No, it wasn't.    I mean, I could tell because

16:07   10     I'm up on the literature in the industry, and this was not

16:07   11     generally known at the time.       And in some cases, still not

16:07   12     known.

16:07   13     Q.    Was there anything about the documents that you

16:07   14     reviewed that indicated to you that this is information

16:07   15     that's not available, generally?

16:07   16     A.    Well, first of all, the fact that it had a

16:07   17     "Confidential" label on it indicated to me that it was

16:07   18     being kept from the public domain.        It's not published in

16:08   19     any literature.     So that is also an indication to me that

16:08   20     there's no discussion of this kind of -- these kinds of

16:08   21     affects.

16:08   22     Q.    Okay.    And did you form opinions of the value of the

16:08   23     information in Trade Secret Group 2?

16:08   24     A.    I did.

16:08   25     Q.    Okay.    And what are those opinions?
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16:08   1      A.    Well, I think all of these techniques in these trade

16:08   2      secrets were extremely valuable in that you can't compete

16:08   3      without having these winning characteristics in there.

16:08   4      And by using these documents, then, tell you how to do

16:08   5      that and what to do, that's worth gold, really, because if

16:08   6      you're able to deliver something that has these

16:08   7      characteristics, people are going to buy it and they're

16:08   8      not going to buy the other guys' system.

16:08   9      Q.    I think we've heard testimony that Akoustis wasn't

16:08   10     even able to develop a functioning resonator as of 2016.

16:08   11           Do you recall that?

16:09   12     A.    That's correct.

16:09   13     Q.    What value does the trade secrets in Group 2 have for

16:09   14     a company that can't even get a resonator to work?

16:09   15     A.    Yeah.   That is an important point because at the

16:09   16     point where, as you heard in some of the videos, Akoustis

16:09   17     wasn't even getting a resonator to resonate properly.             It

16:09   18     was a loss.       That's the point where they were acquiring

16:09   19     this kind of information from Qorvo.

16:09   20           And then ten months later, they end up with sampling

16:09   21     a filter, not just resonators.        They got the resonators

16:09   22     working and they built a filter all in ten months.

16:09   23           My experience, and having set up a fab, and a

16:09   24     start-up company, and used it -- set it up to deliver

16:09   25     product, it takes years to do that.         And Qorvo's
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16:09   1      experience, once it decides -- it may take a while to make

16:09   2      a decision about going after a product, but once it

16:10   3      decides, it's probably faster than a startup than getting

16:10   4      it done.

16:10   5            And the fact that Akoustis managed to do this feat of

16:10   6      magic in ten months, is a sign to me there had to have

16:10   7      been some lift somewhere that was -- it's unexplained,

16:10   8      otherwise.

16:10   9      Q.    Did you, in fact, analyze whether Akoustis obtained

16:10   10     and used Qorvo's trade secrets in Group 2?

16:10   11     A.    Yes, I did.

16:10   12     Q.    Okay.

16:10   13                   MR. DeFOSSE:   Could we go to PDX-6.38.

16:10   14     BY MR. DeFOSSE:

16:10   15     Q.    Okay.   It looks like we have another timeline here?

16:10   16     A.    Yeah.   Again, it's my method.      I know it's a

16:10   17     difficult to look at, but it's my method for producing

16:10   18     evidence that shows not only was misappropriation taking

16:10   19     place, but the information was used.

16:10   20     Q.    Okay.   Maybe we can knock a number of these out at

16:10   21     once.

16:10   22                   MR. DeFOSSE:   If we go to 6.39.

16:10   23     BY MR. DeFOSSE:

16:10   24     Q.    It looks like you've grouped together the first six

16:11   25     dates on the Trade Secret Group 2 timeline.
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16:11   1            Can you explain why you did that?

16:11   2      A.    Yes.    This is my idea on the slide.       So I didn't bore

16:11   3      the jury too much.

16:11   4            And this is, basically, from September 14th to

16:11   5      October 13th.     Mr. Houlden copies these 5 gigahertz design

16:11   6      presentations, including the ones I've shown you, the

16:11   7      polygon and this EG5877.      He transfers them to Akoustis,

16:11   8      and Akoustis, then, begins developing 5 gigahertz filters.

16:11   9      Q.    And I think in Trade Secret Group 1, you had made

16:11   10     reference to Mr. Houlden putting files on a USB drive

16:11   11     two days before leaving Qorvo, and then uploading them at

16:11   12     Akoustis a couple of days after arriving at the company?

16:11   13     A.    Yes.    And a file folder called "Strategy."

16:11   14     Q.    Okay.    And did he take these two documents, the

16:11   15     polygons versus resonators, and the EG5877 presentation at

16:11   16     the same time?

16:11   17     A.    Yes, he did, along with some other documents.

16:12   18     Q.    Okay.    If -- and I'd like to talk about these two

16:12   19     documents for a minute, and we'll get to the Acoustic

16:12   20     Technology presentation a little later.

16:12   21                   MR. DeFOSSE:   Could we go to 6.40, please.

16:12   22     BY MR. DeFOSSE:

16:12   23     Q.    Okay.    Dr. Shanfield, what happened after Mr. Houlden

16:12   24     brought the Qorvo confidential design documents to

16:12   25     Akoustis?
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16:12   1      A.    Well, this is another incident that I'm summarizing

16:12   2      here, that supported my opinion, that they got this lift.

16:12   3      And that's that, after Mr. Houlden obtained these design

16:12   4      documents for 5 gigahertz product, he went to Dr. Hodge --

16:12   5      who was an Akoustis engineer, our engineer -- and he -- in

16:12   6      this dialogue here, he says that Roland Houlden had

16:12   7      provided these Qorvo documents to him, and he wanted them

16:13   8      to review them.

16:13   9            And so this was clearly -- I mean, not clearly, but

16:13   10     in my opinion, Dr. Houlden -- I mean, Mr. Houlden had the

16:13   11     intent that this 5 gigahertz information handed to

16:13   12     Dr. Hodge was going to help accelerate his work.

16:13   13     Q.    Was there any significance, in your opinion, of

16:13   14     giving 5 gigahertz information particularly to Dr. Hodge

16:13   15     at Akoustis?

16:13   16     A.    Yes, because Dr. Hodge was the RF engineer who was

16:13   17     assigned to produce the 5 gigahertz product.          So it was

16:13   18     clear intent.

16:13   19     Q.    Okay.

16:13   20                   MR. DeFOSSE:   If we go to PDX-4.1, please.

16:13   21     BY MR. DeFOSSE:

16:13   22     Q.    What are you attempting to address here?

16:13   23     A.    Yeah.   I actually found a little strange that

16:13   24     Mr. Houlden carried around this kind of knapsack, computer

16:14   25     knapsack, that was filled with documents.         And Dr. Hodge
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16:14   1      mentions that he had this laptop bag, and he carried it in

16:14   2      and out of work.      And he would pull documents out of it

16:14   3      that were Qorvo documents and give them to Dr. Hodge.

16:14   4            And it was like, you know, Christmastime, or -- I

16:14   5      don't know how to describe it.       It just seemed like an odd

16:14   6      way to carry around technical information.

16:14   7      Q.    Okay.

16:14   8                    MR. DeFOSSE:   If we could go to PDX-6.42,

16:14   9      please.

16:14   10     BY MR. DeFOSSE:

16:14   11     Q.    We're now at August of 2017.       Why have you included

16:14   12     this date on your timeline?

16:14   13     A.    Yeah.   This is now having to do with the point that

16:14   14     Akoustis now obtains all this information about

16:14   15     5 gigahertz.      Fall of 2016, they didn't even have a

16:15   16     working resonator, never mind a filter.           And there's all

16:15   17     kinds of steps you have to go through to get from -- even

16:15   18     when you have a resonator working, to a filter.

16:15   19           And then ten months later in a start-up company, with

16:15   20     few engineers -- and I point out, as you heard in some of

16:15   21     the videos, these engineers were not familiar with

16:15   22     building BAW filters.      I can see that just listening to

16:15   23     them.   But they also admitted it, that they hadn't even --

16:15   24     any experience at all in making them.        And then ten months

16:15   25     later, the company's delivering samples of their
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16:15   1      5 gigahertz filter.

16:15   2            So they moved from designing this resonator to

16:15   3      designing and fabbing it.      And you can imagine the number

16:15   4      of cycles you have to go through to figure out how to make

16:15   5      a resonator correctly, and then the number of cycles you

16:15   6      have to go through to make a filter correctly.

16:16   7            They did all this in ten months, is it's clearly

16:16   8      something different was going on than anything I've ever

16:16   9      experienced in the industry.

16:16   10     Q.    Okay.

16:16   11                   MR. DeFOSSE:   If we could go to 6.43.

16:16   12     BY MR. DeFOSSE:

16:16   13     Q.    Did you also analyze, with Trade Secret Group 2,

16:16   14     whether Akoustis knew or should have known that the

16:16   15     documents that Mr. Houlden was handing out were

16:16   16     confidential?

16:16   17     A.    Yes.    Like you've heard before, my opinion, and I

16:16   18     think it would be of any engineer I work with, is that

16:16   19     everybody knows you keep company confidential material

16:16   20     confidential.     You don't spread it around.      You don't take

16:16   21     it to your next job.

16:16   22           And here, this is talking -- this is when Dr. Hodge

16:16   23     was being deposed.     He said -- he was asked:       What's your

16:16   24     reaction when Mr. Houlden, in his little laptop bag, pulls

16:17   25     out some documents from Qorvo and hands them over?           He
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16:17   1      feels repulsion, is what he says.        And I can understand

16:17   2      that because that's the people I know.        They wouldn't take

16:17   3      it.   And it's -- Dr. Hodge felt the same way; he didn't

16:17   4      want to take it.

16:17   5                   MR. DeFOSSE:    If we could go to 6.44, please.

16:17   6      BY MR. DeFOSSE:

16:17   7      Q.    I now want to shift gears to talking about that

16:17   8      Akoustis technology update presentation, which was offered

16:17   9      later in time.

16:17   10           I think this is the first date on your timeline

16:17   11     that's relevant to that document?

16:17   12     A.    Yes.

16:17   13     Q.    So we're in 2020 now.      What's going on at Akoustis at

16:17   14     this point in time?

16:17   15     A.    So like I said, in ten months they were delivering

16:17   16     samples of filters.     The filters' performance had -- was

16:17   17     not great, but was the only filter out there at the time

16:18   18     in 5 gigahertz.     And then they get -- note information

16:18   19     that it looked like Qorvo was -- had decided previously to

16:18   20     build a 5 gigahertz filter.       So Qorvo is now realizing

16:18   21     there's going to be competition, and they started seeking

16:18   22     ways of finding information, confidential information

16:18   23     about Qorvo's product.

16:18   24           So here, it's showing how Mr. Steven Li, who's the

16:18   25     Chinese country manager, China country manager, sends
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16:18   1      Dave Aichele this attached file.       It's a spec that's

16:18   2      confidential and from Qorvo on one of the 5 gigahertz

16:18   3      products, the 5.2 gigahertz product, and here it is.

16:18   4      Q.    You've looked at the confidential spec that Mr. Li

16:18   5      sent to Mr. Aichele?

16:19   6      A.    Yes.

16:19   7      Q.    Did you have any observations about how the

16:19   8      performance of the prototypes at Qorvo compared to the

16:19   9      performance of the Akoustis filters that were in the

16:19   10     market?

16:19   11     A.    Yes.    It was pretty striking.

16:19   12     Q.    And striking in what way?

16:19   13     A.    It was clearly better performance both, what they

16:19   14     call, rejection outside the van, how much it keeps the

16:19   15     noise away, and also how much you lose the signal in the

16:19   16     band you want, that insertion, as they call it, that was

16:19   17     better.    So the Qorvo product was better in those, at

16:19   18     least in those ways.

16:19   19     Q.    And do you believe that would have been a cause for

16:19   20     concern?

16:19   21     A.    I would think so.     And my, you know, sense of this,

16:19   22     and putting myself in their position as a start-up company

16:19   23     is, they'd be panicked about it.       And they were seeking

16:19   24     anything they could find out.

16:19   25     Q.    Okay.
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16:19   1                   MR. DeFOSSE:    If we could go to PDX-6.45.

16:20   2                   Okay.   Your Honor, may I approach?

16:20   3                   THE COURT:    You may.

16:20   4      BY MR. DeFOSSE:

16:20   5      Q.    Dr. Shanfield, I've handed you what's marked for

16:20   6      identification as PTX-1005.       I think it's the same

16:20   7      document that you have here.

16:20   8            Have you considered this document as part of your

16:20   9      analysis?

16:20   10     A.    Yes, I did.

16:20   11     Q.    And is this an internal Akoustis e-mail exchange?

16:20   12     A.    Yes, that's exactly what it is.

16:20   13                  MR. DeFOSSE:    Your Honor, Plaintiff would move

        14     for admission of PTX-1005.

16:20   15                  THE COURT:    All right.    That's going to be

16:20   16     marked and received as 218.

16:20   17                  (Trial Exhibit No. 218 was admitted into

16:20   18     evidence.)

16:20   19     BY MR. DeFOSSE:

16:20   20     Q.    Dr. Shanfield, at this time, in February, March of

16:21   21     2020, when Akoustis found out that Qorvo is now

16:21   22     prototyping products that have superior performance, what

16:21   23     happened next?

16:21   24     A.    Well, Mr. Houlden was looking for ways to find

16:21   25     information about Qorvo's product.        And he found a guy who
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16:21   1      was a senior RF test engineer at Qorvo who was interested

16:21   2      in coming to Akoustis, and he wanted to meet with him.

16:21   3      And it turned out it was at a Panera.        It was my idea to

16:21   4      put the sign up there because -- I call it the "Panera

16:21   5      meeting," because they then have a discussion there.

16:21   6      Q.    Okay.

16:21   7                    MR. DeFOSSE:   And if we could go to the slide

16:22   8      PDX-6.46.

16:22   9      BY MR. DeFOSSE:

16:22   10     Q.    The Panera meeting, according to your timeline, is

16:22   11     February 27th, 2020; is that right?

16:22   12     A.    That's right.

16:22   13     Q.    Okay.   So about a week later, what happened?

16:22   14     A.    Yeah.   So a week later, this file is downloaded by

16:22   15     Mr. Schmid, the RF engineer, while he was at Qorvo.           This

16:22   16     has this information that's being shown there.

16:22   17     Q.    Okay.   And that's the meta data in the middle of this

16:22   18     slide?

16:22   19     A.    That's correct.      That shows that it was downloaded.

16:22   20     Q.    So in about a week after he met with Mr. Houlden,

16:22   21     Mr. Schmid went back to Qorvo and obtained a copy of this

16:22   22     Akoustis technology presentation?

16:22   23     A.    That's correct.

16:22   24                   MR. DeFOSSE:   Your Honor, may I approach?

16:22   25                   THE COURT:   You may.
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16:22   1                    MR. DeFOSSE:   Okay.   Could we go to PDX-6.47,

16:23   2      please.

16:23   3      BY MR. DeFOSSE:

16:23   4      Q.     Now, Dr. Shanfield, I've handed you what's been

16:23   5      marked as PTX-1077.

16:23   6             Is this a document that you analyzed as part of your

16:23   7      analysis of Trade Secret Group 2?

16:23   8      A.     Yes, it was.

16:23   9      Q.     And is this an e-mail from Brian Schmitt, the Qorvo

16:23   10     engineer who we were just discussing?

16:23   11     A.     Yes, it is.

16:23   12                   MR. DeFOSSE:   Your Honor, Plaintiffs would move

16:23   13     for the admission of PTX-1077.

16:23   14                   THE COURT:   Marked and received as 219.

16:23   15                   (Trial Exhibit No. 219 was admitted into

16:23   16     evidence.)

16:23   17     BY MR. DeFOSSE:

16:23   18     Q.     Dr. Shanfield, could you explain to the jury why you

16:23   19     found this document to be significant in your analysis?

16:23   20     A.     Yes.   I found it significant and a little amusing,

16:23   21     too.    He's talking about -- Mr. Schmitt now has taken the

16:23   22     job at Akoustis.      It turned out, though, that he was still

16:23   23     employed by Qorvo while he was working at Akoustis.           There

16:24   24     was some overlap there.      And he's talking about how he has

16:24   25     to return his stuff this coming Wednesday.         So he's now at
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16:24   1      Akoustis and he's got this document with him.

16:24   2      Q.    And Mr. Schmitt is the employee from Qorvo who took

16:24   3      this document to Akoustis after meeting with Mr. Houlden

16:24   4      at Panera?

16:24   5      A.    Right.      And it seemed to me like that discussion they

16:24   6      had must have been, Hey, we could use this information.

16:24   7      And Mr. Schmitt ends up having it with him.

16:24   8      Q.    Okay.    Before we shift to Trade Secret Group 3, I

16:24   9      think we talked about this a little bit with some of the

16:24   10     trade secrets already, but I want to make sure that you

16:24   11     agree for all.

16:24   12           Is there any distinction between FBAR resonators and

16:24   13     SMR resonators with respect to the trade secrets in trade

16:24   14     Secret Group 2?

16:25   15     A.    No.   They're not.     I mean, the information that's

16:25   16     being revealed here would apply in both cases, that

16:25   17     circuit information, the product specifications, the

16:25   18     layout, all of that is not specific to SMR and would

16:25   19     apply.   And if we had time we could walk through it, and I

16:25   20     could show in detail how that's true.

16:25   21     Q.    Okay.    Dr. Shanfield, I'd like to go to Trade Secret

16:25   22     Group 3 now.

16:25   23                   MR. DeFOSSE:    And if we could pull up PDX-6.49.

16:25   24     BY MR. DeFOSSE:

16:25   25     Q.    How many trade secrets have you identified in this
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16:25   1      group?

16:25   2      A.    There's three here.

16:25   3      Q.    Okay.   And the first one, so to save reading that

16:25   4      long, long description, relates to the sensitivity factor

16:25   5      calculations?

16:25   6      A.    That's right.

16:25   7      Q.    Okay.   And the second one is

16:25   8             ?

16:25   9      A.    Yes.

16:25   10     Q.    And the third is                                       ; is

16:25   11     that right?

16:25   12     A.    Yes, that's correct.

16:25   13     Q.    Okay.

16:25   14                   MR. DeFOSSE:   So I'd like you to, please, go to

16:26   15     6.51, PDX-6.51.

16:26   16     BY MR. DeFOSSE:

16:26   17     Q.    And can you just explain -- the jury's heard some of

16:26   18     this already, but could you remind them what is Trade

16:26   19     Secret 3.1?

16:26   20     A.    Yeah.   You've probably seen this document too many

16:26   21     times at this point, but this is the sensitivity

16:26   22     calculation of the fundamental sensitivity algorithm that

16:26   23     Qorvo used, and it was their secret sauce that allowed

16:26   24     them to economical production of these parts, these

16:26   25     filters.
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16:26   1                    MR. DeFOSSE:   If we could go to PDX-6.52.

16:26   2      BY MR. DeFOSSE:

16:26   3      Q.    Is this Trade Secret 3.2?

16:26   4      A.    That's correct.     And here, it's another algorithm.

16:26   5      It's got some assumptions in it.       It tells you exactly

16:26   6      what to do in this diagram.       And this was another one of

16:26   7      the items that was in the documents that was taken.

16:27   8                    MR. DeFOSSE:   And if we could go to PDX-6.53.

16:27   9      BY MR. DeFOSSE:

16:27   10     Q.    Is this the third trade secret?

16:27   11     A.    Yeah.    And this is, yet, another algorithm developed

16:27   12     by Qorvo with years of effort and testing and experiment

16:27   13     and evaluation.     This one is called                             I

16:27   14     won't try and explain in detail, but it was also included

16:27   15     in the documents that were taken.

16:27   16     Q.    Now, the three trade secrets that you've identified

16:27   17     in this group, do they all relate to how you remove that

16:27   18     layer of atoms?

16:27   19     A.    Yes.    The thing to have in mind about this algorithm,

16:27   20     it might not sound like much, but what you're doing to

16:27   21     tune these filters -- they're teeny little things -- and

16:27   22     you're removing layers of atoms, one layer of atom at a

16:27   23     time.   And you've got to do that in a way that you can't

16:27   24     go backwards and put them back.

16:27   25           So when you remove them, you're moving around
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16:28   1      frequencies in the filter, and you've got to do it in a

16:28   2      certain way and in a certain order, and this algorithm

16:28   3      tells you how to do that.       It's definitely nontrivial, and

16:28   4      it took years for Qorvo to come up with it, and here it

16:28   5      is.

16:28   6      Q.    All right.      What would be the value of competitor of

16:28   7      having this trimming information?

16:28   8      A.    They would skip over all the work that Qorvo did to

16:28   9      figure this out, and all the investment Qorvo made in

16:28   10     running wafers and testing ideas and setting up computer

16:28   11     systems.    They would know straight what to do immediately.

16:28   12     Q.    What is the practical impact of having a really good

16:28   13     trimming procedure?

16:28   14     A.    It ends that you can make your product, your filters

16:28   15     more cheaply or cheaply.       You really can't be in business

16:28   16     without an algorithm like Qorvo's algorithm, and they had

16:28   17     it now readymade for them.

16:28   18     Q.    Did you consider as part of your analysis whether the

16:28   19            algorithms we looked at were generally available in

16:29   20     the industry?

16:29   21     A.    I did.

16:29   22     Q.    And were they?

16:29   23     A.    No.   I was familiar -- I'm familiar with trimming

16:29   24     procedures.       I did some myself.   I did once with High Beam

16:29   25     and with Plasma, and I've never been familiar -- I've
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16:29   1      never seen this before, it was new, and it was innovative,

16:29   2      clearly, and it was not available in the public domain.

16:29   3      Q.     Do competitors in this industry share the type of

16:29   4      information that you saw in trade secret group 3?

16:29   5      A.     No.    They'd be crazy to share this; this is worth a

16:29   6      lot.

16:29   7      Q.     If we could go to -- well, let me.         Sorry.

16:29   8             Did you consider as part of your analysis of trade

16:29   9      secret group 3 whether Akoustis obtained and used those

16:29   10     trade secrets?

16:29   11     A.     I did.

16:29   12                   MR. DeFOSSE:   Could we go to 6.54, please.

16:29   13     BY MR. DeFOSSE:

16:29   14     Q.     Now, I think you've put a couple images side by

16:29   15     side -- Trial Exhibit 11 and 12 here -- can you explain to

16:30   16     the jury why?

16:30   17     A.     Yes.    Well, if you recall, most of the folks at

16:30   18     Akoustis at the time that JB Kwon brought this information

16:30   19     in -- or he was one of the people that made use of this

16:30   20     information.      In my opinion, there was nobody who had

16:30   21     experience in either building resonators or filters, and

16:30   22     here's now this trimming sensitivity calculation and Qorvo

16:30   23     on the left -- from Qorvo on the left, and this is what

16:30   24     Akoustis on the right designates as their trim

16:30   25     calculation.      It's essentially borrowed -- you know, it's
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16:30   1      almost exactly the same.      In the critical parts, it's

16:30   2      exactly the same thing as what Qorvo developed, and even

16:30   3      kept some of the coloring.       So the origin of this in my

16:31   4      opinion is from this Qorvo slide.

16:31   5      Q.    And the origin of this, you are referring to the

16:31   6      picture of the right-hand side that's from Trial

16:31   7      Exhibit 12?

16:31   8      A.    That's correct.

16:31   9      Q.    Which is the JB Kwon document?

16:31   10     A.    That's correct.

16:31   11     Q.    And did you perform a similar comparison for the

16:31   12     other algorithms?

16:31   13     A.    I did.

16:31   14                  MR. DeFOSSE:    And if we could just look at them

16:31   15     quickly, 6.55.

16:31   16     A.    And I won't bore you with the details, but they look

16:31   17     exactly the same, the detail, they're going to function

16:31   18     the same way, so they are the same thing.

16:31   19                  MR. DeFOSSE:    If we go to 6.56.

16:31   20     BY MR. DeFOSSE:

16:31   21     Q.    You have the Akoustis document on the right, the

16:31   22     Qorvo document on the left?

16:31   23     A.    Yes.   And you can see even the pictures are the same,

16:31   24     some of the wording is the same, and, certainly, the

16:31   25     algorithm is the same.
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16:31   1                    MR. DeFOSSE:   If we could go to 6.57, please.

16:31   2      BY MR. DeFOSSE:

16:31   3      Q.    You've put together a timeline for this trade secret?

16:31   4      A.    That's right; same idea.

16:31   5      Q.    Okay.   Let's go through this.      We are going to start

16:32   6      on -- well, all right, the first date on your timeline is

16:32   7      what?

16:32   8      A.    That's June 26, and that's when Akoustis hired JB

16:32   9      Kwon we just heard from to develop a trimming process.

16:32   10     Q.    And June 26 of what year?

16:32   11     A.    2017.

16:32   12                   MR. DeFOSSE:   If we could go to 6.58, please.

16:32   13     BY MR. DeFOSSE:

16:32   14     Q.    Okay.   Next was July 28.     So month out, what

16:32   15     happened?

16:32   16     A.    Well, JB Kwon now sends an e-mail, and he says,

16:32   17     "Enclosed" -- which you can see is this PowerPoint set of

16:32   18     slides -- "Enclosed is what I understand about how Qorvo

16:32   19     gets trim sensitivity data.       Hope this will be helpful for

16:32   20     the trim plan."

16:32   21           So he's now distributing it to Mary Winters, who is

16:32   22     the executive VP of fab, and Rama Vetury you heard about,

16:32   23     and also Daeho Kim, who is the device -- director of

16:32   24     device engineering at Akoustis.

16:33   25     Q.    Was there any significance to you to the fact that
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16:33   1      Mr. Kwon said expressly that he was sending out how Qorvo

16:33   2      gets trim sensitivity data when he circulated these

16:33   3      algorithms?

16:33   4      A.    Yes, of course, because he's explaining that he's

16:33   5      taking confidential information from Qorvo and identifying

16:33   6      it and putting it in an e-mail and sending it to employees

16:33   7      in Akoustis.

16:33   8                    MR. DeFOSSE:   If we could go to 6.59, please.

16:33   9      BY MR. DeFOSSE:

16:33   10     Q.    Okay.   At the time Mr. Kwon sent the Qorvo trimming

16:33   11     procedures internally at Akoustis, did he have a

16:33   12     confidentiality obligation to Qorvo?

16:33   13     A.    Yeah, he certainly did.      And I think, like I said

16:33   14     before, people in the industry like Dr. Kwon knew this is

16:33   15     not the right thing to do, that you are bound by a

16:34   16     confidentiality agreement, and I hadn't seen the video,

16:34   17     but he clearly looked troubled about what he had done.

16:34   18                   MR. DeFOSSE:   If we could go to PDX-6.59.

16:34   19     6.60?

16:34   20     BY MR. DeFOSSE:

16:34   21     Q.    How did Dr. Vetury respond when Mr. Kwon sent him the

16:34   22     Qorvo sensitivity plan?

16:34   23     A.    You can read it here.      He says, "Thanks JB, this is

16:34   24     helpful, and I'll send you the plan we promised you on

16:34   25     Monday."
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16:34   1      Q.    Okay.   And based on your experience in this industry,

16:34   2      should Dr. Vetury -- did Dr. Vetury know or should he have

16:34   3      known that the Qorvo sensitivity data that Mr. Kwon had

16:34   4      sent to him was confidential?

16:34   5      A.    Absolutely.    Dr. Vetury is -- was experienced enough

16:34   6      to know, this is not the kind of thing you're allowed to

16:35   7      bring out of a company like Qorvo, and yet he's receiving

16:35   8      this.

16:35   9      Q.    In fact, Dr. Vetury also used to work at RFMD, right?

16:35   10     A.    That's correct, yes.     So he knew what the obligations

16:35   11     were for confidentiality.

16:35   12                   MR. DeFOSSE:   If we could go to PDX-6.61.

16:35   13     BY MR. DeFOSSE:

16:35   14     Q.    August 16, 2017, just a couple of weeks later.          How

16:35   15     is this relevant to your analysis?

16:35   16     A.    Yeah.   This is actually interesting.       It is an e-mail

16:35   17     from Mary Winters, the VP of fabrication, to JB Kwon.            And

16:35   18     he's asking JB, can you come by and discuss this trimming

16:35   19     experiment that she's doing.       And here, you see to -- from

16:35   20     JB Kwon to Mary Winters, "Enclosed shows how Qorvo does

16:36   21     silicon nitrite trimming" -- trimming, in other words --

16:36   22     "on these filters."     And he has this set of documents in

16:36   23     PowerPoint.

16:36   24     Q.    And is this the second time that JB Kwon sent

16:36   25     trimming procedure to Ms. Winters?
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16:36   1      A.    That's right, yes.

16:36   2      Q.    And in your opinion, did Ms. Winters know or should

16:36   3      have known that this was confidential Qorvo information?

16:36   4      A.    Absolutely.     I mean, as a senior executive level in

16:36   5      Akoustis, she would be aware this is not something you

16:36   6      should accept, particularly in a startup company where you

16:36   7      are -- you're going to be watched closely, and you have to

16:36   8      be absolutely scrupulous about it.

16:36   9      Q.    Have you seen any evidence in this case that

16:36   10     Ms. Winters objected on this occasion that Dr. Kwon sent

16:36   11     this?

16:36   12     A.    None.

16:36   13                   MR. DeFOSSE:   Can we go to 67.62, please.

16:36   14     BY MR. DeFOSSE:

16:36   15     Q.    We are now at October 25, 2017?

16:37   16     A.    That's correct, yeah.

16:37   17     Q.    Did Dr. Kwon continue to circulate Qorvo's trimming

16:37   18     procedures internally at Akoustis?

16:37   19     A.    Yes, he did.     Here, he's enclosing the trim system

16:37   20     plan.   JB Kwon is sending it to Mary Winters again, along

16:37   21     with Ken Fallon who is the director of fab.          And there's

16:37   22     there is a note that says, "The new trim tool evaluation

16:37   23     PowerPoint."      Like this is the procedure that is

16:37   24     appropriate for this new tool we've got.

16:37   25     Q.    And at this point, Mr. Kwon is still not making any
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16:37   1      effort to obscure the fact that he's spending Qorvo's trim

16:37   2      plan around?

16:37   3      A.    Yes, that's right.

16:37   4                   MR. DeFOSSE:     If we can go to 6.63, please.

16:37   5      BY MR. DeFOSSE:

16:37   6      Q.    Now, this is the next day, October 26.

16:37   7      A.    Yes.

16:37   8      Q.    What's going on here, Dr. Shanfield?

16:37   9      A.    So JB Kwon sends Winters and Fallon a copy of the

16:38   10     presentation, like I said, with these Qorvo trade secrets

16:38   11     about trimming.       And then Kwon is asked to present what

16:38   12     he's calling the Akoustis trim work center at the meeting

16:38   13     of the technical committee of the Akoustis board of

16:38   14     directors.

16:38   15     Q.    So Dr. Kwon actually presented Qorvo's confidential

16:38   16     trimming algorithms to the board of directors at

16:38   17     Akoustis --

16:38   18     A.    That is --

16:38   19     Q.    Sorry.      To the technical committee?

16:38   20     A.    Yes.   Because that's what this e-mail is about.          This

16:38   21     is the trim work center update PowerPoint, and it's

16:38   22     Qorvo's procedures.

16:38   23                  MR. DeFOSSE:     Okay.   If we could go to 6.64,

16:38   24     please.

        25
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16:38   1      BY MR. DeFOSSE:

16:38   2      Q.    What happened after Dr. Kwon presented Qorvo's trade

16:38   3      secret concerning trimming to the board of directors

16:38   4      technical committee at Akoustis?

16:38   5      A.    Rama Vetury makes a request for JB, "Hey, can you

16:39   6      send over the slides you showed yesterday at the board of

16:39   7      directors committee?"      And what JB Kwon did, Dr. Kwon, was

16:39   8      attempt to obscure where the documents came from.           He

16:39   9      removed some of the Qorvo indications that it was Qorvo

16:39   10     documents.

16:39   11                   MR. DeFOSSE:   So if we can go to 6.65, please.

16:39   12     BY MR. DeFOSSE:

16:39   13     Q.    So sometime between presenting the procedures to the

16:39   14     technical committee and recirculating presentation to

16:39   15     Mr. Vetury, Mr. Kwon had made some changes?

16:39   16     A.    Yeah.   This is what I discovered.      And what was sent

16:39   17     is that the word "Qorvo" had been removed or changed to a

16:39   18     "Q," so he was starting to realize maybe we, you know,

16:39   19     shouldn't be having this confidential information reach

16:39   20     either the board of directors or anybody else in the

16:40   21     company.

16:40   22                   MR. DeFOSSE:   Your Honor, may I approach?

16:40   23                   THE COURT:   You may.

16:40   24     BY MR. DeFOSSE:

16:40   25     Q.    Dr. Shanfield, I've handed you what's been marked as
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16:40   1      Exhibit PTX-0721 for identification.

16:40   2      A.    Yes, that's correct.

16:40   3      Q.    This is an e-mail from Mary Winters to Art Geiss?

16:40   4      A.    Yes, that's right.

16:40   5      Q.    Is this a document that you considered in analyzing

16:40   6      the trade secrets in group 3?

16:40   7      A.    Yes, I did.

16:40   8                    MR. DeFOSSE:   Your Honor, plaintiff would move

16:40   9      for the admission of PTX-0721?

16:40   10                   THE COURT:   Marked and received as 220.

16:40   11                   (Trial Exhibit No. 220 was admitted into

16:40   12     evidence.)

16:40   13                   MR. DeFOSSE:   Okay.   Could we go to 6.66,

16:40   14     please.

16:40   15     BY MR. DeFOSSE:

16:40   16     Q.    Can you explain what the relevance is of the --

16:41   17     A.    Sure.

16:41   18     Q.    -- exhibit I just handed you?

16:41   19     A.    Art Geiss is a board member of -- Akoustis board

16:41   20     member, and he's sent a note to Mary Winters saying, "Hey,

16:41   21     Mary, when time permits, please forward the files of the

16:41   22     presentation you gave," and had also a request for the

16:41   23     "presentation JB gave on the trim work stand."

16:41   24     Q.    And Mr. Geiss is a board member at Akoustis, right?

16:41   25     A.    That's correct.
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16:41   1                    MR. DeFOSSE:   Could we go to 6.67, please.

16:41   2      BY MR. DeFOSSE:

16:41   3      Q.    What's the relevance of the information shown on this

16:41   4      slide?

16:41   5      A.    Yeah.    This is now a comparison of the presentation

16:41   6      on October 26, and then the modified presentation that was

16:41   7      done on October 29.     Ms. Winters apparently changed

16:42   8      "Qorvo" to "industry standard" so that it was no longer

16:42   9      confidential information, and she does it in the title and

16:42   10     in the label of the process that's being taken.

16:42   11     Q.    Okay.    So Ms. Winters changed the headings on the

16:42   12     presentation before sending it to Art Geiss?

16:42   13     A.    Yes.

16:42   14     Q.    But she didn't remove the trade secret algorithm?

16:42   15     A.    No.    That was the one oddity.     So the algorithm is

16:42   16     still there; it's still exactly the same thing as what

16:42   17     Qorvo provided -- had been taken from Qorvo.

16:42   18     Q.    Okay.    I can't recall if I asked you this, but I want

16:42   19     to do it before I move to group 4.

16:42   20     A.    Sure.

16:42   21     Q.    Are the trade secrets in trimming group 3 dependent

16:42   22     on whether or not you are using an FBAR-style resonator or

16:42   23     and SMR resonator?

16:43   24     A.    No, they're not, as you can imagine, since what

16:43   25     you're doing is removing anodes from the top of the
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16:43   1      resonators in the filter.       It doesn't matter how these

16:43   2      filters are supported.       What matters is how you remove

16:43   3      those layers and how you can do it carefully.           So it

16:43   4      applies in exactly the same way.

16:43   5      Q.    Thank you, Dr. Shanfield.

16:43   6                    MR. DeFOSSE:   If we could move to Trade Secret

16:43   7      Group 4.    And go to PDX-6.69, please.

16:43   8      BY MR. DeFOSSE:

16:43   9      Q.    Could you remind us what is Trade Secret Group 4?

16:43   10     A.    It is Qorvo's evaluation board, design rules, and

16:43   11     schematics, and identified one trade secret, which is the

16:43   12     design of the RF connectors.

16:43   13                   MR. DeFOSSE:   Okay.   If we could go PDX-6.70.

16:43   14     BY MR. DeFOSSE:

16:43   15     Q.    What's shown on this demonstrative, Dr. Shanfield?

16:43   16     A.    Here's -- you've seen this before.          This is Qorvo's

16:44   17     proprietary design that they worked out with                    of a

16:44   18     customized RF connector.       So this specialized customized

16:44   19     RF connector is -- and this was a document found at

16:44   20     Akoustis.

16:44   21     Q.    And did you assess the value of this particular

16:44   22     customized RF connector?

16:44   23     A.    Yes, I did.

16:44   24     Q.    And what is the value of the customized design here?

16:44   25     A.    Yeah.   It looks like a simple thing, an RF connector,
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16:44   1      but what you learn when you're running things at high

16:44   2      frequency is you've got to have your connectors really

16:44   3      repeatable and reliable.      And Qorvo looked like it had

16:44   4      done a lot of work in figuring out to make a connector so

16:44   5      you could disconnect it and reconnect if the RF circuits

16:44   6      behave the same way on the demonstration board.          So this

16:44   7      is a really valuable item, because customers want

16:44   8      repeatability in testing -- using the test boards.           And

16:45   9      here, this is an RF connector that will do that.

16:45   10     Q.    What value would having the customized RF design have

16:45   11     to a competitor of Qorvo's in this industry?

16:45   12     A.    If a competitor were to get this design, then they

16:45   13     would have skipped all the work.       They probably went

16:45   14     through a number of prototypes of this before they settled

16:45   15     on a design.      And here, the competitor would have the

16:45   16     finished product without having to do the work, so they

16:45   17     would save time.      And money.

16:45   18     Q.    Is there any impact on the accuracy of the testing

16:45   19     you're performing if you have this connector?

16:45   20     A.    Yes.   You get to repeatability, and you get a better

16:45   21     measurement, and people who are doing RF measuring are

16:45   22     really sensitive to how accurate you are taking the

16:45   23     measurement.      They know how to check for that, and they

16:45   24     would see if the connector didn't work well.

16:45   25     Q.    Did you consider in this case whether Akoustis
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16:45   1      obtained and used the customized Qorvo RF connector

16:46   2      design?

16:46   3      A.    Yes, I did.

16:46   4                   MR. DeFOSSE:    Could we go to PDX-6.71.

16:46   5      BY MR. DeFOSSE:

16:46   6      Q.    We have another one of your timelines here?

16:46   7      A.    Yes.   It's the usual way I've used to show evidence

16:46   8      that the -- not only was there misappropriation, but that

16:46   9      the -- I'm sorry -- the trade secret were used, and I'm

16:46   10     showing it in this timeline.

16:46   11                  MR. DeFOSSE:    Your Honor, may I approach?

16:46   12                  THE COURT:    You may.

16:46   13     BY MR. DeFOSSE:

16:46   14     Q.    Dr. Shanfield, I've just handed you what's been

16:46   15     marked for identification as PTX-0729.        Do you recognize

16:47   16     this as a document that you considered in forming your

16:47   17     opinions concerning Trade Secret Group 4?

16:47   18     A.    Yes, it is.

16:47   19                  MR. DeFOSSE:    Your Honor, plaintiffs would move

16:47   20     for the admission of PTX-0729.

16:47   21                  THE COURT:    Marked and received, marked and

16:47   22     received as 221.

16:47   23                  (Trial Exhibit No. 221 was admitted into

16:47   24     evidence.)

16:47   25                  MR. DeFOSSE:    Could we go to PDX-6.72, please.
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16:47   1      BY MR. DeFOSSE:

16:47   2      Q.    Okay.   The first date on your timeline is

16:47   3      November 22, 2016; is that right?

16:47   4      A.    Yes.

16:47   5      Q.    And on that date, you have had an e-mail that's now

16:47   6      been marked as Exhibit 2221 in this case?

16:47   7      A.    That's correct.

16:47   8      Q.    Can you explain how this relates to your opinions?

16:47   9      A.    Yeah.   This is where Mr. Houlden is requesting from a

16:47   10     Qorvo employee the drawing of this connector, this

16:47   11     specialized custom connector Qorvo had developed.           He's

16:48   12     writing that he's got "No IP concerns," intellectual

16:48   13     property concerns, but using personal e-mails will make

16:48   14     you feel more comfortable.

16:48   15     Q.    All right.    In your experience, are there concerns

16:48   16     related to RF connectors?

16:48   17     A.    Absolutely.    And this custom connector is clearly an

16:48   18     IP concern.

16:48   19                   MR. DeFOSSE:   If we could go to PDX-6.73,

16:48   20     please.

16:48   21     BY MR. DeFOSSE:

16:48   22     Q.    What's the relevance of Dr. Hodge's testimony to your

16:48   23     opinions concerning the misappropriation of the trade

16:48   24     secret in Group 4?

16:48   25     A.    Yeah.   Dr. Hodge, he had supervised some technicians,
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16:48   1      and one of the technicians was given a packet of documents

16:48   2      as he's explaining here, and that had details of the PCB

16:49   3      board and the connectors, as he explains, which is the

16:49   4      very connector that we just were looking at.

16:49   5      Q.    And that was fall 2016?

16:49   6      A.    That's correct, yes.

16:49   7                   MR. DeFOSSE:    If we could go to PDX-6.74,

16:49   8      please.

16:49   9      BY MR. DeFOSSE:

16:49   10     Q.    And what did Mr. Houlden ask to be done with the

16:49   11     drawings of the connectors?

16:49   12     A.    Well, Dr. Hodge says, he asked David Dyer, the guy

16:49   13     who reported to him.      He said Mr. Houlden had asked him to

16:49   14     replicate the traces in this connector.           So, essentially,

16:49   15     replicate the board and the connector itself.

16:49   16                  MR. DeFOSSE:    Your Honor, may I approach?

16:49   17                  THE COURT:    You may.

16:50   18     BY MR. DeFOSSE:

16:50   19     Q.    I've handed you two documents.       The first was marked

16:50   20     for identification as PTX-0731, and the second is marked

16:50   21     for identification as PTX-0733.

16:50   22     A.    Yes.

16:50   23     Q.    Are these documents, documents that you considered in

16:50   24     forming your opinions concerning trade secret Group 4?

16:50   25     A.    Yes, they are.
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16:50   1                    MR. DeFOSSE:   Your Honor, plaintiff would move

16:50   2      for the admission of PTX-0731 and 0733.

16:50   3                    THE COURT:   Marked and received as 222 and 223.

16:50   4                    (Trial Exhibit Nos. 222 and 223 were admitted

16:50   5      into evidence.)

16:50   6                    MR. DeFOSSE:   If we can go to PDX-6.75 please.

16:50   7      BY MR. DeFOSSE:

16:50   8      Q.    We're now in March of 2018 on your timeline.

16:50   9      A.    That's right.

16:50   10     Q.    And that's about two years, a little less, after

16:50   11     Mr. Houlden had handed over the drawings and asked for

16:51   12     them to be copied; is that right?

16:51   13     A.    That's correct.

16:51   14     Q.    Is there thing way that you know that Akoustis

16:51   15     actually went through with the copying of Qorvo's

16:51   16     drawings?

16:51   17     A.    Yeah.    I caught this in this e-mail where Mr. Houlden

16:51   18     is talking about an RF connector, and he indicates that

16:51   19     this part, Number              , is equivalent to an RFMD

16:51   20     custom connector.     So he knows that he copied it and that

16:51   21     this is what it is.     He's explaining that to Dave Hodge.

16:51   22                   MR. DeFOSSE:   If we can go to 6.76, please.

16:51   23     BY MR. DeFOSSE:

16:51   24     Q.    And did Mr. Houlden ever describe why you would want

16:51   25     to go through copying the Qorvo connector as opposed to
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16:51   1      just buying one on the market?

16:51   2      A.    Yeah.   He gets an e-mail from another employee at

16:52   3      Akoustis, and he's suggesting another connector, and he

16:52   4      responds, "RFMD had some unique work done to the

16:52   5      part," and so he want to stick with that part.          That's the

16:52   6      part that was the one that Akoustis copied from Qorvo.

16:52   7      Q.    And same question as with trade secret groups 1

16:52   8      through 3.    For Trade Secret Group 4, does the trade

16:52   9      secret depend on whether you are using an FBAR-style

16:52   10     resonator or an SMR-style resonator?

16:52   11     A.    No.   It doesn't depend on it at all.       I think that's

16:52   12     obvious.    The board has nothing to do with the resonator.

16:52   13     Q.    Okay.   It may not be obvious to me, though, so can

16:52   14     you just explain at a high level?

16:52   15     A.    Yeah.   This connector, you've got things you plug

16:52   16     into it, and the filter is sitting on a board has the

16:52   17     connectors on it.     So what -- the connector you use would

16:53   18     be the same whether you're going to use an SMR or an FBAR

16:53   19     filter.

16:53   20                   MR. DeFOSSE:   Okay.   I'd like to move now to

16:53   21     Trade Secret Group 5.      And if we can go to PDX-6.78,

16:53   22     please.

16:53   23     BY MR. DeFOSSE:

16:53   24     Q.    How many trade secrets are there in Trade Secret

16:53   25     Group 5?
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16:53   1      A.    I picked out five.

16:53   2                    MR. DeFOSSE:   And if we could go to PDX-6.79,

16:53   3      please.

16:53   4      BY MR. DeFOSSE:

16:53   5      Q.    What types of documents did you consider in forming

16:53   6      your opinions with respect to trade secret Group 5?

16:53   7      A.    Yes.    I analyzed documents that were procedures that

16:53   8      Qorvo had created for development of product requirements

16:53   9      or for test plans.     And that's kind of portrayed here.

16:53   10     Q.    Okay.    And I should have clarified before.       What is

16:53   11     trade secret Group 5?

16:54   12     A.    Oh, yes.    It is -- has to do with the development or

16:54   13     product requirement procedures, and also the testing

16:54   14     procedures that Qorvo had developed over the years of

16:54   15     experience with their filters.

16:54   16                   MR. DeFOSSE:   Can we go to PDX-6.80, please.

16:54   17     BY MR. DeFOSSE:

16:54   18     Q.    You are identifying in this slide two trade secrets;

16:54   19     is that right?

16:54   20     A.    That's right.

16:54   21     Q.    Could you explain those to the jury?

16:54   22     A.    Sure.    These are the technology and product

16:54   23     development processes and procedures, and also the phases

16:54   24     of the development process.       This includes gating and

16:54   25     information you consider.      And this all sounds like
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16:54   1      something, you know, you could do in a couple of

16:54   2      afternoons or something.      It's not like that at all

16:54   3      because what you learn, and I learned in my startup

16:54   4      company is, the procedures are not obvious that make your

16:55   5      facility efficient and produce a new product that's really

16:55   6      going to sell.     There has to be some gating done.        It has

16:55   7      to be formalized.     That's reflected in these documents,

16:55   8      and that experience is baked into the information that was

16:55   9      in these documents.

16:55   10     Q.    So I think we heard, at least, questions suggesting a

16:55   11     lot of companies have phase gate procedures and product

16:55   12     development processes.

16:55   13     A.    Right.

16:55   14     Q.    Have you been present to hear those exchanges?

16:55   15     A.    Yes.

16:55   16     Q.    You don't disagree with that?

16:55   17     A.    No, I agree.

16:55   18     Q.    Okay.    But in your experience, more than 30 years in

16:55   19     the industry, do companies make their product development

16:55   20     processes available publicly?

16:55   21     A.    No, they don't.     You know, they're focused on a

16:55   22     particular set of products like Qorvo was, and the

16:55   23     procedures apply to that set of products.         And they are

16:55   24     usually the result of like the school of hard knocks in

16:56   25     figuring out what went wrong the first time you tried to
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16:56   1      develop a product, what do you need to do differently, and

16:56   2      the procedures that are now in place to make that not

16:56   3      happen again.     So it's a very important document that way.

16:56   4      Q.    How would a competitor benefit from having access to

16:56   5      the product development processes of other competitors in

16:56   6      the same industry?

16:56   7      A.    The benefit would be that they are going realize all

16:56   8      the hard work Qorvo did in putting this thing together,

16:56   9      and they are going to know how to do the product

16:56   10     development and the steps in that development, how to

16:56   11     phase gate it in a way that's got the efficiency of years

16:56   12     of experience.     And they didn't have to have the

16:56   13     experience or go through the work of developing that

16:56   14     document.

16:56   15                   MR. DeFOSSE:   Okay.   If we could go to

16:56   16     PDX-6.81, please.

16:56   17     BY MR. DeFOSSE:

16:56   18     Q.    Now, you also looked at product requirements

16:57   19     documents?

16:57   20     A.    Yes, I did.

16:57   21     Q.    Maybe first at a high level, what is the function of

16:57   22     these documents?

16:57   23     A.    Yeah.   You know, when you are making a new product,

16:57   24     you have to figure out what is the thing that you want

16:57   25     to -- what parameters do you want to assign to the
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16:57   1      performance of the product.       And that might sound fairly

16:57   2      easy, there -- you might think there are a few parameters;

16:57   3      it doesn't look like that.

16:57   4            First of all, there's parameters underlying those

16:57   5      ones that you might show the customer, and you've got to

16:57   6      set up a system for being able to choose those beforehand

16:57   7      so that everybody in the engineering team, the design

16:57   8      team, fab team know what it is you are shooting for.           So

16:57   9      that's what a product requirement document is.

16:57   10     Q.    And have you identified specific trade secrets that

16:57   11     are found in Qorvo's product requirement documents?

16:57   12     A.    Yes, quite a few.

16:57   13     Q.    Okay.   And could you identify those trade secrets for

16:57   14     me?

16:58   15     A.    These are three that I listed:       Tracking and

16:58   16     documenting development process, what's going to

16:58   17     differentiate the new product, what's the cost target,

16:58   18     what's the specifications, and a particular part is what

16:58   19     are the testing procedures you're going to put in place.

16:58   20     For RF testing, that's really important because it's not

16:58   21     simple to do RF testing, and it's not obvious what tests

16:58   22     really matter.     That is all based on, and in these

16:58   23     documents, based on Qorvo's experience in that business.

16:58   24                   MR. DeFOSSE:   If we could go to 6.82, please.

        25
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16:58   1      BY MR. DeFOSSE:

16:58   2      Q.    Have you also identified any trade secrets related to

16:58   3      Qorvo's test plans?

16:58   4      A.    Yeah.    I think as I was saying before, this shows one

16:58   5      example of an evaluation board test plan.         It goes -- as I

16:58   6      went through these, there's all these tabs, and there's

16:59   7      hundreds of parameters listed.       And there's results and

16:59   8      expectations for what these parameters should look like in

16:59   9      a product.     So it's an elaborate document, and it's really

16:59   10     going to be useful for somebody making a filter product.

16:59   11     Q.    Now, we've looked at five trade secrets in Group 5.

16:59   12     Did you form any opinions as to whether those trade

16:59   13     secrets were generally known in the industry?

16:59   14     A.    Yes, I did.

16:59   15     Q.    And what was your opinion?

16:59   16     A.    Like in the other cases, I concluded that this was

16:59   17     not known in the industry.       It was not obvious to me, and

16:59   18     I really had to go through it and look at what they had

16:59   19     figured out was important, and it was actually quite

16:59   20     interesting.      So this was clearly not available to anybody

16:59   21     but Qorvo employees.      It was confidential.

16:59   22     Q.    And did you also assess the value that the trade

16:59   23     secret in Group 5 would have?

17:00   24     A.    I did.

17:00   25     Q.    And what did you determine with respect to the value?
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17:00   1      A.    Well, knowing what's important in RF measurement, not

17:00   2      only does it tell you how to evaluate your part in a way

17:00   3      that's going to be consistent and meaningful, it's also

17:00   4      customers are going to look at what you're doing and to

17:00   5      see if you know what you're doing, because they know some

17:00   6      of this stuff.     And if you've got that in hand already,

17:00   7      then you get the confidence the customer as well because

17:00   8      you've got these procedures in place.

17:00   9      Q.    Did you assess whether Akoustis obtained and used

17:00   10     Qorvo's test plans in this case?

17:00   11     A.    Yeah, I did.

17:00   12     Q.    And what did you conclude?

17:00   13     A.    That I have evidence that they did, and concluded

17:00   14     that they have.

17:00   15                  MR. DeFOSSE:    If we could go to PDX-6.83

17:00   16     please.

17:00   17     BY MR. DeFOSSE:

17:00   18     Q.    What's shown in this slide?

17:01   19     A.    Here, again, is the usual timeline idea where I'm

17:01   20     showing evidence of how it's being misappropriated and the

17:01   21     fact it's being used and why I think that.

17:01   22                  MR. DeFOSSE:    If we go to, next, PDX-6.84.

17:01   23     BY MR. DeFOSSE:

17:01   24     Q.    The first date on your timeline is January 30 of

17:01   25     2017; is that right?
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17:01   1      A.    Yes.

17:01   2      Q.    What happened on that date?

17:01   3      A.    This is actually where Dr. Shealy has obtained RFMD

17:01   4      documents having to do with the new technology development

17:01   5      procedure, and he replaces the RFMD logo with Akoustis and

17:01   6      labels it Akoustis New Technology Development.

17:01   7      Q.    I think we heard testimony shortly before you took

17:01   8      the stand that Dr. Shealy said he never really used this

17:01   9      document.

17:01   10           Do you recall that?

17:01   11     A.    Yes, I do.

17:01   12     Q.    Is that consistent with your analysis?

17:01   13     A.    No, it is not.

17:01   14                  MR. DeFOSSE:     If we could go to PDX-6.85.

17:02   15     BY MR. DeFOSSE:

17:02   16     Q.    So, first, what was your -- what was the significance

17:02   17     of how Dr. Shealy altered this document to you?

17:02   18     A.    Yes.   He also changed the confidentiality warning,

17:02   19     the original RFMD one is shown in the middle here.            And he

17:02   20     changed it.       And he wrote some of the terminology, but he

17:02   21     essentially created his own confidentiality warning.

17:02   22                  MR. BRAVERMAN:     And then if we go to 6.86.

17:02   23     BY MR. DeFOSSE:

17:02   24     Q.    What did Dr. Shealy do after you converted the RFMD

17:02   25     procedure into the Akoustis technology development
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17:02   1      procedure?

17:02   2      A.     Yeah.   Well, he also labeled himself the author.         And

17:02   3      then he e-mails it would Rohan Houlden, the executive

17:03   4      administrator of Dr. Shealy and Mary Winters who is

17:03   5      responsible for the fab.

17:03   6      Q.     And was there any significance to you in who Dr.

17:03   7      Shealy was sending this modified procedure to?

17:03   8      A.     Yeah, very much.    I mean, what he's doing is saying,

17:03   9      "Look, I've authored this document.        This is our document

17:03   10     now.    We can use this."     And his top management is getting

17:03   11     this document, so the implication that you're sending it

17:03   12     out from the CEO is this is something you are going to

17:03   13     use.

17:03   14     Q.     Okay.   And who are the users of a technology

17:03   15     development process at a company in this industry?

17:03   16     A.     It would be exactly the people he sent it to.         The VP

17:03   17     of product engineering would obviously be interested in

17:03   18     that.    And the fab person who is the VP of fab would also

17:04   19     be interested in how that's done and following that

17:04   20     procedure.

17:04   21                    MR. DeFOSSE:   If we could go to 6.87, please.

17:04   22     BY MR. DeFOSSE:

17:04   23     Q.     Did you find other occasions in which Akoustis copied

17:04   24     Qorvo's trade secret from Group 5?

17:04   25     A.     Yes, I did.
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17:04   1      Q.    What are you showing here for February 23, 2017?

17:04   2      A.    Yeah.    This was another instance I found where

17:04   3      Mr. Houlden used his personal e-mail account again, and

17:04   4      he's got these documents attached.        They are from Alan

17:04   5      Nicol, who's a Qorvo engineer, and to Mr. Houlden and it's

17:04   6      all in personal e-mail.      He knew Nicol -- Houlden knew

17:04   7      because he had signed this agreement, that Nicols --

17:04   8      subject to the confidentiality agreements.         And he was

17:04   9      asking now -- Alan was asking Mr. Houlden, "Have you

17:05   10     received the files" in this e-mail.

17:05   11                   MR. DeFOSSE:   If we could go to 6.88.

17:05   12     BY MR. DeFOSSE:

17:05   13     Q.    What did Mr. Houlden do after he received the

17:05   14     confidential Qorvo test plans from Alan Nicol?

17:05   15     A.    Yes.    He then -- Rohan Houlden sends to Pat Lewis,

17:05   16     who is the director of business systems, a set of

17:05   17     documents that's Qorvo documents, but now they're called

17:05   18     AKF, and they're numbered according to this new numbering

17:05   19     scheme.

17:05   20           This is test plans, test plan qualifications, test

17:05   21     plan characterizations.      This is a whole set of documents

17:05   22     here that he's sending along.

17:05   23     Q.    And did this indicate to you that at the time

17:05   24     Mr. Houlden was requesting test plans from Qorvo, he was

17:05   25     working on drafting the Akoustis test plans?
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17:06   1      A.    Yes, it does.

17:06   2                   MR. DeFOSSE:    Your Honor, may I approach?

17:06   3                   THE COURT:    You may.

17:06   4      BY MR. DeFOSSE:

17:06   5      Q.    Dr. Shanfield, I've handed you what's been marked for

17:06   6      identification as PTX-0749.       Do you recognize this as a

17:06   7      document that you considered in forming your opinions with

17:06   8      respect to Trade Secret Group 5?

17:06   9      A.    Yes, I do.

17:06   10                  MR. DeFOSSE:    Your Honor, plaintiff would offer

17:06   11     for admission PTX-0749.

17:06   12                  THE COURT:    Marked and received as 224.

17:06   13                  (Trial Exhibit No. 224 was admitted into

17:06   14     evidence.)

17:06   15                  MR. DeFOSSE:    If we could go to PDX-6.89,

17:06   16     please.

17:06   17     BY MR. DeFOSSE:

17:06   18     Q.    You've got two dates highlighted on this one, May 9,

17:06   19     2017 and May 12, 2017.      What are the significance of those

17:06   20     dates to you in your analysis, Dr. Shanfield?

17:07   21     A.    Yes.   The Qorvo evaluation board test plan, this is

17:07   22     what's on the left.     It says "RFMD confidential" at the

17:07   23     bottom.   On the right is the now converted to Akoustis

17:07   24     document number of the same evaluation board test plan,

17:07   25     with all the same items and even the same numbering
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17:07   1      system.

17:07   2      Q.    Okay.   So is this another occasion where you found

17:07   3      that Akoustis almost directly copied a Qorvo document?

17:07   4      A.    Yes, exactly.

17:07   5      Q.    Was Akoustis' use of Qorvo's test plans limited to

17:07   6      only one period in time in its existence?

17:07   7      A.    No.   They did this repeatedly.      And they used Qorvo

17:07   8      documents in multiple cases.       I just didn't have time to

17:07   9      show you all the examples.

17:07   10     Q.    Okay.   If -- we're going to jump in your timeline to

17:08   11     2020 now, March 3.

17:08   12                   MR. DeFOSSE:   If we can go to PDX-6.90, please.

17:08   13     BY MR. DeFOSSE:

17:08   14     Q.    First, I'd like you to explain, what does RVTM mean?

17:08   15     A.    Let's see if I remember that.

17:08   16     Q.    If you can't remember, what kind of document does it

17:08   17     relate to?    How about that?

17:08   18     A.    Yeah.   What you've got here is -- this is a template

17:08   19     for a part number and a part description with its features

17:08   20     and it's differentiators.      So it's a template for product

17:08   21     description.      And you can see in the bottom some of the

17:08   22     items that are in that description.

17:08   23           For example, the document number.       The cost target is

17:08   24     really -- is in there which is really important and

17:09   25     sensitive information.
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17:09   1      Q.     Okay.    And at the top of PDX-690, it looks like

17:09   2      there's is a calendar invite; is that right?

17:09   3      A.     Yes, correct.

17:09   4      Q.     What was the relevance of this calendar invite to

17:09   5      you?

17:09   6      A.     This was from Roman Houlden.      And he was setting up a

17:09   7      meeting where he wanted to review these RVTM documents.

17:09   8      And the documents are attached, as you can see in this

17:09   9      e-mail.    It's an Excel spreadsheet.

17:09   10     Q.     Was there any significance to you of the people who

17:09   11     Mr. Houlden had invited to review the Qorvo RVTM

17:09   12     documents?

17:09   13     A.     Yes.    He says "required attendees" are himself,

17:09   14     Jerry Gray, Dave Hodge Pat Lewis, all Akoustis' employees,

17:09   15     all having to do with his area of product requirements

17:10   16     documents.

17:10   17     Q.     Okay.

17:10   18                    MR. DeFOSSE:   If we could jump to January 12 of

17:10   19     2021.    Sorry.    And that would be PDX-6.91.

17:10   20     BY MR. DeFOSSE:

17:10   21     Q.     So this is the next date on your timeline.        Could you

17:10   22     explain to the jury what happened on this date?

17:10   23     A.     Yeah.    Here -- now, this is from an Akoustis

17:10   24     employee, Brad Bersin where he's setting up a conference

17:10   25     room with a follow-up discussion meeting.         And he's saying
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17:10   1      it's for discussion the week of January 11.           "Any old

17:10   2      company -400 or -480 documents," those numbers are Qorvo

17:10   3      numbers.

17:10   4            And he gets a response from an Akoustis employee who

17:10   5      says, "I don't have any Qorvo contacts.           I can't get these

17:11   6      documents."

17:11   7            So he understood.      And I'm going to describe it as a

17:11   8      cry for help that this is not -- I don't want to do this,

17:11   9      and I have nothing to do with Qorvo either.

17:11   10     Q.    Okay.

17:11   11                   MR. DeFOSSE:   If you can go to the PDX-6.92.

17:11   12     BY MR. DeFOSSE:

17:11   13     Q.    What happened after -- what happened next?

17:11   14     A.    So Rohan sends an e-mail, and he asks whether the

17:11   15     person -- says sent to Bradford Bersin, Jerry Gray as

17:11   16     well.   Did you, by chance, connect with Ahmad.          Ahmad is a

17:11   17     former Qorvo employee.       He is a source for Houlden.

17:12   18                   MR. DeFOSSE:   Your Honor, may I approach?

17:12   19                   THE COURT:   You may.

17:12   20     BY MR. DeFOSSE:

17:12   21     Q.    Dr. Shanfield, I've handed you what's been marked for

17:12   22     identification as PTX-0750.       Do you recognize this as one

17:12   23     of the documents that you've considered in forming your

17:12   24     opinions in this case?

17:12   25     A.    Yes, I do.
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17:12   1                     MR. DeFOSSE:   Your Honor, plaintiff would offer

17:12   2      into evidence PTX-05 -- sorry 0750?

17:12   3                     THE COURT:   Marked and received as 225.

17:12   4                     (Trial Exhibit No. 225 was admitted into

17:12   5      evidence.)

17:12   6                     MR. DeFOSSE:   All right.   If we could go to

17:12   7      6.93, please.

17:12   8      BY MR. DeFOSSE:

17:12   9      Q.     So we're still on January 12, 2021, on your timeline.

17:13   10     And I see here that there's an e-mail from Ahmad at the

17:13   11     top.    Do you see that?

17:13   12     A.     Yes.

17:13   13     Q.     Who is Ahmad?

17:13   14     A.     Ahmad was a former Qorvo employee and was supplying

17:13   15     information to Mr. Houlden.

17:13   16     Q.     Okay.    And in this case, he sent the message to

17:13   17     Mr. Gray?

17:13   18     A.     That's correct.

17:13   19     Q.     And who's Mr. Gray?

17:13   20     A.     He was a program manager at Akoustis.

17:13   21     Q.     And so on this date, Mr. Abdelmajid --

17:13   22     A.     Yes.

17:13   23     Q.     -- is sending Mr. Gray, it looks like, quite a number

17:13   24     of Qorvo documents; is that right?

17:13   25     A.     Yes.    All sorts of Qorvo documents.
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17:13   1                    MR. DeFOSSE:   If we could go to PDX-6.94

17:13   2      please.

17:13   3      BY MR. DeFOSSE:

17:13   4      Q.    What's the significance of the information on this

17:13   5      slide, Dr. Shanfield?

17:13   6      A.    This is the part that caught my attention.         A month

17:13   7      later, after he's gotten all these documents, Houlden goes

17:13   8      back to Abdelmadjid and gets more requests and gets more

17:14   9      Qorvo documents.

17:14   10     Q.    Okay.

17:14   11                   MR. DeFOSSE:   And if we can go to PDX-6.95.

17:14   12     BY MR. DeFOSSE:

17:14   13     Q.    What happened on September 14, 2021?

17:14   14     A.    Then once again, Mr. Houlden uses his personal e-mail

17:14   15     account -- or, I'm sorry -- Ahmad Abdelmadjid uses his

17:14   16     personal e-mail account to send documents that were Qorvo

17:14   17     documents to this address called Houlden House, and it's a

17:14   18     personal e-mail.

17:14   19     Q.    And did Mr. Houlden, then -- well, sorry.         Were those

17:14   20     documents then forwarded from that Houlden House account

17:14   21     to Mr. Houlden's Akoustis e-mail account?

17:14   22     A.    Yes.    So -- but what he did first is he eliminated

17:14   23     the mention of Abdelmadjid in this new e-mail that he sent

17:15   24     in to Akoustis.

17:15   25     Q.    And was there any significance to that --
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17:15   1      A.    Sure people saw the name Abdelmadjid, they'd

17:15   2      understand this is a former Qorvo employee sending

17:15   3      documents that are confidential documents, and that's

17:15   4      where it came from --

17:15   5                    MR. DeFOSSE:   Can we go to PDX-6.96, please.

17:15   6      BY MR. DeFOSSE:

17:15   7      Q.    What did you consider to be the significance of

17:15   8      Mr. Houlden's explanation of how those documents made it

17:15   9      from his personal account to his work account?

17:15   10     A.    Yeah.   This is something I caught during his

17:15   11     testimony that he said.      He's been told about the fact

17:15   12     that he forwarded this Mr. Abdelmadjid's e-mail with all

17:15   13     this Qorvo confidential information to his work address.

17:15   14     And he said, Well, somebody did and it might have been a

17:16   15     family member.

17:16   16           So he's realizing he really doesn't want to take

17:16   17     responsibility for that.      And, finally, he's asked, well,

17:16   18     who else in your house has access to this Houlden House

17:16   19     e-mail?

17:16   20           And he said, Oh, my wife and three kids.         I guess

17:16   21     they might have been the ones to forward it.

17:16   22     Q.    Whether it was Mr. Houlden himself or one of his

17:16   23     family members forwarding those documents to the Akoustis

17:16   24     account, do you have an opinion as to whether Mr. Houlden

17:16   25     either new or should have known that he didn't have
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17:16   1      authorization to have those documents?

17:16   2      A.    I think, as I said before, Mr. Houlden's been in the

17:16   3      business a long time.      He knows this is confidential

17:16   4      information, that he shouldn't have it in his possession,

17:16   5      and he shouldn't be sending it to Akoustis.

17:16   6            So I think it's clear he was aware.

17:16   7      Q.    Okay.

17:16   8                    MR. DeFOSSE:   If we go to PDX-6.97.

17:17   9      BY MR. DeFOSSE:

17:17   10     Q.    What did Mr. Houlden do after he received these Qorvo

17:17   11     documents at Akoustis?

17:17   12     A.    Then he took the documents and modified them.          He

17:17   13     eliminates the Qorvo logo again.       He gets the -- or

17:17   14     eliminates the confidentiality legend and from every

17:17   15     appearance is looking to use this document.

17:17   16                   MR. DeFOSSE:   If we go to PDX-6.98, please.

17:17   17     BY MR. DeFOSSE:

17:17   18     Q.    What did Mr. Houlden do after modifying the product

17:17   19     requirements documents?

17:17   20     A.    This is where now Mr. Houlden sends the modified

17:17   21     document to Jeff Shealy, Dr. Shealy.        And you can see it's

17:17   22     attached.     And he says, "I would start with this."

17:17   23     Meaning let's use this document, this Qorvo document for

17:18   24     this -- a product requirements document that we've been

17:18   25     talking about.
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17:18   1      Q.    So same question for Group 5 that I had for the first

17:18   2      four groups.      Are the trade secrets in Group 5 relevant

17:18   3      only if you are using an SMR-type filter?

17:18   4      A.    No.   A product requirements documents and these other

17:18   5      documents I've described, all of them are going to apply

17:18   6      whether it's an SMR or an FBAR filter.

17:18   7      Q.    All right.     Are the tests that are performed on

17:18   8      FBAR-type filters and SMR filters similar?

17:18   9      A.    They're almost identical.      In fact, they are

17:18   10     identical.    You're always looking for the same kind of

17:18   11     quality in the filter whether.       It's SMR or FBAR.      The

17:18   12     customers actually don't even care.        But they want to

17:18   13     measure those characteristics.       So the procedure is --

17:18   14     what parameters you measure, all of those are the same.

17:18   15     Q.    Would a company that's developing an FBAR-type filter

17:18   16     find value in the testing parameters and procedures and

17:19   17     specifications of a company that had developed an SMR-type

17:19   18     filter?

17:19   19     A.    Absolutely.     And it would be valuable because that

17:19   20     represents a lot of learning in the RF measurement

17:19   21     requirements.

17:19   22     Q.    Okay.   Let's move on to Trade Secret Group 6.

17:19   23                   MR. DeFOSSE:   And if we would go to 6.99,

17:19   24     please.

        25
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17:19   1      BY MR. DeFOSSE:

17:19   2      Q.    Dr. Shanfield, could you start, just at a high level,

17:19   3      of explaining what Trade Secret Group 6 is?

17:19   4      A.    Yeah.   Trade Secret Group 6 is having to do with

17:19   5      valuing reliability and meantime to failure for BAW filter

17:19   6      parts.

17:19   7      Q.    And just at a high level, what is reliability

17:19   8      testing?

17:19   9      A.    What that means is if you -- you get your Apple

17:19   10     phone, you don't want to have the filter fail after a few

17:19   11     years, and that's the reason you have to throw it away.

17:19   12           So these tests are designed to figure out how long

17:20   13     this particular design of filter is going to last, and you

17:20   14     can't wait two years or five years to see if it fails.

17:20   15     You have to accelerate it.       And the techniques for doing

17:20   16     that are very specific to the product, and they're closely

17:20   17     held and confidential because it takes time to figure out

17:20   18     how to do that.

17:20   19                   MR. DeFOSSE:   If we could go to PDX-6.100.

17:20   20     BY MR. DeFOSSE:

17:20   21     Q.    How many trade secrets are there in Group 6?

17:20   22     A.    I listed six.

17:20   23                   MR. DeFOSSE:   And if we go to PDX-6.10 -- 101.

17:20   24     I'm sorry.

        25
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17:20   1      BY MR. DeFOSSE:

17:20   2      Q.    How many documents did you analyze?

17:20   3      A.    In this one, I analyzed one document.

17:20   4      Q.    Okay.

17:20   5                    MR. DeFOSSE:   And if we go to PDX-6.102.

17:21   6      BY MR. DeFOSSE:

17:21   7      Q.    You identified your first trade secret on this slide.

17:21   8      Can you explain what that trade secret is?

17:21   9      A.    Yeah.   This is again, a treasure trove, as I would

17:21   10     call it as an engineer, of information about how you build

17:21   11     the testing system to ensure that you're testing it

17:21   12     properly.     It's got a schematic on the left.       And also on

17:21   13     the right, it's telling you how to power test filters.

17:21   14     That's a real art.      It sounds simply turn up the knob,

17:21   15     well, that won't work.

17:21   16           So power testing and what frequency and how you do it

17:21   17     and the root causes of the issues with that test that are

17:21   18     very subtle.      It's something Qorvo had learned over the

17:21   19     years, and it's reflected in these documents.

17:21   20                   MR. DeFOSSE:   If we could go to PDX-1 -- sorry.

17:21   21     6.103.

17:21   22     BY MR. DeFOSSE:

17:21   23     Q.    Trade Secret 6.2, what's that?

17:21   24     A.    This is showing the configuration of test stations

17:22   25     and equipment that Qorvo used, and it might not seem like
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17:22   1      there's that much information in the photograph, but there

17:22   2      actually is.

17:22   3             How you set up your reliability equipment, what it

17:22   4      looks like, how modular it is, what kind of connectors you

17:22   5      use.    All of that is revealed in these photographs.

17:22   6             And, again, like I said, the schematic is telling you

17:22   7      the configuration well.       So this is very useful

17:22   8      information.

17:22   9                     MR. DeFOSSE:   PDX-6.104.

17:22   10     BY MR. DeFOSSE:

17:22   11     Q.     You identified three trade secrets on this slide.

17:22   12     Can you explain what those are?

17:22   13     A.     Yeah.   Self-heating, like I think I said earlier,

17:22   14     that was something Qorvo discovered was an important

17:22   15     effect that even at low power, the little teensy BAW

17:22   16     filters heat up and shifts around the frequencies.           The

17:22   17     are -- you know, supposed to filter.        And if you don't

17:22   18     compensate for that in the designed and in the materials,

17:23   19     you won't have a filter that you can sell.

17:23   20            Not only that, it won't last as long either.         So this

17:23   21     is really an important aspect of whether you can make a

17:23   22     reliable filter.

17:23   23                    MR. DeFOSSE:   And if we could go to 6.105.

17:23   24     BY MR. DeFOSSE:

17:23   25     Q.     This is the last trade secret in this group.         What's
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17:23   1      this trade secret?

17:23   2      A.    This is a method that Qorvo had discovered, and

17:23   3      really, through hard work, had figured out how to predict

17:23   4      how long your filters are going to last in your phone, and

17:23   5      just, you know, thinking you're going to accelerate the

17:23   6      failure rate by a certain amount -- you don't know what

17:23   7      that -- how much more you're going to make it fail if it's

17:23   8      10 degrees hotter unless you do these kinds of

17:23   9      measurements.

17:23   10           But how you do these is actually hard to do.          You've

17:23   11     got to have a statistical quantity, a number, possibly

17:23   12     don't want to overdo it.      You don't know what temperature

17:24   13     to set it at to do the acceleration.        And this shows now

17:24   14     Qorvo's results on accelerating the failure in the BAW

17:24   15     filters.   This would be immediate use.

17:24   16     Q.    Did you consider whether the trade secrets in Trade

17:24   17     Secret Group 6 were generally known in the industry?

17:24   18     A.    Yes, I did.

17:24   19     Q.    And what was your conclusion on that?

17:24   20     A.    No, they're not.     And it was apparent to me in what I

17:24   21     know and am familiar with about reliability testing.           It

17:24   22     was particular to BAW filters.       That was not made public.

17:24   23     It was the result of a lot of work, and a lot of money to

17:24   24     get this kind of data.

17:24   25     Q.    And what would be the economic value of the trade
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17:24   1      secrets in Group 6?

17:24   2      A.     Well, if a competitor were to get ahold of this,

17:24   3      well, first of all they'd skip over all the work that goes

17:24   4      into evaluating how their filters run -- how their filter

17:24   5      should test, I should say, and they also have -- they can

17:25   6      indicate their knowledgeability by talking about the test

17:25   7      they are implementing to the customers, who will also know

17:25   8      something about this.

17:25   9             And if they see now this start-up company seems to

17:25   10     know what they're doing in reliability, that's another

17:25   11     valuable commodity to be able to present to customers.

17:25   12     Q.     I'm going to ask you the question I've asked for

17:25   13     every group so far.

17:25   14            Do the trade secrets in Trade Secret Group 6 depend

17:25   15     on whether you are using any particular type of resonator?

17:25   16     A.     No, they do not.    Not at all.

17:25   17     Q.     Okay.   And why is that?

17:25   18     A.     Because the way it's mounted, the way the resonators

17:25   19     are mounted, whether they're mounted over an air gap or in

17:25   20     a Bragg reflector, it doesn't affect how reliable they

17:25   21     are.    That's not where the failure occur.       They all occur

17:25   22     in where the power is flowing.       And that's in the bulk and

17:26   23     in the electrodes.     So it's going to have the exact same

17:26   24     behavior in either case.

17:26   25     Q.     Could you use the same reliability testing methods
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17:26   1      and procedures to test a filter that's made with FBAR and

17:26   2      resonators and a filter that's made with SMR resonators?

17:26   3      A.     Yes, you would.    You would account for the internal

17:26   4      temperature that might be different in one or the other,

17:26   5      but that's also reflected in these documents is how to do

17:26   6      that.    So you would do it the same way.

17:26   7                   MR. DeFOSSE:    Okay.   Your Honor, I'm going to

17:26   8      go into a timeline.

17:26   9                   THE COURT:    It's actually almost 5:30, so we

17:26   10     will stop for today.

17:26   11                  Now, the plan, we'll talk with counsel, is to

17:26   12     try to let us go home closer to 5:00 or 5:15 tomorrow

17:26   13     because it's your weekend.      In fact, a couple of people

17:26   14     who are staying overnight might still -- we've got at

17:27   15     least one.    I know I have Seat Number 1.        I thought I had

17:27   16     two.    I do have two.    I feel better about that.      And that

17:27   17     was to try to give you a little better weekend, a little

17:27   18     better travel.     Although, I must admit sometimes you might

17:27   19     as well leave later or traffic isn't very good.          But we're

17:27   20     going to try to do that.      It's not a promise, but we will

17:27   21     try to.

17:27   22                  Okay.   Now, all of you know that you will come

17:27   23     in.    We will start here at 8:30.     I will start here at

17:27   24     8:15.    I'll be here very early, and so I'll -- we'll be

17:27   25     ready to go at 8:30.      We have a full day tomorrow.       We'll
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17:27   1      look at the time really hard.        I've got a plan.     We have

17:27   2      to get the case concluded so that you get the case next

17:27   3      week.

17:27   4                   I'm not exactly sure the ending points there.

17:27   5      I can't tell.       It's impossible.   So I just wanted to keep

17:28   6      you up-to-date because you are the ones who are having to

17:28   7      do your civic duty, and we appreciate it.

17:28   8                   Now, don't discuss the case amongst yourselves.

17:28   9      Don't let anybody talk with you about it.          We've got a

17:28   10     substantial way to go, and you must continue to keep an

17:28   11     open mind.

17:28   12                  So we will see all of you in here at 8:30.           I

17:28   13     know you've been coming in, some as early as -- one guy's

17:28   14     here early.       Anyway, some earlier than others.      But we

17:28   15     will start at 8:30, so everybody try to be here a little

17:28   16     early, probably 8:15 at the latest.         Thank you all very

17:28   17     much.   We will see you.      Thank you.

17:28   18           (The jury exits the courtroom at 5:28 p.m.)

17:28   19                  THE COURT:     All right.    We are going to let our

17:29   20     witness step down.       And, of course, you know the benefit

17:29   21     of the rule, which is that you can't talk about the

17:29   22     testimony you've already given.        I know it's the plan that

17:29   23     they move on.       I understand that.

17:29   24                  But if someone wants to go back about something

17:29   25     else, the answer is -- and they know that.          They are not
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17:29   1      supposed to do that.      And don't talk with them about the

17:29   2      schedule about your testimony.       We'll get your testimony

17:29   3      wrapped up and get as far as we can.

17:29   4                   THE WITNESS:    Okay.

17:29   5                   THE COURT:    I'm sure we will see you by 8:15.

17:29   6                   THE WITNESS:    Yes.

17:29   7                   THE COURT:    We'll get started here absolutely

17:29   8      no later than 8:30, but if they are all here.          We will

17:29   9      start at 8:25.

17:29   10                  THE WITNESS:    That's fine with me.

17:29   11                  THE COURT:    Thank you.

17:29   12           (The witness exits the courtroom at 5:29 p.m.)

17:29   13                  THE COURT:    Everybody be seated.      For the

17:29   14     moment.    We will redo your timeline.      Your timeline keeps

17:29   15     slipping a little bit.      I'm just noticing; I'm not -- it's

17:29   16     not a criticism.      Everybody knows that we've got

17:29   17     limitations.      We will do our calculation again this

17:30   18     evening.    And everybody is well aware of there is a lot to

17:30   19     do, and there's a precise period of time, and we all

17:30   20     understand that there won't be extensions on the time, so

17:30   21     everybody is well aware of that and have to plan

17:30   22     accordingly.

17:30   23                  Is there anything else?      I don't think there's

17:30   24     anything else we need to take care of at this time.            Well,

17:30   25     from the defense, we do need -- from the defense, we do
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17:30   1      need to know the sequence of depositions because there may

17:30   2      be one that's being dropped -- I think.           I'm not sure --

17:30   3      in the depositions from the defense.        And so I think; I'm

17:30   4      not sure.    I can't tell.

17:30   5                   So what is the situation on the sequence of

17:30   6      depositions.      We will get those ready and enter the

17:30   7      determinations on any objections.        There's not that many,

17:30   8      at least on one.      On one, there are a lot more objections.

17:30   9                   MR. DeFOSSE:    Your Honor, Mr. Masters just

17:31   10     whispered in my ear that it's possible that we're going to

17:31   11     finish our witnesses tomorrow.       And so the case will be to

17:31   12     the other side.

17:31   13                  THE COURT:    That would be the ideal situation.

17:31   14     I will say this, let's say we finish at, well, it depends.

17:31   15     We almost never give up any significant period of time.

17:31   16     If we finished at 5:00, we would stop.        If we finished at

17:31   17     4:15, just so the defense will know, we will not stop.

17:31   18                  I do understand that there is sometimes motion

17:31   19     practice in between, and I'm aware of that.           But it would

17:31   20     be -- defense -- what you're saying is defense may want to

17:31   21     have one witness ready to go, and I understand that.

17:31   22                  MR. DeFOSSE:    Obviously.

17:31   23                  THE COURT:    Much appreciated, and, of course,

17:31   24     we will see how that goes.

17:31   25                  MR. ELKINS:    We have one deposition.
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17:31   1                   THE COURT:    Right.

17:31   2                   Just one?

17:31   3                   MR. ELKINS:    Just one.

17:31   4                   THE COURT:    I want to make sure which one it

17:31   5      is.

17:31   6                   MR. ELKINS:    Ms. Giovanni, Mia Giovanni.

17:32   7                   THE COURT:    That's fine.    That's fine.     We

17:32   8      wanted to make sure because I thought something had been

17:32   9      dropped already.     I thought you had another one listed.

17:32   10     Maybe not.    That's what we wanted to know.       Okay.    Yes,

17:32   11     sir.

17:32   12                  MR. ELKINS:    And that was all I came up to tell

17:32   13     you.

17:32   14                  THE COURT:    That's all I need to know?

17:32   15                  MR. ELKINS:    Yes, Your Honor.      I will confer

17:32   16     with Mr. DeFosse and Mr. Masters to get a timeline to see

17:32   17     if actually there case will finish tomorrow.

17:32   18                  THE COURT:    I've got it sketched out too.         And

17:32   19     that would be a lot to cover, but I think what I'm hearing

17:32   20     from Mr. DeFosse is that he expects to finish this

17:32   21     witness's testimony within the first 60 minutes of

17:32   22     resuming.

17:32   23                  MR. DeFOSSE:    Yes.

17:32   24                  THE COURT:    And I think that's probably about

17:32   25     right.   May be a little generous; is that about right?
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17:32   1                   MR. ELKINS:    Yeah.    My concern is I think

17:32   2      you've got 90 slides left if you use them all.

17:33   3                   MR. DeFOSSE:    There's going to have to be some

17:33   4      revision on my side, Your Honor, but based on where I'm at

17:33   5      now, I would expect to be done within 60 minutes, yes.

17:33   6                   THE COURT:    Okay.    Right and everybody

17:33   7      understands what we're dealing with.        And that's all we

17:33   8      can do.   And, obviously, we look forward to seeing you at

17:33   9      8:15.   I was told it's all right by people who count.           And

17:33   10     we will take up anything we need to.        Hopefully -- well,

17:33   11     we'll just see what we can do.        Thanks very much, and have

17:33   12     a good evening.

        13                   (The proceedings concluded at 5:33 p.m.)

        14

        15

        16                       CERTIFICATE OF COURT REPORTER

        17

        18           I hereby certify that the foregoing is a true and

        19     accurate transcript from my stenographic notes in the

        20     proceeding.

        21
                                                  /s/ Bonnie R. Archer
        22                                        Bonnie R. Archer, RPR, FCRR
                                                  Official Court Reporter
        23                                        U.S. District Court

        24

        25
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                         EXHIBIT K
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1                    IN THE UNITED STATES DISTRICT COURT

2                        FOR THE DISTRICT OF DELAWARE

3    QORVO, INC.,                       )
                                        )
4               Plaintiff,              )
                                        )   C.A. No. 21-1417-JPM
5      v.                               )   Volume 5
                                        )
6    AKOUSTIS TECHNOLOGIES, INC.        )
     AND AKOUSTIS, INC.,                )
7                                       )
                Defendants.             )
8                                       )

9

10

11                           Thursday, May 10, 2024
                                    8:16 a.m.
12                                 Jury Trial

13

14                              844 King Street
                              Wilmington, Delaware
15

16     BEFORE: THE HONORABLE JON PHIPPS MCCALLA
       United States District Court Judge
17

18

19     APPEARANCES:

20
                     MORRIS NICHOLS ARSHT & TUNNELL
21                   BY: JEREMY A. TIGAN, ESQ.

22                   -and-

23

24

25     APPEARANCES CONTINUED:
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                  1
                                       SHEPPARD, MULLIN, RICHTER & HAMPTON
                  2                    BY: ROBERT M. MASTERS, ESQ.
                                       BY: JONATHAN R. DEFOSSE, ESQ.
                  3                    BY: ZACHARY ALPER, ESQ.

                  4                                Counsel for the Plaintiff

                  5

                  6

                  7

                  8                    BAYARD, P.A.
                                       BY: STEPHEN B. BRAUERMAN, ESQ.
                  9
                                       -and-
                  10
                                       SQUIRE PATTON BOGGS
                  11                   BY: DAVID S. ELKINS, ESQ.
                                       BY: RONALD S. LEMIEUX, ESQ.
                  12                   BY: VICTORIA Q. SMITH, ESQ.
                                                 Counsel for the Defendants
                  13

                  14                            _ _ _ _ _ _ _ _ _ _

                  15

                  16                           P R O C E E D I N G S

                  17

                  18           (Proceedings commenced in the courtroom beginning at

                  19     8:16 a.m.)

0 8 : 1 6 : 2 0   20                  THE COURT:    You may be seated.     Couple things

0 8 : 1 6 : 2 8   21     we ought to go over.      You should have your times, which

0 8 : 1 6 : 3 0   22     you already know.     You had those earlier.      Anticipate that

0 8 : 1 6 : 3 6   23     since we might conclude today, that any motion by the

0 8 : 1 6 : 4 1   24     defense may be better presented in writing, as you may

0 8 : 1 6 : 4 5   25     have a break.     I'm sure you prefer that rather than having
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0 8 : 1 6 : 5 1   1      to wing it, which is never the most desirable way to do

0 8 : 1 6 : 5 5   2      it.

0 8 : 1 6 : 5 5   3                   So if that does occur, if we're really close to

0 8 : 1 7 : 0 2   4      concluding plaintiff's case, I would think that's what we

0 8 : 1 7 : 0 5   5      would do.

0 8 : 1 7 : 0 6   6                   Now, time on that -- since you're getting more

0 8 : 1 7 : 0 7   7      time, I don't want to invite more stuff, particularly.            We

0 8 : 1 7 : 1 1   8      would usually expect that -- if somebody is working on

0 8 : 1 7 : 1 7   9      that already, and that we would get the motion at 3:00 on

0 8 : 1 7 : 2 9   10     Saturday.

0 8 : 1 7 : 3 1   11                  You've got to recognize that, otherwise, you

0 8 : 1 7 : 3 3   12     would be giving it at side bar, and that's just not

0 8 : 1 7 : 3 6   13     effective, perhaps.      And then we would get the reply, at

0 8 : 1 7 : 4 1   14     least initial reply from the plaintiff by 12 noon on

0 8 : 1 7 : 4 9   15     Sunday.    That's not a great -- we said 3:00, 3:00 on

0 8 : 1 7 : 5 3   16     Sunday.

0 8 : 1 7 : 5 4   17                  And recognizing that those motions are often

0 8 : 1 8 : 0 0   18     oral and, therefore, this is somewhat of an advantage to

0 8 : 1 8 : 0 5   19     both parties to be able to reduce it to writing.           If you

0 8 : 1 8 : 0 8   20     say, I want to make oral and I don't want to do it in

0 8 : 1 8 : 1 3   21     writing, I would certainly let you do that.          I just don't

0 8 : 1 8 : 1 5   22     think it's the most efficient way to do it.          So that's

0 8 : 1 8 : 1 9   23     what we're thinking about.

0 8 : 1 8 : 2 0   24                  I wanted to tell you now so that if someone on

0 8 : 1 8 : 2 2   25     the defense particularly is working on that, that they
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0 8 : 1 8 : 2 7   1      know probably how we are going to proceed.          Any problem

0 8 : 1 8 : 3 1   2      with that?    Let me see if there's any problem at all.

0 8 : 1 8 : 3 6   3      Sounds like it's an advantage, actually.          I think it is.

0 8 : 1 8 : 4 1   4                   MR. LEMIEUX:     I don't think it's an advantage,

0 8 : 1 8 : 4 3   5      but it's not a problem, Your Honor.        We can certainly

0 8 : 1 8 : 4 4   6      comply with that.

0 8 : 1 8 : 5 3   7                   THE COURT:    All right.    And then you can get

0 8 : 1 8 : 5 3   8      citations a little more precise.

0 8 : 1 8 : 5 6   9                   And from the plaintiff, any problem with that?

0 8 : 1 8 : 5 7   10     I know it's a little tough, but sometimes it's a more

0 8 : 1 8 : 5 9   11     efficient way to handle it.       And, actually, it doesn't

0 8 : 1 9 : 0 1   12     take away time from the parties.        At least one party may

0 8 : 1 9 : 0 6   13     be concerned about it.

0 8 : 1 9 : 0 9   14                  MR. DeFOSSE:     Yeah, I appreciate that, Your

0 8 : 1 9 : 1 1   15     Honor.    No problem.

0 8 : 1 9 : 1 2   16                  THE COURT:    I will mention one thing, and that

0 8 : 1 9 : 1 3   17     is if the plaintiff, at the conclusion of the day,

0 8 : 1 9 : 2 2   18     contemplates the dismissal of any claim in the case, I

0 8 : 1 9 : 2 7   19     think that Mr. Lemieux would like to know that, as would

0 8 : 1 9 : 3 1   20     everybody else.     And we've had that happen.       It's not

0 8 : 1 9 : 3 6   21     unusual.    I don't want anybody who is a layperson out

0 8 : 1 9 : 3 8   22     there to think that's odd; it's not.         I'm not saying it

0 8 : 1 9 : 4 3   23     has to happen.     I'm just saying I know that defense

0 8 : 1 9 : 4 7   24     counsel would appreciate it, the Court would appreciate

0 8 : 1 9 : 5 1   25     it, and probably everybody else would if something is
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0 8 : 1 9 : 5 5   1      going to be taken off the table.        And I'm sure that you're

0 8 : 1 9 : 5 7   2      reviewing everything, that's normal, and seeing where you

0 8 : 1 9 : 5 9   3      are.    And Mr. Masters has got it all right there,

0 8 : 2 0 : 0 4   4      checking.

0 8 : 2 0 : 0 7   5                   MR. MASTERS:     Good morning, Your Honor.      Yes.

0 8 : 2 0 : 0 8   6      That's very clear.

0 8 : 2 0 : 0 9   7                   THE COURT:    Okay.     And I don't know about you,

0 8 : 2 0 : 1 0   8      I take it you're just figuring out where you're going at

0 8 : 2 0 : 1 3   9      the end of the case.      That's not unusual.

0 8 : 2 0 : 1 6   10                  MR. MASTERS:     Yep.

0 8 : 2 0 : 1 7   11                  THE COURT:    You may not be abandoning anything.

0 8 : 2 0 : 1 9   12     Sometimes people do.

0 8 : 2 0 : 2 0   13                  You have been in cases where they have done

0 8 : 2 0 : 2 2   14     that, right?

0 8 : 2 0 : 2 2   15                  MR. MASTERS:     Yes.   Absolutely.

0 8 : 2 0 : 2 4   16                  THE COURT:    Okay.     Those are two things that we

0 8 : 2 0 : 2 6   17     needed to cover.      I need to make sure -- the idea is also

0 8 : 2 1 : 1 3   18     that -- I think you all have transcript copies at this

0 8 : 2 1 : 1 8   19     point.    Am I correct or incorrect in that regard?

0 8 : 2 1 : 2 4   20                  Mr. DeFosse, is that right or wrong?

0 8 : 2 1 : 2 6   21                  MR. DeFOSSE:     I believe we do have at least

0 8 : 2 1 : 2 7   22     roughs from each day.

0 8 : 2 1 : 2 9   23                  THE COURT:    Okay.     Mr. Lemieux, you do, too.

0 8 : 2 1 : 3 1   24     Okay.

0 8 : 2 1 : 3 6   25                  MR. MASTERS:     Your Honor, I have the expert
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0 8 : 2 1 : 3 7   1      reports for the remaining experts on the plaintiff's side.

0 8 : 2 1 : 4 0   2      May I approach?

0 8 : 2 1 : 4 2   3                   THE COURT:    Yes, sir.    I have been following

0 8 : 2 1 : 4 3   4      the other report to a significant degree.            Thank you very

0 8 : 2 1 : 4 7   5      much.    All right.

0 8 : 2 1 : 5 0   6                   I will execute those.      We did have one thing

0 8 : 2 1 : 5 4   7      come up, which was I think we had an undercount, perhaps,

0 8 : 2 1 : 5 8   8      on the exhibits.      Just confirming we didn't get any

0 8 : 2 2 : 0 5   9      pushback on this at all.

0 8 : 2 2 : 0 6   10                  So on Houlden, we added an additional set,

0 8 : 2 2 : 1 3   11     which I think was 110, A, B, C, D, where there apparently

0 8 : 2 2 : 2 6   12     was a little bit of a miscount.        And therefore, we needed

0 8 : 2 2 : 3 1   13     to have those on the Houlden materials.

0 8 : 2 2 : 3 5   14                  I want to make sure.      Everybody is clear on

0 8 : 2 2 : 3 7   15     this?    Not sure.

0 8 : 2 2 : 4 8   16                  MR. DeFOSSE:     Your Honor, we do -- yes, we

0 8 : 2 2 : 4 9   17     agree with that, that there are additional ones for

0 8 : 2 2 : 5 3   18     Houlden.    I have the PTX numbers, if that assists the

0 8 : 2 2 : 5 6   19     Court.

0 8 : 2 2 : 5 7   20                  THE COURT:    Right.   I think you're talking

0 8 : 2 2 : 5 7   21     about PTX-0122, PTX-0132, PTX-0124, and PTX-0125.             That's

0 8 : 2 3 : 1 2   22     what we had, and we made them 110 A, B, C, D, and

0 8 : 2 3 : 2 1   23     indicated that, administratively marked late.             Each is a

0 8 : 2 3 : 2 7   24     separate Houlden exhibit.

0 8 : 2 3 : 2 9   25                  That's PTX-0123 would be B.          Okay.   Exactly.    I
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0 8 : 2 3 : 4 7   1      think we've got that straightened out.             Just as long as

0 8 : 2 3 : 5 1   2      they appear sequentially and people know what they are.

0 8 : 2 3 : 5 4   3                   MR. DeFOSSE:      Okay.   Your Honor, we also have

0 8 : 2 3 : 5 5   4      three additional ones on our list.

0 8 : 2 3 : 5 8   5                   THE COURT:     Did you have PTX-0079, PTX-0093,

0 8 : 2 4 : 0 1   6      and PTX-0108.      They're already marked.         It was PTX-0079,

0 8 : 2 4 : 1 2   7      PTX-0093, and PTX-0108.        I believe those were previously

0 8 : 2 4 : 2 1   8      marked.    Okay.    We will recheck that.      If not, we can

0 8 : 2 4 : 2 5   9      add -- we can balance it out.          You can recheck, too.      We

0 8 : 2 4 : 3 1   10     rechecked once.      We will check again.

0 8 : 2 4 : 3 3   11                  MR. DeFOSSE:      Okay.   Thank you, Your Honor.

0 8 : 2 4 : 3 5   12                  THE COURT:     Everybody can check.        We've got

0 8 : 2 4 : 3 6   13     time over the weekend.

0 8 : 2 4 : 3 9   14                  I think that's it.        I know the court reporter

0 8 : 2 4 : 4 1   15     wishes we had a mic that's a little different, but we're

0 8 : 2 4 : 4 5   16     okay.

0 8 : 2 4 : 4 5   17                  All right.     Is everybody ready to proceed

0 8 : 2 4 : 4 8   18     today?

0 8 : 2 4 : 4 9   19                  MR. DeFOSSE:      We are, Your Honor.

0 8 : 2 4 : 5 0   20                  THE COURT:     You are still looking at

0 8 : 2 4 : 5 1   21     55 minutes?

0 8 : 2 4 : 5 4   22                  MR. DeFOSSE:      I hope so.   But if Your Honor

0 8 : 2 4 : 5 6   23     won't hold me to that, I'd appreciate it.

0 8 : 2 5 : 0 0   24                  THE COURT:     That's fine.    We're watching your

0 8 : 2 5 : 0 1   25     time, and we know you're watching your time.             I was
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0 8 : 2 5 : 0 4   1      saying, I assume it's under an hour.

0 8 : 2 5 : 0 8   2                   MR. DeFOSSE:     I worked on it last night.      I'm

0 8 : 2 5 : 1 1   3      hoping I got it down to an hour.

0 8 : 2 5 : 1 3   4                   THE COURT:    We understand.     We are going to

0 8 : 2 5 : 1 4   5      have the witness come back around to the witness stand.

0 8 : 2 5 : 2 1   6      Make sure you have whatever you need with you at the

0 8 : 2 5 : 2 5   7      witness stand, including water; that's fine.

0 8 : 2 5 : 3 1   8                   Okay.    We may start five minutes early.

0 8 : 2 5 : 3 9   9                   Is the plaintiff ready to proceed?

0 8 : 2 5 : 4 1   10                  MR. DeFOSSE:     We are, Your Honor.

0 8 : 2 5 : 4 3   11                  THE COURT:    Defense already is.      We're good.

0 8 : 2 8 : 0 4   12                  Everyone can be seated, and counsel may

0 8 : 2 8 : 0 6   13     proceed.

0 8 : 2 8 : 0 8   14                  MR. DeFOSSE:     Thank you, Your Honor.

0 8 : 2 8 : 0 8   15                  STANLEY SHANFIELD, after having been previously

0 8 : 2 8 : 0 8   16     duly sworn or affirmed, was questioned and testified as

0 8 : 2 8 : 0 8   17     follows:

0 8 : 2 8 : 0 8   18                             DIRECT EXAMINATION

0 8 : 2 8 : 0 8   19     BY MR. DeFOSSE:

0 8 : 2 8 : 0 9   20     Q.    Good morning Dr. Shanfield.

0 8 : 2 8 : 1 1   21     A.    Good morning.

0 8 : 2 8 : 1 2   22     Q.    I'd like to pick up today where we left off

0 8 : 2 8 : 1 5   23     yesterday.

0 8 : 2 8 : 1 5   24                  MR. DeFOSSE:     If we could pull up PDX-6.100.

                  25
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0 8 : 2 8 : 2 0   1      BY MR. DeFOSSE:

0 8 : 2 8 : 2 0   2      Q.    I believe yesterday when we left off, we were talking

0 8 : 2 8 : 2 4   3      about Trade Secret Group 6; is that right?

0 8 : 2 8 : 2 6   4      A.    That's correct, yeah.

0 8 : 2 8 : 4 0   5                    MR. DeFOSSE:    6.100, please.

0 8 : 2 8 : 4 2   6      BY MR. DeFOSSE:

0 8 : 2 8 : 4 5   7      Q.    Dr. Shanfield, could you just remind the jury what

0 8 : 2 8 : 4 8   8      Group 6 is, please?

0 8 : 2 8 : 5 0   9      A.    Group 6 is the Qorvo systems for testing reliability

0 8 : 2 8 : 5 4   10     in meantime to failure.

0 8 : 2 8 : 5 6   11     Q.    And how many trade secrets were there in this group?

0 8 : 2 8 : 5 8   12     A.    A total of six.

0 8 : 2 9 : 0 0   13                   MR. DeFOSSE:    If we could go to 6.101, please.

0 8 : 2 9 : 0 4   14     BY MR. DeFOSSE:

0 8 : 2 9 : 0 4   15     Q.    And is this the document that is at issue in Trade

0 8 : 2 9 : 0 7   16     Secret Group 6?

0 8 : 2 9 : 0 8   17     A.    Yes, it is.

0 8 : 2 9 : 1 0   18     Q.    Okay.   So I think yesterday we already went through

0 8 : 2 9 : 1 2   19     and identified the specific trade secrets in that document

0 8 : 2 9 : 1 5   20     I'd like to move now to your opinions concerning whether

0 8 : 2 9 : 2 0   21     Akoustis obtained and used those trade secrets.           Okay?

0 8 : 2 9 : 2 3   22     A.    Sure.

0 8 : 2 9 : 2 4   23     Q.    Did you have an opportunity to consider whether

0 8 : 2 9 : 2 7   24     Akoustis did obtain and use the trade secrets in Group 6?

0 8 : 2 9 : 3 0   25     A.    Yes, I did.
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0 8 : 2 9 : 3 2   1                    MR. DeFOSSE:    If we could go to 6.106, please.

0 8 : 2 9 : 3 7   2      BY MR. DeFOSSE:

0 8 : 2 9 : 3 7   3      Q.    Is this another one of your timelines?

0 8 : 2 9 : 4 0   4      A.    Yes, that's right.

0 8 : 2 9 : 4 1   5      Q.    Okay.   I'd like to, as in the past, go through the

0 8 : 2 9 : 4 5   6      events in this timeline.

0 8 : 2 9 : 4 7   7            If we could start with August 15, 2018, at 2:34 p.m.

0 8 : 2 9 : 5 5   8                    MR. DeFOSSE:    Could we go to PDX-6.107, please.

0 8 : 3 0 : 0 0   9      BY MR. DeFOSSE:

0 8 : 3 0 : 0 0   10     Q.    Can you explain to the jury the significance of this

0 8 : 3 0 : 0 4   11     date and time?

0 8 : 3 0 : 0 6   12     A.    Yeah.   This was the date that a former Akoustis -- a

0 8 : 3 0 : 1 1   13     former Qorvo employee, rather, an Akoustis employee, John

0 8 : 3 0 : 1 4   14     Myrick, sends this document over to Mr. Houlden at

0 8 : 3 0 : 2 4   15     Akoustis.

0 8 : 3 0 : 2 5   16                   MR. DeFOSSE:    If we could go to 6.108, please.

0 8 : 3 0 : 2 9   17     BY MR. DeFOSSE:

0 8 : 3 0 : 3 0   18     Q.    We are now August 25, 2018, at 3:00 p.m.; is that

0 8 : 3 0 : 3 3   19     right?

0 8 : 3 0 : 3 4   20     A.    That's right, yes.

0 8 : 3 0 : 3 5   21     Q.    Approximately 26 minutes later, what happened?

0 8 : 3 0 : 4 0   22     A.    Mr. Houlden then sends the technical presentation to

0 8 : 3 0 : 4 4   23     the person at Akoustis who's responsible for reliability

0 8 : 3 0 : 4 8   24     testing.    That's Joel Morgan.

0 8 : 3 0 : 5 1   25                   MR. DeFOSSE:    And then if we can go to
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0 8 : 3 0 : 5 4   1      PDX-6.109, please.

0 8 : 3 1 : 0 0   2      BY MR. DeFOSSE:

0 8 : 3 1 : 0 0   3      Q.    We're now at 3:10 p.m. on that the same day.          What

0 8 : 3 1 : 0 1   4      happened, then?

0 8 : 3 1 : 0 2   5      A.    Mr. Houlden also sends the Qorvo confidential

0 8 : 3 1 : 0 6   6      document to the director of business systems, Pat Lewis,

0 8 : 3 1 : 1 1   7      and he writes that "Page 4 and 5 should look very

0 8 : 3 1 : 1 4   8      familiar."

0 8 : 3 1 : 1 5   9            So Mr. Lewis would be familiar with that; he's a

0 8 : 3 1 : 1 8   10     former Qorvo employee.

0 8 : 3 1 : 2 0   11                  MR. DeFOSSE:     If we next at 6.110.

0 8 : 3 1 : 2 7   12     BY MR. DeFOSSE:

0 8 : 3 1 : 2 7   13     Q.    We're on August 16 now, the next day.         What happened?

0 8 : 3 1 : 3 2   14     A.    Here's where Mr. Houlden then sends that same

0 8 : 3 1 : 3 5   15     confidential document filled with lots of information

0 8 : 3 1 : 3 9   16     about reliability testing to Dave Aichele, the VP of

0 8 : 3 1 : 4 4   17     business development at Akoustis.

0 8 : 3 1 : 4 7   18                  MR. DeFOSSE:     And if we could pull up 6.111,

0 8 : 3 1 : 5 1   19     please.

0 8 : 3 1 : 5 3   20     BY MR. DeFOSSE:

0 8 : 3 1 : 5 3   21     Q.    Dr. Shanfield, how do you know that Akoustis was

0 8 : 3 1 : 5 6   22     using the Qorvo trade secrets in Group 6?

0 8 : 3 2 : 0 2   23     A.    This is an important e-mail in that Joel Morgan, the

0 8 : 3 2 : 0 8   24     VP of quality, is telling Rohan Houlden that the primary

0 8 : 3 2 : 1 6   25     document he's been referencing regarding the methodology
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0 8 : 3 2 : 2 0   1      for three temperature testing and meantime to failure is

0 8 : 3 2 : 2 4   2      the confidential Qorvo document explicitly saying this is

0 8 : 3 2 : 2 8   3      the primary document I've been referencing.

0 8 : 3 2 : 3 2   4             So he's using the confidential information in doing

0 8 : 3 2 : 3 6   5      his reliability evaluation.

0 8 : 3 2 : 3 8   6      Q.     Can you just, for the jury, at a high level, what is

0 8 : 3 2 : 4 1   7      three temperature testing?

0 8 : 3 2 : 4 3   8      A.     That's -- there's a technique for trying to predict

0 8 : 3 2 : 4 8   9      the life of a part and since you can't wait 20 years to

0 8 : 3 2 : 5 1   10     see if it fails, you to have speed it up by heating it up.

0 8 : 3 2 : 5 5   11     But what temperature you do that at, what the statistics

0 8 : 3 2 : 5 8   12     are, how many do you heat up at that temperature, and what

0 8 : 3 3 : 0 2   13     different temperatures do you use, all of that is

0 8 : 3 3 : 0 5   14     something that Qorvo had worked out by experience through

0 8 : 3 3 : 0 9   15     the years.    It's particular to BAW filters.        It doesn't

0 8 : 3 3 : 1 5   16     matter whether SMR or FBAR.       The effects work the same

0 8 : 3 3 : 2 0   17     way.    So they were making use of Qorvo's information about

0 8 : 3 3 : 2 4   18     how to do that evaluation.

0 8 : 3 3 : 2 6   19     Q.     And is three temperature testing and meantime to

0 8 : 3 3 : 2 9   20     failure testing what is disclosed in the confidential

0 8 : 3 3 : 3 3   21     Qorvo presentation that Akoustis was circulating?

0 8 : 3 3 : 3 5   22     A.     Yes, that's exactly what's in there.

0 8 : 3 3 : 3 9   23                  MR. DeFOSSE:     Your Honor, may I approach?

0 8 : 3 3 : 4 1   24                  THE COURT:    You may.

                  25
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0 8 : 3 3 : 5 8   1      BY MR. DeFOSSE:

0 8 : 3 4 : 0 0   2      Q.    Dr. Shanfield, I've handed you what's been marked for

0 8 : 3 4 : 0 2   3      identification as PTX-1450.       Would you agree with me that

0 8 : 3 4 : 0 8   4      this appears to be an e-mail from Joel Morgan, the VP of

0 8 : 3 4 : 1 3   5      quality, at Akoustis to Paul Makowenskyj?

0 8 : 3 4 : 1 7   6      A.    Yes, that's what it is.

0 8 : 3 4 : 1 8   7      Q.    And is this one of the documents that you considered

0 8 : 3 4 : 1 9   8      in forming your analysis concerning Trade Secret Group 6.

0 8 : 3 4 : 2 4   9      A.    Yes, it is.

0 8 : 3 4 : 2 4   10                   MR. DeFOSSE:    Could we please pull up

0 8 : 3 4 : 2 5   11     PDX-6.112.

0 8 : 3 4 : 2 8   12     BY MR. DeFOSSE:

0 8 : 3 4 : 3 0   13     Q.    Did Akoustis continue to use Qorvo's confidential

0 8 : 3 4 : 3 4   14     reliability testing after Mr. Morgan sent his e-mail that

0 8 : 3 4 : 3 8   15     we just saw in April 2019?

0 8 : 3 4 : 4 1   16     A.    Yes, he did.

0 8 : 3 4 : 4 1   17     Q.    Okay.   And what is the significance of the

0 8 : 3 4 : 4 4   18     information that you've depicted on Slide 112?

0 8 : 3 4 : 4 8   19     A.    This is another example where Mr. Morgan is sending

0 8 : 3 4 : 5 2   20     the same packet of Qorvo confidential information to Paul

0 8 : 3 4 : 5 8   21     Makowenskyj, and he's the quality engineering manager.            So

0 8 : 3 5 : 0 4   22     the point that he's the quality engineering manager means

0 8 : 3 5 : 0 8   23     he's -- clearly from the VP of quality is intending to

0 8 : 3 5 : 1 4   24     have him make use of this document.

0 8 : 3 5 : 1 7   25     Q.    Just for the jury's perspective or information here,
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0 8 : 3 5 : 2 0   1      the VP of quality and quality engineer, are those the

0 8 : 3 5 : 2 5   2      folks at a company that would be doing the three

0 8 : 3 5 : 2 7   3      temperature testing and meantime to failure testing?

0 8 : 3 5 : 3 0   4      A.    Yes.   Good point.    Exactly.    It would.

0 8 : 3 5 : 3 2   5                   MR. DeFOSSE:     Your Honor, plaintiff would offer

0 8 : 3 5 : 3 4   6      into admission PTX-1450.

0 8 : 3 5 : 3 9   7                   THE COURT:    Marked and received as 226.

0 8 : 3 5 : 4 3   8                   (Trial Exhibit No. 226 was admitted into

0 8 : 3 5 : 4 3   9      evidence.)

0 8 : 3 5 : 4 4   10     BY MR. DeFOSSE:

0 8 : 3 5 : 4 8   11     Q.    Dr. Shanfield, if we take a step back -- I'm sorry.

0 8 : 3 5 : 5 0   12     I can't recall if I asked you this yesterday.

0 8 : 3 5 : 5 3   13           Are the trade secrets in Group 6 for reliability

0 8 : 3 5 : 5 7   14     testing applicable to both FBAR and SMR filters?

0 8 : 3 6 : 0 0   15     A.    Yes, they are.

0 8 : 3 6 : 0 2   16     Q.    And why is that?

0 8 : 3 6 : 0 4   17     A.    Because the place where these devices fail is up in

0 8 : 3 6 : 0 9   18     the -- where the electrode, the sandwich of the material

0 8 : 3 6 : 1 2   19     that vibrates exists.      It doesn't matter what's underneath

0 8 : 3 6 : 1 7   20     this vibrating resonator.       The failure actually occurs up

0 8 : 3 6 : 2 2   21     in the metal part and in the bulk of vibrating material.

0 8 : 3 6 : 2 5   22     So it wouldn't matter -- in other words, what applies to a

0 8 : 3 6 : 2 9   23     FBAR filter would apply to an SMR filter in the same way.

0 8 : 3 6 : 3 5   24     Q.    I'd like to move now to Trade Secret Group 7?

0 8 : 3 6 : 3 9   25                  MR. DeFOSSE:     Could we pull up 6.113, please.
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0 8 : 3 6 : 4 2   1      BY MR. DeFOSSE:

0 8 : 3 6 : 4 5   2      Q.     This trade secret group relates to Qorvo's

0 8 : 3 6 : 4 7   3      manufacturing assembly and change procedures; is that

0 8 : 3 6 : 4 9   4      right?

0 8 : 3 6 : 5 0   5      A.     That's correct, yeah.

0 8 : 3 6 : 5 2   6      Q.     Can you explain at a high level what role

0 8 : 3 6 : 5 6   7      manufacturing, assembly, and change procedures play in

0 8 : 3 6 : 5 8   8      this industry?

0 8 : 3 6 : 5 9   9      A.     Yes.   They're really important.      They look simple in

0 8 : 3 7 : 0 2   10     a way, but what matters is when you're manufacturing

0 8 : 3 7 : 0 6   11     millions of items, the consistency and the fact that it

0 8 : 3 7 : 1 1   12     meets the customer's specification all the time has to be

0 8 : 3 7 : 1 5   13     met.    And to do that, what people have learned, and Qorvo

0 8 : 3 7 : 1 9   14     learned, is you have to implement certain rules in how you

0 8 : 3 7 : 2 3   15     set up your manufacturing assembly and how you make any

0 8 : 3 7 : 2 6   16     change in the process of manufacturing.           If you don't

0 8 : 3 7 : 2 9   17     control that tightly, you'll end up with an inconsistent

0 8 : 3 7 : 3 3   18     product or a failure and you'll have -- you'll lose

0 8 : 3 7 : 3 6   19     customers.

0 8 : 3 7 : 3 7   20            So they're really important.      The detail of how you

0 8 : 3 7 : 4 0   21     do that is actually pretty subtle; what you look at, how

0 8 : 3 7 : 4 4   22     you spend your money, the spec, et cetera, is particular

0 8 : 3 7 : 4 9   23     to the product, and it's going to make a big difference.

0 8 : 3 7 : 5 2   24                   MR. DeFOSSE:    Could we go to PDX-6.114, please.

                  25
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0 8 : 3 7 : 5 8   1      BY MR. DeFOSSE:

0 8 : 3 7 : 5 8   2      Q.    How many trade secrets are there in Group 7,

0 8 : 3 8 : 0 0   3      Dr. Shanfield?

0 8 : 3 8 : 0 2   4      A.    There are four.

0 8 : 3 8 : 0 4   5                    MR. DeFOSSE:    And if we go to PDX-6.115,

0 8 : 3 8 : 0 8   6      please.

0 8 : 3 8 : 1 0   7      BY MR. DeFOSSE:

0 8 : 3 8 : 1 0   8      Q.    What documents did you analyze in connection with the

0 8 : 3 8 : 1 3   9      four trade secrets in Group 7?

0 8 : 3 8 : 1 7   10     A.    So these were the four.      They were packaging

0 8 : 3 8 : 2 2   11     qualification assembly specification reflow documents and

0 8 : 3 8 : 2 5   12     visual inspection.      I'll explain, to some extent, what

0 8 : 3 8 : 2 8   13     those are.

0 8 : 3 8 : 2 9   14     Q.    Okay.   And why don't we do that.

0 8 : 3 8 : 3 0   15                   MR. DeFOSSE:    If we go to 6.116.

0 8 : 3 8 : 3 5   16     BY MR. DeFOSSE:

0 8 : 3 8 : 3 5   17     Q.    Is Trade Secret 7.1 related to package qualification?

0 8 : 3 8 : 4 0   18     A.    Yes.    This is --

0 8 : 3 8 : 4 3   19     Q.    Okay.    Please explain that.

0 8 : 3 8 : 4 5   20     A.    Yes.    I blew up part of this form to show the kind of

0 8 : 3 8 : 5 1   21     detail you need.      You think mounting a chip in a package

0 8 : 3 8 : 5 7   22     should be simple, but there's materials, like solder, that

0 8 : 3 9 : 0 2   23     are used to attach the chip and then there's wire bonds

0 8 : 3 9 : 0 5   24     that you use to electrically connect the chip to the

0 8 : 3 9 : 0 8   25     outside world.     There's how you seal the package.
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0 8 : 3 9 : 1 1   1            And all of this has to do with how is the package

0 8 : 3 9 : 1 7   2      going to be able to protect the chip and prevent it from

0 8 : 3 9 : 2 1   3      failing, you know, in a year or two.

0 8 : 3 9 : 2 3   4            So the details of that are described here, like

0 8 : 3 9 : 2 8   5      stencil material.      Why do you need a stencil?        Well,

0 8 : 3 9 : 3 0   6      you're stenciling solder, actually, before you run it

0 8 : 3 9 : 3 4   7      through the reflow furnace.       And those are the kinds of

0 8 : 3 9 : 3 7   8      details.    So it's actually page after page of this kind of

0 8 : 3 9 : 4 1   9      explanation particular to packaging the BAW filters that

0 8 : 3 9 : 5 0   10     Qorvo made, and that's what this represents.

0 8 : 3 9 : 5 3   11     Q.    If I could maybe take this up one level and just make

0 8 : 3 9 : 5 6   12     sure we're talking about -- what is "packaging" in this

0 8 : 3 9 : 5 9   13     context, how about that?

0 8 : 4 0 : 0 1   14     A.    Yeah.   Should have done that.

0 8 : 4 0 : 0 3   15           So you saw these tiny chips that are filters.            You've

0 8 : 4 0 : 0 6   16     got to put them in something that allows, let's say, the

0 8 : 4 0 : 1 1   17     phone manufacturer Apple to then insert it in their phone

0 8 : 4 0 : 1 4   18     and connect it up.      And it's got wires or little tabs

0 8 : 4 0 : 1 7   19     hanging out of it.      That's the package.

0 8 : 4 0 : 2 1   20           Sometimes it's going to be vacuated, pumped out so

0 8 : 4 0 : 2 5   21     there's no gas in it.      There's solder.        There's wire bonds

0 8 : 4 0 : 2 9   22     inside that tiny package.       And all of those details matter

0 8 : 4 0 : 3 3   23     a lot as to whether this thing -- if you solder it wrong

0 8 : 4 0 : 3 7   24     and leave it with stress, it will crack in a few months.

0 8 : 4 0 : 4 1   25     Those kinds of details is what's being described in the
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0 8 : 4 0 : 4 5   1      document.

0 8 : 4 0 : 4 6   2      Q.    Okay.   And this document relates to the qualification

0 8 : 4 0 : 4 9   3      of packaging.     What does the qualification of packaging

0 8 : 4 0 : 5 3   4      mean?

0 8 : 4 0 : 5 4   5      A.    So what is done routinely, and Qorvo learned how to

0 8 : 4 0 : 5 8   6      do this and came up with the processes for doing this, is

0 8 : 4 1 : 0 1   7      you have to routinely check whether your package process

0 8 : 4 1 : 0 5   8      is producing chips plus packages that survive -- you know,

0 8 : 4 1 : 1 0   9      your cell phone gets left in the car, it's 150 degrees in

0 8 : 4 1 : 1 6   10     the car.    Is it going to crack?      Is it going to be a

0 8 : 4 1 : 1 9   11     failure of some kind?      If it's minus 30 degrees, you're

0 8 : 4 1 : 2 2   12     taking a ski trip.      Your phone is sitting there.       It has

0 8 : 4 1 : 2 8   13     to -- the package and its manufacture process has to be

0 8 : 4 1 : 3 2   14     tested.    That qualification procedure is also described in

0 8 : 4 1 : 3 5   15     this document.

0 8 : 4 1 : 3 7   16     Q.    Dr. Shanfield, if we could go to PDX-6.117, what is

0 8 : 4 1 : 4 5   17     Trade Secret 7.2?

0 8 : 4 1 : 4 9   18     A.    This is the assembly instructions, and, again, like

0 8 : 4 1 : 5 3   19     assembling -- if you are taking filter chips, and you

0 8 : 4 1 : 5 7   20     might put other chips in the package with the filter or

0 8 : 4 2 : 0 1   21     have them all on a substrate in the package, that's called

0 8 : 4 2 : 0 5   22     assembly.     And the instructions are, for example, how you

0 8 : 4 2 : 1 1   23     make little places for the wire bonds to land.          This

0 8 : 4 2 : 1 5   24     cross-section shows that they are pretty complicated

0 8 : 4 2 : 1 9   25     items.    They have gold, palladium, nickel in them.         And
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0 8 : 4 2 : 2 3   1      it's a description of how you do that plating of those

0 8 : 4 2 : 2 8   2      little landing areas on a package.         There's lots of other

0 8 : 4 2 : 3 2   3      details like that.       This is a good example.

0 8 : 4 2 : 3 4   4                    MR. DeFOSSE:     If we could go to 6.118.

0 8 : 4 2 : 3 9   5      BY MR. DeFOSSE:

0 8 : 4 2 : 3 9   6      Q.    The next trade secret relates to reflow processes.

0 8 : 4 2 : 4 3   7      Can you explain reflow processes to the jury?

0 8 : 4 2 : 4 6   8      A.    Sure.   I mentioned that stencil where you wipe what's

0 8 : 4 2 : 5 1   9      kind of a liquid mixed with solder and put solder dots in

0 8 : 4 2 : 5 6   10     the package, and then you run it through an oven and melt

0 8 : 4 3 : 0 2   11     that solder all at once.        It is a manufacturing process,

0 8 : 4 3 : 0 5   12     and it's called reflow.

0 8 : 4 3 : 0 7   13           But you have to condition the surfaces.          You can't

0 8 : 4 3 : 1 0   14     just stencil on this paste and solder and run it through

0 8 : 4 3 : 1 4   15     the oven.     There's all kinds of conditions; heating it,

0 8 : 4 3 : 1 7   16     evacuating.       And that's the description given here.       This

0 8 : 4 3 : 2 2   17     is what Qorvo's learned works gives them a reliable chip.

0 8 : 4 3 : 2 6   18     Q.    Again, Dr. Shanfield, maybe we can take this up a

0 8 : 4 3 : 2 9   19     level.    You mentioned "solder."       What is solder?

0 8 : 4 3 : 3 1   20     A.    Yeah.   That's a mixture of metals that melts at a

0 8 : 4 3 : 3 6   21     pretty low temperature, and so when you put it in an oven,

0 8 : 4 3 : 4 0   22     you don't have to heat it up so hot that you kill the

0 8 : 4 3 : 4 4   23     chip, but it does melt.        And they know when it freezes, it

0 8 : 4 3 : 4 9   24     hold wires and conducts electricity and it does that

0 8 : 4 3 : 5 2   25     reliably.     That's the solder material.
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0 8 : 4 3 : 5 5   1      Q.    Okay.   And was using solder and reflow processes

0 8 : 4 3 : 5 9   2      known in the industry?

0 8 : 4 4 : 0 0   3      A.    Oh, yes.

0 8 : 4 4 : 0 2   4      Q.    Okay.   And why do you think Qorvo had trade secrets

0 8 : 4 4 : 0 5   5      related to the use of solder and reflow?

0 8 : 4 4 : 0 8   6      A.    Well, what's being described here is particular

0 8 : 4 4 : 1 1   7      processes for particular alloys.        There's hundreds of

0 8 : 4 4 : 1 6   8      alloys of solder; there's dozens of different preparation

0 8 : 4 4 : 2 0   9      techniques for surfaces.       Qorvo had to figure out what

0 8 : 4 4 : 2 3   10     works and gives us a reliable mount chip in a package.            So

0 8 : 4 4 : 2 9   11     it's specific to what Qorvo's product was.

0 8 : 4 4 : 3 4   12                   MR. DeFOSSE:    If we could move to 6.119.

0 8 : 4 4 : 3 9   13     BY MR. DeFOSSE:

0 8 : 4 4 : 3 9   14     Q.    This is the last trade secret in Group 7.         Could you

0 8 : 4 4 : 4 2   15     explain this one to the jury, please?

0 8 : 4 4 : 4 4   16     A.    Yeah.   Another point that matters a lot is what's

0 8 : 4 4 : 5 0   17     called visual inspection.       And like it sounds, you put the

0 8 : 4 4 : 5 4   18     part or the packaged part in a -- under a microscope, and

0 8 : 4 5 : 0 0   19     you've got to know how to look for the various kinds of

0 8 : 4 5 : 0 4   20     defects that might be on a chip that might be in the

0 8 : 4 5 : 0 7   21     wiring.

0 8 : 4 5 : 0 7   22           And these, if you can see in this right here, this

0 8 : 4 5 : 1 4   23     photograph is kind of examples of the kind of defects you

0 8 : 4 5 : 1 7   24     run into on chips or in wiring.        And you've got to

0 8 : 4 5 : 2 1   25     identify which ones are going to cause a failure or which
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0 8 : 4 5 : 2 4   1      ones are acceptable.      So this is all born of experience

0 8 : 4 5 : 3 0   2      and learning how to make, you know, sort between good and

0 8 : 4 5 : 3 4   3      bad.

0 8 : 4 5 : 3 6   4      Q.     Okay.   Now, Dr. Shanfield, the question I'm going to

0 8 : 4 5 : 3 8   5      ask you on every one of these group, do the trade secrets

0 8 : 4 5 : 4 1   6      in Group 7 relate to both SMR -- filters with SMR-type

0 8 : 4 5 : 4 7   7      resonators and filters with FBAR-type resonators?

0 8 : 4 5 : 5 1   8      A.     Yes, they do.    Defects, the soldering procedures, all

0 8 : 4 5 : 5 6   9      of the assembly procedures, they all are the same between

0 8 : 4 6 : 0 0   10     the two devices.

0 8 : 4 6 : 0 1   11     Q.     And when we're talking about assembly in Group 7, are

0 8 : 4 6 : 0 5   12     we talking about assembling the specific resonators that

0 8 : 4 6 : 0 9   13     are within the filters?

0 8 : 4 6 : 1 1   14     A.     No.   This is assembly with a chip.        So the filters

0 8 : 4 6 : 1 6   15     are done, and you're assembling now the wiring and the

0 8 : 4 6 : 1 9   16     package configurations, you know, after you've built the

0 8 : 4 6 : 2 4   17     resonators and the filters.

0 8 : 4 6 : 2 5   18     Q.     So the resonators are already inside the filters?

0 8 : 4 6 : 2 8   19     A.     Yes, correct.

0 8 : 4 6 : 3 0   20     Q.     Were the trade secrets in Group 7 generally known in

0 8 : 4 6 : 3 3   21     the industry?

0 8 : 4 6 : 3 4   22     A.     No.   I think it was everybody knew that you had

0 8 : 4 6 : 3 9   23     visual inspection criteria.       Any company is going to have

0 8 : 4 6 : 4 4   24     criteria.      But it's specific to the particular kind of

0 8 : 4 6 : 4 7   25     product that's being inspected, obviously.           And these
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0 8 : 4 6 : 5 2   1      inspection procedures -- this goes with the other points

0 8 : 4 6 : 5 5   2      too -- is particular to the product, the Qorvo product.

0 8 : 4 7 : 0 0   3      Q.    And did you have a chance to assess the economic

0 8 : 4 7 : 0 3   4      value of the trade secrets in Group 7?

0 8 : 4 7 : 0 5   5      A.    Yes, I did.

0 8 : 4 7 : 0 6   6      Q.    And what did you conclude?

0 8 : 4 7 : 0 8   7      A.    I concluded that there was real economic value, the

0 8 : 4 7 : 1 2   8      reason being that there's experience built into what was

0 8 : 4 7 : 1 6   9      described in these documents, and you could see it page by

0 8 : 4 7 : 1 9   10     page.   This is things they've learned cause failures, so

0 8 : 4 7 : 2 3   11     they have failures identified.        Somebody makes use of

0 8 : 4 7 : 2 7   12     this, a competitor, for example, they won't have to go

0 8 : 4 7 : 3 0   13     through the hard work of figuring what gives good or bad

0 8 : 4 7 : 3 3   14     products; it's been work out for them, so they save time

0 8 : 4 7 : 3 7   15     and money.

0 8 : 4 7 : 3 8   16     Q.    Did you also have the opportunity to consider whether

0 8 : 4 7 : 4 1   17     Akoustis obtained and used the trade secrets in Group 7?

0 8 : 4 7 : 4 3   18     A.    Yes, I did.

0 8 : 4 7 : 4 5   19                   MR. DeFOSSE:    All right.   If we could go to the

0 8 : 4 7 : 4 7   20     PDX-6.120, please.

0 8 : 4 7 : 4 9   21     BY MR. DeFOSSE:

0 8 : 4 7 : 5 2   22     Q.    Is this your timeline for Group 7, Dr. Shanfield?

0 8 : 4 7 : 5 5   23     A.    Yes.

0 8 : 4 7 : 5 5   24     Q.    Okay.   Before we jump in the timeline, I wonder if

0 8 : 4 7 : 5 8   25     you can just provide some context to the jury as to what
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0 8 : 4 8 : 0 1   1      was going on at Akoustis in 2019 and 2020 that would make

0 8 : 4 8 : 0 5   2      these manufacturing assembly and change procedures

0 8 : 4 8 : 0 9   3      relevant to Akoustis?

0 8 : 4 8 : 1 0   4      A.    Yes.    It's -- I found it was a good idea to keep in

0 8 : 4 8 : 1 4   5      mind what was going on at Akoustis.        So at that point,

0 8 : 4 8 : 1 7   6      they had chips coming back from their fab, and they were

0 8 : 4 8 : 2 0   7      worrying about doing volume manufacturing.          They had been

0 8 : 4 8 : 2 4   8      offering samples, now they were being asked to manufacture

0 8 : 4 8 : 2 8   9      millions, tens of millions, hundreds of millions of these

0 8 : 4 8 : 3 3   10     devices.     And so the context here is that the attention

0 8 : 4 8 : 3 9   11     turned to, we need manufacturing procedures; where are we

0 8 : 4 8 : 4 3   12     going to get them?      And this, I think, you can see was, it

0 8 : 4 8 : 4 6   13     drove them to make use of the Qorvo confidential

0 8 : 4 8 : 5 1   14     documents.

0 8 : 4 8 : 5 1   15     Q.    Okay.    Your timeline starts on October 16, 2019.

0 8 : 4 8 : 5 6   16     What's the relevance of that date?

0 8 : 4 8 : 5 8   17     A.    There's a guy named Robert Dry, who starts working at

0 8 : 4 9 : 0 3   18     Akoustis.

0 8 : 4 9 : 0 3   19                   MR. DeFOSSE:    And now if we could go to

0 8 : 4 9 : 0 6   20     PDX-1.21.

0 8 : 4 9 : 0 8   21     BY MR. DeFOSSE:

0 8 : 4 9 : 0 8   22     Q.    We're at January 16, 2020, so couple of months after

0 8 : 4 9 : 1 4   23     Mr. Dry joins.     What did you see that supported your

0 8 : 4 9 : 1 7   24     opinions as to Akoustis' use of Qorvo's trade secrets?

0 8 : 4 9 : 2 2   25     A.    So Mr. Dry was the vice president of what they call
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0 8 : 4 9 : 2 6   1      final operations; that's like assembly and packaging.           He

0 8 : 4 9 : 3 0   2      sends an e-mail to the vice president of quality, and so

0 8 : 4 9 : 3 7   3      these are now executive level people in Akoustis, and he

0 8 : 4 9 : 4 2   4      has two confidential documents from Qorvo.          And he says,

0 8 : 4 9 : 4 5   5      "Look what I have."      And he's got this visual inspection

0 8 : 4 9 : 5 0   6      criteria.

0 8 : 4 9 : 5 1   7      Q.    Are these visual inspection criteria relevant to a

0 8 : 4 9 : 5 5   8      person in the position of Mr. Morgan as VP of quality?

0 8 : 4 9 : 5 9   9      A.    Yes.    The fact that Mr. Dry sent this to him, that's

0 8 : 5 0 : 0 4   10     exactly where you need visual inspection criteria, there

0 8 : 5 0 : 0 8   11     Mr. Dry.     I think the fact that he is sending it to the VP

0 8 : 5 0 : 1 3   12     of quality, he is saying, "let's use this."

0 8 : 5 0 : 1 6   13                   MR. DeFOSSE:    Okay.   If we could go to

0 8 : 5 0 : 1 7   14     PDX-6.122, please.

0 8 : 5 0 : 2 0   15     BY MR. DeFOSSE:

0 8 : 5 0 : 2 0   16     Q.    Okay.    We're still on the same day, January 16, 2020.

0 8 : 5 0 : 2 4   17     What happened -- what else happened on that day?

0 8 : 5 0 : 2 8   18     A.    So Mr. Dry sets up a meeting, a Microsoft Teams

0 8 : 5 0 : 3 3   19     meeting, and he wants to review documents and requirements

0 8 : 5 0 : 3 7   20     for wafer inspection, but he attaches this document that's

0 8 : 5 0 : 4 3   21     the Qorvo Confidential Wafer Inspection Procedure.           So the

0 8 : 5 0 : 4 7   22     implication is he really wants to talk about this

0 8 : 5 0 : 5 1   23     document.     And, you know, the meeting is scheduled for the

0 8 : 5 0 : 5 8   24     following week.

0 8 : 5 0 : 5 8   25     Q.    And who was Mr. Dry scheduling this meeting to
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0 8 : 5 1 : 0 2   1      discuss the Qorvo document with?

0 8 : 5 1 : 0 4   2      A.    Yeah.    It was all the people that would be involved

0 8 : 5 1 : 0 7   3      with doing being affected by visual inspection, including

0 8 : 5 1 : 1 2   4      Mary Winters, who is the fab VP; Ken Fallon, the director

0 8 : 5 1 : 1 7   5      of fab operations; the vice president of quality,

0 8 : 5 1 : 2 1   6      Mr. Morgan; and Brook Hosse, who is a product engineer.

0 8 : 5 1 : 2 7   7                    MR. DeFOSSE:    If we could go to 6.123.

0 8 : 5 1 : 3 2   8      BY MR. DeFOSSE:

0 8 : 5 1 : 3 2   9      Q.    Four days later now.      What happened?

0 8 : 5 1 : 3 6   10     A.    So the document is sent, again, Mr. Dry sends it --

0 8 : 5 1 : 4 8   11     let's see if I can read this quickly.         Oh, yes, Mr. Dry

0 8 : 5 1 : 5 2   12     sends it to Mary Winters and Ken Fallon and also few other

0 8 : 5 2 : 0 4   13     Akoustis employees.

0 8 : 5 2 : 0 4   14           This wafer inspection document review.         It's still a

0 8 : 5 2 : 0 8   15     Qorvo confidential document, but he mentions that he has

0 8 : 5 2 : 1 1   16     edited out former references, and when I took a look at

0 8 : 5 2 : 1 6   17     what that document looked like, all he had done is taken

0 8 : 5 2 : 2 0   18     out all Qorvo's -- where it showed on each page "Qorvo"

0 8 : 5 2 : 2 5   19     and relayed it with, either left it empty or in some cases

0 8 : 5 2 : 3 0   20     replaced it with Akoustis.

0 8 : 5 2 : 3 3   21     Q.    Mr. Dry said that he had edited out for good reasons;

0 8 : 5 2 : 3 7   22     is that right?

0 8 : 5 2 : 3 7   23     A.    Yes.    Former references, meaning he's edited out the

0 8 : 5 2 : 4 1   24     "Qorvo."     So it's indicating he's well aware that using

0 8 : 5 2 : 4 6   25     Qorvo's confidential information is something he shouldn't
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0 8 : 5 2 : 5 0   1      be doing.

0 8 : 5 2 : 5 2   2                   MR. DeFOSSE:      If we go to PDX-1.25 now.

0 8 : 5 2 : 5 9   3      BY MR. DeFOSSE:

0 8 : 5 2 : 5 9   4      Q.    Were there other occasions on which Mr. Dry shared

0 8 : 5 3 : 0 3   5      Qorvo's manufacturing assembly and change procedures?

0 8 : 5 3 : 0 7   6      A.    Yes.   Here is a point where Mr. Gray asked Mr. Dry to

0 8 : 5 3 : 1 3   7      get a copy of another procedure, a Qorvo procedure.            He

0 8 : 5 3 : 1 7   8      says, "Do you have a copy of the Q reflow policy?"            Q

0 8 : 5 3 : 2 3   9      meaning Qorvo.       I guess he's trying to be secretive.

0 8 : 5 3 : 2 8   10           So they were passing around these procedures and

0 8 : 5 3 : 3 0   11     using them.       And it's my opinion, the fact there was a

0 8 : 5 3 : 3 2   12     clear understanding among the group that this is what was

0 8 : 5 3 : 3 7   13     available, and they were going to take advantage of it.

0 8 : 5 3 : 4 1   14     Q.    And this was May 19-2020?

0 8 : 5 3 : 4 4   15     A.    That's correct.

0 8 : 5 3 : 4 5   16                  MR. DeFOSSE:      Okay.   If we could go to the next

0 8 : 5 3 : 4 6   17     day, May 20.

0 8 : 5 3 : 4 9   18     BY MR. DeFOSSE:

0 8 : 5 3 : 4 9   19     Q.    How did Mr. Dry respond to Mr. Gray's request?

0 8 : 5 3 : 5 5   20     A.    He produced -- Robert Dry has produced this

0 8 : 5 3 : 5 9   21     implementation requirements for reflow preconditioning.

0 8 : 5 4 : 0 2   22     It's a Qorvo document once again.         And he says, "Found

0 8 : 5 4 : 0 6   23     it," and he sends it along to Mr. Gray.

0 8 : 5 4 : 1 0   24           So there was documents, confidential Qorvo documents

0 8 : 5 4 : 1 4   25     being passed around to people in quality and inspection
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0 8 : 5 4 : 2 0   1      and manufacturing.      And there seems to be a feeling that

0 8 : 5 4 : 2 4   2      these could be freely passed about and used however they

0 8 : 5 4 : 2 8   3      want.

0 8 : 5 4 : 2 8   4                    MR. DeFOSSE:    And if we go to PDX-1.27, please.

0 8 : 5 4 : 3 3   5      BY MR. DeFOSSE:

0 8 : 5 4 : 3 3   6      Q.    What happened next?

0 8 : 5 4 : 3 6   7      A.    Here's another example where confidential reflow

0 8 : 5 4 : 4 2   8      documents, where you melt the solder, the procedure for

0 8 : 5 4 : 4 5   9      doing that.

0 8 : 5 4 : 4 6   10           Mr. Gray asked for more of these documents.          And he

0 8 : 5 4 : 5 0   11     says -- from Mr. Gray, he says, "Thanks.          This describes

0 8 : 5 4 : 5 6   12     the how" -- that means how you do the reflow.          "Do you

0 8 : 5 4 : 5 9   13     have, by chance," and then names another document that's a

0 8 : 5 5 : 0 2   14     Qorvo document.

0 8 : 5 5 : 0 4   15           So he's looking for more information.         Mr. Dry, the

0 8 : 5 5 : 0 7   16     vice president of final operations then produces that

0 8 : 5 5 : 1 1   17     document and says, "Here you go."

0 8 : 5 5 : 1 5   18           So as I said earlier, they're passing around these

0 8 : 5 5 : 1 7   19     confidential documents, and the people involved all know

0 8 : 5 5 : 2 2   20     this is not what they should be doing.

0 8 : 5 5 : 2 9   21     Q.    Okay.   I'd like to turn to Trade Secret Group 8 now,

0 8 : 5 5 : 3 2   22     Dr. Shanfield.

0 8 : 5 5 : 3 2   23                   MR. DeFOSSE:    Could we pull up PDX-1.31.

0 8 : 5 5 : 4 0   24     BY MR. DeFOSSE:

0 8 : 5 5 : 4 0   25     Q.    First, can you remind the jury what Trade Secret
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0 8 : 5 5 : 4 2   1      Group 8 is?

0 8 : 5 5 : 4 4   2      A.    Yes.   This is the last group.      This is Qorvo's

0 8 : 5 5 : 4 8   3      product roadmaps, and the actual product prototypes.

0 8 : 5 5 : 5 2   4      Q.    And how many trade secret are in Trade Secret

0 8 : 5 5 : 5 5   5      Group 8?

0 8 : 5 5 : 5 8   6      A.    I picked out five.

0 8 : 5 5 : 5 9   7                   MR. DeFOSSE:     If we could go to PDX-6.123,

0 8 : 5 6 : 0 5   8      please.

0 8 : 5 6 : 0 7   9      BY MR. DeFOSSE:

0 8 : 5 6 : 0 7   10     Q.    What information did you consider in assessing the

0 8 : 5 6 : 1 0   11     five trade secrets in Group 8?

0 8 : 5 6 : 1 4   12     A.    I'm showing that, here, there was specification

0 8 : 5 6 : 1 6   13     sheets that were confidential, and there was a Wi-Fi

0 8 : 5 6 : 2 3   14     roadmap document that was full of useful information, and

0 8 : 5 6 : 2 6   15     also automotive prototype documents to discuss what Qorvo

0 8 : 5 6 : 3 1   16     was doing in the automotive filters.

0 8 : 5 6 : 3 3   17                  MR. DeFOSSE:     If we could go to PDX-6.133,

0 8 : 5 6 : 3 7   18     please.

0 8 : 5 6 : 4 0   19     BY MR. DeFOSSE:

0 8 : 5 6 : 4 0   20     Q.    What are Trade Secrets 8.1 and 8.4?

0 8 : 5 6 : 4 5   21     A.    These are confidential documents.           They said

0 8 : 5 6 : 4 8   22     "Confidential NDA required."       They were timelines telling

0 8 : 5 6 : 5 2   23     whoever read them what Qorvo was planning to do in

0 8 : 5 6 : 5 7   24     delivering these new products, the 5.2 gigahertz and

0 8 : 5 7 : 0 1   25     5.6 gigahertz products, and the features of those new
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0 8 : 5 7 : 0 5   1      products.

0 8 : 5 7 : 0 5   2            So they were filled with useful information to a

0 8 : 5 7 : 0 7   3      competitor.

0 8 : 5 7 : 0 8   4      Q.    And data sheets are at some point in time published

0 8 : 5 7 : 1 2   5      publicly; is that right?

0 8 : 5 7 : 1 3   6      A.    That's right.

0 8 : 5 7 : 1 4   7      Q.    Okay.   So why would you say that the anticipated

0 8 : 5 7 : 1 8   8      features and performance that are in the data sheets that

0 8 : 5 7 : 2 1   9      you are showing here are trade secrets?

0 8 : 5 7 : 2 5   10     A.    The way the industry works is a company like Qorvo

0 8 : 5 7 : 3 1   11     creates a data sheet that is not intended to be

0 8 : 5 7 : 3 4   12     distributed publicly and only distributed to people that

0 8 : 5 7 : 3 7   13     are intending to buy the product, and that's why they say

0 8 : 5 7 : 4 1   14     "Confidential and nondisclosure agreement required,"

0 8 : 5 7 : 4 4   15     meaning they've come to the agreement between a potential

0 8 : 5 7 : 4 8   16     customer and Qorvo that they won't distribute this

0 8 : 5 7 : 5 3   17     document.

0 8 : 5 7 : 5 3   18           So at the point before the product is released to a

0 8 : 5 8 : 0 0   19     general consumption, this can go on for many months,

0 8 : 5 8 : 0 5   20     sometimes a year, before eventually a data gets released.

0 8 : 5 8 : 1 0   21     Q.    And is the process of entering NDAs with customers

0 8 : 5 8 : 1 4   22     and sharing prototypes standard in the semiconductor

0 8 : 5 8 : 1 8   23     industry?

0 8 : 5 8 : 1 8   24     A.    Yes.    Completely.   Everybody knows it and everybody

0 8 : 5 8 : 2 1   25     has done it, including these gentlemen.
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0 8 : 5 8 : 2 4   1      Q.    Okay.

0 8 : 5 8 : 2 5   2                    MR. DeFOSSE:    If we could go to 6.32 please --

0 8 : 5 8 : 2 9   3      6.132.    All right.    Sorry.   Moving backwards.     We want to

0 8 : 5 8 : 3 5   4      go forwards.      Sorry 6.135.

0 8 : 5 8 : 4 0   5      BY MR. DeFOSSE:

0 8 : 5 8 : 4 1   6      Q.    What is Trade Secret 8.2.

0 8 : 5 8 : 4 3   7      A.    This is the actual prototypes that Qorvo had produced

0 8 : 5 8 : 4 9   8      and put on boards of their new product at 5.2 and 5.6

0 8 : 5 8 : 5 6   9      gigahertz.     So it's the hardware.

0 8 : 5 8 : 5 9   10     Q.    And what are the trade secrets that are related to

0 8 : 5 9 : 0 2   11     these prototypes?

0 8 : 5 9 : 0 4   12     A.    Well, there's a lot of them here.

0 8 : 5 9 : 0 6   13           First of all, you can evaluate the board and see how

0 8 : 5 9 : 0 9   14     it works.     And testing is about it, that you can maybe

0 8 : 5 9 : 1 2   15     make it fail.     You can take it apart.      You can examine how

0 8 : 5 9 : 1 5   16     the board was designed.       You can examine a chip itself in

0 8 : 5 9 : 1 9   17     the cross section.      So you've learned now what Qorvo plans

0 8 : 5 9 : 2 4   18     to do, how -- to the extent you can, what they did looks

0 8 : 5 9 : 2 7   19     like.    So there's a lot of information in this.

0 8 : 5 9 : 3 2   20                   MR. DeFOSSE:    If we can go PDX-6.136.

0 8 : 5 9 : 3 7   21     BY MR. DeFOSSE:

0 8 : 5 9 : 3 7   22     Q.    What is Trade Secret 8.3?

0 8 : 5 9 : 4 0   23     A.    So this is some details now of Qorvo's analysis of

0 8 : 5 9 : 4 5   24     the Wi-Fi market now, the 6E Wi-Fi market.

0 8 : 5 9 : 5 1   25     Q.    Okay.
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0 8 : 5 9 : 5 2   1                   MR. DeFOSSE:      And if we could go to PDX-1.37.

0 8 : 5 9 : 5 6   2      BY MR. DeFOSSE:

0 8 : 5 9 : 5 6   3      Q.    What is Trade Secret 8.5?

0 8 : 5 9 : 5 9   4      A.    Qorvo was also looking into the automotive filter

0 9 : 0 0 : 0 4   5      market, and they had analysis of the market.           And they had

0 9 : 0 0 : 1 1   6      prototypes.       So this is the performance that was

0 9 : 0 0 : 1 8   7      associated with this analysis.         And it basically explained

0 9 : 0 0 : 2 4   8      what Qorvo's interest was, where the interest lies --

0 9 : 0 0 : 2 7   9      would lie, and, you know, other details that would be

0 9 : 0 0 : 3 1   10     really useful to a competitor.

0 9 : 0 0 : 3 4   11     Q.    Did you have a chance to assess whether the trade

0 9 : 0 0 : 3 8   12     secrets in Group 8 were generally known in the industry?

0 9 : 0 0 : 4 1   13     A.    Yes, I did.

0 9 : 0 0 : 4 2   14     Q.    And what did you conclude?

0 9 : 0 0 : 4 5   15     A.    No, this is information was not known.          It was clear.

0 9 : 0 0 : 4 9   16     Anybody in the industry would recognize that this -- that

0 9 : 0 0 : 5 2   17     this was not publicly released information.           This was

0 9 : 0 0 : 5 7   18     confidential.       It was specific to potential customers of

0 9 : 0 1 : 0 1   19     Qorvo and should not be in anybody else's hands.

0 9 : 0 1 : 0 5   20     Q.    And did you assess the economic value of the trade

0 9 : 0 1 : 0 7   21     secrets in Group 8?

0 9 : 0 1 : 0 9   22     A.    Yes, I did.

0 9 : 0 1 : 1 1   23     Q.    And what were your opinions on the economic value?

0 9 : 0 1 : 1 5   24     A.    So all of this information, prototypes, boards, the

0 9 : 0 1 : 2 0   25     market information, you can imagine how useful that is to
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0 9 : 0 1 : 2 5   1      a competitor, also to the engineering staff, as they have

0 9 : 0 1 : 2 9   2      a look at what Qorvo's doing, how to compete, so you can

0 9 : 0 1 : 3 3   3      get the jump on Qorvo's work.

0 9 : 0 1 : 3 6   4            So, in a lot of aspects, there's real economic lift.

0 9 : 0 1 : 4 0   5      And I'd -- you know, I'd say it's very high economic

0 9 : 0 1 : 4 7   6      value.

0 9 : 0 1 : 4 9   7      Q.    And did you have the chance to assess whether

0 9 : 0 1 : 5 2   8      Akoustis obtained and used the trade secrets in Trade

0 9 : 0 1 : 5 6   9      Secret Group 8?

0 9 : 0 1 : 5 8   10     A.    Yes, I did.

0 9 : 0 1 : 5 8   11     Q.    And what did you conclude?

0 9 : 0 1 : 5 9   12     A.    That they had definitely done that.         There was

0 9 : 0 2 : 0 3   13     circulation of this information.        As you will see, the

0 9 : 0 2 : 0 7   14     boards -- or maybe we won't have time, but the boards were

0 9 : 0 2 : 1 1   15     used.    They were sent to be tested.      There was use of this

0 9 : 0 2 : 1 8   16     information in numerous ways.

0 9 : 0 2 : 2 0   17     Q.    Okay.

0 9 : 0 2 : 2 0   18                   MR. DeFOSSE:    Could we please pull up

0 9 : 0 2 : 2 5   19     PDX-6.138.    And could we put next to that one 6.145.

0 9 : 0 2 : 3 7   20     BY MR. DeFOSSE:

0 9 : 0 2 : 3 7   21     Q.    In Trade Secret Group 8, Dr. Shanfield, you actually

0 9 : 0 2 : 4 0   22     have multiple timelines; is that right?

0 9 : 0 2 : 4 2   23     A.    Yes.

0 9 : 0 2 : 4 2   24     Q.    Okay.

0 9 : 0 2 : 4 3   25                   MR. DeFOSSE:    And let's -- if we can also now
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0 9 : 0 2 : 4 6   1      pull up -- I don't know if you can do it side by side --

0 9 : 0 2 : 4 9   2      PDX-1.54.

0 9 : 0 2 : 5 6   3      BY MR. DeFOSSE:

0 9 : 0 2 : 5 6   4      Q.    So why do you have so many timelines for Trade Secret

0 9 : 0 2 : 5 9   5      Group 8?

0 9 : 0 3 : 0 2   6      A.    Well, it's good to understand the context here in

0 9 : 0 3 : 0 6   7      that, for one thing, if you recall, Akoustis had delivered

0 9 : 0 3 : 1 5   8      a sample part of a 5 gigahertz filter and -- before Qorvo

0 9 : 0 3 : 2 1   9      had gotten any 5 gigahertz parts out for sampling.

0 9 : 0 3 : 2 6   10           And the performance was, you know, okay.          But the

0 9 : 0 3 : 3 1   11     point was, nobody else had any 5 gigahertz filters, so

0 9 : 0 3 : 3 5   12     they had an advantage in their position at the time.

0 9 : 0 3 : 3 9   13           Then there was word that Qorvo was coming out with

0 9 : 0 3 : 4 2   14     5 gigahertz parts, and there's a panic ensuing, as to how

0 9 : 0 3 : 4 8   15     I read it, looking at all this flurry of activity.

0 9 : 0 3 : 5 3   16           The performance seemed better and the threat was --

0 9 : 0 3 : 5 7   17     seemed to generate a panic in Akoustis.

0 9 : 0 4 : 0 1   18     Q.    Okay.   And as a result of that panic, what did you

0 9 : 0 4 : 0 4   19     see Akoustis out doing?

0 9 : 0 4 : 0 7   20     A.    They -- at the highest levels of the company,

0 9 : 0 4 : 1 1   21     including CEO, engaged in obtaining confidential

0 9 : 0 4 : 1 5   22     information about Qorvo's products any way they could

0 9 : 0 4 : 1 9   23     think of.     So there was reaching out in all directions is

0 9 : 0 4 : 2 3   24     what I saw.       I can show you some of the evidence of that.

0 9 : 0 4 : 2 6   25     Q.    Okay.
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0 9 : 0 4 : 2 6   1                    MR. DeFOSSE:    I'd like to start with PDX- --

0 9 : 0 4 : 2 8   2      and for this group, I think we're going to take things a

0 9 : 0 4 : 3 2   3      little bit out of timeline.       So I want to do PDX-146 --

0 9 : 0 4 : 3 6   4      6.146 first.

0 9 : 0 4 : 4 0   5      BY MR. DeFOSSE:

0 9 : 0 4 : 4 1   6      Q.    Okay.   Can you remind the jury who SJ Kim is?

0 9 : 0 4 : 4 5   7      A.    Mr. Kim is the country manager for Korea and sales

0 9 : 0 4 : 5 0   8      manager.

0 9 : 0 4 : 5 1   9      Q.    And I think we've obviously seen this before, but

0 9 : 0 4 : 5 3   10     just very briefly, what's the relevance of the information

0 9 : 0 4 : 5 7   11     that you have on PDX-1.46?

0 9 : 0 5 : 0 2   12     A.    This is the point that you've heard about where

0 9 : 0 5 : 0 4   13     Mr. Kim uses these expenses, entertainment expense as it

0 9 : 0 5 : 1 3   14     turned out, to get Qorvo information.         So he's using that

0 9 : 0 5 : 1 5   15     money to obtain information.

0 9 : 0 5 : 1 6   16     Q.    And that's what Mr. Kim referred to as the "key

0 9 : 0 5 : 2 0   17     confidential information"?

0 9 : 0 5 : 2 0   18     A.    That's correct.

0 9 : 0 5 : 2 1   19                   MR. DeFOSSE:    And then if we could pull up

0 9 : 0 5 : 2 4   20     PDX-157.

0 9 : 0 5 : 3 0   21     BY MR. DeFOSSE:

0 9 : 0 5 : 3 0   22     Q.    Okay.   The e-mail that we just saw from Mr. Kim was

0 9 : 0 5 : 3 3   23     in August of 2019.      We're now August 7, 2020, so a year

0 9 : 0 5 : 3 9   24     later.    Did his activities, with his expense account,

0 9 : 0 5 : 4 3   25     continue?
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0 9 : 0 5 : 4 3   1      A.    They did.    This e-mail shows one example where he's

0 9 : 0 5 : 4 9   2      sending a zip file filled with Qorvo confidential data,

0 9 : 0 5 : 5 4   3      and he's asking -- this is to Dave Aichele, who's a VP at

0 9 : 0 5 : 5 9   4      Akoustis, saying, "Don't ask me where I get from.

0 9 : 0 6 : 0 4   5      Frankly, I always use my expense for the right purpose."

0 9 : 0 6 : 0 8   6            So he's apparently -- you know, the way I read it,

0 9 : 0 6 : 1 1   7      he's still using money to get this confidential

0 9 : 0 6 : 1 4   8      information.

0 9 : 0 6 : 1 6   9      Q.    Okay.

0 9 : 0 6 : 1 6   10                   MR. DeFOSSE:    And then if we could go to

0 9 : 0 6 : 1 9   11     PDX-147.

0 9 : 0 6 : 2 1   12     BY MR. DeFOSSE:

0 9 : 0 6 : 2 1   13     Q.    I'd like to focus in specifically on the 5 gigahertz

0 9 : 0 6 : 2 5   14     information that Akoustis was seeking in the market about

0 9 : 0 6 : 2 9   15     Qorvo.

0 9 : 0 6 : 3 0   16           What is the relevance of 6.147?

0 9 : 0 6 : 3 5   17     A.    So, here, Dave Aichele is getting an e-mail from

0 9 : 0 6 : 4 2   18     Steven Li.    And he sends attached in this e-mail a couple

0 9 : 0 6 : 4 8   19     documents.    One is a "Confidential NDA required" data

0 9 : 0 6 : 5 3   20     sheet that was explaining Qorvo's new product.          It was not

0 9 : 0 7 : 0 0   21     intended to be given to competitors.         And he also included

0 9 : 0 7 : 0 4   22     some data on this new device.

0 9 : 0 7 : 0 7   23           So there's now confidential information being sent to

0 9 : 0 7 : 1 1   24     Mr. Aichele.

0 9 : 0 7 : 1 2   25                   MR. DeFOSSE:    If we could go to PDX-6.148,
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0 9 : 0 7 : 1 6   1      please.

0 9 : 0 7 : 1 7   2      BY MR. DeFOSSE:

0 9 : 0 7 : 1 7   3      Q.    What did Mr. Aichele do upon receiving the

0 9 : 0 7 : 2 0   4      confidential data sheet from Mr. Li?

0 9 : 0 7 : 2 5   5      A.    Yeah.   Well, one striking thing I saw repeatedly is

0 9 : 0 7 : 3 0   6      that really top management at Akoustis was dealing with

0 9 : 0 7 : 3 4   7      this information because you can see Dave Aichele sends

0 9 : 0 7 : 3 8   8      Houlden and Jeff Shealy, Dr. Shealy, the CEO at Akoustis,

0 9 : 0 7 : 4 7   9      5.2 gigahertz data sheets that are confidential.           And he

0 9 : 0 7 : 5 2   10     explains that the word on the street is that they'll be

0 9 : 0 7 : 5 5   11     putting out these products.

0 9 : 0 7 : 5 7   12           So the information was being passed around among

0 9 : 0 8 : 0 0   13     these executives at Akoustis.

0 9 : 0 8 : 0 2   14                   MR. DeFOSSE:    And if we could go to PDX-6.150.

0 9 : 0 8 : 0 7   15     BY MR. DeFOSSE:

0 9 : 0 8 : 0 7   16     Q.    I want to jump forward to March of 2020.

0 9 : 0 8 : 1 0   17           Mr. Aichele also sent the data sheet to Dave Hodge;

0 9 : 0 8 : 1 4   18     is that right?

0 9 : 0 8 : 1 4   19     A.    Yes.

0 9 : 0 8 : 1 4   20     Q.    What's the relevance of sending it to Mr. Hodge?

0 9 : 0 8 : 1 7   21     A.    Mr. Hodge was the engineer that was in charge of

0 9 : 0 8 : 2 1   22     producing -- designing and producing the 5 gigahertz

0 9 : 0 8 : 2 4   23     product.

0 9 : 0 8 : 2 5   24           So there was -- and he's noting some aspects of the

0 9 : 0 8 : 2 9   25     data sheet, the out-of-band rejection, the harmonics.           So
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0 9 : 0 8 : 3 5   1      it's clear that they're making use of this data in what

0 9 : 0 8 : 3 8   2      they do in developing their product.

0 9 : 0 8 : 4 1   3                    MR. DeFOSSE:    If we go to 6.151.

0 9 : 0 8 : 4 5   4      BY MR. DeFOSSE:

0 9 : 0 8 : 4 5   5      Q.    I think you mentioned that Akoustis was also

0 9 : 0 8 : 4 8   6      attempting to obtain Qorvo's prototypes.          How does this

0 9 : 0 8 : 5 2   7      relate or support that opinion?

0 9 : 0 8 : 5 5   8      A.    Yeah.   In this panic period that I'm describing,

0 9 : 0 9 : 0 0   9      Mr. Aichele sends an e-mail requesting information.            He

0 9 : 0 9 : 0 6   10     says "Any information" and samples of the two new products

0 9 : 0 9 : 1 1   11     that Qorvo is making at 5 gigahertz, Mr. Aichele's

0 9 : 0 9 : 1 5   12     explicitly requesting.

0 9 : 0 9 : 1 7   13     Q.    And he's asking for those samples from Mr. Kim, the

0 9 : 0 9 : 2 1   14     gentleman he was aware was able to use his expenses to get

0 9 : 0 9 : 2 5   15     Qorvo confidential information?

0 9 : 0 9 : 2 7   16     A.    That's correct, yes.

0 9 : 0 9 : 2 7   17     Q.    Okay.

0 9 : 0 9 : 2 7   18                   MR. DeFOSSE:    If we could go to PDX-6.155.

0 9 : 0 9 : 3 2   19     BY MR. DeFOSSE:

0 9 : 0 9 : 3 4   20     Q.    Was Akoustis attempting to obtain Qorvo's

0 9 : 0 9 : 3 7   21     confidential prototypes anywhere else?

0 9 : 0 9 : 4 0   22     A.    Yeah.   This is now Colin Hunt, who -- he's the

0 9 : 0 9 : 4 7   23     president of global sales, another executive-level person,

0 9 : 0 9 : 5 0   24     who says, "I have my arms out in China."

0 9 : 0 9 : 5 6   25           He wants to get a couple of samples.         These are
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0 9 : 1 0 : 0 0   1      confidential samples of Qorvo's product.          And what again

0 9 : 1 0 : 0 6   2      strikes me as important is that Dr. Shealy, the CEO of

0 9 : 1 0 : 1 3   3      Akoustis, gets this e-mail.       He's not admonishing in any

0 9 : 1 0 : 2 0   4      of the e-mails that I saw.       He's apparently very

0 9 : 1 0 : 2 5   5      comfortable with this circulation of confidential

0 9 : 1 0 : 2 9   6      information.

0 9 : 1 0 : 2 9   7                   MR. DeFOSSE:     If we go to 6.158.

0 9 : 1 0 : 3 3   8      BY MR. DeFOSSE:

0 9 : 1 0 : 3 3   9      Q.    Was Akoustis ultimately able to obtain confidential

0 9 : 1 0 : 3 5   10     prototypes of Qorvo's products?

0 9 : 1 0 : 3 8   11     A.    Yes.   After sorting through these e-mails and trying

0 9 : 1 0 : 4 3   12     to put them together, it became clear they had obtained an

0 9 : 1 0 : 4 7   13     evaluation board.

0 9 : 1 0 : 4 8   14           This is one e-mail.      It's from Colin Hunt, and it's

0 9 : 1 0 : 5 4   15     talking about this comparison of the Qorvo products to the

0 9 : 1 0 : 5 8   16     Akoustis products in 5 gigahertz.        And there's a comment

0 9 : 1 1 : 0 2   17     about it, "Hey, the Qorvo evaluation board looks a lot

0 9 : 1 1 : 0 6   18     cleaner and neater, why don't we copy it?" like maybe

0 9 : 1 1 : 0 9   19     plagiarism would be a good solution.

0 9 : 1 1 : 1 2   20           So that sort of conversation, to me, says these guys

0 9 : 1 1 : 1 6   21     are coupled with what normal engineers and executives

0 9 : 1 1 : 2 1   22     would not allow in their company.        Then he talks about

0 9 : 1 1 : 2 4   23     taking those boards and sending them up to their North

0 9 : 1 1 : 2 9   24     Carolina facility and testing them, working with Wi-Fi

0 9 : 1 1 : 3 3   25     experts once they get the boards.        So they are going to
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0 9 : 1 1 : 3 7   1      examine them, every detail, to find out what information

0 9 : 1 1 : 4 1   2      they can get.

0 9 : 1 1 : 4 3   3                    MR. DeFOSSE:    Your Honor, may I approach?

0 9 : 1 1 : 5 0   4                    THE COURT:   You may.

0 9 : 1 1 : 5 9   5      BY MR. DeFOSSE:

0 9 : 1 2 : 0 0   6      Q.    Dr. Shanfield, I handed you what's been marked for

0 9 : 1 2 : 0 4   7      identification PTX-1013.       Is this a document that you

0 9 : 1 2 : 0 8   8      considered in forming your opinions concerning Trade

0 9 : 1 2 : 1 1   9      Secret Group 8?

0 9 : 1 2 : 1 2   10     A.    Yes, definitely.

0 9 : 1 2 : 1 3   11                   MR. STANFORD:    Your Honor, plaintiff would

0 9 : 1 2 : 1 5   12     offer for admission PTX-1013.

0 9 : 1 2 : 1 9   13                   THE COURT:   Marked and received as 227.

0 9 : 1 2 : 2 2   14                   (Trial Exhibit No. 227 was admitted into

0 9 : 1 2 : 2 2   15     evidence.)

0 9 : 1 2 : 2 3   16                   MR. DeFOSSE:    Okay.    Could we pull up

0 9 : 1 2 : 2 5   17     PDX-6.160, please.

                  18     BY MR. DeFOSSE:

0 9 : 1 2 : 2 9   19     Q.    Did Akoustis ultimately test the confidential Qorvo

0 9 : 1 2 : 3 4   20     prototypes that it had obtained?

0 9 : 1 2 : 3 6   21     A.    Yes.    What you see here is an e-mail --

0 9 : 1 2 : 4 2   22     Q.    This is the wrong one.      Sorry.

0 9 : 1 2 : 4 4   23                   MR. DeFOSSE:    6.160?   Okay, 6.159?    Bingo.

0 9 : 1 2 : 5 7   24     BY MR. DeFOSSE:

0 9 : 1 2 : 5 7   25     Q.    Okay.
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0 9 : 1 2 : 5 9   1      A.    So here, now, you get -- this is an e-mail from Rama

0 9 : 1 3 : 0 6   2      Vetury, who is the chief device scientist at Akoustis, and

0 9 : 1 3 : 1 1   3      he says to Marvin Ibro, who is another Akoustis employee,

0 9 : 1 3 : 1 2   4      "Please send me S2P of Qorvo part."        S2P is a detailed

0 9 : 1 3 : 2 0   5      S parameter file.      That's the format that's always used

0 9 : 1 3 : 2 5   6      with these files.      So he's saying, please send me the data

0 9 : 1 3 : 2 9   7      you've taken on the confidential Qorvo test boards.

0 9 : 1 3 : 3 3   8            And sure enough, Mr. Vetury receives these

0 9 : 1 3 : 3 8   9      attached -- he calls them "spar files."           So the

0 9 : 1 3 : 4 2   10     information that they now extracted from confidential

0 9 : 1 3 : 4 6   11     boards is being passed around, and Mr. Vetury apparently

0 9 : 1 3 : 5 1   12     feels comfortable having a look at that.

0 9 : 1 3 : 5 4   13     Q.    If we could move to and switch gears -- well, sorry,

0 9 : 1 3 : 5 7   14     let me ask first.      Same as I did for the first seven

0 9 : 1 4 : 0 1   15     groups.

0 9 : 1 4 : 0 2   16           Do the trade secrets in Group 8 have -- are they

0 9 : 1 4 : 0 6   17     relevant to companies that make either FBAR filters or SMR

0 9 : 1 4 : 1 2   18     filters?

0 9 : 1 4 : 1 3   19     A.    Yes, of course, they are.

0 9 : 1 4 : 1 7   20                  MR. DeFOSSE:     Let's go switch gears now and go

0 9 : 1 4 : 2 0   21     to 6.163.

0 9 : 1 4 : 2 6   22     BY MR. DeFOSSE:

0 9 : 1 4 : 2 6   23     Q.    Dr. Shanfield, as part of your analysis, did you

0 9 : 1 4 : 2 8   24     assess who at Akoustis had Qorvo's confidential

0 9 : 1 4 : 3 6   25     information in their file?
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0 9 : 1 4 : 3 7   1      A.    Yes, I did.

0 9 : 1 4 : 3 7   2      Q.    And what did you conclude?

0 9 : 1 4 : 3 9   3      A.    Actually, it took me many hours of work, and this is

0 9 : 1 4 : 4 3   4      the list of the people that had documents in their

0 9 : 1 4 : 4 7   5      possession that were confidential from Qorvo.          It's 40

0 9 : 1 4 : 5 1   6      people.    And I know that the -- Kevin Faulkner, the guy

0 9 : 1 4 : 5 9   7      who was allowed to look through the computers for limited

0 9 : 1 5 : 0 3   8      time periods, and sometimes, essentially, excluded from

0 9 : 1 5 : 0 7   9      other employees' computers could have probably found a lot

0 9 : 1 5 : 1 1   10     more.

0 9 : 1 5 : 1 1   11           So what I am gleaning from this is that it was

0 9 : 1 5 : 1 6   12     apparently acceptable within Akoustis to have confidential

0 9 : 1 5 : 2 0   13     information of very high value passed around, discussed

0 9 : 1 5 : 2 6   14     openly, used in whatever way they could use it to get an

0 9 : 1 5 : 3 3   15     advantage over their competition.

0 9 : 1 5 : 3 6   16     Q.    Okay.   Dr. Shanfield, as part of the work you did on

0 9 : 1 5 : 3 9   17     this case, were you asked to assess the benefit that

0 9 : 1 5 : 4 3   18     Akoustis had received as a result of obtaining and using

0 9 : 1 5 : 4 8   19     Qorvo's trade secrets?

0 9 : 1 5 : 4 9   20     A.    Yes, I was.

0 9 : 1 5 : 5 3   21     Q.    Did you measure that benefit?

0 9 : 1 5 : 5 6   22     A.    Yes, I did.

0 9 : 1 5 : 5 7   23                   MR. DeFOSSE:    Okay.   Could we go to 6.164,

0 9 : 1 6 : 0 0   24     please.

                  25
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1363PageID
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0 9 : 1 6 : 0 3   1      BY MR. DeFOSSE:

0 9 : 1 6 : 0 3   2      Q.    Now, the head start analysis that you performed --

0 9 : 1 6 : 0 8   3      well, first of all what do you mean by "head start

0 9 : 1 6 : 1 0   4      analysis"?

0 9 : 1 6 : 1 1   5      A.    Well, took a while to think about how to account for

0 9 : 1 6 : 1 6   6      what was the advantage Akoustis obtained in each of the

0 9 : 1 6 : 2 1   7      trade secrets, and what in my experience you get from

0 9 : 1 6 : 2 9   8      confidential information like they were passing around is

0 9 : 1 6 : 3 1   9      you save time, and you save money too, but you save time

0 9 : 1 6 : 3 6   10     in getting to a point that, for example, Qorvo would be

0 9 : 1 6 : 4 1   11     in, let's say, delivering a product or in knowing what

0 9 : 1 6 : 4 4   12     customers to address.

0 9 : 1 6 : 4 6   13           And so I decided to try, and this slide explains it.

0 9 : 1 6 : 5 3   14     Correlate the trade secrets with tasks that the company

0 9 : 1 6 : 5 7   15     had accomplished, practical tasks like deliver 5.2

0 9 : 1 7 : 0 3   16     gigahertz product, and how much time did they save in that

0 9 : 1 7 : 1 0   17     activity.    The estimates that I put in this analysis,

0 9 : 1 7 : 1 6   18     you'll see, they were a result of both experience and my

0 9 : 1 7 : 2 5   19     sense of knowledge from having run a startup company,

0 9 : 1 7 : 3 0   20     having founded and run a startup company, and knowing how

0 9 : 1 7 : 3 6   21     fast a startup company can really get things done.

0 9 : 1 7 : 4 0   22           So I accounted for that based on that experience, and

0 9 : 1 7 : 4 6   23     also based on some background knowledge from what Qorvo

0 9 : 1 7 : 5 0   24     did and was able to do.

0 9 : 1 7 : 5 4   25           And finally Point 3, I made sure there was kind of a
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0 9 : 1 7 : 5 9   1      fair assessment of how they got ahead, you know, if they

0 9 : 1 8 : 0 3   2      got an advantage of two months on one task or six months

0 9 : 1 8 : 0 7   3      on the next task, you can't say the total advantage is

0 9 : 1 8 : 1 0   4      eight months because they might be running in parallel.

0 9 : 1 8 : 1 3   5      So I counted for that by putting them in parallel where it

0 9 : 1 8 : 1 6   6      was reasonable, and as, you know, being the VP of

0 9 : 1 8 : 2 2   7      operations, I know what runs in parallel and what doesn't

0 9 : 1 8 : 2 6   8      in a startup company.      So I -- and it came out, I think,

0 9 : 1 8 : 2 9   9      with a reasonable estimate of what the advantage was.             And

0 9 : 1 8 : 3 2   10     that's what the analysis was here.

0 9 : 1 8 : 3 4   11     Q.    Did you perform the head start analysis for each of

0 9 : 1 8 : 3 8   12     the trade secret groups?

0 9 : 1 8 : 3 9   13     A.    Yes, I did.

0 9 : 1 8 : 4 0   14                  MR. DeFOSSE:     Your Honor, may I approach?

0 9 : 1 9 : 0 0   15                  THE COURT:    You may.

0 9 : 1 9 : 0 2   16     BY MR. DeFOSSE:

0 9 : 1 9 : 0 3   17     Q.    Dr. Shanfield, I've just handed you what's been

0 9 : 1 9 : 0 5   18     marked for identification as PTX-0993.            Do you recognize

0 9 : 1 9 : 1 1   19     this document?

0 9 : 1 9 : 1 3   20     A.    Yes, I do.

0 9 : 1 9 : 1 4   21     Q.    And is this Appendix 5 the visual of the head start

0 9 : 1 9 : 2 1   22     analysis that you performed?

0 9 : 1 9 : 2 2   23     A.    Yes, it is.

0 9 : 1 9 : 2 3   24                  MR. DeFOSSE:     Your Honor, plaintiff would offer

0 9 : 1 9 : 2 5   25     for admission PTX-0993.
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                                                 Shanfield

0 9 : 1 9 : 2 8   1                    THE COURT:   Marked and received as 228.

0 9 : 1 9 : 3 1   2                    (Trial Exhibit No. 228 was admitted into

0 9 : 1 9 : 3 1   3      evidence.)

0 9 : 1 9 : 3 4   4                    MR. DeFOSSE:    I'd like to go to PDX-6.167.

0 9 : 1 9 : 3 9   5      BY MR. DeFOSSE:

0 9 : 1 9 : 3 9   6      Q.    And start by talking about the head start analysis

0 9 : 1 9 : 4 2   7      that you performed for Trade Secret Group 1.

0 9 : 1 9 : 4 7   8            Dr. Shanfield, how did you determine -- well, what

0 9 : 1 9 : 4 9   9      was the head start advantage that you associated with

0 9 : 1 9 : 5 4   10     Trade Secret Group 1?

0 9 : 1 9 : 5 6   11     A.    The cumulative head start, ignoring the parallels

0 9 : 1 9 : 5 9   12     between groups, was nine months.

0 9 : 2 0 : 0 3   13     Q.    And can you walk the jury through how you determined

0 9 : 2 0 : 0 7   14     that Akoustis saved nine months of time with respect to

0 9 : 2 0 : 1 2   15     group 1?

0 9 : 2 0 : 1 3   16     A.    Sure.    If you look at this chart, and I know it's

0 9 : 2 0 : 1 6   17     complicated looking, but each of those black lines on the

0 9 : 2 0 : 2 0   18     right under Year 1 represents a month of savings, so in

0 9 : 2 0 : 2 6   19     the first line "assessing Wi-Fi market including the size

0 9 : 2 0 : 3 2   20     of the available market and market segments," I'VE

0 9 : 2 0 : 3 5   21     determined that, well, in reality, and you've heard this

0 9 : 2 0 : 3 9   22     from other witnesses, it might take a year to do that kind

0 9 : 2 0 : 4 4   23     of analysis, and I estimated that they saved maybe three

0 9 : 2 0 : 4 9   24     months.    They got information they would have gathered on

0 9 : 2 0 : 5 1   25     their own too.     That's the three bars in that graph.
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0 9 : 2 0 : 5 5   1            But you can see in the next line, "Assessing

0 9 : 2 0 : 5 9   2      competition in market, including expected gaps," that two

0 9 : 2 1 : 0 4   3      of the three months in that line are overlapping the

0 9 : 2 1 : 0 8   4      earlier activity because that's something that would be

0 9 : 2 1 : 1 1   5      done together, and that's the sort of the logic I used to

0 9 : 2 1 : 1 6   6      create this chart.      It took hours of thinking about what

0 9 : 2 1 : 2 0   7      was reasonable and fair.

0 9 : 2 1 : 2 3   8      Q.    Okay.   And so the cumulative head start advantage

0 9 : 2 1 : 2 6   9      that you believe Akoustis received as a result of having

0 9 : 2 1 : 3 1   10     the trade secrets in Group 1 was nine months?

0 9 : 2 1 : 3 5   11     A.    That's correct.

0 9 : 2 1 : 3 6   12                   MR. DeFOSSE:    Can we go to PDX-6.172.

0 9 : 2 1 : 3 9   13     BY MR. DeFOSSE:

0 9 : 2 1 : 4 4   14     Q.    Dr. Shanfield, can you explain to the jury what tasks

0 9 : 2 1 : 4 7   15     correlate with Akoustis' misappropriation of Qorvo's BAW

0 9 : 2 1 : 5 1   16     filter resonator design documents in Trade Secret Group 2.

0 9 : 2 1 : 5 5   17     A.    Yeah.   This is all in Group 2 of Qorvo's BAW filter

0 9 : 2 2 : 0 0   18     and resonator design documents.

0 9 : 2 2 : 0 2   19     Q.    Okay.   And what trade secret information relating to

0 9 : 2 2 : 0 7   20     the Group 2 did you consider here?

0 9 : 2 2 : 1 4   21     A.    Each -- like, once again, I converted the trade

0 9 : 2 2 : 1 6   22     secret information that they collected in terms of tasks

0 9 : 2 2 : 2 4   23     that had to accomplish in order to run a business, run

0 9 : 2 2 : 2 8   24     Akoustis' business.

0 9 : 2 2 : 3 0   25           Pick an example here.      Let me find this.     Okay.   If
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0 9 : 2 2 : 3 6   1      you look -- I don't have my pointer with me, but is there

0 9 : 2 2 : 4 1   2      a pointer?

0 9 : 2 2 : 4 4   3      Q.    Why don't we just do it without a pointer.

0 9 : 2 2 : 4 6   4      A.    Okay.   "Research concerning tile configuration and

0 9 : 2 2 : 4 9   5      rough layout," for example -- that's one, two, three,

0 9 : 2 2 : 5 3   6      four, five lines down.      And you can see that its -- thank

0 9 : 2 2 : 5 9   7      you -- that it's a total of five months advantage.           If you

0 9 : 2 3 : 0 4   8      remember, the tile configuration not only had the layouts

0 9 : 2 3 : 0 7   9      of the filters that were in the wafer that they had to

0 9 : 2 3 : 1 2   10     run, but it had dozens of test structures, structures that

0 9 : 2 3 : 1 8   11     would be useful to know about as things you would want to

0 9 : 2 3 : 2 1   12     carry on the wafer with the layout of the filters

0 9 : 2 3 : 2 5   13     themselves to monitor how your processes are working in

0 9 : 2 3 : 3 1   14     the filters.

0 9 : 2 3 : 3 2   15           Those kinds of things that are normally it takes a

0 9 : 2 3 : 3 4   16     long time to work out what those structures should look

0 9 : 2 3 : 3 8   17     like, and here they have them available.

0 9 : 2 3 : 4 1   18           So that five months, though, as you can see, there's

0 9 : 2 3 : 4 3   19     other activities that make -- that end up with a net zero

0 9 : 2 3 : 5 1   20     benefit as all of these are added up.         This 43-month head

0 9 : 2 3 : 5 7   21     start, if you took that advantage out because it's in

0 9 : 2 4 : 0 1   22     parallel, wouldn't change the number.         So that's how the

0 9 : 2 4 : 0 3   23     parallelism made a difference in how this analysis worked.

0 9 : 2 4 : 0 9   24     Q.    Okay.   And just so we're clear, the parallelism as

0 9 : 2 4 : 1 3   25     you referred to is to account for the fact that you
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0 9 : 2 4 : 1 6   1      understood that, when Akoustis obtained Qorvo's trade

0 9 : 2 4 : 2 0   2      secrets and was using those trade secrets to perform

0 9 : 2 4 : 2 2   3      tasks, some of those tasks could have been performed at

0 9 : 2 4 : 2 5   4      the same time?

0 9 : 2 4 : 2 7   5      A.    That's right.     And given the context of the number of

0 9 : 2 4 : 2 9   6      engineers, the experience that I could glean from

0 9 : 2 4 : 3 5   7      listening to the engineers and what they knew, that helped

0 9 : 2 4 : 3 8   8      me calibrate.

0 9 : 2 4 : 4 0   9      Q.    Okay.   And for Trade Secret Group 2, what was the

0 9 : 2 4 : 4 3   10     cumulative head start that you calculated?

0 9 : 2 4 : 4 5   11     A.    The total came out to a 43-month head start.

0 9 : 2 4 : 5 0   12                   MR. DeFOSSE:    If we could go to Trade Secret

0 9 : 2 4 : 5 1   13     Group 3, PDX-6.175.

0 9 : 2 4 : 5 7   14     BY MR. DeFOSSE:

0 9 : 2 4 : 5 7   15     Q.    Can you explain to the jury why you estimated a

0 9 : 2 5 : 0 0   16     22-month head start with respect to the trimming trade

0 9 : 2 5 : 0 3   17     secrets in Group 3?

0 9 : 2 5 : 0 6   18     A.    Yes.    I think everybody in this industry recognizes

0 9 : 2 5 : 0 9   19     how important trimming is to be able to economically

0 9 : 2 5 : 1 3   20     manufacture filters.      If you don't get this right, you

0 9 : 2 5 : 1 7   21     can't do it.      You can manufacture a few samples, maybe,

0 9 : 2 5 : 2 2   22     but you're not going to be able to do tens of millions of

0 9 : 2 5 : 2 7   23     parts.

0 9 : 2 5 : 2 7   24           So the trimming is removing layers that are one layer

0 9 : 2 5 : 3 6   25     of an atoms thick at a time on the filters in order to get
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0 9 : 2 5 : 3 9   1      the frequencies that the filter works at correct.            And

0 9 : 2 5 : 4 4   2      you've got to trade-off parameters.         So, as you remember,

0 9 : 2 5 : 4 7   3      there was an -- actually, three algorithms that I showed

0 9 : 2 5 : 5 2   4      that Qorvo had worked out to get the filters tuned --

0 9 : 2 5 : 5 8   5      trimmed, actually.       And this really had tremendous value.

0 9 : 2 6 : 0 1   6      I mean, it -- although trimming's been around for a long

0 9 : 2 6 : 0 5   7      time, the value here gave a tremendous economic lift and

0 9 : 2 6 : 1 0   8      time savings.      They didn't have to do the work; they just

0 9 : 2 6 : 1 3   9      adopted what Qorvo did, maybe with a little variation.

0 9 : 2 6 : 1 6   10           So that's why it turned out to be this length of

0 9 : 2 6 : 2 1   11     time, 22 months.

0 9 : 2 6 : 2 3   12     Q.    Okay.

0 9 : 2 6 : 2 3   13                   MR. DeFOSSE:     If we could go to 6.177, please.

0 9 : 2 6 : 2 8   14     BY MR. DeFOSSE:

0 9 : 2 6 : 2 8   15     Q.    What was the head-start advantage that you associated

0 9 : 2 6 : 3 1   16     with -- or calculated for Group 4.

0 9 : 2 6 : 3 5   17     A.    Three months.

0 9 : 2 6 : 3 7   18     Q.    And this is the trade secret group that has the

0 9 : 2 6 : 4 0   19     customized RF connector?

0 9 : 2 6 : 4 3   20     A.    Yes.    And so if Akoustis' mechanical engineers had to

0 9 : 2 6 : 4 9   21     design RF connector -- well, they would have to

0 9 : 2 6 : 5 2   22     experiment.       As they would probably create variations.        It

0 9 : 2 6 : 5 5   23     would have to be machined, and produced by another

0 9 : 2 6 : 5 6   24     manufacturer.       They would have to test it.

0 9 : 2 7 : 0 0   25           So it actually would take a while to get a good RF
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0 9 : 2 7 : 0 4   1      connector that was reliable, as it did Qorvo.           But it gave

0 9 : 2 7 : 0 9   2      it three-months advantage just because I think, you know,

0 9 : 2 7 : 1 4   3      they would have a starting point with what existing

0 9 : 2 7 : 2 0   4      connectors looked like.        So they would probably be able to

0 9 : 2 7 : 2 3   5      fairly quickly, in a few months, maybe six or eight

0 9 : 2 7 : 2 7   6      months, get a working connector.         They saved three months

0 9 : 2 7 : 3 2   7      by having Qorvo's design.

0 9 : 2 7 : 3 5   8                    MR. DeFOSSE:     If we could go to Trade Secret

0 9 : 2 7 : 3 6   9      Group 5, and that's PDX-6.180.

0 9 : 2 7 : 3 9   10     BY MR. DeFOSSE:

0 9 : 2 7 : 3 9   11     Q.    What was the head-start advantage that you calculated

0 9 : 2 7 : 4 3   12     for Trade Secret Group 5?

0 9 : 2 7 : 4 5   13     A.    Yes.    The total cumulative head start was six months.

0 9 : 2 7 : 4 8   14     Q.    Okay.    Can you explain your head-start analysis for

0 9 : 2 7 : 5 1   15     this group, Dr. Shanfield?

0 9 : 2 7 : 5 3   16     A.    Yeah.    You've already heard me talk about the need to

0 9 : 2 7 : 5 8   17     have a technology development process, for example.            And

0 9 : 2 8 : 0 3   18     Qorvo's experience in having technology development go

0 9 : 2 8 : 0 8   19     smoothly and systematically, that's 15 years, 20 years of

0 9 : 2 8 : 1 5   20     experience.       They were able to use it as is.      And -- but I

0 9 : 2 8 : 2 2   21     conservatively estimated a couple of months' timesaving

0 9 : 2 8 : 2 6   22     for them because they probably would be able to lay out

0 9 : 2 8 : 2 9   23     technology, but without a process, it probably wouldn't

0 9 : 2 8 : 3 1   24     be -- certainly wouldn't be optimum if they didn't have

0 9 : 2 8 : 3 5   25     this confidential information.
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0 9 : 2 8 : 3 7   1            So they got substantial -- probably more or less than

0 9 : 2 8 : 4 0   2      I accounted for here.

0 9 : 2 8 : 4 3   3                    MR. DeFOSSE:    If we could go to Trade Secret

0 9 : 2 8 : 4 4   4      Group 6, 6.183.

0 9 : 2 8 : 5 0   5      BY MR. DeFOSSE:

0 9 : 2 8 : 5 0   6      Q.    Can you explain your head-start analysis for Trade

0 9 : 2 8 : 5 3   7      Secret Group 6?

0 9 : 2 8 : 5 4   8      A.    Yeah.   This is associated with the systems processes

0 9 : 2 8 : 5 8   9      procedures for testing reliability and coming up with

0 9 : 2 9 : 0 2   10     meantime to failure.

0 9 : 2 9 : 0 5   11           This is hard to do, and usually takes years of

0 9 : 2 9 : 0 9   12     experience in a company.       And the document that -- that I

0 9 : 2 9 : 1 4   13     pointed to, the confidential document for Qorvo, had all

0 9 : 2 9 : 1 8   14     that secret sauce in it, how you do the evaluation, how

0 9 : 2 9 : 2 2   15     you extrapolate it, what works for a BAW filter.           And it

0 9 : 2 9 : 2 9   16     applies to whether it's FBAR or SMR, these tests.

0 9 : 2 9 : 3 6   17           So the lift they got there, in technical terms, was

0 9 : 2 9 : 3 8   18     significant.      They just had to simply do what Qorvo did.

0 9 : 2 9 : 4 2   19     This indication was that's exactly what happened.           So I

0 9 : 2 9 : 4 5   20     gave it a year, 12 months advantage.

0 9 : 2 9 : 4 9   21     Q.    Okay.

0 9 : 2 9 : 4 9   22                   MR. DeFOSSE:    And if we go to PDX-186, Group 7.

0 9 : 2 9 : 5 6   23     BY MR. DeFOSSE:

0 9 : 2 9 : 5 6   24     Q.    Can you explain your head-start calculation for the

0 9 : 3 0 : 0 1   25     misappropriation of the trade secrets in Group 7?
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0 9 : 3 0 : 0 4   1      A.    Yeah.    This was procedure you heard about this

0 9 : 3 0 : 0 7   2      morning.    The inspection assembly instructions, the reflow

0 9 : 3 0 : 1 4   3      conditioning, the qualification.        The net benefit was

0 9 : 3 0 : 1 9   4      five months.      To try and really put those together could

0 9 : 3 0 : 2 4   5      take nine or ten months, at least.        So the benefit in each

0 9 : 3 0 : 3 2   6      case, except for the complexity of the visual inspection,

0 9 : 3 0 : 3 6   7      I took to be three months, and the visual about

0 9 : 3 0 : 3 9   8      five months.      They're all done in parallel, so they end up

0 9 : 3 0 : 4 1   9      at five months, total.

0 9 : 3 0 : 4 5   10     Q.    Okay.

0 9 : 3 0 : 4 5   11                   MR. DeFOSSE:    And if we could go to Trade

0 9 : 3 0 : 4 7   12     Secret Group 8.

0 9 : 3 0 : 4 9   13     BY MR. DeFOSSE:

0 9 : 3 0 : 4 9   14     Q.    Can you explain the head start that Akoustis received

0 9 : 3 0 : 5 3   15     by obtaining and using Qorvo's product roadmaps and

0 9 : 3 0 : 5 7   16     prototypes?

0 9 : 3 0 : 5 8   17                   MR. DeFOSSE:     Sorry.   We need PDX- it's 1.89,

0 9 : 3 1 : 0 3   18     please -- 6.189.

0 9 : 3 1 : 0 7   19                   THE WITNESS:    Yes.   What you're seeing here I

0 9 : 3 1 : 0 8   20     calculated a 15-month head start cumulative.          And

0 9 : 3 1 : 1 5   21     there's -- first line, assessing performance of features

0 9 : 3 1 : 2 1   22     of these 5 gigahertz parts, the 1903 and 1904, you get,

0 9 : 3 1 : 2 7   23     looks like, a ten-month lift on that.

0 9 : 3 1 : 3 3   24                   And if you recall, I think I said it yesterday,

0 9 : 3 1 : 3 9   25     Qorvo -- I'm sorry -- Akoustis had a situation where they
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0 9 : 3 1 : 4 5   1      had a resonator that didn't work.         And they weren't able

0 9 : 3 1 : 5 0   2      to get, you know, the quality of resonance that they

0 9 : 3 1 : 5 6   3      needed to create a filter.        And ten months later they were

0 9 : 3 2 : 0 1   4      delivering 5 gigahertz sample parts of filters, not just

0 9 : 3 2 : 0 5   5      resonators.       And that was during the period where there

0 9 : 3 2 : 0 8   6      was this flurry of use of confidential information.

0 9 : 3 2 : 1 4   7                    The confidential information that they took

0 9 : 3 2 : 1 7   8      allowed them this advantage, this ten-month advantage, in

0 9 : 3 2 : 2 1   9      my estimate, in getting to their 5 gigahertz part.              And

0 9 : 3 2 : 2 6   10     that's where that number comes from.

0 9 : 3 2 : 2 9   11                   And I took estimates of the 6E products,

0 9 : 3 2 : 3 4   12     automotive products and 5G products as well.             I think they

0 9 : 3 2 : 3 8   13     are conservative, really, because in many cases -- I mean,

0 9 : 3 2 : 4 2   14     being able to go that fast, and the lift from that is

0 9 : 3 2 : 4 5   15     probably more than I actually estimated.

0 9 : 3 2 : 4 7   16     BY MR. DeFOSSE:

0 9 : 3 2 : 4 8   17     Q.    Dr. Shanfield, we walked through each of the groups.

0 9 : 3 2 : 5 2   18     I'd kind of like to try to put this all together because I

0 9 : 3 2 : 5 4   19     think your analysis needs to be looked at for all eight

0 9 : 3 2 : 5 8   20     groups together.

0 9 : 3 2 : 5 9   21     A.    Sure.

0 9 : 3 2 : 5 9   22                   MR. DeFOSSE:     Could we pull up Appendix 5,

0 9 : 3 3 : 0 1   23     which is now trial Exhibit 228.         Okay.      Maybe we won't.

0 9 : 3 3 : 1 3   24     We'll pull up Appendix 5.

0 9 : 3 3 : 1 6   25                   THE COURT:    You want to hold this up?
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0 9 : 3 3 : 1 9   1                    MR. DeFOSSE:    Yeah.   I don't think anybody can

0 9 : 3 3 : 2 0   2      see that if you hold it up.

0 9 : 3 3 : 2 2   3                    THE WITNESS:    This is the whole -- you won't be

0 9 : 3 3 : 2 3   4      able to see it.

0 9 : 3 3 : 2 4   5      BY MR. DeFOSSE:

0 9 : 3 3 : 2 5   6      Q.    Let's try to explain it verbally, then,

0 9 : 3 3 : 2 7   7      Dr. Shanfield.

0 9 : 3 3 : 2 8   8            Now, when you calculated each of the trade secrets in

0 9 : 3 3 : 3 1   9      the individual groups --

0 9 : 3 3 : 3 2   10     A.    Yes.

0 9 : 3 3 : 3 2   11     Q.    -- did you also run the head-start advantage that you

0 9 : 3 3 : 3 6   12     calculated for those groups in parallel or did you just

0 9 : 3 3 : 3 9   13     add them all up in line?

0 9 : 3 3 : 4 0   14     A.    I put them in parallel, like you can kind of see this

0 9 : 3 3 : 4 3   15     in this diagram.      Each of these are the groups.       And I put

0 9 : 3 3 : 5 0   16     them in parallel in a way that kept the analysis as fair

0 9 : 3 3 : 5 4   17     as possible in the way a start-up like Akoustis -- ah.

0 9 : 3 3 : 5 9   18     Got it.

0 9 : 3 4 : 0 1   19           So, although you can't see them anymore, they're all

0 9 : 3 4 : 0 5   20     set in parallel.      I put a lot of thought into trying to

0 9 : 3 4 : 1 0   21     get this right.

0 9 : 3 4 : 1 1   22     Q.    Okay.   And, again, by putting them in parallel, you

0 9 : 3 4 : 1 5   23     were accounting for the fact that if Akoustis obtained

0 9 : 3 4 : 1 8   24     Qorvo's trade secrets with respect to product prototypes

0 9 : 3 4 : 2 2   25     and confidential data sheets in Trade Secret Group 8, and
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0 9 : 3 4 : 2 8   1      it also obtained Qorvo's information concerning

0 9 : 3 4 : 3 1   2      reliability testing, you may have some working on

0 9 : 3 4 : 3 4   3      reliability testing at the same time someone's out in the

0 9 : 3 4 : 3 8   4      market trying to figure out, you know, what products are

0 9 : 3 4 : 4 0   5      going to launch; is that right?

0 9 : 3 4 : 4 1   6      A.    That's right.     In fact, if you look here, you can see

0 9 : 3 4 : 4 3   7      there's whole groups of trade secrets that have no effect

0 9 : 3 4 : 4 7   8      on the total advantage because they're running in parallel

0 9 : 3 4 : 5 1   9      with other activities.

0 9 : 3 4 : 5 5   10     Q.    How does your opinion that Akoustis received a

0 9 : 3 4 : 5 7   11     55-month head start apply to what we see in the real world

0 9 : 3 5 : 0 3   12     or compared to what we see in the real world?

0 9 : 3 5 : 0 5   13     A.    Yeah.   That was another way I checked -- the sanity

0 9 : 3 5 : 0 9   14     check of the 55 months.       And if you remember, Dr. Aigner

0 9 : 3 5 : 1 9   15     said it takes typically five years from the point of

0 9 : 3 5 : 2 2   16     deciding you're going to make a product to the first

0 9 : 3 5 : 2 4   17     sample deliveries of this product at Qorvo.

0 9 : 3 5 : 2 8   18           Now, you could view Qorvo as not a start-up, but,

0 9 : 3 5 : 3 2   19     actually, has huge resources for getting things done.           So

0 9 : 3 5 : 3 7   20     once that decision is made, they're faster than how the

0 9 : 3 5 : 4 2   21     start-up would be in operating without confidential

0 9 : 3 5 : 4 7   22     information, in my opinion.       I have run a startup.      I know

0 9 : 3 5 : 5 0   23     how it works.

0 9 : 3 5 : 5 2   24           So the five years is 60 months.        That -- it seemed to

0 9 : 3 6 : 0 0   25     fit, rough amount, of -- there's other advantages that
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0 9 : 3 6 : 0 5   1      Akoustis was realizing in marketing and so on.          So it's

0 9 : 3 6 : 0 9   2      not just delivering product, but it was definitely in the

0 9 : 3 6 : 1 4   3      right magnitude, approximately the right value.

0 9 : 3 6 : 1 9   4      Q.    Okay.    Dr. Shanfield if we could return to PDX-6.3,

0 9 : 3 6 : 2 4   5      from the beginning of our conversation.

0 9 : 3 6 : 3 6   6            You were asked to analyze two things in this case.

0 9 : 3 6 : 4 0   7      We just went through the trade-secret analysis.           Can you

0 9 : 3 6 : 4 2   8      remind the jury what the second thing you were asked to

0 9 : 3 6 : 4 5   9      look at was?

0 9 : 3 6 : 4 6   10     A.    Yes.    The second thing I was asked to do is analyze

0 9 : 3 6 : 4 8   11     the performance aspects of a couple of patents and do

0 9 : 3 6 : 5 3   12     computer simulations.      I promise it won't take as long as

0 9 : 3 6 : 5 7   13     the trade secret part.

0 9 : 3 6 : 5 8   14                   MR. DeFOSSE:    Can we pull up PDX-6.191.

0 9 : 3 7 : 0 4   15     BY MR. DeFOSSE:

0 9 : 3 7 : 0 4   16     Q.    What were you asked -- what were you asked to do with

0 9 : 3 7 : 0 7   17     respect to computer simulations in this case?

0 9 : 3 7 : 1 0   18     A.    I was asked to simulate the benefits of these two

0 9 : 3 7 : 1 5   19     patents, '018 and '755 patent.

0 9 : 3 7 : 1 7   20     Q.    Okay.    And can you explain at a high level to the

0 9 : 3 7 : 2 0   21     jury what you did in connection with performing those

0 9 : 3 7 : 2 5   22     simulations?

0 9 : 3 7 : 2 6   23     A.    I've done many simulations with electroacoustic

0 9 : 3 7 : 3 1   24     devices, and I've modeled Akoustis devices and state of

0 9 : 3 7 : 3 7   25     the art -- or devices that were around at the same time
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0 9 : 3 7 : 4 1   1      that would be representative of other BAW filter devices

0 9 : 3 7 : 4 7   2      with this Consol software, which is a finite element

0 9 : 3 7 : 5 4   3      analysis, is what it's called.        It's actually quite

0 9 : 3 7 : 5 8   4      complex.    It takes a lot of the work to get everything

0 9 : 3 8 : 0 2   5      working right, and you have to test it to make sure it's

0 9 : 3 8 : 0 6   6      giving you the answers that are physically meaningful.

0 9 : 3 8 : 0 9   7            So that's the approach I took to get simulations

0 9 : 3 8 : 1 4   8      done.

0 9 : 3 8 : 1 6   9                   MR. DeFOSSE:     Your Honor, may I approach?

0 9 : 3 8 : 1 8   10                  THE COURT:    You may.

0 9 : 3 8 : 4 1   11     BY MR. DeFOSSE:

0 9 : 3 8 : 4 2   12     Q.    Dr. Shanfield, I've handed you what's been marked for

0 9 : 3 8 : 4 4   13     identification as PTX-1715.

0 9 : 3 8 : 4 9   14           Do you recognize this document?

0 9 : 3 8 : 5 0   15     A.    Yes, I do.

0 9 : 3 8 : 5 2   16     Q.    And what is it?

0 9 : 3 8 : 5 3   17     A.    It's the patent I'm calling the '018 patent.

0 9 : 3 8 : 5 8   18                  MR. DeFOSSE:     Your Honor, plaintiff would offer

0 9 : 3 8 : 5 9   19     for admission PTX-1715.

0 9 : 3 9 : 0 2   20                  THE COURT:    Marked and received as 229.

0 9 : 3 9 : 0 6   21                  (Trial Exhibit No. 229 was admitted into

0 9 : 3 9 : 0 6   22     evidence.)

0 9 : 3 9 : 0 6   23     BY MR. DeFOSSE:

0 9 : 3 9 : 0 7   24     Q.    And I've also offered you what's previously been

0 9 : 3 9 : 1 1   25     marked in this case as Trial Exhibit 42, which is the
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1378PageID
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0 9 : 3 9 : 1 7   1      Fattinger patent; is that correct?

0 9 : 3 9 : 1 9   2      A.    That's correct.

0 9 : 3 9 : 2 0   3      Q.    Are these the two patents that you reviewed in

0 9 : 3 9 : 2 3   4      connection with performing your simulations?

0 9 : 3 9 : 2 5   5      A.    Yes.

0 9 : 3 9 : 2 8   6      Q.    Okay.   Let's start with the simulation you did for

0 9 : 3 9 : 3 1   7      the '018 patent.

0 9 : 3 9 : 3 2   8                    MR. DeFOSSE:    Could we pull up 6.194, please.

0 9 : 3 9 : 3 8   9      BY MR. DeFOSSE:

0 9 : 3 9 : 3 8   10     Q.    Now, Dr. Shanfield, just for context for the jury,

0 9 : 3 9 : 4 1   11     they'll be hearing from Dr. Bravman and Dr. Heinrich later

0 9 : 3 9 : 4 6   12     today with respect to this claim.

0 9 : 3 9 : 4 8   13           You were asked to analyze only -- or perform the

0 9 : 3 9 : 5 1   14     simulations only with respect to one part of the claim; is

0 9 : 3 9 : 5 4   15     that right?

0 9 : 3 9 : 5 5   16     A.    That's right.

0 9 : 3 9 : 5 6   17     Q.    Could you identify for the jury which part of the

0 9 : 3 9 : 5 8   18     claim your simulations related to?

0 9 : 4 0 : 0 1   19     A.    Yeah.   You can see -- the part that I circled at the

0 9 : 4 0 : 0 4   20     bottom of Claim 1 is to increase a filter bandwidth of the

0 9 : 4 0 : 0 8   21     electro acoustic resonator.

0 9 : 4 0 : 1 2   22     Q.    And as a general matter, what does it mean to

0 9 : 4 0 : 1 5   23     increase the filter bandwidth?

0 9 : 4 0 : 1 7   24     A.    As you remember, that diagram that showed noise

0 9 : 4 0 : 2 1   25     coming into a filter and then a nice signal coming out.
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0 9 : 4 0 : 2 4   1      If you increase the bandwidth, you may let some more

0 9 : 4 0 : 2 7   2      frequencies through, and what that ends up giving you, on

0 9 : 4 0 : 3 1   3      a cell phone using this filter, is a clear signal.           Like,

0 9 : 4 0 : 3 8   4      the voice sounds better or you can stream videos if the

0 9 : 4 0 : 4 2   5      bandwidth is larger, where you wouldn't be able to do it

0 9 : 4 0 : 4 5   6      with a narrow bandwidth.

0 9 : 4 0 : 5 2   7                   MR. LEMIEUX:     Excuse me, Your Honor.     I just

0 9 : 4 0 : 5 3   8      wanted to clarify, this transcript is being sealed because

0 9 : 4 0 : 5 5   9      there is confidential information.

0 9 : 4 0 : 5 8   10                  THE COURT:    I think all material has covered

0 9 : 4 1 : 0 1   11     confidential information.       All this information is

0 9 : 4 1 : 0 8   12     confidential, and there's no one in the room who was not

0 9 : 4 1 : 1 3   13     allowed to be in the room, I hope.        I didn't see anybody.

0 9 : 4 1 : 1 9   14                  MR. LEMIEUX:     I didn't see anyone, Your Honor.

0 9 : 4 1 : 2 0   15     I just wanted to make sure the transcript is being

0 9 : 4 1 : 2 2   16     treated --

0 9 : 4 1 : 2 3   17                  THE COURT:    Absolutely.    Thanks very much.

0 9 : 4 1 : 2 6   18     BY MR. DeFOSSE:

0 9 : 4 1 : 3 3   19     Q.    All right.

0 9 : 4 1 : 3 6   20                  MR. DeFOSSE:     Can we go to PDX-6.196.

0 9 : 4 1 : 4 1   21           And Your Honor, may I approach?

0 9 : 4 1 : 4 4   22                  THE COURT:    You may.

0 9 : 4 1 : 4 4   23     BY MR. DeFOSSE:

0 9 : 4 2 : 0 3   24     Q.    Dr. Shanfield, I've handed you also a hard copy of

0 9 : 4 2 : 0 6   25     the images that you see on the Slide 6.196 to assist you.
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0 9 : 4 2 : 1 4   1            If we look at this graph, can you explain to the jury

0 9 : 4 2 : 1 7   2      what we see on the left-hand side?

0 9 : 4 2 : 2 0   3      A.    So what you see there is the structures I constructed

0 9 : 4 2 : 2 5   4      in the simulation.      The top structure is the structure

0 9 : 4 2 : 3 0   5      that uses the '018 patent, and the bottom structure is

0 9 : 4 2 : 3 7   6      what the prior art was of structures at the time of that

0 9 : 4 2 : 4 3   7      patent.    So there's thicknesses that are different in

0 9 : 4 2 : 4 8   8      each.

0 9 : 4 2 : 4 8   9      Q.    Okay.   And when you say that there's thicknesses that

0 9 : 4 2 : 5 2   10     are different in each, what do you mean?

0 9 : 4 2 : 5 4   11     A.    So if you remember, the resonators that make up

0 9 : 4 2 : 5 9   12     filters have these two metal electrodes, metal on top,

0 9 : 4 3 : 0 3   13     metal on the bottom.      And if you make the metal on the top

0 9 : 4 3 : 0 7   14     thinner than on the bottom, what the '018 patent says is

0 9 : 4 3 : 1 0   15     that you'll get better bandwidth.

0 9 : 4 3 : 1 3   16           So that's what I'm simulating here by doing thinner

0 9 : 4 3 : 1 9   17     on the top, thicker on the bottom, versus the same

0 9 : 4 3 : 2 2   18     thickness top and bottom.

0 9 : 4 3 : 2 3   19     Q.    Okay.   And just so we're clear, on the upper

0 9 : 4 3 : 2 7   20     right-hand side of the slide, in the blue box, that's the

0 9 : 4 3 : 3 2   21     Akoustis product that Qorvo is accusing of infringement;

0 9 : 4 3 : 3 5   22     is that right?

0 9 : 4 3 : 3 6   23     A.    Upper left-hand side.

0 9 : 4 3 : 3 7   24     Q.    Upper left-hand side.      In the blue box?

0 9 : 4 3 : 3 9   25     A.    Yes, that's correct.
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0 9 : 4 3 : 4 0   1      Q.    And on the lower left-hand side of the green box,

0 9 : 4 3 : 4 4   2      that is a prior art product where the thickness of

0 9 : 4 3 : 4 8   3      electrodes is the same?

0 9 : 4 3 : 4 9   4      A.    That's correct.

0 9 : 4 3 : 5 0   5      Q.    So the difference between the lower box and the upper

0 9 : 4 3 : 5 2   6      box is, in the lower box, the electrodes are the same

0 9 : 4 3 : 5 5   7      thickness.     In the upper box, in the Akoustis product, the

0 9 : 4 3 : 5 9   8      electrodes have different thicknesses?

0 9 : 4 4 : 0 1   9      A.    That's correct.

0 9 : 4 4 : 0 1   10     Q.    And where did you get the structures for the

0 9 : 4 4 : 0 4   11     thicknesses of the electrodes, the information on that?

0 9 : 4 4 : 0 8   12     A.    From a combination of Dr. Heinrich and Dr. Bravman.

0 9 : 4 4 : 1 1   13     Q.    Who the jury will hear from --

0 9 : 4 4 : 1 3   14     A.    Yes.

0 9 : 4 4 : 1 3   15     Q.    -- later today?

0 9 : 4 4 : 1 4   16           Okay.    So you received the Akoustis structures and

0 9 : 4 4 : 1 7   17     the prior art structures, and you ran a computer

0 9 : 4 4 : 2 1   18     simulation; is that right?

0 9 : 4 4 : 2 2   19     A.    That's correct, yes.

0 9 : 4 4 : 2 3   20     Q.    And what was the result of the computer simulation?

0 9 : 4 4 : 2 6   21     A.    The result was that the '018 patent works.          It does

0 9 : 4 4 : 3 0   22     increase the bandwidth, as taught in that patent.

0 9 : 4 4 : 3 6   23     Q.    Okay.    So did you see that the Akoustis product had

0 9 : 4 4 : 3 9   24     an increased filter bandwidth?

0 9 : 4 4 : 4 1   25     A.    I did.
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0 9 : 4 4 : 4 1   1      Q.     Can you explain to the jury how you can see that in

0 9 : 4 4 : 4 5   2      the computer simulation results on the right-hand side of

0 9 : 4 4 : 4 8   3      196?

0 9 : 4 4 : 4 9   4      A.     Yes.    If you look at what I've circled in red, what

0 9 : 4 4 : 5 4   5      you see is a green line, and it's -- what it's

0 9 : 4 4 : 5 9   6      representing is the energy leakage, the rate of energy

0 9 : 4 5 : 0 5   7      leakage of the prior art product.         And as -- and that's

0 9 : 4 5 : 1 4   8      been plotted as a function of frequency in the range of

0 9 : 4 5 : 1 7   9      the circle.       You see that green line goes zooming up.

0 9 : 4 5 : 2 3   10     That means that energy leakage is way up at the band edge.

0 9 : 4 5 : 2 8   11     And the blue line is the structure with the '018 details

0 9 : 4 5 : 3 4   12     included.      And, there, the blue line stays low.        So at the

0 9 : 4 5 : 4 0   13     band edge, the loss is low.        And that ends up making a

0 9 : 4 5 : 4 7   14     bigger bandwidth.       So that is how I got my result.

0 9 : 4 5 : 5 2   15     Q.     Okay.    So the blue line represents the Akoustis

0 9 : 4 5 : 5 5   16     product?

0 9 : 4 5 : 5 6   17     A.     Yes.

0 9 : 4 5 : 5 6   18     Q.     And by having the blue line below the green line in

0 9 : 4 6 : 0 0   19     the red circle, you can see that the bandwidth of the

0 9 : 4 6 : 0 3   20     Akoustis product has increased?

0 9 : 4 6 : 0 5   21     A.     That's correct.

0 9 : 4 6 : 0 5   22     Q.     I'd like to turn to the '755 patent now.

0 9 : 4 6 : 1 4   23                    MR. DeFOSSE:    And if we could pull up

0 9 : 4 6 : 1 6   24     PDX-6.199.

                  25
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0 9 : 4 6 : 1 9   1      BY MR. DeFOSSE:

0 9 : 4 6 : 1 9   2      Q.     You were also asked to perform computer simulations

0 9 : 4 6 : 2 2   3      with respect to this patent, correct?

0 9 : 4 6 : 2 4   4      A.     Yes, that's right.

0 9 : 4 6 : 2 5   5      Q.     And, again, your simulations only related to one part

0 9 : 4 6 : 2 9   6      of the patent claim?

0 9 : 4 6 : 3 0   7      A.     That's right.

0 9 : 4 6 : 3 1   8      Q.     And the other parts are going to be addressed by

0 9 : 4 6 : 3 3   9      Dr. Bravman; is that right?

0 9 : 4 6 : 3 4   10     A.     Yes.

0 9 : 4 6 : 3 4   11     Q.     And for your simulations, which aspect of the claim

0 9 : 4 6 : 3 9   12     was relevant?

0 9 : 4 6 : 4 2   13     A.     Again, it was at the bottom of -- it's Claim 9.         And

0 9 : 4 6 : 4 6   14     what it's talking about is an arrangement in the structure

0 9 : 4 6 : 5 3   15     of the resonators such that there's less loss from the

0 9 : 4 7 : 0 0   16     resonator.

0 9 : 4 7 : 0 1   17     Q.     So you simulated whether the Akoustis product would

0 9 : 4 7 : 0 7   18     result in having less energy loss?

0 9 : 4 7 : 1 1   19     A.     Yes.    Energy leakage is the same thing.

0 9 : 4 7 : 1 4   20     Q.     Okay.

0 9 : 4 7 : 1 4   21                    MR. DeFOSSE:   If we go to PDX-6.200.

0 9 : 4 7 : 1 9   22     BY MR. DeFOSSE:

0 9 : 4 7 : 1 9   23     Q.     Does this slide show the computer simulation that you

0 9 : 4 7 : 2 2   24     ran?

0 9 : 4 7 : 2 3   25     A.     Yes, it does.
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0 9 : 4 7 : 2 4   1      Q.    And on the left-hand side, in the blue box, what is

0 9 : 4 7 : 2 8   2      that?

0 9 : 4 7 : 2 9   3      A.    So the blue box, again, is practicing what the

0 9 : 4 7 : 3 4   4      details are of the '755 patent and represent the Akoustis

0 9 : 4 7 : 3 9   5      device.    And the structure below is representative of a

0 9 : 4 7 : 4 6   6      device that does not practice '755 details.

0 9 : 4 7 : 5 3   7      Q.    And what's in the green box?

0 9 : 4 7 : 5 7   8      A.    That -- I'm sorry.      That's the bottom one.

0 9 : 4 7 : 5 8   9            The green box is what the structure is that does not

0 9 : 4 8 : 0 2   10     practice the '755 patent.

0 9 : 4 8 : 0 4   11     Q.    Okay.   So the blue box is the Akoustis product.         The

0 9 : 4 8 : 0 7   12     green box is the prior art?

0 9 : 4 8 : 0 8   13     A.    Prior art, yes.

0 9 : 4 8 : 1 0   14     Q.    Okay.   And did you determine whether, with your

0 9 : 4 8 : 1 4   15     simulation, the Akoustis product has less energy leakage?

0 9 : 4 8 : 2 1   16     A.    Yes, I did.

0 9 : 4 8 : 2 1   17     Q.    Okay.   And is that shown in the graph on the

0 9 : 4 8 : 2 3   18     right-hand side?

0 9 : 4 8 : 2 4   19     A.    Yes, it is.

0 9 : 4 8 : 2 4   20     Q.    How is that?

0 9 : 4 8 : 2 6   21     A.    So now, here, you're interested in the passband, and

0 9 : 4 8 : 3 3   22     I circled the passband of the filter.         So that's the --

0 9 : 4 8 : 3 4   23     when I call it a "passband," I mean the frequency around

0 9 : 4 8 : 3 7   24     5.6 gigahertz in this graph.       And what you see is the

0 9 : 4 8 : 4 5   25     Akoustis structure with the blue line has less loss in
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0 9 : 4 8 : 5 0   1      this passband than the green line, which is the prior art

0 9 : 4 8 : 5 3   2      structure.    The green line is above the blue line in that

0 9 : 4 8 : 5 9   3      frequency range.

0 9 : 4 9 : 0 4   4      Q.    Okay.   Dr. Shanfield.     Thank you.

0 9 : 4 9 : 0 6   5                    MR. DeFOSSE:    I will pass the witness.

0 9 : 4 9 : 0 8   6                    THE COURT:   Cross-examination.

0 9 : 4 9 : 1 0   7                               CROSS EXAMINATION

0 9 : 4 9 : 1 0   8      BY MR. LEMIEUX:

0 9 : 4 9 : 4 6   9      Q.    Good morning, Dr. Shanfield.       You'll have to excuse

0 9 : 4 9 : 4 9   10     me as I grab my materials right here.         You covered a lot

0 9 : 4 9 : 4 9   11     of ground, so I have a lot of questions for you.

0 9 : 4 9 : 5 7   12           In your analysis of the various groups of trade

0 9 : 5 0 : 0 1   13     secrets, you looked at numerous e-mails and other

0 9 : 5 0 : 1 0   14     materials that were presented to you from counsel for

0 9 : 5 0 : 1 4   15     plaintiff, right?

0 9 : 5 0 : 1 4   16     A.    What I did was take the material that had been

0 9 : 5 0 : 2 3   17     discovered on Akoustis' computers and narrowed down what I

0 9 : 5 0 : 3 0   18     wanted to look at and did it like a funnel arrangement

0 9 : 5 0 : 3 5   19     where I tried to narrow it down to the point where I

0 9 : 5 0 : 3 8   20     wouldn't have to spend three years looking at it.

0 9 : 5 0 : 4 1   21     Q.    And you said you wanted to do this to try to figure

0 9 : 5 0 : 4 4   22     out whether or not Akoustis received some type of

0 9 : 5 0 : 4 8   23     head-start benefit from its use or access or exposure to

0 9 : 5 0 : 5 3   24     this Qorvo information; is that right?

0 9 : 5 0 : 5 6   25     A.    Well, I was looking for, I think I had it in my
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0 9 : 5 0 : 5 9   1      slide, these characteristics of whether it was known or

0 9 : 5 1 : 0 6   2      would be confidential information, whether there was an

0 9 : 5 1 : 1 1   3      awareness that the people handling that information was

0 9 : 5 1 : 1 5   4      confidential, whether there was economic value.            So I

0 9 : 5 1 : 2 1   5      don't mean to go through the whole list.          But that's the

0 9 : 5 1 : 2 4   6      characteristics I was looking for when I looked at the

0 9 : 5 1 : 2 8   7      group of -- this huge pile of data.

0 9 : 5 1 : 3 1   8      Q.    So your head-start calculation is based on what you

0 9 : 5 1 : 3 5   9      believe to be the time and expense that Akoustis avoided

0 9 : 5 1 : 3 9   10     by allegedly using Qorvo's information and materials has a

0 9 : 5 1 : 4 3   11     shortcut; is that right?

0 9 : 5 1 : 4 5   12     A.    I estimated the time savings; I didn't go into

0 9 : 5 1 : 4 9   13     expense.

0 9 : 5 1 : 5 0   14     Q.    And so, in fact, the GANTT chart that you showed up

0 9 : 5 1 : 5 4   15     here earlier is all just an estimate of time involved in

0 9 : 5 1 : 5 8   16     doing so; is that right?

0 9 : 5 1 : 5 9   17     A.    It's not a GANTT chart.

0 9 : 5 2 : 0 2   18     Q.    Sorry?

0 9 : 5 2 : 0 3   19     A.    It looks like a GANTT chart, but, actually, it's

0 9 : 5 2 : 0 5   20     just, when I say, "year 1, year 2," those are meant to be

0 9 : 5 2 : 1 2   21     arbitrary times.      It doesn't mean it started in year 1

0 9 : 5 2 : 1 6   22     that Akoustis was founded, for example.           It's -- year 1 is

0 9 : 5 2 : 2 0   23     the year that this -- my experience tells me a startup

0 9 : 5 2 : 3 0   24     company would save this amount of time in doing these

0 9 : 5 2 : 3 4   25     tasks first.      So it just put in order all the tasks so I
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0 9 : 5 2 : 3 8   1      could make sure I accounted for how they were done in

0 9 : 5 2 : 4 2   2      parallel and not overestimate time savings.

0 9 : 5 2 : 4 6   3      Q.    So you divided them into year time periods on your

0 9 : 5 2 : 5 1   4      chart -- Year 1, Year 2, Year 3, Year 4, Year 5 -- that's

0 9 : 5 2 : 5 7   5      right?    I saw that accurately, didn't I?

0 9 : 5 3 : 0 0   6      A.    It's not divided.     I should have called it "Year A,

0 9 : 5 3 : 0 4   7      Year B, Year C, Year D."       They're not -- they are in order

0 9 : 5 3 : 0 8   8      in terms of how I would see a startup company executing

0 9 : 5 3 : 1 3   9      these tasks.

0 9 : 5 3 : 1 4   10     Q.    Okay.   And in terms of the order that you would see

0 9 : 5 3 : 1 7   11     them executing a task, I would assume that if something in

0 9 : 5 3 : 2 1   12     your chart was further over to the left, it's because you

0 9 : 5 3 : 2 4   13     believed that would have been a task they would have

0 9 : 5 3 : 2 6   14     attended to earlier in their formation, the items you

0 9 : 5 3 : 3 0   15     listed towards the right-hand side are items that you

0 9 : 5 3 : 3 3   16     would consider they would have gotten to later in their

0 9 : 5 3 : 3 6   17     attention; is that right?

0 9 : 5 3 : 3 7   18     A.    No.

0 9 : 5 3 : 3 7   19     Q.    So that the right to left -- or, excuse me, the left

0 9 : 5 3 : 4 0   20     to right head start you've calculated, that doesn't

0 9 : 5 3 : 4 3   21     actually mean that?

0 9 : 5 3 : 4 5   22     A.    What it means is I am plotting the benefit, the

0 9 : 5 3 : 5 0   23     savings in time the company realized, and I am putting

0 9 : 5 3 : 5 3   24     approximately where that savings might have been realized,

0 9 : 5 3 : 5 6   25     but it's somewhat arbitrary.       I just wanted to place it in
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0 9 : 5 4 : 0 0   1      a way relative to the other tasks so that I could account

0 9 : 5 4 : 0 4   2      for the fact tasks are done in parallel in a real company,

0 9 : 5 4 : 0 8   3      and you can just add them all up.

0 9 : 5 4 : 1 0   4      Q.    Okay.   But when you are putting these in parallel,

0 9 : 5 4 : 1 4   5      you are putting a time component on them, right?             You're

0 9 : 5 4 : 1 8   6      saying that these activities, some overlap with each

0 9 : 5 4 : 2 0   7      other, but that each activity would take a certain amount

0 9 : 5 4 : 2 3   8      of time.    And you put them on a graph that's moving

0 9 : 5 4 : 2 7   9      chronologically in time from a start to finish, right?

0 9 : 5 4 : 3 0   10     A.    No.   What's plotted there is how much benefit in

0 9 : 5 4 : 3 5   11     terms of time savings Akoustis realized, my estimate of

0 9 : 5 4 : 4 0   12     that.   And in terms of the sequence, I wanted to make sure

0 9 : 5 4 : 4 4   13     I accounted for the fact these tasks, some of them would

0 9 : 5 4 : 4 9   14     be done in parallel in a real company.            So I aligned them

0 9 : 5 4 : 5 3   15     to the other tasks, but exactly where they happened in the

0 9 : 5 4 : 5 7   16     calendar is not representative there necessarily.             It's

0 9 : 5 5 : 0 1   17     their relation to the other tasks that I wanted to make

0 9 : 5 5 : 0 5   18     sure I accounted for.

0 9 : 5 5 : 0 6   19     Q.    Well, I'm a little confused, then, Dr. Shanfield,

0 9 : 5 5 : 0 9   20     because at the end of your chart, you match it up on a

0 9 : 5 5 : 1 3   21     line --

0 9 : 5 5 : 1 3   22                   MR. LEMIEUX:    If we can pull up Appendix 5 to

0 9 : 5 5 : 1 6   23     Dr. Shanfield's report.

0 9 : 5 5 : 1 7   24     BY MR. LEMIEUX:

0 9 : 5 5 : 1 8   25     Q.    -- it measures up to the point where you got to your
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0 9 : 5 5 : 2 1   1      55-month head-start estimation, right?

0 9 : 5 5 : 2 5   2      A.    Yeah, that's adding months; that's not calendar

0 9 : 5 5 : 2 9   3      years.

0 9 : 5 5 : 2 9   4      Q.    Right, but you didn't get to 55 months by simply

0 9 : 5 5 : 3 3   5      adding, as you said, all the different black boxes on your

0 9 : 5 5 : 3 6   6      chart.    You actually put them in some type of order that

0 9 : 5 5 : 3 9   7      you believed would be logical for a startup company to

0 9 : 5 5 : 4 3   8      follow?

0 9 : 5 5 : 4 4   9      A.    No.   Once again, what I did was made sure the

0 9 : 5 5 : 4 9   10     relationship in my mind was logical between tasks, like

0 9 : 5 5 : 5 3   11     for example, you're not going to start designing a

0 9 : 5 5 : 5 7   12     building a product, the 5 gigahertz, before you know

0 9 : 5 6 : 0 0   13     something about the market.       So probably you are not going

0 9 : 5 6 : 0 4   14     to do those two tasks in parallel.        And so that's what

0 9 : 5 6 : 0 8   15     this chart accounts for is that these two activities and

0 9 : 5 6 : 1 1   16     the benefit were not done in parallel, so you can add them

0 9 : 5 6 : 1 6   17     up.

0 9 : 5 6 : 1 7   18           On the other hand, getting documentation on how

0 9 : 5 6 : 2 0   19     you're going to your product development, your product

0 9 : 5 6 : 2 7   20     requirements documents, your qualification documents, I

0 9 : 5 6 : 3 3   21     expect that those would be done around the same time.           I

0 9 : 5 6 : 3 5   22     didn't say what time, but they are done around the same

0 9 : 5 6 : 3 8   23     time, and so I lined them up.       That way it accounts for

0 9 : 5 6 : 4 2   24     the fact that this work is done in parallel, and you don't

0 9 : 5 6 : 4 5   25     overcount the savings that Akoustis realized.
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0 9 : 5 6 : 5 1   1      Q.    You will have to forgive me because I don't have the

0 9 : 5 6 : 5 4   2      degrees in physics that you have, Dr. Shanfield, but my

0 9 : 5 6 : 5 8   3      understanding of a head start means that that's time that

0 9 : 5 7 : 0 1   4      I was able to jump ahead where I on would have been

0 9 : 5 7 : 0 5   5      otherwise.     Is that an incorrect assumption on my part?

0 9 : 5 7 : 0 8   6      A.    No, that's right.

0 9 : 5 7 : 0 9   7      Q.    Okay.    So and that we measure a head start in terms

0 9 : 5 7 : 1 1   8      of time, like you have.       You measured it as 55 months.

0 9 : 5 7 : 1 5   9      But that 55 months has to start somewhere, right?           I mean,

0 9 : 5 7 : 1 8   10     my head start doesn't start out nowhere.          I start at a

0 9 : 5 7 : 2 1   11     place, and then 55 months later I'm finally at the place

0 9 : 5 7 : 2 4   12     where you say I should have been to begin with; is that

0 9 : 5 7 : 2 7   13     right?

0 9 : 5 7 : 2 9   14     A.    I guess.    I don't know what -- I guess I don't

0 9 : 5 7 : 3 6   15     understand your question.

0 9 : 5 7 : 3 8   16     Q.    Well, if you're talking about a head start, it's a

0 9 : 5 7 : 4 1   17     head start from someplace to someplace else, right?

0 9 : 5 7 : 4 6   18     A.    Yes.    I agree there's a duration of time over which

0 9 : 5 7 : 5 2   19     this happened, but --

0 9 : 5 7 : 5 3   20     Q.    Otherwise, a head start makes no sense, right?          I

0 9 : 5 7 : 5 6   21     mean, what you are saying it allows me to do is it allows

0 9 : 5 7 : 5 9   22     me to jump ahead 55 months to a point that I shouldn't

0 9 : 5 8 : 0 2   23     have been able to get there until I'd actually incurred

0 9 : 5 8 : 0 6   24     all of that other work, right?

0 9 : 5 8 : 0 8   25     A.    Let me give you an example.       I'll try and clarify
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0 9 : 5 8 : 1 1   1      myself.    I know it is hard to understand.

0 9 : 5 8 : 1 5   2            But, for example, making the documents that spell out

0 9 : 5 8 : 2 0   3      how a company, how Akoustis does their product

0 9 : 5 8 : 2 3   4      development, their quality documents, their assembly

0 9 : 5 8 : 2 8   5      procedures, their inspection procedures, that could be

0 9 : 5 8 : 3 4   6      done early in the life of the company, that could be done

0 9 : 5 8 : 3 8   7      around the middle of the time of the company, that could

0 9 : 5 8 : 4 0   8      be done as soon as the company decides it's going into

0 9 : 5 8 : 4 4   9      manufacturing.     I didn't try and determine that, looking

0 9 : 5 8 : 4 7   10     in the minds of how Akoustis did it.

0 9 : 5 8 : 4 9   11           All I did was make sure that, whatever else was going

0 9 : 5 8 : 5 3   12     on in parallel in that activity, is also represented there

0 9 : 5 8 : 5 9   13     so that I didn't account -- I didn't count advantages in

0 9 : 5 9 : 0 2   14     places that were activity was going in parallel.

0 9 : 5 9 : 0 7   15           So I wasn't trying to predict the history of

0 9 : 5 9 : 1 2   16     Akoustis; all I was doing is taking what I knew about

0 9 : 5 9 : 1 6   17     running a startup company and my experience in the

0 9 : 5 9 : 1 9   18     industry and made sure I lined up what was being done in

0 9 : 5 9 : 2 3   19     parallel.

0 9 : 5 9 : 2 6   20     Q.    And so I assume, then, that when you say a 55-month

0 9 : 5 9 : 2 9   21     head start, you would be starting at where the company was

0 9 : 5 9 : 3 2   22     formed, and they got a 55-month head start at what point?

0 9 : 5 9 : 3 7   23     In the first years of their development?          In their

0 9 : 5 9 : 4 0   24     formation?    Their operation?

0 9 : 5 9 : 4 2   25     A.    Your assumption isn't right.       Forgive me.    It doesn't
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0 9 : 5 9 : 4 8   1      have to be at when the moment this company was founded.

0 9 : 5 9 : 5 1   2      The advantage could have been realized somewhere else in

0 9 : 5 9 : 5 4   3      the history of the company.       I just wanted to make sure,

0 9 : 5 9 : 5 6   4      and I'm roughly accounting for how the sequence of

1 0 : 0 0 : 0 1   5      benefits took place, but I didn't try and predict the

1 0 : 0 0 : 0 5   6      history of the company itself.

1 0 : 0 0 : 0 6   7      Q.    Now, you've mentioned several times, Dr. Shanfield,

1 0 : 0 0 : 0 8   8      that you based these determinations in terms of number of

1 0 : 0 0 : 1 3   9      months when they would occur on your experience running a

1 0 : 0 0 : 1 6   10     startup company; is that right?

1 0 : 0 0 : 1 8   11     A.    That's partly what I did, yes.       I also accounted for

1 0 : 0 0 : 2 1   12     what I knew, for example, Qorvo would do, what I saw in my

1 0 : 0 0 : 2 9   13     experience in corporate life too.

1 0 : 0 0 : 3 1   14     Q.    Well, your last experience in running a startup

1 0 : 0 0 : 3 5   15     company was in 2003, wasn't it?

1 0 : 0 0 : 3 7   16     A.    Yes, that's right.

1 0 : 0 0 : 3 8   17     Q.    Okay.   So you haven't run one for over 20 years?

1 0 : 0 0 : 4 2   18     A.    Yes.

1 0 : 0 0 : 4 2   19     Q.    And in determining the months that you were looking

1 0 : 0 0 : 4 6   20     at for each period of each activity, is that estimation

1 0 : 0 0 : 4 9   21     based on some published journal somewhere, some study, or

1 0 : 0 0 : 5 3   22     is this just a number that you literally have generated

1 0 : 0 0 : 5 7   23     yourself out of thin air?

1 0 : 0 0 : 5 9   24     A.    In every case, I considered where I could find

1 0 : 0 1 : 0 4   25     information that would give me a reference point.           In some
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1 0 : 0 1 : 0 8   1      cases, I thought about projects that I had done in

1 0 : 0 1 : 1 2   2      corporate life recently at Draper Labs maybe as few as two

1 0 : 0 1 : 1 7   3      years ago.    Other cases, I talked to somebody at Qorvo to

1 0 : 0 1 : 2 4   4      see how long this took.       In other cases, I looked back in

1 0 : 0 1 : 2 8   5      the records I had before we sold our company as to when

1 0 : 0 1 : 3 2   6      and what we did so that I remembered, and, you know, I had

1 0 : 0 1 : 3 7   7      some kind of sense of what made -- what would be fair and

1 0 : 0 1 : 4 2   8      what made sense in a startup company.

1 0 : 0 1 : 4 4   9      Q.    Now, you made reference a moment ago to Draper Labs.

1 0 : 0 1 : 4 8   10     Draper Labs is not a manufacturing company, is it?

1 0 : 0 1 : 5 1   11     A.    No.   And so that was more in the development aspects

1 0 : 0 1 : 5 3   12     and the procedure aspects, because we do provide low --

1 0 : 0 1 : 5 8   13     low-rate manufacturing in some cases.

1 0 : 0 2 : 0 1   14     Q.    So, for example, in terms of, you know, assembly,

1 0 : 0 2 : 0 3   15     packaging, and all that, that's not anything that Draper

1 0 : 0 2 : 0 8   16     Labs does, right?

1 0 : 0 2 : 0 9   17     A.    Yeah.   I think I used my experience in assembly and

1 0 : 0 2 : 1 2   18     packaging from -- I ran a 24/7 semiconductor company that

1 0 : 0 2 : 1 7   19     delivered hundreds of millions of parts a year.

1 0 : 0 2 : 2 0   20     Q.    When was that, Dr. Shanfield?

1 0 : 0 2 : 2 2   21     A.    That was in the '90s.

1 0 : 0 2 : 2 4   22     Q.    In the '90s.     And have there been any changes?

1 0 : 0 2 : 2 6   23     A.    And my experience with all the requirements you need

1 0 : 0 2 : 2 9   24     to be able to do that manufacturing.         So that's where I

1 0 : 0 2 : 3 2   25     looked when I thought about, well, what does it take to
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1 0 : 0 2 : 3 5   1      set up this capability?

1 0 : 0 2 : 3 8   2      Q.    Have there been any changes or advances in the

1 0 : 0 2 : 4 1   3      packaging and assembly of semiconductor products over the

1 0 : 0 2 : 4 5   4      last 20 years?

1 0 : 0 2 : 4 7   5      A.    Depends on which industry.       I mean, there have been

1 0 : 0 2 : 5 0   6      changes, obviously.      What happened in the BAW industry is,

1 0 : 0 2 : 5 3   7      there's packaging that was developed in 1970s and '80s

1 0 : 0 3 : 0 0   8      that's being used today on BAW devices, because they're

1 0 : 0 3 : 0 3   9      not integrated circuits.       So there's differences relative

1 0 : 0 3 : 0 7   10     to your Intel microprocessor, which has stack chips and so

1 0 : 0 3 : 1 2   11     on.   None of that is being done in BAW.

1 0 : 0 3 : 1 6   12     Q.    And so in your experience or in your opinion, there

1 0 : 0 3 : 1 9   13     haven't been any changes in assembly, testing, or any of

1 0 : 0 3 : 2 3   14     that over the last 20 years?

1 0 : 0 3 : 2 5   15     A.    Absolutely not.     I'm not saying that at all.        I'm

1 0 : 0 3 : 2 7   16     just saying it's different for BAW.        That device, that

1 0 : 0 3 : 3 2   17     package, that was developed a long time ago, actually.

1 0 : 0 3 : 3 5   18     I'm actually very familiar with it; I know how it's done.

1 0 : 0 3 : 3 8   19     And I went to Korea and, you know, spent time watching

1 0 : 0 3 : 4 4   20     that type of packaging being done, so I had some relevant

1 0 : 0 3 : 4 8   21     experience.

1 0 : 0 3 : 4 9   22     Q.    And that was at what time period, Dr. Shanfield --

1 0 : 0 3 : 5 3   23     A.    In the '90s.

1 0 : 0 3 : 5 4   24     Q.    -- when you saw that?      In the '90s?

1 0 : 0 3 : 5 6   25     A.    It was microelectronics packaging.          So, again,
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1 0 : 0 3 : 5 8   1      different demands on it, much more advanced in general,

1 0 : 0 4 : 0 3   2      much more expensive kind of technology.

1 0 : 0 4 : 0 6   3      Q.    So taking you back in to your determination of how

1 0 : 0 4 : 0 9   4      you assigned a certain amount of months for each of the

1 0 : 0 4 : 1 2   5      activities that you looked at here, is that assessment of

1 0 : 0 4 : 1 7   6      months for each task, like I said, is that based on any

1 0 : 0 4 : 2 0   7      other peer-reviewed or trade journal or any other

1 0 : 0 4 : 2 5   8      published material other than your own private estimation

1 0 : 0 4 : 2 8   9      that you did for this case?

1 0 : 0 4 : 3 6   10     A.    I think I did look in one case at a publication

1 0 : 0 4 : 4 3   11     that -- I'm trying to recall exactly what the subject

1 0 : 0 4 : 4 9   12     matter was.       I remember.   It was in setting up a

1 0 : 0 4 : 5 4   13     reliability facility.       I had a pile of publications, and I

1 0 : 0 5 : 0 4   14     glanced through them and looked at what, both what we had

1 0 : 0 5 : 0 7   15     done at Raytheon, and also what people who had published

1 0 : 0 5 : 1 3   16     information about -- evaluating filter reliability had

1 0 : 0 5 : 2 1   17     done so that I got a perspective, I saw the named

1 0 : 0 5 : 2 4   18     companies.    So I guess I did in that case look at actual

1 0 : 0 5 : 3 1   19     published information.

1 0 : 0 5 : 3 2   20     Q.    So you believe that in that particular instance, you

1 0 : 0 5 : 3 5   21     may have seen something.        If you had seen it, that would

1 0 : 0 5 : 3 7   22     have been included as a reference to your expert report,

1 0 : 0 5 : 4 2   23     correct, as something you relied on?

1 0 : 0 5 : 4 8   24     A.    I don't recall whether it was or not, but I do recall

1 0 : 0 5 : 5 1   25     I spent a lot of time making sure I was coming up with a
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1 0 : 0 5 : 5 7   1      reasonable number based on the best information I could

1 0 : 0 5 : 5 9   2      find, whether it was published document.          A lot of times

1 0 : 0 6 : 0 3   3      this stuff isn't published because companies don't want to

1 0 : 0 6 : 0 7   4      share what it actually took for them to develop their

1 0 : 0 6 : 0 9   5      reliability setup.      So I had to kind of read in between

1 0 : 0 6 : 1 4   6      the lines in documents I read --

1 0 : 0 6 : 1 7   7      Q.    So, again, Dr. Shanfield, my question to you --

1 0 : 0 6 : 1 9   8      A.    -- (indiscernible).

1 0 : 0 6 : 1 9   9            (Reporter clarification.)

1 0 : 0 6 : 1 9   10     BY MR. LEMIEUX:

1 0 : 0 6 : 1 9   11     Q.    I'm sorry.    And I didn't mean to interrupt you.

1 0 : 0 6 : 2 5   12     That's actually my fault.

1 0 : 0 6 : 2 8   13           So, Dr. Shanfield, getting back to my question.          If

1 0 : 0 6 : 3 0   14     you had actually relied on something, it would be

1 0 : 0 6 : 3 3   15     reflected in your expert report, correct, because you have

1 0 : 0 6 : 3 6   16     an obligation to disclose every publication you relied on

1 0 : 0 6 : 3 9   17     in rendering your opinions in this case?

1 0 : 0 6 : 4 2   18     A.    I agree.

1 0 : 0 6 : 4 3   19     Q.    So if there isn't such a reference in your expert

1 0 : 0 6 : 4 6   20     report, because there wasn't one, correct?

1 0 : 0 6 : 4 9   21     A.    I don't recall.     There were so many documents.       I

1 0 : 0 6 : 5 2   22     just don't recall.

1 0 : 0 6 : 5 3   23     Q.    Now, again, getting to this time period of how you

1 0 : 0 6 : 5 6   24     get it, it sounds to me like if there is no published

1 0 : 0 7 : 0 0   25     guides for you to look at to determine this, then each of
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1 0 : 0 7 : 0 2   1      these time periods is really just your guesstimate of what

1 0 : 0 7 : 0 6   2      you assigned to each of these tasks, both as to when they

1 0 : 0 7 : 0 9   3      would occur and how long it would take to make them

1 0 : 0 7 : 1 3   4      accomplished; isn't that correct?

1 0 : 0 7 : 1 5   5      A.    I'm not sure what you mean by "guesstimates."           Like I

1 0 : 0 7 : 1 8   6      said, dependent on the time period we're talking about,

1 0 : 0 7 : 2 3   7      and the activity, as to where I went.          I even asked

1 0 : 0 7 : 2 7   8      colleagues in one case.        So I looked for sources that made

1 0 : 0 7 : 3 3   9      me feel comfortable that I was estimating correctly in

1 0 : 0 7 : 3 7   10     every case.

1 0 : 0 7 : 3 8   11     Q.    Okay.   And the sources that you relied on were what

1 0 : 0 7 : 4 3   12     exactly?

1 0 : 0 7 : 4 5   13     A.    Dependent on the time period we're talking about.

1 0 : 0 7 : 4 8   14     Like I said, in the case of the reliability benefit, the

1 0 : 0 7 : 5 5   15     head start.       I actually talked to an old friend who had

1 0 : 0 8 : 0 0   16     set up a facility.       I looked at published papers on

1 0 : 0 8 : 0 5   17     reliability of filter devices, and in some cases, there

1 0 : 0 8 : 0 9   18     was -- at least, reading between the lines some hint of

1 0 : 0 8 : 1 4   19     what it would take.

1 0 : 0 8 : 1 5   20     Q.    But, again, Dr. Shanfield, if you had relied on a

1 0 : 0 8 : 1 9   21     conversation with an unnamed old friend, if that was the

1 0 : 0 8 : 2 2   22     basis for your opinion, you would have had to disclose

1 0 : 0 8 : 2 4   23     that in your expert report as something that you

1 0 : 0 8 : 2 7   24     considered in arriving at your opinion, right?

1 0 : 0 8 : 3 0   25     A.    That's right.
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1 0 : 0 8 : 3 1   1      Q.    And so if there is nothing in your report identifying

1 0 : 0 8 : 3 5   2      this unnamed old friend, then that was not something that

1 0 : 0 8 : 3 9   3      you relied on in coming to your opinion in this case, was

1 0 : 0 8 : 4 2   4      it?

1 0 : 0 8 : 4 4   5      A.    That's right.     I agree.

1 0 : 0 8 : 4 6   6      Q.    And you mentioned, you said you thought you talked to

1 0 : 0 8 : 5 0   7      Qorvo.    On which of these items in any of these groups

1 0 : 0 8 : 5 3   8      that you've identified did you talk to Qorvo to find out

1 0 : 0 8 : 5 6   9      how long it took them to develop the alleged trade secret

1 0 : 0 8 : 5 9   10     in this case?

1 0 : 0 9 : 0 1   11     A.    I talked with people at Qorvo about all of these

1 0 : 0 9 : 0 5   12     items.    I didn't necessarily think they had the only word

1 0 : 0 9 : 1 0   13     on it, but I reviewed them to make sure what they were

1 0 : 0 9 : 1 4   14     saying.

1 0 : 0 9 : 1 5   15     Q.    And, again, if you had discussed any -- with any

1 0 : 0 9 : 1 9   16     particular Qorvo individual, any of these particular trade

1 0 : 0 9 : 2 2   17     secrets, that would have been listed in your report as

1 0 : 0 9 : 2 4   18     well, correct, as sources that you relied on?

1 0 : 0 9 : 2 7   19     A.    Yes.

1 0 : 0 9 : 2 9   20     Q.    And as you sit here today, can you identify the names

1 0 : 0 9 : 3 2   21     of any Qorvo individuals that you spoke to in arriving at

1 0 : 0 9 : 3 6   22     these estimates?

1 0 : 0 9 : 3 6   23     A.    Sure.   Dr. Aigner, I probably got him tired out

1 0 : 0 9 : 4 2   24     discussing this with him.

1 0 : 0 9 : 4 3   25     Q.    Which categories did you discuss with Dr. Aigner?
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1 0 : 0 9 : 4 6   1      A.    I talked about all of them.       In some cases, he said

1 0 : 0 9 : 5 0   2      he didn't know.     So, but I wanted to go through all of

1 0 : 0 9 : 5 3   3      them.

1 0 : 0 9 : 5 4   4      Q.    And in situations where Dr. Aigner reported to you

1 0 : 0 9 : 5 6   5      that he didn't know, then how did you come up with your

1 0 : 1 0 : 0 0   6      estimate?

1 0 : 1 0 : 0 0   7      A.    It depended.     Maybe you want to pick a particular

1 0 : 1 0 : 0 5   8      time period and how I estimated it?        I've given you a

1 0 : 1 0 : 1 1   9      couple of examples; I don't want to keep...

1 0 : 1 0 : 1 4   10     Q.    Well, for example, one of the items you took was the

1 0 : 1 0 : 1 8   11     evaluation of 5.2 and 5.6 gigahertz products?

1 0 : 1 0 : 2 3   12     A.    Yes.

1 0 : 1 0 : 2 3   13     Q.    And those were products that Akoustis actually came

1 0 : 1 0 : 2 6   14     to market with before Qorvo, correct?

1 0 : 1 0 : 2 8   15     A.    Yes.

1 0 : 1 0 : 3 0   16     Q.    Because, in fact, Qorvo was actually looking at

1 0 : 1 0 : 3 2   17     Akoustis products to fill in gaps in its product line

1 0 : 1 0 : 3 5   18     because it had not devoted the R&D resources to come up

1 0 : 1 0 : 4 0   19     with products for the Wi-Fi space in those frequencies,

1 0 : 1 0 : 4 3   20     correct?

1 0 : 1 0 : 4 4   21     A.    That's correct, yes.

1 0 : 1 0 : 4 4   22     Q.    So you estimated quite a long time period there as to

1 0 : 1 0 : 4 8   23     the evaluation of something that Akoustis actually already

1 0 : 1 0 : 5 2   24     had products in and Qorvo was a latecomer to that area.

1 0 : 1 0 : 5 5   25     Why did you estimate the 22 months that you claim it would
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1 0 : 1 0 : 5 9   1      have taken to evaluate that market?

1 0 : 1 1 : 0 2   2      A.    I, first of all, don't recall the 22 months you are

1 0 : 1 1 : 0 6   3      talking about.     Maybe you could be more specific and tell

1 0 : 1 1 : 0 8   4      me where in my chart you're looking at.

1 0 : 1 1 : 1 0   5      Q.    That's okay.     We will.   We're going to go through

1 0 : 1 1 : 1 4   6      each one of these.

1 0 : 1 1 : 1 5   7            As you saw, I was kind of taking notes as were you

1 0 : 1 1 : 1 6   8      talking, putting red tags every time you said something

1 0 : 1 1 : 1 9   9      that didn't seem quite right to me.

1 0 : 1 1 : 2 3   10           In determining and evaluating the 5.2 and

1 0 : 1 1 : 2 7   11     5.6 gigahertz frequencies, why would you estimate that

1 0 : 1 1 : 3 1   12     Akoustis had received any head start when they actually

1 0 : 1 1 : 3 5   13     had -- you know, head start from getting information from

1 0 : 1 1 : 3 7   14     Qorvo, when Akoustis actually already had products, and it

1 0 : 1 1 : 4 1   15     was Qorvo coming to them to evaluate Akoustis products,

1 0 : 1 1 : 4 4   16     not the other way around?

1 0 : 1 1 : 4 6   17     A.    As you recall, the products that Akoustis -- I'm

1 0 : 1 1 : 5 1   18     sorry -- that Qorvo evaluated weren't adequate for what

1 0 : 1 1 : 5 6   19     they wanted to do.      First -- and I'd like you to, if you

1 0 : 1 2 : 0 1   20     could, be specific about a particular time period and line

1 0 : 1 2 : 0 4   21     you are referring to so I can tell you exactly how I did

1 0 : 1 2 : 0 8   22     it.

1 0 : 1 2 : 0 8   23     Q.    We'll definitely do that.       Once again, I'm trying to

1 0 : 1 2 : 1 1   24     determine how you came up with what appear to be

1 0 : 1 2 : 1 3   25     completely arbitrary numbers.       And I'm sure you have a
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1 0 : 1 2 : 1 7   1      basis.    We just didn't see it in your expert report, and

1 0 : 1 2 : 1 9   2      I'd like to give an opportunity for the jury to hear how

1 0 : 1 2 : 2 3   3      you actually came up with that number.

1 0 : 1 2 : 2 5   4      A.    Sure.

1 0 : 1 2 : 2 6   5      Q.    As opposed to some different number.

1 0 : 1 2 : 2 9   6            Now, in looking at the time periods, again, that you

1 0 : 1 2 : 3 6   7      assigned to each of the tasks for each of the eight groups

1 0 : 1 2 : 3 8   8      of trade secrets, how would you determine when that time

1 0 : 1 2 : 4 2   9      period would start and when that time period would end for

1 0 : 1 2 : 4 5   10     purposes of your overlap analysis?

1 0 : 1 2 : 4 9   11     A.    I was considering what I believed would be happening

1 0 : 1 2 : 5 4   12     in parallel in a start-up company environment for those

1 0 : 1 2 : 5 9   13     tasks.

1 0 : 1 3 : 0 1   14     Q.    But in this circumstance, Akoustis, while it was a

1 0 : 1 3 : 0 5   15     start-up as a technology company in its first three years,

1 0 : 1 3 : 0 8   16     after they acquired the New York fab facility, that was

1 0 : 1 3 : 1 2   17     not a start-up business, was it?

1 0 : 1 3 : 1 4   18     A.    And I accounted for that.

1 0 : 1 3 : 1 6   19     Q.    So in your calculations for things that take place in

1 0 : 1 3 : 2 1   20     the manufacturing environment, such as at the fab, you

1 0 : 1 3 : 2 5   21     took into account that the -- what was the head -- let's

1 0 : 1 3 : 2 9   22     take a step back, then.

1 0 : 1 3 : 3 1   23           Once they acquired the New York fab -- that facility

1 0 : 1 3 : 3 4   24     had been in operation for already about 14 years; is that

1 0 : 1 3 : 3 8   25     right?
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1 0 : 1 3 : 3 8   1      A.     Yes.   I've been there.

1 0 : 1 3 : 3 9   2      Q.     And that facility was already making MEMS-type

1 0 : 1 3 : 4 3   3      devices for numerous other companies, and we've heard the

1 0 : 1 3 : 4 6   4      name of some of them, such as Xerox or Corning or Kodak.

1 0 : 1 3 : 5 1   5      A.     Yes.

1 0 : 1 3 : 5 1   6      Q.     And so given that that was an ongoing operation that

1 0 : 1 3 : 5 5   7      already had 14 years of experience doing that, how does

1 0 : 1 4 : 0 0   8      acquiring that facility and moving their production there

1 0 : 1 4 : 0 3   9      give Akoustis a head start?       Don't they just simply take

1 0 : 1 4 : 0 6   10     advantage of what that facility was already doing and what

1 0 : 1 4 : 1 0   11     they already knew how to do?

1 0 : 1 4 : 1 2   12     A.     I don't think I have a task in there that says

1 0 : 1 4 : 1 5   13     "acquire MEMS fab."

1 0 : 1 4 : 1 8   14            What I accounted for was the fact they had a MEMS

1 0 : 1 4 : 2 3   15     fab.    I was familiar with it; I've walked through it.         And

1 0 : 1 4 : 2 7   16     it had a certain turnaround time and a certain capacity.

1 0 : 1 4 : 3 1   17     I kept that in mind in tasks that were affected by fab.

1 0 : 1 4 : 4 0   18     Q.     How did you account for it?

1 0 : 1 4 : 4 3   19     A.     I have a lot of experience in running fabs, having

1 0 : 1 4 : 4 7   20     done my duty running a manufacturing fab for 24/7, so I've

1 0 : 1 4 : 5 3   21     had that.

1 0 : 1 4 : 5 3   22            I've also seen that fab and know -- we actually ran

1 0 : 1 4 : 5 7   23     parts through it at Draper.       So the combination.

1 0 : 1 5 : 0 3   24     Q.     So you would agree that that fab brought with it its

1 0 : 1 5 : 0 5   25     own wealth of experience and knowledge, having made MEMS
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1 0 : 1 5 : 0 9   1      devices for many years?

1 0 : 1 5 : 1 0   2      A.    Sure.

1 0 : 1 5 : 1 2   3      Q.    And does using, then, such a facility, would that

1 0 : 1 5 : 2 1   4      involve, then, a head start somehow in terms of the issues

1 0 : 1 5 : 2 4   5      that have been presented in this case?

1 0 : 1 5 : 3 1   6      A.    I think what I -- the way I can answer your question,

1 0 : 1 5 : 3 4   7      if you'll allow me, is by explaining that I didn't have

1 0 : 1 5 : 4 0   8      tasks in there that were given head starts that involved,

1 0 : 1 5 : 4 3   9      say, turnaround time in the fab or getting a process up to

1 0 : 1 5 : 5 0   10     speed.    Because I felt those were in place after the fab

1 0 : 1 5 : 5 4   11     was acquired.

1 0 : 1 5 : 5 5   12           So it's the absence of that task that, I guess, I

1 0 : 1 6 : 0 0   13     could point to in accounting for the fact the experience

1 0 : 1 6 : 0 4   14     that was brought in already had that established.

1 0 : 1 6 : 0 9   15     Q.    One of the areas that you mentioned here was Group 6,

1 0 : 1 6 : 1 4   16     which was testing reliability --

1 0 : 1 6 : 1 6   17     A.    Yes.

1 0 : 1 6 : 1 6   18     Q.    -- processes.

1 0 : 1 6 : 1 9   19           And you also talked in terms of assembly.         I think it

1 0 : 1 6 : 2 6   20     was assembly testing evaluation.        That was all part of

1 0 : 1 6 : 3 0   21     Group 6, I believe.

1 0 : 1 6 : 3 2   22     A.    Yes, that was the procedures?

1 0 : 1 6 : 3 5   23     Q.    Yes.

1 0 : 1 6 : 3 5   24     A.    Yeah.

1 0 : 1 6 : 3 6   25     Q.    And you're aware that the assembly of the products
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1 0 : 1 6 : 4 1   1      made by Akoustis is done by a third party, correct?

1 0 : 1 6 : 4 5   2      A.    Yes, I was aware of that.

1 0 : 1 6 : 4 8   3      Q.    Okay.   So you're aware whatever assembly procedures,

1 0 : 1 6 : 5 1   4      testing procedures that are done there are done by a third

1 0 : 1 6 : 5 5   5      party pursuant to that company's procedures, correct?

1 0 : 1 6 : 5 8   6      A.    That's correct.     Yes.

1 0 : 1 7 : 0 0   7      Q.    So if assembly and testing evaluation of the

1 0 : 1 7 : 0 5   8      packaging is done by a third party, how does getting that

1 0 : 1 7 : 0 8   9      similar information from Qorvo provide any type of head

1 0 : 1 7 : 1 2   10     start to Akoustis?

1 0 : 1 7 : 1 5   11     A.    It didn't.     If you look at my graph, it was running

1 0 : 1 7 : 1 9   12     in parallel.      It made no difference.

1 0 : 1 7 : 2 1   13     Q.    Okay.   So even though that's a group of trade secrets

1 0 : 1 7 : 2 3   14     and you claim that there's a head-start value attached to

1 0 : 1 7 : 2 6   15     that.

1 0 : 1 7 : 2 7   16     A.    Absolutely.

1 0 : 1 7 : 2 8   17     Q.    I believe you said that there was a 12-month head

1 0 : 1 7 : 3 1   18     start attached to it?

1 0 : 1 7 : 3 3   19     A.    I don't think so.      I would like you to show me that.

1 0 : 1 7 : 3 5   20                   MR. LEMIEUX:    If we could pull up again -- it

1 0 : 1 7 : 3 7   21     would be PDX-6.183.

1 0 : 1 7 : 4 2   22                   THE WITNESS:    I recall three months with the

1 0 : 1 7 : 4 4   23     document.

1 0 : 1 7 : 4 4   24     BY MR. LEMIEUX:

1 0 : 1 7 : 4 8   25     Q.    Here's your -- again, the systems process procedures
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1 0 : 1 7 : 5 0   1      for testing reliability, meantime failure.           You said a

1 0 : 1 7 : 5 3   2      12-month head start.

1 0 : 1 7 : 5 6   3      A.    This has nothing to do with assembly.

1 0 : 1 7 : 5 9   4      Q.    Okay.    We're talking, though, about testing.         Was

1 0 : 1 8 : 0 1   5      that done, again, at a third-party site for Akoustis?

1 0 : 1 8 : 0 3   6      A.    This is testing for reliability.         It was not -- it

1 0 : 1 8 : 0 7   7      was done at Akoustis.

1 0 : 1 8 : 0 8   8      Q.    Right.      And isn't it true that Akoustis uses third

1 0 : 1 8 : 1 1   9      parties to do all of its assembly and test

1 0 : 1 8 : 1 6   10     post-manufacture, post-fab assembly and testing?

1 0 : 1 8 : 1 9   11     A.    Let me try and clarify for you.

1 0 : 1 8 : 2 1   12           This is a different activity than the assembly and

1 0 : 1 8 : 2 6   13     tests that you're talking about.         That's the manufacturing

1 0 : 1 8 : 2 9   14     assembly test.       This is establishing reliability of a new

1 0 : 1 8 : 3 6   15     product.

1 0 : 1 8 : 4 0   16                   MR. LEMIEUX:     And could we pull up, please,

1 0 : 1 8 : 4 1   17     PDX-6.187 -- 187, I believe it is.         Here we go.

1 0 : 1 8 : 5 6   18     BY MR. LEMIEUX:

1 0 : 1 8 : 5 7   19     Q.    This is manufacturing assembly and change procedures

1 0 : 1 9 : 0 0   20     then?

1 0 : 1 9 : 0 0   21     A.    Correct.

1 0 : 1 9 : 0 1   22     Q.    And is this the type of activity that would take

1 0 : 1 9 : 0 3   23     place either at the fab or at a third-party assembly

1 0 : 1 9 : 0 8   24     company?

1 0 : 1 9 : 0 9   25     A.    Some of it.
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1 0 : 1 9 : 1 2   1      Q.    Packaging assembly.

1 0 : 1 9 : 1 3   2      A.    Some of it.      So the inspection may or may not.        The

1 0 : 1 9 : 1 7   3      procedures and processes for qualifying packaging, I don't

1 0 : 1 9 : 2 3   4      think they would.       So it's a mixture.

1 0 : 1 9 : 2 7   5      Q.    Okay.    So you have drafting assembly instructions,

1 0 : 1 9 : 3 0   6      developing processes, procedures for qualifying,

1 0 : 1 9 : 3 3   7      packaging, a certain price.

1 0 : 1 9 : 3 7   8            This is all done either at the fab or at a third

1 0 : 1 9 : 4 0   9      party after the wafers have already been made, correct?

1 0 : 1 9 : 4 4   10     A.    No.   There's inspection all along.          So the

1 0 : 1 9 : 4 8   11     qualification, for example, in deciding that your package

1 0 : 1 9 : 5 3   12     is going to properly protect the chip, you typically would

1 0 : 1 9 : 5 9   13     do that in the reliability facility that Akoustis had on

1 0 : 2 0 : 0 4   14     site.   So the procedure and processes matter a lot.

1 0 : 2 0 : 1 1   15     Q.    Right.      Dr. Shanfield, isn't it true that in most --

1 0 : 2 0 : 1 4   16     much of semiconductor manufacturing, third-party companies

1 0 : 2 0 : 1 9   17     that are called OSATs do the off-site assembly and testing

1 0 : 2 0 : 2 4   18     of products, correct?

1 0 : 2 0 : 2 5   19     A.    I agree with you.      This is qualification I'm talking

1 0 : 2 0 : 2 9   20     about there.

1 0 : 2 0 : 2 9   21     Q.    But that's not -- you have drafting, assembly

1 0 : 2 0 : 3 1   22     instructions, developing processes and procedures for

1 0 : 2 0 : 3 5   23     qualifying packaging.

1 0 : 2 0 : 3 6   24           That's going to be done by the packaging company

1 0 : 2 0 : 3 9   25     itself.
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1 0 : 2 0 : 3 9   1      A.    Absolutely not.

1 0 : 2 0 : 4 1   2      Q.    It would not be done by the company?

1 0 : 2 0 : 4 3   3      A.    In my experience, you have to have a procedure for

1 0 : 2 0 : 4 8   4      qualifying your package.       The customer's going to be

1 0 : 2 0 : 5 1   5      looking for that.      You're not going to depend on the

1 0 : 2 0 : 5 4   6      conditions that your third-party contractor decides

1 0 : 2 0 : 5 9   7      qualify the package.      You have to define those.

1 0 : 2 1 : 0 6   8                   MR. LEMIEUX:     If we could look at -- I guess it

1 0 : 2 1 : 1 3   9      was PDX-6.172.

1 0 : 2 1 : 3 2   10     BY MR. LEMIEUX:

1 0 : 2 1 : 3 2   11     Q.    Now, Akoustis developed its own 5.2 and 5.6 gigahertz

1 0 : 2 1 : 4 0   12     products, and those products were developed prior to

1 0 : 2 1 : 4 2   13     Qorvo's, correct?

1 0 : 2 1 : 4 3   14     A.    Yes.

1 0 : 2 1 : 4 5   15     Q.    And so creating research, and development schedules

1 0 : 2 1 : 4 9   16     for 5 gigahertz BAW filter solutions, that's something

1 0 : 2 1 : 5 2   17     that they did in order to come up with their 5.2 and 5.6

1 0 : 2 1 : 5 7   18     gigahertz products; isn't that right?

1 0 : 2 1 : 5 9   19     A.    No.    What this refers to is the fact -- if you'll

1 0 : 2 2 : 0 4   20     recall, the performance of the 5 gigahertz parts that they

1 0 : 2 2 : 0 8   21     made at first, it fell short of what Qorvo was able to do

1 0 : 2 2 : 1 3   22     and what apparently the industry that was buying it

1 0 : 2 2 : 1 8   23     wanted.     And they needed to improve what they had.        There

1 0 : 2 2 : 2 3   24     was lots of detail about what you need to do to the BAW

1 0 : 2 2 : 2 7   25     filter.
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1 0 : 2 2 : 2 8   1            Secondly, it's an ongoing process.          Everybody is

1 0 : 2 2 : 3 4   2      looking to make their filters work more effectively,

1 0 : 2 2 : 4 0   3      handle higher power, have lower insertion loss.            The

1 0 : 2 2 : 4 4   4      rejection at the edges has got to be better.           And so

1 0 : 2 2 : 4 9   5      that's work that I'm referring to here in the schedule

1 0 : 2 2 : 5 3   6      that you create to figure out how to do that.

1 0 : 2 2 : 5 6   7      Q.    But when you say "creating research and development

1 0 : 2 3 : 0 0   8      schedules" for these products, if Akoustis was already

1 0 : 2 3 : 0 4   9      selling products -- I understand you to say that Qorvo

1 0 : 2 3 : 0 7   10     evaluated Akoustis' products and decided not to purchase

1 0 : 2 3 : 1 1   11     them.   That evaluation process took to two years for

1 0 : 2 3 : 1 6   12     Qorvo, didn't it?      From the time they started to the time

1 0 : 2 3 : 1 7   13     that Qorvo made a decision not to buy the products from

1 0 : 2 3 : 2 0   14     Akoustis, that ran over a two-year time period, didn't it?

1 0 : 2 3 : 2 4   15     A.    From when to when?      I'm sorry.

1 0 : 2 3 : 2 6   16     Q.    From the time that Qorvo started to evaluate

1 0 : 2 3 : 2 9   17     Akoustis' 5.2 and 5.6 gigahertz products to the time they

1 0 : 2 3 : 3 6   18     made a decision not to move forward with them, that was

1 0 : 2 3 : 3 8   19     two years, wasn't it?

1 0 : 2 3 : 4 1   20     A.    That sounds right, yes.

1 0 : 2 3 : 4 2   21     Q.    And in that time period, Akoustis was already selling

1 0 : 2 3 : 4 5   22     products in that area to other third parties, wasn't it?

1 0 : 2 3 : 5 0   23     A.    That's my understanding, yes.

1 0 : 2 3 : 5 1   24     Q.    Okay.   So, again, I'm trying to understand then that

1 0 : 2 3 : 5 5   25     in an area where they already had products and they were
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1 0 : 2 3 : 5 9   1      selling them on the market to third parties, how getting

1 0 : 2 4 : 0 2   2      information three years after the fact from Qorvo gave

1 0 : 2 4 : 0 7   3      them a three-month head start for designing something they

1 0 : 2 4 : 1 1   4      already had.

1 0 : 2 4 : 1 4   5      A.    I'll try and explain in as much detail as you'll

1 0 : 2 4 : 1 8   6      allow me.

1 0 : 2 4 : 1 9   7            The performance of the filters that they were

1 0 : 2 4 : 2 2   8      sampling needed to be improved, and that's always the case

1 0 : 2 4 : 2 7   9      in this business.      And so there's always a view to what

1 0 : 2 4 : 3 2   10     you're going to do to make it better.         And that's the

1 0 : 2 4 : 3 6   11     research and development plan and schedule and budgeting

1 0 : 2 4 : 4 0   12     and so on.

1 0 : 2 4 : 4 0   13           So -- and that was clearly Akoustis' intent because

1 0 : 2 4 : 4 6   14     for the 2019, 2020, they had come out with what they were

1 0 : 2 4 : 5 4   15     referring to as the second generation.            They were looking

1 0 : 2 4 : 5 7   16     to improve what they had, which all companies that want to

1 0 : 2 5 : 0 0   17     stay in business have to do in BAW filters.

1 0 : 2 5 : 0 4   18           So that's what I'm talking about here.           Not -- it

1 0 : 2 5 : 0 7   19     doesn't suddenly, clunk, there's a product; they're done.

1 0 : 2 5 : 1 1   20     It's a constant race to keep up with what competitors are

1 0 : 2 5 : 1 6   21     doing and what customers want.

1 0 : 2 5 : 1 7   22     Q.    And we've heard testimony in this case,

1 0 : 2 5 : 1 9   23     Dr. Shanfield, that one of the reasons that Qorvo was

1 0 : 2 5 : 2 3   24     having to look to third-party sources for these products

1 0 : 2 5 : 2 7   25     is that they had decided to devote their R&D resources to
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1 0 : 2 5 : 3 1   1      different products.

1 0 : 2 5 : 3 2   2            You've been sitting in the courtroom.         You've heard

1 0 : 2 5 : 3 4   3      that testimony?

1 0 : 2 5 : 3 5   4      A.    Sure.

1 0 : 2 5 : 3 7   5      Q.    And so isn't it also quite possible, then, that in

1 0 : 2 5 : 4 0   6      the two years that Qorvo was evaluating Akoustis'

1 0 : 2 5 : 4 3   7      products, as they had done with their own in that area,

1 0 : 2 5 : 4 8   8      they actually just used that time period to look at, under

1 0 : 2 5 : 5 1   9      the guise of nondisclosure agreements, how Akoustis'

1 0 : 2 5 : 5 6   10     products work so that they could build their own?

1 0 : 2 6 : 0 1   11     A.    I believe that there was a lot of restrictions in the

1 0 : 2 6 : 0 4   12     NDA they signed with Akoustis.        And the one thing I knew,

1 0 : 2 6 : 0 9   13     they couldn't do anything other than do testing.           I recall

1 0 : 2 6 : 1 4   14     that.   I saw the NDA.     And so I don't think there was any,

1 0 : 2 6 : 2 0   15     you know -- there's no evidence either that there was any

1 0 : 2 6 : 2 4   16     sign of reverse engineering or any other activity like

1 0 : 2 6 : 2 8   17     that.

1 0 : 2 6 : 2 8   18     Q.    But I believe, Dr. Shanfield, you've testified that

1 0 : 2 6 : 3 2   19     having testing results and the ability to have these

1 0 : 2 6 : 3 5   20     testing results of a competitor's product is something

1 0 : 2 6 : 3 8   21     that you've classified as a very valuable trade secret.

1 0 : 2 6 : 4 1   22     A.    That's correct.

1 0 : 2 6 : 4 1   23     Q.    Okay.   And so --

1 0 : 2 6 : 4 2   24     A.    But it is under --

1 0 : 2 6 : 4 3   25     Q.    -- during the time period, then, Qorvo was actually
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1 0 : 2 6 : 4 6   1      getting information, pursuant to a nondisclosure

1 0 : 2 6 : 5 0   2      agreement, that you would consider to be very valuable

1 0 : 2 6 : 5 4   3      trade secret information?

1 0 : 2 6 : 5 4   4      A.    But the NDA restricts their use of that information.

1 0 : 2 6 : 5 7   5      So that's the formality that prevents people from making

1 0 : 2 7 : 0 3   6      use of confidential information, like test results.

1 0 : 2 7 : 0 7   7      Q.    And so, at the end of that two-year evaluation

1 0 : 2 7 : 1 2   8      period, Qorvo decides not to actually purchase from

1 0 : 2 7 : 1 5   9      Akoustis, but, instead, now has had time to develop their

1 0 : 2 7 : 1 9   10     own products in that area; isn't that right?

1 0 : 2 7 : 2 4   11     A.    Well, my view of it was that Qorvo could easily move

1 0 : 2 7 : 3 1   12     into the 5 gigahertz realm and that they were making

1 0 : 2 7 : 3 7   13     economic priority choices.       They had the capacity to

1 0 : 2 7 : 4 2   14     quickly come up with a good product.

1 0 : 2 7 : 4 7   15           And the question was, what was their decision about

1 0 : 2 7 : 5 0   16     it?   And so they didn't need those two years.         It was more

1 0 : 2 7 : 5 7   17     a matter of a decision.       And since -- I imagine part of

1 0 : 2 8 : 0 1   18     that, making that decision, was having to look at whether

1 0 : 2 8 : 0 5   19     anybody else could supply it for them because they wanted

1 0 : 2 8 : 0 9   20     to build a higher-level system that included the filter

1 0 : 2 8 : 1 3   21     that Akoustis made.      And when the filter proved

1 0 : 2 8 : 1 7   22     inadequate, then that effected their decision.

1 0 : 2 8 : 2 3   23                  MR. LEMIEUX:     If we could pull up Slide

1 0 : 2 8 : 2 5   24     PDX-6.180, please.

                  25
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1 0 : 2 8 : 3 2   1      BY MR. LEMIEUX:

1 0 : 2 8 : 3 3   2      Q.    Here, you've evaluated what you believe to be the

1 0 : 2 8 : 3 6   3      head-start advantages in various items in Group 5; is that

1 0 : 2 8 : 3 9   4      correct?

1 0 : 2 8 : 4 1   5      A.    Yes, that's correct.

1 0 : 2 8 : 4 3   6      Q.    And in your evaluation of the head start that was

1 0 : 2 8 : 4 8   7      allegedly provided here, did you review at all the library

1 0 : 2 8 : 5 2   8      of processes and development documents that were already

1 0 : 2 8 : 5 5   9      in place at the New York fab facility?

1 0 : 2 9 : 0 3   10     A.    I don't recall, frankly.      There's so many documents.

1 0 : 2 9 : 0 7   11     I have to go back in my report and check.

1 0 : 2 9 : 1 0   12     Q.    I can tell you, Dr. Shanfield, you did not.          At least

1 0 : 2 9 : 1 2   13     it was not listed in your report as items that you had

1 0 : 2 9 : 1 5   14     reviewed in arriving at your opinion.

1 0 : 2 9 : 1 7   15     A.    Okay.

1 0 : 2 9 : 1 8   16     Q.    So when you estimate the advantage of creating a

1 0 : 2 9 : 2 3   17     technology development process or product development

1 0 : 2 9 : 2 6   18     process, applicable testing procedures, parameters, you

1 0 : 2 9 : 3 2   19     had no idea of what was already actually in place at the

1 0 : 2 9 : 3 7   20     New York fab facility for these purposes, do you?

1 0 : 2 9 : 3 9   21     A.    Well, actually, I did because I had seen it.          But it

1 0 : 2 9 : 4 3   22     didn't matter.     I didn't use that.     What I'm aware of that

1 0 : 2 9 : 4 8   23     testing BAW filters is really specialized, and there's a

1 0 : 2 9 : 5 3   24     lot of detail to getting it right.        And that is not

1 0 : 2 9 : 5 8   25     something that the MEMS fab had the ability of doing, in
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1 0 : 3 0 : 0 3   1      the information I had available.

1 0 : 3 0 : 0 4   2      Q.    So you believe a fab has years of experience in

1 0 : 3 0 : 0 7   3      making MEMS devices, has no procedures in place for

1 0 : 3 0 : 1 0   4      testing the devices its making?

1 0 : 3 0 : 1 2   5      A.    Remember, the testing that you have to do for MEMS

1 0 : 3 0 : 1 7   6      filter is RF testing at high frequency, much higher than

1 0 : 3 0 : 2 4   7      any MEMS normally runs.       There's no MEMS resonator at that

1 0 : 3 0 : 2 7   8      frequency that's any good.       No MEMS facility I've ever

1 0 : 3 0 : 3 1   9      seen has the kind of testing that -- you have to calibrate

1 0 : 3 0 : 3 7   10     that testing in a very elaborate way with S parameter

1 0 : 3 0 : 4 0   11     measurements.     All of that is really specialized, and

1 0 : 3 0 : 4 4   12     particular to BAW filters.

1 0 : 3 0 : 4 5   13           So that was, my view, something that was not

1 0 : 3 0 : 4 9   14     established at the fab.       And I took that into account.

1 0 : 3 0 : 5 3   15     Q.    But you've listed --

1 0 : 3 0 : 5 5   16                  THE COURT:    It's 10:30, and, of course, we have

1 0 : 3 0 : 5 8   17     a ways to go.     This is our 15-minute morning break.        So,

1 0 : 3 1 : 0 2   18     remember, don't discuss the case among yourself.           Don't

1 0 : 3 1 : 0 6   19     let anybody talk to you about it.        Of course we will come

1 0 : 3 1 : 0 9   20     back and resume.      Keep an open mind.     Fifteen minutes.

1 0 : 3 1 : 1 3   21     Thanks very much.

1 0 : 3 1 : 1 6   22           (The jury exits the courtroom at 10:31 a.m.)

1 0 : 3 1 : 4 4   23                  THE COURT:    Everyone can be seated.      The

1 0 : 3 1 : 4 6   24     witness will be able to step down for a 15-minute break.

1 0 : 3 1 : 4 9   25     Can't talk with anybody about answers given, so forth.
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1 0 : 3 1 : 5 2   1      But this is our morning break.

1 0 : 3 1 : 5 6   2                   Anything else before we take that break right

1 0 : 3 1 : 5 8   3      now?

1 0 : 3 2 : 0 0   4                   MR. LEMIEUX:     No, I don't think so, Your Honor.

1 0 : 3 2 : 0 1   5                   THE COURT:    Let's give everybody a chance to

1 0 : 3 2 : 0 3   6      have that break.      We will see everybody -- I will see you

1 0 : 3 2 : 0 7   7      in about 13 minutes.      Thank you very much.

1 0 : 3 2 : 5 9   8             (Whereupon, a recess was taken.)

1 0 : 4 6 : 4 9   9                   THE COURT:    You may be seated.      We can have the

1 0 : 4 6 : 5 4   10     witness back on the stand, and the jury can come in.

1 0 : 4 7 : 3 0   11            (The jury enters the courtroom at 10:47 a.m.)

1 0 : 4 7 : 5 5   12                  THE COURT:    Everybody can be seated, and

1 0 : 4 7 : 5 7   13     counsel may proceed.

1 0 : 4 7 : 5 8   14     BY MR. LEMIEUX:

1 0 : 4 8 : 0 0   15     Q.     Doctor, just before the break here, we were talking

1 0 : 4 8 : 0 4   16     about the operation of New York fab.         I wanted to make

1 0 : 4 8 : 0 7   17     sure I understood your testimony you've never actually

1 0 : 4 8 : 0 9   18     reviewed the fab's library of processes controls

1 0 : 4 8 : 1 3   19     procedures, have you?

1 0 : 4 8 : 1 8   20     A.     No, I don't think so.

1 0 : 4 8 : 2 1   21     Q.     So your opinion in this case is rendered without

1 0 : 4 8 : 2 3   22     actually looking at the actual procedures and processes

1 0 : 4 8 : 2 7   23     that are used in their fabrication in the manufacturing

1 0 : 4 8 : 3 1   24     facility in New York, correct?

1 0 : 4 8 : 3 2   25     A.     That's correct, but what that --
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1 0 : 4 8 : 3 8   1      Q.    That's okay.     That's all I asked you.      Correct.

1 0 : 4 8 : 4 1   2      Thanks.

1 0 : 4 8 : 4 2   3            Now, one of the other documents that you mentioned as

1 0 : 4 8 : 4 6   4      part of this is this technology development document,

1 0 : 4 8 : 4 8   5      which I believe we've seen that had a front page that had

1 0 : 4 8 : 5 2   6      been modified by Dr. Shealy; is that right?

1 0 : 4 8 : 5 6   7      A.    Which one are you talking about?

1 0 : 4 8 : 5 8   8      Q.    The products developments document -- technology

1 0 : 4 9 : 0 0   9      development document.      Sorry.

1 0 : 4 9 : 0 2   10     A.    Oh, okay.    Yes.

1 0 : 4 9 : 0 4   11     Q.    Okay.   And you've used that as a basis for stating

1 0 : 4 9 : 0 8   12     that this was somehow used or otherwise misused by

1 0 : 4 9 : 1 2   13     Akoustis; is that right?

1 0 : 4 9 : 1 3   14     A.    That's correct.

1 0 : 4 9 : 1 4   15     Q.    And did you look beyond the first page of that

1 0 : 4 9 : 1 8   16     document, in terms of what else had been changed, if

1 0 : 4 9 : 2 0   17     anything, in that document other than the confidentiality

1 0 : 4 9 : 2 4   18     provision you noted on Page 1?

1 0 : 4 9 : 2 8   19     A.    I looked through the entire document.

1 0 : 4 9 : 3 0   20     Q.    And you would agree, then, that in that entire

1 0 : 4 9 : 3 2   21     document -- the rest of the document still says RFMD;

1 0 : 4 9 : 3 6   22     there was no changes in the rest of the document, correct?

1 0 : 4 9 : 3 9   23     A.    In the document we were able to recover, that's true.

1 0 : 4 9 : 4 4   24     Q.    And that's the only document that, in Mr. Faulkner's

1 0 : 4 9 : 4 9   25     analysis, was revealed to be shown on Dr. Shealy's
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1 0 : 4 9 : 5 4   1      computer in that regard was that document, and there was

1 0 : 4 9 : 5 6   2      evidence that it was sent to Mr. Rohan -- or Rohan --

1 0 : 4 9 : 5 9   3      excuse me -- Houlden, and apparently there was also a copy

1 0 : 5 0 : 0 4   4      that was sent to Mary Winters that Mr. Faulkner said

1 0 : 5 0 : 0 8   5      wasn't opened by her.

1 0 : 5 0 : 1 0   6            Did you hear that testimony?

1 0 : 5 0 : 1 1   7      A.    What I heard Mr. Faulkner say is that he didn't have

1 0 : 5 0 : 1 4   8      access to the time periods where it most likely would have

1 0 : 5 0 : 1 9   9      been opened by her.

1 0 : 5 0 : 2 1   10     Q.    And if the intention was to change that document into

1 0 : 5 0 : 2 7   11     something that was going to be actually used by Akoustis,

1 0 : 5 0 : 3 0   12     don't you believe there would have been more changes than

1 0 : 5 0 : 3 3   13     simply the first face page?

1 0 : 5 0 : 3 9   14     A.    What I observed in looking through the many documents

1 0 : 5 0 : 4 1   15     is, in cases where Mr. Faulkner was able to recover or

1 0 : 5 0 : 4 7   16     find metadata of a document, there had been multiple

1 0 : 5 0 : 5 2   17     revisions, there was sometimes three or four revisions,

1 0 : 5 0 : 5 6   18     and not all of them were able to be -- were made available

1 0 : 5 1 : 0 2   19     to Mr. Faulkner.

1 0 : 5 1 : 0 4   20           In my view, given the blackout periods that he had to

1 0 : 5 1 : 1 0   21     deal with.    And I am of the -- I have the impression that

1 0 : 5 1 : 1 6   22     with documents where it was available, there was revision

1 0 : 5 1 : 2 1   23     after revision as different features were added, there

1 0 : 5 1 : 2 5   24     might have been changes.

1 0 : 5 1 : 2 7   25     Q.    And so, Dr. Shanfield, let me ask you, were you aware
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1 0 : 5 1 : 3 0   1      of any evidence, whatsoever, that anything was changed to

1 0 : 5 1 : 3 3   2      that new technology development document other than the

1 0 : 5 1 : 3 6   3      logo on the first page and the confidentiality paragraph

1 0 : 5 1 : 4 0   4      on the first page?

1 0 : 5 1 : 4 2   5      A.    No.

1 0 : 5 1 : 4 3   6      Q.    Okay.   So the idea that somehow this might have been

1 0 : 5 1 : 4 7   7      changed in the future, that's speculation on your part,

1 0 : 5 1 : 5 0   8      correct?

1 0 : 5 1 : 5 0   9      A.    It's more than that.

1 0 : 5 1 : 5 2   10     Q.    Well, you've seen no evidence of any form of that

1 0 : 5 1 : 5 5   11     document that had been changed, other than the very

1 0 : 5 1 : 5 7   12     initial one that Dr. Shealy sent out; is that right?

1 0 : 5 2 : 0 1   13     A.    I considered two factors in that document, because

1 0 : 5 2 : 0 7   14     that its value is very high, and I -- my presumption was

1 0 : 5 2 : 1 7   15     there was -- and it wasn't just presumption.          There was so

1 0 : 5 2 : 2 3   16     much evidence of use of documents where those documents

1 0 : 5 2 : 2 8   17     were available in discovery, I was of the opinion, and I

1 0 : 5 2 : 3 4   18     have been of the opinion, that it was a culture of usage

1 0 : 5 2 : 3 9   19     of confidential information.

1 0 : 5 2 : 4 2   20           Given the value of that document, I thought, in

1 0 : 5 2 : 4 6   21     particular, that one was going to be likely used, whether

1 0 : 5 2 : 5 1   22     it was discovered by Mr. Faulkner or not.

1 0 : 5 2 : 5 4   23     Q.    And so I understand, Dr. Shanfield, you like to make

1 0 : 5 2 : 5 6   24     very broad generalizations as to what you believe the use

1 0 : 5 2 : 5 9   25     is.   But I'm asking you specifically as to this document,
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1 0 : 5 3 : 0 2   1      which you've, again, testified to you believe is highly

1 0 : 5 3 : 0 5   2      valuable, whether any changes were made to that document,

1 0 : 5 3 : 0 9   3      other than the fact that the logo had been changed on the

1 0 : 5 3 : 1 2   4      first page, the author's name had been changed, and the

1 0 : 5 3 : 1 5   5      confidentiality, and the rest of that ten-page document

1 0 : 5 3 : 1 8   6      still said, "RFMD" had no changes made to it whatsoever?

1 0 : 5 3 : 2 2   7      A.    In the version that we got, that's correct.

1 0 : 5 3 : 2 3   8      Q.    Okay.   And you've not seen any other version of that

1 0 : 5 3 : 2 6   9      document indicating any other changes were made, have you?

1 0 : 5 3 : 3 0   10     A.    There were no other versions available to Dr.

1 0 : 5 3 : 3 4   11     Faulkner.

1 0 : 5 3 : 3 5   12     Q.    And you don't know whether or not the New York fab

1 0 : 5 3 : 3 7   13     facility actually had its own version of such a document

1 0 : 5 3 : 4 0   14     prior to its acquisition by Akoustis, do you?

1 0 : 5 3 : 4 6   15     A.    That is a non sequitur.      Maybe you could re-ask that

1 0 : 5 3 : 4 9   16     question.     Those two documents --

1 0 : 5 3 : 5 1   17     Q.    Well, isn't it true --

1 0 : 5 3 : 5 2   18     A.    -- technology.

1 0 : 5 3 : 5 2   19     Q.    I'm sorry.    I don't want to speak over you.

1 0 : 5 3 : 5 5   20           Isn't it true, Dr. Shanfield, that document is

1 0 : 5 3 : 5 7   21     actually a quality management system document that, even

1 0 : 5 4 : 0 1   22     though it's called a new technology development, it's

1 0 : 5 4 : 0 4   23     actually used for purposes of quality assessment purposes

1 0 : 5 4 : 0 7   24     for ISO certifications?

1 0 : 5 4 : 1 1   25     A.    I don't think so.     If you want to look at it.
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1 0 : 5 4 : 1 5   1      Q.    Well, that's what I meant, because you seem to have

1 0 : 5 4 : 1 7   2      some experience, you say, in all of this.           So you don't

1 0 : 5 4 : 1 9   3      actually know what that document is really used for?

1 0 : 5 4 : 2 1   4      A.    I know exactly what it's used for.          I mean, I know

1 0 : 5 4 : 2 4   5      what it was used for at Qorvo I should say.

1 0 : 5 4 : 2 6   6      Q.    And you don't have any understanding as to whether or

1 0 : 5 4 : 3 0   7      not at the fab, they already had a new technology

1 0 : 5 4 : 3 5   8      development-type document?

1 0 : 5 4 : 3 7   9      A.    That document had information specific to resonators

1 0 : 5 4 : 4 3   10     and filters, BAW filters, and was particular to the

1 0 : 5 4 : 5 1   11     technology that Qorvo had and was developing.           There's a

1 0 : 5 4 : 5 6   12     lot of -- a treasure chest, I'd say, of information in

1 0 : 5 5 : 0 0   13     there about what to do, how to do it, what it looked like,

1 0 : 5 5 : 0 4   14     how to measure it.      That type of information.

1 0 : 5 5 : 0 7   15     Q.    So I want to make sure we're talking about the same

1 0 : 5 5 : 0 9   16     document, Dr. Shanfield.       You're saying that the document,

1 0 : 5 5 : 1 1   17     the new technology development document, that was shown to

1 0 : 5 5 : 1 7   18     Dr. Shealy yesterday that showed some changes on the first

1 0 : 5 5 : 1 9   19     page, but no other changes, you're saying that document

1 0 : 5 5 : 2 2   20     contained all sorts of specific information regarding BAW

1 0 : 5 5 : 2 6   21     filters?

1 0 : 5 5 : 2 8   22     A.    If you could help me recall exactly what's in that

1 0 : 5 5 : 3 3   23     document, since there were so many of them.           What I'm

1 0 : 5 5 : 3 7   24     saying is new technology documents that were circulated at

1 0 : 5 5 : 4 4   25     Akoustis had a lot of useful information about what to do
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1 0 : 5 5 : 5 0   1      to improve the performance of BAW filters.

1 0 : 5 5 : 5 2   2      Q.    And again, I'm referring only to the document that

1 0 : 5 5 : 5 5   3      Dr. Shealy was shown yesterday and that was highlighted

1 0 : 5 5 : 5 8   4      here as something that you believe to be very important.

1 0 : 5 6 : 0 1   5            It's your testimony that that document contains

1 0 : 5 6 : 0 5   6      specific information regarding Qorvo's BAW filters?

1 0 : 5 6 : 0 9   7      A.    I wasn't referring to that specific document.          So

1 0 : 5 6 : 1 1   8      pardon me if that's how it came across.

1 0 : 5 6 : 1 4   9      Q.    Okay.   Well, that's part of the difficulty I have,

1 0 : 5 6 : 1 7   10     Dr. Shanfield, with much of your testimony is, I'm trying

1 0 : 5 6 : 2 0   11     to understand what's the difference between specific

1 0 : 5 6 : 2 2   12     documents you're talking about versus the broad

1 0 : 5 6 : 2 5   13     conclusions that you are otherwise expressing as your

1 0 : 5 6 : 2 8   14     opinions.

1 0 : 5 6 : 2 8   15           And so if we are looking at just that document, which

1 0 : 5 6 : 3 1   16     is the new technology document, why do you believe that

1 0 : 5 6 : 3 5   17     that was highly valuable to Akoustis?

1 0 : 5 6 : 3 9   18     A.    Could I ask you to bring it up so that I can see it?

1 0 : 5 6 : 5 0   19                   MR. LEMIEUX:    Let's go ahead and bring up that

1 0 : 5 6 : 5 0   20     document, PTX-0787.      And first, actually, let's just bring

1 0 : 5 6 : 5 4   21     up -- here we go.      That's good.    Leave that one up.     It's

1 0 : 5 6 : 5 9   22     fine.

1 0 : 5 6 : 5 9   23     BY MR. LEMIEUX:

1 0 : 5 6 : 5 9   24     Q.    Okay.   So this is the document that was shown to

1 0 : 5 7 : 0 3   25     Dr. Shealy yesterday, and that he was -- he apparently had
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1 0 : 5 7 : 0 6   1      changed to delete the logo up in the upper left-hand

1 0 : 5 7 : 1 0   2      corner, he put his name on there, and you highlighted the

1 0 : 5 7 : 1 6   3      confidential document paragraph had been slightly changed.

1 0 : 5 7 : 1 9   4      But other than that, were there any other changes made to

1 0 : 5 7 : 2 3   5      this multipage, appears to be a ten-page document.

1 0 : 5 7 : 2 7   6      A.    Well, first of all, if you'd allow me.         Now that I

1 0 : 5 7 : 3 0   7      see the document you were referring to, it's not the one I

1 0 : 5 7 : 3 3   8      was referring to.      I was talking about the packets of new

1 0 : 5 7 : 3 7   9      technology that were Qorvo development information.

1 0 : 5 7 : 4 3   10     Q.    You would agree with me that this document, if we

1 0 : 5 7 : 4 6   11     keep going.

1 0 : 5 7 : 4 6   12                  MR. LEMIEUX:     Let's turn to Page 3, Page 4,

1 0 : 5 7 : 5 1   13     Page 5, Page 6, 7, 8, 9, 10 --

1 0 : 5 8 : 0 3   14     BY MR. LEMIEUX:

1 0 : 5 8 : 0 3   15     Q.    There's no information specific to BAW filters in

1 0 : 5 8 : 0 5   16     this document, is there?

1 0 : 5 8 : 0 7   17     A.    This document is of high value in new technology

1 0 : 5 8 : 1 2   18     development in BAW filters.       That's what it's for.      So

1 0 : 5 8 : 1 5   19     it's specific to BAW filter development.

1 0 : 5 8 : 1 7   20     Q.    You believe that this document was created by Qorvo

1 0 : 5 8 : 2 0   21     specific for BAW filters?

1 0 : 5 8 : 2 2   22     A.    For the products that Qorvo developed, which one of

1 0 : 5 8 : 2 5   23     the big ones and what this was used for was BAW filters.

1 0 : 5 8 : 2 9   24     So it applied in the technology development procedures.

1 0 : 5 8 : 3 4   25     These are really important documents, because its
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1 0 : 5 8 : 3 8   1      experience the company has developed over years on how --

1 0 : 5 8 : 4 2   2      what to do and what not to do, how not to waste time, how

1 0 : 5 8 : 4 7   3      to avoid dead ends in technology development, which in my

1 0 : 5 8 : 5 1   4      experience happens all the time if you don't have these

1 0 : 5 8 : 5 4   5      procedures.

1 0 : 5 8 : 5 4   6      Q.     Can you point to me anywhere in this document where

1 0 : 5 8 : 5 7   7      it's specific to the development or use of the BAW filter

1 0 : 5 9 : 0 0   8      technology?

1 0 : 5 9 : 0 0   9      A.     I --

1 0 : 5 9 : 0 0   10     Q.     Or makes any reference to BAW filter technology

1 0 : 5 9 : 0 5   11     whatsoever?

1 0 : 5 9 : 0 9   12     A.     I don't know that that is necessarily in there or

1 0 : 5 9 : 1 6   13     not.    If you give me the time to look through it.

1 0 : 5 9 : 2 1   14     Q.     So even though it's not mentioned in there, you still

1 0 : 5 9 : 2 3   15     view it as very highly value document?

1 0 : 5 9 : 2 7   16     A.     Absolutely.

1 0 : 5 9 : 2 7   17     Q.     Okay.   And, again, there's no evidence that this was

1 0 : 5 9 : 2 9   18     ever used by Akoustis, other than as Mr. Faulkner pointed

1 0 : 5 9 : 3 5   19     out, apparently, that it was sent once to Mr. Houlden and

1 0 : 5 9 : 3 9   20     once to Ms. Winters?

1 0 : 5 9 : 4 1   21     A.     Isn't that evidence it was used?

1 0 : 5 9 : 4 2   22     Q.     That's --

1 0 : 5 9 : 4 3   23     A.     It was sent to the people who would be the most

1 0 : 5 9 : 4 5   24     interested in it.

1 0 : 5 9 : 4 7   25     Q.     Well, there's a difference, and I think that's part
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1 0 : 5 9 : 4 9   1      of the distinction that's probably a question the jury

1 0 : 5 9 : 5 2   2      may, and I know I have is, is there a difference between

1 0 : 5 9 : 5 5   3      simply sending an e-mail to somebody with information in

1 0 : 5 9 : 5 7   4      it, and someone actually using that information to change

1 1 : 0 0 : 0 1   5      a procedure or manufacturing technique or something?             What

1 1 : 0 0 : 0 7   6      you've pointed to and what you've analyzed is simply the

1 1 : 0 0 : 1 0   7      e-mail traffic; isn't that right?

1 1 : 0 0 : 1 2   8      A.     I've analyzed a number of things.          E-mail traffic is

1 1 : 0 0 : 1 5   9      one.

1 1 : 0 0 : 1 5   10     Q.     And, in fact, all of your timelines, which you think

1 1 : 0 0 : 1 7   11     are particularly important, that's -- again, that's just

1 1 : 0 0 : 2 0   12     analyzing the e-mail traffic of information that's being

1 1 : 0 0 : 2 3   13     disseminated within the company, but being disseminated is

1 1 : 0 0 : 2 8   14     not the same as use?

1 1 : 0 0 : 2 9   15     A.     That's absolutely not true.      I pointed to a document

1 1 : 0 0 : 3 1   16     that actually had the information from a document that was

1 1 : 0 0 : 3 6   17     taken from Qorvo and substituted.        So it's not just e-mail

1 1 : 0 0 : 4 2   18     trails.

1 1 : 0 0 : 4 2   19     Q.     But, again, you've not seen anything, because you've

1 1 : 0 0 : 4 6   20     not examined the actual documents used by Akoustis for

1 1 : 0 0 : 5 0   21     making products -- you've admitted you've never looked at

1 1 : 0 0 : 5 3   22     the library of techniques, procedures, or controls that

1 1 : 0 0 : 5 7   23     are in place at their New York fab facility.

1 1 : 0 1 : 0 0   24            Have you looked at the control documents at all that

1 1 : 0 1 : 0 2   25     they use for any of their outside testing and assembly
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1 1 : 0 1 : 0 6   1      companies?

1 1 : 0 1 : 0 8   2      A.    No.

1 1 : 0 1 : 1 0   3      Q.    So again, you've looked at e-mails, and certainly we

1 1 : 0 1 : 1 4   4      would concede that there's e-mails that are going around

1 1 : 0 1 : 1 8   5      all over the place.      But you've not actually seen any

1 1 : 0 1 : 2 0   6      evidence that the information that you believe is so

1 1 : 0 1 : 2 2   7      valuable is actually being implemented in procedures used

1 1 : 0 1 : 2 7   8      by Akoustis, have you?

1 1 : 0 1 : 2 8   9      A.    I disagree.     There are several good examples.       The

1 1 : 0 1 : 3 1   10     reliability procedures, the person that was responsible

1 1 : 0 1 : 3 7   11     for doing that Akoustis acknowledged that this is how they

1 1 : 0 1 : 4 2   12     determined their meantime to failure of their devices.             It

1 1 : 0 1 : 4 6   13     was clearly being used.

1 1 : 0 1 : 4 8   14     Q.    Well, so, for example, you put up this morning there

1 1 : 0 1 : 5 2   15     was references to a visual inspection document that

1 1 : 0 1 : 5 6   16     Mr. Dry had introduced.       Do you recall that?

1 1 : 0 1 : 5 9   17     A.    Yes.

1 1 : 0 1 : 5 9   18     Q.    And do you recall also that when Mr. Dry was asked in

1 1 : 0 2 : 0 4   19     his deposition whether or not they actually implemented

1 1 : 0 2 : 0 8   20     and used that document, he said, No, they didn't, that

1 1 : 0 2 : 1 1   21     they have actually -- the document that they use at

1 1 : 0 2 : 1 4   22     Akoustis is something much simpler and easier because it

1 1 : 0 2 : 1 6   23     was already established at the fab facility.

1 1 : 0 2 : 1 9   24           Do you recall that testimony?

1 1 : 0 2 : 2 0   25     A.    Sure.
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1 1 : 0 2 : 2 0   1      Q.    Okay.   And so, even though Mr. Dry had suggested

1 1 : 0 2 : 2 5   2      using this document as an example of one they could use,

1 1 : 0 2 : 2 8   3      it wasn't actually used or implemented, was it?

1 1 : 0 2 : 3 3   4      A.    The executives at Akoustis, including Dr. Shealy,

1 1 : 0 2 : 3 7   5      were up here denying the use of documents or even

1 1 : 0 2 : 4 2   6      possession of documents that the evidence showed they had

1 1 : 0 2 : 4 6   7      possession of, and they used.

1 1 : 0 2 : 4 8   8            So I'm not sure what to make of that, other than

1 1 : 0 2 : 5 3   9      apparently denial of the facts in front of them.

1 1 : 0 3 : 0 0   10     Q.    Well, actually, the denial is yours right now,

1 1 : 0 3 : 0 3   11     Dr. Shanfield.     Even though the testimony is that Mr. Dry

1 1 : 0 3 : 0 6   12     introduced this document, the testimony was that,

1 1 : 0 3 : 0 9   13     actually, they did not end up using it, that even though

1 1 : 0 3 : 1 3   14     it was something he was suggesting, that they didn't use

1 1 : 0 3 : 1 5   15     it.   Did you hear different testimony?

1 1 : 0 3 : 1 8   16     A.    What I was alluding to was the credibility of that

1 1 : 0 3 : 2 2   17     testimony.    The fact that I could see in my own eyes a

1 1 : 0 3 : 2 7   18     situation where there was clearly e-mails that indicated

1 1 : 0 3 : 3 1   19     use by Dr. Shealy, and yet he made the statement that he

1 1 : 0 3 : 3 6   20     never used them, they weren't of any use, et cetera.

1 1 : 0 3 : 4 0   21     Q.    So, again, Dr. Shanfield, you're presuming use based

1 1 : 0 3 : 4 4   22     on the fact that you've seen e-mails -- we've all seen

1 1 : 0 3 : 4 7   23     many of these e-mails that go back and forth -- that even

1 1 : 0 3 : 5 1   24     though there's no question that these e-mails occurred and

1 1 : 0 3 : 5 4   25     that these topics were being discussed, have you actually,
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1 1 : 0 3 : 5 8   1      though, seen any evidence of them actually being employed

1 1 : 0 4 : 0 2   2      in the manufacture of Akoustis products?

1 1 : 0 4 : 0 6   3      A.     In the manufacture of Akoustis products.        The usage

1 1 : 0 4 : 1 3   4      that I showed evidence for was the two examples I gave

1 1 : 0 4 : 1 9   5      you.    One was the marketing or the table of information on

1 1 : 0 4 : 2 7   6      specifications for the Qorvo 5 gigahertz device that were

1 1 : 0 4 : 3 4   7      taken, and the comparison that was being made, were taken

1 1 : 0 4 : 3 8   8      directly into the Akoustis document discussing the same

1 1 : 0 4 : 4 1   9      subject, and that becoming a strategy for Akoustis.

1 1 : 0 4 : 4 6   10            The other example is the statement from the VP of

1 1 : 0 4 : 5 1   11     quality, or the person that reported to the VP of quality,

1 1 : 0 4 : 5 5   12     that they used the Qorvo confidential information as the

1 1 : 0 5 : 0 0   13     basis for their reliability evaluation of product.

1 1 : 0 5 : 0 4   14     There's, I think, a strong story there that, you know,

1 1 : 0 5 : 0 9   15     it's being used.      Did I sit there watching them use it?

1 1 : 0 5 : 1 2   16     No.

1 1 : 0 5 : 1 3   17     Q.     And you didn't actually do the investigation of the

1 1 : 0 5 : 1 7   18     documents actually used either, did you?          You simply

1 1 : 0 5 : 1 9   19     analyzed the e-mail traffic that was provided to you?

1 1 : 0 5 : 2 2   20     A.     No.   I looked at the documents, too.

1 1 : 0 5 : 2 4   21     Q.     Well, you looked at documents that were attached to

1 1 : 0 5 : 2 7   22     e-mails, correct?

1 1 : 0 5 : 2 8   23     A.     I looked at a number of documents, including

1 1 : 0 5 : 3 1   24     documents attached to the e-mails.

1 1 : 0 5 : 3 2   25     Q.     But you didn't actually, like I said, ever look at
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1 1 : 0 5 : 3 4   1      what's actually used in their fabrication facility to make

1 1 : 0 5 : 3 9   2      products, did you?

1 1 : 0 5 : 4 1   3      A.    If you're referring to the New York fab, that's

1 1 : 0 5 : 4 4   4      correct.

1 1 : 0 5 : 4 5   5      Q.    So you didn't look at what is being used to actually

1 1 : 0 5 : 4 9   6      manufacture the products in the fab.         You also didn't look

1 1 : 0 5 : 5 1   7      at any documentation that's used by their third-party

1 1 : 0 5 : 5 6   8      package and assembly companies to determine whether or not

1 1 : 0 5 : 5 8   9      Qorvo information is being used by those third parties,

1 1 : 0 6 : 0 2   10     have you?    You've not looked at that?

1 1 : 0 6 : 0 5   11     A.    That's correct.     What I did look at, however, was the

1 1 : 0 6 : 1 1   12     situations where there was available, evidence recovered

1 1 : 0 6 : 1 7   13     in discovery from Mr. Faulkner, and saw strong examples

1 1 : 0 6 : 2 3   14     that -- I just related a couple -- use.           So the examples

1 1 : 0 6 : 3 2   15     stand.

1 1 : 0 6 : 3 6   16     Q.    Now, the document that we were looking at a few

1 1 : 0 6 : 3 8   17     minutes ago that, again, you said was so valuable, the new

1 1 : 0 6 : 4 1   18     technology development, there's no reference to BAW

1 1 : 0 6 : 4 6   19     technology in there.      It appears just to be a general

1 1 : 0 6 : 4 9   20     template for kind of a phase gate type approval process,

1 1 : 0 6 : 5 2   21     wouldn't you agree?

1 1 : 0 6 : 5 4   22     A.    No.

1 1 : 0 6 : 5 5   23     Q.    You don't believe it's a generic template document?

1 1 : 0 6 : 5 8   24     A.    Not at all.

1 1 : 0 6 : 5 9   25                  MR. LEMIEUX:     Can we pull that up again,
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1 1 : 0 7 : 0 1   1      please.

1 1 : 0 7 : 0 1   2                   THE WITNESS:     It's very specific.

1 1 : 0 7 : 0 1   3                   MR. LEMIEUX:     The one we just had.     And if we

1 1 : 0 7 : 0 7   4      can look at Page 2 of this document.

1 1 : 0 7 : 1 2   5      BY MR. LEMIEUX:

1 1 : 0 7 : 1 2   6      Q.    Again, what is the purpose of this document?

1 1 : 0 7 : 1 7   7      A.    If you will allow me, I'll relay the story when I was

1 1 : 0 7 : 2 1   8      a young engineer and saw these documents -- type of

1 1 : 0 7 : 2 4   9      documents at Raytheon for the first time.          I initially

1 1 : 0 7 : 3 0   10     believed this is -- this is obvious.         This should be

1 1 : 0 7 : 3 5   11     something people can just figure out how to do.

1 1 : 0 7 : 3 9   12           And it took experience in the industry of watching

1 1 : 0 7 : 4 2   13     what happens when you don't have the right kind of

1 1 : 0 7 : 4 5   14     procedures in position as to how development goes off

1 1 : 0 7 : 5 0   15     track and ends up developing something you can't use or

1 1 : 0 7 : 5 3   16     spending money in an inefficient way or the pace of the

1 1 : 0 7 : 5 8   17     development is just inadequate for the market.

1 1 : 0 8 : 0 1   18           And I came to appreciate this kind of document

1 1 : 0 8 : 0 7   19     highly, as this is, to me, is a sign of a company who

1 1 : 0 8 : 1 2   20     spent years figuring out what works for developing BAW

1 1 : 0 8 : 1 7   21     resonators and filters.

1 1 : 0 8 : 1 8   22           And so I think to the unpracticed eye, it looks --

1 1 : 0 8 : 2 3   23     apparently to you -- like it's just a generic template.

1 1 : 0 8 : 2 7   24     It's not.    This is really the specific kinds of activities

1 1 : 0 8 : 3 2   25     that are going to bring development and -- at a rate that
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1 1 : 0 8 : 3 7   1      will meet the market, that will meet the price

1 1 : 0 8 : 4 0   2      requirements.     There's a lot of ways things can go wrong

1 1 : 0 8 : 4 3   3      in product development.

1 1 : 0 8 : 4 4   4      Q.    Well, I admit I am not as trained in all of this as

1 1 : 0 8 : 5 0   5      you are, Dr. Shanfield.       But I can read.     And if you look

1 1 : 0 8 : 5 4   6      at Paragraph 3 there, and it talks about the references

1 1 : 0 8 : 5 6   7      that are used, this looks a lot, to an uneducated person

1 1 : 0 9 : 0 0   8      like myself, as a phase gate array-type document.

1 1 : 0 9 : 0 5   9      A.    Well, it is.

1 1 : 0 9 : 0 6   10     Q.    Establishing different review processes to happen at

1 1 : 0 9 : 0 8   11     different times.      Which, in a very large company, I agree

1 1 : 0 9 : 1 1   12     with you it would be important that we have procedures in

1 1 : 0 9 : 1 4   13     place so that things are being done in an orderly fashion.

1 1 : 0 9 : 1 8   14     A.    No, that's not what I'm referring to.

1 1 : 0 9 : 2 0   15           What I am describing is not something you get off the

1 1 : 0 9 : 2 4   16     Internet.     It's specific to what works in the particular

1 1 : 0 9 : 2 9   17     kind of product you're developing, and a particular kind

1 1 : 0 9 : 3 2   18     of market you have to meet, whether it's driven by price,

1 1 : 0 9 : 3 7   19     being driven by performance.       All of those factors make

1 1 : 0 9 : 4 1   20     this document represent that difference, and that's

1 1 : 0 9 : 4 6   21     exactly what I see in this document.

1 1 : 0 9 : 4 9   22     Q.    Okay.   So you believe this document, which is an RFMD

1 1 : 0 9 : 5 2   23     document, is reflective of years of research in building

1 1 : 0 9 : 5 8   24     BAW-type filter products?

1 1 : 1 0 : 0 0   25     A.    No, I believe it is a --
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1 1 : 1 0 : 0 3   1      Q.     You told me a moment ago.

1 1 : 1 0 : 0 4   2      A.     -- technology gating -- I'm sorry.         If you'll allow

1 1 : 1 0 : 0 8   3      me to finish.

1 1 : 1 0 : 0 9   4             It's a new technology development procedure RFMD

1 1 : 1 0 : 1 2   5      developed for RF devices, of which a BAW filter would be

1 1 : 1 0 : 1 8   6      one.    And they -- I'm well familiar with their work from

1 1 : 1 0 : 2 3   7      years ago.    They have clearly streamlined and figured out

1 1 : 1 0 : 2 9   8      how to generate product that's going to meet the market

1 1 : 1 0 : 3 4   9      requirements in one of fastest moving markets in the world

1 1 : 1 0 : 3 9   10     and the most price sensitive and technology sensitive

1 1 : 1 0 : 4 3   11     markets.    So it's really specific.

1 1 : 1 0 : 4 4   12     Q.     So I asked you earlier, Dr. Shanfield -- in response

1 1 : 1 0 : 4 8   13     to my question, you said that this document contained a

1 1 : 1 0 : 5 1   14     lot of very specific information for BAW.           When I asked

1 1 : 1 0 : 5 5   15     you, well, is BAW even mentioned anywhere in this

1 1 : 1 0 : 5 7   16     document.    You felt that didn't matter, but this was very

1 1 : 1 1 : 0 0   17     value to developing BAW filters; isn't that true?

1 1 : 1 1 : 0 4   18     A.     So whether there's mention of BAW or not is not the

1 1 : 1 1 : 1 0   19     place I'm referring to as far as the value.           It's what is

1 1 : 1 1 : 1 4   20     it -- what activity should the development team focus on,

1 1 : 1 1 : 1 8   21     what should it set as its gates for making decisions.

1 1 : 1 1 : 2 4   22            And you don't have to mention BAW or the -- you're

1 1 : 1 1 : 2 8   23     making a technology development procedure that's going to

1 1 : 1 1 : 3 5   24     apply to RF products, not just BAW.        And that's from

1 1 : 1 1 : 4 0   25     experience of the culture of the company.           And that's
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1 1 : 1 1 : 4 3   1      what's reflected here.

1 1 : 1 1 : 4 5   2      Q.    And so maybe you would agree with me that this is a

1 1 : 1 1 : 4 9   3      template, product describing a process that should be

1 1 : 1 1 : 5 2   4      followed in the development of some new technology?

1 1 : 1 1 : 5 5   5      A.    I'm not sure what you mean by that.         Maybe you could

1 1 : 1 1 : 5 8   6      give me a little more detail.

1 1 : 1 2 : 0 0   7      Q.    You don't understand the word "template"?

1 1 : 1 2 : 0 2   8      A.    Well, to me, this is not a template, so I guess not.

1 1 : 1 2 : 0 7   9      Q.    Okay.   Now, in fact, this is an RFMD document.         You

1 1 : 1 2 : 1 2   10     would agree with me on that, correct?

1 1 : 1 2 : 1 4   11     A.    Yes.

1 1 : 1 2 : 1 4   12     Q.    And you are aware that RFMD never made BAW filters?

1 1 : 1 2 : 1 8   13     A.    Yes.

1 1 : 1 2 : 1 9   14     Q.    Okay.   So I think it's safe to say that this document

1 1 : 1 2 : 2 2   15     was not created to document the process of making BAW

1 1 : 1 2 : 2 6   16     filters, because they didn't make that product?

1 1 : 1 2 : 3 0   17     A.    Disagree.    This is RF products, and it would apply.

1 1 : 1 2 : 3 5   18     Q.    You believe this would apply?

1 1 : 1 2 : 3 7   19     A.    Yes.

1 1 : 1 2 : 3 7   20     Q.    And you believe it would apply even if there was a

1 1 : 1 2 : 3 9   21     different document that was actually used by Akoustis for

1 1 : 1 2 : 4 2   22     this purpose?

1 1 : 1 2 : 4 4   23     A.    I think what's indicated here is relevant to whatever

1 1 : 1 2 : 5 1   24     document Akoustis uses, and has used.         I think there's

1 1 : 1 2 : 5 7   25     experience contained here, and it will find its way into
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1 1 : 1 3 : 0 3   1      what the value -- or whatever the final document is that

1 1 : 1 3 : 0 7   2      Akoustis decided to use.       I mean, this document apparently

1 1 : 1 3 : 1 1   3      was one that they were looking to incorporate in their

1 1 : 1 3 : 1 8   4      procedure.

1 1 : 1 3 : 1 8   5      Q.    Well, but you saw -- again, you saw no evidence that

1 1 : 1 3 : 2 2   6      it actually was incorporated, did you?

1 1 : 1 3 : 2 6   7      A.    I think I disagreed with you on that last time, and I

1 1 : 1 3 : 3 1   8      disagree again in that the culture at Akoustis was

1 1 : 1 3 : 3 7   9      something that I had to get used to because I have never

1 1 : 1 3 : 4 0   10     seen it before in any technology company, where documents

1 1 : 1 3 : 4 3   11     are being passed around, confidential documents, freely,

1 1 : 1 3 : 4 6   12     and that tells me that this document must likely ended up

1 1 : 1 3 : 5 5   13     like many documents that I can point to where there were

1 1 : 1 3 : 5 8   14     revisions, and those revisions were discovered, and

1 1 : 1 4 : 0 0   15     revisions of that revision, I don't have -- so --

1 1 : 1 4 : 0 5   16     Q.    So if there was an equivalent document at the fab

1 1 : 1 4 : 0 8   17     facility which you have not looked at, would there have

1 1 : 1 4 : 1 1   18     been a need for this document?

1 1 : 1 4 : 1 3   19     A.    This has very little to do with the fab facility.

1 1 : 1 4 : 1 6   20     Direct product new technology development is something you

1 1 : 1 4 : 2 1   21     don't do in a fab.      It's now something that uses a fab,

1 1 : 1 4 : 2 7   22     but the procedures for development of new technology in a

1 1 : 1 4 : 3 3   23     fab is focused on the process, how you do your plasma

1 1 : 1 4 : 3 8   24     etching or your wet etching, how you do your grinding.

1 1 : 1 4 : 4 1   25     There's -- that's not what this is applicable to.           This is
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1 1 : 1 4 : 4 6   1      for RF devices like BAW filters.

1 1 : 1 4 : 5 0   2      Q.    This document simply describes a process to be used,

1 1 : 1 4 : 5 3   3      and, in fact, aren't these documents used for quality

1 1 : 1 4 : 5 6   4      management purposes, for customer audits and things of

1 1 : 1 5 : 0 1   5      that nature?

1 1 : 1 5 : 0 2   6      A.    When you say, "these documents," which one?

1 1 : 1 5 : 0 5   7      Q.    This one we're talking about here.          Even though it's

1 1 : 1 5 : 0 6   8      called new technology development, this is the type of

1 1 : 1 5 : 0 8   9      document that's actually used for doing customer audits

1 1 : 1 5 : 1 1   10     and seeking ISO certification and other matters that are

1 1 : 1 5 : 1 5   11     part of quality management systems?

1 1 : 1 5 : 1 8   12     A.    The use of this document is for guiding the

1 1 : 1 5 : 2 1   13     development teams established by RFMD, and later Qorvo.

1 1 : 1 5 : 2 9   14     Whether an ISO auditor wants to see what the procedure is,

1 1 : 1 5 : 3 4   15     is one thing.     They could ask for this document.

1 1 : 1 5 : 3 7   16     Q.    And that's, in fact, what these documents are usually

1 1 : 1 5 : 4 1   17     used for is to be able to show either customers or

1 1 : 1 5 : 4 5   18     certification organizations like ISO that procedures are

1 1 : 1 5 : 4 9   19     in place and this is what's being used?

1 1 : 1 5 : 5 1   20     A.    Absolutely not.     I thought that when I was a young

1 1 : 1 5 : 5 4   21     engineer, and I quickly learned otherwise.

1 1 : 1 5 : 5 7   22     Q.    Now, if we go back to the Group 1 -- we're kind of

1 1 : 1 6 : 0 5   23     going to just walk through the various groupings that you

1 1 : 1 6 : 0 8   24     made here of different alleged secrets.

1 1 : 1 6 : 1 1   25           Group 1 is business plans for Wi-Fi.          And I believe
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1 1 : 1 6 : 1 6   1      your testimony was, was that these changed every quarter

1 1 : 1 6 : 2 0   2      or so; they moved very fast because this industry moves

1 1 : 1 6 : 2 3   3      very fast; isn't that right?

1 1 : 1 6 : 2 6   4      A.    There are updated probably every quarter.

1 1 : 1 6 : 2 9   5      Q.    Well, like I said, I believe your testimony was that

1 1 : 1 6 : 3 2   6      these move very quickly; these change every quarter or so

1 1 : 1 6 : 3 6   7      is what you said yesterday?

1 1 : 1 6 : 3 8   8      A.    Yeah, that's right.

1 1 : 1 6 : 3 9   9      Q.    And so these types of documents become stale after a

1 1 : 1 6 : 4 3   10     while, don't they, because the fact that the industry is

1 1 : 1 6 : 4 6   11     changes, if it's changing every quarter, something from a

1 1 : 1 6 : 4 9   12     couple of years ago isn't going to be of much use, is it?

1 1 : 1 6 : 5 2   13     A.    That depends on the document.

1 1 : 1 6 : 5 4   14     Q.    And Wi-Fi, the advent of 5G, that was something that

1 1 : 1 7 : 0 2   15     was widely publicized, even in the regular press and news

1 1 : 1 7 : 0 9   16     media, et cetera at the time, wasn't it?

1 1 : 1 7 : 1 1   17     A.    They are all versions of Wi-Fi, so I guess that's a

1 1 : 1 7 : 1 4   18     pretty broad statement.

1 1 : 1 7 : 1 6   19     Q.    Well, would you agree --

1 1 : 1 7 : 1 6   20     A.    Showed up in the public media.

1 1 : 1 7 : 1 9   21     Q.    So the identification that there is development going

1 1 : 1 7 : 2 3   22     on in Wi-Fi or that 5G is coming, et cetera, we all heard

1 1 : 1 7 : 2 7   23     the advertisements of those events.        That wasn't something

1 1 : 1 7 : 2 9   24     that was secret; that was something that was widely known

1 1 : 1 7 : 3 3   25     common knowledge, right?
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1 1 : 1 7 : 3 4   1      A.    Yes.

1 1 : 1 7 : 4 4   2      Q.    Did you speak to anyone at Qorvo to find out how much

1 1 : 1 7 : 4 7   3      it took them to do their market analysis of the coming 5G

1 1 : 1 7 : 5 4   4      or Wi-Fi standards?

1 1 : 1 7 : 5 7   5      A.    Yes, I talked to Mr. Testa, and then I think the jury

1 1 : 1 8 : 0 1   6      heard Mr. Testa testify.

1 1 : 1 8 : 0 4   7      Q.    So you believe, other than that, that's the basis for

1 1 : 1 8 : 0 7   8      your belief as to the value of those items, or what

1 1 : 1 8 : 1 1   9      Mr. Testa has testified to?

1 1 : 1 8 : 1 3   10     A.    No, it's not the basis.      I've listened to him, and I

1 1 : 1 8 : 1 8   11     knew what he was going to say already, but I had

1 1 : 1 8 : 2 0   12     experience directly doing technical marking, and I

1 1 : 1 8 : 2 3   13     understood what it meant to make a plan, and how you do

1 1 : 1 8 : 2 6   14     that in a detailed way that actually works.          It's a lot of

1 1 : 1 8 : 3 0   15     work.

1 1 : 1 8 : 3 0   16     Q.    When was the last time you did any technical

1 1 : 1 8 : 3 3   17     marketing?

1 1 : 1 8 : 3 6   18     A.    Six months ago.

1 1 : 1 8 : 3 7   19     Q.    Okay.   So for your current company, which is an

1 1 : 1 8 : 4 0   20     R&D-type of enterprise, think tank?

1 1 : 1 8 : 4 4   21     A.    This is small, low-rate production, but, yes.

1 1 : 1 8 : 4 7   22     Q.    Okay.   Do you actually write technical marketing

1 1 : 1 8 : 5 0   23     documents for them?

1 1 : 1 8 : 5 1   24     A.    I was doing technical marketing of a particular

1 1 : 1 8 : 5 6   25     concept.     This is for SpaceX.    We make proposals and parts
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1 1 : 1 9 : 0 0   1      for commercial companies, so that's what it was about.

1 1 : 1 9 : 0 6   2      Q.    One of the items that you identified that you thought

1 1 : 1 9 : 0 9   3      was rather suspicious was the use of personal e-mail

1 1 : 1 9 : 1 4   4      accounts instead of work e-mail accounts to transmit or

1 1 : 1 9 : 1 8   5      receive various e-mails; is that right?

1 1 : 1 9 : 2 1   6      A.    I didn't use the word "suspicious"; I thought it was

1 1 : 1 9 : 2 5   7      unusual.

1 1 : 1 9 : 2 7   8      Q.    And so that indicates that if you're using your work

1 1 : 1 9 : 3 0   9      e-mail, that there doesn't appear to be any effort to hide

1 1 : 1 9 : 3 3   10     what you are doing, it's just part of normal business,

1 1 : 1 9 : 3 6   11     right?

1 1 : 1 9 : 3 7   12     A.    Depends on the context.

1 1 : 1 9 : 4 0   13     Q.    Well, if -- you said that in your opinion, you use

1 1 : 1 9 : 4 3   14     personal e-mail accounts only if you're trying to hide

1 1 : 1 9 : 4 6   15     something.

1 1 : 1 9 : 4 9   16     A.    I don't remember the context of that statement.

1 1 : 1 9 : 5 3   17     Q.    So you've never had occasion to actually use your

1 1 : 1 9 : 5 6   18     personal e-mail account for nonpersonal reasons?

1 1 : 1 9 : 5 9   19     A.    Actually, I'm not allowed to use my personal account

1 1 : 2 0 : 0 5   20     for nonpersonal reasons at Draper.        That's not allowed.

1 1 : 2 0 : 1 0   21     Q.    Do they also have a rule at Draper you're not allowed

1 1 : 2 0 : 1 3   22     to use your professional e-mail account for personal

1 1 : 2 0 : 1 6   23     reasons?

1 1 : 2 0 : 1 7   24     A.    Yes.

1 1 : 2 0 : 1 7   25     Q.    You're fortunate.     My firm, we use our e-mails for
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1 1 : 2 0 : 2 2   1      everything, to be able to do that.

1 1 : 2 0 : 2 5   2      A.    I think in tech companies, there's the awareness

1 1 : 2 0 : 2 8   3      of -- the importance of confidential information has come

1 1 : 2 0 : 3 2   4      up considerably.

1 1 : 2 0 : 3 5   5      Q.    You say it's come up considerably.          Is that, what --

1 1 : 2 0 : 3 7   6      in what time period?

1 1 : 2 0 : 4 1   7      A.    I think it's in general.      I can't really -- I haven't

1 1 : 2 0 : 4 4   8      given thought to exactly when, so I'd have to think about

1 1 : 2 0 : 4 7   9      it.

1 1 : 2 0 : 4 7   10     Q.    Now, you identified various documents that you

1 1 : 2 0 : 5 5   11     believed show the 5 gigahertz development plan that you

1 1 : 2 1 : 0 0   12     believe came from Qorvo statement -- 5 gigahertz statement

1 1 : 2 1 : 0 4   13     of work; is that right?

1 1 : 2 1 : 0 5   14     A.    That's correct.

1 1 : 2 1 : 0 6   15     Q.    And isn't it true that in terms of, you know, the

1 1 : 2 1 : 1 0   16     gigahertz spectrums, these are all pursuant to a standard,

1 1 : 2 1 : 1 4   17     correct?

1 1 : 2 1 : 1 5   18     A.    There's a standard involved in how customers use

1 1 : 2 1 : 1 9   19     them.

1 1 : 2 1 : 2 2   20     Q.    And so when we oftentimes are speaking of the spec --

1 1 : 2 1 : 2 5   21     the spec -- the standard sets out what the spec is,

1 1 : 2 1 : 2 8   22     doesn't it?

1 1 : 2 1 : 2 9   23     A.    No.

1 1 : 2 1 : 3 0   24     Q.    In what circumstances would the spec not generally

1 1 : 2 1 : 3 2   25     establish what the standard is going to be?
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1 1 : 2 1 : 3 5   1      A.    I'm sorry.    The spec?

1 1 : 2 1 : 3 6   2      Q.    I'm sorry.    The standard wouldn't establish what the

1 1 : 2 1 : 4 0   3      spec is supposed to be.

1 1 : 2 1 : 4 1   4      A.    I'd say in almost all circumstances.

1 1 : 2 1 : 4 4   5      Q.    Why is that?     What's the purpose of having a

1 1 : 2 1 : 4 6   6      standard, then?

1 1 : 2 1 : 4 8   7      A.    Standard's a starting point.       Gives you a frequency

1 1 : 2 1 : 5 0   8      range.    If there's particular product and it's using part

1 1 : 2 1 : 5 5   9      of that frequency range, if it has designations like

1 1 : 2 2 : 0 0   10     intermodulation distortion or, you know, third order of

1 1 : 2 2 : 0 6   11     intercept.    All these various detail specs, that's not

1 1 : 2 2 : 1 2   12     something that's standard, and that's something you've got

1 1 : 2 2 : 1 4   13     to figure out.

1 1 : 2 2 : 1 6   14     Q.    Now, one of the other -- one of the other groups that

1 1 : 2 2 : 1 8   15     you mentioned was BAW filter and resonator design.           That's

1 1 : 2 2 : 2 3   16     Group 2, right?

1 1 : 2 2 : 2 4   17     A.    Yes.

1 1 : 2 2 : 2 5   18     Q.    And the document that you rely on that you claim was

1 1 : 2 2 : 3 0   19     used by Akoustis is a discussion or a document that's

1 1 : 2 2 : 3 6   20     polygons versus rectangles, and that's referring to

1 1 : 2 2 : 4 1   21     resonator shapes, correct?

1 1 : 2 2 : 4 2   22     A.    That was the name of the document, yes.

1 1 : 2 2 : 4 4   23     Q.    And the type there, the shape of resonator that's

1 1 : 2 2 : 5 0   24     used in the Akoustis products is neither a polygon or a

1 1 : 2 2 : 5 4   25     rectangle, are they?
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1 1 : 2 3 : 0 2   1      A.    The way masks are made to form those electrodes is

1 1 : 2 3 : 0 5   2      this protocol called GDS2.       It lays the mask out as

1 1 : 2 3 : 1 3   3      triangles.    And those triangles have straight sides.         So

1 1 : 2 3 : 1 8   4      the electrodes -- I think Dr. Aichele also referred to

1 1 : 2 3 : 2 1   5      this.   The electrodes are always polygons because that's

1 1 : 2 3 : 2 8   6      what you're printing on the wafer.

1 1 : 2 3 : 3 0   7      Q.    Well, I think we've heard testimony here that there's

1 1 : 2 3 : 3 3   8      different shape resonators, and one of the shapes of

1 1 : 2 3 : 3 6   9      resonators is an elliptical or oval shape.

1 1 : 2 3 : 4 0   10           Do you disagree with that?

1 1 : 2 3 : 4 1   11     A.    No.

1 1 : 2 3 : 4 2   12     Q.    So there are such things as oval or elliptical

1 1 : 2 3 : 4 7   13     resonators?

1 1 : 2 3 : 4 8   14     A.    Yes, of course.

1 1 : 2 3 : 4 9   15     Q.    And are you familiar with the shape of the resonator

1 1 : 2 3 : 5 2   16     that's manufactured by Akoustis?

1 1 : 2 3 : 5 4   17     A.    Yes.

1 1 : 2 3 : 5 5   18     Q.    Okay.   And what shape is that?

1 1 : 2 3 : 5 7   19     A.    Depends.

1 1 : 2 3 : 5 9   20     Q.    Is it an oval or elliptical shape?

1 1 : 2 4 : 0 2   21     A.    Some of them, some of the resonators have that shape.

1 1 : 2 4 : 0 4   22     Q.    And does Qorvo use an oval or elliptical shape for

1 1 : 2 4 : 0 8   23     any of its resonators?

1 1 : 2 4 : 1 1   24     A.    The shape they use -- I don't know that I'd call it

1 1 : 2 4 : 1 6   25     oval or elliptical, but there's aspects of it that you
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1 1 : 2 4 : 2 0   1      could call that.

1 1 : 2 4 : 2 2   2      Q.    Well --

1 1 : 2 4 : 2 2   3      A.    I'm not saying they're the same because the shape

1 1 : 2 4 : 2 5   4      isn't -- the specific name of the shape isn't so important

1 1 : 2 4 : 2 9   5      as how you know you picked the right shape.          There's lots

1 1 : 2 4 : 3 4   6      of shapes that probably work, and the actual shape, how

1 1 : 2 4 : 3 9   7      you name it isn't particularly important.

1 1 : 2 4 : 4 3   8      Q.    So you would agree that the document, though, that

1 1 : 2 4 : 4 6   9      you're relying on that contained what you said was very

1 1 : 2 4 : 5 0   10     value Qorvo information, is a discussion of rectangular

1 1 : 2 4 : 5 5   11     versus polygon shape resonators; isn't that right?

1 1 : 2 4 : 5 8   12     A.    No.   I would not agree with that.

1 1 : 2 5 : 0 1   13     Q.    Even though that's the title of the document?

1 1 : 2 5 : 0 2   14     A.    What that document describes is what the effect the

1 1 : 2 5 : 0 8   15     shape has on aspects that matter for a filter, and it

1 1 : 2 5 : 1 4   16     tells you not only what matters, but what to do about when

1 1 : 2 5 : 2 0   17     things go wrong in a shape.

1 1 : 2 5 : 2 2   18           So you pick a shape.      It might work.     You've got to

1 1 : 2 5 : 2 6   19     modify it in a way that you get rid of these modes that

1 1 : 2 5 : 3 0   20     develop in the resonator that will end up affecting your

1 1 : 2 5 : 3 5   21     filter when you build the filter out.         That is really

1 1 : 2 5 : 4 3   22     important information.      That's something I learned when I

1 1 : 2 5 : 4 5   23     read it.    It was not publicly available.        I found it

1 1 : 2 5 : 4 8   24     really interesting.

1 1 : 2 5 : 4 9   25     Q.    Now, the resonator shape that was being used by
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1 1 : 2 5 : 5 1   1      Akoustis prior to its access to that document was an oval

1 1 : 2 5 : 5 7   2      or elliptical; would you agree?

1 1 : 2 6 : 0 0   3      A.    Can you repeat that question?       I'm sorry.

1 1 : 2 6 : 0 3   4      Q.    Sure.

1 1 : 2 6 : 0 3   5            You've seen diagrams of the resonator shapes employed

1 1 : 2 6 : 0 9   6      by Akoustis, right?

1 1 : 2 6 : 1 0   7      A.    Yes.

1 1 : 2 6 : 1 0   8      Q.    And you've seen diagrams of the resonator shapes

1 1 : 2 6 : 1 3   9      employed by Qorvo as well, haven't you?

1 1 : 2 6 : 1 5   10     A.    Yes.

1 1 : 2 6 : 1 6   11     Q.    And the resonator shapes employed by Akoustis are

1 1 : 2 6 : 2 3   12     oval or elliptical shaped; would you agree?

1 1 : 2 6 : 2 5   13     A.    Some of them.

1 1 : 2 6 : 2 6   14     Q.    And they were using those shapes prior to any

1 1 : 2 6 : 3 0   15     information received from Qorvo regarding the benefits or

1 1 : 2 6 : 3 6   16     negative aspects of using rectangles versus polygons,

1 1 : 2 6 : 4 1   17     correct?

1 1 : 2 6 : 4 2   18     A.    First of all, I don't agree with your

1 1 : 2 6 : 4 4   19     characterization.      What that document did, as I said, it

1 1 : 2 6 : 4 9   20     tells you what to look for in whatever shape you choose.

1 1 : 2 6 : 5 4   21     What to do about it if you end up with modes, which you

1 1 : 2 6 : 5 8   22     usually do --

1 1 : 2 6 : 5 9   23                   MR. LEMIEUX:    Your Honor --

1 1 : 2 6 : 5 9   24                   THE WITNESS:    -- at 5 gigahertz.

1 1 : 2 7 : 0 2   25                   MR. LEMIEUX:    Sorry.
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1 1 : 2 7 : 0 3   1                   THE COURT:    Yes, sir.

1 1 : 2 7 : 0 3   2                   MR. LEMIEUX:     We have persons not under the

1 1 : 2 7 : 0 5   3      protective order at this point.

1 1 : 2 7 : 0 7   4                   THE COURT:    That person needs to be excused.

1 1 : 2 7 : 1 3   5                   MR. LEMIEUX:     I don't know who the people are

1 1 : 2 7 : 1 5   6      in the back.

1 1 : 2 7 : 3 9   7                   THE COURT:    Thank you.

1 1 : 2 7 : 4 3   8                   THE WITNESS:     As I was explaining, that

1 1 : 2 7 : 4 5   9      document tells you -- it doesn't tell you exactly what

1 1 : 2 7 : 4 7   10     shape to pick, polygon, rectangle.        What it does tell you

1 1 : 2 7 : 5 2   11     is when you pick that shape, this is what you need to look

1 1 : 2 7 : 5 7   12     for, and you'll inevitably run into, this is what you need

1 1 : 2 8 : 0 0   13     to do about it.

1 1 : 2 8 : 0 1   14                  So the particulars of the shape is not what's

1 1 : 2 8 : 0 4   15     the key there.

1 1 : 2 8 : 0 5   16     BY MR. LEMIEUX:

1 1 : 2 8 : 0 5   17     Q.    Well, the shape that was actually being used by

1 1 : 2 8 : 0 8   18     Akoustis didn't change after they received that document,

1 1 : 2 8 : 1 1   19     did it?

1 1 : 2 8 : 1 3   20     A.    I don't know.

1 1 : 2 8 : 1 4   21     Q.    It continued to use ovals and ellipticals?

1 1 : 2 8 : 1 7   22     A.    Well, the products I saw, they didn't -- they used

1 1 : 2 8 : 1 9   23     other shapes.

1 1 : 2 8 : 2 0   24     Q.    And so the fact that they were using ovals and

1 1 : 2 8 : 2 2   25     ellipticals before they received this information would
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1 1 : 2 8 : 2 4   1      indicate that receipt of this information didn't change

1 1 : 2 8 : 2 8   2      the resonator shape that they were already using; isn't

1 1 : 2 8 : 3 2   3      that true?

1 1 : 2 8 : 3 2   4      A.     Like I said, in the new products, they weren't using

1 1 : 2 8 : 3 7   5      elliptical shapes for some of their resonators.            I saw it

1 1 : 2 8 : 4 1   6      in their layout.

1 1 : 2 8 : 4 3   7      Q.     They're using ovals or half ovals instead?

1 1 : 2 8 : 4 8   8      A.     I don't know how to describe them.         I have to show

1 1 : 2 8 : 5 1   9      you.

1 1 : 2 9 : 2 5   10                  MR. LEMIEUX:     If we could pull up PDX-6.37.

1 1 : 2 9 : 3 1   11     Actually, before that, let's pull up 6.36.

1 1 : 2 9 : 4 0   12     BY MR. LEMIEUX:

1 1 : 2 9 : 4 0   13     Q.     And temperature, in terms of an issue, is something

1 1 : 2 9 : 4 5   14     that is common with any type of small electronic device,

1 1 : 2 9 : 5 1   15     correct?

1 1 : 2 9 : 5 2   16     A.     That's a pretty general statement.

1 1 : 2 9 : 5 6   17     Q.     Well, as we all know, our devices, whether they're

1 1 : 3 0 : 0 4   18     cell phones or other small electronic devices, generate a

1 1 : 3 0 : 0 7   19     certain amount of heat because of the energy they're

1 1 : 3 0 : 1 0   20     using; isn't that right?

1 1 : 3 0 : 1 0   21     A.     The active devices do, yes, sir.

1 1 : 3 0 : 1 2   22     Q.     And that trying to understand how to control those

1 1 : 3 0 : 1 6   23     temperatures and thermal qualities is something that's

1 1 : 3 0 : 1 9   24     common to all those types of devices, isn't it?

1 1 : 3 0 : 2 1   25     A.     No.   A resistor -- first of all, a BAW filter is a
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1 1 : 3 0 : 2 5   1      passive device like a resistor.        And, typically, there's

1 1 : 3 0 : 3 0   2      not concern about the details of how a resistor might heat

1 1 : 3 0 : 3 5   3      up.

1 1 : 3 0 : 3 5   4      Q.    And isn't heat management techniques or thermal

1 1 : 3 0 : 3 9   5      controls known to others in the industry besides Qorvo?

1 1 : 3 0 : 4 2   6      A.    Of course.

1 1 : 3 0 : 4 4   7      Q.    Actually, it's a matter of oftentimes common

1 1 : 3 0 : 4 6   8      knowledge to those in material sciences, isn't it?

1 1 : 3 0 : 5 0   9      A.    Absolutely not.     The detail, what you do at the level

1 1 : 3 0 : 5 4   10     and the scale of microns and submicron dimensions is

1 1 : 3 1 : 0 0   11     not -- takes skill and knowing how to model it, what to do

1 1 : 3 1 : 0 5   12     about it that is consistent with the fabrication process.

1 1 : 3 1 : 0 9   13     Q.    Okay.    So someone, though, who has education and

1 1 : 3 1 : 1 2   14     training in that type of nano materials, et cetera,

1 1 : 3 1 : 1 5   15     they're going to understand the problem of heat transfer

1 1 : 3 1 : 1 8   16     and thermal management, aren't they?

1 1 : 3 1 : 2 2   17     A.    Yes, of course.

1 1 : 3 1 : 2 8   18     Q.    One of the other items that you believe that had been

1 1 : 3 1 : 3 4   19     transferred to Akoustis that you thought was very valuable

1 1 : 3 1 : 3 6   20     was size and reduction strategies; is that right?

1 1 : 3 1 : 4 2   21     A.    Yes, correct.

1 1 : 3 1 : 4 3   22     Q.    And how to make things smaller.        That's one of the

1 1 : 3 1 : 4 6   23     ongoing battles in almost all consumer electronics, isn't

1 1 : 3 1 : 5 2   24     it?

1 1 : 3 1 : 5 2   25     A.    Yes.    A lot of them, yes.
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1 1 : 3 1 : 5 3   1      Q.    And so knowing that that's an issue that you have to

1 1 : 3 1 : 5 7   2      deal with, that's certainly not a trade secret, is it?

1 1 : 3 2 : 0 0   3      A.    No.

1 1 : 3 2 : 0 4   4      Q.    You also mentioned what you said was kind of this

1 1 : 3 2 : 0 6   5      suspicious bag that, I guess, Rohan Houlden used to carry

1 1 : 3 2 : 1 1   6      around with him.      People use computer laptop bags all the

1 1 : 3 2 : 1 6   7      time, don't they?

1 1 : 3 2 : 1 7   8      A.    I didn't call it suspicious, and I guess I found it

1 1 : 3 2 : 2 1   9      maybe a little bit humorous that he had his computer

1 1 : 3 2 : 2 7   10     laptop bag full of documents.

1 1 : 3 2 : 2 9   11     Q.    And so people use computer laptop bags to carry

1 1 : 3 2 : 3 3   12     things all the time.      There's nothing unusual about having

1 1 : 3 2 : 3 5   13     a laptop bag?

1 1 : 3 2 : 3 8   14     A.    No, not for an engineer.

1 1 : 3 2 : 3 9   15     Q.    Now, one of the things that you've criticized

1 1 : 3 2 : 4 6   16     Akoustis for is you believe that their development time to

1 1 : 3 2 : 5 0   17     being able to manufacture products was too short; is that

1 1 : 3 2 : 5 3   18     true?

1 1 : 3 2 : 5 4   19     A.    I wasn't criticizing it.      I observed that.

1 1 : 3 2 : 5 8   20     Q.    And when you were making that observation, did you

1 1 : 3 3 : 0 1   21     take into account the experience that the fab that they

1 1 : 3 3 : 0 5   22     acquired in 2017 already had in making these types of

1 1 : 3 3 : 0 9   23     devices?

1 1 : 3 3 : 1 0   24     A.    Yes, definitely.

1 1 : 3 3 : 1 1   25     Q.    Okay.   And so they were not starting from scratch,
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1 1 : 3 3 : 1 3   1      were they?     When they -- after acquiring that fab, they

1 1 : 3 3 : 1 7   2      were acquiring actually up to 17 years' experience in

1 1 : 3 3 : 2 0   3      making MEM spec devices?

1 1 : 3 3 : 2 3   4      A.    MEMS are not BAW resonators.       They're very different

1 1 : 3 3 : 2 8   5      animals.     And I have experience making MEMS.       I have

1 1 : 3 3 : 3 1   6      inventions in MEMS.      There's a real difference in the

1 1 : 3 3 : 3 4   7      design of structures.      So, although the processes were in

1 1 : 3 3 : 3 8   8      place, and I definitely accounted for that, the experience

1 1 : 3 3 : 4 2   9      of making and measuring and trimming these devices wasn't

1 1 : 3 3 : 4 8   10     necessarily in place.

1 1 : 3 3 : 5 1   11     Q.    Trimming, that's something that you've, I think,

1 1 : 3 3 : 5 3   12     identified a number of different times as something that

1 1 : 3 3 : 5 6   13     you believe was a very valuable trade secret that was

1 1 : 3 4 : 0 0   14     otherwise moved from Qorvo to Akoustis; is that right?

1 1 : 3 4 : 0 4   15     A.    What was moved, and what I identified was what was in

1 1 : 3 4 : 0 7   16     the documents that were obtained by Akoustis.          There were

1 1 : 3 4 : 1 3   17     three algorithms that I pointed to, to explain that, and

1 1 : 3 4 : 1 8   18     that's -- that's what I testified about.

1 1 : 3 4 : 2 0   19     Q.    And have you examined the, what's called the XBAW

1 1 : 3 4 : 2 7   20     transfer process that's utilized in the New York fab for

1 1 : 3 4 : 3 2   21     actually etching the cavity for that -- for the Akoustis

1 1 : 3 4 : 3 7   22     device?

1 1 : 3 4 : 3 8   23     A.    Yes.    I'm quite familiar with it.

1 1 : 3 4 : 4 0   24     Q.    Okay.    And do you understand that basically, because

1 1 : 3 4 : 4 4   25     of the way that process works, it's impossible for them to
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1 1 : 3 4 : 4 8   1      use the trimming method that you've described in those

1 1 : 3 4 : 5 3   2      Qorvo documents?

1 1 : 3 4 : 5 4   3      A.    I don't agree with that.

1 1 : 3 4 : 5 6   4      Q.    Okay.   So if it's shown to you later by one of our

1 1 : 3 5 : 0 0   5      other experts, you just would not believe them?

1 1 : 3 5 : 0 2   6      A.    What I would acknowledge is that there may be steps

1 1 : 3 5 : 0 8   7      in what Qorvo invented that aren't usable.

1 1 : 3 5 : 1 3   8            And the example I would give, and I acknowledge, is

1 1 : 3 5 : 1 6   9      the fact that there weren't openings cut in the silicon

1 1 : 3 5 : 2 0   10     nitride to be able to do

1 1 : 3 5 : 2 4   11                , and that is correct.      But that isn't a very

1 1 : 3 5 : 2 8   12     important step.

1 1 : 3 5 : 3 1   13           The algorithm that you use in order to get to the

1 1 : 3 5 : 3 5   14                                   , that's really important.

1 1 : 3 5 : 4 0   15     Q.    Because it can't do a measurement of the cavity

1 1 : 3 5 : 4 4   16     before the cavity is created, correct?

1 1 : 3 5 : 4 7   17     A.    Measurement of what?

1 1 : 3 5 : 5 0   18     Q.    There's no trimming that can take place of the cavity

1 1 : 3 5 : 5 3   19     before the cavity exists.

1 1 : 3 5 : 5 4   20     A.    There's no trimming of the cavity at all.

1 1 : 3 5 : 5 6   21     Q.    That's right.     Exactly.

1 1 : 3 5 : 5 8   22     A.    Ever.   I'm not sure the relevance of that point.

1 1 : 3 6 : 0 4   23     Q.    So, once again, you didn't -- you haven't actually

1 1 : 3 6 : 0 5   24     observed the trimming process that takes place in New York

1 1 : 3 6 : 0 9   25     facility, have you?
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1 1 : 3 6 : 1 1   1      A.    Not that I know of.      I've been there.

1 1 : 3 6 : 1 6   2      Q.    You've visited there.      But you've not observed the

1 1 : 3 6 : 1 9   3      actual trimming process that's used in the creation of the

1 1 : 3 6 : 2 3   4      Akoustis devices, have you?

1 1 : 3 6 : 2 5   5      A.    No.

1 1 : 3 6 : 3 8   6      Q.    One of the items that you also identified, and I

1 1 : 3 6 : 4 8   7      believe shown, was a picture of some type of testing

1 1 : 3 6 : 5 3   8      facility.    There was a gentleman operating with a number

1 1 : 3 6 : 5 5   9      of pictures, looked like equipment behind him, that you

1 1 : 3 6 : 5 9   10     identified that was also a Qorvo trade secret.

1 1 : 3 7 : 0 4   11     A.    Well, I think what you're referring to is the

1 1 : 3 7 : 0 7   12     reliability facility, the schematic diagram, and the

1 1 : 3 7 : 1 0   13     photographs that went with it?

1 1 : 3 7 : 1 2   14     Q.    Yes.   Photographs attached to that, yes.

1 1 : 3 7 : 1 5   15     A.    So the combination of having a schematic diagram, how

1 1 : 3 7 : 1 9   16     you lay out your reliability system, it's not trivial.

1 1 : 3 7 : 2 5   17     It's not simple engineering.

1 1 : 3 7 : 2 7   18           Also, the photograph showing things like -- I mean, I

1 1 : 3 7 : 2 9   19     noticed right away as an engineer what the connectors

1 1 : 3 7 : 3 1   20     were, the RF connectors.       Because that's really important,

1 1 : 3 7 : 3 4   21     you know, to get the -- chosen so that they can withstand

1 1 : 3 7 : 3 9   22     the temperature excursions.       So there was a lot of

1 1 : 3 7 : 4 3   23     information to an engineer in that diagram.

1 1 : 3 7 : 4 7   24     Q.    We're going to try to -- I just asked them to pull up

1 1 : 3 7 : 4 9   25     that picture.     They're going to try to pull that up.
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1 1 : 3 7 : 5 2   1      A.    Sure.

1 1 : 3 8 : 2 8   2      Q.    And so we see these pictures of what looks like it's

1 1 : 3 8 : 3 1   3      labeled                                               .

1 1 : 3 8 : 3 4   4      A.    Yes.

1 1 : 3 8 : 3 5   5      Q.    And you're saying that just by looking at these

1 1 : 3 8 : 3 8   6      pictures, you can tell what specific connectors in that

1 1 : 3 8 : 4 2   7      are being used?

1 1 : 3 8 : 4 4   8      A.    I take a lot of information from these photos.            If

1 1 : 3 8 : 4 8   9      you want, I can explain.

1 1 : 3 8 : 4 9   10     Q.    Well, so, for example, the RF connector.            Can you see

1 1 : 3 8 : 5 2   11     from these pictures what the specifications would be for

1 1 : 3 8 : 5 5   12     that RF connector?

1 1 : 3 8 : 5 7   13     A.    I recognized it right away.       If you look at what --

1 1 : 3 8 : 5 9   14     in the top picture that engineer is holding with the red

1 1 : 3 9 : 0 5   15     frame around it.      That's going into the temperature

1 1 : 3 9 : 0 8   16     chambers.     Those RF connectors have to tolerate -- and the

1 1 : 3 9 : 1 2   17     coax cables have to tolerate temperature set ups that are

1 1 : 3 9 : 1 7   18     running for months.

1 1 : 3 9 : 1 9   19           So choosing the right connector and the right cable,

1 1 : 3 9 : 2 3   20     a configuration where you made it modular, that's new to

1 1 : 3 9 : 2 8   21     me.   And I find it really interesting.           I'm sure that's of

1 1 : 3 9 : 3 3   22     value to someone who's setting this up.           Absolutely.

1 1 : 3 9 : 3 6   23     Q.    So what we can see from the picture is, for example,

1 1 : 3 9 : 3 8   24     there's an RF connector.       And an RF connector is something

1 1 : 3 9 : 4 3   25     that's oftentimes -- or used to be on the back of
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1 1 : 3 9 : 4 5   1      television sets when we had cable, in the old days.           But

1 1 : 3 9 : 4 9   2      being able to look at that picture, that doesn't tell you

1 1 : 3 9 : 5 1   3      anything about the specification or the internal design of

1 1 : 3 9 : 5 3   4      the RF connector, does it?

1 1 : 3 9 : 5 5   5      A.    I know that connector already.       I can tell you what

1 1 : 3 9 : 5 8   6      it is.    And, also, if you look to the right, you see

1 1 : 4 0 : 0 2   7            and also, those are systems that run at temperature

1 1 : 4 0 : 0 8   8      and we can see

1 1 : 4 0 : 1 4   9                                            which -- that's

1 1 : 4 0 : 1 8   10     interesting.      Don't usually use that.

1 1 : 4 0 : 2 2   11     But they clearly found that would work in the elevated

1 1 : 4 0 : 2 6   12     temperature environment.

1 1 : 4 0 : 2 7   13     Q.    So --

1 1 : 4 0 : 2 7   14     A.    I think that's interesting.       I mean, there's a lot of

1 1 : 4 0 : 2 9   15     information.

1 1 : 4 0 : 2 9   16     Q.    So I'm just curious.      So you can tell the

1 1 : 4 0 : 3 2   17     specifications of the RF connector just from looking at

1 1 : 4 0 : 3 7   18     the picture.      Is that because there's some sort of

1 1 : 4 0 : 3 9   19     industry standard RF connector?

1 1 : 4 0 : 4 1   20     A.    No.   I just happen to recognize it.        I've seen a lot

1 1 : 4 0 : 4 4   21     of RF connectors in my lifetime.

1 1 : 4 0 : 4 6   22     Q.    Is there some sort of marking on it that allows you

1 1 : 4 0 : 4 8   23     to identify it as an --

1 1 : 4 0 : 5 0   24     A.    No.   The shape, it was off to the side like that.          I

1 1 : 4 0 : 5 3   25     know.    I have to look it up, but I know where to look.
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1 1 : 4 0 : 5 6   1      Q.    You would know where to look from that?         Okay.

1 1 : 4 0 : 5 9   2      A.    Yeah.

1 1 : 4 1 : 0 0   3      Q.    Your eyes are much better than mine.

1 1 : 4 1 : 0 2   4      A.    Well, I have a screen that's right next to me here.

1 1 : 4 1 : 0 5   5      Q.    So do I.    I just -- I don't see any markings on

1 1 : 4 1 : 0 7   6      there.    I don't see anything that would tell me who

1 1 : 4 1 : 1 0   7      manufacturers that connector, how the connector is

1 1 : 4 1 : 1 3   8      otherwise set up or set to a --

1 1 : 4 1 : 1 8   9      A.    Well --

1 1 : 4 1 : 1 8   10     Q.    -- the single processing for it, et cetera.          I don't

1 1 : 4 1 : 2 1   11     see any of that from that picture.        But you're able to

1 1 : 4 1 : 2 3   12     tell from the picture --

1 1 : 4 1 : 2 4   13     A.    An engineer looking at this, I'm sure, because

1 1 : 4 1 : 2 8   14     there's only a limited number of choices, and the decision

1 1 : 4 1 : 3 2   15     of what you use in the high-temperature oven, that's

1 1 : 4 1 : 3 6   16     difficult, and people often make mistakes.

1 1 : 4 1 : 4 0   17           Your -- the choice here is really interesting.          If I

1 1 : 4 1 : 4 4   18     had this photo, I would adopt what Qorvo was doing;

1 1 : 4 1 : 4 7   19     they're experienced with in.

1 1 : 4 1 : 4 9   20     Q.    You just mentioned a moment ago, there's only limited

1 1 : 4 1 : 5 1   21     choices available.      So that means there's actually a

1 1 : 4 1 : 5 4   22     limited number of RF connectors that could perform this

1 1 : 4 1 : 5 7   23     type of testing?

1 1 : 4 1 : 5 8   24     A.    What I meant by that is -- there's a wide variety of

1 1 : 4 2 : 0 2   25     RF connectors.     There's only a limited number that
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1 1 : 4 2 : 0 4   1      actually work at high temperature and don't change their

1 1 : 4 2 : 0 7   2      characteristics or fail after a month.

1 1 : 4 2 : 0 9   3      Q.    Is that something that's generally known to engineers

1 1 : 4 2 : 1 2   4      in this industry?

1 1 : 4 2 : 1 3   5      A.    It would be to a reliability engineer, certainly.

1 1 : 4 2 : 1 6   6      Q.    I'm just curious, Dr. Shanfield, you've mentioned a

1 1 : 4 2 : 2 8   7      couple of times that you visited the New York fab

1 1 : 4 2 : 3 1   8      facility.     When was that?

1 1 : 4 2 : 3 9   9      A.    I'd have to check, but I remember being cold at the

1 1 : 4 2 : 4 2   10     time because it's Upstate New York.        But it's probably

1 1 : 4 2 : 4 6   11     three or four years ago.

1 1 : 4 2 : 4 8   12     Q.    You believe you've been there in the last three to

1 1 : 4 2 : 5 0   13     four years?

1 1 : 4 2 : 5 1   14     A.    Yes.

1 1 : 4 2 : 5 1   15     Q.    Okay.   And when you went there, were you there to

1 1 : 4 2 : 5 4   16     meet with somebody, or did you do an inspection of the

1 1 : 4 2 : 5 7   17     facility?     What was the purpose of your visit?

1 1 : 4 2 : 5 9   18     A.    We were looking at the possibility that they could do

1 1 : 4 3 : 0 2   19     MEMS work for us, MEMS research and development, and they

1 1 : 4 3 : 0 6   20     also provided a tour to me and a couple other people from

1 1 : 4 3 : 1 1   21     Draper of what they had in the way of equipment,

1 1 : 4 3 : 1 3   22     semiconductor equipment, test equipment, so on.

1 1 : 4 3 : 1 8   23     Q.    So you did a walk-through of the facility?

1 1 : 4 3 : 2 0   24     A.    Well, they gave some detailed discussion of the MEMS

1 1 : 4 3 : 2 3   25     process, and we went into detail.        And I am under NDA for
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1 1 : 4 3 : 2 9   1      describing that, so I can't give you more.

1 1 : 4 3 : 3 1   2      Q.    I can appreciate that.       But that visit had nothing to

1 1 : 4 3 : 3 3   3      do with this case, correct?

1 1 : 4 3 : 3 6   4      A.    Yeah, it had nothing to do with this case.

1 1 : 4 3 : 5 5   5      Q.    When you were mentioning earlier the evaluation board

1 1 : 4 3 : 5 9   6      test plans, are those evaluation boards that are used in

1 1 : 4 4 : 0 3   7      the fab, or where are those evaluation boards used?

1 1 : 4 4 : 0 7   8      A.    They are provided to customers only so that they can,

1 1 : 4 4 : 0 9   9      as the name implies, evaluate the product that they're

1 1 : 4 4 : 1 5   10     mounted on.       They are also used by a company like Akoustis

1 1 : 4 4 : 2 1   11     or Qorvo to actually test their product.           So you need a

1 1 : 4 4 : 2 8   12     board to mount the filter on in order to do correct RF

1 1 : 4 4 : 3 4   13     measurements.

1 1 : 4 4 : 3 4   14     Q.    And are evaluation boards an item that's oftentimes

1 1 : 4 4 : 3 7   15     listed for sale or purchase on a company's website?

1 1 : 4 4 : 4 1   16     A.    Not for product that's in development.

1 1 : 4 4 : 4 5   17     Q.    But for a product that's otherwise available, those

1 1 : 4 4 : 4 7   18     evaluation boards is something that I could look up on a

1 1 : 4 4 : 5 0   19     website and purchase --

1 1 : 4 4 : 5 1   20     A.    Yes.

1 1 : 4 4 : 5 1   21     Q.    -- if it's an existing product.

1 1 : 4 4 : 5 5   22           So if it's sold to the public, it's not trade secret

1 1 : 4 4 : 5 6   23     once it's available on your website, right?

1 1 : 4 5 : 0 1   24     A.    That's right.

1 1 : 4 5 : 0 1   25     Q.    Now, you went through yesterday what you thought was
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1 1 : 4 5 : 1 7   1      this -- or what you described, I guess, as a highly

1 1 : 4 5 : 2 1   2      elaborate attempt by Mr. Houlden to obscure or hide the

1 1 : 4 5 : 2 8   3      source of a Wi-Fi power amp spec that Mr. Houlden provided

1 1 : 4 5 : 3 4   4      to Dr. Shealy; isn't that true?

1 1 : 4 5 : 3 7   5      A.    Could you show me this?

1 1 : 4 5 : 4 0   6                    MR. LEMIEUX:     Could we pull up DDX-6.97.

1 1 : 4 5 : 5 3   7      BY MR. LEMIEUX:

1 1 : 4 5 : 5 3   8      Q.    Does this help refresh your recollection as to what

1 1 : 4 5 : 5 5   9      document I am referring?

1 1 : 4 5 : 5 6   10     A.    Yeah.    It's a front-end module, not a power

1 1 : 4 6 : 0 2   11     amplifier.

1 1 : 4 6 : 0 3   12     Q.    And I believe that the evidence is that shown about

1 1 : 4 6 : 0 7   13     this document is that Mr. Houlden forwarded this to

1 1 : 4 6 : 1 0   14     Mr. Shealy, and Mr. Shealy sent this to a professor at the

1 1 : 4 6 : 1 5   15     University of California Santa Barbara; isn't that right?

1 1 : 4 6 : 2 0   16     A.    I don't recall the professor; I'll take your word for

1 1 : 4 6 : 2 3   17     it.

1 1 : 4 6 : 2 3   18     Q.    And so this document that Mr. Houlden was providing

1 1 : 4 6 : 2 7   19     to him was in response to a request from Dr. Shealy for an

1 1 : 4 6 : 3 1   20     example of a spec for a front-end assembly for Wi-Fi6?

1 1 : 4 6 : 3 8   21     A.    This isn't just a spec; this is a confidential

1 1 : 4 6 : 4 2   22     document revealing lots of details and measurement of this

1 1 : 4 6 : 4 7   23     front end module.

1 1 : 4 6 : 4 9   24     Q.    Right.      And I understand that, sir, but this document

1 1 : 4 6 : 5 2   25     was sent to Dr. Shealy in response to his request for a
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1 1 : 4 6 : 5 7   1      spec for a front end module, wasn't it?           That's the e-mail

1 1 : 4 7 : 0 2   2      trail that you've shown?

1 1 : 4 7 : 0 7   3      A.    What I'm showing on the e-mail is that "I would start

1 1 : 4 7 : 1 0   4      with this," is what Mr. Houlden has written.           And so they

1 1 : 4 7 : 1 6   5      are starting with something.       As to what it was going to

1 1 : 4 7 : 2 2   6      be used for, this is confidential information.           These

1 1 : 4 7 : 2 7   7      spreadsheets, there's several tabs on the spreadsheet with

1 1 : 4 7 : 2 9   8      hundreds of lines of data in it, and all kinds of

1 1 : 4 7 : 3 4   9      settings, and the focus that Qorvo had on particular

1 1 : 4 7 : 3 9   10     characteristics of the module and the filters in the

1 1 : 4 7 : 4 3   11     module.    So it certainly --

1 1 : 4 7 : 4 6   12     Q.    Were you in the courtroom --

1 1 : 4 7 : 4 7   13     A.    -- more than a spec.

1 1 : 4 7 : 4 8   14     Q.    Were you in the courtroom, Dr. Shanfield, when

1 1 : 4 7 : 5 1   15     Dr. Shealy testified about this?

1 1 : 4 7 : 5 3   16     A.    Yes.

1 1 : 4 7 : 5 4   17     Q.    Okay.   And did you hear his testimony that he

1 1 : 4 7 : 5 6   18     requested this spec from Mr. Houlden, Mr. Houlden sent him

1 1 : 4 8 : 0 1   19     in document, Dr. Shealy saw that it was a rather lengthy

1 1 : 4 8 : 0 5   20     document, and just simply forwarded it onto the professor

1 1 : 4 8 : 0 8   21     who had made the request to him?

1 1 : 4 8 : 1 0   22           Did you hear that testimony?

1 1 : 4 8 : 1 4   23     A.    He apparently -- there was confidential markings on

1 1 : 4 8 : 1 7   24     it that had been removed, but -- and I'm showing those in

1 1 : 4 8 : 2 2   25     the red squares.      But the point is, this is a confidential
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1 1 : 4 8 : 2 6   1      document that he should never have had possession of, and

1 1 : 4 8 : 2 9   2      certainly shouldn't forward it, no matter who he is

1 1 : 4 8 : 3 3   3      forwarding it to.

1 1 : 4 8 : 3 4   4      Q.    Would you agree with me, then, that, in this

1 1 : 4 8 : 3 5   5      circumstance, this isn't evidence that Akoustis actually

1 1 : 4 8 : 3 9   6      was using this document?

1 1 : 4 8 : 4 4   7      A.    Dr. Shealy is the CEO of Akoustis.          I really, if I

1 1 : 4 8 : 4 9   8      were in his role, which I have been in similar roles, you

1 1 : 4 8 : 5 3   9      set an example in how you handle documents like this by

1 1 : 4 8 : 5 7   10     what you do under circumstances like this.

1 1 : 4 9 : 0 0   11     Q.    But would you agree that, by the time that this

1 1 : 4 9 : 0 3   12     document was supplied by Mr. Houlden to Dr. Shealy,

1 1 : 4 9 : 0 6   13     Mr. Houlden removed all the confidentiality markings, as

1 1 : 4 9 : 1 1   14     you've pointed out here; isn't that true?

1 1 : 4 9 : 1 4   15     A.    I don't know who removed them.

1 1 : 4 9 : 1 7   16     Q.    Well, in your testimony yesterday, you said that

1 1 : 4 9 : 2 0   17     Mr. Houlden had removed these and then had sent it on to

1 1 : 4 9 : 2 4   18     Dr. Shealy.

1 1 : 4 9 : 2 4   19     A.    I never said that.

1 1 : 4 9 : 2 6   20     Q.    Okay.

1 1 : 4 9 : 2 7   21           So you don't know who did, but somebody had removed

1 1 : 4 9 : 2 9   22     them before this was forwarded from Mr. Houlden --

1 1 : 4 9 : 3 4   23     A.    Someone --

1 1 : 4 9 : 3 6   24           (Reporter clarification.)

1 1 : 4 9 : 3 6   25     A.    I'm sorry.    Could you repeat.
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1 1 : 4 9 : 3 6   1      BY MR. LEMIEUX:

1 1 : 4 9 : 3 8   2      Q.     Someone had removed the confidentiality restrictions

1 1 : 4 9 : 4 0   3      before this document was sent to Dr. Shealy, right?

1 1 : 4 9 : 4 3   4      A.     Correct.

1 1 : 4 9 : 5 7   5      Q.     In fact, that spec is, as you've mentioned, is for a

1 1 : 5 0 : 0 0   6      front-end module, isn't it?

1 1 : 5 0 : 0 2   7      A.     That's right; that's what I said.

1 1 : 5 0 : 0 4   8      Q.     And Akoustis doesn't make front-end modules, does it?

1 1 : 5 0 : 0 8   9      A.     They make components of front-end modules.

1 1 : 5 0 : 1 0   10     Filters --

1 1 : 5 0 : 1 0   11     Q.     They make filters?

1 1 : 5 0 : 1 2   12     A.     There are many filters in a front-end module.

1 1 : 5 0 : 1 5   13     Q.     A front-end module contains many filters and contains

1 1 : 5 0 : 1 7   14     other constituent parts as well, right?            It's a more

1 1 : 5 0 : 2 0   15     complicated device than a simple filter?

1 1 : 5 0 : 2 2   16     A.     Most of time when filters get used, that's the case,

1 1 : 5 0 : 2 5   17     yes.

1 1 : 5 0 : 2 6   18     Q.     Right.     But, again, you agree, Akoustis doesn't make

1 1 : 5 0 : 2 9   19     front-end modules, does it?

1 1 : 5 0 : 3 2   20     A.     No.

1 1 : 5 0 : 4 0   21     Q.     We touched upon this a little bit earlier,

1 1 : 5 0 : 4 2   22     Dr. Shanfield, but you are aware that Akoustis doesn't do

1 1 : 5 0 : 4 6   23     its own packaging assembly, that it's done by actually a

1 1 : 5 0 : 5 0   24     third party company outside of Akoustis?

1 1 : 5 0 : 5 3   25     A.     That's my understanding, yes.
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1 1 : 5 0 : 5 6   1      Q.    So, again, packaging and assembly information used by

1 1 : 5 1 : 0 0   2      Qorvo isn't going to be of much use to Akoustis if that

1 1 : 5 1 : 0 5   3      function is handled by a third party for Akoustis; isn't

1 1 : 5 1 : 0 8   4      that right?

1 1 : 5 1 : 0 9   5      A.    I disagree.

1 1 : 5 1 : 4 4   6      Q.    All right.    Dr. Shanfield, I'd like to just, then,

1 1 : 5 1 : 4 7   7      move on to your involvement in the assessment of potential

1 1 : 5 1 : 5 2   8      patent infringement in this case.

1 1 : 5 1 : 5 3   9      A.    Sure.

1 1 : 5 1 : 5 4   10     Q.    You were asked to conduct certain simulations for

1 1 : 5 2 : 0 0   11     purposes of other experts in this case to comment on; is

1 1 : 5 2 : 0 5   12     that right?

1 1 : 5 2 : 0 8   13     A.    Yes.    That's a good description, yes.

1 1 : 5 2 : 1 2   14     Q.    And you performed those simulations, and those

1 1 : 5 2 : 1 6   15     simulations produced certain graphs that you've referred

1 1 : 5 2 : 2 1   16     to in your testimony here today; is that right?

1 1 : 5 2 : 2 3   17     A.    Well, I performed dozens of simulations, but I am

1 1 : 5 2 : 2 8   18     showing the results from a few.

1 1 : 5 2 : 3 0   19     Q.    And the simulations you ran, they didn't consistent

1 1 : 5 2 : 3 3   20     of consist of actually physical testing of Akoustis

1 1 : 5 2 : 3 7   21     devices, did they?

1 1 : 5 2 : 3 8   22     A.    No.

1 1 : 5 2 : 3 8   23     Q.    It's just computer modeling in an attempt to project

1 1 : 5 2 : 4 2   24     what actual testing would show, right?

1 1 : 5 2 : 4 4   25     A.    Yes.    That was, I think --
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1 1 : 5 2 : 4 9   1      Q.    And for the original --

1 1 : 5 2 : 4 9   2      A.    -- you heard from testimony and witnesses that, in

1 1 : 5 2 : 5 3   3      fact, Dr. Aigner, the modeling is the way people design

1 1 : 5 2 : 5 7   4      these devices now.       You can't build lots of different

1 1 : 5 3 : 0 3   5      variations.       It just takes too long and it's too hard, and

1 1 : 5 3 : 0 6   6      the modeling has gotten so good in the BAW resonators and

1 1 : 5 3 : 1 2   7      filters that you end up very accurately predicting what

1 1 : 5 3 : 1 5   8      the real world will do.        So modeling is the Number 1

1 1 : 5 3 : 1 9   9      approach, and the first approach you take in designing and

1 1 : 5 3 : 2 2   10     deciding what you are going to build.

1 1 : 5 3 : 2 4   11     Q.    Okay.   So while modeling is a potentially useful

1 1 : 5 3 : 2 8   12     device in designing figures, that's not the question I

1 1 : 5 3 : 3 0   13     asked you.

1 1 : 5 3 : 3 2   14           We were looking at, looking at actual finished

1 1 : 5 3 : 3 5   15     devices and whether you did any physical testing of the

1 1 : 5 3 : 3 8   16     actual finished device?

1 1 : 5 3 : 4 1   17     A.    I didn't do any.      It was cross-sections taken of

1 1 : 5 3 : 4 5   18     actual physical devices.

1 1 : 5 3 : 4 7   19     Q.    So, again, what you did was you tried to create a

1 1 : 5 3 : 5 1   20     computer model of what it would predict the actual device

1 1 : 5 3 : 5 5   21     would do in operation, correct?

1 1 : 5 3 : 5 8   22     A.    No.   What I did was, I took the data that was

1 1 : 5 4 : 0 2   23     supplied to me from scanning electron microscope images

1 1 : 5 4 : 0 7   24     and measurements of the actual device, and I took those

1 1 : 5 4 : 1 0   25     dimensions.       I put them in a model that I know gives
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1 1 : 5 4 : 1 4   1      accurate results, have long experience with it, and I

1 1 : 5 4 : 1 9   2      tested that model.      I made dozens of simulations to make

1 1 : 5 4 : 2 4   3      sure the model behaved properly as expected.          And then I

1 1 : 5 4 : 2 9   4      did the simulations I was asked to do.

1 1 : 5 4 : 3 4   5      Q.    And simulations, as we heard from both Dr. Aigner and

1 1 : 5 4 : 3 7   6      Dr. Fattinger when they were on the witness stand, are

1 1 : 5 4 : 4 0   7      very complicated, aren't they?

1 1 : 5 4 : 4 2   8      A.    Yes.

1 1 : 5 4 : 4 2   9      Q.    And they consist of multiple variables that have to

1 1 : 5 4 : 4 5   10     be considered in order to produce a useful prediction;

1 1 : 5 4 : 4 9   11     isn't that right?

1 1 : 5 4 : 5 0   12     A.    That's correct.     Takes a lot of work to get it to

1 1 : 5 4 : 5 3   13     work, correct.

1 1 : 5 4 : 5 3   14     Q.    And --

1 1 : 5 4 : 5 3   15     A.    It's got to be checked a lot.

1 1 : 5 4 : 5 6   16     Q.    And if there is a mistake if one of those variables,

1 1 : 5 4 : 5 8   17     it's going to end up producing a result that's incorrect

1 1 : 5 5 : 0 1   18     or not useful, right?

1 1 : 5 5 : 0 3   19     A.    Yes.   A mistake is very unlikely, because I did the

1 1 : 5 5 : 0 6   20     same as all people who do modeling a lot do, and I tested

1 1 : 5 5 : 1 2   21     the model to make sure, in the range of parameters I was

1 1 : 5 5 : 1 5   22     looking at, that it behave the way I know the physical

1 1 : 5 5 : 1 9   23     world behaves.     So that you could check if there's

1 1 : 5 5 : 2 1   24     something wrong, you will see it in one of its

1 1 : 5 5 : 2 4   25     predictions.
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1 1 : 5 5 : 2 6   1      Q.    Now, you produced an expert report that contained --

1 1 : 5 5 : 2 9   2      well, let me step back for a second.         So the results of

1 1 : 5 5 : 3 2   3      the computer modeling that you do, produced the graphs

1 1 : 5 5 : 3 5   4      that we saw up on the screen earlier this morning?

1 1 : 5 5 : 3 9   5      A.    Yes.

1 1 : 5 5 : 3 9   6      Q.    And in your original expert report, you produced

1 1 : 5 5 : 4 3   7      certain graphs that you believed depicted the actual

1 1 : 5 5 : 4 6   8      operation of the Akoustis devices, correct?

1 1 : 5 5 : 5 0   9      A.    It predicted the performance of, in some cases,

1 1 : 5 5 : 5 4   10     Akoustis devices; in some cases what was the state of the

1 1 : 5 5 : 5 8   11     art at the time.

1 1 : 5 6 : 0 0   12     Q.    And you reviewed your expert report, didn't you, to

1 1 : 5 6 : 0 3   13     make sure that it was accurate before it was provided to

1 1 : 5 6 : 0 8   14     counsel for Akoustis?

1 1 : 5 6 : 0 9   15     A.    Yes.

1 1 : 5 6 : 1 0   16     Q.    And, in fact, didn't it turn out that the graphs that

1 1 : 5 6 : 1 4   17     you provided in your original expert report were

1 1 : 5 6 : 1 7   18     incorrect?

1 1 : 5 6 : 1 9   19     A.    I made a mistake of pasting the wrong graph into one

1 1 : 5 6 : 2 3   20     page, and the simulation itself that I pasted in was

1 1 : 5 6 : 2 9   21     correct, but it was not the one that I meant to refer to

1 1 : 5 6 : 3 3   22     in my writing.     So I did, indeed.

1 1 : 5 6 : 3 6   23     Q.    And even though that report was produced at towards

1 1 : 5 6 : 4 0   24     the end of November of 2023, you didn't notice that

1 1 : 5 6 : 4 6   25     mistake for several months; isn't that true?
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1 1 : 5 6 : 5 0   1      A.    That's true.     I have a full-time job.      I have lots of

1 1 : 5 6 : 5 3   2      other things to worry about.

1 1 : 5 6 : 5 4   3      Q.    And, in fact, you didn't notice that mistake until it

1 1 : 5 6 : 5 7   4      was pointed out in the rebuttal reports submitted by

1 1 : 5 7 : 0 0   5      Akoustis' expert; isn't that true?

1 1 : 5 7 : 0 2   6      A.    No, that's not true.

1 1 : 5 7 : 0 3   7      Q.    And isn't it also true that you weren't aware of this

1 1 : 5 7 : 0 6   8      until Dr. Bravman, who we'll hear from later, pointed out

1 1 : 5 7 : 1 0   9      the mistake to you in your expert report?

1 1 : 5 7 : 1 2   10     A.    That's not true.

1 1 : 5 7 : 1 4   11     Q.    So if Dr. Bravman testifies that he had to point this

1 1 : 5 7 : 2 0   12     mistake out to you, he would be incorrect in that

1 1 : 5 7 : 2 3   13     testimony?

1 1 : 5 7 : 2 4   14     A.    Dr. Bravman pointed to that plot and found it wasn't

1 1 : 5 7 : 2 7   15     consistent with the language I was referring to, and I

1 1 : 5 7 : 3 3   16     looked at it and immediately knew what I had done, and I

1 1 : 5 7 : 3 7   17     pasted in the right plot.

1 1 : 5 7 : 4 1   18     Q.    And so you had to change your report, didn't you?

1 1 : 5 7 : 4 3   19     Had to supplement it to put in different graphs than what

1 1 : 5 7 : 4 7   20     you had included in your original report?

1 1 : 5 7 : 5 0   21     A.    I pasted in the wrong graph.       I took that out and put

1 1 : 5 7 : 5 3   22     the right one in.      The simulations were all correct.

1 1 : 5 7 : 5 6   23     There were no errors.

1 1 : 5 8 : 1 0   24                  MR. LEMIEUX:     No further questions for this

1 1 : 5 8 : 1 1   25     witness, Your Honor.
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1 1 : 5 8 : 1 5   1                    THE COURT:   Redirect.

1 1 : 5 8 : 1 6   2                             REDIRECT EXAMINATION

1 1 : 5 8 : 1 8   3      BY MR. DeFOSSE:

1 1 : 5 8 : 2 6   4      Q.    Dr. Shanfield, I'd like to start with where

1 1 : 5 8 : 2 8   5      Mr. Lemieux started.       I think he had a number of nitpicks

1 1 : 5 8 : 3 2   6      of your opinions, and I'd like to kind of take a step back

1 1 : 5 8 : 3 5   7      and talk about your head-start analysis.

1 1 : 5 8 : 3 8   8      A.    Sure.

1 1 : 5 8 : 3 9   9      Q.    That was based on your experience in project

1 1 : 5 8 : 4 1   10     management analysis; is that right?

1 1 : 5 8 : 4 3   11     A.    That's right.

1 1 : 5 8 : 4 4   12     Q.    Now, you've run companies?

1 1 : 5 8 : 4 6   13     A.    Yes, I have.

1 1 : 5 8 : 4 7   14     Q.    And you've managed fabrication facilities?

1 1 : 5 8 : 5 1   15     A.    I have, yes.

1 1 : 5 8 : 5 2   16     Q.    And you've worked on the design of RF products?

1 1 : 5 8 : 5 5   17     A.    Yes, I have.

1 1 : 5 8 : 5 5   18     Q.    And the marketing of RF products?

1 1 : 5 8 : 5 9   19     A.    Yes.

1 1 : 5 8 : 5 9   20     Q.    And you've been in this industry for more than

1 1 : 5 9 : 0 1   21     30 years, right?

1 1 : 5 9 : 0 2   22     A.    That's correct.

1 1 : 5 9 : 0 2   23     Q.    And you're currently working in the semiconductor

1 1 : 5 9 : 0 7   24     industry, right?

1 1 : 5 9 : 0 7   25     A.    That's right.
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1 1 : 5 9 : 0 8   1      Q.    In this case, you were asked to look at a lot of

1 1 : 5 9 : 1 1   2      information, right?

1 1 : 5 9 : 1 2   3      A.    That's correct, yes.

1 1 : 5 9 : 1 3   4      Q.    Including -- well, do you recall how many

1 1 : 5 9 : 1 6   5      confidential documents you identified were in the files of

1 1 : 5 9 : 2 0   6      Akoustis?

1 1 : 5 9 : 2 1   7      A.    We started with more than a half a million documents,

1 1 : 5 9 : 2 4   8      and I had to narrow that down to a number that I could

1 1 : 5 9 : 2 8   9      look at and sort through to identify trade secrets.           It

1 1 : 5 9 : 3 1   10     was in the order of 20,000 or so, ten to 20,000, and I

1 1 : 5 9 : 3 6   11     narrowed that down to 1500, so it was a huge number of

1 1 : 5 9 : 3 9   12     documents.

1 1 : 5 9 : 4 0   13     Q.    So you identified 1500 confidential document in

1 1 : 5 9 : 4 4   14     Akoustis' files?

1 1 : 5 9 : 4 5   15     A.    That's correct.

1 1 : 5 9 : 4 6   16     Q.    And out of those documents, you identified 46 trade

1 1 : 5 9 : 5 0   17     secrets that we talked about yesterday and today?

1 1 : 5 9 : 5 2   18     A.    Yes, that's right.

1 1 : 5 9 : 5 3   19     Q.    You put them into eight groups?

1 1 : 5 9 : 5 6   20     A.    Yes.

1 1 : 5 9 : 5 6   21     Q.    And you concluded that Akoustis had received a

1 2 : 0 0 : 0 0   22     head-start benefit; is that right?

1 2 : 0 0 : 0 2   23     A.    That's right.

1 2 : 0 0 : 0 2   24     Q.    And what do you believe that benefit was from those

1 2 : 0 0 : 0 5   25     trade secrets?
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1 2 : 0 0 : 0 6   1      A.    The benefit was the ability to get something done

1 2 : 0 0 : 1 2   2      sooner than they otherwise would have.             So the time saved.

1 2 : 0 0 : 1 6   3      Q.    Okay.    And in terms of the time saved, how many

1 2 : 0 0 : 1 9   4      months was it?

1 2 : 0 0 : 2 1   5      A.    Total of 55 months.

1 2 : 0 0 : 2 2   6      Q.    And is that consistent with your 30 years of

1 2 : 0 0 : 2 5   7      experience in this industry, that that's a reasonable of

1 2 : 0 0 : 3 0   8      time to have saved?

1 2 : 0 0 : 3 1   9      A.    It is.      I actually made sure it was a sane amount,

1 2 : 0 0 : 3 3   10     and wanted confirmation of that by checking with, for

1 2 : 0 0 : 3 8   11     example, with Qorvo development work, the pace that Qorvo

1 2 : 0 0 : 4 7   12     development worked at.

1 2 : 0 0 : 4 7   13     Q.    Mr. Lemieux also, I think, suggested at various

1 2 : 0 0 : 5 1   14     points in his examination that Akoustis had purchased this

1 2 : 0 0 : 5 7   15     fabrication facility in New York.

1 2 : 0 0 : 5 9   16           Do you recall that?

1 2 : 0 0 : 5 9   17     A.    Yes.

1 2 : 0 0 : 5 9   18     Q.    And that this facility had already had procedures in

1 2 : 0 1 : 0 2   19     place, and so Akoustis couldn't have stolen Qorvo's trade

1 2 : 0 1 : 0 6   20     secrets because of that.

1 2 : 0 1 : 0 7   21     A.    Yes, he said.

1 2 : 0 1 : 0 8   22     Q.    Was that facility in New York manufacturing RF

1 2 : 0 1 : 1 3   23     filters?

1 2 : 0 1 : 1 3   24     A.    No.

1 2 : 0 1 : 1 5   25     Q.    And did you see evidence in this case that, in fact,
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1 2 : 0 1 : 1 8   1      the procedures that were -- that went to that facility

1 2 : 0 1 : 2 2   2      were supplied by Akoustis and not existing at that

1 2 : 0 1 : 2 5   3      facility?

1 2 : 0 1 : 2 6   4      A.    I did, yes.

1 2 : 0 1 : 2 7   5      Q.    Okay.   And maybe we can just look at a couple of the

1 2 : 0 1 : 3 3   6      PDXs.

1 2 : 0 1 : 3 4   7                    MR. DeFOSSE:    Could I have 6.122?

1 2 : 0 1 : 3 7   8      BY MR. DeFOSSE:

1 2 : 0 1 : 4 5   9      Q.    Okay.   Do you recall this document from your direct

1 2 : 0 1 : 4 9   10     examination?

1 2 : 0 1 : 4 9   11     A.    Yes.

1 2 : 0 1 : 5 1   12     Q.    And if we look in the upper left-hand corner, Mary

1 2 : 0 1 : 5 6   13     Winters is referred to there?

1 2 : 0 1 : 5 7   14     A.    Yes.

1 2 : 0 1 : 5 7   15     Q.    Now, she was with the fab and came over to Akoustis

1 2 : 0 2 : 0 2   16     with the acquisition, right?

1 2 : 0 2 : 0 3   17     A.    That's my understanding, yes.

1 2 : 0 2 : 0 5   18     Q.    But at this point, when -- the events you are talking

1 2 : 0 2 : 1 0   19     about in this slide in 2020, she is at Akoustis and fab is

1 2 : 0 2 : 1 4   20     at Akoustis, right?

1 2 : 0 2 : 1 5   21     A.    That's correct, yes.

1 2 : 0 2 : 1 6   22     Q.    And Mr. Dry is setting up a meeting with herself, the

1 2 : 0 2 : 1 9   23     director of operations of the fab, and Akoustis' VP of

1 2 : 0 2 : 2 4   24     quality, right?

1 2 : 0 2 : 2 4   25     A.    Yes.
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1 2 : 0 2 : 2 5   1      Q.    And he is attaching a confidential Qorvo document,

1 2 : 0 2 : 2 8   2      right?

1 2 : 0 2 : 2 8   3      A.    Yes, that's what's shown attached there.

1 2 : 0 2 : 3 1   4      Q.    To have a meeting to discuss that document?

1 2 : 0 2 : 3 3   5      A.    Correct.

1 2 : 0 2 : 3 4   6      Q.    The document relates to the visual inspection of

1 2 : 0 2 : 3 8   7      products; is that right?

1 2 : 0 2 : 3 9   8      A.    Yes, it does.

1 2 : 0 2 : 4 0   9      Q.    And I want to clear up one other thing I think

1 2 : 0 2 : 4 2   10     because I think there could be some confusion with the

1 2 : 0 2 : 4 4   11     jury.

1 2 : 0 2 : 4 5   12           The visual inspection document that's at issue here

1 2 : 0 2 : 4 8   13     relates to products that are coming out of Akoustis' fab

1 2 : 0 2 : 5 1   14     in New York, right?

1 2 : 0 2 : 5 2   15     A.    That's correct.

1 2 : 0 2 : 5 3   16     Q.    That's not the -- and can you explain the connection

1 2 : 0 2 : 5 6   17     between the fab in New York, what they're producing, and

1 2 : 0 3 : 0 0   18     these assembly houses we heard from Mr. Lemieux about?

1 2 : 0 3 : 0 3   19     A.    So the fab makes these wafers and dices them up, and

1 2 : 0 3 : 0 8   20     the inspection is done, it's done on the wafer level.

1 2 : 0 3 : 1 1   21     There's no packaging or assembly going on.          Then once the

1 2 : 0 3 : 1 7   22     chips are picked out, they are then sent to the assembly

1 2 : 0 3 : 2 2   23     house who mounts each die, each chip into a package.           And

1 2 : 0 3 : 2 8   24     maybe other parts too.      That's the assembly and the

1 2 : 0 3 : 3 1   25     inspection there, is in a separate place.
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1 2 : 0 3 : 3 7   1      Q.    One last thing.

1 2 : 0 3 : 3 7   2                    MR. DeFOSSE:    If we could go to 6.115.

1 2 : 0 3 : 4 1   3      BY MR. DeFOSSE:

1 2 : 0 3 : 4 6   4      Q.    These were the documents that you reviewed in

1 2 : 0 3 : 4 8   5      connection with Trade Secret Group 7; is that right?

1 2 : 0 3 : 5 1   6      A.    Yes, that's right.

1 2 : 0 3 : 5 2   7      Q.    The manufacturing, assembly, and change procedures

1 2 : 0 3 : 5 5   8      group?

1 2 : 0 3 : 5 6   9      A.    Yes.

1 2 : 0 3 : 5 6   10     Q.    And, again, my question relates to the correlation

1 2 : 0 3 : 5 9   11     between these documents and the assembly houses that

1 2 : 0 4 : 0 2   12     Mr. Lemieux brought up.

1 2 : 0 4 : 0 4   13           Are these documents document that would be useful at

1 2 : 0 4 : 0 8   14     Akoustis?

1 2 : 0 4 : 1 0   15     A.    In certain cases, yes.

1 2 : 0 4 : 1 2   16     Q.    Okay.   And, for example, the package qualification

1 2 : 0 4 : 1 8   17     document?

1 2 : 0 4 : 1 9   18     A.    Yes.

1 2 : 0 4 : 1 9   19     Q.    Those are procedures that Akoustis puts in place with

1 2 : 0 4 : 2 2   20     respect to the packaging that's done at the assembly

1 2 : 0 4 : 2 7   21     house, right?

1 2 : 0 4 : 2 8   22     A.    That's correct.

1 2 : 0 4 : 2 8   23     Q.    Because it's Akoustis that's responsible to make

1 2 : 0 4 : 3 0   24     those that those packages ultimately work?

1 2 : 0 4 : 3 4   25     A.    That right.     And that was the point I was trying to
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1 2 : 0 4 : 3 6   1      make with Mr. Lemieux.

1 2 : 0 4 : 3 8   2      Q.    Thank you, Dr. Shanfield.

1 2 : 0 4 : 3 9   3                   THE COURT:    All right.    Thanks very much.     You

1 2 : 0 4 : 4 2   4      may step down.

1 2 : 0 4 : 4 5   5                   Who will our next witness be?

1 2 : 0 4 : 5 9   6                   MR. NAQVI:    Good afternoon, Your Honor.

1 2 : 0 5 : 0 0   7      Plaintiff will call Michael Boyd to the stand.

1 2 : 0 5 : 2 0   8                   THE COURT:    Mr. Boyd, come forward.      Come up to

1 2 : 0 5 : 2 3   9      the witness stand.      The clerk will swear you in.

1 2 : 0 5 : 3 1   10                  THE CLERK:    Please remain standing.      Please

1 2 : 0 5 : 3 3   11     state and spell your name for the record.

1 2 : 0 5 : 3 5   12                  THE WITNESS:     My name is Michael Boyd

1 2 : 0 5 : 3 6   13     M-I-C-H-A-E-L, B-O-Y-D.

1 2 : 0 5 : 4 0   14           MICHAEL BOYD, having been called as a witness, being

1 2 : 0 5 : 4 0   15     first duly sworn under oath or affirmed, testified as

1 2 : 0 5 : 4 0   16     follows:

1 2 : 0 5 : 4 0   17                  THE CLERK:    Thank you.    Please be seated.

1 2 : 0 5 : 4 0   18                  THE COURT:    Counsel, you may proceed.

1 2 : 0 5 : 4 0   19

1 2 : 0 5 : 4 1   20                             DIRECT EXAMINATION

1 2 : 0 6 : 0 7   21     BY MR. NAQVI:

1 2 : 0 6 : 1 2   22     Q.    Good afternoon.

1 2 : 0 6 : 1 3   23           Can you please introduce yourself to the jury.

1 2 : 0 6 : 1 5   24     A.    My name is Michael Boyd.      I am the chief information

1 2 : 0 6 : 1 8   25     security officer for Qorvo.
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1 2 : 0 6 : 2 0   1      Q.    Mr. Boyd, do you have a family?

1 2 : 0 6 : 2 2   2      A.    I do.   Married 23 years to my wife, and we have two

1 2 : 0 6 : 2 5   3      children, a son and a daughter.

1 2 : 0 6 : 2 7   4      Q.    Mr. Boyd, can you please describe to the jury, what

1 2 : 0 6 : 3 0   5      is information security?

1 2 : 0 6 : 3 2   6      A.    So information security in a corporate environment is

1 2 : 0 6 : 3 5   7      a broad practice that typically involves three key

1 2 : 0 6 : 4 1   8      elements.     It's assuring both -- all three of these.

1 2 : 0 6 : 4 5   9      Confidentiality of information in systems, so keeping them

1 2 : 0 6 : 4 8   10     private.    Importantly, also, the availability of that

1 2 : 0 6 : 5 2   11     information in those systems.       So it's not just

1 2 : 0 6 : 5 5   12     confidentiality, it's the utility of the systems and the

1 2 : 0 6 : 5 8   13     ability to access data.

1 2 : 0 7 : 0 0   14           And then third, and final, is integrity of the

1 2 : 0 7 : 0 3   15     information, which is really just a fancier word for the

1 2 : 0 7 : 0 7   16     accuracy and the usability of that information in those

1 2 : 0 7 : 1 0   17     systems.

1 2 : 0 7 : 1 0   18           So it's balancing all three of those legalities.

1 2 : 0 7 : 1 3   19     Q.    Mr. Boyd, can you tell the jury a little more about

1 2 : 0 7 : 1 6   20     how -- how you, in your role, balance confidentiality and

1 2 : 0 7 : 2 0   21     availability of information?

1 2 : 0 7 : 2 4   22     A.    Sure.

1 2 : 0 7 : 2 4   23           I think it's probably easiest to use an example of

1 2 : 0 7 : 2 8   24     that balancing act.      So we do a thing -- typically, in

1 2 : 0 7 : 3 2   25     information security, everybody has a user name and a
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1 2 : 0 7 : 3 4   1      password, at a minimum, to get to information and to get

1 2 : 0 7 : 3 7   2      into systems.     Similar to an ATM machine, you might be

1 2 : 0 7 : 4 1   3      familiar with.

1 2 : 0 7 : 4 2   4            So the act of logging into that system with my user

1 2 : 0 7 : 4 6   5      name and password proves that that's me at that moment.

1 2 : 0 7 : 4 7   6      But every minute that passes after that, are we still

1 2 : 0 7 : 5 1   7      really sure that it's me?

1 2 : 0 7 : 5 3   8            Well, if I'm continuously using the system, I'm

1 2 : 0 7 : 5 6   9      relatively certain that it's still that individual there.

1 2 : 0 7 : 5 8   10     But if there's 15 minutes of inactive or an hour of

1 2 : 0 8 : 0 2   11     inactive, did somebody else get onto that system?           So we

1 2 : 0 8 : 0 5   12     do something called "locking" or "killing" sessions.           So

1 2 : 0 8 : 0 9   13     if it hasn't been used for a specific amount of time, that

1 2 : 0 8 : 1 3   14     user is kicked off.

1 2 : 0 8 : 1 6   15           The challenge is that doesn't work in some

1 2 : 0 8 : 1 9   16     environments.     Because maybe it's totally appropriate for

1 2 : 0 8 : 2 1   17     that system to not have activity and logging the person

1 2 : 0 8 : 2 4   18     out means when they come back to it, it could stop a

1 2 : 0 8 : 2 7   19     critical process, it could keep them from doing what their

1 2 : 0 8 : 3 0   20     job is.    In some cases, it might even jeopardize safety or

1 2 : 0 8 : 3 4   21     life if they can't, you know, hit a fire suppression

1 2 : 0 8 : 3 7   22     system.    So, similar to the way an ATM works when you walk

1 2 : 0 8 : 4 1   23     away, it knows that it's no longer you and the next person

1 2 : 0 8 : 4 3   24     has to enter their card.

1 2 : 0 8 : 4 5   25     Q.    Mr. Boyd, what are your job responsibilities as chief
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1 2 : 0 8 : 4 8   1      information security officer of Qorvo?

1 2 : 0 8 : 4 9   2      A.    So a broad range of responsibilities related to those

1 2 : 0 8 : 5 3   3      three topics, information security.        Kind of first and

1 2 : 0 8 : 5 6   4      foremost is establishing policies, procedures, and

1 2 : 0 8 : 5 9   5      standards around what measures we need to have in place to

1 2 : 0 9 : 0 3   6      protect our information in our systems.

1 2 : 0 9 : 0 6   7            Then training employees to make sure that they're

1 2 : 0 9 : 0 9   8      aware of those, advising senior leadership and information

1 2 : 0 9 : 1 3   9      technology in the business on what measures are

1 2 : 0 9 : 1 6   10     appropriate for protecting systems and information.

1 2 : 0 9 : 2 0   11           And then advising on selecting those technologies.

1 2 : 0 9 : 2 3   12     And then last, but certainly not least, I have a team of

1 2 : 0 9 : 2 7   13     security operations specialists who do continuous

1 2 : 0 9 : 3 0   14     monitoring and evaluation of systems and data to detect

1 2 : 0 9 : 3 4   15     problems and then they respond to them.

1 2 : 0 9 : 3 7   16     Q.    Mr. Boyd, can you please summarize your educational

1 2 : 0 9 : 3 9   17     background, beginning after high school?

1 2 : 0 9 : 4 1   18     A.    Sure.   After high school, I attended the United

1 2 : 0 9 : 4 6   19     States Naval Academy in Annapolis.        I received a bachelor

1 2 : 0 9 : 4 9   20     of science degree in computer science.            I was commissioned

1 2 : 0 9 : 5 2   21     as an officer in the Marine Corps, where I served for

1 2 : 0 9 : 5 5   22     six years.    A number of different professional trainings

1 2 : 0 9 : 5 9   23     and certifications while in the military.

1 2 : 1 0 : 0 1   24           After leaving the military to get back into IT and

1 2 : 1 0 : 0 5   25     security, I had a whole host of technical certifications
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1 2 : 1 0 : 0 9   1      back when I was doing engineering and analyst work.           The

1 2 : 1 0 : 1 2   2      one certification I currently maintain is called the

1 2 : 1 0 : 1 7   3      Certified Information Systems Security Professional, or

1 2 : 1 0 : 2 0   4      CISSP.

1 2 : 1 0 : 2 2   5      Q.    Mr. Boyd, when did you join Qorvo?

1 2 : 1 0 : 2 5   6      A.    I joined Qorvo as a CCO in April of 2021.

1 2 : 1 0 : 2 9   7      Q.    And do you report to anyone?

1 2 : 1 0 : 3 1   8      A.    I report to the chief information officer, the head

1 2 : 1 0 : 3 4   9      of IT, Mr. Todd Martin.

1 2 : 1 0 : 3 6   10     Q.    How many employees are on Qorvo's information

1 2 : 1 0 : 3 9   11     security team?

1 2 : 1 0 : 3 9   12     A.    We have seven direct members of the information

1 2 : 1 0 : 4 2   13     security team.

1 2 : 1 0 : 4 3   14     Q.    And outside of the dedicated information security

1 2 : 1 0 : 4 5   15     team, are there other employees at Qorvo who are involved

1 2 : 1 0 : 4 8   16     in information security?

1 2 : 1 0 : 5 0   17     A.    Absolutely.     I think, fundamentally, most

1 2 : 1 0 : 5 3   18     importantly, every single Qorvo employee has very specific

1 2 : 1 0 : 5 7   19     and very well-publicized responsibilities for information

1 2 : 1 1 : 0 1   20     security.    Appropriate use of systems, managing your

1 2 : 1 1 : 0 3   21     passwords effectively, acting in an ethical responsible

1 2 : 1 1 : 0 7   22     manner, as established in a number of policies.

1 2 : 1 1 : 1 0   23           More specifically to my role, I partner, and my team

1 2 : 1 1 : 1 5   24     partners with a whole host of other experts inside Qorvo

1 2 : 1 1 : 2 0   25     for things like compliance with laws and regulations.           We
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1 2 : 1 1 : 2 2   1      work with the legal team for employee matters.          We work

1 2 : 1 1 : 2 6   2      with human resources.      And then we work hand in hand with

1 2 : 1 1 : 2 9   3      dozens of folks in the IT department to make sure our

1 2 : 1 1 : 3 2   4      systems are secure.

1 2 : 1 1 : 3 4   5      Q.    How much does Qorvo spend on an annual basis on

1 2 : 1 1 : 3 7   6      information security?

1 2 : 1 1 : 3 8   7      A.    So directly in my budget, that rolls up to me, we

1 2 : 1 1 : 4 4   8      spend about seven and a half, a little shy of $7.5 million

1 2 : 1 1 : 4 7   9      a year on information security controls.

1 2 : 1 1 : 5 0   10           And then outside of my team, there are other security

1 2 : 1 1 : 5 3   11     features in a lot of other technology that don't fall

1 2 : 1 1 : 5 8   12     under my budget, but those are conservatively between $3-

1 2 : 1 2 : 0 2   13     and $4 million for those ones as well that I advise on.

1 2 : 1 2 : 0 7   14     Q.    Mr. Boyd, does Qorvo take information security

1 2 : 1 2 : 0 9   15     seriously?

1 2 : 1 2 : 1 1   16     A.    Absolutely.

1 2 : 1 2 : 1 1   17     Q.    Why do you say that?

1 2 : 1 2 : 1 3   18     A.    So as a technology company, our competitive edge is

1 2 : 1 2 : 1 7   19     really derived from high-value intellectual property.           I

1 2 : 1 2 : 2 1   20     call that the life blood of Qorvo, is our intellectual

1 2 : 1 2 : 2 3   21     property.

1 2 : 1 2 : 2 4   22           We spend significant money and significant time,

1 2 : 1 2 : 2 8   23     years and years, developing critical intellectual

1 2 : 1 2 : 3 1   24     property.    So we recognize, and our employees recognize,

1 2 : 1 2 : 3 5   25     that that's critically important.
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1 2 : 1 2 : 3 8   1            Again, as I said, information security is not just

1 2 : 1 2 : 4 1   2      about keeping confidentiality of that.            We don't get value

1 2 : 1 2 : 4 5   3      from that information unless it's turned into products

1 2 : 1 2 : 4 7   4      that our customers are asking for.

1 2 : 1 2 : 5 0   5            So the availability and the integrity of that is also

1 2 : 1 2 : 5 3   6      very important.     Qorvo spends a lot of money, a lot of

1 2 : 1 2 : 5 6   7      time, and I have great engagement with our board of

1 2 : 1 3 : 0 0   8      directors and with our senior executives on the program as

1 2 : 1 3 : 0 3   9      well.

1 2 : 1 3 : 0 5   10     Q.    Mr. Boyd, does Qorvo maintain written policies

1 2 : 1 3 : 0 8   11     related to information security?

1 2 : 1 3 : 0 9   12     A.    We do.

1 2 : 1 3 : 1 0   13     Q.    And how do you know about policies related to

1 2 : 1 3 : 1 2   14     information security that predate when you joined Qorvo in

1 2 : 1 3 : 1 6   15     2021?

1 2 : 1 3 : 1 7   16     A.    So when I joined Qorvo, it was -- one of my primary

1 2 : 1 3 : 2 2   17     responsibilities is managing those policies, and they all

1 2 : 1 3 : 2 4   18     have a history to them.       So I can go back and look at

1 2 : 1 3 : 2 8   19     prior versions very easily, I can roll back and look at

1 2 : 1 3 : 3 1   20     what was there before and what changed.

1 2 : 1 3 : 3 3   21           So as part of my onboarding at Qorvo, I knew I needed

1 2 : 1 3 : 3 6   22     to go and review the policies that were currently in place

1 2 : 1 3 : 3 9   23     and what they had looked like prior.

1 2 : 1 3 : 4 2   24     Q.    Mr. Boyd, I'd now like to start walking through

1 2 : 1 3 : 4 5   25     various aspects of Qorvo's information security program.
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1 2 : 1 3 : 4 8   1            Does Qorvo have physical security controls?

1 2 : 1 3 : 5 1   2      A.    We do.      We have what I would call the kind of

1 2 : 1 3 : 5 3   3      standard information security controls in a technology and

1 2 : 1 3 : 5 7   4      manufacturing environment, badges to our building.            So you

1 2 : 1 4 : 0 1   5      have to swipe your employer-issued badge to unlock an

1 2 : 1 4 : 0 3   6      electronic lock on the door.

1 2 : 1 4 : 0 4   7            We also have physical key locks in certain areas.            We

1 2 : 1 4 : 0 8   8      have cyber locks, which are little punch keys that you

1 2 : 1 4 : 1 1   9      have to enter numbers on for other areas.           We also have

1 2 : 1 4 : 1 5   10     video monitoring, on-site security guards in our major

1 2 : 1 4 : 1 8   11     facilities.       And all employees are issued a photographic

1 2 : 1 4 : 2 2   12     ID badge as well, that has to be displayed on premises at

1 2 : 1 4 : 2 5   13     all times.

1 2 : 1 4 : 2 6   14     Q.    Mr. Boyd, I'd now like to turn to employees

1 2 : 1 4 : 2 9   15     specifically.       When a new employee is hired by Qorvo, is

1 2 : 1 4 : 3 2   16     he or she required to sign a confidentiality agreement?

1 2 : 1 4 : 3 5   17     A.    Yes, they are.

1 2 : 1 4 : 3 6   18     Q.    And, to your understanding, was this same type of

1 2 : 1 4 : 3 9   19     requirement implemented by Qorvo's predecessor companies,

1 2 : 1 4 : 4 1   20     TriQuint and RF Micro Devices?

1 2 : 1 4 : 4 5   21     A.    Yes, it was.

1 2 : 1 4 : 4 6   22     Q.    How do you know that?

1 2 : 1 4 : 4 6   23     A.    I've come across a number of confidentiality

1 2 : 1 4 : 4 9   24     agreements signed by employees, on hire, that predated

1 2 : 1 4 : 5 4   25     Qorvo's merger, as far back as pre2000, actually.            So I've
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1 2 : 1 4 : 5 7   1      seen, in my experience, that's been a standard practice.

1 2 : 1 5 : 0 1   2                    MR. NAQVI:   Your Honor, may I approach the

1 2 : 1 5 : 0 2   3      witness?

1 2 : 1 5 : 0 5   4                    THE COURT:   Yes.   You may approach.

1 2 : 1 5 : 4 4   5      BY MR. NAQVI:

1 2 : 1 5 : 5 0   6      Q.    Mr. Boyd, I've handed you three documents.          The first

1 2 : 1 5 : 5 2   7      that I'd like to ask you about is PTX-647, which has

1 2 : 1 5 : 5 6   8      already been admitted into evidence as Trial Exhibit 214.

1 2 : 1 6 : 0 3   9                    MR. NAQVI:   And, Mr. Faison, if you can please

1 2 : 1 6 : 0 6   10     display Trial Exhibit 214.

1 2 : 1 6 : 1 0   11     BY MR. NAQVI:

1 2 : 1 6 : 1 0   12     Q.    Mr. Boyd, do you recognize this document?

1 2 : 1 6 : 1 1   13     A.    I do.

1 2 : 1 6 : 1 1   14     Q.    What is it?

1 2 : 1 6 : 1 2   15     A.    This is the employee confidentiality and invention

1 2 : 1 6 : 1 5   16     assignment agreement for TriQuint Semiconductor.

1 2 : 1 6 : 1 8   17     Q.    And can you tell who signed this agreement?

1 2 : 1 6 : 2 0   18     A.    This was signed on the second page by Joonbum Kwon on

1 2 : 1 6 : 2 4   19     May the 12th of 2012.

1 2 : 1 6 : 2 6   20     Q.    Will you seen signed TriQuint confidentiality

1 2 : 1 6 : 2 9   21     agreements before?

1 2 : 1 6 : 3 0   22     A.    Yes, I have.

1 2 : 1 6 : 3 1   23     Q.    Is that in connection with your job responsibilities

1 2 : 1 6 : 3 3   24     at Qorvo?

1 2 : 1 6 : 3 3   25     A.    Yes, it is.
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                                                      #: 41125
                                                    Boyd   - Direct

1 2 : 1 6 : 3 4   1      Q.     Okay.    And looking at Section 1 of Trial Exhibit 214,

1 2 : 1 6 : 4 0   2      there's a section that describes confidentiality

1 2 : 1 6 : 4 3   3      obligations.

1 2 : 1 6 : 4 4   4                     MR. NAQVI:   Mr. Faison, if we can please look

1 2 : 1 6 : 4 5   5      at Section 1 on Page 1.

1 2 : 1 6 : 4 8   6      BY MR. NAQVI:

1 2 : 1 6 : 4 8   7      Q.     And, Mr. Boyd, to your understanding, did the

1 2 : 1 6 : 5 1   8      confidentiality obligations on Page 1 end when the

1 2 : 1 6 : 5 6   9      employee left TriQuint?

1 2 : 1 6 : 5 8   10     A.     No, they did not.

1 2 : 1 6 : 5 9   11     Q.     Why do you say that?

1 2 : 1 7 : 0 1   12     A.     So in the last sentence of that section, it indicates

1 2 : 1 7 : 0 5   13     that those requirements endure during my employment by

1 2 : 1 7 : 0 8   14     TriQuint or hereafter.

1 2 : 1 7 : 1 2   15     Q.     Mr. Boyd, you can set that document aside.         Thank

1 2 : 1 7 : 1 4   16     you.

1 2 : 1 7 : 1 5   17                    MR. NAQVI:   Next is PTX-760, which has already

1 2 : 1 7 : 1 8   18     been admitted into evidence as trial Exhibit 204.

1 2 : 1 7 : 2 2   19                    Mr. Faison, if you could please display that

1 2 : 1 7 : 2 4   20     document.      Thank you.

1 2 : 1 7 : 2 6   21     BY MR. NAQVI:

1 2 : 1 7 : 2 6   22     Q.     Mr. Boyd, do you recognize this document?

1 2 : 1 7 : 2 8   23     A.     I do.

1 2 : 1 7 : 2 8   24     Q.     What is it?

1 2 : 1 7 : 2 9   25     A.     So similar to the previous one, this is the RFMD
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1479PageID
                                                                           Page 1155 of 2283
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                                                    Boyd   - Direct

1 2 : 1 7 : 3 4   1      Inventions, Confidentiality and Nonsolicitation Agreement

1 2 : 1 7 : 3 8   2      signed by employees.

1 2 : 1 7 : 3 9   3      Q.    And can you tell who signed this one?

1 2 : 1 7 : 4 1   4      A.    This was signed by Jeffrey B. Shealy on the 22nd of

1 2 : 1 7 : 4 5   5      October, 2001.

1 2 : 1 7 : 4 6   6      Q.    And have you seen signed RFMD confidentiality

1 2 : 1 7 : 4 9   7      agreements before?

1 2 : 1 7 : 5 1   8      A.    Yes, I have.

1 2 : 1 7 : 5 1   9      Q.    Is that in connection with your job responsibilities

1 2 : 1 7 : 5 4   10     at Qorvo?

1 2 : 1 7 : 5 5   11     A.    Yes, it is.

1 2 : 1 7 : 5 5   12     Q.    Looking at Section 1A, which starts on Page 1 and

1 2 : 1 7 : 5 9   13     moves to Page 2, this lists confidentiality obligations.

1 2 : 1 8 : 0 3   14     Are these -- did these confidentiality obligations end

1 2 : 1 8 : 0 8   15     when the employee left RFMD?

1 2 : 1 8 : 1 1   16     A.    They did not.

1 2 : 1 8 : 1 2   17     Q.    Why do you say that?

1 2 : 1 8 : 1 3   18     A.    Similar to the previous one, there's a sentence in

1 2 : 1 8 : 1 6   19     the middle of the paragraph, it says, "At all times, both

1 2 : 1 8 : 1 9   20     during the period of employment by employer and after

1 2 : 1 8 : 2 2   21     termination of that employment for any reason."

1 2 : 1 8 : 2 5   22     Q.    Thank you, Mr. Boyd.      You can set that one aside.

1 2 : 1 8 : 2 7   23                  The third document that I handed you is

1 2 : 1 8 : 3 0   24     PTX-1218.

1 2 : 1 8 : 3 1   25                  MR. NAQVI:    And, Mr. Faison, if we can
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1480PageID
                                                                           Page 1156 of 2283
                                                      #: 41127
                                                    Boyd   - Direct

1 2 : 1 8 : 3 6   1      please -- actually, you can hold off on that.

1 2 : 1 8 : 3 8   2      BY MR. NAQVI:

1 2 : 1 8 : 3 8   3      Q.    Mr. Boyd, do you recognize this document?

1 2 : 1 8 : 4 0   4      A.    I do.

1 2 : 1 8 : 4 0   5      Q.    What is it?

1 2 : 1 8 : 4 1   6      A.    This is the Qorvo Inventions, Confidentiality, and

1 2 : 1 8 : 4 4   7      Nonsolicitation Agreement.

1 2 : 1 8 : 4 7   8      Q.    Can you tell who it was signed by?

1 2 : 1 8 : 4 9   9      A.    This was signed by Cheng Chen on October 22nd of

1 2 : 1 8 : 5 3   10     2022.

1 2 : 1 8 : 5 4   11     Q.    Have you seen this agreement before?

1 2 : 1 8 : 5 5   12     A.    Yes, I have.

1 2 : 1 8 : 5 6   13     Q.    Did you sign one of these personally when you joined

1 2 : 1 8 : 5 9   14     Qorvo?

1 2 : 1 8 : 5 9   15     A.    I signed one of these when I joined, yes.

1 2 : 1 9 : 0 2   16     Q.    And have you seen this type of document in connection

1 2 : 1 9 : 0 4   17     with your job responsibilities at Qorvo?

1 2 : 1 9 : 0 6   18     A.    Yes, I have.

1 2 : 1 9 : 0 7   19                   MR. NAQVI:   Your Honor, I move into evidence

1 2 : 1 9 : 0 9   20     PTX-1218.

1 2 : 1 9 : 1 3   21                   THE COURT:   Marked and received as 230.

1 2 : 1 9 : 1 7   22                   (Trial Exhibit No. 230 was admitted into

1 2 : 1 9 : 1 7   23     evidence.)

1 2 : 1 9 : 2 0   24     BY MR. NAQVI:

1 2 : 1 9 : 2 2   25     Q.    And, Mr. Boyd, looking at Trial Exhibit 230, does
                  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24                1481PageID
                                                                            Page 1157 of 2283
                                                       #: 41128
                                                     Boyd   - Direct

1 2 : 1 9 : 2 5   1      this -- in Section 1A, does this have similar

1 2 : 1 9 : 2 9   2      confidentiality language as in the agreement we just

1 2 : 1 9 : 3 2   3      looked at for RFMD?

1 2 : 1 9 : 3 4   4      A.    Yes, it does.

1 2 : 1 9 : 3 5   5      Q.    And do the confidentiality obligations in this

1 2 : 1 9 : 3 7   6      section end when the employee leaves Qorvo?

1 2 : 1 9 : 4 1   7      A.    They do not.      Similar to the previous ones, the

1 2 : 1 9 : 4 4   8      second paragraph there states, "At all times, both during

1 2 : 1 9 : 4 7   9      my period of employment with Qorvo and after termination

1 2 : 1 9 : 5 0   10     of my employment for any reason."

1 2 : 1 9 : 5 3   11     Q.    Thank you, Mr. Boyd.       You can set that document

1 2 : 1 9 : 5 5   12     aside.

1 2 : 1 9 : 5 5   13           So does Qorvo remind employees of confidentiality

1 2 : 1 9 : 5 9   14     obligations during their employment at Qorvo?

1 2 : 2 0 : 0 2   15     A.    Absolutely.

1 2 : 2 0 : 0 3   16                   MR. NAQVI:    Your Honor, may I approach the

1 2 : 2 0 : 0 4   17     witness?

1 2 : 2 0 : 0 5   18                   THE COURT:    You may.

1 2 : 2 0 : 0 7   19     BY MR. NAQVI:

1 2 : 2 0 : 2 8   20     Q.    Mr. Boyd, I've handed you what's been marked as Joint

1 2 : 2 0 : 3 1   21     Exhibit 20.       Do you recognize this document?

1 2 : 2 0 : 3 3   22     A.    I do.

1 2 : 2 0 : 3 4   23     Q.    What is it?

1 2 : 2 0 : 3 5   24     A.    This is the Qorvo Code of Business Conduct and

1 2 : 2 0 : 3 8   25     Ethics, dated January 1st of 2015.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1482PageID
                                                                           Page 1158 of 2283
                                                      #: 41129
                                                    Boyd   - Direct

1 2 : 2 0 : 4 2   1      Q.    Can you please describe to the jury what is Qorvo's

1 2 : 2 0 : 4 5   2      Code of Business Conduct and Ethics?

1 2 : 2 0 : 4 8   3      A.    So the Code of Conduct -- Code of Business Conduct

1 2 : 2 0 : 5 1   4      and Ethics is a corporate policy and code delivered by the

1 2 : 2 0 : 5 5   5      CEO to all employees that covers a very broad range of

1 2 : 2 0 : 5 8   6      ethical practices.      It covers things like anti-bribery,

1 2 : 2 1 : 0 3   7      gift-giving policies, those types of things.          In addition

1 2 : 2 1 : 0 7   8      to that, it has a very significant section on

1 2 : 2 1 : 1 0   9      confidentiality, protection of intellectual property,

1 2 : 2 1 : 1 1   10     sharing of information with third parties, that kind of

1 2 : 2 1 : 1 5   11     thing.

1 2 : 2 1 : 1 5   12     Q.    And are you familiar with Qorvo's Code of Business

1 2 : 2 1 : 1 8   13     Conduct and Ethics as part of your job responsibilities at

1 2 : 2 1 : 2 1   14     Qorvo?

1 2 : 2 1 : 2 1   15     A.    I am.

1 2 : 2 1 : 2 3   16     Q.    Are Qorvo employees required to review and

1 2 : 2 1 : 2 6   17     acknowledge its -- Qorvo's Code of Business Conduct and

1 2 : 2 1 : 2 9   18     Ethics?

1 2 : 2 1 : 3 0   19     A.    Yes, they are.

1 2 : 2 1 : 3 0   20     Q.    And how is that tracked or recorded?

1 2 : 2 1 : 3 3   21     A.    So on initial hiring, you have to review this and

1 2 : 2 1 : 3 7   22     verify in what's called our learning management system.

1 2 : 2 1 : 4 0   23     It's an online application that delivers both training

1 2 : 2 1 : 4 3   24     content and policies to employees, in this case, the Code

1 2 : 2 1 : 4 7   25     of Business Conduct and Ethics.        And you have to attest at
                  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24                1483PageID
                                                                            Page 1159 of 2283
                                                       #: 41130
                                                     Boyd   - Direct

1 2 : 2 1 : 5 0   1      the end, basically an electronic signature, that you'll

1 2 : 2 1 : 5 4   2      follow this.

1 2 : 2 1 : 5 4   3      Q.    And has the requirement that an employee review and

1 2 : 2 1 : 5 7   4      acknowledge the Code of Business Conduct and Ethics on an

1 2 : 2 2 : 0 0   5      annual basis been a historical practice of Qorvo since

1 2 : 2 2 : 0 4   6      2015?

1 2 : 2 2 : 0 4   7      A.    Yes, it has.

1 2 : 2 2 : 0 6   8                    MR. NAQVI:    Your Honor, I move into evidence

1 2 : 2 2 : 0 7   9      Joint Exhibit 20?

1 2 : 2 2 : 1 0   10                   THE COURT:    Marked and received as 231.

1 2 : 2 2 : 1 3   11                   (Trial Exhibit No. 231 was admitted into

1 2 : 2 2 : 1 3   12     evidence.)

1 2 : 2 2 : 1 4   13                   MR. NAQVI:    Mr. Faison, if we can display Joint

1 2 : 2 2 : 1 8   14     Exhibit 20.       It's now been marked as Trial Exhibit 231.

1 2 : 2 2 : 2 1   15     BY MR. NAQVI:

1 2 : 2 2 : 2 1   16     Q.    Mr. Boyd, can you please turn to Page 8 of Trial

1 2 : 2 2 : 2 4   17     Exhibit 231.

1 2 : 2 2 : 2 8   18           And on Pages 8 and 9 are the section titled

1 2 : 2 2 : 3 1   19     "Confidentiality."       Do you see that?

1 2 : 2 2 : 3 3   20     A.    I do.

1 2 : 2 2 : 3 3   21     Q.    And does this section have similar confidentiality

1 2 : 2 2 : 3 7   22     obligations and language as in the confidentiality

1 2 : 2 2 : 4 0   23     agreements that we just reviewed?

1 2 : 2 2 : 4 2   24     A.    It does.

1 2 : 2 2 : 4 3   25     Q.    And does this section on Page 9, at the top of
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1484PageID
                                                                           Page 1160 of 2283
                                                      #: 41131
                                                    Boyd   - Direct

1 2 : 2 2 : 4 8   1      Page 9, address sharing confidential information with

1 2 : 2 2 : 5 3   2      third parties?

1 2 : 2 2 : 5 3   3      A.    It does.

1 2 : 2 2 : 5 4   4      Q.    And what does it say regarding sharing confidential

1 2 : 2 2 : 5 6   5      information with third parties?

1 2 : 2 2 : 5 8   6      A.    So it establishes for Qorvo employees that under all

1 2 : 2 3 : 0 1   7      circumstances, if you're going to share confidential

1 2 : 2 3 : 0 4   8      information with a third party, it's required to be done

1 2 : 2 3 : 0 7   9      under what's called a nondisclosure agreement.

1 2 : 2 3 : 1 2   10     Q.    Thank you, Mr. Boyd.      You set aside that document.

1 2 : 2 3 : 1 4   11           When an employee leaves Qorvo, are there any security

1 2 : 2 3 : 1 9   12     policies or procedures in place?

1 2 : 2 3 : 2 0   13     A.    There are.

1 2 : 2 3 : 2 1   14     Q.    Can you please briefly describe those to the jury?

1 2 : 2 3 : 2 3   15     A.    So when an employee is going to leave Qorvo, the

1 2 : 2 3 : 2 8   16     human resources department and the manager meet with them

1 2 : 2 3 : 3 2   17     and discuss the -- kind of circumstances of them leaving,

1 2 : 2 3 : 3 7   18     and there's an assessment of, is there a risk to Qorvo?

1 2 : 2 3 : 3 9   19     Is there not a risk to Qorvo?       And then, importantly, at

1 2 : 2 3 : 4 2   20     that time the employee is reminded of their enduring

1 2 : 2 3 : 4 6   21     confidentiality agreement with Qorvo as it relates to

1 2 : 2 3 : 4 9   22     intellectual property.

1 2 : 2 3 : 5 0   23                  MR. NAQVI:    Your Honor, may I approach the

1 2 : 2 3 : 5 2   24     witness?

1 2 : 2 3 : 5 2   25                  THE COURT:    You may.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1485PageID
                                                                           Page 1161 of 2283
                                                      #: 41132
                                                    Boyd   - Direct

1 2 : 2 4 : 0 2   1      BY MR. NAQVI:

1 2 : 2 4 : 1 2   2      Q.    Mr. Boyd, I've handed you what's been marked as

1 2 : 2 4 : 1 4   3      PTX-1109.     Do you recognize this document?

1 2 : 2 4 : 1 8   4      A.    I do.

1 2 : 2 4 : 1 8   5      Q.    What is it?

1 2 : 2 4 : 1 9   6      A.    This is the -- "A Reminder of Your Continuing

1 2 : 2 4 : 2 3   7      Obligations to Qorvo" document handed -- delivered to

1 2 : 2 4 : 2 6   8      employees on departure.

1 2 : 2 4 : 2 9   9      Q.    And can you tell who signed this document?

1 2 : 2 4 : 3 1   10     A.    This document was signed by Robert Dry on October 15

1 2 : 2 4 : 3 5   11     of 2019.

1 2 : 2 4 : 3 6   12     Q.    Are you familiar with this document?

1 2 : 2 4 : 3 8   13     A.    I am.

1 2 : 2 4 : 3 9   14     Q.    Have you seen signed examples of this document in

1 2 : 2 4 : 4 2   15     connection with your job responsibilities at Qorvo?

1 2 : 2 4 : 4 4   16     A.    Yes, I have.

1 2 : 2 4 : 4 5   17     Q.    And since 2015, has Qorvo required the signing of

1 2 : 2 4 : 4 9   18     this agreement upon departure from the company?

1 2 : 2 4 : 5 3   19     A.    Yes, we have.

1 2 : 2 4 : 5 4   20     Q.    How do you know that?

1 2 : 2 4 : 5 5   21     A.    I've seen ones that go back to 2015, and even prior

1 2 : 2 5 : 0 0   22     to 2015, the sort of similar documents.

1 2 : 2 5 : 0 3   23                   MR. NAQVI:   Your Honor, I move into evidence

1 2 : 2 5 : 0 5   24     PTX-1109.

1 2 : 2 5 : 0 7   25                   THE COURT:   Marked and received as 232.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1486PageID
                                                                           Page 1162 of 2283
                                                      #: 41133
                                                    Boyd   - Direct

1 2 : 2 5 : 0 9   1                    (Trial Exhibit No. 232 was admitted into

1 2 : 2 5 : 0 9   2      evidence.)

1 2 : 2 5 : 1 1   3                    MR. NAQVI:   Mr. Faison, if you could please

1 2 : 2 5 : 1 6   4      display PTX-1109.

1 2 : 2 5 : 1 9   5      BY MR. NAQVI:

1 2 : 2 5 : 1 9   6      Q.    Mr. Boyd, does this Reminder to Employees upon

1 2 : 2 5 : 2 4   7      Departure contain similar confidentiality language as in

1 2 : 2 5 : 2 7   8      the prior documents that we've seen today?

1 2 : 2 5 : 2 9   9      A.    It does.

1 2 : 2 5 : 3 0   10     Q.    Can you please describe for the jury, generally, the

1 2 : 2 5 : 3 3   11     purpose of this document?

1 2 : 2 5 : 3 4   12     A.    So the purpose of this document is to remind

1 2 : 2 5 : 3 9   13     employees and memorialize that it was communicated to

1 2 : 2 5 : 4 2   14     those employees that ongoing obligation for the

1 2 : 2 5 : 4 4   15     confidentiality of information to Qorvo.

1 2 : 2 5 : 5 0   16                   MR. NAQVI:   Your Honor, may I approach the

1 2 : 2 5 : 5 1   17     witness?

1 2 : 2 5 : 5 3   18                   THE COURT:   You may.

1 2 : 2 6 : 0 7   19     BY MR. NAQVI:

1 2 : 2 6 : 1 3   20     Q.    Mr. Boyd, I've handed you what's been marked as

1 2 : 2 6 : 1 5   21     PTX-1770.     Do you recognize this document?

1 2 : 2 6 : 1 9   22     A.    I do.

1 2 : 2 6 : 2 0   23     Q.    What is it?

1 2 : 2 6 : 2 1   24     A.    This is Qorvo's Acceptable Use of Information Systems

1 2 : 2 6 : 2 4   25     Policy.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1487PageID
                                                                           Page 1163 of 2283
                                                      #: 41134
                                                    Boyd   - Direct

1 2 : 2 6 : 2 5   1      Q.    What is the date on this document?

1 2 : 2 6 : 2 8   2      A.    The date of this version is September 8 of 2020.

1 2 : 2 6 : 3 3   3      Q.    Can you please briefly describe to the jury the

1 2 : 2 6 : 3 5   4      purpose of this document?

1 2 : 2 6 : 3 6   5      A.    So this is a single policy that applies to all

1 2 : 2 6 : 4 0   6      employees at Qorvo around a broad range of uses of

1 2 : 2 6 : 4 4   7      information systems and data.       It's basically intended to

1 2 : 2 6 : 4 8   8      outline for all employees a whole host of things that are

1 2 : 2 6 : 5 2   9      their responsibility to, again, ensure those three areas

1 2 : 2 6 : 5 5   10     of information security around confidentiality,

1 2 : 2 6 : 5 8   11     availability, and integrity of systems and data.

1 2 : 2 7 : 0 1   12     Q.    And are you familiar with this policy?

1 2 : 2 7 : 0 4   13     A.    I am.

1 2 : 2 7 : 0 5   14     Q.    How?

1 2 : 2 7 : 0 5   15     A.    I'm responsible -- directly responsible for managing

1 2 : 2 7 : 0 8   16     this policy and distributing it.

1 2 : 2 7 : 1 0   17     Q.    Are Qorvo employees required to review this policy?

1 2 : 2 7 : 1 4   18     A.    Yes.    Upon hiring, like the Code of Business Conduct

1 2 : 2 7 : 1 7   19     and Ethics, all employees are required to read this and

1 2 : 2 7 : 2 0   20     attest that they understand and agree to follow it.

1 2 : 2 7 : 2 3   21           And then at least every year thereafter, they have to

1 2 : 2 7 : 2 5   22     do the same.      It might be more frequently if there are

1 2 : 2 7 : 2 9   23     changes made to it.

1 2 : 2 7 : 3 0   24                   MR. NAQVI:   Your Honor, I move into evidence

1 2 : 2 7 : 3 1   25     PTX-1770.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1488PageID
                                                                           Page 1164 of 2283
                                                      #: 41135
                                                    Boyd   - Direct

1 2 : 2 7 : 3 4   1                   THE COURT:    Marked and received as 233.

1 2 : 2 7 : 3 8   2                   (Trial Exhibit No. 233 was admitted into

1 2 : 2 7 : 3 8   3      evidence.)

1 2 : 2 7 : 3 9   4                   MR. NAQVI:    Mr. Faison, if we can please

1 2 : 2 7 : 4 3   5      briefly display that for the jury.

1 2 : 2 7 : 4 7   6      BY MR. NAQVI:

1 2 : 2 7 : 4 7   7      Q.    And, Mr. Boyd, does this policy describe acceptable

1 2 : 2 7 : 5 0   8      use of -- well, why don't you first describe for the jury,

1 2 : 2 7 : 5 3   9      what are information systems?

1 2 : 2 7 : 5 6   10     A.    So information systems is a broad category of

1 2 : 2 8 : 0 0   11     anything electronic that's involved with computers,

1 2 : 2 8 : 0 3   12     networks, file servers, firewalls, portable devices, a

1 2 : 2 8 : 0 8   13     smartphone, a laptop.      It's a broad term to capture

1 2 : 2 8 : 1 2   14     basically kind of all information technology.

1 2 : 2 8 : 1 4   15     Q.    And does this policy outline acceptable uses of

1 2 : 2 8 : 1 8   16     Qorvo's information systems?

1 2 : 2 8 : 1 9   17     A.    It does.

1 2 : 2 8 : 2 0   18     Q.    Thank you.

1 2 : 2 8 : 2 4   19           Mr. Boyd, I'd now like to discuss third parties.          Did

1 2 : 2 8 : 2 6   20     the code of conduct that we looked at earlier require the

1 2 : 2 8 : 2 9   21     use of nondisclosure agreements when sharing confidential

1 2 : 2 8 : 3 4   22     information with third parties?

1 2 : 2 8 : 3 5   23     A.    It did, yes.

1 2 : 2 8 : 3 7   24                  MR. NAQVI:    Your Honor, may I approach the

1 2 : 2 8 : 3 8   25     witness?
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1489PageID
                                                                           Page 1165 of 2283
                                                      #: 41136
                                                    Boyd   - Direct

1 2 : 2 8 : 3 8   1                    THE COURT:   You may.

1 2 : 2 8 : 5 9   2      BY MR. NAQVI:

1 2 : 2 9 : 0 1   3      Q.    Mr. Boyd, I've handed you what's been marked as

1 2 : 2 9 : 0 3   4      PTX-1556.     What is this document?

1 2 : 2 9 : 0 7   5      A.    This is Qorvo's Mutual Nondisclosure Agreement.

1 2 : 2 9 : 1 0   6      Q.    And are you familiar with Qorvo's Mutual

1 2 : 2 9 : 1 3   7      Nondisclosure Agreement?

1 2 : 2 9 : 1 4   8      A.    Yes, I am.

1 2 : 2 9 : 1 5   9      Q.    Is PTX-1556 Qorvo's template NDA?

1 2 : 2 9 : 1 9   10     A.    Yes, it is.

1 2 : 2 9 : 1 9   11     Q.    And in connection with your job responsibilities at

1 2 : 2 9 : 2 2   12     Qorvo, do you review Qorvo's template NDA?

1 2 : 2 9 : 2 5   13     A.    Yes, I do.

1 2 : 2 9 : 2 6   14                   MR. NAQVI:   Your Honor, I move into evidence

1 2 : 2 9 : 2 8   15     PTX-1556.

1 2 : 2 9 : 3 0   16                   THE COURT:   Marked and received at 234.

1 2 : 2 9 : 3 4   17                   (Trial Exhibit No. 234 was admitted into

1 2 : 2 9 : 3 4   18     evidence.)

1 2 : 2 9 : 3 5   19                   MR. NAQVI:   Mr. Faison, if we can please

1 2 : 2 9 : 3 8   20     display for the jury.      Thank you.

1 2 : 2 9 : 4 0   21     BY MR. NAQVI:

1 2 : 2 9 : 4 0   22     Q.    Mr. Boyd, can you please briefly describe for the

1 2 : 2 9 : 4 1   23     jury what Qorvo's template NDA requires in terms of

1 2 : 2 9 : 4 5   24     disclosure or use of confidential information?

1 2 : 2 9 : 4 9   25     A.    Sure.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1490PageID
                                                                           Page 1166 of 2283
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                                                    Boyd   - Direct

1 2 : 2 9 : 4 9   1            So, basically, what this document does is it

1 2 : 2 9 : 5 2   2      establishes between Qorvo and a third party, which in a

1 2 : 2 9 : 5 5   3      lot of instances is a customer, understanding that we're

1 2 : 2 9 : 5 9   4      going to have to share back and forth very sensitive trade

1 2 : 3 0 : 0 2   5      secret intellectual property around our customers'

1 2 : 3 0 : 0 5   6      products and our products to make sure they work together.

1 2 : 3 0 : 0 7   7            So this establishes an agreement between both of us

1 2 : 3 0 : 1 1   8      that we will treat our customer's confidential information

1 2 : 3 0 : 1 5   9      as we would our own, and our customer will treat our

1 2 : 3 0 : 1 8   10     confidential information as they would their own.

1 2 : 3 0 : 2 2   11           In addition to that, and very importantly, it

1 2 : 3 0 : 2 4   12     establishes very specific ways in which our confidential

1 2 : 3 0 : 2 6   13     information can be used by our customer.          It doesn't give

1 2 : 3 0 : 2 9   14     them the latitude to do whatever they want with it.           It's

1 2 : 3 0 : 3 2   15     very constrained by the scope of this agreement.

1 2 : 3 0 : 3 7   16     Q.    Mr. Boyd, I'd now like to turn to labeling documents.

1 2 : 3 0 : 3 9   17     So does Qorvo have any practices and procedures related to

1 2 : 3 0 : 4 3   18     labeling confidential documents?

1 2 : 3 0 : 4 5   19     A.    We do.

1 2 : 3 0 : 4 6   20     Q.    Can you please describe those for the jury.

1 2 : 3 0 : 4 8   21     A.    So the long-standing practice of labeling documents,

1 2 : 3 0 : 5 1   22     sensitive documents at Qorvo, is to use a combination of

1 2 : 3 0 : 5 5   23     terms, "Qorvo confidential" and/or "propriety information"

1 2 : 3 0 : 5 9   24     on any sensitive documents.

1 2 : 3 1 : 0 1   25     Q.    And where would those types of labels be found on
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1 2 : 3 1 : 0 4   1      documents?

1 2 : 3 1 : 0 5   2      A.    So it might vary by type of document, but typically

1 2 : 3 1 : 0 9   3      it would be either in the header at the very top of the

1 2 : 3 1 : 1 2   4      document, the footer at the bottom.        Might show up in a

1 2 : 3 1 : 1 5   5      legend, or it might be watermarked across the document,

1 2 : 3 1 : 1 8   6      sort of in shaded text.

1 2 : 3 1 : 2 0   7      Q.    And has this manner of labeling documents been

1 2 : 3 1 : 2 4   8      consistently used by Qorvo since 2015?

1 2 : 3 1 : 2 6   9      A.    Yes, it has.

1 2 : 3 1 : 2 7   10     Q.    How do you know that?

1 2 : 3 1 : 2 8   11     A.    Again, in the course of my job, I get involved in

1 2 : 3 1 : 3 1   12     investigations and incident response, some of those things

1 2 : 3 1 : 3 5   13     involve agreements and contracts and documents that

1 2 : 3 1 : 3 8   14     predate my arrival in 2021; some of them predate formation

1 2 : 3 1 : 4 4   15     of Qorvo in 2015 as well.       And the confidential and

1 2 : 3 1 : 4 7   16     propriety labeling has been universal on those documents

1 2 : 3 1 : 5 1   17     when they are sensitive.

1 2 : 3 1 : 5 2   18     Q.    Mr. Boyd, finally, I'd like to discuss information

1 2 : 3 1 : 5 5   19     systems security.      Does Qorvo have any policies or

1 2 : 3 1 : 5 8   20     practices related to passwords or encryption?

1 2 : 3 2 : 0 0   21     A.    Yes, we absolutely do.

1 2 : 3 2 : 0 1   22     Q.    Can you please describe those for the jury?

1 2 : 3 2 : 0 4   23     A.    So generally speaking, at a minimum, to get into

1 2 : 3 2 : 0 6   24     systems that access sensitive Qorvo information, employees

1 2 : 3 2 : 1 1   25     have to use a Qorvo account that includes a user name, and
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1 2 : 3 2 : 1 5   1      a password at a minimum to access those systems.

1 2 : 3 2 : 1 8   2      Q.    Does Qorvo have any policies and procedures related

1 2 : 3 2 : 2 0   3      to use of mobile devices?

1 2 : 3 2 : 2 2   4      A.    We absolutely do.     Similarly, if, in using mobile

1 2 : 3 2 : 2 6   5      devices, which could be anything from a laptop to a

1 2 : 3 2 : 2 9   6      smartphone to a tablet, there are lots of types of mobile

1 2 : 3 2 : 3 2   7      devices, to access Qorvo information systems, it has to be

1 2 : 3 2 : 3 7   8      managed by Qorvo, again, has to use that account user name

1 2 : 3 2 : 4 2   9      and password, and Qorvo has to have the ability to have

1 2 : 3 2 : 4 5   10     positive control over that data as you access it.

1 2 : 3 2 : 4 9   11     Q.    Does Qorvo have any software that relates to

1 2 : 3 2 : 5 2   12     information systems security?

1 2 : 3 2 : 5 3   13     A.    Again, in that budget, that seven and a half million

1 2 : 3 2 : 5 6   14     dollar budget I discussed, there's a lot of software and

1 2 : 3 2 : 5 9   15     systems that involve information security.

1 2 : 3 3 : 0 2   16     Q.    Can you please briefly describe those for the jury?

1 2 : 3 3 : 0 4   17     A.    Sure.   We have preventative controls to prevent bad

1 2 : 3 3 : 0 9   18     things from happening, things like viruses, bad actors on

1 2 : 3 3 : 1 3   19     the Internet to get into our network.         So we use fire

1 2 : 3 3 : 1 7   20     walls, antivirus.      We use detection and monitoring systems

1 2 : 3 3 : 2 0   21     to look at the network traffic that's occurring.           We

1 2 : 3 3 : 2 3   22     monitor file accesses, and then we have things, as I

1 2 : 3 3 : 2 6   23     mentioned, passwords so you get authenticated when you

1 2 : 3 3 : 3 0   24     login to a system.

1 2 : 3 3 : 3 1   25     Q.    Mr. Boyd, does Qorvo have any systems or software --
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1 2 : 3 3 : 3 4   1      I'm sorry.

1 2 : 3 3 : 3 5   2            Does Qorvo have any monitoring system controls?

1 2 : 3 3 : 3 8   3      A.    We do.      Extensive monitoring controls.      As it relates

1 2 : 3 3 : 4 2   4      to this matter, probably the most relevant is what's known

1 2 : 3 3 : 4 7   5      as a data loss prevention solution, which sits on a

1 2 : 3 3 : 5 0   6      computer and monitors how users are interacting with files

1 2 : 3 3 : 5 5   7      and data and what those files and data are.

1 2 : 3 3 : 5 7   8      Q.    What's the name of that data loss prevention tool

1 2 : 3 4 : 0 0   9      that you are describing?

1 2 : 3 4 : 0 1   10     A.    The one we're currently using is known as Digital

1 2 : 3 4 : 0 4   11     Guardian.

1 2 : 3 4 : 0 4   12     Q.    And when did that get implemented at Qorvo?

1 2 : 3 4 : 0 7   13     A.    That was implemented in the 2018 to 2019 time frame.

1 2 : 3 4 : 1 1   14     Q.    Can you give the jury an example of one mechanism or

1 2 : 3 4 : 1 4   15     way that Digital Guardian works?

1 2 : 3 4 : 1 6   16     A.    So one of the things that we have Digital Guardian

1 2 : 3 4 : 1 9   17     set to do is block certain types of file activity, in

1 2 : 3 4 : 2 4   18     particular, the use of external storage, USB devices,

1 2 : 3 4 : 2 7   19     thumb drives, and CDs, those types of things.           In the

1 2 : 3 4 : 3 2   20     current environment we operate in, we don't want to allow

1 2 : 3 4 : 3 5   21     data to flow to those kinds of media drives because it

1 2 : 3 4 : 3 9   22     could go anywhere and we would lose control over them, so

1 2 : 3 4 : 4 2   23     we restrict that.

1 2 : 3 4 : 4 4   24     Q.    And before Digital Guardian was implemented at Qorvo

1 2 : 3 4 : 4 6   25     in 2018 or 2019, was Qorvo using a different monitoring
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1 2 : 3 4 : 5 0   1      service?

1 2 : 3 4 : 5 0   2      A.     Qorvo was using a tool called Symantic Data Loss

1 2 : 3 4 : 5 4   3      Prevention.       It's a competitor to Digital Guardian, but

1 2 : 3 4 : 5 7   4      similar capabilities.

1 2 : 3 4 : 5 9   5      Q.     Thank you, Mr. Boyd?

1 2 : 3 5 : 0 0   6                   MR. NAQVI:     No further questions.        Pass the

1 2 : 3 5 : 0 2   7      witness.

1 2 : 3 5 : 0 2   8                   THE COURT:     Cross-examination.

1 2 : 3 5 : 0 3   9

1 2 : 3 5 : 0 3   10                              CROSS EXAMINATION

1 2 : 3 5 : 1 8   11     BY MS. HARRIS:

1 2 : 3 5 : 1 8   12     Q.     My name Rachael Harris, Mr. Boyd.           I am one of the

1 2 : 3 5 : 2 1   13     attorneys for the defendant, Akoustis.             It's nice to meet

1 2 : 3 5 : 2 4   14     you.

1 2 : 3 5 : 2 6   15            Just to start, you mentioned that prior to 2018,

1 2 : 3 5 : 3 0   16     Qorvo was using Symantic as a tool?

1 2 : 3 5 : 3 4   17     A.     Correct.

1 2 : 3 5 : 3 5   18     Q.     And Symantic didn't block the data transfers that you

1 2 : 3 5 : 3 8   19     just speaking about before 2018; is that correct?

1 2 : 3 5 : 4 2   20     A.     I'm sorry, it didn't?

1 2 : 3 5 : 4 4   21     Q.     You were speaking about blocking --

1 2 : 3 5 : 4 6   22     A.     Oh, yes.

1 2 : 3 5 : 4 7   23     Q.     -- data transfers, and I was asking if, before 2018

1 2 : 3 5 : 4 9   24     when you were using Symantic, it wasn't blocking those

1 2 : 3 5 : 5 3   25     transfers; that's correct?
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1 2 : 3 5 : 5 5   1      A.    Correct.    I don't believe Symantic was blocking

1 2 : 3 5 : 5 7   2      those.

1 2 : 3 5 : 5 8   3      Q.    Okay.   And I think you mentioned early on in your

1 2 : 3 6 : 0 2   4      testimony that all employees at Qorvo have the

1 2 : 3 6 : 0 6   5      responsibility of information security; is that correct?

1 2 : 3 6 : 0 9   6      A.    That is correct.

1 2 : 3 6 : 1 0   7      Q.    And that's because humans have to implement policies;

1 2 : 3 6 : 1 3   8      is that at least part of the reason?

1 2 : 3 6 : 1 7   9      A.    Correct.    Humans have to follow those policies.

1 2 : 3 6 : 1 9   10     Q.    They have to understand the policies in order to

1 2 : 3 6 : 2 3   11     implement them correctly; is that fair to say?

1 2 : 3 6 : 2 6   12     A.    There are portions of those responsibilities,

1 2 : 3 6 : 2 7   13     absolutely.

1 2 : 3 6 : 2 8   14     Q.    And are you familiar with the term "administrative

1 2 : 3 6 : 3 2   15     vulnerability"?

1 2 : 3 6 : 3 4   16     A.    Yes, I am.

1 2 : 3 6 : 3 5   17     Q.    And is the -- is administrative vulnerability

1 2 : 3 6 : 3 9   18     something similar to what you're talking about, it's the

1 2 : 3 6 : 4 0   19     human side of how the systems are managed; is that

1 2 : 3 6 : 4 3   20     correct?

1 2 : 3 6 : 4 6   21     A.    Human factors would be one type of administrative

1 2 : 3 6 : 5 1   22     vulnerability, yes.

1 2 : 3 6 : 5 2   23     Q.    Sure.   Thank you.

1 2 : 3 6 : 5 3   24           You joined Qorvo in April 2021; is that right?

1 2 : 3 6 : 5 7   25     A.    Correct.
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1 2 : 3 6 : 5 7   1      Q.    And you testified, I believe, on direct testimony,

1 2 : 3 7 : 0 1   2      that you are familiar with Qorvo's current policies and

1 2 : 3 7 : 0 6   3      the prior versions of the current policies; is that

1 2 : 3 7 : 0 8   4      correct?

1 2 : 3 7 : 0 9   5      A.    That is correct.

1 2 : 3 7 : 1 1   6      Q.    But you don't have personal knowledge of historical

1 2 : 3 7 : 1 4   7      Qorvo policies, meaning -- and procedures, meaning

1 2 : 3 7 : 1 7   8      policies that may have been in existence at Qorvo in 2015,

1 2 : 3 7 : 2 2   9      2016, 2017, but were no longer in place when you arrived

1 2 : 3 7 : 2 6   10     at Qorvo; is that correct?

1 2 : 3 7 : 2 9   11     A.    So I've seen some, so I'm familiar with some of them,

1 2 : 3 7 : 3 4   12     but if they are not currently in effect, I haven't gone

1 2 : 3 7 : 3 8   13     back and looked at revisions of those.

1 2 : 3 7 : 4 0   14     Q.    You haven't done an investigation of old historical

1 2 : 3 7 : 4 1   15     policies that are no longer in place?

1 2 : 3 7 : 4 4   16     A.    No.

1 2 : 3 7 : 4 5   17     Q.    I believe we looked at a couple confidentiality

1 2 : 3 7 : 4 8   18     agreements.

1 2 : 3 7 : 4 9   19                  MS. HARRIS:    Can we see PTX-647, and that's

1 2 : 3 7 : 5 3   20     Trial Exhibit 214.

1 2 : 3 8 : 0 1   21     BY MS. HARRIS:

1 2 : 3 8 : 0 1   22     Q.    You testified --

1 2 : 3 8 : 0 2   23                  MS. HARRIS:    Can we look at the second page,

1 2 : 3 8 : 0 3   24     please.

                  25
                  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24                 1497PageID
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1 2 : 3 8 : 0 6   1      BY MS. HARRIS:

1 2 : 3 8 : 0 6   2      Q.    You testified that this agreement was signed in 2012;

1 2 : 3 8 : 1 0   3      is that correct?

1 2 : 3 8 : 1 1   4      A.    Correct.

1 2 : 3 8 : 1 2   5      Q.    And this is the TriQuint agreement?

1 2 : 3 8 : 1 5   6      A.    Yes.

1 2 : 3 8 : 1 5   7      Q.    You didn't work at TriQuint in 2012?

1 2 : 3 8 : 1 8   8      A.    I did not work at TriQuint in 2012.

1 2 : 3 8 : 2 2   9      Q.    And this agreement, there is nowhere in this

1 2 : 3 8 : 2 3   10     agreement that references any of the specific security or

1 2 : 3 8 : 2 7   11     information security policies that you've talk about

1 2 : 3 8 : 3 0   12     today, is there?

1 2 : 3 8 : 3 5   13     A.    That's correct.

1 2 : 3 8 : 3 7   14     Q.    And you don't have any personal knowledge of any of

1 2 : 3 8 : 4 0   15     those information security policies that may have been

1 2 : 3 8 : 4 3   16     TriQuint to the extent they were no longer at Qorvo when

1 2 : 3 8 : 4 5   17     you arrived?

1 2 : 3 8 : 4 7   18     A.    Correct.

1 2 : 3 8 : 4 9   19     Q.    Thank you.

1 2 : 3 8 : 5 0   20           Let's look at one other agreement.           PTX-6 -- I'm

1 2 : 3 8 : 5 4   21     sorry, 760.       It's Trial Exhibit 204.

1 2 : 3 9 : 0 3   22     BY MS. HARRIS:

1 2 : 3 9 : 0 3   23     Q.    This is an agreement from 2001 from RFMD; is that

1 2 : 3 9 : 0 8   24     correct?

1 2 : 3 9 : 0 9   25     A.    That's correct.
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1 2 : 3 9 : 1 1   1      Q.    And you didn't work at RFMD in 2001?

1 2 : 3 9 : 1 7   2      A.    That is correct; I did not.

1 2 : 3 9 : 1 9   3      Q.    Do you have the document in front of you, Mr. Boyd?

1 2 : 3 9 : 2 1   4      A.    I do.

1 2 : 3 9 : 2 2   5      Q.    Okay.   And, again, in Paragraphs 1 of this agreement,

1 2 : 3 9 : 2 6   6      in the subparagraphs, there are no specific information

1 2 : 3 9 : 3 2   7      security policies discussed; is that correct?

1 2 : 3 9 : 3 6   8      A.    In Paragraph 1?

1 2 : 3 9 : 3 9   9      Q.    Yes.

1 2 : 3 9 : 4 7   10     A.    That appears to be correct, no direct reference to a

1 2 : 3 9 : 5 0   11     policy.

1 2 : 3 9 : 5 1   12     Q.    And you don't have any personal knowledge of

1 2 : 3 9 : 5 3   13     information security policies that RFMD had historically

1 2 : 3 9 : 5 7   14     to the extent they were not also in place at Qorvo when

1 2 : 4 0 : 0 0   15     you arrived in 2021; is that also correct?

1 2 : 4 0 : 0 3   16     A.    Correct.

1 2 : 4 0 : 0 5   17                   MS. HARRIS:   You can take that down.

1 2 : 4 0 : 0 8   18     BY MS. HARRIS:

1 2 : 4 0 : 0 8   19     Q.    Mr. Boyd, I'd like to ask you some questions about

1 2 : 4 0 : 1 0   20     the Acceptable Use Policy.

1 2 : 4 0 : 1 3   21                   MS. HARRIS:   That was PTX-1770.      And it's now

1 2 : 4 0 : 1 7   22     Trial Exhibit 233.      Can we turn to the last page of this

1 2 : 4 0 : 2 8   23     document.

1 2 : 4 0 : 3 0   24     BY MS. HARRIS:

1 2 : 4 0 : 3 0   25     Q.    Mr. Boyd, you testified that this version is from
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1 2 : 4 0 : 3 4   1      September 8, 2020; is that correct?

1 2 : 4 0 : 3 7   2      A.    Correct.

1 2 : 4 0 : 3 8   3      Q.    And the initial release, the first release of this

1 2 : 4 0 : 4 1   4      policy was March 21, 2019; is that also correct?

1 2 : 4 0 : 4 7   5      A.    That is correct.

1 2 : 4 0 : 4 7   6      Q.    And you are not aware of an earlier version of this

1 2 : 4 0 : 5 0   7      formal written policy; is that also correct?

1 2 : 4 0 : 5 4   8      A.    Not this policy, not this Acceptable Use Policy, not

1 2 : 4 1 : 0 1   9      this specific named policy.

1 2 : 4 1 : 0 3   10                  MS. HARRIS:    Let's go back to Page 1.

1 2 : 4 1 : 0 6   11     BY MS. HARRIS:

1 2 : 4 1 : 0 6   12     Q.    In the third bullet point down, do you see where

1 2 : 4 1 : 1 0   13     it's -- this is a policy statement that "Management must

1 2 : 4 1 : 1 4   14     ensure that," and the third bullet point down is "All

1 2 : 4 1 : 1 7   15     information system use complies with applicable Qorvo

1 2 : 4 1 : 2 0   16     policies."

1 2 : 4 1 : 2 4   17           Some of these other policies that this is

1 2 : 4 1 : 2 6   18     referencing, those would be, at least some of them,

1 2 : 4 1 : 2 8   19     information security policies?

1 2 : 4 1 : 3 0   20     A.    Yes.

1 2 : 4 1 : 3 2   21                  MS. HARRIS:    Can we turn to Page 4, please.

1 2 : 4 1 : 3 4   22     BY MS. HARRIS:

1 2 : 4 1 : 3 7   23     Q.    Do you see in Paragraphs 5 and 6, where this is

1 2 : 4 1 : 4 2   24     discussing "protection of intellectual property labeling

1 2 : 4 1 : 4 5   25     of sensitive information"?
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1 2 : 4 1 : 4 8   1      A.    Yes.

1 2 : 4 1 : 4 9   2      Q.    And Paragraph 6 requires users to label sensitive

1 2 : 4 1 : 5 3   3      information; is that right?

1 2 : 4 1 : 5 4   4      A.    Yes.

1 2 : 4 1 : 5 8   5      Q.    And that's because the sensitivity -- we label

1 2 : 4 2 : 0 0   6      documents -- Qorvo is labeling documents or has a

1 2 : 4 2 : 0 6   7      procedure for labeling documents because the sensitivity

1 2 : 4 2 : 0 9   8      of the data determines who should have physical or

1 2 : 4 2 : 1 1   9      electronic access to the system containing the data.

1 2 : 4 2 : 1 6   10           And then do you see where it says, "See data

1 2 : 4 2 : 1 9   11     classification policy"?

1 2 : 4 2 : 2 1   12     A.    Yes, I do.

1 2 : 4 2 : 2 4   13     Q.    Are you familiar with Qorvo's data classification

1 2 : 4 2 : 2 7   14     policy?

1 2 : 4 2 : 2 8   15     A.    Yes, I am.

1 2 : 4 2 : 3 0   16     Q.    And what is that, generally?

1 2 : 4 2 : 3 3   17     A.    Generally, Qorvo's data classification policy guides

1 2 : 4 2 : 3 8   18     users to assess the sensitivity of data and the

1 2 : 4 2 : 4 3   19     criticality of data.      And if it is confidential and

1 2 : 4 2 : 4 6   20     proprietary information, to ensure that that label appears

1 2 : 4 2 : 5 1   21     on data as it's able to be affixed to that type of data

1 2 : 4 2 : 5 7   22     document, and then it further gives them instructions on

1 2 : 4 3 : 0 2   23     an internal level of sensitivity that we use at Qorvo to

1 2 : 4 3 : 0 7   24     give a little bit more context to why the information

1 2 : 4 3 : 1 0   25     might be confidential or proprietary.
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1 2 : 4 3 : 1 3   1      Q.    And are you aware that that data classification

1 2 : 4 3 : 1 7   2      document was also first initially released in March 2019?

1 2 : 4 3 : 2 4   3      A.    Yes.    I mean, I'd have to look at the revision

1 2 : 4 3 : 2 6   4      schedule, but it shows when it was released.

1 2 : 4 3 : 2 9   5      Q.    Okay.    And in Qorvo's current data classification

1 2 : 4 3 : 3 3   6      policy that's referenced in this Acceptable Use Policy,

1 2 : 4 3 : 3 5   7      there's four classifications of documents, sensitive

1 2 : 4 3 : 3 8   8      documents, that can be critical, sensitive, private, or

1 2 : 4 3 : 4 2   9      unrestricted?     Those are the labels in the current policy?

1 2 : 4 3 : 4 7   10     A.    That is correct.

1 2 : 4 3 : 4 9   11     Q.    Is it also correct that select trade secrets would be

1 2 : 4 3 : 5 2   12     labeled "critical" under that current policy referenced

1 2 : 4 3 : 5 4   13     here?

1 2 : 4 3 : 5 7   14     A.    It -- sorry.     Can you repeat that.

1 2 : 4 4 : 0 0   15     Q.    Is it true that select trade secrets, so some trade

1 2 : 4 4 : 0 4   16     secrets would be labeled "critical" under this data

1 2 : 4 4 : 0 6   17     classification policy?

1 2 : 4 4 : 0 8   18     A.    Yes, that they -- yes, could be.

1 2 : 4 4 : 1 2   19     Q.    And part of the data classification policy, is there

1 2 : 4 4 : 1 5   20     a default label for documents and e-mails under that

1 2 : 4 4 : 1 9   21     policy?

1 2 : 4 4 : 2 3   22     A.    I don't believe the policy establishes a default.

1 2 : 4 4 : 2 8   23     But, in practice, a lot of systems do default to a label.

1 2 : 4 4 : 3 6   24     Q.    Fair to say it's a procedure or a standard practice

1 2 : 4 4 : 3 8   25     that there's a default?
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1 2 : 4 4 : 4 0   1      A.    Yes.

1 2 : 4 4 : 4 1   2      Q.    And is the standard practice or procedure to have

1 2 : 4 4 : 4 6   3      that default label to be "private"?         Is that correct?

1 2 : 4 4 : 5 1   4      A.    Yes.   In some systems, "private" is the default.

1 2 : 4 4 : 5 4   5      Q.    And just so we're all clear, does default mean that

1 2 : 4 4 : 5 9   6      that's the label or classification that's put on the

1 2 : 4 5 : 0 2   7      document unless the user changes it otherwise?

1 2 : 4 5 : 0 9   8      A.    Generally, yes.      If a default is set, unless somebody

1 2 : 4 5 : 1 2   9      takes action or a system takes action, the default will

1 2 : 4 5 : 1 5   10     stay.

1 2 : 4 5 : 1 6   11     Q.    And so a default document may be an e-mail home -- or

1 2 : 4 5 : 2 3   12     a default private document may be an e-mail home that says

1 2 : 4 5 : 2 6   13     "I'm going to be late for dinner."         Is that possible?

1 2 : 4 5 : 3 2   14     A.    Well, it could be.       I mean, ideally, if I'm sending,

1 2 : 4 5 : 3 7   15     for example, an e-mail like that, that's not particularly

1 2 : 4 5 : 4 2   16     sensitive, we allow that kind of incidental personal use

1 2 : 4 5 : 4 6   17     of systems.       So I could remove the "private" and say it's

1 2 : 4 5 : 5 2   18     "unrestricted."       But we picked that default because, I

1 2 : 4 5 : 5 8   19     mean, information security officer, I will err on the side

1 2 : 4 6 : 0 2   20     of that.     There's no harm, no foul if it gets is marked as

1 2 : 4 6 : 0 5   21     "private" and it isn't.

1 2 : 4 6 : 0 7   22           There's much more harm and foul if it is truly

1 2 : 4 6 : 0 9   23     confidential and proprietary and it doesn't get marked

1 2 : 4 6 : 1 2   24     that way.     So we'd err on that side for sure.

1 2 : 4 6 : 1 4   25     Q.    But the default isn't going to be there --
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1 2 : 4 6 : 1 6   1                   THE COURT:     We are at a time to take our lunch

1 2 : 4 6 : 1 8   2      break.    If you only have a couple more questions, maybe we

1 2 : 4 6 : 2 1   3      can conclude.

1 2 : 4 6 : 2 2   4                   MS. HARRIS:     I probably have five more minutes,

1 2 : 4 6 : 2 4   5      Your Honor.

1 2 : 4 6 : 2 4   6                   THE COURT:     Okay.   We're going to take our

1 2 : 4 6 : 2 6   7      lunch break at this time.        Don't discuss the case among

1 2 : 4 6 : 2 9   8      yourselves.       Don't let anybody talk with you.

1 2 : 4 6 : 3 1   9                   This will be a 45-minute lunch break.          We will

1 2 : 4 6 : 3 4   10     see you at 1:30.       I will check on the status in terms of

1 2 : 4 6 : 3 8   11     progress.    We'll see you at 1:30.       Thank you very much.

1 2 : 4 6 : 4 5   12     Keep an open mind.

1 2 : 4 6 : 4 9   13           (The jury exits the courtroom at 12:46 p.m.)

1 2 : 4 7 : 0 7   14                  THE COURT:     Everybody be seated.      Of course,

1 2 : 4 7 : 0 9   15     the witness step down.       You cannot discuss with anyone the

1 2 : 4 7 : 1 3   16     testimony you've already given.         If there's something that

1 2 : 4 7 : 1 7   17     will come up later, that is something you can discuss, but

1 2 : 4 7 : 1 9   18     try not to talk to anybody about it.

1 2 : 4 7 : 2 1   19                  We will let you be excused at this time.          We

1 2 : 4 7 : 2 4   20     will see you at about 1:25.         Thanks very much.

1 2 : 4 7 : 2 8   21                  THE WITNESS:      Thank you, Your Honor.

1 2 : 4 7 : 2 9   22                  THE COURT:     Thank you.    Let's check and see how

1 2 : 4 7 : 3 2   23     we're doing.       I think we're -- Mr. Masters?

1 2 : 4 7 : 3 7   24                  MR. MASTERS:      I think we're doing fairly well,

1 2 : 4 7 : 4 1   25     Your Honor.       This witness is just about completed, it
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1 2 : 4 7 : 4 4   1      sounds like, and then we'll go to Mr. Robinson, Cuyler

1 2 : 4 7 : 4 8   2      Robinson, who is an expert on security measures as well.

1 2 : 4 7 : 5 3   3      And then Dr. Heinrich will be a fairly short examination

1 2 : 4 7 : 5 6   4      on our part.      Dr. Bravman, maybe 50 minutes.

1 2 : 4 8 : 0 2   5                   THE COURT:    Okay.

1 2 : 4 8 : 0 4   6                   MR. MASTERS:     And then Ms. Bennis is our last

1 2 : 4 8 : 0 6   7      witness.

1 2 : 4 8 : 1 1   8                   THE COURT:    We will start Ms. Bennis, and we

1 2 : 4 8 : 1 2   9      may not finish that, but may.

1 2 : 4 8 : 1 6   10                  MR. MASTERS:     May not finish that, but may not

1 2 : 4 8 : 1 8   11     finish cross either of Ms. Bennis.        But it would be great

1 2 : 4 8 : 2 1   12     if we could.

1 2 : 4 8 : 2 2   13                  THE COURT:    That means we'll continue to try to

1 2 : 4 8 : 2 4   14     keep our schedule.      In terms of any motions from the

1 2 : 4 8 : 2 9   15     defense in that matter, I think it will be appropriate, it

1 2 : 4 8 : 3 2   16     will be a time-saver.      And it appears to be as much time

1 2 : 4 8 : 3 9   17     as the Court does to take a good look at materials that

1 2 : 4 8 : 4 1   18     may be submitted by the defense in motion practice at the

1 2 : 4 8 : 4 6   19     close of the plaintiff's proof.        So that will continue to

1 2 : 4 8 : 4 8   20     be our schedule in the case.

1 2 : 4 8 : 5 0   21                  We will need to leave at somewhere between 5:00

1 2 : 4 8 : 5 3   22     and 5:05.    And I told the jury that, so I don't want to

1 2 : 4 8 : 5 7   23     say something contrary -- to do something contrary to what

1 2 : 4 9 : 0 0   24     we've indicated.      That is our situation.

1 2 : 4 9 : 0 3   25                  Anything else from anyone else at this time?          I
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1 2 : 4 9 : 0 6   1      see nothing, then, we will see everybody, of course, with

1 2 : 4 9 : 0 9   2      at least five minutes to spare.

1 3 : 0 0 : 5 0   3            (Whereupon, a recess was taken.)

1 3 : 2 6 : 2 4   4                   THE COURT:    You may be seated.      Have the

1 3 : 2 6 : 2 7   5      witness come back around.       If there's nothing else, we

1 3 : 2 6 : 4 1   6      will have the jury come in.

1 3 : 2 7 : 0 5   7                   Counsel, get set to go.

1 3 : 2 7 : 2 3   8            (The jury enters the courtroom at 1:27 p.m.)

1 3 : 2 7 : 5 5   9                   THE COURT:    Go ahead and be seated.      We are

1 3 : 2 7 : 5 6   10     still on schedule for today's end of day that we planned

1 3 : 2 7 : 5 9   11     on, so that's good to know that.

1 3 : 2 7 : 5 9   12                  Counsel, you may proceed.

1 3 : 2 8 : 0 0   13     BY MS. HARRIS:

1 3 : 2 8 : 0 1   14     Q.    Mr. Boyd, just a couple post-lunch questions for you.

1 3 : 2 8 : 0 3   15           Are you aware that Qorvo maintains a public website?

1 3 : 2 8 : 0 7   16     A.    Yes, I am.

1 3 : 2 8 : 0 8   17     Q.    And you're aware that Qorvo posts documents to that

1 3 : 2 8 : 1 2   18     public website, correct?

1 3 : 2 8 : 1 4   19     A.    Yes.

1 3 : 2 8 : 1 4   20     Q.    And those documents that are on the website, they are

1 3 : 2 8 : 1 7   21     available for the public to view?

1 3 : 2 8 : 1 9   22     A.    Yes, they are.

1 3 : 2 8 : 2 2   23     Q.    Mr. Boyd, are you aware that there have been

1 3 : 2 8 : 2 3   24     presentations labeled "Qorvo confidential and proprietary"

1 3 : 2 8 : 2 8   25     on Qorvo's public website?
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1 3 : 2 8 : 3 0   1      A.    Yes, I'm aware that there are.

1 3 : 2 8 : 3 2   2      Q.    And are you also aware that there are data sheets

1 3 : 2 8 : 3 5   3      labeled "preliminary" on Qorvo's public-facing website?

1 3 : 2 8 : 4 1   4      A.    I'm not personally aware of any data sheets that are

1 3 : 2 8 : 4 4   5      labeled as preliminary.

1 3 : 2 8 : 4 5   6      Q.    And are you aware that there are data sheets labeled

1 3 : 2 8 : 4 8   7      "private" on Qorvo's public website?

1 3 : 2 8 : 5 3   8      A.    I'm not personally aware of that label on there

1 3 : 2 8 : 5 6   9      either.

1 3 : 2 8 : 5 7   10     Q.    It's not Qorvo's policy to post confidential

1 3 : 2 8 : 5 9   11     information on its public website, is it?

1 3 : 2 9 : 0 6   12     A.    No.   It's Qorvo's policy on some occasions to post

1 3 : 2 9 : 1 1   13     information that at some point was confidential or

1 3 : 2 9 : 1 4   14     proprietary onto the website, so previously it may have

1 3 : 2 9 : 1 8   15     been, but when it's posted to the website would not be.

1 3 : 2 9 : 2 1   16     Q.    The documents that are on the website are not

1 3 : 2 9 : 2 3   17     confidential?

1 3 : 2 9 : 2 3   18     A.    They are not intended to be confidential -- they are

1 3 : 2 9 : 2 7   19     not intended to be confidential posted to the public

1 3 : 2 9 : 3 0   20     website, correct.

1 3 : 2 9 : 3 1   21     Q.    And you are not aware of the process of how those

1 3 : 2 9 : 3 4   22     documents are posted to Qorvo's website, that's not your

1 3 : 2 9 : 3 8   23     team, is it?

1 3 : 2 9 : 4 0   24     A.    I am aware of the process as you asked, yes, but it

1 3 : 2 9 : 4 4   25     is not my team that does the posting of those documents.
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1 3 : 2 9 : 4 7   1      Q.    And no one on your team is responsible for checking

1 3 : 2 9 : 5 2   2      the confidentiality designations on the public-facing

1 3 : 2 9 : 5 5   3      documents on that website?

1 3 : 3 0 : 0 1   4      A.    So as a routine course of business, no, my team isn't

1 3 : 3 0 : 0 5   5      the one that checks that.       But in the course of doing

1 3 : 3 0 : 0 7   6      security monitoring and testing, that might be part of

1 3 : 3 0 : 0 9   7      something we had a third party doing for us, looking at

1 3 : 3 0 : 1 4   8      things like.

1 3 : 3 0 : 1 6   9      Q.    Are you aware, Mr. Boyd, that Qorvo has undertaken

1 3 : 3 0 : 1 9   10     efforts over the past year to remove the labels of

1 3 : 3 0 : 2 2   11     "confidential" and "proprietary" on the presentations that

1 3 : 3 0 : 2 5   12     appear on Qorvo's website?

1 3 : 3 0 : 2 8   13     A.    I am not aware of that, no.

1 3 : 3 0 : 3 0   14     Q.    And you are aware that there are still documents

1 3 : 3 0 : 3 3   15     today on Qorvo's website labeled "confidential" and

1 3 : 3 0 : 3 6   16     "proprietary," are you aware of that?

1 3 : 3 0 : 3 9   17     A.    I am not aware of that, no.

1 3 : 3 0 : 4 1   18     Q.    So as the chief information security office, you are

1 3 : 3 0 : 4 4   19     not aware that on the public website there are documents

1 3 : 3 0 : 4 7   20     labeled "Qorvo confidential" and "proprietary"?

1 3 : 3 0 : 5 2   21     A.    I mean, I am aware that there have been.         I don't

1 3 : 3 0 : 5 4   22     know right now that there are.        But, again, some of those

1 3 : 3 0 : 5 7   23     documents would -- generally speaking, if it's on the

1 3 : 3 1 : 0 0   24     public website, and it was marked "confidential" and

1 3 : 3 1 : 0 3   25     "proprietary," and was not actually confidential and
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1 3 : 3 1 : 0 7   1      proprietary, it was intended to be posted there, that

1 3 : 3 1 : 1 2   2      would be less of a concern than if the opposite were true,

1 3 : 3 1 : 1 5   3      that something that was truly confidential and proprietary

1 3 : 3 1 : 1 9   4      accidentally got posted to the website.           Much of that

1 3 : 3 1 : 2 2   5      information starts and continues its life cycle as

1 3 : 3 1 : 2 7   6      confidential and proprietary intended for internal use,

1 3 : 3 1 : 3 1   7      and then if marketing and communications who publishes

1 3 : 3 1 : 3 4   8      that accidentally doesn't remove that, I think that's

1 3 : 3 1 : 3 9   9      reasonable risk management.       I prefer that.

1 3 : 3 1 : 4 3   10     Q.    Thank you, Mr. Boyd.

1 3 : 3 1 : 4 3   11                  MS. HARRIS:    No further questions, Your Honor.

1 3 : 3 1 : 4 8   12                  THE COURT:    Redirect.

1 3 : 3 1 : 5 0   13                  MR. NAQVI:    No further questions for this

1 3 : 3 1 : 5 1   14     witness, Your Honor.

1 3 : 3 1 : 5 2   15                  THE COURT:    All right.    We will let you step

1 3 : 3 1 : 5 4   16     down.   Thanks very much.

1 3 : 3 1 : 5 5   17                  And who will our next witness be?

1 3 : 3 1 : 5 9   18                  MR. NAQVI:    Plaintiff call Mr. Cuyler Robinson

1 3 : 3 2 : 0 4   19     to the stand.

1 3 : 3 2 : 1 9   20                  THE CLERK:    Please remain standing.       Please

1 3 : 3 2 : 2 0   21     spell your name for the record.

1 3 : 3 2 : 2 2   22                  THE WITNESS:     My name is Richard Cuyler

1 3 : 3 2 : 2 5   23     Robinson, R-I-C-H-A-R-D, C-U-Y-L-E-R, R-O-B-I-N-S-O-N.

1 3 : 3 2 : 3 4   24           R. CUYLER ROBINSON, having been called as a witness,

1 3 : 3 2 : 3 4   25     being first duly sworn under oath or affirmed, testified
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1 3 : 3 2 : 3 4   1      as follows:

1 3 : 3 2 : 3 4   2                   THE CLERK:    Thank you.    Please be seated.

1 3 : 3 2 : 5 1   3                   THE COURT:    You may be seated.

1 3 : 3 2 : 5 2   4                   Counsel, you may proceed.

1 3 : 3 2 : 5 4   5                              DIRECT EXAMINATION

1 3 : 3 2 : 5 4   6

1 3 : 3 2 : 5 5   7      BY MR. NAQVI:

1 3 : 3 3 : 0 4   8      Q.    Good afternoon, Mr. Robinson.

1 3 : 3 3 : 0 5   9      A.    Good afternoon.

1 3 : 3 3 : 0 7   10     Q.    What were you asked to do this in case?

1 3 : 3 3 : 1 2   11     A.    I was asked to independently review Qorvo's

1 3 : 3 3 : 1 3   12     historical information security controls and determine,

1 3 : 3 3 : 1 7   13     under the circumstances, whether Qorvo took reasonable

1 3 : 3 3 : 2 1   14     efforts to protect their trade secret information.

1 3 : 3 3 : 2 2   15     Q.    And, Mr. Robinson, have you rendered any overall

1 3 : 3 3 : 2 6   16     opinions in this case?

1 3 : 3 3 : 2 7   17     A.    Yes, I have.

1 3 : 3 3 : 2 8   18     Q.    And what are they?

1 3 : 3 3 : 3 0   19     A.    It's my opinion that Qorvo took more than reasonable

1 3 : 3 3 : 3 3   20     efforts under the circumstances to maintain the

1 3 : 3 3 : 3 6   21     confidentiality of its trade secret information.

1 3 : 3 3 : 4 0   22     Q.    Mr. Robinson, can you please describe for the jury

1 3 : 3 3 : 4 2   23     where you currently work and your job title?

1 3 : 3 3 : 4 5   24     A.    Yes, I work at Charles River Associates, and I am a

1 3 : 3 3 : 4 8   25     vice president in the forensic services practice.
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                                                 Robinson    - Direct

1 3 : 3 3 : 5 1   1      Q.    What is Charles Rivers Associates?

1 3 : 3 3 : 5 3   2      A.    It is a management consulting firm.         There's over 900

1 3 : 3 3 : 5 7   3      different employees and experts.        We typically work in the

1 3 : 3 4 : 0 1   4      context of litigation.      We have different expertise, and

1 3 : 3 4 : 0 4   5      we help companies assess different things.          My expertise

1 3 : 3 4 : 0 9   6      is in information security.

1 3 : 3 4 : 1 1   7      Q.    And what types of work do you do related to trade

1 3 : 3 4 : 1 4   8      secret matters?

1 3 : 3 4 : 1 6   9      A.    On trade secret matters, I'm often retained to

1 3 : 3 4 : 1 9   10     investigate situations where employees have taken or

1 3 : 3 4 : 2 4   11     stolen trade secret information from computers or devices

1 3 : 3 4 : 2 8   12     or information systems.       I've worked on hundreds of those

1 3 : 3 4 : 3 2   13     matters, so I'm very well aware of the ways that

1 3 : 3 4 : 3 6   14     information gets taken from companies, the way it's

1 3 : 3 4 : 3 9   15     transferred, what happens.

1 3 : 3 4 : 4 1   16           And then I also am frequently retained to look at

1 3 : 3 4 : 4 5   17     companies' information security programs, practices, and

1 3 : 3 4 : 4 9   18     compare those to well-known industry standards and

1 3 : 3 4 : 5 2   19     benchmarks.

1 3 : 3 4 : 5 4   20     Q.    Mr. Robinson, how many times have you testified or

1 3 : 3 4 : 5 6   21     provided an expert report in a case?

1 3 : 3 4 : 5 8   22     A.    Fifteen.

1 3 : 3 5 : 0 0   23     Q.    Outside of being retained or consulting with other

1 3 : 3 5 : 0 2   24     parties, do you have any job responsibilities within

1 3 : 3 5 : 0 5   25     Charles Rivers Associates?
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1 3 : 3 5 : 0 7   1      A.    Yes, I do.

1 3 : 3 5 : 0 8   2      Q.    Can you please describe those for the jury?

1 3 : 3 5 : 1 0   3      A.    So within our forensic services practice, I serve as

1 3 : 3 5 : 1 4   4      our chief information security officer.           So that means I

1 3 : 3 5 : 1 8   5      lead our information security program.            I help decide what

1 3 : 3 5 : 2 1   6      security controls we're going to use to protect our

1 3 : 3 5 : 2 3   7      clients' information.      That includes undergoing different

1 3 : 3 5 : 2 7   8      audits, and having us assessed each year by outside

1 3 : 3 5 : 3 1   9      auditors.

1 3 : 3 5 : 3 3   10     Q.    Mr. Robinson, do you have any certifications related

1 3 : 3 5 : 3 6   11     to information security?

1 3 : 3 5 : 3 7   12     A.    Yes.   Like Mr. Boyd before, I have the CISSP

1 3 : 3 5 : 4 2   13     certification.     That's the Certified Information Systems

1 3 : 3 5 : 4 5   14     Security Professional Certification, and that's the most

1 3 : 3 5 : 4 9   15     well-known information security certification that someone

1 3 : 3 5 : 5 2   16     can attain.

1 3 : 3 5 : 5 3   17                  MR. NAQVI:    Your Honor, at this time, based on

1 3 : 3 5 : 5 5   18     his education, training, and experience, Qorvo tenders

1 3 : 3 5 : 5 9   19     Mr. Cuyler Robinson in the field of information security.

1 3 : 3 6 : 0 3   20                  THE COURT:    Any voir dire?

1 3 : 3 6 : 0 7   21                  MS. SMITH:    No, Your Honor.

1 3 : 3 6 : 0 8   22                  THE COURT:    All right.    He's accepted as a

1 3 : 3 6 : 0 9   23     person who can express an opinion, that he is an expert as

1 3 : 3 6 : 1 3   24     to information security.

1 3 : 3 6 : 1 5   25                  Counsel may proceed.
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1 3 : 3 6 : 1 5   1                   MR. NAQVI:    Thank you, Your Honor.

1 3 : 3 6 : 1 6   2      BY MR. NAQVI:

1 3 : 3 6 : 1 7   3      Q.    Mr. Robinson, in connection with your work in this

1 3 : 3 6 : 2 0   4      case, did you review any documents?

1 3 : 3 6 : 2 2   5      A.    Yes, I did.

1 3 : 3 6 : 2 2   6      Q.    What types of documents did you review?

1 3 : 3 6 : 2 4   7      A.    I reviewed the Amended Complaint.           I reviewed

1 3 : 3 6 : 3 1   8      hundreds of different documents that were produced during

1 3 : 3 6 : 3 2   9      discovery in this matter.       I reviewed the declarations,

1 3 : 3 6 : 3 7   10     copies of deposition transcripts, and their exhibits.             It

1 3 : 3 6 : 4 3   11     included TriQuint information, RFMD information, and Qorvo

1 3 : 3 6 : 5 1   12     documents as well.

1 3 : 3 6 : 5 2   13     Q.    And did you speak to anyone at Qorvo to get an

1 3 : 3 6 : 5 4   14     understanding of Qorvo's security practices?

1 3 : 3 6 : 5 7   15     A.    Yes.   I interviewed three employees.          I interviewed

1 3 : 3 7 : 0 3   16     Todd Martin, who is Qorvo's current chief information

1 3 : 3 7 : 0 7   17     officer, and he previously work at TriQuint before moving

1 3 : 3 7 : 1 2   18     over to Qorvo when it formed.       I interviewed Mr. Michael

1 3 : 3 7 : 1 6   19     Boyd, who was here before me in his role as key chief

1 3 : 3 7 : 2 1   20     information security officer at Qorvo.            And I also

1 3 : 3 7 : 2 3   21     interviewed a gentleman by the name of Michael Lyssee.              He

1 3 : 3 7 : 2 7   22     is the director of IT and client services, and he worked

1 3 : 3 7 : 3 2   23     previously at RFMD, has been a long-tenured employee,

1 3 : 3 7 : 3 7   24     worked at RFMD, and then moved over to Qorvo when Qorvo

1 3 : 3 7 : 3 9   25     was formed.
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1 3 : 3 7 : 4 0   1      Q.    Did you rely on any industry guides or frameworks in

1 3 : 3 7 : 4 3   2      connection with your opinions in this case?

1 3 : 3 7 : 4 5   3      A.    Yes, I did.

1 3 : 3 7 : 4 6   4      Q.    Can you please describe those for the jury.

1 3 : 3 7 : 4 8   5      A.    So I used two well-known information security

1 3 : 3 7 : 5 3   6      frameworks.       The first one that I used during my analysis

1 3 : 3 7 : 5 8   7      is the CISSP Study Guide.        And that's a study guide for

1 3 : 3 8 : 0 2   8      someone studying to earn the CISSP certification that I

1 3 : 3 8 : 0 7   9      have.   And that's helpful because it provides uniform

1 3 : 3 8 : 1 0   10     descriptions of information security controls, concepts,

1 3 : 3 8 : 1 3   11     and it covers all aspects of information security.

1 3 : 3 8 : 1 7   12           And then the second framework that I used is the

1 3 : 3 8 : 2 1   13     Carnegie Mellon University Common Sense Guide to

1 3 : 3 8 : 2 5   14     Mitigating Insider Threats.        And what that is, is

1 3 : 3 8 : 2 9   15     researchers at that university over the years have studied

1 3 : 3 8 : 3 3   16     over 3,000 different instances where insiders, sometimes

1 3 : 3 8 : 3 8   17     employees, have done something like taken company

1 3 : 3 8 : 4 1   18     information or caused a problem that's impacted

1 3 : 3 8 : 4 6   19     information security in some way.         And it lists out 22

1 3 : 3 8 : 5 0   20     best practices that companies can follow to help reduce

1 3 : 3 8 : 5 4   21     that risk.

1 3 : 3 8 : 5 5   22     Q.    And, Mr. Robinson, did you review the trade secret

1 3 : 3 8 : 5 9   23     statutes that are involved in this case?

1 3 : 3 9 : 0 1   24     A.    Yes, I did.

1 3 : 3 9 : 0 2   25     Q.    And what is your understanding of what those trade
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1 3 : 3 9 : 0 4   1      secret statutes require in terms of reasonable security

1 3 : 3 9 : 0 8   2      measures?

1 3 : 3 9 : 1 0   3      A.    Specific to reasonable security measures, there's a

1 3 : 3 9 : 1 2   4      couple different criteria for trade secret information

1 3 : 3 9 : 1 5   5      under the legal definitions, but my analysis focused on

1 3 : 3 9 : 1 9   6      the requirement that the owner of the trade secret

1 3 : 3 9 : 2 2   7      information takes reasonable efforts under the

1 3 : 3 9 : 2 5   8      circumstances to protect that information or keep that

1 3 : 3 9 : 2 8   9      trade secret information secret.

1 3 : 3 9 : 3 0   10     Q.    What does "reasonable efforts under the

1 3 : 3 9 : 3 3   11     circumstances" mean?

1 3 : 3 9 : 3 5   12     A.    So the first word, "reasonable," that indicates a

1 3 : 3 9 : 3 9   13     standard; it doesn't mean all or perfect, it means

1 3 : 3 9 : 4 3   14     reasonable -- it's similar to adequate or appropriate

1 3 : 3 9 : 4 7   15     measures.

1 3 : 3 9 : 4 9   16           The word "measures" in the context of information

1 3 : 3 9 : 5 2   17     security, those are all the different things a company can

1 3 : 3 9 : 5 5   18     do to protect its information.        It could be security

1 3 : 3 9 : 5 8   19     controls.    It could be training.      It could be policies.

1 3 : 4 0 : 0 2   20     Those are the different types of measures.

1 3 : 4 0 : 0 8   21     Q.    Mr. Robinson, do the trade secret statutes that you

1 3 : 4 0 : 1 0   22     looked at require that all possible security measures be

1 3 : 4 0 : 1 3   23     taken?

1 3 : 4 0 : 1 4   24     A.    No, no.     It's -- again, it's that they are reasonable

1 3 : 4 0 : 2 1   25     measures taken, and it's also under the circumstances.            So
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                                                 Robinson    - Direct

1 3 : 4 0 : 2 4   1      each company is different, has different operations, it

1 3 : 4 0 : 2 8   2      has different types of information, and, you know, those

1 3 : 4 0 : 3 0   3      circumstances also come into play if you think about the

1 3 : 4 0 : 3 6   4      timing of when things occurred, because as you go back in

1 3 : 4 0 : 3 9   5      time, some things that are more typical and expected today

1 3 : 4 0 : 4 2   6      weren't standard practices seven, eight, nine, ten years

1 3 : 4 0 : 4 7   7      ago, so that all plays into what is reasonable under the

1 3 : 4 0 : 5 0   8      circumstances in the context of information security.

1 3 : 4 0 : 5 3   9      Q.    Based on your experience, if trade secrets are taken

1 3 : 4 0 : 5 5   10     from a company without authorization, does that, by

1 3 : 4 0 : 5 9   11     itself, mean that reasonable security measures were not in

1 3 : 4 1 : 0 1   12     place to begin with to safeguard those trade secrets?

1 3 : 4 1 : 0 5   13     A.    No.   Information security in and of itself, it's

1 3 : 4 1 : 0 8   14     designed to expect something bad will happen to

1 3 : 4 1 : 1 1   15     information.      And there's layers of control set up to

1 3 : 4 1 : 1 5   16     first try to prevent that.       And then, second, to try to

1 3 : 4 1 : 1 8   17     detect it if something's happened.        And then, finally, to

1 3 : 4 1 : 2 2   18     try and correct something that had happened.

1 3 : 4 1 : 2 4   19           So in the situation where employees may have taken

1 3 : 4 1 : 2 6   20     trade secret information, it happens frequently, despite

1 3 : 4 1 : 3 2   21     companies' best efforts to prevent that.          And I personally

1 3 : 4 1 : 3 5   22     have worked on hundreds of matters where employees have

1 3 : 4 1 : 3 8   23     taken information that was reasonably secured through

1 3 : 4 1 : 4 3   24     security measures.

1 3 : 4 1 : 4 5   25     Q.    Mr. Robinson, have you analyzed whether other
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1 3 : 4 1 : 4 6   1      companies that are similar size to Qorvo have reasonable

1 3 : 4 1 : 4 9   2      security measures to safeguard trade secrets?

1 3 : 4 1 : 5 4   3      A.    Yes.   Yes.    On many occasions.    And it's -- again, it

1 3 : 4 1 : 5 8   4      depends on the circumstances, the different reasonable

1 3 : 4 2 : 0 2   5      measures.    And one other aspect of information security is

1 3 : 4 2 : 0 8   6      the company is -- it doesn't have infinite money to throw

1 3 : 4 2 : 1 4   7      at security.      It has to balance that with making sure that

1 3 : 4 2 : 1 5   8      business can be performed, information is valuable for

1 3 : 4 2 : 1 8   9      use, and the company has to decide what are the risks that

1 3 : 4 2 : 2 2   10     we have and what do we need to invest in to reduce or

1 3 : 4 2 : 2 7   11     mitigate those risks.

1 3 : 4 2 : 2 8   12     Q.    Mr. Robinson, are their certain criteria that you

1 3 : 4 2 : 3 1   13     look for when determining whether or not a company has

1 3 : 4 2 : 3 3   14     taken reasonable security measures to safeguard its trade

1 3 : 4 2 : 3 9   15     secrets?

1 3 : 4 2 : 3 9   16     A.    Yes.

1 3 : 4 2 : 3 9   17     Q.    And have you prepared a demonstrative slide to assist

1 3 : 4 2 : 4 2   18     the jury in understanding these criteria?

1 3 : 4 2 : 4 4   19     A.    Yes, I have.

1 3 : 4 2 : 4 5   20                  MR. NAQVI:    Mr. Faison, if we can please

1 3 : 4 2 : 4 6   21     display that demonstrative for the jury.

1 3 : 4 2 : 4 8   22     BY MR. NAQVI:

1 3 : 4 2 : 4 8   23     Q.    Are these some of the criteria you looked at in this

1 3 : 4 2 : 4 9   24     case?

1 3 : 4 2 : 5 0   25     A.    Yes.   This here is a list of common criteria or a
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1 3 : 4 2 : 5 3   1      checklist of different aspects of a reasonable information

1 3 : 4 2 : 5 7   2      security program.

1 3 : 4 2 : 5 8   3      Q.    All right.

1 3 : 4 2 : 5 9   4            Mr. Robinson, let's start walking through those

1 3 : 4 3 : 0 2   5      criteria.    So first is a formal information security

1 3 : 4 3 : 0 5   6      program.    Based on the materials you relied upon in this

1 3 : 4 3 : 0 8   7      case, does Qorvo invest resources into information

1 3 : 4 3 : 1 1   8      security?

1 3 : 4 3 : 1 2   9      A.    Yes, they do.     As you heard from Mr. Boyd beforehand,

1 3 : 4 3 : 1 6   10     when Qorvo was formed, they brought over the best aspects

1 3 : 4 3 : 2 0   11     of their two predecessor companies, and that was used to

1 3 : 4 3 : 2 3   12     form the initial information security program.          And what

1 3 : 4 3 : 2 7   13     that is, is the team, the department, the initial

1 3 : 4 3 : 3 1   14     policies, all the documents in that function at Qorvo.

1 3 : 4 3 : 3 5   15     And since its inception, when it was formed, protecting

1 3 : 4 3 : 3 8   16     intellectual property was one of its number one

1 3 : 4 3 : 4 0   17     priorities.

1 3 : 4 3 : 4 3   18     Q.    Mr. Robinson, in your opinion, based on your

1 3 : 4 3 : 4 5   19     experience, is the existence and size of Qorvo's

1 3 : 4 3 : 4 8   20     information security team a reasonable measure under the

1 3 : 4 3 : 5 0   21     circumstances to protect its trade secrets?

1 3 : 4 3 : 5 2   22     A.    Yes, it was.

1 3 : 4 3 : 5 5   23     Q.    Turning to the second criteria.

1 3 : 4 3 : 5 7   24           Mr. Robinson, does Qorvo maintain formal policies

1 3 : 4 4 : 0 0   25     related to information security?
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1 3 : 4 4 : 0 1   1      A.    Yes, they do.

1 3 : 4 4 : 0 2   2      Q.    And are these policies written?

1 3 : 4 4 : 0 4   3      A.    Yes, they are.

1 3 : 4 4 : 0 5   4      Q.    Why is it important that policies are written?

1 3 : 4 4 : 0 9   5      A.    A policy is -- its purpose is to provide clear

1 3 : 4 4 : 1 3   6      instructions, typically to employees, on different topics.

1 3 : 4 4 : 1 7   7      An information security policy gives instructions on

1 3 : 4 4 : 1 9   8      information security topics.       But it can also set

1 3 : 4 4 : 2 3   9      standards as far as how systems should be configured or

1 3 : 4 4 : 2 7   10     setup.    When policies are established and followed, it

1 3 : 4 4 : 3 3   11     ensures consistent and secure business operations.

1 3 : 4 4 : 3 6   12     Q.    And aside from formal written policies, does Qorvo

1 3 : 4 4 : 3 9   13     also have historical practices that relate to information

1 3 : 4 4 : 4 2   14     security?

1 3 : 4 4 : 4 2   15     A.    Yes, they do.

1 3 : 4 4 : 4 4   16     Q.    What is the difference between a formal policy and a

1 3 : 4 4 : 4 6   17     historical practice when it comes to information security?

1 3 : 4 4 : 5 0   18     A.    So policies, those are formal documents.         But in a

1 3 : 4 4 : 5 3   19     business, it's not possible to write down each and every

1 3 : 4 4 : 5 7   20     thing that must be done in order to operate securely, so

1 3 : 4 5 : 0 1   21     companies also have practices that they follow.           And this

1 3 : 4 5 : 0 5   22     may just be through training or on-the-job behaviors that

1 3 : 4 5 : 1 2   23     the company follows that help protect information.

1 3 : 4 5 : 1 5   24     Q.    And so, Mr. Robinson, in your opinion and based on

1 3 : 4 5 : 1 9   25     your experience, are Qorvo's formal written policies and
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1 3 : 4 5 : 2 2   1      practices related to information security reasonable

1 3 : 4 5 : 2 4   2      measures under the circumstances to safeguard Qorvo's

1 3 : 4 5 : 2 7   3      trade secrets?

1 3 : 4 5 : 2 8   4      A.    Yes, they were.

1 3 : 4 5 : 3 1   5      Q.    Did some of Qorvo's written policies related to

1 3 : 4 5 : 3 5   6      information security change over time?

1 3 : 4 5 : 3 6   7      A.    Yes, they did.

1 3 : 4 5 : 3 8   8      Q.    Why is that important?

1 3 : 4 5 : 3 9   9      A.    Well, that's expected.      As a business operates, there

1 3 : 4 5 : 4 3   10     may be changes in its environment.        It may be -- have, you

1 3 : 4 5 : 4 7   11     know, performing different types of businesses or the

1 3 : 4 5 : 5 1   12     threaten environment might change to where they need to

1 3 : 4 5 : 5 4   13     update their policies accordingly.        And by reviewing their

1 3 : 4 5 : 5 8   14     policies, there's revisions and historical versions going

1 3 : 4 6 : 0 2   15     back to 2015 and beyond.       So I was able to see that and

1 3 : 4 6 : 0 5   16     see how Qorvo improved its security over time by updating

1 3 : 4 6 : 0 8   17     its policies.

1 3 : 4 6 : 1 0   18     Q.    So, Mr. Robinson, in your opinion and based on your

1 3 : 4 6 : 1 2   19     experience, was Qorvo's modifications of its information

1 3 : 4 6 : 1 6   20     security policies a reasonable measure under the

1 3 : 4 6 : 1 8   21     circumstances to protect its trade secrets?

1 3 : 4 6 : 2 1   22     A.    Yes, it was.

1 3 : 4 6 : 2 3   23     Q.    I'd now like to turn to physical security.

1 3 : 4 6 : 2 5   24           So, Mr. Robinson, as part of your work in this case,

1 3 : 4 6 : 2 7   25     did you analyze whether Qorvo had physical security
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1 3 : 4 6 : 3 0   1      controls?

1 3 : 4 6 : 3 1   2      A.    Yes, I did.

1 3 : 4 6 : 3 1   3      Q.    And what did you discover?

1 3 : 4 6 : 3 4   4      A.    So I examined the physical aspects of security, and

1 3 : 4 6 : 3 7   5      those are things that -- typically easier to picture, it's

1 3 : 4 6 : 4 2   6      the locks on the doors, the practices around making sure

1 3 : 4 6 : 4 6   7      their buildings are secure, employees must have badges in

1 3 : 4 6 : 5 0   8      order to access Qorvo environments, the use of security

1 3 : 4 6 : 5 4   9      cameras to monitor certain secure areas.          It was even

1 3 : 4 6 : 5 9   10     things like making sure they had waste bins in their

1 3 : 4 7 : 0 4   11     offices that would allow, when information needed to be

1 3 : 4 7 : 0 7   12     disposed, if it was confidential information, it could be

1 3 : 4 7 : 1 0   13     shredded and securely disposed of without being lost or

1 3 : 4 7 : 1 4   14     exposed.

1 3 : 4 7 : 1 6   15     Q.    So, Mr. Robinson, in your opinion, based on your

1 3 : 4 7 : 1 7   16     experience, were Qorvo's physical security controls

1 3 : 4 7 : 2 0   17     reasonable security measures under the circumstances to

1 3 : 4 7 : 2 2   18     safeguard its trade secrets?

1 3 : 4 7 : 2 5   19     A.    Yes, they were.

1 3 : 4 7 : 2 6   20     Q.    Now I'd like to turn to Item Number 5.

1 3 : 4 7 : 3 0   21           As part of your work on this case, did you analyze

1 3 : 4 7 : 3 2   22     whether Qorvo implemented risk management or audit

1 3 : 4 7 : 3 4   23     functions related to information security?

1 3 : 4 7 : 3 7   24     A.    Yes.   I looked at both of those.       And risk management

1 3 : 4 7 : 4 3   25     is an important function because information security, you
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1 3 : 4 7 : 4 8   1      know, it's the process of protecting information by

1 3 : 4 7 : 5 2   2      mitigating risk.      And the way you understand what your

1 3 : 4 7 : 5 5   3      risks are is by going through and looking at what the

1 3 : 4 7 : 5 9   4      risks are to your business.       And Qorvo had a formal risk

1 3 : 4 8 : 0 3   5      management function.      Each year they would go through and

1 3 : 4 8 : 0 5   6      look at their business risk, their enterprise risk, their

1 3 : 4 8 : 0 8   7      cyber risks.      And they would catalog those and then record

1 3 : 4 8 : 1 2   8      those informal risk registers.

1 3 : 4 8 : 1 5   9            And what those do is that tracks what they've

1 3 : 4 8 : 1 7   10     identified, and then they can decide how they're going to

1 3 : 4 8 : 2 0   11     mitigate those risks.

1 3 : 4 8 : 2 1   12           And in addition to that, Qorvo -- it wasn't a

1 3 : 4 8 : 2 5   13     function that worked in a vacuum.        It reported those risks

1 3 : 4 8 : 2 8   14     to company management and the board of directors.           And

1 3 : 4 8 : 3 1   15     that's important because, then, based on risks, if Qorvo

1 3 : 4 8 : 3 5   16     needed to invest more money in security control, they

1 3 : 4 8 : 3 9   17     would have support from company management to get the

1 3 : 4 8 : 4 0   18     money they needed to make those improvement.

1 3 : 4 8 : 4 2   19     Q.    And what about audits?

1 3 : 4 8 : 4 3   20     A.    So audits is -- that is an important function.          Qorvo

1 3 : 4 8 : 4 9   21     had an internal audit team that each year would decide

1 3 : 4 8 : 5 2   22     what aspects of Qorvo should be tested or audited.           And

1 3 : 4 8 : 5 6   23     that helps information security because what that's doing

1 3 : 4 9 : 0 1   24     is testing the security controls that are in place to make

1 3 : 4 9 : 0 5   25     sure they're effective, to make sure they're working.             And
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1 3 : 4 9 : 0 7   1      the results of audits can uncover situations where changes

1 3 : 4 9 : 1 1   2      may need to be made.

1 3 : 4 9 : 1 2   3            And, in addition to Qorvo's internal teams, they also

1 3 : 4 9 : 1 6   4      hired external auditors, such as Mandiant, a well-known

1 3 : 4 9 : 2 1   5      security firm, and Black Hills Information Security to

1 3 : 4 9 : 2 3   6      come into their environment, run tests, and provide

1 3 : 4 9 : 2 6   7      reports of their findings.

1 3 : 4 9 : 2 7   8      Q.    So, Mr. Robinson, in your opinion, based on your

1 3 : 4 9 : 2 9   9      experience, are Qorvo's risk management and audit

1 3 : 4 9 : 3 3   10     functions related to information security reasonable

1 3 : 4 9 : 3 5   11     measures under the circumstances to safeguard Qorvo's

1 3 : 4 9 : 3 9   12     trade secrets?

1 3 : 4 9 : 3 9   13     A.    Yes, they were.

1 3 : 4 9 : 4 1   14     Q.    Let's turn to employees.

1 3 : 4 9 : 4 3   15           So in conducting your analysis in this case, did you

1 3 : 4 9 : 4 6   16     look to see if Qorvo had any policies or procedures

1 3 : 4 9 : 4 9   17     regarding employees?

1 3 : 4 9 : 5 1   18     A.    Yes, they did.

1 3 : 4 9 : 5 1   19     Q.    And why was that important to your analysis?

1 3 : 4 9 : 5 4   20     A.    Employees are a necessary part of any business.          Most

1 3 : 4 9 : 5 7   21     businesses have them.      But employees are human, and

1 3 : 5 0 : 0 1   22     it's -- you know, if an employee or human wants to take

1 3 : 5 0 : 1 0   23     bad actions or sometimes they make accidental mistakes,

1 3 : 5 0 : 1 2   24     that can impact information security.         So the documents

1 3 : 5 0 : 1 7   25     and things surrounding employees is a very important
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1 3 : 5 0 : 2 1   1      aspect of information security.

1 3 : 5 0 : 2 2   2      Q.    And does Qorvo require all its employees to sign a

1 3 : 5 0 : 2 6   3      confidentiality agreement upon hiring?

1 3 : 5 0 : 2 8   4      A.    Yes, they do.

1 3 : 5 0 : 2 8   5      Q.    And based on your review of the materials in this

1 3 : 5 0 : 3 0   6      case, was this same type of policy implemented by both

1 3 : 5 0 : 3 2   7      TriQuint and RF Micro Devices?

1 3 : 5 0 : 3 4   8      A.    Yes, it was.

1 3 : 5 0 : 3 5   9                   MR. NAQVI:    Your Honor, may I approach the

1 3 : 5 0 : 3 7   10     witness?

1 3 : 5 0 : 3 7   11                  THE COURT:    You may.

1 3 : 5 0 : 5 9   12     BY MR. NAQVI:

1 3 : 5 1 : 1 7   13     Q.    Mr. Robinson, I just handed you what's already been

1 3 : 5 1 : 1 9   14     admitted into evidence as Trial Exhibit 214, 204, and 230.

1 3 : 5 1 : 2 2   15     Those are respectively PTX-647, 760, and 1218.          They're

1 3 : 5 1 : 2 9   16     the same three confidentiality agreements that were just

1 3 : 5 1 : 3 1   17     shown to Mr. Boyd, one from TriQuint, one from RFMD, and

1 3 : 5 1 : 3 5   18     one from Qorvo.

1 3 : 5 1 : 3 6   19           Mr. Boyd, did you review these three documents as

1 3 : 5 1 : 3 8   20     part of your analysis in this case?

1 3 : 5 1 : 4 3   21     A.    Yes.   I reviewed these documents.

1 3 : 5 1 : 4 5   22     Q.    And in terms of confidentiality, do these agreements

1 3 : 5 1 : 4 6   23     generally have similar requirements?

1 3 : 5 1 : 4 8   24     A.    Yes, they do.

1 3 : 5 1 : 5 0   25     Q.    And in your opinion, is the requirement that every
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1 3 : 5 1 : 5 3   1      employee sign a confidentiality agreement upon hiring a

1 3 : 5 1 : 5 6   2      reasonable security measure under the circumstances to

1 3 : 5 1 : 5 9   3      protect Qorvo trade secrets?

1 3 : 5 2 : 0 1   4      A.    Yes, it is.

1 3 : 5 2 : 0 1   5      Q.    Are Qorvo's employees informed of confidentiality

1 3 : 5 2 : 0 4   6      obligations only at the beginning of employment?

1 3 : 5 2 : 0 6   7      A.    No.

1 3 : 5 2 : 0 7   8      Q.    Why was that important to your analysis?

1 3 : 5 2 : 0 9   9      A.    Employees typically work at a company for many years,

1 3 : 5 2 : 1 3   10     and they also may change roles.        And it's important to

1 3 : 5 2 : 1 7   11     remind employees so that they are reminded of their

1 3 : 5 2 : 2 1   12     confidentiality obligations and don't have to refer back

1 3 : 5 2 : 2 4   13     to something they saw when they first were hired.

1 3 : 5 2 : 4 3   14                  MR. NAQVI:    Your Honor, may I approach the

1 3 : 5 2 : 4 5   15     witness?

1 3 : 5 2 : 4 5   16                  THE COURT:    You may.

1 3 : 5 2 : 4 8   17     BY MR. NAQVI:

1 3 : 5 2 : 4 9   18     Q.    Mr. Boyd, I've just handed you Joint Exhibit 20,

1 3 : 5 2 : 5 1   19     which was just admitted into evidence as Trial

1 3 : 5 2 : 5 4   20     Exhibit 231.

1 3 : 5 2 : 5 5   21           What is this document?

1 3 : 5 2 : 5 8   22     A.    This is Qorvo's Code of Business Conduct and Ethics,

1 3 : 5 3 : 0 2   23     and this is the 2015 version.

1 3 : 5 3 : 0 7   24     Q.    Did you consider this document in rendering your

1 3 : 5 3 : 0 9   25     opinions in this case?
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1 3 : 5 3 : 1 0   1      A.    Yes, I did.

1 3 : 5 3 : 1 0   2      Q.    And does this document have a section related to

1 3 : 5 3 : 1 3   3      confidentiality?

1 3 : 5 3 : 1 4   4      A.    Yes, it does.

1 3 : 5 3 : 1 6   5                   MR. NAQVI:    And, Mr. Faison, if we can please

1 3 : 5 3 : 1 9   6      show Page 8 of Joint Exhibit 20 again.

1 3 : 5 3 : 2 3   7      BY MR. NAQVI:

1 3 : 5 3 : 2 3   8      Q.    And are the obligations in this confidentiality --

1 3 : 5 3 : 2 5   9      confidentiality obligations in this document similar to

1 3 : 5 3 : 2 8   10     the ones set forth in the confidentiality agreements that

1 3 : 5 3 : 3 2   11     an employee must sign upon hiring?

1 3 : 5 3 : 3 5   12     A.    Yes, they are.

1 3 : 5 3 : 3 6   13     Q.    And on Page 9 of this document, does it address

1 3 : 5 3 : 3 8   14     disclosure of confidential information to third parties?

1 3 : 5 3 : 4 1   15     A.    Yes, it does.

1 3 : 5 3 : 4 3   16     Q.    Based on your review of the materials in this case,

1 3 : 5 3 : 4 5   17     are employees required to review and acknowledge the Qorvo

1 3 : 5 3 : 4 9   18     code of conduct?

1 3 : 5 3 : 5 1   19     A.    Yes.   They're required to read this and acknowledge

1 3 : 5 3 : 5 4   20     that they've read this every year.

1 3 : 5 3 : 5 6   21     Q.    Has that been a historical practice of Qorvo since

1 3 : 5 3 : 5 9   22     2015?

1 3 : 5 4 : 0 0   23     A.    Yes, it has.

1 3 : 5 4 : 0 1   24     Q.    So, in your opinion, is Qorvo's policy related to its

1 3 : 5 4 : 0 4   25     Code of Business Conduct and Ethics a reasonable security
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1 3 : 5 4 : 0 6   1      measure under the circumstances to protect Qorvo's trade

1 3 : 5 4 : 1 0   2      secrets?

1 3 : 5 4 : 1 0   3      A.    Yes, it is.

1 3 : 5 4 : 1 5   4                   MR. NAQVI:    Your Honor, may I approach the

1 3 : 5 4 : 1 7   5      witness?

1 3 : 5 4 : 1 7   6                   THE COURT:    You may.

1 3 : 5 4 : 3 6   7      BY MR. NAQVI:

1 3 : 5 4 : 4 1   8      Q.    Mr. Boyd, I just handed you PTX-1070, which was just

1 3 : 5 4 : 4 3   9      admitted into evidence as Trial Exhibit 233.

1 3 : 5 4 : 4 7   10           Can you just please remind the jury again what this

1 3 : 5 4 : 4 9   11     document is?

1 3 : 5 4 : 5 0   12     A.    This is Qorvo's Acceptable Use Policy.

1 3 : 5 4 : 5 5   13                  MR. NAQVI:    And, Mr. Faison, if we could please

1 3 : 5 4 : 5 6   14     just display the first page of PTX-1770 for the jury.

1 3 : 5 5 : 0 1   15     BY MR. NAQVI:

1 3 : 5 5 : 0 1   16     Q.    And, Mr. Robinson, did you consider this document

1 3 : 5 5 : 0 3   17     when rendering your opinions?

1 3 : 5 5 : 0 5   18     A.    Yes, I did.

1 3 : 5 5 : 0 6   19     Q.    Are employees required to review this policy?

1 3 : 5 5 : 0 9   20     A.    Yes, they are.

1 3 : 5 5 : 1 0   21     Q.    And they are required to acknowledge it as well?

1 3 : 5 5 : 1 1   22     A.    Yes.   Similar to the Code of Business Conduct and

1 3 : 5 5 : 1 3   23     Ethics, this policy must be read and acknowledged by

1 3 : 5 5 : 1 6   24     employees every year.

1 3 : 5 5 : 1 8   25     Q.    And so is Qorvo's implementation of this Acceptable
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1 3 : 5 5 : 2 0   1      Use Policy a reasonable measure under the circumstances to

1 3 : 5 5 : 2 4   2      safeguard its trade secrets?

1 3 : 5 5 : 2 6   3      A.    Yes, it is.

1 3 : 5 5 : 2 6   4      Q.    Okay.   In your review of materials in this case, did

1 3 : 5 5 : 3 0   5      you look to see if Qorvo had any security policies or

1 3 : 5 5 : 3 4   6      procedures when an employee left the company?

1 3 : 5 5 : 3 6   7      A.    Yes, I did.

1 3 : 5 5 : 3 7   8      Q.    Why was that important to your analysis?

1 3 : 5 5 : 3 9   9      A.    This is an important point to remind employees of

1 3 : 5 5 : 4 4   10     their confidential obligations, that there's a best

1 3 : 5 5 : 4 7   11     practice in Insider Threat Guide that says to establish an

1 3 : 5 5 : 5 1   12     employee termination procedure and then use that as a

1 3 : 5 5 : 5 5   13     chance to remind them of their confidentiality agreements.

1 3 : 5 5 : 5 9   14                   MR. NAQVI:   Your Honor, may I approach the

1 3 : 5 6 : 0 0   15     witness?

1 3 : 5 6 : 0 0   16                   THE COURT:   You may.

1 3 : 5 6 : 1 0   17     BY MR. NAQVI:

1 3 : 5 6 : 1 9   18     Q.    Mr. Boyd, I've handed you PTX-1109, which has already

1 3 : 5 6 : 2 2   19     been admitted into evidence as Trial Exhibit 232?

1 3 : 5 6 : 2 6   20                   MR. NAQVI:   Mr. Faison, if you could please

1 3 : 5 6 : 2 7   21     display that one more time for the jury.

1 3 : 5 6 : 3 1   22     BY MR. NAQVI:

1 3 : 5 6 : 3 1   23     Q.    Mr. Robinson, what is this document?

1 3 : 5 6 : 3 3   24     A.    This is a separation agreement, a Qorvo separation

1 3 : 5 6 : 3 8   25     agreement.
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1 3 : 5 6 : 3 9   1      Q.    And did you review this document when forming your

1 3 : 5 6 : 4 1   2      opinions in this case?

1 3 : 5 6 : 4 2   3      A.    Yes, I did.

1 3 : 5 6 : 4 3   4      Q.    Is it your understanding that all employees are to

1 3 : 5 6 : 4 6   5      sign this agreement upon departure?

1 3 : 5 6 : 4 8   6      A.    Yes, it is.

1 3 : 5 6 : 4 9   7      Q.    Has that been historical practice of Qorvo since

1 3 : 5 6 : 5 3   8      2015?

1 3 : 5 6 : 5 3   9      A.    Yes, it has.

1 3 : 5 6 : 5 4   10     Q.    So overall, Mr. Robinson, are Qorvo's policies

1 3 : 5 6 : 5 9   11     related to confidentiality agreements in terms of hiring,

1 3 : 5 7 : 0 3   12     during employment, and when an employee leaves Qorvo,

1 3 : 5 7 : 0 6   13     reasonable measures under the circumstances to protect its

1 3 : 5 7 : 0 9   14     trade secrets?

1 3 : 5 7 : 0 9   15     A.    Yes, it is.

1 3 : 5 7 : 1 0   16     Q.    Now I would like to turn to third parties briefly.

1 3 : 5 7 : 1 5   17           So as part of your analysis in this case, did you

1 3 : 5 7 : 1 7   18     look to whether Qorvo had any information security

1 3 : 5 7 : 1 9   19     policies or procedures regarding sharing confidential

1 3 : 5 7 : 2 3   20     information with third parties?

1 3 : 5 7 : 2 4   21     A.    Yes.

1 3 : 5 7 : 2 5   22     Q.    Why was that important to your analysis?

1 3 : 5 7 : 2 7   23     A.    Well, typically, Qorvo's information or -- it's meant

1 3 : 5 7 : 3 2   24     to be kept internally and used internally, but in the

1 3 : 5 7 : 3 6   25     course of conducting business, there's going to be
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1 3 : 5 7 : 3 8   1      instances where a customer or a supplier or a vendor may

1 3 : 5 7 : 4 1   2      need access to some type of limited confidential

1 3 : 5 7 : 4 4   3      information, so it's important to have some way to protect

1 3 : 5 7 : 4 7   4      that.

1 3 : 5 7 : 4 7   5      Q.    And does Qorvo require the use of nondisclosure

1 3 : 5 7 : 5 0   6      agreements before sharing confidential information with

1 3 : 5 7 : 5 3   7      third parties?

1 3 : 5 7 : 5 4   8      A.    Yes, they do.

1 3 : 5 7 : 5 4   9      Q.    Did you review any Qorvo NDAs in connection with your

1 3 : 5 7 : 5 8   10     work in this case?

1 3 : 5 7 : 5 9   11     A.    Yes.   I reviewed many of them.

1 3 : 5 8 : 0 0   12     Q.    And does the Code of Business Conduct that we just

1 3 : 5 8 : 0 3   13     looked at require the use of the NDAs?

1 3 : 5 8 : 0 5   14     A.    Yes, it does.

1 3 : 5 8 : 0 5   15     Q.    So, Mr. Robinson, in your opinion and based on your

1 3 : 5 8 : 0 9   16     experience, are Qorvo's policies and procedures related to

1 3 : 5 8 : 1 3   17     sharing confidential information with third parties

1 3 : 5 8 : 1 6   18     reasonable measures under the circumstances to safeguard

1 3 : 5 8 : 1 9   19     Qorvo's trade secrets?

1 3 : 5 8 : 2 1   20     A.    Yes, it is.

1 3 : 5 8 : 2 2   21     Q.    I'd like to turn to Number 8.       In assessing Qorvo's

1 3 : 5 8 : 2 6   22     information security policies and practices, did you look

1 3 : 5 8 : 2 8   23     at whether and how Qorvo labeled confidential documents?

1 3 : 5 8 : 3 2   24     A.    Yes, I did.

1 3 : 5 8 : 3 3   25     Q.    And why was that important to your analysis?
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1 3 : 5 8 : 3 6   1      A.    Labeling confidential information, that's important

1 3 : 5 8 : 4 0   2      because that puts the reader or recipient of that

1 3 : 5 8 : 4 4   3      information, it information them of what that information

1 3 : 5 8 : 4 7   4      is.   So if it says, "confidential" or "proprietary," then

1 3 : 5 8 : 4 9   5      they are made aware of that the fact through labels.

1 3 : 5 8 : 5 4   6      Q.    Mr. Robinson, can you please look back at PTX-1770,

1 3 : 5 8 : 5 6   7      which is Trial Exhibit 233, and turn to Section 5.

1 3 : 5 9 : 0 2   8                   MR. NAQVI:    Mr. Faison, if you could please

1 3 : 5 9 : 0 4   9      display that for the jury.

1 3 : 5 9 : 0 6   10     BY MR. NAQVI:

1 3 : 5 9 : 1 6   11     Q.    So, Mr. Robinson, does Section 5 of the Acceptable

1 3 : 5 9 : 1 9   12     Use Policy address designating or labeling documents?

1 3 : 5 9 : 2 4   13     A.    Yes, it does.

1 3 : 5 9 : 2 4   14     Q.    And can you briefly describe what it says.

1 3 : 5 9 : 2 7   15     A.    So what it says here is that it provides the

1 3 : 5 9 : 3 1   16     different labels that Qorvo uses -- Qorvo restricted,

1 3 : 5 9 : 3 3   17     Qorvo confidential, Qorvo private -- and it also refers

1 3 : 5 9 : 3 9   18     back to the confidentiality section in the CBCE, which is

1 3 : 5 9 : 4 3   19     the Code of Business Conduct and Ethics.

1 3 : 5 9 : 4 6   20     Q.    Aside from this formal written policy, based on your

1 3 : 5 9 : 4 9   21     review of the materials in this case, does Qorvo have a

1 3 : 5 9 : 5 2   22     historical practice of labeling confidential documents?

1 3 : 5 9 : 5 5   23     A.    Yes, they do.

1 3 : 5 9 : 5 6   24     Q.    Can you please describe that for the jury.

1 3 : 5 9 : 5 8   25     A.    So Qorvo's practice is to use the labels
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1 4 : 0 0 : 0 2   1      "confidential" and/or "proprietary" and place that on

1 4 : 0 0 : 0 8   2      documents that have confidential information, and that

1 4 : 0 0 : 1 1   3      may -- the location of those labels may change depending

1 4 : 0 0 : 1 4   4      on the document.       It may be at the footer, the top of the

1 4 : 0 0 : 1 7   5      page in a header, it may be on the -- if it's a

1 4 : 0 0 : 2 1   6      presentation, it may be on the first page or the

1 4 : 0 0 : 2 3   7      subsequent pages.       And it's in standard locations within

1 4 : 0 0 : 2 7   8      those documents, and that practice has been in place since

1 4 : 0 0 : 3 0   9      2015.

1 4 : 0 0 : 3 1   10     Q.    Did you review any of the Qorvo trade secret

1 4 : 0 0 : 3 4   11     documents at issue in this case?

1 4 : 0 0 : 3 6   12     A.    Yes, I did.

1 4 : 0 0 : 3 7   13     Q.    And the Qorvo documents that you reviewed, did they

1 4 : 0 0 : 4 0   14     have confidentiality labeling?

1 4 : 0 0 : 4 3   15     A.    Yes, they all had confidential labels on them.

1 4 : 0 0 : 4 7   16     Q.    So, Mr. Robinson, overall in your opinion and based

1 4 : 0 0 : 4 9   17     on your experience, is Qorvo's practice and policy

1 4 : 0 0 : 5 3   18     regarding labeling documents as confidential or

1 4 : 0 0 : 5 6   19     proprietary a reasonable measure under the circumstances

1 4 : 0 0 : 5 9   20     to safeguard Qorvo's trade secrets?

1 4 : 0 1 : 0 3   21     A.    Yes, it is.

1 4 : 0 1 : 0 4   22                  MR. NAQVI:     Can we please pull the slide again,

1 4 : 0 1 : 0 7   23     Mr. Faison?       Thank you.

1 4 : 0 1 : 0 8   24     BY MR. NAQVI:

1 4 : 0 1 : 0 8   25     Q.    Turning to Number 9.       Mr. Robinson, did you look to
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1 4 : 0 1 : 1 1   1      see if Qorvo had any security controls related to

1 4 : 0 1 : 1 4   2      information systems security?

1 4 : 0 1 : 1 6   3      A.    Yes, I did.

1 4 : 0 1 : 1 7   4      Q.    Why was that important to your analysis?

1 4 : 0 1 : 2 0   5      A.    Well, information systems, those are all the

1 4 : 0 1 : 2 4   6      computers, the networks, the files that Qorvo has, and

1 4 : 0 1 : 2 9   7      those can store a considerable amount of information, so

1 4 : 0 1 : 3 3   8      it's important that security controls protect those.

1 4 : 0 1 : 3 5   9      Q.    And can you briefly describe some of the security

1 4 : 0 1 : 3 8   10     controls related to information systems security that you

1 4 : 0 1 : 4 0   11     discovered being implemented at Qorvo?

1 4 : 0 1 : 4 3   12     A.    Yes.   So Qorvo has many, many, many types of these

1 4 : 0 1 : 4 6   13     controls.    Mr. Boyd described some.      But some examples of

1 4 : 0 1 : 4 9   14     the controls that I found Qorvo had include, they require

1 4 : 0 1 : 5 3   15     encryption on their computers, so that means if a user

1 4 : 0 1 : 5 9   16     isn't authorized to login to that computer, someone can't

1 4 : 0 2 : 0 2   17     access it; it's encrypted and the information secured.

1 4 : 0 2 : 0 5   18           They require if employees are trying to access the

1 4 : 0 2 : 1 0   19     Qorvo network remotely, they require that you not only

1 4 : 0 2 : 1 3   20     have a user name, a password, you also have to enter a

1 4 : 0 2 : 1 7   21     secondary code, which makes that a more secure way to

1 4 : 0 2 : 2 1   22     check to the network, and they've had that in place since

1 4 : 0 2 : 2 4   23     their inception in 2015.

1 4 : 0 2 : 2 7   24           They also have other types of security software that

1 4 : 0 2 : 3 1   25     monitors the systems and protects their environment from
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1 4 : 0 2 : 3 5   1      antivirus -- or from viruses and malware and from other

1 4 : 0 2 : 3 5   2      malicious software.

1 4 : 0 2 : 4 0   3      Q.    So in your opinion and based on your experience, are

1 4 : 0 2 : 4 2   4      Qorvo's security controls related to its information

1 4 : 0 2 : 4 5   5      systems reasonable measures under the circumstances to

1 4 : 0 2 : 4 8   6      safeguard Qorvo's trade secrets?

1 4 : 0 2 : 5 1   7      A.    Yes, they are.

1 4 : 0 2 : 5 1   8      Q.    Finally, as part of your analysis, did you look to

1 4 : 0 2 : 5 5   9      see if Qorvo had any systems or controls in place related

1 4 : 0 2 : 5 8   10     to monitoring.

1 4 : 0 2 : 5 9   11     A.    Yes, I did.

1 4 : 0 3 : 0 1   12     Q.    Why was that something you looked for?

1 4 : 0 3 : 0 3   13     A.    So monitoring security controls, those are important

1 4 : 0 3 : 0 7   14     because they can detect something.        If something you tried

1 4 : 0 3 : 1 1   15     to prevent occurs, the monitoring controls can pick that

1 4 : 0 3 : 1 6   16     up, it can alert you to something bad that's happened, and

1 4 : 0 3 : 1 9   17     then it can be investigated.

1 4 : 0 3 : 2 2   18     Q.    And can you briefly describe the types of monitoring

1 4 : 0 3 : 2 4   19     controls that Qorvo implemented from 2015 to present?

1 4 : 0 3 : 2 9   20     A.    Yes.   So Qorvo stores the different logs and

1 4 : 0 3 : 3 2   21     informations -- information from its computers and network

1 4 : 0 3 : 3 5   22     as they're being used.      It stores those so that they can

1 4 : 0 3 : 4 0   23     go back and look and see, you know, what may have

1 4 : 0 3 : 4 3   24     happened, and investigate that.

1 4 : 0 3 : 4 4   25           There are a number of different systems that do that,
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1 4 : 0 3 : 4 5   1      some examples include their fire wall logs, their remote

1 4 : 0 3 : 5 1   2      access or VPN logs which shows who logged in and when.

1 4 : 0 3 : 5 5   3      And then they also use some specific software that

1 4 : 0 4 : 0 0   4      monitored employees' file activity around which types of

1 4 : 0 4 : 0 5   5      files they were accessing and if that information was

1 4 : 0 4 : 0 8   6      sensitive.

1 4 : 0 4 : 0 8   7      Q.    And so overall in your opinion and based on your

1 4 : 0 4 : 1 2   8      experience, Mr. Robinson, were Qorvo's monitoring security

1 4 : 0 4 : 1 5   9      controls reasonable measures under the circumstances to

1 4 : 0 4 : 1 7   10     safeguard Qorvo's trade secrets?

1 4 : 0 4 : 2 0   11     A.    Yes.

1 4 : 0 4 : 2 2   12     Q.    So, Mr. Robinson, to wrap up here, in assessing

1 4 : 0 4 : 2 5   13     Qorvo's information security, policies, practices, and

1 4 : 0 4 : 2 8   14     procedures as a whole, did you conclude that Qorvo took

1 4 : 0 4 : 3 1   15     reasonable measures under the circumstances to safeguard

1 4 : 0 4 : 3 4   16     its trade secrets?

1 4 : 0 4 : 3 6   17     A.    Yes.   As the checklist shows, across all these

1 4 : 0 4 : 4 0   18     different areas, you know, I examined Qorvo from its

1 4 : 0 4 : 4 3   19     inception all the way forward, identified the relevant

1 4 : 0 4 : 4 8   20     security controls, categorized them into these different

1 4 : 0 4 : 5 2   21     checklists, and it's my opinion that Qorvo took more than

1 4 : 0 4 : 5 6   22     reasonable efforts under the circumstances to protect

1 4 : 0 4 : 5 8   23     their trade secret information.

1 4 : 0 5 : 0 3   24     Q.    Thank you.

1 4 : 0 5 : 0 3   25                  MR. NAQVI:    No further questions.      I pass the
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1 4 : 0 5 : 0 4   1      witness.

1 4 : 0 5 : 0 5   2                    THE COURT:   Cross-examination.

1 4 : 0 5 : 0 6   3

1 4 : 0 5 : 0 6   4                               CROSS-EXAMINATION

1 4 : 0 5 : 1 4   5                    MS. SMITH:   Victoria Smith for Akoustis.

1 4 : 0 5 : 1 6   6                    Good afternoon, Your Honor.

1 4 : 0 5 : 1 7   7      BY MS. SMITH:

1 4 : 0 5 : 1 8   8      Q.    Good afternoon, Mr. Robinson.       How are you today?

1 4 : 0 5 : 2 1   9      A.    Good.    How are you?

1 4 : 0 5 : 2 2   10     Q.    I'm good.

1 4 : 0 5 : 2 3   11           Do you recognize me?      I took your depo in January.

1 4 : 0 5 : 2 6   12     Nice to see you again.

1 4 : 0 5 : 2 8   13     A.    Likewise.

1 4 : 0 5 : 3 2   14     Q.    Mr. Robinson, your assignment was to determine

1 4 : 0 5 : 3 6   15     whether Qorvo took reasonable efforts to keep its

1 4 : 0 5 : 3 9   16     confidential and alleged trade secret information at issue

1 4 : 0 5 : 4 2   17     in this lawsuit a secret, correct?

1 4 : 0 5 : 4 5   18     A.    Yes.

1 4 : 0 5 : 4 6   19     Q.    In November of last year, you submitted a report

1 4 : 0 5 : 5 1   20     containing all of your opinions on whether Qorvo has made

1 4 : 0 5 : 5 5   21     reasonable efforts to maintain confidentiality of its

1 4 : 0 5 : 5 9   22     alleged trade secrets, right?

1 4 : 0 6 : 0 0   23     A.    Yes.

1 4 : 0 6 : 0 3   24     Q.    Sitting here today, do you still stand by the

1 4 : 0 6 : 0 5   25     opinions in your report?
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1 4 : 0 6 : 0 7   1      A.    Yes, I do.

1 4 : 0 6 : 0 7   2      Q.    Okay.    Do you agree that, in the information security

1 4 : 0 6 : 1 8   3      context, "confidential" and "trade secret" do not have

1 4 : 0 6 : 2 2   4      identical meanings?

1 4 : 0 6 : 2 6   5      A.    There could be overlap, but, yeah, there's two

1 4 : 0 6 : 2 9   6      different meanings there.

1 4 : 0 6 : 3 0   7      Q.    Information that is confidential may not necessarily

1 4 : 0 6 : 3 4   8      be a trade secret, right?

1 4 : 0 6 : 3 9   9      A.    It depends on the information.        Like I said, there

1 4 : 0 6 : 4 1   10     could be overlap, but it could be separate things.

1 4 : 0 6 : 4 5   11     Q.    Right.      Well, so let me repeat my question.

1 4 : 0 6 : 4 9   12     Information that is confidential may not necessarily be a

1 4 : 0 6 : 5 4   13     trade secret, right?

1 4 : 0 6 : 5 7   14     A.    In order for something to be a trade secret, there's

1 4 : 0 7 : 0 0   15     a number of legal definitions that have to be met, so it

1 4 : 0 7 : 0 4   16     depends.

1 4 : 0 7 : 0 6   17     Q.    Are all trade secrets confidential?

1 4 : 0 7 : 1 6   18     A.    It depends.      Because a trade secret is a legal

1 4 : 0 7 : 2 0   19     definition, so it depends on what that information is, if

1 4 : 0 7 : 2 5   20     it meets all those requirements.         So it would depend on

1 4 : 0 7 : 2 8   21     what types of information we're talking about.

1 4 : 0 7 : 3 0   22     Q.    So sitting here today, you cannot say whether

1 4 : 0 7 : 3 4   23     information that is confidential may not, may or may not,

1 4 : 0 7 : 3 7   24     be a trade secret?       Do you need more information than

1 4 : 0 7 : 4 1   25     that?
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1 4 : 0 7 : 4 4   1      A.    Yeah.   I'm not saying that that's not the case.         I'm

1 4 : 0 7 : 4 6   2      just saying, you know, hypothetically, it's appropriate

1 4 : 0 7 : 5 1   3      for a company to have confidential information, try to

1 4 : 0 7 : 5 5   4      protect that, use security controls to protect that, and

1 4 : 0 7 : 5 8   5      some of that information may be a trade secret.

1 4 : 0 8 : 0 2   6      Q.    Okay.   Earlier today, Mr. Boyd testified.        Were you

1 4 : 0 8 : 0 8   7      here for that testimony?

1 4 : 0 8 : 1 0   8      A.    Yes, I was.

1 4 : 0 8 : 1 1   9      Q.    He mentioned something called "administrative

1 4 : 0 8 : 1 5   10     vulnerabilities."      Let me repeat that "administrative

1 4 : 0 8 : 2 0   11     vulnerabilities."

1 4 : 0 8 : 2 1   12           Did you hear his testimony on that?

1 4 : 0 8 : 2 3   13     A.    Yes.

1 4 : 0 8 : 2 5   14     Q.    When we talked back in January, I asked you about

1 4 : 0 8 : 2 8   15     that phrase and you were not familiar with it.

1 4 : 0 8 : 3 0   16           Do you know what that means now?

1 4 : 0 8 : 3 6   17     A.    There's a couple of different interpretations.          I

1 4 : 0 8 : 3 8   18     mean, I heard how it was described by Mr. Boyd earlier.

1 4 : 0 8 : 4 1   19     Q.    Okay.   What is your understanding of what is human --

1 4 : 0 8 : 4 5   20     I'm sorry.

1 4 : 0 8 : 4 6   21           What is "administrative vulnerabilities"?

1 4 : 0 8 : 5 0   22     A.    Well, the example that the discussion went to was

1 4 : 0 8 : 5 4   23     human employees and their behaviors.

1 4 : 0 8 : 5 8   24     Q.    Thank you.

1 4 : 0 8 : 5 8   25           So in order to implement appropriate security
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1 4 : 0 9 : 0 3   1      protocols, a company should know what assets they have,

1 4 : 0 9 : 0 6   2      where they are located, and what their importance is to

1 4 : 0 9 : 0 9   3      the organization, correct?

1 4 : 0 9 : 1 2   4      A.    That is a best practice, yes.

1 4 : 0 9 : 2 0   5      Q.    And which security policies and procedures may apply

1 4 : 0 9 : 2 4   6      in a given situation may depend on the level of

1 4 : 0 9 : 2 8   7      confidential information contained in the document, right?

1 4 : 0 9 : 3 2   8      A.    It may, yes.

1 4 : 0 9 : 3 5   9      Q.    Okay.   Is it fair to say that many of Qorvo's

1 4 : 0 9 : 4 2   10     information security policies depend on employees to be

1 4 : 0 9 : 4 7   11     implemented?

1 4 : 0 9 : 5 3   12     A.    It depends on the situation and the context, but,

1 4 : 0 9 : 5 6   13     yes, some -- some of those depend on employees to be

1 4 : 1 0 : 0 1   14     implemented.

1 4 : 1 0 : 0 2   15     Q.    So, for example, before a computer program that

1 4 : 1 0 : 0 6   16     tracks access to data can run on the company computer

1 4 : 1 0 : 0 9   17     systems, that program has to be installed by an employee,

1 4 : 1 0 : 1 3   18     right?

1 4 : 1 0 : 1 4   19     A.    In that example, yes.

1 4 : 1 0 : 1 8   20     Q.    And for information to be processed by that computer

1 4 : 1 0 : 2 8   21     program, an employee has to instruct the program to do so

1 4 : 1 0 : 3 2   22     in many circumstances, right?

1 4 : 1 0 : 3 5   23     A.    It depends on the circumstances, but generally that's

1 4 : 1 0 : 3 8   24     right.

1 4 : 1 0 : 3 9   25     Q.    Okay.   So an employee needs to first understand
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1 4 : 1 0 : 4 3   1      whether a document contains confidential information

1 4 : 1 0 : 4 7   2      before the employee can choose the right security controls

1 4 : 1 0 : 5 0   3      for that document, right?

1 4 : 1 0 : 5 1   4      A.    No.    There's many security controls that Qorvo had

1 4 : 1 0 : 5 9   5      that it's not up to the employee to implement or do.           Some

1 4 : 1 1 : 0 4   6      involve the employee, but some don't.

1 4 : 1 1 : 0 7   7      Q.    Some do, though?

1 4 : 1 1 : 0 9   8      A.    Yes.    Some would, yes.

1 4 : 1 1 : 1 1   9      Q.    Okay.    And for those systems that rely on employees,

1 4 : 1 1 : 2 0   10     the employee would need to first know that a document

1 4 : 1 1 : 2 4   11     contains confidential information before the employee

1 4 : 1 1 : 2 7   12     would even naturally think to choose a security control,

1 4 : 1 1 : 3 1   13     right?

1 4 : 1 1 : 3 2   14     A.    No.    That's -- in the abstract, it's hard to say

1 4 : 1 1 : 3 9   15     because security controls could be many different things.

1 4 : 1 1 : 4 1   16     It can be software already running on the computer.

1 4 : 1 1 : 4 5   17     That's a security control that the employee doesn't know

1 4 : 1 1 : 5 0   18     is running on the computer, and it's protecting the

1 4 : 1 1 : 5 2   19     information.

1 4 : 1 1 : 5 2   20     Q.    Well, I'm talking about the ones that rely on the

1 4 : 1 1 : 5 5   21     employees.     Remember, we were only talking about those for

1 4 : 1 1 : 5 8   22     right now.

1 4 : 1 2 : 0 0   23     A.    Okay.

1 4 : 1 2 : 0 1   24     Q.    So an employee wouldn't use those security controls

1 4 : 1 2 : 0 5   25     if the employee didn't think that there was confidential
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1 4 : 1 2 : 0 9   1      information in a document, right?

1 4 : 1 2 : 1 1   2      A.    You're going to have to give me examples of what

1 4 : 1 2 : 1 5   3      types of security controls you're referring to.

1 4 : 1 2 : 1 7   4      Q.    Well, let's talk about the labeling system.            Right?

1 4 : 1 2 : 2 1   5            You talked about a labeling system earlier whereby an

1 4 : 1 2 : 2 6   6      employee can label documents as containing confidential

1 4 : 1 2 : 3 0   7      information or sensitive information.

1 4 : 1 2 : 3 3   8            Do you remember that?

1 4 : 1 2 : 3 3   9      A.    Yes.

1 4 : 1 2 : 3 4   10     Q.    Okay.    So when a document -- when a document is

1 4 : 1 2 : 3 7   11     created by an employee, just a blank document, and the

1 4 : 1 2 : 4 1   12     employee puts some information into that document, writes

1 4 : 1 2 : 4 4   13     a few lines of words, the employee has to assess whether

1 4 : 1 2 : 4 9   14     those words are confidential before the employee would

1 4 : 1 2 : 5 3   15     apply the correct label; is that -- isn't that right?

1 4 : 1 2 : 5 7   16     A.    That's not how it works at Qorvo.           My analysis showed

1 4 : 1 3 : 0 1   17     that Qorvo had those standard labels already built into

1 4 : 1 3 : 0 5   18     their templates, their presentations, their documents.              So

1 4 : 1 3 : 0 8   19     when they started something new, those labels would

1 4 : 1 3 : 1 1   20     already be there.

1 4 : 1 3 : 1 2   21     Q.    Oh, that's right.     There was a default label, wasn't

1 4 : 1 3 : 1 5   22     there?    Was it "private"?

1 4 : 1 3 : 1 7   23     A.    No.    "Private" refers to the classification, internal

1 4 : 1 3 : 2 1   24     classification policy, which is separate and apart from

1 4 : 1 3 : 2 5   25     the labeling practice.
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                                                  Robinson

1 4 : 1 3 : 2 9   1      Q.    Okay.    What was the default label, then?

1 4 : 1 3 : 3 3   2      A.    Well, if a Qorvo employee took a -- wanted to create

1 4 : 1 3 : 3 7   3      a presentation, it would have "Confidential and

1 4 : 1 3 : 3 9   4      Proprietary" already in the footer, along with the logos

1 4 : 1 3 : 4 4   5      and the graphics.      It's part of Qorvo's branding.

1 4 : 1 3 : 4 7   6      Q.    I see.

1 4 : 1 3 : 4 9   7            So whenever an employee wants to create a

1 4 : 1 3 : 5 3   8      presentation in this instance, there would

1 4 : 1 3 : 5 6   9      automatically -- it would automatically be labeled

1 4 : 1 3 : 5 9   10     "confidential" from the get-go?

1 4 : 1 4 : 0 1   11     A.    That's how those types of documents and templates

1 4 : 1 4 : 0 5   12     would start.      And then it would be up to the employee to

1 4 : 1 4 : 0 8   13     decide if that should stay or if it's appropriate to

1 4 : 1 4 : 1 1   14     remove that label.

1 4 : 1 4 : 1 2   15     Q.    Okay.    When you submitted your expert report back in

1 4 : 1 4 : 2 2   16     November of 2023, you were not aware that documents that

1 4 : 1 4 : 2 8   17     had been labeled "Confidential" were posted to Qorvo's

1 4 : 1 4 : 3 2   18     public-facing website, right?

1 4 : 1 4 : 3 5   19     A.    Are you referring to the handful of documents that

1 4 : 1 4 : 3 8   20     were posted?

1 4 : 1 4 : 4 0   21     Q.    I'm referring to the documents that we discussed at

1 4 : 1 4 : 4 4   22     your deposition.

1 4 : 1 4 : 4 6   23     A.    Okay.

1 4 : 1 4 : 4 7   24     Q.    Yep.

1 4 : 1 4 : 4 8   25           Were you aware -- you were not aware of those when
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1542PageID
                                                                           Page 1218 of 2283
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                                                  Robinson

1 4 : 1 4 : 5 0   1      you submitted your expert report, right?

1 4 : 1 4 : 5 4   2      A.    No, not when I submitted my report.

1 4 : 1 4 : 5 5   3      Q.    Okay.

1 4 : 1 5 : 0 4   4            Someone from Qorvo informed you of that when you were

1 4 : 1 5 : 0 8   5      preparing for your deposition, right?

1 4 : 1 5 : 0 9   6      A.    It was an attorney who informed me, from Sheppard &

1 4 : 1 5 : 1 7   7      Mullin.

1 4 : 1 5 : 2 4   8      Q.    Okay.   Prior to that, you had been on phone calls

1 4 : 1 5 : 2 9   9      during which Qorvo attorneys had been on the call; is that

1 4 : 1 5 : 3 3   10     right?

1 4 : 1 5 : 3 6   11     A.    Yes, that's right.

1 4 : 1 5 : 3 7   12     Q.    Okay.   And this issue did not come up at that time?

1 4 : 1 5 : 4 3   13     A.    I mean, I think we were discussing different topics.

1 4 : 1 5 : 4 6   14     I was interviewing Qorvo employees on their information

1 4 : 1 5 : 5 0   15     security controls at that time.

1 4 : 1 5 : 5 1   16                   MS. SMITH:   Okay.   Your Honor, may I approach

1 4 : 1 6 : 0 4   17     the witness?

1 4 : 1 6 : 0 6   18                   THE COURT:   You may.

1 4 : 1 6 : 4 4   19     BY MS. SMITH:

1 4 : 1 6 : 4 5   20     Q.    Mr. Robinson, I've just handed you what has been

1 4 : 1 6 : 4 9   21     marked as PTX-1239.      Do you recognize this document?

1 4 : 1 6 : 5 3   22     A.    Yes, I do.

1 4 : 1 6 : 5 4   23     Q.    What is it?

1 4 : 1 6 : 5 6   24     A.    This is the Common Sense Guide to Mitigating Insider

1 4 : 1 7 : 0 0   25     Threats, the seventh edition.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                 1543PageID
                                                                            Page 1219 of 2283
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                                                  Robinson

1 4 : 1 7 : 0 2   1                   MS. SMITH:    Your Honor, I offer PTX-1239 into

1 4 : 1 7 : 0 5   2      evidence, please.

1 4 : 1 7 : 0 9   3                   THE COURT:    Without objection, it is marked and

1 4 : 1 7 : 1 0   4      received as 235.

1 4 : 1 7 : 1 4   5                   (Trial Exhibit No. 235 was admitted into

1 4 : 1 7 : 1 4   6      evidence.)

1 4 : 1 7 : 1 4   7                   MS. SMITH:    Thank you.

1 4 : 1 7 : 1 6   8                   May I have Page 2, please, Mr. Brown.

                  9      BY MS. SMITH:

1 4 : 1 7 : 3 0   10     Q.    All right.    Is this the Common Sense Guide you had

1 4 : 1 7 : 3 3   11     referred to earlier in your testimony?

1 4 : 1 7 : 3 8   12     A.    Yes, it is.

1 4 : 1 7 : 4 0   13     Q.    And this is the document that you relied on in

1 4 : 1 7 : 4 2   14     forming your opinions of Qorvo's information security

1 4 : 1 7 : 4 5   15     policies and procedures, right?

1 4 : 1 7 : 4 8   16     A.    Yes, it is.

1 4 : 1 7 : 5 0   17     Q.    And this guide describes 22 best practices that

1 4 : 1 7 : 5 3   18     organizations should implement to prevent and detect

1 4 : 1 7 : 5 7   19     insider threats, right?

1 4 : 1 8 : 0 1   20     A.    Yes, it is.

1 4 : 1 8 : 0 4   21                  MS. SMITH:    Mr. Brown, can we have Page 19.

1 4 : 1 8 : 0 7   22     BY MS. SMITH:

1 4 : 1 8 : 1 1   23     Q.    So shown here is "Best Practice 1:          Know and protect

1 4 : 1 8 : 1 6   24     your critical assets."

1 4 : 1 8 : 1 7   25           Do you see that?
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1544PageID
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                                                  Robinson

1 4 : 1 8 : 1 8   1      A.    Yes.

1 4 : 1 8 : 2 1   2      Q.    And Best Practice 1 is a best practice that you

1 4 : 1 8 : 2 4   3      considered in your report, right?

1 4 : 1 8 : 2 6   4      A.    I refer to this best practice in my report, yes.

1 4 : 1 8 : 3 0   5      Q.    "Critical asset" is a term that is used in the Common

1 4 : 1 8 : 3 7   6      Sense guide, right?

1 4 : 1 8 : 4 0   7      A.    Yes, it's listed here.

1 4 : 1 8 : 4 4   8      Q.    It includes intellectual property?

1 4 : 1 8 : 5 1   9      A.    It can include intellectual property, yes.

1 4 : 1 8 : 5 6   10     Q.    Trade secrets are a kind of intellectual property,

1 4 : 1 8 : 5 8   11     right?

1 4 : 1 8 : 5 9   12     A.    Typically, yes.

1 4 : 1 9 : 0 4   13                  MS. SMITH:    Can we have Page 24, please.

1 4 : 1 9 : 1 2   14     BY MS. SMITH:

1 4 : 1 9 : 1 2   15     Q.    So we're still in the Best Practice 1 section that

1 4 : 1 9 : 1 4   16     you relied on in your report.       Under the "Challenges to

1 4 : 1 9 : 1 9   17     asset identification" section, would you please read for

1 4 : 1 9 : 2 2   18     the record Item 2.

1 4 : 1 9 : 2 7   19     A.    So Number 2 says, "Determining appropriate metrics.

1 4 : 1 9 : 3 3   20     The organization should determine what a critical asset is

1 4 : 1 9 : 3 7   21     by identifying and using appropriate metrics.          Simply

1 4 : 1 9 : 4 0   22     asking the organization's stakeholders to report on their

1 4 : 1 9 : 4 4   23     critical assets will likely lead to overreporting."

1 4 : 1 9 : 5 0   24     Q.    Overreporting includes when an employee identifies

1 4 : 1 9 : 5 3   25     something as confidential when it's not confidential,
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                                                   Robinson

1 4 : 1 9 : 5 6   1      right?

1 4 : 1 9 : 5 8   2      A.    Are you reading that from somewhere in this?

1 4 : 2 0 : 0 3   3      Q.    No.   I'm asking you that question.

1 4 : 2 0 : 0 7   4      A.    I mean, it depends.       If you're referring to what it's

1 4 : 2 0 : 1 2   5      discussing here, this is talking about metrics.

1 4 : 2 0 : 1 6   6      Q.    Right.      Metrics to assess overreporting.      Well,

1 4 : 2 0 : 2 3   7      overreporting includes when an employee identifies

1 4 : 2 0 : 2 8   8      something as confidential when it's not confidential,

1 4 : 2 0 : 3 1   9      right?

1 4 : 2 0 : 3 2   10     A.    I don't know if that's what this is referring to

1 4 : 2 0 : 3 6   11     here.

1 4 : 2 0 : 4 5   12     Q.    What is overreporting, then?

1 4 : 2 0 : 4 7   13     A.    Depends on the context.       The example you are giving

1 4 : 2 0 : 4 9   14     is if an employee labels confidential information as

1 4 : 2 0 : 5 5   15     confidential, but this is about collecting metrics to

1 4 : 2 1 : 0 1   16     track or identify their critical assets.

1 4 : 2 1 : 0 4   17     Q.    Well, critical assets includes IP.

1 4 : 2 1 : 0 7   18     A.    In the definition of this, yes, but it could also

1 4 : 2 1 : 1 2   19     include lots of other things as well.

1 4 : 2 1 : 1 4   20     Q.    Right.      So are you saying that overreporting is not a

1 4 : 2 1 : 1 8   21     term applied to intellectual property?

1 4 : 2 1 : 2 3   22     A.    I mean, you're taking one word out of this entire

1 4 : 2 1 : 2 8   23     best practice and trying to apply it.          So it's hard for me

1 4 : 2 1 : 3 3   24     to just say "yes" or "no" to that question.

1 4 : 2 1 : 3 8   25     Q.    Okay.    Earlier, you talked about some confidential
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                                                   Robinson

1 4 : 2 1 : 4 3   1      documents that Qorvo alleges includes trade secrets.

1 4 : 2 1 : 4 9   2            Do you remember that?

1 4 : 2 1 : 5 5   3      A.    Could you repeat the question?        I'm sorry.

1 4 : 2 1 : 5 6   4      Q.    Earlier, you talked about some confidential -- some

1 4 : 2 1 : 5 8   5      documents that were labeled confidential that Qorvo is

1 4 : 2 2 : 0 3   6      currently alleging contains trade secrets?

1 4 : 2 2 : 0 9   7      A.    Yes.

1 4 : 2 2 : 1 0   8      Q.    Okay.    There were confidential labels on those

1 4 : 2 2 : 1 3   9      documents, correct?

1 4 : 2 2 : 1 4   10     A.    Yes, there were.

1 4 : 2 2 : 1 7   11     Q.    You did not assess whether those documents actually

1 4 : 2 2 : 2 0   12     contained confidential information, though, right?

1 4 : 2 2 : 2 6   13     A.    I reviewed the documents to see that they had

1 4 : 2 2 : 2 9   14     confidential labels or proprietary labels.

1 4 : 2 2 : 3 4   15     Q.    But you did not assess whether those documents

1 4 : 2 2 : 3 6   16     actually contained confidential information, right?

1 4 : 2 2 : 4 0   17     A.    No.    I mean, I was told these are part of the --

1 4 : 2 2 : 4 3   18     Qorvo's trade secret information, so I just looked to

1 4 : 2 2 : 4 7   19     check and make sure that they had the right labels.

1 4 : 2 2 : 4 9   20     Q.    Okay.    So you were told that they contained trade

1 4 : 2 2 : 5 2   21     secrets; is that right?

1 4 : 2 2 : 5 4   22     A.    They were part of Qorvo's alleged trade secret

1 4 : 2 2 : 5 7   23     information that was at issue in this case.

1 4 : 2 3 : 0 0   24     Q.    Right.      And you are not saying that they actually

1 4 : 2 3 : 0 1   25     contained trade secrets, because that is not your
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                                                   Robinson

1 4 : 2 3 : 0 4   1      expertise; is that right?

1 4 : 2 3 : 0 6   2      A.    Well, my expertise is information security, and you

1 4 : 2 3 : 1 0   3      have to take reasonable efforts to protect trade secret

1 4 : 2 3 : 1 3   4      information, so to that extent, it relates to trade

1 4 : 2 3 : 1 6   5      secrets, but all the other aspects, I'm not issuing any

1 4 : 2 3 : 2 0   6      opinions as to whether or not something is a trade secret.

1 4 : 2 3 : 2 3   7      Q.    You can't tell whether those documents actually

1 4 : 2 3 : 2 6   8      contains trade secrets, right?

1 4 : 2 3 : 2 9   9      A.    No.   I mean, that wasn't part of my assignment.

1 4 : 2 3 : 3 2   10     Q.    But that's also not part of your expertise, right?

1 4 : 2 3 : 3 7   11     A.    Well, strictly as it relates to efforts taken to

1 4 : 2 3 : 4 0   12     protect trade secrets, that ties back to my expertise in

1 4 : 2 3 : 4 4   13     information security.

1 4 : 2 3 : 4 5   14     Q.    Right.      So, Mr. Robinson, please listen to my

1 4 : 2 3 : 4 8   15     questions.     I'm asking you whether you know if those

1 4 : 2 3 : 5 3   16     documents contain trade secrets.         Do you know?

1 4 : 2 3 : 5 9   17     A.    I think that's the legal standard and that's the

1 4 : 2 4 : 0 2   18     process of going through and understanding what that

1 4 : 2 4 : 0 4   19     information is.       I was told by counsel these are the

1 4 : 2 4 : 0 8   20     alleged trade secret documents at issue in this case, so

1 4 : 2 4 : 1 1   21     that's why I analyzed them.

1 4 : 2 4 : 1 3   22     Q.    But you don't know whether they contain trade

1 4 : 2 4 : 1 6   23     secrets, right?       I just want to know what you know or you

1 4 : 2 4 : 2 0   24     don't know, that's all?

1 4 : 2 4 : 2 2   25     A.    No.   I mean, they may.      I don't know.
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                                                  Robinson

1 4 : 2 4 : 2 4   1      Q.    Okay.   And you just checked to see that they had a

1 4 : 2 4 : 2 9   2      confidential label on them?

1 4 : 2 4 : 3 1   3      A.    Yeah, I analyzed them and identified the appropriate

1 4 : 2 4 : 3 5   4      labels.

1 4 : 2 4 : 3 5   5      Q.    Okay.   Your analysis was only to check that they were

1 4 : 2 4 : 3 9   6      labeled "confidential," right?

1 4 : 2 4 : 4 2   7      A.    Well, I looked at a number of the different

1 4 : 2 4 : 4 4   8      documents, but that was one of the main purposes of my

1 4 : 2 4 : 4 9   9      analysis.

1 4 : 2 4 : 5 3   10     Q.    So you only checked to see that they had a

1 4 : 2 4 : 5 6   11     confidential label on them?

1 4 : 2 4 : 5 7   12     A.    For those documents, I looked to see where the labels

1 4 : 2 5 : 0 1   13     were and what the labels said.        In that case, they said

1 4 : 2 5 : 0 6   14     "confidential" and/or "proprietary."

1 4 : 2 5 : 0 9   15     Q.    So if the information in the documents were not

1 4 : 2 5 : 1 2   16     actually confidential, the label would be wrong.           Would

1 4 : 2 5 : 1 7   17     you agree with that?

1 4 : 2 5 : 2 2   18     A.    I mean, it depends.      I think we've talked about some

1 4 : 2 5 : 2 5   19     examples where, while information is being developed, it's

1 4 : 2 5 : 2 9   20     being created at Qorvo, it's going to be labeled as

1 4 : 2 5 : 3 2   21     "confidential," and then there may be a later point in

1 4 : 2 5 : 3 6   22     time where it's decided by Qorvo and the appropriate

1 4 : 2 5 : 3 9   23     stakeholders to remove that label so that it can be shared

1 4 : 2 5 : 4 3   24     with others appropriately.

1 4 : 2 5 : 4 5   25     Q.    Let's talk about that.
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                                                  Robinson

1 4 : 2 5 : 4 7   1            So as information is being developed internally to

1 4 : 2 5 : 5 6   2      Qorvo, it's just defaulted to confidential; is that

1 4 : 2 6 : 0 1   3      correct?

1 4 : 2 6 : 0 2   4      A.    No, no.     I mean, it depends on the information.       They

1 4 : 2 6 : 0 5   5      have practices in place on standard documents that will

1 4 : 2 6 : 0 8   6      have the label by default at the start, but there's other

1 4 : 2 6 : 1 3   7      types of information that wouldn't have that type of

1 4 : 2 6 : 1 6   8      label.

1 4 : 2 6 : 1 6   9      Q.    But there are documents such as presentations that

1 4 : 2 6 : 2 0   10     have a template that defaults to confidential from the

1 4 : 2 6 : 2 4   11     get-go; isn't that right?

1 4 : 2 6 : 3 1   12     A.    Yes, that's a good security practice because

1 4 : 2 6 : 3 3   13     presentations are often presented to an audience.           To have

1 4 : 2 6 : 3 7   14     that label from the start is smart versus not having it

1 4 : 2 6 : 4 0   15     and hoping that the author or the presenter goes back and

1 4 : 2 6 : 4 3   16     adds it later.

1 4 : 2 6 : 4 6   17           And there are certain documents that are written with

1 4 : 2 6 : 5 3   18     the intention of being shown to non-Qorvo individuals, but

1 4 : 2 6 : 5 8   19     bear that label from the get-go because they are presented

1 4 : 2 7 : 0 1   20     in template form -- or in presentation form, right?

1 4 : 2 7 : 0 7   21     A.    Well, yes, but there's a number of --

1 4 : 2 7 : 0 9   22     Q.    Thank you.

1 4 : 2 7 : 1 0   23     A.    -- reasons for that.

1 4 : 2 7 : 1 2   24     Q.    Well, we can get to that in a bit; we'll get to that

1 4 : 2 7 : 1 5   25     in a bit.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1550PageID
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                                                  Robinson

1 4 : 2 7 : 1 7   1            So earlier, you testified about Qorvo's data

1 4 : 2 7 : 2 9   2      identification and handling policy.

1 4 : 2 7 : 3 2   3            Do you remember that?

1 4 : 2 7 : 3 6   4      A.    You mean today?

1 4 : 2 7 : 3 8   5      Q.    Yes.

1 4 : 2 7 : 3 8   6      A.    I referred to it, yes.

1 4 : 2 7 : 4 0   7      Q.    Okay.

1 4 : 2 7 : 4 2   8                    MS. SMITH:   Mr. Brown, would you please pull up

1 4 : 2 7 : 4 5   9      PTX-1770, and that's been admitted as trial Exhibit 233.

1 4 : 2 7 : 5 1   10     Right.

1 4 : 2 7 : 5 1   11     BY MS. SMITH:

1 4 : 2 7 : 5 3   12     Q.    This is the document you were testifying about

1 4 : 2 7 : 5 4   13     earlier today, right?

1 4 : 2 7 : 5 6   14     A.    So this is the Acceptable Use Policy; I thought you

1 4 : 2 8 : 0 0   15     were referring to the Data Classification Policy.

1 4 : 2 8 : 0 3   16     Q.    The Acceptable Use Policy, that's right.

1 4 : 2 8 : 0 6   17                   MS. SMITH:   Would you please forward to Page 4

1 4 : 2 8 : 1 1   18     of the PDF.

1 4 : 2 8 : 1 9   19     BY MS. SMITH:

1 4 : 2 8 : 1 9   20     Q.    I would like to ask you about Items 5 and 6 on this

1 4 : 2 8 : 2 2   21     page.

1 4 : 2 8 : 2 7   22                   MS. SMITH:   There's one more line on Item 6.

1 4 : 2 8 : 2 9   23     Yes, thank you.

1 4 : 2 8 : 3 0   24     BY MS. SMITH:

1 4 : 2 8 : 3 5   25     Q.    So Item 6, "Sensitive information labeling."          At the
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                                                  Robinson

1 4 : 2 8 : 4 0   1      very end of that, it refers to a Data Classification

1 4 : 2 8 : 4 5   2      Policy.

1 4 : 2 8 : 4 5   3            Do you see that?

1 4 : 2 8 : 4 6   4      A.    Yes.

1 4 : 2 8 : 4 7   5      Q.    Did you review a Data Classification Policy when you

1 4 : 2 8 : 5 3   6      were preparing your report?

1 4 : 2 8 : 5 6   7      A.    Yes.

1 4 : 2 9 : 1 8   8                   MS. SMITH:    Your Honor, may I approach the

1 4 : 2 9 : 1 9   9      witness, please?

1 4 : 2 9 : 2 0   10                  THE COURT:    You may.

1 4 : 2 9 : 4 7   11     BY MS. SMITH:

1 4 : 2 9 : 4 8   12     Q.    Mr. Robinson, I've just handed you PTX-1214.          It's a

1 4 : 2 9 : 5 4   13     presentation entitled "Data Classification:          End user,"

1 4 : 2 9 : 5 9   14     and it's dated April 26, 2023.        Do you see that?

1 4 : 3 0 : 0 3   15     A.    Yes.

1 4 : 3 0 : 0 5   16     Q.    Do you recognize this document?

1 4 : 3 0 : 0 6   17     A.    Yes, I do.

1 4 : 3 0 : 1 1   18     Q.    You discussed this in your report, right?

1 4 : 3 0 : 1 4   19     A.    Yes, I did.

1 4 : 3 0 : 1 7   20                  MS. SMITH:    Your Honor, I offer PTX-1214 into

1 4 : 3 0 : 2 0   21     evidence, please.

1 4 : 3 0 : 2 2   22                  THE COURT:    Marked and received as 236.

1 4 : 3 0 : 2 4   23                  (Trial Exhibit No. 236 was admitted into

1 4 : 3 0 : 2 4   24     evidence.)

                  25
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1552PageID
                                                                           Page 1228 of 2283
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                                                  Robinson

1 4 : 3 0 : 2 5   1      BY MS. SMITH:

1 4 : 3 0 : 3 1   2      Q.    So sitting here today, do you believe that the

1 4 : 3 0 : 3 6   3      standard for data classification procedures is whether a

1 4 : 3 0 : 3 9   4      company has a formal process, which Qorvo does; and, two,

1 4 : 3 0 : 4 4   5      whether that process is used properly to classify

1 4 : 3 0 : 4 9   6      information throughout the organization?

1 4 : 3 0 : 5 4   7      A.    Could you repeat that question?        I'm sorry.

1 4 : 3 0 : 5 6   8      Q.    Sure.   Sitting here today, is it your opinion that

1 4 : 3 1 : 0 0   9      the standard for data classification procedures is; one,

1 4 : 3 1 : 0 5   10     whether a company has a formal process, which Qorvo does;

1 4 : 3 1 : 1 0   11     and, two, whether that process is used appropriately to

1 4 : 3 1 : 1 6   12     classify information throughout the organization?

1 4 : 3 1 : 2 3   13     A.    Yes.    Generally yes.

1 4 : 3 1 : 2 5   14     Q.    And data classification categories help employees

1 4 : 3 1 : 2 9   15     internally categorize or identify information, right?

1 4 : 3 1 : 3 4   16     A.    Yes.

1 4 : 3 1 : 3 6   17                   MS. SMITH:   Mr. Brown, would you please scroll

1 4 : 3 1 : 3 8   18     to Page 4.    Can we zoom in on that?      Great.    Thank you.

1 4 : 3 1 : 4 6   19     BY MS. SMITH:

1 4 : 3 1 : 4 6   20     Q.    At Qorvo, data can be classified internally as

1 4 : 3 1 : 5 1   21     critical, sensitive, private, or unrestricted, right?

1 4 : 3 1 : 5 4   22     A.    Yes.

1 4 : 3 1 : 5 7   23     Q.    And a label on a document that contains critical data

1 4 : 3 2 : 0 0   24     should say, "critical," right?

1 4 : 3 2 : 0 2   25     A.    No, not exactly.     You're -- labeling and
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                                                  Robinson

1 4 : 3 2 : 1 2   1      classification, those are two different things.             A label

1 4 : 3 2 : 1 5   2      is those words like "confidential" and "proprietary" that

1 4 : 3 2 : 1 8   3      are in documents and you can see them.            It could be a

1 4 : 3 2 : 2 2   4      sticker on a hard drive or on a computer.            The

1 4 : 3 2 : 2 6   5      classifications in these examples of "critical,"

1 4 : 3 2 : 2 8   6      "sensitive," "private," "green," that's -- it could be a

1 4 : 3 2 : 3 3   7      separate classification.       It might not show up on the

1 4 : 3 2 : 3 7   8      information that you are looking at.         The internal system

1 4 : 3 2 : 3 9   9      classifies it and knows that this is critical or this is

1 4 : 3 2 : 4 3   10     private.    It might be displayed, but it depends on the

1 4 : 3 2 : 4 6   11     context.

1 4 : 3 2 : 4 7   12     Q.    So this might be an invisible classification; is that

1 4 : 3 2 : 5 0   13     what you're saying?

1 4 : 3 2 : 5 1   14     A.    Not invisible, no.      It's just there's a whole system

1 4 : 3 2 : 5 4   15     internally that Qorvo implemented to help classify all the

1 4 : 3 2 : 5 8   16     different information that gets created on a regular basis

1 4 : 3 3 : 0 1   17     as they're conducting business.

1 4 : 3 3 : 0 4   18     Q.    Trade secrets are considered critical; is that

1 4 : 3 3 : 0 7   19     correct?

1 4 : 3 3 : 0 9   20     A.    So this slide here has examples of the different

1 4 : 3 3 : 1 4   21     classifications, and it has trade secrets in the first box

1 4 : 3 3 : 1 7   22     that's red, but the other types of information in

1 4 : 3 3 : 2 1   23     "sensitive" and "private," may also rise to the legal

1 4 : 3 3 : 2 4   24     standard of a trade secret.       And at the bottom, just

1 4 : 3 3 : 2 9   25     before that black border, you'll see that it says,
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1554PageID
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                                                      #: 41201- Cross
                                                  Robinson

1 4 : 3 3 : 3 3   1      "Unauthorized disclosure of data classified as critical,

1 4 : 3 3 : 3 6   2      sensitive, or private, may cause irreparable harm to

1 4 : 3 3 : 4 2   3      Qorvo, and that type of information may rise to a trade

1 4 : 3 3 : 4 5   4      secret."

1 4 : 3 3 : 4 5   5      Q.    So trade secret can be in any of these

1 4 : 3 3 : 4 9   6      classifications?

1 4 : 3 3 : 5 2   7      A.    Potentially.     I mean, based on the information, if

1 4 : 3 3 : 5 4   8      it's kept secret, it has value, and the other legal

1 4 : 3 4 : 0 1   9      criteria information in these private, sensitive, and red

1 4 : 3 4 : 0 6   10     might rise to the level of a trade secret.

1 4 : 3 4 : 0 8   11     Q.    Okay.

1 4 : 3 4 : 0 8   12     A.    These are just examples to help employees, the end

1 4 : 3 4 : 1 2   13     users -- because this is a training document for the

1 4 : 3 4 : 1 4   14     employees, the end users -- to learn and understand how to

1 4 : 3 4 : 1 8   15     use Qorvo's internal data classification system.

1 4 : 3 4 : 2 1   16     Q.    Okay.

1 4 : 3 4 : 2 4   17                   MS. SMITH:   Mr. Brown, may I have Page 2.

1 4 : 3 4 : 3 5   18                   Can you please focus on the second-to-last pair

1 4 : 3 4 : 3 8   19     of bullets.

1 4 : 3 4 : 4 1   20     BY MS. SMITH:

1 4 : 3 4 : 4 5   21     Q.    At Qorvo, if an employee has questions regarding

1 4 : 3 4 : 4 8   22     which classification best applies to data, the employee is

1 4 : 3 4 : 5 2   23     supposed to contact his or her supervisor, manager, or

1 4 : 3 4 : 5 7   24     senior leader, right?

1 4 : 3 4 : 5 9   25     A.    That's what this says here, yes.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1555PageID
                                                                           Page 1231 of 2283
                                                      #: 41202- Cross
                                                  Robinson

1 4 : 3 5 : 0 2   1      Q.    Prior to submitting your report, you did not speak to

1 4 : 3 5 : 0 6   2      any Qorvo employee who had had difficulty determining

1 4 : 3 5 : 1 0   3      whether information was confidential, correct?

1 4 : 3 5 : 1 5   4      A.    No.

1 4 : 3 5 : 1 6   5      Q.    Prior to submitting your report, you did not speak to

1 4 : 3 5 : 1 9   6      any Qorvo employee who had been approached by another

1 4 : 3 5 : 2 3   7      employee for help in determining whether information was

1 4 : 3 5 : 2 7   8      confidential, correct?

1 4 : 3 5 : 3 1   9      A.    Correct.

1 4 : 3 5 : 3 3   10     Q.    Okay.    To complete your assignment, you spoke to

1 4 : 3 5 : 5 5   11     individuals from Qorvo's information security team, right?

1 4 : 3 5 : 5 9   12     A.    Yes.    Well, information security and other teams.

1 4 : 3 6 : 0 3   13     Q.    Okay.    Because there are other employees involved in

1 4 : 3 6 : 0 7   14     information security?

1 4 : 3 6 : 1 0   15     A.    Well, all employees play a role, and certain

1 4 : 3 6 : 1 4   16     departments have certain functions they need to follow.

1 4 : 3 6 : 1 6   17     Q.    Okay.    So in addition to the information security

1 4 : 3 6 : 2 0   18     team, Qorvo's legal department is also involved in

1 4 : 3 6 : 2 4   19     information security, right?

1 4 : 3 6 : 2 6   20     A.    Yes.

1 4 : 3 6 : 2 8   21     Q.    And the legal department is responsible for

1 4 : 3 6 : 3 2   22     intellectual property protection and training, right?

1 4 : 3 6 : 3 4   23     A.    I don't know if they're solely responsible, but they

1 4 : 3 6 : 4 0   24     have responsibilities related to that.

1 4 : 3 6 : 4 7   25     Q.    This training includes training employees on how to
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1556PageID
                                                                           Page 1232 of 2283
                                                      #: 41203- Cross
                                                  Robinson

1 4 : 3 6 : 5 2   1      tell what is and what isn't confidential in order to

1 4 : 3 6 : 5 6   2      classify information correctly, right?

1 4 : 3 7 : 0 2   3      A.     Which training are you referring to?        A specific

1 4 : 3 7 : 0 5   4      training presentation or just in general?

1 4 : 3 7 : 0 8   5      Q.     Just in general, their responsibility includes

1 4 : 3 7 : 1 0   6      helping employees understand what is and what isn't

1 4 : 3 7 : 1 3   7      confidential?

1 4 : 3 7 : 1 5   8      A.     That's -- that would be something common -- that

1 4 : 3 7 : 2 1   9      would be common for legal to help an employee understand,

1 4 : 3 7 : 2 4   10     yes.

1 4 : 3 7 : 2 5   11     Q.     Okay.    Prior to submitting your report, you

1 4 : 3 7 : 2 8   12     participated on calls with Qorvo employees that included

1 4 : 3 7 : 3 2   13     Qorvo's legal department, right?

1 4 : 3 7 : 3 4   14     A.     Yes.

1 4 : 3 7 : 3 6   15     Q.     On those calls that were prior to submitting your

1 4 : 3 7 : 4 0   16     report, the employees from Qorvo's legal department only

1 4 : 3 7 : 4 5   17     introduced themselves and said their names and titles, but

1 4 : 3 7 : 4 7   18     they were just listening in on the calls, and you didn't

1 4 : 3 7 : 5 0   19     speak to them, correct?

1 4 : 3 7 : 5 1   20     A.     Yes.

1 4 : 3 7 : 5 3   21     Q.     You didn't ask the legal department any questions on

1 4 : 3 7 : 5 6   22     those calls?

1 4 : 3 7 : 5 9   23     A.     No.    Other than just introductions and names.

1 4 : 3 8 : 0 2   24     Q.     And you didn't gather information from the legal

1 4 : 3 8 : 0 4   25     department on those calls?
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1557PageID
                                                                           Page 1233 of 2283
                                                      #: 41204- Cross
                                                  Robinson

1 4 : 3 8 : 0 8   1      A.    No.

1 4 : 3 8 : 0 9   2      Q.    You never requested to speak with Qorvo's legal

1 4 : 3 8 : 1 2   3      department about information security; is that right?

1 4 : 3 8 : 1 6   4      A.    That's correct.

1 4 : 3 8 : 2 1   5      Q.    So another team that is involved in information

1 4 : 3 8 : 2 4   6      security is the human resources department, right?

1 4 : 3 8 : 2 8   7      A.    Yes.

1 4 : 3 8 : 3 0   8      Q.    And that department has responsibilities for hiring

1 4 : 3 8 : 3 3   9      and terminating employees, right?

1 4 : 3 8 : 3 7   10     A.    Yes.    Generally, yes.

1 4 : 3 8 : 3 8   11     Q.    Termination's a kind of separation, right?

1 4 : 3 8 : 4 4   12     A.    Generally yes.

1 4 : 3 8 : 4 5   13     Q.    You didn't speak to anybody in Qorvo's human

1 4 : 3 8 : 4 9   14     resources department for -- to prepare your opinions,

1 4 : 3 8 : 5 2   15     right?

1 4 : 3 8 : 5 4   16     A.    Well, I relied upon documents that HR created and

1 4 : 3 8 : 5 8   17     maintained rather than interviewing someone from HR.

1 4 : 3 9 : 0 4   18     Q.    You never requested to talk about anybody -- talk to

1 4 : 3 9 : 0 7   19     anybody from HR?

1 4 : 3 9 : 0 9   20     A.    No.

1 4 : 3 9 : 1 0   21     Q.    Okay.   Earlier today during your testimony, you

1 4 : 3 9 : 2 3   22     talked about USB drives, external drives.

1 4 : 3 9 : 2 8   23           Do you remember that?

1 4 : 3 9 : 3 2   24     A.    I don't know if I specifically said "USB drives," but

1 4 : 3 9 : 3 4   25     I may have.
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                                                      #: 41205- Cross
                                                  Robinson

1 4 : 3 9 : 4 5   1      Q.    Earlier today -- you were here when Mr. Boyd

1 4 : 3 9 : 4 8   2      testified?

1 4 : 3 9 : 4 9   3      A.    Yes.

1 4 : 3 9 : 4 9   4      Q.    And you heard when he talked about USB drives and how

1 4 : 3 9 : 5 3   5      Qorvo wanted to restrict flow of data to USB drives

1 4 : 3 9 : 5 8   6      because, his words were, "They could go anywhere."

1 4 : 4 0 : 0 1   7            Is that right?

1 4 : 4 0 : 0 2   8      A.    Yes.

1 4 : 4 0 : 0 2   9      Q.    And just for clarity, USB drives are those little

1 4 : 4 0 : 0 7   10     thumb drives that are very small and you just can connect

1 4 : 4 0 : 0 9   11     to your computer and store information; is that right?

1 4 : 4 0 : 1 3   12     A.    They can be small or they can be larger.         But, yeah,

1 4 : 4 0 : 1 7   13     they're external drives that connect to a computer.

1 4 : 4 0 : 2 0   14     Q.    But the point is that they're very portable and

1 4 : 4 0 : 2 2   15     they're small so you can -- it's difficult to visually see

1 4 : 4 0 : 2 9   16     when people use them; they're easily removable?

1 4 : 4 0 : 3 6   17     A.    I don't know if they're designed to be small so

1 4 : 4 0 : 3 8   18     they're hard to see.      It might be more convenient that

1 4 : 4 0 : 4 0   19     they're more portable.      But, yeah, their purpose is to

1 4 : 4 0 : 4 5   20     store data or transfer data.

1 4 : 4 0 : 4 7   21     Q.    Now, Qorvo has a "no USB" policy currently, doesn't

1 4 : 4 0 : 5 8   22     it.

1 4 : 4 1 : 0 0   23     A.    Yes.   Currently, they don't allow USB drives, unless

1 4 : 4 1 : 0 6   24     there's a specific exception that someone's been granted

1 4 : 4 1 : 0 8   25     to use a USB drive.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1559PageID
                                                                           Page 1235 of 2283
                                                      #: 41206- Cross
                                                  Robinson

1 4 : 4 1 : 1 2   1      Q.    And that policy came into effect in 2019; is that

1 4 : 4 1 : 1 5   2      right?

1 4 : 4 1 : 1 7   3      A.    Qorvo shifted to that in 2019.       Before that, there

1 4 : 4 1 : 2 2   4      were many Qorvo employees who needed USB drives to move

1 4 : 4 1 : 2 6   5      data from one Qorvo computer to the other, and that's --

1 4 : 4 1 : 3 0   6      that was approved, as long as they were doing it for

1 4 : 4 1 : 3 4   7      approved Qorvo business reasons.

1 4 : 4 1 : 4 3   8      Q.    Well, let me step back a little bit.

1 4 : 4 1 : 4 6   9            Prior -- in 2019, the Qorvo "no USB" policy

1 4 : 4 1 : 5 1   10     instituted an actual -- a physical block on using USB

1 4 : 4 1 : 5 7   11     drives, right?

1 4 : 4 1 : 5 9   12     A.    Prior to 2019, there was no actual physical thing

1 4 : 4 2 : 0 4   13     that would prevent a USB drive from being corrected.

1 4 : 4 2 : 0 9   14     That's how Qorvo was set up at the time.

1 4 : 4 2 : 1 2   15     Q.    But prior to 2019, there was a policy that employees

1 4 : 4 2 : 1 9   16     should -- in general, should not use USB drives?

1 4 : 4 2 : 2 4   17     A.    I don't know if it was a formal policy or a practice,

1 4 : 4 2 : 2 7   18     but Qorvo's chief information security officer explained

1 4 : 4 2 : 3 3   19     that they allowed USB drives, and they were used for

1 4 : 4 2 : 3 8   20     approved business reasons.

1 4 : 4 2 : 4 0   21           They gave an example of if you had to move data from

1 4 : 4 2 : 4 3   22     a computer to a separate test computer that wasn't on the

1 4 : 4 2 : 4 7   23     network, that's where you would need a USB drive to get

1 4 : 4 2 : 5 0   24     that data over to the computer because you couldn't just

1 4 : 4 2 : 5 4   25     e-mail it.    And for those reasons, Qorvo employees were
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                                                                            Page 1236 of 2283
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                                                   Robinson

1 4 : 4 2 : 5 7   1      allowed to use USB drives for approved business reasons,

1 4 : 4 3 : 0 0   2      which was pretty consistent with the rest of business

1 4 : 4 3 : 0 3   3      environments in 2015 to 2018 or '19.

1 4 : 4 3 : 0 9   4      Q.    So, in general, you're not supposed to use USB

1 4 : 4 3 : 1 4   5      drives, but there were specific reasons that if you

1 4 : 4 3 : 1 6   6      obtained approval for, you could use USB drives?

1 4 : 4 3 : 2 0   7      A.    Well, yeah, I mean, Qorvo's -- all of their existing

1 4 : 4 3 : 2 4   8      policies and confidentiality agreements say that you can

1 4 : 4 3 : 2 6   9      only use Qorvo business information for approved business

1 4 : 4 3 : 3 0   10     purposes, and that extends to if that information was on

1 4 : 4 3 : 3 3   11     USB drives.

1 4 : 4 3 : 3 4   12     Q.    Okay.    So back in 2005 to 2008 before the physical

1 4 : 4 3 : 4 0   13     block was instituted, USB drives were small at that time

1 4 : 4 3 : 4 6   14     also, right?

1 4 : 4 3 : 4 7   15     A.    I think I said 2005 earlier; I meant two thousand --

1 4 : 4 3 : 4 9   16     well, it depends.         2015 is when Qorvo --

1 4 : 4 3 : 5 4   17     Q.    I'm sorry, two thousand --

1 4 : 4 3 : 5 4   18     A.    -- not 2005.

1 4 : 4 3 : 5 4   19     Q.    Sorry.      2015.   You're right.

1 4 : 4 3 : 5 7   20     A.    Could you repeat the question?

1 4 : 4 3 : 5 8   21     Q.    Back in 2015 to 2018, the USB drives were small at

1 4 : 4 4 : 0 3   22     that time already, right?

1 4 : 4 4 : 0 5   23     A.    Some were.     I mean, it depends.      I mean, they're

1 4 : 4 4 : 0 9   24     about a finger in size; I guess some could be smaller.             It

1 4 : 4 4 : 1 2   25     just depends.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1561PageID
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                                                  Robinson

1 4 : 4 4 : 1 3   1      Q.    So Qorvo knew back in 2015 that USB drives could go

1 4 : 4 4 : 1 7   2      anywhere, but didn't actually block the use of USB drives

1 4 : 4 4 : 2 1   3      until 2019; is that right?

1 4 : 4 4 : 2 3   4      A.    So part of information security is mitigating risks,

1 4 : 4 4 : 2 7   5      so Qorvo knew that there was a risk with USB drives, but

1 4 : 4 4 : 3 3   6      they allowed it because there were proper business reasons

1 4 : 4 4 : 3 7   7      for employees to use those in conducting their work.

1 4 : 4 4 : 4 1   8      Q.    But that's only with approval, right?

1 4 : 4 4 : 4 6   9      A.    Yes.

1 4 : 4 4 : 4 7   10     Q.    Before 2019, even without approval, employees were

1 4 : 4 4 : 5 2   11     capable of using USB drives against the Qorvo policy at

1 4 : 4 4 : 5 9   12     that time -- right? -- because there was no block?

1 4 : 4 5 : 0 4   13     A.    You might -- there's a distinction between you're

1 4 : 4 5 : 0 8   14     approved to use USB drives as long as it's for business

1 4 : 4 5 : 1 2   15     purposes, versus later where they said, "We're not

1 4 : 4 5 : 1 5   16     allowing USB drives unless you have a specific exception,

1 4 : 4 5 : 1 7   17     you've asked somebody, they say, 'Okay, fine, you can use

1 4 : 4 5 : 2 1   18     this drive to transfer data.'"

1 4 : 4 5 : 2 3   19           So that happened in the 2018 time frame, but I don't

1 4 : 4 5 : 2 7   20     know what your question relates to.

1 4 : 4 5 : 2 9   21     Q.    My question relates to the 2015 to the 2019 time

1 4 : 4 5 : 3 4   22     frame before the block was instituted.

1 4 : 4 5 : 3 7   23     A.    Okay.

1 4 : 4 5 : 3 8   24     Q.    In that time frame, a Qorvo employee could, without

1 4 : 4 5 : 4 5   25     permission, use a USB drive to transfer information out of
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1562PageID
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                                                  Robinson

1 4 : 4 5 : 5 3   1      Qorvo computer?

1 4 : 4 5 : 5 5   2      A.    Well, I mean, that's the challenge with employees --

1 4 : 4 5 : 5 9   3      Q.    Is that a "yes"?

1 4 : 4 6 : 0 0   4      A.    -- an employee can do anything --

1 4 : 4 6 : 0 2   5      Q.    They can use -- they were capable of doing that

1 4 : 4 6 : 0 4   6      because there was no block?

1 4 : 4 6 : 0 6   7      A.    Well, as I saying, I mean, that's the challenge of

1 4 : 4 6 : 0 8   8      employees.    Employees can do anything if they are going to

1 4 : 4 6 : 1 1   9      take bad intentions and not follow their agreements or

1 4 : 4 6 : 1 6   10     follow the policies, they could copy data to USBs even

1 4 : 4 6 : 2 1   11     though they're only supposed to do it for business

1 4 : 4 6 : 2 3   12     purposes.

1 4 : 4 6 : 2 3   13     Q.    But Qorvo knew that back in 2015 -- I mean, that's

1 4 : 4 6 : 2 5   14     not a new thing that Qorvo understood only in 2019, right?

1 4 : 4 6 : 2 9   15     Qorvo knew that in 2015, but they didn't institute the

1 4 : 4 6 : 3 2   16     block until 2019, right?

1 4 : 4 6 : 3 6   17     A.    So that's -- many companies were in the same

1 4 : 4 6 : 4 2   18     situation then and still today, where they allow employees

1 4 : 4 6 : 4 7   19     to use USB drives and don't block it.         They are accepting

1 4 : 4 6 : 5 0   20     the risk, but they are hoping and relying on their

1 4 : 4 6 : 5 3   21     security controls like employee confidentiality

1 4 : 4 6 : 5 7   22     agreements, monitoring, and other things, to still --

1 4 : 4 7 : 0 0   23     reduce that risk, but still allow the employees to use

1 4 : 4 7 : 0 3   24     those types of devices for work purposes.          It's just a

1 4 : 4 7 : 0 6   25     risk that they accepted during that time.          And it's
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1563PageID
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                                                  Robinson

1 4 : 4 7 : 0 9   1      similar to how many, many other companies accepted that

1 4 : 4 7 : 1 2   2      same risk.

1 4 : 4 7 : 1 3   3      Q.     So earlier, you said that when RFMD and TriQuint came

1 4 : 4 7 : 1 9   4      together to form Qorvo, one of its top priorities was to

1 4 : 4 7 : 2 5   5      protect intellectual property and confidential

1 4 : 4 7 : 3 0   6      information.      That was back in 2015.     And despite that,

1 4 : 4 7 : 3 4   7      Qorvo was okay with the risk?

1 4 : 4 7 : 4 3   8      A.     They had -- that was a prior to their information

1 4 : 4 7 : 4 7   9      security program.      That was per Todd Martin, the current

1 4 : 4 7 : 5 0   10     CIO.    Mr. Boyd echoed that that's still one of their main

1 4 : 4 7 : 5 5   11     objectives today.      They -- it's a balance of, they need

1 4 : 4 8 : 0 2   12     access to the data, they need to perform their duties, but

1 4 : 4 8 : 0 5   13     then there's a trade-off of, you know, accepting some

1 4 : 4 8 : 0 9   14     risks and using other security controls to help protect

1 4 : 4 8 : 1 1   15     confidential information.

1 4 : 4 8 : 1 5   16     Q.     Who is Josh Adams?

1 4 : 4 8 : 1 8   17     A.     I don't know if I know who Josh Adams is.

1 4 : 4 8 : 2 8   18     Q.     One of the categories that you assessed on your list

1 4 : 4 8 : 3 0   19     of ten mentioned audits.       Does that refresh your memory as

1 4 : 4 8 : 3 6   20     to who is Josh Adams?

1 4 : 4 8 : 4 0   21     A.     No.

1 4 : 4 8 : 4 4   22     Q.     Okay.   Well, we can go on.

1 4 : 4 8 : 4 5   23            Audits and testing help determine the effectiveness

1 4 : 4 8 : 4 8   24     of existing security controls, right?

1 4 : 4 8 : 5 4   25     A.     Yes.
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1564PageID
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                                                  Robinson

1 4 : 4 8 : 5 4   1      Q.    And they help identify potential gaps in existing

1 4 : 4 8 : 5 7   2      security controls that should be addressed, right?

1 4 : 4 9 : 0 2   3      A.    Should or could be addressed.

1 4 : 4 9 : 0 5   4      Q.    And reasonable security efforts require auditing

1 4 : 4 9 : 0 9   5      information security policies every now and then, right?

1 4 : 4 9 : 1 3   6      A.    I wouldn't say it requires it.       If you conduct audits

1 4 : 4 9 : 1 8   7      and testing, that's a sign of having reasonable security

1 4 : 4 9 : 2 2   8      measures.     I don't know if it's absolutely required; it

1 4 : 4 9 : 2 5   9      would depend on the circumstances.

1 4 : 4 9 : 3 0   10     Q.    So you are aware that there is an employee at Qorvo

1 4 : 4 9 : 3 4   11     who is in charge of internal audits, right?

1 4 : 4 9 : 3 7   12     A.    Yes.

1 4 : 4 9 : 3 7   13     Q.    Okay.   So here's the spoiler.      Spoiler alert.     It's

1 4 : 4 9 : 4 2   14     Josh Adams.

1 4 : 4 9 : 4 4   15           And Josh Adams, as the person in charge of internal

1 4 : 4 9 : 4 8   16     audits, he comes up with an audit plan that includes

1 4 : 4 9 : 5 2   17     aspects of Qorvo's business that will be tested each year

1 4 : 4 9 : 5 6   18     for the yearly audit, right?

1 4 : 4 9 : 5 8   19     A.    Yes.

1 4 : 5 0 : 0 0   20     Q.    When you prepared your report, you didn't review any

1 4 : 5 0 : 0 3   21     Qorvo audit plan, right?

1 4 : 5 0 : 0 6   22     A.    I reviewed reports to Qorvo's audit committee on

1 4 : 5 0 : 1 2   23     their board of directors, so summaries or information

1 4 : 5 0 : 1 5   24     about audits that had been conducted.

1 4 : 5 0 : 1 8   25     Q.    And you are not aware of any audit plan that included
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                1565PageID
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                                                  Robinson

1 4 : 5 0 : 2 2   1      analysis of Qorvo's procedures for handling the computers

1 4 : 5 0 : 2 5   2      used by terminated employees, right?

1 4 : 5 0 : 3 1   3      A.    I don't recall if that was listed in one of the

1 4 : 5 0 : 3 4   4      documents I reviewed.      I don't know.

1 4 : 5 0 : 3 7   5      Q.    So during the depo, do you remember you had described

1 4 : 5 0 : 3 9   6      that as a niche -- a "niche request," and that you had not

1 4 : 5 0 : 4 5   7      seen any audit plans or audit plan reports that analyzed

1 4 : 5 0 : 5 3   8      computers -- handling of computers used by terminated

1 4 : 5 0 : 5 6   9      employees?

1 4 : 5 0 : 5 9   10     A.    Yeah.   I think what I believe I was referring to

1 4 : 5 1 : 0 2   11     there is, like, those specific words, I don't know if

1 4 : 5 1 : 0 5   12     those would show up versus a more general description in

1 4 : 5 1 : 0 8   13     the types of documents that I reviewed.

1 4 : 5 1 : 1 4   14     Q.    So is it still your opinion that Qorvo took

1 4 : 5 1 : 1 9   15     reasonable efforts to keep its confidential and alleged

1 4 : 5 1 : 2 3   16     trade secret information confidential?

1 4 : 5 1 : 2 5   17     A.    Yes.

1 4 : 5 1 : 2 6   18     Q.    Okay.   Despite not speaking to anyone in legal about

1 4 : 5 1 : 3 0   19     classification and labeling?

1 4 : 5 1 : 3 6   20     A.    I mean, I reviewed the different policies and

1 4 : 5 1 : 3 8   21     documents and interviewed other Qorvo employees, so I

1 4 : 5 1 : 4 1   22     didn't feel it was necessary.

1 4 : 5 1 : 4 4   23     Q.    Sitting here today, do you know whether employees at

1 4 : 5 1 : 5 0   24     Qorvo understand those policies?

1 4 : 5 1 : 5 5   25     A.    Well, employees, that's -- again, the very dynamic,
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                                                  Robinson

1 4 : 5 2 : 0 0   1      and it's a challenging aspect of business -- you can't

1 4 : 5 2 : 0 3   2      profile an employee to know which ones are going to act

1 4 : 5 2 : 0 8   3      with bad intentions.      You can issue clear policies, you

1 4 : 5 2 : 1 1   4      can train them, you can have them review their agreements

1 4 : 5 2 : 1 4   5      and remind them on their way out.

1 4 : 5 2 : 1 6   6            You can't -- as a business, you can't get inside

1 4 : 5 2 : 1 8   7      their head and know exactly what they think.          And you

1 4 : 5 2 : 2 3   8      can't monitor the heck out of them where you're invading

1 4 : 5 2 : 2 7   9      their privacy and recording their every move or keystroke.

1 4 : 5 2 : 3 1   10     It's that balance of accepting risk and putting in proper

1 4 : 5 2 : 3 4   11     security controls.

1 4 : 5 2 : 3 5   12     Q.    That's not my question, though.

1 4 : 5 2 : 3 6   13           In preparing your report, you did not try to assess

1 4 : 5 2 : 4 0   14     whether the policies were clear to employees, right?

1 4 : 5 2 : 4 5   15     A.    I read the policies and found them to be clear

1 4 : 5 2 : 5 0   16     myself.

1 4 : 5 2 : 5 0   17     Q.    Okay.    And you are an information security expert; is

1 4 : 5 2 : 5 4   18     that right?

1 4 : 5 2 : 5 5   19     A.    Yes.

1 4 : 5 2 : 5 6   20     Q.    And it was clear to you, as an expert?

1 4 : 5 2 : 5 9   21     A.    No.    It was clear to me as, is this clear, concise?

1 4 : 5 3 : 0 4   22     Is this something that's understandable, this policy or

1 4 : 5 3 : 0 8   23     this information?      It wasn't, is it clear to an

1 4 : 5 3 : 1 0   24     information security expert.

1 4 : 5 3 : 1 3   25     Q.    But you never actually talked to any employees to
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                                                Robinson    - Redirect

1 4 : 5 3 : 1 6   1      determine whether they could understand the policies?

1 4 : 5 3 : 2 1   2      A.    No.   I had the policies themselves.        I could just

1 4 : 5 3 : 2 3   3      read the policies.

1 4 : 5 3 : 2 5   4      Q.    Okay.

1 4 : 5 3 : 2 7   5            Thank you.

1 4 : 5 3 : 2 7   6                    MS. SMITH:   No further questions.

1 4 : 5 3 : 2 9   7                    THE COURT:   Redirect.

1 4 : 5 3 : 3 3   8                    MR. NAQVI:   Just two questions, Mr. Robinson.

1 4 : 5 3 : 3 4   9                             REDIRECT EXAMINATION

1 4 : 5 3 : 3 5   10     BY MR. NAQVI:

1 4 : 5 3 : 3 5   11     Q.    Can you give the jury a sense of the volume of

1 4 : 5 3 : 3 8   12     documents that are posted on Qorvo's website?

1 4 : 5 3 : 4 1   13     A.    So I reviewed their website, and they have thousands

1 4 : 5 3 : 4 4   14     of documents, product spec sheets, marketing materials,

1 4 : 5 3 : 4 8   15     other things that potential customers or website browser

1 4 : 5 3 : 5 2   16     would want to read.      So at least thousands.       I don't know

1 4 : 5 3 : 5 5   17     if it is quite up to tens of thousands.           It might cross

1 4 : 5 3 : 5 8   18     over to that.

1 4 : 5 3 : 5 9   19     Q.    To your understanding, were any of the Qorvo trade

1 4 : 5 4 : 0 1   20     secrets at issue in this case ever posted on Qorvo's

1 4 : 5 4 : 0 4   21     website or otherwise made publicly available?

1 4 : 5 4 : 0 6   22     A.    No.

1 4 : 5 4 : 0 7   23                   MR. NAQVI:   No further questions.

1 4 : 5 4 : 1 0   24                   THE COURT:   All right.    Well, thank you very

1 4 : 5 4 : 1 1   25     much.   We will let you step down.
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1 4 : 5 4 : 1 3   1                   And I will ask who our next witness is going to

1 4 : 5 4 : 1 6   2      be.   Who will our next witness be?

1 4 : 5 4 : 1 8   3                   MR. TIGAN:    Your Honor, Qorvo calls

1 4 : 5 4 : 1 9   4      Dr. Heinrich as its next witness.

1 4 : 5 4 : 2 1   5                   THE COURT:    All right.    Take a step up here to

1 4 : 5 4 : 3 1   6      the witness stand, and the clerk will swear you in.

1 4 : 5 4 : 3 6   7                   THE CLERK:    Please state and spell your name

1 4 : 5 4 : 3 8   8      for the record.

1 4 : 5 4 : 3 8   9                   THE WITNESS:     My name is Helge Heinrich,

1 4 : 5 4 : 3 9   10     H-E-L-G-E, H-E-I-N-R-I-C-H.

1 4 : 5 4 : 4 5   11                  THE CLERK:    Please remain standing and raise

1 4 : 5 4 : 4 5   12     your right hand.

1 4 : 5 4 : 4 5   13           HELGE HEINRICH, having been called as a witness,

1 4 : 5 4 : 4 5   14     being first duly sworn under oath or affirmed, testified

1 4 : 5 4 : 4 5   15     as follows:

1 4 : 5 4 : 4 5   16

1 4 : 5 4 : 5 7   17                  THE COURT:    Counsel may proceed.

1 4 : 5 5 : 0 6   18                  Please have a seat.

1 4 : 5 5 : 0 6   19                             DIRECT EXAMINATION

1 4 : 5 5 : 0 7   20     BY MR. TIGAN:

1 4 : 5 5 : 0 8   21     Q.    Good afternoon, Dr. Heinrich.       Thank you for being

1 4 : 5 5 : 0 9   22     here.

1 4 : 5 5 : 1 0   23           Could you please introduce yourself to the jury.

1 4 : 5 5 : 1 3   24     A.    Good afternoon.     My name is Helge Heinrich, and I'm a

1 4 : 5 5 : 1 5   25     research scientist at the University of Virginia.
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1 4 : 5 5 : 1 8   1      Q.    And what do you do as a research scientist at the

1 4 : 5 5 : 2 1   2      University of Virginia?

1 4 : 5 5 : 2 2   3      A.    My main research topics is dealing with materials

1 4 : 5 5 : 2 7   4      that need to be studied in electron microscopy.

1 4 : 5 5 : 3 2   5      Q.    And in simple terms, what is electron microscopy?

1 4 : 5 5 : 3 5   6      A.    I use a very fine electron beam that I scan over

1 4 : 5 5 : 4 0   7      materials and get the scattered signal back to figure out

1 4 : 5 5 : 4 4   8      what is in the materials or composition materials,

1 4 : 5 5 : 4 8   9      elements, or also looking at structures of materials.

1 4 : 5 5 : 5 3   10     Q.    And in preparation for your testimony today, did you

1 4 : 5 5 : 5 6   11     help prepare some slides?

1 4 : 5 5 : 5 8   12     A.    Yes, I did.

1 4 : 5 5 : 5 8   13                  MR. TIGAN:    Could we put PDX-9.1 up on the

1 4 : 5 6 : 0 3   14     screen, please.

1 4 : 5 6 : 0 3   15     BY MR. TIGAN:

1 4 : 5 6 : 0 4   16     Q.    And, Dr. Heinrich, can you start telling us just a

1 4 : 5 6 : 0 6   17     little bit about your educational background?

1 4 : 5 6 : 0 8   18     A.    Yes.   I got an equivalent of a master's degree.         It's

1 4 : 5 6 : 1 1   19     called a "diploma" in Germany, in 1990 from the University

1 4 : 5 6 : 1 9   20     of Braunschweig, Technical University of Braunschweig.

1 4 : 5 6 : 1 9   21           And then, in 1994, I got a PhD in physics from Swiss

1 4 : 5 6 : 2 4   22     Federal Institute of Technology Zurich, in Switzerland.

1 4 : 5 6 : 2 9   23     Q.    And after you obtained your PhD, what did you do for

1 4 : 5 6 : 3 3   24     work?

1 4 : 5 6 : 3 3   25     A.    I stayed another nine years the Zurich for postdoc.
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1 4 : 5 6 : 3 7   1      And then as lecturer and research scientist to study

1 4 : 5 6 : 4 4   2      materials, most electron microscopy.

1 4 : 5 6 : 4 7   3      Q.    What was your next position?

1 4 : 5 6 : 4 9   4      A.    My next position was a faculty position at University

1 4 : 5 6 : 5 0   5      of Central Florida.      I stayed there from 2003 to 2015

1 4 : 5 6 : 5 6   6      teaching courses in material science, physics, and

1 4 : 5 7 : 0 0   7      mechanical and aerospace engineering, including also

1 4 : 5 7 : 0 5   8      courses in electron microscopy.

1 4 : 5 7 : 0 7   9      Q.    And after Florida, what was your position?

1 4 : 5 7 : 0 9   10     A.    Next position is my current position as research

1 4 : 5 7 : 1 2   11     scientist at the Technical University of Virginia, where

1 4 : 5 7 : 1 4   12     I'm responsible for electron microscopy maintenance, for

1 4 : 5 7 : 1 9   13     training users in electron microscopes, and providing

1 4 : 5 7 : 2 4   14     services for customers.

1 4 : 5 7 : 2 5   15           I'm also teaching a course on electron microscopy.

1 4 : 5 7 : 2 8   16     My students have right now at this time their final.

1 4 : 5 7 : 3 2   17     Q.    Lucky them.

1 4 : 5 7 : 3 3   18           Are you the author of any publications in your field,

1 4 : 5 7 : 3 6   19     Doctor?

1 4 : 5 7 : 3 6   20     A.    Yes.   I have published -- sorry -- published 95

1 4 : 5 7 : 4 1   21     publications that are peer-reviewed, and have also

1 4 : 5 7 : 4 7   22     authored two book chapters on electron microscopy.

1 4 : 5 7 : 5 0   23     Q.    And were you retained by Qorvo as a technical expert

1 4 : 5 7 : 5 4   24     in this case?

1 4 : 5 7 : 5 5   25     A.    Yes, I was.
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1 4 : 5 7 : 5 5   1      Q.    What was your assignment?

1 4 : 5 7 : 5 7   2      A.    I was assigned to prepare cross-sections of accused

1 4 : 5 8 : 0 1   3      products and study them in electron microscopy.

1 4 : 5 8 : 0 5   4      Q.    Okay.    You just used the term "cross-section."        The

1 4 : 5 8 : 0 7   5      jury may have an idea, but could you tell us what that

1 4 : 5 8 : 1 1   6      means in your field?

1 4 : 5 8 : 1 2   7      A.    Yes.    Imagine you have a piece of cake, nice round

1 4 : 5 8 : 1 4   8      piece.

1 4 : 5 8 : 1 5   9                    MR. TIGAN:   And let's go to Slide 9.3.

1 4 : 5 8 : 1 6   10     BY MR. TIGAN:

1 4 : 5 8 : 1 6   11     Q.    I think you have an illustration.

1 4 : 5 8 : 1 8   12     A.    Nice round piece of cake, and you want to know they

1 4 : 5 8 : 2 0   13     are layer cakes or they're just homogeneous cake.           Right?

1 4 : 5 8 : 2 7   14     So cut it open, slide a piece away and look from the side.

1 4 : 5 8 : 3 0   15     And if you have a layer cake, you see something that you

1 4 : 5 8 : 3 4   16     can see over there.      You see layers of cakes.      I do that

1 4 : 5 8 : 3 8   17     in much smaller scale.      That's what I do in electron

1 4 : 5 8 : 4 2   18     microscopy, preparing cross-sections of samples.

1 4 : 5 8 : 4 4   19     Q.    And is this the type of work that you normally do in

1 4 : 5 8 : 4 7   20     your position at the University of Virginia?

1 4 : 5 8 : 5 0   21     A.    I do a lot of that.

1 4 : 5 8 : 5 1   22     Q.    Just ballpark, about how many times have you analyzed

1 4 : 5 8 : 5 3   23     the cross-section of a semiconductor?

1 4 : 5 8 : 5 6   24     A.    About a thousand times.

1 4 : 5 8 : 5 9   25                   MR. TIGAN:   Your Honor, Qorvo offers
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1 4 : 5 9 : 0 1   1      Dr. Heinrich as an expert in the area of electron

1 4 : 5 9 : 0 4   2      microscopy and the preparation of microscopic

1 4 : 5 9 : 0 7   3      cross-sections.

1 4 : 5 9 : 0 9   4                    THE COURT:   Voir dire?    Any voir dire?

1 4 : 5 9 : 1 3   5                    MS. SMITH:   No, Your Honor.

1 4 : 5 9 : 1 4   6                    THE COURT:   He is accepted as a person who can

1 4 : 5 9 : 1 7   7      render an opinions, that is, he is an expert in the area

1 4 : 5 9 : 1 9   8      designated.

1 4 : 5 9 : 2 0   9                    Counsel, you may proceed.

1 4 : 5 9 : 2 2   10                   MR. TIGAN:   Thank you, Your Honor.

1 4 : 5 9 : 2 2   11     BY MR. TIGAN:

1 4 : 5 9 : 2 3   12     Q.    Doctor, were you provided with samples of the

1 4 : 5 9 : 2 5   13     Akoustis products at issue in this case?

1 4 : 5 9 : 2 9   14     A.    Yes, I was.

1 4 : 5 9 : 2 9   15     Q.    Just in general, how did you receive those samples?

1 4 : 5 9 : 3 2   16     A.    I got two shipments of samples in bags, individual

1 4 : 5 9 : 3 7   17     samples were important, shipments in a bag.          I got one

1 4 : 5 9 : 4 1   18     shipment from RFMW, that's a distributer, and I got a

1 4 : 5 9 : 4 8   19     second shipment from Akoustis directly.

1 4 : 5 9 : 5 2   20     Q.    Okay.

1 4 : 5 9 : 5 2   21                   MR. TIGAN:   Let's put 9.4 on the screen,

1 4 : 5 9 : 5 5   22     please.

1 4 : 5 9 : 5 5   23     BY MR. TIGAN:

1 4 : 5 9 : 5 5   24     Q.    And is this a chart you prepared, Doctor?

1 5 : 0 0 : 0 0   25     A.    Yes, that is.     Yes.
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1 5 : 0 0 : 0 1   1      Q.    And just at a high-level still, what does the chart

1 5 : 0 0 : 0 5   2      show us?

1 5 : 0 0 : 0 6   3      A.    It shows us which samples I received and which

1 5 : 0 0 : 0 9   4      samples I analyzed.      And all together, there are

1 5 : 0 0 : 1 2   5      19 accused samples.      And in the first column, you see the

1 5 : 0 0 : 1 7   6      name of the samples by Akoustis, then the sample number as

1 5 : 0 0 : 2 1   7      they came in the bags, in the third column.

1 5 : 0 0 : 2 4   8            And the fourth column says, "Samples" on top.          You

1 5 : 0 0 : 2 8   9      can see I received first -- in Row 1, I received ten

1 5 : 0 0 : 3 2   10     samples from Akoustis and ten samples from RFMW.

1 5 : 0 0 : 3 6   11           You go down the list there to see what it is.          And

1 5 : 0 0 : 3 9   12     then I prepared the cross-section, made a report, and you

1 5 : 0 0 : 4 2   13     can see what appendices each report is in.

1 5 : 0 0 : 4 6   14     Q.    Okay.    How many samples of each Akoustis product did

1 5 : 0 0 : 4 9   15     you analyze?

1 5 : 0 0 : 5 0   16     A.    Typically, one sample from each product.

1 5 : 0 0 : 5 3   17     Occasionally I did more.

1 5 : 0 0 : 5 5   18     Q.    Okay.    And is analyzing one sample of each product

1 5 : 0 0 : 5 8   19     sufficient to form conclusions?

1 5 : 0 1 : 0 0   20     A.    Yes.    Sample thickness, layer thicknesses of each

1 5 : 0 1 : 0 6   21     resonators and each device should be very, very similar

1 5 : 0 1 : 0 9   22     because of manufacturing tolerances.

1 5 : 0 1 : 1 2   23     Q.    And, essentially, your analysis was conducting these

1 5 : 0 1 : 1 5   24     cross-sections, right?

1 5 : 0 1 : 1 6   25     A.    Yes.
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1 5 : 0 1 : 1 6   1      Q.     Okay.

1 5 : 0 1 : 1 6   2      A.     They were all cross-section.

1 5 : 0 1 : 1 6   3      Q.     And did you follow your normal process for taking

1 5 : 0 1 : 2 0   4      cross-section that you use as part of your research day to

1 5 : 0 1 : 2 2   5      day?

1 5 : 0 1 : 2 3   6      A.     Yes.

1 5 : 0 1 : 2 4   7      Q.     Okay.   We'll talk about those in just a moment, but

1 5 : 0 1 : 2 6   8      let me just confirm, did you record your results --

1 5 : 0 1 : 2 9   9      A.     Yes, I did.

1 5 : 0 1 : 3 0   10     Q.     -- as you took those?

1 5 : 0 1 : 3 1   11                    MR. TIGAN:   Your Honor, may I approach?

1 5 : 0 1 : 3 6   12                    THE COURT:   You may.

1 5 : 0 1 : 4 0   13                    THE WITNESS:   You have a lot of stuff here

1 5 : 0 1 : 4 2   14     that's not mine.

1 5 : 0 1 : 4 3   15     BY MR. TIGAN:

1 5 : 0 1 : 4 4   16     Q.     We will clear that out.     I apologize.

1 5 : 0 1 : 5 2   17            Doctor, you have in front of you a document the

1 5 : 0 1 : 5 4   18     parties have marked as PTX-999.

1 5 : 0 1 : 5 7   19            Do you recognize that document?

1 5 : 0 1 : 5 9   20     A.     Yes, I do.

1 5 : 0 2 : 0 0   21     Q.     And, generally speaking, what is it?

1 5 : 0 2 : 0 3   22     A.     This is the report I prepared about the different

1 5 : 0 2 : 0 7   23     devices.

1 5 : 0 2 : 0 8   24                    MR. TIGAN:   Your Honor, I move for the

1 5 : 0 2 : 0 9   25     admission of PTX-999 into evidence, please.
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1 5 : 0 2 : 1 3   1                   THE COURT:    Marked and received as 237.

1 5 : 0 2 : 1 6   2                   (Trial Exhibit No. 237 was admitted into

1 5 : 0 2 : 1 6   3      evidence.)

1 5 : 0 2 : 1 6   4      BY MR. TIGAN:

1 5 : 0 2 : 1 7   5      Q.    Doctor, just so we have a clear record, I want to go

1 5 : 0 2 : 2 1   6      through this exhibit very briefly so we know what it

1 5 : 0 2 : 2 4   7      contains.

1 5 : 0 2 : 2 5   8            Can you turn to Appendix C, please?

1 5 : 0 2 : 2 7   9      A.    Yes, I can.

1 5 : 0 2 : 2 9   10     Q.    What is Appendix C?

1 5 : 0 2 : 3 1   11     A.    Appendix C is my report on are resonator, AKF-1252.

1 5 : 0 2 : 3 8   12     Q.    What about Appendix D?

1 5 : 0 2 : 3 9   13     A.    That is my report on resonator AKF-1938.

1 5 : 0 2 : 4 3   14     Q.    Appendix E?

1 5 : 0 2 : 4 5   15     A.    AKF-1256.

1 5 : 0 2 : 4 7   16     Q.    Appendix F?

1 5 : 0 2 : 5 1   17     A.    Which, sorry?

1 5 : 0 2 : 5 3   18     Q.    F as in Frank.

1 5 : 0 2 : 5 3   19     A.    Is the report on sample A10149.

1 5 : 0 3 : 0 0   20     Q.    Appendix G?

1 5 : 0 3 : 0 2   21     A.    My report on A10154.

1 5 : 0 3 : 0 6   22     Q.    Appendix H?

1 5 : 0 3 : 0 9   23     A.    My report on resonator A10155.

1 5 : 0 3 : 1 4   24     Q.    Appendix I?

1 5 : 0 3 : 1 9   25     A.    My report on A10156.
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1 5 : 0 3 : 2 3   1      Q.    Appendix J?

1 5 : 0 3 : 2 5   2      A.    That is A10158.

1 5 : 0 3 : 2 9   3      Q.    Appendix L?

1 5 : 0 3 : 3 2   4      A.    That is my report on sample A10165.

1 5 : 0 3 : 3 7   5      Q.    Appendix M.

1 5 : 0 3 : 3 9   6      A.    My report on A10166.

1 5 : 0 3 : 4 2   7      Q.    Appendix N?

1 5 : 0 3 : 4 4   8      A.    My report on sample A10235.

1 5 : 0 3 : 4 8   9      Q.    Appendix O?

1 5 : 0 3 : 5 1   10     A.    A10252 report.

1 5 : 0 3 : 5 4   11     Q.    Appendix P -- we're almost there?

1 5 : 0 3 : 5 7   12     A.    That's my report on A10256.

1 5 : 0 4 : 0 1   13     Q.    Appendix Q?

1 5 : 0 4 : 0 3   14     A.    That's my resonator report on A10266.

1 5 : 0 4 : 0 7   15     Q.    Appendix R?

1 5 : 0 4 : 0 9   16     A.    That's my report on A10335.

1 5 : 0 4 : 1 3   17     Q.    Appendix S?

1 5 : 0 4 : 1 5   18     A.    That's my report on AKF-1252.

1 5 : 0 4 : 1 9   19     Q.    Appendix U?

1 5 : 0 4 : 2 0   20     A.    That's my report on AKF1336.

1 5 : 0 4 : 2 5   21     Q.    Appendix V?

1 5 : 0 4 : 2 8   22     A.    That's my report on the AKF-1938.

1 5 : 0 4 : 3 2   23     Q.    And what is Appendix W?

1 5 : 0 4 : 3 5   24     A.    These are additional slides that I prepared that are

1 5 : 0 4 : 3 9   25     not part of -- of the other.
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1 5 : 0 4 : 4 5   1      Q.    Is that just a collection of the testing?

1 5 : 0 4 : 4 7   2      A.    Yes.    The whole collection of it.

1 5 : 0 4 : 5 0   3      Q.    Obviously, we are not going through all of these.

1 5 : 0 4 : 5 3   4      A.    Right.

1 5 : 0 4 : 5 3   5      Q.    But let's go through one example so the jury

1 5 : 0 4 : 5 5   6      understands what you did.

1 5 : 0 4 : 5 6   7      A.    Yes.

1 5 : 0 4 : 5 6   8      Q.    Can you turn to Appendix E.

1 5 : 0 4 : 5 9   9      A.    Okay.    I'm there.

1 5 : 0 5 : 0 0   10     Q.    And just to confirm, did you prepare the

1 5 : 0 5 : 0 2   11     cross-sectional images in Appendix E?

1 5 : 0 5 : 0 6   12     A.    Yes.    I did that, and among others too.

1 5 : 0 5 : 0 9   13                   MR. TIGAN:    Let's put slide PDX-9.5.

1 5 : 0 5 : 1 1   14     BY MR. TIGAN:

1 5 : 0 5 : 1 1   15     Q.    And I'd like you to walk us through the steps you

1 5 : 0 5 : 1 3   16     took to test these samples.

1 5 : 0 5 : 1 5   17     A.    Yes.

1 5 : 0 5 : 1 6   18                   MR. TIGAN:    Let's switch over to that real

1 5 : 0 5 : 1 8   19     quick.

1 5 : 0 5 : 1 9   20     BY MR. TIGAN:

1 5 : 0 5 : 2 2   21     Q.    While we're pulling that up, what was the first step

1 5 : 0 5 : 2 5   22     in analyzing a sample?       What did you do?

1 5 : 0 5 : 2 9   23     A.    When I received the samples, I took them out of the

1 5 : 0 5 : 3 1   24     bag, and I had to open up the housing or the packaging of

1 5 : 0 5 : 3 9   25     the device.       This whole device is about a 16th of an inch
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1 5 : 0 5 : 4 5   1      in size.     You see the schematic on the left side there.

1 5 : 0 5 : 4 9   2            And I had to cut the packaging open to get the real

1 5 : 0 5 : 5 4   3      device out, and I had a little micro saw that is a very

1 5 : 0 5 : 5 7   4      small, very fine circular saw here that turns very slowly.

1 5 : 0 6 : 0 2   5      And in about 15, 20 minutes I can get the real device out

1 5 : 0 6 : 0 7   6      of it.

1 5 : 0 6 : 0 8   7                   MR. TIGAN:    Let's turn to the next slide, 9.6.

1 5 : 0 6 : 1 3   8      BY MR. TIGAN:

1 5 : 0 6 : 1 3   9      Q.    Here, you have Step Number 2.       What does that entail?

1 5 : 0 6 : 1 6   10     A.    So what you see on the right side is the system that

1 5 : 0 6 : 1 8   11     I used for sample preparation prior to sample preparation

1 5 : 0 6 : 2 0   12     imaging.     This is a scanning electron microscope with some

1 5 : 0 6 : 2 7   13     students in front of it, not on the sample, obviously.

1 5 : 0 6 : 2 8   14     But on the left side, you see a scanning electromicrograph

1 5 : 0 6 : 3 3   15     or image of -- top view of one of the resonators, and that

1 5 : 0 6 : 3 7   16     was AKF1256 here.

1 5 : 0 6 : 4 3   17                  MR. TIGAN:    Okay.   Let's go to the next slide.

1 5 : 0 6 : 4 5   18     BY MR. TIGAN:

1 5 : 0 6 : 4 5   19     Q.    And I would like to ask you what Step 3 is.

1 5 : 0 6 : 4 8   20     A.    Yes.   So this scanning electron microscope is also

1 5 : 0 6 : 5 1   21     equipped with ion beam that I use to remove material from

1 5 : 0 6 : 5 6   22     the surfaces.     What you see on these labeled micrograph on

1 5 : 0 6 : 5 9   23     the left side is this resonator we named LR6.          You see

1 5 : 0 7 : 0 5   24     this little oval that is magnified there, and you see this

1 5 : 0 7 : 0 9   25     little slightly tilted line there.        This is micro section,
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1 5 : 0 7 : 1 3   1      but I'm still viewing it from top.        And above these two

1 5 : 0 7 : 1 7   2      rectangles that you see there above and below, these are

1 5 : 0 7 : 2 0   3      the material that I removed from the sample during the

1 5 : 0 7 : 2 4   4      cross-section preparation.

1 5 : 0 7 : 2 6   5      Q.    Okay.

1 5 : 0 7 : 2 7   6                    MR. TIGAN:   Let's go to the next slide, 9.8.

1 5 : 0 7 : 3 0   7      BY MR. TIGAN:

1 5 : 0 7 : 3 0   8      Q.    And I believe this is Step 4.       Can you walk us

1 5 : 0 7 : 3 3   9      through what you've put on here?

1 5 : 0 7 : 3 4   10     A.    Yes.    So there you are seeing me putting the sample

1 5 : 0 7 : 3 9   11     into my transmission electron microscope.            And I analyzed

1 5 : 0 7 : 4 4   12     the cross-sections of these materials.            You see -- on top

1 5 : 0 7 : 4 8   13     left, you see an image of whole cross-section that I

1 5 : 0 7 : 5 3   14     prepared.     It looks a little bit like a piece of bacon,

1 5 : 0 7 : 5 6   15     but you have to imagine this piece of bacon being about

1 5 : 0 8 : 0 0   16     5,000 times smaller in every direction, so in thickness,

1 5 : 0 8 : 0 4   17     length, and width, right?       And in the bottom view you see

1 5 : 0 8 : 0 8   18     a cross-section view of the same sample that is just at

1 5 : 0 8 : 1 2   19     higher magnification with some calibrated thickness

1 5 : 0 8 : 1 8   20     measurements that I did.

1 5 : 0 8 : 1 9   21                   MR. TIGAN:   And if we can remove that blow-out.

1 5 : 0 8 : 2 2   22     BY MR. TIGAN:

1 5 : 0 8 : 2 2   23     Q.    I just want to confirm that, on the top left, is that

1 5 : 0 8 : 2 4   24     an entire resonator cross-section?

1 5 : 0 8 : 2 7   25     A.    That's a cross-section across the entire resonator,
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1 5 : 0 8 : 3 0   1      yes.

1 5 : 0 8 : 3 0   2      Q.     And like I said, we won't go through all of these,

1 5 : 0 8 : 3 2   3      but just to confirm, did you perform these same steps for

1 5 : 0 8 : 3 5   4      all of the cross-sections that you go through in the

1 5 : 0 8 : 3 8   5      appendixes?

1 5 : 0 8 : 3 9   6      A.     Yes.

1 5 : 0 8 : 4 0   7      Q.     One last question for you.        We're going to wrap up

1 5 : 0 8 : 4 2   8      quickly.      Could you characterize the margin of error for

1 5 : 0 8 : 4 6   9      your measurements here?

1 5 : 0 8 : 4 8   10     A.     Yes.    My margin of error of the calibrations of the

1 5 : 0 8 : 5 0   11     microscope is about 1 to 2 percent.

1 5 : 0 8 : 5 5   12     Q.     Okay.    That's all the questions I have for now?

1 5 : 0 8 : 5 7   13                    MR. TIGAN:   I pass the witness, Your Honor.

1 5 : 0 8 : 5 8   14                    THE COURT:   Cross-examination.

1 5 : 0 8 : 5 9   15                              CROSS EXAMINATION

1 5 : 0 9 : 0 1   16     BY MS. SMITH:

1 5 : 0 9 : 0 1   17     Q.     Good afternoon, Dr. Heinrich.       How are you?

1 5 : 0 9 : 0 4   18     A.     Good afternoon.      Thank you.

1 5 : 0 9 : 0 5   19     Q.     You testified that you were provided with samples of

1 5 : 0 9 : 0 9   20     19 different Akoustis products, right?

1 5 : 0 9 : 1 2   21     A.     Correct, yes.

1 5 : 0 9 : 1 2   22     Q.     And you received multiple samples for each of the

1 5 : 0 9 : 1 6   23     products?

1 5 : 0 9 : 1 7   24     A.     Correct.

1 5 : 0 9 : 1 7   25     Q.     You tested only one sample of each product?
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1 5 : 0 9 : 2 1   1      A.    I tested, occasionally, several samples of the same

1 5 : 0 9 : 2 6   2      product.

1 5 : 0 9 : 2 7   3      Q.    When you say you tested multiple samples of the same

1 5 : 0 9 : 3 4   4      product, were the -- when you said, "tested," do you mean

1 5 : 0 9 : 3 9   5      you actually dismantled them, you sliced them open, and

1 5 : 0 9 : 4 3   6      then you also measured the --

1 5 : 0 9 : 4 5   7      A.    Correct.    Yes.   "Testing" is not the right term, but

1 5 : 0 9 : 4 9   8      I measured the thick -- cross-sectional thickness of the

1 5 : 0 9 : 5 2   9      different layers.

1 5 : 0 9 : 5 3   10     Q.    Okay.    Did you provide the results of all of those

1 5 : 0 9 : 5 8   11     multiple testings as part of your report?

1 5 : 1 0 : 0 1   12     A.    Yes.

1 5 : 1 0 : 0 2   13     Q.    Okay.    Of the same product?

1 5 : 1 0 : 0 5   14     A.    Yes.

1 5 : 1 0 : 0 6   15     Q.    Okay.    When you tested -- when you tested multiple

1 5 : 1 0 : 1 3   16     samples for the same product, did you find that the

1 5 : 1 0 : 1 8   17     measurements came out different in each of the samples?

1 5 : 1 0 : 2 2   18     A.    No.    Typically, when I tested the multiple samples, I

1 5 : 1 0 : 2 7   19     actually looked at different resonator -- these oval

1 5 : 1 0 : 2 8   20     things that you see in the SEM module, perhaps that I

1 5 : 1 0 : 3 4   21     showed there before, I tested multiple resonators.           They

1 5 : 1 0 : 3 8   22     may have different dimensions laterally, but the

1 5 : 1 0 : 4 1   23     thicknesses are essentially the same.

1 5 : 1 0 : 4 3   24     Q.    They are not identical?

1 5 : 1 0 : 4 4   25     A.    Not all the resonators are identical, correct.          Some
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1 5 : 1 0 : 4 8   1      of them are.

1 5 : 1 0 : 4 9   2      Q.     Some of them were identical?

1 5 : 1 0 : 5 1   3      A.     Yes.

1 5 : 1 0 : 5 2   4      Q.     But not all of them were?

1 5 : 1 0 : 5 3   5      A.     In dimensions they are; some of them are identical,

1 5 : 1 0 : 5 6   6      yes.

1 5 : 1 0 : 5 8   7      Q.     Oh, I'm referring to the measurements you took?

1 5 : 1 1 : 0 0   8      A.     Oh, the thicknesses?

1 5 : 1 1 : 0 1   9      Q.     The thickness.

1 5 : 1 1 : 0 2   10     A.     Yeah.   They're pretty much the same; within my error

1 5 : 1 1 : 0 5   11     bars, they are the same.

1 5 : 1 1 : 0 9   12     Q.     Okay.   Let's take a look at one of the samples you

1 5 : 1 1 : 1 2   13     took.

1 5 : 1 1 : 1 2   14                    MS. SMITH:   May I have PTX-999, Page 133,

1 5 : 1 1 : 1 7   15     please.

1 5 : 1 1 : 2 4   16     BY MS. SMITH:

1 5 : 1 1 : 2 4   17     Q.     This is the results for the A10154.

1 5 : 1 1 : 3 0   18     A.     Uh-huh.

1 5 : 1 1 : 3 3   19                    MS. SMITH:   Let's go to Page 137, please.

1 5 : 1 1 : 3 6   20     BY MS. SMITH:

1 5 : 1 1 : 3 7   21     Q.     This is one of the cross-section concluded in

1 5 : 1 1 : 4 0   22     appendix G, right?

1 5 : 1 1 : 4 1   23     A.     Yes.

1 5 : 1 1 : 4 3   24     Q.     Can you explain what these green lines represent?

1 5 : 1 1 : 4 6   25     A.     The green lines represent the lines that I drew after
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1 5 : 1 1 : 5 1   1      imaging to measure the thicknesses of the different layers

1 5 : 1 1 : 5 5   2      in certain locations.

1 5 : 1 1 : 5 8   3      Q.    When you say, "I drew," what do you mean?

1 5 : 1 2 : 0 1   4      A.    I acquired the images, and then I can post-process

1 5 : 1 2 : 0 6   5      them by drawing lines from the bottom of a layer to the

1 5 : 1 2 : 0 9   6      top of a layer, and that indicates to me the thickness at

1 5 : 1 2 : 1 3   7      I use.

1 5 : 1 2 : 1 4   8      Q.    How did you draw those lines?

1 5 : 1 2 : 1 9   9      A.    With a computer cursor mouse.

1 5 : 1 2 : 2 1   10     Q.    With a mouse, so with your hand, basically?

1 5 : 1 2 : 2 5   11     A.    Yeah.   An automatic tool to do that.

1 5 : 1 2 : 2 7   12     Q.    So you manually picked -- for each of these

1 5 : 1 2 : 3 0   13     measurements, you manually picked the two points --

1 5 : 1 2 : 3 3   14     A.    Yeah.

1 5 : 1 2 : 3 3   15     Q.    -- and then the computer --

1 5 : 1 2 : 3 4   16     A.    Correct.

1 5 : 1 2 : 3 4   17     Q.    -- would generate a line connecting the two points --

1 5 : 1 2 : 3 7   18     A.    Correct.

1 5 : 1 2 : 3 8   19     Q.    -- and give you the distance, the thickness; is that

1 5 : 1 2 : 4 0   20     right?

1 5 : 1 2 : 4 0   21     A.    Correct.

1 5 : 1 2 : 4 1   22     Q.    Okay.   So someone else with the same expertise as you

1 5 : 1 2 : 5 2   23     might pick different points and get different results,

1 5 : 1 2 : 5 6   24     right?

1 5 : 1 2 : 5 7   25     A.    They may be slightly different; within probably
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1 5 : 1 3 : 0 0   1      1 nanometer, they would be the same.

1 5 : 1 3 : 0 5   2      Q.    Okay.   So let's take a look at the measurement all

1 5 : 1 3 : 0 8   3      the way to the right, 53.35 nanometers.           That pair of

1 5 : 1 3 : 1 5   4      points that you chose, that you manually selected, they

1 5 : 1 3 : 2 0   5      resulted in a line that is not completely vertical; is

1 5 : 1 3 : 2 5   6      that right?

1 5 : 1 3 : 2 6   7      A.    Yes.

1 5 : 1 3 : 2 6   8      Q.    Okay.

1 5 : 1 3 : 3 0   9      A.    I had a bad drawing there.

1 5 : 1 3 : 3 2   10     Q.    Well, it's just connecting the two points that you

1 5 : 1 3 : 3 5   11     manually selected?

1 5 : 1 3 : 3 7   12     A.    Yes.

1 5 : 1 3 : 4 0   13     Q.    So if you picked a different pair of points and made

1 5 : 1 3 : 4 3   14     this actually vertical instead of angled like this, the

1 5 : 1 3 : 4 7   15     result would be different, right?

1 5 : 1 3 : 5 0   16     A.    It would be marginally different maybe on the last

1 5 : 1 3 : 5 2   17     digits, because it is only two or three pixels to the

1 5 : 1 3 : 5 5   18     side.   So at this magnification, I have typically a larger

1 5 : 1 3 : 5 9   19     magnification where I have more pixels to measure actual

1 5 : 1 4 : 0 1   20     length.    Each pixel here is probably half a nanometer

1 5 : 1 4 : 0 7   21     anyway.    So if I'm going at bigger, higher magnification,

1 5 : 1 4 : 1 1   22     I can get more pixels and get more accuracy.

1 5 : 1 4 : 1 5   23     Q.    But they would be different?

1 5 : 1 4 : 1 9   24     A.    Slightly different, but those measurements are within

1 5 : 1 4 : 2 1   25     my errors.
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1 5 : 1 4 : 2 2   1      Q.    Okay.

1 5 : 1 4 : 2 3   2                    MS. SMITH:   No further questions.

1 5 : 1 4 : 2 5   3                    THE COURT:   Redirect.

1 5 : 1 4 : 2 6   4                    MR. TIGAN:   Nothing on redirect, Your Honor.

1 5 : 1 4 : 3 1   5                    THE COURT:   All right.    Well, thank you very

1 5 : 1 4 : 3 2   6      much.   You may step down.

1 5 : 1 4 : 3 5   7                    Who will our next witness be?

1 5 : 1 4 : 3 9   8                    THE WITNESS:    Should I bring everything with

1 5 : 1 4 : 4 0   9      me?

1 5 : 1 4 : 4 1   10                   THE COURT:   You better leave it there.

1 5 : 1 4 : 4 4   11                   MR. TIGAN:   Your Honor, may I come up and clear

1 5 : 1 4 : 4 5   12     some of that off?

1 5 : 1 4 : 4 6   13                   THE COURT:   Sure.   That's fine.

1 5 : 1 5 : 0 2   14                   MR. MASTERS:    Your Honor, plaintiffs call next

1 5 : 1 5 : 0 4   15     Dr. Bravman.

1 5 : 1 5 : 0 6   16                   THE COURT:   All right.    You can come forward.

1 5 : 1 5 : 1 0   17                   Walk to the witness stand, then, of course, you

1 5 : 1 5 : 1 2   18     will be sworn in by the clerk.

1 5 : 1 6 : 1 6   19                   THE CLERK:   Please state and spell your name

1 5 : 1 6 : 1 6   20     for the record.

1 5 : 1 6 : 1 6   21                   THE WITNESS:    John, J-O-H-N, Bravman, B like

1 5 : 1 6 : 1 6   22     boy, R-A-V, like Victor, M-A-N.

1 5 : 1 6 : 1 6   23                   THE CLERK:   Please remain standing and raise

1 5 : 1 6 : 1 6   24     your right hand.

1 5 : 1 6 : 1 6   25
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1 5 : 1 6 : 1 6   1            JOHN BRAVMAN, having been called as a witness, being

1 5 : 1 6 : 1 6   2      first duly sworn under oath or affirmed, testified as

1 5 : 1 6 : 1 6   3      follows:

1 5 : 1 6 : 1 6   4                              DIRECT EXAMINATION

1 5 : 1 6 : 1 6   5                    THE COURT:   Counsel may proceed.

1 5 : 1 6 : 1 7   6                    MR. MASTERS:    Thank you, Your Honor.

1 5 : 1 6 : 1 7   7      BY MR. MASTERS:

1 5 : 1 6 : 1 7   8      Q.    Good afternoon.      Would you briefly introduce yourself

1 5 : 1 6 : 1 8   9      to the jury?

1 5 : 1 6 : 1 8   10     A.    My name is John Bravman.      I am a career academic

1 5 : 1 6 : 1 9   11     scientist.    I grew up in New York City, spent 35 years at

1 5 : 1 6 : 2 1   12     Stanford University.       In 2010, moved to Pennsylvania,

1 5 : 1 6 : 2 1   13     where I joined Bucknell University as the 17th president

1 5 : 1 6 : 2 2   14     and professor of electrical engineering.

1 5 : 1 6 : 2 3   15           Where do you currently reside?

1 5 : 1 6 : 2 4   16     A.    Lewisburg, Pennsylvania.

1 5 : 1 6 : 2 5   17     Q.    And where is Lewisburg?

1 5 : 1 6 : 2 5   18     A.    It's 40 miles east of State College, Penn State, an

1 5 : 1 6 : 2 6   19     hour and ten minutes north of Harrisburg.

1 5 : 1 6 : 2 8   20     Q.    Okay.   Have you prepared a set of slides to assist

1 5 : 1 6 : 3 0   21     the jury in understanding your testimony?

1 5 : 1 6 : 3 2   22     A.    Yes, I have.

1 5 : 1 6 : 3 3   23                   MR. MASTERS:    Mr. Faison, would you please

1 5 : 1 6 : 3 4   24     project PDX-10.1.

                  25
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1 5 : 1 6 : 3 9   1      BY MR. MASTERS:

1 5 : 1 6 : 3 9   2      Q.    So in addition to serving as the president of the

1 5 : 1 6 : 4 2   3      university, have you also taught classes?

1 5 : 1 6 : 4 5   4      A.    Yes.   As I indicated, I am a career academic.          I was

1 5 : 1 6 : 4 9   5      very fortunate to not only receive my education at

1 5 : 1 6 : 5 1   6      Stanford, but to stay there for 26 years on the faculty

1 5 : 1 6 : 5 5   7      where I taught classes in material science, electrical

1 5 : 1 6 : 5 8   8      engineering, and related fields.        I graduated 26 doctoral

1 5 : 1 7 : 0 2   9      students who worked for me at Stanford.           And I also did a

1 5 : 1 7 : 0 8   10     number of administrative jobs at the university, and I've

1 5 : 1 7 : 1 4   11     served my professional field through service in a number

1 5 : 1 7 : 1 7   12     of organizations.

1 5 : 1 7 : 1 9   13     Q.    Have you received any awards for teaching?

1 5 : 1 7 : 2 2   14     A.    Yes, I received eight teaching awards in my career.

1 5 : 1 7 : 2 5   15     I'm very proud of that.

1 5 : 1 7 : 2 7   16     Q.    And are you a member of any professional

1 5 : 1 7 : 3 0   17     associations?

1 5 : 1 7 : 3 1   18     A.    Yes.   Many of them are listed there.         In 1994, in

1 5 : 1 7 : 3 4   19     fact, I was the president of the Materials Research

1 5 : 1 7 : 3 7   20     Society, but all of these professional societies I remain

1 5 : 1 7 : 4 1   21     a member of to this day.

1 5 : 1 7 : 4 3   22     Q.    And can you explain to the jury some of the roles you

1 5 : 1 7 : 4 9   23     have had as a consultant?

1 5 : 1 7 : 5 2   24     A.    I've done technical consulting for about 30 years

1 5 : 1 7 : 5 6   25     now, and of late, that's been predominantly in these kind
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1 5 : 1 8 : 0 1   1      of matters, patent infringement or intellectual property.

1 5 : 1 8 : 0 3   2      But I've also consulted for United States government at

1 5 : 1 8 : 1 0   3      Los Alamos National Laboratory and Sandia National

1 5 : 1 8 : 1 2   4      Laboratory with regard to their materials programs with

1 5 : 1 8 : 1 6   5      regard to national security.

1 5 : 1 8 : 1 8   6      Q.    And can we go back, and could you explain to the jury

1 5 : 1 8 : 2 1   7      your educational background?

1 5 : 1 8 : 2 3   8      A.    Yes.   I went to Stanford, as I said, in 1975.         I

1 5 : 1 8 : 2 7   9      received my bachelors, master of science, and, ultimately,

1 5 : 1 8 : 3 0   10     my PhD, all in material science and engineering at the

1 5 : 1 8 : 3 4   11     university.

1 5 : 1 8 : 3 6   12           The kind of work I did for my doctoral degree was

1 5 : 1 8 : 3 8   13     very similar to what you heard just a moment ago,

1 5 : 1 8 : 4 2   14     actually, developed techniques to do cross-section

1 5 : 1 8 : 4 6   15     electron microscopy before some of the sophisticated tools

1 5 : 1 8 : 5 0   16     that you just heard about were available.

1 5 : 1 8 : 5 3   17     Q.    And can you explain to the jury your work experience?

1 5 : 1 8 : 5 9   18     A.    I worked at Fairchild Semiconductor in their

1 5 : 1 9 : 0 3   19     materials analysis laboratory for the entire time I was

1 5 : 1 9 : 0 6   20     pursuing my doctoral degree from 1979 to 1984, and it was

1 5 : 1 9 : 1 2   21     a laboratory that, again, did the kind of work that you

1 5 : 1 9 : 1 5   22     just heard about with electron microscopes, optical

1 5 : 1 9 : 1 9   23     microscopes, Auger electron microscopy and other tools.

1 5 : 1 9 : 2 2   24     A-U-G-E-R.

1 5 : 1 9 : 2 6   25     Q.    And what was your next position?
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1 5 : 1 9 : 2 8   1      A.    I then joined the faculty as Stanford as an assistant

1 5 : 1 9 : 3 2   2      professor.     I earned tenure in six years later, six and a

1 5 : 1 9 : 3 7   3      half years later, a process one never forgets, was then

1 5 : 1 9 : 4 1   4      eventually promoted to full professor at Stanford and then

1 5 : 1 9 : 4 4   5      later a chaired professor.

1 5 : 1 9 : 4 7   6      Q.    And then after Stanford University, where did you end

1 5 : 1 9 : 5 0   7      up?

1 5 : 1 9 : 5 0   8      A.    In Lewisburg as president and professor at Bucknell

1 5 : 1 9 : 5 4   9      University.

1 5 : 1 9 : 5 4   10     Q.    And that's where you sit today as president of

1 5 : 1 9 : 5 7   11     Bucknell University?

1 5 : 1 9 : 5 9   12     A.    Yes.

1 5 : 2 0 : 0 0   13     Q.    Have you published?

1 5 : 2 0 : 0 3   14     A.    Yes.    My CV lists my publications.        I think it's on

1 5 : 2 0 : 0 9   15     the order of 160 or so publications.

1 5 : 2 0 : 1 3   16     Q.    And have you served as an expert before in patent

1 5 : 2 0 : 1 6   17     infringement cases?

1 5 : 2 0 : 1 7   18     A.    Yes, in many.     On the order of 70.

1 5 : 2 0 : 2 1   19     Q.    Okay.    And have you been qualified as an expert in

1 5 : 2 0 : 2 3   20     patent infringement cases?

1 5 : 2 0 : 2 5   21     A.    In Federal Court and in ITC, yes, many times.

1 5 : 2 0 : 2 8   22                   MR. MASTERS:    Your Honor, based on the witness'

1 5 : 2 0 : 3 0   23     education, training, and experience, Qorvo offers

1 5 : 2 0 : 3 4   24     Dr. Bravman as an expert in the area of semiconductor

1 5 : 2 0 : 3 7   25     materials and structures analysis and processing,
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1 5 : 2 0 : 4 1   1      including microelectromechanical systems.

1 5 : 2 0 : 4 7   2                    THE COURT:   Any voir dire?

1 5 : 2 0 : 4 9   3                    MR. LEMIEUX:    No objection from the defendants,

1 5 : 2 0 : 5 0   4      Your Honor.

1 5 : 2 0 : 5 0   5                    THE COURT:   He is received as a person who may

1 5 : 2 0 : 5 3   6      express an opinion, that as an expert in the areas

1 5 : 2 0 : 5 5   7      designated.

1 5 : 2 0 : 5 7   8                    Counsel may proceed.

1 5 : 2 0 : 5 8   9      BY MR. MASTERS:

1 5 : 2 1 : 0 0   10     Q.     Dr. Bravman, were you retained as a technical expert

1 5 : 2 1 : 0 3   11     for Qorvo in this case?

1 5 : 2 1 : 0 4   12     A.     Yes.

1 5 : 2 1 : 0 5   13     Q.     Approximately when?

1 5 : 2 1 : 0 7   14     A.     I believe it was in the winter of 2022.

1 5 : 2 1 : 1 0   15     Q.     And can you explain to the jury what your assignment

1 5 : 2 1 : 1 3   16     was?

1 5 : 2 1 : 1 4   17     A.     Yes.   If we can go to the next page, please, I have

1 5 : 2 1 : 1 6   18     summarized that.

1 5 : 2 1 : 1 8   19            I was asked to consider the asserted claims in two

1 5 : 2 1 : 2 2   20     patents at issue in this matter.        So I reviewed those

1 5 : 2 1 : 2 6   21     patents, and especially in light of the Court's claim

1 5 : 2 1 : 2 9   22     construction order where the Court gives guidance or

1 5 : 2 1 : 3 2   23     instruction to all the parties about what certain terms or

1 5 : 2 1 : 3 5   24     phrases mean.

1 5 : 2 1 : 3 6   25            I reviewed the structure of the certain 19 Akoustis
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1 5 : 2 1 : 4 3   1      BAW filter devices that you've heard about.          I've also

1 5 : 2 1 : 4 8   2      reviewed the work that you heard about just before me and

1 5 : 2 1 : 5 1   3      earlier today from Dr. Shanfield.

1 5 : 2 1 : 5 6   4                   MR. MASTERS:     Your Honor, may I approach?

1 5 : 2 1 : 5 7   5                   THE COURT:    You may.

1 5 : 2 2 : 2 4   6      BY MR. MASTERS:

1 5 : 2 2 : 3 2   7      Q.    Dr. Bravman, I've handed you what is both the '755

1 5 : 2 2 : 3 7   8      patent, which is has been mark as PTX-1716 and tendered as

1 5 : 2 2 : 4 2   9      Trial Exhibit 42, and '018 patent, which is PTX-715 and

1 5 : 2 2 : 4 7   10     has been entered as Trial Exhibit 229.

1 5 : 2 2 : 5 2   11           Starting with, first, the '018 patent, can you give

1 5 : 2 2 : 5 4   12     the jury just a high-level summary of the subject matter

1 5 : 2 2 : 5 8   13     of this patent?

1 5 : 2 3 : 0 0   14     A.    This has to do with a certain aspect of a type of BAW

1 5 : 2 3 : 0 6   15     filter called FBAR film bulk acoustic resonator.           And it

1 5 : 2 3 : 1 0   16     describes certain aspects of how it's constructed, most

1 5 : 2 3 : 1 5   17     particularly, with the relative thicknesses of the upper

1 5 : 2 3 : 1 8   18     and lower electrode.      And it specifies, most particularly,

1 5 : 2 3 : 2 1   19     that the upper electrode should be thinner than the lower

1 5 : 2 3 : 2 6   20     electrode to gain benefits in the performance of the

1 5 : 2 3 : 2 9   21     device that are also described in the patent.

1 5 : 2 3 : 3 1   22     Q.    And how about a high-level summary of the '755

1 5 : 2 3 : 3 5   23     patent?

1 5 : 2 3 : 3 5   24     A.    The '755 patent describes a different aspect of BAW

1 5 : 2 3 : 4 0   25     filters and specifically talks about both the film, the
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1 5 : 2 3 : 4 5   1      FBARs, and the solidly-mounted devices.           It talks about

1 5 : 2 3 : 4 9   2      the relative thicknesses -- not absolute values, but

1 5 : 2 3 : 5 3   3      relative thicknesses of a layer that's sort of near the

1 5 : 2 3 : 5 7   4      top of the structure called the passivation layer, and it

1 5 : 2 4 : 0 1   5      specifies that the thickness of that material above the

1 5 : 2 4 : 0 4   6      actual resonator structure that you've seen many times,

1 5 : 2 4 : 0 9   7      that is the structure that comprises the piezoelectric

1 5 : 2 4 : 1 3   8      film and upper and lower electrode, it compares and

1 5 : 2 4 : 1 8   9      specifies that the thickness of the material above that

1 5 : 2 4 : 2 1   10     upper electrode should be different than the thickness of

1 5 : 2 4 : 2 6   11     passivation layer or layers to the adjacent side of it

1 5 : 2 4 : 3 1   12     away from the actual membrane structure itself, or

1 5 : 2 4 : 3 5   13     piezoelectric structure itself.

1 5 : 2 4 : 3 9   14                  MR. MASTERS:     Mr. Faison, could we project

1 5 : 2 4 : 4 2   15     PDX-10.3.

1 5 : 2 4 : 4 9   16     BY MR. MASTERS:

1 5 : 2 4 : 4 9   17     Q.    So, Dr. Bravman, what is illustrated here on

1 5 : 2 4 : 5 3   18     PDX-10.3?

1 5 : 2 4 : 5 5   19     A.    Part of my assignment was to assess, based on the

1 5 : 2 4 : 5 9   20     information that was provided by Dr. Shanfield and

1 5 : 2 5 : 0 4   21     Dr. Heinrich, and my own analysis of interpreting the

1 5 : 2 5 : 0 7   22     patents in light of the Court's claim construction,

1 5 : 2 5 : 0 9   23     whether, in my opinion, these 19 devices that you've heard

1 5 : 2 5 : 1 4   24     about actually read on the claims at issue in this patent.

1 5 : 2 5 : 1 9   25           And my assessment is that with regards to the '018,
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                                                  Bravman   - Direct

1 5 : 2 5 : 2 3   1      that 18 of those products do; and with regard to the '755

1 5 : 2 5 : 2 7   2      patent, that all 19 do.

1 5 : 2 5 : 2 9   3      Q.    Okay.

1 5 : 2 5 : 3 1   4            And, just generally, did you review technical

1 5 : 2 5 : 3 4   5      information with respect to each of the accused products?

1 5 : 2 5 : 3 7   6      A.    Yes.    Three types of technical information were

1 5 : 2 5 : 4 1   7      provided, at least to me, by attorneys from Akoustis.            And

1 5 : 2 5 : 4 7   8      also, as I said, I also reviewed the work of Dr. Heinrich

1 5 : 2 5 : 5 0   9      and Dr. Shanfield.

1 5 : 2 5 : 5 3   10           If you turn the page -- sorry.

1 5 : 2 5 : 5 5   11                   MR. MASTERS:    May I approach?

1 5 : 2 5 : 5 6   12                   THE COURT:   You may.

1 5 : 2 6 : 0 4   13                   We will take a break in about four or five

1 5 : 2 6 : 0 7   14     minutes.

1 5 : 2 6 : 0 8   15                   MR. MASTERS:    Great.

1 5 : 2 6 : 1 3   16     BY MR. MASTERS:

1 5 : 2 6 : 3 0   17     Q.    Dr. Bravman, I've handed you two documents.          The

1 5 : 2 6 : 3 2   18     first one is PTX-0404.

1 5 : 2 6 : 3 7   19           Can you identify this document?

1 5 : 2 6 : 3 9   20     A.    This is one of two manuals that I was provided,

1 5 : 2 6 : 4 4   21     labeled XB1 Design Manual, and it's a description, in

1 5 : 2 6 : 5 4   22     part, of how Akoustis designs and manufactures their BAW

1 5 : 2 7 : 0 2   23     filters.

1 5 : 2 7 : 0 3   24     Q.    Okay.    And did you rely on PTX-0404 in forming your

1 5 : 2 7 : 0 8   25     opinions?
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                                                  Bravman   - Direct

1 5 : 2 7 : 0 9   1      A.    I did.

1 5 : 2 7 : 0 9   2                   MR. MASTERS:     Your Honor, I would move for the

1 5 : 2 7 : 1 1   3      admission of PTX-0404.

1 5 : 2 7 : 1 4   4                   THE COURT:    Marked and received as 238.

1 5 : 2 7 : 1 8   5                   (Trial Exhibit No. 238 was admitted into

1 5 : 2 7 : 1 8   6      evidence.)

1 5 : 2 7 : 1 9   7      BY MR. MASTERS:

1 5 : 2 7 : 2 0   8      Q.    And, Dr. Bravman, you have in front of you PTX-0854.

1 5 : 2 7 : 2 5   9            Can you identify this exhibit?

1 5 : 2 7 : 2 7   10     A.    This is also a document entitled XB1 Design Rule

1 5 : 2 7 : 3 1   11     Manual, and it also gives similar descriptions about the

1 5 : 2 7 : 3 5   12     design, construction, dimensions, thicknesses, et cetera,

1 5 : 2 7 : 4 0   13     of the Akoustis devices.

1 5 : 2 7 : 4 4   14     Q.    And did you rely on PTX-0854 in forming your

1 5 : 2 7 : 4 9   15     opinions?

1 5 : 2 7 : 4 9   16     A.    Yes, I did.

1 5 : 2 7 : 4 9   17                  MR. MASTERS:     Your Honor, I move for admission

1 5 : 2 7 : 5 1   18     PTX-0854.

1 5 : 2 7 : 5 3   19                  THE COURT:    Marked and received as 239.

1 5 : 2 7 : 5 5   20                  (Trial Exhibit No. 239 was admitted into

1 5 : 2 7 : 5 5   21     evidence.)

1 5 : 2 7 : 5 6   22                  MR. MASTERS:     Mr. Faison, can we project

1 5 : 2 7 : 5 8   23     PDX-10.4, please.

1 5 : 2 8 : 0 0   24     BY MR. MASTERS:

1 5 : 2 8 : 0 0   25     Q.    Mr. Bravman, this slide you have prepared refers to
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                  1595PageID
                                                                             Page 1271 of 2283
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                                                  Bravman   - Direct

1 5 : 2 8 : 0 5   1      both PTX-0404 that's been marked now as Trial Exhibit 238

1 5 : 2 8 : 1 1   2      and PTX-0854, Trial Exhibit 239.

1 5 : 2 8 : 1 5   3            Can you explain to the jury what you are illustrating

1 5 : 2 8 : 1 8   4      here?

1 5 : 2 8 : 1 8   5      A.    So, in smaller scale, there's four pages just

1 5 : 2 8 : 2 2   6      reproduced, but then one page that I blew out one of the

1 5 : 2 8 : 2 6   7      drawings.    And it's a graphic element.          It's a drawing of

1 5 : 2 8 : 3 5   8      certain aspects of an Akoustis BAW device, and the color

1 5 : 2 8 : 4 1   9      coding helps the reader identify different materials.

1 5 : 2 8 : 4 6   10           In this particular case, over roughly the central

1 5 : 2 8 : 4 9   11     line of that image, you can see a cavity, and that's why

1 5 : 2 8 : 5 2   12     this is a film BAW acoustic resonator.

1 5 : 2 8 : 5 8   13           The biggest structures you see are alternatively

1 5 : 2 9 : 0 0   14     brown and blue and brown.       The upper-lower brown sections,

1 5 : 2 9 : 0 4   15     those are the electrodes.       And the blue section in the

1 5 : 2 9 : 0 7   16     middle is the piezoelectric layer.        Here, it's blown up

1 5 : 2 9 : 1 0   17     further.    And on top of -- most pertinent for our further

1 5 : 2 9 : 1 6   18     discussions, on top of the upper electrode, you see a

1 5 : 2 9 : 2 0   19     layer of light blue that continues.        And we will see, and

1 5 : 2 9 : 2 3   20     we'll talk about how the thickness of that layer above the

1 5 : 2 9 : 2 7   21     upper electrode in the active portion of the device is, in

1 5 : 2 9 : 3 3   22     Akoustis' own drawing, clearly thinner than the

1 5 : 2 9 : 3 7   23     thicknesses somewhat off to the right, in that kind of

1 5 : 2 9 : 4 1   24     well that you'll see.

1 5 : 2 9 : 4 2   25           You see further that thicker blue region actually
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                                                  Bravman   - Direct

1 5 : 2 9 : 4 5   1      comprises two layers, which the pertinent patent, when we

1 5 : 2 9 : 5 0   2      get to it, also describes.

1 5 : 2 9 : 5 1   3      Q.    And have you prepared a slide with annotations to

1 5 : 2 9 : 5 5   4      illustrate the relevant components of the BAW filter?

1 5 : 2 9 : 5 9   5      A.    Yes.   If you go to the next page.

1 5 : 3 0 : 0 1   6                   MR. MASTERS:     Rob, can you project PDX-10.5,

1 5 : 3 0 : 0 5   7      please.

1 5 : 3 0 : 0 5   8                   THE COURT:    We are going to take that short

1 5 : 3 0 : 0 7   9      break, and we'll come right back.

1 5 : 3 0 : 1 1   10                  Don't discuss the case among yourselves.         Don't

1 5 : 3 0 : 1 1   11     let anybody talk to you about it.        Of course, if anyone

1 5 : 3 0 : 1 3   12     tries to, report it promptly to me.        Keep an open mind.

1 5 : 3 0 : 1 7   13     See you in 15 minutes.

1 5 : 3 0 : 2 0   14                  Thank you very much.

1 5 : 3 0 : 2 2   15           (The jury exits the courtroom at 3:30 p.m.)

1 5 : 3 0 : 4 5   16                  THE COURT:    Everyone take a seat.

1 5 : 3 0 : 4 7   17                  Let our witness -- should be able to step down.

1 5 : 3 0 : 5 0   18     This is our short restroom break.        And we'll be back in

1 5 : 3 0 : 5 3   19     about 12 minutes.      We will start right on time.

1 5 : 3 0 : 5 7   20                  Thank you.

1 5 : 3 1 : 0 0   21                  THE WITNESS:     Thank you.

1 5 : 3 1 : 0 0   22                  THE COURT:    All right.    I think we're set for

1 5 : 3 1 : 0 2   23     the break.    Anything else we need to know about at this

1 5 : 3 1 : 0 5   24     time?

1 5 : 3 1 : 0 6   25                  MR. MASTERS:     Nothing from the plaintiff, Your
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                                                  Bravman   - Direct

1 5 : 3 1 : 0 7   1      Honor.

1 5 : 3 1 : 0 8   2                   THE COURT:    All right.    Anything else from the

1 5 : 3 1 : 0 9   3      defense?

1 5 : 3 1 : 1 0   4                   MR. ELKINS:    Nothing, Your Honor.

1 5 : 3 1 : 1 0   5                   THE COURT:    All right.    Short break at this

1 5 : 3 1 : 1 2   6      time.    Be back certainly within the next 12 minutes.

1 5 : 3 1 : 1 5   7            (Whereupon, a recess is taken.)

1 5 : 4 1 : 4 2   8                   THE COURT:    All right.    Everyone can be seated.

1 5 : 4 1 : 5 3   9      If the jury is ready, we will go ahead and start.

1 5 : 4 2 : 3 5   10           (The jury enters the courtroom at 3:43 p.m.)

1 5 : 4 3 : 0 8   11                  THE COURT:    Everyone can be seated, and counsel

1 5 : 4 3 : 1 0   12     may proceed.

1 5 : 4 3 : 1 1   13                  MR. MASTERS:     Thank you, Your Honor.

1 5 : 4 3 : 1 3   14     BY MR. MASTERS:

1 5 : 4 3 : 1 3   15     Q.    Dr. Bravman, before the break, we were on PDX-10.5,

1 5 : 4 3 : 1 7   16     and I think you were going to explain to the jury your

1 5 : 4 3 : 1 9   17     annotations.

1 5 : 4 3 : 2 0   18     A.    Yes.   So this is just a full-size blow-up of the

1 5 : 4 3 : 2 4   19     previous illustration where I've added some labels to some

1 5 : 4 3 : 2 8   20     of the important structures that I'm sure you've heard

1 5 : 4 3 : 3 2   21     about by now.

1 5 : 4 3 : 3 3   22           But in this region here, you can see the

1 5 : 4 3 : 3 5   23     piezoelectric layer surrounded by upper and lower

1 5 : 4 3 : 3 9   24     electrode and the passivation layer that I was talking

1 5 : 4 3 : 4 0   25     about in light blue.
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                                                  Bravman   - Direct

1 5 : 4 3 : 4 2   1            You can clearly see in this region here, in Akoustis'

1 5 : 4 3 : 4 5   2      own drawing, that, here, it's depicted on these as thicker

1 5 : 4 3 : 4 9   3      than it is over here.

1 5 : 4 3 : 5 1   4            These drawings are not to scale.        The vertical scale,

1 5 : 4 3 : 5 4   5      and the horizontal scales may be different.          And you saw a

1 5 : 4 3 : 5 8   6      moment ago from one of Dr. Heinrich's cross-sections, at

1 5 : 4 4 : 0 1   7      low magnification, that compared to the thickness of these

1 5 : 4 4 : 0 4   8      films, they're much, much wider than this would have you

1 5 : 4 4 : 0 7   9      believe.     But this is typical engineering illustration

1 5 : 4 4 : 1 1   10     that carries with it information about important aspects

1 5 : 4 4 : 1 4   11     of a device.

1 5 : 4 4 : 1 6   12     Q.    And is the information within the XB1 manual that you

1 5 : 4 4 : 2 2   13     considered relevant for all of the accused products?

1 5 : 4 4 : 2 5   14     A.    Yes.

1 5 : 4 4 : 3 6   15                  MR. MASTERS:     Your Honor, may I approach?

1 5 : 4 4 : 3 7   16                  THE COURT:    You may.

1 5 : 4 4 : 5 6   17                  MR. MASTERS:     Mr. Faison, can we project

1 5 : 4 4 : 5 9   18     PDX-10.6.

1 5 : 4 5 : 0 3   19     BY MR. MASTERS:

1 5 : 4 5 : 0 3   20     Q.    Dr. Bravman, I've handed you a collection of

1 5 : 4 5 : 0 7   21     documents.     Can you explain to the jury what -- what those

1 5 : 4 5 : 1 0   22     documents are?

1 5 : 4 5 : 1 2   23     A.    So there's a large number of documents here, stapled.

1 5 : 4 5 : 1 6   24     I mentioned that there were three types of information

1 5 : 4 5 : 1 9   25     that I was provided.      One was the design manual, the XB1.
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                                                  Bravman   - Direct

1 5 : 4 5 : 2 4   1      The second type are these data sheets.            And there's one

1 5 : 4 5 : 2 8   2      illustration of a data sheet, pieces of a data sheet, or

1 5 : 4 5 : 3 2   3      sheets, on the screen in front of you.            And this clipped

1 5 : 4 5 : 3 6   4      document here represents all of the documents that are

1 5 : 4 5 : 4 0   5      represented on the far right-hand side of the screen.

1 5 : 4 5 : 4 4   6            So there's one data sheet, or sheets -- one set of

1 5 : 4 5 : 4 8   7      data sheets for each of the products that I was asked to

1 5 : 4 5 : 5 0   8      consider.

1 5 : 4 5 : 5 1   9      Q.    And did you rely on these data sheets in forming your

1 5 : 4 5 : 5 4   10     opinions?

1 5 : 4 5 : 5 5   11     A.    Yes.

1 5 : 4 5 : 5 6   12                  MR. MASTERS:     And, for the record, I'd like to

1 5 : 4 5 : 5 8   13     read in the PTX-numbers and to move their admission.

1 5 : 4 6 : 0 2   14     There's 18 of them, Your Honor.

1 5 : 4 6 : 0 5   15                  THE COURT:    All right.    It will be 18, so you

1 5 : 4 6 : 0 9   16     may read them in, which we will mark them 18 sequentially.

1 5 : 4 6 : 1 6   17                  MR. MASTERS:     Thank you.

1 5 : 4 6 : 1 6   18                  So, for the record, they're PTX-1241, PTX-1248,

1 5 : 4 6 : 2 2   19     PTX-1282, PTX-1256, PTX-1246, PTX-1247, PTX-1281, PTX-1252

1 5 : 4 6 : 3 8   20     PTX-1249, PTX-1263, PTX-1266, PTX-1264, PTX-1255,

                  21     PTX-1251, PTX-1250, PTX-1265, PTX-1254, and PTX-1253.

1 5 : 4 7 : 0 9   22                  THE COURT:    That will take us to 257.

1 5 : 4 7 : 1 5   23                  Marked sequentially.

1 5 : 4 7 : 1 6   24                  (Trial Exhibit Nos. 240, 241, 242, 243, 244,

1 5 : 4 7 : 1 6   25     245, 246, 247, 248, 249, 250, 251, 252, 253, 254, 255,
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                                                  Bravman   - Direct

1 5 : 4 7 : 1 6   1      256, 257 were admitted into evidence.)

1 5 : 4 7 : 1 8   2                   MR. MASTERS:     Thank you, Your Honor.

1 5 : 4 7 : 1 8   3                   THE COURT:    Thank you.

1 5 : 4 7 : 3 1   4      BY MR. MASTERS:

1 5 : 4 7 : 3 1   5      Q.    Did you consider each of these data sheets in forming

1 5 : 4 7 : 3 4   6      your opinions?

1 5 : 4 7 : 3 4   7      A.    Yes.

1 5 : 4 7 : 3 8   8                   MR. MASTERS:     Mr. Faison, can we project

1 5 : 4 7 : 4 1   9      PDX-10.7, please.

1 5 : 4 7 : 4 4   10                  And, Your Honor, may I approach?

1 5 : 4 7 : 4 6   11                  THE COURT:    You may.

1 5 : 4 8 : 1 1   12     BY MR. MASTERS:

1 5 : 4 8 : 1 7   13     Q.    Dr. Bravman, I've handed you another stack of

1 5 : 4 8 : 1 9   14     documents.    Can you briefly -- or identify these documents

1 5 : 4 8 : 2 3   15     for the record?

1 5 : 4 8 : 2 3   16     A.    This is a third group or type of information that I

1 5 : 4 8 : 2 6   17     was provided to refer to as mask slides.          There's, again,

1 5 : 4 8 : 3 1   18     19 products, so there's 19 sets of pages, one for each of

1 5 : 4 8 : 3 6   19     those 19 products.      And they describe other aspects of the

1 5 : 4 8 : 4 2   20     accused Akoustis products, how they're laid out, the

1 5 : 4 8 : 4 7   21     thicknesses, and elemental identifications of certain

1 5 : 4 8 : 5 4   22     layers, et cetera.

1 5 : 4 8 : 5 4   23           So this is another important document that a company

1 5 : 4 8 : 5 9   24     typically would have to describe their product and how

1 5 : 4 9 : 0 2   25     it's built.
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1 5 : 4 9 : 0 4   1                   MR. MASTERS:     And, Your Honor, similar to the

1 5 : 4 9 : 0 6   2      last collection of documents, I have 19 to move their

1 5 : 4 9 : 1 0   3      admission.

1 5 : 4 9 : 1 4   4                   THE COURT:    Did you have 19, or did you have --

1 5 : 4 9 : 1 5   5      I'm sorry.

1 5 : 4 9 : 1 7   6                   MR. MASTERS:     This time it's 19.

1 5 : 4 9 : 1 8   7                   THE COURT:    This is an additional 19?

1 5 : 4 9 : 2 0   8                   MR. MASTERS:     Yes.   I will read those numbers

1 5 : 4 9 : 2 2   9      into the record.

1 5 : 4 9 : 2 3   10                  THE COURT:    Then we're going to mark them.       Go

1 5 : 4 9 : 2 4   11     ahead.

1 5 : 4 9 : 2 6   12                  MR. MASTERS:     PTX-0855, PTX-1257, PTX-0856,

1 5 : 4 9 : 3 1   13     PTX-0857, PTX-1261, PTX-1260, PTX-0858, PTX-1262,

1 5 : 4 9 : 4 4   14     PTX-0859, PTX-1259, PTX-1258, PTX-0860, PTX-0861,

1 5 : 4 9 : 5 7   15     PTX-0405, PTX-0862, PTX-0864, PTX-0406, PTX-0865, and

1 5 : 5 0 : 0 8   16     PTX-0866.

1 5 : 5 0 : 1 3   17                  THE COURT:    That should end on 276 and, of

1 5 : 5 0 : 1 8   18     course, we checked that, but that does appear to be the

1 5 : 5 0 : 2 1   19     correct number, which you will get a separate number

1 5 : 5 0 : 2 4   20     sequentially.

1 5 : 5 0 : 2 4   21                  (Trial Exhibit Nos. 258, 259, 260, 261, 262,

1 5 : 5 0 : 2 4   22     263, 264, 265, 266, 267, 268, 269, 270, 271, 272, 273,

1 5 : 5 0 : 2 4   23     274, 275, 275 were admitted into evidence.)

1 5 : 5 0 : 2 5   24                  MR. MASTERS:     Thank you, Your Honor.

1 5 : 5 0 : 2 6   25                  THE COURT:    Certainly.
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                                                  Bravman   - Direct

1 5 : 5 0 : 2 7   1      BY MR. MASTERS:

1 5 : 5 0 : 2 7   2      Q.    Dr. Bravman, with respect to what's illustrated here

1 5 : 5 0 : 2 9   3      on PDX-10.7, can you explain to the jury what is shown

1 5 : 5 0 : 3 3   4      down at the bottom left-hand corner?

1 5 : 5 0 : 3 5   5      A.    So, on the bottom left-hand corner is, effectively, a

1 5 : 5 0 : 3 9   6      top-down view of an array of BAW resonator structures, a

1 5 : 5 0 : 4 9   7      dozen or more, and you can see they are in a particular

1 5 : 5 0 : 5 2   8      spatial relationship to one other.        This is why this might

1 5 : 5 0 : 5 4   9      be called a layout pattern or a drawing.

1 5 : 5 0 : 5 8   10           This is at a fairly low magnification compared to

1 5 : 5 1 : 0 2   11     some of the things you've been looking at, but you'll

1 5 : 5 1 : 0 4   12     recall these are very small devices.         But this is a layout

1 5 : 5 1 : 0 8   13     drawing with those resonators illustrated.

1 5 : 5 1 : 1 2   14     Q.    And before you discuss the middle one, why don't we

1 5 : 5 1 : 1 6   15     go to PDX-10.8, and you can just explain to the jury what

1 5 : 5 1 : 2 0   16     this table is showing.

1 5 : 5 1 : 2 2   17     A.    So this is just a blow-up of the table that was in

1 5 : 5 1 : 2 5   18     the center of the previous page.        And this is part of the

1 5 : 5 1 : 2 8   19     recipe, if you will, for how these structures are made.

1 5 : 5 1 : 3 2   20           Depending on the complexity of these types of

1 5 : 5 1 : 3 6   21     devices, there may be a few hundred lines, there may be

1 5 : 5 1 : 3 9   22     tens of thousands of lines, depending on the structure.

1 5 : 5 1 : 4 2   23           I have here circled a few key elements to highlight

1 5 : 5 1 : 4 8   24     based on the matters important here.

1 5 : 5 1 : 5 0   25           We see that, for instance, the bottom electrode is
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                                                  Bravman   - Direct

1 5 : 5 1 : 5 4   1      specified as being 930 angstroms thick.           We've also been

1 5 : 5 2 : 0 0   2      using the measurement term nanometers, a billionth of a

1 5 : 5 2 : 0 5   3      meter.    That is 93 nanometers.

1 5 : 5 2 : 0 8   4            We see the piezoelectric layer is specified

1 5 : 5 2 : 1 2   5      3400 angstroms, et cetera.       So we see important

1 5 : 5 2 : 1 7   6      information here that are the targets for a manufacturer

1 5 : 5 2 : 2 0   7      to specify when it has designed and locked in a design to

1 5 : 5 2 : 2 5   8      then be implemented in a fabrication facility.

1 5 : 5 2 : 2 8   9            It also illustrates, in the process step column --

1 5 : 5 2 : 3 1   10     that's the second column over from the left -- it may tell

1 5 : 5 2 : 3 6   11     you about what that material comprises.           It may tell you

1 5 : 5 2 : 3 9   12     what process step is involved.        You've heard about trim,

1 5 : 5 2 : 4 2   13     you've heard about aluminum nitride for the piezoelectric

1 5 : 5 2 : 4 6   14     layer.

1 5 : 5 2 : 4 6   15           PECVD is plasma enhanced chemical vapor deposition.

1 5 : 5 2 : 5 2   16     That's a technique, for instance, for depositing SIO2

1 5 : 5 2 : 5 5   17     layers.    So this is the kind of information that these

1 5 : 5 2 : 5 7   18     recipes carry forward.

1 5 : 5 3 : 0 0   19     Q.    Do each of the accused Akoustis products have stacked

1 5 : 5 3 : 0 4   20     information as illustrated here?

1 5 : 5 3 : 0 6   21     A.    Yes.

1 5 : 5 3 : 0 7   22     Q.    Have you considered each of those stack information?

1 5 : 5 3 : 0 9   23     A.    Yes.

1 5 : 5 3 : 1 1   24                  MR. MASTERS:     Mr. Faison, can you project

1 5 : 5 3 : 1 3   25     PDX-10.9.
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                                                  Bravman   - Direct

1 5 : 5 3 : 1 6   1      BY MR. MASTERS:

1 5 : 5 3 : 1 6   2      Q.    Very briefly, Dr. Bravman, did you also consider

1 5 : 5 3 : 1 9   3      Dr. Heinrich's cross-section?

1 5 : 5 3 : 2 0   4      A.    Yes.    As I indicated, I also considered and used the

1 5 : 5 3 : 2 3   5      information provided by Dr. Shanfield, and Dr. Heinrich.

1 5 : 5 3 : 2 6   6      You just saw this.      This is just a summary slide.

1 5 : 5 3 : 2 9   7            Again, I did this kind of work personally starting as

1 5 : 5 3 : 3 3   8      a graduate student, and so I'm very familiar with this and

1 5 : 5 3 : 3 6   9      how these figures and information is produced.

1 5 : 5 3 : 4 0   10     Q.    Okay.

1 5 : 5 3 : 4 0   11                   MR. MASTERS:    And, Mr. Faison, can we project

1 5 : 5 3 : 4 3   12     PDX-10.10.

1 5 : 5 3 : 4 5   13     BY MR. MASTERS:

1 5 : 5 3 : 4 5   14     Q.    And did you also rely on Dr. Shanfield's simulations?

1 5 : 5 3 : 5 0   15     A.    Yes.    At the end of Dr. Shanfield's testimony here

1 5 : 5 3 : 5 3   16     today, he described his work in doing finite element

1 5 : 5 3 : 5 8   17     modeling.     This is a computer-based model involving, in

1 5 : 5 4 : 0 2   18     this case, mechanical interactions between various places

1 5 : 5 4 : 0 8   19     in a model structure.      And I'll touch on this a little bit

1 5 : 5 4 : 1 4   20     more again, but you heard about this at somewhat length

1 5 : 5 4 : 1 7   21     this morning from Dr. Shanfield.

1 5 : 5 4 : 1 9   22           This is a standard modeling procedure.         And so this

1 5 : 5 4 : 2 3   23     is something that I personally do not do, but I've used

1 5 : 5 4 : 2 6   24     throughout my career when done by others.

1 5 : 5 4 : 3 1   25     Q.    Dr. Bravman, let's turn to the '018 patent.
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                                                                           Page 1281 of 2283
                                                      #: 41252
                                                  Bravman   - Direct

1 5 : 5 4 : 3 4   1                   MR. MASTERS:     Mr. Faison, can you project

1 5 : 5 4 : 3 5   2      10.11.

1 5 : 5 4 : 3 8   3      BY MR. MASTERS:

1 5 : 5 4 : 3 8   4      Q.    Can you now describe for the jury the '018 patent?

1 5 : 5 4 : 4 3   5      A.    Yes.   So this is the front page of the patent, and

1 5 : 5 4 : 4 5   6      the sort of -- very broadly illustrative cross-sectional

1 5 : 5 4 : 5 3   7      illustration of a FBAR BAW, a film bulk acoustic

1 5 : 5 5 : 0 0   8      resonator.     And you can see the films have numbered

1 5 : 5 5 : 0 3   9      numerals.    I think on the next page --

1 5 : 5 5 : 0 5   10           Do we have a colorized version of this?

1 5 : 5 5 : 0 8   11                  MR. MASTERS:     Can we project 10.12.

1 5 : 5 5 : 1 0   12                  THE WITNESS:     Yes.

1 5 : 5 5 : 1 1   13                  So here's that same diagram where I've added

1 5 : 5 5 : 1 4   14     the key elements that we've been discussing.          The middle

1 5 : 5 5 : 1 7   15     piezoelectric layer, the upper and lower, or bottom and

1 5 : 5 5 : 2 1   16     top electrodes.     There's obviously other structures, too.

1 5 : 5 5 : 2 4   17     And, again, you can see that there's a void or a space

1 5 : 5 5 : 2 7   18     underneath the center region here.        That's what makes this

1 5 : 5 5 : 3 1   19     a film bulk acoustic resonator.

1 5 : 5 5 : 3 5   20                  On the left is elements of Claim 1 of the '018

1 5 : 5 5 : 3 9   21     patent that I was asked to analyze.        And we'll see that

1 5 : 5 5 : 4 2   22     all but the very last part of the last claim have to do

1 5 : 5 5 : 4 8   23     with structural elements, structural features of these

1 5 : 5 5 : 5 1   24     devices.     I will touch on those first.

                  25
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                                                  Bravman   - Direct

1 5 : 5 5 : 5 2   1      BY MR. MASTERS:

1 5 : 5 5 : 5 3   2      Q.    So since we have Claim 1 illustrated here on the

1 5 : 5 5 : 5 6   3      left-hand side, can you explain to the jury how you went

1 5 : 5 5 : 5 9   4      about determining whether the accused Akoustis products

1 5 : 5 6 : 0 3   5      are covered by Claim 1.

1 5 : 5 6 : 0 6   6      A.    Using all the information I had available, my own

1 5 : 5 6 : 0 8   7      analysis of many documents, as well as the information

1 5 : 5 6 : 1 3   8      provided by Dr. Shanfield and Dr. Heinrich, and my close

1 5 : 5 6 : 1 9   9      read of the patents and other information, and in the

1 5 : 5 6 : 2 3   10     other patents case, in light of the Court's clinical, I

1 5 : 5 6 : 2 6   11     did the best I could to do a claim-by-claim element

1 5 : 5 6 : 3 0   12     comparison to what my understanding is of the structures

1 5 : 5 6 : 3 4   13     and how they read or not onto the claim elements, one at a

1 5 : 5 6 : 3 9   14     time.

1 5 : 5 6 : 3 9   15     Q.    Okay.

1 5 : 5 6 : 4 0   16                   MR. MASTERS:    Let's -- Mr. Faison, please

1 5 : 5 6 : 4 2   17     project PDX-10.13.

1 5 : 5 6 : 4 6   18     BY MR. MASTERS:

1 5 : 5 6 : 4 6   19     Q.    So, Dr. Bravman, can you please explain to the jury

1 5 : 5 6 : 4 9   20     what you are illustrating here on PDX-10.13?

1 5 : 5 6 : 5 3   21     A.    Yes.    So Claim Element 1A says:      This electroacoustic

1 5 : 5 7 : 0 0   22     resonator comprising -- in the upper right-hand corner,

1 5 : 5 7 : 0 2   23     there is a data sheet that specifies the AKF1256 product

1 5 : 5 7 : 1 0   24     that was entered into evidence a few minutes ago.

1 5 : 5 7 : 1 3   25           It specifies that they're talking about a 5.6
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                                                  Bravman   - Direct

1 5 : 5 7 : 1 7   1      gigahertz Wi-Fi BAW filter, and that tells me that, in

1 5 : 5 7 : 2 0   2      fact, the product designed does, in fact, comprise an

1 5 : 5 7 : 2 4   3      electroacoustic resonator, as the patent specifies.

1 5 : 5 7 : 2 8   4      Q.    How about Element 1B?

1 5 : 5 7 : 3 0   5      A.    So for 1B, we can turn first to the drawing provided

1 5 : 5 7 : 3 5   6      in Akoustis' XB1 design manual.        And if we read through

1 5 : 5 7 : 3 9   7      that, a membrane structure or FBAR -- described already

1 5 : 5 7 : 4 3   8      it's clearly an FBAR from the drawing because of that

1 5 : 5 7 : 4 6   9      void -- with a layered structure comprising piezoelectric

1 5 : 5 7 : 4 9   10     layer, upper and lower electrodes.        And then, importantly,

1 5 : 5 7 : 5 2   11     it specifies that with a thickness of the two electrode

1 5 : 5 7 : 5 7   12     layers being unequal.

1 5 : 5 7 : 5 9   13           So that's part of the issue patent that the upper and

1 5 : 5 8 : 0 2   14     lower electrodes must be different thicknesses.

1 5 : 5 8 : 0 7   15           And then if we turn to the last claim element, the

1 5 : 5 8 : 0 9   16     first half of it, it further goes on to specify that it's

1 5 : 5 8 : 1 3   17     the top electrode which must be thinner than the bottom

1 5 : 5 8 : 1 8   18     electrode.

1 5 : 5 8 : 1 9   19           So, cumulatively, you can see those features very

1 5 : 5 8 : 2 4   20     clearly in the patent.      The drawing here doesn't show the

1 5 : 5 8 : 2 9   21     differential thicknesses of the electrode, and that's why

1 5 : 5 8 : 3 2   22     we have to look at their own specifications for their

1 5 : 5 8 : 3 6   23     target thicknesses, as well as rely on Dr. Heinrich's

1 5 : 5 8 : 4 0   24     cross-section analyses to verify, in fact, that that upper

1 5 : 5 8 : 4 3   25     half of Claim Element 1C is satisfied.
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                                                   Bravman   - Direct

1 5 : 5 8 : 4 8   1                   MR. MASTERS:      Mr. Faison, can you please

1 5 : 5 8 : 4 9   2      project PDX-10.14.

1 5 : 5 8 : 5 3   3      BY MR. MASTERS:

1 5 : 5 8 : 5 3   4      Q.    And, Dr. Bravman, how do you go to about determining

1 5 : 5 8 : 5 5   5      whether the thickness of the electrodes in the accused

1 5 : 5 8 : 5 7   6      Akoustis products were different?

1 5 : 5 9 : 0 1   7      A.    So here is that type of data sheet from that mask

1 5 : 5 9 : 0 4   8      slide set I described.       And it describes that the target

1 5 : 5 9 : 0 9   9      is 930 angstroms for the bottom electrode and

1 5 : 5 9 : 1 4   10     830 angstroms for the top electrode.          There's a little

1 5 : 5 9 : 1 8   11     more detail there.       It shows that the initial thickness

1 5 : 5 9 : 2 1   12     was 1600 angstroms, but, then, in some etching operations,

1 5 : 5 9 : 2 6   13     that thickness was reduced by a specified amount, and so

1 5 : 5 9 : 3 1   14     you subtract the numbers there in red and you get

1 5 : 5 9 : 3 4   15     830 angstroms.

1 5 : 5 9 : 3 6   16           In this case, when Dr. Heinrich did his analysis, you

1 5 : 5 9 : 4 0   17     can see that in his calibrated microscope, the thicknesses

1 5 : 5 9 : 4 4   18     of the lower layer are pretty close it says

1 5 : 5 9 : 4 8   19     90.3 nanometers as opposed to 93 specified that's pretty

1 5 : 5 9 : 5 3   20     close.    920.3.    The upper one is a bit off from the

1 5 : 5 9 : 5 8   21     specification.      730 angstroms as opposed to 830 specified.

1 6 : 0 0 : 0 6   22           And either way, the top electrode is clearly designed

1 6 : 0 0 : 1 0   23     to be, and, in fact, is thinner than the lower electrode

1 6 : 0 0 : 1 4   24     in this particular device.        And then, sequentially --

1 6 : 0 0 : 1 7   25     which we're not going to run through all them today, but I
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                                                  Bravman   - Direct

1 6 : 0 0 : 2 1   1      reported them -- a similar analysis would yield the same

1 6 : 0 0 : 2 4   2      result in 18 of the 19 structures.

1 6 : 0 0 : 2 8   3                   MR. MASTERS:     And for the record,

1 6 : 0 0 : 3 0   4      Dr. Heinrich's cross-sections are in PTX-0999, which has

1 6 : 0 0 : 3 7   5      been entered as Trial Exhibit 237.        Okay.

1 6 : 0 0 : 4 6   6                   Mr. Faison, can you project PDX-10.15.

1 6 : 0 0 : 5 4   7                   THE WITNESS:     So now we have the last half of

1 6 : 0 0 : 5 5   8      the last claim element, 1C, and this is not a structural

1 6 : 0 0 : 5 9   9      element; it's the effect that the patent specifies as the

1 6 : 0 1 : 0 2   10     outcome, the benefit of building the structure with this

1 6 : 0 1 : 0 6   11     thinner upper electrode relative to the bottom.           And this

1 6 : 0 1 : 0 9   12     is where I employed the work of Dr. Shanfield.

1 6 : 0 1 : 1 3   13                  If we can go to the next slide, please.

1 6 : 0 1 : 1 5   14     BY MR. MASTERS:

1 6 : 0 1 : 2 0   15     Q.    So this is PDX-10.16.      So how did Dr. Shanfield's

1 6 : 0 1 : 2 5   16     analysis inform your decision as to whether the Akoustis

1 6 : 0 1 : 3 0   17     products infringed the last limitation of Claim 1?

1 6 : 0 1 : 3 4   18     A.    So this is one of the slides that he showed this

1 6 : 0 1 : 3 7   19     morning explaining how, in his analysis, the

1 6 : 0 1 : 4 0   20     implementation of the patented design here, which is the

1 6 : 0 1 : 4 6   21     blue box and the blue line on this right-hand or higher

1 6 : 0 1 : 5 1   22     frequency band edge, reduces the loss of a signal to the

1 6 : 0 1 : 5 7   23     lateral regions.      Compared to a structure which he modeled

1 6 : 0 2 : 0 2   24     using the same procedures where the upper and lower

1 6 : 0 2 : 0 6   25     electrodes are the same thickness, and that's the green
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                                                                           Page 1286 of 2283
                                                      #: 41257
                                                  Bravman   - Direct

1 6 : 0 2 : 0 8   1      line.   And as he described, as you get higher and higher

1 6 : 0 2 : 1 2   2      frequencies, we see that the loss increases rapidly.

1 6 : 0 2 : 1 6   3            And so that's the kind of feature that would lead to

1 6 : 0 2 : 2 0   4      not an increase in bandwidth, but with the patented

1 6 : 0 2 : 2 5   5      design, thinner upper electrode, we see clear indications,

1 6 : 0 2 : 2 9   6      as Dr. Shanfield explained, that the bandwidth could in

1 6 : 0 2 : 3 3   7      fact, would in fact, be increased.

1 6 : 0 2 : 3 5   8      Q.    So have you formed an opinion as to whether the

1 6 : 0 2 : 3 8   9      difference in thickness of the electrodes in the accused

1 6 : 0 2 : 4 1   10     Akoustis products provide a filter, increases the filter

1 6 : 0 2 : 4 5   11     bandwidth of the resonator?

1 6 : 0 2 : 4 7   12     A.    Yes.   I believe they do, and based on the information

1 6 : 0 2 : 5 0   13     which I've just reviewed.

1 6 : 0 2 : 5 2   14     Q.    And does your opinion apply to all of the accused

1 6 : 0 2 : 5 6   15     products?

1 6 : 0 2 : 5 7   16     A.    It does.

1 6 : 0 3 : 0 0   17     Q.    Dr. Bravman, did you also consider Claim 12 of the

1 6 : 0 3 : 0 3   18     '018 patent?

1 6 : 0 3 : 0 4   19     A.    Yes.

1 6 : 0 3 : 0 5   20                  THE WITNESS:     If you can advance the slide,

1 6 : 0 3 : 0 5   21     please.

1 6 : 0 3 : 0 6   22     BY MR. MASTERS:

1 6 : 0 3 : 0 7   23     Q.    And can you explain to the jury how you went about

1 6 : 0 3 : 1 1   24     informing -- or drawing an opinion as to whether Claim 12

1 6 : 0 3 : 1 4   25     was infringed or not?
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                                                  Bravman   - Direct

1 6 : 0 3 : 1 7   1      A.     So Claim 12 of this patent, basically, says, "Use of

1 6 : 0 3 : 2 1   2      a device designed according to Claim 1 in a radio

1 6 : 0 3 : 2 5   3      frequency filter."      That's what this claim is saying.       And

1 6 : 0 3 : 2 9   4      if we turn again to one of the Akoustis data sheets for

1 6 : 0 3 : 3 3   5      the 1256 device that I'm talking about, you see

1 6 : 0 3 : 3 7   6      highlighted in the top line that this is, in fact, for

1 6 : 0 3 : 3 9   7      a -- as it describes, "an ultra-wide bandwidth BAW RF

1 6 : 0 3 : 4 4   8      filter."      And so I think that reads directly on to

1 6 : 0 3 : 4 7   9      Claim 12 of the '018 patent.

1 6 : 0 3 : 5 0   10     Q.     And that data sheet is PTX-1265; is that correct?

1 6 : 0 3 : 5 4   11     A.     Yes.

1 6 : 0 3 : 5 5   12     Q.     But do all of the data sheets assist you in forming

1 6 : 0 3 : 5 9   13     your opinions as to whether Claim 12 has been infringed or

1 6 : 0 4 : 0 3   14     not?

1 6 : 0 4 : 0 3   15     A.     Yes.

1 6 : 0 4 : 0 6   16     Q.     Just in a final summary, what is your conclusion as

1 6 : 0 4 : 0 9   17     to whether or not the accused Akoustis products infringe

1 6 : 0 4 : 1 3   18     Claims 1 and 12 of the '018 patent?

1 6 : 0 4 : 1 9   19     A.     My conclusion is that 18 of the 19 products do.

1 6 : 0 4 : 2 3   20     Q.     Okay.

1 6 : 0 4 : 2 4   21                    MR. MASTERS:   Can we, Mr. Faison, project

1 6 : 0 4 : 2 5   22     PDX-10.18, please.

1 6 : 0 4 : 3 0   23     BY MR. MASTERS:

1 6 : 0 4 : 3 0   24     Q.     So, Dr. Bravman, let's talk about the '755 patent.

1 6 : 0 4 : 3 3   25            Can you please explain this to the jury.
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                                                  Bravman   - Direct

1 6 : 0 4 : 3 6   1      A.    So, again, this is a mainly structural modification

1 6 : 0 4 : 4 2   2      of a BAW device with a different benefit asserted as a

1 6 : 0 4 : 4 8   3      result of practicing the patent's claims.          I think you

1 6 : 0 4 : 5 1   4      heard about this earlier from one of the two inventors,

1 6 : 0 4 : 5 4   5      Dr. Fattinger.     I may have that name mispronounced.

1 6 : 0 4 : 5 9   6            I know from the transcript -- I was not here in Court

1 6 : 0 5 : 0 2   7      that day -- they talked about the orange and the purple.

1 6 : 0 5 : 0 7   8      And what this patent describes in words is that there is a

1 6 : 0 5 : 1 2   9      benefit to having this region out here to the sides away

1 6 : 0 5 : 1 9   10     from the active region of the device, having the layer or

1 6 : 0 5 : 2 3   11     layers which comprise this region vertically be of a

1 6 : 0 5 : 2 8   12     different thickness than the passivation layer that's here

1 6 : 0 5 : 3 3   13     in orange directly above one of the electrodes.

1 6 : 0 5 : 3 6   14           The patent actually says the ratio of the two

1 6 : 0 5 : 3 9   15     thicknesses must be different than one, which means it

1 6 : 0 5 : 4 3   16     could actually be less than one.        But what we looked at as

1 6 : 0 5 : 4 7   17     I recall all the products, it's thicker out here, as is

1 6 : 0 5 : 5 1   18     illustrated in the patent compared to this region over

1 6 : 0 5 : 5 5   19     here.

1 6 : 0 5 : 5 5   20     Q.    And according to the '755 patent, what is the benefit

1 6 : 0 5 : 5 8   21     of having the thicker passivation layer as taught in

1 6 : 0 6 : 0 4   22     Figure 2B?

1 6 : 0 6 : 0 5   23     A.    The asserted benefit here is lower loss laterally to

1 6 : 0 6 : 1 0   24     the sides of energy, and I think it's easy to image,

1 6 : 0 6 : 1 6   25     anything you can do to not lose energy from a signal is
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                                                  Bravman   - Direct

1 6 : 0 6 : 2 0   1      always going to be a good thing.        There's no perfect

1 6 : 0 6 : 2 3   2      filter or device.      You always have some loss of signal

1 6 : 0 6 : 2 8   3      strength.    So engineers go to great lengths to minimize

1 6 : 0 6 : 3 2   4      that in every possible way in an actual device.

1 6 : 0 6 : 3 6   5            This can either be for signal strength, better

1 6 : 0 6 : 3 8   6      signal, battery life.      Whatever it is, you don't want to

1 6 : 0 6 : 4 2   7      waste energy, and this is one piece of that in this

1 6 : 0 6 : 4 5   8      patent.

1 6 : 0 6 : 4 6   9      Q.    And with respect to the '755 patent, what were you

1 6 : 0 6 : 4 9   10     asked to do?

1 6 : 0 6 : 5 1   11     A.    Same as before, to decide whether or not the 19

1 6 : 0 6 : 5 7   12     products read on the asserted claims of the '755 patent.

1 6 : 0 7 : 0 2   13                  MR. MASTERS:     Mr. Faison, could we project

1 6 : 0 7 : 0 4   14     PDX-10.19.

1 6 : 0 7 : 0 6   15     BY MR. MASTERS:

1 6 : 0 7 : 0 6   16     Q.    Dr. Bravman, can you explain to the jury what you are

1 6 : 0 7 : 0 9   17     illustrating here.

1 6 : 0 7 : 1 0   18     A.    So here's the same drawing in the upper right-hand

1 6 : 0 7 : 1 2   19     corner.    Here, I mentioned already, in the lower right

1 6 : 0 7 : 1 5   20     side, the Court issued a ruling on what certain phrases in

1 6 : 0 7 : 2 0   21     the patent means -- "active region" and "outer region" --

1 6 : 0 7 : 2 3   22     and it gave its interpretation that we all, then, adopt.

1 6 : 0 7 : 2 9   23     And, also, said that a third phrase has it's plain and

1 6 : 0 7 : 3 3   24     ordinary meaning.

1 6 : 0 7 : 3 6   25           This Claim 9 has a longer set, as you can see, of
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                                                   Bravman   - Direct

1 6 : 0 7 : 4 1   1      claim elements.       But, again, we see that most of them are

1 6 : 0 7 : 4 5   2      structural in nature, they describe a structure in words.

1 6 : 0 7 : 4 9   3      But, then, at the bottom, again, at the last claim

1 6 : 0 7 : 5 4   4      element, it describes the asserted benefit of using this

1 6 : 0 7 : 5 8   5      patented invention.

1 6 : 0 8 : 0 0   6      Q.    Can you point out the structural limitations of

1 6 : 0 8 : 0 3   7      Claim 9?

1 6 : 0 8 : 0 4   8      A.    So Claim 9 -- 9A tells you what this is for.           It's a

1 6 : 0 8 : 1 0   9      BAW resonator.       But then 9B, 9C, D, E, and F, as well as

1 6 : 0 8 : 1 7   10     G, relate to the structure of this device.           And they tell

1 6 : 0 8 : 2 1   11     you about various aspects of it, which are then depicted

1 6 : 0 8 : 2 4   12     in the patent appropriately.

1 6 : 0 8 : 2 9   13     Q.    And then where is the performance aspects of Claim 9?

1 6 : 0 8 : 3 4   14     A.    So the performance aspects, again, is down here at

1 6 : 0 8 : 3 7   15     the bottom.       And it's telling us that, because of this --

1 6 : 0 8 : 4 2   16     thicker or thinner, but we focused on thicker -- thicker

1 6 : 0 8 : 4 6   17     outer region in purple, that less energy will be lost to

1 6 : 0 8 : 5 3   18     the sides.    And that's what the last claim element says.

1 6 : 0 8 : 5 5   19     It says, "They are acoustically matched in such a manner

1 6 : 0 8 : 5 9   20     that one or more wavelengths that cause energy leakage are

1 6 : 0 9 : 0 2   21     not excited, and, therefore, the energy is not lost."

1 6 : 0 9 : 0 7   22     Q.    And did you compare the structural features of the

1 6 : 0 9 : 1 1   23     accused Akoustis products to Claims 9A through G?

1 6 : 0 9 : 1 6   24     A.    Yes.

1 6 : 0 9 : 1 7   25                  MR. MASTERS:      Mr. Faison, can you project
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                                                  Bravman   - Direct

1 6 : 0 9 : 1 8   1      PDX-10.20.

1 6 : 0 9 : 2 1   2      BY MR. MASTERS:

1 6 : 0 9 : 2 1   3      Q.    Dr. Bravman, can you explain to the jury what you

1 6 : 0 9 : 2 2   4      have illustrated here.

1 6 : 0 9 : 2 4   5      A.    So here, what I've done, the structural elements

1 6 : 0 9 : 2 8   6      referring to data sheets, referring to the design manual,

1 6 : 0 9 : 3 3   7      and also referring to some of Dr. Heinrich's work, one by

1 6 : 0 9 : 3 8   8      one, I determined that these were present.          So I think 9A,

1 6 : 0 9 : 4 4   9      B, C, and D, we've seen many times at least that layered

1 6 : 0 9 : 5 0   10     structure of a resonator.       Here in 9E, I already mentioned

1 6 : 0 9 : 5 6   11     this light blue region on the top that we're talking about

1 6 : 1 0 : 0 1   12     now for the first time, this passivation layer, and that's

1 6 : 1 0 : 0 4   13     what E is talking about.

1 6 : 1 0 : 0 7   14           And then F goes on in words to describe that certain

1 6 : 1 0 : 1 4   15     aspects of the thickness of that passivation layer or

1 6 : 1 0 : 1 8   16     layers is different in different regions of the device.

1 6 : 1 0 : 2 2   17     Q.    And you're referring to PTX-0404, which is the XB1

1 6 : 1 0 : 2 8   18     design manual --

1 6 : 1 0 : 2 9   19     A.    Yes.

1 6 : 1 0 : 2 9   20     Q.    -- as to inform your decision as to the structural

1 6 : 1 0 : 3 2   21     features of the accused products?

1 6 : 1 0 : 3 4   22     A.    That's what's on the screen.       That's right.

1 6 : 1 0 : 3 6   23                  THE WITNESS:     And can I see the next slide?

1 6 : 1 0 : 3 8   24                  MR. MASTERS:     Can we project PDX-10.21, then?

1 6 : 1 0 : 4 2   25                  THE WITNESS:     So here's a little bit clearer
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                                                   Bravman   - Direct

1 6 : 1 0 : 4 3   1      drawing where I've taken the patented figure and colorized

1 6 : 1 0 : 4 8   2      it -- or others colorized it -- and compared it at nearly

1 6 : 1 0 : 5 3   3      equivalent magnifications to the structure in the XB1

1 6 : 1 0 : 5 9   4      design manual from Akoustis.        And so, again, it shows the

1 6 : 1 1 : 0 1   5      top and bottom electrodes in brown.         It shows the blue

1 6 : 1 1 : 0 5   6      piezoelectric layer, but now you can more clearly see the

1 6 : 1 1 : 0 8   7      passivation layer on top and how it continues around.

1 6 : 1 1 : 1 5   8                   And, in fact, here, we can see that there's a

1 6 : 1 1 : 1 9   9      bilayer here, there's a double layer here.           And the patent

1 6 : 1 1 : 2 2   10     describes that in words, and this is a layer on the

1 6 : 1 1 : 2 6   11     silicon dioxide, which is deposited here before this upper

1 6 : 1 1 : 3 1   12     blue layer.       And so after the fact, the thickness here is

1 6 : 1 1 : 3 5   13     thicker or greater than the thickness here above the

1 6 : 1 1 : 4 0   14     actual membrane structure.        And so that's a very close --

1 6 : 1 1 : 4 3   15     these patent drugs are almost always idealized.            You never

1 6 : 1 1 : 4 8   16     have square edges in a real device.

1 6 : 1 1 : 5 1   17                  But even the drawing here is on the right is

1 6 : 1 1 : 5 4   18     somewhat idealized, but it shows very much the target of

1 6 : 1 1 : 5 8   19     the manufacturer.

1 6 : 1 2 : 0 0   20     Q.    And how did you inform your opinion as to the exact

1 6 : 1 2 : 0 4   21     dimensions of these passivation layers?

1 6 : 1 2 : 0 6   22     A.    If we go to the next slide.

1 6 : 1 2 : 0 8   23                  MR. MASTERS:      Mr. Faison, can we project

1 6 : 1 2 : 1 1   24     PDX-10.22.

                  25
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                                                  Bravman   - Direct

1 6 : 1 2 : 1 4   1      BY MR. MASTERS:

1 6 : 1 2 : 1 4   2      Q.    Dr. Bravman.

1 6 : 1 2 : 1 5   3      A.    So here we have, again, an extract from the relevant

1 6 : 1 2 : 2 1   4      set of mask slides, but we see here we actually don't have

1 6 : 1 2 : 2 6   5      numerical data on how thick these regions were, and I

1 6 : 1 2 : 3 2   6      asked if they were available, and I was simply told they

1 6 : 1 2 : 3 5   7      were not available.      So that heightened the importance of

1 6 : 1 2 : 4 0   8      Dr. Heinrich's work.      And here is a cross-section which he

1 6 : 1 2 : 4 5   9      produced.

1 6 : 1 2 : 4 6   10           And we see that, in this particular model, in this

1 6 : 1 2 : 5 2   11     device, the active region, the silicon nitride activation

1 6 : 1 2 : 5 5   12     thickness is 961-angstrom, about 96 nanometers.             But out

1 6 : 1 3 : 0 0   13     here in the bilateral stack of silicon nitride and silicon

1 6 : 1 3 : 0 2   14     dioxide sums to almost 1200 angstroms.            And so that

1 6 : 1 3 : 0 9   15     clearly is thicker than the 961 angstroms over the

1 6 : 1 3 : 1 4   16     membrane structure.      And so that comports with the

1 6 : 1 3 : 1 8   17     teaching of the patent.

1 6 : 1 3 : 1 9   18     Q.    Okay.   And for the record, you are referring to

1 6 : 1 3 : 2 2   19     Dr. Heinrich's Exhibit PTX-0999, which has now Trial

1 6 : 1 3 : 2 7   20     Exhibit 237, and the mask slide PTX-0404?

1 6 : 1 3 : 3 3   21     A.    Yes.

1 6 : 1 3 : 3 4   22     Q.    Or 0406.

1 6 : 1 3 : 3 6   23                   MR. MASTERS:    Mr. Faison, can we project

1 6 : 1 3 : 3 8   24     PDX-10.23.

                  25
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                                                  Bravman   - Direct

1 6 : 1 3 : 4 1   1      BY MR. MASTERS:

1 6 : 1 3 : 4 1   2      Q.    And, Dr. Bravman, can you summarize your opinion,

1 6 : 1 3 : 4 4   3      then, with respect to the structural features of Claim 9?

1 6 : 1 3 : 4 8   4      A.    So looking at all the data available to me, produced

1 6 : 1 3 : 5 1   5      by both Akoustis and by independent analyses and my own

1 6 : 1 3 : 5 6   6      reading of the patent in light of the Court's claim

1 6 : 1 3 : 5 9   7      construction, I believe, it's my opinion that all the

1 6 : 1 4 : 0 2   8      structural elements of the patent are read upon by the

1 6 : 1 4 : 0 5   9      actual Akoustis devices.

1 6 : 1 4 : 0 7   10     Q.    And how did you go about to determine whether the

1 6 : 1 4 : 0 9   11     performance features of the Claim 9, that's Element 9H,

1 6 : 1 4 : 1 4   12     were satisfied?

1 6 : 1 4 : 1 5   13     A.    As before, this is where I turned to Dr. Shanfield's

1 6 : 1 4 : 1 9   14     analysis and created another finite element model.

1 6 : 1 4 : 2 2   15           If we go to the next slide, please.

1 6 : 1 4 : 2 5   16                  MR. MASTERS:     Mr. Faison, please project

1 6 : 1 4 : 2 7   17     PDX-10.24.

1 6 : 1 4 : 2 9   18     BY MR. MASTERS:

1 6 : 1 4 : 2 9   19     Q.    In referring to Dr. Shanfield's simulations, can you

1 6 : 1 4 : 3 1   20     please explain your conclusions with respect to Claim 9H.

1 6 : 1 4 : 3 6   21     A.    So this is, again, a slide which you've seen this

1 6 : 1 4 : 3 8   22     morning.    And in this case, the -- Akoustis' design in

1 6 : 1 4 : 4 8   23     blue.   I've got a little blowup here to remind you, this

1 6 : 1 4 : 5 0   24     is with the thicker outer passivation region shows this

1 6 : 1 4 : 5 5   25     characteristic in the center region of the frequency band
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                                                  Bravman   - Direct

1 6 : 1 4 : 5 8   1      and, as opposed to the model that Dr. Shanfield run --

1 6 : 1 5 : 0 3   2      ran, the outer and inner, I'll call it, regions of

1 6 : 1 5 : 0 8   3      passivation were the same thickness.

1 6 : 1 5 : 1 0   4            And we see, again, on a scale of lateral energy flux,

1 6 : 1 5 : 1 5   5      or loss, so that's out to the sides, the blue data shows

1 6 : 1 5 : 1 9   6      less loss than the green data, consistent with what the

1 6 : 1 5 : 2 2   7      patent teaches would be the benefit of adopting this kind

1 6 : 1 5 : 2 7   8      of structure.

1 6 : 1 5 : 2 8   9      Q.    Just so it's clear, in the comparative example when N

1 6 : 1 5 : 3 1   10     equals 1, that means the passivation layer is equal?

1 6 : 1 5 : 3 6   11     A.    Yes.

1 6 : 1 5 : 3 6   12     Q.    Okay.

1 6 : 1 5 : 4 0   13     A.    In this diagram here, that's the thickness in purple,

1 6 : 1 5 : 4 2   14     and the thickness in orange, the thickness outside and

1 6 : 1 5 : 4 7   15     inside the active region has the same thickness.           If you

1 6 : 1 5 : 5 0   16     recall, the time claim element here specifies that that

1 6 : 1 5 : 5 3   17     value -- it's not working -- 9G says that ratio is

1 6 : 1 5 : 5 8   18     something other than 1.       In this case, the ratio is

1 6 : 1 6 : 0 2   19     greater than 1 because it's thicker on the outside.

1 6 : 1 6 : 0 4   20     Q.    And based on your review of the design and structures

1 6 : 1 6 : 1 3   21     and performance of the Akoustis accused products,

1 6 : 1 6 : 1 8   22     Dr. Heinrich's testing in exhibits -- Trial Exhibit 237,

1 6 : 1 6 : 2 3   23     and Dr. Shanfield's analysis, have you reached a

1 6 : 1 6 : 2 6   24     conclusion as to whether all of the accused Akoustis

1 6 : 1 6 : 2 9   25     products infringe Claim 9?
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1 6 : 1 6 : 3 2   1      A.    Yes.   In this case, 19 of the 19 products, in my

1 6 : 1 6 : 3 4   2      opinion, practice or read on all of the claims in Claim 9

1 6 : 1 6 : 4 0   3      of the '755 patent for the reasons that I reviewed with

1 6 : 1 6 : 4 4   4      you briefly.

1 6 : 1 6 : 4 6   5      Q.    Dr. Bravman, did you also consider Claim 10 of the

1 6 : 1 6 : 4 9   6      '755 patent?

1 6 : 1 6 : 5 0   7      A.    Yes.

1 6 : 1 6 : 5 0   8                   THE WITNESS:     If you go to the next slide

1 6 : 1 6 : 5 1   9      please.

1 6 : 1 6 : 5 5   10     BY MR. MASTERS:

1 6 : 1 6 : 5 5   11     Q.    So, please, Dr. Bravman what are you illustrating

1 6 : 1 6 : 5 8   12     here?   Can you refer to Claim 10?

1 6 : 1 7 : 0 0   13     A.    So we see on the right-hand side, Claim Element 10,

1 6 : 1 7 : 0 3   14     starting with A, says, "A method of fabrication."           So

1 6 : 1 7 : 0 8   15     there are method types of claims or patents, and there's

1 6 : 1 7 : 1 1   16     so-called apparatus or structural descriptions.           Claim 9

1 6 : 1 7 : 1 6   17     was the structure and the asserted benefit thereof.

1 6 : 1 7 : 2 0   18     Claim 10 says -- or describes a method of fabricating such

1 6 : 1 7 : 2 5   19     a structure, and if you go through B through H, 10B

1 6 : 1 7 : 3 0   20     through 10H, you will see that it's a method of

1 6 : 1 7 : 3 4   21     building -- it uses the word "providing" -- structures to

1 6 : 1 7 : 3 9   22     create the structure.      So it's more about providing or

1 6 : 1 7 : 4 2   23     building a resonator, whereas, Claim 9, its description

1 6 : 1 7 : 4 7   24     and benefit is evident in both.

1 6 : 1 7 : 4 9   25                  MR. MASTERS:     And, Mr. Faison, can you project
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                                                   Bravman   - Direct

1 6 : 1 7 : 5 2   1      PDX-10.26.

1 6 : 1 7 : 5 5   2      BY MR. MASTERS:

1 6 : 1 7 : 5 5   3      Q.    And, Dr. Bravman, can you please explain how

1 6 : 1 7 : 5 8   4      PTX-0404, the XB1 design manual, informed your opinion as

1 6 : 1 8 : 0 2   5      to whether Claim 10 satisfied these steps?

1 6 : 1 8 : 0 6   6      A.    Yes.   If we look at the design manuals and we look at

1 6 : 1 8 : 0 9   7      data sheets and other things provided, we can step-by-step

1 6 : 1 8 : 1 4   8      walk through this and see, in fact, that the

1 6 : 1 8 : 1 7   9      description -- that Akoustis specifies construction of

1 6 : 1 8 : 2 3   10     devices that comport with or read upon Claim 10.              It's a

1 6 : 1 8 : 2 9   11     method of building it.

1 6 : 1 8 : 3 1   12                  MR. MASTERS:      Can we go back to PDX-10.25,

1 6 : 1 8 : 3 4   13     please.

1 6 : 1 8 : 3 5   14     BY MR. MASTERS:

1 6 : 1 8 : 3 5   15     Q.    Dr. Bravman, do Claims 9 and 10 apply to both SMR and

1 6 : 1 8 : 4 0   16     FBAR filters?

1 6 : 1 8 : 4 2   17     A.    Yes.   A worker of skill would know that the patent

1 6 : 1 8 : 4 6   18     explicitly says that.

1 6 : 1 8 : 4 8   19                  MR. MASTERS:      Can we jump to PDX-10.27, please.

1 6 : 1 8 : 5 1   20     BY MR. MASTERS:

1 6 : 1 8 : 5 1   21     Q.    And what do you illustrate here in PDX-10.27?

1 6 : 1 8 : 5 7   22     A.    Here, again, from the '755, I've called out two text

1 6 : 1 9 : 0 4   23     blocks, and I've laid, side by side -- Figure 2B is from

1 6 : 1 9 : 1 2   24     the patent.       It shows solid resonator.        It doesn't have

1 6 : 1 9 : 1 6   25     the cavity underneath.       And it shows a loss to the side as
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                                                  Bravman   - Direct

1 6 : 1 9 : 2 1   1      a result of the thicker purple regions on the periphery.

1 6 : 1 9 : 2 6   2            This little drawing just compares that what's

1 6 : 1 9 : 2 9   3      different is underneath in the FBAR as opposed to the

1 6 : 1 9 : 3 3   4      solid mounted resonator.       But the patent's talking about

1 6 : 1 9 : 3 7   5      loss peripherally to the side.        And so although these

1 6 : 1 9 : 4 1   6      structures have -- these types of resonators have

1 6 : 1 9 : 4 4   7      structural differences, this patent's talking about loss

1 6 : 1 9 : 4 7   8      to the sides laterally, and it does so explicitly in the

1 6 : 1 9 : 5 1   9      patent language.

1 6 : 1 9 : 5 1   10     Q.    And, for the record, the two blocks of text in

1 6 : 1 9 : 5 6   11     this -- from the '755 patent, which is Trial Exhibit 42,

1 6 : 1 9 : 5 9   12     is Column 2, Lines 14 to 26 and 15, Column 7, Lines 54 to

1 6 : 2 0 : 0 8   13     57.   It's not appearing there at the bottom.

1 6 : 2 0 : 1 2   14                  MR. MASTERS:     Okay.   Mr. Faison, can we jump to

1 6 : 2 0 : 1 5   15     PDX-10.28, the next slide.

1 6 : 2 0 : 1 8   16     BY MR. MASTERS:

1 6 : 2 0 : 1 8   17     Q.    And then, Doctor, based on your review of all of the

1 6 : 2 0 : 2 1   18     information, can you summarize your overall opinion with

1 6 : 2 0 : 2 3   19     respect to infringement of the '018 and '755 patent?

1 6 : 2 0 : 2 7   20     A.    So this is an attempt to capture all the different

1 6 : 2 0 : 3 1   21     documents that I considered that were provided to me that

1 6 : 2 0 : 3 5   22     I described briefly this morning -- this afternoon, as

1 6 : 2 0 : 3 8   23     well as my conclusions 18 of the 19 patents -- products,

1 6 : 2 0 : 4 2   24     I'm sorry -- read upon the '018 patent and all 19 read on

1 6 : 2 0 : 4 7   25     the asserted claims of the '755 patent.
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                                                  Bravman   - Direct

1 6 : 2 0 : 5 0   1                   MR. MASTERS:     Your Honor, may I approach?

1 6 : 2 0 : 5 0   2                   THE COURT:    You may.

1 6 : 2 1 : 5 6   3                   MR. MASTERS:     You can take the slide down.

1 6 : 2 1 : 5 8   4      BY MR. MASTERS:

1 6 : 2 1 : 5 8   5      Q.    Dr. Bravman, I've handed you PTX-0710.

1 6 : 2 2 : 0 3   6            Do you have that in front of you?

1 6 : 2 2 : 0 8   7      A.    Yes.

1 6 : 2 2 : 0 8   8      Q.    And also --

1 6 : 2 2 : 1 2   9            What is PTX-0710?

1 6 : 2 2 : 1 5   10     A.    It's a license agreement between Akoustis

1 6 : 2 2 : 1 8   11     Technologies Incorporated and Cornell University for

1 6 : 2 2 : 2 2   12     patent 7,250,360.

1 6 : 2 2 : 2 7   13                  MR. MASTERS:     Your Honor, I'd move for

1 6 : 2 2 : 2 8   14     admission PTX-710.

1 6 : 2 2 : 3 2   15                  THE COURT:    Marked and received as 277.

1 6 : 2 2 : 3 5   16                  (Trial Exhibit No. 277 was admitted into

1 6 : 2 2 : 3 5   17     evidence.)

1 6 : 2 2 : 3 7   18                  MR. MASTERS:     And I move for admission the

1 6 : 2 2 : 4 1   19     Cornell patent, PTX-1307.

1 6 : 2 2 : 4 6   20                  THE COURT:    Marked and received as 278.

1 6 : 2 2 : 4 8   21                  (Trial Exhibit No. 278 was admitted into

1 6 : 2 2 : 4 8   22     evidence.)

1 6 : 2 2 : 4 9   23                  MR. MASTERS:     Mr. Faison, can you just project

1 6 : 2 2 : 5 3   24     the cover of PTX-710.      Yes.

                  25
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                                                  Bravman   - Direct

1 6 : 2 2 : 5 7   1      BY MR. MASTERS:

1 6 : 2 2 : 5 7   2      Q.    So, Dr. Bravman, I've handed you both the license and

1 6 : 2 3 : 0 1   3      the patent.

1 6 : 2 3 : 0 2   4            Have you reviewed the patent that is the subject of

1 6 : 2 3 : 0 5   5      this license agreement?

1 6 : 2 3 : 0 6   6      A.    Yes.

1 6 : 2 3 : 0 8   7      Q.    And can you just generally describe for the jury what

1 6 : 2 3 : 1 0   8      the patent -- we call it the '360 patent, which is now

1 6 : 2 3 : 1 6   9      Trial Exhibit 278 -- what does the '360 patent relate to?

1 6 : 2 3 : 2 4   10     A.    You may recall or be aware that solid materials may

1 6 : 2 3 : 2 8   11     exist in the form of crystal and solids.          An engagement

1 6 : 2 3 : 3 6   12     ring is a great example of a single crystal.          Most

1 6 : 2 3 : 4 1   13     materials don't -- that are crystalline don't exist as

1 6 : 2 3 : 4 5   14     single crystals.      You may know that the lower the number

1 6 : 2 3 : 4 9   15     of defects in a diamond engagement ring, the more it costs

1 6 : 2 3 : 5 5   16     because they're rare.      That's a single crystal.

1 6 : 2 3 : 5 8   17           Many materials, like almost all metals, copper,

1 6 : 2 4 : 0 2   18     steel, aluminum, whatever it is, they're all crystalline

1 6 : 2 4 : 0 7   19     most people don't know that, but it's almost certainly

1 6 : 2 4 : 1 3   20     true that you've never seen a crystal of copper the size

1 6 : 2 4 : 1 6   21     of a diamond engagement ring.

1 6 : 2 4 : 1 8   22           Those materials are usually what are called

1 6 : 2 4 : 2 2   23     polycrystalline.      There's lots of small crystals

1 6 : 2 4 : 2 5   24     aggregated together in a still solid material.

1 6 : 2 4 : 2 8   25           And one or the other, single crystal or polycrystal,
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                                                   Bravman   - Direct

1 6 : 2 4 : 3 1   1      is not better or worse.        They have different qualities

1 6 : 2 4 : 3 6   2      about them.       In microelectronics, thin film devices of

1 6 : 2 4 : 4 2   3      many types -- I think you saw earlier in this trial

1 6 : 2 4 : 4 7   4      someone held up a silicon wafer.            That's a single crystal.

1 6 : 2 4 : 5 1   5      That never occurs in nature.        It is a marvel of

1 6 : 2 4 : 5 5   6      engineering, that we've learned to make crystals this big.

1 6 : 2 4 : 5 9   7      And, in fact, that's just a thin slice from a crystal

1 6 : 2 5 : 0 2   8      that, today, can be 12 inches in diameter and 5 feet long.

1 6 : 2 5 : 0 7   9      We've learned how to do that.

1 6 : 2 5 : 1 0   10           When you then, on a -- let's say, ideally, single

1 6 : 2 5 : 1 4   11     crystal surface, incredibly polished and cleaned and

1 6 : 2 5 : 1 9   12     prepared for the next step -- let's see you want to

1 6 : 2 5 : 2 2   13     deposit another material on top of that, or grow --

1 6 : 2 5 : 2 5   14     deposit or grow -- a thin film layer.

1 6 : 2 5 : 3 1   15           Normally what will happen is that layer of material

1 6 : 2 5 : 3 5   16     will not be single crystal.         It will be polycrystalline.

1 6 : 2 5 : 3 8   17     It's hard to do.       Very hard.   And there's a number of

1 6 : 2 5 : 4 3   18     reasons why that's the case.        But in certain combinations

1 6 : 2 5 : 4 9   19     of substrate and thin film --

1 6 : 2 5 : 5 2   20                  MR. LEMIEUX:      I'm sorry, Your Honor.      Can I

1 6 : 2 5 : 5 4   21     have a sidebar on this.

1 6 : 2 5 : 5 6   22                  THE COURT:     You may.

1 6 : 2 5 : 5 7   23                  MR. LEMIEUX:      Thank you.     May I approach?

1 6 : 2 6 : 0 0   24                  THE COURT:     You may.

1 6 : 2 6 : 4 1   25                                     -   -   -
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                                                   Bravman   - Direct

1 6 : 2 6 : 4 1   1            (Whereupon, the following discussion is held at

1 6 : 2 6 : 4 1   2      sidebar:

1 6 : 2 6 : 4 4   3                   MR. LEMIEUX:      The only part of this expert's

1 6 : 2 6 : 4 5   4      report -- the only part of this expert's report that

1 6 : 2 6 : 5 1   5      relates to the patent at issue --

1 6 : 2 6 : 5 4   6                   THE COURT:     You can speak to both of us.         Speak

1 6 : 2 6 : 5 6   7      up.

1 6 : 2 6 : 5 7   8                   MR. LEMIEUX:      -- is this one paragraph, 224 of

1 6 : 2 7 : 0 0   9      his report.       This entire scope of testimony that he's

1 6 : 2 7 : 0 3   10     providing now is far outside of what he's attuned to here,

1 6 : 2 7 : 0 7   11     which was just a valuation opinion.         There is nothing

1 6 : 2 7 : 1 1   12     about growth of single crystals and all the rest of it

1 6 : 2 7 : 1 4   13     that's in his report.

1 6 : 2 7 : 1 5   14                  So everything that he's testifying to now is --

1 6 : 2 7 : 1 8   15     totally exceeds the scope of his report.

1 6 : 2 7 : 2 0   16                  THE COURT:     He talks about a very specific

1 6 : 2 7 : 2 2   17     process of growing a particular layer.             It is narrow --

1 6 : 2 7 : 3 1   18     there's a specific reference, so let's talk about that.               I

1 6 : 2 7 : 3 5   19     think that might be simplification.         Let's talk about

1 6 : 2 7 : 3 8   20     that.

1 6 : 2 7 : 4 0   21                  MR. LEMIEUX:      So this -- what he says about

1 6 : 2 7 : 4 2   22     this patent is that he's making a value judgment.              He says

1 6 : 2 7 : 4 6   23     this patent '360, relates to a very specific process for

1 6 : 2 7 : 4 9   24     growing an epitaxial layer.        And then the next -- the only

1 6 : 2 7 : 5 3   25     other sentence is, "It is narrower in import" meaning -- I
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                                                  Bravman   - Direct

1 6 : 2 7 : 5 6   1      assume that's value -- "than the resonator performance

1 6 : 2 8 : 0 0   2      benefits identified in the '018 patent, and '755, which

1 6 : 2 8 : 0 4   3      are at issue in this case and that are applicable across

1 6 : 2 8 : 0 9   4      resonator types and are independent of fabrication

1 6 : 2 8 : 1 0   5      process."

1 6 : 2 8 : 1 1   6                   So he doesn't give an opinion about the '360

1 6 : 2 8 : 1 4   7      other than to say that he believes it's of less import

1 6 : 2 8 : 1 8   8      than these two patents.       And that's not what he's

1 6 : 2 8 : 2 1   9      testifying to.

1 6 : 2 8 : 2 1   10                  THE COURT:    Let's hear what --

1 6 : 2 8 : 2 2   11                  MR. MASTERS:     So he gives a brief -- I concede

1 6 : 2 8 : 2 7   12     that --

1 6 : 2 8 : 2 8   13                  THE COURT:    It is short.

1 6 : 2 8 : 2 9   14                  MR. MASTERS:     -- about '360.

1 6 : 2 8 : 3 1   15                  THE COURT:    Right.

1 6 : 2 8 : 3 1   16                  MR. MASTERS:     I think for the purposes of

1 6 : 2 8 : 3 2   17     explaining this paragraph to the jury, he is going into

1 6 : 2 8 : 3 7   18     some detail, which is not necessary.         But he's an expert.

1 6 : 2 8 : 4 1   19     He's doing that.

1 6 : 2 8 : 4 2   20                  If you like, I can give him a copy of his

1 6 : 2 8 : 4 5   21     report, and just say, can you please briefly describe

1 6 : 2 8 : 4 8   22     '360, trying to move along.

1 6 : 2 8 : 5 1   23                  THE COURT:    I think that's appropriate because

1 6 : 2 8 : 5 2   24     I don't think we need -- one, we don't need a detailed

1 6 : 2 8 : 5 5   25     description.
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1 6 : 2 8 : 5 6   1                   MR. MASTERS:     I agree.    It's for purposes of

1 6 : 2 8 : 5 8   2      laying a foundation for the damages report.

1 6 : 2 8 : 5 9   3                   THE COURT:    Sure.    I understand what he's

1 6 : 2 9 : 0 0   4      talking about, and that's not a problem.          He wants to show

1 6 : 2 9 : 0 2   5      this is better than the Cornell patent, right?

1 6 : 2 9 : 0 9   6                   MR. MASTERS:     Well, no.   He's trying to --

1 6 : 2 9 : 1 0   7                   MR. LEMIEUX:     He's --

1 6 : 2 9 : 1 0   8                   THE REPORTER:     You have to talk one at a time.

1 6 : 2 9 : 1 0   9                   MR. MASTERS:     The purpose of this is to show

1 6 : 2 9 : 1 2   10     the '360 is a very specific patent --

1 6 : 2 9 : 1 5   11                  THE COURT:    Sure.

1 6 : 2 9 : 1 5   12                  MR. MASTERS:     -- compared to the '755 and

1 6 : 2 9 : 1 9   13     '018 --

1 6 : 2 9 : 2 0   14                  THE COURT:    Right.

1 6 : 2 9 : 2 0   15                  MR. MASTERS:     -- that are broader in scope.

1 6 : 2 9 : 2 1   16                  THE COURT:    All right.

1 6 : 2 9 : 2 1   17                  MR. MASTERS:     And that's what the purpose of

1 6 : 2 9 : 2 1   18     his testimony is.

1 6 : 2 9 : 2 5   19                  THE COURT:    Right.

1 6 : 2 9 : 2 5   20                  MR. MASTERS:     And, as I said, he's just -- he's

1 6 : 2 9 : 2 7   21     a teacher.

1 6 : 2 9 : 2 7   22                  THE COURT:    Sure.

1 6 : 2 9 : 2 7   23                  MR. MASTERS:     And he's going into detail, which

1 6 : 2 9 : 3 0   24     honestly, he doesn't need, but --

1 6 : 2 9 : 3 2   25                  THE COURT:    That's okay.    Maybe I'm missing
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                                                  Bravman   - Direct

1 6 : 2 9 : 3 4   1      something here.     But I think he's saying that the licenses

1 6 : 2 9 : 3 8   2      are different significance.        Is that not right?

1 6 : 2 9 : 4 2   3                   MR. MASTERS:     Yes.     With respect to the

1 6 : 2 9 : 4 3   4      patents.    By comparing the patents.       That's all he's

1 6 : 2 9 : 4 5   5      saying.

1 6 : 2 9 : 4 6   6                   THE COURT:    Got it.     But I agree with the

1 6 : 2 9 : 4 9   7      defense counsel.      We don't need to go into --

1 6 : 2 9 : 5 2   8                   MR. MASTERS:     No, I'd like to wrap up.

1 6 : 2 9 : 5 4   9                   THE COURT:    Good.     Thank you very much.

1 6 : 2 9 : 5 5   10     Objection sustained.

1 6 : 2 9 : 5 7   11                  We'll take care of it.

1 6 : 3 0 : 1 9   12           (Whereupon, the discussion at sidebar concludes.)

1 6 : 3 0 : 1 9   13                                    -   -   -

1 6 : 3 0 : 2 0   14     BY MR. MASTERS:

1 6 : 3 0 : 2 1   15     Q.    Dr. Bravman, I would ask -- we were talking about the

1 6 : 3 0 : 2 3   16     Cornell patent.     And just very briefly, as you had

1 6 : 3 0 : 2 7   17     articulated within your --

1 6 : 3 0 : 2 9   18                  THE COURT:    You indicate you may need to

1 6 : 3 0 : 3 0   19     approach, just for clarification; is that right?

1 6 : 3 0 : 3 4   20                  MR. MASTERS:     May I approach?

1 6 : 3 0 : 3 5   21                  THE COURT:    That's fine.     That's fine.

1 6 : 3 0 : 4 0   22     BY MR. MASTERS:

1 6 : 3 0 : 4 0   23     Q.    I want to hand you your expert report and refer to

1 6 : 3 0 : 4 4   24     Paragraph 224.

1 6 : 3 0 : 5 1   25           So, Dr. Bravman, having looked at the Cornell patent,
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                                                    Bravman   - Cross

1 6 : 3 0 : 5 4   1      '360 patent, have you compared the subject matter of that

1 6 : 3 0 : 5 8   2      patent to the '018 and '755 patents and drawn any

1 6 : 3 1 : 0 3   3      conclusions as to the scope of the subject matter of the

1 6 : 3 1 : 0 6   4      Cornell patent relative to the two Qorvo patents?

1 6 : 3 1 : 1 0   5      A.    I did.      As I reported, that my opinion is that the

1 6 : 3 1 : 1 3   6      '360 patent is narrowly -- more narrow, more tailored and

1 6 : 3 1 : 1 9   7      focused description of a certain material's property,

1 6 : 3 1 : 2 2   8      about how to grow films on substrates with certain

1 6 : 3 1 : 2 7   9      orientation relationships.

1 6 : 3 1 : 2 8   10     Q.    And have you drawn any conclusions as to whether the

1 6 : 3 1 : 3 1   11     '755 and '018 patents, that subject matter is broader in

1 6 : 3 1 : 3 5   12     scope compared to the Cornell patent?

1 6 : 3 1 : 3 9   13     A.    Those two patents, as we've been looking at, describe

1 6 : 3 1 : 4 2   14     aspects that improve an actual device, and with a fairly

1 6 : 3 1 : 4 8   15     detailed description of how to do that structurally.

1 6 : 3 1 : 5 1   16     Q.    And when you say "device," you mean BAW filter?

1 6 : 3 1 : 5 4   17     A.    The resonators that go into BAW filters.

1 6 : 3 1 : 5 6   18     Q.    Very good.

1 6 : 3 1 : 5 7   19                  MR. MASTERS:      No further questions, Your Honor.

1 6 : 3 1 : 5 8   20                  THE COURT:     Cross-examination.

1 6 : 3 1 : 5 9   21                               CROSS-EXAMINATION

1 6 : 3 2 : 0 1   22     BY MR. LEMIEUX:

1 6 : 3 2 : 1 1   23     Q.    Dr. Bravman, nice to see you again.

1 6 : 3 2 : 1 4   24     A.    Thank you.

1 6 : 3 2 : 1 6   25     Q.    I know he's the president of one of the juror's
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                                                    Bravman   - Cross

1 6 : 3 2 : 1 8   1      universities, but he's a colleague and alumni of mine, so

1 6 : 3 2 : 2 3   2      I respect him for that.

1 6 : 3 2 : 2 5   3            Dr. Bravman, would you agree that the structures for

1 6 : 3 2 : 3 0   4      SMRs and FBARs are different?

1 6 : 3 2 : 3 2   5      A.    They have different structural aspects of films, as

1 6 : 3 2 : 3 6   6      I've described.       FBAR, of course, has a cavity, has a

1 6 : 3 2 : 4 0   7      reflecting device for acoustic energy, whereas SMRs have a

1 6 : 3 2 : 4 4   8      stack of films, often called a Bragg reflector.

1 6 : 3 2 : 4 9   9      Q.    Would it also be correct to say that the

1 6 : 3 2 : 5 1   10     manufacturing process flows used to create and manufacture

1 6 : 3 2 : 5 6   11     SMRs are different than the ones used to make FBARs?

1 6 : 3 3 : 0 0   12     A.    Because you said "processing flows," yes.          The

1 6 : 3 3 : 0 3   13     details to build structures, you have to describe each and

1 6 : 3 3 : 0 8   14     every step.       So an SMR doesn't have a void underneath it

1 6 : 3 3 : 1 4   15     and an FBAR doesn't have a set of Bragg reflectors.            The

1 6 : 3 3 : 1 8   16     films, the types of materials used, the thicknesses, the

1 6 : 3 3 : 2 2   17     processing tools, the inspection techniques, those are in

1 6 : 3 3 : 2 5   18     common.

1 6 : 3 3 : 2 5   19     Q.    But the recipes to make them would be different,

1 6 : 3 3 : 2 8   20     right?

1 6 : 3 3 : 2 8   21     A.    In part, sure.

1 6 : 3 3 : 3 2   22     Q.    Now, earlier --

1 6 : 3 3 : 3 7   23                  MR. LEMIEUX:      If we could bring up -- I guess

1 6 : 3 3 : 4 0   24     it's Exhibit 238, PTX-0404.        And if we turn to Page 7,

1 6 : 3 3 : 5 4   25     please.
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1 6 : 3 3 : 5 7   1      BY MR. LEMIEUX:

1 6 : 3 3 : 5 7   2      Q.    Now, you were explaining a lot of what these

1 6 : 3 4 : 0 2   3      different layers were in your testimony.          If I understood

1 6 : 3 4 : 0 4   4      you correctly, the brown layer is representing the

1 6 : 3 4 : 0 7   5      electrode layers.      There's an upper brown layer and lower

1 6 : 3 4 : 1 1   6      brown layer?

1 6 : 3 4 : 1 1   7      A.    Yes.

1 6 : 3 4 : 1 2   8      Q.    Is that right?

1 6 : 3 4 : 1 3   9            And if we just look at the bottom figure here -- it's

1 6 : 3 4 : 1 6   10     just a little bit easier for me -- that white space in

1 6 : 3 4 : 1 8   11     there in the middle, that's the air gap, the cavity that

1 6 : 3 4 : 2 3   12     makes this an FBAR resonator?

1 6 : 3 4 : 2 5   13     A.    Right.

1 6 : 3 4 : 2 5   14     Q.    Okay.    And the active region for that, is that

1 6 : 3 4 : 3 1   15     defined by basically the bottom part of that cavity?

1 6 : 3 4 : 3 7   16     A.    Where exactly the boundaries are for the active and

1 6 : 3 4 : 4 0   17     so-called outer regions, the patent doesn't describe

1 6 : 3 4 : 4 4   18     fully.    The Court offered a construction, which both

1 6 : 3 4 : 5 0   19     parties had to apply as best they could.

1 6 : 3 4 : 5 4   20           A worker of skill understands that the electric

1 6 : 3 4 : 5 7   21     fields produced between the upper and lower electrode

1 6 : 3 5 : 0 2   22     electromechanically activates the piezoelectric blue

1 6 : 3 5 : 0 6   23     layer.    And you can see here, of course, that unlike the

1 6 : 3 5 : 0 9   24     idealized drawings in the patent, the brown electrodes

1 6 : 3 5 : 1 3   25     have more complicated structures.
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                                                    Bravman   - Cross

1 6 : 3 5 : 1 6   1            We also see them separated vertically from the

1 6 : 3 5 : 1 9   2      piezoelectric layers, in some places by films, and other

1 6 : 3 5 : 2 2   3      places not.       But this is the real structure.      And a worker

1 6 : 3 5 : 3 0   4      of skill would understand that the layers are what they

1 6 : 3 5 : 3 5   5      are, I don't think there's any dispute about.           But where

1 6 : 3 5 : 3 9   6      the various passivation layers are, I think they also

1 6 : 3 5 : 4 3   7      would not dispute.

1 6 : 3 5 : 4 4   8      Q.    So if I'm looking at this correctly, then, the light

1 6 : 3 5 : 4 7   9      green, what's labeled silicon oxide, the SIO2 there --

1 6 : 3 5 : 5 2   10     A.    Yes.

1 6 : 3 5 : 5 2   11     Q.    -- that's the substrate material, right?

1 6 : 3 5 : 5 4   12     A.    That a layer grown on the silicon substrate.

1 6 : 3 5 : 5 7   13     Q.    Okay.   And then the white area in the middle, that's

1 6 : 3 5 : 5 9   14     the air cavity?

1 6 : 3 6 : 0 1   15     A.    Yes.

1 6 : 3 6 : 0 1   16     Q.    Okay.   And the active area of that air cavity, that

1 6 : 3 6 : 0 5   17     goes from -- if I take just the bottom of it, it goes from

1 6 : 3 6 : 1 1   18     one side over to the other side, right?

1 6 : 3 6 : 1 2   19     A.    Of the cavity.      That's right.

1 6 : 3 6 : 1 6   20     Q.    Okay.

1 6 : 3 6 : 1 6   21     A.    The electric field strength is going to vary left to

1 6 : 3 6 : 1 9   22     right, I'd say across the page, between the two electrodes

1 6 : 3 6 : 2 2   23     penetrating through the piezoelectric layer.

1 6 : 3 6 : 2 4   24     Q.    But it's fair to say that entire space is the active

1 6 : 3 6 : 2 9   25     area?
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                                                    Bravman   - Cross

1 6 : 3 6 : 3 1   1      A.    No.   I've not said -- I've not seen anything

1 6 : 3 6 : 3 4   2      described from Akoustis that delineates precisely the

1 6 : 3 6 : 3 9   3      inner and outer regions.        It is what the Court ordered

1 6 : 3 6 : 4 3   4      them to be.       And that does not include a precise

1 6 : 3 6 : 5 0   5      structural position, if you will.

1 6 : 3 6 : 5 3   6      Q.    I'm just -- you know, it's hard for me.          I guess I'm

1 6 : 3 6 : 5 7   7      a bit of a visual learner on these things, and so I'm just

1 6 : 3 7 : 0 0   8      trying to understand what one means by that.

1 6 : 3 7 : 0 5   9      A.    Well, I think if you look at the upper electrode in

1 6 : 3 7 : 0 7   10     particular, a worker of skill would understand on the

1 6 : 3 7 : 1 0   11     right side there's a thicker region.

1 6 : 3 7 : 1 3   12           On the left side there's a thicker region, which is

1 6 : 3 7 : 1 5   13     larger in a lateral extent left to right.           But those

1 6 : 3 7 : 1 8   14     regions are elevated above the piezoelectric film by an

1 6 : 3 7 : 2 5   15     intervening layer of dielectric material, that's SIO2, in

1 6 : 3 7 : 3 2   16     the light blue.       And so I think because of those, that

1 6 : 3 7 : 3 5   17     thickness, as guard ring structures, which I think workers

1 6 : 3 7 : 4 0   18     of skill would understand.

1 6 : 3 7 : 4 1   19           And because of the intervening thin layer of SIO2,

1 6 : 3 7 : 4 5   20     the real action's going to occur in the region where

1 6 : 3 7 : 4 9   21     there's no SIO2 between the upper electrode and the

1 6 : 3 7 : 5 5   22     piezoelectric.       So I think the active device region, as

1 6 : 3 8 : 0 0   23     the Court construed it, I would look at all the

1 6 : 3 8 : 0 2   24     information and, based on experience, posit that it was

1 6 : 3 8 : 1 0   25     that central region.
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                                                   Bravman   - Cross

1 6 : 3 8 : 1 2   1            These are, in fact, very complex structures, as we

1 6 : 3 8 : 1 5   2      know, but I think that's a fair read that I would employ.

1 6 : 3 8 : 1 9   3      Q.    Okay.   So the active area covers, you know,

1 6 : 3 8 : 2 4   4      basically, the white area, the air cavity.

1 6 : 3 8 : 2 7   5            Now, if I'm looking at the top brown layer -- that's

1 6 : 3 8 : 3 0   6      the top electrode for purposes of your analysis?

1 6 : 3 8 : 3 3   7      A.    Yes.

1 6 : 3 8 : 3 3   8      Q.    Okay.   And then let's point out there.        Then the one

1 6 : 3 8 : 3 6   9      below that, that's considered to be the bottom electrode;

1 6 : 3 8 : 4 0   10     is that right?

1 6 : 3 8 : 4 0   11     A.    Yes.

1 6 : 3 8 : 4 0   12     Q.    Okay.   Now, over on the side here we can see part of

1 6 : 3 8 : 4 4   13     the top electrode actually on either side of that, as it

1 6 : 3 8 : 4 8   14     appears over the white active area, like the cavity, is

1 6 : 3 8 : 5 2   15     actually quite a bit thicker than the bottom electrode.

1 6 : 3 8 : 5 5   16     A.    That's right.     These are complicated structures.

1 6 : 3 8 : 5 7   17     Q.    Okay.   So if --

1 6 : 3 8 : 5 7   18     A.    The difference is that the blue SIO2 film intervenes

1 6 : 3 9 : 0 3   19     between the top electrode and the piezoelectric material.

1 6 : 3 9 : 0 5   20     That will affect the electric field as applied across the

1 6 : 3 9 : 0 8   21     piezoelectric material and thereby affect its operation.

1 6 : 3 9 : 1 2   22     Q.    I'm sorry.    I didn't mean to interrupt you.

1 6 : 3 9 : 1 3   23           The patent claim itself requires that the top layer

1 6 : 3 9 : 1 6   24     be thinner than the bottom layer, correct?

1 6 : 3 9 : 1 9   25     A.    Yes.
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                                                   Bravman   - Cross

1 6 : 3 9 : 3 1   1            (Interruption in proceedings.)

1 6 : 3 9 : 4 6   2                    THE WITNESS:    I think I indicated in my direct

1 6 : 3 9 : 4 8   3      testimony that this drawing wasn't to scale and that we

1 6 : 3 9 : 5 0   4      had to look at either data specified by Akoustis and/or

1 6 : 3 9 : 5 4   5      cross-sectional analyses provided by Dr. Heinrich to get

1 6 : 3 9 : 5 7   6      the actual ratios.

1 6 : 3 9 : 5 9   7      BY MR. LEMIEUX:

1 6 : 3 9 : 5 9   8      Q.    And I believe you also said, though, that this was an

1 6 : 4 0 : 0 2   9      actual depiction, which is why you used it as part of your

1 6 : 4 0 : 0 5   10     report, of the various layers of the Akoustis device.

1 6 : 4 0 : 0 9   11     A.    It's not an actual depiction, first of all, because

1 6 : 4 0 : 1 2   12     it's not to scale left to right and up and down.           I

1 6 : 4 0 : 1 5   13     said -- I'm quite sure I said you don't see sharp corners

1 6 : 4 0 : 1 8   14     in real devices.

1 6 : 4 0 : 2 0   15           But a worker of skill looking at a manual, such at

1 6 : 4 0 : 2 3   16     the XB1 manual and it's various descriptions, is aided in

1 6 : 4 0 : 2 8   17     his or her understanding by a drawing such as this.

1 6 : 4 0 : 3 1   18     Q.    Okay.   So just -- so you would agree with me in this

1 6 : 4 0 : 3 6   19     drawing that the upper electrode is thicker than the lower

1 6 : 4 0 : 3 8   20     electrode -- in this drawing at least?

1 6 : 4 0 : 4 0   21     A.    To my eyes it looks thicker in this nondispositive

1 6 : 4 0 : 4 4   22     drawing.

1 6 : 4 0 : 4 5   23     Q.    Okay.   Now, one of the differences -- or, I guess

1 6 : 4 0 : 4 9   24     excuse me -- one of similarities between FBARs and SMRs is

1 6 : 4 0 : 5 4   25     that they share certain common elements, as I believe
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                                                   Bravman   - Cross

1 6 : 4 0 : 5 7   1      you've testified to --

1 6 : 4 0 : 5 8   2      A.    Yes.

1 6 : 4 0 : 5 8   3      Q.    -- and are those common elements well known, then, to

1 6 : 4 1 : 0 1   4      those who practice in the art of industry?

1 6 : 4 1 : 0 5   5      A.    The use of silicon, SIO2, silicon nitride, and those

1 6 : 4 1 : 1 1   6      kinds of materials is understood widely in the industry,

1 6 : 4 1 : 1 3   7      has been for 70 years.       It's how you make it work.      That's

1 6 : 4 1 : 1 8   8      where the magic is.

1 6 : 4 1 : 1 9   9      Q.    It's not a trade secret owned by any particular

1 6 : 4 1 : 2 1   10     company.     This is something well known to engineers like

1 6 : 4 1 : 2 3   11     yourself, university students, et cetera; is that right?

1 6 : 4 1 : 2 6   12     A.    The use of those materials, it is known broadly, are

1 6 : 4 1 : 2 9   13     common in microelectronic devices.

1 6 : 4 1 : 3 2   14     Q.    Now, if we're trying to measure the bandwidth of a

1 6 : 4 1 : 4 1   15     resonator, and I think we have -- in fact, if we could --

1 6 : 4 1 : 4 4   16     I wanted to confirm on one of your pictures here, make

1 6 : 4 1 : 5 0   17     sure that I was looking at the right thing.

1 6 : 4 1 : 5 2   18                   MR. LEMIEUX:    If we could pull up PDX-10.7.

1 6 : 4 1 : 5 8   19     BY MR. LEMIEUX:

1 6 : 4 1 : 5 8   20     Q.    In the lower left-hand corner here, that's a

1 6 : 4 2 : 0 1   21     depiction of various resonators in this device?

1 6 : 4 2 : 0 4   22     A.    Yes.

1 6 : 4 2 : 0 5   23     Q.    Okay.   And those resonators are oval or elliptical,

1 6 : 4 2 : 0 9   24     correct?

1 6 : 4 2 : 0 9   25     A.    The ones that are elongated in the vertical
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                                                   Bravman   - Cross

1 6 : 4 2 : 1 4   1      direction -- I'll say two, four, six, eight, ten -- those

1 6 : 4 2 : 1 9   2      are oval in shape.      The others -- the biggest one, the

1 6 : 4 2 : 2 2   3      upper left-hand and upper right-hand corner, maroon and

1 6 : 4 2 : 2 6   4      yellow, those are oval shape.       The other ones have more

1 6 : 4 2 : 2 8   5      complicated shapes.

1 6 : 4 2 : 2 9   6      Q.    Okay.   Is that because there's other devices that are

1 6 : 4 2 : 3 2   7      interacting with those resonators?

1 6 : 4 2 : 3 4   8      A.    Almost certainly.

1 6 : 4 2 : 3 7   9      Q.    So when we've been speaking in terms of an oval

1 6 : 4 2 : 4 0   10     versus a rectangular or polygon resonator, this is an

1 6 : 4 2 : 4 5   11     example of what an oval or elliptical resonator would look

1 6 : 4 2 : 4 8   12     like?

1 6 : 4 2 : 4 9   13     A.    This is what the shape on this drawing is.          These

1 6 : 4 2 : 5 1   14     are -- the ones I mentioned, 12 in number, are --

1 6 : 4 2 : 5 5   15     absolutely are oval.

1 6 : 4 2 : 5 9   16     Q.    Okay.   And this comes from documents that were

1 6 : 4 3 : 0 0   17     provided to you from Akoustis to show the design of its

1 6 : 4 3 : 0 3   18     actual devices, correct?

1 6 : 4 3 : 0 8   19     A.    Yes.

1 6 : 4 3 : 0 8   20                   MR. LEMIEUX:    If we could turn to Page

1 6 : 4 3 : 1 0   21     PDX-10.8.

1 6 : 4 3 : 1 2   22     BY MR. LEMIEUX:

1 6 : 4 3 : 1 2   23     Q.    Now, in your stack information that you're looking at

1 6 : 4 3 : 1 7   24     here, you circled the bottom electrode at 930 angstroms.

1 6 : 4 3 : 2 0   25     And then for the top electrode, which you used the same
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                                                    Bravman   - Cross

1 6 : 4 3 : 2 4   1      color, you have helper, a shunt in a series.

1 6 : 4 3 : 2 8   2            Is this all considered part of the top electrode?

1 6 : 4 3 : 3 1   3      A.    No.   Those are electrode structures in three

1 6 : 4 3 : 3 4   4      different resonators -- types, if you will, that are

1 6 : 4 3 : 3 8   5      present in an overall filter or structure.             So they have

1 6 : 4 3 : 4 2   6      different electrical purposes.

1 6 : 4 3 : 4 4   7      Q.    Okay.   So the series that you pointed out at

1 6 : 4 3 : 4 7   8      830 angstroms, what is that used for?

1 6 : 4 3 : 5 0   9      A.    So if you go to the previous drawing, I believe in

1 6 : 4 3 : 5 4   10     Dr. Heinrich's testimony he showed where he took the

1 6 : 4 3 : 5 7   11     cross-section, and it was through the series of what I

1 6 : 4 4 : 0 2   12     said were not normal ovals, left to right across the page.

1 6 : 4 4 : 0 7   13     That's where he took a section.         And those are the series

1 6 : 4 4 : 1 0   14     resonators -- resonator structures.         And that's why I

1 6 : 4 4 : 1 3   15     compared that number, 830 angstroms, to what he obtained

1 6 : 4 4 : 1 7   16     in his microscope.

1 6 : 4 4 : 1 8   17     Q.    What's a shunt, then, which you also have listed

1 6 : 4 4 : 2 1   18     under top electrode?

1 6 : 4 4 : 2 4   19     A.    Shunt and helper are other structures.            I'm not

1 6 : 4 4 : 2 6   20     offering an opinion about that.         I'm not a filter

1 6 : 4 4 : 2 9   21     designer.     But I know that what Dr. Heinrich

1 6 : 4 4 : 3 1   22     interrogated -- investigated was those series of resonator

1 6 : 4 4 : 3 8   23     structures.       And that's why, again, I compared his

1 6 : 4 4 : 4 2   24     microanalysis to the data sheet in front of us.

1 6 : 4 4 : 4 6   25     Q.    But you've grouped them together.            So I'm just trying
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1 6 : 4 4 : 4 7   1      to understand why have you grouped the helper and the

1 6 : 4 4 : 5 0   2      shunt in the series all as part of the top electrode?           If

1 6 : 4 4 : 5 3   3      they're not part of it, why wouldn't you have listed them

1 6 : 4 4 : 5 6   4      elsewhere?

1 6 : 4 4 : 5 6   5      A.    Because they all have top and bottom electrodes.

1 6 : 4 4 : 5 9   6      Q.    Okay.   So, in this case, these helper and shunt

1 6 : 4 5 : 0 2   7      series, those are both showing larger sizes than the

1 6 : 4 5 : 0 5   8      bottom electrode layer?

1 6 : 4 5 : 0 7   9      A.    Correct.

1 6 : 4 5 : 0 8   10     Q.    Okay.

1 6 : 4 5 : 1 2   11                   MR. LEMIEUX:    If we could go to Page PDX-10.10.

1 6 : 4 5 : 2 0   12     BY MR. LEMIEUX:

1 6 : 4 5 : 2 0   13     Q.    These are showing some of the diagrams or information

1 6 : 4 5 : 2 3   14     you received from Dr. Shanfield, right --

1 6 : 4 5 : 2 6   15     A.    Yes.

1 6 : 4 5 : 2 6   16     Q.    -- that assisted you in your analysis?

1 6 : 4 5 : 2 8   17     A.    Yes.

1 6 : 4 5 : 2 9   18     Q.    And on the graphs here, the larger graphs that are in

1 6 : 4 5 : 3 2   19     the middle, they say "lateral energy flux."

1 6 : 4 5 : 3 6   20           What's the unit of measurement that's along that

1 6 : 4 5 : 3 8   21     axis?

1 6 : 4 5 : 3 9   22     A.    I don't know what the unit is.       It's probably --

1 6 : 4 5 : 4 2   23     because this is a finite element model -- it was relative.

1 6 : 4 5 : 4 5   24     And so one would be a baseline.        But, again, I didn't

1 6 : 4 5 : 4 9   25     produce these.     And so Dr. Shanfield would have to answer
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1 6 : 4 5 : 5 3   1      that question.     I asked him, was this a linear scale or

1 6 : 4 5 : 5 5   2      log rhythmic scale.      He told me it was a linear scale and

1 6 : 4 5 : 5 9   3      relative values of energy loss or flux, laterally.

1 6 : 4 6 : 0 3   4      Q.    But we know -- we don't know what the .5, .11, .5 --

1 6 : 4 6 : 0 4   5      what that actually would measure to in a physical

1 6 : 4 6 : 0 9   6      measurement, we have no idea?

1 6 : 4 6 : 1 1   7      A.    Well, first of all, there's a times 10 to the minus

1 6 : 4 6 : 1 4   8      10 in the upper -- at the top there.         So these are very

1 6 : 4 6 : 1 7   9      small units, whatever they are.        If I read that, I don't

1 6 : 4 6 : 2 2   10     recall.    But because the patent speaks to relative

1 6 : 4 6 : 2 6   11     changes, it doesn't specify quantitative bars to be

1 6 : 4 6 : 3 2   12     surpassed.    It just says better, broader bandwidth, things

1 6 : 4 6 : 3 7   13     like that.

1 6 : 4 6 : 3 8   14           In this case, we're showing that type of -- only

1 6 : 4 6 : 4 2   15     semiquantitative effects.       This certainly suffices.      This

1 6 : 4 6 : 4 6   16     is Dr. Shanfield's work.

1 6 : 4 6 : 4 7   17     Q.    Because the bottom axis, we understand, that's

1 6 : 4 6 : 5 0   18     frequency.    That's measuring specific frequencies?

1 6 : 4 6 : 5 2   19     A.    Yes.

1 6 : 4 6 : 5 2   20     Q.    And so the vertical axis, though, is measuring

1 6 : 4 6 : 5 9   21     something we don't know relative to itself?

1 6 : 4 7 : 0 3   22     A.    Yeah.   The absolute value or the unit here, for the

1 6 : 4 7 : 0 6   23     purposes of showing that the alleged benefit of the patent

1 6 : 4 7 : 1 0   24     is obtained, that suffices.

1 6 : 4 7 : 1 5   25     Q.    If someone wanted -- or needed, I guess we should
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1 6 : 4 7 : 1 9   1      say -- needed to evaluate the bandwidth of a resonator,

1 6 : 4 7 : 2 2   2      would it be more acuate to physically test it and then

1 6 : 4 7 : 2 5   3      measure the device for its bandwidth or to create a

1 6 : 4 7 : 2 9   4      simulation to estimate its bandwidth?

1 6 : 4 7 : 3 3   5      A.    So I'm not offering an opinion about RF resonator

1 6 : 4 7 : 3 6   6      measurements.     That's not directly in my domain.          But I

1 6 : 4 7 : 4 0   7      can tell you that the use of testing and modeling, they're

1 6 : 4 7 : 4 5   8      both known -- but as you heard, I believe, Dr. Shanfield

1 6 : 4 7 : 4 8   9      testify, because of the complexity, time delay, and cost

1 6 : 4 7 : 5 3   10     of building all different -- perhaps, hundreds of

1 6 : 4 7 : 5 7   11     prototypes, this is why modeling was developed.             It's been

1 6 : 4 8 : 0 1   12     developed over the last 40-plus years.

1 6 : 4 8 : 0 4   13           Some of what we want to measure is extraordinarily

1 6 : 4 8 : 0 7   14     difficult or may, in fact, be impossible to actually

1 6 : 4 8 : 1 0   15     physically measure.      To go inside a nanometer-scaled

1 6 : 4 8 : 1 5   16     device and somehow measure the lateral energy flux, I

1 6 : 4 8 : 2 0   17     don't think that can be done.       That would have to be

1 6 : 4 8 : 2 2   18     intuited from other measurements.

1 6 : 4 8 : 2 5   19           So, whereas the performance, electrically, of a

1 6 : 4 8 : 2 9   20     multi-resonator filter, yes, that can be measured.

1 6 : 4 8 : 3 4   21     Q.    So you would agree with, Dr. Bravman, that physical

1 6 : 4 8 : 3 6   22     testing is going to be more accurate than running computer

1 6 : 4 8 : 4 0   23     simulations?

1 6 : 4 8 : 4 1   24     A.    No.   I would not agree with that.          It's so dependent

1 6 : 4 8 : 4 4   25     upon what you're trying to do.        And, again, this is why
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1 6 : 4 8 : 4 7   1      this is so broadly accepted now in academia and in

1 6 : 4 8 : 5 0   2      industry, to use models for these very, very complicated

1 6 : 4 8 : 5 5   3      structures.

1 6 : 4 8 : 5 5   4      Q.    Well, during your deposition, Dr. Bravman, you may

1 6 : 4 8 : 5 8   5      recall I asked you a question:

1 6 : 4 9 : 0 1   6            "Question:      Are there any circumstances where running

1 6 : 4 9 : 0 2   7      a simulation would produce a more accurate result than

1 6 : 4 9 : 0 6   8      actual testing?"

1 6 : 4 9 : 0 8   9            And your response was:       "So I hear the question.      I

1 6 : 4 9 : 1 2   10     would say, by definition, no."

1 6 : 4 9 : 1 7   11     A.    That presumes that you actually can make the

1 6 : 4 9 : 2 0   12     measurement.

1 6 : 4 9 : 2 0   13     Q.    And you go on --

1 6 : 4 9 : 2 2   14     A.    If you can't make --

1 6 : 4 9 : 2 3   15     Q.    I'm sorry.      I just want to provide your full answer.

1 6 : 4 9 : 2 6   16     A.    Okay.

1 6 : 4 9 : 2 6   17     Q.    And so you go on to say:       "But I wasn't a moment ago

1 6 : 4 9 : 3 0   18     speaking about saving money by being able to do large

1 6 : 4 9 : 3 3   19     number of tests, although that might be a result.            What I

1 6 : 4 9 : 3 6   20     was speaking of is you can conduct a large number of tests

1 6 : 4 9 : 3 9   21     that are simulations compared to what your ever

1 6 : 4 9 : 4 3   22     practically going to be able to do with real devices or

1 6 : 4 9 : 4 6   23     structures.       But a given structure or device is a physical

1 6 : 4 9 : 5 0   24     object, is going to have a certain set of properties.

1 6 : 4 9 : 5 3   25     Whether or not you can measure them correctly is a
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                                                   Bravman   - Cross

1 6 : 4 9 : 5 6   1      different story.      But I take that, that is reality and a

1 6 : 5 0 : 0 0   2      model is a model.      So I don't see how you could say it

1 6 : 5 0 : 0 4   3      could be more accurate.       Your assessments of the real

1 6 : 5 0 : 0 8   4      device may be done improperly.        The microscope may not be

1 6 : 5 0 : 1 1   5      calibrated right.      That is reality and the other thing's a

1 6 : 5 0 : 1 5   6      model."

1 6 : 5 0 : 1 5   7            So a simulation is just a prediction of what we think

1 6 : 5 0 : 1 9   8      actually is happening in the physical world, correct?

1 6 : 5 0 : 2 1   9      A.    By definition, that's what a model is.

1 6 : 5 0 : 2 4   10     Q.    Okay.   Thank you.

1 6 : 5 0 : 2 5   11     A.    There's no dispute about that.

1 6 : 5 0 : 2 8   12     Q.    Now, Dr. Shanfield testified earlier that he hadn't

1 6 : 5 0 : 3 1   13     conducted any actual physical tests of the accused

1 6 : 5 0 : 3 4   14     devices, that all he had done was run certain simulations

1 6 : 5 0 : 3 9   15     to produce what would appear to be these graphic results;

1 6 : 5 0 : 4 2   16     isn't that true?

1 6 : 5 0 : 4 3   17     A.    He did not do physical tests.       That's right.     He ran

1 6 : 5 0 : 4 6   18     finite element models with 3- and 400,000 calculational

1 6 : 5 0 : 5 0   19     data points.

1 6 : 5 0 : 5 1   20     Q.    And you've done no physical testing.         You've done no

1 6 : 5 0 : 5 3   21     testing of these devices, right?        You rely on

1 6 : 5 0 : 5 5   22     Dr. Shanfield and you rely on Dr. Heinrich for their --

1 6 : 5 0 : 5 9   23     for their tests?

1 6 : 5 1 : 0 0   24     A.    It's been the plan about that from the beginning.

1 6 : 5 1 : 0 5   25     That's right.
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1 6 : 5 1 : 0 6   1      Q.    Okay.    And so it's fair to say that your infringement

1 6 : 5 1 : 0 9   2      opinion, then, is based upon the simulations run by

1 6 : 5 1 : 1 4   3      Dr. Shanfield, in part, and in part by the testing done by

1 6 : 5 1 : 1 7   4      Dr. Heinrich?

1 6 : 5 1 : 1 8   5      A.    Of course.

1 6 : 5 1 : 1 8   6      Q.    Now, earlier in this case, Dr. Shanfield -- and we

1 6 : 5 1 : 2 6   7      talked about it a little bit in his testimony today --

1 6 : 5 1 : 2 9   8      produced an original expert report that had the kind of

1 6 : 5 1 : 3 3   9      graphic information we saw here a moment ago.           But it

1 6 : 5 1 : 3 6   10     wasn't these graphs, was it?

1 6 : 5 1 : 3 8   11     A.    I don't recall exactly what was in his report

1 6 : 5 1 : 4 0   12     vis-a-vis these we have seen today.         But as you recounted,

1 6 : 5 1 : 4 4   13     or someone recounted earlier today, I found that there was

1 6 : 5 1 : 4 8   14     one that was erroneously included in his report.            It just

1 6 : 5 1 : 5 1   15     didn't match his description.

1 6 : 5 1 : 5 3   16     Q.    Right.      And, in fact, you brought that, then, to

1 6 : 5 1 : 5 5   17     Dr. Shanfield's attention.        And then he ran new testing or

1 6 : 5 1 : 5 9   18     produced a new graph in a supplemental report; is that

1 6 : 5 2 : 0 2   19     right?

1 6 : 5 2 : 0 2   20     A.    He didn't do new testing.        My understanding is he

1 6 : 5 2 : 0 7   21     simply corrected his cut-and-paste error.

1 6 : 5 2 : 1 0   22     Q.    And so if your original opinion, however, on

1 6 : 5 2 : 1 3   23     infringement was based upon the material that had been

1 6 : 5 2 : 1 6   24     provided by Dr. Shanfield in his original report, wasn't

1 6 : 5 2 : 1 9   25     it?
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                                                    Bravman   - Cross

1 6 : 5 2 : 2 0   1      A.    A study which yielded to me, as a worker of skill,

1 6 : 5 2 : 2 4   2      that this must be an error, only one.          And I reported that

1 6 : 5 2 : 2 7   3      faithfully.       And when it was corrected, it doesn't change

1 6 : 5 2 : 3 2   4      my opinion at all.

1 6 : 5 2 : 3 3   5      Q.    Well, it wasn't corrected for several months, isn't

1 6 : 5 2 : 3 5   6      that true?

1 6 : 5 2 : 3 6   7      A.    I'm not aware of the timing.        I did my job and I

1 6 : 5 2 : 3 9   8      reported it.

1 6 : 5 2 : 4 0   9      Q.    You submitted your original expert report in this

1 6 : 5 2 : 4 4   10     case in November of 2023; isn't that right?

1 6 : 5 2 : 4 7   11     A.    Sounds about right.

1 6 : 5 2 : 4 7   12     Q.    And Dr. Shanfield also produced his original report

1 6 : 5 2 : 5 0   13     in November of 2023?

1 6 : 5 2 : 5 2   14     A.    If you represent that, I'll take that at your word.

1 6 : 5 2 : 5 5   15     Q.    Well, because, in fact, your infringement opinion

1 6 : 5 2 : 5 8   16     relied upon analysis that he was doing.            So that was the

1 6 : 5 3 : 0 1   17     report that you were relying on at the time, correct?

1 6 : 5 3 : 0 4   18     A.    It obviously could not have been after my report.

1 6 : 5 3 : 0 7   19     That's correct.

1 6 : 5 3 : 0 7   20     Q.    Okay.   So we agree, then, that you were relying on

1 6 : 5 3 : 1 1   21     the original report submitted by Dr. Shanfield in this

1 6 : 5 3 : 1 4   22     case?

1 6 : 5 3 : 1 5   23     A.    Yes.

1 6 : 5 3 : 1 5   24     Q.    And so your infringement opinion, then, relied on

1 6 : 5 3 : 1 8   25     something that ultimately turned out to be not correct,
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                                                 Bravman   - Redirect

1 6 : 5 3 : 2 1   1      which you noticed months later; is that right?

1 6 : 5 3 : 2 4   2      A.    It had one clearly cut-and-paste error in it.          That's

1 6 : 5 3 : 2 8   3      right.

1 6 : 5 3 : 4 0   4      Q.    I just want to check -- just bear with me for a

1 6 : 5 3 : 4 6   5      moment here.      I may be done.

1 6 : 5 4 : 0 3   6            Now, you spoke for a few minutes at the end of your

1 6 : 5 4 : 0 7   7      testimony, Dr. Bravman, about what was called the '360

1 6 : 5 4 : 1 1   8      patent.

1 6 : 5 4 : 1 3   9      A.    Yes.

1 6 : 5 4 : 1 3   10     Q.    And you're not a patent licensing expert, are you?

1 6 : 5 4 : 1 5   11     A.    No.

1 6 : 5 4 : 1 7   12     Q.    So any opinions you may have as to the value is

1 6 : 5 4 : 2 1   13     something that's outside the area of your expertise and

1 6 : 5 4 : 2 4   14     outside what you've been asked to do in this case,

1 6 : 5 4 : 2 6   15     correct?

1 6 : 5 4 : 2 7   16     A.    Monetary value, for sure outside my expertise.

1 6 : 5 4 : 3 1   17     Q.    Okay.

1 6 : 5 4 : 3 1   18                   MR. LEMIEUX:    No further questions.

1 6 : 5 4 : 3 2   19                   THE COURT:   Redirect?

1 6 : 5 4 : 3 3   20                            REDIRECT EXAMINATION

1 6 : 5 4 : 3 4   21     BY MR. MASTERS:

1 6 : 5 4 : 3 8   22     Q.    Dr. Bravman, counsel asked you about the

1 6 : 5 4 : 4 4   23     cut-and-paste error in Dr. Shanfield's report.

1 6 : 5 4 : 4 7   24     A.    Yes.

1 6 : 5 4 : 4 9   25     Q.    Is it your understanding that there was both a
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1 6 : 5 4 : 5 2   1      written description and graphs in his report?

1 6 : 5 4 : 5 4   2      A.    Yes.

1 6 : 5 4 : 5 4   3      Q.    And how did you identify that the graph was in error?

1 6 : 5 5 : 0 0   4      A.    It could not comport with his own text.

1 6 : 5 5 : 0 3   5      Q.    And so you had an understanding of the results of his

1 6 : 5 5 : 0 7   6      simulations based upon the written description in

1 6 : 5 5 : 1 0   7      Dr. Shanfield's report?

1 6 : 5 5 : 1 1   8      A.    And it did not match what I saw in his graph, that

1 6 : 5 5 : 1 4   9      particular graph.

1 6 : 5 5 : 1 5   10     Q.    And do you understand that Dr. Shanfield's written

1 6 : 5 5 : 1 9   11     report is -- was accurate?

1 6 : 5 5 : 2 2   12     A.    That's my understanding, and I've seen nothing to the

1 6 : 5 5 : 2 5   13     contrary.

1 6 : 5 5 : 2 5   14                  MR. MASTERS:     No further questions.     Thank you.

1 6 : 5 5 : 2 7   15                  THE COURT:    All right.    Thank you very much.      I

1 6 : 5 5 : 3 0   16     will let you step down.

1 6 : 5 5 : 3 2   17                  It is 4:55, and we have one witness for the

1 6 : 5 5 : 3 7   18     plaintiff to conclude, and that will take a little time.

1 6 : 5 5 : 4 3   19     So we will do that starting Monday.

1 6 : 5 5 : 5 0   20                  I'm looking at counsel to make sure that's

1 6 : 5 5 : 5 2   21     still correct.

1 6 : 5 5 : 5 3   22                  MR. MASTERS:     That's correct, Your Honor.

1 6 : 5 5 : 5 4   23                  THE COURT:    Just want to make sure there hasn't

1 6 : 5 5 : 5 4   24     been any changes.

1 6 : 5 5 : 5 4   25                  So that means that we will very likely -- I
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1 6 : 5 5 : 5 8   1      can't tell you for sure -- conclude the plaintiff's case

1 6 : 5 6 : 0 3   2      probably before noon.       And there may also be at that time

1 6 : 5 6 : 0 9   3      a normal conference that occurs with counsel, which means

1 6 : 5 6 : 1 2   4      that we will very likely, and maybe earlier in the day,

1 6 : 5 6 : 1 6   5      get to -- if we do get to it, I think we will -- get to

1 6 : 5 6 : 2 1   6      any proof from the defense.        So we are on a good schedule.

1 6 : 5 6 : 2 8   7      And I will check with them about how long we anticipate

1 6 : 5 6 : 3 1   8      that proof will be.       But I think we are in shape to hit

1 6 : 5 6 : 3 6   9      the timeline that we sort of discussed at the very

1 6 : 5 6 : 3 9   10     beginning of the case.       I want to let you know that,

1 6 : 5 6 : 4 1   11     though, because you need to know how we're doing.

1 6 : 5 6 : 4 5   12                  Now, you know that you're going to be -- some

1 6 : 5 6 : 4 7   13     of you are going home for the first time in a few days, at

1 6 : 5 6 : 5 2   14     least two of you.       And there is always a little extra

1 6 : 5 6 : 5 7   15     instruction at this time because the first time you're

1 6 : 5 7 : 0 1   16     going to have a week under away, and it's going to really

1 6 : 5 7 : 0 3   17     tempting -- maybe not really tempting at all, depending on

1 6 : 5 7 : 0 8   18     what kind of case it is -- might be tempting to tell

1 6 : 5 7 : 1 3   19     somebody about the case.        You're right, it's the kind of

1 6 : 5 7 : 1 6   20     case it's probably not so much that's not the case.

1 6 : 5 7 : 1 9   21                  So main thing is, remember to just say it's a

1 6 : 5 7 : 2 3   22     civil case.       I'm on the jury, and it's anticipated -- I

1 6 : 5 7 : 2 9   23     think it's, really, just say for everybody, that the proof

1 6 : 5 7 : 3 2   24     will be completed mid-week, I think.          You want to check

1 6 : 5 7 : 3 7   25     about that.       And we will have the case.       And so the case
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1 6 : 5 7 : 4 0   1      may be concluded.      Because you will have the case by

1 6 : 5 7 : 4 4   2      week's end.

1 6 : 5 7 : 4 6   3                   And it is fair to tell somebody that's the

1 6 : 5 7 : 4 8   4      projected schedule because if you've got family, you've

1 6 : 5 7 : 5 1   5      got employers and so forth from work.         And that may be

1 6 : 5 7 : 5 5   6      helpful.    Not a promise as to when you'll conclude.           I

1 6 : 5 7 : 5 9   7      can't say that.     I can't say that.

1 6 : 5 8 : 0 1   8                   So seven things.     Don't discuss the case

1 6 : 5 8 : 0 5   9      amongst yourselves, right?       Don't talk with anybody else

1 6 : 5 8 : 0 9   10     about the case, that includes family members, friends,

1 6 : 5 8 : 1 2   11     anybody else about the case, period.

1 6 : 5 8 : 1 6   12                  Three is if somebody tries to talk to you about

1 6 : 5 8 : 2 0   13     the case -- that would be unusual.        It has happened very

1 6 : 5 8 : 2 4   14     rarely, but occasionally happens, that someone does try to

1 6 : 5 8 : 2 8   15     do that.    First thing, "I can't talk about the case."             But

1 6 : 5 8 : 3 2   16     the second thing, if someone persists in inquiring, then

1 6 : 5 8 : 3 5   17     you definitely need to let us know.        Probably let us know

1 6 : 5 8 : 3 8   18     anyway.    And we will make the appropriate inquiry.

1 6 : 5 8 : 4 2   19                  The fourth thing is, unlikely that you will see

1 6 : 5 8 : 4 6   20     any of the lawyers or witnesses or parties during this

1 6 : 5 8 : 5 0   21     period of time, but you never know.        And so if you should,

1 6 : 5 8 : 5 3   22     just certainly avoid them.       They will avoid you.      Of

1 6 : 5 8 : 5 7   23     course when you come in on Monday, continue to avoid

1 6 : 5 9 : 0 1   24     anybody who has anything to do with the case.

1 6 : 5 9 : 0 3   25     Occasionally I see you, because we are in the same back
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1 6 : 5 9 : 0 7   1      area.

1 6 : 5 9 : 0 7   2                   The fifth thing is, don't do any research or

1 6 : 5 9 : 1 0   3      make any inquiry.      And that is the thing that actually

1 6 : 5 9 : 1 3   4      becomes a matter of curiosity.        And I understand that.      It

1 6 : 5 9 : 1 6   5      is absolutely forbidden for all reasons you know.           You

1 6 : 5 9 : 2 0   6      cannot use anything you find or found anyway.          That would

1 6 : 5 9 : 2 6   7      be inappropriate.      But you also might be influenced by

1 6 : 5 9 : 3 0   8      something and, therefore, you must avoid that.

1 6 : 5 9 : 3 3   9                   If you inadvertently see something -- I can't

1 6 : 5 9 : 3 6   10     tell you that there won't be an article in "Popular

1 6 : 5 9 : 3 9   11     Mechanics" about something like this, and you're looking

1 6 : 5 9 : 4 3   12     at it.

1 6 : 5 9 : 4 4   13                  Sometimes somebody inadvertently sees

1 6 : 5 9 : 4 6   14     something.    You just need to tell me about it.        It's

1 6 : 5 9 : 4 8   15     probably not a problem, but the parties are entitled, and

1 6 : 5 9 : 5 1   16     the Court, for that type of transparency.          So if you do

1 6 : 5 9 : 5 5   17     see something, just remember to let me know when you come

1 6 : 5 9 : 5 8   18     back on Monday.

1 7 : 0 0 : 0 0   19                  Of course, avoid anything in the media about

1 7 : 0 0 : 0 3   20     this case or cases like it.       And it's more of a "like it"

1 7 : 0 0 : 0 7   21     cases that are always a possibility.         And so if you

1 7 : 0 0 : 1 2   22     should, again, see something in the media that, and

1 7 : 0 0 : 1 6   23     includes blogs or anything else, then, of course, let us

1 7 : 0 0 : 2 0   24     know.

1 7 : 0 0 : 2 1   25                  And then the last thing is, continue to keep an
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1 7 : 0 0 : 2 5   1      open mind until you've heard all the evidence in the case,

1 7 : 0 0 : 2 9   2      the final arguments of counsel, and the final instructions

1 7 : 0 0 : 3 1   3      on the law, and you've gone to the jury room and discussed

1 7 : 0 0 : 3 5   4      the case among yourselves.       And then only after all of

1 7 : 0 0 : 3 8   5      that, should you begin to make up your mind as to what you

1 7 : 0 0 : 4 2   6      think should be done.      And then the jury has the jury's

1 7 : 0 0 : 4 8   7      determination as to any verdict.

1 7 : 0 0 : 5 0   8                   And really, when we take a long a break, I am

1 7 : 0 0 : 5 1   9      required to tell you that.       We do appreciate your

1 7 : 0 0 : 5 5   10     patience.    I really appreciate everybody being very

1 7 : 0 0 : 5 9   11     prompt.

1 7 : 0 0 : 5 9   12                  It's been a very -- it's been a great group.

1 7 : 0 1 : 0 2   13     And I think it's contributed substantially to our being

1 7 : 0 1 : 0 6   14     able to move through the evidence.        So that's very

1 7 : 0 1 : 0 9   15     important.

1 7 : 0 1 : 0 9   16                  On Monday, we should start in here at 8:30.

1 7 : 0 1 : 1 3   17     And that means you need to be here, obviously, no later

1 7 : 0 1 : 1 8   18     than 8:15, and we will -- we should hit the targets that

1 7 : 0 1 : 2 4   19     we've got right now in terms of the evidence in the

1 7 : 0 1 : 2 6   20     matter.

1 7 : 0 1 : 2 7   21                  So all of you have a good Mother's Day, for

1 7 : 0 1 : 3 3   22     those who are going to celebrate the holiday.          Please do.

1 7 : 0 1 : 3 8   23     And come back and be rested and ready to go on Monday.

1 7 : 0 1 : 4 2   24                  Thank you all so much, and we will let you be

1 7 : 0 1 : 4 3   25     excused through the jury room.        I have to stay here a
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1 7 : 0 1 : 4 6   1      couple of minutes.

1 7 : 0 1 : 4 8   2            (The jury exits the courtroom at 5:01 p.m.)

1 7 : 0 2 : 1 2   3                   THE COURT:     Everybody can be seated just for a

1 7 : 0 2 : 1 4   4      minute.    I want to see what all of you think is the best

1 7 : 0 2 : 1 7   5      way to proceed.

1 7 : 0 2 : 1 9   6                   We have received, I believe, all of the

1 7 : 0 2 : 2 1   7      evidence on questions of liability.

1 7 : 0 2 : 2 4   8                   Is that what I am correct in understanding?            I

1 7 : 0 2 : 2 7   9      may not be quite right about that, but I know I've got to

1 7 : 0 2 : 3 1   10     be close.

1 7 : 0 2 : 3 1   11                  MR. MASTERS:      No, I think that's right.      The

1 7 : 0 2 : 3 2   12     next -- last witness is Ms. Bennis, who is on damages

1 7 : 0 2 : 3 6   13     issues.

1 7 : 0 2 : 3 7   14                  THE COURT:     Absolutely, and that's what I

1 7 : 0 2 : 3 8   15     understand.       And we talked about earlier that it would be

1 7 : 0 2 : 4 2   16     very useful and probably more efficient and probably of

1 7 : 0 2 : 4 5   17     greater comfort to both sides to have exchanged

1 7 : 0 2 : 5 1   18     information on any Rule 50 motion, unless the defendant is

1 7 : 0 2 : 5 4   19     not going to make one.

1 7 : 0 2 : 5 7   20                  I'm looking over there just to be sure.          I've

1 7 : 0 2 : 5 9   21     got a smile on my face.

1 7 : 0 3 : 0 2   22                  And the point there is, I do want to ask if the

1 7 : 0 3 : 0 6   23     defense thinks that's a good idea at least to submit

1 7 : 0 3 : 1 0   24     whatever Rule 50 position you have on liability, and maybe

1 7 : 0 3 : 1 4   25     damages too, but so that you've had a chance to fully
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1 7 : 0 3 : 1 9   1      write that up and articulate it in that way.

1 7 : 0 3 : 2 3   2                   Now, you may not want to.       I know it's always

1 7 : 0 3 : 2 7   3      tough to do things on the weekends, and I do understand

1 7 : 0 3 : 2 9   4      that.    But I think it might be a good idea, and it might

1 7 : 0 3 : 3 4   5      give you a higher level of confidence that you've covered

1 7 : 0 3 : 3 6   6      the points you want to.       I just want to ask what you

1 7 : 0 3 : 3 9   7      think.

1 7 : 0 3 : 4 0   8                   MR. ELKINS:    Yeah.   Your Honor, we had

1 7 : 0 3 : 4 2   9      definitely planned to file a Rule 50 motion regarding

1 7 : 0 3 : 4 7   10     false advertising.

1 7 : 0 3 : 4 8   11                  THE COURT:    Sure.

1 7 : 0 3 : 4 9   12                  MR. ELKINS:    We were considering a couple other

1 7 : 0 3 : 5 1   13     issues.    But I'll let Mr. Masters speak to the false

1 7 : 0 3 : 5 8   14     advertising.

1 7 : 0 3 : 5 8   15                  With respect to the other issues that -- to be

1 7 : 0 4 : 0 2   16     quite honest, you know, we like to be spare in our Rule 50

1 7 : 0 4 : 0 7   17     motions, and only move on things that are likely to move

1 7 : 0 4 : 1 2   18     the needle or for which we need to make a record.           And so

1 7 : 0 4 : 1 6   19     we're going to -- considering those.         But I will let Mr.

1 7 : 0 4 : 1 8   20     Masters speak with respect to the false advertising.

1 7 : 0 4 : 2 1   21                  THE COURT:    Absolutely.    And we, you know,

1 7 : 0 4 : 2 3   22     sometimes have a little different timing.          We had a

1 7 : 0 4 : 2 8   23     conference to talk about it.        And, Mr. Masters, I think

1 7 : 0 4 : 3 0   24     you know the issues you've got to address, and maybe that

1 7 : 0 4 : 3 4   25     might be one of them.      I know you are thinking about that.
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1 7 : 0 4 : 3 9   1                   What are your thoughts right now?

1 7 : 0 4 : 3 9   2                   MR. MASTERS:     Well, the plaintiffs intend to

1 7 : 0 4 : 4 1   3      dismiss their false advertising claim.

1 7 : 0 4 : 4 3   4                   THE COURT:    Then that takes care of that.

1 7 : 0 4 : 4 5   5      There will be no false advertising claim in the case.           May

1 7 : 0 4 : 4 8   6      I take that as a motion?

1 7 : 0 4 : 5 0   7                   MR. MASTERS:     You may.

1 7 : 0 4 : 5 1   8                   THE COURT:    Okay.   So the motion -- well,

1 7 : 0 4 : 5 2   9      unless there's objection by the defense?

1 7 : 0 4 : 5 6   10                  MR. ELKINS:    No opposition, Your Honor.

1 7 : 0 4 : 5 7   11                  THE COURT:    It's the right thing to ask,

1 7 : 0 4 : 5 8   12     though.

1 7 : 0 4 : 5 9   13                  MR. ELKINS:    Thank you.    I appreciate it.

1 7 : 0 5 : 0 1   14                  THE COURT:    Technically, I can't do it unless

1 7 : 0 5 : 0 3   15     you agree.

1 7 : 0 5 : 0 4   16                  MR. ELKINS:    Well, we join in the motion.

1 7 : 0 5 : 0 6   17                  THE COURT:    Okay.   Absolutely.     So that will

1 7 : 0 5 : 0 7   18     also let us continue to clean up the instructions, which

1 7 : 0 5 : 1 2   19     is good, and, also, the verdict form, which we will

1 7 : 0 5 : 1 6   20     continue to do.     So that's very, very helpful.

1 7 : 0 5 : 1 8   21                  And I always -- I told people the other day

1 7 : 0 5 : 2 2   22     that it's not unusual for that to occur, so I don't want

1 7 : 0 5 : 2 6   23     either of you to think that's odd.        That's good lawyering.

1 7 : 0 5 : 2 9   24     Typically, in terms of how things are handled by both

1 7 : 0 5 : 3 3   25     sides, and I appreciate it.
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1 7 : 0 5 : 3 5   1                   Okay.    Anything else?

1 7 : 0 5 : 3 6   2                   MR. MASTERS:     I think you sent instructions,

1 7 : 0 5 : 3 8   3      final jury instructions maybe today and asked for a

1 7 : 0 5 : 4 3   4      response by Monday.      Should we just submit red lines?

1 7 : 0 5 : 4 7   5                   THE COURT:    If you want us to clean that up

1 7 : 0 5 : 5 0   6      first.

1 7 : 0 5 : 5 1   7                   MR. MASTERS:     If you wish, or we could do it

1 7 : 0 5 : 5 3   8      and submit something to the Court.

1 7 : 0 5 : 5 6   9                   THE COURT:    I mean, I'm always glad to have you

1 7 : 0 5 : 5 8   10     do it.    I mean, at a certain point it kind of becomes our

1 7 : 0 6 : 0 2   11     material.    Well, it is our material.       But if you'd both

1 7 : 0 6 : 0 7   12     like to submit it, that's fine.        As long as you submit it

1 7 : 0 6 : 1 1   13     in a Word format, and we will take care of it, of course,

1 7 : 0 6 : 1 5   14     of it will remain in the same format that it is now.

1 7 : 0 6 : 1 8   15                  Do you want to do that on the schedule that

1 7 : 0 6 : 2 0   16     we've got?

1 7 : 0 6 : 2 1   17                  MR. MASTERS:     We can do that on the schedule

1 7 : 0 6 : 2 3   18     that you propose, but just in terms of dismissing this

1 7 : 0 6 : 2 6   19     claim, this does not get in front of the jury in any

1 7 : 0 6 : 2 9   20     respect?

1 7 : 0 6 : 3 0   21                  THE COURT:    No, no.    We -- it just disappears.

1 7 : 0 6 : 3 1   22     It's as though it was never there.        And that's not a

1 7 : 0 6 : 3 7   23     problem.    If somebody inquires about it, we say that's

1 7 : 0 6 : 4 0   24     routinely how matters are handled.        It's not anything for

1 7 : 0 6 : 4 5   25     them to be concerned about, and they shouldn't consider it
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1 7 : 0 6 : 4 8   1      at all as to reaching verdict as to the claims that are

1 7 : 0 6 : 5 1   2      before them.

1 7 : 0 6 : 5 2   3                   If I need to say something, I will.         A lot of

1 7 : 0 6 : 5 5   4      times saying something is less helpful than not saying

1 7 : 0 6 : 5 9   5      anything.    You think about it.      If you want me to say

1 7 : 0 7 : 0 2   6      something, I will.

1 7 : 0 7 : 0 3   7                   MR. MASTERS:     Okay.   And the defense cannot

1 7 : 0 7 : 0 5   8      raise that issue in any arguments.

1 7 : 0 7 : 0 8   9                   THE COURT:    Of course not.     They're delighted

1 7 : 0 7 : 1 0   10     not to because they don't have to deal with it now, and

1 7 : 0 7 : 1 3   11     you all have a time limit.       Absolutely.      Okay, that's

1 7 : 0 7 : 1 7   12     good.   I think we have a schedule, then, for receiving

1 7 : 0 7 : 2 0   13     Rule 50 materials.

1 7 : 0 7 : 2 3   14                  Is that going to work for defense?

1 7 : 0 7 : 2 5   15                  MR. ELKINS:    Yes.   We will alert Mr. Masters

1 7 : 0 7 : 2 8   16     and his team as soon as we can, either tonight or early

1 7 : 0 7 : 3 2   17     tomorrow, whether we are going to file a Rule 50 motion at

1 7 : 0 7 : 3 5   18     all.

1 7 : 0 7 : 3 6   19                  THE COURT:    Sure.

1 7 : 0 7 : 3 7   20                  MR. ELKINS:    And if we are, then we will alert

1 7 : 0 7 : 3 9   21     them as to the issues, and we will get them -- I think

1 7 : 0 7 : 4 6   22     that we would get them a brief if we are going to file

1 7 : 0 7 : 4 9   23     anything, tomorrow.      And it will be -- I mean, I

1 7 : 0 7 : 5 3   24     anticipate Your Honor isn't, you know, it would be

1 7 : 0 7 : 5 8   25     probably better articulated than if we did it orally, but
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1 7 : 0 8 : 0 1   1      it's not going to be what we would do after the verdict.

1 7 : 0 8 : 0 5   2                   THE COURT:     Right.   We had identified the issue

1 7 : 0 8 : 0 6   3      that you might want to tell us about, so we are all ahead

1 7 : 0 8 : 1 1   4      on that.    Okay.     I think that's -- yes, sir.

1 7 : 0 8 : 1 4   5                   MR. ELKINS:     So I have two questions.       The

1 7 : 0 8 : 1 5   6      first is -- and I have not had time to look at the draft

1 7 : 0 8 : 2 1   7      final jury instructions, if they're -- are they in Word?

1 7 : 0 8 : 2 5   8                   THE COURT:     We usually send a PDF so you can't

1 7 : 0 8 : 2 8   9      mess it up.       I know that sounds kind of funny, but we send

1 7 : 0 8 : 3 3   10     a PDF because it's -- comments are more welcome than

1 7 : 0 8 : 3 9   11     rewrites.    Because you can do a red line.         That would have

1 7 : 0 8 : 4 2   12     been okay.    We could have sent it in Word, we just usually

1 7 : 0 8 : 4 5   13     don't.    Do you want us to try to send a Word?

1 7 : 0 8 : 4 8   14                  MR. ELKINS:     It's easier to suggest red lines

1 7 : 0 8 : 5 1   15     in Word than in a PDF.       And given that the final

1 7 : 0 8 : 5 4   16     instructions are much lengthier than the special verdict

1 7 : 0 8 : 5 7   17     form or the preliminary instructions, that would be

1 7 : 0 9 : 0 0   18     easier.

1 7 : 0 9 : 0 0   19                  THE COURT:     I think that's okay.      We do both.

1 7 : 0 9 : 0 5   20     We have to be -- this is not a problem in Delaware.

1 7 : 0 9 : 0 9   21     That's not a problem at all.         So we will send you one in

1 7 : 0 9 : 1 2   22     Word.    It may might -- I'm not exactly when you'll get it.

1 7 : 0 9 : 1 6   23     But you'll get it fairly soon.

1 7 : 0 9 : 1 8   24                  MR. ELKINS:     The second issue is, I know Your

1 7 : 0 9 : 1 9   25     Honor is -- will probably ask if I didn't raise it, but I
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1 7 : 0 9 : 2 3   1      thought I would raise it.       Would you like to know what we

1 7 : 0 9 : 2 5   2      are doing next week after --

1 7 : 0 9 : 2 7   3                   THE COURT:    I did.   That was actually the thing

1 7 : 0 9 : 2 9   4      that I have to get to next.        I did want to know what you

1 7 : 0 9 : 3 4   5      are doing.    That's exactly right.      I know we started out

1 7 : 0 9 : 3 8   6      with Bennis, and, of course, I assume that -- and I hope I

1 7 : 0 9 : 4 2   7      was correct, that should conclude in the morning from both

1 7 : 0 9 : 4 7   8      of you?    Is that going to?     I know she's fairly long.

1 7 : 0 9 : 5 1   9                   MR. MASTERS:     I would anticipate the direct

1 7 : 0 9 : 5 3   10     would be 40 minutes, maybe less.        So fairly quick.

1 7 : 0 9 : 5 8   11                  THE COURT:    We had it assessed at not more than

1 7 : 1 0 : 0 0   12     an hour.    I don't know what it will be, but we guessed.

1 7 : 1 0 : 0 4   13                  MR. ELKINS:    And I would expect that the cross

1 7 : 1 0 : 0 6   14     would be 30 to 40 minutes.

1 7 : 1 0 : 1 0   15                  THE COURT:    Okay.    We are in great shape on

1 7 : 1 0 : 1 2   16     that on.

1 7 : 1 0 : 1 4   17                  MR. ELKINS:    So --

1 7 : 1 0 : 1 4   18                  THE COURT:    So we will take a brief conference

1 7 : 1 0 : 1 8   19     period, but we may not need to now that the issue that was

1 7 : 1 0 : 2 3   20     most before us is resolved.

1 7 : 1 0 : 2 7   21                  MR. ELKINS:    Okay.

1 7 : 1 0 : 2 7   22                  THE COURT:    Now let's hear from -- we're really

1 7 : 1 0 : 2 8   23     going to need the defense sequence.

1 7 : 1 0 : 3 3   24                  MR. ELKINS:    I'm happy to share the full

1 7 : 1 0 : 3 5   25     sequence.    So we are going to start on Monday after
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1 7 : 1 0 : 4 1   1      Ms. Bennis completes her testimony by opening our case

1 7 : 1 0 : 4 5   2      with Ms. Winters, who is our client representative and has

1 7 : 1 0 : 5 0   3      been sitting through the trial.

1 7 : 1 0 : 5 3   4                   We anticipate next offering Mr. Daeho Kim, who

1 7 : 1 1 : 0 1   5      is the director of device engineering for Akoustis.            He

1 7 : 1 1 : 0 6   6      will be followed by the video deposition of Ms. Leah

1 7 : 1 1 : 1 0   7      Giovan, who is a former Qorvo employee.           Then we will have

1 7 : 1 1 : 2 1   8      Akoustis' director of human resources, Holly Johnson.            I

1 7 : 1 1 : 2 9   9      anticipate all of that can be completed on Monday.

1 7 : 1 1 : 3 5   10                  THE COURT:    That seems very likely to me.

1 7 : 1 1 : 3 8   11                  And than the rest of the schedule?

1 7 : 1 1 : 4 0   12                  MR. ELKINS:    Yep.   Then -- and this is --

1 7 : 1 1 : 4 3   13     Mr. Lemieux and I did not get a chance to confirm this

1 7 : 1 1 : 5 1   14     together, so there might be slight adjustments, but

1 7 : 1 1 : 5 5   15     nevertheless, these are the remaining -- and then it's

1 7 : 1 1 : 5 7   16     experts, Your Honor.      We have four of them.       So we have

1 7 : 1 2 : 0 1   17     Dr. Clark Nguyen, Dr. Darveaux, Dr. Lebby, and our damages

1 7 : 1 2 : 1 2   18     expert is Carlyn Irwin.       And I think we can do all of

1 7 : 1 2 : 1 9   19     those in one day.

1 7 : 1 2 : 2 1   20                  THE COURT:    All right.

1 7 : 1 2 : 2 2   21                  MR. ELKINS:    And then we would rest.       So

1 7 : 1 2 : 2 3   22     there's -- I believe there's pretty good chance following

1 7 : 1 2 : 2 8   23     the schedule we've been going, if we go to 5:30 each day,

1 7 : 1 2 : 3 3   24     we may be able to rest the end of the day Tuesday.             And

1 7 : 1 2 : 3 7   25     then we could either close first thing Wednesday morning,
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1 7 : 1 2 : 4 1   1      or if -- I think plaintiff would, obviously, need to

1 7 : 1 2 : 4 5   2      decide whether it wants to put on a rebuttal case,

1 7 : 1 2 : 4 9   3      depending on how much time it has left, but we could do

1 7 : 1 2 : 5 2   4      closing on Wednesday and instruct the jury.

1 7 : 1 2 : 5 5   5                   THE COURT:    Right.   And at this time, I was

1 7 : 1 2 : 5 7   6      anticipating that if there was rebuttal, it would be in

1 7 : 1 3 : 0 0   7      the range of not more than a total of 15 minutes because

1 7 : 1 3 : 0 4   8      of your timing.

1 7 : 1 3 : 0 5   9                   MR. MASTERS:     Right.

1 7 : 1 3 : 0 6   10                  THE COURT:    Limitations.

1 7 : 1 3 : 0 7   11                  MR. MASTERS:     That's right.

1 7 : 1 3 : 0 7   12                  THE COURT:    And maybe no rebuttal.

1 7 : 1 3 : 0 9   13                  MR. MASTERS:     That's also, right.

1 7 : 1 3 : 1 1   14                  THE COURT:    And that's actually not uncommon

1 7 : 1 3 : 1 3   15     either, in case somebody is not aware of that.          All right.

1 7 : 1 3 : 1 6   16     And that means it is likely that we would -- and even if

1 7 : 1 3 : 1 9   17     we finish the defense case on Tuesday, at, let's say,

1 7 : 1 3 : 2 3   18     4:30, we're obviously not going to close then.          We're

1 7 : 1 3 : 2 7   19     going to close the next morning.        You will have evening,

1 7 : 1 3 : 3 1   20     and that's much better to let you be absolutely

1 7 : 1 3 : 3 6   21     comfortable and ready to go on that.

1 7 : 1 3 : 3 8   22                  We talked about closing lengths at one point,

1 7 : 1 3 : 4 0   23     at least I had earlier talked about that, and I think the

1 7 : 1 3 : 4 6   24     thought was that they might need to be a little longer

1 7 : 1 3 : 5 0   25     than openings, but not a whole lot longer.
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1 7 : 1 3 : 5 4   1                   I'm going to ask Mr. Masters.

1 7 : 1 3 : 5 9   2                   MR. MASTERS:     I think that's right; they will

1 7 : 1 4 : 0 0   3      be longer than the openings.

1 7 : 1 4 : 0 3   4                   THE COURT:    Right.   And I'm thinking you're

1 7 : 1 4 : 0 4   5      probably thinking an hour and ten minutes is a long time.

1 7 : 1 4 : 0 8   6                   MR. MASTERS:     An hour and ten minutes?

1 7 : 1 4 : 0 9   7                   THE COURT:    Is that too long?

1 7 : 1 4 : 1 1   8                   MR. MASTERS:     No.

1 7 : 1 4 : 1 3   9                   THE COURT:    I'm not restricting you --

1 7 : 1 4 : 1 5   10                  MR. MASTERS:     I think in that ballpark, hour

1 7 : 1 4 : 1 5   11     and ten, hour and 15.

1 7 : 1 4 : 1 6   12                  THE COURT:    I'm looking for guidance; that's

1 7 : 1 4 : 1 8   13     all I'm looking for.

1 7 : 1 4 : 2 0   14                  MR. MASTERS:     Hour and 15 minutes.

1 7 : 1 4 : 2 1   15                  THE COURT:    That's not a problem.      I don't have

1 7 : 1 4 : 2 4   16     any problem with that.      I think we all want a little

1 7 : 1 4 : 2 6   17     guidance here.     An hour and 15.     And that's probably --

1 7 : 1 4 : 2 9   18     defense is probably saying that's more than enough time.

1 7 : 1 4 : 3 3   19                  MR. ELKINS:    Yes, it is.

1 7 : 1 4 : 3 5   20                  THE COURT:    Okay.    And then rebuttals always

1 7 : 1 4 : 3 6   21     are short.    I've said that -- I say it in every case.         And

1 7 : 1 4 : 4 0   22     that means short.      That means not long enough to

1 7 : 1 4 : 4 5   23     rearticulate things that have been said earlier, but to

1 7 : 1 4 : 4 8   24     only address new matters.

1 7 : 1 4 : 5 0   25                  I think that covers everything.        We've got a
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1 7 : 1 4 : 5 2   1      great schedule.     And, you know, I appreciate it.        I don't

1 7 : 1 4 : 5 8   2      know about anybody else, but I do appreciate the fact that

1 7 : 1 5 : 0 0   3      everybody has been working hard.        So maybe you will get a

1 7 : 1 5 : 0 4   4      little time off this weekend.       I'm not advising that.      I'm

1 7 : 1 5 : 0 7   5      just saying you might, hopefully.

1 7 : 1 5 : 1 1   6                   MR. ELKINS:    I will dream of that tonight, Your

1 7 : 1 5 : 1 3   7      Honor.

1 7 : 1 5 : 1 4   8                   THE COURT:    All right.    Well, it's good.     We

1 7 : 1 5 : 1 6   9      have a good schedule, and I think we are ready to shut

1 7 : 1 5 : 1 9   10     down for the day, then.       We'll have the hours again in a

1 7 : 1 5 : 2 4   11     few minutes, and I will try to look at those.          I have to

1 7 : 1 5 : 3 0   12     go to Baltimore.

1 7 : 1 5 : 3 1   13                  MR. ELKINS:    You have a phone call.

1 7 : 1 5 : 3 2   14                  THE COURT:    Thank you.    Very much.

1 7 : 1 5 : 3 3   15                   (The proceedings concluded at 5:15 p.m.)

1 7 : 1 5 : 3 3   16

1 7 : 1 5 : 3 3   17

1 7 : 1 5 : 3 3   18                       CERTIFICATE OF COURT REPORTER

1 7 : 1 5 : 3 3   19

1 7 : 1 5 : 3 3   20           I hereby certify that the foregoing is a true and

1 7 : 1 5 : 3 3   21     accurate transcript from my stenographic notes in the

1 7 : 1 5 : 3 3   22     proceeding.

1 7 : 1 5 : 3 3   23
1 7 : 1 5 : 3 3                                            /s/ Bonnie R. Archer
1 7 : 1 5 : 3 3   24                                       Bonnie R. Archer, RPR, FCRR
1 7 : 1 5 : 3 3                                            Official Court Reporter
1 7 : 1 5 : 3 3   25                                       U.S. District Court
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                         EXHIBIT L
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13:12:40            IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE


             QORVO, INC.,                ) VOLUME 6
                                         )
                        Plaintiff,       )
                                         ) C.A. No. 21-1417(JPM)
             v.                          )
                                         )
             AKOUSTIS TECHNOLOGIES, INC.,)
             and AKOUSTIS, INC.,         )
                                         )
                         Defendants.     )


                              Monday, May 13, 2024
                              8:30 a.m.
                              Jury Trial


                              844 King Street
                              Wilmington, Delaware


             BEFORE:   THE HONORABLE JON P. McCALLA
                       United States District Court Judge




             APPEARANCES:


                             MORRIS NICHOLS ARSHT & TUNNELL LLP
                             BY: JEREMY A. TIGAN, ESQ.
                             BY: ANTHONY D. RAUCCI, ESQ.

                             -and-

                             SHEPPARD MULLIN RICHTER & HAMPTON LLP
                             BY: ROBERT M. MASTERS, ESQ.
                             BY: JONATHAN R. DeFOSSE, ESQ.
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08:24:24 16   .

08:24:24 17                THE COURT:    We have one juror -- we have one

08:24:24 18   juror that we're waiting on.      And we have a couple of

08:24:24 19   materials, things to go over.      Since we have a little time,

08:24:27 20   we may want to talk about it, on the request for traditional

08:24:32 21   notice, it just seems problematic to add that many pages at

08:24:38 22   this point in time, and it seems confusing under 403.          And

08:24:43 23   really not particularly probative probably on the issue.

08:24:47 24                This is a 2011 set of material, as I understand

08:24:51 25   it, is that right?    Somebody knows what they're talking
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08:24:58   1   about here.    There we go.

08:25:00   2                 MR. DeFOSSE:    Good morning, Your Honor, I think

08:25:01   3   it was filed in 2012, Your Honor.

08:25:03   4                 THE COURT:    It's an older case?

08:25:06   5                 MR. DeFOSSE:    Actually 2011, you're correct.

08:25:08   6                 THE COURT:    2011, most of the time we get it

08:25:14   7   right.   Go ahead and tell me, I have got the material, I

08:25:18   8   have looked at it, anything else from Akoustis on this

08:25:22   9   particular question, this rather large document?

08:25:27 10                  MR. LEMIEUX:    Good morning, Your Honor.

08:25:29 11                  THE COURT:    Good morning.

08:25:30 12                  MR. LEMIEUX:    We believe this information is

08:25:32 13    directly relevant to their claim that this information is

08:25:36 14    trade secret, when in fact, it's been in the public domain

08:25:40 15    for, as you know, for over ten years as part of a public,

08:25:43 16    you know, declaration they filed at that time.

08:25:46 17                  You asked us to try to illustrate the relevance

08:25:50 18    by showing which pieces of that declaration.

08:25:52 19                  THE COURT:    Sure.

08:25:53 20                  MR. LEMIEUX:    Applied to which claims that have

08:25:55 21    been made by the plaintiff in this case, and that's what the

08:25:58 22    exhibits attempt to do for you, is show where each part --

08:26:03 23    we haven't used all of the declaration that was filed, but

08:26:06 24    where the parts that were filed, we believe were directly

08:26:09 25    relevant to the various alleged trade secrets.
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08:26:11   1                THE COURT:   Let me ask this question.        Were you

08:26:13   2   only going to use pages 104, 142, 145, and 171?

08:26:20   3                MR. LEMIEUX:     I believe those are the pages,

08:26:23   4   Your Honor, that we were using to -- that are directly

08:26:26   5   relevant to --

08:26:27   6                THE COURT:   That you were referenced --

08:26:29   7                MR. LEMIEUX:     Referenced in the reports.

08:26:32   8                THE COURT:   There are materials that are

08:26:35   9   referenced in the report, and usually be used.

08:26:38 10                 Now, most of the time, or many times, the

08:26:42 11    materials that are referenced in the report might not

08:26:45 12    necessarily be received as exhibits.        So we'll talk about

08:26:49 13    that, but now you're talking about, so you really don't want

08:26:52 14    to use 196 pages.   I want to make sure I got that right.

08:26:57 15                 MR. LEMIEUX:     I think that was an attempt by one

08:26:59 16    of my colleagues, Your Honor, to show where each of those

08:27:01 17    pages did relate specifically to a trade secret alleged in

08:27:04 18    this case, but most particularly what I'm interested in, is

08:27:08 19    making sure that the materials that were relied upon by my

08:27:11 20    expert as being established and being in the public domain,

08:27:14 21    are in fact able to be in evidence in front of the jury.

08:27:17 22                 THE COURT:   That's really the support pages.

08:27:21 23    Okay.   That's more narrow.    Let's hear now, we've now

08:27:26 24    reduced it by 192 pages, so that's a good start.

08:27:30 25                 MR. DeFOSSE:     No problem with those pages, Your
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08:27:33   1   Honor.   We still don't think traditional notice is

08:27:36   2   necessary, we think that gives --

08:27:37   3                 THE COURT:   We're not receiving, apparently no

08:27:41   4   real interest in receiving this 196 page document if it

08:27:47   5   would only be a possibility that they could show pages 104,

08:27:51   6   142, 145 and 171.

08:27:53   7                 MR. DeFOSSE:     That's right, Your Honor, and I

08:27:55   8   guess on the judicial notice part, this document has already

08:27:59   9   been put in front of Dr. Aigner, he's --

08:28:05 10                  THE COURT:   Looks like we're taken care of on

08:28:08 11    that.    That resolves that.    We don't have to talk about a

08:28:12 12    larger document.    The larger document would have been

08:28:15 13    confusing, it reminds me of a case I had a long time ago I

08:28:20 14    may have told you about, when the jury got the suitcase that

08:28:23 15    got on the airplane, did I mention that one?

08:28:25 16                  MR. DeFOSSE:     I don't think so, Your Honor.

08:28:27 17                  THE COURT:   So the jury comes back and they find

08:28:31 18    the defendant, it was a female who was transporting

08:28:35 19    controlled substances from California and turned out that

08:28:38 20    the jury went back and they unpacked the suitcase, which was

08:28:43 21    fine except nobody else had done it or talked about it

08:28:46 22    during the case; turns out when they unpacked the suitcase,

08:28:51 23    they said she must have known there was drugs in here

08:28:55 24    because of the contents that were placed in the suitcase,

08:28:58 25    anyway she was convicted, it was interesting because nobody
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08:29:01   1   talked about it.   Nobody talked about it.

08:29:03   2               That's a risk when you have 196 page document is

08:29:06   3   you don't know what people are talking about so you want to

08:29:09   4   focus on the material that is relevant.

08:29:11   5               I think we covered that one.       That's done.

08:29:13   6               MR. LEMIEUX:    I just want to make it clear for

08:29:16   7   the record, Your Honor, we believe those other pages are

08:29:18   8   directly relevant to the trade secrets alleged here, but

08:29:21   9   understand Your Honor's ruling, the concerns the Court has.

08:29:26 10    I was just making it clear for our record potentially that

08:29:30 11    --

08:29:30 12                THE COURT:    Maybe I misunderstood, but I thought

08:29:33 13    we were saying the focus is these four pages, is that right?

08:29:38 14                MR. LEMIEUX:    That is the primary focus, Your

08:29:40 15    Honor, but we do believe those other materials are relevant

08:29:42 16    and show background for purposes of showing what was in the

08:29:45 17    public domain and what was not.

08:29:47 18                THE COURT:    It really does have a 403 aspect to

08:29:50 19    it, it -- if someone wants me to go through 192 additional

08:29:55 20    pages, we can do that, but since they have not been talked

08:30:00 21    about, had not been previously indicated would be marked and

08:30:05 22    received, we should not take judicial notice of that and

08:30:09 23    adopt the position of Qorvo.     So that takes care of that.

08:30:13 24                MR. LEMIEUX:    Thank you, Your Honor.

08:30:14 25                THE COURT:    Now, there was an issue, and this
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08:30:16   1   might have been partly addressed but I don't think so yet,

08:30:19   2   this issue about the document that related to Ms. Johnson.

08:30:27   3   And I may not have the material that I'm able to make a

08:30:31   4   decision on that.    I read what you got, what you've

08:30:34   5   submitted, and I understand that this is part of -- it

08:30:40   6   refers to things that were being submitted as an exhibit,

08:30:43   7   but I wanted to be certain that it wasn't just a

08:30:46   8   demonstrative, but I think it's submitted as an exhibit but

08:30:49   9   I want to know for sure.

08:30:50 10                MR. DeFOSSE:    That's right, Your Honor.

08:30:51 11                THE COURT:     It has been submitted as an exhibit,

08:30:55 12    that's what I thought.

08:30:56 13                MR. DeFOSSE:    Yes, that's right.

08:30:58 14                So it's been marked for identification as

08:31:02 15    Exhibit 990, DTX-990.    We want to make clear, we only have

08:31:06 16    issue with one statement in here, which we think is a

08:31:09 17    hearsay statement.

08:31:10 18                THE COURT:     Some companies that participate

08:31:12 19    include, and it's got a list, includes Qorvo, but that was

08:31:16 20    not the issue, it was the list of all the companies.

08:31:20 21                MR. DeFOSSE:    Yes.   So what we think the purpose

08:31:23 22    of this document, Your Honor, is to suggest that Qorvo is

08:31:26 23    sharing publicly its compensation information.        I know my

08:31:30 24    friends on the other side have a different view.        We think

08:31:33 25    that under their view, the document would be irrelevant.
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08:31:37   1                THE COURT:    We're going to have to retrieve my

08:31:40   2   pad because I don't have anything to read from, and this one

08:31:44   3   is not on.   Sorry about that.

08:32:00   4                (Discussion off the record.)

08:32:05   5                MR. DeFOSSE:    So, yes, Your Honor, the issue is

08:32:08   6   just that one statement which we believe is hearsay.          I know

08:32:11   7   my friends on the other side said they're not submitting it

08:32:14   8   for the truth of the matter, but we think that's a little

08:32:16   9   bit of a smoke screen here.      The reason that they want to

08:32:19 10    put it in front of the jury is to suggest that Qorvo is

08:32:21 11    sharing publicly its confidential compensation information.

08:32:26 12    And that -- if it's for that purpose, which we think it is,

08:32:31 13    it's a hearsay statement.

08:32:32 14                 THE COURT:    Can you show me exactly what the

08:32:34 15    material looked like in the report, in the Radford report,

08:32:41 16    that might help.    Is that helpful to me making this

08:32:45 17    decision, maybe you can show that.

08:32:54 18                 MR. DeFOSSE:    The Radford report, Your Honor, is

08:32:56 19    not being submitted into evidence, so I don't have that for

08:32:59 20    the Court, for the information, but I think --

08:33:04 21                 THE COURT:    It's a market survey or something

08:33:06 22    that's done by a CPA firm or something like that, they do

08:33:09 23    compensation surveys all the time, but sometimes they

08:33:12 24    attribute the sources of two information, sometimes they do

08:33:16 25    not attribute the sources of the information.         I do not know
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08:33:19   1   now what the survey looks like.

08:33:21   2               MR. DeFOSSE:    Yes, Your Honor.     And frankly, I

08:33:25   3   don't think we haven't either.     My understanding from

08:33:27   4   Ms. Johnson's testimony is at least, it's possibly an

08:33:31   5   anonymized, it's possibly aggregated, I can't recall

08:33:37   6   exactly.

08:33:37   7               THE COURT:    What I have seen in the past it

08:33:39   8   depends, it depends on what they say.       Usually it is

08:33:43   9   anonymous because they don't want to disclose exactly what

08:33:47 10    they're doing, but I do not know, I cannot tell.

08:33:50 11                MR. DeFOSSE:    Exactly our point, Your Honor,

08:33:52 12    with this statement, they're allowed to make an implication.

08:33:56 13    It would be one thing-- I see what Your Honor is saying if

08:33:59 14    they had the survey itself, and it was disclosing the

08:34:02 15    compensation information, we might have a different

08:34:06 16    discussion here, but all we have is a statement and a

08:34:08 17    PowerPoint saying Qorvo is participating in a survey and I

08:34:11 18    think they want to use that to suggest that well, we must

08:34:14 19    have been sharing our information.

08:34:16 20                THE COURT:    The fact that it was provided in the

08:34:19 21    process of a third party developing a report and we don't

08:34:24 22    know the conditions of that material being provided.         We

08:34:30 23    have a -- we've had different cases, I have not seen someone

08:34:35 24    try to say that somebody who may have participated in a

08:34:37 25    report or didn't participate in a report that that was
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08:34:41   1   somehow giving up confidential information on an issue of

08:34:45   2   survey -- of compensation, I don't know.         Tell me more, let

08:34:50   3   the defense tell me more about this.

08:34:53   4                MR. ELKINS:    Certainly.       Good morning, Your

08:34:54   5   Honor.

08:34:54   6                THE COURT:    Good morning.      How are you this

08:34:56   7   morning?

08:34:56   8                MR. ELKINS:    I'm doing well.

08:34:57   9                THE COURT:    Did you have a good weekend?

08:34:58 10                 MR. ELKINS:    Well, you probably had a better

08:35:00 11    one, but it was good.

08:35:02 12                 THE COURT:    Well, good.

08:35:03 13                 MR. ELKINS:    I'm still standing.

08:35:04 14                 THE COURT:    I hope everybody got some rest.         I

08:35:07 15    think people look a little more rested.

08:35:10 16                 MR. ELKINS:    I think so.      Thank you.

08:35:11 17                 Do you have a copy of the proffered exhibit?

08:35:14 18                 THE COURT:    I have it right here.

08:35:16 19                 MR. ELKINS:    That's perfect.      I just want to

08:35:17 20    make sure.

08:35:18 21                 THE COURT:    That's all I got.      Without more,

08:35:20 22    it's kind of difficult.

08:35:21 23                 MR. ELKINS:    Let me give you some context, then,

08:35:24 24    Your Honor, as to why this document is being proffered.

08:35:27 25                 Ms. Johnson, who is the sponsoring witness --
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08:35:31   1                  THE COURT:    Realtime didn't come up.     It should

08:35:34   2   be there, the link right there.       Tomorrow we are going to be

08:35:42   3   a little concerned that we will have the Biden matter here,

08:35:47   4   not in this courtroom, but apparently next door.         So we will

08:35:53   5   time things so it shouldn't be a problem.        That hearing is

08:35:58   6   supposed to be at 11:00.      If we work it right, still not

08:36:01   7   going to be great, we will start our normal, right, and we

08:36:05   8   will take our break close, it's going to be a little

08:36:09   9   complicated, but close to 10:30, and that's the best we can

08:36:17 10    do.   You realize that's going to happen.

08:36:19 11                   MR. ELKINS:   I didn't know, Your Honor, until

08:36:20 12    you just mentioned it.

08:36:21 13                   THE COURT:    I just want to make sure, we got to

08:36:24 14    think through that a little bit more.       I think we should be

08:36:26 15    okay.   The jury will be here.       They'll be in the back.     It

08:36:30 16    should be generally okay.

08:36:31 17                   MR. ELKINS:   I'm sorry, is the president going

08:36:33 18    to be next door?

08:36:34 19                   THE COURT:    Not the president, no, his son.

08:36:36 20                   MR. ELKINS:   It's going to be --

08:36:38 21                   THE COURT:    Right next door.   Remember, he's got

08:36:40 22    a case here.

08:36:41 23                   MR. ELKINS:   Okay.    Fair enough.

08:36:45 24                   THE COURT:    I thought everybody knew this.

08:36:49 25                   MR. ELKINS:   I might be the last person to know.
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08:36:58   1   I'm not sure if you have got realtime back up.

08:37:01   2               THE COURT:    It's coming up now.      We're going to

08:37:04   3   set it up twice.   I know it seems odd.      We were going to

08:37:08   4   have two of them running.    Just a second.     Go ahead, I'm

08:37:11   5   just having a problem here --

08:37:13   6               MR. ELKINS:     Let me give you the context, Your

08:37:15   7   Honor.

08:37:15   8               THE COURT:    Yes.

08:37:15   9               MR. ELKINS:     So the -- during her deposition, so

08:37:20 10    Ms. Johnson was a 30(b)(6) witness for Akoustis regarding

08:37:24 11    human resources issues and as you know, the Plaintiff makes

08:37:28 12    a poaching allegation in this case.

08:37:30 13                THE COURT:    Right.

08:37:31 14                MR. ELKINS:     And so Ms. Johnson was proffered as

08:37:33 15    the corporate designee of Akoustis regarding this poaching

08:37:37 16    allegations, and so she was examined at her deposition about

08:37:43 17    a -- some documents that Mr. Houlden, Rohan Houlden had sent

08:37:51 18    to her by e-mail with a compensation spreadsheet that Qorvo

08:38:01 19    contends is a key to compensation for all levels of all

08:38:07 20    people across the entire company.

08:38:10 21                And in -- Mr. Houlden had provided it to

08:38:15 22    Ms. Johnson, and the allegation was that Akoustis had taken

08:38:19 23    that information and planned to make offers of compensation

08:38:24 24    benefits to employees using Qorvo information.        Ms. Johnson

08:38:28 25    testified in her deposition that's incorrect, that she
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08:38:30   1   rejected Mr. Houlden's information, that the company did put

08:38:34   2   together a compensation structure, but because she didn't

08:38:37   3   trust the Qorvo information and she didn't think it was

08:38:41   4   appropriate to look at it, she had the company acquire a

08:38:45   5   compensation survey from Radford Aon, which as Your Honor

08:38:51   6   identified was one of these surveys.        That aggregates

08:38:55   7   information from different companies that participate in the

08:38:58   8   survey.

08:38:59   9               And one of the reasons that she did this --

08:39:04 10    well, not -- it wasn't a reason, but because essentially she

08:39:08 11    wanted to get Mr. Houlden off her back.        She understood that

08:39:15 12    the survey included aggregated information from among other

08:39:20 13    companies, Qorvo.   And that was one of the reasons why she

08:39:24 14    felt confident, vis-a-vis him in just going forward with

08:39:29 15    this, and rejecting his information.        That's the only

08:39:33 16    context that we're putting -- that we're -- it's to tell

08:39:37 17    that part of the story.    It's not to actually prove that

08:39:41 18    Qorvo participated.

08:39:42 19                There are a number of other companies in the

08:39:45 20    semiconductor industry that participated on an aggregated

08:39:50 21    basis and as indicated in the e-mail that we sent last

08:39:55 22    night, we think it's appropriate to come in.         If the Court

08:39:59 23    believes that a limiting instruction is necessary to guide

08:40:01 24    the jury's consideration of the document, of course we're

08:40:04 25    not going to object.
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08:40:07   1                  Thank you.

08:40:08   2                  THE COURT:    Yes, sir.

08:40:09   3                  MR. DeFOSSE:   So, Your Honor, we have no

08:40:11   4   objection to the document coming in.        We have no objection

08:40:14   5   to Ms. Johnson referring to her desire to acquire a

08:40:19   6   third-party study.    What we have an objection to, is her

08:40:22   7   saying that she -- that this study including Qorvo's

08:40:25   8   information.    So it's a very limited objection that we have.

08:40:29   9   A limiting instruction we think is not helpful here because

08:40:32 10    it would only highlight for the jury the issue here.

08:40:36 11                   So with everything Mr. Elkins said, we're okay

08:40:41 12    with, up until the point that they want to elicit testimony

08:40:44 13    from Ms. Johnson that she acquired this because it had Qorvo

08:40:47 14    information in it.    We believe that's a hearsay statement

08:40:50 15    and is also a 403 problem.

08:40:54 16                   MR. ELKINS:    I have no objection to proceeding

08:40:57 17    the way that Mr. DeFosse just outlined, and I will be sure

08:41:01 18    to instruct the witness before she takes the stand that she

08:41:04 19    will not make that reference.

08:41:08 20                   THE COURT:    The question was whether or not the

08:41:12 21    particular compensation study information that was shown in

08:41:18 22    court would be shown to the jury.

08:41:20 23                   Let's go back to defense counsel briefly, but

08:41:26 24    yes, sir.

08:41:28 25                   MR. DeFOSSE:   So I don't believe, Your Honor,
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08:41:29   1   that the compensation study itself is an exhibit that's

08:41:32   2   going to be shown to the witness, unless I'm incorrect.

08:41:35   3                 THE COURT:    No, it's not going to be shown.

08:41:38   4                 MR. ELKINS:   No, Your Honor, we deemed that that

08:41:40   5   would be too much detail that we didn't want to confuse the

08:41:44   6   jury by putting in that much paper.

08:41:47   7                 THE COURT:    Sure.   The problem is, it is a 403

08:41:51   8   issue, whether or not it's going to create a problem for the

08:41:56   9   jury in terms of receiving information that would be less

08:42:02 10    probative and unfairly prejudicial.          I think that's the

08:42:06 11    issue.

08:42:07 12                  And on this one, it does appear that this is

08:42:11 13    going to cause juror confusion, or will cause juror

08:42:15 14    confusion.   I don't think it affects the ability to give

08:42:18 15    testimony, all it does is remove from the panel something

08:42:22 16    that is more confusing -- confusing than probative in the

08:42:31 17    case.    So we're just going to strike that.        It's easy enough

08:42:35 18    to take that out of that particular document, everything

08:42:37 19    else is fine.    I think that covers that.

08:42:40 20                  It's really a 403 issue.        I think that covers

08:42:44 21    that, yes, sir.

08:42:45 22                  MR. ELKINS:   Just to make sure that we don't

08:42:47 23    display something we shouldn't, you know, you mean just take

08:42:50 24    that out, just take out the word Qorvo?

08:42:52 25                  THE COURT:    No.   No.   I think because I can't
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08:42:54   1   tell without saying -- and I'm not asking to see the survey

08:42:59   2   particularly, but without seeing the survey, I think the

08:43:03   3   worse problem is 403, I think that was already conceded in

08:43:07   4   the e-mail, because you said Akoustis is not relying on the

08:43:11   5   document to prove that Qorvo participated in the study.          Our

08:43:16   6   understanding was that that was -- one of the multiple

08:43:21   7   reasons where she caused Akoustis to purchase the survey.

08:43:25   8               We could take Qorvo out.        That might not be

08:43:28   9   quite correct.   We hate to do something that's not correct.

08:43:32 10    It seems like the easiest thing to do was to strike that

08:43:35 11    particular sentence.    And then she can say that it's not

08:43:42 12    uncommon, and it's routine actually in the accumulation of

08:43:45 13    this type of data that someone would put together such a

08:43:51 14    survey that would require numerous participants in the

08:43:58 15    industry and on a confidential basis would obtain their

08:44:01 16    information to compensation which I think is the way it's

08:44:04 17    usually done.    I'm not sure, does that sound about right.

08:44:07 18                MR. ELKINS:    I believe because the companies

08:44:09 19    participate in an aggregated way, they are not -- while

08:44:14 20    their information is being used and one could argue that

08:44:17 21    there is a waiver of confidentiality, nobody gets to see

08:44:21 22    Qorvo's individual information.

08:44:22 23                THE COURT:    Right.

08:44:23 24                MR. ELKINS:    On Semiconductor's individual

08:44:27 25    information, that way it's massed when it's published and
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08:44:31   1   sold.

08:44:31   2               THE COURT:    Right, nobody actually sees Intel or

08:44:35   3   Samsung, but it's really an aggregation of information so

08:44:39   4   the inclusion of the language would tend to cause some

08:44:46   5   confusion, because of probative value, you got to explain

08:44:54   6   these surveys are prepared in such and such a way and

08:44:58   7   numerous companies would be inquired for this information,

08:45:02   8   it's beneficial to all of them to do that as you and I know,

08:45:06   9   they're trying to hire people, they want to know generally

08:45:10 10    what the industry is doing right, but they don't want

08:45:13 11    anybody to know what they're doing, is that about right?

08:45:15 12                MR. ELKINS:    That's correct.

08:45:16 13                THE COURT:    Absolutely.

08:45:17 14                MR. ELKINS:    I think I understand Your Honor, so

08:45:19 15    we should redact the entire bullet point.

08:45:22 16                THE COURT:    I would take that bullet point out.

08:45:24 17    That takes care of it.    But I'm not precluding that she can

08:45:27 18    -- and if the Plaintiff has a problem with that, we're not

08:45:31 19    precluding that there be some explanation of why these

08:45:34 20    surveys are useful.

08:45:35 21                MR. ELKINS:    Perfect.    Good.

08:45:36 22                THE COURT:    Thank you.    That covers that.

08:45:39 23    Hopefully we have got all our jurors now.       Absolutely.

08:45:43 24    We're running a little bit off of our regular schedule.

08:45:46 25                MR. DeFOSSE:    One small housekeeping matter,
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08:45:48   1   Your Honor, we're obviously going to be resting today, and

08:45:51   2   the case is going to be passed to the other side and we

08:45:55   3   wanted some insight on how to handle confidentiality issues.

08:45:59   4   We're trying to be diligent right now.        We don't want to pop

08:46:04   5   up in the middle of their examination when they put up

08:46:06   6   Qorvo's information on the screen or something.         Our intent

08:46:09   7   was to continue to handle this as we have, we'll monitor the

08:46:13   8   courtroom and make sure there is no one else in here, and if

08:46:16   9   there is, then we would raise an issue.

08:46:18 10                 THE COURT:    This is like some previous cases

08:46:20 11    that you have probably read about recently just courtroom

08:46:27 12    and get them to be excused, that will be done and we will

08:46:31 13    preserve the confidentiality of the information that is

08:46:33 14    going to be presented.     I think that will be easiest for

08:46:37 15    everybody.

08:46:37 16                 MR. ELKINS:    And certainly we have disclosed all

08:46:39 17    our documents.    If Ms. Ayers or Mr. DeFosse or anybody on

08:46:43 18    the team believes that we would be taking measures before we

08:46:46 19    talk about particular documents, we can certainly do that.

08:46:49 20                 THE COURT:    I think we're going to be just fine.

08:46:52 21    I think we're ready to go.

08:46:53 22                 MR. ELKINS:    One unfortunately --

08:46:55 23                 THE COURT:    I'm going to start this one also and

08:46:58 24    I'm not getting a connection here.

08:47:08 25                 (Discussion off the record.)
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08:47:16   1                 THE COURT:    Okay.   Yes, sir.

08:47:17   2                 MR. ELKINS:    So, Ms. Bennis will be testifying.

08:47:20   3   As Your Honor knows, we move to exclude her trade secrets

08:47:24   4   opinion under Daubert and Rule 702, for purposes of ensuring

08:47:32   5   that we have made a full, a full record for future purposes.

08:47:36   6                 THE COURT:    Sure.

08:47:37   7                 MR. ELKINS:    We just like to renew our motion,

08:47:39   8   Your Honor.    We believe it's well taken, and that under

08:47:42   9   amended Rule 702, the Court has an obligation to exercise

08:47:47 10    its gatekeeping obligations by excluding those opinions,

08:47:52 11    understanding you have already ruled, Your Honor.

08:47:55 12                  THE COURT:    I'm just checking.     The nice thing I

08:47:59 13    have two screens that actually work today.

08:48:01 14                  MR. ELKINS:    And that was the only thing that I

08:48:03 15    wanted to say before we began.       Thank you.

08:48:07 16                  THE COURT:    Thank you.    I think we're all set.

08:48:10 17    I hope the witness is ready today.        Okay.   I see the witness

08:48:15 18    is.

08:49:00 19                  I think we're trying to send you a revised

08:50:19 20    verdict form.     We'll get it to you fairly soon.

08:50:27 21                  (Jury entering the courtroom at 8:50 a.m.)

08:50:56 22                  THE COURT:    All right.    Everyone can be seated.

08:51:06 23    And that was some bad traffic I think coming in.          Is that

08:51:10 24    right?   I know somebody -- I thought someone reported that.

08:51:15 25    So I think we're all set.      We're starting a little late
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08:51:18   1   today, sorry about that, but we've been here the whole time.

08:51:21   2   We're ready to have our next witness.        Who will our next

08:51:24   3   witness be?

08:51:25   4                  MS. AYERS:   Your Honor, Qorvo calls Ms. Melissa

08:51:32   5   Bennis to the stand.

08:51:33   6                  THE COURT:   All right.   If she'll come forward

08:51:38   7   to the witness stand, and then be sworn.

08:51:45   8                  COURT CLERK:   Please remain standing and raise

08:51:50   9   your right hand.     Please state and spell your name for the

08:51:52 10    record.

08:51:53 11                   THE WITNESS:   It's Melissa Bennis,

08:51:58 12    M-E-L-I-S-S-A, B-E-N-N-I-S.

08:52:01 13                   MELISSA BENNIS, having been duly sworn, was

08:52:05 14    examined and testified as follows:

08:52:10 15                   THE COURT:   You may be seated.

08:52:12 16                   MS. AYERS:   May I proceed, Your Honor?

08:52:13 17                   THE COURT:   You may.

08:52:14 18                       DIRECT EXAMINATION

08:52:14 19    BY MS. AYERS:

08:52:16 20    Q.        Good morning, Ms. Bennis.    Can you please introduce

08:52:18 21    yourself to the jury?

08:52:20 22    A.        Good morning.   My name is Melissa Bennis.     I work in

08:52:26 23    Chicago where I live with my family.       I have been married --

08:52:30 24    I have been married for twenty-three years and my husband

08:52:32 25    and I have three teenage daughters, the oldest of which just
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08:52:36   1   wrapped up her freshman year in college.

08:52:39   2   Q.     Can you tell the jury what your role is here today?

08:52:42   3   A.     Yes.     I am here to testify on the topic of damages.

08:52:47   4   Q.     Have you calculated the damages that you believe to

08:52:50   5   be appropriate to award to Qorvo in this case?

08:52:53   6   A.     I have.

08:52:54   7   Q.     Are you providing an opinion on Akoustis's liability

08:52:58   8   for the claims that Qorvo is asserting?

08:53:00   9   A.     I am not.     So in my role as -- in calculating

08:53:06 10    damages, I assume liability since that is the instance in

08:53:10 11    which damages would be awarded.

08:53:14 12    Q.     Before we get into your opinions, I would like for

08:53:16 13    the jury to understand who you are and your area of

08:53:19 14    expertise.

08:53:20 15                   MS. AYERS:   Your Honor, may I approach?

08:53:21 16                   THE COURT:   You may.

08:53:34 17    BY MS. AYERS:

08:53:44 18    Q.     Ms. Bennis, do you recognize the document that I just

08:53:47 19    handed you?

08:53:48 20    A.     I do.

08:53:48 21    Q.     Can you tell the jury what it is?

08:53:50 22    A.     This is a copy of my curriculum vitae, otherwise

08:53:54 23    known as a professional resume.        This is the version that

08:53:57 24    looks like was attached to my report that I prepared and

08:54:02 25    issued last November per the Court's schedule, so this
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08:54:07   1   contains all of my case work and work experience and such.

08:54:11   2   It was accurate as of November.        Since that time, I have had

08:54:14   3   other case work and other trials and things, but everything

08:54:17   4   within this document, yes, is accurate.

08:54:20   5                     MS. AYERS:   Your Honor, I offer in to evidence

08:54:22   6   the document marked PTX-1004, Exhibit 1, which is

08:54:28   7   Ms. Bennis' curriculum vitae.

08:54:30   8                     THE COURT:   Marked and received as 279.

08:54:33   9                     (Trial Exhibit No. 279 was admitted into

08:54:35 10    evidence.)

08:54:35 11    By Ms. Ayers:

08:54:36 12    Q.        Can you please tell the jury where you went to school

08:54:38 13    and what training you received?

08:54:39 14    A.        Sure.    So I mentioned I live in Chicago.    That was

08:54:44 15    true also in high school.        So after high school, I attended

08:54:46 16    the University of Illinois where I earned a bachelor of

08:54:50 17    science in finance with an emphasis in accounting with

08:54:54 18    honors.

08:54:55 19    Q.        What did you do after college?

08:54:57 20    A.        Towards the end of my college career, I was recruited

08:55:01 21    to join the specialty consulting practice at Arthur Anderson

08:55:05 22    which at the time was one of the big five public accounting

08:55:09 23    firms.    And I joined them in their Chicago headquarters.

08:55:13 24    Q.        Do you have any other degrees?

08:55:16 25    A.        I do.    A few years into my career, I applied for and
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08:55:23   1   was accepted into Northwestern University, which is also in

08:55:27   2   Chicago, a big time university, masters of administration

08:55:31   3   program, there I obtained a MBA with majors in accounting,

08:55:35   4   marketing and management strategy.

08:55:37   5   Q.       Do you have any other certifications?

08:55:39   6   A.       I do.   I am also a Certified Public Accountant or a

08:55:42   7   CPA, I'm licensed.

08:55:44   8   Q.       How long did you stay at Arthur Anderson?

08:55:47   9   A.       I stayed at Anderson for about three-and-a-half

08:55:51 10    years.   At that point I moved over to KPMG, which is another

08:55:55 11    one of the big public audit advisory firms, and I spent

08:56:00 12    about a year there at which point a group of us joined

08:56:03 13    together and formed a boutique consulting firm.         And I was

08:56:06 14    there for about nineteen years until about a little under

08:56:10 15    two years ago that firm was acquired by a firm called Stout,

08:56:14 16    which is where I work now as a managing director.

08:56:17 17    Q.       Can you explain to the jury what Stout is?

08:56:21 18    A.       Sure.   So Stout is another financial advisory firm,

08:56:26 19    provides services like business valuations, assistance with

08:56:32 20    mergers and acquisitions, we have a practice area that is

08:56:35 21    the disputes and investigations much like the work done

08:56:38 22    here, also is financially related advisory services.

08:56:43 23    Q.       So, in your career, what has your consulting work

08:56:46 24    focused on?

08:56:47 25    A.       My work has focused primarily in the assessment of
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08:56:51   1   damages in the case of dispute, much like this one.       That

08:56:55   2   said, I have also performed other types of consulting type

08:56:59   3   arrangements for clients when asked things like royalty

08:57:02   4   audits, valuation of intellectual property, things like

08:57:06   5   patents before a merger.    I have consulted for clients that

08:57:12   6   are considering entering into patent license agreements

08:57:14   7   related to financial aspects, things of that nature.

08:57:18   8   Q.     Do you work for both plaintiffs and defendants in

08:57:21   9   your litigation service damages services?

08:57:25 10    A.     I do.

08:57:25 11    Q.     Can you describe the work that you have done on

08:57:28 12    litigations throughout your career?

08:57:30 13    A.     Sure.   So as I mentioned, I have been in this line of

08:57:34 14    work for about twenty-five years now.      The vast majority of

08:57:37 15    the case work has been in the realm of intellectual

08:57:41 16    property, so things like patent and trade secrets,

08:57:44 17    copyrights, trademarks, things of that nature.

08:57:46 18    Q.     Do you belong to any professional organizations?

08:57:49 19    A.     I do.   So as a CPA, I'm a member of the America

08:57:54 20    Institute of CPA's, the Illinois CPA Society, a group called

08:57:58 21    the Illinois CPA Licensing Society.     And although not a

08:58:03 22    lawyer, I am an association member of the American Bar

08:58:07 23    Association which is primarily for lawyers simply because my

08:58:09 24    work is embroiled in litigation and such, I like to keep up

08:58:14 25    on the read as it pertains to the damages issues.
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08:58:17   1   Q.     Have you received any awards for the work that you

08:58:20   2   have done throughout your professional career?

08:58:22   3   A.     I have.     There is an industry group known as the IAM

08:58:27   4   1000, Intellectual Asset Management 1000 Group, and I have

08:58:31   5   been honored by them for the last six years running as a

08:58:35   6   recommended economics expert.       And I was also honored by the

08:58:39   7   Illinois CPA Society several years ago as a woman to watch

08:58:44   8   in the CPA industry.

08:58:47   9                 MS. AYERS:    Your Honor, at this time we offer

08:58:50 10    Melissa Bennis as an expert in the field of damages.

08:58:52 11                  MR. ELKINS:    No objection, Your Honor.

08:58:53 12                  THE COURT:    She's received as a person who can

08:58:56 13    express an opinion in the area of damages.

08:58:58 14                  You may proceed.

08:59:00 15    BY MS. AYERS:

08:59:00 16    Q.     Ms. Bennis, I would like to talk to you about your

08:59:03 17    approach to damages in this case.       Did you prepare any slide

08:59:06 18    to help the jury understand your testimony today?

08:59:08 19    A.     I did.

08:59:09 20    Q.     Mr. Faison, can you please display PDX-11.1?

08:59:17 21                  Are these the slides that you assisted in the

08:59:20 22    preparation of?

08:59:21 23    A.     Yes.

08:59:21 24    Q.     Let's start with your damages conclusion.         Have you

08:59:24 25    made a determination of the damages in this case?
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08:59:26   1   A.       Yes, I have.

08:59:27   2   Q.       What materials did you consider in coming to your

08:59:31   3   conclusion?

08:59:32   4   A.       So like with most cases, this case did not differ.            I

08:59:39   5   examined many, many, many files and documents from the files

08:59:41   6   of both Qorvo and Akoustis.        I read deposition transcripts,

08:59:47   7   so here in court last week we saw video versions of some of

08:59:51   8   those.   I reviewed the written transcripts of the

08:59:54   9   depositions, all the exhibits that are marked and shown in

08:59:57 10    those depositions.       I held conversations with Dr. Shanfield

09:00:01 11    and Dr. Bravman to get a better appreciation for the

09:00:05 12    technical details behind the trade secrets and patents.            I

09:00:09 13    also spoke to Dr. Fattinger at Qorvo for the same purpose,

09:00:15 14    as well as an HR representative at Qorvo.

09:00:19 15                    MS. AYERS:    Mr. Faison, can you please display

09:00:22 16    PDX-11.2.

09:00:23 17                    Ms. Bennis, can you summarize your opinions

09:00:27 18    regarding Qorvo's damages for the jury?

09:00:29 19    A.       Yes.    So the damages calculations I have grouped into

09:00:34 20    three categories, they follow the claims that have been

09:00:36 21    asserted by Qorvo against Akoustis.         But the first up is the

09:00:40 22    trade secret misappropriation damages.          This relates to

09:00:45 23    again, Qorvo's claims that Akoustis has misappropriated all

09:00:49 24    the different information that we've heard about.

09:00:51 25                    We heard that that allowed Akoustis to achieve a
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09:00:55   1   head-start into the market to get there earlier, so I have

09:01:00   2   evaluated the damages under those claims and under that

09:01:04   3   benefit as being $66,114,093.

09:01:11   4                 Under the claims of unfair competition, there is

09:01:14   5   a claim, of course, that Akoustis had misappropriated

09:01:18   6   Qorvo's confidential information, so this is again a little

09:01:22   7   broader than just misappropriation of the trade secrets,

09:01:25   8   this includes other confidential information as well.          But

09:01:28   9   given that it's much the same actions, the benefit is the

09:01:32 10    same, it helps Akoustis get ahead.       I have measured the

09:01:39 11    benefit in the same way, so in essence, the 66.1 million

09:01:44 12    once again.

09:01:45 13                  Separately under the unfair competition, I have

09:01:48 14    evaluated Qorvo's claim of employee poaching.         Of course we

09:01:53 15    have heard evidence that suggest that the poaching exercise

09:01:55 16    was intended to get at the trade secrets and confidential

09:02:00 17    information, however this category of damages is strictly

09:02:03 18    related to the business costs of losing the employees, of

09:02:08 19    having to replace them, but the real cost of business when

09:02:12 20    things like this happen.

09:02:13 21                  And then the last category of damages relates to

09:02:16 22    the patent infringement.      So should Akoustis be found to

09:02:20 23    infringe one or both of the patents that have been asserted,

09:02:23 24    the damages associated with the use just through trial just

09:02:28 25    as today is $279,808.
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09:02:32   1   Q.       I would like to break down each one of those category

09:02:35   2   of damages for the jury and talk about them a little bit

09:02:38   3   more with you today.       Did your -- and let's start with the

09:02:42   4   trade secrets claim, Ms. Bennis.

09:02:43   5                   Did your damages analysis evaluate the benefit

09:02:46   6   that Akoustis received due to misappropriation of the trade

09:02:51   7   secrets contained in all eight groups of trade secret

09:02:53   8   identified during testimony in this trial?

09:02:55   9   A.       Yes.

09:02:56 10    Q.       How did you evaluate the technical benefit that the

09:03:00 11    misappropriation of these trade secrets provided to

09:03:03 12    Akoustis?

09:03:05 13    A.       So I mentioned, I'm not the technical expert, I left

09:03:08 14    that expertise to Dr. Shanfield and Dr. Bravman, so my

09:03:13 15    conversations were to educate me on the technical aspects,

09:03:17 16    and the benefits derived from the information.

09:03:20 17    Q.       And did Dr. Shanfield identify any benefits that

09:03:26 18    Akoustis received as a result of its misappropriation of

09:03:30 19    Qorvo's trade secrets?

09:03:31 20    A.       Yes.

09:03:31 21    Q.       Can you please display PDX-11.3.

09:03:35 22                    Ms. Bennis, can you explain at a high level what

09:03:39 23    benefits Dr. Shanfield identified?

09:03:41 24    A.       Yes.    So these should not come as a surprise by this

09:03:45 25    point.   You heard about these last week.         The
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09:03:48   1   misappropriation benefited Akoustis in that it allowed it to

09:03:54   2   identify a track area to target for its own product

09:03:58   3   development.    It identified gaps in Qorvo's product lines,

09:04:01   4   so it where to move.     And importantly, it allowed us to skip

09:04:07   5   unnecessary R & D, or research and development efforts

09:04:09   6   needed to produce a working resonator, we heard testimony

09:04:13   7   about that; to create a high quality evaluation board;

09:04:16   8   implement reliable testing processes; achieve high yield

09:04:21   9   manufacturing which is good for the bottom line or the

09:04:24 10    profitability using Qorvo's techniques.        And all of these

09:04:28 11    things helped in getting Akoustis to the market and doing

09:04:31 12    all of its business activities earlier than it otherwise

09:04:35 13    would have.

09:04:35 14    Q.     Can you explain to the jury how you calculated

09:04:38 15    Qorvo's trade secret damages based upon your understanding

09:04:41 16    of the possible categories of available damages for

09:04:44 17    misappropriation of trade secrets?

09:04:47 18    A.     Yes.    So there are various ways in which someone in

09:04:53 19    my shoes can calculate or evaluate the damages that's

09:04:58 20    dictated by the case law.      One of those categories is called

09:05:01 21    unjust enrichment.     So that is what I have focused on for

09:05:05 22    purposes of my analysis.      And what that really means is

09:05:10 23    enrichment, meaning benefits that Akoustis achieved by doing

09:05:13 24    something unjustly or unfairly.       So Akoustis's unjust

09:05:17 25    enrichment.
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09:05:18   1   Q.        How did you calculate the unjust enrichment damages

09:05:22   2   here?

09:05:23   3   A.        This analysis started, the starting point for it was

09:05:29   4   Dr. Shanfield's analysis.      So again, last week we heard that

09:05:34   5   all of the acquisition of confidential important information

09:05:40   6   allowed Akoustis to move into the market and do all the

09:05:44   7   business related things it was doing at least 55 months

09:05:47   8   early.

09:05:48   9                  So it then turns to what benefit did that help

09:05:53 10    Akoustis achieve: well, earning revenue.        It earned revenue

09:05:56 11    earlier than it otherwise would have.        So the analysis then,

09:06:00 12    the test for me, is how do you put a dollar figure on that?

09:06:03 13    How do you figure out the benefit of having that revenue

09:06:06 14    sooner than you otherwise would have?

09:06:08 15    Q.        And how did you determine the monetary value of

09:06:11 16    Akoustis obtaining a 55-month head-start to get into the

09:06:15 17    market?

09:06:16 18    A.        My analysis measured the monetary value by evaluating

09:06:21 19    the time value of having money earlier rather than later.

09:06:26 20    Q.        What do you mean by the time value of money?

09:06:30 21    A.        The time value of money is a very widely known

09:06:34 22    studied economic concept.      To break it down more simply, the

09:06:41 23    concept is that having a dollar today, is always better than

09:06:45 24    having a dollar tomorrow.      And the reason being, if I have

09:06:48 25    that dollar today, I can invest that dollar, I can earn
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09:06:53   1   interest on that dollar.     If I'm a company, I can use that

09:06:56   2   dollar to buy things, to build things, to make more money.

09:07:00   3   So there is power in having money sooner rather than later,

09:07:04   4   is the general concept.

09:07:07   5   Q.     Did you prepare a slide that illustrates the time

09:07:10   6   value of the revenue Akoustis received 55 months early?

09:07:13   7   A.     I did.

09:07:14   8   Q.     Mr. Faison, can you please pull up PDX-11.4.

09:07:21   9   A.     What you will see here is a bar graph, and what this

09:07:24 10    does is take Akoustis's annual revenues as it reported in

09:07:29 11    its SEC filings, this is the filing with the Securities and

09:07:34 12    Exchange Commission, on an annual basis starting in 2016,

09:07:37 13    run it through present.     And it says if, in fact, these

09:07:43 14    revenues would have been delayed by 55 months, what would be

09:07:48 15    the differential in the time value of that money of having

09:07:53 16    it later, shifted out 55 months versus earlier.

09:08:00 17    Q.     So is your damages calculation the money itself that

09:08:03 18    Akoustis received?

09:08:05 19    A.     It's not.     And this is important.    It's not the

09:08:08 20    revenue.    Under this analysis, Akoustis keeps the revenue

09:08:13 21    that it's earned.    It's really only measuring the benefit --

09:08:16 22    the benefit by virtue of examining the time value, the

09:08:20 23    differential in having that revenue earlier.        And I have

09:08:24 24    measured that using an interest calculation.

09:08:27 25                  And I guess another thing to note, what this
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09:08:30   1   analysis also assumes is that Qorvo -- or rather Akoustis

09:08:35   2   could have gotten in the market, it could have actually

09:08:39   3   developed a saleable product, it could have made all the

09:08:42   4   same sales, it could have accomplished the exact same growth

09:08:46   5   rate despite the fact that the revenues would be shifting

09:08:49   6   into a point in time when the start of the revenue

09:08:52   7   generation would have been right in the middle of the Covid

09:08:56   8   pandemic, so there are some general assumptions, if you

09:09:01   9   will, about shifting the money forward as is.

09:09:03 10    Q.     Mr. Faison, can you please pull up PDX-11.5.

09:09:08 11                Ms. Bennis, does PDX-11.5 show the analysis that

09:09:12 12    you performed in this case?

09:09:13 13    A.     It does.   And I realize this looks very busy.       And

09:09:17 14    I'm not going to walk through all of the numbers.       But this

09:09:19 15    is the schedule that appeared within my report that really

09:09:22 16    kind of shows an interest calculation and how one works.

09:09:27 17                So I'll just point out a few important things

09:09:31 18    that will hopefully make a little bit more sense.

09:09:35 19                You'll see that these are again, these annual

09:09:40 20    revenue streams, row C, total Akoustis revenue.       In 2016,

09:09:46 21    Akoustis reported $254,844 in revenue.      Those revenue

09:09:51 22    streams as reported run all the way through present.        The

09:09:55 23    summation of all those equals 113.7 million in revenue that

09:10:00 24    Akoustis has reported.

09:10:03 25                Below that are all the different interest
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09:10:07   1   calculations, and an interest rate you'll see of 14.8.        14.8

09:10:12   2   is important because that is the -- that was the active

09:10:16   3   interest rate that I employed as of present day in order to

09:10:20   4   bring all of those revenue streams up to the present value.

09:10:25   5   In order to evaluate as of a given point in time, what the

09:10:29   6   value of that revenue would be such that I can compare it to

09:10:32   7   what that revenue would be if the same revenue streams were

09:10:37   8   shifted forward 55 months.

09:10:39   9   Q.     Why did you choose to use 14.8 percent as your

09:10:43 10    interest rate?

09:10:44 11    A.     14.8 percent is the -- it's the weighted average cost

09:10:50 12    of capital, commonly abbreviated was a WACC, rate of

09:10:56 13    Akoustis, so it comes directly from Akoustis's financial

09:11:00 14    model, it reflects their debt and equity structure.       It's an

09:11:05 15    interest rate that companies use all the time because it

09:11:07 16    reflects their own unique financing abilities and position.

09:11:12 17    They use it to evaluate investment decisions and to

09:11:16 18    generally make money on how to finance their operation and

09:11:20 19    their decisions.

09:11:20 20    Q.     And did you use Akoustis' WACC in the economic

09:11:25 21    formulas that are shown on the slide to determine the

09:11:28 22    present value of the revenues that Akoustis received, and

09:11:30 23    the benefit of the 55-month head-start?

09:11:34 24    A.     I did.    So again, on this particular slide, you'll

09:11:38 25    see that once the interest rate of 14.8 percent as of
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09:11:42   1   present day, as of the time of this analysis, is applied to

09:11:46   2   the 113 million in total Akoustis revenues, the present

09:11:51   3   value of having all of those revenue streams as early as

09:11:55   4   2016, means that that same 113 million today is worth 140

09:12:01   5   million.    And if you think about that, that makes sense

09:12:03   6   because they had the benefit of saying 2016 that $254,000

09:12:09   7   number, if you look down at the bottom, in today's dollars

09:12:13   8   over all those additional years, is actually worth 821,508.

09:12:20   9   Because they have the money, and they have been able to

09:12:22 10    invest it and do things with it, that's the concept in

09:12:25 11    economics about the value of a dollar.

09:12:27 12    Q.     Once you determine the present value of the revenue

09:12:30 13    that Akoustis actually received, what did you do next?

09:12:35 14    A.     So next, I performed the same exercise, and in fact I

09:12:40 15    think I have another exhibit from my report.        Yes.

09:12:45 16                  So this took all of those annual revenue streams

09:12:49 17    and simply shifted them forward 55 months.       So you'll know

09:12:53 18    that because, say in the first column you'll see the date is

09:13:00 19    2022, it used to be 2016, we shifted those revenue streams

09:13:05 20    55 months into the future.     You know the revenue stream is

09:13:08 21    the same because we're still looking at the same

09:13:12 22    $113 million figure, but instead of that $254,834 number

09:13:18 23    that you see in the first column, being 800-some thousand

09:13:23 24    like we saw in the last slide, because it's now a lot closer

09:13:26 25    to present, that same revenue stream is only worth $436,000,
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09:13:33   1   highlighted down at the bottom.     That's the difference of

09:13:35   2   having that money for a lesser period of time as we get

09:13:39   3   closer to present.

09:13:40   4               And then similarly, because we're measuring the

09:13:44   5   money as of present value, or as of now, because certain of

09:13:47   6   these revenue streams got pushed out into 2025, 2026, '27,

09:13:52   7   '28, we actually have to discount those back, because in the

09:13:56   8   real world, Akoustis wouldn't have had those yet.       So those

09:14:00   9   get -- those get reduced by the same interest calculation

09:14:04 10    and therefore the present value of those revenue streams

09:14:08 11    equals 74 million, 74.8 million as you'll see.       So that's

09:14:15 12    the time value of money concept.

09:14:16 13    Q.     So how did you use the present value of the revenue

09:14:20 14    that Akoustis actually received, and the present value of

09:14:23 15    the revenue that Akoustis would have received without

09:14:27 16    misappropriating Qorvo's trade secrets in order to calculate

09:14:31 17    Qorvo's damages in this case?

09:14:33 18    A.     So I think the next slide will show you, and it

09:14:36 19    really becomes quite simple.

09:14:38 20                You simply take the difference, look at the

09:14:41 21    differential between one revenue stream and the other, and

09:14:44 22    the difference represents again, not the revenue dollars

09:14:47 23    themselves, but just the benefit of having those at an

09:14:51 24    earlier point in time.    So the benefit is measured of the

09:14:54 25    head-start to be the $66,114,093 figure.
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                                          #: 41347                              1699
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09:15:01   1   Q.       Ms. Bennis, the slide at PDX-11.7 says date of

09:15:06   2   original analysis, 11/23.        Can you tell the jury what that

09:15:09   3   means?

09:15:09   4   A.       Yeah.    So I mentioned that my report analysis was

09:15:12   5   finalized and issued back in November.          And so at that point

09:15:16   6   in time, we knew that the trial, the decision of the jury

09:15:23   7   would be happening now, so it made sense to run the analysis

09:15:26   8   through now.      But at that point in time in November, fiscal

09:15:30   9   year 2024, which we heard testimony last week runs from

09:15:36 10    July 1st through June 30th of a year, was not yet complete.

09:15:40 11    So in fact, if you go back a couple of slides, you'll see --

09:15:45 12    Q.       11.5.

09:15:47 13    A.       That last column 2024, EST, EST stands for estimated.

09:15:53 14    The estimate comes from Akoustis's own files, this is what

09:15:56 15    Akoustis projected that it was going to earn in it's fiscal

09:15:59 16    year 2024 on a whole.

09:16:06 17    Q.       Have you performed any updated calculations based

09:16:10 18    upon information presented to you during trial?

09:16:13 19    A.       Yes.    So last week when I was listening like you, I

09:16:18 20    heard the testimony of Mr. Aichele that suggested that their

09:16:22 21    --   that Akoustis's fiscal year 2024 results were going to

09:16:27 22    be 28 million in total, which was different than the

09:16:30 23    projections that they had made back that were available at

09:16:34 24    the time of my report.        So for the benefit of the jury to

09:16:37 25    see what that would look like, I ran that number through the
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09:16:41   1   model.   When you run that projection, it's not complete, so

09:16:45   2   we don't know if that's ultimately how it will end up, but

09:16:48   3   if you run that figure through the model, performing the

09:16:53   4   same economic analysis, you get a total head-start damages

09:16:59   5   figure of $50.3 million.

09:17:03   6   Q.       Ms. Bennis, I want to make sure that your testimony

09:17:06   7   for the jury is clear.        The calculation that you provided to

09:17:08   8   PDX-11.7, which is the prior slide, Mr. Faison, was based

09:17:13   9   upon information that you received from Akoustis's own files

09:17:17 10    relating to what it thought it's revenue streams were going

09:17:21 11    to be for 2024; is that correct?

09:17:24 12    A.       That's correct.

09:17:24 13    Q.       And if we flip to the next slide, 11.8, you have

09:17:28 14    updated those calculations within your own model based upon

09:17:32 15    testimony that Mr. Aichele provided to the jury, is that

09:17:35 16    correct?

09:17:35 17    A.       That's correct.

09:17:38 18    Q.       When you calculated the unjust enrichment benefit to

09:17:43 19    Akoustis, did you consider how the trade secrets impacted

09:17:46 20    Akoustis's costs?

09:17:47 21    A.       Yes.    So recall when Dr. Shanfield talked about those

09:17:51 22    analysis, that he really only talked about the benefit of

09:17:54 23    the head-start in -- by virtue of the time saved.           But in

09:17:58 24    reality, companies incur real research and development hard

09:18:04 25    expenses.   So this analysis again, is only looking at the
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09:18:08   1   head-start benefit as defined by a time period, it has not

09:18:12   2   included any types of hard research and development

09:18:16   3   personnel material type expenses that would typically be

09:18:20   4   incurred.

09:18:24   5                  MS. AYERS:   Your Honor, may I approach?

09:18:26   6                  THE COURT:   You may.

09:18:46   7   BY MS. AYERS:

09:18:51   8   Q.     Ms. Bennis, do you recognize the document that I just

09:18:54   9   handed you?

09:18:55 10    A.     I do.

09:18:55 11    Q.     Can you explain to the jury what it is?

09:18:57 12    A.     Yes.     So these are the three schedules that we

09:19:01 13    actually just looked at on the screen that show both the

09:19:07 14    time value calculation at present as well as that shifted

09:19:12 15    into the future, and then the differential that results in

09:19:15 16    the $66 million calculation.      So these were the exhibits

09:19:18 17    from my report.

09:19:19 18                   MS. AYERS:   Your Honor, I move to enter

09:19:23 19    PTX-1004, Exhibit 3, Schedule 1; PTX-1004, Exhibit 3,

09:19:28 20    Schedule 2; and PTX-1004, Exhibit 3, Schedule 3, into

09:19:33 21    evidence.

09:19:33 22                   THE COURT:   Marked and received as 280, 281 and

09:19:38 23    282.

09:19:39 24                   (Trial Exhibit Nos. 280, 281 and 282 were

09:19:40 25    admitted into evidence.)
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                                        #: 41350                              1702
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09:19:40   1   BY MS. AYERS:

09:19:45   2   Q.     Let's move on to your next category of damages,

09:19:48   3   Ms. Bennis, which is for those -- which are the damages for

09:19:51   4   Qorvo's claims of unfair competition.        You mentioned

09:19:54   5   previously that you calculated two categories of those

09:19:57   6   damages?

09:19:58   7   A.     I did.

09:20:00   8   Q.     Mr. Faison, can you please pull up PDX-11.9.

09:20:05   9                 Let's start with the first amount listed under

09:20:10 10    unfair competition on this slide.       Can you explain to the

09:20:13 11    jury what this number relates to?

09:20:14 12    A.     Yes.     As I mentioned, the claim under unfair

09:20:19 13    competition that all of the different confidential

09:20:21 14    information was also misappropriated despite the fact I

09:20:26 15    understand that the broader amount of information, the

09:20:30 16    benefit, the idea of the benefit, the idea is that the

09:20:33 17    benefit is the same, it allowed a head-start, so therefore

09:20:36 18    the measurements and the mechanisms employed to get to a

09:20:41 19    computation of that benefit is the same.

09:20:44 20    Q.     And what is the second category of damages under

09:20:48 21    Qorvo's unfair competition claim?

09:20:51 22    A.     The second category is what I mentioned to be the

09:20:55 23    employee poaching damages, so again, poaching, taking

09:20:59 24    employees from one company to another.        And this is intended

09:21:03 25    to be separate again from the value of the information and
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09:21:05   1   the benefits received by Akoustis, but rather the

09:21:09   2   computation of damages to a business of having losing

09:21:14   3   employees and having to replace and retrain, and all of

09:21:17   4   those real business expenses that are incurred as a result

09:21:20   5   of these actions.

09:21:21   6   Q.     Mr. Faison, can you please go to PDX-11.10.

09:21:25   7                  Can you give the jury an example of some of the

09:21:28   8   cost that a company incurs when an employee leaves the

09:21:32   9   company?

09:21:32 10    A.     Sure.    So there is lots of articles and basically

09:21:40 11    industry knowledge and statistic and studies about these

09:21:43 12    real costs to business of losing employees.      So this is just

09:21:47 13    an example of an article that talked about all of the

09:21:51 14    different costs, hiding costs, real costs to companies and

09:21:55 15    it does include things like number four and number five of

09:21:59 16    time and money associated with hiring replacement and cost

09:22:02 17    of training new people.

09:22:04 18    Q.     How did you calculate the cost to Qorvo of losing

09:22:07 19    it's assembled workforce?

09:22:11 20    A.     So for purposes of this analysis, there was actually

09:22:15 21    a document within the files of Akoustis, and what that

09:22:19 22    document was, was a valuation performed by KPMG which you

09:22:25 23    know is a well-known audit advisory firm, and what happened

09:22:30 24    was I think it was in 2021, Akoustis acquired a business

09:22:35 25    called RFMI, and apart of that acquisition, which is not
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09:22:39   1   uncommon, there were some valuations performed by a

09:22:43   2   third-party -- third-party groups to assess the value as it

09:22:48   3   got to the purchase price.

09:22:49   4                  So one of the documents that existed as a result

09:22:52   5   of that acquisition was an asset valuation of an assembled

09:22:57   6   work force.    So for all those employees that were brought

09:23:00   7   into the walls of Akoustis that worked on filter products.

09:23:04   8   So it was spot on in terms of just assemble, looking at the

09:23:08   9   cost of the business to assemble a work force.

09:23:11 10                   MS. AYERS:   Your Honor, may I approach the

09:23:13 11    witness?

09:23:14 12                   THE COURT:   You may.

09:23:24 13    BY MS. AYERS:

09:23:31 14    Q.     Ms. Bennis, do you recognize the document that is

09:23:34 15    referenced PTX-1460?

09:23:36 16    A.     I do.

09:23:37 17    Q.     Can you tell the jury what it is?

09:23:39 18    A.     This is this document, the support from KPMG that I

09:23:45 19    read and reviewed.     And it says right on it, this was as of

09:23:48 20    2021, which is right in the heart of the time period when

09:23:51 21    all this was happening.      It was a valuation of intangible

09:23:56 22    subject assets in connection with the acquisition of RFMI

09:24:03 23    integrated device by Akoustis.

09:24:04 24    Q.     Ms. Bennis, did you rely on this document in

09:24:07 25    formulating your opinions of Qorvo's damages for losing the
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09:24:11   1   assembled workforce?

09:24:12   2   A.     Yes.

09:24:13   3                  MS. AYERS:   Your Honor I move PTX-1516 into

09:24:16   4   evidence.

09:24:17   5                  THE COURT:   Marked and received as 283.

09:24:19   6                  (Trial Exhibit No. 283 was admitted into

09:24:20   7   evidence.)

09:24:20   8   BY MS. AYERS:

09:24:21   9   Q.     Ms. Bennis, can you please explain what portion of

09:24:24 10    the KPMG analysis and valuation report that you relied on as

09:24:24 11    part of forming your opinion on the damages Qorvo suffered

09:24:35 12    in losing it's workforce?

09:24:35 13    A.     Yeah.    Within this evaluation report, was a page

09:24:39 14    that's displayed up here on the screen, and you'll see here

09:24:42 15    highlighted at the top is fair value of assembled workforce.

09:24:46 16    What it did, was it categorized those employees that

09:24:49 17    Akoustis got into its business by title, general manager,

09:24:53 18    senior projects engineer, et cetera.       And it totaled up what

09:24:58 19    are those kind of real costs that are experienced by

09:25:01 20    companies when they bring in employees, things like search

09:25:04 21    costs, interview costs, training costs, opportunity costs.

09:25:07 22    So I used this document in order to evaluate the costs to a

09:25:12 23    business within this industry, namely Akoustis, of

09:25:18 24    assembling a workforce and replacing employees.

09:25:21 25    Q.     Ms. Bennis, the jury has heard evidence that
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09:25:24   1   forty-three former Qorvo employees have worked at one point

09:25:27   2   in time, at Akoustis.    Did you include every single one of

09:25:32   3   these former employees in your analysis of how much it would

09:25:35   4   have cost Qorvo to replace it's workforce?

09:25:38   5   A.     I didn't.   So you're right, the list of former

09:25:43   6   employees is much larger that were involved in various

09:25:48   7   allegations of misappropriation, however, for purposes of

09:25:52   8   this analysis, it was really meant to narrow in on those

09:25:55   9   employees that would have been poached and therefore

09:25:59 10    replaced.   So it wouldn't be examples of employees that were

09:26:03 11    job hunting on their own, or were replaced for one reason or

09:26:08 12    another.

09:26:08 13    Q.     How many former Qorvo employees did you include in

09:26:12 14    your analysis?

09:26:12 15    A.     I ended up including nineteen.

09:26:15 16    Q.     Mr. Faison, can you please display PDX-11.12.

09:26:20 17                 Ms. Bennis, can you explain to the jury what is

09:26:23 18    going on in this slide?

09:26:25 19    A.     This is the summary that I put together that's

09:26:28 20    included in my report and all that does is take, again, the

09:26:31 21    information from the KPMG study by job title, by costs, by

09:26:37 22    category.   It then brought over those nineteen employees by

09:26:41 23    their speculative job titles and did the math.       So the math

09:26:45 24    results in a damages figure of $809,772.

09:26:56 25    Q.     Ms. Bennis, have you also calculated Qorvo's damages
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                                          #: 41355                              1707
                                            Bennis - direct

09:26:59   1   for Akoustis's patent infringement?

09:27:01   2   A.       Yes.

09:27:04   3   Q.       How did you perform that calculation?

09:27:09   4   A.       So I understand that if, in fact, there is damages

09:27:13   5   associated with patent infringement, that the case law

09:27:16   6   suggest that the patent holder is due no less than a

09:27:20   7   reasonable royalty payment for use of those patents.

09:27:23   8   Q.       How did you calculate a reasonable royalty?

09:27:28   9   A.       So once again, the guidance provided to those in my

09:27:32 10    shoes is that we are asked, and in fact the jury is asked to

09:27:37 11    consider a hypothetical negotiation.         So had these parties

09:27:41 12    actually come together back at the point in time when the

09:27:44 13    patents were beginning to be used, what would they have

09:27:47 14    considered.      And what type of payment terms would they have

09:27:50 15    decided on to compensate for the use of those patents.

09:27:55 16    Q.       When would this hypothetical negotiation have taken

09:27:58 17    place?

09:28:00 18    A.       2016.

09:28:01 19    Q.       What parties would have participated in the

09:28:05 20    hypothetical negotiation?

09:28:07 21    A.       Qorvo and Akoustis.

09:28:08 22    Q.       And what did you ultimately determine a reasonable

09:28:11 23    royalty rate to be for the patents at issue in this case?

09:28:14 24    A.       A reasonable running royalty of one percent applied

09:28:20 25    to the sale price of the accused products.
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                                          Bennis - direct

09:28:23   1   Q.     I would like to walk the jury through your analysis,

09:28:27   2   Ms. Bennis.    Mr. Faison, can you please pull up PDX-11.15.

09:28:31   3                  Ms. Bennis, can you explain to the jury what is

09:28:36   4   shown on this slide?

09:28:38   5   A.     Yes.    So as I mentioned, there is guidance provided

09:28:42   6   to those in my shoes to help determine what a reasonable

09:28:46   7   royalty would be.     And this list of fifteen factors is one

09:28:51   8   piece of that guidance.      They're called the Georgia-Pacific

09:28:54   9   factors because there was a court case many years ago that

09:28:57 10    involved a company known as Georgia-Pacific, so these are

09:29:00 11    all different things that the parties would have in their

09:29:04 12    mind when they are negotiating what the proper royalty would

09:29:07 13    be, so I have considered all these factors.

09:29:10 14    Q.     Were there any Georgia-Pacific factors that were

09:29:14 15    important to your analysis?

09:29:16 16    A.     Yes.    As with any case, there is always certain

09:29:20 17    factors that are more prevalent than others, just given the

09:29:24 18    individual patents and circumstances of each negotiation.

09:29:27 19    Q.     Mr. Faison, can you please display PDX-11.16.

09:29:32 20                   Ms. Bennis, can you explain to the jury which of

09:29:34 21    the Georgia-Pacific factors were most prevalent for purposes

09:29:40 22    of your analysis?

09:29:41 23    A.     Sure.    So the first couple Georgia-Pacific factors

09:29:45 24    ask are there any existing licenses for patents, either the

09:29:49 25    patent or patents like them that can help lend guidance as
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                                        #: 41357                              1709
                                          Bennis - direct

09:29:53   1   to what market values are for patents of this type.

09:29:56   2                 So in this case, there was a license that

09:30:00   3   Akoustis entered into for its own single crystal BAW filter

09:30:05   4   technology that was helpful.      I have also considered the

09:30:08   5   importance of the technology of the patents and the benefits

09:30:11   6   that are associated with their use, thanks to the help of

09:30:15   7   the technical experts.

09:30:17   8                 I have considered the sales and profitability of

09:30:19   9   the products that practice these patents.        And I have also

09:30:23 10    considered the relationship between the parties, so between

09:30:27 11    Qorvo and Akoustis as competitors.

09:30:30 12                  MS. AYERS:    Your Honor, may I approach the

09:30:31 13    witness?

09:30:32 14                  THE COURT:    You may.

09:30:39 15    BY MS. AYERS:

09:30:54 16    Q.     Ms. Bennis, I have just handed you Trial Exhibit 277.

09:31:01 17    Can you please explain to the jury what this document is?

09:31:05 18    A.     This document is the license agreement that I

09:31:08 19    referenced.    This is between Akoustis and Cornell University

09:31:12 20    for one patent.     We heard this referenced last week.       I

09:31:16 21    believe by Mr. Shealy, and then again by Mr. Bravman.

09:31:21 22    Q.     Mr. Faison, can you please display PDX-11.17.

09:31:26 23                  Ms. Bennis, can you please explain to the jury

09:31:30 24    the relevance of Trial Exhibit 277?

09:31:33 25    A.     So, after reviewing this particular license in
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                                        #: 41358                              1710
                                          Bennis - direct

09:31:36   1   detail, the few highlights that are listed here.         It also

09:31:40   2   was effective in 2016, as would be our hypothetical

09:31:44   3   negotiation.    It was for one patent.     The compensation terms

09:31:48   4   were pertinent.     The compensation terms included annual

09:31:52   5   license and maintenance fees, plus a one percent royalty,

09:31:57   6   running royalty applied to the net sales, so that was of

09:32:01   7   interest.

09:32:01   8                  And it was also of interest because of course it

09:32:05   9   related to Akoustis and its own BAW filter products, which

09:32:10 10    is what Akoustis would be looking to negotiate with Qorvo

09:32:13 11    here, the patent rights to be used in this BAW filter

09:32:17 12    products.

09:32:17 13    Q.     Did you speak with Mr. Shanfield and Mr. Bravman

09:32:20 14    about the relevance of this license?

09:32:22 15    A.     I did.     Like I mentioned, I relied on their expertise

09:32:26 16    to understand how the patent here related to, for instance,

09:32:31 17    the patents that are at issue with Qorvo.

09:32:34 18    Q.     And Mr. Faison, can you please return to PDX-11.16.

09:32:41 19                   The next factor that you consider was the

09:32:44 20    benefits associated with the technology in the '018 patent,

09:32:47 21    and the '755 patent.     Is that correct Ms. Bennis?

09:32:50 22    A.     Yes.

09:32:51 23    Q.     Mr. Faison, can you please display PDX-11.19?

09:32:55 24                   Can you explain to the jury what benefits the

09:32:58 25    asserted patents provided to the Akoustis resonators?
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                                        #: 41359                              1711
                                          Bennis - direct

09:33:03   1   A.     We also heard testimony about this last week, in

09:33:06   2   general and in shorthand, the '018 patent, my general

09:33:10   3   understanding is that the -- it's really about that

09:33:14   4   electrode thicknesses lead to increased bandwidth and that's

09:33:19   5   a benefit.    The '755 patent again talked about the thickness

09:33:22   6   of those layers, if you can kind of remember the picture

09:33:25   7   that they were showing you and that led to less energy loss

09:33:29   8   or leaked energy out of the lateral sides, so that kind of

09:33:33   9   gets to laymen's description of the technical benefits of

09:33:37 10    those patents.

09:33:38 11                   I did understand that it's fair to assume that

09:33:41 12    the role of those two patents are similar to each other

09:33:47 13    which is helpful to understand.

09:33:48 14    Q.     And Mr. Faison, can we please return back to

09:33:54 15    PDX-11.16.

09:33:55 16                   The next point on your list was the sales and

09:33:58 17    profitability of the products incorporating the patented

09:34:02 18    technology.    Did you rely upon any data that Akoustis

09:34:04 19    provided as a part of your analysis of this factor?

09:34:07 20    A.     I did.

09:34:11 21    Q.     Mr. Faison, can you please display JTX-003A, which is

09:34:17 22    a native file Excel spreadsheet.       And Mr. Faison, can you

09:34:31 23    please click on the sheet that says Five-year Strat.

09:34:39 24                   Ms. Bennis, do you recognize this document?

09:34:40 25    A.     I do.
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                                        #: 41360                              1712
                                          Bennis - direct

09:34:41   1   Q.     And can you explain to the jury what this document

09:34:43   2   is?

09:34:45   3   A.     So this, again, was a financial forecast from

09:34:49   4   Akoustis's own files.      You'll see at the top there it says

09:34:53   5   five years strategic plan.

09:34:55   6   Q.     And Mr. Faison, if you'll scroll up in the sheet.

09:34:59   7                 Where did you get this five-year forecast,

09:35:07   8   Ms. Bennis?

09:35:07   9   A.     So this was straight from the files at Akoustis.          It

09:35:11 10    was -- at the bottom it labeled the fact that these were

09:35:15 11    projections performed by Akoustis in June of 2022, and it

09:35:19 12    was their outlook for their next five years.

09:35:23 13                  MS. AYERS:    Your Honor, I move to admit JTX-003A

09:35:27 14    into evidence.

09:35:28 15                  THE COURT:    Marked and received as 284.

09:35:31 16                  (Trial Exhibit No. 284 was admitted into

09:35:32 17    evidence.)

09:35:32 18    BY MS. AYERS:

09:35:33 19    Q.     Mr. Faison, can you please display PDX-11.31.

09:35:37 20                  Ms. Bennis, can you please explain to the jury

09:35:42 21    what information in Akoustis's five-year strategic forecast

09:35:46 22    impacted your analysis of the sale and profitability of

09:35:49 23    products incorporating the patented technology for purposes

09:35:53 24    of the Georgia-Pacific factor?

09:35:54 25    A.     So these were kind of the salient points to pull out
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                                       #: 41361                              1713
                                         Bennis - direct

09:35:58   1   of that spreadsheet to highlight.      That Akoustis sold 61.6

09:36:06   2   million BAW filter units through 2023, those are actual

09:36:10   3   results.    But according to this five-year strategic plan,

09:36:14   4   Akoustis was projecting gross margins

09:36:18   5

09:36:23   6

09:36:28   7

09:36:34   8

09:36:40   9

09:36:44 10


09:36:50 11

09:36:51 12                  And the reason this is pertinent, is because

09:36:56 13    there is a lot of upsize in this market.       We heard a lot of

09:37:01 14    testimony that this is a billion dollars market, billions of

09:37:06 15    BAW filters being sold, there is very healthy profit margins

09:37:09 16    to be made, and so sitting at that hypothetical negotiation,

09:37:13 17    Akoustis is going to say I need to make sure I get a patent

09:37:17 18    license so that I can practice these patents and sell these

09:37:20 19    products and achieve the upside, and get my piece of the

09:37:24 20    market that I'm after here.

09:37:26 21                  So the sales and profitability are always on the

09:37:29 22    minds of parties when they think how much they have to gain

09:37:32 23    as a licensee, as the person taking the license.

09:37:36 24    Q.     Mr. Faison, can you please return back to PDX-11.16.

09:37:41 25                  The last Georgia-Pacific factor that you
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                                      #: 41362                              1714
                                        Bennis - direct

09:37:45   1   mentioned was the relationship between the parties.       Can you

09:37:48   2   please tell us what impact that would have had on the

09:37:51   3   hypothetical negotiation under Georgia-Pacific?

09:37:54   4   A.      The relationship of the parties is what is evaluated

09:37:59   5   under Georgia-Pacific factor number 5, and the reason why it

09:38:02   6   matters is because when you have a license like this one

09:38:05   7   that was between Cornell and Akoustis, Cornell is the

09:38:10   8   university, it's a research center, so it's not

09:38:13   9   manufacturing products and competing with Akoustis, Qorvo

09:38:16 10    is.   So it's typically -- it typically has the effect of

09:38:21 11    increasing the royalty rate, both demanded and paid when

09:38:25 12    there is a license between competitors as opposed a research

09:38:30 13    institution and a manufacturer.

09:38:31 14    Q.      After your consideration of those factors, as well as

09:38:34 15    all the other Georgia-Pacific factors, what is your opinion

09:38:37 16    regarding the royalty rate that Akoustis and Qorvo would

09:38:40 17    have agreed to for a license to the asserted patents?

09:38:43 18    A.      So it's my opinion that the parties would have agreed

09:38:46 19    on a royalty rate of -- as a result of a negotiation of at

09:38:51 20    least one percent.

09:38:52 21    Q.      And Mr. Faison, can you please pull up PDX-11.21.

09:38:57 22                 Applying this analysis, if the jury finds that

09:39:01 23    Akoustis infringes Qorvo's patent, what are the damages that

09:39:06 24    Qorvo are entitled to?

09:39:08 25    A.      You'll see on this slide I have summarized the
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                                          Bennis - direct

09:39:12   1   accused product revenue that only starts as of October 2021,

09:39:15   2   since that's the date that this lawsuit was filed and

09:39:18   3   continues through present, begin the fiscal year 2024

09:39:22   4   results are estimated there.      So that amount of revenue is

09:39:26   5   then multiplied by the royalty rate to get the royalty

09:39:29   6   damages for the use of those patents.        That to date equals

09:39:33   7   $279,808.

09:39:36   8                  It's important to note that if there is a

09:39:38   9   finding of infringement, that there is the ability for the

09:39:41 10    Court to suggest a license going forward.        So in a typical

09:39:46 11    licensing negotiation, just for context, the consideration

09:39:51 12    would be for a payment being paid until the expiration of

09:39:55 13    the patent.    So in this case, I think one of the patents

09:39:58 14    expired in 2035.     But this is what the damages date.

09:40:04 15    Q.     Can you explain to the jury why your damages for

09:40:07 16    patents infringement is so much lower than the damages that

09:40:10 17    you calculated for misappropriation of Qorvo's trade

09:40:13 18    secrets?

09:40:13 19    A.     Sure.     Again, the patent damages for two reasons,

09:40:17 20    really, they are -- they're is an important element of the

09:40:24 21    BAW filters for cells, but they're for a discrete

09:40:26 22    functionality.     This is also only reflective of the sale to

09:40:29 23    date, we saw those projections that expect the BAW filter

09:40:33 24    sales to grow very large numbers into the future.         But the

09:40:37 25    other difference is just overall scope, what we've heard is
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                                           #: 41364                              1716
                                             Bennis - direct

09:40:40   1   that the trade secret misappropriation, of the confidential

09:40:44   2   information is really -- it's affected the business

09:40:49   3   strategies, the design of the filters, the testing, all of

09:40:53   4   the different elements that help actually build and test and

09:40:56   5   make a product successful.

09:40:58   6   Q.        Mr. Faison, could you please go back to PDX-11.2.

09:41:02   7                     MS. AYERS:   Your Honor, may I approach?

09:41:05   8                     THE COURT:   You may.

09:41:17   9   BY MS. AYERS:

09:41:25 10    Q.        Ms. Bennis, do you recognize the document that I just

09:41:27 11    handed you?

09:41:28 12    A.        I do.

09:41:28 13    Q.        Can you explain to the jury what it is?

09:41:31 14    A.        Yes.    So this is Appendix C, as it was included in my

09:41:36 15    report.    And what I did here was, with respect to the trade

09:41:40 16    secret misappropriation and unfair competition -- or

09:41:43 17    misappropriation of confidential information analysis, is

09:41:47 18    because Dr. Shanfield's analysis considered a period of

09:41:52 19    55 months, but he also included really the benefit in

09:41:57 20    monthly increments.        I have actually run these monthly

09:42:01 21    increments through the model such that there is an analysis

09:42:05 22    for damages under a head-start period of one month all the

09:42:09 23    way up to 54 months, in addition to the 55 months.            So this

09:42:13 24    is the appendix that simply runs the figures through the

09:42:18 25    model in monthly increments.
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                                       #: 41365                                1717
                                          Bennis - cross

09:42:21   1                MS. AYERS:    Your Honor, I move to admit Appendix

09:42:23   2   C.

09:42:24   3                THE COURT:    Marked and received as 285.

09:42:27   4                (Trial Exhibit No. 285 was admitted into

09:42:28   5   evidence.)

09:42:28   6   BY MS. AYERS:

09:42:29   7   Q.     Ms. Bennis, could you please explain to the jury, if

09:42:32   8   they determine, for example, Akoustis only received a

09:42:37   9   54-month head-start as opposed to a 55-month head-start in

09:42:42 10    the market, how could they use your Appendix C to determine

09:42:46 11    the amount that Akoustis was unjustly enriched?

09:42:50 12    A.     So there is a summary schedule at the top of all of

09:42:53 13    the individual different models that include the head-start

09:42:57 14    period by month.    So they would go to 54 months, and there

09:43:02 15    would be a total damages figure there of $65,230,701, for

09:43:10 16    example.

09:43:10 17                 MS. AYERS:    Thank you, Your Honor, I have no

09:43:12 18    further questions.

09:43:12 19                 THE COURT:    Cross-examination.

09:43:24 20                 MR. ELKINS:    Thank you, Your Honor

09:43:26 21                        CROSS-EXAMINATION

09:43:26 22    BY MR. ELKINS:

09:43:27 23    Q.     Good morning, Ms. Bennis.

09:43:28 24    A.     Good morning.

09:43:30 25    Q.     Before we get into the nitty-gritty, I would like to
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                                        #: 41366                                 1718
                                           Bennis - cross

09:43:38   1   just make sure that the jury understands the construct for

09:43:43   2   damages experts testifying in court.          And you would agree

09:43:49   3   with me that the construct in any lawsuit, let's say it's

09:43:54   4   intellectual property, products liability, employment, is

09:43:57   5   that there are no -- there is no damages without liability;

09:44:02   6   correct?

09:44:03   7   A.     Yes.

09:44:04   8   Q.     But because the jury typically has not heard all of

09:44:09   9   the evidence from both sides, especially when the Plaintiff

09:44:12 10    puts on its case, the damages experts are asked to assume

09:44:18 11    liability for purposes of their testimony so that if the

09:44:24 12    jury having heard all of the evidence finds liability, then

09:44:28 13    they have an understanding about how to assess damages, if

09:44:31 14    any; is that correct?

09:44:32 15    A.     Yes.

09:44:34 16    Q.     So both you and Ms. Irwin, Carolyn Irwin, Akoustis's

09:44:40 17    damages expert, come in assuming liability, but you're not

09:44:44 18    testifying as to liability, correct?

09:44:46 19    A.     Correct.     I did mention that at the beginning, yes.

09:44:48 20    Q.     So let me just recap.      In essence, you have three

09:44:55 21    different damages opinions.      You have one as to trade secret

09:44:58 22    misappropriation; correct?

09:45:00 23    A.     Yes.

09:45:00 24    Q.     And that is based on an unjust enrichment theory

09:45:06 25    using a head-start.     And that is for $66.1 million; correct?
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                                        #: 41367                                1719
                                           Bennis - cross

09:45:11   1   A.     Yes.

09:45:13   2   Q.     And then you have an opinion regarding unfair

09:45:18   3   competition damages.     The first part of that is the benefit

09:45:22   4   of the head start to Akoustis, but that's from both trade

09:45:29   5   secrets and confidential information, correct?

09:45:34   6   A.     Yes.    Trade secrets as I understand it are subsumed

09:45:37   7   in confidential information, yes.

09:45:39   8   Q.     Okay.     So there is a bucket there of confidential

09:45:44   9   information, some of which are trade secrets and some of

09:45:47 10    which is just confidential information, but not trade

09:45:50 11    secrets?

09:45:50 12    A.     Yes, generally.

09:45:51 13    Q.     And that, your opinion for that also is based on an

09:45:56 14    unjust enrichment theory based on a head start, and it's

09:46:00 15    $66.1 million?

09:46:01 16    A.     That's right.

09:46:02 17    Q.     And there is also the second component of unfair

09:46:06 18    competition is the poaching damages, those are direct

09:46:10 19    damages to Qorvo; correct?

09:46:11 20    A.     Correct.

09:46:12 21    Q.     And that's 809,000?

09:46:14 22    A.     Yes.

09:46:15 23    Q.     And then number 3, you have the patent infringement

09:46:18 24    damages of $279,000?

09:46:20 25    A.     Correct.     Sounds right.
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                                        #: 41368                                1720
                                           Bennis - cross

09:46:23   1   Q.     So I'm going to first -- first I'm going to do just

09:46:27   2   like Ms. Ayers did, we're going to talk about trade secret

09:46:31   3   misappropriation first, and then we'll talk about unfair

09:46:34   4   competition and then last, we'll talk about patent

09:46:37   5   infringement.

09:46:37   6                 So first, to set the table regarding the types

09:46:41   7   of damages that are available to a Plaintiff that believes

09:46:46   8   it is -- it has been damaged by trade secret

09:46:51   9   misappropriation, there are basically under both federal

09:46:58 10    law, which Qorvo is suing under, and state law, which Qorvo

09:47:02 11    is also suing under, there is essentially three different

09:47:06 12    types of damages available; correct?

09:47:10 13    A.     Generally speaking, yes, there is three categories of

09:47:16 14    which various analysis can be evaluated.

09:47:18 15    Q.     Better said.     Thank you.

09:47:19 16                  So the first type of damage, is damages for

09:47:25 17    actual loss suffered by the Plaintiff for trade secret

09:47:28 18    misappropriation; correct?

09:47:29 19    A.     Yes.

09:47:30 20    Q.     So those would be direct damages, actual damages

09:47:33 21    suffered by the Plaintiff in this case, Qorvo; right?

09:47:37 22    A.     Yes, those can be measured, that's right.

09:47:40 23    Q.     The second is essentially unjust enrichment that

09:47:45 24    basically as you have said, the benefit enjoyed or

09:47:49 25    accumulating to the Defendant from use of the plaintiff's
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                                       #: 41369                                1721
                                          Bennis - cross

09:47:56   1   trade secrets; correct?

09:47:57   2   A.     I agree.

09:47:58   3   Q.     And finally, if neither Category 1 nor Category 2

09:48:05   4   really fits, then at a minimum, the Plaintiff can collect

09:48:10   5   what's known as a reasonable royalty for trade secret

09:48:14   6   misappropriation, I'm not saying it's the same, but

09:48:18   7   reasonable royalty in the same vain that you talked about

09:48:21   8   regarding patent infringement damages, right?

09:48:24   9   A.     I don't know that I would think of it as being

09:48:28 10    related to fit, I think it's more related to the idea of the

09:48:33 11    actual loss or unjust enrichment of difficult to calculate

09:48:38 12    for various reasons, which there can be various reasons,

09:48:42 13    that the trade secret holder is still due compensation as a

09:48:49 14    result of a bad act, so a reasonable royalty can be

09:48:52 15    evaluated to still make sure there is compensation for the

09:48:56 16    harm that's been imposed.

09:48:58 17    Q.     Correct.

09:48:58 18                 Category 1, Category 2.     So we have actual

09:49:02 19    damages, Category 1.    Category 2 is unjust enrichment of the

09:49:08 20    Defendant.   Those are actually additive, aren't they?

09:49:11 21    A.     They are, to the extent they don't overlap.

09:49:14 22    Q.     So a Plaintiff can recover its actual damages, and it

09:49:19 23    can also recover for the Defendants' unjust enrichment

09:49:23 24    benefit, so long as elements of each do not overlap as you

09:49:29 25    just said; correct?
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                                      #: 41370                                1722
                                         Bennis - cross

09:49:30   1   A.     That's my understanding.

09:49:32   2   Q.     Okay.    You have calculated no damages for Qorvo's

09:49:36   3   actual loss, correct?

09:49:36   4   A.     Correct, I evaluated only unjust enrichment, right.

09:49:40   5   Q.     You didn't attempt to calculate or to measure the

09:49:44   6   damages caused by misappropriation alleged against Akoustis

09:49:50   7   as measured by imposition of a reasonable royalty either,

09:49:55   8   correct?

09:49:55   9   A.     I did not reevaluate the reasonable royalty for the

09:49:59 10    claims of trade secret, that's correct.

09:50:00 11    Q.     And you don't really have a specific reason why you

09:50:02 12    did not express an opinion regarding the amount of Qorvo's

09:50:09 13    actual damages, correct?

09:50:11 14    A.     I think when we're phased with the task of evaluating

09:50:17 15    damages, sometimes there are choices to be made about what's

09:50:20 16    the most saleable, there is no question, there was no

09:50:27 17    question once the evidence kind of was laid out, the benefit

09:50:31 18    to Akoustis of obtaining this information.       And so because

09:50:36 19    there was such a clear head start benefit, it made sense to

09:50:40 20    evaluate the unjust enrichment accordingly.

09:50:43 21                   There is no question that there are actual

09:50:46 22    losses to Qorvo.    The loss of the confidential nature of its

09:50:52 23    own information.    But for purposes of the damages analysis

09:50:55 24    that I performed, I focused on that second prong, and that

09:50:58 25    is unjust enrichment enjoyed by Akoustis.
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                                           Bennis - cross

09:51:01   1   Q.     But since they're additive, Qorvo could have claimed

09:51:05   2   more damages if it had actual damages to show, you just

09:51:09   3   didn't do that, correct?

09:51:10   4   A.     So, I made several conservatives in my analysis.

09:51:15   5   Like I mentioned, there were elements of unjust enrichment

09:51:19   6   that I also did not include.

09:51:20   7   Q.     And unjust enrichment measures the benefit realized

09:51:25   8   by the Defendant as a result of its use of the trade

09:51:28   9   secrets, correct?

09:51:29 10    A.     Yes.

09:51:29 11    Q.     There is no benefit without use, right?

09:51:33 12    A.     The unjust enrichment in this case follows the --

09:51:39 13    yes, the benefit from the use, yes, agree.

09:51:47 14    Q.     So let's focus now on unjust enrichment, which is

09:51:51 15    what you did calculate with respect to the trade secret

09:51:55 16    misappropriation element here.

09:51:56 17                  And you would agree with me that court cases and

09:52:01 18    literature in the area recognizes three primary categories

09:52:07 19    of unjust enrichment in trade secret cases, correct?

09:52:13 20    Defendants' profits is one.      Head start benefit is another,

09:52:19 21    and avoided costs is the third.       Right?

09:52:27 22    A.     I certainly have done lots of reading and analysis

09:52:30 23    that evaluate unjust enrichment in a variety of ways.            Those

09:52:35 24    are certainly some of the ways that I have seen, yes, in

09:52:41 25    thinking about it.
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                                          Bennis - cross

09:52:42   1   Q.      You chose head start benefit.        Now, Akoustis never

09:52:47   2   made a profit, correct?

09:52:50   3   A.      My memory from the Akoustis financial results are

09:52:54   4   that it did not yet make a net profit, it has accomplished a

09:53:00   5   gross profit.

09:53:02   6   Q.      But a gross profit in the very low five or six

09:53:06   7   figures, correct, in 2015-2016, is that what you recall?

09:53:14   8   A.      I think that Akoustis had its fiscal year third

09:53:19   9   quarter investor presentation this morning in which it

09:53:22 10    announced a positive gross profit.

09:53:25 11    Q.      You're not going to testify about facts not before

09:53:27 12    the jury, are you?

09:53:28 13    A.      Sorry?

09:53:29 14    Q.      First of all, you're testifying about hearsay, so I'm

09:53:33 15    going to cut you off.     This is not something from your

09:53:36 16    report, correct?

09:53:37 17    A.      The results that were announced today would not have

09:53:41 18    been in my November report.

09:53:42 19    Q.      Correct.   And they're not in evidence, either, are

09:53:45 20    they?

09:53:47 21    A.      I was basing my statement on Akoustis's own

09:53:51 22    presentation of this investor financial performance this

09:53:55 23    morning.

09:53:55 24    Q.      Okay.    Well, your counsel can ask you about that if

09:53:59 25    she wants.   But I'm talking about when has Akoustis -- you
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                                           #: 41373                                1725
                                              Bennis - cross

09:54:05   1   said in the past it has -- it has showed a small gross

09:54:11   2   profit; correct?

09:54:13   3   A.        I am aware that Akoustis has shown a small gross

09:54:17   4   profit.

09:54:18   5   Q.        We'll look at a table from your report so that we can

09:54:22   6   make that clear.

09:54:22   7                    So you understand what avoided costs are?

09:54:28   8   A.        Yes.

09:54:28   9   Q.        And it's the costs -- they would be the development

09:54:34 10    costs that a Defendant avoids by using plaintiffs' trade

09:54:41 11    secrets; correct?

09:54:43 12    A.        Yes, generally speaking.

09:54:46 13    Q.        And I assume that you understand that avoided costs

09:54:52 14    is also a way to measure the benefit to a Defendant from a

09:54:57 15    head start?

09:54:59 16    A.        Yes, I think I mentioned that.

09:55:01 17    Q.        You did not attempt to calculate the benefit to

09:55:06 18    Akoustis from an-- on the basis of an avoided cost

09:55:11 19    methodology, correct?

09:55:12 20    A.        So like I mentioned earlier, my calculations

09:55:17 21    evaluated the time element of that benefit, it did not

09:55:21 22    evaluate any of the hard research development expenses that

09:55:25 23    are typically incurred by businesses.

09:55:27 24    Q.        So that would be yes, you did not calculate an

09:55:30 25    avoided cost calculation?
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                                         Bennis - cross

09:55:31   1   A.     I did not add into my damages overall calculations,

09:55:35   2   those types of expenses.

09:55:36   3   Q.     And we spoke at length in January during your

09:55:40   4   deposition, do you remember that?

09:55:41   5   A.     I do.

09:55:42   6   Q.     And you suggested the reason for not attempting to

09:55:46   7   calculate avoided costs was that you did not have the

09:55:49   8   information to calculate that, do you recall that?

09:55:52   9   A.     So in instances like this one, and in general,

09:55:58 10    Akoustis -- there are no such records in the files of

09:56:02 11    Akoustis because it didn't do it.     It didn't engage in the

09:56:04 12    research and development expenses that it instead

09:56:08 13    misappropriated.

09:56:09 14                   So there are instances where one can use, for

09:56:13 15    instance, like in this case, Qorvo's research and

09:56:17 16    development expenses as a proxy or as an estimate for what

09:56:22 17    it would take for Akoustis or a company in its position to

09:56:26 18    do the same thing.    They're Qorvo's trade secrets, so I know

09:56:29 19    we heard testimony last week that Qorvo spent a billion

09:56:36 20    dollars in BAW filter research and development over the

09:56:40 21    course of twenty years.    Just to finish the analysis --

09:56:42 22    Q.     Well, you're not answering my question.        In fairness,

09:56:47 23    I asked you, didn't you say that, and you went off on a

09:56:50 24    tangent to put in front of the jury information that you

09:56:52 25    wanted it to hear.    So you know, your counsel can always
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                                             Bennis - cross

09:56:56   1   cover that with you if she wants.         But I am entitled to a

09:57:00   2   straight up answer, and the jury is entitled to a straight

09:57:02   3   up answer to an easy question, which was, you told me you

09:57:06   4   didn't have the information necessary to calculate an

09:57:11   5   avoided cost methodology at your deposition, true?

09:57:15   6   A.       I probably said that, which is true because Akoustis

09:57:20   7   doesn't have research and development expenses for endeavors

09:57:24   8   it didn't engage in, because it misappropriated those steps.

09:57:30   9   Q.       You understand the concept of cash flow, correct?

09:57:33 10    A.       Of course.

09:57:33 11    Q.       And cash flow, it refers to the movement of money in

09:57:39 12    and out of the business.        And is often expressed in the

09:57:44 13    difference between cash moving in and cash moving out;

09:57:48 14    right?

09:57:49 15    A.       Sure.

09:57:50 16    Q.       So cash received, is an inflow; right?

09:57:54 17    A.       Yes.

09:57:54 18    Q.       And so, for Akoustis, that would be money that it

09:57:58 19    receives for sales of its filters, or for nonrecurring

09:58:03 20    engineering work which they called NRE's, two examples,

09:58:07 21    right?

09:58:07 22    A.       I didn't hear the first part.

09:58:09 23    Q.       I'm sorry.     This mic kind of moves around a little

09:58:12 24    bit.

09:58:13 25    A.       And I'm straining to see, I don't mean to --
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09:58:19   1   Q.       I'm not the tallest person in the world anyway.

09:58:22   2   A.       Me either.

09:58:23   3   Q.       So for Akoustis, cash inflow would be money that it

09:58:27   4   receives for the sale of the filters; right?

09:58:31   5   A.       And among other things.

09:58:33   6   Q.       Nonrecurring engineering expenses and so on?

09:58:37   7   A.       Yes.

09:58:37   8   Q.       And cash spent is an outflow; right?

09:58:40   9   A.       Yes.

09:58:41 10    Q.       So costs of creating revenue such as labor?

09:58:46 11    A.       That would be an example, yes.

09:58:48 12    Q.       And you -- in your report, you state that one way to

09:58:56 13    measure the economic benefit to Akoustis was to consider the

09:59:00 14    benefit that Akoustis received by prematurely having access

09:59:05 15    to cash flows.       Do you recall that statement?

09:59:08 16    A.       Yes.

09:59:08 17    Q.       But when you made your calculation of the supposed

09:59:18 18    head start benefit, you used revenue instead of cash flow;

09:59:23 19    right?

09:59:24 20    A.       Revenue is a cash flow.

09:59:27 21    Q.       It's an inflow, correct, revenue is a cash inflow,

09:59:32 22    correct?

09:59:32 23    A.       Revenue is a cash inflow, yes, I agree.

09:59:36 24    Q.       Okay.    But you used revenue, but you ignored the

09:59:39 25    costs that Akoustis incurred to make that revenue.             So in
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09:59:44   1   other words, you only told half the story?

09:59:46   2   A.     No, I wouldn't characterize it like that.

09:59:49   3   Q.     If you had limited the -- if you had included the

10:00:00   4   costs of revenue so the cash outflows necessary to create

10:00:04   5   the revenue that you did count, it would have yielded a

10:00:09   6   vastly different result than the one you came up with;

10:00:12   7   correct?

10:00:13   8   A.     No, I don't think that's right.

10:00:16   9   Q.     Okay.     Can we show, Mr. Brown, Appendix A, Schedule A

10:00:25 10    from Ms. Bennis's report?

10:00:35 11                   And just so you have a copy up close, I will

10:00:41 12    hand it to you.

10:00:43 13                   MR. ELKINS:   Your Honor, may I approach?

10:00:44 14                   THE COURT:    You may.

10:00:54 15    BY MR. ELKINS:

10:01:12 16    Q.     Okay.     So you'll recognize that on the screen we're

10:01:22 17    looking at Schedule A -- excuse me, Appendix A, Schedule 4

10:01:30 18    from your report.    And if we can focus -- we need Schedule

10:01:41 19    4, Mr. Brown.

10:01:43 20                   And can we focus on the top, Mr. Brown, just

10:01:53 21    through gross margin?

10:01:57 22                   So, what you're showing, or what you show in

10:02:11 23    your Appendix A, Schedule 4, is on a gross margin basis,

10:02:17 24    which approximates cash flow in this case, if you consider

10:02:21 25    the cash flow is the cost of creating the revenue, you
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10:02:24   1   essentially see that except for 16, 17, 18 and 19, Akoustis

10:02:35   2   shows negative cash flow; correct?

10:02:41   3   A.       A couple of thoughts of what I think I heard you say.

10:02:46   4   You are focusing on the gross margin line item.

10:02:52   5   Q.       Yes, I am.

10:02:53   6   A.       That would be -- yeah, there are negative gross

10:02:56   7   margins in certain years, not all years.           I have not

10:03:01   8   highlighted the net profit margin on the bottom, but I agree

10:03:07   9   -- the question was, I am seeing negative gross margins,

10:03:11 10    right?

10:03:11 11    Q.       Yes.

10:03:12 12    A.       Yes, I am.

10:03:12 13    Q.       And that's essentially, if we were to look at cash

10:03:15 14    flow, and we limited the cash flow simply to the costs of

10:03:20 15    revenue, the cost of creating the revenue that is counted

10:03:23 16    and that's the only thing counted in your calculation of

10:03:27 17    benefit, then it shows in that loss, or a net negative of

10:03:36 18    ten-and-a-half million dollars for that time period,

10:03:38 19    correct?

10:03:39 20    A.       Yes, I agree.

10:03:41 21    Q.       And so essentially, because during that period all of

10:03:46 22    Akoustis's revenue, certainly from 2020 through 2023, was

10:03:53 23    eaten up by the costs of making its revenue, it didn't have

10:03:57 24    any cash inflows to enjoy for purposes of investing in

10:04:03 25    capital equipment; right?
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10:04:07   1   A.        So it achieved a negative gross margin which would

10:04:12   2   have been true whether -- well, I should say it's

10:04:16   3   independent of the consideration of what was avoided by

10:04:21   4   virtue of misappropriation.      So it's not uncommon for a

10:04:25   5   company to start and stop an operation to sell at a negative

10:04:30   6   margin until things get to scale.       But that doesn't take

10:04:33   7   away from the fact that it's achieving the results it's

10:04:36   8   achieving 55 months earlier.

10:04:38   9   Q.        But your methodology relies on benefit to Akoustis,

10:04:45 10    and the issue is, does it have the benefit when it doesn't

10:04:50 11    see any positive cash flow, because the costs of creating

10:04:55 12    its revenue, are larger than the revenue it receives?

10:04:58 13    A.        Well, of course, because the analysis that you're

10:05:03 14    seeing right here would be protracted if not for the benefit

10:05:07 15    of being able to get into the market and earn all these

10:05:09 16    revenue streams at an earlier point in time.

10:05:12 17    Q.        So your focus is on revenue, and you have posited

10:05:19 18    that it's the time value of that revenue that Akoustis gets

10:05:22 19    to enjoy because it misappropriated trade secrets and got a

10:05:28 20    head start, but in fact, this shows that it didn't get to

10:05:31 21    enjoy any revenue because the revenue is not there sitting

10:05:36 22    in a bank, it's being consumed by the costs of revenue, the

10:05:41 23    cost of making that revenue is greater than the revenue

10:05:44 24    itself.    So there is nothing there to invest or earn

10:05:48 25    interest on.    There is nothing there to, you know, invest in
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10:05:53   1   capital equipment.     It's being consumed by the costs of

10:05:57   2   revenue.    And that's really the problem with your theory is

10:06:00   3   you're trying to infer a benefit from revenue without taking

10:06:06   4   real world facts into account; right?

10:06:09   5   A.     No, I disagree completely.

10:06:12   6   Q.     Okay.

10:06:13   7   A.     And again --

10:06:14   8   Q.     Let's say you're aware that the courts rely on

10:06:25   9   publications that have considered expert witness

10:06:29 10    methodologies for estimating a head start benefit to a

10:06:33 11    Defendant having endorsed expert opinions using the amount

10:06:36 12    of the Defendant's incremental products, that's the

10:06:42 13    Defendant's profits, right?

10:06:43 14    A.     I believe so, yes.

10:06:45 15    Q.     And in a head start, they have also approved the use

10:06:50 16    of the increased value of the Defendant's company, company

10:06:56 17    value, as a result of a head start it obtained, you're aware

10:07:00 18    of that, right?

10:07:01 19    A.     Which is what all these types of things get to, yeah.

10:07:05 20    Q.     But you did not perform a valuation of Akoustis as a

10:07:11 21    company, correct?

10:07:12 22    A.     My analysis focuses just on the isolated benefit.

10:07:16 23    Q.     Right.     And you're aware, because I asked you at your

10:07:21 24    deposition, you're aware of the Sedona Conference, right?

10:07:25 25    A.     Yes.
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10:07:26   1   Q.     And it's a well respected nonpartisan, nonprofit

10:07:31   2   research and educational institute, right?

10:07:34   3   A.     Yes.

10:07:34   4   Q.     And among other things, it's dedicated to the

10:07:38   5   advanced study of law and policy in the area of antitrust

10:07:42   6   law, complex litigation, intellectual property rights and

10:07:45   7   data security and practicing law, correct?

10:07:49   8   A.     I'll take your word for it.

10:07:51   9   Q.     And it publishes an autonomous journal that includes

10:07:56 10    articles, commentaries and other publications, right?

10:08:00 11    A.     Yes, I think groups like that often produce --

10:08:05 12    Q.     We discussed a particular publication by the Sedona

10:08:10 13    Conference, it published the Sedona Conference Commentary on

10:08:15 14    Monetary Remedies in Trade Secret Litigation, do you

10:08:19 15    remember that?

10:08:19 16    A.     I do.

10:09:21 17                   MR. ELKINS:   May I approach, Your Honor?

10:09:23 18                   THE COURT:    You may.

10:09:34 19    BY MR. ELKINS:

10:09:44 20    Q.     As I want to do, I sometimes forget to look at

10:09:47 21    things, so I'm looking at documents.          Before I have you do

10:09:50 22    that, Ms. Bennis, let me back up to the last document that I

10:09:53 23    showed you.    Mr. Brown, if you could put back on Appendix A,

10:09:58 24    Schedule 4.    There you go.

10:10:01 25                   And could you focus on the lines right
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10:10:04   1   underneath operating expenses.

10:10:08   2   A.     Okay.

10:10:09   3   Q.     And I just wanted to note, so you prepared this

10:10:17   4   spreadsheet for your own report; correct?

10:10:21   5   A.     I did.     I prepared this from an Akoustis material,

10:10:28   6   Form 10K filings, yes.

10:10:30   7   Q.     And you put --

10:10:31   8   A.     Amalgamated them.

10:10:33   9   Q.     Amalgamated into a useful fashion.         One thing I

10:10:36 10    wanted to confirm is, you have there a total of 152 point,

10:10:43 11    almost, $152.7 million in research and development from

10:10:48 12    fiscal year '16 through '23; correct?

10:10:52 13    A.     Yes.

10:10:53 14                   MR. ELKINS:   Your Honor, we would offer Exhibit

10:10:56 15    A, Schedule 4 from Ms. Bennis's report into evidence.

10:11:00 16                   THE COURT:    Marked and received as 286.

10:11:07 17                   (Trial Exhibit No. 286 was admitted into

10:11:08 18    evidence.)

10:11:08 19                   MR. ELKINS:   Thank you.

10:11:09 20    BY MR. ELKINS:

10:11:09 21    Q.     Okay.     Sorry for that detour.

10:11:13 22                   Let's go back to the Sedona Conference paper.

10:11:20 23    And does this appear to be a true and correct copy of the

10:11:25 24    article that we discussed at your deposition?

10:11:28 25    A.     Yes, I believe so.
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10:11:33   1                 MR. ELKINS:    Your Honor, we would move the

10:11:35   2   Sedona Conference Journal Volume XIX, Number 2, into

10:11:39   3   evidence.

10:11:41   4                 MS. AYERS:    Objection, Your Honor.

10:11:41   5                 THE COURT:    Objection sustained.

10:11:45   6   BY MR. ELKINS:

10:11:45   7   Q.     Let's look --

10:11:46   8                 THE COURT:    It's inconsistent with the portion

10:11:53   9   of the 803 series of rules.

10:11:57 10    BY MR. ELKINS:

10:11:58 11    Q.     Can you go to page 39, 39 of 81, which is not here,

10:12:04 12    but I think it's at page 684.      Well, let me do this without

10:12:36 13    the document.

10:12:38 14                  When we spoke at your deposition in January, you

10:12:48 15    could not recall at that time having ever previously

10:12:51 16    performed a head start estimate of benefit in a trade secret

10:13:01 17    case before this one, is that accurate?

10:13:06 18    A.     A head start benefit?

10:13:11 19    Q.     Yes.

10:13:17 20    A.     I'm not sure that I have.

10:13:21 21    Q.     And while you're -- you're looking at the -- at least

10:13:28 22    in direct examination, you said that you're looking at the

10:13:31 23    time value of money received by Akoustis.         The money

10:13:39 24    received is revenue in this case; correct?

10:13:42 25    A.     Yes.
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10:13:42   1   Q.       And you could not at your deposition, identify a

10:13:49   2   single court case where a court approved using a Delta N

10:13:56   3   revenue as adjusted for the time value of money as a basis

10:14:01   4   for estimating a head start benefit, correct?

10:14:05   5   A.       That's right.

10:14:06   6   Q.       And you cannot identify a single informative

10:14:11   7   publication approving using revenue as the basis for

10:14:16   8   estimating a head start benefit in a trade secret case;

10:14:21   9   correct?

10:14:24 10    A.       I mean, I certainly can't cite to every publication

10:14:28 11    that's ever been authored.     I can't think of any examples.

10:14:31 12    I think every analysis that I see, both that I perform and

10:14:35 13    others in my shoes perform, are unique to the facts and

10:14:38 14    circumstances present in the analysis that we're asked to

10:14:41 15    perform.    So what I did in this particular case, was what I

10:14:47 16    felt fit best with the facts.

10:14:51 17    Q.       Even though there was no prior basis for doing it;

10:14:55 18    right?

10:14:55 19    A.       Well, like we have discussed, I mean, the measure of

10:14:58 20    a head start benefit is right in line with what's

10:15:04 21    appropriate to evaluate in the case of trade secret

10:15:07 22    misappropriation like we have here.

10:15:10 23    Q.       Now, in your but for world, in your but for world is

10:15:18 24    what damages experts call what should have happened but for

10:15:24 25    the facts that give rise to liability, in this case trade
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10:15:29   1   secret misappropriation, correct?

10:15:30   2   A.     Yes.

10:15:30   3   Q.     So the but for world is where you shift revenues

10:15:35   4   forward in time by 55 or however many months that the jury

10:15:39   5   might find the head start benefit was in effect; correct?

10:15:44   6   A.     Yes.

10:15:44   7   Q.     And in your but for world, you assume that Akoustis

10:15:51   8   fiscal year 2024 revenue would be $59.4 million, right?

10:15:59   9   A.     That's right.

10:15:59 10    Q.     So I just wanted to make sure.         You testified that

10:16:03 11    you adjusted that down to take into account the testimony

10:16:08 12    from Mr. Aichele testified that he anticipated that the full

10:16:16 13    fiscal year revenue for fiscal -- the fiscal year ending

10:16:23 14    June 30th, 2024, would be about $28 million?

10:16:25 15    A.     Yes.    To be clear, at the time of my report issuance

10:16:30 16    in November, I used Akoustis's projections, the most recent

10:16:35 17    projections that it had made at that point which included

10:16:40 18    fiscal year 2024 total revenue of 59 million.          Mr. Aichele

10:16:46 19    sat before us last week and said that number will be more

10:16:50 20    like 28 million, so I ran both figures through the model to

10:16:55 21    produce the result.

10:16:55 22    Q.     So if we use the most up-to-date reference at least

10:17:00 23    based on what Mr. Aichele said, that reduces the head start

10:17:03 24    benefit you calculated by about $16 million, correct?

10:17:06 25    A.     Yes.    I have not seen Mr. Aichele's projections in
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10:17:10   1   writing anywhere, but again, for the benefit of the jury, I

10:17:13   2   ran that number through.

10:17:14   3   Q.     Right.     But you have seen the fiscal year, the Q1 and

10:17:20   4   Q2, quarter 1 and quarter 2 financial reports for Akoustis

10:17:27   5   for fiscal year 2024, correct?

10:17:30   6   A.     Yes.

10:17:30   7   Q.     Do you have any reason to disbelieve what Mr. Aichele

10:17:34   8   testified based on the revenue reported for quarters 1 and 2

10:17:39   9   of fiscal year 2024?

10:17:44 10    A.     I think I hear you asking two different things.            So

10:17:48 11    Mr. Aichele projected full year performance through quarter

10:17:51 12    4, but quarter 4 is not completed yet.         So that by

10:17:56 13    definition has to be a forecast.

10:17:59 14    Q.     Okay.    But you didn't see anything that looked --

10:18:02 15    based on your review of Q1 and Q2, leaped out at you as

10:18:09 16    being unrealistic of Mr. Aichele's forecast, correct?

10:18:12 17    A.     I mean, the same information I believe was available

10:18:16 18    at the time of the -- the projections that I reviewed back

10:18:21 19    in November, so just, both are projections, so I ran both

10:18:27 20    numbers.

10:18:28 21    Q.     So now, you also included all Akoustis's revenue in

10:18:34 22    your estimate of head start benefit, whether it's related to

10:18:41 23    alleged Qorvo trade secrets or not, correct?

10:18:44 24    A.     That's correct.

10:18:45 25    Q.     And I think that you stated that at the time of your
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10:18:52   1   report, or in your report, you stated that the trade secrets

10:18:55   2   Akoustis is alleged to have misappropriated related to

10:18:59   3   virtually every aspect of its business and ability to get to

10:19:04   4   market in the time frame that it did, that includes its

10:19:08   5   ability to earn grant money, fabricate products, provide

10:19:12   6   engineering services and manufacturing products.          As such,

10:19:15   7   it is appropriate to consider Akoustis's total company

10:19:18   8   revenue in this analysis.      Is that right?

10:19:20   9   A.     Exactly right.

10:19:21 10    Q.     And you relied on an oral discussion with

10:19:26 11    Dr. Shanfield before you issued your report for that

10:19:31 12    conclusion; correct?

10:19:33 13    A.     Yes.

10:19:34 14    Q.     You never saw his written report before you -- in

10:19:39 15    fact, you never saw his written report until we had -- you

10:19:42 16    had your deposition in January of this year; right?

10:19:45 17    A.     So, the way the court schedules work in the cases,

10:19:49 18    his report and my report were due on the same day, so I

10:19:53 19    wouldn't have seen his report.       We talked with each other in

10:19:58 20    preparation with respect to reports, that's fine.

10:20:05 21    Q.     Do you know how many trade secrets -- well, at the

10:20:09 22    time of your deposition in January 2024, you didn't know how

10:20:13 23    many trade secrets Qorvo was asserting at the time?

10:20:16 24    A.     Yeah, I'm not sure individually now.          I know they

10:20:21 25    have been grouped into various groups that we've talked
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10:20:24   1   about.

10:20:25   2   Q.       Well, you sat through all of the slides that show

10:20:28   3   them.    I'll represent to you that there are 46.

10:20:31   4   A.       Okay.

10:20:32   5   Q.       I'll also represent to you that at the time you

10:20:36   6   submitted your report and the time of your deposition, there

10:20:40   7   were 104.

10:20:42   8   A.       That's a lot.

10:20:43   9   Q.       That's a lot.     And now there are 46.       And at the time

10:20:47 10    of your report and deposition, there were ten categories of

10:20:53 11    alleged trade secrets, right?

10:20:54 12    A.       Yes.

10:20:54 13    Q.       Now there are eight.

10:20:56 14                     So the number of trade secrets is 56 percent

10:21:02 15    less than it was before.        The number of categories is down

10:21:09 16    20 percent.      Yet your methodology still includes all

10:21:13 17    Akoustis's revenue regardless of source; right?

10:21:16 18    A.       So you may recall, I think we touched on it at my

10:21:20 19    deposition, you asked me about, there were two other

10:21:23 20    categories like 9 and 10, we've seen 8.           You asked about 9

10:21:29 21    and 10 and the inclusion in the analysis.           My memory was

10:21:33 22    there were other trade secrets originally asserted that had

10:21:37 23    to do with tax documents and processes, they weren't

10:21:39 24    technical in nature, but rather other business information.

10:21:43 25    So they did not necessarily impact the head start, they were
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10:21:46   1   not reflected in the 55 month, they were additional.           So the

10:21:50   2   removal of those for purposes of just taking the jury

10:21:55   3   through a palatable amount of money, or evidence, rather,

10:22:00   4   doesn't affect the calculations that I presented.

10:22:02   5   Q.     Okay.    Now, you heard Mr. Aichele testify about the

10:22:07   6   breakdown of revenue between or among BAW filter revenue,

10:22:13   7   revenue from RFMi, the SAW filter company it acquired and

10:22:20   8   from GDSI, the back-end fabrication company, right?

10:22:25   9   A.     Yes.

10:22:25 10    Q.     And you heard that of the anticipated $28 million in

10:22:31 11    revenue that Akoustis will -- should receive in fiscal year

10:22:37 12    2024, about over $13 million of it comes from RFMi and from

10:22:44 13    GDSI, right?

10:22:45 14    A.     Yes.

10:22:46 15    Q.     So it's about 46, 47 percent of all revenue?

10:22:50 16    A.     At present, the jury may recall, we looked at the

10:22:53 17    spreadsheet that contained the annual projections moving

10:22:56 18    forward that in the future, the company is built around

10:23:00 19    filters, so that revenue is projected to be 90 plus percent

10:23:06 20    of total company revenue once they're up to speed.

10:23:10 21    Q.     But you're looking at -- that may be true, but for

10:23:16 22    current purposes, the years that you have used for revenue

10:23:20 23    are 2016 through 2024; correct?

10:23:24 24    A.     Yes.    Up to present.

10:23:25 25    Q.     And then you're just projecting those into the
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10:23:28   1   future?

10:23:28   2   A.        Right.

10:23:29   3   Q.        So we're just talking about -- we're not talking

10:23:32   4   about what happens after that period.         And you were here for

10:23:38   5   Mr. Aichele's testimony, I saw you in the gallery; right?

10:23:41   6   And you know that RFMi and GDSi are subsidiaries of

10:23:47   7   Akoustis, right?

10:23:48   8   A.        I do.

10:23:48   9   Q.        And you undertook no analysis in your report to

10:23:52 10    determine whether Akoustis could have or would have acquired

10:23:56 11    them absent product revenue, right?

10:23:59 12    A.        Sorry, but --

10:24:01 13    Q.        Your report undertakes no analysis whether Akoustis

10:24:05 14    would have or could have acquired those two companies absent

10:24:11 15    any product revenue from filters?

10:24:14 16    A.        I didn't conduct specific analysis, again, I think

10:24:18 17    that's the point, though.      I mean, you can't acquire money

10:24:21 18    if you don't have money.      It gets to the time value of

10:24:25 19    power, remember when I was here talking about the power of

10:24:27 20    having a dollar today is more powerful than having a dollar

10:24:31 21    tomorrow because you can buy things, you can build things,

10:24:33 22    you can buy companies that bring in revenue stream to help

10:24:37 23    support your growth and your operation, that's the idea.

10:24:40 24    Q.        But Akoustis didn't have money from the get go, yet

10:24:43 25    it was able to fund $152 million in R & D, correct, it
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10:24:48   1   didn't earn that from products?

10:24:49   2   A.     But again, they have the ability to do those things

10:24:53   3   because you were giving -- you're talking about cash flows,

10:24:56   4   you're having the benefit of those cash flows earlier rather

10:24:59   5   than later, and they didn't have to go then raise money from

10:25:02   6   investors, from banks in the same way that they would have

10:25:05   7   had they not had the benefit of those revenue streams.

10:25:08   8   Q.     Because they had already done that, though, they did

10:25:11   9   that in 2015, when they went public, right?

10:25:15 10    A.     I think I am misunderstanding your question.

10:25:19 11    Q.     You're aware that Akoustis is a public company?

10:25:22 12    A.     I am.

10:25:22 13    Q.     And when did it go public?     2015, right?

10:25:26 14    A.     I'm not recalling the exact date.       But again, the,

10:25:30 15    the idea is all of the activities they have taken, have been

10:25:34 16    by virtue of having the benefit of the information.         So it's

10:25:37 17    not to say that they couldn't have done those things, recall

10:25:40 18    I told you the analysis doesn't take away the revenue that

10:25:44 19    they've earned, it's intended to measure the benefit of

10:25:47 20    doing all these things earlier, that's all.

10:25:49 21    Q.     But -- we'll come back to that.

10:25:55 22                   The revenue of GDSi and RFMi, those -- the

10:26:03 23    services and products they sell have nothing the do with

10:26:06 24    this case, correct, no technology of RFMI is at issue in

10:26:10 25    this case, correct?
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10:26:11   1   A.      I would disagree that they have nothing to do with

10:26:13   2   this case.

10:26:14   3   Q.      Is any technology, is any Qorvo technology been

10:26:20   4   passed on to RFMI?

10:26:21   5   A.      The idea of the analysis is --

10:26:23   6   Q.      Can you answer my question yes or no?        It's a yes or

10:26:26   7   no question.

10:26:27   8   A.      I don't know.

10:26:28   9   Q.      You heard Mr. Aichele say it wasn't.        Are you aware

10:26:31 10    of any evidence that RFMI uses, or even has any information

10:26:36 11    that is a Qorvo trade secret?

10:26:39 12    A.      My memory of RFMI is that they are -- they make

10:26:44 13    filters as well, they were brought into the umbrella of

10:26:48 14    Akoustis by virtue of doing all the business activities that

10:26:51 15    Akoustis has done over the years, that's where the analysis

10:26:54 16    lies.

10:26:54 17    Q.      Okay.   Let me ask the question again.       Are you aware

10:26:57 18    of any Qorvo information that is in the possession of RFMI,

10:27:03 19    yes or no?

10:27:04 20    A.      I don't know that.

10:27:05 21    Q.      So the answer is no, you're not aware, correct?

10:27:08 22    A.      Possession, I can't speak to possession.

10:27:11 23    Q.      You have heard no evidence that RFMI has anything

10:27:17 24    relating to Qorvo, isn't that correct?

10:27:20 25    A.      That's correct, I don't know that.
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10:27:22   1   Q.     Okay.    And the same with GDSi, you have heard no

10:27:26   2   evidence in this case that GDSi has any Qorvo information

10:27:30   3   whatsoever, correct?

10:27:31   4   A.     That's right, I don't know that.

10:27:32   5   Q.     In fact, GDSi's business isn't even related to what

10:27:37   6   Qorvo does, right?

10:27:37   7   A.     I think we heard testimony that it had to do with

10:27:40   8   slicing and dicing of filters, so it's BAW filter related as

10:27:46   9   I understand it, that's the nature of Akoustis's business.

10:27:50 10    Q.     Right.

10:27:51 11                   So in general when estimating damages, an expert

10:27:56 12    is supposed to be conservative in her approach; correct?

10:28:02 13    A.     I would say that an expert is -- attempts to be

10:28:07 14    accurate, conservatives are part of those analyses at times.

10:28:15 15    Q.     By including revenue from completely independent

10:28:20 16    companies though, have you valuated that maximum?

10:28:23 17    A.     I disagree.

10:28:24 18    Q.     You already said, you did not undertake a specific

10:28:29 19    analysis whether or not Akoustis could have and would have

10:28:33 20    acquired RFMI or GDSi in the absence of trade secret

10:28:39 21    misappropriation that's alleged, correct?

10:28:42 22    A.     And I would repeat the same answer that I provided

10:28:45 23    earlier, which is I have not suggested that Akoustis

10:28:49 24    couldn't have gotten where it's gotten, I have simply

10:28:52 25    suggested the benefits incurred had they gotten there
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10:28:57   1   earlier.

10:28:58   2   Q.     Let's move to unfair and deceptive trade practices,

10:29:07   3   that claim, which we have called unfair competition because

10:29:10   4   it's a lot easier.     It has two components as we already

10:29:16   5   discussed, the first one is confidential information

10:29:18   6   misappropriation, is what you called it in your slide deck.

10:29:22   7   And that reflects the benefit to Akoustis from the head

10:29:27   8   start; correct?

10:29:28   9   A.     Yes.

10:29:28 10    Q.     And essentially, you reused the methodology that you

10:29:37 11    put to use for the trade secret misappropriation benefit

10:29:43 12    analysis, and you're essentially reapplying it for the

10:29:47 13    purposes of unfair competition?

10:29:49 14    A.     It measures the benefits in the same way, yes.

10:29:53 15    Q.     Okay.    But this bucket as you -- as you said when we

10:29:59 16    first started talking is confidential information, so it

10:30:02 17    includes both the trade secrets that are the subject of your

10:30:08 18    prior benefit calculation, and then an unknown amount of

10:30:14 19    confidential information; correct?

10:30:16 20    A.     Yes.

10:30:17 21    Q.     But the addition of the confidential information to

10:30:22 22    your consideration does not move the needle so to speak,

10:30:27 23    with respect to the amount of the benefit, in other words,

10:30:31 24    it stays $66.1 million or $50 million, I guess, in light of

10:30:37 25    Mr. Aichele's testimony, whether that confidential
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10:30:40   1   information is included or not; correct?

10:30:43   2   A.     That's right, I didn't increase the number so to

10:30:47   3   speak, I used the same consideration of that.

10:30:52   4   Q.     So the second component of unfair competition is

10:30:55   5   poaching.   And poaching damages are direct damages to Qorvo;

10:31:01   6   correct?

10:31:02   7   A.     It's an attempt to estimate an amount of money for

10:31:07   8   purposes of Akoustis's actions with respect to the poaching,

10:31:11   9   yes.

10:31:11 10    Q.     Right.

10:31:12 11                   But as opposed to measuring the benefit to

10:31:15 12    Akoustis here, you're measuring the harm to Qorvo from

10:31:19 13    Akoustis's alleged poaching, correct?

10:31:21 14    A.     Yes.    The cost to a business like Qorvo to losing

10:31:28 15    employees in the manner that it did, yes.

10:31:30 16    Q.     Unwanted attrition has a cost, correct?

10:31:33 17    A.     Yes.

10:31:33 18    Q.     And businesses have various ways of accounting for

10:31:39 19    that in terms of the costs to the business of having to

10:31:42 20    replace an employee it wasn't looking to terminate?

10:31:48 21    A.     Yes.

10:31:49 22    Q.     Okay.    So, you took, essentially what you're looking

10:31:57 23    at are a -- on a per employee basis, the per employee

10:32:02 24    expenses that many people don't think about, HR time

10:32:08 25    invested in replacing an employee, lost productivity, et
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10:32:13   1   cetera, and you're basically taking a number based on the

10:32:17   2   position of an employee and then multiplying it by the

10:32:21   3   number of employees that fit within that position who went

10:32:25   4   over to Akoustis?

10:32:26   5   A.       Correct.

10:32:31   6   Q.       So we've heard in this case, and you repeated that

10:32:36   7   forty-three former Qorvo or RFMD employees joined Akoustis;

10:32:46   8   correct?

10:32:47   9   A.       Founded Akoustis, yes.

10:32:51 10    Q.       Excuse me?

10:32:52 11    A.       Or founded Akoustis.

10:32:53 12    Q.       Or founded, Mr. Shealy who left RFMD because Qorvo

10:32:57 13    didn't exist yet, so he left RFMD, and founded Akoustis.

10:33:03 14                    And you tried to determine who among that group

10:33:06 15    of forty-three was poached, right?

10:33:09 16    A.       Yes.

10:33:09 17    Q.       And you're not an expert in determining what poaching

10:33:12 18    is, right?

10:33:13 19    A.       No, I'm not.

10:33:14 20    Q.       And, or at least in determining what is poaching

10:33:19 21    versus hiring in the normal course of business, is what I

10:33:23 22    meant to say.       That's not within your realm of expertise,

10:33:26 23    right?

10:33:26 24    A.       That's right.

10:33:27 25    Q.       And so through Qorvo's counsel, you arranged to speak
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10:33:32   1   with someone in Qorvo's human resources group, right?

10:33:36   2   A.     Right.

10:33:36   3   Q.     And that was Denise Stoddard?

10:33:40   4   A.     Leslie Stoddard.

10:33:42   5   Q.     Leslie Stoddard.     Ms. Stoddard is a Qorvo human

10:33:47   6   resources analysis?

10:33:48   7   A.     That sounds right.

10:33:49   8   Q.     And you asked her to walk you through the forty-three

10:33:52   9   people to determine whether or not there was some

10:33:56 10    circumstances that -- from which you could infer that a

10:34:01 11    person could not have been poached; right?

10:34:04 12    A.     My memory of the analysis is the starting point was

10:34:07 13    an Akoustis employee roster that was in the files of

10:34:11 14    Akoustis.   There were various employees on that list that I

10:34:15 15    knew just from my review of the deposition transcripts and

10:34:19 16    other evidence that were -- that were individuals that had

10:34:23 17    left Qorvo or that wouldn't belong in a poaching analysis.

10:34:27 18    So I was able to eliminate some of those people on my own.

10:34:32 19                 And so by the time I got to my conversation with

10:34:36 20    Ms. Stoddard, it was really a function of tell me more about

10:34:39 21    the people that went directly, that were poached in order to

10:34:43 22    narrow it, just to be very conservative and try to limit it

10:34:48 23    to nineteen people.

10:34:50 24                 THE COURT:    We're at 10:31.    We'll take a

10:34:53 25    fifteen-minute break.     Don't discuss the case amongst
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10:34:56   1   yourselves or let anyone talk to you about it.        We'll see

10:34:58   2   you at 10:46.   And I'll stay here for just a minute.

10:35:05   3               (Jury exiting the courtroom at 10:35 a.m.)

10:35:27   4               THE COURT:    Be seated just for a moment.       We'll

10:35:34   5   have a short restroom break at this time this morning.          You

10:35:37   6   can't talk with anybody about your testimony you have given,

10:35:40   7   so simply don't have a conversation about that.        And we will

10:35:44   8   see you a little bit before 10:46, probably about three or

10:35:50   9   four minutes.   Thanks very much.

10:35:51 10                Anything else from the parties at this time?

10:35:55 11    The objection, of course, was as to a specific instruction

10:36:00 12    under 803.18(b), which is the normal instruction which is

10:36:07 13    the documents that you were using cannot be received into

10:36:10 14    evidence but they can be referenced or portions can be read

10:36:14 15    of those.

10:36:15 16                MR. ELKINS:     Okay.

10:36:15 17                THE COURT:    That takes care of everything.        We

10:36:18 18    will let everybody be excused.      We'll see you back at least

10:36:22 19    three minutes in advance.

10:36:24 20                (A brief recess was taken.)

10:55:21 21                THE COURT:    You may be seated.

10:55:25 22                We are ready to proceed.

10:55:42 23                (Jury entering the courtroom at 10:55 a.m.)

10:56:03 24                THE COURT:    Everyone can be seated.

10:56:10 25                Counsel, you may proceed.
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10:56:12   1                  MR. ELKINS:   Thank you.

10:56:13   2   BY MR. ELKINS:

10:56:16   3   Q.     Ms. Bennis, before the break, we were talking about

10:56:20   4   Qorvo's employee poaching allegation, and the work you

10:56:25   5   conducted to determine the amount of direct damages to Qorvo

10:56:30   6   from the alleged poaching.     And we talked about how you

10:56:33   7   started with the forty-three, and you worked with Ms. Leslie

10:56:40   8   Stoddard, Qorvo's HR person, to try to whittle out of that

10:56:50   9   group of forty-three anybody who might be inappropriately

10:56:54 10    classified as having been poached; is that right?

10:56:56 11    A.     Yes, I think so.

10:57:00 12    Q.     Among the people that you did not include were people

10:57:04 13    that Qorvo had terminated as opposed to the employees

10:57:09 14    voluntarily leaving to come over to Akoustis; correct?

10:57:12 15    A.     That could be an example.     Other examples I can think

10:57:16 16    of would be there was one gentleman who was looking for

10:57:23 17    another job in another state, for instance, and then ended

10:57:26 18    up at Akoustis.    So there were examples like that that I

10:57:30 19    tried to not include.

10:57:32 20    Q.     Okay.     So -- but essentially, if anybody was the

10:57:36 21    subject of a reduction in force or was terminated for

10:57:39 22    another reason, you did not include them within the group of

10:57:44 23    nineteen people who you used for your poaching calculation,

10:57:50 24    correct?

10:57:50 25    A.     Reduction of force would be a good example of someone
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10:57:55   1   that I wouldn't include as an employee, if there was not an

10:57:59   2   attempt to replace them.

10:58:02   3   Q.       Okay.    So you eliminated Mr. Houlden, for example,

10:58:06   4   because you understood from Ms. Stoddard that he was -- his

10:58:16   5   position was eliminated at Qorvo, right?

10:58:18   6   A.       That's right.

10:58:19   7   Q.       And you eliminated Mr. Shealy from the list because

10:58:22   8   he left Qorvo and then took a few months to found Akoustis;

10:58:28   9   right?

10:58:28 10    A.       That's right.

10:58:29 11    Q.       You included Mr. Kwon, though, J.B. Kwon, you saw him

10:58:38 12    testify in deposition, right?

10:58:40 13    A.       On video, yes.

10:58:42 14    Q.       Yes.    And you read his deposition as one of the

10:58:45 15    materials that you had before you issued your report; right?

10:58:49 16    A.       Yes.

10:58:49 17    Q.       And you heard him testify that he was the one who

10:58:53 18    decided to leave Qorvo, and applied through a recruiter.

10:58:59 19    A.       I did hear that.

10:59:00 20    Q.       So why did you include him?

10:59:02 21    A.       I think it was my understanding, again, based on

10:59:07 22    conversations, the belief was that it was a poaching

10:59:10 23    exercise, so he was included.

10:59:17 24    Q.       So if somebody said that, they were seeking to leave

10:59:21 25    voluntarily and approached Akoustis, you still counted that
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10:59:25   1   as a poaching exercise?

10:59:27   2   A.     I can't think of any other examples like that.

10:59:31   3   Q.     Okay.   So would you agree with me that there are

10:59:39   4   three important issues in determining the harm to Qorvo from

10:59:43   5   poaching.   One, first, did Qorvo replace the departed

10:59:48   6   employee.   That would be one issue to look at; correct?

10:59:53   7   A.     It could be.

10:59:55   8   Q.     Number two, was the employee poached; right?

10:59:59   9   A.     Yes, that could be.

11:00:01 10    Q.     And third would be, what's the incremental amount of

11:00:04 11    money that Qorvo spent for, maybe through indirect means,

11:00:12 12    but the harm to Qorvo from having to replace that poached

11:00:19 13    employee, right?

11:00:20 14    A.     In general, these are costs incurred with having to

11:00:22 15    deal with these types of issues.

11:00:25 16    Q.     Let's take first, whether Qorvo replaced any or all

11:00:29 17    of the nineteen employees that are on your list.        At your

11:00:33 18    deposition in January 2024, you confirmed that that was a

11:00:38 19    question you didn't ask, correct?

11:00:40 20    A.     That's right.

11:00:41 21    Q.     So you spoke with Ms. Stoddard, but you didn't ask

11:00:44 22    her whether or not Qorvo replaced any of the nineteen

11:00:48 23    employees that are on your poached list?

11:00:51 24    A.     Yes, we spoke through again the various employees and

11:00:55 25    her understanding of their departures and such.        The
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11:01:00   1   interesting part about this type of analysis is, these

11:01:04   2   training type costs and search costs and things of that

11:01:08   3   nature aren't necessarily something you see in black and

11:01:11   4   white on a company's financial statement, which is why you

11:01:14   5   have valuations like the one we saw for KPMG, or we have the

11:01:19   6   U.S. Laborer Statistic Bureau, which is a government entity

11:01:24   7   that puts out studies that I used in another analysis that

11:01:27   8   helps document what these costs are to other companies

11:01:30   9   because the costs are real.

11:01:31 10    Q.     No one is disputing that, Ms. Bennis.        I want to make

11:01:34 11    sure that I understand that -- so Qorvo possibly chose to

11:01:40 12    replace some, all or none of the nineteen people, but you

11:01:46 13    don't know that; correct?

11:01:47 14    A.     Right.   I understand that again, hiring some of these

11:01:52 15    positions is very iterative, and my discussion with Stoddard

11:01:56 16    did not prove that to be any different at Qorvo.

11:01:59 17    Q.     Let's consider the question now whether any of the

11:02:03 18    nineteen were actually poached.     So you understand that for

11:02:08 19    the employee poaching claim in this case, Qorvo does not

11:02:15 20    allege that Akoustis engaged in unfair business practices

11:02:19 21    simply by targeting and attempting to recruit Qorvo

11:02:24 22    employees generally, right?

11:02:26 23    A.     Can you ask that again?

11:02:29 24    Q.     Sure.    You understand that in the day-to-day world,

11:02:34 25    competitors will recruit employees from other competitors
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11:02:39   1   all the time; correct?

11:02:42   2   A.      Generally speaking, yes.

11:02:45   3   Q.      And there is nothing wrong with that; correct?

11:02:48   4   A.      Right.

11:02:49   5   Q.      And what happens -- and in this case, what Qorvo

11:02:55   6   alleges is that its allegations concern Akoustis's alleged

11:03:03   7   practices of hiring certain Qorvo employees for the purpose

11:03:06   8   of having those employees misappropriate Qorvo's

11:03:10   9   confidential information and trade secrets for Akoustis's

11:03:17 10    use.   Would you agree with that characterization of claims?

11:03:21 11    A.      Yes, I share that understanding.

11:03:23 12    Q.      But you undertook no analysis, whether any evidence

11:03:27 13    suggest that Akoustis specifically targeted any of the

11:03:31 14    nineteen employees on your list for the express purpose of

11:03:35 15    having those employees misappropriate Qorvo's confidential

11:03:39 16    information and trade secrets for Akoustis's use; correct?

11:03:43 17    A.      Yes.    I assumed liability, so I assumed the poaching

11:03:46 18    exercises as charged by Qorvo.

11:03:50 19    Q.      But you also created a list of nineteen people?

11:03:53 20    A.      Yes.    Within the confines of the evidence and the

11:03:57 21    discussions with Ms. Stoddard, yes.

11:04:01 22    Q.      And did you not talk to Dr. Shanfield about who he

11:04:06 23    believed among the nineteen employees on your list actually

11:04:11 24    is for whom he had evidence that they accessed or brought

11:04:19 25    over Qorvo confidential information to Akoustis; correct?
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11:04:22   1   A.      No, I don't think he and I talked about that.

11:04:33   2   Q.      So then comes the incremental expense to Qorvo for

11:04:39   3   replacing each employee, whom it replaced, and who was

11:04:44   4   poached, and you would agree with me -- I mean, you heard

11:04:49   5   from Mr. Creviston, who testified first, he's the client

11:04:55   6   representative of Qorvo, and he testified that Qorvo is a

11:04:59   7   three-and-a-half billion dollars enterprise with 8,000

11:05:03   8   employees or something like that, worldwide, do you remember

11:05:05   9   that?

11:05:06 10    A.      Something like that, yes.

11:05:08 11    Q.      Okay.   So wouldn't you expect an enterprise that

11:05:15 12    large to track the incremental costs of having to --

11:05:19 13    incremental costs to the company of unwanted employee

11:05:23 14    attrition?

11:05:23 15    A.      No, not necessarily.

11:05:25 16    Q.      I'm sorry.   I couldn't hear you.

11:05:26 17    A.      No, not necessarily.

11:05:28 18    Q.      Okay.   But you don't know whether it has or not

11:05:31 19    because you never asked Ms. Stoddard for that information,

11:05:36 20    correct?

11:05:37 21    A.      Again, our conversation revolved around the actual

11:05:41 22    employees, like I mentioned before in my experience, these

11:05:44 23    are not necessarily black and white expenses that are

11:05:46 24    recorded in financial statements, but they're well

11:05:50 25    understood to be costs to businesses, and employee
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11:05:53   1   attrition.

11:05:54   2   Q.     Okay.    So you spoke with Ms. Stoddard about the

11:06:01   3   circumstances of the departures of the forty-three people to

11:06:04   4   get to the list of nineteen; right?

11:06:06   5   A.     Yes.

11:06:07   6   Q.     But you did not ask her whether or not any of the

11:06:09   7   nineteen had been replaced by Qorvo; right?

11:06:14   8   A.     Right.

11:06:14   9   Q.     And did you not ask her whether Qorvo tracks the

11:06:17 10    incremental cost of unwanted attrition on an employee basis,

11:06:21 11    correct?

11:06:21 12    A.     Right, for the reasons I explained.

11:06:25 13    Q.     So, while you rely on the KPMG analysis, and I heard

11:06:32 14    your testimony, I understood it, but you conducted no

11:06:36 15    analysis based on Qorvo's information to determine whether

11:06:41 16    or not the per employee costs in the KPMG analysis, was a

11:06:45 17    good proxy for what Qorvo's actual incremental cost from

11:06:53 18    unwanted employee attrition was; correct?

11:06:58 19    A.     When I came across the KPMG valuation, as accountants

11:07:03 20    go, I was excited because that is something that is -- it's

11:07:06 21    spot on to what I was looking for.       It talked about employee

11:07:10 22    costs versus employees in the BAW filter industry, not only

11:07:14 23    that, but in the walls of Akoustis.       These were the same job

11:07:18 24    titles, was a spot-on third-party analysis for the costs

11:07:21 25    that can be associated with assembling a workforce.
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11:07:28   1   Q.      So the third category of damages about which you

11:07:32   2   opined was patent infringement damages, correct?

11:07:35   3   A.      Yes.

11:07:35   4   Q.      And I imagine that it will come as some relief to you

11:07:40   5   and to the jury, and to the Court, for me to say that I

11:07:44   6   don't have any questions about that.         So thank you for your

11:07:46   7   time.

11:07:48   8                  THE COURT:    Redirect.

11:07:53   9                  MS. AYERS:    Yes, Your Honor, thank you.

11:07:55 10                          REDIRECT EXAMINATION

11:07:56 11    BY MS. AYERS:

11:07:57 12    Q.      Ms. Bennis, is a head start damage analysis one of

11:08:02 13    the acceptable ways to measure a Defendant's unjust

11:08:08 14    enrichment benefit as you understand the law?

11:08:13 15    A.      Yes.

11:08:16 16    Q.      And are you aware of court cases and conference

11:08:20 17    papers like Sedona Conference that entitle the Plaintiff to

11:08:25 18    recover the entire fair market value of a misappropriating

11:08:29 19    company?

11:08:29 20    A.      Yes.    In fact, I was perusing that particular

11:08:35 21    document on the break just now.

11:08:37 22    Q.      But you're not opining here today that Qorvo is

11:08:41 23    entitled to recover the entire fair market value of

11:08:45 24    Akoustis, correct?

11:08:45 25    A.      I am not.
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                                      Bennis - redirect

11:08:46   1   Q.      Can you remind the jury what unjust enrichment

11:08:52   2   benefit Akoustis did receive to which you are opining?

11:08:56   3   A.      The benefit I measured again, is just the value of

11:08:59   4   that head start.   It's meaningful to get into a market

11:09:03   5   earlier, the benefits as a result of being able to enter the

11:09:08   6   market earlier than otherwise one could accomplish, so that

11:09:12   7   isolated benefit is what I measured here.

11:09:15   8   Q.      Let's pull up PDX-4 again.

11:09:22   9                Ms. Bennis, in PDX-4, which identified the delay

11:09:28 10    in Akoustis's receipt of revenue under the head start model,

11:09:33 11    would Akoustis have occurred operating expenses from 2016 to

11:09:38 12    2020?

11:09:39 13    A.      Yes, it would have.

11:09:42 14    Q.      And let's pull up Schedule 4, Appendix A.

11:09:50 15                 Ms. Bennis, would Akoustis have incurred R & D

11:10:09 16    expenses under the 55-month delay from 2016 to 2020?

11:10:16 17    A.      Yes, the idea here is even in the instance where

11:10:21 18    Akoustis would have had to go through its own research and

11:10:25 19    development expenses and do all the things that it would

11:10:27 20    have needed to do to get a product to market on its own.        It

11:10:31 21    still is a business, so it still incurs employee costs, they

11:10:36 22    have to pay people, it has to finance debt, it has to do all

11:10:39 23    the things that a business has to do just by virtue of

11:10:43 24    existing.

11:10:49 25    Q.      Mr. Elkins asked you questions regarding the totality
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11:10:53   1   of the research and development expenses that Akoustis

11:10:56   2   incurred.   What was the majority of those research and

11:11:01   3   development expenses incurred?

11:11:04   4   A.       According to this particular schedule, you can see

11:11:07   5   that those, the majority that has been incurred in preceding

11:11:14   6   years.

11:11:15   7   Q.       For the benefit of the jury, can you point out what

11:11:18   8   Akoustis research and development expenses were in 2016?

11:11:22   9   A.       $1,758,701.

11:11:28 10    Q.       What are the research and development expenses that

11:11:30 11    Akoustis is incurring right now in 2023 and 2022?

11:11:33 12    A.       Fiscal year 2022, it recorded approximately

11:11:38 13    35.7 million.       Fiscal year 2023, it recorded approximately

11:11:44 14    33.2 million.

11:11:45 15    Q.       Mr. Elkins also asked you questions about the 104

11:11:50 16    trade secrets that Qorvo initially asserted against Akoustis

11:11:56 17    which have now for efficiency sake for the jury been dropped

11:12:01 18    down to somewhere in the range of the forties.            Was your

11:12:04 19    original head start analysis that you performed in November

11:12:08 20    based upon Groups 1 through 8 of Dr. Shanfield's report?

11:12:13 21    A.       That's correct.

11:12:14 22    Q.       And was your analysis based upon the 55-month head

11:12:18 23    start that Dr. Shanfield opined to during trial?

11:12:22 24    A.       Yes.

11:12:24 25                    MS. AYERS:    I have no further questions for this
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11:12:26   1   witness, Your Honor.

11:12:27   2                THE COURT:   All right.    You may step down.

11:12:28   3   Thanks very much.   And you are excused.      Thank you.

11:12:34   4                Who will our next witness be for the Plaintiff?

11:12:40   5                MR. MASTERS:    Your Honor, Ms. Bennis is the

11:12:46   6   Plaintiff's last witness and we rest our case.

11:12:48   7                THE COURT:   All right.    The Plaintiff has rested

11:12:51   8   its case.   There will be a short break as we've already

11:12:58   9   discussed a lot of material, but we need a few minutes to

11:13:02 10    discuss a few more things.    I would say ten minutes.       And we

11:13:06 11    will actually be here the whole time, so hopefully in ten

11:13:10 12    minutes we'll have you come back and then I'll ask the

11:13:13 13    defense if they wish to present any evidence in the case.

11:13:16 14    Of course evidence has already been presented from the

11:13:19 15    defense by individuals who were examined during the

11:13:23 16    case-in-chief, so I'll obviously know what the answer is.

11:13:27 17                 I'll let you be excused for that ten-minute

11:13:30 18    period and have you come back and let you know where we're

11:13:32 19    going after that.   Don't discuss the case amongst

11:13:35 20    yourselves, or allow anyone to talk to you about it.         We'll

11:13:39 21    see you in ten minutes or so.

11:13:42 22                 (Jury exiting the courtroom at 11:13 a.m.)

11:13:57 23                 THE COURT:   Everybody can be seated.       We always

11:14:05 24    do take a break at this time.     I know that there has been

11:14:09 25    discussion earlier, and I think that the number of things
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11:14:14   1   have been adjusted and some steps are being taken out of the

11:14:20   2   instructions right now.       So I'll start with lead counsel for

11:14:23   3   the defense.    Hopefully I have got the right lead counsel.

11:14:28   4                  MR. ELKINS:    We will --

11:14:32   5                  MR. LEMIEUX:    I'll defer to my colleague.

11:14:34   6                  THE COURT:    I think that's what he told me, is

11:14:37   7   that right?    We're set to go.

11:14:38   8                  MR. ELKINS:    Your Honor, we have two brief

11:14:44   9   Rule 50(a) motions to bring.       The first one we could not

11:14:47 10    bring until we heard testimony, and I will be extremely

11:14:53 11    brief.

11:14:53 12                   The basis of this motion, Your Honor, is that

11:14:57 13    the head start duration estimated by Dr. Shanfield coupled

11:15:01 14    with the head start damages opinion from Ms. Bennis relying

11:15:06 15    on Dr. Shanfield's defective, in our view, estimate may not

11:15:13 16    be considered by the jury.      Together, they are the bases of

11:15:17 17    Qorvo's head start benefit theory.         And together, they do

11:15:20 18    not meet the standard for the admission of expert evidence.

11:15:25 19                   I am not going to repeat the admissibility

11:15:32 20    tenants of Rule 702.      The Court is well aware of them.        But

11:15:38 21    I do believe that one, in this Court earlier this year, the

11:15:46 22    Court stated to satisfy the reliability requirement, the

11:15:49 23    expert testimony must be based on the methods and procedures

11:15:53 24    of science, not on subjective belief and unsupported

11:15:58 25    speculation.    And that is of extreme relevance in this case.
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11:16:05   1                 Ms. Bennis's calculation is entirely premised on

11:16:10   2   Dr. Shanfield's conclusion that a 55-month head start is

11:16:13   3   reasonable.    Dr. Shanfield admitted on cross-examination at

11:16:18   4   trial that he has no facts or publications to support his

11:16:24   5   55-month head start calculation, or the individual trade

11:16:27   6   secret by month calculations that comprise it.

11:16:31   7                 While he considered where he could find

11:16:34   8   information that would give him a reference point for each

11:16:38   9   trade secret period, he admitted that he relied on his own

11:16:42 10    belief about things.      And I am citing to the trial record at

11:16:48 11    1381 through 1403.

11:16:52 12                  Those beliefs are an improper basis for expert

11:16:57 13    opinion under Federal Rule of Evidence 702.

11:17:00 14                  He relied on his own work at Draper Labs, which

11:17:06 15    he admitted was not a manufacturing company; his

11:17:09 16    conversations with unnamed people at Qorvo, although he did

11:17:12 17    identify Dr. Aigner, though he admitted Dr. Aigner did not

11:17:18 18    know for some categories.      He relied on his own corporate

11:17:22 19    experience which ended in 2003, more than twenty years ago.

11:17:26 20    He relied on an unnamed publication that was not in his

11:17:30 21    report.   And he relied on an old colleague with whom he

11:17:34 22    spoke, also not in his report.

11:17:37 23                  Nothing about his testimony -- nothing about his

11:17:40 24    head start duration opinion as provided in his opinion is

11:17:44 25    reliable, and therefore it's inadmissible.
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11:17:48   1               And for the reasons set forth in our prior

11:17:51   2   Daubert motion, Ms. Bennis's head start benefit opinion is

11:17:56   3   based on revenue rather than profit.        It does not meet the

11:18:00   4   standards for the admission of opinion testimony under 702,

11:18:03   5   but is rendered even more unreliable by her reliance on

11:18:08   6   Dr. Shanfield's head start duration estimate.

11:18:12   7               And that two expert witnesses are combining

11:18:16   8   unreliable opinions to spin a tale of head start fantasy

11:18:21   9   renders the Court's gatekeeping role even more imperative in

11:18:27 10    this case than it usually is.     The Court should instruct the

11:18:31 11    jury to disregard the two opinions, and without admissible

11:18:35 12    evidence regarding the value of Akoustis's purported head

11:18:38 13    start benefit, that issue should be removed from the jury's

11:18:42 14    purview.

11:18:43 15                That's all I have on that, Your Honor.

11:18:46 16    Mr. Lemieux has a related, but separate motion.

11:18:48 17                THE COURT:    Okay.   We will -- before we do that,

11:18:51 18    we'll hear a brief response on this head start question.

11:18:57 19                MS. AYERS:    Thank you, Your Honor.

11:18:58 20                As you know, Rule 703 allows an expert's

11:19:04 21    opinions to be based on fact and data that the expert has

11:19:07 22    personally observed in this case.     Dr. Shanfield testified

11:19:10 23    at length regarding the misappropriation.        He also testified

11:19:14 24    at length regarding how he calculated his head start

11:19:19 25    55-month analysis.   Through his testimony, he identified
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11:19:22   1   numerous facts and factors that he relied upon for each

11:19:26   2   specific trade secret group with respect to the head start

11:19:29   3   analysis.   Those facts and factors are also specifically set

11:19:33   4   forth within the context of his expert report as well, which

11:19:36   5   we can provide to the Court in the event that he request it.

11:19:40   6   Those facts include information from fact witnesses who

11:19:43   7   testified in this case.

11:19:44   8                For example, Tony Testa testified that Qorvo

11:19:47   9   spent years including upwards of two years, for example, in

11:19:51 10    order to obtain the information that was found within the

11:19:53 11    context of its automotive marketing presentation that was

11:19:57 12    taken by Akoustis.

11:19:59 13                 And the sum total of Dr. Shanfield's testimony

11:20:02 14    we believe actually does contain the facts upon which he

11:20:05 15    relies for purposes of calculating the specific 55-month

11:20:09 16    head start that Ms. Bennis then relies upon.

11:20:12 17                 For the same reasons, Ms. Bennis' opinion is

11:20:15 18    reliable, she's permitted to rely upon Dr. Shanfield's

11:20:19 19    analysis of 55 months.    She also, as the Court noted in the

11:20:23 20    previous order, permitted to opine as to the unjust

11:20:29 21    enrichment head start benefits that Akoustis received.          I

11:20:33 22    think that her testimony here today made clear that she was

11:20:36 23    not attempting to disgorge in any way Akoustis's revenue,

11:20:40 24    and instead that she was merely valuing the time value of

11:20:43 25    that revenue to Akoustis, using generally accepted economic
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11:20:47   1   formulas that accountants use every day in order to actually

11:20:51   2   analyze and measure the time value of revenue that a company

11:20:55   3   receives.

11:20:56   4                 THE COURT:   All right.    This has been

11:21:01   5   established and addressed to some degree already, and so

11:21:07   6   time value analysis is very important in a case.         And the

11:21:15   7   unjust enrichment in light of the standard will be denied.

11:21:22   8   We're ready for the second matter.

11:21:27   9                 I will say this, this is something we really

11:21:28 10    worked on.   I wish I had a case that told us exactly what to

11:21:37 11    do.   All of us have looked for that, and we have not been

11:21:40 12    able to do that, so it's an interesting and challenging

11:21:43 13    question.    It is a challenging question.      Counsel, you got

11:21:46 14    the second part.

11:21:47 15                  MR. LEMIEUX:    It's a related 50(a) motion, Your

11:21:50 16    Honor.   That basically under the North Carolina Unfair

11:21:54 17    Competition Act that has been alleged in this case, it has

11:21:57 18    three requirements.    One, that there be an unfair deceptive

11:22:00 19    act or practice.    Two, that it will be in or affecting

11:22:04 20    commerce.    And three, that it proximally causes actual

11:22:08 21    injury to the claimant.      As we heard Ms. Bennis' testimony,

11:22:11 22    she did not provide any opinion whatsoever on actual injury

11:22:15 23    to the Plaintiff in this case.

11:22:18 24                  They chose to follow an unjust enrichment which

11:22:21 25    is just simply the benefit allegedly received by the
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11:22:26   1   Defendant for use of that information.       And they're entitled

11:22:29   2   to do that, and that's a legitimate remedy to be sought

11:22:33   3   under misappropriation of trade secrets.       But under the

11:22:36   4   difference of the unfair competition act, and one of the

11:22:39   5   ways in which the North Carolina Unfair Competition Act is

11:22:43   6   different from trade secrets is it has this third

11:22:46   7   requirement of actual injury to the claimant.        There has

11:22:48   8   been absolutely no evidence produced in this case of any

11:22:52   9   injury and Ms. Bennis repeated multiple times that she did

11:22:55 10    not provide any opinion as to any actual injury to the

11:22:59 11    claimant in this case.

11:23:00 12                Because of that, they don't meet the criteria to

11:23:05 13    state a claim except to the extent that they have alleged

11:23:09 14    this employee poaching claim.

11:23:10 15                So our motion, Your Honor, is that while they be

11:23:14 16    allowed to proceed with their unfair competition claim, that

11:23:17 17    the jury be instructed they may not consider the injury that

11:23:20 18    has been alleged under the misappropriation of trade

11:23:24 19    secrets, but be limited solely to the employee poaching

11:23:27 20    claims that they have made.

11:23:28 21                THE COURT:    Plaintiff's counsel?

11:23:40 22                MS. AYERS:    Your Honor, if you will bear with me

11:23:41 23    a moment, I'll pull up the draft jury instructions and I'm

11:23:48 24    waiting for my counsel to provide the draft jury

11:23:51 25    instructions to me so I can appropriately respond to this
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11:23:58   1   allegation.

11:24:00   2                 THE COURT:    Sure.

11:25:19   3                 MS. AYERS:    Your Honor, in Qorvo's issues of law

11:25:35   4   to be litigated which was submitted on April 1st, 2024, the

11:25:39   5   legal authority for Qorvo assertion of unfair trade

11:25:43   6   practices under the North Carolina law, there are two North

11:25:48   7   Carolina cases that are cited in paragraph 120 of those

11:25:50   8   issues of law to be litigated, which state that the --

11:25:53   9                 THE COURT:    Are either of those cases directly

11:25:57 10    on point?

11:25:58 11                  MS. AYERS:    They are directly on point, Your

11:26:00 12    Honor, but the North Carolina Court of Appeals affirmed an

11:26:04 13    award of damages that under the UDTPA, a plaintiff is

11:26:08 14    awarded loss profits and the value of the benefits received

11:26:13 15    which are two types of benefits under UDTPA.          Our claim is

11:26:15 16    for the unjust enrichment benefit damages under the UDTPA.

11:26:19 17                  We have shown actual harm as a result of the

11:26:22 18    unjust enrichment that our competitor actually received and

11:26:25 19    we think that the cases cited in paragraph 120 are our legal

11:26:29 20    authority for the recoverability of our unjust enrichment

11:26:33 21    damages is applicable to the Rule 50(a) motion.

11:26:44 22                  THE COURT:    We're going to have to take that

11:26:46 23    under advisement and we can do that at this stage, so we

11:26:50 24    will provide on the case with that motion under advisement.

11:26:53 25                  Counsel, anything else on that?
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11:26:55   1                 MR. LEMIEUX:    Just would like to add, Your

11:26:57   2   Honor, for the benefit of the Court, the case is Citibank

11:27:00   3   USA versus National Association versus RightSale.

11:27:04   4                 THE COURT:    I think we're probably looking at

11:27:06   5   the same thing, yes, sir, tell me about it.

11:27:08   6                 MR. LEMIEUX:    That's right.     In that case it

11:27:09   7   concluded that because there was no actual injury to the

11:27:14   8   plaintiff in that case or the claimant, as a matter of law,

11:27:17   9   it could not support a claim under the North Carolina Unfair

11:27:22 10    Competition Act.

11:27:22 11                  THE COURT:    I appreciate that.     And I have it

11:27:24 12    right here.    And we're going to take that under advisement.

11:27:28 13                  MR. LEMIEUX:    Thank you, Your Honor.

11:27:28 14                  THE COURT:    Thank you.    All right.    We're going

11:27:30 15    to then turn -- I will in a moment turn to the defense.

11:28:04 16                  I think we're still exactly where we were a

11:28:09 17    moment ago.

11:28:10 18                  Counsel, I'll turn to you in just a moment and

11:28:13 19    say who will your next witness be.        I have the list here

11:28:16 20    that Mary Winters will be our next witness.          Is that still

11:28:19 21    correct?

11:28:20 22                  MR. ELKINS:    That is correct, Your Honor, it

11:28:22 23    will be -- we have three fact witnesses today live.           It will

11:28:26 24    be Ms. Winters, Mr. Kim, and then Ms. Johnson.          And then if

11:28:30 25    we can get to it still, we'll have Leah Giovan by deposition
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11:28:36   1   video.

11:28:36   2                THE COURT:    And we have gone through those,

11:28:38   3   there may be one or two, I don't think we have them out here

11:28:41   4   right now.   We may send you an e-mail message during lunch

11:28:45   5   there was one thing of which I wanted to see more documents.

11:28:49   6   Perhaps I'll look at it one more time, otherwise we'll be

11:28:53   7   able to get to that on schedule.

11:28:55   8                All right.    I think we're good.      Bring the jury

11:28:57   9   in.   And we'll see how far we can get today.

11:29:55 10                 (Jury entering the courtroom at 11:25 a.m.)

11:29:55 11                 THE COURT:    Everyone can be seated, and I'll now

11:29:58 12    go to the defense.    Does the defense wish to present any

11:30:02 13    evidence in this case?

11:30:03 14                 MR. LEMIEUX:    Yes, we do, Your Honor.

11:30:04 15                 THE COURT:    You may call your first witness.

11:30:06 16                 MR. LEMIEUX:    Our first witness, Your Honor,

11:30:08 17    will be Mary Winters.

11:30:12 18                 COURT CLERK:    Please raise your right hand.

11:30:17 19    Please state and spell your full name for the record.

11:30:21 20                 THE WITNESS:    Mary Winters.     M-A-R-Y,

11:30:25 21    W-I-N-T-E-R-S.

11:30:28 22                 MARY WINTERS, having been duly sworn, was

11:30:33 23    examined and testified as follows:

11:30:40 24                 MR. LEMIEUX:    Your Honor, can I have permission

11:30:42 25    for Mr. Elkins to approach the witness and remove all the
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11:30:45   1   materials from the last examination?

11:30:46   2                  THE COURT:   Certainly.

11:30:57   3                       DIRECT EXAMINATION

11:30:58   4   BY MR. LEMIEUX:

11:31:07   5   Q.     Good morning.      Excuse my voice, a little bit of a

11:31:10   6   cold over the weekend, so I'm going to apologize upfront.

11:31:14   7                  Ms. Winters, can you please state your name for

11:31:16   8   the record?

11:31:16   9   A.     Yes, Mary Winters.

11:31:17 10    Q.     Who do you currently work for?

11:31:19 11    A.     Akoustis Technologies.

11:31:20 12    Q.     What is your position with Akoustis?

11:31:22 13    A.     I am the Executive Vice-President for Fab and

11:31:30 14    Corporate.

11:31:30 15    Q.     Just so the jury can get a little sense of who you

11:31:33 16    are, what is your educational background after high school?

11:31:35 17    A.     Sure.    I went to the University of Rochester where I

11:31:38 18    received a Bachelor of Science in Mechanical Engineering and

11:31:41 19    then I received a Masters of Engineering specializing in

11:31:46 20    MEMS, which is a Microelectrical Mechanical Systems.

11:31:49 21    Q.     Could you briefly describe for the jury your

11:31:52 22    employment history?

11:31:52 23    A.     Sure.    From right after high school?

11:31:55 24    Q.     From after you can start, yes.        Actually it's

11:31:58 25    relevant, start after high school.
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11:32:00   1   A.        Sure.    So during college, I had to help support being

11:32:04   2   able to get my degree, so I had a number of different

11:32:07   3   positions, but the most relevant to what I'm doing now is

11:32:11   4   probably during my sophomore year in college I was able to

11:32:16   5   work with a researcher mathematical center where I was first

11:32:22   6   exposed to MEMS technology.       We were working on microfluidic

11:32:28   7   devices to look at drug delivery systems.        They were doing

11:32:31   8   research on hamsters, and this allowed you to do it in a

11:32:35   9   mechanical form.

11:32:36 10                      From there, I had the opportunity -- I was

11:32:38 11    selected to be a part of the research, I remember it was

11:32:43 12    called REU, but it was part of Cornell University, so at the

11:32:47 13    University of Rochester we didn't have fabrication

11:32:50 14    facilities, so I would go from Rochester to Ithica to do

11:32:54 15    fabrication.       It's an hour-and-a-half drive.    I spent an

11:32:57 16    entire summer at Cornell where I learned about all the

11:33:00 17    fabrication processes, and that really got me excited about

11:33:05 18    microelectronic systems and being able to use it more in the

11:33:09 19    field.

11:33:09 20                      From that, with my background when I was a

11:33:12 21    junior in college, I had the opportunity to intern at Xerox.

11:33:15 22    I worked thirty plus hours a week in addition to getting my

11:33:21 23    degree.    There I was focusing on HF devices.

11:33:26 24    Q.        Have you always wanted to be an engineer,

11:33:29 25    Ms. Winters?
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11:33:29   1   A.     I did not, I actually wanted to be a doctor, but I

11:33:32   2   quickly learned blood was not for me, but I really wanted to

11:33:36   3   stay in kind of the viral type, so that was with the MEMS

11:33:41   4   technology I was able to do that.

11:33:43   5   Q.     What are your duties and responsibilities as the

11:33:46   6   Executive Vice President in charge of the Fab and Corporate

11:33:49   7   Operations for Akoustis?

11:33:49   8   A.     Sure.   There are split responsibilities.      So for the

11:33:52   9   New York Fab, I'm completely responsible for the entire

11:33:56 10    manufacturing facility from start to finish.       That's where

11:33:59 11    the wafers are fabricated.    With corporate operations, I

11:34:04 12    took on additionally the product quality role back-end

11:34:08 13    operations, that's done by a third party overseas, and then

11:34:12 14    also logistics.

11:34:14 15    Q.     Is any part of your duties and responsibilities

11:34:17 16    pertain to the R & D process at Akoustis?

11:34:19 17    A.     It does.   I mean, everything we do with research and

11:34:23 18    development, so when you think of new processes, that's

11:34:27 19    where the research and development comes from.       So for the

11:34:31 20    wafer fabrication for our process, there is probably 200

11:34:35 21    plus different steps.    I know I have been able to sit

11:34:38 22    through the last week, and there is a lot of different steps

11:34:41 23    that were mentioned.    But that's probably only maybe five

11:34:45 24    percent of what's done.    So each of those steps require

11:34:49 25    process development.
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11:34:51   1   Q.       How many employees are you responsible for at

11:34:54   2   Akoustis?

11:34:54   3   A.       Right now it's about sixty.    At a time it was over

11:34:59   4   100 employees.

11:34:59   5   Q.       Are those primarily employees at the Fab facility in

11:35:05   6   New York?

11:35:05   7   A.       It is, the majority of the employees that report to

11:35:07   8   me are the New York facility.

11:35:09   9   Q.       Since Akoustis acquired the Fab in 2017, how many of

11:35:13 10    the Fab employees have ever been previously employed by

11:35:16 11    Qorvo?

11:35:17 12    A.       In the New York site?

11:35:18 13    Q.       In the New York facility.

11:35:20 14    A.       We only had one employee.

11:35:22 15    Q.       Who was that?

11:35:22 16    A.       J.B. Kwon.

11:35:24 17    Q.       Now, in your position as the EVP, are you familiar

11:35:28 18    with the design and manufacturing cycles for the products

11:35:31 19    made by Akoustis?

11:35:32 20    A.       Yes, I am.

11:35:33 21    Q.       Could you describe that process briefly for them, for

11:35:36 22    the jury?

11:35:37 23    A.       Sure.   It's a process.   I think we've heard it a

11:35:41 24    little bit here, if you have a new idea, a new concept,

11:35:44 25    you'll go through what is referred to as the gate phasing
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11:35:48   1   processes.   It's a similar process I studied as an engineer

11:35:52   2   while at Cornell.    There are similar things that you'll go

11:35:56   3   through.

11:35:57   4   Q.     We heard reference to this Fab facility in New York.

11:36:00   5   Where exactly in New York is it located?

11:36:02   6   A.     It's in Canandaigua, New York, if you're familiar

11:36:05   7   with the Finger Lakes, it's probably a half-hour outside of

11:36:10   8   Rochester, New York.

11:36:11   9   Q.     Now, what have your duties and responsibilities been

11:36:14 10    for the Fab since its acquisition by Akoustis?

11:36:16 11    A.     So it's changed over time.      So if it's okay, I will

11:36:20 12    go through kind of the history of how I first got introduced

11:36:24 13    at Akoustis.

11:36:24 14    Q.     Sure, that's fine.

11:36:25 15    A.     It may explain how my duties changed.        So late in

11:36:29 16    2016, Akoustis came to what the previous company was STC

11:36:34 17    MEMS, we were a MEMS foundry.      They were looking for another

11:36:37 18    foundry to be able to produce their raw filters, so they

11:36:41 19    came to us to look at it.     At the time, I would have been

11:36:44 20    the person to look at their process to determine whether or

11:36:48 21    not we could produce it.     Did we have the processes to do

11:36:51 22    it, did we have the equipment to do it.       So that was

11:36:54 23    assessed and we did based on what they were asking us to do.

11:36:57 24                   So I spent time, I am the lead person looking at

11:37:02 25    their whole transferring it from their current foundry to
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11:37:05   1   us, looking at the process development of the individual

11:37:08   2   modules.    That would continue through as we transferred

11:37:12   3   their -- we use it a lot, their cavity flow is what it was

11:37:17   4   called.    We transferred that.     We were able to get that to

11:37:20   5   work.    It was low yielding.    So we ended up developing a

11:37:23   6   process that you probably heard here, either XBAW or XB1

11:37:29   7   that's a process that I helped develop.

11:37:31   8   Q.        So how long have you been in charge of the New York

11:37:34   9   Fab facility, Ms. Winters?

11:37:36 10    A.        Including my time before Akoustis, probably over ten

11:37:40 11    years.

11:37:41 12    Q.        Can you give us a brief history of the New York Fab

11:37:44 13    facility, how it started and got to the point where it is

11:37:48 14    now?

11:37:48 15    A.        Sure, it's quite, I'm not going to say an old

11:37:53 16    history, but it feels that way, they come and visit the

11:37:56 17    facility, they always ask me how long have you been there.

11:38:00 18    And I kind of go back to how old my oldest son is, and he's

11:38:04 19    going to be twenty-one in July.       So I actually came to be

11:38:07 20    part of that facility after my maternity leave with him,

11:38:11 21    it's very easy for me to remember that way.

11:38:13 22                   So what occurred back in around 2001, there was

11:38:19 23    an idea for a center of excellence.       In 2003, what occurred

11:38:23 24    was there was a center of excellence formed between public

11:38:27 25    and private, so it was between New York State, the Federal
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11:38:31   1   Government, and then there were three member companies which

11:38:35   2   were Kodak, Xerox and Clinette, I was actually an in-kind

11:38:38   3   employee for Kodak to be able to bring up their process.

11:38:42   4               The thought behind this was to be able to help

11:38:44   5   with research and development, but also to help companies be

11:38:47   6   able to take an idea or a prototype and commercialize it.

11:38:51   7   Fabs are very expensive to run, and this was an opportunity

11:38:54   8   to do cost sharing at the time.

11:38:56   9               Depending on whether macros, Kodak when I

11:39:02 10    started, the size was 60,000 employees, now it's like 1,200

11:39:05 11    unfortunately, but it really -- so the three companies's

11:39:09 12    markets kind of changed, and then what occurred was

11:39:12 13    Infotronics became a MEMS foundry, and then in around, I

11:39:17 14    would say 2010, we merged with a larger center of excellence

11:39:21 15    which was out of Albany, which was called NTNS, National

11:39:30 16    Science and Technology, we merged with them and that's where

11:39:32 17    STC MEMS came from.

11:39:34 18    Q.     At the time that Akoustis acquired the fab

11:39:38 19    facilities, it was part of the Suny system, so University of

11:39:42 20    New York?

11:39:42 21    A.     Correct.   Yes.

11:39:43 22    Q.     And at that time, was the facility operating as a

11:39:48 23    MEMS foundry?

11:39:48 24    A.     It was.

11:39:49 25    Q.     Could you explain to the jury what it means to be a
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11:39:51   1   MEMS foundry?

11:39:52   2   A.      Sure.    So when you look at, I think, in one of the

11:39:57   3   testimonies I saw, they show kind of a stack, it's kind of a

11:40:00   4   build up of the flows, so at a MEMS foundry, what we were

11:40:04   5   doing, we were working with very small start up companies

11:40:07   6   with maybe a couple of employees to very large multi-billion

11:40:11   7   dollar companies.     And with that, they each had different

11:40:14   8   MEMS devices that they were looking for us to produce.        So

11:40:17   9   they would bring, I like to call it, car pooling

11:40:21 10    engineering, so I think you guys probably saw those

11:40:23 11    cross-sections showing those kind of cartoons.       We would

11:40:27 12    then have specifications and we would work closely with them

11:40:30 13    to be able to build it.

11:40:32 14                    So when you look at some of the devices we were

11:40:34 15    manufacturing there kind of day-to-day, some of the key ones

11:40:38 16    that I worked on personally that were built in the MEMS

11:40:41 17    foundry are like accelerometers, you'll find those in your

11:40:44 18    air bags, have accelerometers, if your kids or yourself are

11:40:50 19    really into computer games, your controllers have them,

11:40:52 20    also.

11:40:52 21                    We spent a lot of time and years working on

11:40:57 22    basically the display for smart watches, that was probably

11:41:01 23    one of the coolest ones to look at because as you built it

11:41:04 24    up, you would start to see the image.      So we worked on

11:41:08 25    pilomotors, which are thermal imaging devices that you would
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11:41:13   1   find in thermal guns, if you're looking for a cold or hot

11:41:16   2   spot in your wall.     Inject devices coming out of Kodak and

11:41:21   3   Xerox, that was big one just to name a few.

11:41:24   4   Q.      So what was your -- when you first started working at

11:41:27   5   the New York Fab, what was your position at that time?

11:41:30   6   A.      So when I first started working there as I mentioned,

11:41:33   7   I was an in-kind employee for Kodak, so I was a process

11:41:37   8   engineer for them.

11:41:38   9                 I helped at that time, the facility that we're

11:41:42 10    at is probably 120,000 square feet facility, what they did

11:41:47 11    is, they actually gutted out an old clean room, and really

11:41:51 12    what we were responsible for was speccing out the process

11:41:55 13    flow, the equipment that was needed, so the first couple of

11:41:58 14    years was really building out the clean room and the fab.

11:42:01 15                  We were working with equipment vendors, so most

11:42:04 16    of the equipment is, you can go have a third party produce

11:42:08 17    it for you.    So I was working at that time in the dry area,

11:42:13 18    so I was speccing out individual pieces of equipment for

11:42:16 19    them, we were bringing it in, we were installing it, we were

11:42:20 20    doing the process development, so typically the vendors will

11:42:23 21    have a standard recipe that's supported with the tool.          So

11:42:27 22    they go through, they bring up this equipment, they qualify

11:42:30 23    it, and then we'll do individual process development on

11:42:33 24    that.   Sometimes actually the vendors replicate, works

11:42:38 25    better than what I can develop.
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11:42:40   1   Q.     So when you started working at the Fab, over time did

11:42:44   2   it develop what's often times called a library of process

11:42:48   3   flows and steps and procedures for the operation of the

11:42:51   4   equipment and materials that were contained at the Fab?

11:42:53   5   A.     It did.     So when we -- we talked about the member

11:42:57   6   companies, each of those companies came over with certain

11:43:00   7   recipes, with certain process flows, but over, we mentioned

11:43:05   8   it started in 2003, we were acquired in 2017, so we have

11:43:09   9   fourteen years of experience with multiple customers, so at

11:43:14 10    any one time there could be forty different process flows

11:43:18 11    running, whether short loops or cold flows, so we had

11:43:22 12    thousands of recipes before we were acquired.

11:43:27 13                  MR. LEMIEUX:    Permission to approach the

11:43:28 14    witness, Your Honor?

11:43:29 15                  THE COURT:    You may.

11:43:45 16    BY MR. LEMIEUX:

11:43:48 17    Q.     Your Honor, I have handed the witness what's been

11:43:51 18    marked for identification as DTX-0579.        Ms. Winters, can you

11:43:59 19    please take a look at that and let me know if you know what

11:44:02 20    that document is and whether you're familiar with it?

11:44:04 21    A.     Yes.    This is one of the procedures from when we were

11:44:11 22    FTCM, it's our design and development procedure, you go to

11:44:14 23    page 2, it really talks about the different, you know, gates

11:44:19 24    or phases.

11:44:20 25    Q.     Before you get too far, is this a document, we have
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11:44:23   1   to have certain procedures we need to follow for the Court.

11:44:26   2   Is this a document that's maintained in the normal course

11:44:29   3   and scope of the organizations of the New York Fab?

11:44:30   4   A.     Yes, it is.

11:44:31   5                  MR. LEMIEUX:   Your Honor, at this time, I would

11:44:33   6   like to move into evidence exhibit DTX-0579.

11:44:36   7                  THE COURT:   Marked and received as 282.

11:44:41   8                  (Trial Exhibit No. 282 was admitted into

11:44:42   9   evidence.)

11:44:42 10    BY MR. LEMIEUX:

11:44:45 11    Q.     All right.    Now you can go ahead and explain what

11:44:47 12    this document is.

11:44:48 13    A.     Sorry.

11:44:48 14    Q.     So the jury can actually see it.

11:44:50 15    A.     Okay.    So what you're seeing here, is a procedure

11:44:56 16    from when we were STC MEMS.     So that's the long name.      I

11:45:01 17    don't usually -- it's been a long time since I have seen the

11:45:05 18    full name.   But this was part of when we were doing design

11:45:09 19    development, whether it was internally, or for different

11:45:12 20    customers, this is a requirement actually that we were going

11:45:16 21    through ISO certification, something we had before we were

11:45:21 22    acquired by Akoustis.

11:45:23 23    Q.     If we could turn to page 2 of this exhibit.        What is

11:45:26 24    describe there, Ms. Winters?

11:45:27 25    A.     Yeah, on page 2, it's really just describing
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                                        Winters - direct

11:45:31   1   different design cycles, different phases, so I think the

11:45:37   2   phase gate has been brought up a couple of times.        This is

11:45:40   3   another example of it.     Really kind of a checklist and then

11:45:44   4   you have your nice flow chart document.

11:45:47   5   Q.     Okay.     And could you explain for the jury what's

11:45:49   6   contained on the following pages, 3, 4, 5 of this document?

11:45:53   7   A.     Sure.     In the next page, if you go to page 3, really

11:46:01   8   it is, if my memory serves me right, it's going and just

11:46:06   9   giving details if you were to go back to the flow chart,

11:46:09 10    it's telling you, giving you more description of what each

11:46:12 11    of those mean.    And then it will also reference if there are

11:46:15 12    different forms, if you -- hold on.      On three -- if you zoom

11:46:19 13    back up.    It will reference forms that are used.      So it

11:46:22 14    gives -- those that are using these documents, really it's

11:46:26 15    kind of your initial recipe of what to do, and then there is

11:46:30 16    forms associated with each of these.

11:46:32 17    Q.     And this was a document that was in use even prior to

11:46:35 18    the acquisition of the Fab by Akoustis?

11:46:38 19    A.     That's correct, yes.

11:46:38 20    Q.     And does this document continue to be part of the

11:46:41 21    library of process controls and other types of documentation

11:46:45 22    that's maintained by the Fab?

11:46:46 23    A.     It is.

11:46:58 24                   MR. LEMIEUX:   If I can have permission to

11:47:00 25    approach the witness, Your Honor?
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                                       #: 41431                              1783
                                        Winters - direct

11:47:02   1                  THE COURT:   You may.

11:47:13   2   BY MR. LEMIEUX:

11:47:23   3   Q.     Ms. Winters, if you could please take a moment to

11:47:26   4   look at what's been marked for identification as DTX-0573.

11:47:32   5   And have you seen this document before?

11:47:34   6   A.     Yes, I have.

11:47:35   7   Q.     And is this also a document that is maintained in the

11:47:38   8   normal course and scope of business at the New York Fab?

11:47:40   9   A.     Yes, it is.

11:47:41 10                   MR. LEMIEUX:   Your Honor, I would like to move

11:47:45 11    DTX-0573 into evidence.

11:47:47 12                   THE COURT:   Marked and received as 287.

11:47:52 13                   (Trial Exhibit No. 287 was admitted into

11:47:53 14    evidence.)

11:47:53 15    BY MR. LEMIEUX:

11:47:54 16    Q.     Ms. Winters, can you please describe what that

11:47:56 17    document is?

11:47:57 18    A.     This is one of the forms I mentioned from the

11:48:00 19    previous SOP, or Standard Operating Procedure.        So this

11:48:04 20    would be a form that's used in conjunction with that other

11:48:08 21    --

11:48:08 22    Q.     With the prior document we were just looking at?

11:48:10 23    A.     Correct.    Yes.

11:48:10 24    Q.     Now, I notice that these types of documents says they

11:48:15 25    are maintained by the Fab facility, seem to be shorter than
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11:48:20   1   some of the examples we've seen throughout the course of

11:48:22   2   this case that were identified as coming from Qorvo.          Do

11:48:29   3   these documents allow you to actually substantively do

11:48:32   4   anything at the Fab?

11:48:33   5   A.     Can you repeat that question?

11:48:35   6   Q.     Sure.    Do these documents as we've seen, do they

11:48:38   7   allow the actual substantive work to proceed at the Fab?

11:48:42   8   A.     Yes.

11:48:42   9   Q.     Why are these so much shorter than what we have seen

11:48:46 10    at Qorvo?

11:48:47 11    A.     We've learned over time you have to be very concise

11:48:51 12    especially from the Fab standpoint, people don't read very

11:48:54 13    long documents.     I think the one I saw was

11:48:56 14    forty-eight pages, or forty plus pages.

11:48:58 15    Q.     So these documents reflect then, the essential

11:49:01 16    information necessary for a particular process or procedure?

11:49:05 17    A.     Correct, yes.

11:49:08 18    Q.     And is this document currently something that's still

11:49:14 19    maintained in the library of process controls at the Fab?

11:49:18 20    A.     Yes.

11:49:18 21    Q.     Is this document still used?

11:49:19 22    A.     It is.

11:49:30 23                   MR. LEMIEUX:   If I could have permission, Your

11:49:32 24    Honor, to approach the witness?

11:49:34 25                   THE COURT:   You may.
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11:49:50   1                 MR. LEMIEUX:    I have handed the witness, Your

11:49:55   2   Honor, what's been identified for purposes of just

11:49:57   3   identification, DTX-0574.

11:50:01   4   BY MR. LEMIEUX:

11:50:02   5   Q.     Ms. Winters, have you seen this document before?

11:50:04   6   A.     I have.

11:50:04   7   Q.     And is this a document that's maintained in the

11:50:07   8   normal course and scope of business at the New York Fab?

11:50:09   9   A.     It is.

11:50:10 10                  MR. LEMIEUX:    Your Honor, I would like to move

11:50:12 11    into evidence exhibit DTX-0574.

11:50:16 12                  THE COURT:    Marked and received as 288.

11:50:19 13                  (Trial Exhibit No. 288 was admitted into

11:50:22 14    evidence.)

11:50:22 15    BY MR. LEMIEUX:

11:50:22 16    Q.     Ms. Winters, could you please explain for the jury

11:50:25 17    what this document is?

11:50:26 18    A.     Yes.    It's a procedure, if there is a control or

11:50:32 19    design change, being whether you're a Fab or manufacturing

11:50:36 20    facility, you can't just go and change something, there are

11:50:40 21    procedures associated with it.       You may hear the word to

11:50:43 22    like PCR, process change record or procedure.

11:50:47 23    Q.     And does page 2 of this document describe basically

11:50:51 24    the process flow for the use of this document?

11:50:55 25    A.     It does.
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11:50:56   1   Q.     And if you look at page 3 of this document, does it

11:50:59   2   make reference, then, to other records that are also created

11:51:03   3   in conjunction with this document?

11:51:06   4   A.     It does.     Again, the box number will reference you

11:51:11   5   back to the flow chart, and I see this is moving up, forms,

11:51:15   6   also that would be associated with it.

11:51:18   7   Q.     And was this document or this procedure in place

11:51:21   8   prior to the acquisition of the Fab by Akoustis?

11:51:24   9   A.     It was.     It was part of the STC MEMS document, it was

11:51:31 10    part of ISO, as you see in the revision history, this one

11:51:35 11    goes back to 2012.

11:51:37 12    Q.     Is this a document that continues to exist in the

11:51:39 13    library of process controls at the Fab today?

11:51:41 14    A.     It does, all of our historical STC MEMS still exist.

11:51:45 15    Q.     Is this type of document still used at the Fab today?

11:51:48 16    A.     Yes, this type of document is still used.

11:52:00 17    Q.     Now, at some point during your tenure with STC

11:52:04 18    Infotonics, Infotonics is the name of the company that took

11:52:08 19    over operation of the Fab, is that right?

11:52:09 20    A.     It went Infotonics, and then STC MEMS.

11:52:13 21    Q.     That's just the name of the company that's operating

11:52:15 22    the Fab or responsible for operating it?

11:52:17 23    A.     Yes.

11:52:18 24    Q.     And at some point in time, I think you have already

11:52:22 25    mentioned, that operation of the Fab they know was
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11:52:24   1   transferred to Suny Albany, is that right?

11:52:28   2   A.     Yes, we merged with Suny Albany, I think around 2010.

11:52:34   3   Q.     And what were your duties and responsibilities at the

11:52:37   4   Fab during the time it was operated by Suny Albany?

11:52:40   5   A.     So I have two primary responsibilities, one was

11:52:47   6   managing their operations, the other one was in business

11:52:50   7   development.   Really I was the interface to customers as I

11:52:53   8   mentioned before, looking at new processes, coming in,

11:52:56   9   really kind of being their point of contact, their kind of

11:53:00 10    program manager, if you want to think about it in that way

11:53:03 11    because of the technical experience that I had.

11:53:05 12    Q.     At some point in time during the operation of the Fab

11:53:09 13    by Suny New York, did your responsibilities change?

11:53:11 14    A.     When it was Suny?

11:53:14 15    Q.     Were you promoted, or did your overall

11:53:17 16    responsibilities change at all during that time?

11:53:18 17    A.     They didn't, it was what I had mentioned before.

11:53:21 18    Well, from when it started, I went from a process engineer

11:53:25 19    to Director of Ops and Director of Business Development over

11:53:29 20    that tenure.

11:53:30 21    Q.     At some point in time did you become the big boss at

11:53:34 22    the Fab in terms of you're responsible for its entire

11:53:37 23    operation?

11:53:37 24    A.     Yeah, in terms of operations, that's correct.

11:53:42 25    Q.     Now, in your current position as being responsible
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11:53:45   1   for the Fab's operations, are you the one, then, responsible

11:53:49   2   for deciding what goes into its library of process controls

11:53:54   3   and documentation?

11:53:55   4   A.     Yes, I am.

11:53:56   5   Q.     Now, if we want to look at what's currently going on

11:54:04   6   at the Fab since its acquisition by Akoustis, how would you

11:54:09   7   describe the current operations of the Fab facility?

11:54:12   8   A.     In terms of --

11:54:13   9   Q.     Types of products you're making, or what you're

11:54:16 10    working on, et cetera?

11:54:17 11    A.     Sure, in terms of types of products that we're

11:54:20 12    making, we're really focused on the BAW filter.

11:54:27 13    Q.     And initially prior to its acquisition by Akoustis, I

11:54:30 14    believe you said that the Fab operated as a foundry Fab?

11:54:34 15    A.     Correct.

11:54:35 16    Q.     Where the company made various MEMS devices.       Is any

11:54:41 17    of that type of operation currently happening at the Fab?

11:54:44 18    A.     We are starting it back up.     When we were acquired,

11:54:48 19    we still worked on some of our MEMS foundry customers, so we

11:54:52 20    were still running different types of MEMS products, but

11:54:55 21    there was a time when the decision was made to focus

11:54:58 22    completely on the BAW devices, so we are starting to bring

11:55:02 23    in other customers recently, that we could do MEMS foundry

11:55:06 24    work for.

11:55:06 25    Q.     Now, we've heard reference to this library of process
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11:55:10   1   controls, et cetera.     How is that type of document or

11:55:14   2   documents used at the Fab itself?

11:55:16   3   A.        So, I mean, the documents that are used, if we think

11:55:20   4   about how we came up with XBAW, we use the individual kind

11:55:26   5   of recipes.    So if you want to think about, I think somebody

11:55:29   6   mentioned, I remember that rainbow cake.        I'm going to talk

11:55:33   7   about cooking or baking a little bit.        But if you think

11:55:36   8   about it, we may be wanting to make two different types of

11:55:41   9   desserts.    Right?   So if somebody comes to you and they want

11:55:43 10    to make a chocolate cake, or an apple pie, or chocolate chip

11:55:49 11    cookies, right, there is a lot of equipment or tools that

11:55:52 12    you use the same thing to make those, but they don't all

11:55:56 13    have the same ingredients.      So if you think about it that

11:55:59 14    way, that I may not be able to make chocolate chips because

11:56:03 15    I don't have the chocolate chips right now.        I can make

11:56:06 16    everything else, but I don't have that one ingredient, if

11:56:09 17    you think about it that way.

11:56:11 18                   When we look at it from a MEMS perspective, it's

11:56:14 19    the same thing, we're creating a recipe, so we give our

11:56:18 20    operators working on the floor without that, if I just gave

11:56:22 21    them a PowerPoint slide, they can't build anything.

11:56:26 22    Actually, we have over 200 steps and there is detail on

11:56:30 23    every single one of them just like if you were going to make

11:56:33 24    a cake.    So if you forgot to put an ingredient in, it's not

11:56:37 25    going to work.     An ingredient to make chocolate chip cookies
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11:56:42   1   and to make an apple pie are different, but there are some

11:56:45   2   tools that I can use that are the same.

11:56:47   3   Q.     And so is it fair to say, then, that making different

11:56:51   4   MEMS devices would be like preparing different items of

11:56:55   5   food, they may use the same tools, many of the same tools,

11:56:58   6   but not necessarily all of them, is that right?

11:57:00   7   A.     That's correct.

11:57:01   8   Q.     And that the ingredients that are used or the recipes

11:57:04   9   used to actually make those devices would be different; is

11:57:07 10    that right?

11:57:07 11    A.     That's correct.

11:57:08 12    Q.     Now, you said that at the time the Fab was acquired

11:57:15 13    by Akoustis, it primarily focused on the filter products; is

11:57:22 14    that right?

11:57:22 15    A.     What, sorry, repeat that?

11:57:23 16    Q.     At the time that Akoustis acquired the Fab facility,

11:57:27 17    I believe you mentioned earlier that the work of the Fab

11:57:30 18    then tended to focus on the manufacture of Akoustis's filter

11:57:36 19    products, is that correct?

11:57:37 20    A.     Actually, at the time we were acquired, we were still

11:57:39 21    working on other MEMS products in addition to Akoustis.

11:57:43 22    Q.     And did that change at some point in time to focusing

11:57:46 23    primarily on the BAW products?

11:57:48 24    A.     It did, yes.

11:57:50 25    Q.     Okay.    Now, we've heard several people describe this,
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11:57:54   1   but briefly just from your perspective, what is a BAW

11:58:00   2   filter?

11:58:00   3   A.        So in terms of from Akoustis, how we manufacture it?

11:58:03   4   Q.        Just explain what the product is?

11:58:05   5   A.        Sure.    So bulk acoustic wafer filters, so it's

11:58:11   6   something you would find, I think you guys heard a number of

11:58:14   7   times now in your cell phones and in your Wi-Fi routers.

11:58:17   8   Q.        Are there different types of BAW filters?

11:58:19   9   A.        There are.

11:58:20 10    Q.        And what type of BAW filter is manufactured by

11:58:23 11    Akoustis?

11:58:24 12    A.        We do an FBAR.

11:58:26 13    Q.        And are you familiar with the term SMR BAW filter?

11:58:31 14    A.        I am.

11:58:31 15    Q.        What's the difference between an SMR BAW filter and

11:58:36 16    an FBAR BAW filter?

11:58:38 17    A.        The difference is, in my world, in terms of

11:58:41 18    foundation, we have this reflector that's the individual

11:58:45 19    layers that you guys have seen versus an air cavity.

11:58:49 20    Q.        Is the recipe then for making an FBAR BAW filter the

11:58:54 21    same for making an SMR BAW filter?

11:58:57 22    A.        Yes.

11:58:58 23    Q.        The recipe would be the same for making both of them?

11:59:00 24    A.        No, they are not the same, I'm sorry, no, they are

11:59:03 25    not.
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11:59:03   1   Q.     How are they different?

11:59:04   2   A.     So if you kind of -- if you had a cross-section, but

11:59:10   3   they're different in that you need different tools for them,

11:59:13   4   especially in being able to make that Bragg reflector.        So

11:59:17   5   for example, in our current facility we do not have the

11:59:21   6   capability to make those versus we do have the capability to

11:59:25   7   make the air cavity type of filter.

11:59:27   8   Q.     What additional material would you need if you were

11:59:29   9   going to make SMR type BAW filters?

11:59:32 10    A.     Yeah, so looking at it, I actually had the

11:59:35 11    opportunity I think as one of the patents came up where it

11:59:39 12    had alternating, I think it was tungsten oxide, we would

11:59:42 13    have to bring in the equipment, the fabrication equipment

11:59:45 14    for those in addition to the methodology that would be

11:59:50 15    required.

11:59:50 16    Q.     Has the New York Fab ever mentioned SMR BAW filters?

11:59:55 17    A.     We have not.

11:59:57 18    Q.     Now, when Akoustis first took over the Fab and they

12:00:01 19    asked you to start the manufacture of their FBAR filters,

12:00:07 20    were there any problems with the initial manufacture of

12:00:10 21    those devices?

12:00:11 22    A.     Yes, there were.

12:00:12 23    Q.     What problems were those?

12:00:13 24    A.     This was the first time we were doing FBAR filters,

12:00:17 25    so I think I mentioned when a new customer comes to us, we
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12:00:21   1   actually do a process assembly.      So we'll go through

12:00:24   2   everything, we'll look at the steps that are being provided

12:00:27   3   to us, a lot of times, that simple cartoon that you were

12:00:30   4   shown, we'll go through that, we'll look at it and see do we

12:00:34   5   have the equipment, do we already have processes that we can

12:00:37   6   use.

12:00:37   7                One of the nice things with being a MEMS foundry

12:00:41   8   and the way that the center of excellence was run is that

12:00:44   9   you could use individual processes or modules across

12:00:48 10    multiple customers, and that was an agreement across all

12:00:52 11    customers.   So it allowed you to do the process development

12:00:54 12    extremely quick.

12:00:56 13                 With the process that was brought to us, what

12:01:00 14    they wanted to do, which we were very familiar with this in

12:01:04 15    terms of MEMS, is you would almost cut it's like a square

12:01:09 16    like this, I think you have seen it in some of the drawings.

12:01:12 17    The difference is in MEMS fabrication, it's all done in

12:01:17 18    silicone, so those recipes are well-known.

12:01:20 19                 The difference what Akoustis was bringing us was

12:01:22 20    that they used a material called silicone carbide, and

12:01:26 21    that's unique.    We had to actually develop an etch process

12:01:30 22    for that and also a phototherapy process, so there are new

12:01:36 23    processes that we had the equipment for it, but we didn't

12:01:38 24    have the recipes to make it.     That was very unique to

12:01:42 25    Akoustis.
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                                         Winters - direct

12:01:42   1   Q.        So when Akoustis first came and acquired the Fab

12:01:46   2   facility, did the Fab initially try to manufacture the FBAR

12:01:53   3   filters in the way that they had been manufactured by

12:01:56   4   Akoustis's prior foundry?

12:01:57   5   A.        We did, we transferred their cavity flow process from

12:02:01   6   a company called GCS.

12:02:04   7   Q.        Did that particular process have any problems or

12:02:07   8   issues?

12:02:07   9   A.        It did, it was very low yielding.     We had -- at this

12:02:12 10    time we actually brought most of the senior people back into

12:02:16 11    the Fab including even myself.       We were using technicians

12:02:20 12    and stuff that had thirty-plus years of experience.         It was

12:02:24 13    a very manual process where it wouldn't be able to be

12:02:28 14    produced in high volume.      We used to call at this time donut

12:02:31 15    process, because if you look at the wafer, the wafers were

12:02:34 16    transparent, so you could see through it, if you kind of

12:02:37 17    looked up, it was interesting, you would see good parts in

12:02:41 18    the center and in another ring, it was just not -- you would

12:02:45 19    not be able to mass produce it.

12:02:47 20    Q.        Did Akoustis take steps to address that yield

12:02:52 21    problem?

12:02:52 22    A.        We did, working with Daeho Kim from the device side

12:02:57 23    and our experience on the MEMS side, we worked together to

12:03:00 24    develop the MEMS process technology called XBAW or XB1,

12:03:07 25    you'll hear it both ways.
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12:03:08   1   Q.     Is the XBAW process different from the cavity process

12:03:12   2   that was used at their prior foundry?

12:03:14   3   A.     Yes, it's very different.

12:03:16   4   Q.     Is the XBAW process something that's used by Akoustis

12:03:20   5   just to make it FBAR BAW filters?

12:03:22   6   A.     Yes.

12:03:23   7   Q.     And do you believe the XBAW process is unique to

12:03:26   8   Akoustis?

12:03:26   9   A.     It is, we actually have a patent on it.

12:03:29 10    Q.     Now, are you one of the inventors for the XBAW

12:03:32 11    process?

12:03:33 12    A.     Yes, I am.

12:03:34 13    Q.     Now, I believe you told me this earlier, but I just

12:03:38 14    want to confirm.     Akoustis does not make any SMR BAW

12:03:42 15    filters, correct?

12:03:42 16    A.     No, they do not.

12:03:43 17    Q.     To your knowledge, has Akoustis ever made SMR BAW

12:03:48 18    filters?

12:03:52 19    A.     Not to my knowledge.

12:03:54 20    Q.     Are you familiar, Ms. Winters, with the resonators

12:03:57 21    that are manufactured and used by Akoustis in the

12:03:59 22    fabrication of its BAW filters?

12:04:01 23    A.     I am.

12:04:02 24    Q.     What is a resonator?

12:04:03 25    A.     It's really the building block for the filter device.
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12:04:06   1   Q.     Are you familiar with the shape of the resonators

12:04:09   2   that are used?

12:04:10   3   A.     I am.

12:04:10   4   Q.     Used by Akoustis?

12:04:13   5   A.     Yes.

12:04:13   6   Q.     What shape is that?

12:04:14   7   A.     I would say elliptical or oval, I think you have seen

12:04:17   8   some of the pictures of our filters.

12:04:20   9   Q.     Now, earlier in Qorvo's presentation of their case,

12:04:24 10    we heard of a process called trimming, and they displayed a

12:04:28 11    document that they described as describing Qorvo's trimming

12:04:32 12    process.    Do you recall that testimony?

12:04:33 13    A.     I do, yes.

12:04:34 14    Q.     And is trimming used in the manufacture of Akoustis's

12:04:46 15    FBAR products?

12:04:46 16    A.     It is.

12:04:47 17    Q.     And does Akoustis use the trimming process that was

12:04:51 18    described in that Qorvo document?

12:04:53 19    A.     Not to my knowledge.

12:04:55 20    Q.     Could you, could Akoustis use that trimming procedure

12:04:59 21    as described in that document?

12:05:01 22    A.     No, based on the kind of, that first PowerPoint

12:05:05 23    slide, if you kind of like I mentioned, typically if I get

12:05:09 24    that one slide from any company, as you go through it, you

12:05:14 25    would kind of -- you would almost stop at Step 2 or 3
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12:05:18   1   because the way that we build our process, we talked about

12:05:21   2   that we have a cavity.

12:05:24   3                   We use a sacrificial layer, if you think about

12:05:29   4   it, I'm going to use kind of an analogy, because we're done

12:05:33   5   cooking and baking, if you think about a jelly donut, in

12:05:37   6   order for it to be measured, we have to remove that jelly

12:05:40   7   out.    When we're talking about this measurement, we still

12:05:44   8   have jelly that's filled in it, we cannot get the data

12:05:47   9   leaking out of it, it wouldn't work, we wouldn't be able to

12:05:50 10    do it, just because the way we build our structure is so

12:05:54 11    different from the FBAR.

12:05:55 12    Q.       Who is the person responsible for the design of

12:05:58 13    Akoustis trimming procedures?

12:05:58 14    A.       It's a combination of people, but typically it's

12:06:01 15    coming from the device engineering team.

12:06:03 16    Q.       Is there a particular person at Akoustis who is

12:06:07 17    primarily responsible then for the trimming process that's

12:06:09 18    used?

12:06:09 19    A.       Yeah, so from the device standpoint, I think you'll

12:06:12 20    be hearing from Dr. Daeho Kim, he'll be working on that

12:06:16 21    piece of it, but there is also a process team, test team,

12:06:21 22    software team that needs to work on it.

12:06:23 23    Q.       Now, have you heard, or know the name Rohan Houlden?

12:06:28 24    A.       Yes.

12:06:29 25    Q.       And is he currently an employee of Akoustis?
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12:06:32   1   A.     No, he is not.

12:06:33   2   Q.     Did you ever report to Mr. Houlden?

12:06:36   3   A.     No, I did not.

12:06:37   4   Q.     Did Mr. Houlden ever report to you?

12:06:39   5   A.     No, he did not.

12:06:40   6   Q.     Was Mr. Houlden ever responsible for any part of the

12:06:44   7   operations of the New York Fab?

12:06:46   8   A.     No, I am the only executive that's actually in the

12:06:50   9   New York, located in the New York Fab.

12:06:53 10    Q.     Do you know a person by the name of Rob Dry, Robert

12:06:58 11    Dry?

12:06:58 12    A.     Yes, I did.

12:06:59 13    Q.     Is Mr. Dry still an Akoustis employee?

12:07:03 14    A.     No, he is not.

12:07:04 15    Q.     Did Mr. Dry report to you?

12:07:06 16    A.     He did for a short period of time after I took on the

12:07:09 17    role of corporate operations.

12:07:12 18    Q.     And what was Mr. Dry's duties and responsibilities

12:07:16 19    during the time he reported to you?

12:07:19 20    A.     His main role was around back-end operations, or as

12:07:21 21    we refer to it OSTAT.    He spent a lot of time overseas

12:07:26 22    working with the OSAT that we were bringing.

12:07:29 23    Q.     And OSAT is a third-party company.      What are they

12:07:32 24    used for?

12:07:33 25    A.     Correct.   It's a third-party company, it's used for
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12:07:36   1   our assembly and testing.     Wafers are made in New York, and

12:07:40   2   then they're shipped overseas for the back-end packaging.

12:07:52   3                  MR. LEMIEUX:   May I have permission to approach

12:07:57   4   the witness?

12:08:02   5                  THE COURT:   You may.

12:08:03   6   BY MR. LEMIEUX:

12:08:03   7   Q.     Ms. Winters, I'm going to hand you a couple of

12:08:07   8   documents that have been looked at in this case.

12:08:22   9                  For the record, I would like to identify what's

12:08:38 10    been placed before the witness for identification purposes

12:08:41 11    as PTX-0227 and PTX-0228.

12:08:52 12    BY MR. LEMIEUX:

12:08:53 13    Q.     Ms. Winters, do you recognize exhibit PTX-0227?

12:08:58 14    A.     I do.

12:08:59 15    Q.     And what is that document?

12:09:04 16    A.     It is a Microsoft Teams meeting from Robert Dry.

12:09:09 17    Q.     Have you seen this document before?

12:09:10 18    A.     Yes, I have seen it in my deposition, and I've also

12:09:14 19    seen it here.

12:09:15 20                   MR. LEMIEUX:   Your Honor, I would like to move

12:09:17 21    exhibit PTX-0227 into evidence.

12:09:19 22                   THE COURT:   Marked and received as 289.

12:09:22 23                   (Trial Exhibit No. 289 was admitted into

12:09:22 24    evidence.)

12:09:22 25    BY MR. LEMIEUX:
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12:09:27   1   Q.     If we could pull that up.       And again, what did you

12:09:30   2   say this document was, Ms. Winters?

12:09:32   3   A.     It was a meeting invite from Robert Dry, really just

12:09:37   4   reading through it.     Meeting to review document requirements

12:09:40   5   and generation for wafer inspection.

12:09:43   6   Q.     If you could take a look then at the document that I

12:09:46   7   have handed you, that's been marked PTX-0228.         Have you seen

12:09:54   8   this document before?

12:09:54   9   A.     I have.

12:09:55 10    Q.     Is this a document that has been referred to by

12:10:00 11    Mr. Dry in the e-mail that we see up on the screen?

12:10:03 12    A.     Yes, it appears to be so.

12:10:06 13                   MR. LEMIEUX:   Your Honor, I would like to move

12:10:08 14    exhibit PTX-0228 into evidence.

12:10:11 15                   THE COURT:   Marked and received as 290.

12:10:14 16                   (Trial Exhibit No. 290 was admitted into

12:10:14 17    evidence.)

12:10:14 18    BY MR. LEMIEUX:

12:10:18 19    Q.     Ms. Winters, what is exhibit PTX, or I guess it's now

12:10:24 20    Exhibit 290?

12:10:24 21    A.     It appears to be a final visual quality control

12:10:29 22    inspection.

12:10:33 23    Q.     Do you recall seeing this document before?

12:10:35 24    A.     Do I recall seeing it --

12:10:38 25    Q.     Have you seen this document before?
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                                        #: 41449                              1801
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12:10:40   1   A.     I have, yes.

12:10:41   2   Q.     And was this a document that was referred to by

12:10:48   3   Mr. Dry in his e-mail that was something that was the

12:10:52   4   subject for your review?

12:10:53   5   A.     That's my understanding.

12:10:54   6   Q.     Has this document ever been used by Akoustis?

12:10:58   7   A.     No.

12:10:58   8   Q.     Why?

12:10:59   9   A.     It's 48 pages, and it doesn't reflect what we do.          So

12:11:06 10    it wouldn't be helpful or add any value to the operators on

12:11:10 11    the floor.

12:11:15 12    Q.     So is this the document, then, that Mr. Dry wanted

12:11:19 13    you to consider using?

12:11:20 14    A.     Correct.

12:11:20 15    Q.     And did you make a decision then, as to whether or

12:11:23 16    not to use it?

12:11:24 17    A.     Yes, we were not going to use this.

12:11:29 18    Q.     And just one last document, if I could have

12:11:32 19    permission to approach, Your Honor?

12:11:33 20                  THE COURT:    You may.

12:11:46 21                  MR. LEMIEUX:    For the record, what I have handed

12:11:49 22    the witness has been marked for identification as JTX-0003.

12:11:59 23    BY MR. LEMIEUX:

12:11:59 24    Q.     Ms. Winters, have you seen this document before?

12:12:01 25    A.     Yes, I have.
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12:12:02   1   Q.     And is this the document that is maintained in the

12:12:06   2   normal scope and course of the business operations of

12:12:09   3   Akoustis?

12:12:09   4   A.     Yes, it is.

12:12:11   5                  MR. LEMIEUX:    Your Honor, I would like to move

12:12:12   6   exhibit JTX-0003 into evidence.

12:12:15   7                  THE COURT:     Marked and received as 291.

12:12:17   8                  (Trial Exhibit No. 291 was admitted into

12:12:18   9   evidence.)

12:12:18 10    BY MR. LEMIEUX:

12:12:20 11    Q.     Ms. Winters, what is this document?

12:12:23 12    A.     This is our wafer exclusion zone and die inspection

12:12:29 13    specification.

12:12:30 14    Q.     And is this a document or procedure that's in actual

12:12:34 15    use at Akoustis?

12:12:35 16    A.     Yes, it is.

12:12:36 17    Q.     And could you take us through briefly each page to

12:12:39 18    let us know what is being shown here in Exhibit 291?

12:12:43 19    A.     Sure.     So it's --

12:12:46 20    Q.     Hold on, just let her comment.

12:12:49 21    A.     Okay.     So as you will see, this is one of our SOP's,

12:12:53 22    Standard Operating Procedure.       We have hundreds of these.

12:12:57 23    It will go through what the purpose of it is, what the

12:13:01 24    scope, certain definitions, who is responsible for it.         Die

12:13:06 25    criteria, there will be different figures, talks about the
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                                      #: 41451                              1803
                                       Winters - direct

12:13:10   1   wafer exclusion zone.    It gets easier if you go to page 3.

12:13:18   2   Maybe go to page 3.    This is an actual image of our BAW

12:13:22   3   wafer, so I mentioned how we wouldn't have used the other

12:13:25   4   document.   It doesn't -- you wouldn't have seen the wafer,

12:13:29   5   you wouldn't have seen what our filters look like.       If you

12:13:33   6   are building this, they would look completely different for

12:13:35   7   this.   This is just showing here, they'll talk about you

12:13:39   8   have typical clamping marks, some of our tools have

12:13:42   9   mechanical clamps that touch the wafer, so those would be

12:13:45 10    outside the exclusion zone.

12:13:47 11    Q.      And if we could turn to page 5 of this document.         It

12:13:53 12    appears to be describing wafer inspection failure criteria.

12:13:57 13    Could you tell the jury what that is a picture or

12:14:00 14    description of there, go back to the full page.       There we

12:14:04 15    go.

12:14:04 16    A.      Sure.   He this is bond discoloration, you heard a lot

12:14:11 17    about trade secrets.    One of our trade secrets is around our

12:14:14 18    bonding process.   And you kind -- you see that color

12:14:18 19    variation, that would be called a bond void.       So that's a

12:14:22 20    very quick visual to say that this particular die would be

12:14:27 21    inked out, it wouldn't go on to be assembled, that's a

12:14:30 22    critical one for us.

12:14:33 23    Q.      We see a number what appears to be egg-shaped

12:14:38 24    circles, can you describe for the jury what those are?

12:14:40 25    A.      These are individual resonators.
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12:14:41   1   Q.     Those are the individual resonator shapes used by

12:14:45   2   Akoustis for this device?

12:14:46   3   A.     Correct.     Yes.

12:14:47   4   Q.     And turn to page 9 of this document.        This is another

12:14:54   5   example.    What's being depicted here on page 9 of

12:14:59   6   Exhibit 291?

12:15:00   7   A.     So two different things you're seeing probe damage.

12:15:04   8   So when we're testing, some of our earlier test equipment it

12:15:08   9   kind of comes in with a probe, it's touching metal which is

12:15:12 10    soft, so it's actually coming in and we'll basically nick

12:15:17 11    the metal.    If it goes outside, when it goes to our OSAT to

12:15:22 12    do assembly, this would get flagged in their incoming

12:15:27 13    inspection.

12:15:27 14    Q.     To your knowledge, Ms. Winters, was this document

12:15:30 15    based on any Qorvo confidential information?

12:15:32 16    A.     It was not, it's specific to the XBAW process.

12:15:36 17    Q.     And does Akoustis currently use anything else for

12:15:39 18    visual inspection in addition to this document?

12:15:41 19    A.     We do.     So early on, we did everything as manual

12:15:45 20    inspections, so these types of pictures are very helpful.

12:15:49 21    But we want to do, what we call AOI, or automated, optical

12:15:55 22    inspection tool, we received a piece of equipment from a

12:15:58 23    company called LabTech.      Now what happens if you look at,

12:16:03 24    I'll use the one that's with contamination, basically you

12:16:08 25    would take a reference image, just like how that looks with
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12:16:11   1   this tool, it would be your golden unit, your best unit, you

12:16:16   2   would then train to say if you see those probe damage or

12:16:19   3   those bond voids, they would actually scan for that and it

12:16:22   4   would flag it that it's a bad die for that piece.

12:16:25   5                  You would then take that map, that recipe, and

12:16:28   6   it gets courted over to our OSAT for that because they

12:16:32   7   continue on with these inspections.       They're giving them a

12:16:35   8   library of what our RD facts, it's matching exactly what

12:16:41   9   your filter looks like, and for every product, you create

12:16:45 10    that new reference slide, it's very specific to your

12:16:48 11    product, to your process.

12:16:49 12    Q.     To the best of your knowledge, Ms. Winters, has there

12:16:53 13    ever been any Qorvo confidential information that has been

12:16:57 14    utilized within the New York Fab facility?

12:16:59 15    A.     Not that I am aware of.

12:17:01 16    Q.     And if you became aware that somebody had brought

12:17:05 17    confidential information, not just Qorvo, but any third

12:17:08 18    party, attempted to bring that to modify a process or to use

12:17:13 19    something in the facility, what would be your response?

12:17:16 20    A.     That it's not allowed, it's not company policy, it's

12:17:19 21    not needed.

12:17:19 22    Q.     Why wouldn't you want to use something that you could

12:17:22 23    get from another company?

12:17:23 24    A.     Why wouldn't I?

12:17:25 25    Q.     Yeah.
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12:17:25   1   A.     Because it's their information, it's their trade

12:17:28   2   secret, we have spent a lot of time developing our own and

12:17:31   3   we do not require outside information like that.

12:17:34   4   Q.     Have you ever asked anybody within Akoustis to modify

12:17:39   5   or change any process of Akoustis and to use Qorvo

12:17:44   6   confidential information to do so?

12:17:46   7   A.     I have not.

12:17:47   8   Q.     Now, you have been in the courtroom, Ms. Winters, for

12:17:52   9   over a week, as have all of us, and you have heard a lot of

12:17:58 10    accusations of improper conduct by various Akoustis

12:18:01 11    employees and the alleged use of certain information.        How

12:18:04 12    does that make you feel?

12:18:06 13    A.     Because I haven't been part of this, it's very

12:18:10 14    upsetting over the last week to hear some of these things.

12:18:14 15    Q.     And how does it make you feel personally in terms of

12:18:17 16    the accusations that have been made against operations that

12:18:21 17    happen in the New York Fab?

12:18:22 18    A.     Yeah, like I said, upsetting.      I have worked in the

12:18:27 19    New York facility now for over twenty years.       A lot of the

12:18:31 20    people I work with I have known my entire career.       A lot of

12:18:35 21    us worked together at Kodak.    Over the last twenty years

12:18:38 22    we've developed the majority of these processes that are

12:18:42 23    used in the XBAW process, so to be falsely accused that

12:18:46 24    we're taking information from Qorvo to build XBAW, is just

12:18:50 25    disheartening, because we've spent hours upon hours, late
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12:18:55   1   weekends.   I have two boys at times that didn't see me

12:18:58   2   because they are in the middle of just developing this

12:19:01   3   process, so a lot of hours, hard work, innovation, from

12:19:05   4   thirty people in the beginning to at times over 100, so it's

12:19:11   5   heart breaking is all I can say.

12:19:15   6                 MR. LEMIEUX:    No further questions at this time,

12:19:16   7   Your Honor.    I pass the witness.

12:19:18   8                 THE COURT:    Cross-examination.

12:19:20   9                        CROSS-EXAMINATION

12:19:25 10    BY MS. AYERS:

12:19:33 11    Q.     Good morning, Ms. Winters.

12:19:34 12    A.     Good morning.

12:19:35 13    Q.     We have not met yet.      My name is Jennifer Ayers.

12:19:38 14    A.     Nice to meet you.

12:19:39 15    Q.     Nice to meet you, too.

12:19:40 16                  Ms. Winters, you testified earlier that you

12:19:43 17    obtained a Masters Degree of Engineering from the University

12:19:47 18    of Illinois, correct?

12:19:49 19    A.     That's correct.

12:19:50 20    Q.     And while you were obtaining your masters degree, you

12:19:52 21    did not take any courses that were specifically related to

12:19:57 22    radio frequency or BAW filters; is that correct?

12:20:01 23    A.     That is correct.

12:20:02 24    Q.     And I think you testified that your first job was at

12:20:05 25    Kodak as a part of this conglomeration at the center of
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                                        #: 41456                              1808
                                          Winters - cross

12:20:10   1   excellence, is that correct?

12:20:11   2   A.     My first job was working as a process engineer before

12:20:15   3   I became in-kind employee.

12:20:19   4   Q.     And you were a process engineer specifically for

12:20:23   5   Kodak, is that correct?

12:20:24   6   A.     Yes.

12:20:24   7   Q.     While you were a process engineer for Kodak, you did

12:20:28   8   not work on any radio frequency filters or BAW filters; is

12:20:32   9   that correct?

12:20:32 10    A.     That is correct.

12:20:33 11    Q.     And then your next job I think you testified, is that

12:20:35 12    you were at Infotonics, is that correct?

12:20:38 13    A.     That's correct.

12:20:39 14    Q.     And you also didn't work on any radio frequency or

12:20:42 15    BAW filters at Infotonics, either?

12:20:44 16    A.     That is correct.

12:20:45 17    Q.     And while you were at Infotonics, you also did not

12:20:48 18    work on the design side of any of the devices that

12:20:52 19    Infotonics was creating, is that correct?

12:20:54 20    A.     That is correct.

12:20:55 21    Q.     Infotonics then become STC MEMS; is that right?

12:20:59 22    A.     That is correct.

12:21:00 23    Q.     And none of the work that you performed at STC MEMS

12:21:04 24    before Akoustis acquired STC MEMS involved radio frequency

12:21:10 25    or BAW filters; correct?
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                                        #: 41457                              1809
                                          Winters - cross

12:21:11   1   A.     That is correct.

12:21:11   2   Q.     And then STC MEMS was acquired by Akoustis in June of

12:21:16   3   2017; is that correct?

12:21:17   4   A.     That is correct.

12:21:18   5   Q.     And at the time that Akoustis acquired STC MEMS, the

12:21:23   6   facility in New York, the Fab facility that you have been

12:21:27   7   discussing, had never made a radio frequency filter;

12:21:30   8   correct?

12:21:30   9   A.     That is correct.

12:21:30 10    Q.     And that included BAW filters at the time that

12:21:33 11    Akoustis acquired STC MEMS, STC MEMS had actually never made

12:21:38 12    a BAW filter, is that correct?

12:21:40 13    A.     Yes.

12:21:40 14    Q.     You also never personally worked on the design of RF

12:21:45 15    filters for Akoustis, correct?

12:21:47 16    A.     The design, that's correct.

12:21:49 17    Q.     And because you have never done the design work at

12:21:52 18    Akoustis, you've also never done any of the work to design

12:21:55 19    the BAW filters that Akoustis sells, correct?

12:21:58 20    A.     When you refer to design, you're talking more on the

12:22:02 21    circuitry, correct?

12:22:04 22    Q.     I believe the question that you were asked in your

12:22:07 23    deposition, Ms. Winters, was, have you ever done any design

12:22:12 24    work of RF filters for Akoustis?

12:22:13 25    A.     Yes, that's fine, the answer is no.
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                                      #: 41458                              1810
                                        Winters - cross

12:22:16   1   Q.     And you have not?

12:22:17   2   A.     That's correct.

12:22:19   3   Q.     You have also never had any input into the selection

12:22:22   4   of particular materials for the RF filters that Akoustis is

12:22:29   5   making, is that correct?

12:22:30   6   A.     That is correct.

12:22:34   7   Q.     After Akoustis acquired STC MEMS, Akoustis

12:22:39   8   transferred its processes for designing, fabricating,

12:22:44   9   testing and delivering BAW filter products from the facility

12:22:48 10    it had in North Carolina to STC MEMS, is that correct?

12:22:52 11    A.     That is not correct.    It didn't transfer it from

12:23:00 12    North Carolina, it transferred it from GTF.

12:23:03 13    Q.     I appreciate that clarification Ms. Winters, let me

12:23:07 14    rephrase my question.    After Akoustis acquired STC MEMS, it

12:23:11 15    transferred Akoustis's processes for designing, fabricating,

12:23:15 16    testing and delivering BAW filter products from the prior

12:23:18 17    facility it was using to STC MEMS, correct?

12:23:22 18    A.     That is not correct.

12:23:33 19    Q.     As a manager responsible for STC MEMS, are you aware

12:23:37 20    that Akoustis's Form 10K expressly states that it was

12:23:42 21    transferring BAW filter processes into the STC MEMS

12:23:47 22    facility?

12:23:47 23    A.     I'm not aware, I didn't read the 10K.

12:23:50 24    Q.     Have you ever read Akoustis's 10k's before?

12:23:55 25    A.     Not a full disclosure.
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                                        #: 41459                              1811
                                          Winters - cross

12:24:01   1   Q.     Do you disagree with statements in Akoustis's 10K

12:24:05   2   that it has transferred our R & D resonator filter process

12:24:09   3   flow into the STC MEMS facility and we plan to utilize the

12:24:16   4   facility to optimize our XB1 technology to consolidate all

12:24:21   5   aspects of wafer manufacturing?

12:24:22   6   A.     It's the definition of process flow, so a process

12:24:25   7   flow could be the cartoon that's shown for the ellipsis,

12:24:28   8   that is not necessarily each of the individual recipes to be

12:24:32   9   able to make that.

12:24:33 10    Q.     Let's talk about the process flow.        You testified

12:24:38 11    that STC MEMS had a library of materials and documents that

12:24:44 12    was available to it for purposes of identifying and

12:24:49 13    establishing a process flow, is that correct?

12:24:51 14    A.     That is correct.

12:24:52 15    Q.     But the process flows that Akoustis was transferring

12:24:55 16    into STC MEMS was a process -- was the process flows for

12:25:00 17    resonators filter processes, correct?

12:25:03 18    A.     For their BAW resonator, correct.

12:25:07 19    Q.     You also walked through with Akoustis's counsel just

12:25:12 20    now a handful of trial exhibits that you identified as

12:25:16 21    coming from the STC MEMS library; is that correct?

12:25:21 22    A.     That is correct.

12:25:21 23    Q.     And I think that for the record was trial

12:25:25 24    Exhibits 286, 287, and 288.      If we could just pull up 286 as

12:25:31 25    an example?
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                                        #: 41460                              1812
                                          Winters - cross

12:25:33   1   A.     The ST numbers?

12:25:36   2   Q.     As soon as I get it up on the screen I would tell you

12:25:40   3   what the DTX number is.      Let me see if I can also help out

12:25:48   4   my trial director.     It's going to be DTX-579.

12:25:55   5   A.     Okay.

12:25:55   6   Q.     I think you testified this is one of the documents

12:25:59   7   that STC MEMS had in its facility and in its library, is

12:26:04   8   that correct?

12:26:04   9   A.     That is correct.

12:26:05 10    Q.     And this document is dated August 17th, 2012;

12:26:12 11    correct?

12:26:12 12    A.     Correct.

12:26:13 13    Q.     And this document hasn't been updated since

12:26:17 14    August 17th, 2012; correct?

12:26:18 15    A.     Based on the document, correct.

12:26:20 16    Q.     And that is also true for Trial Exhibit 288, which is

12:26:25 17    DTX-0574, that also has a revision date of 8/13/2012,

12:26:36 18    correct?

12:26:37 19    A.     That's correct.

12:26:37 20    Q.     And this document also has not been updated since

12:26:42 21    2012; is that correct?

12:26:43 22    A.     Yes.

12:26:45 23    Q.     And if you go to DTX-0573, which is Trial

12:26:51 24    Exhibit 287, this one is a little bit harder to see, the rev

12:26:56 25    number is down on the left hand underneath the box.         This
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1490 of 2283 PageID
                                        #: 41461                              1813
                                          Winters - cross

12:27:00   1   document also has not been updated since August 13th, 2012;

12:27:08   2   correct?

12:27:09   3   A.     That's correct.

12:27:11   4   Q.     I think it's fair to say since these documents

12:27:14   5   haven't been updated since 2012, none of them actually

12:27:18   6   reflect the 200 steps, or the 200 processes that you have

12:27:22   7   testified Akoustis undertakes as a part of its BAW filter

12:27:26   8   process; correct?

12:27:26   9   A.     There would be separate documents for that.         It

12:27:29 10    wouldn't be reflected.      These are templates.     Those would be

12:27:37 11    covered under, what we would call a traveler that would have

12:27:40 12    all the work instructions in it that would cover those 200

12:27:44 13    plus steps.

12:27:45 14    Q.     You have not offered those travelers into evidence as

12:27:47 15    a part of your testimony correct?

12:27:49 16    A.     I have not been asked to, that's correct.

12:28:05 17    Q.     Let's pull up another one of the documents that you

12:28:11 18    discussed.    I just got to find it in my binder, if you'll

12:28:17 19    give me a moment.     Let's pull up PTX-227, which is Trial

12:28:36 20    Exhibit 289.

12:28:37 21                   MS. AYERS:   And just for the record, Your Honor,

12:28:39 22    I think this may also be a Trial Exhibit that has been

12:28:42 23    double marked, but we can work with counsel in order to make

12:28:45 24    sure that we only have the document in there a single time.

12:28:48 25                   THE COURT:   Thank you.
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                                        #: 41462                              1814
                                          Winters - cross

12:28:48   1   BY MS. AYERS:

12:28:49   2   Q.     I'm looking at PTX-227, Trial Exhibit 289,

12:28:53   3   Ms. Winters.    This is a calendar invite that Mr. Dry sent to

12:28:57   4   you and others attaching a visual inspection document.

12:29:02   5   Correct?

12:29:02   6   A.     Correct.

12:29:03   7   Q.     Okay.     And if we turn to PTX-228 -- Ms. Winters first

12:29:09   8   of all sent this document to you on January 16th, 2020,

12:29:13   9   correct?

12:29:14 10    A.     I think you meant Mr. Dry.

12:29:16 11    Q.     I appreciate the clarification.

12:29:18 12    A.     No worries.

12:29:19 13    Q.     Thank you very much.

12:29:20 14                   Mr. Dry sent this document, this calendar invite

12:29:24 15    to you on January 16th, 2020, correct?

12:29:27 16    A.     Correct.

12:29:28 17    Q.     And the meeting date was to occur on January 28,

12:29:31 18    2020; correct?

12:29:32 19    A.     Yes.     Based on the info, correct.

12:29:36 20    Q.     And attached to Mr. Dry's calendar invite is the

12:29:41 21    visual inspection document that we see at PTX-228, which has

12:29:45 22    been entered into evidence as Trial Exhibit 290; correct?

12:29:50 23    A.     Correct.

12:29:50 24    Q.     This is a Qorvo document; correct?

12:29:54 25    A.     Based on -- I'm looking through it.
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                                      #: 41463                              1815
                                        Winters - cross

12:30:00   1   Q.     I may be able to help you out, Ms. Winters.       If you

12:30:04   2   go to page 5 of this document, and you go to

12:30:12   3   paragraph 7.1.2.

12:30:14   4   A.     Okay.

12:30:15   5   Q.     So -- there we go.    Thank you.

12:30:18   6   A.     Thank you.

12:30:19   7   Q.     The last sentence indicates that methods of test are

12:30:26   8   to be used for confirming that a reject condition does not

12:30:29   9   exist, they shall be approved by the customer and documented

12:30:32 10    by Qorvo Texas, do you see that?

12:30:34 11    A.     Yes, I do.

12:30:35 12    Q.     This is a Qorvo document that Mr. Dry circulated as a

12:30:38 13    part of the calendar invite that he sent to you in January

12:30:42 14    of 2020; correct?

12:30:43 15    A.     Yes, based on what you just showed me.

12:30:45 16    Q.     And this document indicates at the bottom of the page

12:30:48 17    that it's confidential and proprietary information, correct?

12:30:52 18    A.     That is correct.

12:30:57 19    Q.     When Mr. Dry sent this to you, he was the

12:31:03 20    Vice-President of Final Operations, correct?

12:31:06 21    A.     That's correct.

12:31:07 22    Q.     And he also copied, if we go back to the calendar

12:31:10 23    invite, Mr. Faison, he also sent it to Mr. Fallon,

12:31:16 24    Mr. Morgan, and Mr. Hosse, is that correct?

12:31:22 25    A.     Yes, based on the invite.
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                                      #: 41464                              1816
                                        Winters - cross

12:31:23   1   Q.     And Mr. Morgan was the Vice-President of Quality?

12:31:26   2   A.     Correct.

12:31:27   3   Q.     And Mr. Hosse was a senior product engineer?

12:31:30   4   A.     I don't think that was his exact title, I think he

12:31:34   5   was packaging manager, but I'm not sure at that time.

12:31:37   6   Q.     I appreciate that response, Ms. Winters.       And the

12:31:40   7   purpose of that meeting that Mr. Dry calendared, was to

12:31:43   8   review document requirements and generation for wafer

12:31:47   9   inspection specification, correct?

12:31:49 10    A.     That is correct.

12:31:49 11    Q.     Essentially, Akoustis needed to create and document

12:31:55 12    requirements for final wafer inspection; is that correct?

12:31:57 13    A.     That is not correct.

12:32:00 14    Q.     You're disagreeing with Mr. Dry, the meeting was to

12:32:03 15    review document requirements and generation for wafer

12:32:06 16    inspection specification?

12:32:07 17    A.     No, I'm not disagreeing with that.

12:32:10 18    Q.     Okay.   And this meeting was scheduled to occur

12:32:16 19    two-and-a-half years after Akoustis acquired STC MEMS;

12:32:20 20    correct?

12:32:21 21    A.     Two-and-a-half years.     Yes.

12:32:26 22    Q.     And I think you've already stated this, but the

12:32:29 23    document that we just looked at, this was what was attached

12:32:31 24    to this calendar invite; correct?

12:32:34 25    A.     Correct.
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                                        #: 41465                              1817
                                          Winters - cross

12:32:39   1   Q.       Let's go to PTX-231 and 232, which needs to be put

12:32:52   2   into evidence.

12:34:16   3                 THE COURT:    We are going to take our break right

12:34:42   4   now.   It may be more efficient.      We'll come back

12:34:47   5   fifteen minutes early so we'll come back at 1:15.         Don't

12:34:51   6   discuss the case amongst yourselves.        Don't talk to anyone

12:34:54   7   about it.    I'm going to sit here for a moment.       So we'll see

12:35:00   8   you all at 1:15.     Thank you very much.

12:35:03   9                 (Jury exiting the courtroom at 12:35 p.m.)

12:35:21 10                  THE COURT:    Everybody be seated for a moment.

12:35:26 11    We'll let your witness step down.        Don't discuss anything

12:35:31 12    that you testified about.      And we'll see you a little bit

12:35:36 13    before 1:15 and start then.

12:35:41 14                  Thank you.    Anything else from the Plaintiff or

12:35:44 15    the Defendant?     Anything else from the defense at this time?

12:35:48 16                  MR. LEMIEUX:    Nothing, Your Honor.

12:35:50 17                  THE COURT:    Nothing else.    We're going to take

12:35:52 18    that break.    We'll see everybody a little bit before 1:15.

12:35:58 19    Thank you.

12:35:58 20                  COURT CLERK:    All rise.

12:35:59 21                  (A luncheon recess was taken.)

13:15:11 22                  THE COURT:    All right.    You may be seated.      Make

13:15:21 23    sure everybody is ready.      We've got two or three minutes

13:15:29 24    maybe.   Anything else that needs to be submitted in

13:15:32 25    connection with the materials that have been submitted thus
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                                         Winters - cross

13:15:35   1   far, particularly in connection with the North Carolina

13:15:38   2   statute?    Anything else?

13:15:44   3                  MR. MASTERS:   Good afternoon, Your Honor.

13:15:45   4                  The Plaintiffs would like to be able to submit a

13:15:49   5   memorandum shortly on the North Carolina issue.

13:15:53   6                  THE COURT:    That would probably be useful.

13:15:55   7   We're going to make a call on that fairly soon.

13:16:01   8                  MR. MASTERS:   That's what we're aiming for.

13:16:03   9                  THE COURT:    When do you think you'll have that

13:16:05 10    ready?

13:16:06 11                   MR. MASTERS:   Tonight.

13:16:06 12                   THE COURT:    Okay.   That's all right.   Tonight is

13:16:09 13    kind of a vague term.

13:16:11 14                   MR. MASTERS:   All running together, Your Honor,

13:16:13 15    but as soon as we can get it prepared this evening, we'll

13:16:16 16    get it over to you.

13:16:17 17                   THE COURT:    Okay.   Good deal.   That's fine.

13:16:19 18    That's okay.    All right.    I think we're ready.

13:17:07 19                   (Jury entering the courtroom at 1:17 p.m.)

13:17:31 20                   THE COURT:    Everybody can be seated.    And

13:17:39 21    counsel may proceed.

13:17:42 22                   MS. AYERS:    Thank you, Your Honor.

13:17:44 23    BY MS. AYERS:

13:17:44 24    Q.       Ms. Winters, before the lunch break, we were talking

13:17:46 25    about a January 2020 communication from Mr. Dry to you and
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                                          Winters - cross

13:17:51   1   others.    Do you recall that?

13:17:53   2   A.        I do.

13:17:54   3                     MS. AYERS:   Your Honor, may I approach?

13:17:57   4                     THE COURT:   You may.

13:18:10   5   BY MS. AYERS:

13:18:41   6   Q.        Ms. Winters, I've just handed you a document that is

13:18:46   7   labeled PTX-231, which is Trial Exhibit 197, and PTX-0232.

13:18:53   8   PTX-0232 is the same visual inspection document that we were

13:18:59   9   looking at prior to the break.        Is that correct?

13:19:03 10    A.        Give me one second.     I just want to confirm.

13:19:09 11    Q.        Sure.    And if we pull up PTX-0232, and we go to

13:19:14 12    page 5.

13:19:15 13    A.        Sorry, I'm looking at 228 and 232?

13:19:18 14    Q.        Yes, ma'am.

13:19:19 15    A.        Thank you.    And sorry, go to page 5.

13:19:24 16    Q.        If you go to page 5 of 0232, you'll see the sentence

13:19:30 17    we looked at, when other methods of test are to be used to

13:19:34 18    confirm that a reject condition does not exist, they should

13:19:38 19    be approved by the customer and documented by Qorvo Texas?

13:19:41 20    A.        Yes, I see that in 7.1.2.

13:19:44 21    Q.        And PTX-0232, is the attachment to Trial Exhibit 197

13:19:49 22    which has a PTX number of 231; correct?

13:19:53 23    A.        Give me a second.     Yes, it appears that way.

13:20:00 24                      MS. AYERS:   Your Honor, I move to admit PTX-0232

13:20:04 25    into evidence.
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                                        #: 41468                              1820
                                          Winters - cross

13:20:05   1                  THE COURT:     Marked and received as 292.

13:20:11   2                  (Trial Exhibit No. 292 was admitted into

13:20:12   3   evidence.)

13:20:12   4   BY MS. AYERS:

13:20:15   5   Q.        Mr. Dry's e-mail to you and to Mr. Gray and to

13:20:21   6   Mr. Morgan says, "My suggestion is therefore to use

13:20:25   7   something like the attached process."

13:20:31   8   A.        Give me a second.    Which paragraph are you on?

13:20:37   9   Q.        It is the second -- it's the last full paragraph,

13:20:42 10    Ms. Winters.

13:20:44 11    A.        Thank you.   Just give me one second to read it, if

13:20:47 12    that's okay.

13:20:49 13                   (Witness reviewing document.)     Okay.

13:21:03 14    Q.        And the process that he is suggesting to use is the

13:21:08 15    visual inspection process that is attached to his

13:21:13 16    communication to you, correct?

13:21:14 17    A.        That's what it seems like from what's written.

13:21:17 18    Q.        If we go up a paragraph in that e-mail communication,

13:21:20 19    Ms. Winters, the last two sentences of that document says,

13:21:24 20    "The wafer inspection document that we discussed a couple of

13:21:26 21    weeks ago will only apply to production wafers and we should

13:21:30 22    include a caveat within the document to exclude development

13:21:34 23    wafers.    Do we have an assigned owner and target date yet

13:21:37 24    for this document?"

13:21:40 25                   Do you see that?
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                                      #: 41469                              1821
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13:21:40   1   A.     I do.

13:21:41   2   Q.     And the wafer inspection document that was discussed

13:21:43   3   a few weeks earlier prior to February 11, 2020, was that

13:21:46   4   visual inspection document we looked at prior to the lunch

13:21:49   5   break; correct?

13:21:50   6   A.     Yes, based on the timeline.

13:21:52   7   Q.     And when he is saying that it should only apply to

13:21:58   8   production wafers, the reference there means it should only

13:22:00   9   apply to wafers that are actually going to be manufactured

13:22:03 10    and sold in mass quantities, correct?

13:22:06 11    A.     I'm sorry, can you repeat that?

13:22:08 12    Q.     Sure.    He says the wafer inspection document that we

13:22:11 13    discussed a couple of weeks ago, will only apply to

13:22:14 14    production wafers, that's a reference to wafers that

13:22:17 15    Akoustis plans to mass produce and sell in the market;

13:22:20 16    correct?

13:22:20 17    A.     That is correct.

13:22:20 18    Q.     And that's the difference between a development wafer

13:22:23 19    which Akoustis is performing testing on and things of that

13:22:26 20    nature; correct?

13:22:26 21    A.     A development wafer could also be used for sampling

13:22:30 22    to customers.

13:22:32 23    Q.     Okay.    You referenced JTX -- well, first of all, when

13:22:37 24    we were looking at this e-mail communication and we go back

13:22:41 25    to it, Mr. Faison, you didn't respond to Mr. Dry's e-mail
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13:22:50   1   and say that STC MEMS has an entire library of visual

13:22:57   2   inspection documents that can be referenced after you

13:22:59   3   received this e-mail, correct?

13:23:00   4   A.     I did not respond directly to this e-mail.

13:23:03   5   Q.     Let's look at JTX-3, which I believe is, you

13:23:07   6   testified is a document that Akoustis used?

13:23:15   7   A.     Can you give me one second to go through?         Yes, I

13:23:21   8   have it.

13:23:21   9   Q.     And I would like to go to the very last page.          The

13:23:27 10    last page indicates that Mr. Dry drafted this document in

13:23:33 11    June of 2020, correct?

13:23:34 12    A.     Based on this document, correct.

13:23:37 13    Q.     Approximately four months after the February e-mail

13:23:40 14    that we just looked at, correct?

13:23:43 15    A.     That's correct.

13:23:44 16    Q.     And five months prior to the January meeting that we

13:23:47 17    discussed prior to the lunch break, correct?

13:23:49 18    A.     Yes.

13:23:49 19    Q.     I would like to switch gears a little bit and talk

13:23:52 20    about trimming.     You can take that down, Mr. Faison.

13:23:56 21                  Akoustis performs trimming of its BAW filters at

13:24:01 22    the New York Fab that used to be STC MEMS, correct?

13:24:05 23    A.     That is correct.

13:24:06 24    Q.     And you would agree with me that in general terms,

13:24:08 25    it's preferable to limit the amount of trimming steps;
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 1500 of 2283 PageID
                                       #: 41471                              1823
                                         Winters - cross

13:24:11   1   correct?

13:24:12   2   A.     That's correct.

13:24:12   3   Q.     And when you started working at Akoustis after the

13:24:16   4   acquisition in June of 2017, there was nobody working on

13:24:20   5   trimming at the New York facility, correct?

13:24:23   6   A.     That is correct.

13:24:23   7   Q.     And that's because STC MEMS did not perform trimming

13:24:27   8   prior to being acquired by Akoustis, correct?

13:24:30   9   A.     That's correct, trimming was done in North Carolina

13:24:33 10    at the time.

13:24:34 11    Q.     And would you agree with me that BAW filters are

13:24:36 12    somewhat unique in that they require very precise trimming?

13:24:41 13    A.     They do require precise trimming.

13:24:44 14    Q.     Akoustis hired J.B. Kwon, a former Qorvo employee

13:24:48 15    around the same time that it acquired STC MEMS to help with

13:24:52 16    trimming, is that correct?

13:24:53 17    A.     That's correct, it was part of his function.

13:24:55 18    Q.     And he provided specific input on the trimming

13:24:58 19    processes that Akoustis should use, correct?

13:25:00 20    A.     As a process engineer, correct.

13:25:02 21    Q.     And he was, in fact, responsible for setting up the

13:25:04 22    trimming operations for Akoustis's BAW filter products,

13:25:07 23    wasn't he?

13:25:08 24    A.     He was.

13:25:12 25                   MS. AYERS:   Your Honor, may I approach?
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1501 of 2283 PageID
                                        #: 41472                              1824
                                          Winters - cross

13:25:13   1                  THE COURT:   You may.

13:25:35   2   BY MS. AYERS:

13:25:54   3   Q.     Ms. Winters, for the record, and for the benefit of

13:25:58   4   Mr. Faison who put up these documents, I have handed you

13:26:04   5   documents which have been marked PTX-452 and 453, these have

13:26:08   6   been perviously admitted into evidence as Trial Exhibit 122,

13:26:12   7   which is the presentation you see on the right-hand side of

13:26:14   8   your screen, and Trial Exhibit 123, which is the e-mail that

13:26:19   9   appears on the left-hand side of your screen.

13:26:23 10                   So I would like to go down to the second page of

13:26:29 11    the e-mail.

13:26:30 12    A.     Okay.

13:26:31 13    Q.     On the second page of the e-mail, there is a meeting

13:26:34 14    invite from you to a number of people including J.B. Kwon,

13:26:40 15    Daeho Kim, Rama Vetury, Rohan Houlden and others.         Do you

13:26:49 16    see that?

13:26:51 17    A.     I do.

13:26:52 18    Q.     And the subject of the calendar meeting is handle

13:26:55 19    letter wafer/trim weekly meeting.       Do you see that?

13:26:59 20    A.     I do.

13:27:00 21    Q.     This weekly meeting was held to determine how

13:27:02 22    Akoustis was going to trim the wafers that would ultimately

13:27:06 23    become BAW filters; is that correct?

13:27:07 24    A.     I would assume so, yes.

13:27:18 25    Q.     And if we go to the first page, Mr. Vetury follows up
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 1502 of 2283 PageID
                                       #: 41473                              1825
                                         Winters - cross

13:27:25   1   the meeting and presents a list of action items that had to

13:27:31   2   be followed up on after the meeting.      And then at the top of

13:27:34   3   that e-mail communication, Mr. J.B. Kwon sends to Rama

13:27:42   4   Vetury and Daeho Kim, the trim calc SiN trims PowerPoint, do

13:27:52   5   you see that?

13:27:54   6   A.       Yes, I see it highlighted on the screen.

13:27:56   7   Q.       And Mr. Kim says the enclosed is what I understand

13:27:59   8   how Qorvo gets trim sensitivity data,                          ,

13:28:05   9   and trim removal amounts for SiN trims, do you see that?

13:28:08 10    A.       I do.

13:28:09 11    Q.       And the SiN is a reference to silicone nitride,

13:28:14 12    right?

13:28:14 13    A.       That's correct.

13:28:15 14    Q.       If we go to the attachment, Mr. Kim is attaching

13:28:18 15    information that relates to Qorvo's trim calculation and

13:28:24 16    Qorvo's trim algorithms, correct?

13:28:27 17    A.       Give me one second to review the document.

13:28:44 18                     What's the question again?

13:28:46 19    Q.       This document contains Qorvo's trim calculations and

13:28:50 20    trim processes, correct?

13:28:52 21    A.       I'm just looking at it, I understand the e-mail says

13:28:55 22    Qorvo, but the document is not referencing Qorvo unless

13:28:58 23    there is something in the text.

13:28:59 24    Q.       So the e-mail specifically says the enclosed is what

13:29:02 25    I understand about how Qorvo gets trim sensitivity data,
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24 Page 1503 of 2283 PageID
                                         #: 41474                              1826
                                           Winters - cross

13:29:07   1   correct?

13:29:08   2   A.      Yes.

13:29:08   3   Q.      And if we go to the second page of that document, or

13:29:13   4   actually let's go to the fourth page, and if we blow that

13:29:22   5   up, contained within it are steps for silicone nitride trims

13:29:28   6   relating to frequency trade-off of trim scheme, do you see

13:29:34   7   that?

13:29:34   8   A.      I do.

13:29:35   9   Q.      And there is a formulation included in the PowerPoint

13:29:37 10    presentation, correct?

13:29:42 11    A.      Give me a second.

13:29:44 12                    I assume you mean in the box?

13:29:45 13    Q.      Yes.

13:29:45 14    A.      I do see it.     Thank you.

13:29:47 15    Q.      At the time you received this e-mail, you didn't tell

13:29:49 16    Mr. Kwon to stop sending you Qorvo trimming information,

13:29:53 17    correct?

13:29:53 18    A.      I did not.     There is no reference that it's

13:29:58 19    confidential.

13:30:00 20    Q.      There is a reference that indicates it came from

13:30:03 21    Qorvo; correct?

13:30:03 22    A.      That is correct.

13:30:04 23    Q.      And you knew that Mr. Kwon had immediately just left

13:30:08 24    Qorvo and gone to Akoustis, correct?

13:30:09 25    A.      That is correct.
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1504 of 2283 PageID
                                        #: 41475                              1827
                                          Winters - cross

13:30:10   1   Q.        And Mr. Kwon was specifically hired by Akoustis to

13:30:15   2   perform trimming at the New York Fab, correct?

13:30:18   3   A.        He was hired for trim, and also other process

13:30:21   4   engineering skill sets that he previously had.

13:30:24   5   Q.        Let's go to PTX-420 and 421.        I'm going to hand them

13:30:29   6   to you.

13:30:30   7                     MS. AYERS:   Your Honor, do I have permission to

13:30:32   8   approach?

13:30:32   9                     THE COURT:   You do.

13:30:38 10                      THE WITNESS:   Thank you.

13:30:44 11                      MS. AYERS:   You're welcome.

13:30:45 12    BY MS. AYERS:

13:31:13 13    Q.        And for the record, PTX-420 has been entered into

13:31:17 14    evidence as Trial Exhibit 208, and PTX-421 has been entered

13:31:23 15    into evidence as Trial Exhibit 209.

13:31:26 16                      Ms. Winters, on Wednesday, August 16th, 2017, so

13:31:30 17    about a month-and-a-half after the last document that we

13:31:33 18    just looked at, you asked J.B. if he could stop by to

13:31:37 19    discuss silicone nitride trimming experiment.          Do you see

13:31:40 20    that?

13:31:40 21    A.        I do.

13:31:41 22    Q.        And J.B. responded to your e-mail about forty minutes

13:31:45 23    later, and he reattached the trim presentation that we just

13:31:51 24    looked at in the prior e-mail, correct?

13:31:53 25    A.        Correct.
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 1505 of 2283 PageID
                                       #: 41476                              1828
                                         Winters - cross

13:31:53   1   Q.     And he says in the communication he's sending to you,

13:31:58   2   "The enclosed shows how Qorvo does silicone nitride

13:32:03   3   trimming."

13:32:03   4                Correct?

13:32:03   5   A.     Correct.

13:32:04   6   Q.     At the time Mr. Kwon sent this document to you,

13:32:07   7   Akoustis was performing silicone nitride trimming

13:32:11   8   experiments, correct?

13:32:11   9   A.     We were if my memory serves me correctly, this was a

13:32:17 10    while ago, we were doing a couple of things.        We had an AMS

13:32:21 11    trim tool, so we were qualifying that, but we were also, I

13:32:26 12    think at the same time, evaluating new trim tools.

13:32:28 13    Q.     And Akoustis no longer uses a SiN trim tool, correct?

13:32:32 14    A.     That is correct.

13:32:33 15    Q.     It uses a tool that I believe is spelled SCIA?

13:32:37 16    A.     There were three tools we looked at, AMS, the tool

13:32:41 17    that was brought in from North Carolina was more of a manual

13:32:47 18    tool, more of a research tool, that's how we started a lot

13:32:51 19    of the XBAW, we looked at a SCIA tool, MB, a year before or

13:32:56 20    a second tool we looked at a company called Tele.        These are

13:33:00 21    common manufacturers for trim tools.

13:33:05 22    Q.     And the SCIA tool that Akoustis ultimately purchased

13:33:09 23    in order to perform its trimming, it's the same type of tool

13:33:13 24    that Qorvo uses, correct?

13:33:15 25    A.     Correct, it's the same type of tools other SAW or BAW
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24 Page 1506 of 2283 PageID
                                      #: 41477                              1829
                                        Winters - cross

13:33:20   1   manufacturers use.

13:33:21   2   Q.     When you received this presentation from J.B. Kwon

13:33:25   3   for a second time a few months after he started, Akoustis

13:33:28   4   was in the process of determining what trimming tools that

13:33:31   5   it should use and ultimately purchase, and it was performing

13:33:34   6   trimming experiments to see how it could trim silicone

13:33:37   7   nitride?

13:33:38   8   A.     That's correct.

13:33:44   9   Q.     And that's ultimately why Akoustis hired Mr. Kwon,

13:33:48 10    you wanted to have Mr. Kwon assist with trimming, is that

13:33:52 11    correct?

13:33:52 12    A.     Yes, as a process engineer.

13:33:58 13    Q.     You didn't respond to Mr. Kwon to tell him that you

13:34:01 14    didn't need or want Qorvo's trimming algorithms, correct?

13:34:04 15    A.     I did not.

13:34:06 16    Q.     And you also didn't respond to Mr. Kwon's e-mail to

13:34:10 17    tell him that the information he gave to you in response to

13:34:13 18    your e-mail wasn't what you were asking for, correct?

13:34:16 19    A.     I don't think so.

13:34:20 20    Q.     I would like to fast forward to October of 2017?

13:34:27 21                MS. AYERS:     Your Honor, may I approach?

13:34:29 22                THE COURT:     You may.

13:34:47 23                MS. AYERS:     And for the record, I have handed

13:34:56 24    Ms. Winters PTX-0271, which has already been entered into

13:35:02 25    evidence as Trial Exhibit 220.
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1507 of 2283 PageID
                                        #: 41478                              1830
                                          Winters - cross

13:35:04   1   BY MS. AYERS:

13:35:05   2   Q.     This is an e-mail from you to Art Geiss, correct?

13:35:07   3   A.     Correct.

13:35:08   4   Q.     And Art Geiss is an Akoustis board member, correct?

13:35:11   5   A.     That's correct.

13:35:11   6   Q.     And Art Geiss used to work at RFMD before he left

13:35:16   7   that company, correct?

13:35:17   8   A.     Correct.

13:35:20   9   Q.     And Mr. Geiss is specifically asking you to please

13:35:24 10    forward the files of the presentation that you gave that

13:35:28 11    included micrograph of the XF2 release-etch test patterns

13:35:34 12    and the presentation that J.B. gave on the trim work center;

13:35:37 13    correct?

13:35:38 14    A.     That's correct.

13:35:38 15    Q.     And Mr. Geiss is referring to the presentation that

13:35:41 16    is attached to this e-mail, correct?

13:35:44 17    A.     Correct.

13:35:45 18    Q.     And you attended the board meeting that Akoustis had

13:35:50 19    with its board members where trim -- the trim work center

13:35:56 20    was discussed by Mr. Kwon; correct?

13:35:59 21    A.     Yes.     I'm not sure this was the board meeting or a

13:36:03 22    technical meeting, but yes.

13:36:04 23    Q.     So Akoustis routinely will meet with some of it's

13:36:08 24    board members to provide technical information to the board

13:36:11 25    members, correct?
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24 Page 1508 of 2283 PageID
                                          #: 41479                              1831
                                            Winters - cross

13:36:11   1   A.       Yes.

13:36:11   2   Q.       And during that board meeting, Mr. Kwon gave a

13:36:15   3   presentation on the trim work center that was actually in

13:36:17   4   place at the STC MEMS facility, correct?

13:36:21   5   A.       For the STC MEMS or --

13:36:23   6   Q.       The New York Fab.

13:36:24   7   A.       Sorry, I just want to make sure, just clarifying,

13:36:28   8   based on the e-mail, correct.

13:36:29   9   Q.       During that board meeting, did anybody ever tell you

13:36:31 10    that the trimming processes and algorithms contained within

13:36:35 11    J.B.'s presentations were Qorvo trade secret or secret

13:36:40 12    sauce?

13:36:40 13    A.       Not that I recall.

13:36:41 14    Q.       Let's take a look at Trial Exhibit 212 and Trial

13:36:46 15    Exhibit 213.

13:36:49 16                    MS. AYERS:    Your Honor, do I have permission to

13:36:52 17    approach?

13:36:53 18                    THE COURT:    You may.

13:37:07 19    BY MS. AYERS:

13:37:25 20    Q.       Ms. Winters, Trial Exhibit 212 and 213 is an e-mail

13:37:29 21    from J.B. Kwon to you on October 25th, 2016, which you

13:37:33 22    received just before the Akoustis board meeting; correct?

13:37:36 23    A.       Sorry.     You're saying Exhibit 437 and 438?

13:37:41 24    Q.       I'm talking about 437 and 438, yes.        I understand

13:37:45 25    sometimes the reference numbers are confusing.
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 1509 of 2283 PageID
                                       #: 41480                              1832
                                         Winters - cross

13:37:48   1   A.       I just want to make sure I'm looking at the correct

13:37:51   2   one.    Thank you.

13:37:51   3   Q.       So Trial Exhibit 437 and 438 is an e-mail

13:37:56   4   communication that J.B. Kwon sent to you on October 26th,

13:38:01   5   2017, correct?

13:38:01   6   A.       Correct.

13:38:02   7   Q.       And if we flip back to 721, you e-mailed Mr. Geiss on

13:38:09   8   October 29th, 2017, two days later; correct?

13:38:13   9   A.       I'm going through the timeline.     So I just want to

13:38:17 10    make sure I understand the timeline.       So the e-mail --

13:38:20 11                     THE COURT:   I want to make sure, you said Trial

13:38:22 12    Exhibit, but we don't have a 437 and 438.

13:38:25 13                     MS. AYERS:   It's Trial Exhibit 212 and 213, Your

13:38:29 14    Honor.

13:38:29 15                     THE COURT:   Thank you.

13:38:30 16                     THE WITNESS:   It's a deposition exhibit I guess

13:38:32 17    I'm looking at.      A lot of numbers.

13:38:34 18                     So I just want to make sure I'm understanding

13:38:37 19    this.

13:38:38 20    BY MS. AYERS:

13:38:38 21    Q.       Sure.

13:38:38 22    A.       The e-mail from J.B. on 10/26 that you're

13:38:46 23    referencing?

13:38:46 24    Q.       Correct.

13:38:47 25    A.       And the e-mail that Art sends me is on Saturday,
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24 Page 1510 of 2283 PageID
                                      #: 41481                              1833
                                        Winters - cross

13:38:52   1   October 28th, and I responded to Art with the requested

13:38:54   2   presentations on Sunday the following morning.

13:38:57   3   Q.     Correct.

13:38:58   4   A.     Okay.

13:38:58   5   Q.     So Mr. Kwon sent you the trim work center

13:39:02   6   presentation that he was going to give to the board;

13:39:05   7   correct?

13:39:06   8   A.     Yeah.    And the question I guess I have is, do we know

13:39:09   9   what date the meeting was?    That's the piece I'm missing.

13:39:12 10    Q.     Well, presumably it happened sometime between

13:39:16 11    September 26th and September 29th, correct?

13:39:18 12    A.     I would assume that piece of it.

13:39:20 13    Q.     Okay.    And if we look at J.B.'s e-mail, he's saying,

13:39:26 14    "Hi Mary and Ken.    The enclosed is a trim work center

13:39:30 15    PowerPoint update."

13:39:31 16                   Correct?

13:39:32 17    A.     That is correct.

13:39:32 18    Q.     And if we look at Trial Exhibit 213, which is

13:39:37 19    PTX-438, and we go to pages 11 and 12 of this document.

13:39:44 20    A.     Okay.

13:39:54 21    Q.     Please pull up page 11 as well.      This trim work

13:40:14 22    center update presentation that Mr. Kwon provided to you,

13:40:20 23    which was then given to Akoustis's board, contains the trim

13:40:23 24    sensitivity calculation and information from the Qorvo

13:40:27 25    presentation we were just looking at; correct?
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1511 of 2283 PageID
                                        #: 41482                              1834
                                          Winters - cross

13:40:32   1   A.     Yes.

13:40:33   2   Q.     And if we go to page 4 of this document, which is

13:40:43   3   PTX-438, which has been entered into evidence as Trial

13:40:49   4   Exhibit 213, there is also a comparison that shows Qorvo on

13:40:52   5   the left-hand side and Akoustis on the right-hand side,

13:40:55   6   correct?

13:40:55   7   A.     I see that.

13:40:56   8   Q.     And at the time this comparison was being made, you

13:41:00   9   indicated that Akoustis was using the AMS tool, correct?

13:41:03 10    A.     That's correct.

13:41:03 11    Q.     Akoustis eventually switched to the SCIA tool, is

13:41:07 12    that correct?

13:41:07 13    A.     That's correct.

13:41:07 14    Q.     That's the same tool that Qorvo uses, correct?

13:41:10 15    A.     That is my understanding.

13:41:12 16    Q.     Let's go back to PTX-721, which is Trial Exhibit 220.

13:41:25 17    A.     Okay.

13:41:27 18    Q.     And let's go to page 9 of the attachment.

13:41:49 19    A.     Okay.

13:41:50 20    Q.     The version of the trim work center presentation that

13:41:53 21    you gave to the board deleted Qorvo's name and put in

13:41:59 22    Industry Standard, correct?

13:42:00 23    A.     The thing is, I did not give the trim work center

13:42:04 24    presentations, I gave the other presentations to the board,

13:42:07 25    there is two presentations.
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24 Page 1512 of 2283 PageID
                                      #: 41483                              1835
                                        Winters - cross

13:42:10   1                  You mean e-mails or presentations?

13:42:13   2   Q.     The trim work center presentation that you sent to

13:42:16   3   Akoustis's board members --

13:42:18   4   A.     Correct.

13:42:18   5   Q.     -- changed the language from Qorvo to Industry

13:42:21   6   Standard, correct?

13:42:22   7   A.     The two documents are different, that's correct.

13:42:26   8   Q.     And they're different because --

13:42:28   9                  THE COURT:   Would you clarify that?

13:42:31 10                   MS. AYERS:   I'm sorry.

13:42:32 11                   THE COURT:   Please clarify the answer.

13:42:40 12    BY MS. AYERS:

13:42:40 13    Q.     Trial Exhibit 220 at page 9 contains the same

13:42:46 14    PowerPoint presentation that we just looked at, and Trial

13:42:55 15    Exhibit 213 at page 4.      Correct?

13:42:58 16    A.     You got to give me a second.

13:43:03 17    Q.     Mr. Faison, please pull up PTX-428, page 4, and put

13:43:10 18    it side-by-side with 721.

13:43:17 19    A.     Okay.

13:43:18 20    Q.     And the difference between these two documents is

13:43:21 21    that you changed the word "Qorvo", to "Industry Standard",

13:43:26 22    correct?

13:43:26 23    A.     I do not recall changing it.

13:43:28 24    Q.     Somebody at Akoustis changed it?

13:43:30 25    A.     I would assume so if it came from Akoustis.
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24 Page 1513 of 2283 PageID
                                      #: 41484                              1836
                                        Winters - cross

13:43:33   1   Q.     Okay.   And if we go to page 11 of 721.

13:43:44   2   A.     Sorry, which -- the deposition exhibit or the PTX?

13:43:49   3   Q.     It's PTX-721, page 11.     The presentation that you

13:43:55   4   sent to Mr. Geiss included Qorvo's trim sensitivity

13:44:04   5   calculation; correct?

13:44:05   6   A.     Yes, based on the e-mail that was previously sent.

13:44:08   7   Q.     And if we flip to page 12, the next page of this

13:44:12   8   presentation, page 12 also includes information from the

13:44:20   9   Qorvo trim process document that we were looking at earlier,

13:44:24 10    correct?

13:44:24 11    A.     That's correct.

13:44:36 12    Q.     Is it fair to say that somebody at Akoustis changed

13:44:40 13    the word "Qorvo" to "Industry Standard" in an attempt to

13:44:45 14    obscure the original source of the trimming data provided in

13:44:48 15    the presentation?

13:44:49 16    A.     I don't know if it's fair to say if I don't know who

13:44:52 17    actually did it.

13:44:52 18    Q.     But it's your testimony you did not do it?

13:44:55 19    A.     I did not do it.

13:44:56 20    Q.     And you don't know who did?

13:44:57 21    A.     I do not.

13:45:15 22    Q.     I think you testified earlier that Akoustis did not

13:45:19 23    use Qorvo's trimming processes, procedures and algorithms,

13:45:24 24    correct?

13:45:24 25    A.     Correct, not to my knowledge.
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                                        Winters - cross

13:45:26   1   Q.     Is Akoustis normally in the practice of sending to

13:45:29   2   its board members information that it doesn't use?

13:45:33   3   A.     In terms of?

13:45:36   4   Q.     When Akoustis meets with its board members, it wants

13:45:39   5   to provide information to the board that relates to what the

13:45:42   6   company is doing from a technological perspective, correct?

13:45:46   7   A.     That's correct.

13:45:46   8   Q.     And you indicated you weren't sure if this was a

13:45:49   9   board meeting, or this was some other kind of technological

13:45:52 10    presentation that Akoustis was giving to its board members,

13:45:55 11    correct?

13:45:55 12    A.     Correct.

13:45:56 13    Q.     When Akoustis meets with its board members, it's

13:46:00 14    trying to give its board members the most information it can

13:46:03 15    about the technological processes and procedures that

13:46:06 16    Akoustis is working on currently at that time, correct?

13:46:08 17    A.     That's correct.

13:46:10 18    Q.     I apologize, go ahead.     I did not intend to interrupt

13:46:15 19    you.

13:46:15 20                   It's not Akoustis's practices to provide its

13:46:17 21    board members with information that Akoustis doesn't use or

13:46:20 22    is extraneous or is unnecessary, correct?

13:46:23 23    A.     That is correct.

13:46:24 24    Q.     Okay.    I have one last document for you, Ms. Winters,

13:46:30 25    you testified previously that you don't recall ever asking
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                                          Winters - cross

13:46:34   1   for Qorvo information; correct?

13:46:37   2   A.     That's correct.

13:46:40   3                  MS. AYERS:   Your Honor, may I approach?

13:46:42   4                  THE COURT:   You may.

13:46:49   5                  THE WITNESS:   Thank you.

13:46:51   6                  MS. AYERS:   You're welcome.

13:47:02   7   BY MS. AYERS:

13:47:03   8   Q.     Ms. Winters, I have handed you PTX-443.         And my first

13:47:08   9   question for you is, do you recognize this document?

13:47:10 10    A.     I do.

13:47:11 11    Q.     This is an e-mail from J.B. Kwon to you; correct?

13:47:15 12    A.     Correct.

13:47:16 13    Q.     And it starts, if you go back to the second page of

13:47:18 14    the document, it actually originates with an e-mail from you

13:47:22 15    to J.B. Kwon; correct?

13:47:24 16    A.     That's correct.

13:47:25 17                   MS. AYERS:   Your Honor, I offer into evidence

13:47:27 18    PTX-443.

13:47:29 19                   THE COURT:   Marked and received as 293.

13:47:34 20                   (Trial Exhibit No. 293 was admitted into

13:47:34 21    evidence.)

13:47:34 22    BY MS. AYERS:

13:47:35 23    Q.     Let's go to the second page of this document,

13:47:41 24    Mr. Faison.

13:47:42 25                   So the first e-mail in this document is from you
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                                          Winters - cross

13:47:46   1   to Mr. Kwon on May 9th, 2018; correct?

13:47:50   2   A.     That's correct.

13:47:50   3   Q.     And that occurred a year after the events that we've

13:47:55   4   kind of been discussing relating to trimming, correct?

13:47:58   5   A.     Yes.

13:47:58   6   Q.     And you specifically asked J.B., does he know how

13:48:01   7   many testers Qorvo has, correct?

13:48:03   8   A.     That's correct.

13:48:04   9   Q.     Mr. Kwon responds on the first page of this document,

13:48:11 10    that he doesn't know the exact number.

13:48:21 11

13:48:24 12                       , do you see that?

13:48:25 13    A.     I do.

13:48:26 14    Q.     And beneath that, he says the attachment is a

13:48:28 15    reference explaining about surface roughness and trim

13:48:31 16    process, correct?

13:48:32 17    A.     That's correct.

13:48:32 18    Q.     And in response to that question, you asked Mr. Kwon,

13:48:37 19    "Thanks J.B.    Any chance you know what type of test

13:48:41 20    equipment they use?"

13:48:42 21    A.     I see that.

13:48:43 22    Q.     And J.B. couldn't remember, correct?

13:48:45 23    A.     Correct.

13:48:47 24    Q.     At least at some point and time, you were asking

13:48:50 25    Mr. Kwon about information that he had from his employment
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                                          #: 41488                              1840
                                          Winters - redirect

13:48:52   1   at Qorvo, correct?

13:48:54   2   A.       Correct.

13:48:55   3                   MS. AYERS:    I have no further questions, Your

13:48:56   4   Honor.

13:48:56   5                   THE COURT:    Redirect.

13:48:57   6                          REDIRECT EXAMINATION

13:48:59   7   BY MR. LEMIEUX:

13:49:07   8   Q.       I just have a couple of questions to kind of clear up

13:49:10   9   any misconceptions that may have been --

13:49:12 10                    THE COURT:    Counsel, it's inappropriate on

13:49:15 11    questions, we do not do that anymore.

13:49:19 12                    MR. LEMIEUX:    I apologize, Your Honor.

13:49:20 13    BY MR. LEMIEUX:

13:49:21 14    Q.       Now, you saw a number of documents that were handed

13:49:23 15    to you by Qorvo's counsel here that appear to be part of

13:49:28 16    some type of trimming PowerPoint?

13:49:30 17    A.       Yes.

13:49:32 18    Q.       And were you the person responsible for preparing any

13:49:36 19    of those trimming slides?

13:49:37 20    A.       I was not.

13:49:38 21    Q.       Do you know who was responsible for preparing those?

13:49:40 22    A.       J.B. Kwon.

13:49:41 23    Q.       And did you have any understanding as to whether or

13:49:47 24    not any of the information that was contained in the slides

13:49:50 25    prepared by Mr. Kwon contained confidential or proprietary
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                                       Winters - redirect

13:49:54   1   information belonging to Qorvo?

13:49:56   2   A.     No, I do not.

13:50:02   3   Q.     If we could pull up what was marked as Exhibit 220, I

13:50:07   4   believe, Trial Exhibit 220, which is PTX-0721.        If we go up

13:50:19   5   to the to and from, and attachment lines.

13:50:23   6                Ms. Winters, this appears to be your e-mail to

13:50:26   7   Art Geiss, and does it contain more than one presentation,

13:50:30   8   or more than one PowerPoint that's being sent to Mr. Geiss?

13:50:34   9   A.     Yes, it does.

13:50:35 10    Q.     And which of these presentations did you prepare?

13:50:37 11    A.     The transfer flow update.

13:50:40 12    Q.     Did you prepare the trim center work update 2017

13:50:44 13    document?

13:50:44 14    A.     No, I did not.

13:50:46 15    Q.     Who prepared that?

13:50:47 16    A.     J.B. Kwon.

13:50:49 17    Q.     And just again so that we're clear, are you aware of

13:50:56 18    any Qorvo -- was it ever identified to you that any of this

13:51:01 19    information was confidential and proprietary to Qorvo?

13:51:04 20    A.     No.

13:51:05 21                 MR. LEMIEUX:    No further questions, Your Honor.

13:51:07 22                 THE COURT:    All right.   Thank you very much.

13:51:09 23    You may step down.

13:51:10 24                 THE WITNESS:    Thank you.

13:51:10 25                 THE COURT:    Who will our next witness be?
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                                            Kim - direct

13:51:14   1                  MR. ELKINS:     Your Honor, Akoustis calls

13:51:18   2   Dr. Daeho Kim as its next witness.

13:51:21   3                  THE COURT:    Certainly.   The witness will step up

13:51:25   4   to the stand, come forward and step up here to the witness

13:51:32   5   stand and be sworn in.

13:51:42   6                  COURT CLERK:    Please remain standing and raise

13:51:49   7   your right hand.     Please state and spell your name for the

13:51:54   8   record.

13:51:54   9                  THE WITNESS:    Daeho Kim, D-A-E-H-O, K-I-M.

13:52:00 10                   DAEHO KIM, having been duly sworn, was examined

13:52:05 11    and testified as follows:

13:52:09 12                          DIRECT EXAMINATION

13:52:12 13    BY MR. ELKINS:

13:52:20 14    Q.        Good afternoon, Dr. Kim.

13:52:22 15    A.        Good afternoon.

13:52:23 16    Q.        Can you please tell the jury a little bit about

13:52:26 17    yourself?

13:52:27 18    A.        I Daeho Kim again.    I'm from South Korea born and

13:52:34 19    educated there, and have -- and moved to U.S. about

13:52:43 20    twenty years ago.     I have a family, a wife, three daughters,

13:52:47 21    and two in high school.       And one finishing up elementary.

13:52:52 22    And my oldest one, she had a prom last Saturday, so I had to

13:53:01 23    make the schedule work to fly up here, so was trying to

13:53:07 24    drive her to the prom, but then she didn't like that so

13:53:12 25    there is some back and forth between my wife, me and Jen, so
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                                             Kim - direct

13:53:18   1   that's it.

13:53:19   2   Q.      Okay.     And where do you live?

13:53:22   3   A.      Right now, it's Cornelius, North Carolina.

13:53:29   4   Q.      Where do you work?

13:53:30   5   A.      It's Huntersville, North Carolina, right next to,

13:53:36   6   small town, Columbia and Huntersville right next to it.

13:53:40   7   Q.      And you work at Akoustis, right?

13:53:42   8   A.      That's correct, yes.

13:53:42   9   Q.      What's your title there?

13:53:44 10    A.      Director of Device Engineering.

13:53:49 11    Q.      And what are your primary responsibilities as

13:53:52 12    Director of Device Engineering?

13:53:54 13    A.      In short, it's a device R & D, so device means our

13:54:02 14    company is BAW resonators, that's part of the BAW filter

13:54:07 15    that we build.      And so I try to improve and maintain

13:54:14 16    performance of BAW resonators, try to make it work better

13:54:20 17    and better performance and with new structures and to

13:54:27 18    develop process to make those structures work with the

13:54:31 19    process we use.

13:54:34 20    Q.      Let's take a step back and see how you got into that

13:54:39 21    role.   Can you please give us an overview of your education?

13:54:44 22    A.      Yes.    I went to college in Seoul, Korea for the Seoul

13:54:51 23    National University.       I majored in physics education.       And

13:54:55 24    then I went to graduate school in physics department in

13:55:01 25    Seoul National University.       And I did a research and studied
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                                            Kim - direct

13:55:07   1   on connection master physics and it is about, my -- and got

13:55:14   2   a Ph.D. with that, and my Ph.D. was about ferroelectricity

13:55:23   3   and growing them and doing analysis to be target for

13:55:31   4   industry procedures, so that's my background.

13:55:35   5   Q.     And epitaxial thin films sometimes called single

13:55:40   6   crystal?

13:55:40   7   A.     That is correct.

13:55:41   8   Q.     What is condensed matter physics?

13:55:45   9   A.     Condensed matter physics is part of physics that, and

13:55:52 10    it studies and research on materials that condense or solid

13:56:00 11    material that is used in the semiconductor or other, used in

13:56:05 12    other industries.

13:56:06 13    Q.     Do you know what a bulk acoustic wave or BAW filter

13:56:13 14    is?

13:56:13 15    A.     Yes.

13:56:13 16    Q.     What is it?

13:56:14 17    A.     Bulk acoustic wave filter using bulk acoustic wafer

13:56:21 18    inside piezoelectric material and it forms a resonator that

13:56:27 19    utilizes electromagnetic -- no, sorry, electromechanical

13:56:34 20    coupling, and uses that to in lots of radio frequency

13:56:43 21    related occupations to filter out signals and just not --

13:56:49 22    outside the bandwidth that you want to pick up, but also

13:56:52 23    just pick up pass through, the let the signal pass through,

13:56:58 24    and it's a very widely used in communication devices, cell

13:57:03 25    phones and laptops and Wi-Fi routers and so on.
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                                        #: 41493                                1845
                                            Kim - direct

13:57:08   1   Q.        How did you learn what a BAW filter is?

13:57:12   2   A.        So the basic concept is that are simple, so that is

13:57:23   3   cover in typical physics course in undergraduate and

13:57:28   4   electronics and -- sorry, electromagnetics and physics

13:57:36   5   course.    But for me since I started, continuing my research

13:57:40   6   in the graduate school on solid electrics, I knew and

13:57:46   7   understand as part of application, went one from

13:57:51   8   applications that uses piezoelectric material that is

13:57:56   9   ferroelectric, so I knew about principles and how it works.

13:58:01 10    Q.        Okay.   You said you received your Ph.D. from Seoul

13:58:06 11    National University.       When was that?

13:58:08 12    A.        That was 2003.

13:58:12 13    Q.        What did do you after receiving your Ph.D.?

13:58:15 14    A.        I stayed there for few months until I found a

13:58:21 15    position in Oakridge National Lab in Oakridge, Tennessee,

13:58:27 16    and moved to Oakridge National Lab as post-doctoral research

13:58:34 17    association.

13:58:34 18    Q.        What is Oakridge National Laboratory?

13:58:36 19    A.        It is one of several national laboratory in United

13:58:41 20    States.    And it is established as part of the Manhattan

13:58:50 21    project back in 1940's, and just a part of the whole -- part

13:58:57 22    of the laboratory is at Oakridge National Lab, and it's

13:59:04 23    mostly people doing research in physics and related fields

13:59:11 24    are doing research, and famous researchers all over the

13:59:16 25    world gather there and doing condensed matter research.
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                                       #: 41494                                 1846
                                           Kim - direct

13:59:27   1   Q.     What were your responsibilities as a post-doctoral

13:59:33   2   assistant at Oakridge National Lab?

13:59:37   3   A.     So there I did a research on ferroelectric insulins

13:59:47   4   and ferromagnetic insulins and especially for ferroelectric

13:59:51   5   insulins, that is piezoelectric, also I grew out

13:59:57   6   piezoelectric insulins and did analysis of many different

14:00:02   7   analysis, and find electrical property measured and analyzed

14:00:08   8   and then published papers and explained to other scientists

14:00:14   9   and, that was the job.

14:00:18 10    Q.     How long were you a post-doctoral research associate

14:00:22 11    at Oakridge?

14:00:23 12    A.     That is a little more than four years, four years and

14:00:30 13    seven months or something.

14:00:31 14    Q.     What did you do next?

14:00:33 15    A.     After that, I got an offer as an assistant professor

14:00:38 16    at Tulane University in New Orleans, Louisiana.

14:00:46 17    Q.     So that would have been 2008?

14:00:48 18    A.     Yes, that's about right.

14:00:51 19    Q.     And what department were you an assistant professor

14:00:56 20    at Tulane?

14:00:56 21    A.     In the Physics Department.

14:00:59 22    Q.     Did you teach any courses at Tulane?

14:01:01 23    A.     Yes, I teach several courses.         Called it '70's

14:01:08 24    Physics 101 to the undergraduate and electricity management

14:01:13 25    for a little upper class in the undergraduate and for
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                                        #: 41495                                1847
                                            Kim - direct

14:01:17   1   graduate students, I taught condensed matter physics.

14:01:21   2   Q.       Did you perform research in addition to teaching?

14:01:24   3   A.       Yes, I did.   So I established a research laboratory

14:01:30   4   with three graduate students and two undergraduate students.

14:01:35   5   And I continued my research from Oakridge National Lab in

14:01:40   6   Tulane studying ferro, ferroelectric insulin, again, with

14:01:51   7   the associate piezoelectric group insulin and did a lot of

14:01:54   8   analysis and measured the chemical properties and published

14:02:00   9   papers on that.

14:02:01 10    Q.       How long did you teach in research at Tulane

14:02:05 11    University?

14:02:05 12    A.       That was four years.

14:02:07 13    Q.       So until 2012?

14:02:09 14    A.       Yes, that's correct.

14:02:11 15    Q.       What did you do next?

14:02:12 16    A.       After that I -- I mean, we as -- back then I had my

14:02:19 17    wife and I had two daughters.       We moved back to Korea and I

14:02:24 18    worked at Samsung Electromechanics, it's right below Seoul,

14:02:30 19    so I lived in Seoul and commuted to the company.

14:02:34 20    Q.       What were your primary responsibilities at Samsung

14:02:37 21    Electromechanics?

14:02:39 22    A.       In the beginning, there was a project on trying to

14:02:46 23    develop a piezoelectric sensors that are going to be in cell

14:02:52 24    phone.   But soon after, about a year or so, the company

14:02:59 25    decided to start developing BAW filters, and many people in
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                                               Kim - direct

14:03:07   1   the team was joined, like, everyone at work now this thing,

14:03:17   2   so BAW filters, so I continued developing BAW filters -- I

14:03:20   3   mean, I switched, switched to develop gone -- in developing

14:03:25   4   BAW filters.

14:03:26   5   Q.        Is Samsung Electromechanics sometimes referred to as

14:03:33   6   Semco for the initials of its name?

14:03:35   7   A.        Yes, that's what people use.

14:03:36   8   Q.        Okay, if I refer to it that way it's a little easier

14:03:40   9   to say.

14:03:40 10    A.        Yes.

14:03:40 11    Q.        What was your work in the BAW filter project at

14:03:47 12    Semco?

14:03:47 13    A.        So, I was also tasked to develop a device, I mean the

14:03:58 14    BAW resonators there, try to improve the coupling

14:04:06 15    coefficient, and quality factor.

14:04:12 16    Q.        What is a quality factor?

14:04:14 17    A.        A quality factor of resonator means how the resonator

14:04:22 18    continues to resonate without losing energy, so any device

14:04:28 19    that use resonators would require a high vector or accuracy

14:04:36 20    and low power sums and overall a high performance, so it's

14:04:45 21    important factor in BAW resonators.

14:04:48 22    Q.        And I have forgotten the precise term you used, the

14:04:53 23    coupling phrase you used?

14:04:55 24    A.        Coupling coefficient.

14:04:57 25    Q.        Yes.
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                                        #: 41497                                1849
                                            Kim - direct

14:04:58   1   A.     That is in BAW resonators, it uses the coupling

14:05:05   2   between electrical energy and mechanical energy, and so it

14:05:09   3   provides -- so the system, the cell phone provides

14:05:15   4   electrical power to the BAW resonators and filters, and it

14:05:20   5   converts into mechanical energy, it makes it vibrate.           So --

14:05:28   6   and then if more energy goes into vibration, then more

14:05:32   7   energy come back from vibrating to electrical energy, then

14:05:36   8   it has a higher coupling coefficient.         That's very important

14:05:40   9   to have wide bandwidth in the BAW filters because that

14:05:46 10    translates into higher download speed for the product that

14:05:52 11    uses that BAW filter, so it's one of the key parameters to

14:05:57 12    improve on, in BAW resonators.

14:06:00 13    Q.     During the testimony that you haven't heard because

14:06:03 14    you haven't been present, but during trial we've heard about

14:06:10 15    BAW filters that are FBAR type and SMR type?

14:06:13 16    A.     Yes.

14:06:13 17    Q.     Was the BAW filter that you were helping develop at

14:06:18 18    Semco one of those two types?

14:06:20 19    A.     That is correct, it was FBAR type.

14:06:27 20    Q.     Was your Semco team successful in developing an FBAR

14:06:34 21    resonator with improved performance?

14:06:36 22    A.     Yes.    We were successful in developing good BAW

14:06:41 23    filter that works for cell phone device, that was used to

14:06:47 24    work for cell phone device.

14:06:49 25    Q.     How long did it take the Semco team to develop the
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                                        #: 41498                                1850
                                            Kim - direct

14:06:54   1   FBAR resonator?

14:06:56   2   A.     It's, sorry, so about three years while I was there,

14:07:03   3   so we were able to make good filters, BAW filters.

14:07:11   4   Q.     Were you able to determine whether or not the FBAR

14:07:15   5   resonator that you were seeking to develop had improved

14:07:22   6   performance over what you were comparing it to?

14:07:27   7   A.     Comparing --

14:07:28   8   Q.     You mentioned that you were seeking to develop an

14:07:31   9   improved FBAR filter, or resonator with improved

14:07:35 10    performance?

14:07:36 11    A.     Yes.

14:07:36 12    Q.     How were you able to measure that?

14:07:38 13    A.     Oh, so it was the performance we had at the

14:07:46 14    beginning, and so after three years, the resonator

14:07:50 15    performance was much better than when we started.

14:07:59 16    Q.     At the time that you were -- when did you begin

14:08:03 17    working on the BAW filter project at Semco?

14:08:07 18    A.     That's around 2013.

14:08:11 19    Q.     Did you have any understanding whether any of

14:08:16 20    Samsung's or Semco's competitors were also looking into BAW

14:08:22 21    filter development at that time?

14:08:25 22    A.     Yes, there is -- yeah, I heard some development from

14:08:33 23    Skyworks going on around the same time.         And yes, that's --

14:08:40 24    and a few other companies were trying to develop BAW.

14:08:45 25    Q.     Do you know whether or not Skyworks was ever able to
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                                        #: 41499                                1851
                                            Kim - direct

14:08:49   1   develop a BAW filter for production?

14:08:54   2   A.        So, I heard that Skyworks started developing before I

14:09:01   3   leave Semco that was, sorry, 2017 I left Semco, but a year

14:09:09   4   before.    So from that, from then they started developing in

14:09:14   5   about three, four years I heard that they sell those in

14:09:23   6   smartphones.

14:09:23   7   Q.        When did you leave Samsung or excuse me, Semco?

14:09:27   8   A.        That was 2017.

14:09:29   9   Q.        Why did you leave Semco?

14:09:32 10    A.        I wanted to have more work life balance, and then at

14:09:40 11    that point -- more like we had three daughters, I mean, we

14:09:45 12    had one more, so I wanted to spend more time.          And so --

14:09:51 13    which is hard in Korea, so was trying to move back to U.S.,

14:09:57 14    and I found Akoustis, which that provided me that chance.

14:10:04 15    Q.        What was your title at Akoustis when you arrived --

14:10:08 16    when did you arrive at Akoustis, do you recall?

14:10:10 17    A.        I arrived in February 2017.

14:10:15 18    Q.        And do you recall the title that you had when you

14:10:18 19    arrived?

14:10:18 20    A.        That was Senior Device Engineer.

14:10:22 21    Q.        Did you hold any other titles after you arrived?

14:10:26 22    A.        After that, I became Staff Device Engineer, and then

14:10:31 23    after a year or so, I became a manager as we hired more

14:10:38 24    device engineers, I became, or promoted to Manager of Device

14:10:44 25    Engineering.    Then after that, I promoted to Director of
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                                        #: 41500                                1852
                                            Kim - direct

14:10:50   1   Device Engineering.

14:10:50   2   Q.     And that's your current title, right?

14:10:52   3   A.     That is correct.

14:10:53   4   Q.     What were you assigned to do after starting work at

14:10:57   5   Akoustis?

14:10:58   6   A.     I was tasked to improve the performance of BAW

14:11:05   7   resonators.

14:11:05   8   Q.     To whom did you report?

14:11:12   9   A.     When I joined, I reported to Rama Vetury.

14:11:16 10    Q.     So you said that you were working on developing

14:11:23 11    resonators when you started.       Were you working on new

14:11:28 12    resonators, or ones that already existed?

14:11:31 13    A.     The ones that were already existing.          So when I

14:11:39 14    joined, we had a process we called cavity process, to

14:11:46 15    produce BAW resonators and BAW filters, so I was tasked to

14:11:53 16    improve the BAW resonator performance.         And to elevate yield

14:12:02 17    to -- using that process.

14:12:09 18    Q.     What did you understand needed to be improved

14:12:12 19    regarding the existing resonator design at Akoustis in 2017?

14:12:17 20    A.     So at that point, the coupling coefficient was good.

14:12:28 21    And quality factor was needed to improvement, but biggest

14:12:35 22    issue was yield that when you -- when we make these devices

14:12:43 23    or filters, on a six-inch wafer and there is like tens of

14:12:50 24    thousands of the devices and resonators, but only half of

14:12:57 25    them is working, and rest of it is not working because
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                                       #: 41501                                1853
                                           Kim - direct

14:13:02   1   something is broken or not.      So I was tasked to improve

14:13:07   2   that, and that was the biggest issue.

14:13:11   3   Q.     So what did you do to address the improvement in

14:13:16   4   performance of the existing resonator design?

14:13:20   5   A.     So, I tried to understand the process in detail, and

14:13:30   6   looked into how that affect the resonator performance and

14:13:34   7   also about use yield issues and tried to fix using,

14:13:43   8   improving cavity process.     It was really hard to think of

14:13:49   9   solution in that way.

14:13:52 10                 So I started to think about maybe we can do

14:13:57 11    something quite different, not -- start -- maybe I can come

14:14:05 12    up with a new idea or something quite different, new may

14:14:11 13    work better to take care of all the issues, so that what I

14:14:18 14    was doing.

14:14:18 15    Q.     What did you do along those lines?

14:14:20 16    A.     So I came up with a new process flow, so that's

14:14:28 17    called transfer process.     And it's to make a BAW resonator

14:14:35 18    and filters in a slightly different way.

14:14:39 19    Q.     How did you go about coming up with this new transfer

14:14:44 20    process?

14:14:46 21    A.     I'm sorry, you're asking --

14:14:50 22    Q.     Yeah, what were the tasks that you undertook to

14:14:53 23    develop this new transfer process?

14:14:56 24    A.     So, what I did is -- so, I came up with this idea,

14:15:02 25    and I -- so it was just an idea and then I started to put
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                                        #: 41502                                1854
                                            Kim - direct

14:15:08   1   together the whole process in a way that I can explain to

14:15:14   2   other engineers, my colleagues there in Akoustis.           And I

14:15:22   3   explained the new process and explained that this will solve

14:15:27   4   these other issues.     And then it became more -- more details

14:15:34   5   were added, and it actually became quite complete and

14:15:42   6   comprehensive process.

14:15:45   7   Q.     Now, did you work on this process by yourself?

14:15:51   8   A.     Initially the idea and like the whole -- I mean, the

14:15:55   9   outline I worked myself.      But soon after I shared my idea,

14:16:03 10    different -- I mean, my colleagues started to add ideas to

14:16:10 11    develop this new process.

14:16:11 12    Q.     Were there any particular colleagues with whom you

14:16:15 13    worked particularly closely?

14:16:17 14    A.     Yes.    So conveniently, Rama Vetury, my manager back

14:16:23 15    then, and Mary Winters.      Then so, the head of the Fab, added

14:16:36 16    a lot of ideas, details and also Jeff Shealy, CEO, added --

14:16:45 17    helped out making it more comprehensive and detailed.           And a

14:16:49 18    lot of process engineers also helped out to provide the

14:16:57 19    detail and solutions to process, to this new process.

14:17:01 20    Q.     When you say new process, you mean part of the

14:17:07 21    manufacturing process?

14:17:08 22    A.     Yes.

14:17:11 23    Q.     Did Akoustis, this transfer process about which you

14:17:16 24    have been speaking for the last few minutes, did Akoustis

14:17:20 25    adopt this process for making its resonators and filters?
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                                        #: 41503                                1855
                                            Kim - direct

14:17:23   1   A.     Yes.    Once -- so the process flow became very more

14:17:33   2   comprehensive, and then we started to actually do real

14:17:41   3   process, real wafers based on this new process.          And then we

14:17:45   4   started to get measured and then we measured a resonator,

14:17:52   5   BAW resonator performance and then filter performance and

14:17:58   6   yeah, it worked out well.

14:18:01   7   Q.     Let me introduce a new document before we go any

14:18:05   8   further.

14:18:26   9                  MR. ELKINS:   May I approach?

14:18:27 10                   THE COURT:    You may.

14:18:28 11                   MR. ELKINS:   Thank you.

14:18:41 12    BY MR. ELKINS:

14:18:46 13    Q.     Dr. Kim, what I have handed to you was previously

14:18:53 14    marked as exhibit DTX-562, it appears to be a presentation

14:19:01 15    entitled ALN transfer process with sacrificial layer.           Do

14:19:09 16    you recognize this document?

14:19:10 17    A.     Yes, I do recognize this.

14:19:11 18    Q.     Can you describe what it is?

14:19:17 19    A.     Oh, yes.     This explains the transfer process step by

14:19:23 20    step from the beginning to make the resonator, BAW

14:19:30 21    resonators work.     And yes, it is like a later version with

14:19:41 22    some modification already added to it.

14:19:45 23    Q.     Okay.

14:19:45 24                   MR. ELKINS:   Your Honor, we move what's been

14:19:47 25    marked as exhibit DTX-0562 into evidence.
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24   Page 1533 of 2283 PageID
                                          #: 41504                                1856
                                              Kim - direct

14:19:52   1                    THE COURT:   Marked without objection as 294.

14:19:59   2                    (Trial Exhibit No. 294 was admitted into

14:20:00   3   evidence.)

14:20:00   4   BY MR. ELKINS:

14:20:01   5   Q.       Did you create this presentation, Dr. Kim?

14:20:04   6   A.       Yes, I did.

14:20:06   7   Q.       Okay.     And could you please turn to slide 2, which is

14:20:16   8   page 2, I believe.

14:20:17   9   A.       Yes.

14:20:17 10    Q.       If we could -- there we go.        What is shown here?

14:20:23 11    A.       So this slide shows the overall process flow on the

14:20:29 12    right.   And on the left side it shows the update that is

14:20:37 13    what's changed from the original slide that was created

14:20:44 14    before this one, that was in this new updated version.

14:20:52 15    Q.       There is a reference in the title to XB1, what does

14:20:56 16    that mean?

14:20:57 17    A.       XB1 is the name that we assigned to this process

14:21:01 18    flow.    It's -- so transfer process, so it's with the cross,

14:21:08 19    that's X came from and XB1 is B is a BAW, so one means the

14:21:16 20    first version of this process flow we've developed.             And

14:21:24 21    we're now working in XB2 and XB3 and so on.

14:21:30 22    Q.       So you said that X stands for transfer, B stands for

14:21:34 23    BAW.    We've heard testimony in this case about XBAW.           What

14:21:38 24    is the difference between XB1 and XBAW?

14:21:43 25    A.       Well XBAW also means transfer process, BAW resonator
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                                        #: 41505                                  1857
                                            Kim - direct

14:21:49   1   with a transfer process, but then XB1 is just the first

14:21:54   2   version of the XBAW process.

14:21:57   3   Q.     When did Akoustis make its first resonators using the

14:22:04   4   XB1 process?

14:22:06   5   A.     That was -- I don't remember exact date or even

14:22:13   6   month, but it was around early 2018 or late 2017.

14:22:22   7   Q.     Okay.     And when did you undertake the process, you

14:22:25   8   know, you were thinking about how to improve the resonators.

14:22:29   9   When did that start?

14:22:32 10    A.     So I mean, yeah, so I -- as soon as I joined the

14:22:38 11    company, I started working on that.           But then this idea

14:22:42 12    about you know, new process, transfer process came about

14:22:48 13    around summer of 2017.

14:22:52 14    Q.     So it took from summer of 2017 until the end of 2017

14:22:57 15    or beginning of 2018 to actually be able to produce

14:23:01 16    resonators using the XB1 process?

14:23:04 17    A.     That is correct.

14:23:05 18    Q.     Okay.     Does Akoustis currently use the XB1 process?

14:23:10 19    A.     Yes.

14:23:10 20    Q.     Are you aware of any other company that makes BAW

14:23:16 21    filters using the transfer process that you call XB1?

14:23:20 22    A.     No, I don't know any other companies doing that.

14:23:23 23    Q.     Okay.     We can take that document down.

14:23:27 24                   I'm going to show you another document.

14:23:47 25                   MR. ELKINS:   May I approach, Your Honor?
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24   Page 1535 of 2283 PageID
                                       #: 41506                                1858
                                           Kim - direct

14:23:49   1                  THE COURT:   You may.

14:23:52   2   BY MR. ELKINS:

14:24:12   3   Q.     Dr. Kim, what I've handed you, and accidentally

14:24:17   4   handed to the Court, is a document that was marked as

14:24:21   5   PTX-0854, which I believe is already into evidence as Trial

14:24:29   6   Exhibit 239.

14:24:29   7                  Do you recognize this document?

14:24:31   8   A.     Yes, I do recognize this.

14:24:34   9   Q.     Please tell us what it is?

14:24:36 10    A.     This is XB1 design rule manual, basically explains

14:24:43 11    how to draw, layout to make, to produce these XBAW

14:24:52 12    resonators and filters following on that -- using XB1

14:24:58 13    process.

14:24:59 14    Q.     The very top right of this document on the first

14:25:03 15    page, there is a box that says status and under it, it says

14:25:08 16    rev B, what does that mean?

14:25:09 17    A.     That means this is revision B, as in after revision

14:25:18 18    A, so there is update compared to revision A, so this is the

14:25:21 19    updated one and we -- so this documentation would be revised

14:25:29 20    to C and D and so on.

14:25:32 21    Q.     Is the XB1 transfer process based on any of Samsung's

14:25:38 22    processes?

14:25:39 23    A.     No, not at all.

14:25:41 24    Q.     Did you, in the work that you performed to create the

14:25:46 25    XB1 process, did you use any confidential information from
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24   Page 1536 of 2283 PageID
                                      #: 41507                                1859
                                          Kim - direct

14:25:51   1   any other company?

14:25:53   2   A.     No, not at all.

14:25:55   3   Q.     Now, you're aware that Qorvo alleges that Akoustis

14:25:59   4   had confidential information belonging to Qorvo?

14:26:02   5   A.     Yes, I am aware of it.

14:26:04   6   Q.     Did you personally see anything that you believed to

14:26:10   7   be confidential information from Qorvo when creating the XB1

14:26:17   8   process?

14:26:17   9   A.     No, I didn't see any.

14:26:19 10    Q.     At the time that you created the XB1 process, were

14:26:23 11    you aware of any Qorvo documents that Akoustis possessed?

14:26:28 12    A.     No, I wasn't aware of that.

14:26:33 13    Q.     At the time that you were creating the XB1 process,

14:26:39 14    did you see any documents at Akoustis that were labeled with

14:26:42 15    a Qorvo confidential and proprietary label?

14:26:45 16    A.     No, I didn't see any.

14:26:48 17    Q.     Have you ever been aware of any other employee at

14:26:51 18    Akoustis attempting to acquire confidential information

14:26:54 19    belonging to Qorvo?

14:26:55 20    A.     No, I didn't know that.

14:26:58 21    Q.     You can take that down.

14:27:21 22                MR. ELKINS:    May I approach, Your Honor?

14:27:23 23                THE COURT:    You may.

14:27:40 24    BY MR. ELKINS:

14:27:41 25    Q.     Dr. Kim, what I have handed you has been marked for
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1537 of 2283 PageID
                                        #: 41508                                1860
                                            Kim - direct

14:27:45   1   identification as DTX-0988.       Do you recognize it?

14:27:52   2   A.        Yes, I do recognize it.

14:27:54   3   Q.        What is it?

14:27:56   4   A.        This is a granted patent for the XB1 process, or I

14:28:03   5   should say XBAW process.

14:28:06   6   Q.        And you're one of the inventors of that patent?

14:28:09   7   A.        Yes, I am.

14:28:10   8                  MR. ELKINS:   Your Honor, we move to admit

14:28:12   9   exhibit DTX-0988 into evidence.

14:28:18 10                   THE COURT:    All right.   It can be marked as

14:28:25 11    Exhibit 290.

14:28:26 12                   (Trial Exhibit No. 290 was admitted into

14:28:29 13    evidence.)

14:28:29 14    BY MR. ELKINS:

14:28:29 15    Q.        To whom is this patent assigned, Dr. Kim?

14:28:33 16    A.        It is Akoustis, Incorporated.

14:28:36 17    Q.        And who are the other inventors identified in the

14:28:40 18    patent besides yourself?

14:28:42 19    A.        There is Mary Winters and Rama Vetury, and Jeff

14:28:52 20    Shealy.

14:28:53 21    Q.        And those were the people that you identified earlier

14:28:57 22    in terms of the ones who were of particular help in

14:29:03 23    developing the XB1 process with you?

14:29:05 24    A.        Yes, that is correct.

14:29:14 25    Q.        You can take that down.    Thank you.
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                                        #: 41509                                1861
                                            Kim - direct

14:30:11   1                 MR. ELKINS:    May I approach, Your Honor?

14:30:13   2                 THE COURT:    You may.

14:30:28   3   BY MR. ELKINS:

14:30:35   4   Q.     For efficiency sake, Dr. Kim, I have handed you three

14:30:39   5   documents that I'm going to question you about in quick

14:30:42   6   succession.    To save time, I've brought them all up.

14:30:46   7                 Can you please turn your attention to the

14:30:50   8   document, the presentation that is marked as -- for

14:30:55   9   identification as DTX-0590, a presentation called activation

14:31:02 10    energy updates.

14:31:04 11    A.     Yes.

14:31:06 12    Q.     Do you recognize this document?

14:31:07 13    A.     Yes.    I do.

14:31:12 14    Q.     What is it?

14:31:12 15    A.     This is a slide and report showing the property of

14:31:20 16    reliability test of our BAW filters relating to how long it

14:31:28 17    will last to performing as with the performance.

14:31:35 18    Q.     Does the presentation also discuss a particular type

14:31:39 19    of software tool that you use?

14:31:41 20    A.     Yes.

14:31:42 21    Q.     What is that software tool?

14:31:45 22    A.     That is junk file, junk software.

14:31:55 23    Q.     Is that software that Akoustis developed on its own?

14:31:59 24    A.     No, we purchased it.

14:32:01 25    Q.     A third-party software?
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                                           #: 41510                                1862
                                               Kim - direct

14:32:04   1   A.        Yes.

14:32:05   2                    MR. ELKINS:    Your Honor, we move to admit

14:32:07   3   exhibit DTX-0590 into evidence.

14:32:11   4                    THE COURT:    Marked and received as 297.

14:32:16   5                    (Trial Exhibit No. 297 was admitted into

14:32:16   6   evidence.)

14:32:16   7   BY MR. ELKINS:

14:32:17   8   Q.        Let's go the next document that I handed you,

14:32:20   9   Dr. Kim, it's an Akoustis corporate presentation dated

14:32:26 10    April 2017.       It is marked for identification as DTX-0591.

14:32:33 11    Do you recognize it?

14:32:33 12    A.        Yes.

14:32:33 13    Q.        What is it?

14:32:34 14    A.        It's a corporate presentation at that time and

14:32:41 15    showing the filter tool to create resonators in different

14:32:49 16    shapes.

14:32:51 17    Q.        And is this a software tool that's also a third-party

14:32:56 18    tool?

14:32:57 19    A.        No, this identified the software tool as yoga, and it

14:33:03 20    is developed by one of my -- one of our colleagues, you

14:33:09 21    know, by ourselves.

14:33:11 22                     MR. ELKINS:    Your Honor, we move to admit what

14:33:13 23    was marked as DTX-0591 into evidence.

14:33:18 24                     THE COURT:    Received as 297.

14:33:22 25                     (Trial Exhibit No. 297 was admitted into
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24    Page 1540 of 2283 PageID
                                        #: 41511                                 1863
                                            Kim - direct

14:33:23   1   evidence.)

14:33:23   2   BY MR. ELKINS:

14:33:24   3   Q.     And just for a brief second, Mr. Brown, if you have

14:33:29   4   that, do you have that?      This is DTX-0591.      And if we could

14:33:36   5   just go to page, the second slide, please.

14:33:42   6                  And just focus in, Dr. Kim can you describe at a

14:33:47   7   very, very high level what we're seeing here?

14:33:52   8   A.     So this just shows the interface set up in the -- to

14:33:58   9   create the shapes identified on the right, labeled as

14:34:05 10    output, so you put some numbers and options on the tool and

14:34:11 11    you can see under resonator tool in the middle and click the

14:34:17 12    button, then it will create that shape.

14:34:21 13    Q.     Okay.     We can take that down.       Thank you.

14:34:24 14                   And then the third document that I handed you is

14:34:28 15    marked JTX-0013 for identification.

14:34:34 16                   Do you have that in front of you?

14:34:37 17    A.     Yes, I do.

14:34:38 18    Q.     What is it?

14:34:39 19    A.     This is what we call route and it's a detailed

14:34:47 20    process steps to create XBAW resonators and filters.

14:34:54 21    Q.     I'm sorry, the word that you used first, I had

14:34:58 22    trouble hearing you, did you say route?

14:35:00 23    A.     Yes.

14:35:00 24    Q.     R-O-U-T-E?

14:35:02 25    A.     That is correct.
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24   Page 1541 of 2283 PageID
                                         #: 41512                                1864
                                             Kim - direct

14:35:03   1   Q.      Okay.     And who uses this document that's marked

14:35:11   2   JTX-0013?

14:35:14   3   A.      Our process engineers.

14:35:18   4   Q.      And those are the process engineers at the New York

14:35:21   5   Fab?

14:35:22   6   A.      Yes, correct.

14:35:23   7                   MR. ELKINS:   Your Honor, we move to admit

14:35:25   8   JTX-0013 into evidence.

14:35:28   9                   THE COURT:    Marked and received as 298.

14:35:31 10                    (Trial Exhibit No. 298 was admitted into

14:35:32 11    evidence.)

14:35:32 12    BY MR. ELKINS:

14:35:35 13    Q.      Okay.     I would like to take you back, Dr. Kim, to

14:35:44 14    what we were looking at a short time ago, which was Trial

14:35:53 15    Exhibit 239.     It's marked as PTX-0854, I believe you called

14:35:57 16    it the XB1 design rule manual?

14:36:01 17    A.      Yes.

14:36:02 18    Q.      And if we could go to page 3 of the PDF which is

14:36:11 19    entitled -- which is slide 2 of 2 -- 2 of 27.           Do you

14:36:18 20    recognize what is depicted here under the heading process

14:36:23 21    flow?

14:36:23 22    A.      Yes.

14:36:24 23    Q.      What does that show?

14:36:25 24    A.      It shows steps to -- steps of XB1 process, in the

14:36:36 25    cross-section drawing.
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24   Page 1542 of 2283 PageID
                                         #: 41513                                1865
                                             Kim - direct

14:36:38   1   Q.      Okay.     And if we could go to the next -- not the next

14:36:46   2   page, the page after that.       Page 4 of 27.     There you are.

14:36:50   3   If we could blow that up nice.

14:36:52   4                   This appears to -- there is an 8.9 release and

14:36:58   5   final structure heading.       Can you explain what that means

14:37:02   6   and what the drawing is underneath of it?

14:37:04   7   A.      So this is a cross-section of a single BAW resonator

14:37:11   8   created with the XB1 process.        And in the middle part, you

14:37:18   9   can see like a white area, that's an air cavity, and then

14:37:24 10    right above it is the blue part is passivation and right

14:37:36 11    above it is brown colored layer is electrode, we call it

14:37:40 12    back side electrode, and then above it the blue layer is

14:37:46 13    piezoelectric layer, and then above it is another brown

14:37:52 14    layer that's another electrode we call front side electrode.

14:37:58 15    And then above it is front side passivation, that blue layer

14:38:05 16    right above that.      So those layers form BAW resonators, so

14:38:12 17    with the air cavity below, it resonates with the high

14:38:18 18    quality vector as the desired frequencies.

14:38:22 19    Q.      So just to ensure that we understand, the dark blue

14:38:27 20    band?

14:38:28 21    A.      Yes.

14:38:28 22    Q.      That's the piezoelectric layer?

14:38:30 23    A.      Yes.

14:38:32 24    Q.      And the light blue below it and above it, that's the

14:38:39 25    passivation layer?
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                                      #: 41514                                1866
                                          Kim - direct

14:38:40   1   A.     That is correct.

14:38:43   2   Q.     So I am going to ask you to very brief -- I

14:38:49   3   understand that this is probably easy for you to understand,

14:38:53   4   but it's a little bit more difficult for history majors like

14:38:59   5   me and perhaps others who aren't -- don't have the same kind

14:39:03   6   of physics background that you do.      Could you at a very high

14:39:09   7   level simply explain what is the difference made by the XB1

14:39:17   8   transfer process?

14:39:19   9   A.     So, the XB1 process, a key is to allow the backside

14:39:29 10    structure, the bottom part of the lower part of the brown

14:39:36 11    layer, and the air cavity formation in the beginning of the

14:39:42 12    process, and then afterwards we transfer those core

14:39:51 13    structure to a carrier substrate, and this -- the green

14:39:56 14    layer at the bottom of this diagram is what the carrier

14:40:01 15    substrate that the structure is bonded to.       And then we move

14:40:11 16    -- we move the original substrate that we grow the

14:40:16 17    protectional layer over and then form the front side

14:40:19 18    structure on top.

14:40:21 19                   So two things, the XB1 achieved critical -- is

14:40:31 20    that we achieved that piezoelectric layer straight flat and

14:40:40 21    continuous without any ups and downs that may degrade the

14:40:45 22    performance.

14:40:46 23                   And then we also, this XB1 process allows very

14:40:52 24    precise control in the, forming the structures on the back

14:40:58 25    side depicted here, the backside electrode and the cavity,
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24   Page 1544 of 2283 PageID
                                         #: 41515                                1867
                                             Kim - direct

14:41:03   1   and also very precise control on the frontside electrode and

14:41:08   2   the frontside structures.       So that -- with that we achieved

14:41:12   3   high quality and good yield.

14:41:19   4   Q.      Mr. Brown, could we advance to page 25 of this

14:41:23   5   exhibit which is marked on the slide as page 24 of 27.             I

14:41:30   6   think it's the next page is where we want to go.           There we

14:41:39   7   go.

14:41:39   8                  Dr. Kim, this page Trial Exhibit 239, PTX-0854,

14:41:52   9   the heading here says ten resonator shapes and under it is a

14:41:58 10    box with a bunch of shapes.

14:42:00 11    A.      Yes.

14:42:00 12    Q.      What is this page describing?

14:42:03 13    A.      These are the typical shapes of our BAW resonators

14:42:09 14    that some of it we use our BAW filters and some of it we use

14:42:14 15    just for R & D purposes.

14:42:16 16    Q.      What is a resonator shape?

14:42:17 17    A.      It's just how the resonator looks like when it's seen

14:42:23 18    right above it.      So different -- we try use different shapes

14:42:29 19    to optimize the performance of BAW resonators in a certain

14:42:35 20    way.

14:42:35 21    Q.      Did you design any of the resonator shapes shown

14:42:38 22    here?

14:42:38 23    A.      Yeah, I designed what's listed on the right column,

14:42:48 24    QA, QB, QC and QD.

14:42:52 25    Q.      Did other of your colleagues at Akoustis design the
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24   Page 1545 of 2283 PageID
                                         #: 41516                                1868
                                             Kim - direct

14:42:55   1   other resonator shapes that we're seeing on this particular

14:42:59   2   page?

14:42:59   3   A.      Yes.    The GCB shape on the top and GE shape on the

14:43:03   4   top and all the other GE with the numbers, those are

14:43:08   5   designed by my colleagues.       And the ones on the left are --

14:43:16   6   it's common shape that's either ellipse or rectangle or

14:43:25   7   round are simple shapes.

14:43:26   8   Q.      We can take that down.       Are you familiar with

14:43:31   9   something called scandium?

14:43:33 10    A.      Yes.

14:43:33 11    Q.      What is scandium?

14:43:35 12    A.      Scandium is one of the rare Earth elements, metal,

14:43:42 13    and it's used in an alloy with aluminum, because it has the

14:43:50 14    same ionic balance with aluminum metal.          So because of that

14:43:56 15    reason, scandium is added to other nitride to make BAW

14:44:02 16    filters perform better.

14:44:03 17    Q.      Does Akoustis use scandium?

14:44:06 18    A.      Yes, we use scandium.

14:44:08 19    Q.      In what way is it used?

14:44:10 20    A.      So, while we use -- we add -- sorry, we add scandium

14:44:18 21    in aluminum nitride so it becomes aluminum scandium nitride

14:44:25 22    and that's that dark blue layer in the center, in the middle

14:44:29 23    of the cross-section.       That, and that improves the

14:44:33 24    piezoelectric property of the material that is -- that leads

14:44:38 25    to bigger coupling coefficient and means wider bandwidth for
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 1546 of 2283 PageID
                                           #: 41517                                1869
                                               Kim - direct

14:44:45   1   the RF BAW filter.        And then again that means faster

14:44:49   2   download or upload speed for the product that it uses.               So

14:44:55   3   we use that, yes.

14:44:57   4   Q.        Is the use of scandium widely known in the industry?

14:45:02   5   A.        Yes, it is very widely known.

14:45:05   6   Q.        It's not something that Akoustis invented, correct?

14:45:11   7   A.        That is correct.      It was known by that time quite

14:45:17   8   widely.

14:45:18   9   Q.        Okay.     Now earlier you testified that the XB1 design

14:45:24 10    and process was intended to improve manufacturing yield?

14:45:28 11    A.        Yes.

14:45:29 12    Q.        And improve device performance.         What differences

14:45:33 13    have you seen as the Director of Device Engineering in yield

14:45:41 14    as between the XB1 products and the cavity products that

14:45:48 15    came before it?

14:45:49 16    A.        It's very big difference.       We had sometimes very low

14:45:55 17    yields with cavity process, below fifty percent.             But we are

14:46:01 18    getting consistently very high yields, above high

14:46:06 19    ninety percent yields with XB1 process.

14:46:09 20    Q.        Have you seen any improvements in the performance of

14:46:16 21    the device itself?

14:46:18 22    A.        Yes.    We do achieve a better -- I mean, the quantity

14:46:27 23    factor with the XB1 process because we can make the front

14:46:32 24    side and back side structures the way we want to, and very

14:46:36 25    accurately, so we achieve better performance in that way.
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1547 of 2283 PageID
                                        #: 41518                                1870
                                            Kim - direct

14:46:40   1   Q.      Earlier I asked you -- earlier you testified that

14:46:46   2   epitaxial means single crystal.       And what is the difference

14:46:53   3   between epitaxial and polycrystalline?

14:46:58   4   A.      It's how the crystalline structure aligns in the same

14:47:03   5   filament.   Then I have to -- if I -- if I have to explain.

14:47:08   6   So you can think of aluminum nitride as a stack of eggs in

14:47:16   7   the big egg carton, so you can think of white eggs aluminum,

14:47:22   8   but then you, let's say you put the yellow eggs on top of

14:47:27   9   it, that's nitride.     So then aluminum nitride would be a

14:47:32 10    white yellow, white yellow, and you put a big stack like

14:47:36 11    that.   That's what we call grain of aluminum nitride, one

14:47:41 12    piece, very small crystal.      And if you imagine you can --

14:47:45 13    you have a whole floor of that stack, but then you can align

14:47:51 14    them, all those stacks perfectly aligned, like this

14:47:55 15    direction and that direction for the whole floor, that will

14:47:59 16    be aligned.    But in polycrystalline filling, what you have,

14:48:06 17    is you have the same stack of eggs, yellow and white the

14:48:11 18    same way and the whole floor, but each of the stack is

14:48:13 19    aligned, misaligned, so one stack is aligned like this way

14:48:17 20    and next to it, the one next to it is the skewed, and then

14:48:21 21    another one, like entitled so it kind of random, so that's

14:48:27 22    polycrystalline filling.

14:48:31 23    Q.      In connection with the use of an aluminum nitride or

14:48:36 24    aluminum scandium nitride thin film used for an epitaxial

14:48:42 25    layer, is there any difference between using single crystal
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1548 of 2283 PageID
                                        #: 41519                                1871
                                            Kim - direct

14:48:46   1   or epitaxial versus using polycrystalline?

14:48:52   2   A.     Well, for the difference -- so before I go into the

14:48:57   3   difference.    So we're talking about same stack of eggs,

14:49:01   4   they're the same thing.      So piezoelectric property and the

14:49:06   5   poly factor is mostly the same or similar, very close, but

14:49:11   6   what we saw are the big difference is the how to achieve

14:49:20   7   propagates within the piezoelectric, that aluminum nitride

14:49:25   8   filling, so that leads to higher, a better high power

14:49:29   9   performance for -- especially from the more single

14:49:34 10    crystalline filling, because heat dissipates faster within a

14:49:41 11    filling, everything aligns, the heat goes out faster around.

14:49:45 12    So that's what we mainly see as a difference, I'm sorry.

14:49:52 13    Q.     Okay.     So I want to ask you, I want to change topics

14:49:57 14    right now, Dr. Kim, and ask you about trimming, about which

14:50:02 15    you haven't been around, but we've heard a lot about it in

14:50:06 16    this case.

14:50:06 17                   As part of your work at Samsung and Akoustis,

14:50:10 18    have you gained any familiarity with trimming?

14:50:14 19    A.     Yes.    I am familiar with -- I was familiar with

14:50:23 20    trimming back in Semco.      There I was -- so device engineers

14:50:34 21    calculate each layer's thickness to make the product, so we

14:50:40 22    also provided how much to remove during the trim to get the

14:50:46 23    target frequencies.

14:50:49 24    Q.     Okay.     Can you explain -- I mean, what is the

14:50:53 25    relationship between the thickness of certain layers and
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24   Page 1549 of 2283 PageID
                                      #: 41520                                1872
                                          Kim - direct

14:51:00   1   frequencies of BAW filters?

14:51:02   2   A.     So like BAW filters is like layers, so you kind of

14:51:08   3   like -- you have different layers like stacked like this.

14:51:11   4   So then the thickness basically determines the frequency.

14:51:16   5   So you have more thickness, thicker stacks, the frequency

14:51:21   6   goes down, if the you have thin, frequency goes up.         So you

14:51:24   7   move like certain layers make it thinner, then the frequency

14:51:29   8   goes up, so that's the trim.

14:51:49   9   Q.     Did Akoustis develop a trimming process for use in

14:51:54 10    processing its XB1 filters or resonators?

14:52:05 11    A.     Yes, we developed a trim process, yes.

14:52:09 12    Q.     Okay.    And what, if anything, did you do in that

14:52:19 13    process?

14:52:22 14    A.     So first I explained about what -- how trim works and

14:52:30 15    why we need trim, and then put together the process steps

14:52:35 16    that we need to complete the trim.      So there is -- so trim

14:52:42 17    we do -- I mean, so we learn trim a few times, not just one

14:52:51 18    different, but few trim cycles to get exact target.

14:52:56 19                   So it's like you start when you like make

14:53:02 20    something with wood or you know, carpentry to make some

14:53:06 21    furniture or something, you cut it a little bigger and then

14:53:10 22    sand it down to make exact fit, but you do it like few

14:53:14 23    different times and then check it and then do another time

14:53:18 24    and check it, so we also do few trims to get the exact

14:53:24 25    frequencies right.    So then that sequence, what to do
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24   Page 1550 of 2283 PageID
                                       #: 41521                                1873
                                           Kim - direct

14:53:28   1   exactly one after another is like, yeah, I worked together

14:53:32   2   with to develop that.

14:53:47   3                    MR. ELKINS:   May I approach the witness, Your

14:53:49   4   Honor?

14:53:49   5                    THE COURT:    You may.

14:54:05   6   BY MR. ELKINS:

14:54:13   7   Q.       Dr. Kim, I've handed you two exhibits.       Let's look at

14:54:17   8   the first one I've handed you, it's marked as PTX-0452.

14:54:22   9   It's been admitted into evidence in this case as Trial

14:54:26 10    Exhibit 123.

14:54:27 11                     Do you recognize this e-mail?

14:54:30 12    A.       Yes, I do.

14:54:33 13    Q.       What is it?

14:54:34 14    A.       So this is on top an e-mail from J.B., J.B. Kwon, but

14:54:45 15    we just called him J.B., saying -- so sharing his -- his

14:54:54 16    idea on the trim, that as he says, how Qorvo gets trim

14:55:01 17    sensitivity data.

14:55:03 18    Q.       And this e-mail appears to be dated in July, or the

14:55:09 19    end of July of 2017.      Where were you in developing the XB1

14:55:13 20    process at this point?

14:55:15 21    A.       So this is -- so after I came up with the XB1 idea

14:55:26 22    about how to make those resonators, BAW resonators.

14:55:35 23    Q.       Okay.    Did you know from the information in the

14:55:41 24    e-mail whether -- what Mr. Kwon, or Dr. Kwon was sending you

14:55:45 25    was confidential information?
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 1551 of 2283 PageID
                                           #: 41522                                1874
                                               Kim - direct

14:55:47   1   A.        No, I didn't know it was confidential.

14:55:50   2   Q.        Let's take a look at the attachment to that e-mail,

14:55:56   3   which was marked as PTX-453, and is Trial Exhibit 12.

14:56:11   4                     Do you recognize this document as what was

14:56:15   5   attached to Dr. Kwon's e-mail?

14:56:18   6   A.        Yes.

14:56:18   7   Q.        And can you -- let's move to the next page, page 2.

14:56:24   8   Can you briefly describe what is shown on this page?

14:56:27   9   A.        This shows the steps to calculate sensitivity, trim

14:56:35 10    sensitivity for silicone nitride trims.

14:56:43 11

14:56:52 12


14:57:00 13


14:57:08 14


14:57:13 15                                                                           .

14:57:19 16    Q.        Okay.     When you saw this document that Dr. Kwon sent

14:57:23 17    you, did you -- were you aware of whether this was

14:57:29 18    confidential information belonging to Qorvo?

14:57:31 19    A.        I didn't -- I was not aware of that.

14:57:35 20    Q.        Okay.     Well, doesn't this document appear to

14:57:41 21    communicate information that would be unknown to other

14:57:46 22    people?

14:57:47 23    A.        No, I saw it, I think it was -- I should say, I

14:57:54 24    thought it was obvious

14:58:04 25
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24   Page 1552 of 2283 PageID
                                      #: 41523                                1875
                                          Kim - direct

14:58:12   1

14:58:19   2               so I didn't think it was a significant to work

14:58:27   3   out simple thing.

14:58:28   4   Q.     Okay.    What does it mean to probe a device?

14:58:32   5   A.     That means doing RF measurement or electrical

14:58:39   6   measurement.

14:58:40   7   Q.     And couldn't you have used this flow here that is

14:58:48   8   shown on page 2 of Trial Exhibit 12, and simply copied that

14:58:55   9   process to use for the XBAW process at Akoustis?

14:58:59 10    A.     No, I could not use this for XBAW process because

14:59:06 11    XBAW process is a FBAR process, which needs air cavity below

14:59:13 12    the resonator, the white, the white area in the diagram.          So

14:59:18 13    to get, to do electrical measurement for FBAR, you need that

14:59:24 14    area cleared out with the air, but we start the process with

14:59:29 15    some material filled in and we remove that material in that

14:59:37 16    cavity, in that area that's going to be air cavity as the

14:59:42 17    final step, then we do the trim.

14:59:45 18                   So we can only do the one -- we can only probe

14:59:52 19    or do electrical measurement after silicone nitride

14:59:57 20    deposition which would be the -- which will be given to the

15:00:02 21    right one on the top right corner here.       So we don't have

15:00:06 22    that -- we cannot probe the first one, so this whole routine

15:00:15 23    idea doesn't work for FBAR or for sure our XB1 process.

15:00:20 24                   And also, I skipped on the -- what is in the red

15:00:27 25    rectangle is the how to get very accurate silicone nitride
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24     Page 1553 of 2283 PageID
                                       #: 41524                                  1876
                                           Kim - direct

15:00:35   1   thickness over the wafer, but we had -- we used optical tool

15:00:41   2   to measure silicone nitride thickness, and it was not

15:00:46   3   necessary to do anything like this for us,

15:00:50   4                                                in the gray box here,

15:01:01   5   depicted in the gray box here, so we didn't have the proper

15:01:06   6   tool to do that.    So this thing wasn't for us.         We couldn't

15:01:14   7   -- not that we couldn't do it, this in principle or in

15:01:18   8   theory, this doesn't fit with FBAR process.

15:01:22   9   Q.       So would information about Qorvo's SMR trimming

15:01:27 10    process have been helpful to Akoustis in developing its FBAR

15:01:31 11    trimming process?

15:01:31 12    A.       Not at all.

15:01:33 13    Q.       I understand you prepared a demonstrative to help the

15:01:39 14    jury in your explanation of the differences between

15:01:42 15    Akoustis's trimming process and Qorvo's trimming process?

15:01:45 16    A.       I did, yes.

15:01:47 17    Q.       May we please have DDX-1.    Let's go to the next

15:01:58 18    slide.   This looks familiar.     You have just explained what's

15:02:01 19    going on here.    So let's move to DDX-2.

15:02:08 20                  First, Dr. Kim, what are we looking at?

15:02:20 21    A.       This is the whole flow of our trim process, and it

15:02:25 22    start, the trim process start after release, so the XB1

15:02:31 23    process, and then the processing will finish after release

15:02:37 24    point and then we start trim process.         So then it shows

15:02:47 25
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24   Page 1554 of 2283 PageID
                                      #: 41525                                1877
                                          Kim - direct

15:02:52   1

15:02:57   2

15:03:00   3

15:03:02   4                  And then with that information,

15:03:04   5

15:03:12   6

15:03:15   7

15:03:23   8

15:03:27   9

15:03:30 10                                                           .

15:03:35 11

15:03:41 12


15:03:44 13


15:03:54 14


15:03:55 15    Q.     Okay.    And the reason you use                          , is

15:03:58 16    that because the method of manufacturing an FBAR device does

15:04:04 17    not allow for probing the device before the silicone nitride

15:04:11 18    passivation layer is added?

15:04:13 19    A.     Yes, that is correct.

15:04:16 20    Q.     Does Akoustis's trimming process as depicted in

15:04:21 21    DDX-1.02 include information adopted from Qorvo's flow

15:04:26 22    diagram that we looked at?

15:04:28 23    A.     No, it is not.

15:04:30 24    Q.     Can we move to DDX-1.03?

15:04:34 25                   So this is a side-by-side comparison of the last
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1555 of 2283 PageID
                                        #: 41526                                1878
                                            Kim - direct

15:04:39   1   two slides.    Can you -- can you tell us what's -- what the

15:04:46   2   similarities are, what the differences are between the two?

15:04:53   3   A.     Sorry, can you repeat the question?

15:04:55   4   Q.     Sure.     Sure.

15:04:57   5                  So this is a side-by-side comparison of the

15:05:00   6   Akoustis trimming process on the right and the Qorvo process

15:05:05   7   on the left?

15:05:06   8   A.     Yes, that is correct.

15:05:08   9   Q.     Okay.     Can you give us a few examples of what's

15:05:13 10    different between them?

15:05:14 11    A.     So, the main difference is in Qorvo's flow,

15:05:21 12


15:05:26 13


15:05:29 14


15:05:30 15                   But in our process, we cannot do that, not that

15:05:36 16    we, you know, because of the difference between FBAR and

15:05:41 17    SMR, we only have one measurement, so then we -- so we

15:05:49 18

15:05:53 19                                        , and then do the trim for

15:06:00 20    that wafer.    And then we can calculate sensitivity

15:06:06 21


15:06:12 22                   So then we feed

15:06:18 23                                              So it's showing the

15:06:22 24    difference between these two trim steps and flow.

15:06:29 25    Q.     Okay.     Let's go to the next slide, please.
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1556 of 2283 PageID
                                        #: 41527                                1879
                                            Kim - direct

15:06:37   1                     What are we looking at here in slide DDX-1.04?

15:06:45   2   A.        So this is the formula that calculate sensitivity

15:06:52   3   from the Qorvo, I believe this is copied from the previous

15:06:57   4   slide, so this formula just blown up.         And then the bottom,

15:07:04   5   the formula that we use at Akoustis to calculate the

15:07:11   6   sensitivity.

15:07:12   7   Q.        There was testimony earlier in this-- early in this

15:07:18   8   trial that Qorvo's trim sensitivity algorithm which is on

15:07:23   9   the top took a very long time to develop.         Does that seem

15:07:27 10    right to you?

15:07:30 11    A.        I mean, but it's quite simple flow, so not sure about

15:07:41 12    that.

15:07:42 13    Q.        Okay.    And how long did it take -- are you the one

15:07:46 14    who developed the Akoustis trim sensitivity formula on the

15:07:50 15    bottom?

15:07:51 16    A.        Yes, I worked out this formula

15:07:55 17

15:08:01 18

15:08:08 19


15:08:14 20


15:08:19 21                                     So I need -- so if you would

15:08:23 22    notice

15:08:28 23


15:08:33 24                                                              .   And

15:08:39 25    this is easier to just to calculate on our part
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24   Page 1557 of 2283 PageID
                                       #: 41528                                1880
                                           Kim - cross

15:08:48   1                                                                  so

15:08:52   2   that's how it's decided.

15:08:55   3   Q.     Did you use any part of the presentation that

15:09:02   4   Dr. Kwon sent you?    And if we could maybe back up to the

15:09:11   5   slide, Mr. Brown, with the Qorvo presentation.         Maybe we can

15:09:16   6   use the next one.

15:09:19   7                  Did you use any part of this including the

15:09:21   8   algorithm shown in the larger light green box on the bottom

15:09:25   9   in determining the sensitivity algorithm for Akoustis?

15:09:34 10    A.     No.   I didn't use information in here, but at that

15:09:39 11    time I was aware of how trim works, and how the sensitivity

15:09:44 12    can be calculated from same idea from Semco.

15:09:52 13    Q.     Okay.    And so in the end, is Qorvo's trimming

15:09:58 14    information applicable to Akoustis's XB1 process at all?

15:10:02 15    A.     No, it is not applicable.

15:10:06 16                   MR. ELKINS:   Those are all the questions I have.

15:10:08 17    I pass the witness.

15:10:10 18                   THE COURT:    Cross-examination.

15:10:20 19                        CROSS-EXAMINATION

15:10:23 20    BY MR. MASTERS:

15:10:38 21    Q.     Good afternoon, Dr. Kim.

15:10:39 22    A.     Good afternoon.

15:10:41 23    Q.     I have a few questions for you.

15:10:46 24                   So the first time you came across BAW filters

15:10:50 25    was when you were working for Semco?
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                                              Kim - cross

15:10:52   1   A.       That's correct.

15:10:54   2   Q.       And in Korea you were joined with a team to develop

15:10:59   3   BAW filters; correct?

15:10:59   4   A.       Yes, that is correct.

15:11:00   5   Q.       And it wasn't Samsung's first try to develop BAW

15:11:05   6   filters; correct?

15:11:06   7   A.       You mean Samsung -- so yes, there is a few different

15:11:11   8   companies in Samsung, so they were part of-- parts of

15:11:16   9   Samsung.

15:11:16 10    Q.       Samsung Electronics and Semco are closely related

15:11:21 11    companies, correct, they're under the Samsung umbrella,

15:11:25 12    correct?

15:11:25 13    A.       That is correct.

15:11:26 14    Q.       And in early 2000's, 2003, 2005, Samsung tried to

15:11:31 15    develop a BAW filter but they gave up on that research,

15:11:35 16    correct?

15:11:35 17    A.       That's what I heard.

15:11:36 18    Q.       Okay.     And then your team, or you were joined with

15:11:40 19    another team with Semco in 2013 to about 2017; is that

15:11:46 20    right?

15:11:46 21    A.       Yes, that's -- yes, from 2013.

15:11:50 22    Q.       Summer of 2013, right?

15:11:52 23    A.       Yes.

15:11:53 24    Q.       And you had other jobs at the time, too, you were

15:11:56 25    working on other projects until about the summer of 2014;
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                                              Kim - cross

15:12:00   1   right?

15:12:02   2   A.       I do not recall the exact dates, but something, yeah,

15:12:08   3   around that time.

15:12:09   4   Q.       So you and your -- but you and the team at Semco were

15:12:14   5   trying to develop a BAW filter in Korea?

15:12:18   6   A.       Yes.

15:12:18   7   Q.       And you were working on ways to improve the

15:12:26   8   performance of FBAR resonators, right?

15:12:29   9   A.       Yes.

15:12:31 10    Q.       And the resonator that you were working on never went

15:12:35 11    to commercial product; correct?

15:12:37 12    A.       That is correct.      But the performance was really

15:12:41 13    good.    It just that the measurements weren't to sell to the

15:12:49 14    Samsung Electronics, going in their flagship smartphone,

15:12:57 15    competing with the best resonator at that time, I mean, now

15:13:02 16    same in a way, that produced by Avago, now is Broadcom.              So

15:13:09 17    the resonators, the filters were quite good, enough to sell

15:13:14 18    in some other market but they weren't the fastest, so it was

15:13:20 19    not.

15:13:20 20    Q.       But Semco never ended up commercializing the BAW

15:13:25 21    filter you were working on, correct?

15:13:26 22    A.       That's correct.

15:13:28 23    Q.       Would Samsung make its technology development process

15:13:33 24    publicly available?

15:13:35 25    A.       I'm not sure what you mean.
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                                            Kim - cross

15:13:38   1   Q.     Well, would Semco publish technical designs of the

15:13:44   2   BAW filter that you were working on?

15:13:46   3   A.     So, we had some publications and some patent that

15:13:55   4   were published.

15:13:56   5   Q.     Did you have any trade secrets back in Semco on your

15:14:00   6   filter designs?

15:14:01   7   A.     Can you specify, specify which part of the design, or

15:14:05   8   which part.

15:14:06   9   Q.     Any part of the BAW filter that you were working on

15:14:10 10    at Semco?

15:14:11 11    A.     So the Sem -- the BAW filter in Semco had a trade

15:14:18 12    secret from other companies.

15:14:19 13    Q.     Not of other companies, of its own that you developed

15:14:22 14    while there?

15:14:22 15    A.     Yes, some of it is -- would be considered as trade

15:14:26 16    secret, I think.

15:14:27 17    Q.     And was Semco willing to publish those trade secrets

15:14:31 18    to others?

15:14:33 19    A.     No.

15:14:34 20    Q.     Okay.     Now, I believe you joined Akoustis in about

15:14:39 21    February of 2017; correct?

15:14:42 22    A.     February, yes, that would be correct.

15:14:46 23    Q.     And you had first reported to Rama Vetury?

15:14:50 24    A.     Yes, that is correct.

15:14:52 25    Q.     And then you later reported to Rohan Houlden, is that
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                                            Kim - cross

15:14:57   1   correct?

15:14:57   2   A.     Yes, that is correct.

15:14:59   3   Q.     And he was the Vice-President of Device Engineering?

15:15:04   4   A.     Rohan, you mean?

15:15:05   5   Q.     Yes.

15:15:06   6   A.     No, I think he was -- his title was different, it's

15:15:10   7   more like product.

15:15:11   8   Q.     Chief Product Officer?

15:15:12   9   A.     Chief Product Officer, yes.

15:15:14 10    Q.     I'm sorry, I missed you.

15:15:15 11    A.     Chief Product Officer.

15:15:17 12    Q.     Thank you.

15:15:17 13    A.     Something like that, I don't exactly remember the

15:15:21 14    whole title.

15:15:21 15    Q.     And when you joined Akoustis, they already had an

15:15:26 16    existing resonator design, isn't that correct?

15:15:29 17    A.     That is correct.

15:15:31 18    Q.     And they had what they referred to as a cavity

15:15:35 19    process?

15:15:38 20    A.     Yes.

15:15:39 21    Q.     And that was already in place when you joined,

15:15:41 22    correct?

15:15:42 23    A.     That's the process we did, yes.

15:15:47 24    Q.     And did you work with others in the I guess, device

15:15:52 25    engineering group, like Rama Vetury, Dave Hodge, Annia Shen?
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15:15:57   1   A.     Yes.

15:15:57   2   Q.     They all worked with you?

15:16:00   3   A.     Yes, they did work with me, yes.

15:16:04   4   Q.     When your counsel was asking you questions, they put

15:16:29   5   before you DTX-590 which is marked as Trial Exhibit 296.            Do

15:16:36   6   you have that?

15:16:39   7   A.     Yes, I have it.

15:16:41   8   Q.     Mr. Faison, could we project TX-296, please.

15:16:55   9                 Do you have that document?

15:17:14 10    A.     Yes.

15:17:15 11    Q.     I believe you testified this was a document

15:17:23 12    protesting the reliability of products?

15:17:25 13    A.     Yes.

15:17:26 14    Q.     And at Akoustis, is it correct that Joel Morgan is

15:17:29 15    the Vice President of Quality?

15:17:32 16    A.     At that time.

15:17:34 17    Q.     And he was responsible for developing reliability

15:17:38 18    tests of the products, correct?

15:17:41 19    A.     Yes, he was.

15:17:43 20    Q.     And he developed the test to determine the amount of

15:17:46 21    time before a product would fail; correct?

15:17:50 22    A.     That's my understanding.

15:17:52 23    Q.     If we turn to page 2 of this document, it's dated

15:17:59 24    summary of June 13, 2018; is that correct?

15:18:03 25    A.     Yes, that is.
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15:18:04   1   Q.       So your testimony is that as of June 13th, 2018,

15:18:11   2   Trial Exhibit 296 was the reliability testing document for

15:18:16   3   Akoustis?

15:18:20   4   A.       I don't understand the question.

15:18:22   5   Q.       Pardon me?

15:18:23   6   A.       I'm sorry, what was the question?

15:18:26   7   Q.       Yes.    That as of June -- June 13th, 2018, Trial

15:18:32   8   Exhibit 296 was Akoustis's reliability testing document for

15:18:38   9   BAW filters?

15:18:40 10    A.       Yes, that's what it seems like, but now I cannot

15:18:44 11    confirm that.       It's not my field.

15:18:48 12    Q.       Not your field.      Okay.

15:18:50 13                    MR. MASTERS:    Your Honor, may I approach?

15:19:22 14                    THE COURT:    You may.

15:19:23 15                    MR. MASTERS:    Thank you.

15:19:33 16    BY MR. MASTERS:

15:19:41 17    Q.       Mr. Kim, I've given you a document, Akoustis document

15:19:51 18    entitled Tech Committee Meeting, August 23, 2018.             Do you

15:19:56 19    see that?

15:19:56 20    A.       Yes.

15:19:57 21    Q.       Were you involved in technical meetings at Akoustis

15:20:00 22    from time to time?

15:20:01 23    A.       Yes, for the device engineering, device development

15:20:07 24    topic.

15:20:08 25    Q.       And is testing part of device development?
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15:20:12   1   A.        No, it's on the reliability.

15:20:18   2   Q.        So reliability is part that you get involved in from

15:20:23   3   time to time in trying to come up with a better device

15:20:27   4   design?

15:20:27   5   A.        Yes, that is correct.

15:20:28   6                    MR. MASTERS:    Your Honor, I would offer the

15:20:30   7   Akoustis Technology Committee Meeting document of August 23,

15:20:36   8   2018.

15:20:36   9                    THE COURT:    Marked and received as 299.       299.

15:20:41 10                     (Trial Exhibit No. 299 was admitted into

15:20:42 11    evidence.)

15:20:42 12    BY MR. MASTERS:

15:20:42 13    Q.        Mr. Faison, could we please project Exhibit 299,

15:20:47 14    please?

15:20:48 15                     Dr. Kim, do you have this document?

15:21:14 16    A.        Yes.

15:21:15 17    Q.        And do you see just for the jury, it's dated

15:21:20 18    August 23, 2018?

15:21:21 19    A.        Yes.

15:21:22 20    Q.        All right.     And the last document we looked at which

15:21:25 21    was Trial Exhibit 296, that was dated June of 2018; correct?

15:21:34 22    A.        Yes.

15:21:35 23    Q.        So this is about two months later in time?

15:21:38 24    A.        Yes.

15:21:39 25    Q.        I'm sorry, Trial Exhibit 299 is dated about two
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15:21:43   1   months later than Trial Exhibit 296; correct?

15:21:48   2   A.     Yes.

15:21:49   3   Q.     Okay.     If we go to the next page.      Page 3.    There

15:22:00   4   we're talking about MTTF meantime to failure, correct?

15:22:06   5   A.     Yes, I believe so.

15:22:08   6   Q.     And it's talking about how to use temperature and RF

15:22:12   7   power acceleration for testing products; correct?

15:22:17   8   A.     That is what is said, but -- so this is not part of

15:22:22   9   my role, so -- yeah, what I'm saying.

15:22:29 10    Q.     Well, you presented Trial Exhibit 296 on testing and

15:22:33 11    reliability as Akoustis's witness.        So I understood you

15:22:38 12    understand how to test devices and what Akoustis does; is

15:22:44 13    that correct?

15:22:44 14    A.     Yes, but -- yes, to some level.

15:22:49 15    Q.     Okay.     Well, let's look at, then, the next page.

15:23:00 16    Keep going.    One more.

15:23:05 17                   And here in Section 1.1.1, MTTF, path to

15:23:11 18    activation energy, EA, do you see that?

15:23:14 19    A.     Yes.

15:23:16 20    Q.     And this is within the Akoustis technology committee

15:23:22 21    meeting document, correct?

15:23:22 22    A.     That is correct.

15:23:23 23    Q.     And Mr. Faison, could we do a side-by-side comparison

15:23:28 24    then with TX-14, page 22?

15:23:38 25                   So on the left you have TX-14, page 22 shows RF
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                                        #: 41537                                1889
                                            Kim - cross

15:23:49   1   power testing

15:23:55   2                                         correct?

15:24:00   3   A.     Yes.

15:24:00   4   Q.     And it's plotted on a graph with power at the bottom,

15:24:06   5   correct?

15:24:06   6   A.     Yes.

15:24:07   7   Q.     And the time to failure on the Y axis?

15:24:11   8   A.     Yes.

15:24:12   9   Q.     And then on the right-hand side of our screen that's

15:24:16 10    being projected is the Akoustis test plan; correct?

15:24:20 11    A.     Yes.

15:24:20 12    Q.     With also the same temperatures

15:24:25 13                                              , correct?

15:24:32 14    A.     Yes.    But then that's common knowledge.        So it's, I

15:24:45 15    think it's common context.

15:24:48 16    Q.     Can we do a side-by-side with page 23 of Trial

15:24:55 17    Exhibit 14 and Trial Exhibit 299?

15:24:59 18                  And now if we look at the top, we see the exact

15:25:07 19    same power levels                                               ;

15:25:17 20    correct?    And if we look back to the Trial Exhibit 299, we

15:25:26 21    have the same power levels and the same temperatures to

15:25:30 22    conduct the reliability test, isn't that correct?

15:25:34 23    A.     Yes, that is correct.

15:25:36 24    Q.     Thank you.

15:25:37 25                  So in your direct testimony, your counsel showed
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15:26:12   1   you a patent that you had; is that correct?

15:26:14   2   A.        Yes.

15:26:14   3   Q.        Could we project DX-988, which is Trial Exhibit 295,

15:26:26   4   please.    Could we go to the cover page first.            And right

15:26:36   5   here.

15:26:51   6                     And then if we look here, Dr. Kim, in

15:27:01   7   Section 63, it refers to this application being filed on

15:27:04   8   March 11, 2016; correct?

15:27:07   9   A.        Yes, it is.

15:27:08 10    Q.        Yes.    That was nine months -- eleven months before

15:27:12 11    you have joined Akoustis; correct?

15:27:14 12    A.        Yes.

15:27:14 13    Q.        Okay.

15:27:16 14                      MR. ELKINS:    Objection.      Misstates the document

15:27:18 15    on its face.

15:27:21 16                      THE COURT:    Let's take a look at it.

15:27:24 17                      THE WITNESS:   So --

15:27:26 18                      THE COURT:    Excuse me, just bring it up.

15:33:44 19                      (Side-bar discussion.)

15:33:44 20                      THE COURT:    You're just looking for the date.

15:33:44 21                      MR. MASTERS:   Right here, next --

15:33:44 22                      THE COURT:    It's March 11, 2016.

15:33:44 23                      MR. MASTERS:   That's what I said.

15:33:44 24                      THE COURT:    You did.

15:33:44 25                      MR. ELKINS:    But that's not the date it was
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15:33:44   1   filed.   The application was filed on October.

15:33:44   2                 THE COURT:    It's a continuation in part.

15:33:45   3                 MR. ELKINS:    That's not the same application.

15:33:45   4   This application was filed October 16, 2017.

15:33:45   5                 THE COURT:    Let me take a look.

15:33:45   6                 MR. ELKINS:    It's --

15:33:45   7                 THE COURT:    Hold on.   Just a second.      Okay.   Go

15:33:45   8   ahead.

15:33:45   9                 MR. ELKINS:    It's claiming priority to a --

15:33:45 10    partial priority to an earlier application.

15:33:45 11                  THE COURT:    Sure, I understand.

15:33:45 12                  MR. ELKINS:    But this particular application for

15:33:45 13    this patent was filed on October 16, 2016.

15:33:45 14                  THE COURT:    I'm concerned that we're going to

15:33:45 15    have some confusion about the fact that you didn't introduce

15:33:45 16    the patent.    This has come up before.       What are you going to

15:33:45 17    use this for to argue?

15:33:45 18                  MR. ELKINS:    The point I made.

15:33:45 19                  THE COURT:    This patent is not relevant to

15:33:45 20    anything as it relates to the existing patent, right?

15:33:45 21                  MR. ELKINS:    It's completely relevant.

15:33:45 22                  THE COURT:    I agree.

15:33:45 23                  MR. MASTERS:    What is relevant?

15:33:45 24                  MR. ELKINS:    It's relevant to the fact that the

15:33:45 25    XBAW process was a significant event, it created new
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                                            Kim - cross

15:33:45   1   technology.

15:33:45   2                 THE COURT:    That doesn't tell us that.

15:33:45   3                 MR. ELKINS:    Excuse me?

15:33:45   4                 THE COURT:    That doesn't tell us that.

15:33:45   5                 MR. ELKINS:    The fact that they awarded a

15:33:45   6   patent.   The fact that they awarded a patent shows that

15:33:45   7   there was validity, correct?

15:33:45   8                 THE COURT:    I think there may have been a

15:33:45   9   mishearing here.     I think that you're allowed to make an

15:33:45 10    inquiry, and that's fine, I understand what you're saying.

15:33:45 11    This is a different date and this is first filed October 16,

15:33:45 12    2017.    I think there are really different points here,

15:33:45 13    aren't there?     He's just trying to say this earlier patent

15:33:45 14    had been filed.

15:33:45 15                  MR. ELKINS:    And that's fine, but asking the

15:33:45 16    witness who is the primary inventor of this particular

15:33:45 17    patent and was not on the prior one.

15:33:45 18                  MR. MASTERS:    It's a continuation in part.

15:33:45 19                  MR. ELKINS:    I understand that, but that's not a

15:33:45 20    concept that's going to be known to the jury and I think

15:33:45 21    it's confusing to say that it was -- that the application

15:33:45 22    date was something that it was not.           And I think it's also

15:33:45 23    confusing to the witness who is not a patent lawyer.

15:33:45 24                  THE COURT:    I just want to make sure -- go

15:33:45 25    ahead.
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15:33:45   1                MR. MASTERS:    I want to make the point that it

15:33:45   2   was first filed March 2016 with the three other inventors,

15:33:45   3   and then it was later revised.      He filed -- his name is on

15:33:45   4   it February, or October.

15:33:45   5                THE COURT:    October.   Sure.    That's correct.

15:33:45   6                MR. MASTERS:    That's all I want to establish,

15:33:45   7   and I want to point to one other part in this patent and

15:33:45   8   then I'm moving on.

15:33:45   9                THE COURT:    Okay.   Go right ahead.     That's fine.

15:33:46 10    I am more concerned about the confusion.

15:33:46 11                 MR. MASTERS:    So am I.    Should I get a special

15:33:46 12    instruction on that to the jury?

15:33:46 13                 THE COURT:    Maybe at the end of the case.

15:33:46 14                 MR. MASTERS:    Thank you.

15:33:46 15                 (End of sidebar.)

15:33:46 16                 THE COURT:    All right.    The objection is

15:33:46 17    overruled.   We're going to have a couple more questions and

15:33:46 18    then we're going to take our afternoon break.

15:33:46 19                 MR. MASTERS:    Thank you, Your Honor.

15:33:46 20    BY MR. MASTERS:

15:33:46 21    Q.     Dr. Kim, this application was first filed March 11th,

15:33:46 22    2016, correct?

15:33:46 23    A.     That is correct.

15:33:46 24    Q.     And that was eleven months before you joined

15:33:46 25    Akoustis; correct?
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15:33:46   1   A.      That is correct.      And can I provide some detail on

15:33:46   2   that.   More like I would like to provide some detail.

15:33:46   3   Q.      Can I ask you the next question and maybe you'll be

15:33:46   4   able to answer and provide the detail?

15:33:46   5   A.      Sure.

15:33:46   6   Q.      If we go to the top we see another application was

15:33:46   7   filed October 16th, 2017 and then you were added as an

15:33:46   8   inventor on to this application, is that correct?

15:33:46   9   A.      Yes, that is correct.

15:33:46 10    Q.      So when it first filed, it was Ms. Winters,

15:33:46 11    Mr. Vetury and Mr. Shealy who were the inventors, not you?

15:33:46 12    A.      Yes, that's correct.

15:33:46 13    Q.      Can we turn to column 2, then, Mr. Faison.           From

15:33:46 14    lines 59 to 68.

15:33:46 15                    Dr. Kim, do you see it on your screen?        This is

15:33:46 16    a description in the patent application that this patent

15:33:46 17    refers also to a Bragg type reflector which is used in an

15:33:46 18    SMR type BAW filter, is that correct?

15:33:46 19    A.      Yes.

15:33:46 20    Q.      Is the answer yes?      I can't hear.

15:33:46 21    A.      It is, yes.

15:33:46 22    Q.      So this paragraph refers to SMR BAW filters, correct?

15:33:46 23    A.      Yes.    And I added the similar type as an example,

15:33:46 24    also, because the transfer process can actually use to

15:33:46 25    produce SMR type resonators with SMR type reflector at
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                                           Kim - cross

15:33:46   1   reflector at the bottom.

15:33:46   2                 MR. MASTERS:    Thank you.

15:33:46   3                 THE COURT:   We do need to take our break now.

15:33:46   4   This is our fifteen-minute afternoon break.         I'll see you

15:33:46   5   all in fifteen minutes.      You can take a break, also, the

15:33:46   6   witness.    Don't discuss the case amongst yourselves, and

15:33:46   7   nobody can talk to you about it.

15:33:46   8                 (Jury exiting the courtroom at 3:30 p.m.)

15:33:53   9                 THE COURT:   Dr. Kim, this is your break, also,

15:33:56 10    so we'll see you in about twelve minutes or so.         Thank you

15:33:59 11    very much.   Just don't talk to anybody about your testimony.

15:34:02 12    Thank you.

15:34:03 13                  THE WITNESS:    Yes.

15:34:03 14                  THE COURT:   All right.    Everybody can be seated.

15:34:05 15                  Very briefly, I don't really need to check with

15:34:09 16    anybody, but I want to check and see if anybody needs to do

15:34:13 17    something with me.    We're going to be receiving some

15:34:16 18    additional materials later on.       I think that covers it and

15:34:19 19    we'll see everybody in about twelve minutes.

15:34:22 20                  Thank you.

15:34:22 21                  (A brief recess was taken.)

15:49:49 22                  THE COURT:   All right.    Everybody can be seated.

15:50:03 23                  (Jury entering the courtroom at 3:50 p.m.)

15:50:27 24                  THE COURT:   All right.    Everyone can be seated.

15:50:49 25    Counsel, you may proceed.
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                                        #: 41544                                1896
                                            Kim - cross

15:50:50   1                  MR. MASTERS:   Thank you, Your Honor.

15:50:51   2   BY MR. MASTERS:

15:50:52   3   Q.     Dr. Kim, I would like to turn our attention now to

15:50:56   4   trim, trim calculations.      So when you arrived in

15:51:01   5   February 2017 to Akoustis, there was -- Akoustis did not

15:51:05   6   have a trim plan; is that correct?

15:51:08   7   A.     That is correct.

15:51:12   8   Q.     I'm sorry?

15:51:13   9   A.     That is correct.

15:51:15 10    Q.     Okay.     And in like June or July of 2017, Akoustis

15:51:20 11    hired J.B. Kwon as a process engineer; correct?

15:51:24 12    A.     Yes.

15:51:24 13    Q.     And J.B. was charged with developing a trim plan for

15:51:30 14    Akoustis; is that correct?

15:51:31 15    A.     Yes.

15:51:39 16                   MR. MASTERS:   Your Honor, may I approach?

15:51:40 17                   THE COURT:   You may.

15:51:52 18    BY MR. MASTERS:

15:51:59 19    Q.     Dr. Kim, I gave you two documents.         The first one is

15:52:03 20    marked PTX-1068.     It has an Akoustis number.       And then

15:52:09 21                      Do you see that?

15:52:10 22    A.     Yes.

15:52:11 23    Q.     And 10 -- PTX-1069 is also a                              that

15:52:22 24    Akoustis has within the company; is that correct?

15:52:28 25    A.     Yes, it looks like, but I'm not so familiar with this
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                                           #: 41545                                1897
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15:52:35   1   part -- this document.

15:52:38   2   Q.        Okay.     Is that PTX-1069?

15:52:46   3   A.        Yes, that's --

15:52:49   4   Q.        PTX-1068, do you recognize?

15:52:52   5   A.        Yes, that is more familiar with, I'm more familiar

15:52:56   6   with this one.

15:52:57   7                     MR. MASTERS:    Your Honor, I move for the

15:52:58   8   admission of PTX-1068.

15:53:00   9                     THE COURT:    Marked and received as 300.

15:53:02 10                      (Trial Exhibit No. 300 was admitted into

15:53:03 11    evidence.)

15:53:03 12    BY MR. MASTERS:

15:53:12 13    Q.        So if we go to page -- so Trial Exhibit 300 is a

15:53:18 14                     , correct?

15:53:19 15    A.        Yes.

15:53:20 16    Q.        If we go to page 2, we have a couple of colorful

15:53:25 17    graphs.    Can we zoom in on those, Mr. Faison, please.

15:53:30 18                      And on the right, it's Figure 3, it's referred

15:53:35 19    to as a                        correct?

15:53:39 20    A.        Figure -- which one?

15:53:42 21    Q.        The one -- there we go, Figure 3.

15:53:45 22    A.        Yes, that is --

15:53:46 23    Q.                          that --

15:53:49 24    A.        Yeah, it says                   , yes.

15:53:51 25    Q.        And                                                    ;
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                                        #: 41546                                 1898
                                            Kim - cross

15:53:54   1   correct?

15:53:55   2   A.     Yes.

15:53:55   3   Q.     Let's go to Figure 2, please.          And Figure 2 is a

15:54:06   4                  ; correct?

15:54:08   5   A.     That is correct.

15:54:09   6   Q.     And

15:54:18   7                      ?

15:54:19   8   A.     That is correct.

15:54:20   9   Q.     Okay.     And then if we go to page 3, we show

15:54:27 10


15:54:31 11                                           ; is that correct?

15:54:35 12    A.     That is correct.

15:54:35 13    Q.     And                                                          ;

15:54:42 14    correct?

15:54:43 15    A.     Yes.

15:54:43 16    Q.     Mr. Faison, could we drop that and project the

15:54:50 17    Defendant's demonstrative.      There we go.      Actually, can we

15:54:59 18    go to the next slide?      The other way.     Keep going.     There we

15:55:14 19    go.

15:55:14 20                   So Dr. Kim, you have an understanding of Qorvo's

15:55:19 21    trim sensitivity algorithm on top, correct?

15:55:23 22    A.     Yes.

15:55:23 23    Q.     Did you learn that from J.B. Kwon?

15:55:28 24    A.     J.B. presented this to -- yeah.

15:55:32 25    Q.     Presented it to the group --
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                                            Kim - cross

15:55:33   1   A.     Yes.

15:55:34   2   Q.     -- of process engineers at Akoustis; correct?

15:55:38   3   A.     Yes.

15:55:40   4   Q.     And you had discussions about the Qorvo trim

15:55:43   5   sensitivity algorithms used?

15:55:47   6   A.     Yes, but I didn't -- so but it's common for trim in

15:55:54   7   general, for FBAR, for SMR filters.

15:56:01   8   Q.     And both ---and the bottom is the Akoustis trim

15:56:05   9   sensitivity, correct?

15:56:06 10    A.     That is correct.

15:56:07 11    Q.     And the Akoustis trim sensitivity, the variable T

15:56:13 12    refers to thickness, correct?

15:56:15 13    A.     That is correct, yes.

15:56:16 14    Q.     Thickness of the silicone nitride?

15:56:18 15    A.     Yes.

15:56:19 16    Q.     And FREQ refers to frequency, correct?

15:56:23 17    A.     That is correct.

15:56:25 18    Q.     And then if we look at the Qorvo trim sensitivity,

15:56:28 19                                        , correct?

15:56:32 20    A.     Yes.

15:56:33 21    Q.                                     ?

15:56:35 22    A.     Yes,                                                   , yes.

15:56:39 23    Q.     And the word thick means the thickness of the

15:56:44 24    silicone nitride, correct?

15:56:46 25    A.     In the formula, they measure, in Akoustis sensitivity
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                                             Kim - cross

15:56:50   1   formula,

15:56:54   2                               so silicone nitride, a

15:56:59   3

15:57:04   4

15:57:09   5

15:57:13   6

15:57:17   7

15:57:21   8

15:57:25   9

15:57:27 10    Q.      And both the Qorvo trim sensitivity and the Akoustis

15:57:31 11    trim sensitivity are based on frequency; correct?

15:57:39 12    A.      I'm not sure what you mean by that.

15:57:41 13    Q.      Well, they're frequency dependent, you have a

15:57:44 14    frequency component in the equation for both as shown here

15:57:48 15    on your demonstrative?

15:57:50 16    A.      I'm a little confused what you mean by that.           But in

15:57:55 17    the equation, the frequency is used to calculate the

15:57:58 18    sensitivity if that's what you mean, yes.

15:58:00 19    Q.      Thank you.     Can we go back one slide.

15:58:03 20                   Now, this is a demonstrative that you explained

15:58:06 21    to the jury during your direct examination, do you recall

15:58:11 22    that?

15:58:12 23    A.      Yes.

15:58:13 24    Q.      You've prepared this document yesterday; is that

15:58:17 25    correct?
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                                        #: 41549                                1901
                                           Kim - redirect

15:58:17   1   A.     Actually it was -- the day before yesterday.

15:58:22   2   Q.     So Saturday?

15:58:23   3   A.     Saturday.

15:58:24   4   Q.     So you prepared what's marked on mine DDX-1.03 on

15:58:30   5   Saturday for the purposes of this case; is that correct?

15:58:32   6   A.     That is correct.

15:58:33   7                 MR. MASTERS:    Thank you.      No further questions.

15:58:36   8                 THE COURT:    Redirect.

15:58:37   9                        REDIRECT EXAMINATION

15:58:39 10    BY MR. ELKINS:

15:58:45 11    Q.     Dr. Kim, when Mr. Masters was examining you about

15:58:53 12    DTX-0988, the patent --

15:58:58 13    A.     Yes.

15:58:59 14    Q.     -- admitted as Trial Exhibit 295, you had something

15:59:04 15    to -- I thought you had something to explain.          What did you

15:59:08 16    want to explain?

15:59:09 17    A.     Oh, yes.     I just -- this is -- I was trying to

15:59:15 18    explain that this -- so this patent, so the original

15:59:20 19    application of this patent was applied in that date.           And

15:59:25 20    then I joined the company, and then made so -- so came up

15:59:32 21    with this XB1 process, and then the patent is updated as in

15:59:40 22    usual term, I'm not sure exact term for the patent term, I

15:59:44 23    mean, applications and all the legal issues, related to the

15:59:49 24    patent, but it was updated.      And so the original submission

15:59:57 25    date is -- remains the same, and even though it's before I
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                                        #: 41550                                1902
                                           Kim - redirect

16:00:04   1   joined the company.

16:00:05   2   Q.     So there was a prior patent application before you

16:00:10   3   joined the company?

16:00:11   4   A.     Yes.

16:00:12   5   Q.     And your testimony is that when you developed the XB1

16:00:17   6   process or XBAW process, there were some new elements added

16:00:26   7   to the prior application?

16:00:28   8   A.     Yes.

16:00:30   9   Q.     And Akoustis applied for a new patent based on your

16:00:38 10    inventions added to the prior one on October 16th, 2017?

16:00:43 11    A.     Yes, that is correct.

16:00:45 12    Q.     Okay.     One more question.

16:00:51 13                   Is all trimming a function of thickness and

16:00:54 14    frequency no matter who is doing it?

16:00:58 15    A.     Yes.    It basically removes a little bit of thickness,

16:01:05 16    typically in silicone nitride or in some other companies,

16:01:10 17    aluminum nitride, and get the right frequency to meet the

16:01:19 18    customer spec.

16:01:19 19    Q.     Okay.     And that was the -- you explained how

16:01:23 20    frequency moves up with the removal of layers, and frequency

16:01:32 21    goes down when you add more silicone nitride?

16:01:35 22    A.     Yes.

16:01:37 23    Q.     Okay.

16:01:37 24    A.     So the reason we -- there is the trim, as the

16:01:41 25    trimming like in itself is started way back from crystalline
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                                      #: 41551                                1903
                                         Kim - redirect

16:01:48   1   layers, '60's or '50's even, so the concept was there.          And

16:01:53   2   what -- I mean, all the -- companies do basically the same,

16:01:58   3   remove some amount of material to get the right frequency.

16:02:03   4                  And with the -- but then in BAW, what's

16:02:09   5   different in BAW resonators filters is that before BAW

16:02:16   6   resonators, the trim needed to be done in the single --

16:02:22   7   single product like, a resonator they trim each one by one,

16:02:29   8   but in SAW and BAW products came along in the industry, so

16:02:36   9   the -- the BAW resonator filters are on six-inch big wafer

16:02:42 10    and then the industry came up with -- developed the new tool

16:02:49 11    to trim layers                               that we just saw

16:02:57 12    earlier with the question from the Qorvo's attorney

16:03:04 13                                                 so that means that

16:03:09 14    amount of material is moved from the wafer and so that tool

16:03:16 15    enabled trim, doing trim in that way.

16:03:20 16                   And it is common knowledge when we started -- I

16:03:29 17    mean, BAW filter developed back in Semco or even a few years

16:03:34 18    before that.    So there is nothing new about that from that

16:03:37 19    point on, except some just some details about tool companies

16:03:43 20    as to like at least trim off from the beginning, but they

16:03:50 21    improved their tools so they were okay from trimming, so, it

16:03:54 22    was very well-known before we start.

16:03:59 23    Q.      Are there a number of tool trim -- or trim tool

16:04:04 24    vendors who sell tools that enable a Fab like Akoustis to

16:04:13 25    trim?
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                                        #: 41552                                1904
                                           Kim - redirect

16:04:14   1   A.     Yes.    So yeah, I mean, J.B. would know better, but

16:04:20   2   because he is doing the actual working with the tool.           But I

16:04:26   3   heard there is two or three different companies, and because

16:04:32   4   not many companies would need this tool, so there is just a

16:04:37   5   couple of companies selling these tools, so that's about it.

16:04:40   6   So you either buy from one of them and then yeah, you do the

16:04:47   7   trim in a similar way that the industry -- as the industry

16:04:53   8   developed.

16:04:54   9   Q.     Do the trim tool vendors provide training or teaching

16:04:59 10    regarding how to use their tools?

16:05:01 11    A.     Yes, they definitely provide -- they provide

16:05:06 12    training, definitely include how to -- how efficiently you

16:05:13 13    learn the tool, but in general how trim works in different

16:05:17 14    materials and that sort of process related issue that are

16:05:22 15    provided.

16:05:23 16                  MR. ELKINS:    Thank you.    I have no more

16:05:25 17    questions.

16:05:25 18                  THE COURT:    All right.    Thank you very much.

16:05:27 19    Thank you.    You may step down.

16:05:28 20                  And who will our next witness be?

16:05:31 21                  MR. ELKINS:    Akoustis calls Holly Johnson.

16:05:35 22                  THE COURT:    All right.

16:05:51 23                  If there are any exhibits that were on the

16:05:54 24    stand, we need to retrieve those.        All right.    So will the

16:05:59 25    witness come forward.      Yes, if you'll come this way, please,
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                                         Johnson - direct

16:06:17   1   the witness.       And step right over here.

16:06:24   2                     COURT CLERK:   Please remain standing and raise

16:06:29   3   your right hand.       Please state and spell your name for the

16:06:32   4   record.

16:06:33   5                     THE WITNESS:   Holly Johnson, H-O-L-L-Y,

16:06:35   6   J-O-H-N-S-O-N.

16:06:37   7                     HOLLY JOHNSON, having been duly sworn, was

16:06:42   8   examined and testified as follows.

16:06:49   9                            DIRECT EXAMINATION

16:06:50 10    BY MR. ELKINS:

16:06:53 11    Q.        Good afternoon, Ms. Johnson.

16:06:55 12    A.        Good afternoon.

16:06:56 13    Q.        Can you tell the jury a little bit about yourself?

16:07:01 14    A.        Sure.    My name is Holly Johnson, I'm the Director of

16:07:05 15    Human Resources for Akoustis.        I joined Akoustis a little

16:07:08 16    over five years ago in January of 2019.        Prior to joining

16:07:12 17    Akoustis, I was -- worked with NRG Energy.        After they

16:07:18 18    acquired Zoom Energy, and after we finished the acquisition,

16:07:23 19    I left.    I was the Director of HR there.      I have been in

16:07:28 20    human resources management for twenty years.

16:07:31 21                      I have my Bachelors Degree in Psychology.    I

16:07:36 22    have been married to my husband for twenty-three years.

16:07:39 23    He's a middle school math teacher.        We have two kids.    One

16:07:43 24    just finished college and one is in college.

16:07:45 25    Q.        Great.
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                                      #: 41554                              1906
                                       Johnson - direct

16:07:46   1                   To whom do you report directly at Akoustis?

16:07:52   2   A.      I report directly to Ken Boller, he is our CFO.         I

16:07:58   3   report indirectly also to members of the executive team.

16:08:02   4   Q.      Would you summarize for the jury the responsibilities

16:08:06   5   that you have as Director of Human Resources at Akoustis?

16:08:09   6   A.      Sure.    I'm responsible for everything in human

16:08:11   7   resources at Akoustis from I would say from hire to retire,

16:08:16   8   so that encompasses a lot of things.     And I'm responsible

16:08:20   9   for HR strategy and supporting the company and the

16:08:24 10    employees, you know, for the whole company so both in the

16:08:28 11    U.S. and outside the U.S.

16:08:29 12    Q.      Are you responsible for preparing employment offers

16:08:33 13    for new hires?

16:08:36 14    A.      I am responsible for reviewing and approving offers

16:08:41 15    before they go out.     Sometimes I prepare them myself as

16:08:45 16    well.

16:08:49 17    Q.      How does Akoustis decide whether to make a job offer

16:08:54 18    to a candidate?

16:08:57 19    A.      We have a process that we follow, and you know, we

16:09:02 20    have a job description and you know, what we're looking for

16:09:06 21    in a candidate.     And once we have gone through our interview

16:09:11 22    process, we will decide collectively looking at the

16:09:15 23    candidate, how they interviewed, what is their education,

16:09:19 24    experience, compared to what we're looking for.       And I'm

16:09:22 25    also, you know what kind of fit they are within our culture
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16:09:27   1   which is really important to us, so there is a lot of

16:09:29   2   factors that go into making that decision.

16:09:32   3   Q.     Who makes the decision whether to make an offer to a

16:09:37   4   candidate?

16:09:37   5   A.     Well, we have an interview team.       It depends on what

16:09:40   6   their role is and who is on that team.       But that team will

16:09:45   7   give feedback to the hiring manager that he or she will

16:09:49   8   consider, but ultimately the hiring manager will make the

16:09:53   9   decision whether or not to make an offer.

16:09:55 10    Q.     So who is the hiring manager?

16:09:57 11    A.     Whoever is hiring for the role, whoever that position

16:10:00 12    will report to.

16:10:01 13    Q.     So is that in general, the more senior person in a

16:10:07 14    unique organization within the company?

16:10:09 15    A.     It would be anybody that's in a manager role that

16:10:17 16    has, you know, has a team reporting to them.        They'll always

16:10:22 17    have to get approval from their, you know, executives or VP

16:10:26 18    or whoever they report up to as well.       But anybody who is a

16:10:30 19    manager who may be hiring.

16:10:33 20    Q.     How does Akoustis determine the compensation to

16:10:36 21    include in a particular offer?

16:10:40 22    A.     I would say similar to what I mentioned earlier.         We

16:10:45 23    will have a job description and our position will have a

16:10:51 24    compensation range associated with it.       So we'll look at the

16:10:55 25    candidate that we want to make the offer to, compare his or
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16:11:00   1   her, again, education, experience, you know, all that,

16:11:04   2   compared to the job.    And then also we'll look internally,

16:11:09   3   too, how does that candidate compare internally so that

16:11:13   4   we're considering what we call internal equity, so we can

16:11:18   5   make sure the compensation is fair and consistent within the

16:11:22   6   company, so there are a lot of factors we look at.

16:11:24   7   Q.     How does Akoustis communicate job offers?

16:11:28   8   A.     Initially, the hiring manager will contact, typically

16:11:32   9   the hiring manager will contact the candidate and make the

16:11:36 10    job offer, and then somebody on the HR team will follow-up

16:11:40 11    in writing with the offer letter and other documents that we

16:11:44 12    need to send to that candidate.

16:11:46 13    Q.     Okay.     I am going to hand you a couple of documents

16:11:49 14    that I would like to talk to you about.

16:11:52 15                   MR. ELKINS:   Your Honor, may I approach the

16:11:54 16    witness?

16:11:55 17                   THE COURT:    You may.

16:12:09 18    BY MR. ELKINS:

16:12:11 19    Q.     Ms. Johnson, I have handed you two documents.         The

16:12:13 20    first one I would like you to look at is marked for

16:12:16 21    identification as PTX-666, perhaps not the best number.

16:12:24 22    A.     Right.

16:12:25 23    Q.     But it's entitled employee confidentiality

16:12:28 24    proprietary information, and patent and invention assignment

16:12:33 25    agreement.   Do you have that in front of you?
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16:12:35   1   A.     I do.

16:12:35   2   Q.     Do you recognize it?

16:12:37   3   A.     Yes.

16:12:37   4   Q.     What is it?

16:12:39   5   A.     It's got a very long name, we call it our

16:12:44   6   confidentiality and IP agreement.       It's really very lengthy.

16:12:48   7   It contains a lot of really important information.         To sum

16:12:52   8   it up, we're communicating with candidates and employees

16:12:57   9   what our expectations are in how they treat company's

16:13:02 10    confidential and proprietary information while they work at

16:13:06 11    Akoustis and when they leave, among other things, there is a

16:13:11 12    lot of really important information in there.

16:13:13 13                   MR. ELKINS:   Your Honor, we move exhibit

16:13:15 14    PTX-0666 into evidence.

16:13:19 15                   THE COURT:    Marked and received as 301.

16:13:22 16                   (Trial Exhibit No. 301 was admitted into

16:13:22 17    evidence.)

16:13:22 18    BY MR. ELKINS:

16:13:30 19    Q.     Ms. Johnson, do you know when the confidentiality and

16:13:33 20    IP agreement was adopted?

16:13:35 21    A.     Yeah.     It was adopted shortly after 2014, after the

16:13:41 22    company formed.

16:13:42 23    Q.     How was it used at Akoustis?

16:13:45 24    A.     Initially, it's used during the offer, candidate

16:13:50 25    offer process we talked about earlier, either at the time of
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16:13:53   1   the job offer or after a candidate has accepted, right then.

16:13:58   2   We will send this document to them and ask that they read

16:14:02   3   it, understand it, have time to review it because they'll be

16:14:06   4   expected to sign it on their first day at work.

16:14:10   5   Q.      Can we go to Section 8.2?

16:14:13   6                   Can you -- well, maybe if you, it's two long

16:14:35   7   sentences, if you bear with me, maybe just read it to the

16:14:38   8   jury.

16:14:38   9   A.      Okay.    "Use of confidential information of other

16:14:41 10    persons.    I represent that I have not brought, and will not

16:14:46 11    bring with me to the company or use at the company any

16:14:49 12    materials or documents of an employer or a former employer

16:14:53 13    that are not generally available to the public, unless

16:14:56 14    express written authorization from such employer for their

16:15:00 15    possession and use has been obtained.       I also understand

16:15:12 16    that I am not to breach any obligation of confidentiality

16:15:17 17    that I have to any employer or former employer, and agree to

16:15:21 18    fulfill all such obligation during the period of my

16:15:25 19    affiliation with the company."

16:15:28 20    Q.      Why does Akoustis include that provision in its

16:15:32 21    confidentiality and IP agreement?

16:15:34 22    A.      Because we want to clearly communicate to candidates

16:15:39 23    and employees, that we do not want them to bring anything

16:15:42 24    proprietary from a company or competitor into our company.

16:15:46 25    Our company works really hard to create our own IP, and our
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16:15:51   1   own products.     We don't want that to be tainted by some

16:15:54   2   other company's information.      We don't -- we want to

16:15:59   3   100 percent own our IP.      We've worked really hard and spent

16:16:03   4   a lot of time and money on that.

16:16:05   5   Q.     You can put that document away.

16:16:07   6                  The other document I brought up to you is marked

16:16:11   7   PTX-0665 for identification.      It's entitled, code of ethics

16:16:18   8   and conduct.    Do you recognize that?

16:16:19   9   A.     Yes.

16:16:20 10    Q.     What is it?

16:16:21 11    A.     It's our code of ethics.       It's, again, you know,

16:16:27 12    fairly lengthy.     It's really important to us.      In a

16:16:30 13    nutshell, we use this to communicate to employees what our

16:16:35 14    expectations are for how they conduct themselves in all

16:16:40 15    aspects of their job, you know, at Akoustis, that we expect

16:16:45 16    them to perform their job with the highest level of

16:16:50 17    integrity and ethics in everything that they do.

16:16:53 18    Q.     To whom does the code apply?

16:16:55 19    A.     To all employees.

16:16:56 20                   MR. ELKINS:   Your Honor, we move what's been

16:16:58 21    marked for identification as PTX-0665 into evidence.

16:17:02 22                   THE COURT:    Marked and received as 302.

16:17:04 23                   (Trial Exhibit No. 302 was admitted into

16:17:04 24    evidence.)

16:17:04 25    BY MR. ELKINS:
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16:17:05   1   Q.      How does a new employee find out about the code of

16:17:08   2   ethics and conduct?

16:17:09   3   A.      On their first day of work, we have a new hire

16:17:13   4   orientation and we, we being a member of human resources

16:17:20   5   conduct this initial orientation and we share with them that

16:17:24   6   this is one of the documents, one of the policies that they

16:17:27   7   will need to read, and understand, so we kind of go over it

16:17:32   8   with them at a high level and then they are expected to read

16:17:36   9   it, and eventually like sign off on it during their employee

16:17:42 10    hire.

16:17:42 11    Q.      On this page is a section titled honest and ethical

16:17:46 12    conduct.    Would you please read it to the jury?

16:17:48 13    A.      "The company's policy is to promote high standards of

16:17:52 14    integrity by conducting its affairs honestly and ethically.

16:17:56 15    Each employee must act with integrity and observe the

16:18:00 16    highest ethical standards of business conduct in his or her

16:18:03 17    dealings with the company's customers, suppliers, partners,

16:18:07 18    service procedures, competitors, employees, and anyone else

16:18:10 19    with whom he or she has contact in the course of performing

16:18:15 20    his or her job."

16:18:18 21    Q.      So I'm going to ask you the same question I asked

16:18:20 22    about 8.2, the confidentiality and IP agreement.        Why does

16:18:24 23    Akoustis include this particular provision in the code of

16:18:28 24    ethics and conduct?

16:18:29 25    A.      Well, I mean, we're -- again, we're creating IP and
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16:18:34   1   products.   We again are making sure employees understand and

16:18:40   2   are informed about what our expectations are and how they

16:18:45   3   conduct themselves within their job and with anybody that

16:18:48   4   they deal with while working at Akoustis which is again,

16:18:52   5   high ethics and integrity.

16:18:55   6   Q.       I'm going to show you two more documents, if you'll

16:19:03   7   bear with me.

16:19:17   8                   MR. ELKINS:    Your Honor, permission to approach

16:19:19   9   again?

16:19:20 10                    THE COURT:    You may.

16:19:38 11    BY MR. ELKINS:

16:19:45 12    Q.       The first document I handed you, or at least the one

16:19:49 13    on top is marked for identification as PTX-0315.           It's

16:19:54 14    entitled business conduct guidelines dated April 20, 2022.

16:20:00 15    Do you recognize it?

16:20:02 16    A.       Yes.

16:20:04 17    Q.       And again, can you please explain what it is?

16:20:05 18    A.       Yes.    We call it for short, our BCG.      It's -- it is

16:20:12 19    again, it's very lengthy, it goes through all kinds of areas

16:20:18 20    and communicates to employees what we expect and how they

16:20:24 21    conduct themselves, you know, again in the course of doing

16:20:27 22    their jobs.      So it contains, you know, our code of ethics,

16:20:31 23    non-retaliation, non-harassment, how managers should perform

16:20:36 24    their jobs, how we conduct ourselves through social media,

16:20:40 25    so a lot of ground is covered in this document.           It's really
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16:20:44   1   critical to our company.

16:20:46   2                 MR. ELKINS:    Your Honor, we move what's been

16:20:49   3   marked for identification as PTX-0315 into evidence.

16:20:52   4                 THE COURT:    Marked and received as 303.

16:20:55   5                 (Trial Exhibit No. 303 was admitted into

16:20:56   6   evidence.)

16:20:56   7   BY MR. ELKINS:

16:20:57   8   Q.     Ms. Johnson, this, as I mentioned in introducing this

16:21:01   9   document, it's dated April 2022, I can't even say it

16:21:08 10    anymore, 2022.     Is that when it was adopted?

16:21:11 11    A.     No, it was initially adopted in 2019.

16:21:15 12    Q.     And does, as you call it, the BCG play a part in the

16:21:20 13    onboarding process for new employees?

16:21:22 14    A.     Yes.    It's like the same thing I said earlier about

16:21:25 15    the code of conduct.     During the new hire orientation on day

16:21:29 16    one of employment, we go over this with them at a high level

16:21:33 17    with a new hire.     And we ask that they read it, make sure

16:21:39 18    they understand it.     And additionally, we have a video, a

16:21:44 19    BCG video that they watch to reinforce, because there is so

16:21:49 20    much in here that we don't want to leave it up to somebody

16:21:53 21    to read this whole thing, we need to reinforce it, so we

16:21:56 22    created the video for that as well.       Then they'll sign a

16:21:59 23    document saying that they did complete all of that, they

16:22:02 24    understood, and all that.

16:22:03 25    Q.     Is the BCG only for new hires?
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16:22:07   1   A.     No, it's for new hires, it's for all employees.

16:22:13   2   Q.     And you mentioned with respect to the code of ethics

16:22:18   3   and conduct and the confidentiality and IP agreement that

16:22:22   4   new hires have to sign those documents.        Do new hires, and

16:22:28   5   indeed the existing employees need to sign the BCG?

16:22:31   6   A.     Yes, they do, they sign a document that includes the

16:22:35   7   BCG and again, that they've read it and understand it.

16:22:42   8   Q.     Can you please turn to page 9 of this -- of this

16:22:53   9   exhibit?    And you see the heading, respecting others

16:23:04 10    intellectual property rights?

16:23:06 11    A.     Yes.

16:23:06 12    Q.     Could can you please read to us just the first three

16:23:10 13    sentences of that section?

16:23:10 14    A.     Okay.    "We also respect intellectual property rights

16:23:13 15    of others.    This means we must never knowingly infringe on

16:23:18 16    the valid copyrights, trademarks, patents or trade secrets

16:23:22 17    of others, including your former employers.        You must not

16:23:27 18    share with Akoustis any confidential information or

16:23:30 19    intellectual property of your former employers, unless given

16:23:35 20    explicit permission to do so from your former employer and

16:23:39 21    the legal department."

16:23:42 22    Q.     How is that section different, if at all, from the

16:23:47 23    sections that you read from the confidentiality and IP

16:23:52 24    agreement and the code of ethics?

16:23:55 25    A.     It's not really different.       I mean, there may be
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16:23:59   1   different words used, but again, we're reinforcing our

16:24:04   2   expectations not to share IP from another company or you

16:24:09   3   know, a competitor that you worked with, don't bring it into

16:24:14   4   the company, we don't want it.       And we're just restating

16:24:17   5   that here.

16:24:21   6   Q.     We can take that document down.        The other document I

16:24:26   7   handed to you is marked for identification as PTX-1476, it's

16:24:31   8   entitled annual compliance certification.        Do you recognize

16:24:35   9   it?

16:24:35 10    A.     Yes.

16:24:37 11    Q.     What is it?

16:24:38 12    A.     It's the document that we use for both new hires and

16:24:44 13    employees to certify, I talked earlier about how they are

16:24:49 14    expected to sign off that they did receive and did read and

16:24:52 15    understood, that's what this document is.        So it list the

16:24:55 16    BCG, code of ethics and some other compliance related

16:24:59 17    policies that we have to again certify that they're saying

16:25:04 18    yes, we read all that and we understand it.

16:25:06 19                  MR. ELKINS:    Your Honor, we move into evidence

16:25:07 20    the document marked for identification as PTX-1476.

16:25:11 21                  THE COURT:    Marked and received as 304.

16:25:17 22                  (Trial Exhibit No. 304 was admitted into

16:25:18 23    evidence.)

16:25:18 24    BY MR. ELKINS:

16:25:18 25    Q.     Whom at the company is expected to -- well, first of
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                                         Johnson - direct

16:25:21   1   all, can we zoom in on Section 2.       And what is this section

16:25:33   2   for, Ms. Johnson?

16:25:34   3   A.     It is listing the policies that the employee is

16:25:41   4   attesting that they read.

16:25:44   5   Q.     And the attestation is at the very bottom?

16:25:47   6   A.     Correct.

16:25:49   7   Q.     And whom at the company is expected to sign the

16:25:53   8   compliance certification?

16:25:55   9   A.     All employees, new hires, employees will review on a

16:26:01 10    -- every now and then they'll review it as well.

16:26:14 11    Q.     So if you bear with me, I want to ask you some

16:26:17 12    questions about three exhibits that are related.         So if you

16:26:22 13    give me a moment, I will bring them all up to you at once.

16:26:59 14                  MR. ELKINS:    May I approach, Your Honor?

16:27:01 15                  THE COURT:    You may.

16:27:17 16    BY MR. ELKINS:

16:27:38 17    Q.     So, Ms. Johnson, I've handed you what has been marked

16:27:42 18    for identification as PTX-0669, 670, and 671.         And I have

16:27:54 19    given them to you because as I said, they are related.

16:27:58 20                  Let's start with PTX-669, do you recognize it?

16:28:02 21    A.     Yes.

16:28:02 22    Q.     What is it?

16:28:04 23    A.     It's an e-mail from me to my boss, Ken Boller, in May

16:28:11 24    of 2020.    It's entitled Rohan's comp information so it was

16:28:16 25    sharing with my manager some compensation information that
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                                        Johnson - direct

16:28:19   1   Rohan Houlden had given me.      There are two attachments to

16:28:23   2   it.

16:28:23   3   Q.     We have heard, in fact, we have heard testimony from

16:28:27   4   Mr. Houlden in this case before you arrived, but just

16:28:29   5   generally, can you remind us who Mr. Houlden was as of

16:28:35   6   May 27th, 2020, the date of this e-mail?

16:28:37   7   A.     Yes, Rohan was our Chief Product Officer at the time.

16:28:41   8   Q.     And why were you sending an e-mail entitled Rohan's

16:28:50   9   comp info to Mr. Boller?

16:28:52 10    A.     A couple of reasons.      Primarily because Rohan had

16:28:56 11    shared it with me prior to this, and wanted it to be used

16:29:01 12    for our comp work.    I was sharing it with Ken who is my

16:29:09 13    boss, in passing basically sharing it with him to support

16:29:13 14    some conversations we were having.      We were getting ready to

16:29:16 15    start our own compensation project.

16:29:20 16    Q.     Okay.     Before you go any further, let me --

16:29:26 17                   MR. ELKINS:   Let me move, Your Honor, what has

16:29:28 18    been marked for identification as PTX-669 into evidence.

16:29:31 19                   THE COURT:    Marked and received as 305.

16:29:36 20                   (Trial Exhibit No. 305 was admitted into

16:29:36 21    evidence.)

16:29:36 22    BY MR. ELKINS:

16:29:39 23    Q.     And if you could blow it up so we just see,

16:29:42 24    Ms. Johnson's e-mail and the top part, so the part in blue

16:29:48 25    with the underlinings, are those attachments?
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                                           #: 41567                              1919
                                            Johnson - direct

16:29:51   1   A.        Yes.

16:29:51   2   Q.        And you testified that you were embarking on a

16:29:59   3   project and you needed to discuss something with Mr. Boller.

16:30:03   4   Can you add a little more color to that?

16:30:06   5   A.        Yes.    So I was brought in to Akoustis to, you know,

16:30:14   6   lead obviously HR, but also to develop more structure and

16:30:18   7   process as the company was growing and maturing, we needed

16:30:22   8   to have that.        One of the areas that I identified we needed

16:30:26   9   was more structure around our compensation, we didn't have

16:30:30 10    -- really didn't -- we didn't have a good structure.             So I

16:30:38 11    was going to be starting a project, or seeking for approval

16:30:43 12    to have a project around that.

16:30:44 13                      Further, Rohan had shared this data at some

16:30:49 14    point before this e-mail, a few months maybe before this.

16:30:55 15    He had wanted to use it, and you know, I didn't, but -- so

16:31:03 16    that, you know, is kind of I guess the color.

16:31:07 17    Q.        What did Mr. Houlden want to use the information he

16:31:12 18    sent you for, what was the purpose that he wanted you to use

16:31:16 19    it for?

16:31:17 20    A.        He wanted to use it for our own comp structure as

16:31:22 21    well as, you know, to -- in order to make job offers and

16:31:29 22    compensate employees, I mean, that's kind of all hand in

16:31:33 23    hand, so that's what he wanted to use it for.

16:31:35 24    Q.        Okay.    Let's -- let me ask you to look at what's been

16:31:41 25    marked for identification as PTX-0670.           And can you tell us
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                                           Johnson - direct

16:31:48   1   what that is?

16:31:50   2   A.       This is actually really lengthy, but there is a

16:31:58   3   chart, actually there is two charts on here, and they show a

16:32:02   4   bunch of information like RE codes, titles, and a lot of

16:32:10   5   like years experience, compensation ranges it looks like,

16:32:14   6   and there is two different ones on this initial page.

16:32:19   7   Q.       And is that the way you're looking at it is in the

16:32:23   8   nature of a spreadsheet?

16:32:24   9   A.       Yes, this was a spreadsheet.

16:32:27 10    Q.       And looking back at exhibit -- Trial Exhibit 305,

16:32:34 11    which is PTX-669, can you identify which of the attachments

16:32:39 12    it is?

16:32:40 13    A.       Yes.    This one is Rohan's guidance chart.

16:32:45 14    Q.       And the dot Excel SX?

16:32:49 15    A.       Yes.

16:32:50 16    Q.       And you recognize that as a Microsoft Excel file?

16:32:55 17    A.       That is correct, yes.

16:32:56 18    Q.       Okay.

16:32:57 19                     MR. ELKINS:   Your Honor, we'll -- never mind.

16:33:01 20    By MR. ELKINS:

16:33:01 21    Q.       And then the next document is --

16:33:06 22                     THE COURT:    I missed that, were you moving that?

16:33:07 23                     MR. ELKINS:   Yeah, I'm contemplating that, Your

16:33:10 24    Honor.

16:33:10 25                     THE COURT:    Okay, when you're ready.
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16:33:11   1                 MR. ELKINS:    I had second thoughts.     Thank you.

16:33:13   2                 THE COURT:    Sure.

16:33:14   3   BY MR. ELKINS:

16:33:14   4   Q.     PTX-0671.     What is that?

16:33:18   5   A.     This is the other attachment Qorvo three years ago.

16:33:25   6   Q.     And that also came from Mr. Houlden?

16:33:28   7   A.     Yes.

16:33:30   8   Q.     And can you describe what that reports to show?

16:33:35   9   A.     Similar information as the other one that we just

16:33:38 10    talked about, has a chart, the top of it says engineering,

16:33:44 11    it has grades, a lot of the same information it looks like,

16:33:49 12    salary ranges.

16:33:51 13                  MR. ELKINS:    Actually let's go ahead and move

16:33:54 14    both into evidence, Your Honor.

16:33:55 15                  THE COURT:    Marked and received as 306 and 307.

16:34:00 16                  (Trial Exhibit Nos. 306 and 307 were admitted

16:34:01 17    into evidence.)

16:34:01 18    BY MR. ELKINS:

16:34:06 19    Q.     And again, what was your understanding as to why Mr.

16:34:10 20    Houlden sent you those two attachments?

16:34:13 21    A.     He had received them from someone at Qorvo and wanted

16:34:17 22    to use this, he felt this was good comp data to use at

16:34:23 23    Akoustis.   And so he was -- actually at one point he called

16:34:27 24    it Akoustis's pay scale, or called it something like that,

16:34:31 25    and I said no, that's not what that is.        He wanted to use it
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                                         Johnson - direct

16:34:35   1   for our internal, or at least as a part of creating our

16:34:40   2   internal guidelines.

16:34:41   3   Q.     Did you have any understanding about how Mr. Houlden

16:34:44   4   might have obtained that information from somebody at Qorvo?

16:34:47   5   A.     Yeah, my understanding is Rohan -- Rohan had worked

16:34:51   6   at Qorvo previously.     And he had maintained some good

16:34:56   7   relationships with people there.       And he had received this

16:35:00   8   from somebody in the HR department from Qorvo at some point

16:35:05   9   around the time he sent this over to me.

16:35:08 10    Q.     So at the time he was at Akoustis?

16:35:10 11    A.     Yes.

16:35:11 12    Q.     Do you know whether Mr. Houlden had Qorvo's

16:35:14 13    permission to use the information in the two attachments?

16:35:21 14    A.     Well, my assumption was that he did, given he

16:35:25 15    received it from somebody in the Human Resources Department.

16:35:29 16    Q.     Did you have any trouble believing that he received

16:35:31 17    it from somebody in the Human Resources Department at Qorvo?

16:35:35 18    A.     No, not at all.      Professionally, often times people

16:35:41 19    will share information with each other.        Compensation ranges

16:35:45 20    are always -- companies don't always consider that

16:35:49 21    confidential.     Some do, some don't.    But in this day and

16:35:53 22    age, compensation is often times required.        I know like in

16:35:58 23    states of New York and California, for example, you have to

16:36:02 24    share them.

16:36:04 25                  So for me just professionally knowing that
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16:36:08   1   sometimes professionals share things to help each other or

16:36:11   2   whatever, I didn't think that anything of it from that

16:36:16   3   perspective.

16:36:17   4   Q.     Okay.    So you previously testified that you were in

16:36:20   5   the process of creating a compensation structure as part of

16:36:25   6   one of your roles in terms of creating a more formal human

16:36:30   7   resources structure at the company?

16:36:32   8   A.     Yes.

16:36:33   9   Q.     And so -- and you testified that Mr. Houlden wanted

16:36:40 10    you to use these documents in connection with Akoustis's

16:36:44 11    compensation structure.      Did you use it?

16:36:46 12    A.     No.

16:36:48 13    Q.     Why not?

16:36:49 14    A.     Well, I mean, he handed me this.        I don't really

16:36:54 15    know, to me as a professional with over twenty years in HR

16:36:57 16    and compensation professional, I know there is a right way

16:37:02 17    to go about getting, you know, getting your structure

16:37:05 18    together and doing the research.       I didn't know -- to me

16:37:09 19    this wasn't valid.     I didn't know who put it together, how

16:37:12 20    they came up with the information.       I didn't really know how

16:37:16 21    old it was.

16:37:17 22                   It was so -- you know, there was a lot of work

16:37:20 23    that goes into creating those ranges and just having

16:37:25 24    something like this handed to me was not -- I couldn't use

16:37:29 25    it, this wasn't valid to me.
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16:37:31   1   Q.     So did you prepare a proposed new compensation

16:37:35   2   structure plan?

16:37:36   3   A.     I did, or we did.

16:37:38   4   Q.     Okay.    And did you use any information from outside

16:37:42   5   Akoustis to help prepare that plan?

16:37:44   6   A.     Yes.    We did some research and chose Aon Radford,

16:37:53   7   their compensation survey or database, as our data source

16:37:58   8   for our project.     Aon Radford is a well-known and well

16:38:04   9   respected company, they provide a lot of HR information,

16:38:07 10    support, around comp and benefits and you know, I was able

16:38:14 11    to get approval to use that as a really good source of data.

16:38:21 12    Q.     Did Aon Radford just give you the report?

16:38:25 13    A.     No.    We had to pay for it.     It was around $10,000.

16:38:29 14    Q.     And what's your understanding about the data used in

16:38:34 15    Aon Radford's compensation service?

16:38:38 16    A.     So in order to get that companies like HR departments

16:38:44 17    like myself from companies across the country or actually

16:38:48 18    around the world participate in their studies, so we are

16:38:51 19    providing them our comp data and they are using that and

16:38:55 20    aggregating it.

16:38:56 21                   So when you are able -- when we use that, we are

16:39:00 22    able to basically slice and dice comp based on industry you

16:39:08 23    know, job title, you could do it by size of company or all

16:39:14 24    kinds of ways, geography.      So just a really good solid

16:39:18 25    source of compensation data for us.
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                                        #: 41573                              1925
                                         Johnson - direct

16:39:21   1   Q.     Did you eventually complete the compensation

16:39:37   2   structure?

16:39:38   3   A.     Yes.

16:39:40   4   Q.     And in doing so, did you use any Qorvo information or

16:39:46   5   Qorvo confidential information?

16:39:47   6   A.     No.

16:39:47   7   Q.     Did you use any of the information in the two

16:39:52   8   attachments that Mr. Houlden sent to you?

16:39:56   9   A.     We did not use any of that to create our own ranges,

16:40:01 10    no.

16:40:03 11    Q.     Since you've started as -- you know, I understand

16:40:12 12    that you joined the company in 2019, but under your

16:40:16 13    leadership, what Qorvo information, if any, has Akoustis

16:40:21 14    used in establishing compensation ranges for Akoustis

16:40:25 15    employees?

16:40:26 16    A.     We haven't used any.

16:40:29 17    Q.     I'm going to ask you a similar question but with

16:40:32 18    respect to benefits.     What Qorvo confidential information,

16:40:35 19    if any, has Akoustis used in determining benefits for

16:40:39 20    Akoustis employees?

16:40:40 21    A.     None.

16:40:42 22    Q.     And since you became Director of Human Resources,

16:40:49 23    what Qorvo confidential information, if any, has Akoustis

16:40:53 24    used for any human resources purpose?

16:40:55 25    A.     We haven't used any.
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                                        #: 41574                              1926
                                         Johnson - direct

16:40:57   1   Q.     Have you heard the phrase external recruiter?

16:41:02   2   A.     Yes.

16:41:02   3   Q.     What does it mean?

16:41:04   4   A.     It means it's a recruiter, a head hunter or a

16:41:08   5   recruiting firm that's outside of our company, so they don't

16:41:12   6   work internally, they're a company or a person you can hire

16:41:15   7   to recruit for the company.

16:41:17   8   Q.     In your human resources career, have you ever worked

16:41:20   9   with external recruiters?

16:41:23 10    A.     Yes.

16:41:23 11    Q.     What about at Akoustis?

16:41:25 12    A.     Yes, some.

16:41:27 13    Q.     Why did you do that?

16:41:29 14    A.     We'll only do it, at least since I have been here,

16:41:35 15    when we have to, if there is a role that is very hard to

16:41:38 16    fill, which is definitely the case in a company like ours,

16:41:43 17    there will be some engineering jobs and other roles that are

16:41:46 18    very hard to find.     So we may engage a recruiter to help us.

16:41:50 19    Q.     Have you personally worked with any external

16:41:53 20    recruiters at Akoustis?

16:41:55 21    A.     Yes.

16:41:55 22    Q.     How do you communicate to an external recruiter what

16:41:59 23    the company is looking for in a candidate?

16:42:01 24    A.     We have that job description I mentioned earlier, so

16:42:05 25    we'll share with them the job description and just in our
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                                        #: 41575                              1927
                                         Johnson - direct

16:42:08   1   own words what are we looking for, besides what you see on

16:42:13   2   this piece of paper, what does the ideal candidate look

16:42:17   3   like.   And you know, what skills and those things, and we'll

16:42:23   4   also share our compensation range, benefits package, is

16:42:28   5   there going to be relocation offered, so we share all those

16:42:31   6   things with the recruiter.

16:42:33   7   Q.      Do you ever consider asking an external recruiter to

16:42:37   8   focus on sending, and I mean this -- let me rephrase the

16:42:42   9   question.

16:42:42 10                  Under your leadership as Director of Human

16:42:47 11    Resources, have you ever considered asking an external

16:42:50 12    recruiter to focus on sending you candidates from Qorvo in

16:42:55 13    particular?

16:42:55 14    A.      No.

16:42:56 15    Q.      Why not?

16:42:57 16    A.      Well, I mean, we -- we wouldn't want to narrow our

16:43:03 17    search to one company.      Certainly we would consider -- we

16:43:07 18    want to consider candidates from all companies, and it

16:43:11 19    depends on what the job is, if -- you know, some jobs

16:43:14 20    require that they have semiconductor industry experience in

16:43:18 21    order to be able to do the job, so we may look at Qorvo

16:43:23 22    candidates, as well as Qualcomm or any other semiconductor

16:43:27 23    industry across the country.      So basically, we want to cast

16:43:30 24    a net and be able to identify the best candidate that's

16:43:34 25    available at the time.
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                                         #: 41576                              1928
                                          Johnson - direct

16:43:38   1   Q.      Do you have -- do you do any internal recruiting at

16:43:42   2   Akoustis?

16:43:42   3   A.      Yes, that's our preferred method of recruiting.

16:43:45   4   Q.      Have you ever directed -- have you, as Director of

16:43:50   5   Human Resources, ever directed any of Akoustis's internal

16:43:54   6   recruiters to focus on candidates from Qorvo?

16:43:59   7   A.      No.

16:44:01   8   Q.      Same reason?

16:44:04   9   A.      Yeah, it's the same reason, we want to find the best

16:44:07 10    candidates that we can.

16:44:11 11    Q.      In your role as Director of Human Resources, have you

16:44:16 12    ever felt pressured to recruit specifically from Qorvo?

16:44:22 13    A.      No, not at all.

16:44:26 14    Q.      Do you know how many employees Akoustis has hired in

16:44:29 15    total since its founding in 2014?

16:44:33 16    A.      Yes.    We've hired a little over 400 employees since

16:44:37 17    then.

16:44:39 18    Q.      But that's not how many employees you have now, is

16:44:42 19    it?

16:44:42 20    A.      No.    No.

16:44:44 21    Q.      And how is it that you happen to know that number?

16:44:49 22    A.      I had -- I completed a deposition for this case last

16:44:57 23    year, and in preparing for that, we had to prepare a census

16:45:03 24    of all employees, anybody who has ever worked for Akoustis

16:45:07 25    in the history of Akoustis, so that's how I learned that it
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                                          #: 41577                              1929
                                           Johnson - direct

16:45:11   1   was a little over 400.

16:45:14   2   Q.       And were you testifying as a company designee, or a

16:45:22   3   company witness in that deposition?

16:45:23   4   A.       Yes, I was.

16:45:27   5   Q.       Of the 400 plus total employees that Akoustis has

16:45:31   6   hired since 2014, do you know how many had previously worked

16:45:38   7   at Qorvo or the two entities that merged to create it, RFMD

16:45:43   8   and TriQuint?

16:45:45   9   A.       Yes.

16:45:45 10    Q.       How many?

16:45:47 11    A.       There are forty-three employees that have at some

16:45:51 12    time worked at one of those companies before working at

16:45:54 13    Akoustis.

16:45:55 14    Q.       Is that information you know from the work you had

16:45:57 15    to, or the research you had to perform to be the company's

16:46:01 16    deposition witness?

16:46:02 17    A.       Yes.    Qorvo had asked or as a part of this deposition

16:46:08 18    prep, we had to learn, identify those forty-three people.

16:46:13 19    Q.       Have you ever heard of Skyworks?

16:46:19 20    A.       Yes.

16:46:19 21    Q.       What is Skyworks?

16:46:20 22    A.       It's a large semiconductor company.

16:46:23 23    Q.       Are you aware of any products that Skyworks makes or

16:46:27 24    sells?

16:46:27 25    A.       I know that they are a competitor of ours.
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                                            Johnson - direct

16:46:31   1   Q.        Okay.    Are you aware whether Akoustis has hired

16:46:35   2   anybody that previously worked at Skyworks?

16:46:37   3   A.        We have.

16:46:38   4   Q.        How about, have you heard of Avago or Avago turned

16:46:48   5   into Broadcom, Broadcom?

16:46:49   6   A.        Yes.

16:46:50   7   Q.        Are you aware whether Akoustis has hired anybody who

16:46:53   8   previously worked at Avago or Broadcom?

16:46:56   9   A.        Yes, we have.

16:46:58 10    Q.        Have you ever heard of Qualcomm?

16:47:04 11    A.        Yes.

16:47:05 12    Q.        What is Qualcomm?

16:47:06 13    A.        A large semiconductor company, another competitor.

16:47:10 14    Q.        Are you aware of whether Akoustis has hired anybody

16:47:14 15    who previously worked at Qualcomm?

16:47:16 16    A.        Yes, we have.

16:47:18 17    Q.        Can you estimate for us approximately how many former

16:47:22 18    employees of Skyworks, Broadcom/Avago and Qualcomm that have

16:47:29 19    been hired over the last ten years at Akoustis?

16:47:34 20    A.        I would, I believe it's probably around fifteen

16:47:38 21    people.

16:47:39 22    Q.        Okay.    So you testified just a few minutes ago that

16:47:42 23    Akoustis has hired about forty-three people who formally

16:47:45 24    worked at Qorvo, RFMD or TriQuint, yet it's only hired

16:47:50 25    fifteen or so people from other competitors.            Do you have
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                                         Johnson - direct

16:47:54   1   any explanation for that discrepancy?

16:47:56   2   A.     Yeah.    A couple of things.     I would say, one is Qorvo

16:48:02   3   is the closest semiconductor company to Akoustis

16:48:05   4   geographically.     So it makes perfect sense that people would

16:48:13   5   move from Qorvo to Akoustis, some people don't want to

16:48:17   6   leave, don't want to relocate, they want to stay, but they

16:48:22   7   may want to still stay in the industry, so it's just like if

16:48:26   8   Charlotte is the banking hub, and Wells Fargo and Bank of

16:48:31   9   America compete for the same talent, people go from one bank

16:48:34 10    to the other, it's just common professionally.

16:48:38 11                   Another reason is that we have members of the

16:48:41 12    executive team and other employees who worked for Akoustis

16:48:44 13    and it's known that people, you know, when you leave a job,

16:48:49 14    or when you're-- you know, somebody leaves your company, you

16:48:53 15    often times stay in touch with people and you network with

16:48:56 16    them, and you may reach out to them if you're unhappy where

16:49:00 17    you are or you're ready for a new opportunity, you're

16:49:04 18    probably going to reach out to your network and see what's

16:49:06 19    going on, and that definitely happened a lot at Akoustis, so

16:49:11 20    it's not a surprise to me to hear those numbers.

16:49:13 21    Q.     How many minutes does it take to drive from -- well,

16:49:18 22    Akoustis is based in Huntersville, North Carolina?

16:49:21 23    A.     Yes.

16:49:22 24    Q.     And where is Qorvo's headquarters?

16:49:25 25    A.     Greensboro, it's where people live, some people you
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16:49:31   1   know may be an hour-and-a-half commute, some people might be

16:49:36   2   an hour, just depends on where they live.

16:49:38   3   Q.       How far is Greensboro -- I mean, we're in Delaware,

16:49:42   4   probably most people aren't familiar with how long it takes

16:49:45   5   to drive from Huntersville to Greensboro.          Assuming that

16:49:50   6   traffic isn't completely awful, how long would you expect it

16:49:53   7   to take?

16:49:54   8   A.       I believe about an hour-and-a-half.        I can't remember

16:49:57   9   the last time I drove to Greensboro, but I think it was

16:50:00 10    about an hour-and-a-half.

16:50:03 11    Q.       So in your mind, it's going from one company to the

16:50:09 12    other would be, it's at least plausible that somebody could

16:50:14 13    do it without having to relocate?

16:50:16 14    A.       Yes, that's correct.      I mean, some of our employees

16:50:18 15    that live in that area have relocated.          Others work remotely

16:50:24 16    a couple of days a week.        You know, and then drive back and

16:50:29 17    forth the other days.

16:50:30 18    Q.       By the way, are you aware of somebody named Pat

16:50:33 19    Lewis?

16:50:33 20    A.       Yes.

16:50:34 21    Q.       Who is he?

16:50:35 22    A.       He was our Director of Business Systems for a number

16:50:38 23    of years.

16:50:39 24    Q.       And so he was, you said, he no longer is?

16:50:47 25    A.       No, he's not.
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16:50:49   1   Q.     Last week in trial, Dr. Shanfield who was a witness

16:50:59   2   for Qorvo mentioned in Court that Mr. Lewis of course

16:51:04   3   recognized the documents sent to him because he was a former

16:51:07   4   Qorvo employee.   Are you aware of whether Mr. Lewis ever

16:51:10   5   worked at Qorvo or one of Qorvo's predecessor companies?

16:51:15   6   A.     I'm familiar with Pat, Pat Lewis's employee file.

16:51:22   7   And no, he, according to what we have in his file, his

16:51:27   8   resume, his application, he never worked for Qorvo.

16:51:31   9               MR. ELKINS:    Thank you, Ms. Johnson.     Those are

16:51:34 10    all the questions that I have.     I pass the witness.

16:51:36 11                THE COURT:    Cross-examination.

16:51:43 12                MS. AYERS:    Understood.    Thank you, Your Honor

16:51:44 13                       CROSS-EXAMINATION

16:51:45 14    BY MS. AYERS:

16:51:45 15    Q.     Good afternoon, Ms. Johnson.

16:51:46 16    A.     Good afternoon.

16:51:47 17    Q.     I want to make sure that I understood the testimony

16:51:49 18    that you provided a few minutes ago.

16:51:53 19                You said that hiring managers are the people

16:51:56 20    responsible for conducting the interviews and putting

16:52:00 21    together the offers that are made.      Is that correct?

16:52:04 22    A.     No, that's not what I said.

16:52:10 23    Q.     Hiring managers are not the individuals that put

16:52:12 24    together the compensation offers that are initially then

16:52:15 25    sent to you for purposes of sending out to the individuals?
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                                           Johnson - cross

16:52:18   1   A.      No, that's not how our process works.

16:52:20   2   Q.      Okay.    Can you explain to me how your process worked

16:52:23   3   because that's not what I understood from the testimony you

16:52:25   4   just provided?

16:52:26   5   A.      Yeah, what I testified to is that hiring managers

16:52:29   6   make a decision after they have been recommended to them

16:52:32   7   after their boss has also approved.        But as far as putting

16:52:36   8   an offer together, the HR department puts an offer together,

16:52:40   9   so we, again, use all the data that I mentioned earlier to

16:52:46 10    create an offer, we do then talk with the hiring manager and

16:52:50 11    align on it.     And then we get approval, so that's how we do

16:52:56 12    that.

16:52:56 13    Q.      Okay.    Thank you for that clarification.

16:53:00 14    Ms. Johnson.     And when you mentioned hiring managers, the

16:53:02 15    concept is essentially that engineers hire engineers;

16:53:06 16    correct?

16:53:10 17    A.      You know, maybe in some -- I don't know that's true

16:53:17 18    in all cases.

16:53:18 19    Q.      The hiring managers responsible for determining

16:53:23 20    whether or not to interview and conduct an interview and

16:53:26 21    then ultimately make an offer to a candidate has expertise

16:53:31 22    in the area in which Akoustis is actually looking to employ

16:53:34 23    an individual, correct?

16:53:36 24    A.      Yes.

16:53:36 25    Q.      Okay.    So in that sense, you know, the people who are
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16:53:40   1   responsible for managing the engineers, those are the

16:53:43   2   individuals that are interviewing the engineers as a hiring

16:53:46   3   manager, is that correct?

16:53:48   4   A.     Those are -- that's a part of the interview team,

16:53:51   5   yes.

16:53:52   6   Q.     Okay.    Fair enough, Ms. Johnson.

16:53:54   7                  And you consult with the hiring managers when

16:54:00   8   the offer is put together to ensure that the hiring managers

16:54:04   9   are pleased with the package that is being offered to the

16:54:07 10    candidates that they want to hire; is that correct?

16:54:09 11    A.     That's our desire.     You know, that's not always the

16:54:13 12    case, but we do try to get to a point where we agree on it,

16:54:18 13    yes.

16:54:19 14    Q.     Okay.    And earlier in your testimony, you discussed

16:54:23 15    Trial Exhibit 305 and 306 with counsel for Akoustis, and

16:54:28 16    that is PTX-669 and 670.     I would like to get those up on

16:54:33 17    the screen for the jury.     And let's go ahead and put up 670

16:54:52 18    as well.    And go ahead and go to page 2 of 670.

16:54:57 19                   And during your testimony with Akoustis's

16:55:04 20    counsel, you indicated that the information attached to

16:55:08 21    PTX-669, which is Trial Exhibit 305, came from Mr. Houlden;

16:55:15 22    correct?

16:55:15 23    A.     Correct.

16:55:16 24    Q.     And one of the things that Mr. Houlden sent to you

16:55:20 25    was the Excel spreadsheet chart which we're showing on the
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                                          Johnson - cross

16:55:25   1   right-hand side of the screen; correct?

16:55:26   2   A.     Yes.

16:55:27   3   Q.     And you were telling Mr. Boller, who was your boss,

16:55:30   4   the Chief Financial Officer, that the data you are sending

16:55:34   5   him in this e-mail is information that Rohan has gathered

16:55:38   6   from somebody at Qorvo; correct?

16:55:41   7   A.     Yes.

16:55:45   8   Q.     And you sent this communication to Mr. Boller on

16:55:51   9   May 27th, 2020; correct?

16:55:53 10    A.     Correct.

16:55:54 11    Q.     Okay.

16:55:56 12                   MS. AYERS:   Your Honor, may I approach the

16:55:58 13    witness?

16:55:59 14                   THE COURT:   You may.

16:56:18 15    BY MS. AYERS:

16:56:40 16    Q.     Ms. Johnson, PTX-673 is a May 26th e-mail from you --

16:56:49 17    from Mr. Houlden to you and Mr. Boller; correct?

16:56:54 18    A.     Yes.

16:56:55 19    Q.     And attached to PTX-673 is a spreadsheet called

16:57:02 20    Akoustis pay scale rev G, correct?

16:57:05 21    A.     Yes.

16:57:07 22                   MS. AYERS:   Your Honor, I move into evidence the

16:57:09 23    document with the reference number PTX-673.

16:57:13 24                   THE COURT:   Received as 308.    Marked and

16:57:19 25    received.
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16:57:19   1                   (Trial Exhibit No. 308 was admitted into

16:57:21   2   evidence.)

16:57:21   3                   MS. AYERS:   And I also move into evidence the

16:57:22   4   document with reference number PTX-674.

16:57:26   5                   THE COURT:   Marked and received as 309.

16:57:29   6                   (Trial Exhibit No. 309 was admitted into

16:57:30   7   evidence.)

16:57:30   8   BY MS. AYERS:

16:57:32   9   Q.      Let's go ahead and get those up on the screen for the

16:57:38 10    jury.

16:57:47 11                    Okay, Ms. Johnson.    So up on the screen for the

16:57:50 12    jury is the communication from Mr. Houlden to you and to

16:57:54 13    Mr. Boller; correct?

16:57:56 14    A.      Yes.

16:57:57 15    Q.      And that was sent the day before the communication

16:58:00 16    that we were just looking at; correct?

16:58:04 17    A.      Yes.

16:58:05 18    Q.      Okay.    And the Akoustis pay scale revision G at

16:58:14 19    PTX-674, that looks pretty similar to the Rohan spreadsheet

16:58:19 20    that you sent to Mr. Boller the next day; correct?

16:58:24 21    A.      Yes, it does look similar.

16:58:26 22    Q.      Okay.    And for your benefit, and for the jury's

16:58:29 23    benefit, I would like to pull up PTX-670, which has been

16:58:34 24    entered into evidence as 306, and display that on the

16:58:38 25    left-hand side of the screen, that is the spreadsheet that
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16:58:40   1   is entitled Rohan's guidance chart.      And I would like to

16:58:46   2   compare that to 674, which is a Trial Exhibit 309, which is

16:58:54   3   the Akoustis pay scale revision G.

16:59:02   4                    Go ahead and blow that up for us so that she can

16:59:10   5   see the chart below as well.

16:59:12   6                    And Ms. Johnson, if you need to look at the

16:59:18   7   physical exhibits in front of you, too, you are welcome to

16:59:21   8   do that as well.

16:59:22   9   A.       Okay.

16:59:23 10    Q.       The pay scale that is entitled Rohan's guidance chart

16:59:28 11    is identical to the pay scale that is entitled Akoustis pay

16:59:33 12    scale revision G; correct?

16:59:38 13    A.       I don't think it's exactly the same.     But it's very

16:59:48 14    close.

16:59:48 15    Q.       I think that's fair.    So what I am focusing on,

16:59:51 16    Ms. Johnson, is the salary schedule.

16:59:55 17    A.       Okay.

16:59:55 18    Q.       The salary schedules for both of these charts is the

17:00:00 19    same; correct?

17:00:01 20    A.       I believe so, yes.

17:00:02 21    Q.       And these are the salary schedules contained in

17:00:05 22    Akoustis's revision -- Akoustis's pay scale revision G;

17:00:10 23    correct?

17:00:10 24    A.       That's on the spreadsheet, that's not the correct

17:00:14 25    title, but yes, that's what's on the sheet.
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17:00:16   1   Q.     So the spreadsheet is entitled Akoustis pay scale

17:00:20   2   revision G, correct?

17:00:21   3   A.     Yes, it is titled that.

17:00:22   4   Q.     And revision G implies that there were six other

17:00:29   5   revisions that occurred before revision G, correct?

17:00:31   6   A.     That would be my assumption.

17:00:35   7   Q.     But your testimony is that Akoustis's hiring

17:00:39   8   managers, including Mr. Houlden, did not use Qorvo

17:00:42   9   confidential information as a part of the compensation

17:00:45 10    determinations it was making for purposes of offering

17:00:48 11    salaries to interviewees, is that correct?

17:00:51 12    A.     My testimony is that we did not use this data as a

17:00:55 13    part of our comp project.    We did not -- this Akoustis pay

17:01:01 14    scale was a title Rohan gave this, not HR or Akoustis.        And

17:01:06 15    in this e-mail chain, I even said that, this is not that.

17:01:10 16    Q.     So he -- I apologize, I did not intend to interrupt

17:01:15 17    you, please finish.

17:01:16 18    A.     No, I'm good.

17:01:17 19    Q.     The comp pay study that you're referencing and

17:01:22 20    discussing, let's go back to PTX-669, which is Trial

17:01:32 21    Exhibit 305.    So in the second paragraph of this e-mail

17:01:41 22    communication to Mr. Boller, you say, "We could choose to

17:01:45 23    use it as a data point for our compensation project if we

17:01:48 24    want to."

17:01:49 25                   Do you see that?
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17:01:49   1   A.       I do.

17:01:49   2   Q.       So the compensation project that you have been

17:01:52   3   testifying about that you commissioned a third party to

17:01:54   4   assist with, that occurred after May of 2020; correct?

17:01:58   5   A.       Yes.

17:02:01   6   Q.       And in fact, I think that the Aon compensation study

17:02:06   7   was at least approved in July of 2020, is that correct?

17:02:09   8   A.       That sounds right.

17:02:18   9   Q.       Okay.    And I think your testimony to the jury was

17:02:20 10    that you did not use the Rohan guidance chart for the

17:02:25 11    Akoustis pay scale revision G in making compensation

17:02:29 12    decisions after you received that Aon compensation study,

17:02:34 13    correct?

17:02:36 14    A.       Correct.

17:02:37 15    Q.       But it would be fair to say that you did actually

17:02:40 16    reference the information that came from Qorvo as a part of

17:02:45 17    the compensation study, correct?

17:02:51 18    A.       I would say that is partially correct.         It was

17:02:55 19    referenced in order to appease Rohan, but not used in the

17:03:03 20    study.

17:03:26 21    Q.       You also testified regarding a number of policies

17:03:31 22    that Akoustis has in place that relates to the way Akoustis

17:03:38 23    employees should treat the intellectual property of Akoustis

17:03:41 24    and treat the intellectual property of third parties;

17:03:45 25    correct?
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17:03:45   1   A.     Yes.

17:03:45   2   Q.     And I think one of them was a business conduct

17:03:48   3   guidelines; correct?

17:03:49   4   A.     Yes.

17:03:49   5   Q.     One of them was a code of ethics, is that correct?

17:03:52   6   A.     That's correct.

17:03:53   7   Q.     One of them was an employee confidentiality

17:03:55   8   agreement?

17:03:55   9   A.     Yes.

17:03:56 10    Q.     And you also required employees to sign an annual

17:04:02 11    compliance certification, correct?

17:04:04 12    A.     Yes.

17:04:04 13    Q.     I would like to pull up what is PDX-14.2.         And I

17:04:25 14    would like to approach the witness and provide her with an

17:04:29 15    exhibit, Your Honor.

17:04:31 16                   THE COURT:   You may.

17:04:49 17    BY MS. AYERS:

17:04:53 18    Q.     And Ms. Johnson, the document that I just handed you

17:04:56 19    is the census that you created in order to identify whether

17:05:02 20    or not any individual at Akoustis previously worked for

17:05:08 21    Qorvo, RFMD or TriQuint; is that correct?

17:05:11 22    A.     That was a part of the reason this was created, yes.

17:05:14 23    Q.     Okay.    And you created that document for purposes of

17:05:18 24    identifying all the employees that have ever worked at

17:05:22 25    Akoustis, and then identifying whether or not they were
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17:05:24   1   affiliated with or associated with Qorvo or one of its

17:05:28   2   predecessors, correct?

17:05:29   3   A.     It was created by a team of people, it wasn't just me

17:05:33   4   who created it with our attorneys.

17:05:35   5   Q.     So it was a team of individuals at Akoustis that

17:05:37   6   created this, correct?

17:05:38   7   A.     Our attorneys who are not at Akoustis, along with HR

17:05:43   8   created this.

17:05:45   9   Q.     Okay.    And the information contained within this

17:05:50 10    exhibit is actually from Akoustis's own business records;

17:05:55 11    correct?

17:05:56 12    A.     Yes, that's correct.

17:05:59 13                   MS. AYERS:   Your Honor, I move to admit PTX-682.

17:06:02 14                   THE COURT:   Marked and received as 310.

17:06:06 15                   (Trial Exhibit No. 310 was admitted into

17:06:07 16    evidence.)

17:06:07 17    BY MS. AYERS:

17:06:08 18    Q.     Let's go ahead and put up 682 for the jury just for

17:06:13 19    one moment.

17:06:15 20                   So if an individual wanted to determine whether

17:06:18 21    or not any individual employee at Akoustis worked previously

17:06:22 22    for Qorvo, or one of its predecessors, they could refer to

17:06:27 23    the information contained within this chart in order to do

17:06:31 24    that, is that correct?

17:06:32 25    A.     Yes.
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17:06:35   1   Q.     Okay.     Let's go back to PDX-14.2.     And I'm not going

17:06:42   2   to walk through each one of these individuals, Ms. Johnson,

17:06:47   3   because frankly I don't think the jury would find that a

17:06:52   4   valuable use of their time, but if I wanted to, we could

17:06:55   5   look at the chart which I just gave you which is Trial

17:06:59   6   Exhibit 310 and PTX-682, and we can determine whether any

17:07:03   7   one of those individuals previously a Qorvo employee or not,

17:07:07   8   correct?

17:07:07   9   A.     Yes.

17:07:07 10    Q.     We know, for example, Mr. Daeho Kim is not a former

17:07:11 11    Qorvo employee because he just testified and stated he had

17:07:15 12    never worked previously at Qorvo.       But we could walk through

17:07:19 13    these and rid every individual at Akoustis who was

17:07:23 14    previously a Qorvo employee on this chart using your census

17:07:28 15    data, correct?

17:07:29 16    A.     Yes.

17:07:29 17    Q.     So my question for you is you testified that you're

17:07:32 18    responsible for, "everything in human resources."         Do you

17:07:36 19    remember that?

17:07:37 20    A.     Yes.

17:07:37 21    Q.     And everything in human resources includes

17:07:41 22    investigating employees for disciplinary actions, correct?

17:07:45 23    A.     In some cases, that would be correct.         In other cases

17:07:50 24    that would not be correct.

17:07:55 25    Q.     Have you, as the Director of Human Resources
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17:07:58   1   disciplined any of the individuals listed on this slide for

17:08:03   2   violations of Akoustis's business conduct guidelines, code

17:08:08   3   of ethics or employee confidentiality agreements?

17:08:11   4   A.       No.

17:08:26   5                  MS. AYERS:    I have no further questions, Your

17:08:27   6   Honor.

17:08:27   7                  THE COURT:    Redirect?

17:08:30   8                  MR. ELKINS:    Your Honor, we have no redirect.

17:08:34   9                  THE COURT:    All right.

17:08:40 10                   Ladies and gentlemen, we're going to stop today

17:08:42 11    because I need to discuss matters for the conclusion of the

17:08:45 12    case with counsel.

17:08:48 13                   Thanks so much, ma'am, you may step down.

17:08:51 14                   But we had several conferences, but we need to

17:08:58 15    have another conference as we work toward a final set of

17:09:03 16    instructions for all of you, so it makes a better use of our

17:09:06 17    time and your time.      We have one witness left, I understand,

17:09:10 18    is that right, for the defense, and that's by deposition.

17:09:13 19    Maybe I have miscounted.

17:09:14 20                   MR. ELKINS:    Your Honor, we have one fact

17:09:16 21    witness left.

17:09:16 22                   THE COURT:    One fact witness.

17:09:19 23                   MR. ELKINS:    Yes.

17:09:19 24                   THE COURT:    I'm sorry, one fact witness left,

17:09:21 25    and we'll play that first thing tomorrow.
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17:09:23   1                 MR. ELKINS:    Yes, we would play that first thing

17:09:26   2   tomorrow.

17:09:26   3                 THE COURT:    Right.   And then we do have some

17:09:29   4   expert witnesses?

17:09:30   5                 MR. ELKINS:    Then we have four expert witnesses

17:09:32   6   and we will be done.

17:09:33   7                 THE COURT:    Not a problem.     I think you can hear

17:09:35   8   from everybody that we are in good shape on our schedule, I

17:09:39   9   think, hard to tell.      I think we are.     So that will give us

17:09:45 10    a chance to address a couple of things this afternoon, the

17:09:49 11    rest of the day and be better use of our time.

17:09:53 12                  We will come in tomorrow, we will have a

17:09:55 13    deposition.    I didn't want to start the deposition and stop.

17:09:59 14    I'm going to ask you to come in as you have.          I understand

17:10:02 15    everybody got here right on time, somebody right on time.

17:10:06 16    So that's not a problem, and we will start in here as soon

17:10:10 17    as we can.

17:10:11 18                  We are now in the process of discussing some

17:10:13 19    things as you can tell and I just mentioned to you, so it

17:10:16 20    may delay us just a little bit as we adjust some documents

17:10:21 21    for you and the close of the case.

17:10:23 22                  Well, we got a ways to go.       Don't discuss the

17:10:27 23    case amongst yourselves.      Don't let anybody talk to you, if

17:10:30 24    somebody tries to.     Avoid things in the media, anything

17:10:34 25    about filters, it's probably easy to do, and of course keep
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17:10:37   1   an open mind.   We'll see you all tomorrow to start at 8:30.

17:10:43   2   We'll come in a little earlier.      Thanks very much.

17:10:47   3                (Jury exiting the courtroom at 5:10 p.m.)

17:11:14   4                THE COURT:    Everyone can be seated for a moment.

17:11:23   5   This is kind of where we are.     We understand that -- and we

17:11:31   6   already mentioned this, we will need to eliminate the

17:11:36   7   instruction referencing the false advertising claim,

17:11:39   8   obviously, everybody agrees with that.       I'll go back to

17:11:43   9   Mr. Masters, he looks like he's in the seat in charge right

17:11:46 10    now, and that is correct, right?

17:11:48 11                 MR. MASTERS:    That is correct, Your Honor.

17:11:49 12                 THE COURT:    And then we need to possibly, and we

17:11:54 13    will make sure that there is an instruction, the principle,

17:11:59 14    we will look at that.     One has been proposed already that

17:12:01 15    you sent in, I'll recheck that.      We've got things on it, but

17:12:05 16    I may want to send one in tonight.

17:12:07 17                 MR. MASTERS:    Okay.

17:12:09 18                 THE COURT:    I'm sure we've got it.     It's not

17:12:12 19    something hard to find.

17:12:13 20                 We can do this, it's a little more awkward, we

17:12:23 21    have the delete the instruction concerning the Doctrine of

17:12:26 22    Equivalents, that's already been out for a while, so that's

17:12:29 23    gone.   We're going to -- are we going to renumber the

17:12:33 24    Georgia-Pacific factors, does it matter?       We can renumber

17:12:36 25    them.
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17:12:37   1                 However you want them re-numbered, we'll

17:12:39   2   renumber them that's not a problem.           You the limiting

17:12:43   3   instruction, attorney instruction, laptop commuters, I don't

17:12:46   4   think we have had any discussion about that and we're

17:12:49   5   probably better off the way we are.

17:12:51   6                 MR. ELKINS:    I don't think we need it, Your

17:12:52   7   Honor.

17:12:52   8                 THE COURT:    We don't need that, right?

17:12:54   9                 MR. ELKINS:    Yes.

17:12:55 10                  THE COURT:    We are going to strike it, we're

17:12:57 11    getting rid of that.      That takes care of that.        Delete the

17:13:00 12    reference to do bender and the conspiracy instruction, I

17:13:04 13    think we have to do that, too, so that -- anybody got

17:13:07 14    something contrary on that, looking to everybody to make

17:13:11 15    sure.    I'm pretty sure that's out, but -- at least one nod

17:13:17 16    from somebody in charge over there.           Okay.

17:13:19 17                  We will look at that discussion regarding

17:13:26 18    replacing the instruction concerning duplicative damages

17:13:31 19    with the instructions the Court will ensure that there is no

17:13:36 20    dollar recovery, I can do that, I think I'm allowed to, it's

17:13:39 21    okay, I think that's all-think about that, I'm going to

17:13:44 22    think about it because I'm not completely resolved on that

17:13:47 23    frankly, and we do give that instruction with some

17:13:51 24    regularity, so I'm going to just put that down as maybe as

17:13:55 25    open still.    And then I think that's it.         Respond as
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17:14:01   1   superior, I think we got that covered.

17:14:05   2                  So now, right now and I'm not sure what's going

17:14:08   3   to happen, I'm not promising, but we have to continue to

17:14:11   4   revise documents.    It looks like under North Carolina law we

17:14:18   5   may put an nominal damages option there, that may be the way

17:14:22   6   that should be handled.     And we can talk about that some

17:14:25   7   more.   We're going to try to get through the process of

17:14:28   8   getting things on paper in a pretty close to final format.

17:14:35   9                  That is a pretty good list of things that we're

17:14:38 10    taking care of.    Let me see what else we've got here.

17:14:42 11                   Mr. DeFosse, I'm looking at memos that you

17:14:44 12    submitted, so if you want to tell me about them more, we

17:14:47 13    will talk about it.

17:14:50 14                   MS. AYERS:   Your Honor, I don't think

17:14:52 15    Mr. DeFosse is in the courtroom.

17:14:54 16                   THE COURT:   No, he's not.   He's gone.    Is he

17:14:59 17    coming back?    I'm sure he is.   I didn't see him, but that's

17:15:03 18    fine.   I've got the note and I understand how we're going to

17:15:06 19    try to take a look at things.

17:15:08 20                   I just wanted to go over matters.     What else do

17:15:12 21    we have, we have maybe one more thing.       Civil conspiracy,

17:15:16 22    right now we got civil conspiracy in, right now I'm thinking

17:15:21 23    civil conspiracy remains in.      And civil conspiracy we can

17:15:24 24    look at that.    I know there was some discussion from the

17:15:28 25    defense side on civil conspiracy.     And I will think about it
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17:15:33   1   a little bit more, but that's probably not going away, but

17:15:38   2   I'm not sure.

17:15:39   3                 I think that covers -- and Mr. Masters, what

17:15:43   4   else do we need, or Ms. Ayers, what else do we need to put

17:15:47   5   on our list because we've got a pretty quick schedule, we're

17:15:51   6   going to complete that -- obviously defense is going to

17:15:55   7   complete that deposition testimony, it won't take that long,

17:15:57   8   well it takes a little while, you should have our list and

17:16:02   9   videographer has made our changes.

17:16:04 10                  MR. ELKINS:   We've already made those changes

17:16:06 11    Your Honor, so we're ready to go.

17:16:08 12                  THE COURT:    I don't remember how long that is.

17:16:10 13                  MR. ELKINS:   Ninety minutes.

17:16:11 14                  THE COURT:    Ninety minutes.    I knew it was a

17:16:13 15    little long but that's not a problem.        We'll start that

17:16:16 16    right at 9:30.

17:16:17 17                  Mr. Masters, I know you're standing, but I got

17:16:20 18    to get that to counsel, Mr. Elkins, because they have got

17:16:24 19    the laboring for tomorrow.     I'm going to give you your

17:16:29 20    times, the time is getting eaten up pretty good, let me take

17:16:33 21    a look how bad they are.

17:16:35 22                  We're doing them a little differently when you

17:16:45 23    were out.    We will recheck them, I think everybody has got

17:16:47 24    this down.   It looks like the Plaintiff has used 20 hours

17:16:51 25    and 53 minutes, so you're on--      and five seconds.      So that's
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17:16:55   1   not a lot left there.       Defense has now used it looks like

17:17:02   2   15 hours, 32 minutes, and 0 seconds there.        There may be a

17:17:09   3   little bit on the side-bar, we'll adjust that and get that

17:17:13   4   taken care of.    So that will probably not change it very

17:17:16   5   much at all.

17:17:17   6                  Mr. Masters, this is -- yes, sir.

17:17:19   7                  MR. MASTERS:    I was going to ask another

17:17:23   8   question, so we can finish this topic.

17:17:25   9                  THE COURT:    I just want you to know, everybody

17:17:27 10    knows we're going to be fight on Plaintiff's side, that's

17:17:30 11    not unusual, kind of how it works out.

17:17:32 12                   MR. MASTERS:    We're hoping to land right under

17:17:34 13    the twenty-five, Your Honor.

17:17:35 14                   THE COURT:    That's a good thing.

17:17:37 15                   MR. MASTERS:    That's our goal.

17:17:38 16                   I would like to say that I believe during Court

17:17:43 17    session today, we e-mailed to you our brief on the North

17:17:49 18    Carolina.

17:17:49 19                   THE COURT:    Yes, I have got that, in fact I

17:17:51 20    started to look at it, and I already have a comment or two.

17:17:56 21                   MR. MASTERS:    Would you like us to file it in

17:17:59 22    the court docket?

17:18:00 23                   THE COURT:    Yes, it should be docketed.

17:18:01 24                   MR. MASTERS:    We'll do that.

17:18:02 25                   THE COURT:    And, of course, Mr. Elkins has a
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17:18:06   1   copy, I don't know if he has.

17:18:07   2                MR. MASTERS:    We copied him.

17:18:08   3                MR. ELKINS:    I haven't checked e-mail since

17:18:10   4   yesterday.

17:18:11   5                THE COURT:    It's there.       I think we're good on

17:18:14   6   that.   Yes, sir.

17:18:15   7                MR. MASTERS:    Just I guess scheduling, if we --

17:18:17   8   I'm not sure we'll get through all the witnesses tomorrow,

17:18:20   9   but if we run into Wednesday with witnesses, would you

17:18:23 10    anticipate doing closing Wednesday afternoon?

17:18:26 11                 THE COURT:    Yes.

17:18:26 12                 MR. MASTERS:    Okay.

17:18:27 13                 THE COURT:    Yes.

17:18:28 14                 MR. MASTERS:    Or immediately after --

17:18:29 15                 THE COURT:    Wednesday we're going to get to

17:18:32 16    closing, that seems very, time is going to run out, that's

17:18:36 17    extremely, extremely likely.      And that's a good -- that's

17:18:41 18    what I want the jury to know I think we're doing okay.

17:18:44 19                 MR. MASTERS:    I only ask for planning purposes,

17:18:46 20    that's all on our side, that's all.

17:18:49 21                 THE COURT:    I think we're in good shape.

17:18:50 22                 MR. ELKINS:    I do, too, Your Honor.       Just for

17:18:55 23    your amusement, I guess.

17:18:57 24                 THE COURT:    That looks terrible when you open a

17:18:59 25    book like that.
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17:19:00   1                MR. ELKINS:    I know, but I had calculated that

17:19:02   2   tomorrow if we had started -- and again, we got kicked off a

17:19:06   3   little late today, but if we only had fifteen minutes with

17:19:10   4   Ms. Giovan tomorrow but we would only go seven-and-a-half

17:19:15   5   hours, we go 7:45 with the breaks.      So we'll be very close

17:19:19   6   to being done tomorrow, but I expect that things, you know,

17:19:24   7   things always take longer than one expects and if things

17:19:28   8   move faster, we will finish tomorrow, if they don't, then

17:19:32   9   Ms. Irwin will be the last expert to testify for us, it may

17:19:37 10    either fall on both Tuesday and Wednesday, or on Wednesday,

17:19:42 11    in which case you know, we can take a break and then close.

17:19:45 12                 THE COURT:    Right.   Exactly.

17:19:46 13                 MR. ELKINS:    Yeah.

17:19:47 14                 THE COURT:    I think you're right.     Let's check

17:19:49 15    on one other thing, too, which is at this point I'm

17:19:52 16    anticipating that if there is any rebuttal, it will be super

17:19:58 17    short.   That's kind of what I'm thinking.      Is that what

17:20:00 18    you're thinking Mr. Masters?

17:20:03 19                 MR. MASTERS:   It is.   And right now we don't

17:20:05 20    anticipate any rebuttal.

17:20:07 21                 THE COURT:    We're going to get to close on

17:20:09 22    Wednesday for sure, and we got some things to work on in

17:20:14 23    terms of finishing up the instructions.        Do we get final red

17:20:19 24    lines from everybody, I haven't seen it.       They didn't print

17:20:28 25    it.   We're going to try to get that printed and we'll take
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17:20:31    1   care of it.    I think we're in good shape to conclude matters

17:20:36    2   in this matter.     Is there anything else?

17:20:41    3                 MR. MASTERS:    Not today.

17:20:42    4                 THE COURT:    Mr. Elkins?

17:20:43    5                 MR. ELKINS:    I found out what the Biden thing is

17:20:45    6   tomorrow, so I'm gratified that I know that Hunter Biden

17:20:49    7   will be next door.

17:20:50    8                 THE COURT:    Apparently he's physically not

17:20:52    9   coming, just counsel, so there will be many disappointed

17:20:56 10     reporters.

17:20:57 11                   MR. ELKINS:    I'm sure they'll maybe be twenty,

17:21:01 12     you know, instead of having a thousand cameras only be like

17:21:04 13     eighty.

17:21:05 14                   THE COURT:    I do think it's good that you all

17:21:07 15     know about that so that you won't be -- one, you won't be

17:21:10 16     surprised and two, you can avoid the rush.

17:21:15 17                   Thank you all very much.        And we're going to

17:21:17 18     make some changes and we'll have this out to you very soon.

17:21:22 19     Thank you very much.

17:21:23 20                   COURT CLERK:    All rise.

17:21:24 21                   (Court adjourned at 5:21 p.m.)

           22                I hereby certify the foregoing is a true and
                accurate transcript from my stenographic notes in the proceeding.
           23

           24                                          /s/ Dale C. Hawkins
                                                     Official Court Reporter
           25                                            U.S. District Court
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                         EXHIBIT M
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                                       #: 41603                                1954


08:06:58    1                  IN THE UNITED STATES DISTRICT COURT

            2                     FOR THE DISTRICT OF DELAWARE

            3
                QORVO, INC.,                ) VOLUME 7
            4                               )
                           Plaintiff,       )
            5                               ) C.A. No. 21-1417(JPM)
                v.                          )
            6                               )
                AKOUSTIS TECHNOLOGIES, INC.,)
            7   and AKOUSTIS, INC.,         )
                                            )
            8               Defendants.     )

            9
                                Tuesday, May 14, 2024
           10                   8:30 a.m.
                                Jury Trial
           11

           12                   844 King Street
                                Wilmington, Delaware
           13

           14   BEFORE:   THE HONORABLE JON P. McCALLA
                          United States District Court Judge
           15

           16

           17   APPEARANCES:

           18
                            MORRIS NICHOLS ARSHT & TUNNELL LLP
           19               BY: JEREMY A. TIGAN, ESQ.
                            BY: ANTHONY D. RAUCCI, ESQ.
           20
                            -and-
           21
                            SHEPPARD MULLIN RICHTER & HAMPTON LLP
           22               BY: ROBERT M. MASTERS, ESQ.
                            BY: JONATHAN R. DeFOSSE, ESQ.
           23               BY: KAZIM A. NAQVI, ESQ.
                            BY: JENNIFER KLEIN AYERS, ESQ.
           24

           25                           Counsel for the Plaintiff
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         1    APPEARANCES CONTINUED:

         2
                            BAYARD, P.A.
         3                  BY: STEPHEN B. BRAUERMAN, ESQ.
                            BY: RONALD P. GOLDEN, III, ESQ.
         4
                            -and-
         5
                            SQUIRE PATTON BOGGS (US)LLP
         6                  BY: RONALD S. LEMIEUX, ESQ.
                            BY: DAVID S. ELKINS, ESQ.
         7                  BY: VICTORIA Q. SMITH, ESQ.
                            BY: XIAOMEI CAI, ESQ.
         8                  BY: RACHAEL A. HARRIS, ESQ.
                            BY: MATTHEW A. STANFORD, ESQ.
         9

        10                              Counsel for the Defendants

        11

        12

        13                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

        14

        15

08:29:02 16                THE COURT:   You may be seated.       One of our jurors

08:29:08 17   has just arrived.     In connection with some of the material

08:29:18 18   that's been submitted, we need to keep in mind that there

08:29:23 19   are time limits in terms of the proposing or suggesting that

08:29:28 20   something does not state a claim.       And being late in that

08:29:31 21   regard is quite problematic.       So we will have to look

08:29:35 22   carefully at whether or not some of these objections are

08:29:40 23   simply late, which they may be.

08:29:45 24                 We'll also have to have some discussion,

08:29:48 25   probably, on Dr. Lebby's testimony.           It's going to be quite
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08:29:53   1   limited.    It was to be quite limited in terms of what was

08:29:57   2   submitted and what the Court has entered in order in that

08:30:01   3   regard.    He can certainly testify on certain things, like

08:30:04   4   general principles on the teardown and that sort of thing.

08:30:08   5                   So we'll see and we'll be looking at this a bit

08:30:13   6   more during the day.

08:30:15   7                   Let's see.    Where the parties do not agree on

08:30:23   8   the way to remedy an issue with regard to demonstratives,

08:30:27   9   generally we have not allowed demonstratives, remember to

08:30:31 10    keep that in mind, that's the way it's been handled all

08:30:33 11    along and we don't need to change that now.            This is the

08:30:37 12    very end of the trial and that's an issue.

08:30:41 13                  Now, unreasonableness in terms of approving

08:30:49 14    demonstratives might lead to a slightly different

08:30:52 15    conclusion, we have to keep that in mind, there is a

08:30:55 16    reasonableness type of factor there.          We're still working on

08:30:58 17    material.   And that's where we are.          I'm looking around to

08:31:02 18    see who we have got.      Mr. DeFosse is back today.

08:31:06 19                  MR. DeFOSSE:    I am today.

08:31:08 20                  THE COURT:     I was looking around and I couldn't

08:31:09 21    find you.   I knew you had gone home, that's okay.            And

08:31:13 22    Mr. Lemieux is here, I think he's missing one of his buddies

08:31:17 23    over there.

08:31:18 24                  MR. LEMIEUX:    One of my buddies will be a little

08:31:20 25    late this morning.
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08:31:21   1               THE COURT:    That's perfectly fine.      People had

08:31:33   2   some problems getting parked because of what's going on.

08:31:37   3               So if you want to have a very brief, very brief

08:31:42   4   Lebby -- let me make sure I got the sequencing right.         The

08:31:48   5   sequence for today, we would have to look at Darveaux first.

08:32:00   6   Does the defense want to take its position, state it one

08:32:04   7   more time briefly, I'm just going to do it briefly because

08:32:07   8   we're going to -- we have to give him a chance to get a cup

08:32:12   9   of coffee, we're not going to take long on this.

08:32:15 10                MR. NAQVI:    Good morning, Your Honor.

08:32:18 11                THE COURT:    Go ahead.

08:32:19 12                MR. NAQVI:    I'll be very brief.      There are two

08:32:22 13    objections for the materials for Dr. Darveaux.        The first is

08:32:26 14    defense demonstrative 3.22, there is a limited statement in

08:32:29 15    that slide about a timeline of development and there is an

08:32:36 16    August 2015 date in a statement attached to it.        This was

08:32:38 17    never previously offered or opined on by Dr. Darveaux.

08:32:42 18    Akoustis claims that this information was set forth in PTX

08:32:46 19    682, but Dr. Darveaux never addressed that document in his

08:32:51 20    report or expressed any opinion on it, so we think that's

08:32:54 21    outside the scope of his opinions and should be excluded.

08:32:57 22                THE COURT:    Give me one second.      I've got to

08:32:59 23    make some adjustments up here.     I'll turn that one on.

08:33:17 24    Because we have a lot of papers, I am going to let you, if

08:33:20 25    you can, show us the precise document that you're concerned
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24     Page 1636 of 2283 PageID
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08:33:25   1   about, so just make it easier on us.

08:33:28   2                 MR. NAQVI:    I have it here, Your Honor.

08:33:30   3                 THE COURT:    If you pass it up.      Just come

08:33:33   4   forward.

08:33:33   5                 MR. NAQVI:    Thank you.

08:33:35   6                 THE COURT:    Just hand it -- I have got a whole

08:33:38   7   lot of material.    Okay.   All right.       Final response on that

08:33:49   8   one.

08:33:50   9                 MS. SMITH:    Good morning, Your Honor.        So the

08:33:54 10    response on that is the document that Dr. Darveaux relies on

08:34:00 11    was part of his materials considered and it was basically a

08:34:03 12    spreadsheet of employees listed, and hiring dates.            And so

08:34:10 13    there was really nothing to opine on.

08:34:16 14                  THE COURT:    Okay.   Well, I think we're talking

08:34:19 15    about this August 15th, began hiring ten staff, is that it?

08:34:24 16                  MR. NAQVI:    Yes, Your Honor.

08:34:25 17                  THE COURT:    What do we have that shows that that

08:34:27 18    was previously disclosed?     What do we have?

08:34:31 19                  MS. SMITH:    It's the spreadsheet is listed as

08:34:33 20    part of Dr. Darveaux's materials considered attached to his

08:34:40 21    report --

08:34:40 22                  THE COURT:    That's not helping me at all.        Hand

08:34:46 23    me the spreadsheet.    I can't tell by someone telling me what

08:34:49 24    it says.    I don't know what it says.

08:35:01 25                  MR. NAQVI:    Your Honor, may I approach?
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08:35:03   1                THE COURT:   Yes.    Take a look at it, see what it

08:35:06   2   says.   Everybody agrees this particular document was

08:35:10   3   disclosed, is that right?    Check with plaintiff's counsel,

08:35:14   4   you agree this document was disclosed.

08:35:16   5                MR. NAQVI:   Your Honor, I agree the document is

08:35:18   6   in his documents considered, but there are thousands of

08:35:21   7   documents in the materials considered and he didn't provide

08:35:23   8   an expressed opinion on this.     And I would also direct the

08:35:27   9   court to paragraph 58 of Dr. Darveaux's report, that's where

08:35:30 10    he provided the development timeline and the August 2015

08:35:34 11    date and note attached to it is not in there, so this was

08:35:37 12    just added just now.

08:35:39 13                 THE COURT:   Okay.   Let me check.     I'm on

08:35:41 14    paragraph 58.

08:35:43 15                 MR. NAQVI:   Paragraph 58, Your Honor, it's on

08:35:45 16    page 20.

08:35:45 17                 THE COURT:   I got page 20, that's for sure.

08:35:49 18    Okay.   And your point about page 20 is exactly what, because

08:36:00 19    I got date, date, date, and then I got event, Akoustis,

08:36:05 20    Incorporated acquisition of STC MEMS at 2017.        So, yes, sir,

08:36:14 21    go ahead and tell me.

08:36:15 22                 MR. NAQVI:   Correct.   The issue is here

08:36:18 23    Dr. Darveaux provides a development timeline and we haven't

08:36:22 24    objected to any of these dates that are reflected on his

08:36:25 25    demonstratives but the August --
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08:36:26   1                THE COURT:    I'm hearing what you're saying, he

08:36:28   2   didn't disclose the August date?

08:36:30   3                MR. NAQVI:    That's correct, Your Honor.

08:36:31   4                THE COURT:    He didn't disclose the August date.

08:36:33   5   What about that, counsel?

08:36:35   6                MS. SMITH:    At the time it really wasn't much of

08:36:37   7   an issue because it was pretty much a corporate timeline --

08:36:43   8                THE COURT:    That's not answering the question.

08:36:45   9   We agree he did not disclose the August 2015 date it

08:36:49 10    appears, is that right?

08:36:50 11                 MS. SMITH:    Well, it wasn't part of his timeline

08:36:52 12    in the expert report.

08:36:53 13                 THE COURT:    Show me where it is in the report.

08:36:55 14                 MS. SMITH:    It's not in the report.

08:36:57 15                 THE COURT:    That's all I need to know.

08:36:58 16                 MS. SMITH:    It's written in the materials --

08:37:00 17                 THE COURT:    I got you, it's not in the report.

08:37:03 18    He sets that timeline, it's very specific, now to assert a

08:37:07 19    new date and I understand these things happen, it's not like

08:37:11 20    it's anybody's fault, certainly not your fault, it's just

08:37:15 21    not there.   And because it is of significance in the case

08:37:19 22    and they have raised a proper objection, we're going to have

08:37:22 23    to sustain that one unless you can hear something really

08:37:25 24    quickly because everything else I got, I got very small time

08:37:30 25    here.   I don't seem to have anything -- is there something
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08:37:35   1   else that would give me that date that would bail you out on

08:37:38   2   that, that's all I want to know.

08:37:41   3                  MS. SMITH:   Well, everything is in the

08:37:43   4   spreadsheet you have and that's just listed in the materials

08:37:45   5   considered.    He did talk about in his deposition certain

08:37:52   6   employee hires, I believe, and would he be able to opine

08:37:57   7   about that just from the stand even if it's not on the

08:38:00   8   demonstrative?

08:38:01   9                  THE COURT:   He does have employee hires, he's

08:38:04 10    got termination date, hire dates.        What I'm looking at has

08:38:08 11    this -- this portion has hires in 2021, some do go back to

08:38:14 12    2017.   Let me look quickly.      I have got one in 2016, Dyer.

08:38:28 13    Is that the earliest one.

08:38:31 14                   MS. SMITH:   There is one in 2015.

08:38:34 15                   THE COURT:   Can you tell me where?

08:38:39 16                   MS. SMITH:   I don't know exactly where in the

08:38:41 17    spreadsheet, but if the names are in alphabetical order, it

08:38:45 18    should be the last name of Patel.

08:38:50 19                   THE COURT:   All right.    Let me look just a

08:38:53 20    minute more.    I do have a 2015, April, and that's Michael

08:38:56 21    Patrick, director of business systems hired at that time.

08:39:03 22    How would that be relevant?

08:39:06 23                   MS. SMITH:   I couldn't hear your --

08:39:08 24                   THE COURT:   Director of business systems.

08:39:11 25                   MS. SMITH:   Business systems.
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08:39:12   1                  THE COURT:   Right.   Michael Patrick.    That's the

08:39:15   2   one I found.    Maybe somebody else, Michael Patrick Lewis.

08:39:21   3                  MS. SMITH:   I think you're getting there.     There

08:39:25   4   is also somebody in 2014 with the last name of Patel.

08:39:30   5                  THE COURT:   Okay.    I'm sorry, I'm looking for

08:40:02   6   Patel.   I got -- if you can direct me a little more, I'm on

08:40:22   7   page 12 of the document handed up, it's got some material in

08:40:25   8   it.   And it's the table of hires.      You may have a different

08:40:31   9   page number on that, I'm not sure.       It should be right here.

08:40:45 10    Here it is, it was Patel and it was director of engineering,

08:40:50 11    R & D product engineering.     So forth.    He seems to have been

08:41:00 12    there and is still there, is that right?

08:41:04 13                   MS. SMITH:   I believe so, yes, as of the date of

08:41:06 14    this spreadsheet.

08:41:07 15                   THE COURT:   It looks like Patel is still there.

08:41:10 16    That's correct?    Okay.    Well, I see what you're saying.       The

08:41:15 17    issue is whether or not it's appropriate.       These are just

08:41:21 18    demonstratives just to go through all that, this is what

08:41:23 19    we're talking about.    Where the parties disagree on

08:41:27 20    something, we typically require either agreement or

08:41:31 21    deletion, and in this case when you look at the material on

08:41:34 22    page 20, it does seem to be setting a timeline.         It doesn't

08:41:40 23    include that date.    And if that was a significant date, it

08:41:44 24    should have been included and there is no way to -- it's not

08:41:53 25    a way to rationalize that by looking at the document.         I
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08:41:59   1   don't think it would tell us that date.       It might tell us

08:42:04   2   some information that might have led to the date but it

08:42:07   3   would not tell the date.    You would not be able to tell.

08:42:11   4               I'm going to have to sustain the objection.

08:42:13   5   This is pretty, with all due respect, I know it's important,

08:42:16   6   but it's a demonstrative, and we're just taking it off the

08:42:20   7   screen because it is not previously disclosed as a key event

08:42:26   8   is what I understand, these are supposed to be key events,

08:42:30   9   is that right?

08:42:31 10                MS. SMITH:     It became a key event, just not as

08:42:35 11    the date of the --

08:42:36 12                THE COURT:     Right, and because it's a key event

08:42:38 13    but it's not disclosed on page 20, and clearly the timeline

08:42:42 14    there, it would be confusing, it would be 403 problem, and

08:42:48 15    also it just -- it's not adequately disclosed in the report.

08:42:54 16    I'm going to have to sustained that objection, I know we're

08:42:57 17    going to have to go to the next matter.       I'm going to hear

08:43:01 18    very briefly, tell the jury we're taking care of a

08:43:03 19    preliminary matter and we have another four or five minutes

08:43:07 20    maybe.

08:43:08 21                Let's go to the next issue.

08:43:12 22                MR. NAQVI:     Thank you, Your Honor, I appreciate

08:43:14 23    the time this morning.    The last objection for Dr. Darveaux

08:43:17 24    is to JTX 07.    This is an Akoustis trimming document.       And

08:43:22 25    the issue here is this document was not disclosed at any
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08:43:26   1   point in Akoustis's initial disclosures, supplemental

08:43:31   2   disclosures, and more importantly we served an interrogatory

08:43:34   3   asking them to identify all documents that support any

08:43:37   4   contention that they independently developed any information

08:43:40   5   that overlapped with Qorvo's alleged trade secrets --

08:43:44   6                 THE COURT:    Let me take a look at JTX 007,

08:43:47   7   because there are a lot of documents in this case, easier to

08:43:50   8   have you hand it up.

08:43:53   9                 MR. NAQVI:    Would you like me to walk --

08:43:56 10                  THE COURT:    Absolutely, yes, hand it up.       Let's

08:43:59 11    take a quick look at that, and --

08:44:04 12                  MR. NAQVI:    Your Honor, if I may provide a

08:44:06 13    little more context here.      This wasn't disclosed during

08:44:10 14    discovery and it was first addressed in Dr. Shanfield's

08:44:13 15    report -- I'm sorry, in Dr. Darveaux's report and if the

08:44:17 16    Court may recall, we offered a supplemental report from

08:44:21 17    Dr. Shanfield that addressed this document and other similar

08:44:26 18    trimming arguments.     The Court did not allow those opinions

08:44:29 19    to come in.

08:44:30 20                  This is sort of a goose and gander issue where

08:44:33 21    these opinions in this document was relied on for the first

08:44:36 22    time in the expert report of Dr. Darveaux, we tried to

08:44:39 23    supplement it and the Court did not permit those opinions to

08:44:42 24    come in, so we believe that JTX 007 should also not be used.

08:44:48 25                  THE COURT:    Let me make sure.     Is there any
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08:44:51   1   question about the authenticity or time of this particular

08:44:55   2   document?

08:44:56   3               MR. NAQVI:    I don't believe there is any dispute

08:44:58   4   as to authenticity, Your Honor.

08:45:03   5               THE COURT:    Ms. Smith, is that right?

08:45:05   6               MS. SMITH:    Yes.   Tell me about this one.      Sure.

08:45:09   7   Your Honor, we are not offering this exhibit as proof of

08:45:16   8   independent development of a trimming process that is

08:45:20   9   similar to Qorvo's, in fact we're doing this -- we're

08:45:26 10    presenting it for the opposite proposition, which is that we

08:45:30 11    have a different process.    And so that wouldn't have fallen

08:45:35 12    into the interrogatory response.     It would not have been

08:45:42 13    within the scope of that and Dr. Darveaux did opine on the

08:45:48 14    specific document in his expert report.

08:45:55 15                THE COURT:    Let me hear from counsel.       What's

08:45:58 16    the problem for this particular document?       I know the issue

08:46:00 17    is whether it was previously part -- is that correct,

08:46:05 18    previously part of the material?

08:46:08 19                MR. NAQVI:    Yes, Your Honor, I disagree with

08:46:10 20    counsel's argument, I do believe this goes to independent

08:46:13 21    development, our contention is they didn't have trimming,

08:46:16 22    they used Qorvo's information to develop their trimming,

08:46:19 23    whether it's a different process or not, I think that's a

08:46:21 24    factual issue.   But the more fundamental issue was that this

08:46:25 25    was disclosed for the first time in Dr. Darveaux's report,
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08:46:28   1   we tried to have Dr. Shanfield respond to it, and we didn't

08:46:31   2   have that opportunity.

08:46:40   3                 And when we asked Akoustis to identify documents

08:46:43   4   supporting any independent development this document was not

08:46:47   5   disclosed see we weren't able to address it in your

08:46:50   6   affirmative expert reports or during fact discovery.

08:46:53   7                 THE COURT:    That was the note that I had was

08:46:55   8   failure to previously disclose being the problem, but maybe

08:47:00   9   not.

08:47:31 10                  Does everybody agree that the document was not

08:47:34 11    disclosed in initial or subsequent disclosures under

08:47:37 12    Rule 26?

08:47:39 13                  MS. SMITH:    That is true, however, it was, the

08:47:42 14    objections have been waived as far as the discovery is

08:47:44 15    concerned.

08:47:51 16                  THE COURT:    Well, that doesn't solve that

08:47:55 17    problem.

08:47:56 18                  MS. SMITH:    Your Honor, the issue here is Qorvo

08:47:58 19    thinks that the processes are the same, but they are not.

08:48:03 20    And that's why they were not disclosed.         It was not

08:48:07 21    responsive.

08:48:12 22                  THE COURT:    I think you got a large person

08:48:15 23    standing behind you lurking.

08:48:18 24                  MR. LEMIEUX:    I would also point out, Your

08:48:20 25    Honor, that you know, the initial disclosures, the plaintiff
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08:48:23   1   in this case, as you know, has identified over a thousand

08:48:27   2   trade secrets allegedly at issue and until we got to trial

08:48:30   3   here --

08:48:30   4                THE COURT:   You're right, it's been an issue,

08:48:33   5   it's been a problem.    When did I first caution about too

08:48:37   6   many trade secrets?

08:48:38   7                MR. LEMIEUX:   Long before we were involved in

08:48:40   8   the case.

08:48:40   9                THE COURT:   A long time ago.     I wish they had

08:48:43 10    got this number a long time ago.     I am going to allow this

08:48:53 11    document.   I think it's appropriate to allow this document,

08:48:57 12    I don't have the same issues that we had before, I think

08:49:00 13    failure to disclose in a very complicated matter in which

08:49:04 14    disclosures were not the usual types of disclosures, I am

08:49:08 15    going to allow this document.

08:49:10 16                 Trim process steps.    We've got that.      It doesn't

08:49:13 17    seem to me to be very unusual anyway with all due respect to

08:49:19 18    the document.   So we're going to allow that one.       I think

08:49:23 19    we've covered that.    Anything else on this particular

08:49:25 20    witness?

08:49:27 21                 MR. NAQVI:   Not for Dr. Darveaux, Your Honor.

08:49:30 22                 THE COURT:   I think it was important to get

08:49:31 23    through that.   We're going to bring the jury in.

08:49:34 24                 MR. NAQVI:   Your Honor, would you like to hear

08:49:36 25    any argument about Dr. Lebby or Your Honor --
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08:49:39   1                THE COURT:   I think we need to bring the jury

08:49:41   2   in.   And we're looking at the Lebby situation, we're also

08:49:44   3   looking at a couple of other things that have been raised in

08:49:47   4   terms of the election question and so forth.        And all of

08:49:52   5   this is -- got a lot to do.     But we need to let the jury

08:49:55   6   come in.

08:49:56   7                MR. NAQVI:   Understood, Your Honor.      Thank you.

08:49:58   8                THE COURT:   Sure.   No problem.

08:50:19   9                (Jury entering the courtroom at 8:50 a.m.)

08:50:28 10                 THE COURT:   Everyone can be seated.      I hope

08:50:47 11    Mr. Romano got a chance to get a cup of coffee.        I think

08:50:50 12    parking wasn't so easy today, was it?

08:50:55 13                 A JUROR:   No, it was not.

08:50:56 14                 THE COURT:   As you can tell, as we move toward

08:50:58 15    the end of the process, we're going to have to have some

08:51:01 16    conferences that do delay you some, and for that I

08:51:05 17    apologize, but we have all been working since -- well, a

08:51:08 18    while already, quite a while, actually, and we made progress

08:51:11 19    in terms of our second witness, I believe, today, so that

08:51:15 20    will help us move that right along.

08:51:17 21                 But the question right now is for the defense,

08:51:22 22    who is your next witness?

08:51:24 23                 MR. LEMIEUX:   The next witness will be a

08:51:27 24    videotape testimony of Leah Giovan.

08:51:31 25                 THE COURT:   Of course with all depositions, this
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08:51:33   1   is the only opportunity you will get to see this testimony.

08:51:38   2   It is as though the witness were here in person in court, so

08:51:41   3   just keep that in mind.      We cannot, as you know, let you see

08:51:46   4   it again in the proceedings, there are several reasons for

08:51:48   5   that, but that would take it out of context and we could not

08:51:52   6   do that.

08:51:52   7                 All right.    We're ready to proceed.      Thank you.

08:51:54   8                 (Videotape deposition of Leah Giovan:)

08:53:09   9   Q.     Good morning, Ms. Giovan.

08:53:14 10    A.     Good morning, David.

08:53:16 11    Q.     Have you been deposed before?

08:53:18 12    A.     I have.

08:53:19 13    Q.     How about giving me sort of an overview of your

08:53:23 14    college education and then jobs up until the time you

08:53:27 15    joined, whether it was RFMD, TriQuint, Qorvo, kind of

08:53:31 16    whomever?

08:53:32 17    A.     I have a bachelor of science degree in marketing.

08:53:36 18    I'm old, so I won't bore you with all my jobs, but I started

08:53:40 19    at RFMD in 2007, which of course morphed into Qorvo, and

08:53:50 20    left there in May of 2022.

08:53:52 21    Q.     I'm old, too.      So just bore me with a little bit of

08:54:01 22    flavor of what you did before?

08:54:03 23    A.     All right.     Motorola Semiconductor.      CTC Engineering

08:54:07 24    after that.    Applied Materials for a short time.        And then

08:54:11 25    ASE, which is Advanced Semiconductor Engineering.           And then
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08:54:18   1   RF Micro Devices and Qorvo.

08:54:25   2   Q.     And what did you generally do for all of those?            I'm

08:54:29   3   not going to ask you each one individually?

08:54:33   4   A.     Engineering, sales, and supply chain.

08:54:37   5   Q.     And when you started RFMD in 2007, what were you

08:54:42   6   hired to do?

08:54:42   7   A.     Supply chain.

08:54:44   8   Q.     And is that what you did throughout your career at --

08:54:50   9   A.     I did a --

08:54:54 10    Q.     -- RFMD?

08:54:55 11    A.     I did a short stint in sales with RFMD and then back

08:54:58 12    into the supply chain.

08:55:01 13    Q.     At the same level or different level?

08:55:04 14    A.     Different level.

08:55:06 15    Q.     So kind of give me the periods.

08:55:08 16    A.     2007 as supply chain.       2011, '12, and '13, in sales.

08:55:18 17    2014 back in supply chain.

08:55:23 18    Q.     So you were responsible for working with overseeing

08:55:27 19    manufacturing and test facilities that would make a product?

08:55:31 20    A.     Yes.

08:55:32 21    Q.     And that was then on behalf of what was RFMD?

08:55:35 22    A.     Yes.

08:55:35 23    Q.     What kind of devices?

08:55:36 24    A.     Various kind of -- all kinds of packages.           Plastic,

08:55:42 25    over molded, whatever kind of package we were --
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08:55:49   1   Q.     Whatever package was needed for whatever the part

08:55:51   2   was?

08:55:52   3   A.     Correct, yes.

08:55:52   4   Q.     When you were director of supply chain, that was at

08:55:56   5   the beginning of RFMD; right?

08:55:58   6   A.     Yes.

08:55:58   7   Q.     And then at some point RFMD merged with TriQuint and

08:56:04   8   became Qorvo?

08:56:05   9   A.     Correct.     Yes.

08:56:06 10    Q.     And once then it was Qorvo, you still were the

08:56:10 11    director of supply chain?

08:56:11 12    A.     Then I was promoted to senior director.

08:56:15 13    Q.     At the time of around the merger?

08:56:18 14    A.     About the merger, yes.       A little after.

08:56:21 15    Q.     Okay.     When you were director of supply chain, you

08:56:29 16    just told me you had various responsibilities.           Could you

08:56:32 17    give me a sense of what those were?

08:56:34 18    A.     Various categories.       So --

08:56:36 19    Q.     Ah, I'm sorry.

08:56:38 20    A.     The categories we had were, again, contract

08:56:41 21    manufacturing, assembly, and test.        Front end, Fab

08:56:46 22    materials.    Chemicals.    Components such as MLCC's and

08:56:51 23    connectors.    So the entire -- sorry.        As director, I was

08:56:57 24    responsible for contract manufacturing, assembly, and test;

08:57:06 25    and then when I became senior director was when I had the
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08:57:12   1   entire group.

08:57:13   2   Q.        When you were director of supply chain, to whom did

08:57:18   3   you report?

08:57:18   4   A.        To the Vice President of Operations.

08:57:21   5   Q.        And who was that?

08:57:23   6   A.        Initially it was James Stilson, until he retired, and

08:57:30   7   then it was Paul Fego, who was Jim's replacement.

08:57:37   8   Q.        And when you were senior director, to whom did you

08:57:41   9   report?

08:57:41 10    A.        Paul Fego.

08:57:44 11    Q.        So title changed but it didn't change in terms of to

08:57:51 12    whom you reported?

08:57:52 13    A.        Correct.

08:57:52 14    Q.        But as senior director, you had more people under

08:57:55 15    you?

08:57:55 16    A.        Yes.

08:57:56 17    Q.        About how many were on that team?

08:57:58 18    A.        Thirty-ish.

08:58:02 19    Q.        And were there certain classifications -- or were

08:58:05 20    those the ones that you listed for me before, that started

08:58:08 21    with contract manufacturing?

08:58:09 22    A.        Yes, that's correct.       And components -- filters were

08:58:13 23    part of components.

08:58:15 24    Q.        And as components, that would be purchasing

08:58:22 25    third-party components from outside vendors that then Qorvo
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08:58:26   1   would use, correct?

08:58:28   2   A.     Correct.

08:58:29   3   Q.     And you then did that until 2022?

08:58:33   4   A.     I -- yes, until 2022.

08:58:36   5   Q.     And then you left Qorvo?

08:58:41   6   A.     Yes.

08:58:42   7   Q.     Why did you leave?

08:58:43   8   A.     I was fired.

08:58:44   9   Q.     Why were you fired?

08:58:46 10    A.     I had a disagreement with my manager.

08:58:49 11    Q.     Over?

08:58:52 12    A.     Over supply chain management.

08:58:56 13    Q.     Can you give me a bit more color?

08:59:07 14    A.     Well, there were several reasons, but we just

08:59:11 15    fundamentally disagreed on how to manage a supply chain.

08:59:17 16    Q.     All right.     Who was your manager at that time?

08:59:21 17    A.     Paul Fego.

08:59:25 18    Q.     Okay.     And he's still at the company?

08:59:26 19    A.     He is.

08:59:29 20    Q.     Okay.     Are you working anywhere now?

08:59:36 21    A.     Yes.

08:59:37 22    Q.     Where?

08:59:37 23    A.     Bose.

08:59:39 24    Q.     What do you do for Bose?

08:59:42 25    A.     Supply chain management.
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08:59:44   1   Q.     So as the senior director of supply chain for Qorvo,

08:59:52   2   you were working for all of the different business units?

08:59:56   3   A.     Yes.

08:59:58   4   Q.     When do you recall first having become aware of

09:00:02   5   Akoustis as a company?

09:00:05   6   A.     I don't know the year.

09:00:09   7   Q.     Do you remember the circumstances?

09:00:11   8   A.     No.

09:00:16   9   Q.     What's the first recollection you have?

09:00:25 10                  MR. NAQVI:    Objection, vague.

09:00:28 11    A.     Probably Jeff Shealy leaving Qorvo.

09:00:32 12    Q.     What do you remember about that?

09:00:33 13    A.     Only Jeff Shealy leaving Qorvo.

09:00:36 14    Q.     Do you remember any discussions with Jeff Shealy

09:00:46 15    after he left Qorvo?

09:00:49 16    A.     Yes.

09:00:49 17    Q.     What do you remember?

09:00:51 18    A.     I discussed -- I met with Jeff and had several

09:00:55 19    communications with Jeff.

09:00:57 20    Q.     Concerning what?

09:01:03 21    A.     Filters.

09:01:09 22    Q.     Were those communications concerning the Qorvo

09:01:12 23    purchase of filters from Akoustis?

09:01:16 24    A.     Yes.

09:01:20 25    Q.     What do you recall about those communications?
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09:01:25   1   A.      There were several discussions, and we were

09:01:30   2   investigating the possibility of buying filters from

09:01:36   3   Akoustis.

09:01:43   4   Q.      While you worked at Qorvo, did Qorvo ever purchase

09:01:47   5   any filters from Akoustis?

09:01:49   6   A.      Not to my knowledge.

09:01:51   7   Q.      Were there people at Qorvo who were proponents of

09:01:54   8   Akoustis?

09:01:56   9                   MR. NAQVI:   Objection, calls for speculation.

09:01:58 10                    THE WITNESS:   I'm unsure what you mean by

09:02:01 11    "proponent."

09:02:04 12    Q.      Advocates for supporting.       But if you want to have a

09:02:09 13    different word to use, that's fine --

09:02:12 14    A.      Okay.

09:02:13 15    Q.      -- with me as well.

09:02:14 16    A.      Yes.    There were people at Qorvo that were interested

09:02:17 17    in evaluating Akoustis to support their business needs.

09:02:23 18    Q.      And who were those people?

09:02:25 19    A.      Those people were the general managers, primarily in

09:02:29 20    the IDP group.

09:02:31 21    Q.      And who were those general managers?

09:02:35 22    A.      That would be Cees Links in Wi-Con, Roger Hall in

09:02:43 23    HPS.   Tony Testa, who reported to Cees, those were the

09:02:51 24    primary functions that were looking for the possibility of

09:02:55 25    buying filters.
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09:03:01   1   Q.        And were they looking for filters because they

09:03:03   2   weren't getting those filters from the internal --

09:03:06   3   A.        Yes.

09:03:08   4   Q.        -- Qorvo?

09:03:10   5   A.        Yes.

09:03:10   6   Q.        So in your job on the supply chain, did you then work

09:03:19   7   directly with general managers like Cees Links and Roger

09:03:25   8   Hall?

09:03:25   9   A.        Yes.

09:03:26 10    Q.        And they would make requests to you:          "Giovan, please

09:03:31 11    look to get this kind of a part from somewhere outside of

09:03:35 12    Qorvo, because we may need it."

09:03:39 13    A.        Yes.

09:03:40 14    Q.        What kind of filters were Cees Links and Roger Hall

09:03:46 15    looking for you to get?

09:03:48 16                     MR. NAQVI:    Objection.    Vague.

09:03:49 17                     THE WITNESS:    BAW filters, in frequencies of

09:03:54 18    approximately 3.6 and then 5.5, approximately, frequencies.

09:04:05 19    BY MR. JAKOPIN:

09:04:06 20    Q.        Was Qorvo making filters in the 3.6 range of

09:04:12 21    frequencies?

09:04:17 22    A.        I don't know.

09:04:19 23    Q.        Was Qorvo making filters in the 5.5 range of filters

09:04:23 24    when they were asking you to then get them from some outside

09:04:28 25    source?
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09:04:28   1   A.       No.

09:04:29   2   Q.       Did they express to you why they were wanting you to

09:04:32   3   get BAW filters from an outside vendor at that frequency

09:04:38   4   range?

09:04:38   5   A.       Because we did not have what they needed internally.

09:04:41   6   Q.       Okay.     Are you familiar with the term "SMR"?

09:04:46   7   A.       I have heard the term, yes.

09:04:47   8   Q.       What's your understanding of it?

09:04:49   9   A.       It is a process for making filters.

09:04:51 10    Q.       Are you familiar with the term "FBAR"?

09:04:59 11    A.       Yes.

09:05:00 12    Q.       What's your understanding of that?

09:05:03 13    A.       It is a process for making filters.

09:05:05 14    Q.       Is it a process for making filters that's different

09:05:09 15    than the SMR process?

09:05:12 16    A.       Yes.

09:05:13 17    Q.       Do you have an understanding that Qorvo makes SMR

09:05:16 18    filters?

09:05:16 19    A.       Yes.

09:05:16 20    Q.       Do you have an understanding of other companies that

09:05:18 21    make FBAR filters?

09:05:21 22    A.       I understand that other companies make FBAR filters,

09:05:24 23    yes.

09:05:25 24    Q.       Do you have an understanding of any -- which ones of

09:05:27 25    those other companies make FBAR filters?
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09:05:31   1   A.       Yes.

09:05:34   2   Q.       What companies are those?

09:05:36   3   A.       RF360, which is now Qualcomm.

09:05:42   4   Q.       Anyone else?

09:05:44   5   A.       No.

09:05:46   6   Q.       Do you know what kind of filters Broadcom makes?

09:05:53   7   A.       FBAR.

09:05:55   8   Q.       Do you know what kind of filters Akoustis makes?

09:05:57   9   A.       No.

09:05:59 10    Q.       Do you recognize that?

09:06:03 11    A.       Yes.

09:06:06 12    Q.       What do you recognize about it?

09:06:10 13    A.       It is an e-mail that I sent to Tony.

09:06:18 14    Q.       Relating to?

09:06:20 15    A.       Relating to samples.       Relating to Akoustis samples to

09:06:32 16    be evaluated.

09:06:36 17    Q.       Who is Brian Balut?

09:06:43 18    A.       Brian Balut was the engineering manager for IDP.

09:06:50 19    Q.       And Bob Baeten?

09:06:55 20    A.       Bob Baeten was an engineering manager in Cees Links'

09:07:03 21    group.

09:07:03 22    Q.       And Alex Zajac?

09:07:08 23    A.       Alex is an engineer in Apopka.         I don't know his

09:07:12 24    position.

09:07:13 25    Q.       And by "Apopka", you mean Apopka, Florida?
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09:07:18   1   A.     Yes.

09:07:19   2   Q.     What were the facilities in Apopka, Florida?

09:07:22   3   A.     It was a design center, filter design center.           And

09:07:27   4   they also did various manufacturing there.

09:07:31   5   Q.     What kind of manufacturing?

09:07:35   6   A.     There was a fab there.

09:07:41   7   Q.     Was it for BAW filters?

09:07:44   8   A.     I believe it was SAW filters.

09:07:47   9   Q.     Okay.     And by "SAW", surface acoustic wave?

09:07:57 10    A.     Yes.

09:07:57 11    Q.     In contrast to "BAW", which is bulk acoustic wave?

09:08:03 12    A.     Yes.

09:08:03 13    Q.     Okay.     So on the substance of the e-mail, it talks

09:08:07 14    about samples and test scores, do you see that?

09:08:10 15    A.     Yes.

09:08:10 16    Q.     Do you recall getting both of those?

09:08:12 17    A.     I recall asking for both of those.

09:08:14 18    Q.     Okay.     Do you recall whether both of those were

09:08:21 19    received?

09:08:22 20    A.     Yes.

09:08:26 21    Q.     And so the samples would -- were just the filters

09:08:29 22    themselves, individual die, correct?

09:08:33 23    A.     Yes.

09:08:34 24    Q.     And the test boards were certain individual die on a

09:08:39 25    test board with -- with some other components?
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09:08:41   1   A.       Yes.

09:08:42   2   Q.       Do you recognize that?

09:08:45   3   A.       Yes.

09:08:46   4   Q.       What's this?

09:08:48   5   A.       I'm sorry.     Was there a question?

09:08:51   6   Q.       Yeah.     Do you -- what do you recognize about this

09:08:54   7   e-mail chain?

09:08:57   8   A.       That this is an e-mail communication between myself

09:09:01   9   and Dave Aichele.

09:09:09 10    Q.       And this is a follow-up relating to the samples we

09:09:13 11    just talked about in the previous exhibit?

09:09:16 12    A.       Yes.

09:09:24 13    Q.       And you write on October 4th, "The sample just

09:09:29 14    physically got handed to the engineer on Monday of this

09:09:43 15    week."

09:09:47 16    A.       Yes.

09:10:13 17    Q.       These were of the AKF-1252?

09:10:25 18    A.       If that's what it says.

09:10:27 19    Q.       Okay.     Do you remember receiving S bar plots?

09:10:33 20    A.       No.

09:10:40 21    Q.       Who is Dave Aichele?

09:10:42 22    A.       He is business development, VP, I think, for

09:10:49 23    Akoustis.

09:10:49 24    Q.       Did you know him from RFMD times?

09:10:51 25    A.       I did not.
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09:10:53   1   Q.        You write, "We seem to have a fear based denial of

09:10:58   2   Akoustis' ability to make a BAW filter."

09:11:00   3                    What did you mean by that?

09:11:02   4   A.        That there was frustration about the press releases

09:11:14   5   that Akoustis was sending out with what we saw as false

09:11:24   6   claims.    And the fear part of that was internal that we were

09:11:40   7   -- that we were not diverting resources from mobile filters

09:11:49   8   to support IDP filters.

09:12:01   9   Q.        What was the difference between mobile filters and

09:12:05 10    IDP filters?

09:12:07 11    A.        The frequency and requirements were different.           The

09:12:14 12    biggest difference was the mobile would be very high

09:12:20 13    volumes, supporting commercial applications, IDP would be

09:12:24 14    very small volumes, supporting defense and infrastructure,

09:12:29 15    so the pay back on the investment would be substantially

09:12:36 16    different.

09:12:40 17    Q.        With the payback on the mobile filters being much

09:12:48 18    larger than the payback on the IDP filters?

09:12:51 19    A.        Yes.

09:13:03 20    Q.        I handed you a copy of what's been marked previously

09:13:07 21    as Exhibit 1023.        Do you recognize that?

09:13:12 22    A.        Yes.

09:13:13 23    Q.        What's this?

09:13:14 24    A.        This is an e-mail between me and Cees Links, and

09:13:21 25    discussing development of filters for internal versus buying
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09:13:31   1   -- make versus buy, basically.

09:13:34   2   Q.     On the November 5th, 2018, 11:55 e-mail, you write,

09:13:42   3   "I've already engaged with Tony on this and understand that

09:13:47   4   Mp5 gigahertz is different than Wi-Con HPS."

09:13:52   5   A.     Yes.

09:13:52   6   Q.     What does that refer to?

09:13:53   7   A.     So Cees -- although they're both 5-gigahertz filters,

09:13:59   8   Cees -- the Wi-Con requirements for performance were

09:14:06   9   different than the performance requirements for HPS, for

09:14:13 10    Roger Hall's group.

09:14:16 11    Q.     So Wi-Con is?

09:14:17 12    A.     Wireless connectivity, that was Cees's group.

09:14:22 13    Q.     And HPS is?

09:14:23 14    A.     Is Roger Hall's group, high power.

09:14:29 15    Q.     And so while they're both 5-gigahertz, there is other

09:14:35 16    characteristics of the filters that make them different

09:14:37 17    between the two?

09:14:38 18    A.     Yes.

09:14:41 19    Q.     What's MP massive scale refer to in that e-mail?

09:14:46 20    A.     I don't know.

09:14:46 21    Q.     Do you know what the acronym "MP" is?

09:14:50 22    A.     No.

09:14:58 23                  Oh, sorry, that's mobile products, sorry.         I was

09:15:01 24    trying to think of a process.

09:15:03 25    Q.     You remembering this from 2018 is remarkable, thank
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09:15:08   1   you.   Okay.

09:15:08   2   A.        It's mobile products.

09:15:11   3   Q.        "You were going to have to be honest and open to

09:15:15   4   them, we'll focus on an internal solution for MP and

09:15:19   5   outsource solution for Wi-Con and HPS."

09:15:23   6                  Were you saying that --

09:15:27   7                  MR. LEMIEUX:    Your Honor?

09:15:28   8                  THE COURT:    Yes, sir.

09:15:29   9                  MR. LEMIEUX:    It appears that the video is

09:15:31 10    slightly out of sync with the written transcript that's

09:15:33 11    being shown on the screen here.

09:15:34 12                   THE COURT:    That is correct.

09:15:35 13                   MR. LEMIEUX:    I wonder if we can pause for a

09:15:37 14    second and have him re-sync it.

09:15:39 15                   THE COURT:    Absolutely.

09:15:40 16                   MR. LEMIEUX:    Thank you.

09:15:50 17                   (Continuation of Leah Giovan's videotape

09:16:00 18    deposition:)

09:16:07 19    Q.        You write, "We seem to have a fear based denial of

09:16:11 20    Akoustis's ability to make a BAW filter."

09:16:13 21                   What did you mean by that?

09:16:16 22    A.        That there was frustration about the press releases

09:16:28 23    that Akoustis was sending out with what we saw as false

09:16:37 24    claims.    And the fear part of that was internal that we were

09:16:53 25    -- that we were not diverting resources from mobile filters
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09:17:02   1   to support IDP filters.

09:17:15   2   Q.     What was the difference between mobile filters and

09:17:18   3   IDP filters?

09:17:20   4   A.     The frequency and requirements were different.           The

09:17:28   5   biggest difference was the mobile would be very high

09:17:34   6   volumes, supporting commercial applications.          IDP would be

09:17:37   7   very small volumes, supporting defense and infrastructure,

09:17:42   8   so the payback on the investment would be substantially

09:17:50   9   different.

09:17:53 10    Q.     With the payback on the mobile filters being much

09:17:58 11    larger than the payback on the IDP filters?

09:18:05 12    A.     Yes.

09:18:06 13    Q.     Okay.     I gave you a copy of what's been marked

09:18:20 14    previously as Exhibit 1023.       Do you recognize that?

09:18:26 15    A.     Yes.

09:18:26 16    Q.     And what's this?

09:18:28 17    A.     This is an e-mail between me and Cees Links

09:18:35 18    discussing development of filters for internal versus

09:18:43 19    buying, make versus buy, basically.

09:18:48 20    Q.     On the November 5th, 2018, 11:55 e-mail, you write

09:18:56 21    "I've already engaged with Tony on this, and understand that

09:19:00 22    MP five-gigahertz is different than Wi-Con HPS?

09:19:06 23    A.     Yes.

09:19:06 24    Q.     What does that refer to?

09:19:08 25    A.     So Cees, although they're both five-gigahertz
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09:19:14   1   filters, Cees, the Wi-Con requirements for performance were

09:19:19   2   different than the performance requirements for HPS, for

09:19:27   3   Roger Hall's group.

09:19:28   4   Q.     So Wi-Con is?

09:19:31   5   A.     Wireless connectivity, that was Cees' group.

09:19:35   6   Q.     And HPS is?

09:19:36   7   A.     Is Roger Hall's group, high power.

09:19:43   8   Q.     And so while they're both five-gigahertz, there is

09:19:47   9   other characteristics of the filters that make them

09:19:50 10    different between the two?

09:19:51 11    A.     Yes.

09:19:54 12    Q.     What's MP massive scale refer to in that e-mail?

09:20:00 13    A.     I don't know.

09:20:00 14    Q.     Do you know what the acronym MP is?

09:20:03 15    A.     No.

09:20:12 16                  Oh, sorry, that's mobile products.        Sorry.    I

09:20:14 17    was trying to think of a process.

09:20:17 18    Q.     That you remember this from 2018 is remarkable.

09:20:21 19    Thank you.    Okay?

09:20:22 20    A.     It's mobile products.

09:20:25 21    Q.     You write, "We are going to have to be honest and

09:20:29 22    open with them, that we're focused on an internal solution

09:20:32 23    for MP and an outsourced solution for Wi-Con and HPS."

09:20:39 24                  Were you saying that we'll have to be honest

09:20:41 25    with Akoustis is to whom you're referring to there, yes?
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09:20:45   1   A.      Yes.

09:20:45   2   Q.      So Akoustis had just given a 5.2-gigahertz sample to

09:20:51   3   Qorvo to test, right?

09:20:52   4   A.      Yes.

09:20:52   5   Q.      Do you recognize that?

09:20:57   6   A.      Yes.

09:20:59   7   Q.      And what's this?

09:21:01   8   A.      This is the test results on the samples that I have

09:21:08   9   summarized to send to the team.        Internal.

09:21:17 10    Q.      Do you know where you received these test results

09:21:20 11    from?

09:21:20 12    A.      I do not.

09:21:30 13    Q.      And so this was sent to people that we've already

09:21:35 14    discussed before that were in the groups you talked about.

09:21:39 15    On the CC line, there is a Jim Stilson.          Who is that?

09:21:45 16    A.      That was my VP at the time.

09:21:49 17    Q.      He's the one that you reported to?

09:21:53 18    A.      Yes.

09:21:53 19    Q.      And Lee Hudgins?

09:21:56 20    A.      That was my direct boss.

09:21:58 21    Q.      And what was his role?

09:21:59 22    A.      He was the -- he was overall senior -- he was senior

09:22:03 23    director at the time of supply chain.          So --

09:22:07 24    Q.      Which was the role you got later?

09:22:09 25    A.      Exactly, yes.
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09:22:11   1   Q.      So at this time, you were still the director of

09:22:16   2   supply chain?

09:22:17   3   A.      Correct.

09:22:18   4   Q.      Working with Akoustis to bring in the components?

09:22:23   5   A.      I bought filters, yes.

09:22:25   6   Q.      At that time were you working also doing the contract

09:22:32   7   manufacturing part?

09:22:34   8   A.      Yes.

09:22:36   9   Q.      And what else were you doing around that time as

09:22:39 10    well?

09:22:40 11    A.      Components and contract manufacturing, assembly and

09:22:44 12    test.

09:22:46 13    Q.      How did you get into having those two different

09:22:51 14    responsibilities?

09:22:51 15    A.      They're not really different.

09:22:53 16    Q.      How come?

09:22:55 17    A.      Because one goes into the other.         You buy components

09:23:01 18    or you source components, they go to the contract

09:23:04 19    manufacturer to build the product.

09:23:08 20    Q.      And from your perspective, you end up with something

09:23:13 21    that's a completed part?

09:23:15 22    A.      Correct.

09:23:16 23    Q.      I'm going to mark as Exhibit 1076 a document bearing

09:23:46 24    the Akoustis Bates range 120745 through 749.           It's an e-mail

09:23:55 25    with two Bates numbers that relate to a native file that was
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09:24:01   1   attached at this, I have not printed out the native file,

09:24:07   2   but do you recognize that?

09:24:15   3   A.     Yes.

09:24:18   4   Q.     And what's this?

09:24:20   5   A.     This is a communication between myself and Dave

09:24:24   6   Aichele regarding whatever S par file is.

09:24:42   7   Q.     Do you have any reason to believe you didn't receive

09:24:45   8   an S par file?

09:24:47   9   A.     I don't know.

09:24:47 10    Q.     Do you know what an S par file is?

09:24:51 11    A.     No.

09:25:16 12    Q.     So at this time in December 2017, there is still

09:25:29 13    communications relating to the same samples and then some

09:25:33 14    further documents that are being sent on the Akoustis part?

09:25:37 15    A.     Yes.

09:25:38 16    Q.     Okay.     We'll mark for the record, it's been produced

09:25:45 17    as Akoustis 77474 through 77487, which is an e-mail.           Do you

09:25:57 18    recognize that?

09:26:07 19    A.     Yes.

09:26:08 20    Q.     And what's this?

09:26:09 21    A.     This is an e-mail communication between myself and

09:26:13 22    Dave Aichele.

09:26:19 23    Q.     And is this a follow-up of the previous ten that

09:26:23 24    we've seen before?

09:26:25 25    A.     Yes.
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09:26:25   1   Q.      And this one there is an attachment that's entitled

09:26:31   2   AKF-1336 CBR Infrastructure BAW Filter?

09:26:37   3   A.      Yes.

09:26:37   4   Q.      And is that the BAW filter that Akoustis was

09:26:44   5   potentially going to be creating for Qorvo?

09:26:47   6   A.      I don't know.

09:26:49   7   Q.      Is it the filter that's discussed in the e-mail of

09:26:56   8   Dave Aichele to you that's at the top of the page?

09:26:59   9   A.      Yes.

09:27:00 10    Q.      Okay.     He says "We've completed the design spin and

09:27:11 11    release mass."

09:27:11 12                    What's your understanding of that?

09:27:13 13    A.      That the part is designed and ready for production.

09:27:16 14    Q.      And this part was different than the 5.2-gigahertz

09:27:21 15    part that we were talking about before that had been

09:27:24 16    sampled, yes?

09:27:25 17    A.      From reading this, this says it's the 3.6-gigahertz

09:27:29 18    part.

09:27:29 19    Q.      So that would have been a different part?

09:27:31 20    A.      Yes.

09:27:31 21    Q.      Do you recognize that?

09:27:33 22                    MR. NAQVI:   Do you want to put a sticker on that

09:27:37 23    one?

09:27:47 24                    THE WITNESS:   Yes.

09:27:48 25    Q.      What do you recognize about it?
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09:27:50   1   A.       Again, communication between myself and Dave Aichele

09:27:56   2   regarding sample evaluation.

09:28:03   3   Q.       And in your e-mail to him, you write, "Do you know

09:28:06   4   when you'll have measured data for AKF-1252 rev C new

09:28:13   5   design?"

09:28:13   6                   Do you see that?

09:28:14   7   A.       Yes.

09:28:14   8   Q.       Was that a different 1252 further design than the

09:28:18   9   previous sample that Qorvo had received?

09:28:23 10    A.       Yes.

09:28:24 11    Q.       What is this?

09:28:25 12    A.       This is an e-mail from Dave Aichele to me regarding

09:28:34 13    getting an NDA in place.

09:28:36 14    Q.       There had been an NDA in place, which is the one

09:28:42 15    attached; correct?

09:28:43 16    A.       I don't know.      I mean, I don't know if it was in

09:28:45 17    place.

09:28:53 18    Q.       Understood.     Mr. Aichele says it looks like the NDA

09:28:59 19    is good until May 18th in his e-mail and he's attaching it

09:29:03 20    to you, and then he says to you, "Are you okay with this NDA

09:29:07 21    or would you like to get a new one in place?"

09:29:09 22                    And he's asking you that to you, correct?

09:29:12 23    A.       Yes.

09:29:12 24    Q.       Do you know if you responded?

09:29:13 25    A.       I have seen communication where I said we were
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09:29:18   1   working on a new e-mail, so, yes.

09:29:20   2   Q.     Do you recognize that?

09:29:25   3   A.     Yes.

09:29:28   4   Q.     What is that?

09:29:28   5   A.     This is communication between Dave Aichele and I

09:29:32   6   regarding the NDA.

09:29:40   7   Q.     You write the NDA is still under review by Qorvo

09:29:44   8   legal but will cover us for now.       Correct?

09:29:47   9   A.     Yes.

09:29:47 10    Q.     And in addition to that, Mr. Aichele then forwards to

09:29:53 11    you a spec and sample timeline for the Akoustis 5-gigahertz

09:29:59 12    Uni2 BAW filter that they were creating, yes?

09:30:02 13    A.     Yes.

09:30:04 14    Q.     And then the outline on the e-mail is some color on

09:30:10 15    the slides that are attached?

09:30:12 16    A.     Yes.

09:30:15 17    Q.     And then he asks, "Appreciate input on sample

09:30:19 18    expectations and we will try to accommodate."          He then

09:30:25 19    writes, "Primarily providing S-par data at room with each

09:30:29 20    sample right now."

09:30:30 21                   Do you know what that means?

09:30:31 22    A.     Whatever s-par data is at room temperature.

09:30:34 23    Q.     Okay.     Is that S-parameter, maybe?

09:30:41 24    A.     Yes, that is exactly what it is.

09:30:44 25    Q.     Do you recognize that?
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09:30:49   1   A.     Yes.

09:30:50   2   Q.     And what's this?

09:30:51   3   A.     More communication between Dave Aichele and myself

09:30:55   4   regarding the NDA.

09:30:58   5   Q.     As well as the 5-gigahertz BAW filter?

09:31:02   6   A.     As well as the attached 5-gigahertz BAW filter

09:31:08   7   information from Akoustis.

09:31:10   8   Q.     And on the attached information, there is on the

09:31:15   9   third page a slide entitled, Akoustis New York Wafer

09:31:24 10    Fabrication.    Do you see that?

09:31:25 11    A.     Yes.

09:31:25 12    Q.     Do you recall at that time if Akoustis had purchased

09:31:29 13    a Wafer facility?

09:31:32 14    A.     Yes.

09:31:32 15    Q.     Do you remember others talking to you about that?

09:31:34 16    A.     Yes.

09:31:35 17    Q.     Who was that, Rohan Houlden?

09:31:37 18    A.     Yes.

09:31:37 19    Q.     What did Mr. Houlden told you?

09:31:39 20    A.     That they had bought a wafer Fab facility and that we

09:31:45 21    actually talked about if he was going to be moving there to

09:31:49 22    support that.

09:31:50 23    Q.     Were you able to use the fact that Akoustis now had a

09:31:54 24    fabrication facility to help create further interest at

09:31:59 25    Qorvo to potentially buy Akoustis parts?
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09:32:03   1                    MR. NAQVI:    Objection.    Vague.

09:32:05   2   A.        Not really.     Because what I was looking to Akoustis

09:32:10   3   for was very low volume, which I felt if we engaged, they

09:32:15   4   had that capability to support already in their North

09:32:21   5   Carolina facility, I thought.

09:32:23   6   Q.        Did you have an understanding that they had a North

09:32:27   7   Carolina facility that could create BAW filters?

09:32:30   8   A.        Yes.

09:32:31   9   Q.        Do you recognize that?

09:32:34 10    A.        Yes.

09:32:43 11    Q.        This is a continuation of the e-mails with you and

09:32:47 12    Mr. Aichele?

09:32:47 13    A.        Yes.

09:32:47 14    Q.        Do you recognize that?

09:32:53 15    A.        Yes.

09:32:54 16    Q.        And what's that?

09:32:56 17    A.        Communication between myself and Dave Aichele

09:33:00 18    regarding 3.6-gigahertz information.

09:33:07 19    Q.        So the date -- 3.6-gigahertz is in the e-mail at the

09:33:13 20    bottom of the page; right?

09:33:14 21    A.        Yes.

09:33:15 22    Q.        And then you ask him, this is the one that we've seen

09:33:20 23    before where you asked him about the AKF-1252 rev C new

09:33:27 24    design?

09:33:27 25    A.        Yes.
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09:33:28   1   Q.       And the e-mail on top is the new report, which is his

09:33:31   2   response to you about that where he writes, "The modified

09:33:34   3   process addressed volume manufacturing requirements" at the

09:33:37   4   end of the first paragraph.         Do you see that?

09:33:39   5   A.       Yes.

09:33:40   6   Q.       Do you have any recollection whether that modified

09:33:42   7   process was a result of Akoustis now having a new

09:33:48   8   fabrication facility?

09:33:54   9   A.       Can you rephrase the question?         Let me just -- I knew

09:34:02 10    there was a modified process.         I knew that modified parts

09:34:06 11    were coming from New York, but I did not know it was -- that

09:34:13 12    they had to come from New York.         Okay?

09:34:21 13    Q.       In your position it didn't matter to you so much

09:34:24 14    where they came from as long as what they were met the

09:34:29 15    specifications that you were looking for in your role at

09:34:35 16    Qorvo?

09:34:35 17    A.       Yes.

09:34:36 18    Q.       But he then writes back to you in an e-mail back

09:34:39 19    there, "Yes, the personal NDA is off the table."

09:34:43 20                    And then the reference above that is with

09:34:47 21    respect to NRE which you testified to earlier is what you

09:34:51 22    recollected being the proposal that had been in discussion

09:34:55 23    between the two companies, yes?

09:34:58 24    A.       Yes.

09:35:02 25    Q.       And then on the first page, the middle e-mail you
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09:35:07   1   write, "Frankly, I feel like I'm getting a bit of a

09:35:12   2   runaround internally and I don't have time for it."

09:35:15   3                    Do you see that?

09:35:15   4   A.       Yes.

09:35:15   5   Q.       Is that a runaround internally within Qorvo?

09:35:19   6   A.       Yes.

09:35:20   7   Q.       Why were you getting the runaround?

09:35:22   8   A.       Because I was not getting test results on the

09:35:28   9   samples.

09:35:30 10    Q.       Okay.     And then you say "We'll set up an internal

09:35:35 11    meeting next week with all the players to understand what we

09:35:39 12    need."

09:35:39 13                     Who are all the players?

09:35:41 14    A.       That would have been primarily Todd Gillenwater and

09:35:45 15    whoever was doing the testing for Todd in the lab.

09:35:52 16    Q.       Do you know what this is testing what?

09:35:54 17    A.       Testing of the samples.

09:35:56 18    Q.       Do you recognize that?

09:36:07 19    A.       Yes.

09:36:08 20    Q.       And what do you recognize about it?

09:36:09 21    A.       This is an e-mail from me to Tony, from me to Jeff

09:36:18 22    regarding the NRA, I assume.

09:36:22 23    Q.       So you wrote to Jeff in that first paragraph, you had

09:36:31 24    an understanding that Qorvo had provided an investment, and

09:36:36 25    then you write, "It is not my understanding that in fact we
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09:36:39   1   have not provided you a proposal, at least not a formal

09:36:43   2   written one."

09:36:44   3                  Do you see that?

09:36:44   4   A.     Yes.

09:36:44   5   Q.     And so at this point then, there had been no formal

09:36:51   6   written proposal with respect to an investment agreement

09:36:56   7   between Qorvo and Akoustis?

09:37:00   8   A.     I don't know.

09:37:01   9   Q.     Okay.     And then in the next paragraph you tell him,

09:37:10 10    "We agree to test the parts and to not do a teardown of the

09:37:13 11    samples.    Simply trying to understand your process or

09:37:16 12    technology."    Correct?

09:37:17 13    A.     Correct.

09:37:18 14    Q.     Why was the -- doing a teardown an issue?

09:37:25 15    A.     Because we were doing a make versus buy decision with

09:37:34 16    a potential supplier that would have been sensitive to

09:37:42 17    Qorvo's capabilities to make that product.

09:37:46 18    Q.     And doing a tear down of that product would have

09:37:49 19    allowed Qorvo, then, to potentially more easily be able to

09:37:54 20    fabricate a similar product; right?

09:37:58 21    A.     I don't know.       This was the ask from Mr. Shealy when

09:38:03 22    we got the samples.

09:38:05 23    Q.     Did you have an understanding of why he made the ask?

09:38:08 24    A.     Generally, that would have been a standard response

09:38:12 25    from any supplier that was supplying a part that we were
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09:38:16   1   capable of making.

09:38:17   2   Q.     Do you recognize this?

09:38:21   3   A.     Yes.

09:38:23   4   Q.     Now the e-mail on the back is the same one that we

09:38:27   5   just saw that was from you to Jeff; correct?

09:38:33   6   A.     Yes.

09:38:34   7   Q.     And on the front at the bottom is then Jeff's

09:38:38   8   response to you; correct?

09:38:40   9   A.     Yes.

09:38:41 10    Q.     And by Jeff, we're talking about Jeff Shealy, who was

09:38:46 11    the CEO at Akoustis; right?

09:38:48 12    A.     Yes.

09:38:48 13    Q.     And he writes, "I'm willing to loan sample parts plus

09:38:53 14    two loose pieces of our AKF-1252, 5.2-gigahertz WiFi con

09:39:02 15    filter along with data sheet with measured data."           Goes on

09:39:05 16    in this paragraph, correct?

09:39:06 17    A.     Yes.

09:39:07 18    Q.     And then he writes to you his reasoning for some

09:39:13 19    potential in terms of discussions going forward?

09:39:20 20                  MR. NAQVI:    Objection to the extent counsel

09:39:22 21    mischaracterizes the document.       It speaks for itself.

09:39:29 22    Q.     You can still answer.

09:39:30 23    A.     Sorry.     Will you repeat the question?

09:39:32 24    Q.     Do you remember the difficult discussion of that

09:39:45 25    issue that he references in that e-mail?
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09:39:50   1   A.     I remember Jeff wanting to discuss investment, Qorvo

09:39:57   2   investing in Akoustis.      I assume that's the difficult

09:40:03   3   discussion.

09:40:07   4   Q.     He writes, "Hence the risk we may do development work

09:40:12   5   and no guarantee of production."

09:40:14   6                  Do you recall that being a concern that he

09:40:16   7   expressed?

09:40:17   8   A.     Not specifically, no.

09:40:19   9   Q.     Do you remember giving him an answer to that, then?

09:40:25 10    A.     Not specifically, no, I don't.

09:40:28 11    Q.     Okay.     You write to them, though, "Let's get through

09:40:31 12    the sample test and then jump through the next hurdle," in

09:40:35 13    your response to him, yes?

09:40:36 14    A.     Yes.

09:40:37 15    Q.     Thank you.     Mark as Exhibit 1087, a document bearing

09:40:45 16    the Qorvo Bates numbers 66564.       Do you recognize this?

09:40:56 17    A.     Yes.

09:41:00 18    Q.     And what do you recognize about it?

09:41:03 19    A.     This is a communication between me and Cees Links

09:41:07 20    regarding requesting samples for Wi-Con.

09:41:11 21    Q.     And Wi-Con --

09:41:13 22    A.     Sorry, sorry, requesting samples.         I don't know that

09:41:17 23    these samples were for Wi-Con.

09:41:25 24    Q.     Cees Links writes to you, "I do not trust the

09:41:29 25    progress of our internal development on 5-gigahertz BAW
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24   Page 1677 of 2283 PageID
                                       #: 41648                                1999


09:41:35   1   filter..."   was that the same as the concern you expressed

09:41:38   2   before that he had about the Qorvo inability to produce that

09:41:44   3   part in a timely way for him?

09:41:47   4   A.     Not -- if I can rephrase your question.         Sorry.    It

09:41:54   5   wasn't a concern about ability, it was concern about

09:41:56   6   resources and timing.

09:41:58   7   Q.     And what was the concern about resources and timing?

09:42:01   8   A.     Those were resources and timing were being focused on

09:42:07   9   -- excuse me -- 5-gigahertz for mobile products, not for IDP

09:42:12 10    products.

09:42:19 11    Q.     Are you familiar with the Qorvo 1903?

09:42:24 12    A.     I don't know what that is, no.

09:42:26 13    Q.     The Qorvo 1903 BAW filter product?

09:42:29 14    A.     I don't know it by part number, no.

09:42:34 15    Q.     What was the 5-gigahertz mobile BAW filter that you

09:42:40 16    just referred to in your answer?

09:42:43 17    A.     I don't know.

09:42:44 18    Q.     But you just said that "there were resources from the

09:42:47 19    mobile group that were being dedicated, whereas those same

09:42:56 20    resources weren't being dedicated to the IDP group";

09:43:01 21    correct?

09:43:01 22    A.     At the time I don't know that we were actually

09:43:05 23    engaged in any development at this time in 2017 or 2018.           If

09:43:15 24    we were engaged in development for any IDP 3.5 or

09:43:23 25    5-gigahertz filters.     All of our BAW filter development,
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1678 of 2283 PageID
                                        #: 41649                                2000


09:43:30   1   including 5-gigahertz, and I don't know part numbers, I

09:43:33   2   don't know internal part numbers because I didn't deal with

09:43:36   3   those, was for the high volume Apple related mobile

09:43:42   4   business.

09:43:47   5   Q.     Thank you.

09:43:55   6                 Same e-mail, though.     You write, "This is

09:44:02   7   political both within Qorvo, as well as with Akoustis so I

09:44:06   8   am treading lightly to achieve the goal."

09:44:10   9                 Is that the same here is the investment they're

09:44:12 10    looking for and there are different people looking at it

09:44:15 11    different ways?

09:44:15 12    A.     Yes.

09:44:15 13    Q.     Mark as Exhibit 1088 a document bearing the Qorvo

09:44:20 14    Bates number 313877.      Do you recognize that?

09:44:33 15    A.     Yes.

09:44:34 16    Q.     Do you recall that?

09:44:36 17    A.     Yes.

09:44:37 18    Q.     What do you recall about it?

09:44:39 19    A.     Obviously more communication between myself and Dave

09:44:48 20    Aichele regarding samples.      5-gigahertz samples.

09:44:56 21    Q.     Do you recall him telling you that at this time the

09:45:01 22    AKF-1252 die design is locked?

09:45:08 23    A.     Yes.

09:45:09 24    Q.     What do you recall about those discussions?

09:45:12 25    A.     Just that he was saying they have a part ready to
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 1679 of 2283 PageID
                                           #: 41650                                2001


09:45:16   1   sample.

09:45:17   2   Q.        Do you recall this?

09:45:20   3   A.        Yes.

09:45:21   4   Q.        What do you recall?

09:45:23   5   A.        This is an e-mail from me to Jeff Shealy following a

09:45:34   6   meeting that we had where we discussed Wi-Fi specs.

09:45:40   7   Q.        And you sent him some Wi-Fi specs?

09:45:47   8   A.        Evidently.

09:45:48   9   Q.        Are those the specs that are then attached at

09:45:53 10    AKTS-82513 through 515?

09:45:58 11    A.        I don't know.

09:46:01 12    Q.        Any reason to think that they're not?

09:46:09 13    A.        I -- I just don't know.       I don't know yes or I don't

09:46:14 14    know no.

09:46:16 15    Q.        One is for a 5-gigahertz Wi-Fi filter, target spec

09:46:24 16    two; correct?

09:46:26 17    A.        Yes.

09:46:26 18    Q.        And the other one is for another 5-gigahertz Wi-Fi

09:46:33 19    filter, target spec number one; right?

09:46:37 20    A.        Correct.

09:46:38 21    Q.        Do you recall whether these were Qorvo Wi-Fi specs?

09:46:43 22    A.        I don't recall.

09:46:49 23    Q.        So I'll have you take a look at Exhibit 1033.           It's

09:46:54 24    been marked before.        And I'll direct your attention to the

09:47:04 25    attachment.       The title is "QPQ1904 Micro BAW Eight-inch."
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1680 of 2283 PageID
                                        #: 41651                                2002


09:47:14   1   Do you see that?

09:47:14   2   A.     Yes.

09:47:14   3   Q.     And is this a specification for a five point

09:47:18   4   gigahertz Wi-Fi filter design of Qorvo?

09:47:21   5   A.     Yes.

09:47:23   6   Q.     Do you recall that?

09:47:41   7   A.     Yes.

09:47:41   8   Q.     What do you recall about it?

09:47:43   9   A.     This was the follow-up to the previous e-mail that we

09:47:47 10    looked at following a meeting with Jeff where he has

09:47:55 11    received the specs.

09:47:56 12    Q.     Do you remember the lunch that you had with him?

09:47:58 13    A.     Yes.

09:47:58 14    Q.     Was it in Greensboro or Charlotte?

09:48:02 15    A.     It was in Winston-Salem.

09:48:05 16    Q.     What do you recall about the lunch?

09:48:08 17    A.     That it was obvious to me walking out that Akoustis

09:48:15 18    was desperately seeking investment.

09:48:21 19    Q.     Was it just the two of you?

09:48:23 20    A.     No, it was Todd Gillenwater had joined.

09:48:26 21    Q.     Anything else that you recall about the lunch?

09:48:28 22    A.     That was it.

09:48:29 23    Q.     Okay.

09:48:45 24                   Jeff writes to you to confirm, Akoustis is

09:48:47 25    currently working on both bands of interest.          Did you have
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1681 of 2283 PageID
                                        #: 41652                                2003


09:48:52   1   an understanding of what the bands of interest were?

09:48:59   2   A.     Yes.

09:49:00   3   Q.     What was that?

09:49:01   4   A.     Two different 5-gigahertz bands.

09:49:06   5   Q.     Was one the 5.2 and the other one the 5.6?

09:49:10   6   A.     Yes.

09:49:10   7   Q.     Are those the two bands that were the specifications

09:49:13   8   that were attached in Exhibit 1090 that we just looked at?

09:49:19   9   A.     I would have to look.       I don't know.

09:49:21 10    Q.     Go ahead.

09:49:25 11    A.     5.6, and -- are they separate or are they together?

09:49:36 12    I saw 5.6.    Sorry, do I have a 5.2?

09:49:47 13    Q.     I think it's this one that had the two pages, with

09:49:51 14    the target spec number one and the target spec number two

09:49:54 15    that was the attachment to Exhibit 1090.

09:49:57 16                  Do you have an understanding that that's the

09:50:01 17    pass band?

09:50:01 18    A.     Yes.

09:50:01 19    Q.     And that the middle of that would be 5.2-gigahertz?

09:50:04 20    A.     Yes.

09:50:05 21    Q.     And so this is a reference to the 5.2-gigahertz band

09:50:10 22    of interest that was in Mr. Shealy's e-mail?

09:50:14 23    A.     Yes.

09:50:15 24    Q.     And then for target spec number one, the band of

09:50:18 25    interest is 5490 to 5850?
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24   Page 1682 of 2283 PageID
                                          #: 41653                                2004


09:50:22   1   A.       So 5.6.

09:50:23   2   Q.       Which is the 5.6?

09:50:27   3   A.       Yes.

09:50:28   4   Q.       What do you recall about it?

09:50:31   5   A.       This is Jeff's -- Jeff Shealy's response back to me

09:50:35   6   on the specifications that I provided to him.

09:50:41   7   Q.       Now, this is an additional specification that you

09:50:44   8   provided to him on October 4, 2018, that has the item and

09:50:50   9   specification in block at the bottom of the page but then

09:50:54 10    flips to the next page; correct?

09:50:56 11    A.       Yes.

09:50:57 12    Q.       And so this was for a 4.9-gigahertz BAW filter?

09:51:08 13    A.       Yes.

09:51:14 14    Q.       And so the feedback is the feedback that is on the

09:51:18 15    first attachment, where it says feedback on Qorvo 4,800 to

09:51:23 16    5,000-megahertz 5G infrastructure spec, correct?

09:51:27 17    A.       Yes.

09:51:27 18    Q.       What they have done is they've taken the item in the

09:51:30 19    specification that was from your e-mail and then put in

09:51:35 20    Akoustis comments in blue on the right; correct?

09:51:39 21    A.       Yes.

09:51:42 22    Q.       And then the attachment was a foundry customer RF

09:51:46 23    filter design flow, next exhibit, that just shows what was

09:51:49 24    proposed in terms of a design flow for a foundry customer;

09:51:54 25    right?
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1683 of 2283 PageID
                                        #: 41654                                2005


09:51:54   1   A.     Yes.

09:51:57   2   Q.     Do you recall having discussions with Mr. Shealy

09:52:00   3   relating to Qorvo being a foundry customer?

09:52:04   4   A.     Yes.

09:52:04   5   Q.     What do you recall about those discussions?

09:52:07   6   A.     I recall his concern of would we engage with Akoustis

09:52:20   7   as a supplier.

09:52:25   8   Q.     Why would that be your concern, or why was that a

09:52:29   9   concern?

09:52:29 10    A.     Because we have the capability.         His concern was they

09:52:35 11    put in resources and then, you know, we have the capability

09:52:42 12    to make these, which is always a concern in a make versus

09:52:46 13    buy decision for a supplier.

09:52:50 14    Q.     Or the supplier is concerned that Qorvo may make it

09:52:55 15    rather than buy it?

09:52:56 16    A.     Correct.

09:52:57 17    Q.     Do you recall that?

09:53:10 18    A.     Yes.

09:53:11 19    Q.     What do you recall?

09:53:13 20    A.     This was Jeff just confirming that samples were

09:53:18 21    shipped.

09:53:22 22    Q.     And in the earlier part of the correspondence, I'm

09:53:35 23    looking at your e-mail of October 29, 2018, at 8:46 p.m. it

09:53:43 24    kind of spans the Bates 84478 to 79?

09:53:49 25                  MR. NAQVI:    The second to last page?
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1684 of 2283 PageID
                                        #: 41655                                2006


09:53:51   1   Q.     Second to last page, yes.       You write, "We agree to

09:53:54   2   test the parts and to not do a teardown of the samples."

09:53:58   3                  So that ended up being what we had talked about

09:54:01   4   before in terms of these samples.       These are the different

09:54:05   5   samples than the ones at the first exhibit that we had in

09:54:08   6   this deposition, yes?

09:54:09   7   A.     I don't know.

09:54:10   8   Q.     From back in 2017?

09:54:13   9   A.     Yeah.     I don't know if these were different samples

09:54:18 10    or the same samples that we were talking about.

09:54:23 11    Q.     Okay.     Do you -- and then you write, "Do you still

09:54:27 12    agree to this first step to determine if there is a business

09:54:30 13    path between Akoustis and Qorvo?"

09:54:34 14                   He wrote back to you, then, "I'm willing to loan

09:54:37 15    sample parts."

09:54:39 16                   And that's at the top of 84477.       So do you

09:54:44 17    recall if that was what the agreement had been?

09:54:46 18    A.     Yes.

09:54:46 19    Q.     Who is John Fendrich?

09:54:51 20    A.     He works in a lab at Qorvo.        So he would have done

09:54:57 21    the actual testing of the samples.

09:55:02 22    Q.     Do you recall this?

09:55:11 23    A.     I do not.

09:55:13 24    Q.     Hans Schwarz is the Hans Schwarz we mentioned before,

09:55:18 25    who was in charge of MMA activities?
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 1685 of 2283 PageID
                                           #: 41656                                2007


09:55:22   1   A.        Correct.

09:55:22   2   Q.        And he's asking you, "Did we ever get the samples

09:55:26   3   from Akoustis to test?"

09:55:26   4   A.        He is.

09:55:27   5   Q.        And this is in December of 2018, yes?

09:55:30   6   A.        Yes.

09:55:31   7   Q.        Do you recall this?

09:55:46   8   A.        Yes.

09:55:46   9   Q.        What do you recall?

09:55:48 10    A.        This was my confirmation to Tony that we would convey

09:55:58 11    what we would agreed to with Jeff on the samples.

09:56:02 12    Q.        So these are the same samples from what was the

09:56:07 13    Exhibit 1094 that we talked about?

09:56:08 14    A.        I assume so.

09:56:10 15    Q.        IDP was the acronym for --

09:56:13 16    A.        Infrastructure and defense.

09:56:15 17    Q.        And mark as Exhibit 1099 a document bearing the

09:56:24 18    Akoustis Bates number 85830.          Do you recall this?

09:56:37 19    A.        I do.

09:56:38 20    Q.        What do you recall?

09:56:40 21    A.        Just Jeff confirming that he met with Tony and Todd

09:56:47 22    at MWC.

09:56:49 23    Q.        Jeff wrote, "AKTS capacity concerns were topic of

09:56:55 24    interest from Tony."         Is that Tony, Tony Testa?

09:56:58 25    A.        Yes.
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24   Page 1686 of 2283 PageID
                                          #: 41657                                2008


09:56:58   1   Q.       And Tony Testa was concerned about Akoustis's

09:57:02   2   capacity?

09:57:02   3   A.       Yes.

09:57:02   4   Q.       At that time do you remember any other concerns that

09:57:07   5   were being expressed about Akoustis with respect to the

09:57:11   6   potential whether to buy Akoustis products?

09:57:14   7   A.       Yes.

09:57:15   8   Q.       What else?

09:57:15   9   A.       Performance to meet the data sheets that were

09:57:19 10    published.

09:57:21 11    Q.       And the data sheets that were published, what does

09:57:25 12    that refer to?

09:57:26 13    A.       Press releases, sorry, that could Akoustis actually

09:57:33 14    provide filters that met their data sheets.            There was

09:57:39 15    doubt.

09:57:39 16    Q.       By whom?

09:57:41 17    A.       By Qorvo engineering.

09:57:44 18    Q.       Anything else other than that in terms of concerns

09:57:47 19    that you recall?

09:57:49 20    A.       No.    Sorry, yes.    I had a concern about Akoustis'

09:58:03 21    viability, just financial viability.

09:58:07 22    Q.       Do you recall this?

09:58:09 23    A.       Yes.

09:58:10 24    Q.       What's this?

09:58:11 25    A.       This is me communicating with James Klein that just
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 1687 of 2283 PageID
                                           #: 41658                                2009


09:58:20   1   generally about obtaining filters from -- from Akoustis for

09:58:25   2   IDP.

09:58:27   3   Q.        Now, this document has a one-page e-mail and then a

09:58:32   4   January 25th, 2019, attachment.          Do you see that?

09:58:37   5   A.        Yes.

09:58:37   6   Q.        What is this attachment?

09:58:41   7   A.        My assumption from reading this is this is the result

09:58:49   8   -- test results of these samples.

09:58:54   9   Q.        And Todd Gillenwater writes to Bob Bruggeworth on

09:59:01 10    March 20th, "We have taken all the data and provided it back

09:59:04 11    to Akoustis.       Overall I thought their data looked fine and

09:59:07 12    is probably the best part available for these frequency

09:59:10 13    bands."

09:59:11 14                     Do you see that?

09:59:12 15    A.        Yes.

09:59:15 16    Q.        Did that go against what the thinking was at Qorvo

09:59:19 17    relative to the Akoustis ability to meet its specifications

09:59:24 18    that you just referred to?

09:59:26 19    A.        Seemingly so specific for this result, yes.

09:59:36 20    Q.        And you wrote to James Klein, Roger Hall, and Doug

09:59:43 21    Bostrum, "I guess my impression was incorrect according to

09:59:48 22    Todd's note below."

09:59:49 23                     Yes?

09:59:49 24    A.        Yes.

09:59:51 25    Q.        You then wrote James, who -- James, James Klein?
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24   Page 1688 of 2283 PageID
                                        #: 41659                                2010


09:59:55   1   A.     Yes.

09:59:56   2   Q.     "From our brief discussion last night with Akoustis

09:59:59   3   as a supplier, I'm not pushing them, just wanted to be sure

10:00:03   4   that IDP is the option to where the get 5-gigahertz filters

10:00:08   5   in hand from what is approximately two years late."

10:00:11   6                  Do you see that?

10:00:12   7   A.     Yes.

10:00:12   8   Q.     Is the approximately two years late Qorvo being

10:00:16   9   approximately two years late, with respect to getting these

10:00:20 10    filters?

10:00:20 11    A.     Specifically to support IDP, yes.

10:00:28 12    Q.     So there may have been 5-gigahertz BAW filters to

10:00:33 13    support mobile, but there weren't 5-gigahertz BAW filters to

10:00:38 14    support IDP?

10:00:39 15    A.     Yes.

10:00:42 16    Q.     Did IDP ever get 5-gigahertz BAW filters to support

10:00:47 17    it while you were at Qorvo?

10:00:49 18    A.     From Akoustis?

10:00:50 19    Q.     No, from Qorvo?

10:00:52 20    A.     I don't know.

10:00:53 21    Q.     Do you recall that?

10:00:55 22    A.     Yes.

10:00:55 23    Q.     What do you recall?

10:00:57 24    A.     This is Jeff communicating to Todd that he would

10:01:05 25    provide him a PDK for the stated $85,000 and the terms of
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24   Page 1689 of 2283 PageID
                                      #: 41660                                2011


10:01:12   1   that.

10:01:13   2   Q.      And as we show, Qorvo then obtained samples, and

10:01:19   3   Mr. Gillenwater said that "for these frequency bands, I

10:01:22   4   thought their data looked fine and is probably the best part

10:01:26   5   available for these frequency bands", correct?

10:01:28   6   A.      That is what he said, yes.

10:01:30   7   Q.      And the Qorvo people then still didn't believe that

10:01:35   8   Akoustis had that?

10:01:37   9   A.      Did not believe that Akoustis had the capabilities,

10:01:42 10    and also there is the other capability that was not

10:01:47 11    available from Akoustis was packaging.       So even if we could

10:01:52 12    get a filter, they didn't have WLP, wafer level packaging to

10:02:00 13    sell it to us.    A die has to be packaged to sell.

10:02:07 14    Q.      Uh-huh.

10:02:07 15    A.      And Akoustis did not have that capability either.

10:02:11 16    Q.      Isn't it common in the semiconductor industry to use

10:02:15 17    other companies to do wafer level packaging?

10:02:20 18    A.      To do packaging, yes, but -- yes, it is.

10:02:28 19    Q.      And wasn't that one of your responsibilities with

10:02:33 20    respect to external suppliers and managing as you said the

10:02:38 21    packaging of external houses when you were the director?

10:02:42 22    A.      There was -- I honestly don't remember having any

10:02:50 23    discussion about doing external WLP packaging for Akoustis.

10:02:58 24    But what I do remember is that Akoustis was not interested

10:03:01 25    in selling us die only.
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 1690 of 2283 PageID
                                           #: 41661                                2012


10:03:05   1   Q.        They were interested in selling you wafers?

10:03:08   2   A.        They were interested in selling us packaged parts.

10:03:13   3   Q.        Okay.     So while Qorvo may have been interested in

10:03:19   4   buying die, Akoustis was interested in selling you packaged

10:03:24   5   parts?

10:03:25   6   A.        I don't know that we were interested in buying die.

10:03:30   7   Q.        Which is what Akoustis was interested in selling?

10:03:32   8   A.        That's all they had.

10:03:36   9   Q.        Akoustis was proposing that it would get its parts

10:03:42 10    packaged and sell them to Qorvo; correct?

10:03:46 11    A.        I don't recall that proposal being made.

10:03:48 12    Q.        Is there a way to use the parts without them being

10:03:51 13    packaged?

10:03:52 14    A.        No.

10:04:02 15    Q.        Was Akoustis proposing something that couldn't work?

10:04:06 16    A.        My understanding is that they were working on a WLP

10:04:10 17    solution so that they could sell a packaged part eventually.

10:04:15 18    Q.        Do you recall that?

10:04:34 19    A.        Yes.

10:05:16 20    Q.        I only have the one copy of that.

10:05:19 21                      MR. NAQVI:   Okay.

10:05:20 22    Q.        I'm sorry about that.

10:05:22 23                      MR. NAQVI:   I'm just going to take a peek at it.

10:05:29 24    Q.        Go ahead.     Do you recall anything in this e-mail

10:06:31 25    thread?
  Case 1:21-cv-01417-JPM        Document 714-2 Filed 10/29/24   Page 1691 of 2283 PageID
                                           #: 41662                                2013


10:06:31   1   A.        I recall Hans' comparison.

10:06:38   2   Q.        The comparison between Akoustis and Qorvo?

10:06:41   3   A.        Yes.

10:06:41   4   Q.        And we're now in November of 2019; correct?

10:06:45   5   A.        Correct.

10:06:46   6   Q.        And then you write to Dean on Monday, November 25th,

10:06:54   7   2019, "Heads up, please do your own independent

10:06:57   8   investigation and not buy into rumored internal evaluation

10:07:01   9   of Akoustis capabilities.         It is quite emotional.       I keep

10:07:06 10    hearing how crappy their filters are, and keep seeing places

10:07:10 11    where they were winning."

10:07:12 12                     That's what you wrote, correct?

10:07:13 13    A.        Yes.

10:07:13 14    Q.        Where were the places that you won, that you kept

10:07:19 15    seeing?

10:07:19 16    A.        I'm sorry.

10:07:20 17    Q.        You wrote, "and keep seeing places that they are

10:07:23 18    winning", correct?

10:07:24 19    A.        Correct.

10:07:24 20    Q.        Those are accounts that they were winning and they

10:07:26 21    were selling parts into those, correct?

10:07:28 22    A.        Yes.

10:07:28 23    Q.        They were selling actual parts, right?

10:07:31 24    A.        I don't know what they were selling.

10:07:34 25                     MR. NAQVI:    Objection.
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10:07:35   1   Q.     You assume they were selling actual parts, yes?

10:07:37   2   A.     That was my assumption, yes.

10:07:40   3   Q.     Do you recall that.       And I'll note that you're on the

10:07:43   4   e-mail starting on page 2.

10:08:02   5   A.     (Witness reviewing document.)          Yes, I recall this.

10:08:15   6   Q.     And we're now in December of 2019.          This is the

10:08:22   7   e-mail on the earlier pages are from November, end of

10:08:26   8   November, 2019.      You're being asked to get further parts

10:08:29   9   from Akoustis; correct?

10:08:31 10    A.     Yes.

10:08:38 11    Q.     Roger writes to you, "Leah, is it possible to get

10:08:42 12    some samples of Akoustis filters for evaluation?"

10:08:46 13                  Yes?

10:08:46 14    A.     Where is that, please?

10:08:47 15    Q.     It's at the bottom of the Bates page 626272.

10:08:54 16    A.     Yes.

10:08:56 17    Q.     And you write back, "Will you please advise

10:08:59 18    specifically what you want, frequency, test board, quantity,

10:09:03 19    et cetera, from Akoustis and I will make the request."

10:09:06 20    A.     Yes.

10:09:06 21    Q.     Do you know why they're asking for further parts for

10:09:09 22    evaluation?

10:09:14 23    A.     This is for HPS.      I don't know if this was further

10:09:22 24    parts for Roger or if this was his first specific samples

10:09:26 25    for HPS.
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10:09:30   1   Q.      And HPS is the high power?

10:09:32   2   A.      Yes.

10:09:33   3   Q.      Different from mobile?

10:09:34   4   A.      Yes.

10:09:34   5   Q.      Different from infrastructure?

10:09:37   6   A.      It is infrastructure.

10:09:38   7   Q.      It is infrastructure?

10:09:40   8   A.      Yes.

10:09:40   9   Q.      Okay.

10:09:43 10    A.      Different from Wi-Con.

10:09:46 11    Q.      Do you recall that?

10:10:19 12    A.      Yes.

10:10:19 13    Q.      What do you recall?

10:10:21 14    A.      I recall the Akoustis win or advertised win with

10:10:36 15    Euro.

10:10:36 16    Q.      So your April 24th, 2020, e-mail to Mr. Links said,

10:10:44 17    "I heard last night that Akoustis won a new slug of business

10:10:48 18    from Euro."

10:10:49 19                    From whom did you hear that from last night?

10:10:52 20    A.      I do not know.

10:10:53 21    Q.      But as a result of hearing that, you then found this

10:10:56 22    press release and forwarded it on?

10:11:03 23    A.      Evidently.     Did I do that?     Is it documented that I

10:11:16 24    forwarded this?

10:11:17 25    Q.      I don't know.      I'm just asking.
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10:11:19   1   A.     No -- I don't remember this press release or

10:11:23   2   forwarding it.

10:11:26   3   Q.     Okay.     The last e-mail at 12:28 has this as an

10:11:32   4   attachment on the e-mail from you, though, yes?

10:11:35   5   A.     The last e-mail?

10:11:38   6   Q.     I'm sorry, well -- well, the most recent.

10:11:43   7   A.     The first e-mail.

10:11:44   8   Q.     The first e-mail, I am sorry.

10:11:46   9   A.     Yes, there is an attachment, yes.

10:11:48 10    Q.     And there is this attachment; yes?

10:11:50 11    A.     Correct.     Correct.

10:11:51 12    Q.     And you were then forwarding this to Mr. Klein,

10:11:56 13    Mr. Links, Mr. Bostrum, and Mr. Testa with a CC to Mr. Fego?

10:12:02 14    A.     Correct.

10:12:02 15    Q.     And that's the Paul Fego, who is your boss?

10:12:07 16    A.     Yes.

10:12:19 17    Q.     On these e-mails, you'll see it says "classification

10:12:24 18    private".   What does that mean?

10:12:26 19    A.     It is just an automatic IT classification.           And at

10:12:39 20    this -- at this point in time in 2020, I think it just --

10:12:44 21    Qorvo's IT group just automatically classified unless you

10:12:50 22    over rode it with "highly sensitive" or something else.

10:12:57 23                   (End of videotape deposition.)

10:13:08 24                   MR. LEMIEUX:    Your Honor, I believe that ends

10:13:11 25    the video deposition excerpts of Ms. Giovan.          We have a
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10:13:17   1   number of exhibits then to move into evidence.

10:13:19   2                 THE COURT:   And they're going to be coming in.

10:13:22   3   We're going to start another witness, but I think it might

10:13:25   4   be easier for everybody, for particularly staff, if we can

10:13:28   5   mark the exhibits sequentially at this time and then we will

10:13:33   6   resume.

10:13:33   7                 We're going to take an early, an early break.

10:13:38   8   And it's going to be at least twenty minutes because I'm not

10:13:43   9   sure we can accomplish all this in that twenty-minute

10:13:47 10    period.    It will give us a chance to do that.       When we come

10:13:49 11    back, I am going to ask who your next witness will be, I

10:13:53 12    think we know already.

10:13:54 13                  MR. LEMIEUX:   The witness will be one of

10:13:56 14    defendant's experts, Dr. Darveaux.

10:13:59 15                  THE COURT:   Exactly.   When we come back, we will

10:14:01 16    be hearing from Dr. Darveaux.      Don't discuss the case

10:14:05 17    amongst yourself, don't let anybody talk to you about the

10:14:07 18    case, keep an open mind.     We'll see you in twenty minutes,

10:14:11 19    it will be 10:30 at the time we come back.        I'll let you be

10:14:15 20    excused.

10:14:16 21                  (Jury exiting the courtroom at 10:14 a.m.)

10:14:34 22                  THE COURT:   Everybody be seated for a moment.

10:14:38 23    We're going to go back and look at this a little bit more.

10:14:41 24    There is some issues as to the materials that have been

10:14:46 25    submitted as to Lebby, and frankly, I'm going to go back and
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10:14:54   1   recheck, but I already looked at the material and there is

10:14:58   2   certainly question about whether or not the materials have

10:15:00   3   been submitted will be able to be used.           I'll go back and

10:15:04   4   check on that.     We need to take that break.         They need to

10:15:08   5   mark everything.     It will take a few minutes.         Thanks very

10:15:11   6   much.

10:15:12   7                 COURT CLERK:    All rise.

10:15:13   8                 (A brief recess was taken.)

10:35:14   9                 THE COURT:    Everybody can be seated.

10:35:17 10                  Alex, our last exhibit number would be 340, is

10:35:35 11    that right?

10:35:37 12                  COURT CLERK:    340 will be our next one.         339.

10:35:41 13                  THE COURT:    339.   Got it.      Thank you.

10:35:44 14                  I think we're ready to bring our panel in.            We

10:35:50 15    have been working the Lebby matter.           Of course, he can say

10:35:54 16    certain things, we already indicated that.           There is a group

10:35:58 17    of unresolved issue on some of it, so I think we have

10:36:03 18    everything almost under control.       We're going to revise the

10:36:07 19    verdict form a little bit.

10:36:10 20                  North Carolina law is not so clear on a couple

10:36:13 21    of things.    There seems to be a basis for -- I think as I

10:36:18 22    understand the focus of the plaintiff is really the Defend

10:36:24 23    Trade Secrets Act in many respects, is that right?             At least

10:36:31 24    maybe now.

10:36:31 25                  MR. DeFOSSE:    I would say it's both, Your Honor.
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10:36:34   1   The North Carolina law in some respects is broader --

10:36:38   2                 THE COURT:    You have the treble damage issue.

10:36:40   3                 MR. DeFOSSE:    Yes, we're talking about the issue

10:36:42   4   of the instruction to the jury on double recovery, that is

10:36:45   5   what we're concerned about?

10:36:49   6                 THE COURT:    Right.    We're going to redo that a

10:36:51   7   little bit.    I understand the preference, obviously of the

10:36:53   8   plaintiffs on that.     I will look at it a little bit more,

10:36:58   9   but I think the focus will probably need to be in the issue

10:37:04 10    before you make your own choices on Defend Trade Secrets

10:37:09 11    Act.

10:37:09 12                  MR. DeFOSSE:    Okay.

10:37:10 13                  THE COURT:    I don't know that you're going to be

10:37:12 14    able to pursue the treble damages issue later on.

10:37:16 15                  MR. DeFOSSE:    Okay.   I guess -- obviously we'll

10:37:19 16    wait for Your Honor's decision.

10:37:21 17                  THE COURT:    That's fine.

10:37:22 18                  MR. DeFOSSE:    If it helps, one thought we had,

10:37:24 19    our proposal was the Court could address the double recovery

10:37:28 20    issue, we're not seeking a double recovery.

10:37:32 21                  THE COURT:    I understand.

10:37:32 22                  MR. DeFOSSE:    The way we were thinking out one

10:37:36 23    suggestion for the verdict form would be in our unfair

10:37:38 24    competition claim, we really have two components of damages,

10:37:41 25    we have the damages that would be related to the
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10:37:44   1   confidential information, which is somewhat overlapping but

10:37:46   2   I think broader than the trade secret issues.

10:37:49   3                 Then we have the damages that are related to the

10:37:52   4   employee retraining.     And one way that would assist the

10:37:56   5   Court I think in preventing a double recovery is if we broke

10:38:00   6   out the quantification of those damages in the verdict form

10:38:04   7   because then we can see what the jury would award on both

10:38:08   8   components of the unfair competition, and it will be easier

10:38:11   9   to assess whether we're really talking about things that

10:38:16 10    could be covered by the Defend Trade Secrets Act or whether

10:38:18 11    we're talking about something else.          I think that would give

10:38:21 12    Your Honor the tools to help ensure there is no double

10:38:24 13    recovery.

10:38:25 14                  THE COURT:   Sure.   I understand.       We'll consider

10:38:27 15    that.    Is there anything else you want to submit in that

10:38:29 16    regard in terms of modification of the form?

10:38:32 17                  MR. DeFOSSE:   Thank you, Your Honor.

10:38:33 18                  THE COURT:   Do you want to submit anything else?

10:38:35 19                  MR. DeFOSSE:   Oh, yes.

10:38:36 20                  THE COURT:   I don't mean a brief, I just mean

10:38:38 21    the form modification.

10:38:39 22                  MR. DeFOSSE:   We would be happy to change the

10:38:41 23    form and break that out and show you what we are thinking

10:38:44 24    about.

10:38:45 25                  THE COURT:   We want to receive that as soon as
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10:38:47   1   we can.

10:38:47   2                  MR. DeFOSSE:   This afternoon is fine?

10:38:49   3                  THE COURT:   Sure.

10:38:50   4                  MR. DeFOSSE:   Thank you, Your Honor.

10:38:51   5                  THE COURT:   We're ready to bring the panel in

10:38:53   6   and we'll see where we are.

10:38:59   7                  (Jury entering the courtroom at 10:39 a.m.)

10:39:25   8                  THE COURT:   Everyone can be seated.     And who is

10:39:47   9   the defense's next witness?

10:39:51 10                   Ms. Smith, yes?

10:39:54 11                   MS. SMITH:   Yes.    We call Dr. Robert Darveaux.

10:39:57 12                   THE COURT:   All right.   And will the Doctor come

10:40:01 13    forward and raise his right hand to be sworn in.

10:40:08 14                   COURT CLERK:   Please remain standing.     Please

10:40:13 15    state and spell your full name for the record.

10:40:20 16                   THE WITNESS:   Robert Darveaux.    R-O-B-E-R-T,

10:40:25 17    D-A-R-V-E-A-U-X.

10:40:28 18                   ROBERT DARVEAUX, Ph.D., having be duly sworn,

10:40:34 19    was examined and testified as follows:

10:40:37 20                       DIRECT EXAMINATION

10:40:39 21    BY MS. SMITH:

10:41:00 22    Q.        Dr. Darveaux, would you please state your full name,

10:41:03 23    age, and your current state of residence?

10:41:05 24    A.        Robert Francis Darveaux.    I'm sixty-two.    And I live

10:41:08 25    in Arizona.
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10:41:10   1   Q.     Please tell the jury a little bit about yourself.

10:41:13   2   A.     I grew up in Pikesville, Minnesota.        I have got three

10:41:18   3   kids that are grown and four grandkids, and they're kind of

10:41:22   4   scattered around the country, not where I live.

10:41:26   5   Q.     What are the specifics of your educational

10:41:29   6   background?

10:41:30   7   A.     I have a bachelors of science in nuclear engineering

10:41:35   8   and I have a Ph.D. in material science and engineering.

10:41:38   9   Q.     Are you the author of any publications?

10:41:42 10    A.     Yeah, I have about ninety publications, I think, and

10:41:47 11    a combination of journal articles, conference articles, and

10:41:53 12    a couple of book chapters.

10:41:55 13    Q.     What are the technical areas that you have written

10:41:58 14    in?

10:41:58 15    A.     Pretty much my career has been in microelectronics,

10:42:04 16    and more on the packaging and assembly side, but many topics

10:42:08 17    like RF modules, flip chip devices, RF shielding, printed

10:42:16 18    circuit boards, reliability testing, thermal simulation,

10:42:21 19    mechanical simulation, you know, broad range of things

10:42:27 20    related to packaging.

10:42:28 21    Q.     Are you the named inventor on any patents?

10:42:32 22    A.     Yes.

10:42:32 23    Q.     How many?

10:42:33 24    A.     Somewhere north of seventy-five.        I'm not sure of the

10:42:40 25    exact number.
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10:42:41   1   Q.      And what fields of technology are your patents in?

10:42:46   2   A.      Similarly they're all in microelectronics, kind of

10:42:50   3   the same topics I just said, some are related to modules,

10:42:56   4   shielding, process, most of them are structure patents, so

10:43:00   5   structures in the package.       Flip chip, copper pillars, some

10:43:07   6   of the things that you have been seeing in this case.

10:43:10   7   Q.      You got a BS in nuclear engineering.        Why did you

10:43:14   8   switch course and go into electronics and materials

10:43:18   9   handling?

10:43:18 10    A.      Well, I worked for a year in the Savannah River plant

10:43:24 11    making nuclear weapons material, and then I decided to go

10:43:27 12    back to school and get my Ph.D. and I chose material

10:43:31 13    science.

10:43:32 14    Q.      Have you ever taught any courses in the field of

10:43:35 15    electronics?

10:43:35 16    A.      Yes.    So I did for about five years, I was a

10:43:39 17    part-time professor at Arizona State.         And I taught a

10:43:43 18    material science undergrad course, a grad course in

10:43:47 19    electronic packaging during that time.

10:43:51 20    Q.      Who do you work for currently?

10:43:53 21    A.      So right now I just have my own company.         I do some

10:43:57 22    consulting engineering work and then some expert witness

10:44:00 23    work.

10:44:00 24    Q.      How long have you had that company?

10:44:03 25    A.      So I retired from corporate life in 2019, so I have
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10:44:11   1   been doing it since then.

10:44:13   2   Q.        So what industry jobs did you have starting from your

10:44:17   3   first job out of college?

10:44:20   4   A.        So as I mentioned, I worked for DuPont, actually at

10:44:23   5   the Savannah River plant for a year.       Then I went back to

10:44:27   6   school.    I did my graduate research at a place called MCNC,

10:44:34   7   as you can see on the screen, North Carolina.         I lived in

10:44:37   8   North Carolina four years there.

10:44:40   9                  When I graduated, I took a job with Motorola

10:44:43 10    down in Florida.     Down there we made two-way radios like

10:44:48 11    police and military have, or they might be mounted on a

10:44:52 12    trunk of a car, that was a product we made so I was involved

10:44:56 13    in the solder technology and process development for

10:44:59 14    packaging that Motorola used at that time.        In fact, some of

10:45:02 15    the packaging technology seen here, so some of this stuff is

10:45:06 16    quite old, as you have seen in this case.

10:45:09 17                   Then I took a job with Amkor Technology.       You

10:45:13 18    heard them referred to as subcontractors or OSAT, that's

10:45:18 19    what Amkor does, they do the testing and operations for the

10:45:23 20    semiconductor companies, so pretty much all the largest

10:45:26 21    semiconductor companies in the world were our customers, we

10:45:29 22    were either number one or number two in the industry through

10:45:32 23    the seventeen years that I was there.

10:45:34 24                   So my job there was technology development so

10:45:37 25    new platform development, new types of packaging, that's
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10:45:43   1   what I did at Amkor.    In fact, you just saw Leah Giovan

10:45:47   2   testify, I met her in 1996, I think.     She was a supplier of

10:45:53   3   lead frames to me on one of the projects I had.       And back in

10:45:57   4   2001, 2002, actually RFMD was my customer, I had the RF

10:46:03   5   module product team.    And they were my biggest customer, so

10:46:07   6   I'm quite familiar with them.     We did production for them in

10:46:11   7   our Philippines P3 plant.    I had been in Greensboro meeting

10:46:15   8   with them at that time frame.

10:46:20   9   Q.     What about Skyworks?

10:46:21 10    A.     From there I went to Skyworks.      Skyworks was 2012 to

10:46:27 11    2019, so that's a time frame a lot of this activity in this

10:46:30 12    case was going on.   Skyworks was a competitor to Qorvo, and

10:46:35 13    eventually to Akoustis when they came on, so we produced

10:46:38 14    front-end modules, power amplifier modules, eventually we

10:46:43 15    produced filters themselves.

10:46:45 16                So Skyworks, when I first got there, did not

10:46:48 17    make any filters internally, we sourced filters, we bought

10:46:51 18    them from TileUni or Panasonic, or TDKF Coast, so it was

10:46:59 19    either SAW or BAW filters we bought, and then we integrated

10:47:04 20    those in our modules.    I had a team that was called

10:47:07 21    component engineering, among other teams, but that team was

10:47:10 22    responsible to qualify these filters so that we could use

10:47:13 23    them in our modules, so I was very familiar with the

10:47:17 24    development time that it took to develop new filters.

10:47:20 25                Eventually we bought that division of Panasonic,
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10:47:24   1   and so it became a Skyworks division to make SAW filters.

10:47:29   2   So there is a factory in Japan, a factory in Singapore, and

10:47:35   3   then I took over the team in Singapore that was doing the

10:47:39   4   packaging development, that was part of my responsibility in

10:47:42   5   addition to this other stuff.

10:47:44   6                 Later Skyworks, we bought a small startup calls

10:47:49   7   MEMS Solution, that we had bought to bring BAW filters

10:47:52   8   internal to Skyworks, so I was in charge of that team to

10:47:54   9   integrate MEMS solution BAW filters into Skyworks.

10:47:58 10    Eventually that broke responsibility and I was only in

10:48:01 11    charge of the back end, but I initially had the entire the

10:48:04 12    team.

10:48:04 13                  That was pretty much after that point.

10:48:11 14                  MS. SMITH:    Your Honor, I tender Dr. Robert

10:48:14 15    Darveaux as an expert in the industry of RF filter

10:48:17 16    technology.

10:48:18 17                  THE COURT:    Any voir dire?

10:48:19 18                  MR. DeFOSSE:    No, Your Honor.

10:48:20 19                  THE COURT:    He's received as a person who can

10:48:22 20    express an opinion that is an expert in the technology

10:48:26 21    specified.

10:48:28 22    BY MS. SMITH:

10:48:29 23    Q.      Dr. Darveaux, did you make some slides to help you in

10:48:34 24    your testimony today?

10:48:35 25    A.      I did.
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10:48:36   1   Q.     Are these the ones?

10:48:37   2   A.     Yes.

10:48:39   3   Q.     Can we have DDX 3.3, please?

10:48:44   4                 Are you providing an opinion -- I'm sorry, what

10:48:49   5   have you been asked to do today?

10:48:51   6   A.     So when I was brought into the case, I was asked to

10:48:54   7   provide opinions on things, so listed here in this slide.

10:48:58   8   So first one was whether the categories of information

10:49:02   9   described by Dr. Shanfield, who you saw last week, as trade

10:49:07 10    secrets were generally known or ascertainable through either

10:49:12 11    independent or reverse engineering, by people in the

10:49:15 12    industry.   That's one of the requirements to be called a

10:49:20 13    trade secret.     Whether or not Akoustis was able to compete

10:49:23 14    in the market for BAW filters more rapidly, this is the

10:49:27 15    head-start we have been talking about, did they get any

10:49:29 16    head-start advantage to get to the market faster.

10:49:32 17                  And then if so, how much benefit did they get.

10:49:36 18    And then even further beyond that was what was any value of

10:49:41 19    these documents, really we're talking about a bunch of

10:49:44 20    documents here, what was the value to Akoustis.         Those are

10:49:47 21    the three things I was asked to give an opinion about.

10:49:50 22    Q.     Are you providing an opinion regarding all eight

10:49:53 23    groups of the alleged trade secrets that Dr. Shanfield

10:49:57 24    opined on earlier in the trial?

10:49:59 25    A.     No, I was asked to cover groups 2 through 7.
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10:50:03   1   Q.       What did you consult to perform your work?

10:50:09   2   A.       Many things.     So we looked at -- I shouldn't say we,

10:50:14   3   I looked at the court documents, so there are many pleadings

10:50:18   4   I guess they're called, that go back and forth between the

10:50:22   5   teams that has information.        I looked at expert reports by

10:50:27   6   Shanfield, Bennis, and Faulkner, so I looked at those expert

10:50:32   7   reports.

10:50:33   8                   I searched for lots of publicly available data,

10:50:37   9   so that would be coming from standards bodies or just

10:50:41 10    technical papers, you'll see some of that in my talk.            I

10:50:45 11    looked at the depositions that various people made on both

10:50:48 12    sides.   I did have some discussions with some of the

10:50:53 13    Akoustis employees, you know, like half hour kind of video

10:50:58 14    conferences.      I guess that was it.

10:51:03 15    Q.       Did you also research some documents on line?

10:51:09 16    A.       Yes.    Yeah.   So two ways, so one way is just

10:51:13 17    searching for stuff that's available now, and then a second

10:51:17 18    way is there this thing called a "Wayback Machine", which is

10:51:21 19    provided by an entity called internet archive, I believe

10:51:26 20    it's called, that you can actually go back in time and see

10:51:30 21    what was available on a company's website in 2016, for

10:51:35 22    example, so I did some of that as well.

10:51:38 23    Q.       All right.      Dr. Darveaux, let's talk about the

10:51:41 24    background technology.        Can I have DDX 3.5, please?

10:51:46 25                    So this is document JTX 14.      Dr. Darveaux, are
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10:51:55   1   you familiar with this document?

10:51:57   2   A.     Yes.

10:51:58   3   Q.     What is it?

10:51:58   4   A.     So this is the front page of what we would call a

10:52:02   5   tear down report.     You can see this company here is System

10:52:07   6   Plus Consulting.     So as soon as any product becomes

10:52:10   7   commercially available, meaning you can go buy a phone or a

10:52:14   8   router or whatever and get it, there are companies that take

10:52:17   9   it, tear it apart and do very detailed analysis of the

10:52:21 10    components inside and the product itself.        So they'll

10:52:24 11    estimate the cost, they'll look at the technologies, all

10:52:27 12    sorts of things.     Then they produce a report and pretty much

10:52:30 13    anybody can buy that report.      So that's -- there are some

10:52:35 14    small time delay, but as soon as you put something on the

10:52:39 15    market, there could be a report about it out there.

10:52:42 16    Q.     Next page, please.

10:52:43 17                  Would you please explain the general concept of

10:52:48 18    a BAW filter?

10:52:49 19    A.     Well, I think we've heard about that, but essentially

10:52:52 20    you got electrical frequencies coming into the device and it

10:52:58 21    passes some of those frequencies through the device and it

10:53:01 22    tries to reject other frequencies.       So you have like a

10:53:05 23    passband area.     And then these rejection areas on either

10:53:07 24    side of that.     That's a typical pass band, which is the most

10:53:12 25    common application.     It uses electrical and acoustic energy
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10:53:16   1   so there is PA's of electric materials that actually change

10:53:20   2   shape, you know, changes the dimension of the function of

10:53:24   3   the electric field, so that can create sound waves, that's

10:53:28   4   why they call them acoustic.    Then you see these different

10:53:31   5   resonators that are labeled in this picture, S1 through S6,

10:53:36   6   those are in series, P1, 2, 3, 4 for parallel or shunt

10:53:40   7   resonators, so when you design a filter you combine these

10:53:44   8   resonators to create the filtering effect.

10:53:47   9               In this case, this is an acoustic device that

10:53:52 10    was in that tear down report, you can see the shape of the

10:53:56 11    resonators in this particular design, they're either

10:54:00 12    elliptical or cut elliptical you would call that.       There is

10:54:03 13    wire bonds, you see the connections coming in, there are

10:54:06 14    five of them, these are gold wires that come down and

10:54:10 15    connect to the device.    That's how the electrical signals or

10:54:14 16    the grounding is applied to the device, that's part of what

10:54:18 17    we call the term packaging, you can look at, these are

10:54:21 18    fairly simple in terms of schematic wise compared to what an

10:54:27 19    integrated circuit would be, you can look at the device and

10:54:29 20    derive the circuit, which you'll see this in some of the

10:54:33 21    documents later.   So they didn't need to design the device,

10:54:37 22    they can just look at it and determine roughly basically

10:54:40 23    what the basic circuit diagram looks like.

10:54:43 24    Q.     Can we have DDX 3.7, please?

10:54:46 25                This is DTX 623.     Are you familiar with this
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10:54:52   1   document, Dr. Darveaux?

10:54:53   2   A.      I am.

10:54:54   3   Q.      What is it?

10:54:55   4   A.      So this is another teardown report from further back

10:54:58   5   in time, I think this was 2016, of a Qorvo high band

10:55:04   6   front-end module, actually it was a TriQuint module, who

10:55:08   7   then became Qorvo.

10:55:10   8   Q.      Next page, please.

10:55:14   9   A.      So I just again, we have been talking about comparing

10:55:17 10    technologies, I just wanted to show them side-by-side for

10:55:20 11    you.   The one on the left is this particular Qorvo part, the

10:55:23 12    one on the right is the Akoustis part.       You can see the

10:55:26 13    shape of the resonators is different in this example.        The

10:55:30 14    other thing about the packaging is different like the one on

10:55:32 15    the left has all those round circles around the perimeter,

10:55:37 16    those are flip chip bumps we call those, because when the

10:55:40 17    die is mounted on the package it's flipped over and face

10:55:44 18    down, whereas the one on the right is facing up and the

10:55:47 19    wires coming in, that's why it's named flip chip by IBM in

10:55:51 20    the 1960s, been around a long time, it just keeps getting

10:55:55 21    better and better and smaller, rights?       So the one on the

10:55:57 22    right has the wire bonds going into it.

10:56:00 23    Q.      The next page, please.

10:56:02 24                    What is shown on in slide?

10:56:03 25    A.      So again you have seen some cartoons about this.
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10:56:06   1   This is the actual parts, if you cut through them and zoom

10:56:09   2   in very close with an electron microscope like you heard

10:56:14   3   about last week, they have some similarities and they have

10:56:17   4   some differences, right?    Yes, they both have electrodes top

10:56:21   5   and bottom, that sandwich of piezoelectric layer, that's how

10:56:26   6   you create a BAW filter.

10:56:28   7                The differences are the one on the left, for

10:56:30   8   example, has a reflector region beneath it, so that stack is

10:56:34   9   all solidly mounted together, that's why they call it SMR,

10:56:37 10    the one on the right has an air cavity, so it's very thin

10:56:41 11    film.   In fact, the film is probably a hundred times more in

10:56:44 12    the direction of the right of this picture.

10:56:46 13                 So it's a very thin film that's expanded -- it's

10:56:50 14    suspended and attached on certain perimeters, so

10:56:54 15    mechanically it's more fragile.     Thermally, it doesn't

10:56:58 16    conduct the heat away as well as the one on the right

10:57:00 17    because of the design.

10:57:01 18                 And then, you know, the materials are actually

10:57:03 19    different in some cases, some are the same, many of the

10:57:06 20    materials are different.    The thicknesses can be different.

10:57:09 21    And that depends on each company's design rules and their

10:57:13 22    manufacturing flow because these things tie together, you

10:57:16 23    can't design something that does not fit your manufacturing

10:57:20 24    flow.   And so they have to be tied together.

10:57:24 25    Q.      Next slide, please.   What is shown on this slide?
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10:57:29   1   A.       So I just wanted to blow up an example of things that

10:57:32   2   are relevant in the design that we haven't really talked

10:57:35   3   about.   Every feature on here is designed down to the tenth

10:57:40   4   of a micron, roughly.     And some layers overlap other layers,

10:57:45   5   so there is design rules about how far it has to overlap,

10:57:48   6   some features have to be clearance from each other, there

10:57:52   7   are design rules to the clearance.

10:57:54   8                 Every feature on here, to design this would

10:57:56   9   require many, many design rules.      You can't determine that

10:58:00 10    just by glancing at a photo or glancing at a PowerPoint

10:58:04 11    image, these are things that are developed in a factory, and

10:58:06 12    they do a bunch of experiments to determine these things and

10:58:09 13    then that feeds back to the design team, so they know what

10:58:13 14    rules to use when they're laying out resonators and laying

10:58:16 15    out the filter.

10:58:16 16    Q.       What's an etch hole?

10:58:18 17    A.       So, an etch hole, we talk about there is air cavity

10:58:22 18    underneath in P1 resonator, for example.       First it's filled

10:58:27 19    with the material during the manufacturing process and then

10:58:29 20    later they come in and etch it with a gas that attacks

10:58:32 21    through that hole and then it kind of burrows underneath,

10:58:35 22    and that's how you clear out what's underneath there.         So

10:58:38 23    it's an etchant, you can use liquid etchant for some kind of

10:58:44 24    process, in this case it would be a gas etchant, it is a

10:58:48 25    very small feature size.
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10:58:49   1   Q.     Next slide shown here is DTX 0562.      What is the --

10:58:58   2   what's this before and after sketch?

10:59:00   3   A.     Yeah.    So this is just again a cartoon or an

10:59:04   4   illustration of what, if you cut down through that picture I

10:59:08   5   just showed you and look from the side, you have -- before

10:59:11   6   etching, you've got this sacrificial material which is top

10:59:15   7   mid in this case and after it's etched, and it's removed

10:59:18   8   away, and that's how you create the air gap, depending which

10:59:22   9   direction you're looking for, it either looks like it's

10:59:24 10    suspended or it's connected on the edges, that's what an

10:59:28 11    FBAR filter has those specific features to it.       A resonator

10:59:32 12    I should say, FBAR resonator.

10:59:34 13    Q.     Does that sacrificial layer, what does it become, how

10:59:38 14    does it get out of there?

10:59:39 15    A.     It's vaporized essentially.      This process is done,

10:59:43 16    you know, in a vacuum, so it's essentially vaporized and it

10:59:47 17    gets pulled out of the system with a pump.

10:59:50 18    Q.     Next slide, please.

10:59:51 19                   Shown here is DTX 034.   Dr. Darveaux, can you

10:59:59 20    explain the differences between FBAR and SMR?

11:00:02 21    A.     So, yeah, this is actually a slide from Dr. Fattinger

11:00:07 22    that he put together at TriQuint in 2008, so these things

11:00:10 23    have been around for some time.     I think it became public in

11:00:14 24    a court case around 2011.    But you know, in his words, you

11:00:19 25    know, certain advantages and advantages to either
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11:00:22   1   technology, so FBAR is on the left, it's easy to get high

11:00:26   2   Qs, so that's what -- that's a factor driving performance

11:00:30   3   but it's harder to manufacture and it's not as robust.

11:00:33   4   That's what I was talking about, you have this really thin

11:00:36   5   film that's attached to the edges, it's kind of fragile.

11:00:40   6   It's hard to do advanced topologies, means if you're trying

11:00:44   7   to stack resonators it's more difficult.

11:00:47   8                   On the right, good power handling for SMR,

11:00:52   9   that's because it's solidly mounted so you can conduct the

11:00:55 10    heat directly down into the substrate, it doesn't have to

11:00:58 11    travel laterally through a thin film before being conducted

11:01:02 12    away.   It has a lower thermal resistance, and there is more

11:01:08 13    layers, when you do the manufacture, it has more layers, it

11:01:11 14    may take longer to run through your factory if they have to

11:01:14 15    do more layers, typically.

11:01:16 16    Q.      Next slide, please.

11:01:18 17                    What are some other differences, for example, in

11:01:21 18    the packaging?

11:01:21 19    A.      Yeah.    So this is again, you heard the word

11:01:25 20    packaging, I was trying to give you some examples.       So the

11:01:27 21    one on the left is an example of the Qorvo package in that

11:01:30 22    teardown.   We would call this flip chip, so the die is

11:01:34 23    facing downward toward the thing that it's mounted, on which

11:01:37 24    would be a substrate.     And the features like you see

11:01:41 25    88 microns, that number on the left, that's the copper
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11:01:44   1   pilar, so that's the electrical interconnection between the

11:01:47   2   chip and the substrate below, and the resonator you can't

11:01:50   3   really see in this picture, they're so thin and tiny, but I

11:01:53   4   have put an arrow there so you can see it on the left where

11:01:56   5   the resonator would be.

11:01:57   6                 On the right is the Akoustis package that was in

11:02:02   7   that tear down, it's a wire bonded package, you can see it's

11:02:05   8   much bigger and spread out, there is a lot of area that it

11:02:08   9   takes up.    The die is facing up and you have those gold

11:02:12 10    wires coming in to bring in the electrical signals and the

11:02:16 11    grounding.   But things like the packaging process, how you

11:02:19 12    manufacture those, is going to depend on each company's

11:02:23 13    flow.   It's going to be different in these two cases,

11:02:26 14    dramatically different, actually.

11:02:28 15                  The material set, we heard of that, means what

11:02:30 16    are the materials they pick for each of those things you see

11:02:33 17    in the picture, that's different.      The design rules for

11:02:36 18    these packages for flip chip versus wire bond would be

11:02:40 19    different, and it's going to be a function of whoever

11:02:42 20    assembled those things for the company, if they did it

11:02:45 21    in-house, it would be their design rules, if they use a

11:02:48 22    subcontractor like Amkor that I used to work at it, it would

11:02:52 23    be Amkor's design rules that would be needed for them to

11:02:55 24    design the packaging.

11:02:56 25    Q.      Next slide, please.
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11:02:57   1                 What is shown here?

11:03:00   2   A.      So this I wanted to show you again, you have heard a

11:03:03   3   little bit about mobile application or discrete filter

11:03:07   4   infrastructure like the last witness talked about.         So

11:03:10   5   mobile means small.     You have to crunch a lot of filters in

11:03:15   6   a very small space, so things like the size and the

11:03:18   7   thickness are very important, so your packaging choices are

11:03:22   8   going to drive that.

11:03:23   9                 Where infrastructure, a lot more space to work

11:03:26 10    with.   You can see there is four filters on the right,

11:03:29 11    they're very spread out.      This is on the product board of

11:03:32 12    the customer, so the design rules of the board are

11:03:36 13    determined by the inter connection pitch, you know, on the

11:03:39 14    packages.    So it's a different application.      Volumes are

11:03:42 15    different.

11:03:43 16                  The one on the left, your factory is going to be

11:03:46 17    putting out millions per day, the volumes are staggering on

11:03:50 18    this stuff.    The one on the right is maybe millions per year

11:03:53 19    or millions per month, it's a much different type of

11:03:57 20    business and different type of scale you need to compete.

11:03:59 21                  Akoustis does not have a scale to compete with

11:04:03 22    the one on the left.     It may be their aspiration to do that,

11:04:06 23    but a tier one supplier is not going to be using them any

11:04:09 24    time soon.    But they can compete with the one on the right

11:04:13 25    because the volumes are lower and you don't need as much
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11:04:16   1   capacity to manufacture it.     And different customer

11:04:19   2   specifications, I think you have heard that, too.        Even

11:04:21   3   though it could even be the same band, but the

11:04:24   4   specifications are slightly different and it comes from the

11:04:27   5   customer, so the customer on the left is different likely

11:04:29   6   than the one on the right, and each one will give the

11:04:32   7   specifications, that is determined by the rest of his

11:04:36   8   system, so he needs to know -- he knows what he's putting

11:04:39   9   with these filters, so he'll give you specs on I need

11:04:42 10    rejection here, I need a certain pass band, insertion loss,

11:04:46 11    the customer determines those specs.

11:04:48 12    Q.       Next slide, please.

11:04:50 13                  Tell us about connectors and the evaluation

11:04:57 14    board?

11:04:57 15    A.       So this is an evaluation board.     You have heard that

11:04:59 16    term.    So that thing right in the center is the filter, it's

11:05:02 17    a tiny little thing, and the rest of it is just a mechanism

11:05:06 18    that you can test the filter and handle it.

11:05:09 19                  And then these connectors, they're coax

11:05:13 20    connectors like you have on your cable box, you screw them

11:05:17 21    in, these are a little more probably higher spec range and

11:05:20 22    more expensive, but essentially it's the same thing, and

11:05:23 23    they're soldered to the board.      So the electrical signals

11:05:26 24    would come in through these solder connections, there is a

11:05:29 25    part of the connector that's like this and the pan of the
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11:05:34   1   board is like that, they're soldering metal to metal, that's

11:05:38   2   how the signal comes into the board and goes out again.

11:05:40   3   Q.       So what's the -- what is the interplay between the

11:05:46   4   evaluation board and the connector as far as how they --

11:05:52   5   hook together?

11:05:52   6   A.       Yes.    So the board has to be designed so it matches

11:05:56   7   the connector.       So you can see from the picture, you can't

11:05:58   8   have a pad here and the connector pin there, they have to

11:06:02   9   line up.    So later we're going to look at a connector

11:06:05 10    drawing and you can see a portion on that drawing where it

11:06:08 11    specs out.      Here is the PC board design you need to use for

11:06:13 12    our connector, that's why it matters, the question that she

11:06:16 13    asked.

11:06:17 14    Q.       Next slide, please.

11:06:18 15                    What is an outsource model?

11:06:25 16    A.       So you heard the last witness talk about make versus

11:06:29 17    buy decision.       So what she's talking about is if you're

11:06:32 18    going to buy from outside, that's called outsourcing, you're

11:06:36 19    going to buy that service or that component from the

11:06:39 20    outside.    If you make it, that's internal manufacturing.          So

11:06:43 21    what happened in our industry in the '90s was many companies

11:06:47 22    went to an outsource model, so back in the '80's and 70's,

11:06:51 23    like IBM if they're going to make a computer, they would

11:06:55 24    make the printed circuit board, they would make all the

11:06:57 25    chips, they would do all the software, they would assemble
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11:07:00   1   it all internally, they own that whole thing, that's called

11:07:04   2   vertically integrated.

11:07:05   3                 Motorola, when I joined Motorola was still like

11:07:09   4   that, but in the '90s all these companies broke apart.          They

11:07:12   5   broke into pieces, new companies formed that were pieces,

11:07:15   6   and what happened was you created this whole industry of

11:07:18   7   outsourcing, because now a lot of different companies were

11:07:22   8   using the same supplier for their assembly service or the

11:07:26   9   same wafer fab, you have heard of Invidia, they're like a

11:07:30 10    fabless company, they don't -- at that time, I don't think

11:07:34 11    still, they don't build anything, they just design and

11:07:36 12    market it and they have an outsource supplier, like TSMC, do

11:07:42 13    the wafer fab, and they have somebody like Amkor or ASC do

11:07:46 14    the assembly or test, and somebody like Broadcom or EMF Com

11:07:52 15    mount it on boards, if they have a product like that.          So

11:07:54 16    they just manage that whole thing, all those pieces are

11:07:56 17    outsourced.

11:07:56 18                  So what happens in that model is you have

11:07:59 19    multiple suppliers, and companies always want multiple

11:08:03 20    suppliers, so I don't want to depend on only one supplier

11:08:06 21    for my component, I always have at least two, often three

11:08:09 22    because if one guy has a problem, I need to have a backup

11:08:13 23    very fast, right, so you always have two, plus for pricing

11:08:17 24    leverage you want two, right, you want to compare them and

11:08:20 25    work them against each other, so if he lowers his price, you
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11:08:24   1   give him more loading.     And then this guy lowers his price,

11:08:27   2   and he gets more loading back, so you always want multiple

11:08:32   3   suppliers.

11:08:32   4                In that environment what happens with this

11:08:35   5   outsourcing is auditing became very prevalent, when I say

11:08:40   6   auditing, what that means is a group of engineers in the

11:08:43   7   quality and technology people, maybe four or five will go to

11:08:46   8   the factory and audit all these documents, and you have been

11:08:49   9   seeing these documents like inspection documents, your

11:08:52 10    process documents, you know, it's auditing.

11:08:56 11                 So the issue with auditing is even though yes,

11:08:59 12    you have an NDA with the customer, he's going to audit your

11:09:03 13    competitors and he doesn't necessarily hand your documents

11:09:07 14    to them, but the forms look the same and if there is

11:09:10 15    something that you have that the competitor does, he'll put

11:09:13 16    them on an action item, improve this thing.       Over time, over

11:09:17 17    decades now, all these forms look the same.

11:09:19 18                 And then standards come up, too, so that the

11:09:23 19    forms are standardized, the inputs on these forms are

11:09:27 20    standardized, and these things are very similar.        So there

11:09:30 21    might be some little minor tweaks that are different to a

11:09:33 22    company, and I'll point those examples out as we go, but the

11:09:37 23    format of the forms and, you know, the requirement to have

11:09:40 24    the forms is very much been spread and common amongst the

11:09:45 25    industry due to outsourcing, due to auditing.        And then a
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11:09:50   1   large number of standards have all been -- I'll show some of

11:09:53   2   those in my talk today.

11:09:56   3   Q.      Next slide, please.

11:09:58   4                And you were talking about standards, what is

11:10:00   5   this?

11:10:00   6   A.      So this is a standard that's calling out standards.

11:10:03   7   So this is a JEDEC JDP70 and listed in here are 239

11:10:10   8   different standards that are free to anybody if they want to

11:10:14   9   know about electrical testing methods, qualification and

11:10:18 10    reliability monitoring, reliability testing, reliability

11:10:21 11    models, visual inspection, you know, all sorts of things are

11:10:26 12    standards that are free for everybody because the industry

11:10:29 13    has moved to this model where they want these type of things

11:10:32 14    to be the same and that allows you to have multiple

11:10:35 15    suppliers for the same part.    A lot of data out there.

11:10:39 16    Q.      All right.    Next slide, please.

11:10:41 17                 Did you create this diagram?

11:10:46 18    A.      Go back.

11:10:48 19    Q.      Did you create this?

11:10:48 20    A.      I did, yeah.

11:10:49 21    Q.      What is it?

11:10:50 22    A.      So this is again, there were documents produced in

11:10:53 23    this case, so I was able to from those documents get the

11:10:57 24    suppliers that Akoustis uses for their supply chain flow.

11:11:01 25    You have heard Leah Giovan before she was a supply chain
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11:11:06   1   manager, this is a common thing in our industry, supply

11:11:10   2   chain.   This is a chain of companies and processes which you

11:11:12   3   use to supply your product, that's what supply chain means

11:11:16   4   essentially.

11:11:16   5                  So it starts at the top, you need to design

11:11:19   6   something and develop something, Akoustis did that

11:11:22   7   themselves internally.    Wafer fab, originally they

11:11:26   8   outsourced that to GCS and once they bought the New York

11:11:30   9   Fab, they brought that internal.

11:11:31 10                   That wafer probe and test and trim, that's

11:11:34 11    actually within the fab, so they did that themselves.

11:11:37 12    Initially they were doing it, you know, small volume in

11:11:40 13    North Carolina, but then it moved up to the fab was my

11:11:43 14    understanding.

11:11:44 15                   Then packaging assembly and test.    Now I list a

11:11:48 16    lot of companies here because that was listed in the

11:11:50 17    documents of the court, but you know, some of these are ones

11:11:53 18    they use and don't use, but there are a few big ones in

11:11:57 19    there.   These are the companies that do this what I

11:12:00 20    mentioned, the outsource assembly and test, the packaging

11:12:03 21    part and the final test.    Here test means final test.

11:12:06 22                   Once you have assembled that whole thing, you do

11:12:10 23    one more final test, confirm it's good, and then it can go

11:12:14 24    to a customer.    Sometimes it can right to the customer if

11:12:17 25    something is already in volume production, but initially
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11:12:21   1   you're going to go back for electrical characterization, you

11:12:24   2   heard that talk in this case where they're characterizing

11:12:27   3   these devices, you'll see some of the specs that talk about

11:12:30   4   characterization plans, that's in early stages of a given

11:12:33   5   product or a given filter.    And sometimes you go to

11:12:35   6   reliability testing.   Everything that goes to a customer

11:12:38   7   eventually has to be tested for reliability.

11:12:41   8               This is super standardized in our industry, it's

11:12:44   9   a requirement because you don't want products failing in the

11:12:47 10    field, it's very expensive for everybody.      And then if it's

11:12:50 11    a production flow, it goes straight to the customer.

11:12:52 12                Now what I'm also showing here is you have

11:12:56 13    equipment suppliers, substrate suppliers, material

11:12:59 14    suppliers, these are all your partners, so they have

11:13:01 15    resources and everybody's goal is to make you succeed,

11:13:06 16    that's how they get paid, right, they want you to succeed.

11:13:09 17    So all the suppliers are inputting their know-how and

11:13:13 18    engineering, so if you buy equipment, the equipment

11:13:16 19    supplier, they're selling you a trim tool, cost

11:13:19 20    one-and-a-half to $2 million, they don't just send you that

11:13:22 21    tool and say okay, it's yours, they station engineers in

11:13:25 22    your factory and train you, then they'll station the guy

11:13:29 23    there indefinitely, like in your Amkor factories, we had the

11:13:33 24    supplier engineers in our factory all the time because

11:13:36 25    they're constantly giving you support on their equipment,
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11:13:39   1   it's not like you're on your own, there is a lot of input

11:13:43   2   that comes from your partners.

11:13:44   3   Q.     Next slide, please.

11:13:46   4                 Who are Akoustis's suppliers?

11:13:48   5   A.     So I figured you didn't know necessarily all these

11:13:52   6   companies that I had on the previous slide, so I just went

11:13:55   7   and looked, some of them are very old well-established

11:13:59   8   companies, even back into the early 1900s, so they're very

11:14:04   9   successful, they're battle hardened.       Some of them are as

11:14:09 10    recent as 2011 when they were established.        I wanted to give

11:14:12 11    you an example, these are mature resource companies that are

11:14:16 12    suppliers of Akoustis and partners.

11:14:17 13    Q.     Next slide, please.

11:14:19 14                  What is after the determine time to market?

11:14:28 15    A.     The is the key element of this case, the alleged

11:14:32 16    trade secrets, allegedly gave Akoustis a 55-month head-start

11:14:36 17    in time to market.     So this is really important to

11:14:38 18    understand.    So what determines time to market?       So one

11:14:42 19    thing is it's kind of obvious, you have to meet the

11:14:46 20    customer's requirements and have a competitive price.

11:14:48 21    That's common to any business.       Right?   If you don't meet

11:14:51 22    his requirements, you're not going to sell him product and

11:14:54 23    if your price is too high, you're not going to sell him

11:14:58 24    product.    That's kind of obvious.

11:14:59 25                  The next one is maybe not as obvious, your
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11:15:03   1   choice of what you pick for materials, equipment and

11:15:06   2   fabrication suppliers.    If you pick something that's very

11:15:10   3   exotic, silicone carbide, we heard of wafers made out of

11:15:13   4   silicone carbide instead of silicone, that's going to take a

11:15:17   5   long time because it's not a well-established supply base.

11:15:21   6   Or if you have a new process that's early in the industry

11:15:24   7   like trimming, back in the early 2000s there wasn't a lot of

11:15:27   8   equipment suppliers at that time, it takes a long time.        You

11:15:30   9   heard Dr. Aigner talk about it took us a long time to get

11:15:34 10    our first mobile win.    They're throwing on numbers like ten

11:15:38 11    years, fifteen years.    The problem was some of the supply

11:15:41 12    base wasn't very mature.    It takes longer, absolutely that's

11:15:46 13    true.

11:15:46 14                 Once it's in production, you have suppliers, the

11:15:49 15    follow-on competitors very legally so you can use the same

11:15:53 16    suppliers and they get theirs faster, that's just the nature

11:15:55 17    of our business.   That's the way it works.

11:15:57 18                 And manufacturing cycle time, this once again

11:15:59 19    may not be obvious to you.    When you do the manufacturing

11:16:03 20    flow that I showed before, how fast you get through that is

11:16:07 21    very important.    So, for example, you know, we heard about

11:16:11 22    designing these filters and all that, yes, we use design

11:16:14 23    tools and we -- and we do simulations to predict what

11:16:18 24    they're going to do and that's all good, but it's not that

11:16:22 25    good.   We do a lot of testing.    We'll build, you know,
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11:16:25   1   multiple resonator shapes, run it through the factory, test

11:16:29   2   and characterize all those, and start to develop a library,

11:16:33   3   then they take those resonator libraries and start to put

11:16:36   4   those together as filters, run those through the factory

11:16:40   5   test, tweak the design, run it through again, tweak the

11:16:43   6   design, so you got to do multiple cycles.        Early on in a

11:16:47   7   technology it might be like ten cycles through that to

11:16:50   8   finally get it right.      And sometimes a customer changes the

11:16:53   9   specs a little bit because he found some interactions, and

11:16:56 10    now you got to do it again.      This cycle time is very

11:17:00 11    important to get to market fast.

11:17:02 12    Q.     Dr. Darveaux, we have been hearing testimony about

11:17:04 13    front end and back end.      What's the difference and what are

11:17:07 14    the -- what are the fab flows and the packaging and testing

11:17:12 15    flows for each of those?

11:17:14 16    A.     Yes.    So front end -- people in our industry talk

11:17:16 17    about front end, you guys saw the example of that wafer,

11:17:20 18    that's the front end.      So all the steps to make the wafer.

11:17:23 19    Then the back end is that is shipped to a different factory,

11:17:27 20    might be in Asia, where they dice that into pieces and do

11:17:31 21    all these packaging steps to make a component that looks

11:17:34 22    like a black spot.     It's covered, it's connected, it has

11:17:39 23    connections that can be mounted on a thing.        So that's what

11:17:42 24    we would call the back end in our industry.

11:17:45 25    Q.     And what's the difference in the number of steps
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11:17:49   1   between the front end and back end?

11:17:52   2   A.     Did we lose that slide?

11:17:54   3   Q.     I'm asking you.

11:17:56   4   A.     A lot.   So front end flow might be like a couple

11:18:01   5   hundred steps, literally 200 steps that you're doing all

11:18:04   6   these processes.   Then you got the wafer that you guys saw,

11:18:08   7   then that gets sent to the back end and that might be twenty

11:18:12   8   or thirty steps that they have to do.      All those steps have

11:18:14   9   piece of equipment and actual, you know, "process recipes"

11:18:20 10    so each equipment has its own recipe.      They have been

11:18:23 11    talking about recipes to make something.      There is literally

11:18:26 12    dozens of recipes for each device that you make, each

11:18:31 13    equipment has its own recipe.

11:18:32 14                So it's -- that's honestly, you know, barring

11:18:37 15    the legal definition, those things are really kind of the

11:18:40 16    trade secrets in our business, those things you don't share

11:18:43 17    in an audit, the recipes on the equipment itself that you're

11:18:46 18    using to make that stuff is not typically shared.       So -- but

11:18:50 19    there is a lot of steps.

11:18:53 20    Q.     Next slide, please.

11:19:45 21                MS. SMITH:     Your Honor, may I approach the

11:19:47 22    witness?

11:19:48 23                THE COURT:     You may.

11:19:57 24    BY MS. SMITH:

11:20:09 25    Q.     Next slide, please.
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11:20:12   1                  Dr. Darveaux, I just handed you DTX 932 and DTX

11:20:23   2   134.   Did you review these two documents in preparing your

11:20:26   3   report?

11:20:52   4   A.        Yes, I did.

11:20:55   5                  MS. SMITH:   Your Honor, I offer DTX 932 and DTX

11:21:00   6   134 into evidence.

11:21:03   7                  THE COURT:   Without objection it's marked and

11:21:05   8   received and we'll be at 341.

11:21:11   9                  COURT CLERK:   343.

11:21:13 10                   THE COURT:   343.   Okay.    I have a question

11:21:16 11    there, 344.

11:21:29 12                   I'll tell you what, it will be the next

11:21:31 13    sequentially numbered exhibits and I think they'll be 340

11:21:35 14    and 341.

11:21:37 15                   (Trial Exhibit Nos. 340 and 341 were admitted

11:21:38 16    into evidence.)

11:21:38 17                   MS. SMITH:   Just to be clear, Your Honor, DTX

11:21:42 18    932 is going to be 340 and DTX 134 is going to be Trial

11:21:48 19    Exhibit 341, is that right?

11:21:49 20                   THE COURT:   Yes.   Marked and received.

11:21:56 21    BY MS. SMITH:

11:21:56 22    Q.        Can I have DTX 932, please?      Page 2, please.

11:22:06 23                   Dr. Darveaux, what is this document?

11:22:08 24    A.        It's a press release.

11:22:12 25    Q.        What's the date on this?
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11:22:15   1   A.     Looks like August 16, 2017.

11:22:19   2   Q.     And what product is this article about?

11:22:21   3   A.     It's Akoustis, they shipped their first prototypes at

11:22:27   4   3.5-gigahertz, looks like to a customer, I guess.        Mobile

11:22:36   5   OEM customer.

11:22:40   6   Q.     And what kind of product was it?

11:22:42   7   A.     BAW filter.

11:22:44   8   Q.     All right.    Let's take a look at DDX 3.22.      Did you

11:23:03   9   make this slide?

11:23:04 10    A.     I did.

11:23:05 11    Q.     Okay.    What's this slide about?

11:23:07 12    A.     So this, again, a big part of this case is about time

11:23:11 13    to market.   So I tried to at least record what I understood

11:23:14 14    as Akoustis's time to market.      So they were incorporated in

11:23:19 15    May of 2014.    Basically within a few months they started

11:23:24 16    hiring engineering staff.     So they hired engineering staff

11:23:28 17    from 2014 on.    And then in June of 2017, they acquired the

11:23:36 18    MEMS, STC MEMS, the New York Fab you heard about.        That

11:23:40 19    happened in that time frame.

11:23:41 20                   Then you have this press release we just saw

11:23:44 21    where they shipped the first prototype in August of 17.         And

11:23:48 22    then I looked at Ms. Bennis' expert report, and it showed

11:23:56 23    really the first product revenue was in fiscal '19, and then

11:24:03 24    from, you know, from the testimony, my understanding was it

11:24:07 25    was more like 2019, fiscal '19 runs mid -- June of '18
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11:24:13   1   through June of '19, so around 2019 they started to get some

11:24:17   2   product revenue.   This means they're shipping some kind of

11:24:20   3   low volume production to customers, that's when you start to

11:24:23   4   record product revenue.

11:24:25   5               So, you know, rough numbers it was about a

11:24:29   6   five-year time to market from incorporation, but it includes

11:24:33   7   these kind of things that happen along the way, adding

11:24:36   8   resources, doing work, typical project.

11:24:42   9   Q.     Can we go back to DTX 932, please, and I would like

11:24:47 10    to take a look at page 3.    In the second to last paragraph

11:24:53 11    there, can you focus in?

11:24:55 12                This says they quoted Mr. Shealy.       He's quoted

11:25:02 13    as saying, "The pass band frequency above 3.5-gigahertz is

11:25:07 14    also synergistic with our ongoing filter development for our

11:25:12 15    high growth markets including 5G mobile, 5-gigahertz Wi-Fi

11:25:16 16    router, and CBRS where BAW filters are expected to be

11:25:21 17    unrivaled in performance and size."

11:25:22 18                What does that tell you?

11:25:24 19    A.     So essentially, when you start to work on a new

11:25:27 20    technology, you have to put people in place, design tools,

11:25:31 21    start establishing design rules, you got to have that supply

11:25:34 22    chain flow that I showed you, you have to have your

11:25:39 23    developing processes and recipes for making things.       So you

11:25:43 24    know, ninety-nine percent of that probably applies from one

11:25:46 25    band to the next, there may be some changes, some tweaks
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11:25:49   1   that you have to do to the next higher frequency band, but

11:25:53   2   you know, almost all of what you did applies.           So it's

11:25:57   3   synergistic, I guess that's the word he used, I think.            You

11:26:02   4   know, you're not like starting from scratch every time you

11:26:04   5   do a new band, you're using what you have and you modify

11:26:08   6   what you need to achieve the next milestone, the next

11:26:13   7   frequency band.

11:26:14   8   Q.       Can you pull up DTX 134, please.

11:26:18   9                    Dr. Darveaux, do you recognize this document?

11:26:22 10    A.       I do.

11:26:23 11    Q.       Did you review it as part of your preparation for

11:26:26 12    your opinions?

11:26:27 13    A.       Yes.

11:26:29 14    Q.       Okay.    May I have page 46?     All right.

11:26:35 15                     What is this, what's shown?

11:26:36 16    A.       So this was the Qorvo's internal road map.         And you

11:26:42 17    know, what you can see here is their own expectations, it

11:26:47 18    takes about two to three years to bring like the new

11:26:51 19    technology to market.

11:26:52 20                     All right.   So they had 5-gigahertz BAW,

11:26:56 21    roughly, you know, two years to do the development and about

11:26:58 22    a year to roll out the production.         So, you know, three

11:27:03 23    years.   And they're doing multiple programs simultaneously,

11:27:07 24    which is often what you do, you're not just working on one

11:27:10 25    thing, you're staggering things and because there is delays
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11:27:13   1   -- like if you design something, you got to wait for it to

11:27:16   2   get fabricated and get test results, you're not sitting

11:27:20   3   around waiting, you're doing some other program at the same

11:27:23   4   time.   That's what it shows, their expectations was a

11:27:26   5   three-year time to market when they started a new projects.

11:27:29   6   Q.      So based on your experience, what is the typical time

11:27:32   7   to market in the electronics industry?

11:27:35   8   A.      So, again, depending on, you know, the magnitude of

11:27:39   9   the change, it's on the order of one to four years if you do

11:27:43 10    things right.     Right?   It can be a lot longer if you don't

11:27:46 11    make the right decisions, but typically if you're using

11:27:51 12    known suppliers, known materials, and providing your

11:27:56 13    innovation, but you're not going too far off the reservation

11:28:01 14    on what you pick, you can do it in, you know, one to

11:28:05 15    four years.

11:28:05 16    Q.      Do you agree with Dr. Shanfield that Akoustis gained

11:28:08 17    a head-start advantage of 55 months based on having access

11:28:13 18    to Qorvo's documents?

11:28:14 19    A.      No.

11:28:14 20    Q.      Why not?

11:28:16 21    A.      Well, I mean, in my report I did it two ways, I kind

11:28:20 22    of did a bottoms up look where I looked at each specific

11:28:24 23    thing, but even from a tops down gut feel, or sanity check,

11:28:29 24    if you add 55 months, which is four-and-a-half years on to

11:28:34 25    five years, that's like nine-and-a-half years, it's just not
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11:28:38   1   even realistic that it would take somebody that long if

11:28:42   2   they're making reasonable choices and re-sourcing their

11:28:46   3   company.

11:28:48   4   Q.     All right.     So Dr. Darveaux, we went through the

11:28:51   5   background section, we talked about the industry, we talked

11:28:54   6   about supply chain and time to market.        And we're about to

11:29:00   7   dive in the actual documents that Dr. Shanfield had analyzed

11:29:04   8   as part of his opinions.

11:29:07   9                  Before we do that, though, I just wanted to make

11:29:12 10    sure, so you reviewed -- you have been here since the

11:29:16 11    beginning of trial; is that right?

11:29:19 12    A.     Yes.

11:29:20 13    Q.     Did you watch Dr. Shanfield's testimony?

11:29:22 14    A.     I did.

11:29:23 15    Q.     Were you here, also, for Dr. Fattinger?

11:29:26 16    A.     Yes.

11:29:27 17    Q.     And how about Dr. Aigner?

11:29:28 18    A.     Yes.

11:29:29 19    Q.     And Mr. Testa?

11:29:30 20    A.     Yes.

11:29:31 21    Q.     Okay.    The documents that they all spoke of, you

11:29:36 22    reviewed them for your expert opinion?

11:29:41 23    A.     I think so.     I mean, we have to see which documents

11:29:44 24    you're talking about, but I believe so, yeah.

11:29:47 25    Q.     So before we actually get into the details, what is
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11:29:52   1   -- speaking from an industry expert, what is your impression

11:29:59   2   of the quality and type of documents that you have seen in

11:30:04   3   this case?

11:30:04   4   A.     Okay.    So there is -- all right, there is kind of two

11:30:10   5   general types of documents that we have seen.        We've seen

11:30:14   6   PowerPoint presentations, you know, they had technical

11:30:17   7   information on them, but basically it was a meeting, you

11:30:20   8   know, the PowerPoint presentation that you would show slides

11:30:23   9   at a meeting and the purpose of that is for discussion, it's

11:30:27 10    not -- it doesn't have nearly enough detail to actually

11:30:30 11    enable you to design or build something, it's just for the

11:30:34 12    people in the meeting to talk about, some of the documents

11:30:36 13    are kind of in that category.

11:30:38 14                   And then some of the documents are more quality,

11:30:43 15    I would call quality or you heard the term administrative

11:30:46 16    documents, they'll describe the process used in a company,

11:30:49 17    it's documenting, you know, what they do.       And those are

11:30:54 18    pretty generic and as I mentioned about auditing, those are

11:30:59 19    pretty similar between companies.

11:31:00 20                   Some of the details in there, like in an

11:31:03 21    inspection document, the actual pictures of the defects,

11:31:06 22    that would be specific to a factory where it's built.         But

11:31:10 23    the format and kind of the -- the basic stuff is pretty

11:31:15 24    common, very common, actually.      So those are kind of the two

11:31:20 25    main types of documents that I have seen that I have looked
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                                         #: 41705                              2056
                                         Darveaux - direct

11:31:24   1   at and also been showing you during this trial.

11:31:28   2   Q.       So let's start talking about the documents

11:31:33   3   themselves.     I would like to ask you about group 3 first.

11:31:40   4   Can I have PDX 6.48?

11:31:50   5                  Okay.   PDX 6.49.     Dr. Darveaux, here is

11:32:05   6   Dr. Shanfield's demonstrative in which he listed the trade

11:32:08   7   secrets that were for this group, Group 3.         Did you consider

11:32:11   8   each of the alleged trade secrets in Group 3?

11:32:14   9   A.       I did.

11:32:15 10    Q.       Next slide, please.

11:32:22 11                   Dr. Shanfield also testified that pages 16

11:32:25 12    through 18 of PTX 1141 shown on this demonstrative contains

11:32:31 13    trade secrets.      Do you agree?

11:32:32 14    A.       No.

11:32:34 15    Q.       Let's move on to PDX 6.51.

11:32:41 16                   THE COURT:    You need to use the document number,

11:32:45 17    exhibit number if we can.

11:32:47 18                   MS. SMITH:    Okay.   I will.   Thank you, Your

11:32:49 19    Honor.

11:32:49 20    BY MS. SMITH:

11:32:50 21    Q.       So let's start talking about trade secret 3.1.         Shown

11:32:56 22    here is Trial Exhibit 11, PTX 1141, page 16.          Do you agree

11:33:05 23    with Dr. Shanfield that page 16 contains a trade secret?

11:33:09 24    A.       No.

11:33:10 25    Q.       Why not?
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                                       Darveaux - direct

11:33:11   1   A.       Okay.    So this document is again a PowerPoint slide

11:33:18   2   showing the concept, I think even, I believe it was Aigner

11:33:22   3   referred to it as a training document.       So it's showing the

11:33:25   4   concepts to people who don't know about the concepts yet.

11:33:29   5   But basically it shows the algorithm they want to do call it

11:33:32   6   of how to do the trimming operation.

11:33:34   7                    So trimming is you're removing material, the

11:33:40   8   thickness of a layer in this case silicone nitride, to

11:33:44   9   change the frequency of the filter.      That's what trimming

11:33:48 10    is.   So that in itself is not a trade secret.       That's been

11:33:52 11    done by SAW filters and BAW filters for a couple of decades,

11:33:56 12    you know, before this whole thing was going on.        Certainly a

11:33:59 13    decade and a half.      Okay.   So that's not new.

11:34:02 14                     What's shown in this device is their method of,

11:34:05 15    they probe the device before the deposition of this nitride

11:34:08 16    layer.   They probe the device after the deposition of the

11:34:12 17    silicon nitride layer.

11:34:16 18

11:34:19 19


11:34:22 20


11:34:25 21


11:34:29 22

11:34:32 23


11:34:36 24


11:34:39 25
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                                        #: 41707                              2058
                                        Darveaux - direct

11:34:41   1

11:34:45   2

11:34:48   3

11:34:52   4                                                      When you remove

11:34:55   5   material, you're removing mass so that shifts the frequency

11:34:59   6   higher.

11:34:59   7                  Then they calculate what they're calling a

11:35:01   8   sensitivity factor which is

11:35:05   9

11:35:09 10                                                            that's not

11:35:11 11    a trade secret, that's actually what the process is meant to

11:35:14 12    do.

11:35:16 13    Q.        May I have DDX 3.41, please.

11:35:21 14                   Did you create this slide?

11:35:23 15    A.        I did.

11:35:24 16    Q.        Regarding the document shown to the right of this

11:35:27 17    slide, which is DTX 034 at page 145, who is listed as the

11:35:36 18    author?

11:35:36 19    A.        So the right, that came from a document,

11:35:41 20    Dr. Fattinger, I think it was like an internal lunch and

11:35:44 21    learn presentation in 2008 at TriQuint, he prepared these

11:35:48 22    slides to educate his fellow workers on many things, one of

11:35:52 23    them was trimming.     And what you can see is the steps shown

11:35:58 24    there, and this became public in 2011 after there was a

11:36:02 25    court case at that time.
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                                      Darveaux - direct

11:36:03   1               What you can see there just basically, it's

11:36:06   2   showing what's in the slide to the left and we put some

11:36:09   3   boxes around a couple of these items.      First is we probe the

11:36:14   4   device to get a frequency map before the deposition, so

11:36:17   5   that's like the box, exactly what the box is doing on the

11:36:20   6   upper left-hand corner, the red box that's around a yellow

11:36:24   7   box.

11:36:24   8               And then you probe again after silicone nitride

11:36:30   9   deposition, that's the box in the upper right corner of the

11:36:33 10    slide to the left.   And then you use that information

11:36:35 11    eventually and you're going to calculate

11:36:40 12    which is the lower green, which is the sensitivity of each

11:36:45 13    site on the device and the desired thickness profile.        So

11:36:51 14    you're trying to calculate, you know, I know a thickness,

11:36:54 15    what's a thickness I'm trying to get to.      And it's a map

11:36:58 16    because it's not the same for the whole device, some areas

11:37:01 17    are thicker and thinner due to the manufacturing process.

11:37:04 18                Now in the case of Qorvo,

11:37:07 19                                                             In the

11:37:11 20    case of Akoustis, they don't, they just kind -- they

11:37:14 21                                                        do their

11:37:17 22    process that way, but these guys, according to this slide,

11:37:21 23    anyway,

11:37:25 24                                 .   Either way, it was known and

11:37:28 25    published as you can see.
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                                       Darveaux - direct

11:37:31   1   Q.     So is measuring the sensitivity

11:37:34   2                                               a trade secret?

11:37:39   3   A.     I don't believe its a trade secret given it was

11:37:42   4   published.

11:37:44   5   Q.     Can I have slide 3.43, please.

11:37:49   6                  What is shown here?

11:37:54   7   A.     Okay.    So again, one of the questions in this case is

11:37:59   8   did Akoustis use any of this information, right, that's

11:38:02   9   important, you look at the documents, did they actually use

11:38:05 10    it, or could they have used it.      What we're showing here is

11:38:09 11    they really could not have used this method given their

11:38:12 12    process flow is different than what Qorvo does.

11:38:15 13                   So this method that's shown in the slide on the

11:38:18 14    left requires you probe the device before silicone nitride

11:38:23 15    deposition, that means it has to be a functioning device,

11:38:26 16    you can't probe it if it's not functioning, that's the

11:38:29 17    point, you're getting these curves, right.       So then you

11:38:33 18    probe afterwards.

11:38:34 19                   In the case of Akoustis, they cannot do that

11:38:37 20    because the nitride is already on the top surface, I have

11:38:40 21    shown an arrow, if you look at the figure on the right, we

11:38:44 22    got an arrow, SiN layer, there is like a thin blue layer,

11:38:49 23    that's the nitride layer, it's already on that surface and

11:38:52 24    it's not a functioning device yet because we still have that

11:38:55 25    sacrificial layer down below, so you cannot probe it at this
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11:38:59   1   point.   So you can't probe it before nitride deposition in

11:39:04   2   their particular process flow, at least not in a practical

11:39:08   3   way, it would be -- it would add so many more steps, it's

11:39:12   4   not practical to do it that way, so they don't do it that

11:39:15   5   way.

11:39:16   6   Q.       Slide 3.44, please.

11:39:18   7                    What is shown here?

11:39:21   8   A.       Okay.    So this is again, it's like a PowerPoint

11:39:26   9   summary of roughly their process.       They have many trim

11:39:30 10    steps, initial trim, bandwidth adjustment, et cetera, so

11:39:33 11    there are multiple times you go through this trim process to

11:39:37 12    get the frequency just right, the profile just right.         But

11:39:40 13    they don't use Qorvo's method

11:39:47 14


11:39:49 15

11:39:52 16


11:39:55 17

11:39:59 18                                 .

11:40:01 19    Q.       All right.    Can I have PDX 6.51, please?

11:40:09 20                     We talked about 3.1.   Let's see the next slide,

11:40:15 21    6.52.

11:40:17 22                     Here is Dr. Shanfield's demonstrative regarding

11:40:22 23    trade secret 3.2.      Do you agree with Dr. Shanfield that

11:40:26 24    page 17 of PTX 1141, which is trial Exhibit 11 shown here,

11:40:32 25    contains a trade secret?
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                                        #: 41711                              2062
                                        Darveaux - direct

11:40:33   1   A.      No.

11:40:34   2   Q.      Why not?

11:40:35   3   A.      Well, so what's shown in this slide is if you have a

11:40:41   4   target, you're trying to hit and you have a current measured

11:40:45   5   frequency, you want to trim enough to meet that target.

11:40:50   6   That is the purpose of trimming.       It's hard to imagine why

11:40:53   7   that would be a trade secret.       That's what you're doing,

11:40:56   8   that's the reason you're doing it.

11:40:58   9   Q.      All right.    May I have the next slide, please, PDX

11:41:03 10    6.53.

11:41:04 11                  Here is Dr. Shanfield demonstrative regarding

11:41:11 12    trade secret 3.3.     Do you agree with Dr. Shanfield that

11:41:14 13    page 18 of PTX 1141, which is Trial Exhibit 11, shown here,

11:41:20 14    contains a trade secret?

11:41:22 15    A.      No.

11:41:23 16    Q.      Why not?

11:41:24 17    A.      Well, this is just -- this is another example.

11:41:27 18

11:41:30 19


11:41:34 20


11:41:37 21


11:41:41 22

11:41:44 23


11:41:48 24


11:41:52 25
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                                        #: 41712                              2063
                                        Darveaux - direct

11:41:54   1

11:41:58   2

11:42:02   3

11:42:06   4

11:42:09   5                                            not a trade secret.

11:42:13   6   Q.     So there are a few pages shown here in

11:42:19   7   Dr. Shanfield's demonstrative, PTX 1141.        Did you review

11:42:26   8   that document in its entirety?

11:42:28   9   A.     Yes.

11:42:29 10    Q.     Okay.    Does the document contain any information that

11:42:31 11    is a trade secret?

11:42:32 12    A.     No.

11:42:36 13    Q.     So now we just went through all of the alleged trade

11:42:40 14    secrets in Group 3.     What is your opinion regarding where

11:42:42 15    entry of them are trade secrets?

11:42:44 16    A.     They are not.

11:42:46 17    Q.     How much time to market head-start did Akoustis

11:42:49 18    achieve by having these documents?

11:42:52 19    A.     They got no -- they got no head-start.

11:42:56 20    Q.     Okay.    So let's switch gears a little bit.       Assuming

11:43:01 21    that the information in these documents in Group 3 are trade

11:43:06 22    secrets, did you calculate avoided costs?

11:43:09 23    A.     Yes, I did.

11:43:11 24    Q.     Okay.    May I have DDX 3.48, please?

11:43:18 25                   So is this one of the calculations that you did?
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11:43:21   1   A.     Yes.    So for each document that contained trade

11:43:27   2   secrets, this is the first one, we'll go through other ones,

11:43:30   3   but what I did was if you see the engineering task at the

11:43:34   4   bottom, I tried to explain what -- you know, assuming it was

11:43:39   5   a trade secret, you have to assume that for the purpose of

11:43:42   6   this calculation, you know, what was the task that was made

11:43:46   7   easier or reduced by, you know, for Akoustis because they

11:43:51   8   had access to these three PowerPoint slides, essentially.

11:43:54   9                 So, you know, search, download, review technical

11:43:59 10    publications, and I found a few that I list here, make a

11:44:03 11    presentation slide for technical discussion, that's what

11:44:05 12    they did internally, right, they made slides, they talked

11:44:09 13    about them.    But in the end the final solutions were

11:44:12 14    different than Qorvo's because of what I just explained.          So

11:44:16 15    I did give them credit for let's say one -- I found an

11:44:20 16    Akoustis document that kind of reassembled those PowerPoint

11:44:24 17    slides, and one of the page seemed to resemble it, so I

11:44:29 18    tried to standardize for any given document.         I said in

11:44:33 19    engineering hours it takes about two hours to make that,

11:44:36 20    sometimes it's a lot less, but that's what I used, tried to

11:44:40 21    be consistent with my analysis.

11:44:42 22                  And then to search and find something on line

11:44:44 23    and read it and understand it, again, that was roughly two

11:44:47 24    hours, that's kind of what it took me, sometimes it was

11:44:50 25    less, but that's what I used as a standard for my analysis,
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24 Page 1743 of 2283 PageID
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                                         Darveaux - direct

11:44:53   1   and if it was a document you had to pay for, sometimes you

11:44:57   2   have to pay for them, it was $33.00, that's what it cost me

11:45:01   3   to download the document.

11:45:02   4                  I added all that up and if this was a trade

11:45:06   5   secret this is how much actual value these three PowerPoint

11:45:10   6   slides were to Akoustis, it turns out to be eight

11:45:15   7   engineering hours at $33.

11:45:22   8   Q.       So that completes the discussion on Group 3.        Let's

11:45:25   9   move to Group 2, one of the slides on trade secrets.           May I

11:45:31 10    have PDX 6.28, please?

11:45:36 11                   So here is Dr. Shanfield's demonstrative listing

11:45:39 12    the alleged trade secret groups -- trade secrets in Group 2.

11:45:43 13    Did you consider each of the alleged trade secrets in this

11:45:47 14    group?

11:45:47 15    A.       I did.

11:45:48 16    Q.       Let's start with trade secret 2.1.       May I have PDX

11:45:57 17    6.29, please.

11:45:59 18                   Let's go with 6.30.     Here is Dr. Shanfield's

11:46:09 19    demonstrative regarding trade secret 2.1.         Do you agree that

11:46:13 20    Dr. Shanfield -- with Dr. Shanfield that page 4 of PTX 78,

11:46:19 21    which is Trial Exhibit, shown here, contains a trade secret?

11:46:23 22    A.       No.

11:46:24 23    Q.       Why not?

11:46:25 24    A.       Well, this is tests that electrical results by Qorvo

11:46:32 25    that they used in a meeting, so this is a PowerPoint slide
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                                        #: 41715                              2066
                                        Darveaux - direct

11:46:35   1   of some results that they got.       The actual trade secret is

11:46:39   2   research into the relationship between resonator shape and

11:46:42   3   performance.       Obviously on this slide, you don't see any

11:46:46   4   resonator shapes.      If you go back one slide in the

11:46:49   5   presentation, you'll see the two shapes that they tested.

11:46:53   6   But you know, they're not -- the shapes are not trade

11:46:58   7   secret.

11:46:58   8                  The methodology of testing is known to people

11:47:01   9   that are in this business, either SAW filters or BAW filters

11:47:06 10    or really any kind of RF component, potentially could know

11:47:11 11    elements of this testing, but certainly anybody in those two

11:47:14 12    businesses would know how to do this.        And it doesn't tell

11:47:18 13    you how to do that here anyway.       It talks about

11:47:22 14


11:47:26 15

11:47:30 16


11:47:35 17

11:47:38 18

11:47:41 19


11:47:43 20    Q.        Can I have PTX 78, please.    This is the cover page

11:47:55 21    for PTX 78.    It's titled 5G 9 Polygons versus Rectangle.

11:48:01 22    Did you review this document in forming your opinion?

11:48:04 23    A.        I did.

11:48:07 24    Q.        May I see page 3, please.

11:48:11 25                   So what is shown here?
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                                        #: 41716                              2067
                                        Darveaux - direct

11:48:13   1   A.        So this is what I mentioned, the slide before the one

11:48:16   2   that their claimed trade secret was.           These are the two

11:48:20   3   shapes.    The one on the left, the gray, that's like a

11:48:24   4

11:48:28   5

11:48:31   6   Those are the two shapes.         And then

11:48:37   7

11:48:41   8                                        .     Again, there is no detail

11:48:44   9   in this document.         It's just for a discussion purpose in a

11:48:47 10    meeting.

11:48:48 11                      I couldn't actually make that stuff.

11:48:50 12


11:48:53 13                                                                       you

11:48:58 14    know what I mean?         This doesn't allow you to make anything,

11:49:01 15    it shows you basically this is what we did.           And the purpose

11:49:04 16    is they had a meeting and they discussed it and the next

11:49:06 17    page had the data that was from those two shapes.

11:49:10 18    Q.        Let's go to the next page, please.

11:49:12 19                      So this is the data that you were talking about?

11:49:14 20    A.        Yeah.    Yep.

11:49:16 21    Q.        Okay.    All right.

11:49:37 22                      MS. SMITH:    Your Honor, may I approach the

11:49:39 23    witness?

11:49:39 24                      THE COURT:    You may.

11:49:57 25    BY MS. SMITH:
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                                      Darveaux - direct

11:50:06   1   Q.     Dr. Darveaux, I just handed to you JTX 9 and JTX 12.

11:50:15   2   Do you recognize these two documents?

11:50:17   3   A.     I do.

11:50:18   4   Q.     Did you consider them in forming your opinion?

11:50:22   5   A.     I did.

11:50:24   6                  MS. SMITH:   Your Honor, I offer JTX 9 and JTX 12

11:50:29   7   into evidence.

11:50:31   8                  THE COURT:   Marked and received as 342 and 343.

11:50:37   9                  (Trial Exhibit Nos. 342 and 343 were admitted

11:50:39 10    into evidence.)

11:50:39 11    BY MS. SMITH:

11:50:40 12    Q.     May I have JTX 9.     Thank you.

11:50:42 13                   Dr. Darveaux, what is this document?

11:50:45 14    A.     So this is a technical paper written by

11:50:51 15    Dr. Fattinger, BAW resonator design considerations and

11:50:54 16    overviews, so it's kind of like an overview paper, published

11:50:58 17    in 2008, so quite some time ago in IEEE, so obviously

11:51:04 18    whatever is in here is not trade secret, right, they publish

11:51:08 19    it.

11:51:08 20    Q.     All right.      Can you scroll to page 4 and 5, please.

11:51:14 21    I would like to see the paragraph that spans page 4 and 5.

11:51:23 22                   Okay.   Dr. Darveaux, what does this language

11:51:29 23    mean from the article?

11:51:30 24    A.     Okay.     So the slides we just showed talk about

11:51:35 25    spurious noise and how you suppress that or at least
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                                      #: 41718                              2069
                                      Darveaux - direct

11:51:38   1   mitigate it.    And this is talking about methods to do that

11:51:42   2   is one of the topics of this paper.     And it states change

11:51:46   3   the shape of the electrode, that's a method to mitigate

11:51:51   4   spurious noise.    And further it references another paper, I

11:51:55   5   don't see that here, but --

11:51:58   6   Q.     It's at the very end, it's reference number 11.        Can

11:52:02   7   we see that?

11:52:11   8   A.     Ten, it's ten?

11:52:18   9                  So it references a paper by Link, back in 2006,

11:52:22 10    so again a couple of years area earlier, talking about the

11:52:26 11    same issue appropriate methods to suppress spurious FBAR

11:52:31 12    modes in volume production.

11:52:33 13    Q.     So can you take a look at JTX 12, which is what I

11:52:37 14    just handed to you, and that's Trial Exhibit 343.

11:52:50 15                   Could we have JTX 12, please.   Thank you.

11:52:54 16                   All right.   Dr. Darveaux, what is this document?

11:52:59 17    A.     This is a paper by Link that we just talked about,

11:53:03 18    appropriate methods to suppress spurious FBAR modes in

11:53:08 19    volume production, it was published 2006 in the IEEE

11:53:13 20    publication.

11:53:16 21    Q.     Could you please scroll down to page 3?       And focus in

11:53:23 22    on Figure 6, please.

11:53:26 23                   What does this figure show, Dr. Darveaux?

11:53:29 24    A.     Yeah.    So in this publication, as we talked about,

11:53:33 25    they're interested in the shapes and you know they use this
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                                          #: 41719                              2070
                                          Darveaux - direct

11:53:36   1   term apodization, so that's referring to the shape of the

11:53:40   2   resonator, they did three shapes, they did square, circle,

11:53:44   3   five sided polygon, and then they measured the response,

11:53:47   4   they built samples, they measured the response and looked

11:53:51   5   for the spurious noise.

11:53:56   6   Q.        Can I have PTX 0078, please and I would like to see

11:54:05   7   page 3.    What shape are Akoustis's resonators?

11:54:12   8   A.        Well, so what we've seen in the teardowns were

11:54:17   9   elliptical or cut elliptical shapes as you saw from Daeho

11:54:22 10    yesterday, they also have a library of other shapes, there

11:54:25 11    are different shapes they may use, but the ones we have seen

11:54:28 12    have been elliptical.

11:54:32 13    Q.        Are you aware of any information in PTX 78 that is a

11:54:40 14    trade secret?

11:54:41 15    A.        No.

11:54:45 16    Q.        Did Akoustis achieve any head-start by having this

11:54:48 17    information?

11:54:49 18    A.        No.

11:54:50 19    Q.        Are you aware of any evidence that Akoustis actually

11:54:53 20    used this information?

11:54:54 21    A.        No.

11:54:59 22    Q.        So may I see DDX 3.26, please.

11:55:09 23                      So does that look correct to you in this flow

11:55:15 24    chart here?

11:55:16 25    A.        Yeah.    So for 2.1, it shows the name of that trade
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                                        #: 41720                              2071
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11:55:21   1   secret, my opinion is no trade secret, no head-start.

11:55:27   2   Q.      So let's move on to trade secret 2.2 to 2.7.        May I

11:55:33   3   have PDX 6.30, please -- 6.31.       Here is Dr. Shanfield's

11:55:45   4   demonstrative regarding alleged trade secrets 2.2

11:55:49   5   through 2.7.    Do you agree with Dr. Shanfield that pages 11,

11:55:53   6   14, 19, of PTX 149, which is Trial Exhibit 9 shown here

11:56:02   7   contain trade secrets?

11:56:03   8   A.      No.    I don't agree.

11:56:06   9   Q.      Why not?

11:56:07 10    A.      Well, we can talk about each one individually.

11:56:12 11    Q.      We can talk about each one individually.

11:56:14 12    A.      The one on the left is a tile, so I think that's

11:56:19 13    referring -- I'm sorry, trade secret, which one it was, 2.5,

11:56:25 14    tile information.     Look at that one.    Okay.   So that's a

11:56:32 15    tile.

11:56:32 16                   So what that means is when you do the wafer

11:56:34 17    fabrication, you have a tool that has artwork we call it or

11:56:41 18    mask, actually it's a bunch of multiple masks, so that's

11:56:45 19    repeated around the wafer.

11:56:46 20                   So you saw that wafer, basically to fabricate

11:56:49 21    that you got a mask that's step and repeated, we call that a

11:56:53 22    stepper to make these images through photoresist that wafer.

11:56:57 23    There are actually multiple masks, there is not one, each

11:57:01 24    layer has a mask so there would be many, many masks in

11:57:04 25    making a wafer.     So this is an image of what's in that tile
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 1750 of 2283 PageID
                                       #: 41721                              2072
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11:57:07   1   or that stepper or a portion of a stepper image.        And it's

11:57:12   2   got all those masks kind of collapsed into one.        You cannot

11:57:16   3   make anything from that image, you can just see it and talk

11:57:19   4   about it.    Right?

11:57:19   5                  This is a PowerPoint slide for a meeting.        You

11:57:23   6   can see like along that left column of that tile, those are

11:57:26   7   filters and there might be variants in that, as I mentioned,

11:57:31   8

11:57:35   9                Some of those other things that don't look like

11:57:38 10    filters, those are PCMs, process control monitors, those are

11:57:43 11    things that you probe to get information that relates back

11:57:46 12    to the process of which you made it.

11:57:48 13                   Every fab in the world has process control

11:57:52 14    monitors embedded in their design so they can control their

11:57:55 15    process.    That's not a trade secret.    In fact, you can't

11:57:58 16    even make out what these are from this image, I challenge

11:58:01 17    anybody to explain to me what that is.

11:58:05 18    Q.     So slide 9, not a trade secret?

11:58:08 19    A.     Not a trade secret.

11:58:09 20    Q.     Did it give Akoustis any head-start?

11:58:13 21    A.     No.

11:58:15 22    Q.     Did Akoustis use this as far as you know?

11:58:18 23    A.     I saw no evidence of use.

11:58:20 24    Q.     Okay.    Let's go to the document itself.      Can I have

11:58:26 25    PTX 149, please?      And that's Trial Exhibit 9.    Slide 3.
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                                       #: 41722                              2073
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11:58:39   1                This is for trade secret 2.2.      Dr. Shanfield

11:58:43   2   testified that the information on slide three shown here

11:58:46   3   describes trade secret 2.2.     Do you agree?    I'm sorry, I

11:58:53   4   withdraw that.    Dr. Shanfield testified that the information

11:58:55   5   on slide three includes a trade secret.       Do you agree?

11:58:58   6   A.     No.

11:58:59   7   Q.     Why not?

11:59:00   8   A.     Well, okay, so this -- these are specs, so for a

11:59:07   9   device, you can see, you know like in that table up on the

11:59:10 10    upper right, center frequency, insertion loss, amplitude

11:59:15 11    ripple, that's related to the spurious stuff we're talking

11:59:19 12    about, input output impedance, these are specifications,

11:59:23 13    these are parameters and some conditions like the frequency

11:59:26 14    range of interest and then what are the might know, typical

11:59:29 15    max for those specs and then it has a box that says here is

11:59:34 16    what is critical.    Yeah, they're specs, they're for a

11:59:37 17    device, but it's not valuable for Akoustis to get that

11:59:40 18    information from their competitor.      In fact, it's not a good

11:59:44 19    idea to get that kind of information from your competitor.

11:59:47 20    You want to get specs from your customers.       The reason is

11:59:50 21    two, one is specs change.

11:59:53 22                 So if I'm grabbing this slide, which I don't

11:59:56 23    know how old it is and I'm spending weeks to build parts and

12:00:01 24    test them to those specs and turns out the customer already

12:00:05 25    modified it, that's a waste of time.      I don't want to get
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12:00:08   1   specs from my competitor, I want to get them from my

12:00:11   2   customer.

12:00:11   3                    The second reason is you want to be in front of

12:00:14   4   your customer, you want to be constantly meeting with your

12:00:17   5   customer, getting information, exchanging, you build a

12:00:20   6   relationship with your customer.         You don't sneak around,

12:00:22   7   it's not useful to sneak around and find the specs from your

12:00:25   8   competitor, it's not a good idea and it's not useful.            Hence

12:00:29   9   it was not useful to Akoustis to have this in their

12:00:33 10    possession and it's not a trade secret.

12:00:35 11    Q.       May I have DTX 560, please.       And that's Trial

12:00:42 12    Exhibit 153.

12:00:45 13                     Dr. Darveaux, do you recognize this document?

12:00:47 14    A.       I do.

12:00:48 15    Q.       Did you consider it as part of your opinion?

12:00:50 16    A.       Yes.

12:00:51 17    Q.       What is it?

12:00:52 18    A.       So this is an e-mail exchange between Akoustis and

12:00:59 19    their customer in this case,            , and it shows where these

12:01:03 20    are the specifications and they were provided by              , this

12:01:07 21    is just an example, you go to your customer, you get the

12:01:09 22    specs.   The top box is more electrical specifications, the

12:01:13 23    bottom one has to do with, you know, things like, you know,

12:01:17 24    case operating temperature, or you know, the voltage or the

12:01:21 25    input power level, those are things you would need to
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                                       #: 41724                              2075
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12:01:25   1   understand reliability, this part has to run, also the

12:01:28   2   operating temperature you need to know because frequencies

12:01:31   3   shift when a device heats up or if you just put it in a

12:01:36   4   different ambience, you need to make your design capable of

12:01:40   5   being able to shift over those temperature ranges and still

12:01:44   6   be in spec, that's all provided by the customer and he

12:01:47   7   determines that from his application.

12:01:50   8   Q.     Can we go back to PTX 149, please, slide 3.

12:01:54   9                So no trade secret in this one?

12:02:01 10    A.     No.

12:02:02 11    Q.     All right.    So let's move on to trade secret 2.3

12:02:07 12    which is expected circuit layout, schematic and simulations.

12:02:15 13    Can we scroll down to page 14, 15 and 16.

12:02:21 14                 So Dr. Shanfield testified that slides 14

12:02:25 15    through 16, but 14 through 15 shown here of PTX 149

12:02:32 16    described trade secrets.     Do you agree?

12:02:35 17    A.     No.

12:02:36 18    Q.     Let's focus on 14 first.      Why don't you believe that

12:02:43 19    slide 14 contains trade secrets?

12:02:46 20    A.     Well, again, this is a PowerPoint image of a design.

12:02:52 21    It's not the actual design file.      There are many, many, many

12:02:56 22    more details, so it just shows the image of a design.         It's

12:03:00 23    useful for discussion internally in the company, but it's

12:03:03 24    not useful to Akoustis.

12:03:08 25    Q.     How about slide 15, does this slide contain trade
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                                       #: 41725                              2076
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12:03:13   1   secrets?

12:03:13   2   A.     So, again, this is the schematic diagram, I think

12:03:17   3   it's for that design and they also have called out, you

12:03:20   4   know, the circle down on the bottom is EM, I believe that

12:03:24   5   means they're going to do simulation, okay, electromagnetic

12:03:31   6   simulation

12:03:35   7

12:03:39   8

12:03:42   9

12:03:46 10


12:03:50 11

12:03:53 12                                                           Not a trade

12:03:57 13    secret, commonly known.

12:04:00 14    Q.     Slide 16, please.

12:04:03 15                   Does this slide contain trade secrets?

12:04:07 16    A.     So no.    This is, again, this is the results they did

12:04:13 17    of a simulation.

12:04:17 18                   I guess these go together.     It's specific to

12:04:21 19    whatever that design was, and all the different features

12:04:25 20    that aren't quantified, I would say, and they did some work,

12:04:32 21    it's good for their meeting discussion, not good for

12:04:36 22    Akoustis, no use to Akoustis.

12:04:38 23    Q.     Did Akoustis achieve a head-start by having this

12:04:41 24    information?

12:04:41 25    A.     No.
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                                       #: 41726                              2077
                                       Darveaux - direct

12:04:42   1   Q.     Did Akoustis use it as far as you know?

12:04:44   2   A.     I saw no evidence of use.

12:04:46   3   Q.     So let's move on to trade secret 2.4, filter trimming

12:04:54   4   parameters and analysis.     Slide 17, please.

12:04:59   5                  So Dr. Shanfield testified that slide 17

12:05:02   6   describes alleged trade secret 2.4, concerning filter

12:05:07   7   trimming parameters analysis.      Do you agree?

12:05:12   8   A.     No.

12:05:13   9   Q.     Why don't you agree?

12:05:14 10    A.     Okay.    Again, it's the PowerPoint slide that they use

12:05:18 11    for discussion, the table on the bottom appears to be -- you

12:05:22 12    can try to decipher it but there is a lot of kind of company

12:05:27 13    specific codes in there, looks like there are different trim

12:05:30 14    steps and what not.    Akoustis can't use that, they have

12:05:34 15    their own process and their own equipment.       But this was for

12:05:37 16    discussion at Qorvo.

12:05:40 17                   Some of that other information you can't even

12:05:43 18    make out, and it shows some simulations.       It's specific to

12:05:47 19    Qorvo, it's good for them to talk about in a meeting.         It's

12:05:51 20    not useful to Akoustis.

12:05:52 21    Q.     So did Akoustis achieve any head-start by having this

12:05:57 22    document?

12:05:57 23    A.     No.

12:05:58 24    Q.     Did Akoustis use this document?

12:06:00 25    A.     I saw no evidence of use.
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                                          #: 41727                              2078
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12:06:02   1   Q.        Okay.    All right.   So we talked about alleged trade

12:06:07   2   secret 2.5 earlier, so I'm going to move on to alleged trade

12:06:11   3   secret 2.6, which is the electromagnetic modeling

12:06:20   4   assumptions.

12:06:22   5                     May I have slide 24, please, 24 and 25.

12:06:26   6                     Dr. Shanfield testified that slides 24 and 25 of

12:06:35   7   PTX 149 describe a trade secret.         Do you agree?

12:06:39   8   A.        No.

12:06:39   9   Q.        Why not?

12:06:40 10    A.        Well, okay, so again, these are slides for a meeting.

12:06:45 11    It showed -- the one on the left is an image of the chip,

12:06:49 12    and the table shows some of the features, if you can kind of

12:06:54 13    barely make out some material types, and maybe some

12:06:58 14    thicknesses, which is fine.        So that's their specific chip.

12:07:05 15    There is a lot of information missing like all the actual

12:07:08 16    pattern itself comes from a CAD file which is way, way, way

12:07:12 17    larger than this and more in depth and there is multiple

12:07:16 18    layers.    A lot of information missing.        It just shows they

12:07:19 19    did some work, they were able to talk about it in a meeting.

12:07:22 20                      And the next slide is a package, so the chip

12:07:25 21    always goes on a package, so similarly you can do modeling

12:07:28 22    of the chip and the package together, you should, that's

12:07:31 23    good practice.       Everybody in this field knows that, and they

12:07:37 24    all do that type of work, and this again shows some partial

12:07:41 25    information, a lot of data left out.         It doesn't even show a
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 1757 of 2283 PageID
                                       #: 41728                              2079
                                       Darveaux - direct

12:07:44   1   result, it just shows that they did -- you know, they built

12:07:48   2   a model.

12:07:49   3   Q.     So no trade secret in these two?

12:07:51   4   A.     No.

12:07:52   5   Q.     Did Akoustis achieve a head-start by having this

12:07:55   6   information?

12:07:56   7   A.     No.

12:07:56   8   Q.     Did Akoustis use this information?

12:07:58   9   A.     I didn't see any evidence of use.

12:08:01 10    Q.     Okay.   Let's move on to number 2.7.      This is

12:08:08 11    simulation results

12:08:12 12


12:08:14 13    A.

12:08:15 14    Q.     I'm sorry?

12:08:16 15    A.     I assume that's what that means.

12:08:18 16    Q.     We have a typo, sorry.      I was wondering about that.

12:08:24 17

12:08:28 18    A.

12:08:31 19


12:08:37 20


12:08:39 21


12:08:43 22

12:08:46 23


12:08:49 24


12:08:53 25
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                                          #: 41729                              2080
                                          Darveaux - direct

12:08:56   1

12:08:58   2                     You have to simulate these things,

12:09:01   3

12:09:04   4

12:09:06   5

12:09:08   6

12:09:11   7                                           it's a good thing to

12:09:15   8   simulate it, it's a good thing to measure it, it's not a

12:09:18   9   secret.

12:09:19 10    Q.        Can we see slide 11.

12:09:23 11                      So Dr. Shanfield had testified that slide 11

12:09:26 12    contains trade secrets.        Do you agree with that?

12:09:29 13    A.        No.

12:09:30 14    Q.        All right.    Did Akoustis achieve a head-start by

12:09:32 15    having this information?

12:09:34 16    A.        No.

12:09:35 17    Q.        Did Akoustis use this information?

12:09:36 18    A.        I saw no evidence of use.

12:09:39 19    Q.        Okay.    So let's scroll back to the first page of this

12:09:44 20    exhibit.    So we got through trade secrets 2.2 and 2.7 just

12:09:53 21    now.   Did you review this exhibit in its entirety?

12:09:56 22    A.        I did.

12:09:56 23    Q.        Is any information in PTX 149 a trade secret?

12:10:01 24    A.        No.

12:10:01 25    Q.        Did Akoustis achieve a head-start by having any of
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1759 of 2283 PageID
                                        #: 41730                              2081
                                        Darveaux - direct

12:10:05   1   this information?

12:10:06   2   A.     No.

12:10:07   3   Q.     And are you aware of any evidence showing that

12:10:10   4   Akoustis used this information?

12:10:12   5   A.     I saw no evidence of that.

12:10:14   6   Q.     Okay.    So may I have DDX 3.27, please.

12:10:20   7                  So we've marked it on the chart accordingly.

12:10:25   8   A.     Agreed.

12:10:26   9   Q.     So onward to alleged trade secret 2.8.         May I have

12:10:33 10    PDX 6.33?

12:10:38 11                   So this is Dr. Shanfield's demonstrative.       He

12:10:47 12    testified that slide 4 of PTX 720, which is Trial

12:10:54 13    Exhibit 10, contains alleged trade secrets.        Do you agree?

12:10:58 14    A.     No.

12:11:00 15    Q.     What is an innovation vector?

12:11:02 16    A.     So that's the direction you want to go for a given

12:11:09 17    innovation category, I guess.       I assume that's what they

12:11:12 18    mean by this.     Vector is pointing in a direction that has a

12:11:17 19    magnitude, that's a mathematical meaning of vector.

12:11:22 20    Q.     So the innovation vectors shown in this slide, were

12:11:26 21    those generally known in the industry?

12:11:28 22    A.     Yes.

12:11:30 23    Q.     Can you explain --

12:11:31 24    A.     Do you want me to elaborate?

12:11:33 25    Q.     Yes.
  Case 1:21-cv-01417-JPM    Document 714-2 Filed 10/29/24 Page 1760 of 2283 PageID
                                       #: 41731                              2082
                                       Darveaux - direct

12:11:34   1   A.     So the vectors are, if you see the brownish arrows

12:11:39   2   and then the words below those.      So we want size to go down.

12:11:43   3   We want our Q value and coupling to go up.       So that's

12:11:47   4   performance, right?    We want temperature stability, so that

12:11:51   5   has to do with this frequency shift over temperature, you

12:11:55   6   want less shift so that you can do a wider temperature range

12:11:58   7   and still be in the spec.     And then you want operating

12:12:02   8   frequency up, that just means new bands that go higher and

12:12:05   9   higher gigahertz.    Those vectors have been the same vectors

12:12:10 10    for a few decades now, they are not trade secrets.

12:12:13 11    Q.     And does this slide have enough detail for an

12:12:17 12    engineering purposes?

12:12:18 13    A.     No.   So again, it's a meeting slide.      It shows some

12:12:22 14    words that if you're in the business you know -- you may

12:12:26 15    know what micro BAW is, if you're at Qorvo, you know what

12:12:30 16    wafer level fan out is kind of a type of industry term for a

12:12:34 17    kind of package, there are certain words in here, but it's

12:12:38 18    not an engineering document, it's not a recipe for making

12:12:41 19    any of that stuff, it's just a slide for a discussion in a

12:12:44 20    meeting at Qorvo.

12:12:45 21    Q.     Now, did you review PTX 720 which is Trial Exhibit 10

12:12:52 22    in its entirety?

12:12:53 23    A.     I did.

12:12:53 24    Q.     Does any part of this document contain trade secrets?

12:12:57 25    A.     No.
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1761 of 2283 PageID
                                        #: 41732                              2083
                                        Darveaux - direct

12:12:58   1   Q.     Did Akoustis achieve a head-start by having this

12:13:01   2   document?

12:13:02   3   A.     No.    I mean, another thing is it's a 2019 document,

12:13:08   4   and I think it maybe there was evidence that it got to

12:13:12   5   Akoustis in 2020 something, I didn't follow all the e-mail

12:13:19   6   trails that were shown, they were already in volume

12:13:22   7   production by then.

12:13:23   8                  So in terms of enabling their time to market,

12:13:26   9   it's kind of impossible that it could have improved their

12:13:29 10    time to market at that point in time.        They got into the

12:13:32 11    market already.     And it's not trade secret anyway.

12:13:36 12    Q.     Okay.    Let's look at DDX 3.28.

12:13:41 13                   So we've put the X's in the correct place?

12:13:56 14    A.     Uh-huh.

12:13:57 15    Q.     Can you confirm that?

12:13:58 16    A.     Yes.

12:13:59 17    Q.     All right.     So let's take a look at the next set, at

12:14:03 18    PDX 6.34.

12:14:08 19                   So these are alleged trade secrets 2.9 and 2.10.

12:14:14 20    Dr. Shanfield testified that slides 8 and 10 of PTX 720,

12:14:20 21    which is Trial Exhibit 10, contains Qorvo's trade secrets.

12:14:26 22    Do you agree?

12:14:27 23    A.     No.

12:14:28 24    Q.     So let's look -- let's look at slide eight, which is

12:14:31 25    in the lower left-hand corner of the demonstrative.         Do the
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1762 of 2283 PageID
                                        #: 41733                              2084
                                        Darveaux - direct

12:14:40   1   S parameter measures and simulations for Qorvo's 5-gigahertz

12:14:46   2   prototypes have any value outside of Qorvo?

12:14:48   3   A.      No.

12:14:49   4   Q.      Why not?

12:14:50   5   A.      Well, okay, so again, this is -- they're showing

12:14:55   6   simulation measurement for a demonstrator of this gigahertz,

12:15:00   7   5.6-gigahertz filter, which is fine for them.         It's meeting

12:15:05   8   discussion, it's not, there is nothing in here that's useful

12:15:08   9   for a competitor, I have to work on any own product based on

12:15:12 10    specs from my customer and get my filter to do whatever they

12:15:15 11    say.   This is useful for Qorvo to talk about, but it's not

12:15:20 12    useful for a competitor like Akoustis.

12:15:23 13    Q.      So let's focus on the other slide in this

12:15:27 14    demonstrative, which is page 10.

12:15:32 15                  What's shown here, Dr. Darveaux?

12:15:33 16    A.      So, again, these are, you know, very high level

12:15:38 17    images, the one on the left looks like a design of a filter.

12:15:43 18    And you can see you know lots of resonators and other

12:15:46 19    features on there.     These are all the levels collapsed on to

12:15:51 20    one again, there are multiple layers in there that they just

12:15:55 21    smush together to talk about.       There is no design rules,

12:15:58 22    there is no -- it's not quantitative in any way, it wouldn't

12:16:03 23    allow to you make that.

12:16:04 24                  The one on the right, it looks like again, some

12:16:07 25    sort of simulation result.      There is no input parameters on
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24 Page 1763 of 2283 PageID
                                          #: 41734                              2085
                                          Darveaux - direct

12:16:10   1   how they did it, you can't even tell what the result is

12:16:14   2   other than there is colors.        Okay?   Then they show some

12:16:18   3   quantitative numbers below, which is fine for them to

12:16:21   4   discuss in an internal meeting at Qorvo, but it's not useful

12:16:25   5   to Akoustis.

12:16:28   6   Q.       Can I have DDX 3.29, please?

12:16:33   7                    So we've put X's in 2.9, but there should also

12:16:51   8   be one in 2.10.       But we're past the halfway point.      Let's

12:16:58   9   look at PDX 6.34.       6.35.

12:17:07 10                     So here is alleged trade secret 2.11, regarding

12:17:17 11    measured data for a coupling and -- for coupling quality

12:17:22 12    factor versus percentage of scandium.          Dr. Shanfield

12:17:28 13    testified that slide 15 of PTX 720, which is Trial

12:17:33 14    Exhibit 10, contains Qorvo's trade secrets.          Do you agree?

12:17:36 15    A.       No.

12:17:37 16    Q.       Why not?

12:17:39 17    A.       Okay.    So this refers to the aluminum nitride as the

12:17:45 18    base electric layer and you can build with the scandium to

12:17:50 19    change the properties.        This was well-known in the industry

12:17:52 20    by that time.       And people, you know, were using it.       So this

12:17:56 21    shows some of the data where they evaluated it internally at

12:18:00 22    Qorvo.   It's not a trade secret, it's specific data that

12:18:03 23    they evaluated.

12:18:08 24    Q.       Is this publicly known information?

12:18:12 25    A.       Yes.    I'm saying the use of scandium and its effects
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                                       #: 41735                              2086
                                       Darveaux - direct

12:18:18   1   are publicly known.    I don't know that that slide was shown

12:18:21   2   in public, I'm not sure about that slide, but the concept

12:18:24   3   shown here is absolutely publicly known.

12:18:38   4                  MS. SMITH:   Your Honor, may I approach the

12:18:40   5   witness?

12:18:40   6                  THE COURT:   You may.

12:19:05   7   BY MS. SMITH:

12:19:12   8   Q.     Dr. Darveaux, I just handed you DTX 668 and DTX 775.

12:19:20   9   Do you recognize those two documents?

12:19:21 10    A.     I do.

12:19:21 11    Q.     Did you use them in forming your opinions?

12:19:24 12    A.     I did.

12:19:26 13                   MS. SMITH:   Your Honor, I move to enter DTX 668

12:19:30 14    and DTX 775 into evidence.

12:19:33 15                   THE COURT:   Marked and received as 344.

12:19:40 16                   (Trial Exhibit No. 344 was admitted into

12:19:41 17    evidence.)

12:19:41 18                   MS. SMITH:   And 775, please.

12:19:48 19                   THE COURT:   That would be 345.

12:19:50 20                   (Trial Exhibit No. 345 was admitted into

12:19:51 21    evidence.)

12:19:51 22                   MS. SMITH:   Thank you.

12:19:52 23    BY MS. SMITH:

12:19:57 24    Q.     Okay.    Dr. Darveaux, what is this document, DTX 775,

12:20:06 25    which is Trial Exhibit 345?
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                                         #: 41736                              2087
                                         Darveaux - direct

12:20:09   1   A.      So this is a paper, BAW filters for 5G bands as you

12:20:17   2   can see the title as published by Dr. Aigner, who you saw

12:20:22   3   last week, and his colleagues, and Dr. Fattinger is on this

12:20:27   4   one.   It was published in 2018 in IEEE, at that point in

12:20:32   5   time obviously none of this is trade secret anymore, they

12:20:35   6   consider it trade secret otherwise they wouldn't have

12:20:38   7   published it.

12:20:38   8   Q.      Can we see Figure 2 on page 3, please?

12:20:42   9   A.      Yes.

12:20:43 10    Q.      Can you explain what is Figure 2 showing?

12:20:46 11    A.      Sure.    So, again, we talked about the piezo layer is

12:20:58 12    aluminium nitride, you build it with scandium to change the

12:21:00 13    properties, it results in a change in the resonator

12:21:02 14    performance.

12:21:02 15                    The left access is Q, that's one of the

12:21:06 16    performance vectors related to the energy efficiency, that

12:21:10 17    dropped from 3,200 down to 1,900, as you put more scandium

12:21:15 18    the Q goes down, which is not what they usually want.

12:21:20 19                    And the other vector is K squared, that's a

12:21:23 20    coupling coefficient, that starts down at 6.5 percent and

12:21:29 21    goes up to 9.2 percent, that's usually good, especially for

12:21:32 22    a wideband filter, you're going to pick a scandium amount

12:21:37 23    you want, some filters you use no scandium, other you might

12:21:41 24    use 6 or 9 and a half, whatever you want, it depends on the

12:21:41 25    spec you're trying to it, is it narrow filter, wide filter,
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                                          #: 41737                              2088
                                          Darveaux - direct

12:21:48   1   it depends on the customer input to you.          Also depends on

12:21:50   2   what you get from your supplier, you can't just pick I want

12:21:54   3   6.9, 3, 1, you can't do that, the supplier only has a

12:21:57   4   limited amount he can sell you, this is a target that goes

12:22:02   5   in your sputtering energy machine, whatever equipment you're

12:22:04   6   using, it's a sputtering energy machine that deposits that

12:22:06   7   on the wafer, you have a certain number you can pick from

12:22:10   8   from the supply base, and you do your simulations and

12:22:14   9   testing to decide which ones you want to use for which type

12:22:17 10    of filter.      Each company has to do that for their own

12:22:20 11    process, the trends are going to be the same, but the

12:22:22 12    specifics for your filter depends on your process and your

12:22:25 13    design.

12:22:27 14    Q.        Are you aware of any evidence that Akoustis achieved

12:22:30 15    a head-start by having this information?

12:22:32 16    A.        No.

12:22:32 17    Q.        Are you aware of any evidence that Akoustis used this

12:22:35 18    information?

12:22:36 19    A.        So I believe that Akoustis does use scandium in some

12:22:40 20    of their products, but that was known in the industry and

12:22:45 21    they can just buy those targets from suppliers.

12:22:48 22    Q.        Okay.    Let's move on to trade secret 2.12 and 2.13.

12:22:55 23    May I have PDX 6.35, please.          Probably 6.36.

12:23:04 24                      THE COURT:   Yes.   Marked and received.

12:23:08 25                      MS. SMITH:   I didn't offer.
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                                        #: 41738                              2089
                                        Darveaux - direct

12:23:11   1                 THE COURT:    I think you missed one.

12:23:12   2                 MS. SMITH:    No.   I wasn't offering any, I was

12:23:16   3   just asking for a --

12:23:17   4                 THE COURT:    I understand.

12:23:18   5                 MS. SMITH:    Okay.

12:23:20   6   BY MS. SMITH:

12:23:25   7   Q.      So here is Dr. Shanfield's demonstratives on 2.12 to

12:23:32   8   2.14.   And he testified that slides 23, 24, 29 of PTX 720,

12:23:38   9   which is Trial Exhibit 10, contains Qorvo's trade secrets.

12:23:42 10    Do you agree?

12:23:43 11    A.      No.

12:23:43 12    Q.      Can we see PTX 720, please.      Slides 23 and 24.

12:23:54 13                  What is shown here?

12:23:55 14    A.      So this is something they're calling CRF, for coupled

12:24:01 15    resonator filter.     Basically they're stacking -- instead

12:24:05 16    normally resonator are side-by-side, they're stacking them

12:24:07 17    on top of each other, that way they can reduce the size,

12:24:11 18    which of course is what everybody likes for mobile phones

12:24:14 19    and that kind of market.      So yeah, that's what the concept

12:24:18 20    is.

12:24:18 21                  They did some design studies, you know, the one

12:24:21 22    on the left they show how they combine those two filters and

12:24:25 23    stack them together to make this filter on the right for

12:24:28 24    this image, and then over here, you know,

12:24:33 25
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                                        #: 41739                              2090
                                        Darveaux - direct

12:24:37   1   might be in a module at some point, it shows how they

12:24:40   2   reduced the area of that footprint we called that in the

12:24:43   3   front-end module.     And then they did some simulation work.

12:24:49   4   That's what's described here, was that your question?

12:24:52   5   Q.     Yes.

12:24:53   6   A.     Yes.

12:24:53   7                  MS. SMITH:   Your Honor, may I approach the

12:24:55   8   witness?

12:24:55   9                  THE COURT:   You may.

12:25:09 10    BY MS. SMITH:

12:25:12 11    Q.     Dr. Darveaux, I just handed you DTX 560.         Do you

12:25:16 12    recognize this document?

12:25:16 13    A.     I do.

12:25:17 14    Q.     What is this document?

12:25:18 15    A.     So this is a technical paper, single to balanced

12:25:23 16    filters for mobile phones using coupled resonator BAW

12:25:27 17    technology, so the same concept we're talking about here.

12:25:30 18    That was published by Dr. Fattinger, et al. in 2004,

12:25:35 19    actually, so this idea has been around for a long time.

12:25:39 20    Q.     Did you consider this when you were forming your

12:25:42 21    opinions?

12:25:42 22    A.     I did.

12:25:43 23                   MS. SMITH:   Your Honor, I move to enter DTX 561

12:25:48 24    into evidence.

12:25:48 25                   THE COURT:   Marked and received as 356 -- sorry,
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24 Page 1769 of 2283 PageID
                                          #: 41740                              2091
                                          Darveaux - direct

12:25:55   1   346.

12:25:56   2                   (Trial Exhibit No. 346 was admitted into

12:25:57   3   evidence.)

12:25:57   4                   MS. SMITH:    Thank you.

12:26:01   5   BY MS. SMITH:

12:26:02   6   Q.        Can you zoom in on Figure 1, please.       Is that a CRF?

12:26:10   7   A.        Yes, it's not labeled well, let me describe it to

12:26:13   8   you.    So those bluish layers, those are the piezoelectric

12:26:18   9   layers, you can see normally those are side-by-side in a

12:26:21 10    real product, now they're stacked on top of each other.            And

12:26:23 11    the yellow are silicone dioxide layers, and the gray of

12:26:27 12    metal layers, typically Tungsten, one example of what you

12:26:31 13    can use.

12:26:31 14                    So you got electrodes and you got this whole

12:26:34 15    stack and you can build that all in the same process inputs

12:26:37 16    in a fabrication facility, it's many, many, many more steps,

12:26:42 17    remember we're talking about for a normal filter it might be

12:26:45 18    200 or more steps, this would probably be, who knows, 300 or

12:26:49 19    more steps, it's a lot of steps to actually build something

12:26:52 20    like that.

12:26:53 21    Q.        So did Akoustis achieve a head-start by having this

12:26:57 22    information?

12:26:57 23    A.        No.   I mean, well first of all, it's not a trade

12:27:01 24    secret.    Secondly, I don't believe they have ever attempted

12:27:05 25    this.   It even states in the paper that this concept is more
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                                        #: 41741                              2092
                                        Darveaux - direct

12:27:09   1   applicable to an SMR type filter than FBAR, because SMR you

12:27:14   2   can keep building layers on layers, FBAR you would have to

12:27:17   3   do a release process that's releasing multiple layers at the

12:27:21   4   same time which I don't believe -- I'm not sure I have ever

12:27:25   5   seen anybody attempt that.      But the paper itself indicates

12:27:30   6   this is probably more suitable for SMR.

12:27:32   7   Q.      Can we have PDX 6.36, please?       All right.   So we

12:27:46   8   talked about the two slides on, the left slide and the

12:27:51   9   middle slide.     Let's take a look at the slide on the right.

12:28:00 10    Dr. Shanfield testified that this slide reflects Qorvo's

12:28:04 11    alleged trade secret 2.14, micro BAW approach for reducing

12:28:11 12    die size.     Do you agree that's a trade secret?

12:28:14 13    A.      No.

12:28:15 14    Q.      Why not?

12:28:15 15    A.      Well, a couple of reasons.      First of all, you can't

12:28:20 16    really tell from this slide what micro BAW is.         So I had to

12:28:24 17    search if there was any publications that they had that

12:28:26 18    showed what micro BAW was, we'll get to that in a minute.

12:28:30 19    But basically it's taking the connections that are outside,

12:28:33 20    like normally you have a resonator and then you got these

12:28:37 21    bump areas outside.

12:28:39 22                   So electrical connections are typically outside

12:28:41 23    the resonator regions, now they're trying to move them over

12:28:45 24    top.   What does that do?     Shrinks size, good idea, not a

12:28:50 25    trade secret.     For example, when I joined Skyworks in 2012,
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                                        #: 41742                              2093
                                        Darveaux - direct

12:28:55   1   we were sourcing SAW filters from Panasonic, they had that

12:28:59   2   exact same concept in production, so you could have bought

12:29:02   3   any tear down product at that time and seen this type of

12:29:06   4   packaging approach to a SAW filter, which pretty much has

12:29:09   5   the identical packaging constraints as a BAW filter.

12:29:13   6   Q.       Can we have DTX 775, please, and focus on figures 4

12:29:18   7   and 5.

12:29:22   8                 So is this an image of, as you like to say a

12:29:33   9   cartoon of a micro BAW?

12:29:34 10    A.       Yeah, this is an illustration, so the top image,

12:29:38 11    illustration is of the BAW case that I just described where

12:29:42 12    the resonators would be in that white box, so that's a

12:29:45 13    cavity, that's an air cavity, so the resonators are on that

12:29:50 14    surface facing downward on the BAW die surface, that's where

12:29:55 15    they would be in this illustration.       And the connection out

12:29:57 16    to the side of these copper pillars, that's the electrical

12:30:01 17    connection.    You can see the size of that conceptually.

12:30:04 18                  Now, down below is what they are calling micro

12:30:07 19    BAW, that's just their word, where you move those

12:30:10 20    connections in board now, and you have to have via that go

12:30:14 21    through that yellow material, so that adds several process

12:30:18 22    steps.   It's a good idea for size reduction.        It does add

12:30:22 23    cost because you have to have more process for those vias to

12:30:26 24    get connections up in there.      As I pointed out, it's not a

12:30:30 25    trade secret for a couple of reasons, one is they didn't
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1772 of 2283 PageID
                                        #: 41743                              2094
                                        Darveaux - direct

12:30:32   1   even think it was a trade secret, they published this paper

12:30:35   2   in 2018, and as I also pointed out, this has been in volume

12:30:41   3   production for sure by Panasonic and then Skyworks since at

12:30:46   4   least 2012.

12:30:48   5   Q.      So no head-start for Akoustis?

12:30:52   6   A.      No.

12:30:53   7   Q.      And you mentioned earlier that Akoustis would not be

12:30:56   8   using this information, right because --

12:30:59   9   A.      I'm sorry.

12:31:00 10    Q.      Did Akoustis use this information?

12:31:02 11    A.      Not to my knowledge.

12:31:03 12    Q.      Okay.    Can I have PDX 6.37, please.

12:31:12 13                    So moving on to alleged trade secrets 2.15 and

12:31:20 14    2.16.   Dr. Shanfield testified that slide 36 and 37 of PTX

12:31:26 15    720, which is Trial Exhibit 10, contains Qorvo's alleged

12:31:30 16    trade secrets.     Do you agree?

12:31:32 17    A.      No.

12:31:34 18    Q.      So let's take a --

12:31:35 19    A.      I don't agree that they're trade secrets, if that was

12:31:38 20    your question.

12:31:39 21    Q.      All right.    Let's take a look at the slide on the

12:31:42 22    left which is slide 36.      What is shown here?

12:31:47 23    A.      Okay.    So this is again a schematic trying to -- you

12:31:51 24    know, a slide for a discussion in a meeting.         But what

12:31:55 25    they're trying to show is that there is heat generated the
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1773 of 2283 PageID
                                        #: 41744                              2095
                                        Darveaux - direct

12:31:58   1   substrate.    For example, you got these resonators here and

12:32:01   2   there is some losses, they're not perfect, so that loss

12:32:05   3   turns into heat.       That heat

12:32:09   4

12:32:13   5                          you don't see all that on this drawing,

12:32:17   6   the heat

12:32:20   7                                                  what they're

12:32:23   8   illustrating,

12:32:26   9

12:32:30 10


12:32:34 11                                   It's obvious what the properties

12:32:38 12    of that material are.

12:32:39 13                      What they have done here is said okay,

12:32:41 14


12:32:47 15                                       that's the concept, there is

12:32:50 16    no design rules, it's not an engineering drawing or an

12:32:53 17    engineering specification, it just shows the idea, not a

12:32:58 18    trade secret either, I think we're going to get to that.          Do

12:33:01 19    we have another slide on that one?

12:33:03 20    Q.        Yeah.    So PTX 961, please.   If we can scroll to

12:33:11 21    page 5.    Page 6.

12:33:18 22                      So Dr. Darveaux, what is this document?

12:33:21 23    A.        Okay.    So this is a data sheet pulled off the Amkor

12:33:27 24    website using the Wayback Machine I mentioned.         So I worked

12:33:31 25    at Amkor at that time.       I actually was on the team that
  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24 Page 1774 of 2283 PageID
                                      #: 41745                              2096
                                      Darveaux - direct

12:33:37   1   developed this technology, we did it for TI, Texas

12:33:41   2   Instruments at that time.    And this is around 2010 time

12:33:43   3   frame.

12:33:44   4               And, you know, once you develop it in these

12:33:47   5   packaging companies then you put this on your website so any

12:33:51   6   customer can use it, basically that's the idea, that's how

12:33:55   7   you win business.

12:33:56   8               This shows copper pillars, which are the bumps.

12:33:59   9   We looked at different ways how to do the pilar over the

12:34:02 10    passivation, which is                          in the Qorvo

12:34:07 11    case, or pulled away the passivation, put it directly down

12:34:11 12    to IC pad that we would call, the image down there is just

12:34:16 13    an example of the parts we built, which it's right down to

12:34:18 14    IC pad, that's what the photograph is.      See all those little

12:34:22 15    snowcones sitting there and if you go down there is another

12:34:25 16    schematic cartoon, which looks pretty very much like the

12:34:29 17    Qorvo drawing.   If you zoom in, can you zoom in, Jesse,

12:34:33 18    that's it there.

12:34:35 19                So, you know, you got the aluminum pad, you got

12:34:40 20    the silicone substrate, the green is the passivation, so

12:34:43 21    that's                        in this particular example that

12:34:46 22    we're talking about.

12:34:49 23


12:34:53 24                                but there are other reasons that

12:34:55 25    you will do that as well, which we'll not talk about in this
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                                        #: 41746                              2097
                                        Darveaux - direct

12:34:59   1   case.   It's been done, been a high volume production since

12:35:02   2   at least 2010 kind of time frame.       I think some of my

12:35:05   3   patents may even been on this kind of stuff.         I'm not sure.

12:35:09   4   I can't even remember.

12:35:13   5                   MS. SMITH:   Your Honor, I move to enter DTX 961

12:35:17   6   into evidence.

12:35:18   7                   THE COURT:   I'm sorry, I can't hear you.     You

12:35:20   8   got to speak up.

12:35:21   9                   MS. SMITH:   Sure.   I move to enter DTX 961 into

12:35:25 10    evidence.

12:35:25 11                    THE COURT:   Okay.   That's fine.   It's 347,

12:35:31 12    marked and received.

12:35:32 13                    (Trial Exhibit No. 347 was admitted into

12:35:34 14    evidence.)

12:35:34 15    BY MS. SMITH:

12:35:35 16    Q.      All right.    May I have PDX 6.37, please?      So we just

12:35:47 17    talked about 2.15.     Let's talk about 2.16, and let's zoom in

12:35:54 18    on that image on the right, which is slide 37 of PTX 720,

12:36:00 19    Trial Exhibit 10.

12:36:01 20                    Dr. Darveaux, what is shown here?

12:36:05 21    A.      Okay.    So this is measured data, so delta T on the

12:36:12 22    left is the temperature rise, they don't really say above

12:36:15 23    what, sometimes that's above the ambient, sometimes it's

12:36:19 24    above the case or the printed circuit board, they don't

12:36:21 25    really say.     This is not a technical paper, it's just an
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24 Page 1776 of 2283 PageID
                                          #: 41747                              2098
                                          Darveaux - direct

12:36:25   1   image that they used in a meeting, but it's data.           They show

12:36:30   2   Delta T, that's the temperature rise and they have different

12:36:32   3   cases where they varied the design, so you can see on the

12:36:35   4   right are some different filter designs, and if you start

12:36:39   5   with the -- you see those are the filter designs.           If you

12:36:44   6   look at the blue box in the upper left, and within the chart

12:36:48   7   area, that guy, that's like their baseline case.           Right?

12:36:54   8   The original, here is the original design.

12:36:56   9                   So then they improved it

12:37:00 10                          and retested it and got some different

12:37:04 11    improvements depending on the design and where the bumps are

12:37:08 12    and things like that.        It's good data, they took some good

12:37:12 13    data, the specifics of the data depend on a lot of things,

12:37:15 14    how it was mounted in the substrate, how that package was

12:37:17 15    mounted on a motor board, whether or not it was cooled with

12:37:20 16    air or had a heat sync attached, so the actual specifics of

12:37:24 17    the data depend on several things.         But what you don't get

12:37:28 18    here, obviously it's not a technical paper.          But the concept

12:37:32 19    worked.    It's just -- it's not a trade secret, it's not new,

12:37:37 20    they tested it and confirmed that it worked at Qorvo.

12:37:41 21    Q.        Did Akoustis achieve a head-start by having this

12:37:44 22    document?

12:37:45 23    A.        No.

12:37:46 24    Q.        Did Akoustis use this document?

12:37:47 25    A.        Not to my knowledge.
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                                      #: 41748                              2099
                                      Darveaux - direct

12:37:51   1   Q.     All right.    So we just finished talking about all of

12:37:53   2   the alleged trade secrets in Group 2.      So just to recap,

12:37:59   3   what is your opinion regarding whether any of them are trade

12:38:02   4   secrets?

12:38:02   5   A.     I saw no trade secrets.

12:38:05   6   Q.     Okay.    And how much time to market head-start did

12:38:07   7   Akoustis achieve by having these documents?

12:38:10   8   A.     My opinion is they got no head-start.

12:38:13   9   Q.     Okay.    So let's see DDX 3.37, please.

12:38:23 10                   All right.   So we've marked those no trade

12:38:26 11    secret head-start.    Now switching gears, assuming that they

12:38:32 12    are trade secrets, just make that assumption.       Did you

12:38:35 13    calculate avoided costs for Akoustis?

12:38:37 14    A.     Yes, I did, on these three documents, these three

12:38:43 15    PowerPoint slide decks.

12:38:45 16    Q.     Okay.    So let's see DDX 3.38, please.     Are these your

12:38:51 17    calculations?

12:38:51 18    A.     Yeah.    So for each -- again, I went through this on

12:38:54 19    the last one, but for each document I looked for any pages

12:38:58 20    in the Qorvo document and if there was any Akoustis document

12:39:01 21    that I could find that was similar, I would call that out

12:39:04 22    and then for each page I credited avoided cost of two

12:39:12 23    engineering hours per page and then if I had to search

12:39:15 24    online or, you know, find some public references, I credit

12:39:19 25    two engineering hours for each document that I had to search
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12:39:22   1   for, if I had to buy a document, usually for $33, so that's

12:39:26   2   all summarized here for the three documents.

12:39:31   3   Q.     Can we see DDX 3.49, please.

12:39:38   4                  So the document cost and engineering hours have

12:39:42   5   been added here.     And remember we did trade secret Group 3

12:39:48   6   earlier.    So I put this on there, too?

12:39:52   7   A.     Yeah, for this group, Group 2, it was $165 in

12:39:57   8   documents and twelve engineering hours, so previously Group

12:40:01   9   3 was $33.08 engineering hours, that's what's shown on the

12:40:05 10    chart here.

12:40:05 11    Q.     So Group 4 has only one trade secret in it?

12:40:09 12    A.     Uh-huh.

12:40:11 13    Q.     Let's go.

12:40:12 14    A.     Yeah.

12:40:14 15    Q.     PDX 6.68.     6.69.

12:40:23 16                   Do you agree with Dr. Shanfield that Trial

12:40:28 17    Exhibit 13 -- next page, please?

12:40:30 18                   So this is about connectors, right.      So do you

12:40:38 19    agree that Dr. Shanfield -- do you agree with Dr. Shanfield

12:40:43 20    that Trial Exhibit 13 shown here contains Qorvo trade

12:40:47 21    secrets?

12:40:47 22    A.     No.

12:40:48 23    Q.     Why not?

12:40:49 24    A.     Well, this is an               drawing, we showed that in

12:40:55 25    the trial earlier, says right on the drawing it's a property
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12:40:59   1   of          , somebody noticed customer outline drawing and

12:41:05   2   misinterpreted that to say that this customer designed the

12:41:08   3   drawing, that's not what that means.

12:41:10   4                  When I was at Amkor and Skyworks, I had design

12:41:13   5   teams reporting to me, it's common practice to put a

12:41:17   6   customer outline drawing out, that means it's for the

12:41:20   7   customer.   So you have your internal drawings and then what

12:41:24   8   you give the customer is the thing he needs to use the part.

12:41:26   9   In our industry that's what customer outline drawing means.

12:41:31 10                   If you zoom in on this drawing, it even shows I

12:41:36 11    think down in the lower right-hand corner, right under the

12:41:40 12    words Customer Outline Drawing -- so you see under Customer

12:41:49 13    Outline Drawing it says all other sheets are for internal

12:41:52 14    use only.   That means there are actual sheets behind this

12:41:56 15    one that are                       designed this.    Why are

12:42:00 16    there more sheets?    This is an assembly.    There are three

12:42:03 17    parts, there is a pin in the center, it's a coax, a

12:42:06 18    connector, there is a dielectric, Teflon material around

12:42:09 19    that, then there is this barrel assembly, a piece of metal

12:42:13 20    that's been machined, have threads, and there are some other

12:42:17 21    metal straps, that's welded together.      This thing needs to

12:42:20 22    be assembled, you need to design each of those, fabricate

12:42:24 23    it, assemble it, that's what             does for a living and

12:42:27 24    then they sell it to anybody that wants to buy it.       It's

12:42:30 25    their property, anybody can buy it.
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12:42:32   1   Q.        Have you seen any evidence that Qorvo has the

12:42:35   2   internal sheets you're referring to?

12:42:36   3   A.        No, I saw no evidence of that.

12:42:38   4   Q.        What's the significance of not having the internal

12:42:41   5   sheets?

12:42:41   6   A.        It means they didn't design it.

12:42:45   7   Q.        And what's the date on this drawing?

12:42:51   8   A.        I believe it's down in that corner on the right.

12:43:00   9   May 6th of 2011.

12:43:02 10    Q.        Okay.    And have you ever worked with another company

12:43:12 11    to jointly develop something?

12:43:14 12    A.        Sure.

12:43:15 13    Q.        Okay.    So what kinds of agreements would you need in

12:43:19 14    order to protect your own interests?

12:43:23 15    A.        Okay.    So in our business, I'm sure many businesses,

12:43:28 16    you have nondisclosure agreements, you have heard about a

12:43:31 17    lot of those in this case.       So any supplier that you have,

12:43:35 18    you have a nondisclosure agreement with, or maybe multiple

12:43:39 19    nondisclosure if they're dependent on a topic.         So if you

12:43:43 20    got fifty suppliers, you got a minimum of fifty NDAs.          That

12:43:48 21    talks about how the information can be disclosed.         It

12:43:51 22    doesn't -- there is no ownership in there.

12:43:53 23                      If you're going to do joint development, if

12:43:55 24    you're actually going to work with a supplier to develop a

12:43:59 25    technology that you jointly own, usually you would have a
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12:44:03   1   JDA, Joint Development Agreement, and that spells out

12:44:05   2   ownership, that says okay, who is going to own what portion

12:44:09   3   of this thing, what's the parameters around that.       That's --

12:44:12   4   if you're going to joint develop you need a JDA, that's

12:44:16   5   common in our industry.

12:44:18   6                  MS. SMITH:   Your Honor, may I approach the

12:44:20   7   witness?

12:44:21   8                  THE COURT:   You may.

12:44:28   9   BY MS. SMITH:

12:44:39 10    Q.     Dr. Darveaux, I just handed you DTX 961.       Do you

12:44:46 11    recognize this document?

12:44:48 12    A.     I think you handed me 0962.

12:44:51 13    Q.     I'm sorry, 0962.     DTX 962.   Do you recognize this

12:44:56 14    document?

12:44:56 15    A.     I do.

12:44:56 16    Q.     What is it?

12:44:57 17    A.     So this is an affidavit of Nathaniel Frank Wright who

12:45:03 18    is somebody who works at the Internet Archives.       I mentioned

12:45:08 19    earlier about this Wayback Machine could go back in time and

12:45:11 20    look at archived website's.     So this is an affidavit from

12:45:16 21    that entity that maintains that archive.

12:45:20 22    Q.     Okay.    And what did you download from this internet

12:45:25 23    archive?

12:45:26 24    A.     Well, so I downloaded, for example, data sheets on

12:45:37 25    BAW filters that were available at the time just to see what
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12:45:41   1   was being publicly shown to people.       I looked at Qorvo's

12:45:45   2   website in the 2016 time frame and I downloaded data sheets

12:45:50   3   for BAW filters just to see what did they disclose and what

12:45:53   4   was there that anybody could have downloaded at that time.

12:45:56   5   I think I also downloaded that Amkor document that we looked

12:46:00   6   at earlier.    I don't know if there is anything else, but

12:46:03   7   those two for sure.     Those two things.     I downloaded a lot

12:46:08   8   of data sheets and then that one Amkor document.

12:46:11   9                 MS. SMITH:    Your Honor, I move to enter DTX 962

12:46:15 10    into evidence.

12:46:16 11                  THE COURT:    Marked and received as 348.

12:46:19 12                  (Trial Exhibit No. 348 was admitted into

12:46:20 13    evidence.)

12:46:20 14    BY MS. SMITH:

12:46:20 15    Q.     Can you please show DTX 962 at 53.

12:46:27 16                  Dr. Darveaux, did you find any data sheets that

12:46:30 17    were labeled preliminary?

12:46:34 18    A.     I think a few of them were labeled preliminary.            I'm

12:46:38 19    not sure which ones.     Oh, yeah, this one is one.      If you

12:46:48 20    look down in the lower left-hand corner it says Preliminary

12:46:51 21    Data Sheet, Rev C, 1-20-16, so that's January of 2016.

12:46:58 22    Q.     So were you specifically searching for preliminary

12:47:03 23    labeled data sheets?

12:47:06 24    A.     No, what I was searching for was things like did they

12:47:10 25    show the schematics for the part on there.        Did they show
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12:47:13   1   the evaluation board, did they show the connectors.          Because

12:47:17   2   early in the case, all those things were claimed as trade

12:47:20   3   secrets and then later, you know, Qorvo dropped some of

12:47:23   4   those and just stuck with the connector was the last kind of

12:47:26   5   thing.

12:47:27   6                  But originally there were a lot of things they

12:47:30   7   were claiming as trade secrets.        I was trying to understand

12:47:32   8   what was out there at the time, what were they putting on

12:47:35   9   their website.      Clearly if they were putting it on their

12:47:38 10    website it was not a trade secret, which was the idea.

12:47:41 11    Q.       May I have PDX 6.70 again.

12:47:52 12                   Dr. Darveaux, PTX 1142 which is Trial

12:47:58 13    Exhibit 13, is it a trade secret?

12:47:59 14    A.       No.

12:48:01 15    Q.       Did Akoustis gain any head-start with this?

12:48:07 16    A.       So your question did Akoustis get any head-start by

12:48:10 17    having that document in their possession?

12:48:14 18    Q.       Correct?

12:48:14 19    A.       No.

12:48:15 20    Q.       So that is -- that ends the discussion for Group 4.

12:48:22 21                   MS. SMITH:    Your Honor, is this a good time that

12:48:25 22    you want to break?

12:48:26 23                   THE COURT:    12:45, it's about time for our

12:48:30 24    lunch.

12:48:30 25                   Well, ladies and gentlemen, don't discuss the
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12:48:33   1   case amongst yourselves.     Don't let anybody talk to you

12:48:35   2   about it.    And we'll see you at 1:30.     Thanks very much.

12:48:40   3                 (Jury exiting the courtroom at 12:48 p.m.)

12:49:00   4                 THE COURT:    Everybody else be seated.    We'll let

12:49:02   5   the witness step down.     This is our lunch break and you

12:49:05   6   can't talk to anybody about the testimony you have given.

12:49:08   7   We'll see you about five before we start.       It will be about

12:49:13   8   1:25.   Thanks very much.

12:49:16   9                 THE WITNESS:   Thank you, Your Honor.

12:49:16 10                  THE COURT:    Anything else from anybody else at

12:49:18 11    this time?

12:49:19 12                  We're going to take our lunch break at this

12:49:21 13    time.   Thank you very much.

12:49:22 14                  COURT CLERK:   All rise.

12:49:24 15                  (A lunch recess was taken.)

13:19:34 16                  THE COURT:    Everybody can be seated.    I finally

13:35:26 17    gave up and decided to put a sweater on, guys, it's just

13:35:30 18    cold in here.

13:35:31 19                  We will -- we've looked at this conspiracy issue

13:35:36 20    a lot and basically a civil conspiracy is a mode or method

13:35:43 21    by which a substitute law violation can be committed so you

13:35:48 22    can have a conspiracy and you can commit a trade secret

13:35:52 23    violation or you can misappropriation of trade secrets.

13:35:55 24                  Now if you seek the substantive violation alone,

13:35:58 25    which is true here in this case, then the damages that you
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13:36:09   1   would receive in that -- well, if you're only seeking

13:36:14   2   conspiracy, there is no separate recovery under civil

13:36:16   3   conspiracy is the easy way to say that.        We're going to redo

13:36:22   4   the verdict form.     I don't see any reason other than a

13:36:26   5   problem in connection with inconsistent verdicts to keep it

13:36:29   6   in.   You see the problem with inconsistent verdicts.

13:36:33   7   Plaintiff, if you're the plaintiff or the defendant, but if

13:36:36   8   you're the defendant, the defendant might like inconsistent

13:36:42   9   verdicts, but if you're plaintiff and you obtain a

13:36:45 10    determination that there was a substantive violation of

13:36:48 11    trade secret, misappropriation, but then the jury decides

13:36:51 12    but there was no conspiracy to violate that, I don't think

13:36:55 13    you have helped yourself and I don't think it's helped

13:36:59 14    anybody and it's just confusing to the jury.

13:37:02 15                  MR. DeFOSSE:    Yes, Your Honor, I see the concern

13:37:04 16    of the Court.     The only thing I would ask is I don't have it

13:37:08 17    at the tip of my fingers now, whether there are different

13:37:13 18    damages implications --

13:37:14 19                  THE COURT:    That's the total issue, I agree with

13:37:16 20    you, that's the only remaining issue.        I agree with you

13:37:19 21    completely.    And but you don't -- nobody wants, hopefully, I

13:37:24 22    don't want inconsistent verdicts because I don't want to do

13:37:26 23    this again.    I don't think anybody wants to do this again.

13:37:29 24    We want finality in the case.       So you see the issue on that.

13:37:36 25    I think we're going to redo the verdict form, we're going to
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13:37:40   1   let everybody take a look at it.      And I hope that we're

13:37:43   2   getting a lot closer.      Of course we've had -- I think that's

13:37:47   3   what we need to do.

13:37:48   4                 MR. DeFOSSE:    Thank you, Your Honor.

13:37:49   5                 THE COURT:    I think we're -- I think that we

13:37:52   6   agree that we certainly don't want inconsistent verdicts.

13:37:56   7                 MR. LEMIEUX:    Absolutely, Your Honor.

13:37:57   8                 THE COURT:    Okay.   We'll take care of that.     Of

13:38:00   9   course we're already going to be dropping out anything

13:38:03 10    relating to Lanham Act.      The verdict form will be getting

13:38:08 11    shorter.    Good deal.   I think we're ready to bring the panel

13:38:11 12    in.

13:38:11 13                  Ms. Smith, you all ready to go?

13:38:13 14                  MS. SMITH:    I'm ready.

13:38:16 15                  THE COURT:    I know sometimes you can't hear but

13:38:19 16    if you drop your voice I probably won't be able to hear you,

13:38:22 17    speak up just a little bit.

13:38:24 18                  MS. SMITH:    I will Your Honor, I didn't realize

13:38:26 19    I was talking so softly.

13:38:28 20                  THE COURT:    No problem, I didn't say anything

13:38:31 21    earlier, but it was kind of hard to hear.

13:38:34 22                  MS. SMITH:    Okay.

13:38:38 23                  THE COURT:    It's hard for me to hear.    Maybe

13:38:41 24    somebody else could.

13:38:57 25                  (Jury entering the courtroom at 1:38 p.m.)
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13:39:04   1                  THE COURT:    All right, everyone can be seated.

13:39:15   2   And counsel may proceed.

13:39:18   3   BY MS. SMITH:

13:39:21   4   Q.      So, Dr. Darveaux, when we last left off right before

13:39:24   5   lunch, we finished -- we finished trade secret Group 4.           Do

13:39:29   6   you remember that?

13:39:30   7   A.      Yes.

13:39:30   8   Q.      So we're going to now move on to trade secret Group

13:39:34   9   5.   May I have PDX 6.78, please?

13:39:40 10                   All right.    Here is Dr. Shanfield's

13:39:47 11    demonstratives listing the documents he analyzed for Group

13:39:51 12    5.   Dr. Shanfield testified to these documents containing

13:39:55 13    alleged trade secrets.       Those documents are PTX 739, 785,

13:40:05 14    1089, and 114.      Did you review all four of these documents

13:40:11 15    in their entirety?

13:40:12 16    A.      I did.

13:40:13 17    Q.      May I have the next slide, please?

13:40:16 18                   And for the record, those would be trial

13:40:26 19    Exhibits 32, 6, 7, and 34.

13:40:34 20                   All right.    So let's move on to PDX 6.80.

13:40:47 21                   Here is Dr. Shanfield's demonstrative regarding

13:40:53 22    alleged trade secrets 5.1 and 5.2.        Dr. Darveaux, have you

13:40:57 23    seen products and technology development procedures before?

13:41:00 24    A.      Yes.

13:41:01 25    Q.      Are they well-known?
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13:41:04   1   A.     Yes, they're well-known.

13:41:06   2   Q.     Have you ever heard of something called a stage gate

13:41:09   3   structure?

13:41:10   4   A.     Yes, I have.

13:41:11   5   Q.     Have you ever used one?

13:41:12   6   A.     Yes, I have.

13:41:14   7   Q.     Would it surprise you if two companies had similar

13:41:23   8   looking documents describing stage gate structures?

13:41:28   9   A.     Well, no.    I mean, so this concept or format has been

13:41:33 10    around for some time.     There was a review paper I found from

13:41:39 11    2000 which was reviewing people in the '90s.        And comparing

13:41:46 12    different ideas about it.     I, myself though was on a team at

13:41:50 13    Amkor that redrafted the procedures they already had in

13:41:53 14    place, so they had something in place and we kind of

13:41:57 15    redrafted it and undated it and that was around 1998,

13:42:00 16    roughly.

13:42:01 17                 Motorola had something like this when I was

13:42:04 18    there, Skyworks had something when I was at Skyworks, so I

13:42:09 19    have direct knowledge of several cases and I found it in

13:42:23 20    this case.

13:42:29 21                 MS. SMITH:    Your Honor, may I approach the

13:42:30 22    witness, please?

13:42:31 23                 THE COURT:    You may.

13:42:39 24    BY MS. SMITH:

13:42:50 25    Q.     Dr. Darveaux, I just handed you DTX 592 and 593.         Do
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13:42:58   1   you recognize these two documents?

13:43:00   2   A.     I do.

13:43:01   3   Q.     Did you consider them in forming your opinions?

13:43:05   4   A.     I did.

13:43:09   5                  MS. SMITH:   Your Honor, I move to have DTX 592

13:43:13   6   and DTX 593 admitted into evidence, please.

13:43:17   7                  THE COURT:   Marked and received as the next

13:43:19   8   numbered exhibits, and I'll check on that.      349 and 350.

13:43:27   9                  (Trial Exhibit Nos. 349 and 350 were admitted

13:43:30 10    into evidence.)

13:43:30 11    BY MS. SMITH:

13:43:36 12    Q.     Would you please pull up DTX 592 and 593, please.

13:43:50 13    Dr. Darveaux, what are these two documents?

13:43:52 14    A.     So the one on the left is the publication of the

13:43:58 15    documents, so it tells the author.     And the date it was

13:44:05 16    published in 2000, you can see the title "accelerating

13:44:09 17    product developments via phase gate processes", and it shows

13:44:13 18    where the paper was presented.     And the one on the right is

13:44:17 19    the actual paper itself.

13:44:18 20    Q.     Can you please turn to page 2 and take a look at the

13:44:22 21    figure on that page.    What does Figure 2 show?

13:44:27 22    A.     So, again, this is the basic idea, right?       You can

13:44:31 23    break a project into phases, and typical names would be

13:44:37 24    concept, development, production, et cetera.       But then in

13:44:41 25    between each phase if you want to get from one phase to the
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13:44:44   1   next phase, there is a gate, there is a meeting that has to

13:44:48   2   review all the data you gathered in this phase and say okay,

13:44:51   3   you're still on track, then move on to the next phase.          This

13:44:55   4   is the basic idea.     And many, most companies I would say

13:45:00   5   have something like this in their method of developing

13:45:04   6   products.

13:45:05   7   Q.        So is this particular design that we see on the

13:45:13   8   screen here, Exhibit 1 from -- on the page, is that

13:45:19   9   particular to a product or a set of products?

13:45:22 10    A.        So, no.   I mean, many industries, in fact, if you

13:45:28 11    look at the review paper, they call out lots of different

13:45:31 12    people that have published this.       But if you read the data

13:45:35 13    actually in the phase gate review, it can apply to many

13:45:39 14    things.

13:45:39 15                   If you look at the documents we're going to look

13:45:42 16    at, you can't actually tell what they're developing, it's

13:45:45 17    just kind of a template to show here are the things you

13:45:48 18    should consider and in the real project there is going to be

13:45:51 19    data behind all those and files that you're capturing in the

13:45:55 20    actual project.

13:45:57 21    Q.        May I have PDX 6.80.

13:46:04 22                   So here is Dr. Shanfield's demonstrative about

13:46:10 23    trade secrets 5.1 and 5.2 again, which you just testified

13:46:15 24    about, Dr. Darveaux.     Now, in Dr. Shanfield's demonstrative,

13:46:20 25    you can see that he called out something called stage
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13:46:25   1   objectives, and you can see there it has little black

13:46:30   2   diamonds along in a horizontal line.     Is this a stage gate

13:46:42   3   process that Dan had discussed?

13:46:48   4   A.     This is an example of a stage gate process similar to

13:46:52   5   what was shown in that review article.

13:46:55   6   Q.     So, for example, under PD 7 ramp down stage on the

13:47:00   7   right, is notifying customers something that is generally

13:47:06   8   done by companies?

13:47:08   9   A.     Absolutely, so, for example, we call it end of life

13:47:14 10    builds and things like that.    If you're building and

13:47:16 11    manufacturing something for a customer, you're planning on

13:47:18 12    ramping it down, you have to notify them, you have to say

13:47:23 13    hey, this is your last chance by January of next year we're

13:47:27 14    going to stop the production, so they get to put in their

13:47:30 15    last order, that's the idea so they can decide how many they

13:47:33 16    want to build to have enough stock to go on or to get a

13:47:37 17    different supplier if that's the idea.      So customer

13:47:41 18    notification is important.

13:47:42 19    Q.     So let's go back to the demonstrative itself.        On the

13:47:47 20    demonstrative, you can see highlighted Qorvo, Inc. for Qorvo

13:47:53 21    internal use only, Qorvo confidential and proprietary

13:47:56 22    information, and then there is the legend on the bottom.

13:48:00 23    This is a confidential document.     Is there anything that is

13:48:05 24    trade secret in the documents you have seen?

13:48:09 25    A.     I did not see anything trade secret in these
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13:48:12   1   documents.

13:48:12   2   Q.       What about confidential, is this information

13:48:15   3   confidential?

13:48:17   4   A.       Well, the document is stamped confidential, but as

13:48:20   5   far as it being known and widely known, it's widely known.

13:48:26   6   I guess it depends on the definition of confidential in that

13:48:30   7   sense.   So things that are widely known, I guess they're not

13:48:34   8   capable of being confidential, I think that's a legal, I

13:48:37   9   guess, I think that's a legal definition related to that.

13:48:40 10    Q.       Did Akoustis achieve a head-start by having this

13:48:43 11    information?

13:48:44 12    A.       No.

13:48:44 13    Q.       Did Akoustis use this information?

13:48:48 14    A.       Not that I am aware of.      I didn't see any evidence of

13:48:51 15    use.

13:48:52 16    Q.       Okay.    Let's move on to PDX 6.81.

13:48:59 17                     So here is Dr. Shanfield's demonstrative

13:49:05 18    regarding alleged trade secrets 5.3 through 5.5.

13:49:11 19    Dr. Darveaux, what is a product requirements document?

13:49:15 20    A.       So I don't know if that's a standard term in the

13:49:19 21    industry or not, but certainly that's the term that Qorvo

13:49:22 22    was using.     It's basically a spreadsheet that captures on

13:49:25 23    different sheets within the spreadsheet different aspects of

13:49:28 24    a project and what the requirements are.         And it's used to

13:49:31 25    communicate between groups in the company.         So most
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13:49:36   1   companies have that sort of thing, whether or not they call

13:49:38   2   it a PRD is not really relevant, I don't think.           But you

13:49:43   3   have to communicate between say the factory and the business

13:49:46   4   team or the sales and the business team or R & D and product

13:49:50   5   management, there is different communication that has to

13:49:54   6   happen.    So spreadsheets are a convenient way to do that.

13:49:59   7   Q.        Have you ever used, seen, or drafted one?

13:50:01   8   A.        Sure.

13:50:02   9   Q.        Is the use of a PRD to track and document product

13:50:06 10    development process trade secrets?

13:50:09 11    A.        No.   Using these type of things is a common method.

13:50:14 12    You can use an Excel spreadsheet or you can have third-party

13:50:18 13    software, there are things you can buy to do it, it's

13:50:21 14    commonly used.

13:50:22 15    Q.        May I have PTX 111, please, and that's Trial

13:50:28 16    Exhibit 33.

13:50:31 17                      Do we have the native?   Can you click on the

13:50:52 18    overview tab and then scroll all the way to the top.            Okay.

13:50:59 19                      What product is this particular PRD for,

13:51:04 20    Dr. Darveaux?

13:51:04 21    A.        So this is for QPF7250, so that's a Qorvo product,

13:51:10 22    and it's a front-end module.        A front-end module would have

13:51:15 23    a power amplifier, one or more, and switches and then maybe

13:51:19 24    some passive devices maybe like capacitors and maybe some

13:51:24 25    filters, depends on the design of the module, that's a
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13:51:28   1   front-end module that would go into a mobile product like a

13:51:32   2   cell phone.

13:51:32   3   Q.      Is this document something that's useful to Akoustis?

13:51:35   4   A.      No.

13:51:35   5   Q.      Why not?

13:51:36   6   A.      Well, so first of all, like I said, the format and

13:51:39   7   the idea of the document are commonly used.        The actual

13:51:43   8   specifications in the document are not for products they

13:51:47   9   make.   And even if there is a filter in that product shown

13:51:50 10    here, that is still not for Akoustis to get the data from

13:51:55 11    this document.     They want to get that specification data

13:51:58 12    from the customer so it's not useful to them in that sense.

13:52:02 13    Q.      May I have PTX 114 in native, please?        And can you

13:52:13 14    scroll all the way up?

13:52:14 15                    So what kind of product is this PRD for,

13:52:19 16    Dr. Darveaux?

13:52:19 17    A.      So this is a QPF4551, it's also another front-end

13:52:27 18    module, pretty much.

13:52:27 19    Q.      Same issue?

13:52:28 20    A.      Everything I just said would apply to this one as

13:52:31 21    well.

13:52:34 22    Q.      Okay.    All right.

13:52:36 23    A.      One more point I just noticed like the cost target, I

13:52:40 24    think that was brought up earlier in the trial.         The cost

13:52:43 25    target for a front-end module is going to be much higher
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13:52:46   1   than just for a little filter that goes inside of it, so

13:52:50   2   that data is not useful to Akoustis.

13:52:52   3   Q.     May I have PDX 6.81 again, please?

13:52:58   4                  All right.   So to sum up, do you agree with

13:53:03   5   Dr. Shanfield that these documents contain trade secrets?

13:53:06   6   A.     No.

13:53:07   7   Q.     Did Akoustis achieve a head-start by having this

13:53:10   8   information?

13:53:10   9   A.     They did not.

13:53:12 10    Q.     Did Akoustis use these documents?

13:53:14 11    A.     I saw no evidence of use.

13:53:18 12    Q.     All right.    May I have PDX 6.82, please?

13:53:28 13                   So now we're on to characterization test plan

13:53:32 14    and here is Dr. Shanfield's demonstrative about alleged

13:53:37 15    trade secrets 5.5.    And he used three documents in his

13:53:43 16    analysis.    Let's zoom in on the one on the left.      And that

13:53:46 17    one is PTX 1089, Trial Exhibit 7.

13:53:51 18                   What type of product is this test plan for,

13:53:55 19    Dr. Darveaux?

13:53:55 20    A.     It's some sort of integrated circuit.        I'm not

13:53:59 21    exactly sure what the function of it is, but you can see,

13:54:03 22    you know, it has voltage and current inputs and things that

13:54:09 23    -- I don't know what it does, it's some sort of integrated

13:54:12 24    circuit, it's not a BAW filter for sure.

13:54:14 25    Q.     Is this document useful to Akoustis?
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13:54:18   1   A.        No.

13:54:20   2   Q.        Because why?

13:54:21   3   A.        Well, again, you got the format of the document is

13:54:25   4   very common, standardized practically.          The data in the

13:54:30   5   document is for a product they don't make.

13:54:34   6   Q.        Okay.   So let's go back to the demonstrative

13:54:37   7   underneath and let's zoom in on the spreadsheets on the

13:54:41   8   right.    Those are PTX 88 and 89, which are Trial Exhibits 35

13:54:47   9   and 61.    Can you tell, Dr. Darveaux, what products these are

13:54:51 10    for?

13:54:52 11    A.        So the one furthest to the right is a spreadsheet for

13:54:58 12    RFSW, so that's a switch, which is again the product that

13:55:03 13    Akoustis does not make.        The one far to the left is SW8009.

13:55:11 14    Again, that's another switch type product.          And I don't know

13:55:14 15    if that center spreadsheet, it might be a second page of one

13:55:19 16    of them.    I can't tell from this.

13:55:22 17    Q.        So the fact that they are switches, does that tell

13:55:25 18    you whether these spreadsheets would be useful to Akoustis?

13:55:30 19    A.        Yeah, they're not useful.      It tells me that they're

13:55:34 20    not useful because it's not a product they make.           The format

13:55:37 21    is not unique, or it's well-known.         The data in there is not

13:55:43 22    useful.    If they wanted specifications on filters, they go

13:55:45 23    to their customers for that.

13:55:47 24    Q.        How much time to market head-start did Akoustis

13:55:50 25    achieve by having these documents?
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13:55:52   1   A.     No head-start.

13:55:55   2   Q.     All right.      So those are all of the Group 5 trade

13:56:02   3   secrets, alleged trade secrets and documents.         Switching

13:56:07   4   gears, did you do an avoided cost analysis for Group 5 where

13:56:16   5   you assumed that the documents did include trade secrets?

13:56:19   6   A.     I did.

13:56:20   7   Q.     Okay.    So may I have DDX 3.60, please.

13:56:26   8                  Are these the charts that you used to do your

13:56:30   9   analysis?

13:56:35 10    A.     Yes.     There is five different charts because there

13:56:41 11    was five different documents or types of documents.         And I

13:56:45 12    did the same type of analysis I showed before where I

13:56:50 13    compared it if there was anything in Akoustis that even

13:56:53 14    reassembled it and anything you can find outside online or

13:56:58 15    through some other way, and I did the same type of analysis

13:57:01 16    to estimate the engineering hours saved potentially by

13:57:06 17    Akoustis by having access to the Qorvo documents and then

13:57:10 18    was there any document cost.

13:57:12 19    Q.     May I have DDX 3.61, please.

13:57:18 20                   Okay.   So to confirm that the data entry on this

13:57:30 21    slide is correct, there are X's for trade secret and

13:57:35 22    head-start and the document cost and engineering costs are

13:57:39 23    entered here?

13:57:39 24    A.     So for Group 5, we're talking about here product

13:57:43 25    development process and testing procedures, I found no trade
  Case 1:21-cv-01417-JPM     Document 714-2 Filed 10/29/24 Page 1798 of 2283 PageID
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13:57:47   1   secrets.    I found no head-start was achieved.       There was no

13:57:53   2   document costs when I tried to search for that kind of

13:57:57   3   information, you know, as far as whatever I found, they were

13:58:01   4   pretty standard, the things, and I estimated sixty-four

13:58:05   5   engineering hours could have been saved if Akoustis had used

13:58:08   6   those documents.

13:58:09   7   Q.      Okay.    Now, in the row for Group 4, I notice that

13:58:15   8   there was a zero and a two, but we had not gone over your

13:58:19   9   analysis for Group 4 yet, so I would like to go back and do

13:58:23 10    that.

13:58:24 11    A.      Okay.

13:58:25 12    Q.      I think I was too excited to go to lunch, so sorry

13:58:29 13    about that.

13:58:29 14                    Can we have DDX 3.53, please -- I'm sorry, 3.52.

13:58:38 15                    Is this the analysis you did for Group 4's

13:58:42 16    avoided costs?

13:58:43 17    A.      Yeah.    This was again the connector as you guys

13:58:47 18    recall, and basically the engineering task is called the

13:58:52 19    supplier and ask for the equivalent design or that exact

13:58:56 20    design, two hours.

13:58:57 21    Q.      And when you did this analysis, did you assume that

13:59:00 22    there was trade secret?

13:59:03 23    A.      Yeah, all these analyses have to assume that, that's

13:59:07 24    the point of that type of analysis.

13:59:10 25    Q.      Let's go into Group 6.      May I have PDX 6.993 --
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13:59:18   1   6.100.

13:59:23   2                    All right.   So here is Dr. Shanfield's list of

13:59:26   3   alleged trade secrets in Group 6.        Did you consider each of

13:59:29   4   these alleged trade secrets?

13:59:31   5   A.       I did.

13:59:32   6   Q.       May I have PDX 6.101, please.

13:59:39   7                    May I have six point -- oh, I'm sorry, no, this

13:59:46   8   is the one I want.

13:59:47   9                    Here is Dr. Shanfield's demonstrative listing

13:59:50 10    the single document he analyzed for Group 6.          Dr. Shanfield

13:59:54 11    testified that particular pages in PTX 99, which is Trial

14:00:00 12    Exhibit 14, contained the alleged trade secrets in Group 6.

14:00:03 13                     Did you review Trial Exhibit 14, Dr. Darveaux?

14:00:07 14    A.       I did.

14:00:08 15    Q.       In its entirety?

14:00:09 16    A.       In its entirety.

14:00:11 17    Q.       Okay.    Did you see any trade secrets in Trial

14:00:15 18    Exhibit 14?

14:00:15 19    A.       No.

14:00:16 20    Q.       So let's go to DDX 3.63.      All right.   Dr. Darveaux,

14:00:27 21    what's shown on this page?

14:00:28 22    A.       Okay.    So this set of alleged trade secrets coming

14:00:34 23    from this document are about reliability testing,

14:00:37 24    essentially.

14:00:38 25                     And this is one of the most standardized areas
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14:00:42   1   in our whole industry.        So I pulled several of the standards

14:00:46   2   here, these are free to anybody.         They have been in use a

14:00:50   3   long time.      But you can kind of see the list.       There are

14:00:53   4   standards on, you know, mathematical models, how to do

14:00:58   5   temperature cycling, how to do power cycling, how to do high

14:01:01   6   temperature operation life, which is kind of what this

14:01:05   7   specific test we're going to talk about is that's in that

14:01:08   8   category, it talks about power amplifier modules, how to

14:01:12   9   calculate failures in terms of fit, that's one of the terms

14:01:16 10    used in this document.        There are many, many standards that

14:01:19 11    are in place, and this is a common requirement for anybody

14:01:24 12    supplying in the industry to be able to do these types of

14:01:27 13    tests.

14:01:27 14                    Depending on your product type, the equipment

14:01:30 15    that runs the device might be a little different, but

14:01:33 16    chambers and methodologies and failure models and

14:01:37 17    calculating energy activation, all of those things are very

14:01:41 18    standardized and well-known in the industry.

14:01:43 19                    MS. SMITH:    Your Honor, may I approach the

14:01:46 20    witness?

14:01:47 21                    THE COURT:    You may.

14:02:02 22    BY MS. SMITH:

14:02:09 23    Q.       Dr. Darveaux, I just handed you two documents, one of

14:02:13 24    which is DTX 961.       Do you have that in front of you?

14:02:18 25    A.       Yes.
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14:02:19   1   Q.     So earlier we talked about an Amkor copper buff web

14:02:27   2   page that you had found on the internet and downloaded

14:02:30   3   through Wayback Machine.      Do you remember that?

14:02:32   4   A.     Yes.

14:02:33   5   Q.     Is DTX 961 the document?

14:02:37   6   A.     Yeah, this is an affidavit again from the same guy,

14:02:42   7   that Nathaniel Frank Wright, of The Internet Archive, that's

14:02:47   8   what it is.

14:02:52   9                  MS. SMITH:   Your Honor, I move to enter DTX 961

14:02:56 10    into evidence.

14:02:57 11                   THE COURT:   Marked and received as 351.

14:03:00 12                   (Trial Exhibit No. 351 was admitted into

14:03:01 13    evidence.)

14:03:01 14    BY MS. SMITH:

14:03:10 15    Q.     Dr. Darveaux, I also handed to you DTX 614.         Do you

14:03:15 16    have that in front of you?

14:03:16 17    A.     I do.

14:03:17 18    Q.     What is that document?

14:03:18 19    A.     So this is an example of one of the JEDEC standards,

14:03:23 20    this one talks about methods of calculating failure rates

14:03:26 21    and use of FIT.

14:03:27 22    Q.     Did you use this when you were forming your opinions?

14:03:33 23    A.     Yes.

14:03:36 24                   MS. SMITH:   Your Honor, I move to enter DTX 614

14:03:40 25    into evidence.
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14:03:41   1                 THE COURT:   Marked and received as 352.

14:03:47   2                 (Trial Exhibit No. 352 was admitted into

14:03:49   3   evidence.)

14:03:49   4   BY MS. SMITH:

14:03:54   5   Q.     All right.    May I see DTX 614, please.

14:03:57   6                 Dr. Darveaux, what is a failure rate?

14:04:05   7   A.     That's the rate of failure typically they're talking

14:04:09   8   about in the field, so if you ship a product into the field,

14:04:13   9   sometimes they fail, so this talks about the rate at which

14:04:16 10    they're failing, how many per day, or how many per hour,

14:04:20 11    things like that.

14:04:22 12    Q.     May I see PTX 0099, please, Trial Exhibit 14?

14:04:28 13                  So Dr. Darveaux, this is the loan document that

14:04:35 14    Dr. Shanfield relies on for a trade secret Group 6.        Would

14:04:42 15    you please turn to page 3.

14:04:46 16                  Have you seen this page before?

14:04:52 17    A.     I have.

14:04:53 18    Q.     What is the significance of this information being on

14:04:58 19    page 3 of the document?

14:04:59 20    A.     Well, so what they're saying is at that time, the

14:05:04 21    2015 time frame when this document was formed, TriQuint had

14:05:09 22    been using two different models to predict the life of

14:05:15 23    filters, either SAW or BAW devices, same methodology applies

14:05:20 24    to both.    The model one was based on a paper that was

14:05:23 25    published in 1998 by a man named Satoh, and others, and
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14:05:32   1   model 2 was more like a standard semiconductor model that

14:05:37   2   you'll find like for example in one of these standards that

14:05:40   3   I mentioned, I can show you that.      So model 2 depends on a

14:05:49   4   Arrhenius equation, that's a very common equation in

14:05:53   5   engineering.     It describes how things change with

14:05:56   6   temperature.     I don't know if you have heard that term, but

14:06:02   7   we use it a lot.

14:06:08   8   Q.       May I have PTX 101?   May I have PTX 102?

14:06:15   9                   Here is Dr. Shanfield's slide regarding alleged

14:06:19 10    trade secret 6.1, and it looks like he analyzed pages 6 and

14:06:25 11    24 from the testing presentation we have been talking about,

14:06:30 12    PTX 0099.

14:06:34 13                    Does this page contain information helpful to

14:06:36 14    know how to set up Qorvo's testing systems and processes?

14:06:42 15    A.       Well, the one on the left is a schematic of some test

14:06:50 16    lab in Qorvo, that was your question, is it related to

14:06:54 17    Qorvo?   Yes.

14:06:55 18    Q.       Well, is there enough detail to be helpful to an

14:06:59 19    engineer to set up such a testing system?

14:07:02 20    A.       If it's not in Qorvo?

14:07:05 21    Q.       Not in Qorvo?

14:07:06 22    A.       No, that's not what your question was.      If you're not

14:07:09 23    in Qorvo, it's just a schematic of something that exists in

14:07:13 24    Qorvo.   It's, again, very little detail, and none of this is

14:07:18 25    secret information in terms of the industry, it's
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14:07:21   1   well-known, how to create a schematic

14:07:26   2                                       that's kind of what this is

14:07:30   3   describing.

14:07:30   4   Q.     Can I have DDX 3.64, please?

14:07:37   5                 Dr. Darveaux, did you create this slide?

14:07:45   6   A.     Yes.

14:07:46   7   Q.     Where did the information on the right come from?

14:07:51   8   A.     So the information on the right was pulled out of one

14:07:55   9   of the JEDEC specs, I don't recall which one it was off the

14:08:00 10    top of my head.     But this shows what's called the Eyring

14:08:04 11    model, so time to failure, TTF is a function of the

14:08:10 12    parameters on the right.

14:08:13 13                  So you see that EXP, exponential of EAA, that's

14:08:20 14    the activation energy, EAA, one over KTE, K is volts

14:08:27 15    constant, T is absolute temperature, so that gives the

14:08:31 16    temperature effect.     So if you do a test at higher

14:08:34 17    temperature, usually things fail faster, that's basically

14:08:38 18    what this is.

14:08:39 19                  If you know that constant EAA, that gives you an

14:08:43 20    equation that you can calculate how fast, how much quicker

14:08:47 21    they fail by testing at a higher temperature.

14:08:50 22                  The front of this, a lot of times all you do is

14:08:53 23    vary temperature and all you need is that part of the

14:08:55 24    equation.   Sometimes you may vary things like the stress

14:09:00 25    either by in the case of, you know, the current density, or
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14:09:08   1   power level, so that would be another factor that might also

14:09:12   2   affect the failure rate.      And a lot of times we use a power

14:09:16   3   off for that one.       So this is just a basic kind of equation

14:09:21   4   that's used in the industry.

14:09:24   5   Q.       So let's go back to the underlying slide.

14:09:28   6                    Shown on the left there is page 24 in Qorvo's

14:09:35   7   document.

14:09:36   8                    Are you telling me that the Arrhenius equation

14:09:41   9   is somehow in this slide?

14:09:42 10    A.       Yeah.    So if you look at the top, the inputs are

14:09:47 11                                                      that would be

14:09:51 12    like the test condition

14:09:57 13                                            that would be the field

14:10:01 14    condition you're trying to estimate.      If I get test results

14:10:04 15                                                                   .

14:10:08 16                     That                      that activation

14:10:11 17    energy, you have to measure experimentally on your product.

14:10:14 18    When you change your product, that number will change, you

14:10:17 19    have to re-get that constant each time.

14:10:19 20                     So based on those things and the equation that's

14:10:23 21    shown under formula, that's basically that your Arrhenius

14:10:27 22    equation,

14:10:32 23


14:10:35 24                                                   That's what that's

14:10:39 25    about.
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14:10:40   1   Q.      Okay.    So other than the well-known Arrhenius

14:10:45   2   equation, what other inputs go into this spreadsheet?

14:10:49   3   A.      Again, the next grouping is talking

14:10:52   4

14:10:56   5                           depends on what you're talking about.

14:10:59   6   But so if you run the test

14:11:03   7

14:11:06   8

14:11:11   9

14:11:14 10


14:11:15 11                    So in this case,

14:11:19 12         didn't get the units, but I'm pretty sure that's what

14:11:23 13    they mean, and                           so when they're using

14:11:28 14    the filter, you're running that much power through it, and

14:11:32 15    the power factor,

14:11:36 16


14:11:42 17

14:11:46 18

14:11:48 19


14:11:55 20


14:12:00 21


14:12:04 22

14:12:09 23


14:12:11 24    Q.      Where would all those other inputs come from?

14:12:14 25    A.      So the things like                          or the
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14:12:17   1                               the customer tells you that.     I'm

14:12:20   2   going to run your filter at certain power level through it,

14:12:23   3   here is the ambient in my system, so those inputs come from

14:12:26   4   the customer.

14:12:27   5                    Some of the data, some of the inputs are

14:12:30   6   measured on your product,

14:12:33   7                     you have to do testing to get those inputs.

14:12:38   8   Q.       So is there any trade secret in this document?

14:12:41   9   A.       No, this is a spreadsheet calculator which has inputs

14:12:45 10    that are coming from different places.         It's a tool used by

14:12:49 11    engineers in this area to calculate life, essentially.

14:12:55 12    Q.       Can I go back to PDX 102, please.       6.102, I think it

14:13:02 13    is.

14:13:05 14                     So we're back to Dr. Shanfield's demonstrative.

14:13:13 15    Did Akoustis achieve any head-start by having these

14:13:17 16    documents?

14:13:18 17    A.       No.

14:13:19 18    Q.       Did Akoustis use these documents?

14:13:22 19    A.       Not to my knowledge.

14:13:24 20    Q.       Okay.    So let's move on to PDX 6.103, please.       All

14:13:32 21    right.   So this is Dr. Shanfield's demonstrative for alleged

14:13:37 22    trade secret 6.2.      This is the same page 6 on the left that

14:13:42 23    we have been talking about.       But on the right, we have a

14:13:47 24    photo, which is page 7.       Does page 7 contain any trade

14:13:57 25    secrets?
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14:13:57   1   A.      No.   This is a picture of the laboratory that does

14:14:01   2   the reliability testing.      So in the industry, you would call

14:14:05   3   that a high temperature operation life, any semiconductor

14:14:10   4   company or filter company, any kind of company that's making

14:14:14   5   components for the industry has to do these types of tests.

14:14:18   6   So the specifics of how they set up, you know, the

14:14:21   7   equipment, how many units they want to test simultaneously,

14:14:27   8   which supplier they pick for the oven, which suppliers they

14:14:30   9   pick for the electronics, how they exercise the electronics,

14:14:34 10    that's up to the engineering choice and your budget

14:14:37 11    essentially of the guy setting up the lab, but everybody has

14:14:41 12    this type of lab.     This is just a picture of it.      There is

14:14:44 13    no detail here of that whole equipment list or anything like

14:14:47 14    that.   If I was going to set up my own lab, I can't use this

14:14:51 15    to get there.

14:14:52 16    Q.      So did having this information give Akoustis any

14:14:58 17    head-start?

14:14:58 18    A.      No.

14:15:00 19    Q.      Did Akoustis use this information?

14:15:01 20    A.      Not to my knowledge.

14:15:04 21    Q.      All right.    Let's move forward to PDX 6.104, please.

14:15:10 22                  So here is Dr. Shanfield's demonstrative that

14:15:14 23    identifies slide 15 in PTX 99, which is Trial Exhibit 14, as

14:15:21 24    containing trade secrets.      Does this slide contain any trade

14:15:25 25    secrets?
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14:15:25   1   A.        No.

14:15:27   2   Q.        Why do you say that?

14:15:30   3   A.        Well, I mean, the three trade secrets that are

14:15:34   4   alleged are shown on the right, for example.           Models for

14:15:38   5   self heating, this is not a model for self heating.           It

14:15:42   6   mentions self heating in the words.         Self heating is when

14:15:47   7   you run power through the device or a device is powered it

14:15:51   8   heats up, that's what that means, it's heating up itself,

14:15:55   9   that's common to really any electronics.

14:15:57 10                    So then the next two things are starting to talk

14:16:01 11    a little bit more about this figure and the picture.            A

14:16:05 12    process where they measured temperature and indirectly

14:16:08 13    determine the temperature by the shift in frequency of the

14:16:11 14    filter.    So this is a known characteristic of SAW filters

14:16:15 15    and BAW filters, it's often times specified.           And it's what

14:16:21 16    I talked about before, if the customer says I need it to

14:16:24 17    work between these two temperature ranges, you got to

14:16:28 18    understand that your filter is going to shift some from hot

14:16:31 19    to cold or cold to hot, you got to make sure you design it

14:16:34 20    so it stays in it, that's called a temperature coefficient

14:16:38 21    of frequency that's used.        That's a term to describe the

14:16:41 22    amount of shift.       That's a known thing.

14:16:44 23                    You can use an oven to change temperature

14:16:46 24    without changing the power and you'll see a frequency shift

14:16:49 25    and you basically measured that thing, right, you know how
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14:16:52   1   much you changed the temperature in the oven and you have

14:16:55   2   seen how much the frequency shifts, that's a way someone

14:16:58   3   would measure.    This is a known thing.

14:16:59   4                  In the specific test configuration shown here,

14:17:04   5   this, again, this is commonly known and it even matches

14:17:08   6   quite well to the document that was called out earlier in

14:17:11   7   this document, the Satoh paper.

14:17:15   8   Q.     I think we have that.

14:17:16   9   A.     But again, it's up to the engineer to settle that up.

14:17:19 10    Q.     Can I have DDX 3.68, please.

14:17:23 11                   Is this the one you're talking about?

14:17:29 12    A.     Yeah.     So we compared that, we, I should say I,

14:17:34 13    compared that document, you see the figure here and the

14:17:39 14    Satoh figure, I believe it was nine on the left, and then

14:17:45 15    you know, we just highlighted what were the ones that were

14:17:48 16    common in this set up versus the one on the right.       It's

14:17:52 17    kind of configured different on the drawing, but essentially

14:17:56 18    those elements are there, and if they're not there, they're

14:18:00 19    close enough to be in there, that's the idea.       You can go on

14:18:03 20    the outside and get this done.

14:18:05 21                   One thing I done, I took the Satoh paper, sent

14:18:08 22    it to an outside lab, can you perform this testing, do you

14:18:12 23    have that equipment, and immediately they said they could,

14:18:14 24    they wanted to get a quote going, I didn't want to do that,

14:18:18 25    I just wanted to know that you could get it done to the
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14:18:20   1   outside, which I knew.

14:18:21   2   Q.     Let's go back to PDX 6.103.

14:18:35   3                 Dr. Darveaux, does this slide contain any

14:18:38   4   information that is a trade secret?

14:18:39   5   A.     No.

14:18:40   6   Q.     Did having this information give Akoustis any

14:18:44   7   head-start?

14:18:45   8   A.     It did not.

14:18:46   9   Q.     Did Akoustis use this information?

14:18:49 10    A.     I'm not aware of any evidence that they used it.          You

14:18:53 11    know, they had been doing this kind of testing already, you

14:18:56 12    know, there is e-mails that I think I referenced in my

14:19:01 13    report where they had done some -- already had done some

14:19:04 14    power testing, they were doing this, they had already been

14:19:08 15    entering types of data, when they got this document, they

14:19:11 16    were already on their way to doing this, it's all pretty

14:19:14 17    standard stuff in our industry as well.

14:19:17 18    Q.     All right.     Let's move on to the trade secrets -- the

14:19:22 19    last one, PDX 6.105.

14:19:28 20                  Here is Dr. Shanfield's demonstrative that

14:19:31 21    identifies slide 23 of PTX 99, which is Trial Exhibit 14 as

14:19:38 22    containing trade secrets.      Does this slide contain any trade

14:19:41 23    secrets?

14:19:41 24    A.     No.    Further, the alleged trade secret doesn't

14:19:48 25    describe the slide or vice versa, they don't go together, I
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14:19:53   1   don't know if they mixed that up here.          But the trade secret

14:19:55   2   that's alleged here is the method of determining a filter

14:20:00   3   temperature by measuring the shift in frequency that we have

14:20:03   4   been talking about right.

14:20:04   5                   What's shown on the left is the method of

14:20:05   6   determining the activation energy of your parts when they

14:20:08   7   fail, so you run three different temperature tests and you

14:20:12   8   record the failures and then you plot time to failure versus

14:20:17   9   the temperature, you do 1 over KT because that's the

14:20:23 10    Arrhenius equation I'm looking for.         You curve it through

14:20:26 11    that and get the activation energy, that's what's shown in

14:20:29 12    the chart, not what's described in the alleged trade secret.

14:20:33 13                    Secondly, this kind of stuff was talked about

14:20:35 14    yesterday where I believe the opposing counsel called out 1

14:20:38 15    over T as the power.       That's not the power.     That's one

14:20:41 16    divided by the absolute temperature.

14:20:44 17                    In this particular type of test, you do not vary

14:20:48 18    the power, you want to vary just temperature that's how you

14:20:52 19    can cleanly pull out the activation energy.

14:20:55 20    Q.        Does slide 15 contain any information that is a trade

14:20:59 21    secret?

14:20:59 22    A.        No.

14:20:59 23    Q.        And did having this information give Akoustis any

14:21:03 24    head-start?

14:21:04 25    A.        It did not.
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                                        #: 41784                              2135
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14:21:06   1   Q.        Are you aware of Akoustis making use of this

14:21:09   2   information?

14:21:09   3   A.        I am not aware of that.    They already had this

14:21:12   4   capability to -- as far as the slide goes, they already had

14:21:17   5   this capability and knowledge to calculate activation

14:21:20   6   energy.    As far as the text goes, they already were aware of

14:21:24   7   that, that is obvious to anybody that's in the filter

14:21:28   8   business.    And those two things don't go together obviously

14:21:33   9   as I said.

14:21:34 10    Q.        So you've talked about how Group 6, they're not trade

14:21:40 11    secrets and Akoustis did not achieve any head-start with

14:21:44 12    them.

14:21:45 13                      Did you do an analysis where you assumed that

14:21:47 14    these were trade secrets and then figured out the avoided

14:21:51 15    costs?

14:21:51 16    A.        Yeah, so for the purpose of avoided costs, you have

14:21:55 17    to assume they are and then try to estimate what was the

14:21:58 18    value, what was the value of having that document.

14:22:00 19    Q.        So may I have DDX 3.71, please.

14:22:04 20                      This looks like it's a little bit different, but

14:22:14 21    is this your chart?

14:22:15 22    A.        Yeah.

14:22:16 23    Q.        Okay.    What did your analysis determine?

14:22:19 24    A.        Okay.    So again the format is you got the Qorvo

14:22:24 25    document at the top, if I found any Akoustis documents that
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14:22:28   1   were similar, I called them out.     If there were any pages

14:22:31   2   similar, I gave two hours of engineering credit.       You know,

14:22:35   3   they saw that page, it saved them -- they had to generate

14:22:40   4   that page in your own document that was two hours.

14:22:42   5                  Then I looked at all the relevant public

14:22:44   6   documents, that's the big list below.      I downloaded those,

14:22:48   7   it takes about two hours to search, download, read

14:22:52   8   something, understand what it says to make use of it.        So in

14:22:56   9   this case, I gave them credit for sixteen engineering hours

14:23:00 10    and $66.

14:23:03 11    Q.     May I have DDX 3.72, please.

14:23:08 12                   All right.   So this scorecard table has a

14:23:16 13    counter for that.    Do you see that?

14:23:18 14    A.     Yeah.     So no trade secret, no head-start, the avoided

14:23:23 15    costs, or saved costs, as it says in this slide were $66 and

14:23:29 16    sixteen engineering hours.

14:23:31 17    Q.     May I have PDX 6.114, please.

14:23:37 18                   So here is Dr. Shanfield's list of alleged trade

14:23:43 19    secrets in Group 7.    Did you consider each of these alleged

14:23:46 20    trade secrets?

14:23:47 21    A.     I did.

14:23:51 22    Q.     PDX 6.115, please.

14:23:58 23                   So in this demonstrative, Dr. Shanfield listed

14:24:00 24    the documents that he analyzed for Group 7.      He testified

14:24:05 25    that particular pages in Trial Exhibits 36 to 41 contained
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14:24:10   1   the alleged trade secrets in Group 7.        And for the record,

14:24:14   2   those are -- the documents are PTX 253, 751, 249, 251, 223

14:24:24   3   and 225.

14:24:25   4                  Did you review all six of these documents in

14:24:28   5   their entirety, Dr. Darveaux?

14:24:29   6   A.     I did.

14:24:30   7   Q.     Can you give a snappy description of these four types

14:24:38   8   of documents in Group 7?

14:24:40   9   A.     Sure.    So the first one, the packaging qualification

14:24:44 10    documents is if I recall, is just a list of different

14:24:48 11    parameters that -- if you want to pull that one up, I can

14:24:55 12    talk to it.    But I think that was the one that didn't have

14:24:58 13    any information in it in terms of data, it had a bunch of

14:25:02 14    things that they wanted their subcontractor to fill in when

14:25:05 15    they're building a qualification lot.

14:25:08 16    Q.     Let's pull up PTX 253.       Let's scroll through to the

14:25:16 17    second -- third page.      There we go.

14:25:20 18    A.     There you go.

14:25:23 19                   So again, this is just a fill in the blank

14:25:26 20    things that the people like Amkor, ASC, whatever their

14:25:30 21    partner is doing packaging assembly, fill in for a

14:25:34 22    qualification lot.     And a qualification lot is what you're

14:25:38 23    using to qualify the products so you can finally sell it to

14:25:41 24    a customer, you're doing reliability testing on it, you are

14:25:45 25    doing a lot of data, you want to make sure you capture how
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14:25:49   1   it was built so if something fails later you can go back and

14:25:53   2   say okay, we used these parameters and you can capture it.

14:25:56   3   This is a big data capture.        Qorvo doesn't fill in the data,

14:26:01   4   their supplier fills in the data because their supplier is

14:26:03   5   doing all the work.     They're actually doing this work.

14:26:07   6   Q.       Let's scroll through to page 4.      Page 5.   Six.

14:26:16   7   Seven.   Eight.   Nine.    Okay.   So on this page --

14:26:25   8   A.       So you saw those are blank, right, it says here is

14:26:29   9   the thing, please fill in the information for us.

14:26:31 10    Q.       So this page talks about stencils.      I think

14:26:36 11    Dr. Fattinger had talked about that?

14:26:39 12    A.       Yeah, he's the one that discussed this.

14:26:42 13    Q.       All right.

14:26:44 14    A.       So stencils.     Stencil printing is a method of

14:26:48 15    applying solder paste, so whenever I mentioned like leads on

14:26:52 16    the pad are soldered, so soldering is a super well-known and

14:26:57 17    well-established technology.       So typically you would have a

14:27:01 18    stencil with a bunch of holes in it that match up to the

14:27:04 19    printed circuit board pads, you have the stencil, you put

14:27:08 20    solder paste, the machine squeegees across, which fills in

14:27:14 21    solder into all those little holes and then you pop the

14:27:18 22    stencil off and then you have deposited a bunch of little

14:27:20 23    bits of solder everywhere.

14:27:22 24                  Next you put components down, this things talks

14:27:26 25    about the first part of that where you're just, all the
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14:27:29   1   parameters of the machine that you control to do that

14:27:31   2   process.

14:27:32   3                    So this is like recipe information, we're

14:27:34   4   talking about recipes, you know, like, for example, the

14:27:37   5   thickness of the stencil, the material, again, you buy these

14:27:41   6   things from a supplier.       The aperture openings, it was a

14:27:46   7   flip chip you might have a special consideration there, but

14:27:49   8   then paste printing, this blade has an angle you can set, it

14:27:53   9   has a type of material, it has a force, how hard you're

14:27:56 10    pushing down and the speed at which it drags across.           Those

14:28:00 11    are examples of recipes of a manufacturing process.          And

14:28:03 12    there may be more than that, these are super common.           There

14:28:06 13    are literally thousands of factories in the world that do

14:28:10 14    this process.      And they all control these same things.

14:28:14 15    Q.       Does this particular document have an actual recipe

14:28:19 16    in it?

14:28:19 17    A.       No.   No.   That's what the Qorvo wants to learn from

14:28:24 18    their supplier.

14:28:25 19    Q.       Okay.

14:28:26 20    A.       Please fill in what you did, it's your recipe, fill

14:28:29 21    it in and tell us what you did so that later if something

14:28:33 22    happens I can track back to see if there was abnormal,

14:28:36 23    something abnormal about how we built those parts.

14:28:39 24    Q.       If it did have a recipe, then would this document be

14:28:44 25    considered trade secret?
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14:28:44   1   A.      So, I guess the point I was making is once you get to

14:28:49   2   the details of the actual recipes on equipment, those are

14:28:52   3   the things that the industry tends to guard more as a trade

14:28:56   4   secret, because they're not typically shown in an audit.

14:29:00   5                 In this case, Qorvo is not regarding it as a

14:29:03   6   trade secret because they're telling their supplier please

14:29:06   7   give us all your information that you developed in your

14:29:09   8   factory.    But it's his product, so I get it, we comply as

14:29:13   9   Amkor would comply, we would tell them exactly how we built

14:29:18 10    this part, we develop it but we'll tell the customer here is

14:29:22 11    how we did it.

14:29:23 12    Q.      Have you seen any recipes in this case?

14:29:25 13    A.      No.

14:29:26 14    Q.      All right.    Did you find any equivalent form like

14:29:31 15    this one at Akoustis?

14:29:33 16    A.      I don't believe I found this one at all.        I would

14:29:36 17    have to check my table to say.       I don't believe I found that

14:29:40 18    one.   If I did, it would be recorded in those tables at the

14:29:44 19    end of each section.

14:29:45 20    Q.      Did Akoustis achieve any head-start by having this

14:29:49 21    document?

14:29:50 22    A.      No.   The manufacturer records all this anyway, so

14:29:55 23    they do this as a matter of practice for the same reason,

14:29:59 24    they want to know if something goes wrong how did we build

14:30:02 25    this part.
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14:30:03   1   Q.        So let's go to PDX 6.118.

14:30:13   2                  Here is Dr. Shanfield's demonstrative on alleged

14:30:16   3   trade secret -- oh, you know what, let's go back one slide

14:30:21   4   to 117.

14:30:24   5                  Here is Dr. Shanfield's demonstrative on what

14:30:28   6   alleged trade secret 7.2 and it identified Trial Exhibit 37

14:30:33   7   which is PTX 751 as containing a trade secret.         What are

14:30:39   8   assembly instructions, Dr. Darveaux?

14:30:41   9   A.        So we have been using the word assembly, that means

14:30:45 10    packaging, these are the details of each of those steps in

14:30:49 11    the packaging process and some of the things that are

14:30:52 12    captured with respect to the design rules and the process

14:30:55 13    capability.    So they call it assembly instructions.       That's

14:31:00 14    what it is.    And this happens to be for QFN type packages,

14:31:06 15    quad flat package, common package nowadays, it came out in

14:31:13 16    the late '90s, Amkor was one of the first ones to offer

14:31:17 17    that, for example.

14:31:17 18    Q.        Do you see the figure on the call out there, gold

14:31:24 19    pallidium, nickel, what is that?

14:31:25 20    A.        So this is just a piece of that document that was

14:31:28 21    discussed last week by I guess Shanfield, or somebody.          But

14:31:32 22    these are, this is called surface finishes, so this

14:31:37 23    soldering process, the surface of the thing you're soldering

14:31:41 24    to has to have certain metals that react well with the

14:31:44 25    solder, that the solder wets out to and bonds to, a common
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14:31:49   1   stack is nickel plated gold, it turns out my theories in the

14:31:54   2   late '80's I used nickel plated gold, this is not a new

14:31:58   3   stack up.    Every lead frame supplier in the world offers

14:32:02   4   this nowadays pretty much.     It's very standard.     You can

14:32:06   5   also get              , that's the one above, so depending on

14:32:10   6   your need, you can specify what kind of finish you want on

14:32:14   7   your lead frame.

14:32:16   8   Q.     So for this particular document, or just assembly

14:32:21   9   know how in general, which direction does the information

14:32:25 10    flow, is it from the customer to the subcontractor or the

14:32:29 11    other way?

14:32:29 12    A.     So, depends on the customer.      So it's like some

14:32:35 13    customers that are fabless have no internal factory, and all

14:32:39 14    the information is flowing from the subcontractor to them.

14:32:42 15    And they create a document that they can use at different

14:32:45 16    subcontractors.    If the customer has internal factories,

14:32:48 17    then there may be more information flowing both ways, but

14:32:52 18    still, this is for a subcontractor, so it's got to reflect

14:32:55 19    what he can do.    There is not going to be anything in here

14:32:59 20    that he hasn't already agreed to do for you, otherwise there

14:33:02 21    is a problem.    Right?

14:33:03 22                  If you try to design something that's beyond his

14:33:07 23    capability, you'll have loss and everybody loses money at

14:33:11 24    that point, they are not getting product out and he's not

14:33:14 25    getting paid for doing the assembly and you're not able to
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                                        #: 41792                              2143
                                        Darveaux - direct

14:33:17   1   sell to your customers.      So the information flows mostly

14:33:21   2   from the subcontractor, but all that has to be approved by

14:33:24   3   the subcontractor.     There is nothing in here that can be

14:33:28   4   shown that he can't do, that doesn't work.

14:33:29   5   Q.     Can you please pull up PTX 0751, that's Trial

14:33:35   6   Exhibit 37.    So here is the full document.

14:33:39   7   A.     Uh-huh.

14:33:40   8   Q.     Let's scroll all the way to the back to see the

14:33:43   9   revision history.     That's the end of it.     Let's go to

14:33:50 10    page 18, that's where it begins.

14:33:52 11                  So do you see there at the top of the revision

14:33:56 12    history there is an initial release date?

14:33:58 13    A.     Yeah, around 2012, looks like.

14:34:01 14    Q.     What's significant about that?

14:34:04 15    A.     Well, I mean, again as I mentioned before, this is a

14:34:08 16    vision from RFMD, RFMD was Amkor's customer at that time

14:34:13 17    frame, and my responsibility was the RF module piece, this

14:34:16 18    is the MLF, which is a different product line within our

14:34:20 19    company.    But both products we were supporting RFMD, so

14:34:25 20    there used to be another document in this case that was more

14:34:28 21    about modules.     I think they removed that one, but this one

14:34:31 22    basically we're just trying to point out probably a good

14:34:34 23    deal at that initial release information came from Amkor.          I

14:34:38 24    don't have exact knowledge of that, but it's mostly because

14:34:41 25    I'm quite certain they did not have an internal factory at
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                                       Darveaux - direct

14:34:45   1   that time, I'm not sure if they ever did, internally, but if

14:34:50   2   they did, it was certainly not high volume at that time.

14:34:54   3   Q.     All right.    So did Akoustis achieve any head-start

14:35:04   4   from having this document?

14:35:06   5   A.     No.

14:35:07   6   Q.     Did Akoustis use this document?

14:35:10   7   A.     I'm not aware of the use.

14:35:14   8   Q.     All right.    Let's move on to PDX 6.119.      All right.

14:35:23   9                  Here is Dr. Shanfield's demonstrative on alleged

14:35:27 10    trade secret 7.3.    And it identifies Trial Exhibits 38 and

14:35:33 11    39 which are PTX 249 and 241 as containing trade secrets.

14:35:39 12                   What is reflow conditioning?

14:35:42 13    A.     Okay.    So this one, again, I think was a little bit

14:35:47 14    misrepresented earlier in the trial.      So when we talk about

14:35:50 15    pre conditioning, what we're talking about is, for example,

14:35:54 16    if I'm going to send some parts into reliability testing,

14:35:58 17    temperature cycling, or high temperature operation like,

14:36:02 18    first I pre-condition those parts, that means I expose them

14:36:05 19    to some sort of abuse that they're likely to seat if

14:36:11 20    customer, namely reflow, we know we're going to send our

14:36:14 21    parts to the customer, he's going to reflow them on to his

14:36:18 22    product board and then it will go off and have its life.

14:36:21 23                   If I'm trying to simulate life, I want to abuse

14:36:25 24    that part a little bit first by recondition, I want to run

14:36:27 25    it through the profile to simulate what he's going to do,
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                                        Darveaux - direct

14:36:32   1   then I'll do my testing.      When your see preconditioning,

14:36:32   2   you're trying to stress the part similar to what it would

14:36:35   3   see at the customer and if there is any weak manufacturing

14:36:37   4   defects in there that maybe it's barely holding on, it will

14:36:41   5   break right away and you'll see that in your factory and not

14:36:44   6   the customer, that's the purpose of this document.

14:36:47   7   Q.     Is this well-known in the industry?

14:36:50   8   A.     Yes.

14:36:50   9   Q.     What is a reflow oven look like?

14:36:53 10    A.     I don't know if you have been to Blippy Subs, they

14:36:58 11    have this chain that goes along and you put the sub in, it

14:37:01 12    goes through, and it comes out and it's hot, it kind of

14:37:04 13    looks like that, it has a chain, either chains or conveyers

14:37:08 14    going through and as it goes through there are different

14:37:11 15    zones that you can heat the part, in our case, it's to melt

14:37:15 16    the solder, to solder the product to a the board, and as its

14:37:20 17    cools down, it comes out the other side.

14:37:40 18                   MS. SMITH:   Your Honor, may I approach the

14:37:41 19    witness?

14:37:42 20                   THE COURT:   You may.

14:37:56 21    BY MS. SMITH:

14:38:02 22    Q.     Dr. Darveaux, I just handed you DTX 617 and DTX 619.

14:38:09 23    Do you recognize those two documents?

14:38:10 24    A.     I do.

14:38:12 25    Q.     What are they?
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                                        #: 41795                              2146
                                        Darveaux - direct

14:38:13   1   A.     Well, 617 is a moisture recoil sensitivity

14:38:20   2   classification for non-hermetic service mounting devices at

14:38:24   3   the joint JEDEC ICP publication.       This one is dated

14:38:31   4   December 2022, but the revs go back in time to 1990.          It's

14:38:37   5   been around a long time.

14:38:40   6                 This other one is joint standard industry on

14:38:43   7   handling packing shipping on use of moisture and reflow

14:38:47   8   process sensitive devices, IPC JEDEC, this rev is April of

14:38:53   9   2018, last rev was 2014, I'm pretty sure this one goes back

14:38:57 10    in time farther than that as well.       Looks like 1990.

14:39:03 11                  MS. SMITH:    Your Honor, I move for DTX 617 and

14:39:07 12    DTX 619 to be entered into the record.

14:39:11 13                  THE COURT:    Marked and received as 353 and 354.

14:39:17 14                  (Trial Exhibit Nos. 353 and 354 were admitted

14:39:18 15    into evidence.)

14:39:18 16    BY MS. SMITH:

14:39:20 17    Q.     Are standards used in reflow can conditioning,

14:39:24 18    Dr. Darveaux?

14:39:24 19    A.     Yes.     In fact, if you look at the Qorvo specs or

14:39:29 20    anybody's specs, they're always refer to these typically,

14:39:33 21    these standards, there may be one or two others, but these

14:39:37 22    are two of the common ones, company's spec often and almost

14:39:41 23    always that's available refers to an outside spec because

14:39:44 24    they want to show they're in compliance with what the rest

14:39:47 25    of the industry does, that's the purpose of referring to and
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                                       Darveaux - direct

14:39:50   1   using specs, standards, I'm sorry, standards.

14:39:54   2   Q.       May I have PTX 251, please.     Can we see the first

14:40:05   3   page?

14:40:05   4                    All right.   Dr. Darveaux, do you recognize this

14:40:11   5   document?

14:40:12   6   A.       I do.

14:40:14   7   Q.       Did you review it in its entirety?

14:40:16   8   A.       I did.

14:40:17   9   Q.       Did you consider it as part of your opinions?

14:40:20 10    A.       I did.

14:40:22 11    Q.       Let's go to page 2 now and focus on the purpose and

14:40:27 12    scope.   What's the purpose of this reflow conditioning

14:40:33 13    document?

14:40:34 14    A.       Yeah.    This is what I meant by the word

14:40:38 15    preconditioning.      Qorvo has agreed

14:40:41 16


14:40:45 17

14:40:47 18

14:40:51 19                                                           Qorvo

14:40:54 20    captures that, rejects it, and never gets shipped to the

14:40:57 21    customer.    That's the purpose of this document.      You can

14:41:00 22    either use                               same idea, you're

14:41:05 23    stressing the part, there are some weak ones, they fail, you

14:41:08 24    want to capture that, not ship it to your customer.

14:41:11 25    Q.       Let's go to page 4.     And focus in on -- oh, that's
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                                       #: 41797                              2148
                                       Darveaux - direct

14:41:19   1   perfect.    What is the -- what is the significance of IDP

14:41:26   2   products none?

14:41:29   3   A.     Again, this is a Qorvo document, and their particular

14:41:33   4   case they have identified certain customers that want this

14:41:36   5   done, typically customers want that done after you had a

14:41:40   6   problem.    I don't know if that happened there, but that's

14:41:42   7   been my experience in the past, you had an issue and then

14:41:46   8   they make you implement this kind of screening procedure,

14:41:49   9   but at any rate, their mobile customers wanted it, plus

14:41:53 10    mobile is much higher volume.      There is much more of an

14:41:56 11    issue if things get out there to them because suddenly you

14:42:00 12    got millions of parts that are bad.      So mobile customers

14:42:02 13    tend to want this more, but IDP, that's their infrastructure

14:42:07 14    defense products, apparently in the case of Qorvo, they did

14:42:10 15    not require this screening be done, according to the

14:42:13 16    document.

14:42:14 17    Q.     Does this document cite to standards?

14:42:18 18    A.     I believe it does, up above, you probably went past

14:42:22 19    that part.

14:42:22 20    Q.     Let's go to page 2.

14:42:31 21    A.     Yeah.     So in the one X reflow, you see the IPC JEDEC

14:42:38 22    standard 020, which is this one is called out.        And the

14:42:43 23    other one is a temp cycle spec down below, A104, which is

14:42:49 24    not one you gave me, it's one I cited in my report.

14:42:53 25    Q.     All right.    So does Akoustis use preconditioning
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                                        #: 41798                              2149
                                        Darveaux - direct

14:42:56   1   processes?

14:42:56   2   A.      I asked them that because it's possible they did, but

14:43:00   3   they told me they are not using that.        And also they serve

14:43:04   4   that same market that you saw Qorvo was not using either, so

14:43:08   5   maybe their customers don't require it, it sounds like.

14:43:10   6   Q.      Does this document contain any trade secrets?

14:43:14   7   A.      No.

14:43:15   8   Q.      Did Akoustis achieve a head-start by having PTX 249

14:43:20   9   and 251?

14:43:21 10    A.      No.

14:43:25 11    Q.      All right.    Let's go to PDX 6.119.     Here is

14:43:37 12    Dr. Shanfield's demonstrative on alleged trade secret 7.4.

14:43:40 13    It identifies Trial Exhibits 40 and 41, which are PTX 223

14:43:45 14    and 225, as containing trade secrets.        What is product

14:43:50 15    inspection?

14:43:51 16    A.      So inspection is again a common thing that's done in

14:43:57 17    probably a lot of industries, but to my knowledge,

14:44:00 18    electronics industry pretty much every factory does

14:44:03 19    inspection.    So what you're trying to do in inspection is

14:44:07 20    we're doing electrical tests to capture bad products but

14:44:11 21    sometimes there are defects that aren't captured in the

14:44:14 22    test.   They'll pass the test and then get to the customer

14:44:16 23    and fail.

14:44:17 24                  So you do inspection visually or with a machine,

14:44:20 25    which is again visually to capture defects before they get
  Case 1:21-cv-01417-JPM      Document 714-2 Filed 10/29/24 Page 1828 of 2283 PageID
                                         #: 41799                              2150
                                         Darveaux - direct

14:44:24   1   to your customer.      That's the point of inspection.

14:44:27   2                  Secondly, you want the feedback to your

14:44:29   3   manufacturing to fix things that come through as defects.

14:44:33   4   But the ultimate reason is you don't want defects to get to

14:44:37   5   your customer.

14:44:44   6   Q.      Is inspection in this industry highly standardized?

14:44:48   7   A.      Yes.    There are several specs on that which I

14:44:51   8   included in my report.       We may have a slide on that.

14:44:57   9   Q.      So defects to be detected specific to a product or

14:45:03 10    manufacturing process?

14:45:04 11    A.      Yes.

14:45:05 12    Q.      Why?

14:45:06 13    A.      So the purpose of the document is to layout -- see,

14:45:11 14    first you asked me why you do inspection.         Now the document,

14:45:14 15    you want to start talking about the document.          It has

14:45:16 16    different responsibilities, but at the end of the document

14:45:19 17    are examples.      The purpose of those examples, and you can

14:45:23 18    see some of them here for the Richardson facility of Qorvo

14:45:28 19    in Texas, is to train the inspectors what to look for.           So

14:45:32 20    if -- and that could be a machine inspector or a person

14:45:35 21    inspector.     So you want to train them.      This is a defect.

14:45:38 22    This is good.      You need images in this document that do

14:45:42 23    that.

14:45:42 24                   So you're training the operators if it's manual

14:45:45 25    inspection, you're training a machine if it's automated
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                                        #: 41800                              2151
                                        Darveaux - direct

14:45:48   1   inspection.    Same thing, machine captures images, it

14:45:51   2   compares the captured image of good and bad and they had an

14:45:55   3   algorithm to decide if it's within good or not.         If it's

14:45:58   4   not, it rejects it.

14:45:59   5                  So the purpose of the pictures is to train your

14:46:02   6   inspectors.    And they're only valid for the factory that's

14:46:07   7   producing those defects, each factory has different things

14:46:11   8   that are defective.     Sometimes they may be similar factory

14:46:16   9   to factory, but that doesn't matter.       What you want to do is

14:46:19 10    train your operator what they look like on your product in

14:46:22 11    your factory so they can see it and recognize it.         It has to

14:46:25 12    be -- those images have to be from your factory to be of any

14:46:29 13    use.

14:46:29 14                   MS. SMITH:   Your Honor, may I approach the

14:46:31 15    witness?

14:46:31 16                   THE COURT:   You may.

14:46:45 17    BY MS. SMITH:

14:46:51 18    Q.     Dr. Darveaux, I just handed you PTX 114.         PTX 1114.

14:46:59 19    Do you recognize this document?

14:47:00 20    A.     I do.

14:47:01 21    Q.     What is it?

14:47:02 22    A.     So it's Qorvo visual quality control inspection.

14:47:07 23    This I believe was the original document before it was ever

14:47:12 24    modified by anybody.     So it has all the data in it.      In the

14:47:18 25    original form at least at that time.
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                                       #: 41801                              2152
                                       Darveaux - direct

14:47:21   1   Q.     You had mentioned something about a Richardson

14:47:25   2   facility?

14:47:25   3   A.     Yeah.

14:47:25   4   Q.     So first of all --

14:47:31   5                  MS. SMITH:   Your Honor, I move to have PTX 1114

14:47:35   6   entered into evidence.

14:47:36   7                  THE COURT:   Marked and received as 355.

14:47:40   8                  (Trial Exhibit No. 355 was admitted into

14:47:41   9   evidence.)

14:47:41 10    BY MS. SMITH:

14:47:41 11    Q.     Would you please pull up PTX 1114.       Focus in to the

14:47:48 12    purpose section.

14:47:50 13                   So you were talking about a Richardson facility.

14:47:55 14    What's the significance of that?

14:47:58 15    A.     So, again, the defects that are shown in this

14:48:02 16    document, if you look at all the images, they're defects

14:48:05 17    that are generated by Qorvo's facility in Richardson, Texas,

14:48:10 18    and they're specific to these types of products, gallium

14:48:16 19    arsenide which a gallium, gallium nitride, same thing, field

14:48:20 20    effect transistors, bipolar transistors, monolithic

14:48:26 21    microwave integrated circuits.      Weirdly, you don't see any

14:48:30 22    filters in there, but the point is it's for their factory,

14:48:33 23    these kind of products generate these type of defects, so

14:48:37 24    it's useful for that purpose for them.

14:48:40 25    Q.     Okay.    So for 7.4, for trade secrets 7.4, did you
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                                        #: 41802                              2153
                                        Darveaux - direct

14:48:51   1   review PTX 223 and 225 in their entirety?

14:48:59   2   A.     Sorry, which one?

14:49:01   3   Q.     Can we go back -- can we go back to -- yes, that one.

14:49:11   4   So these two documents here.

14:49:14   5   A.     Yes, so these are the modified versions of this

14:49:18   6   original document.     I believe that's what's shown here.

14:49:21   7   Correct?

14:49:22   8   Q.     Yes.

14:49:22   9   A.     Yes, I did review them.       I reviewed all of them.

14:49:25 10    Q.     Did you see any trade secrets in there?

14:49:27 11    A.     No.

14:49:28 12    Q.     Did Akoustis achieve any head-start by having these

14:49:32 13    documents?

14:49:32 14    A.     No.

14:49:33 15    Q.     Did Akoustis use these documents?

14:49:36 16    A.     Other than a template, no.

14:49:41 17    Q.     Okay.    Why couldn't they have used the photos at the

14:49:44 18    end?

14:49:44 19    A.     Because they're specific to Qorvo's Richardson Fab

14:49:48 20    and those type of products, the defects that are seen, and

14:49:52 21    the purpose of an inspection document is to train your

14:49:55 22    inspectors on what the defects are in your factory for your

14:49:58 23    process flow, your equipment.

14:50:01 24    Q.     Okay.    So for trade secret Group 7, did you perform

14:50:08 25    the avoided cost analysis where you assumed that there were
  Case 1:21-cv-01417-JPM       Document 714-2 Filed 10/29/24 Page 1832 of 2283 PageID
                                          #: 41803                              2154
                                          Darveaux - direct

14:50:12   1   trade secrets?

14:50:12   2   A.       I did.

14:50:13   3   Q.       Okay.    May I have DDX 3.73, please.      3.74, please.

14:50:47   4   3.72.

14:50:55   5   A.       There you go.

14:50:59   6   Q.       Okay.    It's 3.73.    Are these your analyses --

14:51:05   7   A.       Yes.

14:51:06   8   Q.       -- for Group 7?

14:51:08   9                    Did you want to go into anything specific?

14:51:11 10    A.       No, again, there were four documents, so for each

14:51:14 11    document, same format, same idea, same methodology, if there

14:51:19 12    were any pages in an Akoustis document that were similar to

14:51:22 13    the Qorvo document.       I gave them credit for two hours per

14:51:26 14    page to write a page.        If I had to look up any documents,

14:51:30 15    same idea.      There might be document costs, typically not

14:51:33 16    here, these are standards.        And then added it all up at the

14:51:38 17    end.    I did that for each of the four documents that were

14:51:41 18    used for the alleged trade secrets.

14:51:46 19    Q.       Okay.    3.75, please.

14:51:51 20                     So in sum, is it fair to say that you reviewed

14:51:57 21    all of the documents that were analyzed by Dr. Shanfield and

14:52:02 22    concluded that there were no trade secrets in Groups 2

14:52:07 23    through 7 and Akoustis had no head-start from having these

14:52:11 24    documents?

14:52:12 25    A.       Correct.
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                                        #: 41804                              2155
                                        Darveaux - direct

14:52:12   1   Q.     And the total saved costs when assuming that there

14:52:17   2   were trade secrets, the total saved costs or avoided costs

14:52:21   3   was $264 in document cost and 194 hours of engineering

14:52:29   4   hours; is that right?

14:52:30   5   A.     Yeah, that's correct.       Those numbers changed from my

14:52:35   6   report because my -- some of the documents that have been

14:52:38   7   thrown out of the case, I guess, so now these are the new --

14:52:41   8   these are the new numbers based on what was presented here

14:52:44   9   at trial.

14:52:46 10    Q.     Okay.    So to close, I wanted to talk to you about

14:52:54 11    your work at Amkor.     We started out this testimony talking

14:53:01 12    about time to market.      And I'd like for you to explain to

14:53:09 13    the jury why you have the experience and the know-how to

14:53:13 14    determine what is a fair time to market.        Can I have DDX

14:53:19 15    3.23, please.     Are all of these companies that you worked

14:53:27 16    for or that you had worked with?

14:53:31 17    A.     Yes.

14:53:32 18                   So I can explain?

14:53:33 19    Q.     Go ahead.

14:53:34 20    A.     So I worked at Amkor for seventeen years, my job was

14:53:38 21    to develop products and release them to the market, so

14:53:41 22    concept phase to production.       Probably fifteen years into

14:53:46 23    that we did an analysis, we looked at all the ones we had

14:53:49 24    developed and we categorized how long from concept to

14:53:53 25    customer qualification, and then how long from customer
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                                        #: 41805                              2156
                                        Darveaux - direct

14:53:57   1   qualification to a hundred million dollars revenue, so kind

14:54:00   2   of a ramp part, the development part of the ramp part.          We

14:54:04   3   found there were some common factors of the successful

14:54:07   4   programs that went faster.      And those were, you know, using

14:54:11   5   existing equipment, using existing materials, providing some

14:54:15   6   innovation within those boundaries, and then offering

14:54:18   7   something that met their needs at a good price, so a good

14:54:22   8   cost structure, not a very expensive thing.        So those

14:54:26   9   typically in that study were about two to four year time

14:54:29 10    frame, a wide range of packaging technology including RF

14:54:33 11    modules.

14:54:33 12                  Then when I got to Skyworks.      We in-sourced our

14:54:40 13    filters from Panasonic, from TDK, Epso, Taiyo Yuden makes

14:54:48 14    FBAR and SAW.     TDK makes BAW and SAW filters.      And Panasonic

14:54:55 15    made SAW filters.     I was the component -- my team was the

14:54:58 16    component engineering, we qualified their new technologies,

14:55:01 17    we worked with them on their roadmap and development plans

14:55:04 18    so we could use their products.       Same thing, about one to

14:55:07 19    three years was common requirement, and was hit execution

14:55:11 20    wise by all those companies for developing new filters that

14:55:15 21    we've used in our modules.

14:55:16 22                  Skyworks bought the Panasonic factory, so now it

14:55:20 23    was an internal factory where we hit those kind of time

14:55:24 24    lines.   And then Skyworks eventually brought in a BAW

14:55:28 25    technology.    Similarly we bought a small startup and ramped
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14:55:32   1   to very high volumes.       I think it was 150 million units

14:55:36   2   shipped within about three years.       That's where my basis for

14:55:40   3   my opinion comes from that a typical time to market is on

14:55:43   4   the order of one to four years depending on the magnitude of

14:55:46   5   your development, that's my basis.

14:55:49   6   Q.     So is Akoustis's time to market of about four years

14:55:54   7   reasonable in your opinion?

14:55:56   8   A.     Yeah.    So actually, they got from start to very low

14:56:05   9   volume production in about five years is what we showed

14:56:08 10    earlier, and then they still, they're still ramping, so I

14:56:11 11    think that's reasonable execution.      If you try to say that

14:56:16 12    it should have taken them nine years according to

14:56:20 13    Shanfield's or five more years or four more years, that's

14:56:24 14    completely not reasonable, not credible in my opinion.

14:56:28 15                   MS. SMITH:    I pass the witness.

14:56:29 16                   THE COURT:    Cross-examination.

14:56:32 17                        CROSS-EXAMINATION

14:56:32 18    BY MR. DeFOSSE:

14:56:41 19    Q.     Good afternoon, Dr. Darveaux.

14:56:44 20    A.     Good afternoon.

14:56:45 21    Q.     I would like to actually start with that last slide

14:56:47 22    we just had up, that's DDX 3.23.

14:56:55 23                   Dr. Darveaux, none of the companies on this

14:56:57 24    slide are startup companies, right?

14:56:59 25    A.     That's correct.
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14:57:01   1   Q.     Okay.    And you mentioned that Skyworks eventually

14:57:05   2   entered the market for BAW filters, right?

14:57:08   3   A.     Yes.

14:57:09   4   Q.     What year was that?

14:57:10   5   A.     Well, we had BAW filters in our products, but I think

14:57:12   6   we shipped the first BAW filter, they shipped the first BAW

14:57:18   7   filters in production maybe the year after I left, or the

14:57:23   8   year I left, somewhere in that time frame.        We started the

14:57:26   9   program two or three years before that, that's what I was

14:57:29 10    involved with it.

14:57:30 11    Q.     What was the year you left, can you remind the jury?

14:57:32 12    A.     I left in March of 2019.

14:57:34 13    Q.     2019?

14:57:35 14    A.     Yeah.

14:57:35 15    Q.     Okay.    I think you mentioned that Skyworks entered

14:57:38 16    the market or produced its BAW filters after purchasing a

14:57:42 17    small start up?

14:57:43 18    A.     That's correct, it's called MEMS Solution.

14:57:45 19    Q.     That was called MEMS Solutions, is that right?

14:57:48 20    A.     I think it was MEMS Solution.

14:57:50 21    Q.     That was a Korean company?

14:57:52 22    A.     Yes.

14:57:53 23    Q.     And do you recall when MEMS Solution was founded?

14:57:58 24    A.     So this came up in the deposition as well.         I believe

14:58:02 25    they were founded 2001, 2002.       They had some low volume
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14:58:11   1   switch on the market a couple of years later and they had

14:58:14   2   some sort of a FBAR duplexer that they were offering to the

14:58:19   3   market in low volumes a couple of years after that.           So I

14:58:22   4   think it was about four or five years that they showed on

14:58:25   5   their website that they had some sort of FBAR duplexer

14:58:29   6   offering.    I don't know the volume level or anything like

14:58:32   7   that.    But we bought them in 2016, I believe it was.          They

14:58:36   8   had low volume production going, similar to Akoustis in

14:58:39   9   terms of the market segment.        Not mobile, they didn't have

14:58:44 10    the scale for mobile, but for the these other applications,

14:58:47 11    they had some low volume production, prototyping, I don't

14:58:52 12    remember the exactly the volume production.

14:58:55 13    Q.       Okay.    I would like to clarify.      I think you

14:58:58 14    mentioned this with Ms. Smith.         Your opinions in this case

14:59:01 15    are limited to trade secret Groups 2 through 7; is that

14:59:05 16    right?

14:59:05 17    A.       Yes.

14:59:05 18    Q.       You're not offering an opinion on Groups 1 or 8?

14:59:10 19    A.       No, I am not.

14:59:12 20    Q.       Okay.    I think you mentioned that you had reviewed

14:59:16 21    Dr. Faulkner's analysis as part of the work that you did in

14:59:19 22    this case?

14:59:20 23    A.       Yeah.    So we looked at Faulkner 's analysis to

14:59:23 24    understand, you know, of the documents that I analyzed to

14:59:28 25    look at -- as we showed through that whole presentation, if
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                                         Darveaux - cross

14:59:35   1   and when they were ever accessed at Akoustis, right, did

14:59:39   2   Akoustis even look at the documents.       Some of the documents

14:59:41   3   were never accessed, some of them were -- had an indication

14:59:44   4   of access, some of them, it's more like an e-mail trail, you

14:59:49   5   guys saw some of that.      So that was the purpose of looking

14:59:51   6   at his report was to look at -- to try to figure out these

14:59:58   7   access dates.

14:59:59   8   Q.     You understand that Mr. Faulkner identified 500,000

15:00:03   9   Qorvo e-mails on the Akoustis computer system?

15:00:05 10    A.     Yeah, I was here at the trial, I saw his report, yep.

15:00:09 11    Q.     And in addition to that, 9,000 other Qorvo documents

15:00:12 12    on Akoustis's computer system?

15:00:14 13    A.     Yes.     Yes, sir, I saw that.

15:00:16 14    Q.     Plus 279 gigabytes of data, in addition to those

15:00:22 15    documents, Mr. Faulkner found on Akoustis's computer system?

15:00:25 16    A.     If you say so.      I didn't memorize that number.

15:00:28 17    Q.     You understand from looking at his analysis that the

15:00:31 18    279 gigabytes of data that Mr. Faulkner found came from a

15:00:37 19    computer that Rama Vetury copied from Qorvo; right?

15:00:42 20    A.     That sounds right.      I heard that discussed last week.

15:00:46 21    Q.     And you understand that Dr. Vetury was the chief

15:00:51 22    device scientist at Akoustis; is that right?

15:00:53 23    A.     Yes.     In fact, we saw him, there was a video of his

15:00:57 24    testimony in this trial.

15:00:58 25    Q.     And from that, I think Dr. Shanfield said a large
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                                         Darveaux - cross

15:01:03   1   volume of documents, he funneled it down and he identified

15:01:07   2   1,500 specific confidential Qorvo documents as part of his

15:01:11   3   analysis in this case, right?

15:01:12   4   A.     Yeah, I think those were the considered documents in

15:01:15   5   his report, I think that's what they were called.

15:01:18   6   Q.     And I think you have told me in the past, you have

15:01:21   7   considered all of those documents that Dr. Shanfield

15:01:23   8   identified in his report; right?

15:01:25   9   A.     Yes.    I either -- some of them were read in detail,

15:01:29 10    some of them were skimmed, I tried to do my best to look at

15:01:32 11    them all.    Obviously I focused more on the ones that were

15:01:36 12    actually in his report that he talked about, would be the

15:01:38 13    highest priority one to focus on.

15:01:41 14    Q.     Out of all of those documents, you didn't find a

15:01:44 15    single trade secret?

15:01:47 16    A.     I didn't find anything that was shown to me in

15:01:51 17    evidence that was a trade secret.       I'm sure there was

15:01:55 18    something in there that was useful to Qorvo, but if you have

15:02:01 19    something you want me to look at, I would be happy to look

15:02:04 20    at it if I haven't looked at it already.

15:02:07 21    Q.     I think you testified multiple times prior the lunch

15:02:10 22    break today that the documents that Dr. Shanfield identified

15:02:13 23    as containing trade secrets were simply presentations that

15:02:18 24    were discussed at meetings.      Do you recall offering that

15:02:21 25    testimony?
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                                        Darveaux - cross

15:02:22   1   A.     Well, what I said was what we reviewed in this case,

15:02:26   2   and the ones that have been discussed here and presented

15:02:29   3   into evidence here, were kind of two categories, one were

15:02:34   4   PowerPoint presentations that were discussed in meetings

15:02:37   5   obviously, and the other were these more administrative or

15:02:41   6   quality standard type documents.      I believe I grouped them

15:02:45   7   into those two categories just for discussion purposes.

15:02:49   8   Q.     You didn't mean to suggest that a trade secret can't

15:02:53   9   be a trade secret if it's discussed at a meeting, right?

15:02:55 10    A.     No, I didn't say that.

15:02:57 11    Q.     And you're also not opining in this case that you

15:03:00 12    can't have a trade secret if it's in a presentation, are

15:03:03 13    you?

15:03:03 14    A.     No.   No, sir.

15:03:04 15    Q.     You could have a trade secret embodied in a

15:03:07 16    presentation, right?

15:03:08 17    A.     I suppose so.

15:03:10 18    Q.     You worked at Skyworks prior to leaving that company;

15:03:16 19    correct?

15:03:16 20    A.     I worked there seven years.

15:03:18 21    Q.     And I assume that you attended meetings where design

15:03:22 22    presentations were provided?

15:03:24 23    A.     Absolutely.

15:03:25 24    Q.     Did Skyworks invite its competitors into those

15:03:30 25    meetings?
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15:03:30   1   A.        Not unless there was like some joint projects, no.

15:03:38   2   Q.        Now, I would like to start with trade secret Group 2.

15:03:43   3   And if we could pull up, Mr. Buchbinder, please, PTX 78 and

15:03:50   4   PTX 149.    Those are Trial Exhibits 8 and 9.

15:03:58   5                    Now, Dr. Darveaux, I believe you discussed both

15:04:01   6   of these documents with Ms. Smith during your testimony

15:04:04   7   earlier today?

15:04:06   8   A.        Yes.

15:04:06   9   Q.        And you recognize these two documents as Qorvo design

15:04:11 10    presentations that were found in Akoustis's files; right?

15:04:17 11    A.        They're presentations.       I don't know if you want to

15:04:22 12    characterize them as design or whatever.           This one says

15:04:25 13    final circuit layout and tile.          So layout is one element of

15:04:31 14    design.    So I guess you could consider layout an element of

15:04:35 15    design.    The other one just talks about polygons versus

15:04:40 16    rectangle in the title, so I'm not sure --

15:04:44 17    Q.        And these were found in Akoustis's files?

15:04:46 18    A.        I'm sorry, sir?

15:04:47 19    Q.        These were found in Akoustis's files?

15:04:49 20    A.        Yes.

15:04:49 21    Q.        These are the two presentations, while -- you saw

15:04:56 22    Dr. Aigner discuss during his testimony?

15:04:57 23    A.        Yes, I saw.

15:04:58 24    Q.        Now, you're offering an opinion as I understand it

15:05:02 25    that neither of these presentations was valuable to
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                                       #: 41813                              2164
                                        Darveaux - cross

15:05:04   1   Akoustis, did I understand that right?

15:05:05   2   A.       That's correct.

15:05:07   3   Q.       You said I think during your testimony because I

15:05:12   4   wrote it down, it's not useful to sneak around to try to get

15:05:17   5   the specs from your competitor.      Do you remember that?

15:05:20   6   A.       Yeah.

15:05:21   7   Q.       When you considered these two presentations, did you

15:05:26   8   consider how they came to be in Akoustis's possession?

15:05:29   9   A.       I read about it.

15:05:30 10    Q.       Okay.   So you are aware that Rohan Houlden copied

15:05:37 11    these two presentations two days before he left Qorvo,

15:05:41 12    right?

15:05:41 13    A.       I am aware of that.   I think these are the two.      I

15:05:44 14    know he did -- I can't keep track of which ones he did what,

15:05:48 15    but absolutely I know he did something like that.

15:05:50 16    Q.       You're aware that upon arriving at Akoustis within

15:05:54 17    two days, Mr. Houlden had uploaded these presentations to

15:05:58 18    the Akoustis computer system, right?

15:06:00 19    A.       I guess so, if that's -- I'll take your word for

15:06:03 20    that.

15:06:03 21    Q.       And then he printed out copies, right, put them in

15:06:06 22    his laptop bag, right?

15:06:08 23    A.       Yeah.

15:06:08 24    Q.       And then went to see Dr. Dave Hodge, right?

15:06:12 25    A.       Yeah, this was in the testimony and you and I even
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                                       Darveaux - cross

15:06:16   1   talked about this at my deposition, I remember.

15:06:19   2   Q.     And you know that Dr. Dave Hodge was the engineer

15:06:21   3   that Akoustis assigned to work on its development of

15:06:24   4   5-gigahertz filters, right?

15:06:26   5   A.     That's right.

15:06:28   6   Q.     In forming your opinion as to the value of these

15:06:34   7   documents, did you talk to Mr. Houlden?

15:06:37   8   A.     No, I have never met Mr. Houlden.

15:06:40   9   Q.     So you didn't ask him why he would have been handing

15:06:43 10    useless documents to Dr. Hodge?

15:06:46 11    A.     I can speculate on it, but I didn't ask him, I didn't

15:06:51 12    talk to him.

15:06:52 13    Q.     At the time Mr. Houlden handed these documents to

15:06:56 14    Dr. Hodge, he was aware that Akoustis's BAW filters were

15:07:02 15    FBAR style filters, right?

15:07:05 16    A.     I assume he was.    You would think he would be aware

15:07:07 17    of that.

15:07:08 18    Q.     But he still handed these two documents to Dr. Hodge?

15:07:11 19    A.     That's what's in the deposition, yes.

15:07:13 20    Q.     Okay.   And scheduled a meeting with Dr. Hodge to talk

15:07:16 21    about the documents?

15:07:17 22    A.     Yeah, I think they were having lunch meetings or

15:07:20 23    something it says in the deposition transcripts.

15:07:26 24    Q.     All right.   I would like to talk about trade secret

15:07:30 25    Group 3 for a minute.    Dr. Darveaux, you used to work at
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                                        #: 41815                              2166
                                         Darveaux - cross

15:07:33   1   Skyworks, right?

15:07:33   2   A.     I did.

15:07:34   3   Q.     And we already talked about that, so I'm repeating

15:07:37   4   myself a little here.       And just to remind the jury, Skyworks

15:07:40   5   is a competitor of Qorvo and Akoustis in the BAW filter

15:07:44   6   market, right?

15:07:45   7   A.     Yes.    I mean, for example, yeah.

15:07:51   8   Q.     Okay.     And Skyworks engages in trimming like other

15:07:55   9   BAW filter companies, right?

15:07:56 10    A.     Yeah, so, for example, we do trimming on our SAW

15:08:00 11    filters and we do trimming on our BAW filters, yeah.

15:08:03 12    Q.     At Skyworks, you're talking about?

15:08:05 13    A.     Yeah.

15:08:05 14    Q.     If I were to start asking you details about Skyworks'

15:08:09 15    trimming process, that would make you nervous, wouldn't it?

15:08:13 16    A.     Go ahead and ask me one, I guess.

15:08:16 17    Q.     Okay.     So it won't make you nervous to describe

15:08:21 18    Skyworks trimming process here in court?

15:08:23 19    A.     Not if the elements I'm describing are well-known,

15:08:26 20    no.

15:08:36 21                   MR. DeFOSSE:    Your Honor, may I approach?

15:08:38 22                   THE COURT:    You may.

15:08:49 23    BY MR. DeFOSSE:

15:08:53 24    Q.     You recall you were deposed in this case?

15:08:55 25    A.     Yes.    I do.   I didn't meet you in person at that
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15:09:01   1   time, but I recognize your face.

15:09:02   2   Q.     That was in January of 2024, right?

15:09:05   3   A.     Yeah.

15:09:06   4   Q.     You recall that when we started that deposition, you

15:09:10   5   swore an oath to tell the truth, right?

15:09:12   6   A.     I did.

15:09:13   7   Q.     And could I ask you to turn, please, to page 171?

15:09:26   8   And look starting at line 25.      I'll give you just a minute

15:09:32   9   to look at that.

15:09:35 10    A.     Yeah.

15:09:38 11    Q.     So I asked you during the deposition:        "Okay.   Did

15:09:43 12    Skyworks embody its trimming process in any documents?"

15:09:47 13                   Do you see that?

15:09:48 14    A.     I see that.

15:09:49 15    Q.     And your response to me was:      "Again, I'm not quite

15:09:54 16    sure what's relevant about Skyworks' trimming process to the

15:09:57 17    case here.   I didn't opine in my report about Skyworks'

15:10:00 18    trimming process, so I'm getting a little nervous about you

15:10:04 19    asking me details about Skyworks' trimming process."

15:10:08 20                   Do you recall that?

15:10:08 21    A.     Totally.

15:10:09 22    Q.     And the reason you were nervous about that is because

15:10:12 23    Skyworks' trimming process was confidential, right?

15:10:15 24    A.     No.

15:10:15 25    Q.     Could I ask you to look at the next line.
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                                        #: 41817                              2168
                                         Darveaux - cross

15:10:18   1   A.     The reason I said that is because --

15:10:20   2                  THE COURT:    Excuse me.

15:10:21   3                  THE WITNESS:    I'm sorry.

15:10:23   4                  THE COURT:    Excuse me.   Please answer the

15:10:25   5   question.

15:10:25   6   A.     What was the question.

15:10:26   7   Q.     Could I ask you to look at the next line, please?

15:10:28   8   A.     Okay.

15:10:29   9   Q.     I said:     "Okay.    Is that because you're concerned

15:10:32 10    about revealing information that would be confidential to

15:10:34 11    Skyworks?

15:10:36 12                   "ANSWER:     Yes, that's correct."

15:10:38 13                   Did I read that correctly?

15:10:39 14    A.     Yeah.    Details.

15:10:46 15    Q.     All right.     Could we pull up Trial Exhibit 12 which

15:10:50 16    is PTX-453.

15:10:52 17                   Dr. Darveaux, you recognize this document;

15:10:54 18    correct?

15:10:55 19    A.     Yes.

15:10:55 20    Q.     Maybe we can put side-by-side the first page and the

15:10:59 21    second page of this document.       Do you recognize this as the

15:11:05 22    document that J.B. Kwon authored after leaving Qorvo and

15:11:09 23    upon arriving at Akoustis; right?

15:11:13 24    A.     Yes.    So he named it trim calculations, SiN trims,

15:11:18 25    that's how you can tell it was the one he did.
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15:11:20   1   Q.     And this is the document that reflects Qorvo's

15:11:23   2   trimming algorithms?

15:11:25   3   A.     This is --

15:11:26   4   Q.     We can scroll the pages?

15:11:29   5   A.     It's a PowerPoint slide that shows the main boxes

15:11:32   6   that we described earlier, if you want to call it an

15:11:35   7   algorithm, yeah.

15:11:36   8   Q.     If we could pull up Trial Exhibit 123, please, which

15:11:41   9   is PTX-452.

15:11:44 10                   You understand that this is the e-mail that

15:11:47 11    Dr. Kwon attached those Qorvo trimming procedures to, right?

15:11:54 12    A.     Yeah, I see that.

15:11:56 13    Q.     Okay.     Sent in 2017, July?

15:12:01 14    A.     Yes.

15:12:02 15    Q.     And I believe you're opining in this case that those

15:12:06 16    trimming procedures were just not valuable or useful to

15:12:09 17    Akoustis, right?

15:12:10 18    A.     That's correct.

15:12:11 19    Q.     Okay.     You've never worked as a trim engineer before,

15:12:16 20    is that right?

15:12:16 21    A.     No, I haven't.

15:12:18 22    Q.     In forming your opinion about Trial Exhibit 12,

15:12:24 23    PTX-453, did you consider how it was distributed within

15:12:32 24    Akoustis?

15:12:32 25    A.     I saw from the e-mails, I saw the same e-mails you
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                                       Darveaux - cross

15:12:36   1   just showed, he sent files to people.      There were other

15:12:41   2   e-mails talking about meetings and things, so I saw that,

15:12:45   3   yeah.

15:12:45   4   Q.      So when you considered whether the algorithms in this

15:12:48   5   document were valuable to Akoustis, you considered what

15:12:51   6   people at Akoustis said at the time?

15:12:54   7   A.      Yeah.

15:12:55   8   Q.      Okay.    Did you talk to Dr. Kwon in preparing your

15:13:00   9   opinions in this case?

15:13:01 10    A.      I did not.

15:13:02 11    Q.      You understand that he sent this presentation to Mary

15:13:07 12    Winters and to Rama Vetury and to Daeho Kim?

15:13:12 13    A.      I remember Rama and Mary, I don't remember Daeho, but

15:13:17 14    I don't deny that.     I take your word for it.

15:13:21 15    Q.      Since you didn't talk to Dr. Kwon, you weren't able

15:13:23 16    to ask him why he would be sending useless information to

15:13:28 17    his colleagues at Akoustis?

15:13:29 18    A.      I didn't ask him why, no.

15:13:32 19    Q.      If we could pull up Trial Exhibit 215, which is PTX

15:13:37 20    652.

15:13:40 21                    You understand what this is, right,

15:13:43 22    Dr. Darveaux?

15:13:45 23    A.      From Rama to J.B., said, "Thanks, very helpful."

15:13:50 24    Q.      So that's at the time, instead of sitting here today

15:13:54 25    where you're at, Rama Vetury said to Daeho Kim, "These
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15:13:58   1   trimming procedures are really helpful.        Thanks for sending

15:14:02   2   them."   Right?

15:14:03   3   A.       He sent an e-mail to J.B. and Daeho, I guess he's

15:14:08   4   talking to both of them, but they can't be J.B., so I assume

15:14:14   5   --

15:14:14   6   Q.       Did you ask Dr. Vetury why he would have told J.B.

15:14:18   7   Kwon that these trimming procedures were helpful if, in

15:14:22   8   fact, they had no value to Akoustis?

15:14:24   9   A.       I didn't talk to Rama.     Was that your question?      Did

15:14:29 10    I ask Rama?

15:14:30 11    Q.       Did you ask Rama Vetury why he would have said that

15:14:34 12    these trimming procedures were helpful if, in fact, they

15:14:37 13    were useless?

15:14:37 14    A.       No, I did not talk to Rama.

15:14:40 15    Q.       Okay.    Can we pull up Trial Exhibit 208, which is

15:14:47 16    PTX-420.    Maybe put that side-by-side with Trial Exhibit 9,

15:14:52 17    which is PTX-421.

15:14:54 18                     On the right-hand side we have 421.    Do you

15:14:57 19    recognize that as being the same Qorvo trimming algorithms

15:15:01 20    that Mr. Kwon -- Dr. Kwon reproduced when he got to

15:15:05 21    Akoustis, right?

15:15:06 22    A.       It looks like the title page, I guess, yeah.

15:15:09 23    Q.       And on the left is an e-mail from August of 2017

15:15:13 24    where Dr. Kwon is resending these procedures to Mary Winters

15:15:18 25    for the second time; right?
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15:15:23   1   A.     Yeah, I guess.    I don't remember the dates.     But I'll

15:15:26   2   take your word for it.

15:15:27   3   Q.     Okay.    You didn't ask Dr. Kwon why he would be

15:15:30   4   sending useless trimming procedures to Mary Winters again?

15:15:33   5   A.     I didn't talk to Dr. Kwon.

15:15:36   6   Q.     Okay.    Did you ask Mary Winters whether she said to

15:15:39   7   Dr. Kwon stop sending me this useless information, it has no

15:15:43   8   value to me?

15:15:43   9   A.     No, I never asked Mary that question.

15:15:46 10    Q.     You understand that after Dr. Kwon circulated the

15:15:51 11    Qorvo trimming algorithms for the second time, he sent them

15:15:54 12    again, right?

15:15:55 13    A.     You mean a third time?

15:15:57 14    Q.     Third time, right?

15:15:57 15    A.     If you say so.

15:15:59 16    Q.     You didn't consider that when you were determining

15:16:01 17    whether or not this information was useful to Akoustis?

15:16:04 18    A.     Look, I knew that they had been passed around.        I

15:16:09 19    read the e-mails, I didn't count how many times, but I

15:16:13 20    certainly considered that.    But I looked at the documents

15:16:16 21    and I judged based on what I saw in the documents versus my

15:16:20 22    knowledge of what Akoustis does.     That's how I came to my

15:16:25 23    opinion.

15:16:25 24    Q.     Trimming procedures were, in addition to being passed

15:16:28 25    around, they were actually presented to the technical
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15:16:33   1   committee, the board of directors at Akoustis, right?

15:16:35   2   A.        I saw that testimony -- I don't know if it was -- it

15:16:38   3   was at least to one member, it was some guy on the board, I

15:16:41   4   saw that testimony.

15:16:42   5   Q.        In your experience, is it typical to present useless

15:16:45   6   information to the Board of Directors?

15:16:51   7   A.        It's typical to present updates to the Board of

15:16:54   8   Directors.    I don't think anyone attempts to present useless

15:16:57   9   information, that probably wouldn't be a good idea.

15:17:01 10    Q.        I would like to talk briefly about Group 4 now.       This

15:17:05 11    is the group that relates to the radio frequency connectors,

15:17:09 12    do you recall that?

15:17:09 13    A.        Uh-huh.

15:17:10 14    Q.        And it's your opinion that Qorvo's design for the

15:17:17 15    radio frequency connector wasn't useful to Akoustis?

15:17:22 16    A.        It was my opinion, there was no Qorvo design of the

15:17:27 17    connector, it was an              design of the connector, that

15:17:31 18    was my opinion.

15:17:32 19    Q.        That's right actually, you said it was not useful to

15:17:35 20    Akoustis because anyone could just go to                 and buy

15:17:38 21    that part off the shelf, right?

15:17:40 22    A.        I said having the documents was not useful, it's not

15:17:43 23    -- I didn't say anything about who -- that it was Qorvo's

15:17:48 24    design.    I said having a document of a connector was not

15:17:51 25    useful.
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                                      #: 41823                              2174
                                       Darveaux - cross

15:17:52   1   Q.     Yeah?

15:17:53   2   A.     It was not a trade secret, it's                 connector,

15:17:57   3   I think that's what I said.

15:17:57   4   Q.     And you said that that was because you didn't need

15:18:00   5   the drawing because anyone could just go to               and buy

15:18:03   6   that connector, right, is that your testimony?

15:18:06   7   A.     If it was indeed an open tool connector, sure, yes.

15:18:10   8   Q.     But you know it wasn't an open tool connector, right?

15:18:13   9   A.     I don't know that at all.     They bought connectors

15:18:15 10    from

15:18:16 11    Q.     Can we pull up --

15:18:18 12    A.     "They" being Akoustis, bought connectors from

15:18:21 13


15:18:21 14    Q.     Can we pull up Trial Exhibit 221, which is PTX 729.

15:18:27 15                   Do you recall this e-mail?

15:18:30 16    A.     Absolutely.

15:18:31 17    Q.     Okay.    Just to remind the jury, this is an e-mail

15:18:35 18    from Rohan Houlden in November 22nd, 2016, from his personal

15:18:41 19    e-mail account, is that right?

15:18:43 20    A.     I guess so.

15:18:44 21    Q.     And he was e-mailing the personal e-mail account of a

15:18:49 22    Qorvo employee, do you recall that?

15:18:52 23    A.     Looks like somebody named Jamie Carter, maybe.

15:18:57 24    Q.     And Mr. Houlden says, "Wanted to use your yahoo and

15:19:02 25    my gmail account to make you feel more comfortable."
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                                       Darveaux - cross

15:19:10   1                   Right?

15:19:10   2   A.      I see that.

15:19:11   3   Q.      And in this e-mail, Mr. Houlden was asking Mr. Carter

15:19:14   4   to send him the engineering drawings for the RF connector

15:19:20   5   that's manufactured at            , right?

15:19:23   6   A.      Yeah.    It's an          connector, there is a part

15:19:26   7   number, that's what I understand from the e-mail.

15:19:29   8   Q.      And zoom out, please.    If we look up above in -- hold

15:19:39   9   on.   If we look up above in the middle e-mail under on

15:19:44 10    Tuesday, there is a message from Mr. Carter, and he says

15:19:49 11    right there that the part wasn't available in the general

15:19:51 12    market, right, that's why Mr. Houlden couldn't find that

15:19:54 13    drawing.

15:19:56 14    A.      I see what he says, and he also says here is the one

15:19:59 15    that has the same contact pad area.     So if you look on that

15:20:05 16    drawing, they were trying to design, Akoustis was trying to

15:20:09 17    design an evaluation board that matched to the connector.

15:20:12 18    And what they wanted, what Houlden wanted, when I looked at

15:20:16 19    all this, this is what I determined, there is some pad

15:20:19 20    drawings on that connector that show this is the mating

15:20:23 21    thing if you're going to design a printed circuit board that

15:20:27 22    goes with this connector shown.     They were trying --

15:20:29 23    Akoustis wanted to design an evaluation board to go with

15:20:33 24    this off-the-shelf connector.

15:20:34 25                    If you go up in the text it shows
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15:20:37   1

15:20:42   2

15:20:46   3                                      that's what I gather from the

15:20:49   4   text.

15:20:49   5   Q.       But that's not what ultimately happened here, you

15:20:53   6   know, right?

15:20:53   7   A.       Okay.    I'm not sure what you mean by that.

15:20:56   8   Q.       Were you here during the testimony of Dr. Dave Hodge?

15:20:59   9   A.       Yes.

15:21:00 10    Q.       Okay.    So then you know from Dr. Hodge's testimony

15:21:03 11    that what happened was Mr. Houlden obtained the engineering

15:21:09 12    drawing for the custom Qorvo RF connector, right, do you

15:21:14 13    recall that?

15:21:14 14    A.       Yeah, he had this drawing.

15:21:16 15    Q.       Okay.    And then Mr. Houlden handed that drawing to a

15:21:20 16    gentleman named David Dyer, right?

15:21:22 17    A.       Yes, correct.

15:21:23 18    Q.       He said to David Dyer, please go copy this drawing,

15:21:27 19    right?

15:21:28 20    A.       Wrong, that's not what he said.

15:21:29 21    Q.       That's what Dr. Hodge testified, right?

15:21:32 22    A.       No, I read the testimony, I read it word for word,

15:21:34 23    that's not what he said --

15:21:36 24    Q.       That testimony we can make available.

15:21:38 25    A.       Can I finish?
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15:21:38   1   Q.        I think you're actually done with that one?

15:21:41   2   A.        Okay.    All right.

15:21:45   3   Q.        Now, in performing your analysis as to whether this

15:21:49   4   RF connector was publicly available, did you go and try to

15:21:54   5   buy it?

15:21:56   6   A.        From            ?

15:21:57   7   Q.        Yes.

15:21:58   8   A.        No.

15:21:58   9   Q.        Did you check                 website to see if it's

15:22:02 10    there?

15:22:02 11    A.        No, I didn't do that.

15:22:03 12    Q.        Ms. Smith showed you a bunch of data sheets that you

15:22:06 13    had gone and looked at from the Wayback Machine.            Do you

15:22:09 14    remember that?

15:22:09 15    A.        Yes.

15:22:09 16    Q.        And you said you were looking at those to check out

15:22:12 17    the evaluation boards and what drawings were available.              Do

15:22:15 18    you recall that?

15:22:15 19    A.        Yeah.

15:22:16 20    Q.        You didn't find that               drawing in any of those

15:22:19 21    data sheets, did you?

15:22:20 22    A.        I was looking at the Qorvo website and pulling down

15:22:23 23    the data sheets to try to determine did Qorvo at the time or

15:22:27 24    TriQuint, consider the connector to be a trade secret, and

15:22:31 25    my conclusion was they did not because the connectors for
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15:22:35   1   these evaluation boards that they sell to their customers.

15:22:38   2   The part number is listed right on there.       That was why I

15:22:42   3   was looking at the data sheets.      I was trying to see if did

15:22:45   4   you guys -- before all the lawsuit happened, did you guys

15:22:48   5   really at that time frame consider connectors trade secrets,

15:22:51   6   it appeared to me that the answer is no, you did not.

15:22:54   7   Q.     In looking at those data sheets, did you ever find

15:22:57   8   this           connector referenced even once?

15:23:00   9   A.     No, I didn't find that.

15:23:08 10    Q.     Can we go to Group 5, please, and pull up Trial

15:23:14 11    Exhibit 76, which is PTX-112.

15:23:18 12                 Dr. Darveaux -- it would be great if we had the

15:23:23 13    native version of this one, actually, I think it's easier to

15:23:27 14    see.

15:23:27 15                 Dr. Darveaux, you understand that this is the

15:23:36 16    Qorvo products requirement document, one of them that was

15:23:39 17    found in Akoustis's files in this case?

15:23:41 18    A.     This looks like one of the sheets.       I don't know

15:23:44 19    which one.   I can't see which part it was.

15:23:46 20    Q.     Maybe we can just start, the jury may be able to see,

15:23:50 21    on the bottom of this there is a large number of tabs in

15:23:53 22    this document.    We can start with the overview tab and maybe

15:23:56 23    scroll up.   This is the sheet for the QPF4551; right?

15:24:01 24    A.     Front-end module, that's correct.

15:24:03 25    Q.     Which is a front-end module.      You understand that
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                                       #: 41828                              2179
                                        Darveaux - cross

15:24:07   1   this module includes 5-gigahertz BAW filters within it,

15:24:11   2   right?

15:24:11   3   A.       I believe so, I know one of them did, I guess we

15:24:14   4   would have to get to the details, but it could be -- I know

15:24:17   5   one of the documents did have a filter in the module.

15:24:22   6   Q.       And this is one of those documents that you said was

15:24:25   7   just not valuable or useful to Akoustis, right?

15:24:27   8   A.       So what I said was the format of the document, the

15:24:33   9   use of such documents is known.      The specific details like

15:24:37 10    you can see here the costs target obviously is not useful.

15:24:41 11    They don't make front-end modules, the filter is a small

15:24:44 12    part of that.

15:24:45 13                     And if there is any specifications even

15:24:47 14    specifically on the BAW filters in Qorvo's front-end module

15:24:51 15    that's not useful to them because they need to get that and

15:24:54 16    they did get that type of information from their customers.

15:24:57 17    That was my testimony, I believe.

15:24:59 18    Q.       Okay.    When you concluded that this document had no

15:25:02 19    value to Akoustis --

15:25:03 20    A.       Yeah.

15:25:04 21    Q.       -- did you consider how Akoustis was using it at the

15:25:07 22    time that the document came into its possession?

15:25:10 23    A.       I didn't -- I didn't see how they used it at all.       It

15:25:16 24    may have been in an e-mail or something, but I didn't see

15:25:18 25    any evidence of use that showed up anywhere.
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                                        #: 41829                              2180
                                         Darveaux - cross

15:25:22   1   Q.     Can we pull up Trial Exhibit 75, which is PTX-110.

15:25:31   2   Dr. Darveaux, this is a meeting invitation from Rohan

15:25:37   3   Houlden dated February 28th, 2020, right?

15:25:42   4   A.     Yes.

15:25:43   5   Q.     And Mr. Houlden had sent this invitation to Pat

15:25:47   6   Lewis, Jerry Gray, and Dave Hodge, is that right?

15:25:50   7   A.     That's correct.

15:25:51   8   Q.     And he's asking them to come to a meeting in

15:25:54   9   conference room 2 to review Qorvo RVTM, right?

15:25:59 10    A.     I'm not sure what RVTM means, but yes, I see that is

15:26:04 11    the subject.

15:26:04 12    Q.     Have you heard of a requirements verification and

15:26:08 13    traceability matrix?

15:26:09 14    A.     Okay.

15:26:09 15    Q.     Are you familiar with that term?

15:26:11 16    A.     I am now.     I mean, I didn't know if that was -- it's

15:26:14 17    not spelled out, so I don't know if that was specific to

15:26:18 18    Qorvo or not.     I wasn't sure if that was some acronym

15:26:23 19    specific to Akoustis.      I do know what you're talking about,

15:26:25 20    yes.

15:26:25 21    Q.     And you see that Mr. Houlden in requesting this

15:26:29 22    meeting attached the product requirement document for

15:26:34 23    QPF4551 that we were just looking at?

15:26:38 24    A.     Yes.     Looks like there is two documents attached,

15:26:41 25    yes.
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                                          #: 41830                              2181
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15:26:41   1   Q.       Did you attempt to determine in performing your

15:26:44   2   analysis why Mr. Houlden would have scheduled a meeting in

15:26:49   3   conference room 2 during working hours at Akoustis to

15:26:53   4   discuss a document that had no value to the company?

15:26:55   5   A.       I assume he was trying to help.        I wasn't at the

15:26:59   6   meeting, it doesn't have any meeting minutes, I can't tell

15:27:03   7   what happened at the meeting.

15:27:04   8   Q.       Okay.    You didn't talk to Mr. Houlden?

15:27:08   9   A.       No.

15:27:08 10    Q.       You didn't talk to Mr. Lewis or Mr. Gray either?

15:27:11 11    A.       No.

15:27:13 12    Q.       Okay.    Group 6.    Can we pull up Trial Exhibit 14,

15:27:18 13    which is PTX 99.

15:27:20 14                     You recall testifying about this document,

15:27:22 15    right?

15:27:23 16    A.       Yes.

15:27:23 17    Q.       And like every other document you looked at in this

15:27:26 18    case, you said this one had no value to Akoustis; right?

15:27:30 19    A.       Right.

15:27:30 20    Q.       And you didn't see any evidence that Akoustis had

15:27:34 21    used this document at all?

15:27:35 22    A.       That's correct.

15:27:37 23    Q.       Okay.    Now you do know that this document was found

15:27:43 24    in Akoustis's files, right?

15:27:44 25    A.       Oh, yes.
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                                        #: 41831                              2182
                                         Darveaux - cross

15:27:44   1   Q.     And did you consider in determining that this

15:27:47   2   document had no value and was useless the circumstances

15:27:51   3   under which the document was circulated around Akoustis?

15:27:54   4   A.     Can you be specific?      You mean like an e-mail trail

15:28:00   5   or something?

15:28:01   6   Q.     Yeah, I can.     Let's go to PTX 98, which is Trial

15:28:07   7   Exhibit 66.    This is when the document first appears.        It

15:28:12   8   was sent from John Myrick to Rohan Houlden in August of

15:28:19   9   2018, do you see that?

15:28:22 10    A.     Yes.

15:28:24 11    Q.     And if we can also actually highlight the time, I

15:28:27 12    think the time is relevant to this.       It was sent at

15:28:30 13    2:34 p.m., do you see that?

15:28:32 14    A.     Okay.

15:28:33 15    Q.     Now, did you have a chance to speak with Mr. Myrick

15:28:36 16    as part of your analysis in this case?

15:28:37 17    A.     I did not.

15:28:38 18    Q.     So you don't know why Mr. Myrick would have been

15:28:41 19    sending Mr. Houlden a useless document with the subject you

15:28:45 20    may find this interesting?

15:28:46 21    A.     I assume he was trying to share with him.

15:28:50 22    Q.     Okay.    Why don't we go to Trial Exhibit 67, which is

15:28:55 23    PTX-100.    This was sent, same day, 3 o'clock, right?

15:29:07 24    A.     I guess so, yeah.

15:29:09 25    Q.     Okay.    August 18th, 2015, at 3:00 p.m.       So this is
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                                        #: 41832                              2183
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15:29:13   1   twenty-four minutes after Mr. Houlden got the document from

15:29:16   2   Mr. Myrick.    Who did he send it to?

15:29:19   3   A.        Joel Morgan.

15:29:20   4   Q.        You understand that Mr. Morgan was the vice-president

15:29:22   5   of quality at Akoustis, right?

15:29:24   6   A.        That's correct.   I mean, I don't know his title, but

15:29:27   7   I know that was his function, yes.

15:29:28   8   Q.        And that's the function that's responsible for

15:29:31   9   reliability testing, right?

15:29:32 10    A.        That's correct.

15:29:32 11    Q.        Which is the subject of this presentation that's

15:29:36 12    being circulated?

15:29:37 13    A.        It is.

15:29:38 14    Q.        Did you talk to Mr. Morgan about this document?

15:29:40 15    A.        I did not.

15:29:41 16    Q.        So you didn't find out whether he thought this

15:29:44 17    document was useful, did you?

15:29:46 18    A.        No, I didn't talk to Mr. Morgan.

15:29:48 19    Q.        But you know from other things you have seen that he

15:29:51 20    did find this document useful, right?

15:29:53 21    A.        I'm not sure what you're referring to, what other

15:29:56 22    things?

15:29:57 23    Q.        Well, let's do first, the can we pull up Trial

15:30:02 24    Exhibit 69 and Trial Exhibit 71, side-by-side, that's

15:30:05 25    PTX-102 and PTX-104.
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                                       #: 41833                              2184
                                        Darveaux - cross

15:30:08   1                This is Mr. Houlden's e-mails forwarding this

15:30:15   2   document to Pat Lewis on the left-hand side, and Dave

15:30:21   3   Aichele on the right-hand side.      Do you see that?

15:30:25   4   A.     Yeah, I see that.

15:30:26   5   Q.     So that's three folks at Akoustis who Mr. Houlden has

15:30:31   6   sent this document to within twenty-four hours of receiving

15:30:33   7   it; right?

15:30:35   8   A.     I see that, yeah.

15:30:36   9   Q.     Did you make any attempt to determine why Mr. Houlden

15:30:40 10    would have been forwarding irrelevant useless non-valuable

15:30:43 11    documents to these other folks at Akoustis?

15:30:45 12    A.     I assume he thought it was relevant.       I don't know

15:30:48 13    why else he would send it.

15:30:49 14    Q.     It wasn't just Mr. Houlden who thought it was

15:30:52 15    relevant right, it was also the vice-president of quality,

15:30:55 16    Joel Morgan who was responsible for reliability testing?

15:30:58 17    A.     I'm not sure where that came in.       Please show me

15:31:02 18    something that Joel Morgan thought it was relevant.

15:31:05 19    Q.     At your request.     Exhibit 72, PTX-106.     We have seen

15:31:17 20    this one before.    You recognize this document, right,

15:31:19 21    Dr. Darveaux?

15:31:19 22    A.     Yeah, I see the title, it's the same one we have been

15:31:23 23    talking about.    And you're saying do I recognize the e-mail,

15:31:26 24    yes, I do.

15:31:26 25    Q.     So this is now April of 2019, so roughly six months
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15:31:32   1   after Mr. Houlden first started circulating the reliability

15:31:36   2   testing document; right?       August 2018 to April 2019?

15:31:41   3   A.      Oh, yeah, yeah, yeah, yep.

15:31:44   4   Q.      And Mr. Morgan resends the document back to

15:31:46   5   Mr. Houlden and to Mr. Aichele, right?

15:31:50   6   A.      Okay.

15:31:51   7   Q.      And then in his e-mail he says here is one more that

15:31:55   8   Rohan provided earlier.        This is the primary document I have

15:31:58   9   been referencing regarding methodology for three temp

15:32:01 10    testing and MTTF determination, do you see that?

15:32:10 11    A.      Yes.

15:32:10 12    Q.      You didn't speak to Mr. Morgan to find out why he

15:32:13 13    would have been using this document reference if was useless

15:32:20 14    and not valuable?

15:32:21 15    A.      I didn't speak to Mr. Morgan.

15:32:24 16    Q.      Let's go on to group 7, please.

15:32:27 17                    THE COURT:    Counsel, we're at the break time.

15:32:30 18                    MR. DeFOSSE:    Okay.

15:32:31 19                    THE COURT:    We'll come back in fifteen minutes.

15:32:33 20    Don't discuss the case amongst yourselves.         Don't let anyone

15:32:36 21    talk to you about it.        We'll let the witness step down and

15:32:40 22    stretch.    Don't talk to anybody about your testimony.

15:32:43 23                    See everybody in fifteen minutes.      Thanks very

15:32:46 24    much.

15:32:48 25                    (Jury exiting the courtroom at 3:32 p.m.)
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15:32:55   1                 (A brief recess was taken.)

15:51:57   2                 THE COURT:   You may be seated.

15:52:03   3                 I have ruled on Defendant's Rule 50(a) motion

15:52:06   4   related to damages for unfair trade practice under North

15:52:14   5   Carolina law, so that will be docketed and appear within

15:52:18   6   fifteen minutes.    It's already been signed.     That takes care

15:52:21   7   of that, if your staff wants to look at it, because we got

15:52:24   8   some things to do.

15:52:25   9                 All set?

15:52:26 10                  MR. DeFOSSE:   We're all set, Your Honor.

15:52:27 11                  THE COURT:   Ready to bring the jury in.

15:52:36 12                  (Jury entering the courtroom at 3:52 p.m.)

15:52:55 13                  THE COURT:   All right.   Everyone can be seated

15:53:02 14    and counsel may proceed.

15:53:03 15                  MR. DeFOSSE:   Thank you, Your Honor.

15:53:07 16    BY MR. DeFOSSE:

15:53:08 17    Q.       Dr. Darveaux, as we left the break we were just about

15:53:12 18    to talk about trade secret Group 7.      You understand that

15:53:16 19    that group represents Qorvo's manufacturing assembly and

15:53:18 20    change procedures, is that right?

15:53:19 21    A.       Yeah, I remember the wording has changed but

15:53:23 22    basically the manufacturing.

15:53:23 23    Q.       And like the other groups, you have opined that the

15:53:26 24    documents in that group had no value or use to Akoustis,

15:53:29 25    right?
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15:53:30   1   A.      Yes.

15:53:30   2   Q.      Okay.    Can we pull up Trial Exhibit 195, which is PTX

15:53:37   3   0227?   Dr. Darveaux, you recognize this as one of the

15:53:42   4   documents you considered in forming your opinions in this

15:53:44   5   case?

15:53:44   6   A.      Yeah.    So this is a Robert Dry's team meetings,

15:53:54   7   invite that has an attachment to it.

15:53:55   8   Q.      And Mr. Dry is inviting Mary Winters, Ken Fallon,

15:54:01   9   Joel Morgan, and Brock Hosse to a meeting in January of

15:54:05 10    2020, is that right?

15:54:07 11    A.      Yes.

15:54:07 12    Q.      And he says the purpose of the meeting is to review

15:54:11 13    document requirements and generation for wafer inspection

15:54:14 14    specification.      Right?

15:54:17 15    A.      Yes.

15:54:18 16    Q.      And he attaches a document that he's entitled as

15:54:22 17    visual inspection, or visual INSP, do you see that?

15:54:26 18    A.      Yes, I see that.

15:54:28 19    Q.      And you understand that the document he's attached as

15:54:30 20    a Qorvo document that he had modified, right?

15:54:34 21    A.      I believe that's the one, I mean, I haven't seen it,

15:54:36 22    but that's what I recall.

15:54:37 23    Q.      If we could pull up Trial Exhibit 290, please, which

15:54:41 24    is PTX 228.     This is the attachment of the e-mail.       You do

15:54:46 25    recognize this as one of the Qorvo documents that Mr. Dry
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15:54:48   1   had modified, right?

15:54:50   2   A.       Yes.

15:54:50   3   Q.       And if we could actually put that down and pull up

15:54:53   4   the purpose paragraph.        Ms. Smith showed you a version of

15:54:59   5   this from Qorvo and pointed out that it related to the

15:55:02   6   Richardson facility in Texas, right, do you recall that?

15:55:06   7   A.       Well, she showed me the version and my testimony was

15:55:10   8   all the defects in that document that were shown in photos

15:55:14   9   related -- my testimony was that it related to the

15:55:17 10    Richardson Fab, because that's what it said it was for, the

15:55:21 11    Richardson Fab.

15:55:22 12    Q.       And you see in this version that Mr. Dry was

15:55:26 13    circulating around to Akoustis, he had been able to modify

15:55:29 14    this to reference the BAW devices produced by Akoustis,

15:55:32 15    right?

15:55:32 16    A.       Yeah, he changed the words in this paragraph.

15:55:35 17    Q.       Did you speak with Mr. Dry in connection with your

15:55:39 18    analysis of this case?

15:55:40 19    A.       I did.

15:55:40 20    Q.       You did?

15:55:41 21    A.       Yeah.

15:55:41 22    Q.       Did you ask him why he had modified this paragraph of

15:55:46 23    this document?

15:55:47 24    A.       Yes.

15:55:48 25    Q.       Okay.    Did you consider why Mr. Dry would be sending
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                                       Darveaux - redirect

15:55:54   1   a document to Ms. Winters, Mr. Fallon -- first of all, do

15:55:59   2   you know who Mr. Fallon is?

15:56:01   3   A.        Not -- I don't think I -- I am as familiar with

15:56:06   4   Fallon.

15:56:07   5   Q.        Is he the director of operations at the New York Fab?

15:56:10   6   A.        If you say so, I never met him.      I didn't talk to

15:56:13   7   him.   I'm not sure what his position was at the time.           If

15:56:16   8   you say so, I believe you, yes, I don't know.

15:56:19   9   Q.        Mr. Dry sent this document, which you found to be

15:56:23 10    unhelpful, to each of those individuals in January of 2020;

15:56:28 11    is that right?

15:56:28 12    A.        Yeah.    They had a meeting about it, apparently.

15:56:32 13    Q.        Okay.

15:56:33 14                      MR. DeFOSSE:   No further questions.

15:56:34 15                      THE COURT:   All right.   Redirect.

15:56:37 16                           REDIRECT EXAMINATION

15:56:39 17    BY MS. SMITH:

15:56:52 18    Q.        Could we focus in on the purpose section of 228, PTX

15:56:58 19    228.

15:57:01 20                      Dr. Darveaux, what is MILSTD-883?

15:57:06 21    A.        That's military standard 883.       It's quite a big

15:57:10 22    document.    It's used in our industry.       Method 2010 has some

15:57:19 23    specifics about, I assume inspection, that's why they're

15:57:22 24    referencing it here.       I don't have all the numbers

15:57:24 25    memorized, but 883 is a very common number.
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15:57:28   1   Q.     What does it mean when this document says that it is

15:57:31   2   based on criteria established in MIL-STD-883?

15:57:37   3   A.     So again, those specifications call out several

15:57:40   4   things like magnifications to use depending on the size of

15:57:43   5   the defect, and you know, methodologies.        Various things are

15:57:49   6   called out.    It seems like the magnification table is one

15:57:52   7   thing I remember seeing in the document.

15:57:54   8   Q.     And this standard is a well-known standard?

15:57:57   9   A.     Yes.

15:57:58 10    Q.     May I have PTX 227, please.

15:58:03 11                   Mr. DeFosse just showed you this document, do

15:58:10 12    you remember?

15:58:10 13    A.     Yes.

15:58:10 14    Q.     And it says meeting to review document requirements

15:58:14 15    and generation for wafer inspection specification.         Does

15:58:22 16    this tell you whether the document is being considered as a

15:58:27 17    general template or not?

15:58:30 18    A.     I mean, I don't know that you can tell from that

15:58:35 19    sentence what they discussed, general requirements, review

15:58:41 20    the requirements, document requirements.        It doesn't say

15:58:46 21    template, sounds like a template, but it doesn't say

15:58:50 22    template.

15:58:51 23    Q.     Okay.

15:58:52 24    A.     I don't know exactly what he meant by that sentence.

15:58:55 25    Q.     Okay.    Let's take that down.
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15:58:58   1                   Can a document be interesting but not useful?

15:59:08   2   A.      Sure.

15:59:10   3   Q.      Can a document be helpful to understand a competitor

15:59:15   4   but does nothing to improve your own product or company?

15:59:18   5   A.      Yes.

15:59:21   6   Q.      Did you base your understanding of Akoustis's

15:59:24   7   trimming process on actual substantive conversations with

15:59:28   8   Daeho Kim or on short e-mails forwarding documents?

15:59:32   9   A.      I did speak with Daeho Kim, and read the documents

15:59:37 10    produced in the case.       Both things.

15:59:41 11    Q.      Are there ways of discussing trimming that do not

15:59:46 12    involve confidential information?

15:59:50 13    A.      Well, I mean, again, I'm not a lawyer, but my

15:59:55 14    understanding is if something is well-known, it technically

16:00:00 15    can't be considered confidential.        I guess that's -- I don't

16:00:03 16    know.   That's my working understanding of it anyway.

16:00:07 17    Well-known in the industry.

16:00:09 18    Q.      So you can be talking about something that is an

16:00:15 19    aspect of trimming that is well-known in the industry and

16:00:18 20    that would not be confidential information?

16:00:20 21    A.      That's my understanding, yes.

16:00:21 22    Q.      And there are ways of discussing trimming that would

16:00:26 23    involve confidential information, right?

16:00:28 24    A.      Sure.

16:00:28 25    Q.      Did you see anything in the Qorvo documents you
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16:00:32   1   looked at where trimming was discussed in a confidential

16:00:36   2   way?

16:00:36   3   A.      No.

16:00:42   4   Q.      Earlier, Mr. DeFosse asked you whether you analyzed,

16:00:46   5   I think you said 500,000 documents that were found in this

16:00:49   6   case.   Do you remember that?

16:00:51   7   A.      Yes, I remember he mentioned the 500,000.        I don't

16:00:55   8   remember what his exact wording was in the question.

16:00:58   9   Q.      Did Dr. Shanfield provide any opinion on those

16:01:01 10    documents?

16:01:02 11    A.      It was not in his report that I understood.        I think

16:01:06 12    his report came down to about 1,500 documents and then in

16:01:10 13    the trial, the opinions he gave here were probably less than

16:01:17 14    thirty is my guess.     Yeah.

16:01:20 15    Q.      But Dr. Shanfield provided no opinion on those other

16:01:23 16    documents; right?

16:01:24 17    A.      I don't believe so, no.

16:01:35 18    Q.      May I have PTX 1142, please.

16:01:39 19                  Earlier today, you promised the jury that you

16:01:46 20    would talk about the eval boards and the connectors and you

16:01:52 21    specifically mentioned a portion of this diagram.         Can we

16:01:56 22    blow up the recommended PCP dimensions at the top, please?

16:02:02 23                  A few moments ago, you talked about how you had

16:02:12 24    reviewed all of the e-mail traffic between -- or the

16:02:19 25    deposition content about Hodge and Dyer, I believe is his
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16:02:25   1   name, related to this              connector?

16:02:29   2   A.     Yeah.

16:02:30   3   Q.     And that you believed that based upon your experience

16:02:34   4   in the industry, that something else was happening rather

16:02:41   5   than trying to duplicate this connector.        What was the basis

16:02:45   6   for you to say that?

16:02:46   7   A.     So I read the Hodge testimony, and it talks about

16:02:52   8   Dyer's position at the time, he was like a junior person

16:02:55   9   that did computer automated design, CAD, what you do with

16:03:01 10    CAD tools is layout the printed circuit board features,

16:03:04 11    that's what's shown here.     These are the features that the

16:03:07 12    supplier,           , recommends if you're going to use their

16:03:10 13    connector.   You design those on your print circuit board.

16:03:13 14                   When I read Hodge's testimony, that's what I

16:03:17 15    concluded was they were trying to get this drawing so Dyer

16:03:21 16    could get that piece of it right there and design an

16:03:25 17    evaluation board that would match up to the connector.

16:03:26 18    That's what I understood the testimony to be when I read it.

16:03:31 19    Q.     Okay.    And that is not trade secret information?

16:03:36 20    A.     No.   This is what the supplier is giving their

16:03:40 21    customer so they can use the connector.       It's absolutely not

16:03:44 22    trade secret.

16:03:46 23    Q.     Does passing around well-known information turn it

16:03:49 24    into a trade secret?

16:03:51 25    A.     I don't believe so.
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16:03:55   1                MS. SMITH:    No further questions.

16:03:57   2                THE COURT:    All right.    Thank you very much.

16:03:59   3   And you may step down.     Thanks very much.

16:04:02   4                Who will our next witness be?

16:04:08   5                MS. SMITH:    Dr. Lebby.

16:04:11   6                THE COURT:    All right.    If Dr. Lebby will come

16:04:14   7   forward and be sworn in.

16:04:29   8                COURT CLERK:    Please remain standing.       Please

16:04:34   9   state and spell your full name for the record.

16:04:40 10                 THE WITNESS:    Michael Lebby, M-I-C-H-A-E-L,

16:04:46 11    L-E-B-B-Y.

16:04:47 12                 MICHAEL LEBBY, having been duly sworn was

16:04:52 13    examined and testified as follows:

16:05:04 14                 MR. CREMEN:    Your Honor, before we begin, can we

16:05:05 15    have a brief side-bar?

16:05:07 16                 THE COURT:    Sure.

16:09:49 17                 (Side-bar discussion:)

16:09:49 18                 MR. NAQVI:    Before we commence with Dr. Lebby's

16:09:49 19    testimony, we asserted objections to an exhibit they want to

16:09:49 20    use with him.    I know the Court was considering that.

16:09:49 21                 THE COURT:    We're going to allow his testimony

16:09:49 22    on the two subjects that we indicated earlier, and probably

16:09:49 23    on little else.    He can talk about the business plan,

16:09:49 24    general business plan, not general information in that

16:09:49 25    regard and the product roadmap which he can certainly talk
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16:09:49   1   about.

16:09:49   2               MR. NAQVI:    Okay.

16:09:49   3               THE COURT:    And then he cannot go through market

16:09:49   4   reports, et cetera, and I don't believe that's going to be

16:09:49   5   appropriate with this witness.

16:09:49   6               MR. NAQVI:    So that's a 222 report?

16:09:49   7               THE COURT:    Right.    Anything else?

16:09:49   8               MS. SMITH:    There are --

16:09:49   9               THE COURT:    I'm sorry, I can't hear.

16:09:49 10                MS. SMITH:    I understand.     So there are other

16:09:49 11    market reports in this case.      Is he allowed to go through

16:09:49 12    those or no market reports?     I mean, my -- I'm sorry, Your

16:09:49 13    Honor.

16:09:49 14                THE COURT:    No, go right ahead.

16:09:49 15                MS. SMITH:    My understanding was the Daubert

16:09:49 16    ruling was based upon the fact that for trade secrets he has

16:09:49 17    to know what's available publicly at a certain time, but all

16:09:49 18    he's going to talk about is his work, himself, in his

16:09:49 19    experience drafting roadmaps and business plans.

16:09:50 20                THE COURT:    Sure.

16:09:50 21                MS. SMITH:    And how he uses market reports and

16:09:50 22    teardown reports to inform him of how to create these plans.

16:09:50 23    So, I mean, I'll just tell you right now, what we were going

16:09:50 24    to do is just go through the report and say this is what is

16:09:50 25    available here and this is what that means, that's all we
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16:09:50   1   were going to do.    We were not going to mention anything

16:09:50   2   about the other categories at all.

16:09:50   3               THE COURT:    Okay.    Well, that's probably -- go

16:09:50   4   ahead.

16:09:50   5               MR. NAQVI:    We don't object to Dr. Lebby

16:09:50   6   testifying generally about market reports.       He said he has

16:09:50   7   personal background with that, that's totally fine.

16:09:50   8               My concern, Your Honor, would be the motion to

16:09:50   9   exclude the ruling that you gave, I want to make sure there

16:09:50 10    isn't any testimony or confusion to the jury that

16:09:50 11    information in these reports is the same type of information

16:09:50 12    that is Qorvo trade secret because Your Honor prevented him,

16:09:50 13    excluded his opinion on Qorvo trade secret.

16:09:50 14                THE COURT:    I think we sit and listen carefully.

16:09:50 15    I know if he ventures off, you don't mind bringing him back

16:09:50 16    to the right spot.

16:09:50 17                MS. SMITH:    He's not going to be talking about

16:09:50 18    any of Qorvo's documents at all.

16:09:50 19                MR. NAQVI:    Or suggesting that anything in these

16:09:50 20    publicly available documents overlaps with Qorvo trade

16:09:50 21    secrets.

16:09:50 22                THE COURT:    I think his testimony will be

16:09:50 23    relatively short and it will focus on what we talked about

16:09:50 24    and we all know what we are not supposed to talk about.

16:09:50 25                MS. SMITH:    Right.
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16:09:50   1               MR. NAQVI:    Just to clarify, is Ms. Smith

16:09:50   2   permitted to show him the 222 yield report?        I guess that's

16:09:50   3   the outstanding question.

16:09:50   4               THE COURT:    What about that?

16:09:50   5               MS. SMITH:    Well, I would like to because that's

16:09:50   6   basically his job, he makes roadmaps and business plans and

16:09:50   7   he uses reports, so he needs to also explain the paragraphs

16:09:50   8   that were not excluded that help -- it's the avoided cost

16:09:50   9   analysis, so he does say he would spend $10,000 on a market

16:09:50 10    report for the Category 1 document to -- basically

16:09:50 11    independently create a business report, a business plan.

16:09:50 12                THE COURT:    That's a practice in the industry, I

16:09:50 13    think he's allowed to testify in that regarded.        Okay.

16:09:50 14                MR. NAQVI:    We are okay with that.      Thank you,

16:09:50 15    Your Honor, for the clarification.     It was very helpful.

16:09:55 16                (End of sidebar.)

16:09:55 17                THE COURT:    Ms. Smith, you may proceed.

16:09:59 18                     DIRECT EXAMINATION

16:09:59 19    BY MS. SMITH:

16:09:59 20    Q.     Good afternoon, Dr. Lebby.      How are you today?

16:10:02 21    A.     Good afternoon.    Very well.   Thank you.

16:10:04 22    Q.     Would you please state your full name, age, and your

16:10:07 23    current state of residence?

16:10:08 24    A.     My name is Michael Lebby.     I am sixty-three.      I live

16:10:11 25    in San Francisco, California.
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16:10:14   1   Q.      And I have been having this problem myself today, so

16:10:19   2   I'm going to ask you to speak up so that everybody can hear

16:10:23   3   you.

16:10:23   4   A.      I will try.

16:10:24   5   Q.      Would you tell the jury a little bit about your

16:10:27   6   family background?

16:10:29   7   A.      Yes.    I am English by birth.     I'm a U.S. citizen.

16:10:34   8   Married.    I have two children.      My wife works as a middle

16:10:40   9   school teacher in Oakland, California.

16:10:42 10    Q.      What are the specifics of your educational

16:10:44 11    background?

16:10:45 12    A.      I was educated in England.       I have four degrees.       I

16:10:50 13    have a Bachelor of Electrical and Electronic Engineering in

16:10:55 14    '84.   I have an MBA in '85.      Ph.D. in '87.     And a second

16:11:01 15    doctorate, Doctor of Engineering in 2004.          These are at the

16:11:06 16    University of Bradford in the UK.

16:11:09 17    Q.      So what made you come to the U.S.?

16:11:13 18    A.      Actually -- usually you runaway from your parents,

16:11:19 19    but my parents ran away from me.        They left in 1980 to come

16:11:23 20    to California.      I had a scholarship, I finished university

16:11:29 21    and then I realized in the electronics field there are a lot

16:11:32 22    of job opportunities in the U.S., so I came in '85.

16:11:36 23    Q.      Who do you currently work for?

16:11:38 24    A.      I work for a public company, small public company

16:11:43 25    based in Denver, Colorado called Light Wave Logic.            It's a
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16:11:48   1   company that develops chemistry or polymers, and the

16:11:51   2   application is for the internet.       And we turn these polymers

16:11:57   3   into little devices called modulators that actually speed up

16:12:01   4   the data that goes around the internet.

16:12:04   5                 So, for example, if you're sitting in a home and

16:12:07   6   you have to turn your monitor off because you don't have the

16:12:10   7   bandwidth coming into your home, these type of devices send

16:12:15   8   a lot more information faster so they relieve that issue.

16:12:18   9   Q.     Do you have any professional certifications?

16:12:22 10    A.     Yes, I do.     I am a fellow of the IEEE, that's the

16:12:29 11    Institute of Electrical and Electronics Engineers.           I'm

16:12:32 12    fellow of OPTICA, which is another society, professional

16:12:35 13    society.    I'm also a fellow of the National Academy of

16:12:39 14    Inventors.

16:12:39 15    Q.     Are you the named inventor on any patents?

16:12:43 16    A.     Yes, I am.     I think to date it's more than 225 issued

16:12:49 17    USPTO patents.     And the fields include semiconductors,

16:12:55 18    electronics, platonics, which are also electronics,

16:13:01 19    packaging, materials and subjects like that.

16:13:05 20    Q.     Are you the author of any publications?

16:13:08 21    A.     Yes, I am.     I have roughly about sixty publications

16:13:12 22    to my name.

16:13:16 23    Q.     How about conference work and speaking engagements?

16:13:20 24    A.     So given my career over the last forty years, I have

16:13:24 25    somewhere close to 400 speaking engagements at conferences,
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16:13:28   1   panels, invited talks, keynote talks, interviews, webinars,

16:13:33   2   things like that.

16:13:34   3   Q.       Which conferences have you chaired?

16:13:40   4   A.       So there is a couple of conferences I like to

16:13:43   5   participate in.    There is an international conference in

16:13:46   6   Europe on optical communications where I have chaired the

16:13:50   7   market focus committee in sessions for the last seven years

16:13:55   8   consecutively.

16:13:56   9                 There is another conference in Europe where I

16:14:00 10    have chaired the actual conference and solicit papers and

16:14:04 11    speakers.   Speakers for the last nine years consecutively.

16:14:08 12    Q.       What other employment history do you have?

16:14:12 13    A.       I believe there is a demonstrative, if we're going to

16:14:15 14    use that.   So I started working in the UK for the British

16:14:22 15    government, then came to the United States in 1985 to Bell

16:14:25 16    Labs to do research in electronics.      I was there for four

16:14:29 17    years.

16:14:30 18                  I then moved to Motorola in Phoenix, Arizona,

16:14:35 19    that's also to do with electronics.      I also started to do

16:14:41 20    other electronics there, too.     Motorola, we focused on the

16:14:45 21    corporate research area, and I was responsible in a number

16:14:48 22    of different positions and projects doing business plans and

16:14:52 23    technology road maps.

16:14:53 24                  In 1998, nine years later, I went back across

16:14:58 25    the country to Pennsylvania to Tyco in Harrisburg.          And then
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16:15:04   1   I had a more senior role in one of Tyco's divisions doing

16:15:10   2   technology business development, that's what BD means, and

16:15:15   3   that included work on business plans and technology road

16:15:19   4   maps.

16:15:19   5                In 1999, I went back across the country to

16:15:22   6   California to work for Intel.    Intel Capital is the venture

16:15:26   7   arm of Intelliware, they found lots of companies, so I did a

16:15:31   8   lot of work in advanced technology at Intel.

16:15:34   9                And after Intel, it was an interesting time for

16:15:36 10    me, because previous to that, I worked for large

16:15:40 11    corporations and then I started my own company with some

16:15:44 12    colleagues from HP, which was also in California.         So we

16:15:48 13    started a company and raised venture capital money and

16:15:51 14    developed our own business plans and technology and products

16:15:55 15    and took that to market.

16:15:58 16                 In 2003, we were acquired by a large company in

16:16:01 17    England, and I was given a vice-president role of technology

16:16:07 18    and business development at that time reviewing most of the

16:16:14 19    company's technology roadmaps and plans and looking at some

16:16:17 20    of the product development.

16:16:18 21                 2005, I went to Washington D.C., OIDA stands for

16:16:25 22    Optoelectronic Development Association, that's a nonprofit

16:16:28 23    trade association to represent the industry in Washington

16:16:33 24    DC.   So I learned lots about of how government worked from a

16:16:38 25    technical standpoint.    OIDA provided lots of services to its
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16:16:43   1   members like workshops, conferences, they did roadmap

16:16:47   2   reports, they also did market analysis and market reports.

16:16:51   3   So I was responsible for that.

16:16:53   4                In 2010, I went back across the country to

16:16:58   5   California to Palo Alto, a startup company called

16:17:03   6   Translucent, where I focused on electronic RF and HF

16:17:08   7   materials.   In that company we did a lot of work on

16:17:11   8   electronics material and development, and took that to

16:17:15   9   product development.    I was the GM and the chief technical

16:17:21 10    officer there.    And then we come in 2015 to my present

16:17:25 11    company.

16:17:25 12    Q.     Do you do any consulting work?

16:17:28 13    A.     Yes, I do.    I consult for one entity, that's the

16:17:31 14    European commission, and in that capacity I help the

16:17:35 15    commission review electronic proposals and advice on

16:17:39 16    electronic strategy including optical electronics.

16:17:45 17                 MS. SMITH:    Your Honor, I tender Dr. Michael

16:17:47 18    Lebby as an expert in the RF filter industry.

16:17:51 19                 THE COURT:    Any voir dire?

16:17:53 20                 MR. NAQVI:    No objection, Your Honor.

16:17:54 21                 THE COURT:    He is accepted as an individual to

16:17:59 22    express opinions, he is an expert in the areas specified.

16:18:03 23    BY MS. SMITH:

16:18:04 24    Q.     So Dr. Lebby, would you please go a little bit in

16:18:08 25    more detail about your role at Motorola?
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16:18:11   1   A.     Yes.    Motorola, I was there for nearly ten years and

16:18:15   2   I started off in corporate research as a researcher and then

16:18:19   3   ended up actually running lots of research groups.            And one

16:18:23   4   of the things I learned coming from Bell Labs where it's a

16:18:28   5   published or parish environment, you have to publish papers

16:18:32   6   at Bell Labs to survive.      But in Motorola, they decided they

16:18:37   7   didn't want us to publish papers, they wanted us to do

16:18:43   8   patents and put business plans together for some of the

16:18:45   9   research we were planning to do, some of the projects we

16:18:49 10    were working on.     That was interesting because as a

16:18:51 11    researcher that was quite new for me.         So in order to do

16:18:54 12    that, what we started to do is to look at how best to put

16:18:58 13    plans together so we could bridge the research going from

16:19:04 14    new concepts of technology to develop that technology into

16:19:09 15    products.

16:19:09 16                  One of the things Motorola really watched very

16:19:13 17    carefully was on your projects for new technology, they

16:19:17 18    wanted to make sure there was a market for the new

16:19:21 19    technology.    If you remember in the 1989 time frame, we had

16:19:25 20    pagers, we had the little Motorola cell phones, so they were

16:19:29 21    really interested in reducing the size of these cell phones

16:19:32 22    and looking for new technology to put into those phones,

16:19:35 23    like, for example, changing in displays and changing the

16:19:38 24    performance, from digital to analog.          So we had to plot

16:19:43 25    where the technology would be going a few years down the
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16:19:47   1   road, would it be a technology that would take off, would it

16:19:50   2   be a technology that would achieve a specification persons

16:19:54   3   would like to see.      And so it was a very -- for me an

16:19:58   4   interesting change from the classic research I did at Bell

16:20:02   5   Labs to more commercial research.        And that really focused

16:20:06   6   me on things that, some of the projects we worked on at

16:20:12   7   Motorola, including some of the original BAW filter designs,

16:20:16   8   SAW filters, projects you have heard about, so we looked at

16:20:20   9   some of those types of projects.

16:20:21 10    Q.      You talked about this bridge to connect technology

16:20:31 11    into a product.      Can that go beyond a single product getting

16:20:36 12    to market and can cover an evolution of that product?

16:20:39 13    A.      Yes.    I mean, from the very highest level, when I

16:20:44 14    talk about a bridge to take technology from its concept

16:20:49 15    stage all the way to product, we've heard something very

16:20:53 16    similar in trial in the last I guess eight or ten days,

16:20:57 17    people have been mentioning phase gates and stage gate

16:21:01 18    processes.     These are two techniques where you would qualify

16:21:07 19    a project as it advances from research to product

16:21:11 20    development.     And so these are like virtual gates.

16:21:15 21                   What is a gate?    To answer your question, yes,

16:21:18 22    you can do this with many different products.           But what is a

16:21:21 23    gate?   To be reviewed by your peers and a review by higher

16:21:25 24    management to make sure the project is making really good

16:21:29 25    progress.    So you have got some new technology you're trying
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16:21:32   1   to sort of develop into a product, management wants to know

16:21:36   2   when it gets to a product, is it going to make money, so you

16:21:41   3   got to show the cost of all the component parts or the bill

16:21:45   4   of materials is such that it's a low enough so it's

16:21:50   5   underneath the selling price so you can make money doing

16:21:53   6   that.   They also want to know is there a market for it, so

16:21:56   7   what is the application in the market.        They also want to

16:21:59   8   know what the specifications would be that the customers are

16:22:01   9   looking for.

16:22:02 10                   Now, sometimes some of these technologies don't

16:22:05 11    make it through the gates, so you're either given more

16:22:09 12    funds, more budget, or more time or they just kill the

16:22:12 13    project.    I have been on a number of technology projects

16:22:15 14    which have basically been killed because they didn't make it

16:22:18 15    through the gates.

16:22:19 16                   And so some people call it new product

16:22:23 17    introduction, some people call it stage gate, some people

16:22:27 18    call it phase gate, but they're generally a bridge to take

16:22:31 19    technology from its concept, from its new idea all the way

16:22:35 20    to products.

16:22:37 21    Q.      And what's the difference between a business plan and

16:22:41 22    a roadmap?

16:22:43 23    A.      So a business plan would give you, typically you

16:22:47 24    start off a business plan on a spreadsheet and you would see

16:22:51 25    if whatever you're designing, when it gets to product, will
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16:22:55   1   it actually make any money.     You put it in the market and

16:22:59   2   can you ask a selling price that people, customers, will

16:23:02   3   actually pay and will you make a profit.

16:23:04   4                  The business plan usually dictates if a product

16:23:08   5   can do that.

16:23:08   6                  And so in order to do that, you really have to

16:23:12   7   understand the cost of all the component parts.          So I mean,

16:23:17   8   there is really an understanding if you have a wafer going

16:23:20   9   through the fab, you really have to understand the cost

16:23:23 10    reference.

16:23:24 11                   In a roadmap, you're looking to see if the

16:23:26 12    technology you have chosen really actually can achieve the

16:23:29 13    specifications.    And maybe they can, maybe it looks like it

16:23:32 14    can when you begin and then the customer requirements change

16:23:37 15    as we just heard earlier today, and maybe the specifications

16:23:41 16    get a little more strict, more stringent, you want to make

16:23:45 17    sure that the technology has head room to improve in

16:23:48 18    performance, so a roadmap will give that you indication.

16:23:52 19    Q.     What sorts of tools would you use to create roadmaps

16:23:57 20    and business plans?

16:24:02 21    A.     Right.     So the types of tools I would look at would

16:24:05 22    be one of the things I learned when I was at Motorola, and I

16:24:08 23    didn't realize this existed at Bell Labs, was you can go out

16:24:11 24    and you can purchase market technology reports.          You can go

16:24:16 25    out and purchase technology reports.         Could go out and
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16:24:20   1   purchase teardown reports.      We have seen examples of that

16:24:24   2   this last week.     These are things that you can buy from

16:24:28   3   third-party companies.

16:24:29   4                  And I think I said in my deposition, you know,

16:24:31   5   the price ranges typically between $3,000 and $10,000.            And

16:24:36   6   so one of the things I was told to do when I first arrived

16:24:40   7   at Motorola was go buy a couple of market reports and figure

16:24:45   8   out the technology you're working on, where it's going to

16:24:48   9   go, what the application is, and what the market looks like.

16:24:52 10    I actually did that.

16:24:53 11                   What that taught me and it sort of stayed with

16:24:56 12    me the rest of my career is there is a ton of information

16:24:59 13    out there that doesn't cost a lot of money that has lots and

16:25:02 14    lots of detail about what the raw materials would cost, how

16:25:07 15    much it would cost to run something through a fab, how much

16:25:10 16    it would cost to assemble something or package something,

16:25:13 17    and what the markets look like, who are the big players, who

16:25:16 18    are the competition, what the competition looks like, and

16:25:20 19    even to as we've seen from the two teardown reports today,

16:25:25 20    you can look at a competitor's product and you can see it

16:25:30 21    analyzed.

16:25:37 22    Q.        So you mentioned earlier that after you went to

16:25:40 23    Motorola, you then worked at Tyco and then you joined Intel,

16:25:44 24    but then you went to a startup called Ignis.          Why did that

16:25:52 25    happen?
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16:25:53   1   A.     That was an opportunity, if you're in the field and

16:25:55   2   you're doing technology roadmaps, then at that time myself

16:25:59   3   and some colleagues saw an opportunity that wasn't being

16:26:02   4   covered by the larger corporations.     So my colleagues worked

16:26:06   5   at HP, I worked at Intel.    They weren't really interested in

16:26:10   6   an opportunity we saw in the marketplace, so we all decided

16:26:14   7   to leave the big companies, start our own company, raise

16:26:17   8   venture capital money, put our own plans together, put our

16:26:21   9   own roadmaps together, and really see if we could address a

16:26:25 10    gap in the marketplace.

16:26:27 11                What we discovered when we did this, we weren't

16:26:31 12    the only team on that, there were about twenty other start

16:26:34 13    up companies all start trying to do the same thing.         It was

16:26:38 14    very competitive, this was in the 2001 time frame.         But when

16:26:42 15    you start your own company, it's 24/7, you work seven days a

16:26:47 16    week, you work long hours.    We even had a couple of sofas in

16:26:51 17    the cafeteria area so people could sleep overnight.

16:26:56 18                But, you know, the exciting thing about that is

16:26:59 19    you took a brand-new technology and we turned it into

16:27:03 20    commercial products within two years, mostly because of

16:27:06 21    venture capitalists, we had to get the job done.        There is a

16:27:13 22    lot of pressure, but it's also a lot of fun, too.

16:27:16 23    Q.     After Ignis -- it was after Ignis was acquired by

16:27:23 24    Photon, you were at company come for a while and then you

16:27:26 25    went to OIDA?   What is OIDA?
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16:27:29   1   A.       It's a trade association that represented a number of

16:27:31   2   companies in the U.S.      So there were companies such as

16:27:46   3   Intel, Motorola, companies like that that were members of

16:27:51   4   OIDA, it was a trade association.      And it was a nonprofit

16:27:55   5   trade association, and we put together workshops and

16:28:00   6   conferences for the members, and we wrote roadmap reports,

16:28:06   7   technology roadmap reports, we also did market analysis for

16:28:10   8   the members because they really wanted to understand what

16:28:13   9   the markets were like, it was a nonprofit trade association

16:28:18 10    that provided services to their members.

16:28:21 11    Q.       So then you were on the other side of the market

16:28:26 12    report; right, where you were creating them yourself?

16:28:30 13    A.       Absolutely.    It's before then I was actually

16:28:33 14    purchasing reports, but I went to RODA, part of the job was

16:28:38 15    to write market reports to what the members were looking

16:28:44 16    for.   And so, yes, I sat down and started to learn out to do

16:28:48 17    that process and we did that for like five consecutive years

16:28:54 18    in terms of market reports.

16:28:55 19                     I believe there was probably ten or twelve

16:28:58 20    reports a year.

16:29:00 21    Q.       Okay.    May I see DDX 4.02, please.

16:29:08 22                     Dr. Lebby, what have you been asked to do for

16:29:13 23    today?

16:29:14 24    A.       So I have been asked to calculate the avoided costs,

16:29:18 25    which is similar to what the Dr. Darveaux just talked about
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16:29:23   1   when he did his calculation of avoided cost.          But the

16:29:26   2   categories I have been asked to look at are Categories 1 and

16:29:30   3   8 of Dr. Shanfield's report of the Qorvo's alleged trade

16:29:34   4   secrets.    So I have been looking at Categories 1 and 8, and

16:29:37   5   Dr. Darveaux looked at Categories 2 to 7.

16:29:41   6   Q.        What are Categories 1 and 8?

16:29:44   7   A.        Category number 1 is business plans for the Wi-Fi

16:29:48   8   market.    And Category 8 is roadmaps and prototypes.

16:30:08   9                  MS. SMITH:   Your Honor, may I approach the

16:30:09 10    witness?

16:30:10 11                   THE COURT:   You may.

16:30:16 12    BY MS. SMITH:

16:30:30 13    Q.        Dr. Lebby, I just handed you DTX 480.       Do you

16:30:37 14    recognize this document?

16:30:38 15    A.        Yes, I do.

16:30:40 16    Q.        What is this document?

16:30:42 17    A.        This is a BAW filter comparison document.        It's a

16:30:48 18    market report.     It is authored by the company, a French

16:30:53 19    company called Yole, Y-O-L-E, and the date of it is 2022.

16:31:01 20    Q.        Did you use this document when you were forming your

16:31:04 21    opinions?

16:31:05 22    A.        Yes, I did.

16:31:09 23                   MS. SMITH:   Your Honor, I move for DTX 480 to be

16:31:13 24    entered into the evidence.

16:31:14 25                   MR. NAQVI:   Objection, Your Honor.
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16:31:15   1               THE COURT:     Objection sustained.     On the same

16:31:18   2   basis as the 803 objections previously raised in this area.

16:31:41   3               MS. SMITH:     May I show the report, Your Honor?

16:31:43   4               THE COURT:     Yes, I mean, can you show it to the

16:31:45   5   witness, sure.

16:31:46   6               MS. SMITH:     But I cannot display it?

16:31:48   7               THE COURT:     Take a look at Rule 803.17, that

16:31:53   8   will tell you what you can do.

16:31:55   9   BY MS. SMITH:

16:31:56 10    Q.     Dr. Lebby, would you turn to page 2 of the document.

16:32:13 11    A.     I am there.

16:32:15 12    Q.     All right.    What's on page 2?

16:32:18 13    A.     Page 2 is a table --

16:32:21 14                THE COURT:     It's 803 subpart 18.     Go ahead.

16:32:28 15    Q.     What's on page 2?

16:32:31 16    A.     Page 2 is a -- the first page of a table of contents.

16:32:38 17    It already shows it goes into over 126 pages.        It covers an

16:32:46 18    overview of the market, BAW filters, company profiles in

16:32:53 19    this market, the RF market, some of the competitors in the

16:32:58 20    market, it has a section on physical analysis, so what this

16:33:04 21    company is doing is taking -- looking at the physical

16:33:07 22    filters that are in these front end filter modules by a

16:33:13 23    number of different companies.     It does a comparison by

16:33:16 24    doing some analysis and then goes through some detailed

16:33:19 25    manufacturing process to make these filters.
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16:33:23   1   Q.     So I would like to go through this report and ask you

16:33:36   2   what kind of information you would get from this report in

16:33:41   3   order to create business plans and roadmaps.

16:33:46   4                 What's on page 145 of this report?

16:33:56   5   A.     Page 145 is entitled synthesis of the cost analysis.

16:34:02   6   And what it is a table with a number of competitive

16:34:07   7   companies like Skyworks, Broadcom, TileUni, Akoustis, Ross,

16:34:16   8   which is Chinese company, Qorvo, Texas Instruments, and it

16:34:22   9   compares different costs of the wafers, the die costs, and

16:34:25 10    the die costs per millimeter of all these different

16:34:29 11    companies.

16:34:29 12                  For example, it lists which ones make SAW and

16:34:35 13    which ones makes SMR.      Broadcom has the lowest die cost per

16:34:41 14    millimeter squared for an FBAR, which is 4.2 cents per

16:34:46 15    millimeter, compared to Akoustis which is 5.9 cents per

16:34:51 16    millimeter.    SMR looks like Qorvo is 4.9 cents per

16:34:57 17    millimeter squared.     So it looks like the lowest cost filter

16:35:01 18    would be made by Broadcom compared to other companies.

16:35:07 19    Q.     How are the creators of this report able to determine

16:35:12 20    costs on such a granular level?

16:35:15 21    A.     So they do a lot of reverse breakdowns and reverse

16:35:20 22    costing analysis, and they're looking to detail how those

16:35:25 23    chips are fabricated.

16:35:27 24                  For example, on this page it's got the wafer

16:35:29 25    cost, the wafer cost for Skyworks is $842, whereas for
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16:35:34   1   Akoustis its $454.   And for Qorvo it's $612.       And so they

16:35:41   2   estimate the size of it, they got the size of the wafer

16:35:44   3   here, they got the process from doing the reverse breakdown

16:35:47   4   and they see how two chips are being fabricated.        This is a

16:35:52   5   typical thing.   And then they can work out exactly what the

16:35:55   6   chip costs are, what the yields are and they can put that

16:35:59   7   into a spreadsheet which is part of this 170 page report.

16:36:04   8               And so I would say they may not align exactly to

16:36:09   9   the numbers you'll find internally to companies, but it

16:36:13 10    gives you a pretty good idea of the relative costs each

16:36:17 11    company is achieving through their manufacturing processes.

16:36:21 12    Q.     Have you ever worked at a company whose product was

16:36:29 13    the subject of a teardown report?

16:36:35 14    A.     I believe at Motorola when I was there, some of the

16:36:40 15    products we had were subject to teardown.       But I haven't

16:36:43 16    seen the reports.    I believe that's the case.      I know when I

16:36:46 17    was there, I ordered quite a number of teardown reports of

16:36:50 18    different competitor's products.     In fact, in my deposition

16:36:54 19    in February, I told opposing counsel I purchased two reports

16:36:58 20    at Light Wave just in December this year for the team

16:37:02 21    because we really wanted to look into what the competitive

16:37:06 22    products actually were like, so we went out and purchased a

16:37:08 23    couple of reports.   I don't think they were $10,000, I think

16:37:11 24    they were about $7,000.

16:37:13 25                So in terms of the products I have developed, I
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16:37:17   1   believe Motorola, somebody may have looked at those

16:37:20   2   products.    But for myself, I certainly purchase quite a few.

16:37:26   3   Q.        Okay.    Do these reports include forecasting of the

16:37:33   4   market?

16:37:33   5   A.        Yes, they do.     They give you a really interesting

16:37:37   6   market forecast.        They tell you what the market has been,

16:37:42   7   for example, in this report here, some of the forecast are

16:37:45   8   quite interesting.        It really looks at the RF industry from,

16:37:53   9   for you are phones, one of the teardowns is an iPhone 6 and

16:37:58 10    it shows you the market for 4G back in 2019 and it shows you

16:38:02 11    the big gray circle which decreases in size by 2026, they

16:38:08 12    don't actually recall the detail numbers.

16:38:11 13                      And the interesting thing I remember about that

16:38:12 14    chart is that in 2019, there was a very small light green

16:38:16 15    circle for 5G, and I don't believe I had a 5G iPhone in

16:38:21 16    2019, but that circle is huge by 2026.            So it gives you a

16:38:25 17    really good feel for the market forecasts and market growth

16:38:30 18    for different types of technology and applications.

16:38:34 19    Q.        Do these reports also show where each of the

16:38:40 20    companies in the industry are positioned as far as the

16:38:45 21    variety of products they make?

16:38:47 22    A.        Yes.    And typically what you'll find in a technology

16:38:50 23    roadmap is you'll find different types of technologies

16:38:55 24    plotted and a figure of merit performance, so you can see

16:38:59 25    which technologies have the potential to go, for example, I
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16:39:04   1   think there is one graph in here, high frequency, so we know

16:39:09   2   the originals of acoustic filter were SAW filters and we

16:39:14   3   know their performance goes up to about two, maybe

16:39:17   4   three-gigahertz.

16:39:18   5                And then we went to BAW filters and we know that

16:39:22   6   performance goes up to about five or six.       And then we have

16:39:26   7   received bar technology and that performance has been shown

16:39:30   8   to go above ten-gigahertz.    There is a graph here that

16:39:33   9   actually shows you the performance of different

16:39:36 10    technologies.

16:39:36 11                 So when you're putting a business plan and a new

16:39:39 12    project together, you can have a feel and say well, maybe

16:39:43 13    that technology has merit.    Maybe it has the potential

16:39:46 14    performance to meet specs a few years down the road.         So

16:39:51 15    these reports give you a really good feel for the potential

16:39:55 16    to come up with a good technology platform.        I mean, I've

16:40:00 17    certainly used it to put business plans together, both for

16:40:04 18    startup companies as well as projects within the big

16:40:07 19    corporate environment.

16:40:10 20                 MS. SMITH:   Your Honor, may I approach the

16:40:11 21    witness?

16:40:12 22                 THE COURT:   You may.

16:40:26 23    BY MS. SMITH:

16:40:40 24    Q.      Dr. Lebby, I just handed to you JTX 0014, and DTX

16:40:56 25    0623.   Do you recognize these two documents?
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16:40:58   1   A.     Yes, I do.

16:41:26   2   Q.     What are those documents?

16:41:28   3   A.     Well, the first document I'm looking at is JTX 0014.

16:41:34   4   This is a teardown report.    They actually call it a reverse

16:41:40   5   copying report.   The company who authored it is called

16:41:44   6   System Plus Consulting.    It is another French company.        It

16:41:48   7   is a report of it looks like about 170 pages, and what it is

16:41:56   8   entitled is Akoustis XBAW Technology for Connectivity.          So

16:42:02   9   it is a teardown of Akoustis parts, product parts.

16:42:06 10    Q.     And what is DTX 623?

16:42:09 11    A.     DTX 623 is another teardown report.       It's called a

16:42:16 12    reverse cost analysis, it's by System Boss, which is again a

16:42:23 13    French company.   The date is April 2016 and the title is

16:42:28 14    Qorvo TQF6045 High Band, FEM, SMR-BAW filter, and then

16:42:39 15    underneath it has iPhone 6S plus.     So it is a teardown

16:42:44 16    analysis of an iPhone 6 to do the reverse analysis on the

16:42:52 17    teardown of a TriQuint front-end module.

16:43:01 18    Q.     Can you please turn to page 113.

16:43:03 19    A.     Of DTX 0623?

16:43:06 20    Q.     No, of JTX 0014.

16:43:20 21    A.     I have page 113 in front of me.

16:43:26 22    Q.     What's on page 113?

16:43:28 23    A.     Sorry, it's got an echo in here.       On page 113, it is

16:43:35 24    entitled filter front-end process.     And what is depicted on

16:43:42 25    this slide or page is a very detailed list of the process
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16:43:49   1   flow that you would see in a fab.       It has listed different

16:43:57   2   fab process steps, in quite detail to help put the structure

16:44:05   3   together.   So it is a cross-section of a filter, it looks

16:44:08   4   like it's a cross-section of a cavity Akoustis filter

16:44:15   5   because I can see where the cavity is, and I can see the

16:44:18   6   cross-section of the layers.

16:44:21   7                 MS. SMITH:   Your Honor, these two exhibits have

16:44:23   8   already been admitted as Trial Exhibits 158 and 159.          Can

16:44:28   9   they be displayed?

16:44:33 10                  THE COURT:   Let me see you briefly at side-bar.

16:49:53 11                  (Side-bar discussion:)

16:49:53 12                  THE COURT:   Okay.    Let's take a look.     Let's see

16:49:53 13    what we have got.    The document, that's what I was trying to

16:49:53 14    look at.

16:49:53 15                  MR. NAQVI:   I have it here, Your Honor.

16:49:53 16                  THE COURT:   That would be helpful.      That's my

16:49:53 17    outline.    This is the document.     Let's leave your outline.

16:49:53 18                  MR. NAQVI:   Thank you.

16:49:53 19                  THE COURT:   No problem.

16:49:53 20                  MR. NAQVI:   That's JTX 14.

16:49:53 21                  THE COURT:   Okay.    This is prepared by the

16:49:53 22    French consulting firm.

16:49:53 23                  MR. NAQVI:   Correct.

16:49:53 24                  MS. SMITH:   Right.

16:49:53 25                  MR. NAQVI:   And I believe this is an analysis of
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16:49:53   1   the Akoustis process.

16:49:53   2                THE COURT:   It is.   That's true.     I can't tell

16:49:53   3   exactly what it is, it's being presented as a market report

16:49:54   4   or commercial publication, but it looks -- is it a market

16:49:54   5   report or is it something else?     It looks like a technical

16:49:54   6   report.

16:49:54   7                MR. NAQVI:   It's reverse cost analysis, Your

16:49:54   8   Honor.

16:49:54   9                MS. SMITH:   This is what is made in the

16:49:54 10    industry, that's how --

16:49:54 11                 THE COURT:   I believe that.      I'm just not sure

16:49:54 12    what it actually is.

16:49:54 13                 MS. SMITH:   Okay.    I mean --

16:49:54 14                 THE COURT:   Where does it say market report on

16:49:54 15    it?

16:49:54 16                 MS. SMITH:   Well, take a look at, it has it down

16:49:54 17    right, but it also talks about the cost.

16:49:54 18                 MR. STANFORD:   So it talks about the market at

16:49:54 19    the end, the cost of making these products, and --

16:49:54 20                 THE COURT:   It does look like it may be a market

16:49:54 21    report that would qualify under the exception, market

16:49:54 22    reports -- he needs to -- I think he's adequately identified

16:49:54 23    it.   I'm asking, do we know anything else about this that I

16:49:54 24    need to know from either side?

16:49:54 25                 MR. NAQVI:   I think, Your Honor, since it's
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16:49:54   1   already in evidence.

16:49:54   2                THE COURT:   It's already marked.      It was marked

16:49:54   3   up here.

16:49:54   4                MR. NAQVI:   It doesn't have the trial stamp, but

16:49:54   5   it's already in evidence.

16:49:54   6                THE COURT:   No, that's not a problem, there is

16:49:54   7   no objection, so that's the issue.     We can receive it.       It's

16:49:54   8   the -- it has yet to be marked.     What's the number?

16:49:54   9                MR. NAQVI:   It's 159.

16:49:54 10                 THE COURT:   Sure.   That's fine.     Go right ahead.

16:49:54 11    I wanted to make sure I knew what it looked like, because

16:49:54 12    it's big.   Huge.

16:49:54 13                 MS. SMITH:   The other market report actually has

16:49:54 14    way more market stuff in it, and it's not just focus on

16:49:54 15    Akoustis and not just focused on Qorvo, that's why we

16:49:54 16    printed it at first because it's more about the market and

16:49:54 17    all the other players.

16:49:54 18                 THE COURT:   Sure.

16:49:54 19                 MS. SMITH:   Would we be able to get that into

16:49:54 20    evidence or display it?

16:49:54 21                 MR. NAQVI:   We would object to that one, Your

16:49:54 22    Honor.   That's PTX 480 that we objected to on hearsay

16:49:54 23    grounds.

16:49:54 24                 THE COURT:   That is right, you did.      It looks

16:49:54 25    like it might have some limited use which is probably fine,
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16:49:54   1   but I don't think it can be received in the case.

16:49:54   2                 MS. SMITH:    Okay.

16:49:54   3                 THE COURT:    But this one is already in and

16:49:54   4   that's not a problem and it only relates to Akoustis, is

16:49:54   5   that right?

16:49:54   6                 MR. NAQVI:    Correct.

16:49:54   7                 MS. SMITH:    The other one relates to Qorvo.

16:49:54   8                 MR. NAQVI:    One for Qorvo, one for Akoustis.

16:49:54   9                 THE COURT:    That's perfectly fine.      This one is

16:49:54 10    in.   The other one, the whole report we would not receive.

16:49:54 11                  MR. NAQVI:    Correct.

16:49:54 12                  THE COURT:    I think we got it right.       Good deal.

16:49:54 13                  MR. NAQVI:    Thank you, Your Honor.

16:49:54 14                  MS. SMITH:    I can display it?

16:49:55 15                  THE COURT:    This one you can display.

16:49:55 16                  MS. SMITH:    And the Qorvo one, is that okay, or

16:49:55 17    no?

16:49:55 18                  THE COURT:    That's where you run into the issue

16:49:55 19    -- I'm going to allow you to -- it's really just the

16:49:55 20    hearsay, the question is it sufficiently reliable.           It's

16:49:55 21    already been marked and received, no objection, it can be

16:49:55 22    received.   The Qorvo one hasn't been objected to.

16:49:55 23                  MR. NAQVI:    It's this one, I think it's this

16:49:55 24    document.   She hasn't really asked questions about it yet.

16:49:55 25                  MS. SMITH:    I just started questioning about it.
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16:49:55   1                  THE COURT:    We're going to allow them under

16:49:55   2   803.17.

16:49:55   3                  MS. SMITH:    Okay.

16:49:55   4                  THE COURT:    Thank you.

16:50:00   5                  (End of side-bar.)

16:50:03   6                  THE COURT:    Counsel, may proceed.

16:50:04   7                  MS. SMITH:    All right.

16:50:05   8                  THE COURT:    And you were seeking to have one is

16:50:08   9   already marked and then there is a second one that may be

16:50:10 10    admitted, is that right?

16:50:13 11                   MS. SMITH:    Well, they're both admitted already.

16:50:16 12                   THE COURT:    We're fine.   You can display those.

16:50:19 13    BY MS. SMITH:

16:50:19 14    Q.        May I have DTX 623, that's Trial Exhibit Number 159.

16:50:29 15    Actually let me try JTX 14, that's Trial Exhibit 158.

16:50:36 16                   Dr. Lebby, is this the document that you have

16:50:40 17    been looking at?

16:50:40 18    A.        Yes, it is.

16:50:42 19    Q.        So let's start at the very beginning.       On page 2 --

16:51:03 20    all right, page 3.      That's the table of contents, right?

16:51:05 21    A.        That is correct.

16:51:06 22    Q.        Do you want to go through and just point out the

16:51:10 23    significant portions that you would normally look at for

16:51:14 24    creating business reports, business plans and roadmaps?

16:51:21 25    A.        So for the business plans and roadmaps, I certainly
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16:51:24   1   would look at the company profile, which begins on page 8.

16:51:28   2   You can see in that section there is a lot of interesting

16:51:31   3   things to look at in terms of the applications and the

16:51:34   4   market analysis.   I would look at a little bit of the

16:51:39   5   physical analysis, which is the next chapter, which is where

16:51:43   6   the teardown starts.   You got the filter die, you got

16:51:48   7   different types of products.    So I would look at the type of

16:51:51   8   package that would be used, how the die layout would be

16:51:58   9   like.   But then I would really focus on the manufacturing

16:52:02 10    process, which begins on page 111 I believe it is.

16:52:06 11                 And so now you're looking at the process flow.

16:52:09 12    This is how you would fabricate the filter in a Fab, in a

16:52:13 13    fabrication plant.   And so I would look at the test and

16:52:18 14    summary, that would give me a really good idea of how the

16:52:22 15    device is constructed, what the type of materials are, what

16:52:25 16    the layers are.

16:52:26 17                 The next section you would need for the business

16:52:29 18    plan, that gives you a cost analysis and some of the yields,

16:52:32 19    that gives you a really good idea of the cost of it, how it

16:52:36 20    -- all the steps, I mean, there is probably 2 or 300 steps

16:52:40 21    in the fab, and so it would tell you which steps are the

16:52:43 22    most costly, the ones to watch out for, what's being used.

16:52:47 23    And that would allow you to put a bill of materials

16:52:50 24    together.

16:52:51 25                 A bill of materials is basically you summarize
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16:52:57   1   all the raw costs.    So you need to know that figure to

16:53:00   2   figure out and compare that with this potential selling

16:53:03   3   price to find out if you're going to make some money.         So

16:53:06   4   that cost analysis and the cost comparison in the next

16:53:09   5   chapter is actually pretty important.

16:53:11   6                  The next chapter, selling price, well, you want

16:53:15   7   to make sure that the consumers are paying reasonable money

16:53:18   8   for these things so you can make a profit.       So you need some

16:53:22   9   idea of what the selling price is.

16:53:24 10                   And then the last bit is interesting, 164, these

16:53:30 11    companies don't just do teardown reports, they can do custom

16:53:34 12    reports, so you can call them up, if you want to pay three

16:53:37 13    or four times more money, they can do a custom report for a

16:53:42 14    particular product you want to analyze as opposed to a

16:53:44 15    product they believe should be analyzed.       So you could pay

16:53:48 16    more money for that.    So that's called custom services.        And

16:53:51 17    these companies can do things like that, too, and they can

16:53:54 18    really focus in on markets if you really ask them to do

16:53:58 19    that.

16:53:58 20    Q.      Let's take a look at page 9.    What information would

16:54:05 21    we use from this slide to do your work?

16:54:08 22    A.      This gives you financial highlights of Akoustis, it

16:54:13 23    shows you on the right-hand side that Akoustis is actually

16:54:16 24    losing money.    You can see there the net income is minus

16:54:21 25    $36 million.    I don't know the date when this was done.        It
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16:54:25   1   says 2020.   So it gives you sales revenue of 1.8 million in

16:54:30   2   2020.   Gross margins of 30 percent.     So it gives you some

16:54:35   3   idea of the performance of one of the players in the field.

16:54:41   4   Q.      Can you go to page 12, please.       What does this tell

16:54:52   5   you?

16:54:52   6   A.      This tells you that this company has got some data

16:54:58   7   from the Akoustis parts, I don't know, looking at this slide

16:55:03   8   if this is data that is measured by this teardown company or

16:55:07   9   they have got the data from a data sheet.        My suspicion is

16:55:10 10    they probably got the data from a data sheet, but it does

16:55:14 11    give you the idea of a typical performance of what the

16:55:18 12    Akoustis part is.    And you can see in that top graph, I

16:55:21 13    don't know if you can see the numbers, but that square sort

16:55:25 14    of raised profile is between 5 and 6-gigahertz, so you know

16:55:30 15    this was operating in that sort of range.

16:55:35 16    Q.      Let's go to page 23.    What's shown on this slide?

16:55:39 17    A.      This is what I would call a Wi-Fi technology roadmap.

16:55:45 18    They come in different forms.     But you can see there what it

16:55:50 19    plots, and if you look at the bottom part of the graph, you

16:55:53 20    can see 1999 going out to 2025.      And right above that, you

16:55:59 21    see 4, 5, 6, 6E, and 7, this is 4G, 5G and 6G, which we

16:56:08 22    haven't seen yet, which is sort of I think is expected to

16:56:11 23    come, and these are branding names.      So I might be incorrect

16:56:16 24    in terms of the G here, but it certainly -- what you're

16:56:19 25    seeing here is a proceedings progression through the years
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16:56:24   1   for increased performance and it tells you some of the

16:56:27   2   technology being used.     And on the top line it gives you

16:56:30   3   maximum speed, theoretical speed, as you look out to 2025,

16:56:36   4   so you can see that increasing.      So if you're designing into

16:56:40   5   the market you want to make sure your technology can achieve

16:56:43   6   these sort of performances, otherwise in 2025 you're not

16:56:46   7   going to be able to sell it.

16:56:48   8   Q.       So let's scroll over to page 29.       I think this is the

16:56:54   9   teardown section that you mentioned.         So I don't want to go

16:56:59 10    too deeply into this, but let's just scroll a few pages

16:57:03 11    forward to get a feel for what we're looking at here.

16:57:07 12                  So next, next.   Keep going.

16:57:16 13                  So is this what you were talking about when you

16:57:20 14    said this includes a teardown?

16:57:25 15    A.       What they have done here is taken the package out and

16:57:29 16    this is the chip, that's the cross-section of the chip in

16:57:31 17    the package, so you can see there is images from above and

16:57:35 18    there is images from a cross-section, so they have cut it in

16:57:39 19    two.   And typically the white on this graph is probably

16:57:45 20    metal.   I have not looked at it closely.        But you can see

16:57:49 21    the different types of materials there and you can analyze

16:57:52 22    those materials.

16:57:53 23                  What's interesting here in the package is on the

16:57:56 24    blue striped box on the left, it's all got the different

16:58:01 25    layers and the layer thicknesses, so there is quite a lot of
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16:58:05   1   detail here.

16:58:05   2   Q.     You mentioned that there is a third party company

16:58:08   3   that is doing this analysis.     Does this company make any

16:58:13   4   products?

16:58:15   5   A.     I don't believe these companies are in the business

16:58:18   6   to make products, they're in the business to sell reports,

16:58:22   7   so they sell reports on market business plans as well as

16:58:26   8   technology teardowns, technology roadmaps.        So I don't

16:58:31   9   believe -- I haven't come across a company making products,

16:58:35 10    but typically they write reports on analysis of the work

16:58:39 11    they do.

16:58:41 12    Q.     Okay.    Let's go to page 113.    So what's shown here?

16:58:48 13    A.     This was the slide I was trying to explain a little

16:58:51 14    earlier.    If you look at the green section on the lower

16:58:54 15    left, that's an FBAR type device, you can see the whites,

16:58:58 16    which is the cavity, which is the air space.

16:59:01 17                   But what's really interesting to someone like

16:59:03 18    myself is not only that, but it's on the right-hand side.

16:59:07 19    Look at those detailed steps of an XBAW wafer as it goes

16:59:13 20    through the fab.    There is like fifty different steps.         So

16:59:16 21    if you just look -- actually it's really small font, so you

16:59:20 22    won't be able to read it, but they have got all the

16:59:22 23    different steps, the etching steps, the oven baking steps, I

16:59:30 24    mean, dryer steps, so it's really, really detailed here, so

16:59:34 25    it gives me a really good feel of the complexity of what
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16:59:38   1   these things look like from a fab standpoint.

16:59:41   2   Q.      Let's go to page 132, please.       So what does this

16:59:52   3   slide tell you?

16:59:52   4   A.      This is part of the analysis of the filter front end

16:59:56   5   cost.   And you can see from that table on the top, if you

17:00:00   6   just read under fleet the front end is obviously a product

17:00:05   7   part, the raw wafer cost, the raw wafer, the support wafer,

17:00:10   8   the seed wafer, the XBAW process, and the yield loses, as

17:00:14   9   you run wafers through fabs, the cost changes, if the yield

17:00:18 10    is different.    So if you get a hundred percent yield, that

17:00:21 11    means everything on the wafer works.

17:00:23 12                   So then if you divide the wafer into lots of

17:00:27 13    little chips, then that's going to be the lowest cost of the

17:00:32 14    chips because everything works, if only half the chips works

17:00:35 15    and the yield is really low, like fifty percent, the chips

17:00:38 16    would be double the cost.    You really have to think

17:00:40 17    carefully what the yields are as you run -- so that gives

17:00:44 18    you a cost breakdown.    And you can see from this slide it

17:00:48 19    tells me where the cost are going in terms of which part of

17:00:52 20    the process, vis-a-vis three different yields that are used

17:00:59 21    in this simulation here.

17:01:02 22    Q.      Let's take a look at pages 133 and 134.        What is

17:01:10 23    shown on 133?    So to the right-hand side, what is that table

17:01:20 24    telling you?

17:01:21 25    A.      On the right-hand side, well that's an interesting
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17:01:24   1   table as you can see, it's actually called seed wafer step

17:01:28   2   cost.   And what's really interesting there is you look at

17:01:31   3   the step cost, which is the second column and you go -- you

17:01:35   4   work down there, and you see these little red boxes, and the

17:01:39   5   box that is the whitest is the aluminum nitride scandium

17:01:46   6   step cost, you can see in the bill of materials from this

17:01:50   7   chart, the most expensive process step is the aluminum

17:01:55   8   nitride scandium epitaxial growth.

17:01:59   9                The other steps, the I-beam trimming, we heard

17:02:01 10    about I-beam trimming earlier today, $18.57, that's the

17:02:06 11    second most expensive, so what this table tells me these are

17:02:11 12    things I really have to look out for if I'm going to put a

17:02:14 13    business plan together, these are the areas I got to focus

17:02:17 14    in on, that's where the big costs are, some of these big

17:02:23 15    costs, like passivation and oxidation cleaning and PC

17:02:29 16    cleaning, they are in the one to two cent range.        I've got

17:02:33 17    to look at the big ones and make sure those are under

17:02:36 18    control with high yield.

17:02:38 19    Q.      Let's take a look at page 149.

17:03:03 20                 So what is being compared here between Broadcom

17:03:06 21    and Akoustis?

17:03:08 22    A.      So what's interesting about this report is they don't

17:03:13 23    only give you the breakdown of the one product, they also

17:03:16 24    compare it to some of the products competitors.        In this

17:03:19 25    case, they're comparing Akoustis product with the Broadcom
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17:03:23   1   product.    And what's interesting here is there is slight

17:03:27   2   differences in the doughnut ring.      You can see the colors

17:03:31   3   are slightly different.     The colors are different because

17:03:33   4   some of the costs are different.      So if you just look at,

17:03:36   5   for example, the bottom line of this slide, the yield losses

17:03:41   6   represent thirteen percent in Broadcom, just as an example.

17:03:44   7   This is of the component costs.

17:03:46   8                 But for Akoustis, the yield losses represent

17:03:49   9   twenty-five percent.    That's a huge difference.       So these --

17:03:53 10    this is data that's really important when you're putting

17:03:56 11    business plans together.

17:03:58 12    Q.      Let's turn to page 159.     All right.    What's shown

17:04:07 13    here?

17:04:07 14    A.      This is an interesting graph because it gives you an

17:04:18 15    estimate of Akoustis gross profit for this component, for

17:04:21 16    the product, the 10165, they estimate with the low yield,

17:04:26 17    you can see on the left, top left-hand corner of that table,

17:04:29 18    the component cost is 8.2 cents, they estimate it's got

17:04:34 19    about 4.4 cents gross profit, and they estimate the

17:04:39 20    component price should be about 12.7 cents.

17:04:43 21                  So this tells me, okay, so these numbers may not

17:04:47 22    be exactly what Akoustis actually achieves internally but it

17:04:51 23    gives me a really good idea, you know, these components are

17:04:54 24    not $25, they're actually $0.12 or they could be $0.14, it

17:04:59 25    gives me a really good feel for imagining what profitability
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17:05:04   1   you would see for these types of components.

17:05:08   2   Q.      Let's take a look at DTX 623, that's Trial

17:05:13   3   Exhibit 159.

17:05:14   4                  What is this document, Dr. Lebby?

17:05:17   5   A.      This is a teardown analysis for a Qorvo part that was

17:05:21   6   in iPhone 6.

17:05:22   7   Q.      Let's look at page 10.    What does this tell you?

17:05:28   8   A.      This is a page that they have obviously sourced from

17:05:32   9   Qorvo, it's a financial page, it gives me some idea of what

17:05:35 10    the revenues are for Qorvo in 2015.     But in the table on the

17:05:41 11    right-hand side they probably copied that table from Qorvo

17:05:44 12    in a published report.    This gives you some idea of Qorvo's

17:05:49 13    performance as a company.    Clearly 7,000 employees where the

17:05:55 14    headquarters are, a little bit of history, just to get you

17:05:59 15    calibrated with who the company is.

17:06:01 16    Q.      Let's take a look at page 55 and 56.       What's shown

17:06:15 17    here?

17:06:15 18    A.      So these pages are of a MEMS wafer process flow on

17:06:21 19    the left-hand side on page 55.     It gives you some details

17:06:24 20    about the SMR BAW filters.    They're fabricated on

17:06:31 21    150-millimeter wafers, which is a six-inch wafer.         There is

17:06:35 22    a little bit of detail about how they're fabricated.         What's

17:06:38 23    on the metal layers are in terms of copper listed here, and

17:06:43 24    on the right-hand side where they're fabricated, they're

17:06:48 25    fabricated in Richardson, Texas.     The capacity of their fab
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17:06:51   1   is 4,000 wafers per month.      How old the fab is.      What the

17:06:58   2   most advanced process is.      It gives you some idea of what is

17:07:01   3   happening in that company for these types of filters.

17:07:08   4   Q.     Dr. Lebby, are you aware of Dr. Shanfield's testimony

17:07:13   5   in this case?

17:07:14   6   A.     Yes, I wasn't here in court, but I did read the

17:07:18   7   transcript.

17:07:20   8   Q.     And Dr. Lebby, assuming that information identified

17:07:26   9   in Qorvo -- I'm sorry, in Qorvo's Category 1 trade secrets

17:07:33 10    are trade secret, how much engineering time and what

17:07:36 11    document costs would Akoustis have had to expend to

17:07:39 12    independently obtain the information described in

17:07:44 13    Category 1?

17:07:45 14                  MR. NAQVI:    Your Honor, objection.      Can we have

17:07:47 15    a side-bar on this?

17:07:49 16                  THE COURT:    You may.

17:10:59 17                  (Side-bar discussion:)

17:10:59 18                  MR. NAQVI:    So, Your Honor, that exact question

17:10:59 19    is our concern.     She's asking Dr. Lebby how much it would

17:10:59 20    cost independent of the information in Dr. Shanfield's group

17:10:59 21    one trade secret opinion.      The court excluded Dr. Lebby's

17:10:59 22    ability to testify to group 1, trade secrets in group 1.

17:10:59 23                  MS. SMITH:    I think the exclusion was to testify

17:10:59 24    whether the trade secrets are published -- actually not

17:10:59 25    trade secret, but this analysis, requires him to say they
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17:10:59   1   are trade secrets.

17:10:59   2                MR. NAQVI:    You're asking him to independently

17:10:59   3   develop, I take that to mean how could you sort of look at a

17:10:59   4   public report and glean this information from the public,

17:10:59   5   that was my concern.

17:10:59   6                THE COURT:    Give me just one second.       Trade

17:10:59   7   secret opinion is out.     I'm not sure it's particularly

17:10:59   8   covered by the limine order, that's the problem.         Do you

17:10:59   9   want to tell me about that?

17:10:59 10                 MR. NAQVI:    Yeah.    So Your Honor, my

17:10:59 11    understanding of the Court's order is that the Court is

17:10:59 12    preventing Dr. Lebby from testifying as to trade secret

17:10:59 13    group one.

17:10:59 14                 THE COURT:    Well, in this case we excluded --

17:10:59 15    what we specifically said was on the fifth question and he

17:10:59 16    was not able to discuss that, I don't know if this is an

17:10:59 17    issue of pricing.

17:10:59 18                 MR. NAQVI:    Right.   I agree that Your Honor

17:10:59 19    didn't exclude his opinions on the avoid the cost analysis

17:10:59 20    he performed so that's one, we're okay with that.          My

17:10:59 21    concern is Ms. Smith is asking a question about

17:10:59 22    Dr. Shanfield --

17:10:59 23                 THE COURT:    The witness is assuming that is a

17:10:59 24    valid trade secret?

17:11:00 25                 MS. SMITH:    Correct.
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17:11:00   1                THE COURT:   And now he's talking about the cost

17:11:00   2   and association with what they would have to do to produce

17:11:00   3   that product.

17:11:00   4                MS. SMITH:   That's right.

17:11:00   5                MR. NAQVI:   Okay.

17:11:00   6                THE COURT:   I believe as long as it's narrowly

17:11:00   7   posed, I don't see a problem.

17:11:00   8                MR. NAQVI:   I agree as long as she can

17:11:00   9   preference the question he's assuming that they are trade

17:11:00 10    secrets.

17:11:00 11                 MS. SMITH:   I think I started my question that

17:11:00 12    way.   I apologize.

17:11:00 13                 THE COURT:   That's okay.      Are we going to finish

17:11:00 14    the witness today?

17:11:00 15                 MS. SMITH:   Yes.

17:11:00 16                 THE COURT:   Direct?

17:11:00 17                 MS. SMITH:   Yes.

17:11:05 18                 (End of sidebar.)

17:11:05 19    BY MS. SMITH:

17:11:06 20    Q.      Dr. Lebby, assuming that information identified by

17:11:10 21    Qorvo in group 1 contains trade secrets, how much

17:11:14 22    engineering time and what document costs would Akoustis have

17:11:17 23    had to expend to independently obtain the information?

17:11:22 24    A.      Carry the one was the business plan, so I calculated

17:11:26 25    in my corrected expert report 480 hours, which translates to
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17:11:31   1   three months, or twelve weeks if you use five days a week,

17:11:35   2   eight hours a day.    And I also included document cost of

17:11:41   3   $10,000.

17:11:44   4   Q.     And did you do the same analysis assuming that the

17:11:50   5   group 8, the group 8 information was actually trade secrets,

17:11:58   6   how much engineering time and what document costs would

17:12:01   7   Akoustis have had to expend to independently obtain that

17:12:04   8   information?

17:12:05   9   A.     Yes, I did.    And you can see this on the

17:12:08 10    demonstrative on the number 8.      So the product roadmaps and

17:12:13 11    prototypes, 480 engineering hours, that translates to

17:12:19 12    twelve weeks, or three months, with document costs of

17:12:23 13    $30,000.

17:12:24 14    Q.     How did you perform your calculations?

17:12:27 15    A.     So as you have seen through my experience over the

17:12:32 16    last thirty-five years since starting at Motorola in 1989, I

17:12:37 17    have been engaged in technology roadmapping and business

17:12:42 18    planning from an engineering standpoint for a long time.           In

17:12:46 19    fact, I have been doing that right now with my present

17:12:50 20    company.    In fact, I purchased a couple of market reports

17:12:52 21    just last week and set a couple of engineers doing a very

17:12:58 22    similar process, albeit in a different technology.          So I

17:13:01 23    have used my experience to think through what it would take

17:13:05 24    an engineer to create some business plans for Wi-Fi

17:13:09 25    products.
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17:13:09   1                  The $10,000 document costs would be one market

17:13:14   2   report.    Typically you can purchase these reports from three

17:13:18   3   to six or three to $7,000.      But I put in $10,000 because I

17:13:23   4   thought I would be conservative.       And for Category 8, the

17:13:28   5   $30,000 comes from three reports.        So that's a technology

17:13:32   6   market report, plus two teardown reports for two different

17:13:38   7   competitive products.

17:13:40   8                  Now one could argue why should it be two instead

17:13:44   9   of one.    I think it's better to see two different

17:13:46 10    competitors teardowns because that gives you a little bit

17:13:50 11    more calibration.     As we can see, these reports give you a

17:13:53 12    lot of information, not only on the costs of the raw

17:13:56 13    materials and the wafers going through the fab, but they

17:14:00 14    give you a really good idea of the process flow and the

17:14:04 15    complexity, what the chips look like, what the packages look

17:14:08 16    like, what the assembly is like, so it gives a really good

17:14:13 17    feel to put a business plan together and quite honestly, the

17:14:17 18    startup companies I have generated, I have used these type

17:14:20 19    of market reports to help put the business plans together.

17:14:25 20                   MS. SMITH:   I pass the witness.

17:14:26 21                   THE COURT:   Cross-examination.

17:14:29 22                         CROSS-EXAMINATION

17:14:30 23    BY MR. NAQVI:

17:14:42 24    Q.        Good afternoon, Dr. Lebby.     My name is Kazim Naqvi.

17:14:47 25    I don't believe we met before, so it's nice to meet you
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                                           Lebby - cross

17:14:49   1   today.

17:14:50   2   A.       Good to meet you.

17:14:51   3   Q.       Dr. Lebby, in connection with your professional

17:14:53   4   experience which you discussed today, you can't identify a

17:14:56   5   single BAW filter that you ever brought to market, isn't

17:15:00   6   that right?

17:15:01   7   A.       I believe that's the case, yes.

17:15:03   8   Q.       Okay.   And you testified about your experience in

17:15:06   9   creating market analysis reports; right?

17:15:09 10    A.       That is correct.

17:15:10 11    Q.       Okay.   But in your experience in creating markets

17:15:13 12    analysis reports, you never solicited confidential

17:15:17 13    information when you were creating those reports, right?

17:15:19 14    A.       That's correct.

17:15:20 15    Q.       And you purchased approximately 200 market analysis

17:15:24 16    reports during your career; is that right?

17:15:26 17    A.       That is correct.

17:15:27 18    Q.       Okay.   But in purchasing those reports, you did not

17:15:31 19    expect to see any confidential information from other

17:15:33 20    companies in those records, isn't that right?

17:15:35 21    A.       That is correct.

17:15:36 22    Q.       You also never received or reviewed a teardown report

17:15:40 23    for a product that you understood was confidential; isn't

17:15:42 24    that right?

17:15:43 25    A.       That is correct.    I expect these to be public
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17:15:47   1   information.

17:15:48   2   Q.     And so in a scenario where a company has a

17:15:52   3   confidential prototype, meaning a prototype for which the

17:15:55   4   company doesn't want leaving its walls, you would not expect

17:15:59   5   to see a teardown of that prototype in a market report,

17:16:02   6   isn't that correct?

17:16:03   7   A.     That is correct.

17:16:03   8   Q.     Can we please put up on the screen DTX 623.

17:16:08   9                  Dr. Lebby, you recall testifying about this

17:16:12 10    document during your direct examination?

17:16:13 11    A.     Yes, I do.

17:16:14 12    Q.     And you cited this document as an example of the type

17:16:18 13    of market analysis reports that are available for purchase;

17:16:21 14    is that correct?

17:16:23 15    A.     Well, this one is a teardown, but yes, this is an

17:16:27 16    example.

17:16:27 17    Q.     And this is of a Qorvo product; right?

17:16:29 18    A.     That is correct.

17:16:30 19    Q.     Okay.    And the Qorvo product that is subject of this

17:16:34 20    analysis was publicly available for purchase at the time

17:16:37 21    this report came out, you would agree?

17:16:39 22    A.     I would expect it to be so, yes.

17:16:41 23    Q.     Okay.    And so you also understand that the reverse

17:16:45 24    cost analysis in this report was based on publicly available

17:16:49 25    data, right?
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17:16:52   1   A.     Yes, and I believe there is a disclaimer somewhere in

17:16:55   2   one of these reports that says they use public data, I'm

17:16:59   3   just looking at it on the front here, but maybe it's at the

17:17:03   4   back of the document.

17:17:04   5   Q.     We'll take a look at that shortly.          You would agree

17:17:07   6   that it's common in the industry for companies to buy parts

17:17:10   7   that are on the market and tear them down, right?

17:17:13   8   A.     If a company can purchase a part and tear that down,

17:17:17   9   then, yes, I have seen and heard that happen.

17:17:20 10    Q.     Okay.     Mr. Buchbinder, can we please turn to page 88

17:17:26 11    of this document.

17:17:27 12                   So looking at the top portion here, it says

17:17:34 13    reverse costing analysis represents the best cost/price

17:17:38 14    evaluation given the publicly available data, and estimates

17:17:41 15    completed by industry experts.       Do you see that?

17:17:44 16    A.     I do see that.

17:17:45 17    Q.     So you would agree that this report is based on

17:17:47 18    publicly available data, right?

17:17:49 19    A.     Yes.

17:17:49 20    Q.     We also agree that the cost information that you were

17:17:52 21    talking about on direct, those are just estimates, right?

17:17:56 22    A.     Yes, these are estimates by this company that has

17:18:00 23    obviously quite a bit of experience.          I wouldn't expect them

17:18:04 24    to be exactly the same as what internal company numbers

17:18:07 25    would be, but yes, they would be estimates.
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17:18:09   1   Q.     So you would agree that the cost information in this

17:18:12   2   document about a Qorvo product, that's not Qorvo's internal

17:18:16   3   cost information, right?

17:18:17   4   A.     I would expect the information in this product not to

17:18:21   5   be Qorvo's internal information.

17:18:23   6   Q.     Okay.    So you would agree that the report that we're

17:18:26   7   looking at did not contain any Qorvo confidential

17:18:28   8   information, correct?

17:18:29   9   A.     That's what I would expect, yes.

17:18:31 10    Q.     Can we please put up JTX 14?

17:18:35 11                   This is the other report that we looked at on

17:18:40 12    your direct examination, correct?

17:18:42 13    A.     Correct.

17:18:42 14    Q.     And this market analysis report or reverse costing

17:18:47 15    report looks at an Akoustis product, right?

17:18:50 16    A.     Correct.

17:18:50 17    Q.     And this report is dated July 2021?

17:18:54 18    A.     That is correct.

17:18:55 19    Q.     And you would agree that the Akoustis products

17:18:58 20    addressed in this report were available for purchase at the

17:19:02 21    time this report came out, isn't that correct?

17:19:04 22    A.     That would be my expectation.

17:19:06 23    Q.     And you would also expect that this report would not

17:19:10 24    contain any confidential information, right?

17:19:12 25    A.     That would be correct.
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17:19:13   1   Q.       Okay.     Can we please turn to page 170 of JTX 14.

17:19:32   2   170, please.

17:19:32   3                    Dr. Lebby, you would agree that the disclaimer

17:19:40   4   here, is similar to the disclaimer we just looked at in the

17:19:45   5   prior report, correct?

17:19:46   6   A.       Yes, this is similar to a previous report.

17:19:48   7   Q.       And in the services section, you would agree that

17:19:50   8   there is similar language here confirming that this report

17:19:53   9   is based on publicly available data, correct?

17:19:55 10    A.       I agree, correct.

17:19:56 11    Q.       And you would also agree that the services section of

17:19:59 12    this document also confirms that the cost information,

17:20:03 13    they're just estimates, correct?

17:20:05 14    A.       That is correct.

17:20:06 15    Q.       Okay.     Early in your direct examination, Ms. Smith

17:20:12 16    was asking you about a teardown report.           Do you recall that?

17:20:17 17    A.       Not in great detail, can you help me?

17:20:21 18    Q.       The Yole report that you testified about?

17:20:23 19    A.       Yes.

17:20:23 20    Q.       And that's a report from 2022, is that correct?

17:20:25 21    A.       That's correct.

17:20:26 22    Q.       And you would agree that that report provides

17:20:30 23    teardowns of products that are available for purchase;

17:20:32 24    right?

17:20:33 25    A.       That's my understanding.
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17:20:34   1   Q.        And so none of the products addressed in that report

17:20:37   2   to your understanding were unreleased prototypes, right?

17:20:40   3   A.        That is my understanding as well.

17:20:42   4   Q.        So you're not aware of any confidential information

17:20:44   5   set forth in that Yole report; is that right?

17:20:47   6   A.        That is correct.

17:20:47   7   Q.        Dr. Lebby, I would like to just close by talking

17:21:01   8   about your avoided cost analysis, do you recall that?

17:21:04   9   A.        I do recall that.

17:21:05 10    Q.        So for assuming group one trade secrets, you

17:21:08 11    estimated $10,000 and 480 engineering hours, is that right?

17:21:14 12    A.        That's correct.

17:21:14 13    Q.        And the $10,000 was based on purchase of one market

17:21:17 14    report?

17:21:18 15    A.        That is correct.

17:21:18 16    Q.        And the type -- and it would be similar to the type

17:21:21 17    of market report we just looked at, right?

17:21:25 18    A.        It would be -- I think out of the reports we have

17:21:29 19    here, it would be closest to the Yole report, I would expect

17:21:33 20    to have quite a bit of market data in it.

17:21:36 21    Q.        And that $10,000 estimate for a single report, you

17:21:40 22    agree that report would not contain any confidential

17:21:42 23    information in it, right?

17:21:43 24    A.        That is correct.

17:21:44 25    Q.        And the 380 hours that you estimated for an engineer
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17:21:48   1   for the group 1 trade secrets, that amounts to about three

17:21:51   2   months of full-time work, right?

17:21:53   3   A.     Correct.

17:21:53   4   Q.     And then coming up with that estimate, you didn't

17:21:56   5   rely on any particular formula, correct?

17:21:59   6   A.     I relied on my experience of leading engineers to do

17:22:04   7   this function over the last thirty years.         But I didn't use

17:22:08   8   a formula per se.

17:22:09   9   Q.     Right.     So you relied on your experience even though

17:22:12 10    you can't identify a single BAW filter that you have ever

17:22:15 11    brought to market, right?

17:22:18 12    A.     I agreed I don't -- I am not aware of a BAW filter

17:22:23 13    that I have worked on that has been brought to market.

17:22:25 14    Q.     And then going to the second component, the group 8

17:22:29 15    trade secrets, you estimated $30,000 for two teardown

17:22:33 16    reports and one roadmap report; is that correct?

17:22:36 17    A.     That is correct.

17:22:36 18    Q.     And then another 480 hours for engineering time, is

17:22:40 19    that right?

17:22:40 20    A.     That is correct.

17:22:40 21    Q.     And for the two teardown reports and the additional

17:22:45 22    roadmap report as part of your $30,000 estimate, you would

17:22:49 23    agree that there would not be any confidential information

17:22:53 24    in those reports, right?

17:22:54 25    A.     That is correct.
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17:22:54   1   Q.     Okay.    And the three-month estimate that you came up

17:22:57   2   with, again, that was just based on your experience, right?

17:23:00   3   A.     Yes, it was.

17:23:02   4                  MR. NAQVI:   No further questions.

17:23:03   5                  THE COURT:   Redirect.

17:23:10   6                       REDIRECT EXAMINATION

17:23:11   7   BY MS. SMITH:

17:23:16   8   Q.     Dr. Lebby, how many years have you been using market

17:23:19   9   analysis reports?

17:23:20 10    A.     I first started using them in 1989 when I joined

17:23:25 11    Motorola, so what's that, thirty-five years.

17:23:29 12    Q.     How quickly would the industry know if any market

17:23:35 13    analysis report company were inaccurate in its reports?

17:23:44 14    A.     Well, I have seen many of these companies come and go

17:23:49 15    over the years, so the companies I used to work with back in

17:23:52 16    the '90s aren't here anymore.     I don't know the reason why.

17:23:59 17    But these companies come and go.        They tend to be small

17:24:04 18    companies that focus on things like teardowns.       But the one

17:24:08 19    company here like Yole, that seems to be around for the last

17:24:12 20    twenty years, it seems to be doing a good job.

17:24:15 21                   I am not aware of any other effects that may

17:24:17 22    affect these companies, other than the fact that they do a

17:24:20 23    teardown and if they don't sell a lot of reports, they don't

17:24:23 24    make a lot of money, because they've got to sell a lot of

17:24:27 25    reports to pay for the salary of the person doing the
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17:24:29   1   teardown.    If you think about the salary, they're not

17:24:32   2   selling a ton of these reports, they're not going to be

17:24:34   3   making any money, so I would assume that some of these

17:24:37   4   companies choose products that are more successful than

17:24:40   5   others.    Some may learn the hard way, but I'm not clear on

17:24:45   6   that.

17:24:45   7   Q.        So can you explain the range of products you've

17:24:49   8   worked on for creating business reports and roadmaps as well

17:24:55   9   as reviewing business reports and roadmaps?

17:24:59 10    A.        So, for example, when I was at Translucent, we

17:25:04 11    developed a new technology for piezoelectric layers,

17:25:09 12    scandium aluminum nitride, we filed about six patents.          I

17:25:14 13    will agree with opposing counsel, I don't believe those

17:25:17 14    technologies made it to product.       They did make it to one of

17:25:20 15    these market reports.      But I had left the company, so I

17:25:24 16    don't know if they were produced or not.        But certainly to

17:25:27 17    do that project, we purchased market reports, technology

17:25:32 18    roadmaps reports and teardown reports for our folks so we

17:25:36 19    could really understand the market that we were trying to

17:25:39 20    aim for.

17:25:39 21    Q.        And is your opinion based on your experience

17:25:44 22    preparing market reports?

17:25:46 23    A.        So my experience is not only the purchase of market

17:25:50 24    reports, I've actually generated them myself when I was at

17:25:55 25    OIDA, it takes a lot of work.       The reports I wrote were
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17:25:59   1   three to 500 pages long, which is a bit like an expert

17:26:03   2   report that you see in these litigations, it takes a lot of

17:26:06   3   work, a lot of analysis, a lot of getting on the telephone

17:26:10   4   and talking to people, going to world conferences, reading a

17:26:14   5   lot of technical work.     I really didn't want to do it as a

17:26:18   6   job afterward because it was such hard work, but I did it

17:26:22   7   for about five years and it was a really good experience.

17:26:25   8                MS. SMITH:    No further questions.

17:26:25   9                THE COURT:    All right.    Thank you very much.

17:26:28 10    We'll let you step down, and we'll probably wrap up for the

17:26:32 11    day.   But thank you.

17:26:33 12                 THE WITNESS:    Thank you.

17:26:34 13                 THE COURT:    Now, we have one witness left, but I

17:26:40 14    think we'll start that witness tomorrow.          It's 5:23.    Do you

17:26:45 15    want to start today?

17:26:46 16                 MR. LEMIEUX:    No, I was just making sure, we

17:26:49 17    have two witnesses left, but we have Dr. Nguyen, who is on

17:26:53 18    patents and then we have our damages expert.

17:26:56 19                 THE COURT:    All right.    No, that's correct, you

17:26:58 20    have -- but you're going -- we'll talk about the sequence.

17:27:05 21    All right.   That covers everything.         We are going to finish

17:27:08 22    our -- the whole case, I think, tomorrow.          I'm sure we'll

17:27:11 23    finish tomorrow, before noon, that's the plan.

17:27:16 24                 And so I just have to talk to counsel.            Don't

17:27:21 25    discuss the case amongst yourselves.         Don't let anybody talk
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17:27:25   1   to you about it.     Keep an open mind.       We've got a ways to

17:27:28   2   go.   You may be seated.     I got to stay here.       Thanks very

17:27:31   3   much.

17:27:32   4                 (Jury exiting courtroom at 5:27 p.m.)

17:27:53   5                 THE COURT:    Everybody can be seated.        We're just

17:27:59   6   going over -- if you got one printed up, we actually would

17:28:04   7   like to have that because we did not bring every piece of

17:28:08   8   paper available, we don't want to print every piece, all the

17:28:12   9   trees in the building.      So you got Irwin, I'm sure somebody

17:28:16 10    has got that.     Who has got the report on our expert, right?

17:28:22 11                  MR. LEMIEUX:    Yes, we'll be able to provide that

17:28:24 12    to you.

17:28:25 13                  THE COURT:    That's okay, it's helpful.

17:28:27 14                  MR. LEMIEUX:    We'll give you both reports.

17:28:29 15                  THE COURT:    That's exactly what I need.

17:28:31 16                  Now, Mr. Lemieux, how are we doing on time?

17:28:35 17                  MR. LEMIEUX:    We're doing great, Your Honor.

17:28:37 18                  THE COURT:    Okay.   Specifics?

17:28:40 19                  MR. LEMIEUX:    No, Dr. Nguyen will be on for,

17:28:45 20    depending on how long their cross is, I don't think actually

17:28:47 21    that long, we'll be able to finish early in the morning,

17:28:50 22    Your Honor.

17:28:50 23                  THE COURT:    With cross-exam?

17:28:52 24                  MR. LEMIEUX:    I believe so.

17:28:53 25                  THE COURT:    That's what I was thinking, too, but
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17:28:55   1   I want to feel comfortable that's where we are.        You want

17:28:58   2   your times right now?    Do you want to see how we're doing?

17:29:01   3               MR. LEMIEUX:     I would be interested, Your Honor,

17:29:03   4   if we have that available.

17:29:04   5               THE COURT:     I think we have it available.

17:29:06   6               COURT CLERK:     For Plaintiffs, I have you at

17:29:08   7   21 hours 34 minutes and 40 seconds, for Defendants, I have

17:29:11   8   you guys at 21 hours, 11 minutes and 3 seconds.

17:29:19   9               THE COURT:     So sort of amazing, we're getting

17:29:22 10    right down to the very end, I think -- everybody is very

17:29:27 11    mindful of their time and that's very good.

17:29:29 12                In connection with the clean copies of the jury

17:29:32 13    instructions, we're going to hopefully at least send them to

17:29:38 14    you, we will send it to you, bring it up-to-date with what

17:29:42 15    we have so far and there will be some deletions as obviously

17:29:46 16    everybody is expecting in terms of that.

17:29:49 17                There are still questions that will remain on

17:29:53 18    duplicate damages, which are now to page 39 and 40, but that

17:29:57 19    may change a little bit.    I have a feeling that we won't

17:30:01 20    need that instruction, but I'm not certain.        But Mr. Elkins,

17:30:06 21    it looks like we're drifting in that direction, I think

17:30:09 22    we're moving in that direction, I think we are probably are.

17:30:12 23                MR. ELKINS:    I think, Your Honor, if you stick

17:30:15 24    with what the Court sent out at 2 o'clock today, then I

17:30:20 25    don't see a need for the duplicative damages instruction.
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17:30:23   1               THE COURT:    You and I both are in agreement, I

17:30:26   2   think that we'll just -- I know I have to look at it,

17:30:30   3   Mr. Masters, I don't want to get too far ahead on that, but

17:30:33   4   that looks like that's probably not going to be necessary.

17:30:36   5               MR. MASTERS:    I haven't had a chance to look at

17:30:38   6   it since I have been here all day.

17:30:41   7               THE COURT:    I understand that, but that's the

17:30:44   8   consensus of everybody, and the detailed instruction on

17:30:47   9   page 29, we can look at that.     And that may get us very

17:30:50 10    close to exactly the final instructions.        You should already

17:30:53 11    have, I think, I know we have tried to do it, you should

17:30:57 12    already have a verdict form that's been revised.         I take it

17:31:02 13    that the defense does not have any objection to the verdict

17:31:05 14    form, but I'm not sure.

17:31:07 15                MR. ELKINS:    That's correct, Your Honor.        I

17:31:09 16    mean, apart from the ones that we made earlier, but we have

17:31:13 17    no changes to what you sent us.

17:31:15 18                THE COURT:    That's what I anticipated.        I'm not

17:31:17 19    sure on the Plaintiff's side, but if they may think it's

17:31:21 20    okay in light of the rulings so far.        Do you know where we

17:31:26 21    are?

17:31:27 22                MR. MASTERS:    I think that was sent this

17:31:29 23    afternoon as well, so I'm at a bit of at a disadvantage

17:31:33 24    here.

17:31:33 25                THE COURT:    You can figure with your colleagues
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17:31:36   1   behind you, we will need to know that early.          And the reason

17:31:39   2   we have to know that early is I know that all of you need to

17:31:43   3   have, well you don't have to have it, but you probably would

17:31:46   4   want the verdict form as you -- at least available as you

17:31:52   5   give your closings and you'll want to perhaps, I'm not sure

17:31:57   6   about this, have a demonstrative, sometimes lawyers do that,

17:32:00   7   they don't always do that, but they do about

17:32:03   8   eighty-five percent of the time, most of the time, so that's

17:32:07   9   what we're trying to get done, we're trying to get you to

17:32:10 10    that place.    That's where we are for both sides.

17:32:13 11                  MR. MASTERS:    That's where we are, we'll look at

17:32:15 12    it as soon as we get back and if Your Honor is okay with it,

17:32:19 13    we'll submit something in writing.

17:32:21 14                  THE COURT:    If you will do that, because I think

17:32:23 15    that Mr. Elkins, I think that the defense -- we may want a

17:32:28 16    confirmation back from both of you, but I think the defense

17:32:32 17    has acknowledged it's probably okay with them.          We will need

17:32:36 18    that note if it's not, we'll need to know that right away

17:32:41 19    and exactly what we need to do.       Realize when you look at

17:32:44 20    it, you're probably going to say -- you're going to see that

17:32:48 21    use question, but -- and you're going to see that duplicate

17:32:53 22    damage questions, like I said on duplicate damages, I think

17:32:56 23    that needs to come out.      I think that's where we are.

17:32:58 24                  Now, the last thing.     There was some discussion

17:33:01 25    at one point about whether or not we need to say something
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17:33:06   1   to the panel about matters that they will not be ruling on

17:33:09   2   that they heard about earlier in the case.       And I suggested

17:33:14   3   that sometimes it's better to leave things alone because by

17:33:18   4   saying something, you actually highlight it versus not

17:33:21   5   highlighting, but I think it is the question, and we have

17:33:25   6   not -- we have not addressed that.

17:33:28   7               And I know Mr. Masters, you thought about it,

17:33:30   8   you raised it.   Have you thought about it anymore?

17:33:35   9               MR. MASTERS:    On the conspiracy claim?

17:33:38 10                THE COURT:    Well, the question is there are

17:33:43 11    several things that are out, yes, it would be on the

17:33:45 12    conspiracy claim.    But you also Lanham Act, it was so long

17:33:51 13    ago, nobody remembers the Lanham Act, you see what I'm

17:33:54 14    saying.

17:33:54 15                MR. MASTERS:    I did, but I thought that we

17:33:56 16    agreed that defense could not make a comment about the false

17:34:00 17    advertising claim.

17:34:01 18                THE COURT:    Right, they're not going to do that,

17:34:03 19    they agreed on that, they are not going to say well, they

17:34:07 20    brought this claim and now they're not bringing it, they're

17:34:10 21    not going there because we've already agreed that, and that

17:34:13 22    would require an instruction that the jury could not

17:34:17 23    consider the fact that a claim is no longer before them in

17:34:22 24    making their decision on the remaining claims, that would be

17:34:25 25    a simple instruction, but we were trying to avoid that.
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17:34:29   1                 MR. MASTERS:    I don't think we need that

17:34:30   2   instruction, Your Honor.

17:34:31   3                 THE COURT:    Right.   And there is more than one

17:34:33   4   thing that is being deleted so we probably don't need the

17:34:37   5   instruction on anything, right?

17:34:38   6                 MR. MASTERS:    Right.

17:34:38   7                 THE COURT:    That's where we want to get.       I

17:34:40   8   think you're going to be very close, then, to the final

17:34:43   9   instructions.     You are allowed -- we've had essentially a

17:34:47 10    rolling conference, is that a fair way to put that?           And the

17:34:51 11    reason is that the timing, it is a timed case, and I think

17:34:56 12    it's just -- I was trying to send you things in writing so

17:35:01 13    it didn't count against your time.        This is counting as a

17:35:04 14    conference now.

17:35:05 15                  How much more conferencing are we going to need

17:35:08 16    then?   We'll start with Mr. Masters.

17:35:10 17                  MR. MASTERS:    If I sit down, you don't count

17:35:13 18    against me, then.

17:35:14 19                  THE COURT:    We're trying not to eat up your

17:35:17 20    time, we really aren't.

17:35:18 21                  MR. MASTERS:    I think we're doing well on time,

17:35:20 22    Your Honor.    We have two crosses left and the closing and

17:35:23 23    with almost four hours, I think we're going on 3:20, we're

17:35:29 24    good on time.

17:35:29 25                  THE COURT:    I think we're probably okay.       Let me
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17:35:31   1   look at it one more time and be sure.        I want to check that

17:35:36   2   one thing.   I don't want anybody to be misled here.

17:35:40   3                  That's a little questionable about whether you

17:35:43   4   call that four hours, more like I would call it three.

17:35:47   5                  MR. MASTERS:   3 hours 20 minutes, 3 hours

17:35:50   6   19 minutes, but we're good on time with two crosses left and

17:35:53   7   the closing.

17:35:54   8                  THE COURT:    I don't want anybody to be misled,

17:35:57   9   ever.

17:35:58 10                   MR. MASTERS:   So to answer your question,

17:35:59 11    though, Your Honor, I need to look at the verdict form and

17:36:02 12    the, I think the last set of the jury instructions.

17:36:06 13                   THE COURT:    And what we're doing is we're

17:36:08 14    counting these conferences as our conference as it relates

17:36:12 15    to the jury instructions.      So we'll get the finals tomorrow

17:36:18 16    morning hopefully from everyone, they're going to e-mail it

17:36:23 17    to us.   That will be good.

17:36:24 18                   MR. MASTERS:   We'll do that.

17:36:25 19                   THE COURT:    All right.    Thank you all.

17:36:27 20                   MR. ELKINS:    Your Honor, I thought maybe we

17:36:29 21    could just better understand what you had in mind for

17:36:32 22    tomorrow since I take it we'll be closing after the close of

17:36:36 23    evidence.

17:36:36 24                   THE COURT:    Yes.   Yes.   That's why I wanted to

17:36:38 25    get your position to do it.
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17:36:39   1                MR. ELKINS:    Yeah, so we, I anticipate that

17:36:43   2   we'll be done with Dr. Nguyen, who will start right at 8:30,

17:36:50   3   and shouldn't take too long, and then Ms. Irwin.        I think my

17:36:55   4   direct is going to be forty-five minutes, and then I would

17:36:59   5   expect a like amount of time from the Plaintiff.

17:37:01   6                We should be done around maybe I always -- I

17:37:06   7   never give us enough time, but I imagine by 11:00 we'll be

17:37:11   8   completely done.   And we'll have rested and I imagine that

17:37:15   9   Mr. Masters will not put on a rebuttal and --

17:37:21 10                 THE COURT:    I was informed that you're not

17:37:22 11    planning on a rebuttal.

17:37:24 12                 MR. MASTERS:    We're not planning on a rebuttal.

17:37:26 13                 THE COURT:    That makes the timing a little

17:37:28 14    tricky.   Let me go over again the closing argument times.         I

17:37:34 15    would prefer that you get a decent break and I don't like to

17:37:37 16    break them in half, I don't like to have Plaintiffs and then

17:37:41 17    have lunch and then Defendants, it's a little complicated.

17:37:45 18    Any more thoughts on that?    I can check with staff, but what

17:37:50 19    we could do, Alex, see if we can have an early lunch.

17:37:55 20                 COURT CLERK:    They usually get here at 11:00.

17:37:57 21                 THE COURT:    They get here at 11:00.     So what we

17:38:00 22    might end up doing is getting to the very end at 11:00 and

17:38:03 23    taking our very early lunch break, pretty early lunch break,

17:38:09 24    and we'll tell the jury that, too, possibly, and then coming

17:38:13 25    back and do the closings and take a break for fifteen or
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17:38:18   1   twenty minutes and then come back with final instructions.

17:38:21   2                Good question, though, I really appreciate that,

17:38:24   3   because Mr. Masters probably appreciates it, too, because it

17:38:29   4   sounds about right.

17:38:31   5                MR. MASTERS:    That sounds right and that's very

17:38:33   6   helpful.

17:38:34   7                THE COURT:   We would do close and hopefully at

17:38:36   8   either start at 11:45 or 12:00 depending a little bit on

17:38:42   9   margins there and both would run together.       I like to keep

17:38:45 10    them together if I can.     I don't like to have a break

17:38:47 11    between them if it's practical.

17:38:49 12                 MR. MASTERS:    Would you do your normal

17:38:52 13    forty-five-minute lunch break a little early?

17:38:54 14                 THE COURT:   That's going to be at 11:00, I can't

17:38:56 15    tell you, 11:10, or when it's going to be, but we will have

17:39:01 16    lunch before the 12 o'clock hour and that will be that

17:39:04 17    forty-five-minute period out and that gives everybody a

17:39:07 18    chance to be well rested for their close.       Let me check one

17:39:13 19    thing.   Who is doing close for the Plaintiff?

17:39:16 20                 MR. MASTERS:    Mr. DeFosse will be presenting the

17:39:18 21    closing.

17:39:19 22                 THE COURT:   Who is doing rebuttal if there is

17:39:21 23    one?

17:39:22 24                 MR. MASTERS:    Mr. DeFosse.

17:39:24 25                 THE COURT:   Okay.
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17:39:27   1                  MR. MASTERS:   He's working on it now, Your

17:39:30   2   Honor.

17:39:30   3                  THE COURT:    He still disappeared.     Okay.    Does

17:39:32   4   he know he's doing it?

17:39:34   5                  MR. MASTERS:   He will shortly.

17:39:35   6                  THE COURT:    I understand.    No problem.    And of

17:39:38   7   course, I'm going to check, is Mr. Lemieux going to do it?

17:39:43   8                  MR. ELKINS:    No.

17:39:43   9                  MR. LEMIEUX:   Actually, my younger and better

17:39:46 10    looking colleague will be doing it, Your Honor.

17:39:48 11                   THE COURT:    That's very helpful to know.       I was

17:39:50 12    not sure if you were going to split close because sometimes

17:39:54 13    one individual does rebuttal, but it's a difficult thing --

17:39:59 14    not difficult, but one where you have to be very mindful of

17:40:03 15    what's already been done and has to be quite short.            I think

17:40:06 16    we covered everything.

17:40:08 17                   Are we all set?

17:40:09 18                   MR. ELKINS:    Yes.    Mr. Masters and I along with

17:40:14 19    Mr. DeFosse have been discussing the disclosure of

17:40:18 20    demonstratives for closing.         And we're going to do that in

17:40:23 21    the morning.

17:40:24 22                   THE COURT:    Okay.

17:40:25 23                   MR. ELKINS:    Just given how --

17:40:27 24                   THE COURT:    The thing I haven't talked about any

17:40:30 25    additional Rule 50, you know.
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17:40:33   1                MR. ELKINS:   Right.   I think we make those

17:40:38   2   early, but it would be, you know, we already --

17:40:42   3                THE COURT:    We have gone through everything.

17:40:43   4                MR. ELKINS:   We have already gone through it.

17:40:45   5                THE COURT:    We have gone through it all and we

17:40:47   6   narrowed things quite a bit.     But there will need to be an

17:40:51   7   opportunity for that, we'll do that.        The jury will go out

17:40:54   8   for lunch, we'll have Rule 50, they may end up getting an

17:40:58   9   hour, I don't know if they need that.

17:41:02 10                 MR. ELKINS:   We won't argue with an hour if

17:41:05 11    we're going to spend some of the time on Rule 50.

17:41:08 12                 THE COURT:    We'll see how it works.      Anything

17:41:11 13    about tomorrow's demonstratives I have to look at again

17:41:13 14    tomorrow?   Hopefully you will agree.

17:41:15 15                 MR. ELKINS:   Given that Your Honor already --

17:41:19 16    it's hard because the parties already agreed in a proposed

17:41:23 17    pretrial order.

17:41:25 18                 What's fair game in terms of closing

17:41:28 19    demonstratives?   I don't -- there is not going to be much to

17:41:33 20    look at and given that it's closing argument and generally

17:41:37 21    it's there is more fair game in closing than there is in

17:41:43 22    witness examination, I think the parties will -- I would bet

17:41:48 23    Mr. Masters and I wouldn't have any disagreements, but if we

17:41:53 24    do, they'll be I'm sure very, very small in number.

17:41:57 25                 THE COURT:    No problem.      I think we're all set.
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17:41:59    1   We'll see everybody at 8:15 tomorrow, and maybe a little bit

17:42:05    2   after, depending on what you send us in the evening and

17:42:08    3   we're going to get it all to the jury tomorrow.       That's a

17:42:13    4   great schedule.

17:42:13    5               Thank you all.

17:42:16    6               COURT CLERK:   All rise.

17:42:16    7               (Court adjourned at 5:42 p.m.)

            8

            9                I hereby certify the foregoing is a true and
                accurate transcript from my stenographic notes in the proceeding.
           10

           11                                       /s/ Dale C. Hawkins
                                                  Official Court Reporter
           12                                         U.S. District Court

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                         EXHIBIT N
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1

2                    IN THE UNITED STATES DISTRICT COURT

3                         FOR THE DISTRICT OF DELAWARE

4    QORVO, INC.,                       )
                                        )
5                Plaintiff,             )
                                        )   C.A. No. 21-1417-JPM
6      v.                               )   Volume 8
                                        )
7    AKOUSTIS TECHNOLOGIES, INC.        )
     AND AKOUSTIS, INC.,                )
8                                       )
                 Defendants.            )
9                                       )

10

11

12                           Wednesday, May 15, 2024
                                    8:21 a.m.
13                                 Jury Trial

14

15                               844 King Street
                               Wilmington, Delaware
16

17     BEFORE: THE HONORABLE JON PHIPPS MCCALLA
       United States District Court Judge
18

19

20     APPEARANCES:

21
                     MORRIS NICHOLS ARSHT & TUNNELL
22                   BY: JEREMY A. TIGAN, ESQ.

23                   -and-

24

25
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                  1      APPEARANCES CONTINUED:

                  2
                                       SHEPPARD, MULLIN, RICHTER & HAMPTON
                  3                    BY: ROBERT M. MASTERS, ESQ.
                                       BY: JONATHAN R. DEFOSSE, ESQ.
                  4                    BY: ZACHARY ALPER, ESQ.

                  5                                Counsel for the Plaintiff

                  6

                  7

                  8

                  9                    BAYARD, P.A.
                                       BY: STEPHEN B. BRAUERMAN, ESQ.
                  10
                                       -and-
                  11
                                       SQUIRE PATTON BOGGS
                  12                   BY: DAVID S. ELKINS, ESQ.
                                       BY: RONALD S. LEMIEUX, ESQ.
                  13                   BY: VICTORIA Q. SMITH, ESQ.
                                                 Counsel for the Defendants
                  14

                  15                             _ _ _ _ _ _ _ _ _ _

                  16

                  17                           P R O C E E D I N G S

                  18

0 7 : 4 5 : 5 3   19           (Proceedings commenced in the courtroom beginning at

0 7 : 4 5 : 5 3   20     8:21 a.m.)

0 8 : 2 0 : 5 1   21

0 8 : 2 1 : 3 1   22                  THE COURT:    You may be seated.      See if you all

0 8 : 2 1 : 3 4   23     got enough people from the defense side, but do we need to

0 8 : 2 1 : 3 7   24     wait on anybody?

0 8 : 2 2 : 0 4   25                  We are trying to promote a nonlawyer to lawyer
                  Case 1:21-cv-01417-JPM   Document 714-2 Filed 10/29/24                2260PageID
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0 8 : 2 2 : 0 7   1      status.

0 8 : 2 2 : 0 8   2                   MR. ELKINS:    Were you going to swear her in,

0 8 : 2 2 : 1 0   3      too?

0 8 : 2 2 : 1 0   4                   THE COURT:    We were waiting on you.

0 8 : 2 2 : 1 4   5                   MR. ELKINS:    Good morning, Your Honor.

0 8 : 2 2 : 1 5   6                   THE COURT:    Good morning.     Is there anything

0 8 : 2 2 : 1 6   7      else on the issue on use?       Because we agreed, at least in

0 8 : 2 2 : 2 2   8      part, with the defense position, but we think that there

0 8 : 2 2 : 2 5   9      are two sentences that can be allowed to be used because

0 8 : 2 2 : 2 9   10     they are more principles of law.

0 8 : 2 2 : 3 1   11                  And do you need to wait on somebody?

0 8 : 2 2 : 3 6   12                  MR. ELKINS:    Yeah, well, Ms. Harris is our

0 8 : 2 2 : 3 9   13     instructions expert.      She was just behind me in the line,

0 8 : 2 2 : 4 2   14     so she is present.

0 8 : 2 2 : 4 4   15                  THE COURT:    No problem.    We will wait on her.

0 8 : 2 2 : 4 6   16                  MR. ELKINS:    Thank you.

0 8 : 2 2 : 4 6   17                  THE COURT:    Absolutely.

0 8 : 2 2 : 4 7   18                  I will confirm one thing.       I think the verdict

0 8 : 2 2 : 4 9   19     form is done, right?      Everybody agrees?

0 8 : 2 2 : 5 3   20                  MR. MASTERS:     Good morning, Your Honor.

0 8 : 2 2 : 5 5   21                  THE COURT:    Good morning.

0 8 : 2 2 : 5 5   22                  MR. MASTERS:     I do think the verdict form is

0 8 : 2 2 : 5 7   23     done.   We've exchanged a list of the trade secrets for the

0 8 : 2 3 : 0 2   24     jurors, little back and forth, but I think we are now in

0 8 : 2 3 : 0 5   25     agreement on that.      It will have a list of trade secrets
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0 8 : 2 3 : 0 9   1      opinion cites right underneath.

0 8 : 2 3 : 1 1   2                   THE COURT:    Right.

0 8 : 2 3 : 1 1   3                   MR. MASTERS:     As soon as Mr. Lemieux gets in,

0 8 : 2 3 : 1 3   4      we should be able to have that to the Court shortly.

0 8 : 2 3 : 1 8   5                   MR. ELKINS:    Yeah.   He was further behind me.

0 8 : 2 3 : 2 1   6                   THE COURT:    That will give us the verdict

0 8 : 2 3 : 2 2   7      forms, which is what the lawyers mostly should need to do

0 8 : 2 3 : 2 4   8      the close, and the instructions.        But we'll wait.      We've

0 8 : 2 3 : 3 0   9      got a couple minutes.      We will until Ms. Harris gets here.

0 8 : 2 3 : 3 6   10                  MR. ELKINS:    Thank you.

0 8 : 2 3 : 3 7   11                  Ah, there you are.

0 8 : 2 3 : 4 0   12                  THE COURT:    Yes, absolutely.

0 8 : 2 3 : 4 3   13                  MR. ELKINS:    So the question the Court poses is

0 8 : 2 3 : 4 5   14     that regarding the use instruction, and perhaps you could

0 8 : 2 3 : 5 0   15     state it better than I could, Your Honor.

0 8 : 2 3 : 5 2   16                  THE COURT:    Right.   Well, Ms. Harris, what

0 8 : 2 3 : 5 5   17     we've done is, we tended -- I tend to agree with the

0 8 : 2 4 : 0 0   18     position that the sentence that begins:           "Examples of use

0 8 : 2 4 : 0 4   19     that fall within this definition include," I tended to

0 8 : 2 4 : 0 8   20     agree with you on that because it was a little too

0 8 : 2 4 : 1 0   21     specific and it was granular.       And that's uncomfortable

0 8 : 2 4 : 1 5   22     for the Court.     The jury gets to decide all questions of

0 8 : 2 4 : 1 7   23     fact, and that was a good point.

0 8 : 2 4 : 1 9   24                  The principal can be articulated, though, is

0 8 : 2 4 : 2 4   25     that the unauthorized use need not extend to every aspect
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0 8 : 2 4 : 2 9   1      or feature of a trade secret, use of any substantial

0 8 : 2 4 : 3 3   2      portion of a trade secret is sufficient to subject the

0 8 : 2 4 : 3 6   3      actor to liability.      That, I think, is in principle an

0 8 : 2 4 : 3 9   4      accurate statement law as far as I can tell.

0 8 : 2 4 : 4 3   5                   I'm going to go through the rest, but that you

0 8 : 2 4 : 4 4   6      would prevail, though, on the issue of "Severely the actor

0 8 : 2 4 : 4 6   7      need not" --

0 8 : 2 4 : 4 6   8            (Reporter clarification.)

0 8 : 2 4 : 4 6   9                   THE COURT:    No problem.

0 8 : 2 5 : 0 1   10                  Then, we were going to promote that last two

0 8 : 2 5 : 0 4   11     sentences of the first paragraph that you were indicating.

0 8 : 2 5 : 0 8   12                  So, basically, only one sentence, which -- and

0 8 : 2 5 : 1 0   13     so we're going to delete the last two sentences.           I know

0 8 : 2 5 : 1 8   14     you wanted to look at that, so take a look real quick.

0 8 : 2 5 : 2 2   15                  MS. HARRIS:    Thank you, Your Honor.

0 8 : 2 5 : 2 3   16                  THE COURT:    Yes, sir.

0 8 : 2 5 : 3 8   17                  MR. MASTERS:     Your Honor, on the issue of use,

0 8 : 2 5 : 3 9   18     we did file a --

0 8 : 2 5 : 4 1   19                  THE COURT:    You did.    We got it.

0 8 : 2 5 : 4 2   20                  MR. MASTERS:     Make sure the Court has it.

0 8 : 2 5 : 4 4   21                  THE COURT:    We read it.    We do.    We've done it,

0 8 : 2 5 : 4 6   22     and we're done.     I mean, we can talk about it, but I think

0 8 : 2 5 : 5 1   23     it's well said.

0 8 : 2 6 : 0 2   24                  I don't want to mislead anybody.        We pretty

0 8 : 2 6 : 0 5   25     well decided this and so I was trying to get it to you so
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0 8 : 2 6 : 0 8   1      that you would have it so that you would know what you

0 8 : 2 6 : 1 2   2      would be presenting in argument.        And some of these -- let

0 8 : 2 6 : 1 9   3      me give them a couple minutes.

0 8 : 2 8 : 3 7   4                   All right.    I know we were giving you a moment

0 8 : 2 8 : 3 9   5      there.    Ms. Harris, it seems to me that what we would

0 8 : 2 8 : 4 3   6      include would be after the word "use" in that paragraph on

0 8 : 2 8 : 4 6   7      Page 29, we would then say, "The unauthorized use need not

0 8 : 2 8 : 5 0   8      extend to every aspect or future on a trade secret.           Use

0 8 : 2 8 : 5 4   9      of any substantial of a trade secret is sufficient to

0 8 : 2 8 : 5 7   10     subject the actor to liability."

0 8 : 2 8 : 5 8   11                  I believe that to be an accurate statement, and

0 8 : 2 9 : 0 0   12     it may be an important principle clarification in the

0 8 : 2 9 : 0 4   13     case.

0 8 : 2 9 : 0 5   14                  Now, I could look to Mr. Masters to confirm,

0 8 : 2 9 : 0 9   15     but it seems to me that that is the accurate statement on

0 8 : 2 9 : 1 2   16     that.    You may have a case that says, absolutely that, but

0 8 : 2 9 : 1 7   17     if you want to tell me about it.

0 8 : 2 9 : 1 9   18                  MR. MASTERS:     Well, we have cited a case, Your

0 8 : 2 9 : 2 3   19     Honor, that does talk about the first two sentences of

0 8 : 2 9 : 2 7   20     that paragraph.

0 8 : 2 9 : 2 9   21                  THE COURT:    I know that I could use that, but I

0 8 : 2 9 : 3 1   22     think that anytime it looks like it's directional or

0 8 : 2 9 : 3 5   23     suggesting something about the specific facts, we try to

0 8 : 2 9 : 3 8   24     avoid that and try to include the legal principle that's

0 8 : 2 9 : 4 2   25     involved.    I think the legal principle is still there, and
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0 8 : 2 9 : 4 6   1      the rest is left the argument, but okay.

0 8 : 2 9 : 4 8   2                   Yes, sir.

0 8 : 2 9 : 4 9   3                   MR. MASTERS:     I guess the point is that this is

0 8 : 2 9 : 5 1   4      applicable to this case based on this facts and the

0 8 : 2 9 : 5 5   5      subject matter at issue in terms of an R&D in the

0 8 : 2 9 : 5 9   6      technology field such as the BAW filter.           So the use of

0 8 : 3 0 : 0 4   7      the trade secret, whether it's manufacturing, production

0 8 : 3 0 : 0 7   8      or accelerating R&D does seem to be quiet informative in

0 8 : 3 0 : 1 3   9      terms of instructing the jury on issues directly relevant

0 8 : 3 0 : 1 6   10     to what they need to decide.       And it does fine support in

0 8 : 3 0 : 1 8   11     the restatement of unfair competition.            And the Universal

0 8 : 3 0 : 2 7   12     Systems case is cited on Page 1 of our brief.

0 8 : 3 0 : 3 1   13                  THE COURT:    Sometimes we receive a question

0 8 : 3 0 : 3 3   14     from the panel if they want further clarification on

0 8 : 3 0 : 3 6   15     principle, then we look back to what you just indicated,

0 8 : 3 0 : 3 9   16     and might use that in response to a question.

0 8 : 3 0 : 4 4   17                  I don't disagree that it would not be -- I'm

0 8 : 3 0 : 4 9   18     used to the jury.      The question is, would it be something

0 8 : 3 0 : 5 3   19     that the Court would want to say other than the general

0 8 : 3 0 : 5 6   20     principles involved.      So we try to focus on the principle

0 8 : 3 0 : 5 8   21     of law and avoid things that sound like directional in

0 8 : 3 1 : 0 2   22     nature.

0 8 : 3 1 : 0 3   23                  So I understand exactly what you're saying.            So

0 8 : 3 1 : 0 6   24     we've got that.

0 8 : 3 1 : 0 7   25                  Now, on -- but that does mean it would include
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0 8 : 3 1 : 1 0   1      the second sentence.      And, Ms. Harris, so it's sort of a

0 8 : 3 1 : 1 4   2      win.   I'm not splitting the baby.       I'm really trying to

0 8 : 3 1 : 1 7   3      focus on what's a principle versus what sounds

0 8 : 3 1 : 2 2   4      directional.

0 8 : 3 1 : 2 3   5                   MS. HARRIS:    Your Honor, we're fine with that

0 8 : 3 1 : 2 4   6      approach.    Thank you.

0 8 : 3 1 : 2 5   7                   THE COURT:    Okay.   That means that we would

0 8 : 3 1 : 3 0   8      also not include the language "but similarly, the actor

0 8 : 3 1 : 3 2   9      need not use the trade secrets in their original form, as

0 8 : 3 1 : 3 5   10     the actor is liable for using the trade secret with

0 8 : 3 1 : 3 8   11     independently created improvements."

0 8 : 3 1 : 4 0   12                  I'm going to take that out, too, because that

0 8 : 3 1 : 4 2   13     sounds a little more directional.        The principles are

0 8 : 3 1 : 4 4   14     listed.    And, again, if the jury asks a question and we

0 8 : 3 1 : 4 8   15     may have to add something in response to the question.

0 8 : 3 1 : 5 2   16                  Now, we were going to include the last

0 8 : 3 1 : 5 6   17     sentence, which is grayed out, because it would be correct

0 8 : 3 1 : 5 9   18     that, "but you may find that possession of the trade

0 8 : 3 2 : 0 2   19     secrets or the circumstances surrounding the possession of

0 8 : 3 2 : 0 6   20     the trade secrets are circumstantial evidence of use."

0 8 : 3 2 : 1 1   21                  In this case, we understand that it's the

0 8 : 3 2 : 1 3   22     circumstances surrounding possession that is certainly

0 8 : 3 2 : 2 1   23     something that a jury could consider.         In this case,

0 8 : 3 2 : 2 3   24     there's a lot of evidence about that.         We wouldn't want to

0 8 : 3 2 : 2 7   25     exclude it because it might be confusing if we didn't
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0 8 : 3 2 : 3 1   1      include it.       And that's where we are.

0 8 : 3 2 : 3 4   2                   MS. HARRIS:     Your Honor, I think our point here

0 8 : 3 2 : 3 5   3      is that it's not necessary given the prior instructions on

0 8 : 3 2 : 3 7   4      circumstantial and direct evidence that proceed.              Thus, we

0 8 : 3 2 : 4 1   5      think it's essentially reiterating a principle that has

0 8 : 3 2 : 4 4   6      already been stated in the beginning of the instructions.

0 8 : 3 2 : 4 8   7                   THE COURT:     I understand.     Because it talks

0 8 : 3 2 : 4 9   8      about circumstantial evidence, I think it probably is

0 8 : 3 2 : 5 3   9      helpful articulation in a slightly different way of a

0 8 : 3 2 : 5 9   10     principle that the jury can consider.

0 8 : 3 3 : 0 1   11                  So we're going to redo the instructions.             The

0 8 : 3 3 : 0 3   12     first sentence is out on the gray area, the first gray

0 8 : 3 3 : 0 8   13     paragraph.    The second sentence is in.           The last two

0 8 : 3 3 : 1 3   14     sentences on the first grayed area are out.             And then the

0 8 : 3 3 : 1 6   15     grayed area at the bottom of Page 29 is out.             And we will

0 8 : 3 3 : 2 0   16     reprint the instruction.

0 8 : 3 3 : 2 2   17                  Now, because there's going to be a slight

0 8 : 3 3 : 2 5   18     change because we're deleting on Page 39, that won't

0 8 : 3 3 : 3 1   19     affect it, but 40 will change the numbering slightly, just

0 8 : 3 3 : 3 5   20     so that the attorneys are aware of that.            So we'll print

0 8 : 3 3 : 3 7   21     you an extra copy so everybody can take a look at it and

0 8 : 3 3 : 4 1   22     use that.    I think we've got everybody.

0 8 : 3 3 : 4 7   23                  Did our juror make it?       Good for her.       She

0 8 : 3 3 : 5 0   24     had -- she's tied up in traffic.         I think we're all set.

0 8 : 3 3 : 5 4   25                  Is everybody ready?
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0 8 : 3 3 : 5 6   1                   MR. MASTERS:      We're ready, Your Honor.

0 8 : 3 3 : 5 7   2                   THE COURT:     Okay.   You ready, Mr. Elkins?

0 8 : 3 3 : 5 9   3                   MR. ELKINS:     Yes, we are, Your Honor.

0 8 : 3 4 : 0 1   4                   THE COURT:     Okay.   Thank you.

0 8 : 3 4 : 0 2   5            (The jury enters the courtroom at 8:34 a.m.)

0 8 : 3 4 : 5 4   6                   THE COURT:     Everyone can be seated.

0 8 : 3 5 : 0 0   7                   Does the defense wish to call any additional

0 8 : 3 5 : 0 2   8      witnesses?

0 8 : 3 5 : 0 5   9                   MR. LEMIEUX:      Yes, Your Honor.     We'd like to

0 8 : 3 5 : 0 7   10     call Dr. Clark Nguyen as a potential expert witness in

0 8 : 3 5 : 1 2   11     this case.

0 8 : 3 5 : 1 4   12                  THE COURT:     All right.    If you come forward to

0 8 : 3 5 : 1 5   13     the podium.       And I know that you're handing up --

0 8 : 3 5 : 1 9   14                  MR. ELKINS:     May I approach, Your Honor?

0 8 : 3 5 : 2 0   15                  THE COURT:     Yes, if you don't mind.      Thank you.

0 8 : 3 5 : 3 1   16                  THE CLERK:     Please remain standing and raise

0 8 : 3 5 : 3 1   17     your right hand.       Please state and spell your name for the

0 8 : 3 5 : 3 2   18     record.

0 8 : 3 5 : 3 5   19                  THE WITNESS:      Clark Nguyen, C-L-A-R-K

0 8 : 3 5 : 3 8   20     N-G-U-Y-E-N.

0 8 : 3 5 : 3 8   21           CLARK NGUYEN, having been called as a witness, being

0 8 : 3 5 : 3 8   22     first duly sworn under oath or affirmed, testified as

0 8 : 3 5 : 3 8   23     follows:

0 8 : 3 5 : 3 8   24                  THE CLERK:     Thank you.    Please be seated.

0 8 : 3 5 : 5 4   25                  MR. LEMIEUX:      Your Honor, if I may I approach
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                                                   Nguyen   - Direct

0 8 : 3 5 : 5 5   1      just to hand you hard copies of the slides for the Court's

0 8 : 3 5 : 5 9   2      convenience?

0 8 : 3 6 : 0 1   3                   THE COURT:    Certainly.

0 8 : 3 6 : 0 1   4                              DIRECT EXAMINATION

0 8 : 3 6 : 0 4   5      BY MR. LEMIEUX:

0 8 : 3 6 : 1 3   6      Q.    Good morning, Professor Nguyen.        If you could please

0 8 : 3 6 : 1 5   7      state your name for the record.

0 8 : 3 6 : 1 6   8      A.    Clark Nguyen.

0 8 : 3 6 : 1 8   9      Q.    And, Dr. Nguyen, could you please tell us a little

0 8 : 3 6 : 2 1   10     about yourself?

0 8 : 3 6 : 2 2   11     A.    Yeah, sure.

0 8 : 3 6 : 2 3   12           So I was born in Texas, I suppose.          We moved around

0 8 : 3 6 : 2 6   13     quite a bit.      I grew up sort of on the West Coast area.

0 8 : 3 6 : 3 1   14     I've actually lived throughout the United States.

0 8 : 3 6 : 3 2   15     Washington, D.C.; Ann Arbor, Michigan over my life.            Right

0 8 : 3 6 : 3 3   16     now, I currently reside in Berkley, California.            And I'm

0 8 : 3 6 : 3 9   17     happy to say that everywhere I've lived, I've loved.            So

0 8 : 3 6 : 4 3   18     that's, you know, a plus for our nation, I suppose, in

0 8 : 3 6 : 4 6   19     terms of good places to live.

0 8 : 3 6 : 4 8   20           One of my hobbies is playing electric guitar.           I like

0 8 : 3 6 : 5 3   21     playing and making guitars.       And maybe that's why I like

0 8 : 3 6 : 5 5   22     the type of research I do right now, just sort of these

0 8 : 3 6 : 5 8   23     vibrating types of devices.

0 8 : 3 7 : 0 0   24     Q.    Professor Nguyen, did you prepare any slides to help

0 8 : 3 7 : 0 4   25     aid and illustrate your testimony today?
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                                                   Nguyen   - Direct

0 8 : 3 7 : 0 6   1      A.    Yes, I did.

0 8 : 3 7 : 0 6   2      Q.    Okay.

0 8 : 3 7 : 0 6   3                    MR. LEMIEUX:    If we could please pull up

0 8 : 3 7 : 0 9   4      Slide DTX-2.01.

0 8 : 3 7 : 1 4   5      BY MR. LEMIEUX:

0 8 : 3 7 : 1 4   6      Q.    Dr. Nguyen -- excuse me, I mean to call you Professor

0 8 : 3 7 : 1 7   7      Nguyen.    We've been calling everyone "doctors" here with

0 8 : 3 7 : 2 0   8      PhDs.

0 8 : 3 7 : 2 0   9            But could you please describe your educational

0 8 : 3 7 : 2 2   10     background?

0 8 : 3 7 : 2 2   11     A.    Yes.    So I got my bachelor's degree at the University

0 8 : 3 7 : 2 5   12     of California at Berkley in a major called "Electrical

0 8 : 3 7 : 3 1   13     Engineering and Computer Sciences."        It actually combines

0 8 : 3 7 : 3 3   14     these two majors into one major.

0 8 : 3 7 : 3 5   15           I guess I should say that before that, my first

0 8 : 3 7 : 3 7   16     two years of college were at the University of Washington.

0 8 : 3 7 : 3 9   17     And I transferred to Berkley to get my bachelor's degree

0 8 : 3 7 : 4 4   18     at the time.

0 8 : 3 7 : 4 5   19     Q.    And did you get any degrees after your bachelor's

0 8 : 3 7 : 4 7   20     degree?

0 8 : 3 7 : 4 9   21     A.    Yes, I did.     So I stayed at Berkley.      I got a

0 8 : 3 7 : 5 3   22     master's degree and a PhD in the same major, electrical

0 8 : 3 7 : 5 7   23     engineering and computer sciences.

0 8 : 3 7 : 5 8   24     Q.    What was your doctoral thesis about,

0 8 : 3 8 : 0 0   25     Professor Nguyen?
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0 8 : 3 8 : 0 1   1      A.    Well, the title of my doctoral thesis was

0 8 : 3 8 : 0 4   2      micromechanical signal processors.        It kind of predates a

0 8 : 3 8 : 0 7   3      lot of stuff that's happened since then in MEMS.

0 8 : 3 8 : 1 1   4            I guess the claim to fame of my PhD thesis, it

0 8 : 3 8 : 1 4   5      resulted in the first micromechanical resonator isolater

0 8 : 3 8 : 1 8   6      that was stable enough for timing, and it was integrated

0 8 : 3 8 : 2 1   7      with some micromechanical part together with transistors.

0 8 : 3 8 : 2 6   8      Q.    Are you currently employed?

0 8 : 3 8 : 2 8   9      A.    Yes.

0 8 : 3 8 : 2 8   10     Q.    By who?

0 8 : 3 8 : 3 0   11     A.    By the University of California.        And so I am now the

0 8 : 3 8 : 3 6   12     chair of electrical engineering in the department of

0 8 : 3 8 : 3 9   13     electrical engineering computer sciences.

0 8 : 3 8 : 4 2   14           So I graduated from this department, I left of it, I

0 8 : 3 8 : 4 5   15     came back to become a professor here, and now I'm the

0 8 : 3 8 : 4 7   16     chair of the electrical engineering division or

0 8 : 3 8 : 4 9   17     department.

0 8 : 3 8 : 5 0   18     Q.    How large a department is that, Professor Nguyen?

0 8 : 3 8 : 5 3   19     A.    Quite large.     It's actually the largest department in

0 8 : 3 8 : 5 7   20     terms of student count.       You can imagine this because

0 8 : 3 9 : 0 0   21     computer science is something everyone wants to go into

0 8 : 3 9 : 0 4   22     these days, so this department's got computer science in

0 8 : 3 9 : 0 4   23     it.   It has about a hundred faculty, which is also one of

0 8 : 3 9 : 0 7   24     the largest, if not the largest, on campus.

0 8 : 3 9 : 1 0   25     Q.    What courses have you taught during your teaching
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0 8 : 3 9 : 1 3   1      career?

0 8 : 3 9 : 1 4   2      A.    So there's so many courses that I've done, and so my

0 8 : 3 9 : 1 7   3      expertise originally was in transistor design, so I design

0 8 : 3 9 : 2 2   4      analog circuits, digital circuits.        I also do

0 8 : 3 9 : 2 4   5      microelectromechanical systems, so manage as well.

0 8 : 3 9 : 2 8   6            So I taught courses in analog integrated circuits and

0 8 : 3 9 : 3 2   7      also in MEMS.

0 8 : 3 9 : 3 3   8      Q.    Have you taught any courses that cover the kind of RF

0 8 : 3 9 : 3 5   9      technology or filter technology that has been discussed in

0 8 : 3 9 : 4 0   10     this case?

0 8 : 3 9 : 4 1   11     A.    Yes, indeed, I have.

0 8 : 3 9 : 4 2   12     Q.    What courses have those been?

0 8 : 3 9 : 4 5   13     A.    So at the University of Michigan there was a course

0 8 : 3 9 : 4 6   14     called the AECS522, the title was analog Integrated

0 8 : 3 9 : 5 1   15     Circuits for Communications.       And so what we're talking

0 8 : 3 9 : 5 4   16     about is a technology for communications.

0 8 : 3 9 : 5 7   17           I've also taught MEMS courses that we'll talk about

0 8 : 4 0 : 0 0   18     all sorts of resonators, not just BAW-type resonators.

0 8 : 4 0 : 0 4   19     We're talking about now using aluminum nitride materials

0 8 : 4 0 : 0 7   20     and other materials as well.       And there's a whole host of

0 8 : 4 0 : 1 0   21     cool materials to use that people are investigating in

0 8 : 4 0 : 1 3   22     research.

0 8 : 4 0 : 1 3   23     Q.    You've mentioned, Professor Nguyen, you currently are

0 8 : 4 0 : 1 5   24     the chair at the University California Berkeley.           Have you

0 8 : 4 0 : 1 8   25     taught at any other universities?
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0 8 : 4 0 : 2 0   1      A.    Yes, I have.     Before coming to Berkley, I went --

0 8 : 4 0 : 2 3   2      after graduating with my PhD in December 1994, in

0 8 : 4 0 : 2 9   3      January 1995, I immediately went to the University of

0 8 : 4 0 : 3 3   4      Michigan to teach.      I think Berkley has a rule that we

0 8 : 4 0 : 3 7   5      don't hire our own students coming out of college.           I

0 8 : 4 0 : 4 0   6      don't know why we have that rule.        We still actually have

0 8 : 4 0 : 4 1   7      it.

0 8 : 4 0 : 4 2   8      Q.    And have you won any awards for your teaching

0 8 : 4 0 : 4 6   9      abilities?

0 8 : 4 0 : 4 6   10     A.    Yes.   So let me just say that in the career of a

0 8 : 4 0 : 5 0   11     faculty person, a professor, you work really hard to teach

0 8 : 4 0 : 5 3   12     well in the beginning, then later on you have service and

0 8 : 4 0 : 5 5   13     research and stuff.      You still teach well.      But in the

0 8 : 4 0 : 5 8   14     beginning is when you win a lot of these awards.

0 8 : 4 1 : 0 1   15           And so I won a lot of awards at the University of

0 8 : 4 1 : 0 4   16     Michigan and some at Berkeley.        So at Michigan I won what

0 8 : 4 1 : 0 7   17     they call the 1938 E Award, it's a College of Engineering

0 8 : 4 1 : 1 0   18     award for the outstanding teacher for that particular

0 8 : 4 1 : 1 3   19     year.   I think I won that in 1998.

0 8 : 4 1 : 1 5   20           I also won what's called the Ruth and Joel Spira

0 8 : 4 1 : 1 6   21     Award for excellent teaching.       I won the -- I guess,

0 8 : 4 1 : 2 4   22     Department Excellent Teaching Awards at both University of

0 8 : 4 1 : 3 0   23     Michigan and UC Berkley.       And I suppose even beyond

0 8 : 4 1 : 3 2   24     teaching at a university, I've been a distinguished

0 8 : 4 1 : 3 5   25     lecturer for IEEE societies, in particular for the Solid
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0 8 : 4 1 : 4 1   1      State Circuit Society.

0 8 : 4 1 : 4 2   2      Q.    In addition to your teaching responsibilities, have

0 8 : 4 1 : 4 5   3      you engaged in any research while you were at either the

0 8 : 4 1 : 4 8   4      University of Michigan or the University of California?

0 8 : 4 1 : 5 0   5      A.    Yes, absolutely.

0 8 : 4 1 : 5 1   6      Q.    And what kind of research have you conducted or

0 8 : 4 1 : 5 4   7      supervised?

0 8 : 4 1 : 5 5   8      A.    So the research has been largely into

0 8 : 4 1 : 5 7   9      microelectromechanical systems, but a lot of it pointed

0 8 : 4 2 : 0 0   10     towards the timing devices in microelectromechanical

0 8 : 4 2 : 0 3   11     systems.    And what that is similar resonators to what

0 8 : 4 2 : 0 6   12     we're talking about today, but what I would call much

0 8 : 4 2 : 1 0   13     better performance that you need in order to get timing.

0 8 : 4 2 : 1 2   14     And so timing is something we all have on us, in fact, all

0 8 : 4 2 : 1 5   15     our computers, all of our cell phones, you know, these

0 8 : 4 2 : 1 8   16     monitors, everything.       There's some clock in there that's

0 8 : 4 2 : 2 1   17     making sure that all of the circuits are synchronized

0 8 : 4 2 : 2 4   18     together.    And so the research has actually resulted in a

0 8 : 4 2 : 2 7   19     huge volume industry in MEMS.

0 8 : 4 2 : 3 1   20           The other research that I've done is integrating

0 8 : 4 2 : 3 4   21     integrated circuits together the MEMS.             It's kind of a

0 8 : 4 2 : 3 7   22     cool thing.       Right now what you see a lot in this trial is

0 8 : 4 2 : 3 9   23     having MEMS devices with circuits and they're bonded

0 8 : 4 2 : 4 3   24     together or they're clip-chipped onto each other.

0 8 : 4 2 : 4 6   25           Well, there's research going on to put the MEMS
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0 8 : 4 2 : 4 8   1      directly above the circuits and maybe my group has had

0 8 : 4 2 : 5 2   2      some of the best success in doing something like that.

0 8 : 4 2 : 5 4   3      Once you're able to do that, there's technologies that may

0 8 : 4 2 : 5 7   4      allow you to actually put the whole cell phone onto a

0 8 : 4 3 : 0 1   5      single chip.      So that's what our goal is.

0 8 : 4 3 : 0 4   6            Think of your cell phone you hold in your hand as

0 8 : 4 3 : 0 6   7      maybe a ring on your finger or something.            Dick Tracy-

0 8 : 4 3 : 1 0   8      stuff is what we're looking at.

0 8 : 4 3 : 1 2   9      Q.    So what's the current focus of your research?            To the

0 8 : 4 3 : 1 5   10     extent that -- I obviously can't ask you anything that

0 8 : 4 3 : 1 8   11     might be classified that you might be doing for certain

0 8 : 4 3 : 2 1   12     governmental entities, but what is your current research

0 8 : 4 3 : 2 4   13     focus?

0 8 : 4 3 : 2 4   14     A.    The current research is to get better resonators, for

0 8 : 4 3 : 2 7   15     one thing.    I think you've heard about quality factor that

0 8 : 4 3 : 3 1   16     we've talked about here.       And for these BAW resonators,

0 8 : 4 3 : 3 3   17     the quality factor's on the order of 500 to 1,500, maybe

0 8 : 4 3 : 3 8   18     2,000 or so.

0 8 : 4 3 : 4 0   19           Our resonators we can make out of diamond, for

0 8 : 4 3 : 4 2   20     example.    That's kind of a cool material to try to use.

0 8 : 4 3 : 4 4   21     But those actually are 3 gigahertz have gotten Qs on the

0 8 : 4 3 : 4 9   22     order of 42,000, some approaching 80,000.            And, you know,

0 8 : 4 3 : 5 1   23     we've shown record performance in terms of what's called a

0 8 : 4 3 : 5 7   24     frequency Q product or so.

0 8 : 4 3 : 5 9   25           There are some issues with these.           The
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0 8 : 4 3 : 5 9   1      electromechanical coupling is not as strong.            You've heard

0 8 : 4 4 : 0 5   2      that word here today.      And so they are relegated to other

0 8 : 4 4 : 0 7   3      types of applications, much more futuristic applications.

0 8 : 4 4 : 1 0   4      I would say maybe the most interesting type of research we

0 8 : 4 4 : 1 2   5      are doing right now is trying to eliminate transistors.

0 8 : 4 4 : 1 6   6            So I've kind of gone full circle.           In the beginning

0 8 : 4 4 : 1 7   7      of my career as a student, I wanted to combine transistors

0 8 : 4 4 : 2 1   8      with MEMS.    We call that integration.       Now I suppose what

0 8 : 4 4 : 2 4   9      I'm trying to do is disintegration.        We've realized that

0 8 : 4 4 : 2 7   10     transistors cost money.       So if you can do everything with

0 8 : 4 4 : 3 2   11     just the MEMS, then do it.

0 8 : 4 4 : 3 3   12           So what we've discovered is that you can actually do

0 8 : 4 4 : 3 5   13     all the amplification, the demodulation, the filtering,

0 8 : 4 4 : 3 9   14     all of these different things just using the mechanics.

0 8 : 4 4 : 4 3   15     So our dream is to be able to just have a chip that has

0 8 : 4 4 : 4 5   16     mechanics that does what your cell phone does but for

0 8 : 4 4 : 4 9   17     different applications, with the advantage of being --

0 8 : 4 4 : 5 1   18     it's all mechanical.      It consumes no power.

0 8 : 4 4 : 5 4   19           That means it can sit and listen for signals without

0 8 : 4 4 : 5 9   20     draining the battery.      Only when it actually receives a

0 8 : 4 5 : 0 2   21     real signal, when it has to process that, physics says it

0 8 : 4 5 : 0 5   22     has to consume energy.      But it consumes so little energy

0 8 : 4 5 : 0 8   23     that you might have, say, a cell phone on the ring on your

0 8 : 4 5 : 1 1   24     finger that doesn't need that big battery, that will last

0 8 : 4 5 : 1 4   25     longer than maybe the cell phones that you have today.
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0 8 : 4 5 : 1 6   1      That's the dream for this type of research.

0 8 : 4 5 : 2 0   2      Q.    Here's one person who hopes that you get there

0 8 : 4 5 : 2 2   3      eventually so I don't have to carry around power cables

0 8 : 4 5 : 2 6   4      anymore.

0 8 : 4 5 : 2 8   5            Professor Nguyen, have you worked outside of

0 8 : 4 5 : 2 9   6      academia?

0 8 : 4 5 : 3 0   7      A.    Yes, I have.

0 8 : 4 5 : 3 0   8      Q.    And what kind of work or what type of activities have

0 8 : 4 5 : 3 4   9      you engaged in?

0 8 : 4 5 : 3 5   10     A.    I guess we can go all the way back to when I was a

0 8 : 4 5 : 3 8   11     student.    And so I actually did summers and even sometimes

0 8 : 4 5 : 4 2   12     during the academic year at Pacific Northwest Laboratory.

0 8 : 4 5 : 4 7   13     This is when I was at the University of Washington, and we

0 8 : 4 5 : 4 7   14     go back to Pacific Northwest Laboratory.          That's at

0 8 : 4 5 : 4 7   15     Battelle in Richland, Washington.        That's where they have

0 8 : 4 5 : 5 4   16     a lot of nuclear facilities and that sort of -- my father

0 8 : 4 5 : 5 7   17     was a nuclear engineer, actually.

0 8 : 4 6 : 0 0   18           And so at Battelle Northwest, what I did was first

0 8 : 4 6 : 0 3   19     working with laser Raman spectroscopy to study materials.

0 8 : 4 6 : 0 6   20     So that's a way to actually analyze and study materials.

0 8 : 4 6 : 0 9   21           After that, I really switched gears -- and maybe this

0 8 : 4 6 : 1 3   22     is my computer science coming in to me.           I started a

0 8 : 4 6 : 1 7   23     project where we were designing computer codes to try to

0 8 : 4 6 : 1 9   24     actually predict water table changes in the geography

0 8 : 4 6 : 2 3   25     around a certain area.      This was mainly because, again,
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0 8 : 4 6 : 2 6   1      this was nuclear stuff.       We were trying to investigate

0 8 : 4 6 : 2 9   2      whether it made sense to put a nuclear waste repository

0 8 : 4 6 : 3 2   3      near Richland, Washington.       Why would anyone want that?

0 8 : 4 6 : 3 4   4      I'm not sure.

0 8 : 4 6 : 3 5   5            But we wrote the code for that, and we had to make

0 8 : 4 6 : 3 8   6      sure that the water table didn't move into the radioactive

0 8 : 4 6 : 4 1   7      material because you don't want that to happen.            That will

0 8 : 4 6 : 4 4   8      get into the ocean and everything else.           We had to make

0 8 : 4 6 : 4 5   9      sure that, in a thousand years, that that didn't happen.

0 8 : 4 6 : 4 8   10     And there are actually probabilistic codes that you can

0 8 : 4 6 : 5 1   11     write to try to predict that to a pretty good percentage.

0 8 : 4 6 : 5 6   12     Q.    Have you been involved in forming or creating any

0 8 : 4 7 : 0 0   13     companies?

0 8 : 4 7 : 0 1   14     A.    Yes.   And so while I was at the University of

0 8 : 4 7 : 0 3   15     Michigan in Ann Arbor, Michigan, I started and cofounded

0 8 : 4 7 : 0 6   16     together with Rick Snyder, who actually was the Governor

0 8 : 4 7 : 0 9   17     of Michigan after that time.       At that point, he was an

0 8 : 4 7 : 1 2   18     investor.    I cofounded a company called Discera.

0 8 : 4 7 : 1 5   19           This was the first company to commercialize some of

0 8 : 4 7 : 1 8   20     the technologies we pioneered in my research.           These are

0 8 : 4 7 : 2 1   21     the vibrating micromechanical devices used for timing.

0 8 : 4 7 : 2 4   22     And so this was the first company to commercialize timing.

0 8 : 4 7 : 2 7   23     It was funny because, when we tried to start this company,

0 8 : 4 7 : 3 0   24     all sorts of people were saying this would never happen.

0 8 : 4 7 : 3 3   25     And that's usually what happens when you are trying to
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0 8 : 4 7 : 3 5   1      start a new company with new technology.          They'll come out

0 8 : 4 7 : 3 8   2      and say there's no way this is going to happen.            With

0 8 : 4 7 : 4 1   3      MEMS, it was because it was so small, there's no way it

0 8 : 4 7 : 4 4   4      could be as stable as quartz.

0 8 : 4 7 : 4 5   5            Now, fast-forward these 20 years now, MEMS is

0 8 : 4 7 : 4 8   6      actually more stable than quartz, mainly because of the

0 8 : 4 7 : 5 2   7      packaging that's it's put into.        And, actually, MEMS is

0 8 : 4 7 : 5 4   8      starting to develop into performances that quartz,

0 8 : 4 7 : 5 7   9      normally you don't see at this price point.

0 8 : 4 8 : 0 0   10           So, for example, there's something called Stratum E

0 8 : 4 8 : 0 3   11     stability.    Stratum E stability actually allows you to put

0 8 : 4 8 : 0 6   12     your timing device into a base station.           Where previously,

0 8 : 4 8 : 1 0   13     it's atomic clocks, which cost a lot more than these

0 8 : 4 8 : 1 5   14     devices in base stations.       And so some of the MEMS

0 8 : 4 8 : 1 7   15     technologies these days are quite amazing.

0 8 : 4 8 : 2 0   16           My company was bought in 2013, but there are

0 8 : 4 8 : 2 3   17     companies still working on this stuff, pushing the

0 8 : 4 8 : 2 5   18     technology to the point where, you know, it may just all

0 8 : 4 8 : 3 0   19     be MEMS in our economist vehicles, in our data centers,

0 8 : 4 8 : 3 2   20     all these things that we need to have modernized these

0 8 : 4 8 : 3 6   21     days to satisfy, I suppose, our voracious appetite for

0 8 : 4 8 : 4 1   22     data.

0 8 : 4 8 : 4 3   23     Q.    Professor Nguyen, I notice on your slide here you

0 8 : 4 8 : 4 4   24     have a reference to DARPA.       Could you please explain to

0 8 : 4 8 : 4 8   25     the jury what DARPA is?
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0 8 : 4 8 : 5 0   1      A.    Yes.   So DARPA, I went to -- they borrowed me from

0 8 : 4 8 : 5 4   2      the University of Michigan, I believe it was 2002 at that

0 8 : 4 8 : 5 7   3      time.   And what DARPA is, is the Defense Advance Research

0 8 : 4 9 : 0 1   4      Project Agency.     It's a government agency that funds

0 8 : 4 9 : 0 4   5      research.    Every now and then, you hear the term pop up in

0 8 : 4 9 : 0 9   6      movies and everything as sort of like, not the crazies,

0 8 : 4 9 : 1 0   7      but the people that are way out there in terms of

0 8 : 4 9 : 1 3   8      research.    And that's kind of DARPA what was.

0 8 : 4 9 : 1 6   9            That was a great time for me.       That was a time when I

0 8 : 4 9 : 1 9   10     was right there at the spigot, you know, where all the

0 8 : 4 9 : 2 2   11     money was flowing in Washington DC.        That's when I lived

0 8 : 4 9 : 2 6   12     near Washington, D.C.

0 8 : 4 9 : 2 7   13           And, basically, I was able to raise money for members

0 8 : 4 9 : 2 9   14     of my community; I was giving back to my community.             This

0 8 : 4 9 : 3 2   15     money is not going to me, of course.         I'm a government

0 8 : 4 9 : 3 5   16     employee at that time.      And so I'm raising money.       I

0 8 : 4 9 : 3 7   17     raised, I think, a total $356 million to go out to people

0 8 : 4 9 : 4 1   18     across the nation at different universities and different

0 8 : 4 9 : 4 4   19     companies to do research in MEMS.        And there were so many

0 8 : 4 9 : 4 8   20     different programs.      It's not just resonator programs that

0 8 : 4 9 : 5 0   21     we're talking about today.

0 8 : 4 9 : 5 2   22           Indeed, FBARs and SMR and this sort of thing was

0 8 : 4 9 : 5 6   23     funded under some of these programs.         But things like chip

0 8 : 5 0 : 0 0   24     scale atomic clock.      This is getting an atomic clock,

0 8 : 5 0 : 0 3   25     which usually is a refrigerator-size thing, into a tiny
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0 8 : 5 0 : 0 7   1      size.   And all these have the same thing because that's

0 8 : 5 0 : 0 9   2      what MEMS is to me.      MEMS is basically shrinking things to

0 8 : 5 0 : 1 2   3      try to reap the performance benefits out of shrinking

0 8 : 5 0 : 1 5   4      things.    So when things get smaller, they just get faster.

0 8 : 5 0 : 1 9   5            And so that's an example of the type of stuff we were

0 8 : 5 0 : 2 2   6      trying to harness.      So other programs were things like

0 8 : 5 0 : 2 6   7      microcryogenic coolers, micro power sources, or power

0 8 : 5 0 : 3 0   8      sources that, instead of using lithium ion for batteries,

0 8 : 5 0 : 3 3   9      may use, say, some kind of chemistry, some hydrocarbon

0 8 : 5 0 : 3 8   10     chemistries or so to get much larger energy density.           And

0 8 : 5 0 : 3 8   11     even radio isotope nuclear batteries.         Just a whole host

0 8 : 5 0 : 4 4   12     of different programs, lots of funding that went out to

0 8 : 5 0 : 4 7   13     help people, to allow them to do research.          And, of

0 8 : 5 0 : 4 9   14     course, it then allows them to live the way they need to,

0 8 : 5 0 : 5 2   15     right, help their families, et cetera.

0 8 : 5 0 : 5 4   16     Q.    So, Professor Nguyen, do you have any patents?

0 8 : 5 0 : 5 8   17     A.    Yes.    I have quite a few patents.

0 8 : 5 1 : 0 1   18     Q.    Approximately, how many?

0 8 : 5 1 : 0 2   19     A.    More than 40.     I know that.

0 8 : 5 1 : 0 4   20     Q.    Are they in a particular area or field of study?

0 8 : 5 1 : 0 8   21     A.    Yeah.    They're in this very area that we're talking

0 8 : 5 1 : 1 1   22     about, but different types of -- different materials being

0 8 : 5 1 : 1 4   23     used.   A lot of different resonators, filter designs.

0 8 : 5 1 : 1 7   24     Even communication system designs that take advantage of

0 8 : 5 1 : 2 1   25     these resonators.
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0 8 : 5 1 : 2 3   1                   MR. LEMIEUX:     Your Honor, I'd like to move the

0 8 : 5 1 : 2 5   2      Court at this time to certify Dr. Nguyen as an expert in

0 8 : 5 1 : 2 8   3      the design and manufacture of MEMS devices in RF filters,

0 8 : 5 1 : 3 3   4      including bulk acoustic wave filters and resonators.

0 8 : 5 1 : 3 7   5                   THE COURT:    Any voir dire?

0 8 : 5 1 : 3 8   6                   MR. MASTERS:     No, Your Honor.     No objection.

0 8 : 5 1 : 4 0   7                   THE COURT:    The witness is accepted as an

0 8 : 5 1 : 4 1   8      individual who can express an opinion, that is a witness

0 8 : 5 1 : 4 5   9      who is an expert in the designated areas.

0 8 : 5 1 : 5 0   10     BY MR. LEMIEUX:

0 8 : 5 1 : 5 1   11     Q.    Professor Nguyen, were you asked to provide an

0 8 : 5 1 : 5 2   12     opinion regarding the patent infringement claims in this

0 8 : 5 1 : 5 5   13     case?

0 8 : 5 1 : 5 5   14     A.    Yes.

0 8 : 5 1 : 5 7   15     Q.    And what were you asked to do?

0 8 : 5 1 : 5 9   16     A.    So I was asked to determine whether the accused

0 8 : 5 2 : 0 3   17     products infringed upon the patents at issue.

0 8 : 5 2 : 0 7   18     Q.    Either of the asserted patents?

0 8 : 5 2 : 0 8   19     A.    Yes.

0 8 : 5 2 : 1 0   20     Q.    So let's start with your opinion on whether or not

0 8 : 5 2 : 1 2   21     the accused products infringe patent number 7,522,018,

0 8 : 5 2 : 2 0   22     which I'm just going to refer to as the '018 patent for

0 8 : 5 2 : 2 2   23     matters of convenience.

0 8 : 5 2 : 2 3   24                  MR. LEMIEUX:     If we can pull up the next slide,

0 8 : 5 2 : 2 5   25     please.
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0 8 : 5 2 : 2 5   1      BY MR. LEMIEUX:

0 8 : 5 2 : 3 7   2      Q.    What did you review and analyze, Professor Nguyen, in

0 8 : 5 2 : 3 9   3      order to provide your opinion regarding your opinion of

0 8 : 5 2 : 4 1   4      the '018?

0 8 : 5 2 : 4 2   5      A.    So I, of course, reviewed this patent, which means I

0 8 : 5 2 : 4 5   6      looked at the specification, reviewed the specification,

0 8 : 5 2 : 4 7   7      reviewed the drawings of the patent, reviewed the claims.

0 8 : 5 2 : 5 0   8      And on top of that, I reviewed the Court's claim

0 8 : 5 2 : 5 4   9      construction order.

0 8 : 5 2 : 5 5   10     Q.    And do you have an opinion as to whether any of the

0 8 : 5 2 : 5 7   11     accused Akoustis products infringe Claims 1 or 12 of the

0 8 : 5 3 : 0 2   12     '018 patent?

0 8 : 5 3 : 0 3   13     A.    In my opinion, they do not infringe upon these

0 8 : 5 3 : 0 5   14     patents.

0 8 : 5 3 : 0 6   15     Q.    And why do you believe that?

0 8 : 5 3 : 0 9   16     A.    This is because -- well, in some of the devices, the

0 8 : 5 3 : 1 4   17     top electrode is actually not thinner than the bottom

0 8 : 5 3 : 1 9   18     electrode, which is one of stipulations of this patent.

0 8 : 5 3 : 2 1   19     And for all of the devices, Qorvo's experts did not

0 8 : 5 3 : 2 6   20     actually do any physical measurements to confirm that the

0 8 : 5 3 : 3 3   21     bandwidth of these devices increase, which is another

0 8 : 5 3 : 3 6   22     stipulation of the last element of this patent.

0 8 : 5 3 : 3 8   23           Instead of doing actual measurements, they did

0 8 : 5 3 : 4 2   24     simulations that actually for this patent don't really

0 8 : 5 3 : 4 5   25     make any sense.     And really served as a proxy for
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0 8 : 5 3 : 5 1   1      measurements they should have been able to make, because

0 8 : 5 3 : 5 4   2      these are not difficult measurements to make.

0 8 : 5 3 : 5 6   3                    MR. LEMIEUX:    If we could pull up, I believe

0 8 : 5 3 : 5 9   4      what's been -- it's trial Exhibit 229.

0 8 : 5 4 : 0 6   5      BY MR. LEMIEUX:

0 8 : 5 4 : 0 6   6      Q.    Do you recognize this document, Professor Nguyen?

0 8 : 5 4 : 0 8   7      A.    Yes, this is the patent we're calling the '018

0 8 : 5 4 : 1 2   8      patent.

0 8 : 5 4 : 1 2   9      Q.    Could you briefly describe the subject matter of this

0 8 : 5 4 : 1 4   10     patent?

0 8 : 5 4 : 1 5   11     A.    Sure.    And so this patent stipulates that -- well,

0 8 : 5 4 : 1 9   12     requires that the top electrode in this figure -- and I

0 8 : 5 4 : 2 4   13     guess I will be describing this figure.           If we could blow

0 8 : 5 4 : 2 7   14     up -- but right now the top electrode of this figure needs

0 8 : 5 4 : 3 0   15     to be smaller than the bottom electrode of this figure.

0 8 : 5 4 : 3 3   16     And I actually have a laser pointer up here that I have

0 8 : 5 4 : 3 6   17     been cleared to use.       So...

0 8 : 5 4 : 3 8   18                   THE COURT:   Sure.

0 8 : 5 4 : 3 8   19                   THE WITNESS:    So I will use it.      So this is the

0 8 : 5 4 : 4 3   20     bottom electrode; this is the piezoelectric layer.

0 8 : 5 4 : 4 6   21     BY MR. LEMIEUX:

0 8 : 5 4 : 4 6   22     Q.    What's being referred to as T2 in the diagram?

0 8 : 5 4 : 4 9   23     A.    Yes.    T2 is the bottom electrode, this is the

0 8 : 5 4 : 5 3   24     piezoelectric layer, and this is the top electrode T1.

0 8 : 5 4 : 5 6   25     And you can see that this is actually a FBAR device, of
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0 8 : 5 5 : 0 1   1      the two devices we've been talking about.          So it's

0 8 : 5 5 : 0 3   2      suspended in this membrane above an air gap underneath

0 8 : 5 5 : 0 8   3      this.

0 8 : 5 5 : 0 8   4            And so in this device, what the patent stipulates is

0 8 : 5 5 : 1 0   5      that the top electrode needs to be thinner than the bottom

0 8 : 5 5 : 1 3   6      electrode.     And at the same time, once you've achieved

0 8 : 5 5 : 1 7   7      that configuration, the bandwidth has to increase.

0 8 : 5 5 : 2 4   8      Q.    Now, the thickness differences that are discussed in

0 8 : 5 5 : 3 0   9      the '018 patent, are they in a particular relationship?            I

0 8 : 5 5 : 3 7   10     mean, does it matter which one is thicker or which one is

0 8 : 5 5 : 3 9   11     thinner?

0 8 : 5 5 : 4 0   12     A.    Yes.    The top electrode must be thicker than the

0 8 : 5 5 : 4 3   13     bottom electrode.

0 8 : 5 5 : 4 5   14     Q.    And what is --

0 8 : 5 5 : 4 6   15     A.    Sorry, sorry.     I got that backwards.      The top

0 8 : 5 5 : 4 8   16     electrode needs to be thinner than the bottom electrode.

0 8 : 5 5 : 5 1   17     Q.    And, again, what does that relationship -- what is it

0 8 : 5 5 : 5 5   18     required to provide?

0 8 : 5 6 : 0 0   19     A.    I don't quite understand the question, "what is it

0 8 : 5 6 : 0 2   20     require to provide."

0 8 : 5 6 : 0 3   21     Q.    Well, what's the purpose of having that difference in

0 8 : 5 6 : 0 6   22     thicknesses in that particular relationship?

0 8 : 5 6 : 0 8   23     A.    Yeah.    So the purpose of doing this is that when you

0 8 : 5 6 : 1 0   24     make the top electrode thinner than the bottom electrode,

0 8 : 5 6 : 1 3   25     the patent says that it actually creates a field
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0 8 : 5 6 : 1 6   1      distribution, electric field distribution that better

0 8 : 5 6 : 2 0   2      matches the mode shape within the piezoelectric within the

0 8 : 5 6 : 2 3   3      electrodes, that then enhances the electromechanical

0 8 : 5 6 : 2 7   4      coupling coefficient of the device.

0 8 : 5 6 : 2 9   5                    MR. LEMIEUX:    If we could please pull up

0 8 : 5 6 : 3 1   6      Exhibit 2.03.

0 8 : 5 6 : 3 2   7      BY MR. LEMIEUX::

0 8 : 5 6 : 3 2   8      Q.    And what is being represented here, Professor Nguyen?

0 8 : 5 6 : 3 7   9      A.    This is the claims of the '018 patent.

0 8 : 5 6 : 4 1   10     Q.    The elements of first claim?

0 8 : 5 6 : 4 3   11     A.    Oh, you mean the first claim?       Yes.

0 8 : 5 6 : 4 4   12           So for the first claim, this is looking for the

0 8 : 5 6 : 4 8   13     device to be an electroacoustic resonator.          This is the

0 8 : 5 6 : 5 3   14     case for the accused devices.       So there's a check mark in

0 8 : 5 6 : 5 6   15     there.

0 8 : 5 6 : 5 6   16     Q.    And then what is being -- what's required in the

0 8 : 5 6 : 5 9   17     second element, 1B?

0 8 : 5 7 : 0 0   18     A.    So as the second element is saying here, we're

0 8 : 5 7 : 0 3   19     looking for a membrane structure FBAR -- which we have --

0 8 : 5 7 : 0 6   20     with a layer structure comprising a piezoelectric layer --

0 8 : 5 7 : 1 0   21     which you saw was there -- and a top electrode and a

0 8 : 5 7 : 1 4   22     bottom electrode with the thickness of the two electrodes

0 8 : 5 7 : 1 6   23     being unequal, which is present in the accused devices.

0 8 : 5 7 : 2 0   24     Q.    Okay.   Could you please explain what is described in

0 8 : 5 7 : 2 3   25     Element 1C?
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0 8 : 5 7 : 2 5   1      A.    So Element 1C is characterizing that the top

0 8 : 5 7 : 2 8   2      electrode layer is thinner than the bottom electrode

0 8 : 5 7 : 3 0   3      layer.    So that's the first thing that's necessary.         And

0 8 : 5 7 : 3 3   4      the second thing that's necessary is that once you have

0 8 : 5 7 : 3 6   5      this configuration, this must increase the bandwidth.

0 8 : 5 7 : 4 2   6      Q.    In your opinion, the accused devices for Akoustis do

0 8 : 5 7 : 4 6   7      not satisfy the third element, 1C?

0 8 : 5 7 : 4 9   8      A.    Yes, that's what the "X" mark is for.

0 8 : 5 7 : 5 2   9      Q.    And why have you formed the opinion that the accused

0 8 : 5 7 : 5 6   10     devices do not satisfy the requirements of 1C?

0 8 : 5 8 : 0 0   11     A.    So to say, again, in some of the devices, let's say

0 8 : 5 8 : 0 3   12     nine out of the 19 devices, when we look at the

0 8 : 5 8 : 0 7   13     cross-sections obtained by Dr. Heinrich, one of Qorvo's

0 8 : 5 8 : 1 1   14     experts, there are top electrodes that are actually

0 8 : 5 8 : 1 4   15     thicker than the bottom electrode.

0 8 : 5 8 : 1 6   16                  MR. LEMIEUX:     Can we pull up Demonstrative

0 8 : 5 8 : 1 8   17     2.04.

0 8 : 5 8 : 1 9   18                  THE WITNESS:     Yes.   Thank you.    This helps

0 8 : 5 8 : 2 1   19     explain this quite well.

0 8 : 5 8 : 2 3   20                  And so if you look at this cross-section --

0 8 : 5 8 : 2 4   21     I'll just point out some of the things you've saw in that

0 8 : 5 8 : 2 6   22     cartoon of his.     And so this is the aluminum nitride

0 8 : 5 8 : 3 2   23     piezoelectric layer.      This is the bottom electrode

0 8 : 5 8 : 3 3   24     underneath this.      This is the top electrode.      It's got a

0 8 : 5 8 : 3 7   25     passivation above this.       It's got some support layers down
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0 8 : 5 8 : 3 9   1      here like you saw on the drawing as well.

0 8 : 5 8 : 4 2   2                   And, indeed, if you look at this portion of the

0 8 : 5 8 : 4 4   3      top electrode, this is 73.34 nanometers.          That is, indeed,

0 8 : 5 8 : 4 9   4      thinner than the bottom electrode's 90.34 nanometers, and

0 8 : 5 8 : 5 4   5      91 and 90 there.      And so I think in this portion of the

0 8 : 5 8 : 5 7   6      top electrode, it is thinner than the bottom electrode;

0 8 : 5 9 : 0 0   7      however, this is also the top electrode.          Okay.   This is a

0 8 : 5 9 : 0 6   8      good 350 nanometers thick.       This does not satisfy the

0 8 : 5 9 : 1 0   9      requirement that the top electrode be thinner than the

0 8 : 5 9 : 1 4   10     bottom electrode.      And it's for this reason, this device

0 8 : 5 9 : 1 6   11     does not infringe.

0 8 : 5 9 : 1 8   12                  When you look at all the devices, all the

0 8 : 5 9 : 2 1   13     accused devices, all 19 of them, nine of the devices have

0 8 : 5 9 : 2 4   14     this feature.     The other ten devices do not have this

0 8 : 5 9 : 2 8   15     feature.    So it looks at least in the data that

0 8 : 5 9 : 3 2   16     Dr. Heinrich provided, that the top electrode is thinner

0 8 : 5 9 : 3 5   17     than the bottom electrode.       However, there is something we

0 8 : 5 9 : 3 8   18     need to consider.      And we need to consider how

0 8 : 5 9 : 4 2   19     Dr. Heinrich actually did these measurements.

0 8 : 5 9 : 4 4   20                  And so if you'll recall, in order to measure

0 8 : 5 9 : 4 7   21     these devices, he had to pull them apart, access the

0 8 : 5 9 : 5 1   22     devices.    He had to cut them, he had to cleave them so

0 8 : 5 9 : 5 5   23     that you actually can see the cross-section that you're

0 8 : 5 9 : 5 7   24     seeing right there.

0 8 : 5 9 : 5 9   25                  Now, a person of ordinary skill in the art will
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0 9 : 0 0 : 0 3   1      understand that once you cleave this, you will reduce --

0 9 : 0 0 : 0 6   2      you will relieve some of the stress in the device.           So

0 9 : 0 0 : 0 9   3      when these devices are fabricated, they actually have some

0 9 : 0 0 : 1 2   4      amount of stress, especially when you're looking at these

0 9 : 0 0 : 1 4   5      membrane-type devices, like the FBAR.

0 9 : 0 0 : 1 7   6                   So think of a rubber band.       So if you take a

0 9 : 0 0 : 2 0   7      rubber band and you stretch it, you know what happens.            It

0 9 : 0 0 : 2 3   8      gets thinner.     That means that when you're putting tensile

0 9 : 0 0 : 2 6   9      stress on that rubber band, you are changing the thickness

0 9 : 0 0 : 3 0   10     of that.

0 9 : 0 0 : 3 0   11                  So think of it as this device actually being

0 9 : 0 0 : 3 3   12     stretched taut after fabrication in its pristine step

0 9 : 0 0 : 3 7   13     without having been cleaved, it is under that tension.

0 9 : 0 0 : 4 1   14     Once you cleave it, you take away some of those anchors

0 9 : 0 0 : 4 3   15     that are pulling on it.       And once you take away those

0 9 : 0 0 : 4 8   16     anchors, it's like letting go of the rubber band on this

0 9 : 0 0 : 5 1   17     side.   The rubber band comes back to its original shape,

0 9 : 0 0 : 5 4   18     which was thicker than before.

0 9 : 0 0 : 5 6   19                  So after cleaving these devices, in actuality

0 9 : 0 1 : 0 0   20     with the stress relieved, the thicknesses you end up with

0 9 : 0 1 : 0 2   21     are not actually the same thickness as the thickness of

0 9 : 0 1 : 0 5   22     the uncleaved pristine device.        For that reason, this

0 9 : 0 1 : 1 0   23     measurement, I'm not sure is that reliable.

0 9 : 0 1 : 1 3   24     BY MR. LEMIEUX::

0 9 : 0 1 : 1 3   25     Q.    Has Dr. Heinrich, then, Professor Nguyen, introduced
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0 9 : 0 1 : 1 6   1      a new variable that has to be accounted for during this

0 9 : 0 1 : 2 0   2      cleaving process?

0 9 : 0 1 : 2 1   3      A.    Yes.   I would say yes.

0 9 : 0 1 : 2 4   4      Q.    If we can now look back at exhibit --

0 9 : 0 1 : 2 6   5      Demonstrative 2.03.

0 9 : 0 1 : 2 8   6            Now, you've mentioned a second requirement for

0 9 : 0 1 : 3 1   7      Element 1C, Professor Nguyen.        It is also not infringed,

0 9 : 0 1 : 3 5   8      in your opinion, by the Akoustis devices.

0 9 : 0 1 : 3 7   9            Could you explain what you mean by that?

0 9 : 0 1 : 3 9   10     A.    Yes.   I think we have a demonstrative to help with

0 9 : 0 1 : 4 2   11     us.

0 9 : 0 1 : 4 2   12                  MR. LEMIEUX:     Can we have Demonstrative 2.05,

0 9 : 0 1 : 4 5   13     please.

0 9 : 0 1 : 4 5   14                  THE WITNESS:     Yes.   So this is the simulation

0 9 : 0 1 : 4 7   15     that was submitted to claim that this last part of that

0 9 : 0 1 : 5 5   16     Element 1C in the '018 patent was infringed.          However, if

0 9 : 0 2 : 0 1   17     you look at this data, there are some significant problems

0 9 : 0 2 : 0 4   18     with that data.

0 9 : 0 2 : 0 6   19                  So first of all, I can point out a couple of

0 9 : 0 2 : 0 8   20     things, right.     There's no units on this.       I think that's

0 9 : 0 2 : 1 0   21     been pointed out before.       That's a pretty big deal,

0 9 : 0 2 : 1 2   22     actually.    Let me say more about this later on when we

0 9 : 0 2 : 1 4   23     talk about the other patent.

0 9 : 0 2 : 1 5   24                  For now, if you look at this data, what they

0 9 : 0 2 : 1 8   25     did was they sort of looked at the right side of this, saw
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0 9 : 0 2 : 2 0   1      that the green was larger than the blue.          And I think

0 9 : 0 2 : 2 3   2      there is an animation we can put in.

0 9 : 0 2 : 2 4   3                   Yeah.    So they looked at that part, saying the

0 9 : 0 2 : 2 6   4      green was larger than the blue.        But you've got to look at

0 9 : 0 2 : 3 1   5      this part, too.      You can't just look at one event.       So if

0 9 : 0 2 : 3 3   6      we circle this part right here, the blue is higher than

0 9 : 0 2 : 3 6   7      the green.    So you can't even make much out of this in

0 9 : 0 2 : 3 8   8      terms of claiming that green is necessarily higher than

0 9 : 0 2 : 4 1   9      the blue.

0 9 : 0 2 : 4 1   10                  But, you know, all of that is nonsense.         I

0 9 : 0 2 : 4 3   11     don't have to talk about any of this.         It would be a

0 9 : 0 2 : 4 5   12     complete waste of time, because look at the Y axis of

0 9 : 0 2 : 4 8   13     this.   It is lateral energy flux, plotting lateral energy

0 9 : 0 2 : 5 2   14     flux versus frequency.      Remember what the patent requires

0 9 : 0 2 : 5 5   15     is that the bandwidth increase.        This is not bandwidth.

0 9 : 0 2 : 5 9   16     They're not measuring bandwidth.        They needed to measure

0 9 : 0 3 : 0 4   17     bandwidth.    And so what do I mean by "bandwidth."         I have

0 9 : 0 3 : 0 8   18     a demonstrative that can help explain.

0 9 : 0 3 : 1 0   19                  So this is a plot that I think you've seen

0 9 : 0 3 : 1 3   20     several times over this trial.        And so what this plot is,

0 9 : 0 3 : 1 5   21     is sort of the energy through the device as a function of

0 9 : 0 3 : 1 9   22     frequency.

0 9 : 0 3 : 2 1   23                  And so if this is the filter -- so each device

0 9 : 0 3 : 2 4   24     is here.    And I think you've seen latter networks of the

0 9 : 0 3 : 2 8   25     filter.    If you put an input into the filter right here,
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0 9 : 0 3 : 3 0   1      so you're putting input energy, input power, it has to go

0 9 : 0 3 : 3 5   2      through this and reach the output.        What you want in a

0 9 : 0 3 : 3 8   3      phone is for all the power that went into the input to get

0 9 : 0 3 : 4 3   4      to the output.

0 9 : 0 3 : 4 4   5                   And so what happens, though, is that because of

0 9 : 0 3 : 4 7   6      what's called "loss" in the filter, so you lose some

0 9 : 0 3 : 5 0   7      energy because it leaks out in different places, not all

0 9 : 0 3 : 5 3   8      this energy actually gets to the output.          And so when

0 9 : 0 3 : 5 6   9      you're plotting this, which is sort of the energy or --

0 9 : 0 3 : 5 8   10     transmitted to the output, this is the filter spectrum you

0 9 : 0 4 : 0 3   11     get.

0 9 : 0 4 : 0 3   12                  This is a bit busy because it's showing how the

0 9 : 0 4 : 0 6   13     filter is made of the different resonators.          The focus on

0 9 : 0 4 : 0 8   14     this part here, that's the filter spectrum you get.           This

0 9 : 0 4 : 1 1   15     is what's passing frequencies.        This is what's knocking

0 9 : 0 4 : 1 3   16     out the frequencies you don't want in your cell phone.

0 9 : 0 4 : 1 7   17                  And if this line that I'm drawing across here

0 9 : 0 4 : 2 1   18     is perfectly transmitted through, say, just a wire from

0 9 : 0 4 : 2 4   19     here to here, if you get perfect transmission here, the

0 9 : 0 4 : 2 9   20     filter, because it loses some of it, goes below that line.

0 9 : 0 4 : 3 1   21     So this part here, I'm trying to go up and down there,

0 9 : 0 4 : 3 3   22     that's the loss that you see in this plot.          We're not

0 9 : 0 4 : 3 8   23     looking for loss for this patent.        We're looking for

0 9 : 0 4 : 4 0   24     bandwidth.    You can see right here, this is the filter

0 9 : 0 4 : 4 4   25     bandwidth.    The excursion of frequencies over which you're
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0 9 : 0 4 : 4 7   1      passing signals through this.

0 9 : 0 4 : 4 9   2                    And this is what you need to measure, not that

0 9 : 0 4 : 5 2   3      loss, but this.     Certainly not that chart that we looked

0 9 : 0 4 : 5 6   4      at, which is some kind of leakage or so.          It's more

0 9 : 0 4 : 5 9   5      related to loss.      You need to measure this bandwidth.

0 9 : 0 5 : 0 2   6      This bandwidth is not that difficult to measure.           You have

0 9 : 0 5 : 0 4   7      to see --

0 9 : 0 5 : 0 5   8      BY MR. LEMIEUX:

0 9 : 0 5 : 0 6   9      Q.    I mean -- so, Professor Nguyen, what could you use?

0 9 : 0 5 : 0 7   10     If they didn't measure bandwidth, how should they have

0 9 : 0 5 : 1 1   11     measured bandwidth?

0 9 : 0 5 : 1 3   12     A.    Yeah.    So they should have measured bandwidth by just

0 9 : 0 5 : 1 5   13     taking the device, putting it in the lab with the network

0 9 : 0 5 : 1 8   14     analyzer.     You may need to have some nice matching circuit

0 9 : 0 5 : 2 2   15     and that sort of thing.       But my students, for example, can

0 9 : 0 5 : 2 3   16     do all of this.     These companies we're talking about can

0 9 : 0 5 : 2 7   17     certainly do this.      This is their bread and butter.

0 9 : 0 5 : 2 9   18           You've seen data sheets already with exactly this

0 9 : 0 5 : 3 2   19     curve from both of these companies.        And you'll see them

0 9 : 0 5 : 3 5   20     from the all the companies in this space.          This is not a

0 9 : 0 5 : 3 7   21     difficult thing to measure.       It should have been measured.

0 9 : 0 5 : 4 0   22     Q.    So it's possible to actually measure bandwidth

0 9 : 0 5 : 4 3   23     whether it's increased or decreased?

0 9 : 0 5 : 4 5   24     A.    Oh, yeah.

0 9 : 0 5 : 4 5   25     Q.    And in this case, Dr. Shanfield stated that he did
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0 9 : 0 5 : 5 0   1      not do any actual testing or measurements, and I believe

0 9 : 0 5 : 5 3   2      Dr. Bravman agreed with that.

0 9 : 0 5 : 5 5   3            Instead, what did they do?

0 9 : 0 5 : 5 7   4      A.    They, instead, did simulations like the one that you

0 9 : 0 6 : 0 1   5      showed there.     And that simulation doesn't even have much

0 9 : 0 6 : 0 3   6      to do with bandwidth.      It has more to do with loss, which

0 9 : 0 6 : 0 7   7      are different quantities of this plot here.          And it's even

0 9 : 0 6 : 0 9   8      difficult to determine how much loss you've got out of the

0 9 : 0 6 : 1 3   9      leakage of it.     You certainly cannot determine the

0 9 : 0 6 : 1 4   10     bandwidth off of that.

0 9 : 0 6 : 1 9   11     Q.    So instead of the proxy simulations that

0 9 : 0 6 : 2 4   12     Dr. Shanfield performed, he should have been able to

0 9 : 0 6 : 2 7   13     physically measure the bandwidth.

0 9 : 0 6 : 3 1   14           Could we go back to -- well, first, let me ask you,

0 9 : 0 6 : 3 5   15     Professor Nguyen:      Are you aware of any measurements that

0 9 : 0 6 : 3 8   16     were done by the plaintiff in this case related to the

0 9 : 0 6 : 4 1   17     bandwidth that were performed on the actual accused

0 9 : 0 6 : 4 5   18     devices?

0 9 : 0 6 : 4 5   19     A.    If they measured it, we were not supplied with the

0 9 : 0 6 : 5 0   20     measurements.

0 9 : 0 6 : 5 0   21     Q.    Now, are you aware of whether Qorvo or its experts

0 9 : 0 6 : 5 4   22     had samples of the accused devices on which they could

0 9 : 0 6 : 5 7   23     have performed actual physical bandwidth testing?

0 9 : 0 7 : 0 0   24     A.    Yes.   They obviously had samples of the accused

0 9 : 0 7 : 0 2   25     devices because Dr. Heinrich was able to split them apart
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0 9 : 0 7 : 0 5   1      and get cross-sections of it.

0 9 : 0 7 : 0 6   2            It's also my understanding that the defendants sent

0 9 : 0 7 : 1 1   3      additional samples based on what was called a "rosebud

0 9 : 0 7 : 1 5   4      process," that included different variations of electrode

0 9 : 0 7 : 1 9   5      thickness.    Not just the thinner top electrode and bottom

0 9 : 0 7 : 2 3   6      electrode --

0 9 : 0 7 : 2 4   7                   MR. MASTERS:     Objection, Your Honor.     May I

0 9 : 0 7 : 2 5   8      have a sidebar?

0 9 : 0 7 : 2 8   9                   THE COURT:    You may.

0 9 : 0 7 : 2 8   10                                    -   -   -

0 9 : 0 7 : 2 8   11           (Whereupon, the following discussion is held at

0 9 : 0 7 : 2 8   12     sidebar:

0 9 : 0 8 : 0 0   13                  THE COURT:    Yes, sir.

0 9 : 0 8 : 1 4   14                  MR. MASTERS:     Your Honor's order on the summary

0 9 : 0 8 : 1 6   15     judgment motion dealt specifically with the rosebud and

0 9 : 0 8 : 2 1   16     alternative designs.      And --

0 9 : 0 8 : 2 1   17                  THE COURT:    That's rosebud.

0 9 : 0 8 : 2 6   18                  MR. MASTERS:     And Your Honor's ruling was that

0 9 : 0 8 : 2 8   19     that is not to be in the case.         It was ruled out.    So this

0 9 : 0 8 : 3 1   20     witness should not be testifying about rosebud or

0 9 : 0 8 : 3 4   21     alternative designs.

0 9 : 0 8 : 3 7   22                  THE COURT:    Yes, sir.

0 9 : 0 8 : 3 7   23                  MR. LEMIEUX:     Summary judgment motion was

0 9 : 0 8 : 3 9   24     asking for a finding based on the fact that they had and

0 9 : 0 8 : 4 1   25     they failed to test them.       This is part of the discovery
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0 9 : 0 8 : 4 4   1      in this case, Your Honor.       He's simply testifying to the

0 9 : 0 8 : 4 7   2      fact that they had these available.        They chose not to

0 9 : 0 8 : 5 0   3      test them.    That's part of their choice, just like they

0 9 : 0 8 : 5 2   4      chose to run the simulation test that they did.

0 9 : 0 8 : 5 5   5                   I'm not, otherwise, getting into the rosebud.

0 9 : 0 8 : 5 6   6      I'm not asking the Court to make any findings regarding

0 9 : 0 8 : 5 9   7      those devices.     He's just simply mentioned that they were

0 9 : 0 9 : 0 3   8      there as part of what was given and provided to them for

0 9 : 0 9 : 0 5   9      testing purposes.

0 9 : 0 9 : 0 6   10                  THE COURT:    They did say that they didn't test.

0 9 : 0 9 : 1 0   11                  MR. LEMIEUX:     That's right.

0 9 : 0 9 : 1 1   12                  MR. MASTERS:     But, Your Honor, that's

0 9 : 0 9 : 1 2   13     irrelevant to the issues in this case.            The issues deal

0 9 : 0 9 : 1 4   14     with the accused products, the 19 products --

0 9 : 0 9 : 1 6   15                  THE COURT:    Right.

0 9 : 0 9 : 1 6   16                  MR. MASTERS:     -- and that was your order.        Not

0 9 : 0 9 : 1 8   17     any alternative design.       So why are we talking about

0 9 : 0 9 : 2 1   18     alternative design other than to confuse the jury?

0 9 : 0 9 : 2 5   19                  THE COURT:    There's no discussion about

0 9 : 0 9 : 2 6   20     alternative design.      Are we going there?

0 9 : 0 9 : 3 0   21                  MR. LEMIEUX:     No.

0 9 : 0 9 : 3 0   22                  MR. MASTERS:     But the -- I don't know where --

0 9 : 0 9 : 3 1   23     why rosebud is even being discussed.

0 9 : 0 9 : 3 4   24                  THE COURT:    Well, I'm not sure he used it.         I

0 9 : 0 9 : 3 5   25     think it was just on one question which was, "Was there
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0 9 : 0 9 : 3 9   1      separate testing of additional sampling?"          I think that's

0 9 : 0 9 : 4 2   2      all he's asking.

0 9 : 0 9 : 4 3   3                   MR. MASTERS:     But why -- I don't understand the

0 9 : 0 9 : 4 5   4      relevance of that.

0 9 : 0 9 : 4 8   5                   THE COURT:    Okay.   We're done.

0 9 : 0 9 : 4 8   6                   MR. LEMIEUX:     Actually --

0 9 : 0 9 : 4 8   7                   THE COURT:    If that's all we're asking, then --

0 9 : 0 9 : 5 3   8      it may be 403.

0 9 : 0 9 : 5 5   9                   MR. LEMIEUX:     My question is simply --

0 9 : 0 9 : 5 5   10     actually, I wasn't anticipating he was going to mention

0 9 : 0 9 : 5 9   11     rosebud.

0 9 : 0 9 : 5 9   12                  THE COURT:    Sure.

0 9 : 0 9 : 5 9   13                  MR. LEMIEUX:     I was just simply asking him what

0 9 : 1 0 : 0 1   14     test they could have done on the devices they're talking

0 9 : 1 0 : 0 3   15     about.    I don't intend to go into rosebud at all.

0 9 : 1 0 : 0 7   16                  MR. MASTERS:     Well, maybe you can ask him as to

0 9 : 1 0 : 0 8   17     the 19 accused products, if that -- if he knows what that

0 9 : 1 0 : 1 1   18     means.

0 9 : 1 0 : 1 2   19                  THE COURT:    It certainly can't be anything

0 9 : 1 0 : 1 3   20     about alternative design if that's not part of the case.

0 9 : 1 0 : 1 8   21     I think the question posed is whether or not there was

0 9 : 1 0 : 2 2   22     initial testing on the accused devices.

0 9 : 1 0 : 2 4   23                  MR. MASTERS:     If it's on the accused devices,

0 9 : 1 0 : 2 6   24     that's fair game.

0 9 : 1 0 : 2 8   25                  THE COURT:    He's entitled to ask, entitled to
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0 9 : 1 0 : 2 9   1      ask that.

0 9 : 1 0 : 3 0   2                   MR. LEMIEUX:     Sure.

0 9 : 1 0 : 3 0   3                   THE COURT:    I think that's what we're limited

0 9 : 1 0 : 3 1   4      to.

0 9 : 1 0 : 3 1   5                   MR. LEMIEUX:     Okay.    No problem.

0 9 : 1 0 : 3 1   6                   MR. MASTERS:     Just no testing as to the

0 9 : 1 0 : 3 4   7      rosebuds.

0 9 : 1 0 : 3 7   8            (Whereupon, the discussion at sidebar concludes.)

0 9 : 1 0 : 3 7   9                                     -   -   -

0 9 : 1 1 : 1 0   10                  THE COURT:    We'll strike the question.       Strike

0 9 : 1 1 : 1 2   11     the response and start over as we discussed at sidebar.

0 9 : 1 1 : 1 6   12     BY MR. LEMIEUX:

0 9 : 1 1 : 1 7   13     Q.    So, Professor Nguyen, with regard to the 19 devices

0 9 : 1 1 : 2 0   14     that Dr. Heinrich examined and were the subject of this

0 9 : 1 1 : 2 4   15     case, is it your testimony, then, that they did not

0 9 : 1 1 : 2 9   16     actually test for bandwidth, which is one of the

0 9 : 1 1 : 3 1   17     requirements of the '018 patent?

0 9 : 1 1 : 3 4   18     A.    Yes.   Not to my knowledge.

0 9 : 1 1 : 3 6   19     Q.    And could they have tested for it had they chose to?

0 9 : 1 1 : 3 9   20     A.    Yes.

0 9 : 1 1 : 4 0   21     Q.    Is the equipment available in labs and university

0 9 : 1 1 : 4 4   22     labs or in commercial labs to do that type of testing?

0 9 : 1 1 : 4 8   23     A.    Yes.   There are many network analyzers at UC Berkley.

0 9 : 1 1 : 5 2   24     I'm sure there are a lot of MIT and Draper as well.

0 9 : 1 1 : 5 5   25     Q.    And in terms of the testing that they did do, did
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0 9 : 1 1 : 5 8   1      that simulate bandwidth measurements?

0 9 : 1 2 : 0 2   2      A.    No.    It was simulated to some sort of leakage.

0 9 : 1 2 : 0 6   3      Q.    And what about Claim 12, the other claim for the '018

0 9 : 1 2 : 0 9   4      patent, does the accused devices in this case infringe

0 9 : 1 2 : 1 3   5      that claim?

0 9 : 1 2 : 1 5   6      A.    If Claim 12 depends on Claim 1, which it does, they

0 9 : 1 2 : 1 8   7      do not.

0 9 : 1 2 : 1 9   8      Q.    So because they don't infringe Claim 1, in your

0 9 : 1 2 : 2 2   9      opinion, they don't infringe Claim 12 either?

0 9 : 1 2 : 2 4   10     A.    Correct, yes.

0 9 : 1 2 : 3 0   11                  MR. LEMIEUX:     If we could pull up, please,

0 9 : 1 2 : 3 1   12     PTX-716 of the '755 patent.

0 9 : 1 2 : 3 7   13     BY MR. LEMIEUX:

0 9 : 1 2 : 3 7   14     Q.    Professor Nguyen, do you recognize this document?

0 9 : 1 2 : 3 8   15     A.    Yes.    This is the patent that we're referring to as

0 9 : 1 2 : 4 1   16     the '755.

0 9 : 1 2 : 4 2   17     Q.    And this is the other asserted patent in the case?

0 9 : 1 2 : 4 5   18     A.    Yes.

0 9 : 1 2 : 4 6   19     Q.    Could you briefly describe the subject matter of the

0 9 : 1 2 : 4 7   20     '755 patent?

0 9 : 1 2 : 4 9   21     A.    So the '755 patent is -- in this case, I guess,

0 9 : 1 2 : 5 4   22     showing an SMR resonator -- but saying that if you

0 9 : 1 2 : 5 7   23     construct the outer region of this device -- this is a

0 9 : 1 3 : 0 2   24     small thing -- because an outer region for this device,

0 9 : 1 3 : 0 3   25     which I think we'll show in a second here -- if you
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0 9 : 1 3 : 0 6   1      construct the layers of the outer region relative to the

0 9 : 1 3 : 1 1   2      layers above the actual electrode -- I guess this is a

0 9 : 1 3 : 1 4   3      bigger picture.     I can do it right here.

0 9 : 1 3 : 1 6   4            So looking at this, it's basically saying that if you

0 9 : 1 3 : 1 9   5      design this outer region here, the height of the layers of

0 9 : 1 3 : 2 2   6      this outer region to be a certain ratio over the

0 9 : 1 3 : 2 6   7      passivation layer, right here, over the top electrode,

0 9 : 1 3 : 2 8   8      then provided you get the right ratio, you can get a match

0 9 : 1 3 : 3 3   9      that will prevent wavelengths that you don't want to be

0 9 : 1 3 : 3 8   10     excited within the piezoelectric layer, which we assume,

0 9 : 1 3 : 4 0   11     then, might escape to the outer region and cause a loss or

0 9 : 1 3 : 4 4   12     leakage.

0 9 : 1 3 : 4 5   13           It's trying to prevent loss or leakage.

0 9 : 1 3 : 4 7   14     Q.    And so why is preventing that loss important?

0 9 : 1 3 : 5 0   15     A.    Preventing that loss is important because remember

0 9 : 1 3 : 5 3   16     the figure that I showed before with the input and output,

0 9 : 1 3 : 5 6   17     well, not all that input makes it to the output because

0 9 : 1 4 : 0 0   18     it's lost in these resonators.        And so that loss that

0 9 : 1 4 : 0 2   19     we're talking about here is part of how that energy

0 9 : 1 4 : 0 5   20     escapes and doesn't make it to the output.          We want all

0 9 : 1 4 : 0 9   21     the energy to make it to the output, if possible.

0 9 : 1 4 : 1 3   22     Q.    How is the resonator that is depicted here -- is this

0 9 : 1 4 : 1 7   23     an SMR resonator?

0 9 : 1 4 : 1 8   24     A.    Yeah.   Yes, it is.     So you can see the different

0 9 : 1 4 : 2 1   25     layers of this.     You can see the distinct between the FBAR
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0 9 : 1 4 : 2 4   1      that you saw before.      This is quite different here in that

0 9 : 1 4 : 2 7   2      it's got these stacks of layers of silicon dioxide and

0 9 : 1 4 : 3 2   3      tungsten.    Each of these is sized appropriately in order

0 9 : 1 4 : 3 4   4      to make this look like a reflecter to any energy heading

0 9 : 1 4 : 3 9   5      in this direction.

0 9 : 1 4 : 3 9   6            So say this piezoelectric layer is actually

0 9 : 1 4 : 4 3   7      vibrating, it's acoustically moving, like I'm showing with

0 9 : 1 4 : 4 7   8      my hands here.     So it's doing this.     It's sort of like

0 9 : 1 4 : 4 9   9      breathing, I suppose, is how you can describe it.           It's

0 9 : 1 4 : 5 1   10     expanding and contracting around its thickness here, and

0 9 : 1 4 : 5 6   11     that's sending waves down in this direction.

0 9 : 1 4 : 5 8   12           And so in the FBAR, there was an air interface here.

0 9 : 1 5 : 0 0   13     Those are the waves -- those waves have nowhere to go but

0 9 : 1 5 : 0 4   14     to reflect back.      In this case, there's actually a solid.

0 9 : 1 5 : 0 7   15     And if not designed correctly, those waves can go straight

0 9 : 1 5 : 0 9   16     through and escape into the substrate, which means you've

0 9 : 1 5 : 1 3   17     lost that energy.      What this stack of materials does here,

0 9 : 1 5 : 1 5   18     when designed to just the right thickness -- so it's very

0 9 : 1 5 : 1 8   19     difficult to do because you have to get that thickness

0 9 : 1 5 : 2 0   20     very correct.

0 9 : 1 5 : 2 2   21           You have to get what's called a quarter wavelength

0 9 : 1 5 : 2 4   22     for each of these materials.       That's the same thing.      It's

0 9 : 1 5 : 2 7   23     got to be a certain thickness.        If they're the right

0 9 : 1 5 : 3 0   24     thickness, they will reflect the waves back in.           If

0 9 : 1 5 : 3 3   25     they're slightly not the right thickness, you may lose
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0 9 : 1 5 : 3 6   1      more energy here.

0 9 : 1 5 : 3 7   2            So this is why the FBAR, actually, usually can get a

0 9 : 1 5 : 4 0   3      better loss performance than the SMR.          But like we saw

0 9 : 1 5 : 4 4   4      before, the SMR has other advantages, especially the power

0 9 : 1 5 : 4 7   5      handling, the heat dissipation, et cetera.

0 9 : 1 5 : 5 0   6      Q.    So even though, Professor Nguyen, this particular

0 9 : 1 5 : 5 2   7      figure in the '755 patent is showing an SMR resonator, the

0 9 : 1 5 : 5 7   8      patent applies to both FBARs and SMRs; isn't that right?

0 9 : 1 6 : 0 1   9      A.    Yes.   The patent claims to be for both SMR and FBAR.

0 9 : 1 6 : 0 5   10     Q.    So Claims 9 and 10 have been accused of infringe --

0 9 : 1 6 : 1 0   11     of, basically, the defendants' accused devices have been

0 9 : 1 6 : 1 5   12     accused of infringing.

0 9 : 1 6 : 1 6   13           Do you have an opinion on whether Claims 9 and 10 of

0 9 : 1 6 : 1 9   14     '755 patent are infringed by any of the accused Akoustis

0 9 : 1 6 : 2 2   15     devices?

0 9 : 1 6 : 2 2   16     A.    My opinion is no, they are not.

0 9 : 1 6 : 2 5   17     Q.    And why -- what's the basis for your opinion?

0 9 : 1 6 : 2 9   18     A.    Well, first of all, Claims 9 and 10 are similar.           You

0 9 : 1 6 : 3 2   19     can see Claim 9 here.       Claim 10 is more about a method of

0 9 : 1 6 : 3 6   20     constructing this device.        So most of these things just

0 9 : 1 6 : 3 8   21     have something like providing for in front of them.

0 9 : 1 6 : 4 2   22           But if you look at this, the reason why Claims 9 and

0 9 : 1 6 : 4 6   23     10 are not infringed by these devices is, again, because

0 9 : 1 6 : 5 0   24     the data that we were sent to prove infringement was not

0 9 : 1 6 : 5 5   25     sufficient.       It was very uncertain, very unreliable.
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0 9 : 1 6 : 5 8   1      Q.    And in so if you were looking at the various elements

0 9 : 1 7 : 0 2   2      as Professor Bravman went through them, which of these

0 9 : 1 7 : 0 6   3      elements are satisfied by the Akoustis devices and which

0 9 : 1 7 : 0 9   4      elements are not?

0 9 : 1 7 : 0 9   5      A.    Yeah.   So I think in the interest of time, why don't

0 9 : 1 7 : 1 2   6      we just put all these checkmarks down this thing.             And all

0 9 : 1 7 : 1 7   7      these things up above on this patent, all the way down to

0 9 : 1 7 : 2 1   8      this last one are satisfied by the devices.

0 9 : 1 7 : 2 5   9            So the device is a BAW resonator.           It does have a

0 9 : 1 7 : 3 0   10     piezoelectric layer.      It does have a second electrode -- a

0 9 : 1 7 : 3 2   11     first electrode on a first surface.        It does have a second

0 9 : 1 7 : 3 4   12     electrode.    Sandwiched by electrodes.       It does have a

0 9 : 1 7 : 3 8   13     passivation layer on the surface of a second electrode

0 9 : 1 7 : 4 2   14     above the -- of active region.

0 9 : 1 7 : 4 5   15           It does have one or more material layers on the

0 9 : 1 7 : 4 8   16     surface of the area adjacent to the active region.             And it

0 9 : 1 7 : 5 2   17     does have a situation where the layers adjacent to the

0 9 : 1 7 : 5 6   18     active region and in the active region are different, such

0 9 : 1 8 : 0 1   19     that you have a value ratio between them.            A ratio of the

0 9 : 1 8 : 0 5   20     thickness of the outer region layer and the thickness over

0 9 : 1 8 : 0 7   21     the active region is not equal to one.            It does satisfy

0 9 : 1 8 : 1 1   22     all of those elements of this patent.

0 9 : 1 8 : 1 4   23           What it does not satisfy, though, I think we'll put

0 9 : 1 8 : 1 7   24     an X in that last one, is this last thing.            It does not

0 9 : 1 8 : 2 1   25     satisfy the requirement that N is such that the region of
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0 9 : 1 8 : 2 8   1      the BAW resonator in the active region are acoustically

0 9 : 1 8 : 3 2   2      matched, such that one or more wavelengths that cause

0 9 : 1 8 : 3 6   3      energy leakage into the outer region are not excited in

0 9 : 1 8 : 3 9   4      the active region.      It does not have this match.       It

0 9 : 1 8 : 4 4   5      hasn't been proven to have this match, based on the data

0 9 : 1 8 : 4 7   6      that was sent to us.

0 9 : 1 8 : 5 0   7      Q.    So why do you believe, Professor Nguyen, that the

0 9 : 1 8 : 5 1   8      information that was provided by Dr. Shanfield and then

0 9 : 1 8 : 5 5   9      also discussed by Dr. Bravman, why do you believe that

0 9 : 1 8 : 5 7   10     they don't satisfy Element 9H?

0 9 : 1 9 : 0 2   11     A.    I believe we have a demonstrative to help with this.

0 9 : 1 9 : 0 5   12                  MR. LEMIEUX:     Can we have 2.08, please.

0 9 : 1 9 : 1 3   13                  THE WITNESS:     Okay.   So here are the

0 9 : 1 9 : 1 4   14     simulations that we were sent.        So far, in the few

0 9 : 1 9 : 1 9   15     weeks -- in the week that we've been here, this is what

0 9 : 1 9 : 2 0   16     you've seen as the data for this.        But, in reality, what

0 9 : 1 9 : 2 4   17     happened was for the initial data that was sent, this is

0 9 : 1 9 : 2 9   18     what was sent for this.

0 9 : 1 9 : 3 1   19                  So what are we looking at right here?         So let

0 9 : 1 9 : 3 3   20     me just analyze all of this.       Again, we're looking at this

0 9 : 1 9 : 3 6   21     lateral energy flux, the same thing that was simulated for

0 9 : 1 9 : 3 9   22     the '018 patent inappropriately.

0 9 : 1 9 : 4 3   23                  But this lateral energy flux, it does have to

0 9 : 1 9 : 4 5   24     do with loss.     So I can't say it's completely

0 9 : 1 9 : 4 8   25     inappropriate.     But let's take a look at what we're
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0 9 : 1 9 : 5 1   1      looking at here.      So this is lateral energy flux versus

0 9 : 1 9 : 5 4   2      frequency.

0 9 : 1 9 : 5 5   3                   These lines, vertical lines indicate the

0 9 : 1 9 : 5 8   4      passband for the resonator itself.        And the blue curve

0 9 : 2 0 : 0 2   5      corresponds to the offending device, the accused device,

0 9 : 2 0 : 0 6   6      which means the device for which N is not equal to 1.           The

0 9 : 2 0 : 1 0   7      green curve corresponds, I guess, a reference device where

0 9 : 2 0 : 1 4   8      N is equal to 1.      So this device in green would not

0 9 : 2 0 : 2 0   9      infringe the patent.

0 9 : 2 0 : 2 2   10                  On the first set of data that was sent, notice

0 9 : 2 0 : 2 5   11     how the blue curve is much larger than the green curve?

0 9 : 2 0 : 2 8   12     What this means is the blue curve, the device that

0 9 : 2 0 : 3 1   13     actually satisfies and infringes the patent -- well, not

0 9 : 2 0 : 3 5   14     infringes the patent, but satisfies the element where N is

0 9 : 2 0 : 3 8   15     not equal to 1, actually is losing more energy than the

0 9 : 2 0 : 4 2   16     green one.

0 9 : 2 0 : 4 3   17                  So in this actual curve, this is saying that

0 9 : 2 0 : 4 7   18     this device does not infringe the patent.          It's outright

0 9 : 2 0 : 5 0   19     saying that.      And I put that in my initial report.

0 9 : 2 0 : 5 2   20     Interestingly enough, a month later -- I'm not sure how

0 9 : 2 0 : 5 7   21     many weeks later after this, this data came in.           And you

0 9 : 2 1 : 0 2   22     heard that it was blamed on a clerical error of some sort.

0 9 : 2 1 : 0 7   23     Right?

0 9 : 2 1 : 0 8   24                  And so in this data now, if you look at some

0 9 : 2 1 : 0 9   25     parts of this, oh, there's a part where the green is
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0 9 : 2 1 : 1 2   1      greater than the blue.      This is the part that the Qorvo

0 9 : 2 1 : 1 6   2      experts pointed out as, you know, the reference device

0 9 : 2 1 : 2 1   3      being worse than the accused device because it has more

0 9 : 2 1 : 2 5   4      energy.    But, you know, you have to look at all of this

0 9 : 2 1 : 2 7   5      range.    You can't just look at this portion.        You've got

0 9 : 2 1 : 2 9   6      to look at this portion, you've got to look at that

0 9 : 2 1 : 3 2   7      portion.

0 9 : 2 1 : 3 3   8                   So if we can move the animation forward.

0 9 : 2 1 : 3 5   9                   What you really have to do is look at the

0 9 : 2 1 : 3 7   10     shaded regions here.      Which has more of the shaded

0 9 : 2 1 : 4 0   11     regions?    So on this one, obviously there's more of this

0 9 : 2 1 : 4 2   12     shaded region where the blue is higher than the green.

0 9 : 2 1 : 4 6   13     Obvious, here, this device does not infringe, according to

0 9 : 2 1 : 4 9   14     this simulation.

0 9 : 2 1 : 5 0   15                  If you go back to this here, I don't know.         Is

0 9 : 2 1 : 5 3   16     the blue more than the green?       Is the green more than the

0 9 : 2 1 : 5 6   17     blue?    I'm not sure I can tell.      And, you know, even if

0 9 : 2 1 : 5 8   18     you wanted to count all the boxes, you know, sum up the

0 9 : 2 2 : 0 3   19     boxes, say which one has more boxes than the other -- so

0 9 : 2 2 : 0 5   20     the little boxes, I'm talking about the grid there.

0 9 : 2 2 : 0 8   21                  You still couldn't conclude that here because

0 9 : 2 2 : 1 0   22     let's look at the rest of this plot.         There are no units

0 9 : 2 2 : 1 4   23     here.    That is a huge issue.     So think of yourself, say,

0 9 : 2 2 : 2 0   24     wanting to bake a cake or something and you're asking your

0 9 : 2 2 : 2 3   25     friend, how much sugar do I need.        And your friend says,
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0 9 : 2 2 : 2 7   1      well, you need two.

0 9 : 2 2 : 2 8   2                   The first thing that's going to come to your

0 9 : 2 2 : 3 0   3      mind is two what?      Two tablespoons?    Two teaspoons?     Two

0 9 : 2 2 : 3 4   4      cups?    How much sugar do I need?      And without that, you're

0 9 : 2 2 : 3 8   5      not really going to be able to bake the cake.          I guess you

0 9 : 2 2 : 4 1   6      could go forward.      It may not taste fantastic.

0 9 : 2 2 : 4 5   7                   And so it's no different than science and

0 9 : 2 2 : 4 7   8      engineering.      You can't just put up a plot with no units

0 9 : 2 2 : 5 0   9      and say, all right, there it is.        We need units to know

0 9 : 2 2 : 5 3   10     exactly what we're looking at.        And, in fact, if you look

0 9 : 2 2 : 5 6   11     at units that you think it ought to be -- so the units it

0 9 : 2 2 : 5 9   12     ought to be for lateral energy flux is watts per square

0 9 : 2 3 : 0 2   13     meter.    That is the international standard unit that you

0 9 : 2 3 : 0 5   14     would use.

0 9 : 2 3 : 0 6   15                  And if I plug in watts per square meter here,

0 9 : 2 3 : 0 9   16     and I actually calculate out the watts, which is what I

0 9 : 2 3 : 1 1   17     really need to compare the power through this device, the

0 9 : 2 3 : 1 4   18     amount of watts this corresponds to because the device is

0 9 : 2 3 : 1 8   19     so small, is on the order of 10 to the minus 19.           What

0 9 : 2 3 : 2 3   20     does 10 to the minus 19 mean?

0 9 : 2 3 : 2 5   21                  You've already seen this 10 to the minus 10.

0 9 : 2 3 : 2 6   22     That's a very small number.       What that means when you say

0 9 : 2 3 : 2 8   23     10 to the minus 10 is you're going to put nine zeros in

0 9 : 2 3 : 3 3   24     front of the number.      Say if I'm looking at this peak

0 9 : 2 3 : 3 5   25     here, that looks like 3.       I'm going to put a decimal point
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0 9 : 2 3 : 3 8   1      and nine zeros in front of that.

0 9 : 2 3 : 4 1   2                   So in the power that I calculated, 10 to the

0 9 : 2 3 : 4 3   3      minus 19, that would be three times 10 to the minus 19.

0 9 : 2 3 : 4 6   4      Let me go ahead and count that out to you.             That's

0 9 : 2 3 : 5 0   5      0.000000000000000000.       That's a lot of zeros.        This is a

0 9 : 2 4 : 0 3   6      tiny signal that we're looking at.

0 9 : 2 4 : 0 6   7                   And so this is being done by finite element

0 9 : 2 4 : 1 0   8      simulation.       Finite element simulation, I think you've

0 9 : 2 4 : 1 2   9      heard from the Qorvo experts, is not an easy thing to do.

0 9 : 2 4 : 1 5   10     This is something where you can try the simulation first,

0 9 : 2 4 : 1 7   11     but you can't just run one simulation.             Remember, you have

0 9 : 2 4 : 2 0   12     to run several of them in order to get it right.              That's

0 9 : 2 4 : 2 4   13     because just small differences in the inputs you put into

0 9 : 2 4 : 2 8   14     this -- in this case, it takes meshing.            A small

0 9 : 2 4 : 3 1   15     difference in the meshing, small difference maybe in --

0 9 : 2 4 : 3 3   16     anything you can put into this will change the result.

0 9 : 2 4 : 3 7   17                  You've got to get it to the point that once you

0 9 : 2 4 : 3 9   18     start making differences, changes, the result doesn't

0 9 : 2 4 : 4 1   19     change much.

0 9 : 2 4 : 4 2   20                  Well, the amount of excursion and signal here

0 9 : 2 4 : 4 6   21     is so small that one needs to suspect whether the

0 9 : 2 4 : 4 9   22     precision of the software is good enough to even delineate

0 9 : 2 4 : 5 3   23     this with this.       And when I look at these two curves,

0 9 : 2 4 : 5 7   24     because this is such a small scale right here, I wonder if

0 9 : 2 5 : 0 1   25     this really is a correct simulation, not really a clerical
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0 9 : 2 5 : 0 5   1      error, but just has some change in the meshing of the

0 9 : 2 5 : 0 7   2      finite element that yields this.

0 9 : 2 5 : 0 9   3                    So same device, same two plots there.          I wonder

0 9 : 2 5 : 1 3   4      about that because the precision of the software, I don't

0 9 : 2 5 : 1 7   5      think, is good enough to predict losses this small.

0 9 : 2 5 : 2 0   6      BY MR. LEMIEUX:

0 9 : 2 5 : 2 2   7      Q.    So, Professor Nguyen, in your opinion, then, is the

0 9 : 2 5 : 2 6   8      testing that was performed by Dr. Shanfield sufficient to

0 9 : 2 5 : 3 0   9      prove the final element of the Claim 9 of the '755 patent?

0 9 : 2 5 : 3 6   10     A.    It is not sufficient.

0 9 : 2 5 : 3 7   11     Q.    And could you briefly summarize why the testing that

0 9 : 2 5 : 4 0   12     was performed by -- or the simulations, excuse me --

0 9 : 2 5 : 4 3   13     performed by Dr. Shanfield insufficient to actually prove

0 9 : 2 5 : 4 9   14     the power loss that it is allegedly measuring?

0 9 : 2 5 : 5 2   15     A.    Okay.    So three different things.         One, no units on

0 9 : 2 5 : 5 5   16     these plots.      Second, just the analysis here of trying to

0 9 : 2 5 : 5 9   17     get all the areas in these shaded regions I don't think

0 9 : 2 6 : 0 4   18     was done correctly.      Finally, the total signal you're

0 9 : 2 6 : 0 7   19     looking at here is so small, I don't think the software

0 9 : 2 6 : 1 0   20     has the precision to predict this accurately.

0 9 : 2 6 : 1 4   21     Q.    Now, Dr. Bravman, when he testified, he admitted that

0 9 : 2 6 : 1 5   22     he didn't know what the units were either on this vertical

0 9 : 2 6 : 1 8   23     index, and yet still offered an opinion of infringement.

0 9 : 2 6 : 2 1   24           Do you believe that Dr. Bravman had the necessary

0 9 : 2 6 : 2 4   25     data to provide such an opinion, in view of the fact he
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0 9 : 2 6 : 2 8   1      did not know what units were being depicted here?

0 9 : 2 6 : 3 1   2      A.    Yeah.    Obviously, in my opinion, no.        I don't see how

0 9 : 2 6 : 3 4   3      anyone could have made that decision based on this data

0 9 : 2 6 : 3 6   4      here.   In fact, I would say, again, this is something that

0 9 : 2 6 : 3 9   5      should have been measured because it is possible to

0 9 : 2 6 : 4 2   6      measure loss through exactly that same plot that we showed

0 9 : 2 6 : 4 5   7      before, except instead of looking at the bandwidth, which

0 9 : 2 6 : 4 8   8      is sideways, you look at how high the flat passband is

0 9 : 2 6 : 5 4   9      versus the zero transmission point.

0 9 : 2 6 : 5 6   10     Q.    Does your analysis comply equally, then, to Claim 10

0 9 : 2 6 : 5 9   11     of the '755 patent?

0 9 : 2 7 : 0 0   12     A.    It does, yes.

0 9 : 2 7 : 0 1   13     Q.    Which is just simply a method for building what is

0 9 : 2 7 : 0 2   14     otherwise described in Claim 9?

0 9 : 2 7 : 0 5   15     A.    Right.      That's something I said; it was a method for

0 9 : 2 7 : 0 8   16     building.

0 9 : 2 7 : 1 0   17                   MR. LEMIEUX:     No further questions, Your Honor.

0 9 : 2 7 : 1 2   18                   THE COURT:    Cross-examination.

0 9 : 2 7 : 1 4   19                               CROSS EXAMINATION

0 9 : 2 7 : 1 4   20     BY MR. MASTERS:

0 9 : 2 7 : 1 6   21     Q.    Good morning, Dr. Nguyen.

0 9 : 2 7 : 3 8   22     A.    Good morning.

0 9 : 2 7 : 3 8   23     Q.    How are you?

0 9 : 2 7 : 3 9   24     A.    I'm doing well.

0 9 : 2 7 : 4 2   25     Q.    I'd like to begin first with the '018 patent.
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0 9 : 2 7 : 4 5   1      A.    Okay.

0 9 : 2 7 : 4 6   2                    MR. MASTERS:     And could we project, please, the

0 9 : 2 7 : 4 8   3      defendants' Demonstrative 2.01.         How about 02?    03, I'm

0 9 : 2 8 : 0 9   4      sorry.

0 9 : 2 8 : 1 0   5      BY MR. MASTERS:

0 9 : 2 8 : 1 6   6      Q.    So you've conceded that the accused devices meet

0 9 : 2 8 : 2 1   7      Element 1A?

0 9 : 2 8 : 2 3   8      A.    Yes.

0 9 : 2 8 : 2 3   9      Q.    And they satisfy Element 1B, correct?

0 9 : 2 8 : 2 7   10     A.    Yes, the accused devices.

0 9 : 2 8 : 2 9   11     Q.    And then on Element 1C, we have a structure component

0 9 : 2 8 : 3 5   12     that talks about the thicknesses -- the relative

0 9 : 2 8 : 3 7   13     thicknesses of the electrodes, correct?

0 9 : 2 8 : 4 0   14     A.    Yes.

0 9 : 2 8 : 4 0   15     Q.    And the increasing the filter bandwidth, correct?

0 9 : 2 8 : 4 4   16     A.    Yes.

0 9 : 2 8 : 4 5   17     Q.    Okay.   So let's focus first on the thickness of the

0 9 : 2 8 : 4 7   18     electrodes.       Your testimony applies to only nine of the 19

0 9 : 2 8 : 5 4   19     electrodes, accused products, correct?

0 9 : 2 8 : 5 8   20     A.    Correct.     In terms of what you can determine from

0 9 : 2 9 : 0 1   21     those -- that data, but, again, I think there's some

0 9 : 2 9 : 0 4   22     uncertainty in the data because of the stress effect that

0 9 : 2 9 : 0 7   23     I talked about.

0 9 : 2 9 : 0 8   24     Q.    We're going to talk about the stress effect, but

0 9 : 2 9 : 1 1   25     there's nine of these accused products that you say have a
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0 9 : 2 9 : 1 6   1      thicker electrode, top electrode compared to the bottom

0 9 : 2 9 : 1 9   2      electrode, correct?

0 9 : 2 9 : 2 0   3      A.    Yes, in some places.

0 9 : 2 9 : 2 2   4      Q.    And then with respect to the other ten accused

0 9 : 2 9 : 2 6   5      products, you don't have that same position.          You'll

0 9 : 2 9 : 3 1   6      concede that they have a thinner top electrode compared to

0 9 : 2 9 : 3 5   7      the bottom electrode, correct?

0 9 : 2 9 : 3 6   8      A.    Yes, from the photographs we were shown.

0 9 : 2 9 : 4 0   9      Q.    Okay.

0 9 : 2 9 : 4 2   10                   MR. MASTERS:    So can we have, let's see,

0 9 : 2 9 : 4 6   11     project PTX-406 that's been marked as Trial Exhibit 274

0 9 : 2 9 : 5 6   12     and we'll go to Page 4.

0 9 : 3 0 : 0 0   13     BY MR. MASTERS:

0 9 : 3 0 : 0 0   14     Q.    Doctor, in your analysis, did you review the stack

0 9 : 3 0 : 0 3   15     information that applies to each of the accused products?

0 9 : 3 0 : 0 7   16     A.    I did, yes.

0 9 : 3 0 : 0 8   17     Q.    And I think we saw this with Dr. Bravman and

0 9 : 3 0 : 1 3   18     Dr. Shanfield.

0 9 : 3 0 : 1 4   19           Were you here for their testimony?

0 9 : 3 0 : 1 6   20     A.    I was, yes.

0 9 : 3 0 : 1 7   21     Q.    Okay.   So you saw this stack information before,

0 9 : 3 0 : 2 0   22     right?

0 9 : 3 0 : 2 0   23     A.    Yes.

0 9 : 3 0 : 2 1   24     Q.    And this sets out the target for how thick the

0 9 : 3 0 : 2 5   25     electrodes should be -- the monitor kind of gets in our
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                                                    Nguyen  - Cross

0 9 : 3 0 : 2 8   1      way.

0 9 : 3 0 : 2 8   2      A.     That's because I'm too short.

0 9 : 3 0 : 3 2   3      Q.     So the stack information provides the targeted

0 9 : 3 0 : 3 6   4      thickness for the electrode, piezoelectric layer, the

0 9 : 3 0 : 4 0   5      bottom electrode, right?

0 9 : 3 0 : 4 2   6      A.     Yes, that's my understanding.

0 9 : 3 0 : 4 3   7      Q.     It also provides the thickness for what they call the

0 9 : 3 0 : 4 8   8      energy confinement frame, correct?

0 9 : 3 0 : 5 0   9      A.     The thickness for the energy confinement frame,

0 9 : 3 0 : 5 5   10     meaning the border ring you're saying?

0 9 : 3 0 : 5 8   11     Q.     Yes.

0 9 : 3 0 : 5 8   12     A.     Okay.

0 9 : 3 0 : 5 9   13     Q.     So the stack information calls out the border ring if

0 9 : 3 1 : 0 5   14     you will, correct?

0 9 : 3 1 : 0 7   15     A.     Yes.

0 9 : 3 1 : 0 9   16     Q.     And that's what's shown here if we could zoom in on

0 9 : 3 1 : 1 5   17     the middle of the page where you have ECF1.          So that is

0 9 : 3 1 : 2 1   18     the energy confinement frame, and that is showing a

0 9 : 3 1 : 2 6   19     desired thickness for that portion also called the border

0 9 : 3 1 : 2 9   20     ring, right?

0 9 : 3 1 : 3 3   21     A.     Yes.

0 9 : 3 1 : 3 5   22                    MR. MASTERS:   Can we project Plaintiff's

0 9 : 3 1 : 3 7   23     Demonstrative 10.8.

0 9 : 3 1 : 3 7   24     BY MR. MASTERS:

0 9 : 3 1 : 4 1   25     Q.     And here, just to give a little more review of this,
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0 9 : 3 1 : 4 5   1      we have here in green, the top electrode that has,

0 9 : 3 1 : 5 0   2      actually, thicknesses for three kinds of resonators,

0 9 : 3 1 : 5 3   3      right?    The electrodes for three different resonators:

0 9 : 3 1 : 5 5   4      The helper resonators, the shunt resonators, and the

0 9 : 3 2 : 0 2   5      series?

0 9 : 3 2 : 0 3   6      A.    Yes.

0 9 : 3 2 : 0 3   7      Q.    And the series, top electrode of the series resonator

0 9 : 3 2 : 0 6   8      shows 830-angstrom, correct, targeted thickness?

0 9 : 3 2 : 1 0   9      A.    Yes, yes.

0 9 : 3 2 : 1 0   10     Q.    And then that is unrelated to the ECF1 that's just

0 9 : 3 2 : 1 6   11     above the green there that shows 3,000 angstroms, right?

0 9 : 3 2 : 2 4   12     A.    Yes, I see it.     It's not circled.        I was looking for

0 9 : 3 2 : 2 7   13     circled things.     I see it, yes.

0 9 : 3 2 : 2 9   14     Q.    And so if we go back to, then, Defendants'

0 9 : 3 2 : 3 8   15     Demonstrative 2.04, this is your slide, right?

0 9 : 3 2 : 4 6   16     A.    Yes.

0 9 : 3 2 : 4 7   17     Q.    So where the thickness is 350.2 nanometers, which is

0 9 : 3 2 : 5 7   18     the thick white portion, right?        That's actually the

0 9 : 3 3 : 0 1   19     border ring, correct, that is called out by that stack

0 9 : 3 3 : 0 8   20     information?

0 9 : 3 3 : 0 8   21     A.    It is both the border ring and the electrode.

0 9 : 3 3 : 1 1   22     Q.    But the stack calls out specifically as ECF and it

0 9 : 3 3 : 1 6   23     specifies the thickness for that, correct?

0 9 : 3 3 : 1 9   24     A.    I would say it doesn't matter.       This is the

0 9 : 3 3 : 2 0   25     conductor.    It is part electrode.      It is actually
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0 9 : 3 3 : 2 3   1      actuating the device under it, which is what the active

0 9 : 3 3 : 2 8   2      region electrode does.

0 9 : 3 3 : 2 9   3      Q.    But that functions as a border ring, correct?

0 9 : 3 3 : 3 3   4      A.    As both a border ring and a driving electrode.

0 9 : 3 3 : 3 6   5      Q.    But the other devices don't -- do not have the border

0 9 : 3 3 : 3 8   6      ring; they have a uniform thickness across, correct?

0 9 : 3 3 : 4 4   7      A.    I think so, yes, from memory, they do.

0 9 : 3 3 : 4 7   8      Q.    And when they increase the thickness on the

0 9 : 3 3 : 5 2   9      perimeter, the border if you will, that serves as the

0 9 : 3 3 : 5 6   10     confining energy, ECF energy confinement frame, correct?

0 9 : 3 4 : 0 2   11     A.    Yes.    So if you'll permit me, I can explain what is

0 9 : 3 4 : 0 5   12     happening with that.

0 9 : 3 4 : 0 7   13     Q.    No.    I'll ask you some questions to follow up

0 9 : 3 4 : 0 9   14     eventually.

0 9 : 3 4 : 1 4   15                  MR. MASTERS:     And if we could then go to

0 9 : 3 4 : 1 9   16     Plaintiff's Demonstrative 10.16.        Can we take that down

0 9 : 3 4 : 4 0   17     for now.

0 9 : 3 4 : 4 0   18     BY MR. MASTERS:

0 9 : 3 4 : 4 0   19     Q.    Actually, on the thickness, you, yourself, did not

0 9 : 3 4 : 4 5   20     conduct any tear-downs of the accused products, did you?

0 9 : 3 4 : 4 9   21     A.    No.

0 9 : 3 4 : 5 0   22     Q.    You didn't have any of your students at Berkley to do

0 9 : 3 4 : 5 3   23     this analysis for you?

0 9 : 3 4 : 5 5   24     A.    No.    It's my understanding it's the plaintiffs --

0 9 : 3 4 : 5 8   25     it's the onus on the plaintiffs to do this.
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0 9 : 3 5 : 0 0   1      Q.    Fair enough.

0 9 : 3 5 : 0 1   2            Did Akoustis give you any information or data about

0 9 : 3 5 : 0 3   3      the thicknesses of the electrodes?

0 9 : 3 5 : 0 6   4      A.    No.

0 9 : 3 5 : 0 7   5      Q.    Did you ask them for that information?

0 9 : 3 5 : 0 9   6      A.    Well, other than what you showed, the stack

0 9 : 3 5 : 1 3   7      thickness.

0 9 : 3 5 : 1 4   8      Q.    So you had received the documents showing the stack

0 9 : 3 5 : 1 7   9      information?

0 9 : 3 5 : 1 8   10     A.    Yes.

0 9 : 3 5 : 1 8   11     Q.    How about data?     Did they give you any data from a

0 9 : 3 5 : 2 1   12     tear-down of a product, of the accused products?

0 9 : 3 5 : 2 5   13     A.    Not that I looked at.

0 9 : 3 5 : 2 6   14     Q.    Did you ask them, ask Akoustis for that kind of

0 9 : 3 5 : 3 0   15     information?

0 9 : 3 5 : 3 0   16     A.    No, no.

0 9 : 3 5 : 3 1   17     Q.    You could have conducted a tear-down, though, if you

0 9 : 3 5 : 3 3   18     wanted to, right?

0 9 : 3 5 : 3 5   19     A.    Yeah, I trusted the data that was sent by your

0 9 : 3 5 : 3 7   20     experts.

0 9 : 3 5 : 3 8   21     Q.    Okay.

0 9 : 3 5 : 4 1   22           And this idea about the rubber band and when you cut

0 9 : 3 5 : 4 5   23     it, if it's going to have effect, it may have a little

0 9 : 3 5 : 5 0   24     effect, but it's going to impact the layers, the top

0 9 : 3 5 : 5 6   25     electrode and the bottom electrode in fairly the same way;
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0 9 : 3 5 : 5 9   1      isn't that correct?

0 9 : 3 6 : 0 0   2      A.    Not necessarily.

0 9 : 3 6 : 0 2   3      Q.    But is it your testimony that it will impact the

0 9 : 3 6 : 0 6   4      differences so much that the top electrode now becomes

0 9 : 3 6 : 1 0   5      much larger than the bottom electrode?

0 9 : 3 6 : 1 2   6      A.    It's possible.     If you look at the thicknesses of the

0 9 : 3 6 : 1 6   7      top electrode and the bottom electrode, and this one we

0 9 : 3 6 : 1 9   8      looked at was 73 and 90, that's a very small number

0 9 : 3 6 : 2 4   9      between the two of them.       And some of the other ones we

0 9 : 3 6 : 2 6   10     looked at, the difference was even smaller.          It was

0 9 : 3 6 : 2 8   11     something like -- I don't see the numbers, but only

0 9 : 3 6 : 3 0   12     2-nanometers, 3-nanometers away.

0 9 : 3 6 : 3 3   13     Q.    It's possible, but that's just your theory.          You have

0 9 : 3 6 : 3 5   14     not tested that with actual data, correct?

0 9 : 3 6 : 3 7   15     A.    Yes.

0 9 : 3 6 : 3 7   16     Q.    And those dimensions of the electrodes correspond

0 9 : 3 6 : 4 2   17     fairly closely to the stack information that Akoustis

0 9 : 3 6 : 4 7   18     provides for those products?

0 9 : 3 6 : 5 0   19     A.    Not necessarily.

0 9 : 3 6 : 5 2   20     Q.    Well, within tolerance of manufacturing.         There are

0 9 : 3 6 : 5 5   21     errors or manufacturing because it's not precise, but they

0 9 : 3 6 : 5 7   22     are the targeted thickness?

0 9 : 3 7 : 0 0   23     A.    Well, would I say that if some of these things were

0 9 : 3 7 : 0 2   24     3-nanometers off, correct?       So I would say they missed

0 9 : 3 7 : 0 5   25     their target, as I recall, by as much as 3-nanometers off.
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0 9 : 3 7 : 0 9   1      And so if this thickness change due to the tension release

0 9 : 3 7 : 1 4   2      does 3-nanometers of difference, that is significant

0 9 : 3 7 : 1 7   3      enough to make changes there.

0 9 : 3 7 : 1 8   4      Q.    So then is that a manufacturing error by Akoustis

0 9 : 3 7 : 2 6   5      when they make the products?

0 9 : 3 7 : 3 2   6      A.    I don't know if it is an error or not.         Probably it

0 9 : 3 7 : 3 4   7      is.   Just an opinion, though.

0 9 : 3 7 : 5 1   8                   MR. MASTERS:     Can we go to Plaintiff's

0 9 : 3 7 : 5 3   9      Demonstrative 10.16, please.

0 9 : 3 7 : 5 5   10     BY MR. MASTERS:

0 9 : 3 7 : 5 5   11     Q.    So, Professor, you've now -- you have criticized the

0 9 : 3 8 : 0 7   12     simulations, if you will, correct?

0 9 : 3 8 : 0 9   13     A.    Yes.

0 9 : 3 8 : 1 2   14     Q.    You didn't conduct any simulations of your own,

0 9 : 3 8 : 1 4   15     right?

0 9 : 3 8 : 1 5   16     A.    No, I did not.

0 9 : 3 8 : 1 6   17     Q.    And you did testify, I believe, in your deposition,

0 9 : 3 8 : 1 9   18     even I think earlier today, that simulations are something

0 9 : 3 8 : 2 2   19     that even your students can do, correct?

0 9 : 3 8 : 2 4   20     A.    Yes.

0 9 : 3 8 : 2 5   21     Q.    And you criticized the simulations because you said

0 9 : 3 8 : 2 8   22     that we should have tested the bandwidth of the Akoustis

0 9 : 3 8 : 3 3   23     product itself, right?

0 9 : 3 8 : 3 4   24     A.    Yes.

0 9 : 3 8 : 3 5   25     Q.    But this is a comparative study, right?         It's of the
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0 9 : 3 8 : 3 9   1      accused product where you have unequal thicknesses for the

0 9 : 3 8 : 4 4   2      electrodes compared to where the thicknesses equal each

0 9 : 3 8 : 4 9   3      other, right?

0 9 : 3 8 : 5 0   4      A.    Yes.

0 9 : 3 8 : 5 1   5      Q.    And there's no such product where the thicknesses are

0 9 : 3 8 : 5 4   6      equal, correct?

0 9 : 3 8 : 5 5   7      A.    There are devices that exist where the thickness is

0 9 : 3 8 : 5 9   8      equal.

0 9 : 3 9 : 0 0   9      Q.    But in terms of the Akoustis design as being a

0 9 : 3 9 : 0 2   10     comparative study to say that all things being equal

0 9 : 3 9 : 0 6   11     except for the thicknesses of the electrodes, it has

0 9 : 3 9 : 0 8   12     improved performance, right?

0 9 : 3 9 : 1 0   13     A.    So Akoustis did deliver, to my knowledge, devices

0 9 : 3 9 : 1 7   14     that had various electrode thicknesses to your experts.

0 9 : 3 9 : 2 2   15     Q.    I guess you maybe misunderstood my question.

0 9 : 3 9 : 2 5   16           So if we talk about, I think, the AKF1256, that

0 9 : 3 9 : 2 9   17     product.     That has the design of a -- the electrodes have

0 9 : 3 9 : 3 4   18     different thicknesses, right?       The comparative study is

0 9 : 3 9 : 3 8   19     that same design of the 1256 product, but the thicknesses

0 9 : 3 9 : 4 3   20     are now equal, correct?

0 9 : 3 9 : 4 6   21     A.    I mean, the -- what I'm saying -- no, actually.

0 9 : 3 9 : 4 9   22     Yeah.    So in that respect, if they have that thick part

0 9 : 3 9 : 5 3   23     they're never equal, right, because you have that thick

0 9 : 3 9 : 5 5   24     part that I consider the electrode that is thicker than

0 9 : 3 9 : 5 8   25     the bottom electrode.
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0 9 : 3 9 : 5 9   1      Q.    You are talking the border ring?

0 9 : 4 0 : 0 3   2      A.    I am talking about the border ring and the electrode,

0 9 : 4 0 : 0 5   3      they are the same thing.       My opinion, you cannot separate

0 9 : 4 0 : 0 8   4      the two.    That is electrodes.

0 9 : 4 0 : 0 9   5      Q.    But Akoustis does separate them because they call out

0 9 : 4 0 : 1 3   6      the energy confinement frame different from the actual

0 9 : 4 0 : 1 7   7      electrode thickness itself?

0 9 : 4 0 : 1 9   8      A.    No, I --

0 9 : 4 0 : 2 0   9      Q.    That's in the stack information, correct?

0 9 : 4 0 : 2 1   10     A.    I disagree with that.      Stack information is just --

0 9 : 4 0 : 2 4   11     stack information is just identifying stack.          It's not

0 9 : 4 0 : 2 7   12     identifying purpose necessarily.        It has little things

0 9 : 4 0 : 3 0   13     that say sort of why that's there, but it's already

0 9 : 4 0 : 3 3   14     understood that that thick portion is made of metal, it's

0 9 : 4 0 : 3 8   15     part of the electrode.      It's right over the piezoelectric,

0 9 : 4 0 : 4 1   16     which means it's driving the piezoelectric at that point.

0 9 : 4 0 : 4 5   17     That means it's part of the electrode; it's part of the

0 9 : 4 0 : 4 7   18     active region.

0 9 : 4 0 : 4 8   19           It serves two purposes at once.        It actually serves

0 9 : 4 0 : 5 2   20     to drive it, and it serves as a border ring, which is a

0 9 : 4 0 : 5 5   21     design technique known for decades now to confine energy

0 9 : 4 0 : 5 9   22     under the active area.

0 9 : 4 1 : 0 2   23     Q.    Okay.   But Akoustis separates out the energy

0 9 : 4 1 : 0 4   24     confinement frame and the electrodes in the stack

0 9 : 4 1 : 0 8   25     information?
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0 9 : 4 1 : 0 9   1      A.    I think they're just --

0 9 : 4 1 : 1 0   2      Q.    Correct?

0 9 : 4 1 : 1 0   3      A.    My opinion is that, if I were to create a document

0 9 : 4 1 : 1 3   4      the like that, I would do the same thing.          Because I want

0 9 : 4 1 : 1 6   5      people looking at it to understand what the different

0 9 : 4 1 : 1 8   6      things are for.     And it would be automatically understood

0 9 : 4 1 : 2 2   7      that that would be an electrode that would contribute to

0 9 : 4 1 : 2 4   8      the current and output of the device, while at the same

0 9 : 4 1 : 2 7   9      time being a border ring.

0 9 : 4 1 : 3 0   10     Q.    Okay.   So on the simulations, you would agree that,

0 9 : 4 1 : 3 4   11     as illustrated here in Plaintiffs Demonstrative 10.16,

0 9 : 4 1 : 4 2   12     there is -- the blue line corresponds to the Akoustis

0 9 : 4 1 : 4 5   13     design, correct?

0 9 : 4 1 : 4 6   14     A.    Yes.

0 9 : 4 1 : 5 0   15     Q.    And the green line corresponds to the equal electrode

0 9 : 4 1 : 5 4   16     thickness, correct?

0 9 : 4 1 : 5 5   17     A.    Yes.

0 9 : 4 1 : 5 5   18     Q.    And this simulation shows that for those two

0 9 : 4 1 : 5 9   19     different products that have been modeled, produces

0 9 : 4 2 : 0 6   20     different results; is that correct?

0 9 : 4 2 : 0 7   21     A.    This simulation claims that, but I would say the

0 9 : 4 2 : 1 3   22     simulation is just burping out data because the precision

0 9 : 4 2 : 2 0   23     it is not good enough to tell you this.

0 9 : 4 2 : 2 2   24     Q.    But it does produce different results; isn't that

0 9 : 4 2 : 2 4   25     correct?
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0 9 : 4 2 : 2 6   1      A.    It seems to produce different results when you mesh

0 9 : 4 2 : 2 9   2      it differently, because there were two pieces of data sent

0 9 : 4 2 : 3 4   3      to us.

0 9 : 4 2 : 3 5   4      Q.    Okay.

0 9 : 4 2 : 3 5   5      A.    It's reasonable to me that it could produce those

0 9 : 4 2 : 3 8   6      different results based on my own finite element analysis

0 9 : 4 2 : 4 2   7      that I've done in the past as well.

0 9 : 4 2 : 4 4   8      Q.    But you didn't do any of that analysis here to show

0 9 : 4 2 : 4 9   9      or disprove these simulations that were done by

0 9 : 4 2 : 5 4   10     Dr. Shanfield and also testified to by Dr. Bravman,

0 9 : 4 2 : 5 7   11     correct?

0 9 : 4 2 : 5 8   12     A.    Correct.    But I believe I have the experience to

0 9 : 4 2 : 5 9   13     know.

0 9 : 4 3 : 0 2   14     Q.    I'm sure you do.

0 9 : 4 3 : 0 3   15           So your experience, though, you disagree with

0 9 : 4 3 : 0 6   16     Dr. Shanfield and Dr. Bravman, correct?

0 9 : 4 3 : 0 8   17     A.    Yes.

0 9 : 4 3 : 2 6   18                   MR. MASTERS:    Can we project Plaintiff's

0 9 : 4 3 : 2 8   19     Demonstrative 2.07, I believe.

0 9 : 4 3 : 3 2   20     BY MR. MASTERS:

0 9 : 4 3 : 3 2   21     Q.    Move to the '755, Doctor.

0 9 : 4 3 : 3 7   22           So for the '755 patent, you've conceded that all

0 9 : 4 3 : 4 4   23     accused products have every structure features of Claim 9,

0 9 : 4 3 : 4 8   24     from 9A through 9G, correct?

0 9 : 4 3 : 5 2   25     A.    Yes.    The accused products.
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0 9 : 4 3 : 5 6   1      Q.    And the same would be for Claim 10, 10A through 10G,

0 9 : 4 4 : 0 1   2      correct?

0 9 : 4 4 : 0 2   3      A.    Yes.

0 9 : 4 4 : 0 2   4      Q.    So we're really just talking about the last element,

0 9 : 4 4 : 0 4   5      9H, where, again, you criticize the simulations conducted

0 9 : 4 4 : 1 0   6      by Dr. Shanfield and Dr. Bravman, correct?

0 9 : 4 4 : 1 3   7      A.    Yes.

0 9 : 4 4 : 1 4   8      Q.    And, again, you did not conduct any simulations here

0 9 : 4 4 : 1 9   9      with respect to the accused products, right?

0 9 : 4 4 : 2 2   10     A.    Correct.

0 9 : 4 4 : 2 2   11     Q.    You could have, right?

0 9 : 4 4 : 2 3   12     A.    Well, it's the onus on the plaintiff.

0 9 : 4 4 : 2 6   13     Q.    It's on -- you're right.

0 9 : 4 4 : 2 9   14     A.    Yes.

0 9 : 4 4 : 2 9   15     Q.    But you could have -- you had the information that

0 9 : 4 4 : 3 1   16     you could have plugged into your model, your simulation

0 9 : 4 4 : 3 4   17     tool.    Simulations are fairly common in this industry,

0 9 : 4 4 : 3 8   18     right?

0 9 : 4 4 : 3 8   19     A.    Yes.

0 9 : 4 4 : 4 0   20     Q.    Yes.    And they are fairly accurate these days?

0 9 : 4 4 : 4 2   21     A.    Wait, wait, wait.     They're common in the industry,

0 9 : 4 4 : 4 5   22     but this type of simulation, not so much.

0 9 : 4 4 : 4 9   23     Q.    Okay.    But they are common, and they are very

0 9 : 4 4 : 5 3   24     accurate in this industry for BAW filters?

0 9 : 4 4 : 5 6   25     A.    They are common if you are trying to simulate, let's
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0 9 : 4 4 : 5 9   1      say, the bandwidth that we saw, right?            So at the very

0 9 : 4 5 : 0 2   2      least, for the '018 and even for this one, they should

0 9 : 4 5 : 0 7   3      have -- if they couldn't measure that curve that you

0 9 : 4 5 : 1 0   4      looked at there, they should have at the very least

0 9 : 4 5 : 1 3   5      simulated it.     Because what you're saying is correct; you

0 9 : 4 5 : 1 6   6      can simulate that stuff.

0 9 : 4 5 : 1 7   7            Now, for the leakage part that you're talking about,

0 9 : 4 5 : 1 9   8      the very curve you are looking at, that is very difficult

0 9 : 4 5 : 2 2   9      to do.    There is actually research going on now trying to

0 9 : 4 5 : 2 5   10     get that right.     Those energy differences are so small

0 9 : 4 5 : 2 9   11     that researchers don't get that right.

0 9 : 4 5 : 3 1   12           And the reason why I know that is because the devices

0 9 : 4 5 : 3 4   13     that I work on in research, they are much better than

0 9 : 4 5 : 3 7   14     these devices as far as loss is concerned.            So loss is

0 9 : 4 5 : 4 2   15     measured by quality factor.       Again, quality factor of

0 9 : 4 5 : 4 5   16     these devices are on the order of 500 to maybe 2,000.              The

0 9 : 4 5 : 4 9   17     quality factor of my research devices are on the order of

0 9 : 4 5 : 5 2   18     a hundred thousand.

0 9 : 4 5 : 5 3   19           And so the amount of loss between those is very

0 9 : 4 5 : 5 6   20     different.    These devices normally have a lot of loss.            My

0 9 : 4 6 : 0 0   21     devices have very little loss.        The loss you're looking at

0 9 : 4 6 : 0 3   22     in these curves that were simulated, they're smaller than

0 9 : 4 6 : 0 6   23     the losses in my device.       And we've tried to simulate the

0 9 : 4 6 : 0 9   24     losses in my devices.      Other people better than us at

0 9 : 4 6 : 1 1   25     simulations -- so UC Berkley is Number 1 in civil
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0 9 : 4 6 : 1 7   1      engineering.      A lot of this type of loss is like

0 9 : 4 6 : 1 9   2      earthquake simulations.       They're also simulating energies

0 9 : 4 6 : 2 1   3      going out.     So some of our best earthquake designers have

0 9 : 4 6 : 2 5   4      actually come up with the best ways to simulate this kind

0 9 : 4 6 : 2 8   5      of loss, and they still can't get it right, even for our

0 9 : 4 6 : 3 3   6      devices, which have more loss than what you're looking at,

0 9 : 4 6 : 3 6   7      right there.

0 9 : 4 6 : 3 6   8      Q.    So just before we move to look at the actual

0 9 : 4 6 : 3 9   9      simulations, the structures of the accused Akoustis

0 9 : 4 6 : 4 4   10     products have every feature that's required by Claims 9

0 9 : 4 6 : 4 8   11     and 10 on the structure side?

0 9 : 4 6 : 5 1   12     A.    From what you can see from Dr. Heinrich's

0 9 : 4 6 : 5 5   13     cross-sections, that's what I would conclude, yes.

0 9 : 4 6 : 5 7   14     Q.    So you relied on Dr. Heinrich's cross-sections to

0 9 : 4 7 : 0 0   15     show that it had -- to get nine check marks on Claim 9,

0 9 : 4 7 : 0 3   16     correct?

0 9 : 4 7 : 0 4   17     A.    Yes.

0 9 : 4 7 : 0 6   18     Q.    Okay.

0 9 : 4 7 : 0 6   19                   MR. MASTERS:    Now, can we project Plaintiff's

0 9 : 4 7 : 1 2   20     Demonstrative 10.24.

0 9 : 4 7 : 1 6   21     BY MR. MASTERS:

0 9 : 4 7 : 1 6   22     Q.    So this was Dr. Shanfield's analysis, and it was with

0 9 : 4 7 : 2 0   23     respect to the AKF1256, correct?

0 9 : 4 7 : 2 4   24     A.    Yes.    This was the second one sent.

0 9 : 4 7 : 2 7   25     Q.    And this -- well, you make mistakes as well right,
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0 9 : 4 7 : 3 1   1      Doctor?

0 9 : 4 7 : 3 2   2      A.    I do, but this is a big one.

0 9 : 4 7 : 3 4   3      Q.    Well, I mean, even your expert report is mislabeling

0 9 : 4 7 : 3 7   4      the resonators and the resonance for those different

0 9 : 4 7 : 4 2   5      resonators, right?      I don't even think you corrected it.

0 9 : 4 7 : 4 5   6      You still presented it wrong.

0 9 : 4 7 : 4 7   7      A.    Which one?    A resonance?

0 9 : 4 7 : 5 9   8                   MR. MASTERS:     Can we project Defendants'

0 9 : 4 8 : 0 2   9      Demonstrative 2.06, parallel resonance and series

0 9 : 4 8 : 1 3   10     resonance.

0 9 : 4 8 : 1 4   11                  THE WITNESS:     Oh yeah.

0 9 : 4 8 : 1 5   12     BY MR. MASTERS:

0 9 : 4 8 : 1 5   13     Q.    Yeah, that's the -- so you make a mistake every once

0 9 : 4 8 : 1 9   14     in a while, don't you?      Little cut and paste error.       Fine.

0 9 : 4 8 : 2 2   15     It's not an issue?

0 9 : 4 8 : 2 4   16                  MR. MASTERS:     Let's go back to 10.24.

0 9 : 4 8 : 2 6   17     BY MR. MASTERS:

0 9 : 4 8 : 2 6   18     Q.    So the simulations, just to kind of get back on track

0 9 : 4 8 : 3 2   19     here, they -- the blue line -- and, again, we're trying to

0 9 : 4 8 : 3 9   20     model the -- the patent is about the amount of lateral

0 9 : 4 8 : 4 4   21     loss.   We're trying to prevent the loss from going to the

0 9 : 4 8 : 4 6   22     outer regions, keep it within the active region of the

0 9 : 4 8 : 4 9   23     device, correct?

0 9 : 4 8 : 5 0   24     A.    Well, actually, to be precise, the patent is about

0 9 : 4 8 : 5 4   25     preventing wavelengths from being generated in the active
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                                                                           Page 2005 of 2283
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0 9 : 4 8 : 5 9   1      region that could be lost to the outer region.

0 9 : 4 9 : 0 0   2      Q.    I accept your answer.

0 9 : 4 9 : 0 3   3      A.    Confining it would not -- I mean, that's something

0 9 : 4 9 : 0 5   4      people have been doing forever.

0 9 : 4 9 : 0 8   5      Q.    So the blue line refers to the Akoustis design,

0 9 : 4 9 : 1 1   6      correct?

0 9 : 4 9 : 1 1   7      A.    Yes.

0 9 : 4 9 : 1 1   8      Q.    And here, the green line refers to the comparative

0 9 : 4 9 : 1 5   9      product when N equals 1, correct?

0 9 : 4 9 : 1 9   10     A.    Yes.

0 9 : 4 9 : 1 9   11     Q.    And this simulation, again, shows different results

0 9 : 4 9 : 2 3   12     for the two different devices, correct?

0 9 : 4 9 : 2 6   13     A.    Yes.   But, again, if it's garbled stuff coming out,

0 9 : 4 9 : 3 0   14     you'll have different results.

0 9 : 4 9 : 3 3   15     Q.    But the simulations that were performed by

0 9 : 4 9 : 3 7   16     Dr. Shanfield and Dr. Bravman, that -- again, Dr. Bravman

0 9 : 4 9 : 4 3   17     didn't perform them; he opined on them -- do have

0 9 : 4 9 : 4 5   18     different results for the accused Akoustis designs

0 9 : 4 9 : 5 0   19     compared to this comparative product, correct?

0 9 : 4 9 : 5 2   20     A.    That's what's shown on this plot.

0 9 : 4 9 : 5 5   21     Q.    And you disagree with Dr. Shanfield and Dr. Bravman;

0 9 : 5 0 : 0 0   22     is that correct?

0 9 : 5 0 : 0 0   23     A.    Yes.

0 9 : 5 0 : 0 1   24     Q.    And, again, you didn't ask any of your students to

0 9 : 5 0 : 0 5   25     conduct a simulation just to test their simulations to see
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0 9 : 5 0 : 0 9   1      if you got something different or something similar,

0 9 : 5 0 : 1 2   2      correct?

0 9 : 5 0 : 1 3   3      A.    Not for these devices.

0 9 : 5 0 : 1 5   4      Q.    Okay.    You could have, right?

0 9 : 5 0 : 1 6   5      A.    Depends on whether someone wants to pay me to do

0 9 : 5 0 : 2 2   6      that.   But, yeah, I could have.       But the onus is not on

0 9 : 5 0 : 2 5   7      the defendant to do this.       The onus is not on me to do

0 9 : 5 0 : 2 8   8      this.

0 9 : 5 0 : 2 9   9      Q.    I'm not claiming it is.      I'm just asking you if you

0 9 : 5 0 : 3 2   10     did it.    That's all that -- test your theory.

0 9 : 5 0 : 3 5   11     A.    I did not do it.

0 9 : 5 0 : 3 6   12     Q.    Okay.

0 9 : 5 0 : 4 8   13           Thank you, Dr. Nguyen.

0 9 : 5 0 : 4 9   14                   MR. MASTERS:    No further questions.

0 9 : 5 0 : 5 1   15                   THE COURT:   Redirect.

0 9 : 5 1 : 0 2   16                   We will let the jury know, since we are

0 9 : 5 1 : 0 4   17     actually moving at a good rate, so we will have to have

0 9 : 5 1 : 0 8   18     early lunch today because it's going to work out that way

0 9 : 5 1 : 1 3   19     in terms of concluding the proof in this case.

0 9 : 5 1 : 1 6   20                   So I'm going to have a short break at the end

0 9 : 5 1 : 1 8   21     of our witness, and then we will come back.          And then I

0 9 : 5 1 : 2 2   22     assume we will have lunch.       It will be early.     It's going

0 9 : 5 1 : 2 4   23     to be close to 11:00.      That will be very helpful in terms

0 9 : 5 1 : 2 9   24     of staying on schedule.

0 9 : 5 1 : 3 2   25                   MR. LEMIEUX:    If we could please pull up
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0 9 : 5 1 : 3 4   1      defense demonstrative 2.04.

0 9 : 5 1 : 3 9   2                              REDIRECT EXAMINATION

0 9 : 5 1 : 3 9   3      BY MR. LEMIEUX:

0 9 : 5 1 : 4 3   4      Q.    Professor Nguyen, you were trying to explain what

0 9 : 5 1 : 4 7   5      constitutes the top electrode and weren't provided the

0 9 : 5 1 : 5 0   6      opportunity to finish your answer.         I wanted to give you

0 9 : 5 1 : 5 3   7      that opportunity.

0 9 : 5 1 : 5 4   8            What exactly is the top electrode that's depicted

0 9 : 5 1 : 5 7   9      here, which is actually a picture from Dr. Bravman's

0 9 : 5 1 : 5 9   10     analysis, I believe?

0 9 : 5 2 : 0 1   11     A.    Yes.

0 9 : 5 2 : 0 1   12           So you see the top electrode, again, is all of this

0 9 : 5 2 : 0 4   13     white material that you see.        That's all one material.

0 9 : 5 2 : 0 7   14     It's metal.       The bottom electrode you can see is all metal

0 9 : 5 2 : 1 0   15     as well.     On the active portion of this device, the way

0 9 : 5 2 : 1 3   16     that it works is you put the voltage between these metals.

0 9 : 5 2 : 1 6   17     That creates an electric field across this.

0 9 : 5 2 : 1 9   18           The piezoelectric device responds to this electric

0 9 : 5 2 : 2 3   19     field by moving.       So that's how you create motion in the

0 9 : 5 2 : 2 6   20     device.

0 9 : 5 2 : 2 6   21           If this is a metal material with a voltage on it,

0 9 : 5 2 : 3 0   22     that will create the electric field here.           And that means

0 9 : 5 2 : 3 3   23     this whole thing is serving as the top electrode.            It is

0 9 : 5 2 : 3 7   24     also simultaneously, as you've heard, because it's thicker

0 9 : 5 2 : 4 1   25     like this, serving as a geometric feature that actually
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0 9 : 5 2 : 4 6   1      confines energy.

0 9 : 5 2 : 4 7   2            So if you think of this thing as sort of the

0 9 : 5 2 : 5 1   3      breathing motion we were talking about, it's actually

0 9 : 5 2 : 5 2   4      moving, which is really cool.       It's moving a very small

0 9 : 5 2 : 5 5   5      amount at these very high frequencies.

0 9 : 5 2 : 5 8   6            It's breathing there but because you have this

0 9 : 5 3 : 0 1   7      feature, the amount of lateral energy -- so while it's

0 9 : 5 3 : 0 4   8      breathing, there's both vertical motions and there's some

0 9 : 5 3 : 0 6   9      lateral motions, too.

0 9 : 5 3 : 0 7   10           But because of this feature you have here, it

0 9 : 5 3 : 0 9   11     actually prevents the lateral motion from happening out

0 9 : 5 3 : 1 2   12     here.   And in that way, it contains the energy.          It

0 9 : 5 3 : 1 5   13     confines the energy there.       But it's not just serving as

0 9 : 5 3 : 1 8   14     an energy confinement, it is also serving as an electrode

0 9 : 5 3 : 2 4   15     driving this device.      It's serving two purposes at once.

0 9 : 5 3 : 2 7   16           And so, in my opinion, that means it is part of the

0 9 : 5 3 : 3 0   17     top electrode.     It is thicker than the bottom electrode

0 9 : 5 3 : 3 3   18     clearly, and so this device does not infringe the '018

0 9 : 5 3 : 3 7   19     patent.

0 9 : 5 3 : 3 9   20                  MR. LEMIEUX:     If we pull up, please, Defense

0 9 : 5 3 : 4 1   21     Demonstrative 2.03.

0 9 : 5 3 : 4 4   22     BY MR. LEMIEUX:

0 9 : 5 3 : 4 4   23     Q.    Is it your understanding, Professor Nguyen, that in

0 9 : 5 3 : 4 8   24     order to establish infringement of Claim 1 of the '018

0 9 : 5 3 : 5 1   25     patent, you need to satisfy all three elements that are
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0 9 : 5 3 : 5 4   1      depicted here?

0 9 : 5 3 : 5 6   2      A.    Yes.

0 9 : 5 3 : 5 7   3      Q.    And so if the accused device does not satisfy any of

0 9 : 5 4 : 0 3   4      the three elements, it does not infringe; is that your

0 9 : 5 4 : 0 6   5      understanding?

0 9 : 5 4 : 0 7   6      A.    Yes.

0 9 : 5 4 : 0 7   7      Q.    And is it your opinion that all of the devices, not

0 9 : 5 4 : 1 0   8      just nine out of the 19, but all of the -- for all of the

0 9 : 5 4 : 1 3   9      devices that have been accused of infringing Claim 1, that

0 9 : 5 4 : 1 8   10     1C has not been proven by the plaintiffs in this case; is

0 9 : 5 4 : 2 1   11     that right?

0 9 : 5 4 : 2 1   12     A.    Yes, because they have not established that the

0 9 : 5 4 : 2 4   13     bandwidth has increased.

0 9 : 5 4 : 2 5   14     Q.    Okay.   Because they didn't measure bandwidth, did

0 9 : 5 4 : 2 8   15     they?

0 9 : 5 4 : 2 8   16     A.    They didn't measure.

0 9 : 5 4 : 2 9   17                   MR. LEMIEUX:    If we could pull up Defense

0 9 : 5 4 : 3 2   18     Demonstrative 2.07.

0 9 : 5 4 : 3 5   19     BY MR. LEMIEUX:

0 9 : 5 4 : 3 5   20     Q.    Again, in order to establish infringement of this

0 9 : 5 4 : 3 8   21     claim, they would need to satisfy all elements, 9A through

0 9 : 5 4 : 4 3   22     9H.   Is that your understanding?

0 9 : 5 4 : 4 5   23     A.    Yes.

0 9 : 5 4 : 4 5   24     Q.    And in your opinion, has the plaintiff proven that

0 9 : 5 4 : 4 9   25     9H, the last element, has been established with regard to
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0 9 : 5 4 : 5 2   1      the accused devices?

0 9 : 5 4 : 5 3   2      A.    No, because we have not shown that -- well, the

0 9 : 5 4 : 5 8   3      simulations just are not trustable.

0 9 : 5 5 : 0 1   4                   MR. LEMIEUX:      No further questions, Your Honor.

0 9 : 5 5 : 0 3   5                   THE COURT:     Okay.   Thank you very much.        Step

0 9 : 5 5 : 0 5   6      down at this time.       Thank you.

0 9 : 5 5 : 0 8   7                   We will take a short break.           Let's make it 15.

0 9 : 5 5 : 1 2   8      It's kind of hard to do.        We will make it 15 minutes.

0 9 : 5 5 : 1 7   9      This will be our last restroom break, then we'll come

0 9 : 5 5 : 2 0   10     back.   Then, we will conclude the last witness in the

0 9 : 5 5 : 2 6   11     case.   I believe it will be the last witness in the case.

0 9 : 5 5 : 2 9   12     And then we will have a lunch break.          Then we'll come back

0 9 : 5 5 : 3 2   13     for closing arguments.       We will try to stick to that

0 9 : 5 5 : 3 6   14     schedule.    That will be, I think, more efficient.

0 9 : 5 5 : 3 8   15                  Don't discuss the case among yourselves.             Don't

0 9 : 5 5 : 4 0   16     let anyone talk to you about it.         I know we're changing a

0 9 : 5 5 : 4 3   17     little bit, but I think this will help us move through.

0 9 : 5 5 : 4 5   18                  Everybody will be excused.        Remember, don't

0 9 : 5 5 : 4 7   19     discuss the case among yourselves.         Don't let anyone talk

0 9 : 5 5 : 5 1   20     with you about it, and keep an open mind.

0 9 : 5 5 : 5 4   21           (The jury exits the courtroom at 9:55 a.m.)

0 9 : 5 6 : 2 0   22                  THE COURT:     Everybody can be seated.         I am

0 9 : 5 6 : 2 1   23     rechecking.       You should have the revised final set of jury

0 9 : 5 6 : 2 4   24     instructions.       Look at Page 29, do that now.        I will

0 9 : 5 6 : 2 8   25     recheck mine.       Recheck mine and make sure we have the
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0 9 : 5 6 : 3 3   1      language in there correctly.       That is the way we have

0 9 : 5 6 : 5 2   2      determined this should be presented.         Yes, it is.

0 9 : 5 7 : 0 2   3                   All right.    So you now have the final set of

0 9 : 5 7 : 0 4   4      instructions, and I think you've got them electronically.

0 9 : 5 7 : 0 6   5      We wanted to give those to you and make sure you had them,

0 9 : 5 7 : 1 3   6      give you a break on that, so that if you wish to refer to

0 9 : 5 7 : 1 6   7      the instructions in your closing argument, you may do so.

0 9 : 5 7 : 2 3   8      Hopefully you will get that message.

0 9 : 5 7 : 2 6   9                   And so, of course, obviously -- now, if you do

0 9 : 5 7 : 3 3   10     that, I probably cautioned you once already, but you

0 9 : 5 7 : 3 6   11     probably need to say:      I believe the Court will give you

0 9 : 5 7 : 4 0   12     this instruction, of course, if the Court gives you a

0 9 : 5 7 : 4 2   13     different instruction, you should follow it.          I have had

0 9 : 5 7 : 4 5   14     things change on occasion.       And we want to be cautious so

0 9 : 5 7 : 4 8   15     we don't put you in a bad position.

0 9 : 5 7 : 5 0   16                  I think we have everything we need now.         I want

0 9 : 5 7 : 5 3   17     to make sure I've got the list of trade secrets.           And

0 9 : 5 7 : 5 7   18     that's what I haven't seen.       Maybe it's been

0 9 : 5 7 : 5 8   19     electronically sent.      I'm not receiving those things right

0 9 : 5 8 : 0 4   20     this moment.      Do we have that?

0 9 : 5 8 : 0 6   21                  MR. MASTERS:     We agree on the format, the

0 9 : 5 8 : 0 8   22     content, and I need -- I just learned that we agreed.            So

0 9 : 5 8 : 1 2   23     we're going to have it e-mailed to you within the hour.

0 9 : 5 8 : 1 5   24                  THE COURT:    That's fine.

0 9 : 5 8 : 1 5   25                  MR. MASTERS:     At this break, I will call back.
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0 9 : 5 8 : 1 8   1                   THE COURT:    Mr. Lemieux, I just make sure that

0 9 : 5 8 : 2 0   2      we've got it, because I want to be absolutely certain so

0 9 : 5 8 : 2 3   3      that we are finished.

0 9 : 5 8 : 2 9   4                   MR. LEMIEUX:     We are in agreement.

0 9 : 5 8 : 3 1   5                   THE COURT:    We are in agreement?       Okay.   Then

0 9 : 5 8 : 3 2   6      that will be attached to the verdict form so they can

0 9 : 5 8 : 3 5   7      follow the content of the verdict form.           I think we've

0 9 : 5 8 : 3 8   8      done everything.

0 9 : 5 8 : 3 9   9                   Anything else that we have to complete before

0 9 : 5 8 : 4 2   10     we are ready for closing argument after the last witness?

0 9 : 5 8 : 4 5   11     Anything else?

0 9 : 5 8 : 4 6   12                  I think the answer is no, but I want to make

0 9 : 5 8 : 4 8   13     sure.

0 9 : 5 8 : 4 9   14                  MR. MASTERS:     Well, we may have a Rule 50

0 9 : 5 8 : 5 1   15     motion to present.

0 9 : 5 8 : 5 2   16                  THE COURT:    Well, I understand.       I understand

0 9 : 5 8 : 5 3   17     there might be --

0 9 : 5 8 : 5 3   18                  MR. MASTERS:     Other than that, nothing from

0 9 : 5 8 : 5 5   19     plaintiff.

0 9 : 5 8 : 5 6   20                  THE COURT:    That's understood.

0 9 : 5 8 : 5 9   21                  It looks like you are standing, so, yes, sir.

0 9 : 5 9 : 0 1   22                  MR. ELKINS:    Yeah.   I agree.      We are set.

0 9 : 5 9 : 0 4   23                  THE COURT:    Everybody has got the material they

0 9 : 5 9 : 0 5   24     need, and we will have it shortly, and we need to take

0 9 : 5 9 : 0 9   25     that break at this time.       We'll try to stay right on
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0 9 : 5 9 : 1 3   1      schedule.    Thank you all very much.

1 0 : 1 0 : 0 4   2            (Whereupon, a recess was taken.)

1 0 : 1 4 : 3 3   3                   THE COURT:    You may be seated.      I think we're

1 0 : 1 6 : 0 8   4      all set for our last witness.       I think we can bring the

1 0 : 1 6 : 1 2   5      panel in.

1 0 : 1 6 : 4 1   6            (The jury enters the courtroom at 10:16 a.m.)

1 0 : 1 7 : 0 2   7                   THE COURT:    Everyone can be seated.

1 0 : 1 7 : 0 3   8                   Mr. Elkins, who will our next witness be?

1 0 : 1 7 : 0 7   9                   MR. ELKINS:    Thank you, Your Honor.      Our next

1 0 : 1 7 : 0 9   10     witness is Carlyn Irwin.

1 0 : 1 7 : 1 5   11                  THE COURT:    Come forward and approach the

1 0 : 1 7 : 1 7   12     witness stand, and you'll be sworn in.

1 0 : 1 7 : 2 5   13                  THE CLERK:    Raise your right hand.

1 0 : 1 7 : 2 8   14                  THE WITNESS:     Carlyn Irwin, C-A-R-L-Y-N,

1 0 : 1 7 : 3 1   15     I-R-W-I-N.

1 0 : 1 7 : 3 2   16           CARLYN IRWIN, having been called as a witness, being

1 0 : 1 7 : 3 2   17     first duly sworn under oath or affirmed, testified as

1 0 : 1 7 : 3 2   18     follows:

1 0 : 1 7 : 3 3   19                  THE CLERK:    Thank you.    Please be seated.

1 0 : 1 7 : 4 5   20                  MR. ELKINS:    Your Honor, may I approach?

1 0 : 1 7 : 4 7   21                  THE COURT:    You may.

1 0 : 1 7 : 3 3   22                             DIRECT EXAMINATION

1 0 : 1 7 : 5 9   23     BY MR. ELKINS:

1 0 : 1 8 : 0 0   24     Q.    Good morning, Ms. Irwin.

1 0 : 1 8 : 0 1   25     A.    Good morning, Mr. Elkins.
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1 0 : 1 8 : 0 2   1      Q.    Can you please introduce yourself to the jury.

1 0 : 1 8 : 0 5   2      A.    Sure.    I'm Carlyn Irwin.    I'm a senior advisor with

1 0 : 1 8 : 0 8   3      the firm of Cornerstone Research in Los Angeles.           I live

1 0 : 1 8 : 1 1   4      in Orange County, California with my family.

1 0 : 1 8 : 1 4   5      Q.    Did you prepare materials to help describe the work

1 0 : 1 8 : 1 6   6      you performed in this case?

1 0 : 1 8 : 1 8   7      A.    I did.

1 0 : 1 8 : 1 8   8      Q.    Okay.    And what materials did you prepare?

1 0 : 1 8 : 2 3   9      A.    A brief set of slides.

1 0 : 1 8 : 2 6   10                   MR. ELKINS:    Your Honor, these are marked

1 0 : 1 8 : 2 8   11     DDX-3.

1 0 : 1 8 : 3 0   12                   THE COURT:    All right.

1 0 : 1 8 : 3 1   13                   MR. ELKINS:    And I passed a set up, along with

1 0 : 1 8 : 3 4   14     the report for you.

                  15     BY MR. ELKINS:

1 0 : 1 8 : 3 8   16     Q.    Well, let's start with Slide 2, shall we?

1 0 : 1 8 : 4 1   17     A.    Sure.

1 0 : 1 8 : 4 2   18     Q.    Can you give us a high-level summary of your

1 0 : 1 8 : 4 6   19     experience?

1 0 : 1 8 : 4 6   20     A.    Yes.    So I have an undergraduate degree from the

1 0 : 1 8 : 4 9   21     University of California Santa Barbara, where I graduated

1 0 : 1 8 : 5 2   22     with a degree in organizational psychology with honors.

1 0 : 1 8 : 5 6   23     And then I attended the University of Southern California,

1 0 : 1 8 : 5 9   24     where I earned my master's in business administration,

1 0 : 1 9 : 0 2   25     focusing on accounting and finance.
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1 0 : 1 9 : 0 6   1            Then I was -- my first job out of grad school was at

1 0 : 1 9 : 1 1   2      a local law firm called Mitchell Silverberg & Knupp where

1 0 : 1 9 : 1 6   3      I was under their assistant controller.           I had

1 0 : 1 9 : 1 6   4      responsibility for their general ledger, overseeing their

1 0 : 1 9 : 2 0   5      payroll, working with their auditors and the tax partners

1 0 : 1 9 : 2 3   6      on filing taxes for the firm.

1 0 : 1 9 : 2 5   7            I then was offered a position with Pricewaterhouse,

1 0 : 1 9 : 2 8   8      one of the, then, be big six firms, now known as

1 0 : 1 9 : 3 3   9      Pricewaterhouse Coopers.       And I was hired into their

1 0 : 1 9 : 3 6   10     financial advisory services group in their litigation

1 0 : 1 9 : 3 9   11     support services, where I worked with experts in providing

1 0 : 1 9 : 4 3   12     testimony in civil litigation.

1 0 : 1 9 : 4 5   13           And then in 2002, I was offered the opportunity to

1 0 : 1 9 : 4 9   14     open the Los Angeles office along with some very senior

1 0 : 1 9 : 5 3   15     colleagues of Cornerstone Research.        And I've been there

1 0 : 1 9 : 5 6   16     more than 22 years.

1 0 : 1 9 : 5 8   17     Q.    Can you give us a little color about Cornerstone

1 0 : 2 0 : 0 0   18     Research does?

1 0 : 2 0 : 0 2   19     A.    Yes.   We are an economic consulting firm, and we

1 0 : 2 0 : 0 5   20     provide expert witness support and services in complex

1 0 : 2 0 : 0 8   21     civil litigation like we are here talking about today.

1 0 : 2 0 : 1 1   22     Q.    Have you ever taught any courses?

1 0 : 2 0 : 1 3   23     A.    I have.     I've guest lectured several law schools in

1 0 : 2 0 : 1 9   24     Los Angeles area.      And then while I was at USC, I was a

1 0 : 2 0 : 2 2   25     teaching assistant for the undergraduate corporate finance
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1 0 : 2 0 : 2 6   1      group my second year.       I had a fellowship doing that.

1 0 : 2 0 : 2 9   2      Q.    What do you do at Cornerstone Research?

1 0 : 2 0 : 3 1   3      A.    As a senior advisor, I primarily serve now as an

1 0 : 2 0 : 3 4   4      expert witness in calculation of damages.           Frequently, in

1 0 : 2 0 : 3 8   5      the area of intellectual property, including trade secrets

1 0 : 2 0 : 4 1   6      and patents, which is what we are dealing with today.

1 0 : 2 0 : 4 3   7      Q.    Do you have any accreditations?

1 0 : 2 0 : 4 6   8      A.    I do.   I am a Certified Public Accountant, which is

1 0 : 2 0 : 5 0   9      administered by the American Institute of Certified Public

1 0 : 2 0 : 5 4   10     Accountants.       I also, through that institution, am

1 0 : 2 0 : 5 7   11     certified in financial forensics, accredited in business

1 0 : 2 1 : 0 2   12     valuation, certified in intangible valuations.           And then

1 0 : 2 1 : 0 6   13     I'm also a certified fraud examiner, which is offered by

1 0 : 2 1 : 1 0   14     the Association of Certified Fraud Examiners.

1 0 : 2 1 : 1 3   15     Q.    How have you applied your accreditations and

1 0 : 2 1 : 1 6   16     education in your role as a senior advisor at Cornerstone?

1 0 : 2 1 : 2 1   17     A.    Well, as a damages expert, I frequently am looking at

1 0 : 2 1 : 2 3   18     financial information, internal business records, you

1 0 : 2 1 : 2 8   19     know, case documents that explain the legal aspects of the

1 0 : 2 1 : 3 2   20     case, things of that nature.        So I rely heavily on my

1 0 : 2 1 : 3 5   21     education, my experience, as well as my 30 years of being

1 0 : 2 1 : 3 8   22     in the litigation services field.

1 0 : 2 1 : 4 1   23     Q.    So you're here today as a damages expert for the

1 0 : 2 1 : 4 7   24     defendants.       In your practice, do you have a tendency to

1 0 : 2 1 : 5 2   25     represent either plaintiffs or defendants?
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1 0 : 2 1 : 5 4   1      A.    It fluctuates over time, but I'm basically 50/50

1 0 : 2 1 : 5 8   2      plaintiffs and defendants.

1 0 : 2 2 : 0 0   3      Q.    Have you previously been qualified as an expert

1 0 : 2 2 : 0 3   4      witness in the field of economic damages?

1 0 : 2 2 : 0 5   5      A.    Yes.

1 0 : 2 2 : 0 5   6      Q.    And how about in intellectual property matters and

1 0 : 2 2 : 0 9   7      valuation issues?

1 0 : 2 2 : 1 1   8      A.    Yes.   Again, yes.

1 0 : 2 2 : 1 3   9      Q.    Have you previously been qualified as an expert

1 0 : 2 2 : 1 8   10     witness with respect to unfair competition issues?

1 0 : 2 2 : 2 2   11     A.    Yes, many times.

1 0 : 2 2 : 2 3   12     Q.    How many times have you been qualified as an expert

1 0 : 2 2 : 2 7   13     witness to testify regarding economic damages?

1 0 : 2 2 : 3 1   14     A.    At trial, I would say 15 times over the last 12-to-15

1 0 : 2 2 : 3 7   15     years, maybe more.

1 0 : 2 2 : 3 8   16     Q.    Are you compensated for your work on this case?

1 0 : 2 2 : 4 1   17     A.    Only through my salary from Cornerstone Research.

1 0 : 2 2 : 4 4   18     Q.    Is your compensation affected by the conclusions you

1 0 : 2 2 : 4 7   19     reach?

1 0 : 2 2 : 4 8   20     A.    No, not at all.

1 0 : 2 2 : 4 9   21                  MR. ELKINS:    Your Honor, we tender Ms. Carlyn

1 0 : 2 2 : 5 3   22     Irwin as an expert witness in the area of economic

1 0 : 2 2 : 5 6   23     damages.

1 0 : 2 2 : 5 7   24                  THE COURT:    Any voir dire?

1 0 : 2 2 : 5 9   25                  MS. AYERS:    No, Your Honor.
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1 0 : 2 3 : 0 1   1                   THE COURT:    She's accepted as a person who can

1 0 : 2 3 : 0 4   2      express an opinion, sometimes referred as an expert

1 0 : 2 3 : 0 6   3      witness, in the area of damages.

1 0 : 2 3 : 0 8   4      BY MR. ELKINS:

1 0 : 2 3 : 1 0   5      Q.    Ms. Irwin, let's talk a little bit about your work in

1 0 : 2 3 : 1 2   6      this case.

1 0 : 2 3 : 1 2   7            What were you asked to do?

1 0 : 2 3 : 1 3   8      A.    Primarily, I was asked to review the expert report

1 0 : 2 3 : 1 7   9      and deposition of Ms. Bennis, who you heard from on

1 0 : 2 3 : 2 0   10     Monday, and respond to her conclusions and her

1 0 : 2 3 : 2 3   11     methodologies.

1 0 : 2 3 : 2 4   12     Q.    Did you review any other information for your work in

1 0 : 2 3 : 2 7   13     this case?

1 0 : 2 3 : 2 8   14     A.    Yes.   I reviewed many of the -- if not all of the

1 0 : 2 3 : 3 2   15     expert reports in this matter, reviewed multiple

1 0 : 2 3 : 3 5   16     depositions, not just the experts, but the fact witnesses,

1 0 : 2 3 : 3 8   17     their exhibits to their depositions.         I also reviewed in

1 0 : 2 3 : 4 2   18     many cases documents that were exchanged by the parties,

1 0 : 2 3 : 4 4   19     as well as pleadings and other legal filings that kind of

1 0 : 2 3 : 4 8   20     guide the context of my work.

1 0 : 2 3 : 5 2   21     Q.    Did you have any discussions, apart from with me and

1 0 : 2 3 : 5 7   22     my colleagues, or interviews with anybody in connection

1 0 : 2 4 : 0 1   23     with your work in this case?

1 0 : 2 4 : 0 2   24     A.    Yes.   I spoke with both Doctors Darveaux and Lebby

1 0 : 2 4 : 0 7   25     regarding the technical aspects of the trade secrets, and
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1 0 : 2 4 : 1 0   1      then I also spoke with Mr. David Aichele, who is the

1 0 : 2 4 : 1 4   2      executive vice president of business development for

1 0 : 2 4 : 1 8   3      Akoustis.

1 0 : 2 4 : 1 8   4      Q.    Why did you speak with Mr. Aichele?

1 0 : 2 4 : 2 0   5      A.    It was important for me to understand which products

1 0 : 2 4 : 2 3   6      that Akoustis sells that are basically the embodiment of

1 0 : 2 4 : 2 7   7      the alleged trade secrets and the alleged patent -- the

1 0 : 2 4 : 3 2   8      products that are subject to the patents at issue in this

1 0 : 2 4 : 3 5   9      case.    I also wanted to understand more about the cost

1 0 : 2 4 : 4 0   10     structure of Akoustis, and primarily the cost of goods

1 0 : 2 4 : 4 3   11     sold.

1 0 : 2 4 : 4 4   12     Q.    Did you form any opinions regarding the opinions and

1 0 : 2 4 : 4 9   13     analysis of Melissa Bennis who is the damages expert for

1 0 : 2 4 : 5 4   14     Qorvo?

1 0 : 2 4 : 5 4   15     A.    Yes.    And I believe if you go to the next slide,

1 0 : 2 4 : 5 7   16     there is a high level summary.

1 0 : 2 5 : 0 1   17     Q.    Okay.    Can -- you what's your first opinion?

1 0 : 2 5 : 0 4   18     A.    So generally, Ms. Bennis' calculation of Akoustis'

1 0 : 2 5 : 1 0   19     supposed head start benefit, it makes no sense and doesn't

1 0 : 2 5 : 1 3   20     fit the facts.     She used a head start approach.        That was

1 0 : 2 5 : 1 7   21     the methodology she selected.       And that is appropriate

1 0 : 2 5 : 2 1   22     when you have accelerated profits for a defendant, but not

1 0 : 2 5 : 2 4   23     when you have accelerating losses.        As you will see, it

1 0 : 2 5 : 2 8   24     makes no sense.

1 0 : 2 5 : 3 0   25     Q.    What is your second opinion?
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1 0 : 2 5 : 3 2   1      A.    That a different damages approach called the avoided

1 0 : 2 5 : 3 7   2      costs method, which I will explain, is a better fit for

1 0 : 2 5 : 4 1   3      calculating any benefit that Akoustis gained from

1 0 : 2 5 : 4 6   4      misappropriating and using the trade secrets.

1 0 : 2 5 : 5 4   5      Q.    Did you calculate Akoustis' avoided cost benefit?

1 0 : 2 5 : 5 6   6      A.    I did.      And, again, I think it was a better fit for

1 0 : 2 5 : 5 7   7      this case, and it ends up being around $305,000.

1 0 : 2 6 : 0 5   8      Q.    Do you have any opinions about Ms. Bennis' unfair

1 0 : 2 6 : 0 8   9      competition opinions in this case?

1 0 : 2 6 : 0 9   10     A.    I do.

1 0 : 2 6 : 1 2   11     Q.    What are they?

1 0 : 2 6 : 1 3   12     A.    So her calculation of the employee poaching is

1 0 : 2 6 : 1 9   13     fundamentally flawed.       First, she did no research on

1 0 : 2 6 : 2 2   14     whether or not Akoustis -- excuse me -- Qorvo actually

1 0 : 2 6 : 2 3   15     replaced the employees that were allegedly poached, yet

1 0 : 2 6 : 2 8   16     her calculation, at least she represented it to be the

1 0 : 2 6 : 3 1   17     cost that Qorvo incurred to replace those employees or

1 0 : 2 6 : 3 4   18     to -- the cost associated with losing them.

1 0 : 2 6 : 3 7   19           Second, she assumed that every one of the 19 people

1 0 : 2 6 : 4 0   20     she discussed with the HR director at Qorvo was poached.

1 0 : 2 6 : 4 5   21     Whereas, I understand that the plaintiff's argument here

1 0 : 2 6 : 4 9   22     is that employees were poached because they had access to

1 0 : 2 6 : 5 3   23     the alleged trade secrets.

1 0 : 2 6 : 5 4   24           And then third, the costs that she's using, or the

1 0 : 2 6 : 5 9   25     reference material, that doesn't have anything to do with
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1 0 : 2 7 : 0 1   1      Qorvo's actual hiring costs.       And it also ignores the fact

1 0 : 2 7 : 0 6   2      that Qorvo didn't have to pay employees while the

1 0 : 2 7 : 1 0   3      positions were being vacant.       When someone's left, you no

1 0 : 2 7 : 1 3   4      longer have to pay the salary, and that information is not

1 0 : 2 7 : 1 5   5      being considered in her analysis.

1 0 : 2 7 : 1 7   6      Q.    Now, in reaching your opinions, were you required to

1 0 : 2 7 : 2 7   7      reach any or make any assumptions?

1 0 : 2 7 : 2 9   8      A.    Yes.   To calculate the issue of damages, to even

1 0 : 2 7 : 3 3   9      think about approaching it, you first have to assume

1 0 : 2 7 : 3 6   10     liability.    As damages experts when we start out, we have

1 0 : 2 7 : 4 0   11     no idea what information will be presented to you or what

1 0 : 2 7 : 4 3   12     weight you will give to it.       So what I typically do is I

1 0 : 2 7 : 4 7   13     calculate damages assuming liability for all of the claims

1 0 : 2 7 : 5 0   14     that the plaintiff has brought forward to give the jury,

1 0 : 2 7 : 5 3   15     such as yourselves, the option to pick and choose the

1 0 : 2 7 : 5 8   16     numbers that you see fit.

1 0 : 2 8 : 0 0   17           But in assuming liability, it's -- there are three

1 0 : 2 8 : 0 4   18     components to the trade secrets.        It's, first, assuming

1 0 : 2 8 : 0 6   19     that are there trade secrets; second, assuming that they

1 0 : 2 8 : 0 9   20     were misappropriated; and, third, that they were used.

1 0 : 2 8 : 1 1   21     Because the benefit of trade secrets comes from their use,

1 0 : 2 8 : 1 6   22     not just from them actually being trade secrets.

1 0 : 2 8 : 2 2   23     Q.    So are you saying that you had to assume all three of

1 0 : 2 8 : 2 5   24     those as fact in order for you to come up with your

1 0 : 2 8 : 2 9   25     conclusions regarding damages in this case?
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1 0 : 2 8 : 3 4   1      A.    Yes.    For example, if there are no trade secrets,

1 0 : 2 8 : 3 7   2      there are no damages.      If there's no misappropriation,

1 0 : 2 8 : 4 0   3      there's no damages.      If there's no use, there's no

1 0 : 2 8 : 4 3   4      damages.

1 0 : 2 8 : 4 3   5            So I've assumed all three in order to model what I

1 0 : 2 8 : 4 7   6      believe to be the appropriate method to calculate damages

1 0 : 2 8 : 5 0   7      in the trade secrets claim.

1 0 : 2 8 : 5 2   8      Q.    Now, are you -- are you providing any opinions on the

1 0 : 2 8 : 5 4   9      trade -- the alleged trade secrets, themselves, in this

1 0 : 2 8 : 5 7   10     case?

1 0 : 2 8 : 5 7   11     A.    No.    I'm not that educated, compared to all of the

1 0 : 2 9 : 0 1   12     experts you've seen with all the patents and PhDs.           No, I

1 0 : 2 9 : 0 4   13     have relied on the technical experts for my understanding.

1 0 : 2 9 : 0 7   14     Q.    And are you opining at all on whether or not the

1 0 : 2 9 : 1 1   15     trade secrets were misappropriated or used?

1 0 : 2 9 : 1 6   16     A.    No.    Again, I assumed 100 percent that they've been

1 0 : 2 9 : 2 0   17     misappropriated and that they have been used.

1 0 : 2 9 : 2 2   18     Q.    And I think that's it.      That's all I had on that.

1 0 : 2 9 : 2 9   19           Let me ask you about your opinions regarding

1 0 : 2 9 : 3 7   20     Ms. Bennis' calculation of the head-start benefit to

1 0 : 2 9 : 4 4   21     Akoustis from its alleged misappropriation and use of

1 0 : 2 9 : 4 7   22     trade secrets.

1 0 : 2 9 : 4 8   23           So you testified at least -- you didn't testify, but

1 0 : 2 9 : 5 4   24     I understand that you will testify that there are multiple

1 0 : 3 0 : 0 0   25     ways of calculating trade secret --
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1 0 : 3 0 : 0 2   1      A.     Yes, there's multiple ways --

1 0 : 3 0 : 0 4   2      Q.     -- damages?

1 0 : 3 0 : 0 4   3      A.     -- that are allowed.     And I think I have a slide that

1 0 : 3 0 : 0 7   4      summarizes that.

1 0 : 3 0 : 1 1   5             So there are three that are -- I understand I'm not a

1 0 : 3 0 : 1 4   6      lawyer, but I've done this long enough to understand this.

1 0 : 3 0 : 1 7   7      There are generally three ways to calculate damages in a

1 0 : 3 0 : 2 1   8      trade secret case.      The first is, is there damage to Qorvo

1 0 : 3 0 : 2 4   9      caused by Akoustis' using the trade secrets?          And that's

1 0 : 3 0 : 2 7   10     in the form of lost sales.

1 0 : 3 0 : 2 9   11            As we know, Ms. Bennis did not calculate that form of

1 0 : 3 0 : 3 3   12     loss.    And I've seen know evidence or claim that Qorvo has

1 0 : 3 0 : 3 6   13     lost any sales as a result of the alleged use of trade

1 0 : 3 0 : 4 1   14     secrets.

1 0 : 3 0 : 4 3   15            Second is the benefit to Akoustis for the use of the

1 0 : 3 0 : 4 6   16     trade secrets, what we call "unjust enrichment."

1 0 : 3 0 : 4 9   17            I will skip over the three bullets and circle back.

1 0 : 3 0 : 5 3   18     The last is a reasonable royalty, which is what Qorvo and

1 0 : 3 0 : 5 8   19     Akoustis would have negotiated for the use of the trade

1 0 : 3 1 : 0 2   20     secrets at the time of the first misappropriation of use.

1 0 : 3 1 : 0 5   21            And Ms. Bennis uses that royalty methodology for her

1 0 : 3 1 : 0 9   22     patent damages, but not for her trade secret damages.           But

1 0 : 3 1 : 1 2   23     let me explain -- go back into a little more about the

1 0 : 3 1 : 1 5   24     three types of unjust enrichment, which are based on the

1 0 : 3 1 : 1 8   25     use.
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1 0 : 3 1 : 1 9   1            So there's a time benefit which Ms. Bennis -- is the

1 0 : 3 1 : 2 1   2      methodology she used under head start theory.          Then

1 0 : 3 1 : 2 5   3      there's profits on defendants' sales.         But as you'll see,

1 0 : 3 1 : 2 9   4      there are no profits on the sales of any of Akoustis'

1 0 : 3 1 : 3 3   5      at-issue BAW filters, or for the company as a whole.

1 0 : 3 1 : 3 6   6            And then the third is the savings of R&D

1 0 : 3 1 : 3 8   7      expenditures.     And that is, in my opinion, the appropriate

1 0 : 3 1 : 4 4   8      approach here, but that was not the approach that

1 0 : 3 1 : 4 7   9      Ms. Bennis selected.

1 0 : 3 1 : 5 1   10     Q.    Ms. Irwin, do you have an understanding about whether

1 0 : 3 1 : 5 3   11     or not a plaintiff in a trade secret case in Qorvo's

1 0 : 3 1 : 5 7   12     position is able to recoup more than one of these measures

1 0 : 3 2 : 0 4   13     of damages if it prevails on establishing liability?

1 0 : 3 2 : 0 9   14     A.    Yes.    So if there is an actual loss to Qorvo, they

1 0 : 3 2 : 1 3   15     could claim those lost sales and unjust enrichment in one

1 0 : 3 2 : 1 8   16     of these three forms, as long as they're not duplicative.

1 0 : 3 2 : 2 1   17     Not the same sales.      So had there been actually Qorvo's

1 0 : 3 2 : 2 5   18     losses, it would not have been inappropriate for them to

1 0 : 3 2 : 2 8   19     claim those losses and a form of unjust enrichment.           You

1 0 : 3 2 : 3 1   20     just can't double dip.

1 0 : 3 2 : 3 3   21     Q.    And, again, your understanding is that -- is it that

1 0 : 3 2 : 3 9   22     Qorvo is or is not claiming damages for actual harm that

1 0 : 3 2 : 4 4   23     it allegedly suffered?

1 0 : 3 2 : 4 6   24     A.    No.    I've not seen any evidence, and nobody has

1 0 : 3 2 : 4 9   25     pointed me to any lost sales by Qorvo.
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1 0 : 3 2 : 5 3   1      Q.    So did you see any issues with Ms. Bennis'

1 0 : 3 2 : 5 7   2      calculation of the head start benefit in this case?

1 0 : 3 3 : 0 1   3      A.    Yes.    There are three key issues -- I think if you go

1 0 : 3 3 : 0 4   4      to the next slide, they are summarized high level.

1 0 : 3 3 : 0 7   5            First, as we'll get into, she only focuses on

1 0 : 3 3 : 1 0   6      revenue.     And that's just fundamentally flawed.        She

1 0 : 3 3 : 1 4   7      doesn't include any costs related to the production of the

1 0 : 3 3 : 1 6   8      BAW filters.      And then setting aside the fact that she

1 0 : 3 3 : 2 0   9      completely ignores costs, she's overstated revenue in two

1 0 : 3 3 : 2 4   10     important ways.

1 0 : 3 3 : 2 5   11           First, she's including revenue that had nothing to do

1 0 : 3 3 : 2 8   12     with the BAW filters that embody the alleged trade

1 0 : 3 3 : 3 1   13     secrets.     And then, second, she, initially at least,

1 0 : 3 3 : 3 2   14     overstated the projected 2024 fiscal year revenue.

1 0 : 3 3 : 4 0   15     Q.    I understand you have a slide with respect to the

1 0 : 3 3 : 4 2   16     last two points?

1 0 : 3 3 : 4 3   17     A.    I do.    So just with respect to the overstating of

1 0 : 3 3 : 4 6   18     revenue, she presented two numbers in her testimony.            She

1 0 : 3 3 : 5 0   19     had a $66 million number and a $50 million number.           The

1 0 : 3 3 : 5 4   20     second and third point I make here represents 54 percent

1 0 : 3 3 : 5 9   21     of her $50 million calculation.

1 0 : 3 4 : 0 2   22           If you were to benchmark that off of her $66 million

1 0 : 3 4 : 0 5   23     calculation, this error -- these combined errors are

1 0 : 3 4 : 1 0   24     65 percent of her $66 million, which is -- just

1 0 : 3 4 : 1 4   25     demonstrates the sensitivity of these two errors.           Again,
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1 0 : 3 4 : 1 8   1      setting aside the fact that she didn't look at costs at

1 0 : 3 4 : 2 1   2      all.

1 0 : 3 4 : 2 1   3      Q.     Now, can we go back to the first point, ignoring

1 0 : 3 4 : 3 0   4      costs relating to production of BAW filters.          Can you

1 0 : 3 4 : 3 2   5      explain what you mean by that in little bit more detail?

1 0 : 3 4 : 3 7   6      A.     Yes.    So it's important to understand that you can't

1 0 : 3 4 : 4 1   7      sell a product without making it.        And she doesn't account

1 0 : 3 4 : 4 6   8      for any costs associated with the revenue that she's

1 0 : 3 4 : 5 0   9      modeling.

1 0 : 3 4 : 5 1   10            She's tried to model the time value of that revenue,

1 0 : 3 4 : 5 4   11     but that revenue isn't available 100 percent to Akoustis

1 0 : 3 5 : 0 0   12     because they spent more money making and selling the

1 0 : 3 5 : 0 3   13     product than they actually earned in selling it to date.

1 0 : 3 5 : 1 0   14     Q.     By the way, I neglected to ask you, Ms. Irwin, in

1 0 : 3 5 : 1 4   15     your experience, have -- as a testifying expert, have you

1 0 : 3 5 : 1 9   16     ever analyzed the head start benefit in one or more cases

1 0 : 3 5 : 2 5   17     before?

1 0 : 3 5 : 2 5   18     A.     Yes.    Many.   Over the course of 30 years, it's

1 0 : 3 5 : 2 9   19     probably 20 to 25 times, and I've testified about the head

1 0 : 3 5 : 3 2   20     start period probably eight times in the last 12 years or

1 0 : 3 5 : 3 8   21     so.

1 0 : 3 5 : 3 9   22     Q.     Okay.    And I understand that you referred to, in your

1 0 : 3 5 : 4 6   23     analysis regarding the issue that you expressed regarding

1 0 : 3 5 : 5 5   24     Ms. Bennis failing to take into account costs with respect

1 0 : 3 5 : 5 7   25     to the production of BAW filters, in that process, you
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1 0 : 3 6 : 0 1   1      referred to a couple different documents.

1 0 : 3 6 : 0 5   2            What are those documents?

1 0 : 3 6 : 0 7   3      A.    So there's two publications by an entity known as the

1 0 : 3 6 : 1 1   4      Sedona Conference.       And I relied and cited both of those

1 0 : 3 6 : 1 4   5      in my report and have done so on previous cases as well.

1 0 : 3 6 : 1 8   6      In other words, it's nothing new.         It's very standard in

1 0 : 3 6 : 2 2   7      this industry.

1 0 : 3 6 : 2 3   8                    MR. ELKINS:      Your Honor, may I approach the

1 0 : 3 6 : 2 5   9      witness?

1 0 : 3 6 : 2 9   10                   THE COURT:    You may.

1 0 : 3 6 : 4 7   11     BY MR. ELKINS:

1 0 : 3 6 : 5 3   12     Q.    Ms. Bennis [sic], I've handed you two documents for

1 0 : 3 6 : 5 6   13     your reference.      Can you describe what they are?

1 0 : 3 6 : 5 9   14     A.    I think you meant Ms. Irwin, but that's okay.

1 0 : 3 7 : 0 2   15     Q.    Sorry.      Ms. Irwin.    Ms. Bennis.   Ms. Irwin.

1 0 : 3 7 : 0 5   16     A.    Yes.    These are the two documents I referenced from

1 0 : 3 7 : 0 8   17     the Sedona Conference.         And these are the documents I

1 0 : 3 7 : 1 3   18     cited in my report.

1 0 : 3 7 : 1 5   19     Q.    Okay.    Have you relied on Sedona Conference

1 0 : 3 7 : 1 8   20     publications in past cases?

1 0 : 3 7 : 2 1   21     A.    I have many times.        And, in fact, the May 2022

1 0 : 3 7 : 2 8   22     publication, one of the contributors is a good, close

1 0 : 3 7 : 3 2   23     colleague of mine.       He's actually a senior vice president

1 0 : 3 7 : 3 4   24     at Cornerstone Research.         I talk with him about this stuff

1 0 : 3 7 : 3 7   25     all the time.
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1 0 : 3 7 : 3 8   1      Q.    Okay.   And so one of them -- I think one of the

1 0 : 3 7 : 4 4   2      publications I handed you is entitled "Disputed Issues in

1 0 : 3 7 : 5 0   3      Awarding Unjust Enrichment Damages in Trade Secret Cases"?

1 0 : 3 7 : 5 4   4      A.    Yes.

1 0 : 3 7 : 5 5   5      Q.    And is there a particular passage in that -- I think

1 0 : 3 8 : 0 3   6      it was at Page 689 -- that you relied on in your report?

1 0 : 3 8 : 1 6   7      A.    Yes.

1 0 : 3 8 : 1 6   8      Q.    And I think there's a portion that you cited in your

1 0 : 3 8 : 2 2   9      expert report regarding the rationale for a head start

1 0 : 3 8 : 2 6   10     theory.    Could you just read that passage, please?

1 0 : 3 8 : 2 9   11     A.    Sure.   "A plaintiff seeking unjust enrichment damages

1 0 : 3 8 : 3 3   12     will have the burden of proving the defendants' net

1 0 : 3 8 : 3 7   13     profits gained from actions like those attributed to

1 0 : 3 8 : 4 0   14     accelerated time to market and avoided costs that are

1 0 : 3 8 : 4 4   15     proximately caused by the misappropriation of the

1 0 : 3 8 : 4 8   16     plaintiffs trade secrets."

1 0 : 3 8 : 5 2   17     Q.    And then there's the -- the other one is "Commentary

1 0 : 3 8 : 5 6   18     on Monetary Remedies in Trade Secret Litigation."

1 0 : 3 8 : 5 9   19     A.    Correct.

1 0 : 3 8 : 5 9   20     Q.    I think you had cited to Page 16 in that one.

1 0 : 3 9 : 0 3   21     A.    Yes.

1 0 : 3 9 : 0 8   22           Would you like me to read it?

1 0 : 3 9 : 0 9   23     Q.    Yes, please.

1 0 : 3 9 : 1 0   24     A.    Okay.   I have to go slow for the court reporter.

1 0 : 3 9 : 1 3   25           "Another category of unjust enrichment damages is the
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1 0 : 3 9 : 1 7   1      benefit to the defendant of being able to develop a

1 0 : 3 9 : 1 9   2      competing business or product faster than it would have

1 0 : 3 9 : 2 3   3      been possible absent misappropriation.            The rationale for

1 0 : 3 9 : 2 7   4      this type of recovery is that the misappropriation has

1 0 : 3 9 : 3 1   5      given the defendant an unfair temporal advantage over its

1 0 : 3 9 : 3 5   6      competitors.      Specific examples include, first, plaintiff

1 0 : 3 9 : 4 1   7      awarded damages measured by defendants' incremental

1 0 : 3 9 : 4 5   8      profits on sales over a period of time, representative of

1 0 : 3 9 : 4 8   9      the research and development time, the misappropriation

1 0 : 3 9 : 5 2   10     allowed defendant to bypass.

1 0 : 3 9 : 5 4   11           "Second, defendant required to disgorge damages based

1 0 : 3 9 : 5 8   12     on the increased value of defendants' company due to

1 0 : 4 0 : 0 2   13     being, in this case two years, further along than

1 0 : 4 0 : 0 6   14     otherwise would have been in developing and

1 0 : 4 0 : 0 8   15     commercializing its products.

1 0 : 4 0 : 1 0   16           "Third, plaintiff awarded damages based on

1 0 : 4 0 : 1 3   17     defendants' profits on sales that began one year earlier

1 0 : 4 0 : 1 7   18     than would have been possible without the misappropriation

1 0 : 4 0 : 2 1   19     and without which the defendant could not have launched

1 0 : 4 0 : 2 4   20     its product at a key trade show."

1 0 : 4 0 : 2 8   21           Fourth and last.     "Defendant gained a three-year head

1 0 : 4 0 : 3 0   22     start on developing a competitive bid and business model

1 0 : 4 0 : 3 4   23     for" fixing -- "for fixed wing aircraft market entitling

1 0 : 4 0 : 3 9   24     plaintiff to recover damages measured by defendants'

1 0 : 4 0 : 4 2   25     profits during this period."
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1 0 : 4 0 : 4 3   1            And just for reference, these are just citations of

1 0 : 4 0 : 4 6   2      multiple cases that the committee referenced.          So the

1 0 : 4 0 : 5 0   3      facts of those cases are different than here.          But the

1 0 : 4 0 : 5 3   4      principle is that everything for the head start period is

1 0 : 4 0 : 5 7   5      measured in profits.

1 0 : 4 0 : 5 8   6      Q.    And -- but there was one -- there was one that

1 0 : 4 1 : 0 0   7      mentioned an enhanced value of the defendant company.            Is

1 0 : 4 1 : 0 6   8      it your understanding -- do you have an understanding

1 0 : 4 1 : 1 0   9      whether or not Qorvo is contending damages under enhanced

1 0 : 4 1 : 1 3   10     value to the company theory?

1 0 : 4 1 : 1 5   11     A.    My understanding is that they're not.         At least

1 0 : 4 1 : 1 8   12     Ms. Bennis never analyzed that.

1 0 : 4 1 : 2 2   13     Q.    And -- but all of the other citations were to

1 0 : 4 1 : 2 6   14     defendants' profits?

1 0 : 4 1 : 2 8   15     A.    Correct.    And even -- even the valuation situation

1 0 : 4 1 : 3 2   16     would ultimately look at profits because you have to

1 0 : 4 1 : 3 4   17     consider both the inflows and the outflows of cash in

1 0 : 4 1 : 3 8   18     order to arrive at a value.       But, yes, they're all based

1 0 : 4 1 : 4 1   19     on profits.

1 0 : 4 1 : 4 1   20     Q.    Okay.   Not just revenue?

1 0 : 4 1 : 4 3   21     A.    No.

1 0 : 4 1 : 4 3   22     Q.    How does one typically calculate profit?         I think you

1 0 : 4 1 : 4 7   23     have a slide on that.

1 0 : 4 1 : 4 8   24     A.    I do.   So, first, let me say that this is the actual

1 0 : 4 1 : 5 1   25     reporting from Akoustis for fiscal year 2023.          And,
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1 0 : 4 1 : 5 7   1      generally speaking, profits are sales minus costs.             And

1 0 : 4 2 : 0 2   2      there's various categories of profit that you can identify

1 0 : 4 2 : 0 6   3      on an income statement for a company.

1 0 : 4 2 : 1 0   4            The very top, you have revenue, which is a cash

1 0 : 4 2 : 1 3   5      inflow.    That's the value that Ms. Bennis uses.           For this

1 0 : 4 2 : 1 6   6      year, $27 million.      But then right after that is the cost

1 0 : 4 2 : 2 1   7      of revenue, which is an outflow, of $30 million.             And cost

1 0 : 4 2 : 2 7   8      of revenue are things like the materials that go into the

1 0 : 4 2 : 2 9   9      products, we've heard how expensive these products are to

1 0 : 4 2 : 3 2   10     make.   It includes the labor and -- related to the

1 0 : 4 2 : 3 7   11     manufacturing of these products.

1 0 : 4 2 : 3 9   12           And then you get to gross profit.           And it's a

1 0 : 4 2 : 4 2   13     partially corrected value in this case because the revenue

1 0 : 4 2 : 4 5   14     here, of course, as I mentioned, includes all revenue, not

1 0 : 4 2 : 4 9   15     just BAW filter revenue.

1 0 : 4 2 : 5 2   16           But then after you get to gross profit, there are

1 0 : 4 2 : 5 4   17     things like research and development.         That's related to

1 0 : 4 2 : 5 7   18     the entire company, general administrative expenses.             You

1 0 : 4 3 : 0 1   19     get to net profit.      And then there's other things like

1 0 : 4 3 : 0 3   20     interest and taxes, which can either increase profit or

1 0 : 4 3 : 0 7   21     decrease profit, depending on how many investments the

1 0 : 4 3 : 1 0   22     company has.      And ultimately you get to after tax income.

1 0 : 4 3 : 1 5   23     Q.    What measure of profit, gross profit or net profit or

1 0 : 4 3 : 2 0   24     income, I guess, is the most relevant here, in your

1 0 : 4 3 : 2 4   25     opinion, when analyzing a head start benefit?
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1 0 : 4 3 : 2 7   1      A.    So to be conservative, I just adjusted Ms. Bennis'

1 0 : 4 3 : 3 1   2      analysis for gross profit, which is the, as you can see,

1 0 : 4 3 : 3 5   3      only negative $3 million versus negative 66 million, or

1 0 : 4 3 : 4 2   4      negative 63 million.

1 0 : 4 3 : 4 3   5            And there is debate in the Sedona conference

1 0 : 4 3 : 4 8   6      materials.    Courts are split on whether or not you should

1 0 : 4 3 : 5 0   7      use gross profit or maybe, at least incorporate a portion

1 0 : 4 3 : 5 4   8      of the R&D or a portion of sales and marketing.

1 0 : 4 3 : 5 6   9            But to be very conservative here, I've just looked at

1 0 : 4 3 : 5 9   10     the cost of sales, or cost of revenue.            Those are the same

1 0 : 4 4 : 0 3   11     things.

1 0 : 4 4 : 0 4   12     Q.    So is being conservative here erring on the side of

1 0 : 4 4 : 0 8   13     the plaintiff Qorvo here in terms of expressing the amount

1 0 : 4 4 : 1 2   14     of benefit?

1 0 : 4 4 : 1 4   15     A.    Yes.

1 0 : 4 4 : 1 5   16     Q.    So within the cost of revenue line that you mentioned

1 0 : 4 4 : 2 0   17     a moment ago, what type of costs did Akoustis incur in

1 0 : 4 4 : 2 6   18     creating its revenue?

1 0 : 4 4 : 2 8   19     A.    So consistent with generally accepted accounting

1 0 : 4 4 : 3 1   20     principles, and I confirmed my discussions with

1 0 : 4 4 : 3 4   21     Mr. Aichele, that, again, this line item, Cost of Revenue

1 0 : 4 4 : 3 8   22     or Cost of Sales, is only the cost of developing the

1 0 : 4 4 : 4 0   23     product that is sold.

1 0 : 4 4 : 4 1   24           So it could include some engineering time that's

1 0 : 4 4 : 4 4   25     specific to a customer or a batch of sales.            It's the very
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1 0 : 4 4 : 4 8   1      expensive material that goes into the fabrication.           We've

1 0 : 4 4 : 5 2   2      heard about all the complicated compounds that are

1 0 : 4 4 : 5 5   3      involved.     And it includes labor.     I mean, you have to pay

1 0 : 4 4 : 5 9   4      people in order to make a product.

1 0 : 4 5 : 0 4   5      Q.    So earlier this week, we heard Dr. Daeho Kim testify

1 0 : 4 5 : 1 1   6      about the work that he undertook after he arrived at

1 0 : 4 5 : 1 5   7      Akoustis in 2017 to try to improve the resonators that he

1 0 : 4 5 : 2 1   8      found when he arrived at the company in February of 2017,

1 0 : 4 5 : 2 4   9      and the efforts that he and many colleagues made to

1 0 : 4 5 : 3 1   10     develop a new process and design to fix the yield issues,

1 0 : 4 5 : 3 6   11     but also enhance performance of the Akoustis filters.

1 0 : 4 5 : 4 2   12           Would that kind of work be included within the Cost

1 0 : 4 5 : 4 5   13     of Revenue line?

1 0 : 4 5 : 4 7   14     A.    Only to the extent that the cost of the material

1 0 : 4 5 : 4 9   15     increased.     So if -- as I seem to remember testimony that

1 0 : 4 5 : 5 4   16     a certain type of input could cost $200, and what Akoustis

1 0 : 4 6 : 0 0   17     actually incorporated cost around $2,000.          So only the

1 0 : 4 6 : 0 3   18     incremental cost of that material would be included in

1 0 : 4 6 : 0 6   19     cost of revenue.

1 0 : 4 6 : 0 7   20           To the extent that Dr. Kim or anyone else incurred

1 0 : 4 6 : 1 3   21     time in the research and development phase of the work,

1 0 : 4 6 : 1 7   22     that would be in the Research and Development line item,

1 0 : 4 6 : 2 0   23     which is another outflow of cash.

1 0 : 4 6 : 2 3   24     Q.    Okay.   So that's a below-the-line cost that is not

1 0 : 4 6 : 2 5   25     included in the gross profit?
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1 0 : 4 6 : 2 7   1      A.    Yes.    That's a common way of putting it.       It's below

1 0 : 4 6 : 3 1   2      the line.

1 0 : 4 6 : 3 2   3      Q.    Okay.    Why is it necessary, in your opinion, to

1 0 : 4 6 : 3 5   4      include the cost of revenue in calculating the defendants'

1 0 : 4 6 : 4 0   5      benefit from a head-start theory?

1 0 : 4 6 : 4 2   6      A.    So as the slide says, you have to spend money to make

1 0 : 4 6 : 4 6   7      money.

1 0 : 4 6 : 4 7   8            Hypothetically, if I had a restaurant and someone was

1 0 : 4 6 : 5 0   9      to come into the restaurant and order a meal and a

1 0 : 4 6 : 5 3   10     beverage, I would have to buy groceries, I would have to

1 0 : 4 6 : 5 6   11     buy plates and silverware.       I would have to hire somebody

1 0 : 4 7 : 0 0   12     to cook and serve the food.       If the meal costs $20 and it

1 0 : 4 7 : 0 6   13     costs me $17 to make it, the only benefit I have that I

1 0 : 4 7 : 1 0   14     can reinvest in the business, or take as my own personal

1 0 : 4 7 : 1 4   15     compensation, is the remaining three dollars, or whatever

1 0 : 4 7 : 1 9   16     the deference is.

1 0 : 4 7 : 1 9   17           You have to spend money to make money.         You can't

1 0 : 4 7 : 2 1   18     just look at revenue.

1 0 : 4 7 : 2 3   19     Q.    Okay.    Does Ms. Bennis calculate profit of any kind

1 0 : 4 7 : 3 0   20     in arriving at her calculation?

1 0 : 4 7 : 3 2   21     A.    No.

1 0 : 4 7 : 3 3   22     Q.    Did she factor into her estimate of head-start

1 0 : 4 7 : 3 9   23     benefit any of the types of costs that you just mentioned?

1 0 : 4 7 : 4 4   24     A.    No.

1 0 : 4 7 : 4 5   25     Q.    So what did she do?
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1 0 : 4 7 : 4 8   1      A.    She simply looks at revenue and measures the time.

1 0 : 4 7 : 5 1   2      What she calls the "time value of money."           The difference

1 0 : 4 7 : 5 4   3      between receiving the revenue and at the time that they

1 0 : 4 7 : 5 8   4      actually did, and then modeling it 55 months later, and

1 0 : 4 8 : 0 1   5      then taking the difference between those two present

1 0 : 4 8 : 0 3   6      values and calling that the benefit that Akoustis

1 0 : 4 8 : 0 7   7      received.

1 0 : 4 8 : 0 7   8            But as we'll see, they haven't made any money off the

1 0 : 4 8 : 1 1   9      gross profit level.      So there's been no benefit under this

1 0 : 4 8 : 1 4   10     model or methodology.

1 0 : 4 8 : 1 7   11     Q.    In your opinion, is relying on revenue alone to

1 0 : 4 8 : 2 4   12     calculate the head-start benefit consistent with the

1 0 : 4 8 : 2 6   13     principles governing your area of practice?

1 0 : 4 8 : 2 9   14     A.    No.   It's inconsistent with most basic financial

1 0 : 4 8 : 3 3   15     principles that I taught at USC, and I'm sure Ms. Bennis

1 0 : 4 8 : 3 7   16     studied as well.

1 0 : 4 8 : 3 9   17     Q.    And so is calculating the head-start benefit based on

1 0 : 4 8 : 4 4   18     revenue, even if it's discounted by the time value of

1 0 : 4 8 : 4 8   19     money, an accepted practice at all?

1 0 : 4 8 : 5 1   20     A.    No.   Now, let me back up a bit.       I don't disagree at

1 0 : 4 8 : 5 5   21     all with the concept of time value of money.           Again,

1 0 : 4 8 : 5 7   22     that's a very basic concept in finance.           It's the notion

1 0 : 4 9 : 0 1   23     that a dollar today is worth more than a dollar in a year

1 0 : 4 9 : 0 5   24     or 55 months.     But you have to understand what you have

1 0 : 4 9 : 1 0   25     available to actually invests and earn money on.
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1 0 : 4 9 : 1 4   1            So another example is, say I inherit $10,000 from my

1 0 : 4 9 : 2 0   2      grandmother.      Thank you, Grandma.    And if I just receive

1 0 : 4 9 : 2 3   3      that money, it's available for me to invest, to buy a

1 0 : 4 9 : 2 7   4      business, to help buy a house, whatever.          But let's say

1 0 : 4 9 : 3 0   5      the IRS gets involved and says, No, no, no, you don't get

1 0 : 4 9 : 3 4   6      to keep the entire 10,000, you have to pay some taxes on

1 0 : 4 9 : 3 7   7      that.

1 0 : 4 9 : 3 8   8            Say the taxes came out to be about 3,000 -- I'm from

1 0 : 4 9 : 3 9   9      California, so it would probably be higher -- but the

1 0 : 4 9 : 4 2   10     difference that I have is only $7,000 that's available to

1 0 : 4 9 : 4 7   11     invest.    The time value of money is only applicable to

1 0 : 4 9 : 5 0   12     what's available to invest.       Revenue is not available to

1 0 : 4 9 : 5 5   13     invest.

1 0 : 4 9 : 5 5   14           Only after you pay for some sort of costs -- and you

1 0 : 4 9 : 5 6   15     can debate which level here is relevant, but you have to

1 0 : 5 0 : 0 0   16     at least pay for the cost of revenue or the cost of sales

1 0 : 5 0 : 0 4   17     before you determine anything that's available to invest.

1 0 : 5 0 : 0 7   18     Q.    So hypothetically, let's assume that in the slide

1 0 : 5 0 : 1 1   19     that we have in front of us, Slide 8, that the cost of

1 0 : 5 0 : 1 6   20     revenue -- that the inflow and outflow were flipped, so

1 0 : 5 0 : 2 0   21     that would -- would that give you a gross profit of

1 0 : 5 0 : 2 5   22     $3.1 million?

1 0 : 5 0 : 2 7   23     A.    Yes.   So if the revenue was 30 million and the cost

1 0 : 5 0 : 3 1   24     of revenue was 27, you would have $3 million available to

1 0 : 5 0 : 3 5   25     invest.    The opposite is true here.      So it actually costs,
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1 0 : 5 0 : 3 8   1      at least in fiscal 2023 -- and that's been true for a lot

1 0 : 5 0 : 4 1   2      of years now -- the cost of revenue has exceeded the

1 0 : 5 0 : 4 5   3      actual revenue.

1 0 : 5 0 : 4 6   4      Q.    So in that case, could you, then, apply the time

1 0 : 5 0 : 4 9   5      value of money principle that Ms. Bennis tried to use in

1 0 : 5 0 : 5 6   6      her calculation?

1 0 : 5 0 : 5 8   7      A.    You could, but you would get a result that indicates

1 0 : 5 1 : 0 1   8      that this is not the right methodology.           In other words,

1 0 : 5 1 : 0 3   9      you could get a nonsensical result.

1 0 : 5 1 : 0 6   10     Q.    Okay.   We'll talk about that in a second.

1 0 : 5 1 : 0 7   11           Are you aware of any texts or scholarly articles,

1 0 : 5 1 : 1 2   12     like the Sedona Conference journal, approving Ms. Bennis'

1 0 : 5 1 : 1 7   13     methodology of using only revenue to measure the

1 0 : 5 1 : 2 1   14     head-start benefit?

1 0 : 5 1 : 2 2   15     A.    I am not.

1 0 : 5 1 : 2 5   16     Q.    Do any texts or articles, of which you are aware,

1 0 : 5 1 : 2 9   17     discuss Ms. Bennis' revenue methodology at all?

1 0 : 5 1 : 3 5   18     A.    Not as she's applied it here.

1 0 : 5 1 : 3 7   19     Q.    What effect does not including costs have on

1 0 : 5 1 : 4 1   20     Ms. Bennis' estimate of the head-start benefit?

1 0 : 5 1 : 4 4   21     A.    It makes it completely unreliable.

1 0 : 5 1 : 4 6   22     Q.    Okay.   And is that not offset by her use of the time

1 0 : 5 1 : 5 6   23     value of money?

1 0 : 5 1 : 5 7   24     A.    No.   Again, the only amount that's available to earn,

1 0 : 5 1 : 5 9   25     you know -- and can receive any time value of money to
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1 0 : 5 2 : 0 3   1      benefit from is the difference between the revenue you

1 0 : 5 2 : 0 6   2      bring in and the cost to make the -- to generate the

1 0 : 5 2 : 0 9   3      revenue.    You have to include costs.

1 0 : 5 2 : 1 2   4      Q.    Okay.   So could one fix Ms. Bennis' estimate of head

1 0 : 5 2 : 1 8   5      start benefit by accounting for Akoustis' costs?

1 0 : 5 2 : 2 5   6      A.    You could.    Again, it generates a nonsensical result,

1 0 : 5 2 : 3 0   7      and I can demonstrate how that's -- how it comes out.           But

1 0 : 5 2 : 3 4   8      the fundamental reason why you can't really fix it is the

1 0 : 5 2 : 3 8   9      head start methodology is intended for a defendant that

1 0 : 5 2 : 4 3   10     has accelerated profit.       All of the examples that I read

1 0 : 5 2 : 4 7   11     to you from the Sedona conference materials talked about

1 0 : 5 2 : 5 0   12     accelerated profits.      We could debate whether it's gross

1 0 : 5 2 : 5 4   13     profit or operating income, but they all talk about

1 0 : 5 2 : 5 7   14     profit.    And in this case, as you can see, Akoustis at the

1 0 : 5 3 : 0 1   15     gross profit level -- so that's just sales minus the cost

1 0 : 5 3 : 0 4   16     of sales -- had a very small profit for several years, and

1 0 : 5 3 : 0 7   17     then massive losses at the gross profit level through

1 0 : 5 3 : 1 2   18     2023.

1 0 : 5 3 : 1 3   19           And the cumulative gross profit losses for all of

1 0 : 5 3 : 1 7   20     that period of time is over $10 million.          So there's not

1 0 : 5 3 : 2 1   21     hundreds of millions or $60 million to invest; there's

1 0 : 5 3 : 2 6   22     negative $10 million to invest at the gross profit level.

1 0 : 5 3 : 3 1   23     Q.    Does a company benefit from a head start on losses?

1 0 : 5 3 : 3 5   24     A.    No, not under this methodology.        The math doesn't

1 0 : 5 3 : 4 0   25     work.
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1 0 : 5 3 : 4 0   1      Q.    Okay.   So what impact would including costs have on

1 0 : 5 3 : 4 4   2      Ms. Bennis' estimate?

1 0 : 5 3 : 4 5   3      A.    So if you go to the next slide, what you will see is,

1 0 : 5 3 : 4 8   4      so I've laid out in Ms. Bennis' methodology that generated

1 0 : 5 3 : 5 3   5      her $66 million, and the only thing I changed was, instead

1 0 : 5 3 : 5 7   6      of revenue, I used the gross profit numbers that you saw

1 0 : 5 4 : 0 1   7      on the previous slide and dropped them into her model.            As

1 0 : 5 4 : 0 5   8      a result, in the actual world, Akoustis has lost

1 0 : 5 4 : 0 9   9      $21 million in value.      And in the delayed, they've lost

1 0 : 5 4 : 1 6   10     $11 million.      This means that they are worse off in the

1 0 : 5 4 : 1 9   11     actual world where they allegedly misappropriated than in

1 0 : 5 4 : 2 5   12     the world where they would have been delayed.

1 0 : 5 4 : 2 7   13           In other words, it wouldn't have benefited Akoustis

1 0 : 5 4 : 2 9   14     to allegedly misappropriate.       And that's -- so I can't

1 0 : 5 4 : 3 2   15     assume damages and then have a negative damages number.

1 0 : 5 4 : 3 6   16     That's just nonsense.      What that tells me as a

1 0 : 5 4 : 3 8   17     practitioner is that this is not the right methodology,

1 0 : 5 4 : 4 0   18     the head start method doesn't fit the facts in this case

1 0 : 5 4 : 4 3   19     because there is no benefit to any acceleration in losses.

1 0 : 5 4 : 4 8   20     Q.    Okay.   So let me back up.      We originally started by

1 0 : 5 4 : 5 4   21     you identifying three issues:       Ignoring costs related to

1 0 : 5 4 : 5 9   22     the production of BAW filters.        The second one was

1 0 : 5 5 : 0 3   23     including revenue unrelated to BAW filters.          And the third

1 0 : 5 5 : 0 7   24     was overstating projected fiscal year 2024 revenue.

1 0 : 5 5 : 1 3   25     A.    Correct.
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1 0 : 5 5 : 1 3   1      Q.    Let's go to the second one, which is including

1 0 : 5 5 : 1 6   2      revenue unrelated to BAW filters.        Can you expand on the

1 0 : 5 5 : 2 2   3      point that you were making with that?

1 0 : 5 5 : 2 4   4      A.    Yes.   So in her revenue numbers here, about

1 0 : 5 5 : 3 0   5      65 percent of the revenue that she includes here is

1 0 : 5 5 : 3 4   6      generated from lines of businesses and sources other than

1 0 : 5 5 : 3 8   7      the sale of BAW filters.       And, again, based on my

1 0 : 5 5 : 4 1   8      understanding from speaking with experts, as well as

1 0 : 5 5 : 4 5   9      Mr. Aichele, the BAW filters are the products that embed

1 0 : 5 5 : 4 9   10     or reflect and are the bases of the alleged trade secrets.

1 0 : 5 5 : 5 4   11     And so if you look at the next slide, you will see the

1 0 : 5 5 : 5 8   12     difference here.

1 0 : 5 5 : 5 8   13           So we've got she includes revenue received from the

1 0 : 5 6 : 0 2   14     National Science Foundation Grant.        Actually, that's not

1 0 : 5 6 : 0 5   15     even revenue.     That's expected to be spent in R&D.        That's

1 0 : 5 6 : 0 8   16     the purpose of a grant.

1 0 : 5 6 : 1 0   17           She also includes fabrication services, including

1 0 : 5 6 : 1 3   18     GDSI, and she includes RMFI, which does not sell BAW

1 0 : 5 6 : 1 9   19     filters.     And as I understand from her testimony on

1 0 : 5 6 : 2 1   20     Monday, she didn't do any analysis on how any revenue that

1 0 : 5 6 : 2 7   21     Akoustis earned enabled them to actually purchase those

1 0 : 5 6 : 3 0   22     two companies that we've heard of.

1 0 : 5 6 : 3 2   23           And then if you look at the graph off to the side,

1 0 : 5 6 : 3 5   24     what you will see is that the orange represents the nonBAW

1 0 : 5 6 : 4 1   25     product revenue of about 42.8 million, and the BAW product
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1 0 : 5 6 : 4 6   1      revenue of 39.4 million, which is the gray part.           And the

1 0 : 5 6 : 5 2   2      last bar is fiscal 2024.       It's adjusted here to 28 million

1 0 : 5 6 : 5 9   3      between the two, the orange and the gray because based on

1 0 : 5 7 : 0 2   4      Mr. Aichele's testimony about projected fiscal 2024

1 0 : 5 7 : 0 8   5      revenue, but the shaded part that goes all the way up to

1 0 : 5 7 : 1 2   6      almost $60 million, that's what Ms. Bennis includes in her

1 0 : 5 7 : 1 6   7      $66 million.

1 0 : 5 7 : 1 7   8            So she adjusted it here down to 50 to only include

1 0 : 5 7 : 2 2   9      the lower two sections, but her 66 million includes that

1 0 : 5 7 : 2 6   10     huge portion that she estimated for 2024 was actually

1 0 : 5 7 : 3 0   11     based on outdated estimates.       But what you can see is that

1 0 : 5 7 : 3 4   12     a huge portion, more than half of their overall revenue,

1 0 : 5 7 : 3 7   13     is from -- is not from BAW filters.        And, again, if you

1 0 : 5 7 : 4 1   14     adjust for this from her $66 million number, about

1 0 : 5 7 : 4 6   15     $65 million -- 65 percent is because of the -- she's

1 0 : 5 7 : 5 3   16     including the orange, and she's including the shaded part

1 0 : 5 7 : 5 6   17     on fiscal 2024.

1 0 : 5 7 : 5 8   18           So those errors -- those overstatements of revenue,

1 0 : 5 8 : 0 1   19     setting aside the fact that she didn't look at costs, just

1 0 : 5 8 : 0 5   20     looking at the revenue, that's the magnitude of that

1 0 : 5 8 : 0 8   21     error.

1 0 : 5 8 : 0 9   22     Q.    Okay.   Now, I want to look up here and just make sure

1 0 : 5 8 : 1 4   23     that everybody is on board with understanding what you

1 0 : 5 8 : 1 7   24     said.

1 0 : 5 8 : 1 7   25           Is this amount -- so Akoustis nonBAW product revenue,
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1 0 : 5 8 : 2 3   1      $42.8 million and Akoustis BAW product revenue of

1 0 : 5 8 : 2 8   2      $39.4 million, is that cumulative over this entire period?

1 0 : 5 8 : 3 2   3      A.    Yes.    It's intended to be.     Of course, it's including

1 0 : 5 8 : 3 5   4      the estimates for 2024, which may be a little off, but it

1 0 : 5 8 : 3 9   5      would be minor compared to the estimate that Ms. Bennis

1 0 : 5 8 : 4 3   6      used for fiscal 2024.

1 0 : 5 8 : 4 5   7      Q.    Okay.    And so how does the cumulative amount of BAW

1 0 : 5 8 : 5 1   8      product revenue from when Akoustis first started making

1 0 : 5 8 : 5 6   9      money through 2024 compare to her head start benefit

1 0 : 5 9 : 0 4   10     calculation?

1 0 : 5 9 : 0 5   11     A.    Once you correct for this error, again, setting --

1 0 : 5 9 : 0 8   12     we're going to -- so I'm going to correct for both.           I'm

1 0 : 5 9 : 1 2   13     going to correct for the costs, inclusion of costs, and

1 0 : 5 9 : 1 5   14     I'm going to correct for the overstatement of revenue.

1 0 : 5 9 : 1 7   15     And if you go to the next slide, what you see is that you

1 0 : 5 9 : 2 1   16     end up with an even more illogical, nonsensical result.

1 0 : 5 9 : 2 5   17     The difference between the actual and the 55-month delay

1 0 : 5 9 : 3 0   18     is negative $22 million.

1 0 : 5 9 : 3 1   19           And, again, let me actually back up.         I'm just

1 0 : 5 9 : 3 5   20     accepting the 55-month delay.       I'm not -- I've just

1 0 : 5 9 : 3 9   21     accepted that.     I haven't analyzed that.       I've left that

1 0 : 5 9 : 4 3   22     up to the other experts.       But so relying on

1 0 : 5 9 : 4 6   23     Dr. Shanfield's estimate of 55-month delay, you get a

1 0 : 5 9 : 5 0   24     negative $22 million result, which, again, suggests that

1 0 : 5 9 : 5 4   25     Akoustis is worse off under the misappropriation
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1 0 : 5 9 : 5 8   1      assumption than they would have been without the

1 1 : 0 0 : 0 1   2      misappropriation.      And that's inconsistent with the

1 1 : 0 0 : 0 3   3      assumption of liability when you're calculating damages.

1 1 : 0 0 : 0 9   4      Q.    So taking a step back, do you have any other thoughts

1 1 : 0 0 : 1 2   5      regarding Ms. Bennis' head-start calculation?

1 1 : 0 0 : 1 7   6      A.    Yes.    So as I mentioned at the very start of my

1 1 : 0 0 : 2 1   7      testimony, I think a better approach would be the avoided

1 1 : 0 0 : 2 4   8      cost.   We know that the head start, there's no

1 1 : 0 0 : 2 6   9      acceleration of profits.       There's no profits at all to

1 1 : 0 0 : 2 9   10     date.   And so the third option for unjust enrichment is to

1 1 : 0 0 : 3 5   11     look at any avoided costs that Akoustis benefited from

1 1 : 0 0 : 4 0   12     under the use of the alleged trade secrets.

1 1 : 0 0 : 4 2   13     Q.    So can you flesh out a little bit what you mean by

1 1 : 0 0 : 4 5   14     "avoided costs"?

1 1 : 0 0 : 4 6   15     A.    Sure.    Basically, by having the use of the trade

1 1 : 0 0 : 5 0   16     secrets or under the use of the trade secrets, the theory

1 1 : 0 0 : 5 3   17     is that Akoustis avoided having to do additional research

1 1 : 0 0 : 5 8   18     and development, and perhaps incurring other types of

1 1 : 0 1 : 0 3   19     expenses associated with getting to market.           So there is a

1 1 : 0 1 : 0 7   20     time aspect, which is the head start, but then there is a

1 1 : 0 1 : 0 9   21     cost aspect, which is the avoided cost.           This is the

1 1 : 0 1 : 1 2   22     methodology I have used multiple times.           I have been

1 1 : 0 1 : 1 4   23     involved in cases where Dr. Shanfield has used this

1 1 : 0 1 : 1 7   24     approach as well.      And, basically, you go back and look at

1 1 : 0 1 : 2 2   25     what, if any, costs did the defendant avoid in coming to
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1 1 : 0 1 : 2 6   1      market.

1 1 : 0 1 : 2 7   2      Q.    So did you undertake to compute the costs that

1 1 : 0 1 : 3 2   3      Akoustis may have avoided, assuming that it

1 1 : 0 1 : 3 9   4      misappropriated and used Qorvo's trade secret?

1 1 : 0 1 : 4 4   5      A.    Yes, I lead on Doctors Darveaux and Lebby as to

1 1 : 0 1 : 4 8   6      inform me as to how many unavoided engineering hours it

1 1 : 0 1 : 5 2   7      would have taken to recreate independently the information

1 1 : 0 1 : 5 4   8      that they found.       And then it also includes some purchase

1 1 : 0 1 : 5 9   9      of materials that are available publicly, but did cost

1 1 : 0 2 : 0 3   10     some money.       And I think that's summarized on the next

1 1 : 0 2 : 0 6   11     slide.

1 1 : 0 2 : 0 9   12           So the present value of the total avoided costs as of

1 1 : 0 2 : 1 3   13     the date of trial is about $293,000, but the way I get

1 1 : 0 2 : 1 8   14     there is I rely on Dr. Darveaux, who looked at categories

1 1 : 0 2 : 2 3   15     2 through 7, I believe, for groupings.             He identified a

1 1 : 0 2 : 2 8   16     number of documents, and based on his calculations and his

1 1 : 0 2 : 3 2   17     expertise, the avoided hours were about 194 hours, and

1 1 : 0 2 : 3 8   18     about $264 in costs.

1 1 : 0 2 : 4 2   19           Dr. Lebby identified 960 avoided hours based on --

1 1 : 0 2 : 4 6   20     for Groupings 1 and 8 for the trade secrets, and about

1 1 : 0 2 : 5 0   21     $40,000 for purchasing various studies that he thought was

1 1 : 0 2 : 5 7   22     relevant.

1 1 : 0 2 : 5 8   23           So we have a total avoided hours of roughly 100.             I

1 1 : 0 3 : 0 4   24     assumed an hourly rate of $110 per hour, and that's

1 1 : 0 3 : 0 9   25     basically the highest paid engineer at Akoustis.              I wanted
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1 1 : 0 3 : 1 3   1      to be conservative.      I added in some employee costs,

1 1 : 0 3 : 1 6   2      employer costs for tax and divided by 1800 hours and came

1 1 : 0 3 : 2 2   3      up with a cost of $110 per hour.

1 1 : 0 3 : 2 7   4            If you extrapolate that out, you get cost of

1 1 : 0 3 : 3 0   5      $167,000.     I assumed all of that was spent back in fiscal

1 1 : 0 3 : 3 6   6      2016, so even though you -- just to be super conservative,

1 1 : 0 3 : 3 9   7      and I didn't know exactly when that -- those -- when those

1 1 : 0 3 : 4 2   8      hours would have been spent.       I wanted to be -- just take

1 1 : 0 3 : 4 7   9      the beneficial view of it to Qorvo.        I assumed all of that

1 1 : 0 3 : 5 0   10     was spent back in fiscal 2016, and I brought it forward at

1 1 : 0 3 : 5 5   11     Ms. Bennis' weighted average cost of capital to the date

1 1 : 0 3 : 5 8   12     of trial.     So that's how you get from 167,000 to 293,000.

1 1 : 0 4 : 0 1   13     Q.    Okay.   So just, in that case, you are using the time

1 1 : 0 4 : 0 7   14     value of money on an investment that -- for purposes of

1 1 : 0 4 : 1 4   15     estimating the avoided cost benefit would have taken place

1 1 : 0 4 : 1 9   16     in 2016?

1 1 : 0 4 : 2 0   17     A.    That's exactly, right.      So in this methodology, I've

1 1 : 0 4 : 2 5   18     basically identified $167,000 that Akoustis didn't have to

1 1 : 0 4 : 3 2   19     spend that was available for investment in some fashion,

1 1 : 0 4 : 3 5   20     and they would have earned interest on that.          And so the

1 1 : 0 4 : 3 8   21     present value of 167,000 from fiscal year 2016 is 293,000.

1 1 : 0 4 : 4 5   22     But these are on costs, not on revenue.

1 1 : 0 4 : 4 8   23     Q.    So unlike revenue, money you save presumably is

1 1 : 0 4 : 5 2   24     available for you to invest or do something more

1 1 : 0 4 : 5 6   25     productive with?
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1 1 : 0 4 : 5 7   1      A.    Absolutely.

1 1 : 0 4 : 5 8   2      Q.    And by assuming that Akoustis would have had to

1 1 : 0 5 : 0 3   3      undertake the work that it avoided in 2016, as opposed to

1 1 : 0 5 : 1 1   4      spread over later years, you've maximized the amount of

1 1 : 0 5 : 1 5   5      the time value of money here?

1 1 : 0 5 : 1 7   6      A.    Correct.    I've tried to be as generous in my

1 1 : 0 5 : 2 0   7      calculations to Qorvo as possible.

1 1 : 0 5 : 2 3   8      Q.    And just one -- just to clarify, too, if I can use --

1 1 : 0 5 : 2 8   9      I really like this little gizmo.

1 1 : 0 5 : 3 3   10           So here, you're talking about engineer cost per hour

1 1 : 0 5 : 3 7   11     calculated using a pretty healthy salary of $186,000?

1 1 : 0 5 : 4 2   12     A.    Correct.

1 1 : 0 5 : 4 3   13     Q.    And then you're adding to that the contribution that

1 1 : 0 5 : 4 7   14     Akoustis would have to make for SSI, Medicare, and then

1 1 : 0 5 : 5 5   15     you divided that by an expected 1800 hours?

1 1 : 0 5 : 5 9   16     A.    Correct.    One thing I want to clarify.       My present

1 1 : 0 6 : 0 2   17     value calculation is -- incorporates Ms. Bennis' 14.8

1 1 : 0 6 : 0 8   18     weighted average cost of capital, but it also considers

1 1 : 0 6 : 1 0   19     what Akoustis' weighted average cost of capital was over

1 1 : 0 6 : 1 4   20     the entire period.      It fluctuated quarter to quarter, so

1 1 : 0 6 : 1 7   21     we did a calculation, and when you do a weighted

1 1 : 0 6 : 2 2   22     calculation and divide it by the 1/T -- or not divide it.

1 1 : 0 6 : 2 6   23     You take it to a 1/T power, you get 6.8 percent.           Which,

1 1 : 0 6 : 3 1   24     just to be very clear, it incorporates her 14.8 percent,

1 1 : 0 6 : 3 4   25     but I relied on Akoustis' actual weighted average cost of
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1 1 : 0 6 : 3 8   1      capital as reported by Bloomberg over the entire period.

1 1 : 0 6 : 4 2   2      Q.    Okay.

1 1 : 0 6 : 4 4   3            So you mentioned in your explanation regarding this

1 1 : 0 6 : 4 6   4      slide, that you asked Darveaux and Lebby to estimate the

1 1 : 0 6 : 5 3   5      amounts of time that -- as well as the purchases that the

1 1 : 0 6 : 5 7   6      $40,264 up there -- that it would take to independently

1 1 : 0 7 : 0 1   7      have created the alleged trade secrets back in 2016.

1 1 : 0 7 : 0 9   8            Does your calculation include the cost to recreate

1 1 : 0 7 : 1 2   9      all of the alleged trade secrets that are discussed in

1 1 : 0 7 : 1 6   10     Dr. Shanfield's report on which Ms. Bennis relies in her

1 1 : 0 7 : 2 1   11     head start benefit calculations?

1 1 : 0 7 : 2 2   12     A.    Yes.    My understanding of Dr. Shanfield -- excuse

1 1 : 0 7 : 2 6   13     me -- Dr. Darveaux and Dr. Lebby's methodology was, when

1 1 : 0 7 : 3 0   14     they identified information in Akoustis' records that

1 1 : 0 7 : 3 4   15     reflected or was consistent with the alleged trade secrets

1 1 : 0 7 : 3 8   16     documents, they each assigned in their own expert opinion

1 1 : 0 7 : 4 1   17     a number of engineering hours it would take to

1 1 : 0 7 : 4 6   18     independently go out and recreate that exact information.

1 1 : 0 7 : 5 2   19           So in other words, you identify a problem, and you

1 1 : 0 7 : 5 7   20     say, okay, how am I going to solve this problem, not

1 1 : 0 8 : 0 0   21     knowing how to solve the problem.        And then you go out and

1 1 : 0 8 : 0 3   22     you independently research how do I solve this problem.

1 1 : 0 8 : 0 6   23     And then that's basically their methodology as I

1 1 : 0 8 : 0 9   24     understand it.

1 1 : 0 8 : 1 0   25     Q.    Okay.    Before we move onto the unfair competition
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1 1 : 0 8 : 1 3   1      opinions, can you summarize the key points that you've

1 1 : 0 8 : 1 6   2      covered regarding the issue of unjust enrichment benefit

1 1 : 0 8 : 2 1   3      to Akoustis?

1 1 : 0 8 : 2 3   4      A.    Yes.    So, again, Ms. Bennis' head start methodology

1 1 : 0 8 : 2 7   5      is not appropriate in this case because we don't have

1 1 : 0 8 : 3 0   6      accelerated profits.      As the Sedona conference and other

1 1 : 0 8 : 3 4   7      materials contemplate, we have accelerated losses.           As we

1 1 : 0 8 : 3 7   8      know that Akoustis hasn't had any profits, so you can't

1 1 : 0 8 : 4 1   9      use that methodology either.

1 1 : 0 8 : 4 2   10           The third option is avoided costs, and based on the

1 1 : 0 8 : 4 6   11     information that I received from Doctors Darveaux and

1 1 : 0 8 : 5 0   12     Lebby, the overall avoided costs based on those

1 1 : 0 8 : 5 4   13     calculations is $293,000.

1 1 : 0 8 : 5 7   14     Q.    All right.    Let's talk about Ms. Bennis opinion

1 1 : 0 9 : 0 5   15     regarding unfair competition, in particular the employee

1 1 : 0 9 : 2 0   16     poaching issue.

1 1 : 0 9 : 2 5   17           And so you stated -- you summarized -- you briefly

1 1 : 0 9 : 3 0   18     summarized your opinion regarding Ms. Bennis' opinions

1 1 : 0 9 : 3 5   19     regarding the alleged employee poaching.

1 1 : 0 9 : 3 8   20           Can you just set the table here for the discussion in

1 1 : 0 9 : 4 1   21     more detail?

1 1 : 0 9 : 4 2   22     A.    Sure.    So my understanding is Ms. Bennis met with an

1 1 : 0 9 : 4 6   23     HR representative from Qorvo and identified 19 individuals

1 1 : 0 9 : 5 0   24     who moved from Qorvo to Akoustis without any other

1 1 : 0 9 : 5 3   25     intervening causes like a reduction in force or something
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1 1 : 0 9 : 5 6   1      like that.    And then she consulted a document related to

1 1 : 1 0 : 0 1   2      one of the acquisitions that Akoustis made with respect to

1 1 : 1 0 : 0 5   3      the value of an assembled workforce.         Which is, basically,

1 1 : 1 0 : 0 9   4      when you acquire a company, you have a team that knows

1 1 : 1 0 : 1 2   5      each other, that knows the business, that knows how the

1 1 : 1 0 : 1 6   6      company works; they have a value.        And she assumed that

1 1 : 1 0 : 2 0   7      those values represented Qorvo's costs to replace the 19

1 1 : 1 0 : 2 5   8      people.

1 1 : 1 0 : 2 5   9            The problem is that Number 1, she didn't ask whether

1 1 : 1 0 : 2 8   10     or not Qorvo replaced any of them.        Some of them maybe

1 1 : 1 0 : 3 3   11     didn't need to be replaced.       Some of them could have been

1 1 : 1 0 : 3 6   12     promoted from within.      That question was never answered.

1 1 : 1 0 : 3 9   13           I've had this methodology used even just last year in

1 1 : 1 0 : 4 4   14     a trial, and it's very important to identify, not just

1 1 : 1 0 : 4 8   15     that it was replaced, those people were replaced, but by

1 1 : 1 0 : 5 0   16     whom, and how much time was spent, you know, interviewing?

1 1 : 1 0 : 5 6   17     How much resumes were reviewed?        How many assessments were

1 1 : 1 0 : 5 9   18     done?   How many interviews were done?        With whom?    How

1 1 : 1 1 : 0 2   19     long the interviews were.

1 1 : 1 1 : 0 4   20           And then the other thing you want to consider is,

1 1 : 1 1 : 0 6   21     there is certainly a loss of productivity when that person

1 1 : 1 1 : 1 0   22     is -- when that position is vacant, and when the person is

1 1 : 1 1 : 1 4   23     hired, right?     You've got to come up to speed on your new

1 1 : 1 1 : 1 6   24     job; totally normal.

1 1 : 1 1 : 1 8   25           But you also want to consider, when that position is
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1 1 : 1 1 : 2 2   1      vacant, you're not paying anyone a salary, so you have --

1 1 : 1 1 : 2 5   2      the literature suggests you have to take all of that into

1 1 : 1 1 : 2 9   3      account, and, instead, Ms. Bennis just looked at a report

1 1 : 1 1 : 3 2   4      from KPMG for a different set of employees and just

1 1 : 1 1 : 3 5   5      assumed that all of them -- that that was the exact cost

1 1 : 1 1 : 3 8   6      to rehire the 19 employees, even though we don't know if

1 1 : 1 1 : 4 3   7      the 19 employees were actually replaced.

1 1 : 1 1 : 4 7   8      Q.    Okay.    So in Ms. Bennis' calculation of employee

1 1 : 1 1 : 5 6   9      poaching harm -- and that's direct harm to Qorvo?

1 1 : 1 2 : 0 0   10     A.    Yes.    My understand is that what she was attempting

1 1 : 1 2 : 0 3   11     to measure, a direct harm to Qorvo.

1 1 : 1 2 : 0 5   12     Q.    As opposed to benefit to Akoustis like we were

1 1 : 1 2 : 0 9   13     talking about with respect to trade secrets?

1 1 : 1 2 : 1 1   14     A.    Exactly.

1 1 : 1 2 : 1 1   15     Q.    Okay.    She's -- was she asked to assume that the 19

1 1 : 1 2 : 1 5   16     individuals were poached?

1 1 : 1 2 : 1 9   17     A.    No.    I don't even think that she's asked to assume

1 1 : 1 2 : 2 1   18     that.   I think, typically, when I've used this

1 1 : 1 2 : 2 5   19     methodology, I have been asked to assume that the record

1 1 : 1 2 : 2 7   20     will show that those employees moved because of the

1 1 : 1 2 : 3 0   21     alleged wrongful conduct.       She just took the 19 and

1 1 : 1 2 : 3 3   22     calculated the value.

1 1 : 1 2 : 3 6   23     Q.    So just to put a finer point on it.         Did she

1 1 : 1 2 : 4 0   24     distinguish between the normal and accepted practice of

1 1 : 1 2 : 4 4   25     recruiting, sometimes from competitors, versus the
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1 1 : 1 2 : 5 2   1      not-accepted practice of targeting employees in order to

1 1 : 1 2 : 5 6   2      exploit trade secrets from the former employer?

1 1 : 1 3 : 0 0   3      A.    No, she didn't.      So my understanding of Qorvo's

1 1 : 1 3 : 0 3   4      position on this is that it's normal for employees to move

1 1 : 1 3 : 0 7   5      and normal for people wanting to move from one competitor

1 1 : 1 3 : 1 0   6      to another.       And as we've heard, both of these companies

1 1 : 1 3 : 1 3   7      are located approximately -- very close together, so it

1 1 : 1 3 : 1 7   8      wouldn't be unusual.

1 1 : 1 3 : 1 9   9            So my understanding of their position is that the

1 1 : 1 3 : 2 3   10     employee movement or the poaching was driven by the access

1 1 : 1 3 : 2 7   11     to trade secrets, yet Ms. Bennis ignored Dr. Shanfield's

1 1 : 1 3 : 3 1   12     analysis showing that only eight -- excuse me -- yes, only

1 1 : 1 3 : 3 6   13     eight of her 19 employees actually accessed the alleged

1 1 : 1 3 : 4 1   14     trade secrets.

1 1 : 1 3 : 4 2   15           So if that's the -- if that's Qorvo's own position

1 1 : 1 3 : 4 7   16     about what constitutes poaching, then Ms. Bennis didn't

1 1 : 1 3 : 5 1   17     even incorporate Dr. Shanfield's opinions that reflected

1 1 : 1 3 : 5 6   18     that only eight of them actually accessed the alleged

1 1 : 1 4 : 0 0   19     trade secrets, which would -- my understanding of their

1 1 : 1 4 : 0 3   20     position would constitute poaching.

1 1 : 1 4 : 0 5   21     Q.    Okay.   So I think I did you a disservice because I

1 1 : 1 4 : 0 8   22     think you prepared slides to guide your discussion, and I

1 1 : 1 4 : 1 1   23     just complete ignored that.

1 1 : 1 4 : 1 3   24     A.    That's all right.

1 1 : 1 4 : 1 4   25     Q.    So let me go to the first one.        I think you covered
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1 1 : 1 4 : 1 6   1      this, but perhaps you can just briefly touch on it.

1 1 : 1 4 : 2 0   2      A.     Yes, of course.

1 1 : 1 4 : 2 1   3             So, you know, number 1, were they replaced.         She

1 1 : 1 4 : 2 3   4      never asked.      We don't know.   There's nothing in the

1 1 : 1 4 : 2 5   5      record that reflects whether or not they were replaced at

1 1 : 1 4 : 2 8   6      all.

1 1 : 1 4 : 3 0   7             Second, she didn't look at or analyze, under her own

1 1 : 1 4 : 3 5   8      client's definition of poaching, then whether or not those

1 1 : 1 4 : 3 9   9      individuals had accessed the confidential information.

1 1 : 1 4 : 4 2   10            And then, third, she never asked Qorvo about the

1 1 : 1 4 : 4 5   11     actual costs associated with replacing employees.           She

1 1 : 1 4 : 5 0   12     just assumed that the value of an in-place workforce from

1 1 : 1 4 : 5 4   13     another company transitioned over to the value of

1 1 : 1 4 : 5 8   14     employees to Qorvo.

1 1 : 1 5 : 0 0   15     Q.     Okay.   And I think you've covered this, but just

1 1 : 1 5 : 0 2   16     wanted to give the opportunity to add any details that I

1 1 : 1 5 : 0 5   17     robbed you of by not showing you your own slide.

1 1 : 1 5 : 0 8   18     A.     That's okay.

1 1 : 1 5 : 0 9   19            So, yeah, I covered most of this, except for the

1 1 : 1 5 : 1 2   20     third of the second sub-bullet point, which is:           Of the

1 1 : 1 5 : 1 6   21     11, I mentioned that only eight, but if you reduce it to

1 1 : 1 5 : 1 9   22     just those eight people, the assumed cost to Qorvo, under

1 1 : 1 5 : 2 5   23     Ms. Bennis' methodology, is $356,000.

1 1 : 1 5 : 2 9   24     Q.     So when you say under her methodology, how are you

1 1 : 1 5 : 3 4   25     calculating that amount?
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1 1 : 1 5 : 3 5   1      A.    So I've looked at only the eight employees that

1 1 : 1 5 : 3 9   2      accessed the information, according to Dr. Shanfield,

1 1 : 1 5 : 4 1   3      while they were at Akoustis, which, of course, is the

1 1 : 1 5 : 4 5   4      definition of Qorvo's poaching efforts.           And then I just

1 1 : 1 5 : 5 0   5      relied on the KPMG assembled workforce valuation because I

1 1 : 1 5 : 5 5   6      don't have access to Qorvo's records on how many

1 1 : 1 5 : 5 8   7      interviews, how many applications, and all of that

1 1 : 1 6 : 0 0   8      information.

1 1 : 1 6 : 0 1   9            So I've just accepted her premise that the assembled

1 1 : 1 6 : 0 6   10     workforce valuation was appropriate and adopted it for

1 1 : 1 6 : 0 9   11     only those eight employees.       And total damages to Qorvo

1 1 : 1 6 : 1 2   12     would be $356,000.

1 1 : 1 6 : 1 4   13     Q.    So just to be clear, are you -- you had criticized

1 1 : 1 6 : 1 9   14     Ms. Bennis' reliance on the KPMG workforce replacement

1 1 : 1 6 : 2 5   15     report, in lieu of asking her own client what its costs

1 1 : 1 6 : 3 2   16     were.

1 1 : 1 6 : 3 3   17           Are you now saying that it's okay that she relied on

1 1 : 1 6 : 3 8   18     the RFMI report from KPMG?

1 1 : 1 6 : 4 2   19     A.    I think -- it's not okay without doing more due

1 1 : 1 6 : 4 5   20     diligence.    It may be relevant, it may not be.         She never

1 1 : 1 6 : 4 9   21     investigated whether or not any of those people had the

1 1 : 1 6 : 5 2   22     same skill set or whether they were, you know, were their

1 1 : 1 6 : 5 5   23     skills extremely unique.       So that investigation was never

1 1 : 1 7 : 0 0   24     done.   I'm just assuming her premise because I don't have

1 1 : 1 7 : 0 4   25     access to Qorvo's information to be able to do the
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1 1 : 1 7 : 0 6   1      calculation that I think would be the right way.

1 1 : 1 7 : 0 9   2      Q.    Okay.    So, let's wrap up.     I understand you've

1 1 : 1 7 : 1 5   3      prepared a summary slide, so I'll put that up.

1 1 : 1 7 : 1 8   4      A.    Thank you.

1 1 : 1 7 : 1 8   5      Q.    In advance of asking the questions this time.

1 1 : 1 7 : 2 1   6            So, in total, what is your opinion regarding the

1 1 : 1 7 : 2 6   7      amount of unjust enrichment benefit, if any, that should

1 1 : 1 7 : 3 0   8      be awarded in the event that the jury finds both

1 1 : 1 7 : 3 6   9      misappropriation of Qorvo's trade secrets and their use?

1 1 : 1 7 : 3 9   10     A.    So under the avoided costs methodology we discussed,

1 1 : 1 7 : 4 2   11     $293,000.     And, then, under the employee poaching that we

1 1 : 1 7 : 4 7   12     just discussed, $356,000.       And then we haven't talked

1 1 : 1 7 : 5 2   13     about patent infringement, but I basically accepted

1 1 : 1 7 : 5 6   14     Ms. Bennis' analysis and conclusion that the reasonable

1 1 : 1 7 : 5 9   15     royalty for those two patents would be $279,000.

1 1 : 1 8 : 0 3   16     Q.    So you said "for those two patents," does that mean

1 1 : 1 8 : 0 7   17     for them in the aggregate or does that mean 279,000 per

1 1 : 1 8 : 1 3   18     patent?

1 1 : 1 8 : 1 4   19     A.    In the aggregate.

1 1 : 1 8 : 1 5   20     Q.    Okay.    And is it your understanding that Ms. Bennis'

1 1 : 1 8 : 1 8   21     opinion regarding 279,000 stem from her analysis of a

1 1 : 1 8 : 2 5   22     reasonable royalty that would have been agreed to by the

1 1 : 1 8 : 3 0   23     parties in the hypothetical negotiation about which she

1 1 : 1 8 : 3 3   24     testified?

1 1 : 1 8 : 3 4   25     A.    Yes.    Hypothetical negotiation is a very strange
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1 1 : 1 8 : 3 7   1      concept, but I'm very familiar with it, and, yes, that's

1 1 : 1 8 : 4 1   2      my understanding of her opinion.

1 1 : 1 8 : 4 2   3      Q.    And her opinion was that the hypothetical negotiation

1 1 : 1 8 : 4 5   4      would have led to a license in which Akoustis would have

1 1 : 1 8 : 5 0   5      been able to use the two asserted Qorvo patents for a

1 1 : 1 8 : 5 8   6      total of $279,000, not $279,000 per patent?

1 1 : 1 9 : 0 4   7      A.    Correct.

1 1 : 1 9 : 0 7   8                   MR. ELKINS:    That concludes my questions.       I

1 1 : 1 9 : 0 9   9      pass the witness.

1 1 : 1 9 : 1 1   10                  THE COURT:    Cross-examination.

1 1 : 1 9 : 1 2   11                              CROSS EXAMINATION

1 1 : 1 9 : 1 3   12     BY MS. AYERS:

1 1 : 1 9 : 2 3   13     Q.    Good morning, Ms. Irwin.      It's nice to see you again.

1 1 : 1 9 : 2 5   14     A.    Nice to see you.

1 1 : 1 9 : 2 6   15     Q.    I'd like to start by discussing your opinions

1 1 : 1 9 : 2 9   16     regarding Ms. Bennis' head start analysis.          But, first, I

1 1 : 1 9 : 3 3   17     want to make sure that the jury has an understanding of

1 1 : 1 9 : 3 8   18     unjust enrichment, and the unjust enrichment benefit in

1 1 : 1 9 : 4 2   19     the context of misappropriation of trade secrets.

1 1 : 1 9 : 4 5   20           So you agree that the measurement of a defendants'

1 1 : 1 9 : 4 7   21     unjust enrichment is context-dependent, correct?

1 1 : 1 9 : 5 1   22     A.    Yes.   It has to fit the facts of the case, correct.

1 1 : 1 9 : 5 5   23     Q.    And you also agree that head start damages are a

1 1 : 1 9 : 5 8   24     recognized form of damages for misappropriation of trade

1 1 : 2 0 : 0 2   25     secrets, correct?
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1 1 : 2 0 : 0 3   1      A.    Yes.    As discussed at length in the Sedona Conference

1 1 : 2 0 : 0 7   2      materials and through my 30 years of practice, yes.

1 1 : 2 0 : 0 9   3      Q.    Okay.    And you agree that the head start damages

1 1 : 2 0 : 1 3   4      measure the unfair temporal advantage that the

1 1 : 2 0 : 1 7   5      misappropriation of trade secrets has given to a

1 1 : 2 0 : 2 0   6      defendant, correct?

1 1 : 2 0 : 2 1   7      A.    Only with respect to profits, but yes, I agree.

1 1 : 2 0 : 2 5   8      Q.    Okay.    But your report that you issued in this case

1 1 : 2 0 : 2 7   9      actually said that the head start damages measure the

1 1 : 2 0 : 2 9   10     unfair temporal advantage that the misappropriation of

1 1 : 2 0 : 3 2   11     trade secrets has given to a defendant, correct?

1 1 : 2 0 : 3 4   12     A.    Yes.

1 1 : 2 0 : 3 5   13     Q.    Okay.    And you agree that the rationale for awarding

1 1 : 2 0 : 3 9   14     head start damages is that the misappropriation of trade

1 1 : 2 0 : 4 2   15     secrets has allowed the defendant to be able to develop a

1 1 : 2 0 : 4 5   16     competing business or product faster than it would have

1 1 : 2 0 : 4 9   17     been possible absent misappropriation, correct?

1 1 : 2 0 : 5 2   18     A.    Correct.

1 1 : 2 0 : 5 5   19     Q.    So during your direct examination, you said that the

1 1 : 2 1 : 0 0   20     Akoustis' growing losses mean that there was no benefit to

1 1 : 2 1 : 0 3   21     the head start that it received, correct?

1 1 : 2 1 : 0 5   22     A.    Yes.    The application of that methodology results in

1 1 : 2 1 : 1 0   23     an illogical conclusion.

1 1 : 2 1 : 1 3   24     Q.    Okay.    And that's primarily because Akoustis had

1 1 : 2 1 : 1 5   25     negative gross profits, correct?
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1 1 : 2 1 : 1 7   1      A.    Yes.

1 1 : 2 1 : 2 1   2      Q.    But you also agree that under the unjust enrichment

1 1 : 2 1 : 2 8   3      remedies a defendant -- that a plaintiff can recover from

1 1 : 2 1 : 3 1   4      a defendant for misappropriation of trade secrets, the

1 1 : 2 1 : 3 4   5      defendants' profits on product sales is actually a

1 1 : 2 1 : 3 6   6      completely separate category from head start damages,

1 1 : 2 1 : 4 0   7      right?

1 1 : 2 1 : 4 0   8      A.    Sorry.      Can you repeat that?    I think I lost the tail

1 1 : 2 1 : 4 3   9      end of it.

1 1 : 2 1 : 4 3   10     Q.    Sure.    That's okay.

1 1 : 2 1 : 4 4   11           So I think one of the slides that you showed the jury

1 1 : 2 1 : 4 7   12     identified three different types of head start -- or of

1 1 : 2 1 : 5 2   13     unjust enrichment benefits.        The first was the defendants'

1 1 : 2 1 : 5 6   14     profits on product sales.        The second was the head start

1 1 : 2 1 : 5 8   15     benefit, correct?       And the third was avoided costs,

1 1 : 2 2 : 0 2   16     correct?

1 1 : 2 2 : 0 3   17     A.    Correct.

1 1 : 2 2 : 0 5   18     Q.    So a defendants' profits on product sales is,

1 1 : 2 2 : 0 8   19     actually, its totally owned, separate category of unjust

1 1 : 2 2 : 1 3   20     enrichment benefits under the law, correct?

1 1 : 2 2 : 1 5   21     A.    Correct.

1 1 : 2 2 : 1 8   22     Q.    And I think you agreed with me at your deposition

1 1 : 2 2 : 2 0   23     earlier this year that a company with negative profits can

1 1 : 2 2 : 2 4   24     nevertheless have incredible value, correct?

1 1 : 2 2 : 2 7   25     A.    Yes.
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1 1 : 2 2 : 2 8   1      Q.    And I think you used Amazon as an example in your

1 1 : 2 2 : 3 1   2      deposition.       So Amazon was a company that had negative

1 1 : 2 2 : 3 4   3      profits for years, but still had a great amount of value,

1 1 : 2 2 : 3 8   4      correct?

1 1 : 2 2 : 3 8   5      A.    Yes.

1 1 : 2 2 : 4 1   6      Q.    Do you also agree with the Sedona Conference which

1 1 : 2 2 : 4 4   7      states that in the case of a startup, a company's

1 1 : 2 2 : 4 7   8      valuation is closely tied to the value of the trade secret

1 1 : 2 2 : 5 0   9      technology?

1 1 : 2 2 : 5 1   10     A.    Yes, that can be true.

1 1 : 2 2 : 5 3   11     Q.    Okay.   And I just want to make sure, too, that the

1 1 : 2 2 : 5 5   12     record is clear.       The Sedona Conference isn't the law,

1 1 : 2 2 : 5 8   13     correct?     The judge is going to instruct the jury on what

1 1 : 2 3 : 0 1   14     the law is, correct?

1 1 : 2 3 : 0 2   15     A.    Of course.      And I should absolutely explain that.

1 1 : 2 3 : 0 6   16           The Sedona Conference is -- those publications are

1 1 : 2 3 : 0 9   17     issued.    They're a collaboration among attorneys, experts,

1 1 : 2 3 : 1 3   18     economists.       And there are -- I think there is some

1 1 : 2 3 : 1 6   19     judicial input.       It references case law.

1 1 : 2 3 : 1 9   20           But you're correct, it absolutely is up to the judge

1 1 : 2 3 : 2 2   21     to instruct you on what the appropriate form of damages

1 1 : 2 3 : 2 6   22     is.

1 1 : 2 3 : 3 4   23     Q.    And you testified that Akoustis did not make any

1 1 : 2 3 : 3 7   24     money and wasn't profitable, and therefore, it received no

1 1 : 2 3 : 4 1   25     head-start benefit.       That's kind of fundamentally your
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                                                    Irwin   - Cross

1 1 : 2 3 : 4 3   1      opinion, correct?

1 1 : 2 3 : 4 4   2      A.    Correct.

1 1 : 2 3 : 4 9   3      Q.    In fact, I think you said that Akoustis was worse off

1 1 : 2 3 : 5 2   4      with a 55-month delay, correct?

1 1 : 2 3 : 5 5   5      A.    Under Ms. Bennis' analysis when you account for cost

1 1 : 2 3 : 5 8   6      of sales, yes, which is an illogical conclusion when you

1 1 : 2 4 : 0 3   7      assume liability.

1 1 : 2 4 : 0 5   8      Q.    Isn't it true that Akoustis' chief executive officer

1 1 : 2 4 : 0 9   9      received significant stock awards that he cashed out for

1 1 : 2 4 : 1 3   10     more than $14 million in this case?

1 1 : 2 4 : 1 5   11     A.    I'm not aware of that.      But if you represent it, I'll

1 1 : 2 4 : 1 8   12     accept it.

1 1 : 2 4 : 1 8   13     Q.    Okay.   So -- but you didn't consider the fact that

1 1 : 2 4 : 2 1   14     Dr. Shealy made more than $14 million selling Akoustis

1 1 : 2 4 : 2 4   15     stock when opining that Akoustis was unprofitable and had

1 1 : 2 4 : 2 7   16     no head-start benefit, correct?

1 1 : 2 4 : 2 8   17     A.    Correct.    But let me also put a caveat in there that

1 1 : 2 4 : 3 3   18     it depends on how that stock was accounted for on the

1 1 : 2 4 : 3 7   19     books and records of Akoustis, whether or not it was

1 1 : 2 4 : 4 0   20     included in an employee compensation in the cost of sales,

1 1 : 2 4 : 4 2   21     or whether or not it was below the line in sales -- like,

1 1 : 2 4 : 4 6   22     in general, like administrative.

1 1 : 2 4 : 4 8   23           I certainly wouldn't expect stock compensation to be

1 1 : 2 4 : 5 1   24     included in cost of sales.       That would be against

1 1 : 2 4 : 5 4   25     generally accepted accounting principles for a CEO.
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                                                    Irwin   - Cross

1 1 : 2 4 : 5 8   1      Q.    Okay.   And so when you're talking about below the

1 1 : 2 5 : 0 0   2      line, you're talking about operating expenses, correct?

1 1 : 2 5 : 0 2   3      A.    Correct.

1 1 : 2 5 : 0 3   4      Q.    Okay.   So you didn't account for Dr. Shealy receiving

1 1 : 2 5 : 0 8   5      more than $14 million when he cashed out Akoustis stock

1 1 : 2 5 : 1 1   6      because that would have been accounted for in the

1 1 : 2 5 : 1 4   7      below-the-line operating expenses of the company, correct?

1 1 : 2 5 : 1 7   8      A.    Correct.    In my analysis, I'm holding all of those

1 1 : 2 5 : 2 2   9      below-the-line expenses constant.

1 1 : 2 5 : 2 5   10     Q.    Okay.   We're going to talk about that in just a

1 1 : 2 5 : 2 7   11     minute, Ms. Irwin.

1 1 : 2 5 : 2 8   12           And I think it's fair to say you also didn't consider

1 1 : 2 5 : 3 2   13     the fact that Mr. Houlden made more than $1.7 million

1 1 : 2 5 : 3 6   14     selling Akoustis stock when opining that Akoustis was an

1 1 : 2 5 : 3 9   15     unprofitable business, and therefore, received no

1 1 : 2 5 : 4 2   16     head-start benefit, correct?

1 1 : 2 5 : 4 3   17     A.    Correct.    For the same reasons.

1 1 : 2 5 : 4 4   18     Q.    Because those would have been below-the-line expenses

1 1 : 2 5 : 4 6   19     that would have been accounted on Akoustis' books as

1 1 : 2 5 : 4 8   20     operating expenses, correct?

1 1 : 2 5 : 4 9   21     A.    Correct.    I would not expect them to be part --

1 1 : 2 5 : 5 1   22     accounted for part of cost of sales.

1 1 : 2 5 : 5 3   23     Q.    Okay.   And I think you told the jury that Ms. Bennis'

1 1 : 2 5 : 5 7   24     analysis was inappropriate because Akoustis has to spend

1 1 : 2 5 : 5 9   25     money to make money, right?
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1 1 : 2 6 : 0 1   1      A.    Yes.

1 1 : 2 6 : 0 2   2      Q.    You can't make a product without -- you can't sell a

1 1 : 2 6 : 0 6   3      product without making it.       You can't make a product

1 1 : 2 6 : 0 8   4      without spending money, right?

1 1 : 2 6 : 1 0   5      A.    Right.

1 1 : 2 6 : 1 0   6      Q.    That's kind of a fundamental core of your opinions,

1 1 : 2 6 : 1 3   7      correct?

1 1 : 2 6 : 1 4   8      A.    Yes.

1 1 : 2 6 : 1 6   9      Q.    So I just want to circle back to what gross profits

1 1 : 2 6 : 1 9   10     are for the jury, to make sure that they completely

1 1 : 2 6 : 2 1   11     understand what's captured in gross profits and what's

1 1 : 2 6 : 2 4   12     captured in operating expenses, which is what's reflected

1 1 : 2 6 : 2 8   13     in net profits.

1 1 : 2 6 : 3 0   14           So cost of goods sold directly relates to those

1 1 : 2 6 : 3 4   15     expenses that are associated with making and selling of a

1 1 : 2 6 : 3 8   16     product, correct?

1 1 : 2 6 : 3 9   17     A.    Yes.

1 1 : 2 6 : 4 0   18     Q.    And I think that you used Mr. Kim as an example in

1 1 : 2 6 : 4 4   19     your explanation of how you were conservative by only

1 1 : 2 6 : 4 7   20     looking at the gross profits that Akoustis made because

1 1 : 2 6 : 5 1   21     Mr. Kim's research and development work would not have

1 1 : 2 6 : 5 4   22     been captured in that Cost of Goods Sold line item; is

1 1 : 2 6 : 5 8   23     that right?

1 1 : 2 6 : 5 8   24     A.    Unless he was spending time specifically on a

1 1 : 2 7 : 0 3   25     specific sale, yes, that's consistent with generally
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                                                    Irwin   - Cross

1 1 : 2 7 : 0 7   1      accepted accounting principles.

1 1 : 2 7 : 0 8   2      Q.    Okay.    So cost of goods sold include things like the

1 1 : 2 7 : 1 1   3      silicon nitride and other chemicals that go into actually

1 1 : 2 7 : 1 6   4      making the wafers, correct?

1 1 : 2 7 : 1 7   5      A.    Yes.

1 1 : 2 7 : 1 8   6      Q.    But you would agree with me that cost of goods sold

1 1 : 2 7 : 2 2   7      don't include the costs to a business to generally just

1 1 : 2 7 : 2 5   8      keep its doors open?

1 1 : 2 7 : 2 7   9      A.    That's correct.

1 1 : 2 7 : 2 9   10     Q.    So it doesn't include like, for example, employee

1 1 : 2 7 : 3 3   11     payroll or benefits costs which are captured in operating

1 1 : 2 7 : 3 7   12     expenses below the line; is that correct?

1 1 : 2 7 : 3 9   13     A.    Yes.

1 1 : 2 7 : 4 0   14     Q.    And it doesn't include things like rent or utilities

1 1 : 2 7 : 4 3   15     or things like that, correct?

1 1 : 2 7 : 4 4   16     A.    In some instance, there can be allocation for that.

1 1 : 2 7 : 4 8   17     But that's generally correct.

1 1 : 2 7 : 4 9   18     Q.    Okay.    And the allocation that's usually made on a

1 1 : 2 7 : 5 1   19     cost of goods sold nature for rent and things like that,

1 1 : 2 7 : 5 4   20     is if you own a warehouse where you actually have to store

1 1 : 2 7 : 5 7   21     the product, right?

1 1 : 2 7 : 5 8   22     A.    Right.

1 1 : 2 7 : 5 8   23     Q.    Okay.    So it's not like the company's corporate

1 1 : 2 8 : 0 1   24     headquarters and the building where people go every day

1 1 : 2 8 : 0 4   25     just to kind of regularly conduct business and not
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1 1 : 2 8 : 0 6   1      actually make the products itself, correct?

1 1 : 2 8 : 0 8   2      A.    Correct.

1 1 : 2 8 : 0 9   3      Q.    And using Mr. Kim as the example, it doesn't include

1 1 : 2 8 : 1 3   4      the cost of research and development, correct?

1 1 : 2 8 : 1 6   5      A.    Correct.

1 1 : 2 8 : 1 6   6      Q.    Okay.

1 1 : 2 8 : 1 7   7                    MS. AYERS:   I'd like to pull up Trial

1 1 : 2 8 : 1 9   8      Exhibit 286, which is Ms. Bennis' Schedule 4A.          And if we

1 1 : 2 8 : 2 8   9      could focus in -- thank you so much.         I appreciate that.

1 1 : 2 8 : 3 2   10                   THE WITNESS:    So do I.

1 1 : 2 8 : 3 3   11     BY MS. AYERS:

1 1 : 2 8 : 3 4   12     Q.    So Mr. Elkins questioned Ms. Bennis about this

1 1 : 2 8 : 3 7   13     document on Monday.      This is Akoustis' consolidated

1 1 : 2 8 : 4 0   14     statement of operations for fiscal years 2016 to 2023,

1 1 : 2 8 : 4 5   15     correct?

1 1 : 2 8 : 4 5   16     A.    Correct.

1 1 : 2 8 : 4 6   17     Q.    Okay.   Let's start with the very top line item just

1 1 : 2 8 : 4 9   18     to make sure that the jury understands the information

1 1 : 2 8 : 5 2   19     that appears on this slide.

1 1 : 2 8 : 5 3   20           The top line item has fiscal years 2016 through 2023.

1 1 : 2 8 : 5 8   21     And that's a reference to, essentially, how Akoustis

1 1 : 2 9 : 0 2   22     accounts for its yearly operations, correct?

1 1 : 2 9 : 0 5   23     A.    Yes.

1 1 : 2 9 : 0 6   24     Q.    They're on a schedule that I think has their year

1 1 : 2 9 : 0 9   25     beginning in July, and their year ending in June, as
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1 1 : 2 9 : 1 1   1      opposed to the calendar year, correct?

1 1 : 2 9 : 1 4   2      A.    Yes.

1 1 : 2 9 : 1 4   3      Q.    So that's what that "FY" means, correct?

1 1 : 2 9 : 1 6   4      A.    Correct.

1 1 : 2 9 : 1 6   5      Q.    And Total Revenue, if we look at the Total Revenue

1 1 : 2 9 : 2 0   6      line, is the line item that Ms. Bennis used in term

1 1 : 2 9 : 2 4   7      analysis, correct?

1 1 : 2 9 : 2 5   8      A.    Yes.

1 1 : 2 9 : 2 6   9      Q.    And you understand that for Ms. Bennis' analysis, she

1 1 : 2 9 : 2 9   10     essentially took this revenue beginning in fiscal year

1 1 : 2 9 : 3 3   11     2016, and she shifted it forward to February of 2020,

1 1 : 2 9 : 3 8   12     correct?

1 1 : 2 9 : 3 9   13     A.    Fifty-five months forward, correct.

1 1 : 2 9 : 4 0   14     Q.    Correct.

1 1 : 2 9 : 4 0   15           I think that's -- I think if we go back and look at

1 1 : 2 9 : 4 3   16     her schedules, we get to February of 2020 when we shift

1 1 : 2 9 : 4 6   17     this revenue 55 months forward, correct?

1 1 : 2 9 : 4 9   18     A.    That sounds about, right.

1 1 : 2 9 : 5 9   19     Q.    And your complaint about Ms. Bennis' methodology is

1 1 : 3 0 : 0 3   20     that she should have actually looked at this gross profit

1 1 : 3 0 : 0 6   21     line, correct?

1 1 : 3 0 : 0 7   22     A.    At a minimum, yes.

1 1 : 3 0 : 0 8   23     Q.    Okay.

1 1 : 3 0 : 0 8   24     A.    Well, she should have looked at gross profit for --

1 1 : 3 0 : 1 0   25     at least gross profit, but she also should not have
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                                                    Irwin   - Cross

1 1 : 3 0 : 1 5   1      included non-BAW filter revenue.

1 1 : 3 0 : 1 8   2      Q.    Okay.   We're going to get to that, too.        And I

1 1 : 3 0 : 2 0   3      appreciate that clarification.        We're going to talk about

1 1 : 3 0 : 2 0   4      that.   I would just focus in on your critique that relates

1 1 : 3 0 : 2 3   5      to gross profits for right now.

1 1 : 3 0 : 2 5   6            And so what you did in your analysis, is that you

1 1 : 3 0 : 2 8   7      shifted the gross -- the cost of revenue, which is the

1 1 : 3 0 : 3 3   8      cost of goods sold, right?       And you shifted that cost of

1 1 : 3 0 : 3 7   9      revenue forward to February of 2020 as well, correct?

1 1 : 3 0 : 4 2   10     A.    Correct.    So in other words, I took the gross profit

1 1 : 3 0 : 4 5   11     line and shifted it forward.

1 1 : 3 0 : 4 6   12     Q.    Okay.   And I think you testified that this was the

1 1 : 3 0 : 4 9   13     conservative approach, to only look at gross profits and

1 1 : 3 0 : 5 2   14     not operating expenses and net profits because Akoustis

1 1 : 3 0 : 5 7   15     would have been worse off if we had looked at the net

1 1 : 3 1 : 0 1   16     profits line, correct?

1 1 : 3 1 : 0 2   17     A.    Well, any -- a better way to say it is, any

1 1 : 3 1 : 0 6   18     additional expenses I would have added to my analysis

1 1 : 3 1 : 1 0   19     would have made the number more negative.

1 1 : 3 1 : 1 3   20           So, in other words, had the head-start methodology

1 1 : 3 1 : 1 6   21     been the right method, the gross profit number should have

1 1 : 3 1 : 2 1   22     given Qorvo the highest amount of damages.

1 1 : 3 1 : 2 4   23           So that's a better of explaining what I mean by

1 1 : 3 1 : 2 6   24     "conservative."     And that's the way I tested the

1 1 : 3 1 : 3 0   25     head-start methodology.
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1 1 : 3 1 : 3 1   1      Q.     Okay.   But if we add these operating, Total Operating

1 1 : 3 1 : 3 5   2      Expenses line item, if we add in the research and

1 1 : 3 1 : 4 0   3      development costs, and we add in the SGNA, which is things

1 1 : 3 1 : 4 4   4      like rent and utilities and the things that are necessary

1 1 : 3 1 : 4 9   5      in order for a business just to keep its doors open, and

1 1 : 3 1 : 5 2   6      we shift those forward to February of 2022, which is what

1 1 : 3 1 : 5 6   7      you did with the Gross Profits line, there's a joint goose

1 1 : 3 2 : 0 1   8      egg for operating expenses from 2016 to 2020, isn't there?

1 1 : 3 2 : 0 7   9      A.     If I had done that, correct.      But that's not what I

1 1 : 3 2 : 0 9   10     did.

1 1 : 3 2 : 1 1   11     Q.     Okay.   Because it was more convenient to actually

1 1 : 3 2 : 1 3   12     look at the gross profit line and not take into

1 1 : 3 2 : 1 7   13     consideration the operating expense line, because if we

1 1 : 3 2 : 1 9   14     shift our operating expenses forward to February 2022,

1 1 : 3 2 : 2 2   15     what you've essentially assumed in your critique of

1 1 : 3 2 : 2 6   16     Ms. Bennis' analysis is that Akoustis would have spent

1 1 : 3 2 : 2 8   17     $0.00 -- zero -- on anything from February of 2016 to --

1 1 : 3 2 : 3 3   18     from 2016 to February of 2020, correct?

1 1 : 3 2 : 3 7   19     A.     No.   So my analysis, I am not including operating

1 1 : 3 2 : 4 1   20     expenses.      Let me just kind of use some numbers to be

1 1 : 3 2 : 4 7   21     consistent.

1 1 : 3 2 : 4 7   22            So what I assumed is I shifted the gross profit

1 1 : 3 2 : 5 0   23     forward, and I've left everything else exactly where it

1 1 : 3 2 : 5 4   24     is.    So had I put them in my model, I would have had

1 1 : 3 3 : 0 0   25     $4.694 million in fiscal 2016, and I would have had that
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1 1 : 3 3 : 0 5   1      same number in the 55-month forward-looking period in

1 1 : 3 3 : 1 0   2      fiscal 2016.

1 1 : 3 3 : 1 2   3            I would have assumed -- basically, assumed all of

1 1 : 3 3 : 1 5   4      those operating expenses were incurred in the actual time

1 1 : 3 3 : 1 8   5      in both the actual world and the head start world.           And by

1 1 : 3 3 : 2 2   6      doing so, they perfectly offset.        You would have one at

1 1 : 3 3 : 2 6   7      present value from 2016 to the date of trial, and in the

1 1 : 3 3 : 3 0   8      other world, you'd have the same number in 2016 as of the

1 1 : 3 3 : 3 3   9      date of trial.     And those two would offset.       Because

1 1 : 3 3 : 3 5   10     you're taking the same number and moving them forward to

1 1 : 3 3 : 3 8   11     the date of trial and assuming that Akoustis would have

1 1 : 3 3 : 4 2   12     had in, the but-for world, $4.7 million in operating

1 1 : 3 3 : 4 7   13     expenses in fiscal year 2016.

1 1 : 3 3 : 5 0   14     Q.    Okay.   But now we just have a giant goose egg of

1 1 : 3 3 : 5 3   15     operating expenses in but-for world starting in

1 1 : 3 3 : 5 5   16     February 2020.     You have to have operating expenses held

1 1 : 3 3 : 5 9   17     constant for the totality of the period in the but-for

1 1 : 3 4 : 0 2   18     world in order for Akoustis to actually determine what

1 1 : 3 4 : 0 7   19     their benefit is because you have to have operating

1 1 : 3 4 : 0 9   20     expenses from 2016 to 2020, and you have to have operating

1 1 : 3 4 : 1 3   21     expenses in the but-for world all the way through 2016

1 1 : 3 4 : 1 6   22     past 2022, correct?

1 1 : 3 4 : 2 0   23     A.    Correct.    So what -- with respect to this year 2020

1 1 : 3 4 : 2 2   24     operating expenses, I've assumed -- my analysis inherently

1 1 : 3 4 : 2 5   25     assumes that Akoustis would have spent 31 million in the
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1 1 : 3 4 : 2 9   1      actual world in fiscal year 2020, and they would have

1 1 : 3 4 : 3 2   2      spent $31 million in but-for world.        It just would have

1 1 : 3 4 : 3 5   3      happened -- it would have happened in that same year

1 1 : 3 4 : 3 7   4      regardless of the shifting of gross profits.

1 1 : 3 4 : 4 1   5            Basically, what the result would have been is there

1 1 : 3 4 : 4 3   6      would have been more negative cash flow.          In shifting the

1 1 : 3 4 : 4 9   7      gross profits forward, you still would have had all of

1 1 : 3 4 : 5 3   8      these R&D expenses, and you're just shifting the benefit

1 1 : 3 4 : 5 7   9      after launching the benefit forward 55 months.

1 1 : 3 5 : 0 1   10     Q.    Do you agree with me having less debt is an actual

1 1 : 3 5 : 0 4   11     benefit that a company receives, correct?

1 1 : 3 5 : 0 6   12     A.    Yes.    In general, yes.

1 1 : 3 5 : 0 8   13     Q.    Okay.    So if we're double counting the operating

1 1 : 3 5 : 1 1   14     expenses in 2016 in the real world, and then we're

1 1 : 3 5 : 1 5   15     shifting it forward as well, which is what you're claiming

1 1 : 3 5 : 1 8   16     that you're actually doing --

1 1 : 3 5 : 2 0   17     A.    That's incorrect.     I am not shifting forward the

1 1 : 3 5 : 2 2   18     operating expenses.      I am assuming the operating expenses

1 1 : 3 5 : 2 4   19     that incurred in 2016 in the actual world would have

1 1 : 3 5 : 2 8   20     occurred in 2016 in the but-for world.

1 1 : 3 5 : 3 1   21     Q.    But --

1 1 : 3 5 : 3 1   22     A.    And if I model it out for you, you will see that

1 1 : 3 5 : 3 6   23     under that methodology, the two net out to zero.

1 1 : 3 5 : 3 9   24     Q.    But you don't have any operating expenses in the

1 1 : 3 5 : 4 1   25     but-for world for February 2020 going forward because you
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1 1 : 3 5 : 4 4   1      haven't shifted any operating expenses as a part of your

1 1 : 3 5 : 4 8   2      analysis?

1 1 : 3 5 : 4 9   3      A.    In 2020, I have -- my analysis inherently assumes

1 1 : 3 5 : 5 2   4      that you have $31 million of operating expenses in 2020 in

1 1 : 3 5 : 5 6   5      the actual world, and those same expenses would have been

1 1 : 3 6 : 0 0   6      incurred exactly as they had in the actual world in the

1 1 : 3 6 : 0 3   7      but-for world 55 months advanced.

1 1 : 3 6 : 0 6   8            So I am holding the R&D exactly constant.           I am

1 1 : 3 6 : 1 0   9      not -- there's no goose egg from shifting the gross

1 1 : 3 6 : 1 4   10     profit.    I'm just shifting any earnings generated from

1 1 : 3 6 : 2 0   11     revenue or services forward 55 months.            That's all I'm

1 1 : 3 6 : 2 4   12     doing.

1 1 : 3 6 : 2 5   13     Q.    But the but-for world where Akoustis was delayed by

1 1 : 3 6 : 2 9   14     55 months receiving revenue, actually extends into -- and

1 1 : 3 6 : 3 3   15     let's just look at this and give the jury the number --

1 1 : 3 6 : 3 8   16     the but-for world extends into January of 2028, correct?

1 1 : 3 7 : 0 6   17     A.    Correct.

1 1 : 3 7 : 0 7   18           And under my methodology, whatever Akoustis will

1 1 : 3 7 : 1 1   19     spend in fiscal year 2028, they would have spent in both

1 1 : 3 7 : 1 5   20     the actual and the but-for world.        Whatever that number

1 1 : 3 7 : 1 8   21     is.   If it's a hundred million, it's a hundred million,

1 1 : 3 7 : 2 0   22     but it would have been spent in fiscal 2028 exactly in the

1 1 : 3 7 : 2 5   23     actual world as the but-for world.

1 1 : 3 7 : 2 7   24           Those expenses haven't been incurred yet.           We don't

1 1 : 3 7 : 3 0   25     know what they are.      So you could use X and Y and Z, and
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1 1 : 3 7 : 3 4   1      have them all -- but they would all offset.          Because I am

1 1 : 3 7 : 3 7   2      assuming that all of the R&D that occurred in the actual

1 1 : 3 7 : 4 1   3      world or will occur in the future actual world, occurs in

1 1 : 3 7 : 4 5   4      the but-for world exactly the same.        So they perfectly

1 1 : 3 7 : 4 8   5      offset.

1 1 : 3 7 : 4 9   6      Q.    So, essentially, what you are not accounting for in

1 1 : 3 7 : 5 2   7      your criticism of Ms. Bennis is the actual expenses that

1 1 : 3 7 : 5 6   8      Akoustis would have incurred as a part of its R&D in the

1 1 : 3 8 : 0 0   9      years in which the head start actually extends into for

1 1 : 3 8 : 0 4   10     2028, 2027, 2026, and 2025, because they haven't incurred

1 1 : 3 8 : 1 0   11     those expenses yet?

1 1 : 3 8 : 1 1   12     A.    I disagree with that.      They haven't incurred those

1 1 : 3 8 : 1 4   13     expenses yet, but I am assuming that they will be the same

1 1 : 3 8 : 1 6   14     in the actual and but-for world.        I am holding my

1 1 : 3 8 : 1 9   15     methodology consistent from 2016 all the way through 2028.

1 1 : 3 8 : 2 4   16     I am holding all of those numbers, they're all going to be

1 1 : 3 8 : 2 8   17     spent, whether historical or future, whatever the numbers

1 1 : 3 8 : 3 1   18     are, in the same year that they either have been spent or

1 1 : 3 8 : 3 4   19     will be spent, and, mathematically, those numbers offset.

1 1 : 3 8 : 3 7   20     Q.    But there are operating expenses that Akoustis

1 1 : 3 8 : 4 0   21     incurred from February of 2016 -- from 2016 to February of

1 1 : 3 8 : 4 6   22     2020 that are not actually being reflected in your

1 1 : 3 8 : 5 0   23     criticism of Ms. Bennis because you don't know what the

1 1 : 3 8 : 5 4   24     operating expenses will be in fiscal years 2025, 2026,

1 1 : 3 8 : 5 9   25     2027, 2028, et cetera, correct?
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1 1 : 3 9 : 0 2   1      A.    Incorrect.

1 1 : 3 9 : 3 4   2      Q.    Let's talk about BAW filter revenue.         One criticism

1 1 : 3 9 : 3 6   3      that you had of Ms. Bennis is that she included revenue

1 1 : 3 9 : 3 9   4      not associated with the sale of Akoustis BAW filters,

1 1 : 3 9 : 4 3   5      correct?

1 1 : 3 9 : 4 3   6      A.    Yes.

1 1 : 3 9 : 4 3   7      Q.    And I think that your slide highlighted three things

1 1 : 3 9 : 4 7   8      that fall within that bucket:       National Science Foundation

1 1 : 3 9 : 5 1   9      Grants, fabrication services related to GDSI, and RFMI,

1 1 : 3 9 : 5 7   10     correct?

1 1 : 3 9 : 5 7   11     A.    Correct.

1 1 : 4 0 : 0 0   12     Q.    Your slide of nonBAW filter revenue actually included

1 1 : 4 0 : 0 4   13     a fourth category called NRE revenue, correct?

1 1 : 4 0 : 0 8   14     A.    Yes.    Nonrecurring engineering.

1 1 : 4 0 : 1 0   15     Q.    And nonrecurring engineering revenue is revenue that

1 1 : 4 0 : 1 5   16     is related to services performed in connection with BAW

1 1 : 4 0 : 2 0   17     filters, correct?

1 1 : 4 0 : 2 1   18     A.    Correct.

1 1 : 4 0 : 2 2   19     Q.    Okay.    And you excluded nonrecurring engineering

1 1 : 4 0 : 2 7   20     revenue even though it was associated with services

1 1 : 4 0 : 2 9   21     associated with the sale of BAW filters because that's

1 1 : 4 0 : 3 4   22     kind of what Mr. Aichele told you was the appropriate

1 1 : 4 0 : 3 7   23     result, correct?

1 1 : 4 0 : 3 7   24     A.    What he told me was that the nonrecurring engineering

1 1 : 4 0 : 4 2   25     services did not embody the trade secrets.          So that is
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                                                    Irwin   - Cross

1 1 : 4 0 : 4 7   1      what -- if it doesn't embody the trade secrets, then it's

1 1 : 4 0 : 5 0   2      not driven by the trade secrets.

1 1 : 4 0 : 5 3   3            So that's correct, I relied on Mr. Aichele for that.

1 1 : 4 0 : 5 5   4      But the logic is that they don't embody the trade secrets

1 1 : 4 0 : 5 9   5      themselves.

1 1 : 4 0 : 5 9   6      Q.    Okay.   But you're relying completely on Mr. Aichele

1 1 : 4 1 : 0 1   7      telling you that the nonrecurring engineering revenue

1 1 : 4 1 : 0 5   8      didn't relate to the trade secrets that Qorvo is alleging

1 1 : 4 1 : 0 9   9      Akoustis took from it, correct?

1 1 : 4 1 : 1 0   10     A.    I know I -- I mean, I spoke with him on it.          I

1 1 : 4 1 : 1 6   11     haven't seen anything else in the record that suggests

1 1 : 4 1 : 2 0   12     that it is related to the trade secrets; but, yes, I

1 1 : 4 1 : 2 2   13     relied on Mr. Aichele -- his description of those

1 1 : 4 1 : 2 5   14     services, as well as my general understanding of the

1 1 : 4 1 : 3 0   15     documents that were -- are at issue here and the testimony

1 1 : 4 1 : 3 2   16     of all of the experts.      At least the experts I spoke with.

1 1 : 4 1 : 3 7   17     Q.    Okay.   And you understand that the trade secrets

1 1 : 4 1 : 3 9   18     Qorvo is alleging Akoustis took from it relate to

1 1 : 4 1 : 4 3   19     literally everything, from business plans to trimming

1 1 : 4 1 : 4 7   20     methods and procedures, to evaluation boards to product

1 1 : 4 1 : 4 9   21     development processes and testing procedures, to

1 1 : 4 1 : 5 2   22     procedures for testing reliability and meantime to

1 1 : 4 1 : 5 5   23     failure, manufacturing assembly change procedures,

1 1 : 4 1 : 5 7   24     roadmaps, and product prototypes, correct?

1 1 : 4 2 : 0 1   25     A.    Yes.
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                                                    Irwin   - Cross

1 1 : 4 2 : 0 2   1      Q.    Okay.   And you're relying completely on Mr. Aichele

1 1 : 4 2 : 0 6   2      telling you that the NRE revenue has -- which you admit

1 1 : 4 2 : 0 9   3      relates to services performed on BAW filters, has nothing

1 1 : 4 2 : 1 3   4      to do with any of that, correct?

1 1 : 4 2 : 1 5   5      A.    Correct.

1 1 : 4 2 : 1 5   6      Q.    And you didn't perform any independent analysis in

1 1 : 4 2 : 1 9   7      order to determine the correctness of that?          And I'll say

1 1 : 4 2 : 2 3   8      in fairness to you, Ms. Irwin, that's because you're not a

1 1 : 4 2 : 2 6   9      BAW filter expert, correct?

1 1 : 4 2 : 2 7   10     A.    That's correct.     I'm certainly not.

1 1 : 4 2 : 3 1   11     Q.    Akoustis purchased GDSI in January of 2023, correct?

1 1 : 4 2 : 3 5   12     A.    Yes.

1 1 : 4 2 : 3 7   13     Q.    So several years after Akoustis first began selling

1 1 : 4 2 : 4 0   14     products, correct?

1 1 : 4 2 : 4 1   15     A.    Yes.

1 1 : 4 2 : 4 2   16     Q.    And generating revenue, correct?

1 1 : 4 2 : 4 5   17     A.    And raising funds, correct.

1 1 : 4 2 : 4 6   18     Q.    Okay.   And Akoustis purchased RFMI in October of

1 1 : 4 2 : 5 2   19     2021, correct?

1 1 : 4 2 : 5 4   20     A.    Yes.

1 1 : 4 2 : 5 5   21     Q.    It's your opinion that Akoustis would have been able

1 1 : 4 2 : 5 7   22     to purchase RFMI October 2021 even if it had experienced a

1 1 : 4 3 : 0 2   23     55-month delay in product sales, correct?

1 1 : 4 3 : 0 5   24     A.    Those purchases, neither Ms. Bennis nor I, have done

1 1 : 4 3 : 1 0   25     any analysis to establish that the investment -- the
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                                                     Irwin   - Cross

1 1 : 4 3 : 1 4   1      investment funds that were received by Akoustis, those are

1 1 : 4 3 : 1 6   2      the funds that actually went towards those acquisitions

1 1 : 4 3 : 2 1   3      because we know there wasn't enough gross profit to make

1 1 : 4 3 : 2 4   4      those acquisitions.       So the only source of those funds was

1 1 : 4 3 : 2 8   5      investment.       And neither myself nor Ms. Bennis have done

1 1 : 4 3 : 3 1   6      any analysis to tie those investments directly to the

1 1 : 4 3 : 3 5   7      ability to purchase.

1 1 : 4 3 : 3 6   8      Q.    Okay.   So as we saw in the prior slide, Akoustis had

1 1 : 4 3 : 4 1   9      a number of years where its operating income vastly --

1 1 : 4 3 : 4 6   10     operating expenses vastly exceeded the product sales,

1 1 : 4 3 : 5 0   11     correct?

1 1 : 4 3 : 5 0   12     A.    Correct.

1 1 : 4 3 : 5 1   13     Q.    And, presumably, it was getting money from somewhere,

1 1 : 4 3 : 5 4   14     either through stock issuance or through debt agreements

1 1 : 4 4 : 0 1   15     with banks and things of that nature, correct?

1 1 : 4 4 : 0 3   16     A.    Correct.

1 1 : 4 4 : 1 1   17     Q.    Were you in the courtroom when Dr. Shealy testified

1 1 : 4 4 : 1 4   18     last week?

1 1 : 4 4 : 1 6   19     A.    I wasn't.      I think that was one of the days I was

1 1 : 4 4 : 1 9   20     under the weather and I was trying not to contaminate my

1 1 : 4 4 : 2 1   21     team, but I reviewed the dailies.

1 1 : 4 4 : 2 4   22     Q.    You didn't -- one of complaints that you have about

1 1 : 4 4 : 2 7   23     RFMI is that Ms. Bennis included revenue associated with

1 1 : 4 4 : 3 4   24     RFMI, even though RFMI doesn't allegedly embody the trade

1 1 : 4 4 : 4 0   25     secrets, correct?
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1 1 : 4 4 : 4 1   1      A.    Correct.

1 1 : 4 4 : 4 1   2      Q.    And, again, you're relying on upon Mr. Aichele and

1 1 : 4 4 : 4 3   3      others to tell you that fact, correct?

1 1 : 4 4 : 4 5   4      A.    Correct.

1 1 : 4 4 : 4 5   5      Q.    You're not capable of actually determining whether or

1 1 : 4 4 : 4 8   6      not RFMI's revenue is associated with the misappropriation

1 1 : 4 4 : 5 1   7      of Qorvo's trade secrets, correct?

1 1 : 4 4 : 5 4   8      A.    That's correct.

1 1 : 4 4 : 5 4   9      Q.    And you didn't examine RFMI's books and records

1 1 : 4 4 : 5 7   10     before opining that RFMI had nothing to do with Akoustis'

1 1 : 4 5 : 0 0   11     misappropriation of trade secrets, correct?

1 1 : 4 5 : 0 2   12     A.    Correct.    I had to rely on others because that's not

1 1 : 4 5 : 0 4   13     my area of expertise.

1 1 : 4 5 : 0 6   14     Q.    Okay.

1 1 : 4 5 : 0 8   15           If it is actually shown that revenue associated with

1 1 : 4 5 : 1 2   16     RFMI is related to the automotive industry, which is an

1 1 : 4 5 : 1 6   17     industry that Akoustis entered when it acquired RFMI,

1 1 : 4 5 : 1 9   18     would the theft of trade secrets related to automotive

1 1 : 4 5 : 2 2   19     filters be relevant to your analysis of whether or not

1 1 : 4 5 : 2 7   20     that revenue should be included?

1 1 : 4 5 : 2 9   21     A.    It could, but you'd still have to incorporate costs.

1 1 : 4 5 : 3 2   22     And as my analysis showed you, end up with a larger

1 1 : 4 5 : 3 5   23     negative number when you incorporate -- sorry.          You'd end

1 1 : 4 5 : 3 9   24     up with negative $9 million when you include all of the

1 1 : 4 5 : 4 3   25     revenue.
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1 1 : 4 5 : 4 5   1            So it doesn't matter, really, what revenue you

1 1 : 4 5 : 4 7   2      include in the analysis.       As soon as you account for any

1 1 : 4 5 : 5 0   3      costs, that head start methodology makes no sense.

1 1 : 4 5 : 5 3   4      Q.    If the jury determines that Akoustis was only able to

1 1 : 4 5 : 5 7   5      purchase GDSI and RFMI because it misappropriated Qorvo's

1 1 : 4 6 : 0 1   6      trade secrets, then the distinction that you're making

1 1 : 4 6 : 0 2   7      between BAW revenue and revenue from GDSI and RFMI is kind

1 1 : 4 6 : 0 8   8      of irrelevant, correct?

1 1 : 4 6 : 0 9   9      A.    The revenue could be relevant, but -- so if the jury

1 1 : 4 6 : 1 4   10     finds that they were driven by the trade secrets, the

1 1 : 4 6 : 1 7   11     revenue and the costs would be relevant, and that results

1 1 : 4 6 : 2 0   12     in the negative $9 million number that I showed.

1 1 : 4 6 : 3 8   13     Q.    Let's talk about reasonable royalty.

1 1 : 4 6 : 4 0   14           You agree with me that a reasonable royalty for

1 1 : 4 6 : 4 4   15     patent infringement is supposed to measure the incremental

1 1 : 4 6 : 4 7   16     benefit specifically attributed to the claims of the

1 1 : 4 6 : 5 0   17     asserted patents, correct?

1 1 : 4 6 : 5 1   18     A.    Yes.

1 1 : 4 6 : 5 2   19     Q.    That's kind of the purpose of the hypothetical

1 1 : 4 6 : 5 4   20     negotiation, is actually to determine what incremental

1 1 : 4 6 : 5 8   21     benefit is associated with the new inventive concept that

1 1 : 4 7 : 0 2   22     is embodied in the patent itself, correct?

1 1 : 4 7 : 0 6   23     A.    Yes.

1 1 : 4 7 : 0 6   24     Q.    And you also understand that the patents in this case

1 1 : 4 7 : 0 9   25     relate specifically to an improvement to the resonator of
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                                                    Irwin   - Cross

1 1 : 4 7 : 1 3   1      a BAW filter, correct?

1 1 : 4 7 : 1 5   2      A.    That is my understanding yes.

1 1 : 4 7 : 1 7   3      Q.    Okay.    The asserted patents don't relate to Qorvo's

1 1 : 4 7 : 2 0   4      business plans, correct?

1 1 : 4 7 : 2 1   5      A.    Right.

1 1 : 4 7 : 2 1   6      Q.    And the asserted patents don't relate to Qorvo's

1 1 : 4 7 : 2 4   7      trimming methods and procedures, correct?

1 1 : 4 7 : 2 6   8      A.    I believe that's correct.

1 1 : 4 7 : 2 7   9      Q.    And the asserted patents don't relate to evaluation

1 1 : 4 7 : 3 1   10     board design rules and schematics, correct?

1 1 : 4 7 : 3 3   11     A.    Correct.

1 1 : 4 7 : 3 3   12     Q.    And the asserted patents don't relate to product

1 1 : 4 7 : 3 4   13     development processes or testing procedures, correct?

1 1 : 4 7 : 3 8   14     A.    Right.

1 1 : 4 7 : 3 8   15     Q.    And they also don't relate to Qorvo's systems for

1 1 : 4 7 : 4 1   16     processes procedures for testing reliability and meantime

1 1 : 4 7 : 4 4   17     to failure, correct?

1 1 : 4 7 : 4 5   18     A.    That's correct.

1 1 : 4 7 : 4 6   19     Q.    And they don't relate to Qorvo's manufacturing

1 1 : 4 7 : 4 8   20     assembly and change procedures, correct?

1 1 : 4 7 : 5 0   21     A.    I believe that's correct.

1 1 : 4 7 : 5 2   22     Q.    And they don't relate to Qorvo's product roadmaps and

1 1 : 4 7 : 5 5   23     product prototypes, correct?

1 1 : 4 7 : 5 7   24     A.    Right.

1 1 : 4 7 : 5 8   25     Q.    And these are all trade secrets that Qorvo has
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1 1 : 4 8 : 0 0   1      alleged Akoustis stole, correct?

1 1 : 4 8 : 0 3   2      A.    Yes.

1 1 : 4 8 : 0 3   3      Q.    Which are unrelated to the asserted patents and the

1 1 : 4 8 : 0 6   4      hypothetical negotiation that the parties would have had

1 1 : 4 8 : 0 8   5      in order to determine a reasonable royalty rate, correct?

1 1 : 4 8 : 1 1   6      A.    Correct.

1 1 : 4 8 : 2 7   7      Q.    I'd like to switch gears and talk about your opinion

1 1 : 4 8 : 2 9   8      that Akoustis avoided spending only $293,000 because it

1 1 : 4 8 : 3 7   9      misappropriated Qorvo's trade secrets.

1 1 : 4 8 : 3 9   10           As we've discussed this morning at length, both with

1 1 : 4 8 : 4 2   11     Mr. Elkins and with me, avoided costs is just one type of

1 1 : 4 8 : 4 8   12     unjust enrichment damage, correct?

1 1 : 4 8 : 4 9   13     A.    Yes.

1 1 : 4 8 : 4 9   14     Q.    And I think you testified earlier that avoided costs

1 1 : 4 8 : 5 6   15     are supposed to measure the operational costs that

1 1 : 4 8 : 5 9   16     Akoustis avoided because it misappropriated Qorvo's trade

1 1 : 4 9 : 0 3   17     secrets, right?

1 1 : 4 9 : 0 4   18     A.    Yes.

1 1 : 4 9 : 0 4   19     Q.    And that includes things like research and

1 1 : 4 9 : 0 6   20     development, correct?

1 1 : 4 9 : 0 7   21     A.    Yes.

1 1 : 4 9 : 0 8   22     Q.    And it can include other types of operating costs

1 1 : 4 9 : 1 1   23     too, correct?

1 1 : 4 9 : 1 2   24     A.    It can.

1 1 : 4 9 : 1 3   25     Q.    So we saw that some of the trade secrets related to
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                                                    Irwin   - Cross

1 1 : 4 9 : 1 6   1      sales and marketing analysis of determining what type of

1 1 : 4 9 : 1 9   2      product to sell.

1 1 : 4 9 : 2 0   3            So those types of expenses would be avoided costs as

1 1 : 4 9 : 2 3   4      well, correct?

1 1 : 4 9 : 2 4   5      A.    Yes.    And to the extent that Dr. Darveaux and

1 1 : 4 9 : 2 7   6      Dr. Lebby identified those, I've included them in my

1 1 : 4 9 : 3 1   7      avoided costs.

1 1 : 4 9 : 3 2   8      Q.    Okay.    And because you don't have the technical

1 1 : 4 9 : 3 4   9      expertise to actually determine the correct number of

1 1 : 4 9 : 3 7   10     engineering hours, and that it would have taken for

1 1 : 4 9 : 4 0   11     Akoustis to perform tasks associated with the

1 1 : 4 9 : 4 4   12     misappropriation, you are relying totally on Dr. Darveaux

1 1 : 4 9 : 4 8   13     and Dr. Lebby for the hours estimates that you include in

1 1 : 4 9 : 5 2   14     your analysis, correct?

1 1 : 4 9 : 5 4   15     A.    Yes.    Absolutely.

1 1 : 4 9 : 5 5   16     Q.    Okay.    And I think we covered earlier that

1 1 : 4 9 : 5 7   17     Dr. Darveaux opined as to engineering hours associated

1 1 : 5 0 : 0 1   18     with Trade Secret Group 2 through 7, correct?

1 1 : 5 0 : 0 3   19     A.    Yes.

1 1 : 5 0 : 0 3   20     Q.    And Dr. Lebby opined as to the engineering hours that

1 1 : 5 0 : 0 8   21     Akoustis avoided under Groups 1 and 8, correct.

1 1 : 5 0 : 1 1   22     A.    Yes.

1 1 : 5 0 : 1 1   23     Q.    And the total number of hours that both Dr. Darveaux

1 1 : 5 0 : 1 5   24     and Lebby collectively opined that Akoustis avoided was

1 1 : 5 0 : 1 9   25     only 1154 hours, correct?
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1 1 : 5 0 : 2 2   1      A.    Correct.

1 1 : 5 0 : 2 4   2      Q.    So to put that number in context for the jury,

1 1 : 5 0 : 2 8   3      Drs. Darveaux and Lebby opined that Akoustis avoided a

1 1 : 5 0 : 3 0   4      cost of a single person working for less than one year

1 1 : 5 0 : 3 4   5      when it took all of Qorvo's information, correct?

1 1 : 5 0 : 3 8   6      A.    I'm going to accept the characterization of "all of

1 1 : 5 0 : 4 1   7      Qorvo's information."      But, yes, that's correct.

1 1 : 5 0 : 4 3   8      Q.    Well, you have to assume misappropriation of trade

1 1 : 5 0 : 4 6   9      secrets as a part of your analysis, correct?

1 1 : 5 0 : 4 8   10     A.    Absolutely.     I just don't know that necessarily

1 1 : 5 0 : 5 1   11     qualifies as, quote, all of Qorvo's information.

1 1 : 5 0 : 5 4   12     Q.    Okay.

1 1 : 5 0 : 5 4   13     A.    So that's the only issue I had with that.

1 1 : 5 0 : 5 7   14     Q.    You first offered your opinions in this case related

1 1 : 5 1 : 0 0   15     to Akoustis' avoided costs in a report that you issued in

1 1 : 5 1 : 0 4   16     November, correct?

1 1 : 5 1 : 0 5   17     A.    December 20th.

1 1 : 5 1 : 0 8   18     Q.    Thank you for the clarification.

1 1 : 5 1 : 1 0   19           So in December of 2023, correct?

1 1 : 5 1 : 1 2   20     A.    Correct.    It was a very busy Thanksgiving and holiday

1 1 : 5 1 : 1 7   21     season for us.

1 1 : 5 1 : 1 9   22     Q.    And you didn't read Dr. Darveaux's and Lebby's

1 1 : 5 1 : 2 1   23     reports before you relied upon their hours estimates to

1 1 : 5 1 : 2 5   24     calculate Akoustis' avoided costs, correct?

1 1 : 5 1 : 2 7   25     A.    Correct.    They were issued at the same time as mine,
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1 1 : 5 1 : 3 1   1      on December 20th.

1 1 : 5 1 : 3 3   2      Q.    And you also never spoke to either Dr. Darveaux or

1 1 : 5 1 : 3 5   3      Dr. Lebby before you relied upon their hours estimates to

1 1 : 5 1 : 4 0   4      determine Akoustis' avoided costs, correct?

1 1 : 5 1 : 4 2   5      A.    I did not, but my -- members of my team did.

1 1 : 5 1 : 4 4   6      Q.    Okay.   You didn't have a direct phone call with

1 1 : 5 1 : 4 5   7      Dr. Darveaux or Dr. Lebby in order to understand the hours

1 1 : 5 1 : 4 9   8      estimates that you were inputting into your damage model,

1 1 : 5 1 : 5 2   9      correct?

1 1 : 5 1 : 5 2   10     A.    Again, I did not, my team did.

1 1 : 5 1 : 5 4   11     Q.    Okay.

1 1 : 5 1 : 5 4   12     A.    I didn't speak with them until before my deposition.

1 1 : 5 2 : 0 0   13     Q.    So before you issued your report, you never asked

1 1 : 5 2 : 0 5   14     Dr. Darveaux to explain the hours estimates that he was

1 1 : 5 2 : 0 8   15     providing to you for purposes of your avoided costs

1 1 : 5 2 : 1 1   16     analysis, correct?

1 1 : 5 2 : 1 3   17     A.    I didn't speak with him personally, but my team

1 1 : 5 2 : 1 7   18     explained to me the substance of their conversations with

1 1 : 5 2 : 1 9   19     both Dr. Darveaux and Dr. Lebby.        And I should put into

1 1 : 5 2 : 2 3   20     context that my team collectively has 30 years of

1 1 : 5 2 : 2 6   21     experience, as do I.

1 1 : 5 2 : 2 9   22     Q.    But they don't have 30 years of experience in the BAW

1 1 : 5 2 : 3 1   23     filter industry, correct?

1 1 : 5 2 : 3 2   24     A.    No, but they do understand how to establish a

1 1 : 5 2 : 3 7   25     reasonable basis to accept information from other experts.
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                                                    Irwin   - Cross

1 1 : 5 2 : 4 2   1      Q.    But you don't know specifically what conversations

1 1 : 5 2 : 4 4   2      your team actually had with Dr. Darveaux and Dr. Lebby in

1 1 : 5 2 : 4 8   3      order to determine whether or not it was reasonable or

1 1 : 5 2 : 5 1   4      appropriate to rely upon the hours estimates they provided

1 1 : 5 2 : 5 4   5      to you, correct?

1 1 : 5 2 : 5 5   6      A.    I would say I had a reasonable basis to accept those

1 1 : 5 2 : 5 9   7      numbers based on my discussions with my team, as well as

1 1 : 5 3 : 0 3   8      my confidence in my team, and their skills and their

1 1 : 5 3 : 0 6   9      experience and education.

1 1 : 5 3 : 0 8   10     Q.    You understand that Dr. Darveaux's opinion, which I

1 1 : 5 3 : 1 1   11     think he expressed yesterday to the jury, is that none of

1 1 : 5 3 : 1 5   12     the documents that Qorvo has entered into evidence contain

1 1 : 5 3 : 1 9   13     trade secrets, correct?

1 1 : 5 3 : 2 0   14     A.    Correct.

1 1 : 5 3 : 2 1   15     Q.    And his hours estimates that he provided to you are

1 1 : 5 3 : 2 4   16     based upon that opinion, correct?

1 1 : 5 3 : 2 7   17     A.    Incorrect.    Incorrect.

1 1 : 5 3 : 3 1   18     Q.    Okay.   Let's go look at what Dr. Darveaux said about

1 1 : 5 3 : 3 4   19     his hours estimates.

1 1 : 5 3 : 3 5   20                   MS. AYERS:   Can you please pull up DDX-3.75.

1 1 : 5 3 : 5 1   21     BY MS. AYERS:

1 1 : 5 3 : 5 1   22     Q.    This is the hours estimate that Dr. Darveaux opined

1 1 : 5 3 : 5 6   23     to yesterday in front of the jury, correct?

1 1 : 5 3 : 5 8   24     A.    Yes.

1 1 : 5 3 : 5 9   25     Q.    And it specifically states that none of the documents
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                                                    Irwin   - Cross

1 1 : 5 4 : 0 2   1      and information that Qorvo identified as containing trade

1 1 : 5 4 : 0 7   2      secret information was, in fact, an actual trade secret,

1 1 : 5 4 : 1 0   3      correct?

1 1 : 5 4 : 1 1   4      A.    Those -- that's what's reflected under the Trade

1 1 : 5 4 : 1 4   5      Secret and Head Start.      But if you look at the Saved Cost,

1 1 : 5 4 : 1 7   6      there's an asterisk.      And down below, it says -- the

1 1 : 5 4 : 2 0   7      asterisk indicates that these estimates are assuming the

1 1 : 5 4 : 2 4   8      category contains trade secrets.

1 1 : 5 4 : 2 5   9      Q.    Let's talk about his estimates.

1 1 : 5 4 : 2 7   10           So Dr. Darveaux's estimate is that Akoustis saved

1 1 : 5 4 : 3 2   11     eight hours, a single engineering workday, when it

1 1 : 5 4 : 3 8   12     misappropriated all of the information associated with

1 1 : 5 4 : 4 1   13     Qorvo's trimming methods and procedures, correct?

1 1 : 5 4 : 4 4   14     A.    Yes.    Based on his many years of expertise, that's

1 1 : 5 4 : 4 8   15     correct.

1 1 : 5 4 : 4 9   16     Q.    And, for example, Dr. Darveaux opined that Akoustis

1 1 : 5 4 : 5 3   17     saved only 16 hours, so two engineering workdays, when it

1 1 : 5 4 : 5 7   18     misappropriated Qorvo's systems and processes and

1 1 : 5 5 : 0 1   19     procedures for testing reliability and meantime to failure

1 1 : 5 5 : 0 4   20     of parts, correct?

1 1 : 5 5 : 0 5   21     A.    Yes.    Again, based on his experience, he came up with

1 1 : 5 5 : 0 8   22     those estimates.

1 1 : 5 5 : 0 9   23     Q.    Okay.    And those estimates were in part based upon

1 1 : 5 5 : 1 1   24     the availability of public information that Dr. Darveaux

1 1 : 5 5 : 1 5   25     claims covers Qorvo's trade secrets, correct?
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1 1 : 5 5 : 1 8   1      A.    Yes.    I'm not going to recite all of his testimony.

1 1 : 5 5 : 2 2   2      But, yes, I sat through his testimony, and that's my

1 1 : 5 5 : 2 5   3      understanding, correct.

1 1 : 5 5 : 2 7   4      Q.    So the total number of hours that Dr. Darveaux opined

1 1 : 5 5 : 3 0   5      Akoustis saved for Groups 2 through 7 is just 194, right?

1 1 : 5 5 : 3 7   6      A.    That's correct.

1 1 : 5 5 : 3 7   7      Q.    The vast majority of all of the hours that are

1 1 : 5 5 : 4 0   8      included in your avoided costs analysis come from Groups 1

1 1 : 5 5 : 4 5   9      and 8 from Dr. Lebby, correct?

1 1 : 5 5 : 4 7   10     A.    Correct.

1 1 : 5 5 : 4 7   11     Q.    Okay.    And the 194 engineering hours is basically

1 1 : 5 5 : 5 2   12     six weeks of work for a single human being, correct?

1 1 : 5 5 : 5 6   13     A.    I can do the math, but I will accept that, yes.

1 1 : 5 5 : 5 8   14     Q.    If the jury disagrees with Dr. Darveaux and concludes

1 1 : 5 6 : 0 2   15     that the information in Qorvo's documents were trade

1 1 : 5 6 : 0 6   16     secrets that would have taken Akoustis much longer than

1 1 : 5 6 : 1 0   17     eight hours in order to replicate in some form or fashion

1 1 : 5 6 : 1 5   18     or independently develop, then you haven't really

1 1 : 5 6 : 1 8   19     calculated the harm to Qorvo and the unjust enrichment

1 1 : 5 6 : 2 4   20     benefit that Akoustis received from its misappropriation,

1 1 : 5 6 : 2 7   21     correct?

1 1 : 5 6 : 2 7   22     A.    That's correct.     I mean, I assume and I believe the

1 1 : 5 6 : 3 2   23     jury, based on whatever instruction is given, can take my

1 1 : 5 6 : 3 5   24     analysis and adjust it however they see fit.          So that's

1 1 : 5 6 : 3 8   25     why I give all the detail I give, so that that information
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1 1 : 5 6 : 4 1   1      can be used.

1 1 : 5 6 : 4 3   2      Q.    So if the jury determines that Akoustis saved more

1 1 : 5 6 : 4 6   3      than eight hours when it misappropriated Qorvo's trimming

1 1 : 5 6 : 5 0   4      methods and procedures, your analysis and your calculation

1 1 : 5 6 : 5 4   5      of the avoided costs that Akoustis was able to have is

1 1 : 5 6 : 5 9   6      incorrect, correct?

1 1 : 5 7 : 0 1   7      A.    Yes.    It would be too low, and it would need to

1 1 : 5 7 : 0 3   8      increase based on whatever information and conclusions the

1 1 : 5 7 : 0 6   9      jury comes to.

1 1 : 5 7 : 0 7   10     Q.    And the same concept applies to Dr. Lebby as well.

1 1 : 5 7 : 1 1   11     If the jury rejects Dr. Lebby's opinions about the total

1 1 : 5 7 : 1 5   12     number of hours it would have taken to replicate all of

1 1 : 5 7 : 1 8   13     work that went into creating the trade secret information

1 1 : 5 7 : 2 3   14     that was part of Groups 1 and 8, you haven't provided

1 1 : 5 7 : 2 6   15     mathematical calculation for what Akoustis saved in

1 1 : 5 7 : 3 1   16     avoided costs, correct?

1 1 : 5 7 : 3 2   17     A.    Correct.    If you change the inputs, my output would

1 1 : 5 7 : 3 5   18     change.    That's just the way the calculation works.

1 1 : 5 7 : 3 7   19     Q.    Okay.    And so even though Tony Testa testified that

1 1 : 5 7 : 3 9   20     just for one trade secret group, Group 8, that Qorvo spent

1 1 : 5 7 : 4 3   21     two years developing the information that related to, for

1 1 : 5 7 : 4 7   22     example, the QPQ2200, you're relying completely on

1 1 : 5 7 : 5 3   23     Dr. Lebby's analysis that that entire group is only worth

1 1 : 5 7 : 5 7   24     400 hours as a part of your damages calculation, correct?

1 1 : 5 8 : 0 0   25     A.    Correct.    I'll also add that Ms. Bennis didn't
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1 1 : 5 8 : 0 5   1      conduct an avoided cost analysis, which, based on those

1 1 : 5 8 : 0 7   2      kind of records, could have been done, but she didn't

1 1 : 5 8 : 1 0   3      choose that methodology.

1 1 : 5 8 : 1 1   4      Q.    Okay.   And I think kind of in sum, you haven't

1 1 : 5 8 : 1 4   5      calculated the harm to Qorvo in the unjust enrichment

1 1 : 5 8 : 1 7   6      benefit that Akoustis received if the jury fundamentally

1 1 : 5 8 : 2 1   7      disagrees with Dr. Darveaux and Dr. Lebby's hours

1 1 : 5 8 : 2 4   8      estimates, correct?

1 1 : 5 8 : 2 5   9      A.    Correct.    That would be -- I mean, obviously, my

1 1 : 5 8 : 2 8   10     opinion is that the head-start methodology is incorrect

1 1 : 5 8 : 3 1   11     until you at least account for costs.         And there are no

1 1 : 5 8 : 3 5   12     profits.    And if they disagreed with the avoided costs

1 1 : 5 8 : 3 9   13     methodology or the inputs, then, yes, that's correct.

1 1 : 5 8 : 4 2   14     Q.    Okay.

1 1 : 5 8 : 4 3   15                   MS. AYERS:   I have no further questions,

1 1 : 5 8 : 4 4   16     Your Honor.

1 1 : 5 8 : 4 5   17                   THE COURT:   Redirect.

1 1 : 5 8 : 4 6   18                            REDIRECT EXAMINATION

1 1 : 5 8 : 4 8   19     BY MR. ELKINS:

1 1 : 5 8 : 5 3   20     Q.    Ms. Irwin, I will be brief, although I'm sure you've

1 1 : 5 8 : 5 5   21     heard that from lawyers in the past.

1 1 : 5 8 : 5 9   22     A.    Unfortunately, yes.

1 1 : 5 9 : 0 0   23     Q.    Well, hopefully, I will prove that correct.

1 1 : 5 9 : 0 6   24           Ms. Ayers asked you, or she proposed that -- what's

1 1 : 5 9 : 1 0   25     the difference between the defendants' profits measure of
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1 1 : 5 9 : 1 6   1      unjust enrichment, if you're simply going to insist that

1 1 : 5 9 : 2 0   2      the head start benefit also be measured by loss -- by the

1 1 : 5 9 : 2 6   3      defendants accelerated profits?

1 1 : 5 9 : 2 9   4            Can you -- is there a difference, and if so, can you

1 1 : 5 9 : 3 1   5      explain it?

1 1 : 5 9 : 3 2   6      A.    Sorry.      I want to make sure I understand.      Is there a

1 1 : 5 9 : 3 5   7      difference between defendants' profits and accelerated

1 1 : 5 9 : 3 8   8      profits?

1 1 : 5 9 : 3 8   9      Q.    Correct.      As an unjust enrichment measure.

1 1 : 5 9 : 4 1   10     A.    So just comparing those two methodologies, there's

1 1 : 5 9 : 4 5   11     slightly different but-for world assumption in defendants'

1 1 : 5 9 : 4 8   12     profits.    That assumption is the defendant never would

1 1 : 5 9 : 5 1   13     have been able to enter the market, in which case you

1 1 : 5 9 : 5 5   14     would look at all of the expenses in that.           Which, again,

1 1 : 5 9 : 5 8   15     is negative.       It's even more negative; it's like hundreds

1 2 : 0 0 : 0 2   16     of millions of dollars.

1 2 : 0 0 : 0 4   17           But those are both appropriate measures, but in

1 2 : 0 0 : 0 8   18     both -- under both of those scenarios, damages would be

1 2 : 0 0 : 1 1   19     negative in this case based on the facts, and that's a

1 2 : 0 0 : 1 4   20     nonsensical conclusion, indicating to me that those aren't

1 2 : 0 0 : 1 7   21     the right methodologies to consider.

1 2 : 0 0 : 1 9   22     Q.    But the difference between them is that in -- when

1 2 : 0 0 : 2 1   23     you're calculating the defendants' unjust enrichment

1 2 : 0 0 : 2 7   24     benefit by looking at his lost profits, you are including

1 2 : 0 0 : 3 2   25     an additional layer of costs versus because of the
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1 2 : 0 0 : 3 7   1      assumption that the defendant would never have entered the

1 2 : 0 0 : 4 0   2      market, versus the head start unjust enrichment benefit

1 2 : 0 0 : 4 6   3      theory, which doesn't carry that assumption?

1 2 : 0 0 : 5 0   4      A.     That's correct.    Yeah.   There's a slightly different

1 2 : 0 0 : 5 2   5      assumption between those two unjust enrichment measures.

1 2 : 0 0 : 5 9   6      The defendants' profits only would be a scenario where you

1 2 : 0 1 : 0 3   7      have somebody who has taken unjust -- taken trade secrets

1 2 : 0 1 : 0 7   8      and misappropriated them who never would have been able to

1 2 : 0 1 : 1 0   9      get into this business ever, never, ever, ever.

1 2 : 0 1 : 1 4   10            And so they would look at, basically, the net income

1 2 : 0 1 : 1 5   11     of the entire company, and take that and treat that as the

1 2 : 0 1 : 1 9   12     benefit of the defendants' caused -- based on the use of

1 2 : 0 1 : 2 5   13     the trade secrets.

1 2 : 0 1 : 2 6   14     Q.     Okay.   And you testified that you've sat through all

1 2 : 0 1 : 3 2   15     of the testimony and evidence in court, or when you were

1 2 : 0 1 : 3 6   16     ill, you read the daily transcripts that we provided to

1 2 : 0 1 : 4 0   17     you?

1 2 : 0 1 : 4 0   18     A.     Correct.

1 2 : 0 1 : 4 2   19     Q.     Are you aware of any record evidence at all from this

1 2 : 0 1 : 4 6   20     trial, from which one could reasonably conclude that

1 2 : 0 1 : 5 2   21     Akoustis' acquisitions of RFMI and GDSI were driven by

1 2 : 0 1 : 5 9   22     trade secret misappropriation from Qorvo?

1 2 : 0 2 : 0 2   23     A.     No, that information is not available.        I have seen

1 2 : 0 2 : 0 5   24     nothing that indicates that that could be the reason for

1 2 : 0 2 : 0 8   25     those acquisitions, or enable those acquisitions.
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1 2 : 0 2 : 1 1   1      Q.    Okay.    And they know when we talk about unjust

1 2 : 0 2 : 1 3   2      enrichment as a theory of recovery versus actual harm to

1 2 : 0 2 : 1 8   3      the plaintiff, which Qorvo does not allege, but when we

1 2 : 0 2 : 2 2   4      talk about unjust enrichment, are we talking about harm to

1 2 : 0 2 : 2 6   5      Qorvo or benefit to Akoustis?

1 2 : 0 2 : 2 9   6      A.    It's benefit to Akoustis that, based on use of the

1 2 : 0 2 : 3 2   7      assumed trade secret status, misappropriation and use of

1 2 : 0 2 : 3 5   8      the trade secrets.

1 2 : 0 2 : 3 7   9      Q.    So when Ms. Ayers was referring to avoided costs

1 2 : 0 2 : 4 1   10     being a measure of the harm to Qorvo, is that actually the

1 2 : 0 2 : 4 5   11     benefit to Akoustis from being able to save money that it

1 2 : 0 2 : 5 1   12     otherwise would have spent on creating the technology that

1 2 : 0 2 : 5 7   13     it didn't have to create because of the alleged trade

1 2 : 0 3 : 0 1   14     secret misappropriation and use?

1 2 : 0 3 : 0 3   15     A.    Yes.    If she -- she said was that it was harm to

1 2 : 0 3 : 0 7   16     Qorvo, I missed that in her question.         The avoided costs

1 2 : 0 3 : 1 1   17     is only looking at any benefit to Akoustis from the trade

1 2 : 0 3 : 1 5   18     secret status misappropriation and use of the trade

1 2 : 0 3 : 1 8   19     secrets.

1 2 : 0 3 : 1 8   20     Q.    Thank you.

1 2 : 0 3 : 1 9   21                   MR. ELKINS:    Those are all the questions I

1 2 : 0 3 : 2 1   22     have.

1 2 : 0 3 : 2 1   23                   THE COURT:    All right.   Well, thank you very

1 2 : 0 3 : 2 2   24     much.   And we'll have you may step down.

1 2 : 0 3 : 2 6   25                   I will turn to the defense, will there be any
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1 2 : 0 3 : 2 8   1      additional evidence from the defense?

1 2 : 0 3 : 3 1   2                   MR. ELKINS:    No, Your Honor.       We rest.

1 2 : 0 3 : 3 2   3                   THE COURT:    All right.

1 2 : 0 3 : 3 3   4                   Will there be any additional evidence from the

1 2 : 0 3 : 3 5   5      plaintiff?

1 2 : 0 3 : 3 7   6                   MR. MASTERS:     No, Your Honor.

1 2 : 0 3 : 3 8   7                   THE COURT:    All right.    Ladies and gentlemen,

1 2 : 0 3 : 4 0   8      the parties have rested their case.        We'll have the final

1 2 : 0 3 : 4 6   9      arguments of counsel and the final instructions on the

1 2 : 0 3 : 4 8   10     law.

1 2 : 0 3 : 4 9   11                  Time has slipped a little bit, but that's okay.

1 2 : 0 3 : 5 4   12     It is 12:03, so we are going to take our lunch break at

1 2 : 0 4 : 0 1   13     this time.    We will plan on coming back at 12:50, giving

1 2 : 0 4 : 0 6   14     people two extra minutes.       And at that time, we will have

1 2 : 0 4 : 0 9   15     closing arguments in the case.

1 2 : 0 4 : 1 1   16                  We will take a break after that, and we'll have

1 2 : 0 4 : 1 2   17     final instructions after closing arguments.

1 2 : 0 4 : 1 6   18                  You all may be excused, but, of course, do not

1 2 : 0 4 : 1 9   19     discuss the case amongst yourself.        Don't let anyone talk

1 2 : 0 4 : 2 2   20     to you about it so you can keep an open mind.           You still

1 2 : 0 4 : 2 5   21     have a ways to go.      I will let you be excused to the jury

1 2 : 0 4 : 2 8   22     room.    Thank you.

1 2 : 0 4 : 2 9   23            (The jury exits the courtroom at 12:04 p.m.)

1 2 : 0 4 : 5 9   24                  THE COURT:    Everybody can be seated.       We are

1 2 : 0 5 : 0 0   25     going to get the time count, just so everybody is clear on
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1 2 : 0 5 : 0 2   1      how much time each of you has remaining.          And we will have

1 2 : 0 5 : 0 4   2      that in just a moment I think.

1 2 : 0 5 : 1 2   3                   Plaintiff has how much time remaining if we can

1 2 : 0 5 : 1 4   4      tell?   It may take a second.      If we need to delay on that,

1 2 : 0 5 : 2 2   5      I can let everybody do that after I'm off the bench.           Will

1 2 : 0 5 : 2 6   6      that be easier?     We'll do that.

1 2 : 0 5 : 2 8   7                   So you will each get your time count, and when

1 2 : 0 5 : 3 1   8      we come back, I assume there will be some desire by the

1 2 : 0 5 : 3 6   9      plaintiff to reserve some portion of their time -- well,

1 2 : 0 5 : 4 0   10     let's wait and see what you've got left -- for rebuttal.

1 2 : 0 5 : 4 4   11     I think that's everything we need to do right now.

1 2 : 0 5 : 4 6   12     Anything else?     You should all have, again, a full set of

1 2 : 0 5 : 4 9   13     instructions.     You should have the Word -- or you should

1 2 : 0 5 : 5 2   14     have a copy of that, probably in PDF form.          Of course, you

1 2 : 0 5 : 5 5   15     can use those.     You have -- I want to make sure I've got

1 2 : 0 5 : 5 9   16     the final exhibit.      I just haven't seen it yet.       We don't

1 2 : 0 6 : 0 4   17     have trade secret exhibit yet?        Oh, I don't like that.

1 2 : 0 6 : 0 7   18     That's not good.

1 2 : 0 6 : 0 9   19                  MR. MASTERS:     Your Honor, if I may just let

1 2 : 0 6 : 1 3   20     defendants address the Court on that point.          We've sent

1 2 : 0 6 : 1 6   21     the list.    It's over waiting for their confirmation.

1 2 : 0 6 : 1 9   22                  THE COURT:    I think I heard there was an

1 2 : 0 6 : 2 1   23     agreement already on that.

1 2 : 0 6 : 2 3   24                  Mr. Lemieux, looks like you are on first base

1 2 : 0 6 : 2 5   25     or whatever it is.
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1 2 : 0 6 : 2 7   1                   MR. LEMIEUX:      There is agreement on the form,

1 2 : 0 6 : 2 8   2      Your Honor.       We were just checking to make sure that the

1 2 : 0 6 : 3 1   3      exhibits that are referenced in this document were proper.

1 2 : 0 6 : 3 4   4      And before the examination of Ms. Irwin, I was told on my

1 2 : 0 6 : 3 8   5      team they just had two of the eight sections left to

1 2 : 0 6 : 4 0   6      check, and hopefully by now, that's been finished.

1 2 : 0 6 : 4 4   7                   THE COURT:     Looks like I saw a nod that looks

1 2 : 0 6 : 4 6   8      affirmative on that -- I got two nods of affirmative.

1 2 : 0 6 : 5 6   9                   MR. LEMIEUX:      We've got to talk a little bit.

1 2 : 0 6 : 5 7   10     I think we are very close and we should have it

1 2 : 0 6 : 5 9   11     momentarily.       It sounds like they've identified a couple

1 2 : 0 7 : 0 2   12     of items I need to discuss with Mr. Masters.

1 2 : 0 7 : 0 3   13                  THE COURT:     Well, we can do close.      Actually, I

1 2 : 0 7 : 0 5   14     will have to stay here and make sure this is ironed out.

1 2 : 0 7 : 0 8   15     I can't not do that.       It would be probably unfair to the

1 2 : 0 7 : 1 2   16     parties.    So why don't you all confer real quickly, and

1 2 : 0 7 : 1 5   17     we'll do some more calculations on the time.

1 2 : 0 7 : 1 9   18                  MR. ELKINS:     One other issue, Your Honor, which

1 2 : 0 7 : 2 0   19     is the formality of the Rule 50 motions at the close of

1 2 : 0 7 : 2 5   20     evidence.    Just wanted to see what your preference is for

1 2 : 0 7 : 2 9   21     handling that.

1 2 : 0 7 : 3 2   22                  THE COURT:     Well, it has to be in conformance

1 2 : 0 7 : 3 7   23     with Third Circuit requirements for Rule 50 motion.            I

1 2 : 0 7 : 4 0   24     know that that varies a little bit, not a whole lot,

1 2 : 0 7 : 4 4   25     circuit to circuit.
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1 2 : 0 7 : 5 0   1                   I think it's pretty plain or pretty clear that

1 2 : 0 7 : 5 4   2      we have, along the way -- I have considerable relief in

1 2 : 0 8 : 0 1   3      terms of what could have been Rule 50s, but they've been

1 2 : 0 8 : 0 6   4      narrowed down.     We've actually gotten rid of almost

1 2 : 0 8 : 0 9   5      everything that Rule 50 would normally relate to.           And on

1 2 : 0 8 : 1 1   6      the other matters that remain, which are limited, it does

1 2 : 0 8 : 1 6   7      not appear that there is a basis to grant Rule 50 relief.

1 2 : 0 8 : 2 0   8      But do you have a suggestion as to how you want to handle

1 2 : 0 8 : 2 5   9      your presentation?

1 2 : 0 8 : 2 6   10                  MR. ELKINS:    Well, my presentation would be

1 2 : 0 8 : 2 8   11     incredibly short, which would simply be for purposes of

1 2 : 0 8 : 3 3   12     making -- ensuring that we've made the record vis-a-vis

1 2 : 0 8 : 3 7   13     the first Rule 50 motion we previously made in connection

1 2 : 0 8 : 4 2   14     with the combination of Ms. Bennis' opinion with

1 2 : 0 8 : 4 7   15     Dr. Shanfield's head start opinion.

1 2 : 0 8 : 4 9   16                  I don't have anything to say that I didn't say

1 2 : 0 8 : 5 1   17     before, Your Honor, but I'm compelled to simply reurge it

1 2 : 0 8 : 5 5   18     for purposes of the record.        And I thought I heard

1 2 : 0 8 : 5 7   19     Mr. Masters saying something about a Rule 50 motion that

1 2 : 0 9 : 0 2   20     the plaintiff might have, but obviously he can speak to

1 2 : 0 9 : 0 5   21     that himself.

1 2 : 0 9 : 0 6   22                  THE COURT:    Okay.   Well, I understand what the

1 2 : 0 9 : 1 0   23     record is on the defense Rule 50 motion.

1 2 : 0 9 : 1 4   24                  Yes, sir, Mr. Masters.

1 2 : 0 9 : 1 5   25                  MR. MASTERS:     So on the plaintiff's side, Your
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1 2 : 0 9 : 1 6   1      Honor, we make a Rule 50 motion with respect to the trade

1 2 : 0 9 : 2 1   2      secret issues in two respects.

1 2 : 0 9 : 2 4   3                   The first is that plaintiff put forward and

1 2 : 0 9 : 2 9   4      established the existence -- existence of Trade Secret

1 2 : 0 9 : 3 3   5      Groups 1 and 8 and the misappropriation of those groups,

1 2 : 0 9 : 3 6   6      and that went in through Mr. Testa and Dr. Shanfield, and

1 2 : 0 9 : 4 1   7      it was unrebutted in the defense case.

1 2 : 0 9 : 4 5   8                   And the second issue relates to Qorvo having

1 2 : 0 9 : 4 8   9      established reasonable measures to secure its trade

1 2 : 0 9 : 5 1   10     secrets.    That went in, in Qorvo's case in chief through

1 2 : 0 9 : 5 6   11     Qorvo's chief information security officer, Michael Boyd,

1 2 : 1 0 : 0 0   12     and Qorvo's expert, Mr. Robinson.        That reasonable

1 2 : 1 0 : 0 7   13     security measures was also unrebutted in the defendants'

1 2 : 1 0 : 1 0   14     case.

1 2 : 1 0 : 1 1   15                  I have a motion here, Your Honor, if I may

1 2 : 1 0 : 1 3   16     approach and hand the Court a copy.

1 2 : 1 0 : 1 7   17                  THE COURT:    Yes, that's fine.

1 2 : 1 0 : 3 2   18                  The motion has been handed to the Court, and it

1 2 : 1 0 : 3 3   19     will be docketed in the record.        And we need to allow the

1 2 : 1 0 : 3 9   20     defense to respond to that in like format.          So I'm going

1 2 : 1 0 : 4 7   21     to have to take this under advisement until I get the

1 2 : 1 0 : 5 1   22     response, which I'm not expecting today.          I understand we

1 2 : 1 0 : 5 5   23     have a few things to finish, but I will need it promptly.

1 2 : 1 1 : 0 0   24                  In this case, and I'm not ruling on this at

1 2 : 1 1 : 0 3   25     this time, but in this case, on the question of the trade
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1 2 : 1 1 : 0 6   1      secret, the existence of trade secrets and refers to the

1 2 : 1 1 : 0 9   2      reasonable steps.      These are questions that would normally

1 2 : 1 1 : 1 3   3      be presented to the jury.

1 2 : 1 1 : 1 5   4                   Now, I'm going to read -- I haven't had a

1 2 : 1 1 : 1 7   5      chance to review the memo, and it may convince me to the

1 2 : 1 1 : 2 3   6      contrary, but at this point, I'm going to take it under

1 2 : 1 1 : 2 8   7      advisement, with that piece of advice, which is that these

1 2 : 1 1 : 3 0   8      look like issues that would go to the jury.            I just have

1 2 : 1 1 : 3 5   9      to wait.    I just have to wait on this.          And I will look at

1 2 : 1 1 : 3 9   10     it, but I'm not going to try to resolve, ultimately, until

1 2 : 1 1 : 4 3   11     after the defense has had a chance to respond in writing.

1 2 : 1 1 : 4 6   12     And they won't have a chance to do that until sometime

1 2 : 1 1 : 5 1   13     reasonably soon, and we'll talk about that later, after

1 2 : 1 1 : 5 4   14     they've had a chance to think about it.           We'll handle it

1 2 : 1 1 : 5 6   15     that way.

1 2 : 1 1 : 5 7   16                  Thank you very much.      And I'm going to hand

1 2 : 1 1 : 5 9   17     this to Ms. Currier and she will actually docket -- not

1 2 : 1 2 : 0 1   18     now, but it will be a little later.

1 2 : 1 2 : 0 6   19                  Anything else?

1 2 : 1 2 : 0 8   20                  MR. MASTERS:     Just one quick issue with respect

1 2 : 1 2 : 1 0   21     to the trial exhibits.      We would ask Your Honor to have

1 2 : 1 2 : 1 3   22     the clerk seal those exhibits, which I understand --

1 2 : 1 2 : 1 6   23                  THE COURT:    Yes, that is correct.        Most of

1 2 : 1 2 : 1 8   24     this -- much of this material has been classified as trade

1 2 : 1 2 : 2 2   25     secret and/or at least confidential.         And we understand
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1 2 : 1 2 : 2 6   1      the problems created by not doing that, so we're

1 2 : 1 2 : 2 9   2      definitely going to do that in this case.          We will take

1 2 : 1 2 : 3 1   3      care of that.

1 2 : 1 2 : 3 3   4                   MR. MASTERS:     Thank you.

1 2 : 1 2 : 3 3   5                   THE COURT:    I know that everyone will be

1 2 : 1 2 : 3 8   6      working on getting that set of materials together in the

1 2 : 1 2 : 4 1   7      next couple hours.

1 2 : 1 2 : 4 3   8                   Now let's go back and get a time count, if we

1 2 : 1 2 : 4 5   9      have one.    We are adding the time.

1 2 : 1 2 : 4 9   10                  THE CLERK:    Plaintiffs still have 2 hours,

1 2 : 1 2 : 5 0   11     16 minutes, and 52 seconds left.        Defendants have 1 hour,

1 2 : 1 2 : 5 5   12     52 minutes, and 42 seconds left.

1 2 : 1 3 : 0 0   13                  THE COURT:    Okay.   That means that we obviously

1 2 : 1 3 : 0 1   14     have plenty of time for both sides.        Hopefully, you won't

1 2 : 1 3 : 0 5   15     take all of the time.      But you have plenty of time.       I

1 2 : 1 3 : 0 7   16     just wanted to make sure that you were aware of the time

1 2 : 1 3 : 1 0   17     count.

1 2 : 1 3 : 1 1   18                  Okay.    We do need to let everybody take that

1 2 : 1 3 : 1 3   19     break.    And so it will be shorter than anticipated.         And I

1 2 : 1 3 : 1 6   20     take it that that Mr. DeFosse will, perhaps, join us for

1 2 : 1 3 : 2 4   21     the next portion of the case.

1 2 : 1 3 : 2 5   22                  MR. MASTERS:     Well, we're hoping.     We've got to

1 2 : 1 3 : 2 5   23     make sure he's up.

1 2 : 1 3 : 2 6   24                  THE COURT:    Well, Ms. Ayers is all ready.

1 2 : 1 3 : 2 8   25     She's all set.
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1 2 : 1 3 : 2 9   1                   So, Mr. Masters, that will be fine, I'm sure.

1 2 : 1 3 : 3 5   2                   MS. AYERS:    I might have a bone to pick with

1 2 : 1 3 : 3 8   3      Mr. DeFosse if he doesn't show up, Your Honor.

1 2 : 1 3 : 4 0   4                   THE COURT:    I understand.     Thank you all very

1 2 : 1 3 : 4 0   5      much.   And we will go directly, then -- I think I

1 2 : 1 3 : 4 0   6      understand that, Mr. Elkins, you will handle the entire

1 2 : 1 3 : 4 5   7      portion, obviously, of the defendants close.

1 2 : 1 3 : 4 8   8                   MR. ELKINS:    I will.

1 2 : 1 3 : 4 8   9                   THE COURT:    And so I'll -- you know, I'm just

1 2 : 1 3 : 4 9   10     going to turn to you and say, "Does the defense wish to

1 2 : 1 3 : 5 1   11     make a closing argument," and I understand the answer will

1 2 : 1 3 : 5 4   12     be "Yes."

1 2 : 1 3 : 5 5   13                  MR. ELKINS:    Yes.

1 2 : 1 3 : 5 5   14                  THE COURT:    Good deal.    Thank you all very

1 2 : 1 3 : 5 7   15     much.

1 2 : 1 3 : 5 7   16           (Whereupon, a recess is taken.)

1 2 : 4 8 : 5 5   17                  THE COURT:    What we will do, the stipulated

1 2 : 4 8 : 5 7   18     facts, they begin on Page 6 to 10.        We're just going to go

1 2 : 4 8 : 5 9   19     ahead and cut and paste those into a document, which will

1 2 : 4 9 : 0 2   20     say, "Stipulated Facts."       And then I'm going to put a

1 2 : 4 9 : 0 6   21     signature line for both sides.

1 2 : 4 9 : 0 7   22                  Now, we stipulated to them a long time ago, so

1 2 : 4 9 : 1 0   23     it's not anything new.      And it will be exactly what's in

1 2 : 4 9 : 1 3   24     the pretrial order.      But they're long.        They're fairly

1 2 : 4 9 : 1 6   25     long.   And I will decide if I'm going to read the full set
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1 2 : 4 9 : 2 0   1      of stipulated facts to the panel.        And I usually do, and I

1 2 : 4 9 : 2 4   2      probably will.     But they are rather long.       So that will be

                  3      a change.

1 2 : 4 9 : 3 2   4                   We will have a change a little bit there to get

1 2 : 4 9 : 3 5   5      that in correctly.      But you can use the stipulated facts

1 2 : 4 9 : 3 9   6      in argument, certainly.

1 2 : 4 9 : 4 0   7                   MR. MASTERS:     Your Honor, the uncontested facts

1 2 : 4 9 : 4 1   8      include references to prior art and invalidity.

1 2 : 4 9 : 4 6   9                   THE COURT:    They do.    I know it's a problem.

1 2 : 4 9 : 4 9   10     We can take those out.      I just, I understood that we would

1 2 : 4 9 : 5 2   11     be getting them.      Not your fault.    We'll just get it

1 2 : 4 9 : 5 5   12     straightened out.      Sometimes those things happen.       This is

1 2 : 4 9 : 5 7   13     like a -- what we do all the time.

1 2 : 5 0 : 0 1   14                  All right.    But I do need the materials back

1 2 : 5 0 : 0 3   15     from everybody very promptly, and then we're going to have

1 2 : 5 0 : 0 6   16     to mark them very quickly.       So I may need you to check

1 2 : 5 0 : 1 3   17     around, but I do need those papers back.

1 2 : 5 0 : 1 6   18                  If you'll look, you can take a look at them.

1 2 : 5 0 : 1 7   19     Mr. Masters, since you're all through for the today, I

1 2 : 5 0 : 2 0   20     will let you -- if you don't mind being in charge of that.

1 2 : 5 0 : 2 7   21     You and Mr. Lemieux are now on coasting, so let's make

1 2 : 5 0 : 2 9   22     sure we get those from you.

1 2 : 5 0 : 3 1   23                  Okay.    I think we're very close.

1 2 : 5 0 : 3 6   24                  Mr. DeFosse, are you ready to proceed?

1 2 : 5 0 : 3 9   25                  MR. DeFOSSE:     Yes, Your Honor.
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1 2 : 5 0 : 3 9   1                   THE COURT:    Okay.     Are you going to reserve any

1 2 : 5 0 : 4 1   2      time, or are you going to take any time of rebuttal?

1 2 : 5 0 : 4 4   3                   MR. DeFOSSE:     Yes.    I would like to reserve

1 2 : 5 0 : 4 5   4      some time.

1 2 : 5 0 : 4 6   5                   THE COURT:    Okay.     And that's fine.   That's not

1 2 : 5 0 : 4 7   6      a problem.

1 2 : 5 0 : 4 8   7                   And since you have plenty of time left for

1 2 : 5 0 : 5 1   8      rebuttal.    So as you know, don't usually proceed -- at the

1 2 : 5 0 : 5 3   9      most, about ten, maybe 12 minutes.        That's pretty long for

1 2 : 5 0 : 5 7   10     rebuttal.    Usually, it's quite short.

1 2 : 5 0 : 5 9   11                  MR. DeFOSSE:     Okay, Your Honor.     I was thinking

1 2 : 5 1 : 0 2   12     15, but I'll take Your Honor's advice on that.

1 2 : 5 1 : 0 4   13                  THE COURT:    Well, it needs to be proportionate.

1 2 : 5 1 : 0 5   14     And that's what I'm worried about.        If it's a repeat of

1 2 : 5 1 : 1 0   15     things that have already been said, that becomes an issue.

1 2 : 5 1 : 1 4   16     So just be mindful.

1 2 : 5 1 : 1 6   17                  MR. DeFOSSE:     Okay.   I will, Your Honor.     Thank

1 2 : 5 1 : 1 7   18     you.

1 2 : 5 1 : 1 8   19                  THE COURT:    Okay.

1 2 : 5 1 : 1 8   20                  All right.    And let's make sure that,

1 2 : 5 1 : 2 0   21     Mr. Elkins, you're set to go, too.

1 2 : 5 1 : 2 4   22                  MR. ELKINS:    Yes, I am, Your Honor.

1 2 : 5 1 : 2 5   23                  THE COURT:    All right.    Well, I think we are

1 2 : 5 1 : 2 7   24     more than ready.      They were supposed to be here one minute

1 2 : 5 1 : 3 1   25     ago.   So we will bring the jury in.       We will work on the
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1 2 : 5 1 : 3 3   1      issue that remains.      And, of course, then, we will get the

1 2 : 5 1 : 3 9   2      stipulated fact question taken care of.

1 2 : 5 2 : 1 2   3            (The jury enters the courtroom at 12:52 p.m.)

1 2 : 5 2 : 3 1   4                   THE COURT:    Everyone can be seated.

1 2 : 5 2 : 3 5   5                   Mr. DeFosse, do you wish to make a closing

1 2 : 5 2 : 3 7   6      argument on behalf of Qorvo?

1 2 : 5 2 : 4 1   7                   MR. DeFOSSE:     We do, Your Honor.

1 2 : 5 2 : 4 2   8                   THE COURT:    You may proceed.

1 2 : 5 2 : 4 4   9                   MR. DeFOSSE:     Thank you, Your Honor.

1 2 : 5 2 : 5 6   10                  Good afternoon, ladies and gentlemen.         So we

1 2 : 5 2 : 5 8   11     made it to the closing arguments, and the first thing I

1 2 : 5 3 : 0 0   12     would like to do is really thank you very sincerely for

1 2 : 5 3 : 0 4   13     your time in this case.       We appreciate, the attorneys, and

1 2 : 5 3 : 0 6   14     our client especially appreciates all the dedication

1 2 : 5 3 : 0 9   15     you've brought to this matter the attention and the focus.

1 2 : 5 3 : 1 2   16                  As you can probably tell, this is a very

1 2 : 5 3 : 1 4   17     important matter to us.       Qorvo, as you heard in the

1 2 : 5 3 : 1 8   18     opening statement, is not in the business of suing its

1 2 : 5 3 : 2 0   19     competitors.      We're not often in these kinds of lawsuits,

1 2 : 5 3 : 2 3   20     and we are here today because we face the situation of a

1 2 : 5 3 : 2 9   21     competitor that was competing with us unfairly.           And that

1 2 : 5 3 : 3 3   22     jeopardizes our company, and that jeopardizes our

1 2 : 5 3 : 3 5   23     employees who do things the right way, and who understand

1 2 : 5 3 : 3 8   24     that innovation is about hard work.        And that's why we

1 2 : 5 3 : 4 2   25     have to be here, and we appreciate your focus on this
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1 2 : 5 3 : 4 5   1      case.

1 2 : 5 3 : 4 6   2                   So ten days ago, Mr. Masters laid out for you

1 2 : 5 3 : 5 1   3      what we expected the evidence in this case to show.           And I

1 2 : 5 3 : 5 4   4      hope at this point you would agree with me that we've met

1 2 : 5 3 : 5 7   5      those things that he said we would put in front of you

1 2 : 5 4 : 0 0   6      with the witnesses and the documents.         This case really

1 2 : 5 4 : 0 5   7      starts in some ways in 2014.       That's when Jeff Shealy left

1 2 : 5 4 : 1 1   8      RFMD and formed Akoustis.       And what he told the investors

1 2 : 5 4 : 1 5   9      at that time was that he wanted to have a company that

1 2 : 5 4 : 1 8   10     would invest in the research and development of

1 2 : 5 4 : 2 2   11     single-crystal BAW filter technology.

1 2 : 5 4 : 2 3   12                  If you fast forward two years from that time to

1 2 : 5 4 : 2 5   13     2016, what we have is a situation where Akoustis was not

1 2 : 5 4 : 2 9   14     prepared to enter the mark.       Its technology wasn't

1 2 : 5 4 : 3 3   15     working.    And that really -- it shouldn't have been a

1 2 : 5 4 : 3 5   16     surprise to anyone at that point, because this is a really

1 2 : 5 4 : 3 9   17     difficult market with difficult technology.

1 2 : 5 4 : 4 1   18                  You heard Mr. Aigner explain that it took Qorvo

1 2 : 5 4 : 4 5   19     20 years of research and development to have the first

1 2 : 5 4 : 4 8   20     commercial product introduced.        And on top of, that

1 2 : 5 4 : 5 0   21     Akoustis didn't have the type of engineers who had

1 2 : 5 4 : 5 3   22     experience in this.

1 2 : 5 4 : 5 4   23                  You heard testimony from Dr. Shealy and

1 2 : 5 4 : 5 6   24     Dr. Vetury, they hadn't worked with BAW filters before.

1 2 : 5 5 : 0 0   25     So it shouldn't have been a surprise in 2016 that they
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1 2 : 5 5 : 0 3   1      weren't really close to entering the mark.          But that

1 2 : 5 5 : 0 5   2      wasn't acceptable to Akoustis, I think, as you've seen

1 2 : 5 5 : 0 8   3      here.   They didn't want to wait.       They didn't want to make

1 2 : 5 5 : 1 1   4      the investment that it takes to get into the market.

1 2 : 5 5 : 1 3   5                   They wanted to transition to generating

1 2 : 5 5 : 1 5   6      revenues by selling products.       And the way -- and because

1 2 : 5 5 : 1 9   7      they wanted to generate revenues and returns for their

1 2 : 5 5 : 2 3   8      investors, including, importantly, the executives at the

1 2 : 5 5 : 2 6   9      company, and to do that, the strategy that they adopted

1 2 : 5 5 : 3 0   10     was to siphon off large amounts of confidential

1 2 : 5 5 : 3 5   11     information from Qorvo.       And I think we've put that

                  12     evidence in front of you, and I hope you will agree with

                  13     that.

1 2 : 5 5 : 4 1   14                  Now, what I would like to do over the next

1 2 : 5 5 : 4 3   15     several minutes is summarize for you the evidence that we

1 2 : 5 5 : 4 7   16     think is key that we presented.        I'm not going to go

1 2 : 5 5 : 5 1   17     through everything again because you've been very patient

1 2 : 5 5 : 5 4   18     with me in the past, and I know at some point you must be

1 2 : 5 5 : 5 6   19     like, "Oh, my gosh, are we really on Trade Secret Group 6.

1 2 : 5 5 : 5 9   20     We have two more to go."

1 2 : 5 6 : 0 2   21                  I am going to go through the groups, so I'm not

1 2 : 5 6 : 0 3   22     promising you I won't do that, but I'm going to try to go

1 2 : 5 6 : 0 4   23     quickly.    And what I am trying to do here today is to give

1 2 : 5 6 : 0 7   24     you some context about what you've seen and kind of put it

1 2 : 5 6 : 1 0   25     together, because, you know, we have witnesses who do
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1 2 : 5 6 : 1 2   1      Trade Secret Group 1 and 4 and 8, and, you know, with

1 2 : 5 6 : 1 5   2      Dr. Shanfield, we tried to do timelines and show you where

1 2 : 5 6 : 1 8   3      this all came from and how it works.         But I will try to do

1 2 : 5 6 : 2 1   4      that a little more briefly today and give you some overall

1 2 : 5 6 : 2 4   5      context.

1 2 : 5 6 : 2 5   6                   So I'd like to start with Group 1.        And put

1 2 : 5 6 : 3 0   7      the -- the context I'd like for this group is kind of what

1 2 : 5 6 : 3 2   8      I said already.     We're at a point in time in 2016,

1 2 : 5 6 : 3 5   9      April -- August of 2016, when Akoustis is trying to figure

1 2 : 5 6 : 4 0   10     out what products it's going to develop.          It wants to

1 2 : 5 6 : 4 3   11     transition to making products.        It needs to figure out,

1 2 : 5 6 : 4 6   12     the first step in doing that is what product are we going

1 2 : 5 6 : 5 0   13     to pursue?

1 2 : 5 6 : 5 0   14                  The first step in this was August 2016, they

1 2 : 5 6 : 5 5   15     hire Rohan Houlden whom you saw Mr. Houlden's deposition

1 2 : 5 6 : 5 9   16     testimony.    He was the general manager at Qorvo at this

1 2 : 5 7 : 0 2   17     time.   He was responsible for wireless connectivity

1 2 : 5 7 : 0 6   18     devices.    And so he is going to go and work at Akoustis.

1 2 : 5 7 : 0 7   19     Fine.   That's not a problem.      Having an employee move from

1 2 : 5 7 : 1 1   20     one company to another, we don't content that that in and

1 2 : 5 7 : 1 3   21     of itself is a problem.

1 2 : 5 7 : 1 5   22                  But what Mr. Houlden did here is a problem, and

1 2 : 5 7 : 1 7   23     I think you've seen the evidence.        This is September 8,

1 2 : 5 7 : 2 0   24     2016.   So Mr. Houlden left the company on September 16,

1 2 : 5 7 : 2 5   25     2016.   This is eight days before he left.         He's already
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1 2 : 5 7 : 2 9   1      sending Mr. Aichele Qorvo's confidential documents.           This

1 2 : 5 7 : 3 2   2      is the statement of work for Qorvo's 5 gigahertz BAW

1 2 : 5 7 : 3 6   3      filters that was sent to Mr. Aichele in September.

1 2 : 5 7 : 4 0   4                   Now, we fast-forward to September 14, 2016.

1 2 : 5 7 : 4 3   5      This is the day Mr. Houlden, still working at Qorvo,

1 2 : 5 7 : 4 7   6      downloads documents to an external drive, including the

1 2 : 5 7 : 5 2   7      three business plans that are at issue in Trade Secret

1 2 : 5 7 : 5 5   8      Group 1.

1 2 : 5 7 : 5 7   9                   September 16, two days later.        Mr. Houlden, as

1 2 : 5 8 : 0 1   10     all employees do when they are leaving and get severance,

1 2 : 5 8 : 0 4   11     signs an agreement and says, "I've returned all my

1 2 : 5 8 : 0 7   12     documents to you.      I don't have documents left.       I

1 2 : 5 8 : 0 9   13     returned them to you."      In consideration for that, he

1 2 : 5 8 : 1 3   14     received a substantial severance pay of

1 2 : 5 8 : 1 9   15                  Five days later, he goes to Akoustis.         The

1 2 : 5 8 : 2 2   16     documents he promised that he returned are uploaded to

1 2 : 5 8 : 2 4   17     Akoustis' system, and in particular, they are uploaded to

1 2 : 5 8 : 2 7   18     the folder that he created called "Strategy."          And I don't

1 2 : 5 8 : 3 0   19     think there's any question in this case what the evidence

1 2 : 5 8 : 3 3   20     shows on that.     It shows that Akoustis did, in fact, use

1 2 : 5 8 : 3 6   21     Qorvo's business plans for its strategy.

1 2 : 5 8 : 4 0   22                  Now, why do I say that?      First of all, the

1 2 : 5 8 : 4 2   23     documents had everything Akoustis needed in trying to

1 2 : 5 8 : 4 4   24     decide what product they are going to develop.          This is

1 2 : 5 8 : 4 8   25     one of the documents.      This is a very detailed strategy
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1 2 : 5 8 : 5 2   1      presentation that goes market segment by market segment,

1 2 : 5 8 : 5 5   2      identifies the attractiveness of markets, so it helps you

1 2 : 5 8 : 5 8   3      decide which areas of the market you may want to pursue

1 2 : 5 9 : 0 1   4      with the product.

1 2 : 5 9 : 0 3   5                   Next presentation.     This is a Wi-Fi marketing

1 2 : 5 9 : 0 7   6      strategy.    So we've now gone down a level of detail, and

1 2 : 5 9 : 0 9   7      we're focusing on Wi-Fi products.        And what's really

1 2 : 5 9 : 1 2   8      critical about this presentation -- I will see if I can

1 2 : 5 9 : 1 5   9      get this to work -- if you see down in the -- maybe I

1 2 : 5 9 : 2 0   10     can't --

1 2 : 5 9 : 2 0   11                  You see down in the lower right-hand corner, it

1 2 : 5 9 : 2 1   12     says, "Gap" in red.      So what was happening in this

1 2 : 5 9 : 2 5   13     presentation was Qorvo was deciding how it's going to

1 2 : 5 9 : 2 8   14     invest its resources, and it was saying, this is where

1 2 : 5 9 : 3 1   15     when we are making our internal decisions.          And we're

1 2 : 5 9 : 3 2   16     saying mobile is a big market; we want to focus there.            We

1 2 : 5 9 : 3 6   17     could do 5 gigahertz, but we are going to have a gap in

1 2 : 5 9 : 3 9   18     that while we put our resources in mobile.

1 2 : 5 9 : 4 2   19                  So this tells a company, for example, Akoustis,

1 2 : 5 9 : 4 5   20     if you want to compete with Qorvo, here is the place to

1 2 : 5 9 : 4 9   21     go.   You want to go to 5 gigahertz Wi-Fi because Qorvo is

1 2 : 5 9 : 5 1   22     going to be behind.

1 2 : 5 9 : 5 3   23                  And then this is the one I mentioned already.

1 2 : 5 9 : 5 5   24     This is the statement of work that Mr. Houlden had already

1 2 : 5 9 : 5 7   25     sent to Mr. Aichele in September.        On the right-hand side
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1 2 : 5 9 : 5 9   1      of this, you see blue boxes.       That's Qorvo's target

1 3 : 0 0 : 0 2   2      specifications for its 5 gigahertz filter.

1 3 : 0 0 : 0 6   3                   Now, you've heard sometimes there are

1 3 : 0 0 : 0 8   4      specifications available in the public, and you could get

1 3 : 0 0 : 1 0   5      those from datasheets or things like that.          The critical

1 3 : 0 0 : 1 3   6      thing to know here, the context that you have to have to

1 3 : 0 0 : 1 6   7      understand this is, there were no 5 gigahertz products on

1 3 : 0 0 : 1 8   8      the market in 2016.      That is years away.      We're looking

1 3 : 0 0 : 2 3   9      four, five years away at this point, and this is a company

1 3 : 0 0 : 2 7   10     that is a leader in the mark saying this is the

1 3 : 0 0 : 2 9   11     performance I think I can achieve; these are the

1 3 : 0 0 : 3 2   12     parameters I think I'm going to be able to hit.

1 3 : 0 0 : 3 4   13                  That is incredibly valuable information to a

1 3 : 0 0 : 3 6   14     competitor because now they know what they need to do to

1 3 : 0 0 : 3 9   15     compete with Qorvo, not day, but four years from now.           I

1 3 : 0 0 : 4 3   16     mean, this is super valuable.

1 3 : 0 0 : 4 4   17                  And the other thing I would note about this is,

1 3 : 0 0 : 4 6   18     even the analysis that Qorvo performed here on whether

1 3 : 0 0 : 5 0   19     Qorvo should enter into the 5 gigahertz market was

1 3 : 0 0 : 5 3   20     comparing its product to the existing dielectric filters

1 3 : 0 0 : 5 7   21     that were servicing this market.        That's exactly what

1 3 : 0 1 : 0 0   22     Akoustis did once it got these presentations.

1 3 : 0 1 : 0 1   23                  So it not only took the exact specifications

1 3 : 0 1 : 0 4   24     from our plans, and not only decided to focus its

1 3 : 0 1 : 0 8   25     attention on the exact market where we said we have a gap,
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1 3 : 0 1 : 1 1   1      it used the same exact analysis that you see in these

1 3 : 0 1 : 1 5   2      documents.

1 3 : 0 1 : 1 6   3                   So you heard from Mr. Aichele, and I think his

1 3 : 0 1 : 1 9   4      testimony -- I can't quote it word for word, but it was,

1 3 : 0 1 : 2 2   5      essentially, oh, we had decided long before this to go

1 3 : 0 1 : 2 5   6      into the 5 gigahertz market.       I was traveling all over.       I

1 3 : 0 1 : 2 9   7      visited Singapore or whatever, you know, I talked to

1 3 : 0 1 : 3 1   8      companies.    We were already doing this.

1 3 : 0 1 : 3 4   9                   As with a lot of the testimony in this case, I

1 3 : 0 1 : 3 6   10     think you have to ask yourself, is what -- is what's being

1 3 : 0 1 : 3 9   11     said here, the same as what they were saying at the time?

1 3 : 0 1 : 4 2   12     I think that's a theme that you should see throughout the

1 3 : 0 1 : 4 5   13     testimony.    Now, when they show up and tell you what

1 3 : 0 1 : 4 7   14     they're doing:      We all -- we independently developed this.

1 3 : 0 1 : 5 0   15     We didn't use it.      I had already decided to do

1 3 : 0 1 : 5 2   16     5 gigahertz.

1 3 : 0 1 : 5 3   17                  But look at the document that I have in front

1 3 : 0 1 : 5 5   18     of you.    This is their 5 gigahertz business plan.         It's

1 3 : 0 2 : 0 0   19     September, it's dated and titled September 16, so the

1 3 : 0 2 : 0 3   20     month that Houlden comes.       It's sent to Jeff Shealy

1 3 : 0 2 : 0 7   21     October 2013.      What does it say?    I don't think it's a

1 3 : 0 2 : 1 0   22     surprise.    Mr. Aichele suddenly thinks that the top market

1 3 : 0 2 : 1 3   23     for them to pursue is the one Qorvo has a gap in,

1 3 : 0 2 : 1 6   24     5 gigahertz.      And he issued a call to action at the end of

1 3 : 0 2 : 2 0   25     this:   Let's kick off development of this.
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1 3 : 0 2 : 2 3   1                   So this decision had not been made, as he was

1 3 : 0 2 : 2 6   2      saying, months or years before.        This is a decision that

1 3 : 0 2 : 2 8   3      was made after Houlden came to the company and brought

1 3 : 0 2 : 3 2   4      Qorvo's confidential documents with him.

1 3 : 0 2 : 3 4   5                   And when I say they used the documents, it's

1 3 : 0 2 : 3 8   6      not just, you know, my speculation on this.           The documents

1 3 : 0 2 : 4 1   7      themselves show this.      This is on the left-hand side, the

1 3 : 0 2 : 4 6   8      Qorvo statement of work that was sent to them; on the

1 3 : 0 2 : 4 8   9      right-hand side is the Akoustis business plan.           They

1 3 : 0 2 : 5 1   10     copied it word for word.       And they rearranged the boxes a

1 3 : 0 2 : 5 5   11     little as those lines show you.        But this is out the Qorvo

1 3 : 0 2 : 5 9   12     confidential presentation.       So they were using this

1 3 : 0 3 : 0 1   13     material to make strategic decisions.

1 3 : 0 3 : 0 3   14                  So that's Group 1.     The Group 1 is the Wi-Fi

1 3 : 0 3 : 0 7   15     business plans.     There's three business plans in that

1 3 : 0 3 : 1 1   16     group, and the ones that I just went through.

1 3 : 0 3 : 1 5   17                  So next I want to talk about Group 2.          And the

1 3 : 0 3 : 1 9   18     context for this is, it's not enough if you just decide,

1 3 : 0 3 : 2 2   19     okay, I want to enter a market, and this is the product

1 3 : 0 3 : 2 5   20     I'm going to develop.      You have to be able to make it,

1 3 : 0 3 : 2 8   21     right?    And I think you've heard enough testimony here

1 3 : 0 3 : 3 0   22     that you're probably becoming as much of a BAW filter as I

1 3 : 0 3 : 3 4   23     am.   You have a BAW filter, and then you have resonators

1 3 : 0 3 : 3 6   24     that are the kind of component parts that make the filter

1 3 : 0 3 : 4 0   25     work.    You have to develop a resonator.         You have to be
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1 3 : 0 3 : 4 2   1      able to make a resonator work before you make a filter

1 3 : 0 3 : 4 5   2      work.

1 3 : 0 3 : 4 6   3                   At this time in 2016, Akoustis couldn't even

1 3 : 0 3 : 4 9   4      make a resonator work.      So they didn't have like the most

1 3 : 0 3 : 5 2   5      basic fundamental level of technology.            They decided to

1 3 : 0 3 : 5 5   6      enter the 5 gigahertz market.       They don't know what to do.

1 3 : 0 3 : 5 8   7      Houlden has, again, another solution for them on this.

1 3 : 0 4 : 0 1   8                   And this is Mr. Houlden's testimony confirming

1 3 : 0 4 : 0 4   9      they didn't have a working resonator.         What did he do?

1 3 : 0 4 : 0 8   10     This is the same date that he copied the business plans,

1 3 : 0 4 : 1 1   11     he copied the design presentations onto his drive.

1 3 : 0 4 : 1 5   12                  He shows up at Akoustis, uploads those same

1 3 : 0 4 : 1 8   13     presentations to his computer.        And then I think you've

1 3 : 0 4 : 2 1   14     also seen the testimony.       That's not where he stops.        And

1 3 : 0 4 : 2 4   15     we have under-oath testimony from the engineer at Akoustis

1 3 : 0 4 : 2 8   16     who was assigned to develop these 5 gigahertz products.

1 3 : 0 4 : 3 2   17     Houlden walks up to him, pulls the documents out of his

1 3 : 0 4 : 3 6   18     laptop bag, and hands them to him.

1 3 : 0 4 : 3 9   19                  That's not a coincidence these documents that

1 3 : 0 4 : 4 2   20     show you -- I mean, Dr. Aigner said -- got it.            Sorry.

1 3 : 0 4 : 4 8   21     Technology failed.

1 3 : 0 4 : 5 1   22                  Dr. Aigner said that the bottom document on

1 3 : 0 4 : 5 2   23     this list, that's the cookbook that a company needs to

1 3 : 0 4 : 5 6   24     make a 5-gigahertz filter.       It has everything you need to

1 3 : 0 4 : 5 9   25     know about the process, the simulations you're running,
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1 3 : 0 5 : 0 1   1      the types of layouts you should check.            Remember the

1 3 : 0 5 : 0 3   2      tiles?    Like, what you should be testing when you're doing

1 3 : 0 5 : 0 6   3      your test to figure out how is this going to work.             That's

1 3 : 0 5 : 0 8   4      the cookbook here.      Ends up in the hands of the engineer

1 3 : 0 5 : 1 2   5      at Akoustis who's supposed to do this.

1 3 : 0 5 : 1 6   6                   And then this is Dr. Shanfield.          How do we know

1 3 : 0 5 : 2 0   7      that they're using this document?        It's not possible that

1 3 : 0 5 : 2 3   8      they did.    This is a company that can't make a resonator

1 3 : 0 5 : 2 6   9      work, but a year later, they're selling filters on the

1 3 : 0 5 : 2 8   10     market.

1 3 : 0 5 : 3 1   11                  So that's Trade Secret Group 2.          It relates to

1 3 : 0 5 : 3 3   12     their design presentations.       The ones I just showed you

1 3 : 0 5 : 3 6   13     are the first two design presentations in that group.

1 3 : 0 5 : 3 9   14     Now, we also have another design presentation that we've

1 3 : 0 5 : 4 2   15     shown you that's in this group that came later.

1 3 : 0 5 : 4 4   16                  And if you recall, this is the presentation

1 3 : 0 5 : 4 6   17     that was the subject or came after the Panara meeting on

1 3 : 0 5 : 5 1   18     Route 68, where Mr. Houlden and Mr. Dry met with a Qorvo

1 3 : 0 5 : 5 6   19     employee at the Panara to talk about job opportunities.              A

1 3 : 0 6 : 0 0   20     week later, he goes back to Qorvo and suddenly decides

1 3 : 0 6 : 0 3   21     that he needs to download this presentation.            He, then,

1 3 : 0 6 : 0 6   22     goes to Akoustis, starts to work a week before he leaves

1 3 : 0 6 : 0 9   23     Qorvo.    And brags about it in an e-mail to his friends;

1 3 : 0 6 : 1 1   24     "I'm already here working at Akoustis.            I haven't even

1 3 : 0 6 : 1 5   25     turned my stuff in at Qorvo."       And this document is on his
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1 3 : 0 6 : 1 8   1      computer at Akoustis.

1 3 : 0 6 : 2 0   2                   Okay.    And this is the one that Dr. Aigner

1 3 : 0 6 : 2 1   3      explained to you, has a number of the trade secrets, nine

1 3 : 0 6 : 2 4   4      of the trade secrets in Group 2.        And it's really, if you

1 3 : 0 6 : 2 7   5      want to kind of characterize what's going on in this

1 3 : 0 6 : 3 0   6      document, this is a looking-forward document.

1 3 : 0 6 : 3 2   7                   So the two documents we looked at before, those

1 3 : 0 6 : 3 4   8      are things you need to know in order to build a

1 3 : 0 6 : 3 7   9      5-gigahertz BAW filter.

1 3 : 0 6 : 3 8   10                  This is a document that's telling a company,

1 3 : 0 6 : 4 0   11     Here's where we're going next.        We need to make these

1 3 : 0 6 : 4 4   12     things smaller.      Here's how we're going to make these

1 3 : 0 6 : 4 7   13     smaller.    We're going to develop special technologies to

1 3 : 0 6 : 5 0   14     put filters on top of each other to achieve better

1 3 : 0 6 : 5 4   15     performance and better footprints.        So these are the

                  16     things Qorvo was looking at and saying, This is where I'm

                  17     going.

1 3 : 0 6 : 5 9   18                  And the value of this document to a company

1 3 : 0 7 : 0 2   19     like Akoustis, is that they can now get a head start on

1 3 : 0 7 : 0 5   20     where they're going.      Because once -- even once they get

1 3 : 0 7 : 0 7   21     into the market, you don't just stop.         You don't stand

1 3 : 0 7 : 0 9   22     still with your 5-gigahertz product.         You have to, then,

1 3 : 0 7 : 1 2   23     look at, where's the product part -- the market going

1 3 : 0 7 : 1 5   24     next, because your competitors are doing the same.           And so

1 3 : 0 7 : 1 8   25     Akoustis skips that work because it has Qorvo to give it
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1 3 : 0 7 : 2 1   1      the head start.     So look at these things.

1 3 : 0 7 : 2 3   2                   So, again, nine trade secrets in this document.

1 3 : 0 7 : 2 8   3                   I want to go out of order now and do Group 4,

1 3 : 0 7 : 3 0   4      because I kind of want to keep -- I'm trying to go roughly

1 3 : 0 7 : 3 3   5      chronologically in what's going on and how it's useful to

1 3 : 0 7 : 3 5   6      Akoustis.

1 3 : 0 7 : 3 6   7                   Trade Secret Group 4, you may remember, is the

1 3 : 0 7 : 4 0   8      RF connector.     The context for this is, when you are

1 3 : 0 7 : 4 5   9      developing a filter, you need to have a way to test it.

1 3 : 0 7 : 4 8   10     And you can't -- as I think you heard testimony, you can't

1 3 : 0 7 : 5 0   11     just directly test the filter.        You have to be able to

1 3 : 0 7 : 5 3   12     mount it on a board to test it.

1 3 : 0 7 : 5 4   13                  And so Mr. Houlden knows we're moving, we're

1 3 : 0 7 : 5 7   14     going to start developing these things.           I'm going to have

1 3 : 0 7 : 5 9   15     to also get my evaluation board together.           And part of

1 3 : 0 8 : 0 3   16     that is these RF connectors.

1 3 : 0 8 : 0 5   17                  The RF connector is sending a signal back and

1 3 : 0 8 : 0 7   18     forth across the board to test equipment.           It doesn't

1 3 : 0 8 : 1 0   19     sound very sexy.      You know, I think someone referred to it

1 3 : 0 8 : 1 3   20     as like a cable or something like that.           But the point is

1 3 : 0 8 : 1 7   21     that these are critical.       You get critical performance

1 3 : 0 8 : 1 9   22     because these filters are operating at such a fine level.

1 3 : 0 8 : 2 3   23     If you have any interference, if you have any degradation

1 3 : 0 8 : 2 6   24     in the connector itself, it gives you false results on

1 3 : 0 8 : 3 0   25     your testing.
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1 3 : 0 8 : 3 1   1                   So you don't know, is there something wrong

1 3 : 0 8 : 3 3   2      with my filter, or is there something wrong with the test,

1 3 : 0 8 : 3 5   3      or what's going on?      So it's really critical to actually

1 3 : 0 8 : 3 7   4      have these filters.      And that's why RFMD went to the

1 3 : 0 8 : 4 2   5      trouble of designing a custom filter and having

1 3 : 0 8 : 4 5   6      make it.

1 3 : 0 8 : 4 6   7                   So this, we have November 2016, right at the

1 3 : 0 8 : 5 0   8      same time where they decided to move into the 5 gigahertz

1 3 : 0 8 : 5 3   9      market.    Mr. Houlden writes, "Using personal account" --

1 3 : 0 8 : 5 7   10     to Qorvo employee, saying, "I am using personal accounts

1 3 : 0 9 : 0 0   11     to make you more comfortable.       Can you send me this

1 3 : 0 9 : 0 3   12     drawing for this connector?"

1 3 : 0 9 : 0 5   13                  And this is what the drawing looks like.         And I

1 3 : 0 9 : 0 7   14     think we've had some discussion about, "Well, it says

1 3 : 0 9 : 1 0   15                  on it."    Of course it says                   Qorvo

1 3 : 0 9 : 1 3   16     doesn't build the parts itself, but it enters into -- when

1 3 : 0 9 : 1 5   17     it wants a custom part, it enters into an NDA with a

1 3 : 0 9 : 1 8   18     manufacturer who will make it for us.

1 3 : 0 9 : 2 1   19                  Talked with Dr. Darveaux about this yesterday,

1 3 : 0 9 : 2 4   20     and I think you may remember, he said he had something

1 3 : 0 9 : 2 7   21     like a different interpretation of what Dr. Hodge said

1 3 : 0 9 : 3 0   22     when he said that Houlden handed this drawing over and

1 3 : 0 9 : 3 3   23     said, "Copy it."

1 3 : 0 9 : 3 4   24                  Well, I went back, pulled up Dr. Hodge's

1 3 : 0 9 : 3 7   25     testimony, wanted to make sure I was not crazy, what my
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1 3 : 0 9 : 4 0   1      interpretation was.      And I think you can see exactly what

1 3 : 0 9 : 4 1   2      it says.    Dr. Darveaux was saying -- he wasn't really

1 3 : 0 9 : 4 4   3      talking about copying the RF connector with something

1 3 : 0 9 : 4 8   4      else.    No, Dr. Hodge said that Houlden was talking about

1 3 : 0 9 : 5 1   5      copying the RF connector.       He says that -- he asked -- he

1 3 : 0 9 : 5 4   6      handed the document that had the details on the connectors

1 3 : 0 9 : 5 9   7      used for building filters, and he asked for you to draw

1 3 : 1 0 : 0 2   8      the traces, including the dimensions of the connector, and

1 3 : 1 0 : 0 5   9      then you see in the bottom, replicate the traces for this

1 3 : 1 0 : 0 9   10     connector.

1 3 : 1 0 : 0 9   11                  And it wasn't just that.      Dr. Hodge also

1 3 : 1 0 : 1 1   12     explained exactly why Mr. Houlden wanted to do this.

1 3 : 1 0 : 1 5   13     Because Akoustis couldn't go to                   and say, Sell me

1 3 : 1 0 : 2 0   14     this connector.      It was a Qorvo part.                wouldn't

1 3 : 1 0 : 2 3   15     do it.    But if Akoustis copied the drawing and showed up

1 3 : 1 0 : 2 7   16     at            and handed them a drawing and said, Could you

1 3 : 1 0 : 2 9   17     please build this for me, well, then they could buy the

1 3 : 1 0 : 3 3   18     part.

1 3 : 1 0 : 3 3   19                  Okay.    If there's any doubt about what was

1 3 : 1 0 : 3 8   20     actually happening here, it should be alleviated in 2018.

1 3 : 1 0 : 4 0   21     This is an e-mail from Mr. Houlden to Dave Hodge, and he

1 3 : 1 0 : 4 5   22     expressly notes -- he references the custom RFMD

1 3 : 1 0 : 4 9   23     connector, he gives the part number,                  , and then he

1 3 : 1 0 : 5 1   24     gives the Akoustis number.       So that's Trade Secret

1 3 : 1 1 : 0 0   25     Group 4.    One trade secret in that group about the
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1 3 : 1 1 : 0 3   1      connector.

1 3 : 1 1 : 0 5   2                   Trade Secret Group 5.       Product development

1 3 : 1 1 : 0 7   3      processes and testing procedures.         You've heard, I think,

1 3 : 1 1 : 1 0   4      more about this than some of the other trade secret groups

1 3 : 1 1 : 1 2   5      here.

1 3 : 1 1 : 1 3   6                   The key context to understand is, when you are

1 3 : 1 1 : 1 6   7      a company that's building products, you have to have

1 3 : 1 1 : 2 0   8      procedures in place to control the investment you're

1 3 : 1 1 : 2 3   9      making, control the steps that you're taking to make sure

1 3 : 1 1 : 2 6   10     that you're going in the right direction, otherwise, you

1 3 : 1 1 : 2 8   11     can be going down blind alleys.         You can be going off in

1 3 : 1 1 : 3 2   12     directions that you can't go.

1 3 : 1 1 : 3 4   13                  So any serious engineering company needs to

1 3 : 1 1 : 3 6   14     have a set of engineering documents that it's going to

1 3 : 1 1 : 3 9   15     follow.    So that's Trade Secret Group 5.

1 3 : 1 1 : 4 2   16                  What do we have here.       January of 2017,

1 3 : 1 1 : 4 3   17     Akoustis is now on the road to trying to build its first

1 3 : 1 1 : 4 8   18     5 gigahertz products.

1 3 : 1 1 : 5 0   19                  Jeffrey Shealy, the CEO, grabs the RFMD, the

1 3 : 1 1 : 5 5   20     new technology development process document, and he

1 3 : 1 1 : 5 8   21     changes it.       You've heard this.    Puts the Akoustis label

1 3 : 1 2 : 0 1   22     on it, names himself as the author.

1 3 : 1 2 : 0 3   23                  One thing I wanted to be clear on, though, I

1 3 : 1 2 : 0 5   24     think we've had some suggestions in this case that the

1 3 : 1 2 : 0 9   25     only he changed was the label on the first page and his
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1 3 : 1 2 : 1 2   1      name, and all the rest of the pages were exactly the same,

1 3 : 1 2 : 1 4   2      in general.       That's not the case.

1 3 : 1 2 : 1 6   3                   This was the testimony from Mr. Faulker when he

1 3 : 1 2 : 2 0   4      testified.    There are three versions of this document:

1 3 : 1 2 : 2 2   5      Zero, 1, and 1.1.       So the version that you've been able to

1 3 : 1 2 : 2 7   6      see in this case, you can put your hands on it and will be

1 3 : 1 2 : 2 9   7      able to put your hands on it is one, Version 1.             That's

1 3 : 1 2 : 3 2   8      the one where he changed the label on the first page and

1 3 : 1 2 : 3 4   9      named himself the author.

1 3 : 1 2 : 3 6   10                  He then went on to create Version 1.1, not

1 3 : 1 2 : 4 1   11     produced in this case.       So why is that?       It's because when

1 3 : 1 2 : 4 3   12     you produce documents in a case like this, you do word

1 3 : 1 2 : 4 6   13     searches.    "RFMD" is a word that we searched for.           So it

1 3 : 1 2 : 5 0   14     hit on Version 1 because "RFMD" was on Page 2.

1 3 : 1 2 : 5 4   15                  When Mr. Shealy went through and created 1.1,

1 3 : 1 2 : 5 6   16     he scrubbed out the other references to "RFMD," presumably

1 3 : 1 3 : 0 0   17     changed those to "Akoustis," but we don't know because we

1 3 : 1 3 : 0 3   18     don't have that document.        But the reasons it's not

1 3 : 1 3 : 0 4   19     produced is it doesn't hit the word search.

1 3 : 1 3 : 0 7   20                  So the suggestion that, Oh, all Dr. Shealy did

1 3 : 1 3 : 0 9   21     was he changed one word or one logo, that's not consistent

1 3 : 1 3 : 1 3   22     with the testimony of Dr. Faulker.

1 3 : 1 3 : 1 4   23                  And it's not just that Dr. Shealy changed the

1 3 : 1 3 : 1 9   24     document, he, then, e-mails this to the very people who

1 3 : 1 3 : 2 2   25     would find this document useful:         Rohan Houlden, the vice
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1 3 : 1 3 : 2 6   1      president of product engineering; Mary Winters, the head

1 3 : 1 3 : 2 9   2      of the fab.       He's sending this technology development

1 3 : 1 3 : 3 2   3      document that he's modified to them.

1 3 : 1 3 : 3 5   4                   That's not the only time where Akoustis has

1 3 : 1 3 : 3 8   5      taken an RFMD document or a Qorvo document and just

1 3 : 1 3 : 4 0   6      stripped it off and repurposed it as an Akoustis document.

1 3 : 1 3 : 4 3   7                   This is an evaluation board test plan from May

1 3 : 1 3 : 4 8   8      of 2017.    Left-hand side RFMD version, right-hand side,

1 3 : 1 3 : 5 2   9      Akoustis version.

1 3 : 1 3 : 5 3   10                  I think you heard Dr. Darveaux suggest

1 3 : 1 3 : 5 6   11     yesterday, Oh, well, this is about, I don't know what kind

1 3 : 1 3 : 5 7   12     of product.       It's not useful to Akoustis.

1 3 : 1 4 : 0 0   13                  And that was kind of a common theme of

1 3 : 1 4 : 0 3   14     Dr. Darveaux's testimony.

1 3 : 1 4 : 0 4   15                  If it wasn't useful, why were they going

1 3 : 1 4 : 0 7   16     through the trouble of copying it and changing it to an

1 3 : 1 4 : 0 9   17     Akoustis document?       I mean, all way down to the

1 3 : 1 4 : 1 0   18     confidentiality legend: Akoustis confidential.

1 3 : 1 4 : 1 3   19                  Here's another example from this group,

1 3 : 1 4 : 1 5   20     Group 5.    This is the Qorvo product requirements document

1 3 : 1 4 : 2 0   21     that you've seen.       I think you've seen before.      This is a

1 3 : 1 4 : 2 3   22     very impressive spreadsheet, lots of tabs, a ton of

1 3 : 1 4 : 2 7   23     information, what you need to know when you're developing

1 3 : 1 4 : 2 9   24     a product.

1 3 : 1 4 : 3 1   25                  Mr. Houlden scheduled a meeting, conference
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1 3 : 1 4 : 3 5   1      room 2 in March 2020, attaches two of these documents, to

1 3 : 1 4 : 3 9   2      the engineers who are developing products, including Dave

1 3 : 1 4 : 4 2   3      Hodge, who at this point is working on the second

1 3 : 1 4 : 4 3   4      generation, 5 gigahertz product, says "let's have a

1 3 : 1 4 : 4 6   5      meeting to talk about this."

1 3 : 1 4 : 4 9   6                   So that's Group 5.     There's five trade secrets

1 3 : 1 4 : 5 2   7      in that group.     They all relate to product development

1 3 : 1 4 : 5 5   8      processes and testing plans.

1 3 : 1 4 : 5 8   9                   Now, I was out of order because I wanted to go

1 3 : 1 5 : 0 0   10     kind of chronologically, so we'll go back to trimming.

1 3 : 1 5 : 0 3   11     I'm sure you heard more about trimming than you thought

1 3 : 1 5 : 0 7   12     you would ever hear in your whole lives.          I'm not go

1 3 : 1 5 : 1 0   13     through all of it again.       But I think the point, the

1 3 : 1 5 : 1 2   14     context for this one is this is important stuff.           You

1 3 : 1 5 : 1 5   15     cannot manufacture BAW filters unless you can trim them

1 3 : 1 5 : 1 8   16     because you can't get the yields you need.

1 3 : 1 5 : 2 0   17                  If you can't trim the filters that you're

1 3 : 1 5 : 2 3   18     putting on your wafer -- remember Dr. Aigner showed you a

1 3 : 1 5 : 2 6   19     wafer -- the number of filters that work off that wafer is

1 3 : 1 5 : 3 0   20     too low.    So you have to trim to adjust the frequency to

1 3 : 1 5 : 3 2   21     deal with manufacturing processes.

1 3 : 1 5 : 3 5   22                  So, again, common theme here, Akoustis doesn't

1 3 : 1 5 : 3 9   23     know how to do this.      They've not manufactured products

1 3 : 1 5 : 4 2   24     before.    They're now in July of 2017.       They're approaching

1 3 : 1 5 : 4 6   25     the time where they're anticipating we're going to start
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1 3 : 1 5 : 4 9   1      manufacturing these things.       And they're like, we don't

1 3 : 1 5 : 5 1   2      know how to trim, what are we going to do?

1 3 : 1 5 : 5 4   3                   Solution again?     Go hire an employee from

1 3 : 1 5 : 5 7   4      Qorvo, JB Kwon.     Bring him in.     And what does Mr. Kwon do?

1 3 : 1 6 : 0 0   5      Within a month of being hired at Akoustis, he circulates

1 3 : 1 6 : 0 4   6      Qorvo's trimming algorithms.       And it's not just that he

1 3 : 1 6 : 0 7   7      circulating to anyone; he's sending them to Mary Winters,

1 3 : 1 6 : 1 1   8      the head of fab, to Rama Vetury, the chief device

1 3 : 1 6 : 1 5   9      scientist, to Daeho Kim, who you saw in here who at that

1 3 : 1 6 : 1 7   10     time was director of device engineering.          These are

1 3 : 1 6 : 2 0   11     significant people that he's sending this to.

1 3 : 1 6 : 2 4   12                  And it's not just that he's sending them.         It's

1 3 : 1 6 : 2 4   13     he's telling them in the e-mail, this is how Qorvo trims

1 3 : 1 6 : 2 8   14     sensitivity data.      So he's not even hiding that he's

1 3 : 1 6 : 3 1   15     sending them this Qorvo information.         And they know that

1 3 : 1 6 : 3 4   16     this information is confidential.

1 3 : 1 6 : 3 6   17                  I mean, they are in this industry.        They know

1 3 : 1 6 : 3 8   18     they don't know how to do trimming.        And you better

1 3 : 1 6 : 4 0   19     believe, if you could get this information publicly, from

1 3 : 1 6 : 4 3   20     some public source, they would do it.         They would have got

1 3 : 1 6 : 4 6   21     it there.    They wouldn't go and get Qorvo's confidential

1 3 : 1 6 : 4 9   22     trimming algorithms, right?

1 3 : 1 6 : 5 0   23                  And so what was the response to JB Kwon when he

1 3 : 1 6 : 5 4   24     sent this stuff?      Was it, please don't send us these

1 3 : 1 6 : 5 6   25     trimming algorithm?      Or was it:    This is totally not
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1 3 : 1 6 : 5 9   1      useful.    This is about SMR resonators and we have FR

1 3 : 1 7 : 0 3   2      resonators?       No.   His response, "This is helpful."      This

1 3 : 1 7 : 1 0   3      is helpful stuff to them.

1 3 : 1 7 : 1 2   4                   Okay.      And it's not just we're looking

1 3 : 1 7 : 1 6   5      myopically at one e-mail here where it says it's helpful

1 3 : 1 7 : 2 1   6      August 2017, Dr. Kwon sends procedures again to Mary

1 3 : 1 7 : 2 5   7      Winters in the context of discussing the trimming process,

1 3 : 1 7 : 2 9   8      the trimming experiment that's going on at Akoustis.

1 3 : 1 7 : 3 3   9                   A month later, sending these again.         October of

1 3 : 1 7 : 3 6   10     2017, Dr. Kwon incorporates the Qorvo trimming algorithms

1 3 : 1 7 : 4 1   11     into the Akoustis trim work center update.           He sends it

1 3 : 1 7 : 4 5   12     again to Mary Winters and Ken Fallon, who is also director

1 3 : 1 7 : 4 9   13     at the fab in New York for them.

1 3 : 1 7 : 5 2   14                  It's not just that he sends it to them.          This

1 3 : 1 7 : 5 4   15     is in advance of a meeting with the board of directors,

1 3 : 1 7 : 5 7   16     the technical committee of the board of directors.            He

1 3 : 1 8 : 0 0   17     goes on and presence this trimming plan with Qorvo's

1 3 : 1 8 : 0 3   18     algorithms to the Akoustis board of directors.

1 3 : 1 8 : 0 7   19                  One of the board members attends the meeting

1 3 : 1 8 : 0 9   20     and says, Hey, can you send me that presentation that JB

1 3 : 1 8 : 1 3   21     Kwon gave.    Mary Winters says, sure, I will attach it for

1 3 : 1 8 : 1 7   22     you.   What does she do?       At this point I think someone is

1 3 : 1 8 : 2 0   23     get a little nervous about what's going on here.            We have

1 3 : 1 8 : 2 2   24     these Qorvo trimming algorithm passing around, we've got

1 3 : 1 8 : 2 6   25     presentation says "Qorvo."        Right?
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1 3 : 1 8 : 2 8   1                   So what happens?      They don't delete the Qorvo

1 3 : 1 8 : 3 0   2      trimming algorithms.       They change the titles in the

1 3 : 1 8 : 3 3   3      presentation.       So now it was Qorvo, Qorvo versus Akoustis,

1 3 : 1 8 : 3 9   4      Qorvo.    Let's change those.      Let's not delete the

1 3 : 1 8 : 4 2   5      algorithms.       Let's change title so no one knows where this

1 3 : 1 8 : 4 5   6      information is coming from.        Let's call it "Industry

1 3 : 1 8 : 4 7   7      Standard."

1 3 : 1 8 : 4 8   8                   You better believe it, if there were an

1 3 : 1 8 : 5 0   9      industry standard trimming algorithm that was this, you

1 3 : 1 8 : 5 3   10     would have seen it in this case.         They wouldn't have

1 3 : 1 8 : 5 5   11     stopped at anything to find that algorithm to put in front

1 3 : 1 8 : 5 7   12     of you.    You don't have it.

1 3 : 1 9 : 0 0   13                  Okay.     I will take a minute to talk about this.

1 3 : 1 9 : 0 4   14     Daeho Kim came here and testified to you, and he said

1 3 : 1 9 : 0 7   15     along the lines of, we done use that.          Here is the

1 3 : 1 9 : 1 0   16     trimming procedure we use.        This is different, right?

1 3 : 1 9 : 1 2   17                  And this is a red flag I want to raise with a

1 3 : 1 9 : 1 5   18     lot of testimony.       I kind of mentioned it already.       You

1 3 : 1 9 : 1 7   19     can't just look at what somebody sitting here says today.

1 3 : 1 9 : 2 0   20     You need to look at the historical documents.           It's easy

1 3 : 1 9 : 2 3   21     for someone to come in here and say, "Oh, well, this is

1 3 : 1 9 : 2 5   22     the procedure we're using today."

1 3 : 1 9 : 2 7   23                  This procedure that is on this slide was

1 3 : 1 9 : 3 0   24     created two days before Mr. Kim testified.           He put this

1 3 : 1 9 : 3 3   25     together two days before.        This isn't a historical
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1 3 : 1 9 : 3 8   1      document saying this is what we were doing.            This is

1 3 : 1 9 : 3 8   2      something that was created for the purpose of this

1 3 : 1 9 : 4 0   3      litigation.

1 3 : 1 9 : 4 1   4                   We have shown you the e-mails, the evidence at

1 3 : 1 9 : 4 4   5      the time of this stuff being presented to the people who

1 3 : 1 9 : 4 7   6      matter, the people who are working on trimming, the board

1 3 : 1 9 : 4 9   7      of directors.       So this is trimming, Group 3.       There's

1 3 : 1 9 : 5 4   8      three trade secrets in this group.

1 3 : 1 9 : 5 9   9                   Group 6 reliability testing.          Maybe in a

1 3 : 2 0 : 0 2   10     perverse way, this is one of my favorite ones to go

1 3 : 2 0 : 0 6   11     through.    The reliability testing is essential when you

1 3 : 2 0 : 1 1   12     are going to put a product on the market.            And I think, as

1 3 : 2 0 : 1 3   13     you heard some witnesses testify, your customers need to

1 3 : 2 0 : 1 7   14     know, is it going to fail.        And so you have to put it

1 3 : 2 0 : 1 9   15     through its kind of rigorous testing, raise the

1 3 : 2 0 : 2 1   16     temperatures and stuff.

1 3 : 2 0 : 2 2   17                  And to be clear, and I think this relates to

1 3 : 2 0 : 2 5   18     Dr. Darveaux's testimony.        We're not saying in this case

1 3 : 2 0 : 2 8   19     that reliability testing, point blank, the concept of it

1 3 : 2 0 : 3 2   20     is Qorvo's trade secret.        I hope we've been pretty clear

1 3 : 2 0 : 3 5   21     about that.       The trade secrets here are the testing

1 3 : 2 0 : 3 7   22     procedures, and setups, and the list of trade secrets that

1 3 : 2 0 : 4 1   23     are in this particular document.

1 3 : 2 0 : 4 3   24                  So, you know, a lot of Dr. Darveaux's testimony

1 3 : 2 0 : 4 6   25     was, let's abstract something to a higher level, like, oh,
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1 3 : 2 0 : 4 9   1      well, this is about reliability testing.           And then they

1 3 : 2 0 : 5 1   2      would pop a document in front of you and say, "This

1 3 : 2 0 : 5 4   3      document says, 'reliability testing. that can't be a

1 3 : 2 0 : 5 5   4      corporate trade secret."

1 3 : 2 0 : 5 7   5                   That's not what we're saying our trade secret

1 3 : 2 0 : 5 9   6      is.   Our trade secret are the specific things that

1 3 : 2 1 : 0 1   7      Dr. Aigner walked through in this document and showed you,

1 3 : 2 1 : 0 4   8      the things that set Qorvo's reliability testing apart from

1 3 : 2 1 : 0 7   9      the other companies in this industry that's really

1 3 : 2 1 : 1 0   10     valuable.

1 3 : 2 1 : 1 1   11                  So this document comes into Akoustis August of

1 3 : 2 1 : 1 5   12     2018.   Again, Mr. Houlden is involved.           He seems to be an

1 3 : 2 1 : 1 9   13     essential figure in a lot of this stuff.           He gets this

1 3 : 2 1 : 2 2   14     from John Myrick, used to be in engineering at Qorvo, and

1 3 : 2 1 : 2 5   15     has since moved to Akoustis.       He sends him this document

1 3 : 2 1 : 2 7   16     August at 2:34 in the p.m.

1 3 : 2 1 : 3 1   17                  So Mr. Houlden, during his testimony:           "You

1 3 : 2 1 : 3 5   18     understand that this was a confidential document?"             Yes.

1 3 : 2 1 : 3 7   19     He understands that this is a confidential Qorvo document.

1 3 : 2 1 : 4 2   20     Well, what are you doing with this?        I didn't forward it.

1 3 : 2 1 : 4 3   21     That's the first thing he says, "I didn't forward this

1 3 : 2 1 : 4 6   22     document."

1 3 : 2 1 : 4 8   23                  Okay.    We said, okay, but wait.        Here's an

1 3 : 2 1 : 5 2   24     e-mail 26 minutes later of you forwarding this document,

1 3 : 2 1 : 5 6   25     not just to anyone, you're sending it Joel Morgan, who is
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1 3 : 2 2 : 0 0   1      the person at Akoustis who is responsible for reliability

1 3 : 2 2 : 0 4   2      testing.

1 3 : 2 2 : 0 5   3             Okay.   What's his excuse then?       Okay, maybe I

1 3 : 2 2 : 0 7   4      forwarded it, but there's a really good chance I didn't

1 3 : 2 2 : 1 1   5      open it; I didn't look at it closely.

1 3 : 2 2 : 1 3   6             Well, then we showed him the next e-mail in the

1 3 : 2 2 : 1 6   7      chain, ten minutes later.        He's forwarding it to someone

1 3 : 2 2 : 1 9   8      else, to Pat Lewis.       And now he's referencing pages in the

1 3 : 2 2 : 2 2   9      document that he's reviewed, the document he didn't really

1 3 : 2 2 : 2 5   10     look at closely, but he certainly looked at Pages 4 to 5,

1 3 : 2 2 : 2 8   11     right?

1 3 : 2 2 : 2 9   12            So what does he say now?      Okay.    Our test setup is

1 3 : 2 2 : 3 3   13     completely different.       I forwarded it.        I may have looked

1 3 : 2 2 : 3 6   14     at some pages, but our test set up is completely

1 3 : 2 2 : 3 9   15     different.      Mr. Morgan is doing something completely

1 3 : 2 2 : 4 1   16     different than what's in this.

1 3 : 2 2 : 4 4   17            And then, yeah, here's Mr. Morgan's e-mail six months

1 3 : 2 2 : 4 8   18     later, sending the same document back that Mr. Houlden got

1 3 : 2 2 : 5 1   19     him.    And what did he say?      "This is the primary document

1 3 : 2 2 : 5 3   20     I've been referencing."

1 3 : 2 2 : 5 8   21            It didn't stop there.      This is two years later,

1 3 : 2 3 : 0 3   22     March 2021.       Mr. Morgan, the VP who is in charge of

1 3 : 2 3 : 1 0   23     reliability testing, is sending this same confidential

1 3 : 2 3 : 1 3   24     Qorvo document again to Paul Makowenskyj, quality

1 3 : 2 3 : 1 7   25     engineer.      This is the person who is responsible, right?
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1 3 : 2 3 : 1 8   1      You have the VP of quality, and then you have the

1 3 : 2 3 : 2 2   2      engineer?    This is the person directly involved in

1 3 : 2 3 : 2 4   3      reliability testing.      Two years later, they are still

1 3 : 2 3 : 2 7   4      circulating this document.       And they want you to believe,

1 3 : 2 3 : 2 9   5      well, this is useless; this has no value to Akoustis.

1 3 : 2 3 : 3 3   6            So that's Group 6.      We have -- all of these trade

1 3 : 2 3 : 3 5   7      secrets in Group 6 are about that one document, the pages

1 3 : 2 3 : 3 8   8      that Dr. Aigner went through with.

1 3 : 2 3 : 4 3   9            Group 7, manufacturing assembly procedures.            So,

1 3 : 2 3 : 4 5   10     again, context on this.       And we're kind of -- remember,

1 3 : 2 3 : 4 7   11     Mr. Masters said in opening we had that roadmap.             He said

1 3 : 2 3 : 5 0   12     each step along the way there were trade secrets?             So

1 3 : 2 3 : 5 3   13     we're getting towards the right-hand side of that.

1 3 : 2 3 : 5 5   14           We are now at the point where Akoustis has gotten all

1 3 : 2 3 : 5 8   15     these trade secrets to help them develop a product get

1 3 : 2 4 : 0 0   16     into the market.      They have to manufacture it, and they've

1 3 : 2 4 : 0 2   17     got to do it in an efficient way.        And, again, they're not

1 3 : 2 4 : 0 5   18     a product development company.        They weren't manufacturing

1 3 : 2 4 : 0 9   19     products, so they had to do all of this again.            And

1 3 : 2 4 : 1 1   20     instead of building from scratch, instead of investigating

1 3 : 2 4 : 1 3   21     in that, what do they do?

1 3 : 2 4 : 1 4   22           They hire Robert Dry, Qorvo employee, to come in and

1 3 : 2 4 : 2 1   23     be their vice president of operations.            Mr. Dry, he was

1 3 : 2 4 : 2 3   24     hired October 2019.      He brings a repository of Qorvo

1 3 : 2 4 : 2 9   25     documents with him.
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1 3 : 2 4 : 3 1   1            Okay.   January 2020, a couple months after he was

1 3 : 2 4 : 3 4   2      there, he starts circulating these documents around.            Look

1 3 : 2 4 : 3 7   3      what I have -- to Joel Morgan.        I've got this Qorvo

1 3 : 2 4 : 4 1   4      document.     And you notice something interesting about the

1 3 : 2 4 : 4 3   5      way Mr. Dry does it as opposed to some of the other folks.

1 3 : 2 4 : 4 6   6      He actually goes in and strips out the Qorvo logos on

1 3 : 2 4 : 5 1   7      these things.

1 3 : 2 4 : 5 2   8            And we have the e-mail where he's even acknowledging

1 3 : 2 4 : 5 6   9      that:   "For good reasons, I edited out former references."

1 3 : 2 5 : 0 0   10      And his good reasons are, he doesn't want to make it

1 3 : 2 5 : 0 4   11     obvious he is sending around Qorvo documents.

1 3 : 2 5 : 1 0   12           And it's not just that he's sending them around once.

1 3 : 2 5 : 1 4   13     It's repeatedly over and over again.         It's let's look at

1 3 : 2 5 : 1 8   14     this document.     Let's schedule a meeting to talk about

1 3 : 2 5 : 2 1   15     this document.     Review this before we meet.        We need to

1 3 : 2 5 : 2 6   16     have documents like this one.

1 3 : 2 5 : 3 2   17           Also, here's another good example.          This is

1 3 : 2 5 : 3 7   18     Jerry Gray about the reflow preconditioning.           May 2020,

1 3 : 2 5 : 4 0   19     Jerry Gray writes to Robert Dry, "Do you have the Q reflow

1 3 : 2 5 : 4 5   20     policy?"    Again, because they don't want to use the word

1 3 : 2 5 : 4 8   21     Qorvo in their emails.      "Do you have the Q reflow policy?"

1 3 : 2 5 : 5 1   22           Robert Dry says, "Found it.       See attached."      So he

1 3 : 2 5 : 5 4   23     went to his repository, found it.

1 3 : 2 5 : 5 5   24           Jerry Gray writes back to him and says, "Wait, wait,

1 3 : 2 5 : 5 8   25     wait.   It's not the one I was looking for.          There's
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1 3 : 2 6 : 0 1   1      another document.       Another Qorvo document that's

1 3 : 2 6 : 0 3   2      referenced in this one.        Do you have that one?"

1 3 : 2 6 : 0 5   3             Mr. Dry writes back a few minutes later, "Here you

1 3 : 2 6 : 0 7   4      go."    Got that one too.      He's, like, just pulling them out

1 3 : 2 6 : 1 1   5      of the repository, passing them around.            Anybody wants a

1 3 : 2 6 : 1 5   6      Qorvo document, come talk to me.

1 3 : 2 6 : 1 7   7             And this was one I found really interesting.           So we

1 3 : 2 6 : 2 0   8      obviously deposed Mr. Dry in this case.            And after showing

1 3 : 2 6 : 2 4   9      him document after document, where he had Qorvo

1 3 : 2 6 : 2 9   10     confidential information he was circulating around, that's

1 3 : 2 6 : 3 2   11     when he said -- decided, "I absolutely agree.            In

1 3 : 2 6 : 3 4   12     retrospect, I shouldn't have sent these documents, or

1 3 : 2 6 : 3 8   13     certainly should have sought permission before I did."

1 3 : 2 6 : 4 1   14            Even there, I think, there was no world in which

1 3 : 2 6 : 4 4   15     Mr. Dry was going to get permission to circulate Qorvo

1 3 : 2 6 : 4 8   16     documents, so he still kind of excuses himself.             But it's

1 3 : 2 6 : 4 9   17     only when he's caught and he's faced with all of these

1 3 : 2 6 : 5 0   18     documents that he says, "Okay.         Yeah, I guess, that was my

1 3 : 2 6 : 5 3   19     bad on that one."

1 3 : 2 6 : 5 5   20            So this is Group 7, manufacturing, assembly, change

1 3 : 2 6 : 5 9   21     procedures.       There's four trade secrets in this group.

1 3 : 2 7 : 0 1   22     They all relate to those manufacturing and assembly

1 3 : 2 7 : 0 4   23     documents that Dr. Fattinger talked about.

1 3 : 2 7 : 1 0   24            And then we have Group 8.       And the context for this

1 3 : 2 7 : 1 1   25     group is we're now all the way at the far end of the
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1 3 : 2 7 : 1 2   1      roadmap.    And Akoustis has a product that's in the market.

1 3 : 2 7 : 1 6   2      Its selling its 5-gigahertz filters.          But, again, it can't

1 3 : 2 7 : 1 9   3      stay stale.       And this market is typified by, first of all,

1 3 : 2 7 : 2 3   4      long lead times.       So you have to be able to estimate

1 3 : 2 7 : 2 5   5      what's happening years in advance, and rapid changes in

1 3 : 2 7 : 2 9   6      technology.

1 3 : 2 7 : 2 9   7            So it's not just you have to have to assume what's

1 3 : 2 7 : 3 0   8      happening years in advance, but you really have to see

1 3 : 2 7 : 3 4   9      where people are moving.        And there are right ways to deal

1 3 : 2 7 : 3 7   10     with that and there are wrong ways to deal with that.

1 3 : 2 7 : 3 9   11           I think you've heard from Dr. Lebby, you know, some

1 3 : 2 7 : 4 1   12     companies will wait until a product is out in the market,

1 3 : 2 7 : 4 3   13     they get a teardown report, they look at it and they say,

1 3 : 2 7 : 4 5   14     Okay, what should we do?        Qorvo doesn't have a problem

1 3 : 2 7 : 4 7   15     with that.    We agree, that's a standard industry practice.

1 3 : 2 7 : 5 1   16     That's not what Akoustis was doing here.

1 3 : 2 7 : 5 4   17           So I started with this one.        This is the e-mail

1 3 : 2 7 : 5 8   18     exchange, you may remember, with SJ Kim about the

1 3 : 2 8 : 0 1   19     automotive filters.       This was, just to bring you back,

1 3 : 2 8 : 0 4   20     SJ Kim is the country manager in Korea, took a picture of

1 3 : 2 8 : 0 7   21     a computer screen that had a Qorvo confidential

1 3 : 2 8 : 1 0   22     presentation on it.       And it said, "Qorvo Confidential" on

1 3 : 2 8 : 1 4   23     it, and he sent it to Mr. Aichele.

1 3 : 2 8 : 1 5   24           Now, you heard Mr. Aichele testify about he has

1 3 : 2 8 : 1 7   25     conversations with these people.         He's talked multiple
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1 3 : 2 8 : 1 9   1      times that you shouldn't use or solicit confidential

1 3 : 2 8 : 2 1   2      information from Qorvo or from any other competitors.

1 3 : 2 8 : 2 5   3      But, again, compare what he's saying here to you, sitting

1 3 : 2 8 : 2 9   4      there, to what he said at the time.

1 3 : 2 8 : 3 1   5            He didn't say, SJ, don't send me this presentation.

1 3 : 2 8 : 3 5   6      He forwarded it to the CEO.        And then he said to the CEO,

1 3 : 2 8 : 3 9   7      I asked SJ if he got more confidential information.            And

1 3 : 2 8 : 4 4   8      the CEO didn't say, Hey, Dave, you really shouldn't be

1 3 : 2 8 : 4 8   9      doing this.       This is confidential stuff.      He looked at it

1 3 : 2 8 : 5 1   10     and said, Oh, this is interesting, and he commented on it.

1 3 : 2 8 : 5 4   11           Okay.   And what ultimately happens with this one,

1 3 : 2 8 : 5 8   12     SJ Kim complies.       He finds the rest of the presentation

1 3 : 2 9 : 0 2   13     material that Dave Aichele was looking for, the

1 3 : 2 9 : 0 5   14     confidential Qorvo material, he sends it to Dave Aichele,

1 3 : 2 9 : 0 6   15     Dave Aichele passes it along to Rama Vetury, and they use

1 3 : 2 9 : 1 0   16     this information to modify the specifications that

1 3 : 2 9 : 1 3   17     Akoustis has for the product that it has under

1 3 : 2 9 : 1 5   18     development.

1 3 : 2 9 : 1 7   19           It's not the only example.        I think there's lot of

1 3 : 2 9 : 2 0   20     e-mails, a lot of traffic in this case about the

1 3 : 2 9 : 2 2   21     5 gigahertz products because this was Akoustis' claim to

1 3 : 2 9 : 2 6   22     fame.   This was their thing.       Like, we were the first to

1 3 : 2 9 : 2 9   23     market with 5 gigahertz products.

1 3 : 2 9 : 3 2   24           And what happened was they got to the market and then

1 3 : 2 9 : 3 4   25     they started hearing rumblings.         Qorvo was starting to
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1 3 : 2 9 : 3 9   1      sign NDAs with customers.        They're starting to promote

1 3 : 2 9 : 4 0   2      their products.       And I think, frankly, they panicked.

1 3 : 2 9 : 4 3   3      They're like, Qorvo is now coming into this market, what

1 3 : 2 9 : 4 6   4      are we going to do?

1 3 : 2 9 : 4 7   5            So again, instead of doing it the right way, the way

1 3 : 2 9 : 4 9   6      you would -- you know, doing teardown, waiting for the

1 3 : 2 9 : 5 1   7      product to come out and do teardowns, they start canvasing

1 3 : 2 9 : 5 5   8      for Qorvo confidential information; going out and looking

1 3 : 2 9 : 5 7   9      for data sheets; going out and trying to get prototypes so

1 3 : 3 0 : 0 0   10     they can get -- just so they can test the product.

1 3 : 3 0 : 0 3   11           So this is one -- Dave Aichele from Steven Li in

1 3 : 3 0 : 0 6   12     China, in March of 2016, sending the Qorvo confidential

1 3 : 3 0 : 1 1   13     data sheet.       This is long before this product was

1 3 : 3 0 : 1 3   14     available.    You can't get this data sheet on a website.

1 3 : 3 0 : 1 9   15           Okay.   And then, so the question of use keeps coming.

1 3 : 3 0 : 2 1   16     Like, Well, was this really useful to them?           Well, they

1 3 : 3 0 : 2 4   17     were certainly using it.        The e-mail traffic at the time

1 3 : 3 0 : 2 7   18     shows that they're looking at the specifications and

1 3 : 3 0 : 3 0   19     they're adjusting their product under development.

1 3 : 3 0 : 3 5   20           So I think that's just common sense, right?           Like,

1 3 : 3 0 : 3 7   21     they wouldn't have been out canvasing the world for

1 3 : 3 0 : 4 1   22     confidential Qorvo information because it was useless.              Of

1 3 : 3 0 : 4 3   23     course, they wanted to use it.         I mean, that's -- it's

1 3 : 3 0 : 4 5   24     just common sense.       And the e-mails show that.

1 3 : 3 0 : 5 0   25           And they weren't satisfied just with those data
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1 3 : 3 0 : 5 2   1      sheets.    And this is from Colin Hunt, the president of

1 3 : 3 0 : 5 7   2      global sales.       They're looking for samples.       These are --

1 3 : 3 1 : 0 0   3      again, these -- the context is, these are confidential

1 3 : 3 1 : 0 3   4      samples.    These are only shared with customers under NDA.

1 3 : 3 1 : 0 6   5      And what do they have?

1 3 : 3 1 : 0 8   6            They have their arms out to China.           Let me see if we

1 3 : 3 1 : 1 2   7      can pick up some of these samples so we can test them.

1 3 : 3 1 : 1 4   8      And, unfortunately, they did.        They got -- they borrowed

1 3 : 3 1 : 1 7   9      one from a customer.       They sent it to the United States to

1 3 : 3 1 : 1 9   10     test.    And they got the customer to violate the NDA.

1 3 : 3 1 : 2 2   11           And their response when they got it, they received it

1 3 : 3 1 : 2 5   12     in the United States, what was their first response?

1 3 : 3 1 : 2 6   13     Maybe plagiarism on these EVBs may be a good solution.

1 3 : 3 1 : 3 2   14     Right?    And then they pass it to the test engineers and

1 3 : 3 1 : 3 3   15     they test it up months before they could have gotten this

1 3 : 3 1 : 3 6   16     product and torn it down, because they're getting a head

1 3 : 3 1 : 3 9   17     start on this stuff.

1 3 : 3 1 : 4 0   18           Okay.   And last one I'm going to -- as an example in

1 3 : 3 1 : 4 3   19     this group.       This is the next generation of Wi-Fi.        The

1 3 : 3 1 : 4 7   20     Wi-Fi 6E.     We have roadmaps and they're very clearly

1 3 : 3 1 : 5 0   21     marked as "Confidential."        They have these, like, big red

1 3 : 3 1 : 5 3   22     boxes, "Development, Preview Only, Confidential," right?

1 3 : 3 1 : 5 6   23           And this is the document, you may remember,

1 3 : 3 1 : 5 9   24     Mr. Aichele said, Oh, it was really -- it had no value to

1 3 : 3 2 : 0 2   25     me.   It was useless.
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1 3 : 3 2 : 0 3   1            And I pulled out the e-mail that showed that he was

1 3 : 3 2 : 0 6   2      asking for this document, and said, That would be very

1 3 : 3 2 : 0 8   3      helpful if you could get it.       Well, they got it, passed it

1 3 : 3 2 : 1 0   4      around, discussed it.

1 3 : 3 2 : 1 2   5            So that's Group 8.      Five trade secrets in Group 8.

1 3 : 3 2 : 1 6   6      And those relate to the product development, the product

1 3 : 3 2 : 2 0   7      roadmaps and the prototypes.

1 3 : 3 2 : 2 5   8            So, you know, details matter in this case.          And, you

1 3 : 3 2 : 2 8   9      know, I just went through and I hit you with a lot of

1 3 : 3 2 : 3 1   10     details.    But it's also important to take a step back and

1 3 : 3 2 : 3 6   11     think about context more generally and, you know, what

1 3 : 3 2 : 4 0   12     we're -- why we're here and what we're looking at because

1 3 : 3 2 : 4 2   13     this is not a one-off, like they took one confidential

1 3 : 3 2 : 4 7   14     data sheet or they took one test plan.

1 3 : 3 2 : 4 9   15           What we're talking about here is a profound sustained

1 3 : 3 2 : 5 4   16     widespread efforts to take everything you need in order to

1 3 : 3 2 : 5 9   17     create yourself as a competitor in this market.           And I

1 3 : 3 3 : 0 0   18     think that's what the eight trade secret groups show.

1 3 : 3 3 : 0 3   19           And it's also important to note, there's been some, I

1 3 : 3 3 : 0 6   20     mean, suggestions like you can somehow distinguish

1 3 : 3 3 : 0 9   21     Akoustis from what these folks are doing.          These folks are

1 3 : 3 3 : 1 3   22     Akoustis, right?      If you're an employee who is acting in

1 3 : 3 3 : 1 5   23     your official role at a company, you are the company.

1 3 : 3 3 : 1 9   24     Right?

1 3 : 3 3 : 1 9   25           So I think this is a document you've seen before, and
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1 3 : 3 3 : 2 5   1      one that I find just stunning in this case.          These are the

1 3 : 3 3 : 2 8   2      people at Akoustis who we know of, who had confidential

1 3 : 3 3 : 3 3   3      information in their files.       That's 40 people on this

1 3 : 3 3 : 3 6   4      list.   Just think about it.      This is not one-off.      This is

1 3 : 3 3 : 4 1   5      not a case where someone leaves their company and they may

1 3 : 3 3 : 4 3   6      have some information on a USB drive and they forgot to

1 3 : 3 3 : 4 6   7      turn it in, or they may have some information on their

1 3 : 3 3 : 4 8   8      home computer, and there's some debate, like, Did they

1 3 : 3 3 : 5 1   9      really mean to take it, or didn't they?

1 3 : 3 3 : 5 4   10           This is a case where we have systematic widespread

1 3 : 3 3 : 5 7   11     profound misappropriation trade secrets reaching to 40

1 3 : 3 4 : 0 0   12     different employees that we know of.

1 3 : 3 4 : 0 2   13           What we did on this slide, is we highlighted the ones

1 3 : 3 4 : 0 5   14     in red, who came from Qorvo, and we kept the ones in black

1 3 : 3 4 : 0 9   15     who didn't come from Qorvo.

1 3 : 3 4 : 1 0   16           And why we think this is important is, it just shows

1 3 : 3 4 : 1 3   17     how the confidential information is spreading at Akoustis.

1 3 : 3 4 : 1 6   18     This isn't someone taking a USB drive and sitting in their

1 3 : 3 4 : 1 9   19     office with the USB drive.       The information gets in and it

1 3 : 3 4 : 2 2   20     spreads like wildfire.

1 3 : 3 4 : 2 6   21           And this is not just -- I mean, maybe you can try to

1 3 : 3 4 : 3 0   22     make an excuse for someone.       I'm just out of college.      I

1 3 : 3 4 : 3 2   23     don't know how this industry works.        You know, I had a

1 3 : 3 4 : 3 5   24     lapse in judgment or something.

1 3 : 3 4 : 3 6   25           These are senior people.      The misappropriation in
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1 3 : 3 4 : 3 9   1      this case starts at the very top, from the CEO, whose

1 3 : 3 4 : 4 3   2      copying new development technology process documents from

1 3 : 3 4 : 4 8   3      RFMD, and sending them around to his executives.            Okay.

1 3 : 3 4 : 5 0   4            And look at the executives on this.          I mean, we have

1 3 : 3 4 : 5 2   5      the chief product officer.        We have the executive vice

1 3 : 3 4 : 5 4   6      president of business development.         We have the vice

1 3 : 3 4 : 5 6   7      president of quality.        These are senior folks.     They've

1 3 : 3 4 : 5 9   8      been in this industry, and they know this is wrong.            They

1 3 : 3 5 : 0 1   9      know you can't do this.

1 3 : 3 5 : 0 6   10           This one we've seen.       I don't want to beat this one

1 3 : 3 5 : 0 9   11     to death.    But, I mean, I think it's very -- typifies the

1 3 : 3 5 : 1 2   12     culture at Akoustis.        Dave Aichele, who claims that he's

1 3 : 3 5 : 1 7   13     out telling people you shouldn't get confidential

1 3 : 3 5 : 2 0   14     information, gets an e-mail from his country manager in

1 3 : 3 5 : 2 2   15     Korea, who says, I'm using my expense report to get key

1 3 : 3 5 : 2 6   16     confidential information about our competitors, including

1 3 : 3 5 : 2 9   17     Qorvo.

1 3 : 3 5 : 3 0   18           How does Mr. Aichele respond?        Does he say, SJ, don't

1 3 : 3 5 : 3 4   19     do that, I've told you before, you can't get this

1 3 : 3 5 : 3 7   20     information?       No.   That's not what he does.

1 3 : 3 5 : 3 9   21           I mean, look at what we have in the upper right-hand

1 3 : 3 5 : 4 1   22     corner of this.       This is an e-mail from Mr. Aichele in

1 3 : 3 5 : 4 4   23     April 2020.       So this is six months after Mr. Kim tells

1 3 : 3 5 : 4 7   24     him, I'm using my expense account to get confidential

1 3 : 3 5 : 5 0   25     information.       What does SJ -- what does Mr. Aichele do
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1 3 : 3 5 : 5 3   1      six months later?      He's out there asking Mr. Kim, along

1 3 : 3 5 : 5 6   2      with other folks, please try to find this confidential

1 3 : 3 5 : 5 9   3      Qorvo information for me.

1 3 : 3 6 : 0 0   4            Again, these are the 5 gigahertz products at Qorvo

1 3 : 3 6 : 0 3   5      that are not on the market, and he is out there saying,

1 3 : 3 6 : 0 6   6      Please try to go get these.       I mean, I don't think it

1 3 : 3 6 : 0 9   7      takes a huge leap of imagination to say, that's because

1 3 : 3 6 : 1 2   8      Dave Aichele knew that SJ Kim had a way to get

1 3 : 3 6 : 1 5   9      confidential information.

1 3 : 3 6 : 1 8   10           This is another one, too.       And we've heard a lot, in

1 3 : 3 6 : 2 1   11     this case a lot.      We've heard in this case that Akoustis

1 3 : 3 6 : 2 4   12     has a code of ethics and a code of business conduct,

1 3 : 3 6 : 2 6   13     right?    And I think that that's being presented to you to

1 3 : 3 6 : 3 1   14     suggest that Akoustis is really an ethical company.           I

1 3 : 3 6 : 3 4   15     would suggest to you it shows the opposite.

1 3 : 3 6 : 3 6   16           The first thing it shows you is that Akoustis knows

1 3 : 3 6 : 4 0   17     that you shouldn't get confidential information from third

1 3 : 3 6 : 4 3   18     parties because that's what the policy says, right?           So it

1 3 : 3 6 : 4 6   19     says, Employees should not obtain and use third-party

1 3 : 3 6 : 4 9   20     confidential information.       So the company knows that's

1 3 : 3 6 : 5 1   21     wrong.

1 3 : 3 6 : 5 1   22           But then what are they doing in practice?         Are they

1 3 : 3 6 : 5 3   23     implementing this policy?       No.   From the top down, they're

1 3 : 3 6 : 5 7   24     going out and getting confidential information and using

1 3 : 3 7 : 0 0   25     it.   So that shows not only do they know that this is
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1 3 : 3 7 : 0 4   1      wrong, it shows that they are violating their own

1 3 : 3 7 : 0 8   2      policies.

1 3 : 3 7 : 1 0   3            We had Ms. Johnson testify here, not a single person

1 3 : 3 7 : 1 3   4      has been disciplined under this policy.           Not a single one.

1 3 : 3 7 : 1 6   5      And you've seen the evidence in this case.            I think that's

1 3 : 3 7 : 1 9   6      crazy.    I mean, we have six years of Qorvo's confidential

1 3 : 3 7 : 2 3   7      information being passed around there.            Not a single

1 3 : 3 7 : 2 5   8      person.    SJ Kim, who's bribing people for confidential

1 3 : 3 7 : 2 8   9      information, he's not disciplined under this policy.

1 3 : 3 7 : 3 1   10     Certainly, the CEO is not disciplined, even know he's

1 3 : 3 7 : 3 3   11     copying our documents.

1 3 : 3 7 : 3 5   12           I mean, that's -- we're talking about, I think what

1 3 : 3 7 : 3 7   13     Dr. Shanfield said was a culture of corruption.             I mean,

1 3 : 3 7 : 3 9   14     this is really, I mean, stunning stuff.

1 3 : 3 7 : 4 4   15           The other scary question to ask in this case is, what

1 3 : 3 7 : 4 7   16     don't we know?     So you saw Mr. Faulker's analysis here,

1 3 : 3 7 : 5 3   17     all the stuff he found with the limited number of devices

1 3 : 3 7 : 5 6   18     he got.    Also, look at all the devices he didn't get.

1 3 : 3 8 : 0 0   19           Dave Aichele, we didn't get his computers from 2015

1 3 : 3 8 : 0 4   20     to 2021.    What was on those?

1 3 : 3 8 : 0 7   21           Rohan Houlden, 37 removable drives that he's using to

1 3 : 3 8 : 1 1   22     move information around between his computers, including,

1 3 : 3 8 : 1 2   23     by the way, the drive he used to take the stuff from

1 3 : 3 8 : 1 6   24     Qorvo.    Didn't get that.

1 3 : 3 8 : 1 7   25           So just imagine what we would have found if we had
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1 3 : 3 8 : 2 0   1      all of these devices.      I mean, I think it's a scary

1 3 : 3 8 : 2 3   2      prospect.

1 3 : 3 8 : 2 5   3            So we've also heard in this case -- and I want to

1 3 : 3 8 : 2 7   4      take a few minutes to talk about the arguments on the

1 3 : 3 8 : 3 0   5      other side, their excuses for what's going on here.

1 3 : 3 8 : 3 3   6            First one is trade secrets that Qorvo's pointing to

1 3 : 3 8 : 3 9   7      had no value.     And I think that one you almost have to

1 3 : 3 8 : 4 2   8      take a step back before you even start to dig in, say,

1 3 : 3 8 : 4 5   9      Does that make any sense?       Like, it's a

1 3 : 3 8 : 4 8   10     litigation-inspired position, first.         That's not what they

1 3 : 3 8 : 5 2   11     were saying at the time.       If you look at what they were

1 3 : 3 8 : 5 4   12     saying at the time, This is helpful.         Look at this.     This

1 3 : 3 8 : 5 6   13     is the primary document I'm using.

1 3 : 3 8 : 5 8   14           But, you know, they get caught and they stall, and

1 3 : 3 8 : 5 9   15     they say, Well, none of this stuff was really useful.            I

1 3 : 3 9 : 0 1   16     don't think that.      I would suggest to you that that

1 3 : 3 9 : 0 4   17     doesn't make sense.      They wouldn't be passing it around if

1 3 : 3 9 : 0 6   18     it wasn't useful.

1 3 : 3 9 : 0 8   19           The other thing is -- and I think the Court will

1 3 : 3 9 : 1 3   20     instruct you later on what "use" means.           And I'm not -- I

1 3 : 3 9 : 1 7   21     do not give you the law in this case.         So I have an

1 3 : 3 9 : 2 0   22     expectation of what that may be, but you need to follow

1 3 : 3 9 : 2 3   23     whatever the Court instructs you on what use is.

1 3 : 3 9 : 2 4   24           But I expect the Court will tell you "use," in this

1 3 : 3 9 : 2 7   25     context, is a broad concept, right.        It covers things
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1 3 : 3 9 : 3 1   1      like, I get your engineering information and I consider

1 3 : 3 9 : 3 4   2      that in engineering my products.         That is use.

1 3 : 3 9 : 3 7   3            And the other side seems to have this concept that

1 3 : 3 9 : 4 0   4      use is only something you can touch.          I don't even know

1 3 : 3 9 : 4 2   5      what their concept is.       But this is use here.      And I think

1 3 : 3 9 : 4 7   6      you will see that.

1 3 : 3 9 : 4 8   7            And, you know, I don't want to -- I think it's kind

1 3 : 3 9 : 5 2   8      of common sense, so I don't want to belabor this too much.

1 3 : 3 9 : 5 5   9      But, I mean, we have so many levels of what they were

1 3 : 3 9 : 5 7   10     doing with the information here; from just, like, straight

1 3 : 4 0 : 0 0   11     out copying it.

1 3 : 4 0 : 0 2   12           I mean, how many instances do we have where they just

1 3 : 4 0 : 0 4   13     straight out copied the information?          You had the trimming

1 3 : 4 0 : 0 7   14     algorithms.       You have the RF connector design.      You have

1 3 : 4 0 : 0 9   15     the new development technology procedure.           You have the

1 3 : 4 0 : 1 1   16     reliability testing.       You have the inspection procedure.

1 3 : 4 0 : 1 4   17     I mean, it's just one after another.          They're, like,

1 3 : 4 0 : 1 7   18     directly copying the documents.         So, but that's not use, I

1 3 : 4 0 : 2 0   19     guess.

1 3 : 4 0 : 2 1   20           Then, I think, it's also critical context.           These are

1 3 : 4 0 : 2 4   21     technology companies, right.        So when you get a

1 3 : 4 0 : 2 7   22     competitor's innovations, their research, their research

1 3 : 4 0 : 3 0   23     showing you -- for example, we've heard a lot about shape

1 3 : 4 0 : 3 3   24     of resonators, right.

1 3 : 4 0 : 3 5   25           Dr. Aigner testified, that's not about, Well, you
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1 3 : 4 0 : 3 8   1      have to choose a polygon or you have to choose a

1 3 : 4 0 : 4 0   2      rectangle.     It's about the process, not the product.         It's

1 3 : 4 0 : 4 4   3      about the process of figuring out which shape you should

1 3 : 4 0 : 4 7   4      choose, and what test are you running, and most

1 3 : 4 0 : 4 9   5      importantly, where are you looking.         That is super value

1 3 : 4 0 : 5 4   6      information.       And it goes to a competitor, and they're

1 3 : 4 0 : 5 5   7      saying, Well, that was not useful to me, that has no

1 3 : 4 0 : 5 8   8      value?    I don't think it stands up to the smell test.

1 3 : 4 1 : 0 5   9             Kind of covered a lot of these, so I'm just going to

1 3 : 4 1 : 0 6   10     skip, and, hopefully, we'll get done a little sooner.

1 3 : 4 1 : 1 2   11            FBAR.   That was the original -- I mean, we go back

1 3 : 4 1 : 1 6   12     when we do these things and we look at what was said in

1 3 : 4 1 : 1 9   13     the opening, right, like what did they promise to show

1 3 : 4 1 : 2 0   14     you?    What did we say we would show you?         I think one of

1 3 : 4 1 : 2 3   15     the big promises from their opening is, you're going to

1 3 : 4 1 : 2 4   16     find out that this is just totally different technology.

1 3 : 4 1 : 2 8   17            I hope that you've seen that that's not the case at

1 3 : 4 1 : 3 1   18     this point.       There is a difference between FBAR and SMR

1 3 : 4 1 : 3 5   19     resonators.       No one is denying that.     The difference is

1 3 : 4 1 : 3 7   20     what's shown here.       An FBAR resonator has an air cavity.

1 3 : 4 1 : 4 2   21     And SMR resonator has reflecters.         Okay?

1 3 : 4 1 : 4 6   22            The critical thing is not that that's a difference,

1 3 : 4 1 : 4 8   23     it's why does that matter to the documents that we're

1 3 : 4 1 : 5 1   24     talking about here?       We are not asserting trade secrets

1 3 : 4 1 : 5 3   25     about how to form the reflecters that sit underneath our
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1 3 : 4 1 : 5 7   1      resonators or how to form the air cavity, okay?           And

1 3 : 4 2 : 0 0   2      everything else about these -- these technologies is the

1 3 : 4 2 : 0 4   3      same.    Even the function of the air cavity and the

1 3 : 4 2 : 0 7   4      reflector is the same.

1 3 : 4 2 : 0 8   5            And so on this one, you kind of have to ask yourself

1 3 : 4 2 : 1 0   6      again, well, go through the trade secret groups, business

1 3 : 4 2 : 1 3   7      plans.    Does the structure of the resonator have anything

1 3 : 4 2 : 1 7   8      to do with the business plans?

1 3 : 4 2 : 1 9   9            The technology, the Group 2, the development

1 3 : 4 2 : 2 1   10     procedures, that's probably the one that's most relevant

1 3 : 4 2 : 2 5   11     to this, but we had Dr. Aigner and Dr. Fattinger and

1 3 : 4 2 : 2 8   12     Dr. Shanfield go through those, every single one, and the

1 3 : 4 2 : 3 1   13     answer was the same on every single one:          This is

1 3 : 4 2 : 3 4   14     valuable.    It doesn't matter what kind of resonator you

1 3 : 4 2 : 3 6   15     have, okay?

1 3 : 4 2 : 3 8   16           And like let's look at this.       This is Dr. Aigner.

1 3 : 4 2 : 4 1   17     He's -- I mean, he is a serious guy, right?          They use the

1 3 : 4 2 : 4 6   18     same principle, FBAR and SMR.       And what that is, is the

1 3 : 4 2 : 5 0   19     air cavity is meant to reflect the waves back up.           That's

1 3 : 4 2 : 5 5   20     what the reflector does.       Dr. Fattinger:     Fundamentally,

1 3 : 4 3 : 0 1   21     the resonator structure is the same.         Dr. Shanfield --

1 3 : 4 3 : 0 5   22     remember, I'm sure he hated me at the time.          I went

1 3 : 4 3 : 0 9   23     through every single group with him:         Is there a

1 3 : 4 3 : 1 1   24     difference, FBAR and SMR, for this trade secret?            Every

1 3 : 4 3 : 1 4   25     single one, no.
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1 3 : 4 3 : 1 9   1             Daeho Kim, their employee.      And we've seen this too.

1 3 : 4 3 : 2 6   2      It's not just Mr. Kim's patent that applies to both FBAR

1 3 : 4 3 : 3 0   3      and SMR.    Dr. Fattinger's patent too.       I mean, this is --

1 3 : 4 3 : 3 3   4      it's known in the industry now.        That's not to say you

1 3 : 4 3 : 3 6   5      couldn't have a trade secret that was related to some

1 3 : 4 3 : 3 9   6      aspect of one of these that's different.           Like, you could

1 3 : 4 3 : 4 2   7      have a trade secret on something to do with the reflectors

1 3 : 4 3 : 4 5   8      or the air cavity.

1 3 : 4 3 : 4 6   9             But that's not what the trade secrets at issue here

1 3 : 4 3 : 4 8   10     are.    We've not asserted anything like that.          So this is,

1 3 : 4 3 : 5 1   11     again, kind of doesn't pass the smell test.            If all of

1 3 : 4 3 : 5 4   12     this was irrelevant, why were they passing around the

1 3 : 4 3 : 5 8   13     information?      Why didn't someone say, stop sending me this

1 3 : 4 4 : 0 0   14     SMR stuff; this isn't useful to me?        You didn't see any of

1 3 : 4 4 : 0 4   15     that.    That's something they invented for this litigation.

1 3 : 4 4 : 0 7   16     They invented to tell you that.        No one has ever mentioned

1 3 : 4 4 : 1 1   17     that before.

1 3 : 4 4 : 1 2   18            Okay.   Here's the other one.     The theme.      Akoustis

1 3 : 4 4 : 1 5   19     was ahead of Qorvo in its 5 gigahertz development.             And

1 3 : 4 4 : 1 9   20     this one is kind of like the most dangerous type of

1 3 : 4 4 : 2 2   21     assertion that's made in the context like this.             Because

1 3 : 4 4 : 2 5   22     there is kind of glimmer of truth to it, right?             Akoustis

1 3 : 4 4 : 2 9   23     reached the market for 5 gigahertz filters before Qorvo

1 3 : 4 4 : 3 2   24     did.    There's not a dispute over that.          But that doesn't

1 3 : 4 4 : 3 6   25     mean Akoustis was ahead of Qorvo.
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1 3 : 4 4 : 3 9   1            I think you heard Dr. Aigner's testimony about all of

1 3 : 4 4 : 4 2   2      our R&D.    Twenty years to launch these filters.         Our

1 3 : 4 4 : 4 7   3      predecessor company has been around since the 1980s.            Our

1 3 : 4 4 : 5 0   4      predecessor company started working on BAW filter

1 3 : 4 4 : 5 4   5      technology in the 1990s.       It took 20 years to get to

1 3 : 4 4 : 5 7   6      commercial production.      But by the time it did, we were

1 3 : 4 5 : 0 0   7      able to launch a number of products, and by the time

1 3 : 4 5 : 0 2   8      Akoustis was formed, we had billions of products on the

1 3 : 4 5 : 0 5   9      market, billions.      They didn't know how to make a

1 3 : 4 5 : 0 8   10     resonator.

1 3 : 4 5 : 0 8   11           We had billions of products on the market; they

1 3 : 4 5 : 1 0   12     didn't know how to make a resonator.         And they want you to

1 3 : 4 5 : 1 3   13     believe, well, they were ahead, and we had to buy our

1 3 : 4 5 : 1 5   14     technology from them because they are ahead.          The only

1 3 : 4 5 : 1 8   15     reason they are ahead was because we made a strategic

1 3 : 4 5 : 2 1   16     decision on how to allocate our resources.          Businesses do

1 3 : 4 5 : 2 4   17     this, right?

1 3 : 4 5 : 2 6   18           We looked at where we could get the best return, and

1 3 : 4 5 : 2 8   19     we focused on the mobile products.        That wasn't because we

1 3 : 4 5 : 3 1   20     didn't have the ability to do 5 gigahertz; that's because

1 3 : 4 5 : 3 4   21     we made a decision.      And by the way, we made the decision

1 3 : 4 5 : 3 8   22     partially because companies like Akoustis shouldn't have

1 3 : 4 5 : 4 0   23     been able to get out on the market because they didn't

1 3 : 4 5 : 4 2   24     have our technological background.        And the only reason

1 3 : 4 5 : 4 5   25     Akoustis was able to jump us and get in the market was
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1 3 : 4 5 : 4 8   1      because they took our trade secrets.

1 3 : 4 5 : 5 3   2            Okay.   On this last excuse here, all this stuff was

1 3 : 4 5 : 5 6   3      publicly available.      What I would be asking myself or

1 3 : 4 5 : 5 9   4      suggest here is that what have they shown you that's

1 3 : 4 6 : 0 3   5      publicly available?      I mean, you'll have the documents

1 3 : 4 6 : 0 5   6      when you go back to the jury room, so you can look and

1 3 : 4 6 : 0 6   7      verify, right?     Like, this is the Qorvo trade secret.

1 3 : 4 6 : 0 9   8      What's the thing?      If it's publicly available, this should

1 3 : 4 6 : 1 3   9      be pretty simple, right?       Put up the publicly available

1 3 : 4 6 : 1 6   10     thing that shows the trimming algorithms.          Put up the

1 3 : 4 6 : 1 7   11     publicly available thing that shows the specific trade

1 3 : 4 6 : 2 0   12     secrets.    That's not what they've done here.

1 3 : 4 6 : 2 1   13           Again, what they've done is they've abstracted this

1 3 : 4 6 : 2 2   14     to a higher level and said, oh, well this trade secret

1 3 : 4 6 : 2 5   15     relates to coupled resonator frequency in a BAW device.

1 3 : 4 6 : 3 1   16     Okay.   But that wasn't what the trade secret was.          The

1 3 : 4 6 : 3 3   17     trade secret was something very specific that Dr. Aigner

1 3 : 4 6 : 3 5   18     pointed to in the presentation, but instead of showing

1 3 : 4 6 : 3 7   19     that specific thing, they go out to a presentation that

1 3 : 4 6 : 4 1   20     has the same general topic and say, Oh, this is all

1 3 : 4 6 : 4 3   21     publicly available.

1 3 : 4 6 : 4 4   22           But that's not the analysis.       The analysis is whether

1 3 : 4 6 : 4 7   23     the trade secret were publicly available; not the concept.

1 3 : 4 6 : 5 5   24           Okay.   So at the end of the day, you will be asked to

1 3 : 4 7 : 0 0   25     go back and deliberate.       And, again, I'm not -- I don't
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1 3 : 4 7 : 0 5   1      instruct you on the law.       Your only instructions on the

1 3 : 4 7 : 0 9   2      law will come from the Judge in this case.          I expect that

1 3 : 4 7 : 1 0   3      he's going to tell you about the burden of proof, and that

1 3 : 4 7 : 1 5   4      you're going to be asked to answer a series of questions

1 3 : 4 7 : 1 8   5      based on the preponderance of the evidence.          What does the

1 3 : 4 7 : 2 1   6      preponderance of the evidence show?

1 3 : 4 7 : 2 2   7            And, again, I think you may recall previously, and I

1 3 : 4 7 : 2 5   8      expect it will be instructed again, that preponderance of

1 3 : 4 7 : 2 7   9      the evidence means if you put the evidence on a scale.            If

1 3 : 4 7 : 3 1   10     it tilts even slightly towards Qorvo, we've carried our

1 3 : 4 7 : 3 5   11     burden.    So 50.1 percent, we've established a

1 3 : 4 7 : 4 0   12     preponderance of the evidence.        This is not a reasonable

1 3 : 4 7 : 4 2   13     doubt case like a murder case where you have to prove

1 3 : 4 7 : 4 4   14     beyond any doubt that something has happened.

1 3 : 4 7 : 4 7   15           You are going to be asked to answer some questions on

1 3 : 4 7 : 4 9   16     your verdict form.      The first questions are going to be:

1 3 : 4 7 : 5 4   17     Has Qorvo established by the greater weight of the

1 3 : 4 7 : 5 8   18     preponderance of the evidence that this alleged trade

1 3 : 4 7 : 5 9   19     secret qualifies as a trade secret and that Akoustis is

1 3 : 4 8 : 0 3   20     liable for this trade secret misappropriation?

1 3 : 4 8 : 1 0   21           So just so you have in mind, I'm not going to go

1 3 : 4 8 : 1 5   22     through all this again for a second time.          And you're

1 3 : 4 8 : 1 6   23     going to be asked to go through by

1 3 : 4 8 : 1 9   24     trade-secret-by-trade-secret, group-by-group to answer

1 3 : 4 8 : 2 1   25     these questions.
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1 3 : 4 8 : 2 2   1            The evidence we presented:       Tony Testa came here and

1 3 : 4 8 : 2 4   2      talked about Groups 1 and 8.       And he explained the value

1 3 : 4 8 : 2 9   3      of these trade secrets to a business, how essential these

1 3 : 4 8 : 3 3   4      business plans are, and why you don't want a competitor to

1 3 : 4 8 : 3 6   5      have your business plan, why that's really valuable to

1 3 : 4 8 : 4 0   6      your competitors as well.

1 3 : 4 8 : 4 2   7            Dr. Aigner.     He carried a heavy load here.         He talked

1 3 : 4 8 : 4 4   8      about four on the trade secret groups.            He did the BAW

1 3 : 4 8 : 4 7   9      filter and resonator designs, the trimming methods and

1 3 : 4 8 : 4 9   10     procedures, the valuation boards, and the mean time to

1 3 : 4 8 : 5 4   11     failure and reliability testing trade secret.            And, again,

1 3 : 4 8 : 5 6   12     we walked through each specific trade secret with him, and

1 3 : 4 8 : 5 9   13     for each one we asked him, what's the value of this?             Why

1 3 : 4 9 : 0 2   14     would you -- are you keeping it secret?           What are you

1 3 : 4 9 : 0 4   15     doing to keep these secret?       Would a competitor find this

1 3 : 4 9 : 0 8   16     valuable?

1 3 : 4 9 : 0 9   17           And Dr. Fattinger.      He did Groups 5 and 7, and he

1 3 : 4 9 : 1 3   18     talked about the product development process and testing

1 3 : 4 9 : 1 6   19     procedures and the assembly procedures.           Same thing.

1 3 : 4 9 : 1 9   20     Walked through these.

1 3 : 4 9 : 2 1   21           And then we have Mr. Creviston, who has been with us

1 3 : 4 9 : 2 5   22     this whole time, kicked us off with his testimony

1 3 : 4 9 : 2 8   23     explaining the real significance of these development

1 3 : 4 9 : 3 1   24     processes as well.

1 3 : 4 9 : 3 5   25           And, finally, you had several hours with
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1 3 : 4 9 : 4 0   1      Dr. Shanfield going through every single group with you

1 3 : 4 9 : 4 2   2      and explaining, again, why these are trade secret, are

1 3 : 4 9 : 4 4   3      they generally known?      Is this stuff that's valued in the

1 3 : 4 9 : 4 7   4      industry?

1 3 : 4 9 : 4 9   5            And reasonable security measures is another issue

1 3 : 4 9 : 5 2   6      that's kind of baked into the trade secret question.             Were

1 3 : 4 9 : 5 4   7      we trying to protect our trade secrets?           On this, I think

1 3 : 4 9 : 5 6   8      the evidence is fairly unrebutted.        We had our chief

1 3 : 5 0 : 0 0   9      information security officer come in, and, also,

1 3 : 5 0 : 0 3   10     Mr. Robinson who is one on the foremost experts in this

1 3 : 5 0 : 0 6   11     area, talk to you about all the things Qorvo does to

1 3 : 5 0 : 0 8   12     protect its security, from contractual protections to

1 3 : 5 0 : 1 3   13     technology protections to physical protections.

1 3 : 5 0 : 1 6   14           Okay.   And you will also be asked:         Did Akoustis

1 3 : 5 0 : 2 2   15     misappropriate trade secret in this case?           And I've gone

1 3 : 5 0 : 2 4   16     through a lot of that evidence here today, and I think the

1 3 : 5 0 : 2 6   17     answer on that one is they clearly acquired these trade

1 3 : 5 0 : 3 0   18     secrets.    They knew that the acquisition of those trade

1 3 : 5 0 : 3 2   19     secrets was contrary to confidentiality obligations that

1 3 : 5 0 : 3 6   20     are standard in the industry.

1 3 : 5 0 : 3 8   21           So if you agree with us in this case, as I hope you

1 3 : 5 0 : 4 1   22     do, and you answer these questions, the answer in the

1 3 : 5 0 : 4 4   23     first column will be yes.

1 3 : 5 0 : 4 7   24           Then the second column is about unjust enrichment.

1 3 : 5 0 : 5 1   25     That's the next thing you will be asked:          Did they get a
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1 3 : 5 0 : 5 3   1      benefit, did Akoustis receive a benefit from taking these

1 3 : 5 0 : 5 6   2      trade secrets?

1 3 : 5 0 : 5 7   3            And on that, we've put in Dr. Shanfield's analysis,

1 3 : 5 1 : 0 0   4      and you're going to recall that he went through and he

1 3 : 5 1 : 0 3   5      took every trade secret and he associated it with a task

1 3 : 5 1 : 0 7   6      that Akoustis would need to perform.         And he made an

1 3 : 5 1 : 0 9   7      estimate of, well, how much time on that task did Akoustis

1 3 : 5 1 : 1 2   8      save because they had the trade secrets.

1 3 : 5 1 : 1 4   9            So you didn't have to go out and build your own

1 3 : 5 1 : 1 6   10     business plan, but you had the benefit of looking at

1 3 : 5 1 : 1 9   11     Qorvo's business plan, how much time would you save?           And

1 3 : 5 1 : 2 2   12     so he looked at that said, you know, for some of these

1 3 : 5 1 : 2 4   13     things you'd save three months, like, for business plan,

1 3 : 5 1 : 2 7   14     business planning purposes.       For other things like product

1 3 : 5 1 : 2 9   15     development and technology or reliability testing, he

1 3 : 5 1 : 3 2   16     thought they saved a longer amount of time.

1 3 : 5 1 : 3 4   17           And then what Dr. Shanfield was testifying about is

1 3 : 5 1 : 3 8   18     that, as a conservatism, he didn't just go through and add

1 3 : 5 1 : 4 2   19     up all of the time that was saved.        And if he did that,

1 3 : 5 1 : 4 6   20     I've done that exercise at one point here.          It's like more

1 3 : 5 1 : 4 9   21     than 20 years if you just add it up.

1 3 : 5 1 : 5 2   22           But he said, you know, that's not fair, because a

1 3 : 5 1 : 5 4   23     company in Akoustis' position, although they are small and

1 3 : 5 1 : 5 7   24     a startup, can do more than one thing at the same time.

1 3 : 5 2 : 0 0   25     And so you really need to think about these things as
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1 3 : 5 2 : 0 3   1      staggered tasks.      And so if we're looking at what the real

1 3 : 5 2 : 0 5   2      head start they got is, it's not 20 years; it's 55 months

1 3 : 5 2 : 0 9   3      is what he said.

1 3 : 5 2 : 1 0   4            And I think we've had testimony from the experts on

1 3 : 5 2 : 1 3   5      the other side that -- from Dr. Darveaux, oh, 55 months is

1 3 : 5 2 : 1 6   6      crazy.    That's saying that it would have taken them nine

1 3 : 5 2 : 1 9   7      years to enter this market.

1 3 : 5 2 : 2 1   8            I would push back on that fairly strongly.            It took

1 3 : 5 2 : 2 4   9      Qorvo 20 years, and you heard another example with

1 3 : 5 2 : 2 6   10     Dr. Darveaux, Skyworks, a major company in this industry,

1 3 : 5 2 : 2 9   11     when it wanted to move forward with BAW filter

1 3 : 5 2 : 3 2   12     development, it bought a company that had been already

1 3 : 5 2 : 3 5   13     working on BAW filters for more than a decade, and it

1 3 : 5 2 : 3 8   14     still took another four years to get into the market.

1 3 : 5 2 : 4 0   15           So these kind of timelines, nine and a half years is

1 3 : 5 2 : 4 3   16     not a crazy timeline in this kind of setting.            This is

1 3 : 5 2 : 4 7   17     really, really complicated technology.            This is not the

1 3 : 5 2 : 5 0   18     kind of stuff that you do in a garage, unfortunately.

1 3 : 5 2 : 5 9   19           Dr. Shanfield's analysis is going to be available to

1 3 : 5 3 : 0 1   20     you in the jury room.      You'll have his chart, which was

1 3 : 5 3 : 0 4   21     put in as an exhibit.

1 3 : 5 3 : 1 0   22           So I'm not going to walk through every one of these

1 3 : 5 3 : 1 2   23     with you.    I'll just give you the exhibit number, if I can

1 3 : 5 3 : 1 5   24     find it.    It's 228.    So if you want to have your hands on

1 3 : 5 3 : 2 0   25     Dr. Shanfield's analysis and how he stacked these up, its
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1 3 : 5 3 : 2 3   1      Exhibit 228.

1 3 : 5 3 : 2 9   2            And look at all the time we are going to save here.

1 3 : 5 3 : 3 8   3      All right.

1 3 : 5 3 : 3 8   4            So if you agree with us again, as we hope you do,

1 3 : 5 3 : 4 0   5      that there was a benefit to Akoustis from obtaining the

1 3 : 5 3 : 4 4   6      trade secrets, then you would put a "yes" in that second

1 3 : 5 3 : 4 7   7      column on the chart.      We're only showing Group 1 here, but

1 3 : 5 3 : 4 9   8      you'll have the same chart for all the groups.

1 3 : 5 3 : 5 3   9            Damages.    So you heard from Melissa Bennis yesterday.

1 3 : 5 3 : 5 8   10     The way we've done damages here is we kind of took a step

1 3 : 5 4 : 0 1   11     back and we said, okay, if you have a 55-month head start,

1 3 : 5 4 : 0 4   12     what's the real benefit of that to you?

1 3 : 5 4 : 0 7   13           And what Ms. Bennis concluded is the real benefit to

1 3 : 5 4 : 1 2   14     a person, which I think makes total common sense is, if

1 3 : 5 4 : 1 3   15     you get a dollar today, it's worth more than a dollar

1 3 : 5 4 : 1 5   16     tomorrow.    So it's just the time value of money.         She's

1 3 : 5 4 : 1 8   17     not attempted to take away any of Akoustis' revenue,

1 3 : 5 4 : 2 1   18     saying you would have made less money or anything like

1 3 : 5 4 : 2 4   19     that.

1 3 : 5 4 : 2 4   20           All she's saying is if Dr. Shanfield's correct, which

1 3 : 5 4 : 2 8   21     she assumes he is, that his 55-month head start, then the

1 3 : 5 4 : 3 2   22     revenue she got today would have been later in time.           And

1 3 : 5 4 : 3 4   23     she's calculated time value of money, which is one of the

1 3 : 5 4 : 3 6   24     most basic principles that we learn.

1 3 : 5 4 : 4 0   25           Here's the animation showing, it's pushing the
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1 3 : 5 4 : 4 3   1      revenues out.       I think there was some suggestion earlier

1 3 : 5 4 : 4 6   2      today that the real impact of this would have been that

1 3 : 5 4 : 5 1   3      Akoustis was worse off because they got Qorvo's trade

1 3 : 5 4 : 5 3   4      secrets or something like that.         If you're not a

1 3 : 5 4 : 5 5   5      profitable company, you can't get a head start in going to

1 3 : 5 4 : 5 9   6      the market.

1 3 : 5 5 : 0 0   7             And that's just -- I mean, again, that kind of defies

1 3 : 5 5 : 0 3   8      common sense, doesn't it?        If Akoustis got a head start,

1 3 : 5 5 : 0 6   9      it got a head start.       It didn't -- whether Akoustis got a

1 3 : 5 5 : 0 9   10     head start doesn't matter whether they're profitable or

1 3 : 5 5 : 1 1   11     not.    It looks at the time they're saving.         And, you know,

1 3 : 5 5 : 1 5   12     part of the problem with that analysis is, look at what

1 3 : 5 5 : 1 8   13     they're using the money for.        That's part of why you get a

1 3 : 5 5 : 2 1   14     head start.       You get the revenues in the door.      You're

1 3 : 5 5 : 2 3   15     able to invest in things.        So they got revenues 55 months

1 3 : 5 5 : 2 7   16     early here so they can go buy a New York fab or they can

1 3 : 5 5 : 3 0   17     hire more engineers or go and do more marketing trips.

1 3 : 5 5 : 3 3   18     That's all a real time value factor.          Because if they

1 3 : 5 5 : 3 8   19     don't have that revenue stream, the money has to come from

1 3 : 5 5 : 4 2   20     somewhere else.       They've got to raise it.      And that's what

1 3 : 5 5 : 4 3   21     the time value of money is.

1 3 : 5 5 : 4 5   22            Okay.   So on damages, the number we've put in that

1 3 : 5 5 : 4 8   23     we're asking to be awarded is 50.3 million.           $50,334,371.

1 3 : 5 5 : 5 5   24     This is, just to be clear, adjusted from Ms. Bennis'

1 3 : 5 6 : 0 1   25     original analysis.       When we had testimony from Dr.
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1 3 : 5 6 : 0 4   1      Aichele, he said our revenues were not -- we were off on

1 3 : 5 6 : 0 8   2      our projections.      Revenues were down.     So we adjusted that

1 3 : 5 6 : 1 1   3      number down on the bases of that testimony.

1 3 : 5 6 : 1 5   4            You're also going to be asked questions on exemplary

1 3 : 5 6 : 2 0   5      damages.    I want to just talk about that because we

1 3 : 5 6 : 2 6   6      haven't said a whole lot about that in this case.

1 3 : 5 6 : 3 0   7            So if there's ever been a case where exemplary

1 3 : 5 6 : 3 6   8      damages are appropriate, we would submit to you this is

1 3 : 5 6 : 3 8   9      the one.    It's -- you've seen the pervasive long-standing

1 3 : 5 6 : 4 4   10     efforts to get our trade secrets here.            It's not a one-off

1 3 : 5 6 : 4 7   11     instance.

1 3 : 5 6 : 4 8   12           Also, I think you may have seen it come through with

1 3 : 5 6 : 5 1   13     the witnesses.     There's a total lack of remorse and

1 3 : 5 6 : 5 4   14     accountability with these witnesses.         I mean, it goes

1 3 : 5 6 : 5 8   15     down -- I mean, all the way down to the expert witness.

1 3 : 5 7 : 0 0   16     None of this is useful.       We didn't need any of this stuff.

1 3 : 5 7 : 0 4   17           You know, Dr. Shealy, one of my favorite ones, he's a

1 3 : 5 7 : 0 8   18     hands-off leader.      Don't blame me for this.        I'm a

1 3 : 5 7 : 1 0   19     hands-off -- I let me people go and they're just going to

1 3 : 5 7 : 1 2   20     do what they're -- what they're going to do.

1 3 : 5 7 : 1 5   21           Also think about, when you think about the exemplary

1 3 : 5 7 : 1 9   22     damages aspect of this, the efforts to evade, right?             The

1 3 : 5 7 : 2 3   23     deception that's involved here, switching to your personal

1 3 : 5 7 : 2 7   24     accounts.    Telling people, I'll do this to make you feel

1 3 : 5 7 : 3 1   25     more comfortable.      Bribing people.    Using your expense
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1 3 : 5 7 : 3 4   1      account to bribe people.

1 3 : 5 7 : 3 5   2             This is stuff -- this is not normal stuff.          This is

1 3 : 5 7 : 3 7   3      really very atypical, serious behavior.           And a company

1 3 : 5 7 : 4 3   4      that engages in this kind of behavior from the top down,

1 3 : 5 7 : 4 6   5      that's the -- that's why we have exemplary damages.            This

1 3 : 5 7 : 5 0   6      is exactly the kind of case where they should -- where

1 3 : 5 7 : 5 2   7      they should be awarded.

1 3 : 5 7 : 5 5   8             Okay.   So I'm going to spend just a minute on patent

1 3 : 5 8 : 0 2   9      infringement.     The stepsister, I guess, in this case in

1 3 : 5 8 : 0 7   10     some ways.

1 3 : 5 8 : 0 9   11            We've done an analysis and we've asserted

1 3 : 5 8 : 1 3   12     infringement of two patents in this case.           We've analyzed

1 3 : 5 8 : 1 6   13     19 Akoustis products and we've determined that 19 of those

1 3 : 5 8 : 2 2   14     products infringe for the '755 patent and 18 infringe for

1 3 : 5 8 : 2 6   15     the '018 patent.

1 3 : 5 8 : 2 9   16            So I want to start with the '018 patent.         I believe

1 3 : 5 8 : 3 2   17     you will hear from the judge later today with his

1 3 : 5 8 : 3 5   18     instructions but, again, you have to take his

1 3 : 5 8 : 3 7   19     instructions, not mine, that you look at a patent claim on

1 3 : 5 8 : 4 0   20     a limitation-by-limitation basis.        You have to look at

1 3 : 5 8 : 4 4   21     each one of the limitations that we have here.

1 3 : 5 8 : 4 6   22            The good news is I don't think there's any dispute on

1 3 : 5 8 : 5 0   23     limitation 1A or 1B for this patent, the '018 patent.             So

1 3 : 5 8 : 5 6   24     there's really only, I believe, two issues that are before

1 3 : 5 8 : 5 7   25     you.
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1 3 : 5 8 : 5 8   1            The first issue on this patent is whether or not the

1 3 : 5 9 : 0 1   2      top electrode is thinner than the bottom electrode.            So,

1 3 : 5 9 : 0 5   3      remember, there's a sandwich.        You have a bottom

1 3 : 5 9 : 0 8   4      electrode, piezoelectric layer, and top electrode.            So

1 3 : 5 9 : 1 0   5      there's a dispute as to whether the top electrode in the

1 3 : 5 9 : 1 3   6      Akoustis products is thinner than the bottom electrode.

1 3 : 5 9 : 1 6   7            The second one is the point of the '018 patent is

1 3 : 5 9 : 1 8   8      you're changing the structure of the resonator in order to

1 3 : 5 9 : 2 3   9      increase the bandwidth of the filter.          So the last element

1 3 : 5 9 : 2 6   10     of this claim is, we need to show you that they're using

1 3 : 5 9 : 2 9   11     the structure and the patent, the thinner top layer,

1 3 : 5 9 : 3 2   12     thicker bottom layer, is going to actually increase the

1 3 : 5 9 : 3 5   13     bandwidth.

1 3 : 5 9 : 3 7   14           So on the first issue, on whether it's thinner or

1 3 : 5 9 : 4 1   15     thicker at the top, we've submitted to you a couple of

1 3 : 5 9 : 4 4   16     pieces of evidence here.        The first on the left-hand side

1 3 : 5 9 : 4 7   17     is from Akoustis' own internal documents, where they list

1 3 : 5 9 : 5 2   18     what the thickness is of these resonator -- these

1 3 : 5 9 : 5 5   19     electrodes.       And you can see the bottom electrode here

1 3 : 5 9 : 5 9   20     which needs to be thicker is listed as having 930A, that's

1 4 : 0 0 : 0 5   21     angstroms, so that's the thickness measurement, and the

1 4 : 0 0 : 0 8   22     top is listed as having 830A, angstroms.           So Akoustis' own

1 4 : 0 0 : 1 3   23     documents indicate the top electrode is thinner than the

1 4 : 0 0 : 1 6   24     bottom electrode.

1 4 : 0 0 : 1 7   25           But we didn't just stop there.        We had Dr. Heinrich,
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1 4 : 0 0 : 1 9   1      who you may remember he was the -- with the bacon

1 4 : 0 0 : 2 2   2      references.       He did the -- he used an electron microscope

1 4 : 0 0 : 2 7   3      to measure the layer of thicknesses.          And that's what you

1 4 : 0 0 : 3 1   4      see on the right-hand side of this slide.            The top

1 4 : 0 0 : 3 3   5      Number 73.34, that's the top electrode.            The bottom

1 4 : 0 0 : 3 7   6      Number, 90.34, that's is the bottom electrode.

1 4 : 0 0 : 4 1   7            So Dr. Heinrich's analysis also confirms that in the

1 4 : 0 0 : 4 4   8      Akoustis products, the top electrode is thinner than the

1 4 : 0 0 : 4 7   9      bottom electrode.

1 4 : 0 0 : 4 9   10           Now, this goes to -- I think what you've heard from

1 4 : 0 0 : 5 2   11     the opposing expert on this -- what they're going to argue

1 4 : 0 0 : 5 5   12     that the top electrode was thicker, is instead of looking

1 4 : 0 0 : 5 8   13     at the electrode, they're looking at this thing on the

1 4 : 0 1 : 0 1   14     side that's called a border ring.         It's like a bump on the

1 4 : 0 1 : 0 3   15     side, kind of holds stuff in.        Think about it that way.

1 4 : 0 1 : 0 8   16     And that bump is thicker than the bottom electrode.             But

1 4 : 0 1 : 1 2   17     that's not the top electrode, and so that's what's going

1 4 : 0 1 : 1 5   18     on here.

1 4 : 0 1 : 1 6   19           And if you look at this slide in front of you,

1 4 : 0 1 : 1 8   20     Dr. Heinrich actually indicated or shown where the

1 4 : 0 1 : 2 2   21     electrode is.       And so -- and what they're pointing to is

1 4 : 0 1 : 2 5   22     they want to ignore that whole electrode and look at only

1 4 : 0 1 : 2 8   23     the thing that's on the right-hand side, circled in red,

1 4 : 0 1 : 3 1   24     which is the border ring and not the top electrode.             So

1 4 : 0 1 : 3 3   25     that's what's going on there.
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1 4 : 0 1 : 3 6   1            And then the other issue with this argument about the

1 4 : 0 1 : 3 9   2      border rings is that only certain Akoustis products

1 4 : 0 1 : 4 2   3      actually have the border ring.        So even if the border ring

1 4 : 0 1 : 4 4   4      were the top electrode, which it's not, that's not found

1 4 : 0 1 : 4 8   5      in a number of Akoustis products, and that's what we're

1 4 : 0 1 : 5 1   6      showing here.     Only eight of the Akoustis accused products

1 4 : 0 1 : 5 5   7      have that border ring structure.

1 4 : 0 1 : 5 9   8            And then on the simulations -- this one is a little

1 4 : 0 2 : 0 1   9      bit a strange one.      So we did simulations to look at what

1 4 : 0 2 : 0 4   10     the bandwidth effect was.       That's Dr. Shanfield's analysis

1 4 : 0 2 : 0 7   11     and that's what you see on the left-hand side of this

1 4 : 0 2 : 1 0   12     slide where the -- what it's showing is on the blue line

1 4 : 0 2 : 1 4   13     is dropping, so loss is going down on the blue line on the

1 4 : 0 2 : 1 9   14     right-hand side here.      On the left-hand side of the slide

1 4 : 0 2 : 2 2   15     but on the right-hand side of the image, the blue is going

1 4 : 0 2 : 2 4   16     down, which means that the border of the passband -- your

1 4 : 0 2 : 2 8   17     loss is going down.      And that's what increases the

1 4 : 0 2 : 3 1   18     bandwidth of the filter.

1 4 : 0 2 : 3 2   19           And so Dr. Shanfield's simulation shows that this

1 4 : 0 2 : 3 6   20     is -- that this effect of increasing the bandwidth is

1 4 : 0 2 : 3 9   21     done.

1 4 : 0 2 : 4 0   22           Dr. Nguyen didn't do a simulation of his own.          He

1 4 : 0 2 : 4 3   23     could have done a simulation and said, Dr. Shanfield, your

1 4 : 0 2 : 4 6   24     simulation is wrong.      The loss goes up so the bandwidth

1 4 : 0 2 : 4 8   25     goes down.    He didn't do that.      So really what you have is
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1 4 : 0 2 : 5 2   1      Dr. Shanfield's analysis.       You know, so there's that.

1 4 : 0 2 : 5 8   2            And then this is the second patent.         You may remember

1 4 : 0 3 : 0 0   3      Dr. Fattinger talking about this.        This is the '755

1 4 : 0 3 : 0 4   4      patent.    There's only, again, good news for the

1 4 : 0 3 : 0 7   5      limitations that we're going through.         There's only one

1 4 : 0 3 : 0 9   6      that I believe is in dispute here, and that's the last

1 4 : 0 3 : 1 1   7      one, 19H.    And the question on this one is just a

1 4 : 0 3 : 1 5   8      simulation question.      It's whether the -- using the

1 4 : 0 3 : 1 8   9      structure of this patent will result in less energy

1 4 : 0 3 : 2 3   10     leakage.

1 4 : 0 3 : 2 4   11           And so you may remember what Dr. Fattinger explained.

1 4 : 0 3 : 2 8   12     He had purple and the orange, right?         And what this patent

1 4 : 0 3 : 3 2   13     is basically covering is the purple part on the right-hand

1 4 : 0 3 : 3 4   14     side of the slide.      The purple part needs to be a

1 4 : 0 3 : 3 6   15     different thickness than the orange part in the middle.

1 4 : 0 3 : 3 9   16     And there's no dispute in this case, the purple part is

1 4 : 0 3 : 4 2   17     the outer region and the orange part is inside the active

1 4 : 0 3 : 4 6   18     region.

1 4 : 0 3 : 4 7   19           There's no dispute in this case that the Akoustis

1 4 : 0 3 : 5 0   20     products have this exact structure.        That's why there's

1 4 : 0 3 : 5 3   21     green checkmarks on all the other limitations.          The only

1 4 : 0 3 : 5 5   22     dispute is whether having that structure results in less

1 4 : 0 3 : 5 8   23     energy leakage.     So that's a matter of the simulations.

1 4 : 0 4 : 0 2   24           And what we can see here, again, is Dr. Shanfield,

1 4 : 0 4 : 0 5   25     he's done the simulation.       Again, the Akoustis product is
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1 4 : 0 4 : 1 0   1      the blue line.     And this is energy loss that's being

1 4 : 0 4 : 1 4   2      shown.    And you can see at the 5.6 gigahertz range, which

1 4 : 0 4 : 1 7   3      is the center frequency -- that's the frequency we care

1 4 : 0 4 : 2 0   4      about -- that loss has gone down because of the structure.

1 4 : 0 4 : 2 3   5      It's below the green line.

1 4 : 0 4 : 2 5   6            So, again, Dr. Shanfield's simulation shows that the

1 4 : 0 4 : 3 0   7      energy leakage is less using the structure of this patent.

1 4 : 0 4 : 3 3   8      And there's really -- I think the argument on the other

1 4 : 0 4 : 3 5   9      side of this is Dr. Shanfield made a mistake because when

1 4 : 0 4 : 3 8   10     he originally did his report, he had a bunch of

1 4 : 0 4 : 4 1   11     screenshots and he put in the wrong screenshot into his

1 4 : 0 4 : 4 5   12     report.    But, you know, there's no, I think, attack on the

1 4 : 0 4 : 4 8   13     validity of his simulation.       Simulation shows reduced

1 4 : 0 4 : 5 3   14     energy loss.

1 4 : 0 4 : 5 5   15           All right.    That's what I have.      I appreciate your

1 4 : 0 4 : 5 9   16     attention, and I thank you again for everything that

1 4 : 0 5 : 0 2   17     you've done over the last ten days.        It's been really --

1 4 : 0 5 : 0 4   18     we are really grateful for it.

1 4 : 0 5 : 1 4   19                  THE COURT:    Mr. Elkins, do you wish to make a

1 4 : 0 5 : 1 5   20     closing argument on behalf of Akoustis?

1 4 : 0 5 : 2 0   21                  MR. ELKINS:    I do, Your Honor.

1 4 : 0 5 : 2 1   22                  THE COURT:    You may proceed.

1 4 : 0 5 : 2 2   23                  MR. ELKINS:    Thank you.

1 4 : 0 5 : 2 9   24                  So I'm going to parrot Mr. DeFosse to start

1 4 : 0 5 : 3 3   25     off, and that is to thank you for your service.           Being a
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1 4 : 0 5 : 3 8   1      juror is not easy, especially when you're doing it for two

1 4 : 0 5 : 4 1   2      weeks, probably listening to stuff you never thought or

1 4 : 0 5 : 4 3   3      perhaps ever wanted to hear about, especially in the kind

1 4 : 0 5 : 4 6   4      of detail you have.

1 4 : 0 5 : 4 8   5                   So, you know, jury service is -- in civil

1 4 : 0 5 : 5 3   6      trials is unique to the United States.            It's some kind of

1 4 : 0 5 : 5 7   7      strange torture we put our citizens through.            I can raise

1 4 : 0 6 : 0 0   8      my hand to say that I have, too, been tortured over two

1 4 : 0 6 : 0 4   9      weeks in a case involving abandonment of hazardous waste.

1 4 : 0 6 : 1 1   10     And I will tell you, my caffeine intake went up a lot.

1 4 : 0 6 : 1 5   11                  But, in all seriousness, thank you very much.

1 4 : 0 6 : 1 9   12     Both sides appreciate the fact that you've been very

1 4 : 0 6 : 2 2   13     attentive, notwithstanding the less-than-exciting subject

1 4 : 0 6 : 2 5   14     matter at times, and we really appreciate it.

1 4 : 0 6 : 3 2   15                  What -- you can see that I've taken up my

1 4 : 0 6 : 3 6   16     colleague, Mr. Lemieux's, parable about Paul Harvey, who I

1 4 : 0 6 : 4 2   17     did not grow up with, but I remember my grandfather

1 4 : 0 6 : 4 5   18     singing his praises when I was listening to a completely

1 4 : 0 6 : 4 8   19     different station in my car.       And we appreciate that you,

1 4 : 0 6 : 5 4   20     you know, remained steadfast through the first week of

1 4 : 0 6 : 5 8   21     hearing nothing but evidence from Qorvo, notwithstanding

1 4 : 0 7 : 0 4   22     Mr. Aichele and Mr. Shealy, who testified in their direct

1 4 : 0 7 : 1 0   23     examinations, and waited for us to tell the other side, or

1 4 : 0 7 : 1 5   24     the rest of the story, which paints a slightly different

1 4 : 0 7 : 1 8   25     picture than what was foretold in Mr. Masters' opening.
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1 4 : 0 7 : 2 5   1                   Hear the witnesses that you heard from at trial

1 4 : 0 7 : 3 0   2      Mr. Aichele, Dr. Shealy, Daeho Kim, Dr. Kim, Holly

1 4 : 0 7 : 3 5   3      Johnson, Mary Winters, our client rep who was here the

1 4 : 0 7 : 3 9   4      entire time, and Drs. Darveaux and Lebby, on the bottom

1 4 : 0 7 : 4 4   5      row, and Professor Nguyen and Ms. Irwin, who I will not

1 4 : 0 7 : 5 1   6      call Ms. Bennis again.

1 4 : 0 7 : 5 3   7                   But I really wanted to start my discussion with

1 4 : 0 7 : 5 7   8      the elephant in the room, at least the elephant in the

1 4 : 0 8 : 0 0   9      room as regards Akoustis.        Because I think that

1 4 : 0 8 : 0 6   10     Mr. DeFosse framed a good question for us.             We have all of

1 4 : 0 8 : 1 2   11     these documents.       You know, the business conduct

1 4 : 0 8 : 1 7   12     guidelines, the code of ethics and conduct.             The employee

1 4 : 0 8 : 2 1   13     confidentiality agreement.        What the heck was Akoustis

1 4 : 0 8 : 2 7   14     doing with a bunch of documents that didn't belong to it

1 4 : 0 8 : 3 2   15     in its possession.       And if I were you, I'd be asking

1 4 : 0 8 : 3 6   16     myself the same question, or rhetorical questions, that

1 4 : 0 8 : 4 0   17     Mr. DeFosse was asking.

1 4 : 0 8 : 4 2   18                  And -- but first, you know, Ms. Johnson

1 4 : 0 8 : 4 6   19     testified about these.       And the purpose was perhaps not as

1 4 : 0 8 : 5 2   20     Mr. DeFosse suggested.       It wasn't to say that, you know,

1 4 : 0 8 : 5 6   21     to try to paint a pollyannish picture.             The purpose was to

1 4 : 0 9 : 0 2   22     tell you that the company was set up to follow these

1 4 : 0 9 : 0 6   23     guidelines.       And along the way it stumbled.        And it -- it

1 4 : 0 9 : 1 5   24     did not adhere to them in the way that it should have or,

1 4 : 0 9 : 1 8   25     perhaps, the way that the company really wanted to.
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1 4 : 0 9 : 2 4   1                   And I'm going to pick on a little bit

1 4 : 0 9 : 2 9   2      Mr. Aichele and Mr. Shealy.       They are both executive

1 4 : 0 9 : 3 2   3      officers of the company.       Mr. Shealy, obviously, the CEO

1 4 : 0 9 : 3 6   4      and cofounder; Mr. Aichele is an executive vice president

1 4 : 0 9 : 3 9   5      and -- of business development.

1 4 : 0 9 : 4 4   6                   And they, you know, they have this honest and

1 4 : 0 9 : 5 1   7      ethical conduct that they make every employee sign the

1 4 : 0 9 : 5 6   8      agreement with this in it.       And then the other agreements

1 4 : 1 0 : 0 0   9      I just showed you parrot the same, maybe not word for

1 4 : 1 0 : 0 3   10     word, but, certainly, it's the same idea, which is not

1 4 : 1 0 : 0 7   11     only are we going to protect our own confidential

1 4 : 1 0 : 1 0   12     information, but we're going to behave ethically.

1 4 : 1 0 : 1 4   13                  And that includes -- I think I have a little

1 4 : 1 0 : 1 9   14     pointer here I can use on this.

1 4 : 1 0 : 2 1   15                  So it's not just service providers and

1 4 : 1 0 : 2 4   16     suppliers, but also competitors.        And in a lot of ways

1 4 : 1 0 : 2 8   17     they don't do that.      And, you know, you've heard, you've

1 4 : 1 0 : 3 1   18     seen, again, a litany of documents from Qorvo, which

1 4 : 1 0 : 3 6   19     suggest that they didn't live this credo.

1 4 : 1 0 : 4 3   20                  Mr. Aichele, you know, testified about this

1 4 : 1 0 : 4 8   21     kind of a difficult line to walk between getting

1 4 : 1 0 : 5 2   22     legitimate business intelligence and not using

1 4 : 1 0 : 5 7   23     confidential information that he was able to get through

1 4 : 1 1 : 0 0   24     people like Mr. Li or Mr. Kim in Korea.

1 4 : 1 1 : 0 9   25                  He should have led by example, and he didn't.
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1 4 : 1 1 : 1 1   1      And that's on him.       Mr. Shealy, I think was -- and I think

1 4 : 1 1 : 1 7   2      his testimony supports this.        You know, here's a scientist

1 4 : 1 1 : 2 4   3      who is trying to lead a startup company in a competitive

1 4 : 1 1 : 2 9   4      area, and, you know, he hires a lot of friends from RFMD

1 4 : 1 1 : 3 6   5      or acquaintances he knew from there, and, you know, he --

1 4 : 1 1 : 4 2   6      but he didn't pay attention to what they were doing.

1 4 : 1 1 : 4 6   7                   And so, you know, the -- as I think Harry

1 4 : 1 1 : 5 1   8      Truman, who I'm glad to say was little bit before my time,

1 4 : 1 1 : 5 7   9      but, you know, he had this famous little block on his desk

1 4 : 1 2 : 0 1   10     that said, "The buck stops here."         And, you know

1 4 : 1 2 : 0 6   11     Mr. Shealy, as the CEO and founder, and Mr. Aichele as the

1 4 : 1 2 : 1 0   12     executive vice president, need to accept some

1 4 : 1 2 : 1 3   13     responsibility for the company, certainly, and we'll get

1 4 : 1 2 : 1 9   14     to the trade secrets, but, certainly, on the ethical side

1 4 : 1 2 : 2 2   15     they could have done a lot better.

1 4 : 1 2 : 2 4   16                  I will say that the evidence shows that, over

1 4 : 1 2 : 2 6   17     time, you know, you really see these documents stop.            The

1 4 : 1 2 : 3 2   18     date of these documents from Qorvo appear to stop around

1 4 : 1 2 : 3 5   19     2020, and I think, as I will refer to later, you can see a

1 4 : 1 2 : 4 0   20     big change coming around in 2017 when the company acquires

1 4 : 1 2 : 4 5   21     the STC MEMS facility in New York, which provides the

1 4 : 1 2 : 5 1   22     manufacturing know-how based on its 20 years of

1 4 : 1 2 : 5 7   23     experience.       And Dr. Kim arrives from Samsung

1 4 : 1 3 : 0 3   24     Electromechanical and resets the company's technology to

1 4 : 1 3 : 0 9   25     the XBAW process for which we have heard nothing from
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1 4 : 1 3 : 1 5   1      Qorvo about the XBAW process somehow incorporating Qorvo

1 4 : 1 3 : 2 0   2      technology or being based on any Qorvo processes.

1 4 : 1 3 : 3 3   3                   These three names figure prominently in

1 4 : 1 3 : 3 7   4      Qorvo's -- in Mr. DeFosse's presentation, and no wonder.

1 4 : 1 3 : 4 4   5      Mr. Houlden, who, you know, when he -- I think Mr. DeFosse

1 4 : 1 3 : 5 3   6      said what Mr. Houlden did here was a problem.          I wrote

1 4 : 1 3 : 5 6   7      that down.    I wrote it down to repeat it because I agree.

1 4 : 1 3 : 5 9   8      What he did was a problem.       That is not the way to exit

1 4 : 1 4 : 0 6   9      one company and come to a competitor.         It's, at a minimum

1 4 : 1 4 : 1 1   10     it's extreme laziness to just, you know, open your laptop

1 4 : 1 4 : 1 6   11     bag and pull out a document and give it to Mr. Hodge, as

1 4 : 1 4 : 2 2   12     Mr. Hodge testified he did.

1 4 : 1 4 : 2 4   13                  Mr. Dry, I think Mr. DeFosse -- I, again, wrote

1 4 : 1 4 : 2 6   14     this down -- brought a repository of documents regarding

1 4 : 1 4 : 3 0   15     operations and manufacturing with him when he arrived in

1 4 : 1 4 : 3 5   16     2019.

1 4 : 1 4 : 3 7   17                  Rama Vetury is notable, and, really, we didn't

1 4 : 1 4 : 4 1   18     really hear any information.       We didn't hear anything

1 4 : 1 4 : 4 3   19     about him sharing information.        The reason that he's among

1 4 : 1 4 : 4 8   20     this trio is that he's the one who, for whatever reason,

1 4 : 1 4 : 5 2   21     decided that he was going to not give back to Qorvo the

1 4 : 1 4 : 5 8   22     backup of his laptop and his e-mail account at Qorvo.

1 4 : 1 5 : 0 5   23                  So you've heard multiple times in this trial

1 4 : 1 5 : 0 8   24     about the 500,000 e-mails and the 279 gigabytes of

1 4 : 1 5 : 1 4   25     information.      That all came mostly came from Mr. Vetury.
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1 4 : 1 5 : 1 7   1      But there's really very little, if any, evidence that he

1 4 : 1 5 : 2 1   2      actually accessed it and used it.        Certainly, he received

1 4 : 1 5 : 2 5   3      some information.      We can -- and we will debate whether or

1 4 : 1 5 : 2 9   4      not that was trade secret.       For example, the e-mail

1 4 : 1 5 : 3 4   5      regarding the Qorvo trim process from Dr. Kwon.

1 4 : 1 5 : 4 1   6                   But he's here because it was just stupid to

1 4 : 1 5 : 4 6   7      bring along all that information when you don't need it.

1 4 : 1 5 : 5 0   8      And, you know, you heard Ms. Johnson testify that the

1 4 : 1 5 : 5 2   9      reason those policies were put in place was because

1 4 : 1 5 : 5 7   10     Akoustis wants to build something on its own that it owns,

1 4 : 1 6 : 0 2   11     where it owns its own IP.       And the reason you have those

1 4 : 1 6 : 0 7   12     policies is so you're not a potential slave to some other

1 4 : 1 6 : 1 4   13     company that says, "Hey, you took my stuff, and now you've

1 4 : 1 6 : 1 7   14     got to pay."

1 4 : 1 6 : 1 9   15                  So it's -- you know, it's coming to roost in

1 4 : 1 6 : 2 9   16     this case, and there's, you know, there's a lot of

1 4 : 1 6 : 3 1   17     information here to process.

1 4 : 1 6 : 3 2   18                  I want to look at it a little more closely

1 4 : 1 6 : 3 4   19     because I think it bears on the remedies here.          But if you

1 4 : 1 6 : 3 9   20     thought I was going to get up here and try to sweep it

1 4 : 1 6 : 4 1   21     under the rug, you're wrong.       It was wrong to do.      And the

1 4 : 1 6 : 4 5   22     company accepts that.      Mr. Aichele -- I wouldn't say he

1 4 : 1 6 : 5 0   23     was fully contrite, but he accepted responsibility at his

1 4 : 1 6 : 5 3   24     deposition; he accepted responsibility on the stand.

1 4 : 1 7 : 0 0   25                  And Mr. Shealy did have a good point.         That the
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1 4 : 1 7 : 0 2   1      businesspeople in this case have been screened off from

1 4 : 1 7 : 0 6   2      the very documents that Akoustis is accused of taking from

1 4 : 1 7 : 1 2   3      Qorvo, that Qorvo has claimed as trade secrets, we're not

1 4 : 1 7 : 1 6   4      allowed to show them to the businesspeople at Akoustis

1 4 : 1 7 : 2 4   5      unless they are on the document themselves or if Qorvo

1 4 : 1 7 : 2 9   6      decided to show it to the witness in deposition.

1 4 : 1 7 : 3 3   7                   So jumping ahead in Mr. DeFosse's presentation,

1 4 : 1 7 : 3 6   8      he remarks on how Ms. Johnson says no one has been

1 4 : 1 7 : 4 2   9      disciplined.      Well, you know, there was no testimony on

1 4 : 1 7 : 4 6   10     this, and I'm not going to represent anything that's not

1 4 : 1 7 : 4 8   11     in the record, but I would be shocked if there was not a

1 4 : 1 7 : 5 1   12     reconning coming after this case is over when the record

1 4 : 1 7 : 5 5   13     is, you know, can be more fully shared with the board of

1 4 : 1 8 : 0 0   14     directors.

1 4 : 1 8 : 0 3   15                  I do want to talk about here, because taking

1 4 : 1 8 : 0 9   16     responsibility also means weighing whether or not the

1 4 : 1 8 : 1 2   17     information taken was merely confidential information, or

1 4 : 1 8 : 1 6   18     whether it was trade secret information.          And you will

1 4 : 1 8 : 2 0   19     remember that, when Ms. Bennis testified in her

1 4 : 1 8 : 2 5   20     testimony -- excuse me.       I think it was -- can't even

1 4 : 1 8 : 2 9   21     remember the days anymore, but I think it was this week

1 4 : 1 8 : 3 4   22     actually.    But, originally, her -- she -- we -- I

1 4 : 1 8 : 4 2   23     cross-examined her on a -- well, let me back up.           Because

1 4 : 1 8 : 4 8   24     I think I -- I can't remember when I cross-examined her

1 4 : 1 8 : 5 2   25     about or not because the days blur together.
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1 4 : 1 8 : 5 6   1                   But there are a lot of documents in this case

1 4 : 1 9 : 0 0   2      that have been provided to you that are simply

1 4 : 1 9 : 0 3   3      confidential information that are not tied to trade

1 4 : 1 9 : 0 6   4      secrets.    And the issue is whether or not the information

1 4 : 1 9 : 1 2   5      that Qorvo has put before you is really trade secret, and

1 4 : 1 9 : 1 9   6      if it is a trade secret, whether it's been used.               And so I

1 4 : 1 9 : 2 3   7      want to explore that in a little bit more detail.

1 4 : 1 9 : 2 7   8                   But first, I also want to talk about what I'll

1 4 : 1 9 : 3 4   9      call the -- what I will call kind of the second elephant

1 4 : 1 9 : 4 4   10     in the room.       And that is, you've seen tons and tons of

1 4 : 1 9 : 5 3   11     presentations marked "Qorvo internal use only," "Qorvo

1 4 : 2 0 : 0 0   12     confidential and proprietary information."             Every

1 4 : 2 0 : 0 4   13     presentation you've seen has been marked in that way.

1 4 : 2 0 : 0 6   14                  You've heard from Ms. Giovan in her videotape

1 4 : 2 0 : 1 0   15     deposition:       Every e-mail outgoing is marked private now

1 4 : 2 0 : 1 4   16     since 2019 or 2020.       Qorvo has a culture of marking

1 4 : 2 0 : 2 0   17     everything as confidential.

1 4 : 2 0 : 2 1   18                  And the question -- okay, my children are now

1 4 : 2 0 : 2 8   19     of the age, you know they're 30 and 26, but they were

1 4 : 2 0 : 3 4   20     young enough to watch the Incredibles.             If you haven't

1 4 : 2 0 : 3 7   21     seen it, it's good.       I recommend it.     But there's a scene

1 4 : 2 0 : 4 0   22     there where this guy uses technology to become incredible

1 4 : 2 0 : 5 0   23     like the Incredibles themselves, his whole plan is to make

1 4 : 2 0 : 5 4   24     everybody incredible, because when everybody is

1 4 : 2 0 : 5 8   25     incredible, nobody is.
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1 4 : 2 0 : 5 9   1                   And I was reminded of that here because when

1 4 : 2 1 : 0 3   2      everything is confidential, nothing is.           When you mark

1 4 : 2 1 : 0 6   3      everything in the company as confidential, then, how are

1 4 : 2 1 : 1 0   4      employees supposed to understand what's really supposed to

1 4 : 2 1 : 1 4   5      be protected and what's not, when every e-mail is marked

1 4 : 2 1 : 1 9   6      private as a default?      So you've got to, you know,

1 4 : 2 1 : 2 2   7      manually change it every time you send an e-mail.            I don't

1 4 : 2 1 : 2 5   8      know about you, but I send a lot of e-mails every day, I

1 4 : 2 1 : 3 0   9      get a lot of e-mails every day.        And it's not the first

1 4 : 2 1 : 3 4   10     thing on everybody's mind.

1 4 : 2 1 : 3 7   11                  And I don't know if you have experience in

1 4 : 2 1 : 3 7   12     PowerPoint, but changing one of those template footers is

1 4 : 2 1 : 4 1   13     not easy, as I've tried to do it on my own law firm's

1 4 : 2 1 : 4 6   14     template, and I've not been able to figure it out.            So

1 4 : 2 1 : 5 1   15     they've -- my point here is that Qorvo has paraded dozens,

1 4 : 2 1 : 5 6   16     if not hundreds of documents marked confidential, and

1 4 : 2 2 : 0 0   17     every time they examine a witness, Oh, this is a

1 4 : 2 2 : 0 2   18     confidential document.      Well, it's marked confidential.

1 4 : 2 2 : 0 5   19                  So the question is, is it really confidential?

1 4 : 2 2 : 0 8   20     Is it really not being shared?        And you can't just rely on

1 4 : 2 2 : 1 3   21     a tag when everything is tagged confidential, because as

1 4 : 2 2 : 1 9   22     the slide says, when everything is confidential, nothing

1 4 : 2 2 : 2 1   23     is.

1 4 : 2 2 : 2 4   24                  This was a big group of confidential documents

1 4 : 2 2 : 2 7   25     supposedly taken by Akoustis.       It's not part of the trade
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1 4 : 2 2 : 3 1   1      secret claim.     And, you know, the question is, why has it

1 4 : 2 2 : 3 5   2      been paraded in front of jury ad nauseam?          And we also

1 4 : 2 2 : 4 2   3      have the unknown number of confidential documents that

1 4 : 2 2 : 4 6   4      the -- about half a million e-mails and the 279 gigabytes

1 4 : 2 2 : 5 1   5      of data recovered.      And they talked about it, but it's

1 4 : 2 2 : 5 7   6      never been analyzed.      Nobody knows what's in it.

1 4 : 2 3 : 0 2   7                   The reason that Qorvo spent hours and hours

1 4 : 2 3 : 0 6   8      talking about this was to pile on to the trade secrets

1 4 : 2 3 : 1 0   9      that they're accusing Akoustis of misappropriating.           And

1 4 : 2 3 : 1 8   10     the question is why they do that.        And I think there are

1 4 : 2 3 : 2 3   11     two reasons.

1 4 : 2 3 : 2 4   12                  The first reason is, when -- I think you saw

1 4 : 2 3 : 2 9   13     earlier in this case a timeline.        And Qorvo presented the

1 4 : 2 3 : 3 6   14     timeline, and it -- this case commenced in October of

1 4 : 2 3 : 4 2   15     2021.   And it was sometime in 2022 when the discovery

1 4 : 2 3 : 5 0   16     process began in earnest.       That's when the parties

1 4 : 2 3 : 5 4   17     exchange documents.      They request documents from each

1 4 : 2 3 : 5 8   18     other; we have to produce them.

1 4 : 2 4 : 0 0   19                  And when Akoustis started producing documents,

1 4 : 2 4 : 0 3   20     both to the surprise of Qorvo's lawyers and Akoustis'

1 4 : 2 4 : 0 9   21     lawyers, there are a lot of Qorvo documents in there.            And

1 4 : 2 4 : 1 7   22     I believe that when Mr. DeFosse and Mr. Masters expressed

1 4 : 2 4 : 2 5   23     indignation regarding the fact that Akoustis has a lot of

1 4 : 2 4 : 2 9   24     Qorvo information, that's reflecting the indignation of

1 4 : 2 4 : 3 4   25     their executives, Mr. Creviston, the other Qorvo
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1 4 : 2 4 : 4 0   1      businesspeople who are in the gallery, and deservedly so.

1 4 : 2 4 : 4 8   2                   Not a very good thing to take discovery from,

1 4 : 2 4 : 5 2   3      you know, an emerging growth competitor to find out that

1 4 : 2 4 : 5 6   4      that emerging growth competitor has a bunch of your

1 4 : 2 5 : 0 0   5      documents.    So I think that, like anybody who feels

1 4 : 2 5 : 0 2   6      wronged, feels better about talking about it.           I think

1 4 : 2 5 : 0 7   7      that that's part of why you heard a lot evidence

1 4 : 2 5 : 1 2   8      regarding, frankly, for legal purposes, an extraneous

1 4 : 2 5 : 1 8   9      purpose, because it's not really going to any of the

1 4 : 2 5 : 2 1   10     claims.

1 4 : 2 5 : 2 2   11                  But I believe there's also a second reason, and

1 4 : 2 5 : 2 5   12     it's a little bit darker.       And it is, you know, Akoustis

1 4 : 2 5 : 3 1   13     is an emerging startup company.        It's, notwithstanding the

1 4 : 2 5 : 3 9   14     testimony from some of Qorvo's witnesses -- Dr. Aigner,

1 4 : 2 5 : 4 5   15     being among them, you know, kind of more or less

1 4 : 2 5 : 5 1   16     poo-pooing the technology and whether or not Akoustis has

1 4 : 2 5 : 5 5   17     had success.

1 4 : 2 5 : 5 6   18                  You've seen e-mails that were shown to

1 4 : 2 6 : 0 1   19     Mr. Creviston and Mr. Testa about Akoustis having some

1 4 : 2 6 : 0 4   20     success with customers.       And it's in the 5 gigahertz and

1 4 : 2 6 : 0 8   21     up ranges in areas that Qorvo acknowledges it decided not

1 4 : 2 6 : 1 5   22     to invest in, at least not at the time.           And so Akoustis

1 4 : 2 6 : 1 9   23     was able to get to market first in the 5 gigahertz area.

1 4 : 2 6 : 2 2   24     But it's, you know, you could see from some of the e-mails

1 4 : 2 6 : 3 0   25     that we discussed with Mr. Testa in particular, the
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1 4 : 2 6 : 3 7   1      reaction of some of the Qorvo people who, notwithstanding

1 4 : 2 6 : 4 0   2      the fact that this was an area that they decided, not to

1 4 : 2 6 : 4 3   3      invest in, they did not seem particularly happy that

1 4 : 2 6 : 4 7   4      Akoustis was having success head to head against Qorvo

1 4 : 2 6 : 5 2   5      vis-a-vis so many customers.

1 4 : 2 6 : 5 6   6                   Also, frankly, Dr. Aigner who is a brilliant,

1 4 : 2 7 : 0 2   7      brilliant man.     He's also a proud man.         The way he

1 4 : 2 7 : 0 8   8      testified, I think he was indignant that this company was

1 4 : 2 7 : 1 2   9      able to get off the ground and compete with Qorvo in the

1 4 : 2 7 : 1 6   10     time that it did.

1 4 : 2 7 : 1 8   11                  So I think that there's some, you know, there's

1 4 : 2 7 : 2 1   12     some concern on the part of Qorvo that Akoustis is a more

1 4 : 2 7 : 2 7   13     nimble competitor.      You saw one of the Qorvo e-mails where

1 4 : 2 7 : 3 1   14     the executives with whom Mr. Testa was corresponding were

1 4 : 2 7 : 4 1   15     grousing about Qorvo being slow and Akoustis being more

1 4 : 2 7 : 4 4   16     nimble because it didn't have to produce millions of

1 4 : 2 7 : 4 8   17     products.

1 4 : 2 7 : 4 8   18                  So I think it's also, the second reason for

1 4 : 2 7 : 5 0   19     showing you all this extraneous information is to

1 4 : 2 7 : 5 4   20     demonstrate that, you know -- let me back that up.

1 4 : 2 8 : 0 4   21                  The second reason, this kind of more darker

1 4 : 2 8 : 0 5   22     reason that is fueling all this extraneous confidential

1 4 : 2 8 : 0 9   23     information, is really kind of to stir you up in the hope

1 4 : 2 8 : 1 6   24     that you will punish Akoustis beyond the extent to which

1 4 : 2 8 : 2 1   25     it should be punished in the event you find liability.
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1 4 : 2 8 : 2 4   1                   And Qorvo knows what Akoustis' financial status

1 4 : 2 8 : 2 9   2      is.   It's a public company.      It has to publish its

1 4 : 2 8 : 3 4   3      financial results.      You heard Ms. Bennis almost talk about

1 4 : 2 8 : 3 7   4      it on Monday when she was testifying about it, because

1 4 : 2 8 : 4 2   5      Akoustis had released its third quarter 10Q report.           And

1 4 : 2 8 : 4 9   6      so, you know, to the extent possible, if Qorvo can tip the

1 4 : 2 8 : 5 6   7      scales with the tawdry tails of Mr. Houlden and Mr. Dry

1 4 : 2 9 : 0 2   8      and talk about a bunch of confidential information that's

1 4 : 2 9 : 0 5   9      really not an issue in any of the legal claims before you,

1 4 : 2 9 : 1 0   10     and at the time same time have Ms. Bennis invent a

1 4 : 2 9 : 1 6   11     methodology that did not exist until this case of using

1 4 : 2 9 : 2 2   12     bare revenue to try to demonstrate benefit for unjust

1 4 : 2 9 : 2 7   13     enrichment, that all adds up to, you know, if they knock

1 4 : 2 9 : 3 3   14     Akoustis off its porch or even knock it out of business,

1 4 : 2 9 : 3 5   15     that wouldn't be such a bad thing.

1 4 : 2 9 : 4 2   16                  So on the one hand, I want to make clear that

1 4 : 2 9 : 4 6   17     there's an acceptance of responsibility for things that

1 4 : 2 9 : 4 9   18     Akoustis shouldn't have done.       On the other hand, we hope

1 4 : 2 9 : 5 6   19     that you will -- whatever verdict you render will be based

1 4 : 3 0 : 0 0   20     on the facts based on your weighing of credibility and the

1 4 : 3 0 : 0 5   21     evidence, and based on the legal instructions that are

1 4 : 3 0 : 0 8   22     provided to you by Judge McKellen.

1 4 : 3 0 : 1 7   23                  So let's talk a little bit about how, if at

1 4 : 3 0 : 2 1   24     all, was Qorvo harmed.

1 4 : 3 0 : 2 8   25                  I examined this -- Ms. Bennis about this during
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1 4 : 3 0 : 3 2   1      cross-examination, and Ms. Irwin also testified about it

1 4 : 3 0 : 3 9   2      this morning.     But there is a two-prong approach to

1 4 : 3 0 : 4 3   3      damages for trade secret misappropriation, and it's on the

1 4 : 3 0 : 4 7   4      screen in front of you.

1 4 : 3 0 : 5 0   5                   Plaintiff in Qorvo's shoes can recover two

1 4 : 3 0 : 5 3   6      types of remedies.      The first is damages for actual loss.

1 4 : 3 0 : 5 9   7      So the actual loss caused by the misappropriation, and it

1 4 : 3 1 : 0 2   8      also gets to recover the defendants' unjust enrichment.

1 4 : 3 1 : 0 6   9      The reason to get both is because the plaintiff should be

1 4 : 3 1 : 1 3   10     compensated for its direct loss, but you shouldn't leave

1 4 : 3 1 : 1 7   11     the defendant with any profit that's -- it has unjustly

1 4 : 3 1 : 2 3   12     enriched itself with, any benefit, really.           I'll use the

1 4 : 3 1 : 2 7   13     word benefit.     So that's what the law provides.

1 4 : 3 1 : 3 0   14                  And then, if you can't get either or if there

1 4 : 3 1 : 3 3   15     are problems with proof, you can rely on reasonable

1 4 : 3 1 : 3 6   16     royalty and provide that information to provide a full

1 4 : 3 1 : 4 0   17     picture, but neither side is -- but, certainly, Qorvo is

1 4 : 3 1 : 4 3   18     not seeking a reasonable royalty in this case.

1 4 : 3 1 : 4 9   19                  But they are also not seeking actual loss or

1 4 : 3 1 : 5 2   20     damages for actual loss.       Ms. Bennis confirmed that, that

1 4 : 3 1 : 5 6   21     she's only evaluated unjust enrichment.           And that is a

1 4 : 3 2 : 0 4   22     tacit admission that Qorvo was not harmed itself.            It has

1 4 : 3 2 : 1 2   23     not put forth any evidence that it's lost any sales

1 4 : 3 2 : 1 6   24     because of trade secret misappropriation at all.            You

1 4 : 3 2 : 2 0   25     didn't hear that.
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1 4 : 3 2 : 2 2   1                   And notwithstanding the very large number that

1 4 : 3 2 : 2 7   2      Ms. Bennis has put forward as her damages amount, Qorvo

1 4 : 3 2 : 3 3   3      does not have any evidence to try to puff it up even

1 4 : 3 2 : 3 7   4      further with actual harm.       So Qorvo wasn't harmed, then.

1 4 : 3 2 : 4 3   5      The only question left is how, if at all, did Akoustis

1 4 : 3 2 : 4 7   6      benefit.

1 4 : 3 2 : 4 9   7                   So I want to get back to use.        Mr. DeFosse

1 4 : 3 2 : 5 4   8      touched on use in his presentation.        And, by the way, I'll

1 4 : 3 3 : 0 1   9      go off on a slight tangent just to let you know because I

1 4 : 3 3 : 0 5   10     don't think it was explained to you that, because Qorvo

1 4 : 3 3 : 0 9   11     has the burden of proof as the plaintiff, it got to go

1 4 : 3 3 : 1 3   12     first in opening statement, and it got to go first in

1 4 : 3 3 : 1 8   13     closing argument, but it also gets to go last.          So Mr. --

1 4 : 3 3 : 2 1   14     I get to respond in part to what Mr. DeFosse says, so

1 4 : 3 3 : 2 7   15     he'll be following up afterward, so you'll probably hear

1 4 : 3 3 : 3 2   16     from him again.

1 4 : 3 3 : 3 4   17                  But getting back to the point, there can be no

1 4 : 3 3 : 4 0   18     trade secret misappropriation without use.          Ms. Bennis

1 4 : 3 3 : 4 3   19     admitted that.     So simply having a trade secret is not

1 4 : 3 3 : 4 6   20     enough.    If I -- let's say Mr. DeFosse is an excellent

1 4 : 3 3 : 5 2   21     baker, and I steal his recipe for, you know, the best

1 4 : 3 3 : 5 8   22     German chocolate bundt cake in the world, but I put in a

1 4 : 3 4 : 0 3   23     lockbox and lose the key, I haven't memorized it.           I'm not

1 4 : 3 4 : 0 7   24     really going to benefit from taking his trade secret

1 4 : 3 4 : 1 2   25     German chocolate bundt cake recipe.
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1 4 : 3 4 : 1 4   1                   So there has to be some use.         And so you heard

1 4 : 3 4 : 2 0   2      Mr. Darveaux in his going through all of the trade secrets

1 4 : 3 4 : 2 6   3      yesterday one by one, not only identifying whether or not

1 4 : 3 4 : 3 0   4      the trade secret had some value, but also paying attention

1 4 : 3 4 : 3 3   5      to whether it was used.

1 4 : 3 4 : 3 9   6                   So what about use?     I'm not going to focus on a

1 4 : 3 4 : 4 3   7      lot of documents, but I did want to take on some of the

1 4 : 3 4 : 4 7   8      documents on which Qorvo has spent the most time.            And we

1 4 : 3 4 : 5 3   9      heard a lot about this trim calculation silicon nitride

1 4 : 3 5 : 0 0   10     trim document created by JB Kwon that he circulated to,

1 4 : 3 5 : 0 4   11     you know, several people, but more than once I might add.

1 4 : 3 5 : 0 9   12     There's also no evidence that he used anything other than

1 4 : 3 5 : 1 3   13     his own memory, but nevertheless, you haven't heard

1 4 : 3 5 : 1 9   14     anything on our side say, "That's not what Qorvo does."

1 4 : 3 5 : 2 4   15                  The question is, was it used?        And Mr. DeFosse

1 4 : 3 5 : 2 7   16     discussed it at length.       And what he did not discuss,

1 4 : 3 5 : 3 2   17     though, was that, once Mr. Kim was involved, had the idea

1 4 : 3 5 : 3 9   18     to create the XBAW process to help fix the problems that

1 4 : 3 5 : 4 4   19     Akoustis was having with yield and with some performance

1 4 : 3 5 : 4 8   20     issues.    There was no discussion after 2018 or, certainly,

1 4 : 3 5 : 5 7   21     March of 2018, once Akoustis had the XBAW process

1 4 : 3 6 : 0 2   22     operating at its New York fab regarding Qorvo's trim

1 4 : 3 6 : 0 7   23     calculations.

1 4 : 3 6 : 0 7   24                  And the reason is because it can't be used.

1 4 : 3 6 : 1 1   25     The reason it can't be used is because of the
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1 4 : 3 6 : 1 6   1      difference -- and here's one difference -- between SMR and

1 4 : 3 6 : 1 9   2      FBAR.   As Mr. Kim testified, the way that you make an SMR

1 4 : 3 6 : 2 5   3      is that you can measure the metal layer before and after

1 4 : 3 6 : 3 1   4      passivation.       The reason is because the Bragg reflector

1 4 : 3 6 : 3 5   5      that is built into the structure, it will resinate.            On

1 4 : 3 6 : 4 0   6      the other hand, the FBAR process, the one with the cavity

1 4 : 3 6 : 4 4   7      in it, that cavity is evacuated.         In other words, it's

1 4 : 3 6 : 4 9   8      filled with a substance, and during the passivation step,

1 4 : 3 6 : 5 3   9      I think there's an acid bath, and whatever is in that

1 4 : 3 6 : 5 7   10     cavity is taken out.       So it will not resinate before it's

1 4 : 3 7 : 0 2   11     passivated.       So they have to basically put the entire

1 4 : 3 7 : 0 7   12     passivation layer on it.        And the trimming is really about

1 4 : 3 7 : 1 1   13     taking off the passivation layer to get to the right

1 4 : 3 7 : 1 4   14     frequency.

1 4 : 3 7 : 1 5   15                  Dr. Kim also testified that the trimming,

1 4 : 3 7 : 1 8   16     frankly, although everybody needs to do it, is not very

1 4 : 3 7 : 2 3   17     complicated, that he didn't find anything in Qorvo's

1 4 : 3 7 : 2 9   18     process remarkable.       But more to the point, it was

1 4 : 3 7 : 3 2   19     irrelevant.       Akoustis had to fashion its own trim process

1 4 : 3 7 : 4 0   20     fresh, not using Qorvo information.         It didn't use the

1 4 : 3 7 : 4 4   21     algorithm.    And nothing in that SMR trimming process was

1 4 : 3 7 : 4 8   22     helpful to Akoustis in developing its FBAR trimming

1 4 : 3 7 : 5 2   23     process for XBAR, and there's nothing in the record to say

1 4 : 3 7 : 5 5   24     otherwise.

1 4 : 3 7 : 5 8   25                  I forgot to give you that.
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1 4 : 3 8 : 0 1   1                   I also wanted to talk about Dr. Shealy's

1 4 : 3 8 : 0 9   2      attempt to create a new product or a new technology

1 4 : 3 8 : 1 6   3      development document.       Obviously, ham-handed and not

1 4 : 3 8 : 2 3   4      terribly wise to take something that belonged to a former

1 4 : 3 8 : 2 7   5      employee, whether a trade secret or not.           Ethically -- and

1 4 : 3 8 : 3 2   6      ethics are a big part of the business conduct guidelines

1 4 : 3 8 : 3 7   7      and the code of ethics and conduct at Akoustis --

1 4 : 3 8 : 4 1   8      shouldn't have done it.        He did it anyway.     He changed a

1 4 : 3 8 : 4 5   9      few things.       He left in a whole bunch of references to

1 4 : 3 8 : 4 9   10     RFMD in the document, and then he sent it to several

1 4 : 3 8 : 5 4   11     colleagues, right after the fab -- well, anticipating that

1 4 : 3 9 : 0 0   12     the fab purchase was going to close.

1 4 : 3 9 : 0 4   13                  The question is, was it used?         And the answer

1 4 : 3 9 : 0 8   14     is no.    You heard that from Dr. Shealy himself.          I mean,

1 4 : 3 9 : 1 2   15     this -- it was a terrible idea, but it went nowhere.            We

1 4 : 3 9 : 1 6   16     never saw -- you never saw from Qorvo a completed document

1 4 : 3 9 : 2 1   17     that was tailored to Akoustis and its processes, and the

1 4 : 3 9 : 2 7   18     reason is because, as Ms. Winters testified, is that the

1 4 : 3 9 : 3 2   19     fab already had its own suite, its own library of

1 4 : 3 9 : 3 7   20     processes and procedures on which it could rely.            This

1 4 : 3 9 : 4 0   21     document was unnecessary.        There is no proof of its use

1 4 : 3 9 : 4 3   22     anywhere.

1 4 : 3 9 : 4 9   23                  Third one that you've heard a lot about is

1 4 : 3 9 : 5 3   24     Mr. Dry's attempt to kickstart the process of doing a

1 4 : 3 9 : 5 9   25     final visual quality control inspection.           And he, again,
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1 4 : 4 0 : 0 8   1      took the lazy way and took a Qorvo or RFMD document and

1 4 : 4 0 : 1 6   2      made some changes to it so that it could pass as a

1 4 : 4 0 : 2 2   3      nonQorvo document, or at least a draft of something and

1 4 : 4 0 : 2 6   4      passed it around.

1 4 : 4 0 : 2 9   5                   But, again, the testimony is unequivocal that

1 4 : 4 0 : 3 2   6      it was not used.      It's 48 pages.    As Ms. Winters

1 4 : 4 0 : 3 8   7      testified, it doesn't reflect what the fab does.           And so

1 4 : 4 0 : 4 2   8      it wasn't helpful or it didn't add any value.          So did

1 4 : 4 0 : 5 0   9      Akoustis benefit from that document?         Did it benefit from

1 4 : 4 0 : 5 3   10     the document that Dr. Kwon put together based on a pretty

1 4 : 4 0 : 5 9   11     good memory of what Qorvo does in trimming?          Does it, you

1 4 : 4 1 : 0 4   12     know, is that a real use of the RFMD new technology

1 4 : 4 1 : 1 1   13     development document?      In a way that benefited Akoustis,

1 4 : 4 1 : 1 5   14     we submit no.

1 4 : 4 1 : 2 0   15                  What did Dr. Shanfield say about use?         I mean,

1 4 : 4 1 : 2 3   16     basically, Dr. Shanfield equated e-mailing something as

1 4 : 4 1 : 2 7   17     use.   And that's simply not true.       There's, you know, you

1 4 : 4 1 : 3 0   18     could look at what Mr. Aichele testified to regarding some

1 4 : 4 1 : 3 4   19     of the documents he got.       And he testified that, you know,

1 4 : 4 1 : 3 7   20     it was interesting, it was business intelligence.           Reading

1 4 : 4 1 : 4 0   21     something and, you know, having interest sated is not

1 4 : 4 1 : 4 6   22     equivalent to use.

1 4 : 4 1 : 5 1   23                  So, but Dr. Shanfield really didn't have much

1 4 : 4 1 : 5 3   24     to say.    He wasn't able to draw the lines between Qorvo

1 4 : 4 1 : 5 9   25     documents and any resulting processes or products.           Look
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1 4 : 4 2 : 0 6   1      at what -- if you look on the patent side of this case,

1 4 : 4 2 : 1 0   2      and, frankly, a trade secret is not dissimilar from a

1 4 : 4 2 : 1 3   3      patent.    A patent is for an invention, but the way you get

1 4 : 4 2 : 1 9   4      your rights to that is that you to disclose it to the

1 4 : 4 2 : 2 2   5      public.    And nobody can use it during the term of the

1 4 : 4 2 : 2 4   6      patent, but after that term is over to dedicate it to the

1 4 : 4 2 : 2 7   7      public, anybody can use an expired patent.          Trade secrets

1 4 : 4 2 : 3 1   8      rely on confidentiality to maintain their protection.

1 4 : 4 2 : 3 8   9                   So we saw from Dr. Bravman and Dr. Shanfield, a

1 4 : 4 2 : 4 4   10     lot of documents that, essentially, tried to take each

1 4 : 4 2 : 4 7   11     element of each asserted claim of the patents, and there's

1 4 : 4 2 : 5 2   12     a dotted line to where you can find it in Akoustis'

1 4 : 4 2 : 5 6   13     products.    You didn't see that at all with respect to the

1 4 : 4 2 : 5 9   14     alleged trade secrets.      Most of the -- almost all of the

1 4 : 4 3 : 0 3   15     evidence regarding the use of trade secrets is what we

1 4 : 4 3 : 0 7   16     call in the law business -- there's a lot of Latin

1 4 : 4 3 : 1 3   17     expressions in the law business.        One is ipse dixit, which

1 4 : 4 3 : 1 6   18     means, basically, you know, because I say so.

1 4 : 4 3 : 2 2   19                  And these -- why are these quotes here from

1 4 : 4 3 : 2 6   20     Dr. Shanfield?     He is speculating.     For example, this

1 4 : 4 3 : 3 3   21     response from Dr. Shealy writing back to Mr. Houlden, "Got

1 4 : 4 3 : 3 9   22     it."    In other words, he gets what he's talking about.

1 4 : 4 3 : 4 1   23     Okay.    Well, I would agree with that.       That's what "got

1 4 : 4 3 : 4 4   24     it" means.    "Let's discuss Monday."      And wants to discuss

1 4 : 4 3 : 4 9   25     it in person.     And he says, basically, he's fine with it.
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1 4 : 4 3 : 5 1   1      That's not a logical conclusion from that.          It could mean

1 4 : 4 3 : 5 7   2      anything.    It could be "got it.      I want to talk to you

1 4 : 4 4 : 0 0   3      because that's not what we're doing" is as plausible as

1 4 : 4 4 : 0 4   4      saying, "Oh, yeah, I agree with you."         If he was fine with

1 4 : 4 4 : 0 7   5      it, why would he need to talk to him about it?

1 4 : 4 4 : 1 0   6                   Also, you know, relying on the fact that

1 4 : 4 4 : 1 3   7      Akoustis managed to pull off a feat of magic in ten

1 4 : 4 4 : 1 8   8      months, that's a sign that, oh, they must have had

1 4 : 4 4 : 1 9   9      something to do that lift for them.        Otherwise, it's

1 4 : 4 4 : 2 2   10     unexplained.      That is speculation.    And that permeates

1 4 : 4 4 : 2 7   11     much of what Dr. Shanfield testified to.

1 4 : 4 4 : 3 1   12                  We have some other examples from Dr. Shanfield.

1 4 : 4 4 : 3 8   13     I like this one with Mr. Schmid:        It seemed to me like

1 4 : 4 4 : 4 2   14     that discussion they had must have been, "Hey, we would

1 4 : 4 4 : 4 5   15     could use this information," and Mr. Schmid ends up having

1 4 : 4 4 : 4 8   16     it with him.      He admitted that he rendered his opinion

1 4 : 4 4 : 5 2   17     without actually looking at the actual procedures and

1 4 : 4 4 : 5 5   18     processes that are used in fabrication in the

1 4 : 4 4 : 5 9   19     manufacturing facility in New York.        So Dr. Shanfield's

1 4 : 4 5 : 0 4   20     testimony regarding use is, let's just say it's not very

1 4 : 4 5 : 1 0   21     convincing.

1 4 : 4 5 : 1 5   22                  On the other hand, you had Ms. Winters testify.

1 4 : 4 5 : 1 8   23     You could judge her credibility because she's sitting in

1 4 : 4 5 : 2 1   24     front of you in the jury box.       She came to Akoustis from

1 4 : 4 5 : 2 8   25     STC MEMS where she had been for a long time.          She
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1 4 : 4 5 : 3 2   1      testified about all the processes and procedures that they

1 4 : 4 5 : 3 7   2      had.

1 4 : 4 5 : 3 8   3                   I will get a drink of water.

1 4 : 4 5 : 4 5   4                   That confirmed Mr. Kim's testimony that the

1 4 : 4 5 : 5 1   5      trimming process described in the Qorvo document was not

1 4 : 4 5 : 5 5   6      used, that Akoustis couldn't even use it if it wanted to.

1 4 : 4 6 : 0 6   7                   Ms. Winters is unaware, testified she was

1 4 : 4 6 : 1 0   8      completely unaware of any Qorvo information that had

1 4 : 4 6 : 1 4   9      actually been used in the New York fab.           Dr. Kim, again,

1 4 : 4 6 : 1 7   10     testified in a separate part of his examination that

1 4 : 4 6 : 2 2   11     Qorvo's trimming information is not relevant at all to the

1 4 : 4 6 : 2 6   12     XB1 process.

1 4 : 4 6 : 3 1   13            Dr. Shealy testified that confidential and

1 4 : 4 6 : 3 4   14     proprietary information was not used in the development of

1 4 : 4 6 : 3 8   15     Akoustis' technology.      Mr. Aichele testified about that

1 4 : 4 6 : 4 9   16     they did not use the information.        Certainly, they used it

1 4 : 4 6 : 5 3   17     as a business intelligence source, but it did not affect

1 4 : 4 6 : 5 6   18     the plans or the specs for products.

1 4 : 4 7 : 0 1   19            And I want to also talk a little bit more in detail,

1 4 : 4 7 : 0 4   20     because the Rohan Houlden e-mails that were sent to

1 4 : 4 7 : 1 1   21     Mr. Aichele in September were -- I thought I had a

1 4 : 4 7 : 1 9   22     reference to it.      I do.

1 4 : 4 7 : 2 2   23            and I don't know, Mr. Brown, if you could put up some

1 4 : 4 7 : 2 6   24     slides from PTX-for Mr. DeFosse's presentation.            So 19.9

1 4 : 4 7 : 3 7   25     and 19.10.    Thank you
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1 4 : 4 7 : 4 7   1             so On 19.9, this is Trial Exhibit 21, Mr. DeFosse

1 4 : 4 7 : 5 2   2      said, "Oh, well, from this, they knew that there was going

1 4 : 4 7 : 5 3   3      to be a gap in Qorvo's product roadmap."           but in 19.10,

1 4 : 4 8 : 0 1   4      Dr. Shanfield testified, "Oh, this is how Mr. Aichele knew

1 4 : 4 8 : 1 0   5      to do a business plan because he got from this, 'Oh, it's

1 4 : 4 8 : 1 3   6      really good idea to get into 5 gigahertz."

1 4 : 4 8 : 1 6   7             So, you know, those are contention with each other.

1 4 : 4 8 : 2 1   8             What Mr. Aichele testified to is that there was a

1 4 : 4 8 : 2 4   9      thing called Wi-Fi 6, which was not a surprise to anybody.

1 4 : 4 8 : 2 8   10     It was a new relatively new spec.        There was a customer,

1 4 : 4 8 : 3 2   11     Eero, maker of pretty good Wi-Fi mesh systems.            I have

1 4 : 4 8 : 4 0   12     one.    I endorse it.    But it's a -- came out in 2016.

1 4 : 4 8 : 4 4   13     Those parts were needed then.       It was not a surprise to

1 4 : 4 8 : 4 7   14     anybody that 5 gigahertz bandwidth was in need of somebody

1 4 : 4 8 : 5 4   15     making parts other than the dielectric resonator makers in

1 4 : 4 8 : 5 8   16     China who made the larger footprint ones.

1 4 : 4 9 : 0 2   17            And it also was not a bad idea to go after a market

1 4 : 4 9 : 0 7   18     that Qorvo wasn't paying attention to.            And Qorvo, at the

1 4 : 4 9 : 1 3   19     time, was not -- this was not a surprise to anybody that,

1 4 : 4 9 : 1 9   20     you know, Qorvo was paying attention to its mobile unit.

1 4 : 4 9 : 2 4   21            And Mr. Aichele -- actually, I will take that back,

1 4 : 4 9 : 3 1   22     because Mr. Aichele was expecting Qorvo to do something

1 4 : 4 9 : 3 4   23     because he put the QPQ19XX as a potential competitor in

1 4 : 4 9 : 4 0   24     his sheet.    But, you know, the specifications were

1 4 : 4 9 : 4 5   25     provided from the dielectric resonators who were already
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1 4 : 4 9 : 4 9   1      making parts in the 5 gigahertz range.            So there really is

1 4 : 4 9 : 5 2   2      no evidence there of any change in plans or any change in

1 4 : 4 9 : 5 7   3      strategy.

1 4 : 5 0 : 0 2   4            And, you know, Mr. Aichele did some things wrong.               He

1 4 : 5 0 : 0 7   5      obviously should have shut off Mr. Li.            I take issue with

1 4 : 5 0 : 1 4   6      Mr. DeFosse's insistence that Mr. Li was bribing people,

1 4 : 5 0 : 1 8   7      or Mr. Kim, I can't remember which one it was.            But,

1 4 : 5 0 : 2 2   8      obviously, there were entertainment expenses and people

1 4 : 5 0 : 2 8   9      were going out to lunch, and apparently they were all

1 4 : 5 0 : 3 1   10     sharing information.

1 4 : 5 0 : 3 2   11           And Mr. Aichele mentioned that he was worried that

1 4 : 5 0 : 3 4   12     Mr. Kim was sharing information about Akoustis too.              So

1 4 : 5 0 : 3 7   13     there's a little bit of a different culture there in Asia.

1 4 : 5 0 : 4 0   14           But there is no evidence at all that any of that

1 4 : 5 0 : 4 5   15     information changed any plans at Akoustis or persuaded it

1 4 : 5 0 : 5 0   16     to change its strategies.       So we submit that there really

1 4 : 5 1 : 1 6   17     is no evidence of any benefit to Akoustis.

1 4 : 5 1 : 2 3   18           I want to talk about damage methodologies.            I took

1 4 : 5 1 : 2 8   19     this slide from Ms. Irwin's presentation this morning.

1 4 : 5 1 : 3 3   20     There are three ways to value -- to assess remedies in a

1 4 : 5 1 : 4 2   21     trade secret case.      I talked about this a few minutes ago.

1 4 : 5 1 : 4 6   22     No damage to Qorvo, so Number 1 is out.

1 4 : 5 1 : 4 9   23           Number 3, they're not relying on a royalty

1 4 : 5 1 : 5 3   24     methodology for trade secrets, so that is out.

1 4 : 5 1 : 5 6   25           So really, we're only talking about unjust enrichment
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1 4 : 5 1 : 5 9   1      here.

1 4 : 5 1 : 5 9   2            And there are three, at least three methods for

1 4 : 5 2 : 0 3   3      assessing the value of an unjust enrichment benefit to the

1 4 : 5 2 : 0 8   4      defendant.    Time benefit of trade secrets or head start.

1 4 : 5 2 : 1 2   5      That's what Ms. Bennis -- that's her approach.          Profits on

1 4 : 5 2 : 1 7   6      sales, which depends on profits.        Akoustis has no profits.

1 4 : 5 2 : 2 2   7      That is out.

1 4 : 5 2 : 2 2   8            And then there's the research and development cost

1 4 : 5 2 : 2 5   9      savings, avoided costs.       And that is something about which

1 4 : 5 2 : 2 7   10     Ms. Irwin testified at length today.

1 4 : 5 2 : 3 3   11           So Dr. Shanfield, by the way, seemed to suggest that

1 4 : 5 2 : 3 8   12     an avoiding costs theory might have been best when he

1 4 : 5 2 : 4 5   13     stated that he estimated the time savings didn't go into

1 4 : 5 2 : 5 0   14     expense, that that would have been time and expense that

1 4 : 5 2 : 5 1   15     Akoustis avoided by using Qorvo's information as a

1 4 : 5 2 : 5 5   16     shortcut.

1 4 : 5 3 : 0 3   17           Mr. DeFosse says a dollar today is, you know, worth

1 4 : 5 3 : 0 6   18     more than a dollar next week, or next year, or ten years

1 4 : 5 3 : 0 9   19     from now.    As Ms. Irwin made clear, that assumes you have

1 4 : 5 3 : 1 4   20     that dollar to do something with.        If all of your dollars

1 4 : 5 3 : 1 7   21     are consumed with the cost of creating the product from

1 4 : 5 3 : 2 2   22     which you are deriving the revenue, you don't have a

1 4 : 5 3 : 2 5   23     benefit.

1 4 : 5 3 : 2 6   24           You may have a benefit measured in a different way,

1 4 : 5 3 : 2 8   25     and I'll talk about that in a second, but you don't have a
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1 4 : 5 3 : 3 3   1      benefit from which you can measure head start where the

1 4 : 5 3 : 3 8   2      real calculation must be based on profits, not on revenue,

1 4 : 5 3 : 4 2   3      because revenue does not measure benefit.          It only -- it's

1 4 : 5 3 : 4 6   4      a concept, but nobody relies on revenue.          It's not an

1 4 : 5 3 : 5 2   5      accepted principle in this area, as Ms. Irwin testified

1 4 : 5 3 : 5 5   6      to.

1 4 : 5 3 : 5 8   7            Ms. Bennis didn't, you know -- did her best to

1 4 : 5 4 : 0 0   8      support it, but she admitted that she was not aware of any

1 4 : 5 4 : 0 3   9      court case that has approved her methodology, nor is she

1 4 : 5 4 : 0 6   10     aware of any secondary authority, any treaties or articles

1 4 : 5 4 : 1 2   11     that says, Yeah, you can just use revenue instead.

1 4 : 5 4 : 1 7   12           We have this thing called lost -- the "defendants'

1 4 : 5 4 : 2 0   13     lost profits."     And, you know, if we could just substitute

1 4 : 5 4 : 2 2   14     in revenue, every plaintiff would love that because then

1 4 : 5 4 : 2 6   15     they can just -- you know, the numbers would be a lot

1 4 : 5 4 : 2 9   16     higher and they could get more damages, but that's not the

1 4 : 5 4 : 3 1   17     case, because unjust enrichment measures the benefit to

1 4 : 5 4 : 3 5   18     the defendant.     And that's why Ms. Bennis' methodology is

1 4 : 5 4 : 3 9   19     simply wrong.

1 4 : 5 4 : 4 1   20           If we correct her methodology to use gross profit or,

1 4 : 5 4 : 4 5   21     basically, simply only taking off -- it's the first line,

1 4 : 5 4 : 4 9   22     so it's only taking off the amount that is necessary to

1 4 : 5 4 : 5 3   23     create the products from which the revenue comes, then

1 4 : 5 5 : 0 0   24     we're at a negative number.       And the time value of

1 4 : 5 5 : 0 5   25     negative $9 million is still a negative number.           It's not
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1 4 : 5 5 : 0 9   1      any better.       And as Ms. Irwin showed, it just gets worse

1 4 : 5 5 : 1 5   2      over time.

1 4 : 5 5 : 1 7   3            I want to talk about employee poaching briefly.

1 4 : 5 5 : 2 1   4            So 43, 19, eight.      43, the total number of Qorvo

1 4 : 5 5 : 2 7   5      employees who jumped ship to Akoustis.             You heard one of

1 4 : 5 5 : 3 3   6      the -- and Ms. Johnson testify, Why are there so many

1 4 : 5 5 : 3 7   7      former Qorvo people at Akoustis as compared to Skyworks or

1 4 : 5 5 : 4 2   8      Broadcom?    And the reason is because they're in the same

1 4 : 5 5 : 4 4   9      metropolitan area.       I mean, It's not a short drive, but at

1 4 : 5 5 : 4 7   10     least Greensboro and Charlotte are pretty close together.

1 4 : 5 5 : 5 0   11           On top of that, you've got a number -- you know,

1 4 : 5 5 : 5 2   12     you've got RFMD former employee who founded Akoustis, and

1 4 : 5 6 : 0 1   13     so, you know, people will tend to work with people they

1 4 : 5 6 : 0 5   14     know.

1 4 : 5 6 : 0 7   15           Nineteen is the number that Ms. Bennis chose as the

1 4 : 5 6 : 1 0   16     number who were poached because everybody -- all the other

1 4 : 5 6 : 1 4   17     43, there are reasons, terminations, rifts, other things.

1 4 : 5 6 : 1 9   18     There was some other issue that prevented them from being

1 4 : 5 6 : 2 5   19     poached.    But she never established that they were

1 4 : 5 6 : 3 2   20     poached.

1 4 : 5 6 : 3 7   21           Poaching means, in this case -- and you've heard the

1 4 : 5 6 : 4 0   22     testimony -- that, you know, just simply, you know, if I

1 4 : 5 6 : 4 5   23     recruited Mr. Masters to my law firm after this trial were

1 4 : 5 6 : 5 0   24     over, or he recruited me to his law firm, that kind of

1 4 : 5 6 : 5 4   25     stuff happens all the time.        People go out and they hire
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1 4 : 5 6 : 5 8   1      employees from competitors.

1 4 : 5 6 : 5 9   2            What makes it poaching is that when you do it in a

1 4 : 5 7 : 0 2   3      wrongful manner, you poach that employee, you take that

1 4 : 5 7 : 0 4   4      employee, you target that employee because of what she has

1 4 : 5 7 : 0 8   5      and is going to give to you.       It's that confidential or

1 4 : 5 7 : 1 2   6      trade secret information.

1 4 : 5 7 : 1 5   7            Ms. Bennis made absolutely no effort to determine

1 4 : 5 7 : 1 8   8      whether that happened with any of the 19.          Ms. Irwin did,

1 4 : 5 7 : 2 0   9      as she testified.      She found eight of the 19 people on a

1 4 : 5 7 : 2 5   10     list that Dr. Shanfield had included in his report.           Those

1 4 : 5 7 : 2 9   11     were people who received, according to him, confidential

1 4 : 5 7 : 3 3   12     Qorvo information.      And so they dwindled it down.       But

1 4 : 5 7 : 3 7   13     that doesn't make the poaching claim okay for eight.

1 4 : 5 7 : 4 1   14     Because what Ms. Bennis never did was find out whether or

1 4 : 5 7 : 4 3   15     not Qorvo had even replaced any of these folks.

1 4 : 5 7 : 4 6   16           And, remember, poaching damages is reimbursement or

1 4 : 5 7 : 5 0   17     compensation for the amount of money that Qorvo lost

1 4 : 5 7 : 5 4   18     because it had to replace people.        There's what we call

1 4 : 5 7 : 5 7   19     "soft costs" in replacing anybody we lose to unwanted

1 4 : 5 8 : 0 1   20     attrition.    She never did that.      So she has failed to meet

1 4 : 5 8 : 0 5   21     the burden of proof on that.       She failed to meet the

1 4 : 5 8 : 0 8   22     burden of actual poaching, and as a result, there's no --

1 4 : 5 8 : 1 3   23     Qorvo has failed to meet its burden of proving any

1 4 : 5 8 : 1 8   24     poaching whatsoever in this case.

1 4 : 5 8 : 2 1   25           Regarding the patent claims, I'm not going stand here
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1 4 : 5 8 : 2 7   1      and repeat everything Dr. Nguyen said to you this morning.

1 4 : 5 8 : 3 1   2      You heard what he said.       The testimony, you can weigh it

1 4 : 5 8 : 3 7   3      for yourself while it's fresh in your minds.

1 4 : 5 8 : 4 0   4            We submit that, you know, Qorvo has failed to bear

1 4 : 5 8 : 4 6   5      its burden of proving that the top electrode layer is

1 4 : 5 8 : 5 0   6      thinner than the bottom with at least a number of

1 4 : 5 8 : 5 3   7      products, and they have failed to call together admissible

1 4 : 5 8 : 5 9   8      evidence regarding the increase in filtered bandwidth.               As

1 4 : 5 9 : 0 4   9      Dr. Nguyen testified, that's not what they did.

1 4 : 5 9 : 0 8   10           And regarding the '755 claims, again, I'm not

1 4 : 5 9 : 1 2   11     going -- it's fresh in your minds.        I don't think it would

1 4 : 5 9 : 1 5   12     be worthwhile to go into a lot of detail.            But suffice it

1 4 : 5 9 : 1 8   13     to say, we disagree with Mr. DeFosse's conclusion.

1 4 : 5 9 : 2 6   14           I want to talk about the damages that Akoustis has

1 4 : 5 9 : 3 2   15     put forward in the event that you find liability.             This

1 4 : 5 9 : 3 5   16     trade secret misappropriation is -- Ms. Irwin testified to

1 4 : 5 9 : 4 1   17     that.   And now I'm going to come back to what I was going

1 4 : 5 9 : 4 3   18     to say about unjust enrichment.

1 4 : 5 9 : 4 6   19           Qorvo could have chosen a different methodology.             It

1 4 : 5 9 : 4 9   20     could have tried to value -- and Mr. DeFosse was indignant

1 4 : 5 9 : 5 5   21     in saying, Hey, they can't say that this stuff that they

1 4 : 5 9 : 5 9   22     passed around has no value whatsoever.            And, you know,

1 5 : 0 0 : 0 2   23     Dr. Darveaux disagrees.       But there's a lot of information

1 5 : 0 0 : 0 9   24     out there.    It's not impossible that you would disagree

1 5 : 0 0 : 1 2   25     with Dr. Darveaux on one or more trade secrets.
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1 5 : 0 0 : 1 7   1             The question is, though, in the event that you do

1 5 : 0 0 : 2 0   2      find liability, what is compensation due to Qorvo?           Again,

1 5 : 0 0 : 2 5   3      it could have chosen a methodology that worked.           It could

1 5 : 0 0 : 2 9   4      have chosen to say, Hey, Akoustis would have had X value

1 5 : 0 0 : 3 4   5      had it not done this, as a going entity.          It chose not to

1 5 : 0 0 : 3 8   6      do that.    It chose to grab for the brass ring uses a

1 5 : 0 0 : 4 3   7      methodology that has never before been used.

1 5 : 0 0 : 4 6   8             I'm not talking about the time value of money because

1 5 : 0 0 : 4 9   9      that notion would have been applied to any gross profit

1 5 : 0 0 : 5 2   10     had Akoustis had any.      I'm talking about using this

1 5 : 0 0 : 5 6   11     revenue number that is the only way they can get a

1 5 : 0 0 : 5 9   12     positive number generated.       They could have used avoiding

1 5 : 0 1 : 0 4   13     costs.    They chose not to do that.      It is a choice that

1 5 : 0 1 : 1 0   14     Ms. Bennis made, I expect, in conjunction with her client,

1 5 : 0 1 : 1 6   15     to go for that particular remedy.        And that she chose a

1 5 : 0 1 : 2 2   16     trade secret misappropriation remedy that is not

1 5 : 0 1 : 2 5   17     appropriate and does not fit the facts of this case, is on

1 5 : 0 1 : 2 8   18     her.

1 5 : 0 1 : 3 0   19            Employee poaching, at most, should be 356,000 in the

1 5 : 0 1 : 3 4   20     event you even find poaching.       And patent infringement

1 5 : 0 1 : 3 7   21     should be a total of $279,000.        You will see a line on the

1 5 : 0 1 : 4 2   22     special verdict form an amount for each patent.           And I

1 5 : 0 1 : 4 6   23     just want to remind you that Qorvo -- Ms. Bennis said that

1 5 : 0 1 : 5 1   24     the amount of damages, based on reasonable royalty, is

1 5 : 0 1 : 5 6   25     279,000 for both patents.       So just want to caution you
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1 5 : 0 2 : 0 0   1      about double counting in that.

1 5 : 0 2 : 0 4   2            I've taken a lot of your time.       I did want to respond

1 5 : 0 2 : 0 7   3      very quickly, rapid fire, to a few of the things that

1 5 : 0 2 : 1 0   4      Mr. DeFosse said.

1 5 : 0 2 : 1 5   5            He says, you know, they're saying that these trade

1 5 : 0 2 : 1 8   6      secrets have no value.      How can that be?      They passed it

1 5 : 0 2 : 2 2   7      around ad nauseam.      They wouldn't be passing around

1 5 : 0 2 : 2 5   8      information if it was not useful.        That's not the way to

1 5 : 0 2 : 3 1   9      value a trade secret.

1 5 : 0 2 : 3 2   10           The way to value a trade secret is whether or not you

1 5 : 0 2 : 3 5   11     can use it in some form, other than being of interest if

1 5 : 0 2 : 3 9   12     somebody reads it.      E-mailing is not using.      And you

1 5 : 0 2 : 4 5   13     cannot simply conclude with any kind of reasonable

1 5 : 0 2 : 5 1   14     certainty, and certainly without, you know, on the basis

1 5 : 0 2 : 5 3   15     of a preponderance of the evidence that simply because

1 5 : 0 2 : 5 5   16     somebody e-mails a document that might contain a trade

1 5 : 0 2 : 5 8   17     secret, that, in fact, it was using.

1 5 : 0 3 : 0 3   18           Missing devices was another issue that was mentioned.

1 5 : 0 3 : 0 8   19     And Mr. DeFosse said, Imagine if we had all those devices.

1 5 : 0 3 : 1 3   20     I just wanted to explain that this litigation commenced in

1 5 : 0 3 : 1 7   21     October of 2021.      Parties, both parties have an obligation

1 5 : 0 3 : 2 2   22     once litigation is commenced, or you're aware of that

1 5 : 0 3 : 2 5   23     litigation may be commenced, to preserve evidence.

1 5 : 0 3 : 2 9   24           So until Akoustis was sued on October 4, 2021, there

1 5 : 0 3 : 3 3   25     was no notice that Qorvo had these claims.          All of those
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1 5 : 0 3 : 3 7   1      laptops were just simply recycled in the normal course of

1 5 : 0 3 : 4 1   2      business, as I'm sure those of you who get business-issued

1 5 : 0 3 : 4 5   3      laptops or court devices, you know, probably glad when you

1 5 : 0 3 : 4 8   4      get a new one because the old ones tend to lag pretty

1 5 : 0 3 : 5 2   5      badly.    That's what happened here.

1 5 : 0 3 : 5 3   6            There's been no allegation that Akoustis destroyed

1 5 : 0 3 : 5 7   7      anything in -- you know, any of those devices that Mr.

1 5 : 0 4 : 0 5   8      DeFosse put up on the slide, there's been no allegation

1 5 : 0 4 : 0 7   9      that Akoustis acted willfully there.

1 5 : 0 4 : 1 2   10           I also wanted to remind you about the timeline.          And

1 5 : 0 4 : 1 4   11     this is important because it's in 2017 when Daeho Kim and

1 5 : 0 4 : 2 2   12     Mary Winters come.      And there was a reason why we put them

1 5 : 0 4 : 2 5   13     first in our lineup.      And it's because they represent a

1 5 : 0 4 : 3 0   14     big change at Akoustis.       And you can say what you will

1 5 : 0 4 : 3 4   15     about Rohan Houlden or Mr. Vetury or Rob Dry, who comes

1 5 : 0 4 : 4 1   16     and goes later.     But I think their testimony was clear,

1 5 : 0 4 : 4 5   17     that what they did was original, not rely on anything that

1 5 : 0 4 : 5 0   18     Qorvo provided.     And what they created are the products

1 5 : 0 4 : 5 4   19     that Akoustis is selling now.

1 5 : 0 4 : 5 9   20           Finally, I want to respond to Mr. DeFosse's ask for

1 5 : 0 5 : 0 9   21     an exemplary damages amount that, you know, if this case

1 5 : 0 5 : 1 5   22     doesn't merit exemplary damages, then no case does, I

1 5 : 0 5 : 1 9   23     think, is what he said.

1 5 : 0 5 : 2 1   24           Mr. Brown, can you -- I think I have the -- I won't

1 5 : 0 5 : 2 8   25     ask you for it, because I don't have the page with me.
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1 5 : 0 5 : 3 2   1      But I don't want to belabor the point.

1 5 : 0 5 : 3 5   2            But we trust that in the event that you find

1 5 : 0 5 : 4 0   3      liability, damages that you find will fit the facts and

1 5 : 0 5 : 4 8   4      fit the theory that makes sense to you; common sense.           If

1 5 : 0 5 : 5 4   5      you find that exemplary damages, sometimes called

1 5 : 0 6 : 0 1   6      "punitive damages," are something that you want to award,

1 5 : 0 6 : 0 5   7      then my only suggestion is that they are in proportion to

1 5 : 0 6 : 1 5   8      whatever compensatory damages that you find.

1 5 : 0 6 : 1 9   9            Again, I will say that it's not easy to come up here

1 5 : 0 6 : 2 4   10     and talk to you and tell you that my client, our client,

1 5 : 0 6 : 3 1   11     did things that are, frankly, unethical.          But that doesn't

1 5 : 0 6 : 3 6   12     mean that they misappropriated and used trade secrets.            It

1 5 : 0 6 : 4 2   13     doesn't mean that they owe Qorvo $50 million, let alone

1 5 : 0 6 : 4 7   14     the $66.1 million that was first put up by Ms. Bennis.

1 5 : 0 6 : 5 2   15           The damages testimony you heard from Ms. Irwin, I

1 5 : 0 6 : 5 7   16     think, provides some very good perspective that I'm sure

1 5 : 0 7 : 0 1   17     you will consider carefully.

1 5 : 0 7 : 0 5   18           Good luck with your deliberations today.         Again,

1 5 : 0 7 : 0 8   19     thank you for your time.       Thanks for listening to me for a

1 5 : 0 7 : 1 2   20     an hour.    And we wish you well in your deliberations.         So

1 5 : 0 7 : 2 0   21     thank you.

1 5 : 0 7 : 2 4   22                  THE COURT:    Mr. DeFosse, do you wish to make a

1 5 : 0 7 : 2 6   23     brief rebuttal argument?

1 5 : 0 7 : 2 9   24                  MR. DeFOSSE:     Very brief, Your Honor.

1 5 : 0 7 : 3 1   25                  I'm sure you were excited when you heard you
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1 5 : 0 7 : 3 5   1      were going to hear from me again.         It is going to be very

1 5 : 0 7 : 3 8   2      brief.    I promise.

1 5 : 0 7 : 4 0   3                   First thing I want to say is, you know,

1 5 : 0 7 : 4 3   4      Mr. Elkins, I think, did a great job of coming up here and

1 5 : 0 7 : 4 5   5      expressing contrition, but I would like you to put that in

1 5 : 0 7 : 5 0   6      context of what we're talking about.          He's trying to

1 5 : 0 7 : 5 3   7      suggest to you that they're contrite to avoid an award of

1 5 : 0 7 : 5 8   8      damages here, is what's going on.

1 5 : 0 7 : 5 9   9                   And what I would ask you to remember is, what

1 5 : 0 8 : 0 1   10     was the opening statement in this case?            Was there any

1 5 : 0 8 : 0 3   11     contrition expressed during the opening statement?             I

1 5 : 0 8 : 0 7   12     didn't hear any.

1 5 : 0 8 : 0 8   13                  This is a new -- you know, we've caught --

1 5 : 0 8 : 1 0   14     we've got caught over the last ten days, seen all this

1 5 : 0 8 : 1 5   15     evidence, it's really bad, so now we're contrite.             At the

1 5 : 0 8 : 1 9   16     time, no contrition.       When we filed this case, no

1 5 : 0 8 : 2 2   17     contrition.       Up until this very moment, this very moment,

1 5 : 0 8 : 2 5   18     no contrition.       It's to influence your deliberations, is

1 5 : 0 8 : 3 1   19     what it is.

1 5 : 0 8 : 3 5   20                  Mr. Elkins put up on the screen the

1 5 : 0 8 : 3 8   21     confidential Qorvo documents.        All the documents are

1 5 : 0 8 : 4 0   22     listed as "Confidential."        And that one strikes me as a

1 5 : 0 8 : 4 2   23     little strange.       We're in a case where we're accusing them

1 5 : 0 8 : 4 6   24     of misappropriating our trade secret.          Of course, the

1 5 : 0 8 : 4 9   25     documents are mark as "Confidential."          I think it would
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1 5 : 0 8 : 5 0   1      probably be a problem if it was the opposite.          That

1 5 : 0 8 : 5 3   2      doesn't mean that Qorvo marks all of its documents

1 5 : 0 8 : 5 5   3      "Confidential."

1 5 : 0 8 : 5 7   4                   And as you heard from Mr. Robinson, we have a

1 5 : 0 9 : 0 0   5      confidentiality legend that's on the presentations that

1 5 : 0 9 : 0 3   6      our employees are trained to take that off.          And it's

1 5 : 0 9 : 0 6   7      smart, right.     That is smart to protect your information

1 5 : 0 9 : 1 0   8      with that.

1 5 : 0 9 : 1 1   9                   And just think about it, these are not kind of

1 5 : 0 9 : 1 3   10     marketing presentations.       We're talking about design

1 5 : 0 9 : 1 6   11     presentations from the BAW filter research and development

1 5 : 0 9 : 2 1   12     group.    Okay.   So these are things that you would expect

1 5 : 0 9 : 2 2   13     to be confidential.      And, of course, everything here is

1 5 : 0 9 : 2 5   14     marked "Confidential."

1 5 : 0 9 : 2 9   15                  Okay.    Can we put up PTX-453, please.       And go

1 5 : 0 9 : 3 6   16     to the second page.

1 5 : 0 9 : 3 9   17                  Now, this one just caught me.        And, again, we

1 5 : 0 9 : 4 1   18     have this kind of, like, weird contrast here where we're

1 5 : 0 9 : 4 4   19     really contrite, we're sorry, we did unethical things, but

1 5 : 0 9 : 4 7   20     we didn't use any of it, we didn't copy any of it.            And

1 5 : 0 9 : 5 0   21     all J.B. Kwon did, was he reproduced something from his

1 5 : 0 9 : 5 6   22     memory.    I had two reactions right away to that.

1 5 : 0 9 : 5 9   23                  I mean, maybe someone could reproduce this from

1 5 : 1 0 : 0 3   24     their memory.     But I think you also heard J.B. Kwon's

1 5 : 1 0 : 0 6   25     testimony in this case, right?        I have to say, that
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1 5 : 1 0 : 0 9   1      gentleman remembered almost nothing.         So I don't think

1 5 : 1 0 : 1 3   2      this was coming from his memory.

1 5 : 1 0 : 1 8   3                   You know, the other thing Mr. Elkins went

1 5 : 1 0 : 2 0   4      through is a lot of testimony from witnesses in this

1 5 : 1 0 : 2 3   5      trial.    Again, that's created here at this trial.         What do

1 5 : 1 0 : 2 8   6      the documents show you?

1 5 : 1 0 : 3 2   7                   Mr. Elkins suggested that Dr. Shanfield was

1 5 : 1 0 : 3 4   8      just speculating when he said, for example, that there was

1 5 : 1 0 : 3 8   9      a meeting at the Panera, and Mr. Schmid got the document.

1 5 : 1 0 : 4 2   10     I would suggest to you that that's not speculation, that's

1 5 : 1 0 : 4 5   11     what we call, in this world, circumstantial evidence.

1 5 : 1 0 : 4 8   12                  You know, if you have a meeting, seven days

1 5 : 1 0 : 5 2   13     later, the person you had the meeting with downloads the

1 5 : 1 0 : 5 6   14     document; and a month after that, they bring the document

1 5 : 1 0 : 5 8   15     and upload it to the computer systems at Akoustis?           I

1 5 : 1 1 : 0 0   16     mean, you've heard the instruction about, if someone walks

1 5 : 1 1 : 0 3   17     in and they have water on their umbrella, you can infer

1 5 : 1 1 : 0 7   18     that it's raining outside.       I mean, how wet is Akoustis

1 5 : 1 1 : 1 1   19     here?    I mean, they're like dripping wet.        The water is

1 5 : 1 1 : 1 4   20     pooling around their feet with this evidence.          It's not

1 5 : 1 1 : 1 8   21     speculation.

1 5 : 1 1 : 1 9   22                  On damages, you have to, I think, take a step

1 5 : 1 1 : 2 4   23     back again on Ms. Irwin's testimony here.          If you take her

1 5 : 1 1 : 2 8   24     at face value, Qorvo should be paying Akoustis almost

1 5 : 1 1 : 3 2   25     $10 million for the benefit of having stolen our trade
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1 5 : 1 1 : 3 6   1      secrets.    Akoustis is worse off because it took our trade

1 5 : 1 1 : 4 0   2      secrets.    Does that make sense?      I mean, it makes no sense

1 5 : 1 1 : 4 3   3      to me.

1 5 : 1 1 : 4 4   4                   And the concept that only a profitable company

1 5 : 1 1 : 4 8   5      could have a head start, that also doesn't make sense.

1 5 : 1 1 : 5 1   6      You can have a head start if you're not profitable.           And

1 5 : 1 1 : 5 3   7      just think about some of the companies, the -- like the --

1 5 : 1 1 : 5 6   8      the most successful companies in the world may have

1 5 : 1 1 : 5 8   9      started as nonprofitable companies.        You have Teslas, your

1 5 : 1 2 : 0 1   10     Amazons.    I mean, you have a lot of companies who are

1 5 : 1 2 : 0 4   11     very -- who have losses, but can still benefit from

1 5 : 1 2 : 0 7   12     getting trade secrets from someone else.          And that's what

1 5 : 1 2 : 0 9   13     happened here.

1 5 : 1 2 : 1 1   14                  The company may have had a loss, but they still

1 5 : 1 2 : 1 4   15     got an acceleration.      They got the revenues accelerated,

1 5 : 1 2 : 1 7   16     and they could use those to pay expenses.          These aren't

1 5 : 1 2 : 2 0   17     expenses that are related to the trade secrets.           It's not

1 5 : 1 2 : 2 2   18     like they took the trade secret and their expense went up.

1 5 : 1 2 : 2 5   19     These are expenses they had anyway.

1 5 : 1 2 : 2 6   20                  And so they're getting the benefit of those

1 5 : 1 2 : 2 8   21     revenues to pay their expenses.        That's the damage here;

1 5 : 1 2 : 3 0   22     having that now, instead of having to go out to the market

1 5 : 1 2 : 3 3   23     raise capital, or go to a bank and borrow money.           That's

1 5 : 1 2 : 3 7   24     time value of money.      It's a substantial benefit.

1 5 : 1 2 : 4 1   25                  Could we pull up -- Mr. Brown, are you able to
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1 5 : 1 2 : 4 3   1      do 19.138.    That's from the slide presentation today.         Our

1 5 : 1 2 : 5 9   2      slide presentation.      And could we go one more slide in the

1 5 : 1 3 : 0 7   3      future.    There we go.

1 5 : 1 3 : 0 9   4                   So Mr. Elkins put up their calculation of the

1 5 : 1 3 : 1 1   5      poaching damages, and I just wanted to put ours up in

1 5 : 1 3 : 1 4   6      front of you.     Our calculation is 809,000.       And I think

1 5 : 1 3 : 1 5   7      this is a pretty simple calculation that Ms. Bennis based

1 5 : 1 3 : 2 1   8      on the 19 employees who were taken directly from Qorvo.

1 5 : 1 3 : 2 4   9      The reason it's 19 and not 43 is Ms. Bennis, again, out of

1 5 : 1 3 : 2 9   10     conservatism, didn't want to estimate a damage to Qorvo

1 5 : 1 3 : 3 3   11     for folks who had left previously or left for other

1 5 : 1 3 : 3 7   12     reasons and weren't taken.       So that's why it's 19.      It's

1 5 : 1 3 : 3 9   13     not to suggest that the other 43, or the other however

1 5 : 1 3 : 4 3   14     many, 19 minus 43, weren't taken to obtain confidential

1 5 : 1 3 : 4 7   15     information.

1 5 : 1 3 : 4 9   16                  So that's what I would leave you with.         I

1 5 : 1 3 : 5 2   17     appreciate, and we appreciate your time and diligence and

1 5 : 1 3 : 5 4   18     effort in this case, and your attention.          Thank you.

1 5 : 1 4 : 0 1   19                  THE COURT:    Ladies and gentlemen, that

1 5 : 1 4 : 0 2   20     concludes the closing argument in the case.          We are going

1 5 : 1 4 : 0 6   21     to take like a 16-minute, come back at 3:30 for the

1 5 : 1 4 : 1 1   22     instructions on the law.

1 5 : 1 4 : 1 4   23                  You will have to wait here just a moment, and

1 5 : 1 4 : 1 6   24     you will be excused at this time.        Don't decide the case.

1 5 : 1 4 : 1 9   25     Keep an open mind, and, of course, don't discuss the case
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1 5 : 1 4 : 2 3   1      amongst yourself.      We have a ways to go.      Thanks very

1 5 : 1 4 : 2 7   2      much.

1 5 : 1 4 : 2 8   3            (The jury exits the courtroom at 3:14 p.m.)

1 5 : 1 5 : 0 1   4                   THE COURT:    You have the redraft of the

1 5 : 1 5 : 0 3   5      stipulation.      I think that everything is okay in there.          I

1 5 : 1 5 : 0 5   6      know that there's one time where the word "prior art"

1 5 : 1 5 : 0 7   7      appears, but I don't think it's confusing.           I think it's

1 5 : 1 5 : 1 0   8      in a context that's allowed, and we're not having a

1 5 : 1 5 : 1 4   9      discussion about that anyway, but it was stipulated as a

1 5 : 1 5 : 2 0   10     fact.

1 5 : 1 5 : 2 1   11                  And I will probably not have -- I will probably

1 5 : 1 5 : 2 4   12     reference it.      I will reference the stipulations.        I may

1 5 : 1 5 : 2 7   13     even briefly sort of say what they are about, but I'm not

1 5 : 1 5 : 3 1   14     going to read them to them probably.         I'm also not going

1 5 : 1 5 : 3 4   15     to reread the trade secret.       I think they've heard this

1 5 : 1 5 : 3 9   16     many times, and they will have that information attached,

1 5 : 1 5 : 4 2   17     but I will tell them that it is attached.

1 5 : 1 5 : 4 4   18                  In connection with the witness list and exhibit

1 5 : 1 5 : 4 8   19     list, you should have those.       We do have to have those

1 5 : 1 5 : 5 1   20     approved before we send them back.        I think they are

1 5 : 1 5 : 5 5   21     right.    If you don't like them, you can complain to the

1 5 : 1 5 : 5 8   22     two people in front of me.       But I think they are, correct.

1 5 : 1 6 : 0 1   23                  So those are those three things.         I will need

1 5 : 1 6 : 0 5   24     you to take a look at that stipulation.           If you think

1 5 : 1 6 : 0 7   25     something ought to be changed on it, you've already
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1 5 : 1 6 : 0 9   1      stipulated to it.      It was agreed to.     It's in the pretrial

1 5 : 1 6 : 1 3   2      order, so it's a little awkward to be saying you didn't

1 5 : 1 6 : 1 5   3      agree to the fact, but you tell me if you need to.             Okay.

1 5 : 1 6 : 2 1   4                   I'm going to go through the instructions.           I

1 5 : 1 6 : 2 4   5      may take a stretch break when I get to patents because

1 5 : 1 6 : 2 7   6      it's kind of long, always seems to be somewhat long, and

1 5 : 1 6 : 3 1   7      that's what we will probably end up doing.

1 5 : 1 6 : 3 5   8                   Anything else from the plaintiff?          Any problem

1 5 : 1 6 : 3 9   9      with the stipulation?      I mean, you have agreed to this in

1 5 : 1 6 : 4 2   10     the past, so do you still agree to it?

1 5 : 1 6 : 4 5   11                  MR. MASTERS:     I've read it.       It looks fine to

1 5 : 1 6 : 4 7   12     us, Your Honor.     Nothing beyond this.

1 5 : 1 6 : 5 0   13                  THE COURT:    All right.    And maybe check with --

1 5 : 1 6 : 5 1   14     yes, sir, our expert over here.

1 5 : 1 6 : 5 5   15                  MR. ELKINS:    My more-seasoned colleague says

1 5 : 1 6 : 5 7   16     it's fine, Your Honor.

1 5 : 1 6 : 5 8   17                  THE COURT:    All right.    I do need your

1 5 : 1 6 : 5 9   18     signatures on it because we will file it with the case,

1 5 : 1 7 : 0 1   19     and they need to see that it's, in fact, it's been -- they

1 5 : 1 7 : 0 5   20     know it's been stipulated to, but they need to see that it

1 5 : 1 7 : 0 8   21     has been stipulated to.       That's how people want things

1 5 : 1 7 : 1 1   22     done nowadays.     I don't blame them.

1 5 : 1 7 : 1 5   23                  I think that means that we get a short break at

1 5 : 1 7 : 1 6   24     this time, and we will everyone in about ten minutes.

1 5 : 1 7 : 2 5   25     Thanks very much.
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1 5 : 1 7 : 2 6   1             (Whereupon, a recess is taken.)

1 5 : 1 7 : 2 6   2                   THE CLERK:    All rise.

1 5 : 1 7 : 2 6   3                   THE COURT:    All right.    You can be seated.        I

1 5 : 2 7 : 0 3   4      see everybody is a little relaxed, so that's okay.

1 5 : 2 9 : 1 8   5                   We are waiting on the signed stipulation, and

1 5 : 2 9 : 2 0   6      I'm going to add that to the folder.

1 5 : 2 9 : 2 4   7                   MR. MASTERS:     One question.       The exhibit and

1 5 : 2 9 : 2 4   8      witness list that was mailed?

1 5 : 2 9 : 2 6   9                   THE COURT:    Yes.

1 5 : 2 9 : 2 6   10                  MR. MASTERS:     The exhibit list looks fine.         Is

1 5 : 2 9 : 2 9   11     there a separate witness list, or is it --

1 5 : 2 9 : 3 1   12                  THE COURT:    The witnesses are listed on there.

1 5 : 2 9 : 3 3   13                  MR. MASTERS:     Yes.

1 5 : 2 9 : 3 3   14                  THE COURT:    So there is not a separate one.

1 5 : 2 9 : 3 5   15                  MR. MASTERS:     Okay.   So Dr. Nguyen and Ms.

1 5 : 2 9 : 3 7   16     Irwin who testified today, there were no exhibits.

1 5 : 2 9 : 4 0   17                  THE COURT:    There were no exhibits.

1 5 : 2 9 : 4 1   18                  You're right.     They need to be added.        There

1 5 : 2 9 : 4 3   19     were two that did not have exhibits.

1 5 : 2 9 : 4 7   20                  MR. MASTERS:     Otherwise, we're fine with that.

1 5 : 2 9 : 4 9   21                  THE COURT:    Absolutely.    Absolutely.      Thank

1 5 : 2 9 : 5 9   22     you.

1 5 : 3 1 : 0 5   23                  I think we are ready to bring the jury in.

1 5 : 3 1 : 4 8   24                  All right.    The jury should be coming in

1 5 : 3 1 : 5 3   25     momentarily.
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1 5 : 3 2 : 2 8   1            (The jury enters the courtroom at 3:32 p.m.)

1 5 : 3 2 : 4 0   2                   THE COURT:    Everyone can be seated.

1 5 : 3 2 : 4 5   3                   In a moment, I will begin the jury

1 5 : 3 2 : 4 7   4      instructions, and I will tell you at the beginning and

1 5 : 3 2 : 5 1   5      then later on that you will also receive a verdict folder,

1 5 : 3 2 : 5 4   6      which will contain certain stipulated facts by the

1 5 : 3 2 : 5 8   7      parties, and it also will contain the special verdict

1 5 : 3 3 : 0 1   8      form.   And it will also contain a list of alleged trade

1 5 : 3 3 : 0 6   9      secrets, which match up with the special verdict form.

1 5 : 3 3 : 0 9   10     And it will also contain a list of witnesses and a list of

1 5 : 3 3 : 1 4   11     exhibits.

1 5 : 3 3 : 1 5   12                  So you will receive those at the end as you go

1 5 : 3 3 : 1 9   13     back to deliberate on your verdict.

1 5 : 3 3 : 2 2   14                  Ladies and gentlemen, obviously, we have now

1 5 : 3 3 : 2 4   15     come to that point in the case when it is my duty to

1 5 : 3 3 : 3 0   16     instruct you on the rules of law that you must follow and

1 5 : 3 3 : 3 3   17     apply in deciding this case.       As jurors, it will be and is

1 5 : 3 3 : 4 0   18     your exclusive duty to decide all questions of fact

1 5 : 3 3 : 4 4   19     submitted to you, and for that purpose to determine the

1 5 : 3 3 : 4 7   20     effect and the value of the evidence.

1 5 : 3 3 : 5 2   21                  You must not be influenced by sympathy, bias,

1 5 : 3 3 : 5 6   22     or prejudice, or compassion.       You must follow the law as I

1 5 : 3 4 : 0 1   23     explain it to you whether you agree with that law or not.

1 5 : 3 4 : 0 4   24     You are not to single out any particular part of the

1 5 : 3 4 : 0 8   25     instructions and ignore the rest.        But you are to consider
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1 5 : 3 4 : 1 2   1      all of the instructions as a whole and regard each in the

1 5 : 3 4 : 1 7   2      light of the others.      Of course, you will have a full set

1 5 : 3 4 : 2 1   3      of the instructions, written instructions with you in the

1 5 : 3 4 : 2 4   4      jury room.

1 5 : 3 4 : 2 6   5                   I will start by explaining the general rules

1 5 : 3 4 : 3 0   6      that apply in every civil case, then I will explain some

1 5 : 3 4 : 3 4   7      rules that you must use in evaluating the testimony and

1 5 : 3 4 : 3 8   8      evidence.    Next, I will explain the law you will apply in

1 5 : 3 4 : 4 4   9      this case.    And after that, at the very end, I will

1 5 : 3 4 : 4 8   10     explain the rules that you must follow during your

1 5 : 3 4 : 5 1   11     deliberations in the jury room and the possible verdicts

1 5 : 3 4 : 5 5   12     that you may return.

1 5 : 3 4 : 5 8   13                  Please pay careful attention to everything I

1 5 : 3 5 : 0 1   14     say.   You will, of course, receive a written copy of these

1 5 : 3 5 : 0 5   15     instructions and will have them with you in the jury room

1 5 : 3 5 : 0 9   16     for your reference during your deliberations.          You will

1 5 : 3 5 : 1 3   17     also have a verdict form, which will list the verdict

1 5 : 3 5 : 1 7   18     questions that you must answer in deciding this case.

1 5 : 3 5 : 3 2   19                  As you know, in this case, the parties are

1 5 : 3 5 : 3 7   20     corporations.     Under the law, a corporation is considered

1 5 : 3 5 : 3 9   21     to be a person.     It can only act through its employees,

1 5 : 3 5 : 4 5   22     agents, or officers.      Therefore, a corporation is

1 5 : 3 5 : 4 9   23     responsible for the acts of its employees, agents,

1 5 : 3 5 : 5 2   24     directors, and officers performed within the scope of

1 5 : 3 5 : 5 6   25     their authority.
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1 5 : 3 6 : 0 2   1                   In this case, the plaintiff and defendant are

1 5 : 3 6 : 0 5   2      business organizations, and, of course, the fact that the

1 5 : 3 6 : 0 9   3      parties in this case are organizations must be influence

1 5 : 3 6 : 1 3   4      you in your deliberations or in your verdict.

1 5 : 3 6 : 1 7   5                   You may not discriminate between businesses and

1 5 : 3 6 : 2 0   6      natural persons.      Each is a person in the eyes of the law

1 5 : 3 6 : 2 4   7      and each is entitled to the same fair and impartial

1 5 : 3 6 : 2 7   8      consideration and justice by the same legal standard.

1 5 : 3 6 : 3 2   9                   This case should be considered by you as you

1 5 : 3 6 : 3 6   10     decide it as an action between persons of equal standing

1 5 : 3 6 : 4 0   11     in the community, of equal worth, and holding the same or

1 5 : 3 6 : 4 4   12     similar stations in life.       An organization is entitled to

1 5 : 3 6 : 4 6   13     the same fair trial at your hands as a private individual.

1 5 : 3 6 : 5 2   14     All persons, including corporations, governments and

1 5 : 3 6 : 5 7   15     government entities stand equal before the law and are to

1 5 : 3 7 : 0 0   16     be dealt with as equals in a court of justice.

1 5 : 3 7 : 0 4   17                  It will be your duty to decide this case with

1 5 : 3 7 : 0 8   18     the same impartially you would use in deciding a case

1 5 : 3 7 : 1 2   19     between individuals.

1 5 : 3 7 : 1 9   20                  While Qorvo and Akoustis -- and I'm going to

1 5 : 3 7 : 2 2   21     use -- I know that we have two defendants, but we agreed

1 5 : 3 7 : 2 5   22     we would use one word to describe both of them.

1 5 : 3 7 : 3 0   23                  While Qorvo and Akoustis are parties in this

1 5 : 3 7 : 3 3   24     case, that does not mean that only the actions of each

1 5 : 3 7 : 3 8   25     business organization as one body are to be considered by
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1 5 : 3 7 : 4 2   1      you in determining its claims or defenses.          The

1 5 : 3 7 : 4 6   2      corporation or business organization acts not only through

1 5 : 3 7 : 4 9   3      the policies and decisions it makes, but also through its

1 5 : 3 7 : 5 3   4      designated supervisory employees, such as its managers,

1 5 : 3 7 : 5 8   5      officers, and others designated by the corporation to act

1 5 : 3 8 : 0 2   6      on its behalf.

1 5 : 3 8 : 0 5   7                   Pay close attention to the remainder of these

1 5 : 3 8 : 0 7   8      instructions.     As you apply subsequent portions of these

1 5 : 3 8 : 1 0   9      instructions, you will have to determine whether or not

1 5 : 3 8 : 1 2   10     employees, managers, or agents were authorized to act on

1 5 : 3 8 : 1 7   11     behalf of the party that you are considering.

1 5 : 3 8 : 2 3   12                  You must make your decision based only on the

1 5 : 3 8 : 2 5   13     evidence that you saw and heard in the court.          Do not let

1 5 : 3 8 : 3 0   14     rumors, suspicions, or anything else that you may have

1 5 : 3 8 : 3 4   15     seen or heard outside the court influence your decision in

1 5 : 3 8 : 3 8   16     any way.    The evidence in this case includes only what the

1 5 : 3 8 : 4 2   17     witnesses said while they were testifying under oath,

1 5 : 3 8 : 4 6   18     including deposition transcript testimony, which was

1 5 : 3 8 : 5 1   19     played by video or read to you, the exhibits that are

1 5 : 3 8 : 5 6   20     allowed into evidence, and the stipulations to which the

1 5 : 3 8 : 5 9   21     parties agreed.

1 5 : 3 9 : 0 0   22                  Now, you will note that I referenced

1 5 : 3 9 : 0 1   23     stipulations when we first began our discussion, and there

1 5 : 3 9 : 0 5   24     is a separate document, which lists those.          Go over them

1 5 : 3 9 : 1 0   25     briefly at an appropriate point in time.
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1 5 : 3 9 : 1 4   1                   Nothing else is evidence.       The lawyers'

1 5 : 3 9 : 1 7   2      statements are offered solely to aid you and to help you

1 5 : 3 9 : 2 3   3      in your determination of the facts.        As indicated, the

1 5 : 3 9 : 2 8   4      lawyers' statements and arguments are not evidence.              Their

1 5 : 3 9 : 3 4   5      questions objections are not evidence.            And my legal

1 5 : 3 9 : 3 7   6      rulings are not evidence.

1 5 : 3 9 : 3 8   7                   You should not be influenced by a lawyer's

1 5 : 3 9 : 4 1   8      objection or by my ruling on that objection.            None of my

1 5 : 3 9 : 4 6   9      comments or questions are evidence.

1 5 : 3 9 : 5 0   10                  During the trial, I may not have let you hear

1 5 : 3 9 : 5 3   11     the answer to some of the questions that the lawyers

1 5 : 3 9 : 5 5   12     asked.    There were only a few situations where we -- where

1 5 : 4 0 : 0 0   13     we sustained the objection.       I also may have ruled that

1 5 : 4 0 : 0 5   14     you could not see some of the exhibit that lawyers wanted

1 5 : 4 0 : 1 0   15     you to see, and sometimes I may have ordered that you

1 5 : 4 0 : 1 3   16     disregard something that you saw or heard -- that

1 5 : 4 0 : 1 7   17     happened, I think, once, but it did happen -- whether I

1 5 : 4 0 : 1 9   18     struck from the record something that was said.             And that

1 5 : 4 0 : 2 3   19     did happen once or twice.       You must ignore all of these

1 5 : 4 0 : 2 7   20     things.

1 5 : 4 0 : 2 8   21                  Do not speculate as to what a witness might

1 5 : 4 0 : 3 3   22     have said or what an exhibit might have shown.            These

1 5 : 4 0 : 3 6   23     things are not evidence, and you are bound by your oath

1 5 : 4 0 : 4 0   24     not to let them influence your decision in any way.

1 5 : 4 0 : 4 4   25                  Make your decisions based only on the evidence
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1 5 : 4 0 : 4 7   1      as I've defined it here, and as we've discussed earlier,

1 5 : 4 0 : 5 1   2      and on nothing else.

1 5 : 4 0 : 5 7   3                   During the preliminary instructions, I told you

1 5 : 4 1 : 0 0   4      about direct evidence and circumstantial evidence.           Now,

1 5 : 4 1 : 0 5   5      again, I will remind you what that means.          Direct evidence

1 5 : 4 1 : 1 0   6      is simply evidence like the testimony of an eyewitness,

1 5 : 4 1 : 1 3   7      which, if you believe it, directly proves a fact.           If a

1 5 : 4 1 : 2 0   8      witness testified that he or she saw it raining outside

1 5 : 4 1 : 2 4   9      and you believed him or her, that would be direct evidence

1 5 : 4 1 : 2 7   10     that it was raining because they said it was raining.

1 5 : 4 1 : 3 1   11                  Circumstantial evidence is simply a chain of

1 5 : 4 1 : 3 4   12     circumstances that indirectly prove a fact.          If someone,

1 5 : 4 1 : 3 8   13     as we talked about at the beginning, walked into the

1 5 : 4 1 : 4 1   14     courtroom wearing a raincoat, covered with drops of water,

1 5 : 4 1 : 4 4   15     and carrying a wet umbrella -- seems like it's rained a

1 5 : 4 1 : 4 8   16     lot ever since we started this case -- that would be

1 5 : 4 1 : 5 1   17     circumstantial evidence from which you could consider or

1 5 : 4 1 : 5 5   18     conclude that it was raining.

1 5 : 4 1 : 5 7   19                  It is your job to decide how much weight to

1 5 : 4 2 : 0 0   20     give the direct and circumstantial evidence.          The law

1 5 : 4 2 : 0 4   21     makes no distinction between the weight you should give to

1 5 : 4 2 : 0 8   22     either one, nor does it say that one is any better

1 5 : 4 2 : 1 3   23     evidence than the other.       You should consider all the

1 5 : 4 2 : 1 6   24     evidence, both direct and circumstantial, and give it

1 5 : 4 2 : 2 1   25     whatever weight you believe that it deserves.
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1 5 : 4 2 : 2 7   1                   You should use your common sense in weighing

1 5 : 4 2 : 3 1   2      the evidence.     Consider it in light of your everyday

1 5 : 4 2 : 3 5   3      experience with people and events, and give it whatever

1 5 : 4 2 : 4 0   4      weight you believe it deserves.        If your experience tells

1 5 : 4 2 : 4 4   5      you that certain evidence reasonably leads to a

1 5 : 4 2 : 4 8   6      conclusion, you are free to reach that conclusion.

1 5 : 4 2 : 5 6   7                   Nothing that I've said or done during this

1 5 : 4 2 : 5 8   8      trial was meant to influence your decision in any way.

1 5 : 4 3 : 0 3   9      You must decide the case yourself based on the evidence

1 5 : 4 3 : 0 7   10     presented.    The Court has no opinion on the outcome of the

1 5 : 4 3 : 1 1   11     case.   If I have read any of these instructions

1 5 : 4 3 : 1 6   12     inconsistently with the written text -- and there will be

1 5 : 4 3 : 1 8   13     some things that I'm not going to read that you are going

1 5 : 4 3 : 2 2   14     to look at -- or if they are inconsistent with other

1 5 : 4 3 : 2 5   15     instructions you receive during the case, you are to rely

1 5 : 4 3 : 2 9   16     on the written instructions in your deliberations.

1 5 : 4 3 : 3 1   17                  I hope I don't misread anything, but if I do,

1 5 : 4 3 : 3 4   18     it's written down.      Or if you misheard me, that's --

1 5 : 4 3 : 3 7   19     they're for that purpose too, so can you check exactly

1 5 : 4 3 : 4 1   20     what the instruction is.

1 5 : 4 3 : 4 2   21                  A further word about statements of counsel and

1 5 : 4 3 : 4 9   22     arguments of counsel.      I always have to remind every jury

1 5 : 4 3 : 5 4   23     that the attorneys' statements and arguments are not

1 5 : 4 3 : 5 6   24     evidence.    Instead, their statements and arguments are

1 5 : 4 4 : 0 0   25     intended to help you review the evidence presented.           If
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1 5 : 4 4 : 0 4   1      you remember the evidence differently from the way it was

1 5 : 4 4 : 0 8   2      described by the attorney or attorneys, you should rely

1 5 : 4 4 : 1 0   3      upon your own recollection of the evidence.

1 5 : 4 4 : 1 7   4                   You, the jurors, are the sole judges of the

1 5 : 4 4 : 2 0   5      credibility or believability of the witnesses you have

1 5 : 4 4 : 2 5   6      seen during the trial and the weight of their testimony.

1 5 : 4 4 : 3 2   7                   You should carefully scrutinize all the

1 5 : 4 4 : 3 5   8      testimony that each witness has given and every matter of

1 5 : 4 4 : 4 1   9      evidence that tends to show whether he or she is worthy of

1 5 : 4 4 : 4 7   10     belief.    You should consider the reasonableness or

1 5 : 4 4 : 5 1   11     unreasonableness of the testimony of the witness; the

1 5 : 4 4 : 5 6   12     opportunity or lack of opportunity of the witness to know

1 5 : 4 4 : 5 9   13     the facts about which he or she testified; the

1 5 : 4 5 : 0 5   14     intelligence or lack of intelligence of the witness; the

1 5 : 4 5 : 0 8   15     interest of the interest in the result of the lawsuit; the

1 5 : 4 5 : 1 3   16     relationship of the witness to any of the parties in the

1 5 : 4 5 : 1 6   17     lawsuit, if any; and whether the witness testified

1 5 : 4 5 : 2 1   18     inconsistently while on the witness stand; and if the

1 5 : 4 5 : 2 6   19     witness said or did something or failed to say or do

1 5 : 4 5 : 3 0   20     something at any other time that is inconsistent with what

1 5 : 4 5 : 3 4   21     the witness said while testifying.

1 5 : 4 5 : 3 8   22                  Discrepancies in testimony of different

1 5 : 4 5 : 4 1   23     witnesses may or may not cause you to discredit such

1 5 : 4 5 : 4 5   24     testimony.    Two or more persons witnessing an incident or

1 5 : 4 5 : 5 1   25     transaction may see or hear it differently.          Likewise, in
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1 5 : 4 5 : 5 6   1      determining the weight to give the testimony of the

1 5 : 4 5 : 5 8   2      witness, you should ask yourself whether there was

1 5 : 4 6 : 0 3   3      evidence tending to prove that the witness testified

1 5 : 4 6 : 0 6   4      falsely about some other, or some important fact, and

1 5 : 4 6 : 1 3   5      whether there was evidence that at some other time the

1 5 : 4 6 : 1 7   6      witness said or did something or failed to say or do

1 5 : 4 6 : 2 1   7      something that was different from or inconsistent with the

1 5 : 4 6 : 2 5   8      testimony that he or she gave before you during this

1 5 : 4 6 : 2 9   9      trial.

1 5 : 4 6 : 3 2   10                  It is within the providence of the jury to

1 5 : 4 6 : 3 6   11     determine whether a false statement or prior inconsistent

1 5 : 4 6 : 4 0   12     statement discredits the witness' testimony.          You should

1 5 : 4 6 : 4 6   13     remember that a simple misstatement by a witness does not

1 5 : 4 6 : 5 0   14     mean that the witness was not telling the truth.           People

1 5 : 4 6 : 5 4   15     may tend to forget some things or remember other things

1 5 : 4 6 : 5 8   16     inaccurately.     If a witness has made a misstatement, you

1 5 : 4 7 : 0 2   17     must consider whether it was simply an innocent lapse of

1 5 : 4 7 : 0 6   18     memory, or an intentional falsehood.         And that may depend

1 5 : 4 7 : 1 1   19     upon whether it concerns an important factor or only an

1 5 : 4 7 : 1 5   20     unimportant detail.

1 5 : 4 7 : 1 8   21                  The witness may be discredited or impeached by

1 5 : 4 7 : 2 2   22     contradictory evidence or by evidence that at some other

1 5 : 4 7 : 2 5   23     time a witness has said or done something or failed to say

1 5 : 4 7 : 2 8   24     or do something that is inconsistent with the witness'

1 5 : 4 7 : 3 1   25     present testimony.      If you believe that any witness has
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1 5 : 4 7 : 3 7   1      been impeached, and, thus, discredited, you may give the

1 5 : 4 7 : 4 2   2      testimony of that witness such credibility, if any, you

1 5 : 4 7 : 4 6   3      think it deserves.      If the witness is shown knowing to

1 5 : 4 7 : 5 2   4      have testified falsely about any material matter, you have

1 5 : 4 7 : 5 7   5      a right to distrust such witness' other testimony, and you

1 5 : 4 8 : 0 2   6      may reject all the testimony of that witness, or give it

1 5 : 4 8 : 0 5   7      such credibility as you think it deserves.          You may, of

1 5 : 4 8 : 1 1   8      course, accept any part you decide is true.          That is all

1 5 : 4 8 : 1 6   9      for you, the jury, to decide.

1 5 : 4 8 : 1 9   10                  An act or omission is done knowingly if

1 5 : 4 8 : 2 3   11     committed voluntarily and intentionally and not because of

1 5 : 4 8 : 2 6   12     mistake or accident or some other innocent reason.

1 5 : 4 8 : 3 3   13                  One additional point about witnesses.

1 5 : 4 8 : 3 6   14     Sometimes jurors wonder if the number of witnesses who

1 5 : 4 8 : 4 0   15     testify makes any difference, and that is the number of

1 5 : 4 8 : 4 4   16     witnesses testifying on a particular point.          Do not make

1 5 : 4 8 : 4 9   17     any decisions based only on the number of witnesses who

1 5 : 4 8 : 5 3   18     testified.    What is more important is how believable the

1 5 : 4 8 : 5 8   19     witnesses were and how much weight you, the jury, think

1 5 : 4 9 : 0 4   20     their testimony deserves.       Concentrate on that, of course,

1 5 : 4 9 : 0 8   21     and not the number of witnesses.

1 5 : 4 9 : 1 8   22           During the trial, you heard testimony from expert

1 5 : 4 9 : 2 1   23     witnesses, sometimes referred to as opinion witnesses

1 5 : 4 9 : 2 4   24     because the word "expert" sometimes suggests to us that we

1 5 : 4 9 : 2 9   25     must accept their testimony.       But that's not the case;
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1 5 : 4 9 : 3 2   1      that's just the way we refer to this group of witnesses.

1 5 : 4 9 : 3 7   2            When knowledge or special skill from a technical or

1 5 : 4 9 : 4 2   3      business subject matter might be helpful to the jury, a

1 5 : 4 9 : 4 6   4      person who has special training or experience in that

1 5 : 4 9 : 4 9   5      technical or business field, usually called an expert

1 5 : 4 9 : 5 3   6      witness, is permitted to state his or her opinion on those

1 5 : 4 9 : 5 8   7      technical or business matters; however, you are not

1 5 : 5 0 : 0 3   8      required to accept that opinion.        As with any other

1 5 : 5 0 : 0 8   9      witness, it is up to you to judge the credibility and

1 5 : 5 0 : 1 3   10     credentials of the expert witness and decide whether to

1 5 : 5 0 : 1 8   11     rely on each witness' testimony.

1 5 : 5 0 : 2 9   12           In weighing expert testimony, you may consider the

1 5 : 5 0 : 3 2   13     expert's qualifications, the reasons for the expert's

1 5 : 5 0 : 3 6   14     opinions, and the reliability of the information

1 5 : 5 0 : 4 2   15     supporting the expert's opinions, as well as the factors

1 5 : 5 0 : 4 5   16     that I previously mentioned for weighing testimony of any

1 5 : 5 0 : 4 9   17     other witness.

1 5 : 5 0 : 5 2   18           You should consider each expert opinion received in

1 5 : 5 0 : 5 5   19     evidence in this case and give it such weight as you think

1 5 : 5 0 : 5 9   20     that it deserves.      If you decide that the opinion of an

1 5 : 5 1 : 0 5   21     expert witness is not based upon sufficient education,

1 5 : 5 1 : 0 8   22     experience, or if you conclude that the reasons given in

1 5 : 5 1 : 1 2   23     support of the opinion are not sound, or if you feel that

1 5 : 5 1 : 1 7   24     the opinion is outweighed by other evidence, you may

1 5 : 5 1 : 2 1   25     disregard the opinion in whole or in part.
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1 5 : 5 1 : 2 7   1            During the trial, certain testimony was presented to

1 5 : 5 1 : 3 0   2      you through excerpts from depositions.            The deposition

1 5 : 5 1 : 3 4   3      testimony may have been edited or cut to exclude

1 5 : 5 1 : 4 0   4      irrelevant testimony as the parties have only a limited

1 5 : 5 1 : 4 3   5      amount of time to present you with evidence.            You should

1 5 : 5 1 : 4 6   6      not attribute any significance to the fact that the

1 5 : 5 1 : 5 0   7      depositions may appear to have been edited.            I remember a

1 5 : 5 1 : 5 3   8      couple of times when we could see that there was a switch

1 5 : 5 1 : 5 6   9      in terms of witness looked one way and suddenly they

1 5 : 5 2 : 0 0   10     looked a slightly different way.

1 5 : 5 2 : 0 3   11           Deposition testimony is out-of-court testimony given

1 5 : 5 2 : 0 8   12     under oath, and is entitled to the same consideration you

1 5 : 5 2 : 1 2   13     would give it had the witness personally appeared here in

1 5 : 5 2 : 1 5   14     the Court.

1 5 : 5 2 : 1 8   15           You may have taken notes during the trial to assist

1 5 : 5 2 : 2 1   16     your memory.      As I instructed you at the beginning of the

1 5 : 5 2 : 2 5   17     case, you should use caution in consulting your notes.

1 5 : 5 2 : 3 0   18     There may be a tendency to attach undue importance to

1 5 : 5 2 : 3 5   19     matters that one has written down.        Some testimony that is

1 5 : 5 2 : 4 2   20     considered unimportant at the time presented, and thus not

1 5 : 5 2 : 4 6   21     written down, takes on greater importance later in the

1 5 : 5 2 : 5 0   22     trial in light of all the other evidence presented.

1 5 : 5 2 : 5 2   23     Therefore, your notes are only a tool to aid your own

1 5 : 5 2 : 5 8   24     individual memory.      You should not compare notes with

1 5 : 5 3 : 0 3   25     other jurors in determining the content of any testimony
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1 5 : 5 3 : 0 8   1      or in evaluating the importance of any evidence.

1 5 : 5 3 : 1 5   2            You recall we said at the very beginning in this

1 5 : 5 3 : 1 7   3      case, that your notes are not evidence and are by no means

1 5 : 5 3 : 2 1   4      a complete outline of the proceedings or a list of the

1 5 : 5 3 : 2 5   5      highlights of the trial.       Above all, your memory should be

1 5 : 5 3 : 3 1   6      your greatest asset when it comes to deliberation and

1 5 : 5 3 : 3 7   7      rendering a decision in this case.        And, of course, on

1 5 : 5 3 : 4 0   8      matters that you do not recall, or do not recall clearly,

1 5 : 5 3 : 4 3   9      you may rely on the collective recollection of all of you.

1 5 : 5 3 : 5 2   10           In any legal action, facts must be proven by a

1 5 : 5 3 : 5 7   11     required standard of evidence, known as the "burden of

1 5 : 5 4 : 0 0   12     proof."    Here, the burden of proof is called

1 5 : 5 4 : 0 4   13     "preponderance of the evidence."

1 5 : 5 4 : 0 7   14           As you know, the plaintiff in this case is Qorvo,

1 5 : 5 4 : 0 9   15     Inc., which I will refer to in this instructions as the

1 5 : 5 4 : 1 4   16     "Plaintiff" or "Qorvo."       The defendants are Akoustis

1 5 : 5 4 : 1 9   17     Technologies, Inc. and Akoustis, Inc., which I will refer

1 5 : 5 4 : 2 5   18     to as "Defendants" or collectively as "Akoustis."

1 5 : 5 4 : 2 9   19           Qorvo asserts claims against Akoustis for patent

1 5 : 5 4 : 3 2   20     infringement, misappropriation of trade secrets, unfair

1 5 : 5 4 : 3 6   21     and deceptive trade practices.        Of course, Akoustis has

1 5 : 5 4 : 4 4   22     denied these assertions.       Of course, you have the benefit

1 5 : 5 4 : 4 8   23     of having heard counsel in this case.

1 5 : 5 4 : 5 3   24           Qorvo has the burden of proving its case by a

1 5 : 5 4 : 5 7   25     preponderance of the evidence.        This means Qorvo has to
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1 5 : 5 4 : 5 9   1      produce evidence which, when considered in light of all

1 5 : 5 5 : 0 2   2      the facts, leads you to believe that Qorvo's claims are

1 5 : 5 5 : 0 7   3      more likely true than not.       Of course, each claim is

1 5 : 5 5 : 1 1   4      considered individually, so each claim is either more

1 5 : 5 5 : 1 4   5      likely true than not.      To put it differently, if you were

1 5 : 5 5 : 1 8   6      to put Akoustis' evidence on the opposite side of the

1 5 : 5 5 : 2 1   7      scale, the evidence supporting Qorvo would have to tip the

1 5 : 5 5 : 2 7   8      scale to its side.      That is, the balance in favor of

1 5 : 5 5 : 3 1   9      Qorvo.    But if the scale reflects that the two sides are

1 5 : 5 5 : 3 4   10     equally balanced or tips in favor of Akoustis, you must

1 5 : 5 5 : 3 8   11     find in favor of Akoustis.

1 5 : 5 5 : 4 0   12           Some of you have heard -- I know all of you have

1 5 : 5 5 : 4 6   13     heard of "proof beyond a reasonable doubt," and that

1 5 : 5 5 : 4 8   14     burden does apply in criminal cases.         That requirement is

1 5 : 5 5 : 5 2   15     the highest burden of proof in our judicial system.           But

1 5 : 5 5 : 5 7   16     it does not apply in civil cases, like this one, and,

1 5 : 5 6 : 0 2   17     therefore, you should put that out of your mind.           It is

1 5 : 5 6 : 0 5   18     not the applicable standard.

1 5 : 5 6 : 1 1   19           Turning now to the legal theories in the case.          I'll

1 5 : 5 6 : 1 6   20     address each one separately.

1 5 : 5 6 : 2 4   21           Qorvo alleges that Akoustis misappropriated its trade

1 5 : 5 6 : 2 9   22     secrets in violation of the federal Defend Trade Secret

1 5 : 5 6 : 3 4   23     Act and the North Carolina Trade Secrets Protection Act.

1 5 : 5 6 : 3 8   24           Under both claims, for each trade secret that Qorvo

1 5 : 5 6 : 4 2   25     identifies, Qorvo has to prove by a preponderance of the
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1 5 : 5 6 : 4 6   1      evidence the following elements:        (1) the existence of a

1 5 : 5 6 : 5 1   2      trade secret; and (2) misappropriation of that trade

1 5 : 5 6 : 5 6   3      secret.

1 5 : 5 6 : 5 8   4            Under federal Defend Trade Secret Act, Qorvo has to

1 5 : 5 7 : 0 2   5      also prove by a preponderance of the evidence that each

1 5 : 5 7 : 0 5   6      trade secret at issue is related to a product or service

1 5 : 5 7 : 0 9   7      used in, or intended for use in, interstate or foreign

1 5 : 5 7 : 1 3   8      commerce.

1 5 : 5 7 : 2 2   9            I will note that in commercial cases, interstate or

1 5 : 5 7 : 2 6   10     foreign commerce is fairly routinely established by

1 5 : 5 7 : 3 1   11     showing shipments from state to state, or country to

1 5 : 5 7 : 3 5   12     country.

1 5 : 5 7 : 3 8   13           In deciding the misappropriation of trade secrets

1 5 : 5 7 : 4 0   14     issue, you must first decide whether Qorvo owned an

1 5 : 5 7 : 4 3   15     identifiable trade secret or trade secrets.          The term

1 5 : 5 7 : 4 8   16     "trade secret" means all forms and types of financial,

1 5 : 5 7 : 5 3   17     business, scientific, technical, economic, or engineering

1 5 : 5 7 : 5 7   18     information, including patterns, plans, compilations,

1 5 : 5 8 : 0 1   19     program devices, formulas, designs, prototypes, methods,

1 5 : 5 8 : 0 7   20     techniques, processes, procedures, programs, or codes,

1 5 : 5 8 : 1 2   21     whether tangible or intangible, and whether or how stored,

1 5 : 5 8 : 1 8   22     compiled, or memorized -- memorialized physically,

1 5 : 5 8 : 2 2   23     electronically, graphically, photographically, or in

1 5 : 5 8 : 2 7   24     writing if:

1 5 : 5 8 : 2 8   25           (1) the information is secret;
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1 5 : 5 8 : 3 1   1            (2) the owner of the information has taken reasonable

1 5 : 5 8 : 3 6   2      measures to keep such information secret; and.

1 5 : 5 8 : 3 9   3            (3) the information derives independent economic

1 5 : 5 8 : 4 2   4      value, actual or potential, from not being generally known

1 5 : 5 8 : 4 9   5      to, and not being readily ascertainable through proper

1 5 : 5 8 : 5 3   6      means by, another person who can obtain economic value

1 5 : 5 8 : 5 8   7      from the disclosure or use of the information.

1 5 : 5 9 : 0 3   8            In articulating a trade secret, it is not enough for

1 5 : 5 9 : 0 6   9      Qorvo to point to a broad general class.          Rather, Qorvo

1 5 : 5 9 : 1 0   10     has the burden of identifying concrete information that it

1 5 : 5 9 : 1 5   11     contends constitutes it's trade secrets.          By its

1 5 : 5 9 : 2 0   12     definition, a "trade secret" concerns information.           By

1 5 : 5 9 : 2 7   13     contrast, an employee's general knowledge, skills,

1 5 : 5 9 : 3 0   14     experience, talents, or abilities cannot be trade secrets.

1 5 : 5 9 : 3 5   15           To determine whether a trade secret exists, you must

1 5 : 5 9 : 3 8   16     decide whether the information was, indeed, secret when

1 5 : 5 9 : 4 2   17     Akoustis allegedly wrongfully obtain it.          That is, when

1 5 : 5 9 : 4 9   18     Akoustis' allegedly wrongful conduct occurred.          Matters

1 5 : 5 9 : 5 5   19     that are generally known to the public at large or to

1 5 : 5 9 : 5 9   20     people in the trade business, are not trade secrets.           Nor

1 6 : 0 0 : 0 4   21     can information be considered a trade secret if it would

1 6 : 0 0 : 0 7   22     be ascertainable with reasonable ease of publicly

1 6 : 0 0 : 1 2   23     available information.      In addition, a trade secret must

1 6 : 0 0 : 1 7   24     possess enough originality so that it can be distinguished

1 6 : 0 0 : 2 1   25     from everyday knowledge.
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1 6 : 0 0 : 2 4   1            Absolute secrecy is not necessary for information to

1 6 : 0 0 : 2 9   2      qualify as a trade secret.       There is no requirement that

1 6 : 0 0 : 3 2   3      no one else in the world possess the information.           Rather,

1 6 : 0 0 : 3 5   4      Qorvo must demonstrate that the information was known only

1 6 : 0 0 : 3 9   5      to it or to a few others who have also treated the

1 6 : 0 0 : 4 5   6      information as a trade secret.

1 6 : 0 0 : 4 9   7            To qualify as a trade secret, the information must

1 6 : 0 0 : 5 1   8      derive independent economic value from the fact that it is

1 6 : 0 0 : 5 5   9      not generally known or not readily ascertainable by proper

1 6 : 0 1 : 0 0   10     means.    To derive independent economic value from not

1 6 : 0 1 : 0 5   11     being generally known means that the information gives a

1 6 : 0 1 : 1 0   12     business a competitive advantage over other businesses

1 6 : 0 1 : 1 3   13     that do not know the information.        Information that is

1 6 : 0 1 : 1 8   14     generally known or understood within an industry, even if

1 6 : 0 1 : 2 2   15     not known to the public at large, does not qualify as a

1 6 : 0 1 : 2 6   16     trade secret.     But information that requires considerable

1 6 : 0 1 : 2 9   17     time, effort, and expense to duplicate, even if it is

1 6 : 0 1 : 3 4   18     derived from public sources, can still qualify as a trade

1 6 : 0 1 : 3 9   19     secret.    Absolute secrecy, in the sense that no one else

1 6 : 0 1 : 4 6   20     in the world possesses the information, is not required.

1 6 : 0 1 : 5 4   21           Qorvo must prove by a preponderance of the evidence

1 6 : 0 1 : 5 6   22     that it took reasonable measures to protect the secrecy of

1 6 : 0 2 : 0 1   23     its trade secrets.      There is no precise definition of what

1 6 : 0 2 : 0 6   24     "reasonable measures" are; what is reasonable depends on

1 6 : 0 2 : 1 0   25     the situation.     Factors you may wish to consider in
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1 6 : 0 2 : 1 6   1      evaluating whether "reasonable measures" were taken could

1 6 : 0 2 : 2 0   2      include the following:

1 6 : 0 2 : 2 2   3            1.    Whether Qorvo made it a practice to inform its

1 6 : 0 2 : 2 7   4      employees or others involved within its business that the

1 6 : 0 2 : 3 1   5      information was a trade secret and/or was to be kept

1 6 : 0 2 : 3 5   6      confidential;

1 6 : 0 2 : 3 7   7            2.    Whether Qorvo required employees or others

1 6 : 0 2 : 4 1   8      involved with its business to sign confidentiality

1 6 : 0 2 : 4 6   9      agreements regarding the information or agreements not to

1 6 : 0 2 : 5 0   10     compete in areas that could use the information;

1 6 : 0 2 : 5 4   11           3.    Whether Qorvo restricted access to the

1 6 : 0 2 : 5 8   12     information on a "need to know" basis; or.

1 6 : 0 3 : 0 3   13           4.    Whether Qorvo generally maintained reasonable

1 6 : 0 3 : 0 8   14     security to protect the alleged trade secret, and did not

1 6 : 0 3 : 1 4   15     voluntarily disclose it to others, except in confidence.

1 6 : 0 3 : 2 0   16           If you find that Qorvo has proven by a preponderance

1 6 : 0 3 : 2 3   17     of the evidence that a trade secret existed, then you must

1 6 : 0 3 : 2 9   18     decide whether that trade secret information was

1 6 : 0 3 : 3 3   19     misappropriated by Akoustis.

1 6 : 0 3 : 3 7   20           To approve misappropriation occurred, Qorvo must

1 6 : 0 3 : 4 0   21     prove by a preponderance of the evidence that:

1 6 : 0 3 : 4 2   22           (1)    Akoustis acquired Qorvo's trade secret knowing

1 6 : 0 3 : 4 7   23     or having reason to know that the trade secret was

1 6 : 0 3 : 5 1   24     acquired by improper means; or.

1 6 : 0 3 : 5 5   25           (2)    Akoustis disclosed or used Qorvo's trade secret
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1 6 : 0 4 : 0 1   1      without Qorvo's express or implied consent, and Akoustis:

1 6 : 0 4 : 0 6   2            (a)    Used improper means to acquire knowledge of the

1 6 : 0 4 : 0 9   3      trade secret; or.

1 6 : 0 4 : 1 1   4            (b)    At the time of the disclosure or use of the

1 6 : 0 4 : 1 5   5      trade secret, knew or had reason to know that knowledge of

1 6 : 0 4 : 1 9   6      the trade secret was:

1 6 : 0 4 : 2 1   7            (i)    Derived from or through a person who used

1 6 : 0 4 : 2 5   8      improper means to acquire it; or.

1 6 : 0 4 : 2 8   9            (ii)    Acquired under circumstances giving rise to a

1 6 : 0 4 : 3 3   10     duty to maintain its secrecy or limit its use; or.

1 6 : 0 4 : 3 9   11           (iii)    Derived from or through a person who owed a

1 6 : 0 4 : 4 3   12     duty to Qorvo to maintain its secrecy or limit its use.

1 6 : 0 4 : 5 0   13           "Improper means" in acquiring a trade secret can

1 6 : 0 4 : 5 5   14     arise in three types of circumstances:

1 6 : 0 4 : 5 9   15           (a) where Qorvo [sic] itself obtained the trade

1 6 : 0 5 : 0 2   16     secret by its own improper conduct.

1 6 : 0 5 : 0 5   17           (b) where Qorvo [sic] obtained the trade secret from

1 6 : 0 5 : 0 9   18     a third party who Akoustis -- let me read that one again.

1 6 : 0 5 : 1 6   19     I may have read it inappropriately.        Let me go back and

1 6 : 0 5 : 2 0   20     read one, two, three.

1 6 : 0 5 : 2 2   21           Three types of circumstances would be improper means

1 6 : 0 5 : 2 8   22     for acquiring the trade secret:

1 6 : 0 5 : 3 0   23           (a) whether Akoustis itself obtained the trade secret

1 6 : 0 5 : 3 2   24     by its own improper conduct.

1 6 : 0 5 : 3 5   25           (b) where Akoustis obtained the trade secret from a
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1 6 : 0 5 : 4 0   1      third party who Akoustis knew had reason to know acquired

1 6 : 0 5 : 4 7   2      the trade secret by improper means, and.

1 6 : 0 5 : 5 2   3            (3), or (c) where Akoustis induced another to obtain

1 6 : 0 5 : 5 7   4      the trade secret by improper means.

1 6 : 0 6 : 0 2   5            It would be improper for Akoustis to acquire trade

1 6 : 0 6 : 0 5   6      secret information by theft, bribery, trespass,

1 6 : 0 6 : 0 9   7      misrepresentation, or corporate espionage, such as

1 6 : 0 6 : 1 6   8      wiretapping.      It would also be improper for Akoustis to

1 6 : 0 6 : 1 9   9      acquire the information from a third party who Akoustis

1 6 : 0 6 : 2 2   10     knew or had reason to know either used improper means to

1 6 : 0 6 : 2 7   11     acquire the information or breached a duty of

1 6 : 0 6 : 3 0   12     confidentiality in disclosing the information.          Where

1 6 : 0 6 : 3 5   13     Akoustis acquired the information from a third party in

1 6 : 0 6 : 3 8   14     one of the circumstances, Akoustis' conduct is only

1 6 : 0 6 : 4 3   15     improper if Akoustis knew or should have known that it was

1 6 : 0 6 : 4 7   16     acquiring a trade secret belonging another.

1 6 : 0 6 : 5 2   17           Last, it would be improper for Akoustis to induce

1 6 : 0 6 : 5 5   18     another to either use improper means to acquire the

1 6 : 0 6 : 5 9   19     information or to breach a duty of confidentiality that

1 6 : 0 7 : 0 4   20     person owed to Qorvo.

1 6 : 0 7 : 0 8   21           Because improper means can cover a wide variety of

1 6 : 0 7 : 1 3   22     circumstances, it may be helpful to identify situations

1 6 : 0 7 : 1 7   23     that the law would not consider "improper means."           It is

1 6 : 0 7 : 2 2   24     not improper to acquire information through independent

1 6 : 0 7 : 2 8   25     development, research of public resources (such as, for
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1 6 : 0 7 : 3 3   1      example, trade directories, patent filings, or even will

1 6 : 0 7 : 3 8   2      telephone book), or purchase of a product that contains

1 6 : 0 7 : 4 4   3      trade secrets and then disassembling it to analyze those

1 6 : 0 7 : 4 9   4      secrets (a process called "reverse engineering").

1 6 : 0 7 : 5 4   5      Similarly, a party who obtains information by mistake, or

1 6 : 0 7 : 5 9   6      without knowledge or reason to know that the information

1 6 : 0 8 : 0 2   7      is a trade secret, has not acquired the trade secret

1 6 : 0 8 : 0 7   8      through improper means.

1 6 : 0 8 : 0 9   9            A defendant who is acquired trade secret information

1 6 : 0 8 : 1 2   10     by improper means has no right to use or disclose the

1 6 : 0 8 : 1 7   11     information in any way whatsoever.        Thus, any use or

1 6 : 0 8 : 2 3   12     disclosure by a defendant who has acquired a trade secret

1 6 : 0 8 : 2 7   13     by improper means is wrongful.

1 6 : 0 8 : 3 4   14           To prove "use" of a trade secret, Qorvo must prove by

1 6 : 0 8 : 4 0   15     a preponderance of the evidence that Akoustis used the

1 6 : 0 8 : 4 4   16     alleged trade secrets without Qorvo's consent.           That is,

1 6 : 0 8 : 4 9   17     Akoustis must -- I'm going to say that one again.

1 6 : 0 8 : 5 6   18           To prove "use" by a trade secret -- use of a trade

1 6 : 0 9 : 0 0   19     secret, Qorvo must prove by a preponderance of the

1 6 : 0 9 : 0 4   20     evidence that Akoustis used the trade secrets without

1 6 : 0 9 : 0 8   21     Qorvo's consent.

1 6 : 0 9 : 1 0   22           "Use" has a broad definition in trade secret law.            As

1 6 : 0 9 : 1 6   23     a general matter, any exploitation of a trade secret that

1 6 : 0 9 : 2 1   24     is likely to result in injury to the trade secret owner or

1 6 : 0 9 : 2 7   25     enrichment to the defendant is a "use."           The unauthorized
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1 6 : 0 9 : 3 2   1      use need not extend to every aspect or feature of the

1 6 : 0 9 : 3 7   2      trade secret; use of any substantial portion of the secret

1 6 : 0 9 : 4 2   3      is sufficient to subject the actor to liability.           Use

1 6 : 0 9 : 5 0   4      requires the productive use of the trade secret.           Merely

1 6 : 0 9 : 5 5   5      possessing a trade secret without utilizing a trade secret

1 6 : 0 9 : 5 9   6      is note "use."     But you may find that possession of a

1 6 : 1 0 : 0 5   7      trade secret, or the circumstances surrounding the

1 6 : 1 0 : 0 9   8      possession of trade secrets, are circumstantial evidence

1 6 : 1 0 : 1 4   9      of "use."

1 6 : 1 0 : 1 9   10           I will now instruct you on the law that you must

1 6 : 1 0 : 2 2   11     follow in determining compensatory damages in the context

1 6 : 1 0 : 2 5   12     of trade secret.      The purpose of compensatory damages is

1 6 : 1 0 : 3 2   13     to award, as far as possible, just and fair compensation

1 6 : 1 0 : 3 7   14     for the loss, if any, which resulted from the defendants'

1 6 : 1 0 : 4 2   15     violation of a plaintiff's rights.        Compensatory damages

1 6 : 1 0 : 4 5   16     are not intended to punish the defendant.

1 6 : 1 0 : 5 0   17           You must not take these instructions as implying my

1 6 : 1 0 : 5 4   18     view about which party is entitled to your verdict in this

1 6 : 1 0 : 5 8   19     case.   Instructions regarding the measure of damages are

1 6 : 1 1 : 0 1   20     given for your guidance in the event that you find in

1 6 : 1 1 : 0 5   21     favor of Qorvo from a preponderance of the evidence in the

1 6 : 1 1 : 1 0   22     case in accordance with the other instructions.

1 6 : 1 1 : 1 4   23           If you find that Qorvo proved that Akoustis

1 6 : 1 1 : 1 9   24     misappropriated Qorvo's trade secrets, you must decide

1 6 : 1 1 : 2 3   25     whether Qorvo is entitled to damages on its claim for
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1 6 : 1 1 : 2 7   1      misappropriation of trade secrets.

1 6 : 1 1 : 3 2   2            Qorvo has the burden of proving whether Akoustis

1 6 : 1 1 : 3 5   3      caused the damage that Qorvo is claiming by a

1 6 : 1 1 : 3 8   4      preponderance of the evidence.        Qorvo must prove the

1 6 : 1 1 : 4 3   5      amount of damages with reasonable certainty, but need not

1 6 : 1 1 : 4 8   6      prove the amount of damages with mathematical precision.

1 6 : 1 1 : 5 2   7      However, Qorvo is not entitled to damages that are remote

1 6 : 1 1 : 5 6   8      or speculative.

1 6 : 1 2 : 0 0   9            If you determine that Qorvo is entitled to damages,

1 6 : 1 2 : 0 3   10     you may award Qorvo an amount that represents the benefit

1 6 : 1 2 : 0 9   11     actually received by Akoustis.        This is called "unjust

1 6 : 1 2 : 1 3   12     enrichment."      Regardless of whether you find that Qorvo

1 6 : 1 2 : 1 7   13     itself suffered losses, if you find that Akoustis

1 6 : 1 2 : 2 1   14     benefited from using a trade secret belonging Qorvo, then

1 6 : 1 2 : 2 6   15     you may award the monetary value that you attribute to

1 6 : 1 2 : 3 0   16     those benefits and that Qorvo has proven by a

1 6 : 1 2 : 3 5   17     preponderance of the evidence.

1 6 : 1 2 : 4 0   18           There can be multiple forms of unjust enrichment.

1 6 : 1 2 : 4 5   19           One form of unjust enrichment can be measured by a

1 6 : 1 2 : 4 8   20     "head start" theory.      The head start theory measures the

1 6 : 1 2 : 5 4   21     value of the temporal advantage a defendant obtains from

1 6 : 1 2 : 5 8   22     its use of the trade secrets.       The "head start" period is

1 6 : 1 3 : 0 4   23     the time it would have taken Akoustis to develop its

1 6 : 1 3 : 0 8   24     products and compete in the market absent any

1 6 : 1 3 : 1 2   25     misappropriation.      That is, not using the alleged trade
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1 6 : 1 3 : 1 6   1      secrets until they were generally known or legitimately

1 6 : 1 3 : 1 9   2      acquired elsewhere.

1 6 : 1 3 : 2 3   3             The second point of unjust enrichment is called

1 6 : 1 3 : 2 5   4      "avoided costs."      Avoided costs are the amount that

1 6 : 1 3 : 3 2   5      Akoustis would have incurred to achieve the same result

1 6 : 1 3 : 3 7   6      without the use of the appropriated trade secrets.

1 6 : 1 3 : 4 6   7             If you find for Qorvo, on its trade secret claims,

1 6 : 1 3 : 5 0   8      you may, but are not required to, assess exemplary damages

1 6 : 1 3 : 5 7   9      against Akoustis.      The purpose of exemplary damages are to

1 6 : 1 4 : 0 2   10     punish a defendant for its conduct and to deter it and

1 6 : 1 4 : 0 8   11     others from engaging in similar conduct in the future.

1 6 : 1 4 : 1 4   12            For Qorvo to recover exemplary damages, you must

1 6 : 1 4 : 1 8   13     first find that Qorvo has proven by a preponderance of the

1 6 : 1 4 : 2 1   14     evidence that Akoustis' acts were willful and malicious.

1 6 : 1 4 : 2 6   15     "Willful and malicious" means that such intentional acts

1 6 : 1 4 : 3 2   16     or gross negligence of duty as to exhibit a reckless

1 6 : 1 4 : 3 5   17     indifference of the rights of others on the part of the

1 6 : 1 4 : 3 9   18     wrongdoer, and an entire want of care so as to raise the

1 6 : 1 4 : 4 5   19     presumption that the entity at fault is conscious of the

1 6 : 1 4 : 5 0   20     consequences of its carelessness.

1 6 : 1 4 : 5 5   21            Qorvo contends that Akoustis engaged in unfair and

1 6 : 1 4 : 5 7   22     deceptive trade practices in violation of North Carolina

1 6 : 1 5 : 0 3   23     law.    So I'm switching slightly.      I want you to note that.

1 6 : 1 5 : 1 0   24            Qorvo alleges that Akoustis engaged in one or more of

1 6 : 1 5 : 1 3   25     the following unfair or deceptive acts:
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1 6 : 1 5 : 1 7   1            1.    Akoustis misappropriated Qorvo's trade secrets.

1 6 : 1 5 : 2 2   2            That may sound redundant because we just finished the

1 6 : 1 5 : 2 7   3      discussion under a different theory, but, of course, now

1 6 : 1 5 : 3 0   4      we're going to the North Carolina law.

1 6 : 1 5 : 3 4   5            So Qorvo alleges that Akoustis engaged in one or more

1 6 : 1 5 : 4 0   6      of the following unfair or deceptive acts:

1 6 : 1 5 : 4 5   7            1.    Akoustis misappropriated Qorvo's trade secrets;

1 6 : 1 5 : 4 9   8            2.    Akoustis hired former Qorvo employees as part of

1 6 : 1 5 : 5 7   9      a scheme to acquire Qorvo's confidential information;

1 6 : 1 6 : 0 4   10           3.    Akoustis obtained or used Qorvo's confidential

1 6 : 1 6 : 0 8   11     information unfairly or deceptively.

1 6 : 1 6 : 1 3   12           So you can see this is a different claim.         And we'll

1 6 : 1 6 : 1 6   13     talk about that in terms of how it may also be referred to

1 6 : 1 6 : 2 4   14     in some other occasions in the instructions.

1 6 : 1 6 : 2 9   15           To succeed on its claim for unfair and deceptive

1 6 : 1 6 : 3 3   16     trade practices, Qorvo must prove each of the following by

1 6 : 1 6 : 3 9   17     a preponderance of the evidence:

1 6 : 1 6 : 4 1   18           (1)    Akoustis committed an unfair or deceptive act or

1 6 : 1 6 : 4 6   19     practice;

1 6 : 1 6 : 4 8   20           (2) -- I think our numbers are wrong here.          I will

1 6 : 1 6 : 5 1   21     fix them -- Akoustis' conduct was in or affecting

1 6 : 1 6 : 5 7   22     commerce; and.

1 6 : 1 6 : 5 8   23           (3)    Akoustis' conduct caused Qorvo injury.

1 6 : 1 7 : 0 3   24           A practice is unfair when it offends established

1 6 : 1 7 : 0 9   25     public policy or when the act or practice is "immoral,
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1 6 : 1 7 : 1 3   1      unethical, oppressive, unscrupulous, or substantially

1 6 : 1 7 : 1 8   2      injurious to consumers."       A party commits an unfair act or

1 6 : 1 7 : 2 8   3      practice when it engages in conduct that amounts to an

1 6 : 1 7 : 3 2   4      inequitable assertion of its power or position.           For an

1 6 : 1 7 : 3 6   5      act or practice to be deceptive, it must have "the

1 6 : 1 7 : 4 1   6      capacity or tendency to deceive" or proof of actual

1 6 : 1 7 : 4 6   7      deception -- but proof of actual deception is not

1 6 : 1 7 : 4 9   8      required.

1 6 : 1 7 : 5 1   9            A violation of a statute or other law is not

1 6 : 1 7 : 5 5   10     automatically an unfair or deceptive practice or act.

1 6 : 1 7 : 5 9   11     Qorvo must prove that conduct was unfair or deceptive.

1 6 : 1 8 : 0 6   12     Deliberate acts or deceit or bad faith do not have to be

1 6 : 1 8 : 1 0   13     shown, rather Qorvo must demonstrate that the act or

1 6 : 1 8 : 1 7   14     practice possesses the tendency and capacity to mislead or

1 6 : 1 8 : 2 2   15     create the likelihood of deception.

1 6 : 1 8 : 2 6   16           As a general matter, Akoustis has the freedom to

1 6 : 1 8 : 2 9   17     compete, including to divert business not only from

1 6 : 1 8 : 3 5   18     competitors generally, but also from Qorvo.          You may only

1 6 : 1 8 : 4 0   19     find Akoustis liable for unfair and deceptive trade

1 6 : 1 8 : 4 6   20     practices if you determine that the harm to Qorvo resulted

1 6 : 1 8 : 4 9   21     from particular methods of competition determined to be

1 6 : 1 8 : 5 2   22     unlawful.

1 6 : 1 8 : 5 8   23           To succeed on the second element, plaintiff must

1 6 : 1 9 : 0 2   24     prove that the defendants' conduct was either "in

1 6 : 1 9 : 0 6   25     commerce," or that it "affected commerce."
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1 6 : 1 9 : 1 0   1            Conduct is "in commerce" when it involves a business

1 6 : 1 9 : 1 4   2      activity.    Conduct "affects commerce" whenever a business

1 6 : 1 9 : 1 9   3      activity is adversely or substantially affected.           A

1 6 : 1 9 : 2 5   4      business activity is the way a business conducts its

1 6 : 1 9 : 2 9   5      regular day-to-day activities or affairs, such as the

1 6 : 1 9 : 3 5   6      purchase or sale or goods or whatever other activities the

1 6 : 1 9 : 3 8   7      business regularly engages in and for which it is

1 6 : 1 9 : 4 2   8      organized.

1 6 : 1 9 : 4 6   9            The third element requires that Qorvo prove by a

1 6 : 1 9 : 5 0   10     preponderance of the evidence that Akoustis' conduct

1 6 : 1 9 : 5 2   11     proximately caused injury to Qorvo.        To prove this, Qorvo

1 6 : 2 0 : 0 1   12     must prove:

1 6 : 2 0 : 0 3   13           (a) that Qorvo has suffered an injury; and

1 6 : 2 0 : 0 8   14           (b) that Akoustis' conduct was the proximate cause of

1 6 : 2 0 : 1 3   15     any injury to Qorvo.

1 6 : 2 0 : 1 5   16           Proximate cause is a cause that in a natural and

1 6 : 2 0 : 2 0   17     continuous sequence produces the injury, and is a cause

1 6 : 2 0 : 2 5   18     that a reasonable and prudent person could have foreseen

1 6 : 2 0 : 3 2   19     with produces such injury or other similar injurious

1 6 : 2 0 : 3 8   20     result.

1 6 : 2 0 : 4 4   21           In connection with its Unfair and Deceptive Trade

1 6 : 2 0 : 4 8   22     Practices claim, Qorvo seeks the recovery of compensatory

1 6 : 2 0 : 5 2   23     damages.    Qorvo seeks recovery of damages for actual loss.

1 6 : 2 0 : 5 9   24           In determining compensatory damages based on actual

1 6 : 2 1 : 0 1   25     loss, you may consider whether Qorvo suffered any
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1 6 : 2 1 : 0 5   1      measurable loss as a result of Akoustis' conduct.           In this

1 6 : 2 1 : 1 0   2      case, Qorvo claims that its business was affected, and

1 6 : 2 1 : 1 5   3      that it suffered monetary loss due to the loss -- due to

1 6 : 2 1 : 1 9   4      the cost to recruit, hire, and train additional employees

1 6 : 2 1 : 2 5   5      based on Akoustis' unlawful hiring of Qorvo employees.

1 6 : 2 1 : 3 4   6            Qorvo's damages, if any, are to be reasonably

1 6 : 2 1 : 3 8   7      determined from the evidence presented in the case.           Qorvo

1 6 : 2 1 : 4 1   8      is not required to prove with mathematical certainty the

1 6 : 2 1 : 4 5   9      extent of its injury in order to recover damages.           You may

1 6 : 2 1 : 5 0   10     not award, however, any damages based upon your

1 6 : 2 1 : 5 4   11     speculation or conjecture.

1 6 : 2 2 : 0 1   12           Now, and the verdict form will help us as we go

1 6 : 2 2 : 0 5   13     through that, because it's broken down in a way, I think,

1 6 : 2 2 : 0 8   14     to assist you as you put all of this together.

1 6 : 2 2 : 1 1   15           I'm going to turn to patent infringement theory in

1 6 : 2 2 : 1 4   16     this case.

1 6 : 2 2 : 1 9   17           Qorvo has alleged that Akoustis has directly

1 6 : 2 2 : 2 4   18     infringed Claims 1 and 12 of the '018 patent and Claims 9

1 6 : 2 2 : 2 9   19     and 10 of the '755 patent.       I will refer to those as "the

1 6 : 2 2 : 3 7   20     asserted claims."      Infringement is assessed on a

1 6 : 2 2 : 4 2   21     claim-by-claim basis.      To prove infringement, Qorvo must

1 6 : 2 2 : 4 7   22     prove that the requirements for direct infringement are

1 6 : 2 2 : 5 1   23     met by a preponderance of the evidence, that is, that it

1 6 : 2 2 : 5 6   24     is more likely than not that all requirements of direct

1 6 : 2 3 : 0 1   25     infringement have been proven.
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1 6 : 2 3 : 0 4   1            Akoustis denies that it has infringed the asserted

1 6 : 2 3 : 0 8   2      claims.    Your job in this portion, certainly, is to decide

1 6 : 2 3 : 1 3   3      whether Akoustis has infringed the asserted claims in the

1 6 : 2 3 : 1 6   4      patents.

1 6 : 2 3 : 1 9   5            The specific questions that you must answer relate to

1 6 : 2 3 : 2 7   6      patent infringement.      And the specific questions that you

1 6 : 2 3 : 3 3   7      must answer relate to patent infringement, and are listed

1 6 : 2 3 : 3 7   8      on the verdict form that I will give to you as we conclude

1 6 : 2 3 : 4 5   9      the instruction on the substantive theories of the

1 6 : 2 3 : 5 0   10     parties.

1 6 : 2 3 : 5 1   11           Here are the issues that you must decide in this

1 6 : 2 3 : 5 3   12     context, in the patent context:

1 6 : 2 3 : 5 5   13           Whether Qorvo has proven by a preponderance of the

1 6 : 2 4 : 0 0   14     evidence that Akoustis infringes Claim 1 and/or 12 of the

1 6 : 2 4 : 0 7   15     '018 patent.

1 6 : 2 4 : 1 0   16           If you decide Akoustis has proven -- excuse me -- if

1 6 : 2 4 : 1 4   17     you decide that Qorvo has proven that Akoustis infringes

1 6 : 2 4 : 1 8   18     Claims 1 and/or 12 of the '018 patent, whether Qorvo has

1 6 : 2 4 : 2 5   19     proven by a preponderance of the evidence that Akoustis

1 6 : 2 4 : 2 8   20     willfully infringes.

1 6 : 2 4 : 3 3   21           If you decide that Qorvo has proven that Akoustis

1 6 : 2 4 : 3 7   22     infringes Claims 1 and/or 12 of the '018 patent, what

1 6 : 2 4 : 4 1   23     amount of monetary damages Qorvo has proven by a

1 6 : 2 4 : 4 7   24     preponderance of the evidence.

1 6 : 2 4 : 4 8   25           And whether Akoustis has proven by a preponderance of
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1 6 : 2 4 : 5 1   1      the evidence -- it's difficult because they sound alike to

1 6 : 2 4 : 5 8   2      be confusing, so I will say that one again correctly.

1 6 : 2 5 : 0 1   3            Whether Qorvo has proven by a preponderance of the

1 6 : 2 5 : 0 3   4      evidence that Akoustis infringes Claims 9 and/or 10 of the

1 6 : 2 5 : 1 0   5      '755 patent.

1 6 : 2 5 : 1 2   6            If you decide that Akoustis has proven -- excuse me.

1 6 : 2 5 : 1 6   7      If you decide that Qorvo -- I'm going to get Ms. Duvall to

1 6 : 2 5 : 2 6   8      come up here and read this.       She said, no.

1 6 : 2 5 : 2 9   9            If you decide that Qorvo has proven that Akoustis

1 6 : 2 5 : 3 1   10     infringes Claims 9 and/or 10 of the '755 patent, whether

1 6 : 2 5 : 3 7   11     Qorvo has proven by a preponderance of the evidence that

1 6 : 2 5 : 4 0   12     Akoustis willfully infringes.       And if you decide that

1 6 : 2 5 : 4 7   13     Qorvo has proven that Akoustis infringes Claims 9 and/or

1 6 : 2 5 : 5 0   14     10 of the '755 patent, what amount of monetary damages

1 6 : 2 5 : 5 7   15     Qorvo has proven by a preponderance of the evidence?

1 6 : 2 6 : 0 2   16           I will now give you some further instructions

1 6 : 2 6 : 0 5   17     regarding patent infringement.        I have a few changes.

1 6 : 2 6 : 1 7   18           Before you decide many of the issues in this patent

1 6 : 2 6 : 2 4   19     portion of the case, you will need to understand the role

1 6 : 2 6 : 4 0   20     of patent claims.

1 6 : 2 6 : 4 2   21           Now, I told you earlier, I'm going to go through

1 6 : 2 6 : 4 5   22     several pages of this, but then I'm going to tell you that

1 6 : 2 6 : 4 8   23     there is a glossary, and that can be of assistance if you

1 6 : 2 6 : 5 2   24     reach a question about what does a particular term mean.

1 6 : 2 6 : 5 7   25     And I'll mention what the terms are defined in the
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1 6 : 2 7 : 0 0   1      glossary, but recognizing that I agree, it's pretty

1 6 : 2 7 : 0 3   2      difficult to remember all of this.        I will leave those for

1 6 : 2 7 : 0 8   3      to you further scrutinize as you determine that you need

1 6 : 2 7 : 1 0   4      to.

1 6 : 2 7 : 1 1   5            Before you decide many of issues in this patent

1 6 : 2 7 : 1 6   6      portion of the case, you will need to understand the role

1 6 : 2 7 : 1 9   7      of patent claims.      Now, you have some idea because we saw

1 6 : 2 7 : 2 3   8      the film earlier.      But I will go over it again.

1 6 : 2 7 : 2 7   9            Patent claims are the numbered sentences at the end

1 6 : 2 7 : 3 1   10     of the patent.     The claims are important because the words

1 6 : 2 7 : 3 4   11     of a claim define the scope of the patent right.           The

1 6 : 2 7 : 3 8   12     figures and text in the rest of the patent provide a

1 6 : 2 7 : 4 3   13     description and/or examples of the invention and provide a

1 6 : 2 7 : 4 6   14     context for the claims, but the claims define the extent

1 6 : 2 7 : 5 1   15     of the patent's coverage.       Therefore, what a patent covers

1 6 : 2 7 : 5 7   16     depends, in turn, on what each of its claims covers.

1 6 : 2 8 : 0 3   17           To know what a claim covers, a claim sets forth in

1 6 : 2 8 : 0 7   18     words a set of requirements.       Each claim sets forth its

1 6 : 2 8 : 1 3   19     requirements in a single sentence.        The requirements of

1 6 : 2 8 : 1 8   20     the claim are often referred to as "claim elements" or

1 6 : 2 8 : 2 3   21     "claim limitations."      The coverage of a patent is assessed

1 6 : 2 8 : 2 9   22     claim by claim.

1 6 : 2 8 : 3 2   23           When a thing (such as a product or a process) meets

1 6 : 2 8 : 3 6   24     all of the requirements of a claim, the claim is said to

1 6 : 2 8 : 4 0   25     "cover" that thing.      And that thing is said to fall within
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1 6 : 2 8 : 4 4   1      the scope of that claim.       In other words, a claim covers a

1 6 : 2 8 : 4 9   2      product or process where each of the claim elements or

1 6 : 2 8 : 5 3   3      limitations is present in that product or process.

1 6 : 2 9 : 0 0   4            To decide whether or not a claim is infringed, we

1 6 : 2 9 : 0 4   5      will first need to understand what the claims of the '018

1 6 : 2 9 : 0 7   6      and the '755 patents cover.       To do so, you will need to

1 6 : 2 9 : 1 5   7      understand the meaning of the words used in the claims.

1 6 : 2 9 : 1 9   8            The law says that it is my role, when necessary, to

1 6 : 2 9 : 2 3   9      define the terms of the claims, and it is your role to

1 6 : 2 9 : 2 7   10     apply my definitions to those terms -- of those terms to

1 6 : 2 9 : 3 1   11     the issues that you are asked to decide in this case.           As

1 6 : 2 9 : 3 7   12     I explained to you at the start of the case, and, really,

1 6 : 2 9 : 4 0   13     in the preliminary instructions a little bit, I have

1 6 : 2 9 : 4 3   14     determined that the following claim terms have the

1 6 : 2 9 : 4 6   15     following definitions.      It's been referenced before that

1 6 : 2 9 : 4 9   16     we've construed certain claims.

1 6 : 2 9 : 5 2   17           As to the '018 patent, the term that has been defined

1 6 : 2 9 : 5 7   18     is "reference numerals."       And the term is construed to

1 6 : 3 0 : 0 6   19     mean, "The reference numerals in the asserted claims of

1 6 : 3 0 : 1 0   20     the '018 patent are not limiting and are solely for

1 6 : 3 0 : 1 6   21     exemplary purposes."

1 6 : 3 0 : 2 2   22           Patent Number '755, the term "active region."          "The

1 6 : 3 0 : 2 9   23     region of the resonator that is electrically driven, plus

1 6 : 3 0 : 3 8   24     any portions of the resonator that are located above or

1 6 : 3 0 : 4 2   25     below the electrically driven regions."
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1 6 : 3 0 : 5 3   1            Patent '755, "outer region."       "The region of a

1 6 : 3 1 : 0 0   2      resonator that is outside of the active region."

1 6 : 3 1 : 0 6   3            And a term in Patent '755, "are not excited in the

1 6 : 3 1 : 1 2   4      active region," and that's term that that will have its

1 6 : 3 1 : 1 7   5      plain and ordinary meaning.

1 6 : 3 1 : 1 9   6            You must accept my definitions of those terms as

1 6 : 3 1 : 2 2   7      being correct.     It is your job to take these definitions

1 6 : 3 1 : 2 8   8      and apply them to the issues that you are deciding,

1 6 : 3 1 : 3 1   9      including the issues of infringement.

1 6 : 3 1 : 3 7   10           If I have not provided a specific definition for a

1 6 : 3 1 : 4 2   11     term in the claims of the '018 and '755 patents, you are

1 6 : 3 1 : 4 9   12     to use the plain and ordinary meaning to a person of

1 6 : 3 1 : 5 4   13     ordinary skill in the art of that term.

1 6 : 3 1 : 5 8   14           You should not take my definition of language of the

1 6 : 3 2 : 0 2   15     patent claim as indication that I have a view regarding

1 6 : 3 2 : 0 7   16     how you should decide the issues that you are being asked

1 6 : 3 2 : 1 1   17     to decide.    The issues in this case are yours to decide.

1 6 : 3 2 : 1 8   18           And that's really the issues in this patent portion

1 6 : 3 2 : 2 1   19     of the case, certainly, and all the issues in this case

1 6 : 3 2 : 2 4   20     are for you to decide.

1 6 : 3 2 : 2 9   21           There are two types of patent claims.         There are

1 6 : 3 2 : 3 2   22     independent claims and there are dependent claims.

1 6 : 3 2 : 3 6   23     Claim 1 of the '018 patent and Claims 9 and 10 of the '755

1 6 : 3 2 : 4 4   24     patent are independent claims.

1 6 : 3 2 : 4 7   25           An independent claim sets forth all the requirements
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1 6 : 3 2 : 5 1   1      that must be met in order to be covered by that claim.

1 6 : 3 2 : 5 6   2      Thus, it is not necessary to look at any other claim to

1 6 : 3 3 : 0 1   3      determine what an independent claim covers.

1 6 : 3 3 : 0 7   4            Claim 12 of the '018 patent is a "dependent claim."

1 6 : 3 3 : 1 3   5      A "dependent claim" does itself recite all the

1 6 : 3 3 : 1 9   6      requirements of the claim, but refers to another claim for

1 6 : 3 3 : 2 6   7      some of its requirements.       In this way, the claim

1 6 : 3 3 : 2 9   8      "depends" on the other claim.       A dependent claim

1 6 : 3 3 : 3 4   9      incorporates all of the requirements of the claims to

1 6 : 3 3 : 3 8   10     which it refers.      The dependent claim then adds its own

1 6 : 3 3 : 4 6   11     additional requirement.

1 6 : 3 3 : 5 0   12           To determine what a dependent claim covers, it is

1 6 : 3 3 : 5 3   13     necessary to look at both the dependent claim and the

1 6 : 3 3 : 5 7   14     other claim, both claims, to which it refers.          A product

1 6 : 3 4 : 0 2   15     or a process that meets all the requirements of both the

1 6 : 3 4 : 0 7   16     dependent claim and the claims to which it refers, is

1 6 : 3 4 : 1 2   17     covered by that dependent claim.        Obviously, it would be

1 6 : 3 4 : 1 7   18     meet all the requirements of the claim to which it refers,

1 6 : 3 4 : 2 1   19     and the additional requirements that are set out in the

1 6 : 3 4 : 2 5   20     dependent claim itself.

1 6 : 3 4 : 3 1   21           I'll now instruct you as to the rules you must follow

1 6 : 3 4 : 3 5   22     in deciding whether Qorvo has proven that Akoustis has

1 6 : 3 4 : 3 9   23     infringed the asserted claims.

1 6 : 3 4 : 4 2   24           The United States Patent law gives the owner of a

1 6 : 3 4 : 4 5   25     patent the right to exclude others from importing, making,
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1 6 : 3 4 : 5 1   1      using, selling or offering to sell, patented products and

1 6 : 3 4 : 5 6   2      services or performing a patented method within the United

1 6 : 3 5 : 0 2   3      States during the term of the patent.         Any person or

1 6 : 3 5 : 1 0   4      company that has engaged in any of these acts without the

1 6 : 3 5 : 1 4   5      patent owner's permission infringes the claim.

1 6 : 3 5 : 2 2   6            Infringement is assessed on a claim-by-claim basis

1 6 : 3 5 : 2 6   7      therefore, there may be infringement as to one claim, but

1 6 : 3 5 : 2 9   8      no infringement as to another claim.

1 6 : 3 5 : 3 3   9            In this case, Qorvo has alleged that Akoustis has

1 6 : 3 5 : 3 7   10     directly infringed Claims 1 and 12 of the '018 patent and

1 6 : 3 5 : 4 3   11     Claims 9 and 10 of the '755 patent.        As I will explain to

1 6 : 3 5 : 5 0   12     you, this case addresses liberal -- excuse me, "literal

1 6 : 3 5 : 5 5   13     infringement."     I'm going to make sure you understand

1 6 : 3 5 : 5 9   14     that's literal infringement.

1 6 : 3 6 : 0 2   15           To prove infringement, Qorvo must prove that the

1 6 : 3 6 : 0 5   16     requirements for direct infringement are met by a

1 6 : 3 6 : 0 8   17     preponderance of the evidence.

1 6 : 3 6 : 1 3   18           Akoustis may infringe a patent unknowingly, that is

1 6 : 3 6 : 1 8   19     without knowledge that what -- that what it is doing or

1 6 : 3 6 : 2 6   20     its product infringes the patent.

1 6 : 3 6 : 2 9   21           In other words, it's not a knowledge requirement.

1 6 : 3 6 : 3 2   22     You don't have to know you are infringing.          Now, that's

1 6 : 3 6 : 3 5   23     important in some circumstances, but it's not necessary.

1 6 : 3 6 : 4 1   24           Akoustis may also infringe while believing in good

1 6 : 3 6 : 4 4   25     faith that a particular action does not infringe a patent.
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1 6 : 3 6 : 5 6   1            I will now explain some more about infringement.

1 6 : 3 7 : 0 6   2            Claims 1 and 12 of the '018 patent and Claim 9 of the

1 6 : 3 7 : 1 2   3      '755 patent are apparatus claims.        In other words, these

1 6 : 3 7 : 1 7   4      claims cover a physical product.        To prove literal

1 6 : 3 7 : 2 3   5      infringement of these apparatus claims, Qorvo must prove

1 6 : 3 7 : 2 8   6      by a preponderance of the evidence that it is more likely

1 6 : 3 7 : 3 1   7      than not that Akoustis made, used, sold or offered for

1 6 : 3 7 : 3 4   8      sale within the United States or imported into the United

1 6 : 3 7 : 3 8   9      States, a product that meets all of the requirements of

1 6 : 3 7 : 4 1   10     the claim and did so without the permission of Qorvo

1 6 : 3 7 : 4 6   11     during the time the patents were enforced.

1 6 : 3 7 : 5 1   12           To determine literal infringement on these apparatus

1 6 : 3 7 : 5 5   13     claims, you must compare the features of the accused

1 6 : 3 7 : 5 9   14     products identified by Qorvo with each asserted claim to

1 6 : 3 8 : 0 6   15     determine whether each and every one of the requirements

1 6 : 3 8 : 0 9   16     of that claim are satisfied or whether each one of those

1 6 : 3 8 : 1 4   17     is satisfied.     It can be read because it's as to each

1 6 : 3 8 : 2 0   18     claim, is that element met.

1 6 : 3 8 : 2 9   19           If any of the accused products do not contain one or

1 6 : 3 8 : 3 2   20     more elements recited in the claim, there is no literal

1 6 : 3 8 : 3 7   21     infringement with respect to that claim.          Each claim

1 6 : 3 8 : 4 0   22     should be considered, of course, individually, as all of

1 6 : 3 8 : 4 4   23     you know.

1 6 : 3 8 : 4 6   24           Claim 10 of the '755 patent is a method claim.           In

1 6 : 3 8 : 5 2   25     other words, this claim covers a way to do something.           To
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1 6 : 3 8 : 5 7   1      prove literal infringement of this method claim, Qorvo

1 6 : 3 9 : 0 0   2      must prove by a preponderance of the evidence that

1 6 : 3 9 : 0 3   3      Akoustis used, in the United States, a method that meets

1 6 : 3 9 : 0 7   4      all the requirements of the asserted claim and did so

1 6 : 3 9 : 1 2   5      without the permission of Qorvo during the time the

1 6 : 3 9 : 1 6   6      patents were in force.

1 6 : 3 9 : 2 3   7            To determine literal infringement of this method

1 6 : 3 9 : 2 6   8      claim, you must compare the methods of using the accused

1 6 : 3 9 : 3 2   9      products identified by Qorvo with the claim steps to

1 6 : 3 9 : 3 5   10     determine whether each and every one of the requirements

1 6 : 3 9 : 3 9   11     of the claim is satisfied.

1 6 : 3 9 : 4 2   12           If any of the methods of making the accused products

1 6 : 3 9 : 4 6   13     does not meet one or more of the elements recited in the

1 6 : 3 9 : 5 2   14     claim, there is no literal infringement with respect to

1 6 : 3 9 : 5 4   15     the claim.

1 6 : 3 9 : 5 8   16           Qorvo need not always have direct evidence of

1 6 : 4 0 : 0 3   17     infringement.     Infringement may be established by

1 6 : 4 0 : 0 8   18     circumstantial evidence.

1 6 : 4 0 : 0 9   19           In this case, Qorvo argues that Akoustis willfully

1 6 : 4 0 : 1 8   20     infringed asserted claims.       If you have decided that Qorvo

1 6 : 4 0 : 2 1   21     has infringed the asserted claims, you must go on and

1 6 : 4 0 : 2 6   22     address the additional issue of whether or not this

1 6 : 4 0 : 3 2   23     infringement was willful.

1 6 : 4 0 : 3 4   24           To show that Akoustis' infringement was willful,

1 6 : 4 0 : 3 8   25     Qorvo must prove by a preponderance of the evidence that
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1 6 : 4 0 : 4 1   1      Akoustis knew of Qorvo's patents, and intentionally

1 6 : 4 0 : 4 5   2      infringed the asserted claims after October 4 of 2021.

1 6 : 4 0 : 5 3   3            You may not determine that infringement with willful

1 6 : 4 0 : 5 7   4      just because Akoustis was aware of the asserted patents

1 6 : 4 0 : 5 9   5      and infringed them.      Instead, you must also find that

1 6 : 4 1 : 0 3   6      Akoustis deliberately infringed the asserted claims.

1 6 : 4 1 : 0 8   7            To determine whether Akoustis acted willfully, you

1 6 : 4 1 : 1 1   8      should consider all the facts and assess Akoustis'

1 6 : 4 1 : 1 6   9      knowledge at the time of the challenged conduct.           Facts

1 6 : 4 1 : 2 2   10     that may be considered include, but are not limited to --

1 6 : 4 1 : 2 6   11     and I'm going to tell you there are going to be, I think,

1 6 : 4 1 : 2 9   12     15 of these.      This is a little shorter list.      Only five.

1 6 : 4 1 : 4 0   13     Okay.   Still there, folks?

1 6 : 4 1 : 4 5   14           Okay.   I think Ms. Rodriguez, you okay over there?          I

1 6 : 4 1 : 5 2   15     got you.    Honest.

1 6 : 4 1 : 5 6   16           Facts that may be considered include, but not limited

1 6 : 4 1 : 5 9   17     to:

1 6 : 4 1 : 5 9   18           (1) Whether or not Akoustis acted consistently with

1 6 : 4 2 : 0 3   19     the standards of behavior for its industry;

1 6 : 4 2 : 0 6   20           (2) Whether or not Akoustis intentionally copied a

1 6 : 4 2 : 0 9   21     product of Qorvo that is covered by the asserted patent;

1 6 : 4 2 : 1 6   22           (3) Whether or not Akoustis reasonably believed it

1 6 : 4 2 : 1 8   23     did not infringe on the asserted claims or that the

1 6 : 4 2 : 2 6   24     asserted claims were invalid;

1 6 : 4 2 : 3 0   25           (4) Whether or not Akoustis made a good faith effort
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1 6 : 4 2 : 3 3   1      to avoid infringing the asserted patents, for example,

1 6 : 4 2 : 3 7   2      whether Akoustis attempted to design around the asserted

1 6 : 4 2 : 4 0   3      patents; and

1 6 : 4 2 : 4 1   4            (5) whether or not Akoustis tried to cover up its

1 6 : 4 2 : 4 6   5      infringement.

1 6 : 4 2 : 4 8   6            If you do decide that there was willful infringement,

1 6 : 4 2 : 5 1   7      that decision should not affect any damages award that you

1 6 : 4 2 : 5 6   8      give in this case.

1 6 : 4 2 : 5 9   9            I want to say at again because I want you to -I know

1 6 : 4 3 : 0 3   10     you'll get to it and look at it, but this is the rule.            If

1 6 : 4 3 : 0 7   11     you do decide that there was willful infringement, that

1 6 : 4 3 : 1 1   12     decision should not affect any damages award you give in

1 6 : 4 3 : 1 7   13     this case, which we're talking about patent-related

1 6 : 4 3 : 2 0   14     damages in that circumstance, if you reach that question.

1 6 : 4 3 : 2 7   15           If you find that Akoustis infringed Claim 1 or 12 of

1 6 : 4 3 : 3 0   16     the '018 patent, and/or that Akoustis infringed Claims 9

1 6 : 4 3 : 3 6   17     and/or 10 of the '755 patent, you must then consider what

1 6 : 4 3 : 4 2   18     amount of damages to award to Qorvo.

1 6 : 4 3 : 4 5   19           I'll now instruct you about the measure of patent

1 6 : 4 3 : 4 9   20     infringement damages.      By instructing you on damages, just

1 6 : 4 3 : 5 3   21     as I said earlier, I am not suggesting which party should

1 6 : 4 3 : 5 9   22     win this portion of the case on any issue.

1 6 : 4 4 : 0 4   23           If you find that Akoustis has not infringed any

1 6 : 4 4 : 0 8   24     claims of the '018 patent, or any claims of the '755

1 6 : 4 4 : 1 3   25     patent, then Qorvo is not entitled to any damages for
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1 6 : 4 4 : 1 7   1      patent infringement.

1 6 : 4 4 : 2 0   2            I will now instruct you about how to measure damages

1 6 : 4 4 : 2 4   3      for patent infringement.       If you find that Akoustis has

1 6 : 4 4 : 2 8   4      infringed any claims of the '018 patent, or any claims of

1 6 : 4 4 : 3 3   5      the '755 patent, then the claim -- the damages you award

1 6 : 4 4 : 4 5   6      must be adequate to compensate Qorvo for the infringement.

1 6 : 4 4 : 5 1   7      They are not meant to punish the infringer.          Your damage

1 6 : 4 4 : 5 5   8      award or damages award, if you reach this issue, should

1 6 : 4 4 : 5 9   9      put Qorvo in approximately the same financial position

1 6 : 4 5 : 0 3   10     that it would have been in had the infringement not

1 6 : 4 5 : 0 7   11     occurred.

1 6 : 4 5 : 1 0   12           Qorvo has the burden to establish the amount of its

1 6 : 4 5 : 1 2   13     damages by a preponderance of the evidence.          In other

1 6 : 4 5 : 1 7   14     words, you should award only those damages that Qorvo

1 6 : 4 5 : 2 0   15     establishes that it more likely than not suffered.           While

1 6 : 4 5 : 2 5   16     Qorvo is not required to prove the amount of its damages

1 6 : 4 5 : 2 8   17     with mathematical precision, it must prove them with

1 6 : 4 5 : 3 2   18     reasonable certainty.      You may not award damages that are

1 6 : 4 5 : 3 7   19     speculative, damages that are only possible, or damages

1 6 : 4 5 : 4 1   20     that are based on guesswork.

1 6 : 4 5 : 4 4   21           In determining infringement damages, you must not

1 6 : 4 5 : 4 8   22     consider Qorvo's allegations of willfulness, or consider

1 6 : 4 5 : 5 3   23     any evidence relating to those allegations.          The

1 6 : 4 5 : 5 6   24     consideration of willfulness, if any, is entirely separate

1 6 : 4 6 : 0 2   25     from the question of any infringement damages that you are
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1 6 : 4 6 : 0 4   1      asked to determine.      Nor should you include any amount in

1 6 : 4 6 : 1 0   2      your infringement damages award for interest, attorneys'

1 6 : 4 6 : 1 3   3      fees or other expenses.

1 6 : 4 6 : 1 8   4            There are different types of compensatory damages

1 6 : 4 6 : 2 2   5      that Qorvo may be entitled to recover in connection with

1 6 : 4 6 : 2 7   6      this patent infringement claims.        In this case, Qorvo

1 6 : 4 6 : 2 9   7      seeks a reasonable royalty as a result of Akoustis'

1 6 : 4 6 : 3 3   8      infringement in the patent infringement suit -- of the

1 6 : 4 6 : 3 9   9      patents in suit.

1 6 : 4 6 : 4 1   10           Now, that's an interesting way, because we hadn't

1 6 : 4 6 : 4 4   11     said that much before.      "Patents-in-suit" means the

1 6 : 4 6 : 4 6   12     patents that are a part of this case, the two patents that

1 6 : 4 6 : 4 8   13     we're talking about.

1 6 : 4 6 : 5 2   14           In connection with its patent infringement claims,

1 6 : 4 6 : 5 4   15     Qorvo seeks to recover a reasonable royalty.          A royalty is

1 6 : 4 6 : 5 9   16     a payment made to a patent holder in exchange for the

1 6 : 4 7 : 0 3   17     right to make, use, or sell the claimed invention.

1 6 : 4 7 : 0 7   18           A reasonable royalty is the amount of royalty payment

1 6 : 4 7 : 1 1   19     that Qorvo and Akoustis would have agreed to in a

1 6 : 4 7 : 1 6   20     hypothetical negotiation taking place before the

1 6 : 4 7 : 1 9   21     infringement first began.       The reasonable royalty award

1 6 : 4 7 : 2 3   22     must be based on the incremental value that the patented

1 6 : 4 7 : 2 8   23     invention adds to the end product.

1 6 : 4 7 : 3 2   24           When the infringement methods have been patented and

1 6 : 4 7 : 3 8   25     have -- both patented and unpatented features, measuring
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1 6 : 4 7 : 4 4   1      this value requires a determination of the value added by

1 6 : 4 7 : 4 8   2      the patented features.      The royalty rate must reflect the

1 6 : 4 7 : 5 4   3      value attributable to the infringing features of the

1 6 : 4 7 : 5 9   4      method and no more.

1 6 : 4 8 : 0 2   5            In considering this hypothetical negotiation, you

1 6 : 4 8 : 0 6   6      should focus on what the expectations of the Qorvo and

1 6 : 4 8 : 0 9   7      Akoustis would have been had they entered into an

1 6 : 4 8 : 1 4   8      agreement at that time and had they acted reasonably in

1 6 : 4 8 : 1 8   9      their negotiations.      In determining this, you must assume

1 6 : 4 8 : 2 2   10     that the parties to the hypothetical negotiation believed

1 6 : 4 8 : 2 6   11     Qorvo's Asserted Patents were valid and infringed, and

1 6 : 4 8 : 3 0   12     that the parties were willing to enter into an agreement

1 6 : 4 8 : 3 5   13     just before the infringement began.

1 6 : 4 8 : 3 7   14           The reasonable royalty that you determine must be a

1 6 : 4 8 : 4 1   15     royalty that would have resulted from this hypothetical

1 6 : 4 8 : 4 5   16     negotiation and not simply a royalty either party would

1 6 : 4 8 : 5 1   17     have preferred.

1 6 : 4 8 : 5 4   18           Evidence of things that happened after the

1 6 : 4 8 : 5 8   19     infringement first began can be considered in evaluating

1 6 : 4 9 : 0 2   20     the reasonable royalty only to the extent that the

1 6 : 4 9 : 0 5   21     evidence aids in assessing what royalty would have

1 6 : 4 9 : 1 0   22     resulted from a hypothetical negotiation just prior to the

1 6 : 4 9 : 1 5   23     first infringement.

1 6 : 4 9 : 1 8   24           In determining the amount of reasonable royalty --

1 6 : 4 9 : 2 0   25     this is the long list I was getting to.
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1 6 : 4 9 : 2 4   1            In determining the amount of a reasonable royalty,

1 6 : 4 9 : 2 7   2      you may consider evidence of any of the following factors

1 6 : 4 9 : 3 1   3      in addition to any other evidence presented by the parties

1 6 : 4 9 : 3 5   4      on the economic value of the patent:

1 6 : 4 9 : 3 8   5            (1)   Any established policy by Qorvo to maintain its

1 6 : 4 9 : 4 4   6      patent exclusivity and right to exclude others from using

1 6 : 4 9 : 5 1   7      the patented inventions by not licensing other to use the

1 6 : 4 9 : 5 6   8      inventions or by granting licenses under special

1 6 : 4 9 : 5 9   9      conditions designed to preserve that exclusivity;

1 6 : 5 0 : 0 4   10           (2)   The commercial relationship between Qorvo and

1 6 : 5 0 : 1 0   11     Akoustis, such as whether or not they are competitors in

1 6 : 5 0 : 1 4   12     the same territory in the same line of business;

1 6 : 5 0 : 1 8   13           (3)   The effect of selling the patented products in

1 6 : 5 0 : 2 3   14     promoting sales of other Akoustis products and services,

1 6 : 5 0 : 2 7   15     the existing value of the inventions to Qorvo as a

1 6 : 5 0 : 3 4   16     generator of sales of its non-patented items, and the

1 6 : 5 0 : 3 9   17     extent of such collateral sales;

1 6 : 5 0 : 4 3   18           (4)   The duration of Qorvo's asserted patents and

1 6 : 5 0 : 4 9   19     term of the hypothetical license;

1 6 : 5 0 : 5 1   20           (5)   The established profitability, commercial

1 6 : 5 0 : 5 5   21     success, and popularity of the products made under Qorvo's

1 6 : 5 1 : 0 0   22     asserted patents;

1 6 : 5 1 : 0 2   23           (6)   The utility and advantages of the patented

1 6 : 5 1 : 0 6   24     inventions over old modes or devices -- that's old modes

1 6 : 5 1 : 1 3   25     or devices -- if any, that had been used for working out
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1 6 : 5 1 : 1 9   1      similar results;

1 6 : 5 1 : 2 1   2             (7)    The nature of the patented inventions, the

1 6 : 5 1 : 2 4   3      character of their commercial embodiments as owned and

1 6 : 5 1 : 2 8   4      produced by Qorvo, and the benefits to those who have used

1 6 : 5 1 : 3 3   5      the inventions;

1 6 : 5 1 : 3 5   6             (8)    The extent to which Akoustis has made use of the

1 6 : 5 1 : 4 1   7      inventions and any evidence probative of the value of that

1 6 : 5 1 : 4 6   8      use;

1 6 : 5 1 : 4 6   9             (9)    The portion of the profit or the selling price

1 6 : 5 1 : 5 4   10     that may be customary in the particular business or in

1 6 : 5 1 : 5 9   11     comparable businesses to allow for the use of the

1 6 : 5 2 : 0 3   12     inventions or analogous inventions;

1 6 : 5 2 : 0 8   13            (10)    The portion of realized profit that should be

1 6 : 5 2 : 1 3   14     credited to the patented inventions themselves as opposed

1 6 : 5 2 : 1 7   15     to unpatented features, business risks, or significant

1 6 : 5 2 : 2 2   16     features or improvements added by Akoustis;

1 6 : 5 2 : 2 8   17            (11)    The opinion testimony of qualified experts;

1 6 : 5 2 : 3 2   18            (12)    The amount that Qorvo and Akoustis would have

1 6 : 5 2 : 3 5   19     agreed upon (at the time the infringement began) if the

1 6 : 5 2 : 4 0   20     parties had been reasonable and voluntarily trying to

1 6 : 5 2 : 4 3   21     reach the reach an agreement; that is, the amount which a

1 6 : 5 2 : 4 8   22     prudent licensee -- who desired as a business proposition

1 6 : 5 2 : 5 2   23     to obtain a license to manufacture and sell particular

1 6 : 5 2 : 5 8   24     articles embodying the patented inventions -- would have

1 6 : 5 3 : 0 2   25     been willing to pay as a royalty and yet be able to make a
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1 6 : 5 3 : 0 5   1      reasonable profit and which amount would have been

1 6 : 5 3 : 0 9   2      acceptable by a patent holder who was willing to grant a

1 6 : 5 3 : 1 4   3      license;

1 6 : 5 3 : 1 4   4             (13)   The royalties received by Akoustis for

1 6 : 5 3 : 2 0   5      licensing of the patent-in-suit -- of course, in this case

1 6 : 5 3 : 2 5   6      it's patents-in-suit, depending on how you determine these

1 6 : 5 3 : 2 9   7      facts -- proving or tending to prove an established

1 6 : 5 3 : 3 3   8      royalty;

1 6 : 5 3 : 3 4   9             (14)   The rates paid by Akoustis for the use of other

1 6 : 5 3 : 3 9   10     patents comparable to the patents-in-suit -- or

1 6 : 5 3 : 4 4   11     patents-in-suit; and

1 6 : 5 3 : 4 6   12            (15)   Any other economic factor that a normally

1 6 : 5 3 : 5 1   13     prudent businessperson would, under similar circumstances,

1 6 : 5 3 : 5 5   14     take into consideration in negotiating the hypothetical

1 6 : 5 4 : 0 2   15     license.

1 6 : 5 4 : 0 2   16            I know you are glad to hear, no one factor is

1 6 : 5 4 : 0 5   17     dispositive.

1 6 : 5 4 : 0 7   18            And there was some discussion of factors along the

1 6 : 5 4 : 1 1   19     way.    So you may recall that.

1 6 : 5 4 : 1 3   20            You should consider the evidence that has been

1 6 : 5 4 : 1 6   21     presented to you in this case on each of these factors.

1 6 : 5 4 : 2 0   22     You may also consider any other factors that, in your

1 6 : 5 4 : 2 5   23     mind, would have increased or decreased the royalty

1 6 : 5 4 : 2 9   24     Akoustis would have been willing to pay and Qorvo would

1 6 : 5 4 : 3 1   25     have been willing to accept, acting as normally prudent
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1 6 : 5 4 : 3 6   1      businesspeople.

1 6 : 5 4 : 3 8   2            If you award a reasonable royalty, for any damages

1 6 : 5 4 : 4 2   3      you award, the amount you find as damages must be based on

1 6 : 5 4 : 4 6   4      the value attributable to the patented technology, as

1 6 : 5 4 : 5 1   5      distinct from other, unpatentable features of the accused

1 6 : 5 4 : 5 5   6      product or method, or other factors such as marketing or

1 6 : 5 4 : 5 8   7      advertising, or Akoustis' size or market position.           When

1 6 : 5 5 : 0 7   8      damages must be apportioned, the amount that you find as

1 6 : 5 5 : 1 0   9      damages must be based on the value attributable to the

1 6 : 5 5 : 1 4   10     patented invention, as distinct from unpatented features

1 6 : 5 5 : 2 2   11     of the accused product or other factors such as marketing

1 6 : 5 5 : 2 5   12     advertising, or Akoustis [sic] size or marketing position.

1 6 : 5 5 : 2 9   13           When apportionment is required, a royalty

1 6 : 5 5 : 3 4   14     compensating the patent holder for damages must reflect

1 6 : 5 5 : 3 8   15     the value attributable to the infringing features of the

1 6 : 5 5 : 4 2   16     product or method, and no more.        The process separating

1 6 : 5 5 : 4 8   17     the value of allegedly infringing features from the value

1 6 : 5 5 : 5 1   18     of all other features is called "apportionment."

1 6 : 5 5 : 5 6   19           When the accused infringing products or methods have

1 6 : 5 6 : 0 0   20     both patented and unpatented features or steps, your award

1 6 : 5 6 : 0 4   21     must be apportioned so that it is based only on the value

1 6 : 5 6 : 0 8   22     of the patented features, and no more.

1 6 : 5 6 : 1 4   23           Now, we come to glossary, so I'm going to do this.

1 6 : 5 6 : 1 7   24           Some of the terms in this glossary will be reflected

1 6 : 5 6 : 2 0   25     in more detail in materials that you will be looking at.
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1 6 : 5 6 : 2 6   1            And some that we've already received, really.            And,

1 6 : 5 6 : 2 9   2      also, some of the things that we discussed earlier in the

1 6 : 5 6 : 3 3   3      film, which we are only referring back to just to help you

1 6 : 5 6 : 3 7   4      recall.

1 6 : 5 6 : 3 8   5            The definitions in the instructions must follow --

1 6 : 5 6 : 4 0   6      must be followed and must control your deliberations.

1 6 : 5 6 : 4 4   7            I'm not going to read each one of them.           But they

1 6 : 5 6 : 4 6   8      have abstract, which is a brief summary.           It's going to

1 6 : 5 6 : 4 8   9      tell you more about that if you need to.

1 6 : 5 6 : 5 1   10           Amendment.      It will tell you about amendments.

1 6 : 5 6 : 5 3   11           It will talk about assignment.        I know that there was

1 6 : 5 6 : 5 6   12     some evidence about assignment here.          If you want to read

1 6 : 5 6 : 5 9   13     more about that, it will be there.

1 6 : 5 7 : 0 1   14           Claim.      We've talked about claims.       You've got a

1 6 : 5 7 : 0 5   15     pretty good idea of what claims are, but there's more

1 6 : 5 7 : 0 7   16     there in the glossary, which will be available for you in

1 6 : 5 7 : 1 0   17     the jury room.

1 6 : 5 7 : 1 1   18           Drawings.      Obviously, there are always some drawings

1 6 : 5 7 : 1 4   19     in connection with patents.        And you've seen some of them.

1 6 : 5 7 : 1 9   20           Elements.      We've talked about elements.

1 6 : 5 7 : 2 2   21           Embodiment.      That's a product or method that contains

1 6 : 5 7 : 2 5   22     the claimed invention.       And I think that's understood.

1 6 : 5 7 : 2 9   23           Examination.      That's really a matter that we didn't

1 6 : 5 7 : 3 4   24     go into much because that's before the PTO, the Patent

1 6 : 5 7 : 3 7   25     Trademark Office, typically.
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1 6 : 5 7 : 3 9   1            Filing Date.      You know that there's some dates on the

1 6 : 5 7 : 4 2   2      front sheet that you saw a long time ago in that regard.

1 6 : 5 7 : 4 6   3            Infringement.      Of course, we've talked about that.

1 6 : 5 7 : 4 8   4            And the definitions apply limitations.          We talked

1 6 : 5 7 : 5 1   5      about limitations within the patent, within the claims.

1 6 : 5 7 : 5 7   6            Office action.      You really have to talk about that.

1 6 : 5 7 : 5 9   7      That's really not going to have an application here, but

1 6 : 5 8 : 0 1   8      it's in there if you really want to read about it.

1 6 : 5 8 : 0 5   9            It's got patent.      We know this earlier because we

1 6 : 5 8 : 0 7   10     told you earlier.       It's an exclusive right granted by the

1 6 : 5 8 : 1 1   11     United States Patent and Trademark Office by the inventor

1 6 : 5 8 : 1 3   12     to prevent others from making, using, or selling an

1 6 : 5 8 : 1 7   13     invention for a term of 20 years.         Tremendous history

1 6 : 5 8 : 2 0   14     about that.       We're not going to talk about that either, a

1 6 : 5 8 : 2 3   15     patent and whether it's important in this country.            It

1 6 : 5 8 : 2 6   16     goes all the way back to the founding of the republic.

1 6 : 5 8 : 3 0   17           Patent and Trademark Office.        That's the PTO.     An

1 6 : 5 8 : 3 4   18     administrative branch of the Department of Commerce.            And

1 6 : 5 8 : 3 8   19     we've got prosecution history.         There wasn't really a

1 6 : 5 8 : 4 1   20     discussion of that, but it's here if you're interested in

1 6 : 5 8 : 4 3   21     that.

1 6 : 5 8 : 4 4   22           Read on.     We talked about that, something reads on a

1 6 : 5 8 : 4 6   23     claim.    And then requirement, a required part or step of

1 6 : 5 8 : 5 0   24     the invention set forth in the patent claim.

1 6 : 5 8 : 5 3   25           And the term, the word "requirement" is often used
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1 6 : 5 8 : 5 6   1      interchangeably with the word "limitation."           We talked

1 6 : 5 8 : 5 9   2      about that.

1 6 : 5 9 : 0 0   3            Royalty, we just finished the discussion on that.

1 6 : 5 9 : 0 3   4      And then specification, those do not apply; because

1 6 : 5 9 : 0 4   5      they're -- they are the text that precedes the claims.

1 6 : 5 9 : 1 1   6      Put it that way.       That wasn't really discussed much here.

1 6 : 5 9 : 1 5   7      But that will tell you what that is.

1 6 : 5 9 : 1 8   8            I don't think we need to go over those in more detail

1 6 : 5 9 : 2 2   9      because the relevant pieces were really discussed in my

1 6 : 5 9 : 2 5   10     previous instruction.       But they're there if someone is

1 6 : 5 9 : 2 8   11     interested.       It's certainly something you can consider, if

1 6 : 5 9 : 3 1   12     you would like to.

1 6 : 5 9 : 3 2   13           Now, you've heard -- we've really completed much of

1 6 : 5 9 : 3 7   14     our discussion, and I need to tell you this.           You have

1 6 : 5 9 : 4 0   15     heard evidence that forensic analysis of certain Akoustis

1 6 : 5 9 : 4 5   16     devices or systems and/or personal devices of Akoustis'

1 6 : 5 9 : 5 1   17     employees contained a large number of documents and

1 6 : 5 9 : 5 6   18     additional data allegedly created by Qorvo.

1 7 : 0 0 : 0 0   19           The quantity of documents and data referred to by

1 7 : 0 0 : 0 6   20     Qorvo does not establish that those documents contained

1 7 : 0 0 : 0 8   21     confidential information or trade secrets, or that those

1 7 : 0 0 : 1 3   22     documents were used by Akoustis or its employees.

1 7 : 0 0 : 1 6   23           I'm not making any comment, other than saying having

1 7 : 0 0 : 1 9   24     a lot of documents doesn't tell us anything except there

1 7 : 0 0 : 2 1   25     were a lot of documents.        It doesn't tell us the other
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1 7 : 0 0 : 2 5   1      answers.    Those are matters that we talked about earlier

1 7 : 0 0 : 2 8   2      and resolve those.      But you can go back and say, oh, there

1 7 : 0 0 : 3 2   3      were a whole bunch of documents, and therefore.           That

1 7 : 0 0 : 3 4   4      would not be correct.      That's a cautionary and limiting

1 7 : 0 0 : 3 8   5      instruction.

1 7 : 0 0 : 4 1   6            Well, we have finally come to that point where we're

1 7 : 0 0 : 4 6   7      going to discuss the form of your verdict.          I'm going to

1 7 : 0 0 : 4 9   8      tell you some other things too, but I've come to the point

1 7 : 0 0 : 5 0   9      where your verdict and the process of your deliberations.

1 7 : 0 0 : 5 4   10     And you will be taking with you to the jury room a verdict

1 7 : 0 0 : 5 8   11     form, which will reflect your findings and the verdict

1 7 : 0 1 : 0 3   12     form reads as follows.

1 7 : 0 1 : 0 4   13           And usually I have an ELMO in here, but I don't right

1 7 : 0 1 : 0 8   14     now, so I can't do that.

1 7 : 0 1 : 1 1   15           But form of the verdict, it's kind of thin.          It's got

1 7 : 0 1 : 1 7   16     two pieces to it.      And so I'm going to read it so that you

1 7 : 0 1 : 2 0   17     will be able to follow it.       It's important that everybody

1 7 : 0 1 : 2 3   18     understand what's on the verdict form.

1 7 : 0 1 : 2 5   19           It says "Special Verdict Form."        And it has an

1 7 : 0 1 : 3 0   20     attached -- well, I told you earlier, which is list of

1 7 : 0 1 : 3 6   21     alleged trade secrets.      And it's got 1.1, 1.2.      Remember

1 7 : 0 1 : 4 1   22     those?    It's got 2.1, 2.2.     It goes all the way over to

1 7 : 0 1 : 4 7   23     7.1, 7.2, and it ends up with 8.4.        So it's got all those

1 7 : 0 1 : 5 4   24     listed.    So that's going to be a relevant part of this

1 7 : 0 1 : 5 8   25     verdict form.
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1 7 : 0 1 : 5 8   1            Now, the verdict form starts out and reads as

1 7 : 0 2 : 0 2   2      follows -- and they're not looking at me to make sure --

1 7 : 0 2 : 0 2   3      no, we've still have lots of time.

1 7 : 0 2 : 1 7   4            When answering the following questions and completing

1 7 : 0 2 : 2 0   5      this Verdict Form, please follow directions provided on

1 7 : 0 2 : 2 3   6      each page that follows and the Jury Instructions that you

1 7 : 0 2 : 2 6   7      have been given.      So if they relate to the trial,

1 7 : 0 2 : 2 9   8      obviously.

1 7 : 0 2 : 3 1   9            Your answer to each question must be unanimous.           So

1 7 : 0 2 : 3 3   10     when you answer a question, all ten of you have to agree.

1 7 : 0 2 : 3 8   11           Some of the questions contain legal terms that are

1 7 : 0 2 : 4 1   12     defined and explained in the Jury Instructions.           And

1 7 : 0 2 : 4 3   13     that's why you have the instructions.         Please refer to the

1 7 : 0 2 : 4 6   14     Jury Instructions if you are unsure about the meaning or

1 7 : 0 2 : 4 9   15     usage of any legal term that appears in the questions that

1 7 : 0 2 : 5 3   16     are listed below.

1 7 : 0 2 : 5 4   17           As used in this Verdict Form:

1 7 : 0 2 : 5 7   18           1.   "Plaintiff" and "Qorvo" both refer to Plaintiff

1 7 : 0 2 : 5 9   19     Qorvo, Inc.

1 7 : 0 3 : 0 1   20           2.   "Defendants" and "Akoustis" both collectively

1 7 : 0 3 : 0 4   21     refer to Defendants Akoustis technologies, Inc. and

1 7 : 0 3 : 0 7   22     Akoustis, Inc.

1 7 : 0 3 : 0 8   23           3.   "Asserted Patents" refers collectively to U.S.

1 7 : 0 3 : 1 3   24     Patent -- and I'm going to use the shortcut -- '018 patent

1 7 : 0 3 : 1 7   25     and the '755 patent.      You have the full numbers there.
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1 7 : 0 3 : 2 3   1            4.   The "'018 Patent" refers to U.S. Patent

1 7 : 0 3 : 2 8   2      7,522,018, and.

1 7 : 0 3 : 3 1   3            5.   "'755 Patent" refers to U.S. Patent 9,735,755.

1 7 : 0 3 : 3 7   4            You will note that the Verdict Form uses the eight

1 7 : 0 3 : 4 2   5      alleged or asserted trade secret groups that the Plaintiff

1 7 : 0 3 : 4 7   6      proposed in the presentation of some of the Plaintiff's

1 7 : 0 3 : 5 0   7      proof.     The Court is not making any factual determinations

1 7 : 0 3 : 5 6   8      as to the alleged trade secrets, their organization,

1 7 : 0 3 : 5 9   9      whether they are properly grouped together, or whether or

1 7 : 0 4 : 0 3   10     not each is a trade secret.       The Verdict Form's

1 7 : 0 4 : 0 7   11     organization is only for your convenience.           All questions

1 7 : 0 4 : 1 0   12     of fact are for you, the jury, to decide.

1 7 : 0 4 : 1 4   13                  But we recognize we have to give you some

1 7 : 0 4 : 1 7   14     system to look at things, and so that's all we're doing.

1 7 : 0 4 : 2 1   15                  Okay.    Questions and answers.      That looks kind

1 7 : 0 4 : 2 4   16     of exciting, right.      We've tried to make it as

1 7 : 0 4 : 2 9   17     straightforward and simple as possible.           So while it may

1 7 : 0 4 : 3 3   18     look a little complicated, this is what it says:

1 7 : 0 4 : 3 6   19                  We, the jury, unanimously find as follows:

1 7 : 0 4 : 4 2   20                  Trade Secret Misappropriation Under the Defend

1 7 : 0 4 : 4 3   21     Trade Secrets Act and the North Carolina Trade Secret Act.

1 7 : 0 4 : 4 8   22                  For each of the Alleged Trade Secrets that

1 7 : 0 4 : 5 2   23     Plaintiff Qorvo presented at trial, please answer the

1 7 : 0 4 : 5 5   24     following questions as instructed in this section.

1 7 : 0 4 : 5 9   25                  Question 1(a).     And that is the charge here.
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1 7 : 0 5 : 0 2   1      It will say:       Please write "Yes" or "No" in each column of

1 7 : 0 5 : 0 7   2      the table below.

1 7 : 0 5 : 0 9   3                   It's going to say "Alleged Trade Secret."           You

1 7 : 0 5 : 1 1   4      are going to have this.        So you use that as a way that's

1 7 : 0 5 : 1 4   5      useful to you.       And you will say 1.1 -- and it's going to

1 7 : 0 5 : 2 0   6      have Group 1, Group 2, Group 3, all the way down.

1 7 : 0 5 : 2 4   7                   Okay.     The question in this column is:         Has

1 7 : 0 5 : 2 8   8      Qorvo established by the greater weight or preponderance

1 7 : 0 5 : 3 1   9      of the evidence that (a) this alleged trade secret

1 7 : 0 5 : 3 5   10     qualifies as a trade secret and (b) Akoustis is liable for

1 7 : 0 5 : 4 1   11     trade secret misappropriation for this trade secret?

1 7 : 0 5 : 4 5   12                  And the answer is "Yes" or "No."          Look at each

1 7 : 0 5 : 4 8   13     one.   Look at all the information that you'll have, which

1 7 : 0 5 : 5 0   14     some of -- a significant part I know you haven't seen

1 7 : 0 5 : 5 4   15     before.    And then whatever your answer is.

1 7 : 0 5 : 5 7   16                  Then the second question is:          Has Qorvo

1 7 : 0 6 : 0 1   17     established by a greater weight or preponderance of the

1 7 : 0 6 : 0 3   18     evidence that Akoustis was unjustly enriched by

1 7 : 0 6 : 0 8   19     misappropriating this trade secret?

1 7 : 0 6 : 1 0   20                  Now, just looking at 1.1, if you have a "Yes,"

1 7 : 0 6 : 1 3   21     then "yes."       That's important.    If you have a "No" in

1 7 : 0 6 : 1 6   22     there, that's obviously important there, too.            But you

1 7 : 0 6 : 1 8   23     make a decision as to each asserted trade secret.              So,

1 7 : 0 6 : 2 1   24     obviously, these work together.

1 7 : 0 6 : 2 3   25                  Now, you go all the way through.          And I'm not
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1 7 : 0 6 : 2 7   1      deciding that Group A is a Group A.        I'm just saying

1 7 : 0 6 : 3 0   2      that's the way it's organized if you look at it.

1 7 : 0 6 : 3 3   3                   Then it gets over to the next page.          Well,

1 7 : 0 6 : 3 5   4      you've got all these columns.       Hopefully you'll get those

1 7 : 0 6 : 3 9   5      filled out.

1 7 : 0 6 : 3 9   6                   And then it will say:      If you answered "Yes" in

1 7 : 0 6 : 4 3   7      both columns for any alleged trade secret in

1 7 : 0 6 : 4 8   8      Question 1(a), then answer Question 1(b) and 1(c) below.

1 7 : 0 6 : 5 4   9      If you did not answer "Yes" in both columns for any

1 7 : 0 7 : 0 0   10     alleged trade secret in Question 1(a), you write "N/A" in

1 7 : 0 7 : 0 6   11     Question 1(b) and 1(c), and move on to Question 2.

1 7 : 0 7 : 1 1   12                  Now, that -- I don't think that's confusing,

1 7 : 0 7 : 1 2   13     but I;m going to say it again.

1 7 : 0 7 : 1 5   14                  If you did not answer "Yes" in both columns for

1 7 : 0 7 : 1 9   15     any -- the word is "any" -- alleged trade secrets in

1 7 : 0 7 : 2 3   16     Question 1(a), and write "N/A" to Question 1(b) and (c),

1 7 : 0 7 : 3 0   17     and move on.

1 7 : 0 7 : 3 1   18                  So I'm not saying how you ought to come out on

1 7 : 0 7 : 3 4   19     this.   I have nothing to do with this.           It's just to help

1 7 : 0 7 : 3 5   20     you get through it.      If you have all "Nos" everywhere, and

1 7 : 0 7 : 4 0   21     no "Yeses," then you won't get to 1(b).           But if you've got

1 7 : 0 7 : 4 9   22     a "Yes, yes," you know, then you're going to go to 1(b).

1 7 : 0 7 : 5 7   23                  Well, 1(b) is:     State the amount Akoustis was

1 7 : 0 8 : 0 0   24     unjustly enriched -- because you've got to have two

1 7 : 0 8 : 0 2   25     "yeses."    Right.    So I'm not saying there are any.         I'm
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1 7 : 0 8 : 0 6   1      not saying that comes out at all.        I'd say that 50 times.

1 7 : 0 8 : 0 9   2      I'm sorry, folks.      But if you're at 7.1, and you say "Yes"

1 7 : 0 8 : 1 4   3      and "Yes," you're going to get to that question.

1 7 : 0 8 : 1 7   4                   Okay.    State the amount Akoustis was unjustly

1 7 : 0 8 : 2 0   5      enriched by misappropriating Qorvo's trade secrets as to

1 7 : 0 8 : 2 4   6      which you answered "Yes" and "Yes" in Question 1(a) above.

1 7 : 0 8 : 2 8   7                   And that's Step 1.     And it's got a dollar sign

1 7 : 0 8 : 2 8   8      in 1.   And we went through that damages discussion

1 7 : 0 8 : 3 5   9      earlier.    And if you've reached that question, then you'll

1 7 : 0 8 : 3 7   10     be able to answer that question.

1 7 : 0 8 : 4 1   11                  Then Question 1(c).      Well, was Qorvo's

1 7 : 0 8 : 4 6   12     misappropriation as to Qorvo's trade secrets as to which

1 7 : 0 8 : 5 1   13     you answered "Yes" and "Yes" in Question 1(a) above

1 7 : 0 8 : 5 7   14     willful and malicious?      Please, write "Yes" or "No," or

1 7 : 0 9 : 0 1   15     "N/A" on the line below.

1 7 : 0 9 : 0 3   16                  If you have all "Nos," it's going to be "N/A."

1 7 : 0 9 : 0 6   17     But "Yes" or "No."      And you decide that.      You've got a

1 7 : 0 9 : 1 0   18     pretty extensive discretion about what would be willful

1 7 : 0 9 : 1 4   19     and malicious.

1 7 : 0 9 : 1 6   20                  Then, if you answered "Yes" to Question 1(c),

1 7 : 0 9 : 2 3   21     answer Question 1(d) below.       If you answered "No" or "N/A"

1 7 : 0 9 : 3 0   22     to Question 1(c), write "N/A" on the Question 1(d), and

1 7 : 0 9 : 3 4   23     move on to Question 2.

1 7 : 0 9 : 3 6   24                  Now, remember, we talked about exemplary

1 7 : 0 9 : 3 8   25     damages?    I'm not saying you are going to get there.         I
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1 7 : 0 9 : 4 0   1      can't say any of that.       But the question is:       What amount

1 7 : 0 9 : 4 3   2      of exemplary damages, if any, do you award to Qorvo

1 7 : 0 9 : 4 8   3      against Akoustis?

1 7 : 0 9 : 4 9   4                   And that's a different line.          It's got a dollar

1 7 : 0 9 : 5 2   5      sign.    And that's how that works.       That's how the form

1 7 : 0 9 : 5 5   6      works.    So we tried to make it as simple as possible while

1 7 : 0 9 : 5 9   7      covering all the necessary things.         And I realize you have

1 7 : 1 0 : 0 4   8      a lot of things to fill out there.

1 7 : 1 0 : 0 6   9                   Now, the next page, Page 5, Unfair and

1 7 : 1 0 : 1 2   10     Deceptive Trade Practices under North Carolina Law.

1 7 : 1 0 : 1 8   11                  Question 2:     Has Qorvo proven by a

1 7 : 1 0 : 2 3   12     preponderance of the evidence its Unfair Deceptive Trade

1 7 : 1 0 : 2 7   13     Practices claim against Akoustis as to its confidential

1 7 : 1 0 : 3 1   14     information and trade secret claim?

1 7 : 1 0 : 3 2   15                  And, again, it is a "Yes" or "no."          And you'll

1 7 : 1 0 : 3 5   16     remember there's a description of that in the

1 7 : 1 0 : 3 9   17     instructions.

1 7 : 1 0 : 3 9   18                  And Question 2(b):      Has Qorvo proven by a

1 7 : 1 0 : 4 4   19     preponderance of the evidence its Unfair and Deceptive

1 7 : 1 0 : 4 7   20     Trade Practices claim against Akoustis as to its poaching

1 7 : 1 0 : 5 2   21     claim?

1 7 : 1 0 : 5 3   22                  Now, remember, the poaching claim relates to

1 7 : 1 0 : 5 6   23     employee.    And so that's obviously what's being talked

1 7 : 1 1 : 0 1   24     about here.       I don't know your answer, but that's -- you

1 7 : 1 1 : 0 3   25     make it, you'll get to that question.
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1 7 : 1 1 : 0 6   1                   And then answer Question 2(c) only if you

1 7 : 1 1 : 0 9   2      answered "Yes" to Question 2(b).        Otherwise, do not answer

1 7 : 1 1 : 1 4   3      and move on to Question 3.

1 7 : 1 1 : 1 6   4                   So if you said "Yes" on 2(b), you'll answer the

1 7 : 1 1 : 1 9   5      next question.      If you said "No," you won't.

1 7 : 1 1 : 2 3   6                   Question 2(c):     Did Qorvo prove by a

1 7 : 1 1 : 2 7   7      preponderance of the evidence damages caused by Akoustis'

1 7 : 1 1 : 3 0   8      actions for the alleged unfair and deceptive trade

1 7 : 1 1 : 3 6   9      practice related to poaching?

1 7 : 1 1 : 3 9   10                  And you'll put a "Yes" or "No" if you reach

1 7 : 1 1 : 4 1   11     that question.

1 7 : 1 1 : 4 1   12                  Now, answer Question 2(d) only if you answered

1 7 : 1 1 : 4 4   13     "Yes" to Question 2(c).       Otherwise, do not answer and move

1 7 : 1 1 : 4 8   14     on to Question 3.

1 7 : 1 1 : 5 1   15                  Question Number 2(d):      What damages, if any,

1 7 : 1 1 : 5 5   16     did Qorvo prove by a preponderance of the evidence that

1 7 : 1 1 : 5 8   17     its entitled to for Akoustis' unfair and deceptive trade

1 7 : 1 2 : 0 3   18     practices related to employee poaching?

1 7 : 1 2 : 0 6   19                  And, again, there's a dollar sign.        I'm not

1 7 : 1 2 : 0 9   20     saying you'll get there, but you have to have a form in

1 7 : 1 2 : 1 1   21     case you do.      It has a dollar sign and you'll insert your

1 7 : 1 2 : 1 5   22     finding.

1 7 : 1 2 : 1 6   23                  Now, Patent Infringement.

1 7 : 1 2 : 2 1   24                  Question 3(a):     Do you find that Qorvo has

1 7 : 1 2 : 2 6   25     proven by a preponderance of the evidence that the claims
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1 7 : 1 2 : 2 9   1      of the '018 or the '755 Patents have been infringed?

1 7 : 1 2 : 3 6   2      Please write "Yes" or "No" in each box below.

1 7 : 1 2 : 3 9   3                   You have your verdict.      You've got Claim 1 and

1 7 : 1 2 : 4 1   4      Claim 12 under '018.      And you've got Claim 9 and 10 of the

1 7 : 1 2 : 4 7   5      '755 patent.      And you've got a "Yes" or "No" in each

1 7 : 1 2 : 5 2   6      blank.

1 7 : 1 2 : 5 3   7                   Only answer the following Question 3(b) and

1 7 : 1 2 : 5 6   8      3(c) if you answered "Yes" to any part of Question 3(a).

1 7 : 1 3 : 0 1   9      Otherwise, do not answer Question 3(b) or 3(c) and move

1 7 : 1 3 : 0 5   10     directly to the unanimous verdict page, which is a

1 7 : 1 3 : 0 9   11     signature page.

1 7 : 1 3 : 1 1   12                  Question 3(b) (damages):      What do you find is

1 7 : 1 3 : 1 4   13     the amount of damages, if any, that should be paid to

1 7 : 1 3 : 1 7   14     Qorvo for the alleged infringement, or for the

1 7 : 1 3 : 2 1   15     infringement of each alleged patent -- or Asserted

1 7 : 1 3 : 2 4   16     Patent -- sorry, Asserted Patent -- to compensate for the

1 7 : 1 3 : 2 6   17     damages caused by Akoustis' infringement?

1 7 : 1 3 : 3 0   18                  And then you've got '018 Patent.        Of course, if

1 7 : 1 3 : 3 2   19     you said "No" to both of those, you're not going to have a

1 7 : 1 3 : 3 5   20     number there.      And if you said "Yes" as to a number, a

1 7 : 1 3 : 3 8   21     single claim, then, of course, you would.          And -- or

1 7 : 1 3 : 4 1   22     depending on how you analyze the damages, ^ figure

1 7 : 1 3 : 4 6   23     determination.

1 7 : 1 3 : 4 7   24                  And then the '755 patent, the dollar sign.

1 7 : 1 3 : 5 0   25                  Okay.    Now, Question 3(c):     Did Qorvo prove by
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1 7 : 1 3 : 5 5   1      a preponderance of the evidence that Akoustis infringed

1 7 : 1 3 : 5 8   2      the '018 or the '755 patent, the infringement was willful?

1 7 : 1 4 : 0 5   3                   And, again, you answer "Yes" or "no."         And

1 7 : 1 4 : 0 7   4      that's all you say.      That's all you say on there.

1 7 : 1 4 : 0 9   5                   Remember, when we went through it, I said

1 7 : 1 4 : 1 1   6      that's all you're going to be doing.         You won't write

1 7 : 1 4 : 1 2   7      anything else.     Of course, you know that -- if you want to

1 7 : 1 4 : 1 7   8      look back, if you get to that question, if you get to

1 7 : 1 4 : 2 0   9      those questions, be sure to look back at the damages and

1 7 : 1 4 : 2 2   10     see what you cannot do in connection with some of these

1 7 : 1 4 : 2 5   11     responses.

1 7 : 1 4 : 2 6   12                  Okay.    Unanimous Verdict.     Well, that's where

1 7 : 1 4 : 2 9   13     it's got, the very end of the verdict form, it says:             Upon

1 7 : 1 4 : 3 2   14     reaching a unanimous verdict on each question above, the

1 7 : 1 4 : 3 7   15     presiding juror must sign and each juror must sign below.

1 7 : 1 4 : 4 1   16     We, the jury, unanimously agree to the answer of the

1 7 : 1 4 : 4 4   17     following questions and return them under the instruction

1 7 : 1 4 : 4 8   18     of this Court as our verdict in this case.

1 7 : 1 4 : 5 1   19                  And you would date it.      You would sign it

1 7 : 1 4 : 5 3   20     Presiding Juror.      And then each juror will sign below.

1 7 : 1 4 : 5 7   21                  Now, I did tell you a couple other things.          I'm

1 7 : 1 5 : 0 1   22     going to go through those quickly and then we're going to

1 7 : 1 5 : 0 3   23     get back to the final information on the form of the

1 7 : 1 5 : 0 6   24     verdict.

1 7 : 1 5 : 0 7   25                  These are the stipulated facts in the case.
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1 7 : 1 5 : 1 1   1      These stipulated facts are just some background

1 7 : 1 5 : 1 2   2      information as to Qorvo.       they're not disputed.        It's when

1 7 : 1 5 : 1 6   3      Qorvo was incorporated and so forth and so on.            When

1 7 : 1 5 : 2 3   4      different portions like RF micro devices were formed in

1 7 : 1 5 : 2 7   5      1991, those facts are not in dispute.         There are different

1 7 : 1 5 : 3 0   6      ones in here.

1 7 : 1 5 : 3 1   7                   And it's also Akoustis Technologies, a Delaware

1 7 : 1 5 : 3 3   8      corporation with the principle place of business in

1 7 : 1 5 : 3 5   9      Huntersville, North Carolina.       And Qorvo is a Delaware

1 7 : 1 5 : 4 2   10     corporation with principle place of business in

1 7 : 1 5 : 4 4   11     Greensboro, North Carolina.       Gives the address.

1 7 : 1 5 : 4 8   12                  Okay.    It's got a little more information about

1 7 : 1 5 : 5 2   13     each one.    And then it's got the names of the patent

1 7 : 1 5 : 5 6   14     holders and so forth.      And most of that is something that

1 7 : 1 5 : 5 8   15     will not be critical.      It's just information on which they

1 7 : 1 6 : 0 3   16     agreed.    And I'm not saying it's not important.           I'm just

1 7 : 1 6 : 0 6   17     saying in this case it's not the focus of the case.

1 7 : 1 6 : 1 1   18                  And then it's got information like the '755

1 7 : 1 6 : 1 7   19     patent includes one through 18 claims.            So that type of

1 7 : 1 6 : 2 1   20     information.

1 7 : 1 6 : 2 1   21                  And then it also has Qorvo's ^certificates --

1 7 : 1 6 : 2 7   22     it's accused product infringes Claim 9 of the '755.              So

1 7 : 1 6 : 3 3   23     these are all agreed upon facts.        I don't think that

1 7 : 1 6 : 3 5   24     you've heard anything at all to the contrary.            I'm sure

1 7 : 1 6 : 3 8   25     you haven't heard anything to the contrary.            But if you
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1 7 : 1 6 : 4 0   1      want to look and check to make sure that all this is

1 7 : 1 6 : 4 4   2      accurate, that's fine.

1 7 : 1 6 : 4 6   3                   Now, the last thing on this page, it's been

1 7 : 1 6 : 4 8   4      signed by counsel for both parties.        That's how that

1 7 : 1 6 : 5 1   5      works.    It reads as follows.     I'm going to read it in.

1 7 : 1 6 : 5 3   6                   It says:    31, the 31st stipulation.       In other

1 7 : 1 6 : 5 7   7      words, stipulations, again, are used to save us time, and

1 7 : 1 7 : 0 1   8      they do.    We didn't have to hear all this particular

1 7 : 1 7 : 0 4   9      separate things.

1 7 : 1 7 : 0 5   10                  It says:    As of November 16, 2023, these 43

1 7 : 1 7 : 1 2   11     employees that at one time worked for Qorvo and/or its

1 7 : 1 7 : 1 6   12     predecessor, 19 accepted an offer of employment with

1 7 : 1 7 : 2 1   13     Akoustis; while employees of Qorvo remained, 24 accepted

1 7 : 1 7 : 2 3   14     an offer of employment from Akoustis after leaving Qorvo

1 7 : 1 7 : 2 7   15     or its predecessor or company.

1 7 : 1 7 : 3 1   16                  So there was reference to that earlier and it's

1 7 : 1 7 : 3 4   17     part of the stipulations.

1 7 : 1 7 : 3 6   18                  All right.    You've got the special verdict

1 7 : 1 7 : 3 8   19     form.    You've got the list that goes with the special

1 7 : 1 7 : 4 1   20     verdict form.     I'm going to put a clip on there, if I can

1 7 : 1 7 : 4 4   21     find one.

1 7 : 1 7 : 4 9   22                  I've got stipulated facts here.

1 7 : 1 7 : 5 0   23                  And the last thing I've got.         And then I

1 7 : 1 7 : 5 6   24     promise you all that you would have, for your convenience,

1 7 : 1 8 : 0 1   25     a witness list and exhibit list.        And that has the -- the
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1 7 : 1 8 : 0 7   1      purpose of it is to provide the -- each trial exhibit and

1 7 : 1 8 : 1 3   2      then a reference to its previous description such as

1 7 : 1 8 : 1 8   3      PTX-1107 and so forth.      So as you go through them, you

1 7 : 1 8 : 2 1   4      will say, this is Trial Exhibit 1.        Easier to deal with.

1 7 : 1 8 : 2 5   5                   At the very end, you're going to see that as to

1 7 : 1 8 : 2 7   6      the last three individuals who testified, that there were

1 7 : 1 8 : 3 2   7      no exhibits, so we put "N/A" after them.          And it shows

1 7 : 1 8 : 3 5   8      that we had a total of -- I bet you all remember -- 355

1 7 : 1 8 : 4 0   9      exhibits.    I think it maybe, and it's traditional to

1 7 : 1 8 : 4 5   10     provide you with this information.        All right.

1 7 : 1 8 : 5 9   11                  You will note that the Verdict Form uses the

1 7 : 1 9 : 0 3   12     eight allege trade secret groups that the Plaintiff

1 7 : 1 9 : 0 6   13     proposed and the presentation of some of the Plaintiff's

1 7 : 1 9 : 0 9   14     proof.

1 7 : 1 9 : 0 9   15                  And I -- again, I'm required and will say --

1 7 : 1 9 : 1 0   16     the Court is not making any factual determinations as to

1 7 : 1 9 : 1 4   17     the alleged trade secrets, their organization, whether

1 7 : 1 9 : 1 7   18     they are properly grouped together, or whether or not each

1 7 : 1 9 : 2 0   19     is a trade secret.      The Verdict Form's organization is

1 7 : 1 9 : 2 3   20     only for your convenience.       All questions of fact are for

1 7 : 1 9 : 2 6   21     you, the jury, to decide.

1 7 : 1 9 : 2 8   22                  When you go to the jury room, which will be

1 7 : 1 9 : 3 1   23     very shortly -- and I know you will going home pretty

1 7 : 1 9 : 3 3   24     soon.    But when you go to the jury room, you will be

1 7 : 1 9 : 3 5   25     selecting -- and I suggest you try to do this today, if
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1 7 : 1 9 : 3 8   1      you can -- selecting a foreperson.        That person will

1 7 : 1 9 : 4 3   2      preside over your deliberations and be your spokesperson

1 7 : 1 9 : 4 6   3      here in the courtroom.      When you have completed your

1 7 : 1 9 : 5 0   4      deliberations, your foreperson will fill in the verdict

1 7 : 1 9 : 5 3   5      form, and all of you will sign, the verdict form.

1 7 : 1 9 : 5 8   6                   Each of you should deliberate and vote on each

1 7 : 2 0 : 0 1   7      issue to be decided.

1 7 : 2 0 : 0 4   8                   Before you return your verdict, however, each

1 7 : 2 0 : 0 6   9      of you must agree to the answer to each question so that

1 7 : 2 0 : 1 0   10     you will be able to truthfully state that the verdict is

1 7 : 2 0 : 1 3   11     yours.

1 7 : 2 0 : 1 4   12                  The verdict you return to the court must

1 7 : 2 0 : 1 7   13     represent the reasoned judgment of each juror.          In order

1 7 : 2 0 : 2 1   14     to return a verdict, it is necessary that each juror agree

1 7 : 2 0 : 2 5   15     to each answer.     Your verdict must be unanimous.

1 7 : 2 0 : 2 8   16                  It is your duty to consult with one another and

1 7 : 2 0 : 3 0   17     to reach agreement if you can do so without violence to

1 7 : 2 0 : 3 3   18     your individual judgments.       Each of you must decide the

1 7 : 2 0 : 3 7   19     case for yourself, but do so only after impartial

1 7 : 2 0 : 4 0   20     consideration of the evidence if your fellow jurors.           In

1 7 : 2 0 : 4 4   21     the case of your deliberations, do not hesitate to

1 7 : 2 0 : 4 8   22     re-examine your own views and to change your mind if you

1 7 : 2 0 : 5 2   23     are convinced that you were wrong, but do not surrender

1 7 : 2 0 : 5 8   24     your honest conviction as to the weight and effect of the

1 7 : 2 1 : 0 1   25     evidence solely because of the opinion of your fellow
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1 7 : 2 1 : 0 4   1      jurors, or for the mere purpose of running a verdict.

1 7 : 2 1 : 0 8   2                   We will be sending to you -- and I'm trying

1 7 : 2 1 : 0 9   3      to -- we may not actually send them back right now, but we

1 7 : 2 1 : 1 2   4      can.

1 7 : 2 1 : 1 4   5                   We will be sending to you in the jury room all

1 7 : 2 1 : 1 8   6      the exhibits that have been marked and received in the

1 7 : 2 1 : 2 0   7      case.   There may have been a couple that there not, and I

1 7 : 2 1 : 2 4   8      don't -- so they will not go back there.

1 7 : 2 1 : 2 8   9                   You have not received, in fact, you may not

1 7 : 2 1 : 3 0   10     have received all of the documents.        I'm quite certain you

1 7 : 2 1 : 3 3   11     have not seen every page.       And they are there for your

1 7 : 2 1 : 3 8   12     review and consideration.       You may, of course, take a

1 7 : 2 1 : 4 1   13     break before you begin deliberating.

1 7 : 2 1 : 4 3   14                  What we're going to try to do, is I'm going to

1 7 : 2 1 : 4 5   15     check with counsel.      I will let you be excused, the jury

1 7 : 2 1 : 4 7   16     in a minute.      I can't do that until I check with counsel.

1 7 : 2 1 : 5 0   17                  But do not begin your deliberations or have any

1 7 : 2 1 : 5 7   18     discussions ^about the case unless all of you are present

1 7 : 2 1 : 5 9   19     together in the jury room.

1 7 : 2 2 : 0 1   20                  Now, some of you have taken notes.        And we had

1 7 : 2 2 : 0 5   21     a discussion about that already in the instructions.

1 7 : 2 2 : 0 9   22                  Remember, they are for your individual use, and

1 7 : 2 2 : 1 4   23     are to be used only by you to refresh your recollection

1 7 : 2 2 : 1 9   24     about the case.      They are not to be shown to others on the

1 7 : 2 2 : 2 4   25     jury or otherwise used as a basis for your discussions
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1 7 : 2 2 : 2 7   1      about the case.

1 7 : 2 2 : 3 3   2                   If a question does arise during your

1 7 : 2 2 : 3 5   3      deliberations and you need further instructions, please

1 7 : 2 2 : 3 8   4      write down your question on a sheet of paper, knock on the

1 7 : 2 2 : 4 2   5      door in the jury room, and then give the question to

1 7 : 2 2 : 4 5   6      either the court security officer or the courtroom deputy

1 7 : 2 2 : 4 9   7      clerk.

1 7 : 2 2 : 5 1   8                   THE CLERK:    It will be the court security

1 7 : 2 2 : 5 3   9      officer.

1 7 : 2 2 : 5 4   10                  THE COURT:    All right.    And we have one right

1 7 : 2 2 : 5 5   11     back there.

1 7 : 2 3 : 0 5   12                  There's a note sheet, too.       So I am not

1 7 : 2 3 : 0 8   13     encouraging you to send me notes, but if you want to,

1 7 : 2 3 : 1 0   14     please write them down.

1 7 : 2 3 : 1 2   15                  And, also, have them signed, because every now

1 7 : 2 3 : 1 4   16     and then, I get a note that's not signed.           I wonder, who

1 7 : 2 3 : 1 7   17     wrote the note?     And one time I found out it wasn't

1 7 : 2 3 : 2 0   18     actually from the foreperson, and the rest of the jury

1 7 : 2 3 : 2 2   19     didn't want to send the note.       So make sure everybody is

1 7 : 2 3 : 2 5   20     okay with sending the note.

1 7 : 2 3 : 2 8   21                  I will review your question, and after

1 7 : 2 3 : 3 1   22     consulting with counsel in the case, will either respond

1 7 : 2 3 : 3 4   23     to your question in writing or by having you return to the

1 7 : 2 3 : 3 8   24     courtroom for further oral instruction.           Normally, we

1 7 : 2 3 : 4 1   25     respond in writing.      Please understand that I may only
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1 7 : 2 3 : 4 6   1      answer your questions on the law.        And I cannot answer

1 7 : 2 3 : 4 9   2      questions about the evidence.       I caution you, however,

1 7 : 2 3 : 5 4   3      with regard to any question or message that you might send

1 7 : 2 3 : 5 7   4      me, you should not tell me your numerical division at any

1 7 : 2 4 : 0 3   5      time.

1 7 : 2 4 : 0 4   6                   You can never tell me, Oh, such and such and

1 7 : 2 4 : 0 6   7      such.   I can never know that.      I can know that the jury

1 7 : 2 4 : 0 9   8      has reached a verdict or the jury has not reached a

1 7 : 2 4 : 1 2   9      verdict, but I cannot know numerical division at any time.

1 7 : 2 4 : 1 7   10                  I remind you that you are here to decide this

1 7 : 2 4 : 1 9   11     case based only on the evidence that you've heard in court

1 7 : 2 4 : 2 4   12     and the law that I have given to you.         You know that you

1 7 : 2 4 : 2 8   13     are prohibited from considering any other information.

1 7 : 2 4 : 3 2   14     And you are not to consult with any outside sources for

1 7 : 2 4 : 3 7   15     information.

1 7 : 2 4 : 3 8   16                  Now, I told you at the very beginning where I

1 7 : 2 4 : 4 1   17     had the jury in Virginia decided to go and look up terms

1 7 : 2 4 : 4 6   18     in the dictionary, and it didn't go well for anybody in

1 7 : 2 4 : 5 1   19     the sense that the case had to be retried.          So even that

1 7 : 2 4 : 5 4   20     is -- I want to make it really clear that you just can

1 7 : 2 4 : 5 8   21     look up anything.      If you need to know something, send us

1 7 : 2 5 : 0 1   22     a note.    And if we can tell you, we will.

1 7 : 2 5 : 0 5   23                  You are not to communicate with or provide any

1 7 : 2 5 : 0 8   24     information, photographs, or video to anyone by any means

1 7 : 2 5 : 1 2   25     about this case or about your deliberations.          You may not
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1 7 : 2 5 : 1 6   1      use any electronic device or media, such as a telephone,

1 7 : 2 5 : 2 0   2      cell phone, smart phone, or computer; the Internet, any

1 7 : 2 5 : 2 4   3      text or instant messaging service; or chat room, blog,

1 7 : 2 5 : 2 9   4      website or social media platform such as Facebook,

1 7 : 2 5 : 3 3   5      Instagram, LinkedIn, YouTube, Twitter/X, or TikTok, or

1 7 : 2 5 : 4 0   6      anything like that, to communicate with anyone or to

1 7 : 2 5 : 4 3   7      conduct any research about the case.

1 7 : 2 5 : 4 6   8                   I need to see counsel briefly at the sidebar,

1 7 : 2 5 : 4 9   9      and hopefully we will have a short break, and then

1 7 : 2 5 : 5 2   10     we'll -- I also want to consult about what you want to do

1 7 : 2 5 : 5 5   11     as to your schedule for tomorrow.          So I'm going to check

1 7 : 2 5 : 5 8   12     with them so -- before I can let you go back to the jury

1 7 : 2 6 : 0 1   13     room.

1 7 : 2 6 : 0 2   14                  Let me see counsel briefly.

1 7 : 2 6 : 3 4   15                                    -   -   -

1 7 : 2 6 : 3 4   16           (Whereupon, the following discussion is held at

1 7 : 2 6 : 3 4   17     sidebar:

1 7 : 2 6 : 3 5   18                  THE COURT:    It's a lot easier to give

1 7 : 2 6 : 3 7   19     instructions in a patent case, mostly because it's so

1 7 : 2 6 : 4 1   20     straightforward.

1 7 : 2 6 : 4 2   21                  I had to break it up a little bit before I lost

1 7 : 2 6 : 4 5   22     all my jurors.     Both of you, you've got to be careful with

1 7 : 2 6 : 4 8   23     that too when you were doing your closing.

1 7 : 2 6 : 5 1   24                  Any objections to the instructions as given?

1 7 : 2 6 : 5 2   25     Every now and then, I switched a word and I tried to
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1 7 : 2 6 : 5 6   1      switch it back.

1 7 : 2 6 : 5 8   2                   MR. LEMIEUX:     There was, just in the written

1 7 : 2 6 : 5 9   3      instructions, Your Honor, there was two places where you

1 7 : 2 7 : 0 3   4      didn't say it, but there was a reference to a conspiracy

1 7 : 2 7 : 0 7   5      claim and --

1 7 : 2 7 : 1 1   6                   THE COURT:    I'm sure I struck through it.

1 7 : 2 7 : 1 3   7                   MR. LEMIEUX:     Yeah.   You did not say it, but I

1 7 : 2 7 : 1 5   8      wanted to make sure in the written copy that goes back --

1 7 : 2 7 : 1 8   9                   THE COURT:    Pull them out and make sure we've

1 7 : 2 7 : 1 9   10     got both of them.      I'm sure we did.    Thank you.       I have

1 7 : 2 7 : 2 4   11     been on the lookout for it.

1 7 : 2 7 : 2 6   12                  MR. LEMIEUX:     There's one other one too, but I

1 7 : 2 7 : 2 8   13     can check.    Again, I was just making sure.          It wasn't

1 7 : 2 7 : 3 0   14     anything you said.

1 7 : 2 7 : 3 1   15                  THE COURT:    No.

1 7 : 2 7 : 3 1   16                  MR. LEMIEUX:     I just wanted to make sure that

1 7 : 2 7 : 3 2   17     the written --

1 7 : 2 7 : 3 3   18                  THE COURT:    We did mark through it.        I marked

1 7 : 2 7 : 3 4   19     through it to not say it.        Absolutely.      Always a good

1 7 : 2 7 : 3 7   20     comment.

1 7 : 2 7 : 3 7   21                  MR. ELKINS:    You flagged those, right?

1 7 : 2 7 : 4 0   22                  MR. LEMIEUX:     Yes.

1 7 : 2 7 : 4 0   23                  THE COURT:    One of them was very early like

1 7 : 2 7 : 4 1   24     Page 2, and then I don't remember where the other ones

1 7 : 2 7 : 4 4   25     was.
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1 7 : 2 7 : 4 5   1                   MR. LEMIEUX:     I will bring it up.     I apologize.

1 7 : 2 7 : 4 8   2                   THE COURT:    We will search again, but we'll

1 7 : 2 7 : 5 1   3      make absolutely sure.      They're not going to be here long

1 7 : 2 7 : 5 5   4      today.    We will make sure it is good.

1 7 : 2 7 : 5 7   5                   Okay.    Anything else from the defense?

1 7 : 2 8 : 0 1   6                   MR. ELKINS:    I just, are you going to have them

1 7 : 2 8 : 0 5   7      go back and select a foreperson?

1 7 : 2 8 : 0 7   8                   THE COURT:    I would like them to select a

1 7 : 2 8 : 0 8   9      foreperson and tell me what their schedule will be.           I

1 7 : 2 8 : 1 2   10     will suggest they come in on the current schedule, but

1 7 : 2 8 : 1 4   11     tell them on any day that they can stay as late, and as

1 7 : 2 8 : 1 9   12     you know, basically, five of seven if they wish to.           If

1 7 : 2 8 : 2 5   13     they tell me today they want to stay late, I would have

1 7 : 2 8 : 2 8   14     them stay late.      I want to let it be their decision until

1 7 : 2 8 : 3 1   15     we decide they need to stay later.        Okay.    Absolutely.

1 7 : 2 8 : 3 6   16     Thank you you all very much.

1 7 : 2 8 : 3 9   17                  MR. DeFOSSE:     It's not jury instructions, Your

1 7 : 2 8 : 4 1   18     Honor, but on one of the exhibits from Dr. Aigner's

1 7 : 2 8 : 4 4   19     deposition, we had excerpts that are going to go back, and

1 7 : 2 8 : 4 8   20     I want to make sure that exhibit is fixed.

1 7 : 2 8 : 5 1   21                  MR. LEMIEUX:     You mean the declaration?

1 7 : 2 8 : 5 3   22                  MR. DeFOSSE:     The declaration, yes, that Your

1 7 : 2 8 : 5 4   23     Honor ruled on previously.

1 7 : 2 8 : 5 6   24                  MR. LEMIEUX:     It's --

1 7 : 2 8 : 5 8   25                  THE COURT:    We are not going to send the
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1 7 : 2 9 : 0 0   1      exhibits back right now unless they ask for them.

1 7 : 2 9 : 0 5   2                   MR. MASTERS:     Do you happen to remember the

1 7 : 2 9 : 0 5   3      trial --

1 7 : 2 9 : 0 7   4                   MR. DeFOSSE:     I can't remember the trial

1 7 : 2 9 : 0 9   5      exhibit number, but we can work this out.           I think we just

1 7 : 2 9 : 1 3   6      need to resubmit that exhibit, and we'll find that number

1 7 : 2 9 : 1 6   7      as soon as we can.

1 7 : 2 9 : 1 7   8                   THE COURT:    Okay.

1 7 : 2 9 : 2 3   9                   MR. LEMIEUX:     No.   It's a question for judicial

1 7 : 2 9 : 2 5   10     notice.

1 7 : 2 9 : 2 7   11                  THE COURT:    Anything else?

1 7 : 2 9 : 2 8   12                  MR. MASTERS:     Just I understand there might be

1 7 : 2 9 : 3 0   13     some pieces of evidence that are in native form that would

1 7 : 2 9 : 3 3   14     be viewed on the computer.         Has that been arranged?

1 7 : 2 9 : 3 6   15                  THE CLERK:    Yes.

1 7 : 2 9 : 3 6   16                  MR. MASTERS:     It has been.

1 7 : 2 9 : 3 7   17                  THE COURT:    I think that's all taken care of.

1 7 : 2 9 : 4 0   18                  MR. MASTERS:     Then nothing else from us.

1 7 : 2 9 : 4 2   19                  THE COURT:    Very good point.       We will allow our

1 7 : 2 9 : 4 4   20     jury to go back.

1 7 : 2 9 : 4 4   21           (Whereupon, the discussion at sidebar concludes.)

1 7 : 2 9 : 4 4   22                                    -    -   -

1 7 : 2 9 : 4 4   23                  THE COURT:    Okay.    Let me tell you a couple of

1 7 : 3 0 : 0 7   24     things quickly.     I'm going to hand you -- have my

1 7 : 3 0 : 1 0   25     courtroom deputy clerk, Ms. Currier, whichever one wants
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1 7 : 3 0 : 1 6   1      it -- a verdict form, and it will have -- and the folder.

1 7 : 3 0 : 1 9   2      It's got the special verdict form, which has two pieces to

1 7 : 3 0 : 2 2   3      it.   It's got the stipulated facts, and it has the exhibit

1 7 : 3 0 : 2 5   4      list.

1 7 : 3 0 : 2 5   5                   You will also be receiving, which we will print

1 7 : 3 0 : 2 8   6      out, a full set of the instructions, but I'm not going to

1 7 : 3 0 : 3 1   7      put it in there right now.        And you also have the ability

1 7 : 3 0 : 3 4   8      to ask for, and if you want them this evening, you can

1 7 : 3 0 : 3 7   9      stay as late as 7:00.       I see a "no" here.

1 7 : 3 0 : 4 1   10                  But the point is that, if you ask for them, we

1 7 : 3 0 : 4 4   11     would do what you wanted to do.         What I will do here,

1 7 : 3 0 : 4 7   12     then, is I will hand it to -- I think I will hand it to

1 7 : 3 0 : 5 1   13     Ms. Currier or our CSO if he wants to.             In just a moment,

1 7 : 3 0 : 5 9   14     I will have you go back to the jury room.             If you can do

1 7 : 3 1 : 0 2   15     one thing, two things; one, we would like for you to stay

1 7 : 3 1 : 0 5   16     on the current schedule, which is coming in, certainly,

1 7 : 3 1 : 0 9   17     8:15, approximately, or very close to 8:15.             Everybody has

1 7 : 3 1 : 1 4   18     been really great about that, and then proceed to

1 7 : 3 1 : 1 7   19     deliberate.       But you can only do that when you have the

1 7 : 3 1 : 2 0   20     folder, so I'm going to hand the folder in a moment to you

1 7 : 3 1 : 2 4   21     as a group.       If you can agree on a presiding juror right

1 7 : 3 1 : 3 0   22     away, that's fine.       If there's going to be a campaign on

1 7 : 3 1 : 3 1   23     who it's going to be, then -- I don't think.

1 7 : 3 1 : 3 4   24                  So my point is if you cannot quickly decide,

1 7 : 3 1 : 3 7   25     that's okay.       But if you do decide, that's fine, that's
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1 7 : 3 1 : 3 9   1      probably the right kind of progress.         And that way, I will

1 7 : 3 1 : 4 2   2      ask you what you want to do in terms of schedule.           I

1 7 : 3 1 : 4 6   3      think -- I am looking to all of you -- the current

1 7 : 3 1 : 4 9   4      schedule is okay; is that right?

1 7 : 3 1 : 5 1   5                   Okay.    So we're going to stay with that

1 7 : 3 1 : 5 2   6      schedule.    But if you decide, for example, tomorrow, if

1 7 : 3 1 : 5 5   7      you wanted to stay until 6:30, that would be fine.           But

1 7 : 3 2 : 0 0   8      you would need to tell us because the building starts to

1 7 : 3 2 : 0 3   9      close about seven?

1 7 : 3 2 : 0 8   10                  COURT SECURITY OFFICER:      Five to the public.

1 7 : 3 2 : 1 1   11                  THE COURT:    Oh, 5:00?    You're right.

1 7 : 3 2 : 1 2   12                  But you're judges of the facts, so I think we

1 7 : 3 2 : 1 3   13     can make the other courtroom available to you.          So you can

1 7 : 3 2 : 1 7   14     tell me what your schedule is.        You also tell us about

1 7 : 3 2 : 2 0   15     your lunch schedule and so forth, this is what you want to

1 7 : 3 2 : 2 2   16     do.

1 7 : 3 2 : 2 3   17                  So any time that you are -- when you go home,

1 7 : 3 2 : 2 5   18     for example, today, knock on the door, you return the

1 7 : 3 2 : 3 1   19     folder with the materials in it, and that will indicate to

1 7 : 3 2 : 3 3   20     us that you are not deliberating.        When you return

1 7 : 3 2 : 3 6   21     tomorrow, you will knock on the door and retrieve the

1 7 : 3 2 : 4 0   22     folder with the materials in it.        We will have all the

1 7 : 3 2 : 4 2   23     materials ready for you.

1 7 : 3 2 : 4 5   24                  And then anytime you take a break, in the

1 7 : 3 2 : 4 8   25     morning, or lunch break, in which you are not going to be
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1 7 : 3 2 : 5 2   1      deliberating.     Morning break and afternoon break are

1 7 : 3 2 : 5 6   2      usually non-deliberating breaks, but sometimes a jury

1 7 : 3 3 : 0 1   3      decides -- it will be up to you -- do you want to

1 7 : 3 3 : 0 3   4      deliberate during lunch, and you can have your lunch if

1 7 : 3 3 : 0 6   5      you want to, have it together.        But always remember that

1 7 : 3 3 : 1 0   6      you must all ten be together in the jury room able to hear

1 7 : 3 3 : 1 5   7      what's being said in order to deliberate.          So if somebody

1 7 : 3 3 : 2 0   8      takes a restroom break, just stop right there and restart

1 7 : 3 3 : 2 4   9      when everybody is available.

1 7 : 3 3 : 2 6   10                  Ladies and gentlemen, we are going excuse you

1 7 : 3 3 : 2 8   11     at this time to the jury room to begin your deliberations,

1 7 : 3 3 : 3 1   12     and, of course, you can, then, when you are ready to go,

1 7 : 3 3 : 3 4   13     knock on the door, and I will let you come back in just

1 7 : 3 3 : 3 7   14     very briefly for dismissal for the day.

1 7 : 3 3 : 4 2   15                  So I will let you all be excused.        It is up to

1 7 : 3 3 : 4 5   16     you to take off, and we will see you all shortly.

1 7 : 3 3 : 5 1   17           (The jury exits the courtroom at 5:33 p.m.)

1 7 : 3 4 : 4 5   18                  THE COURT:    All right.    Be seated just for a

1 7 : 3 4 : 4 7   19     moment.    I want to go over your schedule.

1 7 : 3 4 : 5 5   20                  Oh, let me check on the second page where you

1 7 : 3 4 : 5 8   21     found "conspiracy."

1 7 : 3 4 : 5 8   22                  MR. LEMIEUX:     There was only one page for

1 7 : 3 5 : 0 0   23     "conspiracy."     That was Page 19. And the other was a

1 7 : 3 5 : 0 5   24     numbering issue on Page 35.       Both of us said those are the

1 7 : 3 5 : 0 9   25     only things.
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1 7 : 3 5 : 0 9   1                   THE COURT:     I think we've got them.        We're

1 7 : 3 5 : 1 2   2      going to check that.

1 7 : 3 5 : 1 2   3                   Now, your schedule is this.           You don't have to

1 7 : 3 5 : 1 4   4      be here tomorrow -- isn't that nice?          You can sleep in.

1 7 : 3 5 : 1 8   5      You don't have to be here tomorrow at 8:30 or nine.              You

1 7 : 3 5 : 2 6   6      know, there's no rush to your be here.

1 7 : 3 5 : 2 8   7                   What you have to do is, and I'll leave with

1 7 : 3 5 : 3 4   8      staff, either Ms. Currier or our courtroom deputy, your

1 7 : 3 5 : 4 0   9      cell phone numbers.       And we absolutely have to have the

1 7 : 3 5 : 4 3   10     cell phone numbers for at least lead counsel, both -- you

1 7 : 3 5 : 4 7   11     know, the three lead counsel on both sides.             She may be

1 7 : 3 5 : 5 6   12     gone.   What I'm saying, if we can get the cell phone

1 7 : 3 5 : 5 9   13     numbers from three of you, I'm not going to worry about.

1 7 : 3 6 : 0 3   14                  MR. GOLDEN:     No problem, Your Honor.        We will

1 7 : 3 6 : 0 4   15     certainly take care of it.

1 7 : 3 6 : 0 5   16                  THE COURT:     Okay.   So we've got at least three

1 7 : 3 6 : 0 7   17     numbers because we want to be absolutely certain that we

1 7 : 3 6 : 0 9   18     can reach you, both of your respective teams.             And then we

1 7 : 3 6 : 1 4   19     expect you to be within, usually 15 minutes of the

1 7 : 3 6 : 1 8   20     courthouse.       You should be; I think you are now.

1 7 : 3 6 : 2 3   21                  So that's -- and so we will call you as soon as

1 7 : 3 6 : 2 6   22     we get something from the panel.         And if we get an

1 7 : 3 6 : 3 1   23     administrative issue, you know, can we have more pizza

1 7 : 3 6 : 3 6   24     from wherever it is, we obviously don't call you.              But if

1 7 : 3 6 : 4 0   25     we get anything, we will call you and then we will have
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1 7 : 3 6 : 4 3   1      you, at least part of your team here right away, so we can

1 7 : 3 6 : 4 6   2      answer a question the panel has.

1 7 : 3 6 : 4 8   3                   You are not expected to have everybody around.

1 7 : 3 6 : 5 2   4      You know, you are expected to go.         I know you've got other

1 7 : 3 6 : 5 5   5      things to work on, so that will be fine.

1 7 : 3 6 : 5 9   6                   Now, if I don't hear from the panel by -- this

1 7 : 3 7 : 0 2   7      is the standard practice; you can make the time different

1 7 : 3 7 : 0 6   8      if you want, but if I don't hear from the panel by 4:45

1 7 : 3 7 : 1 1   9      tomorrow -- and I'm not saying I'm going to, and it's

1 7 : 3 7 : 1 3   10     probably better that I didn't -- then I need you to show

1 7 : 3 7 : 1 6   11     up at 4:45.       I will know more about what the jury is

1 7 : 3 7 : 2 1   12     saying in terms of how long they want to stay.

1 7 : 3 7 : 2 4   13                  If they want to go home at 5:30, I do want you

1 7 : 3 7 : 2 7   14     to check back in with me.        Because there's always a chance

1 7 : 3 7 : 3 0   15     that everything failed, and we need to get in touch with

1 7 : 3 7 : 3 4   16     you, and somehow -- and so that's just a super backstop to

1 7 : 3 7 : 3 8   17     make sure that we can see, not your whole team, but

1 7 : 3 7 : 4 1   18     representatives as appropriate.         I will send a couple, the

1 7 : 3 7 : 4 6   19     three lead counsel probably on both sides, and they want

1 7 : 3 7 : 4 8   20     to be here.       I don't have to have everybody except lead

1 7 : 3 7 : 5 3   21     counsel, to figure out who they were in the sense.            I want

1 7 : 3 7 : 5 7   22     you to feel comfortable.        That's it.

1 7 : 3 8 : 0 0   23                  So you actually have the day where you do not

1 7 : 3 8 : 0 2   24     have to show up at all until 4:45 unless we get a

1 7 : 3 8 : 0 7   25     question.    I would not be surprised if we got a question.
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1 7 : 3 8 : 1 5   1      That's pretty routine.      And then we've had -- well, we

1 7 : 3 8 : 2 0   2      will start with the process for that.         So I think that's

1 7 : 3 8 : 2 3   3      it.   I think everybody knows what we're doing.

1 7 : 3 8 : 3 0   4                   Anything else?

1 7 : 3 8 : 3 2   5                   MR. DeFOSSE:     So, Your Honor, the trial exhibit

1 7 : 3 8 : 3 4   6      I was referencing previously that will need to be

1 7 : 3 8 : 3 8   7      excerpted as Trial Exhibit 18, we'll work with counsel for

1 7 : 3 8 : 4 3   8      Akoustis to submit -- resubmit that.

1 7 : 3 8 : 4 7   9                   THE COURT:    Okay.   You need to make sure that

1 7 : 3 8 : 4 9   10     that is taken care of.      They will get all those exhibits

1 7 : 3 8 : 5 2   11     tomorrow morning.

1 7 : 3 8 : 5 4   12                  MR. DeFOSSE:     Okay.   Yes.   So we would ask,

1 7 : 3 8 : 5 5   13     obviously, that that exhibit be removed, and we will

1 7 : 3 8 : 5 8   14     submit a substitute.

1 7 : 3 9 : 0 0   15                  THE COURT:    Removed and substituted.      I'm just

1 7 : 3 9 : 0 2   16     confirming that --

1 7 : 3 9 : 0 5   17                  Mr. Lemieux, is that what you want to do on

1 7 : 3 9 : 0 7   18     that one?    Are you in charge of this?

1 7 : 3 9 : 1 0   19                  MR. LEMIEUX:     I believe so, Your Honor.      We'll

1 7 : 3 9 : 1 2   20     work it out with counsel.       Again, it refers to the

1 7 : 3 9 : 1 5   21     judicial notice request, and so we'll work it out with

1 7 : 3 9 : 1 8   22     counsel as to what are the appropriate pages to be able to

1 7 : 3 9 : 2 1   23     send back.

1 7 : 3 9 : 2 3   24                  THE COURT:    Okay, I understand that.      I think

1 7 : 3 9 : 2 5   25     that takes care of that.       Can you get that to me by what
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1 7 : 3 9 : 2 9   1      time?

1 7 : 3 9 : 3 0   2                   MR. DeFOSSE:     First thing tomorrow morning or

1 7 : 3 9 : 3 2   3      this evening, whatever the Court would prefer.

1 7 : 3 9 : 3 4   4                   THE COURT:    Well, first thing tomorrow morning.

1 7 : 3 9 : 4 1   5      They are not coming in until 8:15 or so.          So if you get it

1 7 : 3 9 : 4 7   6      to us by 8:15.     I tell's you what; I need it by 8:00 just

1 7 : 3 9 : 5 5   7      in case.

1 7 : 3 9 : 5 5   8                   If you are not resolved on it -- I think you

1 7 : 3 9 : 5 9   9      will be, but if you are not resolved, I want the team here

1 7 : 4 0 : 0 2   10     to -- whoever you want to discuss it.

1 7 : 4 0 : 0 4   11                  MR. DeFOSSE:     Yes.   I think Your Honor has

1 7 : 4 0 : 0 5   12     already identified the pages that will come in, so we'll

1 7 : 4 0 : 0 8   13     submit those.     Would you prefer hard copy, I assume?

1 7 : 4 0 : 1 4   14                  THE COURT:    Yes.

1 7 : 4 0 : 1 5   15                  MR. LEMIEUX:     And, Your Honor, if we could just

1 7 : 4 0 : 1 5   16     confirm when you would like response back to the

1 7 : 4 0 : 1 9   17     Plaintiff's Rule 50A motions.

1 7 : 4 0 : 2 1   18                  THE COURT:    Well, I thought about that, and I

1 7 : 4 0 : 2 4   19     know people have gotten pretty tired.         I was thinking that

1 7 : 4 0 : 2 8   20     we would get it by noon on Friday.        That's a long time.

1 7 : 4 0 : 3 5   21     And if you want to get it back earlier, that's fine.

1 7 : 4 0 : 3 9   22                  MR. ELKINS:    I think we've -- I imagine.

1 7 : 4 0 : 4 1   23                  THE COURT:    Is that reasonable?

1 7 : 4 0 : 4 2   24                  MR. ELKINS:    It is absolutely reasonable.       It's

1 7 : 4 0 : 4 3   25     more than reasonable.      I anticipate we will probably file
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1 7 : 4 0 : 4 5   1      by tomorrow, but having until noon Friday would be great.

1 7 : 4 0 : 4 9   2                   THE COURT:    Well, I just think everybody's

1 7 : 4 0 : 5 1   3      worked hard and find that you're a little tireder than you

1 7 : 4 0 : 5 4   4      thought you were; maybe not, though.         Maybe everybody's

1 7 : 4 0 : 5 8   5      pretty rested.     Okay.   We'll get that by Friday at noon.

1 7 : 4 1 : 0 2   6      If there's a dispute on Exhibit 18, which I don't expect

1 7 : 4 1 : 0 7   7      there to be, then we will get everything -- you will need

1 7 : 4 1 : 1 1   8      to be here at 8:15.      I will need to know that by 8:00.

1 7 : 4 1 : 1 6   9      You can send me an e-mail at 7:30; doesn't matter.

1 7 : 4 1 : 2 0   10                  If we do have to go, we'll meet at 8:15 to get

1 7 : 4 1 : 2 5   11     that resolved.

1 7 : 4 1 : 2 6   12                  Is that it?    Anything else?        Seeing nothing

1 7 : 4 1 : 2 9   13     else.    In connection with the materials that you have in

1 7 : 4 1 : 3 1   14     the courtroom, the normal practice is that, of course, you

1 7 : 4 1 : 3 5   15     can remove everything that you need to, and your IT

1 7 : 4 1 : 4 1   16     personnel, I take it, are heading for the hills?

1 7 : 4 1 : 4 7   17                  No, no.    I don't know.    That's why I'm asking.

1 7 : 4 1 : 4 8   18     I don't know what your plan is.

1 7 : 4 1 : 5 3   19                  THE CLERK:    They are right outside the

1 7 : 4 1 : 5 4   20     courtroom.

1 7 : 4 1 : 5 5   21                  THE COURT:    So I understand.       Thank you for

1 7 : 4 1 : 5 7   22     everything that you've been doing in that regard.             He

1 7 : 4 1 : 5 9   23     certainly makes cases a lot better, so I won't see you

1 7 : 4 2 : 0 4   24     again.    Appreciate that.

1 7 : 4 2 : 0 5   25                  I think that covers everything.          I will be here
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1 7 : 4 2 : 0 8   1      early, but you know what to do on the 18.          I will need to

1 7 : 4 2 : 1 2   2      have a hard copy in hand preferably at 8:00.          If it's all

1 7 : 4 2 : 1 9   3      prepared, you don't need to show up, obviously.           If there

1 7 : 4 2 : 2 1   4      is a dispute, though, be here at 815.         Otherwise, what

1 7 : 4 2 : 2 5   5      time do you have to be here in this matter, Mr. Masters if

1 7 : 4 2 : 3 0   6      nothing happens?

1 7 : 4 2 : 3 1   7                   MR. MASTERS:     4:45.   I'll be here about five

1 7 : 4 2 : 3 3   8      minutes before that, actually, at 4:40.

1 7 : 4 2 : 3 6   9                   THE COURT:    4:45.   I appreciate that.      That's

1 7 : 4 2 : 3 7   10     just a super backstop in case we have an issue to get

1 7 : 4 2 : 4 0   11     ahold of somebody.      I think that covers everything except

1 7 : 4 2 : 4 3   12     I have to wait for a minute and see what our panel is

1 7 : 4 2 : 4 5   13     going to do.      There are two ways I can handle this.       You

1 7 : 4 2 : 4 8   14     can all stay here until they advise us how they want to

1 7 : 4 2 : 5 2   15     proceed, or I can then let them myself, but if I do that,

1 7 : 4 2 : 5 8   16     everybody else will probably want to -- you probably want

1 7 : 4 3 : 0 2   17     two people here.      How do you want to handle it?       I'll let

1 7 : 4 3 : 0 6   18     them go home, but I do have to remind them when they come

1 7 : 4 3 : 0 9   19     back in, this is the first time they have been

1 7 : 4 3 : 1 2   20     deliberating.      They cannot now discuss with anybody at

1 7 : 4 3 : 1 6   21     home, so I just have to state that.        I think they want to

1 7 : 4 3 : 2 0   22     stay.   I'm watching.

1 7 : 4 3 : 4 1   23                  They seem so young; nice to be that young.

1 7 : 4 3 : 5 9   24                  Be at ease.    I'll just hang out up here.       I'm

1 7 : 4 4 : 0 4   25     not saying you can run around.        I'm just saying don't just
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1 7 : 4 4 : 0 7   1      sit there.    Pack up whatever you need to do.

1 7 : 4 5 : 2 3   2            (Whereupon, a recess was taken.)

1 7 : 4 5 : 2 3   3                   THE COURT:    We will be back in session.         The

1 7 : 4 5 : 2 4   4      jury is going to come in.       They are going come back on

1 7 : 4 5 : 2 8   5      regular schedule tomorrow.

1 7 : 4 5 : 5 8   6            (The jury enters the courtroom at 5:46 p.m.)

1 7 : 4 6 : 2 1   7                   THE COURT:    All right.    Everybody can be

1 7 : 4 6 : 2 2   8      seated.

1 7 : 4 6 : 2 2   9                   I understand we do have a residing juror, and

1 7 : 4 6 : 2 5   10     that's in seat Number 5, is that right?           Who is the

1 7 : 4 6 : 2 9   11     presiding juror?      Number 6.   I was misled.

1 7 : 4 6 : 3 8   12                  Oh, Mr. Snader.

1 7 : 4 6 : 3 8   13                  PRESIDING JUROR:     Yes.

1 7 : 4 6 : 3 8   14                  THE COURT:    Okay, well.

1 7 : 4 6 : 4 0   15                  What we are going to do is -- I need to remind

1 7 : 4 6 : 4 3   16     everybody, anytime the jury goes home after they start the

1 7 : 4 6 : 4 5   17     deliberating process, we do one more reminder of the seven

1 7 : 4 6 : 5 0   18     things that we've got to do.       And then after tomorrow, we

1 7 : 4 6 : 5 3   19     will start with tomorrow, you can tell us when you want to

1 7 : 4 6 : 5 6   20     leave at the end of the day; although, I do encourage you

1 7 : 4 7 : 0 1   21     to stay a little extra just to see how far you can get.

1 7 : 4 7 : 0 6   22                  Okay.    Well, when you come in tomorrow, then,

1 7 : 4 7 : 0 8   23     we will have the exhibits all ready for you.           They will be

1 7 : 4 7 : 1 2   24     in the back.      We will have the folder all ready with the

1 7 : 4 7 : 1 5   25     extra set of instructions in the back or with the Court
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1 7 : 4 7 : 1 8   1      security officer.      And you know how to go through that

1 7 : 4 7 : 2 1   2      process and so forth.

1 7 : 4 7 : 2 3   3                   I have to remind you, anytime you are going

1 7 : 4 7 : 2 7   4      home a different change of circumstances, that you cannot

1 7 : 4 7 : 2 9   5      speak with anybody at home about the case.          I don't think

1 7 : 4 7 : 3 3   6      anybody in this case would want to, honestly.          I don't

1 7 : 4 7 : 3 7   7      think there's much reason to, but the point there is that

1 7 : 4 7 : 4 1   8      we have changed what you're doing; and, therefore, we are

1 7 : 4 7 : 4 5   9      bestowing the seven factors.

1 7 : 4 7 : 4 6   10                  The first thing is, when you are not together

1 7 : 4 7 : 4 9   11     in the jury room, you cannot discuss the case.          And that

1 7 : 4 7 : 5 1   12     sometimes gets confused.       And so, you know, if somebody is

1 7 : 4 7 : 5 5   13     eating lunch with somebody else, you cannot discuss the

1 7 : 4 7 : 5 8   14     case unless all ten of you are part of that conversation.

1 7 : 4 8 : 0 2   15                  So, one, don't discuss the case among

1 7 : 4 8 : 0 4   16     yourselves unless all ten of you are together and are

1 7 : 4 8 : 0 8   17     there to discuss the case.       You can discuss the case

1 7 : 4 8 : 1 1   18     during lunch if you want to, and jurors often do that.            It

1 7 : 4 8 : 1 6   19     is entirely up to you.      You may want to have a break.        But

1 7 : 4 8 : 1 9   20     you, obviously, during restroom breaks so forth, there's

1 7 : 4 8 : 2 3   21     no discussion.

1 7 : 4 8 : 2 4   22                  You remember to lock the door when you return,

1 7 : 4 8 : 2 6   23     and that's our signal to know that you are deliberating,

1 7 : 4 8 : 2 8   24     you're not deliberating, we need to know that.

1 7 : 4 8 : 3 1   25                  The second thing is that not only can you not
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1 7 : 4 8 : 3 3   1      discuss the case amongst yourselves when you're not all

1 7 : 4 8 : 3 6   2      ten together discussing the case, but you can't talk with

1 7 : 4 8 : 3 9   3      anybody else about it, including individuals at home, and

1 7 : 4 8 : 4 3   4      that's the main reason for this gathering so you remember

1 7 : 4 8 : 4 4   5      you cannot do that.

1 7 : 4 8 : 4 6   6                   The third thing is that you can't speak to

1 7 : 4 8 : 4 8   7      witnesses, lawyers, or parties.        And I need to let you

1 7 : 4 8 : 5 1   8      know that this will now change, and they will not all be

1 7 : 4 8 : 5 6   9      here.   And that is perfectly routine, and that is normal.

1 7 : 4 9 : 0 0   10     It doesn't mean that somebody is not interested at all.

1 7 : 4 9 : 0 3   11     It just means that we all have things to do.          And,

1 7 : 4 9 : 0 5   12     actually, we have a communication system where they may be

1 7 : 4 9 : 0 9   13     working off-site, and will be here very promptly if they

1 7 : 4 9 : 1 3   14     need to return.     So that does not mean anything at all

1 7 : 4 9 : 1 6   15     done.   But, obviously, you know you can't speak to them,

1 7 : 4 9 : 1 9   16     they can't sneak to you and so forth.

1 7 : 4 9 : 2 2   17                  The fourth thing is, if anybody tries to speak

1 7 : 4 9 : 2 4   18     to you about the case, it would be extraordinarily

1 7 : 4 9 : 2 7   19     unusual, and you do need to tell the court security

1 7 : 4 9 : 3 0   20     officer or tell my staff or me and we will take the

1 7 : 4 9 : 3 2   21     appropriate steps.

1 7 : 4 9 : 3 5   22                  The fifth thing is, don't do any research or

1 7 : 4 9 : 3 6   23     make any inquiry.      We've gone over that in great detail,

1 7 : 4 9 : 4 0   24     absolutely prohibited; you all know not to do that.

1 7 : 4 9 : 4 3   25                  The sixth thing is to avoid things in the media
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1 7 : 4 9 : 4 5   1      that might be about this case or cases like it.           Also want

1 7 : 4 9 : 4 8   2      to caution you, you need to avoid things that might be

1 7 : 4 9 : 5 0   3      about any parties in the case.        Obviously, that's

1 7 : 4 9 : 5 3   4      something you don't need to do, and even if an entity is a

1 7 : 4 9 : 5 6   5      public entity, you cannot look up any information about

1 7 : 4 9 : 5 8   6      it.   Just be mindful of that.      And if somehow that has

1 7 : 5 0 : 0 1   7      inadvertently occurred at some point, you need to tell me

1 7 : 5 0 : 0 5   8      about it.    Probably is not a problem, but certainly not a

1 7 : 5 0 : 0 7   9      problem, but you have to let me know.

1 7 : 5 0 : 1 0   10                  And then the last thing is that you have to

1 7 : 5 0 : 1 2   11     continue to keep an open mind, because the deliberating

1 7 : 5 0 : 1 4   12     process contemplates that you are all discussing the case

1 7 : 5 0 : 1 6   13     among yourselves before you make up your mind on each

1 7 : 5 0 : 2 1   14     factor as you go forward.       There are a number of questions

1 7 : 5 0 : 2 4   15     to be asked, so continue to keep an open mind.          And go

1 7 : 5 0 : 2 7   16     through that deliberating process, that discussion.

1 7 : 5 0 : 3 2   17                  All right well, I understand we will see you

1 7 : 5 0 : 3 4   18     here -- I want to make sure we've got this right now.

1 7 : 5 0 : 3 7   19                  So, Mr. Clayton, I want to make sure, what

1 7 : 5 0 : 4 1   20     times are you guys coming in tomorrow?

1 7 : 5 0 : 4 7   21                  THE JUROR:    8:30.

1 7 : 5 0 : 4 8   22                  THE COURT:    8:30?   You have a casual day.

1 7 : 5 0 : 4 9   23     That's okay.      And I will be here, obviously, but I do not

1 7 : 5 0 : 5 3   24     require the parties to be here.        They are close by, and so

1 7 : 5 0 : 5 6   25     you will probably see no one, draw no inference at all
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1 7 : 5 1 : 0 0   1      from that.

1 7 : 5 1 : 0 1   2                   And then I think that covers everything we need

1 7 : 5 1 : 0 5   3      to cover.    You know all you have to do tomorrow is when

1 7 : 5 1 : 0 7   4      you come in, all ten of you together, knock on the door,

1 7 : 5 1 : 1 0   5      retrieve the folders.       Alex will be here and will provide

1 7 : 5 1 : 1 3   6      you with the exhibits, and you will have everything that

1 7 : 5 1 : 1 6   7      you will be entitled to have.        You will be ready to go.

1 7 : 5 1 : 2 1   8                   Thank you all very much.       Okay, tomorrow

1 7 : 5 1 : 2 3   9      evening -- I said it once already; I will say it one more

1 7 : 5 1 : 2 6   10     time, it will not be -- you will tell me what you want

1 7 : 5 1 : 2 9   11     your schedule to be.       I will need to know that, if that's

1 7 : 5 1 : 3 3   12     okay.

1 7 : 5 1 : 3 4   13                  All right.     Thank you all very much, and we

1 7 : 5 1 : 3 5   14     will see you -- at what time are we going to see

1 7 : 5 1 : 3 9   15     everybody, again, Mr. Rodman, tomorrow?

1 7 : 5 1 : 4 3   16                  THE JUROR:     8:30.

1 7 : 5 1 : 4 4   17                  THE COURT:     You guys will be together at 8:30.

1 7 : 5 1 : 4 6   18     No problem.       Everybody was -- you didn't have too much

1 7 : 5 1 : 5 3   19     trouble getting in this morning.         You had an accident on

1 7 : 5 1 : 5 5   20     the interstate, on the highway.         I think Ms. Rodriguez

1 7 : 5 2 : 0 1   21     did.    She did.     Thank you for calling in.      I do appreciate

1 7 : 5 2 : 0 7   22     that.    So that's exactly what she did.

1 7 : 5 2 : 1 0   23                  Let you all be excused; I will stay here just

1 7 : 5 2 : 1 2   24     for a moment.

1 7 : 5 2 : 1 4   25            (The jury exits the courtroom at 5:52 p.m.)
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1 7 : 5 2 : 3 5   1                   THE COURT:    Everybody can be seated.      I think

1 7 : 5 2 : 3 6   2      we have concluded everything that we need to do today.            So

1 7 : 5 2 : 4 2   3      clear your places and adjourn for today.

1 7 : 5 2 : 4 5   4                    (The proceedings concluded at 5:52 p.m.)

1 7 : 5 2 : 4 5   5

1 7 : 5 2 : 4 5   6

1 7 : 5 2 : 4 5   7                        CERTIFICATE OF COURT REPORTER

1 7 : 5 2 : 4 5   8

1 7 : 5 2 : 4 5   9            I hereby certify that the foregoing is a true and

1 7 : 5 2 : 4 5   10     accurate transcript from my stenographic notes in the

1 7 : 5 2 : 4 5   11     proceeding.

1 7 : 5 2 : 4 5   12
1 7 : 5 2 : 4 5                                            /s/ Bonnie R. Archer
1 7 : 5 2 : 4 5   13                                         Bonnie R. Archer, RPR, FCRR
1 7 : 5 2 : 4 5                                              Official Court Reporter
1 7 : 5 2 : 4 5   14                                         U.S. District Court

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